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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                               §
In re:                                         §      Chapter 11
                                               §
MEMORIAL PRODUCTION                            §      Case No. 17-30262 (MI)
PARTNERS LP, et al.,                           §
                                               §      (Jointly Administered)
               Debtors.1                       §
                                               §

                       NOTICE OF FILING OF CREDITOR MATRIX

               PLEASE TAKE NOTICE THAT on January 18, 2017, pursuant to rule 1007 of

the Federal Rules of Bankruptcy Procedure the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), filed the Creditor Matrix, attached hereto as Exhibit A,

with the United States Bankruptcy Court for the Southern District of Texas.


                           [Remainder of page left intentionally blank.]




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Memorial Production Partners LP (6667); Memorial Production
Partners GP LLC; MEMP Services LLC (1887); Memorial Production Operating LLC; Memorial Production
Finance Corporation (3356); WHT Energy Partners LLC; WHT Carthage LLC; Memorial Midstream LLC;
Beta Operating Company, LLC; Columbus Energy, LLC; Rise Energy Operating, LLC; Rise Energy Minerals,
LLC; Rise Energy Beta, LLC; San Pedro Bay Pipeline Company (1234); and Memorial Energy Services LLC.
The Debtors’ mailing address is 500 Dallas Street, Suite 1600, Houston, Texas 77002.
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Dated: January 18, 2017
       Houston, Texas
                                    Respectfully submitted,

                                    /s/ Alfredo R. Pérez
                                    WEIL, GOTSHAL & MANGES LLP
                                    Alfredo R. Pérez (15776275)
                                    700 Louisiana Street, Suite 1700
                                    Houston, Texas 77002
                                    Telephone: (713) 546-5000
                                    Facsimile: (713) 224-9511

                                    - and -
                                    WEIL, GOTSHAL & MANGES LLP
                                    Gary T. Holtzer (admitted pro hac vice)
                                    Joseph H. Smolinsky (admitted pro hac vice)
                                    767 Fifth Avenue
                                    New York, New York 10153
                                    Telephone: (212) 310-8000
                                    Facsimile: (212) 310-8007

                                    Proposed Attorneys for the Debtors
                                    and Debtors in Possession




                                       2
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                                      Certificate of Service

I hereby certify that on January 18, 2017, a true and correct copy of the foregoing document was
served by e-mail on the parties who receive electronic notice in this case pursuant to the Court’s
ECF filing system.

                                                     /s/ Alfredo R. Pérez
                                                     WEIL, GOTSHAL & MANGES LLP
                                                     Alfredo R. Pérez (15776275)
                                                     700 Louisiana Street, Suite 1700
                                                     Houston, Texas 77002
                                                     Telephone: (713) 546-5000
                                                     Facsimile: (713) 224-9511
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                            Exhibit A
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1 Timothy 6 LLC                            1099 Pro Inc                           1776 Energy Operators LLC
PO Box 30598                               23901 Calabasas Rd Suite 2080          20445 State Highway 249
Edmond, OK 73025                           Calabasas, CA 91302-4104               Ste 450
                                                                                  Houston, TX 77070




1776 Energy Partners LLC                   1991 Theresa E Stringer Trust          1993 A L Davis Family Trust
20445 State Highway 249                    6608 N Western Ave 426                 Citizens National Bank Agent
Ste 450                                    Oklahoma City, OK 73116                c/o Drew Nixon Cpa
Houston, TX 77070                                                                 1509 West Panola
                                                                                  Carthage, TX 75633



1999 Cook Revocable Trust                  1st Community Federal C U              1st Hutch LP
John A Cole Trustee                        3505 Wildewood Dr                      PO Box 65479
1801 Lavaca St Apt 11J                     San Angelo, TX 76904                   Lubbock, TX 79464
Austin, TX 78701-1331




1st Methodist Church Of Rawlins            1st Natl Bank Hughes Springs           1st Natl Bank Of Hebbronville
PO Box 146                                 505 East First Street                  305 N Smith St
Rawlins, WY 82301                          PO Box 188                             Hebbronville, TX 78361
                                           Hughes Springs, TX 75656




1st Navy Bank                              1st Presbyterian Church Of El Dorado   1st Victoria National Bank
180 Taylor Road                            c/o Bancorp Trst Mgt Ops Dept          101 South Main Street
Pensacola, FL 32508                        PO Box 751                             Victoria, TX 77901
                                           El Dorado, AR 71730




2 Rivers Royalty LLC                       2002 J Robert Murphy Rev Trust         2003 Janet Fontaine Family Tr
PO Box 1850                                James Robert Murphy Trustee            PO Box 211
Palestine, TX 75802                        448 Bellflower Blvd 308                Sedona, AZ 86339
                                           Long Beach, CA 90814




2004 313 Eog Resources Inc                 2007 Fear Family Trust                 2011 Angelina Manufacturing LLC
Vs Arthur Henry Et Al                      c/o Rsnb Bank Trustee                  Dba Angelina Tank
c/o Clerk Of District Court                PO Box 880                             Jerry Golden
PO Box 1687                                Rock Springs, WY 82902                 PO Box 155110
Henderson, TX 75653                                                               Lufkin, TX 75915



2013 Region Iv Meeting Fund                248 Disposal LLC                       27Tatum Economic Development Corporation
Attn Bobette Smith Gas Treasurer           5380 Old Bullard Road                  PO Box 989
C/O Desk And Derrick Club Of Wise County   Suite 600 112                          Tatum, TX 75691
PO Box 325                                 Tyler, TX 75703
Bridgeport, TX 76426



2J Lease Service LLC                       2J Lease Services LLC                  2K Operating LLC
PO Box 746                                 Krystal Mendoza                        927 S E Cr 3129A
Beeville, TX 78104                         2457 Hwy 59E                           Corsicana, TX 75109-0706
                                           Beeville, TX 78102




2Wood Oil Gas LLC                          3 BartleyS LLC                         3 D Oil Filed Services And Rental LLC
Neil B Wood Mbr                            980 Melinda Lane                       621 N Washington Ave
PO Box 99130                               Tatum, TX 75691                        Livingston, TX 77351
Lubbock, TX 79499
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3 G Well Service Co LLP                   3 K M Royalties                304 Inverness Way LLC
PO Box 3102                               5151 San Felipe Suite 2325     PO Box 912241
Roswell, NM 88201                         Houston, TX 77056              Denver, CO 80291-2241




31 Energy Services LLC                    31 Energy Services LLC         31 Group LLC
7136 Hwy 31 South                         Jacky Williams                 PO Box 1706
Carthage, TX 75633                        PO Box 868                     Rockwall, TX 75087
                                          Joaquin, TX 75954




3D Security Inc                           3D Services                    3esi Enersight
PO Box 1898                               64 Road 4995                   227 11Th Ave Sw
Henderson, TX 75653                       Bloomfield, NM 87413-9658      Suite 400
                                                                         Calgary, AB T2R 1R9
                                                                         Canada



3K Investments                            4 A Oilfield Enterprises LLC   4 Angels Farm LLC
PO Box 14929                              11178 Fm 968                   PO Box 726
Humble, TX 77347                          Longview, TX 75602             Haynesville, LA 71038




4 G Contractors Inc                       4 G Energy Services LLC        4 H Development Of Shreveport
4849 Marshall Rd                          4849 Marshall Rd               PO Box 81
Logansport, LA 71049                      Logansport, LA 71049           Shreveport, LA 71161




4 L Dirt Werks Hot Shot Service LLC       4 M Oil Co Ltd                 4 R Minerals Ltd
1996 County Road 280                      PO Box 3245                    PO Box 1443
Brownfield, TX 79316                      Kilgore, TX 756633224          Laredo, TX 78040




4 S Oil Company                           4 Sight Oilfield Services      4 Star Tank Rental Lp
PO Box 1865                               4 Sight Operating Company      PO Box 471
Kilgore, TX 75663                         PO Box 639                     Kermit, TX 79745
                                          Kilgore, TX 756630639




40 Square Energy Partners Lp              4H Oilfield Services           4M Weed Control
PO Box 570174                             PO Box 1981                    PO Box 506
Houston, TX 77257                         Palestine, TX 75802            Judson, TX 75660




4th Gen Investments LLC                   4X Petro Inc                   5 M Energy LLC
Kendall Vela                              PO Box 857                     c/o Michael R Moores
7330 Nichols Trail                        Tatum, TX 75691-0857           PO Box 2575
Frisco, TX 75034                                                         Henderson, TX 75652




500 Sherwood Ltd Partnership              53 Hyde Park LLC               5D Holdings LP
William C Kalmbach Iii Gp                 303 East 17Th Avenue           500 Ygnacio Valley Road
PO Box 22260                              Suite 645                      Ste 360
Shreveport, LA 71120-2260                 Denver, CO 80203               Walnut Creek, CA 94596-3763
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5H Oil Co LLC                              5J Oilfield Services LLC           5J Oilfield Services LLC
PO Box 25204                               4090 N Us Hwy 79                   PO Box 327
Dallas, TX 75225                           Palestine, TX 75801                Frankston, TX 757630327




5J Transportation LLC                      61 Inverness                       7 47 Resources LLC
PO Box 471                                 c/o Acp Property Services          2633 Camille Drive
Frankston, TX 75763                        165 S Union Blvd Suite 510         Lewisville, TX 75056
                                           Lakewood, CO 80228




714 Motorsports Manufacturing              77 Oil Properties Inc              8Itty H Dye
7100 Hazard Ave                            Harry L Graham President           Nationsbank Texas
Westminister, CA 92683                     9311 N Fm 620 Box 137              A/C 125 092645 0
                                           Austin, TX 78726                   PO Box 830040
                                                                              Dallas, TX 752830040



8X8 Inc                                    8X8 Inc                            A 1 Backhoe Service Inc
Dewan Chand                                Dept 848080                        PO Box 780
2125 ONel Drive                            Los Angeles, CA 90084-8080         Plains, TX 79335
San Jose, CA 95131




A 1 Backhoe Service LLC                    A 1 Coatings Co                    A 1 Janitorial Services
PO Box 1478                                PO Box 4716                        PO Box 2414
Andrews, TX 79714                          Ventura, CA 93007                  Odessa, TX 79760-2414




A 1 Sign Engravers Inc                     A 3 Minerals Lp                    A 8 Investment Company
PO Box 2641                                PO Box 190464                      PO Box 17397
Midland, TX 79702                          Dallas, TX 75219                   Salt Lake City, UT 84117




A A Credit Union                           A A Kidd                           A A Mitchell Trust
300 Continental Blvd 120                   1905 Horton Avenue                 Jere Mitchell Trustee
El Segundo, CA 90245                       Shreveport, LA 71105               PO Box 7158
                                                                              Longview, TX 756077158




A B Edwards Separate Property              A B Smith Jr                       A B Valve And Piping System LLC
PO Box 486                                 PO Box 2083                        PO Box 671544
Farmerville, LA 71241                      West Memphis, AR 72303             Dallas, TX 75267-1544




A B Valve And Piping Systems LLC           A B Valve And Piping Systems LLC   A B Valve And Piping Systems LLC
1086 Forum Dr                              Dept 172                           PO Box 677428
Broussard, LA 70518-8060                   PO Box 4458                        Dallas, TX 75267-7428
                                           Houston, TX 77210-4458




A C Dillard                                A Chavarrias Plumbing Inc          A D Brownfield LLC
PO Box 4206                                6320 Krone Lane                    M Lea Brownfield A D Brownfield Iii
Warrington, FL 32507                       Laredo, TX 78041                   PO Box 57
                                                                              Mesilla, NM 88046
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A D Chapman                                A D Cobb Iv                      A D Hinton LLC
2900 S Robertson Ave                       10400 Star Mica                  6765 Lincoln Hills Court
Tyler, TX 75701                            Boarne, TX 78006                 Frisco, TX 75034




A D Lang                                   A David B Finkelstein            A E Dean Jr And Carolyn Blanton
Jimmy Lang Trustee                         PO Box 1067                      6121 Fern Ave Unit 102
7118 Cole Creek                            Bellaire, TX 77402               Shreveport, LA 71105
Houston, TX 77092




A G Compressor Parts                       A G Gill                         A H Supply Company
13671 Bora Drive                           c/o Texas Comptroller Accounts   PO Box 906
Santa Fe Springs, CA 90670                 Unclaimed Property Division      Levelland, TX 79336
                                           PO Box 12019
                                           Austin, TX 78711-2019



A J Boyett Ruth Boyett                     A J Carrillo Backhoe Service     A J Hodges Iii
109 Lula St                                PO Box 321                       PO Box 1817
Logansport, LA 71049                       Gail, TX 79738                   Shreveport, LA 71106




A J Hodges Industries Inc                  A J Portable Toilets             A J Reed
PO Box 1817                                28 Cresthaven                    5628 Fairfax Drive
Shreveport, LA 71166                       Irvine, CA 92604                 Frisco, TX 75034




A James Reynolds                           A Jolene Grendahl                A Kathryn Mathys
PO Box 97                                  8638 Gaines Avenue               4354 Highway 80
Saint Joseph, LA 713660097                 Orangevale, CA 95662             Ruston, LA 71270




A L Ballard                                A L Capps                        A L Clark
1021 Main Ste 2310                         245 Taylor George Rd             1818 Plymoutn Rock Dr
Houston, TX 77002-6602                     Longview, TX 75605-8360          Richardson, TX 75081




A L Hamilton 1983 Tr                       A Leland Gwinn Jr                A Louise Scroggins
Randall Hamilton Ttee                      909 Azalea Garden Drive          16325 Lakeview Circle
120 Aransas                                Shreveport, LA 71115             Whitehouse, TX 75791-8301
Levelland, TX 79336




A M Hervey Jr                              A M Machine Works Inc            A Murphy Fisher Fam Tr
905 E Harrison                             PO Box 1196                      285 Pr 2150
Harlingen, TX 78550                        Hobbs, NM 88241-1196             Longview, TX 75604




A O Phillips Testamentary Tst              A O Phillips Testamentary Tst    A O Phillips Testamentary Tst
Fbo Arlene Mead Stolley                    Fbo Arlene Mead Stolley          Fbo Arlene Mead Stolley
Bank Of America Trustee                    Bank Of America Trustee          Bank Of America Trustee
PO Box 840738                              PO Box 832407                    PO Box 830308
Dallas, TX 75284-0738                      Dallas, TX 75283-2407            Dallas, TX 75283-0308
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A O Phillips Testamentary Tst              A O Phillips Testamentary Tst      A O Phillips Testamentary Tst
Fbo Lorene H Mead Randall                  Fbo Lorene H Mead Randall          Fbo Lorene H Mead Randall
Bank Of America Trustee                    Bank Of America Trustee            Bank Of America Trustee
PO Box 840738                              PO Box 832407                      PO Box 830308
Dallas, TX 75284                           Dallas, TX 75283-2407              Dallas, TX 75283-0308



A P Bazer                                  A P Daniel                         A P Matthews Iv
1017 W Garrison                            c/o Texas State Treasurer          12919 Fm 2276 N
Carthage, TX 75633                         Unclaimed Property Division        Kilgore, TX 75662
                                           PO Box 12608 Capitol Station
                                           Austin, TX 78711



A P Merritt Sr Family Trust                A Paul Clark Iii                   A Plus Well Service Inc
Margaret Merrit And A P Merritt Jr         2101 Miramar                       PO Box 1979
PO Box 3245                                Wichita Falls, TX 76308            Farmington, NM 87499
Kilgore, TX 756633245




A R Enterprises Inc                        A R Gordon                         A R Sanchez Jr
Service Electric And                       Route 2 Box 2                      PO Box 2986
R Electric Electric                        Joaquin, TX 75954                  Laredo, TX 78044
PO Box 2000
Kilgore, TX 75663



A R Welding Inc                            A R Wolfe Partnership Ltd          A S Grossblatt Rev Tr
942 S Santa Fe Ave                         c/o Tcb Wealth Mgmt Trust          2222 Ave Of The Stars 2004
Compton, CA 90220                          PO Box 678055                      Los Angeles, CA 90067
                                           Dallas, TX 75267-8055




A S Volz Minerals Ltd                      A Saf T Box Of Longview            A Saf T Box Of Longview
4072 Sucia Dr                              1742 Callahan Road                 1742 Callahan Road
Ferndale, WA 98248                         Longview, TX 75602                 Longview, TX 75602




A Spare Closet                             A T Gill                           A T Mast Jr
701 S Main St                              PO Box 69                          PO Box 635025
Henderson, TX 75654                        El Indio, TX 78860                 Nacogdoches, TX 75965-5025




A Tex Restaurant Supply Inc                A Texas Partnership Marfel         A W Fleming Co
2008 S Bryant Blvd                         Kent Anthony Managing Partner      PO Box 738
San Angelo, TX 76903                       2666 Pinnacle                      Salida, CO 81201
                                           League City, TX 77573




A W Water Service Inc                      A William Brackett                 A Z Down Hole Inc
PO Box 3907                                4000 W 5Th Street                  PO Box 1268
Enid, OK 73702-3907                        Fort Worth, TX 76107               El Campo, TX 77437




A/C Contractors LLC                        A1 Traffic Control Barricade Inc   A2D Lp
3830 Gilmer Road                           32597 Hwy 6                        2345 Atascocita Road
Longview, TX 75604                         Silt, CO 81652                     Humble, TX 77396
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A2D Technolgies Inc                        A2D Technologies Inc          Aaa Corporate Services Inc
Dba Tgs Geological Products And Services   PO Box 733255                 1620 Central Avenue Suite 202
785 Greens Parkway Suite 100               Dallas, TX 75373-3255         Cheyenne, WY 82001
Houston, TX 77067




Aaa Oil Gas LLC                            Aaa Sanitation Inc            Aaa Testers Inc
100 Lago Grande Trl                        211 N Hill                    PO Box 807
Wylie, TX 75098                            Tyler, TX 75702               Big Lake, TX 76932




Aaa Weed Control                           Aaa Weed Control LLC          Aaa Well Service LLC
3809 28Th Ave                              Lee Frudden                   PO Box 33
Evans, CO 80620                            1424 Hilltop Dr               Millsap, TX 76066
                                           Windsor, CO 80550




Aaron A Blount Jr                          Aaron Aycock                  Aaron Bryan Young Janel Annette Young
213 W Wall St                              1919 Buchanan Road            323 Mitchell Road
Joaquin, TX 75954                          Hallsville, TX 75650          Simsboro, LA 71275




Aaron C Crain                              Aaron Francis Malakoff        Aaron Frazier
1336 Twin Cove                             127 Edgewater Terrace         1125 Greystone Dr
Kyle, TX 78640                             New Braunfels, TX 78130       Shreveport, LA 71107




Aaron Glass And Olevia Glass               Aaron Glass Sr Estate         Aaron Larry Allums
207 Parker                                 Stevynn Earl Glass Adm        13523 Heron Field Court
West Monroe, LA 71292                      828 Marjorie Court Se         Houston, TX 77059
                                           Washington, DC 20032




Aaron Larry Allums                         Aaron Little                  Aaron Odell Carr And
c/o Law Office of Dean A Searle PC         AT Transportation             Debra Darlene Cripps Carr
PO Box 910                                 11615 Bissonnet Street        1963 Hwy 546
305 West Rusk Street                       Houston, TX 77099             West Monroe, LA 71292
Marshall, TX 75671



Aaron S King                               Aaron Scarbrough              Aaron Selber Jr
1711 N Elva                                PO Box 30721                  333 Texas St Ste 1250
Compton, CA 90222                          Las Vegas, NV 89173-0721      Shreveport, LA 71101




Aarons Water Service Inc                   Aavvid System Inc             Abb Inc
PO Box 317                                 24726 Senator Ave             PO Box 88868
Farson, WY 82932                           Harbor City, CA 90710-2022    Chicago, IL 606951868




Abbene Alcock Liska Apc                    Abbeville Building Loan       Abbie Dale Schnorr
1010 Second Ave Suite 1350                 1212 Charity St               5600 E County Road 52
San Diego, CA 92101                        Abbeville, LA 70510           Fort Collins, CO 80524
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Abbie J Burton Tr Dunnicliffe            Abbie J Burton Trust Charno             Abbie Jimerson
Community Bank Of Raymore                Community Bank Of Raymore               c/o Michael E Jimerson
PO Box 200                               PO Box 200                              PO Box 1525
Raymore, MO 64083-0200                   Raymore, MO 64083-0200                  Henderson, TX 756531525




Abbie Moore Curry                        Abbie Ruth Mcjimsey                     Abc Auto Parts Ltd
287 Monroe St                            PO Box 152                              PO Box 3688
Beckville, TX 75631                      Panola, TX 75685                        Longview, TX 75606




Abc Moving Company                       Abc Nitrogen Service Corp               Abc Oil Gas Properties
1906 Waterton Circle                     PO Box 2114                             c/o Darleen Cockburn
Whitehouse, TX 75791                     Mont Belvieu, TX 77580                  2100 Campbell Rd Nw
                                                                                 Albuquerque, NM 87104




Abc Rental Tool Co Inc                   Abc Rental Tool Co Inc                  Abco Supply Co
Drawer 1618                              PO Box 1500                             4202 Eric Lane
PO Box 5935                              Hobbs, NM 88241                         Longview, TX 75605
Troy, MI 48007-5935




Abdalla F Hagen And                      Abe L Mitchell                          Abel Valdez
Morsheda T Hassan Hagen                  1982 State Rd 44 319                    Address Redacted
1300 Ventura                             New Smyrna Beach, FL 32168
Ruston, LA 71270




Abel Water Systems                       Abelow Family Trust 360800              Abena B Wynn Revocable Trust
PO Box 348                               Box 30                                  Anthony Wynn And Brenda Wynn Trustees
San Angelo, TX 76902                     Mill River, MA 01244                    c/o Brenda Anthony Wynn Ttees
                                                                                 1525 D Concord Way
                                                                                 Chula Vista, CA 91911



Abendroth Investments                    Abh Baxter LP                           Abigail Elaine Armstrong
750 Chinquapin Dr                        PO Box 1649                             202 S Chautauqua Road
Shreveport, LA 71106                     Austin, TX 78767                        Ruston, LA 71270




Abilene Christian University             Abilene Complete Packer Sales Service   Abilene Teachers Federal
1949 Acu Drive                           2 Village Drive                         PO Box 5706
Acu Box 29139                            Suite 200                               Abilene, TX 79608
Abilene, TX 79601                        Abilene, TX 79606




Abilene Trailer Sales                    Ables Land Inc                          Abletek
3718 Pine St                             PO Box 7933                             11500 Northwest Freeway
Abilene, TX 79601-1112                   Tyler, TX 75711                         Ste 320
                                                                                 Houston, TX 77092




Abm Janitorial Services                  Abm Parking Services                    Abm Parking Services
3800 Buffalo Speedway Ste 325            111 W Ocean Blvd                        Attn Garage Manager
Houston, TX 77098-3714                   Attn Parking Office                     1401 Mckinney
                                         Long Beach, CA 90802-4622               Houston, TX 77010
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Abner Smith Lipscomb Heirs              Abney Warwick                         Abney Warwick Trust Account
c/o District Clerk Polk County          Attorneys At Law                      c/o Abney Warwick Attorneys At Law
Shelly Sitton Succ Rcvr                 PO Box 1386                           PO Box 1386
101 W Mill St Ste 216                   Marshall, TX 75671                    Marshall, TX 75671
Livingston, TX 77351



Abo Petroleum Corp                      About Time                            Abraham Torres
PO Box 900                              3205 Binyon                           2017 Vaughn Apt 9
Artesia, NM 88211-0900                  Fort Worth, TX 76133                  San Angelo, TX 76903




Abraxas Petroleum Corp                  Absolute Energy Solutions LLC         Absolute Energy Soultions LLC
F/A/O Abraxas Operating LLC             PO Box 2468                           PO Box 219330
18803 Meisner Drive                     Alvin, TX 77512-2468                  Houston, TX 77218
San Antonio, TX 78258-4240




Absolute Waste                          Abyss Inc                             Acadiana Maintenance Service LLC
PO Box 260898                           3100 Lantana Ln                       1604 Jane St
Corpus Christi, TX 78426                Midland, TX 79705                     New Iberia, LA 70563-1415




Accelerated Production Services Inc     Accelerated Production Services Inc   Acco Brands Corporation
And Its Subsidiaries                    A Div Of Central Hydraluic Inc        Dba Acco Brands Direct
Jim Pipes                               PO Box 732787                         PO Box 741864
1585 Sawdust Road Suite 210             Dallas, TX 75373-2787                 Atlanta, GA 30384-1864
The Woodlands, TX 77380



Account Serv Processing Center          Accu Log Inc                          Accuflow Inc
Ref Qt149074                            Read Houghtaling                      4801 District Blvd
PO Box 609                              PO Box 7306                           Bakersfield, CA 93313
Ceder Rapids, IA 52406-0609             Tyler, TX 75711




Accurate Inc                            Accutest Mountain States              Acd Oilfield Services LLC
PO Box 1296                             2235 Route 130                        PO Box 553
Taylor, TX 76574                        Dayton, NJ 08810                      Lovington, NM 88260




Acds Ventures LLC                       Ace American Inc Co                   Ace Backhoe Construction Inc
PO Box 1092                             Clint Reimer                          PO Box 7
Ruston, LA 71270                        525 W Monroe                          Wolfforth, TX 79382
                                        Chicago, IL 60661




Ace Consulting Services Inc             Ace Crane Service Inc                 Ace Hotshot LLC
131 Cr 4083                             PO Box 1129                           3489 Trappers Trl
Carthage, TX 75633                      Cudahy, CA 90201                      Casper, WY 82604-4276




Ace Industrial Supply Inc               Ace Machine Repair                    Ace Supply Repair
7535 San Fernando Blvd                  16487 Hwy 14                          8150 County Road 550
Burbank, CA 91505-1044                  Ault, CO 80610                        Brownwood, TX 76801-0356
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Ace Transportation Inc                 Ace Transportation Inc           Ace West N2 Pumping Inc
PO Box 975357                          1929 Paysphere Circle            605 Mohawk Drive
Dallas, TX 753975357                   Chicago, IL 60674                Rock Springs, WY 82901




Ace West N2 Pumping Inc                Aces Eights Trucking Inc         ACG
PO Box 1148                            PO Box 260008                    4753 Paysphere Circle
Rock Springs, WY 82901-1148            Corpus Christi, TX 78426         Chicago, IL 60674




Acid Cementing Service Inc             Acid Services LLC                Acid Specialists LLC
PO Box 1258                            Mark Rankin                      PO Box 47065
Palestine, TX 75802                    801 Cherry St Suite 2100         Houston, TX 77210-7065
                                       Ft Worth, TX 76102




Acme Iron Metal Co                     Acme Iron Metal Co Dba           Acme Oil Service Repair Inc
PO Box 1304                            Marilyn Critchfield              5624 American Legion Rd
San Angelo, TX 76902                   720 N Buchanan                   Tyler, TX 75708
                                       San Angelo, TX 76903




Acme Truck Line Inc                    Acme Truck Line Inc              Acock Consulting LLC
Administration Department              Msc 410683                       8610 N New Braunfels
200 Westbank Express                   PO Box 415000                    Ste 517
Gretna, LA 70053                       Nashville, TN 37241-5000         San Antonio, TX 78217




Acock/Anaqua Operating Co Lp           Acock/Anaqua Operating Co Lp     Acosta Rental Tool LLC
520 Starr Street                       PO Box 1284                      1104 E Cr 129
Corpus Christi, TX 78401               Woodsboro, TX 78393              Midland, TX 79706




Acrospire Investment Management        ACS Engineering                  Acs Manufacturing Inc
181 W Madison St                       1400 Broadfield Blvd Suite 130   Ted Vinci
Chicago, IL 60602                      Houston, TX 77084                1601 Commerce Blvd
                                                                        Denison, TX 75020




Acs Support                            Acs Support Fbo Ruby Price       Action Frac Fluids LLC
Fbo Bobby Murphy                       PO Box 8208                      Darren Smith
PO Box 24017                           Philadelphia, PA 19101           6775 Old Jacksonville Hwy Suite 1
Fresno, CA 93779-4017                                                   Tyler, TX 75703




Action Frac Fluids LLC                 Action Machining Pump Svc Inc    Action Photography
Diversified Lenders Inc                400B Roy Hoppy Hopkins Drive     3318 D Ssw Loop 323
PO Box 6565                            Vivian, LA 71082                 Tyler, TX 75701
Lubbock, TX 794936565




Action Production Services LLC         Action Sales Metal Co Inc        Acts Oilfield Services LLC
PO Box 1312                            1625 E Pacific Coast Hwy         Victor Garcia
Liberty, TX 77575                      Wilmington, CA 90744             304 Chetumal Dr
                                                                        Laredo, TX 78045
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Acts Oilfield Services LLC              Actual Markets                  Acuren Inspection Inc
304 Chetumal Dr                         201 West 17Th Street            PO Box 712548
Laredo, TX 78045                        Suite 5C                        Cincinnati, OH 45271-2402
                                        New York, NY 10011




Ad Banta Trust                          Ad Display Sign Systems Inc     Ad Sj Green Living Trust
Bank One Trust Company Na Ttee          27255 Katy Freeway              Sallie Jane Green Trustee
Tx1 1310                                Katy, TX 77494                  2614 Fm 840 E
PO Box 99084                                                            Henderson, TX 75654
Fort Worth, TX 76199-0084



Ada Alexander                           Ada B Pleasant                  Ada J Carter
PO Box 126                              37417                           4407 West 13Th Avenue
Etoile, TX 75944-5944                   Unclaimed Property Division     Gary, IN 46404
                                        PO Box 12019
                                        Austin, TX 78711-2019



Ada Lee Stokes                          Ada Smith                       Ada Vinetta Green
2601 Hill Top Dr Apt 1418               2850 Quail Creek Loop           212 W Wintergreen 2042
Richmond, CA 94806                      Kingsland, TX 78639-3841        Desoto, TX 75115




Ada Wood                                Adam Energy Forum               Adam Energy Forum
PO Box 1615                             5001 Lbj Freeway Ste 370        PO Box 802511
Billings, MT 59103                      Dallas, TX 75244                Dallas, TX 753802511




Adam Houston Energy Network             Adam Moya                       Adam Saliba
5910 Rose St                            1067 W Dawn Dr                  Address Redacted
Houston, TX 77007                       Tempe, AZ 85284-3825




Adam White                              Adam Wright                     Adams Abstract Company Inc
PO Box 1477                             5095 Nector Way                 PO Box 69
Fort Gibson, OK 74434                   Eugene, OR 97405                Robert Lee, TX 76945




Adams Living Trust                      Adams Living Trust Of 1993      Adams Superior Services LLC
Phyllis J Adams Trustee                 18328 Hwy 9                     PO Box 156
809 S Terri Ann Dr                      Arcadia, LA 71001               Keatchie, LA 71046
West Covina, CA 91791




Adan M Benavides 1996 M Tr              Adan M Benavides 1997 C Tr      Adco Company
Manuel A Benavides Ttee                 Manuel A Benavides Ttee         300 Delaware Ave Ste 202
1019 Chihuahua                          1019 Chihuahua                  Buffalo, NY 14202-1807
Laredo, TX 78040                        Laredo, TX 78040




Adcock Pumping Company Inc              Adcock Revocable Trust          Addi Goette
Po Drawer 2007                          Christina Adcock Ttee           1139 Cottonwood
Ozona, TX 76943                         501 Creekside Drive             Richardson, TX 75080
                                        Mckinney, TX 75071
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Addie B Hadden                          Addie Bell Rogers Or            Addie Bracken Price
10116 N 130 Ln                          Texas State Treasury Dept       Sallie Price Fisher Atty In
Seminole, FL 33776                      Unclaimed Property Division     Fact 315 S Broadway Suite 103
                                        PO Box 12019                    Tyler, TX 75702
                                        Austin, TX 78711-2019



Addie Kelly                             Addie Linda Speed               Addison Kennon Goff Iii
2707 St Vincent Street                  1120 Apt G Brigantine Blvd      PO Box 2050
St Louis, MO 63114                      Atlantic City, NJ 08401         Ruston, LA 71270




Addison Search LLC                      Addison W Thompson              Addison Well Service
7076 Solutions Center                   207 W Carolina Avenue           Box 8
Chicago, IL 60677-7000                  Ruston, LA 71270-3828           Holliday, TX 76366




Adela Rokohl                            Adelaide Graves Wingert         Adelaide Ridgeway Mcdaniel
3898 Highway 281                        3412 Amherst                    3073 Dartmoor Court
Three Rivers, TX 78071-3200             Dallas, TX 75225                Shreveport, LA 71115




Adelaide Yvonne E Aulich                Adell Adams                     Adella M Karlowski
PO Box 355                              PO Box 451                      4513 N Fendyke
Rush Springs, OK 73082                  Longview, TX 756060451          Rosemead, CA 91770




Adelle Adickes Francis Estate           Adelle Delley Johnson           Adelle F Waits
c/o Farmers NatL Co Agent               2004 North Moore Avenue         1655 Hazel St
Oil Gas Dept                            Tyler, TX 75707                 Arcadia, LA 71001
PO Box 3480
Omaha, NE 68103



Adj Minerals Ltd                        Adkins Supply Inc               Adlai Travis Mast Iii
Virginia H Adams Manager                P O Drawer 768                  PO Box 635025
1209 Woodland Park Ave                  Sweetwater, TX 79556            Nacogdoches, TX 75963-5025
Jasper, TX 75951




Adler Hot Oil Service LLC               Administaff                     Admiral Well Service Inc
3495 Momentum Place                     19001 Crescent Springs Drive    Mark Rankin
Chicago, IL 60689-5334                  Kingwood, TX 77339-3802         801 Cherry St Suite 2100
                                                                        Ft Worth, TX 76102




Adobe Acquisition LLC                   Adolfo And Sara Carrasco        Adolfo Carrisco Jr
100 Ballpark Way Ste 216                Family Limited Partnership      PO Box 3095
Arlington, TX 76011                     PO Box 3095                     Laredo, TX 78044
                                        Laredo, TX 78044




Adolph O Susholtz                       Adolphus Brown                  Adolphus Calloway
3834 Spicewood Springs Rd               215 Cr 102 W                    PO Box 961
Suite 202                               Henderson, TX 75652             Ruston, LA 71273
Austin, TX 78759
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Adolphus Ray Mills Sep Prop            Adp Inc                               Adp Inc
1114 Fenwick Drive                     1 Adp Dr                              10200 Sunset Drive
Shreveport, LA 71107                   Augusta, GA 30909-9373                Miami, FL 33173




Adp LLC                                Adp Screening Selection Svcs          Adrian Campos
PO Box 842875                          PO Box 645177                         PO Box 891
Boston, MA 02284-2875                  Cincinnati, OH 45264-5177             Freer, TX 78357




Adrian Herrera                         Adrian Hopkins                        Adrian J And Mary Lyssy
Address Redacted                       Address Redacted                      13675 N Fm 81
                                                                             Karnes City, TX 78118




Adrian Kerri Vazquez                   Adrian Pryor                          Adrian Rocco
1004 King Edward Ave                   1608 Graham Dr                        309 W 49th St 10th Floor
St Charles, IL 60174                   Tyler, TX 75701                       New York, NY 10019-1774




Adriana Gonzalez                       Adriana M Guerra                      Adrianne Simpson
10706 Burman                           Union National Bank Of Lared          c/o Taxation Revenue Dept
Houston, TX 77029                      Acct 40 208 7 1100 Matamoros          Unclaimed Property Division
                                       Laredo, TX 78040                      PO Box 25123
                                                                             Santa Fe, NM 875045123



Adrich Neal                            Adrien Marie Spears                   Adrienne Anderson
501 S Spring St 1018                   5907 W Wernett                        823 Emerald Drive
Los Angeles, CA 90013                  Pasco, WA 99301                       Powder Springs, GA 30127




Adrienne Frilot                        Adrienne Lee Dismuke Coker            Adrienne Miller Gunther
Address Redacted                       1724 Cr 320                           229 Kenwood Avenue
                                       Bertram, TX 78605                     Baton Rouge, LA 70806




Adrienne Noble Nacev                   Adron Miller                          Adus F Dorsey
100 Cloverridge Rd                     PO Box 845                            PO Box 1112
Ft Thomas, KY 41075                    Linden, TX 75563                      Independence, MO 64051




Advance Oil Gas Company                Advanced Business Capital LLC         Advanced Business Solutions Inc
8150 N Central Expressway              Dba Triumph Business Capital          7302 82nd Street
Suite 850                              Fbo Simmons Logistics Llc             Suite 13
Dallas, TX 75206                       PO Box 610028                         Lubbock, TX 79424
                                       Dallas, TX 75261-0028



Advanced Construction Total Services   Advanced Filtration Concepts          Advanced Fire Extinguisher Services
304 Chetumal                           PO Box 80759                          Po 270614
Laredo, TX 78045                       Rancho Santa Margari, CA 92688-0759   Fort Collins, CO 80527-0614
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Advanced Fluid Technologies Of La LLC   Advanced Hydrostatic Services       Advanced Industrial Services
PO Box 52801                            PO Box 77200                        11712 Cherry St
Lafayette, LA 70505-2801                Fort Worth, TX 76177                Los Alamitos, CA 90720-4102




Advanced Monitoring Methods LLC         Advanced Oilwell Services Inc       Advanced Systems Plus Inc
1210 Columbus Circle                    3943 Fm 362                         14 Inverness Drive East
Janesville, WI 53545                    Brookshire, TX 774232525            Suite D124
                                                                            Englewood, CO 80112




Advanced Technology Labs                Advanced Workplace Strategies Inc   Advancial Credit Union
PO Box 92797                            17542 E 17Th Street                 1845 Woodall Rodgers Fwy Ste 1300
Long Beach, CA 90809-2797               Suite 330                           Dallas, TX 75201
                                        Tustin, CA 92780




Advantage Energy Solutions              Advantage Human Resourcing Inc      Advantage Payroll Services
Howard Edens                            Debbie Hicks                        2706 W Cuthbert Ave
3 Riverway Suite 1025                   401 Thomas Road Suite 2             Ste B100
Houston, TX 77056                       West Monroe, LA 71292               Midland, TX 79701




Advantage Payroll Services              Advantage Resourcing                Advent Oil And Gas Company
PO Box 3639                             PO Box 277534                       PO Box 741
Midland, TX 79702                       Atlanta, GA 30384-7534              Morrison, CO 80465




Advisian Inc                            Advisian Inc                        Advisor Group Inc
Thomas Mackiewicz                       Attn Sharon Quinn/Tom Mackiewicz    1 World Financial Ctr Fl 15
5 Arborwood Drive                       PO Box 462                          New York, NY 10281-2100
Burlington, MA 01803                    Leominster, MA 01453




Advisory Services Network LLC           AE Flow Testing                     Ae Staley Jr Foundation
1040 Crown Pointe Pkwy 840              PO Box 3083                         Star Shenkman Capital 6060
Dunwoody, GA 30338                      Rock Springs, WY 82902-3083         Soy Capital Bank And Trust Co
                                                                            455 N Main St
                                                                            Decatur, IL 62523-1103



Aecom Services Inc                      Aecom Technical Services Inc        Aegis Chemical Solutions LLC
Emily Nebel                             An Aecom Company                    Karla Nino
717 17Th Street Suite 2600              1178 Paysphere Circle               4560 Kendrick Plaza Dr Suite 190
Denver, CO 80202                        Chicago, IL 60674                   Houston, TX 77032




Aegis Chemical Solutions LLC            Aera Energy LLC                     Aera Energy LLC
PO Box 205962                           10000 Ming Ave                      Attn Chris Boyd and Mr M J Rider
Dallas, TX 75320-5962                   Bakersfield, CA 93311               Strategic Development Group
                                                                            10000 Ming Avenue
                                                                            Bakersfield, CA 93311



Aeros Environmental Inc                 Aerris Marie Hoskin Sep Prop        Aes Drilling Fluids
18828 Highway 65                        2809 Saddlebred Trail               Permian Llc
Bakersfield, CA 93308                   Celina, TX 75009                    4605 Fielder St
                                                                            Midland, TX 79707
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Aes Drilling Fluids LLC                 Aethon Energy Operating LLC            Aetna Life Insurance Company
11767 Katy Freeway                      Agent For Bcreek1                      PO Box 7247 0213
Suite 230                               12377 Merit Dr Ste 1200                Philadelphia, PA 19170-0213
Houston, TX 77079                       Dallas, TX 75251




Aetna Petroleum Corp                    AF Consulting LLC                      Afad
PO Box 177006 Gmf                       PO Box 984                             PO Box 8621
Denver, CO 80217                        Houston, TX 77001                      Tyler, TX 75711




Afad Graphics                           Afco                                   Afco Credit Corp
102 N College Ave                       PO Box 360572                          PO Box 120001
Suite 1018                              Pittsburgh, PA 15250-6572              Dallas, TX 75312-0809
Tyler, TX 75702




Affiliated Surveyors Inc                Affiliated Tax Consultants             Affirm Oilfield Services LLC
PO Box 838                              PO Box 1627                            PO Box 203997
Rusk, TX 75785                          Henderson, TX 756531627                Dallas, TX 75320-3997




Affirmed First Aid Safety               Affordable Linen Supply Party Rental   Affordable Tree Care
PO Box 9327                             2100 Goodyear Ave Suite 7              PO Box 573
Midland, TX 79708-9327                  Ventura, CA 93003                      Longview, TX 75660




Afi Unlimited LLC                       Aflac                                  Aflac
PO Box 246                              Attn Remittance Processing Services    Attn Remittance Processing Services
Shelbyville, TX 75973                   1932 Wynnton Rd                        1932 Wynnton Rd
                                        Columbus, GA 31999-0797                Columbus, GA 319990797




Afs Energy Services LLC                 Afs Petrologix LLC                     Afw Investments Ltd
PO Box 1346                             Greg Detillier                         7220 Bob Bullock Loop
406 W Mill Road                         PO Box 1048                            Bldg 3A St 4
Artesia, NM 88211-1346                  Youngsville, LA 70592                  Laredo, TX 78041




Ag Andrikopoulos Resources Inc          Agarita Production Lc                  Agatha Marshall Russo Clark Inv Co
PO Box 788                              c/o Wayman Buchanan                    James R Leh Asst Operating Mgr
Cheyenne, WY 82003                      511 E Mandalay                         13329 County Road 37
                                        San Antonio, TX 78212                  Sterling, CO 80751




Agc Carthage LLC Louisiana LLC          Aggietech Energy Services LLC          Aggreko
Alfred G Comegys Manager                Dba Big Bear Aggietech                 Neil Hamilton
333 Texas Street Suite 825              PO Box 7742                            15600 John F Kennedy Blvd Suite 900
Shreveport, LA 71101                    Midland, TX 79708                      Houston, TX 77032




Aghorn Operating                        Agile Ofis Solutions Lp                Agnes Dunn Sudds
PO Box 12663                            7110 Old Katy Road                     1832 Andy Circle
Odessa, TX 79768                        Suite 200                              Bossier City, LA 71112
                                        Houston, TX 77024
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Agnes Hardin                            Agnes Henderson Frye             Agnes M Verhalen
602 Kay Dr                              835 Burgin Street                c/o Mary Lou Reeves Aif
Longview, TX 75601                      Baton Rouge, LA 70808            815 Shadowood Dr
                                                                         Marshall, TX 75672




Agnes Maund Smith                       Agnes Menefee Estate             Agnes Neimeyer Mathis
414 E Nazpique Street                   Neal P Laird Independent         2145 Malvern Ave
Jennings, LA 70546                      Executor                         Hot Springs NatL Pk, AR 71901-8040
                                        PO Box 982
                                        Tatum, TX 756910982



Agnes R Glass Estate                    Agnes T Enright                  Agnes Yvonne Scott
12102 Cobblestone Drive                 PO Box 668                       269 North 7Th Street 2
Houston, TX 77024                       Niwot, CO 80544                  San Jose, CA 95112




Agnese H Smith                          Agua Moss LLC                    Agx Controls Inc
PO Box 721                              PO Box 600                       1171 S Robertson Blvd Unit 134
Livingston, TX 77351                    Farmington, NM 87499             Los Angeles, CA 90035




Ahern Rentals                           Ahmad Behbahani                  Ahs Contracting Corporation
PO Box 271390                           PO Box 1703                      1101 E 25Th Street
Las Vegas, CA 89127-1390                Ruston, LA 71273                 Signal Hill, CA 90755




AI Pump And Engine Repair               Aia The Augusta Group            Aida G Ramirez
1408 S 5Th Street                       Attn Acct Rec                    202 Idaho Street
Lovington, NM 88260                     PO Box 872                       Laredo, TX 78041-3213
                                        Neenah, WI 54957-0872




Ailene Reeves Malone                    Aileta Dismukes Hicks            Aileta M Hicks Indiv As Independent
1107 County Road 3226                   5300 County Road 803             Exec Of Vernon T Hicks Estate
Quitman, TX 75783                       Joshua, TX 76058                 5300 County Road 803
                                                                         Joshua, TX 76058




Aim Directional Services LLC            Aimbank                          Aimee B Freyer Valls
PO Box 842062                           337 Phelps Avenue                3950 South Hudson Way
Boston, MA 02284-2062                   Littlefield, TX 79339            Cherry Hills Villag, CO 80113




Aimee Day Baxter                        Aimee Freyer Valls Trust         Aimee Freyer Valls Trust
199 Jill Loop                           F/B/O Preston Valls              F/B/O Rachel Valls
Ruston, LA 71270                        Mellon Private Tr Co Succ Ttee   Mellon Private Tr Co Succ Ttee
                                        201 Columbine St Ste 200         201 Columbine St Ste 200
                                        Denver, CO 80206                 Denver, CO 80206



Aimee Freyer Valls Trust                Aimee Valls Dba Anfryva LLC      Aimee W Hilliard
Fbo Alexandra Valls                     3950 South Hudson Way            221 N Kenilworth Ave 114
Mellon Private Tr Co Na Ttee            Cherry Hill Village, CO 80113    Oak Park, IL 603022068
201 Columbine St Ste 200
Denver, CO 80206
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Ainsworth Trucking Lp                   Air Academy Fed Credit Union             Air Borne It LLC
PO Box 10386                            PO Box 62910                             815 Baker Road
Corpus Christi, TX 784600386            Colorado Springs, CO 80962-2910          Harleton, TX 75651




Air Resource Specialists Inc            Air Weld Inc                             Airey Scott M
1901 Sharp Point Dr Ste E               PO Box 3095                              237 Lakeview Circle
Fort Collins, CO 80525                  Laredo, TX 78044-3095                    Montgomery, TX 77356




Airgas On Site Safety Services Inc      Airgas Safety Inc                        Airgas Southwest
3915 E La Salle St                      PO Box 951884                            PO Box 676031
Phoenix, AZ 85040                       Dallas, TX 75395                         Dallas, TX 75267-6031




Airgas Usa LLC                          Airgas Usa LLC                           Airgas West Inc
PO Box 676015                           PO Box 7423                              PO Box 6030
Dallas, TX 75267-6015                   Pasadena, CA 91109-7423                  Lakewood, CA 90714-6030




Airpage Acquisitions Answernet          Aj And June Mabry Trust                  Aj Jessie Duncan Foundation
1215 24Th Street West                   PO Box 528                               801 Wells Fargo Tower
Suite 125                               Wilburton, OK 74578                      201 Main Street
Billings, MT 59102                                                               Fort Worth, TX 76102




Ajax Drilling                           Ajilon Professional Staffing             Akemi T Mcglothlin Executrix
c/o Barrie Peterson                     Dept Ch 14031                            PO Box 701592
408O Lafayette Ctr Drive                Palatine, IL 60055                       San Antonio, TX 78270
Suite 360
Chantilly, VA 20151



Aker Well Service Inc                   Akerman LLP                              Akin Beene Resources LLC
2101 City West Blvd                     Post Office Box 4906                     201 W Wall St Ste 900
Building 4                              Orlando, FL 32802                        Midland, TX 79701
Houston, TX 77042




Akin Gump Strauss Hauer Feld LLP        Al Amin Wilson And Carmen Duran Wilson   Al G Cathey Dorothy S Cathey
300 West 6Th Street                     1808 Brooks                              1793 Bridges Rd
Suite 2100                              Ruston, LA 71270                         Athens, LA 71003
Austin, TX 78701




Al Kauffman                             Al Kenneth Morris Jr                     Al Rich Aka
1031 Lucinda Terrace                    8726 Cr 3145                             Robert A Rich
Georgetown, TX 78628                    Laneville, TX 75667                      287 Sunflower Road
                                                                                 Bossier City, LA 71112




Al Tamimi Co                            Al Tech Services                         Al Weir
Khobar Gate Tower Al Shaikh Tower       PO Box 1304                              10721 Luna Rd
Level 21 King Fahd Road                 Artesia, NM 88211-1304                   Dallas, TX 75220
PO Box 32348
Al Khobar, 31952, Saudi Arabia
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Alabama Telco Credit Union              Alabama Water System Inc              Alan A Hulsey Mgmt Trst
One Riverchase Parkway                  PO Box 647                            Nationsbank Of Tx Trustee
Birmingham, AL 35244                    Arcadia, LA 71001                     PO Box 800136
                                                                              Dallas, TX 75380




Alan B Nicol                            Alan Blair Cammack                    Alan Blake Cate
5895 Fig Ct                             115 Swissvale Rd                      PO Box 397
Arvada, CO 80004                        Salida, CO 81201                      Anton, TX 79313




Alan C Noot                             Alan C Prigge Associates Inc          Alan Clark Hays
1950 S Ridge Dr                         1919 Highway 35 North                 PO Box 224
Long Lake, MN 55356                     Suite 451                             Simsboro, LA 71275-0224
                                        Rockport, TX 78382




Alan Cole Davis                         Alan Cole Davis Bridget Simms Davis   Alan Craig Mona Craig
146 Morning Side Lane                   146 Morning Side Lane                 6170 Highway 79 South
Arcadia, LA 71001                       Arcadia, LA 71001                     Henderson, TX 75654




Alan D Koenigsberg Marital Tst          Alan D Wylie                          Alan Dale Estes
Alan D Koenigsberg Trustee              439 Shadow Creek Drive                PO Box 1199
2325 Coit Road Suite E                  El Lago, TX 77586                     Flippin, AR 72634
Plano, TX 75075




Alan David Vertrees                     Alan E Dalby                          Alan Farquharson
450 East Illinois Road                  14538 Chadbourne                      5020 Skylark Court
Lake Forest, IL 60045                   Houston, TX 77079                     Fort Worth, TX 76180




Alan Ferreira                           Alan Glen Alexander                   Alan H Baleja
1000 Wilshire Blvd Suite 850            15914 Havenhurst Dr                   12917 Ne 131st Street
Los Angeles, CA 90017                   Houston, TX 77059-5206                Kirkland, WA 98034




Alan Herbert Hooks                      Alan J Peters                         Alan J Winkler
13420 Challaburton Dr                   5604 Travis Green Ln                  920 Ponderosa Way Apt B
Dallas, TX 75234-5028                   Austin, TX 78735                      Woodland Park, CO 80863-9145




Alan Keith Earl                         Alan Kent Escoe                       Alan King Estate
Address Redacted                        4231 Colina Trail                     Elisabeth King Administrator
                                        Tyler, TX 75707                       Burke Albright Harter Rzepka
                                                                              1800 Hudson Ave
                                                                              Rochester, NY 14617-5128



Alan Lawrence Gahagan                   Alan Louise Saber                     Alan O Farnham
151 Drifting Sands Dr                   5403 Verdant Way                      5034 Suwarrow Circle
Dripping Springs, TX 78620              Houston, TX 77069                     Tega Cay, SC 29708
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Alan O Fielder                             Alan Osofsky                             Alan P Barbara C Syverson
408 Drake Road                             3100 S Ocean Blvd Apt 3013               3645 Lucy Trimble
Hamlin, NY 14464                           Palm Beach, FL 33480-5694                Burleson, TX 76028




Alan Pennington                            Alan Phillip Campbell And                Alan R Ackerman
952 Echo Lane                              Marta Hudson Campbell                    201 East 79Th Street Apt 14I
Suite 250                                  263 Coleman Loop                         New York, NY 10021
Houston, TX 77024                          Homer, LA 71040




Alan R Hannifin                            Alan R Smith                             Alan Ray Dorsey
PO Box 8874                                8722 S 420 E                             333 Private Rd 4434
Denver, CO 80201                           Spanish Fork, UT 84660                   Longview, TX 75605




Alan Ribble                                Alan Scott Bobbitt                       Alan Scott Fletcher
PO Box 9                                   5309 Quail Creek Dr                      PO Box 804
Magnolia, AR 71753                         Great Bend, KS 67530                     Rising Star, TX 76471-0804




Alan W Estes                               Alanco Energy Services Inc               Alandra Epperson Family Trust
115 Interlachen Court                      7950 E Acoma Dr                          Mike Gollob Trustee
Avondale, PA 19311                         Ste 111                                  3620 Old Bullard Rd
                                           Scottsdale, AZ 85260                     Suite 100
                                                                                    Tyler, TX 75701



Alaniz Jr Noe                              Alann P Bedford Trust                    Alans LLC
Address Redacted                           Charlotte B Lange Trustee                101 T Johns Rd
                                           1235 Kingston Ave                        West Monroe, LA 71291
                                           Alexandria, VA 22302




Alaska Dept Of Revenue                     Alaska Dept Of Revenue                   Alba I Kinnett
Treasury Division                          Treasury Division Unclaim Prop Program   11 Johnathan Place
Unclaimed Property Section                 333 Willoughby Ave                       Wichita Falls, TX 76310
PO Box 110405                              11Th Flr State Ofc Bldg
Juneau, AK 99811-0405                      Juneau, AK 99801-1770



Albert A Davis                             Albert Barry Burns                       Albert Benjamin Ramsey
2810 Hwy 79 N                              3608 Waddell                             10002 Balmforth Lane
Carthage, TX 75633                         Plano, TX 75025                          Houston, TX 77096




Albert D Banta Trust                       Albert E Hindrichs                       Albert E Robert
Jpmorgan Chase Bank Na Trustee             4711 Southwind                           7260 Bundy Road
PO Box 99084                               Baton Rouge, LA 70816                    New Orleans, LA 70127
Fort Worth, TX 76199-0084




Albert Edward Loomis Joy Russo Loomis      Albert Elizabeth Agnor                   Albert Frederick Hood And
2403 Point Dr                              PO Box 1204                              Joan Nell Anderson Hood
Monroe, LA 71201                           Marshall, TX 75670                       759 Sunshine Road
                                                                                    Simsboro, LA 71275
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Albert G Morris                         Albert G Talbot                Albert Glen Miller
14168 Cottonwood Lane                   PO Box 1092                    902 Enfield Drive
Conroe, TX 77306                        Midland, TX 79702              Marshall, TX 75670




Albert Goldsmith                        Albert Grover Graham           Albert Grover Graham Et Al
6009 Vermillion Apt 197                 Mary Ella Gadberry Graham      Mary E G Graham Michael W Graham
Fort Worth, TX 76119                    365 Spring Creek Road          Larry Kent Graham
                                        Ruston, LA 71270               365 Spring Creek Road
                                                                       Ruston, LA 71270



Albert H Burns Deceased                 Albert H Glasscock             Albert H Sampson Jr
PO Box 348                              2402 Toulouse                  1307 89Th Ave
Tenaha, TX 75974                        Austin, TX 78745               Oakland, CA 94621




Albert H Williamson Jr                  Albert Haertlein               Albert Henry Rhodes
PO Box 69                               432 E Cowan                    PO Box 71
Dubach, LA 71235-0069                   Houston, TX 77007              Arcadia, LA 71007




Albert J Holley Jr                      Albert James Smelley           Albert James Smelley Jr Ttee
145 Woodmont Drive                      1550 Dee Scott Road            Of The Albert James Smelley Jr Living Tr
Hickory Withe, TN 38028                 Longview, TX 75605             1550 Dee Scott Road
                                                                       Longview, TX 75605




Albert Joe Dupree Lorene Mason Dupree   Albert K Bonnell               Albert Katzenstein
454 Bissic Rd                           PO Box 3911                    Naomi Marcia Katzenstein
Simsboro, LA 71275                      Broken Arrow, OK 74013         825 Ockley Drive
                                                                       Shreveport, LA 71106




Albert Kirk Germany Jr                  Albert L Davis Jr              Albert L Faulk
Carin Lawrence Germany                  281 Eagle Summit Pit           PO Box 96
8349 Highway 146                        Unit 105                       Athens, LA 71003
Choudrant, LA 71227                     Colorado Springs, CO 80919




Albert L Garner                         Albert L Garner Jr             Albert L Sanders
239 Albert Street                       16032 Ave D Tri 2              724 Manchester Drive
San Antonio, TX 78205                   Channelview, TX 77530          Apt 2
                                                                       Inglewood, CA 90301




Albert L Stanford                       Albert Lee                     Albert Lee Lewis Jr
3400 Caldera Blvd Apt 136               70 Montgomery                  10785 Hwy 151
Midland, TX 79707-2878                  Poughkeepsie, NY 12601         Dubach, LA 71235




Albert Lee Or Virginia Lee              Albert Lee Walker              Albert Lee Walker Lisa Davis Walker
66 Washington St Apt J7                 902 Harmony Church Rd          902 Harmony Church Rd
Poughkeepsie, NY 12603                  Arcadia, LA 71001              Arcadia, LA 71001
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Albert May Et Al                         Albert Menefee                  Albert Murphy Fisher
R Collin Underwood Receiver              10415 Cradlerock Dr             206 Pr 2150
District Clerk Of Panola Cty             Dallas, TX 752173263            Longview, TX 75604
110 S Sycamore Rm 227
Carthage, TX 75633



Albert P Grace                           Albert Pellegrini               Albert Pete Stoma
c/o P J Grace                            6515 Crestmoor Ln               PO Box 5854
101 Via Genoa                            Sachse, TX 75048                Shreveport, LA 71135
Newport Beach, CA 92663




Albert Philip Thompson                   Albert Roy Bartrem              Albert Rudolph Dennis Iii
8 Chisolm Trail                          1055 Silver Lake Rd Apt 243     Sarah Dangerfield Dennis
Wimberley, TX 78676                      Cary, IL 60013                  PO Box 1126
                                                                         Grambling, LA 71245




Albert Russell Latham                    Albert Shirey Jr                Albert Starnes Tiller
1430 Standish Court Southeast            105 Oak                         PO Box 244
Salem, OR 97302                          Homer, LA 71040                 Elysian Fields, TX 75642




Albert V Garr                            Albert W Cole Sep Property      Albert W Cole Usufruct
2110 Calypso Street                      PO Box 595                      PO Box 595
Monroe, LA 71201                         Cotton Valley, LA 71018         Cotton Valley, LA 71018




Albert W Key Jr                          Albert W Riggs Iii              Albert Watkins Key
220 St Michael St 2nd Floor              3345 Highway 132                PO Box 941
Mobile, AL 36602                         Rayville, LA 71269              Point Clear, AL 36564-0941




Alberta Martin Mason                     Alberta Miller Johnson          Alberta Rhodes King
5857 Timbergate Drive                    412 11st Street                 9611 Sharpcrest
Al 1314                                  West Des Moines, IA 50265       Houston, TX 77036
Corpus Christi, TX 78414




Alberto Arnuflo Martinez                 Alberto Lichtenberger           Alberto Tree Service
21 Alejandrenas Rd                       5213 Fulwell                    7246 W Fm 320
Zapata, TX 78076                         Corpus Christi, TX 78413        Palestine, TX 75803




Albertus Cameron                         Albin T Chalk Ii                Albino R Hinojosa Kandis H Hinojosa
c/o Texas State Treasury                 2521 Panorama Dr                1200 Madera St
Unclaimed Property Division              Silver City, NM 88061           Ruston, LA 71270
PO Box 12019
Austin, TX 78711-2019



Albrecht Associates Inc                  Alby Scott Est                  Alcogal
5847 San Felipe St Ste 1800              c/o Texas State Treasury        2nd Floor Humboldt Tower
Houston, TX 77057-3184                   Unclaimed Property Division     East 53rd Street Urb Marbella
                                         PO Box 12019                    PO Box 0819 09132
                                         Austin, TX 78711-2019           Panama City, Republic of Panama
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Alden Obrien Haass                       Alden Wayne Williams             Aldrebis Hart
PO Box 6655                              1205 West Aspen                  8941 Cr 476 S
Shreveport, LA 71136-6655                Lovington, NM 88260              Henderson, TX 75654




Aleazon Energy Inc                       Aleck Booker Featherston Jr      Aledo Royalty Company
2319 Pine Bend                           PO Box 716                       237 North Front Street
Kingwood, TX 77339                       Crowley, TX 76036                Aledo, TX 76008




Alejandro Campos Jr                      Alejandro M Benavides 1999C Tr   Alene Whiddon
1517 Falcon Ave                          Rosalina Madrid Ttee             338 Cr 3635
Mcallen, TX 78504                        318 Bordeaux Dr                  Joaquin, TX 75954-5742
                                         Laredo, TX 78041




Alese Crump Hanson                       Alesia A Marsh                   Alester Hogan
2728 Sw Bear Paw Trl                     478 Joe Road                     6510 Bending Oak
Palm City, FL 34990                      Jonesboro, LA 71251              Houston, TX 77050




Aletha Berwick                           Alex And Stephanie Osteen        Alex Burt
Margaret Sylvia Mobley Poa               5963 E Country Club Road         1000 Hunt Ln
1740 Willow Point Dr                     Longview, TX 75602               Ruston, LA 71270-2514
Shreveport, LA 71119




Alex Electric                            Alex Flores                      Alex Hamilton
3918 Calle Puebla                        503 Tullie Dr                    6889 Xavier Cir Unit 4
Laredo, TX 78046                         Longview, TX 75601               Westminster, CO 80030-7636




Alex J Smith                             Alex Ritter                      Alex T Hunt Jr
2203 W Pleasant Center Road              5000 Fm 1970                     PO Box 1247
Fort Wayne, IN 46819                     Carthage, TX 75633               Ruston, LA 71273




Alex William Langley                     Alexander C Vasquez              Alexander D Stuart
741 Highway 528                          Address Redacted                 150 North Field Dr Ste 100
Bay Springs, MS 39422                                                     Lake Forest, IL 60045




Alexander Daniel Auld Iii                Alexander Hamilton               Alexander I Santiago
PO Box 205                               16 Trade Wind Passage            Address Redacted
Rio Frio, TX 78879                       Corte Madera, CA 94925




Alexander Investment Company             Alexander Mautz                  Alexander Mineral Trust
PO Box 250969                            63 S Reese St                    Patrick Samuel Alexander
Plano, TX 75025                          Memphis, TN 38111                306 Nye Dr
                                                                          Laredo, TX 78041
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Alexander Oil Gas LLC                   Alexander Ortiz                 Alexander Ribiere Moore
c/o Prosperity Bank                     Address Redacted                PO Box 1244
1401 Avenue Q                                                           Mannford, OK 74044
Lubbock, TX 79401




Alexander Ryan Brown Trust              Alexander Ryan Marine Group     Alexander Stillman Ttee Bessie Gray
Michael Alan Brown Trustee              PO Box 3108                     Memorial Charitable Remainer
39 Haven Cir                            Houston, TX 77253-3108          Unitrust Uad 12/16/98
Denison, TX 75020                                                       241 E Washington
                                                                        Brownsville, TX 78520



Alexander Trotter Hunt Iii              Alexander Waring                Alexandra Agraphiotis
2200 Llangeler Dr                       c/o Jan Waring                  707 S Sierra Ave Unit 29
Ruston, LA 71270                        5802 Bob Bullock Loop           Solana Beach, CA 92075
                                        Suite C 1 84 248
                                        Laredo, TX 78041



Alexandra Carpe Wettlaufer              Alexandra Nicole Haley          Alexis Bradshaw
1410 Ethridge Road                      Jack Misty Haley Parents Of     23225 Montura Drive
Austin, TX 78703                        4000 Jacksboro Ave              Diamond Bar, CA 91765
                                        Snyder, TX 79549




Alexis Lewis                            Alfa Laval Inc                  Alfa Laval Inc
900 Riverside Dr                        PO Box 123227                   PO Box 8500 52788
Apt 103                                 Dallas, TX 75312-3227           Philadelphia, PA 19178-2788
Monroe, LA 71201




Alfadale Inc                            Alfonso F Benavides             Alfonza Perry
35 Haystack Rd                          410 Baffin Bay                  572 Scott Road
Artesia, NM 88210                       Laredo, TX 78041                Ruston, LA 71270




Alfonzo Woodard                         Alford Brothers                 Alford Davis
122 Adell Rd                            Royalty Partnership             16091 Hwy 80
Ruston, LA 71270                        David Alford Manager            Minden, LA 71005
                                        PO Box 67
                                        Henderson, TX 75653



Alford Investments                      Alford Maxfield                 Alford Welding
PO Box 67                               Route 1 Box 253                 1371 Cr 3169
Henderson, TX 75653                     Van, TX 75790                   Joaquin, TX 75954




Alfred C Glassell Jr                    Alfred D Garrett                Alfred E Gutman Corp
1021 Main St Ste 2300                   Box 187                         15 Upton Ave
Houston, TX 77002                       Logansport, LA 71049            Providence, RI 02906




Alfred G Butler                         Alfred Glassell Comegys         Alfred Glenn Dorsey
1504 Wood St                            PO Box 73                       14348 Fm 968 W Lot 21
Monroe, LA 71201                        Shreveport, LA 71161            Longview, TX 75601
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Alfred J Procell Et Ux                  Alfred Kimball                     Alfred M Marcelle G Wolfson
Catherine                               247 E 7250 South                   c/o Texas State Treasury
PO Box 97                               Midvale, UT 84047-2159             Unclaimed Property Division
Joaquin, TX 75935                                                          PO Box 12029
                                                                           Austin, TX 78711-2019



Alfred M Yeatts Jr                      Alfred Mcintyre Stringfellow Gst   Alfred Noble Willie
6231 Glademont Court                    Trust Uwd 6/8/2006 Alfred          3706 Sun Valley
Carmichael, CA 95608                    Mcintyre Stringfellow Trustee      Houston, TX 77025
                                        5150 Broadway Pmb 626
                                        San Antonio, TX 78209



Alfred P Murrah Jr Pers Rep             Alfred R Roberts Iii               Alfred S Wolfe Gst Non Exempt Marital
O/E/O Alonzo Jernigan                   3030 Canton Hwy                    c/o Tcb Wealth Managment Trust
c/o Mark Pruitt Pruitt Associates PC    Ball Ground, GA 30107              PO Box 678055
Six Ne 63Rd Street Suite 400                                               Dallas, TX 75267-8055
Oklahoma City, OK 73105



Alfred Sallinger                        Alfred T Burke                     Alfred Wayne White
c/o Hermine Sallinger                   Rita Burke                         Josephine Gray White
10681 Sandpiper Lane                    1011 Seminole Ln                   1162 Garr Road
Dallas, TX 75230                        Longview, TX 75605                 Ruston, LA 71270




Alfredia Butler Nabors                  Alfredo J Herbst                   Alfredo Morales
9335 E Baseline Rd Apt 1082             2906 Mehlhorn Loop                 Morales Machine Shop
Mesa, AZ 85209-1207                     Laredo, TX 78045                   PO Box 2762
                                                                           Laredo, TX 78044-2762




Alfredo Rojas                           Alfson Energy Land Services        Algiers Petroleum Partners
427 S Boston Ave Apt 20B                7600 E Orchard Road                5635 Brighton Pl
Tulsa, OK 74103                         Suite 115 South                    New Orleans, LA 70131
                                        Greenwood Vilage, CO 80111




Ali Danielle Wiggins Fields             Alice A Sheverbush                 Alice And Dick Hickerson Fp
135 Hwy 764                             PO Box 3377                        PO Box 481
Logansport, LA 71049                    Cheyenne, WY 82001                 Snook, TX 77878




Alice Ann Green                         Alice Ann Green And Alvin Green    Alice Avent Key
2393 Hwy 43 East                        2393 State Highway 43 E            15308 River Road
Henderson, TX 75652                     Henderson, TX 75652                Fairhope, AL 36532




Alice B OKeefe                          Alice Barmore S Heaberlin          Alice Bowers Choate
4930 Woodland Plantation Rd             810 Nella St                       3565 Highway 150
Mooringsport, LA 71060                  Minden, LA 71055-3039              Simsboro, LA 71275




Alice Bradfield OKeefe Usufr            Alice C Gallagher                  Alice Coleman
4930 Woodland Plantation Rd             c/o Alice Keys                     4710 South Victoria Avenue
Mooringsport, LA 71060                  1006 Howe Drive                    Los Angeles, CA 90043
                                        College Station, TX 77845
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Alice Cornelius Dave Cornelius           Alice D Watson Estate           Alice Deborah Welch
c/o Texas State Treasury                 James V Couch Administrator     37 Alicante Pl
Unclaimed Property Division              1511 Judson Road                Hot Springs Village, AR 71909-5104
PO Box 12019                             Suite D
Austin, TX 78711-2019                    Longview, TX 75601



Alice Denise Chevalier                   Alice Duncan Ross               Alice E Dennard
Grantor Life Est                         1944 Hillcrest                  6407 Grovewood
5517 E Fm 323                            Sulphur Springs, TX 75482       Houston, TX 77008
Palestine, TX 75801




Alice E Vandor                           Alice Ethelyn Snelson           Alice F Roecker
12519 Boheme Dr                          PO Box 2136                     3212 Nebraska Dr Unit A
Houston, TX 77024                        Jasper, TX 75951                Bismarck, ND 58503




Alice Fay Brown                          Alice Fay Oates                 Alice Faye Dunn Randall
600 West Avalon Ave Apt 179              8505 Chadbourne Rd              2715 Truman
Longview, TX 756025159                   Dallas, TX 75209                East Oakland, CA 94605




Alice Faye Hancock                       Alice Faye Harmon Heckel        Alice Faye Scott
119 Parker Lane                          1987 Harmon Loop                9515 Campton Farms
Ruston, LA 71270                         Homer, LA 71040                 San Antonio, TX 78250




Alice G Brown Life Estate                Alice G Pittman                 Alice G Saenz
c/o Effie J Owens                        PO Box 214                      8503 Crown Wood Drive
473 County Road 222                      Plain Dealing, LA 71064         Laredo, TX 78045
Carthage, TX 75633




Alice Goree Walker                       Alice H Fox                     Alice Heard Holland
PO Box 439                               7 Maclennan Ave                 310 Fortune Drive
Grambling, LA 71245                      Toronto, ON M4W 2Y4             Monroe, LA 71203
                                         Canada




Alice Hulls Andreyk                      Alice J Shaw Separate Prop      Alice Jean Beard Grable
508 Custer                               21761 Hwy 371 North             104 Rue Delieu
Sulphur, LA 70663                        Cotton Valley, LA 71018         West Monroe, LA 71291




Alice Jean Hyde                          Alice Jean K Strother           Alice Jean New
5303 Swiss Avenue                        3951 Redwood Drive              6953 Leameadow Drive
Dallas, TX 75214                         Riverside, CA 92501             Dallas, TX 75248




Alice Kelly Jones                        Alice L H Wright                Alice Lenore Searcy
1103 North Evenside                      c/o Texas State Treasury        PO Box 122
Henderson, TX 75652                      Unclaimed Property Division     Beckville, TX 75631
                                         PO Box 12019
                                         Austin, TX 78711-2019
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Alice Lorene Tillery Houk               Alice Louise Baxter                     Alice Louise Cochran Vickers
6203 Alden Bridge                       298 Terry Ln                            107 Castle Pines Dr N
Apartment 5305                          Hemet, CA 92544                         Castle Rock, CO 80108
The Woodlands, TX 77382




Alice Love Testamentary Trust           Alice Lucille Andreyk                   Alice Marie Anderson Est
1410 Pipes Road                         508 Custer                              Billy G Lindsey Exec
Ruston, LA 71270                        Sulphur, LA 70663                       1302 Belle Chene Dr
                                                                                Mobile, AL 36693




Alice Marie Lewis Parker                Alice Mayfield Barnett                  Alice Mcbride
PO Box 91010                            PO Box 252                              1111 Casandra Dr
Baton Rouge, LA 70821                   De Berry, TX 75639                      Longview, TX 75605




Alice Miles Dye Bruno                   Alice Osborne Danner                    Alice Park
4724 Evans Avenue                       1391 Gilman Avenue                      104 S Jackson Way
Chicago, IL 60615                       San Francisco, CA 94124                 Alamo, CA 94507




Alice Radiator And Service Inc          Alice Ragan M Milam Et Al Ind As        Alice Ross
PO Box 1112                             Aif For Edward Walton Mcbride Jr        1944 Hillcrest
Alice, TX 78333-1112                    205 East Maryland                       Sulphur Springs, TX 75482
                                        Ruston, LA 71270




Alice Shaffer Living Trust              Alice Sidney Oil Co Limited             Alice Southern Equipment
PO Box 212                              440 North Jefferson                     Dept 241
Rock River, WY 82058                    El Dorado, AR 71730                     PO Box 4346
                                                                                Houston, TX 77210-4346




Alice Southern Equipment Services       Alice Stinson Bowden                    Alice Sue Tompkins Hoes
103 Leigh St                            8211 Trigger Trail                      5216 Doe Valley Lane
Alice, TX 78332                         Shreveport, LA 71108                    Austin, TX 78759-7130




Alice Tiller Langley                    Alice Tucker Blaylock Est               Alice Vieira
PO Box 83                               Louis Owens Blaylock Jr Indp Executor   2124 Vista Laredo
Elysian Fields, TX 75205                1401 Santa Fe Trail                     New Port Beach, CA 92660
                                        Irving, TX 75601




Alice Wilson Burke                      Alice Wright                            Alice Zlotnick
100 Doremus Rd                          694 Fox Nest Circle                     Doar Chopin
New Iberia, LA 70563                    Haughton, LA 71037                      PO Box 4122
                                                                                Jerusalem 91000
                                                                                Israel



Alicia Ann Demarest                     Alicia Branch Nichols                   Alicia F Waidley Manuel
3022 Fisher Avenue                      PO Box 218                              15614 Old Sour Lake Road
The Villages, FL 32163                  Springhill, LA 71075                    Beaumont, TX 77713
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Alicia M Clayton                        Alicia M Noel Brown Tr          Alicia Tieber Mentell
5650 W Quincy Ave 50                    Alicia M Noel Brown Ttee        2220 Carriage Hill
Denver, CO 80235                        8422 T N Skiles Rd              Denton, TX 76201
                                        Ponder, TX 76259




Align Joaquin Gathering LLC             Aline Fick Mcclure Estate       Aline Long
2200 Ross Ave Ste 4600E                 Nortense Thomsen Executrix      4017 S Inwood Ave
Dallas, TX 75201                        2801Turtle Creek Blvd           New Orleans, LA 70131
                                        Dallas, TX 75219




Alinet Oilfield Services Corp           Alisa Kline                     Alisha ODonnell
PO Box 2468                             4208 Lillian                    4537 Garden Lane
Kilgore, TX 75663                       Houston, TX 77007               Odessa, TX 79761




Alison Adair Young                      Alison B Carnahan               Alison C Michael
1320 S University Drive                 201 East 66 Street Apt 16B      544 Ravine Avenue
Suite 400                               New York, NY 100216472          Lake Bluff, IL 60044
Fort Worth, TX 76107




Alison R Tucker                         Alison Sunderland               Alison Young Family Living Tr
93 Zinnia Street                        PO Box 832                      Bank Of America Na Agent
Ladera Ranch, CA 92694                  Kaysville, UT 84037             PO Box 840738
                                                                        Dallas, TX 75284-0738




Alixpartners LLP                        All About Fuel                  All American Cleaners
PO Box 5838                             959 South Oakhaven Circle       PO Box 99
Carol Stream, IL 60197-5838             Anaheim, CA 92804               Roswell, NM 88202-0099




All American Oilfield Svcs LLC          All American Trucking           All Conferencing
PO Box 1639                             PO Box 270568                   Attn Accounts Receivable
Monahans, TX 79756                      Houston, TX 77277-0569          10801 National Blvd Ste 500
                                                                        Los Angeles, CA 90064




All Consulting LLC                      All Phase Electric Supply Co    All Relocation Services
1718 S Cheyenne Avenue                  PO Box 339                      12425 Chimney Rock
Tulsa, OK 74119                         Rancho Cucamonga, CA 91729      Houston, TX 77035




All Star Signs Specialties LLC          All State Fire Extingushers     Allan B Ritter
1535 Verot School Road                  PO Box 420314                   7747 Holmes Rd
Lafayette, LA 70508                     Laredo, TX 78040                Nederland, TX 77627




Allan D Cain                            Allan F Bridewell Trust         Allan Foster Bridewell Trust
PO Box 1333                             Kae L Brockermeyer Trustee      Kae L Brockermeyer Trustee
Carthage, TX 75633                      PO Box 789                      c/o Jpmorgan Chase Bank Na
                                        Wilson, WY 83014                PO Box 789
                                                                        Wilson, WY 83014
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Allan K Leachman                        Allan Knowles                   Allan Moore Separate Property
174 Creeks Edge Circle                  Address Redacted                4071 Roosborough Springs
Ruston, LA 71270                                                        Marshall, TX 75672




Allan N Engstrom Sub Trust Of           Allan Villery                   Allan W Mccrary
Herbert Sue Engstrom                    PO Box 1361                     24 Hopewell Court
1988 Allan N Engstrom Trstee            Orange, TX 77631                Port Deposit, MD 21904
5651 Madden Ave
Live Oak, CA 95953



Allard L Fenwick Vlb                    Alleaner Turner Estate          Alleen King Carey Ind
10756 E Bay Tree Drive                  c/o Gregg Hobbs                 Aif For James W King
Gulfport, MS 395034541                  2801 N Park Road                1225 Bayberry Ave
                                        Spokane Valley, WA 99212        Baton Rouge, LA 70807




Allen Arthur Thornhill                  Allen B Clark Jr                Allen B Gaston
PO Box 596                              550 Meadowview Lane             1000 Leigh Mill Road
Urania, LA 71480                        Greenwood, IN 461421231         Great Falls, VA 22066




Allen B Wilson                          Allen Barclay Mann              Allen Blalock
1127 Judson Road Suite 254              16610 Dallas Parkway            PO Box 195
Longview, TX 75601                      Suite 2500                      Dallas, TX 75640
                                        Dallas, TX 75248




Allen Bryan Turner                      Allen Claude West               Allen Crouch Petroleum Engineers
2806 Amos Road                          799 Yellowstone Drive           PO Box 976
Longview, TX 75602-9801                 252                             Casper, WY 82602-0976
                                        Vacaville, CA 95687




Allen D Mcreynolds                      Allen Davis Long Et Ux          Allen Energy Investments LLC
PO Box 2862                             Millicent Joy Cole Long         Po Bo 1188
Longview, TX 75606                      1553 Mt Olive Rd                Spring Branch, TX 78070
                                        Quitman, LA 71268




Allen F Zamzow                          Allen Family Trust              Allen G Mcdermott Irrevocable Trust
PO Box 374                              Susan R Allen Tste              Robert L Mcdermott Trustee
Three Rivers, TX 78071                  PO Box 69                       2805 Apple Valley Drive
                                        Luling, TX 78648                Garland, TX 75043-1222




Allen Gaines                            Allen H Giddens                 Allen Herrel Minter Sr
2318 Gardenia Way                       6360 Lake Oak Landing           210 Blue Point
National City, CA 91950                 Cumming, GA 30040               Kemah, TX 77565




Allen Hill                              Allen Inspection Services       Allen Investment Partnership
1563 E Missouri                         PO Box 583                      7680 Green Crest Cir
Dallas, TX 75216                        Mills, WY 82644                 Bastrop, LA 71220
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Allen Investments                        Allen Jean Horner                Allen L Dunn And Wife Sara Dunn
PO Box 1520                              11105 Kilrenny Court             3102 Highway 59 E
Bradenton, FL 34206                      Louisville, KY 40243-1812        Beeville, TX 78102




Allen L Evans                            Allen L Price                    Allen L Wagers
2929 Long Lake Drive                     1503 Floyd Drive                 3718 Cherry Hills Lane
Shreveport, LA 71106                     San Angelo, TX 76904             Pasadena, TX 77505




Allen Mineral Royalty Co LLC             Allen O Sullender                Allen Overy LLP
PO Box 69                                15805 York Rd                    One Bishops Square
Luling, TX 78648                         Sparks, MD 21152                 London E1 6AD
                                                                          United Kingdom




Allen Pennington                         Allen Pierce                     Allen R Michael A True
Charles Schwab Co Inc Cust               177 S Wedgewood Drive            Trstees White Stallion Ranch
2114 Shouse St                           San Diego, CA 92114              9251 W Twin Peaks Rd
Santa Fe, TX 77510                                                        Tucson, AZ 85743




Allen Ralph Davis                        Allen Revocable Trust            Allen Rowe Jr
4744 Shadyway Drive                      J L And M A Allen Trustees       7638 Old Spanish Trl
Arlington, TX 76018                      1513 Aylesbury Lane              Shreveport, LA 71105
                                         Plano, TX 75075-2728




Allen Sales Service Inc                  Allen Seidner                    Allen Sprinkle
PO Box 943                               6413 Locke Ave                   7100 Matlock Road
Vernal, UT 84078                         Fort Worth, TX 761164410         Granbury, TX 76049




Allen Stoner Mooney                      Allen Thornburgh                 Allen Tuten
Route 1 Box 1345                         2100 N Randolph St               192 Audubon Tr
Hemphill, TX 75948                       Alexandria, VA 22207             Ruston, LA 71270




Allen Va Irrevocable Trust               Allen Vaughn                     Allen W Hamill Jr Fam Prtnrshp
Nancy Dominic Koorie Ttees               2406 E 89Th St                   c/o A William Hamill
3815 Rustic Arbour Lane                  Chicago, IL 60617                5 Virginia Ave
Sugar Land, TX 77498                                                      Richmond, VA 23226




Allen W Webb Annie Webb                  Allen Wireline Service Inc       Allene Kleweno
13825 Lexington Blvd 117                 2082 S Treadaway                 2908 Calle Del Bosque Nw
Sugarland, TX 77478                      Abilene, TX 79602                Albuquerque, NM 87104




Allene O Sullender                       Allene Sullender Survivor Trus   Allens Electric Motor Svc Inc
2525 Pot Spring Rd Apt                   15805 York Rd                    400A Roy Hopkins Drive
Timonium, MD 21093                       Sparks, MD 21152                 Vivian, LA 71082
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Allgayer Inc                              Alliance Bank                          Alliance Bernstein
PO Box 611                                100 West Jefferson Street              1345 Avenue of the Americas
El Campo, TX 77437                        Sulphur Springs, TX 75482              New York, NY 10105




Alliance Drilling Fluids LLC              Alliance Drilling Tools LLC            Alliance Energy Service Co LLC
PO Box 2988                               PO Box 1503                            100 Chevron Road
Midland, TX 79702-2988                    Evanston, WY 82931                     Rangely, CO 81648




Alliance Federal Credit Union             Alliance For Children                  Alliant Credit Union
PO Box 64970                              908 Southland Ave                      11545 W Touhy Avenue
Lubbock, TX 79464                         Fort Worth, TX 76104                   Chicago, IL 60666




Alliant Insurance Services Inc            Alliant Insurance Services Inc         Allie Blythe Boren
Lee Hollmann                              6100 Western Place Suite 100           PO Box 2344
5444 Westheimer Road Suite 900            Fort Worth, TX 76107                   Henderson, TX 75653
Houston, TX 77056




Allie Fae Easter Revocable Living Trust   Allie Frazier Hill                     Allie M Lee Trust
Dated 6/29/94 Wm C Easter And Allie Fae   PO Box 161                             Acct 11 1018
Easter Co Trustees                        Gibsland, LA 71028-0161                Wells Fargo Bank Nm Trustee
13111 Corcoran Street                                                            PO Box 1959
San Fernando, CA 91340                                                           Midland, TX 79702



Allie Ree Peevy                           Allie Sue York Stilley                 Allied Administrators
2889 Reed Road Apt 10101                  1537 Jenney Lane                       PO Box 26908
Houston, TX 77051                         Wichita Falls, TX 76302                San Francisco, CA 94126




Allied Modular Building System            Allied Oil Gas Services LLC            Allied Oil Gas Services LLC
642 West Nicolas Ave                      PO Box 133366                          PO Box 205803
Orange, CA 92868                          Spring, TX 77393-3366                  Dallas, TX 75320-5803




Allied Oilfield Machine And Pump LLC      Allied Pump Supply Svc LLC             Allied Waste Services 070
PO Box 879                                PO Box 868                             PO Box 78829
Levelland, TX 79336                       Aspermont, TX 79502                    Phoenix, AZ 85062-8829




Allied Waste Services 975                 Allied Wireline Services LLC           Allied World National Assurance Co
PO Box 9001099                            Dept 236                               Brian Casey
Louisville, KY 40290-1099                 PO Box 4346                            199 Water St 24Th Fl
                                          Houston, TX 77210-4346                 New York, NY 10038




Alligare LLC                              Allis Chalmers Energy Inc              Allis Chalmers Production Services LLC
Attn A/R                                  Gloria Anderson                        Services Llc
PO Box 967                                10613 W Sam Houston Pkwy N Suite 600   PO Box 201686
Opelika, AL 368030967                     Houston, TX 77064                      Dallas, TX 75320
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Allis Chalmers Rental Svcs LLC            Allison A Ramsay                Allison A Rothermel
PO Box 201734                             PO Box 52027                    Box 111667
Dallas, TX 75320-1734                     Lafayette, LA 70505             Carrollton, TX 75011




Allison Adair Schaff                      Allison Bailey Schurr           Allison C Margrave
8176 Maison Ridge Ln                      14787 Falling Leaf Dr           12 Royal Waters Dr
Shreveport, LA 71129                      Frisco, TX 75035-7455           San Antonio, TX 78248




Allison Cain Allison                      Allison Calcote                 Allison E Luhrs
1112 Riverglyn                            2223 Benson Rd S P204           13011 Ne 28Th St
Houston, TX 77063                         Renton, WA 98055                Bellevue, WA 98005




Allison H Schuringa                       Allison Holman Johnson          Allison K Smith
150 E 77Th St Apt 7 C                     5600 Ponderosa Dr               2203 W Pleasant Center Road
New York, NY 10021                        Odessa, TX 79762                Fort Wayne, IN 46819




Allison Knight Badgett                    Allison Langford Lanier         Allison Vanderwoude
3303 Hillpark Ln                          1510 Graham Blvd                3301 Rosedale Ave Unit A
Carrollton, TX 75007                      Pittsburgh, PA 15235            Dallas, TX 75205




Allison W Saladino                        Allison White Demarco           Allison/Bachman LLC
25039 Morris Park Ct                      335 Ne 69Th Circle              629 Wheeler St
Spring, TX 77389                          Boca Raton, FL 33487            Neenah, WI 54956




Allovus LLC                               Allston Dupre Calhoun           Alltel
6481 Mesedge Lane                         535 Broadwater Circle           PO Box 79033
Colorado Springs, CO 80919                Anderson, SC 29626              Phoenix, AZ 85062




Ally                                      Ally Bank                       Allyson Bates Baumeister
Payment Processing Center                 6985 South Union Park Center    107 Allie Ct
PO Box 9001951                            Midvale, UT 84047               Weatherford, TX 76087
Louisville, KY 40290-1951




Allyson M Maiman                          Allyson Stephens Rhymes         Alma Brewster
4412 Pebble Beach Rd                      606 West 8Th Street             4639 County Road 303 E
Rocklin, CA 95765                         Houston, TX 77007               Henderson, TX 75654




Alma Dennard Buck                         Alma Doris Maple Est            Alma E Jones
10 East 85Th Street 7A                    Charles A Bryant Md Indp Exec   1012 Jones Street
New York, NY 10028                        12904 River Oaks Drive          Lufkin, TX 75901
                                          Oklahoma City, OK 731425163
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Alma E Nutting Tr 09842 04 8           Alma J Butler                   Alma James
Wells Fargo Bank Trustee               PO Box 40756                    1124 East Birdson
Trust Natural Resources                Memphis, TN 38174               Longview, TX 75602
PO Box 5383
Denver, CO 80217



Alma Jean Yeoman                       Alma L Gallaher                 Alma Morel
3030 Country Club                      2751 Regency Oaks R111          14255 Preston Rd Apt 7106
Sugar Land, TX 77478                   Clearwater, FL 34619            Dallas, TX 75254-8571




Almeda Littleton                       Almedia Davis Mamon             Almega Environmental
9412 S Spring                          294 Davis Rd                    10602 Walker Street
Los Angeles, CA 90003                  Simsboro, LA 71275              Cypress, CA 90630




Almer Kelly Goldsmith Jr               Almer Lewis                     Almern E Lang Sr
7405 Dexter Blvd                       PO Box 2553                     5275 39Th St South
Detroit, MI 48206                      Reding, CA 96099                St Petersburg, FL 33711




Almon J Edwards                        Alnita Frances Dunn And         Alona Gribovsky
Address Redacted                       Husband W Paul Dunn             Sergey Gribovsky Jtwros
                                       5625 Glenford St                1920 Saybrook Ct
                                       Los Angeles, CA 90008           Vienna, VA 22180-3449




Alonzo Curtis David                    Alonzo D Malcolm                Alonzo Z Laurel
1118 Carolina St                       Rt 2 Box 44 A                   c/o Law Offices Of R Laurel
Shreveport, LA 71104                   Simsboro, LA 71275              5350 S Staples
                                                                       Suite 401
                                                                       Corpus Christi, TX 78411



Aloysius Dennis                        Alpaka Oil And Gas LLC          Alpha Burrough Gardner
12403 Diakovic Dr                      14407 Twisted Oak Ln            PO Box 225294
Houston, TX 77015                      Houston, TX 77079               Dallas, TX 75222-5294




Alpha Development Corp                 Alpha Echols Broughton          Alpha Energy Services LLC
635 South Monroe Way                   1530 Sun City Blvd              520 E Main St
Denver, CO 80209                       Suite 120 Pnb 213               Homer, LA 71040-3909
                                       Georgetown, TX 78633




Alpha Energy Services LLC              Alpha Interurban Ltd            Alpha O Holcomb
PO Box 678213                          2095 N Collins Blvd             407 Cr 3590
Dallas, TX 75267                       200                             Joaquin, TX 75954
                                       Richardson, TX 75080




Alpha Omega Forestry Consultants       Alphonso Pierpont Rettig Jr     Alphonzo Stephenson
c/o Johnnie L Pate                     8814 Fern Valley Drive          2028 45Th Ave
138 Cr 2881                            Houston, TX 77044-1508          Oakland, CA 94601
Carthage, TX 75633
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Alpine Bank                              Alpine Microwave Inc                 Alpine Presbyterian Church
2200 Grand Ave                           565 25 Road                          Of Longview Texas
Glenwood Springs, CO 81601               Suite 110                            135 Hiett Lane
                                         Grand Junction, CO 81505             Longview, TX 75605




Alpine Pure Water                        Alps Prop Cas Ins Co                 Alren E Emerson
121 Broadway Street                      Florence Building                    2709 Yandall Drive
Rock Springs, WY 82901                   111 North Higgins Ave Suite 200      Austin, TX 78748
                                         Missoula, MT 59802




Alsade Minerals Ltd Prtnrs               Alsco                                Alsco
c/o Tag Guio                             3200 Prospector Dr                   Formerly Steiner Corporation
PO Box 520                               Casper, WY 82604                     314 South Fourth Street
Big Piney, WY 82113                                                           Laramie, WY 82070




Alta Environmental                       Alta Foodcraft                       Alta Mesa Eagle LLC
3777 Long Beach Blvd                     20425 S Susana Rd                    15021 Katy Freeway Ste 400
Annex Building                           Long Beach, CA 90810-1136            Houston, TX 77094
Long Beach, CA 90807




Altamont Corporation                     Altapl Sgs Golf Tournament           Altcem LLC
PO Box 131918                            c/o Cody Lenert                      475 17Th St
Tyler, TX 75713                          401 Edwards St Ste 1200              Ste 460
                                         Shreveport, LA 71101                 Denver, CO 80202




Altchuler Trust U/A Dtd 3/23/2016        Altec Environmental Consulting LLC   Altec Environmental Consulting Inc
5961 Basswood Lane Nw                    Khara Simpkins                       PO Box 95364
Rochester, MN 55901                      10100 Woolworth Road                 Grapevine, TX 76099-9733
                                         Keithville, LA 71047




Altec Gas Lift                           Alteha Anne Rollins Trust            Alternate Fuel Systems Inc
Altec Inc Dba                            Aletha Anne Rollins Trustee          333 Texas Street
619 East Second Street                   310 Agee Avenue Sw                   Suite 521
Broussard, LA 70518                      Camden, AR 71701                     Shreveport, LA 71101-5305




Althea Collier Mitchell                  Althea Helms                         Alton A Nutt
1131 Excelsior Ave                       2500 State Hwy 121 2017              4111 Marlborough Dr
Oakland, CA 94610                        Euless, TX 76039-6049                Houston, TX 77092-7522




Alton Brown                              Alton C White Jr                     Alton J Fallin
Unclaimed Money Fund                     3112 Above Stratford Pl              5946 Highway 145
PO Box 12608                             Austin, TX 78746                     Ruston, LA 71270
Austin, TX 78701-2608




Alton J Fallin Silvia Robertson Fallin   Alton J Mangham                      Alton Prior
5946 Highway 145                         1348 E 63 St                         4211 Eta St
Ruston, LA 71270                         Tulsa, OK 74136                      San Diego, CA 92113
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Alton Pryor                             Alton R Kilgore                 Alton Roane
739 Thomas Wade Rd                      909 Porpoise St                 2995 West Beaumont Lane
Spearsville, LA 71277                   Austin, TX 78734                Eustis, FL 32726




Altovise Hightower                      Altrum Group Inc                Alv LLC
2816 The Mall Apt 60                    15 Maiden Lane Suite 200        121 E Main
Dallas, TX 75219                        New York, NY 10038              Magnolia, AR 71753




Alv LLC                                 Alva J Reneau                   Alva Lee Mann
Lanette D Beard                         226 Carver Circle               PO Box 933
121 E Main                              Redlands, CA 92373              Frankston, TX 75763
Magnolia, AR 71753




Alva Ray Sims Jr                        Alvan Markle Iii                Alvarez Marsal Taxand LLC
3918 Weeburn Drive                      27 Pond Ln                      Mark Young
Dallas, TX 75229                        Bryn Mawr, PA 19010             700 Louisiana St Suite 900
                                                                        Houston, TX 77002




Alvarez Marsal Taxand LLC               Alvaro Moreira                  Alve Mattox Jr
Attn Liz Carrington                     13911 Conner Park               1605 Mystic St
600 Madison Avenue 8Th Floor            Cypress, TX 77429               Houston, TX 77020
New York, NY 10022




Alvene H Perry                          Alvern Belton                   Alverne B Cobb
571 Scott Road                          1514 East Myrtle Ave            1504 Roosevelt Dr
Ruston, LA 71270                        Johnson City, TN 37601          Ruston, LA 71270




Alverne Bridges                         Alverne Walker Swearingen       Alvin E Moore
306 Butler Rd                           2002 Magnolia Dr                82 North St
Simsboro, LA 71275                      Morgantown, WV 26505            Laramie, WY 82072-9579




Alvin E Moore Estate                    Alvin E Richardson              Alvin Grady Miller
Robert M Moore Executor                 5908 St Andrews Circle          937 Sugarberry Drive
82 North Street                         Shreveport, LA 71129            Coppell, TX 75019-3504
Laramie, WY 82072




Alvin J Bedgood                         Alvin Jernigan                  Alvin R Chapman
PO Box 18264                            4012 Redbud Lane                1300 Audubon Dr
Tampa, FL 336779                        Edmond, OK 73034                Tupelo, MS 38801




Alvrone Sater Trust                     Alvy Lewis                      Alvyrtis J Marsh
U/W/O I Rudman Alvrone Sater Trustee    325 Jacob Street                13121 S Hoover St
PO Box 2509                             West Monroe, LA 71292           Gardena, CA 90247
Evansville, IN 47714
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Alyce Garrett Sparks                      Alyce Gentry Humble Ivie        Alyce June Veenstra
6607 Fm 450 North                         1855 Baring Blvd                7868 Woodsdale Ln
Hallsville, TX 75650                      Apt 1007                        Jacksonville, FL 32256
                                          Sparks, NV 89434




Alyce Kay Garrett                         Alyce Sory Heinrich             Alymer Evans
6607 Fm 450 North                         PO Box 363                      111 W Jefferson
Hallsville, TX 75650                      Addison, TX 75001               Barstrop, LA 71220




Alyson N Bristol                          Alyssa Yu Asensi                Alyverne Carter Coopwood
250 1st Ave Unit 706                      Address Redacted                1220 South 12Th Street
Charlestown, MA 02129-4414                                                Omaha, NE 681083218




Amador Resources LLC                      Amalei Desoto LLC               Amanda B Wilkerson Berryman
8812 South Joplin                         PO Box 1806                     PO Box 80
Tulsa, OK 74137                           Shreveport, LA 71166            Oologah, OK 74053




Amanda Burns                              Amanda C Crump                  Amanda Christine Slaton Teague
910 E Grubb                               919 Worthshire Street           3619 Avenue E
Mesquite, TX 75149                        Houston, TX 77008               Hederland, TX 77627




Amanda Covington Ward                     Amanda Elizabeth M Green        Amanda Fletcher Furbee
1203 Coyle St                             c/o Donna Ward                  5230 Ne Fremont St
Springhill, LA 71075                      110 Phillips Rd                 Portland, OR 97213
                                          West Monroe, LA 71292




Amanda H Smith                            Amanda Hall Wynn                Amanda Jane Halgas
4616 Arlington Ave                        Po Drawer M                     9002 Woodlane Boulevard
Ft Wayne, IN 46807                        Marshall, TX 75671              Magnolia, TX 77354




Amanda Jo Harris                          Amanda Kilgore Patton           Amanda Killgore Patton
5086 Us Highway 79 South                  PO Box 147                      185 Bob Patton Road
Carthage, TX 75633                        Lisbon, LA 71048                Homer, LA 71040




Amanda L Adams                            Amanda Leann Mccuin             Amanda Leigh Braziel
Address Redacted                          147 Whitfield Lane              1507 Concordia Ave
                                          Columbia, LA 71418              Austin, TX 78722




Amanda Leigh Campbell Trust               Amanda Leigh Rogers             Amanda Lois Mccrary Barmore
Susan Campbell Tidwell Trustee            4032 Hwy 67                     118 Chelsea Lane
198 Laguna Villas Dr                      Slaughter, LA 70777             Downsville, LA 71234
Calhoun, LA 71225
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Amanda Lou Burns                        Amanda Lynn Hall Porter         Amanda Lynn Stewart
910 E Grubb                             3703 Lionel St                  106 Swanson Ln
Mesquite, TX 75149                      Monroe, LA 71203                New Boston, TX 75570




Amanda Moore Trust                      Amanda Rae Moore                Amanda Sue Nutt Grafton
By Martha Jean Moore Trustee            1004 East Hunnicutt             825 West Sabine Street
1004 E Hunnicutt St                     Baytown, TX 77520               Carthage, TX 75633
Baytown, TX 77520-5358




Amanda Uhl                              Amanda W Tietze                 Amanda Waring
Address Redacted                        66 N Dulcet Hollow Cir          PO Box 100418
                                        The Woodlands, TX 77382         Anchorage, AK 99510




Amandy Thompson                         Amarillo National Bank          Amaro Oilfield Constructn LLC
Rt 2 Box 60                             PO Box 1                        PO Box 788
Henderson, TX 75652                     Amarillo, TX 79105              Laird Hill, TX 75666




Ambar Lone Star Fluid Services          Amber Blalock Trust             Amber Dawn Parr
PO Box 201115                           U/W/O Lois Blalock Test Trust   PO Box 416
Dallas, TX 75320-1115                   3717 St Hwy 137                 Menard, TX 76859
                                        Stanton, TX 79782




Amber Maritha Blalock Life Est          Amber Marshawnfay Hoskin        Amber Mccormick Krogmire
3701 State Hwy 137                      Separate Property               732 Dumaine Dr
Stanton, TX 79782                       4528 Overend Ave                Bossier City, LA 71111
                                        Richmond, CA 94804




Amber Wilson                            Ambrocio Campos Jr              Ambrose Land Co LLC
809 Marina Del Ray Lane                 PO Box 4035                     c/o Betty Sue Ambrose
Apt 2                                   Alice, TX 78333                 385 Styles Ranch Rd
West Palm Beach, FL 33401-8455                                          Choudrant, LA 71227




Ambrose Royalties LLC                   Amcon Resources Inc             Amdsj LLC
Subsudiary Of Noble Royalties Inc       c/o Allen Gann President        4318 S Zapata Hwy
PO Box 660082                           PO Box 3025                     Laredo, TX 78046
Dallas, TX 75266-0082                   Oklahoma City, OK 73101




Amega West Services LLC                 Amega West Services LLC         Amegy Bank N A
Todd Gaspard                            7454 Solution Center            1717 West Loop S
16623 Aldine Westfield                  Chicago, IL 60677-7004          Houston, TX 77054
Houston, TX 77032




Amelia Ann Joseph                       Amelia C Tierney                Amelia G Palmer
Box 1706                                PO Box 2667                     2803 Acadia
Longview, TX 75606                      Longview, TX 75606              Marshall, TX 75670
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Amelia Gale Sanders                    Amelia Lee Cunningham             Amelia Navarro Dovalina
13711 N Virginia Ave                   PO Box 2384                       2318 Rosario
Smithville, MO 64089                   Longview, TX 75606                Laredo, TX 78043




Amelia Resources LLC                   Amelia Ruth Donaldson             Amelia White Booker
PO Box 2144                            3754 Willow Wood Dr               2720 Essex Terrace
Breckenridge, CO 80424                 Lake Charles, LA 70605-3146       Houston, TX 77027-5212




Amenda Chaffin Meadows                 Amerada Hess Corporation          Ameret LLC
317 Marie St                           PO Box 201544                     PO Box 7804
West Monroe, LA 71291                  Houston, TX 77215                 Overland Park, KS 66207-0804




American Assoc Professional            American Association Of           American Association Of Notaries Inc
Landmen Aapl                           Petroleum Geologists              PO Box 630601
PO Box 225395                          PO Box 843306                     Houston, TX 77263
Dallas, TX 752225395                   Kansas City, MO 641843306




American Assurance 2000 Lp             American Assurance 2000 Lp        American Bank Of Texas
c/o Cornerstone AcqMgt Co Llc          PO Box 670516                     PO Box 6469
Department 1240                        Dallas, TX 75267-0516             Corpus Christi, TX 78466
PO Box 17180
Denver, CO 80217-0180



American Beacon Advisors Inc           American Benevolent Society       American Bldg Maintenance Co
220 E Las Colinas Blvd 1200            Paseo De La Reforma 1870 201      Abm
Irving, TX 75039                       Mexico City 11000                 PO Box 951864
                                       Mexico                            Dallas, TX 75395-1864




American Cancer Society                American Cancer Society Probate   American Cleaning Technologies
PO Box 149054                          Trust Management                  PO Box 386
Austin, TX 78714                       Shared Service Center             Dacono, CO 80514
                                       PO Box 720366
                                       Oklahoma City, OK 73162



American Cometra Inc                   American Compression              American Construction Investigations Ltd
1460 Main St Ste 245                   Technology Service                602 Sawyer St Suite 200
Southlake, TX 76092                    Po Drawer 7769                    Houston, TX 77007-7510
                                       Odessa, TX 79760




American Eagle Logistics               American Eagle Logistics          American Eagle Logistics
151 Southpark Ste 4125                 Harold P Vice Jr                  PO Box 3307
Lafayette, LA 70508                    1247 Petroleum Parkway            Lafayette, LA 70502
                                       Broussard, LA 70518




American Electric Components           American Electric Power           American Electric Power
4901 Fruitland Ave                     1 Riverside Plaza                 PO Box 24413
Vernon, CA 90058                       Columbus, OH 43215                Canton, OH 447014413
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American Electric Power                American Energies Corporation           American Energy Investment Corp
Southwestern Electric Power            4925 Greenville Ave Ste 915             645 Fifth Avenue
PO Box 24422                           Dallas, TX 75206-4021                   New York, NY 10022
Canton, OH 447014422




American Engraving Company             American Erecting Company               American Express
12008 Camilla St                       860 Wakefield                           PO Box 650448
Whittier, CA 90601                     Houston, TX 77018                       Dallas, TX 757027368




American Geophysical Corp              American Golf Foundation                American Heart Association
5271 South Quebec St                   2701 Coleridge Drive                    2401 Scott Avenue
Englewood, CO 80111                    Rossmoor, CA 90720                      Fort Worth, TX 76103




American Heart Association             American Innovations Ltd                American Innovative Royalty
c/o Bank One Trust Co N A              12211 Technology Blvd                   PO Box 231
Drawer 99084                           Austin, TX 78727                        Breckenridge, TX 76424
Fort Worth, TX 76199-0084




American Innovative Royalty Sy         American Inovtve Rlty Sytms             American International Group
924 County Road 174                    924 Cr 174                              80 Pine Street 4th Floor
Cotter, AR 72626-9217                  Cotter, AK 72626                        New York, NY 10005




American Liberty Oil Co Etal           American Longshore Mutual Association   American Lonshore Mutual Association
3725 West Highway 175                  PO Box 934368                           c/o American Equity Underwriters
Kaufman, TX 75142                      Atlanta, GA 31193-4368                  Paula Howell
                                                                               11 North Water Street 32nd Fl
                                                                               Mobile, AL 36602



American Marine Corporation            American Midwest Bank                   American Millennium Corp Inc
1500 S Barracuda Street                850 North Hamilton Road                 17301 West Colfax Ave
Terminal Island, CA 90731              Gahanna, OH 43230                       Suite 230
                                                                               Golden, CO 80401-4891




American Mobile Research Inc           American National Bank                  American National Insurance Co
PO Box 2909                            PO Box 2139                             2525 S Shore Blvd Ste 207
Casper, WY 82602                       Omaha, NE 68103                         Leage City, TX 77573




American National Petroleum Co         American Natl Bank Of Texas             American Natl Bank Trust Co
PO Box 27725                           102 West Moore Ave                      628 Main St
Houston, TX 77227                      Terrell, TX 75160                       Danville, VA 24541




American Patrols Inc                   American Petrofina Co Of Tx             American Petroleum 1982 B Ltd
10306 South County Rd 1210             1201 Louisiana St 1800                  44 Chase Ln
Midland, TX 79706                      Houston, TX 77002                       Medusa, NY 12120
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American Petroleum Corporation           American Petroleum Energetics              American Portable Storage
44 Chase Ln                              Income Development                         2400 E Pacific Coast Hwy
Medusa, NY 12120                         Po 618                                     Wilmington, CA 90744
                                         Bedford, NY 10506




American Production Services             American Pump Supply LLC                   American Registry For Internet
Dba Of American Safety Services Inc      PO Box 1663                                PO Box 79010
PO Box 14367                             Lovington, NM 88260                        Baltimore, MD 21278-0010
Odessa, TX 79768




American River Bank                      American Royalties Ltd                     American Safety Services Inc
PO Box 276300                            3045 Lackland Road                         Kay Tucker / Tiffany Hokett
Sacramento, CA 95827                     Fort Worth, TX 76116                       PO Box 12874
                                                                                    Odessa, TX 79768




American Safety Services Inc             American Society Of Mechanical Engineers   American State Bank
3215 Fruitvale Ave                       PO Box 36037                               1301 North Mechanic Street
Bakersfield, CA 93308-5915               Newark, NJ 07118-6037                      El Campo, TX 77437




American Supply Company                  American Tank Gauge                        American Tank Gauge Inc
PO Box 3065                              1801 West Carolina                         1801 W Carolina Ave
Kilgore, TX 75663                        Chickasha, OK 73018                        Chickasha, OK 73018-6905




American Tubular Inspection Inc          American Tubular LLC                       American Well Control Safety
PO Box 2350                              PO Box 1639                                3232 Rio Mirada Dr Unit D2
Mills, WY 82644                          Pasadena, TX 77501                         Bakersfield, CA 93308




American Wellhead Servicesinc            Americhem International LLC                Amerigas
PO Box 3094                              PO Box 261410                              Amerigas Eagle Propane Lp
Odessa, TX 79761                         Plano, TX 75026                            PO Box 660288
                                                                                    Dallas, TX 75266-0288




Amerigas                                 Ameripride Services Inc                    Ameripride Services Inc
PO Box 7155                              General Manager                            PO Box 695
Pasadena, CA 91109-7155                  1201 S Jackson                             Bemidji, MN 56619-0695
                                         Odessa, TX 79761




Ameriprise Finan                         Amerisource Funding Inc                    Ameristate Bank
Attn Jesse Dahl                          Assignee For ES Oilfield Svcs              2410 Loy Lake Rd
751 Griswold Street                      PO Box 4738                                Sherman, TX 75090
Detroit, MI 48226                        Houston, TX 77210




Ames Financial Inc                       Amexco LLC                                 Amf Investments LLC
416 Travis St Ste 1106                   19240 Redland Rd Ste 200                   1210 Wynden Creek Dr
Shreveport, LA 71101                     San Antonio, TX 78259                      Houston, TX 77056
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Amfryva LLC                            Amherst Mineral Co               Ami Elizabeth Wiggins Durham
3950 S Hudson Way                      2329 Oak Alley Suite 2           363 Highway 764
Cherry Hills Village, CO 80113         Tyler, TX 75703                  Logansport, LA 71049




Amie Houston                           Amie T Edling                    Amiee Christine Crutchfield
5746 Alder Street                      111 Andrew Ridge Lane            9 Wayside Rd
Lake Charles, LA 70605                 The Woodlands, TX 77384          Cartersville, GA 30120-2356




Ammburr Lynn Jackson                   Ammo Investments Ltd             Amoco Federal Credit Union
4373 S Van Ness Ave Apt 8              500 N Akard Ste 1900             2300 Texas Ave
Los Angeles, CA 90062                  Dallas, TX 75201                 Texas City, TX 77590




Amoco Production Co                    Amoco Production Company         Amoco Production Company
PO Box 277897                          1675 Broadway                    PO Box 3092
Atlanta, GA 30384-7897                 Denver, CO 80202                 Houston, TX 77253




Amon D Sylestine                       Amos D Maines Estate             Amos H Lowry
807 East Bear Creek Loop               Mary E Mcnatt Ex                 1671 County Road 3304
Livingston, TX 77351                   429 Lee Road 598                 Greenville, TX 75402
                                       Phenix City, AL 36870




Amos Ladon Marsh                       Amos Lewis Separate Property     Amos Walker
4801 Heather Glenn Trail               2243 Harrison Ave                2151 Westview St
Mckinney, TX 75070                     San Diego, CA 92113              Los Angeles, CA 90016




Ampro Strategic Alliance               Amsler Priddy Trust              Amsouth Bank Employees Pension Trust
PO Box 146                             Kathryn Hervey Priddy Co Ttees   333 Texas Sh2091
Mandeville, LA 70470                   4925 Greenville Ave Ste 500      Shreveport, LA 71101
                                       Dallas, TX 75206




Amy Bloxom Williams                    Amy C Payne                      Amy C Warren
5110 English Turn                      2090 Bellevue Rd                 444 Riverview Lane
Birmingham, AL 35242                   Haughton, LA 71037-7547          Saint Charles, MO 63301




Amy Carter                             Amy Colbert Mckellum             Amy Colleen Reed
1401 East Highway 31                   5204 Herford Dr                  c/o Texas State Treasurer
Longview, TX 75604                     Sachse, TX 75048-6519            Unclaimed Property Division
                                                                        PO Box 12608 Capitol Station
                                                                        Austin, TX 78711



Amy Denise Campbell Sharp              Amy Diane Tucker                 Amy E Stieren Trust
PO Box 430                             5073 Reynosa Dr                  Barry Coates Roberts And
Dequincy, LA 70633                     Saint Louis, MO 63128-2733       George L Stieren Co Trustees
                                                                        7373 Broadway Ste 406
                                                                        San Antonio, TX 78209
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Amy Elizabeth Loyd                      Amy Evans Mckinney              Amy Evelyn Huffman Young
PO Box 6                                5323 Foxglove Street            1601 Resaca Blvd
Statesboro, GA 30459                    Bossier City, LA 71112          Austin, TX 78738




Amy Filley                              Amy Galaviz                     Amy Garrett Key
6111 Del Norte Ln                       Address Redacted                134 Riverwood
Dallas, TX 75225                                                        Boerne, TX 78006




Amy Gray Taylor                         Amy Grigsby Bigler              Amy Jane Lawrence Walton
PO Box 231                              2003 Alligator Alley            PO Box 470545
Tishomingo, MS 38873                    New Iberia, LA 70560            Fort Worth, TX 76147-0545




Amy Lawrence Walton                     Amy Leanne Mitchell             Amy Lee Fehr
PO Box 1990                             1035 Ben Dr                     5668 S Geneva Street
Fort Worth, TX 76101                    Burleson, TX 76028-5657         Greenwood Vlg, CO 80111




Amy Luann Clemens                       Amy Lynn Cole                   Amy M Fredrickson
1521 Rice Rd W 104                      510 Lynwood                     2959 Henderson Dr
Tyler, TX 75703                         Missouri City, TX 77489         Cheyenne, WY 82001




Amy M Gladson                           Amy M Knotts                    Amy M Mamzic Williams
PO Box 50427                            7342 S Lakeshore Dr             108 N Towamenchin Avenue
Casper, WY 82605                        Shreveport, LA 71119            Lansdale, PA 19446




Amy Marie Taylor                        Amy Melissa Ghoreishi           Amy Michell Abbey
PO Box 236                              10324 Mosscrest Drive           17851 Hales Rd
Arcadia, LA 71001                       Dallas, TX 75238                Batson, TX 77519




Amy Noelle Black                        Amy P Dickerson                 Amy Rebecca Yarbrough Blunschi
1132 Belrose Rd                         3721 Sabine Pass Dr             PO Box 388
Mayfield Heights, OH 44124              Bossier City, LA 71111-6359     Ferriday, LA 71334




Amy Stone Caraway                       Amy Susan Titus Adams           Amy V Smith
218 Baxter Rd                           3208 St Johns Avenue            2133 Nodding Pines Drive
Ruston, LA 71270-3573                   Dallas, TX 75205                Apt 1109
                                                                        Corpus Christi, TX 78414




Amy Vuckovich                           Amy Wright Rosche               Ana C Ochoa Trustee
1130 S Wilton Place                     32 2nd St Box 23                Carlos Hortencia Ochoa Trust
Los Angeles, CA 90019                   Widewater, AB T0G 2M0           12583 Bruschetta Drive
                                        Canada                          Frisco, TX 75034
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Ana Claudia Benavides 1991 Tr           Ana Gardner Osborn               Ana Lab Corp
c/o G Benavides Jr Trustee              c/o William F Osborn Ii          PO Box 9000
318 Bordeaux Dr                         PO Box 1910                      Kilgore, TX 75663
Laredo, TX 78041                        Canyon Lake, TX 781330006




Ana Martinez                            Anaconda Trucking LLC            Anadarko EP Company Lp
4 High Ridge Park                       21448 Fir Lane                   1099 18Th Street Suite 1250
Stamford, CT 06804                      Purcell, OK 73080                Denver, CO 80202




Anadarko EP Onshore LLC                 Anadarko EP Onshore LLC          Anadarko Petroleum Corp
1201 Lake Robbins                       PO Box 730875                    PO Box 1330
The Woodlands, TX 77380                 Dallas, TX 75373-0875            Houston, TX 772511330




Anadarko Petroleum Corp                 Anadarko Petroleum Corp          Analicia Pena Becerra
PO Box 173779                           PO Box 730002                    PO Box 3395
Denver, CO 80217-3779                   Dallas, TX 75373-0002            Laredo, TX 78044




Analysts Inc                            Analytical Instruments Corp      Anamichelle Castellano
PO Box 847921                           9845 Drysdale Lane               12920 Emu Ln
Dallas, TX 75284-7921                   Houston, TX 77041-6212           North Zulch, TX 77872




Ananias Young And Fannie Mae Young      Anatesco                         Anb Bank
806 Ridge Drive                         PO Box 8225                      3033 East First Avenue
West Monroe, LA 71292                   Tyler, TX 75711                  Denver, CO 80206




Anchor Drilling Fluids Usa Inc          Anchor Marine Canvas             Anchor Safety Inc
PO Box 1390                             6400 E Marina Drive Unit 7       Stephen Smith
Tulsa, OK 74101-1390                    Long Beach, CA 90803             4016 W Marshall Avenue
                                                                         Longview, TX 75604




Anchor Safety Inc                       Anchors Secure Inc               Ancillary Succ Kathleen Bryans And
PO Box 10030                            4511 Neely Ct                    Charles Coleman Bryans
Longview, TX 75608                      Midland, TX 79707                Rep By Robert Hugh Bryans
                                                                         535 Johnson Woods Drive
                                                                         Paris, TX 75460



Ancon Marine                            Andergauge Usa Inc               Anders Beth Kuykendall L
PO Box 515290                           PO Box 203762                    3357 East Country Club Road
Los Angeles, CA 90051-5290              Houston, TX 772163762            Longview, TX 75602




Andersens Sales Salvage Inc             Anderson County Tax Assessor     Anderson County Tax Assessor
1490 E 8Th St                           703 N Mallard Street Suite 104   Collector Teri Garvey
Greeley, CO 80631                       Palestine, TX 75801              PO Box 1990
                                                                         Palestine, TX 75802-1990
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Anderson Estates LLC                   Anderson Excavation Inc                Anderson Exploration Energy Co Lc
720 First St                           1689 Eddington Rd                      333 Texas Street
Arcadia, LA 71001                      Marshall, TX 75672                     Suite 2020
                                                                              Shreveport, LA 71101




Anderson Family Trust                  Anderson Field Service Inc             Anderson Inv Holdings Lp
2110 Horseshoe Lane                    614 Little Sarah Circle                Gma Energy Lc
Longview, TX 75605                     Aztec, NM 87410                        333 Texas St Ste 2020
                                                                              Shreveport, LA 71101




Anderson Living Trust Dt 5/16/2000     Anderson OG Inc                        Anderson Operating Co Lp
Thomas J Anderson                      4925 Greenville                        121 S Broadway Avenue
Jeanette B Anderson Ttees              Suite 660                              Suite 300
324 North Ripley Road                  Dallas, TX 75225                       Tyler, TX 75702
El Dorado, AR 71730-5149



Anderson Operating Co LP               Anderson Production Equipment Co Inc   Anderson Ranch
121 S Broadway Suite 300               3116 Pines Road                        2707 N Big Spring St
Tyler, TX 75702                        Shreveport, LA 71119                   Midland, TX 79705-6627




Andraenette Bissic Davis               Andre D Crawford                       Andre D Jefferson
1750 Tech Farm Road                    3711 Northwest Riverbend Road          Address Redacted
Ruston, LA 71270                       Bentonville, AR 72712




Andre Dwain Hall                       Andre J Simmons                        Andrea Augustin
1803 Fm 138                            1716 E Burgess Lane                    8050 SW 10th St
Center, TX 75935-7743                  Phoenix, AZ 85042                      Plantation, FL 33324




Andrea Bierstedt                       Andrea Close                           Andrea Denise Ritter
PO Box 1794                            1548 Wilder Street                     5780 Shadowbend
Freer, TX 78357                        Thousand Oaks, CA 91362                Lumberton, TX 77657




Andrea Farley Rhodes                   Andrea Giles                           Andrea Hargis Peck
PO Box 1623                            3988 South Brighton Avenue             304 River Ranch Road
Nashville, AR 71852                    Los Angeles, CA 90062-1204             Kingsland, TX 78639




Andrea Lynn Wall Owens                 Andrea Meisenheimer Ozee               Andrea Neil Sepaugh Trust 2
107 Kruger Road                        411 E Jefferson                        c/o Regions Bank Nrre Operations
Krugerville, TX 76227                  Jefferson, TX 75657                    PO Box 11566
                                                                              Birmingham, AL 35202




Andrea O Navejar                       Andrea Webb                            Andree French Griffin
2910 Marble Glade                      1995 Surfside Terrace                  6212 Juneau Road
San Antonio, TX 78245                  Vero Beach, FL 32963                   Fort Worth, TX 76116
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Andreski Ms Dannette                     Andreu Lawrence Wiltse Jr             Andrew Amir Taghizadeh
PO Box 98                                8412 Denali Pkwy Unit 3               Address Redacted
Bremond, TX 76629                        Austin, TX 78726-1766




Andrew Ardessa Lewis Ttees               Andrew B Indest Tina W Indest         Andrew B Jordan Jr
Lewis Fam 2013 Dcl Of Trust              706 Quail Ridge                       105 Sand Hills Drive
Dated September 20 2013                  New Iberia, LA 70560                  Lufkin, TX 75901
3140 W Lexington Street
Chicago, IL 60612



Andrew B Martin                          Andrew B Small Iii                    Andrew Battle
6165 Caminito Baeza                      4118 Shenandoah                       331 Malone Rd
San Diego, CA 92122                      Dallas, TX 75205                      Arcadia, LA 71001




Andrew Benjamin Patton                   Andrew Bobb Deputy Chief Houston      Andrew Brown Deceased
3309 S Spring                            United States Attorney s Office for   Rt 1 Box 675
Springfield, IL 62703                    the Southern District of Texas        Karnack, TX 75661
                                         1000 Louisiana Ste 2300
                                         Houston, TX 77002



Andrew Brown Irrevocable Trust           Andrew C Elliott                      Andrew C Mcgehee
American Trust                           5000 Mission Oaks Blvd 63             5701 Gaston Ave Apt 8
Investment Services Trustee              Austin, TX 78701                      Dallas, TX 75214
200 N Austin St
Sequin, TX 78155



Andrew C Ryan                            Andrew Carnaghi Bene                  Andrew Charlie Day
c/o Bokf Na Agent                        Jean Carnaghi Decd Ira                888 Isabella Street
PO Box 1588                              19 Colonial Dr                        Oakland, CA 94607
Tulsa, OK 74101                          Katonah, NY 10536-3152




Andrew Covington Jr                      Andrew D Dillavou                     Andrew D Mcdowell
405 West Quachita                        14414 Bishar Lane                     Address Redacted
Luanne, AR 71751                         Charlotte, NC 28277




Andrew D Read Testamentary Tst           Andrew E Green                        Andrew F Weir
Mary Read Winterrowd Trustee             4542 Fawn Path                        3312 Maple Ave
Texas State Bank Trustee                 Gainesville, GA 30506                 Manhattan Beach, CA 90266-3506
PO Box 3782
San Angelo, TX 76902



Andrew Ferdin                            Andrew Garza                          Andrew Gwendolyn Hodges
Address Redacted                         Address Redacted                      PO Box 1817
                                                                               Shreveport, LA 71166




Andrew H Wall                            Andrew Haddad                         Andrew Hugh Mays
1161 Maree Drive                         PO Box 630                            1143 East Main Street
Waxahachie, TX 75165                     Waskom, TX 75692                      Ventura, CA 93001
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Andrew J Cozby                            Andrew J Guinta                 Andrew J Happick
Address Redacted                          Address Redacted                2411 Spring Valley Drive
                                                                          Bel Air, MD 21015-1314




Andrew J Mellen Iii                       Andrew Jackson                  Andrew Jackson Massey Iii
920 Colony Dr                             PO Box 173                      23351 Campbellton Rd
Highland Heights, OH 44143                Chatham, LA 71226               San Antonio, TX 78264




Andrew James Padon                        Andrew Jordan                   Andrew Jordan And Remonia Y Jordan
180 Harrison Ave                          2008 Cr 301 South               2008 County Road 301 South
Loveland, CO 80537-5437                   Henderson, TX 75654             Henderson, TX 75654




Andrew Jordan Indv As President Of        Andrew Keith Emerson            Andrew Kenneth Huff
Andrew Jordan Services LLC                16488 Ouray Rd E                3368 Deborah Drive
2008 County Road 301 South                Pine, CO 80470                  Monroe, LA 71201
Henderson, TX 75654




Andrew King                               Andrew Kobelan                  Andrew L Dubose
2120 Needham Rd                           Address Redacted                31045 Sw Sandy Ct
Ann Arbor, MI 48104-4906                                                  Wilsonville, OR 97070-9752




Andrew L Gutman                           Andrew Leith Jr Trust           Andrew Lewis
2228 Evening Star Dr                      c/o David Leith Cpa/Tte         3140 West Lexington
Park City, UT 84060                       39 Owen Drive                   Chicago, IL 60612
                                          Amherst, MA 01002




Andrew Lussen                             Andrew M Bridges                Andrew M Moncrief
801 S Canal Street                        Address Redacted                1051 Columbia Memorial Pkwy Apt 1701
Attn Capital Structures C1N                                               Kemah, TX 77565-5115
Chicago, IL 60607




Andrew M Schultz                          Andrew Meyers                   Andrew O Sholar Jr
934 S Fillmore Way                        Address Redacted                PO Box 148
Denver, CO 80209                                                          Joaquin, TX 75954




Andrew Oil Gas Partnership                Andrew S Everest                Andrew Sutherland Topp
14 South Court                            1509 Postbridge Court           13200 Ellesmere Ct
Port Washington, NY 11050                 Arlington, TX 76012             Raleigh, NC 27614




Andrew Tompkins Test Trust                Andrew Tyson Mackey             Andrew Welding And Service
Patricia Ann Lewis Ttee                   7200 S Brook                    PO Box 382
1511 Frostwood Dr                         Austin, TX 78736                Baggs, WY 82321
Tyler, TX 75703
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Andrews Lagasse Branch Bell LLP         Andrews Abstract Co             Andrews County Tax Office
626 Wilshire Blvd Ste 1000              PO Box 905                      210 Nw 2nd St
Los Angeles, CA 90017-2924              Andrews, TX 79714               Andrews, TX 79714-6308




Andrews Isd Tax Office                  Andrews Lagasse Branch Bell     Andrews Pump Supply Inc
600 N Main                              4365 Executive Drive Ste 950    PO Box 1378
Andrews, TX 79714                       San Diego, CA 92121             Andrews, TX 79714




Andrews Royalty Lp                      Andrews Ruth                    Andrews Safety Anchors Inc
PO Box 12208                            Box 964                         PO Box 316
Dallas, TX 75225                        Electra, TX 76360               Andrews, TX 79714-0316




Andries Land And Timber LLC             Andy B Coats Jr                 Andy D Phillips
70 San Antonio Ave                      3704 Tamil St                   PO Box 1725
Many, LA 71449                          Austin, TX 78749                Jacksonville, TX 75766




Andy Dennard                            Andy F Harrison                 Andy L Candy S Turlington
Address Redacted                        Rr 2                            391 Cartwright Road
                                        Shreveport, LA 71129            Wichita Falls, TX 76301




Andy Lord                               Anessa Newton Mckenzie          Angel Medrano
630 Sockwell                            1950 Newson Road                Address Redacted
Hobbs, NM 88242                         Shongaloo, LA 71072




Angel Teer                              Angela Ball Green               Angela C Falcone
704 Britain Drive                       3919 Fairmont Parkway 218       3706 Acosta Road
Cantonment, FL 32533                    Pasadena, TX 77050              Fairfax, VA 22031




Angela C Richards                       Angela Culbertson               Angela D Allen
1017 Mlk Dr                             5112 Calmont Avenue             11100 E 61st St
Ruston, LA 71270                        Fort Worth, TX 76107            Raytown, MO 64133




Angela Evans Mills                      Angela Gardner                  Angela Gholston Underwood
5323 Foxglove Drive                     9116 Palm 8                     3615 Curry Street
Bossier City, LA 71112                  Bellflower, CA 90706            Monroe, LA 71203




Angela H Brantley                       Angela H Thoman                 Angela Handeland
522 Petrel Circle                       Mex 38218                       400 1st St S Suite 300
Lakeland, FL 33809                      2250 Nw 114Th Ave Unit 1M       St Cloud, MN 56301
                                        Miami, FL 33192
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Angela Jenkins Bagley                    Angela Jones Mcdaniel           Angela June Hines
1046 South Cr 307                        3256 Hwy 959 N                  8209 Kentwood Drive
Orange Grove, TX 78372                   Beckville, TX 75631             North Richland Hill, TX 76182




Angela K Heard                           Angela K Malaer                 Angela K Maleaer
1516 Robin St                            20525 Riverside Pines           20525 Riverside Pines
Ruston, LA 71270                         Humble, TX 77346                Humble, TX 77346




Angela Karen Mcdonald Starr Sp           Angela Kay Martin               Angela Kay Osbon
109 Sherwood Drive                       3493 Hwy 59 S                   116 Pinewood Dr
West Monroe, LA 71291                    George West, TX 78022           West Monroe, LA 71291




Angela M Brown Karalekas                 Angela Marie Lansford           Angela Martin
3185 Stonehurst Drive                    106 Oak Isle Dr                 15271 Bailey Road
Fairfax, VA 220311919                    Longview, TX 75605-7522         Brooksville, FL 34614




Angela Mclean                            Angela Milner                   Angela Munford
c/o N Clovikoski                         920 Krueger                     14449 Begonia Rd Apt 106
5800 Valletta Pl                         Seguin, TX 78155                Victorville, CA 92392
Dulles, VA 20189




Angela N Hendrickson                     Angela Noelle Buck              Angela Quin Moore
695 N 9Th                                754 Mockingbird Drive           1126 First St
Lander, WY 82520                         Lewisville, TX 75067            Arcadia, LA 71001




Angela R Barker                          Angela Rabalais                 Angela Renae Houston
309 S 14Th                               369 Forestry Road               2444 Deer Run
Frederick, OK 73542                      Lacompte, LA 71346              Lewisville, TX 75067




Angela Renee Harrison Smith              Angela Ruth Nash                Angela Suzanne Webb Dufresne
354 Highway 821                          18323 West 161st St             177 Fred Lamkin Road
Choudrant, LA 71227                      Olathe, KS 66062                Ruston, LA 71270




Angela Theresa Wilkinson                 Angela Trousedale Guilliams     Angela Uribe Checchin
5826 Us Hwy 259 N                        2608 Birmingham Road            2014 Reynolds Street
Henderson, TX 75652                      Marshall, TX 75672              Laredo, TX 78043




Angela Wood Mcfarland                    Angela Younger Kimble           Angeleah Rhodes
PO Box 566                               8700 Dreher Ln Apt 13           5378 Point Lavista
Judson, TX 756600566                     Little Rock, AR 72209-5123      Malakoff, TX 75148
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Angelia Michelle Taylor                  Angelia Rochelle                Angelina Tank Manufacturing
PO Box 236                               9425 E Heatherstone             PO Box 155110
Arcadia, LA 71001                        Shreveport, LA 71129            Lufkin, TX 75915




Angeline Bertha Morgan                   Angelique M Acevedo Barron      Angella Bennett Escrow Account
1925 Myrtle Ave                          403 S Devinney St               PO Box 2540
Long Beach, CA 90806                     Lakewood, CO 80228              Community First Natl Bnk
                                                                         Casper, WY 82602




Angelo J Liberatore                      Angelo Tire Alignment LLC       Angelo Water Srvice Co
9655 Greiner Rd                          4011 S Chadbourne               1007 N Chadbourne
Clarence, NY 14031                       San Angelo, TX 76904            San Angelo, TX 76903




Angels Baseball Lp                       Angie B Greer                   Angie Elliott Vazquez
PO Box 2000                              53 Taylor Park Loop             312 2nd Street
Anaheim, CA 92806                        Little Rock, AR 72211           Atlantic Beach, FL 32233




Angie Rena Ellard Benton                 Angle Oil Company               Angus Chisholm Jr
304 Wheelis Street                       5949 Sherry Ln Ste 1205         19165 Cypress Green Dr
West Monroe, LA 71292                    Dallas, TX 75225                Lutz, FL 33558




Angus D Wright Revocable Living          Angus Dale Wright               Angus G Wynne Estate
Trust Dtd 2/19/09                        4895 W Michibay Dr              25 Highland Park Village
Angus D Wright Trustee                   Manistique, MI 49854            Ste 100
4895 W Michibay Drive                                                    Dallas, TX 75205
Manistique, MI 49854



Angus G Wynne Iii                        Angus H Mcmillan Jr             Angus Proving Services LLC
25 Highland Park Vlg Ste 100             PO Box 30                       PO Box 14440
Dallas, TX 752052726                     Schulenburg, TX 78956           Odessa, TX 79768




Anh Mechals                              Anieta Seago Hebert             Animas Well Services LLC
9300 Underwood Ave                       401 Barrios Avenue              306 W Wall St Suite 550
Suite 400                                Houma, LA 70360                 Midland, TX 79701
Omaha, NE 68114




Anis Carolyn Mcwilliams Hill             Anissa Breaux                   Anita Ardinger Ray
James H Hill Anis C M Hill Trust         5927 Bayou Black Dr             3117 Bryn Mawr Dr
8114 East Court                          Gibson, LA 70356                Dallas, TX 75225
Austin, TX 78759




Anita Bactawar                           Anita Brady                     Anita Cheryl Morris
1 North Lexington Ave                    125 Cr 492                      347 North Fritz Swanson Road
c/o Ridge                                Carthage, TX 75633              Kilgore, TX 75662
White Plains, NY 10601
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Anita G Doyle                           Anita Hopkins Koonce                Anita J Seggelink
188 Crown Point Blvd Apt 421            3425 Brent Road                     30048 Appaloosa Drive
Willow Park, TX 76087                   Longview, TX 75604                  Evergreen, CO 80439-8610




Anita J Stiles                          Anita J Viator                      Anita Joyce Derryberry
1405 Scottsboro Ln                      302 East Drive                      341 S Chicago Place
Richardson, TX 75082                    New Iberia, LA 70563                Bolivar, MO 65613




Anita K Woodley                         Anita K Worsham Le                  Anita Kay Covington Fish
4317 Maisel Farm Lane                   700 Cr 3187                         244 Ridgefield Drive
Ellicott City, MD 210421215             Joaquin, TX 75954                   Bossier City, LA 71111




Anita Kay Wilson Young                  Anita Kaye Williams Oden Indv       Anita L Harkness
499 Ccc Road                            Atty In Fact For Ruby Mae William   PO Box 257
Ruston, LA 71270                        9002 Cr 2142                        Sibley, LA 71073
                                        Tatum, TX 75961




Anita Landers Siyufy                    Anita Lee Inabnet West              Anita Marie Brown
2416 Rue De Bourdeaux                   1401 Mckeen Place Apt 201           2508 Oak Hill Dr
Henderson, NV 89074                     Monroe, LA 71201                    Arlington, TX 76006




Anita Mcclosky                          Anita Morris Dent Living Trust      Anita Morrison Griffin
Po Bx 212                               Karl D Dent Trustee                 8611 Tranquil Park Dr
Anderson, TX 77830                      5234 18Th Street                    Spring, TX 77379
                                        Lubbock, TX 79416




Anita N Klecker                         Anita Nordan Linsday                Anita S Anderson
26839 Hyte Rd                           336 Cardinal                        3613 Trailwood Ct
Rancho Palos Verdes, CA 90275           San Antonio, TX 78209               Tyler, TX 757071651




Anita Shadow Lawson                     Anita Shelton Ford                  Anita Steptoe Flynn
PO Box 483                              6134 Songwood Drive                 1609 Landon Ln
Little Switzerland, NC 28749            Dallas, TX 75241                    Mckinney, TX 75071




Anita Sue Jones                         Anita Sue Jones Harold L Jones      Anita Youngblood Yancey
1703 Indian Trail Drive                 3501 N Coronado Dr                  14353 Haverty
Rogers, AR 727581398                    Roswell, NM 88201                   Houston, TX 77032




Anitha Smith                            Anitra Harris                       Anjanette Jones
PO Box 2745                             174 Cr 4552                         Admin Anthony Jones Iii Est
Dallas, TX 75221                        Carthage, TX 75663                  7700 Creekbend Dr 82
                                                                            Houston, TX 77071
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Ann Adkisson Lackey                        Ann Alotto                       Ann Arden Westbrook Brock
2656 Parkview Dr                           PO Box 612                       PO Box 840738
San Angelo, TX 76904                       Mineola, TX 75773                Dallas, TX 75284-0738




Ann B Arlen Rev Lvng Tst Dated 1/17/2006   Ann Barr Allen                   Ann Bowden Oakes
Ann B Arlen Trustee                        5073 Westrilee Dr                PO Box 4405
5200 Sw 25Th Blvd Unit 2225                Benton, LA 71006                 Shreveport, LA 71134-0405
Gainesville, FL 32608




Ann Bower                                  Ann Boyd Royall                  Ann Breed King
PO Box 191427                              PO Box 856                       PO Box 216
Dallas, TX 75219-8427                      Palestine, TX 75801              Homer, LA 71040




Ann Buck Griffin                           Ann Buckley Neill Usufruct       Ann Burdette Wiley
2418 Nw 56Th St Apt 401                    3820 Fairfield Ave               6708 Brants Lane
Seattle, WA 98107-4362                     Unit 33                          Fort Worth, TX 76116
                                           Shreveport, LA 71104




Ann C Cole                                 Ann C Lay Usufruct               Ann C Lucas Rev Trust
4908 Washington Blvd                       15221 Laurel Lane North          2990 Montavesta Rd
Arlington, VA 22205-2545                   Pembroke Pines, FL 33027         Lexington, KY 40502




Ann C Lucas Revocable Trust                Ann C Rhew                       Ann Cavender
Ann C Lucas Trustee                        762 Cr 403                       2006 Augusta Court
2990 Montavesta Road                       Floresville, TX 78114            Desoto, TX 75115
Lexington, KY 40502




Ann Chambless Pirtle                       Ann Chandler                     Ann Chandler White
9315 Bonhomme                              5019 Phinney Ave N Apt 304       5910 Roma Dr 3
Houston, TX 77074                          Seattle, WA 98103-6065           Shreveport, LA 71105




Ann Clark Browder                          Ann Clements Rhew                Ann Costlow
8523 Thackery 9201                         Family Limited Partnership       1519 Daniel Dr
Dallas, TX 75225                           762 Cr 403                       Arlington, TX 76010-8210
                                           Floresville, TX 78114




Ann Craighead Giambelluca Family Trust     Ann Cullen Tepoorten Living Tr   Ann D Sunealitis
609 Haring Rd                              Dtd August 15 2013               1215 Kiwanis Trail
Metairie, LA 70001                         4168 S Oneida St                 Dubois, PA 15801
                                           Denver, CO 80273




Ann Daron Martha Williams                  Ann Davenport Lucas              Ann Davis Calhoun
Francis Doshe Elizabeth King               2637 Koa Ave                     117 Llanfair Drive
506 Speed Ave                              Morro Bay, CA 93442              Ruston, LA 71270
Monroe, LA 71201
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Ann Davis Mitchell                       Ann Day Revocable Trust             Ann E Earle
Acct No 1 91 019 1                       Ann Day Trustee                     PO Box 580
First Guaranty Bank                      6902 N Solaz Tercero                Jonesboro, LA 71251
PO Box 248                               Tucson, AZ 85718
Dubach, LA 71235



Ann E Holland                            Ann E Peterson Est Anna Lisa        Ann E Rucker
PO Box 2882                              Rasumusson G Jennerholm             10443 Remington Ln
Longview, TX 75606                       Fornstigen 3                        Dallas, TX 75229-5263
                                         S 455 33 Munkedal
                                         Sweden



Ann Elise Bennett                        Ann Elizabeth Fay                   Ann Elizabeth Wright
9600 Prairie Chapel Road                 7037 18Th Ave Ne                    3312 Regent Dr
Crandall, TX 75114                       Seattle, WA 98115                   Dallas, TX 75229




Ann F Allen                              Ann F Wallace                       Ann Farrington Dickie
The Forum At Park Lane                   c/o Osborne Robbins Buhler          108 N Milam St
7831 Park Lane Apt 346C                  Cpas                                Fredericksburg, TX 78624-3819
Dallas, TX 75225                         4527 South 2300 East Ste 201
                                         Salt Lake City, UT 84117



Ann Fatheree Henscey                     Ann Faxstein                        Ann Fears Keller
708 Waco Street                          208 Madison Street                  20885 E Valleyview Lane
Dayton, TX 77535                         Denver, CO 80206                    Mayer, AZ 86333




Ann Fortson Marcy                        Ann G Jordan Bolger                 Ann Garner Long Miller
1050 Camelot                             2926 Cr 403                         1 Cardiff Lane
Clinton, OK 73601                        Carthage, TX 75433                  Hannibal, MO 63401




Ann Gentry                               Ann Givens Carrillo                 Ann Godward
103 March Ct                             1107 Downing Circle                 8263 Vantage Ave
Lufkin, TX 75904                         League City, TX 77573               N Hollywood, CA 91605




Ann Greer Kidd                           Ann Gully Crisp                     Ann H Warren Life Estate
3720 Fry Street                          430 Blankenbaker Lane               7 Riverwoods Drive P 117
Tyler, TX 75701                          Louisville, KY 40207                Exeter, NH 03833




Ann Harris Chaffin                       Ann Hedge Carruthers Living Trust   Ann Hooper Stacy
13296 Kidd Road                          2210 Windsor Court                  4 Royal Way
Conroe, TX 77302                         Little Rock, AR 72212               Dallas, TX 75229




Ann James Shilling                       Ann K Spilger                       Ann Kathryn Craig
5415 Cowhorn Creek Rd Apt 124            5603 Westerdale Dr                  113 Riverside Ln
Texarkana, TX 75503-2395                 Fulshear, TX 77441                  Woodstock, GA 30188-7101
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Ann Kinnebrew Mook                      Ann Knight Bower Revoc Mgmt Tr   Ann L Hays Aka Dorothy A Hayes A Widow
535 Monrovia St                         Wa 73901                         18943 Bois D Arc Bend Rd
Shreveport, LA 71106                    PO Box 1600                      Montgomery, TX 77356
                                        San Antonio, TX 78296




Ann L Kilpatrick Leatherbury            Ann L Miller Tte Of Rev Living   Ann L Williams Estate
3664 Ansley Drive North                 Trust Of Ann Miller              c/o Clinton Killian Attorney
Mobile, AL 36608                        1 Cardiff Ln                     1814 Franklin Street Ste 503
                                        Hannibal, MO 63401               Oakland, CA 946123527




Ann Lafeir Bossack                      Ann Lafosse                      Ann Lasater
Citi Bank Agent                         205 Seychelles Ln                Murray Valley
PO Box 2307                             Lafayette, LA 70578              Hcr 72 Box 85
Lubbock, TX 79408                                                        Parthenon, AR 72666




Ann Lawrence Tague                      Ann Lawrence Woods               Ann Lee Hartt
PO Box 131708                           PO Box 131708                    c/o Agent First Financial Tr
Tyler, TX 75713-1708                    Tyler, TX 75713                  Asset Management Co Na
                                                                         PO Box 701
                                                                         Abilene, TX 79604



Ann Lisa Pearson                        Ann Lockwood                     Ann Lord Newburger
PO Box 3707                             9 Hunts Point Rd                 200 E 66 St Apt E 806
Centennial, CO 80161                    Cape Elizabeth, ME 04107         New York, NY 10021




Ann Louise Fried                        Ann Lynnette Emerson             Ann M Boyd
23833 Crosson Dr                        PO Box 19                        PO Box 547
Woodland Hills, CA 91364                Woodsboro, TX 78393              Ruston, LA 71273




Ann M Cook                              Ann M Meyer                      Ann M Trujillo
2707 Bramble Drive                      PO Box 821596                    PO Box 1252
Monroe, LA 71201                        Dallas, TX 75382                 Cheyenne, WY 82003-1252




Ann M Vandenburgh                       Ann Margaret Tepoorten           Ann Marie Gebhardt Eaves Sp
c/o Coffin Inman Christiana             4168 S Oneida                    PO Box 54
12 S Fourth St                          Denver, CO 80237                 Grand Cane, LA 71032
Hudson, NY 12534




Ann Marie Larsen Dearmond               Ann Marie Leabo Riggs            Ann Marie Lozano
PO Box 4300                             c/o Texas State Treasury Dept    6203 Welles Creek Drive
Palmer, AK 99645                        Unclaimed Property Division      San Antonio, TX 78240
                                        PO Box 12019
                                        Austin, TX 78711-2019



Ann Martin Walke                        Ann Mcbee Buell                  Ann Mcdaniel
8816 Creswell Rd                        11241 Russwood Circle            4133 Fm 2428
Shreveport, LA 71106                    Dallas, TX 75229                 Joaquin, TX 75954
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Ann Mcgill Erck                       Ann Mckneely                    Ann Mindar Weeks
PO Box 15500                          1112 Wedgewood Dr               12694 Hwy 84
San Antonio, TX 78212                 Ruston, LA 71270                Grand Cane, LA 71032




Ann Moore Trust                       Ann Murray Fox                  Ann Nelson Grant
Douglas W Moore Trustee               450 County Road 303             PO Box 7414
PO Box 811                            Jarrell, TX 76537               Longview, TX 75607
Longview, TX 75606




Ann O Callaway                        Ann Odom                        Ann Owens
272 Country Road 3701                 108 Inwood Circle               10039 Fm 2621
Bullard, TX 757577826                 Kilgore, TX 75662               Brenham, TX 77833




Ann Page Ttee Jtwros                  Ann Pool Dorsey                 Ann Price Mckinzie
Ann Page Liv Tr Dtd 05/30/00          3312 Timberlane Dr              1402 Mary Lee Lane
1822 Curtis St                        Tyler, TX 75701-6136            Longview, TX 75601
Laramie, WY 82072




Ann Rachel Stennett                   Ann Redfearn Jones              Ann Reiley Jones
419 Wheelis Street                    2204 Robbinwood Ln              4100 Bob Jones Road 7
West Monroe, LA 71292                 Longview, TX 756014164          Clinton, LA 70722




Ann Richardson G Allen                Ann Riser Sumlin                Ann Ritter Barber
128 Willow Lake Blvd                  1014 Glenmar                    1437 Fm 1747
Bossier City, LA 71111                Monroe, LA 71201                Jasper, TX 75951




Ann Rives                             Ann Rives Estate                Ann Roach Porhamer
355 Wilson Ave                        Stockwell Sievert Viccellio     8924 S Normandale
Lake Charles, LA 70601                Clements Shaddock Llp           Ft Worth, TX 76116
                                      PO Box 2900
                                      Lake Charles, LA 70602



Ann Robertson                         Ann Rogers Gilliam              Ann Rowe Campbell
9013 Green Oaks Circle                PO Box 3004                     2807 Teague
Dallas, TX 75243                      Port Angeles, WA 98362          Apt 1231
                                                                      Houston, TX 77080




Ann Russ Holaday                      Ann Russ Holaday Trust          Ann S Shannon
216 Wyanoke                           Barbara H Dixon Trustee         315 Blackwell Cemetery Rd
San Antonio, TX 78209                 3860 Tapadero Rd                Folsom, LA 70437
                                      Colorado Springs, CO 80921




Ann Schutt Cole                       Ann Scott Morris                Ann Shafto Noel Ind Agent Aif For
2678 East County Line Rd              2808 Parkers Landing Rd         Wesley S Shafto Iii Sallie D S Wood
Rogersville, MO 65742                 Mount Pleasant, SC 29466-6741   543 Regentview Dr
                                                                      Houston, TX 77079
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Ann Showers Butler                      Ann Stiernberg Stone                 Ann Temple Morris
Two Niles Road                          1513 Little Creek                    5146 Hwy 191
Austin, TX 78703                        Harlingen, TX 785508083              Mansfield, LA 71052




Ann Tognazzini                          Ann Trowbridge Muir                  Ann Turbeville Campbell
358 Arroyo Drive                        7416 Gracefield                      1556 Waterside Court
S San Francisco, CA 940804110           Dallas, TX 75248                     Dallas, TX 75218




Ann Turner Jordan                       Ann Tuttle                           Ann V Sewell
3345 Linda Lane                         c/o Law Office of Dean A Searle PC   3131 Maple Ave 5B
Denton, TX 76207                        PO Box 910                           Dallas, TX 75201
                                        305 West Rusk Street
                                        Marshall, TX 75671



Ann V Williams                          Ann Verlyne House                    Ann W Dennis
802 Circle Drive                        PO Box 131822                        228 W Gandy
Winnsboro, TX 75492                     Tyler, TX 75713                      Denison, TX 75020




Ann W Lackey Living Trust               Ann Wallace Rogers Mcgovney          Ann White Carter
Jpmorgan Chase Bank Na Tstee            2902 Durban Dr                       Post Office Drawer 1530
PO Box 99084                            Houston, TX 77043                    Ruston, LA 71273-1530
Fort Worth, TX 76199-0084




Ann Woodard Windsor Sep Prop            Ann Wylie                            Ann Yarborough Revocable Trust
304 Frasier Road                        c/o Alan Wylie                       Ann Yarborough Trustee
Ruston, LA 71270                        439 Shadow Creek Dr                  12222 Boheme Dr
                                        Seabrook, TX 75586                   Houston, TX 77024




Anna B Taylor                           Anna Batey Love                      Anna Bell Harvey
2901 Mary Mack Drive                    2179 Hwy 557                         317 Agate
Marshall, TX 75670                      West Monroe, LA 71292                College Station, TX 77845




Anna Bellamy Taylor Life Estate         Anna Belle Nail                      Anna Belle R Wainwright
2901 Mary Mack Drive                    2315 Parker Court                    Individually As Usufruc
Marshall, TX 75672                      Brenham, TX 77833                    1554 Westbury
                                                                             Shreveport, LA 71105




Anna Blondeck                           Anna E Dunnam                        Anna E Loftus Cheatham
156 Belden Rd                           32 Manznares Dr                      11555 Highview
Hamden, CT 06514                        Hot Springs Village, AR 71909        Belton, TX 76513




Anna Faye Glover                        Anna Giles Moore                     Anna Hannan Mckinney Life Est
1423 Senior Place Road                  1659 Poland St                       PO Box 31
Bridgeport, TX 764266736                Shreveport, LA 71103                 Denison, TX 75020
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Anna Hein                                Anna J Manning                  Anna Jane Rabon Washington
2201 Wichita Lot 35                      314 Claiborne Creek Dr          Niccie B Johnson A I F
Pasadena, TX 77502                       West Monroe, LA 71291-6704      3020 Anderson Street
                                                                         Shreveport, LA 71107




Anna L Lukasko Tr Uad 5 31 06            Anna L Stoddard                 Anna Laura Ramirez Michael
Pauline Grogan Succ Ttee                 2224 Bolsover St                16010 Peach Bough Drive
783 Peregrine Place                      Houston, TX 77005               Houston, TX 77095
Amherst, OH 44001




Anna Lee Lukasko                         Anna Lilia Rocha                Anna Lou Folse
54 River St                              518 N Seymour Ave               3282 Calumet
Wakeman, OH 44889                        Laredo, TX 78040                Shreveport, LA 71107




Anna Lou Franklin                        Anna Louise Rutherford          Anna Louise W Hollis Est
22009 Stone Creek Ln                     5150 Tamiami Trail N Ste 204    Carol L Waller Exec
Montgomery, TX 77316                     Naples, FL 34103                14049 Highway 151
                                                                         Arcadia, LA 71001




Anna M Winfrey                           Anna Mae Brown Leblanc          Anna Mae Coleman Boyd
2322 Triway                              PO Box 557                      5316 Avenue L Apt 1
Houston, TX 77043                        Grambling, LA 71245             Galveston, TX 77551




Anna Mae Nesloney                        Anna Mae Williams Jackson       Anna Martin
15501 Cr 150                             1910 W 92nd St                  10488 Sh 154
Kenedy, TX 78119                         Los Angeles, CA 90047           Marshall, TX 75670




Anna Mary Trainer Rev Trust              Anna Moore Inabnet              Anna P Gray Usufruct
c/o Jacob Vance Alexander Vance          1945 E 70Th Street              280 Hyatt Road
Peter Turner Co Trustees                 Shreveport, LA 71105            Ruston, LA 71270
PO Box 24476
San Francisco, CA 94124



Anna Pauline Hart                        Anna Rodean Lipscomb            Anna Roy Cannon Fuller
6360 Pueblo Pass                         10036 Linden Lea Rd             2704 Eighth Street
San Angelo, TX 76901                     Flint, TX 75762-6700            Alexandria, LA 71302




Anna Ruth Richardson                     Anna Sanders                    Anna Theresa Papa Kern
1448 Tanglewood Ln                       Anaran Hot Shot                 203 Brook Field Dr
Odessa, TX 79761                         PO Box 624                      Youngsville, LA 70592
                                         Laird Hill, TX 75666




Anna Turlington Cammack                  Anna Werrbach Anderson          Anna Wilson Coleman
58 Campden Circle                        1841 27Th St                    6455 Moon Hill Drive
San Antonio, TX 78218                    Moline, IL 61265                Dallas, TX 75241
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Annabelle Alec                         Annabelle H Goodman Living Trust   Annabelle Lee Bowden Miles
c/o Clayton M Sylestine                c/o Annabelle H Goodman            1110 Sunglade
433 Fm 2500                            Melvyn J Goodman Co Trustees       Gilmer, TX 75644
Livingston, TX 77351                   17392 N 77Th Way
                                       Scottsdale, AZ 85255



Annah Marie King                       AnnaMaria Hernandez                Annco Resources LLC
2813 Pecan Meadow                      800 Nicollet Mall Suite 800        c/o Kyra Hamilton Manager
Garland, TX 750403986                  Minneapolis, MN 55402-7020         1124 N Woodland Place
                                                                          Sand Springs, OK 74063




Anne Adams                             Anne B Jones A Widow               Anne B Tandy Testamentary Trst
Address Redacted                       5608 Larkspur                      Burnett Plaza Suite 1500
                                       Alexandria, LA 71303               801 Cherry Street Unit 9
                                                                          Fort Worth, TX 761026881




Anne Beaird Wilson                     Anne Cody Burton                   Anne Cody Burton Dickie
1075 Erie St                           PO Box 994                         2225 Joey Lane Apt 2225
Shreveport, LA 71106-1403              Mount Vernon, TX 75457             Arlington, TX 76010




Anne Cooke Adams Embry                 Anne Damrosch                      Anne Dulany
Poa Anne Cooke Embry Mahre             368 Flynn Avenue                   PO Box 480
PO Box 4002                            Burlington, VT 05401               Concord, CA 94522
Hopkinsville, KY 42241




Anne Dyer Bennet                       Anne Elise Doherty                 Anne Elizabeth Simpson Holmes
Charles Schwab Co Inc Cust             4301 Carmen St                     22026 Treesdale Ln
Ira Rollover                           Torrance, CA 90503                 Katy, TX 77450
2741 Prince St
Berkeley, CA 94705



Anne Embry Mahre                       Anne F Taylor Est                  Anne H Chestnut
PO Box 4002                            John Stanley Taylor Exec           17716 W 67Th St
Hopkinsville, KY 42241                 4507 Bryn Mawr Ln                  Shawnee, KS 66217
                                       Houston, TX 77027




Anne Harrell Meadows                   Anne Harrison Mcconathy            Anne J Jaskinia Frederick A
100 10Th Street Se                     115 Crestwood Dr                   Tallarico
Washington, DC 20003                   Haughton, LA 71037                 9262 Cherry Lane Condo 44
                                                                          Laurel, MA 20708




Anne J Mitchell Trst                   Anne K Oden Thomas                 Anne Klein Rotenberg
c/o Midfirst Bank Ttee                 PO Box 1806                        2773 Bocage Court East
Attn Tr/Oil Gas                        Shreveport, LA 71166               Baton Rouge, LA 70809
PO Box 258850
Oklahoma City, OK 73125



Anne L Sargent                         Anne Lincoln Holibaugh             Anne Livet
Scott L Sargent Poa                    3504 Diamond Point Dr              Livet Reichard
9525 Las Tunas Dr                      Flower Mound, TX 75022-7839        520 West 27Th St Ste 803
Temple City, CA 97180                                                     New York, NY 10001
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Anne Mackenzie                          Anne Marie Chognard             Anne Marie Ewing Nye
1402 Mary Lee Lane                      c/o Northern Trust Na Agent     1083 Judge Sekul Ave
Longview, TX 75601                      PO Box 226270                   Biloxi, MS 39530-2907
                                        Dallas, TX 75222-6270




Anne Marie Wiley                        Anne Marie Wood                 Anne Miller Resources LLC
4953 Cline Hollow Road                  1318 Nw Slate Lane Apt 102      c/o Perry D Reed Co Pc
Murrysville, PA 15668                   Silverdale, WA 98383            PO Box 1352
                                                                        Longview, TX 75606




Anne Norton                             Anne Provost Couch              Anne Ray Mcgowen
522 Virginia Ave                        107 Lemans South                609 Adams Street
Nacogdoches, TX 75964                   Lafayette, LA 70503             Ruston, LA 71270




Anne Raymond                            Anne Rosenblath Meleton         Anne S Harrison
9 Rolling Wood Ln                       426 Lippi                       1281 Hillsboro Viola Rd
East Hampton, NY 11937                  Lafayette, LA 70508             Hillsboro, TN 37355




Anne T Obrien                           Anne V Dill Haren               Anne Wilder Mclean Hess
33 Rue Charles                          7247 Joyce Way                  1820 Ohio Street
San Antonio, TX 78217                   Dallas, TX 75225                Bluefield, WV 24701




Anne Wynne Ellis                        Anne Yearta                     Anne Youngstrom
1036 Liberty Park Dr 49                 4801 Main St Suite 500          4015 Bayshore Blvd 3F
Austin, TX 78746                        Kansas City, MO 64112           Tampa, FL 33611




Annegret Paula Beumker Davis            Anneliese R Davis               Annemarie Gary
202 Pinecrest Rd                        Michael Davis Poa               Edward Gary Poa
Arcadia, LA 71001                       1701 Weatherwood Dr             PO Box 789
                                        Flower Mound, TX 75028          Browns Mills, NJ 08015




Annetta Z Brown Life Estate             Annette Acevedo Martinez        Annette Allison
423 Nile Street                         3632 S Ingalls St               4749 Fm 1844
Aurora, CO 80010                        Denver, CO 80235-2601           Longview, TX 75605-3433




Annette Bennett                         Annette Broussard Langlinais    Annette Chevalier
10937 Fm 1716 E                         8504 Westwood Dr                2972 Fm 2787
Henderson, TX 75652                     Abbeville, LA 70510-0703        Joaquin, TX 75954




Annette Colvin Kinnick                  Annette Craig                   Annette Gingras Hobbs
145 Sweetbay Circle                     1006 E Mt Pleasant Ave          2116 Calle De Sebastian
Alpharetta, GA 30022                    Philadelphia, PA 19150          Santa Fe, NM 87505
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Annette Holloway                          Annette L Freeman                    Annette Lee Jones
964 Maple Creek Drive                     1912 Roosevelt Drive                 1302 Laurelwood Cir
Slidell, LA 70461                         Ruston, LA 71270                     Laurel, MS 39440-1869




Annette M Roe                             Annette Mcnair Boles                 Annette Nolte Trustee
9710 Chriesman Way                        105 Carol Street                     Nolte 2007 Irrevocable Trust
Missouri City, TX 77459-6587              Henderson, TX 75652                  PO Box 472
                                                                               Longview, TX 75606




Annette Pierson                           Annette Roose White                  Annette Weber
Grey Pierson Poa                          108 Oakley Drive                     405 Skytrail
301 West Abram Street                     Shreveport, LA 71105                 New Braunfels, TX 78130
Arlington, TX 76010




Annette Wied Sorrells                     Annice Johnson                       Annie B Allen Dennis Sep Prop
PO Box 956                                c/o Unclaimed Property Division      3519 Monroe
Hebbronville, TX 78361                    PO Box 12019                         Kansas City, MO 64128
                                          Austin, TX 78711-2019




Annie B Wallace Life Estate               Annie B Wallace Life Estate          Annie B Webb
8819 Cr 476 S                             8819 Cr 476 S                        c/o Connie Harmon P/O/A
Tyler, TX 75654                           Henderson, TX 75654                  160 Fairway Drive
                                                                               Bullard, TX 75757




Annie Bell Smith Temple Estate            Annie Bernice Gary Span              Annie Bernice Gary Spann
Marie Temple Rascoe Executor              17 Napa Valley Circle                1575 Mccauley Road
45 Morro Circle                           Madison, MS 39110                    Wilmore, KY 40390
Pagosa Springs, CO 82059




Annie Brown                               Annie Conley Brown Estate            Annie Dean Younger
PO Box 292                                Karl L Cole Executor                 9407 Briar Circle
Henderson, TX 75653                       PO Box 38551                         Minneapolis, MN 55437
                                          Shreveport, LA 71133




Annie Duran Ward                          Annie E Hendrix Et Al                Annie F Bramlette Wardlow
2564 Hwy 79 E                             c/o Thomas Ray Hendrix               c/o Texas State Treasury
Henderson, TX 75652                       Route 7 Box 264                      Unclaimed Property Division
                                          Livingston, TX 77531                 PO Box 12019 Capitol Station
                                                                               Austin, TX 78711-2019



Annie Gandy                               Annie Grace Davis                    Annie J Propps
11 Ranchview Dr                           PO Box 190                           1728 West Saint Catherine
Huntsville, TX 77320                      Gary, TX 75643                       Phoenix, AZ 85041




Annie Jean Mcquaide                       Annie Jewel Pierce Hudson Deceased   Annie Jo Roark
1515 S Dexter Dr                          725 Highway 146                      15819 Creekhaven Dr
College Station, TX 77840-4272            Ruston, LA 71270                     Houston, TX 77084
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Annie Josephine Butler                   Annie Kate Mason                Annie Katherin Langley
4333 Springdale                          800 3Rd Street                  PO Box 384
Odessa, TX 79762                         Apartment C309                  Elton, LA 70532
                                         Cleveland, MS 38732-2318




Annie Kay Stuckey Jordan                 Annie L Beckett                 Annie L Ward Glaspie
419 Horseshoe Rd                         414 W Avendia Cerca             c/o Texas State Treasury
Winnfield, LA 71483                      Palm Springs, CA 92262-1407     Unclaimed Property
                                                                         PO Box 12019
                                                                         Austin, TX 78711-2019



Annie Laurie Abbott Estate               Annie Laurie Sanders            Annie Laverne Young Little
Avis E Johnson Jr Ind Exec               1594 Riverstone 106             11403 South Calumet Street
6001 Shy Drive                           Joaquin, TX 75954               Chicago, IL 60626
Frisco, TX 750344843




Annie Lee Gibson Brown                   Annie Lee Roberts               Annie Leila Hays Talley
Victoria Arms Sr Citizens Bldg           Concordia Bk Tr Co              2010 West Avenue K
6311 Woodlands 511                       U/S/O Summerfield G Roberts     Apartment 229
Kansas City, MO 64131                    PO Box 518                      Lancaster, CA 93536
                                         Vidalia, LA 71373



Annie Lesper Tobin                       Annie Lester Mamon Warren       Annie Levine
320 W Temple St Fl 9                     281 Madden Rd                   47 Carriage Court
Los Angeles, CA 90012-3217               Ruston, LA 71270                Jericho, NY 11753-2831




Annie Lois Gibson                        Annie Loyce Sampson             Annie Luvina Miller Irving
2817 Buffalo Court                       1455 Latour Ln Apt 2            4627 Wolfcreek Pkwy
Arlington, TX 76013                      Concord, CA 94521               Louisville, KY 402415505




Annie M Hawes                            Annie M L Robinson              Annie M Mclelland
8833 Creswell Rd                         Rt 3 Box 1477                   PO Box 1543
Shreveport, LA 71106                     Ruston, LA 71270                Austin, TX 78767




Annie M Mitchell                         Annie M Perkins Heirs Tr        Annie Mae Rhodes Ross Sp
2341 94Th Avenue                         John Perkins Iii Ttee           6806 New York St
Oakland, CA 94603                        29510 Terrace Vista             Houston, TX 77021
                                         Fair Oaks Ranch, TX 78015




Annie Mae Thomas                         Annie Marie Prevost             Annie Mary Bryant Bissic
203 Edna St                              PO Box 1726                     402 St Clair Ave
Minden, LA 71055                         Laredo, TX 78044                Natchitoches, LA 71457




Annie Miller Devoy Rev Liv Tr            Annie P Fancher Estate          Annie Ruth Davis
Annie Mil Devoy Trustee                  Judith F Hagadorn Indep Exec    818 Harvey Place
3201 Woodbine Dr                         3136 West Club Dr               Jonesboro, LA 71251
Columbia, MO 65203                       Salem, VA 24153
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Annie Ruth Hill                           Annie Willis                   Annis Browning Arensmeyer
7523 Ridgwick                             6314 Alcorn                    2004 W Cavendish Court
Dallas, TX 75217                          Dallas, TX 75217               Alpharetta, GA 30022




Annis Snider                              Annjeanet Gipson Pugh          Annyvette Mondaine
6409 Wesson Road                          728 W Mendoza Circle           553 Mariah Rd
Junction City, AR 71749                   Mesa, AZ 85210                 Chatham, LA 71226




Anona Weiss Fosberg                       Another Trucking Company Inc   Anr Limited Inc
108 Kingston Court                        504 Se 2nd Street              PO Box 749
New Orleans, LA 70131                     Andrews, TX 79714              Denver, CO 80201




Answer Phone                              Answernet                      Antelope Energy Co LLC
19992 Kelly Rd                            3930B Commerce Ave             PO Box 577
Harper Woods, MI 48225-1919               Willow Grove, PA 19090-1705    Kimball, NE 69145




Antero Royalties LLC                      Anterra                        Anthony A Rispoli
A Subsidiary Of Noble Royalties Inc       918 C Mission Rock Road        211 South First St
PO Box 660082                             Santa Paula, CA 93060          West Monroe, LA 71291
Dallas, TX 75266-0082




Anthony Anderson                          Anthony Ard                    Anthony B Barber
1405 Leon Drive                           124 Railroad Avenue            3908 Stonehenge Road
Jonesboro, LA 71257                       West Monroe, LA 71291          Ft Worth, TX 76109




Anthony B Cooper And Christiel L Cooper   Anthony B Owens                Anthony Ballard
2936 W Country Club Road                  3024 Montego Place             Address Redacted
Longview, TX 75602                        Plano, TX 75023




Anthony Cooks                             Anthony Creech                 Anthony Dale Mcgaughey And
1551 Oak Lawn 269                         234 Cr 120                     Lauri Alicia Mcgaughey
Dallas, TX 75207                          Carthage, TX 75633             1420 Lazy Lane
                                                                         Longview, TX 75604




Anthony Daniel Woska Molly Jane Pruett    Anthony David Munford          Anthony Denyse Hines Rev Tr
Trustees Of Ruth Jere A Daniel Trust      6223 Bells Mill Dr             PO Box 943
1316 Lark Lane                            Charlotte, NC 28269-9120       Hardin, TX 77561
Lewisville, TX 750777606




Anthony Dewayne Roberts                   Anthony E Hill                 Anthony E Wolf Jr
3504 Creekbend Dr                         PO Box 227491                  4941 Willowchase Dr
Baytown, TX 77521-4006                    Dallas, TX 75222               Benton, LA 71006
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Anthony Eugene Dupree                   Anthony Fam Property Holdings Inc   Anthony Forest Products Co
4360 Henry Rd                           c/o Argent Property Services Llc    C/O Argent Property Services
Snellville, GA 30039                    PO Box 1410                         PO Box 1410
                                        Ruston, LA 71273                    Ruston, LA 71273




Anthony Hand                            Anthony Hernandez                   Anthony J Jones Iii Et Ux
10972 Spiller                           Address Redacted                    Margaret Adams Jones
San Antonio, TX 78254                                                       9137 Mansfield Rd 133
                                                                            Shreveport,, LA 71118




Anthony J Langley                       Anthony Jermone King                Anthony Jermone King Sr
18135 Glenledi Dr                       1711 N Elva                         1711 N Elva Ave
Houston, TX 77084                       Compton, CA 90222                   Compton, CA 90222




Anthony Joseph Gerard Langley           Anthony Kenner                      Anthony L Brown
18135 Glenledi                          13906 Hwy 151                       1009 Abigale Dr
Houston, TX 77084                       Arcadia, LA 71001                   Arlington, TX 76002




Anthony L Colbert                       Anthony L Garrison                  Anthony Mijares Jr
27 New Rose                             Jacqueline J Garrison               Laurie D Mijares Ten Ent
Trenton, NJ 08618                       434 Highway 3074                    1600 Se 7Th Street
                                        Ruston, LA 71270                    Ft Lauderdale, FL 33316-1402




Anthony Milo                            Anthony Oil Gas Company             Anthony Omer Kelly
7033 Louis Stevens Dr                   PO Box 5684                         4404 Westborne Road
Global Proxy Services                   Shreveport, LA 71135                Greensboro, NC 27410
Reasearch Triangle Park, NC 27560




Anthony Paul Morris                     Anthony Putnam                      Anthony S King
347 North Fritz Swanson Road            10314 Sage Rock Dr                  6303 W Shady Shores Rd Apt 112
Kilgore, TX 75662                       Houston, TX 77089                   Denton, TX 76208-5533




Anthony Sayre                           Anthony T Grimes                    Anthony Tony Montalbano
Address Redacted                        1150 W 65Th Street                  Address Redacted
                                        Los Angeles, CA 90044




Anthony Troy Bazer                      Anthony Tuminello Iii Et Ux         Anthony W Crockett Jr
9920 Patterson Rd                       Hazel Marie Franz Tuminello         7405 Greenback Ln
Rockvale, TN 37153                      PO Box 157                          122
                                        Simsboro, LA 71275                  Citrus Heights, CA 95610




Anthony W Diane E Gibson                Anthony W Jones                     Anthony W Jones And Denise S Jones
8227 Highway 146                        489 King Louie Rd                   489 King Louie Rd
Ruston, LA 71270                        Simsboro, LA 71275                  Simsboro, LA 71275
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Anthony Wayne Watson                    Anthony Williams                Anthony Woodard
702 Princess Pl                         108 Gayla Dr                    220 Garr Road
Tyler, TX 75704-6673                    Jonesboro, LA 71251-2234        Ruston, LA 71270




Anthracite Filter Media Co              Antioch Cemetery Association    Antioch United Methodist Church
6326 West Blvd                          4064 Hwy 544                    3406 Hwy 544
Los Angeles, CA 90043                   Simsboro, LA 71275              Simsboro, LA 71275




Antoinette J Armstrong                  Antoinette Miller Romero        Antoinette Parkerson
PO Box 215                              18751 S Harrells Ferry Rd       22640 Cr 3107
Wheelock, TX 77882                      Baton Rouge, LA 70816           Gladewater, TX 75647




Anton Klyukin                           Antone Searcy                   Antonia L Williams
Address Redacted                        4516 Old Yale                   233 S 17Th Street
                                        Houston, TX 770183314           Richmond, CA 94804




Antonio Allen                           Antonio C Anderson              Antonio Jones
178 Trestle Cove                        1217 Wallis St Apt C            7881 Green Lawn Dr
Hercules, CA 94547                      Houma, LA 70360                 Houston, TX 77088




Antonio M Vela Jr                       Antonio Murphy                  Antony Michael Pate
1719 Guadalupe St Ste 1                 211 Scott Rd                    116 6Th St Ne 105
Laredo, TX 78043-3359                   Ruston, LA 71270                Washington, DC 20002




Antrim Exploration LLC                  Antrim Trust                    Antron Gholston
224 Rue De Jean                         Regions Bank Nrre Ops Group     200 Garfield Drive
Lafayette, LA 70508-3280                PO Box 11566                    Monroe, LA 71203
                                        Birmingham, AL 35202




Anvin Energy LLC                        Anytime Hydro Excavation LLC    Anytime Testing LLC
2205 N Lamar Blvd Suite 321             4165 Orange Drive               Po Bo 200174
Austin, TX 78705                        Melbourne, FL 32904             Evans, CO 80620




Aog Mineral Partners Ltd                Ap Equipment And Rental         Ap3 Ppw Ltd A Texas Limited Partnership
PO Box 1015                             823 West Marshall Ave           Frost NatL Bank Agent
Midland, TX 79702                       Longview, TX 75601              PO Box 1600
                                                                        San Antonio, TX 78296




Apache Lease Service                    Apc Environmental               Apco Inc
PO Box 245                              PO Box 853                      710 S Redwood Road
Selman City, TX 75689                   Calhoun, LA 71225               North Salt Lake, UT 84054
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Apex Clearing Co                        Apex Petroleum Engineering      Apex Remington Inc
Attn Twila Potts                        2 Inverness Drive East          4608 S Garnett Road Ste 600
One Dallas Center                       Ste 201                         Tulsa, OK 74146
350 N St Paul St Suite 1300             Englewood, CO 80112
Dallas, TX 75201



Apk Backhoe Service Inc                 Apm Family LLC                  Apollo Perforators Inc
PO Box 517                              533 Oakwood Drive               PO Box 12940
Plains, TX 79424                        Shreveport, LA 71106            Odessa, TX 79768-2940




Appalachian Well Services Aws           Appassure Software Inc          Appleone Employment Services
PO Box 9188                             20 Commerce Way Suite 800       PO Box 29048
Columbus, MS 39705-0023                 Lockbox 842887                  Glendale, CA 91209-9048
                                        Woburn, MA 01801-1057




Appletree Answering Service             Applied Control Equipment LLP   Applied Industrial Technologies
26430 Network Place                     13705 Compark Blvd              PO Box 100538
Chicago, IL 30373-1264                  Englewood, CO 80112             Pasadena, CA 91189-0538




Applied Industrial Technology           Appriver LLC                    Apr Family Trust
22510 Network Place                     1101 Gulf Breeze Parkway        Amy Pfluger Reesman Trustee
Chicago, IL 60673-1225                  Suite 200                       PO Box 6719
                                        Gulf Breeze, FL 32561           San Antonio, TX 78209




Apreil Simpson                          April A Leese                   April Brimmer Kunz
1890 52nd St E Apt 216                  17106 Spates Hill Rd            PO Box 285
Inver Grove Heights, MN 55077           Poolesville, MD 20837           Cheyenne, WY 82003




April C Johnson Robichaux               April Dawn Shane                April Gates And
276 Easthaven Dr                        2229 Colby Ave 33               430 County Rd 3590
Ruston, LA 71270                        Everett, WA 982012858           Joaquin, TX 75954-2414




April Harrison Fisher                   April Jernigan Robinson         April M Cerio
4397 Moraga Ave                         3808 E Greenhills Ct            3013 Fairhaven Ridge Nw
San Diego, CA 92117                     Irving, TX 75038                Kennesaw, GA 30144




April Owens                             April Young                     Aptco Inc
5419 Windrush                           1964 Farm Market 999            PO Box 2999
Fulshear, TX 77441                      Gary, TX 75643                  Longview, TX 75606




Aqr Capital Management LLC              Aqua Transfer Energy            Aqua Transfer Energy Services LLC
Two Greenwich Plaza                     PO Box 959                      Carrie Kindle
Greenwich, CT 06830                     Corsicana, TX 75151             PO Box 959
                                                                        Corsicana, TX 75151
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Aquanetta Thomas                        Aquarius Land Mineral Tr              Aquatic Bioassay Consulting
210 E Wintergreen Rd Apt 4104           PO Box 941332                         29 N Olive St
Desoto, TX 75115-2432                   Houston, TX 77094                     Ventura, CA 93001




Aqueos Corporation                      Aqui Gem Inc                          Aquil M Salahudeen
101 Millstone Rd Ste D                  PO Box 2140                           1204 Rebecca Dr
Broussard, LA 70518                     Williston, ND 58802                   Suisun City, CA 94585




AR Unclaimed Property Div               AR Unclaimed Property Div             Ara Parrish
Auditor Of State                        Auditor Of State                      PO Box 121
PO Box 251906                           1401 West Capitol Avenue              Tenaha, TX 75974-0121
Little Rock, AR 72225-1906              Ste 325
                                        Little Rock, AR 72201



Aragon Victor                           Aramark Refreshment Services          Arapahoe County Treasurer
8118 Tippecanoe                         9950 Fallbrook Pines                  PO Box 571
San Bernardino, CA 92410                Houston, TX 77064                     Littleton, CO 80160




Arash Roozbeh                           Arbra Butler                          Arby M Williams
Address Redacted                        800 E California                      1008 Walnut Creek Rd
                                        Ruston, LA 71270                      Simsboro, LA 71275




Arc Energy Equipment LLC                Arcadia Bienville Parish              Arcadia Haven Inc
PO Box 1196                             Chamber Of Commerce                   1600 Third St
Carencro, LA 70520                      PO Box 587                            Ferriday, LA 71334
                                        Arcadia, TX 71001




Arcadia Oilfield Supply Inc             Arcadia Oilfield Supply And           Arcadia Oilfield Supply Inc
Jay Vallery                             Diversified Lenders Inc               PO Box 89
2276 Beech Street                       PO Box 6565                           2276 Beech Street
Arcadia, LA 71001                       Lubbock, TX 79493-6565                Arcadia, LA 71001




Arcadia Place Inc                       Arcele K Wilburn                      Arcelle Sanchez Coats
1600 Third St                           5845 Cr 314 South                     1047 Lamonte Lane
Ferriday, LA 71334                      Henderson, TX 75654                   Houston, TX 77018




Arceneaux Properties Ltd                Arch H Rowan Iii Tr                   Arch Insurance Co
Virginia B Arceneaux                    Uwo Arch H Rowan                      Henry Morlock
PO Box 291950                           Jp Morgan Chase Bank David Frame Jr   311 South Wacker Dr Ste 3700
Kerrville, TX 780291950                 PO Box 99084                          Chicago, IL 60606
                                        Fort Worth, TX 76199



Archbishopric Of New York               Archer County Tax Assessor            Archer Directional Drilling Services LLC
c/o William B Watson Agent Inc          Collector                             11390 Fm 830 Rd
PO Box 470425                           PO Box 700                            Willis, TX 77318-5626
Fort Worth, TX 76147                    Archer City, TX 76351-0700
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Archer Directional Drilling Services LLC   Archer Drilling LLC                    Archer Oil Tools LLC
Dept 158                                   Gloria Anderson                        Gloria Anderson
PO Box 4346                                10613 W Sam Houston Pkwy N Suite 600   10613 W Sam Houston Pkwy N Suite 600
Houston, TX 77210-4346                     Houston, TX 77064                      Houston, TX 77064




Archer Pearl Energy Ltd                    Archer Pressure Pumping LLC            Archer Production And Completion Svcs
401 Austin Highway Suite 212               4500 Se 59Th St                        Gloria Anderson
San Antonio, TX 78209                      Oklahoma City, OK 73135-3326           10613 W Sam Houston Pkwy N Suite 600
                                                                                  Houston, TX 77064




Archer Rental Services LLC                 Archer Tubular Services LLC            Archer Tubular Services LLC
19500 State Highway 249 Ste 600            19500 State Highway 249 Ste 600        PO Box 201235
Houston, TX 77070-3065                     Houston, TX 77070-3065                 Dallas, TX 75320-1235




Archer Underbalanced Services LLC          Archer Underbalanced Svcs LLC          Archer Well Company Inc
19500 State Highway 249 Ste 600            PO Box 201426                          12101 Cutten Rd
Houston, TX 77070-3065                     Dallas, TX 75320-1426                  Houston, TX 77066-1811




Archer Well Company Inc And Allis Chalm    Archer Wireline LLC                    Archibald Clinton Hewes Jr
12101 Cutten Rd                            PO Box 123300                          256 Van Pelt Street
Houston, TX 77066-1811                     Dept 3300                              Philadelphia, PA 19103
                                           Dallas, TX 75312-3300




Archie Burns Doss Jr                       Archie L Colburn                       Archie Lee Gilliam
8932 Blom Blvd                             PO Box 6615                            c/o Patrick Gilliam
Shreveport, LA 71118-2710                  Tyler, TX 75711                        131 Wilshire
                                                                                  Borger, TX 79007




Archie Leon King                           Archie Martin                          Archie Robert Lee Jr
1205 W Piru St                             4405 Indian Oaks Trail                 379 Herrington Road
Compton, CA 90222                          Arlington, TX 76017                    Petal, MS 39465-2051




Archie T Iddings Jr                        Archie T Iddings Jr Estate             Archie Wayne Mangold Ii
9607 Oxford Grove Dr                       9607 Oxford Grove Drive                PO Box 266
Houston, TX 77095                          Houston, TX 77095                      Oskaloosa, IA 52577




Archrock Partners LP                       Archrock Partners LP                   Archrock Partners Operating LLC
16666 Northchase Dr                        PO Box 201160                          Archock Legal Department Contracts Group
Houston, TX 77060                          Dallas, TX 75320-1160                  16666 Northchase Dr
                                                                                  Houston, TX 77060




Archrock Services Lp                       Arctic Royalty Limited Ps              Ardelia M Green
PO Box 201160                              c/o Bok Agent                          1628 B St
Dallas, TX 75320-1160                      PO Box 1588                            Hayward, CA 945413020
                                           Tulsa, OK 74101
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Ardell Clark                             Ardell W Staggs And Dina C Anding Staggs   Ardessa Hall Lewis
PO Box 105                               807 Wall Williams                          3140 W Lexington Street
Doyline, LA 71023-0105                   West Monroe, LA 71291                      Chicago, IL 60612




Ardis D Mccullen                         Ardis Green Sybil Johnson Green            Ardis James Gamble Iii
2603 Lakeway Drive                       865 Hwy 519                                312 North Willow Drive
Shreveport, LA 71109                     Arcadia, LA 71001                          Bossier City, LA 71111




Ardonia H Easaw                          Ardra Irene Bennett                        Area Management Services
Rr 2                                     3546 Spring Creek Rd                       7321 Boulder Ave 546
Monroe, LA 71202-9802                    Eupora, MS 39744                           Highland, CA 92346




Area Royalty Ltd                         Area Wide Safety                           Arella Vanessa Hutchins
PO Box 340309                            402 South 7Th St                           3008 W 84Th St
Austin, TX 78734                         Abilene, TX 79602                          Inglewood, CA 90305




Arellanos Electrical Services LLC        Ares Management LLC                        Argent Consulting Services Inc
PO Box 587                               Capital Markets Group                      Dba Acs Engineering
Premont, TX 78375                        2000 Avenue of the Stars 1200              Department 359
                                         Los Angeles, CA 90067                      PO Box 4346
                                                                                    Houston, TX 77210



Argent Fcu                               Argent Financial Group Inc                 Argent Trust Of Tn
PO Box 72                                Attn Daniel Taylor                         Attn Ed Brundick
Chesterfield, VA 23832                   500 East Reynolds Drive                    6075 Poplar Ave Ste 702
                                         Ruston, LA 71270                           Memphis, TN 38119-0100




Argonaut Insurance                       Arguindegui Oil Co Ii Ltd                  Argus Hazco
110 Pitts Bay Road                       PO Box 1367                                1702 Momentum Place
Pembroke Hm 08                           Laredo, TX 78042                           Chicago, IL 60689-5317
Bermuda




Argus Media Inc                          Ariane Prevost Garcia                      Ariela B Legendre Revocable Living Trust
2929 Allen Parkway                       2202 Corpus Christi Street                 Ariela B Legendre Trustee
Suite 700                                Laredo, TX 78043                           181 West Lakeshore Drive
Houston, TX 77019                                                                   Cherokee Village, AR 72529




Aris Helicopters                         Aristeia Capital LLC                       Aristle Villery
6871 Airport Drive                       One Greenwich Plaza Floor 3                2355 Pinion Dr
Riverside, CA 92504                      Greenwich, CT 06830                        Lake Charles, TX 70611




Arizona Corporation Commission           Arizona Department Of Revenue              Arizona Department Of Revenue
Corporations Division                    PO Box 29010                               PO Box 29079
1300 West Washington                     Phoenix, AZ 85038                          Phoenix, AZ 85038-9079
Phoenix, AZ 85007
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Arizona Dept Of Revenue                 Arizona Dept Of Revenue             Arizona Humane Society
Unclaimed Property Unit                 Unclaimed Property Unit             1521 W Dobbins Road
PO Box 29025                            1600 West Monroe Street             Phoenix, AZ 85041
Phoenix, AZ 85038-9026                  Division Code 10
                                        Phoenix, AZ 85007-2612



Arizona State Treasurer                 Arizona Zoological Society          Arjuna LLC
1700 West Washington                    Attn Bonnie Mendoza                 2445 S Zephyr Way
Phoenix, AZ 85007                       455 N Galvin Parkway                Lakewood, CO 80227
                                        Phoenix, AZ 85037




Ark La Tex Log Library                  Ark La Tex Oil Gas Rpt Svc          Ark La Tex Testing Anchor Co
400 Travis Street                       2103 Chase Crossing                 1809 Gilmer Rd
Suite 500                               Shreveport, LA 71118                Logview, TX 75604
Shreveport, LA 71101




Ark La Tex Construction LLC             Ark La Tex Construction LLC         Ark La Tex Electric Inc
PO Box 677231                           PO Box 8905                         PO Box 708
1200 East Campbell Suite 108            Bossier City, LA 71113-8905         Waskom, TX 75692
Richardson, TX 75081




Ark La Tex Hot Shot Trucking            Ark La Tex Injection Services LLC   Ark La Tex Oilmens Golf Assoc
PO Box 64                               PO Box 117                          PO Box 43
Oil City, LA 71061                      Greenwood, LA 71033                 Shreveport, LA 71161-0043




Ark La Tex Services                     Ark La Tex Services                 Ark La Tex Services A Division Of
Div Of Wolf Pack Rentals Llc            Karen Tarjick                       Wolf Pack Rentals LLC
PO Box 19129                            14825 St MaryS Lane Suite 125       PO Box 19569
Houston, TX 77224                       Houston, TX 77079                   Houston, TX 77224




Ark La Tex Surveying Co Inc             Ark La Tex Wireline Services LLC    Ark La Tex Wireline Svcs LLC
PO Box 910                              PO Box 19574                        PO Box 677231
Marshall, TX 75671                      Sheveport, LA 71149                 Dallas, TX 75267-7231




Arkansas Pondstockers Inc               Arklatex Energy Services LLC        Arklatex Energy Services LLC
17771 Hwy 18                            Matt Bregman                        PO Box 677231
Cash, AR 72421                          6913 Westport Avenue                Dallas, TX 75267-7231
                                        Shreveport, LA 71129




Arklatex Gyro Services LLC              Arkoma Energy Services Inc          Arkoma Louisiana LLC
PO Box 65116                            11111 Katy Freeway S900             At The Harbor
Shreveport, LA 71136                    Houston, TX 77079                   203 East I 30
                                                                            Rockwell, TX 75087




Arkoma Machine Fishing Tools            Arkoma Realty Ltd                   Arkos Field Services Lp
205 West Maple Suite 700                203 East Interstate 30              PO Box 46088
Enid, OK 73701                          Rockwall, TX 75087                  Houston, TX 77210-6088
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Arlen Edgar                              Arlen T Boren                   Arlena C Crawford Augustine
414 W Texas Ste 208                      PO Box 2344                     1436 Granada Ave
Midland, TX 79201                        Henderson, TX 75653             Corona, CA 92880




Arlena Rushing Bradford                  Arlene F Riddle                 Arlene James
852 Ed Barnes Rd                         4251 Estesville Rd              3440 So Delaware Ave 157
Jonesboro, LA 71251                      Longview, TX 75602              Peach Tree Village
                                                                         Springfield, MO 65804




Arlene Kennedy Tyner G Tyner             Arlene Phillips Mead            Arley C Overstreet Sarah C Overstreet
600 North Adams Avenue                   Bank Of America Na Agent        106 E Sonora Dr
Rayne, LA 70578                          PO Box 840738                   Hot Springs National Park, AR 71913-6723
                                         Dallas, TX 75284




Arley M Justice Jr                       Arline Spinks                   Arlington Exploration Development LLC
15939 Southeast Sixth Street             1410 Shawn Drive                400 E Kaliste Saloom Rd
Bellevue, WA 98008                       Baton Rouge, LA 70806           Ste 2500
                                                                         Lafayette, LA 70508




Arlis Sanford                            Arlyn Cook Shields              Arma Lee Stevenson
145 Vollie Sanford Road                  19 Star Fern Place              15721 Cr 3104
Calhoun, LA 71225                        The Woodlands, TX 77380         Gladewater, TX 75647




Armada Pressure Control LLC              Armadillo Inc                   Armand Joseph Broussard
PO Box 1809                              716 Sexton Rd                   PO Box 773
Decatur, TX 76234                        Minden, LA 71055                Youngsville, LA 70592-0773




Armanda Versell Newsome                  Armando Acosta                  Armede Dardene Wright Harrell
2432 Montecito Ct                        Address Redacted                1179 Highway 563
Antioch, CA 94531                                                        Dubach, LA 71235-2609




Armede Wright Harrell                    Armilda Jane Loveless           Armor Petroleum Inc
1179 Highway 563                         2900 Airport Freeway            PO Box 4625
Dubach, LA 71235-2609                    Fort Worth, TX 76111            Wichita Falls, TX 76308-0625




Armorzell Coleman Carter                 Armstrong Richard               Armstrong Backus Co LLP
11 Oak Spring Drive                      Address Redacted                PO Box 71
West Monroe, LA 71291                                                    San Angelo, TX 76902




Armstrong Directories                    Armstrong El Sordo Ltd          Armstrong Energy Corp
PO Box 52106                             Carolyn Armstrong Mynatt        PO Box 1973
Amarillo, TX 79159                       3428 Bethel Rd                  Roswell, NM 88202-1973
                                         Weatherford, TX 76087
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Armstrong Holden Family                 Armstrong Royalties LLC         Arnease Ludley Finley
Mineral Partnership Ltd                 Subsidiary Of Noble Royalties   4319 E Pinnacle Ridge Pl
7 Turtle Creek Bend                     PO Box 660082                   Tucson, AZ 85718-3540
Dallas, TX 75204                        Dallas, TX 75266




Arnell Aiken                            Arnell Dean Akin Jr             Arnie Aaron Culberson Estate
12006 Highway 151                       12006 Highway 151               8037 Lenore Street
Arcadia, LA 71001                       Dubach, LA 71235                Houston, TX 77017




Arnold Bert Gordon                      Arnold D Wharton Md             Arnold Hooper
PO Box 776                              1720 Devonshire                 Et Ux Annie Hooper
Port Oconnor, TX 77982-0776             Tyler, TX 75701                 136 Cr 442
                                                                        Joaquin, TX 75954




Arnold Investments Ltd                  Arnold Joe                      Arnold Oil Company
Ai Oil Gas Llc                          PO Box 1300                     PO Box 7889
204 Grandview Pl                        Hallsville, TX 75650            Corpus Christi, TX 78467
San Antonio, TX 78209




Arnold T And Sharon K Sikes             Arnold Trucking                 Arnold W Campbell
PO Box 6590                             3805 Fm 1997 N                  Et Ux Karen Campbell
Tyler, TX 75711-6590                    Marshall, TX 756702513          1443 Cr 432
                                                                        Joaquin, TX 75954




Arnold W Fannie M Warner Rev Lvg Trst   Arnulfo Gomez                   Aron C Lambert
Fannie M Warner Trustee                 Address Redacted                Address Redacted
407 Country Club Road
Hallsville, TX 75605




Aronnie Johnson                         Arp Oklahoma LLC                Arpco Valves Controls LLC
c/o Texas State Treasurer               Park Place Corp Center One      Kc Production Services Inc
Unclaimed Property Division             1000 Commerce Drive             PO Box 68
PO Box 12019                            4Th Floor                       Overton, TX 75684
Austin, TX 78711-2019                   Pittsburgh, PA 15275



Arpco Valves Controls LLC               Arpent Energy LLC               Arries Pegues
PO Box 68                               1101 Dealers Ave Ste 200        1069 67Th Street
Overton, TX 75684                       New Orleans, LA 70123           Oakland, CA 946081211




Arrow Investment Advisors LLC           Arrowhead                       Ars International
6100 Chevy Chase Dr 100                 PO Box 856158                   2609 North River Road
Laurel, MD 20707-2917                   Louisville, KY 40285-6158       Port Allen, LA 70767




Arsentice Shenee Williams               Arshell Wallace                 Art Guetter
2626 Valley Ridge Rd                    3134 Mt Miguel Dr               PO Box 1420
Shreveport, LA 71108-3234               San Diego, CA 92139             Sterling, CO 807511420
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Art Machin                              Artemis Investments                   Artemus Bradley
46 Palisades Blvd                       5950 Berkshire Lane 1040              Address Redacted
Longview, TX 75605                      Dallas, TX 75225




Artesia Alfalfa Growers Association     Artesia Drug Alcohol Screening        Artesia Fire Equipment Inc
PO Box 930                              Dba Drug Alcohol Screening Services   PO Box 1367
Artesia, NM 88211                       PO Box 449                            Artesia, NM 88210
                                        Artesia, NM 88211-0449




Arthritis Foundation Inc                Arthur B Auty                         Arthur Blythe
1355 Peachtree St Ne Ste 600            Address Redacted                      2231 Lyon Avenue
Atlanta, GA 30309-3234                                                        Palmdale, CA 93550




Arthur Brewster                         Arthur Brogna                         Arthur Brogna And
PO Box 906                              5538 S 161st West Avenue              Marie Petone Brogna H/W
Henderson, TX 75653                     Sand Springs, OK 74063                5538 S 161st West Avenue
                                                                              Sand Springs, OK 74063




Arthur Bruce White                      Arthur C Teer                         Arthur Carroll Hughes
5333 Primrose Dr 44B                    278 Echo Lane N                       3307 Somerset Ct Se
Fair Oaks, CA 95628                     Rusk, TX 75785                        Marietta, GA 30067




Arthur D Beaty                          Arthur David Roberts                  Arthur David Roberts Iii
410 Cr 2031                             400 Sandy Lane                        Loretta A Roberts
Nacogdoches, TX 75961                   Henderson, TX 75652                   PO Box 1570
                                                                              Henderson, TX 75653




Arthur David Roberts Janelle Roberts    Arthur Donald Chase Sr                Arthur E Davis
400 Sandy Lane                          3435 Mockingbird Lane                 6252 Bob O Link
Henderson, TX 75652                     Dallas, TX 75205                      Gilmer, TX 75645




Arthur E W Barrett Jr                   Arthur Edward Lewis Sr                Arthur F Giles Iii
Louisiana Trust                         3984 Dillon Drive                     527 Jewel St
PO Box 131235                           Columbus, OH 43227                    New Orleans, LA 70124-2522
Houston, TX 77219-1235




Arthur Friedman                         Arthur Gant                           Arthur H May Et Ux
3262 Westheimer 628                     6672 Allen Drive                      Mary Virginia Adams May
Houston, TX 77098                       Conroe, TX 77304                      268 Viola Road
                                                                              Ruston, LA 71270




Arthur H Mcroberts                      Arthur H Trowbridge                   Arthur J Hoenke Deana S Hoenke
430 Hookers Gap Rd                      PO Box 5217                           1805 Corley
Candler, NC 28715-8446                  Shreveport, LA 71135                  Ruston, LA 71270
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Arthur Kellough                         Arthur Kendall Barrett La Tst        Arthur L Anderson
5401 Emerald Park Blvd                  U/W Of P P Barrett Decd              8430 Pennsylvania Rd Apt 105
Arlington, TX 76017                     5644 Westheimer Rd                   Minneapolis, MN 554382707
                                        Houston, TX 77056-4002




Arthur L Fort Jr                        Arthur L Gibson                      Arthur L Harkness
702 Adams Street                        5670 Country Club Road East          PO Box 220
Longview, TX 75601                      Longview, TX 75602                   Buna, TX 77612




Arthur L Malcolm                        Arthur L Nims Iii                    Arthur Lee Franklin
1196 Dunning St Southwest               10 Longwood Drive                    16605 Gold Ridge Ln
Camden, AR 71701                        Apartment 247                        Houston, TX 77053
                                        Westwood, MA 02090




Arthur Lowelldon Jenkins                Arthur Ludley                        Arthur May
109 Sparrow Drive                       PO Box 211                           106 Sims Ave
Hercules, CA 94547                      Grambling, LA 71245-0211             Grambling, LA 71245




Arthur Michael Mckinley                 Arthur N Rupe                        Arthur N Sample Iii
7552 Us Hwy 259                         8300 Santa Monica Blvd               c/o Argent Trust Co Of La
Longview, TX 75605                      Los Angeles, CA 90069                P O Drawer 1410
                                                                             Ruston, LA 71273




Arthur OConnor And Judy OConnor         Arthur Ray Patsy Yanta               Arthur Ray Speed
9267 Bob O Link Road                    769 Fm 99                            5367 Marvin D Love Fwy 174
Gladewater, TX 75647                    Karnes City, TX 78118                Dallas, TX 75232




Arthur Stanley Ege                      Arthur Williams Evergreen Williams   Artie Beth Cranford Runyon
1022 Woodhaven                          3623 Spring Avenue                   652 Walker Road
Gladewater, TX 756479514                Dallas, TX 75210-2049                Choudrant, LA 71227




ArtieS Pumping Unit Service             Artis Cole Separate Property         Artis Cook Separate Property
PO Box 10623                            442 Mayfair St                       1574 Dorcheat Road
Midland, TX 79702-7623                  Shreveport, LA 71107                 Minden, LA 71055




Artis L Pryor                           Artis Sanders And Shirley Sanders    Arturo Garza Gongora Md
2074 George Johnitkin Rd                208 Worth St                         7210 Mcpherson Road Ste 120
Spearsville, LA 71277                   Henderson, TX 75654                  Laredo, TX 78041




Artyce Lp                               Arva H Menefee Jr                    Arva Henry Menefee
C/O Bilco Brick Corporation             2507 Caribe Dr                       2507 Caribe Dr
2116 N Lancaster Hutchins Rd            The Villages, FL 32162               The Villages, FL 32162-0207
Lancaster, TX 75134
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Arvest Bank                             Arvie Gibson Standifer          Arvie Lee Allen Caesar
PO Box 799                              1103 W 64Th Street              189 Elam Street
Lowell, AR 72745                        Los Angeles, CA 90044           Ruston, LA 71270




Arvilla C Sanderson                     Arvis E Donna G Stoker          Arvounia Day
406 Lowell Ct                           661 N Apache Trail              Rr 2
Shreveport, LA 71115                    Zwolle, LA 71486                Simsboro, LA 71275




AS Operating Inc                        Asa Anthony May                 Asa Mcnair
PO Box 702468                           3001 Gibson Street              Rt 3 Box 173
Tulsa, OK 74170                         Midland, TX 48640               Dayton, TX 77535




Asash Termite Pest Control              Asbury Transportation           Ascende Inc
1102 Clark Blvd                         2144 Parker Lane                2700 Post Oak Blvd 25Th Floor
Laredo, TX 78040                        Bakersfield, CA 93308           Houston, TX 77056-5784




Ascende Wealth Advisers Inc             Ascent Perennial I LLC          Asg Security
2700 Post Oak Blvd 25Th Floor           PO Box 912444                   PO Box 650837
Houston, TX 77056                       Denver, CO 80291-2444           Dallas, TX 75265-0837




Ash Grove Cement Company                Ash Grove Resources LLC         Ash Grove Texas Lp
PO Box 502682                           5375 S W 7Th Street Suite 400   PO Box 731424
St Louis, MO 63150-2682                 Topeka, KS 66606                Dallas, TX 75373-1424




Ashby Properties LLC                    Ashcom Technologies Inc         Asher Resources
PO Box 2457                             3917 Research Park Drive        1580 South Main Street Ste 114
Henderson, TX 75653                     Suite B4                        Boerne, TX 78006
                                        Ann Arbor, MI 48108




Asheville Savings Bank                  Ashford Investments Inc         Ashford Resources Corp
PO Box 652                              PO Box 720240                   PO Box 2525
Asheville, NC 28802                     Norman, OK 73072                Edmond, OK 73083




Ashley Ane Kennedy                      Ashley Ann Energy LLC           Ashley Baker Gay
14215 Cherry Ct                         PO Box 52643                    5922 Gilbert Dr
Chino, CA 91710                         Shreveport, LA 71135            Shreveport, LA 71106




Ashley M Oneal                          Ashley Mullican Kinslow         Ashley N Dunbar Separate Property
Address Redacted                        3030 Mckinney Avenue 403        1531 Havenbrook
                                        Dallas, TX 75204                Prosper, TX 75078
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Ashley Nicole Williams                    Ashley Simpson Thomas             Ashley Tad Hillin
1613 Moutain Brk                          996 Rich Rd                       PO Box 114
Schertz, TX 78154                         Arcadia, LA 71001                 Bullard, TX 75757




Ashley Theobald                           Ashley Yarnell                    Ashlin Minerals Ltd
8180 Greensboro Dr                        8062 Dove Lane                    PO Box 10703
8th Floor                                 Tuscaloosa, AL 35405              Midland, TX 79702-7703
McLean, VA 22102




Ashlor Land Company LLC                   Ashlor Title Company              Ashly Wolf 2005 Trust
PO Box 52209                              PO Box 52209                      Sandra L Wolf Trustee
Shreveport, LA 71135                      Shreveport, LA 71135              303 E 17Th Ave Ste 645
                                                                            Denver, CO 80203




Ashlyn Tompkins Test Trust                Ashton Wilkerson                  Ashvink Shah
Patricia Ann Lewis Ttee                   310 Main St                       Rupal Shah
1511 Frostwood Dr                         Grambling, LA 71245-2725          Jt Ten/Wros
Tyler, TX 75703                                                             834 Kings Hills Boulevard
                                                                            Pigeon Forges, TN 37863-5212



Asi Business Solutions                    Aspen Energy Service Inc          Aspen Grove Royalty Co LLC
13701 Hutton Drive                        PO Box 2362                       PO Box 10588
Suite 102                                 Rock Springs, WY 82902            Midland, TX 79702
Dallas, TX 75234




Aspen Insurance Agency                    Aspen Specialty Ins Co            Asr Bays LLC
40 Stark Street PO Box 510                Michael C Padula                  961 Ford Rd
Manchester, NH 03104                      175 Capital Boulevard Ste 100     Homer, LA 71040
                                          Rocky Hill, CT 06067




Asseff Properties LLC                     Assemblies Plus                   Asset Allocation Management Co LLC
John H Asseff Manager                     3447 W 97Th Ave 12                30 West Monroe St 3rd Floor
PO Box 7                                  Westminster, CO 80031             Chicago, IL 60603-2405
Gloster, LA 71030




Assetpoint LLC                            Assetpoint LLC                    Assoc La Intra Pipe Line LLC
PO Box 25489                              PO Box 743722                     Jpmorgan Chase Bank
Greenville, SC 29616                      Atlanta, GA 30374-3722            PO Box 301622
                                                                            Dallas, TX 75303-1622




Associated Bank                           Associated Group                  Associated Supply Company Inc
1305 Main Street MS 7722                  2420 S Eastern Ave                PO Box 3888
Stevens Point, WI 54481-0327              Commerce, CA 90040-1415           Lubbock, TX 79452




Assurance Fire Safety Train               Astmax Asset Management Inc       At Tech
PO Box 974                                Higashigotanda Square 5th Floor   Accounts Receivable
Lovington, NM 88260                       2 10 2 Higashigotanda             PO Box 29048
                                          Sinagawa ku Tokyo 141 0022        Glendale, CA 91209-9048
                                          Japan
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At Tech                                  Atasca Properties Ltd            Atchafalaya Measurement Inc
PO Box 29048                             PO Box 130347                    Nicholas Trahan
Glendale, CA 91209-9048                  Houston, TX 77219-0347           124 Credit Drive
                                                                          Scott, LA 70583




Atchafalaya Measurement Inc              Atchafalaya Measurement Inc      Atchison Family Trust
PO Box 3307                              PO Box 677208                    Attn Lana Atchison Drake
Lafayette, LA 70502                      Dallas, TX 75267-7208            PO Box 8532
                                                                          Lumberton, TX 77657




Atchley Russell Waldrop                  Athena Penson Minerals           Athens First Bank Trust
PO Box 5517                              c/o Penson Properties Inc        150 W Hancock Ave
Texarkana, TX 75505-5517                 5950 Berkshire Lane Suite 1040   Athens, GA 30601
                                         Dallas, TX 75225




Atherton Bristol                         Atherton Bristol Trust           Athleen Cleone Deer
11120 Kenora Way                         Box 206                          211 Gordy St Apt 4 9
Lakeville, MN 55044                      Carversville, PA 18913           Eldorado, KS 67042




Atholene Brewster                        Atkins Ltd LLC                   Atkins Minerals Lc
PO Box 210                               333 Texas St Suite 2300          Coutret Associates Inc Mgr
Carthage, TX 75533                       Shreveport, LA 71101-3680        401 Edwards St Suite 810
                                                                          Shreveport, LA 71101-5510




Atlanta Exploration Company              Atlanta Guardian Company LLC     Atlantic City Games
PO Box 9                                 PO Box 9                         7101 Jurupa Ave 1
Magnolia, AR 71754-0009                  Magnolia, AR 71754-0009          Riverside, CA 92504




Atlantic Oil Corporation                 Atlantis EP Inc                  Atlas Business Solutions Inc
Suite 322                                Tracey Romero                    PO Box 50758
1825 Lawrence Street                     400 Post Oak Blvd Site 400       Midland, TX 79710-0758
Denver, CO 80202-1817                    Houston, TX 77056




Atlas Company                            Atlas Copco                      Atlas Energy Corp
PO Box 291                               10613 W Sam Houston Pkwy N       6500 E Hampden Ave Suite 202
Longview, TX 75601                       Suite 600                        Denver, CO 80224
                                         Houston, TX 77064




Atlas Energy Resources LLC               Atlas Hall Rodriguez LLP         Atlas Resource Partners L P
1845 Walnut Street Suite 1000            Attorneys At Law                 1000 Commerce Drive
Philadelphia, PA 19103                   818 W Pecan Blvd                 Park Place Corporate Center One
                                         Mcallen, TX 78501-2418           Suite 400
                                                                          Pittsburgh, PA 15275



Atlas Tubular Lp                         Atmos Energy                     Atmos International Inc
PO Box 431                               PO Box 790311                    14607 San Pedro Ave
Robstown, TX 78380                       St Louis, MO 63179-0311          San Antonio, TX 78232
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Atmos Pipeline Texas                   AtN Martinez Land Company LLC   Atofina Petrochemicals Inc
PO Box 841425                          PO Box 1245                     800 Gessner Road
Dallas, TX 75284-1425                  Zwolle, LA 71486                Suite 245
                                                                       Houston, TX 77024




ATT                                    ATT                             ATT
208 S Akard St                         PO Box 105068                   PO Box 105414
Dallas, TX 75202                       Atlanta, GA 30348-5068          Atlanta, GA 30348-5414




ATT                                    ATT                             ATT
PO Box 22111                           PO Box 5001                     PO Box 5014
Tulsa, OK 74121-2111                   Carol Springs, IL 60197-5001    Carol Stream, IL 60197-5014




ATT                                    ATT                             ATT Atlanta
PO Box 5019                            PO Box 650661                   PO Box 105262
Carol Stream, IL 60197-5019            Dallas, TX 752650661            Atlanta, GA 30348




ATT Corp                               ATT Dallas                      ATT Long Distance
One At T Way                           PO Box 930170                   PO Box 5017
Bedminster, NJ 07921-0752              Dallas, TX 75393-0170           Carol Stream, IL 60197-5017




ATT Mobility                           ATT Mobility                    Attila Marie Younger Morgan
PO Box 60017                           PO Box 6463                     1751 Loma Verde St
Los Angeles, CA 90060-0017             Carol Stream, IL 60197-6463     Monterey Park, CA 91754




Attoyac Construction LLC               Atwood Placement Services       Atzin And Nori Mora
900 Rockmead Drive                     18218 Lakeside Lane             1286 Fm 665
Ste 220                                Houston, TX 77058               Alice, TX 78332
Kingwood, TX 77339




Aubert C Dykes Iii                     Aubrey Alan Cavey Ttee          Aubrey C Buchanan Jr
2136 Atascocita Place Dr               A Alan Cavey Rev Liv Tr U/A     1918 Willis Dr
Humble, TX 77346                       Dtd 05/22/1996                  Longview, TX 75601
                                       2144 Green St 11
                                       San Francisco, CA 94123



Aubrey Chevalier                       Aubrey Dare Westmoreland Iii    Aubrey King
Route 1 Box 186                        PO Box 1028                     Rt 32
Joaquin, TX 75954                      Marshall, TX 75671              532 Fm 2497
                                                                       Diboll, TX 75941




Aubrey L Richardson                    Aubrey Land Et Al               Aubrey Land Et Ux
170 Creekwood Dr Box 11                Loester D Land Sr               Icelia Reamor Land
Blum, TX 76627                         Virgia Land Hill                678 Main Street
                                       PO Box 41                       Grambling, LA 71245
                                       Grambling, LA 71245
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Aubrey Lee And Wanda Mantooth             Aubrey Lee Vice               Aubrey M Beckham
4197 Blunt Mill Rd                        21361 Lodge Rd                502 Fm 139
Grand Cane, LA 71032                      New Caney, TX 77357           Joaquin, TX 75954-5712




Aubrey M Beckham Est Elizabeth            Aubrey Marion Sipes           Aubrey W Gregg Jr
Ann Beckham Hurst Indep Exec              Route 1 Box 423               1259 North Old Stagecoach Rd
4908 E Main Street                        Beckville, TX 75631           Kyle, TX 78640
Nacogdoches, TX 75961




Aubrey Wilson Foster                      Aubry G Bishop                Aubry Matt Pesnell
c/o Texas State Treasurer                 4713 106Th St                 865 Penn Ave Ne
Unclaimed Property Division               Lubbock, TX 79424             Atlanta, GA 30308
PO Box 12608 Capitol Station
Austin, TX 78711



Audie L Wright                            Audie Masterson               Audra F Pesnell
3987 W Vickery Blvd                       PO Box 735                    2454 Hwy 556
Fort Worth, TX 76107                      Henderson, TX 75653-0735      Choudrant, LA 71227




Audra F Wood                              Audrey B Seale                Audrey Cleo Brisendine
1318 Nw Slate Ln Apt 102                  98 Day Rd                     Sx 5 Lake Cherokee
Silverdale, WA 98383                      Gorham, ME 04038              Henderson, TX 75652




Audrey Daigle                             Audrey Downing Brackin        Audrey Elaine Gregg Oswalt
PO Box 690144                             PO Box 1613                   PO Box 726
Killeen, TX 76549                         Kountze, TX 77625             Kyle, TX 78640




Audrey Faye Brown                         Audrey Faye Dupree Frazier    Audrey Glen Tullos
14942 E 50Th Place                        310 S Winery Ave              9626 Hwy 34
Denver, CO 80239                          Fresno, CA 93727              Eros, LA 71238




Audrey Gochie Life Estate Deceased 1997   Audrey I Palmer               Audrey Jan Tombrink Grigsby
Route 2                                   494 Springview Rd             Individ As Usufruct
Joaquin, TX 75954                         Pocahontas, AR 72455-4904     5721 River Rd
                                                                        Shreveport, LA 71105




Audrey Logan                              Audrey Lynn Abbey             Audrey M Ley
923 N 12Th St 18                          500 Independence              4545 Post Oak Place Drive
Grand Junction, CO 81501                  Liberty, TX 77575             Suite 103
                                                                        Houston, TX 77027




Audrey Mccrary Clements DecD              Audrey Moss                   Audrey P Robert Usufruct
PO Box 12019                              5122 Saddleridge Ct           3212 Belmont Place B
Austin, TX 78711                          Garland, TX 75043-2888        Metairie, LA 70002
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Audrey Porter                              Audrey Quina Obrien Trust U/W        Audrey Rice Estate
4315 Pine Shadows St                       c/o Bank One Louisiana N A           5905 Frontier Blvd
Dickinson, TX 77539                        Drawer 99084                         Mesquite, TX 75150
                                           Fort Worth, TX 76199-0084




Audrey Ruth Winfrey Brunson                Audrey U Cobb Est John P Cobb Exec   Audrey Wagner Ross
105 Lenora St                              c/o Bk Of Little Rock Hogue          607 Oakdale Avenue
Pineville, LA 713604449                    200 6252                             Longview, TX 75602
                                           5120 Kavanaugh Blvd
                                           Little Rock, AR 72207



Audrey Wilburn Clark                       Audrey Williams                      Audrey Williams
204 Cr 3182                                661 N Lazy J Way                     PO Box 65
Joaquin, TX 75954                          Tucson, AZ 85748                     Joaquin, TX 75954




August C Bering Iv                         August C Erickson Mineral Tst        August Erickson
6102 Westheimer                            James A Erickson Mary M Erickson     PO Box 3735
Houston, TX 77057                          Barbara A Erickson                   Shreveport, LA 711333735
                                           391 Oleander Dr
                                           Pawleys Island, SC 29585



August Erickson Estate                     August H Plate Deceased              August Investments Inc
330 Marshall St                            3520 Cline Street                    PO Box 7212
Ste 300                                    Houston, TX 77020-6128               Shreveport, LA 71137
Shreveport, LA 71101




Augusta F Johnson                          Augusta Georgina Macdonald           Augusta Jackson
1722 Crawford Street                       PO Box 5870                          PO Box 273
West Monroe, LA 71292                      Ketchum, ID 83340                    Grambling, LA 71245




Auld Enterprise I Ltd                      Auld Enterprise Ii Ltd               Aunita Alwanda Harroun Davis
PO Box 766                                 PO Box 766                           1310 Dale Rose Ct
Leakey, TX 78873                           Leakey, TX 78873                     Houston, TX 77062




Aurelia Northcutt Newton                   Aurora H Moore                       Aurora V Chamberlain
PO Box 442                                 314 N Mendiola                       c/o Javier Speed
Longview, TX 75606                         Laredo, TX 78043                     PO Box 2486
                                                                                Bellaire, TX 77402




Austin Anderson                            Austin Bank                          Austin College Of Sherman
Katie Simpson Anderson                     200 E Commerce                       Bank Of Oklahoma Na Agent
1405 Leon Drive                            Jacksonville, TX 75766               Acct No 628993016
Jonesboro, LA 71251                                                             PO Box 1588
                                                                                Tulsa, OK 74101-1588



Austin Crouch                              Austin E Hills                       Austin J Butler
Address Redacted                           2546 Jackson St                      4816 Shavano Peak Ct
                                           San Francisco, CA 94115-1121         Antioch, CA 94531
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Austin L And Mary E Mckenzie            Austin L Brown                    Austin N Ross
401 Mayfair Ct                          Nf 25 Lake Cherokee               829 Unadilla Street
Hurst, TX 76054                         Longview, TX 75603                Shreveport, LA 71106




Austin Presbyterian                     Austin R Bryan Jr                 Austin R Bryan Sr
Theological Seminary/1505879            3/10 Shinfield Ave                5100 John Ryan Blvd
c/o Farmers National Co Agent           St Ives NSW 2075                  Apt 2712
PO Box 3480                             Australia                         San Antonio, TX 78245
Omaha, NE 68103



Austin Telco Federal C U                Austin W Lea                      Austin Wagstaff Wife Melva Wagstaff
8929 Shoal Creek Blvd                   360 Stonewood Dr                  768 County Road 1005
Austin, TX 78757                        Vacaville, CA 95687               Center, TX 75935




Aut Technical Consultants Inc           Author D Anderson                 Automated Business Concepts
14173 Nw Freeway Unit 152               9513 Rhapsody Lane                3401 Youree Drive
Houston, TX 77040                       Shreveport, LA 71118              Shreveport, LA 71105




Automated Controls                      Automatic Access Inc              Automation X Corporation
111 N E 14Th St                         606 S Weber St                    Attn Accounts Receivable
Lamesa, TX 79331                        Colorado Springs, CO 80903-4038   620 S Carlton
                                                                          Farmington, NM 87401




Automotive Rental Inc                   Automotive Rentals Inc            Automotive Rentals Inc
PO Box 8500 4375                        Attn Frank Clement                420 Montgomery Street
Philadelphia, PA 19178-4375             4001 Leadenhall Road              San Francisco, CA 94104
                                        Mt Laurel, NJ 08054




Autozone Inc                            Autrey Carpenter                  Autry C Stephens
PO Box 116067                           Jean Hamilton Carpenter           110 N Marienfeld Suite 110
Atlanta, GA 30368-6067                  610 Hwy 519                       Midland, TX 79701-4412
                                        Arcadia, LA 71001




Autumn C Anderson                       Auvergne Weatherall Arnold        Auvie Allen Bailey
PO Box 443                              5 Acorn Circle                    203 Delmar Dr
Anacoco, LA 71403                       Bentonville, AR 72712             Midland, TX 79703




Auvie Nell ODell                        Ava Brannan                       Ava H Morgan
14455 S Horse Creek Road                PO Box 667                        1102 Jefferson
Milburn, OK 73450                       Valliant, OK 747640667            Minden, LA 71055




Ava Lee Coleman                         Ava Paulette Moore Remainderman   Ava Pilgreen Estate
Rr 2 Box 87                             9648 Lynbrook Dr                  Linda Suman Executrix
Dubach, LA 71235                        Dallas, TX 75238                  PO Box 686
                                                                          Cool Ridge, WV 25825
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Ava T Gibson Aka Renee Turlington Gibson   Avalanche Royalty Partners LLC     Avalon Advisors LLC
2121 West Main                             c/o Bwab Incorporated              2929 Allen Pkwy 3000
Henderson, TX 75652                        475 17Th Street Suite 1390         Houston, TX 77019
                                           Denver, CO 80202




Avalon Rafts Sales Service                 Avalyn Taylor Lesage               Avan J Richards Jr
221 N Avalon Blvd                          Po Drawer 1092                     140 Voss Street
Wilmington, CA 90744                       Shreveport, LA 71163               Dubach, LA 71235




Avanti Environmental Inc                   Avatar Systems Inc                 Aveletta Hughes Marler
1 Park Plaza Suite 1000                    2801 Network Boulevard Suite 210   4603 Nations Dr
Irvine, CA 92614                           Frisco, TX 75034                   Pasadena, TX 77505




Avenue Capital Management II LP            Averex Inc                         Avert Donice Mccoy
399 Park Avenue 6th Floor                  PO Box 52305                       3917 S Fm 548
New York, NY 10022                         Lafayette, LA 70505                Royse City, TX 75189




Avert L Adams Jr                           Avie G Pegues                      Avis Joy Barrett
522 Joel                                   3785 Webster St                    c/o Boynne Voss Curator
Minden, LA 71055                           Oakland, CA 94609                  402 Water Tank Road
                                                                              Ruston, LA 71270




Avis Laree Lambert Bounds                  Avis Mrs Lambert                   Avis Tieber Jamieson
Separate Property                          11974 Hwy 7 East                   2124 Teton
12050 State Hwy 7 E                        Joaquin, TX 75954-4404             Carrollton, TX 75006
Joaquin, TX 75954-4026




Avitus Energy LLC                          Avlon Keen Tapper                  AW Water Service Inc
5331 Spring Valley Road                    3211 Norma Dr                      PO Box 911724
Dallas, TX 75254                           Longview, TX 75604                 Denver, CO 80291-1724




Awalt Hot Oil Service Inc                  Awc Frac Valves Inc                Awc Gs Trust
PO Box 329                                 Gloria Anderson                    Cynthia C Clenden Trustee
Andrews, TX 79714                          11376 Fm 2854                      PO Box 9087
                                           Conroe, TX 77304                   Dallas, TX 752099087




Awp 1983 Trust                             Awp LLC                            Aws Inc
c/o Petroleum Finanical Inc                PO Box 1223                        PO Box 9188
309 West 7Th St Ste 200                    Englewood, CO 80150-1223           Columbus, MS 39705-0023
Fort Worth, TX 76102




Axa Investment Managers Inc North Ameri    Axem Energy Co                     Axip Energy Services LP
100 W Putnam Ave Ste 4                     c/o Axem Resources                 Legal Department
Greenwich, CT 06830-5362                   Norwest Bank Bldg Na Dept 458      919 Milam Street Suite 850
                                           Denver, CO 80291                   Houston, TX 77002
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Axis Energy Corp                          AXIS Insurance Co               Aycock Lawrence
PO Box 2107                               Maricela Pina                   PO Box 924
Roswell, NM 88202-2107                    One Riverway Suite 1700         Hallsville, TX 75650
                                          Houston, TX 77056




Ayres Inn Orange                          Az Terminal Corporation         Azar Alexander
3737 W Chapman Ave                        PO Box 1530                     6105 Choctaw Court Dcbe
Orange, CA 92868                          Tulsa, OK 74101                 Granbury, TX 76049




Azile H Franciose                         Aztec Well Servicing Co         Azure Midstream Partners Lp
c/o Ubs Paine Webber                      PO Box 100                      12377 Merit Dr Suite 300
Suite 100                                 Aztec, NM 87410                 Dallas, TX 75251
10001 Woodlock Forest Drive
The Woodlands, TX 77381



Azzie Adams Parks                         Azzie L Colemen Simpson         Azzie L Daniels
5124 Burlingame Ave                       691 Central Ave W               921 Channing Circle
Richmond, CA 94840                        Saint Paul, MN 55104            Dallas, TX 75225




B A Glover                                B A Henderson                   B A Weems And William A Weems
8 S 270 Derby Ct                          1315 Pagewood Ave               PO Box 149
Naperville, IL 60540                      Odessa, TX 79761                Hondo, TX 78861-0149




B And H Royalty Company                   B B Chemicals Inc               B B Forbes Supply Inc
Attn Raymond H Hedge Iii                  PO Box 69337                    PO Box 1261
PO Box 1                                  Odessa, TX 79769                1610 N Hwy 87
Tyler, TX 75710                                                           Lamesa, TX 79331




B B Glass Mirror                          B B Graves                      B B H M Tisdale Living Trust
1985 State Hwy 149                        Rte 2 Box 216                   Helen M Tisdale Trustee
Carthage, TX 75633                        Joaquin, TX 75954               614 Slaydon St
                                                                          Henderson, TX 75654




B B Locksmith                             B B Minerals                    B B Pipe
1985 State Hwy 149                        PO Box 486                      3035 Walnut Avenue
Carthage, TX 75633                        Rehoboth Beach, DE 19971        Long Beach, CA 90807




B B Production Service Inc                B B Roustabout Inc              B Bryan Leitch Iii
105 Kimberly Lane                         PO Box 421                      2606 State Street
Longview, TX 75604                        Lamesa, TX 79331                Dallas, TX 75204




B C Lively                                B C Tools LLC                   B D Resources Inc
1400 West Church                          2304 Fm 1585                    PO Box 60
Livingston, TX 77351                      Lubbock, TX 79423               Washington, TX 77880
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B Envirosafe Inc                         B F Phillips Jr Estate             B F Pitman Iii
601 Lonesome Prairie Trail               4305 Macarthur Avenue              PO Box 171192
Haslet, TX 76052                         Dallas, TX 75209                   San Antonio, TX 78217-8192




B G Welding                              B Glenn Ham Pat Anne Methvin Ham   B H C H Mineral Ltd
10238 Us Hwy 283                         PO Box 235                         PO Box 1817
Coleman, TX 76834                        Fairbanks, LA 71240                San Antonio, TX 78296-1817




B H Durrett Holdings Lp                  B H Harris                         B H Pump And Supply
2412 Blackberry Dr                       Box 64                             PO Box 247
Richardson, TX 75082                     Beckville, TX 75631                Selman City, TX 75689




B H R LLC                                B H Royalty Company                B H Services Inc
2400 N Douglas Blvd                      PO Box 1                           Dba HowardS Casing Service
Arcadia, OK 73007                        Tyler, TX 75710                    PO Box 1616
                                                                            Casper, WY 82602




B H Timmins Jr                           B H Timmins Jr Trust U/W/O         B H Wren
7831 Park Ln Apt 218                     Lucille Timmins Nancy Lee          PO Box 570032
Dallas, TX 75225-2045                    Huber Timmins Succ Trustee         Dallas, TX 75357-0032
                                         7831 Park Lane Apt 220
                                         Dallas, TX 75225



B J Collins                              B J Hot Oil Service Inc            B J Keen
4733 Westchester Dr                      9603 W County Road 22H             PO Box 1055
Waco, TX 76710                           Loveland, CO 80538                 Carthage, TX 75633




B J Kilpatrick                           B J Mcreynolds And Or              B J Services Company
1812 E Lakeshore Dr                      Mary E Mcreynolds Trustees         PO Box 203966
Carriere, MS 39426-7804                  33021 Daniel Dr                    Dept 393
                                         Dana Point, CA 92629               Houston, TX 77216-3966




B J Tuten                                B L Casing Service                 B L Equipment Inc
9719 Chateau Dr                          PO Box 22260                       PO Box 60476
Baton Rouge, LA 70815                    Bakersfield, CA 93390              Midland, TX 79711-0476




B L T Properties Lp                      B Line Sales Inc                   B M Cook
PO Box 275                               2008 Norris Road                   117 St John Street
Henderson, TX 75653                      Bakersfield, CA 93308              Pensacola, FL 32503




B M Hotshot Inc                          B M Lowe Family LLC                B Mark Paull
PO Box 1157                              559 Cr 3286                        6135 Doliver Drive
Victoria, TX 77902                       Joaquin, TX 75954                  Houston, TX 77057
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B N Contractors Inc                      B O P Products LLC                   B O P Ram Block Iron Rentals Inc
PO Box 2249                              PO Box 692172                        PO Box 872
Hammond, LA 70404                        Houston, TX 77269-2172               Weatherford, OK 73096




B O P Ram Rentals Inc                    B P Electric Company                 B P Oilfield Services LLC
James Huval                              33175 Success Valley Dr              9921 Fm 2625W
PO Box 81858                             Porterville, CA 93257                Hallsville, TX 75650
Lafayette, LA 70598




B P Supply Inc Dba B P Services          B P Supply Inc                       B R Land And Cattle LLC
Joyce Parnell                            PO Box 976                           PO Box 2243
PO Box 976                               Andrews, TX 79714                    Longview, TX 75606
Andrews, TX 79714




B R Land Cattle Company                  B R Tools Service Inc                B S B Oil Company
PO Box 2243                              PO Box 998                           c/o Leo Riley Co Cpa Firm
Longview, TX 75606                       Levelland, TX 79336                  141 S Center St Suite 200
                                                                              Casper, WY 82601




B S Rentals Inc                          B S W Oil Company                    B T Inc
PO Box 747                               4327 Muirfield                       PO Box 124
Broussard, LA 70518                      San Antonio, TX 78209                Rock Springs, WY 82902




B W A B Limited Liability Co             B W Fortson Iii                      B W L Investment Co Inc
475 17Th St Ste 1390                     6120 E 5Th St 113                    Attn Brenton W Chadwick
Denver, CO 80202                         Tucson, AZ 85711                     2915 N Us Hwy 69
                                                                              Mineola, TX 75773




B2001 United Bank Inc                    B2J LLC Dba Tj Enterprises           BA Minerals Ltd
Attn Trust Department                    PO Box 2081                          c/o William H Mckendrick Iii
PO Box 1508                              Lovington, NM 88260                  323 Manor Rd
Parkersburg, WV 26101                                                         Laredo, TX 78041




Ba Procurement Ltd                       Baakline Investments LLC             Babette Erlich Trust 4787
Michael Rimlawi                          3701 Kirby Dr Ste 1090               Uwo Rose R Brin Decd
9625 Preston Road                        Houston, TX 77098                    Bank Of America Na Successor Trustee
Dallas, TX 75225                                                              PO Box 840738
                                                                              Dallas, TX 75284-0738



Babette Wiener Trust                     Babette Wiener Trust                 Babs Ballenger Kersh
F/B/O Carol P Freyer                     Fbo Karen L W Freyer Mellon Pvt Tr   1133 Buford Lane
Mellon Private Tr Co Na Tste             Harry Freyer Jack Levy Ttees         Henderson, TX 75652
201 Columbine St Ste 200                 201 Columbine St Ste 200
Denver, CO 80206                         Denver, CO 80206



Babson Capital Management LLC            Bachman Services Inc                 Bachtell Oil Gas Ltd
2029 Century Park E 1130                 PO Box 96265                         520 Honeysuckle Lane
Los Angeles, CA 90067                    Oklahoma City, OK 73143              Longview, TX 75605
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Backer Petroleum Corp                     Badger Daylighting Corp         Badger Daylighting Corp
455 Granville St Ste 200                  75 Remittance Dr Ste 3185       8930 Motorsports Way
Vancouver, BC V6C 1T1                     Chicago, IL 606753185           Brownsburg, IN 46112-2519
Canada




Badger Fishing And Rental LLC             Badger Fishing And Rental LLC   Badger Pressure Control LLC
Bobby Knight                              PO Box 6565                     PO Box 731838
PO Box 989                                Lubbock, TX 79493-6565          Dallas, TX 75373
Brownfield, TX 79316




Badger Pressure Control LLC               Badon Hill Inc                  Baerbel Lemaitre
Timothy Crain                             309 W 7Th Street Ste 500        741 Lakeway Drive
PO Box 1740                               Fort Worth, TX 76102            El Paso, TX 79932
Waskom, TX 75692




Baezas Sandblasting                       Baggs Testing And Rental Inc    Baggs Testing Rental Inc
9908 S Co Rd 1200                         PO Box 271                      PO Box 271
Midland, TX 79706                         Baggs, WY 82321                 Baggs, WY 82321




Bagley Tractor Equipment                  Bagley Well Service Corp        Bagwell 9 Family Lp
3709 S Eastman Rd                         334 Forsythe Street             801 S Filmore
Longview, TX 75602                        Carthage, TX 75633              Suite 465
                                                                          Amarillo, TX 79101




Bagwell Jr John Justin                    Bailes Co Pc                    Bailey Anderson Morris
Rosemary Bagwell                          1357 Dominion Plaza             1191 Cr 114
1700 Pineridge                            Tyler, TX 75703                 Carthage, TX 75633
Longview, TX 75604




Bailey B Ratliff Iii Testmt Tr            Bailey Bryant Ratliff Iii       Bailey Glen Turlington
c/o Broadway National Bank                301 Outcrop                     PO Box 1646
PO Box 17001 Trust                        Horseshoe Bay, TX 78657         Hallsville, TX 75650
San Antonio, TX 78217




Bailey Strategic Human Resources          Bailey Terry D                  Baileys Repair Service LLC
382 N Lemon 259                           306 West Sabine Street          PO Box 411
Walnut, CA 91789                          Carthage, TX 75633              Waldo, AR 71770




Baird Susan Aragon                        Baker Atlas                     Baker Botts LLP
5775 Riverside Dr 79                      Rachael Gaines                  One Shell Plaza
Chino, CA 91710                           2929 Allen Parkway Suite 2100   910 Louisiana Street
                                          Houston, TX 77019               Houston, TX 77002-4995




Baker Delanna                             Baker Forests Lp                Baker Hostetler LLP
Rt 1 Box 274                              PO Box 1607                     PO Box 70189
Beckville, TX 75631                       Shreveport, LA 71165            Cleveland, OH 44190-0189
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Baker Hughes                           Baker Hughes Business Support Services   Baker Hughes Centrilift
PO Box 301057                          PO Box 301057                            PO Box 200415
Dallas, TX 75303-1057                  Dallas, TX 75303-1057                    Houston, TX 77216-0415




Baker Hughes Drilling Fluids           Baker Hughes Inteq                       Baker Hughes Oilfield Operations Inc
Rachael Gaines                         2001 Rankin Rd                           Rachael Gaines
2929 Allen Parkway Suite 2100          Houston, TX 77073-5114                   2929 Allen Parkway Suite 210
Houston, TX 77019                                                               Houston, TX 77019




Baker Kabot                            Baker Leasing Inc                        Baker Machine Co Inc
127 Quail Creek Drive                  11 Oak Creek Ridge Dr                    PO Box 78154
Carthage, TX 75633                     Longview, TX 75605-1629                  Shreveport, LA 71137-8154




Baker Oil Tools                        Baker Oil Tools                          Baker Oilfield Services LLC
PO Box 301057                          Rachael Gaines                           1801 Parks Road
Dallas, TX 75303-1057                  2929 Allen Parkway Suite 2100            Benton, LA 71006
                                       Houston, TX 77019




Baker Petroleum Investments Inc        Baker Petrolite Corporation              Baker Petrolite Corporation
16916 Claybridge Circle                PO Box 301057                            Rachael Gaines
Edmond, OK 73012                       Dallas, TX 75303-1057                    2929 Allen Parkway Suite 210
                                                                                Houston, TX 77019




Baker Rescue Services                  Baker Rosemary                           Bakercorp
19744 Beach Blvd 366                   8813 Grape Creek Road                    PO Box 513967
Huntington Beach, CA 92648             San Angelo, TX 76901                     Los Angeles, CA 90051-3967




BakerS Entomology Pesticide Serv       Bakersfield Pipe Supply                  Bakerstone Transport LLC
2405 W Indiana                         PO Box 60006                             Sarah Harrison
Midland, TX 79701                      Los Angeles, CA 90060-0006               3139 Cr 205N
                                                                                Henderson, TX 75652




Balcron Oil Company                    Baldpate Inc                             Baldwin Brown Farm Inc
845 12Th St West                       19450 State Highway 249 Ste 460          223 N Bay Drive
Billings, MT 59102                     Houston, TX 77070-3073                   Bullard, TX 75757




Baldwin Madden Energy LLC              Baldwin Madden Energy Partners LLC       Baldwin Mineral Interest Trust
333 Texas Street                       333 Texas St Ste 1919                    Patricia Hadlock Ramsey Trstee
Suite 1919                             Shreveport, LA 71101                     1600 Bon Air Drive
Shreveport, LA 71101                                                            Lexington, KY 40502




Baldwin O Hill                         Ball Incon Glass Pkg Corp                Ball Montez Electric Inc
PO Box 839                             PO Box 4200                              PO Box 1576
Grambling, LA 71245-0839               Muncie, IN 47307                         Alice, TX 78333
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Ballenger Richard                       Baloney Feathers Ltd            Balta Corp
1276 State Hwy 149                      PO Box 1586                     21 Kearney Street
Carthage, TX 75633                      Lubbock, TX 79408               Denver, CO 80222




Baltazar Esther Hinojosa                Bamberg Investments LLC         Bambi L Savage
5823 Northgate Ln Ste 590               6000 Metro West Blvd Ste 101    PO Box 691824
Laredo, TX 78041                        Orlando, FL 32835               Los Angeles, CA 90069




BamS Hot Shot Services                  Bancfirst                       Bancorp
PO Box 7232                             101 N Broadway Suite 200        409 Silverside Rd 105
Shreveport, LA 71137                    Oklahoma City, OK 73102         Wilmington, DE 19809




Bancorpsouth Inc Trust                  Bandera Minerals Ii LLC         Bandera Minerals LLC
One Mississippi Plaza                   7134 S Yale Ave Ste 510         7134 S Yale Ave Ste 510
201 South Spring Street                 Tulsa, OK 74136-6387            Tulsa, OK 74136
Tupelo, MS 38804-4826




Baney Well Service Inc                  Bango Family Ltd Partnership    Bank Gutman Ag
PO Box 686                              12 Escondite Lane               Schwarzenbergplatz 16
Sterling, CO 80751                      Hot Springs Vill, AR 71909      Vienna 1010
                                                                        Austria




Bank Midwest                            Bank Of Abbeville Trust Co      Bank Of America
Bryant Building Town Pavilion           123 Concord St                  100 Federal Street Ma5 100 11 02
1111 Main St                            Abbeville, LA 70510             Boston, MA 02110
Kansas City, MO 64105




Bank Of America N A Trustee Of          Bank Of America Corporation     Bank Of America Merrill Lynch
The J N Edens Jr And                    7060 Sepulveda Blvd             20 E Greenway Plaza Ste 700
Macie Eden Foundation                   Van Nuys, CA 91405              Houston, TX 77046
PO Box 830308
Dallas, TX 75283



Bank Of America Military Bank           Bank Of America N A             Bank Of American Na Succr
3211 SW Military Dr                     150 N College Street            Trustee Of W D Johnson Jr A
San Antonio, TX 78211                   Nc1 028 17 06                   Attn Stephen Cisneros
                                        Charlotte, NC 28255             PO Box 300
                                                                        San Antonio, TX 78291-0300



Bank Of Commerce                        Bank Of Hawaii                  Bank Of Houston
6055 E Washington Blvd                  111 South King Street           404 S Grand Ave
Commerce, CA 90040                      Honolulu, HI 96813              Houston, MO 65483




Bank Of Marin                           Bank Of Mississippi             Bank Of Montgomery
1450 Grant Avenue                       Attn Control Dept               1000 Caddo St
Novato, CA 94945                        PO Box 789                      Montgomery, LA 71454
                                        Tupelo, MS 38801
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Bank Of Montreal                       Bank Of Montreal                Bank Of Nevada
601 S Figueroa St 1730                 700 Louisiana Street            2700 West Sahara Avenue
Los Angeles, CA 90017                  Houston, TX 77002               Las Vegas, NV 89102




Bank Of New York                       Bank Of Oklahoma                Bank Of Oklahoma
225 Liberty Street                     1 Williams Center               Attn Andrew Parker
New York, NY 10286                     Tulsa, OK 74192                 1 Williams Center
                                                                       Tulsa, OK 74192




Bank of Oklahoma                       Bank Of Oklahoma N A            Bank Of Ringgold
Operations and Technology Center       Lewis Center E 21st St          2369 Mill St
6242 E 41st St FL 2                    Tulsa, OK 74114                 Ringgold, LA 71068
Tulsa, OK 74135




Bank Of Ruston                         Bank Of Stockton                Bank Of Texas
2109 Farmerville Hwy                   301 E Miner Ave                 PO Box 248817
Ruston, LA 71270                       Stockton, CA 95202              Payment Processing Center
                                                                       Oklahoma City, OK 73124-8817




Bank Of Texas Cardmember Services      Bank Of Texas N A               Bank Of Texas Trust Services
PO Box 790408                          Trust Services                  PO Box 1270
St Louis, MO 63179                     Department 1660                 Department 1660
                                       Tulsa, OK 74182                 Tulsa, OK 741011270




Bank Of The West                       Bank Of The Wichitas            Bank One La Na Managed Assets
180 Montgomery Street                  623 E St                        Mail Code Tx1 1315
San Francisco, CA 94104                Snyder, OK 73566                Drawer 99084
                                                                       Fort Worth, TX 76199




Bank Tennessee                         Bankie Rae Hollis Holley        Bankplus
306 West Wall Suite 100                7157 S Adams Cir                202 Jackson Street
Midland, TX 79701                      Centennial, CO 80122-1901       Belzoni, MS 39038




Bankruptcy Administrator               Banks Lucy L                    Banks Interest Trust
Delaware Division Of Revenue           Address Redacted                PO Box 460167
820 N French Street                                                    Houston, TX 77056
8Th Floor
Wilmington, DE 19801



Banks Interests Trust                  Bankston T White                Banner Bank
1177 W Loop South 1825                 516 Mt Calm Rd                  10 S 1st Ave
Houston, TX 77027                      Simsboro, LA 71275              Walla Walla, WA 99362




Banuelos Veronica                      Baptist Foundation Of Texas     Bar Macc Trucking
Address Redacted                       1601 Elm Suite 1700             Billy Norton
                                       Dallas, TX 75201-7241           1001 Timber Grove Road
                                                                       Ardmore, OK 73401
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Bar T Trucking LLC                      Barb Bomersbach                           Barbara A Anderson
PO Box 5991                             3771 Whitehall Dr                         PO Box 115
Bryan, TX 77805                         Dallas, TX 75229-2755                     Gary, TX 75643




Barbara A Bradley                       Barbara A Brightwell Liv Tr               Barbara A Brooks
PO Box 1459                             Barbara A Brightwell And                  PO Box 1205
Woodville, MS 39669                     Donna J Brightwell Ttees                  Kilauea, HI 967541205
                                        1612 Timothy
                                        Henderson, TX 75654



Barbara A Guidry                        Barbara A Harris                          Barbara A Henry
18107 Hollywell                         3130 Camellia Rose Dr                     PO Box 331
Houston, TX 77084                       Unit 413                                  Baraboo, WI 53913
                                        Fort Worth, TX 76116




Barbara A Powell                        Barbara A Rogers                          Barbara A Truelove
12409 Fm 1935                           9440 Kroetz                               PO Box 146
Brenham, TX 77833                       Shreveport, LA 71118                      Marshall, TX 75671




Barbara Alden Taylor                    Barbara Allen Bradshaw                    Barbara Allen Hussey
17 East 89Th St Apt 4E                  464 Cr 2217                               106 Cherry St
New York, NY 10128                      Rusk, TX 75785                            Columbia, LA 71418




Barbara Alston Lowry Estate             Barbara Ann Brightwell                    Barbara Ann Dulany Ottman
Quincy Lowry Beall Executor             4521 Big Sky Dr                           1704 N Cardinal
PO Box 9343                             Plano, TX 75024                           Longview, TX 75601
Mclean, VA 22102




Barbara Ann Gargotta                    Barbara Ann Greger                        Barbara Ann Harwell
Box 1758                                1052 Us Highway 77                        512 Seward Park Ave Ne
Socorro, NM 87801                       Rosebud, TX 76570-3085                    Albuquerque, NM 87123-5434




Barbara Ann Henning                     Barbara Ann Marcum                        Barbara Ann Marshall
2138 Stanley Ave                        PO Box 171                                3480 Carter Dr 103
Fort Worth, TX 761101836                Pauls Valley, OK 73075                    South San Francisco, CA 94080




Barbara Ann Mckee                       Barbara Ann Oney                          Barbara Ann Quail Malone
17325 Country Road 4067                 3118 Fall Crest Drive                     4424 80Th St
Kemp, TX 75143-2784                     San Antonio, TX 78247                     Lubbock, TX 79424




Barbara Ann Rouse                       Barbara Ann Shaw And Kerrie Lee Wallace   Barbara Ann Shinn
263 Lakeshore Drive                     12318 Arcturus                            448 Shinn Rd
Bainbridge, GA 31717                    Willis, TX 77318                          Merryville, LA 70653
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Barbara Ann Woods                        Barbara Anne Terry              Barbara Anne Vance
4420 Beach Ave                           16207 Crystal Creek Ct          33602 Cripple Crrek Drive
Pocatello, ID 83202-2664                 Spring, TX 773797163            Pinehurst, TX 77362




Barbara Arnold                           Barbara B Lipscomb              Barbara B Parker
5220 Seawall Blvd Box 2                  419 Tarbutton Rd                306 Laura Street
Galveston, TX 77551                      Ruston, LA 71270                Mansfield, LA 71052




Barbara B Thomas                         Barbara Belton                  Barbara Bering Dundas
1717 Main Street                         310 Ne St                       6015 Park Circle
Suite 5880                               Jonesboro, LA 71251             Houston, TX 77057
Dallas, TX 75201




Barbara Berryhill                        Barbara Blewett Trust           Barbara Bohannon
354 Emma Loop                            Wilma M Phillips Judith Rae     1099 Cr 3341
Austin, TX 78737-1438                    Jacobs Cruz Trustees            Joaquin, TX 75954
                                         PO Box 4539
                                         Sedona, AZ 86340



Barbara Borders Walker                   Barbara Bouma Harris            Barbara Bowlin C Scott
13002 Hunters Ledge                      1154 Hampton R                  PO Box 270
San Antonio, TX 78230                    Natchitoches, LA 71457          Joaquin, TX 75954




Barbara Bowman Revocab Mgmt Tr           Barbara Brown Munford           Barbara Bruechner
Wells Fargo Bank Sao                     5610 Wisconsin Ave Apt 309      343 Cr 4218
PO Box 41779                             Chevy Chase, MD 20815-4429      Mt Pleasant, TX 75455
Austin, TX 78704




Barbara Burden Anderson                  Barbara C Kearney               Barbara C Swinscoe
c/o Texas State Treasury                 3030 Mckinney Ave Apt 901       441 Sherwood Loop
Unclaimed Property Division              Dallas, TX 75204                Flounce, OR 97439
PO Box 12019
Austin, TX 78711-2019



Barbara C Tune                           Barbara C Wilson                Barbara Cannon Buckner
6335 W Nw Hwy 1014                       3817 Holly Ridge Drive          4016 Lanark Street
Dallas, TX 75225                         Longview, TX 75605              Houston, TX 77025




Barbara Caserta                          Barbara Clark Massey            Barbara Cohen
PO Box 8569                              7607 Woodhaven Street           629 Texas Street
Tyler, TX 757118569                      San Antonio, TX 78209           Corpus Christi, TX 78404




Barbara Courtney Land                    Barbara Courtney Land Sp        Barbara Crabtree
Jack Mccormick Land Hw Cp                1912 Roosevelt Drive            6760 Norman Drive
1912 Roosevelt Drive                     Ruston, LA 71270                Melbourne, FL 32904
Ruston, LA 71270
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Barbara Crawford George                 Barbara Crim                         Barbara D Coleman
822 Bollenbacher Street                 PO Box 2273                          609 Weir Cove Rd
San Diego, CA 92114                     Henderson, TX 75653                  Harborside, ME 04642-3123




Barbara D Currier Indiv As              Barbara D Warren Deceased            Barbara Dale Dowling
Usufructuary                            507 Pine St                          104 Revere Rd
570 Park Avenue                         Center, TX 75935                     West Monroe, LA 71291
New York, NY 10021




Barbara Davis Cooper                    Barbara Deas Reed                    Barbara Diane Thomason
809 North Marshall St                   Bank One Na Agent                    500 June Drive
Henderson, TX 75652                     Drawer 99084                         Fort Worth, TX 76108
                                        Fort Worth, TX 76199




Barbara Dickerson                       Barbara Dingman Trust                Barbara E Beery Steel
407 Cr 3590                             Wells Fargo Bank Sao                 PO Box 217
Joaquin, TX 75954                       PO Box 41779                         Fulshear, TX 77441
                                        Austin, TX 78704




Barbara E Dance                         Barbara E Lekisch                    Barbara E Morgan
PO Box 1833                             PO Box 4006                          1181 Cr 306D
Center, TX 75935                        San Rafael, CA 94913                 Henderson, TX 75654




Barbara Edwards Crawford                Barbara Elaine Collier Life Estate   Barbara Elise Burlaos
3802 Bluff Oak                          PO Box 220                           21710 San Simeon Circle
Nacogdoches, TX 75964                   Grand Saline, TX 75140               Boca Raton, FL 334333378




Barbara Elizabeth Beery Steel           Barbara Elizabeth Faires             Barbara Ellen Warren Dance
PO Box 217                              668 Wilson Road                      PO Box 1833
Fulshear, TX 77441                      Red Rock, TX 786624567               Center, TX 75935




Barbara F Covington                     Barbara Florey White                 Barbara Foree Oil Trust
200 Bryn Mawr Blvd Nw                   848 H Darling Avenue                 PO Box 838
Mary Esther, FL 32569                   Fremont, MI 49412                    Terrell, TX 75160




Barbara Foree Wallace Trust             Barbara Fowler                       Barbara Franklin
PO Box 838                              21078 Hwy 38                         9400 N Central Expressway
Terrell, TX 75160                       Kentwood, LA 70444                   Suite 307
                                                                             Dallas, TX 75231




Barbara Fuller                          Barbara Fullilove Bush               Barbara Futch
400 Bridge St Suite 2                   7 Place Lafitte                      330 Johnson Drive
Red Oak, IA 51566                       Madisonville, LA 70447               Elm Grove, LA 71051
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Barbara G Baucum                         Barbara Gipson                  Barbara Glover Baucum Tr
328 Country Place                        8166 Visalia Way                328 Country Place
Longview, TX 75605                       Sacramento, CA 95828            Longview, TX 75605




Barbara Gordon Mcneill                   Barbara H Elder                 Barbara H Mason
PO Box 12659                             1087 Golden Pond Cir            111 Bell St
Beaumont, TX 77726                       Coldwater, MS 38618             Hallsville, TX 75650




Barbara H Sabin                          Barbara Hampton Gibson          Barbara Haralson
187 Kimberly Dr                          310 Lago Grande Trail           Address Redacted
Mandeville, LA 70448                     Wylie, TX 75098




Barbara Hardin Moore                     Barbara Harper Richardson       Barbara Henderson
501 North Costilow Street                740 Oak Grove Rd                119 Lakeview
Broken Bow, OK 74728                     Gibsland, LA 71028-4500         Levelland, TX 79336




Barbara Hernandez                        Barbara Hilton                  Barbara Hinkle Abney
PO Box 82                                177 Ridgewood                   1362 Trailwood Village Dr
Smyer, TX 79367                          Bridge City, TX 77611           Kingwood, TX 77339




Barbara Holloway Goodwyn                 Barbara Holloway Hanson         Barbara Hundley Sims
6710 Greentree Rd                        PO Box 83                       121 Whitney Dr
Bethesda, MD 20817                       Springhill, LA 71075            Hickory Creek, TX 75065




Barbara J Barton                         Barbara J Beasley               Barbara J Byrne
933 Fm 348 S                             105 Dover Ct                    13607 Soft Breeze Ct
Henderson, TX 75654-7738                 Bossier City, LA 71111-6002     Oak Hill, VA 20171




Barbara J Crawford                       Barbara J Gamble                Barbara J Hirsch
15 Rose Crest                            5780 Highway 3015               20807 W Eastview Way
Lexington, VA 24450                      Grand Cane, LA 71032-5822       Buckeye, AZ 85396




Barbara J Humphreys                      Barbara J Johnson               Barbara J Kelley
37 Settlers Landing                      111 Grace Lane                  15118 W Horseman Ln
Westerly, RI 02891                       Ruston, LA 71270                Sun City West, AZ 65072




Barbara J Kieschnick                     Barbara J Peacock               Barbara J Pendergraft
316 Magona Trl                           446 Pamela Street               941 Gause Ln
Georgetown, TX 78628-7238                Mineola, TX 75773               Dallas, TX 75217
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Barbara J Pugh                            Barbara J Richard               Barbara J Rosenblum
c/o Mike Pugh Executor                    1320 San Rafael Dr              290 Rosegarden Dr
24 Akridge Dr                             Petaluma, CA 94954              Warren, OH 44484
Huntsville, TX 77320




Barbara J Torbor                          Barbara J Turner                Barbara J Williams
217 Mockingbird Ln                        283 Heron Drive                 PO Box 1073
Grambling, LA 71245                       Pittsburg, CA 94565             W Monroe, LA 71294




Barbara J Young Trust                     Barbara Jackson                 Barbara Jane Harvey Trust
Barbara J Young Trustee                   PO Box 2163                     S Secker/ No 8336893400
11 Cottonwood Dr                          Center, TX 75935                Drawer 99084
Colby, KS 67701                                                           Fort Worth, TX 76199




Barbara Jean Aulds Gates                  Barbara Jean Bass Williams      Barbara Jean Brown
3404 Palmdale Place                       4845 Dixie Shreveport Road      PO Box 79694
Bossier City, LA 71112                    Shreveport, LA 71107            Houston, TX 77279-9694




Barbara Jean Duwel                        Barbara Jean Ellis Christian    Barbara Jean Hattaway Morrow
31161 S 4480 Rd                           907 6Th St Sw                   8005 Hico St
Vinita, OK 74301                          Pipestone, MN 56164             Dubach, LA 71235




Barbara Jean L Bankston                   Barbara Jean Nolan Moon         Barbara Jean Thompson
59 Elysian Fields Drive                   16568 Highway 151               3223 Preston Dr
Oakland, CA 94605                         Arcadia, LA 71001               Midland, TX 79707




Barbara Jeanne Brin                       Barbara Johns Zito              Barbara Jordan Meyers
8600 Thackery St Apt 3406                 7026 Eslerfield Road            2707 Greenlee Dr
Dallas, TX 752253950                      Pineville, LA 71360             Austin, TX 78703




Barbara Joyce Crawford Powell             Barbara Joyce Roberts Carlton   Barbara June Magruder Tr
1355 1/4 E 51st St                        115 Kincaid Lane                Elaine Magruder Kay M Stevens
Los Angeles, CA 90011                     Boyce, LA 71409                 Fran M Sherpa Co Ttees
                                                                          PO Box 11226
                                                                          Midland, TX 79702



Barbara K Collins                         Barbara Karafin Custodian       Barbara Kay Mcgowen Farries
507 Mission Arch Dr                       For Beth Karafin Under Pa       2529 East Lakeshore
Roswell, NM 88201                         Custodian MinorS Act            Baton Rouge, LA 70808
                                          227 S 6Th Street 5Sw
                                          Philadelphia, PA 19106



Barbara Keith                             Barbara Kelly Sterns            Barbara Kilpatrick Ray
2131 Longleaf Circle                      605 Markus Ave                  Trustee Of Tommy A Barbara
Lakeland, FL 33810                        Lufkin, TX 75904                J Ray Rev Trust
                                                                          PO Box 293
                                                                          Terry, MS 39170
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Barbara Kuykendall                        Barbara L Holcombe Dickerson            Barbara Lang Trust
Rt 1 Box 227A                             Mike Dickerson                          Barbara Lang Trustee
Carnegie, OK 73015                        407 Cr 3590                             45 Broad River Rd
                                          Joaquin, TX 75954                       Ormond Beach, FL 32174




Barbara Latimer Sp                        Barbara Lavon Becker                    Barbara Lay
2366 County Road 3173                     2102 Neely Ave                          1915 Chestnut St
Joaquin, TX 75954                         Midland, TX 79705                       Arcadia, LA 71001




Barbara Lee Davidson                      Barbara Lee Lantz                       Barbara Lee Stuckey
727 E Adams                               9808 Ravenswood Road                    263 Aldine
Orange, CA 92667                          Granbury, TX 76049                      Livingston, TX 77351




Barbara Lester Berry                      Barbara Lewis                           Barbara Lewis Daughtry
6110 Andwood                              204 N Oak Trl                           125 Golf Drive
Houston, TX 77087                         White Oak, TX 75693-2606                Fayetteville, NC 28314




Barbara Lewis Gadd                        Barbara Littierre                       Barbara Littleton
224 Wooten Drive                          5140 Circle Ridge Drive                 999 Walnut Lane
Walnut Creek, CA 94596                    Fort Worth, TX 76114                    Downsville, LA 71234




Barbara Lowrey Dowling                    Barbara Lucky Shannon Decedents Trust   Barbara Lynn Gardner Et Al
PO Box 2761                               James L Shannon Trustee                 297 Tobin Road
Monroe, LA 71207                          11011 Huntwyck Dr                       Castor, LA 71016
                                          Houston, TX 77024




Barbara M Good                            Barbara M Paxton                        Barbara Marie Nero
172 Fairway Dr Apt 5                      PO Box 192685                           825 Priscilla Ln
Aberdeen, WA 98520                        Dallas, TX 75219                        Desoto, TX 75115-1401




Barbara Markey Crim                       Barbara Markey Crim Trustee             Barbara Martin Booth
PO Box 2273                               Norma Marie Markey Testtr               14614 Highway 151
Henderson, TX 75653                       PO Box 2273                             Arcadia, LA 71001
                                          Henderson, TX 75653




Barbara Mcfarlin                          Barbara Mcgarity                        Barbara Mckinley Haynes
2875 W 19th St                            1526 Mount Willie Road                  14665 Preston Rd Apt 146
Chicago, IL 60623                         Junction City, AR 71749                 Dallas, TX 75254-7881




Barbara Nan Smythe                        Barbara Nichols Walton                  Barbara OBrien Burke
4300 W Drien Lake Road                    145 County Road 3129                    PO Box 6167
Lake Charles, LA 70605                    Center, TX 75935-7317                   Shreveport, LA 71136-6167
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Barbara P Russell Agency                 Barbara Palmer                  Barbara Paxton Family Partnership Ltd
Bak Of America N A Agent                 436 Cr 698 D                    PO Box 192685
PO Box 840738                            Angleton, TX 77515              Dallas, TX 75219
Dallas, TX 75284-0738




Barbara Pearce Williams                  Barbara Pollard Carter          Barbara Porter
PO Box 369                               162 Ricketts                    3030 George Richey
Oakdale, CA 95361                        Rusk, TX 75785                  Gladewater, TX 75647




Barbara Present                          Barbara R Edwards               Barbara R Young
45 E 89Th Street Apt 7B                  1950 Standford Dr               PO Box 61087
New York, NY 10128-1251                  Anchorage, AK 99508             San Angelo, TX 76906




Barbara Richardson                       Barbara Roberson Gombossy       Barbara Rose Saber Harvis
3935 Manzanita Drive                     722 Lakeshore Drive             929 Alice Ln Apt B
San Diego, CA 92105                      Monroe, LA 71203                Menlo Park, CA 94025




Barbara Ross Bounds                      Barbara Rudd Spencer            Barbara S Ellis Sep Prop
3001 Brookview Dr                        801 Xit Drive                   331 Hobson Avenue
Plano, TX 75074                          Littlefield, TX 79339           Dallas, TX 75224




Barbara S Harding                        Barbara S Kelton                Barbara S Patton
PO Box 1353                              PO Box 13                       220 Burrows St
Center, TX 75935                         Farmersville, TX 75442          Nacogdoches, TX 75965




Barbara Smith                            Barbara Sprunt Texas Trust      Barbara Sue Fite
PO Box 2741                              3753 Oakhurst Way               PO Box 562
Wimberley, TX 78676-7641                 Dublin, CA 94568                Tatum, TX 75691-0562




Barbara Sue Hobbs                        Barbara Sulser                  Barbara Sumlin Sanderson
914 Hwy 259 S                            201 Senter Ave                  302 N Elm St
Daingerfield, TX 75638                   Whitehouse, TX 75791            Dexter, MO 63841-1773




Barbara Swanner                          Barbara Taylor Camp             Barbara Taylor Shults
2630 Donald Drive                        909 Cline St                    11 Glenridge Road
Baton Rouge, LA 70809                    Minden, LA 71055                Little Rock, AR 72227




Barbara Tenery Revocable                 Barbara Trost Swink             Barbara Turner Benson
Trust Dated 11/18/1998                   c/o Office Of Texas State       PO Box 595
7222 Lane Park Drive                     Unclaimed Property Division     Wolfforth, TX 79382
Dallas, TX 75225                         PO Box 12608 Capitol Station
                                         Austin, TX 78711
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Barbara V Appleby                         Barbara Vaughan Redstone              Barbara Yoakley
207 Watts Street                          c/o Argent Trust Co Of La             3007 S 28Th Place Apt 3
Durham, NC 277012036                      PO Box 1410                           Rogers, AR 72758
                                          Ruston, LA 71273




Barber Exploration                        Barberio Limited Partnership          Barbie Smith
8774 South Richmond                       c/o Joseph E Barberio                 162 Collie Road
Tulsa, OK 74137                           PO Box 1349                           Calhoun, LA 71225
                                          Boerne, TX 78006




Barbra Barmore                            Barclay Living Trust Dated 11 11 92   Barclays
441 Highway 545                           Tony H Barclay Sandra Jo              5 The North Colonnade
Dubach, LA 71235                          Barclay Trustees                      Canary Wharf
                                          2185 Valhalla Dr                      London E14 4BB
                                          Frisco, TX 75034                      United Kingdom



Barclays Plc                              Barefoot Minerals                     Bari Lynn Teagle Kennington
1 Churchill Pl                            PO Box 141638                         5667 Hwy 544
Canary Wharf London                       Austin, TX 78714                      Simsboro, LA 71275
United Kingdom




Barker Carl Bryant                        Barker Family Property LLC            Barker Joanna Lou
10690 Woodcrest                           James H Barker Mbr                    4899 Country Club Road East
Little Elm, TX 75068                      9761 Spring Hill Pl                   Longview, TX 75602
                                          Highlands Ranch, CO 80129




Barksdale Bradford Prop LLC               Barksdale Crenshaw                    Barksdale Federal Credit Union
9448 Cove Meadow Drive                    PO Box 169                            Twining Drive
Dallas, TX 75238                          Center, TX 75935                      PO Box 9
                                                                                Barskdale AFB, LA 71110




Barlow Haun Inc                           Barnell Ruth Edwards                  Barnett Company Inc
420 W 12Th St                             5 Westridge Pl                        30212 Tomas 200
Casper, WY 82601                          Rome, GA 30165                        Rancho Santa Margarita, CA 92688




Barnette Benefield Inc                    Barney E Perkins                      Barney Hugh Clemens
PO Box 550                                701 W Garfield Street                 5541 Bent Tree Drive
Haynesville, LA 71038                     Apt B                                 Shreveport, LA 71115
                                          Nevada, MO 64772




Barney L Payton Harriet Payton            Barnhart Crane Rigging                Barnhart Crane Rigging Co Inc
1403 Mesa St                              PO Box 2153                           Jean Minton
Ruston, LA 71270                          Dept 1906                             190 Smith Street
                                          Birmingham, AL 35287-1906             West Monroe, LA 71292




Baron Richard Augustine                   Barr 4P Trucking                      Barr Management Ltd
527 Leigh Avenue                          11174 Cr 1617                         Attn Zoe Smith
San Jose, CA 95128                        Avinger, TX 75630                     6408 N Western Ave
                                                                                Chicago, IL 60645
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Barrett Andrew Nobile                    Barrett Bloomer Dba Sphinx Services   Barrilleaux Inc
75 Melrose Montebello Pkwy               12380 W Love Dr                       PO Box 128
Natchez, MS 39121                        Odessa, TX 79764                      Oakwood, TX 75855




Barron Ulmer Kidd                        Barrow Energy Corporation             Barry A Rhodes Remainderman
3838 Oak Lawn Ave Suite 725              Dba American Royalty Fund P O         6060 Village Bend Dr 1611
Dallas, TX 75219                         Box 2588                              Dallas, TX 75206
                                         Longview, TX 75606




Barry Anthony Gardebled                  Barry B Gipson                        Barry Coates Roberts Trust
Barbara Harrison                         c/o Carl E Gipson                     Barry Coates Roberts
655 Landing Dr                           149 Maria Ave                         George L Stieren Co Trustees
Aiken, SC 29801                          Grambling, LA 71245                   7373 Broadway Ste 406
                                                                               San Antonio, TX 78209



Barry Douglas Ratley                     Barry Dwain Marshall                  Barry E And Marrion G Evans
626 Fawn Hollow                          1729 Cr 106                           PO Box 207
Dakota Dunes, SD 57049                   Carthage, TX 75633                    Bassano Ab Toj Obo




Barry Eugene Redmond                     Barry F Cohen                         Barry G Allen
774 Mystic Shores Blvd                   c/o Bruck                             8701 Nottingham Parkway
Spring Branch, TX 78070                  7105 Nw 77Th St                       Louisville, KY 40222
                                         Tamarac, FL 33321




Barry G Ogletree                         Barry Joseph Morales                  Barry Konstantin Purcell
205 Crown Colony Drive                   1415 West Kentucky Ave                PO Box 255
Lufkin, TX 75901                         Ruston, LA 71270                      Bethany, LA 71007-0255




Barry L Galloway                         Barry L Snyder                        Barry L Wright
1350 El Rancho Dr                        Aeon Energy                           PO Box 396
Tehachapi, CA 935612422                  2600 South Lewis Way 102              Smackover, AR 71762
                                         Lakewood, CO 80227




Barry Langford                           Barry M Leese                         Barry Mccauley Nally
1913 Woodcrest                           21412 Ridgecroft Dr                   12106 Obispo Rd
Deer Park, TX 77536                      Brookeville, MD 208331817             San Diego, CA 92128




Barry N Hollis                           Barry P Nichols                       Barry P Nichols Jr
1393 Hidden Springs Rd                   126 Quaboag Street                    39 Broad St
Decatur, TX 76234-4693                   Warren, MA 01083                      Gilbertville, MA 01037




Barry Poole Oilfield Service             Barry R Simpson                       Barry Reginald Canterbury And
2481 Peach Rd                            2241 Pine St                          Donne Lynn Odom Canterbury
Gilmer, TX 75644                         Arcadia, LA 71001                     994 Walnut Creek Road
                                                                               Simsboro, LA 71275
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Barry Shapiro                            Barry W Heaton                      Barry W Underwood
2124 Derby Street                        115 Calle Catalina Pl               3401 Se 20Th St
Camarillo, CA 93010                      Houston, TX 77007-1151              Des Moines, IA 50320-1913




Barry Wade Mitchell                      Barry Wayne Henry                   Barry Wilson
132 Greenfield Cir                       2126 Fm 1840                        2210 Tiffany Circle
West Monroe, LA 71291                    New Boston, TX 75570                Garland, TX 75043




Barshop GrandchildrenS Tr1968            Bart B Benavides                    Bartlett Construction
10001 Reunion Pl Ste 230                 24301 Southland Drive Suite 212 B   PO Box 2665
San Antonio, TX 78216-4105               Hayward, CA 94545                   Midland, TX 79702




Bartlett Oilfield Services               Bartlett Oilfield Services          Barton Frye
1300 Antelope Dr                         PO Box 43                           8303 Sage Hill Road
Bairoil, WY 82322                        Bairoil, WY 82322                   St Francisville, LA 70775




Barton M Johnson                         Barton Matheson Jr                  Barton Oil And Gas Services
720 S Colorado Blvd Ste 462 S            PO Box 62                           PO Box 543
Denver, CO 80246                         Hartwood, VA 22471                  Troup, TX 75789




Basa Resources Inc                       Baseline Energy Services Lp         Bashie Burnside Meyer
14875 Landmark Blvd                      Graham Radler                       5616 Elgin St
Fourth Floor                             PO Box 470929                       Pittsburgh, PA 15206-1514
Dallas, TX 75254                         Ft Worth, TX 76147




Basic Energy Services L P                Basic Energy Services LP            Basic General Construction Inc
Mark Rankin                              PO Box 841903                       PO Box 775
801 Cherry Street Suite 2100             Dallas, TX 75284-1903               Challis, ID 83226-0775
Ft Worth, TX 76102




Basic Oil Company                        Basil J Paparone                    Basil J Paparone
2010 North Loop West Ste 103             1 N Jackson Ave                     804 N Harvard Ave
Houston, TX 77018                        Atlantic City, NJ 08401-3325        Ventnor, NJ 08406




Basil L Hoyl Jr                          Basil Oilfield Service Inc          Basin Acquisition Fund Lp
1426 Hillendahl                          PO Box 93                           1320 South University Dr
Houston, TX 77055                        Saratoga, TX 77585-0093             Ste 400
                                                                             Fort Worth, TX 76107




Basin Co Investment Ii Lp                Basin Disposal Inc                  Basin Electric Co
1320 South University Dr                 PO Box 100                          PO Box 963
Ste 400                                  Aztec, NM 87410                     Midland, TX 79702
Fort Worth, TX 76107
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Basin Gas Inc                            Basin Machine Mfg Co Inc                  Basin Management Inc
Acquistions                              501 Hillcrest                             PO Box 2037
107 Sunbird Lane                         Odessa, TX 79761                          Oklahoma City, OK 73101
Sunnyvale, TX 75182




Basin Oil Tools                          Basin Project Inc                         Basin Testers Inc
Attn Diane Walker                        PO Box 1694                               PO Box 70090
1001 Ese Loop 323 Ste 300                Shreveport, LA 71165                      Odessa, TX 79769
Tyler, TX 75701




Basin Tool Company                       Bass Engineering Company                  Bass Fishing Rentals LLC
PO Box 201643                            Jonna Robison                             Po Box 731806
Dallas, TX 75320-0164                    PO Box 5609                               Dallas, TX 75373-1806
                                         Longview, TX 75608




Bass Safety Inc                          Bassler Base Services Inc                 Bassler Energy Services
PO Box 314                               PO Box 670523                             Sh 21 West
Chandler, TX 75768                       Dallas, TX 75267-0523                     PO Box 33
                                                                                   Deanville, TX 77852




Bath Oil Company LLC                     Battered Womens Shelter Of Bexar County   Bauchman Investment Partnershi
PO Box 110                               7911 Broadway St                          c/o John R Hannah Co Llp
Tucson, AZ 85702                         San Antonio, TX 78209                     800 Navarro Suite 210
                                                                                   San Antonio, TX 78205




Baxsto LLC                               Baxter Hot Oil Service Inc                Bay Harbor Transport
Ashley Stout President                   216 Big Baxter Road                       PO Box 928
PO Box 302857                            Springhill, LA 71075                      Harbor City, CA 90710
Austin, TX 78703




Bay View Funding                         Bayard D Rea Elizabeth Rea                Bayard Walker Oil Tr
PO Box 881774                            139 W 2 St 3C                             J Thieke Or D Crockett Jr Co Ttes
San Francisco, CA 94188-1774             Casper, WY 82601                          12377 Merit Dr Ste 777
                                                                                   Dallas, TX 75251




Bayless Warren Kizine                    Bayliss Holdings LLC                      Baylor College Of Medicine
3339 Bales                               PO Box 351                                c/o Jpmorgan Chase Bank
Kansas City, MO 64128                    Fort Worth, TX 76101                      PO Box 99084
                                                                                   Fort Worth, TX 76199




Baylor County Appraisal District         Baylor University                         Baylor University Medical Center Of
211 N Washinton                          c/o Wells Fargo Bank Na                   Dallas Baptist Fndtn Of Tx Dba
Seymour, TX 76380                        PO Box 41779                              Highgroundadvisors Aif
                                         Austin, TX 78704                          1601 Elm St Ste 1700
                                                                                   Dallas, TX 75201



Bayou Bleu Farms Lp                      Bayou Oilfield Serv Supply                Bayou State Minerals LLC
Davis Walker General Partner             Dept 2144                                 129 Carroll St
13935 Hwy 87 South                       Tulsa, OK 74182                           Shreveport, LA 71105
Shelbyville, TX 75973
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Bayou Swabbing LLC                      Bayou Swabbing LLC             Bayou Trust
Sarah James                             639 Park Rd                    810 Voss Rd
8001 Spring St                          Frierson, LA 71027             Houston, TX 77024-3005
Shreveport, LA 71101




Bayou Well Services                     Bayside Computer Systems Inc   Bayswater Exploration Production LLC
800 Gessner                             4925 Greenville Avenue         730 17Th St
Suite 1000                              Suite 1151                     Suite 600
Houston, TX 77024                       Dallas, TX 75206               Denver, CO 80202




Bb Chemicals Inc                        BB Glass Mirror                BB Hot Oil Services Inc
PO Box 69337                            1985 State Hwy 149             226 Sandalwood
Odessa, TX 79769                        Carthage, TX 75633             Levelland, TX 79336




BB Hot Shot And Oilfield Svcs           Bb T                           Bbc International Inc
PO Box 260146                           21550 Oxnard St                World Wide Envronmental Specialist
Corpus Christi, TX 78426-0146           Woodland Hills, CA 91367       PO Box 805
                                                                       Hobbs, NM 88241




Bbe Holdings LLC                        Bbf Fisher Trust               Bbff LLC
Dept 999198                             Leon C Fisher Jr Trustee       3601 Johnny Cake Lane
PO Box 173306                           10011 Cedar Creek Drive        Charlotte, NC 28226
Denver, CO 80217-3306                   Houston, TX 77042




Bbva Compass Bank                       Bbx Operating LLC              Bc Excavating
15 South 20th Street                    3698 Ranch Road 620            PO Box 84
Birmingham, AL 35233                    Suite 113                      Parachute, CO 81635
                                        Austin, TX 78738




Bc Operating Inc                        Bcc Inc                        Bcd Wellhead Services Inc
303 Veterans Airpark Ln                 PO Box 53427                   PO Box 3669
Suite 6101                              Lubbock, TX 79453              Alice, TX 78333
Midland, TX 79705




Bcf Holdings Inc                        Bcs Fluids LLC                 Bcu
3300 South Broadway                     PO Box 1120                    4501 Colorado Blvd
Tyler, TX 75701                         Mandeville, LA 70470-1120      Los Angeles, CA 90039




Bcx LLC                                 BD Electric Inc                BD Flowback
440 Debroeck Road                       Michelle Mcmurrough            PO Box 9056
Shreveport, LA 71106                    PO Box 493                     Houma, LA 70361
                                        Stamps, AR 71860




Bdcd Inc                                Bea Carter                     Bea Logistics Services LLC
1133 North 2nd                          103 Staples Dr                 Carl Starr
Suite 202                               Baytown, TX 77523              PO Box 784
Abilene, TX 79601                                                      Bridgeport, WV 26330
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Bea Logistics Services LLC                Beabe Akpojovwo                            Beachum Consulting LLC
88269 Expedite Way                        2031 South Dearborn Street                 Paul Beachum
Chicago, IL 60695-0001                    Seattle, WA 98144                          294 Westmont Lane
                                                                                     Charleston, WV 25320




Beacon Aviation Inc                       Beacon Energy Services Inc                 Beacon Exploration Company
194 Cr 2950                               2685 Temple Ave                            3636 N Cswy Ste 210
Alba, TX 75410                            Sugar Hill, CA 90755                       Metairie, LA 70002




Beacon Oil Refining Co American Libe      Bear Creek Congregational Methodist Chrc   Bear Creek Energy LLC
3001 Marshall Ave                         1676 Mt Olive Rd                           PO Box 1450
Tacoma, WA 98421                          Quitman, LA 71268                          Bemidji, MN 56619-1450




Bear Creek Engineering Inc                Bear Creek Services LLC                    Bearing Service Supply
PO Box 6150                               PO Box 6687                                PO Box 7497
Shreveport, LA 71136                      Shreveport, LA 71136                       Shreveport, LA 711377497




Beatrice Adams Sanders                    Beatrice C Wilkins                         Beatrice Jackson
118 Pine Hill Circle                      2722 Peery Ave                             1500 Dixon Street
Mansfield, LA 71052                       Kansas City, MO 64127                      Des Moines, IA 503162628




Beatrice M Davis Page                     Beatrice Mauritzen Wiggins                 Beatrice Mcgee Black
3925 Us Highway 259 North                 c/o Jeannette Murphy                       PO Box 210
Henderson, TX 75652                       Route 2 Box 49                             Joaquin, TX 75954-0210
                                          New Summerfield, TX 75780




Beatrice Ray Fex                          Beatrice S Kilcoin Estate                  Beatrice S Wills Sep Prop
5092 Langston Court                       1206 Derbyshire Ln                         417 Heard Road
Virginia Beach, VA 23464                  Carrollton, TX 75007                       Ruston, LA 71270




Beatrice Talbert                          Beatrice Taylor English Living Trust       Beatty Wozniak Pc
General Dilivery                          c/o Sharon English Kline                   216 16Th St Ste 1100
Grygla, MN 56727                          PO Box 12223                               Denver, CO 80202-5115
                                          Dallas, TX 75225




Beaty Pamela J                            Beaty Ronald E                             Beaudry Petroleum Tr
1032 East Hastain Place                   19302 Allview Lane                         G Ward Beaudry Ttee
Sapulpa, OK 74066                         Houston, TX 77094                          1601 Elm St Ste 4200
                                                                                     Dallas, TX 75254




Bebe Beasley                              Beck Marital Irrevocable Trust             Beck Trucking LLC
101 Settlers Court                        1607 Calle Miradero                        PO Box 1198
Palestine, TX 75801                       San Dimas, CA 91773                        Elk City, OK 73648
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Beck Valta G                             Beckham Farm Trust                  Beckie Wilson
PO Box 411                               Elizabeth Ann Beckham Hurst         106 Swanson Ln
Carthage, TX 75633                       Lloyd Janet Beckham Co Ttees        New Boston, TX 75570
                                         4908 East Main Street
                                         Nacogdoches, TX 75961



Beckman Family LLC                       Beckville Isd                       Beckville Isd
Deborah S Beckman Cockrell Mgr           4398 SH 149                         Tax Assessor Collector
727 Robinson Place                       Beckville, TX 75631                 Charmaine A Chappell Rta
Shreveport, LA 71104                                                         PO Box 37
                                                                             Beckville, TX 75631



Becky A Maris                            Becky A Thurlkill                   Becky Hall Palmer
PO Box 715                               PO Box 13272                        Po Drawer M
Magnolia, TX 77353                       Ruston, LA 71273                    Marshall, TX 75671




Becky Hood Spillman                      Becky Lynn Reel Thomas              Becky Lynn Simmons
PO Box 1235                              563 Plum Creek                      7948 Wrenwood Blvd Apt B
Ruston, LA 71273                         Longview, TX 75605                  Baton Rouge, LA 70809




Becky Shoults Bibb                       Becu                                Bedford Partnership
609 P R 4320                             PO Box 97050                        c/o Jeffery J Tempas
Marshall, TX 75670                       Seattle, WA 98124-9750              5951 S Middlefield Rd Ste 105
                                                                             Littleton, CO 80123




Bedford S Wynne Jr                       Bedford Sabine Lc                   Bednar Family Lp
7650 Esters Blvd                         PO Box 543                          PO Box 671188
Irving, TX 750634002                     Longview, TX 75606-0543             Dallas, TX 75270




Bedrock Petroleum Consultants LLC        Bedrock Petroleum Consultants LLC   Bee County Clerk
Jay Falcon                               PO Box 53091                        105 West Corpus Christi
201 Rue Iberville Suite 600              Lafayette, LA 70505                 Room 108
Lafayette, LA 70508                                                          Beeville, TX 78102




Bee Mineral Trust                        Beecher Carlson/ Master Trust       Beerbower Carole
Bee Evans Trustee                        PO Box 933216                       2 Lazy Wood Lane
116 St Andrews Circle                    Atlanta, GA 31193-3216              Houston, TX 77024
Hideaway, TX 75771-5056




Beersheba Irene Oconnell                 Begonia Prada De Portugal           Beja Embry Foky
2019 Polo Court                          600 Prada Machin Drive              PO Box 331
Riverside, CA 92506                      Laredo, TX 78046                    Divide, CO 80814




Belco Petroleum Corp                     Belden Blaine LLP                   Belenda Hodge
c/o Westport Oil Gas Lp                  5016 California Ave Suite 3         461 Cr 222
1999 Broadway Ste 3700                   Bakersfield, CA 93309               Carthage, TX 75633
Denver, CO 80202
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Belester Dennis Beasley                  Belew Aubrey                   Belinda C Collier
6431 North Holly Street                  406 E Washington St            5913 Nw 159Th St
Kansas City, MO 64118                    Rockwall, TX 75087             Edmond, OK 73013




Belinda Davis Franks                     Belinda Gray                   Belinda Harvey
235 Grumont Rd                           2646 Highway 828               2255 Braeswood Park Dr
Oroville, CA 95966                       Farmerville, LA 71241          Unit 291
                                                                        Houston, TX 77030




Belinda J Houston                        Belinda Jane Davis             Belinda Murphy
9752 Faircloud Drive                     7905 W Duncan Road             1255 W Pleasant Run Rd Apt 276
Dallas, TX 75217                         Indian Trail, NC 28079         Lancaster, TX 75146-1372




Belinda R Mahon                          Belinda Solomon                Belinda Sue Nichols
315 West Lee Stree                       26890 Merlot River Drive       Box 266794
Pensacola, FL 32501                      Kingwood, TX 77339             Houston, TX 77207




Belinda Swanner                          Belinda Tobin                  Belinda Tompkins Wilson
1905 Hwy 505                             PO Box 56661                   823 W Holland Street
Jonesboro, LA 71251                      Phoenix, AZ 85079              Carthage, TX 75633




Bell Degravelle ORoark                   Bell Gas Inc                   Bell Jr Chesley A
648 Sunset Blvd                          Box 685                        2720 Cordova Circle
Baton Rouge, LA 70808                    Artesia, NM 88210              Denton, TX 76209




Bell Supply Co LLC                       Bell Supply Company            Bell Supply Company LLC
PO Box 842263                            PO Box 1299                    Garrett Smith
Dallas, TX 75284                         Gainesville, TX 762411299      PO Box 1597
                                                                        Gainesville, TX 76227




Bell Tubular Products                    Bell Wilfred C                 Bella Fleur
11700 Katy Frwy Suite 300                3712 106Th Street              3008 Gilmer Rd 103
Houston, TX 77079                        Lubbock, TX 79423              Longview, TX 75604




Bellco Credit Union                      Belle Smart LLC                Bellevue Timberlands LLC
7600 E Orchard Rd 400N                   721 Linwood Ave                Represented By Lynn Beaty
Greenwood Village, CO 80111              Stonewall, LA 71078-9161       PO Box 660
                                                                        Haughton, LA 71037




Bellwether Investment Group LLC          Belmar Engineering             Belva S Jackson
Liberty Tower                            25500 Hawthorne Blvd           11381 Rd 781
605 Chestnut St 1210                     Suite 2155                     Philadelphia, MS 39350
Chattanooga, TN 37450                    Torrance, CA 90505
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Belvan Properties Lp                    Belvin Snoddy And Shirley Snoddy   Ben A Tina H Mccarthy
211 North Colorado                      1128 Sophia St                     11611 Oak Shadows Lane
Midland, TX 79701                       Allen, TX 75013-4928               Houston, TX 77024




Ben Alexander Agency                    Ben Anglin                         Ben B Bryan And His Unknown Heirs
c/o American State Bank Trust           1309 Houston St                    Dexter A Jones Receiver
Dept PO Box 1401                        Sulphur Springs, TX 75482          c/o Shelby County
Lubbock, TX 79408                                                          PO Box 1953
                                                                           Center, TX 75935



Ben Beguin                              Ben Boyce                          Ben Chester Stacy
14321 N Northsight Blvd                 1825 E Fm 1717                     369 Pinewood Road
Scottsdale, AZ 85260                    Kingsville, TX 78363               Hallsville, TX 756505062




Ben Christmas Catering                  Ben Condray                        Ben Crane Enterprises LLC
320 Hodges Road                         513 S Old Betsy Rd Apt 109         PO Box 1732
Ruston, LA 71270                        Keene, TX 76059                    Laredo, TX 78044




Ben D Hooker                            Ben David Lancaster                Ben Dick Hooker Carolyn Hooker
2440 County Road 4620                   PO Box 1622                        2440 Cr 4620
Tenaha, TX 75974                        Breckenridge, TX 76424             Tenaha, TX 75974




Ben E Dowell                            Ben E Green                        Ben E Jarvis
11736 Woodland Hills Trail              697 Bolinger Cutoff Rd             326 S Fannin
Austin, TX 78732                        Plain Dealing, LA 71064            Tyler, TX 75702




Ben E Sutton                            Ben E Sutton Jr                    Ben F Baldwin
PO Box 521                              PO Box 521                         4116 Inwood Dr
Tyler, TX 75710                         Tyler, TX 75710                    Fort Worth, TX 76109




Ben F Sims Jr                           Ben F Weems                        Ben F Weems Trust
2316 Bonar                              PO Box 188                         Mineral Management
Berkely, CA 94702                       Lafayette, CO 80026                PO Box 201884
                                                                           Houston, TX 77216




Ben Garrison Management Trust           Ben Goodwin                        Ben Gray Gilbert
Dated 1/07/2009                         2900 Pecan Dr                      108 Chautauqua Park
Carl Benton Garrison Trustee            Tyler, TX 75701                    Boulder, CO 80302
4305 Macarthur Avenue
Dallas, TX 75209



Ben H Harper                            Ben J Fortson Iii Childrens Tr     Ben Jerome Pawelek
4200 Old Omen Road                      Ben J Fortson Iii Ttee             13195 Fm 81
Tyler, TX 75707                         PO Box 29                          Karnes City, TX 78118
                                        Fort Worth, TX 76101
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Ben Lewis                                 Ben Lindsey                      Ben Louis Westerburg
107 W Shore Drive Suite 535               Address Redacted                 145 E Woodhaven
Richardson, TX 75080                                                       Ruston, LA 71270




Ben M Mckinney Nancy F Mckinney           Ben Maines                       Ben Morris Burkett
Revocable Trust                           5100 Northcrest Chase            Jeannine D Burkett Poa
Bank Of Texas                             Longview, TX 75605-5198          2695 Call St
307 W Washington                                                           Vidor, TX 77662-2647
Sherman, TX 75090



Ben Morriss Burkett                       Ben Ogletree Sr                  Ben P Whaley
2695 Call St                              PO Box 1196                      P O Drawer P
Vidor, TX 77662                           Livingston, TX 77351             Marshall, TX 75671




Ben Patterson Ri Ltd                      Ben R Carriker                   Ben R Miller Jr Irrecov Inter
16118 Via Shavano Ste 100                 6304 Misty Trail                 Vivos Class Trust
San Antonio, TX 78249                     Dallas, TX 75248                 Richard E Brown Trustee
                                                                           12046 Justice Ave
                                                                           Baton Rouge, LA 70816



Ben R Ogletree Jr                         Ben R Ogletree Jr                Ben S Cason Carolyn Cason
2815 Israel Road                          Gregory Ogletree And             4201 Oak Park Ct
Livingston, TX 77351                      Kelton Ogletree Ttees            Fort Worth, TX 76109
                                          PO Box 1196
                                          Livingston, TX 77351



Ben S Pope Testamentary Trust             Ben Thiessen                     Ben Wright
Robert L Duvall And                       2200 609 Granville St            8616 Middle Rd
R Michael Hallum                          Vancouver, Bc V7y 1h2            Fort Worth, TX 76116
P O Drawer P                              Canada
Marshall, TX 75671



Benard H Liles                            Benavides Family Mineral Trust   Benchmark Energy Transport Services Inc
PO Box 1061                               PO Box 217                       PO Box 203904
Logansport, LA 71049                      Laredo, TX 78042                 Dallas, TX 75320-3904




Benchmark Filing And Shelving Systems     Benchmark Logistics Inc          Beneficial Bank
5210 Indian Shore Lane                    PO Box 952183                    1818 Market St
Houston, TX 77041                         Dallas, TX 75395-2183            Philadelphia, PA 19103




Benevolent Protective Order Of Elks       Bengal Production Co Inc         Bengt Hagen
PO Box 609                                10104 Trailridge Drive           Skogsbakken 56
Rawlins, WY 82301                         Shreveport, LA 71106             4020 Stavanger
                                                                           Norway




Benicia Fabrication Machine Inc           Benigno H Rodrigues              Benita L Mayfield
101 East Channel Road                     2619 Pine                        900 Riverside Dr Apt 103
Benicia, CA 94510-1155                    Laredo, TX 78043                 Monroe, LA 71201
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Benita Lewis Mayfield                     Benito J Esparza                           Benito M Solis Iii
Fbo Alice Janiyah L Reed                  505 Basswood Dr                            Address Redacted
900 Riverside Dr Apt 103                  Laredo, TX 78046
Monroe, LA 71201




Benjamin Adams                            Benjamin Brooks Jones                      Benjamin C Lary
1150 New York Ave 527                     12538 N Oak Hills Pkwy                     1241 Mitcham Orchard Rd
Long Beach, CA 90813                      Baton Rouge, LA 70810                      Ruston, LA 71270




Benjamin D Agnor                          Benjamin D Theriot                         Benjamin Dale Russell
401 Henley Perry Drive                    Address Redacted                           c/o Sarah R King
Marshall, TX 756705305                                                               939 Sams Road Nw
                                                                                     Brookhaven, MS 39601




Benjamin David Howard                     Benjamin Dunn                              Benjamin E Blandford
1907 Huntington St                        739 Highway 3074                           603 County Road 339
Midland, TX 79705                         Ruston, LA 71270                           La Vernia, TX 78121




Benjamin F Sims                           Benjamin George Crocker Sp                 Benjamin Gillentine
2723 Winding Lane 145                     2107 Emerald Lake Drive                    PO Box 485
Antioch, CA 94531                         Arlington, TX 76013                        Cleburne, TX 76033




Benjamin Goodyear                         Benjamin Green Sr And Lucille Green        Benjamin H Fallin Jr And Julie S Fallin
Address Redacted                          106 Parker Street                          6481 Mesedge Lane
                                          West Monroe, LA 71292                      Colorado Springs, CO 80919




Benjamin Howard                           Benjamin Howard Browning Iii               Benjamin Hoyt Harper Jr
PO Box 422                                202 Prescott Circle                        4827 W Sunnyside Ave
Arcadia, LA 71001                         Vienna, VA 22180                           Glendale, AZ 85304-2928




Benjamin J Levine Ttee Annie Levine       Benjamin J Levine Ttee Benjamin J Levine   Benjamin King
Trust Uwo Jules B Levine Dtd 08/16/2011   Trust Uwo Jules B Levine 08/02/2011        454 Hockomock Rd
c/o Pick Quick Foods                      c/o Pick Quick Foods                       Woolwich, ME 04579-5142
445 Westbury Blvd                         445 Westbury Blvd
Hempstead, NY 11550-1946                  Hempstead, NY 11550-1946



Benjamin L Taylor                         Benjamin Leavitt                           Benjamin Lewis Separate Prop
PO Box 81                                 PO Box 7038                                C/O Mrs L Spivey
White Oak, TX 75693                       Bunkervill, NV 89007                       510 E 73Rd Street
                                                                                     Los Angeles, CA 90003




Benjamin Martin Rebecca R Martin          Benjamin Minerals Inc                      Benjamin Newton Hargis
3711 Highway 818                          William Mente Benjamin Pres                PO Box 791
Ruston, LA 71270                          228 St Charles Ave Suite 825               Alexandria, LA 71309
                                          New Orleans, LA 70130
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Benjamin Nicholas                       Benjamin Palmer Clark                  Benjamin Paschal Haley
PO Box 791                              4606 Millingham Ct                     410 Audubon Drive
Kilgore, TX 75663                       Kingwood, TX 77345                     Ruston, LA 71270




Benjamin Prentiss Horton Iii            Benjamin Reagan Mclemore Iii           Benjamin Robert Patterson
1214 Bell Rock Circle                   PO Box 3725                            11410 Santa Cruz Dr
Pflugerville, TX 78660                  Longview, TX 756063725                 Austin, TX 787594937




Benjamin S Stapkes                      Benjamin Sargent                       Benji Sue Younse Lee
Benjamin O Staples Jt Ten               1301 Mckinney Street                   145 Old Alma Waycross Highway
2074 Highway 378                        Suite 2100                             Nicholls, GA 31554
Lexington, SC 29072-9663                Houston, TX 77010




Benn David Nelson                       Bennerson Stamper                      Bennett Blake
775 Pelican                             506 New Natchitoches                   Address Redacted
Coppell, TX 75019-9606                  West Monroe, LA 71292




Bennett Donald                          Bennett Drilling Services Lc           Bennett Energy Corporation
3810 South 109 East Avenue              1800 Judson Road                       6211 W Northwest Hwy 901
Tulsa, OK 74146                         Suite 1000                             Dallas, TX 75225
                                        Longview, TX 75605




Bennett Farms LLC                       Bennett Hightower Partnership Ltd      Bennett Interests Lp
Represented By Patrick L Cone           J Hendricks Hightower Fam 1995 Trust   PO Box 259006 No 305
Partner                                 Katherine H Bennett Trustee            Dallas, TX 75225
PO Box 350                              1701 Jackson Hole Cove
Choudrant, LA 71227                     Austin, TX 78476



Bennett Jay Johnson Jr                  Bennett Lowell Kessler Donna R         Bennett On Site Services LLC
PO Box 530646                           Bennett S Kessler Joint Tenants Wros   Dba Boss Crane Rigging
Grand Prairie, TX 75053                 5641 N 9 Rd                            Kathy Geddie
                                        Mesick, MI 49668                       5533 S Fm 2087
                                                                               Longview, TX 75603



Bennett On Site Services LLC            Bennett Properties Lp                  Bennette Horton
PO Box 100004                           PO Box 10410                           1895 Hwy 84 E
Mcdonough, GA 30253                     Knoxville, TN 70093                    Tenaha, TX 75974




Bennie E Newman                         Bennie G Krahn                         Bennie Green Salz
14 Twynbridge                           PO Box 118                             101 Lake Lane
San Antonio, TX 78259                   Dobbin, TX 77333                       Alabaster, AL 35007




Bennie J Eaves                          Bennie James Gupton Jr                 Bennie L Robinson Sep Prop
528 Highway 763                         Ernestine Gupton                       474 Malone Road
Mansfield, LA 71502                     5549 County Road 462 South             Arcadia, LA 71001
                                        Henderson, TX 75654
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Bennie Lee Costlow                     Bennie Lee Gholston Cotton      Bennie Mae Rochelle Cato
20885 Us Highway 80                    1902 Powell Avenue              1742 Third St
Wills Point, TX 75169-6439             Monroe, LA 71201                Arcadia, LA 71001




Bennie May Townley Price               Bennie R Pickle                 Bennie Ray Marsh
1846 Glendale Ave                      16831 Cr 4343                   235 Northwood Park
Baton Rouge, LA 70808                  La Rue, TX 75770                Livingston, TX 77351-8638




Bennie Richardson                      Benny Clyde Rogers              Benny D Sherrod
2409 E George Richey Rd                Box 1441                        6407 W Chenot Drive
Longview, TX 75604                     Gladewater, TX 75647            Amarillo, TX 79109




Benny Dees                             Benny F Corley                  Benny Joe Simonton
501 Limestone St                       901 Price Street                570 Hwy 563
Mt Vernon, GA 30445                    Bronte, TX 76933-2125           Dubach, LA 71235




Benny Joseph Rudd Jr                   Benny Kirkendoll                Benny M Christina M Fisher
190 Reynolds Lane                      103 Rivulet Ln                  1482 Booker Loop Road
Brownwood, TX 76801                    Austin, TX 78738                Mansfield, LA 71052




Benny Pierce                           Benny R Haywood                 Benny W Rountree
509 Apple Street                       3802 French Drive               PO Box 255
El Dorado, AR 71730                    Longview, TX 75604              Henderson, TX 75653




Bennye Boyd Siler                      Bennye Boyd Siler Trustee       Bennye Boyd Siler Trustee
PO Box 161                             For Grace Marie Siler           For William Boyd Siler
Price, TX 75687-0161                   PO Box 161                      PO Box 161
                                       Price, TX 75687-0161            Price, TX 75687-0161




Benoit T Reamor                        Benoyd Temple                   Bentie Mae Laughlin
14394 Jicarrila Rd                     450 Cr 3540                     2801 E Austin Apt 108
Apple Valley, CA 92307                 Joaquin, TX 75954               Marshall, TX 75672




Bentley Hugh Bowden                    Bently Nevada Corporation       Bently Nevada Inc
2904 Laurel Ln                         File No 42058                   File 42058
Plano, TX 75074-4719                   Los Angeles, CA 90074-2058      Los Angeles, CA 90074




Benton K Springer                      Beoff River Production Co LLC   Berco Resources LLC
1201 Earle Street                      c/o H M Berg Jr                 100 Fillmore St Ste 400
Apartment 140                          PO Box B                        Denver, CO 80206
San Marcos, TX 78666                   Camden, AR 71711
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Berdette Ritter                         Berend Manufacturing                 Berg Nelson Company Inc
5342 Fm 1970                            PO Box 674                           1633 2 17Th Street
Gary, TX 75643                          209 North Vine                       Long Beach, CA 90813-1216
                                        Archer City, TX 76351




Berger Family Trst Joe Jr John          Bergman Johnson Partners Ltd         Bergman Mineral Holdings
William Berger Co Trustees              3370 Fm 3509                         PO Box 813
PO Box 52507                            Burnet, TX 78611                     Midland, TX 79702
Shreveport, LA 71135




Bergo Associates                        Bering Vi Ltd                        Berith Equipment Inc
c/o Pter A Berdon Esquire               c/o Patricia Bailey Broussard        PO Box 2576
Berdon Young Margolis Pc                919 Oak Parkway                      Kilgore, TX 75662
350 Orange St 2nd Floor                 Houston, TX 77077
New Haven, CT 06511



Berkley National Insurance Co           Berkley Regional Insurance Company   Berkshire Hathaway Spl Ins
Clint Lamberth                          Michael D Beranek                    Admir Mesic
10375 Richmond Ave Ste 1900             10810 Exec Center Dr Ste 205         1 North Wacker 38Th Fl
Houston, TX 77042                       Little Rock, AR 72211                Chicago, IL 60606




Berlina Beverly Looney                  Bernadette Hart                      Bernard A Gemelli Jr And
3303 S Archibald Ave 10                 Bank Of America Na Agent             Rebecca Ann Jones Gemelli
Ontario, CA 91761                       PO Box 844143                        150 Lincoln Estates Drive
                                        Dallas, TX 75284                     Dubach, LA 71235




Bernard Blythe                          Bernard Costlow                      Bernard Craig Greive
24740 Jefferson Ave Apt 213             100 Indian Trace Ln                  Address Redacted
Murrieta, CA 92562                      Waxahachie, TX 75165-1542




Bernard D Smith                         Bernard Grein                        Bernard H Bloom
6266 Vive Drive                         502 Sunbelt Road                     243 Stanford Drive
Lake Charles, LA 70615                  Seguin, TX 781551203                 San Antonio, TX 78212




Bernard Harold Bouma Individ            Bernard Harold Bouma Individually    Bernard Harold Bouma Usufruct
3500 Tangle Brush 165                   PO Box 5275                          3500 Tangle Brush 165
The Woodlands, TX 77381                 Shreveport, LA 71135                 The Woodlands, TX 77381




Bernard Harold Bouma Usufructuary       Bernard Harold Metcalf               Bernard Keith Sturm
PO Box 5275                             3689 St Hwy 147                      1234 Co Road 64
Shreveport, LA 71135                    Center, TX 75935                     Willow Wood, OH 45696




Bernard L Dunbar                        Bernard L Mitchell                   Bernard L Rita Giddings
5340 Country Club Lane                  27 Garden Ln                         6922 W 85Th Place
Anchorage, AK 99516                     Gladewater, TX 75647-2567            Los Angeles, CA 90045
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Bernard Lee House Jr                   Bernard O Ellington                   Bernard Rosenberg 1980
PO Box 51707                           2604 Melba Cir                        c/o Robins Davis Oil
Midland, TX 79710                      Bryan, TX 77802                       1188 Tcf Tower 121 S 8 St
                                                                             Minneapolis, MN 55402




Bernard Schonbrun Estate               Bernard V Mcdermott                   Bernard W Haynes
c/o Mona L Schonbrun Pers Rep          9323 Trail Hill Dr                    9130 Bob O Link Rd
2301 Gulf Of Mexico Dr 91              Dallas, TX 75238                      Gladewater, TX 756473437
Longboat Key, FL 34228




Bernell Hollis                         Bernice Anderson                      Bernice Anderson Estate
c/o Texas State Treasury               10751 Royal Pine Dr                   Nancy Reed Exec
Unclaimed Property Division            Houston, TX 77093-4339                507 Sandy Port St
PO Box 12019                                                                 Houston, TX 77079
Austin, TX 78711-2019



Bernice Andrews Colvin                 Bernice Boyett                        Bernice Brown
132 Lanes End Drive                    PO Box 89                             7142 Fm 31
Choudrant, LA 71227                    Joaquin, TX 75954                     Marshall, TX 75672-2113




Bernice Buchanan                       Bernice Deloney                       Bernice Franklin
Jenny Tilbury Poa                      400 Park Ave 303                      PO Box 991
445 Shady Ln                           Calumet City, IL 60409                Roswell, NM 88202
Southlake, TX 76092




Bernice Gulledge Edwards               Bernice Hearne Boyte                  Bernice Holder Smith
715 Ford Street                        146 Daneil Rd                         711 Whistler Dr
Monroe, LA 71202                       Calhoun, LA 71225                     Arlington, TX 76006-2023




Bernice Huey                           Bernice Kilpatrick Foster             Bernice Knight White Life Est
374 Harmony Church Rd                  273 N Walnut St                       1504 State Highway 154 West
Arcadia, LA 71001                      Bearden, AR 71720                     Gilmer, TX 75644




Bernice Koret                          Bernice N Schnurr                     Bernice Pate
371 North Post Oak Lane                2929 Post Oak Blvd Apt 503            Deceased January 2005
Houston, TX 77024                      Houston, TX 77056-6113                3076 Fm 2787
                                                                             Joaquin, TX 75954




Bernice Smith Harris                   Bernice Walker Andrews                Bernice Washington
1633 Henry Ave                         3917 Plumcrest                        2214 Cr 301 South
Bastop, LA 71220                       Smyrna, GA 30080                      Henderson, TX 75652




Bernie D Howell                        Berniece Hood Williams Sep Property   Berniece Ruth Sistrunk
3213 87Th St                           3119 Castlewood                       Box 237
Lubbock, TX 79423-3023                 Houston, TX 77025                     Gary, TX 75643
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Bernon W Butler Et Ux                  Berri Ann Bounds Parkoff           Berrick R Buford
Helen Drane Butler                     3207 Clint Moore Rd Unit 107       PO Box 670352
PO Box 335                             Boca Raton, FL 33496               Dallas, TX 75367
West Monroe, LA 71294




Berry Bros General Contractors Inc     Berry D Burkhalter                 Berry Drew Willis Jr
PO Box 253                             405 Moore Street                   835 Brandon Avenue
Berwick, LA 70342                      Monroe, LA 71202                   Norfolk, VA 23517




Berry Helen Erickson                   Berry Lubrication Service Inc      Berry Taylor Hall
1917 Hughson Street                    Pobox 2195                         192 County Road 228
Oklahoma City, OK 73141-1041           Rock Springs, WY 82902-2195        Carthage, TX 75633




BerryS Office Furniture                Bert A Mcjimsey Iii                Bert A Mcjimsey Jr
2700 B White Settlement Rd             3211 Belmead                       3211 Belmead Lane
Fort Worth, TX 76107                   Tyler, TX 75701                    Tyler, TX 75701




Bert Ashford Mcjimsey                  Bert Bloom                         Bert C Hogg
3211 Belmead Ln                        2050 Willow Court                  Sonja Shannon Hogg
Tyler, TX 75701-7841                   Lakewood, CO 80215                 PO Box 845
                                                                          Ruston, LA 71273-0845




Bert Freeman Kristi Freeman            Bert M Brown                       Bert N Pipes
185 Edward Rd                          11882 Highway 151                  1120 Norris Road
Choudrant, LA 71227-3725               Dubach, LA 71235                   Choudrant, LA 71227




Berta Hawk Allums                      Berta Jane Sims Sherrand           Bertha Besch Testamentary Tst
7913 Fallen Oak Ln                     Abro House                         Acct 399067008 Regions Bank
Texas City, TX 77591-9279              Hwy 80 E 4518 Apt 302              Nrre Oper Trustee
                                       Ruston, LA 71270                   PO Box 11566
                                                                          Birmingham, AL 35202



Bertha Best Brown                      Bertha Elizabeth Workins           Bertha G Prevost Life Estate
4828 Medical Drive 129                 3191 Medical Center Dr Apt 26105   5221 Siesta Lane
Bossier City, LA 71112                 Mckinney, TX 75069-1697            Zapata, TX 78076




Bertha Garcia Helmick                  Bertha Guinn Little                Bertha Hogan Gant
1328 Delta Avenue                      1000 Mckeen Place                  133 Mayweather Rd
Cincinnati, OH 45208                   West Monroe, LA 71201              Mansfield, LA 71052




Bertha L Blear                         Bertha Leblanc Curley              Bertha Lee Jones
2608 Hendricks Street                  903 Windermere Blvd                2906 Abbie St
Gladewater, TX 75647                   Alexandria, LA 71303               Shreveport, LA 71103
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Bertha Lee Perry Hardyway                Bertha Louise Mormon Massingill   Bertha M Acie
14310 Cerritos Ave                       9625 Silver Meadows               12 Corey Ave
Bellflower, CA 90706                     Dallas, TX 75217                  Rankin, PA 15104




Bertha M Davis                           Bertha Marie M Henry              Bertha Maurine Hopper Dooley
PO Box 80                                115 16Th Street                   642 Maple St
Marshall, TX 75671                       Richmond, CA 94801                Winnetka, IL 60093




Bertha Miller                            Bertha P Humprey                  Bertha Willie Receivership
63327 Sun View Avenue                    510 Grant Street                  Panola County Texas
Palm Springs, CA 92262                   Ruston, LA 71270                  c/o Sue Grafton
                                                                           Panola County Courthouse
                                                                           Carthage, TX 75633



Berticel Thompson Garvin                 Bertie Evelyn Weir Libengood      Bertie Lee OQuin
68 Ishi Circle                           1518 Daniel Street                2555 Holiday Dr
Sacramento, CA 95833                     Apartment 9                       New Orleans, LA 70114
                                         Arcadia, LA 71001




Bertie Rue Lee                           Bertram Hays Hones And            Bertram Hays Jones
c/o Texas State Treasury                 Danielle Dupuis Jones             PO Box 248
Unclaimed Property Division              PO Box 560                        Simsboro, LA 71275
PO Box 12019 Capitol Station             Simsboro, LA 71275
Austin, TX 78711



Bertram R Henry Md                       Bertrand Properties Ltd           Berwyn Funding LLC
900 Vista Oaks Ln                        207 W Park Ave Unit A             PO Box 2175
Knoxville, TN 37919                      Durango, CO 81301                 Milwaukee, WI 53201-2175




Beryl Louise White Saucer                Bess C Petrykowski                Bess L Rayford Estate Tr
11657 Saxon Street                       2514 Merlin Drive                 c/o Citizens National Bank
Dallas, TX 75218                         Lewisville, TX 75056              PO Box 820
                                                                           Henderson, TX 75653




Bess L Rayford Trust                     Bess M Bond                       Bess M Perryman
c/o Citizens National Bank               101 Rivalto Circle 4              44 Prides Crossing
PO Box 820                               Lakeway, TX 78734                 The Woodlands, TX 77381
Henderson, TX 75653




Bess Macomson Perryman                   Bess Stephen Dillen               Bessemer Group Incorporated
Revoc Living Trust                       6403 County Road 3267             100 Woodbridge Center Drive
27 Wagon Trail                           Joaquin, TX 75954                 Woodbridge, NJ 07095
Black Mountain, NC 28711




Bessemer Investment Management LLC       Bessere Corporation               Bessie Adams
630 Fifth Avenue                         PO Box 6495                       PO Box 13
New York, NY 10111                       Tyler, TX 75711-6495              Arcadia, LA 71001
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Bessie Adelle Wellborn                    Bessie Cain                    Bessie D Reeves
PO Box 5                                  PO Box 173                     PO Box 1956
Elysian Fields, TX 75642                  Jacksboro, TX 76458            Center, TX 75935




Bessie Faye Hill                          Bessie Johnson                 Bessie Johnston
1420 Stonebriar Drive                     c/o R N Hade Conservator       710 French St
Carthage, TX 75633                        907 Walnut St                  Trinidad, TX 75163
                                          Gowrie, IA 50543




Bessie Joyce Payton Family Tru            Bessie Lathan Estate           Bessie Lee Mitchell Hubbard Williams
Bessie Joyce Payton Trustee               Lorene Lott                    3027 Hartsville
PO Box 406                                3884 Florence Street           Houston, TX 77051
Longview, TX 75606                        San Diego, CA 92113




Bessie Lee Noble Lazarus Et Al            Bessie Louise Day Burklin      Bessie M Denny
Box 55                                    3811 Stoneycreek Rd            1720 Cannon St Apt 11
Gibsland, LA 71028                        Chapel Hill, NC 27514          Helena, MT 59601-1947




Bessie M Dickerson                        Bessie Mae Greer               Bessie Mae Perryman Trust
Betty Sue Flowers Or Alonzo Ray James     113 Fawn Circle                Sandra Perryman
c/o Betty Sue Flowers                     West Monroe, LA 71291          2839 Curtis Drive
1018 Willow Drive                                                        Tyler, TX 75701-8110
Shreveport, LA 71118



Bessie N Blanchette                       Bessie Pearl Dent Davis        Bessie Ruth Chapman
16843 Village Lane                        203 Crosby Drive               101 Heston St
Dallas, TX 75248                          Henderson, TX 75652            Longview, TX 75604




Bessie Sherwood                           Bessie Weatherspoon            Bessie Williams Estate
6018 Mentor Dr                            PO Box 322                     2613 Kings Gate Dr
Texas City, TX 77591                      Joaquin, TX 75954              Carrollton, TX 75006




Best Equipment Service Sales Co LLC       Bestway Oilfield Inc           Bestway Oilfield Rental Inc
Dba Best Pumpworks Co Llc                 16030 Market Street            16030 Market Street
Dba Best Pumpworks                        Channelview, TX 77530          Channelview, TX 77530
PO Box 7095
Tyler, TX 75711



Bestway Services Inc                      Beta Eliminations              Beta International Inc
16030 Market Street                       500 Dallas Street Suite 1800   PO Box 4436 Msc 700
Channelview, TX 77530                     Houston, TX 77002              Houston, TX 77210




Beta Land Services LLC                    Beta Operating Company LLC     Beta Operating Company LLC
PO Box 51241                              111 West Ocean Blvd Ste 1240   500 Dallas St
Lafayette, LA 70505                       Long Beach, CA 90802           Suite 1800
                                                                         Houston, TX 77002
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Beta Operating Company LLC             Betelgeuse Production          Beth Altman Ttee
Dba Beta Offshore                      B C Edwards                    Beth Altman Revocable Trust
111 West Ocean Blvd Ste 1240           PO Box 1937                    Dtd 03/04/2003
Long Beach, CA 90802                   Fredericksburg, TX 78624       Boca Raton, FL 33496-3509




Beth Altman Ttee                       Beth Ballenger Welch           Beth Biersdorfer
Fred E Altman Credit Shelter           3223 Rustic Villa Dr           3222 Auburn Hollow Ln
2230 Nw 62nd Drive                     Kingwood, TX 77345             Katy, TX 77450-7447
Boca Raton, FL 33496-3509




Beth Blaylock Zuberbueler              Beth Bowman Harper             Beth Coyle
PO Box 1936                            c/o Pat Lange                  Two BNY Mellon Center
Wimberly, TX 78676                     PO Box 12199                   525 William Penn Pl Suite 1215
                                       San Antonio, TX 78212          Pittsburgh, PA 15259




Beth Dodson Duchene                    Beth Green Mericle             Beth H Allgood
250 Woodhaven Pkwy                     1350 Leonard Road              328 Sunset Blvd
Athens, GA 30606                       Shreveport, LA 71115           Lufkin, TX 75904-4000




Beth M Jones                           Beth Marie Bailey Higgins      Beth Mccarty
4258 Honeysuckle Drive                 2435 Cr 301                    735 Livingston Avenue
Zachary, LA 70791                      Carthage, TX 75633             Shreveport, LA 71107




Beth Mcintyre Davis Flanagan           Beth R Edwards                 Beth S Ponder
6004 E Danbury Rd                      2571 S Yarrow St               c/o Jean Ball
Scottsdale, AZ 85254                   Lakewood, CO 80227             63 Wendemere Dr 214
                                                                      Alexandria, LA 71303




Beth Tipton                            Beth White                     Beth Young Timmons
3553 Fm 1970 North                     3300 Pearl St Apt              142 Church Rd
Timpson, TX 75975                      Nacogdoches, TX 75965          Keatchie, LA 71046




Bethany J Cobb                         Bethel Cemetery Association    Betsy A Beasley
PO Box 1115                            PO Box 252                     14 Windermere Lane
Van, TX 75790                          Henderson, TX 75653            Houston, TX 77063




Betsy Ann Rogers                       Betsy C Peatross               Betsy Cassandra Redmond
4128 Yancey Ln                         1 Beaux Rivages Dr             4201 Cedar Creek Lane
Fort Worth, TX 76244-8589              Shreveport, LA 71106-6806      Prince George, VA 23875




Betsy Chambliss                        Betsy Cullum Bolin             Betsy Goddard Smith
1802 County Road 3193                  2348 Timber Lane               3355 Blackburn St Apt 4302
Joaquin, TX 75954-4902                 Houston, TX 77027              Dallas, TX 75204
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Betsy Hudgins                             Betsy L Sliger                 Betsy Lucindy Roberts Ward
Tommie Jean Hudgins Story                 16251 Ne 2nd St                c/o Amegy Bank Nat Assoc As Agent
Trustee                                   Bellevue, WA 98008             PO Box 27767
12390 Willow Road                                                        Houston, TX 77227
Conroe, TX 77303



Betsy Mcbride Garrett                     Betsy Michie                   Betsy Phelan
506 Cleveland Street                      PO Box 726                     403 Prairie Hills Dr
Bastrop, LA 71220                         Rawlins, WY 82301              Cheyenne, WY 82009




Betsy Ross Dunavant                       Bette A Sturges Pendley        Bette F Waller
1422 Mary Lee Lane                        11308 Northview Dr             617 North Turnerville Road
Longview, TX 75601                        Aledo, TX 76008                Lake City, MI 49651




Bette J Waldroup                          Bette L Brinson                Bette M Merrick Med Equip Tr
205 Curry Creek Cir                       3740 Del Monte Dr              Wells Fargo Bank Sao
Calhoun, LA 71225                         Houston, TX 77019              PO Box 40909
                                                                         Austin, TX 78704




Bette Thomson Skipper                     Bette W Irish                  Bette W Irish Indiv Ttee
PO Box 1141                               515 Springlake Drive           515 Spring Lake Dr
Kilgore, TX 75663                         Shreveport, LA 71106           Shreveport, LA 71106-4603




Bettie F Huff                             Bettie Hart Davis              Bettie L Kerr
771 Pr 7816                               PO Box 256                     124 S Ashland Ave
Hawkins, TX 75765                         Price, TX 75687                Lexington, KY 40502




Bettie Lynn Scarborough                   Bettie M B Wagner              Bettie Marie Mapes Campbell
1027 Norfleet Dr                          22345 Caminito Mescalero       1709 Jessie Lane
Nashville, TN 37220                       Laguna Hills, CA 92653         Pasadena, TX 77502




Bettie Maurine Poole                      Bettie Patterson               Bettie Salter Ross
9 Parliament Pl                           140 Neel Ave                   N E 16 Lake Cherokee
Dallas, TX 75225-1826                     Lumberton, TX 77657            Longview, TX 75603




Bettijane M Schoeffler                    Bettina Kelly                  Bettinell P Hudson Trust
PO Box 3525                               709 Wood Street                Wells Fargo Bank Na
Galveston, TX 77552                       Henderson, TX 75652            J Phillips Ttee U/A 80111500
                                                                         PO Box 41779
                                                                         Austin, TX 78704



Betts23 LLC                               Betty A Daniels                Betty A Johnson
215 City Park Cir                         15990 Highway 54               13952 E Linvale Pl
New Iberia, LA 70563                      Pine Bluff, AR 71603           Aurora, CO 80014
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Betty A Knobloch Ronald P Knobloch     Betty Alexander Knobloch       Betty Allen
5 Free Ferry Heights                   5 Free Ferry Heights           719 Bear Creek Drive
Fort Smith, AR 72903                   Fort Smith, AR 72903           Fort Collins, CO 80526




Betty Ann Allen Goddard                Betty Ann Bazer Barron         Betty Ann Jones
9901 Turman Cv                         370 Spearsville Road           8722 Rolling Acres Trail
Austin, TX 78730-3551                  Spearsville, LA 71277          Fair Oaks Ranch, TX 78006-4069




Betty Ann Rainer Haynes                Betty Ann Walker               Betty Ann Walker Usufruct
Usufruct                               10305 Cavalletti Drive         10305 Cavalletti Drive
128 Pace Road                          Sacramento, CA 95829           Sacramento, CA 95829
West Monroe, LA 71291




Betty Anne Brooks Life Est             Betty Anne Shelor Morris       Betty Armstrong Living Trust
4359 Clay Avenue                       2510 Coulee Crossing Road      1927 38Th Street
Forth Worth, TX 76109                  Woodworth, LA 71485            Washington, DC 20007




Betty B Colvin                         Betty B Ladmer Trust 11 4 97   Betty B Shaffer
1800 N Vienna                          Vicki Lynn Bagley Trustee      Box 1343
Ruston, LA 71270                       700 New Hampshire Ave Nw 508   Cheyenne, WY 82003
                                       Washington, DC 20037




Betty B Walt                           Betty Bates Breeland           Betty Baucum Jackson
c/o Delta Trust Bank                   PO Box 578                     7 River Oaks Cir
Attn Trust Department                  Mansfield, LA 71052            Little Rock, AR 72207-1701
P O Bo 17607
Little Rock, AR 72222



Betty Baucum Jackson LLC               Betty Beckett Wilkie           Betty Best Martin
9923 East Berry Dr                     PO Box 851555                  1116 Coleman Dr
Greenwood Villiage, CO 80111           Mesquite, TX 75185             Longview, TX 75601




Betty Bivins Duncan                    Betty Blaylock Mcnalley        Betty Blear Davis
PO Box 2389                            983 Rd 1537                    13171 Big Oak Bay Rd
Longview, TX 75606                     Avinger, TX 75630              Tyler, TX 75707




Betty Bonugli Walters                  Betty Brashier                 Betty Buchanan Wright
1721 Rich Rd                           133 Blazing Star Drive         c/o Unclaimed Property Div
Arcadio, LA 71001                      Georgetown, TX 78628           PO Box 302520
                                                                      Montgomery, AL 361302520




Betty Burelsmith                       Betty C Dunn                   Betty C Long
4601 71st St Apt 319                   1301 West Highway 407          703 Mossy Ledge Ln
Lubbock, TX 79424                      Box 260 Suite 201              Simpsonville, SC 29681
                                       Lewisville, TX 75067
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Betty C Mcgee                            Betty Candler                             Betty Carroll Mccraw
283 Copperfield Loop                     1013 N Arey St                            1801 Bonn St
Lufkin, TX 75904                         Tallulah, LA 71282                        Bossier City, LA 71112




Betty Carter Bullock                     Betty Choate                              Betty Cole Evans Sep Prop
6121 Fern Avenue 73                      621 W Green St                            103 Ouachita Road 96
Shreveport, LA 71105                     Stephenville, TX 76401                    Bearden, AR 71720




Betty Colvin Headrick                    Betty Crownover Harper                    Betty Cunningham
6848 Latigo Ln                           Curatrix For Bill Plaster                 PO Box 714
Wendell, NC 27591-9709                   PO Box 52543                              Spurger, TX 77660
                                         Shreveport, LA 71118




Betty D Capel Life Est                   Betty D Davis                             Betty D Perritt
3901 Northshore Dr                       6330 Cleburne Hwy                         458 Carnation Rd
Montgomery, TX 77356                     Granbury, TX 76049                        Arcadia, LA 71001




Betty Davis                              Betty Denise Harrison Wyles               Betty Draper Feille Family Tr
PO Box 883                               1019 Melanie Avenue                       4670 Amesbury St 3212
Hodge, LA 71247-0883                     Lake Charles, LA 70611                    Dallas, TX 75206




Betty Elizabeth Phillips                 Betty Erwin Childress                     Betty F Cottingham Mccrary
1801 6Th St                              107 Cr 3290                               4051 Bedford Drive
Clay Center, KS 67432                    Joaquin, TX 75954-4371                    Lawton, OK 73501




Betty F ODonnell Smelser                 Betty F Ramsey Mims                       Betty Faust Crowell
571 County Road 1430                     4680 Bennett Hollow Rd                    PO Box 1553
Center, TX 75935                         Thompsons Station, TN 37179               Summerville, SC 29484




Betty Faye Maryland                      Betty Faye Pittman                        Betty Fincher Lombas
380 Dunn Road                            1673 Fm 1252 East                         300 Harrison Rd
Ruston, LA 71270                         Kilgore, TX 75662                         Dyersburg, TN 38024




Betty Francis C Mccrary                  Betty Franklin Martin                     Betty G Bunce Anderson
4051 Se Bedford Drive                    Indiv As Usufruct                         3603 Rip Ford Drive
Lawton, OK 73501                         848 Mitcham Orchard Road                  Austin, TX 78732
                                         Ruston, LA 71270




Betty G Haynie Separate Prop             Betty G Martin Haynie And Harold Haynie   Betty Gail Ashcraft Cole
2941 Nw 26Th Street                      1601 Sw 89Th St Ste F100                  2462 Haynes Rd
Newcastle, OK 73065                      Oklahoma City, OK 73159-6363              Shongaloo, LA 71072
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Betty Gail Bradford                     Betty Gay Brawley Hornbeck     Betty George Graham Leitner
PO Box 509                              PO Box 4888                    100 Pomeroy Road
Grambling, LA 71245-0509                Bryan, TX 77805                Madison, NJ 07940




Betty Gillespie Woods                   Betty Gray Aswell              Betty H Fuller
303 West Trout Street                   A/K/A Betty Joyce Aswell       PO Box 245
Kirbyville, TX 75956                    107 North College Nw           Dubach, LA 71235
                                        Denham Springs, LA 70726




Betty Harris Cleveland                  Betty Hawkins Mcrae            Betty Henshaw Zwick Living Tr
6363 Sh 149                             8101 N 47Th St                 Pz Blackmarr Trt 080302053031
Beckville, TX 75631                     Paradise Valley, AZ 85253      201 East 19Th Street
                                                                       Panama City, FL 32405




Betty Hildebrand Turman                 Betty Hinkle Neill             Betty Hodges Mitchell LLC
5905 Wilderness Road                    3917 Orion St                  PO Box 23750
Tyler, TX 75703                         Round Rock, TX 78664           Tempe, AZ 85285-3750




Betty Hudman                            Betty J Carter                 Betty J Davis
3767 Estesville Rd                      PO Box 652                     1503 Price St
Longview, TX 75602                      Mansfield, LA 71052            Henderson, TX 75652




Betty J Davis                           Betty J Dean                   Betty J Hestand
1503 Price St                           PO Box 830                     217 Irving Street
Henderson, TX 75654                     Joaquin, TX 75954              Longview, TX 75605




Betty J Mcclure                         Betty J Murry                  Betty J Stephens
10220 Fm 2970                           300 Pebble Beach Drive         616 Memorial Heights Drive
Athens, TX 75751                        Portland, TX 78374             Apartment 10205
                                                                       Houston, TX 77007




Betty J Walker                          Betty J Walker Living Trust    Betty J Watkins
1204 Hilltop Run                        Tanya Lockhart Trustee         10411 Arkansas St
Lindale, TX 75771                       12991 Cr 4155                  Bastrop, LA 71220-9736
                                        Tyler, TX 75704




Betty Jane Boatman Life Estate          Betty Jane Kasper Est          Betty Jane Loper
PO Box 1053                             Carlton E James Kasper Co      511 El Paso Street
Ozona, TX 76943                         Personal Representatives       Jacksonville, TX 75766
                                        PO Box 416
                                        Hennessey, OK 73742



Betty Jane Schrupp                      Betty Jane Thompson Ashmore    Betty Jay Strong
161 West Sunset Drive                   4401 Meadow Way Dr             Michael Strong Aif
Waukesha, WI 53189                      Deer Park, TX 77536            1152 Hidden Rdg Apt 2296
                                                                       Irving, TX 75038
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Betty Jean Davis Conner                 Betty Jean Flanagan Peterson   Betty Jean Guthrie
6150 E Encanto                          2733 Richie Street Unit E      5104 Sundown St
Mesa, AZ 85205                          Diana, TX 75640                Lago Vista, TX 78645




Betty Jean Hardin                       Betty Jean Hill                Betty Jean Jernigan Amerson
6401 Ohio Dr Apt 6105                   225 Davey Lane                 3808 N Kelley Ave Apt C
Plano, TX 75024-6729                    Coldspring, TX 77331           Oklahoma City, OK 73111-5141




Betty Jean Lewis                        Betty Jean Lobsiger            Betty Jean Lobsiger Individually
5120 Hwy 563                            Howard W Ellis                 108 Par Circle
Simsboro, LA 71275                      108 Par Circle                 Fairhope, AL 36532
                                        Fairhope, AL 36532




Betty Jean Masters                      Betty Jean Mcgee               Betty Jean Sumrall
29035 Mayo Trail                        4528 Hwy 8                     5217 Old Spicewood Springs Rd Apt 401
Catlettsburg, KY 41129                  Harrisonburg, LA 71430         Austin, TX 78731-1019




Betty Jean Taylor Farr                  Betty Jean Thompson            Betty Jean Woods Estate
2218 Marie Place                        3904 Summercrest Drive         Prentice Wayne Woods Indp Exec
Monroe, LA 71201                        Fort Worth, TX 76109           24 Waugh Dr Unit B
                                                                       Houston, TX 77007




Betty Jewel May                         Betty Jo Dean Family Trust     Betty Jo Greene Morgan Liv Tr
11914 Gager St                          Betty Dean Trustee             PO Box 410266
Lake View Terrace, CA 91342             PO Box 281                     San Francisco, CA 94141
                                        Joaquin, TX 75954




Betty Jo Horn                           Betty Jo Mercer Cline          Betty Jo Nichols Brown
143 Waterwood                           8091 Timmons Trail             45 Elmwood Drive
Huntsville, TX 77320                    Shreveport, LA 71107           Destrehan, LA 70047




Betty Joyce Johnson                     Betty Keedy Howe               Betty Kethley Kirkham
1907 Laney Drive                        7353 West Adams                8911 Glenmora Dr
Longview, TX 75605-2489                 Temple, TX 76502               Shreveport, LA 71106-6852




Betty L Brown                           Betty L Davis                  Betty L Galloway Malone
3336 College Avenue                     34 Three Rivers Farm Rd        209 Alta Mira Dr
Kansas City, MO 64128                   Dover, NH 03820                West Monroe, LA 71291-9798




Betty L Harper                          Betty L Miller                 Betty L Richardson
PO Box 295                              5421 State Highway 300         1051 Gardiner Mitchell Lot 1
Meeker, OK 74855                        Longview, TX 75604-7123        Longview, TX 75603
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Betty L Williams                        Betty Lane Boke Est              Betty Langdon Trust 1998
c/o Texas State Treasury                Nicholas F Boke Exec             c/o Associated Res Inc Agent
Unclaimed Property Division             7 Pendleton St                   403 S Cheyenne
PO Box 12019                            Newport News, VA 23606           Suite 800
Austin, TX 78711-2019                                                    Tulsa, OK 74103-3842



Betty Lay Kirby                         Betty Lee Johnson Taylor         Betty Lee Moss
875 Edgwood Drive                       2522 Boyington Lane              1414 Timbertrail
Homer, LA 71040                         Kerrville, TX 78028              Sugar Land, TX 77479




Betty Lee Shults                        Betty Lee Templeman Van Leer     Betty Lennard Patterson
116 Misty Ln                            3570 Eola Dr Nw                  12885 Hwy 159
Early, TX 76802                         Salem, OR 97304                  Shongaloo, LA 71072




Betty Lilian Culver Est                 Betty Lou Brown Champion         Betty Lou Humphrey
John R Culver Succ Ind Admin            2318 South Twelfth               1248 Sharonbrook Dr
PO Box 41352                            Longview, TX 75601               Twinsburg, OH 44087-2754
Houston, TX 77241




Betty Lou Humphrey Est                  Betty Lou Mcglothlin Armstrong   Betty Lou Rogers
Janet S Adamoski Exec                   1927 38Th St Nw                  7523 Ridgewick Dr
1248 Sharonbrook Dr                     Washington, DC 20007             Dallas, TX 75217
Twinsburg, OH 44087




Betty Lou Weaver                        Betty Louise Reynolds            Betty Lyn Collier
807 Fir Road                            200 County Road 1081             37 Bramlette Place
Gladewater, TX 75643                    Carthage, TX 75633-5241          Longview, TX 75601




Betty Lynn Bridges Chism                Betty Lynn Still                 Betty Mackey
3037 Arizona St                         7551 County Road 448D            4301 Bell Springs Rd
Oakland, CA 94602                       Laneville, TX 75667              Dripping Springs, TX 78620




Betty Madden Harrison                   Betty Maggio Charchio            Betty Mangham Lewis Mcmurray
7716 Southford Dr                       201 Colonel Burt Drive           Betty Lewis Mcmurray
Shreveport, LA 71105                    Benton, LA 71006                 12626 Mint Field
                                                                         Houston, TX 77066-3432




Betty Matthews Muse                     Betty Maxine Gilliam             Betty Moore
2207 Greencove Lane                     7501 W Britton Rd Apt 212        5681 C Duck Creek Drive
Sugarland, TX 77479                     Oklahoma City, OK 73132-1606     Garland, TX 75043




Betty Moyse Simmons                     Betty N Apalategui               Betty N Dudley
36 Jamestowne Ct                        1563 Ne 58Th Court               10303 E Dry Creek Rd
Baton Rouge, LA 70809                   Hillsboro, OR 97124              Suite 400
                                                                         Englewood, CA 80112
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Betty Neild Van Hook                      Betty Newhouse Palmer               Betty O Heffernan
PO Box 145                                6135 Riggs Road                     7502 Beaudelaire
Shreveport, LA 71161                      Mission, KS 66202                   Galveston, TX 77551




Betty O Magruder                          Betty Patton Life Estate            Betty R Crawford
416 Doucet Road                           1668 Homewood                       2401 Fm 968 W
No 6A                                     Springfield, IL 62704               Marshall, TX 75670
Lafayette, LA 70503




Betty R Davis Marital Trust               Betty Rhodes Bradley Sp             Betty Rice Warren
PO Box 2347                               6616 New York St                    PO Box 9629
Longview, TX 75606                        Houston, TX 77021                   Tyler, TX 757112629




Betty Rives Rice                          Betty Robbins Davis Marital Trust   Betty Robbins Hurst
1308 County Road 236 East                 c/o Betty Robbins Davis             PO Box 2347
Henderson, TX 75652                       1300 Le Duke Blvd                   Longview, TX 75606
                                          Longview, TX 75601




Betty Robbins Lloyd                       Betty Robbins Marital Trust         Betty Roberts Day
PO Box 2347                               PO Box 2347                         Fka Betty R Brewer
Longview, TX 75606                        Longview, TX 75606                  3621 Colgate Ave
                                                                              Dallas, TX 752255118




Betty Rochelle                            Betty Rorie                         Betty Ruth Brown
3202 Noble St                             9144 Sioux Ct                       2042 Deer Path Drive
Houston, TX 77026                         Jonesboro, GA 30236-5134            Dallas, TX 75216




Betty Ruth Long Mccrory                   Betty Ruth Moore                    Betty Ruth Robinson
419 Kalmia Dr                             1073 State Highway 22               2218 Reynoldston Ln
Arlington, TX 76018                       Whitney, TX 76692-3021              Dallas, TX 75232




Betty Ruth Wines                          Betty S Mckeever LLC                Betty Shore Trust
3122 DanS Ct                              Attn James B Mckeever               Kanaly Trust Company
Enid, OK 73703                            285 Linton Bellevue Rd              PO Box 2227
                                          Benton, LA 71006                    Houston, TX 77252




Betty Showers Brown                       Betty Sims Fox                      Betty Smith
Box 578                                   159 Brow Wood Ln                    4108 S Vienna St
Brookshire, TX 77423                      Lookout Mountain, GA 30750-4174     Ruston, LA 71270-9701




Betty Southerland                         Betty Spell Mitchell                Betty Stokes
200 Sw Second St                          2645 Old Spanish Trail              2101 Zurlo Way
Atoka, OK 74525                           Vidor, TX 77662                     Apt 17101
                                                                              Sacramento, CA 95835
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Betty Sue Buffington Mckeever            Betty Sue Burch Sadler                     Betty Sue Ellington Hill Individually
113 Hilton Head                          4904 Woodland Drive                        2855 N Graham Road
Benton, LA 71006                         Orange, TX 77632                           College Station, TX 77845




Betty Sue Gill                           Betty Sue Metcalf                          Betty Sue Pesnell Ambrose
5219 Ariel                               1830 Hwy 147 N                             385 Styles Ranch Rd
Houston, TX 77096                        San Augustine, TX 75972                    Choudrant, LA 71227




Betty Sue Starkey Riggs                  Betty Sue Still                            Betty Sue Turner Swantner
103 Pr 575                               1013 Arcadia Road                          4735 Lakeway Dr
Gary, TX 75643                           Center, TX 75935                           Brownsville, TX 78520




Betty Sue Westbrook Kyle Usufruct        Betty Suggett George                       Betty Summers U/W/O Emily Byar
307 Pinecrest Road                       1906 N L Street                            Act No 390411015
Arcadia, LA 71001                        Midland, TX 79705-8676                     PO Box 2020
                                                                                    Tyler, TX 75710




Betty Sutton Dodd                        Betty T Cornelius Trust Dtd July 30 2008   Betty Taylor Cockrell
c/o Collin Underwood                     Betty T Cornelius Trustee                  182 Ida Ln
123Rd District Ct                        1049 Providence Lane                       Longview, TX 75604
PO Box 147                               Oviedo, FL 32765
Carthage, TX 75633



Betty Taylor Hart                        Betty Tucker Mann                          Betty V Choate Kennedy
1122 Graystone Drive                     PO Box 340891                              275 Dan Acree Rd
Shreveport, LA 71107                     Austin, TX 787340891                       Downsville, LA 71234




Betty Vivion                             Betty W Causey                             Betty W Driver
1920 Mt Evans Ct                         16543 Highway 151                          3629 Tuxedo Rd Nw
Loveland, CO 80538                       Arcadia, LA 71001                          Atlanta, GA 30305




Betty W Kennaugh Rev Tr                  Betty W Upton Trust                        Betty Watson
Citizens National Bank Ttee              14934 Bramblewood Drive                    1806 Delila
PO Box 820                               Houston, TX 770796335                      Robinson, TX 76706
Henderson, TX 75653




Betty Whiteside                          Betty Williams                             Betty Woodley Spurgeon
1009 North Pacific                       439 Harmony Church Rd                      119 Glendale Ave
Mineola, TX 75773                        Arcadia, LA 71001-4928                     Norfolk, VA 23505




Betty Wyche Rader                        Betty Y Paris Matheson                     Betty Young Reeves
1909 Sunshine Square                     PO Box 133                                 216 Fox Run Rd
Longview, TX 75601                       Mountain City, TN 37683-0133               Saint George, SC 29477-7112
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Bettye Ann Woolsey Laduke Esch            Bettye Ebeling Hulsey          Bettye Frances Cox
PO Box 1771                               4105 Amherst Ave               226 Elmwood Drive
Seguin, TX 78155                          Dallas, TX 75225               Lafayette, LA 70503




Bettye H Kennedy                          Bettye Harper Wilson Sp        Bettye J Minter
2980 Hellums Road 105                     PO Box 59521                   PO Box 369
Belton, TX 76513                          Los Angeles, CA 90059          Center, TX 75935




Bettye Jane Gratz                         Bettye Jo Edwards Leslie       Bettye Jo Mcgee William
2514 Tisinger Ave                         1105 Saint Charles             11040 Joymeadow Dr
Dallas, TX 75228                          Vidor, TX 77662                Dallas, TX 75218




Bettye L Carlton Tonges                   Bettye Lou Hampton Kennedy     Bettye R B Jones
3118 Pleasant Grove Dr                    2980 Hellums Road 105          PO Box 1746
College Station, TX 77845-5041            Belton, TX 76513-7280          Hodge, LA 71247




Bettye R Langley                          Bettye Ruth Martin James       Bettye S Cobb And Glenn A Cobb Estate
111 Campfire Cir                          11212 Apache Ave Ne            3196 Herren Rd
Brandon, MS 39047                         Albuquerque, NM 87112          Doyline, LA 71023-3834




Bettye Stewart Loyd                       Bettye V Gray                  Bettye Vanderwoude
128 Pinecrest Dr                          525 Cumberland                 8600 Thackery St 3405
Ruston, LA 71270                          Shreveport, LA 71106           Dallas, TX 75225




Bettye Wherry                             Bettysu Longley Bennett        Betz Christopher
10218 Fruitland Avenue                    391 Winding Trail              440 Louisiana Ste 2600
Puyallup, WA 98373                        Holly Lake Ranch, TX 75765     Houston, TX 77002




Beulah Elizabeth Lee                      Beulah G Lavalais              Beulah Givens Burlew
1223 Mill Stream Drive                    303 Felix St                   105 N Eagle Dr
Dallas, TX 75232                          Marksville, LA 71351           Houma, LA 70364




Beulah Malone                             Beulah Methodist Church        Beulah Weiland
PO Box 310432                             c/o Cheryl Linecum             1512 Gordon Dr
Houston, TX 77231                         119 Sims Rd                    Ruston, LA 71270
                                          Choudrant, LA 71227




Bevans Callan Welder Trust                Bevans Callan Welder Trust     Bevelyn H Shepherd
Jpmorgan Chase Bank N A Ttee              Jpmorgan Chase Bank N A Ttee   PO Box 177
PO Box 99084                              PO Box 2050                    Holcomb, MS 38940
Fort Worth, TX 76199-0084                 Fort Worth, TX 76113
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Beverley Ann Bigham                     Beverly A Barber               Beverly A Hanon
406 Cherry Hills Drive                  1738 Cr 2513                   503 Wain Drive
Rockport, TX 78382                      Decatur, TX 76234              Longview, TX 75604




Beverly A Johnson Beasley               Beverly A Marshall             Beverly A Robinson Sp
160 Parish Park Rd                      1190 North Laurel Glen Drive   1228 Oakland Avenue
Ruston, LA 71270                        Green Valley, AZ 85614         Kansas City, KS 66102




Beverly Adams                           Beverly Allbright Bland        Beverly Ann Chadwick Mcclellan
PO Box 843                              20414 Brightonwood Ln          2610 Crest Avenue
Kilgore, TX 75662                       Spring, TX 77379-2750          Dallas, TX 75216




Beverly Ann Cline                       Beverly Ann Fillmore           Beverly Ann Robbins
PO Box 548                              5455 Hilltop Dr                1426 Dominion Street
Kilgore, TX 75663                       Bay City, MI 48706             Dallas, TX 75208




Beverly Arrant Cummings Ind Usuf        Beverly Beane White            Beverly Beckett
10626 Glenway Dr                        1 Windwood Dr                  10107 Autumn Oaks Ln
Houston Tx, TX 77070                    Jackson, TN 38305-8835         Shreveport, LA 71106




Beverly Belton                          Beverly Blood King             Beverly Bowen Delucia
5687 Quitman Hwy                        4504 Perkins Rd                8454 Day Street
Quitman, LA 71268                       Apt J8                         Sunland, CA 91040
                                        Baton Rouge, LA 70714




Beverly Branch Evans                    Beverly Burklow                Beverly C Meeks Agent Aif
2860 S W Faith Ct                       PO Box 640                     Willie Mae Alexander
Troutdale, OR 97060                     Monahans, TX 79756-0640        8327 E Wilderness Way
                                                                       Shreveport, LA 71106




Beverly Callaway Clary                  Beverly Clements Williamson    Beverly Collier Clay
20223 Misty River Way                   Jim Williamson                 1175 East Palm St
Cypress, TX 77433                       5313 New Copeland Rd           Altadena, CA 91001
                                        Tyler, TX 75703




Beverly Davis                           Beverly Dawn Dryden            Beverly Dean Mckenzie
1006 E Mt Pleasant Ave                  62                             3628 Richland Avenue
Philadelphia, PA 19150                  5002 Lake Mitchell             Nashville, TN 37205
                                        San Antonio, TX 78223




Beverly Delores Hnot                    Beverly Durham Plunk           Beverly E Burns
15908 San Nicolas Dr                    25531 Cr 462                   4196 Sparrow Hawk Rd
Edmond, OK 73013                        Mineola, TX 75773              Melbourne, FL 32934
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Beverly Elizabeth Hamblen               Beverly Elkins                        Beverly Farley Freeman
2006 Spreading Bough Lane               1114 Sugarloaf Dr                     6801 Nashville Avenue
Richmond, TX 77406                      Spring, TX 77379-3616                 Lubbock, TX 79413




Beverly Faye Sherman Archie             Beverly G Johnson Bailey              Beverly Gail Adams Dewitt
119 Fair Oaks Drive                     1916 Drescher Street                  2704 Dry Branch Dr
Stockbridge, GA 30281                   San Diego, CA 92111                   Harrison, AR 72601




Beverly Gantt Mazza                     Beverly Gates Slocum                  Beverly Gilden Weinman
1600 Bermuda Dunes Drive                1689 Highway 544                      Individual Retirement Account
Boulder City, NV 89005                  Ruston, LA 71270                      3521 Old Court Road
                                                                              Baltimore, MD 21208-3124




Beverly Hankins                         Beverly Holmes Lindsay                Beverly J Clements Williamson S/P
312 Bomar                               PO Box 7294                           1311 Oxford Way
Houston, TX 77006                       Little Rock, AR 72205                 Oklahoma City, OK 73120




Beverly J Hudson                        Beverly J Kelly                       Beverly J Neal Williams
9 Angela Ave                            323 Obispo Ave Unit 203               1105 1/2 7Th Street B
San Anselmo, CA 94960                   Long Beach, CA 90814                  Longview, TX 756015510




Beverly J Weiss                         Beverly Jackson                       Beverly Jean Cole Teague
8316 Briar Dr                           225 Stadium Dr                        509 Jessica St
Dallas, TX 75243                        Grambling, LA 71245                   Springhill, LA 71075




Beverly Jean Kellogg                    Beverly Jo Miller                     Beverly Kay Morris Godwin
1605 Maple Ridge Drive                  PO Box 845                            103 May Road
Suwanee, GA 30024                       Linden, TX 75563                      Dubach, LA 71235




Beverly Kilgore Glass                   Beverly Kirill                        Beverly Lynn Belcher
PO Box 447                              PO Box 204                            PO Box 1586
Taylor, AR 71861                        West Boothbay Harbor, ME 04575-0204   Henderson, TX 75653




Beverly Lynn Sistrunk                   Beverly M Earnest And J L Earnest     Beverly M Kloostra
323 Robindale Cr                        865 Jessie Jones Road                 40 Victoria
Baton Rouge, LA 70815                   Benton, LA 71006                      Rowlett, TX 75088




Beverly M Morris Separate Property      Beverly Mccullen Earnest              Beverly Mclemore Robbins
3352 Willow Lake Circle                 865 Jessie Jones Road                 1426 Dominion St
Chattanooga, TN 37419                   Benton, LA 71006                      Dallas, TX 752082505
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Beverly N Maclellan                    Beverly N Morrison             Beverly P Pylant
San Francisco Towers                   2851 Hillcrest Circle          844 Farm Road 1159
1661 Pine St 3                         Benton, LA 71006               Clarksville, TX 754267010
San Francisco, CA 94109




Beverly Perkins Matzig                 Beverly Phillips Davis         Beverly Prince Laskey
1885 Mansfield Road                    1711 Webster Street            Indiv Usufructuary
Cedar Hill, TX 75104                   Liberty, TX 77575              742 Erie Street
                                                                      Shreveport, LA 16508




Beverly Ruth Blalock                   Beverly S Grimsley             Beverly S Soileau
303 Uncas St                           898 Pierce Road                5800 Prestwick Lane
Logansport, LA 71049-2913              Logansport, LA 71049           Lake Charles, LA 70605




Beverly Simoneaux                      Beverly Smith                  Beverly Stephens Branham
8284 Albert Drive                      2850 Hawthorne Ave 131         6487 Woodstock Road
Baton Rouge, LA 70806                  Dallas, TX 75219               Ft Worth, TX 76116




Beverly Stewart Ostroska               Beverly Streeter Link          Beverly Sue Brown
3443 Esplanade Ave Apt 230             4818 Spruce Ave                720 County Road 471
New Orleans, LA 70119-2944             Fairfax, VA 22030              Ranger, TX 764705933




Beverly Sue Simpson Mace               Beverly Taylor                 Beverly Tootell
30816 N Holly Oaks Cir                 614 Highland Dr                200 Leeder Hill Dr
Magnolia, TX 77355-6282                Big Spring, TX 79720-6637      Hamden, CT 06517




Beverly Wainwright                     Beverly Williamson             Beverly Williamson Marcantel
5103 E Pagewick Drive                  1311 Oxford Way                2843 Echols Rd
Houston, TX 77041                      Oklahoma City, OK 73120        Cumming, GA 30041-8237




Beverly York                           Bevo Production Company        Bg Energy Merchants LLC
1709 Ninth St                          113 West 8Th Street            811 Main St 3400
Levelland, TX 79336                    Amarillo, TX 79101             Houston, TX 77007




Bg Oil Gas Consulting LLC              Bgb Resources LLC              Bgc Environmental Brokerage Services Lp
8020 Highway 80 East                   4103 Hilldale Rd               c/o Cantor Fitzgerald
Marshall, TX 75672                     San Diego, CA 92116            110 East 59Th St
                                                                      New York, NY 10022




Bgg Minerals LLC                       Bgt Investments LLC            Bgt Minerals LLC
PO Box 2242                            PO Box 9                       PO Box 9
Covington, LA 70434                    Aledo, TX 76008                Aledo, TX 76008
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Bh Humphrey Et Ux                        Bha Drilling Services              Bhch Mineral Jnt Venture
Bertha P Humphrey                        PO Box 5785                        PO Box 1817
510 Grant Street                         Pasadena, TX 77508-5785            San Antonio, TX 78296-1817
Ruston, LA 71270




Bhch Properties Ltd                      Bhl Boresight Inc                  Bhl Consulting Inc
5111 Broadway                            4550 Kinsey Dr                     4550 Kinsey Drive
San Antonio, TX 78209                    Tyler, TX 75703                    Tyler, TX 75703




Bhp Petroleum Americas Inc               Bibby Transportation Finance Inc   Bibeau Linda
1360 Post Oak Blvd Ste 500               Fbo Silverback Freight Llc         89 Bridgeport
Houston, TX 77056-3020                   PO Box 100920                      Dana Point, CA 92629
                                         Atlanta, GA 30384-0920




Bicentennial Oil Corp                    Bico Drilling Tools Inc            Bico Drilling Tools Inc
C/O Mary K Hazen                         Farhad Hamidov                     PO Box 301260
2429 E 40Th St                           1604 Greens Road                   Dallas, TX 75303-1260
Tulsa, OK 74105                          Houston, TX 77032




Biddick Properties Inc                   Bienville Investments              Bienville Parish
10 West Main Suite 212                   PO Box 78324                       John E Ballance Sherrif Ex Officio
Ardmore, OK 73401                        Shreveport, LA 71137               Tax Collector
                                                                            PO Box 328
                                                                            Arcadia, LA 71001-0328



Bienville Parish Clerk Of Court          Bienville Parish Clerk Of Court    Biff Perry
100 Courthouse Dr                        PO Box 10251                       Address Redacted
Arcadia, LA 71001                        Corpus Christi, TX 78460




Biffle Water Well Services               Big Bear Oil Field Svc Inc         Big Country Electric Cooperative Inc
11700 Katy Frwy Suite 300                PO Box 1555                        PO Box 518
Houston, TX 77079                        Levelland, TX 79336                Roby, TX 79543




Big Country Environmental Mulching LLC   Big D Creative                     Big D Equipment Company
1922 Golden Bay                          1801 N Lamar St Ste 430            PO Box 7808
Whitehouse, TX 75791                     Dallas, TX 75202-1721              Midland, TX 79708




Big E Drilling Company                   Big E Services LLC                 Big Four Meter Supply Inc
4710 Bellaire Blvd                       PO Box 62047                       PO Box 962
Suite 350                                Midland, TX 79707                  Sundown, TX 79372
Bellaire, TX 77401




Big K Rolling Homes Inc                  Big Lake Pump Supply Inc           Big Mack Tank Trucks LLC
161 Access Road                          PO Box 1009                        205 West Maple
Kilgore, TX 75662                        Big Lake, TX 76932                 Enid, OK 73701
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Big Sky Energy Equipment Inc            Big Sky Energy Equipment Inc   Big Sky Mineral Trust
Jodi Hitner                             PO Box 206                     Serena B Kundysek As Trustee
840 North 9Th Ave                       Brighton, CO 80601             PO Box 3788
Brighton, CO 80603                                                     Arlington, TX 76007-3788




Big Sky Operating Co                    Big Star Energy Services LLC   Big Star Tubing Services LLC
3109 Carlisle St                        4774 N Chadbourne St           4774 N Chadbourne St
Suite 100                               San Angelo, TX 76903-1328      San Angelo, TX 76903-1328
Dallas, TX 75204




Big T Backhoe Service Inc               Big Tex Trailers               Big Three Pump Service LLC
PO Box 1145                             1801 East Central Freeway      701 1st St
Breckenridge, TX 76424                  Wichita Falls, TX 76302        PO Box 241
                                                                       Levelland, TX 79336




Big Time Roustabout Service LLC         Big West Oil Gas Inc           Bigfoot Energy Services LLC
PO Box 523                              333 W Center Street            312 West Sabine
Artesia, NM 88211-0523                  North Salt Lake, UT 84054      Carthage, TX 75633




Biglane Investments Lp                  Biliana Stoimenova             Bill A Madden
PO Box 966                              1700 Pacific Avenue            PO Box 163
Natchez, MS 39121                       Suite 1400                     Alpine, TX 79831
                                        Dallas, TX 75201




Bill Barrett                            Bill Barrett Corp              Bill Bratton
1099 18Th Street                        1099 18th St Ste 2300          531 Burchwood Bay
Suite 2300                              Denver, CO 80202               Hot Springs, AR 71913
Denver, CO 80202




Bill Brawley                            Bill Brian Roark               Bill Bryant King
6225 Boca Raton                         307 Sotol                      15100 King Ranch Rd
Dallas, TX 75230                        Dell Rio, TX 78840             Canadian, TX 79014




Bill D Farleigh Revocable Tr            Bill D Rosenstein              Bill Erma Rogers
104 S Wolcott St Ste 170                1104 First Place               1220 W Seale St
Casper, WY 82602                        Tyler, TX 75702                Nacogdoches, TX 75964-4838




Bill F Mcgraw Wife Katharine Mcgraw     Bill G Mason Jr Et Ux          Bill G Rogers
PO Box 540                              Stephanie D Mason              621 W Hunter
Jasper, TX 75951                        226 Cr 3360                    Nevada, MO 64772
                                        Joaquin, TX 75954




Bill Gardner                            Bill Goldston Family Trust     Bill Goldston Family Trust
2709 Woods Lane                         Trust Oil Gas Mac T5698 L10    Wells Fargo Bank Na
Garland, TX 75044                       PO Box 41779                   PO Box 41779
                                        Austin, TX 78704               Austin, TX 78704
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Bill Goodwin                             Bill Harris Childrens Trust     Bill Hesser
122 3Rd Avenue                           John William Harris Jr Ttee     1506 Hollybush
Nederland, TX 77627                      20540 Highway 46 West           Sugar Land, TX 77478
                                         Suite 115 418
                                         Spring Branch, TX 78070-6825



Bill Hill                                Bill L Tucker                   Bill Lasseter
PO Box 3112                              Under The Tucker Living Trust   5907 Eckhert Rd 805
Longview, TX 75606                       6604 N 78Th St                  San Antonio, Tx, TX 78240
                                         Scottsdale, AZ 85250




Bill M Sims                              Bill Milam Eula Milam           Bill Nelson Media Group
9322 Huffsmith                           158 South Chalk St              3703 Savannah Ave
Tomball, TX 77375                        Joaquin, TX 75954               Bakersfield, CA 93313




Bill Preswood                            Bill Rogers Shaw                Bill Russell
6502 Hollytree Circle                    181 White Oak Rdg               PO Box 2663
Tyler, TX 75703                          Coushatta, LA 71019             Lindale, TX 75771




Bill Strickland                          Bill T Mann                     Bill T Mcleroy
2550 Holland Rd                          7536 Yolanda Dr                 2324 Jacksonville Drive
Levelland, TX 79336                      Fort Worth, TX 761124417        Henderson, TX 75654




Bill Whitehurst Attorney At Law          Bill Y James DecD Trust         Bill Y James Trust
PO Box 389                               Anders Ljungdahl Trustee        Anders Ljungdahl Trustee
Tyler, TX 75710                          4740 Roanoke Pkwy 701           4740 Roanoke Pky 701
                                         Kansas City, MO 64112-1844      Kansas City, MO 64412-1844




Billie Adams                             Billie Adams Jr                 Billie Ann Barnett Mays
Rt 2 Box 201                             4958 S Prarie                   2163 Thornhill St
Gibsland, LA 71028                       Apt 210                         Arcadia, LA 71001
                                         Chicago, IL 60615




Billie Ann Clardy                        Billie Ballenger                Billie Beryle Eason Voyles
Widow Of Vester Clardy                   PO Box 153                      6614 Hergotz Ln
PO Box 1405                              Henderson, TX 75654             Austin, TX 78742
Henderson, TX 75653




Billie Boyett Moss                       Billie Brewton Beach            Billie Daniel Spinks
4136 Cr 206                              4900 Beechwood Hills            6142 Birchmont
Grandview, TX 76050                      Shreveport, LA 71107            Houston, TX 77092




Billie Darleen Dollahite                 Billie Dean Brown               Billie Diane Warren
PO Box 1489                              723 Sara Drive                  6701 Fleta Court
Longview, TX 75606                       Mesquite, TX 75149-3248         Tyler, TX 75703
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Billie Dorinda Edwards Estate           Billie Earle                    Billie F Polk
c/o Teresa Sheree Edwards Damico        2260 N Mill Street              PO Box 822
7815 Commerce St                        Lewisville, TX 75057            Woodville, TX 75979
Riverview, FL 33569




Billie Faye Wiggins                     Billie Faye Wiggins And         Billie Flanagan
882 County Road 455                     Husband Roger Wiggins           2707 Fm 840 East
Carthage, TX 75633                      882 County Road 455             Henderson, TX 75654
                                        Carthage, TX 75633




Billie Ford                             Billie Harold Moore             Billie Inez Julian
3311 Rhozine                            3029 W 76Th Street              828 East High Street
Texarkana, TX 75503                     Los Angeles, CA 90043-5362      Wills Point, TX 75169




Billie J Reed                           Billie J Soape                  Billie Jane Purcell Estate
36955 N Magnolia Ave                    143 Fm 2517                     10104 Lomita Drive
Gurnee, IL 60031                        Carthage, TX 75633              Shreveport, LA 71115




Billie Jarboe Davis                     Billie Jean Allison             Billie Jean Barton
10000 Wornall Road Apt 1312             388 County Rd 222               PO Box 150223
Kansas City, MO 64114                   Carthage, TX 75633              Longview, TX 75615




Billie Jean Casey                       Billie Jean Cashion Estate      Billie Jean Cochran Davis
2102 N 33Rd St                          Vicky C Kniffen And             908 Mimosa St
Orange, TX 77630                        Kevin R Cashion Co Indep Exec   Mineola, TX 75773
                                        847 County Road 3706
                                        Bullard, TX 757577914



Billie Jean Collinsworth                Billie Jean Falcon              Billie Jean H Spillers
PO Box 508                              237 Willowbend                  4660 Highway 80 West
Hodge, LA 71247                         Madison, OH 44057               Calhoun, LA 71225




Billie Jean Sappington Lt               Billie Jean Stancill Christy    Billie Jean Taylor Clinton
PO Box 294506                           PO Box 521                      PO Box 404
Kerrville, TX 78029                     Sardis, GA 30456                Farmerville, LA 71241




Billie Johnson                          Billie Jon Mulhearn Laprairie   Billie Joyce French
812 Tallyho Cir                         PO Box 230                      531 Ervin Cotton Rd
Tyler, TX 75703                         Bunkie, LA 71322                Eros, LA 71238




Billie June Ressler                     Billie Latham Bagley            Billie Louise Carter
Forest Hill Retirement Center           306 S Lafayette                 2802 Blanco St
100 Reservoir Road Rm 220               San Saba, TX 76877              Wichita Falls, TX 76308-4533
St Clairsville, OH 43950
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Billie Mckoin Raspberry Est              Billie Nell Veyro              Billie O Desser
Brett Berryhill Per Rep                  5401 56Th St Apt 66            112 Ocean Ter
925 Washburn Dr                          Lubbock, TX 79414-2106         Ormond Beach, FL 32176-4729
Leander, TX 78641




Billie Pollard                           Billie Ponder Roberts          Billie Ramsey
208 Nolan                                812 Victorial Oaks Drive       County Judge As Receiver
Marshall, TX 75760                       Longview, TX 756036369         110 South Sycamore Room 216A
                                                                        Carthage, TX 75633




Billie Rhea Corley                       Billie Roberts Et Ux           Billie Roberts Aka
Dewey Wayne Corley Aif                   George C Roberts               Mrs George Roberts
333 Texas St Ste 1250                    816 Victorian Oaks             816 Victorial Oaks
Shreveport, LA 71101                     Longview, TX 75603             Longview, TX 75603




Billie Ruth Cleere Life Estate           Billie Ruth Garmon Jones       Billie Ruth Jones
c/o William H Cleere Jr                  22226 Singleleaf Ln            22226 Singleleaf Ln
7004 Deer Ridge Dr                       Tomball, TX 77375              Tomball, TX 77375
Ft Worth, TX 76137




Billie Singleton Curry                   Billie Sue Cooper              Billie T Freeman
226 Little John Trl                      3041 St Highway 322            31707 Terri
Hot Springs, AR 71913-7620               Longview, TX 75603             Magnolia, TX 77355




Billie T Richmond Family Trust           Billie Temple Powell           Billie Tisdal Pace
Dated 11/04/1999                         3080 Hunter Road               25919 S 605 Rd
Paula R Reese Succ Ttee                  Mansfield, LA 71052            Grove, OK 74344
908 St Lukes
Richardson, TX 75080



Billie W Tom                             Billie West                    Billie Whiteside Alderman Ray Alderman
911 Golf Course                          PO Box 13                      503 South Main
Andrews, TX 79714                        Princeton, TX 75077            Winters, TX 79567




Billierae Rambo Gray                     Billingsley Engineering Co     BillS Welding
3044 Saratoga Dr                         3391 Barron Rd                 PO Box 1052
Orlando, FL 32806                        Keithville, LA 710477          Graham, TX 76450




Billy Anderson                           Billy Andrew Moncrief          Billy B Douglas Jr And Denise S Douglas
Route 1 Box 280                          1604 Welleman Rd               107 Canebroke Lane
Joaquin, TX 75954                        West Monroe, LA 71291          Lafayette, LA 70508




Billy B Granger                          Billy B Roark                  Billy B Wedemeyer
Address Redacted                         PO Box 669                     13023 Hidden Castle Dr
                                         Wink, TX 79789                 Houston, TX 77015
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Billy Beall                                Billy Belding Rita B Belding            Billy Blalack
21874 Fm 1716 E                            1305 Mesa St                            3365 Goldfinch
Tatum, TX 75691                            Ruston, LA 71270                        Gilmer, TX 75644




Billy Bob Nutt Barbara Aulds Nutt          Billy Bob Reese Neva Nell Reese         Billy Bob Stone
168 Back Forty Rd                          2250 Gum Springs Road                   312 S Third St
Arcadia, LA 71001                          Longview, TX 75602                      Nederland, TX 77627-2222




Billy Bodine Bell Jr                       Billy Bowens                            Billy Bryan Risinger
PO Box 62238                               Admnstrtr Of Ercell Bowens Est          576 Cr 3000
Colorado Springs, CO 80962                 1760 Davidson St                        Joaquin, TX 75954
                                           Lonna Liinda, CA 92354




Billy Byars U/W/O Emily Byars              Billy Byron Rudd                        Billy C Foote
Act No 390410017                           PO Box 602                              PO Box 5249
PO Box 2020                                Judson, TX 75660-0602                   Longview, TX 75608
Tyler, TX 75710




Billy C Spruiell                           Billy Charles Snelson                   Billy Curtis Glasscock
415 Cr 3794                                PO Box 2136                             PO Box 1400
Joaquin, TX 75954                          Jasper, TX 75951                        Sinton, TX 78387




Billy D Weseman                            Billy Dallas Smith                      Billy Denman
Weida A Metzger Poa                        Address Redacted                        1875 Cedar Spur St
24923 Haverford Rd                                                                 Tyler, TX 75703-7557
Spring, TX 77389




Billy Don Perritt                          Billy Douglas Hinton                    Billy E Arwine
16439 Highway 151                          12994 Chameleon Dr                      6548 43Rd St Apt 3301
Arcadia, LA 71001                          Jacksonville, FL 32223                  Lubbock, TX 79407




Billy E Bayles Iii                         Billy E Leachman And Sybil F Leachman   Billy E Rogers
PO Box 72                                  307 W Alabama                           109 Daisy
Chatham, LA 71226                          Ruston, LA 71270                        Lake Jackson, TX 77566




Billy Earle Fannette                       Billy Eric Pennal                       Billy F Carrington
PO Box 34655                               3914 Laramie Drive Dcbe                 PO Box 916
Houston, TX 77234                          Granbury, TX 760497221                  Timpson, TX 75975




Billy F Rea Floy Rea                       Billy F Tapp                            Billy Frank Williams
637 Spearsville Rd                         Clydine Tapp                            1420 Blankenship Dr
Spearsville, LA 71277                      PO Box 151654                           Deridder, LA 70634
                                           Fort Worth, TX 76108
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Billy Freeman                            Billy G Byars U/W/O B G Byars   Billy G Graham
PO Box 295                               Act No 390386019                2211 Cooktown Rd
Joaquin, TX 75954-0295                   PO Box 2020                     Ruston, LA 71270
                                         Tyler, TX 75710




Billy G Mason Deva Ray Mason             Billy G Weaver                  Billy Gene Austin
419 Cr 3360                              6653 E Carondelet Dr            7527 Morton St
Joaquin, TX 75954                        Apt 123                         Dallas, TX 75209
                                         Tucson, AZ 85710




Billy Gene Cordova                       Billy Gene Davis                Billy Gene Mason And Deva Ray Mason
796 Booker Loop Road                     13807 Big Oak Rd                419 Cr 3360
Mansfield, LA 71052                      Tyler, TX 75707                 Joaquin, TX 75954




Billy Gene Roberson Sep Prop             Billy Gene Smith                Billy Gene Talley
13922 Hwy 151                            1056 Habersham Church Rd        2987 Miller Cr 17
Arcadia, LA 71001                        Sardis, GA 30456                Fouke, AR 71837




Billy George Hughes                      Billy Gordon Martin             Billy H Bell
701 E Marshall Ste 200                   2201 Chantilly Dr               PO Box 1076
Longview, TX 75601                       Ruston, LA 71270                Kaufman, TX 75142-5400




Billy H Brannon Jr                       Billy H King                    Billy Homer Shipp
308 E Carolanne Blvd                     144 Wolfe Road                  105 Valley View Drive
Marshall, TX 75672                       Copperas Cove, TX 76522         Colleyville, TX 76034




Billy Hugh Harris                        Billy J Capel                   Billy J Chumbley
c/o Law Office of Dean A Searle PC       526 Cr 2774                     5718 Diana Drive
PO Box 910                               Mineola, TX 75773               Garland, TX 75043
305 West Rusk Street
Marshall, TX 75671



Billy J Glasscock                        Billy J Langford                Billy J Luckett Sue D Luckett
PO Box 1953                              1361 State Highway 149          PO Box 21
Rockport, TX 78381                       Carthage, TX 75633              Bronte, TX 76933-0021




Billy J Simmons                          Billy J Van Ness                Billy Jack Garner
1518 Alspaugh Ln                         PO Box 33                       5931 County Road 2200
Grand Prairie, TX 75052                  Keithville, LA 71047            Lampasas, TX 76550




Billy Jack House Jr                      Billy Jack Langley              Billy Jack Price Et Ux
810 Melton                               PO Box 403                      Virginia Louise Wilder Price
Longview, TX 75602                       Deweyville, TX 77614            2147 Mitcham Orchard Road
                                                                         Ruston, LA 71270
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Billy Jack Sealey                       Billy Jack Sealey Jr                Billy Jack Turner
8501 Oxford                             334 W Concho Ave                    5240 Alexandria Sky Ln Apt 1704
Lubbock, TX 79463                       San Angelo, TX 76903                Fort Worth, TX 76119-8840




Billy James Walsworth                   Billy Jim Pierce                    Billy Joe And Lynda Whiteside
Barbara Lynn B Walsworth                1159 ScottS Hideway Road            2189 Highway 528
1421 Palmar St                          Famersville, LA 71241               Princeton, LA 71067
Bossier City, LA 71111




Billy Joe Butler                        Billy Joe Holland Malee M Holland   Billy Joe Hooper
2015 First Street                       1618 Clearbrook Circle              136 Cr 442
Port Neches, TX 77651                   Henderson, TX 75652                 Joaquin, TX 75975




Billy Joe Jacobs Et Ux                  Billy Joe Johnson                   Billy Joe Nettles
Gail Logue Jacobs                       5528 Highway 563                    3618 Sun Valley Drive
1256 Mitchell Road                      Simsboro, LA 71275                  Norman, OK 73026
Simsboro, LA 71275




Billy Joe Russell Jr                    Billy Joe Sandusky                  Billy Joe Smith Joan Smith
1011 Stonewall Drive                    PO Box 85                           114 Lawrence Dr
Marshall, TX 75672                      Bromide, OK 74530                   Haughton, LA 71037




Billy Joe Youngblood                    Billy John Cole Sep Property        Billy Lynn Hatley
12002 Reynolds Avenue                   442 Mayfair St                      PO Box 31
Potomac, MD 20854                       Shreveport, LA 71107                Dardanelle, AR 72834




Billy M Bolt                            Billy M Priebe Deborah K Markley    Billy M Watson
14 Woodhaven Dr                         2405 Stanolind Ave                  14 John C Rogers Drive
Longview, TX 75604                      Midland, TX 79705                   Center, TX 75953




Billy M Younger                         Billy Mack Palmer 1999 Trust        Billy Martin
3965 Virginia Ave                       204 Houston St                      PO Box 48
Lynwood, CA 90262                       Levelland, TX 79336                 Centerville, LA 70522




Billy Michael Madole                    Billy Morris                        Billy P Presswood
4521 Line Avenue                        17910 C R 223                       6502 Holly Tree Circle
Shreveport, LA 71106                    Arp, TX 75750                       Tyler, TX 75703




Billy Pridgen                           Billy Pugh Company Inc              Billy R And Sharon J Roberts
2801 Fm 2428                            PO Box 802                          1602 Park Street Apt 1901
Joaquin, TX 75954                       Corpus Christi, TX 78403-0802       Nacogdoches, TX 75961
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Billy R Fondren                           Billy R Honeycutt                        Billy R Jeans
7738 West Boardwalk                       4207 Seminole                            6486 State Highway 7 West
Lumberton, TX 77657                       Pasadena, TX 77504                       Center, TX 75935




Billy R Kerr                              Billy R Mccoy                            Billy R Pesnell
140 N Burnett Drive                       500 N Lincoln                            4623 Orchid St
Baytown, TX 77520                         Tallulah, LA 71282                       Shreveport, LA 71105




Billy R Prestridge And                    Billy R Sharon J Roberts                 Billy R Whitaker Testamentary Trust 1
Joyce P Prestridge                        1602 Park St Apt 1901                    Martha H Whitaker Succ Ttee
7333 Highway 2                            Nacogdoches, TX 75961                    PO Box 1140
Sarepta, LA 71071                                                                  Carthage, TX 75633




Billy Ralph Blakely                       Billy Ray Bridges                        Billy Ray Cagle Tr Dtd 4/10/92
PO Box 1155                               PO Box 270553                            Billy Ray Cagle Trtee
Kilgore, TX 75662                         Dallas, TX 75227                         5910 S University Blvd C18432
                                                                                   Greenwood Vilage, CO 80121




Billy Ray Cox                             Billy Ray Mcdaniel                       Billy Ray Mcinroe
28 Victoria Dr                            100 Angelina                             1520 Cr 1150
Rowlett, TX 75088-6062                    Chandler, TX 75758                       Mount Pleasant, TX 75455




Billy Ray Ramsey                          Billy Ray Sirman                         Billy Ray Sirman Estate
315 Cr 4919                               14590 Cr 2205                            Bob Joe Permenter Ind Exec
Quitman, TX 75783                         Tyler, TX 75707                          9868 Cr 2228
                                                                                   Whitehouse, TX 75791




Billy Ray Tatum                           Billy Ray Washington                     Billy Ray Younger
PO Box 529                                400 Taper Ave                            7705 Tully St
Tatum, TX 75961                           Vallejo, CA 94589                        Houston, TX 77016




Billy Raymond Swearengin And              Billy Risinger And Tammy Risinger        Billy Thompson
Brenda Kay Hickson Swearengin             PO Box 1008                              4121 Reimcke Drive
9208 Double D Drive                       Joaquin, TX 75954                        Antioch, CA 94509
Shreveport, LA 71107




Billy Tompkins                            Billy Troy Jones Deborah Flowers Jones   Billy W Campbell
783 7Th Ave W N                           3421 Highway 33                          8422 Timber Briar
Kalispell, MT 59901                       Ruston, LA 71270                         San Antonio, TX 78250




Billy W Cary Vicki A Cary                 Billy W Henry And Linda Kay Henry        Billy W Irwin And Virginia Irwin
1900 Bittersweet Ave                      7418 Co Rd 235 North                     PO Box 1145
Ruston, LA 71270-2043                     Henderson, TX 75652                      Henderson, TX 75653
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Billy W Kathleen Rogers                  Billy W Matthews               Billy W Slaughter Sr
205 N Pinecrest Dr                       PO Box 626                     20553 W Grove Club Lake Rd
Ruston, LA 71270                         Washburn, ND 58577             Whitehouse, TX 757915919




Billy Waller Enterprises                 Billy Wayne Britt              Billy Wayne Henry
PO Box 192                               104 Sharon Dr                  PO Box 1306
Emerson, AR 71740                        West Monroe, LA 71291          Minden, LA 71058




Billy Wayne King                         Billy Wayne Mcpherson          Billy Wayne Milam
c/o Gloria King                          PO Box 29                      100 Bear Street
887 Scissortail Ln                       Copeville, TX 75121            Sumter, SC 29153
Fort Stockton, TX 79735




Billy Wayne Reeves                       Billy Wayne Steptoe            Billy Wayne Wisdom Louise Smith Wisdom
17722 Glen Knoll Ave                     1751 Cr 106                    1132 Cr 2261
Baton Rouge, LA 708179567                Carthage, TX 75633             Valley View, TX 76272




Billy Welkener And Wife                  Billy Wheeler                  Billy Willard
Marie R Welkener                         1114 Watauga Street            3801 Oak Creek Dr
150 Cr 177                               Kingsport, TN 37660            Austin, TX 78727-2917
Kenedy, TX 78119




Billye Margaret Snider Huff S/P          Billye Minnette Buzzini        Billye Wray Kelly Separate Property
131 Greenwood Place                      804 Patterson Ave              2700 Ernest Street Apt 358
Delhi, LA 71232                          San Antonio, TX 78209          Lake Charles, LA 70601




Binary Oil Gas LLC                       Bio Action Incorporated        Bio Tech Inc
PO Box 4982                              PO Box 2425                    4900 Dougherty Place
Midland, TX 79704                        Casper, WY 82602               Oklahoma City, OK 73179




Biosan Laboratories Inc                  Birch Communications           Birch Royalties LLC
1950 Tobsal Court                        320 Interstate North Pkwy Se   PO Box 660082
Warren, MI 48091-1351                    Atlanta, GA 30339              Dallas, TX 75266




Bird 2000 Lp                             Birdel Cottingham Barker       Birdex Copeland
777 Taylor St Ste Pi                     PO Box 211                     125 Mockingbird Lane
Fort Worth, TX 76102                     Simsboro, LA 71275             Grambling, LA 71245




Birdia Beatrice Hill Easley              Birdie Dilworth Guiton         Birdie Kyle
1232 W Orangegrove A                     725 Calmar Avenue              6162 Us Highway 59 South
Pomona, CA 91768                         Oakland, CA 74610              Tenaha, TX 75974
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Birdie L Nabors Estate                  Birdie Williams                    Birl Lynch
Unclaimed Property Division             3423 Frederick St                  82 Fir Rd
Austin, TX 78711                        Shreveport, LA 71109-3301          Dubois, WY 82513




Bishop Petroleum Corporation            Bishop Sattiewhite Jr              Bishop Windham
5764 Fig Way Ste B1                     c/o Texas State Treasury           Family Ltd Partnership
Arvada, CO 80002                        Unclaimed Property Division        PO Box 2698
                                        PO Box 12019                       Midland, TX 79702
                                        Austin, TX 78711-2019



Bison Investments Ltd                   Bissell Energy Ltd                 Bitter End Royalties Lp
952 Echo Lane Suite 380                 PO Box 5214                        PO Box 670988
Houston, TX 77024                       Longview, TX 75608                 Dallas, TX 75367




Bivens Energy Lp                        Bivins Craig H                     Bivins Exploration Inc
4925 Greenville Ave                     4925 Greenville Ave Ste 814        4925 Greenville Ave Suite 814
Ste 814                                 Dallas, TX 75206                   Dallas, TX 75206
Dallas, TX 75206




Bixler Family Trust                     Bizzell R Shanks                   Bj Royalty LLC
Patricia Ann Bixler Trustee             170 Hickory Walk Sw                PO Box 2331
7558 S Ivanhoe Circle                   Marietta, GA 30064                 Casper, WY 82602
Centennial, CO 80112




Bj Services Company                     Bj Services Company Baker Hughes   Bjc Richardson Family Trust
Bj Dyna Coil Services                   2929 Allen Pkwy Suite 2100         Rebecca Lynn Richardson
PO Box 301057                           Houston, TX 77019                  Blanchard Trustee
Dallas, TX 75303-1057                                                      8567 San Fernando Way
                                                                           Dallas, TX 75218



Bjh Royalties LLC                       BjS Maintenance Service            Bk Hd Inc
Betty J Hardin                          PO Box 550                         300 W Sabine At Sycamore
6226 Marquita Ave                       Wink, TX 79789                     Carthage, TX 75633
Dallas, TX 75214




Bk Royalty Joint Venture                Bkdk Lp                            Bkm Family Ltd Partnership
PO Box 3579                             3300 N A St Bldg 2 Ste 212         69 De Bell Dr
Midland, TX 79702                       Midland, TX 79705                  Atherton, CA 94027




BL Casing Service LLC                   Bl Jmb Services Inc                BL Satellite Rentals Inc
PO Box 22260                            PO Box 73                          991 Industrial Park Dr
Bakersfield, CA 93390                   Big Lake, TX 76932                 Victoria, TX 77905-0679




Blac Frac Tanks Inc                     Black Diamond Minerals LLC         Black Diamond Oil Gas
808 County Road 215                     500 Dallas Street Suite 1800       c/o Mark Heinen
Parachute, CO 81635                     Houston, TX 77002                  1221 S Main
                                                                           Suite 206
                                                                           Boerne, TX 78006
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Black Diamond Oilfield Rentals LLC       Black Diamond Royalty Co LLC            Black Family Trust
15425 North Fwy Ste 230                  PO Box 10165                            c/o Howard I Black Succ Ttee
Houston, TX 77090-6015                   Fleming Island, FL 32006                902 Shillington
                                                                                 Katy, TX 77450




Black Gold Energy LLC                    Black Gold Pump Supply                  Black Gold Rental Tools Inc
PO Box 2901                              PO Box 16007                            PO Box 9531
Monroe, LA 71207                         Long Beach, CA 90806                    Corpus Christi, TX 78463




Black Gold Royalty                       Black Gold Services Inc                 Black Hadden Pennington Lp
3407 Homer                               4196 S Skyline Rd                       c/o First Capital Bank Of Texas
Dallas, TX 75206                         Casper, WY 82604                        310 W Wall Ste 1200
                                                                                 Midland, TX 79701




Black Hills Energy Casper                Black Mountain Rlty I 2009 Lp           Black Mountain Royalty Lp
Lori Mack Or Joanne Nygaard              500 Main Street                         PO Box 21330
PO Box 1400                              Suite 1200                              Charleston, SC 29413
Rapid City, SD 57709                     Ft Worth, TX 76102




Black River Royalties LLC                Black River Trucking Hotshot Services   Black Sands Completions LLC
1499 Blake St Ste 4 I                    PO Box 126                              923 10Th Street
Denver, CO 80202                         Malaga, NM 88263                        Suite 101 Pmb 143
                                                                                 Floresville, TX 78114




Black Stone Acquisitions Partners Lp     Black Stone Energy Company              Black Stone Energy Company LLC
PO Box 201316                            PO Box 301267                           1001 Fannin St
Houston, TX 77216                        Dallas, TX 75303                        Suite 2020
                                                                                 Houston, TX 77002




Black Stone Holdings Prtnshp             Black Stone Minerals Co Lp              Black Stone Minerals Company Lp
PO Box 4346                              PO Box 301267                           Attn Land Department
Department 503                           Dallas, TX 75303-1267                   1001 Fannin St Suite 2020
Houston, TX 77210-4346                                                           Houston, TX 77002




Black Stone Natl Res Ii B Lp             Black Stone Natural Resource Ii B Lp    Black Stone Natural Resources 1 Lp
PO Box 301407                            PO Box 301404                           PO Box 301393
Dallas, TX 75303                         Dallas, TX 75303-1404                   Dallas, TX 75303




Black Tie Events                         Blackdog Exploration                    Blackgold Capital Management
2430 N Glassell Suite F                  Scott R Silver                          109 N Post Oak Ln 520
Orange, CA 92865                         55 Eagle Wings Trail                    Houston, TX 77024
                                         Silverthorne, CO 80498




Blackhawk Drilling Products Inc          Blackjack Mountain Lp                   Blackrock
12402 Husemann Road                      PO Box 4245                             55 East 52nd Street
Brenham, TX 77833                        Fayetteville, AR 72702                  New York, NY 10055
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Blackrock Financial Management Inc      Blackrock Investment Mgmt LLC   Blackstone Frances Dilworth
40 East 52nd Street                     1 University Square Drive       400 Fm 534
New York, NY 10022                      Princeton, NJ 08540             Sandia, TX 78383




Blackstream Energy LLC                  Bladine Investments LLC         Blaine Osborne Koonce
1313 Campbell Road                      Jon E Bladine Poa               514 Oyster Creek Dr
Building D                              PO Box 1487                     Richwood, TX 77531
Houston, TX 77055                       Mcminnville, OR 97128




Blaine Sheppard                         Blair M Burns                   Blair Martin Co Inc
902 Harvard                             1204 Mountain View Dr           1500 E Burnett Street
Midland, TX 79701                       Salem, VA 24153                 Signal Hill, CA 90755




Blair Oil Company                       Blair Quinn Evans               Blair Tool LLC
PO Box 1213                             315 Carolina Meadows Villa      PO Box 160
Kingfisher, OK 73750                    Chapel Hill, NC 27517           Hobbs, NM 88241




Blairbax Energy LLC                     Blake Alexander Trusler         Blake And Julie Bergstrom
815 A Brazos Street 491                 4321 Druid Lane                 PO Box 5443
Austin, TX 78701                        Dallas, TX 75205                Austin, TX 78763




Blake Andrew Nolan                      Blake Bennett                   Blake Cassels Graydon LLP
1504 Bittersweet                        Address Redacted                855 2nd Street Sw Suite 3500
Ruston, LA 71270                                                        Bankers Hall East Tower
                                                                        Calgary, AB T2P 4J8
                                                                        Canada



Blake Ecker                             Blake Horton                    Blake Neal
Address Redacted                        Address Redacted                608 Casas Del Norte Ct
                                                                        Granbury, TX 76049-1463




Blake Vanderwoude                       Blake W Brockermeyer Trust      Blake Well Logging Inc
1695 S Madison St                       Kae L Brockermeyer Trustee      PO Box 227
Denver, CO 80210-3009                   PO Box 789                      Palestine, TX 75802
                                        Wilson, WY 83014




Blakeman Propane Inc                    Blakeman Propane Inc            Blanca Frank Barberio Ltd
PO Box 253                              Steve Blakeman                  4731 Ellensburg Drive
Casper, WY 82602                        PO Box 45                       Dallas, TX 75244
                                        Moorcroft, WY 82721




Blanca Luz Reyes                        Blanca Meza                     Blanch Widaman Trust
4360 Sw 62nd Loop                       Address Redacted                Acct N8032 042
Ocala, FL 34474-2708                                                    Wells Fargo Trust Oil Gas
                                                                        PO Box 5383 C7300 07D
                                                                        Denver, CO 80217
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Blanchard Huey                           Blanche Braudaway                      Blanche Constance Menze
2838 Britton Dr                          PO Box 431                             2121 Folwell Ave
Dallas, TX 75216                         Norco, LA 70079                        Saint Paul, MN 55108-1306




Blanche Denise Morgan                    Blanche E Cummings Indiv As Usufruct   Blanche K Abney Life Estate
3716 Autumn Lane                         5 Dudley Square                        1309 Foxfire Dr
Baytown, TX 77521                        3801 Cresswell                         College Station, TX 77845
                                         Shreveport, LA 71106




Blanche Kemper Reynolds Est              Blanche Lovelady Barrett               Blanche Marie Bivins Bruyere
Edwin A Reynolds ExecTrstee              414 Blazier Lane                       2026 Centenary Circle
8550 Bluefin Circle                      West Monroe, LA 71292                  Longview, TX 75601
Indianapolis, IN 46236




Blanche Reeves Donaldson                 Blanche Rivere Long                    Blanche S Camp
104 Royal                                3921 Richmond Ave                      2024 Spring Dr
Natchitoches, LA 71457                   Shreveport, LA 71106                   Haynesville, LA 71038-5516




Blanche S Haley Life Estate              Blanco D Trust                         Bland E Chamberlain Jr
PO Box 824                               Thomas F Whited Trustee                PO Box 451847
Center, TX 75935                         12214 Gaylawood Dr                     Laredo, TX 78045
                                         Houston, TX 77066




Blanton Snodgrass                        Blas C Ortiz                           Blasco LLC
10026 Villa Lea Ln                       PO Box 713                             Judy J Blaskowski
Houston, TX 77071                        Freer, TX 78357                        Managing Member
                                                                                6235 Savannah Way
                                                                                Colorado Spring, CO 80919



Blasters Inc                             Blastmasters Painting Inc              Blayden LLC
7813 Professional Place                  PO Box 1940                            PO Box 10471
Tampa, FL 33637                          Kilgore, TX 75633                      Midland, TX 79702




Blazer Construction LLC                  Blazer Energy Corp                     Blazer Services LLC
PO Box 97                                PO Box 218330                          1537 Ne Loop
Sibley, LA 71073-0097                    Houston, TX 77218                      Carthage, TX 75633




Bleckley Family Trust                    Blevco Resources Inc                   Blm Cheyenne
4601 Eby Lane                            1810 Champions Dr                      5353 Yellowstone Road
Austin, TX 78731                         Lufkin, TX 75901-7346                  Cheyenne, WY 82009




Blm Colorado State Office                Blm Black Gold Properties Ltd          Blm Wy Hdd
2850 Youngfield Street                   8901 York Place                        280 Highway 191 North
Lakewood, CO 80215                       Lubbock, TX 79424                      Rock Springs, WY 82901
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Blocker Ieicha T                        Blocker Employee Trust                     Blocker Flowback Services Inc
Address Redacted                        c/o Texas Comptroller Of Public Accounts   2704 E Marshall Ave
                                        Unclaimed Property Division                Longview, TX 75601-5925
                                        PO Box 12019
                                        Austin, TX 78711-2019



Blocker Interests Ltd                   Blossom Limited Partnership                Blount Mineral Properties Lp
520 Post Oak Blvd 400                   121 S Broadway Ste 500                     PO Box 1227
Houston, TX 77027                       Tyler, TX 75702                            Longview, TX 75606




Blowout Engineers LLC                   Blowout Tools Inc                          Blr
Tracey Romero                           PO Box 62600                               PO Box 41503
400 Post Oak Blvd Site 400              Dept 1260                                  Nashville, TN 37204-1503
Houston, TX 77056                       New Orleans, LA 70162-2600




Blue Cross Blue Shield Of Tx            Blue Cross Blue Shield Of Tx               Blue Forest Inc
14800 Frye Rd 2                         PO Box 731428                              420 Centennial Drive
Fort Worth, TX 76155-2732               Dallas, TX 75373-1428                      Green River, WY 82935




Blue Jet Inc                            Blue Lightening Black Crystal LLC          Blue Line Drilling Co LLC
PO Box 898                              c/o Gay Lee Guckenburg                     PO Box 3158
Farmington, NM 87499                    355 W Mesquite Blvd D211                   San Angelo, TX 76902
                                        Mesquite, NV 89027




Blue River Analytics Inc                Blue River Oil Gas LLC                     Blue Shield Of California
5925 S Richfield Ct                     1701 N Greenville Ave                      50 Beale Street
Centennial, CO 80016                    Ste 820                                    San Francisco, CA 94105-1808
                                        Richardson, TX 75081




Blue Shield Of California               Blue Sky Designs                           Blue Star Pipe Ltd
File 55331                              PO Box 1490                                5700 Granite Parkway
Los Angeles, CA 90074-5331              Paramount, CA 90723                        Ste 430
                                                                                   Plano, TX 75024




Blue Streak Transportation              Blueline Rental LLC                        Blueshield of California
PO Box 60448                            PO Box 840062                              PO Box 272540
Midland, TX 79711-0448                  Dallas, TX 75284-0062                      Chico, CA 95927-2540




Bluestone Natural Resources Ii LLC      Bluestone Natural Resources LLC            Bluestone Operating
PO Box 204189                           2 W 2nd St Ste 1700                        2100 South Utica
Dallas, TX 75320-4189                   Tulsa, OK 74103-3100                       Suite 200
                                                                                   Tulsa, OK 74114




Bluestone Override Lp                   Bluestone Royalty LLC                      Bluford Stinchcomb Ltd
Two West 2nd St Suite 1700              2100 South Utica                           c/o Mary S Cocke
Tulsa, OK 74103                         Suite 200                                  PO Box 342
                                        Tulsa, OK 74114                            Austin, TX 78767
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Bluford Stinchcomb Ltd                    Bluip Inc                      Bluip Inc
PO Box 342                                410 S Rampart Blvd 460         Attn Accounts Receivable
Austin, TX 78767                          Las Vegas, NV 89145            PO Box 508
                                                                         Burbank, CA 91503




Blumberg Fmly Invst                       Blythe Ann Lyons Trust         Bma Solutions Lp
Account No Ab065                          c/o Michael Glen Lyons Ttee    Gary Maxwell
Mineral Asset Management T 6              PO Box 1226                    20501 Katy Freeway Suite 134
PO Box 1600                               Youngsville, LA 70592          Katy, TX 77450
San Antonio, TX 78296



Bma Solutions Lp                          Bmb Rentals LLC                Bmh/Bj Congregation
O/A Beta Machinery Analysis               PO Box 545                     c/o Morgan Stanley Dan Levine
PO Box 84332                              Lovington, NM 88260            Acct 343 167926 607
Seattle, WA 98124-5632                                                   5251 Dtc Parkway Ste 1500
                                                                         Greenwood Village, CO 80111



Bmig LLC                                  Bmnw Resources LLC             Bmo Asset Management Canada
PO Box 1128                               PO Box 180573                  First Canadian Place 43rd Floor
Huffman, TX 77336                         Dallas, TX 75218               100 King Street West
                                                                         Toronto, ON M5X 1A1
                                                                         Canada



Bmo Harris Bank                           Bmo Harris Bank                Bmo Harris Bank N A
Attn Jim Hildebrandt                      Attn Judy Kwoka                111 W Monroe St
111 W Monroe St                           111 W Monroe St                Chicago, IL 60603
Chicago, IL 60603                         Chicago, IL 60603




Bmo Nesbitt Burn                          Bmr Investments Inc            Bms LLC
Attn Dina Fernandes                       PO Box 543065                  1142 Homer Road
1 First Canadian Place 13Th Fl            Dallas, TX 75354               Minden, LA 71055
Toronto, ON M5X 1H3
Canada



Bmt OG Tx Lp                              Bmto LLC                       Bmw Investments Lp
201 Main Street Suite 2700                230 32nd St E                  PO Box 9369
Fort Worth, TX 76102                      Grand Rapids, MI 49548         Longview, TX 75608




BN Contractors Inc                        BN Oilfield Equipment Co Inc   Bna
Jeremy Jennings                           4220 Fm 448                    PO Box 17009
PO Box 612                                Giddings, TX 78942             Baltimore, MD 21297-1009
Haynesville, LA 71038




Bnp Paribas                               Bnp Paribas Asset Management   Bnp Paribas New
Boulevard Des Italiens                    75 State St 2700               Attn Ana Pedia
Paris 75009                               Boston, MA 02109               75 State St 2700
France                                                                   Boston, MA 02109




Bnp Paribas New                           Bns Services LLC               Bns Services LLC
Attn Ronald Persaud                       Becky Schaeffer                0244 Burtard Lane
75 State St 2700                          244 Burtard Lane               Parachute, CO 81635
Boston, MA 02109                          Parachute, CO 81635
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Bnsf Railway Company                   Bnw Inc                                Bny Mellon
PO Box 676160                          PO Box 892044                          225 Liberty Street
Dallas, TX 75267-6160                  Oklahoma City, OK 73189                New York, NY 10286




Bny Mellon                             Bny Mellon Wealt                       Bo Monk Pipe Testing Co Inc
Attn Scott Sillars                     Managementoperations Dept              PO Box 1767
225 Liberty Street                     500 Ross Street 3Rd Fl Aim 154 0325    Hobbs, NM 88241
New York, NY 10286                     Pittsburgh, PA 15262




Board Of Finance Foundation            Board Of Registration                  Boardvantage Inc
Management Of The Cumberland           Prof Geologists                        4300 Bohannon Drive
Presbyterian Church Inc                501 Woodlane                           Suite 110
8207 Traditional Place                 Ste 105C                               Menlo Park, CA 94025
Cordova, TN 38016                      Little Rock, AR 72201



Boatwright Family Tr C                 Boaz Energy Ii LLC                     Boaz Energy Ii LLC
Bank Of America Na Co Ttee             c/o Winstead Pc                        201 West Wall Street
Henrietta D Boatwright Co Ttee         Attn Michael A Freeman Chris Brown     Suite 421
PO Box 840738                          500 Winstead Bldng 2728 N Harwood St   Midland, TX 79701
Dallas, TX 75284                       Dallas, TX 75201



Boaz Energy LLC                        Boaz Energy Partners LLC               Bob A Prukop
201 W Wall St Ste 421                  PO Box 50595                           PO Box 582
Midland, TX 79701-4595                 Midland, TX 79705                      Inez, TX 77968-0582




Bob Anderson                           Bob Anthony Howze Jr And               Bob Ballard
PO Box 3343                            Mary Christina Howze                   PO Box 583
Longview, TX 75606-3343                105 Pam Drive                          Center, TX 75935
                                       West Monroe, LA 71292




Bob C Holliday                         Bob Coats                              Bob D Atkins
2786 Don Long Road                     PO Box 1446                            9925 Appleton St
Waskom, TX 75692                       Coppell, TX 75019                      Victorville, CA 92392-1967




Bob Edward Wallace                     Bob F Anderson Pe Inc                  Bob Farrell
12705 Ne 37Th St                       400 Travis Street                      107 Bella Terra Dr
Spencer, OK 73084                      Suite 209                              Longview, TX 75605
                                       Shreveport, LA 71101




Bob Farrell Francine H Mayfield        Bob Farrell The Successors In          Bob G Jones
1111 Heather Lane                      Title To James Dale West               3030 Sam Talbert Rd
Longview, TX 75604                     1111 Heather Lane                      Clinton, LA 70722
                                       Longview, TX 75604




Bob Harrell Trucking                   Bob Herbert Associates Inc             Bob Hill Hydraulic Crane Rent
PO Box 313                             2213 Aldine Bender                     PO Box 9077
Blackwell, TX 79506                    Houston, TX 77032                      San Pedro, CA 90734
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Bob Houston                              Bob Mcdonald Investments LLC     Bob Meuth
PO Box 1173                              Manager Bob Mcdonald Invest      5520 Camino Rd
Longview, TX 75606                       PO Box 4343                      Midland, TX 79707
                                         Boulder, CO 80302




Bob Schaefers                            Bob Short Oil Company            Bob Slade
PO Box 836442                            2541 Millcroft Lane              PO Box 759
Richardson, TX 75044                     Carrollton, TX 75006             Euless, TX 76039




Bob Washmon                              Bob Whitley And Mittie Whitley   Bob Williams
Bw Energy Consultants Inc                509 West Henderson St            PO Box 807
516 South Spring Avenue                  Mt Enterprise, TX 75681          Carthage, TX 75633
Tyler, TX 75702




Bobbie Adams                             Bobbie Anne Wright               Bobbie Brown Woods
PO Box 272                               No 6 Lake Cherokee               PO Box 478
Grambling, LA 71245                      Longview, TX 75603               Indio, CA 92202




Bobbie C Adams Jr                        Bobbie C Anders                  Bobbie Ellen Wood Roberts
4605 Lashley Drive                       PO Box 641                       501 Samuels Ave Apt 120
Dallas, TX 75232                         Elkhart, TX 75839                Fort Worth, TX 76102-8641




Bobbie Ervin Pipes                       Bobbie Grace Cline Luke Ussery   Bobbie Hardy Jones
213 Lakewood Drive                       808 Arthur Drive                 403 Sunset Drive
Monroe, LA 71203                         Arlington, TX 76013              Marshall, TX 75672




Bobbie Hendricks                         Bobbie Hensarling                Bobbie J Nutt
201 Second Street                        408 Sooner                       358 Cr 1430
Colfax, LA 71417                         Wolfforth, TX 79382              Center, TX 75935




Bobbie J Thomas                          Bobbie Jackson                   Bobbie Jean Davis
9819 Bluffcreek Drive                    215 E Ragley St 84               PO Box 312
Dallas, TX 75227                         Henderson, TX 75654              Grambling, LA 71245-0312




Bobbie Jean Molloy                       Bobbie Jean Nixon                Bobbie Jean Ward Deadmon
723 Sara Drive                           409 N Hinckley                   222 Mitchell St
Mesquite, TX 75149                       Blooming Grove, TX 76626         Longview, TX 75601




Bobbie Jean Woodard Waller               Bobbie Jo Arant Trust            Bobbie Kate Myers
1666 Myrtle St                           Duffy W Gandy Trustee            2699 County Road 100 N
Arcadia, LA 71001                        c/o James R Hatch                Overton, TX 756845109
                                         PO Box 329
                                         Homer, LA 71040-0329
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Bobbie Kelly Bland                       Bobbie L Winstead                    Bobbie Lantroop
3656 Highway 51 South                    1760 Hwy 16 E                        609 West Main Street
Arkadelphia, AR 71923                    Carthage, MS 39051                   Ranger, TX 76470




Bobbie Lee Wilson                        Bobbie Litton Falgout                Bobbie Louis Musso
3018 George Richie Road                  1429 Avenue G                        4501 Helene Rd
Gladewater, TX 75647                     Marrero, LA 70072                    Memphis, TN 38117




Bobbie M Bradley                         Bobbie M Childress                   Bobbie M Davis
209 Trailwood Dr                         1127 County Road 3182                1411 Schulte Road
Wake Village, TX 75501                   Joaquin, TX 75954-4335               Saint Louis, MO 631465466




Bobbie Manning                           Bobbie Marie Chapman                 Bobbie Mcfadden Hale
1206 16Th St                             1442 Hollytree Place                 2357 Del Monte Dr
Alomogordo, NM 883105720                 Tyler, TX 75703                      San Pablo, CA 94806




Bobbie Mildred Hudson                    Bobbie Morris                        Bobbie Nail
6227 Songwood Drive                      347 North Fritz Swanson              1145 Hwy 507
Dallas, TX 75241                         Kilgore, TX 75662                    Castor, LA 71016




Bobbie Nail Usufr                        Bobbie Overton Whitaker              Bobbie Ray Britton
1145 Hwy 507                             5231 Fm 726 S                        161 Cowboy Lane
Castor, LA 71016                         Gilmer, TX 756456104                 Lot 94
                                                                              Calhoun, LA 71225




Bobbie Ray Wilson                        Bobbie Shaw                          Bobbie Sheffield
PO Box 464                               1310 Georgia                         506 Sue St
Rayville, OK 71269                       Shreveport, LA 71104                 Longview, TX 75602




Bobbie Smiley Separate Property          Bobbie Sue Burgess Montgomery        Bobbie Truitt Rabackoff Sp
315 Ravenhead                            17109 Mclean Road                    14014 Burke Forest
Houston, TX 77034                        Pearland, TX 77584                   Houston, TX 77070




Bobby And Mary S Sisk Medders            Bobby Anderson                       Bobby Bragan Youth Foundation
PO Box 906                               882 Center St                        3116 W 6Th Street Suite 200
Emory, TX 75440                          Muskegon, MI 49442                   Fort Worth, TX 76107-2712




Bobby Brown                              Bobby Bruce Brown Mary Jones Brown   Bobby Casto Margaret L Casto
5245 Pony Soldier Drive                  336 Roberts Rd                       1326 Cr 4620
Colorado Springs, CO 80917               Logansport, LA 71049                 Tenaha, TX 75974
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Bobby Charles Cooper Et Ux                Bobby Cooper                   Bobby Costlow
Hattie Mae Thomas Cooper                  1620 South 12Th Street         5153 Cr 409 D
365 Garr Road                             Monroe, LA 71202               Henderson, TX 75654
Ruston, LA 71270




Bobby D Della P Holloway Rev Liv Tr       Bobby D Holloway               Bobby D Matthews
Della P Holloway Ttee                     121 Wimbledon Way              PO Box 5623
121 Wimbledon Way                         San Rafael, CA 94901           Shreveport, LA 71135
San Rafael, CA 94901




Bobby D Shields                           Bobby D Sirman                 Bobby Dale Kent
PO Box 6299                               PO Box 3315                    107 H1 Ridge Road
Shreveport, LA 71136                      Pasadena, TX 77501-3315        Horseshoe Bay, TX 78657




Bobby Dowling                             Bobby Dwain Turner             Bobby E Sullivan
703 Sunshine Road                         PO Box 53094                   817 Bremond Street
Simsboro, LA 71275                        Lubbock, TX 79453              Franklin, TX 77856




Bobby E Wallace                           Bobby Earl Moore               Bobby F Abernathy
PO Box 353                                1216 Marigold Dr               2005 Mt Royal Terrace
Spencer, OK 73084                         Longview, TX 75604             Fort Worth, TX 76107




Bobby Farmer                              Bobby G Mccullin               Bobby G Morris
1406 Joe Bill Street                      153 Hummingbird Ln             13970 C R 220
West Monroe, LA 71292                     Farmerville, LA 71241          Tyler, TX 75707




Bobby G Pryor                             Bobby Gene Bennett             Bobby Gene Colvin And Lillie Mann Colvin
3306 Luberta Street                       10169 Highway 146              PO Box 98
Tyler, TX 75702                           Ruston, LA 71270               Dubach, LA 71235




Bobby Gene Gilmer                         Bobby Gene Hancock             Bobby Gene Young
3636 Greenacres Place Dr Apt 97           308 Private Road 3437          1855 Bartng Blvd Apt 707
Bossier City, LA 71111-2149               Longview, TX 75602             Sparks, NV 89434




Bobby George Mccullin                     Bobby Glenn Laird Estate       Bobby H Lovett Sr
153 Hummingbird Ln                        Martha Jane Laird Executrix    242 Wigwam Trail
Farmerville, LA 71241                     Michael Wade Laird Poa         Livingston, TX 77351
                                          10543 Red Oak Ridge Lane
                                          Houston, TX 77064



Bobby H Starr                             Bobby Hillin Jr                Bobby J Conville Aka Bobby J Conville Sr
5036 Purdue Dr                            11 Liberty Bell Circle         Kathleen Best Conville
Metairie, LA 70003                        Houston, TX 77024              PO Box 214
                                                                         Simsboro, LA 71275
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Bobby J Godwin                          Bobby J Phillips                       Bobby Jackson
5414 Olana Street                       PO Box 327                             2433 E 6Th Street Apt A
Houston, TX 77032                       Carthage, TX 75633                     Long Beach, CA 90814




Bobby James Chandler                    Bobby Joe Bell                         Bobby Joe Graves
705 Holubee                             330 Agnes Road                         1623 Grigges Rd
Diboll, TX 75941                        El Dorado, AR 71730                    Calhoun, LA 71225




Bobby Joe Permenter                     Bobby Joe Permenter Jr                 Bobby Joe Pierce
PO Box 8621                             8221 Baylor St                         2224 Condor Way
Tyler, TX 75711-8621                    Tyler, TX 75703                        Fairfield, CA 94533




Bobby Joe Rhodes                        Bobby Joe Sanders                      Bobby Joe Stinson
PO Box 432                              221 Cr 342 S                           5428 Linda Drive
Timpson, TX 75975                       Henderson, TX 756547116                Tyler, TX 75708




Bobby Keith Dillard                     Bobby Keith Moreland                   Bobby L Donna D Anderson
239 Talbert White Rd                    2005 S Oak Canyon Rd                   PO Box 173
Simsboro, LA 71275                      Austin, TX 78746                       Carthage, TX 75633




Bobby L Humphreys Jr                    Bobby L Richardson Sr And              Bobby Lamar Caraway
965 Cr 236                              Nelwyn Richardson                      124 Rue St Cameron
Nacogdoches, TX 75961                   2637 Fm 840 E                          Houma, LA 70360-5966
                                        Henderson, TX 75654




Bobby Leath                             Bobby Lee Grantham                     Bobby Lee Woodward
133 Magnolia Lane                       201 Se Cr 3090                         16527 Highway 151
Rockwall, TX 75032                      Corsicana, TX 75109                    Arcadia, LA 71001




Bobby Louis Eason                       Bobby Lynn Humphreys                   Bobby M Windham Sr
3937 Pines Rd                           1241 County Road 915                   915 Pegues St
Shreveport, LA 711197301                Nacogdoches, TX 75964                  Mansfield, LA 71052




Bobby Mack Rudd                         Bobby Murphy                           Bobby R Ainsworth
Sa536                                   1017 Woodcrest                         Tammy Nolan Ainsworth
1733 Nw 79Th Ave                        Lancaster, TX 75134                    289 Eubanks Rd
Miami, FL 33126                                                                Simsboro, LA 71275




Bobby R Kilpatrick                      Bobby R Moore Aka Robert Melvin Sims   Bobby R Stanaland
628 Melrose                             566 Sims Circle                        1379 County Rd 263
Shreveport, LA 71106                    Avinger, TX 75630                      Nacogdoches, TX 75965
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Bobby Ray Causey Jr And                  Bobby Ray Chambers And          Bobby Ray Crawford Jr
Cynthia Yvette Causey                    Brenda Booker Chambers          Jacqueline Blow Crawford
500 California Plant Rd                  302 Tippit                      1061 Parkwood
Dubach, LA 71235                         West Monroe, LA 71292           Arcadia, LA 71001




Bobby Ray Davis                          Bobby Ray Lindsey               Bobby Ray Roberson
c/o Texas State Treasury                 3110 Francis Harris Ln          25526 Catalejo Lane
Unclaimed Property Division              New Braunfels, TX 78130-7180    Moreno Valley, CA 92551
PO Box 12019
Austin, TX 78711-2019



Bobby Ray Russell Et Ux                  Bobby Ray Smith                 Bobby Ray Wilson And
Peggy Dell Gilbert Russell               1910 Highway 145                Rosemary Burks Wilson H/W
Rt 1 Box 100                             Choudrant, LA 71227             202 Mckaskle Street
Simsboro, LA 71235                                                       West Monroe, LA 71292




Bobby S Moseley                          Bobby Smith Cohn Estate         Bobby T Lo
PO Box 231                               H Devon Graham Samuel A Jones   PO Box 9351
Carthage, TX 75633                       Co Executors                    Austin, TX 78766
                                         800 Bering Dr Suite 210
                                         Houston, TX 77057



Bobby W Haywood                          Bobby W Malone                  Bobby W Mccoy Family Trust
3705 Stracener                           212 C R 241                     Robert Nolan Mccoy Trustee
Longview, TX 75605                       Beckville, TX 75631             8702 Glenmora Drive
                                                                         Shreveport, LA 71106




Bobby Wayne Gipson                       Bobby Wayne Rogers              Bobby Wilburn
118 Gipson Dr                            3316 81st St Apt A              227 Cr 3795
Tallulah, LA 71282                       Lubbock, TX 79423-2056          Joaquin, TX 75954




Bobbye Byrl Chenault                     Bobbye Jean Taylor              Bobbye Pegues
2443 W 16Th St Rm 7                      7515 Buckskin Lane              910 Jordan St
Odessa, TX 79763                         San Antonio, TX 78227           Longview, TX 75601




Bobbye T Mann                            BobS Roustabout Service         Boci Securities
2203 Old Ox Rd                           PO Box 12                       Boci Securities Limited
Spring, TX 77386                         Kamay, TX 76369                 18/F Low Block Grand Millennium Plaza
                                                                         181 QueenS Road Central
                                                                         Hong Kong 99999



Bodenheimer Family Ltd Partnership       Boemre                          Bofka Na
PO Box 2469                              1849 C Street N W               PO Box 1270
Longview, TX 75606                       Washington, DC 20240            Tulsa, OK 74101-1270




Bogard 5 LLC                             Boggs Completions LLC           Boggs Oilfield Services Inc
PO Box 423                               PO Box 1201                     PO Box 1001
Woodworth, LA 71485-0423                 Levelland, TX 79336             Minden, LA 71058
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Boise Southern Employee Fcu             Bojan Oil Company              Bokf Na
1945 Highway 190 W                      PO Box 323 Boase               Trust Services
Deridder, LA 70634                      Carthage, TX 75633-0323        Department 1660
                                                                       Tulsa, OK 74182




Boldrick Family Properties              Boles Home Inc                 Bolinger Agency Group
PO Box 10648                            7065 Love                      c/o Argent Property Services Llc
Midland, TX 79702                       Quinlan, TX 75474              PO Box 1410
                                                                       Ruston, LA 71273




Bolinger Minerals LLC                   Bolt Fuel Oil Company Inc      Bolton Lou Langley
c/o Argent Property Services Llc        PO Box 1014                    124 West Neal Street
PO Box 1410                             Kilgore, TX 75663              Carthage, TX 75633
Ruston, LA 71273-1410




Bomar And Bomar Inc                     Bon Pat Obyrne                 Bonava Hicks
10155 W 25Th St                         5229 Us Highway 59 S           131 Whisper Lake Boulevard
Odessa, TX 79763                        Jefferson, TX 75657-3096       Madison, MS 39110




Bond Family Holdings Ltd                Bondhawk Iii Lp                Bone Hill Foundation
Louise Bond Jordan Mgr                  c/o Northland Securities       4000 S Medford Dr
PO Box 28885                            45 S 7Th St Ste 2000           Lufkin, TX 75901
Austin, TX 757558885                    Minneapolis, MN 55402-1625




Bonilee Key Garrett Trust               Bonita Davis Cavanaugh         Bonita Davis Cavanaugh And/Or
Jp Morgan Chase Bank                    13020 Cr2220                   Charles J Cavanaugh jr
Agent 8300169600                        Whitehouse, TX 75791           Joint Tenants Wro Survivorship
Drawer 99084                                                           13020 Cr 2220
Fort Worth, TX 76199                                                   Whitehouse, TX 75791



Bonita Jean Rentfro                     Bonita K Hill                  Bonita Kaye Love Ambrose
3878 Panarama Dr                        Address Redacted               1410 Pipes Road
Saratoga Springs, UT 84045                                             Ruston, LA 71270




Bonneau Peters                          Bonner Interests Ltd           Bonner Revocable Mgmt Trst
302 A Petroleum Tower Bldg              c/o Wm Neely Bonner Iii        A S Bonner Trustee
Shreveport, LA 71101                    1636 Crestdale Dr              1012 Calle Dorthia
                                        Houston, TX 77080-7202         Santa Fe, NM 87501




Bonnie Barker Cain                      Bonnie Belle Gooden            Bonnie Bennett
PO Box 282                              c/o Texas State Treasury       PO Box 182
Longview, TX 75606-0282                 Unclaimed Property Division    Troup, TX 75789
                                        PO Box 12019
                                        Austin, TX 78711-2019



Bonnie Blackshear Crooker               Bonnie Bowman Korbell          Bonnie Dale Petter
1704 W Houston Dr                       PO Box 12199                   2314 New South Wales Court
La Marque, TX 77568                     San Antonio, TX 78212          Katy, TX 77450
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Bonnie Dunn                              Bonnie E Hennigan Barron        Bonnie Evans
290 Dunn Road                            3409 English Turn               5633 Calumet
Ruston, LA 71270                         Ruston, LA 71270                Chicago, IL 60637




Bonnie F Everest                         Bonnie F Pollard                Bonnie Faye Fay
1509 Postbridge Ct                       1901 Inverness Way              2329 Hwy 154
Arlington, TX 76012                      Milford, OH 45150               Athens, LA 71003




Bonnie Frasier                           Bonnie Grace Joffrion Shivers   Bonnie Graves
202 Hedge Hill Dr                        2716 State Highway 149          121 S Broadway
Calhoun, LA 71225-8723                   Carthage, TX 75633              Suite 404
                                                                         Tyler, TX 75702




Bonnie Houser                            Bonnie J Brown                  Bonnie J Horowitz
239 Sharon Drive                         418 Thoughbred Lane             1403 Creekview Dr
San Antonio, TX 78216                    Cheyenne, WY 82009              Round Rock, TX 78681




Bonnie Jane Grantham                     Bonnie Jean Bickley             Bonnie Jean Noble
PO Box 81                                603 Circle Road                 4518 Poplar Grove Dr
Panhandle, TX 79068                      Mineral Wells, TX 76067         Charlotte, NC 28269




Bonnie Jean Simpson                      Bonnie K Dollahite Life Est     Bonnie Kay Adams
PO Box 351                               1625 Fm 450 N                   4606 Park Haven Drive
Joaquin, TX 75954                        Hallsville, TX 75650            Garland, TX 750437599




Bonnie Kay Smith Aka Kay Smith           Bonnie Kelley Brackin           Bonnie L Prasifka
PO Box 73                                504 Bartlet Rd                  1107 Canterbury Dr
Henderson, TX 75653                      Ruston, LA 71270                Columbia, MO 65203




Bonnie Louie Lynch                       Bonnie M Stasi                  Bonnie Mims Greene
22666 Fm 315                             1662 El Dorado Avenue           1051 W 82nd Street
Carthage, TX 75633                       San Jose, CA 95126-1527         Los Angeles, CA 90044




Bonnie R Hazlett                         Bonnie Ross                     Bonnie Ross Wilson
4173 E Hinsdale Circle                   131 Prosperity Drive            PO Box 1713
Centennial, CO 80122                     San Antonio, TX 78237           Shrevport, LA 71166




Bonnie Sue Dicks                         Bonnie Sue Woodard Sep Prop     Bonnie W Kidd
4721 N University Apt 1202               13634 Hwy 151                   PO Box 337
Nacogdoches, TX 75965                    Arcadia, LA 71001               Prosper, TX 75078
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Bonnie W Polk Ttee                     Bonnie Watson J N Watson            Bonnie Wayne Hedges
Bonnie W Polk Rev Trust                c/o Texas State Treasury            3505 West Jefferson
01/09/1998                             Unclaimed Property Division         Elfrida, AZ 85610
4031 N 25Th St                         PO Box 12608 Capitol Station
Arlington, VA 22207-3901               Austin, TX 78701



Bonny Starling                         Bonnye Iona Andrews Moran           Boocos Contract Services Inc
5958 Roseville Drive                   PO Box 1073                         PO Box 572
Dallas, TX 75241                       Royse City, TX 75189                Hayden, CO 81639




Booker T Adams                         Booker T C Cameron                  Booker T Livingston Separate Property
Route 2 Box 1553                       3439 Chateau                        514 Sixth Street
Ruston, LA 71270                       San Antonio, TX 78219               Lafayette, LA 70501




Booker T Perry                         Booker Terry Smith Jr               Boomerang Trucking
Route 1 Box 217                        242 E 72nd St                       PO Box 9729
Ruston, LA 71270                       Shreveport, LA 71106                Midland, TX 79708




Boone County National Bank             Boone Exploration Inc               Boone Exploration Inc
720 E Broadway                         Lynn D Boone                        PO Box 8660
Columbia, MO 65201                     21 Wire Road                        Huntsville, TX 77340-0011
                                       Huntsville, TX 77320




Boot Barn Inc                          Boots Smith Oilfield Services LLC   Boots Smith Oilfield Srvs LLC
15345 Barranca Pwky                    Jerry Broadway                      Po Drawer 1987
Irvine, CA 92618                       2501 Airport Dr                     Laurel, MS 39441
                                       Laurel, MS 39441




Bop Heritage LLC                       Bop Landmark Square Co LLC          Borden Cad
Jorge Sordia                           Dept 3450                           Borden County Appraisal Dist
1111 Bagby St Sky Lobby                Los Angeles, CA 90084-3450          PO Box 298
Houston, TX 77002                                                          120 East Wilbourn
                                                                           Gail, TX 79738



Borden County Waste Disposal Ltd       Borden Inc                          Border Lease Services
PO Box 3215                            Attn Director Of Accounting         PO Box 1660
Abilene, TX 79604                      180 E Broad St                      Laredo, TX 78044
                                       Columbus, OH 43215




Border Swabbing Inc                    Border Techs                        Border Well Services Inc
5903 Us Hwy 59 N                       415 Canones Blvd                    PO Box 1925
Victoria, TX 77905                     Laredo, TX 78046                    Laredo, TX 78044




Borehole Control LLC Bcs Fluids        Borel Private Bank Trust Co         Boren S Hildebrand
Sylena Martin                          10 Post Office Square               PO Box 633
PO Box 1120                            Boston, MA 02109                    Pearsall, TX 78061
Mandeville, LA 70470
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Borets Us Inc                          Born Investments                 Bos Roustabout Service LLC
PO Box 301516                          8009 Desoto Woods Dr             PO Box 1694
Dallas, TX 75303-1516                  Sarasota, FL 34243               Lovington, NM 88260




Bos Service Inc                        Bosecker Family Ltd Partnershp   Bosque Minerals Ltd
PO Box 778                             108 Ladue Road                   PO Box 671098
Denver City, TX 79323                  Mt Carmel, IL 62863              Dallas, TX 75367




Boss Chem Corp                         Bossier Federal Credit Union     Bossier Parish Clerk Of Court
PO Box 4691                            1961 Airline Drive               204 Burt Blvd
Bryan, TX 77805-4691                   Bossier City, LA 71112           Third Flr
                                                                        Benton, LA 71006




Bosworth Company Ltd                   Boterlove Oil Gas Co             Bothnia Energy Management Inc
PO Box 3449                            Baker Botts                      8955 Katy Freeway
Midland, TX 79702                      910 Louisiana                    Suite 310
                                       Houston, TX 77002-4916           Houston, TX 77024




Botkin David                           Boulevard Automotive Group       Bounds Calvin H
113 Vine Street                        2850 Cherry Ave                  Address Redacted
Longview, TX 75605-5501                Signal Hill, CA 90755




Bourgeois Energy Inc                   Bourland Leverich                Bourn Dara F
1536 Croston Drive                     PO Box 95300                     112 Katy Street
Plano, TX 75075                        Grapevine, TX 76099-9752         Longview, TX 75605




Bower Family Contingent Trust          Bowles Energy Inc                Bowles Energy Inc
Fbo Stuart James Bower                 603 East Methvin                 Attn Mr Dennis J Spike Bowles
Frost Bank Agent Acct Wd338            PO Box 3147                      PO Box 3147
PO Box 1600                            Longview, TX 75606-3147          Longview, TX 75606-3147
San Antonio, TX 78296



Bowles Energy Inc                      Bowles Family Royalty LP         Bowles Properties Inc
PO Box 3147                            PO Box 4354                      PO Box 3147
Longview, TX 75606                     Longview, TX 75606               Longview, TX 75606




Bowman Family Tr U/T/A 12/3/91         Bowman Lau                       Bowmans Oilfield Service LLC
Inez Bowman And Wayne D Lawler         Address Redacted                 PO Box 421
5000 Old Shepard Place                                                  Henderson, TX 75653
Apt 417
Plano, TX 75093



Boxelder Company                       Boxer Inc                        Boy Scouts Of America
121 South Broadway                     8409 Navidad                     2226 Nw Military Dr
Suite 572                              Austin, TX 78735                 San Antonio, TX 78213
Tyler, TX 75702
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Boy Souts Of America                       Boyce E Skaggs Jr                        Boyce Hodge Butler
Bank Of America N A Agent                  23279 Hwy 371                            203 Villere Dr
PO Box 840738                              Cotton Valley, LA 71018                  Destrehan, LA 70047
Dallas, TX 75284-0738




Boyce Mineral Trust                        Boyd Adams                               Boyd Mccreight
6221 Spanish Oaks Club Blvd                514 West Grand                           Box 177
Austin, TX 78738                           Grambling, LA 71245                      Yantis, TX 754970177




Boys Girls Club Of Lb                      Boys Girls Clubs Of Greater Fort Worth   Bp America Production
3635 Long Beach Blvd                       3218 E Belknap St                        PO Box 277895
Long Beach, CA 90807                       Fort Worth, TX 76111-4739                Atlanta, GA 30369




Bp America Production Co                   Bp America Production Company            Bp America Production Company
PO Box 277897                              Outside Operated Jt Interest             PO Box 848103
Atlanta, GA 30384                          PO Box 696493                            Dallas, TX 75284-8103
                                           San Antonio, TX 78269-6493




Bp America Production Company              Bp Corporation North America Inc         Bp Energy Company
PO Box 848155                              501 Westlake Park Blvd                   PO Box 3092
Dallas, TX 75284-8455                      Houston, TX 77079                        Houston, TX 77253-3092




Bp Lubricants Usa Inc                      Bph Minerals LLC                         Bpy Bermuda Holdings Ii Limited
PO Box 409383                              5905 Wilderness Rd                       73 Front Street
Atlanta, GA 30384                          Tyler, TX 75703                          Hamilton HM 12
                                                                                    Bermuda




Bpy Bermuda Holdings Limited               Bpy General Partner                      BR Downhole Services LLC
73 Front Street                            Brookfield Place Suite 300               PO Box 2027
Hamilton HM 12                             181 Bay Street                           Odessa, TX 79760
Bermuda                                    Toronto, ON M5J 2T3
                                           Canada



BR Pump Equipment Inc                      BR Well Service                          Brabant Petroleum U S A Co
4001 South High Ave                        4207 S Chadbourne                        PO Box 7127
Oklahoma City, OK 73129-5241               San Angelo, TX 76904                     Billings, MT 59103-7127




Brace Family Trust                         Brace Oil And Gas LLC                    Bracewell Giuliani LLP
William E Brace Trustee                    c/o David Little Cpa                     PO Box 848566
11949 Riverside Drive Spc 148              2702 La Paloma                           Dallas, TX 75284-8566
Lakeside, CA 92040                         Pearland, TX 77581




Bracewell LLP                              Brack Harrison                           Brackin Melissa Ann Eason
711 Louisiana Street                       1409 Cr 4620                             5605 Fargo Drive
Suite 2300                                 Tenaha, TX 75974                         Dickinson, TX 77539
Houston, TX 77057
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Brad Alan Hughes And Melanie Lee Hughes   Brad Carhart                 Brad Coffey
803 Cr 3187                               6470 N Fly In Lake Rd        Address Redacted
Joaquin, TX 75954                         Athens, TX 75752




Brad D Buchan                             Brad Hodge                   Brad R Keitt
7455 Hwy 147                              8030 E Treeview Ct           PO Box 1507
Quitman, LA 71268                         Anaheim, CA 92808-1552       Henderson, TX 75653




Brad Sheffield                            Brad Strong                  Brad Stull
B S Properties                            625 S Clinton St Unit 8B     Address Redacted
1907 South Garrett St                     Denver, CO 80247
Marshall, TX 75670




Brad Verhalen                             Brad Weems                   Bradex Oil Gas Inc
908 Rainbow Drive                         981 Cr 405                   Lion Investbanc Attn M Windham
Richardson, TX 75081                      Carthage, TX 75633           PO Box 14054
                                                                       Baton Rouge, LA 70801




Bradford Elins                            Bradford Gerber Dec Of       Bradford Petroleum Partners Ltd
35 Jefferson Dr                           Rev Ta Dtd 11 05 13          14008 Highmark Square
Monroe, NY 10950                          c/o Cuddy Feder Llp          Dallas, TX 75240
                                          445 Hamilton Ave 14Th Fl
                                          White Plains, NY 10601



Bradley Allen Apostolo                    Bradley Bridges              Bradley Dean Bounds
103 Cedar Ln                              319 E Brimstone St           100 Chinquipin
Seabrook, TX 77586-6124                   Sulphur, LA 70663-1303       Hallsville, TX 75650




Bradley Family Limited Ptnshp             Bradley Gaylord              Bradley Hugh Dodson
1606 Rampart Dr                           865 S Steele St              1196 Linton Bellvue Rd
Ruston, LA 71270                          Denver, CO 80209             Benton, LA 71006




Bradley J Benton                          Bradley J Mcinnis            Bradley J Williams
Dba Benton Consulting LLC                 103 Fox Point Ct             1170 County Road 509
Jake Benton                               Evanston, WY 82930-4772      Nacogdoches, TX 75961
PO Box 284
Hawkins, TX 75765



Bradley Kagan Trust U/W/O Morris Kagan    Bradley Kim Eason            Bradley Murchison Kelly And Shea LLC
Lawrence Kagan Trustee                    S0 2 Lake Cherokee           401 Edwards Street Suite 1000
8801 Knight Road                          Henderson, TX 75652          Shreveport, LA 71101-5529
Houston, TX 77054




Bradley Stewart Fuqua                     Bradley Treadway             Bradley Troy Eakin
2403 Brook Mills Ct                       2106 Durant Rd               1465 San Rafael Dr
Katy, TX 774945733                        Lufkin, TX 75904             Dallas, TX 75218-4442
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Bradley Wright                           Bradly Mitchell Henson          Bradsby Group
8047 Clairemont                          1703 Pine St                    1700 Broadway Suite 1500
Dallas, TX 75228                         Chatham, LA 71226               Denver, CO 80290




Brady B And Sharon Kay Booker            Brady B Sharon Booker           Brady B Tyson
14922 Chestnut Farms Rd                  2458 Charlie Jones Road         201 Mass Ave Ne 110
Fayetteville, AR 72701                   Mansfield, LA 71052             Washington, DC 20002




Brady Blake Booker                       Brady Bobby                     Brady Creech
14922 Chestnut Farms Rd                  284 County Road 163             4358 Fm 31
Fayetteville, AR 72701                   Long Branch, TX 75669           Marshall, TX 75672-6715




Brady Dwain                              Brady Lewis Brashear            Brady Nichols
125 Cr 492                               1615 Cactus Dr                  PO Box 156
Carthage, TX 75633                       Levelland, TX 79336             Beaver, OK 73932




Brady Norwood Montgomery Life Estate     Brady Plunkett                  Brady S Coleman Jr
2102 Old Salem Road                      PO Box 223                      133 Verdo Laga Rd
Reklaw, TX 75784                         Joaquin, TX 75954               El Prado, NM 875297456




Brady Welding Machine Shop Inc           Bragg Hot Shot Service Inc      Brahma Group Inc
PO Box 788                               579 Anderson Country Road 318   1132 South 500 West
Healdton, OK 73438                       Suite 318                       Salt Lake City, UT 84101
                                         Frankston, TX 75763




Brake Supply Company Inc                 Brammer Engineering Inc         Brammer Engineering Inc
4280 Paysphere Circle                    PO Box 204025                   PO Box 301670
Chicago, IL 60674                        Houston, TX 77216               Dallas, TX 75303-1670




Brammer Keystone Energy LLC              Brammer Petroleum Inc           Brana Gatlin
333 Texas Street                         PO Box 243                      PO Box 212
Suite 1175                               Gainesville, TX 76241           Deberry, TX 75639
Shreveport, LA 71101-3676




Branch Banking Trust Co                  Branco Tools LLC                Brand Iq
200 West Second Street                   4605 Macks Drive                12554 Hwy 3 Ste B250
Winston-Salem, NC 27101                  Bossier City, LA 71111          Webster, TX 77598




Brand Scaffold Services Inc              Brand Scaffold Services Inc     Branda Nell R Milford
17315 Ashland Ave                        PO Box 91473                    5001 Fm 1970
East Hazel Crest, IL 60429               Chicago, IL 60693               Carthage, TX 75633
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Brandewie Sean M                          Brandi Gayle Hood Kyzar        Brandi Rowland
Address Redacted                          275 Stow Creek Road            8529 Brunswick Drive
                                          Ruston, LA 71270               Plano, TX 75024




Brandon A Kidd                            Brandon Adams                  Brandon Chad Rook
PO Box 6285                               PO Box 564                     1703 Corley St
Big Bear Lake, CA 92315                   Union City, GA 30291           Ruston, LA 71270




Brandon D Greany                          Brandon Dale Callais           Brandon Energy Inc
PO Box 338                                2019 Green Ct                  PO Box 2043
Milford, NY 13807                         Mandeville, LA 70448           Tyler, TX 75710




Brandon Lewis                             Brandon M Krueger              Brandon Michael Mclure
128 Jennifer Lane 1                       Address Redacted               474 Springwood Ln
Monroe, LA 71203                                                         San Antonio, TX 78216-6852




Brandon Neal                              Brandon Shabazz                Brandon Thornton
2002 Cr 441                               7544 Amber Dr                  Crystal M Thornton
Joaquin, TX 75954                         Dallas, TX 75241               607 Berkshire
                                                                         Longview, TX 75605




Brandon Waring                            Brandon Younger                Brandt
914 East 16Th Avenue                      2361 Pecos St                  PO Box 4889
Denver, CO 80218                          Corona, CA 92881               Houston, TX 77210




Brandy A L Githens                        Brandy Lynn Cathcart           Brannon Family LLC
2037 Lazy Lane                            148 M C 6                      1508 Carmel Dr
Keller, TX 76262                          Doddridge, AR 71834            Shreveport, LA 71105




Brant D Bane                              Brant Laird                    Branta Funding Ii LLC
PO Box 744                                2901 N Henderson Avenue        c/o Crossover Resources Llc
Henderson, TX 75653                       Dallas, TX 752066402           16225 Park Ten Place
                                                                         Ste 830
                                                                         Houston, TX 77084



Brantley A Mclendon                       Branton Tools LLC              Brashier Crosby PLLC
c/o Dept Of State Treasurer               4605 Macks Drive               307 W 7Th Street
Escheat Unclaimed Property                Bossier City, LA 71111         Suite 1500
325 North Salisbury Street                                               Fort Worth, TX 76102
Raleigh, NC 276031385



Braswell Family Interest LLC              Brave River Production LLC     Brazos Bottom Resources Inc
9910 Sandalwood Drive                     PO Box 1362                    14111 Peters Road
Woodway, TX 76712                         Billings, MT 59103             Needville, TX 77461
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Brazos Minerals Ii LLC                   Brazos Minerals LLC            Brazos Valley Schools Cr Union
PO Box 17418                             PO Box 17418                   25525 Katy Mills Parkway
Fort Worth, TX 76102                     Fort Worth, TX 76102           Katy, TX 77494




Brd Royalty Holdings LLC                 Breanna Lauren Gribble         Breck Energy LLC
2777 N Stemmons Fwy Ste 1133             PO Box 3347                    PO Box 50464
Dallas, TX 75207                         Idyllwild, CA 92549            Midland, TX 79705




Brehm Investment Group Inc               Breitburn Energy Partners LP   Breitburn Operating LP
PO Box 648                               1111 Bagby Street Suite 1600   1401 Mckinney St
Mt Vernon, IL 62864                      Houston, TX 77002              Suite2400
                                                                        Houston, TX 77010




Breitenstein Family Trust                Breitling Royalties Corp       Brenda Ann Hattaway Elledge
Susan Breitenstein Ttee                  3930 Glade Rd Ste 109          PO Box 412
5 Acacia Rd                              Colleyville, TX 76034-5930     Dubach, LA 71235
Rolling Hills, CA 90274




Brenda Ann Jackson                       Brenda Ann Lovil               Brenda B Ray
2200 Howett St                           12809 Zavalla                  6230 Stefani Dr
Peoria, IL 61605                         Houston, TX 77085              Dallas, TX 75225




Brenda Bagley Ware                       Brenda Bales Taylor            Brenda Beasley
5523 Coliseum St Apt 201                 382 Harrison Rd                PO Box 2446
Los Angeles, CA 90016                    Ruston, LA 71270               Oakland, CA 94604




Brenda Bergman Dewitt                    Brenda Blear                   Brenda Borin
PO Box 1092                              PO Box 1131                    1508 Nevada
Dripping Springs, TX 78620               Waskom, TX 75692               Plano, TX 75093




Brenda Brown Brunson                     Brenda Crawford Hill           Brenda Cripps Young
7314 Hardwood Trail                      265 S Pine Tree Rd             359 South Rose Street
Dallas, TX 75249                         Grambling, LA 71245            Simsboro, LA 71275




Brenda Dufour Mitchell                   Brenda Dunlap Fletcher         Brenda E Distefano
252 Larance Orchard Rd                   116 Janis St                   2315 Elgin Ave
Dubach, LA 71235                         West Monroe, LA 71292          Nederland, TX 77627




Brenda E Kirby                           Brenda Fancher                 Brenda G Hatfield
3035 Saddleback Trail                    PO Box 4                       14392 Brentwood Court
Billings, MT 79106                       Martinsville, TX 75958         Gonzales, LA 70737
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Brenda G Weil                            Brenda Gay Mills                      Brenda Gaye Donaldson
438 Chase Dr                             6463 Cr 234                           800 Enfield
Corpus Christi, TX 78412                 Nacogdoches, TX 75961                 Marshall, TX 75672




Brenda Hardy Wilkins                     Brenda Hebert                         Brenda Hogan
3 Lilac Ln                               5500 County Road 4850                 6611 Reed Rd
Longview, TX 75605                       Warren, TX 77664-8509                 Houston, TX 77087




Brenda J Barrett                         Brenda J Humphries                    Brenda Jane Cole Giddens
1102 Walter Stephenson Rd                12531 Claygate Dr                     836 Marietta Dr
Midlothian, TX 76065-5497                Houston, TX 77047                     Haynesville, LA 71038




Brenda Jane Reel Small                   Brenda Joyce Labostrie                Brenda K Bridges Life Est
1105 N Page Road                         201 Atkinson St                       559 W Hammond
Longview, TX 75605                       Monroe, LA 71202                      Lancaster, TX 75146




Brenda K L Sledge And                    Brenda Kay Cranford                   Brenda Kay Howell
Wendy G L Kirkpatrick                    621 County Road 115                   44 Lewis Dr
817 Coyle Street                         Carthage, TX 75633                    Adair, OK 74330
Springhill, LA 74075




Brenda Kay Mattson                       Brenda Kay Sanders Moncrief           Brenda Kay Upton Black
413 Jet St                               PO Box 2413                           130 Lake Meadow Drive
Longview, TX 75603                       Monroe, LA 71207-2413                 Mathis, TX 78368




Brenda L Barnett                         Brenda L Speed                        Brenda Lee Dickey
PO Box 86863                             24 W Foundry St                       266 Weakley Loop
San Diego, CA 92138                      Millville, NJ 08032                   Ethridge, TN 38456




Brenda Lipton                            Brenda Mayo Lakey Sep Prop            Brenda Modisett
1960 Hwy 425 North                       3500 Gaines Rd Apt B                  18 Ramblewood Drive
Patio Home 15                            Corinth, MS 38834                     Longview, TX 75605
Monticello, AR 71655




Brenda Moore Baggerman                   Brenda Moreland Robinson              Brenda N Higdon Antonio V Jones
420 Westland                             13500 N Rancho Vistoso Blvd Apt 315   Monique Jones Shervon Jones
San Angelo, TX 76901                     Oro Valley, AZ 85755-5961             7881 Green Lawn Dr
                                                                               Houston, TX 77088




Brenda Palka Smith                       Brenda Pierce                         Brenda Renee Davis Nguyen
448 Wildwood Dr                          PO Box 16555                          1702 Bailey Street
Murphy, TX 75094                         Albuquerque, NM 87191                 West Monroe, LA 71201
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Brenda Rentz Sharp                       Brenda S Hubbard               Brenda Sue Baugh
2267 Century Loop                        593 Ashley Way                 14705 Cedar Street
Eros, LA 71238                           Lexington, KY 40503            Santa Fe, TX 77517




Brenda Sue Chandler Brister              Brenda Sue Hill                Brenda T Mosley
179 Timber Ridge Cir                     2351 Wineleas Road             c/o Johnnie Cure
Ruston, LA 71270                         Decatur, GA 30033              15202 Old Creek
                                                                        Houston, TX 77060




Brenda Turner Mcclintock                 Brenda W Hamilton              Brenda Watson Giles
4703 Rockhampton Dr                      PO Box 1151                    808 Ray Street
Arlington, TX 76016                      Ruston, LA 71273               Carthage, TX 75633




Brenda Woodard Wells                     Brenda Zachary                 Brendan Kilcoyne
924 Darbytown Rd                         535 Hubbard Cir                4311 Armitage Dr
Grand Prairie, TX 75052                  Nevada, TX 75173-8323          Durham, NC 27703-7132




Brendia S Jamnicky                       Brendon Minor                  Brenntag Pacific Inc
PO Box 1244                              1526 Goodnight Court           File 2674
Flippin, AR 72634                        Sugar Land, TX 77479           Los Angeles, CA 90074-2674




Brent Akins                              Brent And Susan Williams       Brent Beaty
PO Box 3512                              1902 Clydesdale Ct             3851 El Lado Drive
Longview, TX 75701                       Rowlett, TX 75088              Glendale, CA 91208




Brent Chalmers                           Brent D Preston                Brent Eric Gardbled
Address Redacted                         3922 138Th St                  1315 Beachcomber Rd
                                         Lubbock, TX 79423-6171         Sulphur, LA 70665




Brent Fowler                             Brent Marshall Landers         Brent Newman
4750 Cr 239D                             PO Box 1766                    11 Autumnwood Way
Henderson, TX 75652                      Cleburne, TX 76033             The Woodlands, TX 77380




Brent Sheller                            Brent Sitman Womack Sr         Brent W Brockermeyer Trust
Address Redacted                         PO Box 445                     Kae L Brockermeyer Trustee
                                         Littleton, CO 80160-0445       PO Box 789
                                                                        Wilson, WY 83014




Brent Wilder                             BrentS Welding                 Bret Mccants
200 North Main                           PO Box 488                     107 Echo Fls
Henderson, TX 75652                      128 S Bench Rd                 Comfort, TX 78013-5501
                                         Pinedale, WY 82941
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Brete Ballard Garland                  Breton Sound Investments Inc   Brett A May Amy R May
2824 S Club Oak Dr                     416 Travis Street              2312 Cooktown Rd
Fayetteville, AR 72701                 Suite 612                      Ruston, LA 71270
                                       Shreveport, LA 71101




Brett Chandler Dana Chandler           Brett G Taylor                 Brett G Taylor Royalty Trust
4056 Diamond Bluff Sw                  PO Box 9                       PO Box 9
Lilburn, GA 30047                      Aledo, TX 76008                Aledo, TX 76008




Brett Graham Nobles                    Brett Graham Nobles And        Brett Hammett
7885 Highway 822                       Tracie Lynn Barmore Nobles     7711 Bryonwood Dr
Dubach, LA 71235                       615 Highway 545                Houston, TX 77055-6822
                                       Dubach, LA 71235




Brett J Deffebach                      Brett Michael Larocca          Brett Nowlin Bolton
1312 1/2 Fairview St                   755 Hwy 594                    2124 Cr 2209 D
Houston, TX 77006                      Monroe, LA 71203               Tatum, TX 75691




Brewer Brandy                          Bria Morris                    Bria Morris Benefit Rev Trst
1626 Fm 450 N                          1001 Tom Cummings Road         1001 Tom Cummings Road
Hallsville, TX 75650                   Livingston, TX 77351           Livingston, TX 77241




Brian A Long                           Brian Alan Lewis               Brian Allen
PO Box 1813                            534 Turkey Trail               10549 Timbercove West
Shreveport, LA 71166-1813              Shreveport, LA 71115-9537      Meridian, MS 39305




Brian Branch                           Brian Bruce Visor              Brian C Lillibridge
158 Pinecrest Cir                      1122 Hazel Dr                  641 Evergreen Ln
Bluffton, SC 29910-7872                Corpus Christi, TX 78412       New Braunfels, TX 78130




Brian D Freedman                       Brian Darby                    Brian David Lodwig
1500 Preston Rd 2404                   One Dallas Center              15 Bushwood Circle
Plano, TX 75093                        350 M St Paul Suite 1300       Ladera Ranch, CA 92694
                                       Dallas, TX 75201




Brian E OBrien                         Brian Emerson Mcdermott        Brian Energy
Saxet Petroleum Inc                    48 Maple Drive                 603 Woodlawn Street
510 Berling Drive Suite 600            Roosevelt, NY 11575            Kilgore, TX 75625
Houston, TX 77057




Brian Henry                            Brian Jennings                 Brian K Brown
3308 Nebraska St                       Address Redacted               2515 Caldwell
Amarillo, TX 791066215                                                Tyler, TX 75752
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Brian Keith Ramirez Sep Prop             Brian Keith Swint               Brian Kilcoyne
6711 Birch Lane                          105 Annadale Drive              1105 Davenport Place
Temple Hills, MD 20748                   Maud, TX 75567                  Winterville, NC 28590




Brian L Williams                         Brian Lee                       Brian Lee Brown
1298 Sandy Springs Ln                    Address Redacted                12115 Cedar Pass Drive
Jackson, LA 70748-4354                                                   Houston, TX 77077




Brian M Bell                             Brian Major                     Brian Mcinerny
14416 E Maple Street                     52060 Tara Drive                1343 Forest Avenue
Overland Park, KS 66223                  South Bend, IN 46628            Carlsbad, CA 92008




Brian Nathan Bolton                      Brian Peters                    Brian R Keenan
PO Box 2101                              6 Heatherbloom Ln               134 Pond View Drive
Tatum, TX 75691-2101                     Austin, TX 78738                Port Washington, NY 11050-2468




Brian Ray Shepherd                       Brian Rowdell Davis Et Ux       Brian Scott Gamroth
1875 Henshaw Ave                         Elizabeth Ann Ward Davis        PO Box 1522
Tulare, CA 93274                         PO Box 3                        Casper, WY 82602
                                         Ruston, LA 71273-0003




Brian Vanderwoude                        Brian Waring                    Brian Welder Trust
7823 Amherst                             1121 Albion Street              Jpmorgan Chase Bank N A Ttee
Dallas, TX 752258202                     Unit 909                        PO Box 2050
                                         Denver, CO 80220                Fort Worth, TX 76113




Brian Welder Trust                       Brian Wilson                    Brickman Fast Line Inc
Jpmorgan Chase Bank N A Ttee             6981 Magnolia St Unit 8         PO Box 764
PO Box 99084                             Greenwood, LA 71033             Okeene, OK 73763
Fort Worth, TX 76199-0084




Bridgeport Fishing Rental Tools Inc      Bridger Valley Propane Inc      Bridget Ann Oneil Vickery
PO Box 631                               PO Box 663                      PO Box 788
Bridgeport, TX 76426                     Mountain View, WY 82939         Beeville, TX 78104




Bridget Bird                             Bridget Gail Jones Richardson   Bridget Healey Bird Irrevo Tst
38 Abbott Rd                             5940 Leopold Ln                 c/o Thomas E Bird Succ Ttee
Bradford, PA 16701                       Shreveport, LA 71105            38 Abbott Rd
                                                                         Bradford, PA 16201




Bridget S Crowell Langley                Bridget Suzanne Taylor Turner   Bridgette L King
10925 Sheila Court                       1018 St Tammany Ct              300 E Birdsong St
Beaumont, TX 77705                       Shreveport, LA 71106            Longview, TX 75602
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Bridgette Lewis                         Brigade Capital Management LLC   Brigham Exploration Company
424 E Bailey Road 204                   399 Park Avenue Suite 1600       6300 Bridge point Parkway
Naperville, IL 60565                    New York, NY 10022               Bldg 2 STE 500
                                                                         Austin, TX 78730




Bright Randall P                        Bright Company LLC               Bright Rock Partners Iii LLC
Address Redacted                        Suite 234                        5956 Sherry Lane Suite 1221
                                        2540 King Arthur Blvd            Dallas, TX 75225
                                        Lewisville, TX 75056




Bright Star Energy Services             Brighton Crane Service           Brigitte Johnson Matejowsky
1828 S Ammons St Apt B                  PO Box 383                       297 Jill Loop
Lakewood, CO 80232-6770                 Brighton, CO 80601               Ruston, LA 71207




Brillman Schultz Assocs LLC             Brimhall Loetterle Rev Tst       Brinda Rayson Life Est
1079 W Round Grove Rd                   John H Loetterle Trustee         2474 County Road 336 North
Suite 300 210                           2110 Woodlands Dr                Henderson, TX 75652
Lewisville, TX 75067                    Tyler, TX 75703




Brinderson Lp                           Brint Albritton                  Brisita Energy Corporation
19000 Macarthur Blvd Ste 800            PO Box 266                       c/o Hrb Operating
Irvine, CA 92612-1461                   Graham, TX 76450                 PO Box 425
                                                                         Bridgeport, TX 76426




Brisk Chad D                            Brister Family Irrevocable Tr    Bristol Interests Ltd
Address Redacted                        Steven D Randall C Larry G       PO Box 16220
                                        Brister Ttees                    Ft Worth, TX 76162
                                        2486 Hwy 556
                                        Choudrant, LA 71227



Bristol Resources Corporation           Britanco LLC                     Britney Richard
PO Box 849919                           PO Box 98                        9000 Fondren Rd
Dallas, TX 75284-9919                   Falls City, TX 78113             Apt 120C
                                                                         Houston, TX 77074




Britt A Pounds                          Britt Duncan Ross                Britt Trucking Co Inc
745 Nasse Lane                          2830 Marcie Lane                 Po Drawer 707
Fredericksburg, TX 78624                Rockwall, TX 75035               Lamesa, TX 79331




Britta M Gooding Ttee                   Britta M Gooding Ttee            Brittany Cotton Swain
Britta Gooding Md 401K Plan             Britta Gooding Md Dbpp           4296 Skipjack Cr
U/A Dtd 11/17/2006                      U/A Dtd 11/17/2006               Niceville, FL 32578
PO Box 386                              PO Box 386
Stinson Beach, CA 94970                 Stinson Beach, CA 94970



Brittany S Bradley                      Brittany Younger                 Brittney Brewer Nobles
13434 S San Pedro Street                1132 E 149Th St                  19811 Lockwood Road
Los Angeles, CA 90061                   Compton, CA 90220                Manor, TX 78653
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Brittney Michelle Lee                   Britton Strawn                           Broadbent Land Resources LLC
3535 Cr 234D                            3232 Preston Hollow Rd                   PO Box 734
Henderson, TX 756524030                 Fort Worth, TX 76109-2051                Evanston, WY 82931




Broadridge Ics                          Broadway Bank                            Brock Marshall
PO Box 416423                           1177 N E Loop 410                        2123 Industrial Ave
Boston, MA 02241                        San Antonio, TX 78209                    319
                                                                                 San Angelo, TX 76904




Broderick Gupton                        Brodie D Telford                         Brody Edward Colvin
2808 Fm 225 S                           Margaret Joyce Telford                   132 Mathews Blvd
Henderson, TX 75654                     1599 Mitcham Orchard Rd                  Lafayette, LA 70508
                                        Ruston, LA 71270




Brog Gp LLC                             Brogna Oil And Gas Co LLC                Broken Arrow Partners LLC
600 N Dairy Ashford Road                PO Box 1508                              4618 Fairfax Avenue
Houston, TX 77079                       Sand Spring, OK 74063                    Dallas, TX 75209




Broken Arrow Pest Control LLC           Broken Spoke Welding Construction        Bronco Environmental LLC
PO Box 115                              422 Maxwell Street                       PO Box 5911
Livingston, TX 77351                    Marbleton, WY 83113                      Longview, TX 75608




Bronco Oilfield Services                Bronco Oilfield Services Inc             Bronco Oilfield Services Inc
PO Box 910283                           A Cudd Pressure Company                  PO Box 203379
Dallas, TX 75391                        PO Box 910283                            Dallas, TX 75320
                                        Dallas, TX 75391




Broncs Inc                              Bronda F Johnson                         Bronfman E L Rothschild L P
PO Box 12370                            1811 East Loma Vista Drive               10 Terrace Court Suite 103
Odessa, TX 79768                        Tempe, AZ 85282                          Madison, WI 53718




Bronson Clemens                         Bronte Hometown Hardware                 Bronwyn Davies
7064 Richlynn Terrace                   Box 384                                  PO Box 308
Fort Worth, TX 761185118                Bronte, TX 76933                         Fairfield, ID 83327




Brooke M Beresh                         Brooke Nicole Lesan                      Brookfield Asset Management Inc
Charles Schwab Co Inc Cust              18509 S Butternut St                     Brookfield Place Suite 300
Ira Contributory                        Gardner, KS 66030                        181 Bay Street
1912 2nd Ave N                                                                   Toronto, ON M5J 2T3
Seattle, WA 98109                                                                Canada



Brookfield Bpy Holdings Inc             Brookfield Bpy Property Holdings I Inc   Brookfield Bpy Retail Holdings I Inc
Brookfield Place Suite 300              Brookfield Place Suite 300               Brookfield Place Suite 300
181 Bay Street                          181 Bay Street                           181 Bay Street
Toronto, ON M5J 2T3                     Toronto, ON M5J 2T3                      Toronto, ON M5J 2T3
Canada                                  Canada                                   Canada
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Brookfield Property L P                   Brookfield Property Partners L P         Brooks Arnold Kerr
Brookfield Place Suite 300                Brookfield Place Suite 300               817 Kingswood Drive
181 Bay Street                            181 Bay Street                           Tyler, TX 75703
Toronto, ON M5J 2T3                       Toronto, ON M5J 2T3
Canada                                    Canada



Brooks Children LLC                       Brooks Ellen O Hamaker                   Brooks Petroleum Company
701 South Spring Lake Circle              PO Box 2425                              PO Box 921
Terry, MS 39170                           Monroe, LA 71207                         Kilgore, TX 75663-0921




Brooks Purnell                            Brookxie Jean Malray Separate Property   Brothers Oilfield Service Supply LLC
7114 Claybrook                            9801 Winslow Place                       Tait Faulk
Dallas, TX 75231                          Kansas City, MO 64131                    PO Box 53408
                                                                                   Lafayette, LA 70505




Brothers Quality Well Service LLC         Brothers Well Services                   Broughton Petroleum Inc
1454 State Highway 67                     11700 Katy Frwy Suite 300                PO Box 1389
Graham, TX 76450-7011                     Houston, TX 77079                        Sealy, TX 77474




Brown Associates                          Brown Badgett Sr Trust                   Brown Bolt Nut Corp
1800 W Roller Coaster Rd                  PO Box 1271                              15523 Minnesota Ave
Tucson, AZ 85704                          Madisonville, KY 42431                   Paramount, CA 90723-4118




Brown Brothers H                          Brown Brothers H                         Brown Brothers Harriman Co
Attn Rob Fowler                           Attn Rob Fowler                          140 Broadway
525 Washington Boulevard                  Attn Proxy Dept Phxpeak 01 1B574         New York, NY 10005
New Port Towers                           2423 E Lincoln Drive
Jersey City, NJ 07302                     Phoenix, AZ 85016



Brown Contractors Inc                     Brown Downhole Tools LLC                 Brown Drake Royalties LLC
1478 Bear Knoll Dr                        2902 Carrie Drive                        c/o Noble Royalties Inc
Quitman, LA 71268                         Longview, TX 75605                       PO Box 660082
                                                                                   Dallas, TX 75266




Brown Emma Jean Bryan                     Brown Fortunato Pc                       Brown Foundation
Betty Lou B Quinsenberry                  905 S Fillmore St 400                    320 Hammond Hwy Ste 500
3113 Thomas Avenue                        Amarillo, TX 79101                       Metairie, LA 70005
Montgomery, AL 36106-2425




Brown Herschel G                          Brown Lake Fishing Club                  Brown Mccullough Humphrey
5 Westchester Court                       c/o M L Allen                            4614 Gilbert Dr
Heath, TX 75032                           1005 Briarcreek Dr                       Shreveport, LA 71106
                                          Arlington, TX 76012




Brown Thomas L                            Brownfield Family Trust                  Brownfield LLC
2166 Mckenzie Road                        8569 E Aloe Dr                           PO Box 421146
Campbell, TX 75422                        Gold Canyon, AZ 85118                    Atlanta, GA 30342
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Brownie N Cox                              Browning Dixon Properties LLC       Browning William Lanier
7573 Bent Oak Lane                         c/o Roger C Dixon Manager           115 Hampton Grove Way
Tyler, TX 75708                            10450 Lottsford Rd 2217             Greenville, SC 29617-7905
                                           Mitchellville, MD 20721




Brownland Corporation                      Brownlee Revocable Living Trst      Brp LLC
PO Box 2470                                4515 Chateau Dr                     1201 Louisiana St Ste 3400
Monroe, LA 71207-2470                      San Diego, CA 92117                 Houston, TX 77002-5632




Bruce A Gillespie Jr                       Bruce A Hamlin                      Bruce A Hinchey Living Trust
305 N Rusk Street                          5304 Baton Rouge                    PO Box 50792
Overton, TX 75684                          Frisco, TX 75035                    Casper, WY 82605




Bruce A Leslie M Lawson Succ               Bruce A Spacek                      Bruce Allen
Co Tr Lawson Lvg Trst 8 27 92              8486 Karlstad Cv                    2878 Hwy 33
4515 S Skyline Road                        Cordova, TN 38018                   Ruston, LA 71270
Casper, WY 82604




Bruce Allen Wanda T Allen                  Bruce Barton Alice Mozelle Barton   Bruce Berwager
2878 Hwy 33                                588 West Country Club Road          Address Redacted
Ruston, LA 71270                           Hallsville, TX 75650




Bruce Brooks Jr                            Bruce Carroll Ayres                 Bruce D Jones
PO Box 237                                 Mary Culpepper Ayres                3724 Cr 4260
Calhoun, LA 71225                          124 Amy Ln                          Mount Pleasant, TX 75455
                                           Ruston, LA 71270




Bruce Douglas Franklin                     Bruce E Williams                    Bruce Edward Brown
Pamela D Franklin                          12648 Cr 499                        8600 Ruddington Dr
301 Demoss Road                            Lindale, TX 75771                   Austin, TX 78748
Plain Dealing, LA 71064




Bruce Edwin Martin                         Bruce Friedman                      Bruce Gene Curtis
8600 Bridge Street                         310 S Helena Ave                    894 Young Dairy Court
N Richland Hill, TX 76180                  Arlington Heights, IL 60005-3835    Herndon, VA 20170




Bruce Graham Roberts                       Bruce Gray Mcwilliams               Bruce H Angle
PO Box 7125                                593 Airway Avenue                   1010 S Threave Avenue
Shreveport, LA 71137                       Tyler, TX 75704                     Kuna, ID 83634




Bruce H Beeson                             Bruce H C Harris                    Bruce H C Hill
3737 South Hills Ave                       PO Box 1817                         5111 Broadway
Ft Worth, TX 76109                         San Antonio, TX 78296               San Antonio, TX 78209-5709
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Bruce Ihrig                              Bruce J Farrall               Bruce L Permenter
6203 Lacoste Love Ct                     1117 Morningstar Trl          15811 Roxton Ridge
Spring, TX 77379                         Richardson, TX 75081          Webster, TX 77598




Bruce L Rogers                           Bruce L Wilson                Bruce Lee Dubose
1604 S Summer St                         1127 Judson Rd Suite 254      3423 Blue Candle
El Dorado Springs, MO 64744              Longview, TX 75601            Spring, TX 77388




Bruce Lemaire                            Bruce Linden                  Bruce M Burns
3207 77Th St                             811 Greenvalley Lane          178 Stonehollow Road
Lubbock, TX 79423                        Highland Village, TX 75077    Fletcher, NC 28687




Bruce M Thompson Family Lp               Bruce Malone                  Bruce Maxfield
39313 Spanish Bay Place                  126 Hunter St                 3216 Sachse Rd
Davis, CA 95616                          Homer, LA 71040               Garland, TX 75048




Bruce Mccommons                          Bruce Mcmillan Jr Fndn Inc    Bruce N Cheatham
PO Box 954                               PO Box 9                      118 W Jordan St
Dallas, TX 75313                         Overton, TX 75684             Grand Saline, TX 75140-1806




Bruce N Nancy N Stevens                  Bruce Norris Waller           Bruce Ogilvie
PO Box 2434                              7949 Lost Tree Drive          121 S Broadway Suite 572
Durango, CO 81302-2434                   Boardman, OH 44512            Tyler, TX 75702




Bruce Owen Kilgore                       Bruce R Hogan                 Bruce Riddle
532 Rocky Springs Rd                     320 Westmoor Dr               6109 Rocky Point Trail
Homer, LA 71040                          Lebanon, IN 46052-1478        Forth Worth, TX 76135




Bruce Samford                            Bruce Temple                  Bruce Truitt Sp
11656 State Hwy 87 N                     5245 Hwy 191                  18376 Wisp Willow Way
Timpson, TX 75975                        Mansfield, LA 71052           Porter, TX 77365




Bruce W Bommarito And Sandra Bommarito   Bruce W Wormser               Bruce Wade Bommarito
5675 Cr 438 West                         427 Montrose St Apt 214       5675 Cr 438 W
Henderson, TX 75654                      San Antonio, TX 78223-2671    Henderson, TX 75654




Bruce Wells                              Brunelli Bonnie Sue Reed      Brunet Family Tr Dtd 2 16 94
Et Ux Tammie Wells                       426 Whispering Hills          Thomas R Brunet Trustee
764 Cr 3794                              Coppell, TX 75019             7811 Fern Vale Ct
Joaquin, TX 75954                                                      Sugar Land, TX 77479
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Bruni Mineral Trust 2                    Bruni Mineral Trust No 2                Bruno Marshall Investments
Jc Martin Iii B Chamberlain              PO Box 452489                           PO Box 590
PO Box 452489                            Laredo, TX 78045                        Midland, TX 79702
Laredo, TX 78045




Brunson Legacy Partnership               Brunson Ranch Co Ltd                    Brunson W Donald
c/o Andrew Grier Brunson                 PO Box 50492                            20 East Broad Oaks Dr
214 W Texas Ste 1020                     Midland, TX 79710                       Houston, TX 77056
Midland, TX 79701-4616




Brush Country Bank                       Brush Country Hotshot LLC               Brush Country Weed Control LLC
902 E Riley St                           7545 Rancho Vista                       PO Box 450055
Freer, TX 78357                          Corpus Christi, TX 78414                Laredo, TX 78045




Brush Creek Interests LLC                Bruster Nell Jb                         Bryan A Lawhon
9337B Katy Freeway Ste 207               523 Ynne Road                           6222 Holly Springs
Houston, TX 77024                        Willis Point, TX 75169                  Houston, TX 77057




Bryan Bartlett Irrevocable Tr            Bryan Bell                              Bryan C Rice Cpa
Regions Morgan Keegan Trust              2243 The Cir                            3 Burton Hill Rd
Nnre Ops Group                           Raleigh, NC 27608-1447                  Weatherford, TX 76087-9214
PO Box 11566
Birmingham, AL 35202



Bryan Chan                               Bryan D Beck                            Bryan Dorsey Dba New London Contractors
3045 South Court                         5678 Longwood Lane                      Dba New London Contractors
Palo Alto, CA 94306                      Beaumont, TX 77707                      PO Box 228
                                                                                 New London, TX 75682




Bryan Ewing                              Bryan French                            Bryan Frye
Address Redacted                         4759 Lake Village Dr                    14124 Pinehurst Avenue
                                         Fulshear, TX 77441                      Baton Rouge, LA 70817




Bryan Gossett                            Bryan Gray                              Bryan Harris
PO Box 10343                             102 S Hwy 115                           5810 Crittenden Ave
Midland, TX 79702                        Kermit, TX 79745                        Indianapolis, IN 46220




Bryan Hock                               Bryan J Cook Winifred T Cook            Bryan J Gonzalez
416 Travis                               Revocable Living Trust                  2419 E Locust
Suite 812                                Winifred T Cook Trustee                 Laredo, TX 78043
Shreveport, LA 71101                     6222 Marquita Ave
                                         Dallas, TX 75214



Bryan J Winifred T Cook                  Bryan K Tippen And Theresa L P Tippen   Bryan Kearney
Rev Liv Tr Dtd 10/23/98                  320 Cheniere Hills Dr                   Address Redacted
B Thomas Cook Ttee                       West Monroe, LA 71291
2025 Colquitt St Unit F
Houston, TX 77098
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Bryan Keith Hitt Individually           Bryan Keith Singleton           Bryan Lee Bradley
116 Valley Gate Road                    128 Staton Rd                   127 County Road 991
Simi, CA 93065                          Haughton, LA 71037              Wortham, TX 76693




Bryan Maxey                             Bryan O Blevins                 Bryan P Bazer
PO Box 3512                             1810 Champions Drive            7318 Montclair Dr
Longview, TX 75605                      Lufkin, TX 75901                Shreveport, LA 71105-5018




Bryan Phillip Atkins                    Bryan Ray Et Ux                 Bryan Rogers
1501 Atkins Road Lot 7                  Leslie Ray                      429 Lower Myrick Rd
Ruston, LA 71270                        3239 Hwy 544                    Laurel, MS 39443-9610
                                        Ruston, LA 71270




Bryan T Tillery                         Bryan Torrey Forman Trust       Bryan W Pershern
c/o Texas State Treasury                Bryan Forman Trustee            5935 Bonnard Dr
Unclaimed Property Division             15980 Mcelroy Rd                Dallas, TX 75230
PO Box 12019                            Whitehouse, TX 75791
Austin, TX 78711-2019



Bryan Wayne Mcmullen                    Bryant Duggan                   Bryant Electric
PO Box 233                              Rr 2                            PO Box 1344
Huntington, TX 75949                    Shreveport, LA 71129            Levelland, TX 79336




Bryant Electric Dba Ricky L Bryant      Bryant J Celestine              Bryce I Benbow
Ricky L Bryant                          545 Fm 2500                     3104 Beverly Dr
PO Box 1344                             Livingston, TX 77351-4698       Dallas, TX 75205
Levelland, TX 79336




Bryon C Russell                         Bryston Lewis                   Brzozowski Anthony
20455 Deer Hollow Dr                    128 Jennifer Lane Apt 1         Address Redacted
Edmond, OK 73003                        Monroe, LA 71203




BS Contractors                          BS Electrical Of Arklatex LLC   BS Hotshot LLC
PO Box 146                              PO Box 56                       44 Lakota Drive
Selman City, TX 756890146               Homer, LA 71040                 Rock Springs, WY 82901-6792




Bsap Ii Inc                             Bsc Rod Lift Solutions          Bsd Promo LLC
1001 Fannin Ste 2020                    PO Box 842576                   16312 Garfield Ave
Houston, TX 77002                       Dallas, TX 75284-2576           Suite G
                                                                        Paramount, CA 90723




Bsee                                    Bsi Holdings Management         Bsnr Raptor Lp
770 Paseo Camarillo 2nd Floor           11700 Katy Frwy Suite 300       1001 Fannin Suite 2020
Camarillo, CA 93010                     Houston, TX 77079               Houston, TX 77002
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Bsp Energy LLC                          Bst Lift Systems Inc                 BsW Solutions LLC
Dba Gross Energy                        4450 Dupont Court Unit C             6655 S Lewis Ave
PO Box 335                              PO Box 25330                         Ste 200
Ben Wheeler, TX 75754                   Ventura, CA 93002                    Tulsa, OK 74136




BT Inc                                  Bt S Trucking Services LLC           Bta Oil Producers
PO Box 124                              2201 Myrtle St                       104 South Pecos
Rock Springs, WY 82902                  Odessa, TX 79761                     Midland, TX 79701




Bti Services Inc                        Btp Contractors Inc                  Bucher Family Trust
2202 Oil Center Court                   266 Tom Robinson Rd                  Mary Warren Trustee
Houston, TX 77073                       Homer, LA 71040                      266 Buttercup Circle
                                                                             Altamonte Springs, FL 32714




Bucher Family Tst Dtd 7/26/96           Buck Buchanan                        Buck Florence Estate
Harold B Bucher Mary Malta Bucher       Dba Buchanan Fence Company           Tommy C Turner Succ Indp Exec
Trustees                                PO Box 296                           PO Box 1471
545 Gamewell Avenue                     Judson, TX 75660                     Longview, TX 75606
Maitland, FL 32751



Buck Payne Jr And Minnie Carrol Payne   Buck Scott Deceased                  Buck Wayne Mcneil
PO Box 655                              1106 West Elm Street                 3302 53Rd St
Gladewater, TX 75647                    Marshall, TX 75670                   Lubbock, TX 79413




Buckeye Investments LLC                 Buckeye Partners L P                 Buckholts Family Trust
5920 East Ridge Dr                      One Greenway Plaza                   Marvin L Groves Trustee
Shreveport, LA 71106                    Suite 600                            1522 Primrose Drive
                                        Houston, TX 77046                    Wichita Falls, TX 76302




Buckhorn Inc                            Buckner Family Tr                    Buckner Foundation
24292 Network Place                     Jerry L Karla Joan Buckner Co Ttee   c/o Baptist Found Of Tx Agent Aif
Chicago, IL 60673                       130 Madison Ave                      1601 Elm St Ste 1700
                                        Many, LA 71449                       Dallas, TX 75201




Buckner International                   Bucy Properties LLC                  Bud Mcgee
c/o Baptist Fndn Of Texas               1775 Sherman St                      5450 S 500 E
1601 Elm St Ste 1700                    Ste 2950                             Lafayette, IN 47909-9307
Dallas, TX 75201                        Denver, CO 80203




Buddy Boy LLC                           Buddy L Jackson Unleased             Buddys Testers Inc
100 North Broadway                      1200 Riverside Drive 162             PO Box 221
Suite 2460                              Burbank, CA 91506                    Sweetwater, TX 79556
Oklahoma City, OK 73102




Buena Vista Isd                         Buffalo Isd                          Buffalo Joint Venture 1987 I
Deborah S Braden Tax A/C                PO Box 157                           13135 Champions Dr Ste 106
PO Box 310                              Buffalo, TX 758310157                Houston, TX 77069
Imperial, TX 79743
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Buffalo Joint Venture 1991 I              Buffco Production Inc          Buffco Production Inc
13135 Champions Dr Ste 106                5006 State Hwy 31 North        PO Box 2243
Houston, TX 77069                         Longview, TX 75603             Longview, TX 75606-2243




Buffey Renee Vestal                       Buffington Properties LLC      Buffy Energy LLC
408 Hollybrook                            2210 Pargoud Boulevard         Janet K Baxter Poa
Gilmer, TX 75644                          Monroe, LA 71201               PO Box 1649
                                                                         Austin, TX 78767




Buford Duff                               Buford R Brazzil               Buford Reeves
116 Aransas Ave                           1310 Spring Oak Circle         115 Juniper Street
Levelland, TX 79336                       Houston, TX 770554703          Mansfield, TX 76063




Bug Express Inc                           Bugged Out Exterminating       Build Rite
2210 Austin                               PO Box 235                     PO Box 297
San Angelo, TX 76903                      Judson, TX 75660               Rawlins, WY 82301




Building Inspections Plus                 Bull Barrett LLP               Bull Mountain Transfer Inc
9522 Teche Way Dr                         1127 Judson Road Ste 120       PO Box 1324
Shreveport, LA 71118                      Longview, TX 75601             Big Piney, WY 83113




Bull Run Acquisitions LLC                 Bulldog Chemicals LLC          Bulldog Energy Services LLC
PO Box 471171                             29030 Lake Houston Lane        Steve Heifer
Fort Worth, TX 76147                      Huffman, TX 77336              838 21 1/2 Road
                                                                         Grand Junction, CO 81505




Bulldog Field Services LLC                Bulldog Wireline Inc           Bullseye Construction LLC
PO Box 1689                               18462 Highway 21 W             PO Box 1112
Ruston, LA 71273-1689                     North Zulch, TX 77872          Artesia, NM 88211




Bullseye Testing LLC                      Bullwhip Catering              Bullzeye Oilfield Services LLC
PO Box 10317                              PO Box 322                     581 Cr 307
Midland, TX 79702                         Casper, WY 82602               Tye, TX 79563




Bunger Holdings LLC                       Bunker Hill Castle Trust       Bunnie Anne Crichton
517 Fourth St                             Bank Of America Na Trustee     PO Box 266
Graham, TX 79701                          OG Succ Trustee                Palm Beach, FL 33480
                                          PO Box 840738
                                          Dallas, TX 75284-0308



BurbackS Inc                              BurbackS Refrigeration Inc     Burdick Associates Pc
Sally Tuttle                              Greg Burback                   8390 E Crescent Parkway
500 W 1st                                 500 W 1st St                   Suite 110
Casper, WY 82601                          Casper, WY 82601               Greenwood Villag, CO 80111
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Bureau Of Economic Geology              Bureau Of Economic Geology      Bureau Of Employment Programs
The University Of Texas At Austin       University Of Texas At Austin   112 California Ave
Beverly Blakeney Dejarnett              University Station Box X        Bldg 6 Rm B749
11611 West Little York Road             Austin, TX 787138924            Charleston, WV 25305
Houston, TX 77041



Bureau Of Indian Affairs                Bureau Of Land Management       Bureau Of Land Management
Anadarko Agency                         1300 North Third                1849 C Street NW Rm 5665
802 Progress Drive                      PO Box 2407                     Washington, DC 20240
Farmington, MO 63640                    Rawlins, WY 82301-2407




Bureau Of Land Management               Bureau Of Land Management       Bureau Of Land Management
280 Highway 191 North                   301 Dinosaur Trail              Cheyenne State Office
Rock Springs, WY 82901                  Santa Fe, NM 87508              5353 Yellowstone Rd
                                                                        Cheyenne, WY 82009




Bureau Of Land Management               Bureau Of Land Management       Bureau Of Land Management
High Desert District                    PO Box 1828                     Rock Springs Field Office
Kemmerer Field Office                   Cheyenne, WY 82003-1828         280 Highway 191 North
312 Hwy 189 North                                                       Rock Springs, WY 82901
Kemmerer, WY 83101-9711



Bureau of Ocean Energy Management       Bureau Of Reclamation           Bureau of Safety And
Pacific Ocs Region                      Provo Area Office               Environmental Enforcement
Attn Elverlene Williams                 302 E 1860 South                Pacific Ocs Region
760 Pasea Camarillo Suite 102           Provo, UT 84606-7317            760 Paseo Camarillo Suite 102
Camarillo, CA 93030                                                     Camarillo, CA 93010



Bureau Of Safety Environ Enforcement    Buren Delton Vaughn Best        Buren Lavon Lowe
Attn Pacific Ocs Region                 7316 33Rd Avenue Nw             559 County Road 3286
760 Paseo Camarillo Suite 102           Seattle, WA 98117-4709          Joaquin, TX 75954-4365
Camarillo, CA 93010




Buren Lowe And Mary Lowe                Burford I King Trustee          Burford I King Trustee 1
559 Cr 3286                             PO Box 270                      PO Box 270
Joaquin, TX 75954                       Fort Worth, TX 76101            Fort Worth, TX 76101




Burford King Trustee                    Burford Ryburn LLP              Burgess Estate Trust
PO Box 270                              3100 Lincoln Plaza              Jane Burgess Philipp
Ft Worth, TX 76101                      500 North Akard                 PO Box 596
                                        Dallas, TX 75201                Joaquin, TX 75954




Burgess Scott Lewis                     Burk Royalty Co Ltd             Burke Greis Oil Co
5930 S Lakeshore Drive                  4245 Kemp Blvd Ste 600          2929 S Utick
Shreveport, LA 71119                    Wichita Falls, TX 76308         Tulsa, OK 74114




Burkhart Enterprises Inc                Burl E Parks                    Burleson Cooke LLP
4904 Lakeridge Drive                    181 Four Ponds Ln               711 Louisiana Ste 1701
Lubbock, TX 79424                       Sky Valley, GA 30537-2409       Houston, TX 77002
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Burleson Emma Lou Blair                Burleson LLP                        Burlington Resources Oil Gas
221 Quail Creek Drive                  PO Box 131599                       22295 Network Place
Carthage, TX 75633                     Spring, TX 77393-1599               Chicago, IL 60673-1222




Burman Energy LLC                      Burman Oil Gas Company              Burnett Companies Consolidated Inc
27622 Hegar Road                       27622 Hegar Road                    PO Box 973940
Hockley, TX 77447                      Hockley, TX 77447                   Dallas, TX 75397-3940




Burnett Jackson                        Burney Wilson                       Burnham Construction Inc
2111 Holly Hall St Apt 108             3302 Storey Lake                    3490 Hwy 167
Houston, TX 77054-3907                 Tyler, TX 75707                     Dubach, LA 71235




Burnie Mims Watson Iii                 Burnis L Walker                     Burns Mekiela L
7977 Highway 34                        143 Verna Dr                        Address Redacted
Eros, LA 71238                         Jena, LA 71342




Burns Forest Products Inc              Burns Wall And Mueller Pc           Burns Welding Works Inc
PO Box 638                             303 East 17Th Avenue                PO Box 3121
Jonesboro, LA 71251                    Suite 800                           Midland, TX 79702-3121
                                       Denver, CO 80203-1260




Buron Wayne Risinger                   Burroughs Oil Resources LLC         Burrow Gretchen L
2801 W Sunset Dr Apt 4                 5132 Briar Tree Drive               19 Destino Way
Orange, TX 77630                       Dallas, TX 75248                    Mission Viejo, CA 92692




Burt Allen King                        Burt Danley Lomax Et Ux             Burt Danley Lomax Separate Property
6650 Fm 225 South                      Peggy Ann Krivonic Lomax            313 Northwind Dr
Henderson, TX 75654                    313 Northwind Dr                    Brandon, MS 39047
                                       Brandon, MS 39047




Burton Charles Roe                     Bush Family Trust                   Business Entity Data B V
21276 White Pine Drive                 Violet Geneva Bush Trustee          Bernhardplein 200
Tehachapi, CA 93561                    3737 Summer Lane                    Amsterdam 1097 JB
                                       Huntsville, TX 77340                Netherlands




Business First                         Business First Bank                 Bussey Nathan G
Fbo Ene Consultants Llc                Attn Aim Directional Services Llc   PO Box 1350
PO Box 842094                          PO Box 52930                        Hallsville, TX 75650
Boston, MA 02284-2094                  Lafayette, LA 70505




Butchs Rathole Anchor Service Inc      Butchs Trucking Inc                 Butkin Investment Company LLC
PO Box 1323                            PO Box 1631                         PO Box 2090
Levelland, TX 79336-1323               Levelland, TX 79336                 Duncan, OK 73534
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Buttram Energies Inc                     Buttram Oil Properties LLC     Buxton Interests Inc
3012 Ridge Road                          PO Box 21744                   9346 Telge Road
Suite 202                                Oklahoma City, OK 73156-1744   Houston, TX 77095
Rockwall, TX 75032




BW Auto Supply                           Bw Energy Consultants Inc      Bw Royalty Ltd
PO Box 202                               516 S Spring Ave               PO Box 972360
Holliday, TX 76366                       Tyler, TX 75702                Dallas, TX 75397-2360




Bwab Inc                                 Bws Holdings Management        Bxp Partners 1 Lp
475 17 St Ste 1390                       Superior Energy Services       PO Box 7227
Denver, CO 80202                         11700 Katy Frwy Suite 300      Dallas, TX 75209-0227
                                         Houston, TX 77079




Bxp Partners Ii Lp                       Byerley Partners Ltd           Byers Automation LLC
Attn C Douglas Brown                     PO Box 175                     344 Columbine Drive
PO Box 7227                              Midland, TX 79702              Rifle, CO 81650
Dallas, TX 75209




Byram Environmental Consultant           Byrd Goodwin Individually      Byrd Goodwin Trust
401 Edwards Street                       4009 Post Oak                  Mary Kay Goodwin Bateman Ttee
Suite 2110                               Tyler, TX 75701                218 Heritage Cir
Shreveport, LA 71101                                                    Tyler, TX 75703




Byrd Oilfield Services LLC               Byron Ballenger Jones          Byron Cotton
PO Box 7269                              4322 W Monte Way               16415 Ledge Park
Abilene, TX 79608                        Laveen, AZ 85339               San Antonio, TX 78232




Byron Hartzell Schaff                    Byron Hudson Rainwater Jr      Byron K Feduccia Susan L Feduccia
5955 Brock Road                          3737 E Cartwright Rd           1300 Mesa St
Ardmore, OK 73401-0309                   Mesquite, TX 75181-2841        Ruston, LA 71270




Byron K Miller Jr Martha Miller          Byron Kelly                    Byron Lee Hancock
2200 Ashland                             1850 Durwood Lane              3505 Sunset Lane
Ruston, LA 71270                         Lot 46C                        Arlington, TX 76016
                                         Duluth, GA 30096




Byron M Duncan                           Byron Ricardo Holmessr         Byron Rife Es Trst Frost Bank
Linda S Duncan Poa                       1068 Winding Down Way          Account F0280600 T 6
PO Box 736                               Grayson, GA 30017              PO Box 1600
Henderson, TX 75653                                                     San Antonio, TX 78296




Byron Taliaferro                         Byron W Spinks And             C A Brashear
23 Hollyhock Lane                        La Vona Lynette R Spinks       18 Ramblewood Dr
Aliso Viejo, CA 92656                    6076 Albany Road               Longview, TX 75605-3351
                                         Shreveport, LA 71107
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C A Graves                              C A Martin Iii                     C A Mayfield
1907 Cr 121                             3509 Lake Desiard Dr               4601 Green Meadow
Gary, TX 75643                          Monroe, LA 71201                   Mckinney, TX 75070




C A Reeves Et Ux                        C A Short Company                  C A Steed Investments Lp
Sybil Cook Reeves                       PO Box 890151                      4512 Pershing Ave
805 Horton Street                       Charlotte, NC 28289-0151           Fort Worth, TX 76107-4246
Minden, LA 71055




C A White Wireline Services             C B Brown LLC                      C B Castleberry
PO Box 156                              PO Box 578                         506 North Jean Drive
Casper, WY 82602                        Brookshire, TX 77423               Longview, TX 75603




C B Lynch Iii                           C B Moncrief                       C B Rowan
3008 Hickory Ridge Cir                  Moncrief Bldg                      3741 East 47Th Street
Bryan, TX 77807                         950 Commerce Street                Tulsa, OK 74135
                                        Fort Worth, TX 76102-5418




C B Tang Md Inc                         C C Hawes Jr                       C C Hotshot Services
PO Box 16149                            8833 Creswell Rd                   3314 Colcon Rd
Long Beach, CA 90806                    Shreveport, LA 71106               Bryan, TX 77808




C C Johnson Jr                          C C M P LLC                        C C Movers
2913 15Th Avenue North                  c/o Argent Property Services Llc   620 N Glenwood
Texas City, TX 77590                    PO Box 1410                        Tyler, TX 75702
                                        Ruston, LA 71273-1410




C C Nicholas                            C C Oil Field Services             C C Oilfield Construction
10010 Cristincoates Ct                  2905 County Road 205 N             PO Box 532
Shreveport, LA 71118                    Henderson, TX 75652-9320           New London, TX 75682




C C Oilfield Hauling                    C C Shelton Heirs                  C C Sorrells
PO Box 107                              10 Rambling Road                   PO Box 6590
Kurten, TX 77862-0107                   Longview, TX 75604                 Metairie, LA 70001




C Cody White Jr Trustee                 C Colley Ii Ltd                    C D Parrott Properties L L C
For Margaret C Marshall                 Attn Courtenay Taylor              PO Box 732
PO Box 1607                             PO Box 720429                      Ruston, LA 71334
Shreveport, LA 71165                    Dallas, TX 75372




C Dan Bump                              C Dell Cantrell                    C Don Harris
2743 Manila Lane                        124 Post Oak                       c/o Law Office of Dean A Searle PC
Houston, TX 77043                       Baytown, TX 77520                  PO Box 910
                                                                           305 West Rusk Street
                                                                           Marshall, TX 75671
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C Douglas Brown                          C Dwayne Parrott                          C Dylan Coy
PO Box 7227                              5822 S Meadow                             PO Box 442
Dallas, TX 75209                         Pasadena, TX 77505                        Palestine, TX 75802




C E B Oil Co                             C E Barham Estate                         C E Barham Interests LLC
1320 Lake St                             824 Oneonta St                            PO Box 6244
Fort Worth, TX 76102                     Shreveport, LA 71106                      Shreveport, LA 71136-6244




C E Brehm                                C E Bryson                                C E Florence Jr Trust
203 Petroleum Bldg                       c/o Texas State Treasury                  Mary Shelton Florence Et Al
Casper, WY 82601                         Unclaimed Property Division               Ind Co Trustees
                                         PO Box 12019                              PO Box 195067
                                         Austin, TX 78711-2019                     Dallas, TX 752198601



C E Moore Sr Trust U/A                   C E Moore Sr Trust U/A                    C F Horton Jr
F/B/O C E Moore Jr Tst 2                 Fbo C E Moore Jr Tst 1                    731 Evangeline
Bank Of Americana Randall D Moore        Bank Of Americana C E Moore               Shreveport, LA 71106
PO Box 840738                            PO Box 840738
Dallas, TX 75284-0738                    Dallas, TX 75284-0738



C F Kuykendall                           C F Kuykendall And Wife Ruth Kuykendall   C F Richards Jr
PO Box 942                               PO Box 942                                2404 Onion Creek Parkway
Tatum, TX 75691                          Tatum, TX 75961                           Austin, TX 78747




C F Smith                                C G Joyce Jr Investments Lp               C Glenn Southerland
1904 Juniper Dr Apt 117                  PO Box 1338                               11402 Fm 2625 W
Alamogordo, NM 88310                     Palestine, TX 75802                       Hallsville, TX 75650




C H Fenstermaker Associates LLC          C H Fenstermaker Assocs LLC               C H Murphy Jr
Gregory L Palmer                         Dept 0156                                 Johnie Murphy
135 Regency Square                       PO Box 120156                             200 North Jefferson Suite 400
Lafayette, LA 70508                      Dallas, TX 75312-0156                     El Dorado, AR 71730




C H Ramirez Minerals Ltd                 C H Roberts Jr                            C H Welding And Fabricating Inc
3116 Fair Oak Drive                      PO Box 1142                               PO Box 868
Laredo, TX 78045                         Gilmer, TX 75644                          Caldwell, TX 77836




C Hilton Alexander                       C Hinton Enterprises                      C Hinton Enterprises Fishing
PO Box 250969                            PO Box 14187                              Rental Tools
Plano, TX 75025                          Odessa, TX 79768                          PO Box 14187
                                                                                   Odessa, TX 79768




C Howard Pamela Flanagan                 C Hoyt Moncrief                           C I Francis Oil Gas
Tst U/A 2/13/09                          336 Waterside St                          Property Tr 0390 Farmers
505 Willowdale Court                     Port Charlotte, FL 33954-3124             National Co Agent Oil Gas Dept
Nixa, MO 65714                                                                     PO Box 3480
                                                                                   Omaha, NE 68103
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C I Oil Inc                              C J Holloway Family Trust        C J Major Trust
PO Box 44203                             c/o Wynelle M Holloway Co Ttee   Pnc Bank
Shreveport, LA 71130                     PO Box 432                       Minerals Section
                                         Athens, TX 75751                 116 Allegheny Center Mall
                                                                          Pittsburgh, PA 15212



C J Scott                                C K Adams                        C K Crews Oil Interests LLC
10318 Willowgrove                        PO Box 1085                      c/o Carolyn C Hodill
Houston, TX 77035                        Casper, WY 82602                 109 Bright Star Dr
                                                                          Columbia, MO 65203




C K Trucking                             C Kyle Smith                     C Kyle Smith Individually And
PO Box 606                               1201 Nw Loop 281                 As Agent And Attorny In Fact
Monahans, TX 79756                       Suite 200                        For Cheyenne Smith G P Smith III
                                         Longview, TX 75604               1201 Nw Loop 281 Suite 200
                                                                          Longview, TX 75604



C L Allen Sep Prop                       C L Givens Jr                    C L Heaton
294 Allen Road                           225 Forrest Street               5534 East Galbraith Road 25
Arcadia, LA 71001                        Bastrop, LA 71220                Cincinnati, OH 45236




C L Lee                                  C L Mccrary Jr                   C L Nelson
PO Box 12940                             3212 Jackson St                  208 Plum Street
Odessa, TX 79768-2940                    Arcadia, LA 71101                West Monroe, LA 71292




C L Paris                                C L Richardson Jr Esch           C Lane Sartor
400 Montgomery                           208 Simms                        708 N Ashley Ridge Loop
Bossier City, LA 71010                   Longview, TX 75604               Shreveport, LA 71106




C Liles Trucking Co Inc                  C Linden Sledge Estate           C M Copeland Rust Trust
PO Box 407                               319 Grassmarket                  c/o Julian E Rust
Tatum, TX 75691-0407                     San Antonio, TX 78259-2322       347 Cleveland Rd
                                                                          Colquitt, GA 39837




C M Harper                               C M Laird Trustee                C Mac Construction Co
68 Lakeshore Drive                       c/o Texas State Treasury         1450 Santa Fe Ave
Little Rock, AR 72204                    Unclaimed Property Division      Long Beach, CA 90813-1218
                                         PO Box 12019 Capitol Station
                                         Austin, TX 78711-2019



C Mason Glasscock Jr Trust               C Michael Obrien                 C Michael Worthington
Terry Brome Glasscock Trustee            2201 Crown Place                 PO Box 1840
11109 Harbor Road                        Abilene, TX 79606                Henderson, TX 75653
Frisco, TX 75035




C N Chamberlain Trust                    C N Electric                     C N M Electric LLC
B E Chamberlain Trust                    591 Cr 2109                      PO Box 903
654 Childress Road                       Elkhart, TX 75839                Lovington, NM 88260
Saint Jo, TX 76265
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C N Royalties LLC                        C Norris Langford Jr                 C O Black Jr
PO Box 580                               PO Box 350                           23058 Apple Arbor
Oil City, LA 71060                       Mt Enterprise, TX 75681              Spring, TX 77373




C O Lippard Jr                           C P Anderson                         C P Trucking
113 Palmo                                2720 Highway 508                     105 Fir St
Luling, TX 78648                         Bienville, LA 71008                  Hereford, TX 79045




C Phil Peters Family Trust               C Q Jane B Cherry Family Tr          C R Boatwright Jr
11066 Jake Pearson Rd                    5949 Sherry Ln Ste 835               3925 Stonebridge
Conroe, TX 77304                         Dallas, TX 75225                     Dallas, TX 75204




C R Boatwright Jr Tst 5627 00            C R Bobby Shoults Brenda L Shoults   C R Devine
Bank Of America Na Trustee               10857 State Hwy 154                  PO Box 925549
PO Box 840738                            Marshall, TX 75670                   Houston, TX 77292
Dallas, TX 75284-0738




C R Hot Shot Services                    C R Hotshot LLC                      C R Hutcheson Trust
818 N Harolds Ave                        333 South Main St                    Wells Fargo Ogm
Odessa, TX 79763-7493                    Heflin, LA 71039-3551                Operations Au 10291
                                                                              PO Box 41779
                                                                              Austin, TX 78704



C S Longcope Oil LLC                     C S Mccall Jr                        C S String Up Services Inc
7157 Joyce Way                           1710 Auburn Drive                    6860 Hickory Grove Road
Dallas, TX 75225                         Carrollton, TX 75007                 Deville, LA 71328




C Stewart Slack                          C T Corporation                      C V Christian
PO Box 12186                             PO Box 4349                          117 Welsh Street 6
Dallas, TX 75225-0186                    Carol Stream, IL 601974349           Mansfield, LA 71052




C W Diving Services Inc                  C W Fire And Safety Inc              C W Ford Rentals
PO Box 2433                              PO Box 6215                          PO Box 3156
National City, CA 91950                  Bossier City, LA 71171-6215          Kilgore, TX 75663




C W Hall Jr                              C W Industries Inc                   C W Lake Associates
12300 Fm 2325                            1735 Santa Fe Ave                    207 W Main St
Wimberly, TX 78676-4108                  Long Beach, CA 90813                 PO Box 1863
                                                                              Kenedy, TX 78119




C W Resources Inc                        C W Services                         C Wayne Smith Barbara F Smith
811 Gilmer Rd                            1735 Santa Fe Ave                    8450 Beechwood Dr
Longview, TX 75604                       Long Beach, CA 90813                 Denham Springs, LA 70706-1840
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C Webb Dean                             C Y And L K Cochran Living Tr           C Y L K Cochran Living Trust
Box 830                                 Dated February 17 2010                  Charles Cochran Iv
Joaquin, TX 75954                       5548 Fm 225 S                           Louise Cochran Truste
                                        Henderson, TX 75654-5181                5548 Fm 225 South
                                                                                Henderson, TX 75654



Ca Office Of State                      Ca State Controllers Office             Ca Chamber Of Commerce
Controller John Chiang                  Unclaimed Property Division             PO Box 537016
Unclaimed Prop Division                 10600 White Rock Rd                     Sacramento, CA 95853-7016
PO Box 942850                           Ste 141
Sacramento, CA 94250-5873               Rancho Cordova, CA 95670



Ca Cleaning Systems Inc                 Ca Container Transport Inc              Ca Dmv Renewal
12038 Rivera Rd                         PO Box 9993                             PO Box 942894
Santa Fe Springs, CA 90670              Long Beach, CA 90810                    Sacramento, CA 94297-0894




CA Franchise Tax Board                  Ca Independent Petroleum Ass            Ca Office Of State Controller
121 Spear Street Suite 400              1001 K Street 6Th Floor                 Division Of Collections
San Francisco, CA 94105-1584            Sacramento, CA 95814                    Bureau Of Unclaimed Property
                                                                                PO Box 942850
                                                                                Sacramento, CA 94250-5873



Ca State Board Of Equalization          CA State Lands Commission               Cab Partnership
Environmental Fees Division             Attn Mark Leclair                       6 Thorntree
PO Box 942879                           Senior Mineral Resources Engineer       Longview, TX 75601-4797
Sacramento, CA 94279-6001               200 Oceangate 12Th Floor
                                        Long Beach, CA 90802



Cabell Gillespie Rev Trust              Cabeza Crossroads Inc                   Cabin 5 LLC
Community Bank Of Raymore               749 Cr 320                              c/o Argent Property Services
PO Box 200                              Runge, TX 78151                         PO Box 1410
Raymore, MO 64083-0200                                                          Ruston, LA 71273




Cabiness Green                          Cable Incorporated                      Cableco
2203 Southwood Rd                       PO Box 590                              2380 Main Street
Jackson, MS 39211                       Sterling, CO 80751-0590                 San Diego, CA 92113




Cabole Ann Tabor                        Cabot Oil Gas Corporation               Cabot Oil Gas Corporation
3510 Janice Dr                          PO Box 4544                             PO Box 972919
Ruston, LA 71270                        Houston, TX 772104544                   Dallas, TX 75397-2919




Cacroc Lmtd Fam Partnership             Cactus Oilfield Services LLC            Cactus Pipe Equipment Co
2925 Braemer                            PO Box 6401                             PO Box 6401
Waco, TX 76710                          Abilene, TX 79608                       Abilene, TX 79608




Cactus Pipe Supply                      Cactus Trucking Oilfield Services LLC   Cactus Wellhead LLC
One Greenway Plaza                      PO Box 6401                             Scott Bender
Suite 325                               Abilene, TX 79608                       One Greenway Plaza Suite 200
Houston, TX 77046                                                               Houston, TX 77046
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Cactus Wellhead LLC                     Cad Simpson Willeford          Cad/Cam Services
Dept 161                                1503 Milford                   1529 Brooklane Ste 201
PO Box 4346                             Houston, TX 77006              Celina, TX 75009
Houston, TX 77210-4346




Caddo Energy Co                         Caddo Management Inc           Caddo Minerals Inc
PO Box 1445                             401 Market Street Suite 500    2714 Bee Cave Rd Ste 202
Bastrop, TX 78602                       Shreveport, LA 71101           Austin, TX 78746




Caddo Parish Clerk Of Court             Caddo Parish Sheriffs Office   Caddo Parish Sheriffs Office
501 Texas St                            501 Texas St 101               Tax Department
Rm 103                                  Shreveport, LA 71101           PO Box 20905
Shreveport, LA 71101                                                   Shreveport, LA 71120-0905




Caddo Public Safety LLC                 Cade Oil And Gas LLC           Cadence Bank N A
Todd Wedgeworth                         11342 Birolli Place            2100 Third Avenue North
PO Box 307                              Littleton, CO 80125            Birmingham, AL 35203
Stonewall, LA 71078




Cadenhead Oil Gas Lp                    Cadwallader Trust              Cady Spencer
PO Box 277                              Baptist Fndn Of Tx             1440 Riverdale St Apt B9
Denton, TX 76202                        1601 Elm St Suite 1700         W Springfield, MA 01089
                                        Dallas, TX 75201




Caerus Northern Rockies LLC             Caerus Operating LLC           Caffey Trucking LLC
1001 17Th St Ste 1600                   1001 17th St 1600              4345 Fm 1183
Denver, CO 80202                        Denver, CO 80202               Ennis, TX 75119




Cagle Fishing Rental Tools Ltd          Caily Enterprises Inc          Cain Electrical Supply
Po Drawer 7769                          4424 Vandergrift Cres NW       PO Box 2158
Odessa, TX 79760                        Calgary, AB T3A 0J2            Big Spring, TX 79721
                                        Canada




Cain Hardware Lumber                    Cain Oil And Land LLC          Cairnbrae Corporation
224 S Shelby Street                     49118 Running Trout Ln         2500 West 81st Street
Carthage, TX 75633                      Northville, MI 48168-6844      Tulsa, OK 74132-2690




Caitlin Dermott                         Caitlin Mary Townsend          Caitlin Sengelaub
7535 Kings Trail                        2220 30Th Street               2384 Winding Brook Circle
Fort Worth, TX 76133                    Galveston, TX 77550            Bloomington, IN 47401




Caitlyn Lowry Brown Minor               Cal Com Federal Credit Union   Cal Farleys Boys Ranch
c/o Wei Lucy Brown                      20723 Hawthorne Blvd           c/o Amarillo Natl Bk OG Dept
2404 Frosted Green Ln                   Torrance, CA 90503             PO Box 1
Plano, TX 75025                                                        Amarillo, TX 79105
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Cal FarleyS Boys Ranch Fdtn             Calahan Liv Tr                           Calbri Energy Inc
c/o Amarillo National Bank OG           Claude A Jr Glynn T Calahan Trsts        4603 Spyglass Ct
PO Box 1                                314 Summit Ave                           College Station, TX 77845
Amarillo, TX 79105                      El Dorado, AR 71730




Calcote Dirt Contracting Inc            Caldwell Dunn As Separate Property       Caldwell Dunn Elaine Woodward Dunn
PO Box 472                              1000 Ward Lane                           1000 Ward Lane
Winters, TX 79567                       Princeton, LA 71067-8486                 Princeton, LA 71067




Caleb Andrew Lee                        Caliber Associates LLC                   Calibration Technicians Supply Inc
3535 Cr 234 D                           4545 Fuller Dr Ste 236                   PO Box 138
Henderson, TX 756524030                 Irving, TX 75038-6519                    Evanston, WY 82931-0138




Calico Investments Inc                  Caliente Oil Inc                         Caliente Oil Inc
4625 Greenville Ave Ste 102             7801 E Main St Ste A                     7801 East Main
Dallas, TX 75206                        Farmington, NM 87402-5130                Farmington, NM 87402




California Board Of Accountancy         California Coastal Commission            California Contractor Supplies
2000 Evergreen St Suite 250             45 Fremont St Suite 2000                 7729 Burnet Ave
Sacramento, CA 95815-3832               San Francisco, CA 94105                  Van Nuys, CA 91405




California Credit Union                 California Department Of Fish Wildlife   California Franchise Tax Board
701 N Brand Boulevard                   1700 K Street Suite 250                  Bankruptcy Mail Stop Be A345
Glendale, CA 91203                      Sacramento, CA 95811                     PO Box 30199
                                                                                 Sacramento, CA 95812-2952




California Gasket And Rubber Corp       California Oil Museum Foundat            California Public Emp Calpers
533 W Collins Ave                       1001 East Maint Street                   400 Q Street
Orange, CA 92867                        Santa Paula, CA 93060                    Sacramento, CA 95811




California Sandblasting                 California Secretary Of State            California Secretary Of State
1700 West Ninth Street                  Business Programs                        PO Box 944230
Long Beach, CA 90813                    1500 11Th Street                         Sacramento, CA 94244-2300
                                        Sacramento, CA 95814




California Utility Equipment            Callaway Production Co Inc               Callie Waits
102 W Desert Hills Dr                   811 W Missouri Ave                       615 West Oakdale
Phoenix, AZ 85086-8366                  Midland, TX 79701                        Keene, TX 76059




Callon Petroleum Company                Calpet LLC                               Calsasha Minerals LLC
200 North Canal Street                  PO Box 671792                            302 Fairway Court
Natchez, MS 39120                       Dallas, TX 75267-1792                    Weatherford, TX 76087
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Calscience Environmental Labs            Calsilite Ruston Inc           Calstrs
19433 E Walnut Drive South               PO Box 24321                   PO Box 15275
City Of Industry, CA 91748-2316          St Simons Island, GA 31522     Sacramento, CA 95851-0275




Caltex Oil Tools LLC                     Caltex Water LLC               Calto Oil Company
Shirley Pearson                          4337 S Chadbourne St           PO Box 12266
PO Box 1489                              San Angelo, TX 76904           Dallas, TX 752250266
Tomball, TX 77377




Caltrol Inc                              Calvary Land Group             Calvert K Collins Revocable Trust
PO Box 844705                            128 S Main Street Ste A        81501 N Central Expwy Ste 1900
Los Angeles, CA 90084-4705               Henderson, TX 75654            Dallas, TX 75206




Calvin Allen Sep Prop                    Calvin Brown                   Calvin C Simpson Dorothy Faye Simpson
2651 South Elm Street                    385 S Oakland Ave 401          567 Nicholson Rd
Arcadia, LA 71001                        Pasadena, CA 91101             Arcadia, LA 71001




Calvin Dwain Condry                      Calvin E Sachtleben            Calvin Gene Crawford
759 West 300 North                       203 Berwick Pl                 PO Box 14454
Tipton, IN 46072                         Port Lavaca, TX 77979-2103     Oklahoma City, OK 73113




Calvin Glen Seago                        Calvin Joseph Briscoe Jr       Calvin Lamar Taylor
1905 Greenbrook Dr                       PO Box 475                     2016 Fm 698
Carrollton, TX 75006                     Mont Belvieu, TX 77580         Nacogdoches, TX 75964-4395




Calvin Lynn Zamzow                       Calvin Neal Golden             Calvin Neil Golden
249 Cr 214                               178 Kimberly Lane              178 Kimberly Ln Fm 2428
Three Rivers, TX 78071                   Fm 2428                        Joaquin, TX 75954
                                         Joaquin, TX 75954




Calvin R Hullum Jr                       Calvin Thomas                  Cam Wade Thetford
PO Box 521008                            Address Redacted               Address Redacted
Tulsa, OK 74152




Cambridge Mercantile Corp Usa            Camco Saltwater Transport      Camco Saltwater Transport Bill Hammit
Kim Holas                                PO Box 115                     Bill Hammit
1359 Broadway Suite 801                  George West, TX 78022          675 Hwy 59
New York, NY 10018                                                      George West, TX 78022




Camden Harbor View                       Cameron                        Cameron H Covington
40 Cedar Walk                            PO Box 731412                  11956 Ne Jefferson Point Road
Long Beach, CA 90802                     Dallas, TX 75373-1412          Kingston, WA 98346
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Cameron Heirs Title Dispute              Cameron International Corp     Cameron International Corporation
Frank Cameron Sr Beatrice Cameron        PO Box 731412                  Jason Dore
Texas State Treasury Unclaimed Propert   Dallas, TX 75373-1412          3505 W Sam Houston Parkway N
PO Box 12019                                                            Houston, TX 77043
Austin, TX 78711-2019



Cameron Schwartz                         Cameron Solutions Inc          Cameron Solutions Inc
880 N Lake Shore Drive 22F               Fka National Tank Co           PO Box 200203
Chicago, IL 60611-5717                   PO Box 731413                  Houston, TX 77216
                                         Dallas, TX 75373-1413




Camilla B Mallard Trust                  Camilla Marie Doughty          Camilla Rounsavall
Farmers National Company Agent           18111 Superior                 4152 Normandy Avenue
Box 542016                               Northridge, CA 91325           Dallas, TX 75205
Omaha, NE 68154-8016




Camilla T Hartman                        Camille C Sanders              Camille Lewis Miller
6614 Hillwood Ln                         3039 Tanglewood Park East      3014 Groom Drive
Dallas, TX 75248                         Fort Worth, TX 76109           San Pablo, CA 94806




Camille W Davis                          Camilo Ortiz                   Cammie M Seago
PO Box 24                                3051 Shattuck Avenue           134 Exeter Run
Oakdale, LA 71463                        Berkeley, CA 94705             Houma, LA 70360-7932




Camp Gilliam                             Camp Properties LLC            Campas Christian
1709 Santa Maria                         Joseph W Camp Jr Manager       Address Redacted
Kingsville, TX 78363                     590 Fairway Dr
                                         Hernando, MS 38632




Campbell Allison Perna                   Campbell County Treasurer      Campbell Family Revocable Tr
9247 Buffalo Speedway                    Becky Brazelton                One Carlton Campbell And
Houston, TX 770254420                    PO Box 1027                    Emma Campbell Co Ttee
                                         Gillette, WY 82717-1027        PO Box 4148
                                                                        Pittsburg, PA 15202



Campbell H Elkins Estate                 Campbell Irrevocable Trust     Campbell Marshall Roberts Tst
PO Box 94084                             Frost Bank Trustee             c/o Argent Trust Ttee
Lubbock, TX 79493-4084                   PO Box 1600 Wc959              PO Box 1410
                                         O G Dept                       Ruston, LA 71273-1410
                                         San Antonio, TX 78296



Campbell Patton                          Campco Business Systems Inc    Campus Federal Credit Union
2414 Sendero Drive                       11255 Camp Bowie W             PO Box 98036
Mission, TX 78572                        Suite 116                      Baton Rouge, LA 70898-8036
                                         Aledo, TX 76008




Camterra Resources Partners Ltd          Can Doo Budjet Rentals Inc     Canaan Resources LLC
2615 East End Blvd South                 301 Goliad St                  1101 N Broadway Ave Ste 300
Marshall, TX 75672                       Abilene, TX 79601              Oklahoma City, OK 73103-4938
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Canada Associates LLC                   Canadian Imperial Bank Of Commer   Canadian Imperial Bank Of Commerce
441 S Treadaway Blvd                    Commerce Court North               New York Branch
Abilene, TX 79602                       10th floor 1a2 25 King St W        300 Madison Avenue
                                        Toronto, ON M5L 2A1                New York, NY 10017
                                        Canada



Canamera Coring Usa Ltd                 Canan Budde                        Canandaigua Natl Bank Trust
1125 Beach Airport Rd                   Beau Budde Custodian               72 South Main Street
Conroe, TX 77301-7169                   135 Plantation Road                Canandaigua, NY 14424
                                        Houston, TX 77024




Canary Drilling Services LLC And        Canary Drilling Services LLC       Canary Wellhead Equipment Inc
Canary Production Services LLC          PO Box 670257                      PO Box 96382
Hugh Lehr                               Dallas, TX 75267-0257              Oklahoma City, OK 73143
410 17Th Street Suite 1320
Denver, CO 80202



Canda Turner Arneson                    Candace A Norwood                  Candace Courtney Johnson
PO Box 6803                             9 Wayside Rd                       265 Southfield Lane
San Antonio, TX 78209                   Cartersville, GA 30120             Marshall, TX 75672




Candace E Mcfarland                     Candace Evans                      Candace Gay Janik
PO Box 2213                             Address Redacted                   7414 Greatwood Lake Dr
Palestine, TX 75802                                                        Sugar Land, TX 77479




Candace Good Jacobson                   Candace Hope Foster                Candace M Guenther
c/o Deborah Goluska                     820 Highway 375 East               PO Box 845
PO Box 1090                             Mena, AR 71953                     Lockeford, CA 95237
Roswell, NM 88202




Candace M Phelan                        Candace Malone Harvey Sep Prop     Candice H Creekmore Test Trust
1828 Warwick Road                       6236 Mayberry Ave                  Candice H Creekmore Trustee
San Marino, CA 91108                    Alta Loma, CA 91737                26 Sugarberry Circle
                                                                           Houston, TX 77024




Candice J Countryman                    Candice Loraine Richards           Candis L Hutchison
6129 Quail Run                          205 Palm Aire                      1025 Barnes Circle
Kaufman, TX 75142-7356                  Friendswood, TX 77546              Woodland, CA 95776




Candlewood Suites Denver Lakewood Hpt   Candy Capel                        Candy Lynn Horner
895 Tabor St                            6604 Chaprice Lane                 930 Duncan Perry Rd Apt 3013
Golden, CO 80401                        Montgomery, AL 36117               Grand Prairie, TX 75050




Candy Mayfield Cryer                    Candy Stahl                        Candy Stovall Eberhart
Cause No 2003 313                       2001 Sunshine Sq                   PO Box 589
c/o District Court Rusk Co Tx           Longview, TX 75601                 Tatum, TX 75691
PO Box 1687
Henderson, TX 75653
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Candy Williams Daniels                    Caney Creek Community                  Cannon Associates
390 Valley View Drive                     Center Inc Dba Alice Lloyd College     1050 Southwood Dr
Ruston, LA 71270                          100 Purpose Road                       San Luis Obispo, CA 93401
                                          Pippa Passes, KY 41844




Cannon Exploration Company                Cannon H Pritchard                     Cannon Oil Gas Well Service Inc
3608 S County Road 1184                   801 West Noblitt St                    PO Box 2086
Midland, TX 79706                         Livingston, TX 77351                   Rock Springs, WY 82902




Cannon Wilson Minerals Trust              Canon Financial Services Inc           Canon Safety / Rhi Group
c/o Regions Bank                          14904 Collections Center Drive         PO Box 1879
Nrre Operations                           Chicago, IL 60693-0149                 Kilgore, TX 75663
PO Box 11566
Birmingham, AL 35202



Canopy LLC                                Canrig Drilling Technology Ltd         Canrig Drilling Technology Ltd
PO Box 52325                              515 W Greens Rd Ste 1200               PO Box 206317
Lafayette, LA 70505                       Houston, TX 77067-4536                 Dallas, TX 75320-6317




Canteen Refreshment Services              Canteen Refreshment Services           Canteen Refreshment Services
A Division Of Canteen                     dba Compass Group Usa Inc              Dba Compass Group Usa Inc
PO Box 417632                             Mark Bowman Canteen Vending Services   2400 Yorkmont Road
Boston, MA 02241-7632                     4301 Beltwood Parkway North            Charlotte, NC 28217
                                          Dallas, TX 75244



Cantey Hanger Mooers Tst 1311             Cantrell Colquit                       Cantrina L Hightower
Bank Of America                           4144 Calderwood Dr                     2515 Vesper St 191
PO Box 840738                             Shreveport, LA 71119                   Dallas, TX 75215
Dallas, TX 75284-0738




Cantu Honorato                            Cantu Chevrolet                        Canyon Equine Center
Address Redacted                          PO Box 239                             16775 Fm 268
                                          Freer, TX 78357                        Childress, TX 79201-7331




Cap Logistics                             Capco Analytical Service               Capco Supply
PO Box 5608                               1536 Eastman Ave Suite B               3120 Preston Road
Denver, CO 80217                          Ventura, CA 93003-7717                 Henderson, TX 75652




Cape Distribution Fund                    Capgemini US LLC                       Capital Bank N A
PO Box 5090                               623 5th Ave 33                         1 Church St
Longview, TX 75608                        New York, NY 10022                     Rockville, MD 20850




Capital City Bank                         Capital City Press LLC                 Capital Liquor LLC
217 North Monroe Street                   PO Box 613                             599 Highway 148
Tallahassee, FL 32301                     Baton Rouge, LA 70821-0613             Ruston, LA 71270
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Capital One N A                           Capital One N A                 Capital Services Inc
1680 Capital One Drive                    214 Washington Ave              PO Box 1831
Mclean, VA 22102                          Mansfield, LA 71052-2606        Austin, TX 78767




Capitan Corporation                       Capitol Federal                 Capricorn Cricket Properties No 2 Ltd
PO Box 60018                              700 S Kansas Avenue             Attn Ralph Holloway
Midland, TX 79711                         Topeka, KS 66603                8722 Arbor Park Court
                                                                          Dallas, TX 75243




Caprock Laboratories Inc                  Caprock Minerals LLC            Caprock Title Midland LLC
3312 Bankhead Highway                     PO Box 132255                   315 E Wall St
Midland, TX 79701                         Spring, TX 77393                Midland, TX 79701




Caprock Water Company Inc                 Capstar Drilling Inc            Capstone Law Apc
PO Box 330                                PO Box 201873                   Glenn Danas Raul Perez Liana Carter
Artesia, NM 88210-0330                    Dallas, TX 75320-1873           Arnab Banerjee
                                                                          1875 Century Park East Suite 1000
                                                                          Los Angeles, CA 90067



Capt Vernon Fierce                        Captain Foster S Teague         Captiva Resources Inc
27928 Sol Vista Ln                        2631 Old Minden Road            8001 S Interport Blvd
Rancho Palo Vrd, CA 70274                 Bossier City, LA 71112          Suite 360
                                                                          Englewood, CO 80112




Car Tex Transport Vacuum Ser              Cara Hudgins Prudhomme          Cara Lee Mitchell
7880 San Felipe Ste 207                   802 Eva                         3770 Blunt Mill Rd
Houston, TX 77063                         Katy, TX 77493                  Grand Cane, LA 71032




Cara Lou Morgan Vanberg                   Cara Lynn Lindell               Caradon LLC
7212 Claybrook                            3797 Ashford Lake Ct            2214 Hwy 3061
Dallas, TX 75231                          Atlanta, GA 30319               Ruston, LA 71270




Caramel Sue Love                          Caraway Brandon L               Carboline Company
15 Falls Terrace                          Address Redacted                PO Box 931942
Fair Oaks Ranch, TX 78015                                                 Cleveland, OH 44193




Carbon County Memorial Hospit             Carbon County Public Health     Carbon County Wyoming
PO Box 460                                PO Box 1013                     415 West Pine Street
Rawlins, WY 82301                         Rawlins, WY 82301               Rawlins, WY 82301




Carbon County Wyoming                     Carden Family Investments LLC   Carden Oil And Gas Inc
Cindy Baldwin Treasurer                   3336 N Hullen                   3336 N Hullen
PO Box 7                                  Metairie, LA 70002              Metairie, LA 70002
Rawlins, WY 82301
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Cardinal Surveys Company                Cardwell Distributing                   Cardwell Energy Tr
PO Box 729                              PO Box 27954                            Milton Jr Marie Cardwell Ttee
Odessa, TX 79760                        Salt Lake City, UT 84127-0954           855 Camino Francisca
                                                                                Santa Fe, NM 87506




Career Partners International Houston   Careertrack                             Caren Colley Damrow
2000 Bering Drive Suite 460             PO Box 219468                           8322 Willow Creek
Houston, TX 77057                       Kansas City, MO 64121-9468              San Antonio, TX 78251




Careonsite                              Carey B Gardner                         Carey Don Harris
PO Box 11389                            3071 Sly Park Rd                        2812 Marshall Rd
Carson, CA 90749-1389                   Pollock Pines, CA 95726                 Beckville, TX 75631




Carey P Zawada                          Carey Parrack                           Carey Weatherford
181 Emerald Oaks Dr                     11109 Allison Ave                       5000 Fm 1251 E
Covington, LA 70433-5052                Azle, TX 76020                          Henderson, TX 75652




Cargill Co Ltd                          Cargill Harris Corp                     Cargill Incorporated
PO Box 992                              2212 Pargoud Blvd                       9350 Excelsior Blvd
Longview, TX 75606-0992                 Monroe, LA 71201                        Hopkins, MN 55343-9434




Cargill Legacy Trust                    Cari Ruark                              Caribam Resources
PO Box 3096                             20275 Doewood Dr                        PO Box 25390 Gallows Bay
West Monroe, LA 71294-3096              Monument, CO 80132                      St Croix, VI 00824-1390




Caring Place Of Hot Springs Arkansas    Carl A Davis Jr Kaye H Davis            Carl A Traylor
101 Quapaw Avenue                       1906 Ashland Ave                        9815 Smokefeather
Hot Springs, AR 71901                   Ruston, LA 71270                        Dallas, TX 75241




Carl Allen Parker Separate Property     Carl B Arnold Dba Cba Investments LLC   Carl B Everett Iii
One Plaza Square                        PO Box 5549                             PO Box 190
Port Arthur, TX 77642                   Shreveport, LA 71135                    Breckenridge, TX 76424




Carl B Helen Stengler                   Carl Beard                              Carl Bertoncelj
Route 1 Box 407                         1613 E 36Th St                          3201 County Road 36
Joaquin, TX 75954                       Odessa, TX 79762                        Angleton, TX 77515




Carl Brininstool                        Carl Brown Stockard Estate              Carl Childress Trustee
PO Box 50638                            c/o Hazel Stockard                      Family Tr For Carl W Childress
Midland, TX 79710                       8218 Countryside                        408 E Magrill
                                        San Antonio, TX 78209                   Longview, TX 75061
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Carl Comer Ulsaker                      Carl D Critton                           Carl D Porter
46661 Algonkian Parkway                 PO Box 151                               235 Brooks Loop
Potomac Falls, VA 20165                 Gibsland, LA 71028                       Caster, LA 71016




Carl D Snyder Jr                        Carl D Talley                            Carl David Neal
PO Box 787                              24 Pine Cone Dr                          4540 Stonewood Circle
Bacliff, TX 77518-0787                  Texarkana, AR 71854                      Midlothian, TX 76065




Carl Dyke Benson                        Carl Dyke Benson And Marjorie R Benson   Carl E Deloney Jr
1301 Joe Bill Street                    1301 Joe Bill Street                     4036 Windhurst Ct Sw
West Monroe, LA 71292                   West Monroe, LA 71292                    Lilburn, GA 30047




Carl E Dorsey                           Carl E Frazier                           Carl E Gipson
2510 Boldt                              663 North 15Th Street                    149 Marie Avenue 114
Tyler, TX 75701                         San Jose, CA 95112                       Grambling, LA 71245




Carl E Jenkins                          Carl E Jenkins Mineral Trust             Carl E Pellegrini
139 W 2 St Ste 3C                       Kathryn A Jenkins Trustee                4500 Pear Ridge Dr Apt 718
Casper, WY 82601                        2422 E 6 St                              Dallas, TX 75287
                                        Casper, WY 82609




Carl Edward Johnson                     Carl Elvin Adams                         Carl Everett Perry Jr
PO Box 1013                             PO Box 404                               Bettye Ruth Rush Perry
Longview, TX 75602                      Ector, TX 75439                          322 Hidden Acres Road
                                                                                 Arcadia, LA 71001




Carl Franklin Conklin                   Carl Glasscock                           Carl H Barber
323A N University                       11649 Hawk Ave                           PO Box 308
Nacogdoches, TX 75961                   San Angelo, TX 76904                     Henderson, TX 75653




Carl H Schulse                          Carl Herrin Oil Gas LLC                  Carl J Meier Ii
546 Fairway Dr                          PO Box 957                               308 Silverbell Pky
Kerrville, TX 78028-6404                Ridgeland, MS 39158-0957                 Lafayette, LA 70508




Carl Justin Greer                       Carl L Moore                             Carl L Roberds And Kaete E Roberds
195 Rufus Long Rd                       PO Box 1042                              435 Bob Jones Road
Winnifield, LA 71483                    Center, TX 75935                         Southlake, TX 76092




Carl Maxie Lake                         Carl Mckinzie                            Carl Neel Jr Estate
2433 Fm 999                             10900 Wilshire Blvd 850                  Doris Helen Neel Hicks Exctr
Gary, TX 75643                          Los Angeles, CA 90024                    6380 County Road 302
                                                                                 Nacogdoches, TX 75961
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Carl Norman Mckinley                    Carl O Westbrook                       Carl Oue Hickerson
14900 Sullivan Rd                       685 W 77Th Street                      4000 Hatcher St
Holland, TX 76534                       Tulsa, OK 74132                        Dallas, TX 75210




Carl Peterson                           Carl R Corley Peggy H                  Carl R Neel Jr Deceased 9 99
PO Box 276                              580 Bunker Dr                          Route 3 Box 35 B
Lexington, TX 78947                     Tyler, TX 75703                        Timpson, TX 75975




Carl Raymond Meyer                      Carl Ross Williamson                   Carl Sidney Burns
369 Stones Throw Ave                    10741 Trenton Dr                       2670 Fm 10
Livingston, TX 77351                    Whitehouse, TX 75791                   Carthage, TX 75633




Carl Solomon Jr                         Carl Stukenholtz                       Carl Thomas Jr
c/o Office Of Texas State Comptroller   PO Box 501                             22243 Se 270Th Lane
Unclaimed Property Division             Perry, IA 50220                        Maple Valley, WA 98038
PO Box 12608 Capitol Station
Austin, TX 78711



Carl V Wright                           Carl Vincent Thompson Jr               Carl W Childress
Box 32                                  1307 Drake Dr                          408 E Magrill
Ganado, TX 77962                        Minden, LA 71055-8961                  Longview, TX 75601




Carl W Klaenhammer                      Carl W Klaenhammer Revoc Trust         Carl Whitaker
c/o Hilltop Natl Bank                   c/o Hilltop National Bank              11805 Fm Rd 2011 E
PO Box 2680                             PO Box 2680                            Henderson, TX 75652
Attn Brian Jones                        Attn Brian Jones
Casper, WY 82602                        Casper, WY 82602



Carl White Tr                           Carl/White Trust                       Carla A Blumberg Tuw Unitrust
Anne T Carl Anderson B White Co Ttees   Anne T Carl Anderson B White Co Ttee   Frost Bank Ttee For Acct Aa639
PO Box 218                              PO Box 218                             PO Box 1600
West Colombia, TX 77486                 West Columbia, TX 77486                San Antonio, TX 78296




Carla A Darter                          Carla Ann Blumberg                     Carla Ann Blumberg Special Tr
17802 County Rd 457                     PO Box 279                             Carla Ann Blumberg Ttee
Normangee, TX 77871                     Austin, TX 78767                       c/o Frost Bank Agt Acct Ab365
                                                                               PO Box 279
                                                                               Austin, TX 787670279



Carla Anne Maxwell                      Carla Buchanan                         Carla Cloninger Huffman
4632 Gilbert Drive                      1163 Benecias Ct                       107 Washington Place North
Shreveport, LA 71106                    Chula Vista, CA 71913                  Marshall, TX 75670




Carla Dillon                            Carla Doss                             Carla Fisher
7388 White Oak Hwy                      3702 Cr 266 N                          165 Turkey Clan Rd
Branch, LA 70516                        Henderson, TX 75652                    Elton, LA 70532
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Carla Fuller Maxey                         Carla Hewes Cannon                  Carla Kay Hatfield
8401 Skillman St Apt 1087                  1904 Cherry Laurel Road             1039 Los Jardines
Dallas, TX 75231                           Gilmer, TX 75645                    El Paso, TX 79912




Carla M King                               Carla M Powell                      Carla Mccoy Spears
708 E Laurel                               226 Beverly Loop                    734 Cr 3545
Hugo, OK 74743                             Pineville, LA 71360                 Joaquin, TX 75954




Carla Michelle Delley Mason                Carla Petroleum Inc                 Carla Smith
515 Exeter A 8                             17000 Dallas Pkwy Ste 103           2997 Hwy 548
San Antonio, TX 78209                      Dallas, TX 75248-1944               Eros, LA 71238




Carla Sue Bryant                           Carla V Roberts                     Carla Whitley Peterson
1701 Wyngate                               PO Box 951                          150 Peterson Rd
Deer Park, TX 77536                        Collierville, TN 38027              Jamestown, LA 71045-5542




Carla Williams                             Carlene Caruso                      Carleton Campbell Jr Revocable Trust
401 Little Texas Lane 1435                 2513 Tryon Rd                       PO Box 4148
Austin, TX 78745                           Longview, TX 75605                  Pittsburgh, PA 15202




Carletta H Waltman                         Carlette Sanford Individually       Carlever Allen
c/o Argent Property Svcs Llc               As Usufructuary                     13945 Hwy 515
PO Box 1410                                623 Edgewood Drive                  Arcadia, LA 71001
Ruston, LA 71273-1410                      Homer, LA 71040




Carlinden Company LLC                      Carlos Castillon                    Carlos Chavez
c/o Katherine Shaw Spaht                   1311 Raes Creek Dr                  Address Redacted
2184 Kleinert Ave                          Laredo, TX 78045-1917
Baton Rouge, LA 70806




Carlos Estes                               Carlos Flores Dba Flores Trucking   Carlos G Cardenas
200 Meadow Brook                           PO Box 260284                       6730 Strawberry Lane
Hutchings, TX 75141                        Corpus Christi, TX 78426            Jacksonville, FL 32211




Carlos M Ochoa Jr                          Carlos M Zaffirini Jr               Carlos M Zaffirini Sr
1320 Garfield Street                       PO Box 627                          PO Box 627
Laredo, TX 78040                           Laredo, TX 78042                    Laredo, TX 78042




Carlos R Juarez                            Carlos Walker                       Carlos Zavala
PO Box 19833                               Monica Jordan Poa                   Address Redacted
Sugar Land, TX 77496-5833                  13145 N Hwy183 74
                                           Austin, TX 78750
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Carlsbad Field Office                    Carlston L Hardemon            Carlton Family Trust
Dept Of Interior Blm                     c/o Ella G Washington          By Mrs Betty Carlton
620 E Greene St                          2141 Overton Road              1475 County Road 49
Carlsbad, NM 88220-6292                  Dallas, TX 75216               Cedar Bluff, AL 35959-4520




Carlton Henry May                        Carlton L Grant                Carlton Wysinger
704 Sw 34Th Terr                         4506 Palmer Drive              865 Danville Road
Lees Summit, MO 64082                    Midland, TX 79705              Jonesboro, LA 71251




Carlyle High Yield Partners              Carma S Cook                   Carma S Cook Estate
1001 Pennsylvania Ave NW                 124 Vidor Lane                 Alton E Ball Executor
Washington, DC 20004                     Shreveport, LA 71105           1215 Hawn Avenue
                                                                        Shreveport, LA 71107




Carmel E Brown                           Carmelita Stewart              Carmen Diane Ramirez Shank
1505 Bennie Breece                       2215 Avenue A                  15911 Mission Ridge
West Monroe, LA 71292                    Beaumont, TX 77701-6911        San Antonio, TX 78232




Carmen Ferrer                            Carmen Giles Copes             Carmen Kline
4413 St Anderws Dr                       PO Box 1066                    2929 Post Oak Blvd 1611
Midland, TX 79707                        Grambling, LA 71245            Houston, TX 77056




Carmen Lea Hudson                        Carmen Traci Vandegriff        Carnahan Richard K
333 County Road 2152                     816 N Alexander                Address Redacted
Nacogdoches, TX 75965                    Carthage, TX 75633




Carnell Brown                            Carnes Services LLC            Carnes Texas Ltd
9609 Avenue Of Oaks                      PO Box 1258                    9320 Lakeside Blvd
Ladson, SC 29456                         Wellington, CO 80549           Bldg 2 Ste 200
                                                                        The Woodlands, TX 77381




Carnetha Bradford                        Carol A Horton                 Carol A Shelton
PO Box 451682                            6147 Birchmont Dr              4528 Boston Dr
Garland, TX 75045                        Houston, TX 77092              Plano, TX 75093




Carol A Wyrick                           Carol Alison Masure            Carol Ann Adams
529 East Broad                           2520 Timbercrek Drive          PO Box 496
Nevada City, CA 95959                    Plano, TX 75075                Salemburg, NC 28385




Carol Ann Calisi                         Carol Ann Clark Kerley         Carol Ann Gibbs White
419 Baywood Circle                       17445 Red Oak Dr               2899 Louisiana 152
Port Orange, FL 32127                    Houston, TX 77090-7701         Homer, LA 71040
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Carol Ann Gregg Independent              Carol Ann Hoffman               Carol Ann Hoffman Mar Trst
Exrx Estate Of Donald D Gregg            1854 W Cape Cod Way             Carol Ann Hoffman Trustee
805 Geney Street                         Littleton, CO 80120             1854 W Cape Cod Way
Brenham, TX 77833                                                        Littleton, CO 80120




Carol Ann Hoffman Mgmt Tr Dtd 4/06/09    Carol Ann Lewis Prince          Carol Ann Maccurdy
Carol A Hoffman Trtee                    277 Old Augusta Drive           1717 Conejo
1854 W Cape Cod Way                      Pawleys Island, SC 29585        San Luis Obispo, CA 93401
Littleton, CO 80120




Carol Ann Pittard Anderson               Carol Ann Rogers                Carol Ann Rogers 2016 Rev
3105 Ivory Bluff Trail                   5510 Lancelot Ln                Tr Uad 01 01 2016
Apex, NC 27539                           Cape Coral, FL 33914            Carol Ann Rogers Ttee
                                                                         5510 Lancelot Ln
                                                                         Cape Coral, FL 33914



Carol Ann Ryan                           Carol Ann Thompson Mcclain      Carol Ann White
3046 Creek Run                           PO Box 613                      4315 Hastings Dr
Sanford, NC 27332                        Pasadena, TX 77501              Cumming, GA 30041-5853




Carol B Brehm Estate                     Carol B Brehm Residuary Trust   Carol B Brehm Revocable Trust
Regions Bank Successor Exec              Stacy Tate Successor Ttee       Regions Bank Nrre Operations
Regions Bank Nrre Operations             PO Box 648                      PO Box 11566
PO Box 11566                             Mount Vernon, IL 62864          Birmingham, AL 35202
Birmingham, AL 35202



Carol B Massey Tr                        Carol B Rendl                   Carol Best
William Hallack Tr Ttee                  18907 Big Cypress Dr            1839 Cr 345 S
PO Box 27                                Spring, TX 77388                Henderson, TX 75654
Jonesboro, LA 71251




Carol Beth Box                           Carol Brazil Brown              Carol C Coleman
6 Wes Ben                                2300 County Road 147            2207 Lazy Trail Parth Court
Lovington, NM 88260                      Gatesville, TX 76528            Spring, TX 77373




Carol C Langford                         Carol C Whitley Trustee         Carol Callahan Matter
138 Cr 1213                              Ccw Trust                       117 Indian Bluff
Carthage, TX 75633                       255 S Milwaukee St              Boerne, TX 78006
                                         Denver, CO 80209




Carol Callahan Matter Trust              Carol Carpenter Wood            Carol Cherry Messer Siddle
117 Indian Bluff                         PO Box 1686                     3 Brindley Close
Boerne, TX 78006                         Aledo, TX 76008                 Oxford Oxfordshire
                                                                         United Kingdom




Carol Conley Perlman                     Carol Cook Baremore             Carol Cranor Sawyer
2018 Burnside Drive                      2791 Capilano Cir               2918 Lafayette St
Allen, TX 75013                          Shreveport, LA 71106-8229       Houston, TX 77005-3040
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Carol D Bielamowicz Tax A/C               Carol D Gamble                   Carol D Henderson
Robertson County                          PO Box 1782                      928 Tipsoo Loop Se
PO Box 220                                New Orleans, LA 70185            Rainier, WA 98576
Franklin, TX 778560220




Carol D Kaspar                            Carol D Trammell Trustee For     Carol Dark
3315 Queens Cove Loop                     The Carol D Trammell Revoc Tst   401 Hamilton Drive
Winter Haven, FL 33880                    PO Box 5081                      Fairfield, CA 94533
                                          Walnut Creek, CA 945961081




Carol Dawson                              Carol Delobbe                    Carol Ehl
4010 Crescent Drive                       PO Box 1852                      Sn 22 Lake Cherokee
Austin, TX 78722                          Fredricksburg, TX 78624          Henderson, TX 75652




Carol Elaine Looney                       Carol Ellis Shine                Carol Emerson Mcdonald Separate Property
PO Box 153203                             5415 Old Bullard Rd 115          223 South Grand St
Lufkin, TX 75915                          Tyler, TX 75703                  Ste 802
                                                                           Monroe, LA 71201




Carol F White                             Carol Flickinger Haskin          Carol G Hughes
18237 Mill Spring Court                   7552 County Rd 466               6324 Prominence Point Drive
Leesburg, VA 20176                        Princeton, TX 75407              Lakeland, FL 33813




Carol Harris Hudson Plamondon             Carol Heath                      Carol Helms Case
914 N Vienna Street                       5303 Churubusco Dr               64 5322 Puukapu St
Ruston, LA 71270                          San Antonio, TX 78239-3071       Kamuela, HI 96743




Carol Holland                             Carol Irwin Bretzke              Carol J Bunch
508 Seward Park Ave Ne                    758 Mission Hts                  Route 2 Box 101
Albuquerque, NM 87123-5434                New Braunfels, TX 781306038      Linden, TN 37096




Carol J Hardcastle                        Carol J Sample                   Carol J Skaggs
8442 E Mcnelly Road                       Box 1912                         Individual Retirement Account
Bentonville, AR 72712                     Longview, TX 75606               Rbc Capital Markets Llc Cust
                                                                           315 8 Avenue
                                                                           East Northport, NY 11731-2118



Carol J Welder Trust                      Carol J Welder Trust             Carol Jean Craft
Jpmorgan Chase Bank N A Ttee              Jpmorgan Chase Bank N A Ttee     3913 Sharry Ln
PO Box 2050                               PO Box 99084                     Oklahoma City, OK 73111
Fort Worth, TX 76113                      Fort Worth, TX 76199-0084




Carol Jean Gregory                        Carol Jo Blake                   Carol Joy Heiman Hart
1112 Bond St                              400 N Main Street                119 Redwood
Farrell, PA 16121                         Midland, TX 79701                Palestine, TX 75801
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Carol Joyce Treverton Revocable        Carol Kay Holbein                          Carol Klyczek Johnson
Trust Dtd 9/18/2003                    Trustee Of The Alec Holbein Family Trust   407 North Gifford Street
Carol Joyce Treverton Trustee          43 Casa Blanca Road                        Elgin, IL 60120
9740 Gerald Avenue                     Hebbronville, TX 78361
Northridge, CA 91343



Carol Koltz Disability Trust           Carol Kughn Gresham                        Carol L Jones
Newton Anthony Koltz Trustee           PO Box 662                                 11764 Sky Blue Ct
118 Prospect Park West Apt 3           Wharton, TX 77448                          Haslet, TX 76052
Brooklyn, NY 11215




Carol L Lee                            Carol L Mackie                             Carol L Owens
c/o Munsch Hardt Kopf Harr P C         15418 East 33Rd Street South               PO Box 159
Nolan C Knight                         Independence, MO 64055                     Santa Fe, TX 77510
500 N Akard Street Suite 3800
Dallas, TX 75201-6659



Carol Lee Cannon Williams              Carol Lee Oneill                           Carol Lynn C Martin
A/K/A Carlee Cannon Williams           5 The Prado                                5138 Thornton
266 Adams Street Apt 109               Saint Louis, MO 63124-1775                 El Paso, TX 79932
Oakland, CA 94610




Carol Lynne Rush                       Carol Mae Allen Lovell                     Carol Mcfarland
2025 Amherst Dr                        391 Coventry Dr                            7209 Muirfield Lane
South Pasadena, CA 91030               Nashville, TN 37211                        Eden Prairie, MN 55346




Carol Mitchell Butler                  Carol N Anderson                           Carol Nan Pierce
782 South Ave                          175 E Delaware Place                       157 W Hayden St
Port Neches, TX 77651                  Apt 6401                                   Carthage, TX 75633-3001
                                       Chicago, IL 60611




Carol Nichols Frame Sp                 Carol Owen Funk                            Carol Paige Freyer
PO Box 1276                            3510 Turtle Creek Blvd 7D                  c/o Woody Creek Management Group
Center, TX 75935                       Dallas, TX 75219                           250 Steele St
                                                                                  Ste 375
                                                                                  Denver, CO 80206



Carol R Telford                        Carol Ramsdell Hyink Tr                    Carol Rose Reed
5931 Highway 151                       Carol Hyink Ttee                           17430 N 55Th Drive
Dubach, LA 71235                       2537 Timberleaf Dr                         Glendale, AZ 85308
                                       Carollton, TX 75006




Carol Rowe Debender                    Carol S Clack                              Carol S Evans
5679 Shady River Dr                    111 York Point Drive                       3603 Acacia Drive
Houston, TX 77056                      Seaford, VA 23696                          Sugar Land, TX 77479




Carol S Johnston                       Carol S Johnston Tr                        Carol Sherby
410 Altamont Circle                    Carol S Johnston Ttee                      1937 Greensboro Dr
Charlottesville, VA 22902              410 Altamount Cir                          Wheaton, IL 60189
                                       Charlottesville, VA 22902
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Carol Sue Coyle                          Carol Sue Jordan Sons           Carol Sue Nahkunst
7570 Hwy 822                             11585 Cr 4186 West              519 Summit Drive
Dubach, LA 71235                         Henderson, TX 75654             Richardson, TX 75081




Carol Sue Sanford Garrett                Carol Sue Spencer Podraza       Carol Vanderwoude Botefuhr
1712 S Jackson St                        Separate Property               9215 White Rock Trl Unit 109
Amarillo, TX 79102                       13734 Lakewood Meadow Dr        Dallas, TX 75238-2590
                                         Cypress, TX 77429




Carol Webster                            Carol Welder Pringle Trust      Carol Wolfe
10269 Hwy 314                            c/o Jpmorgan Chase Bank Na Po   PO Box 119
Brownsboro, TX 75756                     PO Box 99084                    Blue Ridge, TX 75424
                                         Fort Worth, TX 76199




Carol Yvonne Franklin                    Carole A Beckett Magar          Carole A Fitzpatrick
400 Bennett Rd Lot 1                     5655 Slope Drive                2221 Harbor Creek Pkwy
Grambling, LA 71245                      Sun Valley, NV 89433            Canton, GA 30115-9595




Carole Ann Langford                      Carole B Bennett Sp             Carole C Johnson
4212 W State Hwy 7                       4130 S Pacific Drive            5409 County Road 73A
Nacogdoches, TX 75964                    Chandler, AZ 85248              Robstown, TX 78380




Carole Cleveland Price                   Carole F White                  Carole Howard Mckinney
5815 Bent Trail Dr                       751 Stone Ridge Mountain Dr     1700 Swinging Bridge Road
Dallas, TX 75248                         Round Mountain, TX 78663        Longview, TX 75604




Carole Jernigan Govan                    Carole Jo Fuller Nugent         Carole L Moody
4524 Inwood Rd                           4158 Jefferson Woods Dr         36 Townhouse Lane
Fort Worth, TX 76109                     Baton Rouge, LA 70809-7208      Corpus Christi, TX 78412




Carole Lynn Jackson                      Carole Mckneely Cardwell        Carole Nell Kuykendall Hustead
5600 Cypresswood Dr Apt 407              928 Lake Dr                     20355 Sw Deline Street
Spring, TX 773798284                     Niceville, FL 32578-4717        Aloha, OR 97078




Carole S Clarke                          Carole S Cohen                  Carole Sims Hallum
2754 Puu Hoolai St                       8600 Tackery 174                7014 Tartan Dr
Kihei, HI 96753                          Dallas, TX 75225                Brentwood, TN 37027




Carole Sprinkle Moore                    Carolin Louise Bowman           Carolina Family Properties LLC
10040 Regal Park Ln Apt 236              1423 N Gibson Circle            623 Wickhams Fancy Drive
Dallas, TX 75230                         Bossier City, LA 71112-3356     Biltmore Lake, NC 28715-8931
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Carolina Lindholm                          Carolina Oil Gas Inc        Caroline Barrow Miller
PO Box 260337                              496 Sunset Dr               2322 E Loop 254
Corpus Christi, TX 78426                   Asheville, NC 28804-3727    Ranger, TX 76470-5919




Caroline Coates Tx2 5072                   Caroline Connor Long        Caroline E Boone
Bank One Corp Fbo Mae P Burns              PO Box 1095                 4024 Piping Rock Ln
PO Box 2629                                Flat Rock, NC 28731         Houston, TX 77027
Houston, TX 77252-2629




Caroline Hodge Kroner Turner               Caroline Jean Wanke         Caroline Raybon Sep Prop
6430 Birnamwood Rd                         PO Box 263                  1113 43Rd St Apt F
Shreveport, LA 71106                       Harper, TX 78631            Lubbock, TX 79412




Caroline Renfro Flettrich                  Caroline Skipper Hollins    Caroline Whalen
3065 Conway Dr                             1605 Enterprise Blvd        11020 Ne 41st Drive
Baton Rouge, LA 70809                      Lake Charles, LA 70601      Kirkland, WA 98033




Caroll Lee Peggy Lee                       Carolyn A Bear Clark        Carolyn A Beavers
PO Box 12940                               6021 Clam Bayou Lane        c/o Texas Comptroller Of Public Accounts
Odessa, TX 76768                           Sanibel Island, FL 33957    Unclaimed Property Division
                                                                       PO Box 12019
                                                                       Austin, TX 78711-2019



Carolyn A Jackson                          Carolyn A Ward              Carolyn Allen
405 Lazarre Ave                            5412 Roulker Court          2651 Elm St
West Monroe, LA 71292                      Ft Smith, AR 72903          Arcadia, LA 71001




Carolyn Allene Smith Wilson Exemption Tr   Carolyn Ann Smith Pitts     Carolyn Ann Yowell
c/o Carolyn Allene Smith Wilson            406 Haney Smith Rd          2553 Robert Fenton Road
PO Box 152                                 Choudrant, LA 71227         Williamsburg, VA 23185
Poynor, TX 75782




Carolyn Annette Bledsoe                    Carolyn B Cleveland Trust   Carolyn B Purifoy
1135 Dove Road                             Mary E Crabb Indp Exec      1 Branch Bend Circle
Gilmer, TX 75645                           4018 Villanova St           Houston, TX 77024
                                           Houston, TX 77005




Carolyn Barker                             Carolyn Baxter              Carolyn Bell Fleming
PO Box 335                                 14111 Ne County Road 3170   22 Tattersol Drive
Clifton, TX 76634                          Kerens, TX 75144-5069       Mantua, NJ 08051




Carolyn Bernice Foster                     Carolyn Bolds Lewis         Carolyn Bolt
PO Box 149                                 403 Lee Ave                 PO Box 4164
Grand Cane, LA 71032                       Ruston, LA 71270            Shreveport, LA 711340164
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Carolyn Butman Cleveland                  Carolyn C Mennen                    Carolyn Cain Bates
4018 Villanova St                         4223 Ridge Road                     PO Box 4770
Houston, TX 77005                         Dallas, TX 75229                    Horseshoe Bay, TX 78657




Carolyn Camp                              Carolyn Cartwright                  Carolyn Cleere Sledge
4821 E Bluefield Ave                      6057 Fm 2276N                       PO Box 103
Scottsdale, AZ 85254                      Henderson, TX 75652                 Alvardo, TX 760090103




Carolyn Clemens Whitley                   Carolyn Cochran                     Carolyn Cordell Thomas
8040 Fm 1448                              7831 Park Lane Apt 312A             Rt 1 Box 8020
Winnsboro, TX 75494                       Dallas, TX 75080                    Antlers, OK 74523




Carolyn Crawford Hicks                    Carolyn Crooker Schwing             Carolyn Cupp Lewis Trust
2800 Roanoke Lane                         473 Cherry Hollow Rd                Wm A Lewis Iii Richard Lewis Trustees
Tyler, TX 75701                           Fredericksburg, TX 78624            PO Box 340
                                                                              Ruston, LA 71270




Carolyn D Bowman                          Carolyn D Stewart                   Carolyn Daw
1423 N Gibson Cr                          1502 Enclave Pkwy Apt 708           142 Wulf Creek Dr
Bossier City, LA 71112                    Houston, TX 77077-3639              Center, TX 75935




Carolyn Day Smith                         Carolyn Demoss Beatty               Carolyn Diane Hinson
623 Buchanan Street                       PO Box 94                           8927 Hwy 501
Minden, LA 71055                          Heflin, LA 71039                    Winnfield, LA 71483




Carolyn Diane Roden Tarver                Carolyn Dupree Dollgener            Carolyn E Goldstein
324 Highfield Dr                          500 East Waller Road                4315 Arcola Ave
Murfreesboro, TN 37128                    Kemp, TX 75143                      Toluca Lake, CA 91602




Carolyn E Holt Rainer Grider              Carolyn Elizabeth Mcgehee           Carolyn Evans Moore
4956 Norfolk Rd                           PO Box 22662                        6720 Blue Meadow Dr
Shreveport, LA 71107                      Pearl, MS 39208                     Fort Worth, TX 76132




Carolyn F Daniels                         Carolyn F Hyman Living Trust Decd   Carolyn F Mayo Jerry J Mayo
3409 Sw Abilene Dr                        715 Oxford Drive                    PO Box 116
Lawton, OK 73501                          Tyler, TX 75703                     Gary, TX 75643




Carolyn F Phelps                          Carolyn Farrington Kimball          Carolyn Franklin
54717 Amos Rd                             2778 Rideout Lane                   c/o Department Of The Treasury
Myrtle Point, OR 97458                    Apartment 1104                      Unclaimed Property
                                          Murfreesboro, TN 37128              PO Box 214
                                                                              Trenton, NJ 08625
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Carolyn Frost Wagner                     Carolyn G Dubose                 Carolyn G Smith
20395 Farm Rd 79                         8111 Tiger Lane                  6335 Maurer Rd Apt 323
Sumner, TX 75486                         Houston, TX 77040                Shawnee, KS 66217-8115




Carolyn G Smith Ray V Smith              Carolyn Gayle Mcdonald           Carolyn Gill Topp Separate Property
8500 Pflumm Apt D 405                    1127 Green Valley                207 Buford Dr
Lenexa, KS 66215                         Houston, TX 77055                Williamsburg, VA 23185




Carolyn Gray Yeich                       Carolyn Griggs Burke             Carolyn H Brown
A/K/A Carolyn Jean Yeich                 4255 Circle Ave                  1905 Cooktown Rd
263 Hyatt Road                           Castro Valley, CA 94645          Ruston, LA 71270
Ruston, LA 71270




Carolyn H Crawford                       Carolyn Harkey                   Carolyn Hawkins
4445 Thomas Gln                          105 Pecan Ln                     413 Shadow Bend
Beaumont, TX 77706                       Monahans, TX 79756               Richardson, TX 75081




Carolyn Heard                            Carolyn Hightower Jones          Carolyn Holt
3601 Cr 618                              408 W Ila Street                 822 Langford Drive
Early, TX 76802                          Fayetteville, AR 72701           Arlington, TX 76018




Carolyn J Booher                         Carolyn J Mcneal                 Carolyn Jane Jeffress
923 Ellis St                             141 Washington St                1012 Baylor
Waxahachie, TX 75165-4159                Grambling, LA 71245              Carthage, TX 75633




Carolyn Jarrel Sawyer                    Carolyn Jean Bolt Sumrall        Carolyn Jenkins
28225 Hickory Ct                         Mickey Hogue Sumrall             1007 South Premier Road
Magnolia, TX 77355                       2500 Franklin Ave                Longview, TX 75604
                                         Ruston, LA 71270




Carolyn K Harrod                         Carolyn K Lisle 1990 Revoc Tst   Carolyn K Musick
2314 Rosser Ct                           Carolyn K Lisle Trustee          1361 Cr 129
Rowlett, TX 75088                        2540 Warwick Drive               Gary, TX 75643
                                         Oklahoma City, OK 73116




Carolyn Kimbley                          Carolyn L Brady                  Carolyn L Bulloch
Texas Comptroller Public Acct            248 E Linden St                  3219 Independence Cir
Unclaimed Property Division              Shreveport, LA 71104-4612        Bryant, AR 72022-7015
PO Box 12019
Austin, TX 78711-2019



Carolyn L Freeland                       Carolyn L Greenberg Marital Tr   Carolyn L Sullivan
28 Huckaby Rd                            Indpdt Tr Co Of America Llc      PO Box 396
Rayville, LA 71269                       Successor Ttee                   Marshall, TX 75671-0396
                                         PO Box 688
                                         Sandy, UT 84091
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Carolyn Laffitte                        Carolyn Lawrence Wier          Carolyn Lea Britt Thompson
4829 Palmer Canyon Rd                   551 Ruby Ranch Rd              610 Blackthorn Dr
Wheatland, WY 82201                     Buda, TX 78610                 Carl Junction, MO 64834-8460




Carolyn Lee B Hudson                    Carolyn Louise Evans Willis    Carolyn M Hughes
7209 Old River Rd                       7342 University Drive          Charles Schwab Co Inc Cust
Shreveport, LA 71105                    Shreveport, LA 71105           59 Eucalyptus Knoll St
                                                                       Mill Valley, CA 94941




Carolyn M Perryman                      Carolyn M Shelton              Carolyn Macaulay
2602 Cunningham St                      134 Knipp Road                 6839 Prestonshire Ln
Irving, TX 75062-7177                   Houston, TX 77024              Dallas, TX 75225




Carolyn Mallard                         Carolyn Marie Watts Espeseth   Carolyn Maxine Lewis
3200 Rolling Hill Drive                 14333 Highway 151              2741 Mitchell Ave
Tyler, TX 75702                         Arcadia, LA 71001              Apt 1
                                                                       Oroville, CA 95966




Carolyn Mccall Perryman                 Carolyn Mcclain                Carolyn Mccorkle Hill
3577 N Belt Line Rd 364                 PO Box 159096                  5716 85Th St
Irving, TX 75062                        Nashville, TN 372159096        Lubbock, TX 79424




Carolyn Mcwilliams Hill                 Carolyn Melton Marsh           Carolyn Miller
8114 East Court                         6012 Riverbend Blvd            340 Jersey Street
Austin, TX 78759                        Baton Rouge, LA 70820          Denver, CO 80220




Carolyn Monteith Clarke                 Carolyn Montgomery Taylor      Carolyn Murphy
9014 Kenilworth St                      705 Se Cr 0025                 Jana Broussard Poa
Houston, TX 77024-3716                  Corsicana, TX 75109            11739 State Hwy 64 E
                                                                       Tyler, TX 75707




Carolyn Nelson Family Tr                Carolyn Nixon                  Carolyn OByrne Longshore
PO Box 5                                4000 Locke Lane 29             210 Mildred St
Shreveport, LA 71161                    Lake Charles, LA 70605         Benton, LA 71006




Carolyn Owens Henderson                 Carolyn P Gano                 Carolyn Patton Johnson
305 Lawndale Dr                         230 32nd St Se                 276 Easthaven Dr
Richardson, TX 75080                    Grand Rapids, MI 49548         Ruston, LA 71270




Carolyn Pearson Fowler                  Carolyn Phillips Smith         Carolyn Pugh Rainer
2812 Magnolia                           400 Fawn Trl B                 2104 Urban Dale St
Texarkana, TX 75503                     Longview, TX 75604             Shreveport, LA 71118
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Carolyn Querbes Nelson                 Carolyn R Rollison               Carolyn Raye Younger
214 Milam St                           3302 Clearfield Drive            PO Box 72203
Shreveport, LA 71101-3226              Grapevine, TX 76051              Los Angeles, CA 90002-0203




Carolyn Rebecca Jackson                Carolyn Ritter Bunte             Carolyn Roberts
904 Mt Holly Rd                        13310 Klamath Falls              2637 Courtland Park Cir
Fairdale, KY 40118                     Houston, TX 77041                Marietta, GA 30068




Carolyn Roch                           Carolyn Rodgers Zachry           Carolyn S Allen
2021 South Boulevard                   2564 Highway 563                 7325 E Princess Blvd Unit 3107
Houston, TX 77098                      Simsboro, LA 71275               Scottsdale, AZ 85255-5999




Carolyn S Coon                         Carolyn S G Lewis                Carolyn S Lara
1705 Glenmar Ave                       2071 Sand Crest Dr               3300 Voight Boulevard
Monroe, LA 71201                       Shreveport, LA 71118             Apartment 248
                                                                        San Angelo, TX 76905




Carolyn S Reid                         Carolyn Shogrin                  Carolyn Sue Pelzar Sp
138 Bellardia Ct                       1st Interstate Bk Casper F/A/O   1702 Flite Acres
Montgomery, TX 77316-1549              Attn Royalty Escrow Dept         Wimberly, TX 78676
                                       PO Box 40
                                       Casper, WY 82602



Carolyn Sue Seeber                     Carolyn Sue Sturm                Carolyn Sue Webber
31498 Kings Valley West                1320 County Road 64              1598 Hwy 160
Conifer, CO 80433                      Willow Wood, OH 45696            Benton, LA 71006




Carolyn Suzanne Bowers                 Carolyn T Ogden And              Carolyn Talley Heirs
813 S Union Blvd                       Richard A Ogden                  PO Box 431
Lakewood, CO 80228-3308                624 Renaissance Place            Judson, TX 75660
                                       Cedar Hill, TX 75104




Carolyn Taylor                         Carolyn Terrill Sumrall          Carolyn Tilley Whitson
PO Box 153                             2500 Franklin Avenue             4448 Willow Lane
New Waverly, TX 77358-0153             Ruston, LA 71270                 Dallas, TX 75244




Carolyn W Cotton                       Carolyn W Holdman                Carolyn W Prater
500 S First Ave                        700 Encino                       PO Box 420738
Cleveland, MS 38732-3727               Tularosa, NM 88352               Atlanta, GA 30342




Carolyn W Pruett                       Carolyn Watson Beaird            Carolyn Wilson Walker
PO Box 550                             1303 Preston Trail Court         168 Hammons Rd
Gilmer, TX 75644                       Granbury, TX 76048               Choudrant, LA 71227
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Carolyn Woodall Shaw                     Carolyne K Massey                       Carpenter Sons Inc
1106 Coventry Lane                       11410 Ella Lee Lane                     1551 Three Crowns Dr Ste 302
Duncanville, TX 75137                    Houston, TX 77077-6810                  Casper, WY 82604




Carr Environmental Group                 Carriage Services Investment Advisors   Carrie A Fedro
911 Regional Park Dr                     3040 Post Oak Blvd Suite 300            22 Cinnamon Teal Place
Houston, TX 77060-3942                   Houston, TX 77056                       The Woodlands, TX 77382




Carrie Ann Bridges                       Carrie B Isaac Jacobs                   Carrie B Noil Deceased
PO Box 892                               360 Hendrick Lake Road                  1712 Iowa
Hodge, LA 71247                          Tatum, TX 75691                         Texarkana, TX 75501




Carrie Bright                            Carrie Dell Ford Estate                 Carrie E Kotz
PO Box 38                                1000 S Trenton Street                   3898 Vernon Eros Rd
Matagorda, TX 77457-0038                 Ruston, LA 71270                        Eros, LA 71238




Carrie Ford Capel                        Carrie Gail Stringfellow Trust          Carrie Irene Puckett Life Estate
6604 Chaprice Ln                         C/O Texas Commerce Bank                 327 W Circle Drive
Montgomery, AL 36117-4698                PO Box 2558                             Canon City, CO 81212
                                         Houston, TX 77252-8033




Carrie L Britt                           Carrie Lee Gardner                      Carrie Lee Heard Link
6082 Sunny Spring                        1402 Harvard Avenue                     Jpmorgan Chase Bank
Columbia, MD 21044                       Shreveport, LA 71103                    Na La1 3735
                                                                                 PO Box 1412
                                                                                 Monroe, LA 71201



Carrie Lee Heard Link Estate             Carrie M Freeman Stuckey                Carrie Mae Lewis King
Carolyn L Firth Executrix                1508 Amman Street                       3060 Duncan Dr
5318 Siesta Cove Drive                   West Monroe, LA 71292                   Shreveport, LA 71119-2302
Sarasota, FL 34242




Carrie Moore                             Carrie Reed Devaughn                    Carrie S Williams
278 Broadway 1                           2507 W Florence Ave                     2912 Summer Hill Circle
Arlington, MA 02474                      Los Angeles, CA 90043                   Nacogdoches, TX 75965




Carrie Stephenson                        Carrie Swann Key Wicker                 Carrie Tucker Oden Dudley
Address Redacted                         3701 Coffeeville Rd                     Sb 64 Lake Cherokee
                                         Jefferson, TX 75657                     Tatum, TX 75691




Carrie Wellborn Oden                     Carrie Woodard Williams                 Carrizo Oil Gas Inc
801 Alpine Dr                            214 Garr Road                           500 Dallas Street Ste 2300
Marshall, TX 75672-7839                  Ruston, LA 71270                        Houston, TX 77002
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Carrol L Sanford                        Carrol R Mcginnis                      Carroll Albert Mccoy
481 Behan Loop                          4 Lochtyne Cr 4                        PO Box 232
Many, LA 71449                          Houston, TX 77024                      Alamance, NC 27201




Carroll Ann Bivins                      Carroll Bond Madden                    Carroll C Estes
3855 Medford Rd                         1003 Madden Road                       5846 Desco Dr
Fort Worth, TX 76103                    Ruston, LA 71270                       Dallas, TX 75225




Carroll Contracting Compression Inc     Carroll Financial Associates Inc       Carroll L Lee And Peggy G Lee
3811 Mccoy Drive                        4201 Congress Street Suite 210         D/B/A Cedar Mountain Ranch
Building D                              Charlotte, NC 28209                    c/o Munsch Hardt Kopf Harr P C
Bossier City, LA 71111                                                         500 N Akard Street Suite 3800
                                                                               Dallas, TX 75201-6659



Carroll Lafitte                         Carroll M And Elizabeth Sigman         Carroll Rich Production Operators
4350 Thomas Ln                          9046 S Hwy 287                         274 Hodges Plant Rd
Beaumont, TX 77706-7731                 Corsicana, TX 75110                    Arcadia, LA 71001




Carroll Stanley Dupree                  Carroll W Campbell                     Carrot Top Industries Inc
PO Box 285                              13814 Boca Grande Ln                   328 Elizabeth Brady Road
Alba, TX 75410-0285                     Houston, TX 77044                      Hillsborough, NC 27278




Carrousel Construction                  Carruth Heirs LLC                      Carson Burgess Inc
1201 S Garfield St                      7447 South Lakeshore Dr                PO Box 9900
Midland, TX 79701                       Shreveport, LA 71119                   Amarillo, TX 79106-5900




Carson E Cockrum And Patsy Cockrum      Carson Eugene Long                     Carson Hines Rogers
159 Pr 803                              3301 West Park Row Blvd                c/o Julie Anne Rogers Tutrix
Carthage, TX 75633                      Corsicana, TX 75110                    PO Box 95
                                                                               Grand Cane, LA 71032




Carter Alonzo Ward A Minor              Carter E Johnson                       Carter Federal Credit Union
c/o Texas State Treasury Dept           89 Porter Hill Rd                      133 S Main Street
Unclaimed Property Division             Bear Lake, PA 16402                    Springhill, LA 71075
PO Box 12019
Austin, TX 78711-2019



Carter G Mathies                        Carter Hardenbergh                     Carter Robbins
5533 Golf Course Dr                     55 N E Village Square 6                PO Box 1413
Morrison, CO 80465                      Gresham, OR 97030                      Lake Charles, LA 70602




Carthage Consolidated ISD               Carthage Independent School District   Carthage Isd Education Fund
1 Bulldog Dr                            1 Bulldog Drive                        c/o Carthage Isd
Carthage, TX 75633                      Carthage, TX 75633                     1 Bulldog Drive
                                                                               Carthage, TX 75633
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Carthage United Pentecostal Church     Cartheya Ann Delley Harris     Caruthers Producing Co Inc
Attn Dennis Landtroop                  8611 Glen Echo                 400 Travis Street
202 Bounds                             San Antonio, TX 78239          Suite 1510
Carthage, TX 75633                                                    Shreveport, LA 71101




Carver Schwarz Mcnab Kamper Forbes     Cary Coats                     Cary Cooper
1600 Stout St 1700                     c/o Texas State Treasury       1028 San Jacinto
Denver, CO 80202                       Unclaimed Property Division    Texas City, TX 77590
                                       PO Box 12019
                                       Austin, TX 78711-2019



Cary D Brock                           Cary White Irrigation          Casa
12211 Sweetwater Ct                    1502 South 8Th Street          Attn Stephanie Orr
Stafford, TX 77477                     Lamesa, TX 79331-6702          77 East Thomas Road 112
                                                                      Phoenix, AZ 85012




Casa Blanca Ventures LLC               Casa Grande Royalty Co Inc     Casandra Dennis Sye Sep Prop
2377 W Shaw 204                        Attn Charles L House           3720 Clover Drive
Fresno, CA 93711                       PO Box 2305                    Arcadia, LA 71001
                                       Midland, TX 79702




Casandra O Welch                       Cascade Acq Partners Lp        Cascade Energy Lp
313 Standard Reed Road                 PO Box 7849                    PO Box 7849
West Monroe, LA 71291                  Dallas, TX 75209               Dallas, TX 75209-7849




Cascade Subscription Svc Inc           Casceal Lewis Thomas           Cascile Woodard Wilder Estate
PO Box 75089                           770 Seventh St                 Richard Dorsey Administrator
Seattle, WA 98175-0089                 Richmond, CA 94801             202 Holmes St
                                                                      Palestine, TX 75803




Casco Industries Inc                   Case Energy Partners LLC       Cased Hole Well Services
PO Box 8007                            PO Box 600111                  Dept 2593
Shreveport, LA 71148                   Dallas, TX 75360               PO Box 122593
                                                                      Dallas, TX 75312-2593




Cased Hole Well Services LLC           Casedhole Solutions Inc        Casedhole Solutions Inc
Timothy Crain                          John Dunn                      PO Box 671590
Dept 2593 PO Box 122593                PO Box 267                     Dallas, TX 75267-1590
Dallas, TX 75312                       Weatherford, OK 73096




Caserta Oil Gas Tr                     Casey Joe Major                Casey Michael Taylor
Barbara K Caserta Ttee                 53152 Flowing Stream Court     2956 Lyons St
323 West First St                      South Bend, IN 46628           Arcadia, LA 71001-3816
Tyler, TX 75701




Casey Reagan Thomas                    Casey Sbicca                   Casey Wade Madden
829 Boyd Creek Rd                      Address Redacted               201 DickS Store Rd
Mckinney, TX 75071-3328                                               Simsboro, LA 71275
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Cash Flow Experts Inc                  Cash Flow Experts Inc             Cashmere Valley Bank
Fbo Brush Country Hotshot Llc          Fbo Of 2J Lease Service Llc       117 Aplets Way
PO Box 260074                          PO Box 260074                     Cashmere, WA 98815
Corpus Christi, TX 78426               Corpus Christi, TX 78426




Casper College Foundation              Casper Star Tribune               Cass County Livestock Show
125 College Dr                         PO Box 742547                     207 Green Acres Dr
Casper, WY 82601                       Cincinnati, OH 45274-2547         Atlanta, TX 75551




Cass County Tax Assessor Coll          Cass County Tax Assessor Coll     Cassandra Adams
119 N Kaufman St                       Becky Watson Fant Pcc             PO Box 1438
Linden, TX 75563                       PO Box 870                        Mansfield, LA 71052
                                       Linden, TX 75563




Cassandra Campos                       Cassandra Davis Mccoy             Cassandra G Sampson
6846 Sir Moses                         PO Box 132                        3320 Pinbrooke Drive
Corpus Christi, TX 78414               Mansfield, LA 71052               Dallas, TX 75241




Cassandra J Thompson                   Cassandra K Lang                  Cassandra Keyser
12642 Erin Ave                         15 Nw Village Green Dr Apt 211    94 Teal Dr
Baton Rouge, LA 70814                  Lawton, OK 73505-5937             PO Box 162
                                                                         Blenheim, ON N0P 1A0
                                                                         Canada



Casselman Lutes Irrv Trust             Cassie Boyette Colema             Cassie L Moore
Bret Walker Trustee                    1703 Corley St                    PO Box 654
PO Box 250969                          Ruston, LA 71270                  Hodge, LA 71247
Plano, TX 75025




Cassie M Delley                        Cassie Raye Graves Smith          Cassie Talton
9556 Empire Rd                         8140 Paula Kay Pl                 557 Forest Oaks Rd
Oakland, CA 94603-1046                 Shreveport, LA 71107              Monroe, LA 71202




Cassity Foundation Drilling LLC        Cassity Foundation Drilling LLC   Cassity J Jones
Jerry Cassity                          PO Box 752                        12 Thorntree
PO Box 366                             Livingston, TX 77351              Longview, TX 75601
George West, TX 78022




Casso Ltd                              Castagno Family Ltd               Castello Enterprises Inc
PO Box 6694                            704 Cumberland Rd                 c/o Crmlp
Laredo, TX 78042                       Tyler, TX 75703-9328              PO Box 53567
                                                                         Midland, TX 79710




Castle Car Wash                        Castle Inc                        Castle Peak Resources LLC
1500 W Pacific Coast Hwy               PO Box 1406                       8401 N Central Expressway 525
Long Beach, CA 90810                   Letter Returned Not Known         Dallas, TX 75225
                                       Ruston, LA 71270-1406
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Castle Rock Electric                    Castle Royalties LLC                    Castleton Energy Corp
PO Box 339                              PO Box 660082                           7001 Preston Rd
Green River, WY 82935                   Dallas, TX 75266                        Suite 301 Lb 35
                                                                                Dallas, TX 75205




Castrol Industrial North America Inc    Casundra Kay Maxey Downs                Cat Connection
Jennifer Campbell                       PO Box 601                              6255 Habitat Dr Apt 1058
150 West Warrenville Road Verify        Sterlington, LA 71280                   Boulder, CO 80301-3218
Naperville, IL 60563




Cat Spring Properties LLC               Catalina Channel Express Inc            Catalyst Corporate Federal C U
PO Box 450                              385 E Swinford St                       6801 Parkwood Blvd
Sealy, TX 77474                         San Pedro, CA 90731-1002                Plano, TX 75024




Catalyst Finance Lp                     Catalyst Finance Lp                     Catalyst Oilfield Services Inc
Assignee For                            Fbo Energy Production Specialties Llc   PO Box 8485
Tri Element Inc                         PO Box 3586                             Midland, TX 79708
PO Box 3586                             Houston, TX 77253-3586
Houston, TX 77253-3586



Caterina F Provost                      Caterpillar                             Catesby W Clay
224 Adeline Ave                         2120 West End Ave                       616 Cynthia Rd
Pittsburgh, PA 15228                    Nashville, TN 37203                     Paris, KY 40361




Cathan Brooks                           Catharine C Marble                      Catharine W Jackson
1311 Martin Loop                        835 Burlington Ave                      PO Box 7697
Ruston, LA 71270                        Billings, MT 59101-5835                 Austin, TX 78713




Catherina Patterson Mill                Catherine A Compere                     Catherine A Custer Thibodaux
PO Box 2690                             900 Knollwood Drive                     PO Box 144692
Cheyenne, WY 82003                      Santa Barbara, CA 93108                 Austin, TX 78714-4692




Catherine A Duffield                    Catherine A Palecek                     Catherine A Weaver
Address Redacted                        5346 Autumnwinds Dr                     9607 Oxford Grove Drive
                                        St Louis, MO 63129                      Houston, TX 77095




Catherine Alexander                     Catherine Ann Obrien Sturgis            Catherine Ann Powell
1 White Thorn Dr                        PO Box 53197                            5603 Elderwood Dr
Miami Springs, FL 33166                 Shreveport, LA 71135-3197               Tyler, TX 75703




Catherine Anne Schroeder                Catherine Anne Schroeder Income         Catherine Armstrong Sanders
1603 Gum Creek Cv                       Beneficiary Trust                       608 Slaydon St
Niceville, FL 32578-1511                c/o Corinne S Walsh Trustee             Henderson, TX 75654
                                        9001 Rushing River Way
                                        Niceville, FL 32578
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Catherine B Hrdy                        Catherine Blaize Norton        Catherine Brim Wilson
c/o Daniel B Hrdy A I F                 6157 Chelsey Lane              1 Denise Drive
21440 Road 87                           Dallas, TX 75214               San Pablo, CA 94806
Winters, CA 95694




Catherine Bryant                        Catherine C Tillman            Catherine Carroll Vidler
4155 Talley Road                        195 La Costa Circle            PO Box 836
Longview, TX 75602                      Weatherford, TX 76088          Logansport, LA 71049




Catherine Clark Montague Huber          Catherine Cox Jones            Catherine D Pinkston
3831 Foxridge Rd                        14300 Chenal Parkway 7000      PO Box 352
Charlotte, NC 28226-7255                Little Rock, AR 72211          Center, TX 75935




Catherine Donlin Ferguson               Catherine Donnell              Catherine E A Walp
2990 East 17Th Ave Unit 1205            Ste 216 146                    2320 S Zang Ct
Denver, CO 80206                        190 W Continental Rd           Lakewood, CO 80228
                                        Green Valley, AZ 85622




Catherine E Clements Matthews           Catherine E Donati             Catherine Erb
1190 E Kenyon Ave                       407 Placer St                  PO Box 5279
Englewood, CO 80113                     Rogue River, OR 97537          Austin, TX 78763




Catherine G Colvin                      Catherine G Roberts Trust      Catherine G Sheetz Heritage Tr
c/o Catherine C Mcllwain Aif            Barry Coates Roberts           2131 N Collins St Ste 433 635
PO Box 792                              George L Stieren Co Trustees   Arlington, TX 76011
Grayson, LA 71435                       7373 Broadway Ste 406
                                        San Antonio, TX 78209



Catherine Gorman Doherty Salata         Catherine Gorrell              Catherine Graves
1909 Wren Drive                         Address Redacted               PO Box 160970
Munster, IN 46321                                                      Austin, TX 78716




Catherine H Johnson                     Catherine Hagler Dozier        Catherine Joan M Page Living Trust
1411 Edgewood Dr                        600 Hamilton Hills Drive       Catherine Joan M Page Ttee
Palo Alto, CA 94301-3118                Auburn, AL 36830               PO Box 1147
                                                                       Rawlins, WY 82301




Catherine Kaspala                       Catherine Katie M Richard      Catherine L Gilbert Life Est
1933 Davids Court                       1128 Fairway Drive West        4543 Forrest Land
Abilene, TX 79602                       Hideaway, TX 757715102         College Station, TX 77845




Catherine L Jones                       Catherine L Long               Catherine L Schucker
209 Jefferson Oaks Dr                   4801 Woodberry Lane            519 Mccoys Ford Rd
Ruston, LA 71270-7082                   Benton, LA 71006               Front Royal, VA 22630-9063
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Catherine L Wilkoff                    Catherine Lee Hassen Bowden    Catherine Lois Spencer
3708 Keswick                           806 Chester Wesley Road        7318 County Road 25
Williamsburg, VA 23188                 Chatham, LA 71226              Cortez, CO 81321




Catherine M Abercrombie Estate         Catherine M Viola Trust        Catherine Mae Donaldson
PO Box 130708                          155 Grand Avenue Suite 950     28 Ashlawn
Houston, TX 77219                      Oakland, CA 94612              Front Royal, VA 22630




Catherine Mae Donaldson Trst           Catherine Mae Hawk             Catherine Marie Martin Trust
c/o Charles F Robinson                 1158 Kesler Rd                 Robert H Martin Trustee
28 Ashlawn                             Front Royal, VA 22630-4660     3005 Wincrest Circle
Front Royal, VA 22630                                                 Laredo, TX 78045




Catherine Mcdonough 1989 Rev T         Catherine Murphy Rogers        Catherine Murphy Schubach Tst
Mcdonough William N Trustee            PO Box 95                      Stephen And Mary Trustees
224 Via Napoli                         Grand Cane, LA 71032           2635 Nottingham Way
Naples, FL 34105                                                      Salt Lake City, UT 84108




Catherine N Price                      Catherine Nicole Phillips      Catherine Oden Griffith
6232 Flowerday Drive                   1524 Belmont Dr                119 Hunters Creek
Mt Morris, MI 48458                    Tyler, TX 75701                Longview, TX 75605




Catherine Pate David                   Catherine Perlman              Catherine Roark Brady
247 Fm 1745                            230 East Pedregosa St          2489 Harvest Meadow
Moscow, TX 75960                       Santa Barbara, CA 93101        Paso Robles, CA 93446




Catherine Rudd Long                    Catherine Shelton Westbrook    Catherine Sunday Hooper
7152 Sweet Gum Rd                      1244 High School Road Ne       PO Box 132376
Beaumont, TX 77713                     Bainbridge Isl, WA 98110       Tyler, TX 75713




Catherine W Hamm                       Catherine Wainwright Vollmer   Catherine Wall Trust A
1400 Madera St                         6102 Bluebonnet Pond Lane      Acct 5Wa4700 Norwest Bank
Ruston, LA 71270                       Kingwood, TX 77345             PO Box 5383
                                                                      Denver, CO 80217-5383




Catherine Wall Trust B                 Catherine Weaver               Catherine Zoller Jamison
c/o Dale Bates                         9404 West Rd Apt 814           16818 Talisker Drive
2013 Augusta Dr                        Houston, TX 77064              Richmond, TX 77407-2107
San Angelo, TX 76904




Cathey Lynn Davis                      Cathey Management LLC          Cathey Three LLC
7197 Old Jay Shannon Rd                270 Winterwood Drive           1359 Highway 815
Henrietta, TX 76365                    Shreveport, LA 71106           Simsboro, LA 71275
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Cathleen A Burgess                       Cathleen Mccandless              Catholic Community Services Of
1960 Barding Avenue                      6 Kawaikini Place                Southern Az Aka Meals On Wheel
Decatur, IL 62526                        Wailuku, HI 96793                140 W Speedway Blvd 230
                                                                          Tucson, AZ 85705




Catholic Diocese Of Fort Worth           Cathryn Graham Whaling           Cathryn Henderson
Bishop Kevin W Vann Jcd Dd               2202 Midwestern Parkway          247 Greenstone Court
800 W Loop 820 S                         Wichita Falls, TX 76308          Duncanville, TX 75116
Fort Worth, TX 76108




Cathryn Lee Payne Sp                     Cathy A Trongeau                 Cathy Ann Willis
60022 Ridgeview Drive W                  Ira E Trade Custodian            1532 Cr 4209
Bend, OR 97702                           835 Krenson Woods Lane           Jacksonville, TX 75766
                                         Lakeland, FL 33813-6610




Cathy C Dreyer                           Cathy C Parish                   Cathy Callaway Parish
1818 E Branch Hollow                     2201 Liberty Ct                  1950 E Oak Bend Dr
Carrollton, TX 75007                     Eagleville, PA 19403             Draper, UT 84020-5510




Cathy D Winingham Living Trust           Cathy Darlene Condry Fuehring    Cathy Davis
William H Mckendrick Iii Ttee            259 North Boatman Rd             229 Linder Rd
323 Manor Rd                             Scottsburg, IN 47170             Greenbrier, AR 72058-9688
Laredo, TX 78041




Cathy Dawn Winingham                     Cathy Dawn Winningham            Cathy Elaine Doebbler
8602 London Heights                      8602 London Heights              PO Box 12313
San Antonio, TX 78254                    San Antonio, TX 78254            San Antonio, TX 78212-0313




Cathy Ferron Hartt                       Cathy Hagler Dozier              Cathy Heyman Tr Fbo Frances Heyman 1/2
600 N 4Th St                             600 Hamilton Hills Drive         c/o Kanaly Tr Lta
Montrose, CO 81401                       Auburn, AL 36830                 PO Box 2227
                                                                          Houston, TX 77252




Cathy Horton                             Cathy J Douglas                  Cathy L Dzik
4101 Nw Expressway Apt 16253             544 Jackson Rd                   1183 Key West Ct
Oklahoma City, OK 73116-1667             Simsboro, LA 71275               Machesney Park, IL 61103




Cathy Moore Hunter                       Cathy Pride                      Cathy R Skeete
505 Caribbean Dr                         1000 Fm 348 S                    PO Box 2881
Lockhart, TX 78644                       Henderson, TX 75654              Lawton, OK 73502




Cathy Sue Oshea Collier                  Cathy Trabue                     Cathy W Carter
PO Box 4366                              4908 W 83Rd St                   3709 South Garrett Street
Mankato, MN 56002                        Prairie Village, KS 66208-4930   Marshall, TX 756727816
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Cathy Wood Hancock                       Cato Delley Jr                 Cato William Baskerville Jr
2522 Sage Brush Lane                     1432 48Th Avenue               1600 Utah St
Sugarland, TX 77479                      Oakland, CA 94601              Fairfield, CA 945334520




Cato William Baskerville Sr For Life     Cattle Country Equipment       Cavanaugh Machine Works
388 Pepper Drive                         506 N Main St                  1540 Santa Fe Ave
Vallejo, CA 94589                        Jewett, TX 75846-4554          Long Beach, CA 90813




Cave Enterprises                         Caven Energy Interests LLC     Cavenders Boot City
PO Box 79                                2738 Trail Of The Madrones     1306 W Loop 281
Flora Vista, NM 87415                    Austin, TX 78746               Longview, TX 75604




Cavenders Boot City                      Cawley Gillespie Associates    Cawley Gillespie Assoc Inc
2025 W S W Loop 323                      302 Fort Worth Club Building   306 West 7Th Street
Tyler, TX 75701                          306 West Seventh Street        Suite 302
                                         Fort Worth, TX 76012-4987      Fort Worth, TX 76102




Cayuga Isd                               Cayuga Isd                     Cayuga Pipeline Company
17750 N US Hwy 287                       Attn Carol Pugh                5535 Yale Blvd Ste 201
Tennessee Colony, TX 75861               PO Box 427                     Dallas, TX 75206
                                         Cayuga, TX 75832




Cb Community School Parent               Cb Markham Jr Estate Trust     Cb Moncrief Oil Gas LLC
Teacher Student Association              2512 Metzger Rdsw              Moncrief Building
PO Box 596                               Albuquerque, NM 87105-6336     950 Commerce St
Crested Butte, CO 81221                                                 Fort Worth, TX 76102-5418




Cba Investments LLC                      Cbc Supply Inc                 Cbeyond
PO Box 5549                              PO Box 250                     PO Box 848432
Shreveport, LA 71135                     Sarepta, LA 71071-0250         Dallas, TX 75284-8432




Cbeyond Inc                              Cbm Associates Inc             Cbom LLC
320 Interstate North Parkway             Intertech Environmental Eng    2000 Mckinney Ave Ste 975
Atlanta, GA 30339                        3821 Beech St                  Dallas, TX 75201
                                         Laramie, WY 82070




Cbre Investors Aff Sp Iii                Cbs Operating Corp             Cc Forbes LLC
909 Carolyn Prkwy                        PO Box 2236                    PO Box 250
Lockbox 730024                           Midland, TX 79702              Alice, TX 78333
Dallas, TX 75373-0024




CC Movers                                Ccb 1998 Tr                    Ccb Of Louisiana Inc
620 N Glenwood                           Ben J Fortson Jr Ttee          PO Box 14171
Tyler, TX 75702                          301 Commerce St                Monroe, LA 71207
                                         Fort Worth, TX 76102
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Ccfst                                   Cch                               Ccm Mineral Tr 2 Dtd 12/19/06
325 Balboa Circle                       PO Box 4307                       Fred Roberta Mary Marble Ttee
Camarillo, CA 93012                     Carol Stream, IL 60197-4307       PO Box 796
                                                                          Billings, MT 59103




Ccm Mineral Trust                       Ccs Energy Services               Ccw Interest Inc
Catharine C Marble Trustee              2836 Hillcrest Circle             PO Box 3000 Pmb 395
3131 Harrow Dr                          Benton, LA 71006                  Edwards, CO 81632-3000
Billings, MT 59102




Cd Petroleum LLC                        CD Production Specialist Co Inc   CD Wireline LLC
Heard Mcelroy Vestal Llc                PO Box 1489                       PO Box 1489
PO Box 1607                             Larose, LA 70373                  Larose, LA 70373
Shreveport, LA 71165




Cda Systems LLC                         Cdc Services Inc                  Cdf/ State Fire Marshall
2456 Research Drive                     Dba Maxx Production Services      PO Box 944246
Livermore, CA 94550                     PO Box 336                        Sacramento, CA 94244-2460
                                        Winters, TX 79567




Cdk Perforating                         Cdm Resource Management LLC       Cdm Resources Management LLC
427 Half Moon Way                       PO Box 205802                     20405 State Highway 249 Ste 700
Runaway Bay, TX 76426                   Dallas, TX 75320-5802             Houston, TX 77070-3815




Cdm Trucking Inc                        Cdw Direct LLC                    Cdw LLC
PO Box 2416                             Jeff Wolfanger                    PO Box 75723
Rock Springs, WY 82902                  200 N Milwaukee Ave               Chicago, IL 60675
                                        Vernon Hills, IL 60061




Ce Mcleod LLC                           Ce Price                          Cecelia C Page Et Vir
2350 Airport Freeway                    237 Audobon Acres                 Ll Page
Bedford, TX 76022                       Vidalia, LA 71373                 PO Box 198
                                                                          Grambling, LA 71245




Cecelia C Tuttle Frost                  Cecelia Friend Barnard            Cecelia M Camp Life Estate
5749 Starboardway Drive                 11617 Hwy 160                     c/o Texas State Treasury
Fort Worth, TX 76135                    Doddridge, AR 71834               Unclaimed Property Division
                                                                          PO Box 12019
                                                                          Austin, TX 78711-2019



Cecelia Ricketson                       Cecil A Brooks Et Ux              Cecil A Hood Et Ux
10030 Pinehurst                         Murline Womack Brooks             Ila S Hood
Baytown, TX 77521                       233 Brown Rd                      1373 Mitcham Orchard Road
                                        Quitman, LA 71268                 Ruston, LA 71270




Cecil Baucum Anglin                     Cecil C Carnes Jr                 Cecil Cook Drummond
821 Harmon Loop                         130 Rover Road                    4011 Norfolk
Homer, LA 71040                         Los Alamos, NM 87544              Houston, TX 77027
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Cecil D Stewart                          Cecil Duane Womack             Cecil E Ramey Jr Betty L Ramey
7 Talmont Pl                             PO Box 251                     Betty L Ramey
Little Rock, AR 72223-9054               Troup, TX 75789                200 Majestic Oaks Dr Apt 219
                                                                        Shreveport, LA 71115




Cecil Emerson Bishop                     Cecil M Seago                  Cecil Max King
c/o Texas State Treasury                 16139 Highway 84               236 Quarles Rd
Unclaimed Property Division              Logansport, LA 71049           Ruston, LA 71270
PO Box 12019 Capitol Station
Austin, TX 78711-2019



Cecil O Covington                        Cecil O Fortenberry            Cecil O Johns Jr
974 Mimosa Lane                          541 Cr 2080                    411 Clement Road
Shongaloo, LA 71072                      Woodville, TX 75979            West Memphis, AR 72301




Cecil O Jr Doris M Johns                 Cecil P Mccune                 Cecil R Parsons
411 Clement Road                         997 Rambin Road                3316 Rockbrook
West Memphis, AR 72301                   Stonewall, LA 71078            Plano, TX 75074-4629




Cecil R Starkey                          Cecil Rochelle                 Cecil Ted Shelton And
202 Margie St                            20773 Camden Sq Apt 202        Bettie Jackson Shelton
Cleveland, TX 77327                      Southfield, MI 48076           6715 Highway 1
                                                                        Shreveport, LA 71107




Cecil W Rogers Jr                        Cecil Wharton                  Cecile Boles Threadgill
1180 Cr 246 S                            PO Box 386                     c/o Camile T Schwausch Or
Tyler, TX 75705-5910                     Timpson, TX 75975              Philip K Threadgill Aif
                                                                        22531 Fm South
                                                                        Garrison, TX 75946



Cecile D Ingram                          Cecile Rosenberg               Cecile Shackleford Taylor
610 Briarwood Lane                       2220 Ave Of The                c/o Evers Cox Gober Pllc
Picayune, MS 39466                       Los Angeles, CA 90067          451 N Washington
                                                                        El Dorado, AR 71730




Cecilia Allison                          Cecilia C Woodley              Cecilia Lopez Salinas
80 Brazos                                193 Pomeroy Dr                 PO Box 3662
Bay City, TX 77414                       Shreveport, LA 71115           Bryan, TX 77801




Cecilia Michelle OBannion                Cecilia Nan Athey              CecilS Trucking LLC
275 Guedry                               2389 Fm 16                     c/o Riviera Finance
Sour Lake, TX 77657                      Canton, TX 75103               PO Box 202485
                                                                        Dallas, TX 753202485




Cedar Dell Farm LLC                      Cedar Hill Baptist Church      Cedar Rentals Inc
1758 Missile Base Rd                     PO Box 244                     PO Box 2086
Stonewall, LA 71078                      Grand Cane, LA 71032           Rock Springs, WY 82902
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Cede Co M                                 Cedie J Clay                    Cedric E Williams
c/o DTCC Transfer Operation Dept          5711 Belevedere Avenue          Teresa W Jackson Aif
570 Washington Blvd Fl 1                  Houston, TX 77021               PO Box 512
Jersey City, NJ 08857                                                     Jonesboro, LA 71251




Cedric Lemonte Barnes Sep Prop            Cedric Malone Sep Prop          Cedrick S Jackson
2313 Sw 9Th Terace                        3611 Eve Circle Apt C           315 Stewart Ave
LeeS Summitt, MO 64081                    Mira Loma, CA 91725             West Monroe, LA 71292




Cei Bristol Acquisition Lp                Ceja Royalties Ltd              Cel Properties LLC
Chaparral Energy Inc As Agent             PO Box 1360                     PO Box 2146
701 Cedar Lake Blvd                       Tyler, TX 75710                 Longview, TX 75606
Oklahoma City, OK 73114




Celebrity Helicopters                     Celeritasworks LLC              Celeste Amelia Custer Long
961 West Alondra Blvd                     5001 College Blvd Ste 200       15 Oak Forest Dr
Compton, CA 90220                         Leawood, KS 66211-1618          Longview, TX 75605




Celeste C Grynberg                        Celeste Lutes Moon Irrv Trust   Celestine Favrot Arndt
3600 S Yosemite St Ste 900                Bret Walker Trustee             18000 Karen Rd
Denver, CO 80237                          PO Box 250969                   Encino, CA 91316
                                          Plano, TX 75025




Celestine Favrot Arndt Thomas             Celestine Mangham Waldon        Celestine Pride
18000 Karen Drive                         2010 Rosserson Road Apt 3       904 North Lincoln
Encino, CA 91316                          Monroe, LA 71202                Amarillo, TX 791073927




Celestino Hernandez                       Celex Services Inc              Celia Hanley Tucker
Address Redacted                          PO Box 2412                     18354 Stillwood Ln
                                          180 TP Lane                     Flint, TX 75762
                                          Abilene, TX 79604




Celia Harrell Wall                        Celia Jones Bezou               Celia Talton
1117 Hwy 563                              20263 Brunning Rd               202 Parker Street
Dubach, LA 71235                          Covington, LA 70435-7579        West Monroe, LA 71292




Celina Odilia Campos                      Cell Crete Corporation Inc      Cellular Solutions Signal
1713 Lesle Ln                             135 E Railroad Avenue           Enhancing Specialists LLC
Corpus Christi, TX 78412-4523             Monrovia, CA 91016              2737 N Merician Road
                                                                          Sanford, MI 48657




Cellus R Williams                         Cels Oil Minerals Lp            Cemex Inc
6700 Ironwood                             52 Rue Maison St                PO Box 848388
Gary, IN 46403                            Abilene, TX 79605               Dallas, TX 75284-8388
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Cenergy Advisors LLC                     Cenergy Gas Measurement Inc       Cenergy International Services
8150 North Central Expressway            PO Box 1455                       12650 Crossroads Park Drive
Suite 1725                               Athens, TX 75751                  Houston, TX 77065
Dallas, TX 75206




Cenesia Petroleum Corp                   Cenex Inc                         Centenary College Baseball Gold Dome
Managing Partner Cenesia Royalty Partn   1601 Lewis Ave                    PO Box 41188
3857 Alta Vista Lane                     Po Box 21479, MT 59104            Shreveport, LA 711341138
Dallas, TX 75229




Centennial Bank                          Centerpoint Energy                Centerpoint Energy Field Svcs
620 Chestnut St                          PO Box 4583                       Dba Servicestar
Conway, AR 72032                         Houston, TX 77210-4583            PO Box 203295
                                                                           Houston, TX 77216-3295




Centerpoint Energy Houston               Centerpoint Energy Services Inc   Centex Rentals Services Inc
PO Box 2628                              Attn Treasurer                    PO Box 159
Houston, TX 77252                        1111 Louisiana 38Th Floor         West, TX 76691
                                         Houston, TX 77002




Central Bank Trust                       Central California Power          Central Fishing Tool Inc
285 Main St                              19487 Broken Court                1855 E 29Th Street
Lander, WY 82520                         Shafter, CA 93263                 Signal Hill, CA 90755




Central Florida Investments Inc          Central Hydraulic Inc             Central Hydraulic Inc
5601 Windhover Dr                        1585 Sawdust Rd Ste 210           Dba Wellflow Prod Enhancement
Orlando, FL 32819                        Spring, TX 77380-2095             2002 Timberloch Pl
                                                                           Suite 500
                                                                           The Woodlands, TX 77380



Central Parking System                   Central Petroleum Inc             Central Security Communication
PO Box 790402                            PO Box 2547                       1117 8Th Ave
St Louis, MO 63179-0402                  Madison, MS 39130-2547            Greeley, CO 80631




Central Texas Reclamation LLC            Central Title Company             Central Tool Mfg Inc
PO Box 2360                              2002 Judson Rd                    2695 N Larkin Ave Suite 108
Abilene, TX 79604-2360                   Ste 300                           Fresno, CA 93727
                                         Longview, TX 75601




Central Valley Electric Coop             Centre Point Corporation          Centric Federal Credit Union
PO Box 230                               PO Box 1645                       PO Box 2456
Artesia, NM 88211-0230                   Monterey Park, CA 91754           West Monroe, LA 71294




Centrilift                               Centrilift                        Centripump Inc
Baker Hughes Business Services           Rachael Gaines                    PO Box 52321
PO Box 301057                            2929 Allen Parkway Suite 2100     Midland, TX 79705
Dallas, TX 75303-1057                    Houston, TX 77019
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Century 2000 Royalty Prtnrsp              Century Calibrating Company         Century Graphics Sign Inc
Attn Charles W Brown                      1101 E 25Th Street                  PO Box 8309
PO Box 587                                Signal Hill, CA 90755               Midland, TX 79708
Marlow, OK 73055-0587




Century Production Co A Ltd Partnership   Century Real Property               Centurylink
6 Desta Dr Ste 1100                       Investments Lp Pmb 225              100 Centurylink Dr
Midland, TX 79705                         13359 N Hywy 183 Ste B 406          Monroe, LA 71203
                                          Austin, TX 78750




Centurylink                               Centurylink                         Cerida Investment Corp
PO Box 52187                              PO Box 91155                        1215 24Th St West
Phoenix, AZ 85072-2187                    Seattle, WA 98111-9255              Suite 125
                                                                              Billings, MT 59102




Cerry C Sloan                             Certex Usa Inc                      Certified Laboratories
103 Northcastle                           PO Box 201553                       23261 Network Place
Longview, TX 75604                        Dallas, TX 75320-1553               Chicago, IL 60673-1232




Certus Energy Solutions LLC               Certus Energy Solutions LLC         Cervantes Portfolio LLC
Dave Jarrard                              PO Box 204507                       3900 East Mexico Ave
15710 John F Kennedy Blvd Suite 260       Dallas, TX 75320-4507               Suite 1350
Houston, TX 77032                                                             Denver, CO 80210-3940




Ceslie Bolton                             Cessele Wiler                       Cetco Energy Services
215 Pleasant Meadows Lane                 350 Cr 208                          Fka Cetco Oilfield Services Company
Dallas, TX 752177915                      Carthage, TX 75633                  Michelle Niederstadt
                                                                              1001 Ochsner Blvd Suite 425
                                                                              Covington, LA 70433



Cetco Energy Services Co                  Cfnla Properties LLC                Cfo Resources Inc
PO Box 202172                             c/o Regions Bank                    3323 N Midland Dr Ste 113 500
Dallas, TX 75320-2172                     PO Box 11566                        Midland, TX 79707
                                          Birmingham, AL 35202




Cfsb                                      Cgg Land U S Inc                    Cgg Land U S Inc
810 Seventh Avenue Suite 1115             Division President Cheryl Oxsheer   PO Box 203914
New York, NY 10019                        10300 Town Park Drive               Dallas, TX 75320-3914
                                          Houston, TX 77072




Cgg Services Canada Inc                   Ch Allen                            Chaco Energy Company
715 5Th Avenue Sw                         PO Box 580                          PO Box 1587
Calgary, AB T2P 5A2                       Jonesboro, LA 71251                 Denver, CO 80201-1587
Canada




Chad A Gilbert                            Chad Alan Alexander                 Chad And Paulette Ellis
66248 Avenida Ladera                      352 Walnut Creek Rd                 1852 Akin Rd
Desert Hot Springs, CA 92240              Simsboro, LA 71275                  Waskom, TX 75692
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Chad B Gibson And Melissa K Gibson     Chad Bergman                        Chad Brown
PO Box 406                             Address Redacted                    4245 Don Ortega Place
Shelbyville, TX 75973-0406                                                 Los Angeles, CA 90008




Chad Davis Escoe                       Chad Dean                           Chad Dickerson
2936 Barton Skyway                     378 County Road 319D                1837 N Steven Dr
Apt 431                                Henderson, TX 75654-2201            Hobbs, NM 88240
Austin, TX 78746




Chad Dubose                            Chad E Turnage Cheri Gray Turnage   Chad Edward Hankins
12325 Nw Big Fir Circle                107 Janis Street                    349 Redwood Rd
Portland, OR 97229                     West Monroe, LA 71292               Redwood, MS 39156




Chad Golson                            Chad Jason Lowrey                   Chad Lee Holloway Michelle Holloway
18941 Harborside                       939 Plantation Dr                   PO Box 181
Montgomery, TX 77356                   Lewisville, TX 75067                Sarepta, LA 71071




Chad Michael Hammer Trust              Chad Michael Henson                 Chad Palmer
c/o Connie Sue Parnett Latham          8828 Cracked Wheat Trl              789 N Crown King Ave
Trustee                                Fort Worth, TX 76179                Washington, UT 84780-2587
PO Box 325
Kilgore, TX 75662



Chad Warren                            Chaing C Lin And Chi Huei Wu Lin    Chaka Travis Tanya Chaka
c/o Donna Warren Holt Poa              1910 Mimosa                         PO Box 8
429 Pine Terrace                       Ruston, LA 71270                    Boling, TX 77420
Center, TX 75935




Chalker Energy Prtns Iii LLC           Challenger International Inc        Challenger Process Systems Co
1107 Grand River Dr                    12811 Fm 529                        Po Drawer 99183
Richmond, TX 77406-1848                Houston, TX 77041                   Ft Worth, TX 761990183




Chalmers Alfred Ray                    Chalmers Collins Alwell Inc         Chalos Minerals No 2
7215 E 99Th Street                     PO Box 52287                        501 Manor Rd
Kansas City, MO 64134                  Lafayette, LA 70505                 Laredo, TX 78041




Chambers County Tax A/C                Chambers Law Firm PLLC              Champion Technologies Inc
PO Box 519                             616 Fm 1960 Rd W Suite 450          Legal Department
405 S Main St                          Houston, TX 77090-3000              3200 Southwest Freeway Suite 2700
Anahuac, TX 77514                                                          Houston, TX 77027




Champion Technologies Inc              Champlin Exploration Inc            Champlin Family Trust
PO Box 2243                            Distribution Account                PO Box 1159
Houston, TX 77252                      PO Box 3488                         Pauama Valley, CA 92061
                                       Enid, OK 73702
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Chance C Barton                          Chance Tool Ltd                       Chancellor Oil Tool Inc
1919 North Turner                        Drawer J                              PO Box 204528
Hobbs, NM 88240                          Kermit, TX 79745                      Dallas, TX 75320-4532




Chances Pumping LLC                      ChanceS Pumping LLC                   Chandeleur LLC
911 Mills Rd                             911 Mills Road                        PO Box 56228
Logansport, LA 71049                     Logansport, LA 71049                  Houston, TX 77256




Chang Chia Chih                          Channelview Isd                       Chanta Marie Elder
Address Redacted                         L Ross                                Route 2 Box 221 Ee
                                         828 Sheldon Road                      Cushing, TX 757609802
                                         Channelview, TX 77530




Chantay White                            Chantell E Johnson                    Chapa Osvaldo
Address Redacted                         PO Box 392                            Address Redacted
                                         Spencer, OK 73084




Chapa Gate Guard Service LLC             Chaparral Energy LLC                  Chaparral Services Inc
PO Box 1586                              PO Box 953852                         Mark Rankin
George West, TX 78022                    St Louis, MO 63195-3852               801 Cherry St Suite 2100
                                                                               Ft Worth, TX 76102




Chapin Contractors Lp                    Chapman R Mays                        Charco Minerals Ltd
12435 Little Deer Creek Lane             PO Box 93717                          PO Box 101089
Nevada City, CA 95959                    Southlake, TX 76092                   Ft Worth, TX 76185-1089




Charda Pierce Bronaugh                   Chardonnay I Ltd                      Charger Resources LLC
104 Westchester St                       c/o Tony Morgan Gollob Morgan Peddy   9001 Airport Freeway
Lufkin, TX 75901-7322                    1001 Ese Loop 323 Suite 300           Suite 700
                                         Tyler, TX 75701                       North Richland Hills, TX 76180




Charger Services                         Charissa Garrett Henry                Charity Amber Arwine Test Tr
PO Box 53070                             3053 Seneca Drive                     Sham Myatt Ttee
Midland, TX 79710                        Frisco, TX 75035                      812 9Th St
                                                                               Levelland, TX 79336




Charla Ann Harper                        Charlana Carbone                      Charlci Dawn Ahrens
731 West 126Th St                        7452 Romaine Apt 5                    281 Cannan Rd
Los Angeles, CA 90044                    West Hollywood, CA 90046              Canyon Lake, TX 78133




Charlcie PhiLLPs                         Charlcie Zavala                       Charlena Crawford
188 Parker Lane                          15809 Garydale Drive                  1436 Granada Ave
Carthage, TX 75633                       Whittier, CA 90604                    Corona, CA 92880
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Charlene Clemens                         Charlene Denise Williams            Charlene Huffman
4915 Spring Creek Road                   1415 N 7Th Street                   1416 Trading Post Dr
Arlington, TX 760172244                  Wichita Falls, TX 76301             Fort Worth, TX 76131-5352




Charlene L Coombs                        Charlene L Treffeisen               Charlene Mayeur Crump
3391 Highway 221 North                   15 Firtree Ln                       1166 Forest Dr
Berryville, AR 72616                     Huntington Station, NY 11746-4011   Haynesville, LA 71038




Charlene Reese Nilson                    Charlene Tetina Lugo                Charlene W Greer
2966 Wolhaven                            7500 E Deer Valley Rd 176           418 N Jim Miller 1036
Jackson, MI 49201                        Scottsdale, AZ 85255                Dallas, TX 75217




Charles A Adkisson                       Charles A Aubrey Ii                 Charles A Bryant Est
PO Box 50160                             10186 Evergreen Drive               Nancy Nichols Bryant Ind Exec
Midland, TX 79710                        Grand Junction, CO 49056            616 N Eldridge Pkwy
                                                                             Houston, TX 770794418




Charles A Bryant Iv                      Charles A Dawson                    Charles A Dring
4223 Twin Yuccas Ln                      2123 Fm 1960 W 117                  855 Pearidge Rd
Santa Fe, NM 87507-0840                  Houston, TX 77090                   Dubach, LA 71235




Charles A Harrison Jr                    Charles A Haynes Iii                Charles A Meadows
515 East Carefree Highway 631            PO Box 61578                        3683 Bell Meadows Drive
Phoenix, AR 85085                        Midland, TX 79711                   Longview, TX 75605




Charles A Morgan                         Charles A Parker                    Charles A Reeves Jean C Reeves
c/o Dunn Nutter Morgan Llp               6296 Fm 449 W                       1415 Lazy Lane
3601 Richmond Rd                         Marshall, TX 75670-8605             Longview, TX 75604
Texarkana, TX 75503




Charles A Webb                           Charles Adams Deceased              Charles Albea Reeves
4680 Fm 2208 South                       30 Rivas                            1415 Lazy Lane
Longview, TX 75605                       San Francisco, CA 94132             Longview, TX 75604




Charles Alexander                        Charles Allen Bridges               Charles And Adella Soape
Margaret Lynn Smith Alexander            3281 Walkers Mill Rd                Living Trust Dated 7/5/94
PO Box 547                               Hallsville, TX 76560                1403 Success Street
Ruston, LA 71273                                                             Carthage, TX 75633




Charles And Juli Orr                     Charles Anderson Deceased           Charles B Block
PO Box 1706                              c/o Priscilla Parker                PO Box 31450
Longview, TX 75606                       3221 Two Rivers Dr                  Tuscon, AZ
                                         Sacramento, CA 958339617
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Charles B Block Jr                        Charles B Delony                  Charles B Dorsey
5061 N Gray Mountain Trail                4233 Cypress Village Rd           3812 Van Deman Drive
Tuscon, AZ 85750                          Karnack, TX 75661                 Fort Worth, TX 76116




Charles B Gholson Estate                  Charles B Hammond                 Charles B Hankins
Box 51882                                 c/o Douglas Craig Atty At Law     16906 Redland Downs
Lafayette, LA 70501                       770 S Post Oak Lane Suite 600     San Antonio, TX 78247-2834
                                          Houston, TX 77056




Charles B Mullin                          Charles Beasley                   Charles Blackmon Deceased
775 Gulf Shore Dr Unit 9236               3018 Anitoch Circle               405 Chalet Drive 61
Destin, FL 32541                          Anchorage, AK 99508               Crowley, TX 76036




Charles Blalack                           Charles Botefuhr                  Charles Braffett
503 Cynthia Dr                            600 Legacy Dr 1124                1198 Navigator Drive
Longview, TX 75605-3743                   Plano, TX 75023                   Apartment 6C
                                                                            Ventura, CA 93001-4334




Charles Bruce Bussey                      Charles Bruce Decker              Charles C Barham
Ng 10 Lake Cherokee                       PO Box 639                        PO Box 1612
Longview, TX 75603                        Scottsville, TX 75688             Ruston, LA 71270




Charles C Barham Estate                   Charles C Burgoon                 Charles C Cole
PO Box 6244                               c/o Unclaimed Property Division   3951 Kincaid East Nw
Shreveport, LA 71106                      Po Box 12019                      Warren, OH 44481
                                          Austin, TX 78711-2019




Charles C Freeman And                     Charles C Fuller                  Charles C Meek
Frances J Freeman                         PO Box 26                         2929 Buffalo Speedway
1154 Fm 3174                              Dubach, LA 71235                  1314
Joaquin, TX 75954                                                           Houston, TX 77098




Charles C Moore Iii                       Charles C Thomas                  Charles C Whitener
121 Parsons Road                          317 Overlook Dr                   9728 Buxhill Drive
Rye, NH 03870                             Kerrville, TX 78028               Dallas, TX 75238




Charles C Williams Jr                     Charles Cameron Dean Jr           Charles Caron Jr
101 Village Green                         6208 Victoria Court               791 Rhode Ranch Road
Longview, TX 75601                        Tyler, TX 75703                   Tilden, TX 78072




Charles Caswell Brewer Jr                 Charles Childress                 Charles Choate
910 Dartmoor Dr                           4820 Tartan Dr                    5075 Highway 563
Austin, TX 78746                          Metarie, LA 70003-2639            Simsboro, LA 71275
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Charles Choate Jr                       Charles Clifford Rowe                     Charles Clinton Booth Tst Trst
5075 Highway 563                        917 Marion Hwy                            Guyanne T Elisabeth P Booth
Simsboro, LA 71275                      Farmerville, LA 71241                     3931 Circle Bluff Court
                                                                                  Dallas, TX 75244




Charles Cobb Iv                         Charles Cobb V                            Charles Connell Blaylock
413 Lynoak Street                       c/o Texas State Treasury                  12016 Edgestone Rd
Marshall, TX 756727543                  Unclaimed Property Division               Dallas, TX 75230
                                        PO Box 12019
                                        Austin, TX 78711-2019



Charles Copeland                        Charles Curtis Parrish Jr                 Charles D And Gail L Stacy Tst
43 Dresdan Place                        1104 Jones Rd                             Gail L Stacy Ttee
The Woodlands, TX 77382                 Highlands, TX 77562                       Donald M Stacy A/I/F
                                                                                  11213 Luke St
                                                                                  Riverside, CA 92505



Charles D Bryans                        Charles D Bush                            Charles D Chauvin Ii Linda A Chauvin
2110 Airport                            19 Shady Bend Dr                          PO Box 5014
Paris, TX 75462                         Melissa, TX 75454                         Houma, LA 70364




Charles D Ducharme Geneva S Dutcharme   Charles D Dyar                            Charles D Johns
1900 Ashland Ave                        c/o Marianna Walker                       511 Mccain Drive
Ruston, LA 71270                        673 Fm 9                                  Monroe, LA 71203-4041
                                        Waskom, TX 75692-2545




Charles D Malone Joann Malone           Charles D Mcmurrey                        Charles D Miller
1911 Wood Place                         PO Box 70122                              1016 County Road E
Longview, TX 75601                      Houston, TX 77270-0122                    Lamesa, TX 79331




Charles D Rutherford                    Charles Dan Layne And Wife Glenda Layne   Charles Dang
8129 Fm 139                             1222 Lexington Square                     Address Redacted
Joaquin, TX 75954-5651                  Corsicana, TX 75110




Charles Daniel Snider                   Charles Darwin Hudson                     Charles David Moshinskie
4015 Oakville St                        PO Box 786                                3066 Timberlake
Houston, TX 77093                       Baton Rouge, LA 708210786                 Royal, AR 71968




Charles David Neel Evelyn E Neel        Charles David Schott                      Charles Dawson Mulhearn
211 North 3Rd                           2718 Timberloch Place                     1200 Andy Dr
Timpson, TX 75975-5210                  The Woodlands, TX 77380                   Conway, AR 72034




Charles Dennis Kalmbach Iv              Charles Douglas Bryans                    Charles Douglas Fuller
2804 Circlewood Ct                      2016 Rev Tr Uad 1 1 16                    13269 Mill Point Avenue
Louisville, KY 40206                    Charles Douglas Bryans Ttee               Gonzales, LA 70737
                                        2110 Airport Rd
                                        Paris, TX 75462
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Charles Duane Tabor                      Charles Duke Furrh                      Charles Dwaine Stacy Estate
270 Hickory Hill                         4323 Ione Street                        Gail L Stacy Trustee
Summerfield, LA 71079                    Bellaire, TX 77401                      11213 Luke St
                                                                                 Riverside, CA 92505




Charles Dwight Smith                     Charles E Ashley S Smith                Charles E Asseff
1004 Mountain Terr                       203 Heron Trail                         308 Buttonwood Circle
Hurst, TX 76053                          West Monroe, LA 71291                   Shreveport, LA 71106




Charles E Bailey                         Charles E Bly Irrev Decedents B Trust   Charles E Buddy Honeycutt
597 Cr 120                               Janet V Bly Trustee                     PO Box 57
Carthage, TX 75633                       PO Box 409                              Overton, TX 75684
                                         Hansville, WA 98340




Charles E Davis                          Charles E Frith                         Charles E Giles
1110 Shady Oak Trail                     PO Box 352                              C/O Shirley Hunter
Mansfield, TX 76063-4881                 Longview, TX 75606                      3602 Christie Street
                                                                                 Houston, TX 77026




Charles E Hand                           Charles E Hardin                        Charles E Hurwitz
1703 Willits Drive                       201 Zephyr                              1330 Post Oak Blvd Ste 2000
Pearland, TX 77581                       Plainview, TX 79072                     Houston, TX 77056




Charles E Jarrell Life Estate            Charles E Jenkins Iii                   Charles E Land
4650 Collier Street Apt 180              PO Box 3000                             421 W Bute Street
Beaumont, TX 77706                       St Francisville, LA 70821               Norfolk, VA 23510-0923




Charles E Lawson                         Charles E Minnich                       Charles E Strange
c/o Theresa A James                      Bank Of America Na Agent                PO Box 3146
13523 Venice Villa Lane                  Advisory Acct 7/1311400                 West Monroe, LA 71292
Sugar Land, TX 77498                     PO Box 840738
                                         Dallas, TX 75284-0738



Charles E Strange 1976 Tr 1              Charles E Wesley                        Charles E Williams
Monica Haufler Trtee                     8 Town Oaks Place                       35 Morgan Ln
PO Box 1210                              Bellaire, TX 77401                      Morgantown, MS 39483
Inverness, FL 34451




Charles E Woodard                        Charles E Wormser Family Trust          Charles Eddins George
482 Garr Rd                              David B Wormser Trustee                 9918 Courtney Palms Blvd 201
Ruston, LA 71270                         PO Box 509                              Tampa, FL 33619
                                         Schertz, TX 78154




Charles Edmond Cannon                    Charles Edward Brumley                  Charles Edward Cannon
11906 Southview Street                   107 Mcneil St                           2508 Boss St
Houston, TX 77047                        West Monroe, LA 71292-6211              Lamarque, TX 77568
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Charles Edward Deal                    Charles Edward Lewis           Charles Edward Mcclean Et Ux
3678 Hidden Drive Apt 2404             5521 Harvard                   Regan Humphries Mcclean
San Antonio, TX 78217                  Lubbock, TX 79416              608 Yorkville Road
                                                                      Yorktown, VA 23692




Charles Edward Mclean                  Charles Edward Ogden           Charles Edward Radack
516 Piney Point Road                   1920 Highway 148               13318 Fawcett Dr
Yorktown, VA 23692                     Ruston, LA 71270-8444          Houston, TX 77069




Charles Edward Rieb                    Charles Edward Woodard         Charles Edwin Richter
Rocio Lara Rieb                        220 Garr Road                  Richter Farm
4041 Meadow Lake Ln                    Ruston, LA 71270               220 Masterson Street
Houston, TX 77027-3912                                                Laredo, TX 78046




Charles Eli Tompkins Ii                Charles Eugene Clark           Charles Eugene Massey
5126 Grouse Rd Unit W                  14930 Cr 3599                  C/O Lucy Weaver
Gilmer, TX 75645                       Ada, OK 74820                  5733 Franklin Court
                                                                      Frisco, TX 75033




Charles Eugene Massey Dealing          Charles Eugene OBrien          Charles Eugene Whitlock
With His Sole And Sep Prop             14912 Camino Rio               23605 Highway 64
6456 Son Light Way                     Helotes, TX 78023-4710         Troup, TX 75789
Knoxville, TX 37918




Charles F Crothers                     Charles F Crumb                Charles F Doornbos Revoc Trust
10016 Toby Rd                          1025 Nottingham Drive          Darian K Doornbos Ttee
San Ramon, CA 94583                    Carrollton, TX 750074818       PO Box 639
                                                                      Bartlesville, OK 74005




Charles F Dupuy Jr                     Charles F Hamner               Charles F Lee Et Ux
26189 Chesterfield Rd                  9 Carolan Ave                  Dottie Morris Lee
Punta Gorda, FL 33983                  Hampton, NH 03842              PO Box 441
                                                                      Drasco, AR 72530




Charles F Shelor                       Charles F Sheppard             Charles F Shepperd
3307 Hollow Creek Road                 4466 Golden Lake Drive         4466 Golden Lake Dr
Arlington, TX 76001                    Sarasota, FL 34233-1978        Sarasota, FL 342331978




Charles F Winston                      Charles Ferdon                 Charles Franklin Robinson
Farmers National Co Agent              PO Box 390427                  11215 Sage Valley
5110 S Yale                            Keauhou, HI 96739              Houston, TX 77089
Suite 400
Tulsa, OK 74135



Charles Frederick Berger               Charles Frederick Mccalley     Charles Freeman Brown
PO Box 1161                            314 Woodland Drive             1011 N Gregg St
Fort Worth, TX 76101                   Birmingham, AL 35209           Big Spring, TX 79720
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Charles G Gates                          Charles G Gates Est Deceased       Charles G Mills Sep Prop
PO Box 22787                             Regions Bank Trust Nrre            3303 Honeysuckle Drive
Jackson, MS 39157                        PO Box 23100                       Killeen, TX 76542
                                         Jackson, MS 39225-3100




Charles G Salsbury                       Charles G Vivion                   Charles Garr Jr
278 Flat Creek Rd                        1920 Mt Evans Ct                   2182 Rosedale Ave
Eros, LA 71238                           Loveland, CO 80538                 Oakland, CA 94601




Charles Gholston                         Charles Giles Jr                   Charles Glenn Fallin
1701 Mckeen Place                        1174 E Vernon Ave                  212 Hwy 519
Apt 89                                   Los Angeles, CA 90011              Arcadia, LA 71001
Monroe, LA 71201




Charles Glenn Rippy                      Charles Goodman Jr                 Charles Greeley Walker
121 S Broadway                           5140 Chinook Way                   253 West 72nd Street
Suite 404                                Murray, UT 84107                   New York, NY 10023
Tyler, TX 75702




Charles Gregory Porter                   Charles Gregory Smith Trust        Charles Gregory Smith Trust
5202 Patricia                            Southside Bk Ttee Uwo Bb Giles     Southside Bk Ttee Uwo Cc Giles
Bacliff, TX 77518                        Dtd 7 11 85 Farmrs Natl Co Agent   Dtd 5 29 91 Farmers Natl Co Agent
                                         PO Box 3480 OG Dept                PO Box 3480 OG Dept
                                         Omaha, NE 68103                    Omaha, NE 68103



Charles Grimes                           Charles Gus Glasscock Iii          Charles H Anderson
3420 W 82nd Place                        PO Box 369                         PO Box 46
Inglewood, CA 90305                      Fromberg, MT 59029                 Mt Enterprise, TX 75681-0046




Charles H Burgess                        Charles H Dupree Jr And            Charles H Ferrell
1221 Eton Drive                          Wife Vera J Dupree                 6618 Walton Heath Dr
Richardson, TX 75080                     10329 County Road 2403             Houston, TX 77069
                                         Kemp, TX 75143-8721




Charles H Flournoy Jr                    Charles H Gardner                  Charles H Gulley Iii
2313 Persa Street                        721 Litty Ct Apt 203               PO Box 591
Houston, TX 77019                        Memphis, TN 38103-8779             Marion, LA 71260




Charles H Jowers                         Charles H Mills Jr                 Charles H Murphy Jr Estate
Bettye Jowers H/W                        106 Sunrise Trail                  Martha W Murphy And
PO Box 274                               Del Rio, TX 78840                  Robert M Murphy Co Trustees
Arcadia, LA 71001                                                           200 North Jefferson Suite 400
                                                                            El Dorado, AR 71730



Charles H Murphy Jr Exempt Tr            Charles H Owens                    Charles H Owens Iii And
200 N Jefferson Ste 400                  PO Box 360                         Deloris Stephenson Owens
El Dorado, AR 71730                      Grambling, LA 71245                PO Box 350
                                                                            Grambling, LA 71245
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Charles Hardy Smith Jr                  Charles Harold Willingham Family Trust   Charles Harris
7360 Highway 147                        Bank Of America Na Trustee               23400 Marshall Street
Quitman, LA 71268                       PO Box 840738                            Perris, CA 92570
                                        Dallas, TX 75284-0738




Charles Harrison Mclean Iii             Charles Heidi Beason Rev Tr              Charles Henry Sims
3603 Cedar Lane                         Charles Heidi Beason Co Ttee             4162 Chaparral Place
Farmers Branch, TX 75234                2127 Oak Creek                           Castro Valley, CA 94552
                                        San Antonio, TX 78232




Charles Holston Inc                     Charles Hugh Mcdonald                    Charles Hughes
PO Box 732332                           3008 Mills Ln                            480 Washington Blvd
Dallas, TX 75373-2332                   Monroe, LA 71201                         Jersey City, NJ 07310




Charles I Caskey                        Charles I Miles Kathryn                  Charles I Miles Md
4812 Monkhouse Dr                       S Miles Revocable Mgmnt Trust            3116 Preston Hollow Road
Shreveport, LA 71109                    John F Sullivan Trustee                  Fort Worth, TX 76109
                                        3319 E 100Th Place
                                        Tulsa, OK 74137



Charles J Hart                          Charles J King Life Estate               Charles J Love
2103 Chandler St Apt 309                4823 Seabreeze Drive                     PO Box 135
Kilgore, TX 75662-3743                  San Antonio, TX 78220                    Karnack, TX 75661




Charles J Stewart Trust                 Charles James Estate                     Charles Johnson Minor
Nationsbank Of Texas Na Ttee            Bobbie Schleimer Conservator             Louis C Henderson Guardian
PO Box 840738                           3224 Tice Creek Drive Apt 6              11626 South Van Ness Avenue
Dallas, TX 75284-0738                   Walnut Creek, CA 945953723               Hawthorne, CA 90250




Charles K Billingsley                   Charles K Murray Jr                      Charles Keith Langford
PO Box 27                               10 Keiths Ln                             681 County Road 118
New Ulm, TX 78950                       Alexandria, VA 22314-3877                Carthage, TX 75633




Charles Kelly                           Charles Kenneth Harris                   Charles King
6506 Banta Drive                        9434 Hilldale Drive                      PO Box 502
Missouri City, TX 77489                 Dallas, TX 75231                         Woolwich, ME 04579-0502




Charles L Barney                        Charles L Briggs                         Charles L Briggs Trustee
5 Grogans Park Drive                    1609 21st St                             Faye Kerlin Bonham Trust
Suite 112                               Lake Charles, LA 70601-8939              1609 21st St
The Woodlands, TX 77380                                                          Lake Charles, LA 70601-8939




Charles L Chapman                       Charles L Christine W Walker             Charles L Green
3002 Crestwood Lane                     19741 Deek Park Ave                      288 Lone Star Lane
Kilgore, TX 75662                       Baton Rouge, LA 70817                    Fredericksburg, TX 78624-6391
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Charles L Hall Tr                       Charles L Mcmichael                   Charles L Melanie Partridge Trust
Frost National Bank Ttee                3273 Cr 1132                          Melanie F Charles L
Acct Fb743                              Linden, TX 75563                      Partridge Trustees
PO Box 1600                                                                   140 Rainbow Dr 4040
San Antonio, TX 78296                                                         Livingston, TX 77399



Charles L Presnall                      Charles L Shaw Iii                    Charles L Sikes
400 Woodland Point Rd                   4042 Morman Lane                      108 Stetson Trail
Belton, TX 76513                        Addison, TX 75001                     Georgetown, TX 78628




Charles L Stephenson                    Charles L Tannehill                   Charles L Tennyson
3829 Nantucket                          1506 Hillsdale                        55 Cimmarron Valley Circle
Plano, TX 75023                         Ruston, LA 71270                      Little Rock, AR 72212




Charles L Wolfe Assoc                   Charles Lansing Cobb                  Charles Lansing Deceased Alta Lansing
2901 S First St                         413 Lyn Oak Street                    354 Summerfield Road
Abilene, TX 796051813                   Marshall, TX 75672                    Longview, TX 75605




Charles Larry Goebel                    Charles Lasley                        Charles Lee Brooks
275 Cr 205                              18050 Cr 338                          PO Box 820
Three Rivers, TX 78071                  Terell, TX 75161                      Grambling, LA 71245




Charles Lee Hanspard                    Charles Leflett Glenda Leflett        Charles Leland Stracener
1408 Estate Lane                        1776 Cr 3340                          3715 Van Ness Dr
Desoto, TX 75115                        Joaquin, TX 75954-0429                Alvin, TX 77511




Charles Leroy Cole                      Charles Leung Company                 Charles Louis Nix
6564 Highway 160                        725 9Th Ave Suite 2503                1701 County Road 4130
Cotton Valley, LA 71018                 Seattle, WA 98104                     Bonham, TX 75418




Charles Lynk                            Charles Lynn Starkey                  Charles M Greenlee
1201 Circle Lane                        PO Box 117                            15803 Roseview Lane
Bedford, TX 76022                       Cleveland, TX 77328                   Cypress, TX 77429




Charles M Hornberger Trust              Charles M May And Peggy Pearson May   Charles M Nolan
Charles M Hornberger Trustee            PO Box 57                             200 N Jefferson Suite 308
805 College Boulevard                   Dubach, LA 71235                      El Dorado, AR 71730
San Antonio, TX 78209




Charles M Orr                           Charles M Parham                      Charles M Parsons
3420 Graystone                          133 Watercress Circle                 PO Box 416
Longview, TX 75605                      Houston, TX 77064-3477                Judson, TX 75660
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Charles M Ruckman                       Charles M Scott Jr                     Charles Marion Bradshaw Iii
2139 Fifth Avenue                       645 Red Shute Ln                       PO Box 280
San Rafael, CA 94901                    Bossier City, LA 71112                 Scottsville, TX 756880280




Charles Martin Spangler Jr              Charles Matthews Bailey                Charles Michael Marshall
9712 Estate Lane                        646 Cr 120                             939 Cr 103
Dallas, TX 75238                        Carthage, TX 75633                     Carthage, TX 75633




Charles Michael Pool Trust              Charles Michael Ramsdell               Charles Michael Ruggles
U/W/O Charles C Pool                    3207 Plantation Rd                     18604 W 66Th Pl
Charles Michael Pool Trustee            Raleigh, NC 27609                      Shawnee, KS 66218
3832 Ashbury Lane
Bedford, TX 76021



Charles Milton Fuller Jr                Charles Milton Mcquillin And           Charles Morris Hines
PO Box 5                                Frankie Yelverton Mcquillin            515 Wakefield Court
Dubach, LA 71235                        957 C Rawls Rd                         Montgomery, AL 36109
                                        West Monroe, LA 71292




Charles N Bell Jr                       Charles N Dennis                       Charles N Monsted Iii
2704 Bramble Dr                         409 Dream Catcher Dr                   302 Betz Pl
Monroe, LA 71201                        Leander, TX 78641                      Metarie, LA 70005




Charles N Richardson                    Charles N Richardson Enterprises Inc   Charles N Townsend Iii
PO Box 1358                             PO Box 1358                            127 Doe Run Road
Kilgore, TX 75663                       Kilgore, TX 75663                      Gun Barrel City, TX 75156




Charles N Wells                         Charles N Wooten Deceased              Charles Neal Brandin
PO Box 691                              627 Ridge Road                         10130 Pine Ridge Ln
Livingston, TX 77351                    Lafayette, LA 70506                    Port Arthur, TX 77640




Charles Noble Forbes Rev Trust          Charles Norman Woods                   Charles O Null
F M Bank Trust                          6012 Nobie Lane                        c/o William A Null Curator
Successor Trustee                       Lake Charles, LA 70605                 2588 Hwy 544
PO Box 3627                                                                    Ruston, LA 71270
Tulsa, OK 74101



Charles O Sims                          Charles O Smelley                      Charles O Thomas
3302 Lanham                             1941 Highway 155                       206 Fountainebleau Ave
Midland, TX 79705                       Quitman, LA 71268-4729                 Longview, TX 75605




Charles P Harris                        Charles P Mclane Jr                    Charles P Overton
2505 Burg Jones Lane                    PO Box 1152                            4513 N Fendyke Ave
Monroe, LA 71202                        Elfers, FL 34680                       Rosemead, CA 91770
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Charles P Wyatt                           Charles Pegues                        Charles Pennal
PO Box 189                                356 41st Street Suite D               PO Box 3853
Gary, TX 75693                            Oakland, CA 94609                     Grand Junction, CO 815023853




Charles Peyton Mccullin                   Charles Philip Thompson               Charles Philip Thompson Family Trust
301 West Graham                           Exempt Lifetime Trust                 Charles Philip Thompson Ttee
Mckinney, TX 75069                        Charles Philip Thompson Ttee          1202 West Seldon Lane
                                          1202 West Seldon Lane                 Phoenix, AZ 85021
                                          Phoenix, AZ 85021



Charles QJane B Cherry Fam Tr             Charles R And Wife Dorothy Reynolds   Charles R Coleman
5949 Sherry Lane                          910 Se Cr 3129                        Address Redacted
Suite 835                                 Corsicana, TX 75109
Dallas, TX 75225




Charles R Connaghan                       Charles R Dobbs                       Charles R Eason Jr
PO Box 566                                3606 San Blas                         330 8Th Street
Cheyenne, WY 82003-                       Corpus Christi, TX 78415              Berthoud, CO 80513




Charles R Gober                           Charles R Greer                       Charles R Maxfield
PO Box 579                                1420 Belt Street                      6570 Cr 283
Throckmorton, TX 76483-0579               Baltimore, MD 21230-4717              Kaufman, TX 75142




Charles R Meeker Trust                    Charles R Moffett                     Charles R Morris
PO Box 840738                             2101 Loch Haven                       PO Box 7512
Dallas, TX 75284-0738                     Plano, TX 75023                       Dallas, TX 75209




Charles R Rider Iii                       Charles R Scott                       Charles R Shelton
PO Box 2461                               9803 Neesonwood Dr                    1403 Mahlow
Rockport, TX 78381                        Shreveport, LA 71106                  Longview, TX 75601




Charles R Walker                          Charles R Wilkin Jr                   Charles Ray Greer
1715 Winding View                         Wilkin Rev Living Trust               PO Box 2
San Antonio, TX 78260                     3939 Bee Cove Rd C 100                Kosse, TX 76653
                                          Austin, TX 78746




Charles Ray Hawkins                       Charles Ray Leggett                   Charles Ray Lester
711 Whistler Dr                           310 Water Oak Cir                     924 E Powell Ave
Arlington, TX 76006-2023                  Hemphill, TX 75948-5910               Ft Worth, TX 76104




Charles Ray Young                         Charles Raymond Jr                    Charles Raymond Wallace
1495 Washington St                        6128 Whiterose Trail                  PO Box 653
Arcadia, LA 71001                         Dallas, TX 75244                      Galdewater, TX 75647
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Charles Reaves                           Charles Richard Hubbard Ii       Charles Richard Massey
1554 Gold Schaefer Road                  352 Glendale Ave                 270 Cole Dr
Fredericksburg, TX 78624                 Lexington, KY 40511              Liberty Hill, TX 78642




Charles Robert Blalock                   Charles Robert Fatheree          Charles Robert Hart
3701 St Hwy 137                          708 Waco Street                  2220 Canterbury Drive
Stanton, TX 79782                        Dayton, TX 77535                 Mansfield, TX 76063




Charles Robert Howe Jr Or                Charles Robert Stephens          Charles Roeser Meeker Test Tst
Internal Rev Srvc                        18 Montview Drive                c/o Jp Morgan Chase Bank Na Ttee
909 Ese Loop 323 Room 300                Hanover, NH 03755                PO Box 99084
C5102 Tylr                                                                Fort Worth, TX 76199-0084
Tyler, TX 757019612



Charles Roland Eason                     Charles Roland Mathewes          Charles Ryan Connaghan Family Trust
1320 Maxey Rd                            808 Mays St                      c/o Leslie Connaghan Aif
Longview, TX 75605                       Ruston, LA 71270                 630 Vista Lane
                                                                          Cheyenne, WY 82009




Charles S Brown                          Charles S Colvin                 Charles S Eady
312 River Hills Drive                    584 Meador Rd                    1313 South 11Th Avenue
Denison, TX 750220                       Kilgore, TX 75662                Safford, AZ 85546




Charles S Falley                         Charles S Johnson                Charles S Magown And Penny Lynn Magown
Address Redacted                         16309 Malden Street              125 Annandale Parkway East
                                         North Hills, CA 91343            Madison, LA 39110




Charles S Taylor Jr                      Charles S Wingo                  Charles Sansevere
Tx Compt Pub Accts                       6613 Nw 81st Blvd                Madeline Sansevere
Unclmd Prop                              Gainsville, FL 32653             54 Corona Court
PO Box 12019                                                              Old Bridge, NJ 08857-2852
Austin, TX 78711



Charles Schmidt                          Charles Schusterman Enterprise   Charles Schwab
2810 Crockett                            c/o Sfi Services Company         211 Main Street
Amarillo, TX 79109                       PO Box 699                       San Francisco, CA 94105
                                         Tulsa, OK 74101




Charles Schwab                           Charles Schwab Bank Ttee         Charles Schwab Bank Ttee
Attn Jana Tongson                        Schwabplan Svgs Inv Plan         United Airline Pilot Ret Plan
Attn Proxy Dept Phxpeak 01 1B574         Fbo Aaron Sturm                  Fbo Robert Paul Kanode
2423 E Lincoln Drive                     11898 Frond Rd                   15982 Litten Way
Pheonix, AZ 85016                        Truckee, CA 96161                Ramona, CA 92065



Charles Schwab Bank Ttee                 Charles Shepperd Dealing In      Charles Shirley Dickson Tr
United Airline Pilot Ret Plan            His Sole Sep Prop                Charles Shirley Dickson Ttee
1121 Queens Road West                    PO Box 3123                      2710 E 56Th Place
Charlotte, NC 28207                      Bryan, TX 77805                  Tulsa, OK 74105
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Charles Short                             Charles Smithwick Jr           Charles Stanley Baldwin And
4540 Springdale St                        522 Hiawatha                   Karen Lee Quilty Baldwin
Port Arthur, TX 77642                     Corpus Christi, TX 78405       2018 Rosedown Dr
                                                                         Lake Charles, LA 70605




Charles Stauffer                          Charles Steven Lutrick         Charles Still
3250 Woodland Dr                          7633 Highway 147               PO Box 885
Longview, TX 75602                        Quitman, LA 71268              Big Sandy, TX 75088




Charles Stringfellow Iii Trust            Charles Swindell               Charles T Adams
C/O Texas Commerce Bank                   8946 State Highway 79 South    30 Rivas Ave
PO Box 2558                               Henderson, TX 75654            San Francisco, CA 94132
Houston, TX 77252-8033




Charles T Decker                          Charles T Murphy               Charles T Williams
2127 Crabapple Dr                         303 Elmwood Drive              Ups Store Pmb 282
Shreveport, LA 71118                      Greensboro, NC 27408           7739 E Broadway Blvd
                                                                         Tucson, AZ 85710




Charles Thomas Bailey Life Est            Charles Thomas Durrett And     Charles Thomas Gentry
646 Cr 120                                Sheryl Johns Durrett           2056 Benton Loop
Carthage, TX 75633                        154 Oak Trail Road             Roseville, CA 95747
                                          Ruston, LA 71270




Charles Thomas Goodson                    Charles Thomas Graves          Charles Thomas Hammett Et Ux
1706 E Olive Rd                           1235 Buffalo Trail             Bonnie Sue Hammett
Pensacola, FL 32514-7553                  Tyler, TX 75703                162 Noles Landing Road
                                                                         Sibley, LA 71073




Charles Travis Lovelady                   Charles Turner                 Charles Vance Campbell Jr
Address Redacted                          3035 Arrowwood Road            9333 Meadowbrook
                                          Gilmer, TX 75644               Dallas, TX 75220




Charles Vert Willie                       Charles Victor Sullivan Iii    Charles Vincent Sutton
41 Hillcrest                              Kimberly D Sullivan            c/o Collin Underwood
Concord, MA 01742                         1804 Grosvenor Grn             123Rd District Court
                                          Colleyville, TX 76034          PO Box 147
                                                                         Carthage, TX 75633



Charles Vivian Henderson                  Charles W Alma Sowder Dodd     Charles W Bentley Life Estate
826 Harrell Road                          5033A Tangle Lane              Kenneth Bentley And
West Monroe, LA 71291                     Houston, TX 77056              Charlotte Looney Remainderman
                                                                         10400 Woodland Ne
                                                                         Albuquerque, NM 87112



Charles W Blalock Test Tr A               Charles W Bloomquist           Charles W Brown Patty Brown
Fbo Glenda J Blalock                      730 17Th St Suite 922          Husband And Wife Joint Tenants
3701 State Hwy 137                        Denver, CO 80202-3580          PO Box 587
Stanton, TX 79782                                                        Marlow, OK 73055-0587
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Charles W Dodd And Alma Sowder Dodd       Charles W Flowers And Carolyn A Flowers   Charles W Gameros Jr
5033A Tangle Lane                         1315 N 17Th St                            3604 Binkley Ave
Houston, TX 77056-2113                    Nederland, TX 77627-4802                  University Park, TX 75205




Charles W Lane Iii                        Charles W Mann Jr Inheritance Trust       Charles W Massa Violet J Massa
Place St Charles                          216 N 5Th St                              1108 Bailey
201 St Charles Ave 49Th Floor             Nederland, TX 77627                       W Monroe, LA 71292
New Orleans, LA 701705100




Charles W Mckay                           Charles W Moore                           Charles W Muil Jr
2524 141st Place Sw 198                   c/o Donald R Moore Agent And A I F        607 Queens Road
Lynnwood, WA 98037                        239 Cr 2095                               Denison, TX 75020
                                          Shelbyville, TX 75973




Charles W Schneider                       Charles W Shearer                         Charles W Tubb
570 Pr 5517                               80 Red River 318                          3529 Avenue I
Alba, TX 75410                            Austin, TX 77414                          Rosenberg, TX 77471




Charles Wallace                           Charles Waller                            Charles Ward
c/o Annie B Wallace                       1317 Cr 344                               Texas State Treasury Dept
8819 Cr 4765                              Ballinger, TX 76821                       Unclaimed Property Division
Henderson, TX 75654                                                                 PO Box 12019
                                                                                    Austin, TX 78711



Charles Wayne Brightwell                  Charles Wayne Jones                       Charles Wayne Martin
4402 Longvale Dr                          W 4453 Hwy 64                             1404 Atlanta St
San Antonio, TX 78217                     Polar, WI 54418                           Fort Smith, AR 72901-6308




Charles Westbrook Meisenheimer            Charles William Beason                    Charles William Day
PO Box 465                                31155 Sierra Vista Dr                     228 Horne St
Scottsville, TX 75688                     Bulverde, TX 78163-4590                   West Monroe, LA 71292




Charles William Dickson                   Charles William Little                    Charles Williams
6920 East 99Th Street                     PO Box 1181                               309 Sand Hill Rd
Tulsa, OK 74133-5937                      Village Mills, TX 77663                   Quitman, LA 71268




Charles Woodrow Duree                     Charles Woods                             Charles Yeldell
6953 Alto Rey A                           Dell Durrett Woods                        7652 Edgemont Ave
El Paso, TX 79912                         PO Box 455                                Scottsdale, AZ 85257-1631
                                          Logansport, LA 71049




Charles Z Crain Iii                       Charles Z Crain Iv                        Charles Zuber
709 Lisa Drive                            11220 Henge Dr                            429 Bedford Ct W
Austin, TX 78733                          Austin, TX 78759                          Hurst, TX 76053
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Charleszetta Harper Stroud Sp            Charlette Olivia Daniel                  Charley Carl Beene
5929 Spinnaker Bay Drive                 8731 W Mclellan Rd                       5335 Mckay Lane
Long Beach, CA 90803                     Glendale, AZ 85305                       Ethel, LA 707308624




Charley M Stoll A Professional Corp      Charley Sturges                          Charlie A Hudson
340 Rosewood Ave Ste K                   31 Del Norte Drive                       14530 Wunderlich Suite 120
Camarillo, CA 93010-5937                 Roswell, NM 88201                        Houston, TX 77069




Charlie B Dunn                           Charlie Giles                            Charlie Green Colvin
326 Dunn Road                            377 S Pine Tree Road                     6324 Hwy 822
Ruston, LA 71270                         PO Box 505                               Dubach, LA 71235
                                         Grambling, LA 71245




Charlie Hudson Associates                Charlie Islas                            Charlie Lee
14530 Wunderlich Ste 120                 5052 Cr 4916                             5003 Wateka Dr
Houston, TX 77069                        Timpson, TX 75975                        Dallas, TX 75217




Charlie Mae Chalmers Gross               Charlie Michael Pippen Sharon Lynne Pi   Charlie Miller
4612 Fm 1186                             2307 Hillside Dr                         980 Taylor Rd
De Berry, TX 75639                       Ruston, LA 71270                         Olney, TX 76374




Charlie P Baker Succession               Charlie R Allison                        Charlie R Davis Jr
Mary Kathryn Baker Ancillary             2104 Belleview Court                     c/o Shirley P Davis
Successor Administratrix                 Richardson, TX 75082                     116 Water Glen Drive
PO Box 3274                                                                       Livingston, TX 77705
Victoria, TX 77903



Charlie Ray Anderson                     Charlie Ray Hudson Et Ux                 Charlie Sheppard
1040 Hall St Se                          Valerie Emerson Hudson                   3915 State Hwy 64 W
Grand Rapids, MI 49507                   293 Houston Road                         Henderson, TX 75652
                                         Ruston, LA 71270




Charlie Sturges                          Charlies Mack Carroll                    Charlies Oilfield Service
2708 Gaye Dr                             731 Connell Ferry Rd                     PO Box 5820
Roswell, NM 88201-3429                   Joaquin, TX 75954-2453                   Shreveport, LA 71135-5820




Charline Brown Shattuck                  Charline Dauphin                         Charlotte A Langston Powell
1100 Robs Road                           PO Box 1267                              8780 N Junction City Hwy
Jacksonville, TX 75766                   Silsbee, TX 77656-1267                   Junction City, AR 717499576




Charlotte A Meyer                        Charlotte Anita F Bruce                  Charlotte Ann Burnaman Moreau
2723 Benverve Ave                        510 Levin Ln                             302 Hildred Ave
Berkeley, CA 94705                       Shreveport, LA 71105                     Conroe, TX 77303
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Charlotte Ann Mcgrede                   Charlotte Ann Sanders          Charlotte Ann Todd
4829 Gilmer Rd                          14 County Road 1583            9505 E 159Th Avenue
Longview, TX 75604                      Avinger, TX 75630              Brighton, CO 80601




Charlotte Anne Donlin Trustee           Charlotte Buchner              Charlotte Bush Rich
Ca Donlin Rev Trust Dtd 7/21/95         11279 Taylor Draper Lane       1011 Bonnie Glen
Jane D Leuthold Poa                     Austin, TX 78759-3964          Kingwood, TX 77339
1016 Delphinium Dr
Billings, MT 59102



Charlotte Butler Smith                  Charlotte Carlton Angell       Charlotte Cook Durrett
281 Butler Rd                           2 Sunrise Cir                  1836 Hwy 507
Simsboro, LA 71275                      Centralia, MO 65240-1269       Simsboro, LA 71275




Charlotte D Anderson Rascoe             Charlotte Davis Parrott        Charlotte E Davis Parrott Tr 1
1276 County Road 3152                   3121 GeorgeS Lane              Mary C P Broussard Trst
Kempner, TX 76539-8641                  Alexandria, LA 71301           6002 Riverview Way
                                                                       Houston, TX 77057




Charlotte E Parrott Tr 1                Charlotte Franchessca Hoes     Charlotte G Brelsford
F/B/O Mary Charlotte Broussard          2370 Brockton Ln N             PO Box 8385
Bank One Texas N A Trustee              Plymouth, MN 55447             Tyler, TX 75711
PO Box 99084
Fort Worth, TX 76199



Charlotte Graham                        Charlotte Hammontree           Charlotte Haney
22967 Coffee Landing Rd                 4097 Hwy 527                   2641 Amos Road
Frankston, TX 75763                     Haughton, LA 71037             Longview, TX 75602




Charlotte Harman Couch                  Charlotte Hernden              Charlotte Holland
6015 Pine Forest                        222 Main Plaza East            610 Bell St
Houston, TX 77057                       San Antonio, TX 78205          Sulphur Springs, TX 75482




Charlotte Holland Bowen                 Charlotte I Bishop             Charlotte Jo Skeens
760 First Street                        7300 Dearwester Drive          325 Ne View Park Drive
Arcadia, LA 71001                       Apartment 150                  Lees Summit, MO 64086
                                        Cincinnati, OH 45236




Charlotte K Currie                      Charlotte K Lagrone            Charlotte Kay Wilson
124 E Timberlane Dr                     205 Lawndale Street            3513 Woods Blvd
Alvin, TX 77511                         Hallsville, TX 75650           Tyler, TX 75707




Charlotte L Addiss Rev Tr 1996          Charlotte L Looney             Charlotte L March Test/Trust
Charlotte L Addiss Trustee              1867 Morris Street Ne          Texas State Bank Trustee
2301 Masters Rd                         Albuquerque, NM 87112          PO Box 3782
Carlsbad, CA 92008                                                     San Angelo, TX 76902
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Charlotte Leigh Clinton                   Charlotte Levy Dba Charlotte Oil LLC      Charlotte Littleton
1404 Pineridge Lane                       5500 Swan Dr                              7443 Viewcrest Dr
Castle Rock, CO 80108                     Galveston, TX 77551                       Sand Diego, CA 92114




Charlotte Louise Cain                     Charlotte M Strong Corpus                 Charlotte Marie Hansen
308 Jordan St                             2702 Meadowgrass Lane                     116 E Hoyt Drive
Tyler, TX 75702-1315                      Houston, TX 77082                         Longview, TX 75601




Charlotte Martin Payne Gst Exempt Trust   Charlotte Martin Payne Non Exempt Trust   Charlotte Mccauley
Frost Bank Trustee Of Fb Acct             c/o Frost Bank Trustee Of Fb              1032 3Rd Ave
PO Box 1600 OG Dept T6                    PO Box 1600 OG Dept T6                    Murfreesboro, AR 71958
San Antonio, TX 78296                     San Antonio, TX 78296




Charlotte Mccrary Riddel S/P              Charlotte Mcdonald Crayton                Charlotte Mcfadden Rv Lvg Trst
Rebecca Riddel Aif                        PO Box 956                                Merton Mcfadden Co Ttee
116 Heritage Dr                           Monroe, LA 71210                          106 Cherry Street
Burleson, TX 76028                                                                  Columbia, LA 71418




Charlotte Oberthier                       Charlotte Petty Conradi                   Charlotte Rundell
829 Lansing Lane                          14686 Old Hammond Hwy Apt 108             1344 Waterside Drive
Longview, TX 75605                        Baton Rouge, LA 70816                     Dallas, TX 75218




Charlotte Rushing Husband                 Charlotte S Dearien                       Charlotte S Malcom Rouse
1947 State Hwy 247                        3217 Beverly Drive                        8 Ancel Court
Zavalla, TX 75980                         Dallas, TX 75205                          Hampton, VA 23666




Charlotte S Mclaren                       Charlotte Scott Gipson                    Charlotte Sumlin Cantwell
4547 Soundside Dr                         102 Waterview Pkwy                        200 Majestic Oaks Drive
Gulf Breeze, FL 32563-9273                Red Oak, TX 75154                         Apartment 312
                                                                                    Shreveport, LA 71105




Charlotte Tannehill Westbrook             Charlotte Temple Zuniga                   Charlotte Thompson
7054 Sunrise Cir                          6344 Auden St                             2212 Lakeforest Dr
Franklin, TN 37067                        Houston, TX 77005                         Weatherford, TX 76087




Charlotte Williams Finlay                 Charlton E Meyer Iii                      Charlton H Lyons Iii
6914 Deloache Ave                         10003 Commander Dr                        251 Amanda St
Dallas, TX 75225                          Shreveport, LA 71106                      Memphis, TN 38117-2814




Charm Mccormick Hathorn                   Charmaine Gray                            Chart Cooler Service
612 Parlange Cir                          344 Perry Apt 3F                          PO Box 088968
Shreveport, LA 71115-3750                 Buffalo, NY 14204                         Chicago, IL 60695-1968
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Charter Capital                         Charter Capital                  Charter Capital For Account
Fbo All American Trucking               Fbo RF Trucking Llc              Of Mcknight Services LLC
PO Box 270568                           PO Box 270568                    PO Box 270568
Houston, TX 77277-0568                  Houston, TX 77277-0568           Houston, TX 77277-0568




Charter Communication                   Charter Communication            Charter One Bank
400 Atlantic Street 10th Floor          PO Box 60229                     One Citizens Plaza
Stamford, CT 06901                      Los Angeles, CA 90060-0229       Providence, RI 02903




Charvon Tolson                          Chas A Brashear Jr               Chas Davis Test Tr
1305 W 139Th Street                     PO Box 1132                      Roy Jefferson Davis Ttee
Gardena, CA 90247                       Longview, TX 75606-1132          1304 Nathan Ln
                                                                         Copperas Cove, TX 76522




Chase Bank N A                          Chase Controls Lp                Chase F Schaff
270 Park Avenue                         702 S Persimmon Suite 1C         2520 Saratoga Dr
New York, NY 10017-2070                 Tomball, TX 77375                Plano, TX 75075




Chase M Feracci                         Chase S Cole Smith Trust         Chastity Long
3911 Pecan Dr                           1025 Southview Trail             8804 Mr Cr 2109
Alexandria, LA 71301                    Southlake, TX 76092              Corsicana, TX 75110




Chateau Petroleum Consultants Inc       Chava Gas Oil Services LLC       Chavez Rosendo
5523 Regency Drive                      PO Box 450887                    Address Redacted
Sugar Land, TX 77479                    Laredo, TX 78045




Chc Gerard                              Check Mate Drilling Fluids Inc   Cheetah Transportation Systems Lp
625 Market Street                       508 Glenhaven Drive              PO Box 5498
Shreveport, LA 71101                    Longview, TX 75601               Houston, TX 77262-5498




Chefs Toys Stars Restuarant             Cheire Wilkes Norwood            Cheketha L Wilson
Equipment Supply                        3150 Alma Road                   2425 Jefferson Point Dr 827
PO Box 8445                             Apt 1235                         Arlington, TX 76006
Fountain Valley, CA 92728               Mckinney, TX 75070




Chellette Forbes                        Chelsea Danielle Gribble         Chelsea Edwards
4438 Shamrock Dr                        PO Box 3347                      811 Shiloh Rd Apt C3
Frisco, TX 75034                        Idyllwild, CA 92549              Tyler, TX 75703




Chelsea Upshaw                          Chem Dry Of Smith Co             Chem Tech Services Inc
Address Redacted                        17261 Cr 1100                    PO Box 1619
                                        Flint, TX 75762                  Levelland, TX 79336
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Chemco Weed Control                     Chemco Weed Control                   Chemical Weed Control Inc
248 County Road 233                     Jeremy S Romero Dba                   PO Box 512
Carthage, TX 75633                      Kooter Romero                         Brownfield, TX 79316-0512
                                        248 Cr 233
                                        Carthage, TX 75633



Chemily Management Company              Chempack Environmental                Chemstar Energy Services LLC
11131 Mccracken Circle                  3721 Karen Ave                        PO Box 3334
Suite A                                 Long Beach, CA 90808                  Pineville, LA 71361-3334
Cypress, TX 77429-4462




Chemstar Energy Services LLC            Chemstar Energy Services LLC          Chenier Pointe Investments 2013 01 LLC
104 Holstein Lane                       4380 Hwy 563                          PO Box 52191
Youngsville, LA 70592                   Simsboro, LA 71275                    Shreveport, LA 71135




Cheri Gandy Due                         Cheri M Stewart Francine H Mayfield   Cheri Mcconnell
1220 Parkman St                         Maeyrene Mcpherson                    PO Box 643
Lufkin, TX 75901                        9128 Fm 1249 East Lot 9               Judson, TX 75660-0643
                                        Kilgore, TX 75662




Cheri Stewart                           Cherie Ponder                         Cherilyn Walden
9128 Fm 1249 East Lot 9                 412 Edgewood Dr Trlr 11               PO Box 7025
Kilgore, TX 75662                       Denham Springs, LA 70726              Moore, OK 73153




Cherise Fitch                           Cherish Mccormick Roberts             Cherisse Delaine Gash
224 Hidalgo Dr                          2505 Redwood St                       3440 Richmond Blvd 4
Houma, LA 70363                         Ruston, LA 71270                      Oakland, CA 94611




Cherokee County Teachers Fcu            Cherokee Insurance Company            Cherokee Minerals Lp
45 FM 2972                              34200 Mound Rd                        PO Box 2272
Rusk, TX 75785                          Sterling Heights, MI 48310            Longview, TX 75606-2272




Cherrie S Swift                         Cherrise Bradford Bryan               Cherry Barnes Revocable Liv
13098 Bluff Road                        1018 Ed Barnes Road                   Trust George Joseph Trustee
Geismar, LA 70734                       Jonesboro, LA 71251                   PO Box 1706
                                                                              Longview, TX 75606




Cherry Edwards Management Tst           Cherry Keith W                        Cherry Lynn Winters
Austin Trust Company Trustee            PO Box 6404                           8301 Windwood Ave
336 South Congress Ave Ste 100          Longview, TX 75608                    Amarillo, TX 79118-6366
Austin, TX 787041212




Cherry Ridge Ranch LLC                  Cherry Swindell Collins               Chery Pie LLC
PO Box 6404                             2631 John West Rd Apt 108             PO Box 699
Longview, TX 75608                      Dallas, TX 75228-4951                 Rock Springs, WY 82902
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Cheryl A Budnick                      Cheryl A Fuller                 Cheryl A Horton Morris
310 Dover Ct                          1305 Joe Bill Street            1702 Woodhaven
Morganville, NJ 07751-9504            West Monroe, LA 71292           Seagoville, TX 75159




Cheryl A Horton Morris Or Texas       Cheryl A King                   Cheryl Alicia Archuleta
State Treasury Dept                   1310 Ne 37Th St                 6534 S Union Way
Unclaimed Property Division           Oklahoma City, OK 73111-5014    Littleton, CO 80127
PO Box 12019
Austin, TX 78711-2019



Cheryl Ann Abraham                    Cheryl Ann Baxter Monroe        Cheryl Ann Carlson
5505 Valley Mills Dr                  246 Nobles School Road          910 15Th Avenue North
Garland, TX 75043-5449                Dubach, LA 71235                Texas City, TX 77590




Cheryl Ann Dupree Dabney              Cheryl Ann Schoonover           Cheryl B Chapman
6886 W Raleigh St                     23002 Northampton Pines Drive   PO Box 143434
Mccordsville, IN 46055                Spring, TX 77389                Anchorage, AK




Cheryl Butler                         Cheryl C Boudreaux              Cheryl Christina Johnston
503 W Charlotte Ave                   807 Levert Drive                250 Magnolia Street
Ruston, LA 71270                      Thibodaux, LA 70301             Bosque Farms, NM 87068




Cheryl Claer Losure                   Cheryl Colson                   Cheryl D Johnson
7796 Fm 346                           25310 Doyle Sands Ct            20899 Hatchett Rd
Whitehouse, TX 75791                  Spring, TX 77389                Harlingen, TX 78552




Cheryl D Johnson Tr                   Cheryl Denise Jones             Cheryl E Findley Woods
Cheryl D Johnson Ttee                 732 Beechwood Dr                1525 Crystal Farms Road
20899 Hatchett Rd                     Desoto, TX 75115                Tatum, TX 75691
Harlingen, TX 78552




Cheryl E Prior                        Cheryl Gryder Bond              Cheryl Jeanne Orchin
PO Box 120002                         8483 Woodstock Drive            697 Verna
San Diego, CA 92112-0002              Greenwood, LA 71033             Jasper, TX 75951




Cheryl Jennings                       Cheryl Kay Doty                 Cheryl L Jackson
603 Grand View Avenue                 818 Knapp Drive                 11355 Richmond Ave 1717
San Francisco, CA 94114               Santa Barbara, CA 93108         Houston, TX 77082




Cheryl L Mellenthin                   Cheryl Lea Reichle Bishop       Cheryl Lynn Walker
1884 Bostik Road                      2332 Oklahoma Ave               686 29Th St
Cat Spring, TX 78933-5306             Plano, TX 75074                 Oakland, CA 94609
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Cheryl Lyons Despain Trust             Cheryl M Acree                    Cheryl M Ilijevski
c/o Marjorie Scott Lyons Trustee       3233 Green Terrance Rd            912 Myrta St
PO Box 17838                           Shreveport, LA 71118              Kerrville, TX 78028
Salt Lake City, UT 84117




Cheryl M Schmitz                       Cheryl Moore                      Cheryl Morris Culifer
Cheryl M Schmitz Rev Tr                1864 Peach Rd Ne                  4880 Post Oak Timber Dr
1310 Wild Rose Ln                      Rio Rancho, NM 87144              Houston, TX 77056-2210
Lake Forest, IL 60045




Cheryl Murphy                          Cheryl Orchin                     Cheryl Pickens Mcnulty
3351 Old Bethany Road                  697 Verna                         20 Tallwood Cir
Moody, TX 76557                        Jasper, TX 75951                  Longview, TX 75605




Cheryl Pitts                           Cheryl Pointer Rayburn            Cheryl R Schmidt
418 E Coachlight Trl                   465 River Oaks Dr                 17815 Fireside Drive
Rockwall, TX 75087                     Wetumpka, AL 36092                Spring, TX 77379




Cheryl Robacker                        Cheryl Ruth Caskey                Cheryl S Despain Trust
634 Battlement Crk Trl                 3615 Reily Ln                     c/o Michael Glen Lyons Ttee
Parachute, CO 81635                    Shreveport, LA 71105              PO Box 17838
                                                                         Salt Lake City, UT 84117




Cheryl Sanford Lincecum                Cheryl Thompson                   Cheryl Thorman Wood
328 Vollie Sanford Rd                  2725 5Th Street                   PO Box 1643
Calhoun, LA 71225                      Boulder, CO 80304                 Bastrop, TX 78602




Cheryl Wagner Standifer                Cheryl Watson                     Cheryl Wilson Hairston
606 Spice Avenue                       801 Windsong Trail                3634 Granada Avenue
Ruston, LA 71270                       Richardson, TX 75081              Dallas, TX 75205




Cheryl Wood Russell                    Cheryl Y Cameron                  Cherylan Standley Halford
841 Edgewood Dr                        4037 Ascendant Dr                 1326 Summerwood Dr
Homer, LA 71040                        Colorado Springs, CO 80922-5310   New Braunfels, TX 78130




Cheryle Shrout                         Chesapeake Exploration Lp         Chesapeake La Ltd Partnership
PO Box 229                             c/o Chesapeake Operating Inc      Chesapeake Operating Inc
Lisbon, LA 71048                       PO Box 960161                     PO Box 203892
                                       Oklahoma City, OK 73196-0161      Dallas, TX 75201




Chesapeake Louisiana Lp                Chesapeake Operating Inc          Chesapeake Operating Inc
6100 North Western                     PO Box 650841                     PO Box 960165
Oklahoma City, OK 73118                Dallas, TX 75265-0841             Oklahoma City, OK 73196-0165
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Chesapeake Orc LLC                      Chesapeake Orc LLC                  Chester A Neel Jr
PO Box 203892                           PO Box 960161                       6668 Laceback Cir
Dallas, TX 75320-3892                   Oklahoma City, OK 73196-0161        Tyler, TX 75703




Chester Anthony Wojecki                 Chester G Nelson                    Chester G Rice
112 Y Jean Street                       3009 Ocean Drive                    123 Tory Rd
Bossier City, LA 71112                  Corpus Christi, TX 784041613        Moon Twp, PA 15108




Chester G Wilson Chereis P Wilson       Chester H Moore                     Chester Horton
1912 Mimosa                             40390 Aldie Springs Dr              552 Ella Ave
Ruston, LA 71270                        Aldie, VA 20105                     Dallas, TX 75217




Chester L Dupree                        Chester P Grigsby Iii               Chester P Grigsby Jr And
500 E Waller Road                       PO Box 52387                        Audrey T Grigsby
Kemp, TX 75143                          Shreveport, LA 71105                5721 River Road
                                                                            Shreveport, LA 71105




Chester P Smith                         Chester Ray Butler Family Trust     Chester W Strong
PO Box 62                               Chester Ray Butler Trustee          3671 Park Trail
Stottville, NY 12172                    5409 Knollwood                      Shreveport, LA 71105
                                        Abilene, TX 79606




Chester Walker                          Chester Wayne Long                  Chevron Federal Credit Union
819 Center St Apt 257                   12211 Spring Branch                 324 W El Segundo Blvd
Ruston, LA 71270-3475                   Balch Springs, TX 75180             El Segundo, CA 90245




Chevron Midcontinent Lp                 Chevron North America Exploration   Chevron Pbc Inc
Attn Nojv Group                         And Production Co                   11111 S Wilcrest
PO Box 730365                           PO Box 730436                       Houston, TX 77099
Dallas, TX 75373                        Dallas, TX 75373-0436




Chevron Services Company                Chevron Texaco Corporation          Chevron Texaco Exploration Inc
A Division Of Chevron Usa Inc           Attn Nojv Group                     PO Box 730436
PO Box 730436                           PO Box 2100                         Dallas, TX 75373-0436
Dallas, TX 75373-0436                   Houston, TX 77252




Chevron U S A                           Chevron Usa Inc                     Chevron Usa Inc
Attn Nojv Group                         6001 Bollinger Canyon Rd            Attn Land Department
PO Box 36366                            San Ramon, CA 94583-2324            Ownership Division
Houston, TX 77236                                                           6001 Bollinger Canyon Rd
                                                                            San Ramon, CA 94583



Chevron Usa Inc                         Chevron Usa Inc                     Chevron Usa Inc
PO Box 730121                           PO Box 730180                       PO Box 730436
Dallas, TX 75373-0121                   Dallas, TX 75373-0180               Dallas, TX 75373-0436
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Chevron Usa Inc                           Chevrontexaco E P Company           Chew Minerals LLC
PO Box 9043                               PO Box 730436                       PO Box 489
Section 732                               Dallas, TX 75373-0436               Tulsa, OK 74101
Concord, CA 94524-9043




Cheyenne Petroleum Company                Cheyenne Petroleum Corporation      Cheyenne Smith
14000 Quail Springs Pkwy                  4100 Spring Valley Rd               By Kyle Smith Her Anf
Suite 2200                                Suite 626                           1201 Nw Loop 281
Oklahoma City, OK 73134                   Dallas, TX 75244                    Suite 200
                                                                              Longview, TX 75604



Chiccarelli Dominic                       Chicken Creek LLC                   Chicora Modesta Williams
Address Redacted                          PO Box 3003                         6 Desta Drive Suite 3000
                                          Casper, WY 82602                    Midland, TX 79705




Chiderbri Minerals Lp                     Chief Appraiser                     Chief Appraiser
9310 Broadway Bldg 2 Ste 204              724 Oak                             PO Box 298
San Antonio, TX 78217                     PO Box 337                          140 E Wilbourn
                                          Graham, TX 76450-0337               Gail, TX 79738-0298




Chief Appraiser County Courthouse         Chief Transport                     Chieftain Exploration Co Inc
211 N Washington                          600 N Big Spring St                 PO Box 19566
Seymour, TX 76380                         Midland, TX 79701                   Houston, TX 77224




Child Study Center Foundation             Childers Operating                  Childers Trucking Inc
1300 W Lancaster                          Wayne Childers                      PO Box 40109
Fort Worth, TX 76102                      PO Box 315                          Casper, WY 82604
                                          Elysian Fields, TX 75642




Children At Heart Foundation              ChildrenS Medical Center Fnd        Childress Emily J Lynn W/H
c/o Baptist Foundation Of Tx              c/o Bokf Na Dba Bank Of Texas Agt   9200 Parkwood
1601 Elm Street Suite 1700                PO Box 1588                         Orange, TX 77630
Dallas, TX 75201                          Tulsa, OK 74101




Childress Fishing Rental Services         Childress LLC                       Chili Peppers Hot Shot Services LLC
5925 Hwy 157                              380 Central St                      PO Box 2012
Haughton, LA 71037                        Columbia, LA 71418                  Kilgore, TX 75663




Chili Peppers Ii LLC                      Chinn Family Ltd Partnership        Chinsammy Natasha R
PO Box 2012                               4601 Mccann Road                    Address Redacted
Kilgore, TX 75663                         Longview, TX 75605




Chip Carter                               Chipper Dean                        Chisholm Trail Ventures L P
5944 Luther Ln                            2503 North Ramblewood               Ctv OG Tx L P
Suite 307                                 Henderson, TX 75652                 PO Box 916107
Dallas, TX 75225-5960                                                         Fort Worth, TX 76191-6107
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Chisos Ltd                             Chiswell D Langhorne Jr Esq    Chiswell D Langhorne Jr Inc
670 Dona Ana Road Sw                   1680 31st St Nw                1680 31st Street Northwest
Deming, NM 88030                       Washington, DC 20007           Washington, DC 20007




Chloe Jones                            Chocks Inc                     Chocolate Mountain Family
3608 Rolling Lane Cir                  PO Box 907                     Partnership Two Limited
Oklahoma City, OK 73110-1220           Andrews, TX 79714              PO Box 182004
                                                                      Arlington, TX 76096




Choctaw Energy LLC                     Choctaw Energy Ltd             Choctaw Energy Ltd Prtnrshp
315 Highland Park Drive                PO Box 6387                    PO Box 6387
Baton Rouge, LA 70808                  San Antonio, TX 78209          San Antonio, TX 78209




Chr Oil Gas LLC                        Chrijonal Interests Lp         Chris A Miltz
777 Taylor Street                      2511 Lake Gardens Ct           7667 Butler Rd
Suite Pi                               Kingwood, TX 77339             Meriden, KS 66512
Fort Worth, TX 76102




Chris Anna Johnson Kampen              Chris B Parsons                Chris Covin Mauritzen
4629 Ithaca                            3510 Twenty Mile Way           207 Cecilia Ct
Metairie, LA 70006                     Loveland, OH 45140             College Station, TX 77845




Chris D Garnett                        Chris Dye Separate Property    Chris Engelhardt
3834 E Everglade Ave                   461 Virgil Road                17610 December Pine Ln
Odessa, TX 79762                       Dubach, LA 71235               Spring, TX 77379




Chris Gafford                          Chris King                     Chris L Christensen Jr
Address Redacted                       6343 Fm 225 South              800 Washington Street 310
                                       Henderson, TX 75654            Denver, CO 80203




Chris L Dudley                         Chris L Seth                   Chris Prickett
12235 Valley Lodge Pkwy                1555 North Astor St Apt 39E    c/o Willow Creek Resources Inc
Humble, TX 77346                       Chicago, IL 60610              PO Box 1309
                                                                      Midland, TX 79702




Chris Reed                             Chris S Mccullin               Chris Scovell LLC
c/o State Comptroller                  902 Cook St                    c/o Steven C Walker Manager
PO Box 12019                           Ruston, LA 71270               10905 Belle Cour Way
Austin, TX 78711-2019                                                 Shreveport, LA 71106




Chris T Ritter                         Chris W Bittick                Chris W Douglas
Route 1 Box 214                        3984 Hwy 544                   1010 Nantucket Dr Unit F
Gary, TX 75643                         Simsboro, LA 71275             Houston, TX 77057-2095
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Chris Watson                            Chris Wiegand                  Chris Wiegand
6016 George Trail                       c/o Mediant Communication      c/o Mediant Communications Inc
San Angelo, TX 76905                    200 Regency Forest Dr          200 Regency Forest Dr
                                        Cary, NC 27518                 Cary, NC 27518




Chris Wynn                              Chrisann Agostino              Chrissey Hopkins Scalise
7809 Alma Jo Dr                         15221 Laurel Ln                7606 Pearson Rd
San Angelo, TX 76905                    Pembroke Pines, FL 33027       Santa Fe, TX 77517




Christ Church Cathedral                 Christ L Christenson           Christa R Yin
Endowment Fund                          Enerquest Oil Gas Llc Poa      Address Redacted
1117 Texas Ave                          12368 Market Drive
Houston, TX 77002                       Oklahoma City, OK 73114




Christell Jeanine Dunaway Sealey        Christelle Prevost             Christen Credit Shelter Tr 1/31/1989
Life Estate                             2017 Willow                    Robin Christen Ward Suc Ttee
8501 Oxford Avenue                      Laredo, TX 78043               10621 Martis Valley Rd
Lubbock, TX 79423                                                      Truckee, CO 96161




Christen Tr Robert J                    Christensen Holdings Lp        Christensen Resource Prop Lp
Arlene M Christen Ttes                  2303 W Louisiana St            PO Box 3790
Robin Christen Haynes Poa               Midland, TX 79701              Midland, TX 79702
2070 Dunes Circle
Reno, NV 89509



Christi Delius                          Christi Gibbs Wilson           Christi OByrne P Tillman
6356 Hopewell Rd                        149 Wilson Rd                  PO Box 147
Springfield, TN 37172                   Homer, LA 71040                Rusk, TX 75785




Christi Penning                         Christi Smith Tanner           Christia G Delley Orr
Et Vir Tyson Penning                    135 County Road 132            4411 Adolph
1630 Cr 3173                            Gary, TX 75643                 Killeen, TX 76549
Joaquin, TX 75954




Christian Asstnce Ministries            Christian B Hart               Christian Campas
110 McCullough Ave                      8520 Ridpath Dr                Address Redacted
San Antonio, TX 78215                   Los Angeles, CA 90046




Christian Care Centers Inc              Christian H Lloyd              Christian Herald Childrens Home
Attn Advancement                        215 Cardinal Ave               132 Madison Ave
900 Wiggins Parkway                     San Antonio, TX 78209          New York, NY 10016
Mesquite, TX 75150




Christian Homes Family Services         Christian Rasmussen            Christian Zumaran
5476 Hollytree Dr                       Address Redacted               Address Redacted
Tyler, TX 75703-3439
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Christie Ann Payne Rose                  Christie Lee Johnson             Christin Hartwig
3416 Collard Road                        1517 W Church St                 30 Hudson Street
Arlington, TX 76017                      San Saba, TX 76877-5301          Proxy Dept
                                                                          Jersey City, NJ 07302-4699




Christina A Nelson                       Christina Daly                   Christina H Youngblood
Address Redacted                         Address Redacted                 13037 Fm 1971 S
                                                                          Timpson, TX 75975




Christina Kilcoyne                       Christina L Snyder               Christina Louise Taylor
2111 E Jarvis St                         15244 W Evans Place              6850 Klug Pines Road Lot 32
Shorewood, WI 53211                      Lakewood, CO 80228               Shreveport, LA 71129




Christina Mae Barringer Trust            Christina S Mccoy                Christina Steffen
Coco Barringer Nix Trustee               12305 Hwy 326 N                  5108 E Bloomfield Rd
PO Box 12488                             Kountze, TX 77625                Scottsdale, AZ 85254
Dallas, TX 75225




Christina Valdez Prada                   Christina Wisda Rochelle         Christina Young
1420 Fremont St                          3980 Hamlet Rd                   2423 E Lincoln Dr
Laredo, TX 78041                         Colorado Springs, CO 80917       Phoenix, AZ 85016-1215




Christine A Duncan                       Christine Allen Gatlin           Christine Anderson Jenkins
3549 Pinnacle Bay Pointe                 1209 Wafer Rd                    102 Lywanda Dr
Little Elm, TX 75068                     Ruston, LA 71270                 Jonesboro, LA 71251-9341




Christine Ann Corbin                     Christine Annette Fisk Mcneese   Christine Apolinar
1533 Julius St Apt 3                     3722 Lake Circle Dr              22417 Panther Run Ct
Berkeley, CA 94703                       Fallbrook, CA 92028              Land O Lakes, FL 34639




Christine Bennett                        Christine Binz King              Christine Brim Fuller
PO Box 1808                              2703 Via Rancheros               H C 63 Box 227
Henderson, TX 75653-1808                 Fallbrook, CA 92028              Princeton, LA 71067




Christine Cooke Miller                   Christine D Jackson And          Christine Fife Wilson
282 Big Lake Road                        Eleanor M Chase Trustees         2216 11Th St
Karnack, TX 75661                        Jackson And Chase Revocable Tr   Port Neches, TX 77651
                                         17228 Wilkie Avenue
                                         Torrance, CA 905042922



Christine Flanagan                       Christine Green Anfang           Christine J Touchstone
6 Wainwright Drive                       Hco 2 Box 227 27B                PO Box 570715
Bluffton, SC 29909                       Globe, AZ 85501                  Houston, TX 77257
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Christine Louise Chognard               Christine Lucas Stedman         Christine M Kellstrom
12 Tulip Lane                           10 Bellchase Gardens Dr         1 Cromwell Dr
San Carlos, CA 94070                    Beaumont, TX 77706              Convent Station, NJ 07960




Christine Marie Callan                  Christine Mccray Wilson         Christine Pearson
5415 E 103Rd Pl                         7312 High St                    PO Box 14407
Tulsa, OK 74137-6028                    Nice, CA 95464                  St Petersburg, FL 33733




Christine Poncho Individually As Poa    Christine Renee Ellis Trahan    Christine Russ Butler
F/B/O Heirs Of Maurice Thompson         1046 Bayou Dularge Rd           505 Lake Drive
14219 Us Hwy 190E                       Houma, LA 70363-7615            Harlingen, TX 78550
Livingston, TX 77351




Christine Stowe                         Christine Sullivan              Christine Susan Adessa Ttee
c/o Texas State Treasury                1776 Heritage Dr                George Mccluney Christine
Unclaimed Property Division             North Quincy, MA 02171          Adessa Rev Tr U/A Dtd 6/24/13
PO Box 12019                                                            44 Via Navarro
Austin, TX 78711-2019                                                   Greenbrae, CA 94904



Christine T Poncho                      Christine V Reed Mabry Rev Tr   Christine W Martin
14219 Us Hwy 190E                       PO Box 94196                    2201 Chantilly Dr
Livingston, TX 77351                    North Little Rock, AR 72113     Ruston, LA 71270




Christine Weidman                       Christley Frank Minerals Lp     Christmann Mineral Company
300 Kennedy Ave                         PO Box 7444                     7822 Orlando Ave
San Antonio, TX 78209                   Midland, TX 79708               Lubbock, TX 79423




Christopher A Cothran Irrev Tr          Christopher A Estes             Christopher A Williams
David Groom Ttee                        655 Good Shepherd Way           2613 Kings Gate Drive
2806 Flintrock Trace Ste 103            Owings, MD 20736                Carrollton, TX 75006
Austin, TX 78738




Christopher Achtschin                   Christopher B Elliott           Christopher B Garriga
PO Box 42                               4930 Doyle                      1906 Farmerville Hwy
Middlesex, NY 14507                     Groves, TX 77619                Ruston, LA 71270




Christopher B Mclendon                  Christopher B Parsons           Christopher B Ryan
PO Box 1362                             1389 Farm Road 1999             c/o Bokf Na Agent
Washington, NC 27889                    Karnack, TX 75661               PO Box 1588
                                                                        Tulsa, OK 74101




Christopher C Prescher                  Christopher Carl Temme          Christopher Children Partnership
559 W Rosco No 2 E                      3 Hudson Pl                     C/O Farmers National Company
Chicago, IL 60657                       Hudston Falls, NY 12839         PO Box 3480
                                                                        Omaha, NE 68103-0480
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Christopher Claude Norris                 Christopher Clayborn Parr          Christopher Cohen Henry
111 Mcmahon Rd                            Rebecca Jane Parr                  26814 Mottled Duck Ln
Purvis, MS 39475-5830                     809 North Lane Wells Drive         Hockley, TX 77447-9628
                                          Longview, TX 75604




Christopher Cooper                        Christopher D Gatlin               Christopher D Thompson
Address Redacted                          1209 Wafer Rd                      PO Box 133
                                          Ruston, LA 71270                   Arp, TX 75750




Christopher Daniel Dupree                 Christopher Doherty                Christopher Earl Rains
2330 W 65Th St                            2513 Kensington Ave                7502 Princeton Road
Indianapolis, IN 46260                    Thousand Oaks, CA 91362            Rowlett, TX 750897823




Christopher Edward Maddox Tst             Christopher Eric Perry             Christopher H Earls
PO Box 2016                               Stephanie B Perry                  PO Box 403
Henderson, TX 75652                       100 Perry Ln                       Kemah, TX 77565
                                          Arcadia, LA 71001




Christopher Heath Williams                Christopher Ian Gray               Christopher J Sowyrda
1311 Mitcham Orchard Road                 405 Owl Hollow Road                Address Redacted
Ruston, LA 71270                          San Marcos, TX 78666




Christopher J Womack And Misty L Womack   Christopher Jackson                Christopher John Larsen
1199 Highway 544                          894 Union Station Pkwy Apt 10302   2929 Weslayan St
Ruston, LA 71270                          Lewisville, TX 75057-5244          Apt 2903
                                                                             Houston, TX 77027




Christopher Kane Mcguire                  Christopher L Boone                Christopher L Carameros Trt
Kari S Mcguire                            3 Winston Woods                    For Al E Carameros
1909 Bittersweet                          Houston, TX 77024                  PO Box 12007
Ruston, LA 71270                                                             El Paso, TX 79913




Christopher Laponda Jackson               Christopher Lee Murray And         Christopher Loew Pomeroy
894 Union Station Parkway                 Susan Paige Murray                 11911 Rennalee Loop
Lewisville, TX 75057                      10639 Highway 146                  Austin, TX 78753
                                          Dubach, LA 71235




Christopher M Clemens                     Christopher M Delrio Et Ux         Christopher Mark Prior
2013 Eden Drive                           Wendy Ann Lawson Delrio            6859 Fm 3135 East
Longview, TX 75601                        199 Harvey Rd                      Henderson, TX 75652
                                          Quitman, LA 71268




Christopher Marshall                      Christopher Mcginnis               Christopher Michael Hayes Trust
9910 Sw Arborcrest Way                    Address Redacted                   Mark Deter Hayes Trustee
Portland, OR 97225                                                           17 Church Street
                                                                             Greenbrier, AR 72058
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Christopher Michael Hill                   Christopher Michael Jo Ann London       Christopher N Hanson
9243 Sfm 779                               3747 Dianna Drive                       PO Box 160
Alba, TX 75410                             Longview, TX 75602                      Port OConnor, TX 77982




Christopher Neal                           Christopher Norris Allen                Christopher O Dockstader
Address Redacted                           4595 Whitney Pl                         2828 Knoxville Ave
                                           Boulder, CO 80305-6716                  Long Beach, CA 90815




Christopher P Cahill                       Christopher Park                        Christopher Perez
1400 Mesa Ave                              1038 Chula Vista Ave Apt 3              Address Redacted
Ruston, LA 71270                           Burlingame, CA 94010-3662




Christopher R Bradley                      Christopher R Findley Eckels            Christopher R Fletcher
PO Box 688                                 C R F Eckels                            2511 Westbrook Drive
Groesbeck, TX 76642                        PO Box 30                               Fort Wayne, IN 46805
                                           Cedaredge, CO 81413




Christopher Richard Wallner                Christopher Ryan Bellows                Christopher S King
Charles Schwab Co Inc Cust                 PO Box 685                              1509 E Birdsong St
Ira Rollover                               George West, TX 78022                   Longview, TX 75602
420 Fairview Ct
Petaluma, CA 94952



Christopher S Langley                      Christopher Samuel Hagar                Christopher Scott Pate
512 County Road 3801                       8453 Southwestern Blvd                  1620 Gant Rd
Joaquin, TX 75954-3878                     Apt 6146                                Alpharetta, GA 30004
                                           Dallas, TX 75206




Christopher Shawn Roncal Jr                Christopher Shelton                     Christopher Thomas Jones
Chelsea Marie Roncal                       356 Garr Rd                             6200 Maple Ave
7325 Hwy 147                               Ruston, LA 71270                        Dallas, TX 75235
Quitman, LA 71268




Christopher Tipps Burnett                  Christopher Ward And Gilda Grace Ward   Christopher Warren
4801 Fm 813                                4080 Glenhurst Ln                       8325 Highland Street
Waxahatchie, TX 75165                      Frisco, TX 75033-0130                   Manassas, VA 22110




Christopher Williams                       Christopher Willis                      Christopher Wood
Address Redacted                           412 Weavers Way                         Address Redacted
                                           Bossier City, LA 71111




Christy A Drewett Sternitzky               Christy Cannon                          Christy Choate Kelley
113 Canard Ct                              3678 Hidden Drive Apt 802               5075 Highway 563
Ruston, LA 71270                           San Antonio, TX 78217                   Simsboro, LA 71275
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Christy Cottman                          Christy Herr                         Christy Louise Schaff Fenley
1305 W 139Th Street                      112 Deerfield Rd                     PO Box 568
Gardena, CA 90247                        Ruston, LA 712708709                 Gainesville, TX 76241




Christy Parker Test Trust                Christy Rochelle                     Christy S Braun
c/o Jp Morgan Chase Bank Na              3131 Knight St Apt 261               687 Drifting Wind Run
PO Box 99084                             Shreveport, LA 71105                 Dripping Springs, TX 78670
Fort Worth, TX 76199-0084




Christy V Cain                           Chroma Oil Gas Lp                    Chrystopher Clark Hightower
453 Cherry Hill Dr                       12941 North Fwy Ste 550              705 Jim Bowie
Madison, MS 39110                        Houston, TX 77060-1243               Spicewood, TX 78669




Chubb Group Of Insurance Companies       Chuck Davey Doss                     Chuck Kelly Consulting Inc
2001 Bryan Street Suite 3400             195 Seth Street                      1012 Dorothy Lane
Dallas, TX 75201-3068                    Dubach, LA 71235                     Ft Worth, TX 76107




Chuck L Reagan                           Chuck Short Individually And         ChuckS Travel Coaches
D/B/A Tejas Oil And Gas Co               A/I/F For Ann L Short                PO Box 6995
8524 Highway 6 North 204                 1 Ballybunion Court                  Tyler, TX 75711
Houston, TX 77095                        Amarillo, TX 79124




Chum Ly                                  Church Of Christ                     Church Of Christ Joaquin
Address Redacted                         13481 Hwy 84                         PO Box 75
                                         Logansport, LA 71049                 Joaquin, TX 75954




Church Of Christ Shady Grove Tx          Church Of Jesus Christ Of            Church Of The Holy Cross
10331 Fm 1795                            Latter Day Saints                    Community Services Endowment Fund
Big Sandy, TX 75755                      Corp Of The Presiding Bishop         c/o Argent Property Services Llc
                                         50 E North Temple 12Th Floor         PO Box 1410
                                         Salt Lake City, UT 84150-0012        Ruston, LA 71273-1410



Church Of The Savior                     Churchwell Environmental Solutions   Chyree Ayleen Dean
5600 Nw 63Rd                             3315 Hwy 44                          121 Hanna Rd
Oklahoma City, OK 73132                  Robstown, TX 78380                   Ruston, LA 71270




Cibc Global Asset Management             Cibc Securities Inc                  Cigna Investment Advisors Inc
1000 Rue de la GauchetiEre O             200 King St W Suite 700              900 Cottage Grove Rd
MontrEal, QC H3B 4W5                     Toronto, ON M5H 4A8                  Bloomfield, CT 06002-2920
Canada                                   Canada




Ciji Hunt                                Cim Energy Properties LLC            Cima Energy Ltd
Address Redacted                         Attn Paul S Adams                    100 Waugh Dr Ste 500
                                         1333 N Buffalo Dr Ste 135            Houston, TX 77007
                                         Attn Paul S Adams
                                         Las Vegas, NV 89128-3636
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Cima Energy Minerals Ltd                   Cimarex Energy                 Cimarex Energy Company
PO Box 660828                              1700 N Lincoln St Ste 3700     PO Box 774023
Department 2009                            Denver, CO 80203-4553          4023 Solutions Center
Dallas, TX 75266-0828                                                     Chicago, IL 60677-4000




Cimarex Energy Corp                        Cimarron Engineering Corp      Cimarron Properties Lp
202 S Cheyenne Ave Ste 1000                PO Box 1536                    c/o Madison Royalty Management Llc
Tulsa, OK 74103-3001                       Kingsville, TX 78364           402 Gammon Place
                                                                          Suite 200
                                                                          Madison, WI 53719



Cinco Pipe Supply Lp                       Cinda Harden Stewart           Cindi Nail
PO Box 841921                              14311 Hwy 87                   8040 Winter Park
Dallas, TX 75284-1921                      Lubbock, TX 79423              San Antonio, TX 78250




Cindy Craig Bessette                       Cindy D Greaver                Cindy Dale Mcgrede Sullivan
13430 Second Avenue N E                    43980 Mahlon Vail Circle       1651 Maple Springs Rd
Bradenton, FL 34212                        Number 602                     Longview, TX 75602
                                           Temecula, CA 92592




Cindy Dodge                                Cindy H Hooser P L Honeycutt   Cindy Jackson
4110 Fm 2087 North                         715 W Heritage Dr              607 Sheffield Dr
Longview, TX 75603                         Tyler, TX 75703                Longview, TX 75605




Cindy Jo Shaffer James Separate Property   Cindy K Berry                  Cindy Kay Payne Stark
1684 North 154 E Ave                       2104 Lakeview Loop             5609 Hunterwood Ln
Collinsville, OK 74021                     Killeen, TX 76543              Arlington, TX 76017




Cindy Knight Lee                           Cindy L Adams                  Cindy Lee Wilcox Houser
5609 110Th St                              408 A Overlook Dr              2020 Rana Park
Lubbock, TX 79424-7566                     Martinsburg, WV 25401          Flint, TX 75762




Cindy Martin                               Cindy Milam Singleton          Cindy Moroni
5416 Montview St                           1117 Airport Loop              PO Box 1307
Austin, TX 78756-1608                      Homer, LA 71040                Palmer Lake, CO 80133




Cindy P Long Rev Living Trust              Cindy Panzer                   Cindy R Madden
Cindy P Long Robert M Long Trustees        1907 W Briscoe Ave             900 Gladney St
53 Polo Dr                                 Artesia, NM 882102225          Minden, LA 71055
Colorado Springs, CO 80906




Cindy Russell                              Cindy S Browder                Cindy Smith Ybarra
1610 Bittersweet                           900 Brook Forest               3201 Hollywood Avenue
Ruston, LA 71270                           Edmond, OK 73034               Austin, TX 78722
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Cindy Taliaferro Galloway               Cindy Taylor                        Cindy Turner Jones
1511 Pellinore                          c/o Dave Taylor                     392 Holliman Rd
Borger, TX 79007                        PO Box 572                          Ruston, LA 71270
                                        Indian Springs, NV 89018




Cindy Williams Wood                     Cinq Inc                            Cintas Corporation
3303 West Montana Ave                   c/o Charles L Williams Cpa          PO Box 631025
Chickasha, OK 73018                     PO Box 1685                         Cincinnati, OH 45263-1025
                                        Shreveport, LA 71165




Circadian Information Lp                Circadian Technologies Inc          Circle 8 Fluid Services Inc
Two Main Street Suite 310               2 Main St Suite 310                 PO Box 260370
Stoneham, MA 02180                      Stoneham, MA 02180-3336             Corpus Christi, TX 78426




Circle C Unit Servicing Co              Circle M Hotshot                    Circle R Limited Partnership
202 East Hope Dr                        1105 E Olive                        Oil Gas Acct 36021866
Longview, TX 75604                      Wichita Falls, TX 76310             Bank One Arizona
                                                                            4747 East Arroyo Verde Drive
                                                                            Paradise Valley, AZ 85253



Circle Z Pressure Pumping LLC           Circle Z Pressure Pumping LLC       Circle Z Pressure Pumping LLC
Steve Briggs                            PO Box 5513                         PO Box 836247
6664 Highway 149                        Longview, TX 75608                  Richardson, TX 75083-6247
Tatum, TX 75691




Cireson LLC                             Cireson LLC                         Cirrus Minerals LLC
1431 Pacific Hwy                        Joel Doss Dana Vasquez              Attn Serena Adcock
Suite H3                                3960 W Point Loma Blvd H290         PO Box 51747
San Diego, CA 92101                     San Diego, CA 92110                 Lafayette, LA 70505-1747




Cisco Webex LLC                         Cissy Leach Matthews                Cit
16720 Collections Center Drive          PO Box 225                          21719 Network Place
Chicago, IL 60693                       Florien, LA 71429                   Chicago, IL 60673-1217




Citadel Advisors LLC                    Citadel Clearing                    Citadel LLC
131 S Dearborn St 3200                  Attn Lindsay Wilkerson              131 South Dearborn Street 32nd Floor
Chicago, IL 60603                       131 South Dearborn Street           Chicago, IL 60603
                                        Chicago, IL 60603




Citadel Resources Inc                   Citation 2002 Investment Ltd Part   Citation 2004 Investment Ltd Part
3201 English Turn                       PO Box 200206                       PO Box 200206
Ruston, LA 71270                        Dallas, TX 75320-0206               Dallas, TX 75320-0206




Citibank Na                             Citibank Na                         Citibank N A
Attn Jon Smalley                        Attn Maneth Chap                    2800 Post Oak Blvd Suite 500
2800 Post Oak Blvd Suite 500            2800 Post Oak Blvd Suite 500        Houston, TX 77056
Houston, TX 77056                       Houston, TX 77056
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Citigroup Global                        Citigroup Global Markets         Citigroup Incorporated
Attn Theresa Leavy                      388 Greenwich Street             388 Greenwich Street
Attn John Barry                         New York, NY 10013               New York, NY 10013
700 Redbrook Blvd
Wings Mills, MD 21117



Citizens 1st Bank                       Citizens Bank                    Citizens Bank Of Pagosa Spring
2001 E S E Loop 323                     1 Citizens Plz                   703 San Juan Street
Tyler, TX 75701                         Providence, RI 02903             Pagosa Springs, CO 81147




Citizens Business Bank                  Citizens National Bank           Citizens State Bank
701 N Haven Ave                         118 South Houston Street         118 Main Avenue South
Ontario, CA 91764                       Cameron, TX 76520                Roseau, MN 56751




City And County Of Denver               City Bank                        City Bank Trust Company
Manager Of Finance                      399 Park Avenue                  146 Rue St Denis
PO Box 17660                            New York, NY 10022               Natchitoches, LA 71457
Denver, CO 80217-0660




City Kitchen LLC                        City National Bank               City Of Bronte
PO Box 262409                           555 S Flower Street              PO Box 370
Houston, TX 77207                       Los Angeles, CA 90071            Bronte, TX 76933




City Of Fort Collins                    City Of Fort Collins Utilities   City Of Gary
Dept Of Finance Sales Tax Div           PO Box 1580                      2607 FM 999
PO Box 440                              Fort Collins, CO 80522-1580      Gary, TX 75643
Fort Collins, CO 80522-0439




City Of Gary                            City Of Henderson                City Of Joaquin
PO Box 160                              404 W Main St                    124 Preston St
Gary, TX 75643                          Henderson, TX 75652              Joaquin, TX 75954




City Of Joaquin                         City Of Laredo                   City Of Laredo
PO Box 237                              1110 Houston St 2nd Floor        1110 Houston Street
Joaquin, TX 75954                       PO Box 579                       Laredo , TX 78042
                                        Laredo, TX 78042-0579




City Of Laredo                          City Of Laredo                   City Of Laredo
Environmental Services Dept             Planning And Zoning Dept         Tax Department
619 Reynolds                            1120 San Bernardo Ave            PO Box 6548
Laredo, TX 78040                        Laredo, TX 78040                 Laredo, TX 78042-6548




City Of Laredo Utilities                City Of Laredo Utilities         City Of Long Beach
1102 Bob Bullock Loop                   PO Box 6548                      333 W Ocean Blvd
Laredo, TX 78042                        Laredo, TX 78042                 Long Beach, CA 90802-4604
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City Of Long Beach                     City Of Long Beach                   City Of Long Beach Fire Permit
333 W Ocean Blvd Lobby Level           Utility Customer Service             333 W Ocean Blvd
Long Beach, CA 90802                   333 West Ocean Boulevard             Long Beach, CA 90802-4604
                                       Long Beach, CA 90802-4604




City Of Longview Development           City Of Longview Development         City Of Longview Public Works
Svcs Engineering                       Svcs Engineering                     Engineering Admin
Jackie Gamble                          410 S High St                        Jackie Gamble
PO Box 1952                            Longview, TX 75601                   PO Box 1952
Longview, TX 75606                                                          Longview, TX 75606



City Of Longview Water Utilities       City Of Midland                      City Of Rifle
300 W Cotton St                        PO Box 1152                          202 Railroad Avenue
Longview, TX 75601                     Midland, TX 79702                    Rifle, CO 81650




City Of Ruston                         City Of Shreveport                   City Of Tatum Tax Assessor
PO Box 2069                            PO Box 30040                         680 Crystal Farms Rd
Ruston, LA 71273                       Shreveport, LA 71130-0040            Tatum, TX 75691-1704




City Of Tatum Tax Assessor             City Of Thornton                     City Of Tyler Solid Waste
Collector                              12450 Washington St                  414 N Bois DArc Ave
PO Box 1105                            Thornton, CO 80241                   Tyler, TX 75702
Tatum, TX 75691-1105




City Savings Bank                      City Sprint                          City Wide Electric
301 N Pine St                          8650 King George Drive               PO Box 8245
DeRidder, LA 70634                     Dallas, TX 75235                     Midland, TX 79708-8245




Cj Pumping                             CJ Spec Rent Services Inc            CJ Spec Rent Services Inc
PO Box 136                             Austin Berliner                      PO Box 671590
Levelland, TX 79336                    10375 Richmond Ave Suite 1910        Dallas, TX 75267-1590
                                       Houston, TX 77042




CJ Well Services Inc                   Ck Gas And Oil Investments Ltd       Ck Mechanical Plumbing Heating Inc
PO Box 975682                          PO Box 97                            PO Box 485
Dallas, TX 75397-5682                  Post, TX 79356                       Casper, WY 82602




Ck Rental LLC                          Cl Search Group                      Cl Well Service Inc
PO Box 1025                            655 N Central Ave 17Th Floor         PO Box 518
Houston, TX 77410-1025                 Glendale, CA 91203                   Rawlins, WY 82301




Cladie London Bunkley                  Claiborne Electric Cooperative Inc   Claiborne Parish
5508 Silver Springs Dr                 PO Box 719                           Clerk Of Court
Sugar Hill, GA 30518                   Homer, LA 71040                      511 West Main St
                                                                            Homer, LA 71040
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Claiborne Parish Clerk Court            Claiborne Parish Clerk Of Court   Claiborne Parish Police Jury
PO Box 330                              Claiborne Parish Sheriffs Ofc     507 West Main
Homer, LA 71040                         613 East Main Street              PO Box 270
                                        Homer, LA 71040                   Homer, LA 71040




Claiborne Parish Sheriffs Ofc           Clair L Johnson                   Clair Sherman Traylor
Sheriff Ken Bailey                      3585 Lotus Dr                     785 Main Street
613 East Main Street                    Waterford, MI 48095               Haynesville, LA 71038
Homer, LA 71040




Claire C Friedrichs                     Claire C Leggatt                  Claire Campbell Seymore Ward
111 Tranquility Drive                   c/o Texas State Treasury          203 Brickell Way
Mandeville, LA 70471                    Unclaimed Property Division       Lafayette, LA 70508
                                        PO Box 12019
                                        Austin, TX 78711-2019



Claire Deloach Spangler                 Claire Friedman Haut              Claire Joffrion Blair Burns
2536 Coolwater Drive                    8302 Maple Court                  c/o Texas State Treasurer
Plano, TX 75025                         Bellaire, TX 77401                Unclaimed Property Division
                                                                          PO Box 12608 Capitol Station
                                                                          Austin, TX 78711



Claire King Mcdonald                    Claire Louise Dilworth Davis      Claire Mckenzie
1502 Holley St                          c/o Lange Poteet Company          Address Redacted
Minden, LA 71055-8910                   PO Box 12199
                                        San Antonio, TX 78212




Claire Spangler Swain                   Claire Summerville                Claire Williams
2536 Coolwater Dr                       221 Locklear Ave                  5804 Forest Grove Dr
Plano, TX 75025                         Longview, TX 75605                Texarkana, TX 75503




ClampettS Tea LLC                       Clara Ann Touchstone              Clara B Mahan
PO Box 148                              9643 Wesso Circle                 1106 Grace
Eagle, CO 81631                         Shreveport, LA 71118              Poteau, OK 74953




Clara Cameron Cravens                   Clara Dell Cooks                  Clara Elizabeth Gee Lewis
4530 Orchid Drive                       C/O Glenda Hardeman               1116 Annette Drive
Los Angeles, CA 90043                   1715 Venus Dr                     Longview, TX 75604
                                        Lancaster, TX 75134




Clara Grigsby Wasson Decd Esch          Clara Harris Flenoid              Clara L Shovlin
Box 38 Moore Station                    2150 West Briston Court           122 Chester St 4
Shreveport, LA 71101                    Hanford, CA 93230                 San Antonio, TX 78209




Clara Laroe Edwards                     Clara Lee Noles                   Clara Louise Jones Estate
8520 E Fm 837                           2635 Spreading Oaks Ln            Bobby D Matthews Ind Executor
Palestine, TX 75803                     Jacksonville, FL 32223-6534       900 Pierremont Suite 116
                                                                          Shreveport, LA 71106
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Clara Lynn Porter Gibson                Clara Mae Spencer Unknown Heir   Clara Miller
406 Cherokee Trail                      c/o Texas State Treasury         c/o Bevi Childress
Henderson, TX 75652                     Unclaimed Property Division      4409 Winding Creek Court
                                        PO Box 12019                     Arlington, TX 76016
                                        Austin, TX 78711-2019



Clara Nail                              Clara S Henderson                Clara Vernell Hogan Vance
15469 County Road 220                   PO Box 492850                    4042 Crosby St
Tyler, TX 75707                         Sacramento, CA 94250             Shreveport, LA 71109




Clara W Reeves                          Clara Willie Jett                Clarabelle K Elliott
8094 White Tail Trail                   409 Harrison                     810 Southwick Way
Caldwell, TX 77836                      Eufaula, OK 74432                Sacramento, CA 95864




Clare Ludwig Qualified Marital Chil     Clarece Kilpatrick Garrett       Clarence A Brimmer Jr
Credit Shelter Tr Edward Ludwig Jr      5946 Quitman Hwy                 314 West 18Th St
PO Box 23142                            Quitman, LA 71268                Cheyenne, WY 82001
Harahan, LA 70183




Clarence Adams                          Clarence B Dunbar                Clarence Brown
1562 Reynolds St                        408 S Poplar Ave                 640 Penguin Drive
Lancaster, TX 75134                     Broken Arrow, OK 74012-8395      Dallas, TX 75241




Clarence C Conn                         Clarence David Simonton          Clarence E Isley
PO Box 40                               606 Willett Place                Rr 1 Box 249
Leming, TX 78050                        Monroe, LA 71203                 Shelbyville, IL 625659611




Clarence Edward Taylor                  Clarence Ellie Family Invest     Clarence Ensley
2120 Curtis Avenue 2                    3884 State Highway 239           24616 102nd Place Se
Redono Beach, CA 90278                  Goliad, TX 77963                 Kent, WA 98030




Clarence Falvey Porter                  Clarence H Hill Jr               Clarence J Saloom Legitime Tr
9472 W Ontario Dr                       813 Great Sand Dunes             Daniel Saloom Trustee
Littleton, CO 80128-4053                Pflugerville, TX 78660-5295      PO Box 80276
                                                                         Lafayette, LA 70598




Clarence K Whiteside Jr                 Clarence L Hicks Sr              Clarence L Hymon
1708 Beretta Dr                         1309 Southeast Oak               701 8Th Street
Flower Mound, TX 75028                  Ruston, LA 71270                 Ferriday, LA 71334




Clarence Lamar Norsworthy Iii           Clarence Loys Batton Jr          Clarence Marion Holloway
100 Crescent Court Suite 1600           Peggy Vernor Batton              393 Miller Briarwood Rd
Dallas, TX 752016927                    310 Pinecrest Dr                 Sibley, LA 71073
                                        Arcadai, LA 71001
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Clarence Marshall Bice                 Clarence Pat Moulden            Clarence Randmond Knotts
Vanelle Widick Bice                    PO Box 329                      PO Box 1623
210 Byrd Rd                            Bastrop, TX 78602               Mount Pleasant, TX 75456
West Monroe, LA 71292




Clarence Ray Scurlock                  Clarence Rufus Sims             Clarence Swindell
PO Box 1392                            1200 Brophy Dr                  484920 Sequoia
Shreveport, LA 71164                   Pflugerville, TX 78660-2922     1201 E El Cibolo Road
                                                                       Edinburg, TX 78541




Clarence Taylor Et Ux                  Clarence Vaughn                 Clarence Young
Lorence Adams Taylor                   13840 Gulf Coast Road           1804 Alpine Street
Route 2 Box 201                        Conroe, TX 77302                Longview, TX 75601
Gibsland, LA 71028




Clareta Ladelle Sheppard               Clariant Corporation            Clarice O Pippins
717 W 30Th St                          Lockbox 2203                    3029 Hyde Street
Houston, TX 77018                      c/o Citibank Lockbox Opers      Oakland, CA 94601
                                       8430 W Bryn Mawr Ave 3Rd Flr
                                       Chicago, IL 60631



Clarie Mayor                           Clarion Technical Conferences   Clarissa Caye White
104 St Joseph Street                   3401 Louisiana St Ste 110       Aka Clarissa Grigsby
Destrehan, LA 70047                    Houston, TX 77002-9546          4144 Mount Vernon Dr
                                                                       Los Angeles, CA 90008-4818




Clarissa Del La Garza                  Clark C Shofner                 Clark Cummings Graves
1619 Farragut St                       PO Box 1079                     PO Box 1392
Laredo, TX 78040                       Jasper, TX 75951                Austin, TX 78767




Clark Family Mineral Trust             Clark Family Minerals LLC       Clark G Presswood
724 Pinehaven Drive                    333 Texas St Ste 2350           2037 Marquette Rd
Laurel, MS 39440                       Shreveport, LA 71101            Chula Vista, CA 91913




Clark Grein                            Clark H Rice                    Clark Interests LLC
c/o Mary Ellen Grein                   9540 Garland Rd                 202 Essex Court
137 Echo Lane                          Ste 381 362                     Fairview, TX 75069
Seguin, TX 78155                       Dallas, TX 75218-3423




Clark L Scarborough                    Clark Ried Davis                Clark Sample Oil Gas Limited
10319 Piping Rock Ln                   1010 W Poplar                   PO Box 1912
Houston, TX 77042                      San Antonio, TX 78212           Longview, TX 75606




Clark Thompson Jr                      Clark Waterhouse                Clark Wife Linda Fullwood
c/o Jp Morgan Chase                    3568 Harding St 205             300 Se Cr 3130
2200 Ross Ave 5Th Fl                   Carlsbad, CA 92008              Corsicana, TX 75109
Dallas, TX 75201
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Clarke Family Investments               Clarke Land Timber LLC         Clary Services Inc
c/o William V Clarke                    765 Chiquapin Dr               PO Box 99
2727 Allen Pkwy Ste 1570                Shreveport, LA 71106           Arp, TX 75750
Houston, TX 77019-2167




Class Act Federal Credit Union          Class C Solutions Group        Class Trust For Great Grandchildren
3620 Fern Valley Road                   Dept Ch 14079                  William H Shirley Trustee
Louisville, KY 40219                    Palatine, IL 60055-4079        157 Blue Ridge Lane
                                                                       Ruston, LA 71270




Classic Hydrocarbons Inc                Classic Hydrocarbons Inc       Classic Hydrocarbons Oper LLC
500 Dallas Street Suite 1800            6500 West Freeway              500 Dallas Street Suite 1800
Houston, TX 77002                       Fort Worth, TX 76116           Houston, TX 77002




Classic Operating Co LLC                Classic Pipeline Gathrng LLC   Claude Allen Jr Sep Prop
500 Dallas St Ste 1800                  500 Dallas Street Suite 1800   904 East 78Th Street
Houston, TX 77002-2067                  Houston, TX 77002              Kansas City, MO 64131




Claude Allen Williams                   Claude Alwyn Durrett Jr        Claude Andrus Jackson
416 Travis St Ste 1200                  2539 Martha Street             2425 Nall St
Shreveport, LA 71101                    Simsboro, LA 71275             Port Neches, TX 77651




Claude B Faulkner                       Claude Britton Iii             Claude Brown
PO Box B                                161 Cowboy Ln Lot 94           John W Cordray County Judge Receiver
Cullen, LA 71021                        Calhoun, LA 71225-3403         110 Sout Hsycamore Room 216A
                                                                       Carthage, TX 75633




Claude C Craighead Iii Family Trust     Claude C Davis                 Claude E Harris Sr
2415 Palmer Ave                         202 Davis Rd                   126 Heard Rd
New Orleans, LA 70118                   Simsboro, LA 71275             Ruston, LA 71270




Claude E Mcpherson Jr                   Claude Edward Whitaker         Claude Franklin Lord Jr Rev Living Trust
6062 County Road 122B                   PO Box 506                     c/o Mark F Slaight Trustee
Kaufman, TX 75142                       Burgaw, NC 28425               4601 Sandra Lynn Drive
                                                                       Mesquite, TX 75170-1044




Claude Graves Iii                       Claude H Roberts Jr            Claude Jackson
2204 Canyon Creek Plaza                 151 Sage Road                  307 N Dallas Ave
Richardson, TX 75080                    Houston, TX 77056              Wilmer, TX 75172




Claude K Rowland                        Claude L Hoskins               Claude Lee Wakeland
730 New Hampshire Unit 3 I              511 Elmwood Avenue             Shirley Ann Wakeland Joint
Lawrence, KS 66044                      Lynchburg, VA 24503            Tenants W/R/O/S
                                                                       502 Gingerbread Ln
                                                                       Waxahachie, TX 75165
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Claude Lewis                               Claude Marie Dubuis Religious And C   Claude Odis Williams Jr
432 May Road                               Attn Carol Rodriguez                  300 J T Griggs Rd
Dubach, LA 71235                           6510 Lawndale Avenue                  Calhoun, LA 71225
                                           Houston, TX 77023




Claude Phillip Lyles                       Claude R Seago                        Claude S Holley
700 Simmons Rd                             533 Maple Avenue                      5621 Leicester Dr
Ruston, LA 71270                           Houma, LA 70364                       Corpus Christi, TX 78414




Claude Tompkins Jr                         Claudeen Hughes Gardner Usufruct      Claudette Bonds Holmes
5416 Fm 124 W                              297 Tobin Road                        1001 E Franklin St
Beckville, TX 75631                        Castor, LA 71016                      Hillsboro, TX 76645




Claudette Clemens Bunn                     Claudette Deloney Naggs               Claudette Gholston
7474 Fm 49                                 3206 39Th Street                      3615 Curry Street
Gilmer, TX 75644                           Port Arthur, TX 77642                 Monroe, LA 71203




Claudette Jones Bypass Trust               Claudette K Copeland                  Claudette P Leblanc Individually
Claudette Jones Trustee                    5876 Oram St                          PO Box 866
12 Thorntree                               Dallas, TX 75206                      Scott, LA 70583
Longview, TX 75601




Claudette Reese Harris                     Claudia Ann Arnn                      Claudia Beams Sp
Timothy M Givens Poa                       201 Delbrook Drive                    C/O 1511 102nd Avenue
1206 Briar Ridge Dr                        Longview, TX 75604                    Oakland, CA 94603
Keller, TX 76248




Claudia Bullock Wheeler                    Claudia C Whitaker                    Claudia Covington Findley
14015 Birch St                             17974 Fm 16 W                         43 Cape Dr Nw
Overland Park, KS 66224-3552               Lindale, TX 75771                     Fort Walton Beach, FL 32548




Claudia Craig Marek                        Claudia Dell Davis                    Claudia E Foust Estate
PO Box 9072                                13190 Ne County Road 1754             160 Spring Creek Road
Cedarpines Park, CA 92322                  Butler, MO 64730-8674                 Longview, TX 75603




Claudia F Snowden                          Claudia Hatley                        Claudia J Barnard
722 E Cook                                 1500 S Frisco Ave 4E                  4711 Spicewood Spring Rd 270
El Dorado, AR 71730                        Tulsa, OK 74119                       Austin, TX 78759




Claudia K Floyd Trust                      Claudia L Bailey                      Claudia Lozano
Community Bank Of Raymore                  1570 Us Hwy 84 E                      4939 Phillip
PO Box 200                                 Tenaha, TX 75974                      Dallas, TX 75223
Raymore, MO 64083-0200
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Claudia M Bridges Wagner               Claudia M Phillips Lyles                  Claudia Mae Warren
709 Jackson Street                     1311 Brewster St                          1324 Branwood Way
Ruston, LA 71270                       PO Box 3338                               Sacramento, CA 958314036
                                       Ruston, LA 71270




Claudia Parrish                        Claudia Ruth                              Claudia Standifer
424 Ne Landings Drive                  4114 Hoffman                              6116 Elm Avenue
LeeS Summit, MO 64064                  Houston, TX 77026                         Raytown, MO 64133




Claudia Tantalo Watson                 Claudia Wilson Manning                    Claudie Brown
PO Box 2768                            11709 S Oak St                            4396 Highway 80
Fallbrook, CA 92088                    Jenks, OK 74037                           Ruston, LA 71270




Claudine Brown Jackson                 Claudine Emma Monk Heckford               Claudine Temple Howard
8492 Cranbrook Dr                      1196 Rogers Road                          PO Box 82
Grand Blanc, MI 48439                  West Monroe, LA 71292                     Tenaha, TX 75974




Clavis Snoddy                          Clay Alexander                            Clay Allen Appraisal Service
c/o Texas Comptroller Accounts         301 Savoy St                              104 W Houston
Unclaimed Property Division            Bullard, TX 75757-5455                    Marshall, TX 75670
PO Box 12019
Austin, TX 78711-2019



Clay B James And Lisa M K James        Clay Carter Lawrence                      Clay D Gresham And Judith W Gresham
c/o G Wayne Kuhn                       2104 Wimberly Street                      5624 Autumn Chase Circle
1027 Main Street                       Longview, TX 75601                        Sanford, FL 32773
Franklinton, LA 70438




Clay Energy                            Clay Esther Scull                         Clay Law Firm PLLC
PO Box 9603                            A/I/F John D Scull                        13506 Summerport Village Pkwy Ste 241
The Woodlands, TX 77387                PO Box 220                                Windermere, FL 34786
                                       Tenaha, TX 75974




Clay Walton Roberts                    Clay Wilder                               Claydesta Buildings Lp
124 Skyline Dr                         PO Box 1106                               6 Desta Dr Ste 5725
Alpine, TX 79830                       Henderson, TX 75653                       Midland, TX 79705-5606




Claydesta Po Box                       Clayton Banks                             Clayton Covington
612 Veterans Airpark Ln                921 Fletcher Ln 101                       c/o C O Covington
Midland, TX 79705                      Hayward, CA 94544                         974 Mimosa Ln
                                                                                 Shongaloo, LA 71072




Clayton Culbertson                     Clayton Daniel Mcmillan Irrevo Tr U/W/O   Clayton Fdn For Research
Mary Culbertson Couvillier             Bernice Daniel F/B/O Clayton D Mcmillan   A Non Profit Texas Corporation
Attorney In Fact                       Patricia Daniel Mcmillan Ttee             One Riverway Ste 1500
5112 Calmont Avenue                    672 Fm 3359                               Houston, TX 77056
Fort Worth, TX 76107                   Carthage, TX 75633
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Clayton Feild Iii                         Clayton Forest Jones            Clayton Holt Price
5303 Council Grove                        387 Goodgoin Road               1115 Beverly St
Houston, TX 77088                         Ruston, LA 71270                Houston, TX 77008




Clayton M Parrish                         Clayton M Sylestine             Clayton Matthew Baker
PO Box 504                                433 Fm 2500                     603 W Forrest St
Cotton Valley, LA 71018                   Livingston, TX 77351            Victoria, TX 77901




Clayton Pipkin                            Clayton S Hays                  Clayton Timothy Dunn
PO Box 977                                12939 Highway 9                 1805 N Interstate 35 Apt 32G
Fredericksburg, TX 78624                  Homer, LA 71040                 San Marcos, TX 78666-6702




Clayton Wade Williams                     Clayton Williams Energy Inc     Clayton Williams Energy Inc
6 Desta Drive Suite 3000                  6 Desta Drive                   700 Rockmead Dr Ste 159
Midland, TX 79705                         Suite 1100                      Kingwood, TX 77339
                                          Midland, TX 79705-5510




Clayton Williams Jr                       Clb Properties Inc              Clc Childrens Tr
6 Desta Dr Ste 1100                       Chris Brown President           Gina Carameros Ttee
Midland, TX 79705                         330 East Main St                PO Box 12007
                                          Jonesboro, LA 71251             El Paso, TX 79913




Clean Emissions Products Inc              Clean Harbors Environmental     Clean Slate Services LLC
PO Box 271                                PO Box 3442                     PO Box 3012
Midhurst, ON L0L 1X0                      Boston, MA 02241-3442           Carlsbad, NM 88221
Canada




Clear Creek Royalty Land Ltd              Clear Fork Minerals LLC         Clearthur Hogan Jr
PO Box 52288                              309 W 7Th Street Suite 500      321 Pinehill Circle
Midland, TX 79710                         Fort Worth, TX 76102            Mansfield, LA 71052




Clearview Federal Credit Union            Clearwater International LLC    Clearwater Resources LLC
8805 University Blvd                      2000 Saint James Place          Shane Grissom
Moon Township, PA 15108                   Houston, TX 77056               PO Box 819
                                                                          Levelland, TX 79336




Cleary Petroleum Corp                     Cleco Power LLC                 Cleco Power LLC
2601 Nw Expy Ste 801W                     2030 Donahue Ferry Road         PO Box 660228
Oklahoma City, OK 73112                   Pineville, LA 71360             Dallas, TX 75266-0228




Clem B Family Limited Prtnrshp            Clem B Family Ltd Partnership   Clem F Sylestine
2158 Llangeler Drive                      Jerry S Drewett Gen Partner     15715 Hwy 190 East
Ruston, LA 71270                          2158 Llangeler Dr               Livingston, TX 77351
                                          Ruston, LA 71270
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Clem F Sylestine And Leona Sylestin     Clemence A Eleanor P Wiatrek               Clement Land And Minerals LLC
15715 Hwy 190 East                      402 W Southline                            Attn Bruns Clement Manager
Livingston, TX 77351                    Karnes City, TX 78118                      PO Box 4168
                                                                                   Lake Charles, LA 70606




Clements Fluids Buffalo Ltd             Clements Fluids Henderson Ltd              Clements Fluids Henderson Ltd
Hope Lawrence                           Hope Lawrence                              4710 Kinsey Drive Suite 200
5701 Old Bullard Rd Pmb 20              5701 Old Bullard Rd Pmb 20                 Tyler, TX 75703
Tyler, TX 75703                         Tyler, TX 75703




Clements Fluids Louisiana Ltd           Clements Fluids South Texas Ltd            Clementson Inc
4710 Kinsey Drive                       Hope Lawrence                              PO Box 2587
Suite 200                               5701 Old Bullard Rd Pmb 20                 Mcallen, TX 78502
Tyler, TX 75703                         Tyler, TX 75703




Clemmie Ruth Mccoy                      Clenard Lee Dumas And Donna Greene Dumas   Cleo Allen Sep Prop
13669 Hwy 84                            PO Box 134                                 311 Allen Road
Logansport, LA 71049                    Dubach, LA 71235                           Arcadia, LA 71001




Cleo J Fratzke                          Cleo T Condray Estate                      Cleola M Ward
1116 Columbus Drive                     Mrs Jackson R Galloway                     1316 N E 48Th St
Stafford, VA 22554                      2049 Thornton Court                        Oklahoma City, OK 73111
                                        Alexandria, LA 71301




Cleon Boyce                             Cleone Haynes Hodges Living Tr             Cleoni A Gause
Texas State Comptroller                 264 Green Street                           4151 Vineyard Road
Unclaimed Property Division             Boone, NC 28607                            Novato, CA 94947
PO Box 12608 Capitol Station
Austin, TX 78711



Cleophas Adams                          Cleophas L Wright                          Cleophus Anderson
5124 Burlingame Ave                     1057 56Th Street                           1408 Cornell Ave
Richmond, CA 94804                      Oakland, CA 94608                          Ruston, LA 71270




Cleophus Ford                           Cleophus Lewis                             Cleophus Lewis Separate Prop
Rt 2 Box 211                            2912 Stafford Dr                           2330 182nd Lane Apt 1C
Ruston, LA 71270                        Harvey, IL 60426                           Lansing, IL 60438




Cleophus Lewis Jr                       Cleota Hartfelder                          Cleother Venzant
106 26Th St                             7025 Helsem Way                            3276 Eagle Way
Park Forest, IL 60466                   Dallas, TX 75230                           Rosamond, CA 93560




Clerk Supreme Court                     Cleroy Inc                                 Cletes W Killough
State Bar Of Texas                      PO Box 3403                                1301 New Forest Dr
PO Box 149335                           Tulsa, OK 74101                            Longview, TX 75601
Austin, TX 78714-9335
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Cletter F Williams Dupree              Cleveland Crawford Decd        Cleveland Lyndell Jones
4402 St Charles Rd                     684 East 52nd Place            2336 Stewarts Cove
1st Fl                                 Los Angeles, CA 90011          Orlando, FL 328284320
Bellwood, IL 60104




Cleveland R Taylor Jr                  Clevon Anna Lee B Roberson     Clevon Ray Roberson
9404 Hwy 80 West                       13924 Hwy 151                  Amanda P Roberson
Marshall, TX 75670                     Arcadia, LA 71001              218 Ross Perritt Road
                                                                      Arcadia, LA 71001




Clevon Roberson Sep Prop               ClF Operating LLC              Clidie Jo Turner
13924 Hwy 151                          PO Box 4259 Msc 500            4110 North Expressway 77
Arcadia, LA 71001                      Houston, TX 77210-4259         Box 7154
                                                                      Harlingen, TX 78550




Cliff Hill                             Cliff Morgan Richmond          Clifford Anthony Bradbery
Address Redacted                       402 Happy Trail                1516 Peterson Lane
                                       San Antonio, TX 78231          Henderson, TX 75654




Clifford B Ayer Iii                    Clifford B Fagin Trust         Clifford C Young Jr Estate
PO Box 21                              John S Hill Trustee            c/o Mary E Schwartz Executrix
Yankeetown, FL 34498-0021              8600 Santa Rosa Road           125 Seahorse Drive
                                       Buellton, CA 93437             Vallejo, CA 94591




Clifford D Hayes Revocable             Clifford Dennis Bequette Jr    Clifford Drane Jr
Living Trust Dtd 04/29/1997            14119 Kingsride Ln             803 West Stone
Clifford D Hayes Trustee               Houston, TX 77079-3220         Brenham, TX 77833
8 Saint Andrews Dr
Rogers, AR 72758



Clifford E Marshall                    Clifford Harold Greenbaum      Clifford Ray Arrington
Joan Marshall Moore Executrix          202 Park Laureate              Carole Keedy Arrington
PO Box 642                             Houston, TX 77024              PO Box 1869
Scottsville, TX 75688                                                 Ruston, LA 71273-1869




Clifford Royalty Trust 714808          Clifford S Roe                 Clifford Thomas Mcdonald Sp
Bank Of America Suc Trustee            9710 Chriesman Way             169 Sherwood Dr
PO Box 840738                          Missouri City, TX 77459        West Monroe, LA 71291
Dallas, TX 75284-0738




Clifford Turner                        Clifford Williams              Clifton A Mcdowell Jr And
PO Box 692                             PO Box 538                     Anna K C Mcdowell
Ama, LA 70031                          Ruston, TX 71273               PO Box 7775
                                                                      Shreveport, LA 71137-7775




Clifton Allen Sandifer Et Ux           Clifton Bohannon               Clifton Brooks
Martha L Aldridge Sandifer             604 W 18Th                     c/o Texas State Treasurer
1357 Mitcham Orchard Road              Robert Lee, TX 76945           Unclaimed Property Division
Ruston, LA 71270                                                      PO Box 12608 Capitol Station
                                                                      Austin, TX 78711
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Clifton C Anderson                        Clifton C Pate Jr                  Clifton Chapter 283 Order Of
4305 Longfellow Dr                        929 Azalea Garden Drive            The Eastern Star
Plano, TX 75093                           Shreveport, LA 71115               c/o Helen Hood SecY
                                                                             948 Middle Windsor
                                                                             McGregor, TX 76657



Clifton D Green                           Clifton David Cameron Jr           Clifton H Jackson Et Ux
408 Langholm Drive                        c/o Texas State Treasury           Revell D Jackson
Winter Park, FL 32789-5254                Unclaimed Property Division        218 Medgar Evers St
                                          PO Box 12019                       Grambling, LA 71245
                                          Austin, TX 78711-2019



Clifton Jackson                           Clifton L Riley Ii                 Clifton R Whitehead
200 Medgar Evers Dr                       5219 Hitching Post Rd              700 Greenwood Court
Grambling, LA 71245                       Kalamazoo, MI 49009                Georgetown, TX 78628




Clifton S Moore                           Clifton Wilderspin                 Clifton Wilson Jr
PO Box 81917                              PO Box 50088                       20505 Harrier Hunt Road
Fairbanks, AK 99708                       Midland, TX 79710                  Pflugerville, TX 78660-7837




Clifton Wysinger                          Climmie Miller                     Cline And Patsy Blount
2076 Mlk Dr                               808 W Oak                          624 Ellerbe Gardens Blvd
Grambling, LA 71245                       Olney, TX 76374                    Shreveport, LA 71106




Clinon Dale Williams                      Clint Christianson                 Clint Daniel Bounds
PO Box 691                                201 Rodeo Way                      4110 Lovers Ln
Myrtle Creek, OR 97457                    Woodland Park, CO 80863            Dallas, TX 75225-6908




Clint Lee Bowden                          Clint Parker Testamentary Trst     Clint Parker Trust
PO Box 454                                c/o Jp Morgan Chase Bank Na Ttee   c/o Jp Morgan Chase Bank Na Ttee
Gladewater, TX 75647                      PO Box 99084                       PO Box 99084
                                          Fort Worth, TX 76199-0084          Fort Worth, TX 76199-0084




Clint W Margaret E Teller                 Clinten Cox Trust                  Clinton Brown
c/o Texas State Treasurer                 2291 Winnetka Road                 PO Box 292
Unclaimed Property Division               Northfield, IL 60093-3153          Henderson, TX 75653
PO Box 12019
Austin, TX 78711-2019



Clinton Castleberry                       Clinton D Mckinnon                 Clinton Dan Mckinnon
Address Redacted                          1125 101 Pacific Beach Drive       1125 101 Pacific Beach Dr
                                          San Diego, CA 92109                San Diego, CA 92109




Clinton Dillard Jr                        Clinton Fuller Sr                  Clinton H Hampton
3540 Vinings Ridge Ct                     8401 Skillman St Apt 1087          Barbara Johnson Hampton
Atlanta, GA 30339                         Dallas, TX 75231-1811              6531 Glen Rock St
                                                                             Houston, TX 77087
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Clinton H Wysinger Jr                    Clinton Heath Hightower               Clinton Hunt
867 Danville Road                        Lisa Bates Hightower                  227 Snowden Road
Jonesboro, LA 71251                      2300 Hillside Rd                      Hallsville, TX 75650
                                         Ruston, LA 71270




Clinton J Bell Jr                        Clinton L Davidson Betty A Davidson   Clinton L Emshoff
PO Box 24864                             Revocable Living Trust                Address Redacted
Denver, CO 80224-0864                    777 Highway 563
                                         Dubach, LA 71235




Clinton Lee Davidson                     Clinton M Evans                       Clinton Sampson Sep Prop
777 Hwy 563                              1065 Summer Ridge Rd                  PO Box 503
Dubach, LA 71235                         Bozeman, MT 597157759                 Hodge, LA 71247




Clinton Sampson Jr                       Clinton W Fuller                      Cloteal Reed
1014 E Rome                              7124 E Ridge Dr                       1609 Allen St
Gonzales, LA 70737                       Shreveport, LA 71106                  Ruston, LA 71210




Cloteal W Davidson                       Clotee Bausley                        Clotee Mcinroe Est Tr
4153 Asbourne Ln                         Brenda Lester Bell A/I/F              c/o Billy Ray Mcinroe
Indianapolis, IN 43226                   PO Box 264                            1520 Cr 1150
                                         Ennis, TX 75120                       Mount Pleasant, TX 75455




Clotiel Allen Taylor F/B/O               Clotis Allen Sep Prop                 Clotis Malone Amos
Viola A Harris                           111 Grant Road                        319 Malone Road
Separate Property                        Gibsland, LA 71028                    Arcadia, LA 71001
3644 Askew Avenue
Kansas City, MO 64128



Cloud Anthem                             Cloutis Brown Kimbrough               Cls Diversifies LLC
1152 Castro Street                       3359 Manor Ct                         63 Hunting Ridge Road
San Francisco, CA 94114                  Indianapolis, IN 46218                Greenwich, CT 06831




Clyde Allen Barmore                      Clyde B Butler And                    Clyde Bradshaw And Diane
1011 Oak Ave                             Melba Jeanne Fluitt Butler            Powell Bradshaw
Deridder, LA 70634                       8485 Hwy 822                          179 Olive St
                                         Dubach, LA 71235                      Ruston, LA 71270




Clyde C Colvin Iii                       Clyde Cooks                           Clyde D Street
PO Box 563                               301 West Gates Avenue                 725 43Rd Street
Bernice, LA 71222                        Longview, TX 75601                    Oakland, CA 94609




Clyde E Faggett                          Clyde E Peach                         Clyde Edward Burns And Rosalee Burns
Address Redacted                         55 Monument Circle                    3964 Us Highway 79 East
                                         Suite 827                             Henderson, TX 75652
                                         Indianapolis, IN 46204-2951
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Clyde Edward Snider                      Clyde Elmore Nicely              Clyde Ennis Graves
PO Box 15                                836 8Th Street                   704 N 31st Street
Merryville, LA 70653                     Clarkston, WA 99403              Nederland, TX 77627




Clyde H Alexander Ii                     Clyde H Lindsey Jr               Clyde H Wilson Jr Ttee
PO Box 250969                            1537 Richland Ave                Clyde H Wilson Jr Legacy Trust
Plano, TX 75025                          Baton Rouge, LA 70808            Dtd 09/29/2011
                                                                          27 South Orange Avenue
                                                                          Sarasota, FL 34236-5822



Clyde Holt                               Clyde Homer Langford             Clyde Jackson And Lizzie Jackson
368 Cr 222                               2117 Brun                        805 N 35Th St
Carthage, TX 75633                       Houston, TX 77019                Monroe, LA 71201-3224




Clyde Lee Aycock And                     Clyde M Gibson Living Trust      Clyde Mavis H Spain
Virginia Williford Aycock                U/Declaration Of Revocable       Revocable Living Trust
10556 Highway 146                        Trust Dtd 9/8/98 Clyde M         2807 Lipsey Street
Dubach, LA 71235                         Gibson Trustee PO Box 230        Decatur, TX 76234
                                         Lavaca, AR 72941



Clyde Russell Jr                         Clyde S Mccall Jr                Clyde Savage Jr And Frances Helen Savage
4300 Compton Circle                      9 Glenshire Court                1310 Bailey Street
Bellaire, TX 77401-3205                  Dallas, TX 75225                 West Monroe, LA 71292




Clyde Thomas Gant                        Clyde W Mcbride                  Clyde W Penwell Iii
103 E Trailmoor A10                      118 Villa Way                    44 Pine Coulee Lane
Fredericksburg, TX 78624                 Coldspring, TX 77331-3132        Cascade, MT 59421




Clyde Willis Sims Jr And                 Clyde Y Vanderbrouk              Cm Beckett Jr Tr Texie Beckett Nash
Billye Norwood Sims                      10035 Del Monte Dr               Successor Ttee
449 Cedar Hill Rd                        Houston, TX 77042-2431           PO Box 8439
Grand Cane, LA 71032                                                      Marshall, TX 756718439




Cm Service Company Inc                   Cmc Business Systems             Cmdr Hildry L Nelson
7411 Mesa Drive                          PO Box 6434                      308 Whiting Ct
Houston, TX 77028                        Carol Stream, IL 60197           Daphne, AL 36526




Cmg Oil Properties LLC                   Cmty Natl Bank And Trust Of Tx   Cna Surety
Tr Co Of Okla Agent                      906 North Buffalo Avenue         8137 Innovation Way
PO Box 3688                              Buffalo, TX 75831                Chicago, IL 606820081
Tulsa, OK 74101




Cnc Oilfield Services LLC                Cnc Oilfield Services LLC        Cnr Enterprises LLC
2000 Cedar St                            Whitney Rogers                   800 Daniel Boone
Shreveport, LA 71103-2900                401 Market Street Suite 1150     Green River, WY 82935
                                         Shreveport, LA 71101
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CO Dept Of Public Health Environment    Co Ex Pipe Company               Coach Limo
4300 Cherry Creek Drive South           PO Box 3370                      8330 N Sam Houston Pkwy 11207
Mail Code Asd Ar B1                     Midland, TX 79702-3370           Humble, TX 77396
Denver, CO 80246-1530




Coast Commercial Painting               Coast Range Trucking             Coastal Bend Mechanical Services Lp
Larry Black                             3075 Walnut Ave                  PO Box 2493
685 East Road                           Long Beach, CA 90807             Victoria, TX 77902
La Habra Hts, CA 90631-8153




Coastal Chemical Co                     Coastal Chemical Co LLC          Coastal Chemical Co LLC
Department 2214                         3520 Veterans Memorial Drive     Dept 2214
PO Box 122214                           Abbeville, LA 70510              PO Box 122214
Dallas, TX 78312-2214                                                    Dallas, TX 75312-2214




Coastal Chemical Co LLC                 Coastal Chemical Co LLC          Coastal Community And Teachers
Lubrication Services LLC                Lubrication Services LLC         6810 Saratoga Blvd
PO Box 122214                           3520 Veterans Memorial Drive     Corpus Christi, TX 78414
Dept 2214                               Abbeville, LA 70510
Dallas, TX 75312-2214



Coastal Federal Credit Union            Coastal Flow Energy Labs Inc     Coastal Flow Field Serv Inc
2339 Davis Dr                           PO Box 58965                     PO Box 58965
Cary, NC 27519                          Houston, TX 77258-8965           Houston, TX 77258-8965




Coastal Flow Gas Measurement Inc        Coastal LLC                      Coastal Management Trust
PO Box 58965                            1601 Nw Expressway Ste 500       Perry L Shan Trustee
Houston, TX 77258-8965                  Oklahoma City, OK 73118-1460     PO Box 1569
                                                                         Porter, TX 77365




Coastline Logistics LLC                 Coates Energy Interests Ltd      Coates Energy Trust
9009 North Loop East                    7373 Broadway Ste 406            7373 Broadway Ste 406
Ste 150                                 San Antonio, TX 78209            San Antonio, TX 78209
Houston, TX 77029




Coates Energy Trust And                 Cobalt Energy LLC                Cobblestone Systems Corp Nda
Coates Energy Interests Ltd             PO Box 10162                     100 Overlook Center Floor 2
7373 Broadway Ste 406                   Zephyr Cove, NV 89448            Princeton, NJ 08540
San Antonio, TX 78209




Cobiz Bank Natl Association             Cobra Lke Properties LLC         Cobra Oil Gas Corporation
821 17th St Ste 800                     PO Box 8206                      PO Box 8206
Denver, CO 80202                        Wichita Falls, TX 76307          Wichita Falls, TX 76307




Cobra Oilfield Services LLC             Cobra Petroleum Company Lp       Cobweb Ranch Revocable Trust
PO Box 5875                             PO Box 8049                      Adolphus D Cobb Iv Trustee
Bossier City, LA 711715875              Rancho Santa Fe, CA 92067-8049   25011 White Creek
                                                                         San Antonio, TX 78255
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Cobwebb Ranch Trust                     Coca Cola Bottling Company High Country   Coca Cola North America
Attn Joe L Carter Trustee               PO Box 798                                PO Box 102703
100 S Washington St                     Rapid City, SD 57709-0798                 Atlanta, GA 30368
Beeville, TX 78102




Cocek Revocable Trust                   Cochran County                            Cochran Forestry Consulting LLC
Bernard Juanita Cocek Co Trustees       Treva Jackson Tax Assessor Collector      701 Aspen Circle
2827 Silverspring Road                  100 N Main Rm 101                         Ruston, LA 71270
Carrollton, TX 75006                    Morton, TX 79346




Coci Group Inc Dba Coyote               Cockerell Oil Properties Ltd              Coco Barringer Nix
1425 Meandering Way                     Edward E Cockerell                        PO Box 12488
Rockwall, TX 75087                      1133 N 2nd St Ste 202                     Dallas, TX 75225
                                        Abilene, TX 79601




Coco Production Company                 Codale Electric Supply Inc                Cody Armstrong
Harry J Owens                           PO Box 25777                              1975 Hwy 544
PO Box 524                              Salt Lake City, UT 84125-0777             Ruston, LA 71270
Longview, TX 75606-0524




Cody Clark                              Cody Dhuwayne Dowling                     Cody Durrett Dba Falcon Rentals
Address Redacted                        5109 County Rd 468                        6923 Indiana Ave Suite 255
                                        Mckinney, TX 75071                        Lubbock, TX 79413




Cody Energy Inc                         Cody Eugene Crowell                       Cody Hock
PO Box 3010                             7109 Lowery Lane                          416 Travis Suite 812
Cody, WY 82414                          North Richland Hills, TX 76182            Shreveport, LA 71101




Cody Lane Brashear                      Cody Lee Hanna                            Cody Rodriguez
Box 996                                 c/o Betty Mitcham Hanna Tutrix            Address Redacted
Levelland, TX 79336                     11140 Hwy 146
                                        Dubach, LA 71235




Cody Scott Richard And                  Cody Steller                              Coella Delley Wells
Lynore Chambers Richard                 Address Redacted                          1707 Kraft Street
583 Mitcham Orchard Rd                                                            Dallas, TX 75212
Ruston, LA 71270




Cog Epco 1992 Ltd Partnership           Cog Operating LLC                         Cog Well Service Company Inc
700 Central Expressway South            600 West Illinois Avenue                  PO Box 790
Ste 360                                 Midland, TX 79701                         Green River, WY 82935
Allen, TX 75013




Cogburn Dow Friedman Dow                Cogburn Pipe Supply Inc                   Cogent Communications Inc
Texas Comptroller Public Acct           PO Box 707                                2450 N St Nw Ste 400
Unclaimed Property Division             Tatum, NM 88267-0707                      Washington, DC 20037-1167
PO Box 12019
Austin, TX 78711-2019
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Cogent Communications Inc              Cogent Communications Inc           Coghlan Crowson Llp
2450 N Street NW                       PO Box 791087                       1127 Judson Road Suite 211
Washington, DC 20037                   Baltimore, MD 21279-1087            Longview, TX 75606




Coghlan Crowson LLP                    Cohen R Otwell                      Cohort Energy Company
PO Box 2665                            Dynamometer Liquid Levels           PO Box 226406
Longview, TX 75606                     157 Smith Loop                      Dallas, TX 75222
                                       Sarepta, LA 71071




Cohort Energy Company                  Cohron Davis Jr                     Coil Chem LLC
PO Box 975145                          4995 Maddox                         Bay View Funding
Dallas, TX 75270                       Beaumont, TX 77705                  PO Box 881774
                                                                           San Francisco, CA 94188-1774




Coil Tubing Partners LLC               Coil Tubing Services LLC            Coil Tubing Solutions LLC
Seb Patout                             PO Box 201166                       PO Box 80791
PO Box 80791                           Dallas, TX 75320-1166               Lafayette, LA 70598
Lafayette, LA 70598




Coke County Tax Office                 Coker Capital Partners LLC          Cokinos Oil Company
Josie Dean Tax                         Attn Kay Reiboldt                   5718 Westheimer Suite 900
13 East 7Th Street                     2400 Lakeview Parkway Ste 400       Houston, TX 77057
Robert Lee, TX 76945                   Alpharetta, GA 30009




Colaro Corporation                     Colbert Flournoy LLC                Colbert Lands LLC
5001 Spg Valley Rd Ste 800 E           Heard Mcelroy Vestal                PO Box 4422
Dallas, TX 75244                       PO Box 1607                         Centenary Stateion
                                       Shreveport, LA 75206                Shreveport, LA 71134-4422




Colbert Timber Lands LLC               Colburn H Moncrief Jr               Colby Crain
19420 Santa Fe Trail                   336 Waterside Street                3719 Meadow Wood Ct
Leavenworth, KS 66048                  Port Charlotte, FL 33954            Sachse, TX 75048




Colby Michael Smith Trust              Colby Michael Smith Trust           Colby Rives Parks
Southside Bk Ttee Uwo Bb Giles         Southside Bk Ttee Uwo Cc Giles      6001 Maximilian Drive
Dtd 7 11 85 Farmers Natl Co Agent      Dtd 5 29 91 Farmers Natl Co Agent   Anchorage, AK 99507
PO Box 3480 OG Dept                    PO Box 3480 OG Dept
Omaha, NE 68103                        Omaha, NE 68103



Colcharles C Andrews                   Colco LLC                           Cold Harbor Properties LLC
7014 Bee Ridge Road                    PO Box 3543                         PO Box 662
Sarasota, FL 34241                     Seattle, WA 98124                   Katy, TX 77492




Cole Boyce                             Cole Dwain Griffith                 Cole Enterprises
149 E Kincaid Ranch Rd                 464 Cr 118                          14 Rosedale Brook Ct
Artesia, NM 88210-9122                 Carthage, TX 75633                  The Woodlands, TX 77381
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Cole Enterprises                          Cole Family Interests LLC          Cole Juanita Faye
dba Cole International Tubular Service    PO Box 1557                        Jon Hannum Trustee
Sam Cole                                  Lampasas, TX 76550-0013            8140 Greenslope Dr
14 Rosedale Brook Ct                                                         Austin, TX 78759-8733
The Woodlands, TX 77381



Cole Parmer Instrument Company            Cole W Boyce Vicky Hall            Coleman Burns
13927 Collection Center Dr                149 E Kincaid Ranch Rd             c/o Texas State Treasury
Chicago, IL 60693                         Artesia, NM 88210-9122             Unclaimed Property Division
                                                                             PO Box 12019
                                                                             Austin, TX 78711-2019



Coleman County Electric Cooperative Inc   Coleman County State Bank          Coleman Crawford
PO Box 860                                118 W Pecan St 101                 916 S Trenton St
3300 N Hwy 84                             Coleman, TX 76834                  Ruston, LA 71270
Coleman, TX 76834




Coleman Culbertson                        Coleman D Green                    Coleman Family Living Trust
4324 Long Meadow Drive                    140 Lake Mannsdale Drive           Gerald C Coleman Co Trustee
Fort Worth, TX 76133                      Madison, MS 39110                  30531 Paseo Del Valle
                                                                             Laguna Niguel, CA 92677




Coleman Lee Bennett                       Coleman Rhonda                     Colette H Johnston
216 Hidden Hills Dr                       1206 Parrot Trail                  Minerals Llc
Greenville, SC 29605-3266                 Round Rock, TX 78681               Farmers National Company Agent
                                                                             5147 S Harward Ave Suite 110
                                                                             Tulsa, OK 74135-3587



Colette H Johnstone Minerals LLC          Colette H Johnstone Minerals LLC   Colfax Banking Company
Farmers National Co Agent                 Farmers National Co Agent          625 Eighth Street
5147 S Harvard Avenue Ste 110             5110 S Yale Suite 400              Colfax, LA 71417
Tulsa, OK 74101                           Tulsa, OK 74135




Colin And Mary Greany Tr                  Colin Greany                       Colin Holomon
Dtd February 1 2008                       905 N Front St                     Address Redacted
Mary Greany Ttee                          Marquette, MI 49855
905 N Front St
Marquette, MI 49855



Colin Nelson Ross                         Colinda G Stailey                  Colleen D Rech
5619 Durham Dr                            277 Briarbend Blvd                 15606 Ray Dr
New Orleans, LA 70131                     Powell, OH 43065                   Larkspur, CO 80118




Colleen Darnall                           Colleen Kirkpatrick Dammert        Colleen Klein Gilden
6752 S Clayton Way                        6023 Hoover Street                 Individual Retirement Account
Littleton, CO 80122                       Houston, TX 77092                  Rbc Capital Markets Llc Cust
                                                                             34 Canvasback Circle
                                                                             Bridgeville, DE 19933-2428



Colleen Krouse                            Colleen Major Kendzicky            Collegiate Peaks Bank
3169 Racine Drive                         17485 Farmington Square Road       105 Centennial Plaza
Riverside, CA 92503                       Granger, IN 46530                  Buena Vista, CO 81211
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Collette Colquit                          Collette Nadine Shrader            Collette Talton
4438 Shamrock Dr                          1433 East Hill Terrace             100 Ventura Drive
Frisco, TX 75034                          Wenatchee, WA 98802                West Monroe, LA 71292




Collie Lowry                              Collier A Smith                    Collier Marital Trust Alice H
c/o Texas State Treasury                  2223 Shannon Dr                    Alice Collier Robert Collier
Unclaimed Property Division               Murfreesboro, TN 37129-1630        John Collier Trustees
PO Box 12019                                                                 1912 Centenary
Austin, TX 78711-2019                                                        Longview, TX 75601



Collin Dale Wick De Ette Tobias Wick      Collin Grigg Perritt               Collins Huey O
338 Jill Loop                             458 Carnation Rd                   Address Redacted
Ruston, LA 71270                          Arcadia, LA 71001




Collins Backhoe Water Service             Collins Partners Ltd               Collins Roustabout Well Service Inc
PO Box 511                                5000 Burnett Rd                    PO Box 284
Kemmerer, WY 83101                        Austin, TX 78756                   Winters, TX 79567




Collins Wohner                            Collinwood Properties Ltd          Collis T Vyonne M Crutcher
PO Box 56                                 3945 Stonehenge Road               200 Birdwell
Canton, MS 39046                          Fort Worth, TX 71170               Waskom, TX 75692




Colonial                                  Colonial First State               Color Broadband Inc
2745 S Delsea Drive                       11 Harbour Street                  10601 Calle Lee Suite 179
Vineland, NJ 08360                        Sydney NSW 2000                    Los Alamitos, CA 90720
                                          Australia




Colorado Board Of Land Commissioners      Colorado Boring Co                 Colorado Dept Of Revenue
1127 Sherman Street                       812 Queens Ct                      1375 Sherman St
Suite 300                                 Fort Collins, CO 80525             Denver, CO 80261-0004
Denver, CO 80203




Colorado Dept Of Treasury                 Colorado Division Of Reclamation   Colorado Interstate Gas Co LLC
Unclaimed Property Division               Mining And Safety                  PO Box 204203
1580 Logan St Ste 500                     1313 Sherman Street Room 215       Dallas, TX 75320-4203
Denver, CO 80203                          Denver, CO 80203




Colorado Oil And Gas                      Colorado Oil Gas Association       Colorado Seals Inc
Conservation Commission                   PO Box 540                         7285 S Revere Parkway
Attn Hearings Assistant                   Denver, CO 80201                   701
1120 Lincoln St Ste 801                                                      Centenial, CO 80112
Denver, CO 80203



Colorado State Bank Trust Na              Colorado State Land Board          Columbia Gulf Transmission LLC
1600 Broadway                             1127 Sherman St Ste 300            200 Civic Center Drive
Denver, CO 80202                          Denver, CO 80203                   Columbus, OH 43215
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Columbia Properties I                   Columbia Royalty Company        Columbia Smith Dubose
Mary A Davidson Administrator           401 Edwards Street 1805         2151 Green Oaks Rd Apt 2209
11015 Helens Way                        Shreveport, LA 71101            Fort Worth, TX 76116-1738
Shreveport, LA 71106




Columbian Securities Corp Of Texas      Columbine I Limited Prtnrship   Columbine Logging Inc
14546 Brook Hollow 272                  PO Box 22066                    602 S Lipan Street
San Antonio, TX 78232                   Denver, CO 80222                Denver, CO 80223




Columbine Logging Inc                   Columbus Ave Church Of Christ   Columbus Clayton Pickett Jr
9844 Titan Ct Unit 6                    307 N 16Th St                   Anita Paige Reed Pickett
Littleton, CO 80125                     Waco, TX 76633                  327 South Rose Street
                                                                        Simsboro, LA 71275




Columbus Energy LLC                     Columbus Energy LLC             Columbus Johnson
500 Dallas Street Suite 1600            500 Dallas Street Suite 1800    2108 Oak Street
Houston, TX 77002                       Houston, TX 77002               Monroe, LA 71201




Colvin Kent Everett Et Ux               Colvin Mineral Co               Colwell Mary Estelle Grigsby
Letsy Risinger Everett                  5627 Del Monte                  212 North Glover
701 Terral Island Rd                    Houston, TX 77056               Longview, TX 75601
Farmerville, LA 71241




Colwell Vida Myrle                      Com Tech                        Comadora M Ferguson Estate
c/o Jerry Colwell Poa                   3829 Lexington                  Louise T Ferguson
3860 South Hills Circle                 Tyler, TX 75701                 Personal Representative
Fort Worth, TX 76109                                                    PO Box 94
                                                                        High Rolls M P, NM 88325



Comadora M Ferguson Jr                  Combined Enterprises Corp       Come Big Or Stay Home LLC
24250 Hwy 7                             3401 38Th Street Nw Apt 506     9701 N Broadway
Richland, MO 65556                      Washington, DC 20016-3041       Oklahoma City, OK 73114




Comella Investments LLC                 Comerica Bank                   Comerica Bank
PO Box 1392                             1717 Mains Street 4Th Floor     Attn Hedge Settlements
Shreveport, LA 71164-1392               Comerica Bank                   3551 Hamlin Rd 2nd Floor
                                        Dallas, TX 75201                Auburn Hills, MI 48326




Comerica Bank Center                    Comerica Commercial Card Srvc   Comex Carthage LLC
Attn Corporate Finance Mc 3289          Dept 166901                     William M Comegys Iii Manager
411 W Lafayette St                      PO Box 55000                    333 Texas Street Suite 825
7Th Floor                               Detroit, MI 48255-1669          Shreveport, LA 71101
Detroit, MI 48226



Command Energy LLC                      Commander Consulting LLC        Commerce Bank Commercial Cards
18911 W Industrial Pkwy                 24533 Slice Road                PO Box 808009
New Caney, TX 77357-3504                Gladewater, TX 75647            Kansas City, MO 64180-8009
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Commercial Construction Company Inc       Commercial Radio Systems                  Commercial Service Of Perry Inc
PO Box 2794                               5023 Princeton                            PO Box 501
Laurel, MS 39442                          Suite 17                                  Perry, IA 50220
                                          Midland, TX 79703




Commission For The Blind                  Commission On Environmental Quality       Commission On Environmental Quality
4800 N Lamar Blvd                         Region 6                                  Region 6
Austin, TX 78756                          PO Box 13087                              Contact Name Building Letter
                                          Austin, TX 78711-3087                     12100 Park 35 Circle
                                                                                    Austin, TX 78753



Commissioner Of General                   Commissioner Of The General Land Office   Common Disposal
Land Office                               PO Box 12967                              PO Box 1871
1700 N Congress                           Austin, TX 78711                          Center, TX 75935
Suite 840
Austin, TX 78701



Commonwealth Equity Services              Commonwealth Of MA                        Commonwealth Of MA
29 Sawyer Road                            Dept Of The State Treasurer               Dept Of The State Treasurer
Waltham, MA 02453-3483                    Abandoned Property Division               Abandoned Property Division
                                          One Ashburton Place 12Th Flr              PO Box 414478
                                          Boston, MA 02108-1608                     Boston, MA 02241-4478



Commonwealth Of Massachusetts             Commonwealth Of Pennsylvania              Commonwealth Of Pennsylvania
Treasury Abandoned Property               Unclaimed Prop                            Unclaimed Prop
Vpi Acquisition                           PO Box 8500 53473                         Lock Box 53473
PO Box 414478                             Philadelphia, PA 19178-3473               101 N Independence Mall East
Boston, MA 02108                                                                    Philadelphia, PA 19106



Commonwealth Of VA Dept Of The Treasury   Commonwealth Of Virginia                  Commtel LLC
Division Of Unclaimed Property            Dept Of The Treasury                      Gary L Honeycutt Manager
PO Box 2478                               Division Of Unclaimed Property            1125 Piine Island Rd
Richmond, VA 23218-2478                   101 N 14Th St 3Rd Flr                     Shreveport, LA 71107
                                          Richmond, VA 23219



Community Bank                            Community Bank Of Louisiana               Community Bank Of Texas
460 Sierra Madre Villa                    4008 Benton Rd                            5999 Delaware Street
Pasadena, CA 91107                        Bossier City, LA 71111                    Beaumont, TX 77706




Community Coffee Co LLC                   Community Financial C U                   Community First Bank
PO Box 60141                              1220 East Walnut Lawn                     444 Main st
New Orleans, LA 70160                     Springfield, MO 65804                     Reynoldsville, PA 15851




Community First Credit Union              Community Foundation Of North Louisiana   Community Hospital Of Kane Pa
37 Lee St                                 C/O Argent Property Services              4372 US 6
Jacksonville, FL 32204                    PO Box 1410                               Kane, PA 16735
                                          Ruston, LA 71273




Community National Bank                   Community National Bank Trust Trustee     Community Resource C U
4811 U S Route 5                          J Thomas Eady Charitable Trust            2900 Decker Dr
Derby, VT 05829                           PO Box 624                                Baytown, TX 77520
                                          Corsicana, TX 75151
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Community Trust Bank                     Commvault                          Comonica Butler
346 North Mayo Trail                     Rodney Sevier                      128 Country Rd
Pikeville, KY 41501                      1 Commvault Way                    Ruston, LA 71270
                                         Tinton Falls, NJ 07724




Comoses D Davis                          Compact Pumping Coil Specialists   Compass Bank
2308 Lilly Street                        2801 Se Evangeline Thruway         PO Box 10566
Longview, TX 75602                       Lafayette, LA 70508                Mail Code Al/Bi/Ch/Act
                                                                            Birmingham, AL 35296




Compass Energy Operating LLC             Compass Fracturing Svcs LLC        Compatible Components Corporation
PO Box 732074                            PO Box 678563                      1234 North Post Oak Rd
Dallas, TX 75373-2074                    Dallas, TX 75267-8563              Ste 100
                                                                            Houston, TX 77055




Complete Automated Technology Systems    Complete Aws Aws                   Complete Business Systems
11700 Katy Frwy Suite 300                10962 Us Route 422                 PO Box 3547
Houston, TX 77079                        Shelocta, PA 15774                 Longview, TX 75606




Complete Fishing Rental Tools            Complete Packer Sales Srvc         Complete Pipe Services
1134 E Hwy 80                            2133 Braune Rd                     PO Box 1753
Abilene, TX 79601                        Abilene, TX 79606-6913             Kilgore, TX 75663




Complete Vaccum Rentals LLP              Completion Snubbing Services       Complex Community Fcu
PO Box 630                               11700 Katy Frwy Suite 300          4900 E 52nd Street
Carthage, TX 75633                       Houston, TX 77079                  Odessa, TX 79762




Complex Pts LLC                          Compliance Services Inc            Compliance Unlimited Inc
541 10th St NW 211                       PO Box 22410                       PO Box 2002
Atlanta, GA 30318                        Bakersfield, CA 93390-2410         Kilgore, TX 75662




Composite Lining Systems Lp              Composite Lining Systems Lp        Compressco Field Services Inc
Rick Keena                               7812 West Hwy 80                   1313 Se 25Th Street
PO Box 50423                             PO Box 50423                       Oklahoma City, OK 73129
Midland, TX 79710                        Midland, TX 79710




Compressco Partners Sub Inc              Compression Leasing Svc Inc        Compressor Designs Inc
PO Box 843960                            PO Box 1629                        PO Box 60007
Dallas, TX 75284-3960                    Casper, WY 82602                   Midland, TX 79711




Compressor Equipment                     Compressor Systems Inc             Compton Family Investment Tr
PO Box 46                                PO Box 841807                      Kathryn Marie Shaw Trustee
Gardendale, TX 79758                     Dallas, TX 75284-1807              3502 Cliff View Loop
                                                                            Weatherford, TX 76087
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Comptons Oilfield Service LLC          Comptroller Of Maryland             Comptroller Of Maryland
454 35 Road                            Unclaimed Property Unit             Unclaimed Property Unit
Palisade, CO 81526                     PO Box 17161                        301 W Preston St Rm 310
                                       Baltimore, MD 21297-1161            Baltimore, MD 21201-2385




Comptroller Of Public Accounts         Comptroller Of Public Accounts      Compuforms Data Products Inc
PO Box 149348                          PO Box 149348                       PO Box 101536
Austin, TX 78714-9348                  Austin, TX 787149348                Fort Worth, TX 76185-1536




Compuforms Data Products Inc           Computer Integration Svcs Corp      Comrent West Inc
PO Box 200485                          6236 Rock Ledge Lane                250 Clark Ave
Arlington, TX 76006                    Morrison, CO 80465                  Pomona, CA 91767-5723




Comstock Oil And Gas Inc               Comstock Oil Gas Louisiana LLC      Comstock Oil Gas Lp
5300 Town Country Blvd 500             5300 Town Country Blvd              5300 Town Country Boulevard
Frisco, TX 75034                       Suite 500                           Suite 500
                                       Frisco, TX 75034                    Frisco, TX 75034




Comstock Resources Inc                 Con A Cherry                        Concentric Pipe Tool Rentals
5300 Town Country Blvd                 PO Box 2411                         3529 Taxi Road Airport Industrial Park
Suite 500                              Boerne, TX 78006                    Houma, LA 70363
Frisco, TX 75034




Concho Educators Fed Cu                Concho Royalty Company Lp           Concho Services LLC
3215 W 306 Loop                        500 One Energy Square Ste 500       PO Box 517
San Angelo, TX 76904                   4925 Greenville Avenue              Eden, TX 76837-0517
                                       Dallas, TX 75206




Concord Investments                    Concord Oil Company                 Concord Royalties LLC
3838 Oak Lawn Suite 1216               100 West Houston Street             A Wholly Owned Subsidiary Of
Dallas, TX 75219                       Suite 1500                          Noble Royalties Inc
                                       San Antonio, TX 78205               PO Box 660082
                                                                           Dallas, TX 75266



Condenser And Chiller Services         Conestoga Production Services LLC   Conexus LLC
13488 Fifth Street                     Sheila Hudgens                      PO Box 268984
Chino, CA 91710                        2905 Cr 205 N                       Oklahoma City, OK 73126
                                       Henderon, TX 75652




Congr Of The Servants Of               Congregation Shalom Ba Olam         Conley Resources LLC
The Sac Heart Of Jesus The Poor        1415 Bellevue                       PO Box 100
3310 S Zapata Hwy                      West Vancouver, BC V7T 2P9          Larkspur, CO 80118
Laredo, TX 78043                       Canada




Conley Rose Pc                         Connaghan Ltd                       Connection Inspection Svcs LLC
5601 Granite Parkway Suite 500         PO Box 566                          PO Box 1201
Plano, TX 75024-6608                   Cheyenne, WY 82003                  Hobbs, NM 88240
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Connection Technology LLC                Connell Billy Don              Conner D C Galloway A Minor
1105 Peters Road                         2408 Perryland                 1704 Elmhurst Avenue
Harvey, LA 70058                         Arlington, TX 76013-4842       Oklahoma City, OK 731201012




Conner Winters Attorneys                 Connie A Domangue              Connie A Watts
And Counselors At Law                    2411 Fondren Rd Apt 1435       PO Box 277
4000 One Williams Center                 Houston, TX 77063-2345         Ruston, LA 71273
Tulsa, OK 74172-0148




Connie Armstrong Watts                   Connie Armstrong Watts         Connie B Smith 2004 Trust
Family Limited Partnership               PO Box 277                     4905 Burning Tree Drive
PO Box 277                               Ruston, LA 71273-0277          Baytown, TX 77245
Ruston, LA 71273-0277




Connie Burns                             Connie C Easley                Connie Candler
2670 Farm Market 10                      409 Fm 1970                    1013 N Arey St
Carthage, TX 75633                       Carthage, TX 75633             Tallulah, LA 71282




Connie Clark Bilby                       Connie Clark Lee               Connie D Cole Et Ux
PO Box 1063                              1026 Chaney Street             Annie Ruth Cole And Connie D Cole Poa
Bridgeport, TX 76426                     Alexandria, LA 71301           163 South Pine Tree Rd
                                                                        Grambling, LA 71245




Connie D Hagen Inc                       Connie Dickerson               Connie Doyle
Dba Drug And Alcohol                     48 Sugar Creek Drive           364 Edminston Rd
Testing Compliance Services              Carthage, TX 75633-9448        Ruston, LA 71270
450 E Loop 281 Suite C 2
Longview, TX 75605



Connie E Smith                           Connie Ellington Williams      Connie Evans Jordan
713 Orleans Ct                           PO Box 150                     18343 Weatherwood Dr
Conroe, TX 77302                         Shelbyville, TX 75973-0150     Baton Rouge, LA 70817-3924




Connie F Erwin                           Connie Gill                    Connie Henley Woodard
3905 Highway 544                         108 White Cedar                2160 3Rd St
Simsboro, LA 71275                       Houston, TX 77015              Arcadia, LA 71001




Connie Jane Morris Brazzel               Connie Jean Goldston Trust     Connie King Whitney
1178 Mitchell Road                       Connie Jean Goldston Trustee   593 Horse Ferry Rd
Simsboro, LA 71275                       5911 Camino Seco               Lawrenceville, GA 30044
                                         Austin, TX 78731




Connie L Bohuslav                        Connie L Fontana Roy           Connie L Harris
2709 Yandall Drive                       6500 Cypress Street            4676 Citrus Way
Austin, TX 78748                         West Monroe, LA 71291          Tracy, CA 95377
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Connie Lee Davis                         Connie Lee Martinak            Connie Lou G Beagan
890 V Z Cr 4821                          1700 Mustand Drive 1505        1870 Redding Road
Chandler, TX 75758                       Marble Falls, TX 78654         Fairfield, CT 06824




Connie Lynette Harriss                   Connie Lynn Mckinnon           Connie Marie Reel Wilson
5547 South Lakeshore                     235 W 18Th St Apt 4Fw          1410 Walter
Shreveport, LA 71119                     New York, NY 10011-4512        Longview, TX 75605




Connie Mcgee                             Connie R Kerrick               Connie Sue Deavers
280 Connie Lynne Dr                      106 Tanner St                  3103 Peach Tree Lane
Monroe, LA 71203                         Bloomington, IL 61701          Missouri City, TX 77459




Connie Sue Jones                         Connie Sue Parnell             Connie Sue Phillips Williams
6498 Verde Street                        PO Box 325                     200 Private Road 3817
Groves, TX 77619                         Kilgore, TX 75663              Hallsville, TX 75650-4226




Connie Temple Watson                     Connie Thornhill Reid          Connie Wade County Clerk
9 Wayside Road                           1630 Mccullin Road             Gregg County Courthouse
Cartersville, GA 30120                   Dubach, LA 71235               101 E Methvin Suite 200
                                                                        Longview, TX 75601




Connie Weaver                            Connie Wells                   Connor D Mcdermott Irrevocable Trust
1110 Fern Lane                           PO Box 634                     Robert L Mcdermott Trustee
Katy, TX 77493                           El Dorado, TX 769360634        2805 Apple Valley Drive
                                                                        Garland, TX 75043-1222




Conoco Inc                               Conoco Phillips Company        Conocophillips Company
22295 Network Place                      Attn Bill Mcneil Hv 3008A      21873 Network Place
Chicago, IL 60673-1222                   600 N Diary Ashford            Chicago, IL 60673-1218
                                         Houston, TX 77079




Conocophillips Company                   Conocophillips Company         Conocophillips Company
25910 Network Place                      Attn Monte Gartner             Outside Operated Accounting
Chicago, IL 60673-1293                   315 S Johnstone                1080 Plaza Office Building
                                         Bartlesville, OK 74004         Bartlesville, OK 74004




Conocophillips Company                   Conocophillips Credit Union    Conquest Completion Svcs LLC
PO Box 2197                              PO Box 1358                    4803 Benton Road
Houston, TX 77252-2197                   Bartlesville, OK 74005-1358    Bossier City, LA 71111




Conquistador Petroleum LLC               Conrad Bering Jr               Conrad J Allison
PO Box 1684                              6003 Stones Throw Road         1280 Us Highway 79 South
Midland, TX 79702                        Houston, TX 77057              Carthage, TX 75633
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Conrad Petersen                         Conservation Seeding Restoration Inc       Consolidated Crescent LLC
60 Liberty St                           PO Box 800                                 c/o Glenn W Klug Iii
Clinton, CT 06413                       Kimberly, ID 83341                         193 Bella Lane Pvt
                                                                                   Ruston, LA 71270




Consolidated Fabricators Corp           Constance A Dionisio                       Constance B Cartwright River House
14620 Arminta St                        2184 W Hyacinth Rd                         435 E 52nd St
Van Nuys, CA 91402                      Highlands Ranch, CO 80129                  New York, NY 10022




Constance B Young                       Constance Carolyn Beck                     Constance Corwin
4455 Camp Bowie Blvd                    6548 43Rd St Apt 3106                      10430 Wilshire Blvd 2003
Suite 114 Lb 34                         Lubbock, TX 79407                          Los Angeles, CA 90024
Ft Worth, TX 76107




Constance H Harrison                    Constance Kirkham Vines                    Constance Krog Beck
2500 E Simcoe St 67                     378 Four Brooks Rd                         6548 43Rd St Apt 3106
Lafayette, LA 70501                     Winston-Salem, NC 27107-9656               Lubbock, TX 79407-1961




Constance Louise Keidel Mayes           Constance M Plunkett                       Constance Moore Blackston
110 Poplar Ridge Cove                   425 Comstock Place                         100 Dekruff Place Apt 11 C
Georgetown, TX 78628                    Seattle, WA 981093318                      Bronx, NY 10475




Constance R Monette                     Constance T Sample Exempt Lifetime Trust   Constance Thompson Sample Family Trust
8972 East Starwood Lane Lot 8           Constance Thompson Sample Ttee             Constance Thompson Sample Ttee
Greenwood, LA 71033-3382                201 Vanderpool 145                         201 Vanderpool 145
                                        Houston, TX 77024                          Houston, TX 77024




Constellation Petroleum Partners L P    Construction Safety Products               Consulting Group Advisory Services
5644 Westheimer No 750                  359 Mt Zion Road                           2000 Westchester Avenue
Houston, TX 770564002                   Shreveport, LA 71106-6565                  Purchase, NY 10577-6477




Consvtrshp Of Travis Mcinnis            Container Bargains                         Continental Amer 1980 A Ltd
217 Bodine Dr                           217 E Anapamu                              Drilling Program
Evanston, WY 82930                      Santa Barbara, CA 93101                    44 Chase Ln
                                                                                   Medusa, NY 12120




Continental Amer 1980 B Ltd             Continental American 1981 B Ltd            Continental Drilling Service Inc
Village Green                           Drilling Program                           PO Box 876
PO Box 618                              44 Chase Ln                                Shreveport, LA 711620876
Bedford, NY 10506                       Medusa, NY 12120




Continental Emsco                       Continental Energy 1982 Inv                Continental Hodge Woodlands In
13111 Northwest Freeway                 815 E Mason St 1501                        1111 Fannin Ste 1700
Houston, TX 77040-6318                  PO Box 2143                                Houtson, TX 77002
                                        Milwaukee, WI 53201
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Continental Hydraulics Equipment Inc     Continental Industries           Continental Insurance Co
PO Box 1501                              PO Box 656                       Jolene Finke
Salina, KS 67402-1501                    Casper, WY 82602                 333 South Wabash Ave
                                                                          Chicago, IL 60604




Continental Laboratories Inc             Continental Laboratories Inc     Continental Operating Company
Patrick Remmers                          PO Box 301172                    9805 Katy Fwy Ste 500
6600 Fairbank N Houston Rd               Dallas, TX 75303-1172            Houston, TX 77024-1271
Houston, TX 77040




Continental Production Services Inc      Continental Production Svs Inc   Continental Wire Cloth LLC
5124 Polk St                             5124 Polk St                     11240 S James Ave
Houston, TX 77023-1420                   Houston, TX 77023                Jenks, OK 74037




Contract Surveyors Ltd                   Contractors Building Supply Co   Contractors Finance Co Inc
2133 S Bellaire St Ste 14                PO Box 9694                      Sam B Adams Exec Vp
Denver, CO 80222                         Corpus Christi, TX 784699694     PO Box 4948
                                                                          Monroe, LA 71201




Control Equipment Company                Controller State Of California   Convey Compliance Systems LLC
PO Box 65726                             Unclaimed Property Collection    PO Box 347977
Salt Lake City, UT 84115                 Vpi Acquisition                  Pittsburgh, PA 15251-4977
                                         PO Box 942850
                                         Sacramento, CA 94250



Conwallace Allen Sep Prop                Conway Harris                    Cook And Clader Construction LLC
3177 Dance Lane 33                       PO Box 6048                      PO Box 552
Arcadia, LA 71001                        Shreveport, LA 71136             New London, TX 75682




Cook Baptist Churt Of Ruston Louisiana   Cook Cemetary                    Cook Compression
2000 Cooktown Rd                         200 Glover Rd                    22372 Network Place
Ruston, LA 71270                         Ruston, LA 71270                 Chicago, IL 60673-1223




Cook Jay Brenda Cook                     Cook Pumping Services LLC        Cook Yancey King Galloway
PO Box 2643                              140 Leila Road                   PO Box 22260
Longview, TX 77074                       Plain Dealing, LA 71064          Shreveport, LA 71120-2260




Cooke Slickline LLC                      Cooling Tower Services Inc       Coombes Trucking Inc
3209 W Alabama                           10441 Hollyhock Ct               PO Box 2591
Houston, TX 77098                        Littleton, CO 80129              Hobbs, NM 88241-2591




Cooper Supply Inc Fw                     Cooperative Teachers C U         Coordinated Equipment Co
2524 Minnis Drive                        1424 W SW Loop 323               1707 East Anaheim St
Haltom City, TX 76117                    Tyler, TX 75701                  Wilmington, CA 90744
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Coordinated Moving Systems Inc          Coordinated Wire Rope And Rigging Inc   Coordinated Wire Rope Of Ventu
550 Westcott St                         1707 E Anaheim St                       1707 E Anaheim St
Ste 390                                 Wilmington, CA 90744                    Wilmington, CA 90744
Houston, TX 77007




Copano Energy LLC                       Copas Colorado                          Copperhead Well Services LLC
1001 Louisiana St Suite 1000            PO Box 44128                            501 Broadway St Ste A
Houston, TX 77002                       Denver, CO 80201-4128                   San Marcos, TX 78666-7770




Cora Belle N Williams                   Cora Fayenette Lewis                    Cora Hall Nutt Wilburn
4621 Market St                          320 Oaklawn Drive                       227 Cr 3795
Houston, TX 77020                       West Monroe, LA 71291                   Joaquin, TX 75954




Cora Lee Stringer                       Cora Lue Taylor Strickland              Cora Lynn Meyer
303 Harrison St                         902 Fleetwood Dr                        196 F R Lewis Road
Jonesboro, LA 71251                     Baytown, TX 77520                       Nacogdoches, TX 75964




Cora Mae Hooper                         Cora Rankins Bissic                     Cora Simpson Hurt
PO Box 5                                848 Highway 3061                        427 Savannah Trce
Joaquin, TX 75954                       Ruston, LA 71270                        Ruston, LA 71270-7088




Cora Todd                               Cora Younger Hamilton                   Coral Elizabeth Rankin Est
C/O Trust Division                      2719 West 134 Street                    Elizabeth Rankin Williams Exec
PO Box 2749                             Los Angeles, CA 90059                   PO Box 452
Longview, TX 75606                                                              Rankin, TX 79778-0452




Coral Production Corp                   Corazon Energy Inc                      Corbin D Tubbs
1600 Stout Street                       9372 Creekwood Drive                    Address Redacted
Suite 1500                              Eden Prairie, MN 55347
Denver, CO 80202




Corburt Lee Chisley                     Corda Corporation                       Cordelia Anne Daas Revocable Trust
110 Elsinore Dr                         400 North St Paul St Ste 1000           Joseph H Daas Trustee
West Monroe, LA 71292                   Dallas, TX 75201                        c/o Harvell And Collins Pa
                                                                                1107 Bridges Street
                                                                                Morehead City, NC 28577



Cordelia E Frieze                       Cordelia Smith Daas                     Cordell David O
12500 Merit Drive                       103 Riverside Dr                        2300 Riverside Dr Unit 14 H
Apartment 1113                          Havelock, NC 28532                      Tulsa, OK 74114-2404
Dallas, TX 75251




Core Laboratories LP                    Core Laboratories LP                    Core Process Compression
6510 W Sam Houston Parkway North        Protechnics Division                    500 Dover Blvd Ste 334
Houston, TX 77041                       PO Box 841787                           Lafayette, LA 70503-5000
                                        Dallas, TX 75284-1787
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Core Tech Wireline Services Of Texas   Core Tech Wireline Services Of Texas LLC   Corefirst Bank Trust
PO Box 3307                            Chad Holt                                  3035 South Topeka Ave
Lafayette, LA 70502                    PO Box 336578                              Topeka, KS 66611
                                       Greeley, CO 80633




Corelab Petroleum Services             Corene Camp                                Corene L Wiederkehr Paton
6306 Windfern Road                     1816 Mini Dr                               PO Box 1436
Houston, TX 77040                      Vallejo, CA 94589                          Freer, TX 78357




Corene Walt Pyles Sep Prop             Corexcal Inc                               Corey Dale Aldy
211 Bell Road                          2nd Flr 615 3 Ave SW                       Address Redacted
Cotton Valley, LA 71018                Calgary, AB T2P 0G6
                                       Canada




Corey Joslin                           Corey Stephen Dozier                       Corey White
1875 N Page Road                       1407 Sue Barnett Drive                     138 Telstar
Longview, TX 75605                     Houston, TX 77018                          Irvine, CA 92618




Corie C Baisden                        Corinda C Moeller                          Corine C Odom
108 Private Road 803                   5401 Highway 621                           5531 Old Highway 135 N
Carthage, TX 75633                     San Marcos, TX 78666                       Kilgore, TX 75662




Corine Rainbolt Kindred                Corinne C Young                            Corinne Gayle Scott Storey
Box 143                                5871 Harbour View Blvd Ste A307            26 Timberlea Place
Fairfield, TX 75840                    Suffolk, VA 23435-3677                     The Woodlands, TX 77382




Corinne J Mouhot                       Corinne Kelly Calder Rev Trust             Corinne Kelly Calder Revocable Trust
31906 Wildewood Park Lane              Corinne Calder Lewis Trustee               4237 Southwestern Blvd
Conroe, TX 77385                       4237 Southwestern Blvd                     Dallas, TX 75225
                                       Dallas, TX 75225




Corinne Kelly Calder Trust             Corinne Mignon Smith                       Corinne Minnix
Corinne Calder Lewis Trustee           10111 Hillmont Dr                          PO Box 2012
7239 Mimosa Ln                         Baton Rouge, LA 70810                      96 Grove St
Dallas, TX 75230                                                                  North Conway, NH 03860




Corinne Schroeder Walsh                Corley Freightliner                        Corley Management Co LLC
9001 Rushing River Way                 1818 S Chadbourne                          PO Box 65
0                                      San Angelo, TX 76903                       Smackover, AR 71762
Niceville, FL 32578




Cornelia Garrett                       Cornelia Jo Grayson Arce                   Cornelious Hill
560 Rcr 3417                           165 North Old Orchard Ln                   15113 University Ave
Emory, TX 75606                        Apt 813                                    Dolton, IL 60149
                                       Lewisville, TX 75067
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Cornelius Asbury Mayfield Iii           Cornelius Martin                     Cornell Solutions LLC
629 Fayette Dr North                    Rr1 Box 116                          c/o Vantage Bank Texas
Safety Harbor, FL 34695                 Francisco, IN 47649                  901 S 10Th St Bldg 400
                                                                             Mcallen, TX 78501




Cornell Trowbridge Stewart              Cornell University                   Corner Fain Oil Tr
3133 Jane Lane                          c/o Real Estate Dept                 Joe D Bullock Succ Ttee
Fort Worth, TX 76117                    PO Box 6779                          1200 Summit Ave
                                        Ithaca, NY 14850                     Fort Worth, TX 76102




Cornerstone Advisors Inc                Cornerstone Baptist Church           Cornerstone Controls Inc
7272 E Indian School Rd 400             Of Cotton Valley La                  8525 Northwest Blvd
Scottsdale, AZ 85251                    PO Box 746                           Indianapolis, IN 46278
                                        Cotton Valley, LA 71018




Cornerstone Funding LLC                 Cornerstone Pumps And Service LLC    Cornerstone Pumps And Service LLC
Fbo Omma Trucking                       1346 E Sabine                        3413 Allen Avenue
PO Box 53367                            Carthage, TX 75633                   Tyler, TX 75701
Midland, TX 79710




Cornerstone Pumps And Service LLC       Cornerstone Pumps And Service LLC    Cornerstone Pumps And Service LLC
4333 S Treadaway                        824 Walnut Creek Rd                  PO Box 1384
Abilene, TX 79602                       Simsboro, LA 71275                   Englewood, CO 80150




Cornerstone Pumps And Service LLC       Cornerstone Royalty Company          Corona Resources Ltd
PO Box 842323                           c/o Grand Energy                     6301 Gaston Ave Ste 600
Dallas, TX 75284-2323                   15303 Dallas Parkway                 Dallas, TX 75214
                                        Suite 1010
                                        Addison, TX 75001



Coronado Energy EP Co LLC               Coronado Energy EP Co LLC            Coronado Resources 2013 Lp
1001 Louisiana                          PO Box 154                           3811 Turtle Creek Blvd
Houston, TX 77002                       Houston, TX 77001                    Ste 1800
                                                                             Dallas, TX 75219




Coronado Resources Lp                   Corporate Care                       Corporate Machine Equipment LLC
3811 Turtle Creek Boulevard             3530 West T C Jester Blvd            Greenes Energy Group
Suite 1800                              Houston, TX 77018                    307 Pinehurst St
Dallas, TX 75219                                                             Lafayette, LA 70508




Corporate Outfitters Ltd                Corporate Payment Services / Gecfi   Corporate Solutions
813 Mckee                               PO Box 410406                        1910 Ese Loop 323 281
Houston, TX 77002                       Salt Lake City, UT 84141             Tyler, TX 75701




Corporation Billing LLC                 Corporation Service Company          Corpro Inc
Fbo Southern Trnsport Llc               PO Box 13397                         14103 Inerdrive West
Dept 100                                Philadelphia, PA 19101-3397          Houston, TX 77032
PO Box 830604
Birmingham, AL 35283
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Corral Western Wear                     Correll 1993 Family Trust Dtd 4 17 93   Correll 1993 Family Trust Dtd 4/16/93
4205 Jamie Zapata Memorial Hwy          Richard T Correll Succ Sole             Richard T Correll Successor
Ste A 2                                 Trustee                                 Sole Trustee
Laredo, TX 78043                        434 S Rimpau                            434 S Rimpau Blvd
                                        Los Angeles, CA 90020                   Los Angeles, CA 90020



Corrie Hearell                          Corrigan Goddard Ranch Fam Lp           Corrine A Erickson
505 Post St                             8117 Preston Road                       PO Box 472
Gladewater, TX 75647                    Suite 610                               Cordova, AK 99574
                                        Dallas, TX 75225




Corrine Lee Redmond                     Corrine Lee Redmond Estate              Corrosion Ltd
PO Box 4073                             PO Box 4073                             4321 Scr 1290
Longview, TX 756064073                  Longview, TX 75606                      Odessa, TX 79765




Corrosion Monitoring Sys                Cortex Business Solutions Usa LLC       Cortez Gas
PO Box 2109                             Mikki Dorsey Ryan Lailey                PO Box 685
Mills, WY 82644                         3412 25th Street NE                     Artesia, NM 88210
                                        Calgary, AB T1Y 6C1
                                        Canada



Cortez Gas Company                      Cortez Hardy                            Cory Crowell
PO Box 685                              134 Cypress Lake Cir                    1742 Highway 146
Artesia, NM 88210                       Benton, LA 71006                        Chatman, LA 71266




Cory Drake Mackey                       Cory Jennifer Buelt                     Cory Klett
28107 Buena Way                         2556 Rainbow Dr                         Address Redacted
Spring, TX 77386                        Casper, WY 82604




Cory M Jones                            Cory Travis Cothran Irrev Tr            Cory Travis Cothran Trust
6300 Helena Lane                        David Groom Ttee                        651 North U S Highway 183
Kapaa, HI 96746                         2806 Flintrock Trace Ste 103            Suite 335 55
                                        Austin, TX 78738                        Leander, TX 78641




Cos Inc                                 Cosby Alonzo Coleman Jr                 Cosetta S Malcolm
PO Box 910                              20920 Oakdale Dr                        Charlotte S Rouse Poa And
1212 Ave S                              Rogers, MN 55374                        Betsy C Redmond Poa
Levelland, TX 79336                                                             8 Ancel Ct
                                                                                Hampton, VA 23666



Cosi Energy Services LLC                Cosie M Floyd                           Cottage Condos LLC
PO Box 61994                            7822 Chaseview Dr                       1223 Farmerville Hwy
Midland, TX 79711                       Missouri City, TX 77489                 Ruston, LA 71270




Cotton Fuller Family LLC                Cotton Valley Operations Inc            Cottonwood Resources Inc
9521 Overcross St                       2401 Judson Rd Ste 404                  PO Box 702796
Shreveport, LA 71106                    Longview, TX 756054637                  Tulsa, OK 74170
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Cougar Drilling Solutions                Cougar Drilling Solutions Usa Inc   Counsel to Internal Revenue Service
PO Box 850189                            PO Box 850189                       Assistant United States Attorney
Yukon, OK 73085-0189                     Yukon, OK 73085-0189                Elizabeth F Karpati
                                                                             1000 Louisiana Suite 2300
                                                                             Houston, TX 77002



Country Inn Suite By Carlson             Country Mailer                      County Of Coke
298 South Chestnut St                    5400 University Ste 104             PO Box 975
Ventura, CA 93001                        Tyler, TX 75707                     Robert Lee, TX 76945




County Of Crockett Tac                   County Of Lincoln                   County Of Live Oak
Michelle Medley Pcc                      925 Sage Ave Suite 101              PO Box 699
Drawer H                                 Kemmerer, WY 83101                  George West, TX 78022
Ozona, TX 76943




County Of Logan                          County Of Orange                    County Of Orange
315 Main Street                          11 W Civic Center Dr                Treasurer Tax Collector
Sterling, CO 80751                       Santa Ana, CA 92701                 PO Box 1438
                                                                             Santa Ana, CA 92702-1438




County Royalty Acquisition Program       County Treasurer Coke County        Courtenay A Taylor
Dba Winkler County Royalty Prg           PO Box 975                          PO Box 720429
PO Box 25163                             Robert Lee, TX 76945                Dallas, TX 75372
Dallas, TX 75225




Courtenay A Taylor Royalty Tr            Courtney A Reed Iii Trust           Courtney A Reed Jr
PO Box 720429                            c/o Argent Trust Company Na         155 Shenandoah
Dallas, TX 75372                         PO Box 1410                         Dubach, LA 71235
                                         Ruston, LA 71273-1410




Courtney A Reed Jr And Suzanne Reed      Courtney B Ramsay                   Courtney Benoit
155 Shenandoah                           PO Box 52027                        833 Detroit Avenue
Dubach, LA 71235                         Lafayette, LA 70505                 Nederland, TX 77627




Courtney Christian                       Courtney Curbow                     Courtney Heard
PO Box 1802                              1104 Fulcher St                     902 Grand Street
Henderson, TX 75653                      Blanco, TX 78606                    Marlow, OK 73055




Courtney Holt Cowden Jr                  Courtney Kinman                     Courtney Lansford
PO Box 950                               1742 Highway 146                    14422 Broadgreen Dr
Midland, TX 79702                        Chatham, LA 71226                   Houston, TX 77079-6618




Courtney Lewis                           Courtney M Hudson                   Courtney M Smith
900 Riverside Dr                         PO Box 750                          9122 Harbor Hills Dr
Apt 103                                  Waskom, TX 75692                    Houston, TX 77054
Monroe, LA 71201
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Courtney Ray Kaufman Mcpherson            Courtney Rochell Lee Mosley               Coval Leasing Company
90 Independence Dr                        3535 Cr 234                               6400 Poplar Avenue
Mandeville, LA 70471                      Henderson, TX 75652                       Memphis, TN 38197




Cove Petroleum Corporation                Covington Co Inc                          Cow Creek
c/o The Northern Trust Company            PO Box 452                                PO Box 9832
Agent                                     Haughton, LA 71037                        The Woodlands, TX 77387
PO Box 22670
Dallas, TX 75222-6270



Cowan Minerals Inc                        Cowan Oil Gas Ltd                         Cowan Properties LLC
PO Box 601669                             PO Box 3523                               Patrick Cowan President
Dallas, TX 75360                          Midland, TX 79702-3523                    PO Box 21655
                                                                                    Oklahoma City, OK 731561655




Cowboy Pump Supply                        Cowden Lazy H Ranch LLC                   Cowgill Associates LLC
601 South 11Th Street                     PO Box 11226                              PO Box 72180
Abilene, TX 79602                         Midland, TX 79702                         Bossier City, LA 71172-2180




Coyladene C Mckean                        Coylene Turlington                        Coyote Express LLC
PO Box 349                                84 White Magnolia Circle                  PO Box 3214
Luling, TX 78648                          Austin, TX 78734                          Hobbs, NM 88241




Coyote Operating Corporation Inc          Coystal Ross Family Limited Partnership   Cp Electric Service LLC
1425 Meandering Way                       Amy Larissa Leopard Gen Prtnr             6849 Highland Rd
Rockwall, TX 75087                        826 Hackberry Street                      Gilmer, TX 75645
                                          Laporte, TX 77571




Cp Exploration Ii                         Cp Oilfield Services LLC                  Cp Piceance Holdings LLC
420 Oil Center Dr                         PO Box 772                                880 Wolverine Court
Lafayette, LA 70503                       Levelland, TX 79336                       Castle Rock, CO 80108




Cpf 2 LLC                                 Cpi One Point                             Cpl Business
c/o Woody Creek Mgmt Group Llc            PO Box 292130                             PO Box 660749
250 Steele Street                         Lewisville, TX 75029                      Dallas, TX 75266
Suite 375
Denver, CO 80206



Cpl Retail Energy Lp                      Cps Timberlands LLC                       Cpx Ii Operating LLC
PO Box 660897                             PO Box 1392                               420 Oil Center Drive
Dallas, TX 77046                          Shreveport, LA 71164                      Lafayette, LA 70503




Cr Boatwright Trust                       CR Industries                             CR Oilfield Services Inc
c/o Bank Of America Na Trustee            791 Southpark Dr                          PO Box 1084
PO Box 840738                             Unit 200                                  San Angelo, TX 76902
Dallas, TX 75284-0738                     Littleton, CO 80120
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Cr Petroleum Optimization Technologies    Cr Porthouse                              Cr Two Investments Ltd
Emilio Nunez                              14354 Spyglass Ct                         1251 N Old Stagecoach Road
PO Box 50244                              Chesterfield, MO 63017                    Kyle, TX 78640
Austin, TX 78763




Cr72 Services LLC                         Crady Jewett Mcculley LLP                 Craft Office Systems
PO Box 1027                               2727 Allen Pkwy 1700                      PO Box 60473
Portland, TX 78374                        Houston, TX 77019                         Midland, TX 79711




Craig Aaron                               Craig Adams                               Craig Alan Hoffman Trust
14046 Fm 225                              2447 Cordova St                           54 Rainey Street 1222
Laneville, TX 75667                       Oakland, CA 94602                         Austin, TX 78701




Craig Beaty                               Craig C Barclay Petroleum Geologist LLC   Craig Casper Zinn
1105 Rocky River Road                     522 Dumbarton                             4202 Cat Mountain Drive
Houston, TX 77056                         Shreveport, LA 71106                      Austin, TX 78731




Craig F Mosolowski                        Craig Fulton Hull                         Craig Garshelis
PO Box 312068                             8141 Ward Lane                            533 Chenery Street
New Braunfels, TX 78131-2068              Rogers, AR 72756                          San Francisco, CA 94131




Craig J Davidson                          Craig M Kent Mary Ruth Kent               Craig R Hodes
Address Redacted                          1221 Mitcham Orchard Road                 10405 Foxglove Ct
                                          Ruston, LA 71270                          Austin, TX 78739




Craig R Light Irrev Tr Dtd 01 01 00       Craig Robert Barclay                      Craig S Charbonnet Inc
Craig R Light Ttee                        106 Adams St 1                            5 Grogans Park Drive
4563 Scarsdale Pl                         Rochester, NY 14608                       Suite 101
Boulder, CO 80301                                                                   The Woodlands, TX 77380




Craig S Ludwig                            Craig Smith Environmental LLC             Craig Tantalo Trust
2743 E Mead Pl                            Platte River Business Plaza               U/W/O Rose Marie Healey
Chandler, AZ 85249-5104                   1551 Three Crowns Dr Suite 313            c/o Firstcapital Bank Of Tx Ttee
                                          Casper, WY 82604                          310 W Wall Suite 1200
                                                                                    Midland, TX 79701



Craig Thauwald                            Craig W Clark                             Craig Williams
4494 Stoneview Pl Se Apt 305              c/o C W Clark Inc                         1801 Edgewater Trail
Rochester, MN 55904-4326                  4180 La Jola Village Dr 405               Whitehouse, TX 75791
                                          La Jolla, CA 92037




Craig Wiswell                             Craig Woodward                            Crain Energy Ltd
Address Redacted                          2310 County Road U                        PO Box 2146
                                          Lamesa, TX 79331                          Longview, TX 75606-2146
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Crain Hot Oil Acidizing                 Crain Hot Oil Service LLC           Crain Hot Oil Service LLC
PO Box 613                              Tricia Morales                      Drawer 2146
Lovington, NM 88260                     PO Box 5846                         PO Box 5935
                                        Granbury, TX 76049                  Troy, MI 48007-5935




Crain Ii Oil Gas Ltd                    Crain Marital Trust No 1            Crain Partners Ltd
PO Box 2146                             PO Box 2146                         PO Box 2765
Longview, TX 75606                      Longview, TX 75606-2146             Austin, TX 78768




Crain Resources Ltd                     Cramer Oil Company                  Cramvest Inc
PO Box 2146                             410 17Th St                         200 Queens Ave
Longview, TX 75606-2146                 Ste 1340                            London, ON N6A 1J3
                                        Denver, CO 80202                    Canada




Crane Certification                     Crane County Tax Office             Crane Inspection Certif Bureau LLC
10611 Calle Lee Suite 117               Judy Crumrine                       PO Box 621388
Los Alamitos, CA 90720                  PO Box 878                          Orlando, FL 32862-1388
                                        Crane, TX 79731




Crane Service Inc                       Crane Tech LLC                      Cranesmart Systems Inc
505 Murry Road Se                       6037 Windthrop Commerce Ave         4908 97 Street
Albuquerque, NM 87105                   Riverview, FL 33578                 Edmonton, AB T6E 5S1
                                                                            Canada




Cranfill Wright Oil Venture             Crasheil Resources Inc              Cratin Hightower
PO Box 181748                           503 Ila St                          2515 Vesper St 191
Dallas, TX 75218                        Kenedy, TX 78119                    Dallas, TX 75216




Craton Energy Holdings Iii Lp           Craver Olga Doyle Craver            Crawford Bedford
500 Dallas Street Suite 1800            405 Cherry Lane                     c/o Lannie M Bedford Ford
Houston, TX 77002                       Longview, TX 75662                  PO Box 185
                                                                            Lisbon, LA 71048




Crawford C Coke Jr                      Crawford Duane Parker Iv            Crawford Parker Jr Test Trust
900 Le Duke Boulevard                   Cara Beth Parker Custodian          Elizabeth Parker Trustee
Longview, TX 75601                      Tx Uniform Gift To Minors Act       3435 Us 79 South
                                        123 County Road 2781                Carthage, TX 75633
                                        Carthage, TX 75633



Crayton Mcmurray Estate                 Creative Planning                   Creative Products
3801 Cobblestone Ln                     11350 Tomahawk Creek Pkwy Ste 200   1604 Banbridge Court
Port Arthur, TX 77642-7318              Leawood, KS 66211-2727              Bakersfield, CA 93311




CrEdit Agricole Cib Usa                 Credit Suisse Ag                    Credit Suisse Group Ag
1100 Louisiana                          Paradeplatz 8                       23 Madison Ave
Suite 4750                              8070 Zurich                         New York, NY 10010
Houston, TX 77002                       Switzerland
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Credit Suisse Se                        Credit Union Of Texas               Cree Capital Investment Ltd
Attn Anthony Milo                       8131 LBJ Freeway 500                PO Box 1821
Norrmalmstorg 12                        Dallas, TX 75251                    Pampa, TX 79066
11146 Stockholm
Sweden



Crenshaw Enterprises Ltd                Crenshaw Louisiana Properties LLC   Crenshaw Royalty Corporation
Dba Tiger Industrial Rentals            777 N Post Oak Rd 1507              8700 Crownhill Blvd Ste 605
PO Box 790                              Houston, TX 77024                   San Antonio, TX 78209
Beaumont, TX 77704




Crescent Directional Drilling Lp        Crescent Woods Holdings LLC         Crest Printing Inc
PO Box 203101                           PO Box 14134                        1001 Mckinney
Dallas, TX 75320-3101                   Monroe, LA 71207                    Tunnel Ste A 2
                                                                            Houston, TX 77002-5787




Crest Pumping Technologies LLC          Crest Pumping Technologies LLC      Crestmark Commercial Captial
6500 West Fwy Ste 601                   6500 West Fwy                       Lending Llc
Fort Worth, TX 76116-2181               Fort Worth, TX 76116                Fbo Eagle Fishing Tools Serv
                                                                            PO Box 41047
                                                                            Baton Rouge, LA 70835



Crestone Royalties LLC                  Creswood Land Management Lp         Cretic Energy Services LLC
Subsidiary Noble Royalties Inc          C/O Argent Property Servcs Llc      18001 Highway 105 W
PO Box 660082                           PO Box 1410                         Suite 102
Dallas, TX 75266                        Ruston, LA 71273                    Montgomery, TX 77356




Crew Land Research Ltd                  Crew Land Research Ltd              Crider Legacy LLC
Matthew Zander                          2400 Augusta Suite 360              43 Watrus Dr
2400 Augusta Drive Suite 260            Houston, TX 77057                   Clayton, NC 27527-4262
Houston, TX 77057




Crim Family Limited Prtnshp             Crims Chapel Cemetary Assoc         Crimson California Pipeline Lp
Nancy A Crim General Partner            PO Box 1542                         1801 California St
2018 Holly Creek Drive                  Henderson, TX 75652                 Suite 3600
Tyler, TX 75703                                                             Denver, CO 80202-2617




Crimson Exploration Operating Inc       Cris Dally                          Crista R Evans
717 Texas St Suite 2900                 4915 Spring Creek Rd                2613 Amos Road
Houston, TX 77002                       Arlington, TX 76017                 Longview, TX 75602




Cristel Sue Mcgee Whitaker              Cristi Cherry                       Cristie L Moss
1507 Noble Dr                           10300 C Rein Commons Court          9994 South State Highway 34
Longview, TX 75601                      Burke, VA 22015                     Scurry, TX 75158




Cristie R Read                          Cristina Du Ron                     Cristina Lorena Benavides
6058 State Highway 323 West             5971 Woodway Drive                  101 Deleware St
Henderson, TX 75652                     Houston, TX 77057                   Laredo, TX 78041
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Cristo Rey Corporate Work Study Program   Cristo Rey Work Study Program Inc      Cristy Shaw Mccallum
6700 Mouny Carmel St                      6700 Mount Carmel Street               3220 Lakewood Lane
Houston, TX 77087                         Houston, TX 77087                      Flower Mound, TX 75022




Crockett Measurement Services             Crockett Oil Field Construction LLC    Crockett Trucking LLC
PO Box 204                                PO Box 265                             PO Box 265
Sonora, TX 76950                          Artesia, NM 88210                      Artesia, NM 88211




Croff Oil Company                         Crofoot Partners Ltd                   Croft Production Systems Inc
16 Waterway Court                         c/o Cathryn Crofoot Hutchins           19230 Fm 442 Road
The Woodlands, TX 77380                   PO Box 509                             Needville, TX 77461
                                          Alta, CA 95701




Crop Production Services                  Crosby Isd Tax Office                  Crosby Isd Tax Office
102 West Avenue                           Administration Building                Nancy Oliver Tac
Levelland, TX 79336                       706 Runneburg Rd                       PO Box 2009
                                          Crosby, TX 77532                       Crosby, TX 77532-8009




Cross Bayou Exploration LLC               Cross Cleaning Solutions LLC           Cross Creek Energy LLC
504 Texas Street                          PO Box 1103                            PO Box 1147
Suite 600                                 Gladewater, TX 75647                   Sugar Land, TX 77487-1147
Shreveport, LA 71101




Cross Creek Energy LLC                    Cross Farms Inc Dba Huckert Trucking   Cross Keys Bank
PO Box 4259 Msc 500                       710 North Ave G                        307 Plank Rd
Houston, TX 77210-4259                    Lamesa, TX 79331                       Saint Joseph , LA 71366




Cross Plains Oil Field Supply Co          Cross Roads Oil Field Supply           Cross Texas Supply LLC
PO Box 850                                PO Box 1546                            4009 Ben Ficklin Road
Mineral Wells, TX 76068                   El Campo, TX 77437                     San Angelo, TX 76903




Cross Timbers Energy LLC                  Cross Timbers Energy LLC               Cross Timbers Production Co
c/o Pds Energy Bpo Services               Panola Co Tax Office                   810 Houston St Ste 2000
PO Box 1606                               Mott Llc                               Fort Worth, TX 76102
Austin, TX 78767                          913 B Pegues Place
                                          Longview, TX 75601



Crossfire LLC                             Crossroads Community Club              Crossroads Services
820 Airport Road                          Kenneth Volentine Sr Rep               PO Box 599
Durango, CO 81303                         978 Tulip Road                         Centerville, TX 75833-0599
                                          Athens, LA 71003




Crossroads Tanks                          Crosstimbers Hot Shot Service LLC      Crow Horizons Co
PO Box 2467                               PO Box 88                              900 Perremont Road Suite 221
Decatur, TX 76234-6163                    Newcastle, OK 73065                    Shreveport, LA 71106
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Crow Siblings LLC                         Crowe Investments LLC            Crowley Fleck Pplp
346 Berkshire Place                       c/o Tom Crowe Manager            490 N 31st St Ste 500
Shreveport, LA 71106                      1100 E Washington St Ste 200     Billings, MT 59101
                                          Phoenix, AZ 85034




Crown Energy Ltd                          Crown Energy Bell 1              Crown Energy Bell 2H
c/o Jerry Hamilton                        5605 Fm 423 Ste 500 324          5605 Fm 423 Ste 500 324
2951 N Dallas Pkwy                        Frisco, TX 75034                 Frisco, TX 75034
Suite 204
Frisco, TX 75034



Crown Energy Partners Holdings LLC        Crown Energy Partners LLC        Crown Energy Tabeck Haynes 1R
304 Inverness Way South                   1123 Phipps Ct                   5605 Fm 423 Ste 500 324
Englewood, CO 80112                       Highlands Ranch, CO 80126-4721   Frisco, TX 75034




Crown Financial LLC                       Crown Oil Gas Corp               Crown Oil Partners Iv Lp
Fbo Global Operator Energy Services Llc   PO Box 368                       PO Box 50820
PO Box 219330                             Labarge, WY 83123                Midland, TX 79710
Houston, TX 77218




Crown Oilfield Instrumentation            Crown Pine Timber 1 Lp           Crown Well Service LLC
PO Box 790                                702 N Temple Dr                  1 Hutchinson Road
Maurice, LA 70555                         Diboll, TX 75941                 Riverton, WY 82501




Crowson Oilfield Specialty Inc            Crozier Pipe Company             Crude Oil Solutions Inc
PO Box 12241                              PO Box 82                        PO Box 910
Odessa, TX 79768                          Monahans, TX 79756-0082          Levelland, TX 79336




Crump Family Partnership                  Crump Oil Company Inc            Crushed Stone And Asphalt Products
PO Box 50820                              Thomas Crump                     PO Box 60693
Midland, TX 79710                         PO Box 748                       San Angelo, TX 76906
                                          Haynesville, LA 71038




Crutcher Janie Marie                      Crystal A Delley Holman          Crystal Ann Peacock Boyd
40 Rim Rd                                 Synott Rd 704                    12350 Fannin Parkway Unit A
Kilgore, TX 75662-2256                    Houston, TX 77082                Tyler, TX 75708




Crystal Duran                             Crystal Engineering              Crystal Lasiter Acct 4042 8846
Address Redacted                          Lockbox 074473                   Attn Tim Brown
                                          PO Box 844473                    A G Edwards Sons Inc
                                          Los Angeles, CA 90084-4473       8555 Fern Avenue
                                                                           Shreveport, LA 71105



Crystal M Brown Cryer                     Crystal R Gamble                 Crystal Spring Ice
4245 Don Ortega Pl                        The Waterford                    176 Meadowview
Los Angeles, CA 90008                     2222 E Bert Kouns 116            Gloster, LA 71030
                                          Shreveport, LA 71105
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Crystalyne Brooke Simonton Marcantel    Cs Consulting LLC              CS Energy Services
1517 Graham St                          4151 Ten Mile Road             Dept 2114
Lake Charles, LA 70601-1649             Casper, WY 82604               PO Box 122114
                                                                       Dallas, TX 75312-2114




CS Holdings Partnership                 CS Lease Service LLC           CS Wireline Services LLC
1001 Fannin Suite 4750                  PO Box 1049                    PO Box 1047
Houston, TX 77002                       Kilgore, TX 75663-1049         Robstown, TX 78380




Csc Energy Corp                         Csc Production Corp            Cse Icon Inc
7607 Fern Ave Ste 101                   7607 Fern Ave Ste 101          100 Central Street Ste 100
Shreveport, LA 71105                    Shreveport, LA 71105-5699      Lafayette, LA 70501




Csi Compressco Operating LLC            Csi Compressco Operating LLC   Csi Inspection LLC
Legal Department                        PO Box 840082                  Annie Cook
3809 S Fm 1788                          Dallas, TX 75284-0082          501 Bering Drive Suite 455
Midland, TX 79706                                                      Houston, TX 77057




Csi Inspection LLC                      Csi Technologies LLC           Csj Mac Properties LLC
PO Box 919363                           1930 W W Thorne Blvd           c/o Claire S Jones
Dallas, TX 75391-9363                   Houston, TX 77073              1571 Lakeside Dr
                                                                       Niceville, FL 32578-4161




Cso Consulting                          Cst Corp                       Cst Drilling Fluids Inc
PO Box 99                               12210 Bedford St               4400 A Ambassador Caffery 351
Bridgeport, TX 76426-0099               Houston, TX 77031              Lafayette, LA 70508




Csu Long Beach Foundaiton               Csw Mac Properties LLC         Ct Corporation System
1000 Studebaker Road Suite 3            c/o Corinne S Walsh            PO Box 4349
Long Beach, CA 90815                    9001 Rushing River Way         Carol Stream, IL 60197-4349
                                        Niceville, FL 32578




Ct Lien Solutions                       Ctap LLC                       Ctc Minerals Inc
PO Box 301133                           2585 Trailridge Drive E        PO Box 840738
Dallas, TX 75303                        Lafayette, CO 80026            Dallas, TX 75284-0738




Cts Specialized Inc                     Cts Transport Inc              Cuatro Rojos LLC
4300 Harlan St                          PO Box 750                     PO Box 2177
Wheat Ridge, CO 80033-5122              Quitman, TX 75783              Midland, TX 79702




Cub Properties LLC                      Cudd Pressure Control Inc      Cudd Pressure Control Inc
c/o Wm Stutts Baker Botts               Diane Camden                   PO Box 203379
98 San Jacinto Blvd Ste 1500            PO Box 910283                  Dallas, TX 75320-3379
Austin, TX 78701                        Dallas, TX 75391
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Cudd Pumping Service Inc               Cudd Pumping Services Inc            Cudd Well Control
PO Box 910080                          PO Box 203379                        PO Box 910283
Dallas, TX 75391                       Dallas, TX 75320-3379                Dallas, TX 75391




Cude Oilfield Contractors Inc          Cude Oilfield Contractors Inc        Cue Creative
Amy Breashers                          PO Box 6565                          117 W Ferguson
PO Box 131441                          Lubbock, TX 79493                    Tyler, TX 75702
The Woodlands, TX 77393




Culberson Construction Inc             Culbertson Resources Inc             Culla Sue Jones
PO Box 1379                            770 South Post Oak Ln Ste 220        5801 Southerns Hills Dr
Granbury, TX 76048-8379                Houston, TX 77056                    N Richland Hls, TX 76180




Cullen Donald Keith                    Culligan                             Culligan Bottled Water Service
2607 Northbrook                        PO Box 5277                          121 Broadway St
Longview, TX 75605                     Carol Stream, IL 60197-5277          Rock Springs, WY 82901




Culligan Of Denver                     Culroy P/A                           Culroy P/A Partnership
Lockbox Processing                     Rta Account                          PO Box 7666
PO Box 2932                            PO Box 7666                          Tyler, TX 75711
Wichita, KS 67201-2932                 Tyler, TX 75711-7666




Cumberland Presbyterian Church         Cumberland Presbyterian Church Inc   Cummie Adams Robinson
Of Marshall Texas                      The Board Of Stewardship             32 Windsor St
PO Box 1303                            Foundation And Benefits              Laplace, LA 70068
Marshall, TX 75671                     8207 Traditional Pl
                                       Cordova, TN 38016



Cummings Royalty Acq Co Inc            Cummins Pacific LLC                  Cunyus Family Trust
4940 Broadway Suite 335                1939 Deere Ave                       Shirley C Hatch Trustee
San Antonio, TX 78209                  Irvine, CA 92606                     5008 Pequeno Court
                                                                            Granbury, TX 76049




Cunyus Mineral Properties Lp           Curran Connors Inc                   Currier Abstract Company
PO Box 1887                            140 Adams Avenue                     PO Box 540
Kilgore, TX 75663                      Suite 20C                            Artesia, NM 88211-0540
                                       Hauppauge, NY 11788-3618




Curt E Harris                          Curt Frances Dugdale LLC             Curtin Maritime
PO Box 28                              454 Dugdale Road                     PO Box 2531
Amityville, NY 11701-0028              Choudrant, LA 71227                  Long Beach, CA 90801




Curtis A Callaway                      Curtis A Ward Erwin                  Curtis Arnold Cabaniss Jr
2804 Purple Sage Trl                   707 Mount Olive St                   411 Cr 421
Midland, TX 797052502                  Terrell, TX 75160                    Carthage, TX 75633
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Curtis Beams                             Curtis Beethe                    Curtis Bernard Clemens
1511 102nd Avenue                        3954 Angus Dr                    2270 Donna Drive
Oakland, CA 94603                        Fort Worth, TX 76116             Chandler, TX 75758




Curtis C Rogers                          Curtis Chadwick Downs            Curtis D Watson
1002 Palo Pinto Street                   3436 Binkley Avenue              4134 Woodland Ct
Weatherford, TX 760864016                Dallas, TX 75205-2230            Grapevine, TX 76051




Curtis Darwin Taylor                     Curtis E Gray                    Curtis E Mamzic
3725 Cr 430                              2016 Beaty Circle                2616 Huntly Ln
Joaquin, TX 75954                        San Angelo, TX 76904             Flower Mound, TX 750225191




Curtis Estes                             Curtis G Mcdaniel                Curtis H Perritt Memorial
1983 Cr 3193                             135 County Road 109              Karen Poland Perritt Trust
Joaquin, TX 75954                        Carthage, TX 75633               Betty V D Perritt Trustee
                                                                          458 Carnation Rd
                                                                          Arcadia, LA 71001



Curtis Hill                              Curtis James Smith               Curtis Johnson
2311 China Grove Rd                      12024 Oberlin Drive              1370 Balsam Ave
Vicksburg, MS 39180-7374                 Dallas, TX 752433612             Baton Rouge, LA 70807




Curtis Johnson And Willie Nell Johnson   Curtis L Clark Exempt Lftme Tr   Curtis L Mccrary Jr
1370 Balsam Ave                          Curtis L Clark Jr Trustee        Jackie Watson Mccrary
Baton Rouge, LA 70807                    4644 Goodland Avenue             PO Box 324
                                         Studio City, CA 91604            Arcadia, LA 71001




Curtis L Perryman Trust                  Curtis L Tubbs                   Curtis Lamar Dowling
Sandra P Valerio Trustee                 2174 Mitcham Orchard Rd          10601 Highway 80
2839 Curtis Drive                        Ruston, LA 71270                 Simsboro, LA 71275
Tyler, TX 75701-8110




Curtis Larry Smith                       Curtis Lee Johnson               Curtis Leon Tinsley
PO Box 975                               2548 Devaughn Street             5000 Rosewood Ln
Tatum, TX 75691                          Shreveport, LA 71108             Longview, TX 75605




Curtis Lockridge Joyce Lockridge         Curtis M Kelly Et Ux             Curtis Mack Sheila Mack
7112 Cr 442 D                            1307 Joe Bill Street             7497 Highway 80
Henderson, TX 75654                      West Monroe, LA 71292            Ruston, LA 71270-1429




Curtis Mae Haulcy                        Curtis Mayfield                  Curtis Myles Jr
1254 West 91st Street                    Cause No 2003 313                2301 Montrose Lane
Apt E                                    c/o District Court Rusk Co Tx    Lancaster, TX 75134
Los Angeles, CA 90044                    PO Box 1687
                                         Henderson, TX 75653
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Curtis Oilfield Services LLC             Curtis Or Suzanne Cain Jtwros   Curtis Otis Mcdonald
PO Box 1236                              1683 Kelliwood Oaks Drive       2282 Moss Wood Road
Silsbee, TX 77656                        Katy, TX 77450                  Choudrant, LA 71227




Curtis Ray Johnson                       Curtis Robinson                 Curtis Rose Deceased
794 Cr 114                               1530 Harlendale                 3600 Mansfield Ave
Carthage, TX 75633                       Dallas, TX 75216                New Orleans, LA 70131




Curtis Rose Jr                           Curtis U Parker Sr              Curtis W Giles
3600 Mansfield Ave                       103 Jennifer Lane               204 Jenkins Rd
New Orleans, LA 70131                    West Monroe, LA 71291           Gibsland, LA 71028




Curtis Whitten                           Curtis Willis Aka               Cushing Asset Management
7606 Rolling Hills Dr                    Curtis Lloyd Willis             8117 Preston Rd Suite 440
Jacksonville, FL 32221                   509 Harmony Church Road         Dallas, TX 75225
                                         Arcadia, LA 71028




Custom Compression Systems LLC           Custom Fiberglass Inc           Custom Fiberglass Inc
1200 Unifab Rd                           6750 W Zero Rd                  PO Box 70
New Iberia, LA 70560-9684                Casper, WY 82604                Mills, WY 82644-0070




Custom Safety Products                   Customer Services Division      Cutler Gist Dba
PO Box 833                               PO Box 3365                     Montego Minerals
Friendswood, TX 77549-0833               Jefferson City, MO 65105-3365   PO Box 3468
                                                                         Midland, TX 79702




Cutler Group Lp                          Cutter Drilling Systems Lp      Cvent Inc
101 Montgomery St 700                    PO Box 204806                   PO Box 822699
San Francisco, CA 94104                  Dallas, TX 75320-4806           Philadelphia, PA 19182-2699




Cw Resources Inc                         Cwplco Inc                      Cww Properties LLC
PO Box 678653                            6 Desta Drive Suite 1100        936 Candler Ave
Dallas, TX 75267-8653                    Midland, TX 79705               Shreveport, LA 71107-3807




Cy Fair Federal Credit Union             Cyclone Drilling Inc            Cyclops LLC
9601 Jones Rd Suite 100                  PO Box 908                      M Alton Evans Jr Manager
Houston, TX 77065                        Gillette, WY 82717-0908         624 Travis St Suite 500
                                                                         Shreveport, LA 71101




Cygnet Software Inc                      Cynda Willis                    Cyntha Thompsen Johnson Dealing
Doug Ramanzahn                           PO Box 552                      With Her Sole And Separate Prop
1880 Santa Barbara St Suite 220          Saratoga, TX 77585              506 E Simpson
San Luis Obispo, CA 93401                                                Lafayette, CO 80026
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Cynthia A Barter                           Cynthia A Clark                Cynthia A Dovalina
1813 Caprock Barter                        2002 Walnut Ave                655 Holmgreen Rd
Allen, TX 75002                            Ruston, LA 71270               San Antonio, TX 78220




Cynthia A Mantooth                         Cynthia A Sutton               Cynthia Ann Anderson
145 Saddle Ridge                           14509 Summit View Drive        4409 Churchwood Dr
Spring Branch, TX 78070                    Leander, TX 78641              Arlington, TX 76016




Cynthia Ann Clark                          Cynthia Ann Henry Magee        Cynthia Ann Hubbard
611 N Motley Drive                         PO Box 1                       14820 Bluff Rd
Overton, TX 75684                          Keatchie, LA 71046             Sandy, OR 97055




Cynthia Ann Mccann                         Cynthia B Mcguire              Cynthia Bass Hatchett
428 Idlewild Dr                            226 Brookfield Dr              3883 Turtle Creek Blvd
Homua, LA 70364                            Avon Lake, OH 44012            Apt 218
                                                                          Dallas, TX 75219




Cynthia Bateman Stone                      Cynthia Bryant Ensign          Cynthia Bush
Estate Of Elizabeth Bateman Stone          22226 Hockaday Dr              8450 Anastasia Ave
2900 Weslayan Suite 150                    Katy, TX 77450-2410            Beaumont, TX 77705
Houston, TX 77027




Cynthia C Craig                            Cynthia C Paul                 Cynthia C Rhone
1078 Marigold Avenue                       PO Box 551                     PO Box 166
East Lansing, MI 48823                     Imperial Bch, CA 919330551     Grambling, LA 71245




Cynthia C Rhone Et Vir                     Cynthia C Stewart              Cynthia Campbell
Roy Rhone                                  5515 Mercedes                  6872 Young Farm Ave
PO Box 166                                 Dallas, TX 75206               Springdale, AR 72762
Grambling, LA 71245




Cynthia Corbin                             Cynthia Courtney Siegel        Cynthia Dale Kehl
1533 Julius St Apt 3                       Q P Courtney Iii Aif           5258 Ridgeview Dr Loop Ne
Berkely, CA 94703                          PO Box 100903                  Moses Lake, WA 98837
                                           Fort Worth, TX 76185




Cynthia Denise Brown                       Cynthia E King                 Cynthia F Collins
12115 Cedar Pass Dr                        1323 Nw Taft Ave               2231 Valdina St Ste 106
Houston, TX 77077                          Lawton, OK 73507               Dallas, TX 75207-6119




Cynthia F Peironnet Family LLC             Cynthia Falconer               Cynthia G Bement
Income Solutions Wealth Mgmt               2242 South 14Th Avenue         PO Box 667
Attn Carol Rushton Trust                   Broadview, IL 60155            Salida, CO 81201
3200 Troup Hwy Suite 150
Tyler, TX 75701
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Cynthia G Poland                           Cynthia Gail Maris                 Cynthia Haegelin
14254 Oakwood Ln                           818 Mansfield Drive                7805 Heathercrest Circle
Denham Springs, LA 70726                   Unit 33                            Austin, TX 78731
                                           Port Mansfield, TX 78598




Cynthia Hamlin Ozene                       Cynthia Hope Kelly                 Cynthia Hulme Seba Cook
167 Eckart Dr                              405 Old Home Place                 3725 Plumb Street
New Iberia, LA 70560                       Yukon, OK 73099                    Houston, TX 770052809




Cynthia I Farrington                       Cynthia I Farrington Est           Cynthia Jamila Daniels
3415 Fry Ave                               Walter L Farrington Jr Ind Admin   3519 S 81st Glen
Tyler, TX 75701                            3415 Fry Avenue                    Phoenix, AZ 85043
                                           Tyler, TX 75701




Cynthia Jane Sepaugh Trust 2               Cynthia Juarez                     Cynthia K Beattie
c/o Regions Bank Trustee                   5638 Arthington                    3116 Ne Meriden Rd
PO Box 23100                               Houston, TX 77053                  Topeka, KS 66617
Jackson, MS 39225-3100




Cynthia K Dias                             Cynthia Kay Thompson Bennett       Cynthia King Williams
14607 Orange Blossom Rd                    18856 Caterpillar Ct 2916          526 County Road 19
Oakdale, CA 95361                          Porter, TX 77365                   Stringer, MS 39481




Cynthia Knapp                              Cynthia Kortz                      Cynthia L Perodeau
32 Spencer Road 20M                        2828 Nine Bridge Road              26 Dale Street
Boxborough, MA 01719                       Corrigan, TX 75939                 Rochdale, MA 01542




Cynthia L Pisciotta                        Cynthia L Russell Lyons            Cynthia L Simmons
4935 Central Ave                           119 W Janin Cir                    2805 Royal Run
Ocean City, NJ 08226                       Portland, TX 78374                 Gauthier, MS 39553




Cynthia Lewis Roberts                      Cynthia Liner Daigle               Cynthia Lynn Garcia
14030 Kornblum Ave 217                     209 Chantilly Dr                   2019 Clark Blvd
Hawthorne, CA 90250                        Houma, LA 70360                    Laredo, TX 78043




Cynthia Lynne Muse Godfrey                 Cynthia M Cummings                 Cynthia M Dalton
102 Hickory Hills Drive                    7877 Caruth Court                  5965 Sand Cherry Ln
Clinton, MS 39056                          Dallas, TX 75225                   Timnath, CO 80547




Cynthia M Delaney                          Cynthia Malone                     Cynthia Marie Caton
3911 Pecan Dr                              1260 Payne Dr                      PO Box 576745
Alexandria, LA 71302                       Lancaster, TX 75134                Modesto, CA 95357
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Cynthia Marie Christian Freeman           Cynthia Mccants              Cynthia Minters
1711 Elk Canyon Dr                        1124 Cr 4350                 8802 37Th St West Court
San Antonio, TX 78232                     Center, TX 75935             University, WA 98446




Cynthia Mitchell                          Cynthia Moreno               Cynthia Nightengale
6815 Bleumesa Drive                       1806 Ruellen Ave             9407 Briar Cir
Dallas, TX 75252                          Houston, TX 77038            Minneapolis, MN 55437-1901




Cynthia Peck                              Cynthia R Dorfman            Cynthia Robinson
100 Hunters Creek Dr                      1840 San Ramon Avenue        PO Box 90
Longview, TX 75605                        Berkeley, CA 94707           Bronte, TX 76933




Cynthia Ruth Mcmahon                      Cynthia S Thomas             Cynthia Shirley
14411 E Valleyway Ave                     1106 Graves St               1699 Maple Springs Road
Spokane Valley, WA 99216                  Bernice, LA 71222            Longview, TX 75602




Cynthia Simone Darden                     Cynthia Smale Allison        Cynthia Smith Brower
2370 Pam Dr                               2723 West Perez Ct           10708 Hastings Lane
Florissant, MO 63031                      Visalia, CA 93291            Austin, TX 78750




Cynthia Smith Pruitt Rev Tr               Cynthia Stanley              Cynthia Stoma Merritt
Co Trustees                               3020 Marquise Ct             PO Box 220
PO Box 1315                               Burleson, TX 76028           Gilberton, AL 36908
Marshall, TX 75671




Cynthia Sue Mitchell                      Cynthia Sue Stuckey Corona   Cynthia T Allgood
454 Village Creek Drive                   421 Fairfield St E4          1324 Laney Rd
Webster, TX 77598                         West Monroe, LA 71291        Junction City, AR 71749




Cynthia Thompsen Johnson                  Cynthia Walker Steinacker    Cynthia Wickizer Mueller
Dealing With Her Sole And Separate Prop   6625 Manitowac Dr            1710 Springwood Ct
506 E Simpson                             Plano, TX 75023              College Station, TX 77845
Lafayette, CO 80026




Cynthia Willard                           Cypress Energy Corporation   Cypress Income Fund LLC
1200 Briarwood Trail                      PO Box 66769                 PO Box 910
Henderson, TX 75654                       Baton Rouge, LA 70896        Frisco, TX 75034




Cypress Operating Inc                     Cypress Petroleum LLC        Cypress Point Royalties Lp
330 Marshall Street                       110 Dover Court              Attn Marc Zimmermann
Suite 930                                 Bossier City, LA 71111       401 Congress Ave Ste 1750
Shreveport, LA 71101                                                   Austin, TX 78701
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Cyril Thomas Landry                    D A Brian And Wife Peggy H Brian   D A Davidson
Address Redacted                       6078 Cr 314                        Attn Rita Linskey
                                       Henderson, TX 75654                8 3rd Street N
                                                                          Great Falls, MT 59403




D Alan Shepperd                        D And H Oil Gas Services LLC       D Anita Carswell Usufruct
PO Box 112202                          PO Box 1755                        12401 Split Rail Cove
Carrollton, TX 75011                   Laredo, TX 78041                   Austin, TX 78750




D B Associates                         D B Parker And Patsy A Parker      D B S Hotshot Service
PO Box 1320                            1320 U S Highway 271 North         PO Box 261260
Elgin, TX 78621                        Gilmer, TX 75644                   Corpus Christi, TX 78426-1260




D Bar Ranch Livestock Ltd              D Beck Company                     D C Caswell
421 Loma Vuelta Dr                     PO Box 1258                        1413 Cactus
Kerrville, TX 78028                    Kilgore, TX 75663                  Levelland, TX 79336




D C Energy Services LLC                D C P Midstream LLC                D Cavazos Welding
PO Box 2620                            370 17Th Street                    PO Box 335
Mills, WY 82644                        Suite 2500                         Lamesa, TX 79331
                                       Denver, CO 80202




D Courtney Construction Inc            D D Contract Pumpers               D D Dawson Enterprises LLC
PO Box 549                             606 Cactus Ln                      1407 State Highway 207
Carthage, TX 75633                     Brownfield, TX 79316               Post, TX 79356




D D Fluids Inc Carthage                D D Hachar Charitable Trust        D D Oilfield Services
PO Box 131859                          Farmers National OG Mgmnt          3023 Harkins Lane
Tyler, TX 75713-1859                   No 1373888                         Marshall, TX 75672
                                       PO Box 3480
                                       Omaha, NE 68103-0480



D D Poynor Construction Co             D D Swabbing LLC Tx                D D Swabbing LLC Wy
408 N Hwy 137                          PO Box 737                         PO Box 599
Big Lake, TX 76932                     Palestine, TX 75802                Lyman, WY 82937




D D Vacuum Disposal Systems LLC        D Dart Ranch Inc                   D E C Roustabout Inc
1452 Dews Rd                           6708 N Cty Rd 19                   PO Box 403
Mount Holly, AR 71758                  Fort Collins, CO 80524             Wink, TX 79789




D E Limited Partnership                D E Patterson Ests                 D Edward Mansinger
Davis Evans Operating Co Llc           Elizabeth Patterson Exec           4685 E Country Club Road
623 Wickhams Fancy Drive               111 N Straton St                   Longview, TX 75602
Biltmore Lake, NC 27815-8931           Seymour, TX 76380
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D F King Co Inc                        D F Ventures Inc                          D G Testers Supply Inc
PO Box 1701                            207 W Hickory St Suite 201                PO Box 70311
New York, NY 10268-1701                Denton, TX 76201-4149                     Odessa, TX 79763




D H Waters                             D Hardesty A Markle Ttee                  D J Duke
1426 Royal Troon Dr                    Markle Stuckey Clark Prft Shr U/A         10633 Pollack Avenue
Castle Rock, CO 80104-5246             Dtd 07/01/1989 Fbo Alan Markl             Newburgh, IN 47630
                                       101 Larkspur Landing Cir 200
                                       Larkspur, CA 94939



D J Oil Company Inc                    D J Trust                                 D Jax Corporation
4720 W Garriott                        4544 Cathedral Dr                         PO Box 1073
Enid, OK 73703                         Dallas, TX 75214                          Midland, TX 79702-1073




D K Boyd Oil And Gas Co Inc            D K Field Ltd                             D Kirk Edwards
PO Box 11351                           PO Box 567                                PO Box 14230
Midland, TX 79702                      Lockhart, TX 78644                        Odessa, TX 79768




D L Burnaman                           D L Mccoy                                 D L Wilson And Edith Wilson
14022 Walters Rd Trlr 1113             12439 County Rd 209                       3362 Estesville Rd
Houston, TX 77014-1300                 Hico, TX 76457                            Longview, TX 75602




D M King                               D M L Technical Search                    D Margaret Cherry
c/o Commonweath Of Pennsylvania        4818 Stillbrook Dr                        16707 Holly Trail Drive
Bureau Of Unclaimed Property           Houston, TX 77035                         Houston, TX 77058
PO Box 8500 53473
Philadelphia, PA 191783473



D Michael Haywood                      D O H Oil Company                         D P Wallace
3772 Bellair Blvd                      PO Box 1342                               c/o Texas Comptroller Of Public Accounts
Houston, TX 77025                      Sweetwater, TX 79556                      Unclaimed Property Division
                                                                                 PO Box 12019
                                                                                 Austin, TX 78711-2019



D Patrick Grubbs                       D Paul Peterson Et Ux                     D R Casing Services Inc
2818 E 88 St                           Alice Lann Peterson                       PO Box 3421
Tulsa, OK 74137                        PO Box 512                                Big Spring, TX 79721
                                       Simsboro, LA 71275




D R Energy                             D Rabun Smith Jr Lynn Guy Smith           D Ross Whittington
c/o Darryl Ekstrom                     211 Heron Trail                           1216 Lee Street
6024 Medicine Lake Rd                  West Monroe, LA 71291                     Benton, LA 71006
Minneapolis, MN 55422




D S Pumping Inc                        D S Sims Aka Della Smith Sims             D V M M Hunt Living Trust
1574 County Road 370                   c/o TX State Comptroller Of Public Accs   1549 Fm 840 East
Denver City, TX 79323                  Unclaimed Property Division               Henderson, TX 75654
                                       PO Box 12019
                                       Austin, TX 78711-2019
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D W Barnett                            D W Development Co              D2000 Safety Inc
2222 Fallbrooke Dr                     5705 State Highway 300          PO Box 2939
Grand Prairie, TX 75050                Longview, TX 756047129          Eugene, OR 97402




Dab Entrepreneur Enterprises           Dae Ii Partnership              Dagny W Crowley
525 Ridgelea Ave                       5485 Belt Line Road             1196 River Road
Longview, TX 75602-2051                Suite 170                       Edgewater, NJ 07020
                                       Dallas, TX 75243




Dahill                                 Dahlia Cook Mcmanus             Daily Electric Inc
PO Box 205354                          1517 N Travis                   700 S Eastman Rd
Dallas, TX 75320-5354                  Liberty, TX 77575-3139          Longview, TX 75602




Daily Energy Services LLC              Daimond F Well Service          Daisy C Garrett
2706 Redbud St                         2033 Highway 413                4530 Orchid Drive
Kilgore, TX 75662                      PO Box 599                      Los Angeles, CA 90043
                                       Lyman, WY 82937




Daisy Camille Sanders Rev Trst         Daisy Coleman                   Daisy G Brunson
Richard Sanders Ttee Exctr             General Delivery                6403 Glenhill Drive
4900 Holt Street                       Mansfield, LA 71052             Spring, TX 77389
Bellaire, TX 77401




Daisy Laverne Hanna Anderson           Daisy Lee Mccombs               Daisy Lee Williams Gant
210 Maple St                           9015 Hunters Glen Trail         6203 Sonhaven
Gladewater, TX 75647                   Fort Worth, TX 761202815        Shreveport, LA 71119




Daisy Lynn Neal                        Daisy Mae H Roberson Sep Prop   Daisy Parie Clark Green
7575 Madison Ave Apt 133               3177 Dance Circle Apt 26        1611 Bluebell Circle
Citrus Heights, CA 95610               Arcadia, LA 71001               Lockhart, TX 78644




Daisy Patrick                          Daisy Walker                    Daisy Z Spivey
1401 New Haven Rd                      108 Rock St                     1700 South Barnett Springs Roa
Wichita Falls, TX 76306                Sibley, LA 71073                Ruston, LA 71270




Dakel Company                          Dale Allen Carroll And          Dale Allen Halverson
c/o Jeffrey J Tempas                   Claire Savage Carroll           Lanette Woodard Halverson
5961 S Middlefield Rd Ste 100          160 Guy Rd                      145 Barbara Ln
Littleton, CO 80123                    Ruston, LA 71270                Arcadia, LA 71001




Dale And Joyce Crawford                Dale Ann Stewart                Dale Arseneault
5961 Se County Road 4090               6000 Johnston St Apt 605        60 10Th Street
Kerens, TX 75144-7145                  Lafayette, LA 70403             Lowell, MA 01850
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Dale Callen Jr                           Dale Cooper                                Dale Dunn
401 Solomon Lane                         PO Box 76                                  1329 Cardigan Ave
Midland, TX 79705                        Kenansville, FL 34739                      Ventura, CA 93001




Dale E Anderson                          Dale E Kearney                             Dale Fincher
2537 S Tacoma St                         PO Box 1601                                Route 1 Box 20
Kennewick, WA 99337-3634                 Jacksonville, TX 75766                     Joaquin, TX 75954




Dale Francis Bridges                     Dale G Nix Jr                              Dale Hale Pumping
PO Box 78                                PO Box 595                                 Box 894
Pylesville, MD 21132                     Mooringsport, LA 70069                     Tatum, NM 88267




Dale Lamar Harper Jr                     Dale Lamar Hill And Wife Joyce Lynn Hill   Dale Moreland Maccurdy
3503 Hickory Hill Lane                   541 Cr 3801                                204 Camborne Ln
Montgomery, TX 77356                     Joaquin, TX 75954                          Slidell, LA 70461-5004




Dale Norman Kinsey                       Dale R Janice J Sipes                      Dale Reed
19220 Space Center 1323                  3180 E County Road 58                      916 W Sabine
Houston, TX 77058                        Fort Collins, CO 80524                     Carthage, TX 75633




Dale Reese                               Dale Reese Est                             Dale Richardson
Dave E Reese Poa And                     Dave Reese Exec                            4933 Pawnee Drive
Diane Reese Currie Poa                   PO Box 907                                 Greeley, CO 80634
PO Box 907                               Bartlesville, OK 74005
Bartlesville, OK 74005



Dale Sheets                              Dale W Johnson                             Dale Warren Dyer
1813 C R 309                             PO Box 46313                               473 Cupit
Colorado City, TX 79512                  Plymouth, MN 55446-0313                    Longview, TX 756047603




Dale Woodard                             Dalen Resources OG Co                      Dallas County Tax Assessor
Olevia Woodard Sparks Poa                N Central Expressway                       Collector
4464 Longfellow Drive                    Ste 1000 6688                              PO Box 139066
Plano, TX 75093                          Dallas, TX 75206-3922                      Dallas, TX 75313-9066




Dallas County Utility                    Dallas G Whitt And Joyce R Whitt           Dallas Guinn Perkins Jr
Kenneth R Heffley                        2124 Eastbrook Se                          324 Franklin St
PO Box 140035                            Decatur, AL 35601                          Cambridge, MA 02139
Irving, TX 75014-0035




Dallas Harris Jr                         Dallas Kent Wiederkehr                     Dallas L Barnett
2540 Fm 2625 W                           PO Box 242                                 5518 North Fm 273
Marshall, TX 75672                       Freer, TX 78357                            Ivanhoe, TX 75447
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Dallas Mavis                             Dallas Petroenergies Ltd         Dallas R Puett Life Estate
PO Box 933567                            The Clay Management Trust        Victoria M Burk Mary Mumford
Atlanta, GA 31193-3567                   2007 Dublin Road                 Daryl Mumford Joe V Mumford
                                         Plano, TX 75094                  111 Wise Lane
                                                                          Hurdle Mills, NC 27541



Dallas Theological Seminary              Dallin Bagley                    Dalma Williams Briley
Farmers National Company                 2350 Oakhill Drive               626 S Montgomery
PO Box 3480                              Salt Lake City, UT 84121         Apt 13
Omaha, NE 68103                                                           Starksville, MS 39759




Dalman Ii LLC                            Dalphanie Hendrix                Dalta
George D Nelson Jr Manager               718 Hempstead 5                  PO Box 3062
214 Milam Street                         Hope, AR 71801                   Denver, CO 80201
Shreveport, LA 71101




Dalton Crane Lc                          Dalton Poncho                    Dalton Trucking Inc
PO Box 5606                              108 Sunkee Rd                    PO Box 5606
Victoria, TX 77903                       Livingston, TX 77351-3732        Victoria, TX 77903




Daly Donald Paul                         Dalya Corinne Mcbroom            Damage Recovery Unit
3536 Beverly Drive                       1604 North Hills Blvd Apt 5103   PO Box 842442
Fort Worth, TX 78117                     Hurst, TX 76053                  Dallas, TX 75284-2442




Damarjai Vintrell Davenport              Damiana A Benavides 1996 M Tr    Damiana A Benavides 1997 C Tr
2304 Martin Luther King Blvd             Manuel A Benavides Ttee          Manuel A Benavides Ttee
Longview, TX 75602                       1019 Chihuahua                   1019 Chihuahua
                                         Laredo, TX 78040                 Laredo, TX 78040




Damilawa LLC                             Damon Baxter                     Damon Leslie Littlefield
Farmers National Co Agent                PO Box 3232                      7010 Rice Gate
PO Box 3480                              Longview, TX 75606               Wilmington, NC 28411-7452
Omaha, NE 68103




Damon Scarbrough                         Damon Vanley                     Dan A Hughes Company Lp
1089 26Th St Apt 131                     PO Box 706                       P O Drawer 669
Oakland, CA 94607                        Gardendale, TX 79758             Beeville, TX 78104-0669




Dan A Jay M Haugh                        Dan Blocker                      Dan Blocker Petroleum Consultants Inc
1512 University Dr                       2704 E Marshall Ave              2704 E Marshall Ave
Laurence, KS 66044                       Longview, TX 75601-5925          Longview, TX 75601-5925




Dan Breaux                               Dan Brightwell                   Dan Brown Ross
211 Oak Valley                           PO Box 1684                      4459 Fm 124 W
Wimberley, TX 78676                      League City, TX 77574-1684       Beckville, TX 75631
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Dan Compton                               Dan Cryus Hillsman              Dan D Fisher
6550 Sw 88Th Pl                           And Wife Barbara Hillsman       20645 Southwood Oaks
Portland, OR 97223                        2004 Brookhill Dr               Porter, TX 77365
                                          Austin, TX 78745




Dan D Harris                              Dan D Rogers Trust              Dan D Van Buskirk
1308 Richmond                             Nationsbank Of Texas Trustee    7121 W Park Hill Ave
Olney, TX 76374                           PO Box 840738                   Milwaukee, WI 53213
                                          Dallas, TX 75284-0738




Dan Dumont                                Dan Edward Dulany Mary Dulany   Dan G Scurlock
3901 Mcgregor Ave South                   183 Cr 115                      PO Box 1392
Mobile, AL 36608                          Carthage, TX 75633              Shreveport, LA 71162




Dan Harrison                              Dan Linebarger                  Dan M Cox
Address Redacted                          1521 Oliver                     PO Box 289
                                          Midland, TX 79701               Round Top, TX 78954




Dan M Laroe Jr                            Dan Matthew Meador              Dan Murphy And Wife Nancy C Murphy
7241 E Fm 837                             6603 Betty Cook Drive           447 Murphy Road
Palestine, TX 75803                       Austin, TX 78723                Livingston, TX 77351




Dan Oliva                                 Dan Peacock                     Dan Rogers Cullum
235 Bruener Dr Unit 1                     PO Box 183                      11525 Wander Ln
Roseville, CA 95678                       Mineola, TX 75773               Dallas, TX 75230




Dan S Smith                               Dan Thomas                      Dan W Chilcoat
PO Box 60505                              6029 Forest Highlands           PO Box 322
Midland, TX 797110505                     Fort Worth, TX 76132            Lockesburg, AR 71846-0322




Dan W Futch                               Dan Whitten                     Dana Adrian Collins
2143 Fairfax                              PO Box 901                      7166 Lasalle
Denton, TX 76205                          Tatum, TX 75961                 Baton Rouge, LA 70806




Dana B Young                              Dana Boston Young Etal          Dana Bowden Harvey
PO Box 8258                               J D Boston As Agent             8707 Lelia Drive
Horseshoe Bay, TX 78657                   PO Box 8258                     Shreveport, LA 71106
                                          Horseshoe Bay, TX 78657




Dana Carrell Taylor                       Dana Danford Coulson            Dana H Clark
10219 Raritan Drive                       PO Box 8202                     3002 Wheeless Avenue
Houston, TX 77043                         Bacliff, TX 77518               Shreveport, LA 71104
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Dana Joy R Roy                          Dana Joy Richardson Roy And     Dana L Ashby
5815 Hwy 544                            Robert Holland Roy              6999 Fm 839 S
Simsboro, LA 71275                      5815 Hwy 544                    Henderson, TX 75654
                                        Simsboro, LA 71275




Dana M Cristina                         Dana Marie Dawkins              Dana Quentin Barber
8133 Lake Ave                           901 W San Mateo Rd Studio K     5330 Meritage Lane
Louisville, KY 40222                    Santa Fe, NM 87505              Grapevine, TX 76051




Dana Richardson                         Dana Roy Gardner                Dana S Morton
PO Box 553                              1414 Edelweiss Dr               1504 Baffo Road
Tenaha, TX 75974                        Allen, TX 75002-4415            Marshall, TX 75670




Dana Schauer Adams                      Dana T Smith                    Danah H Fayman Trust
4722 Bohill Street                      325 Fm 822                      Community Bank Of Raymore
San Antonio, TX 78217                   Edna, TX 77957                  PO Box 200
                                                                        Raymore, MO 64083-0200




Danco Pump Supply Co Inc                Dandra C Simmons                Danene Harvey
108 S 111Th E Ave                       3501 Lindenwood Ave             7010 Dalewood Lane
Tulsa, OK 74128                         Dallas, TX 75205                Dallas, TX 75214




Danette J Wright                        Danford Durrett Carrell         Danford I Smith
PO Box 681                              6606 Crystal Point              17904 Crystal Cove
Coleman, TX 76834                       Katy, TX 77449                  Jonestown, TX 78645




Dang Charles M                          Dang E LLC                      Daniel A Dowdy
Address Redacted                        c/o William S Evans Jr          2501 South Van Buren St
                                        PO Box 5227                     Amarillo, TX 79109
                                        Eugene, OR 97405




Daniel A Happick                        Daniel A Pedrotti               Daniel Aaron Forman
2411 Spring Valley Drive                539 N Carancahua Ste 1100       31 Herrada Road
Bel Air, MD 21015-1314                  Corpus Christi, TX 78401-0015   Santa Fe, NM 87508




Daniel Andrew Armour                    Daniel Anthony Mansheim         Daniel B Wyatt And Janet M Wyatt
2066 Haynes Road                        PO Box 8709                     PO Box 1205
Shongaloo, LA 71072                     Corpus Christi, TX 78468        Winnfield, LA 71483




Daniel Benjamin Durrett                 Daniel Bradley Funk             Daniel Buehn
PO Box 12                               161 S Humboldt                  Address Redacted
Simsboro, LA 71275                      Denver, CO 80209
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Daniel C Shepardson                       Daniel C Williams              Daniel Carne Cunningham
1395 S Vine Street                        7908 Pilgrim Dr                5630 Preston Fairways Drive
Denver, CO 80210                          Amarillo, TX 79119             Dallas, TX 75252




Daniel Clark                              Daniel E Fisher Sr             Daniel E Heaton
Address Redacted                          13208 Ashley Creek Drive       10602 Wagon Trail Rd
                                          Pickerington, OH 43147         Houston, TX 77064




Daniel E Tutt                             Daniel Energy Inc              Daniel F Collins
131 Private Rd 4434                       PO Box 5909                    5617 Hillsborough
Longview, TX 75605                        Midland, TX 79704              Plano, TX 75093-8505




Daniel Family Trust                       Daniel Garner Ruth             Daniel H Jackson
3201 Plumas St                            118 N Bishop Street            Address Redacted
Apt 125                                   San Marcos, TX 78666
Reno, NV 89509




Daniel H Silverman                        Daniel H Spoor                 Daniel Hanuka
202 Travis Ste 402                        113 Golf View Dr               140 Broadway 29th Floor
Houston, TX 77002                         Georgetown, TX 78633-4826      New York, NY 10005




Daniel Harris                             Daniel Harrison                Daniel Heritage Farms Lp
876 Custer Street                         PO Box 5401                    Jp Davis
Hapeville, GA 30354                       Clearlake, CA 95422            2203 Oak Alley
                                                                         Tyler, TX 75703




Daniel Heritage Minerals Lp               Daniel J Cullinan              Daniel J Cullinan Estate
c/o Daniel Heritage Minerals Management   3 Palisade Rd                  3 Palisade Road
2203 Oak Aly                              Elizabeth, NJ 07208            Elizabeth, NJ 07208
Tyler, TX 75703




Daniel J Kruppa                           Daniel J Obendorfer            Daniel J Saloom
12415 Muller Sky Court                    19885 Detroit Rd               PO Box 80276
Tomball, TX 77377                         Pmb 293                        Lafayette, LA 70598
                                          Rocky River, OH 44116




Daniel J Tartaglia                        Daniel J Wolter                Daniel James Campbell
6428 Ridge Terrace No 761                 5500 S 320Th Street            3312 Canal St
Orlando, FL 32810-2523                    Auburn, WA 98001               Ruston, LA 71270-6680




Daniel James Campbell Trust               Daniel James Curry             Daniel K Walsh
Susan Campbell Tidwell Trustee            PO Box 967                     11130 Monarch Dr
6195 Fm 251 South                         San Marcos, TX 78666           Frisco, TX 75034
Bivins, TX 75555
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Daniel Kelly Glenn                       Daniel Kevin Murphy            Daniel L Armstrong
4885 Cr 344                              247 Union Hill Church Rd       2015 East Marshall Ave Lot 1
Early, TX 76802                          Hendersonville, NC 287925490   Longview, TX 75601




Daniel L Crutcher                        Daniel Largent                 Daniel Lee Brymer
322 Stilz Ave                            9258 Cr 113                    2600 Hwy 73
Louisville, KY 40206                     Centerville, TX 75833          Marianna, FL 32448




Daniel Lee Watson                        Daniel M Mclellan              Daniel M Mclellan Testamentary Tr
333 Nw 17 Ct                             805 Keystone Court             c/o Diane M Mclellan Ttee
Unit 304                                 Midland, TX 79705              805 Keystone Court
Fort Lauderdale, FL 33311                                               Midland, TX 79705




Daniel Mcgowan                           Daniel Mead                    Daniel Nobles Brown
Address Redacted                         3718 E 82 St                   PO Box 1234
                                         Tulsa, OK 74136                Georgetown, TX 78627




Daniel Oliver Hesser                     Daniel OMadigan Gribble        Daniel Orman Cannon
970 Silver Maple                         1 Phillips Circle              Jacqueline Orman Cannon Rausch Poa
Big Sandy, TX 75755                      Laguna Niguel, CA 92677        700 Farrington Street
                                                                        Alba, TX 75410




Daniel Ornelas                           Daniel P Toomey Tr             Daniel Pasillas
Address Redacted                         Bank Of America Na Agt         Address Redacted
                                         PO Box 840738
                                         Dallas, TX 75284




Daniel Pedroza                           Daniel Poche                   Daniel R Donaldson
Address Redacted                         Address Redacted               12441 Kentmere Ave
                                                                        Baton Rouge, LA 70810




Daniel R Dunn                            Daniel R Lorine Montfort       Daniel R Mcintyre Jr
27381 Oak Knoll Drive                    124 Lynette Drive              4068 Indigo Street
Bonita Springs, FL 34134                 West Monroe, LA 71292          Palm Springs, CA 92262




Daniel R Rowe                            Daniel S Standifer             Daniel Smith
1515 Hyde Park 4                         140 East Puente                328 County Road 129
Houston, TX 77006                        Covina, CA 91723               Gary, TX 75643




Daniel Steven Owens                      Daniel Stewart                 Daniel Stewart Strain
2121 Allen Parkway                       Address Redacted               3429 Judy Lane
Apt 1087                                                                Shreveport, LA 71119
Houston, TX 77019
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Daniel Taylor Roach                     Daniel V Bond                     Daniel V Guerrero
PO Box 600                              5627 Dumfries Dr                  PO Box 797
Winona, TX 75792                        Houston, TX 77096-3919            Freer, TX 78357




Daniel W Chadwick Jr                    Daniel W Fry                      Daniel Walker
903 Camp Street                         3958 Allenhurst Dr                251 Medical Center Blvd 240
Kilgore, TX 75662                       Norcross, GA 30092                Webster, TX 77598




Daniel Warren Collins And               Daniel Wayne Roberts              Daniel Wesley Reed
Molly Dranquet Collins                  248 Fish Haven Road Lot 17        1757 Sweeden Road
C/O Argent Property Serv Llc            Auburndale, FL 33823              Russellville, AR 72802
PO Box 1410
Ruston, LA 71273



Daniel Winn Shepherd                    Daniel Wolf Dba                   Daniel Young
PO Box 947                              Irw Holding Company Llc           3172 Smelley Road
Timpson, TX 75975                       711 Louisiana Ste 1660            Longview, TX 75605
                                        Houston, TX 77002




Daniele Alexander                       Danielle Davis                    Danielle Denise Fisher
c/o Basic Business Services             Address Redacted                  7448 Anderson Blvd
18208 Preston Rd                                                          Fort Worth, TX 76120
Ste D 9 Pmb 342
Dallas, TX 75252



Danielle Hannifin                       Danielle K Papetti                Danielle K Shipley
c/o D L Hannifin                        Address Redacted                  27506 Pinkstone Court
PO Box 182                                                                Katy, TX 77494
Roswell, NM 88202




Danielle Nicole King                    Danielle Rena Smith               Danielle Umphress Dba Design Expressions
Donna Summers Guardian                  13142 Fm 1654                     PO Box 111761
PO Box 60                               Center, TX 75935                  Carrollton, TX 75011
Hallsville, TX 75650




Daniels Family Trust                    Danish Lease Group                Danish Lease Group Ii
U/A 3/19/92 Lyra B Daniels              c/o Kris Kon Business Brokerage   4809 Cole Ave Ste 109
Trustee 5 Braewick Court                4809 Cole Ave Ste 109             Dallas, TX 75205
Dallas, TX 75225                        Dallas, TX 75205




Danita Rose Shulman                     Danlin Industries Corporation     Danlin Industries Corporation
238 N Auburn St                         Dept 3420                         Jan Eschenbacher
Grass Valley, CA 95945                  PO Box 123420                     PO Box 677464
                                        Dallas, TX 75312-3420             Dallas, TX 75267




Danna Mahoney Meador Fam Tr             Danna Sanders Lane                Danna Sanders Lane Trust
2530 E 56Th Pl                          8580 Beaverwood Drive             Daisy Camille Sanders Rev Trt
Tulsa, OK 74105                         Germantown, TN 38138              Danna Sanders Lane Sub Ttee
                                                                          8580 Beaverwood Drive
                                                                          Germantown, TN 38183
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Danna Thomas Sims                        Dannie G Bridges Jr                     Dannita R Robinson
3203 Pebblebrook Cir                     559 W Hammond                           7530 Dr Hector P Garcia Dr
Tyler, TX 75707                          Lancaster, TX 75146                     Corpus Christi, TX 78414-2179




Danny Alton Campbell                     Danny B Pearson                         Danny Bradley
111 Barcelona Dr                         3783 Felts Rd                           10231 David Moore Dr
Universal City, TX 78148                 Arcadia, LA 71001-6403                  Austin, TX 78748




Danny Brooks                             Danny C Baird                           Danny D Sandifer
304 E Titus St                           10000 Hertitage Dr                      Address Redacted
Mexia, TX 76667-3259                     Shreveport, LA 71115




Danny Davis                              Danny E Craig Or Adelyne Yvette Craig   Danny E Marshall And
48 Grover Ln                             316 Radar Rd                            Sandra Marshall Jtwros
Oroville, CA 95965                       Longview, TX 75603                      345 Treasure Oaks Road
                                                                                 Inez, TX 77968




Danny Estes                              Danny Finucane                          Danny Franklin Jones
PO Box 1365                              6740 Longleaf Trce                      816 Dogwood Ln
Clyde, TX 79510                          Ball, LA 71405-3172                     Hideaway, TX 75771




Danny H Thomas                           Danny Harold Henley                     Danny Harrell
190 Old Mineral Springs Rd               2213 Pine St                            140 Cockerham Ln
Calhoun, LA 71225                        Arcadia, LA 71001                       Ruston, LA 71270




Danny Hunter                             Danny Jackson                           Danny Joe Carroll
14056 Bumpy Hill Rd                      1306 Neches Dr                          Betty Carroll
Altha, FL 32421                          Allen, TX 75013                         687 Connel Ferry Rd
                                                                                 Joaquin, TX 75954-2452




Danny K Foster                           Danny L Nail                            Danny Lagrone
420 Ouachita 376                         PO Box 2632                             306 Bogie
Camden, AR 71701                         Lindale, TX 75771                       Longview, TX 75604




Danny Lee Bell                           Danny Lee Dorsey                        Danny Lewis
315 Forest Creek Drive                   1707 Sunbeam                            1419 Harmon Street
Ruston, LA 71270                         Longview, TX 75604                      Berkeley, CA 94702




Danny Lynn Carroll And                   Danny M Branch                          Danny Mark Austin
India D Carroll                          8308 Calle Primera Nw                   PO Box 114
PO Box 745                               Albuquerque, NM 87120                   Choudrant, LA 71227
Ruston, LA 71273
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Danny Mccrary Separate Prop            Danny Ponder                   Danny Prior
9529 Rochel Dr                         11301 Hwy 259                  4747 Lavner St
Shreveport, LA 71115                   Overton, TX 75648              San Diego, CA 92113




Danny Q Dorsey                         Danny R Lang                   Danny R Richardson
4024 Charleston Park                   120 West Iowa                  1124 Hallmark Drive
Tyler, TX 75701                        Van, TX 75790                  Shreveport, LA 711184826




Danny R Tonroy                         Danny Ray Davidson             Danny Ray Haskins Nikki Haskins
PO Box 961                             140 Back Forty Road            Haskins Trucking
Aledo, TX 76008                        Arcadia, LA 71001              P O Drawer 7729
                                                                      Longview, TX 75607




Danny Ray Hinkle                       Danny Roy Fuller               Danny Roy Moore
380 Hwy 21 W                           197 Tulsa Rd                   208 Pinecrest Drive
Cedar Creek, TX 78612                  Eros, LA 71238                 Arcadia, LA 71001




Danny Sims                             Danny Tower                    Danny W Owen
Address Redacted                       1022 Dolphin Place             120 Sauls Lane
                                       Corpus Christi, TX 78411       Saulsbury, TN 380678218




Danny Wayne Plunkett                   Danny Wayne Tatum              Danny Yates
103 Trail Of Flowers                   3721 Moreland St               2997 Fm 31N
Georgetown, TX 78633                   Ruston, LA 71270               Deberry, TX 75639




Dannye Hinton                          Dannys Hot Oil Services Inc    DannyS Service Company Ltd
534 Null Road                          PO Box 682                     PO Box 1177
Ruston, LA 71270                       Tatum, NM 88267                Denver City, TX 79323




Dansco Manufacturing Inc               Danske Capital Denmark         Dante Valve Company Inc
PO Box 3354                            Parallelvej 17                 15230 Lakewood Blvd
Abilene, TX 79604                      2800 Kgs Lyngby                Bellflower, CA 90706
                                       Denmark




Dapco Services Inc                     Daphna D Warner Trst           Daphne Diane Johnson Thompson
Chris Benson                           Of Daphna D Warner Tr          2307 Hwy 160
PO Box 1425                            275 Madison St                 Benton, LA 71006
Friendswood, TX 77549                  Denver, CO 80206




Daphne Filiberti                       Daphne L Webster               Daphne Smith
12787 Cherrywood Street                11061 Ranger Drive             811 Mark Trail
Poway, CA 92064                        Los Alamitos, CA 90720         Winnsboro, TX 75494
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Daphne Sonenshine                       Dapl                           Daranco LLC
28609 Greenwood Place                   Tsrh Golf Tournament           303 W Loop 281
Castaic, CA 91384                       PO Box 600096                  Suite 110 133
                                        Dallas, TX 75360-0096          Longview, TX 75605




Darby Ley Wilson                        Darcy N Harris                 Dare Westmoreland
3710 Masters Court                      165 Marion Pl 809              2816 East Loop 390 North
League City, TX 77523                   Atlanta, GA 30307              Marshall, TX 75672




Daren John Wells                        Daren K Wilson                 Darin Andrew Woods
Maureen Bennett Wells                   1207 Mahogany Ln               16511 Hwy 151
2850 Leeward Ln                         Cedar Park, TX 78613           Arcadia, LA 71001
Naples, FL 34103-4036




Darin Lawrence Welding                  Darin Lopez                    Darin M Coker
PO Box 387                              Address Redacted               294 Jill Loop
Post, TX 79356                                                         Ruston, LA 71270




Darin Ray Sanders                       Darin Woods Welding Svc LLC    Dario N Didonato
13711 N Virginia Ave                    16511 Highway 151              251 W View Ave
Smithville, MO 64089                    Arcadia, LA 71001              Pittsburgh, PA 15229-2242




Darius Dequint Hunter                   Dark Energy Inc                Darla G Lee
Tiffany Wilane Wright Hunter            PO Box 50694                   Po Drawer 149
PO Box 195                              Midland, TX 79710              Freer, TX 78357
Grambling, LA 71245




Darla Jean Funk                         Darla K Mcmurray               Darla Lyons
1245 Garfield                           3801 Cobblestone Ln            1960 Eastpark
Denver, CO 80206                        Port Arthur, TX 77642          Richardson, TX 75081




Darla S Mcdaniel                        Darla Smith Donaldson          Darlene Adams Herndon
1377 Nw Com Caddo Line Rd               19391 De Marco Road            5565 Ackerfield Apt 503
Apache, OK 73006                        Riverside, CA 92508            Long Beach, CA 90805




Darlene Baird                           Darlene Beatrice Colston       Darlene Carlton Trust
106 Lasater Lane                        272 Cr 405                     Darlene Carlton Trustee
Bullard, TX 75757                       Three Rivers, TX 78071         28690 Cedarama Dr
                                                                       Marcellus, MI 49067




Darlene Cole Ellis                      Darlene Glennon                Darlene Johnston
1251 Nw 48Th Pl                         1522 Joe Bill St               3817 Nw Cr 0003
Pompano Beach, FL 33064-1020            West Monroe, LA 71292          Corsicana, TX 75110
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Darlene M Kelley Widow Of Charles Kelley   Darlene Marshall                 Darlene Mclauglin Williams
3089 Second Street                         2706 Highland Ct                 5700 Mack Rd Apt 286
Clear Lake, CA 95422                       Sugar Land, TX 77478             Sacramento, CA 95823




Darlene Rene Sizer                         Darlene Stella Fuller            Darlene Tompkins
2506 Materhorn Dr                          401 S Palestine 141              PO Box 372
Dallas, TX 75228                           Athens, TX 75751                 Beckville, TX 75631




Darlene Wallace                            Darlina A Clark Lifetime Trust   Darlington Oil And Gas Company
709 Webster Bluff Rd                       U/Lorraine G Adams Family Tst    1025 Cordova St
Farmerville, LA 71241                      Darlina Adams Clark Trustee      Dallas, TX 75223
                                           6800 Del Norte Ln 104
                                           Dallas, TX 75225



Darlynn Roan Pittman                       Darnell Holdings LLC             Darold M Younger
102 Fish Creek Ln                          9607 Hillview Dr                 12542 Paramount Blvd Apt 122
Montgomery, TX 77316                       Dallas, TX 75231                 Downey, CA 90242




Darold Vandewerker Jr                      Darrel Alejandro Jernigan        Darrel H Mcfadden Leslie A Mcfadden
3542 Reaves Road                           2415 Culver Rd                   2180 Se Cr 3110
Cleveland, TX 77328                        Tuscaloosa, AL 35401             Corsicana, TX 75109




Darrell Alford                             Darrell And Kathryn Yates        Darrell Gene Johnston
1371 Cr 3169                               PO Box 207                       2394 S Juniper Cir
Joaquin, TX 75954                          Deberry, TX 75639                Denver, CO 80228




Darrell Goebel                             Darrell H Dillavou               Darrell Holder Roberts
3710 Decathlon Parkway                     1719 212Th St                    5121 Fm 762 Rd
Billings, MT 59102                         Waverly, IA 50677                Richmond, TX 77469-9312




Darrell Keith Roberts                      Darrell L Crim                   Darrell L Richardson
1911 Purdue Dr                             122 Countryside Dr               Frances Whittington Richardson
Glenn Heights, TX 75154                    Arlington, TX 76014              5778 Hwy 544
                                                                            Simsboro, LA 71275




Darrell LaCour                             Darrell Lynn Richardson S/P      Darrell M Blankenship
124 Monroe Street                          5778 Hwy 544                     5793 Gravenstein Highway
Ball, LA 71405                             Simsboro, LA 71275               Sebastopol, CA 95472




Darrell Mcmullen Misty Mcmullen            Darrell Mitchell                 Darrell T Yates
611 Zodie Sims Road                        18214 Burbank Blvd Unit 204      PO Box 207
Calhoun, LA 71225                          Tarzana, CA 91356                Deberry, TX 75639
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Darrell W Gunn                          Darren C Swift                       Darren D Hulse
PO Box 563                              13098 Bluff Rd                       911 Stevenson St
Harlingen, TX 78551                     Geismar, LA 70734                    Lafayette, LA 70501




Darren Lee Reeves                       Darren Scott Moak Kimberly H Moak    Darrin Gray
6000 Medina Dr                          138 Deer Creek                       921 Main St Apt 715
Midland, TX 79707                       Arcadia, LA 71001                    Buffalo, NY 14203-1162




Darrin Moore                            Darrin Newland                       Darryl D Minor
25127 Hogan Bridge Dr                   4528 Lake Springs Lane               2960 W 21st Ave
Spring, TX 77389-4279                   Holladay, UT 84117                   Gary, IN 46404




Darryl Ford                             Darryl J Arrington                   Darryl P Ekstrom 1982 Trust
4023 Pelican Ct                         2112 E 72nd Pl                       6024 Medicine Lake Rd
Discovery Bay, CA 94505                 Chicago, IL 60649                    Crystal, MN 55422-3330




Darryl Scott Hudson                     Darryl Young                         Darvish Systems Inc
4615 Lester                             1823 Mustang Springs                 4570 Westgrove Dr Ste 120
Arlington, TX 76016                     Missouri City, TX 77549              Addison, TX 75001-5360




Darwin Graninger Welding                Daryl A Roper And Patricia J Roper   Daryl A Stubblefield
Box 1501                                2222 Lansing Switch Road             2356 S Linden Way Unit F
Levelland, TX 78336                     Longview, TX 75650                   Palm Springs, CA 92264-5759




Daryl C Hill                            Daryl Colbert                        Daryl Crosswell
PO Box 59521                            74 Turk Street Apt 18                D R Fund
Los Angeles, CA 90041                   San Francisco, CA 941022808          6815 Hertford Park Dr
                                                                             Houston, TX 77084-1572




Daryl Glen Dulany                       Daryl Glenn Williams And             Daryl L Mumford Francine H Mayfield
906 S High St                           Cristi Lynn Williams                 Dallas Puet
Henderson, TX 75654-3942                20717 Cr 2218                        1418 Dartmouth Street
                                        Tatum, TX 75691                      Longview, TX 75601




Daryl Mumford                           Daryl Mumford Dallas Puett           Dascon Compression
1416 Dartmouth Street                   1416 Dartmouth Street                242 Loma Dr A 2
Longview, TX 75601                      Longview, TX 75601                   Zapata, TX 78076




Data Storage                            Database Concepts Inc                Datacom LLC
7370 East 38Th Street                   PO Box 2636                          100 Enterprise Blvd
Tulsa, OK 74145                         Austin, TX 78768                     Lafayette, LA 70506
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Datalog Acquisition Corp               Datalog Acquisition LLC         Datawatch Corporation
6550 W Sam Houston Pkwy North          PO Box 301003                   4 Crosby Dr
Houston, TX 77041                      Dallas, TX 75303-1003           Bedford, MA 01730-1402




Datawatch Systems Inc                  Daunis Properties L P           Daurline F Tanner
PO Box 79845                           1635 Rogers Road                307 Crosley Street
Baltimore, MD 21279-0845               Fort Worth, TX 76107            West Monroe, LA 71291




Davaga S Magee                         Davage T Minor                  Dave Bannister
502 E Pheasant Run Drive               2960 W 21st Avenue              Dba DaveS Flow Measurement
Hobart, IN 46342                       Gary, IN 46404                  1012 Ne Frontage Rd
                                                                       Fort Collins, CO 80524




Dave Davlin                            Dave E Reese                    Dave Mcneill Iii
23242 Bison Canyon                     2800 Monticello Drive           2924 East Wildwind Circle
San Antonio, TX 78261                  Bartlesville, OK 74006          The Woodlands, TX 77380




Dave Norris Consulting LLC             Dave P Champagne Sr             Daves Flow Measurement
PO Box 415                             Roselyn B Champagne             PO Box 2124
Evanston, WY 82931                     346 Hidden Acres Road           Fort Collins, CO 80522-2124
                                       Arcadia, LA 71001




Davey Dixen Atkins                     David A Banta Jr                David A Bayles
3114 Cabot St                          PO Box 707                      Address Redacted
Montgomery, AL 36110                   Montgomery, TX 77356




David A Bower Grntr Tr Agency          David A Bower Investment Mgmt   David A Boyd
Frost Bank Management Agent            Agency Agreement                2144 Russell Drive
PO Box 1600                            c/o Frst National Bank Na       Longview, TX 75602
San Antonio, TX 78296                  PO Box 1600
                                       San Antonio, TX 78296



David A Carlson Family Tr              David A Carlson Family Trust    David A Carolyn A Robinson
David A Carlson Ttee                   David Carlson Trustee           3233 Breton
PO Box 441                             PO Box 754                      Plano, TX 75025
Newberry, SC 29108                     Newberry, SC 29108




David A Coe                            David A Crockett                David A Devos
860 Sw Dover Ln                        101 Dawson Dr                   8270 Nw 49Th Manor
Madras, OR 97741                       Seaford, VA 23696               Coral Springs, FL 33067




David A George                         David A Guest                   David A Haack
c/o Farmers National Co Agent          PO Box 3441                     1706 Pepper Hill Ln
Oil Gas Management Dept                Edmond, OK 73083                Sugar Land, TX 77479
Lock Box 3480
Omaha, NE 68103
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David A Kaplan                            David A Niell                    David A Wilson Testamentary Tr
3003 Roberts Ct                           607 E Belknap St                 1127 Judson Rd Ste 254
Pineville, LA 71360                       Seymour, TX 76380                Longview, TX 75601




David A Wilson Trust                      David Aaron Fuqua                David Abe Persinger
Kyle L Wilson Trustee                     8814 Village Ter                 PO Box 450
c/o Wilson Resources Inc                  Houston, TX 770407641            Troup, TX 75789
1127 Judson Road Suite 254
Longview, TX 75601



David Acevedo                             David Alan Kempf                 David Alan Reel
1620 Lane St                              210 Towering Oaks Haven          221 Forestview
Laredo, TX 78043                          Longview, TX 75602               Luca, TX 75002




David Alan Reeves                         David Alan Richter               David Allen Colvin
2910 Florence St                          220 Masterson Road               4570 Highway 167
Kilgore, TX 756623942                     Laredo, TX 78046-8414            Dubach, LA 71235




David Allen Heath                         David And Pattie Eaves           David Andrew Seba
3018 Hickory Ridge Circle                 PO Box 263                       16803 Fort Pulaski Avenue
Bryan, TX 77807                           Joaquin, TX 75954                Baton Rouge, LA 708173222




David Andrews                             David Anthony Lewis              David Ashley Tompkins
c/o Texas State Treasury                  40741 Oakmont Ct                 703 Barron Street
Unclaimed Property Division               Palmdale, CA 93551               Carthage, TX 75633
PO Box 12019 Capitol Station
Austin, TX 78711-2019



David Ashley Tompkins Successr            David Austin Blalock             David B Bowen
Trustee For The Living Trust              3717 St Hwy 137                  8 Morven Terrace
Agreement Dtd 03/15/96                    Stanton, TX 79782                Huntsbury Christchurch 8022
701 Barron                                                                 New Zealand
Carthage, TX 75633



David B Dumas                             David B Fenton                   David B Green
1050 Devonshire Dr                        8833 Farm Road 1567 E            3522 Bassett Court
Providence Village, TX 76227              Sulphur Springs, TX 75482-8886   Missouri City, TX 77459




David B Hamlin                            David B Horton                   David B Lewis
2865 Fir Avenue                           PO Box 1262                      742 Ashbrook Dr
Morro Bay, CA 93442                       Haughton, LA 71037               Chula Vista, CA 91913




David B Long                              David B T Myrick Jr              David B Taylor
804 Tallyho Circle                        PO Box 691425                    4204 W Quincy St
Tyler, TX 75703                           San Antonio, TX 78269            Broken Arrow, OK 74012
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David B Thompson                        David B Thompson Estate           David B Tooke
1109 E Lake Place                       Cynthia Dalton Personal Rep       23305 Highway 2
Fort Collins, CO 80524                  1824 Lakeshore Circle             Homer, LA 71040
                                        Fort Collins, CO 80525




David B Williams                        David B Williams And              David B Wormser Family Trust
1235 Flanagan Rd                        Paula Paula D Williams            David B Wormser Trustee
Tatum, TX 75691                         1235 Flanagan Road                PO Box 509
                                        Tatum, TX 75691                   Schertz, TX 78154




David Barrow Construction Inc           David Beck Jr                     David Belton
527 Cupit Rd                            3010 Townbluff Dr                 PO Box 941
Longview, TX 75604                      Plano, TX 75075                   Hodge, LA 71247




David Bernard Moore                     David Berry                       David Bialer
PO Box 743                              126 Bellfalls Dr                  8050 SW 10th St Ste 400
Terrell, TX 75160                       Georgetown, TX 78633-4941         Plantation, FL 33324




David Bilbrey                           David Blackshear Key              David Boone Oilfield Consulting Inc
Hc 65 Box 55                            PO Box 941                        3022 Lake Creek Drive
Crossroads, NM 88114                    Point Clear, AL 36564             Highland Village, TX 75077




David Bosecker                          David Brian Harmon                David Brian Huckert
PO Box 2128                             5812 Fremont Dr                   Dba Twisted H Trucking
Brownwood, TX 76804                     Mckinney, TX 75071                1308 South 10Th
                                                                          Lamesa, TX 79331




David Bruce Hornung                     David Brundige Jr And             David Bulter Gray
1401 Country Club Drive                 Margaret A Brundige               7202 Lane Park Drive
Cameron, TX 76520                       914 Se Cr 3129                    Dallas, TX 75225
                                        Corsicana, TX 75109




David Byron Bussey                      David C And Katherine Tyrrell     David C Bainer
1433 Highway 8 South                    Agent Aif For William S Tyrrell   170 New Meadow Rd
New Boston, TX 75570                    333 Texas Street Suite 1120       Barrington, RI 02806
                                        Shreveport, LA 71101-3676




David C Hobbs                           David C Hon                       David C Hon Flaudie V Hon
1741 Garraux Rd                         264 David Hon Road                264 David Hon Road
Atlanta, GA 30327                       Livingston, TX 77351              Livingston, TX 77351




David C Hull Jr Gst Trust               David C Hurst                     David C Lipton
3734 Willowick Road                     22558 Crimson Ln                  1960 Highway 425 N Apt 15
Houston, TX 77019                       Frankfort, IL 60423               Monticello, AR 71655-8977
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David C Mchugh                           David C Mcmullan              David C Prichard
474 Third Avenue                         PO Box 1742                   16314 Thunderbay Drive
Fox Island, WA 98333                     Mont Belvieu, TX 77580        Houston, TX 770625111




David C Spoor                            David C Tyrrell               David C Wells
7603 Vinewood Ct                         Katherine Tyrrell Boruff      109 Janelle Dr
San Antonio, TX 78209                    Margaret S Tyrrell Co Admin   Bay St Louis, MS 39520
                                         4925 Greenville Ave Ste 900
                                         Dallas, TX 75206



David Chambers                           David Chance                  David Charles Hill
1511 Poppy Dr                            1173 County Road 3344         2888 Rheem Ave
Haslet, TX 76052-6817                    Joaquin, TX 75954-5501        Richmond, CA 94804




David Charles Longshore                  David Charles Rogers          David Chester Powell
266 Fox Hollow Blvd                      11902 Oak Hills Dr            1260 Fm 1798 West
Forney, TX 75126                         Bentonville, AR 727128783     Mt Enterprise, TX 75681




David Clay Hogan Jr                      David Colvin Hammon           David Compton
Charles Schwab Co Inc Cust               138 E Wilde Yaupon Circle     12102 Shadow Point Drive
Sep Ira                                  The Woodlands, TX 77381       Houston, TX 77082
10128 Ridgewood Oak Drive
Lakeland, TN 38002



David Cosgrove                           David Coulter Templeton       David Crawford Strain
31890 Padeo Navarra                      815 Norma St                  3566 W 13Th Ave Apt 263
San Juan Capistrano, CA 92675            Nacogdoches, TX 75965-1957    Eugene, OR 97402




David Crow Trustee                       David D Hahn                  David D Hahn Tr
900 Pierremont Road                      545 Hackberry Bend            David D Hahn Ttee
Suite 221                                Port Lavaca, TX 77979         545 Hackberry Bend
Shreveport, LA 71106                                                   Port Lavaca, TX 77979




David D Mcmillan And Myrtle M Mcmillan   David Dean Brown              David Denkeler
1514 Nat Street                          138 Glen Knoll Drive          Dba Double D Dynamics
West Monroe, LA 71292                    Wylie, TX 75098               PO Box 568
                                                                       Judson, TX 75660




David Denton Harris                      David Dickson                 David Doherty
4577 State Hwy 149                       PO Box 764                    55866 Amethyst Dr
Beckville, TX 75631                      La Porte, TX 77572-0764       White Water, CA 92282




David Dorsey                             David Dunlop                  David Dustin Dobbins
6213 Fm 2276 North                       Address Redacted              Address Redacted
Henderson, TX 75652
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David E Beck                           David E Brazzel                David E Burks
Address Redacted                       933 Pennington Ln              1332 Clarks Rd
                                       Ruston, LA 71270-1902          Rustburg, VA 24588-4050




David E Frye                           David E Hughes                 David E King
PO Box 443                             7665 Querida                   405 West 5Th Street
Seneca, MO 64865                       Dallas, TX 75248               Ada, OK 74820




David E Mason                          David E Turner                 David E Wicker Iii
5857 Timbergate Drive Al 1314          1665 Highway 151 S             18405 Hemington Ct
Corpus Christi, TX 78414               Calhoun, LA 71225-9041         Dallas, TX 75252




David E Wynne                          David Earl Brightwell          David Earl Brown
PO Box 74                              PO Box 704                     PO Box 55
Wimberley, TX 78676                    Frankston, TX 75763            Quitman, LA 71268




David Earl Porter                      David Earl Rogers              David Edward Berry
4617 Verdome Ln                        1604 Timothy Street            126 Belfalls Dr
Houston, TX 77092-3618                 Henderson, TX 75654            Georgetown, TX 78633-4941




David Edward Colvin                    David Edward Olvey             David Edward Richardson
55563 Kerns Road                       Route 3 Box 75                 2911 Polk Road
St Ignatius, MT 59865                  Tallulah, LA 71282             Alpine, CA 91901




David Edward Sharbutt                  David Edwin Wylie              David English
4621 91st St                           204 Horseshoe Dr               1701 York Dr
Lubbock, TX 79424                      Kilgore, TX 75662-2820         Nacogdoches, TX 75965




David Evans Calvert                    David F Barmore                David F Sims Survivors Trust A
10431 Holland St                       295 Tanglewood Loop            David F Sims Trustee
West Minister, CO 80021                Deridder, LA 70634             PO Box 520
                                                                      Argyle, TX 76262




David Fair                             David Fallin                   David Fischer Jr
5805 Red Wolf Lane                     1801 Poyntz Avenue             Address Redacted
Plano, TX 75093                        Manhattan, KS 66502-3947




David Foshee Sarah Foshee              David Foster Holloway          David Francis Michie
401 Uncas Street                       22782 Hwy 371                  PO Box 726
Logansport, LA 71049                   Cotton Valley, LA 71018        Rawlins, WY 82301
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David G Autrey                            David G Evanson                 David G Glickman
51 Flatwoods Road                         720 69Th Ave North              Charles Schwab Co Inc Cust
Travelers Rest, SC 29690                  Brooklyn Center, MN 55430       Ira Rollover
                                                                          52 Tamalpais Terrace
                                                                          San Francisco, CA 94118



David G Lloyd Dds                         David G Lloyd Jr                David G Myers
215 Cardinal Ave                          227 Geneseo Rd                  Welding Fabrication
San Antonio, TX 78209                     San Antonio, TX 78209-5913      489 Fm 3172
                                                                          Shelbyville, TX 75973




David G Rainbolt                          David G Wilson                  David Gao
PO Box 51131                              1319 Midland Avenue             Address Redacted
Lafayette, LA 70505                       Longview, WA 98632




David Garcia                              David Garshelis                 David Gary
PO Box 111                                35132 Hanna Road                16682 Cr 2203
Freer, TX 78357                           Cohasset, MN 55721              Arp, TX 75750




David Gaylon Holley                       David George Kimball            David George Swerer
1300 Montclaire                           111 Park Avenue 1               PO Box 103340
Longview, TX 75601                        Lake Charles, LA 70601          Denver, CO 80250




David George Trust                        David George Trust No 2         David Girasek
c/o Farmers National Co Agent             c/o Farmers National Co Agent   Address Redacted
PO Box 3480                               Oil Gas Dept
Oil Gas Dept                              PO Box 3480
Omaha, NE 68103-0480                      Omaha, NE 68103-0480



David Gladyness                           David Glen Burch                David Glen Hitt
2341 Valleywood Dr Se Apt L11             205 Hwy 763                     1790 Karen Lane
Grand Rapids, MI 49546-7707               Mansfield, LA 71052             Beaumont, TX 77706




David Glen Satterwhite                    David Glenn Barber              David Glenn Davenport Iii
14493 S Padre Island Dr Ste A             1150 Quail Ridge Dr             600 N Kristi Lane
Pmb 509                                   Jasper, TX 75951-2825           Dallas, TX 75104
Corpus Christi, TX 78418




David Glenn Frost Sp                      David Glenn Zamzow              David Gordon Stevens Trust 1
1503 Amman Street                         PO Box 174                      David Gordon Stevens Trustee
West Monroe, LA 71292                     Three Rivers, TX 78071          2 Gunter Lane
                                                                          Hope, AR 71801




David Grant Garland                       David Gunter Baughman           David Gutman
987 Maize St                              PO Box 914                      PO Box 2246
Bossier City, LA 71111-5182               Farmerville, LA 71241           Redmond, OR 97756-0542
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David H Duncan                           David H Gertson                David H Hardin
5255 Co Rd 438 W                         3529 E Desert Willow Road      40 Stanwell St
Henderson, TX 75654                      Phoenix, AZ 85044              Colorado Spgs, CO 80906




David H Hodges Iii Martha Hodges         David H Howell                 David H Mclellan
1800 Brooks                              1308 W Lavender Ln             6 Orsinger Hill
Ruston, LA 71270                         Arlington, TX 76013            San Antonio, TX 78230




David H Rust                             David H Zieger                 David Hardy Andres
111 N Broadway Apt B                     580 W Bristol Road             PO Box 328
Irvington, NY 10533-1200                 Warminster, PA 18974           3622 Bullard
                                                                        Dunham, QC J0E 1M0
                                                                        Canada



David Harper Essex                       David Harper Martin            David Hedrick
PO Box 50577                             2031 Alta Loma St              PO Box 1017
Midland, TX 79710                        Davis, CA 95616                Kilgore, TX 75662




David Hestand                            David Hogan                    David Howard
217 Irving St                            133 Hummingbird Rd             204 E Fleming
Longview, TX 75605                       Choudrant, LA 71227            Longview, TX 756043303




David Hunter Townsend                    David Hutchins                 David Hutchinson
2907 Jadewood Ct Apt B                   PO Box 732                     1116 Nw 83
Austin, TX 78748-5597                    Stroud, OK 74079               Apt 106
                                                                        Oklahoma, OK 73114




David I Trowbridge                       David J Breckler               David J Clopine Estate
3412 Hofstra Dr                          111 Limestone Ln               Northern Trust N A P R
Denton, TX 76210                         Santa Cruz, CA 95060           16771 Dallas Pkwy
                                                                        Addison, TX 75001




David J Cochran                          David J Custer                 David J Dill
c/o Xto Energy Inc                       3810 Perry Lane                5688 Sh22 E
PO Box 730586                            Corpus Christi, TX 78410       Hillsboro, TX 76645
Dallas, TX 75373




David J Fisher                           David J Flackman               David J Flackman
7011 Durango Dr                          4600 Riverview Blvd            C/O Bank Of America N A
Magnolia, TX 77354                       Bradenton, FL 34209            PO Box 844143
                                                                        Dallas, TX 75284




David J Flackman                         David J Fritts                 David J Lauchnor
C/O Bank Of America N A                  9613 Panola Way                14455 Crabapple Rd
PO Box 830308                            Houston, TX 77055              Golden, CO 80401
Dallas, TX 75283-0308
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David J Neto                             David J Ramirez                  David J Rochelle Jr
3180 Ua Noe Place                        27122 Smokey Chase               c/o Fannie Rochelle
Haiku, HI 96708                          Boerne, TX 78015                 Route 236
                                                                          Gibsland, LA 71028




David J Shaffer                          David J Voight                   David Jaffe
11825 White Oak Pass                     849 S 75 St                      3 Rubins Ct
Conroe, TX 77385                         West Allis, WI 53214             Dix Hills, NY 11746




David Jaksik                             David James                      David Jeffrey Watson
Address Redacted                         3786 Cr 208 N                    13954 Beechwood Circle
                                         Henderson, TX 75652              Lindale, TX 75771




David Johnston Et Ux                     David Joyner                     David Jude Thomas
Angie Runyon Johnston                    103 Pinecrest Road               Union Bank Stockdale Village
7249 Hwy 147                             Arcadia, LA 71001                A/C 4411147830
Quitman, LA 71268                                                         5400 Stockdale Highway
                                                                          Bakersfield, CA 93309



David Junior Frost And Mary L Frost      David K Bennett                  David K Holmes
1504 Bennie Breece                       2851 Wallingford 606             1309 Cr 207
West Monroe, LA 71292                    Houston, TX 77042                Carthage, TX 75633




David Kalish                             David Kimbell Jr                 David King
PO Box 471568                            PO Box 94903                     24 Sheerman Ln
Ft Worth, TX 75263                       Wichita Falls, TX 76308          Amherst, MA 01002-1544




David Kirkland                           David Kirkpatrick                David Knight
Rt 1 Box 1027                            470 Bistineau Lake Rd            4643 State Highway 155 S
Bronson, TX 75930                        Ringgold, LA 71068               Gilmer, TX 75645-8088




David L Barber                           David L Boren                    David L Favot
2855 Vzcr 2403                           2306 Park Place Avenue Apt 11B   112 Creek Way
Canton, TX 75103                         Fort Worth, TX 76110             Santa Rosa, CA 95403




David L Fayman Trust                     David L Goldin                   David L Jordan
Community Bank Of Raymore                710 Cordova Street               515 Walworten Court
PO Box 200                               San Diego, CA 921074220          Katy, TX 77450
Raymore, MO 64083-0200




David L Marx                             David L Mckellar                 David L Rorie
1317 Blanco Lane                         179 Churchwell Rd                6027 W Catalina Dr
Garland, TX 75040-5463                   Purvis, MS 39475                 Phoenix, AZ 85033
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David L Sipes                           David L Worsham                David Lamar Spillers
1066 County Road 256                    7519 Fm 609                    Lucy Ann Holder Spillers
Beckville, TX 75631                     Lagrange, TX 78945             PO Box 387
                                                                       Choudrant, LA 71227




David Landon Speed                      David Lane Colvin              David Lane Freeman
15621 N Frisco Road                     110 Jacobs Road                5936 Dianne St
Piedmont, OK 73078                      St Simons Island, GA 31522     Shreveport, LA 71119




David Lang                              David Lawanna Hutchins         David Lawrence James
18650 North State Highway 19            PO Box 732                     115 S Lobit Street
Montalba, TX 758532407                  Stroud, OK 74079               La Porte, TX 775715717




David Layne Manuel                      David Lee                      David Lee Beams Sp
Ginger Hogan Manuel                     3535 Cr 234D                   115 Regent Street
3036 Highway 821                        Henderson, TX 75652            Wilkes-Barre, PA 18702
Ruston, LA 71270




David Lee Cox                           David Lee Edwards              David Lee Holcombe
PO Box 482                              65 Nineteenth Street           250 El Dorado Blvd Apt 258
Mont Belvieu, TX 77580                  Atlantic Beach, FL 32233       Webster, TX 77598




David Lee Rogers                        David Lee Trice                David Lee Williams
13164 Kinnicut Dr                       1891 Willow Road               5878 Hwy 544
Woodbridge, VA 22192                    Hallsville, TX 75650           Simsboro, LA 71275




David Leith                             David Leon Gardner             David Leon Sprayberry And Wife Shirley
39 Owen Drive                           305 Tobin Road                 Rt 2 Box 59
Amherst, MA 01002                       Castor, LA 71016               Henderson, TX 75652




David Lindsey Wolf                      David Loiselle Deceased        David Louis Lamb
2240 Encinitas Blvd D                   109 Juliette Fowler St         PO Box 26695
Encinitas, CA 92024                     Apt B102                       San Francisco, CA 941266695
                                        Dallas, TX 75214-4886




David Louis Winkler                     David Lundgren Company         David Lynn Condry
PO Box 65085                            PO Box 99                      526 West Hanna Ave
Shreveport, LA 71136                    Hawley, TX 79525               Indianapolis, IN 46217




David Lynn White Life Estate            David Lyons                    David M Bott
325 Hardy Street                        c/o Sherry Lyons               Charles Schwab Co Inc Cust
Huntsville, TX 77340                    8003 Woodway Dr Apt 22         Ira Rollover
                                        Houston, TX 77063              70 Bret Harte Rd
                                                                       San Rafael, CA 94901
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David M Bryans                          David M Chandler               David M Crosswell
461 Pennsylvania St                     PO Box 9909                    3900 Essex Ln Ste 730
Denver, CO 80203-3613                   Longview, TX 756089909         Houston, TX 77027




David M Dodson                          David M Dunham Estate          David M Minnich Agency
14 Elmcrest Ct                          c/o Dan Dunham                 Bank Of America Na Agent
Little Rock, AR 72211                   PO Box 909                     PO Box 840738
                                        Cleburne, TX 76033             Dallas, TX 75284-0738




David M Raizen Rev Tr                   David M Thomas                 David M Wolter
David M Raizen Ttee                     PO Box 702                     PO Box 245
PO Box 446                              Marshall, TX 75672             Missoula, UT 59806
Wynnewood, PA 19096




David M Yocum Iv                        David Mansinger                David Mark Orr
David M Yocum Iii And                   3470 Fm 3310 South             807 N Madison Ave Apt 5
Martha R Yocum Trustees                 Henderson, TX 75654            Los Angeles, CA 90029-2871
440 N Jefferson Ave
El Dorado, AR 71730



David Marvin Davenport                  David Maxey                    David Mcbeth
1547 Pine St Se                         6814 Rowan Lane                103 Mcbeth Road
Marietta, GA 30060-3914                 Houston, TX 77074              Plain Dealing, LA 71064




David Mccormick                         David Mccrary Separate Prop    David Mead
225 Candy Ln                            368 Mountain Top Drive         16183 East Country View
Livingston, TX 77351-0777               West Blocton, AL 35184         Claremore, OK 74017




David Merrell                           David Meyer                    David Michael Harper And
833 Harrison Ave                        3820 Arizona Pl                Louri Catherine Thompson Harper
Abilene, TX 79601                       Plano, TX 75023-3719           1513 Nat St
                                                                       West Monroe, LA 71292




David Michael Mcmullan                  David Michael Sims             David Michele Neher
3208 81st Pl Se D 101                   13802 Bowden Creek             2720 Colorado Dr
Mercer Island, WA 98040                 Cypress, TX 77429              Green River, WY 82935




David Montgomery Rains                  David Moore                    David Morgan Haskin
3714 Brushwood                          PO Box 457                     PO Box 20506
Corpus Christi, TX 78415                Kendalia, TX 78027             Palo Alto, CA 94309-0506




David Murray Murphy                     David N Brown                  David N Dennard
1306 Briarwood                          410 Avondale                   811 Pleasant Valley Dr N
El Dorado, AR 71730                     Houston, TX 77006              Boerne, TX 780065739
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David Navejar                             David Neal                             David Nolan
1201 S Reforma St                         7900 Sartan Way Ne                     343 Heather St
San Diego, TX 78384-3913                  Albuquerque, NM 87109                  Lake Charles, LA 70605-6507




David Nolan Evelyn Z Nolan                David O Beren Test Trust M             David Oliver Langley
1996 Trust David Nolan                    c/o Shirley L Beren Oaks Bnk Trust     14339 Highway 12
Evelyn Z Nolan Co Trstees                 8502 Edgemere Rd Apt 103               Orange, TX 77632
11459 Keymar Rd                           Dallas, TX 752253525
Keymar, MD 21757



David P Burgess                           David P Schoeffler                     David P Vinson
3360 S Horizon Pl                         12418 S Rylander Cir                   PO Box 7563
Chandler, AZ 85248                        Houston, TX 77071-2826                 Tyler, TX 75711




David Palmer Mooney                       David Patrick Flynn                    David Pattie Eaves
312 Green River Trl                       23227 Cicely Court                     PO Box 263
Fort Worth, TX 76103-1005                 Valencia, CA 91354-1479                Joaquin, TX 75954




David Paul Beach                          David Paul Brown                       David Phillip Longshore
4101 Albemarle St Nw Unit 429             PO Box 662                             266 Fox Hollow Blvd
Washington, DC 20016                      Henderson, TX 75126                    Forney, TX 75126




David Porter Estate                       David Preston Shepherd                 David Propes
4617 Verdome Lane                         PO Box 291171                          1095 Fm 1186
Houston, TX 77092                         Kerrville, TX 78029                    Marshall, TX 75672




David R Blalack                           David R Bonner And Wife Holly Bonner   David R Cox
3402 Goldfinch Rd                         3787 Fm 2428                           300 Cox Lake Rd
Gilmer, TX 75645-7280                     Joaquin, TX 75954                      Minden, LA 71055




David R Hunter                            David R Key Estate                     David R Lively
9759 W Bent Tree Drive                    Frances A Key Indp Executor            4950 Casaba Pl
Peoria, AZ 85383                          649 Fm 2208                            Orlando, FL 32812
                                          Jefferson, TX 75657




David R Long Lana Michelle Long           David R Morrison                       David R Murph
2214 Beauregard St                        c/o Texas State Treasury               1704 Hood Ln
Ruston, LA 71270-6646                     Unclaimed Property Division            Grapevine, TX 76051
                                          PO Box 12019
                                          Austin, TX 78711-2019



David R Volentine Et Ux                   David Randal Willis                    David Randall Callaway
Patricia M Volentine                      517 Northpark Dr                       5701 Hwy 544
1589 Highway 544                          Bossier City, LA 71111                 Simsboro, LA 71275
Ruston, LA 71270
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David Randolph Ray Jr                  David Randolph Woodson         David Ray Boyd
29175 Mtn Valley Rd                    6800 Mcneil Dr Apt 414         3124 Hwy 79 South
Millboro, VA 24460                     Austin, TX 78729-7942          Carthage, TX 75633




David Ray Costlow                      David Ray Hall                 David Ray Rudd
722 Gibson Rd                          102 Creekside Court            4510 Fm 1102
Waxahachie, TX 75165-7408              Kennedale, TX 76060            New Braunfels, TX 78132-3403




David Ray Thompson                     David Rippee                   David Ritch
3800 Walker Creek Road                 8622 N Us Highway 81           3407 Applegate St
Douglas, WY 82633                      Enid, OK 73701                 Pensacola, FL 32514-8157




David Roberts                          David Rowland                  David Ruffin Young
Address Redacted                       2424 Pinehurst Dr              4430 Fire Tower Rd
                                       Flower Mound, TX 75028         Grand Cane, LA 71032




David S Dollahite                      David S Floyd Iii              David S Lawrence Deceased
17201 Blackhawk Blvd Apt 313           1502 Wingwood Drive            29 N Waxberry Rd
Friendswood, TX 77546-3434             Marshall, TX 75670             Spring, TX 773612835




David S Marwil                         David S Miller                 David S Skinner
316 Springwood Ln                      PO Box 66160                   2985 7Th Street
Idaho Falls, ID 834048105              Houston, TX 77266              Boulder, CO 80304




David S Skinner Gail Skinner           David Salmon                   David Samford
2985 7Th Street                        1701 Lexington St              DaveS Hot Shot Service
Boulder, CO 80304                      Midland, TX 79705-8417         PO Box 942
                                                                      Whitehouse, TX 75791




David Seymour Weiss                    David Sherrer                  David Shipman And Jane Shipman
522 Washington Ave                     16711 Wimbledon Forest Dr      201 Thrush Road
Greenville, MS 38701                   Spring, TX 77379-7523          Gilmer, TX 75645




David Sholar                           David Simmons                  David Simms
14637 Waxachie Street                  6058 State Hwy 323             PO Box 757
Houston, TX 77015                      Henderson, TX 75652            Mineola, TX 75773




David Sims                             David Slizewski                David Smith Jr
2102 West Avenue N                     Address Redacted               5674 Highway 563
San Angelo, TX 76904                                                  Simsboro, LA 71275
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David Soulsby                            David Steging                  David Stelzer
PO Box 4394                              6417 Martha Laner              PO Box 555
Tulsa, OK 74159                          Fort Worth, TX 76112           Post, TX 79356




David Stewart Jones                      David Sugarek                  David T Searls Jr
2124 Fairfield Avenue                    2221 River Valley              PO Box 130708
Shreveport, LA 71104                     West Columbia, TX 77486        Houston, TX 77219-0708




David T Taggart                          David Tayler                   David Terry Iii
520 Brickell Key Drive                   6919 Gladys Avenue             PO Box 1560
Ph3                                      El Cerrito, CA 94530           Greenville, TX 75403
Miami, FL 33131




David Thomas Henry                       David Thomas Stewart           David Thornsberry
10095 Chenier Point                      4462 Merlin Way                Address Redacted
Shreveport, LA 71106-9356                Soquel, CA 95073




David Thurman Ford                       David Timothy Rogers           David Tindall Iii
603 Commons Dr                           1508 Shadowbrook Drive         3800 High Point
Sacramento, CA 95825                     Keller, TX 762485310           Ruston, LA 71270




David Vincent Bear Iii                   David W Clute                  David W Crow
806 Bourn Ave Apt A                      Clute Revocable Trust          6933 Country Road 466D
Columbia, MO 65203                       2768 South Mabry Way           Henderson, TX 75654
                                         Denver, CO 80236




David W Dunn                             David W Eckley                 David W Gustine
6801 Haley Court                         401 E Lockhart Avenue          123 Kenosha Ct
Pearland, TX 77584                       Alpine, TX 79830               Durango, CO 81301




David W Mann                             David W Mcdonald               David W Simpson
800 Washington Ave                       PO Box 135                     Ira Vftc As Custodian
Waco, TX 76701                           Shreveport, LA 71161           Roth Account
                                                                        3639 Magnolia Blvd W
                                                                        Seattle, WA 98199-1843



David W Smith                            David Wade Collie              David Wade Kent
2111 E 29Th St                           1302 Waugh Dr                  397 Weir Rd
Mission, TX 78574                        Houston, TX 77019-3908         Simsboro, LA 71275




David Warren                             David Warren Trussell          David Wayne And Celia Ann Elkins
23 Petersham Place                       PO Box 40                      1899 Hunter Road
London Sw7 5Pu                           Ruston, LA 71273-0040          Longview, TX 75605
United Kingdom
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David Wayne Dennis Sep Prop              David Wayne Dupree                 David Wayne Hobbs
3670 Felts Road                          2980 Arnold Hills Rd               4003 Lockwood Drive
Arcadia, LA 71001                        Tool, TX 75143-8568                Paragould, AR 724502563




David Wayne Mason                        David Wayne ORear                  David Wayne Snelson
18970 Cr 4256 S                          9611 Greenwood/Springridge         11281 Main Range Trail
Reklaw, TX 75784                         Shreveport, LA 71129               Littleton, CO 80127




David Wells Uygur                        David Wendle Tauber                David William Craig Et Ux
415 N Montclair                          55 Waugh Drive Suite 700           Elizabeth Bledsoe Craig
Dallas, TX 75208                         Houston, TX 77007                  1447 Mitcham Orchard Road
                                                                            Ruston, LA 71270




David Williams                           David Wilson Harper                Davidson Oilfield Services
4913 Wedgewood                           5 Briar Wood Close                 140 Back Forty Road
Bellaire, TX 77401                       Bromley Kent Br2 8Ej               Arcadia, LA 71001
                                         United Kingdom




Davies                                   DavilaS Trucking                   Davis Bros LLC
808 State Street                         305 Nw 11Th Street                 110 West 7Th St
Santa Barbara, CA 93101                  Andrews, TX 79714                  Suite 1000
                                                                            Tulsa, OK 74119




Davis Bros Shareholders                  Davis Bros Shareholders Agency     Davis Brothers Shareholders Agency
Charles L Johnson Jr                     c/o Charles L Johnson Jr Cpa       PO Box 1247
3007 Armand St                           PO Box 1247                        Ruston, LA 71273
Monroe, LA 71201                         Ruston, LA 71273




Davis Chemical Services LLC              Davis Coiled Tubing Services LLC   Davis Disposal Services
PO Box 1369                              6310 Elysian Fields Road           6310 Elysian Fields Road
Marshall, TX 75671                       Marshall, TX 75671                 Marshall, TX 75671




Davis E Pyburn Jr                        Davis Energy Services LLC          Davis Family Trust
422 Hidden Acres Road                    6310 Elysian Fields Road           Bettie J Davis Tste
Blairsville, GA 30512                    Marshall, TX 75671                 3010 Springdale Lane
                                                                            Duncan, OK 73533




Davis Fence Co                           Davis Gas Processing Inc           Davis Glover
PO Box 1436                              211 North Colorado                 PO Box 2148
Carthage, TX 75633-7436                  Midland, TX 79701                  Longview, TX 75605




Davis Hamm Ventures LLC                  Davis Jimmie Gaye                  Davis Lynch Forum Us Inc
6802 Lochwood Ct                         1196 Cr 175                        PO Box 203437
Garland, TX 70544                        Gary, TX 75643                     Dallas, TX 75320-3437
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Davis Lynch Inc                          Davis M Glasgow                      Davis Oil And Gas Properties LLC
2005 Garden Rd                           535 W 5Th St                         c/o Charles S Weems Iii Mgr
Pearland, TX 77581-8738                  Loveland, CO 80537                   PO Box 6118
                                                                              Alexandria, LA 71301




Davis Oil Company                        Davis Oilfield Services Lp           Davis Oilfield Services Lp
410 17 St Ste 1610                       6310 Elysian Fields Road             PO Box 310
Denver, CO 80202                         Marshall, TX 75671                   Marshall, TX 756710310




Davis Partners Ltd                       Davis Polk Wardwell LLP              Davis Smith
PO Box 271                               Attn Brian Resnick/Angela Libby      PO Box 13142
Midland, TX 79702                        450 Lexington Avenue                 Longview, TX 75607
                                         New York, NY 10017




Davis Supply Company                     Davis Survivors Trust                Davis Transportation
PO Box 1107                              Thomas Davis Jr Diane Dunnagan And   DD Oilfield Services
Archer City, TX 76351                    Deborah Whitsett Co Ttees            3023 Harkins Ln
                                         8501 Lullwater Drive Apt 3306        Marshall, TX 75672
                                         Dallas, TX 75238



Davis Vacuum Services Lp                 Davis Vacuum Services Lp             Davis Welding
6310 Elysian Fields Road                 PO Box 310                           1803 Cr 3046
Marshall, TX 75671                       Marshall, TX 75671-0310              Center, TX 75935




Davis Welding                            Davis Welding Justin Davis Dba       Davison Industries Inc
PO Box 1748                              Jennifer Davis                       Dba T L Hiner Company
Seminole, TX 79360                       PO Box 1748                          9834 Windmill Park Lane
                                         Seminole, TX 79360                   Houston, TX 77064




Davona Jean Lillie                       Dawn Anessa Renee Jernigan           Dawn Black Fox Living Tr
9614 Merrillville Road Apt 184           2451 Cumberland Pkwy Se 3562         Dawn Black Fox Ttee
Crown Point, IN 46307                    Atlanta, GA 30339                    912 Garfield St
                                                                              Canon City, CO 81212




Dawn Denise Larocca                      Dawn Fowler Colvin                   Dawn Gail Lawson Cook
PO Box 18071                             814 Reynolds Bridge Rd               PO Box 627
Golden, CO 80402                         Benton, TN 37307                     Labadieville, LA 70372-0627




Dawn Leigh Ellen Rook Murphy             Dawn Lynn Meyer Wilson Muscarello    Dawn M Muscarello
Rr 4 Box 818                             6224 Durande Drive                   6224 Durande Dr
Angleton, TX 77515-8546                  Baton Rouge, LA 70820                Baton Rouge, LA 70820




Dawn Michelle Wilder                     Dawn P Ross Law                      Dawn Plunkett Robison
106 N Kilgore St                         3036 Woodford St                     3282 Horseshoe Road
Suite 202                                Shreveport, LA 71108                 Oak Harbor, WA 98277-9126
Kilgore, TX 75662
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Dawn Ritter Gallett                    Dawn Rudd Phelps                 Dawn Vanderhyde
3707 Highway 70 S                      8114 Cr 606                      437 Hackworth St
Pierre Part, LA 70339-4457             Brownwood, TX 76801              Ottumwa, IA 52501-3927




Dawna Parks                            Dawson Co Central Appr Dist      Dawson Enterprises
3319 Daisy Road                        Norma Brock Tax A/C              PO Box 6039
Loris, SC 29569                        PO Box 797                       Long Beach, CA 90806-0039
                                       Lamesa, TX 79331-0797




Dawson Geophysical Company             Dawson L Anglin                  Dawson Malcolm Johns
508 West Wall                          PO Box 757                       12214 Overcup Drive
Suite 800                              Gibsland, LA 71028               Houston, TX 77024-4230
Midland, TX 79701-5010




Dawson Sodd Pc Attorneys At Law        Dax S Cowart Trust Dtd 12/5/06   Day Timers Inc
PO Box 837                             Dax S Cowart Trustee             101 Oneil Rd
Corsicana, TX 75151-0837               P O Drawer 1119                  Sidney, NY 13838-1055
                                       Fallbrook, CA 92088




Dayliter Rentals LLC                   Dayton Tarkington Sr             DB Risk Management Solutions
PO Box 120                             5817 Wayne                       75 Remittance Drive
Stonewall, LA 71078                    Kansas City, MO 64110            Suite 1793
                                                                        Chicago, IL 606751793




Dbd Compressor Maintenance LLC         Dbd LLC                          Dbd Partners LLC
PO Box 15136                           PO Box 987                       880 Wolverine Ct
Zapata, TX 78076                       Lewisville, AR 71845             Castle Rock, CO 80108-9082




Dbj Management LLC                     Dbs Minerals LLC                 DC Office Of Finance And Treasury
5408 Stauder Circle                    3326 Fry Ave                     Unclaimed Property Unit
Edina, MN 55436                        Tyler, TX 75701                  1101 4Th Street Sw
                                                                        Suite W800 B
                                                                        Washington, DC 20024



Dc Energy Inc                          Dc Meter Service                 Dcb 1998 Tr
13921 Quail Pointe Drive               PO Box 869                       Ben J Fortson Jr Ttee
Oklahoma City, OK 73134                Denver City, TX 79323            301 Commerce St
                                                                        Fort Worth, TX 76102




Dci Electric Inc                       Dcor LLC                         Dcp East Texas Gathering LLC
PO Box 2220                            Attn Amy Reynolds                PO Box 301622
Wilmington, CA 90748                   8401 N Central Expressway        Dallas, TX 75303-1622
                                       Suite 525
                                       Dallas, TX 75225



Dcp Midstream Lp                       Dcp South Central Texas LLC      Dcs Testing Equipment
370 17Th St Suite 2500                 6120 S Yale                      4637 W 159Th St
Denver, CO 80202                       Suite 300                        Lawndale, CA 90260
                                       Tulsa, OK 74136
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DD Minerals LLC                          Dd Vacuum Disposal LLC           Ddj Capital Management LLC
14700 Coles Rd                           Judy Dews                        130 Turner Street Building 3 Suite 600
Edmond, OK 73013                         1452 Dews Road                   Waltham, MA 02453
                                         Mount Holly, AR 71758




Ddm Surveying Inc                        De Delaware Bureau Of            De Anna Pointer Carli
PO Box 895                               Unclaimed Property               204 Rogers Lane
Henderson, TX 75653-0895                 C/O Div Of Revenue 8Th Flr       Prattsville, AL 36066
                                         820 North French St 8Th Floor
                                         Wilmington, DE 19801



De Compiegne Prop Co No 20 Ltd           De Lage Landen                   De Lage Landen Financial Services Inc
PO Box 1071                              PO Box 41602                     PO Box 824018
Midland, TX 79702                        Philadelphia, PA 19101-1602      Philidadelphia, PA 19182-4018




De Launay Sarah O                        Deaconess Hospital Inc           Deal Hampton Rudd
Address Redacted                         Attn Cheryl Wathen Finance       455 W Garza
                                         600 Mary Street                  Slaton, TX 79364
                                         Evansville, IN 47747-0002




Dean A E Jr                              Dean A Searle                    Dean Brooks Grant
c/o Charles L Williams Cpa               305 W Rusk                       6600 Mccart Court
6121 Fern Ave 102                        Marshall, TX 75670               Fort Worth, TX 76133
Shreveport, LA 71105




Dean C Alicia L Norwood                  Dean C Evans And Patti D Evans   Dean Carter
PO Box 17                                37 Grants Lake Drive             1401 E Hwy 31
Mansfield, LA 71052                      San Antonio, TX 78248            Longview, TX 75604




Dean Dablow Diane M Dablow               Dean E Wolf Deceased 01 28 04    Dean Fair
1402 Madera St                           7010 E Potawatami Drive          8416 Jenkins Lane
Ruston, LA 71270                         Tucson, AZ 85715-3235            Lewisville, TX 75067




Dean G Sullender                         Dean H Crowell Estate            Dean H Martin And Janet L Martin
64 Bayberry Rd                           c/o Martha Claire Cumberworth    108 Oakwood St
Concord, MA 01742                        Independent Executor             Rayne, LA 70578
                                         6112 Brandeis Lane
                                         Dallas, TX 75214



Dean O Campbell                          Dean Ogilvie                     Dean R Weatherman
209 Blue Crane Dr                        1204 Turner Drive                16208 309 Ave Ne
Slidell, LA 70461                        Longview, TX 75601               Duvall, WA 98019




Dean R Yates                             Dean Ray Williams                Deana OByrne Henslee
1024 Us Hwy 59N                          411 Sugar Creek Loop             PO Box 461
Carthage, TX 75633                       Minden, LA 71055                 Rusk, TX 75785
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Deandre L Williams                      Deane M Haskin                          Deanna Burgess
233 S 17Th Street                       PO Box 20506                            7731 Wilmerdean Street
Richmond, CA 94804                      Stanford, CA 94309                      Houston, TX 77061




Deanna Carner Black                     Deanna Carter Separate Property Trust   Deanna Hatley Hargis
15061 Ferrell Ave                       961 Hudspeth Street                     7404 Wallace Blvd Apt 216
Baton Rouge, LA 70817                   Simi Valley, CA 93065                   Amarillo, TX 79106




Deanna Joy Digman                       Deanna L Rogers                         Deanna Mcknight
c/o Texas State Treasury                610 Ashby Pl                            360 County Road 2091
Unclaimed Property Division             Allen, TX 75002-4712                    Carthage, TX 75633
PO Box 12019
Austin, TX 78711-2019



Deanna Mcmahon                          Deanna Rogers Rasnic                    Deanna Sigman
1933 Davids Court                       7937 Hannah St                          1594 Courmayeur Court
Abilene, TX 79602                       Plano, TX 75025-6209                    Round Rock, TX 78665




Deanne Ellice Rayborn Rev Tr            Deanne F Marsh                          Deans Hardware
11914 Briar Forest Dr                   205 Church Street                       PO Box 830
Houston, TX 77077                       White Bluff, TN 37187                   Joaquin, TX 75954




Deans Inc                               Dearing Inc                             Deartis Wallace
409 Commerce Road                       PO Box 142169                           c/o Shirley T Wallace
Artesia, NM 88210-9432                  Irving, TX 75014                        3134 Mount Miguel Drive
                                                                                San Diego, CA 92139




Deary F Walker                          Deathra Van Scoy                        DeatonS Communications LLC
1448 Myrtle Avenue                      16611 Jeanette Avenue                   Craig Deaton
Long Beach, CA 90813                    Cerritos, CA 90703                      PO Box 324
                                                                                Winnsboro, TX 75494




Debbee Nahabedian                       Debbie Bush                             Debbie Estes Petway
27052 Via Mencia                        190 New Shackle Island Rd               501 New Hope Dr
Laguna Niguel, CA 92677-3556            Hendersonville, TN 37075-2325           Mckinney, TX 75071




Debbie Farrington Vaughan               Debbie G Jones                          Debbie G Masterson
278 Carterville Rd                      408 S Poplar Avenue                     PO Box 735
Plain Dealing, LA 71064                 Broken Arrow, OK 74012                  Henderson, TX 75653-0735




Debbie Gamble A Single Woman            Debbie Graham                           Debbie J Mcamis
9950 Fm 2011 East                       5377 Tevey Road                         2200 Suffolk St
Longview, TX 75603                      Longview, TX 75605                      Fort Collins, CO 80526
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Debbie Jean Austin Williamson            Debbie L Mccraine               Debbie Lagrone
Seperate Property                        4045 OGrady                     1005 Texas Street
2643 Highway 820                         Corpus Christi, TX 78413        Carthage, TX 75633
Choudrant, LA 71227




Debbie Lawrence Waller                   Debbie Lynn Weller              Debbie Perkins Sep Property
10643 Highway 80                         Co Tex State Treas Unclaimed    18 Eden Avenue
Simsboro, LA 71275                       PO Box 12019                    Bastrop, LA 71220
                                         Austin, TX 78711-2019




Debbie Quarles                           Debbie Sinclair Caudle          Debbie Thompson Mullaley
627 E Oak Ln                             PO Box 1028                     2432 Apple Ln 160
Nacodoches, TX 75961                     Marshall, TX 75671              Oxnard, CA 93035




Debbie W Moore Decd                      Debbie Zamhdt Dollahite         Debbra Lea Morgan
c/o Demarcus Moore                       503 Private Road 4615           Address Redacted
1293 Sandhill Rd                         Harleton, TX 75651
Quitman, LA 71268




Debby Haas                               Debora Ann Fletcher Foster      Debora Ann Reel Mercer
4303 Westerdale Dr                       4606 105Th Street               10618 Chambers Street
Fulshear, TX 77441                       Lubbock, TX 79424               Houston, TX 77034




Debora Riley                             Deborah A Beck                  Deborah A Bench
Tax Assessor Cllctr Shelby Cty           1695 Del Oro Cir                Aw Rocker A Well Service Inc
Bryan O Blevins                          Petaluma, CA 94954              PO Box 127
200 San Augustine St                                                     Coleman, TX 76834
Center, TX 75935



Deborah A Cade                           Deborah A Raizen                Deborah A Teal
PO Box 816                               8036 Cobble Creek Cir           1122 N Tela Apt 15
Chandler, TX 75758                       Potomac, MD 20854               Oklahoma City, OK 73127




Deborah A Umphlett                       Deborah A Willard               Deborah A Wormser Inher Trst
1544 Hyview                              Individual Retirement Account   Deborah A Wormser Trustee
Casper, WY 82601                         4192 Bay Beach Ln Number 884    6437 Malcolm Drive
                                         Fort Myers Bch, FL 33931-6932   Dallas, TX 75214




Deborah Ann Johnson Race                 Deborah Ann Sample              Deborah Ann Stuckey Kirby
1427 Hollytree Place                     500 Highland Dr                 651 Edwards Rd 1
Tyler, TX 75703                          Jasper, TX 75951                West Monroe, LA 71292-0161




Deborah Anne Davis Gray                  Deborah Anne Grigsby Lary       Deborah Anne Yandell
4580 Wyoming Street                      2306 Azalea Drive               1419 Eisenhower
Dallas, TX 752117840                     Ruston, LA 71270                Norman, OK 73069
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Deborah Attaway                            Deborah Attaway Dickinson      Deborah B Miller Revoc Trust
10 Trailblazer Court                       10 Trailblazer Court           Community Bank Of Raymore
Lowell, OR 97452                           Lowell, OR 97452               PO Box 200
                                                                          Raymore, MO 64083-0200




Deborah Bates Thompson                     Deborah Beaird Tullis          Deborah Brightwell Bolton
1167 County Road 2610                      2512 Chestnut St               28 Rampling Road
Krum, TX 76249                             New Orleans, LA 70130          Palestine, TX 75801




Deborah Brown Ridley                       Deborah C Douglas              Deborah C Keller
2311 11A St NW                             479 Homecrest St               3914 Amidon
Calgary, AB T2M 1L1                        Corpus Christi, TX 78412       Wichita, KS 67204
Canada




Deborah Caraway Keaghey                    Deborah Carlyle                Deborah Clements Gessner
39394 Keaghey Road                         4100 Yonge Street Suite 504A   c/o Monica Schwartz
Ponchatoula, LA 70454                      Toronto, ON M2P 2G2            5463 S Ridgewood Ct
                                           Canada                         Chicago, IL 60615




Deborah Cole Booker Sep Prop               Deborah D Parnell Wisterman    Deborah Dale Littlefield
260 Providence Road                        PO Box 36                      301 County Road 497
Sarepta, LA 71071                          Choudrant, LA 71227            Kirbyville, TX 75956




Deborah Dennard Russell                    Deborah E Aldridge             Deborah E Wingert Trust
14102 Locke Ln                             Sl4 Lake Cherokee              Harold G Habenicht
Houston, TX 77077                          Henderson, TX 75652            John Carr Wilson Co Trustees
                                                                          PO Box 219
                                                                          Kilgore, TX 75663-0219



Deborah Elizabeth Dodge                    Deborah Fay Childs             Deborah Fulco Keller
340 Old Mill Rd 240                        708 Church Street              3914 Amidon
Santa Barbara, CA 93110                    Carthage, TX 75633             Wichita, KS 67204




Deborah Fuller Hodges                      Deborah Gale Rogers Bradford   Deborah Guthmann
1012 S Texas Street                        8954 County Road 3602          6156 Fm 1404
Deridder, LA 90634                         Quinlan, TX 754746014          Gilmer, TX 75645




Deborah H Sullivan                         Deborah Harris                 Deborah Hays Crosson
411 Chickasaw Dr                           3456 Mccoy St                  19791 Ne 10Th St
West Monroe, LA 71291                      Arcadia, LA 71001              Harrah, OK 73045




Deborah Hinton Kovacevich                  Deborah J Coates               Deborah J Gernold Perry
1307 Quarry Oaks Dr                        8408 Prescott Circle           748 Overbrook Drive
College Station, TX 77845                  Frisco, TX 75034               Ft Walton Beach, FL 32547
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Deborah Jackson Shammo Rev Tr          Deborah Jane Kelly Slaughter   Deborah Jean Klotz
Plains Capital Bank Trustee            535 Oneonta St                 4642 Sawmill Lane
3707 Camp Bowie Blvd Suite 220         Shreveport, LA 71106-1619      Pasadena, TX 77505
Fort Worth, TX 76107




Deborah Jenkins                        Deborah Jo Rook Wion           Deborah Joyce Colburn Gann
1248 Garr Rd                           Rr 4 Box 818                   4284 State Highway 64W
Ruston, LA 71270-1154                  Angleton, TX 77515-8546        Henderson, TX 75652




Deborah K Anderson                     Deborah K Brehe                Deborah K Hughes
421 Parklane St                        3329 Oak Bluff Ln              409 W Francis St
Pratt, KS 671243117                    Dublin, CA 94568               Baytown, TX 77520-2779




Deborah K Shimanek Robert Shimanek     Deborah K Stangeland           Deborah K Williams
PO Box 150                             2020 Sw G St                   8221 Berry Patch
Hallsville, TX 75650-0150              Grants Pass, OR 97526          Anchorage, AK 99502




Deborah Kay Coleman                    Deborah Kirk Elder             Deborah L Balls
165 County Road 2671                   1530 E Triton Place            25010 Estancia Cir
Beckville, TX 75631                    Tucson, AZ 85737               San Antonio, TX 78260




Deborah L Brown                        Deborah L Pawlik               Deborah Lynn Point
100 County Rd 153                      310 Fm 1596                    507 Juniper Sprinbgs Dr
Georgetown, TX 78626                   George West, TX 78022          Groveland, FL 34736




Deborah Lynn Sledge                    Deborah Lynne Point            Deborah M Edwards
1516 Pearl Street                      507 Juniper Springs Dr         2315 Spring Street
Duncan, OK 73533                       Groveland, FL 34736-8117       Hot Springs, AR 71901




Deborah Mcelreath                      Deborah Norris Disk            Deborah Null Masterman
701 E Bovell St                        167 Plantation Road            137 N Tucker Rd
Crowley, TX 76036-2805                 Choudrant, LA 71227            Florence, MS 39073




Deborah Pace                           Deborah Permenter Brown Sp     Deborah Pipes Wilson
4704 N University Dr Apt 1010          1802 Doss Circle               1664 Mccaleb Road
Nacogdoches, TX 75965-2629             Arlington, TX 76103            Montgomery, TX 77316




Deborah Qualls                         Deborah Ray                    Deborah Rebecca Wright
1135 Pleasant Church Road              14 Hillview Rd                 900 Crystal Farms Road
Jonesboro, LA 71251                    Newton, NJ 07860               Tatum, TX 75691
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Deborah Shelton Reed                     Deborah Sinclair Caudle        Deborah Smith Howden
609 Dee Drive                            Separate Property              1722 Ben Crenshaw Way
Wichita Falls, TX 76301                  544 Private Road 1337          Austin, TX 78746
                                         Marshall, TX 75672




Deborah Trousedale Schmigel              Deborah Valder                 Deborah Walden
3296 Cooks Road                          5404 Summer Meadows Dr         9222 Ne 71st St
Marshall, TX 75670                       Fort Worth, TX 76123           Vancouver, WA 98662-4435




Deborah Y Welty                          Debra A Bell Smith             Debra A Moore
21 Spring Hill Cir                       2431 Donovan View              20290 So Hillcrest Dr
Arden, NC 28704                          Dickinson, TX 77539            Porter, TX 77365




Debra A Sowell                           Debra Alene Cain Collier       Debra Ann Altchuler
PO Box 442                               c/o Al Cain Jr Guardian        5961 Basswood Lane Nw
Shelby, TX 75973                         PO Box 574                     Rochester, MN 55901
                                         Marble Falls, TX 78654




Debra Ann Gamble                         Debra Ann West                 Debra B Berry
9980 Fm 2011 East                        241 El Diente Dr               592 Cr 4053
Longview, TX 756037281                   Durango, CO 81301-8999         Carthage, TX 75633




Debra Brown                              Debra Clo Faulkner             Debra Collier Kerstetter
226 Sandalwood Lane                      1106 Rosewood Lane             16219 Se 137Th Pl
Levelland, TX 79424                      Carthage, TX 75633             Renton, WA 98059




Debra Eason                              Debra Hurschler Crawford       Debra J Malveaux
9512 Stonehaven                          Rankwog 11                     2900 S Gessner Rd Apt 810
Shreveport, LA 71118                     4632 Trimbach                  Houston, TX 77063-3746
                                         Switzerland




Debra James Life Estate                  Debra Jo Kolb Baggett          Debra K Boyce
19 Rose Of Sharon                        12410 Montebello Manor Lane    c/o Texas State Comptroller Of Public
Texarkana, TX 75501                      Tomball, TX 77377-7589         Accounts Unclaimed Property Division
                                                                        PO Box 12608 Capitol Station
                                                                        Austin, TX 78711



Debra K Leggett                          Debra K Mcknight               Debra K Miller
122 S Jackson St                         321 Cedarbrook Dr              357 Mceachern Rd
Joaquin, TX 75954                        Monroe, LA 71203               Minden, LA 71055




Debra K Wills Life Estate                Debra K Woodard                Debra Kay Daniels Bailey
220 N Hall                               1808 Furman St                 PO Box 771
Faifield, TX 75840                       Ruston, LA 71270               Henderson, TX 75653
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Debra Kay George                           Debra Kay Newton             Debra Kirkpatrick
325 Milton St                              509 Amber                    561 North Lake Dr
Jacksonville, TX 75766                     Longview, TX 75604           Dallas, TX 75218




Debra Kolb Baggett                         Debra Litton Moore           Debra Louise Walker Sep Prop
12410 Montebello Manor Lane                37446 Reinninger Rd 3        15231 29Th Avenue South
Tomball, TX 77377                          Denham Springs, LA 70706     Seatac, WA 98188




Debra M Hogg                               Debra Mccarty Duke           Debra Mcqueen Warren
1260 Payne Dr                              160 Cr 112                   1795 Crocus
Lancaster, TX 75134-2359                   Carthage, TX 75633           Gilmer, TX 75645




Debra P Ochoa                              Debra R Worth                Debra S Dorsey
234 Pr 5861                                5916 Regina Rd               719 Lynch Drive
Carthage, TX 75633                         Hillsboro, MO 63050          Bullard, TX 75757




Debra Sapp Aka Debra Maria Hall Hamilton   Debra Schaffer Visage        Debra Skains Thomas
11323 Grayling Lane                        1509 Noble Drive             283 Montrose Place
Houston, TX 77067                          Longview, TX 756018624       Bossier City, LA 71111




Debra Sue Allen                            Debra Sue Collins Spearman   Debra Sue Robertson
2002 Rosewood Dr                           Seperate Property            PO Box 1518
Tyler, TX 75701-5008                       812 S Cypress Street         Mansfield, LA 71052
                                           Vivian, LA 71082




Debra Temple Gallaspy                      Debra Turner                 Debra Valentine
13938 Highway 171                          7755 Turner Rd               17 Rocky Lane
Mansfield, LA 71052                        Kountze, TX 77625            Houston, TX 77040




Debra Whitlock Carter                      Debra Woods                  Decatur Mineral Partners Ltd
3704 Pratt Street                          6299 New Mexico Hwy 206      8235 Douglas Ave Ste 1030
Longview, TX 75604                         Portales, NM 88130           Dallas, TX 75225




Dedra Roblow Lilly                         Dee Ann Carlisle             Dee Ann Kundysek
159 Pr 5525                                2616 Noel Avenue             PO Box 600110
Carthage, TX 75633                         Midland, TX 79705            Dallas, TX 75360




Dee Ann Trout Glenn                        Dee Davenport Estate         Dee Felix Younger
PO Box 2317                                PO Box 636                   9378 10 Mile Road
Cedar Park, TX 78630                       Mc Allen, TX 78502           Mecosta, MI 49332
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Dee Nay Hicks                             Deeco Hose Belting Inc            Deeco Rubber Co Inc
300 E Swisher Rd Apt 6101                 PO Box 3337                       PO Box 3337
Lake Dallas, TX 75065-2354                Lubbock, TX 79452                 Lubbock, TX 79452-3337




Deedra Cook                               Deelee Mcjimsey                   Deena M Darroh
1822 Dauphin Street                       PO Box 449                        2511 Berkley Court
Mobile, AL 36606                          Panola, TX 75685                  Richmond, TX 77469




Deep East Texas Electric Coop             Deep East Texas Electric Coop     Deep Sweep Inc
880 Texas Hwy 21 East                     PO Box 736                        PO Box 159
San Augustine, TX 75972                   San Augustine, TX 75972-0736      402 W Hickory
                                                                            Saratoga, WY 82331




Deepwell Energy Services                  Deepwell Energy Services LLC      Deer Valley Credit Union
PO Box 2201                               Chris Breedlove                   16215 N 28th Ave
Decatur, AL 35609-2201                    PO Box 31                         Phoenix, AZ 85053
                                          Waynesboro, MS 39367




Deetricha Y Younger                       Def Oil Partners                  Defiance Energy Services LLC
215 E 118Th St                            7 Switchbud Pl Ste C192           100 Angela Lane
Los Angeles, CA 90061-2423                Spring, TX 77380-3707             Minden, LA 71055




Definitive Optimization Usa Inc           Deh Environmental Tank Wash Inc   Deidre L Smith
Angela Kroger                             PO Box 2166                       1206 16Th Street
Unit 3 215 South Country Club Lane        Center, TX 75935                  Alamogordo, NM 88310
Pinedale, WY 82941




Deidre Miller                             Deirdre Alexandra Bradshaw        Deirdre Denman Glober
330 Rayford Road                          10010 Whitehurst Apt 1183         PO Box 758
Suite 154                                 Dallas, TX 75243                  Llano, TX 78643
Spring, TX 77386




Deirdre Faye M Batchelor                  Deister Ward Witcher Inc          Del Bajio Services
238 Nw Bridge Rd                          PO Box 440388                     1609 W Mcgaffey St
Jacksonville, NC 28540                    Aurora, CO 80044-0388             Roswell, NM 88203




Del Norte Credit Union                    Del Rey Estates                   Delabarcena Paul
3286 Cerrillos Rd                         140 S Barrington Ave              Address Redacted
Santa Fe, NM 87507                        Los Angeles, CA 90049




Delacosta Energy                          Delain Breazeale Pearson          Delano Sara
8000 Ih 10 West Suite 705                 3783 Felts Rd                     101 Palmer
San Antonio, TX 78230                     Arcadia, LA 71001                 Breckenridge, TX 76424
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Delaware Dept Of Natural Resources       Delaware Division Of Revenue            Delaware Division Of Revenue
Environmental Control                    820 N French Street                     PO Box 8750
Region 3                                 Wilmington, DE 19801                    Wilmington, DE 19899-8750
89 Kings Hwy
Dover, DE 19901



Delaware Investments                     Delaware Office Of Unclaimed Property   Delaware Royalty Corporation
2005 Market Street One Commerce Square   PO Box 8931                             3009 Post Oak Blvd Ste 1212
Philadelphia, PA 19103                   Wilmington, DE 19899                    Houston, TX 77056-6599




Delaware Royalty Corporation             Delaware Secretary Of State             Delaware Secretary Of State
c/o The Northern Trust Company           Department Of State                     Division Of Corporations
Acct No 03 14465                         Division Of Corporations                PO Box 898
PO Box 27710                             PO Box 5509                             Dover, DE 19903
Houston, TX 77227-7710                   Binghamton, NY 13902-5509



Delaware Secretary Of State              Delaware Secretary Of State             Delaware Secretary Of State
John G Townsend Bldg                     The Corporation Trust Center            Vendor 51 6000279 State Of
401 Federal Street Suite 4               Corporation Trust Center                Delaware Ct Corporation
Dover, DE 19901                          1209 Orange Street                      PO Box 4349
                                         Wilmington, DE 19801                    Carol Stream, IL 601974349



Delbert Edward Nantz                     Delbert L Talley                        Delbert M Bowers Ii
PO Box 1108                              308 Johnson Ln                          Pamela D Bowers
Hemphill, TX 75948                       Texarkana, AR 71854                     Jt Ten/Wros
                                                                                 PO Box 562
                                                                                 Morgantown, WV 26507-0562



Delbert R Sipes                          Delbert Rose                            Delbert Royce Davis
9817 Both                                Address Redacted                        Box 2152
Kansas City, MO 64134                                                            Hereford, TX 79045




Delene M Ioimo                           Delesha Wilder Pouncy                   Delia Hilda Benavides Martinez
544 440 Little Red Rd                    12435 Silverwyck Drive                  1506 Sarazen Ct
Mcarthur, CO 96056                       Houston, TX 77014                       Laredo, TX 78045




Delia Rancich                            Delia T Quintero                        Delilah Ann Wallace
4802 Excalibur Dr                        806 Joyce                               4839 Highway 323 W
El Paso, TX 79902                        Houston, TX 77009                       Henderson, TX 75654




Delilah Joann Brister                    Delisa Erroll Mercer                    Delitha A Guenzel
448 Wayside Drive                        517 Northpark Dr                        3763 County Road 1708
Monroe, LA 71203                         Bossier City, LA 71111                  Jacksonville, TX 75766-7005




Dell Ann Mccarty                         Dell Marketing Lp                       Dell Roy Brown
527 Court St Apt 6B                      c/o Dell Usa Lp                         PO Box 32
Brooklyn, NY 11231-4452                  PO Box 676021                           Beckville, TX 75631
                                         Dallas, TX 75267-6021
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Dell Software Inc                          Dell Usa Lp                    Dell Woodard Nichols Sep Prop
PO Box 731381                              Pox 910916                     211 Sweetwater Rim
Dallas, TX 75373-1381                      Pasadena, CA 91110-0916        Pineville, LA 71360




Della Ann Allen Davison                    Della Ann Rabb Grafton         Della Belle Mays
207 Allen Road                             84 Rolling Hills West          c/o Michelle Shelly Mutch Aif
Arcadia, LA 71001                          Conroe, TX 77304               6422 Acacia Lane
                                                                          Yorba Linda, CA 92886




Della Beth Redfearn                        Della Britt Mccloud            Della Cathey Stewart
2607 Hodges Bend Circle                    2525 Starley                   3425 Driftwood Dr
Sugar Land, TX 77479                       Westlake, LA 70669             Shreveport, LA 71118




Della Lynn Hudson Beard                    Della M Adams                  Della Reese Anderson
124 White Oak Drive                        c/o Texas State Treasury       2948 Woodcliffe Dr
Ruston, LA 71270                           Unclaimed Property Division    Muskegon, MI 49444-3144
                                           PO Box 12019
                                           Austin, TX 78711-2019



Della Ruth Dunn Powell Separate Property   Della Ruth Ludley Bolton       Della Vivion
673 Scott Rd                               608 Kirkland St                1016 Monte Vista Dr
Ruston, LA 71270-1186                      Ruston, LA 71270               Casper, WY 82601-5320




Delma Ruth Clemens                         Delmar Holdings LP             Delmer D Heard
6705 Highway 135 North                     816 Congress Avenue            Brandon Heard Poa
Kilgore, TX 75662                          Suite 1130                     PO Box 130
                                           Austin, TX 78701               Keller, TX 76244




Deloach Inter Vivos Trust Dated 10/16/93   Delois Darthard                Delois James
Olivia A Deloach Trustee                   2627 Ireland Williams Rd       338 Victoria St C
2041 Spring Valley Dr                      Waskom, TX 75692-4613          San Francisco, CA 94132
Turlock, CA 953829735




Deloitte Fas LLP                           Deloitte Tax LLP               Deloitte Touche LLP
PO Box 844742                              PO Box 844708                  PO Box 844708
Dallas, TX 75284-4742                      Dallas, TX 75284-4708          Dallas, TX 75284-4708




Deloitte Touche Products Company LLP       Delola Mae Strickland Estate   Delores Castine Payne
c/o Deloitte Touche Llp                    c/o James Harvey Strickland    23 South Greenwood Forest Dr
PO Box 7247 6446                           7870 Hwy 80                    Etowah, NC 28729
Philadelphia, PA 19170-6446                Ruston, LA 71270




Delores Gail Richardson Pullig             Delores J Minihan              Delores Landers Bolling
3376 Bridges Rd                            501 Havenswood Ln North        PO Box 10208
Athens, LA 71003                           Fort Worth, TX 76112           El Dorado, AR 71730
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Delores M White                         Delores May Ellis              Delores Mitchell Charit Trst
1613 Deer Ave                           1934 67Th Ave                  c/o Jpmorgan Chase Bank
Deer Park, TX 77536                     Sacramento, CA 95822           PO Box 99084
                                                                       Fort Worth, TX 76199




Delores R Chevalier Hursey              Delores S Anderson             Delores S Miller
338 County Rd 26                        2823 Colonial Drive            11631 Lida Rose
Blufton, OH 45817                       Nacogdoches, TX 75961          San Antonio, TX 78216




Delores Sutton Anderson                 Delores Wilkerson Smith        Delores Woodard
Jenkins Family Ltd Prtshp               PO Box 1106                    201 S Wofford St
2823 Colonial Dr                        Grambling, LA 71245            Athens, TX 757512834
Nacogdoches, TX 75965




Deloris G Ward                          Deloris Johnson                Deloris Schmidt
C/O Phyllis Metzker                     477 Fm 2500                    PO Box 1062
6544 Ne Rosebay Dr                      Livingston, TX 77351           Mabank, TX 75147
Hillsboro, OR 97124




Delorus Ann Menere                      Delpha S Garcia                Delphene Dupree
PO Box 25                               6317 Pine Hills Ln             4528 E Grove
Quitman, LA 71268                       Denton, TX 76210               Fresno, CA 93725




Dels Inspection Service Co LLC          Delta Baker                    Delta Bank
PO Box 70226                            10293 Highway 84               650 Fifth Avenue 26th Floor
Odessa, TX 79769                        Mansfield, LA 71052-5855       New York, NY 10019




Delta Bost                              Delta Community Credit Union   Delta Dental Insurance Company
7 Talmont Place                         1050 Delta Blvd                PO Box 7564
Little Rock, AR 72223                   Atlanta, GA 30354              San Francisco, CA 94120-7564




Delta Drilling Products Services LLC    Delta Gulf Rental Tools Co     Delta Power Automation Inc
PO Box 1603                             PO Box 53937                   PO Box 507
Eunice, LA 70535                        Lafayette, LA 70505-3937       Riverton, WY 82501-0507




Delta Screen Filtration LLC             Delta Seaboard LLC             Delta T Geophysical Consulting
PO Box 842397                           1212 W Sam Houston Pkwy N      416 Travis Ste 1101
Houston, TX 77284                       Houston, TX 77043              Shreveport, LA 71104




Deltic Timber Corp                      Delton B Coyle Jr              Delton B Gwinn
PO Box 7200                             PO Box 356                     PO Box 6838
El Dorado, AR 71730                     Cotton Valley, LA 71017        Texarkana, TX 75505
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Delton M Costlow                          Deluxe For Business                   Delwin R Johnson
510 N Carroll                             PO Box 1186                           837 Cr 3193
Stanton, TX 79782                         Lancaster, CA 93584                   Joaquin, TX 75954




Delwyn Whitley Priest                     Delys Mitchell                        Demetrious Smith
PO Box 124                                270 Tempest                           311 Edgemont Avenue
Bienville, LA 71008                       Abilene, TX 79602                     Mount Vernon, NY 10553




Demetrise Winzer                          Demetrius B Perry                     DeMond Verdell Barnett
C/O Gustavia Winzer                       1608 Palisade Drive                   3879 Acr 349
14610 Hwy No 9                            Allen, TX 75013                       Palestine, TX 75803
Athens, LA 71003




Demos Gholston                            Dena C Howe                           Dena Howard
5207 Wilton Drive                         PO Box 95                             602 Chamberlain Ave
Monroe, LA 71202                          Gloster, LA 71030-0095                El Cajon, CA 92020




Dena Seymour                              Dena Wieding Forehand                 Dendera Capital Fund Lp
635 Travis                                3898 Highway 281 South                237 Park Avenue Front 9
Columbus, TX 78934                        Three Rivers, TX 78071                New York, NY 10017




Dene L Martin                             Deneze Caraway Bellenghi              Denfeld Ronald G Colette Denfeld
Address Redacted                          3217 Sw Palatine St                   4753 Country Club Road East
                                          Portland, OR 97219-7525               Longview, TX 75602




Denis A Doyle                             Denis A Doyle Judith L Doyle Jtwros   Denis D Gaston Husband Of
9 Spencer Dr                              9 Spencer Drive                       Patricia Kennedy Gaston
Red Hook, NY 12571                        Red Hook, NY 12571                    PO Box 177
                                                                                Summerfield, LA 71079




Denis K Preston                           Denise Alane Condry Morgan            Denise Chapple
3291 N Bexley Rd                          26005 Gwinn Rd                        4 Misty Mesa Court
Lucedale, MS 39452                        Arcadia, IN 46030                     Mansfield, TX 76063




Denise Chevalier                          Denise Dickerson                      Denise Louise Capel
5517 E Fm 323                             1310 South Greenlawn                  7035 Mid Pines Cir
Palestine, TX 75801                       Ridgecrest, CA 93555                  Montgomery, AL 36117-8503




Denise M Decker                           Denise M Jamison                      Denise M Nims Wainwright
12041 Joplin Ln                           2111 Esplanada Place                  2757 South Sandalwood Drive
Fort Worth, TX 76108-7706                 Terrytown, LA 70056                   Tallahassee, FL 32305
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Denise Miller Holt Thornburg            Denise Myers                   Denise O Chamberlain
PO Box 1381                             Dba Denises Cleaning Service   654 Childress Road
Hooks, TX 75561                         16154 Hwy 80                   Saint Jo, TX 76265
                                        Minden, LA 71055




Denise Reynolds                         Denise Tumlinson               Denmons H2S Safety Service Inc
22825 Cr 2110                           2234 Rolling Meadows           12872 Hwy 155 S Bldg 18
Troup, TX 75789                         Kingwood, TX 77339             Tyler, TX 75703




Denna Bedunah Trust                     Dennard Family Partners Lp     Dennard Living Trust
Denna Kay Bedunah Trustee               c/o Charles Newton Dennard     David L Dennard Trustee
1510 Cr 188                             1237 Vintage Place             6250 Danbury Lane
Carthage, TX 75633                      Nashville, TN 37215            Dallas, TX 75212




Dennis A Hajek                          Dennis Adam Porath             Dennis Armstrong
Roth Ira                                Address Redacted               2434 West 18Th St 192
Td Ameritrade Clearing Custodian                                       Houston, TX 77008
5266 Weatherwood Trace
Marietta, GA 30068-1749



Dennis Blecke                           Dennis Boggs Welding Inc       Dennis Boggs Welding Inc
428 Candelaria Dr                       PO Box 16208                   PO Box 184
Loveland, CO 80537                      Lubbock, TX 79490              Levelland, TX 79336




Dennis C Watson                         Dennis Cornwell                Dennis D Donoho Jr
PO Box 1714                             932 Short Seven Street         7811 S Hwy 287
Lake Ozark, MO 65049                    Natchitoches, LA 71457         Corsicana, TX 75109




Dennis D Freeman                        Dennis D Roseberry And         Dennis D Simonton
PO Box 635                              Cindy Thomas Roseberry         238 Mount Olive Road
Joaquin, TX 75954                       506 9Th Street Ne              Ruston, LA 71270
                                        Springhill, LA 71075




Dennis David OBanion                    Dennis E OBanion               Dennis Edwin Bishop
1920 Galleria Oaks                      104 Windy Hills Lane           401 Cr 531
Texarkana, TX 75503                     Monticello, AR 71655           Mullin, TX 76864




Dennis Energy Services Inc              Dennis Eugene Richardson       Dennis Flowers Separate Prop
PO Box 1914                             316 S 6Th St                   PO Box 560
Laredo, TX 78044                        Lake City, MN 55041            Cotton Valley, LA 71018




Dennis Garner Pike Trust                Dennis Givens Sep Property     Dennis H Glennon
Dennis Wayman Mcmillan And              23529 Deziel                   542 Smith Street
Charles Lee Williams Co Ttees           St Clair Shores, MI 48082      West Monroe, LA 71292
PO Box 941
Kilgore, TX 75663
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Dennis Hays Colvin                      Dennis J Bowles Irrevoc Trust           Dennis Kilcoyne
138 Walnut Creek Road                   Charlene King Trustee                   7320 Jacobs Creek Drive 460
Simsboro, LA 71275                      PO Box 3147                             Lincoln, NE 68512
                                        Longview, TX 75606




Dennis Lane Mitchell                    Dennis Leggett                          Dennis M Levite Sharee D Levite
415 Cedar Hill Road                     PO Box 534                              704 Comanche Trl
Grand Cane, LA 71032                    Joaquin, TX 75954                       West Monroe, LA 71291-8118




Dennis M Swindell                       Dennis M Zavidny                        Dennis Manly Myatt Iii Separate Property
5769 County Road 463 D                  c/o Jp Morgan Chase Bank Na             800 Hazelwood
Henderson, TX 75654                     PO Box 99084                            Shreveport, LA 71106
                                        Fort Worth, TX 76199-0084




Dennis Mark Isley                       Dennis Micheal Flynn                    Dennis Miller
1989 E 1150 N Road                      1332 232nd Pl Ne                        32 Brandy Ln
Shelbyville, IL 62565                   Sammamish, WA 98072                     Wappingers Falls, NY 12590




Dennis Myles                            Dennis Or Beth Nosker                   Dennis P Murphy
5511 Liberty St                         27677 Us Hwy 70                         3127 E Des Moines St
Cheyenne, WY 82001                      San Patricio, NM 88348                  Mesa, AZ 85213




Dennis R Huffman                        Dennis R Hyatt                          Dennis R Mitchell
28 Stonehenge                           1790 Cr 2216 N                          22103 Vista Del Plaza Ln 16
Bentonville, AR 72172                   Tatum, TX 756914124                     Hayward, CA 94541




Dennis R Ramsey                         Dennis R Wilson                         Dennis Ramsey
4201 Arrow Wood Rd                      804 Tangigoot Drive                     c/o Law Office of Dean A Searle PC
Cedar Park, TX 78613                    Aztec, NM 87410                         PO Box 910
                                                                                305 West Rusk Street
                                                                                Marshall, TX 75671



Dennis Ray Dunn                         Dennis Ray Woodfin                      Dennis Roger Tieber
3822 St Michaels Ct                     1050 Oakhaven Dr                        7700 Cody Ln
Sugar Land, TX 77479                    Roswell, GA 30075                       Apt 902
                                                                                Sachse, TX 75048




Dennis Ross Kalmbach                    Dennis S Matthews Lease Operating LLC   Dennis Venghaus Jr
122 Valley Hill Dr                      Address Redacted                        Address Redacted
West Monroe, LA 71291-8705




Dennis W Nail                           Dennis Wade Vaughn                      Dennis Wayne Cole
309 Azalea Trail                        PO Box 941                              461 Bissic Rd
Whitehouse, TX 75791                    Godley, TX 76044                        Simsboro, LA 71275
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Dennis Williams And                    Dennis Williams Venekesia S Williams      Dennis Wilson Consulting
Wife Florinda Williams                 1613 Brooks St                            111 W Ocean Blvd Suite 1240
PO Box 899                             Ruston, LA 71270-7701                     Long Beach, CA 90802
Tatum, TX 756910899




Dennis Wyatt Martin                    Denny M Smith                             Denrick Earl Lewis Et Ux
812 Stuckey Drive                      14 Susan Street                           Lorraine Brown Lewis
Longview, TX 75601                     Gladewater, TX 75647                      1243 Garr Road
                                                                                 Ruston, LA 71270




Denton B Biglane                       Denver Association Of Petroleum Landmen   Denver Earth Resources Library
75 Melrose Montebello Pkwy             535 16Th Street Suite 850                 730 17Th Street Suite B 1
Natchez, MS 39121                      Denver, CO 80202                          Denver, CO 80202




Denver Fluid System Technologies       Denver G Lee                              Denver James Bowden
Dba Swagelok Casper                    Address Redacted                          1110 Sunglade
9500 W 49Th Ave Unit D 103                                                       Gilmer, TX 75644
Wheat Ridge, CO 80033




Denver Mineral Royalty Co Ll           Denver Series Of Lockton Companies LLC    Denzil Alton Davis
100 St Paul Street                     Dept 999226                               4514 Village Center
Suite 400                              PO Box 173850                             Houston, TX 77059
Denver, CO 80206                       Denver, CO 80217-3850




Deosh Limited Partnership              Department Of Assistive And               Department Of Economic Security
Bank Of Oklahoma Na Agent              Rehabilitative Services                   3225 N Central Ave
Trust Account 25553450                 4900 N Lamar Blvd                         Phoenix, AZ 85012
PO Box 1588                            Austin, TX 78751-2399
Tulsa, OK 74101-1588



Department Of Employment               Department Of Employment Services         Department Of Environmental
100 West Midwest                       609 H Street Ne                           Equality Region 8
Casper, WY 82601-2429                  Room 362                                  Herschler Building
                                       Washington, DC 20002                      122 West 25Th St
                                                                                 Cheyenne, WY 82002



Department Of Environmental Quality    Department of Health Human Services       Department Of Labor
Region 9                               200 Independence Avenue S W               1001 N 23Rd Street
Phoenix Main Office                    Washington, DC 20201                      Baton Rouge, LA 70804
1110 W Washington St
Phoenix, AZ 85007



Department Of Labor                    Department Of Natural Resources           Department Of Natural Resources
4425 North Market Street               Office Of Conservation                    Office Of Conservation
Wilmington, DE 19802                   PO Box 94008                              PO Box 44277
                                       Baton Rouge, LA 708049008                 Baton Rouge, LA 70804-4277




Department Of Revenue                  Department Of Revenue                     Department Of Tax Revenue
301 West High Street                   PO Box 29009                              P O Drawer 3784
Harry S Truman State Office Building   Phoenix, AZ 85038                         Taxpayer Services Division
Jefferson City, MO 65101                                                         Charleston, WV 25337
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Department Of The Interior Mms         Department Of The Treasury        Department Of The Treasury
PO Box 5640                            Internal Revenue Service          Internal Revenue Service Ctr
Denver, CO 80217                       PO Box 24017                      Ogden, UT 84201-0039
                                       Fresno, CA 937794017




Department Of The Treasury Fms         Depauw University                 DepelchinS ChildrenS Center
PO Box 979101                          313 S Locust St                   100 Sandman
St Louis, MO 63197-9000                Greencastle, IN 46135             Houston, TX 77007




Dependable Pressure Testers Inc        Dependable Pressure Testers Inc   Dependable Pump Supply Inc
Dba Dpt Services                       PO Box 617                        PO Box 189
Dusti Pugh                             Carthage, TX 75633                Haynesville, LA 71038
PO Box 617
Carthage, TX 75633



Dept Of Indust Relations P/V           Dept Of Interior Mms              Dept Of The Interior Onrr
PO Box 420603                          Royalty Management Program        PO Box 25627
San Francisco, CA 94142-0603           PO Box 5810                       Denver, CO 80225-0627
                                       Denver, CO 80217-5810




Dept Of The Interior Blm Cheyenne      Dept Of Toxic Substances          Derek Adams
5353 Yellowstone Road                  PO Box 1288                       12555 Manchester Rd
Cheyenne, WY 82009                     Sacramento, CA 95812-1288         St Louis, MO 63131




Derek Andrews Irrevocable Tst          Derek James Cones                 Derek P Missimo
Agreement No 1                         5717 Levenwood Ln                 415 Southridge Lakes Pkwy
Donald Richard Andrews Jr Ttee         Austin, TX 78724-7265             Southlake, TX 76092-5910
4316 Woodwick Ct
Fort Worth, TX 76109



Derek Wallace Sr                       Derek Warren Lauren Kidd Warren   Derek William Seibert
2425 Norfolk St                        409 Carnation Rd                  120 Lee Court
National City, CA 91950                Arcadia, LA 71001                 River Ridge, LA 70123




Derika Lashay Garner                   Derly N Ramirez                   Derlyn Steadham
6603 Pine Tree Gln                     524 Ranch Road                    10504 Jeremy Pointe Ave
Houston, TX 77049-2762                 Laredo, TX 78045                  Las Vegas, NV 89144




Derrick Corporation                    Derrick Corporation               Derrick E Harris
PO Box 201211                          PO Box 301191                     105 E Wedgewood Ave Apt K308
Houston, TX 772161211                  Dallas, TX 75303-1191             Spokane, WA 99208-6871




Derrick Equipment Company              Derrick K Ludley                  Derrick Lewis
1601 S E 39Th                          2813 Logan St                     10155 Bammel N Houston Rd 706
Oklahoma City, OK 73129                Shreveport, LA 71103              Houston, TX 77086
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Derry K Mallard                           Derryberry Naifeh                          Deryl Bishop
900 Fannin Drive                          4800 North Lincoln Boulevard               113 Richardson St
Lantana, TX 76226                         Oklahoma City, OK 73105                    Joaquin, TX 75954




Deryl Winston Maberry Jr                  Des Cygne Denney Settlement Partners Ltd   Desert Hills Electric Supply
2120 Pheasant Road                        711 Navarro St Ste 536                     401 Commerce Rd
Gilmer, TX 756457362                      San Antonio, TX 78205                      Artesia, NM 88210




Desert Partners Iii Lp                    Desert Partners Iv Lp                      Desert Partners V Lp
PO Box 3579                               PO Box 3579                                PO Box 3579
Midland, TX 79702                         Midland, TX 79702                          Midland, TX 79702




Desert Schools Fcu                        Desert Tanks LLC                           Desiree Marissa Arline
148 N 48th St                             302 Ave 0                                  745 Trail Ridge Rd
Phoenix, AZ 85008                         Lubbock, TX 79401                          Matthews, NC 28105




Desk Derrick Club Of Tyler                Desoto Federal Savings Loan                Desoto Oil And Gas Trust
PO Box 1991                               Association                                Atrium 1 6800 Poplar Ave
Palestine, TX 75802                       PO Box 1209                                Suite 210
                                          Mansfield, LA 70069                        Germantown, TN 38138




Desoto Oil Company                        Desoto Parish Clerk Of Court               Desoto Parish Clerk Of Court
1901 Kinney Avenue                        101 Texas St                               PO Box 1206
Austin, TX 78704                          Mansfield, LA 71052                        Mansfield, LA 71052-1206




Desoto Parish Cmb Of Commerce             Desoto Parish School Board                 Desoto Parish Tax Assessor
PO Box 928                                201 Crosby St                              PO Box 927
Mansfield, LA 71052                       Mansfield, LA 71052                        Mansfield, LA 71052-0927




Dessie Burkett Kale                       Dessie Crane                               Dessie H Hubenthal
437 Cr 3360                               232 Hwy 507                                3329 Deborah Dr
Joaquin, TX 75954                         Simsboro, LA 71275                         Monroe, LA 71201




Dessie Lee Meadows                        Dessie M Ross                              Destiny Exploration Ltd
1906 Lee Street                           PO Box 96255                               PO Box 1507
Longview, TX 75604                        Houston, TX 77213                          Decatur, TX 76234




Detrick Services LLC                      Deus Royalty Investments LLC               Deutsche Bank Ag
PO Box 655                                PO Box 6148                                60 Wall Street
Bloomfield, NM 87413                      Tyler, TX 75711                            New York, NY 10005
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Deutsche Bank Ag New York Branch         Deutsche Bank Securities Inc     Develbis Ann Robinson
60 Wall Street                           60 Wall Street                   900 North Roby Avenue
New York, NY 10005                       New York, NY 10005               Roton, TX 79546




Deverfaux Yates Stewart                  Devillier Enterprises LLC        Devin International Inc
7215 Us Highway 79N                      1930 Highway 144                 2545 Se Evangeline Thruway
Deberry, TX 75639                        Calhoun, LA 71225                Lafayette, LA 70508




Devin International Inc                  Devin Lee Bates                  Devin Rental Tools Inc
PO Box 205353                            502 S Koenigheim Ste 1A          11757 Katy Freeway Ste 300
Dallas, TX 75320-5353                    San Angelo, TX 76903             Houston, TX 77079




Devin Rental Tools Inc                   Devin Tate                       Devlar Energy Marketing LLC
PO Box 205353                            410 East Main                    384 Inverness Pkwy
Dallas, TX 75320-5353                    Henderson, TX 75654              Englewood, CO 80112




Devon Energy Production Co LP            Devon Energy Production Co Lp    Devon Energy Production Co LP
Attn Joint Interest Accounting           PO Box 842485                    PO Box 843559
333 West Sheridan Avenue                 Dallas, TX 75284-2485            Dallas, TX 75284-3559
Oklahoma City, OK 73102-5010




Devon Steen                              Devonne Godfrey Petty            Devos Gallagher Family Partnership Ltd
Address Redacted                         PO Box 9645                      2001 Sailfish Pt Blvd Apt 317
                                         Tyler, TX 75711                  Stuart, FL 34996




Devos Iii Trust Lawrence S               Dewayne Bernaldo Warren Et Ux    Dewayne Laird
10700 Centennial Dr                      Lorena Shalaine Warren           PO Box 346
Alpharetta, GA 30022                     1507 Mitcham Orchard Road        Freer, TX 78357
                                         Ruston, LA 71270




Dewayne Marsh                            Dewayne Ward                     Dewey B Nail
1125 Denise Way                          PO Box 8865                      1422 Cr 108
San Jose, CA 95125                       Longview, TX 75607               Carthage, TX 75633




Dewey C Thurmon                          Dewey C Thurmon Usufruct         Dewey H Gayle C Singleton
1402 Shelor Drive                        PO Box 519                       PO Box 337
Ruston, LA 71270                         Ruston, LA 71273                 Arcadia, LA 71001




Dewey H Hoke                             Dewey J Stewart Est              Dewey Jadell Stewart And
13402 Belle Helene Cir                   Donald Lane Stewart Indp Admin   Paula M Owens Stewart
Cypress, TX 77429                        PO Box 1455                      PO Box 1455
                                         Ruston, LA 71270                 Ruston, LA 71273
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Dewey Miles Et Ux                       Dewey W Diane Carroll          Dewey Wilson
Gertrude Scott Miles                    1899 Cr 3193                   c/o Texas State Treasurer
808 Gilliam Street                      Joaquin, TX 75954              Unclaimed Property Division
Ruston, LA 71270                                                       PO Box 12608 Capitol Station
                                                                       Austin, TX 78711



DeweyS Welding Works                    Dewitt County Tax A/C          Dewitt County Tax A/C
PO Box 1343                             115 N Gonzales                 Susie Dreyer Tax Assessor
Levelland, TX 79336                     Cuero, TX 77954                PO Box 489
                                                                       Cuero, TX 77954-0489




Dewoody Living Trust                    Dex Media Inc                  Dexter B Ritter
c/o Co Trustees                         PO Box 619009                  220 County Road 1191
Joseph P Dewoody Kimberly A Dewoody     Dfw Airport, TX 75261-9009     Carthage, TX 75633
PO Box 471288
Fort Worth, TX 76147



Dexter Gipson                           Dexter Hill                    Dexter Jones Court Appt Rcvr
1814 Indiana Ave                        635 Wildrose Dr                For Bj And Lucile Hawthorn
Apt 6                                   Dallas, TX 75224               c/o Shelby Co District Clerk
Ruston, LA 71270                                                       PO Box 1953
                                                                       Center, TX 75935



Dfm LLC                                 Dg Services LLC                Dge Rentals
PO Box 2124                             1057 State Route 356           PO Box 25
Fort Collins, CO 80522-2124             Leechburg, PA 15656-2029       Sundown, TX 79372




Dgm Services Inc                        Dgm Supply Inc                 Dhb Partnership
PO Box 9877                             PO Box 9933                    8144 Walnut Hill Lane Ste 982
Midland, TX 79708                       Midland, TX 79708              Dallas, TX 75231




Dialog Wireline Service LLC             Dialog Wireline Services LLC   Diamond Construction Inc
Mitch Reed                              3100 Maverick Drive            27687 Hwy 157
Kilgore, TX 75662                       Kilgore, TX 75662              Shongaloo, LA 71072




Diamond D Slickline Service Co Inc      Diamond F Well Service         Diamond G Hotshot
PO Box 216                              PO Box 599                     505 Pine Street
Snyder, TX 79550                        Lyman, WY 82937                Overton, TX 75684




Diamond H Services Inc                  Diamond J Trucking             Diamond Oil Gas LLC
PO Box 3408                             PO Box 69908                   1541 Diamond Dr
Longview, TX 75606                      Odessa, TX 79769               Casper, WY 82601




Diamond S Energy Co                     Diamond Shamrock Exploration   Diamond T Services Inc
6608 Bryant Irvin Rd                    PO Box 400                     Kellijean Fisher
Fort Worth, TX 76132                    Amarillo, TX 79188             PO Box 1577
                                                                       Riverton, WY 82501
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Diamond T Services Inc                   Diamond Tank Rental Inc        Diana C Denkeler
PO Box 4192                              PO Box 4751                    PO Box 311
Lancaster, PA 17604                      Odessa, TX 79760               Diana, TX 75640




Diana Carol Mullins                      Diana Carol Tompkins           Diana Claire Mcadams
1805 Pecos Drive                         2230 Belvedere                 4221 Lostridge Dr
Brownwood, TX 76801                      Carrollton, TX 75006-1915      Austin, TX 78731




Diana Cook Pearl                         Diana Dean Kemp                Diana Dean Robinson
444 Yerba Buena Ave                      6613 Carston Ct                6613 Carston Court
Los Altos, CA 94022                      N Richland Hls, TX 76180       North Richland Hills, TX 76180




Diana Donald                             Diana Emma Tavares             Diana Evanson OConnor
2006 Fm 699                              610 E Market St 2619           711 69Th Ave North
Carthage, TX 75633                       San Antonio, TX 78205          Brooklyn Center, MN 55430




Diana Gibbs Felder Living Tst            Diana Hirsch Trust             Diana Holt Lewis
Diana Dorsey Felder Fillmore             61 W 73Rd St 1B                31319 Riverlake Rd
Liza Gibbs Felder Co Trustees            New York, NY 10023             Fulshear, TX 77441
4516 Lovers Lane Suite 141
Dallas, TX 75225



Diana L Fitch                            Diana L Jones                  Diana L Thomas
20688 N Dries Rd                         2760 Cr 341 N                  1745 N 133Rd Dr
Maricopa, AZ 85138                       Henderson, TX 75652            Goodyear, AZ 85395




Diana Lafaye May George                  Diana Lang                     Diana Langley
1117 Calico Springs Court                Address Redacted               16214 Redwood Lodge Rd
North Las Vegas, NV 89081                                               Los Gatos, CA 95033




Diana Lynn Marx Mears                    Diana M Lafon                  Diana Marie Brown
12011 136Th Ave E                        2410 Bermuda Drive             40 River Hollow Ln
Puyallup, WA 98374-4520                  Laredo, TX 78045               Houston, TX 77027-9402




Diana Mason                              Diana Mcclam                   Diana Ochoa Johnson
1 Freedom Valley Dr                      6980 Satterlee Woods Ln        Carlos Hortencia Ochoa Trust
Oaks, PA 19456                           Austell, GA 30168-6734         211 Silent Bluff Drive
                                                                        San Antonio, TX 78216




Diana P Taylor Smith                     Diana R Lynch Trust            Diana Ramsdell Kolenic Tr
3805 Allendale Dr                        Diana R Lynch Trustee          Diana Kolenic Ttee
Tyler, TX 75701                          849 Palmwood Dr                3100 Eaneswood Dr
                                         Sparks, NV 89434               Austin, TX 78746
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Diana Roland Trust                       Diana Ruth Morawski             Diana Sanders
c/o Farmers National Company             2848 Houston Wood Dr            417 Shady Trail
403 S Cheyenne                           Fort Worth, TX 76244-5562       Tool, TX 751438494
Suite 800
Tulsa, OK 74103-3842



Diana Sue Collier                        Diana Townsend Morehouse        Diana Withen
5300 Prince Ln                           401 Wiltshire Ave               10230 Fairground Rd
Flower Mound, TX 75022-8103              San Antonio, TX 78209           Wise, VA 24293




Diane B Constantino                      Diane B Quisenberry             Diane B Smith
204 Olympic Dr                           4804 Gulfway                    109 Meadow Glen Ct
Rockport, TX 78382                       Baytown, TX 77521               Aledo, TX 76008




Diane Barnes Roeske                      Diane Blane                     Diane Brooks Reese Trust
400 Farm Market Road 1358                2720 Whitewood Drive            5305 Nw 123Rd Street
Three Rivers, TX 78071                   Dallas, TX 75233                Oklahoma City, OK 73142




Diane Brown Wallas                       Diane Carey Roberts             Diane D Mcnabb
c/o Texas State Treasury                 28 Surtidor Way                 1501 Messa St
Unclaimed Property Division              Hot Springs, AR 71909           Ruston, LA 71270
PO Box 12019
Austin, TX 78711-2019



Diane D Young                            Diane Damico                    Diane Dawson
200 Bailey Ave                           1712 Robin Lane                 2125 W White Ave
Fort Worth, TX 76107                     Glenview, IL 60025              Mckinney, TX 75069-3365




Diane E Arrington                        Diane Evans                     Diane Flanagan
2777 Mission Rd                          7920 Country Club Dr Apt 4107   3094 Fm 840 East
Nashotah, WI 53058                       Sachse, TX 75048                Henderson, TX 75654




Diane Gilbert Clark                      Diane H Penney                  Diane H Smith Trust
20539 Vendale                            1101 Whisper Willow Drive       Lynn Robinsion Trustee
Lakewood, CA 90715                       Mckinney, TX 75070              c/o Kuperstein Ong LLP
                                                                         10250 Constellation Blvd Ste 1050
                                                                         Los Angeles, CA 90067



Diane Hill Ballard                       Diane Holloway Penney           Diane L Crawford
PO Box 294                               1101 Whisper Willow Drive       13735 Slate Mountain Ln
Princeton, LA 71607                      Mckinney, TX 75070              Houston, TX 77044




Diane Ley Espinoza 2002 Net              Diane Lois Dunn Lewi            Diane M Hayman
Income Charitable Remainder Unitrust     227 Fm 55                       16635 Ne 48Th Ct
Rice Trust Inc Trustee                   Waxahachie, TX 75165            Redmond, WA 98052
PO Box 2666 Mail Stop 91
Houston, TX 77252
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Diane M Norton                           Diane Mae Chesser Ncm             Diane Marie Radack
4138 Pelee Street                        Cause 17426 C Hidalgo Co          3737 Watonga Blvd Apt 88
Orlando, FL 32817                        Tx Amy Rodriguez Guardian         Houston, TX 77092
                                         11 Wassell Circle
                                         Edinburg, TX 78542



Diane Mason                              Diane Maurine Speed               Diane Miller Istre
4428 Tiffani                             PO Box 10720                      PO Box 97
Amarillo, TX 79109                       College Station, TX 77842         Morse, LA 70559-0097




Diane Montgomery Raymond                 Diane Noble                       Diane O T Bokun Suppl Needs Tr
215 Rilyn Dr                             8515 Nw 23Rd                      Brad Bokun Todd Bokun Ttees
West Palm Beach, FL 33405                Oklahoma City, OK 73127           1761 Cloverdale Ave
                                                                           Baton Rouge, LA 70808




Diane Patrick                            Diane Phillips Woodward Frost     Diane R Currie
17603 Throckley Ave                      7441 S Winston Ave                2920 Sweet William Court
Cleveland, OH 44128-1607                 Tulsa, OK 74136                   Lexington, KY 40502




Diane R Wolf                             Diane Rae Clark                   Diane Rene Stewart
700 Louisiana Suite 1100                 17114 185 Avenue Ne               4164 Maritime Dr
Houston, TX 77002                        Woodinville, WA 98072             Rancho Palos Verde, CA 90275




Diane Richards                           Diane Stevens Madden              Diane Stinson
2009 Roosevelt Dr                        PO Box 697                        2002 Sandra Lane
Ruston, LA 71270                         Ruston, LA 71273                  Grand Prairie, TX 75052




Diane T Doherty                          Diane Thompson                    Diane Tobey
155 Cross Road                           3602 Cicada Lane                  77 Summer Street
Unadilla, NY 13849                       Houston, TX 77039                 Boston, MA 02110




Diane W Leshin                           Diane W Tatem                     Diane Washington
5021 Hidden Lake Trail                   6020 Torrey Pines                 2818 Alvin Lane
Lewisville, NC 27023                     El Paso, TX 79912                 Shreveport, LA 71104




Diane Wiggins Hartley                    Diane Woodward Frost Trustee Of   Diann N Gonzalez
5100 Randol Miller Road                  Diane Woodward Frost Rev          2419 E Locust
Apt 3312                                 Living Trust Dtd 12 16 98         Laredo, TX 78043
Fort Worth, TX 76112                     7441 S Winston Ave
                                         Tulsa, OK 74136



Dianna C Martin                          Dianna Carol Martin W T Martin    Dianna G Burns
3903 Dianna Dr                           3903 Dianna Drive                 617 Shadwell
Longview, TX 75602                       Longview, TX 75602                Garland, TX 75041
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Dianna Hinton Johnson                     Dianna J Goodman               Dianna Jane Holder Daubenspeck
1204 Mariners Cove                        5202 S Cobble Creek Road 7     8150 W 123Rd Street N
College Station, TX 77845                 Salt Lake City, UT 84117       Sperry, OK 74073




Dianna Lynn Patterson                     Dianna Marie Compton           Dianna Marie Crawford
11529 Lakeland Rd                         5263 S Cody Street             3413 Jasmine Lane
Santa Fe Springs, CA 90670                Littleton, CO 80123            Rowlett, TX 75089




Dianna Mcnair Dilly Et Vir                Dianna S Stallmann             Dianne Baker As Sep Prop
Richard Dilly                             4045 Oak Hill Avenue           2206 Redfish Bay
1427 Mitcham Orchard Road                 Hospers, IA 51238              Corpus Christi, TX 78418
Ruston, LA 71270




Dianne Bratton                            Dianne Chenault Pratt          Dianne Cooke Life Estate
F/K/A Dianne Dueitt Johnston              1038 Addison Ave               Melanie Seifert Remainderman
1007 Holly Hall Drive                     Pottsboro, TX 75076            7508 Shirley Frances
Richmond, TX 77405                                                       Shreveport, LA 71129




Dianne Dailey Martin                      Dianne E Dakich                Dianne E Jones
1620 Fm 124 E                             N9083 E Miramar Dr             1502 Us Highway 79 South
Beckville, TX 75631                       East Troy, WI 531202313        Carthage, TX 75633




Dianne Faver                              Dianne Franklin Estes          Dianne Harris Findley
910 Evans                                 5716 W Highway 290 Ste 208     2730 Foxview Circle
Lufkin, TX 75904                          Austin, TX 78735-8721          Spring, TX 77386




Dianne J Shroyer                          Dianne Love Koslosky           Dianne Neilson Edgemon
191 University Boulevard                  4 Sommerset Circle             2203 Augusta
Suite 412                                 Greenwood Village, CO 80111    Mckinney, TX 75070
Denver, CO 80206




Dianne Pyle James                         Dianne Sutson Mckinney         Dianne Williamson Stuckey
100 Providence Park                       17219 Annchester               405 E Kentucky Ave
Sterlington, LA 71280                     Detroit, MI 48219              Ruston, LA 71270




Dicie Dunlap                              Dicie Jane Meredith            Dick J Simon
Route 1                                   PO Box 245                     5815 Song Ridge Ct
Falkville, AL 35622                       Burnet, TX 78611               Houston, TX 770414240




Dick Landers                              Dickey Thomas                  Dickie Hunter
8345 Cr 421                               321 County Road 193            Address Redacted
Grandview, TX 76050                       Gary, TX 75643
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Dickie Wayne Davis                       Dickinson Investment Co LLC    Diebold Investments LLC
850 Vz Cr 4821                           PO Box 250                     3058 Highway 544
Chandler, TX 75758                       Minden, LA 71058               Ruston, LA 71270




Diego A Gutierrez                        Dies Randall Walker            Diesel Truck Repair Co Inc
PO Box 440181                            610 N Mciver                   515 Jonesboro Road
Laredo, TX 78044-0181                    Madisonville, TX 77864         West Monroe, LA 71292




Dietrich Crawford                        Digby Enterprises Inc          Digital Legal
34010 Pinewoods Cir Apt 206              PO Box 24                      1050 N Post Oak Rd
Romulus, MI 48174-8218                   Wichita Falls, TX 76307        Suite 100
                                                                        Houston, TX 77055-7233




Digital Network Group Inc                Digital Networks LLC           Digital Networks LLC
20382 Hermana Cir                        Ryan Noland                    PO Box 7374
Lake Forest, CA 92630-8701               13508 S Tulsa Drive            Moore, OK 73153
                                         Oklahoma City, OK 73170




Digital Prospectors Inc                  Dinah Jeannette Briggs         Dinah R Drago
24 Smith Road Suite 503A                 5452 River Thames Rd           PO Box 12280
Midland, TX 79705                        Jackson, MS 39211              Beaumont, TX 77726




Dion And Sons Inc                        Dion Anglin                    Direct Energy
1543 W 16Th Street                       2029 Bantry Drive              PO Box 660896
Long Beach, CA 90813                     Roanoke, TX 76262              Dallas, TX 75266-0896




Direct Energy Business LLC               Direct Energy Business LLC     Directional Service LLC
1001 Liberty Avenue Suite 1200           PO Box 660749                  5320 Kennon Lane
Pittsburgh, PA 15222                     Dallas, TX 75266               Bossier City, LA 71112




Director Of Revenue                      Directv                        Directv
Secretary Of State                       2230 E Imperial Hwy            PO Box 105249
PO Box 1366                              El Segundo, CA 90245           Atlanta, GA 30348-5249
Jefferson, MO 65102




Directv                                  Dirk Michael Isley             Disa Global Solutions
Ronnie Cook                              R R 1 Box 229                  Cindy Jones Scott Harris
6550 Greenwood Plaza Blvd                Mode, IL 62444                 12600 Northborough Drive Suite 300
Englewood, CO 80111                                                     Houston, TX 77076




Disa Global Solutions Inc                Discount Imaging Of Laredo     Discovery Benefits
Dept 890314                              5702 Mcpherson                 PO Box 9528
PO Box 120314                            Suite 11                       Fargo, ND 58108
Dallas, TX 75312-0314                    Laredo, TX 78041
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Discovery Logging Inc                    Discus Oil Corporation                  Dish Network
1000 S Goode St                          PO Box 458                              PO Box 105169
Midland, TX 79701                        Plain Dealing, LA 71064                 Atlanta, GA 30348-5169




District Clerk Of Shelby Cnty            District Clerk Of Shelby Count          District Clerk Of Shelby Cty
Will Thompson Heirs Cause 98Cv 25        Cynthia Chappell Cause 98Cv 25855       W E Collins Cause 98Cv 25855
Po Drawer 1953                           P O Drawer 1953                         Po Drawer 1953
Center, TX 75935-1953                    Center, TX 75935-1953                   Center, TX 75935-1953




Ditch MagnetS Direct                     Diverse Scaffold Solutions LLC          Diversified Energy Series A
6300 Hillcroft Ave                       Annie Cook                              One North End Ave Suite 1301
Suite 519                                501 Bering Drive Suite 455              New York, NY 10282
Houston, TX 77081                        Houston, TX 77057




Diversified Energy I LLC                 Diversified Energy Series B             Diversified Equipment Lp
Series B                                 One North End Ave Suite 1301            PO Box 154
Georgianna Hanes Orri                    New York, NY 10282                      Plains, TX 79355
One North End Ave Suite 1301
New York, NY 10282



Diversified Field Services Inc           Diversified Lenders                     Diversified Lenders Inc
PO Box 5966                              Fbo Long Star Utility Electrical Svcs   Fbo 31 Energy Services Llc
Hobbs, NM 88241                          PO Box 6565                             PO Box 6565
                                         Lubbock, TX 79493                       Lubbock, TX 79493-6565




Diversified Lenders Inc                  Diversified Lenders Inc                 Diversified Oilfield Trading Enterprises
Fbo Long Star Trucking And Field Svcs    PO Box 6565                             Dba Dot Enterprises
PO Box 6565                              Lubbock, TX 79493-6565                  PO Box 2920
Lubbock, TX 79493-6565                                                           Kilgore, TX 75663




Diversified Project Services Intl        Diversified Rox Minerals LLC            Diversified Well Logging LLC
5351 Olive Drive                         306 West 7Th Street Ste 901             PO Box 670327
Suite 100                                Fort Worth, TX 76102                    Dallas, TX 75267-0327
Bakersfield, CA 93308




Diversified Well Logging LLC             Diversifire Inc                         Divia Jane Brister Henshaw
Richard Klibert                          1433 Natchitoches St                    123 Odis Wade Rd
711 West 10Th Street                     West Monroe, LA 71292                   Oak Grove, LA 71263
Reserve, LA 70084




Division Of Employment Security          Dixie Ann White                         Dixie C Givens
421 East Dunklin Street                  5 King Drive                            269 Garr Road
Jefferson City, MO 65104                 Clarksville, AR 72830                   Ruston, LA 71270




Dixie Electric LLC                       Dixie Electric LLC                      Dixie Electric LLC
Rich Fontenot                            701 Tradewinds Blvd                     PO Box 670367
218 Williams                             Midland, TX 79706-3148                  Dallas, TX 75267
Odessa, TX 79763
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Dixie L Hester                           Dixie Lee Barrett Nims         Dixie Lee Harris Hyde
10016 Lakeshore Drive                    884 Tamarack Avenue            648 Nw East Thorton Lake Dr
Tyler, TX 75707                          Tallahassee, FL 32303          Albany, OR 97321




Dixie Lee Harrison Lawson                Dixie M Sylvester Bunton       Dixie Wilburn Tyler
2926 Cr 3373                             PO Box 818                     Unclaimed Money Fund
Joaquin, TX 75954                        Carencro, LA 70520             Capitol Station
                                                                        PO Box 12608
                                                                        Austin, TX 78701



Dixon Dunn                               Dixon H Cain                   Dixon H Cain Estate
2926 High St 303                         PO Box 56367                   PO Box 56367
Oakland, CA 94619                        Houston, TX 77256-6367         Houston, TX 77256




Dixon Services Inc                       Dj Oilfield Services LLC       Dj Oilfield Services LLC
PO Box 6602                              Doug Parsley                   PO Box 1617
Tyler, TX 757116602                      1833 State Hwy 300             Levelland, TX 79336
                                         Levelland, TX 79336




Dj Resources Holdings LLC                Dj Resources LLC               DJ Trks
One Riverway                             1600 Broadway                  2706 W Hillmont
Suite 1870                               Suite 1960                     Odessa, TX 79764
Houston, TX 77056                        Denver, CO 80202




Djb Investment Company LLC               Djb Royalty Ventures Lp        Djk Trust
10607 E 100Th Place                      PO Box 3147                    Donald C Babel Trustee
Tulsa, OK 74133                          Longview, TX 75606             3421 Pecos St No12
                                                                        Austin, TX 78703




Djr Land Livestock                       Djs Glass Plus                 DK Field Ltd
Star Route Box 120                       3700 Hwy 374                   PO Box 567
Lyman, WY 82937                          Green River, WY 82935          Lockhart, TX 78644




Dk Investments Inc                       Dl Perkins Energy LLC          Dlc
828 E Edgehill Road                      PO Box 700570                  21800 Oxnard Street Suite 980
Salt Lake City, UT 84103                 Tulsa, OK 74170                Woodland Hills, CA 91367




Dlc Consulting Inc                       Dlm Family Investments Lp      Dlr Pumping Service LLC
Delton Caddell                           PO Box 418                     306 Sw Ave J
PO Box 12757                             11243 State Hwy 59 N           Seminole, TX 79360
Odessa, TX 79768                         Montague, TX 76251




Dls Hot Shot Service LLC                 Dmc Carter Chambers Inc        Dmc Oilfield Services LLC
PO Box 623                               PO Box 935076                  PO Box 1890
Kermit, TX 79745-0623                    Atlanta, GA 31193-5076         Hobbs, NM 88241
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Dms Property Tax Consultants              Dn Bell                         Dnb Engineering Inc
PO Box 5677                               PO Box 381                      3535 W Commonwealth Ave
Abilene, TX 79608                         Mansfield, LA 71052             Fullerton, CA 92833




Dnow L P                                  Dnow Lp                         Dnr Oil Gas Inc
Gb Quick                                  PO Box 200822                   12741 E Cakey Unit 142
7402 N Eldridge Pkwy                      Dallas, TX 75320-0822           Englewood, CO 80111
Houston, TX 77041




Doc Energy Services Inc                   Doc Energy Services Inc         Docha M Daniels
Jayme Taylor                              PO Box 580                      PO Box 268
PO Box 580                                Oil City, LA 71061              Diana, TX 75640
Oil City, LA 71061




Docia Ann Hamilton                        Dock Eric Crane                 Dock Garrett
1498 Cr 3177                              236 Hwy 507                     c/o Texas State Treasury
Joaquin, TX 75954                         Simsboro, LA 71275              Unclaimed Property
                                                                          PO Box 12019
                                                                          Austin, TX 78711-2019



DocS Reverse Units And Rental Tools Inc   Docvue LLC                      Dodge C Hubbard
PO Box 1540                               19181 Highway 8                 PO Box 820635
Monahans, TX 79756                        Morrison, CO 80465              Dallas, TX 75382




Dodson Helen M                            Dodson Joe                      Dodson Trucking Inc
14407 Cr 2194 N                           18543 Cr 2213D                  18543 Cr 2213 D
Tatum, TX 75691                           Tatum, TX 75691                 Tatum, TX 75691




Doe Creek Well Service Construction       Doi Bureau Of Land Management   Dolan Badgett Conaster
515 County Road 3316                      Rawlins Field Office            3136 Hudson Dr
Joaquin, TX 75954                         PO Box 2407                     Loveland, CO 80538
                                          Rawlins, WY 82301-2407




Doll Gregory Q                            Dollahite Charles Randall       Dollahite Mary Orlena
1118 Dominion Drive                       PO Box 1103                     2420 Fm 1725
Katy, TX 77450-3015                       Orr City, TX 75683              Willis, TX 77378




Dollahite Richard Lee                     Dollahite Wesley                Dollahite Wesley W Billie Dollahite
1009 Wayne Drive                          4459 Smelley Road               PO Box 1489
Round Rock, TX 78664                      Longview, TX 75605              Longview, TX 75606-1489




Dollie A Husfeld                          Dollie Britt Meares             Dolly Richter Watson
24603 Lori Lane                           2174 Mitcham Orchard Rd         Memorial Foundation
Magnolia, TX 77355                        Ruston, LA 71270                PO Box 560
                                                                          Laredo, TX 78042
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Dollye Calvert Villena                    Dolores Angelina De La Garza    Dolores B Sossaman
2506 North Hill Parkway                   1619 Farragut St                407 Arlington Pl
Atlanta, GA 30341                         Laredo, TX 78040                West Monroe, LA 71291-2201




Dolores Benavides De La Garza             Dolores C Evans                 Dolores Cross Douglas
1619 Farragut St                          10646 Pagewood Dr               50244 Helfer Blvd
Laredo, TX 78040                          Dallas, TX 75230-4258           Wixom, MI 48393




Dolores J Harper Upton                    Dolores J Salvaterra Shamblin   Dolores Jane Williams
333 Lee Drive                             3223 Timberview Rd              543 County Road 1545
Apartment 106A                            Dallas, TX 75229                Alba, TX 75410
Baton Rouge, LA 70808




Dolores Jean Perdue                       Dolores K Wilkenfeld Trust      Dolores L Mccall
16275 Cr 1235                             Mark J Brookner Trustee         Po Drawer 2206
Tyler, TX 75709                           PO Box 27376                    Midland, TX 79702
                                          Houston, TX 772277376




Dolores Mooers Trust                      Dolores Roe                     Dolores Santos Trevino
c/o Texas State Treasury                  Box 435                         209 Maguey Drive
Unclaimed Property Division               Robert Lee, TX 76945            Laredo, TX 78041
PO Box 12019
Austin, TX 78711-2019



Dolores Wooten                            Dolphin Graphics                Dolphin Investments Corp
627 Ridge Rd                              5601 Bintliff                   640 Paint Pony Trl N
Lafayette, LA 70506                       Suite 530                       Fort Worth, TX 76108-4315
                                          Houston, TX 77036




Domingo Campos                            Dominic L Sherpy                Dominic P Hart
PO Box 1112                               1293 Alamo Ct                   PO Box 137
Freer, TX 78357                           Frisco, TX 75033                Rio Linda, CA 95673




Dominion Gas EP Lp                        Dominion Gas Ventures Lp        Domino Federal Credit Union
Attn Lucien Tujague Jr                    2720 Stemmons Freeway           4402 S Lake Dr
2720 Stemmons Freeway                     Suite 700 South Tower           Texarkana, TX 75501
Suite 700                                 Dallas, TX 75207
Dallas, TX 75207-2203



Don A Culwell Jr                          Don A Deason                    Don A Moody And Janice Moody
7811 Hiawatha Drive                       1403 Slaydon                    3785 State Hwy 7 East
Houston, TX 77036                         Henderson, TX 75652             Center, TX 75935




Don B Rudd                                Don Braziel                     Don C Mary R Burns
2024 Schumack Lane                        PO Box 906                      2071 Highway 850
Bedford, TX 76022                         White Oak, TX 75693             Grayson, LA 71435
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Don C Self                             Don Campbell                   Don D Webber
11733 Tivoli Avenue Ne                 3700 Mccann Road Apt 158       581 Northpark Ct
Albuquerque, NM 87111                  Longview, TX 75605             Bossier City, LA 71111




Don Dee Cooper                         Don Durrett                    Don Durrett Martha Garrison Durrett
324 W 3Rd Street                       PO Box 845                     PO Box 845
Tyler, TX 75701                        Aspermont, TX 79502            Aspermont, TX 79502




Don Durrett Martha Sharon G Durrett    Don E Hennig                   Don E Laroe
PO Box 845                             3906 Silverwood                PO Box 658
Aspermont, TX 79502                    Tyler, TX 75701                Groveton, TX 75845




Don E Majorie C Lawson                 Don Earl Hall                  Don Edward Pierce
4515 S Skyline Rd                      PO Box 1203                    c/o Texas Comptroller Of Public Accounts
Casper, WY 82604-9251                  Tatum, TX 75961                Unclaimed Property Division
                                                                      PO Box 12019
                                                                      Austin, TX 78711-2019



Don Edwards Enterprises Lp             Don Estovan Culbertson         Don Eugene Bates
584 Addison Road                       2372 Oxbow Circle              1404 Blunt Mill Rd
Mansfield, LA 71052                    Stone Mountain, GA 30087       Grand Cane, LA 71032




Don G Adams Sr                         Don Guin And Ann Guin          Don H Ford
PO Box 4445                            17389 Hidden Valley Lane       4525 Willowglen St
Horseshoe Bay, TX 78657                Flint, TX 75762                Orange, TX 77630




Don H Ripley                           Don H Wilcox                   Don Ivy
309 Willow Creek Ln                    8506 Pines Place Drive         3807 Nw Cr 0009
Ovilla, TX 75154                       Humble, TX 77346               Corsicana, TX 75110




Don J Leeman                           Don K Glenn                    Don Keith Dorsey
50 Penn Pl Ste 1450                    6219 Calender Rd               10020 S Nogales Hwy Unit 5
Oklahoma City, OK 73118                Arlington, TX 76001-5439       Tucson, AZ 85756




Don Kern And Melinda Kern              Don Kevin Grove                Don L Fenton
2774 Cr 311 South                      415 Prospectors Point          6406 Ashmore Lane
Henderson, TX 75653                    Grand Junction, CO 81507       Tyler, TX 75703-5818




Don L Guin                             Don L Holloway                 Don Lenard
17389 Hidden Valley Lane               475 Stagecoach Road            357 Cottonwood Ave Apt 202
Flint, TX 75762                        Royse City, TX 75189           Hartland, WI 53029-2025
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Don Lotspeich                            Don Louis Broussard            Don M Williams
313 Pecan Loop Dr                        11671 Shellfish Dr             1001 Laurel Lane
Baytown, TX 77523                        Jacksonville, FL 32246         Nacogdoches, TX 75961




Don Marvin Mcgehee And                   Don Mathews                    Don Matthews
Carolyn Powell Mcgehee                   Box 777                        Box 777
2214 Hwy 3061                            Sour Lake, TX 77659            Sour Lake, TX 77659
Ruston, LA 71270




Don Maurice Honeycutt Jr                 Don Melvin Ashby               Don Michael Coker
1099 S Us Highway 79                     PO Box 1173                    PO Box 2185
Carthage, TX 75633                       Inyokern, CA 93527             Corsicana, TX 75151




Don Mullis                               Don Nan Pump Supply Co Inc     Don Otho Mcgee Baker Jr Sp
5758 Pinola Dr                           PO Box 11367                   Rt 2 Box 704
Bartlett, TN 38134                       Midland, TX 79702              PO Box 387
                                                                        Leland, MS 38756




Don Owens                                Don Paul Tiemann               Don Pinkston Sp
6162 Sibling Pine Dr                     1371 Brandi Circle             1565 Coleman Road
Durham, NC 27705                         Kyle, TX 78640                 Karnack, TX 75661




Don R Brinkley                           Don R Cantrell                 Don R Miller Iii
307 S 39Th Cir                           5666 Del Monte                 Box 161507
Corsicana, TX 77510-4831                 Houston, TX 77056              Austin, TX 78716




Don Ray George Assocs Inc                Don Rhodes Associates Inc      Don Rip Miller Trust
1604 Rio Grande Street                   940 East 51st Street Ste 108   Don Rip Miller Trustee
Austin, TX 78701-1194                    Austin, TX 78751               PO Box 161507
                                                                        Austin, TX 787161507




Don Robert Ford                          Don Russell                    Don S Lassiter
1154 Fm 3277 7                           2821 Cr 3173                   125 Creek Rdg
Livingston, TX 77351                     Joaquin, TX 75954              Waco, TX 76708-5445




Don S Mears                              Don S Sample                   Don S Taylor
3201 English Turn                        443 Westminster                PO Box 420007
Ruston, LA 71270                         Houston, TX 77024-5624         Houston, TX 77242-0007




Don Sara Moore LLC                       Don Springer                   Don V Ingram
7 E Rex Beard Rd                         1531 Industrial St             2200 Ross Ave Suite 4500E
Haughton, LA 71037                       Hudson, WI 54016               Dallas, TX 75201
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Don W Allen                              Don W Arnold                             Don W Bounds
3815 Rustic Arbour Ln                    3618 Vineyard Drive                      538 Cr 3818
Sugar Land, TX 77478                     Houston, TX 77082                        Joaquin, TX 75954




Don W Davis                              Don W June Johnston Barnett              Don W Turner
5005 Heather Rd                          1905 Warwick Cir E                       4456 Connestee Trail
Midland, TX 79705                        Longview, TX 75601                       Brevard, NC 28712




Don Warren Duran                         Don Wolf Associates Inc                  Don Young Fisher
1311 Live Oak                            21955 Plummer Street                     4500 Beverly Dr
Lufkin, TX 75901                         Chatsworth, CA 91311                     Dallas, TX 75205-3004




Dona A Nelson                            Donal R Brooks                           Donal R Brooks Glenda Brooks
503 8Th St                               2807 Fm 225 South                        2807 Fm 225 South
Tuscumbia, AL 35674                      Henderson, TX 75126                      Henderson, TX 75126




Donald A Perkins                         Donald And Janet Stow Lvng Tst           Donald Andrews Jr
8344 E Lake Bradley Rd                   457 S Memphis Way 9                      4316 Woodwick
Floral City, FL 34436                    Aurora, CO 80017                         Fort Worth, TX 76109




Donald Anthony Rogers                    Donald B Anderson Ltd                    Donald B Johnson Jr
3414 Southwest Seventh Lane              c/o Anderson Oil Company                 PO Box 746
Cape Coral, FL 33991                     1225 17Th St Suite 1750                  Longview, TX 75606
                                         Denver, CO 80202-5534




Donald B Robbins                         Donald B Smith Barbara Libengood Smith   Donald Bennett Bolt Jr
Address Redacted                         PO Box 99                                Unit 1108
                                         Simsboro, LA 71275                       15400 Emerald Coast Parkway
                                                                                  Destin, FL 32541




Donald Brooks Miller                     Donald Brunson                           Donald Bulloch
307 North Creek                          20 E Broad Oaks Dr                       PO Box 312
Chandler, TX 75758                       Houston, TX 77056-1224                   Dermott, AR 71638




Donald C Allman Trust                    Donald C Babel Gst Trust                 Donald C Daniel
c/o Jpmorgan Chase Bk Na Ttee            Donald C Babel Trustee                   8306 Kelly Lane
Trust Minerals Sec 1002600               3421 Pecos St 12                         Greenwood, LA 71033
PO Box 99084                             Austin, TX 78703
Fort Worth, TX 76199-0084



Donald C Dolezal                         Donald C Lee                             Donald C Sitta
3974 Goodfellow Dr                       8511 Lee Kerby Road                      PO Box 993
Dallas, TX 75229                         Big Spring, TX 79720                     Farmington, NM 87499
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Donald C Wall                            Donald D Gregg                     Donald D Smith
405 Oak Hollow Lane                      805 Geney Street                   2713E 1100 South
Fort Worth, TX 76112                     Brenham, TX 77833                  Warren, IN 46792




Donald Degasus Baskerville               Donald E Baxter                    Donald E Chapin
388 Pepper Drive                         Charles Schwab Co Inc Cust         104 S Wolcott Ste 600
Vallejo, CA 94590                        Ira Contributory                   Casper, WY 82601
                                         400 Tecumseh Ln
                                         Houston, TX 77057



Donald E Jones Et Ux Joyce Jones         Donald E Laster                    Donald E Roberson Sr Sep Prop
155 Brown Rd                             5215 N Wood Lane                   4247 Narraganset Way
Quitman, LA 71268                        Longview, TX 75601                 Mather, CA 95655




Donald E Walker                          Donald Earl Deal Sr And            Donald Earnest Turner
511 East Citation                        Peggy Ann Pierson Deal             106 Chadwick Ave
Tempe, AZ 85284                          1517 Nat Street                    Wilmington, NC 28401
                                         West Monroe, LA 71292




Donald Edwin Mcconnell                   Donald Emory Colvin                Donald Eugene Brightwell
7211 Hopeton Road                        10823 Woodland Oaks Dr             406 S Marshall St Apt 7
Charlotte, NC 28210                      Baton Rouge, LA 70809              Henderson, TX 75654-3755




Donald Eugene Plunk                      Donald Eugene Rice                 Donald Everett Woodard
1608 Jonesboro Rd                        5B Grayson Court                   200 Parrish St
West Monroe, LA 71292                    Longview, TX 75604                 Rusk, TX 75785




Donald F Duncan                          Donald Frank Dean A/K/A Don Dean   Donald Fred Blalock
PO Box 57147                             202 Ivy Ln                         2905 Gilmer Road Apt 214
Oklahoma City, OK 73101                  Longview, TX 75605                 Longview, TX 75604




Donald G Broadus                         Donald G Disotell                  Donald G Furr
6615 Hwy 43 N                            7113 Highway 518                   Margaret Furr Guardian Of Per
Marshall, TX 75672                       Athens, LA 71003                   1382 Spa Creek Lndg
                                                                            Annapolis, MD 21403




Donald Gene Givens                       Donald Glenn Haskins               Donald Glenn Sanford
5824 Naff Ave                            3072 Danville Road                 492 Beulah Church Road
Bastrop, LA 71220                        Kilgore, TX 75662                  Calhoun, LA 71225




Donald Greg Guinn                        Donald Gutman                      Donald H Duggan Credit Shtr Tr
PO Box 7546                              8784 Petite Creek Dr               Molly Jones Duggan Trustee
Tyler, TX 75710                          Roseville, CA 95661                4610 Dixie Shreveport Road
                                                                            Shreveport, LA 71107
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Donald H Judson                         Donald H Williams               Donald Haycraft Bunnell Ii
PO Box 10010                            PO Box 1337                     200 Palm Drive
Midland, TX 79702                       Salado, TX 765711600            Palestine, TX 75803




Donald Herman                           Donald Hoffmann                 Donald Honeycutt Jr
PO Box 1433                             293 County Road 406             1099 U S Highway 79 S
Pioneer, CA 95666                       Yoakum, TX 77995-5082           Carthage, TX 75633




Donald J Allen                          Donald J Allen Sandra Allen     Donald J Byrd
1002 Cedar Creek Rd                     1002 Cedar Creek Rd             1381 Hwy 519
Ruston, LA 71270                        Ruston, LA 71270                Arcadia, LA 71001




Donald J Cochran And Debra P Cochran    Donald J Frances K Zadeck       Donald J Hays Trustee Of
236 Happy Trails                        c/o Zadeck Energy Group I       The Jerry L Hays Ann L Hays
Ruston, LA 71270                        401 Market Street Suite 480     Revocable Living Trust
                                        Shreveport, LA 71101            20519 Falvel Road
                                                                        Spring, TX 77388



Donald J Jackson                        Donald J Jacobs Olga P Trte     Donald J Whitten
c/o Texas State Treasury                Jacobs Family Tr Dtd 02/18/92   8108 Coach Drive
Unclaimed Property Division             5700 Pembroke Ave               Oakland, CA 946054205
PO Box 12019                            Bakersfield, CA 93308
Austin, TX 78711-2019



Donald Jacques Briggs                   Donald James Griffin And        Donald Jones Family Trust
86 Earl Road                            Nancy Baker Griffin             1122 Judson Road
Panama City, FL 32417                   145 Purslane                    Longview, TX 75601
                                        Kilgore, TX 75662




Donald K Bates And Margaret Bates       Donald Kay Hendrickson          Donald Keith Huddleston
PO Box 260                              194 Nw 196Th Rd                 1003 Bazzell
Tenaha, TX 75974                        Wilburton, OK 74578             Longview, TX 75604




Donald Kelly                            Donald L Austin                 Donald L Belton
1069 County Road 421 North              PO Box 2535                     2200 W Laurel Ave Apt 106
Henderson, TX 75652                     Dublin, CA 94568-0253           Rogers, AR 72758-5087




Donald L Belton Et Ux                   Donald L Bullock                Donald L Conatser
Mary Allen Belton                       322 Orleans Dr                  7342 S Victor Ave Apt 1715
3985 Hwy 544                            Shreveport, LA 71106            Tulsa, OK 74136
Simsboro, LA 71275




Donald L Crow                           Donald L Griffith               Donald L Robbins Etux
6615 Haughton                           PO Box 280                      Marilyn Martin Robbins
Spring, TX 77389                        Ennis, TX 75120                 783 Della Road
                                                                        Dubach, LA 71235
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Donald L Skains                          Donald Lane Stewart                Donald Lee Robbins And Olimbia R Robbins
923 Pipes Rd                             3615 Coleman Rd                    1011 Hunt Ln
Ruston, LA 71270                         Benton, LA 71006-9675              Ruston, LA 71270




Donald Lewis                             Donald M Downey Gale C Downey      Donald M Jones
4645 Bellflower Blvd Unit 1              39374 Bay Dr                       16954 County Road 136
Long Beach, CA 90808                     Ponchatoula, LA 70454              Tyler, TX 75703




Donald M Liles                           Donald Mack Glenn                  Donald Mack Glenn And Lisa Renee Glenn
13754 Hwy 84                             3838 Hwy 43 E                      3838 Hwy 43 E
Logansport, LA 71049                     Henderson, TX 75652                Henderson, TX 75652




Donald Madison Williams                  Donald Marshall                    Donald Marshall Markham Family Trust
c/o Wanda Williams Shelby Dur            140 Bessie Foy Rd                  PO Box 241
1401 Cedar Creek Road                    Richlands, NC 28574                Center Point, TX 78010-0241
Ruston, LA 71270




Donald Martha Fennell                    Donald Martin Durrett              Donald Maurice Walk
PO Box 563                               3424 Brush Creek Rd                PO Box 2564
Gilmer, TX 75644                         Oklahoma City, OK 73120            Estes Park, CO 805172564




Donald Maxfield                          Donald Mcmahon                     Donald Meltzer
3005 Harbor Dr                           13865 S 294Th East Avenue          1722 Pollard Pkwy
Rockwall, TX 75087-5310                  Coweta, OK 74429                   Baton Rouge, LA 70808




Donald Morgan Mitchell                   Donald Morgan Mitchell Indiv And   Donald O Dees
404 Oxford St Apt 1224                   As Poa For Jerry Wayne Mitchell    163 Millerton Road
Houston, TX 77007-2674                   1284 Wafer Rd                      Danville, VA 24540-2815
                                         Ruston, LA 71270




Donald P Gann Jr                         Donald P Lloyd                     Donald Price
1349 Steepchase Ln                       PO Box 3685                        Address Redacted
Aledo, TX 76008                          Longview, TX 75606




Donald R Bramlett And                    Donald R Fullilove                 Donald R Hoogland
Mary Jon Jefcoat Bramlett                418 Kenshire Ct                    10333 Garwood Drive
1154 Highway 563                         Shreveport, LA 71115               Dallas, TX 75238
Dubach, LA 71235




Donald R Mary Horton                     Donald R Moore                     Donald R Russell
1501 Alta Dr                             175 County Road 2565               2245 Highway 160
Fort Worth, TX 78714                     Center, TX 75935-6645              Benton, LA 71006
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Donald R Upchurch                       Donald R Wallace                     Donald R Wallace Kathryn W Wallace
8388 Hwy 822                            2902 Durban Dr                       9010 Greenwood Rd 40
Dubach, LA 71235                        Houston, TX 77043-1303               Greenwood, LA 71033-2924




Donald R Whitehead                      Donald R Workins                     Donald R Yaklin Wife Lisa Yakin
9907 Cr 317 South                       945 Manor Dr                         PO Box 1048
Henderson, TX 75654                     Henderson, KY 42420                  Leakey, TX 78873




Donald Randolph Stueart                 Donald Ray Copeland                  Donald Ray Smith
132 Rainbow Dr                          1304 Beverly                         272 Emma Cemetery Road
Livingston, TX 77399-1032               Henderson, TX 75654                  Cotton Valley, LA 71018




Donald Robert Roose Jr                  Donald Roy Faust                     Donald Roy Faust And
1502 Timber Ridge                       1665 Woodberry Run Dr                Margaret Lee Williams Faust
Euless, TX 76039                        Snellville, GA 30078-5663            833 Merian Dr
                                                                             Burleson, TX 76028




Donald S Potier                         Donald Swanner                       Donald T Edwards
811 Wheelis Street                      422 Sugar Creek Loop                 14935 Hwy 789
West Monroe, LA 71291                   Minden, LA 71055                     Keithville, LA 71047




Donald T Hanley Jr                      Donald Thompson                      Donald Thompson And Tony Thompson
1217 Gretchen Ln                        PO Box 1190                          PO Box 1678
Bossier City, LA 71112                  Florence, AL 35631                   Gladewater, TX 75647




Donald Troy Cotten                      Donald Vaughn Lawler                 Donald W English
PO Box 2928                             1604 Colonial Dr                     1176 Wemple Rd
Glen Rose, TX 76043                     Longview, TX 75605                   Bossier City, LA 71111




Donald W Hecker                         Donald W Mcmahone Melinda Mcmahone   Donald W Molly Skinner
c/o Itr Petroleum Inc                   2400 Hillside Rd                     3391 Dianna Drive
1300 Main St Ste 512                    Ruston, LA 71270                     Longview, TX 75602
Houston, TX 77002




Donald W Nicholson Dba                  Donald W Rinehart                    Donald W Roth
NicholsonS Brushhog Srvc                309 Paradise Dr                      8300 E Mcdowell Rd Unit 2013
15033 Cr 173 N                          Jonesboro, LA 71251                  Scottsdale, AZ 85257-4250
Kilgore, TX 75662




Donald W Street                         Donald W Vaughan                     Donald Walker
340 Laurelwood Dr                       209 Cr 445                           8705 Creswell Rd
Tyrone, GA 30296                        Carthage, TX 75633                   Shreveport, LA 71106
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Donald Ward                              Donald Warren Settle                Donald Wayne Britt
144 Curtis St                            1230 Winona Ct Apt 2                105 Bluff Drive
Tatum, TX 75691                          Denver, CO 80204-1160               West Monroe, LA 71291




Donald Wayne Harris                      Donald Wayne Maddox                 Donald Wayne Maddox Evelyn Maddox
6277 Big Oak Dr                          Individual                          PO Box 1074
Sanger, CA 93657                         PO Box 1074                         Henderson, TX 75653
                                         Henderson, TX 75653




Donald Wayne Rhodes                      Donald Wayne Whitlock               Donald William Murphy
486 Cr 4813                              1609 North Rodeo                    389 John Price Rd
Timpson, TX 75975                        Gladewater, TX 75647                West Monroe, LA 71292




Donald Wisda                             Donald Zimmerman                    Donann Allen Bowes
625 Los Angeles Ave                      Zimmerman Sep Ira                   30171 Chestnut Drive
Monrovia, CA 91016                       Rbc Capital Markets Llc Cust        Evergreen, CO 80439
                                         845 W Wolfram St
                                         Chicago, IL 60657-5158



Donardo Augustine                        Donato Minx Brown Pool P C          Donato D Ramos
3900 Dalecrest Dr Apt 1054A              Tommy W Gillaspie                   PO Box 452009
Las Vegas, NV 89129                      3200 Southwest Freeway Suite 2300   Laredo, TX 78045
                                         Houston, TX 77027-7525




Donato D Ramos Sr                        Donato Martinez                     Donco Chemical Corp
PO Box 452009                            13107 Vista Loma                    PO Box 1619
Laredo, TX 78045                         San Antonio, TX 78216               Levelland, TX 79336-1619




Donelle L Culley                         Donelson N Shannon                  Donesha Lareece Giles
4807 A Abraham Ln                        2704 Hanover                        PO Box 92558
Phoenix, AZ 85054                        Dallas, TX 75225                    Pasadena, CA 91109




Donia Ann Garlington                     Donie Crawford Fagan Est            Doniva J Simons
701 S College 318                        c/o Eloise Lake Davis               PO Box 225
Lafayette, LA 70503                      1901 E Seminary Dr 326              Chatham, LA 71226
                                         Ft Worth, TX 76119




Donn G Thompson                          Donna A Findley                     Donna And J C Green
475 Merritt Road                         3518 Millstone                      348 Cr 3188
Benton, LA 71006                         San Antonio, TX 78230               Joaquin, TX 75954




Donna Anderson                           Donna Barlow Smith                  Donna Barrios Rodrigue
3444 Hideaway Ln                         PO Box 1689                         529 St Philip St
Marshall, TX 75672                       Ruston, LA 71270                    Thibodaux, LA 70301
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Donna Barrios Rodrique                   Donna Bates Lynch                   Donna C And Harry A Shetrone
529 St Philip Street                     1210 Cr 140                         4055 Willow Ridge Dr
Thibodaux, LA 70301                      Burnet, TX 78611                    Dallas, TX 75244-7360




Donna C Cox                              Donna C Doebbler                    Donna Dean
6188 Fm 839 South                        9914 Crescent Moon Drive            2503 Ramblewood Drive
Henderson, TX 75654                      Houston, TX 77064                   Henderson, TX 75652




Donna Delores Bodin                      Donna Denice Clark                  Donna Denise Dean
10918 Autumn Mist                        106 Ridge Rd                        PO Box 448
Magnolia, TX 77354                       Frankston, TX 75763                 New London, TX 75682-0448




Donna Dorsey Aaron Special Needs Tr      Donna Dudley Willis Estate %        Donna Elizabeth Laskey Newton
Loy E Dorsey Iii Ttee                    Kathleen Brooks Verschoyle Admrix   230 Leovy Ave
1501 Briarwood Trl                       PO Box 568                          Pass Christian, MS 39571
Henderson, TX 75654                      Atlanta, TX 75551




Donna Faye Allen                         Donna Fisher                        Donna Foshee Campanello
391 Coventry Dr                          20 Ryan Court                       2207 Dogwood Drive
Nashville, TN 37211                      Stanford, CA 94305                  Nacogdoches, TX 75965




Donna Fowler Belcher                     Donna Funk Kettenburg               Donna G Hinman Sp
255 Jennifer Ln                          2 Alice Ann Rd                      14107 Ravenhurst Lane
Dubach, LA 71235                         Newbury Park, CA 91320              Houston, TX 77070




Donna G Liles                            Donna Gilbert Vining                Donna Griffith Towns
PO Box 735                               296 Winnfield Road                  2409 Hwy 517
Tatum, TX 75961                          West Monroe, LA 71292               Gibsland, LA 71028




Donna Guice                              Donna Guynes Haigler                Donna Hayslip
500 Parker Drive 3015                    9319 Briartrail Avenue              605 Northshore Drive
San Marcos, TX 78666                     Baton Rouge, LA 70809               Port Isabel, TX 78578




Donna J Lambert                          Donna J Youngblood                  Donna Jean Dykes Skinner
PO Box 588                               1356 Cr 266                         640 11 Tete LOurs
Elkhart, TX 75839                        Beckville, TX 75631                 Mandenville, LA 70471




Donna Jean Golden                        Donna Jean Tingle                   Donna Jean Wright
46 8 Nassau Colony                       325 Greencode Lot 47                PO Box 2790
6800 State Park Rd                       Huntsville, AL 35803                St Francisville, LA 70775
Fox Lake, IL 60020
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Donna Kaspar Lewis                     Donna Kay Glenn Julian         Donna Kay Holmes
1901 Tiara Dr                          6219 Calendar Road             457 County Road 421
Ojai, CA 93023                         Arlington, TX 76001            Carthage, TX 75633




Donna Kay Huffman Clark                Donna Kay Wash Martin          Donna Kerr Barron
3323 Gilmer Rd                         632 Willie Glaze Road          516 W Third St
Longview, TX 75604                     Grand Cane, LA 71032           Tyler, TX 75701




Donna Kertacy Williams                 Donna L Lawson Bonvillain      Donna L Liming Trust
12277 Peairs Rd                        117 Colony Lane                Donna L Liming Trustee
Zachary, LA 70791                      Minden, LA 71055               2749 Pine Knoll Dr 1
                                                                      Walnut Creek, CA 94595




Donna L Trimboli                       Donna L Wainscoat              Donna L Yeomans
24 Mt Rutsen Rd                        1620 Whisper Rock Ct           916 Evan Rd
Rhinebeck, NY 12572                    Reno, NV 89523                 Mershon, GA 31551




Donna Lee Gowdy                        Donna Lee Upshaw Williams      Donna Len Schaejbe Rice Allen
638 Wandering Way                      1101 Darbonne Dr               252 Audubon Bv
Oklahoma City, OK 73170                Ruston, LA 71270               New Orleans, LA 70125




Donna Lisa Woodward Thomas             Donna Lou Windham Green Sp     Donna Louise Swint Fontenot
2833 Blue Heron Drive                  348 Cr 3188                    c/o Prairie Manor Nursing Home
Mesquite, TX 75181                     Joaquin, TX 75954              PO Box 500
                                                                      Pine Prairie, LA 70576




Donna Lovrek                           Donna Lue Basham               Donna Lynn Halliburton
1115 Trinity Cove Dr                   PO Box 142                     1345 Trinity Avenue
Trinity, TX 75862                      Taylor, LA 71080               Port Arthur, TX 77642




Donna M Campbell                       Donna M Consemiu               Donna M D Anderson
146 Laird Circle                       Address Redacted               Box 173
Panama City, FL 32408                                                 Carthage, TX 75633




Donna M Duncan                         Donna M Hatridge Life Estate   Donna M Mcswain
407 Sooner Street                      935 Hwy 234                    9296 Fm 711
Wolfforth, TX 79382                    Ashdown, AR 71822              Center, TX 75935




Donna Maddox Newkirk                   Donna Mae Kirk Life Estate     Donna Mansfield
7516 Nw Rolando Road                   74448 Myrsine Ave              305 Wilson Road
Lawton, OK 73505                       Palm Desert, CA 92260-2632     Big Spring, TX 79720
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Donna Marie Grant                       Donna Marie King Mcconathy     Donna Mathis
Michael L Cuellar Custodian             868 South Morgan Road          1503 Leach Street
Hc 1 Box 27                             Blanchard, OK 73010            Kilgore, TX 75662
Freer, TX 78357




Donna Moomaw                            Donna Parker Singleton         Donna Patterson
4135 Old Hwy 51N                        3426 Us 79 South               1852 Goldfinch Rd
Cobden, IL 629204411                    Carthage, TX 75633             Gilmer, TX 75645




Donna Propst Whitlock                   Donna Quin Johnson             Donna R Edwards
1405 Sunset Drive                       2010 Jillian Oak Ct            17310 Ponderosa Pines Dr
Clyde, TX 79510                         Spring, TX 77386               Houston, TX 77090-2071




Donna R Lyle                            Donna Rae Brown                Donna Ramsdell Kolius Tr
19525 Fm 1841                           165 Berkshire Ln               Donna Kolius Ttee
Atlanta, TX 75551                       Beaumont, TX 77707-2041        2406 Locke Ln
                                                                       Houston, TX 77019




Donna Rose Lewis Indvid                 Donna Ruth Mckinnon            Donna S Johnson
1865 7Th Ave                            7132 Caprock Circle            18671 Cr 139
Sacramento, CA 95818                    Las Vegas, NV 891296522        Flint, TX 75762




Donna S Townsend                        Donna Salloom George           Donna Smith
2622 Foxboro Dr                         14 Brookline St                PO Box 5135
Garland, TX 75044                       Worcester, MA 01603-1509       Longview, TX 75608




Donna Steinman                          Donna Sue Cano                 Donna Sue Dickens
One Wall Street                         PO Box 26                      3840 Midway Loop East
New York, NY 10286                      Powers, OR 974660026           Livingston, TX 77351




Donna Sue Gilbreath                     Donna Sue Jones                Donna Sue Leird Walls
1821 Southpark Dr                       Rosewood Assisted              13819 Belle Point Dr
Arlington, TX 76013                     Living Center Ii               Little Rock, AR 72212
                                        8670 Us Hwy 96 South
                                        Jasper, TX 75951



Donna Sue Nystrom                       Donna Tijerina                 Donna Turner Brown
19275 Armaro Rd                         Address Redacted               405 E 74Th Street
Soulsbyville, CA 95372                                                 Kansas City, MO 64131




Donna Ullio                             Donna Yvonne Cox               Donnell Pipe Supply Co
Tod                                     826 Ne Ainsworth St            PO Box 1265
2124 Se 2nd Street                      Portland, OR 97211             Kilgore, TX 75663
Cape Coral, FL 33990-1403
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Donnelley Financial LLC                 Donnette Robinson Parks        Donnica Patterson Jones
PO Box 842282                           4524 State Hwy 315             1475 Imperial Ave 133
Boston, MA 02284-2282                   Carthage, TX 75633             San Diego, CA 92101




Donnie E Reeves                         Donnie J Crowe                 Donnie J Thomas
3407 Noble Ave                          1704 Broadway                  7887 Cr 314 S
Odessa, TX 79764                        Ruston, LA 71270               Laneville, TX 75667




Donnie Jo Fransen                       Donnie Lee Walker              Donnie M Settle Aka Dottie Settle
2348 Hemlock Drive                      8008 34Th Street 69            208 Carson
Opelousas, LA 70570                     Lubbock, TX 794074808          Red Oak, TX 75154




Donnie R And Bennie F Parker            Donnie R Harris                Donnie R Metcalf
170 Mills Rd                            748 Mt Calm Rd                 Acct 17649420
Logansport, LA 71049                    Simsboro, LA 71275             116 Cr 2002
                                                                       Center, TX 75935




Donnie Ray Cole                         Donnie Shrell                  Donnie W Martin
3700 Ruidoso Dr                         377 Cr 125                     3381 County Road 3173
Arlington, TX 76017                     Gary, TX 75643                 Joaquin, TX 75954-3833




Donnie W Martin And Linda Martin        Donnie W Smith                 Donnie Walker
3381 County Road 3173                   110 W Whelan                   2742 Cr 455
Joaquin, TX 75954-3833                  Jefferson, TX 75657            Carthage, TX 75633




Donny Askew                             Donny Campbell                 Donny Goldberg
249 County Road 350                     1012 E 16Th Street 314         PO Box 31001 0340
Broaddus, TX 75929-3530                 Plano, TX 75074                Pasadena, CA 91110-0340




Donny Pryor                             Donny R Wardell                Donny Ray Harris
214 West Ward Street Apt 21             262 Coppersmith Dr             Lydia Haulcy Harris
Overton, TX 75684                       Katy, TX 77450                 PO Box 73
                                                                       Arcadia, LA 71001




Donny Ray Lewis                         Donny Timmons Kathy Timmons    Donovan V Phipps
1147 Shadeland                          3023 Amos Road                 PO Box 35
Houston, TX 77043                       Longview, TX 75602             Welch, TX 79377




Donquell Vontrey Davenport              DonS Automotive                Dons Directory Inc
2304 Martin Luther King Blvd            2947 Obispo Ave                551 Hwy 92
Longview, TX 75602                      Signal Hill, CA 90755-4003     Crawford, CO 81415
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DonS Tv Appliance                         Donta Mason                     Donzell Monk
6714 S Broadway                           Address Redacted                8501 Broadway St
Tyler, TX 75703                                                           Apt 2102
                                                                          Houston, TX 77061




Dora E Crawford                           Dora G Garcia                   Dora Hall Durrett
426 Albert Ave                            9830 Boulder Hill St            1709 Brooks St
Shreveport, LA 71105                      San Antonio, TX 78250           Ruston, LA 71270




Dora L J Williams                         Dora Lacy Lester Life Estate    Dora Lichtenberger
2625 Classen Street                       2405 Elinor Drive               Box 684
Wichita, KS 67216                         Texarkana, TX 75501             Freer, TX 78357




Dora M Adams                              Dora Mae Goldsmith Harber       Dora Mae Harris Molandes
244 Timber Circle                         4048 Timberline Court           c/o Texas Comptroller Of Public Accounts
Gibsland, LA 71028                        Canton, MI 48188                Unclaimed Property Division
                                                                          PO Box 12019
                                                                          Austin, TX 78711-2019



Dorace Fichtenbaum Estate                 Dorace M Fichtenbaum            Dorchester Minerals Lp
Bank Of America N A Co Exec               c/o Brian J Wertheim Cpa        3838 Oak Lawn Avenue
PO Box 840738                             6510 Lbj Freeway 180            Suite 300
Dallas, TX 75284-0738                     Dallas, TX 752406520            Dallas, TX 75219-4541




Dorchester Minerals Oklahoma Lp           Dorena Garza                    Doretha Dell Taylor
3838 Oak Lawn Avenue                      Address Redacted                958 Forestlake
Suite 300                                                                 Longview, TX 75605-6987
Dallas, TX 75219




Dorfman Production Company                Dorian A Niemi                  Dorian Demetrius Taylor
Suite 1060                                2038 Greenfield Mews            6014 Bay Hill Ct
8144 Walnut Hill Lane Lb 64               Kearney, MO 64060               Romulus, MI 48174
Dallas, TX 75231




Dorian Odom Campbell                      Doris A Menefee Separate Prop   Doris A Smith
1706 Kings Gate                           2707 Bramble Drive              384 Haney Smith Rd
Bryan, TX 77807                           Monroe, LA 71201                Choudrant, LA 71227




Doris Anderson Foster                     Doris Anita Goss Deceased       Doris Ann Hanna Whisenand
5311 Channel Dr                           1405 Hall Dr                    1605 W 24
Gillsville, GA 30543                      Roswell, NM 88201               Odessa, TX 79763




Doris B Mccarthy                          Doris B Parker                  Doris B Parker Fam Tr
1930 389 West San Marcos Blvd             311 W Nottingham 121            Martha S Parker Ttee
San Marcos, CA 92078                      San Antonio, TX 78209           118 Orchard Creek Cir
                                                                          Rochester, NY 14612
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Doris Barnes Ramsey Mccalpin           Doris Bell Mcbride Deceased    Doris Boone Rayburn
14 Woodbox Dr                          506 Cleveland St               1401 Charles St
Henderson, TX 75652                    Bastrop, LA 71220              Norman, OK 73069




Doris C Sansing Est                    Doris C Smith                  Doris Davis
Jerry Sansing Executor                 131 Nathan Loop                200 Bostic Drive Apt 111
1850 Autumn Ave                        Ruston, LA 71270               Longview, TX 75602
Memphis, TN 38112




Doris Dennis                           Doris Evaland Hall             Doris Evelyn Daniel Hodnett
2234 Rolling Meadows Dr                PO Box 188                     177 Leon Blakeney Road
Kingwood, TX 77339-2360                Claremont, CA 91711            West Monroe, LA 71292




Doris F Shields                        Doris Fondren Allday           Doris Fryson
1218 Eaglenest Lane                    PO Box 27407                   911 Fruit Avenue
Monroeville, PA 15146                  Houston, TX 77227              Farrell, PA 16121




Doris Gamble Dejean                    Doris Gardner Hare             Doris Glazier
113 Baratara Drive                     10574 Norris Ferry Rd          c/o Texas State Treasury
Chickasaw, AL 36611                    Shreveport, LA 71106-8353      Unclaimed Property Division
                                                                      PO Box 12019
                                                                      Austin, TX 78711-2019



Doris Gray Harvey                      Doris Gray Harvey Life Est     Doris Hanna
1728 E Austin                          1728 E Austin                  2005 Mossberg Drive
Nacogdoches, TX 75961                  Nacogdoches, TX 75961          Plano, TX 75023




Doris Hilton Arnold                    Doris Hollister                Doris J Mccrary
1562 Lilly Ln Sw                       800 Church St                  8580 Farley 313
Bogue Chitto, MS 39629                 Carthage, TX 75633             Overland Park, KS 66212




Doris J Peebles                        Doris Jackson Hunter           Doris Jean Hassen
PO Box 725                             1558 Newcomb Ave               8645 Valmont Cir
Livingston, TX 77351                   San Francisco, CA 94124        Cordova, TN 38016-8802




Doris Jean Lewis                       Doris Jean Scott               Doris K Ehrenberg
6709 Meade Dr 76034                    1401 Prueter Rd                c/o Judy Wrucke Guardian
Colleyville, TX 760345777              Saginaw, MI 48601              803 Arrowhead Lane
                                                                      Naples, FL 341085243




Doris Kay Goulet                       Doris Lee Poland               Doris Louise Freitag
PO Box 13                              199 Davis Loop                 8473 Ste Rte 269 N
Princeton, TX 75407                    Castor, LA 71016-4040          Bellevue, OH 44811
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Doris M Kats                             Doris M Theiss                 Doris M Turner Henderson
11532 S Normandy                         David R Theiss Guardian        12402 Buckland
Worth, IL 60482                          1593 Eden Park Drive           Houston, TX 77039
                                         Unit 4
                                         Hamilton, OH 45013



Doris Mae Merrell                        Doris Marie Cheeks             Doris Marie Ginn
1223 Liano                               7974 Marsha Woods Dr           PO Box 607
Pasadena, TX 77504                       Memphis, TN 38125              Beeville, TX 78104




Doris Marie Osbon                        Doris Marie Wailes Slick       Doris Maxwell
572 Randy Road                           121 Sleepy Hollow              PO Box 1588
West Monroe, LA 71292                    Lake Jackson, TX 77566         Longview, TX 75606




Doris Meltzer                            Doris Millet Smith             Doris Murphy
PO Box 14907                             1310 Laval Ct                  15111 Freeman Ave 68
Baton Rouge, LA 70898                    Mobile, AL 36609               Lawdale, CA 90260




Doris Nadine Stewart                     Doris Neel Hicks               Doris Neel Wailes
1105 Crescent Drive                      6380 Cr 302                    3391 Cr 172
Duncan, OK 73533                         Nacogdoches, TX 75961          Alvin, TX 77511-0305




Doris O Rountree                         Doris P Crowley                Doris Parker Rev Trust Of 2001
15250 Prestonwood Blvd                   5201 Vernon Springs Trail      c/o Broadway National Bank
Apt 357                                  Atlanta, GA 303274511          PO Box 17001
Dallas, TX 75248                                                        San Antonio, TX 78217




Doris Rebecca Medford                    Doris Reed                     Doris Richardson
1870 E 2 Mile Road                       Hc 32 Box 648                  4359 Thurgood Circle
Mccammon, ID 83250                       Prescott, AZ 86301             Shreveport, LA 71109




Doris Roberts Simmons                    Doris Ruth Megarity Carr       Doris Seago Arabie
10050 Alondra Drive                      10260 Jorroson Lane            2899 Sugarloaf Dr Trlr 138
Shreveport, LA 71115                     Ethel, LA 70730                Lake Charles, LA 70607-7544




Doris Seago Arabie Life Estate           Doris Simonton Hammock         Doris Slack
2899 Sugarloaf Dr Trlr 138               616 Hwy 563                    1900 Sandcreek Way
Lake Charles, LA 70607-7544              Dubach, LA 71235               Alameda, CA 94501




Doris Swanzy                             Doris T Wilson                 Doris Virginia Alston Stewart
242 Cr 261                               244 Timber Cr                  1575 Riada Drive
Garrison, TX 75946                       Gibsland, LA 71028             New Braunfels, TX 78132
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Doris Warren Alexander                   Doris Williams Life Estate           Doris Wyatt
311 W Nottingham Dr Apt 227              PO Box 210                           607 1st St
San Antonio, TX 78209-1827               Beckville, TX 75631                  Jonesboro, LA 71251




Dorman 2008 Trust Charity                Dorman E Followwill                  Dorn Land And Exploration LLC
829 Cr 266                               2645 Mount Royal Dr                  PO Box 13194
Beckville, TX 75631                      Castlerock, CO 80104                 Denver, CO 80201




Dorothea B Prentiss Estate               Dorothea Jones                       Dorothea Standard Hancock
Oil Gas Properties                       810 Ladykirk Lane                    c/o Janet L Dillon Guardian
PO Box 8219                              Greet, SC 29650                      1640 7Th St Unit B
Spring, TX 77387-8219                                                         Penrose, CO 81240




Dorothea T Mitchell Estate               Dorothy Albright Grant               Dorothy Ann Ashford
Jere H Mitchell Indp Executor            3804 Ruth Road                       PO Box 752
PO Box 7158                              Fort Worth, TX 76118                 Grambling, LA 71245-0752
Longview, TX 75607




Dorothy Ann Carroll Dupont               Dorothy Ann Johnson Hyde Dcsd        Dorothy Ann Meadows Estate
1528 Carmel Dr                           6203 Westover Dr                     Leah A Trank Personal Rep
Shreveport, LA 71105                     Fort Worth, TX 76107                 365 Greenfield Ave
                                                                              Eugene, OR 97404




Dorothy Ann Norris                       Dorothy B Erisman Test Trust         Dorothy B Erisman Test Trust
2124 Branchwood Dr                       Fbo Dr Fred R Erisman Iii            Fbo Emily Erisman Myers
Grapevine, TX 760517815                  c/o Bank Of America Na               c/o Bank Of America Na
                                         PO Box 840738                        PO Box 840738
                                         Dallas, TX 75284-0738                Dallas, TX 75284-0738



Dorothy B Johnson                        Dorothy B Matter Trust Agency        Dorothy B Mcdonald
c/o Plan Ahead Inc                       362401 Bank Of America Agent         PO Box 259
400 Pine St                              NatL City Bank Indiana Ttee          Hallsville, TX 75650
Ste 1050                                 PO Box 840738
Abilene, TX 79601                        Dallas, TX 75284-0738



Dorothy B Sheckels Trust                 Dorothy B Swanson Marital Trst       Dorothy B Weiser
Neil Sheckels Trustee                    For William D Swanson                4804 Gamble Court
PO Box 796                               PO Box 43                            Las Cruces, NM 88001
White Oak, TX 756930796                  William G Brimmer Trustee
                                         Lopez Island, WA 98261



Dorothy Bailey                           Dorothy Baughman Gray                Dorothy Beatrice W Nail
c/o Texas State Treasury                 6441 Kenwick Avenue                  17984 Fm 449
Unclaimed Property Division              Fort Worth, TX 76116                 Hallsville, TX 75650-2714
PO Box 12019
Austin, TX 78711-2019



Dorothy Berniece Lawson Deceased         Dorothy Bill Smith Endowment Trust   Dorothy Bisic Simonton
PO Box 150474                            c/o St MarkS Episcopal               Luther Simonton Jr
Longview, TX 75615                       Cathedral                            594 Highway 563
                                         PO Box 4443                          Dubach, LA 71235
                                         Shreveport, LA 71101
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Dorothy Black                             Dorothy Blakeley                 Dorothy Boulden
7911 Twin Hills Dr                        607 Terrace Dr                   214 Union 37
Houston, TX 77071-1325                    Longview, TX 75601               El Dorado, AR 71730




Dorothy Briener                           Dorothy Brim Burr                Dorothy Brunjes
43 Sain Francis Lane                      2805 Tumble Creek Ct             114 La Bonne Vie Dr Apt A
San Rafael, CA 94901                      Las Vegas, NV 89134              East Patchogue, NY 11772




Dorothy Burnett                           Dorothy C Barry                  Dorothy C Chambers
1202 Ashbourne Lane                       Cynthia Barry Willard            1215 Ridge Drive
Longview, TX 75605                        James Cannon Barry Aif           West Monroe, LA 71292
                                          1200 Briarwood Trail
                                          Henderson, TX 75654



Dorothy C Joffrion                        Dorothy C Smith                  Dorothy Campbell
166 Cr 492                                105 Hillside                     703 W 25Th
Carthage, TX 75633                        Ponca City, OK 74601             Cameron, TX 76520




Dorothy Claire Bell                       Dorothy Coker Baker              Dorothy Coleman Poorter
148 Greenwood Pl                          PO Box 914                       9190 Ridge Psot
Delhi, LA 71232                           Lytle, TX 78052                  San Antonio, TX 78250




Dorothy Colvin Napper                     Dorothy Cullum Gst Exempt Tr     Dorothy Curtis
1603 Ridge Dr                             Fbo Dan Rogers                   739 Fairwood
Ruston, LA 71270                          Dan Rogers Cullum Ttee           Dallas, TX 75232
                                          11525 Wander Ln
                                          Dallas, TX 75230



Dorothy D Barksdale Buffington            Dorothy D Kuykendall             Dorothy Davis Johnson
2210 Pargoud Blvd                         c/o Kristin Riley Poa            5912 Highland Avenue
Monroe, LA 71201                          2432 Tisbury Way                 St Louis, MO 63112
                                          Little Elm, TX 75068




Dorothy Davis Ritchie                     Dorothy Davis Ritchie Usufruct   Dorothy Day Adcock
157 Blue Ridge Ln                         3210 N Trenton St                2736 Topley Ave
Ruston, LA 71270                          Ruston, LA 71270                 Las Cruces, NM 71055




Dorothy Dean Roark                        Dorothy Dowling Lawrence         Dorothy E Davis Detmer
2557 S Tucson Circle                      10643 Hwy 80                     31923 Edgewater Dr
Aurora, CO 80014-3433                     Simsboro, LA 71275               Magnolia, TX 77354




Dorothy E Holey Campbell                  Dorothy E Tierney                Dorothy Elaine Vance
1650 Alpine Ave                           2819 Cortland Ave                26673 Baker Potts Road
Grand Rapids, MI 49504                    Grand Junction, CO 81506         Harlingen, TX 78552
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Dorothy Eleanor Sorg                    Dorothy Eleanor Sorg            Dorothy Ellis Crawford
13023 Ne 182nd Pl B                     Ethel Elizabeth Urbanic         PO Box 795952
Bothell, WA 98011                       285 Crest Drive                 Dallas, TX 75379
                                        Eugene, OR 97405




Dorothy Ellis Patterson                 Dorothy Etta Goff Hoogland      Dorothy F Estill
618 Nest Ln                             2406 Hillside Road              3501 Overton View Court
Houston, TX 77022                       Ruston, LA 71270                Fort Worth, TX 76109




Dorothy F Estill Trust Fbo              Dorothy F Estill Trust Fbo      Dorothy F Estill Trust Fbo
James C Estill                          John S Estill Iii               Sally Estill Muhlbach
James C Estill Trustee                  James C Estill Trustee          James C Estill Trustee
PO Box 72                               PO Box 72                       711 Pine Tree Lane
Argyle, TX 76226-0072                   Argyle, TX 76226-0072           Lufkin, TX 75904



Dorothy F Mueller Life Est              Dorothy Faye Harris Jenkins     Dorothy Faye Stanley
Jayne Fiero                             2504 Rosedale Drive             1887 Thomasville Dr
Noreen Saganski Remaindermen            Monroe, LA 71201                Atlanta, GA 30315
379 Lake Osiris Rd
Walden, NY 12586



Dorothy Ferguson                        Dorothy Foley                   Dorothy G Hamilton Estate
623 Airport Loop                        225 Cr 2091                     900 8 St Ste 710
Homer, LA 71040                         Carthage, TX 75633              Wichita Falls, TX 76301




Dorothy G Shirley                       Dorothy Garner Nixon            Dorothy Gattis
209 Woodvale Dr                         208 Lockerplant Road            2916 County Road 3000
Dubach, LA 71235                        Gladewater, TX 75647            Joaquin, TX 75954-4042




Dorothy Grantham Boyd                   Dorothy Greer Foster Test Tr    Dorothy H Reavis
3600 Fm 637                             Mary Edith Clack Ttee           361 Happy Ridge Ln
Corsicana, TX 75109                     Fbo Mary Clack Nancy Greer      Oakalla, TX 78608
                                        148 Northgate Dr
                                        San Angelo, TX 76903



Dorothy H Roberts                       Dorothy H Tillery               Dorothy H Winslett
PO Box 6830                             Hc 52 Box 92799                 Charles Schwab Co Inc Cust
Longview, TX 75608-6830                 Hemphill, TX 75948              Ira Rollover Dtd 12/13/94
                                                                        201 Country Rd 144A
                                                                        Marble Falls, TX 78652



Dorothy Hale Flournoy                   Dorothy Harris Howard           Dorothy Harris Phillips
19790 Highland Pl                       4912 Hilandale Dr               C/O 2500 Woodside Dr Apt 1203
Whitehouse, TX 75791                    Dallas, TX 75216                Arlington, TX 76016




Dorothy Helen Slung                     Dorothy Henderson Estate        Dorothy Hill A/K/A Dorothy Jean Keenom
C/O Michele Slung                       Attn Shirley Stauss Executrix   PO Box 470605
340 Goat Hill Road                      3015 Page Rd                    Fort Worth, TX 761470605
Woodstock, NY 12498                     Longview, TX 75601
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Dorothy I Massey                        Dorothy J Busby                 Dorothy J Harris Bishop
334 College St                          10909 E 99Th St North           250 Sims Ave
Spartanburg, SC 29303-3559              Owasso, OK 740556422            Grambling, LA 71245-3308




Dorothy J Keasler Individ               Dorothy J Lindholm              Dorothy J Moore
As Executrix Of Est Of Sj Keasler       222 Mistletoe Drive             403 Betsy Ross Dr
1973 Keasler Rd                         Richardson, TX 75081            Arlington, TX 76002
Hallsville, TX 75650




Dorothy J Scribner                      Dorothy J Wooten                Dorothy Jamison Lakey
200 Cascade Ave                         3652 Cedar Ave                  13101 Oak Park Boulevard
Cheyenne, WY 82009                      Lynwood, CA 90262               Oak Park, MI 48237




Dorothy Jane Gross                      Dorothy Jane OGlee Barrow       Dorothy Jean Arnold
Jonathan Ralph Stark Poa                511 Lallah Street               21627 Park Wick Ln
PO Box 1153                             Pineville, LA 71360             Katy, TX 77450
Bryan, TX 77806




Dorothy Jean Gibson                     Dorothy Jean Granbery           Dorothy Jean Matthews Gammel
7232 Rosemont Rd                        1211 Clayton Street             107 Red Bud Lane
Dallas, TX 75217                        Denver, CO 80206                Baytown, TX 77520




Dorothy Jean Temple Price               Dorothy Jernigan Baker          Dorothy Jo Allen
2325 Willowbrook Drive                  2808 Southwest 32nd             111 Sandesta Dr
Apartment B 5                           Oklahoma City, OK 73119         Alto, NM 88312-9572
Murfreesboro, TN 37130




Dorothy Jo Whaley                       Dorothy Joan Silbernagel        Dorothy Johnson Brown
5670 Old Longview Rd                    Life Estate Jonathan Patience   251 Cochise
Marshall, TX 75670                      6245 Mackenzie Street           Longview, TX 75603
                                        Vancouver, BC V6N 1H4
                                        Canada



Dorothy June Walton                     Dorothy Karen Gray Individual   Dorothy Kassanoff Gst Exempt T
102 Lakeway Drive                       Attn Paul M Gray Christopher    Regions Bank Nrre Ops
Whitehouse, TX 75791                    795 Howell                      PO Box 11566
                                        Beaumont, TX 77706              Birmingham, AL 35202




Dorothy Kent                            Dorothy Kurz                    Dorothy L Hall
PO Box 593                              68 Twin Pine Way                8094 White Tail Trl
St Clairsville, OH 43950                Glen Mills, PA 19342            Caldwell, TX 77836-1673




Dorothy L Hunt                          Dorothy L Patterson             Dorothy Langford
Texas State Comptroller                 2877 Hwy 544                    2012 S Fisher Ct
Unclaimed Property Division             Ruston, LA 71270                Pasadena, TX 77502
PO Box 12608 Capitol Station
Austin, TX 78711
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Dorothy Langley                          Dorothy Lee Morris             Dorothy Lee Phillips
7777 Forest Lane Suite 309               125 Morris Dr                  9548 Bancroft Way
Dallas, TX 75230                         Simsboro, LA 71275             Stockton, CA 952095005




Dorothy Livesay Crane Life Est           Dorothy Lockhart               Dorothy Lois Breedlove
Two Oxford Hall                          1200 Birch Street              2010 Good Tree St 34
San Antonio, TX 782098306                Hurst, TX 76053                Stephenville, TX 76401




Dorothy Long Oden                        Dorothy Louise Lawrence        Dorothy Louise Patterson Etvir
PO Box 1806                              PO Box 428                     Bill Patterson
Shreveport, LA 71166-1806                Joaquin, TX 75954              2877 Hwy 544
                                                                        Ruston, LA 71270




Dorothy Louise S Mcdaniel                Dorothy Lovelace               Dorothy Lucille C Mounger
14935 Hwy 789                            744 N 5Th St                   1955 Camellia Trace
Keithville, LA 71047                     Clinton, OK 73601              Baton Rouge, LA 70808




Dorothy Lynn Landers Walters             Dorothy Lynn White             Dorothy M Berry
1231 Ouachita Cove                       19410 Adkins Forest Dr         Rr 1 Box 165 C
Benton, AR 72019                         Spring, TX 77379               Lockhart, TX 78644




Dorothy M Brazeal                        Dorothy M Faust                Dorothy M Gibson Pratt
PO Box 437                               319 Polk 19                    212 Mckaskle Street
Tatum, TX 75691                          Cove, AR 71937                 West Monroe, LA 71292




Dorothy M Gregg                          Dorothy M R Bergstrom          Dorothy Mae Heard Torbor
711 Butler Drive                         23 Main Street                 Aka Dorothy Mae Heard Ford
Longview, TX 75602                       Deposit, NY 13754              556 Mt Olive Road
                                                                        Ruston, LA 71270




Dorothy Mae Hinkle                       Dorothy Mae Moore              Dorothy Mae T Goodman
8104 Shiloh Court                        314 Ragsdale                   140 Oleander
Austin, TX 78745                         Gladewater, TX 75647           Lumberton, TX 77657




Dorothy Marie Robinson                   Dorothy Marietta Nowlin        Dorothy Marsh Mckenzie
Hubbard Hooper Harris                    11970 White Oak Crossing       4410 Margaret Ridge Dr
Successor Guardian D/E/D                 Conroe, TX 77385               Florissant, MO 63034
Route 4 Box 211
Carthage, TX 75633



Dorothy Morehead Polly                   Dorothy Mullins Morris         Dorothy Murray
PO Box 883                               293 Back Forty Road            1804 Mcarthur Drive
Tyler, TX 75701                          Arcadia, LA 71001              Mansfield, LA 71052
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Dorothy Nell Goins Est                    Dorothy Nell Mcdermott             Dorothy Nell Mcsparran Family Trust
William C Goins Iii Exec                  14729 Cherry Hills Dr              Created U/W Dtd 5 12 86
18000 Crystal Cv                          Dallas, TX 75234                   Donald Mcsparran Et Al Co Trustees
Jonestown, TX 78645                                                          3605 Oakridge
                                                                             Midland, TX 79707



Dorothy Nell Strong                       Dorothy Nell Vanek                 Dorothy Pauline Long Smith
13059 Hwy 84 E                            3814 Liles Lane                    PO Box 9995
Joaquin, TX 75954                         Humble, TX 77396                   Longview, TX 75605




Dorothy Perritt Ward                      Dorothy Purdy Farr Dupree          Dorothy Q Cook Adminsx With
Edward Francis Ward Jr                    305 Auburn Ave                     Will Annxd Est Of Florence E Shaw
2025 Tamarix Street                       Monroe, LA 71201                   2995 Victoria Dr
Baton Rouge, LA 70808                                                        Alpine, CA 91901




Dorothy R Brackin                         Dorothy R Brown Mineral Trust      Dorothy R Soignier
707 Cr 2298                               Hilltop Ntl Bank Succ Trustee      122 Stoke Lane
Cleveland, TX 77327                       PO Box 2680                        West Monroe, LA 71292
                                          Casper, WY 82602




Dorothy R Winters Exempt                  Dorothy R Winters Exempt           Dorothy Richardson Hill
Family Tr J Sam Winters Ttee              Family Tr J Sam Winters Ttee       PO Box 3112
3939 Bee Caves Rd Ste C100                c/o Personal Administratiors Inc   Longview, TX 75606
West Lake Hills, TX 78746                 3939 Bee Caves Rd Ste C100
                                          West Lake Hills, TX 78746



Dorothy Robbins Skeans                    Dorothy Rogers                     Dorothy Rogers Cullum Gst Ex
PO Box 2347                               10340 County Road 1216             Tr Fbo Betsy Cullum Bolin
Longview, TX 75606                        Athens, TX 757518666               Betsy Cullum Bolin Ttee
                                                                             2348 Timber Ln
                                                                             Houston, TX 77027



Dorothy Rogers Cullum Gst Ex              Dorothy Rogers Cullum Gst Ex       Dorothy Rogers Cullum Revocable Trust
Tr Fbo Robert Brooks Cullum Jr            Tr Fbo Sally Cullum Holmes         Bank Of America Trustee
Robert Brooks Cullum Jr Ttee              Sally Cullum Holmes Ttee           PO Box 840738
6600 Turtle Creek Blvd                    4424 N Versailles                  Dallas, TX 75284-0738
Dallas, TX 75205                          Dallas, TX 75205



Dorothy Rumph Lindsey                     Dorothy Rushing Fielder            Dorothy Ryals Or
64 Country Club Circle                    11827 E 80Th Drive                 Texas State Treasury Dept
Searcy, AR 72143                          Raytown, MO 64138                  Unclaimed Property Division
                                                                             PO Box 12019
                                                                             Austin, TX 78711-2019



Dorothy S Ashley                          Dorothy S Russell                  Dorothy Seay Wynne
3756 Westcliff Road N                     Individually Usufructuary          PO Box 130021
Fort Worth, TX 76109                      PO Box 44                          Houston, TX 77219
                                          Washington, DC




Dorothy Spencer                           Dorothy Stafford Nolan             Dorothy Standifer Fuller
1114 Second Ave                           4518 Hwy 80 116                    13416 Donnelly
Ruston, LA 71270                          Ruston, LA 71270-8952              Grandview, MO 64030
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Dorothy Standifer Spears                 Dorothy Sue Anderson Sp         Dorothy Summerville
PO Box 518                               112 Wendy Drive                 217 Highway Drive
Grambling, LA 71245-0518                 Whitehouse, TX 75791            Jefferson, LA 70121




Dorothy T Riddle                         Dorothy Tomczak Life Estate     Dorothy Tomczak Remainder Int
PO Box 189                               PO Box 266                      PO Box 266
Jonesboro, LA 71251-0189                 Gary, TX 75643                  Gary, TX 75643




Dorothy V Nettles Holcomb                Dorothy Virginia Gross          Dorothy W Arnold
1674 Fm 31 North                         6010 Blue Mist Ln               120 S Grace Street
Deberry, TX 75639                        Dallas, TX 75248                Crockett, TX 75835




Dorothy W Deason                         Dorothy W Mcpherson             Dorothy W Schicktanz
1403 Slaydon                             PO Box 1418                     7220 South Depew
Henderson, TX 75654                      Goodyear, AZ 85338-0470         Littleton, CO 80128




Dorothy Walker                           Dorothy Wallace                 Dorothy Ward Rowe
471 Scarborough                          12705 N E 37Th                  4722 Meadow St Apt 1901
Painsville, OH 44077                     Spencer, OK 73084               Dallas, TX 75215-4737




Dorothy White Franks Sidney M White Jr   Dorothy Wilson Hancock Estate   Dorothy Winters Estate
620 Crestwood Dr                         J M And J P Hancock Ind Exec    J Sam Winters Executor
Avinger, TX 75630                        PO Box 68                       3504 Mount Bonnell Rd
                                         Beeville, TX 78104              Austin, TX 78731




Dorothy Wylie Watson                     Dorothy Youngblood              Dorral F Shepperd
12810 Vidora Cr                          3800 Briarcliff Dr              139 W Leon Ln
San Antonio, TX 78216                    Pittsburg, CA 94565-5501        Cocoa Beach, FL 32931-3822




Dorris Hebert Estate                     Dorris Jean Brown Raines        Dorsal Services Inc
c/o Robert Hebert                        10805 Chenille Ct               PO Box 5650
1303 Foster Creek Drive                  Indianapolis, IN 46235          Granbury, TX 76049-0650
Richmond, TX 77469




Dorsett Investment Trust                 Dorsey Family Living Trust      Dorsey Michelle Robertson
Newton W Dorsett President               James Burk Dorsey Jr Ellen      2968 Juniper Hills Blvd
220 Travis Street Suite 501              Squyres Dorsey Co Trustees      Unit 203
Shreveport, LA 71101                     3304 Lake Forest                Las Vegas, NV 89142
                                         Nacogdoches, TX 75964



Dorsey Stegall                           Dorsey Taliaferro Roach         Dortha Ann Young
111 Joyce Dr                             12304 Kingsbrook Rd             PO Box 192
El Dorado, AR 71730                      Oklahoma City, OK 73142-5113    Gary, TX 75643
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Dorthey Mae N Harris                      Dorthie J Williams                   Dorthy M Tubbs
512 W Madison Ave                         1904 White Rose Lane                 PO Box 218
Bastrop, LA 71220                         Carrollton, TX 75007                 New Deal, TX 79350




Dos Gp LLC                                Doscher Bond                         Dot Bowles LLC
6310 Elysian Fields Road                  c/o Jefferies Co                     Wells Fargo Bank Na Agent
Marshall, TX 75671                        520 Madison Avenue 10th Floor        10790 Mt Bross Way
                                          New York, NY 10022                   Parker, CO 80138




Dot Enterprises Inc                       Dot Enterprises Inc                  Dottie Sue Morris Lee
Attn Bernie Wolford                       PO Box 2920                          PO Box 441
PO Box 2920                               Kilgore, TX 75662                    Drasco, AR 72530
Kilgore, TX 75662




Dottye R Shivers Brittain                 Double A Rental Inc                  Double B Hotshot Services Inc
61 W 29Th Place                           PO Box 202                           PO Box 1956
Apt 4104                                  Andrews, TX 79714                    Palestine, TX 75802-1956
Eugene, OR 97405




Double Barrel Enviromental                Double D Drywall                     Double D Sales
121 Main Street                           1029 Horse Creek Road Suite 1        1402 Kilgore Hwy
Riverside, CA 92501                       Crowley, TX 76036                    Kilgore, TX 75652




Double Eagle Investments                  Double Eagle Oilfield Services LLC   Double Eagle Oilfield Services LLC
PO Box 376                                Rodney Simpson                       PO Box 51710
Shreveport, LA 71162                      11618 Us Hwy 83 N                    Midland, TX 79710
                                          Ballinger, TX 76821




Double J Downhole Testers Lp              Double M Energy LLC                  Double R Construction LLC
PO Box 6388                               3301 N Enterprise Dr                 PO Box 2919
Abilene, TX 79608                         Hobbs, NM 88240                      Kilgore, TX 75662




Double R Pipe Supply Inc                  Double R Transportation LLC          Double Six Resources LLC
PO Box 26                                 Po Drawer 1060                       PO Box 275
Lovington, NM 88260                       Jal, NM 88252                        Henderson, TX 75653




Double T Contractors Inc                  Double T Oilfield Services LLC       Doubleline Capital Lp
PO Box 345                                PO Box 62650                         333 S Grand Ave 18th Floor
Haynesville, LA 71038                     San Angelo, TX 76906                 Los Angeles, CA 90071




Doug Alumbaugh                            Doug Burrows                         Doug Crawford Inc
4416 Knoll Ridge                          2305 Allen Dr                        225 Blue Ridge Road
Aledo, TX 76008                           Lexington, KY 40505                  Gibsland, LA 71028
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Doug Davis                             Doug Marcy L Tull                       Doug Redmond
Address Redacted                       3321 Caldera Blvd                       2112 South Saint Louis
                                       Midland, TX 79707                       Tulsa, OK 74114




Dougan Clyette D                       Dougherty Law Firm                      Douglas A Bloom
Address Redacted                       1106 First Place                        829 Cherrystone Dr
                                       Tyler, TX 75702                         Los Gatos, CA 95032




Douglas A Deutser                      Douglas A Neal                          Douglas Barnard Coker
1608 Inverness Street                  26200 Milton Thompson Road              908 Ruth Avenue
Sylvan Lake, MI 48320                  Lees Summit, MO 64086                   Austin, TX 78757




Douglas Beene Mccraw                   Douglas Brandin                         Douglas Bryan Wheeler
3309 Trailview Circle                  1511 Lamar Avenue                       674 County Road 1510
Haughton, LA 71037                     Nederland, TX 77627                     Center, TX 75935




Douglas C Koch                         Douglas C Woodward                      Douglas Cameron
PO Box 540244                          7936 Bollind Dr                         c/o Texas State Treasury
Houston, TX 77254-0244                 Alexandria, VA 22308                    Unclaimed Property Division
                                                                               PO Box 12019
                                                                               Austin, TX 78711-2019



Douglas Cameron Mcleod                 Douglas Charles Stinson                 Douglas Clifton Brown
600 N Grant St Ste 850                 Aka D C Stinson                         10570 Stallion Rd
Denver, CO 80203-3527                  258 Hunter Road                         Temple, TX 76501
                                       Longview, TX 75605




Douglas Clyde Barnett                  Douglas County Treasurer                Douglas D Martin
207 Cooper Road                        PO Box 1208                             205 Inverness Dr
Dubach, LA 71235                       Castle Rock, CO 80104                   Trophy Club, TX 76262




Douglas D Morgan                       Douglas D Nagy Sandra J Oliver Jtwros   Douglas Davis
8 Long Timbers Trail                   1109 Middle Rd                          363 Cr 445
Houston, TX 77024                      North Clarendon, VT 05759               Carthage, TX 75633




Douglas Davis Kenny                    Douglas E Bradford                      Douglas G Ferguson
200 Patterson Ave 610                  PO Box 1594                             c/o Wells Fargo Bank Ogm
San Antonio, TX 78209                  Covington, LA 70434                     PO Box 5383
                                                                               Denver, CO 80217




Douglas G Ferguson                     Douglas Gaylon White                    Douglas Gregory Standley
c/o Wells Fargo Bank Sao               12836 Fm 450 N                          180 Acr 2106
PO Box 41779                           Harleton, TX 75651                      Palestine, TX 75801
Austin, TX 78704
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Douglas H Kates                          Douglas H Smith                Douglas Hill
Phase 2 Dorm B                           3660 Independence Ave S 32     230 Pine Branch Drive
9450 Hwy 65 S                            St Louis Park, MN 55426        Spring, TX 77388
Lake Providence, LA 71254




Douglas J Barclay                        Douglas J Miller Ii            Douglas K Morton
2615 Cole Road                           1236 North Sherman Street      777 Overland Trl Ste 114
Hensley, AR 72065                        Jennings, LA 70546             Casper, WY 82601-1319




Douglas Kirk Horton                      Douglas Lester Elledge         Douglas M Craft Carren C Craft
PO Box 386                               301 East Meade Drive           146 N Taylor Point Dr
Mineral Wells, TX 76067                  Yukon, OK 73099                The Woodlands, TX 77382




Douglas M Rotenberg                      Douglas M Vander Ploeg And     Douglas Mcdonald Jr
10 Horseshoe Court                       Laurie Mccrimmon               50 Martinique Avenue
Hillsborough, CA 94010                   PO Box 19737                   Tampa, FL 33606
                                         Houston, TX 77227




Douglas Messamore                        Douglas Nolan                  Douglas P Foxx Pamela L Foxx
Address Redacted                         2680 Foster Rd                 16561 Heron Coach Way Apt 101
                                         Haughton, LA 71037             Fort Myers, FL 33908-5517




Douglas Pryor                            Douglas R Schwartz             Douglas R Semmes Jr
1321 W Harmony Street                    PO Box 97                      Attn Trust OG Dept
Tyler, TX 75702                          Mohall, ND 58761               PO Box 1600
                                                                        San Antonio, TX 78296




Douglas Ray Bailey                       Douglas Ray Thomas             Douglas Robert Nobile
4583 Sh 155 S                            122 West 54Th St               613 Washington St
Gilmer, TX 75645                         Savannah, GA 31405             Natchez, MS 39120




Douglas Rochelle                         Douglas S Harwell              Douglas Scott Thompson
PO Box 211486                            Address Redacted               119 Howland Ave
Dallas, TX 75211                                                        Middletown, RI 02842




Douglas Stanley Vining                   Douglas Steel Sanders          Douglas Steel Sanders Trust
2363 Oak Crossing                        3808 Overton Park West         Daisy Camille Sanders Rev Trt
New Braunfels, TX 78132                  Fort Worth, TX 76109           Douglas Steel Sanders Sub Ttee
                                                                        3808 Overton Park W
                                                                        Fort Worth, TX 76109



Douglas Stewart Doty                     Douglas Swan                   Douglas T Adams
2122 Chelsea Lane                        12918 Quail Creek Drive        240 Burkett St
Traverse City, MI 49684                  Pearland, TX 77584             Clute, TX 77531
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Douglas Theodore Collins                 Douglas Turner Farr                   Douglas V Culli
3102 Regency                             2304 Myrtle St                        4898 Fm 673
Carrollton, TX 75007                     Monroe, LA 71201                      Beeville, TX 78102




Douglas W Moore                          Douglas W Sanders Mary Gray Sanders   Douglas Wayne Mckay
PO Box 811                               468 Six Miles Road                    358 Jill Loop
Longview, TX 75606                       Bienville, LA 71008                   Ruston, LA 71270




Douglas Wayne Whitaker                   Douglass Madison Furrh                Douglass Tyler Bellows
10964 E 125 S                            PO Box 12014                          PO Box 685
Oakland City, IN 47660                   Pueblo, CO 81001                      George West, TX 78022




DougS Trucking Inc                       Dove Creek Energy Inc                 Dover Artificial Lift Systems LLC
1090 W Main St                           c/o Scott L Summers                   19425 E 54Th St S
Vernal, UT 84078                         PO Box 3482                           Broken Arrow, OK 74014-1603
                                         Houston, TX 77253




Dover Fluid Management Inc Dba           Dovie W Graves                        Dow Louisiana Federal C U
Ferguson Beauregard                      PO Box 146                            21925 Highway 1
PO Box 730134                            Princeton, LA 71067                   Plaquemine, LA 70764
Dallas, TX 753730134




Dowers Acquisitions And Holdings I LLC   Dowling Royalties LLC                 Downer Wilhite LLC
PO Box 181321                            PO Box 1442                           401 Market
Arlington, TX 46096                      Ruston, LA 71273-1442                 Ste 1250
                                                                               Shreveport, LA 71101




Downhole Fluid Specialists LLC           Downing Denise                        Downing Power Consulting Inc
6161 Savoy Drive                         717 Hichborn Street                   PO Box 50214
Suite 246                                Vallejo, CA 94590                     Midland, TX 79710
Houston, TX 77036




Downing Resa                             Downing Wellhead Equipment Inc        Doyl Taylor
1455 N Camino Alto Apt 131               8528 S W 2nd Street                   1316 Cr 3685
Vallejo, CA 94589-2570                   Oklahoma City, OK 73128               Joaquin, TX 75954-3314




Doyle Colbert                            Doyle Family Trust                    Doyle Jean Bell
55 Mason Street Apt 217                  Michael Carroll Doye Linda            c/o Texas State Treasury
San Francisco, CA 94102                  527 S Lake Ave Suite 103              Unclaimed Property Division
                                         Marie Doyle Trustee                   PO Box 12019 Capitol Station
                                         Pasadena, CA 91101                    Austin, TX 78711-2019



Doyle R Hill And Della Hill              Dozia Delmer Pliller                  Dpm Inc
486 Cr 2153                              3062 Estesville Rd                    c/o Energetics Inc
Nacogdoches, TX 75965                    Longview, TX 75602                    4740 N Mesa Dr
                                                                               Castle Rock, CO 80104
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Dr Albert Abbott Bullock                Dr And Mrs Sam Mack            Dr Billy Jack Sealey Life Estate
6121 Fern Ave Unit 73                   806 Eden St                    8501 Oxford Ave
Shreveport, LA 71105-4110               Longview, TX 75605             Lubbock, TX 79423




Dr Chijoke David Ukoha                  Dr Electric                    Dr Fred H Gray Estate
306 Stonemeade Way                      608 Lorain Court               Susan Gray Schroeder Executrix
Coppell, TX 75019                       Longview, TX 75604             525 Cumberland Dr
                                                                       Shreveport, LA 71106




Dr George Hewell                        Dr Griffin Associates Inc      Dr Harold J Quinn Jr
1300 Medical Parkway Ste 102            1414 Elk Street                2064 Carriage Way
Plano, TX 75075                         Suite 202                      Chapel Hill, NC 27517
                                        Rock Springs, WY 82901




Dr Harry A Harrington Jr                Dr Ikechukwu Osuji             Dr J R Kirkpatrick
PO Box 77215                            465 Wales Court                PO Box 549
Baton Rouge, LA 70879-7215              Coppell, TX 75019              Middletown, CT 06457




Dr J T Dabney                           Dr James A Moncrief            Dr James B Spurgers
102 Whippoorwill                        505 Savannah Trace             5515 Mt Royal Circle
Livingston, TX 77351                    Ruston, LA 71270               Houston, TX 77069




Dr James H Shipp                        Dr James T Willerson           Dr Jere Mitchell Life Tenant
The Glen 49 A                           c/o Margolis Phipps Wright     U/W/O A A Mitchell
403 E Flournoy Lucas Road               1400 Post Oak Blvd Suite 900   PO Box 7158
Shreveport, LA 71115                    Houston, TX 77056              Longview, TX 75607




Dr Jerry L Mcdaniel                     Dr John B Bourland Jr          Dr John B Hays
c/o Texas State Treasurer               15 Saint Laurent Place         12504 Chateaux Rd
Unclaimed Property Division             Dallas, TX 75225               Oklahoma City, OK 73142
PO Box 12608 Capitol Station
Austin, TX 78711



Dr John Parker                          Dr John R Wilcox Jr            Dr Kathy Tyler Gibson
3713 West 15Th Street Ste 402           PO Box A                       6300 North Haywood Drive
Plano, TX 75075                         Athens, TX 75751               Houston, TX 770611510




Dr Lacy Williams M D                    Dr Mark A Price                Dr Mark L Stanfill
416 Travis Suite 1200                   2299 Sterlington Rd            919 Country Creek Ln
Shreveport, LA 71101                    Apt B 105                      Red Oak, TX 75154
                                        Monroe, LA 71203




Dr Martha Ann Littlefield               Dr Mrs J E Watkins             Dr Peter J Marchisello
732 Rapieds                             Scholarship Trust              Mary Jo Marchisello Poa
Baton Rouge, LA 70806                   Texas Bank Tr Company Ttee     5 Kathy Court
                                        PO Box 2749                    Locust Valley, NY 11560
                                        Longview, TX 75606
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Dr R M Tenery Jr                        Dr Randolph Murphy                         Dr Raymond H Lopez
3660 Maplewood                          14300 Chenal Prkwy 7043                    182 Ferndale Road
Dallas, TX 75205                        Little Rock, AR 72211                      Scarsdale, NY 10583




Dr Richard E Burt                       Dr Richard J Reed                          Dr Robert Glenn Morris
100 S Central Expwy Suite71             12 Versailles                              1257 Archley Drive
Richardson, TX 75080-6316               New Orleans, LA 70125                      Houston, TX 77055




Dr Robert L Baird                       Dr Stephen Howard Chilton                  Dr Susan Sorosky
2612 Fanelle Circle Se                  19588 County Road 49                       3601 N 55Th Place
Huntsville, AL 35801                    Tyler, TX 757043225                        Phoenix, AZ 85018




Dr Susannah Feagin                      Dr W Darrell Willerson Jr                  Dr Walter D Stevenson
3701 Kirby Drive 1116                   791 Grandview Pl                           4610 Jayden Ct
Houston, TX 77098                       San Antonio, TX 78209                      Quincy, IL 62305




Dr Wilford Victor Morris Jr             Dr William Roberson                        Draeger Inc
PO Box 1727                             8511 Fm 856 N                              PO Box 13369
Sealy, TX 77474                         Troup, TX 757898073                        Newark, NJ 07101-3362




Draeger Safety Inc                      Dragon Fly Aviation LLC                    Dragon Products Ltd
PO Box 536421                           5810 San Bernardo Suite 100                PO Box 3127
Pittsburgh, PA 15253-5906               Laredo, TX 78041                           Beaumont, TX 77704-3127




Drake Controls West LLC                 Drake Davenport Indv And                   Dralie Partners Ltd
357 E Arrow Hwy 204                     A/I/F For Barry Joe Leverett               5604 Banister Court
San Dimas, CA 91773-3366                4115 Shelby Dr                             Plano, TX 75093
                                        Amarillo, TX 791094421




Dransco Inc                             Draper Construction And Land Development   Dray Dyekman Reed Healey Pc
PO Box 21619                            6109 Miranda Dr                            204 East 22nd Street
Beaumont, TX 77720-1619                 Fort Worth, TX 76131                       Cheyenne, WY 82001-3729




Drayco Exploration LLC                  Drayton Reed Hinton                        Drc Petroleum Ltd
311 Texas St                            11695 Big Holly Ln                         PO Box 842128
Vidalia, LA 71373                       Conroe, TX 77385                           Houston, TX 77284




Dream Works Imagery LLC                 Dreamers Land And Minerals                 Dresser Rand Group
5524 E Parkcrest Street                 T Parten Wakefield                         PO Box 7247 6149
Long Beach, CA 90815                    PO Box 2910                                Philadelphia, PA 19170-6149
                                        Bryan, TX 77805
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Drew Ann Perry Smith                       Drew J Wall                          Drew Joe Wall Trust
7004 Mills Branch Circle                   407 Goliad Circle                    Acct 5Wa4858 Norwest Bank
Plano, TX 75024                            Palmer, TX 75152-8101                PO Box 5383
                                                                                Denver, CO 80217-5383




Drg Texas Lp                               Drilformance LLC                     Drill Chem LLC
Dynamic Resource Group                     410 Trade Center Parkway             Robert Johnston
306 East Parr Rd                           Suite A1                             PO Box 27098
Berne, IN 46711                            Conroe, TX 77385                     Corpus Christi, TX 78427




Drill Chem LLC And New Century Financial   Drill Collar Inspection Svc          Drill Cuttings Disposal Co LLC
PO Box 27246                               PO Box 60907                         PO Box 370
Houston, TX 77227-7246                     Midland, TX 79711                    Maurice, LA 70555




Drill Pro Consulting LLC                   DriLLChem Drilling Solutions LLC     DriLLChem Drilling Solutions LLC
Kelli Pitts                                Brad Moore                           PO Box 81735
1000 Chinaberry Dr Suite 303               4301 South Loop 336 East             Lafayette, LA 70598-1735
Bossier City, LA 71111                     Conroe, TX 77301




Drilling Info Inc                          Drilling Tools International         Drilling Tools International Inc
PO Box 678128                              PO Box 677901                        Sandra Maples
Dallas, TX 75267-8128                      Dallas, TX 75267-7901                3701 Briarpark Dr Suite 150
                                                                                Houston, TX 77042




Driltech LLC                               Driltech LLC                         Drinkwater Products Inc
William Blanchet                           PO Box 842063                        PO Box 180
PO Box 80097                               Boston, MA 02284-2063                Centerville, LA 70522
Lafayette, LA 70598




Drm Energy Corporation                     Drm Management Corporation Inc The   Drm Sales Supply LLC
2825 Wilcrest Dr Suite 216                 Drm Transportation                   PO Box 9236
Houston, TX 77042                          Rick Crownover                       Midland, TX 79708
                                           PO Box 9236
                                           Midland, TX 79708



Drm Transportation Svcs LLC                Druenetta Jarvis                     Drukman Properties LLC
PO Box 1191                                1401 Calico Lane                     758 Matheson Way
Midland, TX 79702                          Livingston, TX 77351                 Bozeman, MT 59715-3226




Drw Holding Company LLC                    Dry Creek Investments                Ds Associates LLC
711 Louisiana St Ste 1660                  PO Box 50505                         4010 Watson Plaza Drive
Houston, TX 77002                          Midland, TX 79710                    Suite 190
                                                                                Lakewood, CA 90712




DS Oil Gas Operators Inc                   DS Pumping Inc David Bostick Dba     DS Welding
PO Box 208                                 David Bostick                        1700 W 2nd
Homer, LA 71171                            1574 County Road 370                 Big Spring, TX 79720
                                           Denver City, TX 79323
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Dsi Datasource Inc                     Dsi Motor Carrier Services LLC   Dsi Thru Tubing Usa Inc
Dept 730023                            5815 Action Circle               PO Box 732821
PO Box 660919                          Suite 101                        Dallas, TX 75373-2831
Dallas, TX 75266-0919                  Granbury, TX 76049




Dsi Thru Tubing Usa Inc                Dsmc LLC                         Dsw Properties Lp
Steve Gifford                          2800 S University Blvd 120       105 Winnwood Rd
707A West Fm 1462                      Denver, CO 80210                 Wimberly, TX 78676
Rosharon, TX 77583




Dt Trucking Hot Shot Inc               Dtc 997                          Dtc 997
629 Apache Lane                        Prince Georges County Fire       Prince GeorgeS County Police
Rock Springs, WY 82901                 1400 Mccormick Dr                1400 Mccormick Drive Ste 1100
                                       Largo, MD 20774                  Largo, MD 20774




Dtj Holdings LLC                       Dttml Enterprises LLC            Dual State Fire Protection LLC
202 West 19Th St                       4612 Westbury Drive              4911 Junction City Highway
El Dorado, AR 71730                    Colleyville, TX 76034            El Dorado, AR 71730




Duane Anderson                         Duane Claire B Brown             Duane E Gibson
2232 Austin St                         439 W 4Th St                     18310 Cypress Meade Lane
Muskegon, MI 49444                     Homer, LA 71040                  Cypress, TX 77429




Duane H Guy                            Duane L Conatser Rev Tr          Duane Stranahan Jr
1331 Rimmerling Rd Unit B              Marilyn J Conatser Ttee          Ohio Family Ltd Partnership
Gardnerville, NV 89460                 8932 Smith Circle                c/o The Trust Company Of Toledo
                                       Tulsa, OK 74131                  1630 Timberwolf Drive
                                                                        Holland, OH 43528



Duboise Producing Company Inc          Dudley B Sanderson               Dudley Beadles
PO Box 578                             2299 Sterlington Rd              3500 Hulen St
Carthage, TX 75633                     Apt C 101                        Fort Worth, TX 76107
                                       Monroe, LA 71203




Dudley D Taylor Acct                   Dudley Davis Jr                  Dudley Scott Buchanan
PO Box 1116                            15 Waterford Dr                  c/o Texas Comptroller Accounts
Marshall, TX 75671                     Nacogdoches, TX 75965-8701       Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Dudley W L Hawkins Jr                  Dudly J Stuber Trtee Of          Duel Glass Trustee
PO Box 4273                            D J Stuber Land Royalty Tr       1489 Cr 4135 North
Durango, CO 81302                      PO Box 1414                      Overton, TX 75684
                                       Dickinson, ND 58602




Duff LLC                               Duff Phelps Investment Mgmt      Dufrene Pipe Company Inc
23 Meandering Way                      200 S Wacker Dr 500              PO Box 155
Round Rock, TX 78664                   Chicago, IL 60606                Broussard, LA 70518
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Dugan Bell                              Dugga Boys Inc Dba H K Vacuum Trucks   Duke Michael C
203 S Payne St                          Po Drawer 1340                         Address Redacted
Winnfield, LA 71483                     Sinton, TX 78387




Duke Controls                           Duke Welding                           Duke Welding Dba Thad Allen Duke
930 Navigation Blvd                     PO Box 55                              Thad Duke
Corpus Christi, TX 78407                Bairoil, WY 82322                      PO Box 55
                                                                               Bairoil, WY 82322




Dulcy Randolph Hayes                    Dumler Oil LLC                         Dummies Unlimited Inc
708 Hancock                             7500 N Evans Road                      2435 Pine Street
Natchitoches, LA 71457                  Kalvesta, KS 67835                     Pomona, CA 91767




Dun Bradstreet                          Dunagin Transport Company              Duncan Dewey Joe Carolyn Duncan
75 Remittance Dr                        PO Box 208                             2174 Maple Springs Road
Suite 1793                              Merkel, TX 79536                       Longview, TX 75602
Chicago, IL 606751793




Duncan E Wysinger                       Duncan Ostrander Dingess Pc            Duncan White
1918 San Antonio St                     3600 S Yosemite St                     PO Box 22377
Grand Prairie, TX 75051-1331            Ste 500                                Houston, TX 77227-2377
                                        Denver, CO 80237-1829




Dunkin Bush Inc                         Dunlap Specialty Inc                   Dunlap Specialty Inc
PO Box 97080                            Robert Dunlap                          1822 N Us Hwy 385
Kirkland, WA 98083                      1822 N Highway 385                     Levelland, TX 79336
                                        Levelland, TX 79336




Dunmar Inn LLC                          Dunn Producing Inc                     Dunn William T
PO Box 0768                             c/o Bank One Trust Company Na          1810 Hoffman
1601 Harrison Dr                        P O Drawer 99084                       Longview, TX 75602
Evanston, WY 82931-0768                 Ft Worth,, TX 76199-0084




Dupre Energy Services LLC               Dupriest Limited Partnership           Dupuis Polozola LLC
And Its Subsidiaries                    PO Box 2006                            2020 W Pinhook Rd
Annie Cook                              Magnolia, AR 717542006                 Ste 303
500 Bering Drive Suite 455                                                     Lafayette, LA 70508
Houston, TX 77057



Duran Crystal Y                         Durango Production Corporation         Durlene Mccowen
Address Redacted                        PO Box 4848                            c/o Texas State Treasury
                                        Wichita Falls, TX 76308-0848           Unclaimed Property Division
                                                                               PO Box 12019
                                                                               Austin, TX 78711-2019



Durrett Construction Co Inc             Durward K Stutts Jr                    Durward Peterson Alice Lann Peterson
PO Box 51                               447 Mistflower Dr                      PO Box 512
Simsboro, LA 71275                      Richmond, TX 77469-1587                Simsboro, LA 71275
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Dusek Tubularsinc                       Dustin Bracken                    Dustin Creech
PO Box 10982                            Address Redacted                  PO Box 8918
Midland, TX 79702                                                         Midland, TX 79708-8918




Dustin Harris Et Ux                     Dustin Lynn Hayes Trust           Dustin Rouse
Tara Harris                             Mark Deter Hayes Trustee          4000 Parkside Center Blvd Apt 2705
114 County Road 4553                    17 Church Street                  Dallas, TX 75244-4365
Carthage, TX 75663                      Greenbrier, AR 72058




Duval County Tax Assessor               Duval County Tax Assessor         Duval Lease Service
100 S Bexar                             Collector                         PO Box 330
San Diego, TX 78384-2929                PO Box 337                        Kenedy, TX 78119-0330
                                        San Diego, TX 78384-0337




Dv OG Partners L P                      Dvj Partnership                   DVonna Conyers
Bmt OG Tx Lp                            W Don Wallace And Jan W Briscoe   2900 Falls Church
PO Box 916107                           2819 Long Lake Drive              Mesquite, TX 75149
Fort Worth, TX 76191-6107               Shreveport, LA 71106




Dwain And Anita S Brady                 Dwain Brady                       Dwanda Gipson Baker
125 Cr 492                              125 Cr 492                        785 S Copper Key Ct
Carthage, TX 75663                      Carthage, TX 75633                Gilbert, AZ 85233




Dwanna Hill                             Dwayne Acker                      Dwayne J Green
9255 Crimnson Ct                        Address Redacted                  PO Box 381
Dallas, TX 75217                                                          West Monroe, LA 71294-0381




Dwayne May                              Dwayne Stark                      Dwendol V Castleberry
2531 Cutting Blvd                       c/o Texas State Treasury          1845 Mason Way
Richmond, CA 94804                      Unclaimed Property Division       Lancaster, TX 75134
                                        PO Box 12019
                                        Austin, TX 78711-2019



Dwight Hill And Elizabeth Hill          Dwight Johnson                    Dwight Letwayne Moore Sr Et Ux
PO Box 269                              965 Ccc Rd                        Marilyn Marie Wright Moore
Logansport, LA 71049                    Ruston, LA 71270                  3007 Hummingbird Lane
                                                                          Humble, TX 77396




Dwight M Hill                           Dwight M Murray                   Dwight M Murray Jr Trust
541 Cr 3801                             One Energy Square                 Frost National Bnk Acct Wa263
Joaquin, TX 75954-3879                  4925 Greenville Avenue            PO Box 1600
                                        Dallas, TX 75206                  San Antonio, TX 78296




Dwight Moore                            Dwight S Ramsay                   Dwight Snider
3007 Hummingbird Ln                     PO Box 52027                      519 Florence
Humble, TX 77396                        Lafayette, LA 70505               Kerrville, TX 78028
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Dwight William Whiting Jr              Dxp Enterprises Inc              Dyan B Norfleet
1049 Loma Dr                           PO Box 201791                    3434 E Blackledge Dr Apt B
Ojai, CA 93023                         Dallas, TX 75320-1791            Tucson, AZ 85716




Dyer Sally B                           Dyess Family Ltd Part Tx         Dykes Oil Company
4899 Country Club Rd E                 Clara Jp Robert W Dyess          5329 Shreveport Blanchard Hwy
Longview, TX 75602-6624                1550 Fm1584                      Shreveport, LA 71107-8689
                                       Big Spring, TX 79720




Dykes Well Services LLC                Dylan G Bridges                  Dymond Resources Limited
5329 Shreveport Blanchard Hwy          Brenda K Bridges Guardian        1540 S Center St
Shreveport, LA 71107                   559 W Hammond                    Casper, WY 82601-4222
                                       Lancaster, TX 75146




Dyna Drill Technologies LLC            Dynaflo Artificial Lift Sys      Dynamic Fishing Rentals LLC
Nam Contracts                          Accelerated Artificial Lift Sy   PO Box 150
1325 Dairy Ashford Room 310            4441 E 146Th Street N            Midland, TX 79702
Houston, TX 77077                      Skiatook, OK 74070




Dynanomics Inc                         Dynapump                         Dynasty Transportation LLC
Dba Anatesco                           2441 High Timbers 200            PO Box 975356
PO Box 8225                            The Woodlands, TX 77380          Dallas, TX 75397-5356
Tyler, TX 75711




E 3 Systems                            E A B Oil Co                     E A Bennett Jr Or Bettysu L
6999 Mcpherson Rd Suite 321            1320 Lake St                     Bennett Joint Tenants
Laredo, TX 78041                       Fort Worth, TX 76102             391 Winding Trail
                                                                        Holly Lake Ranch, TX 75765




E A Fariss Est                         E A Hinton Well Servicing Inc    E A Mcclure Properties Co
Harry H Jung Jr Admin Wwa              PO Box 133                       12995 N Oracke Rd Ste 141 406
Est Of E A Fariss                      Lisbon, LA 71048                 Tucson, AZ 85739
PO Box 93063
Lubbock, TX 79493



E Bert Nixon                           E C Energy Partners LP           E C Johnston Jr And Helen M Johnston
409 North Hinkley                      PO Box 191446                    PO Box 1112
Blooming Grove, TX 76626-3103          Dallas, TX 75219-8449            Longview, TX 75606




E C Murchison                          E Carlton Mccoy                  E Carlton Mccoy Succession Of
PO Box 1810                            PO Box 159                       Carla Mccoy Spears And Earl Carlton
San Antonio, TX 78296                  Logansport, LA 71049             Mccoy Jr Co Executors
                                                                        PO Box 145
                                                                        Logansport, LA 71049-0145



E Carlton Mccoy Estate                 E Christie Corrigan              E D Adams
PO Box 159                             PO Box 63869                     c/o Texas State Treasury
Logansport, LA 71049                   Colorado Springs, CO 80962       Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019
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E D Walton Construction Co Inc          E E Marshall Trust Estate Of E B Sealey   E E Palmer
PO Box 206                              2653 Fm 1186                              715 B Ave G
Snyder, TX 79550-0206                   Marshall, TX 75672                        Levelland, TX 79336




E F Burkdall                            E Frank Roeser Thompson                   E G Alford
c/o Fl Dept Financial Services          Route 16B PO Box 576                      1441 Canton Mart Road
Unclaimed Property Division             Jackson, NH 03846                         Jackson, MS 39211
200 E Gaines Street
Tallahassee, FL 323990358



E G Burke Jr                            E G Burke Trust                           E G Burke Trust
2210 Tennessee Bldg                     Fbo Christopher Burke                     Fbo Lisa Burke
Houston, TX 77029                       100 Miracle Mile                          100 Miracle Mile
                                        Coral Gables, FL 33134                    Coral Gables, FL 33134




E G Burke Trust                         E G Energy LLC                            E G Thompson Esch
Fbo Tracey Burke                        9204 Cherokee Lane                        1085 Houston Club Building
100 Miracle Mile                        Leawood, KS 66206                         Houston, TX 77002
Coral Gables, FL 33134




E H B G Applequist Living Trust         E H Gunter Family Trust                   E Hayes Sieber Tr
3462 Fm 699                             Keith E Gunter Successor Ttee             c/o Prospertiy Bank Ttee
Center, TX 75935                        2610 West 90Th Place                      1401 Ave Q
                                        Denver, CO 80260                          Lubbock, TX 79401




E J Development LLC                     E J Kunkel Royalty LLC                    E J Services LLC
9830 Jennifer Lane                      Compass Royalty Management Aif            PO Box 971
Shreveport, LA 71106                    PO Box 660279                             Carlsbad, NM 88221
                                        Dallas, TX 75266




E Jack Hilburn                          E James Files Jr Patti C Files            E Jeffrey Whitten
8320 83 Via Sonoma                      206 Forest Lake Drive                     7802 Roper
La Jolla, CA 92037                      Madison, MS 39110                         Dallas, TX 75209




E Joseph Bleich Et Ux                   E L Electric Inc                          E L Farmer And Company
Elsie Marie Bleich                      12322 Los Nietos Road                     PO Box 3512
PO Box 947                              Santa Fe Springs, CA 90670                Odessa, TX 797603512
Ruston, LA 71273




E L Hilliard Estate                     E L Hilliard Iii                          E L Mccormack Et Ux
401 Edwards St Ste 2000                 401 Edwards St Ste 2000                   514 Brown Street
Shreveport, LA 71101-3160               Shreveport, LA 71101-3160                 West Monroe, LA 71291




E Marlowe Barclay                       E Milton Jones                            E N Smith Jr
6305 Worchester Wood                    603 W Lake                                700 Pitts Avenue
San Antonio, TX 78233                   Jefferson, TX 75657                       Marshall, TX 75672
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E N Trucking                            E P Gowanlock                             E P Markham Jr And Mrs E P
PO Box 872                              Reunion Inn Room 504                      Markham Jr Rosemary Garner Markham
Odessa, TX 79760                        2801 E Travis                             Capital One Bank
                                        Marshall, TX 75670                        PO Box 1589
                                                                                  Gladewater, TX 756471589



E Paul Ross                             E Pregler Estates Inc                     E R Mcwhorter By Pass Trust
812 North 11Th Street                   Box 1722                                  E W Mcwhorter Trustee
Dequeen, AR 71832                       Tulsa, OK 74101                           PO Box 507
                                                                                  Longview, TX 75606




E Ross Kyger Iv                         E Rubin Bernhard Jr Living Tru            E S Joseph Family Partnershp
1586 Hewitt Dr                          c/o E Rubin Bernhard Jr                   George Eric Joseph General Par
Houston, TX 77018                       Melody A Bernhard Co Trustees             PO Box 1706
                                        526 Candleglo                             Longview, TX 75606-1706
                                        San Antonio, TX 78239



E Scott Emerson 2009                    E T Advanced Communications Service Inc   E T C Marketing Ltd
Irrevocable Fam Tr                      15390 Cr 343                              800 East Sonterra Blvd Suite 400
39505 Tudor Dr                          Tyler, TX 75708                           San Antonio, TX 78258-3941
Willoughby, OH 44094




E T Cox Heirs Executors Et Al           E T S Oilfield Services Lp                E Tex Investments Inc
Under Court Order Of 2 24 97            PO Box 261080                             306 West Sabine
Shelly Sitton Succ Rcvr                 Corpus Christi, TX 78426-1080             Carthage, TX 75633
101 W Mill St Ste 216
Livingston, TX 77351



E Tex Production Company                E Texas Association Health                E Trade Bank
c/o Keven Pruitt                        Underwriters                              11713 Gorham Ave
PO Box 429                              PO Box 133214                             Los Angeles, CA 90049
Quitman, TX 75783                       Tyler, TX 75713




E Trade Financial Corporate Services    E Trade Financial Corporate Services      E Trade Securiti
PO Box 3512                             President                                 Attn Sunil Kumarvdv
Account 79528                           4005 Windward Plaza Dr                    10951 White Rock Road
Arlington, VA 22203-0512                Alpharetta, GA 30005                      Rancho Cordova, CA 95670




E Vironment                             E W Barbara Wilson Family Trust           E W Barber
Attn John W Luton                       Barbara Wilson Ttee                       242 Arkansas Ave
14011 Park Drive Ste 100                6902 Hideaway Hollow                      Winnfield, LA 71483
Tomball, TX 77377-6288                  Austin, TX 78750




E W Crawford                            E W Crawford Iii Trust                    E W Jones Family Ltd Partnership
109 Timberlane Dr                       E W Crawford Iii Trustee                  315 North Jackson Avenue
Silsbee, TX 77656-6615                  PO Box 66                                 Livingston, TX 77351
                                        Timpson, TX 75975-0066




E W Mcwhorter                           E Wayne Greer                             E Wright Calk Mar Tr 1
PO Box 507                              4350 Ocean Drive                          Elaine Wright Calk Trustee
Longview, TX 75606                      Apartment 601                             1138 Hillslope Place
                                        Corpus Christi, TX 78412-2570             Los Altos, CA 94024
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E Wynne Noble                           Ea Bennett Jr                     Eado Production Inc
33 East 7Th St                          Bettysu L Bennett                 102 S Hwy 115
Brooklyn, NY 11218                      391 Winding Trl                   Kermit, TX 79745
                                        Holly Lake Ranch, TX 75765-7137




Eag Services Incorporated Nda           Eag Services Inc                  Eager Beaver Testers Inc
832 485 5814                            19 Briar Hollow Lane              PO Box 1616
19 Briar Hollow Lane Suite 200          Suite 200                         Rock Springs, WY 82902
Houston, TX 77027                       Houston, TX 77027




Eagle Automation Corporation            Eagle Capital Corp                Eagle Capital Corporation
PO Box 271446                           PO Box 4215                       Fbo Jonezy Hot Shot Service
Corpus Christi, TX 78427                Tupelo, MS 38803-4215             PO Box 4215
                                                                          Tupelo, MS 38803-4215




Eagle Community Credit Union            Eagle Completions Usa Ltd         Eagle Eye Services
781 Kimberly Ave                        PO Box 60274                      PO Box 828
Placentia, CA 92870                     Midland, TX 79711                 Carthage, TX 75633




Eagle Fishing Tools Services            Eagle Fluids Company LLC          Eagle Fluids Company LLC
Spur 156                                Catherine Busby                   Attn Andrea Younger
Waskom, TX 75692                        514 West Perry Place              4614 Dc Dr Ste 2F
                                        Carthage, TX 75633                Tyler, TX 75701




Eagle Minerals Lp                       Eagle Oil Gas Co                  Eagle Oil Gas Inc
PO Box 671099                           2525 Kell Boulevard               PO Box 1302
Dallas, TX 75367                        1 Parker Square Suite 510         Stafford, TX 77477
                                        Wichita Falls, TX 76308-1061




Eagle Oilfield Inspection Service Inc   Eagle Rock Energy LP              Eagle Rock Production LP
PO Box 695                              5847 San Felipe St Ste 3000       PO Box 202250
Broussard, LA 70518                     Houston, TX 77057-3399            Dallas, TX 75320-2250




Eagle Royalty Company Inc               Eagle Rubber And Supply           Eagle Specialty Service LLC
D/B/A Hawkeye Resources Inc             Operating Services Inc            PO Box 196
PO Box 270992                           PO Box 1253                       Elm Grove, LA 71051
Houston, TX 77277                       Levelland, TX 79336




Eagle Specialty Services LLC            Eagle Specialty Services LLC      Eaglebank
330 Crown Court Place                   Maxine Kitchings Jr               7815 Woodmont Avenue
Bossier City, LA 71112                  330 Crown Court Place             Bethesda, MD 20814
                                        Bossier City, LA 71112




Ean Services LLC                        Earl A Troclair                   Earl Alan Hulsey
Business Rental Sales Department        2700 Bernhardtt C29               PO Box 7083
600 Corporate Park Drive                Port Arthur, TX 77642             Dallas, TX 75209
St Louis, MO 63105
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Earl Alexander                          Earl Baker                                Earl C Carter
Alice L Alexander                       501 Garr Road                             3204 A B Carter Rd
5524 Old Israel Rd                      Ruston, LA 71270                          Hallsville, TX 756504312
Livingston, TX 77351




Earl Carlton Mccoy Jr                   Earl Daniel Willis                        Earl Daniel Willis Life Estate
PO Box 145                              2 Pulliam Drive                           2 Pulliam Drive
Logansport, LA 71049                    Pleasanton, TX 78064                      Pleasanton, TX 78064-1518




Earl Davis                              Earl F Glenn                              Earl H Meyer
7144 Larkin Dr                          PO Box 151                                c/o Dawn Muscarello
Dallas, TX 75227-2768                   Bronte, TX 76933-0151                     6224 Durande Dr
                                                                                  Baton Rouge, LA 70820




Earl Harris Estate                      Earl Joyce Wylie Fam Holding LLC          Earl L Collins
8750 N Central Expressway Suite 1740    2407 London Mills Ct                      PO Box 251
Dallas, TX 75231                        Katy, TX 77494                            Cheswald, DE 19936




Earl L Harvey                           Earl L Kelley Life Estate                 Earl Madison Utzman
Joyce A Harvey                          8809 S Dana                               PO Box 1201
152 Ironwood Rd                         Orange, TX 77632                          Paso Robles, CA 934471201
Quitman, LA 71268




Earl Marwil                             Earl Meredith Hitt Individual             Earl Miles
316 Springwood Ln                       40 Pineview Dr                            Rt 2 Box 336
Idaho Falls, ID 83404                   Forsythe, GA 31029                        Ruston, LA 71270




Earl Miles Jr                           Earl N Greer Jr                           Earl Offutt
9902 Pinehurst                          41402 North Mill Dr                       Route 2 Box 102
Baytown, TX 77521                       Magnolia, TX 77354                        Pine Bluff, AR 71603




Earl Persons                            Earl R Bruno Family Limited Partnership   Earl R Courtney Siegel
PO Box 220                              PO Box 590                                Limited Partnership
Grand Saline, TX 75140                  Midland, TX 79702                         PO Box 590
                                                                                  Midland, TX 79702




Earl Reed                               Earl Reed Ruth Reed                       Earl Rochelle
PO Box 91010                            1994 Revocable Trust                      PO Box 483
Baton Rough, LA 70821                   Gary Reed Trustee                         Arcadia, LA 71001
                                        PO Box 1230
                                        Porterville, CA 93258



Earl S Booker                           Earl Wayne Standifer Sp                   Earl Wayne Willis
4200 Pepper Hill                        1712 Halford St                           702 Se 2nd Street
Montgomery, TX 77316                    Anderson, IN 46016                        Grand Prairie, TX 75051
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Earl Weeks                               Earl Weeks                       Earl Will Kizine
c/o Merril Lynch Corp Actions            c/o Merrill Lynch Corp Actions   2602 Brooklyn
4804 Dear lake Drive E                   4804 Dear Lake Dr E              Kansas City, MO 64127
Jacksonville, FL 32246                   Jacksonville, FL 32246




Earle Brumble                            Earle Christopher Chilton        Earle Clark Caruth
3007 East Eastland                       6620 Eton Court                  Testamentary Tr W W Caruth Jr
Tuscon, AZ 85716                         Benbrook, TX 76132               Nationsbank Of Texas Na Trustee
                                                                          PO Box 840738
                                                                          Dallas, TX 75284-0738



Earlean Buggs Kelley                     Earlean Walker                   Earlene Beatrice Adams Creer
6176 Highway 146                         8715 S 5Th Ave                   1246 Mccall Rd
Ruston, LA 71270                         Inglewood, CA 90305-2403         Mt Holly, AR 71758




Earlene Borden                           Earlene Freeman                  Earlene M Mclellan
319 E Council St                         505 Apple Tree Ct                392 Merritt Rd
Tomah, WI 54660-2615                     Saginaw, TX 76179                Benton, LA 71006




Earlie B Delley                          Earline Baker Myles              Earline Carter
1950 S Dayton St Apt 124                 501 Garr Road                    3302 A B Carter Road
Aurora, CO 80247                         Ruston, LA 71270                 Hallsville, TX 756504308




Earline Sampson Wills Sep Prop           Earline Speed Life Estate        Earlvin Taylor
4641 S Cooper Street                     707 S Valley Ave                 2211 E Mckenzie St
Seattle, WA 98118                        Vineland, NJ 08360               Long Beach, CA 90805




Earnest A Massingill Est                 Earnest Jean Nelson              Earnest L Coleman
c/o Karen L Garvin                       Aka Earnest Jean Abney           9417 E Cherrywood Dr
841 Via Madonna                          208 Sandbed Road                 Sun Lakes, AZ 85248
Mesquite, TX 751503051                   Ruston, LA 71270




Earnest Lee Mcclendon                    Earnest Lee Williams             Earnestine Giles Hall
608 Dixie Ave                            184 Houston Road                 1261 Sunset Ave
Monroe, LA 71202                         Ruston, LA 71270                 Perris, CA 92571




Earnestine Hunt                          Earnestine Jordan                Earnestine Neal
190 Nobles School Rd                     8508 Cr 4201D                    c/o Texas State Treasury
Dubach, LA 71235                         Henderson, TX 75654              Unclaimed Property Division
                                                                          PO Box 12019
                                                                          Austin, TX 78711-2019



Earnestine Smiley Gupton                 Earnie B Walters                 Earth Management Services Inc
Delores Gupton P/O/A                     Route 4 Box 66                   Clark Estes
5549 County Road 462 South               Douglasville, GA 30134           289 County Road 3224
Henderson, TX 75654                                                       Deberry, TX 75639
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Earthstream Global Inc                  Easley Minerals Ltd                       East End Energy Inc
Attn Cecilia Gatus                      Helen L Easley                            120 E 79Th St Apt 11E
PO Box 2281                             PO Box 437                                New York, NY 10075-0346
Carlsbad, CA 92108                      Corpus Christi, TX 78403




East Lake Holdings LLC                  East Mountain Volunteer Fire Department   East Side Baptist Church
PO Box 428                              107 Municipal Dr                          2300 East Main St
Longview, TX 75606                      Gilmer, TX 75645                          Henderson, TX 75652




East Texas Alarm Inc                    East Texas Asphalt Co Ltd                 East Texas Association Of
315 S Vine St                           PO Box 151705                             Petroleum Landmen
Tyler, TX 75702                         Lufkin, TX 75915                          PO Box 252
                                                                                  Tyler, TX 75710




East Texas B O P Services Inc           East Texas Boy Scout Foundation Inc       East Texas Consolidated Supply Inc
6427 Sydney Road                        1331 East Fifth Street                    9208 Ne Hwy 99
Whitehouse, TX 75791                    Tyler, TX 757013415                       Ste 107 284
                                                                                  Vancouver, WA 98665




East Texas Copy Systems                 East Texas Copy Systems Leasing           East Texas Excavating Utility Services
4545 Old Jacksonville Hwy               PO Box 132856                             PO Box 103
Tyler, TX 75703                         Tyler, TX 75713                           Gary, TX 75643




East Texas Gas Producers Association    East Texas Geological Society             East Texas Interests LLC
400 E Kaliste Saloom Rd                 1808 Everglades Drive                     17392 N 77Th Way
Suite 6000                              Tyler, TX 75703                           Scottsdale, AZ 85255
Lafayette, LA 70508




East Texas Machine                      East Texas Oil Gas Royalty                East Texas Oil Museum
300 Holley St                           Partnership Company LLC                   1301 S Henderson Blvd
New Boston, TX 75570                    East Texas Resources Managing Partner     Kilgore, TX 75662
                                        PO Box 4354
                                        Longview, TX 75606



East Texas Oilfield Construction        East Texas Oilfield Production Services   East Texas Oilfield Services Inc
11340 Fm 315                            PO Box 985                                Amber Shelton
Palestine, TX 75803                     Kilgore, TX 75663-0985                    PO Box 288
                                                                                  New London, TX 75682




East Texas Oilfield Supply Co           East Texas Professional C U               East Texas Radiator Inc
PO Box 205                              409 E Loop 281                            703 W Cotton St
Madisonville, TX 77864                  Longview, TX 75605                        Longview, TX 75604




East Texas Resources Inc                East Texas Septic Tank Grease             East Texas Shredding LLP
PO Box 335                              Trap Pumping                              3201 Lopez Ct
Longview, TX 75606                      Randy Pilkington                          Longview, TX 75605-2503
                                        3566 Driskell Bridge Rd
                                        Harleton, TX 75651
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East West Bank                         Eastar Investments Inc                 Eastern Colorado Well Service
135 N Los Robles Avenue 7th Floor      PO Box 320                             PO Box 244
Pasadena, CA 91101                     Overton, TX 75684                      Cheyenne Wells, CO 80810




Eastern Technical Assoc Inc            Eastex Crude Company                   Eastex Crude Trucking LLC
PO Box 1009                            10907 State Hwy 11 West                675 Bering Drive 110
Garner, NC 27529-1009                  Leesburg, TX 75451-2524                Houston, TX 77057




Eastex Telephone Cooperative Inc       Eastex Telephone Cooperative Inc       Eastland Exploration Inc
3675 US HWY 79 S                       PO Box 150                             PO Box 5279
Henderson, TX 75654                    Henderson, TX 756530150                Austin, TX 78763




Eastland Exploration Royalty           Eastman Credit Union                   Eastman Midstream Lp
PO Box 5279                            PO Box 1989                            515 N Fredonia St
Austin, TX 78763                       Kingsport, TN 37662                    Longview, TX 75601




Eastrans LLC                           Eastspring Investments Singapore Ltd   Eather Jean Dowling Thayer
PO Box 301622                          10 Marina Blvd Suite 32 01             2750 Millerville Rd Apt 3108
Dallas, TX 75303-1622                  Marina Bay Financial Centre Tower 2    Baton Rouge, LA 70816-0103
                                       Singapore 18983
                                       Singapore



Eatherton Family Revoc Trust           Eatmon Well Service Co                 Eaton Jeffrey W
Lewis Eatherton Iii                    Po Drawer 70                           235 Cherrybark Drive
Marsha Eatherton Co Ttees              Kimball, NE 69145                      Coppell, TX 75019
1728 North Blvd
Houston, TX 77098



Eaton Oil Tools Inc                    Eaton Richard H                        Eaton Vance Management
PO Box 1050                            8315 Tecumseh Drive                    Two International Place
Broussard, LA 70518                    Austin, TX 78753                       Boston, MA 02110




Eaves Family Trust                     Eb Archbald Associates Inc             Ebenefits Administrators Inc
Bruce R Durkee Succ Ttee               6701 N Broadway                        5602 Langmore Ln
77 772 Flora Road                      Suite 310                              Erie, PA 16505-1128
Suite C                                Oklahoma City, OK 73116
Palm Desert, CA 92211



Ebenezer Water Supply Company          Ebrecht Tainialynn                     Ecapital LLC
PO Box 1925                            Address Redacted                       Fbo JJ Transport Services Llc
Henderson, TX 75653                                                           PO Box 98504
                                                                              Las Vegas, NV 89193-8504




EcC Lawn Care                          Echo Wireline Company LLC              Echometer Company
Carlos Nunez                           824 Mallory Ct                         5001 Ditto Ln
5163 Hwy 154 E                         Tyler, TX 75703                        Wichita Falls, TX 76302
Gilmer, TX 75645
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Eclipse Ior Services LLC                Eco Chem Oilfield Solutions        Eco Mud Disposal
Dba Eoga                                PO Box 2003                        PO Box 2502
PO Box 824                              Whitehouse, TX 75791               Corpus Christi, TX 78403-2502
Hays, KS 67601




Eco Vantage Reprographics               Ecology Control Industries Inc     Ecoserv LLC
2201 Cherry Ave 100                     20846 Normandie Ave                207 Town Center Parkway 2nd Floor
Signal Hill, CA 90755                   Torrance, CA 90502                 Lafayette, LA 70506




Ecoserv LLC                             Ector County Appraisal District    Ecww LLC
3561 Momentum Place                     1301 E 8Th Street                  PO Box 365
Chicago, IL 60689-5335                  Odessa, TX 79761-4722              Winnfield, LA 71483




Ed Atwood And Sons LLC                  Ed Bumpass Helms Trust             Ed Cook
117 Jefferson St                        c/o Shirley Helms Trustee          14222 Avenida De San Nico
Mansfield, LA 71052                     64 5322 Puukapu St                 Corpus Christi, TX 78418
                                        Kamuela, HI 96743




Ed Piatt Iii                            Edco                               Eddie Anderson
10190 8Th Avenue                        PO Box 398                         2100 Grimmett Drive
Pleasant Prairie, WI 53158              Buena Park, CA 90621               1304
                                                                           Shreveport, LA 71107




Eddie B Winfield DecD                   Eddie D Brice And Valina J Brice   Eddie Dean
8989 County Rd 301                      PO Box 682                         c/o Charles L Williams Cpa
Terrell, TX 75160                       Arcadia, LA 71001                  6121 Fern Avenue 102
                                                                           Shreveport, LA 71105




Eddie E Wilkerson                       Eddie F Glenn                      Eddie Foster
c/o Texas State Treasurer               3300 Voight Blvd Lot 249           120 Alford Street
Unclaimed Property Division             San Angelo, TX 76905               Jonesboro, LA 71251
PO Box 12608 Capitol Station
Austin, TX 78711



Eddie I Haywood                         Eddie Joe Nelson                   Eddie Joe Roberts
2001 Mount Pleasant Rd                  2282 Mosswood Rd                   10165 Ocelot Rd
Hallsville, TX 75650-4475               Choudrant, LA 71227                Gilmer, TX 75644




Eddie L Berry                           Eddie L King                       Eddie Lamar Miles
5923 Heatherbrook Dr                    17827 Gray Moss Ave                2816 Cypress Point Dr
Houston, TX 77085                       Baton Rouge, LA 71270              Missouri City, TX 77459




Eddie Lee Giles                         Eddie Lee Hill Sr Katie C Hill     Eddie Lee Simonton
1776 Aline Ave                          1100 Kensington Court              7918 Lynette Street
Shreveport, LA 71107                    Longview, TX 75605-1474            Houston, TX 77028
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Eddie Lee Titus                          Eddie Mamon Delton                       Eddie Mason And Kim Mason
1012 Timberview                          10340 S Hobart Blvd                      1009 Delia Drive
Hutchins, TX 75141                       Los Angeles, CA 90047                    Longview, TX 75601




Eddie Mitchell Esch                      Eddie Osborne                            Eddie P Evans
231 1/2 W 101                            Address Redacted                         PO Box 451
Los Angeles, CA 90001                                                             Bernice, LA 71222




Eddie Ralph Harmon                       Eddie Ralph Harmon Dianne Smith Harmon   Eddie Ray Allen Sep Prop
1986 Harmon Loop                         1986 Harmon Loop Rd                      195 Ross Perritt Road
Homer, LA 71040                          Homer, LA 71040                          Arcadia, LA 71001




Eddie Ray Robinson                       Eddie Roberson                           Eddie Simonton Iii
4546 State Hwy 315                       114 Jefferson                            7918 Lynette St
Carthage, TX 75633                       Longview, TX 75603                       Houston, TX 77028




Eddie Sue Stanaland                      Eddies Electric Co                       Eddy County Abstract Title Co LLC
11398 N Us Highway 59                    Box Z                                    116 N Canyon
Nacogdoches, TX 75965                    Freer, TX 78357                          Carlsbad, NM 88220




Eddy County Clerk                        Eddy County Road Department              Eddy Waller Sherman
325 S Main Street                        2611 S 13Th                              PO Box 191
Carlsbad, NM 88220                       Artesia, NM 88210                        Summerfield, LA 71079




Edell Boutwell Educational Tst           Edell Johns Boutwell Edu Tr              Edgar Clary Griffin Jr
c/o George T Johns Co Ttee               306 West 7Th St Ste 500                  4501 Elm St
PO Box 17085                             Fort Worth, TX 76102                     Bellarie, TX 77401
Fort Worth, TX 76102




Edgar Cornelius Bishop                   Edgar D Jordan                           Edgar Dewitt Shanks Iii
42205 Clouatre Rd                        1200 Bellaire Drive                      170 Hickory Walk
Gonzales, LA 70737                       Tyler, TX 75702                          Marietta, GA 30064




Edgar F Woodward Iii                     Edgar Glenn Booker                       Edgar J Melchione
11 Crescent Lake Way                     PO Box 224                               Escrow Comm First National Bnk
Ormond Beach, FL 32174-6798              Stonewall, LA 71070                      PO Box 2540
                                                                                  Casper, WY 82602




Edgar M Duncan                           Edgar Miles Woods                        Edgar R Bowden Jr
1020 Ne Loop 410 Ste 500                 799 Brown Street                         1853 Dolphin St
San Antonio, TX 78209                    Wake Village, TX 75501                   Shreveport, LA 71109
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Edgar Ross Mcclendon                   Edgar Ross Mcclendon Lifeest            Edgar W Allison
PO Box 34                              PO Box 34                               521 N J St
Mineral, TX 78125                      Mineral, TX 78125                       Harlingen, TX 78550




Edge Manufacturing Tech LLC            Edge Manufacturing Technology LLC       Edge Oilfield Services LLC
PO Box 10581                           PO Box 10581                            10929 Hwy 371 South
Midland, TX 79702-7581                 Midland, TX 79702-7581                  Sibley, LA 71073




Edi Group Us Inc                       Edinburgh Petroleum Services Americas   Edith Allen Beals
c/o Warren Miller                      515 Post Oak Blvd Ste 600               2016 Oak Ridge Dr
16225 Park Ten Place                   Houston, TX 77027                       Portland, TX 78374-2914
Suite 500
Houston, TX 77084



Edith B Elliott                        Edith B Reynolds Tingle                 Edith Boland
166 N Buffalo St                       692 Booker Loop Road                    1655 Holiday Place
Canton, TX 75103                       Mansfield, LA 71052                     Bossier City, LA 71112




Edith Colvin Baremore                  Edith E Mathewes Madden                 Edith F Williams
22301 Crystal Wood Drive               614 Parkway                             345 Blueberry Ln
Little Rock, AR 72204                  Natchitoches, LA 71457                  Lexington, KY 40503




Edith Henderson                        Edith Koon Low                          Edith L Wilson
104 Tejas Trl                          152 Silverbell Cr                       3362 Estesville Rd
Crandall, TX 75114-2311                Lake Jackson, TX 77566                  Longview, TX 75602




Edith Lavern Kirkland                  Edith Mae Ward Williams                 Edith Manuel
532 Cr 3326                            For Life                                1147 Johnson Rd
Joaquin, TX 75954                      222 Mitchell Street                     Doyline, LA 71023
                                       Longview, TX 75601




Edith Manuel Fam Tr                    Edith Toler Yao                         Edith W Shepherd
c/o Susan B Thomas Ttee                2910 Cedar Knoll Drive                  179 Candelara Drive
6507 Barksdale Blvd 54                 Roswell, GA 30076                       Carthage, TX 75633
Bossier, LA 71112




Edl Cub LLC                            Edmond L Mcnair                         Edmondson Services LLC
Martin A Dillaha                       Stanton Wagers Jr Poa                   607 Carreta Rd
1818 N Taylor St Pmb302                PO Box 36                               Carlsbad, NM 88220
Little Rock, AR 72207                  Bellville, TX 77418




Edmund Earl Boyd                       Edmund M Thomas                         Edmund Mautz
2209 Nw 142nd Ave                      6104 Line Avenue Suite 4                1639 Vance Ave
Gainseville, FL 32609                  Shreveport, LA 71106                    Memphis, TN 38104
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Edmund Richard Wood                      Edmund T Anderson Iv                     Edna Belt
PO Box 2047                              2521 Humble                              609 Timberland Dr
Marshall, TX 756702047                   Midland, TX 797058407                    Woodville, TX 75979




Edna Bernadene Jackson Carter            Edna Bibb Pruitt                         Edna Bracken Lathan
5321 Garfield                            PO Box 1202                              PO Box 516
Kansas, MO 64110                         Eagle Pass, TX 78853                     Gibsland, LA 71028




Edna Bunnell Link                        Edna Campos Gravenhorst                  Edna E Burgan Wesneski
c/o Office Of Texas State                3179 Ohio Avenue                         6603 Prairie Dunes Dr
Unclaimed Property Division              St Louis, MO 63118                       Houston, TX 77069-1743
PO Box 12608 Capitol Station
Austin, TX 78711



Edna Earl Box                            Edna Earl Mays                           Edna Elizabeth Beene
Glenda Vasquez Guardian                  814 Nells Street                         15 Pink St
16607 Creeksouth Rd                      Minden, LA 71055                         West Monroe, LA 71292
Houston, TX 77068




Edna Erroll Lambert Willis               Edna F Taylor                            Edna G Thompson Living Trust
Separate Property                        2214 Madison Lane                        1212 Harvest Lane
2822 Kaylin Drive                        Garland, TX 75040                        Longview, TX 75604
Shreveport, LA 71118




Edna Gail Pruitt                         Edna Gay Stephens                        Edna Hill Meeker Trust
PO Box 1202                              604 Pinehill Dr                          Flbo Daniel Hill Meeker
Eagle Pass, TX 78853                     Henderson, TX 75652                      L H Meeker Julian W Meeker
                                                                                  PO Box 470155
                                                                                  Fort Worth, TX 76147



Edna Jackson Boyd                        Edna Juanita Atkerson                    Edna Knopf Helzer
1113 Joe Bill St                         PO Box 268                               Route 2 Box 13
West Monroe, LA 70508                    Beckville, TX 75631                      Backus, MN 56435




Edna L De Los Santos                     Edna L Warren Aka                        Edna Lee Owens
PO Box 3564                              Lucille Warren Widow Of Henry F Warren   Lakeland House 110
Victoria, TX 77903                       By Through Aif Freida Wjones And Glen    213 Cayuga Drive
                                         PO Box 326                               Athens, TX 75751
                                         Trinidad, TX 75163-0326



Edna Lindsey Robinson                    Edna Lindsey Robinson Usufruct           Edna Louise Newsom Est
533 HunterS Run                          533 Hunters Run                          B Michael Cummings Indpt Exec
Bossier, LA 71111                        Bossier City, LA 71111                   714 Main St Ste 2012
                                                                                  Fort Worth, TX 76102




Edna M Carden                            Edna M Kendrick                          Edna Mae Assel Carden
3336 N Hullen St                         Route 2 Box 186                          3336 N Hullen Street
Metairie, LA 70002                       Monroe City, MO 63456                    Metairie, LA 70002
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Edna Mae Noel                           Edna Mae Walker Powell            Edna Merle Mcallister
c/o Collin Underwood                    1615 Captain Shreve Drive         8236 Beardsley Drive
123Rd District Court                    Shreveport, LA 71105              Charlotte, NC 28269
PO Box 147
Carthage, TX 75633



Edna Millet Zerinque                    Edna Myrick Archer                Edna Pauline Lagars Cox
1813 Ridgelake Dr                       c/o Moody Natl Bank Trust Dept    400 Mockingbird Ln
Metairie, LA 70001                      PO Box 1139                       Logansport, LA 71049-2962
                                        Galveston, TX 77553




Edna Robinson Raymond R Robinson Jr     Edna Ruth Barker                  Edna Sanderson Mcmanus
533 Hunters Run                         8000 Herndon Dr                   134 Nora Street
Bossier City, LA 71111-8171             Benbrook, TX 76116-8537           West Monroe, LA 71292




Edna Vanerstrom                         Edp 1992 Lmtd Partnership         Edra Langhorne
116 Hemlock Avenue                      Jeffery J Tempas                  4914 Pinehurst Drive
Kane, PA 16735                          5951 S Middlefield Rd St 105      Garland, TX 75043
                                        Littleton, CO 80123




Edrington Ranch Tr Frost Bank           Eds Hauert Mineral Trust          Eds Scanning
Oil Acct W1000400                       David L Hauert Stephen A Hauert   4316 Cedar Springs
PO Box 1600                             Emily I Firnstahl Trustees        Midland, TX 79703
San Antonio, TX 78296                   1420 East Entrada Trece
                                        Tucson, AZ 85718



Eds Scanning Eladio M Sanchez Dba       Eduardo D Barrera                 Educational Research Analysts
Eladio Sanchez                          3 Deerhurst                       PO Box 7518
4316 Cedar Springs                      San Antonio, TX 78218             Longview, TX 75607-7518
Midland, TX 79703




Educational Systems Federal Cu          Edward A Galloway                 Edward A Kaplan
PO Box 179                              10 Longshore                      PO Box 12386
Greenbelt, MD 20768-0179                Irvine, CA 92714                  Alexandria, LA 71315




Edward Allen Lamkin                     Edward And Joy Van Es Ltd         Edward Austin Blumberg Trust
293 Bear Cree Rd                        1607 Corpus Christi               1467 Janets Way
Ruston, LA 71270                        Laredo, TX 78043                  New Braunfels, TX 78130




Edward B Baker                          Edward B Barker                   Edward B Coalson
PO Box 632768                           PO Box 614                        10798 Crystal Way
Nacogdoches, TX 75963-2768              Magnolia, TX 77355-0614           Conifer, CO 80433




Edward B Fritcher                       Edward B Hands                    Edward B Ludwig Iii
Sandra K Fritcher                       948 Village Walk                  570 Woodvine Ave
5610 Regents Row                        Covington, LA 70433-4000          Metairie, LA 70005
Tyler, TX 75703
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Edward B Ludwig Jr                       Edward Bode                     Edward Bryan Hands
412 Hector Avenue                        Rt 2                            948 Village Walk
Metairie, LA 70005                       Pipestone, MN 56164             Covington, LA 70433-4000




Edward C Hogan                           Edward C Laster Jr Succ Ancil   Edward C Oberthier Jr
406 Bennett St                           Ttee U/W/O Eugenia F Laster     3315 Pebble Beach Boulevard
Mansfield, LA 71052                      PO Box 44408                    Montgomery, TX 77356
                                         Shreveport, LA 711344408




Edward C Robinson Jr                     Edward C Schwind                Edward C Skidmore Family Trust
c/o Mary Robinson Smith A I F            Sandra S Schwind Family Trust   Dtd 8/1/89
380 Sandefur Place                       Edward Sandra Schwind Ttees     Edward C Skidmore Trustee
Shreveport, LA 71105-3246                17336 Indian Lakes Drive        PO Box 1327
                                         College Station, TX 77845       Ardmore, OK 73402



Edward Cannon                            Edward Charles Gratz Ii         Edward Cohagen
25013 Whitman St Apt 19                  2506 Materhorn Dr               PO Box 602
Hayward, CA 94544-2471                   Dallas, TX 75228                Marysville, OH 430400602




Edward D Shaw                            Edward Dale Coyle               Edward David Coombs Jr
3800 Shamrock Drive                      379 Burrow Rd                   Charles Schwab Co Inc Cust
Charlotte, NC 282153220                  Cotton Valley, LA 71018         Ira Contributory
                                                                         1118 Billy Bryant Rd
                                                                         Collierville, TN 38017



Edward Dean Cole Sep Property            Edward Donnell Mcdonald         Edward E Davis
811 W Oak Ridge Dr                       807 W Rock Road                 14831 Oak Bend
Marble Falls, TX 78654                   Radford, VA 24141               Houston, TX 77079




Edward Ervin Tinsley                     Edward F Stevens                Edward Faulkner
2171 Sugar Creek Rd                      Tc Stevens                      PO Box 667
Arcadia, LA 71001-5407                   1307 Bay Street                 Mount Enterprise, TX 75681-0667
                                         Beaufort, SC 29902




Edward G Burford                         Edward G Randolph Jr            Edward G Ratcliff
5719 Club Hill Circle                    1808 White St                   1225 N Windomere Ave
Dallas, TX 75248-1101                    Alexandria, LA 71301            Dallas, TX 75208




Edward Gene Pittman                      Edward Glenn Settle And         Edward H Harbour
817A Willingham Road                     Jo Burkett Settle               Ngg23 Lake Charles
Whitehouse, TX 75791                     253 Memory Lane                 Longview, TX 75603-8603
                                         Stonewell, LA 71078




Edward H Jackson Jr                      Edward H Judson                 Edward H Kay
PO Box 3552                              PO Box 3340                     2244 Nob Hill
Shreveport, LA 71133-3552                Midland, TX 79702-3340          Carrollton, TX 75006
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Edward H Tenison Iii                      Edward Hall                              Edward Hays Mabry Iii
9705 Kingussle Lane                       2605 South 6Th Street                    Address Redacted
N Chesterfield, VA 232361618              Monroe, LA 71202




Edward Heard Wicker                       Edward Hopkins Leatherman                Edward Howard Black Jr
PO Box 880                                PO Box 53437                             1908 W Indiana Ave
Beeville, TX 78102                        Shreveport, LA 71135                     Midland, TX 79701




Edward I Hill                             Edward J Duvarney                        Edward J Duvarney Jr
Kristie Pederson Dianna Stallman Aif      c/o Edward J Duvarney Jr Aif             6329 Halsey Road
2204 K Road                               6329 Halsey Rd                           Mclean, VA 22101
Humboldt, IA 50548                        Mclean, VA 22101




Edward J Goeppinger Trust                 Edward J Mcguigan Jr Separate Property   Edward J Mcleroy Jr
5280 Stonewood Drive                      11980 S I 20 E                           116 Lone Star Dr
Riverside, CA 92506                       Waskom, TX 75692                         Geogetown, TX 78633




Edward J Perot Sr Kate A Perot            Edward James Herbst                      Edward James Rochelle
2401 Hillside                             1230 St Michael Dr                       159 Southwood Dr
Ruston, LA 71270                          Laredo, TX 78045                         Bossier City, LA 71111




Edward James Seymore Iii                  Edward John Coel Jr                      Edward John Gorenflo Jr
2772 Point Dr                             3901 Culebra                             15520 Cr 1104
Monroe, LA 71201                          Austin, TX 78734                         Flint, TX 75762




Edward Joseph                             Edward Juarez Life Estate                Edward K Acree
403 East Broadway                         9206 Ridge Wilde                         PO Box 22
Jefferson, TX 75657                       San Antonio, TX 78250                    Knox City, TX 795290022




Edward K Mcknight                         Edward Kennedy Auld                      Edward King Evans
28268 Clarke Bottom                       PO Box 776                               PO Box 29437
Hempstead, TX 77445                       Leakey, TX 78873                         Charlotte, NC 29228




Edward Krummel                            Edward L Bailey                          Edward L Hochenedel Iii
8504 90Th St                              33418 Windcrest Estates Blvd             121 Intrepid Dr
Jamaica, NY 11421                         Magnolia, TX 77354-4861                  Slidell, LA 70458




Edward L Rotenberg                        Edward L Stahley Jr                      Edward L Thomas
7622 Bocage Blvd                          PO Box 562772                            264 Katie Lane
Baton Rouge, LA 70809                     Rockledge, FL 32955                      Minden, LA 71055
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Edward L Yarbrough Jr                    Edward Lee Springer                   Edward Lewis
PO Box 11                                4148 Brasher Drive                    2768 Elgin Street
Belcher, LA 71004                        Marietta, GA 30066                    Oroville, CA 95965




Edward M Tierney                         Edward Macdonald Davis                Edward Mamon
19225 N Sombrero Cr                      1512 Silver Oak Trail                 635 Madden Road
Sun City, AZ 85373                       Cedar Park, TX 78613                  Ruston, LA 71270




Edward Mapes                             Edward Mariano And Sheila M Mariano   Edward Michael Staples Sp
750 S State St                           505 Toma Lodge Drive                  PO Box 772
Elgin, IL 60120                          Ruston, LA 71270                      Laverkin, UT 84745




Edward N Carol Ann Strader               Edward Neal Brin                      Edward Oil Company
3718 Dover Rd                            PO Box 150288                         PO Box 202
Cheyenne, WY 82001                       Nashville, TN 37215                   Youngsville, PA 16371




Edward ORear                             Edward P Gowanlock Iii                Edward P Markham
5015 San Marcus                          113 Oakley Dr 8C                      Estate Of Rosemary Garner
Mesquite, TX 75150                       Marshall, TX 75672                    Markham Deceased
                                                                               PO Box 22
                                                                               Gladewater, TX 75647



Edward P Poitevent                       Edward P Richardson                   Edward Patrick Case
225 Baronne St 28Th Floor                1807 Rodden                           PO Box 1953
New Orleans, LA 70112                    Longview, TX 75604                    Vancouver, WA 98668




Edward Pawlik Son Water Well Service     Edward Pierce Holmes Sep Prop         Edward R Hudson Trust 4
3118 Hwy 281                             PO Box 520364                         Mary T Ard Trustee
George West, TX 78022                    Independence, MO 64052                222 W 4Th St Ph 5
                                                                               Fort Worth, TX 76102




Edward R Huffman Jr                      Edward Rokohl Exec                    Edward Rothenay
PO Box 911                               PO Box 486                            Address Redacted
Santa Anna, TX 76878                     Three Rivers, TX 78071




Edward S Gilbert                         Edward Sherman                        Edward Springer
538 Robinhood                            Rt 1 Box 83 A                         4148 Brasher Drive
San Antonio, TX 78209                    Ruston, LA 71270                      Marietta, GA 30066




Edward T Fox Jr                          Edward T Reis                         Edward Thorne Montague
PO Box 3481                              107 Ty Dr                             9033 Mcdiarmid Lane
Fort Polk, LA 71459-0481                 Choudrant, LA 71227                   Huntersville, NC 28078
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Edward Toledano                        Edward Tyer                          Edward Vela
267 Connecticut Ave Ne                 9710 Godstone Ln                     Address Redacted
Atlanta, GA 30307                      Spring, TX 77379-6556




Edward Wheeless                        Edwardo Lichtenberger                Edwards Well Services LLC
Eb Wheeless Welding                    905 East San Marcos                  PO Box 8247
317 Cr 405                             Pearsall, TX 78061                   Midland, TX 79708
Ballinger, TX 76821




Edwin A Peden And Julie W Peden        Edwin Alan Reynolds                  Edwin Bath
2111 Rosewood                          8550 Bluefin Circle                  1302 Cochise Drive
El Dorado, AR 71730                    Indianapolis, IN 46236               Arlington, TX 760124316




Edwin Battise                          Edwin Buckner Aurora Buckner         Edwin Carlisle Holland Jr
194 Rising Star                        1702 Huntington Street               1991 Trust Agreement
Livingston, TX 77351                   Longview, TX 75601                   496 S Main Street
                                                                            Sebastopol, CA 95472




Edwin Carter Land                      Edwin Dean Wright                    Edwin E Buckner
924 Ayrshire Rd                        302 Parkvale                         1702 Huntington Street
Colonial Heights, VA 23834-2602        Grand Prairie, TX 75051              Longview, TX 75601




Edwin Ed Watson                        Edwin Everett Hochenedel             Edwin F Lyons
Address Redacted                       2101 E 11Th St                       1300 Burton Dr Apt 258
                                       Farmington, NM 87401-7503            Vacaville, CA 95687-3536




Edwin G Nix                            Edwin H Dyer Jr                      Edwin H Emory Sr And Norma Emory
13217 Fm 849                           1031 Town Place St                   209 Horne Street
Lindale, TX 757715052                  Houston, TX 77057                    West Monroe, LA 71291




Edwin H Enzor Jr                       Edwin H Enzor Sr                     Edwin H Knight Jr
1325 Canterbury Drive                  c/o Mary Enzor Davis                 47 Williamsburg Lane
Abilene, TX 796024260                  5920 Long Island Drive Nw            Houston, TX 77024
                                       Atlanta, GA 303284810




Edwin J Elder                          Edwin K Dewald Tr Fbo Dewald         Edwin Kent Risinger Jr
3746 Dauphine St                       Individual 401K Fbo Edwin K Dewald   122 Cr 200
Apt 118                                Td Ameritrade Clearing Custodian     Sargent, TX 77414
New Orleans, LA 70117                  6505 E 82nd St Ste 100
                                       Indianapolis, IN 46250-1543



Edwin L Emory                          Edwin L Haugan                       Edwin Leon Quigley
7242 Hwy 191                           30 W 25Th Ave                        110 Ricky Drive
Converse, LA 71419                     Spokane, WA 99203                    Muscle Shoals, AL 35661
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Edwin M Jones Oil Co                     Edwin N Kittrell Iii              Edwin R Buford
c/o Whitley Penn Llp Accts Pay           121 South Broadway 708            5007 Briar Tree Drive
1400 West 7Th Ste 400                    Tyler, TX 75702                   Dallas, TX 75248
Fort Worth, TX 76102




Edwin R Matthews                         Edwin Raymond Blake               Edwin Robert Broussard
13 Somersett Dr                          Janine Bailey Poa                 20005 La Hwy 82
Roland, AR 72135-9038                    5039 Millissi Way                 Abbeville, LA 70510
                                         Oceanside, CA 92056




Edwin Roy Kelly Rev Trust                Edwin Roy Kelly Revocable Trust   Edwin S Iii Webster
2709 Wolff Dr                            Joan And Edwin Kelly Co Trsts     PO Box 9457
Arlington, TX 76015                      2709 Wolff Drive                  Newport Beach, CA 92660
                                         Arlington, TX 76015




Edwin S Nichols                          Edwin Sather                      Edwin William Sour
PO Box 326                               32900 Riverside Dr 124            9132 Sorrento Dr
Meridian, TX 76665                       Lake Elsinore, CA 95230           Shreveport, LA 71115-3748




Edwina Young Creamer                     Edwinna Davidson Fennell          Edyth Adams Ramsey
602 W Lakeshore Dr                       402 Crystal                       4370 Valhalla Lane
Benton, LA 71006                         Longview, TX 75604                Orange, TX 77630




Edyth Adams Ramsey Life Est              Edythe Carter                     Edythe Claudine Koonce
4370 Valhalla Lane                       2601 Juniper                      PO Box 15
Orange, TX 77630                         Amarillo, TX 79109                Grand Saline, TX 75140




Edythe Pennal Harvey                     Ee Iii Sarah T Cornelius          Ee Partners Ltd
3526 Cutwater                            15448 Country Manor Rd            707 Indiana
Galveston, TX 77554                      Lindale, TX 75771                 Midland, TX 79701




Eecu                                     Efax Corporate                    Efax Corporate
1617 West 7th Street                     6922 Hollywood Blvd Ste 500       c/o J2 Global Inc
Forth Worth, TX 76102                    Los Angeles, CA 90028             PO Box 51873
                                                                           Los Angeles, CA 90051-6173




Efc Valve Controls                       Effective Compensation Inc        Effie Gladney Downs
230 Progress Blvd                        32045 Castle Court Suite 103      PO Box 728
Longview, TX 75604-4721                  Evergreen, CO 80439               Tatum, TX 75691




Effie Gladney Downs Ind                  Effie Jean Brown Owens            Effie L Beck
Exec Ttee Sill Of Malcom G               473 County Road 222               1473 Fm 959
Young Jr Deceased                        Carthage, TX 75633                Carthage, TX 75632
PO Box 728
Tatum, TX 75691
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Effie Louis Bishop Lewis                Effie Mae Wills                Effie Mannas Partnership
1521 Bailey Street                      Rt 2 Box 219                   William J Mannas Gen Manager
West Monroe, LA 71292                   Ruston, LA 71270               1717 Myall St
                                                                       Ardmore, OK 73401




Effie Reynolds Badger                   Effie Taylor Smith             Effie Willis Tatum
Rt 5 Box 120                            PO Box 783                     Rt 1 Box 381
Rayville, LA 71269                      Mansfield, LA 71052            Hope, AR 71801




Effie Wright Willis Decd Esch           Effie Young Downs              Egan Peterman Enders Huston LLP
2213 Morningside St                     PO Box 728                     1101 S Capitol of Texas Highway
San Diego, CA 92139                     Tatum, TX 75691                Building C Suite 200
                                                                       Austin, TX 78746




Egh Insurance Services Inc              Egl Resources Inc              Eh Minerals Lp
519 W 7Th Street                        PO Box 10886                   PO Box 10666
Justin, TX 76247                        Midland, TX 79702              Midland, TX 79702




Eichenberger Robert C                   Eiden Construction LLC         Eileen A Smyth
Address Redacted                        Highway 189                    400 Thomaston Road
                                        Pinemar Subdivision            Watertown, CT 06795
                                        Marbleton, WY 83113




Eileen G Hunt                           Eileen Gates Hunt Marital Tr   Eileen H Lancaster
PO Box 2628                             PO Box 2628                    13103 Plumwood Dr
Jackson, MS 39207                       Jackson, MS 39207              Cypress, TX 77429-3806




Eileen H Romano Minerals LLC            Eileen Isley Taggart           Eileen Meyer Masullo
c/o Farmers National Co Agent           801 Southwest 1st Street       2901 Muir Way
Oil Gas Dept                            Casey, IL 624201315            Sacramento, CA 95818
PO Box 3480
Omaha, NE 68103



Eileen Tower Wilson                     Eilleen R Lucey                Eithel Marinella Haygood
c/o Texas State Treasury                38 Broad Street                3527 Needville Ave
Unclaimed Property Division             Newburyport, MA 01950          Needville, TX 77461-8277
PO Box 12019 Capitol Station
Austin, TX 78711



Ejaz Mubeena Ahmed                      Ekwabet Ltd                    El Charolyn Properties LLC
3315 Birkshire Lane                     6906 Canterbury Place          PO Box 2028
Richardson, TX 75082                    Amarillo, TX 79109             Great Bend, KS 67530




El Dorado Savings Bank                  El Farmer And Company Inc      El Lathem Co
4040 El Dorado Rd                       PO Box 3512                    PO Box 1392
Placerville, CA 95667                   Odessa, TX 79760-3512          Hobbs, NM 88240
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El Paso EP Company Lp                  El Paso Production Co Corp       El Potrerito Minerals Ltd
1001 Louisiana Street                  PO Box 2511                      Maria Elena Willars Gp
PO Box 2511                            Houston, TX 77252-2511           231 Riverbend Crossing
Houston, TX 77252-2511                                                  Montgomery, TX 77316




El Refugio Ltd                         Elaine Adams Wilson              Elaine Allen
c/o Pepe Ramirez                       3501 S Raymond Ave               4 Oak Creek Ridge Drive
PO Box 1373                            Los Angeles, CA 90007            Longview, TX 75605
Zapata, TX 78076




Elaine Armour Clements                 Elaine B Lewis                   Elaine Bean
14483 Highway 159                      205 Ewing Street                 2701 Harbor Blvd Ste E3
Shongaloo, LA 71072                    Longview, TX 756023423           Costa Mesa, CA 92626-5153




Elaine Berg                            Elaine Brown Irrevocable Trust   Elaine Buckner Robertson
PO Box B                               American Trust Investment        209 Shirley Dr
Camden, AR 71701                       Services Trustee                 Minden, LA 71005
                                       200 N Austin
                                       Sequin, TX 78155



Elaine Bushnell Clark                  Elaine Carol Looney              Elaine Davis
PO Box 505                             PO Box 153203                    1606 Oakhollow
Oberlin, LA 70655                      Lufkin, TX 75915                 Waco, TX 76712




Elaine Eisemann                        Elaine Fehrenbach                Elaine Holcomb Cornell
1602 Lawrence St                       PO Box 321                       14115 Julington Lane
Houston, TX 77008-3606                 Joaquin, TX 75954                Cypress, TX 774296394




Elaine J Wojcik                        Elaine Kimbrough                 Elaine Laconia Shipp Zirger
41 Glen Grove Rd                       PO Box 1200                      6311 Girvin Drive
Deep River, CT 06417-1515              Lockhart, TX 78644               Oakland, CA 94611




Elaine Landes                          Elaine M Bogan Bill Bogan        Elaine Mccoy Bogan
Paul Landes                            PO Box 921                       PO Box 921
5 Sandstone Ln                         Logansport, LA 71049             Logansport, LA 71049
Stony Brook, NY 11790-3101




Elaine Mcingvale                       Elaine Mclemore Warren           Elaine Parker Mcpherson
1087 Golden Pond Cir                   3497 Chisam Rd                   3663 Highway 79 South
Coldwater, MS 38618-4242               Sanger, TX 76233                 Carthage, TX 75633




Elaine Price King                      Elaine Price Roach Estate        Elaine Shannon
PO Box 156                             Walter P Roach Indp Exec         6109 La Naranja
Sterling City, TX 76951                8924 South Normandale            Austin, TX 78749
                                       Fort Worth, TX 76116
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Elaine Spinks Hart                         Elaine Taylor Potter Talbert           Elaine W Fiske Family Ltd
602 S Trenton Street                       1920 Woodberry Avenue                  c/o David S CrockettCo
Ruston, LA 71270                           Shreveport, LA 71106                   12377 Merit Dr Ste 777
                                                                                  Dallas, TX 75251




Elaine White                               Elaine Wolf                            Elaine Woodard Williams
2 N Quail Crossing                         c/o Hudsons Bay Centre                 1106 Dickstore Road
Savannah, GA 31419                         1600 Stout Ste 1000                    Ruston, LA 71270
                                           Denver, CO 80202




Elaine Wright Calk                         Elaine Young                           Eland Energy Inc
1138 Hillslope Place                       10046 Longmont                         Knoll Trail Plaza Ste 100
Los Altos, CA 94024                        Houston, TX 77042                      16400 Dallas Parkway
                                                                                  Dallas, TX 75248




Elayne M Miller Ind And Usuf               Elbert A Evans                         Elbert A Evans Deceased
1905 Mimosa                                922 Susan St                           c/o Kelvin A Evans Indp Exec
Ruston, LA 71270                           Garland, TX 75040                      1741 Oates Dr 228
                                                                                  Mesquite, TX 751506894




Elbert Carl Dossett                        Elbert Davis                           Elbert G Warren Jr
3520 County Road 803                       2713 Frostwood                         320 Burnett Drive
Nacogdoches, TX 75961                      Shreveport, LA 71108                   Baytown, TX 77520




Elbert H Lewis                             Elbert Russell Walters Alice           Elbeth LLC
3510 Turtle Creek Blvd Apt 14F             Kimball Walters                        38 Heatherwood Cir
Dallas, TX 75219                           109 Horne St                           Telford, PA 18969
                                           West Monroe, LA 71292




Elco Inc                                   Elco Inc                               Eldell Bennett Hardwicke
4315 Yeager Way                            Yeager Way                             PO Box 3007
Bakersfield, CA 93313                      Bakersfield, CA 93313                  Mcallen, TX 78502-3007




Eldon Lee Brooks Life Estate               Eldon Maxwell Hosford Jr               Eldred B Walker Toston
4042 Dakota Trail                          PO Box 149                             1315 Bringhurst St
Granbury, TX 76048                         Fischer, TX 78623                      Houston, TX 77020




Eldred Benton Robert Sr                    Eldred E Hardison Shakira B Hardison   Eleanor Ann Hale Ballard
3196 Hwy 548                               2510 Hillside Rd                       199 Hwy 145
Eros, LA 71238                             Ruston, LA 71270                       Downsville, LA 71234




Eleanor Ann Lawrence                       Eleanor Bankhead Florence Tst          Eleanor Baugnies De St Marceaux
PO Box 1568                                Joseph Sheldon Florence Mary           c/o Eugene Morehead A/I/F
Flagstaff, AZ 86002                        Gene Ness Carroll E Florence Iii       3927 Prytania Street
                                           PO Box 496209                          New Orleans, LA 70115
                                           Garland, TX 750496209
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Eleanor Burgess                          Eleanor Cranfill Friedland Rev          Eleanor Grace Allen Jones
7731 Wilmerdean St                       Trust Dtd 8/09/89                       PO Box 4412
Houston, TX 77061-2926                   Eleanor Cranfill Bones Friedland Ttee   Monroe, LA 71211-4412
                                         13101 Hartfield Avenue 252
                                         San Diego, CA 921301511



Eleanor H Davies Trust                   Eleanor Harris Brown                    Eleanor J Greenan
Agreement Dated 1/27/97                  2212 Pargoud Blvd                       c/o Citizens Bank Trust Co
Eleanor H Davies J L Davies Co Ttees     Monroe, LA 71201                        PO Box 277
431 Sunnyside Avenue                                                             Ardmore, OK 73402
Meadville, PA 16335



Eleanor Jeane Hopper                     Eleanor K Brown                         Eleanor Kidd Bouma Succession
3102 Sentinel Dr                         Box 1345                                Bernard Harold Bouma Executor
Midland, TX 79701                        Zyphyr Cove, NV 89448                   3500 Tangle Brush Dr No 165
                                                                                 Spring, TX 77381




Eleanor M Blood                          Eleanor Mary Bering Bailey              Eleanor Mccrary Beller S/P
95 Skidaway Island Park Road             318 Shadywood                           7742 Broadview Dr
218                                      Houston, TX 77057                       Houston, TX 77061-1608
Savannah, GA 31411




Eleanor Melton Riordan                   Eleanor S Crowell Est                   Eleanor S Damrosch Trust
625 Lee Lambert Rd                       Hugh D Stewart A Crowell                c/o Hm Payson Co
Maryville, TN 37803-8136                 Co Execs                                PO Box 31
                                         162 Lippincott Rd                       Portland, ME 04112
                                         Wallkill, NY 12589



Eleanor Sampson Abney                    Eleanor T Chancellor                    Eleanora E Burgess
534 S 24Th St                            PO Box 4685                             7731 Wilmerdean Street
Richmond, CA 94804                       Tubac, AZ 85646                         Houston, TX 77061-2926




Eleanora Jane Mcnary Knopke              Eleanore Mccrary Beller S/P             Electra Bond
1200 Huntington Road                     7742 Broadview Dr                       12223 A Woodruff Avenue
Kansas City, MO 64113                    Houston, TX 77061                       Downey, CA 90241-5607




Electric Motor Repair Inc                Electric Motor Works Inc                Electrical Hub
723 N Main Ave                           803 Inyo St                             10821 47Th Ave West Ste A
Denver City, TX 79323                    Bakersfield, CA 93305-3349              Mukilteo, WA 98275




Electrical Reliability Services Inc      Electrical Reliability Services Inc     Electrico Inc
Curt Kistler                             24865 Network Pl                        PO Box 3097
7100 Broadway Suite 7E                   Chicago, IL 60673-1248                  Corsicana, TX 75151
Denver, CO 80221




Eleese Simon                             Element Material Technology             Element Materials Technology
1240 Fillmore St Apt 411                 15062 Bolsa Chica                       14805 Yorktown Plaza Drive
San Francisco, CA 94115                  Huntington Beach, CA 92649-1023         Houston, TX 77040
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Elena Elizabeth Zurita                   Elena Maria C Childs           Elena Salina Cruz Trust
4424 Summercrest Ct                      6730 Strawberry Lane           PO Box 664
Fort Worth, TX 76109                     Jacksonville, FL 32211         Laredo, TX 78042




Eleonor Aline Potter Morris              Elevations Credit Union        Elfriede Parrish
3905 Fry Avenue                          PO Box 9004                    498 Indian Hill Blvd
Tyler, TX 75701                          Bouldar, CO 80301              Livingston, TX 77351




Elgie R Fenton                           Eli J Davis                    Eli J Davis Life Estate
13170 Timber Creek Drive                 519 W College                  519 W College
Flint, TX 75762                          Carthage, TX 75633             Carthage, TX 75633




Eli Rebich                               Elia G Pruneda Estate          Elias George Carroll Iii
318 W Rusk                               3004 Falcon Ridge Cove         10266 Harts Island Rd
Tyler, TX 75701                          Laredo, TX 78045               Shreveport, LA 71115




Elias Harris                             Elick N Maledon Jr             Elin B Justice
Route 2 Box 118                          100 Post Oak Drive             15939 Se 6Th Street
Ruston, LA 71270                         Krugerville, TX 76227          Bellevue, WA 98008




Elisa Watkins Plauche                    Elisabeth A Cochran Hughes     Elisabeth B Butler Trustee
PO Box 1336                              300 N Washington               Elisabeth B Butler Trust
Haiku, HI 96708                          Livingston, TX 77351           221 Avenda Princesa
                                                                        San Clemente, CA 92672




Elisabeth Miller Hanley Estate           Elise Mckean Trust             Elise Richardson Wilkes
Diane M Millar Ind Exec                  Frost National Bank Trustee    595 Trimble Lake Court
13492 Research Blvd Ste 120              A/C F00747                     Atlanta, GA 30342
Austin, TX 78750                         PO Box 1600
                                         San Antonio, TX 78296



Elise Smith Daniel                       Elise Wheless Schmidt          Elisha K Coates
10910 Ferndale                           333 Texas St                   218 Ixworth Ave
Dallas, TX 75238                         Suite 890                      Bossier City, LA 71111
                                         Shreveport, LA 71101




Elishie Smith Hopkins                    Elissa Eve Mulhearn Price      Elite Coil Tubing Solutions LLC
c/o Texas State Treasury                 11421 Oakchase Ave             Travis Kemper
Unclaimed Property Division              Baton Rouge, LA 70810          PO Box 542
PO Box 12019                                                            Greenwood, LA 71033
Austin, TX 78711-2019



Elite Energy Services Inc                Elite Production Services      Elite Well Services LLC
PO Box 4954 Msc 400                      8610 Broadway                  PO Box 1426
Houston, TX 77210-4954                   Suite 420                      Artesia, NM 88211
                                         San Antonio, TX 78217
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Elite Wellsite Services                  Eliza Hallen                               Eliza Jane Bacon
PO Box 1600                              2012 Lake Mead Boulevard                   PO Box 1301
Bridgeport, TX 76426                     Las Vegas, NV 89106                        Marshall, TX 75671




Eliza Lee Wilkerson                      Eliza Livesay                              Eliza Perkins
4416 S Retana Ave                        6405 Rodrigo Ave                           2504 West St Apt D
Broken Arrow, OK 74011                   Houston, TX 77007                          North Las Vegas, NV 89032




Elizabeth A Bradley Trust 2              Elizabeth A Maxwell Or TX State Treasury   Elizabeth A Pettit
Bank One Tx1 1315 Trustee                Unclaimed Property Division                8172 Cr 208
Account 1001                             PO Box 12019                               Navasota, TX 77868
PO Box 99084                             Austin, TX 78711-2019
Fort Worth, TX 76199-0084



Elizabeth A Riser Anderson               Elizabeth A Roberts Guest                  Elizabeth A Taylor
135 E Ridge Terrace                      PO Box 4821                                235 Simpson Ave
Ruston, LA 71270                         295 La Serena Loop                         Cedar Creek, TX 78612
                                         Horseshoe Bay, TX 78657




Elizabeth A Yarborough Fults             Elizabeth Allison Vaughan                  Elizabeth Ann Bryan
16509 Loch Maree                         c/o Argent Trust Co Of La                  PO Box 146
Dallas, TX 75248                         P O Drawer 1410                            Clarksville, TX 754260146
                                         Ruston, LA 71273




Elizabeth Ann Cobb                       Elizabeth Ann Colbert Mason                Elizabeth Ann Cross
2529 Kinnersley Ln                       4013 Lakeway Blvd                          1113 Lynnwood
College Station, TX 77845-1207           Benton, LA 71006                           Carthage, TX 75633




Elizabeth Ann Curtis Trust               Elizabeth Ann Ferguson Payne               Elizabeth Ann Fowler Hood
U/W Elizabeth Curtis Hodges              3333 Glenhurst                             170 Meadowview Ln
Fredna Sue Curtis Trustee                Los Angeles, CA 90039                      Ruston, LA 72170
PO Box 2749
Longview, TX 75606



Elizabeth Ann Hamiter                    Elizabeth Ann Hensley Hodges               Elizabeth Ann Hill
4130 Wycliff Avenue 103                  7483 Tinto                                 3124 Neighbers Lane
Dallas, TX 75219                         Grand Prairie, TX 75054                    Del City, OK 73115




Elizabeth Ann Hodge                      Elizabeth Ann Kubena                       Elizabeth Ann Light
652 Little River                         8827 Catawissa Dr                          PO Box 191841
Ashdown, AR 71822                        Houston, TX 77095                          Atlanta, GA 31119-1841




Elizabeth Ann Meadors Huey               Elizabeth Ann Mitchell                     Elizabeth Ann Palma
PO Box 8158                              415 Park Drive                             340 W 1425 N Apt 92
Bossier City, LA 71113                   Middletown, NJ 07748                       Cedar City, UT 84721
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Elizabeth Ann Phillips                  Elizabeth Ann Salmon Cassibry     Elizabeth Ann Smith
1524 Belmont Dr                         2202 Landau Ln                    121 Bonham
Tyler, TX 75701                         Bossier City, LA 71111            Port Lavaca, TX 77979




Elizabeth Ann Snyder Hamilton           Elizabeth Ann Tenison             Elizabeth Ann Tuttle
3509 Thorn Tree Ln                      Hereford Trust 553176900          PO Box 2153
Southaven, MS 38672                     c/o Jpmorgan Chase Bank Na Ttee   Tatum, TX 75691
                                        PO Box 99084
                                        Fort Worth, TX 76199-0084



Elizabeth Ann Wasson Gleason            Elizabeth Anne Brimmer            Elizabeth Anne English
Separate Property                       179 Stanford Court                2109 Mesa Street
3625 Bellaire S                         Irvine, CA 92612                  Ruston, LA 71270
Fort Worth, TX 76109




Elizabeth Anne Golsan Laville           Elizabeth Anne Medrano            Elizabeth Armistead Downes
1965 Camellia Trace Dr                  15720 Artist Way 4913             Testamentry Trust
Baton Rouge, LA 70808                   Addison, TX 75001                 Robert Eldridge Armistead Trustee
                                                                          525 Oak Park Dr
                                                                          Round Rock, TX 78681



Elizabeth B Bridewell Trust             Elizabeth B Mccoy                 Elizabeth B Thompson
Kae L Brockermeyer Trustee              777 Dawn Ter                      6023 Cedar Ridge Rd
PO Box 789                              Newport News, VA 23601-4621       Columbia, SC 29206-4301
Wilson, WY 83014




Elizabeth Ball Eason                    Elizabeth Barnard Traviss         Elizabeth Bateman Stone Estate
214 Glenwood Dr                         PO Box 1241                       c/o Macintyre Mcculloch Llp
Houston, TX 77007                       Winter Haven, FL 33882            2900 Weslayan
                                                                          Suite 150
                                                                          Houston, TX 77027



Elizabeth Bay Bridewell Trust           Elizabeth Beauvais                Elizabeth Bell Amos
Kae L Brockermeyer Trustee              Argent Trust Agent                1339 Echo Mill Court
C/O Jpmorgan Chase Bank Na              333 Texas Street                  Powder Springs, GA 30127
PO Box 99084                            Suite 699
Fort Worth, TX 76199                    Shreveport, LA 71101



Elizabeth Berry                         Elizabeth Black Montgomery        Elizabeth Blalock
PO Box 122                              2308 Mimosa                       902 Delia Drive
Gladewater, TX 756470122                Houston, TX 77019                 Longview, TX 75601




Elizabeth Brown Schrott                 Elizabeth C Blaylock Life Est     Elizabeth C Clatterbuck
PO Box 44                               c/o Charles C Blaylock            306 Legendre Dr
Hallsville, TX 75650                    12221 Merit Dr Ste 800            Slidell, LA 70460
                                        Dallas, TX 752513105




Elizabeth C Flournoy                    Elizabeth C Phillips Henley       Elizabeth Christensen And
c/o Heard Mcelroy Vestal                1025 Park Ave                     Marvin M Christensen
PO Box 1607                             Monroe, LA 71201-3364             12382 Mollylea Dr
Shreveport, LA 71165-1607                                                 Baton Rouge, LA 70815
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Elizabeth Claire Wylie Onuf              Elizabeth Cooper Beauvais Trst   Elizabeth Crawford H Howard
154 B Ojo De La Vaca Rd                  c/o Argent Trust Co Ttee         3845 E Greenway 244
Santa Fe, NM 87508                       PO Box 1410                      Phoenix, AZ 85032
                                         Ruston, LA 71273-1410




Elizabeth D Edwards                      Elizabeth D Gragg                Elizabeth D Sachse
4511 Ridgemont Drive                     112 Brierwood Dr                 110 First Street
Wichita Falls, TX 76309                  Palestine, TX 75801-5808         Electra, TX 763601646




Elizabeth D Tilley                       Elizabeth Dawson                 Elizabeth Diana Dye Cash
1401 Eva St 303                          204 Snowden St                   5803 Ken Way
Austin, TX 78704                         Ruston, LA 71270-4132            Shreveport, LA 71107




Elizabeth Diane Henderson                Elizabeth Dunn Charles Dunn      Elizabeth Dunn Talley Rev Tr
2005 Broken Shoe Trl                     Oscar Besch Jr Trust             Citizens Natl Bank Ttee
Temple, TX 76502-4510                    Citizens National Bank           PO Box 820
                                         PO Box 820                       Henderson, TX 75653
                                         Henderson, TX 75653



Elizabeth E Brown Bow                    Elizabeth Emmett Mattox          Elizabeth F Adland
PO Box 612                               7776 Nikau Dr                    7021 Moon Glow Ct Ne
Greenville, TX 75403                     Longmont, CO 80503               Albuquerque, NM 87111




Elizabeth Fincher Ruffin                 Elizabeth Foree Lee Trust        Elizabeth G Roberts Estate
440 Debroeck Road                        Elizabeth Foree Lee Trustee      333 Texas Street Suite 2100
Shreveport, LA 71106                     PO Box 838                       Shreveport, LA 71101-5302
                                         Terrell, TX 75160




Elizabeth G Thomas Ind Usuf              Elizabeth Gipson Thomas          Elizabeth Griego
165 Jefferson Ave                        165 Jefferson Ave Apt 128        15 Muirfield Crescent Rd2
Apt 128                                  Ruston, LA 71270                 Kati Kati 3178
Ruston, LA 71270                                                          New Zealand




Elizabeth Griffin                        Elizabeth Gustine Welch          Elizabeth H Anglin
1312 Baylor Drive                        6658 Youree Dr                   PO Box 250
Longview, TX 75601                       Ste 180 Pmb 394                  Black Mountain, NC 287110250
                                         Shreveport, LA 71105




Elizabeth H Turner                       Elizabeth Hagler Jones           Elizabeth Hall Hunter
4516 A Emerson                           380 Garden Lane                  Individually And Life Estate
University Park, TX 75205                Atlantic Beach, FL 32233         5508 Ann Arbor
                                                                          Dallas, TX 75216




Elizabeth Hardy Courtney                 Elizabeth Hargrave Miller        Elizabeth Harper Sp
5014 Westdale                            14077 Hwy 151                    842 Marcolin Street
Baton Rouge, LA 70808                    Arcadia, LA 71001                Houston, TX 77088
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Elizabeth Harris Stone                  Elizabeth Holloway               Elizabeth Howell
Estate Of Elizabeth Bateman Stone       c/o Texas State Treasury         1222 Ensenada Dr
2900 Weslayan Suite 150                 Unclaimed Property Division      Canyon Lake, TX 78133-4450
Houston, TX 77027                       PO Box 12019
                                        Austin, TX 78711-2019



Elizabeth Hull Roberts Gst Trust        Elizabeth Hunt                   Elizabeth Hunt Curnes
1010 Chateau Ct                         12400 Castlebridge Dr Rm 277     3800 Marquette Street
Longview, TX 75604-6232                 Houston, TX 77065                Dallas, TX 75225




Elizabeth Hunt Stewart                  Elizabeth Hunt Wallace           Elizabeth Hunt Wallace LLC
Moving To Hun401                        110 Westhampton Place            c/o Douglas Brown
1111 Queens Road                        Nashville, TN 37205              1005 Eigth Avenue South
Pasadena, TX 77502                                                       Nashville, TN 37203




Elizabeth I Oneill                      Elizabeth Ila Jones              Elizabeth J G Roberts Estate
4270 Prado Drive                        10676 Shermoor Drive             Robert G Pugh Executor
Boulder, CO 803039628                   Baton Rouge, LA 70815            333 Texas St Ste 2100
                                                                         Shreveport, LA 71101-5302




Elizabeth J Gilliland                   Elizabeth J Lavena               Elizabeth J Lippmann Essig
560 Colonial Road Suite 200             David T Green Jtwros             PO Box 1786
Memphis, TN 38117                       189 Hillside Ter                 Fort Myer, VA 22211
                                        Endwell, NY 13760




Elizabeth J Reidy                       Elizabeth J Scheide              Elizabeth J Tucker Christensen
450 Peralta Avenue                      6522 Bartlett St                 12382 Mollylea Dr
Long Beach, CA 90803-2218               Pittsburg, PA 15217              Baton Rouge, LA 70815




Elizabeth J Weingart                    Elizabeth J Weingart Rev Trst    Elizabeth Jaehnig
PO Box 11756                            c/o Elizabeth Weingart Trustee   10908 Paseo Montanoso
Charlotte, NC 28220-1756                715 N Church St Ste 608          San Diego, CA 92127
                                        Charlotte, NC 28202-2360




Elizabeth Jane Bowman                   Elizabeth Jane Kay Family Tr     Elizabeth Jane Lester Liv Tr
385 Swan Hill Dr                        Elizabeth Jane Kay Trustee       c/o Louis Dean Lester Ttee
Bigfork, MT 59911                       PO Box 9602                      22110 Winter Sky Lane
                                        Colorado Spring, CO 809320602    Richmond, TX 77469-6290




Elizabeth Jeane Hancock                 Elizabeth Johnson Mcdermott      Elizabeth Joy Jackson Mcdearmont
PO Box 265                              1106 Windsong Trail              8933 E Picturesque
Fort Davis, TX 79734-0265               Richardson, TX 75081             Greenwood, LA 71033




Elizabeth Kay Mccall Person             Elizabeth Kay Rankin Williams    Elizabeth Keefer Boatright
1532 Cambridge Drive                    506 Palo Duro Drive              c/o Collin Underwood
Shreveport, LA 71105                    Midland, TX 79707                123Rd District Court
                                                                         PO Box 147
                                                                         Carthage, TX 75633
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Elizabeth Kilpatrick Seaver              Elizabeth L Allis                Elizabeth L Hunter
5811 Hurst St                            PO Box 52910                     2750 San Luis Ct
New Orleans, LA 70115                    Lafayette, LA 70505              Sacramento, CA 95818




Elizabeth Lacey Rogers Esch              Elizabeth Lagrone Malone         Elizabeth Land Lewis
3715 Craigmont Ave                       1010 Texas Drive                 1235 Aldebaran Drive
Dallas, TX 75205                         Carthage, TX 75633               Mclean, VA 22101




Elizabeth Lawrence Berry                 Elizabeth Lee Winfree Keeling    Elizabeth Leedom
PO Box 1358                              PO Box 2232                      2920 Indian Hill Rd
Lindale, TX 75771-1358                   Henderson, TX 75653              Cedar Rapids, IA 52403




Elizabeth Lenora Williams                Elizabeth Lewis Separate Prop    Elizabeth Lewis Lewis
13044 Devils Den Rd                      10812 Hwy 151                    Albert Lewis Agent
Winslow, AR 72959                        Dubach, LA 71235                 10812 Hwy 151
                                                                          Dubach, LA 71235




Elizabeth Like                           Elizabeth Lowenberg Trust        Elizabeth Lynne Bennett Gross
Address Redacted                         c/o Patricia Lowenberg Trustee   111 Bonvillian Rd
                                         30 E 65Th St Apt 7C              Broussard, LA 70518
                                         New York, NY 10065




Elizabeth M Garner Dealing In            Elizabeth M Kurz                 Elizabeth M Lewis
Her Sole And Separate Prop               767 E Moss Creek Dr              2002 Irrevocable Trust
304 Carothers                            Bloomington, IN 47401            Uta Dated 10 4 2002
Coperas Cove, TX 76522                                                    1020 Baker Street
                                                                          San Francisco, CA 94115



Elizabeth M Mcgill                       Elizabeth M Merritt              Elizabeth M Nash
1617 Apache Trail                        12037 Cr 2191 N                  2648 Willowlawn Way
Edmond, TX 73003                         Tatum, TX 75691                  Virginia Beach, VA 23456-8318




Elizabeth M Spear                        Elizabeth M Tolerton             Elizabeth Mae Adkins Ponce
16201 Deer Lake Road                     2010 Warren Ave                  Separate Property
Rockville, MD 20855                      Cheyenne, WY 82001               16985 N River Road
                                                                          Bueche, LA 70729




Elizabeth Marie M Hamilton               Elizabeth Mauritzen Stone        Elizabeth Maye L Walton
200 Joe Hinton Rd                        296 Willow Creek Ln              4352 Farm Road 3122
Ringgold, LA 71068                       Springtown, TX 76082             Mount Vernon, TX 75457-8239




Elizabeth Mccoy Crawford                 Elizabeth Mcgonigal              Elizabeth Mcmurray
305 W Lafayette St                       2304 Pena Cove                   916 South Evenside Ave
Jefferson, TX 75657                      Round Rock, TX 766811846         Henderson, TX 756544258
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Elizabeth Michelle H Duchesne           Elizabeth Michelle Rabalais Bladel   Elizabeth Miller Hanley
1632 Mccullin Road                      2703 Sterlington Rd 94               1014 Porpoise Street
Dubach, LA 71235                        Monroe, LA 71203                     Austin, TX 787344421




Elizabeth Morgan Jones                  Elizabeth Morgan Rice                Elizabeth Moss Morgan
823 West Avenue D                       1209 S Martin                        2306 Cooktown Road
San Angelo, TX 76903                    Kilgore, TX 75662                    Ruston, LA 71270




Elizabeth Murray Key Anderton           Elizabeth Nadine Hicks               Elizabeth Norcross Julian
102 Pebble Court                        c/o Texas State Treasury             828 E High Street
Fairhope, AL 36532-6326                 Unclaimed Property Division          Wills Point, TX 751692224
                                        PO Box 12019
                                        Austin, TX 78711-2019



Elizabeth O Lawrence Trust              Elizabeth Orlena Gallagher           Elizabeth P Callaway
Ncnb Texas Trust O G                    903 Elizabeth Road                   16051 Addison Road Suite 308
PO Box 840738                           Shelby, NC 28150                     Addison, TX 75001-3295
Dallas, TX 75284




Elizabeth P Wettlaufer                  Elizabeth Peters Mcguire             Elizabeth Pilgreen Brown
533 East Washington Ave                 10012 Commander Dr                   661 California Plant Road
Apt 8                                   Shreveport, LA 71107                 Dubach, LA 71235
Santa Ana, CA 92701




Elizabeth Pitzl Jennings 2013           Elizabeth Provost Komblas            Elizabeth R Jones
Tr                                      c/o G F Provost Jr                   1000 Quayside Terrace Ste 1407
1700 Lincoln St Ste 2550                224 Adeline Dr                       Miami, FL 33138
Denver, CO 80203                        Pittsburgh, PA 15228-2316




Elizabeth Rainwater Roane               Elizabeth Randle Winford             Elizabeth Renee Sims
702 Monterey Dr                         15252 Saddlewood Drive               PO Box 283
Ruston, LA 71270                        Conroe, TX 773843453                 Diana, TX 75640




Elizabeth Ritchie Or Amarillo Nb        Elizabeth Robertson Litton Usufru    Elizabeth Rogers Daughdril
c/o Texas State Treasury                6810 Shreveport Highway              6203 Alden Bridge Dr Apt 1309
Unclaimed Property Division             Pineville, LA 71360                  Spring, TX 77382-5109
PO Box 12019
Austin, TX 78711-2019



Elizabeth Roy Durham                    Elizabeth Rushing Murray             Elizabeth Russ Bailey
135 Fountainbleau Drive                 1345 Oakcrest Drive Sw               8860 Marston Way
Mandeville, LA 70471                    Atlanta, GA 30311                    Montgomery, AL 36117




Elizabeth Russ Eversberg                Elizabeth Ruth Holland Jordan        Elizabeth S Alford
PO Box 311010                           1200 Bellaire                        PO Box 67
New Braunfels, TX 78131                 Tyler, TX 75702-3913                 Henderson, TX 75653
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Elizabeth S Davenport                   Elizabeth S Hall                 Elizabeth S Jeppson Individual
C/O James Thomas Sumrall Jr             511 Woodcombe Dr                 4311 Cathedral Avenue Nw
PO Box 1439                             Houston, TX 77062                Washington, DC 20016
Ruston, LA 71270




Elizabeth S Jeppson Trust               Elizabeth S King                 Elizabeth S Springs
Jp Morgan Chase Bank Na                 412 County Road 475              6222 River Place Blvd
Oil Gas Management                      Clanton, AL 35046                Austin, TX 78730
PO Box 99084
Fort Worth, TX 76199-0084



Elizabeth S Tuttle                      Elizabeth Schumpert Hays         Elizabeth Sd Jones
6612 Owen Hill Road                     350 Blondin Rd                   17 Tiffany Lane
College Grove, TN 37046                 Arcadia, LA 71001                Sugar Land, TX 77478




Elizabeth Seale Hutcheson               Elizabeth Shrum                  Elizabeth Simpson Lynne
Heirs Partnership A Texas               Box 7                            Simpson Caroline Simpson Tst
General Partnership                     Gilmer, TX 75644                 June Bivins Baumoel Trustee
PO Box 3147                                                              110 Roy Creek Trail
Bellaire, TX 77402                                                       Dripping Spring, TX 45620



Elizabeth Small Cheney                  Elizabeth Spacek Grisham         Elizabeth Sportsman
PO Box 265                              9866 Frank Rd                    1003 Oak Knoll Place
Lake City, CO 81235                     Germantown, TN 38139             Bryan, TX 77802




Elizabeth Starke Estate                 Elizabeth Stroube Johnson Trst   Elizabeth Swanner
800 Market Street 400                   Je Stroube Tr 217040082900       361 Back Forty Rd
Chattanooga, TN 37402                   PO Box 840738                    Arcadia, LA 71001
                                        Dallas, TX 75284-0738




Elizabeth T Mohle Living Trust          Elizabeth T Varnedoe             Elizabeth V Wallace
Dated 9/18/1996                         5000 Ketova Way                  PO Box 402
James C Mohle Trustee                   Hunstville, AL 35803             Desoto, TX 75123-0402
1510 E 10Th Ave 9W
Denver, CO 80218



Elizabeth W Brassell Estate             Elizabeth W Graves Trust         Elizabeth W Graves Trust
c/o Office Of Texas State Comptroller   Bank One Trustee                 Jpmorgan Chase Bank Na Trustee
Unclaimed Property Division             PO Box 99084                     2200 Ross Avenue Fl 05
PO Box 12608 Capitol Station            Fort Worth, TX 76199-0084        Mail Code Tx1 2931
Austin, TX 78711                                                         Dallas, TX 75201



Elizabeth W Neel                        Elizabeth W Nix                  Elizabeth W Tackaberry
6668 Lacebark Cir                       PO Box 593                       600 West Water Street
Tyler, TX 75703-0545                    Mooringsport, LA 71060           Kerrville, TX 78028




Elizabeth Walbridge Bailey Dec          Elizabeth Westmoreland Thomas    Elizabeth Wiggins Bradford
100 Park Ave                            2409 Osage Rd                    4140 Emerson Ave Apt D
New York, NY 10017                      Gatesville, TX 76528             Dallas, TX 75205-1180
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Elizabeth Wilcox Keller                 Elizabeth Winston Jones        Elizabeth Wood Welder Trust
3825 Cornish Avenue                     6626 Supply Row                Jpmorgan Chase Bank N A Ttee
Fort Worth, TX 76133                    Houston, TX 77011              PO Box 99084
                                                                       Fort Worth, TX 76199-0084




Elizabeth Wood Welder Trust             Elizabeth Wright               Elizabeth Wright Wright
Jpmorgan Chase Bank N A Ttee            PO Box 131117                  3810 S Versailles Ave
PO Box 2050                             Tyler, TX 75713                Dallas, TX 75209
Fort Worth, TX 76113




Elkhorn Construction Inc                Elkins Trustee M A             Ella Alford Childrens Partnership
PO Box 732477                           Crp Trust                      c/o Alford Investments
Dallas, TX 75373-2477                   PO Box 1924                    PO Box 67
                                        Ada, OK 74820                  Henderson, TX 75653




Ella C Payne                            Ella Duncan Lakey              Ella Frances Goodson Word
1702 Skyline Dr                         2273 Olive Grove Road          Frank Brown Word A/I/F
Ruston, LA 71270                        Choudrant, LA 71227            17824 Serene Hills Pass
                                                                       Austin, TX 787381232




Ella Grace Washington                   Ella Hampton                   Ella Lawrence Estate
2141 Overton Road                       13753 Fuchsia Ln               Mary Mckee Ind Exec
Dallas, TX 75216                        Victorville, CA 92392-0446     4176 Neely Meadows Ct
                                                                       Norcross, GA 30092




Ella M Wilson                           Ella Mae Cherryhomes           Ella Mae Fondren
1522 Vancouver Dr                       7304 Monticello Ct             2711 Elizabeth St
Glenn Heights, TX 75154                 Granbury, TX 76049             Port Neches, TX 77651




Ella Rice Winston                       Ella Wyatt                     Ellanor Allday Beard
Mineral Interest Partnership            c/o Texas State Treasury       3250 Reba Dr
20353 Pahgre Rd                         Unclaimed Property Division    Houston, TX 77019
Montrose, CO 81403                      PO Box 12019
                                        Austin, TX 78711-2019



Ellastene Junior                        Ellen C Monahan                Ellen Chadwick Patterson Carroll
7932 1/2 Prospect Ave                   523 Cottage Arbor Ln Ste 303   Margaret Duke Poa
Kansas City, MO 64132-2309              Traverse City, MI 49684        200 Nw Loop
                                                                       Carthage, TX 75633




Ellen Cogswell                          Ellen E Sanders                Ellen F Stempfel Under Tr Agmt
PO Box 143                              1503 S 8Th Street              01/0575900 Fbo William F Howard
Joaquin, TX 75954                       Atchison, KS 66002             Suntrust Bank Ttee Cs Alx 5602
                                                                       515 King St
                                                                       Alexandria, VA 22314



Ellen Frances Van Os Becker             Ellen Hulsey Schum             Ellen Hunt Flowers
c/o Zadeck Energy Group I               4105 Amherst St                c/o Joe Abbate
3847 Broussard St                       Dallas, TX 75225               Toombs Hall Foster
Baton Rouge, LA 70808                                                  5949 Sherry Lane Suite 950
                                                                       Dallas, TX 75225
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Ellen J Chambers                          Ellen Jackson Dunaway Moss     Ellen Kalmbach Tizian
11801 Blue Haven Ct                       147 Neal Street                330 Orleans Dr
Oklahoma City, OK 73162                   Ruston, LA 71270               Shreveport, LA 71106




Ellen Lacroix                             Ellen Landers Gamble Test Tr   Ellen Loar
1700 Bruin                                Argent Trust Co Of La          1100 Vail Ct
Ruston, LA 71270                          P O Drawer 1410                Rockwall, TX 75087
                                          Ruston, LA 71273




Ellen Rae Penner                          Ellen Reifslager               Ellen Roeser Green Trust
5555 Del Monte Dr Unit 407                First Natl Bank Of El Campo    c/o JP Morgan Chase Bank Na Ttee
Houston, TX 770564116                     PO Box 470                     PO Box 99084
                                          El Campo, TX 77437             Fort Worth, TX 76199-0084




Ellen Roeser Testamentary Trust 0027600   Ellen S Richardson             Ellen Temple Morris
c/o Jp Morgan Chase Bank Na Ttee          480 Cr 3224                    3885 Farmridge Rd
PO Box 99084                              De Berry, TX 75639             Keithville, LA 71047-9501
Fort Worth, TX 76199




Ellen Terry                               Ellen W Willis Tr              Ellen Wheelock Willis
5850 E Lovers Lane 421                    Ellen Wheelock Willis Ttee     4101 Shimmering Cv
Dallas, TX 75206                          4101 Shimmering Cove           Austin, TX 78731
                                          Austin, TX 78731




Ellen Z Johnson                           Ellender Holcomb               Ellery L Hoskin Sep Property
111 Paddington Way                        1007 Kay Drive                 2805 Carmona Way
San Antonio, TX 78209                     Gladewater, TX 75647           Antioch, CA 94509




Ellie Bridges                             Elliot Snider                  ElliotCharlotte Hebert Rev Tr
110 Springs Rd                            PO Box 21294                   2400 N Dustin 204
Vallejo, CA 94590                         Waco, TX 76702                 Farmington, NM 87401




Elliott Lucas Colby                       Elliott E Letlow               Elliott Family Trust
Address Redacted                          1694 Myrtle St                 c/o Cathy Pate
                                          Arcadia, LA 71001-3046         15 Buccaneer Ct
                                                                         Ft Worth, TX 76179




Elliott L Oliva                           Elliott T Bowers               Elliott W Atkinson Jr
134 Ludlow Rd                             7 Robinson Spur                c/o Regions Bank Nrre Ops As Agent Aif
Manchester, CT 06040                      Huntsville, TX 77320           PO Box 11566
                                                                         Birmingham, AL 35202




Elliott W Atkinson Sr Estate              Elliott Wms Atkinson Sr Test   Ellis B Herrington
c/o Regions Bank Nrre Ops                 Amsouth Bank                   123 Racetrack Rd
Trustee U/W/O                             PO Box 57                      Silver City, NM 88061
PO Box 11566                              Shreveport, LA 71161
Birmingham, AL 35202
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Ellis Carroll Bailey                       Ellis G Vaughn                     Ellis Green Norris
1104 Sherwood Dr                           2406 E 89Th St                     4064 Hwy 544
Ruston, LA 71270                           Chicago, IL 60617                  Simsboro, LA 71275




Ellis Harold Pines                         Ellis Manning Trust Dtd 5/24/01    Ellis Rudy Ltd
1615 Manchester Lane Nw                    300 Deer Valley Road Unit 1E       22499 Imperial Valley Dr
Washington, DC 20011                       Smith Ranch Homes                  Houston, TX 77073-1173
                                           San Rafael, CA 94903




Ellison Fluid Calipers LLC                 Ellison Nancy                      Elloine M Sinclair
PO Box 15039                               1005 Brentwood                     c/o Frost Bank Agent Wd205
Odessa, TX 79768-5039                      Mexia, TX 76667                    PO Box 1600 OG Dept
                                                                              San Antonio, TX 78296




Elloine M Sinclair Trustee                 Elloise Mae Aldy Parker            Ellora Energy LLC
First Tst U/W/O Susie L Wadley             PO Box 434                         PO Box 19587
c/o Frost Bank Agent Wd204                 Hodge, LA 71247-0434               Boulder, CO 80301
PO Box 1600 OG Dept
San Antonio, TX 78296



Ellora LLC                                 Ellsworth George Speed Or          Ellzey Revocable Trust
c/o Ellora Energy Inc                      Oklahoma State Treasurers Office   c/o Robert F Ellzey Md
5665 Flatiron Parkway                      Unclaimed Property Division        4100 Jackson Ave Apt 325
Boulder, CO 80301                          2401 NW 23rd St Ste 42             Austin, TX 78731
                                           Oklahoma City, OK 73107



Elm Petroleum LLC                          Elmagene Walker Dorsett            Elmarie Mccellan
10 Royal Terrace Court                     220 Travis St Ste 501              700 West Grand
Dallas, TX 75225-1828                      Shreveport, LA 71101-3255          Marshall, TX 75670




Elmer Bridges Jr                           Elmer C Honath Jr                  Elmer Grigsby Decd
3037 Arizona Street                        2603 Curtis Drive                  Iva G Smart Elmer Grigsby
Oakland, CA 94602                          Amarillo, TX 791093407             Nettie G King As Agents
                                                                              11341 Hwy 80
                                                                              Simsboro, LA 71275



Elmer L Graves                             Elmer L Herbaly Rev Tr             Elmer Leslie Hollis Jr
8035 Knotty Oak Dr                         Elmer Loran Herbaly Trstees        1555 Miller Rd
Greenwood, LA 71033-3373                   1420 W Canal Ct Ste 150            Minden, LA 71055
                                           Littleton, CO 80120




Elmer Mathews                              Elmer Montgomery Pollard           Elmer Price Lamkin
102 Bradshaw St                            3323 W 109Th St                    105 Fort Jackson St
Center, TX 75935-3102                      Inglewood, CO 90303                Belle Chasse, LA 70037




Elmer R Mathews Dorothy Mathews            Elmer R Tiner                      Elmer Rudd
102 Bradshaw St                            6755 La Hwy 1                      3582 Green Oaks Rd
Center, TX 75935-3102                      Shreveport, LA 71107               Lake Charles, LA 70611
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Elmer Sims                             Elmira J Spand                          Elmo A Speckels Jr
PO Box 698                             1219 Mandel                             11914 Hudspeth Trail
Olla, LA 71465                         Shreveport, LA 71106                    San Antonio, TX 78253




Elmo Gray And Pollie Mae Gray          Elmo Ray Younger                        Elmore Elmore Swabbing LLC
13002 Highway 4                        902 Price St                            PO Box 804
Castor, LA 71016                       Morris, IL 60450                        Rock Springs, WY 82902-0804




Elmore Elmore Wireline Service Inc     Elna Kerley Cathey Estate               Elner Sue Moore
PO Box 804                             c/o Larkin C Cathey Jr                  5302 Mayberry Street
Rock Springs, WY 82902                 15303 Lexington Dr                      Enid, OK 73703
                                       Bossier City, LA 71111




Elnora Black                           Elnora M Davis For Life                 Elnora Wilson
PO Box 8                               9654 Ashmede Drive                      1716 N Cairo
Joaquin, TX 75954-0008                 Ellicot City, MD 21043                  Oklahoma City, OK 73111




Elois M Scott                          Elois Marie Gales Criss                 Eloise Cappell Hollis
430 M Street Sw Apt N 404              6845 Griggs Street                      60431 Cotton Gin Port Road
Washington, DC 20024                   Fort Worth, TX 76140-1407               Amory, MS 38821




Eloise Damrosch                        Eloise Deloney Mcmullen                 Eloise Frasier Mathewes Life Estate
3839 Nw Gordon Street                  200 Plano Street                        3238 Hwy 818
Portland, OR 97210                     Shreveport, LA 71107                    Ruston, LA 71270




Eloise Lakey Davis                     Eloise M Melton                         Eloise Mcclendon Murchison
1901 E Seminary Dr 326                 PO Box 130580                           39 Williams Cove Rd
Ft Worth, TX 76119                     Birmingham, AL 352130580                Black Mountain, NC 28711-9796




Eloise Mcgee Barton                    Eloise Thompson Christian               Elouise Mathewes Shaw
8325 Lullwater                         PO Box 210271                           808 Mays St
Dallas, TX 75218                       Nashville, TN 37221-0271                Ruston, LA 71270




Elouise Price                          Elowise Rabon                           Elray Askew
1614 Perryton Dr                       306 Louise St                           1802 18Th Ave N
Dallas, TX 75224                       Bastrop, LA 71220                       Texas City, TX 77590-5355




Els Surverying Mapping                 Elsa Eileen Meadows Rev Trust           Elsa Faye Bell Christian
2004 W Grande Blvd                     c/o Argent Trust Company Of Louisiana   c/o Texas State Treasury
Tyler, TX 75703                        P O Drawer 1410                         Unclaimed Property Division
                                       Ruston, LA 71273-1410                   PO Box 12019
                                                                               Austin, TX 78711-2019
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Elsa Inez Porter                         Elsa Jane Lampkin               Elsa Margaretha G Barret
18385 County Road 2171                   2313 Ashland Avenue             2003 Carriage Hills Blvd
Whitehouse, TX 75791                     Bossier City, LA 71111          Conroe, TX 77384




Elsa P Cass                              Elsa R Oviedo                   Elsie B Carruth
1720 Galveston                           7950 Turf Paradise              5922 River Rd
Laredo, TX 78043                         Fair Oaks Ranch, TX 78015       Shreveport, LA 71105




Elsie C Tyner                            Elsie Catherine Chisholm        Elsie Cosetta Malcolm
110 Village Green                        103 Sherwood Cv                 c/o Betsy Redmond
Longview, TX 75605                       Batesville, MS 38606            4201 Cedar Creek Lane
                                                                         Prince George, VA 23875




Elsie Davis Estate                       Elsie Edwin Waler               Elsie H Ensley
2119 Briarcrest Street                   PO Box 636                      608 E 2nd St
Houston, TX 77077                        Logansport, LA 71049            Delhi, LA 71232




Elsie Kerksiech Mentil                   Elsie L Kretzer Deceased Life   Elsie Maxine Woodard
Margaret E Hurt Exec                     Estate Pmt Blocked              105 Vandenburg Drive
1209 W Main                              PO Box 8                        Biloxi, MS 39531
El Dorado, AR 71730                      Rawlins, WY 82301




Elsie Mccoy Walker                       Elsie Mcmurray Sanders          Elsie Morgan
PO Box 636                               c/o Patricia Pool Welch Poa     3501 Pope Avenue
Logansport, LA 71049                     1603 Briarwood Trail            North Little Rock, AR 72116
                                         Henderson, TX 756544217




Elsie N Ramsey                           Elsie S Ireland                 Elsie Tee Rudd
302 Moody Avenue                         713 Virginia Ave                9312 Faircrest Dr
League City, TX 77573                    PO Box 1494                     Dallas, TX 75238-1412
                                         La Feria, TX 78559




Elsie W Curry                            Elsie Williams                  Elson Olney
PO Box 109                               184 Houston Road                317 Water St
Carthage, TX 75633                       Ruston, LA 71270                Warren, PA 16365




Elsr Lp A Texas Limited Prtshp           Elt Construction                Elton And Frances Hanson
Bengal Jones Group Llc                   PO Box 465                      3402 N Us Hwy 69
General Partner                          Wellington, CO 80549            Lufkin, TX 75904
8080 N Central Expwy Ste 1420 Lb12
Dallas, TX 75206



Elton Cannon                             Elton Ford Jr                   Elton Frank Cole Sep Property
11131 Seton Place                        11660 Church St Apt 329         3514 Baumann Ave
West Minster, CO 80030                   Rancho Cucamunga, CA 91730      Midland, TX 79703
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Elton Hatfield Edith A Hatfield          Elton Hill                          Elton M Hyder Iii
1511 Amman Street                        518 48Th St                         PO Box 471905
West Monroe, LA 71292                    Port Arthur, TX 77640               Fort Worth, TX 76147




Elton Ray Britt                          Elton Ray Davis                     Elton Ray Frost
2876 Hwy 167                             1185 Vz Cr 2401                     Genorvis S Frost
Dubach, LA 71235                         Canton, TX 75103                    324 Prospect Street
                                                                             Shreveport, LA 71104




Elton W Brock                            Elva G Morrison                     Elva J Johnston
1326 Flanagan Road                       702 Mission Arch                    4605 Post Oak Place
Tatum, TX 75691                          Roswell, NM 88201                   Ste 250
                                                                             Houston, TX 77027




Elva Jean Miller                         Elva Johnston Descendants Tr        Elva Johnston Descendants Tr
c/o Office Of Texas State                Fbo Carolyn Josey Young             Fbo Lenoir M Josey Ii
Unclaimed Property Division              Carolyn Josey Young Trustee         Robert Ross Trustee
PO Box 12608 Capitol Station             4605 Post Oak Pl Dr Ste 250         4202 Yoakum Blvd
Austin, TX 78711                         Houston, TX 77027                   Houston, TX 77006



Elva Johnston Descendants Tr             Elva M Bass And Jay Bass            Elva M Carter Terrell Usufruct
Fbo Robert A Josey                       1056 West Winding Creek Drive       2915 Highway 563
Robert A Josey Ttee                      Grapevine, TX 76051                 Simsboro, LA 71275
5753 Indian Circle
Houston, TX 77057



Elva Marie Carter Terrell                Elva Minear Chalfant Trust          Elva Y Mealer
2915 Hwy 563                             Elva Minear Chalfant Tr             Poa William R Mealer Md
Simsboro, LA 71275                       4917 Brenda Ne                      8100 Vista Lane
                                         Albuquerque, NM 87109               Bozeman, MT 59715




Elvatus Cromwell Morris Jr               Elvessie Greggs                     Elvia Mach
Lorene Morris                            7707 Hallsdale Ave                  595 Huckleberry Lane
PO Box 253                               Los Angeles, CA 90047               Bellville, TX 77418
Zion, IL 62549




Elvia Tarkington                         Elvira Nancy Abbey                  Elvis L Faulk And Deborah T Faulk
Route 2 Box 2800                         810 East Bear Creek Loop            403 Arthur Street
Ruston, LA 71270                         Livingston, TX 77351                West Monroe, LA 71292




Elwin Bennett                            Elwin Sellers Maisha Sellers        Elwyna Whitehead
111 Bonvillian Rd                        2314 Desiree St                     6784 County Road 414 West
Broussard, LA 70518                      Ruston, LA 71270                    Henderson, TX 75654




Ely And Associates Corp                  Ely Associates Corp                 Ely Associates Of Texas LLC
Dept 730035                              Steve Fowler                        19500 State Highway 249 Ste 140
PO Box 660919                            19500 State Highway 249 Suite 140   Houston, TX 77070-3015
Dallas, TX 75266-0919                    Houston, TX 77070
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Elynx Technologies                      Elynx Technologies LLC           Elysium Jennings LLC
Dept 243                                Phyllis Shelton                  1600 Norris Road
PO Box 21228                            6120 S Yale St Suite 1300        Bakersfield, CA 93308
Tulsa, OK 74121-1228                    Tulsa, OK 74136




Elza Ray Hays Iii                       Elza Ray Hays Jr Decd Esch       Em Wolfe Land Resources LLC
7809 Hwy 80 W                           Rt 2 Box 1210                    4128 Rothington Rd
Ruston, LA 71270                        Ruston, LA 71270                 Fort Worth, TX 76116




Emalene Todd Robins Sep Prop            Emalynn Woods Embrey             Emel Uygur Given
710 Almond Street A                     267 Winding Hollow Ln            1007 Creekwood Lane
Suisen City, CA 94585                   Coppell, TX 75019                Longview, TX 75602




Emelia Renea Lewis                      Emerald Coast Ii Lp              Emerald Nrg Inc
2525 Pettit St                          3750 Via Trevi Way               16 North Filly Lane
Nacogdoches, TX 75964                   Bonita Springs, FL 34134         Edmond, OK 73034




Emerald Resources Inc                   Emerald Royalty LLC              Emergency Vehicle Group Inc
4039 Mohawk Dr                          4039 Mohawk Drive                2883 E Coronado St
Larkspur, CO 80118-8901                 Larkspur, CO 80118               Anaheim, CA 92806




Emerson Oil Company Inc                 Emerson Process Management LLP   Emerson Process Mng LLLP
PO Box 240                              PO Box 22737                     PO Box 905330
Homer, LA 71040                         Chicago, IL 60673                Charlotte, NC 28290-5330




Emi Ii                                  Emi Iii                          Emil A Manka Jr
c/o Joseph A Mastalerz                  c/o Joseph Mastalerz             1007 Gibson
8191 Southpark Ln Ste 208               8191 Southpark Ln Ste 208        Alice, TX 78332
Littleton, CO 80120-4641                Littleton, CO 80120-4641




Emil G Wood Testamentary Trust          Emil G Wood Testamentary Trust   Emile A Carmouche Jr
Box 437                                 Emil H Wood Co Ex                950 Echo Lane
Azle, TX 76020-0437                     PO Box 437                       Suite 200
                                        Azle, TX 76098-0437              Houston, TX 77024




Emile J Bailey                          Emile J Catherinejr Life Est     Emile Morris Augustine
12633 S Figueroa St Apt 7               416 2nd Ave Ext S 4741           8257 S Blackstone Ave
Los Angeles, CA 90061                   Seattle, WA 98104                Chicago, IL 60619




Emilia Griffith Means                   Emilie Susan Watson              Emille N Benavides 1997 C Tr
3255 Old Mooringsport Road              2510 Crest View                  Manuel A Benavides Ttee
Shreveport, LA 71107                    Edinburg, TX 78539               1019 Chihuahua
                                                                         Laredo, TX 78040
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Emily A Evans                           Emily A Scherf                         Emily Atkinson Woods
306 Royal Ln                            12128 Gaynor Road                      440 Spring Lake Drive
Shreveport, LA 71106                    Rockville, MD 20852                    Shreveport, LA 71106




Emily B Anderson                        Emily Byars U/W/O Bg Byars             Emily Carey Lang
5619 Wheelwright Way                    Act No 390387017                       4414 Winners Gait Circle
Haymarket, VA 201693182                 PO Box 2020                            Pace, FL 32571
                                        Tyler, TX 75710




Emily Carey Long                        Emily D Moore                          Emily D Thuss Living Tr
201 West Tazewell 211                   2005 Highway 563                       Charles John Thuss Iii Ttee
Norfolk, VA 23510                       Simsboro, LA 71275                     4736 Hayman Ave
                                                                               La Canada, CA 91011




Emily Denman Thuss                      Emily Denney                           Emily E Jacobie
4736 Hayman Ave                         30 E Longden                           4207 Larchmont
La Canada, CA 91011                     Arcadia, CA 91006                      Dallas, TX 75205




Emily Erisman Myers                     Emily Gay Bivins Rachal                Emily H Pasquier
1 Casey Ct                              9033 Avalon Dr                         216 Pomeroy Dr
Longview, TX 75604-6261                 Shreveport, LA 71118                   Shreveport, LA 71115




Emily Harman                            Emily Helen Williams                   Emily Hooker Snyder
305 W Ave F                             PO Box 58                              16307 Dawncrest Way
Alpine, TX 79830                        Roanoke, TX 76262                      Sugarland, TX 77478




Emily J Childress                       Emily Jean Lowry                       Emily Kathleen Roeser Wehring
9200 Parkwood                           11205 Hwy 80 West                      5800 Round Table Cv
Orange, TX 77630                        Hallsville, TX 75650                   Austin, TX 78746-1831




Emily Ladouceur                         Emily Lynn Childress                   Emily May Scott
14105 Princequillo Ct                   9200 Parkwood                          20 18951 Ford Road
Reno, NV 89521                          Orange, TX 77630                       Pitt Meadows, BC V3Y 2G5
                                                                               Canada




Emily R Parker Trust                    Emily Roberts Collins Trust            Emily Ruth Upchurch Gaylor
U/T/W/O Chalres F Roeser                U/W/O Katherine M Roberts Test Trust   PO Box 220
Jp Morgan Chase Bank Na Ttee            Bright And Bright Llp                  Luthersville, GA 30251
P O Drawer 99084                        5439 Del Roy Dr
Fort Worth, TX 76199-0084               Dallas, TX 75229



Emily Shelton                           Emily Sinclair                         Emily V Gilmore
106 Oak Crest Dr                        c/o Robert Sinclair Agt Aif            347 California Ave
Lufkin, TX 759018837                    7001 Preston Rd Ste 301 Lb 35          Pittsburg, CA 94565
                                        Dallas, TX 752051185
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Emily Virginia Carlile Bryant           Emily Wynne Bolin                Emk3
403 West 57 South                       8 Pinewood Circle                PO Box 61097
Wichita, KS 67217                       Houston, TX 77024                Corpus Christi, TX 78466




Emma Albright                           Emma Alice Ley                   Emma B Davies Rev Tr
5462 Pr 4221                            c/o Texas State Treasurer        Nick Davies Ttee
Gilmer, TX 75644                        PO Box 12608 Capital Station     PO Box 308
                                        Unclaimed Property Division      Fairfield, ID 83327
                                        Austin, TX 78711



Emma Bowlden                            Emma Elvira Attingsberg Estate   Emma Hope Woodfin
PO Box 191                              c/o Ingemar Attingsberg          604 Ambassador
Hallsville, TX 75650                    Baggbole 407                     Marshall, TX 75670
                                        86295 Njurunda
                                        Sweden



Emma J Scott                            Emma Jean Bridges Michalovich    Emma Jean Rolling
293 County Road 1316                    460 Oakland Drive                4763 Lyba St
Grand Saline, TX 75140                  Vidor, TX 77662                  Shreveport, LA 71109




Emma Jean Shires                        Emma Jo Yates                    Emma Larue Bailey Napper
164 Private Road 521                    5906 Annette Street              PO Box 1104
Gary, TX 75643                          Shreveport, LA 71105             Ruston, LA 71270




Emma Lou Drake                          Emma M Monsibais                 Emma Mae Gorenflo
Debra K Drake Hiraki                    610 E Market St Unit 2619        Deceased See Notebook
1656 Goldfinch Way                      San Antonio, TX 78205-2663       3110 Towne Park Dr Apt 3601
Sunnyvale, CA 94087                                                      Tyler, TX 75701-0425




Emma Mae Norris Marx                    Emma Roesch Lind                 Emma Roy Kidd
PO Box 181481                           86 S Crystal St                  PO Box 247
Dallas, TX 75216-1481                   Elgin, IL 60120                  Gibsland, LA 71028




Emma Smith                              Emma Thompson Franklin Sp        Emmaline Fogarty
Wllie Ho Buehler Poa                    200 Cox Street                   Address Redacted
406 Sterzing                            West Monroe, LA 71292
Second Floor
Austin, TX 78704



Emmer Sample Morgan                     Emmerson Family LLC              Emmet J Molnar Wife Donna Molnar
6951 Tailwind Ln                        4047 Sw Greenhills Way           10331 County Road 2403
Fontana, CA 92336                       Portland, OR 97221               Kemp, TX 75143-8721




Emmett Asseff                           Emmett Clayton Mckaskle          Emmett Coleman
333 Texas St                            1401 Brewster St                 PO Box 212
Shreveport, LA 71101                    Ruston, LA 71270                 Bay Pines, FL 33744
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Emmett Howell Cantwell                 Emmett L Whitsett Jr                Emmett Midkiff
200 Majestic Oaks Dr 305               Unit 155 Brighton Gardens           PO Box 147
Shreveport, LA 71115                   855 East Basse Road                 Joaquin, TX 75954
                                       San Antonio, TX 78209




Emmett R Woodard Sep Prop              Emmett Rattler                      Emmett W Rutschow
16396 Hwy 151                          Address Redacted                    51271 St Hwy 88
Arcadia, LA 71001                                                          Alma, WI 54610




Emmett Walker                          Emmett Walker Jr                    Emmett Wysinger
PO Box 986                             5134 Parkridge                      PO Box 15
Grambling, LA 71245                    Houston, TX 77053                   Bienville, LA 71008




Emmie Jean Roland                      Emmitt Charles Mclin                Emmitt Hall
4763 Lyba St                           PO Box 401                          155 Watson St
Shreveport, LA 71109                   Deberry, TX 75639                   Jonesboro, LA 71251




Emmitt J Shumway Estate And            Emmitt Williams Jr                  Emogene Bridges Michalovich
Wife Gloria Shumway                    406 Cedar Street                    c/o Anne E Michaels Poa
405 Cr 3169                            Monroe, LA 71201                    PO Box 70336
Joaquin, TX 75954                                                          Albany, GA 31708




Emory Hagler                           Emory M Hagler Jr                   Emory Mann Jr
813 Cherry Grove Road                  813 Cherry Grove Road               4 Wagon Trail Rd
Orange Park, FL 32073                  Orange Park, FL 32073               Artesia, NM 88210




Emory Mann Sr                          Emory University                    Empact Analytical Systems Inc
Address Redacted                       Attn Cash Manager                   365 So Main Street
                                       1599 Clifton Road 3Rd Floor         Brighton, CO 80601
                                       Atlanta, GA 30322




Empire Partners Ltd                    Empire Production Co LLC            Empire West Corporation
Attn Mr Robert C Vaughn                1000 Century Blvd                   12104 1/2 East Park St
6116 N Central Expressway              Oklahoma City, OK 73110             Cerritos, CA 90703
Suite 1440
Dallas, TX 75206



Employee Benefit Solutions Inc         Employment Development Department   Employment Development Dept
2700 Post Oak Blvd Fl 25               3321 Power Inn Road Suite 220       PO Box 989061
Houston, TX 77056-5784                 Sacramento, CA 95826                West Sacramento, CA 95798-9061




Employment Practices Solutions Inc     Empresa Energy                      Empress Louisiana Properties Lp
PO Box 732788                          PO Box 960161                       Attn Chk Revenue Accounting
Dallas, TX 75373-2788                  Oklahoma City, OK 73196-0161        PO Box 960161
                                                                           Oklahoma City, OK 73196-0161
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Empress Texas Properties LLC           Emptech                          Ems Laboratories Inc
PO Box 18496                           2377 Crenshaw Blvd Suite 270     111 West Bellevue Drive
Oklahoma City, OK 73154-0496           Torrance, CA 90501               Pasadena, CA 91105-2548




Ems Safety Services Inc                Ems Usa Inc                      Emshoff Clinton L
1046 Calle Recodo Suite K              Dept 9296 PO Box 4346            Address Redacted
San Clemente, CA 92673                 Houston, TX 77210-4346




En Geo Inc                             En Pointe Technologies Sales L   En Vi Fluids Supply LLC
1316 Rusk Dr                           PO Box 740545                    Juan De La Cruz
Richardson, TX 75081                   Los Angeles, CA 90074-0545       10210 N Conway
                                                                        Alton, TX 78573




En Vi Fluids Supply LLC                Ena Louis Mckinney               Ena Mcwilliams Spalding
106 S Alton Blvd Pbm 9111              East Side Building               Jill Allen Aif
Alton, TX 78573                        9245 Laguna Springs Dr Ste 200   1500 Heritage Boulevard
                                       Sacramento, CA 95758             Andrews, TX 79714




Enable Midstream Partners Lp           Enb LLC                          Enbridge GP East Texas Lp
PO Box 301392                          c/o Eldon D Shiffman             Attn Kristi Theriot
Dallas, TX 75303-1392                  1269 Meadow Vale Rd              1100 Louisiana Street
                                       Santa Ynez, CA 93460             Suite 3300
                                                                        Houston, TX 77002



Enbridge Pipeline East Tx Lp           Encana Energy Resources Inc      Encana Oil Gas Usa Inc
1100 Louisiana Ste 3300                950 17Th Street Suite 2600       370 17Th Street Suite 1700
Houston, TX 77002                      Denver, CO 80202                 Denver, CO 80202




Encana Oil Gas Usa Inc                 Encore Operating Lp              Encrescent Richland Pipeline LLC
Dept 0238                              777 Main Street Suite 1400       5535 Smu Boulevard
PO Box 120238                          Fort Worth, TX 76102             Suite 201
Dallas, TX 75312-0238                                                   Dallas, TX 75206




Enda Lou Dean Jackson                  Endeavor Energy Resources Lp     Endeavor Oil And Gas LLC
PO Box 1177                            110 N Marienfeld Ste 200         400 Travis St Ste 1905
Groveton, TX 75845                     Midland, TX 79701-4412           Shreveport, LA 71101




Endura Products Corp                   Enduro Lift LLC                  Enduro Lift LLC
PO Box 3394                            21 Gaensslen Dr                  2735 Colorado Drive
Midland, TX 79702                      Green River, WY 82935            Green River, WY 82935




Enduro Pipeline Service                Endyn                            Ene Consultants LLC
PO Box 3489                            300 West First Street            Jason Edwards
Tulsa, OK 74101-3489                   Alice, TX 78332                  100 Angela Lane
                                                                        Minden, LA 71055
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Ene Consultants LLC                    Ene Land Cattle LLC               Enercom Inc
PO Box 842094                          715 S Ridge Dr                    800 18Th St
Boston, MA 02284-2094                  Minden, LA 71055                  Suite 200
                                                                         Denver, CO 80202




Enercon                                Enerfin Field Services LLC        Enerflex Energy Services Us Inc
PO Box 269031                          Attn Cash Receipts                Christy Jimmerson
Oklahoma City, OK 73126                2500 Cityewst Blvd Ste 400        10815 Telge Road
                                       Houston, TX 77042                 Houston, TX 77095




Enerflex Energy Systems Inc            Energen Resources Corp            Energetics 1981 Mid Year Ltd
10815 Telge Road                       605 RichD Arrington Jr Blvd N     c/o Itr Petroleum
Houston, TX 77095                      Birmingham, AL 35203-2707         1300 Main St 512
                                                                         Houston, TX 77002




Energetics 1981 Stroh Mid Year         Energetics 1988 Ltd Ptnshp        Energetics Capitol Ltd Prtnshp
c/o Itr Petroleum                      c/o Energetics Inc                1300 Main St Ste 512
1300 Main St 512                       PO Box 5038                       Houston, TX 77002
Houston, TX 77002                      Englewood, CO 80155




Energetics Inc                         Energetics Operating Company      Energetics Royalty Co
7951 E Maplewood Ave Ste 133           7951 E Maplewood Ave Ste 133      PO Box 5038
Englewood, CO 80111                    Englewood, CO 80111               Englewood, CO 80155




Energy 12 LLC                          Energy 12 LLC Orri                Energy Acquisitions LLLP
1 North End Avenue 1301                Georgianna Hanes                  717 17Th St Ste 1400
New York, NY 10282                     One North End Ave Suite 1301      Denver, CO 80202
                                       New York, NY 10282




Energy Completion Services Lp          Energy Devices Of Texas Inc       Energy Drilling Company
PO Box 442031                          PO Box 731501                     PO Box 905
Houston, TX 77244-2031                 Dallas, TX 75373                  Natchez, MS 39121




Energy Equipment Supply Inc            Energy Equipment Supply LLC       Energy Equity Co
7421 6 Wn Road                         PO Box 587                        PO Box 785
Casper, WY 82604                       Palestine, TX 75802               Columbus, MT 59019




Energy Fishing And Rental Services     Energy Laboratories               Energy Navigator LLC
PO Box 116587                          Accounts Receivable               2000 W Sam Houston Pkwy S Ste 1475
Atlanta, GA 30368                      PO Box 30975                      Houston, TX 77042-3649
                                       Billings, MT 59107-0975




Energy Navigator LLC                   Energy One Federal Credit Union   Energy Partners Nominee Co
Bill Agee                              6100 S Yale Ave Suite 100         c/o Duncan Energy Company
2000 West Sam Houston Parkway South    Tulsa, OK 74136                   1777 S Harrison St Rm One
Suite 1475                                                               Denver, CO 80210-3925
Houston, TX 77042
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Energy Pipe And Equipment Rentals LLC   Energy Pro Inc 401 K                Energy Production Corporation
PO Box 81355                            500 S Hangar Dr                     700 Central Expy S
Lafayette, LA 70598                     Georgetown, TX 78627                Allen, TX 75013-8098




Energy Production Specialties LLC       Energy Production Specialties LLC   Energy Properties Limited
c/o Prestige Capital Corp               PO Box 430 491                      PO Box 51408
PO Box 52218                            Laredo, TX 78043                    Casper, WY 82605
Newark, NJ 07101-0220




Energy Pump Supply Inc                  Energy Reserves Group Inc           Energy Resources Lp
2010 Troy King Rd                       Unclaimed Property                  12377 Merit Drive
Farmington, NM 87401                    PO Box 1407                         Suite 1700 Lb 82
                                        Denver, CO 80201                    Dallas, TX 752512224




Energy Roofs Walls LLC                  Energy Royalties LLC                Energy Search Associates LLC
384 Skyline Dr                          5500 Prytania Street 226            7709 San Jacinto Place
North Little Rock, AR 72116-9226        New Orleans, LA 70115               Suite 206
                                                                            Plano, TX 75024




Energy Service Company Of Bowie Inc     Energy Transportation Inc           Energy Transportation Inc
PO Box 1300                             PO Box 2848                         Travis Wilkinson
Bowie, TX 76230                         Casper, WY 82602                    PO Box 82602
                                                                            Casper, WY 82602




Energy Tubulars                         Energy Weldfab Inc                  Energy West Corporation
3010 Old Ranch Parkway                  1702 Willow Lake Dr                 PO Box 1441
Suite 400                               White Oak, TX 75693                 Denver, CO 80201-1441
Seal Beach, CA 90740




Energynet Services Inc                  Enerlex Inc                         Enerpact LLC
7201 W I40                              18452 E 111Th St S                  Pradeep Deshpande
Ste 319                                 Broken Arrow, OK 74011-9408         13007 Peach Meadow Dr
Amarillo, TX 79106                                                          Cypress, TX 77429




Enerquest Oil And Gas LLC               Enersight Corp                      Enersight Usa Inc
12368 Market Drive                      30 Springborough Blvd Sw            734 Plainwood Drive
Oklahoma City, OK 73114                 Suite 320                           Houston, TX 77079
                                        Calgary, AB T3H 0N9
                                        Canada



Enerspect Medical Solutions LLC         Enertax Consultants Lp              Enertool Services LLC
35 E Horizon Ridge Pkwy                 2800 Post Oak Blvd Ste 4200         5826 Johnson Street
110 Pmb 50                              Houston, TX 77056-6139              Lafayette, LA 70503
Henderson, NV 89002




Enerven Compression Services LLC        Enervest Ltd                        Enger S Lundershausen
PO Box 671496                           Attn 9Th Annual AD Ldrship          2280 Grass Valley Highway 213
Dallas, TX 75267-1496                   1001 Fannin Suite 800               Auburn, CA 95603
                                        Houston, TX 77002
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Engineered Equipment Inc                Engineering Design Testing Corp     English Mike
PO Box 2931                             PO Box 99                           8510 Blazyk Drive
Casper, WY 82602-2931                   Cypress, TX 77410-0099              Austin, TX 78737




English Tim                             Engrebretson Trust                  Enide Broussard Pisani
215 Warren Drive                        c/o Patricia Kagie                  607 Terrell Ct
Nacogdoches, TX 75961                   4107 Stonecreek Blvd                New Iberia, LA 70560
                                        Gilbert, AZ 85296




Enk3 Minerals Lp                        Enois Starling                      Enos Carr Mcclendon Iii
121 S Broadway Suite 708                3863 Scenic Dr                      2108 Hamlet Dr
Tyler, TX 75702                         Tyler, TX 75709-5403                Carmichael, CA 95608




Enprotech Consultants LLC               Enrique Mayers Jr                   Enrisk
1903 Palmetto Glen Lane                 15031B Military Road S              6100 Western Place Ste 100
Richmond, TX 77469                      238                                 Ft Worth, TX 76107
                                        Seatlle, WA 98188




Ensaglio Partners LLC                   Enserca Engineering                 Enserco Energy
PO Box 18651                            4690 Table Mountain Dr Unit 200     1515 Wynkoop Suite 550
Atlanta, GA 31126                       Golden, CO 80403-1873               Denver, CO 80202




Enserco Energy LLC                      Ensight Energy Management LLC       Ensign Testing Services Usa Inc
1900 16Th St                            333 Texas Street Suite 1175         410 17Th St Ste 1200
Ste 450                                 Shreveport, LA 71101-3676           Denver, CO 80202-4425
Denver, CO 80202-5219




Ensign United States Drilling Inc       Ent Federal Credit Union            Entech Enterprises Inc
PO Box 17805                            PO Box 15819                        PO Box 910083
Denver, CO 80217                        Colorado Springs, CO 80935-5819     Dallas, TX 73591-0083




Entergy                                 Entergy Louisiana Inc               Enterprise Crude Oil LLC
PO Box 8108                             639 Loyola Ave                      210 Park Avenue Suite 1600
Baton Rouge, LA 70891-8108              New Orleans, LA 70113               Oklahoma City, OK 73102-5630




Enterprise Gathering LLC                Enterprise Products Operating LLC   Enterprise Texas Pipeline Lp
PO Box 972866                           PO Box 4324                         PO Box 974361
Dallas, TX 75397                        Houston, TX 77210-4324              Dallas, TX 75397-4361




Entrada Company LLC                     Entrance Software                   Envent
PO Box 4108                             2500 E Tc Jester Blvd               3220 E 29Th Street
Monroe, LA 71211                        Suite 500                           Long Beach, CA 90806
                                        Houston, TX 77008
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Envent Corporation                         Enventure Global Technology LLC            Enviro Asset Management LLC
3220 East 29Th St                          PO Box 4346                                6408 Kenwick Ave
Long Beach, CA 90806                       Dept 630                                   Ft Worth, TX 76116
                                           Houston, TX 77210




Enviro Clean Services LLC                  Enviro Services Of Union LLC               Enviro Tox Services Inc
PO Box 721090                              PO Box 339                                 20 Corporate Park Suite 220
Oklahoma City, OK 73172                    Farmerville, LA 71241                      Irvine, CA 92606




Environcon LLC                             Environmental Branding Inc                 Environmental Compliance Associates Inc
3218 Line Avenue Ste 203                   2810 East Trinity Mills Rd                 PO Box 831
Shreveport, LA 71104                       Suite 209 337                              Aubrey, TX 76227-0831
                                           Carrollton, TX 75006




Environmental Materials Inc                Environmental Protection Agency            Environmental Protection Agency Region 6
PO Box 22745                               Region 7                                   Fountain Place 12Th Floor
Billings, MT 59104                         11201 Renner Blvd                          Suite 1200 1445 Ross Avenue
                                           Lenexa, KS 66219                           Dallas, TX 75202-2733




Environmental Protection Agency Region 9   Environmental Protection Agency Region 9   Environmental Sales Service
1001 I Street                              75 Hawthorne Street                        PO Box 536
PO Box 2815                                San Francisco, CA 94105                    Pinedale, WY 82941
Sacramento, CA 95812-2815




Environmental Systems Research Institute   Enviropave LLC                             Envirotech Inc
File 54630                                 PO Box 762                                 5796 Us Hwy 64
Los Angeles, CA 90074-4630                 Kilgore, TX 75663                          Farmington, NM 87401




Envision Credit Union                      Envision Land Co LLC                       Eo Beckett Estate
440 N Monroe St                            PO Box 7836                                Annie L Beckett Temp Admin
Tallahassee, FL 32301                      Tyler, TX 75711                            414 W Avenida Cerca
                                                                                      Palm Springs, CA 92262-1407




Eog Lc                                     Eog Resources Inc                          Eola Colvin Martin
Attn Katherine E Rehkopf                   PO Box 840319                              1017
8925 Champion Hills Dr                     Dallas, TX 75284-0319                      Wedgewood Dr
Wilmington, NC 28411                                                                  Ruston, LA 71270




Eom Corporation                            Ep Energy E P Company Lp                   Ep Energy EP Company Lp
5002 Heather                               PO Box 301108                              PO Box 301108
Midland, TX 79705                          Dallas, TX 75303                           Dallas, TX 75303-1108




Ep Energy EP Company Lp                    Ep Energy LLC                              EP Wireline Services
1001 Louisiana Street                      PO Box 4660                                6300 W I 20
Houston, TX 77002                          Houston, TX 77210                          Midland, TX 79706
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Epg Partners LLC                           Ephesians 32 LLC               Ephraim L Block Estate
One Preston Center                         c/o Bunnie Ann Crichton        H P Guerra Iii Indp Extr
8222 Douglas Avenue Suite 675              PO Box 266                     210 North Britton Ave
Dallas, TX 75225                           Palm Beach, FL 33480           Rio Grande City, TX 78582




Epic Investments Inc                       Epic Lift Systems              Epic Lift Systems LLC
c/o John J Agee President                  14485 Highway 377 South        Brady Basi
11048 Brighton Ln                          Fort Worth, TX 76126           14485 Hwy 377 South
Frisco, TX 75033                                                          Fort Worth, TX 76126




Epic Management Resources LLC              Episcopal Foundation Of        Episcopal Foundation Of Tx
13103 Fm 1960 W                            Ncnb Texas Agemcu 120422 00    Bank Of America N A Agent
Ste 216                                    PO Box 840738                  PO Box 840738
Houston, TX 77065                          Dallas, TX 75284               Dallas, TX 75284-0738




Episcopal Theological Seminary Of The Sw   Epoch Well Services Inc        Epona Corporation
Nationsbank Of Texas Na                    PO Box 973518                  922 North Countyline Rd
PO Box 840738                              Dallas, TX 753973518           Newcastle, OK 73065
Dallas, TX 75284-0738




Epperson Fam Partnership LLP               Eproduction Solutions Inc      Epsie Susan Rucker
PO Box 130515                              22001 North Park Dr            1417 Santa Fe Trail
Tyler, TX 75713                            Kingwood, TX 77339             Carrollton, TX 75007




Epstein Energy Trust                       Epw Family Trust               Equal Energy
11239 Oak Lake Rd                          Elizabeth Pfluger White Ttee   15 W 6Th St Ste 1201
Bryan, TX 77808                            PO Box 62116                   Tulsa, OK 74119-5406
                                           San Angelo, TX 76906




Equipment Depot                            Era Dell Dickerson             Era Dell Toombs
PO Box 209004                              Rr 1 Box 165                   13448 Hwy 171
Dallas, TX 75320-9004                      Joaquin, TX 75954              Mansfield, LA 71052




Era F Grace                                Era J Butler                   Era Jean Henderson Davis
1304 Lenox Greens Dr                       2160 W 117Th Pl                2051 W 93Rd St
Sun City Center, FL 33573                  Chicago, IL 60643              Los Angeles, CA 90047




Era Railey                                 Era Sayers Bailey Givens       Era Wharton Life Estate
303 Boiling Springs Dr                     923 Price Dr                   c/o Arnold Wharton
Lexington, KY 40511                        Haynesville, LA 71038          900 Medical Dr
                                                                          Tyler, TX 75701-2129




Era Young Allen Deceased                   Erasmo A Villarreal            Erathem Vanir Geological
2561 W Solano Circle                       117 Illinois                   3359 Summit Drive
Tucson, AZ 85746                           Laredo, TX 78041               Pocatello, ID 83201
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Ercell Gaar Bowens                        Ercil Spivey Lord              Ercyle E Rogers Estate
6438 Hardwick Street                      5138 Highway 132               111 John C Rogers Dr
Lakewood, CA 90713                        Baskin, LA 71219               Center, TX 75935




Ere Enterprises Inc                       Erh Limited Partnership        Eric Anthony Guillory And
1424 Dover Lane                           c/o Regions Bank Nrre Ops      Krystal Holmes Guillory
Val Verde, TX 78163                       PO Box 11566                   895 Woods Rd
                                          Birmingham, AL 35202           Ruston, LA 71270




Eric Beaty                                Eric D Boyt                    Eric Daniel Cardenas
15 Rue George Sand                        PO Box 2602                    145 Bosphorous Ave
35235 Thorigne Fouillard                  Midland, TX 79702-2602         Tampa, FL 33606
France




Eric Dorsey                               Eric E Rockett                 Eric Eva Rosenthal
401 Prince Charles                        PO Box 206                     443 S Waiola
Whitehouse, TX 75791                      Ruston, LA 71273               La Grange, IL 60525




Eric F Roberts                            Eric Franson                   Eric Gaston
869 E Jeter Rd                            3554 Wind River Court          Address Redacted
Bartonville, TX 76226                     Fort Worth, TX 76116




Eric Gholston                             Eric Glen Ruff Ttee Under      Eric Glen Shull
907 Robin Drive                           The Will Of Jere R Ruff        114 Second St
Monroe, LA 71201                          PO Box 2422                    Bastrop, TX 78602
                                          Longview, TX 75606




Eric Greene                               Eric Hayes Dean                Eric Helms
One Freedom Valley Dr                     4423 Greenwood Blvd            33/139 Quay St
Oaks, PA 19456                            Shreveport, LA 71119           Auckland Central Auckland 1010
                                                                         New Zealand




Eric J Hardemon                           Eric J Lewis                   Eric Jacqueline M Uthus Jtwros
c/o Ella G Washington                     40 S Chestnut Pl Unit 5401     8358 Rimini Way
2141 Overton Road                         Long Beach, CA 90802           Naples, FL 34114
Dallas, TX 75216




Eric John Seibert                         Eric Joseph                    Eric Joseph Larsen
4540 Marquette Street                     PO Box 1706                    105 Crystal Court
Mandeville, LA 70123                      Longview, TX 75606             Tyrone, GA 30290




Eric Jules Joffrion                       Eric Koldinger                 Eric L Adams
PO Box 273                                2615 Sw Sherwood Dr            19827 Black Cherry Bin Ct
Coleman, TX 76834                         Portland, OR 97201             Cypress, TX 77433
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Eric Langham                           Eric Lindell                     Eric M Ungerecht
PO Box 2172                            8421 Polar Creek Rd              2927 N Cotswold Manor Dr
Fort Davis, TX 79734-2172              Nashville, TN 37221              Kingwood, TX 77339




Eric M Young                           Eric Mamon                       Eric Mercer
16622 Water Oak Dr                     192 Lee St                       7917 Denham Chase Avenue
Channelview, TX 77530                  Grambling, LA 71245              Denham Springs, LA 70726




Eric Murphy                            Eric P Shatford                  Eric S Wieser
179 Vista Springs Ln                   7312 Stonecrest Drive            4301 Edmondson Ave
Ruston, LA 71270                       North Richland Hills, TX 76182   Dallas, TX 75205




Eric Schwartz                          Eric Sean Bush                   Eric Shirley Mamon
Individual Retirement Account          7783 Fm 415                      192 Lee St
Rbc Capital Markets Llc Cust           Timpson, TX 75975                Grambling, LA 71245
860 N Lake Shore Drive 22M
Chicago, IL 60611-1774



Eric Turner                            Eric White                       Erica De Luna
Address Redacted                       2252 Montane Dr E                Address Redacted
                                       Golden, CO 80401




Erica Laughlin Rev Tr Wd109            Erick D Richardson               Erickson I W
Erica Laughlin Ttee                    1138 Fallbrook Dr                c/o State Comptroller
Mineral Asset Mangement                Corona, CA 92880                 PO Box 12019
PO Box 1600 T 6                                                         Austin, TX 78711-2019
San Antonio, TX 78296



Erik Doughty Seperate Property         Erik G Hanson                    Erik H Kinscher
711 N Carancahua Ste 1600              1020 Ne Loop 410 Ste 660         34472 Via Expinoza
Corpus Christi, TX 78475               San Antonio, TX 78209            Capistrano Beach, CA 92624




Erik J Gonzalez                        Erik Johnson                     Erika Beams
2419 E Locust                          Address Redacted                 1675 Hays St Apt 318
Laredo, TX 78043                                                        San Leandro, CA 94577-4404




Erin Elizabeth Novinger                Erin Jeannine Sands              Erin Kelly Hartzell
41438 Culpepper Way                    2239 S Eldridge St               5205 Myrtle Dr
Leonardtown, MD 20650                  Lakewood, CO 80228-4855          Concord, CA 94521




Erin M Stieler                         Erin Maureen Sullivan            Erin Mineral Company
682 Amp Financial Center               13927 Harrison Dr                2229 San Felipe 1400
Minneapolis, MN 55474                  Thornton, CO 80602               Houston, TX 77019
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Erin OByrne Turner                       Erisa Pros LLC                           Erlene Gregory Baker
727 Fairfax St                           5901 Peachtree Dunwoody Rd Ste C480      5000 Fawn Meadows Apt 107
Denver, CO 80220                         Atlanta, GA 30328-7188                   San Antonio, TX 78240




Erline T Mcmurry                         Erm Cvs Inc                              Erma Lee Powell
Hibernia National Bank                   Darlene Mcwilliams                       725 43Rd Street
814 Jordan                               The Towers At Wildwood Plaza             Oakland, CA 94609
Shreveport, LA 71104                     3200 Windy Hill Rd Se 1500W
                                         Atlanta, GA 30339



Erma Mcglothlin                          Erma P Logan                             Erma Penwell
2816 Fordham Rd                          8481 Road 39                             1421 3Rd Ave Nw
Plano, TX 75025                          Lingle, WY 82223                         Great Falls, MT 59404-2172




Erma S Rogers Revocable Living Trust     Ermon L Dyer And Shirley Patton Dyer     Ernest Addison Beauvais
169 Olive Street                         9326 South Hudson Avenue                 1827 8Th Street
Ruston, LA 71270                         Oklahoma City, OK 73139                  New Orleans, LA 70015




Ernest Addison Beauvais Trust            Ernest Addison Beauvais Trust            Ernest And Belinda Latham Revocable Tr
c/o Argent Trust Trustee                 P O Drawer 1410                          5 Cabernet Ct
PO Box 1410                              Ruston, LA 71273                         Scotts Valley, CA 95066
Ruston, LA 71273-1410




Ernest C Bowen Jr                        Ernest C Bowen Jr Gift Tr Uad 11/29/12   Ernest C Bryant Iii
1002 Alta Vista Road                     Carol B Fairman Ttee                     1923 Timberline Circle
Louisville, KY 40205                     2164 Lowell Ave                          Duncanville, TX 75137
                                         Louisville, KY 40205




Ernest C Elzey                           Ernest D Cavin Iii                       Ernest Dale Bedford
605 1st St                               PO Box 37                                4415 Crozier Street
La Porte City, IA 50651                  Center Point, TX 78010                   Dallas, TX 75215




Ernest Douglas Latham Jr                 Ernest Dreibholz Latham Trust            Ernest Evans
614 Antioch Ter                          c/o MT Bank                              c/o Texas State Treasury
Sunnyvale, CA 94085-6204                 PO Box 1596                              Unclaimed Property Division
                                         Baltimore, MD 21203                      PO Box 12019
                                                                                  Austin, TX 78711-2019



Ernest F Cameron                         Ernest F Smith Testamentary Trust        Ernest Floyd Cox
4806 Tealwood Circle                     J Rodney Gilstrap And                    Betty F Cox
Garland, TX 75043                        Robert L Duvall Co Trustees              226 Elmwood Dr
                                         PO Box 1315                              Lafayette, LA 70518
                                         Marshall, TX 75671



Ernest Garrett                           Ernest H Muntz Mary L Muntz              Ernest M Bruni Jr
1309 E Morpay                            5815 Hwy 59N 20                          301 Regal Dr
Fort Worth, TX 76104                     Marshall, TX 75670                       Laredo, TX 78041
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Ernest Malone Jr                          Ernest O Obrien                        Ernest Phoenix Ttee
c/o Sophornia Mayfield                    PO Box 6655                            The Ernest Merton Phoenix And
5674 Kelton Ct                            Shreveport, LA 71136-6655              Lorraine Cecile Phoenix Joint Living Tr
San Diego, CA 92114                                                              224 Dearborne Avenue
                                                                                 Blackwood, NJ 08012-3706



Ernest R Magruder                         Ernest Ray Covington                   Ernest Reginald Rector Trustee
416 Doucet Road                           PO Box 121                             E Regional Rector Profit
Unit 6 A                                  Benton, LA 71006                       Sharing Plan U/A Dtd 6/11/2007
Lafayette, LA 70503                                                              143 Anderson St
                                                                                 San Francisco, CA 94110



Ernest Rubin Bernhard Jr                  Ernest Tasby                           Ernest Tobin
526 Candleglo Dr                          2033 Sean Dr                           5602 Seliaskey 107
Windcrest, TX 78239                       Corpus Christi, TX 78412               Houston, TX 77048




Ernest Wayne Baugh Estate                 Ernest Witten Cecil                    Ernestine Cox Halbert
Martha Fern Baugh Matney Indp Exec        3817 Townsend Dr                       230 Crestwood St
9628 Willow Branch Way                    Dallas, TX 75229                       Nacogdoches, TX 75961
Crowley, TX 76036




Ernestine Keith                           Ernestine Mccray Baldwin               Ernestine P Jackson Est
2306 Vienna Drive                         352 Coach Baldwin Ln                   Walter Neville Jackson Ind Exe
Grandbury, TX 76048                       Mansfield, LA 71052                    1684 Fm 977 E
                                                                                 Leona, TX 75850




Ernestine Powell Manning                  Ernie D Latham                         Ernie Littlefield Kim Littlefield
4603 Lee St                               2112 Williams Place                    5359 Blackbear Lane
Greenville, TX 75401                      Fort Worth, TX 76111                   Roanoke, VA 24018




Ernst Young LLP                           Eroc Midstream Energy Lp               Errin Combest
Pnc Bank                                  16701 Greenspoint Park Drive           2219 Arabella
c/o Ernst Young Usa LLP                   Ste 200                                Ruston, LA 71270
3712 Solutions Center                     Houston, TX 77060
Chicago, IL 60677-3007



Errol B Barber                            Errol D Hopkins And Margie A Hopkins   Errol Dean Hopkins
254 Cr 2303                               3965 Fm 10                             3965 Fm 10
Mineola, TX 75773                         Gary, TX 75643                         Gary, TX 75643




Ersell Garr Burns                         Eru Westhause                          Erubiel Lizarraga
3629 W 120Th                              3395 West Tanglewood                   Address Redacted
Apt 3                                     Spring Branch, TX 78070
Inglewood, CA 90303




Ervin A Allen                             Ervin Wellsite Consultants LLC         Erwin Dewayne Hoskin Sep Prop
8738 Ford Ave                             PO Box 1927                            2755 Rollingwood Dr
Kansas City, MO 64138                     Andrews, TX 79714                      San Pablo, CA 94806
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Erwin W Smith Jr Estate                 Es Ra Long Ellis Fndation      Esa Consulting LLC
1710 Pere Marquette Bulding             Farmers National Co Agent      1201 Nw Loop 281 Ste 600
New Orleans, LA 70112                   PO Box 3480                    Longview, TX 75604
                                        Omaha, NE 68103




Escalera Resources Co                   Esco Leasing LLC               Escudero Chemicals LLC
Accounts Payable                        PO Box 1300                    PO Box 612063
1675 Broadway Suite 2200                Bowie, TX 76230                Dallas, TX 75261-2063
Denver, CO 80202




Esma Haik Smith                         Esmon D Rushing                Esmond Family Tr Dtd 05/24/99
405 Forest Circle                       PO Box 92                      Leonard Rachel Esmond Cottee
Ruston, LA 71270                        Broaddus, TX 75929             5803 Reefton Ct
                                                                       Calbasas, CA 91302




Esna T Lee                              Esog Corporation               Esog Corporation
379 Herrington Rd                       Marcos Esponoza                Rt 3 Box 26 Ae
Petal, MS 39465-9776                    4318 South Zapata Highway      Laredo, TX 78043
                                        Laredo, TX 78046




Esp Petrochemicals Inc                  Esperance LLC                  Esperanza N Ceja
PO Box 3742                             1066 Hunter Blvd               1408 Willow
Lafayette, LA 70502                     Boonville, IN 47601            Laredo, TX 78040




Esperanza Wilson                        Espinoza Services Inc          Esps Inc
224 1/2 E Fairview                      PO Box 1521                    PO Box 253
Allentown, PA 18109                     Denver City, TX 79323          Lisbon, LA 71048




Esri Environmental Systems              Ess Transportation Inc         Essential Logistics LLC
Research Institute Inc                  PO Box 337                     PO Box 430453
Tiffany Glenn                           Damascus, AR 72039             Houston, TX 77243
11200 Westheimer Road
Houston, TX 77042



Essentra Pipe Protection Tech           Essie Adams Howard             Essie Cummings Mccain
PO Box 848378                           183 Lee Street                 9 Stones Throw
Dallas, TX 75284-8378                   Grambling, LA 71243            Baton Rouge, LA 70809




Essie D Derrick                         Essie Mae Leak                 Essie Richard John W Reed
2278 W Pleasant Run Rd                  3461 F M 2011                  1025 Pinedale Lane
Lancaster, TX 75146-1470                Longview, TX 75603             Dallas, TX 75241




Essie Richard Reed Sep Prop             Essie Young Arnold             Est Jo Ann Collins Sharp Dec
1025 Pinedale Lane                      PO Box 722                     Norma Dell Jones Ind Administratix
Dallas, TX 75241                        Bastrop, LA 71221-0722         271 Noble Street
                                                                       Lovelady, TX 75851
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Est Of Andrew W Radescich Jr              Est Of Basil J Paparone Mary           Est Of Bobbie W Lawrence
c/o Joseph Drew Radescich As Ind Admin    Theresa Paparone Co Exec               Waylon D Waller Exec
Of The Succ Of Andrew Will Radescich Jr   1 N Jackson Ave                        14049 Hwy 151
340 Sunshine Dr                           Atlantic City, NJ 08401                Arcadia, LA 71001
Simsboro, LA 71275



Est Of Jay Lawrence Neill Decd            Est Of Jayna S Payak                   Est Of Jessie Bernice Kilgore Decker
c/o Gail Kuehl Indp Admin                 Susan W Smith Personal Rep             Ronald R Decker Indep Executor
PO Box 1046                               c/o Gunster Yoakley Stewart Pa         2731 Robinwood Lane
Hays, KS 67601                            800 Se Monterey Commons Blvd Ste 200   Denton, TX 76209
                                          Stuart, FL 34996



Est Of Kennard E Mackey Dec               Est Of Leycester Stanley               Est Of Lola Belle Roath Decd
Joel Humphries Indep Exec                 c/o Ms Carrie M Sullivan Co Pr         Frederick Mahler Admin Cta
1905 Barton Hills Dr                      38021 Fawn Meadows Trl                 1 Cross St
Austin, TX 78704                          Elizabeth, CO 80107                    Stonington, CT 06378




Est Of Lyndon Erroll Dawson Jr            Est Of Martha Jane Brown Dcsd          Est Of Rees R Oliver Jr
Glenn W Klug Ind Executor                 400 Gina Dr                            c/o Frost National Bank Sa Tx
193 Bella Ln Private Dr                   Kyle, TX 78640                         Phllis Mihalski Exec Tr OG
Ruston, LA 71270                                                                 PO Box 1600
                                                                                 San Antonio, TX 78296



Est Of Robert F Townsend Iii              Est Of Ross Hutcheson Dabney           Est Of Stanley Strum
Marian Townsend Indpd Exec                c/o Charles T Capute Llc               Frost Bank Executor Acct Ab366
2 Penny Ln                                1006 S Washington St                   PO Box 1600
San Antonio, TX 78209                     Easton, MD 21601                       San Antonio, TX 78296




Est Of Sue Diane Luckett                  Est Of Thomas L Clifton                Est Of Warren D Driskell
Joe A Luckett Indpt Exec                  Cath Becker Succ Ind Adm               Marlin D Driskell Executor
PO Box 21                                 2213 Bradford Ct                       7 Rompoon Rd
Bronte, TX 76933                          Midland, TX 79705                      Wheatland, WY 82201




Est Roxie Mcgee Collins Deceased          Esta Newhouse Burt                     Estate Betty Wheelock Kennaugh
c/o Mrs Judith Keaton                     503 W Howard                           Community National Bank
8179 Rockview Cir                         Stockton, CA 95206                     Tr Independent Executor
Westminster, CA 92683-7615                                                       PO Box 624
                                                                                 Corsicana, TX 75151



Estate Maxine Harris Clark                Estate Of A R Leger                    Estate Of A R Scharnagel Anita
Harrison Markley Ind Executor             PO Box 310                             125 Cr 492
4104 Far West Boulevard                   Hamshire, TX 77622                     Carthage, TX 75663
Austin, TX 78731




Estate Of Alanson Lockwood                Estate Of Alberta Martin Mason         Estate Of Aline Jerabeck
c/o Unclaimed Property Division           Jeffrey Sibley William Sibley          John D J Roland Jerabeck Co Executors
PO Box 302520                             Hobart Sibley Co Executors             2006 W Alabama St
Montgomery, AL 36130                      600 Leopard Street Ste 2000            Houston, TX 77098
                                          Corpus Christi, TX 78401



Estate Of Ayis Dye Hammon                 Estate Of Benjamin T Travis            Estate Of Bernice Anderson
7076 Hwy 545                              Celia M Travis Indep Exec              Nancy Reed Exec
Arcadia, LA 71001                         5550 Winfree St                        507 Sandy Port St
                                          Beaumont, TX 77705                     Houston, TX 77079
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Estate Of Beth R Stuart                 Estate Of Billy H Gragg                  Estate Of Billy W Langford
1510 Windson Way                        c/o Jacquelyn L Gragg                    Dorothy Jean Langford Indp Exec
Tiki Island, TX 77554                   Independent Executrix                    2012 South Fisher Court
                                        PO Box 678                               Pasadena, TX 77502
                                        Palestine, TX 75802



Estate Of Bonnie C Whitaker             Estate Of Calvin W Payton                Estate Of Charles H Murphy Jr
Deposit Guaranty National Bank          3407 Airline Road                        Represented By R Madison Murphy Executor
PO Box 1200                             Longview, TX 75605                       200 N Jefferson Ste 400
Jackson, MS 39215                                                                El Dorado, AR 71730-5854




Estate Of Charles P Overton             Estate Of D H Snyder Iii                 Estate Of Darline Miller Jackie Miller
3945 Bradford St Spc 72                 Dean A Searle Executor                   28121 Cr 3173
La Verne, CA 91750-3109                 PO Box 219                               Joaquin, TX 75954
                                        Marshall, TX 756710219




Estate Of Deanna Jean Mcmahon           Estate Of Dorothy Holder                 Estate Of Duane J Magee
Catherine Ann Kaspala                   Roberts Christopher Brown Ind Executor   c/o Anna Beth Magee
Independent Executrix                   2509 Aspen Street                        106 County Road N 2
1933 Davids Ct                          Longview, TX 75605                       Hospers, IA 51238
Abilene, TX 79602



Estate Of Edith A Williams              Estate Of Edmund Key Iii                 Estate Of Edward B Weyman
Rebecca R Crawford Ind Exec             2501 Kenmore Ct                          David Weyman Executor
5313 West Bellfort Street               Austin, TX 787031503                     105 Winnwood Rd
Houston, TX 77035                                                                Wimberly, TX 78676-5613




Estate Of Edward Daniel ORear           Estate Of Edythe Dockens                 Estate Of Eleanor Logan Brown
c/o Joann E Zuel Exec Of                Levy Proceeds Debbie L Dockens           c/o Nancy Philipson
Est ORear Edward Daniel Est Of          PO Box 219690                            1834 Pleasant Valley Rd
2420 Danbury Pl                         Kansas City, MO 64121                    Girard, OH 44420
Lawrence, KS 66049



Estate Of G H Kohler                    Estate Of George H Echols Jr             Estate Of George L Thomas
John Robert Kohler And Reba             Alpha A Echols Executor                  c/o Div Of Unclaimed Property
Kohler Executors                        Q530 Sun City Blvd Suite120              State Of California
7156 Royal Lane                         Pnb 213                                  PO Box 942850
Dallas, TX 75230                        Georgetown, TX 78633                     Sacramento, CA 94250-5875



Estate Of George Marshall Echols        Estate Of Gilbert Denman                 Estate Of Helen Marie Edmiston
Helen Sparrow Echols Ind Executrix      Attn Ricky Gross                         Sharon R Cole Exe
95 Silver Dollar Drive                  755 E Mulberry Ave Ste 400               4430 Running Pine
Breckenridge, CO 80424                  San Antonio, TX 78212                    League City, TX 77573




Estate Of Helen Mays Edmiston           Estate Of Helen Robinson Adams           Estate Of Hetty Richardson
Sharon E Cole Ind Executrix             Linda Griffin Adm                        Rosco Tinsley Ind Executor
4430 Running Pine                       c/o Robert E Shadoin Llc                 5000 Rosewood Lane
League City, TX 77573                   PO Box 782                               Longview, TX 756056198
                                        Ruston, LA 71273



Estate Of Homer Potter Jr               Estate Of Irene M Hernandez              Estate Of Jack Ruttenberg
Homer Allen Potter Iii Trustee          Norma Irene Hernandez Aguire             Hilda Ruttenberg Indp Exec
10627 Piping Rock Lane                  517 Merlin                               5813 Mt Rockwood Circle
Houston, TX 77042                       Laredo, TX 78041                         Waco, TX 76710
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Estate Of Jack Smyth Josey              Estate Of Jackie Deshazo               Estate Of James C Roark
Donna Pearson Josey Executrix           Wanda Deshazo Independent Executrix    James C Roark Jr Executor
2001 Kirby Drive Suite 1002             PO Box 111                             PO Box 733
Houston, TX 77019                       Leggett, TX 77350                      Sanderson, TX 79848




Estate Of James E Kemp DecD             Estate Of James M Noonan               Estate Of Jane C Crain
4625 Greenville Ave Suite 101           Lula Noonan Kevin Stoerner             Charles Z Crain Iii Ind Exec
Dallas, TX 75206-5034                   Shaan Novak Co Indep Exec              709 Lisa Drive
                                        603 Kings Mountain Dr                  Austin, TX 78733
                                        Longview, TX 75601



Estate Of Jb Stoddard                   Estate Of Jennie Mae Richardson        Estate Of Jerry Lee Newberry
4145 Travis St                          3935 Manzanita Drive                   Lee Ann Newberry Jones Exec
Suite 101                               San Diego, CA 92105                    4937 Swiss Avenue
Dallas, TX 75204                                                               Dallas, TX 75214




Estate Of Jimmy Royce Brunson           Estate Of Jo Aline Collins             Estate Of Joe P Pritchett
Julie Devin Exec                        c/o Beth Hostein                       Jana L Bickham Indpndt Exec
PO Box 303                              601 North Rio                          PO Box 6407
Bronte, TX 76933                        Fort Stockton, TX 79735                Corpus Christi, TX 78466




Estate Of John Elwood Jerabeck          Estate Of John Neill Cheatwood         Estate Of John Neilson
Suzanne Jerabeck Ind Executrix          292 David Rd                           Beverly A Neilson Personal Rep
3204 County Road 36                     Mineral, VA 23117-4604                 1190 North Laurel Glen Dr
Angleton, TX 77515                                                             Green Valley, AZ 85614




Estate Of John Turly Cordell            Estate Of Joseph E Moore               Estate Of Joyce Graham Roberts
Pcordell/K Meredith                     Patricia Ann Hughens Moore Executrix   Robert G Pugh Executor
2727 E 21st St Suite 41                 9665 Calliope Lane                     333 Texas Street Suite 2100
Tulsa, OK 74114                         Shreveport, LA 71115                   Shreveport, LA 71101




Estate Of Jr Broadbent                  Estate Of Julie S Mcinnis              Estate Of Leona Sylestine
PO Box 8627                             217 Bodine Drive                       Clem Sylestine Executor
Salt Lake City, UT 84108                Evanston, WY 82930                     15715 Hwy 190 East
                                                                               Livingston, TX 77351




Estate Of Leroy S Mahaney Jr            Estate Of Leycester Stanley            Estate Of Lillian K Wallace
c/o Linda Marie Mahaney Ind Ex          2958 Geddes Av                         Ann Wallace Rogers Mcgovney
6660 39Th Street                        Littleton, CO 80122                    Independent Executrix
Groves, TX 77619                                                               2902 Durban Dr
                                                                               Houston, TX 77043



Estate Of Lola Faye Hitt                Estate Of Louis A Lafon Jr             Estate Of Luther V Calhoun
2014 River Falls Drive                  Albert T Lowry Ind Executor            Allston Dupre Calhoun Iii Personal Rep
Kingwood, TX 77339                      2410 Bermuda Drive                     535 Broadwater Circle
                                        Laredo, TX 78045                       Anderson, SC 29626




Estate Of M W Vaughey And               Estate Of Maggie B Brewster            Estate Of Mamie L Sterling
Genevieve Vaughey                       Jackie Brewster Indp Exec              O L Robinson Et Al Co Adm
3670 Lakeland Lane                      4204 Pecan Ridge Crossing              First State Bank
Jackson, MS 39216                       Longview, TX 75605                     P O Drawer 579
                                                                               Carthage, TX 75633
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Estate Of Marian Bird                  Estate Of Marjorie Millard Mcmurrey   Estate Of Martha Moore Roath
Carter Marshall Bird Indp Exec         c/o Joseph M Mcmurrey                 Phillip C Roath Indp Executor
15909 Mc Norton                        Independent Co Executor               3300 Phaeton Court
Splendora, TX 77372                    PO Box 1779                           Plano, TX 75023
                                       Kilgore, TX 75663



Estate Of Mary B Russ                  Estate Of Mary Frazier                Estate Of Maurine Mankins
Roderick S Russ Iii William            Carolyn Frazier Personal Rep          Sandra Merchant Executrix
Burdette Russ As Co Executors          1920 N Royer Street                   246 Cr 4610
141 Summers Bay Drive                  Colorado Springs, CO 80907            Bogata, TX 75417
Ridgeland, MS 39157



Estate Of Maxie Hughes Wilson          Estate Of Mayde Kay Lowry             Estate Of Mrs B O Mehearg
c/o Flora J Wilson Ind Exec            Bryan Torrey Foreman Exec             c/o John Lively Indp Executor
3800 Paluxy Drive Suite 140            117 E Houston St                      201 Main Street Ste 1260
Tyler, TX 75703                        Tyler, TX 75702                       Fort Worth, TX 76102




Estate Of Nancy Smith Hurd Dc          Estate Of Natalie R Moore             Estate Of R A Guerra Alejandro Guerra
Broadway National Bank Agent           Charles Wilson Moore Jr               Las Diligencias 110
PO Box 17001                           Indp Executor                         Col Hacienda San Agustin Cp San Pedro
San Antonio, TX 78217                  7 Sugar Creek Place                   Garza Garcia Monterrey NL 66246
                                       Waco, TX 76712                        Mexico



Estate Of Richard A Steed              Estate Of Ronnie Gene Brown           Estate Of S A Packard
Gelasia Steed Executrix                c/o Joshua Eric Brown Executor        Frank A Packard Ind Executor
2421 West 7Th Street Suite 315         Gregg Cnty Prob Cse 2008 129P         PO Box 2987
Ft Worth, TX 76107                     193 Pr 1215                           Roswell, NM 88202-2987
                                       Gladewater, TX 75647



Estate Of Shannon J Macmahon           Estate Of Sidney Dworkin              Estate Of Sinecio Martinez
Michael A Macmahon Guardian            Doris R Dworkin Personal Rep          PO Box 1405
1333 Rose Drive                        2600 South Ocean Blvd 12F             Laredo, TX 78040
Alice, TX 78332                        Boca Raton, FL 33432




Estate Of Sj Barmore                   Estate Of Tex Ann Herrington          Estate Of Thomas Davidson Jr
Michael J Barmore                      PO Box 486                            Carolyn R Davidson Ind Admin
Testamentary Executor                  Anahua, TX 77514                      106 Montgomery Dr
204 New Prospect Rd                                                          Lafayette, LA 70506
Dubach, LA 71235



Estate Of Thomas Jack Norris           Estate Of Verna M Grevelle            Estate Of W A Barber
907 Norris Road                        C/O Ronald Morris Dunn Indp Ex        c/o Texas Comptroller Accounts
Choudrant, LA 71227                    8408 High Cliff Dr                    Unclaimed Property Division
                                       Fair Oaks Ranch, TX 78015             PO Box 12019
                                                                             Austin, TX 78711-2019



Estate Of W N Zinn                     Estate Of Wanda Joann White           Estate Of William C Morrow
R L Zinn Independent Executor          Margaret L Smith Personal Rep         3110 Gulf
3400 Bissonett Suite 250               5904 N Penn Ave 215B                  Midland, TX 79705
Houston, TX 77005                      Oklahoma City, OK 73112




Estate Of William E Andrau             Estate Of William E Hall Jr           Estate Of William G Helis
c/o Schweinle Parish Lowerre           c/o Virgil Lucille Hall Executrix     228 Saint Charles Ave Ste 912
1001 Fannin                            PO Box 50046                          New Orleans, LA 70130-2685
3800 First City Tower                  Austin, TX 78763
Houston, TX 77002
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Estate Of William M Collier               Estate Of William M Pinney Jr         Estate Of Wilma Raye Glover
Barbara E Collier Independent Executrix   C/O Jonh L Boudett                    19902 Gatling Ct
PO Box 220                                PO Box 188                            Katy, TX 77449-3315
Grand Saline, TX 75140                    San Anselmo, CA 94979-0188




Estate Oil Gas                            Estate Royalty Trust                  Esteban Diosdado Maria L Diosdado
4625 Greenville Avenue                    F/B/O James H Davis                   4811 South Fm 225
Suite 305                                 c/o E Jones                           Henderson, TX 75654
Dallas, TX 75206                          PO Box 271120
                                          Corpus Christi, TX 78427



Estel Henry Caron                         Estella Hill Hardyway                 Estella S Smith
212 Parkview                              1711 N Chautauqua Ave                 114 Park West Drive
Luling, TX 78648                          Wichita, KS 67214-2432                West Monroe, LA 71292




Estella Walker                            Estella Williams                      Estelle B Sharp Trust
East 47Th Street                          3019 South Blvd 112                   W B Sharp Tst Fbo E S Langham
Los Angeles, CA 90011                     Dallas, TX 75215-2354                 Houston Tst Co Ttee c/o Travis Prop Mgmt
                                                                                PO Box 56429
                                                                                Houston, TX 77256-6429



Estelle C Haefele                         Estelle Cameron Gardner               Estelle M Harrison
7000 Ranger Dr                            696 Spruce Ave                        5311 Timber Shade
Cheyenne, WY 82009                        Sharon, PA 16146                      Kingwood, TX 77345




Estelle R Mullikin Living Tst             Estelle R Wolf                        Estelle S Ellis Irrevocable Tr
Trust Management Services                 191 University Blvd 418               Farmers National Co Agent
Uscc Of Dallas Tx                         Denver, CO 80206                      PO Box 3480
PO Box 53025                                                                    Omaha, NE 68103
Lubbock, TX 79453-3025



Estelle Sloan Manfredi Trust              Estelle Tayloe Boyle Trust Fbo Ruth   Ester Holland Separate Prop
Georgia Sloane Roussos Ttee               Bank Of America Na Trustee            165 South 45Th Street
230 Poplar Ave                            PO Box 840738                         Richmond, CA 94805
Evesham, NJ 08053                         Dallas, TX 75284-0738




Ester Kay Phillips                        Ester Rhodes Jr A Single Man          Estes Express
1822 Timbercreek Drive                    PO Box 364                            1531 Binn Avenue
Garland, TX 75042                         Gibsland, LA 71028                    Wilmington, CA 90744




Estes Hospitality LLC                     Esther Allen King                     Esther B Holmes Family Ltd Partnership
Hampton Inn Of Rawlins Wyoming            2264 Texas Street                     Mary H Lillibridge Agent Aif
406 Airport Rd                            Arcadia, LA 71001                     4701 County Road 182
Rawlins, WY 82301                                                               Alvin, TX 77511




Esther C R Thompson Succession            Esther Chorney                        Esther Diane Miles
Debra Kay Thompson Ind Admin              PO Box 391                            3207 Stanolind Ave
7616 Peach Blossom Dr                     Casper, WY 82601                      Midland, TX 79705
Plano, TX 75025
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Esther Holley Welch                      Esther I Reynolds Minrl Rights LLC   Esther Kline Friedman
17528 Jayhawk Rd                         c/o Frost Bank Agt Acct Fc391        5602 San Felipe
Carthage, MO 64836-7283                  PO Box 1600                          Houston, TX 77056
                                         San Antonio, TX 78296




Esther Lewis Mcduff                      Esther Mae Hall Mumford              Esther R Evans
Charles Mcduff Poa                       1504 32nd Avenue South               PO Box 273
3806 Captain Cade Rd                     Seattle, WA 98144                    Cheyenne, WY 82001
Youngsville, LA 70592




Estill S Heyserjr Descendants            Estis Compression LLC                Estrella Wayne
I Limited Partnership                    545 Huey Lenard Loop                 935 Donna Dr
c/o Simpson Estates Inc                  West Monroe, LA 71292                Hermitage, PA 16148
30 N La Salle St Ste 1232
Chicago, IL 60602



Eta Solutions                            Eta66                                Etc Field Services LLC
PO Box 1324                              43468 Foxgrove Ct                    PO Box 209034
Bellaire, TX 77402                       Ashburn, VA 20147                    Dallas, TX 75320-9034




Etc Texas Pipeline Ltd                   Etchen Family LLC Louisiana          Etech Environmental Safety Solution I
800 E Sonterra Blvd Ste 400              c/o Laura A Gustavson Cpa            PO Box 62228
San Antonio, TX 78258-3941               PO Box 52006                         Midland, TX 79711-2228
                                         Shreveport, LA 71135-2006




Etech Environmental Safety Solutions     Ethel E Urbanic Supp Trust           Ethel Estvold Beckman
PO Box 62228                             c/o Dorothy E Sorg Ttee              567 N Marlborough Circle
Midland, TX 79711                        285 Crest Drive                      Shreveport, LA 71106
                                         Eugene, OR 97405




Ethel Gibson Holt                        Ethel Gray                           Ethel Green Banta
2149 Conyers Street                      122 Norfolk Place                    Hope Farm 147 Homochitto S
Covington, GA 30014                      Monroe, LA 71202                     Natchez, MS 39120




Ethel Harris                             Ethel Harris Palmore                 Ethel Hawkins
8832 Jamacha Rd Apt 9                    215 Madden Rd                        8077 Ulp St
Spring Valley, CA 91977-4130             Ruston, LA 71270                     Masury, OH 44438




Ethel Jenkins Brown                      Ethel L Quon Tr Of 1990              Ethel Lynn Poffinbarger
5315 Tamarindo Lane                      Lissa G Quon Ttee                    4129 Colina Trail
Elk Grove, CA 95758                      249 S Grand Oaks Ave                 Tyler, TX 75707
                                         Pasedena, CA 91170




Ethel M Willis                           Ethel Mae Warren                     Ethel Mathewes Cottrell
4421 Springdale Drive                    4130 Dacca Drive                     1600 Ellerbe Crossing
Los Angeles, CA 90043                    Houston, TX 77047                    Shreveport, LA 71115
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Ethel R Loomis Intervivos Tr               Ethel T Vinson Trust                      Ethel T Vinson Trust Fbo Bryan A Lawhon
Steven Shirley Loomis Succ                 Fbo Virginia L Park Tte                   6222 Holly Springs
Co Tr                                      3019 Hunts Point Rd                       Houston, TX 77057
PO Box 19333                               Hunts Point, WA 98004
Reno, NV 89511-1654



Ethel T Vinson Trust Fbo Harvin G Lawhon   Ethel T Weldman                           Ethel Turner Vinson Trust For J V Dabney
6222 Holly Springs                         2107 Essex St                             2200 Willowick Rd 14J
Houston, TX 77057                          Monroe, LA 71201                          Houston, TX 77027




Ethel V Skidmore Trust                     Ethel Walker Mullins                      Ethel Younger Flemon
Edward C Skidmore Sr Trustee               202 College Apt D                         PO Box 484
PO Box 1327                                Henderson, TX 75654                       Grambling, LA 71245
Ardmore, OK 73402




Etheldra A Turner                          Ethelene Younger Carter                   Ethelmae M Moore
418 Rose Circle Drive                      PO Box 18019                              3875 Line Ave Apt 147
Tyler, TX 757015349                        Los Angeles, CA 90018                     Shreveport, LA 71106




Ethen J Willis Jr                          Ethilene Y Carter Et Al                   Ethleen Walker
316 Mike Dr                                John Q Younger And Oscar Daniel Younger   c/o Mrs Norma Wilson
Patterson, LA 70392-4115                   3036 5Th Ave Zone 18                      1909 Glenhaven Street
                                           Los Angeles, CA 90052                     Arlington, TX 76010




Ethlyn Roberts Wilkinson                   Ethos Energy                              Ethos Energy
Jerelyn Wilkinson Cotton                   Brookhollow Central I                     PO Box 203526
PO Box 5137                                2800 North Loop West                      Lockbox 203526
Anaheim, CA 92814                          Houston, TX 77092                         Dallas, TX 75320-3526




Ethosenergy Power Plant Services LLC       Ethyl J Grupe Stevens                     Etman John Lewis
PO Box 932475                              c/o Texas State Treasury                  2008 Meridian Way
Atlanta, GA 31193-2475                     Unclaimed Property Division               Richardson, TX 75080
                                           PO Box 12019 Capitol Station
                                           Austin, TX 78711-2019



Etmc Olympic Center                        Etoco Lp                                  Etos Inc
PO Box 7530                                1600 Smith St Suite 3910                  PO Box 288
Tyler, TX 75711                            Houston, TX 77002-7357                    New London, TX 75682




Etram Interests LLC                        Ets Oilfield Services Lp                  Etta B Griffin Garrett
PO Box 1133                                PO Box 261080                             360 East 42nd Place
League City, TX 77574                      Corpus Christi, TX 78426-1080             Los Angeles, CA 90011




Etta Jean Adams                            Etta L Burgess                            Etta Louise Goree Dixon
5565 Ackerfield 401                        PO Box 809                                4801 Dunkirk Avenue
Long Beach, CA 90805                       Elkhart, TX 75839                         Oakland, CA 94605
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Etta Mae Thompson                       Etta Mizell                    Etta R Andrews Decd Esch
Individually As Usufructuary            PO Box 994                     301 E Arizona Ave
3980 Old Sterlington Rd                 Hallsville, TX 75650           Ruston, LA 71270
Apt 1806
Monroe, LA 71203



Ettelene Thompson Robinson              Etx I LLC                      Eubanks Oil And Gas LLC
2815 Arranis Ave                        500 Dallas Street Suite 1800   2901 Ferndale St
Selma, CA 93662                         Houston, TX 77002              Houston, TX 77098-1117




Eubel Brady And Suttman Asset           Eugene A OBrien                Eugene A Waterstreet
10100 Innovation Dr Suite 410           5461 West Kent Place           45W569 Ellithorpe Rd
Dayton, OH 45342                        Denver, CO 80235-2972          Hampshire, IL 60140




Eugene Alston Smitherman                Eugene Bragg Clark Iii         Eugene Brooks Quigley Jr
55 E Broad Oaks St                      PO Box 4604                    2811 Mcgee Ct
Houston, TX 77056                       Glen Allen, VA 23058-4604      Thompsons Station, TN 37179




Eugene D Blount                         Eugene D Broussard             Eugene E Peckham
PO Box 430                              603 Astor Place Dr             1 Stonecrest Ct
Joaquin, TX 75954                       New Iberia, LA 70563           Binghamton, NY 13903




Eugene Everett Clark Trust              Eugene F Stewart               Eugene Hall Iii
Everett L Clark Jr Trustee              7842 Dixie Blanchard Rd        5901 San Marino Dr
1210 Garner Field Road                  Shreveport, LA 71107           Rowlett, TX 74136
Uvalde, TX 78801




Eugene Holman Jr                        Eugene L Madruga               Eugene L Madruga Life Estate
PO Box 1477                             927 Augustine Ave              1057 N Williams St
Sun Valley, ID 83353-1477               Coos Bay, OR 97420-3076        Hanford, CA 93230




Eugene Leslie Wesch                     Eugene Luptak                  Eugene Mcelvaney Jr
4170 Cement Valley Road                 4306 Rt 31                     859 Petroleum Bldg
Midlothian, TX 76065                    Ringwood, IL 60072             Roswell, NM 88203




Eugene Mcelvaney Jr Est                 Eugene Mcelvaney Tr Uw         Eugene Michael Willette
Sue Teague Personal Rep                 William K Mcelvaney Fbo        PO Box 780578
1602 S Kentucky Ave                     Bank Of America Na Ttee        San Antonio, TX 78278-0578
Roswell, NM 88203                       PO Box 840738
                                        Dallas, TX 75284



Eugene O Fielder                        Eugene P St Clair Trustee      Eugene Scott
9600 Winding Hollow                     PO Box 3516                    c/o Jacqueline Medford
Oklahoma City, OK 73151                 Pinehurst, NC 28374            306 Bissonet Ave
                                                                       Dallas, TX 75217
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Eugene Wayne Jackson Effie J Jackson    Eugene Williams                  Eugene Wilson
308 Gatley Street                       1904 White Rose Lane             c/o Lillian Wilson
West Monroe, LA 71292                   Carrolton, TX 75007              Rte 2 Box 225
                                                                         Joaquin, TX 75954




Eugenia Bazer Estate                    Eugenia H Smith Tstmntry Tr      Eugenia Kay Rodman
Jerry Pennell Bazer Ind Exec            c/o Argent Trust Company Of La   1925 S Clinton Ave
540 W Hayden St                         PO Box 1410                      Tyler, TX 75701
Carthage, TX 75633-2943                 Ruston, LA 71273




Eugenia Key Son Tr                      Euin Samuel Sandusky             Eula H Beck
William O Key Ttee                      112 W 9 St                       PO Box 790
315 N Broadway Ste 503                  Coal Valley, IL 61240            Killeen, TX 76540
Tyler, TX 75702




Eula Henderson                          Eula Jackson                     Eula M Bledsoe
PO Box 36                               206 Louise Street                PO Box 2
Arlington, KS 67514                     Bastrop, LA 71220                Oakville, TX 78060




Eula M Bridges White                    Eula M Futrell Et Ux             Eula Mae Johnson Estate
5084 Silver Reef Dr                     C E Futrell                      c/o Texas State Treasury
Fremont, CA 94538-1851                  391 Brown Rd                     Unclaimed Property Division
                                        Quitman, LA 71268                PO Box 12019
                                                                         Austin, TX 78711-2019



Eula Mae Malone                         Eula Mae Milam                   Eula Mae Moats Nickelson
263 Houston Rd                          158 South Chalk Street           PO Box 222
Saline, LA 71070                        Joaquin, TX 75954                Arcadia, LA 71001-0222




Eula Mae Ward James                     Eula May Johnson Trust 661       Eula May Johnson Trust 661
2309 South 12Th Street                  c/o Bank Of America Trustee      c/o Bank Of America Trustee
Longview, TX 75603                      PO Box 840738                    PO Box 832407
                                        Dallas, TX 75284-0738            Dallas, TX 75283-2407




Eula May Johnson Trust 661              Eula Pearl Gholston Brothers     Eula Sammons Battle
c/o Bank Of America Trustee             412 Melvyn Drive                 1801 Big Cove Road Se
PO Box 830308                           Monroe, LA 71203                 Huntsville, AL 35801
Dallas, TX 75283-0308




Eula Younger Owens                      Eulalia Gray Donald              Eunice B Stephens
PO Box 555                              757 Jeanette                     Sandra Stephens Schwind Poa
Grambling, LA 71245                     Abilene, TX 79602                12529 White Oak Drive
                                                                         Burleson, TX 76028-3251




Eunice Drier                            Eunice Freeman King              Eunice Harrison Perry
1908 Stratford Dr                       201 Blue Gable Road              499 Scott Road
Garland, TX 75041                       Hattiesburg, MS 39401            Ruston, LA 71270
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Eunice Jostes                           Eunice Kellough                  Eunice Pump Supply LLC
1000 Grand Blvd Rm 1106                 5401 Emerald Park Blvd           PO Box 1468
Boerne, TX 78006-9304                   Arlington, TX 76017              Eunice, NM 88231




Eunice Ribeiro Thomas By And            Eunice Stevens Estate            Eunice Wilkerson Harris
Through Her Attorney In Fact            Texas Bank Trust Co Admin        3801 Milton Street
Sandy M Dobbins                         C/O Trust Division               Shreveport, LA 71109
13315 Brandywyne Court                  PO Box 2749
Houston, TX 77077                       Longview, TX 75606



Eura Lee Isley                          Eureka Cemetery Association      Eureka Partners L P
PO Box 26                               Robert Boyd Vice President       PO Box 472098
Powers, OR 974550026                    900 Se Cr 2220                   Garland, TX 75047
                                        Corsicana, TX 75109




Eurillia Patricia Cameron King Estate   Euroclear Bank Sa                Eurofins Calscience Inc
4823 Sea Breeze                         1 Boulevard du Roi Albert II     7440 Lincoln Way
San Antonio, TX 78220                   1210 Brussels                    Garden Grove, CA 92841-1427
                                        Belgium




Eustace H Winn                          EV Energy Partners LP            Ev Fleming Enterprises LLC
1111 E Gamwyn Drive                     1001 Fannin Street Suite 800     6609 W Goforth Rd
Greenville, MS 38701                    Houston, TX 77002                Kilgore, TX 75662




Ev Lutheran Good Samaritan Soc          Ev Properties Lp                 Eva Bell Deceased
2101 South Garfield Avenue              Dept 8572 PO Box 4346            63 Cordova Drive
Loveland, CO 80537                      Houston, TX 77210                San Anselmo, CA 94960




Eva C Averett                           Eva Coker Tullis                 Eva Cox Singleton Hammons
PO Box 230                              Box 433                          483 Salem Rd
Logansport, LA 71049-0230               Three Rivers, TX 78071           Dubach, LA 71235-2701




Eva Crane Kerford                       Eva Dell Steele                  Eva Elise Weinstein
417 E 75Th St                           202 White Columns Drive          PO Box 576
Kansas City, MO 64131                   West Monroe, LA 71291            Hunt, TX 78024




Eva Elzen Griffith Succession           Eva Evans Hardy                  Eva Frances Persons
PO Box 554                              848 Edgewood Dr                  3100 Camelot Dr
Minden, LA 71058                        Homer, LA 71040                  Bryan, TX 77802




Eva G Almaguer                          Eva G De Guerra                  Eva Gay Pendleton
1803 N 38Th St                          Attn Mail Teller Acct 40 208 7   3184 Nw Valle Vista Ter
Killeen, TX 76543                       1100 Matamoros                   Portland, OR 972103353
                                        Laredo, TX 78040
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Eva Gutierrez                            Eva Ham                              Eva Hecht
2403 N 10Th Street Suite B               PO Box 176                           6302 E Radcliff Ave
Pmb 145                                  Laneville, TX 75667                  Englewood, CO 80111
Mc Allen, TX 78501




Eva Jean Blount                          Eva Jo Mcgrede Lupton And Thomas H   Eva Joe Mcgrede Lupton
PO Box 1227                              110 Reveille Rd                      110 Reveille Road
Longview, TX 75606                       Austin, TX 78746                     Austin, TX 78746




Eva Laura G De Moraga                    Eva Lord Cook                        Eva Macheck
Union National Bank Of Laredo            21903 West 57Th Terrace              443 S Waiola
1100 Matamoros                           Shawnee, KS 66226                    La Grange, IL 60525
Laredo, TX 78040




Eva Mae Douglas Joe                      Eva Myrl Belcher                     Eva Oil Gas LLC
Rt 2 Box 11                              438 Kennie Rd                        6302 E Radcliffe Ave
Simsboro, LA 71275                       Shreveport, LA 71106                 Englewood, CO 80111




Eva Pearl Jackson                        Eva R Borrego                        Eva Ruth Kerley
639 Hwy 545                              Address Redacted                     7530 University Drive
Dubach, LA 71235                                                              Shreveport, LA 711055421




Eva Ruth Mccan                           Eva Stuart Campbell                  Evadne Baxter Salzar
18802 Oak Bower Dr                       4016 Spring Branch Drive             710 E Strong Pkwy
Humble, TX 77346                         Ft Worth, TX 76116                   Grand Prairie, TX 75050




Evaleen L Towery                         Evalyn Durham                        Evalyn Patterson
4902 Beechknoll Ln                       4599 Cr 347                          PO Box 2690
Katy, TX 77449                           Brazoria, TX 77422                   Cheyenne, WY 82003-2690




Evan B Shelan And Debra A Shelan         Evan Dave Lincove                    Evan E Rogers
1401 Meandering Way                      1900 South Rd                        12090 Ellerse Road
Longview, TX 75604                       Baltimore, MD 21209-4508             Shreveport, LA 71115




Evan Eugene Allen                        Evan Neal Hardy                      Evanell Bolding Estate
Lisa A Best Power Of Attorney            606 Tillman St                       7206 Danwood
1997 Atkins Road                         Mindmen, LA 71055                    Austin, TX 78759
Ruston, LA 71270




Evangeline Bank Trust Co                 Evangeline Mamon Williams            Evangeline Parr Cadena
3700 Jackson St 100                      PO Box 182                           PO Box 163
Alexandria, LA 71303                     Jonesboro, LA 71251                  San Diego, TX 78384
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Evans Family Trust                        Evans Hydro Inc                Evans Jeanette Tompkins
Charles E Evans Trustee                   18128 Santa Fe Ave             5409 Fm 124 West
355 Westmoreland Dr                       Rancho Dominguez, CA 90221     Beckville, TX 75631
Richland, WA 99354




Evans Minerals LLC                        Evans Morgan LLC               Evans Oil Gas LLC
PO Box 325                                25377 Malibu Rd                1513 E Old Shakopee Rd
Franklin, LA 70538                        Malibu, CA 90265               Bloomington, MN 55425




Evans Rentals Inc                         Evans Robert                   Eve E Ezell
PO Box 80397                              920 Pierremont                 10000 Manor Place
Lafayette, LA 70598                       Ste 210                        Fairfax, VA 22032
                                          Shreveport, LA 71106




Evelyn Amanda Key                         Evelyn Ann Mcelreath           Evelyn B Summers
c/o James Bailey Kee Jr                   PO Box 99084                   120 Canterbury Ln
1654 Knobhill Drive                       Fort Worth, TX 76199           Laredo, TX 78041
Brownsville, TX 78520




Evelyn Bain Craig                         Evelyn Brown                   Evelyn C Absher Trust
1011 South Main                           2013 Novel Dr                  c/o J Bradford Camp Attorney At Law
Henderson, TX 75654                       Garland, TX 75040              7898 Broadway Suite 110
                                                                         San Antonio, TX 78209




Evelyn Casey Wiseman Williams             Evelyn Cecil Smith Estate      Evelyn Clay OHara
973 Altamont Road                         Jerry Wayne Smith Executor     c/o Texas State Treasury
Greenville, SC 29609                      5601 Fm 1844                   Unclaimed Property Division
                                          Gladewater, TX 75647-5836      PO Box 12019
                                                                         Austin, TX 78711



Evelyn Dean Stevens                       Evelyn Dianne Wickliffe        Evelyn Faye Dorman Life Estate
1704 Eagle Drive                          212 Red Bud Street             c/o Jance Turner
West Memphis, AR 72301                    Ferris, TX 75125               26450 Ranch Road 12
                                                                         Dripping Spgs, TX 78620




Evelyn Felder                             Evelyn Gray Davis              Evelyn Griffith
43 Broome Ave                             404 N 7Th St                   Rt 1 Box 93
Atlantic Beach, NY 11509-1215             Homer, LA 71040                Gary, TX 75643




Evelyn Hunt Blakely                       Evelyn J Armstrong             Evelyn J Florey
1277 Victory Ln                           2609 Woodside Drive            2305 Wicklow Dr
Kerrville, TX 78028-2777                  Arlington, TX 76016            Pearland, TX 775815155




Evelyn Jackson Devine                     Evelyn Kidd Foster             Evelyn L Johnson
1560 Warwick Dr                           14155 Fayridge Drive           Box 359
Lancaster, TX 75134                       Apartment 712                  Portersville, PA 16051
                                          Houston, TX 77057
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Evelyn L Ponder Danny J Ponder And      Evelyn Ladean Holland Wilson          Evelyn Lamance
Kevin L Ponder                          7342 Hwy 79 South                     115 Natchez Road
803 Jack Court                          Henderson, TX 75654                   Pottsboro, TX 75076
Longview, TX 75601




Evelyn Levingston Sep Prop              Evelyn Levingston Willie Levingston   Evelyn M Minear
828 Best Rd                             828 Best Road                         c/o James R Tom Cpa
Simsboro, LA 71275                      Simsboro, LA 71275                    PO Box 1528
                                                                              Boerne, TX 78006




Evelyn M Nance                          Evelyn Marie Pipes Gilbert            Evelyn Meisenheimer Wells
604 Verna Lane                          517 Tupelo Dr                         PO Box 1425
Denison, TX 75020                       Bossier City, LA 71111                Marshall, TX 75671




Evelyn Nelson Davis                     Evelyn Northcutt Hustmyre             Evelyn O Olson
333 Lee Dr Apt G34                      5550 Harvest Hill Rd Apt W210         1885 Co Rd F E
Baton Rouge, LA 70808-0925              Dallas, TX 75230                      White Bear Lake, MN 55110




Evelyn Pearce Deceased 2002             Evelyn Ponder                         Evelyn Ponder Stelle
12 Lynda Street                         2223 Woodgrove Ln                     Valley Independent Bank
Texarkana, TX 75503-2607                Longview, TX 75601                    1491 Sixth Street
                                                                              Coachella, CA 92236




Evelyn Pool                             Evelyn R Seals                        Evelyn Rhodes
180 Pr 1125                             5 Country Club Place                  1235 Wardmont
Gilmer, TX 75645                        Beeville, TX 78102                    Houston, TX 77037




Evelyn Rubinstein                       Evelyn V Scoggins                     Evelyn Wallin
2330 Holmes Road                        1211 Veterans Drive                   PO Box 483
Houston, TX 77051                       Danielsville, GA 306335725            Mt Jewell, PA 16740




Evelyn Whitehurst                       Evelyn Wilder Gray                    Evelyn Wisda
2486 Lansing Switch Road                4161 Oak Street                       650 S Indian Hill Blvd
Longview, TX 75602                      Palm Beach Gardens, FL 33418          Claremont, CA 91711




Evelyn Young Deen                       Evelyne Mckneely Young                Ever Andresen
1403 Hwy 160                            936 Oneonta Street                    400 North First Street
Benton, LA 71006                        Shreveport, LA 71106                  Parkston, SD 57366




Everbank                                Evercore Group LLC                    Everett Allen Edge
501 Riverside Ave                       c/o A/P Department                    1454 Ranch Road
Jacksonville, FL 32202                  PO Box 5319                           Whitesboro, TX 76273
                                        New York, NY 10150
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Everett Brown Thompson                 Everett Bryson Simonds          Everett D Sampson
Route 3 Box 745                        7024 Briar Cove Dr              124 W Ring Factory Rd
Livingston, TX 77351                   Dallas, TX 75254                Bel Air, MD 21014-5304




Everett E Culver                       Everett H Tingle Estate         Everett Johnson
714 Wood Street                        Edwin W Baker Administrator     720 S Colorado Blvd Ste 462 S
Port Neches, TX 77651                  402 N Main St                   Denver, CO 80246
                                       Mcallen, TX 78501




Everett L Clark Jr                     Everett Lee Edwards Jr          Everett Pinkston
1210 Garner Field Road                 167 Slack St                    1330 Ironwood Road
Uvalde, TX 78801                       Sarepta, LA 71071-2560          Gilmer, TX 75644




Everett R Jones Jr                     Evergreen Federal Bank          Evergreen Working Capital LLC
8080 North Central Expwy 1420          Aba 323270274                   Fbo Cnc Oilfield Services Llc
Dallas, TX 75206                       969 SE 6th St                   PO Box 3729
                                       Grants Pass, OR 97526           Houma, LA 70361-3729




Evergreen Working Capital LLC          Evergreen Working Capital LLC   Everstar Energy LLC
Fbo Ventech Products Inc               PO Box 3729                     32 Tahoe Shores Ct
PO Box 3729                            Fbo Spt Energy Group Llc        Humble, TX 77346-2587
Houma, LA 70361-3729                   Houma, LA 70361-3729




Everyones Federal Credit Union         Eves Holland Separate Prop      Evie L Johnson
505 E Route 66 Blvd                    1500 Maine Avenue               4852 Linscott Pl 4
PO Box 1023                            Richmond, CA 94804              Los Angeles, CA 90016
Tucumari, NM 88401




Evolution Markets Inc                  Evolution Markets Inc           Evonne Young Thomson
10 Bank Street                         10 Bank Street Suite 410        3420 Primrose Ln
Ste 410                                White Plains, NY 10606          Bedford, TX 76021
White Plains, NY 10606




Ew Blanch Sr Rev Living Tr             Ew Crawford Iii                 Ewing Diversified Investments LLC
c/o Jeffrey Tempas                     PO Box 66                       PO Box 161061
5951 S Middlefield Rd Ste 100          Timpson, TX 75975               Austin, TX 78716
Littleton, CO 80123




Ewing Mcclelland                       Ewing Minerals LLC              Ewing Timber Inc
c/o Madison Royalty Management Llc     10925 Belle Cour Way            PO Box 657
402 Gammon Place                       Shreveport, LA 71106            Jonesboro, LA 71251
Ste 200
Madison, WI 53719



Ewright Calk Gst Exmpt M Tr            Exama Oil Company               Excavating Rental By Jt Inc
Elaine Wright Calk Trustee             11212 Memorial Dr               PO Box 144
1138 Hillslope Pl                      Houston, TX 77024               Memphis, TX 79245-0144
Los Altos, CA 94024
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Excavating Rentals By Jt Inc            Exceed Oilfield Service Midland LLC   Excel Aircraft LLC Dba Excel Mulching
PO Box 329                              12412 Hwy 191                         2228 Se Loop
Andrews, TX 79714                       Midland, TX 79707                     Carthage, TX 75633




Excel Operating Corp                    Excelsior Royalties                   Exchange Bank
28368 Bill Owens Pkwy                   Mark A Schauer Proprietor             545 Fourth St
Longview, TX 75605-2102                 PO Box 620126                         Santa Rosa, CA 95401
                                        Littleton, CO 80162




Exchange Traded Concepts LLC            Exclusive Inc                         Exco Operating Company Lp
3555 NW 58th Street Suite 410           4205 Jaime Zapata Memorial Hwy        12377 Merit Dr
Oklahoma City, OK 73112                 Ste C2A                               Ste 1700
                                        Laredo, TX 78043                      Dallas, TX 75251




Exco Patners Operating Ptrshp           Exco Production Company Lp            Exco Resources
12377 Merit Drive                       PO Box 974931                         12377 Merit Drive
1700 Lb 82                              Dallas, TX 75397-4931                 1700 Lb 82
Dallas, TX 75251                                                              Dallas, TX 75251




Executive Office Supply                 Executive Specialties                 Exerb Bea Randall
3312 Santa Ursula Ave                   16421 Barnstable Cir                  502 Auburn Avenue
Laredo, TX 78040                        Huntington Beach, CA 92649            Monroe, LA 71201




Exhibit Network                         Exie Hogan Goss                       Exotic Oil Gas LLC
3434 Lang Road                          226 West 68Th St                      1 Indian Springs Road
Houston, TX 77092                       Shreveport, LA 71106                  Indiana, PA 15701




Exploration Geophysics Inc              Explornation Energy Inc               Express Energy Services Operating Lp
310 W Wall                              PO Box 131420                         PO Box 843971
Suite 700                               Spring, TX 77393                      Dallas, TX 75284
Midland, TX 79701




Express Hotshot LLC                     Express Personnel Services            Express Services Inc
8160 Bull Run                           PO Box 841634                         PO Box 841634
Evansville, WY 82636                    Dallas, TX 75284-1634                 Dallas, TX 75284-1634




Express Technology Inc                  Expro Americas LLC                    Expro Americas LLC
8100 Falcon Blvd                        Lynn Hebert Or Randy Dehart           Dept 2080
Fairhope, AL 36532                      738 Hwy 6 S Suite 1000                PO Box 122080
                                        Houston, TX 77079                     Dallas, TX 75312-2080




Exserv Inc                              Exterran Energy Solutions Lp          Exterran Partners Inc
3225 Newhaven Drive                     PO Box 205805                         PO Box 201160
Highland Village, TX 75077              Dallas, TX 75320-5805                 Dallas, TX 75320-1160
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Exterran Us Services Opco L P           Extraco Banks                        Extreme Climbing
Bill Reis                               1700 N Valley Mills Dr               5217 Beech Street
PO Box 670089                           Waco, TX 76710                       Bellaire, TX 77401
Houston, TX 77267




Exxon Company Usa Accounts Receivable   Exxon Mobil Corporation              Exxonmobil Corporation
c/o Xto Energy Inc                      800 Bell Street Suite 3771E          PO Box 951152
810 Houston St                          Houston, TX 77002                    Dallas, TX 75395-1152
Fort Worth, TX 76102




Exxonmobil Gas Power Marketing          Exxonmobil Production Company        Eyb Land Minerals Lp
PO Box 951027                           PO Box 951436                        D/B/A Brooks Land Minerals
Dallas, TX 75395-1027                   Dallas, TX 75395-1436                1565 Marcello Dr
                                                                             Melbourne, FL 32934




Eyleen Crain                            Ezekiel Wallace                      F Baron Craft
617 Country Club Dr                     3134 Mt Miguel Dr                    13619 Indian Creek Rd
Heath, TX 75032                         San Diego, CA 92139                  Houston, TX 77079




F Bruce Hock                            F C Leffingwell                      F C Leffingwell
416 Travis Ste 812                      Dorothy Welch Leffingwell            PO Box 1257
Shreveport, LA 71101                    21453 Simmons Rd                     Thibodaux, LA 70301
                                        Franklinton, LA 70438-3135




F C Leffingwell Jr                      F Carrington Weems                   F Carrington Weems Trust
1952 Ormond Blvd Apt B 117              1603 West Clay Street                Mineral Management
Destrehan, LA 70047                     Houston, TX 77019                    PO Box 201884
                                                                             Houston, TX 77216




F Don Gunsaulllus                       F F Hunters Services Gulf Coast Lp   F Guy Youngblood
4010 Riverview Rd                       PO Box 739                           1515 Easy Rd
Riverton, WY 82501                      Friendswood, TX 77549-0739           Helena, MT 59602-6604




F H Markey Ii                           F Howard Walsh Jr                    F J Bradshaw
4415 Hollow Oak 200                     Operating Company Inc                337 Pierpont Ave
Dallas, TX 75287                        500 W 7Th St Unit 27                 Salt Lake City, UT 84101
                                        Fort Worth, TX 76102




F James Foster Et Ux                    F Joab Alexander Est Tr              F Keith Mathewes
Doris Davidson Foster                   Katheryn Alexander                   408 E Kentucky
205 Woodvale                            Kris E Mcdermett King Cottees        Ruston, LA 71270
Lafayette, LA 70503                     784 Kendall Ct
                                        Lakewood, CO 80214



F Lane Sylvia Ann Mitchell              F M Bank                             F M Welding Inc
PO Box 376                              PO Box 1370                          608 S Mississippi
Shreveport, LA 71162                    Long Beach, CA 90801                 Big Lake, TX 76392
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F S Barringer Jr                         F S Prestress LLC              F Sherman Yeiter Iii
3009 Mills Lane                          PO Box 15969                   11 Palomino Trail
Monroe, LA 71201                         Hattiesburg, MS 39404-5969     Sewell, NJ 08080




F T Coleman                              F Terrell Kalmbach Jr          F Wayne Wilson
Rr 2 Box 87                              373 Winchetser Cir             3568 Fm 2562
Dubach, LA 71235                         Mandeville, LA 70448           Anderson, TX 77830




FA Roustabout Service                    Fabsco Fin Air LLC             Fabsco Shell Tube LLC
PO Box 826                               PO Box 988                     PO Box 988
Kermit, TX 79745                         Sapulpa, OK 74067              Sapulpa, OK 74067-0988




Facet                                    Facility Solutions Group       Facts Inc Hydro Testing
PO Box 132097                            PO Box 971487                  PO Box 2019
Houston, TX 77219                        Dallas, TX 75397-1487          Riverton, WY 82501




Fader Family LLC                         Fadrique Tr L Fadrique Bever   Fae Garrett Adams
c/o D Michael Sapp Jr                    St Germain FL Hill Ttees       1014 East Jefferson
9834 Michaels Way                        PO Box 62208                   Fort Worth, TX 76104
Ellicott City, MD 21042                  Houston, TX 77205




Faegre Baker Daniels                     Fagan Patricia                 Fair Butler Digby
3200 Wells Fargo Center                  3535 S Zunis Ct                1824 Main St
1700 Lincoln Street                      Tulsa, OK 74105                Little Rock, AR 72206
Denver, CO 80203-4532




Fair Lena Green                          Fair Oil Ltd                   Fairess H Mccullen
900 Ridge Dr                             PO Box 689                     2603 Lakeway Dr
West Monroe, LA 71292                    Tyler, TX 75710-0689           Shreveport, LA 71109




Fairman Group Family Office              Fairplay Exploration Company   Fairway Ford
Attn Michael Lomas                       312 West Sabine Street         301 Hwy 79 South
899 Cassatt Rd Ste 115                   Carthage, TX 75633             Henderson, TX 75654
Berwyn, PA 19312




Fairway Oil Gas Co                       Fairway Transport LLC          Fairy Anderson Oliver
PO Box 845                               PO Box 11707                   9054 Fm 699
Sparta, NJ 07871                         New Iberia, LA 70562           Joaquin, TX 75954




Fairy Bell J Henderson                   Fairy Oliver                   Fairy W Sayers
2133 Carver                              9054 Fm 699                    3406 St Helens
Shreveport, LA 71103                     Joaquin, TX 75954              Shreveport, LA 71108
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Fait Family Partnership                 Faith Anne Hurst               Faith Drilling LLC
139 West Chestnut Street                13640 Peach St                 PO Box 1378
Burlington, WI 53105                    Southgate, MI 48195-1320       Seminole, TX 79360




Faith Edelmayer                         Faith Elaine Waters Clark      Faith Fayman Strong Trust
424 B Street                            2585 El Portal Dr Unit B       Community Bank Of Raymore
Rock Springs, WY 82901                  San Pablo, CA 94806            PO Box 200
                                                                       Raymore, MO 64083-0200




Falcon Document Solutions Lp            Falcon Energy Services         Falcon International Bank
301 Commerce Street                     PO Box 1118                    Attn Victor Garcia Vp
Suite 240                               Levelland, TX 79336            5219 Mcpherson Road
Fort Worth, TX 76102                                                   Laredo, TX 78041




Falcon Litgation Solutions              Falcon Resources Inc           Falcon Tank Rental LLC
2747 Airport Frwy                       PO Box 2640                    PO Box 1410
Fort Worth, TX 76111                    Kilgore, TX 75663              Levelland, TX 79336




Falcon Technologies Services Inc        Falu Fuller Hutson Trust       Fam Trt Buck Stanley Rev Trt
PO Box 830                              J Roy Burroughs Trustee        2/07/84 Rupert Stanley Carrie
Midland, TX 79702                       920 Pierremont Rd Suite 210    38021 Fawn Meadows Trl
                                        Shreveport, LA 711062093       Elizabeth, CO 80107




Family Adventure Recreational           Family Bond Holdings Ltd       Family Credit Shelter Tr Under
Ministry Inc                            Louise Bond Jordan Mgr         James D Jackson Tr Agm
A Colorado Non Profit Org               PO Box 28885                   Bank Of America Na Trustee
9620 Chipita Park Rd                    Austin, TX 757558885           PO Box 840738
Chipita Park, CO 80809                                                 Dallas, TX 75284-0738



Family Tree Oil And Gas Corporation     Fancee W Barfield              Fanna Lou Morris Jones Deleano
2150 W 29Th Avenue Suite 500            34 West Eden Elm Circle        PO Box 18336
Denver, CO 80211                        The Woodlands, TX 77381        Fountain Hills, AZ 85269




Fannie And Stephen Kahn                 Fannie Anderson                Fannie Barnhart
Charitable Foundation                   14003 South Nestor Ave         229 W 118Th Pl
C/O Bank Of America Na                  Compton, CA 90222              Los Angeles, CA 90061
PO Box 840738
Dallas, TX 75284-0738



Fannie Bell Butcher                     Fannie Cordelia Mullis         Fannie Cottonham Tobin
432 Stege Ave                           c/o Collin Underwood           322 Six Mile Road
Richmond, CA 94804                      123Rd District Court           Bienville, LA 71008
                                        PO Box 147
                                        Carthage, TX 75633



Fannie Dee Shaver                       Fannie Jenkins                 Fannie Lester Deceased
602 Hartsfield St                       PO Box 515                     c/o Willie F Lester
Mansfield, LA 71052                     Gibsland, LA 71028             4004 Orlando Springs
                                                                       Fort Worth, TX 76123
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Fannie M Richardson                     Fannie Mae Jones                 Fannie Merkel
4371 Talley Road                        PO Box 5258                      2050 Garden Springs Dr
Longview, TX 75602                      Longview, TX 75608               Lexington, KY 40504




Fannie R Gray                           Fannie Ruth Gray Estate          Fannie W Smith
c/o Ray Wood                            2325 Oak Alley                   3122 Gracefield Road
PO Box 164310                           Tyler, TX 75703                  Apt Ct 303
Austin, TX 78716                                                         Silver Spring, MD 20904




Fannie Watson                           Fannie Williams                  Fao Frances E Fort
3295 Hwy 84 E                           928 Patty Cove                   c/o Texas State Treasury
Tenaha, TX 75974                        La Vergne, TN 37086              Unclaimed Property Division
                                                                         PO Box 12019
                                                                         Austin, TX 78711-2019



Faolurline Hall Stevens                 Far West Capital/ Houston Insp   Far West Mobile Homes Inc
James G Stevens Jr                      PO Box 30317                     Aka Richard Rogers
5103 Estes Parkway                      Fbo Houston Inspection Field     4700 Cypress St
Longview, TX 756039448                  Austin, TX 78755                 West Monroe, LA 71291




Farish Minerals LLC                     Farm Credit Bank Of Texas        Farm Valley
c/o Travis Property Management          6210 Hwy 290East                 Overland Express
PO Box 56429                            Austin, TX 78723                 16708 Cr 2203
Houston, TX 77256                                                        Arp, TX 75750




Farmer Family Trust                     Farmers Bank Trust               Farmers Merchants Natl Bank
Leslie F Linda J Trustees               521 E Page Ave                   120 West St Louis Street
2241 Mountain View Dr                   Malvern, AR 72104                PO Box 309
Hurst, TX 76054                                                          Nashville, IL 62263




Farmers National Bank                   Farmers State Bank               Farney Daniels Pc Iolta
20 S Broad Street                       131 Tower Park Drive suite 100   800 S Austin Avenue
Canfield, OH 44406                      Waterloo, IA 50701               Suite 200
                                                                         Georgetown, TX 78626




Farrell L Dorsey                        Farrington Energy Ltd            Farris Enterprises Inc
1415 Shawnee Trail                      3415 Fry Ave                     650 W Parkridge Ave
Henderson, TX 75652                     Tyler, TX 75701                  Norco, CA 92860




Farron Lee Cain                         Farwest Corrosion Control Co     Fasb
PO Box 747                              12029 Regentview Ave             PO Box 418272
Hallsville, TX 75650                    Downey, CA 90241                 Boston, MA 02241-8272




Fasken Oil Ranch                        Fasline Services Inc             Fastenal Company
6101 Holiday Hill Road                  Dba Fas Water Line Hard Band     PO Box 1286
Midland, TX 79707                       PO Box 3009                      Winona, MN 55987-1286
                                        Kilgore, TX 75663-3009
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Fastenal Industrial                       Fastorq LLC                     Fastorq LLC
Construction Supplies                     1215 Peters Rd                  Dept 2206
PO Box 1286                               Harvey, LA 70058                PO Box 122206
Winona, MN 55987-1286                                                     Dallas, TX 75312-2206




Fatherwell Lc                             Faulconer 1996 LLC              Faulconer 2004 Ltd Part LLP
PO Box 291567                             c/o Vernon E Faulconer Inc      PO Box 8150
Kerrville, TX 78028                       PO Box 7995                     Tyler, TX 75711-8150
                                          Tyler, TX 75701




Faulconer Energy Jv 1988 LLP              Faulconer Energy Jv 1990        Faulconer Energy Lp
PO Box 8150                               PO Box 7995                     c/o Vernon E Faulconer Inc
Tyler, TX 75711                           Tyler, TX 75771                 PO Box 8150
                                                                          Tyler, TX 75711




Faulk Harold Ruby                         Fausto Ramirez Estate           Favion Murrell Adair Jr
184 Pr 8432                               c/o Edmida Ramirez              206 Clemson Drive
Joaquin, TX 75954                         PO Box 421973                   Tyler, TX 75703
                                          Del Rio, TX 78842




Fay A Allison                             Fay L Mcelreath Tr A/C 826800   Fay Louise Heinz Woolsey Esch
2603 Oakland Ave                          Bank One Texas Na Trustee       c/o Bill J Smith
Nashville, TN 372125805                   PO Box 99084                    2000 Bering Dr Ste 108
                                          Fort Worth, TX 76199-0084       Houston, TX 77051




Fay Lynne Mcelreath                       Fay Lynne Mcelreath Trust       Fay Smith
PO Box 1097                               Jp Morgan Chase Bank Na         239 Sharon Drive
Bastrop, TX 78602                         Po Drawer 99084                 San Antonio, TX 78216
                                          Fort Worth, TX 76199-0084




Fay T Ashley                              Fay Tyler                       Fay Whitehead
839 County Road 3341                      PO Box 531                      3911 W Main St
Joaquin, TX 75954-4965                    Hallsville, TX 75650            Houston, TX 77027




Faye Allison                              Faye B Mackey                   Faye Callaway Brake
332 Cr 222                                903 Canfield Street             Meri Holderby Poa
Carthage, TX 75633                        Gladewater, TX 75647            3572 Fm 1793
                                                                          Marshall, TX 75672




Faye Dixon Bender Tr                      Faye F Akin Estate              Faye F Harper
Fbo Judith Bender James D                 Charles Snow Akin Ind Exec      1486 Cox Lane
Machen Patricia T Kirby Ttee              PO Box 1741                     Wichita Falls, TX 76305
301 E Las Olas Blvd Ste 800               Athens, TX 75751
Fort Lauderdale, FL 33301



Faye G Landham                            Faye H Lyon                     Faye H Nazon Declaraton Of Trust
707 North Avalon Ct                       2485 Monument Court             Dated June 27 2001
Granbury, TX 76048                        Lincoln, CA 95648               5406 South Blackstone
                                                                          Chicago, IL 60615
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Faye Haskin Nazon                      Faye Mcdade                      Faye Roberson Davis Sep Prop
5406 South Blackstone                  4320 Bellaire Dr S Apt 101       104 Sampson Road
Chicago, IL 60615                      Fort Worth, TX 76109             Arcadia, LA 71001




Faye Smith Rittenberry                 Faynell S Small                  Fays Trust
1272 County Road 414                   647 East 50Th Street             c/o Bokf Na Dba Bank Of Texas Ttee
Gary, TX 75643                         Los Angeles, CA 90011            PO Box 1588
                                                                        Tulsa, OK 74101




Fazal Enterprises Inc                  Fbn Exploration LLC              Fbo Dorothy Mitchell Trust
9187 Highway 80 East                   7001 Western Oaks Blvd           Judy M Jones
Simsboro, LA 71275                     Austin, TX 78749                 PO Box 187
                                                                        Marlow, OK 442427541




Fbo Mary Coughlin                      Fbr Capital Markets Co           Fbs Proeprties Inc
Mary E Childress Family Trust          Attn Elizabeth Rubio             4114 Merrick St
2012 Midcrest Drive                    1300 North 17Th St Ste 1400      Houston, TX 77025
Plano, TX 750758541                    Arlington, VA 22209




FC Industrial Development LLC          Fcc Environmental LLC            Fcc Faa Licensing LLC
PO Box 127                             PO Box 674156                    8932 Milford Haven Ct Ste D
West Monroe, LA 71294                  Dallas, TX 75267-4156            Lorton, VA 22079




Fcx Oil Gas Inc                        FD Barta Grandchildren Trust     Fear Trust
Freeport Mcmoran Oil Gas Llc           Peggy Kalich Trustee             Darryl P Ekstrom Trustee
700 Milam Suite 3100                   1901 Freyburg Engle Road         6024 Medicine Lake Rd
Houston, TX 77002                      Schulenburg, TX 78956            Minneapolis, MN 55422




Fears Energy Associates Inc            Feby Neel Kruegel Estate         Federal Abstract Company
102 N College Ave Ste 506              Guardian Betty N Dudley          PO Box 2288
Tyler, TX 75702                        2323 Augusta Dr 23               Santa Fe, NM 87505
                                       Houston, TX 77057




Federal Energy Regulatory Comm         Federal Energy Regulatory Comm   Federal Express
888 First Street NE                    PO Box 979010                    PO Box 660481
Washington, DC 20426                   St Louis, MO 63197-9000          Dallas, TX 75266-0481




Federal Express                        Federal Insurance Co             Federal Intermediate Credit
PO Box 7221                            Jeffrey Tippins                  Bank Of Jackson
Pasadena, CA 91109-7321                3353 Peachtree Road Ne           PO Box 12468
                                       Suite 1000                       Jackson, MS 39540
                                       Atlanta, GA 30326



Federal Trade Commission               Federico Javier Pena             Fedex
William Blumenthal General Counsel     1720 Galveston                   PO Box 223125
600 Pennsylvania Ave Nw                Laredo, TX 78043                 Pittsburgh, PA 15250-2125
Washington, DC 20580
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Fedex                                     Fedex Freight                       Fedex Freight
PO Box 94515                              Dept Ch                             Dept Ch 10306
Palatine, IL 60094-4515                   PO Box 10306                        Palatine, IL 60055-0306
                                          Palatine, IL 60055-0306




Fedex Freight Inc                         Fedex Office Cust Admin Srv         Fedro Associates Lp
Dept La PO Box 21415                      PO Box 672085                       PO Box 10872
Pasadena, CA 91185-1415                   Dallas, TX 75267-2085               Midland, TX 79702




Fekete Corp                               Felderhoff Brothers Drilling        Felderhoff Brothers Drilling
1401 Enclave Pkwy Ste 500                 11700 Katy Freeway Suite 300        201 California St
Houston, TX 77077-3101                    Houston, TX 77079                   Gainseville, TX 76240




Felecia Louise Johnson                    Felice Mellieon Martinez            Felicia A Simonton Baker
221 Davis Rd                              5009 Nortonville Court              2635 Village Square Dr
Simsboro, LA 71275                        Antioch, CA 94531                   Missouri City, TX 77489




Felicia Gayle Mccarty Separate Property   Felicia Maddox Jackson              Felicia Outley
1632 County Road 3173                     2055 W El Camino Ave Apt 884        828 Best Road
Joaquin, TX 75954                         Sacramento, CA 95833                Simsboro, LA 71275




Felicia Simpson                           Felicia Vanlandingham               Feliciano Fernandez
254 Oregon Trail                          326 Morning Dove Dr                 Address Redacted
Monroe, LA 71202                          Duncanville, TX 75137




Feliciano Villegas                        Felipa M Villareal                  Felipe Villalobos
Augustina Villegas                        1913 Chihuahua                      Address Redacted
6534 Fm 225 South                         Laredo, TX 78043
Henderson, TX 75654




Felipita L Colmenero                      Felisha Delley Lynch                Felisha J Walker
2404 Evans Dr                             4711 S Caleta Lane                  265 S Pine Tree Rd
Plano, TX 75075                           Midlothian, TX 76065                Grambling, LA 71245




Felisse Michelle Sigman                   Felix Chavez Son Construction LLC   Felix Dexter Pierce
c/o Texas State Treasury                  PO Box 114                          1510 Evers Street
Unclaimed Property Division               Weston, CO 81091                    Jonesboro, LA 71251
PO Box 12019
Austin, TX 78711-2019



Felix Eugene Lueg Seperate Property       Felix G Cook Jr                     Felix G Cook Sr And Felix G Cook Jr
225 Young Road                            Keith Cook Poa                      Indv As Ttee Of
Dubach, LA 71235                          203 Pruitt                          The Louise Harris Cook Trust
                                          Henderson, TX 75652                 501 Shawnee Trail
                                                                              Henderson, TX 75652
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Felix Gallo And                          Felix Harris                    Felix I Ifeanyi
Benigna Gallo                            11508 Tarron Avenue             160 Lagniappe Dr
3645 Braeburn Dr                         Hawthorne, CA 90250             Ruston, LA 71270-4925
Corpus Christi, TX 78415




Felix J Atkins                           Felix Jenkins                   Felix M Windham Sp
PO Box 2072                              270 Springs Edge                PO Box 130
Ruston, LA 71273                         Montgomery, TX 77356            Joaquin, TX 75954




Felix Tucker Burnaman                    Fellowship Missionary Baptist   Felma Evans
410 Bay Oaks Rd                          PO Box 328                      PO Box 325
La Porte, TX 77571-7010                  Joaquin, TX 75954               Bronte, TX 76933




Felsenthal Investments Ltd               Felton Claude Evans             Felton Cockerham
Agency Acct 630059004                    PO Box 451                      228 Davis Rd
Regions Bank Nrre Operations             Grambling, LA 71245             Simsboro, LA 71275
PO Box 11566
Birmingham, AL 35202



Felton Hill                              Felton Lawrence Beasley         Felton S Gardner
1350 Tumbleweed Way                      349 Fm 2260                     8735 Thermal St
Sacramento, CA 95834-1401                Gary, TX 75643                  Oakland, CA 94605




Feltz Wealthplan Inc                     Fence Master LLC                Fender Exploration Production Co LLC
101 S 108th Ave 2                        2900 Loch Lomond Drive          PO Box 8720
Omaha, NE 68154                          La Porte, CO 80535              Tyler, TX 75711




Fenis Marie Hill                         Fenton Jr Herman                Ferdinand Lewis Jr
PO Box 492850                            730 Fenton Road                 180 Morgan Cir
Sacramento, CA 94250                     Longview, TX 75604              Wethersfield, CT 06109




Ferguson Beauregard                      Ferguson Enterprises            Fern Chasin
PO Box 730134                            13785 Warwick Blvd              6135 N Monticello Ave
Dallas, TX 75373-0134                    Newport News, VA 23602-5422     Chicago, IL 60659-1112




Fern Hooper Davis                        Fern Jackson                    Fern Lamerle Wooley
4160 E Us Highway 67                     118 N Hillcrest Blvd M          8715 Starcrest Drive 30
Mount Pleasant, TX 75455-7904            Inglewood, CA 90301             San Antonio, TX 78217-4745




Fernando A Salinas                       Fernando A Salinas Trust        Ferrall Mccormick
PO Box 664                               Javier B Santos Trustee         PO Box 323
Laredo, TX 78042                         1420 Corpus Christi Street      Milton, FL 32583
                                         Laredo, TX 78040
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Ferrol Parrott                           Ferstler Holdings Lp                Fesco Ltd
2915 Sinclair                            12600 Hill Country Blvd             1000 Fesco Avenue
Pasadena, TX 77503                       Suite R 270                         Alice, TX 78332
                                         Austin, TX 78738




Fesco Petroleum Engineers                FG Investments LLP                  Fh Markey Ii
1000 Fesco Avenue                        PO Box 9                            PO Box 803188
Alice, TX 78332                          Magnolia, AR 71754                  Dallas, TX 75380




Fiberlink Communications Corp            Fiberspar Corporation               Fibreboard Corporation
Dept 3012                                PO Box 204222                       PO Box 3107
PO Box 123012                            Dallas, TX 75320-4222               Conroe, TX 77305
Dallas, TX 75312-3012




Fidelity Exploration Prod                Fidelity Investments                Fidelity Management Research
PO Box 5602                              82 Devonshire Street                245 Summer Street
Bismarck, ND 58506                       Boston, MA 02109-3605               Boston, MA 02210




Fidelity National Bank                   Fideuram Asset Management Ireland   Fielder And The Jeannette Noel E
330 W Broadway                           Georges Court                       Jeannette Fielder Revocable Living Trust
West Memphis, AR 72301                   2 54 62 townsend st                 1821 Riverstone Box 15
                                         Dublin                              Longview, TX 75605
                                         Ireland



Fiffer Family Trust                      Fifteenth Street Partners Lp        Fifth Third Bank
Elaine R Fiffer Trustee                  6612 Hillcrest Ave                  38 Fountain Square Plaza
540 Milton Ave                           Nichols Hills, OK 73116-5119        Cincinatti, OH 45263
Glencole, IL 60022




Fig Federal Credit Union                 Fin Ltd                             Fina Oil And Chemical Co
6303 Owensmouth Ave                      210 Mcbride Lane                    PO Box 200669
Woodland Hills, CA 91367                 Corpus Christi, TX 78408            Houston, TX 77216




Fina Oil Chemical Company                Financial Executives                Financial Resource Mgmt Of La
1201 Louisiana St 1800                   International Ft Worth Chapter      579 Leachman Road
Houston, TX 77002                        c/o Charlie Campbell Hillwood Pr    Ruston, LA 71270
                                         13600 Heritage Pkwy Ste 200
                                         Fort Worth, TX 76177



Finch Family Properties L P              Finch Living Trust Jon              Finch Royalties LLC
PO Box 1227                              9009 N May Avenue 130               Noble Noble Royalties Inc
Longview, TX 75606                       Oklahoma City, OK 73120-4462        PO Box 660082
                                                                             Dallas, TX 75266




Finish Line Promotions                   Finkelstein Partners Ltd            Finley Co
PO Box 1473                              Masonic Temple Building             12000 N Washington Ste 100
Sugar Land, TX 77487                     1407 Fannin St At Clay Ave          Thronton, CO 80241
                                         Houston, TX 77002
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Finley R Brown                             Finley Resources Inc             Fino Oilfield Services Inc
3955 Pleasant Run Rd 502                   1308 Lake Street                 PO Box 1806
Carthage, TX 75633                         Ft Worth, TX 76102               Freer, TX 78357




Finra                                      Fir Tree Partners                Fireside Oil Gas Inc
1735 K St Nw                               505 Fifth Ave 23rd Floord        PO Box 127
Washington, DC 20006                       New York, NY 10017               West Monroe, LA 71292




Firkins Power Motive Inc                   Firmins Office City              First Aid Safety Of Texas
Western Engine Transmission                PO Box 951                       PO Box 703613
1113 N College Ave                         Texarkana, TX 75501-0951         Dallas, TX 75370
Ft Collins, CO 80524




First American Bank                        First American Title Company     First Assembly Of God
PO Box 0794                                PO Box 731073                    1400 Woodward
Elk Grove Village, IL 60009                Dallas, TX 75373-1073            Ruston, LA 71270




First Av Group LLC                         First Bank Of South Jeffco       First Bank Of Texas
PO Box 100                                 5125 S Kipling St                3232 Palmer Highway
Larue, TX 75770                            Littleton, CO 80127              Texas City, TX 77590




First Bank Trust Co                        First Bank Trust East Texas      First Baptist Chu Of Abilene
104 N Temple Dr                            2211 Three Lakes                 PO Box 85
Diboll, TX 75941                           Tyler, TX 75703                  Abilene, TX 79604




First Baptist Church                       First Baptist Church             First Baptist Church
207 W Main                                 Attn Miriam Durrett              PO Box 309
Henderson, TX 75752                        543 Ockley Drive                 Buffalo, TX 758310309
                                           Shreveport, LA 71106




First Baptist Church                       First Baptist Church Carthage    First Baptist Church Of Abilene
PO Box 948                                 PO Box 548                       PO Box 85
Joaquin, TX 75954                          Carthage, TX 75633               Abilene, TX 79604




First Baptist Church Of Dallas             First Baptist Church Of Gilmer   First Baptist Church Walnut Springs
Baptist Foundation Of Txa/I/F              304 Buffalo Street               PO Box 268
1601 Elm St Suite 1700                     Gilmer, TX 756442206             Walnut Springs, TX 76690
Dallas, TX 75201




First Basin Credit Union                   First Business Bank              First Capital Bank Of Texas
1205 NE 1st St                             401 Charmany Drive               300 N A St
Andrews, TX 79714                          Madison, WI 53719                Midland, TX 79701
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First Choice Diagnostics LLC              First Choice Occupational And Wellness L   First Choice Power
PO Box 3949                               PO Box 3949                                PO Box 659603
Alice, TX 78332                           Alice, TX 78333-3949                       San Antonio, TX 78265




First Christian Church                    First Christian Church                     First Christian Foundation Inc
208 N Witte                               Endowment Foundation                       PO Box 34
Poteau, OK 74953                          29 North Oaks                              Fort Collins, CO 80522
                                          San Angelo, TX 76903




First Church Of Christ Scienti            First Church Of Christian Science          First Church Of Monson
Bank Of America Agent                     5000 Westminster P1                        5 High St
PO Box 840738                             St Loius, MO 63108                         Monson, MA 01057
Dallas, TX 75284-0738




First Citizens Bank                       First Clearing                             First Community Credit Union
239 Fayetteville St                       Attn Mrmatt Buettner                       PO Box 840129
Raleigh, NC 27601                         10700 Wheat First Drive                    Houston, TX 77284
                                          Glen Allen, VA 23060




First Congregational Church Of Kane       First Convenience Bank                     First Degree Heating Air Conditioning
112 Greeves St                            PO Box 937                                 1308 S Midkiff Suite 209
Kane, PA 16735                            Killeen, TX 76540-0937                     Midland, TX 79701




First Eagle Investment Management LLC     First Energy Services Company              First Entertainment C U
1345 Avenue of the Americas 48th Floor    Mark Rankin                                PO Box 100
New York, NY 10105                        801 Cherry St Suite 2100                   Hollywood, CA 90078-0100
                                          Ft Worth, TX 76102




First Federal Bank Texas                  First Federal Community Bank               First Fidelity Bank
2313 Phelps Ave                           630 Clarksville Street                     5100 N Classen Blvd 500
PO Box 1390                               Paris, TX 75460                            Oklahoma City, OK 73118
Littlefield, TX 79339




First Guaranty Bank                       First Hawaiian Bank                        First Heartland Consultants Inc
400 Guaranty Square                       999 Bishop Street                          1839 Lake St Louis Blvd
Hammond, LA 70401                         Honolulu, HI 96813                         St Louis, MO 63367




First Interstate Bank                     First Investors Management Company Inc     First Mark Credit Union
401 North 31st Street                     110 Wall Street 4th Floor                  PO Box 701650
PO Box 30918                              New York, NY 10005                         San Antonio, TX 78270-1650
Billings, MT 59116




First Methodist Church Foundation Inc     First Midwest Bank                         First National Bank
Attn Sid Johnston                         1 Pierce Pl 1500                           PO Box 2457
PO Box 1350                               Itasca, IL 60143                           Omaha, NE 68172-2457
Fort Worth, TX 76101
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First National Bank In Bronte              First National Bank Of Alvin    First National Bank Of Bastrop
102 W Main St                              1600 E Highway 6 100            489 Highway 71 West
Bronte, TX 76933                           Alvin, TX 77511                 P O Drawer F
                                                                           Bastrop, TX 78602




First National Bank Of Durango             First National Bank Trust Co    First National Bank Trustee
259 West 9th Street                        345 E Grand Ave                 Po Drawer 1600
Durango, CO 81301                          Chicago, IL 60611               San Antonio, TX 78296




First National Bnk Of Mcgregor             First Niagara                   First Pinkston Limited Partnership
401 S Main St                              726 Exchange Street Suite 106   By Sidney E Pinkston Gen Part
Mcgregor, TX 76657                         Buffalo, NY 14210               500 N Akard St Ste 2970
                                                                           Dallas, TX 75201




First Premier Bank                         First Presbyterian Church       First Private Bank
601 South Minnesota Ave                    Attn Ms Dana Fickling           16000 Ventura Blvd
Sioux Falls, SD 57104                      1000 Penn Street                Encino, CA 91436
                                           Fort Worth, TX 76102




First Security Bank                        First Service Credit Union      First South Bank
314 N Spring St                            PO Box 941914                   1311 Carolina Ave
Searcy, AR 72143                           Houston, TX 77094               PO Box 2047
                                                                           Washington, NC 27889




First State Bank                           First State Bank Amherst        First State Bank Ben Wheeler
24300 Little Mack                          1001 Main St                    14269 State HWY 64
St Clair Shores, MI 48080                  Amherst, TX 79312               Ben Wheeler, TX 75754




First State Bank Graham                    First State Bank Of Bedias      First State Bank Of San Diego
1526 4th St                                22201 HWY 90N                   PO Box 427
Graham, TX 76450                           PO Box 99                       San Diego, TX 78384-0427
                                           Bedias, TX 77831




First State Bank Trust Co                  First State Bank Trust Co       First Tech Federal C U
1005 E 23rd St 1                           Truestee                        1335 Terra Bella Ave
Fremont, NE 68025                          PO Box 579                      Mountain View, CA 94043
                                           Carthage, TX 75633




First Texas Bank                           First United                    First United Credit Union
PO Box 649                                 PO Box 130                      3140 Ivanrest Ave SW
Georgetown, TX 78627                       Durant, OK 74702                Grandville, MI 49418-1445




First United Meth Foundation Of Sun City   First United Methodist Church   First United Methodist Church
9849 N 105Th Avenue                        105 N Montgomery St             201 South Shelby Street
Sun City, AZ 85351-4798                    Gilmer, TX 75644                Carthage, TX 75633
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First United Methodist Church           First United Methodist Church    Firth Holdings
600 Sw Topeka Blvd                      P O Drawer 1567                  1260 Hidden Harbor Way
Topeka, KS 66603                        Shreveport, LA 71165             Sarasota, FL 34242




Fis Avantgard LLC                       Fish Gear Apparel                Fisher Acquisitions LLC
c/o Bank Of America                     PO Box 2059                      9647 Cr C
7659 Collections Center Drive           Pearland, TX 77588               Silverton, TX 79257
Chicago, IL 60693




Fisher Bren Sheridan LLP                Fisher County Appraisal Dist     Fisher Exploration LLC
920 2nd Ave S 975                       PO Box 516                       c/o Hummingbird And King
Minneapolis, MN 55402                   Roby, TX 79543-0516              401 Market Street
                                                                         Suite 400
                                                                         Shreveport, LA 71101



Fisher Family Trust                     Fisher John C                    Fisher Johnson Properties Lp
20614 Wind Springs                      PO Box 740                       818 Booth Drive
San Antonio, TX 78258                   San Augustine, TX 75972          Shreveport, LA 71107




Fisher Lease Servicies Inc              Fisher Phillips LLP              Fisher Scientific Company LLC
PO Box 926                              1075 Peachtree Street Ne         Acct 062333 002
Big Lake, TX 76932-0926                 Suite 3500                       File 50129
                                        Atlanta, GA 30309                Los Angeles, CA 90074-0129




Fisher Windham                          Fisk Electric Company            Five ES Services Inc
PO Box 130                              PO Box 19979                     PO Box 271
Joaquin, TX 75954                       Houston, TX 77224-9979           Big Piney, WY 83113




Five G Family Trust                     Five P Enterprises LLC           Five Star Consolidated Co Ltd
c/o Susan Gardner                       708 Scales Rd                    PO Box 1359
510 Hampshire                           Rayville, LA 71269               Denver City, TX 79323-1359
Longview, TX 75605




Five Star Royalty Parnters Ltd          Fivepoint Federal Credit Union   Fjords Processing Inc
PO Box 22084                            PO Box 1366                      PO Box 770549
Denver, CO 80222                        Nederland, TX 77627              Houston, TX 77215




Flag Ranch Ltd                          Flag Redfern Oil Company         Flame Resistant Wear
PO Box 105                              PO Box 23                        2150 N Kiowa Blvd
Goldsmith, TX 79741                     Midland, TX 79702                Ste A 108
                                                                         Lake Havasu City, AZ 86403-6400




Flame Royalties Inc                     Flanagan Resources LLC           Flanders Chemical Co Inc
PO Box 702281                           74 Warbonnet Drive               PO Box 64
Tulsa, OK 74170-2281                    Conroe, TX 77304                 Longview, TX 75606
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Flare Construction Inc                  Flare Ignitors Rentals LLC         Flare Industries Inc
PO Box 130                              124 Industrial Dr                  16310 Bratton Lane Bldg 3
Coalville, UT 84017                     Cibolo, TX 78108-3500              Suite 350
                                                                           Austin, TX 78728




Flatland Trucking Inc                   Flatmax Energy Lp                  Flavia L Jackson
PO Box 13783                            4725 Tuscan Way                    201 Vanderpool 122
Odessa, TX 79768                        Corpus Christi, TX 78410           Houston, TX 77024




Fleaux Services Of Louisiana LLC        Fleaux Services Of Louisiana LLC   Fleet Family Mineral Properties Inc
James Tabor                             PO Box 842071                      PO Box 703908
230 Lynbrook Dr                         Boston, MA 02287-2071              Dallas, TX 75217
Shreveport, LA 71106




Fleetpride                              Fleischaker Mineral Company LLC    Flenroy Burks
PO Box 847118                           100 North Broadway Suite 2460      174 Joe Road
Dallas, TX 75284-7118                   Oklahoma City, OK 731028868        Simsboro, LA 71275




Fletcher Donaldson                      Fletcher Family Trust              Fletcher Nicholson Ward
521 Sharondale Dr                       Roxie Pillians Fletcher            4606 7Th Avenue Ne
Tullahoma, TN 37388                     Debora Fletcher Foster Co Trs      Lacey, WA 98516
                                        4606 105Th Street
                                        Lubbock, TX 79424



Fletcher T Tompkins And                 Flexrod Sales And Services Inc     Fling Katrina L
Barbara S Tompkins                      3510 N County Road 1148            14032 Edgeman Way
2105 Mesa Street                        Midland, TX 79705-4072             Newark, TX 76071
Ruston, LA 71270




Flint A Brown                           Flint Energy Services Inc          Flint Energy Services Inc
9314 Canyon Rd E 42                     6901 S Havana St                   PO Box 102520
Puyallup, WA 98371                      Centennial, CO 80112-3805          Atlanta, GA 30368-2520




Flint Hills Resources Lp                Flo Davis                          Flogistix
PO Box 2917                             637 Fm 1731                        PO Box 731389
Wichita, KS 67201-2917                  Farwell, TX 79325                  Dallas, TX 75373-1389




Flonnie L Chancelor                     Flonnie Ree Coleman                Floquip Inc
8030 E Alhambra Avenue                  1416 Arbor Vital Avenue            PO Box 80156
Paramont, CA 90723                      Dallas, TX 75224                   Lafayette, LA 70598




Flora D Wright                          Flora David                        Flora E Courier
c/o Argent Property Svcs Llc            2717 Bagley Avenue                 PO Box 982
PO Box 1410                             Odessa, TX 79764                   Jackson, WY 83001
Ruston, LA 71273
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Flora Ellis                                Flora Jean Jordan                        Flora Jester Wilson
1302 San Patricio                          7930 Cr 476 S                            3800 Paluxy Dr Suite 140
Dallas, TX 75218                           Henderson, TX 75654                      Tyler, TX 75703




Flora Mae Christian                        Flora Mangham Lee                        Flora Rudd
2433 Breckenridge                          175 Church St                            PO Box 553
Tyler, TX 75702                            Grambling, LA 71245-3003                 Tenaha, TX 75974




Flora T S Broussard Test Exec Succ         Florence B Sims                          Florence E Fullwood
Of Dr George Broussard Sr                  PO Box 334                               1515 N 22nd Street
PO Box 11208                               De Berry, TX 75639                       Corsicana, TX 75110
New Iberia, LA 70562




Florence E Jones Trustee                   Florence Edrington Ismay Trust           Florence G Strum Estate
707 East Seminary Ave                      Frost National Bank Succ Trst            Stanley Strum Ind Co Executor
Towson, MD 21286                           PO Box 1600                              PO Box 21537
                                           San Antonio, TX 78296                    Waco, TX 767021537




Florence Gayle Londot                      Florence Hardy                           Florence Hardy Rvcb Living Tr
c/o Elite Business Service                 8320 Yale Dr                             Lee H Hardy Jr Trustee
761 Bocage Lane                            Tyler, TX 75703-5169                     8320 Yale Dr
Mandeville, LA 70471                                                                Tyler, TX 75703




Florence Hoffmann Indiv And                Florence Holleran                        Florence Ismay Trust Frost Bk
As Executrix Of The Alvin Hoffman Estate   12414 Willow Forest Drive                Oil Acct W10000400
2448 Cr 218                                Moorpark, CA 93021                       PO Box 1600
Hobson, TX 78117                                                                    San Antonio, TX 78296




Florence Jaskinia                          Florence Jones Thomas                    Florence K Opiela
2047 Cr 389                                2401 Claret Cove                         14756 Fm 887
Hobson, TX 78117                           Austin, TX 78748                         Gillett, TX 78116-4023




Florence M Carl E Rudd                     Florence M Hartcorn Trust                Florence M Schirmer
183 Redfield Drive                         Manufacturers Hanover Trust Co Trustee   640 Oak Tree Road
Jackson, TN 38305                          270 Park Ave 20Th Floor                  Apartment 124
                                           New York, NY 10172                       Palisades, NY 10964




Florence Mcgee Life Estate                 Florence Payer David                     Florence R Myers
PO Box 86                                  221 Texas Drive                          779 Stable Rd
Davenport, FL 33836                        Hideaway, TX 75771                       Ruston, LA 71270




Florence Reagan Trustee                    Florence S Baremore                      Florence S ONeal
Harold Florence Reagan Trust               560 Longleaf Rd                          1008 Jowers Lane
5900 Canyon View Dr Apt 255                Shreveport, LA 71106                     Birmingham, AL 35213
Paradise, CA 95969
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Florence Sims Bedell Estate             Florese Jackson Hunt                  Florice Lewis Shuemake
Charles E Biery Trustee                 4502 Woodland Way                     540 28Th St
c/o Laura Yarbrough                     Shreveport, LA 71109                  Richmond, CA 94804
PO Box 312
Pleasanton, TX 78064



Florida Canady                          Florida Citizens Bank                 Florida Dept Of Financial Svcs
3631 Highway 167                        156 Geneva Drive                      Bureau Of Unclaimed Prop
Lillie, LA 71256                        Oviedo, FL 32765                      Reporting Section
                                                                              PO Box 6350
                                                                              Tallahassee, FL 32314-6350



Florida Dept Of Financial Svcs          Florida Sampson Daniel                Florien Nixon Deceased 2 05
Bureau Of Unclm Prop                    6900 37Th Ave S Apt 214               3311 Rhozine Ln
Reporting Section                       Seattle, WA 98118-6465                Texarkana, TX 75503
Larson Building 200 E Gaines Street
Tallahassee, FL 32399-0358



Florien Pierce Williams                 Florine B C Howard                    Florine Cameron Pack
511 S 6Th Street                        PO Box 284                            c/o Denise Singleton Poa
Yakima, WA 98901                        Youngsville, LA 70592-0284            128 W 12Th Ave Apt 103
                                                                              West Homestead, PA 151201466




Floristene Green Johnson                Florsheim Production Company          Flossie M Garr Nolan
1353 Armstrong Drive                    c/o Goldin Peiser Peiser Llp          4834 W Santa Barbara St
Desoto, TX 75115                        16800 N Dallas Parkway                Los Angeles, CA 90016
                                        Suite 240
                                        Dallas, TX 75248



Flossie M Goree Davis                   Flotek Chemistry LLC                  Flotek Chemistry LLC
2738 Handstand Way                      Beth Thibodeaux                       PO Box 677496
Tracy, CA 95377                         1060 West Sam Houston Parkway North   Dallas, TX 75267-7496
                                        Suite 300
                                        Houston, TX 77064



Flournoy Courtney                       Flow Control Services LLC             Flow Data
Property Management                     200 Brothers Rd                       2309 Grand Park Drive
PO Box 6764                             Scott, LA 70583                       Grand Junction, CO 81505
Shreveport, LA 71136




Flow Process Technologies Inc           Flow Services Consulting Inc          Flow Services Consulting Inc
17818 Grant Rd                          Keith Martin                          230 Industrial Parkway
Cypress, TX 77429                       230 Industrial Pkwy                   Lafayette, LA 70508
                                        Lafayette, LA 70508




Flow Specialties Inc                    Flow Tech                             Flow Zone LLC
1262 Grimmett Drive                     1530 Falcon Lane                      Cory R Smith
Shreveport, LA 71107                    Zapata, TX 78076                      2530 Garden Road Bldg F
                                                                              Pearland, TX 77581




Flow Zone LLC                           Flowco Production Solutions LLC       Flowers By Lou Ann
Dept 248                                PO Box 869                            623 S Beckham Ave
PO Box 4346                             Spring, TX 77383-0869                 Tyler, TX 75701
Houston, TX 77210-4346
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Flowers Davis PLLC                       Flowers Rosemary B               Floy J S Bausley
1021 Ese Loop 323 Suite 200              PO Box 507                       1335 West 123Rd Street
Tyler, TX 75701                          Hallsville, TX 75650             Los Angeles, CA 90044




Floy M Saucier                           Floy Miller Little               Floy Taylor Et Al
2624 Village Lane                        314 Wood Street Apt 30           615 South Trenton
Bossier City, LA 71112                   Athens, TX 75751                 Ruston, LA 71270




Floyd A Watson                           Floyd Blanchard Odom             Floyd Dean Dollahite
3295 Hwy 84 E                            Linda Heckford Odom              176 Beman Road
Teneha, TX 75974                         378 South Rose Street            Gladewater, TX 75647
                                         Simsboro, LA 71275




Floyd Deborah L                          Floyd Denver Denny Dye           Floyd Dyer
2841 North Ocean Blvd 1504               3815 Cornell St                  178 Cr 217
Ft Lauderdale, FL 33308                  Shreveport, LA 71107             Beckville, TX 75631




Floyd E Ellison Jr                       Floyd Enyart Mitchell And        Floyd Eugene Bush
505 Sw 123Rd Place                       Melodye Morris Mitchell          PO Box 1617
Oklahoma City, OK 73170-6040             C/O Argent Property Serv Llc     Livingston, TX 77351
                                         PO Box 1410
                                         Ruston, LA 71273



Floyd G Miller Jr                        Floyd J Charpiat Family Trust    Floyd James J
PO Box 5548                              Joann Hall Trustee               3455 Davidge Drive
Shreveport, LA 71135                     569 N Post Oak Lane              Marshall, TX 75672
                                         Houston, TX 77024




Floyd Lee Jernigan                       Floyd M Cadwallader              Floyd Moseley
12643 Ashford Meadow Rd A                Religious Trust 27851            5178 Hawk Road
Houston, TX 77082                        PO Box 840738                    Diana, TX 75640
                                         Dallas, TX 75284-0738




Floyd Randolph Simonds                   Floyd Reynolds                   Floyd Ruff
8610 Rauch Court                         PO Box 91010                     529 Ruff Rd
Jersey Village, TX 77040                 Baton Rouge, LA 70821            Margaretville, NY 12455




Floyd T Lawson                           Floyd Wyllie Treadway            Fluid Components Intl LLC
3332 Hwy 1                               319 Treadway Loop                1755 La Costa Meadows Dr
Raceland, LA 70394                       Box 602                          San Marcos, CA 92078
                                         Livingston, TX 77351




Fluid Disposal Specialties Inc           Fluid Disposal Specialties Inc   Fluid Disposal Specialties Inc
Timothy Brown                            PO Box 2249                      PO Box 605
PO Box 417                               Hammond, LA 70404                Choudrant, LA 71227
Homer, LA 71040
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Fluid Pro LLC                            Flumencio Munoz Trust                      Flw Inc
PO Box 473                               PO Box 4                                   5672 Bolsa Ave
Riverton, WY 82501                       San Ignacio, TX 78067                      Huntington Beach, CA 92649




Flying H Chemical Co                     Flying Wolf Enterprises Inc                Flynn Artis Ludley
1301 S County Road 1127                  Karen Kay Brehm Hinrichsen Pre             PO Box 163
Midland, TX 79706                        PO Box 6006                                Grambling, LA 71245
                                         Vernon Hills, IL 60061




Flynn Of Ormond Beach Lp                 Flynn Rushing Lambert                      Flynt Gaines
c/o The Trust Co Of Ok                   Separate Property                          107 Sunbird Lane
PO Box 3627                              PO Box 717                                 Sunnyvale, TX 75182
Tulsa, OK 74101                          Joaquin, TX 75954




FM Bank Trust Company                    Fmc Corporation                            Fmc Corporation
505 Broadway                             PO Box 844356                              W Vaco Rd
Hannibal, MO 63401                       Dallas, TX 75284-4356                      PO Box 872
                                                                                    Green River, WY 82935




Fmc Technologies                         Fmc Technologies Completion Services Inc   Fmc Technologies Inc
475 17Th St Ste 850                      9785 Maroon Circle                         PO Box 844356
Denver, CO 80202-4031                    Suite 200                                  Dallas, TX 75284-3402
                                         Englewood, CO 80112




Fmc Technologies Measurement Solutions   Fmr LLC                                    Fms Sales
14121 Collections Center Drive           245 Summer St                              PO Box 5708
Chicago, IL 60693                        Boston, MA 02210-1133                      Shreveport, LA 71135




Fmstewart Oil Gas Ltd                    Fmt Co Cust Ira                            Fmt Co Cust Ira
c/o Mary Dru Burns                       Fbo Edward G Salloom Jr                    Fbo William J Wolf
PO Box 3309                              255 Wildwood Avenue                        5504 Weston Downs Dr
Alice, TX 78333                          Worcester, MA 01603-1628                   Durham, NC 27707-9215




Fmt Co Cust Ira Rollover                 Fmt Co Cust Ira Rollover                   Fmt Co Cust Ira Rollover
Fbo Antonia Lech                         Fbo Evan P Glucoft                         Fbo Raymond C OBrien
624 New Durham Rd                        440 S Spalding Dr                          514 H Ave
Metuchen, NJ 08840-1756                  Los Angeles, CA 90212-                     Nevada, IA 50201-2028




Fmt Co Cust Ira Rollover                 Fmt Co Cust Ira Sepp                       Fmt Co Cust Ira Sepp
Fbo Steven J Koch                        Fbo Jason M Tracton                        Fbo Xavier Valeri
18 Crescent Pl                           619 Oxford St                              2607 Adlerspoint Ln
Short Hills, NJ 07078-3411               Houston, TX 77007-2603                     Sugar Land, TX 77479-5496




Fmtc Custodian Roth Ira                  Fmtc Custodian Roth Ira                    Fmtc Ttee
Fbo Aaron Zhang                          Fbo Stuart Kaperst                         Tibco Software Inc
271 W 47Th St Apt 18A                    180 E 79Th St Apt 10F                      Fbo Thomas K Clark
New York, NY 10036-1444                  New York, NY 10075-0569                    104 Half Moon Pt
                                                                                    Chapel Hill, NC 27514-1742
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Fnrc Dei Gp                            Foceb                                  Foersterling Living Trust Llf
PO Box 840524                          1801 Broadway Ste 720                  Dated 10/17/03
Dallas, TX 75284-0524                  Denver, CO 80202                       300 Pencarrow Cir
                                                                              Madisonville, LA 70447




Foliofn Investments Inc                Fonta Conway                           Fontenelle Service
PO Box 10544                           101 East Collins                       19 Fontenelle Hwy
Attn Foliofn Proxy Svcs Dept           Henderson, TX 756544101                Kemmerer, WY 83101
Mclean, VA 22102-8544




Foothill Royalties Lp                  Foothills Fire Extinguisher Services   Forbes Company L P
Attn Marc Zimmermann                   PO Box 270614                          100 Galleria Officentre
401 Congress Ave Ste 1750              Fort Collins, CO 70527                 Suite 427
Austin, TX 78701                                                              Southfield, MI 48034




Forcenergy Inc                         Ford Theodore U                        Ford Chapman Mays
First Union Lockbox                    Address Redacted                       2728 Ranch Rd 2721
PO Box 931499                                                                 Fredericksburg, TX 78624
Atlanta, GA 31193-1499




Ford Chapman Mays Ii                   Ford Family Tr                         Ford Motor Company Fleet
518 Jung Lane                          Acct 16202029                          Pamela Page
Fredericksburg, TX 78624               1990 W Chandler Blvd                   16800 Executive Plaza Drive 6N454
                                       Chandler, AZ 85224                     Dearborn, MI 48126




Ford Motor Credit Co LLC               Foreman Thurman                        Forest Crawford And Sherry Crawford
PO Box 650575                          404 Karen Drive                        13715 Hwy 21 E
Dallas, TX 75265-0575                  Lufkin, TX 75901                       Chireno, TX 75937




Forest Crawford Jr                     Forest Ltd                             Forest Oil Corporation
Wife Sherry Crawford                   Dept 960 351                           1415 Louisiana St Ste 1600
13715 Hwy 21 E                         Oklahoma City, OK 731960351            Houston, TX 77002-7490
Chireno, TX 75937




Forest Oil Corporation                 Forest Park Natl Bank Trst             Forest Texas Gathering Company
PO Box 845795                          7348 Madison St                        707 17Th St Ste 3600
Dallas, TX 75284-5795                  Forest Park, IL 60130                  Denver, CO 80202




Foris T Mccollum Jr Estate             Forms On A Disk I Ltd                  Forney Construction LLC
Foris Mccllum Mark Mccollum Co         9620 Rocky Branch Dr                   8945 Long Point Rd Ste 200
Personal Representatives               Dallas, TX 75243-7529                  Houston, TX 77055-3036
5677 Ricardo Rd
Fort Sumner, NM 88119



Forrest E King Jr                      Forrest Garner Hall                    Forrest K Mardelle C Foley
1010 Northwood Circle                  5113 Bonnie Acres Drive                1512 Cafe Dumonde
Nacogdoches, TX 75965                  Ellicott City, MD 21043                Conroe, TX 77304
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Forrest Neal Runnels                    Forrest Tire Company Inc         Forrest Williams
1600 Marigold Avenue                    PO Box 1778                      300 Pebble Beach
Mcallen, TX 78501                       Carlsbad, NM 88221-1778          Jacksonville, TX 75766




Fort Campbell Federal C U               Fort Collins Farms LLC           Fort Collins Utilities
2050 Lowes Dr                           3408 Richards Lake Rd            PO Box 1580
Clarksville, TN 37040-1620              Fort Collins, CO 80524           Fort Collins, CO 80522-1580




Fort Hood National Bank                 Fort Sill Federal Credit Union   Fort Worth Association Of
Attn Correspondence                     PO Box 1527                      Professional Landmen
PO Box 5000                             Lawton, OK 73502-1527            PO Box 17556
Fort Hood, TX 76544-9985                                                 Fort Worth, TX 76102




Fort Worth BoyS Club Inc                Fort Worth Geological Society    Fort Worth Ioof
3218 East Belknap                       Xto Energy Frank Paniszczyn      Lodge No 251
Fort Worth, TX 76106-8132               810 Houston Street               1501 Hemphill
                                        Fort Worth, TX 76102             Fort Worth, TX 76104




Fort Worth Minerals                     Fort Worth Royalty Company       Fort Worth Society Of Petroleum Engineer
PO Box 17418                            1315 West 10Th Street            Jan Wallace
Fort Worth, TX 76102                    Fort Worth, TX 76102-3437        801 Cherry St Ste 3300
                                                                         Unit 37
                                                                         Fort Worth, TX 76102



Fort Worth Spe                          Fort Worth Star Telegram         Fort Worth Wildcatters
801 Cherry St Ste 3300 Unit 37          7608 Arbor Avenue                Attn Jonny Brumley Treaurer
Fort Worth, TX 76102                    Fort Worth, TX 76116-5198        777 Main Street
                                                                         Suite 3200
                                                                         Fort Worth, TX 76102



Fortner Mitchell L Robin E Fortner      Fortrust LLC                     Fortuna Royalty Co
2580 Country Club Road                  4300 Brighton Blvd               PO Box 1212
Longview, TX 75602                      Denver, CO 80216                 Midland, TX 79702




Fortune Natural Resources Corp          Fortune Natural Resources Corp   Fortune Resources LLC
Department 41169                        Knoll Trail Plaza Suite 100      1401 East State Highway 31
PO Box 650823                           16400 Dallas Parkway             Longview, TX 75604
Dallas, TX 75265                        Dallas, TX 75248




Forty Two Ninety LLC                    Forum Us Inc                     Forward Management LLC
PO Box 29323                            PO Box 203325                    101 California Street 16th Floor
Shreveport, LA 71149-9323               Dallas, TX 75320-3325            San Francisco, CA 94111




Forza Operating LLC                     Forza Safety                     Foshee Family Trust
24900 Pitkin Rd Ste 200                 Pobox 460                        19262 N Us Hwy 59
Spring, TX 77386-1973                   Shallowater, TX 79363            Garrison, TX 75946
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Foster Goree                              Foster LLP                                Foster Louis Evans
PO Box 2051                               600 Travis St Suite 2000                  1653 Lone Star Blvd
Berkeley, CA 94702                        Houston, TX 77002                         Terrell, TX 75160




Foundation Energy Fund Iv A Holding LLC   Foundation Energy Fund Iv A Holding LLC   Foundation Energy Fund Iv A Holding LLC
16000 Dallas Parkway Ste 875              Attn Accounts Payable                     Dept D8041
Dallas, TX 75248                          PO Box 17127                              PO Box 650002
                                          Fort Worth, TX 76102                      Dallas, TX 75265-0002




Foundation Energy Fund Iv B Holding LLC   Foundation Energy Fund Iv B Holding LLC   Foundation Energy Fund Iv B Holding LLC
16000 Dallas Parkway Ste 875              Attn Accounts Payable                     Dept D8041
Dallas, TX 75248                          PO Box 17127                              PO Box 650002
                                          Fort Worth, TX 76102                      Dallas, TX 75265-0002




Foundation Energy Mngmt LLC               Foundation For Depelchin                  Foundation Mineral Partners Lp
100 Throckmorton St Ste 400               ChildrenS Ctr                             1845 Woodall Rodgers Freeway
Fort Worth, TX 76102                      4950 Memorial Drive                       Suite1275
                                          Houston, TX 77007                         Dallas, TX 75201




Foundation Minerals LLC                   Four Corners Propane                      Four Down Express LLC
PO Box 50820                              PO Box 252                                17651 Cr 1261
Midland, TX 79710                         Farmington, NM 87499                      Flint, TX 75762




Four Grands Energy LLC                    Four J Services LLC                       Four P Investments Inc
105 Carolyn Street                        PO Box 1416                               2602 Mckinney Ave Suite 330
Mansfield, LA 71052                       Lovington, NM 88260                       Dallas, TX 75204




Four Star Disposal Lp                     Four Stars Pipe Supply                    Fourmile Oil Gas Corporation
Lauren Blackburn                          601 Dekalb St                             445 E Cheyenne Mtn Blvd
1301 Mckinney Street Suite 1800           Farmington, NM 87401                      Ste C 1
Houston, TX 77010                                                                   Colorado Springs, CO 80906




Fowler Transportation Ltd                 Foxco Energy 1986 Lp                      Foxhilll Capital Partners
Dept 361                                  PO Box 2107                               12 Roszel Rd C101
PO Box 4869                               Darien, CT 06820                          Princeton, NJ 08540
Houston, TX 77210-4869




Fp Mailing Solutions                      Frac Lights Equipment Inc                 Fradean French
140 N Mitchell Ct                         PO Box 78509                              300 Hazelwood Dr
Suite 200                                 Shreveport, LA 71137                      Fort Worth, TX 76107
Addison, IL 60101-5629




Frame Express                             Frame Family Trust                        Framework Inc
4424 East 7Th Street                      c/o Karen Frame Mcdonald                  4914 Dickson
Long Beach, CA 90804-4320                 824 South Dousman Rd                      Houston, TX 77007
                                          Oconomowoc, WI 53066
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Fran Morris Higgins                    Fran Walker Smith               Frances Ann Cole Trust
1709 Authentic Court                   20257 Hwy 9                     Frances Ann Cole Trustee
Henderson, NV 89012                    Arcadia, LA 71001               4908 N Washington Boulevard
                                                                       Arlington, VA 22205-2545




Frances Ann Grigsby                    Frances Ann Jeans               Frances Ann Lawrence
3525 Turtle Creek Blvd 4D              605 Cr 3140                     1024 Gabriel Lane
Dallas, TX 75219                       Center, TX 75935                Ft Worth, TX 76116




Frances Anne Provost Couch Usufru      Frances Annette Pierson Trust   Frances B Christmann
107 Lemans South                       Grey Pierson Successor Ttee     7822 Orlando Ave
Lafayette, LA 70503-4130               301 West Abram Street           Lubbock, TX 79423-1942
                                       Arlington, TX 76010




Frances B Gileno                       Frances B Utiger Trust          Frances Bain Mccawley
56 Wakeman Hill Rd                     W Dan Mahoney Ttee              7571 Pineridge Trail
Sherman, CT 06784                      PO Box 1099                     Castle Pines, CO 80108
                                       Lyons, CO 80540




Frances Ballenger                      Frances Brady Lacy              Frances C Bussey
415 Angela Lane                        1804 West Main Street           8040 Fm 2879
Henderson, TX 75654                    Henderson, TX 75652             Longview, TX 75605




Frances C Studer                       Frances C Taylor                Frances Caldwell Bahr
109 Homewood Ct                        1305 Carriage Drive             105 Radney Rd
Roseville, CA 95747                    Irving, TX 75062                Houston, TX 77024




Frances Carroll Hagler                 Frances Cecile Taylor           Frances Cohn Oppenheimer
10987 India Drive N                    1305 Carriage Dr                1670 Jasmine Court
Jacksonville, FL 32246                 Irving, TX 75062-5300           Highland Park, IL 60035




Frances Cooke Schwarz Trust            Frances Corry Hammer            Frances Crawford Elliott
PO Box 34626                           664 Elkins Lake                 416 Reppert St
Houston, TX 77234                      Huntsville, TX 77340            Bacliff, TX 77518-1250




Frances Crumpler                       Frances Derline Wilson          Frances Dilworth
PO Box 151                             1905 Tichack Lane               400 Fm 534
Bronte, TX 76933                       Garland, TX 75042               Sandia, TX 78383




Frances Dismukes                       Frances E Allison Bachman       Frances E Huttanus
c/o W T Dismukes Jr Poa                629 Wheeler St                  398 Willows Drive
102 Sparrow Way                        Neenah, WI 54946                Cleveland, GA 30528
Beaumont, TX 77707
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Frances E Mosley Trust                   Frances Earl Whitson           Frances Edwins Chisholm
Uwo B B Giles Southside Bank Succ Ttee   36494 Jeb Stuart Rd            Frances Elled Munschauer Aif
Farmers National Co Agent                Philomont, VA 20131            4512 Dogwood Cove
PO Box 3480 Oil Gas Dept                                                Hattiesburg, MS 39402
Omaha, NE 68103



Frances Elaine Cannon Walker             Frances Elaine Dowling         Frances Elizabeth Bertram
1249 Stratford Circle Apt 35             5005 Georgi Ln 83              6606 Fallengate Drive
Stockton, CA 95207                       Houston, TX 77092              Spring, TX 77373




Frances Elizabeth Nutt Tate              Frances Ellen Forehand         Frances Ellen Munschauer
306 County Road 415                      1210 East Camelback Road       4512 Dogwood Cove
Tenaha, TX 75974                         Duncan, OK 73533               Hattiesburg, MS 39402




Frances Evelyn Neal                      Frances F Beavers              Frances F Heyman Portion 1 Tr
8108 Mountain Cedar                      2115 Graystone Road            U/W/O Esther Kline Friedman
Ft Worth, TX 76131                       Longview, TX 75605-3007        c/o Kanaly Tr Co/ Peter Ip
                                                                        5555 San Felipe Suite 200
                                                                        Houston, TX 77056



Frances Francis Mccord                   Frances Francis Mccord         Frances Franklin Deceased
F/B/O Anne Mccord Miller                 F/B/O William Clay Mccord Jr   24000 Second Ave
PO Box 840738                            PO Box 840738                  Haygood, CA 94541
Dallas, TX 75284-0738                    Dallas, TX 75284-0738




Frances G Mcgowan Sp                     Frances Grace Bennett          Frances Gray Dean
902 Hinton Street                        501 Farrar St                  Rt 9 Box 666
Minden, LA 71055                         Groesbeck, TX 76642            Battle Creek, MI 49017




Frances Gunn Trust                       Frances Hagler Grandy          Frances Hale Hall
PO Box 840738                            370 Garden Lane                3429 Newcastle Drive
Dallas, TX 75284-0738                    Atlantic Beach, FL 32233       Corpus Christi, TX 78418




Frances Hanson                           Frances Henson Vernon          Frances Holman
408 Della Russell Road                   104 Nw 1st Street              623 Louisville
Apartment 403                            Kerens, TX 75144               Monroe, LA 71201
Lufkin, TX 75904




Frances Hunt Sanderson                   Frances Irene Fisher           Frances Jean Herbelin Ii
4722 East Circle Dr                      605 Caribou Rd Unit 105        2925 Del Monte
Cleveland, TN 37312                      Asheville, NC 287803           Bay City, TX 774142731




Frances Jean Lowrey Usufruct             Frances Jones Pitman           Frances Jordan Frasier
139 Forsythe Rd                          2124 Fairfield Avenue          513 N Adams St Apt 125
Dubach, LA 71270                         Shreveport, LA 71104           Carthage, TX 75633
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Frances L Bingham                       Frances L Platt Burford                  Frances Lagatta Shelton
9707 Springtree Lane                    2315 Bocage Pl                           181 East 65Th Street Apt 27A
Dallas, TX 752435703                    Ruston, LA 71270                         New York, NY 10065




Frances Leigh Traylor                   Frances Livingston Bryant                Frances Louise Chapman
3443 Esplanade Ave                      1902 Seabrook Dr                         3843 Grand Central Place E
Apt 551                                 Duncanville, TX 75137                    Jacksonville, FL 32246
New Orleans, LA 70119




Frances Louise Sims Gambrell            Frances M Duce                           Frances M Fish
1245 Mitchell Rd                        Jack A Duce Jr Poa                       Paine Webber Ac No Ob18952
Simsboro, LA 71275                      23 Oak Harbor Dr                         7946 Wrenwood Blvd Apt D
                                        Houston, TX 77062                        Baton Rouge, LA 70809




Frances Marian Sheka                    Frances Marilyn Lowrey Myers             Frances Marion Moody
4930 Janssen Dr                         PO Box 246                               PO Box 352
Corpus Christi, TX 78411                Lisbon, LA 71048                         Mount Enterprise, TX 75681




Frances Mcknight Hanson Living Trust    Frances Muriel Allen Davis               Frances Murray Jones Estate
Kathleen A Denney Sole Ttee             124 Elmwood Drive                        Nan Esther Murray Turner
16940 Dakota Dr                         West Monroe, LA 71291                    443 Robinson Road
Leavenworth, KS 66048                                                            Grand Cane, LA 71032




Frances Nicole Cleveland Kyle           Frances Nmi Royall Trust                 Frances Northcutt Abernathy
10020 St Bernard Dr                     Frances Alexander Trstee                 PO Box 3523
Shreveport, LA 71106                    1176 Lucky John Drive                    Longview, TX 75606
                                        Park City, UT 84060




Frances Oden Youngblood                 Frances Orr Kilgore                      Frances P Sheka Trust 1
4464 Richmond Ave                       4068 Old Plain Dealing                   Fbo William A Sheka
Shreveport, LA 71106                    Plain Dealing, LA 71061                  6150 Lemans
                                                                                 Corpus Christi, TX 78414-6129




Frances P Sheka Trust 2                 Frances P Sheka Trust 2                  Frances P Sheka Trust 3
Fbo Frances M Sheka                     Fbo Francis Sheka                        Fbo William A Sheka Jr
4925 Curtis Clark                       PO Box 5383                              6150 Lemans
Corpus Christi, TX 78411-2710           Corpus Christi, TX 78412                 Corpus Christi, TX 78414




Frances P Sheka Trust 4                 Frances P Sheka Trust 4 Fbo John Sheka   Frances P Vickers Trust
Fbo John Edward Sheka                   777 Farms                                c/o John C Vickers Iii Ttee
4930 Janssen Drive                      PO Box 1304                              214 Queen Road
Corpus Christi, TX 78411-2710           Rio Hondo, TX 78583                      Clear Lake Shor, TX 775652309




Frances Pauline Detro Travis            Frances Payne                            Frances Petty Edge
16300Hwy 151                            3416 Collard Rd                          2209 Abbott Martin Road
Arcadia, LA 71001                       Arlington, TX 76017-3554                 Nashville, TN 37215
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Frances R Alexander                     Frances R Pilgreen Henderson    Frances R Sidford Trust
PO Box 770                              1466 Varner Rd                  Frances R Alexander Ttee
Palenstine, TX 75802                    Marietta, GA 30062              U/W/O Frances K Royall
                                                                        PO Box 770
                                                                        Palestine, TX 75802



Frances R Sidford Trust                 Frances Randolph Scott Neal     Frances Roberts Williams
U/W/O Frances K Royall                  4501 Ridge Oak Drive            104 Napoleon Drive
c/o Citizen National Bank               Austin, TX 78731                Shreveport, LA 71105-2730
PO Box 770
Palestine, TX 75802



Frances Roquemore                       Frances Roseberry               Frances S Bryans
PO Box 817                              4645 Courtyard Trl              265 Colgate Ave
Carthage, TX 75633-0817                 Plano, TX 75024                 Berkeley, CA 94708-1121




Frances S Hancock Tarkington            Frances Scott Nichols           Frances Scott Nichols Trust
113 Royal Oaks Drive                    1161 Dunbriar Dr                Agreement Dtd July 5 1995
Rockport, TX 78382                      Shreveport, LA 71107-5526       S Elaine Nichols Trustee
                                                                        513 Tuckahoe Blvd
                                                                        Richmond, VA 23226-2137



Frances Sertell Davis                   Frances Sturgis                 Frances Tabor
1005 Denfield Ct                        10707 Se Riverway Lane          224 Enchanted Estates Dr
Raleigh, NC 27615                       Milwaukee, OR 97222             Crockett, TX 75835




Frances Thurmon Howie                   Frances V Harrison              Frances V Seeber
PO Box 191500                           6706 Highway 545                31498 Kings Valley West
Mobile, AL 36619                        Arcadia, LA 71001               Conifer, CO 80433




Frances Vaneta Rudd Walker              Frances Victoria Word Snowden   Frances Wingett Wall
200 Jefflyn Court                       11 Live Oak Drive               2751 Reche Canyon Road
Euless, TX 76040                        Leesville, LA 71446             Colton, CA 92324




Frances Wood                            Frances Yvonne Harrison Young   Francesca Drown Keck
58 Mesquite Lane                        4317 Dorothy St                 1053 Villa Grove Dr
Artesia, NM 88210                       Bellaire, TX 77401-5608         Pacific Palisades, CA 90272




Franchot Randolph                       Francille Edwards Rowe          Francine Haigwood Mayfield
680 Mcgarran Dr                         1620 Highway 160                PO Box 504
Vista, CA 92081                         Benton, LA 71006-4618           Gladewater, TX 75647




Francine Malone Sep Prop                Francis C Roberts               Francis Drilling Fluids Ltd
3611 Eve Cir Apt C                      647 Marilyn Dr                  PO Box 677438
Mira Loma, CA 91752                     Mandeville, TX 70448            Dallas, TX 75267-7438
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Francis E Jones Ii                         Francis E Jones Iii Md                 Francis E Jones Jr
1205 Morgan Meadow Avenue                  1803 Koestner Street                   12538 N Oak Hills Pkwy
Baton Rouge, LA 70818                      Burlington, IA 52601                   Baton Rouge, LA 70810-3239




Francis E Ruff                             Francis E Ruff Marion B Ruff           Francis F Beavers
Hcr 2 Box 80                               Hcr 2 Box 80                           2115 Graystone Rd
Margaretville, NY 12455                    Margaretville, NY 12455                Longview, TX 75605




Francis J Richter And Marjorie C Richter   Francis Josephine Wooten               Francis K Collinsworth Et Ux
220 Masterson Street                       103 Hiwon                              Pamela C Collinsworth
Laredo, TX 78046                           Conroe, TX 77304                       3947 Hwy 544
                                                                                  Simsboro, LA 71275




Francis K Royall Estate                    Francis L Kirkland Carroll             Francis Lucille Emerson
John R Tucker B Royall                     c/o Inwood National Bank               2412 Anthony Lane
Co Independent Executors                   1626 Mai Ave                           Pearland, TX 77581
4930 Briarwood Place                       Desoto, TX 75115
Dallas, TX 75209



Francis M Page Jtwros                      Francis O Mcdermott                    Francis Services Inc
75 Casper Dr                               1 South Montague Street                PO Box 1830
Cody, WY 82414                             Arlington, VA 22204                    Covington, LA 70434




Francis Stephen Kelly Iv                   Francis T Mcguire                      Francis W Courtney
Katherine ONeill Kelly Poa                 927 Neri Rd                            Aka Charleen W Courtney Sp
5 Birchwood Dr                             Granbury, TX 76048                     503 Tanglewood Drive
Narragansett, RI 02882                                                            Alexandria, LA 71303




Francis W Harvey                           Francis Walker Stephens                Francis William Lawton Langley
201 Harvey Lane                            3207 Junior Place                      1400 El Camino Village Dr
Cotton Valley, LA 71018                    Shreveport, LA 71109                   1703
                                                                                  Houston, TX 77058




Francisco A Garcia                         Francisco D Molina                     Francisco Lopez
115 Sheffield                              406 Nye Drive                          Address Redacted
San Antonio, TX 78213-2626                 Laredo, TX 78041




Francisco Mateo                            Francisco Pena And Wife Julie Lenoir   Frandson Safety Inc
Address Redacted                           1904 Sledge St                         PO Box 1848
                                           Marshall, TX 75670                     Worland, WY 82401




Frank A Adams Jr                           Frank A Guerra                         Frank A Hardin Jr
5306 Southampton Est                       PO Box 2986                            7539 Fairbranch Ct
Houston, TX 77005-1778                     Laredo, TX 78044                       Colorado Springs, CO 80919
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Frank A May                               Frank A May Sr Gay N May       Frank A Stroube Gst Exempt Tr
568 Hwy 763                               642 Booker Loop Road           Citizen National Bank Co Tre
Mansfield, LA 71052                       Mansfield, LA 71052            PO Box 820
                                                                         Henderson, TX 75653




Frank Allen Cariker                       Frank Allen Cunyus             Frank Armstrong
3101 Brimm St                             Box 485                        802 N Carancahua Ste 650
Marshall, TX 75672                        Lockney, TX 79241              Corpus Christi, TX 78401




Frank B Holder                            Frank B Houseman               Frank Boyd Haring
Linda H Sumrall Poa                       3920 Southwestern Blvd         327 East Nottingham Place
106 Sherwood Frst Dr                      Dallas, TX 75225-7033          San Antonio, TX 78209
Petal, MS 39465




Frank Boyd Haring Trust                   Frank Brown Auto Truck Ranch   Frank C Morris
2114 Encino Cliff                         PO Box 65090                   PO Box 150165
San Antonio, TX 78259                     Lubbock, TX 79464              Arlington, TX 76015




Frank C Perkins                           Frank C Rose                   Frank C Sims
907 Rico Drive                            Box 154 Times Plaza Station    3663 S Sheridan Blvd Apt Q 21
Athens, TX 75751                          Brooklyn, NY 11217             Denver, CO 80235-2907




Frank C Stewart Iii                       Frank C Stewart Jr             Frank Clara Hodges Family Ltd
1705 Bolling Ave                          413 Persimmon Dr               Partnership 35 Palisades
Norfolk, VA 23508                         Shreveport, LA 71115           Longview, TX 75605




Frank D Barta                             Frank D Matthews Iii Trustee   Frank Davis
205 E Ave Apt 114                         Frank D Matthews Jr Trust      3617 Vancouver Way
Schulenburg, TX 78956                     PO Box 450927                  Concord, CA 94520
                                          Laredo, TX 78045




Frank Devereaux                           Frank Donan Matthews Iii       Frank E Bogard
1509 West Stockwell                       PO Box 450927                  PO Box 423
Compton, CA 90222                         Laredo, TX 78045               Woodworth, LA 71485-0423




Frank E Breedlove                         Frank E Jones Jr               Frank E Jones Sr Minerals LLC
2010 Feather Hill Drive                   12538 N Oak Hills Pkwy         12538 N Oak Hills Pkwy
Rosenberg, TX 77471                       Baton Rouge, LA 70810-3239     Baton Rouge, LA 70810




Frank E Kendrick Jr                       Frank E Parker                 Frank E Parker Estate
1187 Coast Vlg Rd Ste 1 222               PO Box 1776                    PO Box 1776
Santa Barbara, CA 93108                   Center, TX 75935-1776          Center, TX 75935
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Frank Edward Bain Jr                       Frank F Ramert Family Trust Of 1997   Frank Finucane
13603 Lakeshore Way Crt                    Mark Michael Ramert Trustee           713 Carol Marie Drive
Houston, TX 770773425                      PO Box 542                            Apartment 1
                                           Tilden, TX 78072                      Baton Rouge, LA 70806




Frank Frantz                               Frank G Edwards                       Frank Gibson Breckenridge Iii
112 Baseline Road                          c/o Usaa Federal Savings Bank         2927 Sweetwood Dr
Aubrey, TX 762279540                       Tr Dept Fbo Frank G Edwards Tr        Lodi, CA 95242
                                           PO Box 690827
                                           San Antonio, TX 782690827



Frank H Hornsby                            Frank H Miller Jr                     Frank H Simonton Jr
1626 Dahlia St                             1606 Bittersweet Ave                  801 Travis
Baton Rouge, LA 70808                      Ruston, LA 71270                      Ste 1900
                                                                                 Houston, TX 77002




Frank Hilliard                             Frank Iii Ramsay Gorham               Frank J Brucato
221 N Kenilworth Ave 114                   Revoc Tst U/T/A Dtd 12/22/93          438 Scarborough Road
Oak Park, IL 60302                         c/o Sandstone Properties Llc          Valparaiso, IN 46385
                                           40 First Plaza Suite 601N
                                           Albuquerque, NM 87102



Frank J Buncom Iii                         Frank J Hughey                        Frank James Lakey Sep Prop
3114 Mt Miguel Dr                          PO Box 907                            233 South Pinetree Road
San Diego, CA 92139                        Whitehouse, TX 75791                  Grambling, LA 71249




Frank Jessica May                          Frank John Herbert                    Frank Jousan Jr Beverly Jousan
586 Hwy 763                                PO Box 2871                           500 Fm 3343
Mansfield, LA 71052                        Cedar Rapids, IA 52227                Joaquin, TX 75954




Frank Jr Jackson                           Frank K Meredith                      Frank Kenneth Zadeck
PO Box 147                                 5701 Virginia Pkwy Apt 3302           c/o Zadeck Energy Group I
Longview, TX 75601                         Mckinney, TX 75071                    401 Market Street
                                                                                 Suite 480
                                                                                 Shreveport, LA 71101



Frank Kilpatrick And                       Frank L Diamont Jr                    Frank Larkin Mulhearn Jr
Wife Carol Ann Kilpatrick                  1627 County Road 4216                 112 Gretchens Walk
389 Fm 2669                                Jacksonville, TX 75766                Monroe, LA 71291
Tenaha, TX 75974




Frank Lewis Kilpatrick Separate Property   Frank Lloyd Dent                      Frank Lloyd Woody
389 Fm 2669                                PO Box 3                              615 Lakebridge Dr
Tenaha, TX 75974                           Fairfield, TX 75840                   Lake Dallas, TX 75065




Frank M Cordaro                            Frank M Cordaro Et Ux                 Frank M Jousan And
602 Tarreyton Dr                           Kathie Martin Cordaro                 Wife Martha Ann Jousan
Ruston, LA 71270                           602 Tarregton Drive                   500 Fm 3343
                                           Ruston, LA 71270                      Joaquin, TX 75954
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Frank M Penwell                            Frank M Siler Testament Trust     Frank Marilyn Budde Family T
560 Kelsando Circle                        George Hinkle Iii Trustee         Frank J Budde Trustee
Friday Harbor, WA 98250                    311 Sherwood Court                3412 Heines Dr
                                           Spring, TX 77381                  Tyler, TX 75701-9033




Frank Marilyn Budde Family Trust           Frank Marsh                       Frank Mcculley
3412 Heines Drive                          1314 Tofts Dr                     1704 Belle Place
Tyler, TX 75701                            San Jose, CA 95131                Ft Worth, TX 76107




Frank N Rife                               Frank N Rife 2008 Exempt Tr       Frank Neimeyer Iii
Frost Bank Mngmt Agt Fc696                 Frost Bank Agt Acct Fd003         206 Riviera Ave
PO Box 1600 T 6                            PO Box1600 T 6                    San Clemente, CA 92672
San Antonio, TX 78296                      San Antonio, TX 78396




Frank Nmi Crane Jr                         Frank Nmi Crane Jr                Frank O Thurman
232 Hwy 507                                Sarah Ella Robinson Crane         1629 Centenary
Simsboro, LA 71275                         232 Hwy 507                       Richardson, TX 75081
                                           Simsboro, LA 71275




Frank P Judith M Schoell                   Frank P Merritt                   Frank P Merritt Estate
Tr Dtd 02/23/2012                          PO Box 8504                       Thomas A Richardson Executor
Judith M Schoell Ttee                      Bossier City, LA 71113-8504       PO Box 8504
5916 S Meade                                                                 Bossier City, LA 71113
Chicago, IL 60638



Frank P Schoell                            Frank Phillips                    Frank R Taylor
5916 S Meade Ave                           904 Chatham Ave                   23638 War Eagle Blacktop Rd
Chicago, IL 60638                          Chatham, LA 71226                 Springdale, AR 72764




Frank R Trowbridge Jr                      Frank Rettman                     Frank S Owens
PO Box 11054                               716 Pampa St                      227 Middle Creek Rd
Albuquerque, NM 87192                      Sulphur Springs, TX 75482         Fredericksburg, TX 78624




Frank S Price                              Frank S Ryburn                    Frank S Vaden Iii
PO Box 907                                 3838 Oak Lawn Ave Ste 1516        3 Island Creek Ct
Sterling City, TX 76951                    Dallas, TX 752194516              Okatie, SC 29909




Frank Sahlman                              Frank Smith And Linda Smith H/W   Frank Stedman Carrol Trust
Charles Schwab Co Inc Cust                 1117 N 8Th Street                 c/o Captital One N A
Sep Ira                                    West Monroe, LA 71291             Attn Sam Department
PO Box 3500                                                                  PO Box 61964
Olympic Valley, CA 96146                                                     New Orleans, LA 70161



Frank Stewart Estate                       Frank Stuart Browne Iii           Frank Stuart Browne Iii Trst
David Stewart Exec                         1430 N Washington E               Julianne Browne Succ Trustee
4462 Merlin Way                            Dallas, TX 75204                  509 West French Place
Soquel, LA 95073                                                             San Antonio, TX 78212
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Frank T Finch                             Frank T Rea                            Frank Toston And Dorice C Toston
7263 Botha Road                           11754 Riverview Drive                  870 William Harris Road
Bealeton, VA 22712                        Houston, TX 77077                      West Monroe, LA 71292




Frank Towery Jr                           Frank W Bill Sears                     Frank W Camp
3429 Forest Hills Circle                  PO Box 33                              PO Box 279
Garland, TX 75044                         Opal, WY 83124                         Kilgore, TX 75663




Frank W Doyle Est                         Frank W Murray                         Frank W Semmelmann
James E Obrien Exec Ttee                  233 Guy Lombardo Ave                   318 Reta Drive
538 Spruce St Ste 610                     Freeport, NY 11520                     Deer Park, TX 77536
Scranton, PA 18503




Frank W Tamala D Robison                  Frank Wendell Slack                    Frank Woody
1508 Booker Loop Road                     7 Thad Lane                            615 Lakebridge Drive
Mansfield, LA 71052                       Little Rock, AR 72207                  Lake Dallas, TX 75065




Frank Yates                               Frankie Beall                          Frankie Calhoun
PO Box 202                                Albert Beall                           8620 Cr 296 E
Deberry, TX 75639                         PO Box 7092                            Kilgore, TX 75662
                                          Longview, TX 75604




Frankie Crane Chapman                     Frankie Desoto Wife Cynthia K Desoto   Frankie L Ford Nellie Jean
1409 Juneau St                            884 Arcadia Rd                         131 Pugh Road
Grand Prairie, TX 75050                   Center, TX 75935                       Homer, LA 71040




Frankie Mae B Thorpe Unknown Heir         Frankie Mari Alexander                 Frankie Menefee Cameron
Shelly Sitton Succ Rcvr Cause             314 Ragsdale                           PO Box 3087
15429 c/o Kathy E Clifton                 Gladewater, TX 75647                   Indio, CA 92201
101 W Mill St Ste 216
Livingston, TX 77351



Frankie Turner Snider                     Frankie Whitaker Beall                 Franklin Bay
4800 Boulder Rd                           PO Box 7092                            Address Redacted
N Richland Hills, TX 76180                Longview, TX 75604




Franklin C Jones Jr                       Franklin Calane Sammons                Franklin D Cavanaugh
6163 Del Monte                            401 Lincoln Street Se                  1706 Fuller Springs Drive
Houston, TX 77027                         Huntsville, AL 35801                   Lufkin, TX 75901




Franklin D Kelley                         Franklin Don May Sr                    Franklin E Wallace
6176 Highway 146                          182 Cr 4412                            PO Box 667
Ruston, LA 71270                          Joaquin, TX 759541268                  Waco, TX 76571
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Franklin Energy LLC                     Franklin Energy Partners              Franklin Handley
475 17Th St Ste 1390                    475 17Th Street Suite 1390            Route 1 Box 445
Denver, CO 80202                        Denver, CO 80202                      Moscow, TX 75960




Franklin Harris Jr                      Franklin Holcomb                      Franklin Howard Wied
4402 Twin Oaks                          440 Louisiana                         2080 Kohutek Road
Pascagoula, MS 39581                    Suite 900                             Victoria, TX 77904
                                        Houston, TX 77002




Franklin J Bradshaw Fbo M B             Franklin Jones Jr                     Franklin Ronald Jackson And
Reagan Tr Wells Ogm C7300 07D           Box 1249                              Wife Barbara Ann Jackson
PO Box 5383                             Marshall, TX 75670                    PO Box 735
Denver, CO 80217                                                              Gladewater, TX 75647




Franklin S Walpole                      Franklin Sons C C L LLC               Franklin Steven Walpole
Ginger Gunter Walpole                   5608 West Goforth Rd                  407 Fair Rd
407 Fair Rd                             Kilgore, TX 75662                     Dubach, LA 71235-3150
Dubach, LA 71235




Franklin Templeton Investments          Franklin Thomas Stephens              Franklin Vaughn Indv Int
PO Box 997152                           3423 Blood Brook Road                 8593 State Hwy 103
Sacramento, CA 95899-7152               Fairlee, VT 05045                     Bronson, TX 75930




Franklin Woffor Denius Indv Indept      Franks Casing Crew Rental Tools Inc   Franks Exploration Company LLC
Executor Of Estate Of S F Denius        PO Box 51729                          PO Box 7665
3500 Jefferson St 315                   Lafayette, LA 70505                   Shreveport, LA 71137
Austin, TX 78731




Franks International LLC                FrankS International LLC              Franks Operating Company LLC
Department 840                          Vicky Johnson / Jon Veverica          PO Box 7605
PO Box 4346                             10260 Westheimer Suite 700            Shreveport, LA 71137
Houston, TX 77210-4346                  Houston, TX 77042




FrankS Roustabout Service               Franks Sidney Charline Nee Torrence   Franks Tank Trucking LLC
PO Box 233                              9740 State Highway 43 N               PO Box 1094
Grandfalls, TX 79742                    Karnack, TX 75661                     Midland, TX 79702




FrankS Westates Services Inc            Frasco Realty LLC                     Frasure Oil Gas LLC
Dept 002                                Attn Mike Frasco                      PO Box 415
PO Box 30015                            479 Route 17N                         Dripping Springs, TX 78620
Salt Lake City, UT 84130-0015           Mahwah, NJ 07430-2116




Frazier R Brazzil                       Frazier Tierney Family Trust          Fred A Moore
PO Box 1792                             Adrianne Kalyna Trustee               PO Box 457
Cambria, CA 93428                       1000 W Washington 501                 Lockhart, TX 786440457
                                        Chicago, IL 60607
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Fred B Carter                            Fred B Goodgion                  Fred Bailey Jr
17805 County Road 4235                   PO Box 952                       209 N Leonard St
Frankston, TX 75763-5010                 Omaha, TX 755710952              Allen, OK 74825




Fred Blaylock Vanderwoude                Fred C Larue Estate              Fred C Leffingwell Jr
4108 Southwestern Blvd                   Ike Larue Executor               40066 Champion Tif
Dallas, TX 75225                         71 Eastbrooke Street             Gonzales, LA 70737
                                         Jackson, MS 392164714




Fred D Pee Martha D Pee                  Fred David Holland Jr            Fred E Davis
2861 Highway 80 West                     2324 Bristol St                  4803 River Place Blvd
Choudrant, LA 71227                      Bryan, TX 77802                  Austin, TX 78730




Fred E Ruth Ella Varner                  Fred F Meadows Jr                Fred G Middleton
1106 Bennie Breece St                    27475 Ynez Rd 581                3202 Douglas
West Monroe, LA 71292                    Temecula, CA 92591               Midland, TX 79701




Fred Giles                               Fred Goldsmith                   Fred Goree
3829 Crane                               Don Kubica Poa                   30415 Salisbury Street
Detroit, MI 48214                        4514 38Th Street                 Farmington Hills, MI 48336
                                         Lubbock, TX 79414




Fred H Gray                              Fred J Harrington                Fred J Hersbach
c/o Susan G Schroeder Exctrx             1202 South Murphy Rd             121 S Broadway Ste 753
529 Cumberland Drive                     Plano, TX 75094                  Tyler, TX 75702
Shreveport, LA 71106




Fred J Major                             Fred J Marsh                     Fred James White Jr
106 N East Street                        3800 Pilot Drive                 304 Mundy
PO Box 456                               Plano, TX 75025                  Overton, TX 75684
Carthage, IN 46115




Fred Jones                               Fred Khani Ttee                  Fred L Mesa Trust
8707 Stoney Brook Ln                     The Fred Khani Revocable Trust   Lawrence C Mayfield Trustee
Magnolia, TX 77354-3841                  U/A Dtd 05/29/1996               1015 Central Avenue Ste 100
                                         4390 Casper Ct                   Metairie, LA 70001
                                         Hollywood, FL 33021



Fred L Ramsdell Jr Family Tr             Fred Lawrence Brown              Fred Lee Boynton Jr And
Lloyd Miller And Diana Kolenic           PO Box 10                        Nelia Gayle Boynton
Co Trustees                              Timpson, TX 75975                6794 La Hwy 1
3100 Eaneswood Dr                                                         Shreveport, LA 71107
Austin, TX 78746



Fred Lewis                               Fred Loya Insurance Agency       Fred M Penn
722 Haight Avenue                        1800 Lee Trevino                 3131 Maple Apt 9B
Alameda, CA 94501                        El Paso, TX 79936                Dallas, TX 75201
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Fred M Zimmerman                          Fred Mathis Gary               Fred Michael Speed Jr
324 S Crescent Dr                         3621 7Th St                    Aka Michael Speed Jr
Beverly Hills, CA 90212                   Sachse, TX 75048               PO Box 8709
                                                                         Corpus Christi, TX 78468




Fred Milton Purnell                       Fred Murphy                    Fred N Diam
3511 Dartmouth                            1112 Noblewood Dr              1000 E 14Th Street
Dallas, TX 75205                          Glenn Heights, TX 75154-8768   Plano, TX 75074




Fred Nadine M Brown                       Fred Nash Oliver Roe           Fred P Quinn
2805 Staffordshire Dr                     34 Cisney Avenue               1390 S Douglas 101
Carrollton, TX 75007                      Flora Park, NY 11001           Midwest City, OK 73130




Fred R Bristol Trustee                    Fred R Erisman Iii             Fred Ragsdale
Fbo Fred R Bristol                        3650 Chicora Court Apt 317     PO Box 1110
PO Box 6944                               Fort Worth, TX 76116-5814      Jacksonville, TX 75766
San Antonio, TX 78209




Fred Ramsdell Trust                       Fred Rath                      Fred Rhodes
3100 Eaneswood Dr                         130 Perry St                   Address Redacted
Austin, TX 78746-6717                     Eau Claire, WI 54701




Fred Schur Estate                         Fred Self                      Fred Senyard Mcvay Jr And
Clara Lynn Schur Executrix                15601 So Kelso Rd              Eiko Ashimine Mcvay
PO Box 1751                               Tracy, CA 95391                185 Ray Chapman Road
Henderson, TX 75653-1751                                                 Calhoun, LA 71225




Fred Spivey And Wife Jenny Spivey         Fred Stuckey Living Trust      Fred T Elzen
536 Sneed Road                            130 Eleanor Avenue             PO Box 554
Waskom, TX 75692                          Mansfield, OH 44906            Minden, LA 71058




Fred T Elzen Jr                           Fred T Klob                    Fred Tinsley
1208 Gloria                               412 22nd St                    PO Box 740
Minden, LA 71055                          Belleair Beach, FL 33786       Sautee Nacoochee, GA 30571




Fred Vincent Norris                       Fred W Hicks Della Hicks       Fred W Mailand
6466 Cambridge Glen Lane                  206 Buckeye Rd                 2605 Solano Dr
Houston, TX 77035                         Gladewater, TX 75647-6801      Flower Mound, TX 75022




Fred W Mitchell                           Fred W Penwell                 Fred W Rabalais
101 Brookside Dr E                        415 South 122nd Place          PO Box 1567
Bryan, TX 77801-4502                      Burien, WA 98168               Ft Worth, TX 76101-2780
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Fred W Shield And Company                Freda A Cate                              Freda G Nix
PO Box 90627                             11405 Queens Dr                           569 Merrills Lake Rd
San Antonio, TX 78209                    Omaha, NE 68164                           Longview, TX 75604




Freda Lynn Boyd                          Freda Marie Keith Thompson                Freda Ruth Gray Goerner
1113 Joe Bill Street                     1130 Lakeview Drive                       198 Simpson Place
West Monroe, LA 70508                    Montgomery, TX 773565779                  Longview, TX 756056452




Fredda M Childers                        Freddie Allen Sep Prop                    Freddie Don Mullins
301 Bryant Lane                          444 West 12Th Street Apt 208              239 Davidson Road
Cedar Hill, TX 751041743                 Kansas City, MO 64105                     Arcadia, LA 71001




Freddie Gladyness                        Freddie Hagan Family Trust                Freddie Hagan Sr
1709 Paul R St Se                        Sheri Hightower Trustee                   Lena Mae Hagan
Grand Rapids, MI 49508-1441              6132 River Rd                             742 Young Road
                                         Shreveport, LA 71105                      Benton, LA 71006




Freddie Hood Woodard                     Freddie James Dupree                      Freddie Jones And Donna Jones
203 East Woodhaven Road                  1140 Brown St Nw                          501 Chickasaw Dr
Ruston, LA 71270                         Covington, GA 30014-2377                  West Monroe, LA 71291




Freddie June Gossett Hale                Freddie Lee Adams                         Freddie Mae Washington
Frederick Stephen Hale Poa               1407 Olive Avenue                         5062 Us Highway 259 North
12013 Cr 283 E                           Long Beach, CA 90813                      Henderson, TX 75652
Whitehouse, TX 75791




Freddie Wright                           Frederic A Elliott                        Frederic L Miller
13029 Purche                             387 Edward Ferry Rd                       PO Box 5098
Gardena, CA 90249                        Farmerville, LA 71241                     Shreveport, LA 71106




Frederic L Miller Mineral Tr             Frederica H Mayer Trust Dated 8/13/1958   Frederick A King Jr
Susan K Whitelaw Trustee                 8001 S Interport Blvd                     5313 Roberts Rd
7600 Fern Ave Bldg 1300                  Suite 360                                 Colleyville, TX 76034-4811
Shreveport, LA 71105                     Englewood, CO 80112




Frederick Adams                          Frederick Bruce Price                     Frederick Cannon
9157 South Oglesby                       3107 Bienville Ave                        18831 West Amelia Avenue
Chicago, IL 60617                        Ruston, LA 71270-5266                     Litchfield Park, AZ 85340




Frederick D Humke Ab Liv Tr              Frederick Davis                           Frederick E Fitshugh
Frederick Jr Daphne Humke                15474 Cr 2210 N                           2506 Mckinney Ste A
Trsts                                    Tatum, TX 75691                           Dallas, TX 75201
63 Fast Draw Ct
Bailey, CO 80421
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Frederick E Fitzhugh Trustee             Frederick E Rowe Jr              Frederick Ernest Potts Iii
U/A Dated 9/22/83                        3901 Greenbriar Dr               1650 W Beech Way
4471 Sheffield Pl Apt 305                Dallas, TX 75225                 Tuscon, AZ 85737
Bay City, MI 48706




Frederick Eugene Howland                 Frederick F Thornburg            Frederick G Mcleroy
PO Box 331742                            10005 Nw 52nd Terrace            3911 Edgerock
Miami, FL 33233                          Miami, FL 33178                  Austin, TX 78731




Frederick Gene Moore Et Ux               Frederick H Price Jane T Price   Frederick Howland Est
Augustine Gates Moore                    9505 Northpointe Boulevard       W M Vail Howland Frederick E
PO Box 156                               Apartment 149                    Howland T
Grambling, LA 71245                      Spring, TX 77373                 1451 Nw 20Th St
                                                                          Miami, FL 33142



Frederick J Herschbach                   Frederick J Tuthill              Frederick James Evans
121 South Broadway Avenue                7601 Park Place                  9200 Harrisburg Lane
Suite 753                                Houston, TX 77087                Mckinney, TX 75071
Tyler, TX 75702-7210




Frederick Lytle Carrington Trust         Frederick M Parker               Frederick M Wright Jr
Ronald G Rosen Trustee                   1621 Lexington Ave               252 Plunk Ln
500 West Seventh Street                  Monroe, LA 71201                 El Dorado, AR 71730
Suite 900 Unit 51
Fort Worth, TX 761024702



Frederick Maier                          Frederick Moore                  Frederick P Woodson
60 West Balcom Street                    PO Box 156                       3021 Mtn Park Dr
Buffalo, NY 14209                        Grambling, LA 71245              Calabasas, CA 91302




Frederick Pate Laster                    Frederick Ray Carter Et Ux       Frederick Spigener
106 Carol Lane                           Terri Jean Bozeman Carter        14781 Hwy 9
Red Oak, TX 75154                        151 Louisa Street                Athens, LA 71003
                                         Simsboro, LA 71275




Frederick Taylor                         Frederick W Weston Jr            Frederick Walter Bounds
16809 Bellflower Blvd Suite 1            PO Box 287                       4449 Village Springs Run
Bellflower, CA 90706                     Belgrade Lakes, ME 04917         Dunwoody, GA 30338-5678




Frederick Wayne Bowden                   Fredericksburg Royalty Ltd       Fredna Sue Curtis Marital
PO Box 161                               Attn Bruce H C Hill Manager      Trust No 1
Grambling, LA 71245                      PO Box 1481                      PO Box 4299
                                         San Antonio, TX 78295-1481       Longview, TX 75606




Fredric L Hoogland                       Fredrick Alan Clayton            Fredrick L Brown
2007 Ashland St                          PO Box 123                       814 Foxborough Lane
Ruston, LA 71270                         Whitehouse, TX 75791             Missouri City, TX 77489
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Fredrick L Greene                        Fredrick Michael Tuttle             Fredrick Pryor
2703 White Falls Drive                   700 Beaujolais Parkway              936 Hwy 167 S
Pearland, TX 77584                       Lafayette, LA 70555                 Bernice, LA 71222




Fredricka H Crain Trst                   Fredrika Calderoni                  Freedom Oilfield Services Inc
Co Travis Prop Mgmt                      1612 Kenhorst Blvd                  PO Box 1974
PO Box 56429                             Reading, PA 196072122               Rock Springs, WY 82902
Houston, TX 77256




Freedom Oilfield Services LLC            Freedom Pacific Trust               Freeman F Gosden Et Al Tst U/T/D 3/07/74
325 Remco Dr                             PO Box 809                          Freeman F Gosgen And Jane
Haughton, LA 71037                       Porter, TX 77365                    Stoneham Gosden Trustees
                                                                             720 North Alpine Drive
                                                                             Beverly Hills, CA 90210



Freeman Investments                      Freeman Lloyd Ray                   Freeman Mills Pc
3415 S Clayton Blvd                      11116 Freedom Way                   100 E Ferguson St Ste 606
Englewood, CO 80113-7611                 Keller, TX 76248                    Tyler, TX 75702-5779




Freeman Scarlett                         Freer Independent School District   Freer Independent School District
PO Box 161                               Tax Office                          Tax Office
Mount Pleasant, TX 75456-0161            P O Drawer X                        905 S Norton Ave
                                         Freer, TX 78357                     Freer, TX 78357




Freida Carter Hanson                     Freida King Campbell                Freida Lambright
133 Marina View Ct                       6219 E Texas 38                     PO Box 405
Weatherford, TX 76087                    Bossier City, LA 71111              Joaquin, TX 75954




Freida Nell Miller                       Freight Connection Inc              Fremont County Treasurer
304 County Road 105D                     3340 Greens Rd Bld A Ste 620        450 North 2nd Street
Henderson, TX 75654                      Houston, TX 77032                   Lander, WY 82520




Fremont County Treasurer                 Freudendorf Sisters LLC             Freundschaft Inc
PO Box 465                               Edith F Smith                       C/O Julianne Frey Cole
Lander, WY 82520-0465                    39 Carl Brandt Drive                PO Box 160
                                         Shalimar, FL 32579                  Arcadia, LA 71001




Frey Interests Ltd                       Friday Williams                     Frieda M Adair
626 Thicket Lane                         2401 S Gessner Apt 307              206 Clemson Drive
Houston, TX 77079                        Houston, TX 77063                   Tyler, TX 75703




Frieda Wilson                            Friedman Trst Dtd 11/3/88 Lee       Friedman Trust Lee
4638 Nicollet Ave South                  c/o Robert I Friedman Esquire       c/o Robert I Friedman Esquire
Minneapolis, MN 55409                    One Liberty Pl                      One Liberty Place
                                         1650 Market St                      1650 Market St
                                         Philadelphia, PA 19103-3508         Philadelphia, PA 19103-3508
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Friendly Trucking Inc                   Friends Of Barry Smitherman      Friendship Baptist Church
1705 S Stockton                         215 Blue Bonnet Blvd             1140 Fm 1186
Monahans, TX 79756                      San Antonio, TX 78209            Marshall, TX 75672




Frierson Properties Trust               Frill Energy Partners            Fringe Benefit Life Insurance Co
Imf Properties Llc                      c/o Travis Property Management   2901 Morton St A
2441 Frierson Road                      PO Box 56429                     Fort Worth, TX 76107
Shreveport, LA 71115                    Houston, TX 77256-6429




Frisco Petroleum Mgmt LLC               Frith Family Partnership Ltd     Fritz Mueller
PO Box 2009                             c/o Charles E Frith              1325 Pacific Hwy Unit 2202
Frisco, TX 75034                        PO Box 352                       San Diego, CA 92101-2592
                                        Longview, TX 75606




Frog Truck Escort                       Fromex Photo Digital             Front Page Communications
5782 Tom Ridge Dr 4                     5277 East Second St              14518 Garfield Ave
Shreveport, LA 71107                    Long Beach, CA 90803             Paramount, CA 90723




Front Range Excavation                  Frontier                         Frontier
4411 Rist Canyon Road                   3 High Ridge Park                PO Box 740407
Laporte, CO 80535                       Stamford, CT 06905               Cincinnati, OH 45274-0407




Frontier Business Products              Frontier Communications Corp     Frontier Communications Of CA
3250 Quentin St Suite 120               PO Box 660831                    3 High Ridge Park
Denver, CO 80011                        Dallas, TX 75266-0831            Stamford, CT 06905




Frontier Communications Of Ca           Frontier Financial C U           Frontier Minerals LLC
Attn Access Billing                     5200 Neil Road                   PO Box 2852
PO Box 92713                            Reno, NV 89502                   Ruston, LA 71273
Rochester, NY 14692




Frontier Petroleum Srvcs LLC            Frontier Services Inc            Frontier Trucking Inc
PO Box 670257                           PO Box 4037                      c/o Cashflow Experts Inc
Dallas, TX 75267-0257                   Alice, TX 78333                  PO Box 260074
                                                                         Corpus Christi, TX 78426




Frost Bank Trustee                      Frost Bank Ttee Of Acct Fc326    Frost Bank Ttee Of Acct Fc329
PO Box 1600                             John D Glass Jr Trust Of 1990    John D Glass Jr Trust Of 1990
San Antonio, TX 78296                   PO Box 1600                      PO Box 1600
                                        San Antonio, TX 78296            San Antonio, TX 78296




Frost Living Trust Of 2009              Frost National Bank              Frost National Bank Trustee
853 Highway 34                          PO Box 1600                      Account F0569500
West Monroe, LA 71292                   San Antonio, TX 78296            PO Box 1600
                                                                         San Antonio, TX 78296
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Frost National Bank Trustee             Frost National Bank Trustee              Frost National Bank Trustee
Account F076550                         Account No Fb753                         For Trust Acct 3479
PO Box 1600                             Mineral Assett Mgmt Dept T 6             PO Box 1600
San Antonio, TX 78296                   PO Box 1600                              San Antonio, TX 78296
                                        San Antonio, TX 78296



Fsb Corporation                         Fsi                                      Ft Fendley Partnership 5
Acting By Luke Motley Iii               Fluid Solutions Intl Llc                 PO Box 3006
Chairman                                PO Box 460                               Houston, TX 77253
PO Box 352                              Scott, LA 70583
Center, TX 75935



Ft Worth Pipe Services Lp               Fts International Services LLC           Fts International Services LLC
PO Box 57908                            Assistant General Counsel Transactions   PO Box 205065
Salt Lake City, UT 84157-0908           PO Box 1410                              Dallas, TX 75320
                                        Forth Worth, TX 76101




Fuel Resources Development Co           Fugo Services LLC                        Fugro Pelagos Inc
17 St Plz                               205 West Maple Suite 700                 4820 McGrath Street Suite 100
1225 17 St Ste 2100                     Enid, OK 73701                           Ventura, CA 93003-7778
Denver, CO 80202-5521




Fugro Pelagos Inc                       Fugro West Inc                           Fulbright Jaworski LLP
Attn Cindy Pratt                        PO Box 200559                            PO Box 844284
PO Box 301374                           Houston, TX 77216-0559                   Dallas, TX 75284-4284
Dallas, TX 75303-1374




Fulenwider Family Partnership           Fulfer Vanek Well Servicing Co Inc       Full Boar Oil Tools Inc
Attn Dave H Fulenwider                  5941 Pace Road                           PO Box 2505
3360 Spruce Ln                          Iowa Park, TX 76367                      Longview, TX 75606
Grapevine, TX 76051




Full Circle Systems                     Fuller Family Trust                      Fuller Oil Corporation Trust
Mac Mccormick                           Frost Bank Trustee Wd294                 920 Pierremont Suite 210
19181 Highway 8                         PO Box 1600                              Shreveport, LA 71106
Morrison, CO 80465                      O G Dept
                                        San Antonio, TX 78296



Fuller W Bazer                          Fullilove Family LLC                     Fulton Bank
8600 Creekview Court                    418 Kenshire Ct                          One Penn Square
College Station, TX 77845               Shreveport, LA 71115                     Lancaster, PA 17602




Fulton Van Sickle                       Fultz Operating LLC                      Fundacion V R G
Sunny Lynn Stanley Agent And Attorney   10020 Hertiage Dr                        Calle Lupe Quinta Villa Rosa
801 South Adams 88                      Shreveport, LA 71115                     Urb Prados Del Este Mun
Carthage, TX 75633                                                               Baruta
                                                                                 Venezuela



Fundquest France                        Funk Oil And Gas Co                      Funky Skunky LLC
1 Boulevard Haussmann                   PO Box 452                               c/o Amegy Bank
75009 Paris                             Fairmont, WV 26554                       PO Box 27767
France                                                                           Houston, TX 77227
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Furmanite America Inc                    Furmanite America Inc                   Furrh Minerals Lp
Andrea Baker                             PO Box 674088                           PO Box 12687
10370 Richmond Avenue Ste 600            Dallas, TX 75267-4088                   Jackson, MS 39236
Houston, TX 77042




Furrh Properties Lp                      Futch Properties LLC                    Future Funds Inc
PO Box 417                               Max Gerald Futch Lafaye Kilgore Futch   PO Box 1179
Elysian Fields, TX 75642                 4606 Lake Lawford Court                 West Monroe, LA 71270
                                         Baton Rouge, LA 70816




Future Pipe Industries Inc               Fwapl                                   Fwc Oilfield Services LLC
11811 Proctor St                         c/o Tami Foladare                       PO Box 783
Houston, TX 77038                        PO Box 17556                            Seminole, TX 79360
                                         Fort Worth, TX 76102




G A Sportsman S Y Sportsman Living Tr    G A W Consulting LLC                    G B Christian
Julie Weaver Trustee                     Rg Luckett                              1711 Elk Canyon Dr
c/o Citizens National Bank               202 N Glenwood                          San Antonio, TX 78232-4987
210 West Main Street                     Midland, TX 79703
Henderson, TX 75653



G B Consultants Intl Gulf Coast Lp       G B Works LLC                           G Barrett Covington
PO Box 670                               PO Box 493                              c/o George Ellis Covington
Deer Park, TX 77536                      Coushatta, LA 71019                     PO Box 11
                                                                                 Bent, NM 88314




G Blake Thompson                         G C Contracting Co Inc                  G D Hardy
1464 Old Farm Rd                         PO Box 1241                             PO Box 1106
Tyler, TX 75703                          Levelland, TX 79336                     Van, TX 75790




G D Olson Company                        G Douglass Harkness                     G E Betz Inc
A Nominee Partnership                    1917 Forest Knoll Drive                 PO Box 846046
3500 Trinity Meadows Dr                  Birmingham, AL 35244                    Dallas, TX 75284-6046
Midland, TX 79707




G Farrell Ray Iii                        G Force Powersports                     G G Equipment Co Inc
PO Box 702746                            7700 W Colfax Ave                       PO Box 199
Dallas, TX 75370                         Lakewood, CO 80214                      Palestine, TX 75802




G G N R Company Agent                    G G Nesbitt Iii                         G G Production LLC
PO Box 570655                            2815 Long Lake Drive                    PO Box 1406
Houston, TX 772570655                    Shreveport, LA 71106                    Shreveport, LA 71164-1406




G Glynn Saulters                         G H Adams Jr                            G H Resources LLC
PO Box 146                               2490 Prospect Ave                       PO Box 270231
Quitman, LA 71268                        Riverside, CA 92507                     Littleton, CO 80127
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G Hansel Crank                            G J Hot Oiling Inc                  G J Hot Oiling Inc
1109 Shepherd Ln                          509 KP Industrial Drive             PO Box 3239
Tyler, TX 75701                           Rock Springs, WY 82901              Rock Springs, WY 82902-3239




G J Puckett And Wilma E Puckett Estate    G L Trucking LLC                    G M Lehnertz LLC
8879 Us Highway 271 S                     1009 W Broadway St                  3300 S Broadway Ste 103
Gladewater, TX 75647                      Hobbs, NM 88240                     Tyler, TX 75701




G M Maurine Sharp                         G Mac Thompson                      G Michael Bulger
3168 Wolf Creek Rd                        6 Boardman Ln                       PO Box 12145
Williamsburg, KY 40769                    Austin, TX 78746                    Dallas, TX 75225-0145




G P Brown Family LLC                      G P Partners LLC                    G P Smith Iii
c/o J Roy Burroughs                       c/o Cindy Skinner Managing          2 Montclair Cir
920 Pierremont Ste 210                    Member                              Longview, TX 756013562
Shreveport, LA 71106                      4529 Oso Pkwy
                                          Corpus Christi, TX 78413



G R Compressor Service                    G R Whittington Test Trust          G Randall Davis
120 Vista Hermosa                         James R Payne And George            c/o Guy Pegues
Zapata, TX 78076-4600                     Crowder Trustees                    PO Box 54
                                          4428 Tiffani                        Nocona, TX 76255
                                          Amarillo, TX 79109



G Robert Graham                           G Robert Wallace                    G Stanley Mckenzie Sp
2090 Market Ave                           PO Box 456                          PO Box 217
Ida Grove, IA 51445                       Teton Village, WY 83025             Ben Wheeler, TX 75754




G Steed Lp                                G Tim Alexander Iii                 G V Allen Jr
4512 Pershing Ave                         400 Shelly Dr                       159 Rene Dr
Fort Worth, TX 76107                      Lafayette, LA 70503                 Shady Cove, OR 97539




G W Bill Chapman Jr                       G W Cramer Trst 1                   G W Cramer Trust No 1
Oil And Gas                               Chase Bk Of Texas Tr                Jp Morgan Chase Acct 3127200
3323 Pollard Dr                           c/o Jpmorgan Chase Bank Na          Po Drawer 99084
Tyler, TX 75701-9042                      PO Box 99084                        Fort Worth, TX 76199-0084
                                          Fort Worth, TX 76199-0084



G W Dye                                   G W Strong And Wife Bettie Strong   G W Trucking Inc
c/o Mary Walsh Poa                        204 Cr 1431                         PO Box 163
1892 Dorchester Court                     Center, TX 75935                    Snyder, TX 79550
Davis, IL 61019




G Y Still Ltd Partnership                 G3 Technologies Inc                 Gabriel Cancino
Box 837                                   23868 Pavilion Rd                   Address Redacted
Minden, LA 71058                          Louisburg, KS 66053-7247
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Gabriel L Celestine                      Gabriel R Bustamante           Gabriel Todd Owens
1901 N May Ave                           Address Redacted               PO Box 201
Fort Smith, AR 72904                                                    Tenaha, TX 75974




Gabriella Day Haase                      Gaffney Royalty Trust          Gage Energy LLC
3523 Valiant Ct                          Kaye Gaffney Mooney Trustee    9141 Interline Ave
The Villiages, FL 32162                  10545 Crescendo Court          Suite 3 A
                                         Cincinnati, OH 45242           Baton Rouge, LA 70809




Gage Mineral Trust                       Gai Tronics Corporation        Gail A Brown
Robert D Gage Iv Trustee P O             400 E Wyomissing Ave           10 Glenmere Dr
PO Box 608                               Mohnton, PA 19540              Little Rock, AR 72204
Port Gibson, MS 39150




Gail Beaumont Phillips                   Gail C Davis Life Estate       Gail Daw White
3625 Lake Michel Court                   10869 Springtree Avenue        680 E Basse Road
Gretna, LA 70056                         Baton Rouge, LA 70810          Apartment 108
                                                                        San Antonio, TX 78209-8334




Gail Elaine Trowbridge Foster            Gail Gable Pool Life Est       Gail Guyes
1940 County Road 1185                    151 Quail Run                  6709 Club Meadows Drive
Sulfur Springs, TX 75482                 Odessa, TX 79761               Amarillo, TX 79124




Gail H Bearen                            Gail H Goolsby                 Gail Harrison Rawlings
601 Milbank Circle                       113 Arbor Place                9107 Mauna Loa
Shreveport, LA 71115                     Bossier City, LA 71111         Houston, TX 77040




Gail Johns Allen                         Gail K Belgard                 Gail Kuehl
96 Estates Dr                            9424 Fox Hollow Dr             2908 Country Lane
Santa Fe, NM 87506-9502                  Potomac, MD 20854              Hays, KS 67601




Gail Lewis                               Gail Logue Jacobs              Gail Louise Wright
860 Jones Street                         1282 Mitchell Rd               655 Oakland Hills Ln
Berkeley, CA 94710                       Simsboro, LA 71275             Frisco, TX 75034




Gail Lynn Worthington Frost              Gail Mead Hunter               Gail Mizer
2571 Winnfield Hwy                       23 Tanglewood Trail            PO Box 1686
Jonesboro, LA 71251                      Duxbury, MA 02332              Gladewater, TX 75647




Gail Plunkett Guynes                     Gail Ropp                      Gail Russell Scurggs
3570 Durwood Drive                       Address Redacted               9957 Mansfield Road
Beaumont, TX 77706                                                      Kiethville, LA 71047
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Gail Rutland Crane                      Gail Rutland Crane Estate                Gail T Runyan
PO Box 28631                            Richard Thomas Crane Executor            205 Duncan Rd
Atlanta, GA 30358-0631                  PO Box 28631                             Marshall, TX 75672
                                        Atlanta, GA 30358-0631




Gail Toone                              Gail W Crowder                           Gaile Bering Withers
PO Box 2349                             Box 1603                                 6218 Lynbrook Drive
Pine, AZ 85544                          Vail, CO 81657                           Houston, TX 77057




Gaines County Appraisal Dist            Gaire Lane Harris                        Gairie Harris
PO Box 490                              Route 2 Box 118                          184 Ccc Road
Seminole, TX 79360                      Ruston, LA 71270                         Ruston, LA 71270




Gaker Family Limited Partnership        Gaker Family Limited Prtsp               Gala Wagner
PO Box 158                              PO Box 158                               3046 Luxar Way
Oregonia, OH 45054-0158                 Oregonia, OH 45054                       Dallas, TX 75233




Gale Allen Schoonover Jr Et Ux          Gale Conner                              Gale H Arnold
Mary Kay Montgomery Schoonover          Deborah Gail Satterwhite Poa             1520 33Rd St Nw
2000 Wafer Road                         PO Box 638                               Washington, DC 20007
Ruston, LA 71270-1221                   Pittsburg, TX 75686




Gale Keenan                             Gale Keenan Ttee                         Gale Meyer Franklin
Individual Retirement Account           Gale P Keenan 401 K U/A Dtd 04/01/2014   270 Fitzgerald Lane
Rbc Capital Markets Llc Cust            Fbo Gale Keenan                          Livingston, TX 77351
134 Pond View Drive                     134 Pond View Drive
Port Washington, NY 11050-2468          Port Washington, NY 11050-2468



Gale R Anderson                         Gale Taylor Rannals                      Galen Burnett Click
713 Shaw St                             1400 Francis Avenue                      2005 Oaklawn Dr
Converse, LA 71419                      Metairie, LA 70003                       Midland, TX 79705




Gallagher Iii James F                   Gallagher Janice M                       Gallagher Robert S
c/o Helene D Gallagher                  c/o Helene D Gallagher                   c/o Helene D Gallagher
2001 Sailfish Point Blvd 317            2001 Sailfish Point Blvd 317             2001 Sailfish Point Blvd 317
Stuart, FL 34996                        Stuart, FL 34996                         Stuart, FL 34996




Gallahad Petroleum Inc                  Gallegos Sanitation Inc                  Game And Fish Department Region 9
455 Granville St Ste 200                PO Box 1986                              2221 W Greenway Rd
Vancouver, BC V6C 1T1                   Fort Collins, CO 80522                   Phoenix, AZ 85023-4399
Canada




Gammaloy Holdings Lp                    Gammill Family Rev Mineral Tr            Gandy Family Trust
PO Box 6446                             Aubrey L Mary K Gammill Cotte            c/o Citizens National Bank
Bossier City, LA 71171                  4013 Brooks Ct                           Attn Trust Dept
                                        Argyle, TX 76226                         PO Box 820
                                                                                 Henderson, TX 75653
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Gantt Family Irrev Instrust              Gantt Family Irrevocable Tr              Gap Farms LLC
5921 West Orlando Circle                 5921 West Orlando Cir                    1211 Sweetbriar Ave
Broken Arrow, OK 74011                   Broken Arrow, OK 74011                   Ruston, LA 71270




Garber Laboratories Inc                  Garcia Aaron                             Garcia Gabriel
PO Box 51641                             Address Redacted                         Address Redacted
Lafayette, LA 70505




Garcia Cappa Kenneth                     Garcia Chemas Herrera Minerals Ltd       Garcia Vela Presa Vieja Ltd
Address Redacted                         1404 Santa Ana                           PO Box 618
                                         Rancho Viejo, TX 78575                   Laredo, TX 78042




Garcias Transportation                   Gardebled Liv Tr                         Gardere Wynne Sewell LLP
6825 W Mockingbird                       Paul E Rene Gardebled Trstrs             PO Box 660256
Odessa, TX 79763                         1469 Rue Bayonne                         Dallas, TX 75266-0256
                                         Mandeville, LA 70471




Gardiner Hempel                          Gardner Clark                            Gardner Consultants Inc
c/o Hilton Otto                          128 Sandbed Road 9                       5927 Fairfield Ave
7 Waldon Road                            Ruston, LA 71270                         Shreveport, LA 71106
Darien, CT 06820




Garfield County Clerk                    Garfield County Treasurer                Garfield County Treasurer
114 W Broadway Ave                       108 8Th St                               PO Box 1069
Enid, OK 73701                           Ste 201                                  Glenwood Spring, CO 81602-1069
                                         Glenwood Springs, CO 81601




Garies Harris                            Garl Dee Allums                          Garland Edward Brown
184 Ccc Rd                               PO Box 1528                              718 Claridge Dr
Ruston, LA 71270                         Carthage, TX 75633                       Arlington, TX 76018




Garland Lester Sharpless Jr              Garland Pumping Roustabout Service Inc   Garland Rebecca Parker
2673 Zephyr                              PO Box 418                               201 Parker Lane
Colorado Springs, CO 80920               Pyote, TX 79777                          Mansfield, LA 71052




Garland S Linkenhoger                    Garland Thomas Hood Jr                   Garlington Howard Inc
501 E Uphall Ave                         11982 Highway 151                        PO Box 1114
Mcallen, TX 78503                        Dubach, LA 71235                         Victoria, TX 779021944




Garnet A Gardner Franke                  Garold M Oakes Estates                   Garrett Dawson LLC
6068 West Irma Lane                      Keith D Oakes Executor                   c/o Don M Garrett
Glendale, AZ 85308                       3 South Edgar St                         28432 Hegar Rd
                                         Kane, PA 16735                           Hockley, TX 77447
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Garrett Family Trust                     Garrett L Engstrom Sub Trust Of   Garrett Scott Nichols A Minor
Earnestine Charles Trustee               Herbert Sue Engstrom 1988         c/o Scott Nichols Guardian
435 Williams St                          4625 Mark Twain Place             Rt 2 Box 14A
Cedar Hill, TX 75104                     Garrett L Engstrom Trstee         Beaver, OK 73932
                                         Stockton, CA 95207



Garrett Sisco                            Garrett T Whittington             Garry R Hill Jr
Address Redacted                         Address Redacted                  Louise Kohlbeck Custodian
                                                                           3200 Amanda Dr
                                                                           Dayton, OH 45406




Gary A Keller                            Gary A Marow Trust                Gary A May
9021 Greenspointe Ln                     Gary Marow Trustee                5011 Kenilworth
Highlands Ranch, CO 80130-3356           559 Faitgh Avenue                 Bossier City, LA 71112
                                         Cardiff, CA 92007




Gary Alan Cathey                         Gary Alan Cathey Member           Gary Allen Jeffcoats
2146 Highway 147                         Cathey Three Llc                  4941 Milden Rd
Simsboro, LA 71275                       1359 Highway 815                  Martinez, CA 94553-4538
                                         Simsboro, LA 71275




Gary And Ann Piper                       Gary Anderson Fell                Gary Arnold Hornung
6023 Rathbone                            68 Jamestowne Court               10010 Willow Bend Drive
Parker, TX 75002                         Baton Rouge, LA 70809             Woodway, TX 76712




Gary Atchison                            Gary Bagwell                      Gary Bond
102 Hill Cir                             PO Box 1212                       6114 W Canterbury St
Levelland, TX 79336                      Amarillo, TX 79105                Stillwater, OK 74074




Gary Bryan Hopper                        Gary Burry Separate Property      Gary C Micheau
3406 Military Rd                         183 Seascape Drive                6160 Summerside St Se
Arlington, VA 22207                      Vallejo, CA 94591                 Salem, OR 97306




Gary C Standley                          Gary C Tuttle                     Gary Conley
7950 Garden North Drive                  1989 Lariat Drive                 4311 Tweeddale Dr
Garden Ridge, TX 78266                   Fort Worth, TX 76247              Bakersfield, CA 93311




Gary Costlow                             Gary Crawford                     Gary D Isley
1730 An County Road 480                  PO Box 24                         245 N Fourth St
Palestine, TX 75803-0223                 Des Plaines, IL 60016             Clifton, IL 60927




Gary D Minnis                            Gary D Minnis Life Est            Gary D Reinholt Tracienne M Reinholt
1016 Sherman Dr                          10063 N Locust St                 2828 Reynolds Ln
Liberty, MO 64068-1490                   Kansas City, MO 64155             Port Neches, TX 77651
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Gary Dean Lamb                          Gary Dean Mclaughlin           Gary Debbie Littlefield
1082 County Road E                      4590 Cr 220                    1165 Melanie Street
Lexington, TX 78947                     Gatesville, TX 76528           Baton Rouge, LA 70815




Gary Dewayne Fletcher And               Gary Dinwiddie                 Gary Don Arnwine
Brenda Dunlap Fletcher                  PO Box 12833                   6168 Park Road
116 Janis Street                        Dallas, TX 75225               Fort Worth, TX 76135
West Monroe, LA 71292




Gary Dwayne Roberson                    Gary Dwight Condry             Gary E And Christine D Reed
Ashley Thrash Roberson                  8931 Browns Valley Ln          Revocable Trust
364 Hidden Acres Road                   Camby, IN 46113                PO Box 1230
Arcadia, LA 71001                                                      Porterville, CA 93258




Gary E And Jan H Luffey                 Gary E Hirsch                  Gary E Krell Tracy K Krell
197 Luffey Lane                         4520 West Echo Lane            705 Delwood Dr
Ruston, LA 71270                        Glendale, AZ 85302             Longview, TX 75606




Gary E Odom                             Gary E Patterson               Gary Edward Roller
274 Grandview Ave                       579 Leachman Road              801 County Road 126
Valparaiso, FL 32580                    Ruston, LA 71270               Moran, TX 76464




Gary Edwin Winfree                      Gary Elzen Estate              Gary English
119 Cr 2620                             Gary L Gray Executor           356 Tom Robinson Road
Mineola, TX 75773                       PO Box 2464                    Homer, LA 71040
                                        Crystal Beach, TX 77650




Gary Family Cemetery Trust              Gary Farm LLC                  Gary Fransen
2825 South 12Th Street                  6440 Highway 1 North           14706 Hoya Court
Apartment 1214                          Shreveport, LA 71107           Houston, TX 77070
Beaumont, TX 77701




Gary Gordon Gantt                       Gary Gray Life Estate          Gary H Garrison
1887 Jonesboro Hwy                      405 Owl Hollow Rd              PO Box 142873
Arcadia, LA 71001                       San Marcos, TX 78666           Irving, TX 75014




Gary Hale Ballard                       Gary Hinkle                    Gary Hudson
518 Burdett Rd                          PO Box 733                     Address Redacted
Leland, MS 38759                        Tatum, TX 756910733




Gary J Burris                           Gary J Lamb                    Gary Jay Malone
Address Redacted                        PO Box 3383                    1224 Hearth Stone
                                        Midland, TX 79702              Carthage, TX 75633
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Gary Kirkpatrick                        Gary L Cook                    Gary L Corley
766 Route 148                           240 Lakeside Hills Dr          451 N Washington Ave
Killingworth, CT 06419                  Montgomery, TX 77316-6953      El Dorado, AR 71730




Gary L Hilburn                          Gary L Peacock Trust           Gary L Pesnell
101 South Meyers Drive                  Gary L Peacock Ttee            1461 Scales Road
Lafayette, LA 70508                     9125 Harrisburg Ln             Rayville, LA 71269
                                        Mckinney, TX 75071




Gary L Sims                             Gary L Young                   Gary Lambert
18215 Shaw Rd                           4414 Ringrose Drive            PO Box 59361
Cypres, TX 77429                        Missouri City, TX 77459        Los Angeles, CA 90059




Gary Lane Brazzel                       Gary Lee Hiller                Gary Lee Mccormick
408 Harrison Rd                         PO Box 260221                  PO Box4108
Ruston, LA 71270                        Corpus Christi, TX 78426       Monroe, LA 71291




Gary Loving                             Gary Lucas Life Estate         Gary Lynn
PO Box 1836                             1402 Palm Drive                7304 Cabott Cove
Andrews, TX 79714                       Texarkana, TX 75503            Rowlett, TX 75089




Gary Lynn Kempf                         Gary M Beckerman               Gary M Harris
2249 BlairS Landing Road                3584 Pine St                   33 Tenth Avenue
Karnack, TX 75661                       Santa Ynez, CA 93460           Huntington Station, NY 11746




Gary M Williams                         Gary Manford                   Gary Mark Ballard
PO Box 3261                             824 Mullen Rd Nw               3209 Camari
Texarkana, TX 75504                     Los Ranchos, NM 87107          Midland, TX 79705




Gary Marow                              Gary Mcgarrigle                Gary Mcmahon
559 Faith Ave                           9712 Sterling Arm              PO Box 78
Cardiff, CA 92007                       Port Alberni, BC V9Y 9C7       Ninnekah, OK 73067-0078
                                        Canada




Gary Michael Franklin                   Gary Miniman                   Gary N Smith
1310 Donna Kay Drive                    Tod                            513 N Knapp St
Kerrville, TX 78028                     4 Walbash Court                Iowa, LA 70647-3931
                                        Mt Sinai, NY 11766-2917




Gary Noles Susan Kelley Noles           Gary O Covington               Gary Parish John B Parish
1085 Wafer Rd                           96 Lafayette 228               4725 S E 116Th
Ruston, LA 71270                        Taylor, AR 71861               Oklahoma City, OK 73165
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Gary Parker                             Gary Paul Colvin                      Gary Potter
8557 Marion                             132 Lanes End                         2001 Longhorn
Frisco, TX 75034                        Choudrant, LA 71227                   Levelland, TX 79336




Gary R Dickerson                        Gary R Dolezal                        Gary R Lowe
15998 Highway 2                         1400 Danbury Drive                    2654 Community Drive 122
Bernice, LA 71222                       Mansfield, TX 76063                   Dallas, TX 75220




Gary R Mcgregor                         Gary R Stepansky                      Gary Randall Barmore
6645 5 E Redmont Cir                    4102 Bootes Ct                        PO Box 792
Mesa, AZ 85215                          Sparks, NV 89436-7321                 Lamar, AR 72846




Gary Randel Derrick                     Gary Rholes                           Gary Ronald Goodnight
7301 Ranch Road 620 North               518 Nacogdoches Street                Brenda Kay Schmidt Goodnight
Suite 155 Box 201                       Center, TX 75935                      120 Deer Creek
Austin, TX 78726                                                              Arcadia, LA 71001




Gary S Barker                           Gary S Swindell                       Gary Sheagley
PO Box 9731                             333B Barnes Bridge Rd                 39425 Calle Contento
Midland, TX 79708                       Sunnyvale, TX 75182                   Temecula, CA 92591




Gary Sommerfelt                         Gary Sowyrda                          Gary Steve Wiederkehr
Kathryn A Sommerfelt                    2511 Lake Gardens Ct                  134 W Persimmon
7929 Glade Creek Ct                     Kingwood, TX 77339                    Granite Shoals, TX 78654
Dallas, TX 75218




Gary T Bazer                            Gary T Denson And Wife Sandy Denson   Gary Vivion
8026 Colquitt Rd                        3415 Fleming Drive                    25021 North Bingham Road
Keithville, LA 71047                    Baytown, TX 77521                     Bingham, NE 69335




Gary W Bourgeois                        Gary W Holley Lela A Holley           Gary W Lauman
Amy Elizabeth P Bourgeoi                PO Box 1136                           3113 Phaeton Court
303 Pinecrest Dr                        Dayton, TX 77535                      Plano, TX 75023
Arcadia, LA 71001




Gary W Nichols                          Gary W Pearson                        Gary W Shepperd
32 Yankee Drummer Drive                 PO Box 274                            4070 Manorbrier Circle
Warren, MA 01585                        Terrell, TX 75160                     Castle Rock, CO 80104




Gary Wade Martin                        Gary Walters                          Gary Wayne Bell
PO Box 515                              30025 Butte Drive                     12735 4 1/2 Street
Scottsville, TX 75688                   Golden, CO 80403                      Santa Fe, TX 77510
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Gary Wayne Hunt                         Gary Wayne Johns Judy Johns      Gary Wayne Lewis
5261 Hwy 135 North 2B                   209 Cheek Road                   663 Hwy 563
Gladewater, TX 75647                    Transylvania, LA 71286           Dubach, LA 71235




Gary Wayne Lewis Lydia                  Gary Wayne Maxwell               Gary Wayne Stelzig
Lee Guice Lewis                         Janet Nutt Maxwell               10906 Dunbrook Drive
663 Highway 563                         220 Beaver Creek Rd              Houston, TX 77070
Dubach, LA 71235                        Ruston, LA 71270




Gary Williams                           Gary Wilton Waller               Gary Winfree
Hc 68 Box 761                           4119 Cross Bend Drive            119 Cr 2620
Brady, TX 76825                         Arlington, TX 76016              Mineola, TX 75773




GaryS Backhoe Inc                       Garza Raul                       Garza County Tax Ac
231 Juniper Rd                          Address Redacted                 PO Box 26
Bronte, TX 76933                                                         Post, TX 79356




Gas Analytical Solutions Inc            Gas Chill Inc                    Gas Drive Global Us Inc
19330 S Hwy 155                         c/o Kinder Morgan                2502 Melodi Lane
Flint, TX 75762                         Wells Fargo Bank Na Dept 3015    Casper, WY 82601
                                        PO Box 201607
                                        Dallas, TX 75320-1607



Gas Investors Group Lp                  Gas Measurement Services LLC     Gas Processors Inc
3890 West Northwest Highway             PO Box 3917                      PO Box 683
Seventh Floor                           Houma, LA 70361                  Columbia, MS 39429
Dallas, TX 75220




Gas Resources Mgmt Inc                  Gas Sol Natural Gas Processing   Gassco Inc
c/o Joseph Mastalerz Cpa                Longview Gas Plant               PO Box 9866
8191 Southpark Ln Ste 208               3407 Camp Switch Road            Bakersfield, CA 93389
Littleton, CO 80120-4641                Longview, TX 75604




Gate Guard Services Lp                  Gates Land Corporation           Gateway Pipe Supply Inc
5656 South Staples Ste 312              3606 Forsythe Avenue             720 Olive St Ste 610
Corpus Christi, TX 78411                Monroe, LA 71201                 Saint Louis, MO 63101-2331




Gator Services LLC                      Gator Valve Inc                  Gator Valve Inc
PO Box 312                              115 Thruway Park Rd              PO Box 5416
Longview, TX 75606-0312                 Broussard, LA 70518              Lafayette, LA 70502




Gaut Contractors                        Gaven M Alexander                Gay Brown
PO Box 2616                             7620 Rocky River Road            3000 Midway Rd 106
Kilgore, TX 75663                       Concord, NC 28025                Plano, TX 75093
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Gay C Blosser                            Gay Diane Snell                 Gay Edna Chandler
9623 East Withers Way Circle             108 Cemetery Road               6007 E University Unit 133
Houston, TX 77065                        Columbia, MS 39429              Dallas, TX 75206




Gay G Barron                             Gay Hoff Taylor                 Gay Horton
1203 Hillcrest                           PO Box 19935                    6005 River Rd
Whitehouse, TX 75791                     Houston, TX 77224               Shreveport, LA 71105




Gay Huff                                 Gay N Booker Reynolds May       Gay Nell Booker May
Joe Ben Wolf Iii Aka Trey Wolf Poa       642 Booker Loop Road            642 Booker Loop Rd
2412 Redbud Street                       Mansfield, LA 71052             Mansfield, LA 71052
Kilgore, TX 756624139




Gay P Robinson                           Gay W Shirley                   Gay Y Hejtmancik
3301 La Villa Rd G 4                     644 Ashbourne                   157 WhistlerS Cove
Graford, TX 76449                        Shreveport, LA 71106-5933       Rockport, TX 78382




Gaye Clemens Fritts                      Gaye L Neel                     Gaye Lanell Meyers
7003 Edgefield Drive                     13804 S H 30                    1631 Whispering Woods Trail
Austin, TX 78731                         College Station, TX 77845       New Braunfels, TX 78132




Gaye Nash Cranor                         Gaye Turnage Thornton           Gayla Beck
542 Rives Pl                             119 Janis Street                1556 Warwick Dr
Shreveport, LA 71106-6112                West Monroe, LA 71292           Lancaster, TX 75134




Gayla Carole Mcdonald                    Gayla Graves                    Gayla Marie Paredez
3145 Linden Ave                          3205 Chaha Rd                   688 County Road 103
Gulf Breeze, FL 32563                    Rowlett, TX 75088               San Saba, TX 76877-7511




Gaylan Wayne Dickens                     Gayle Beth Hoffman Starnes Tr   Gayle Cox
5668 Lake Livingston Blvd west           4101 Green Point                1101 Guadalupe
Livingston, TX 77351                     Waco, TX 76710                  Denton, TX 76205




Gayle E Stokes                           Gayle Findley Henry             Gayle Findley Henry And
Route 1M Box 356                         PO Box 600                      Walter A Henry
Carthage, TX 75633                       Tatum, TX 75691                 PO Box 600
                                                                         Tatum, TX 75691




Gayle Joseph Jobe Deceased               Gayle L Findley Henry Ttee      Gayle L Honeycutt
11130 Magnolia Glen                      Of The Terry Findley Trust      4207 Seminole St
Shreveport, LA 71106                     PO Box 600                      Pasadena, TX 77504
                                         Tatum, TX 75691
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Gayle Larue Dunn                         Gayle Luan Thompson                     Gayle M Lewis
112 Sequoyah View Drive                  4736 S Oak Ct                           47717 284Th St Se
Oakland, CA 94605                        Littleton, CO 80127                     Enumclaw, WA 98022




Gayle Mahagan                            Gayle Nail                              Gayle Oakley Smale
6234 Laurel Crest Ln                     Box 72                                  3138 W Vine Ave
Sachse, TX 75048                         Snyder, TX 79549                        Visalia, CA 93291-8578




Gayle Osborne                            Gayle Peppeard                          Gayle Still
825 N Robertson Rd                       8062 S Zephyr St                        600 Fm 2011
Casper, WY 82604                         Littleton, CO 80128-5523                Longview, TX 75603




Gayle Taylor Green                       Gayle Taylor Rannals                    Gayle W Hansen
PO Box 804                               1400 Francis Avenue                     1386 Hillside Circle
Hallsville, TX 75650                     Metairie, LA 70003                      Burlingame, CA 94010




Gayle Walker Hanson                      Gaylon Costlow                          Gaylon L Marks Patsy Blackwell Marks
13 Fontis Ter                            PO Box 532                              1220 Hwy 519
Crossville, TN 38558-7615                Chandler, TX 75758-0532                 Arcadia, LA 71001




Gaylon Lee Hobbs                         Gaylon Mcgee                            Gaylor Michael Christian
7966 Deerfield Street                    PO Box 304                              3522 Oak Landing
San Diego, CA 92120                      Lamesa, TX 79331                        Conroe, TX 77304




Gayna C Malcolm Packnett                 Gaynell Hierholzer                      Gaynell Johnson Dealing In
8141 Mount Vernon Hwy                    Charles P Hierholzer                    Her Sole And Sep Prop
Alexandria, VA 22309                     330 Pecan Creek                         14107 Sherburn Manor Dr
                                         Henderson, TX 75654                     Cypress, TX 77429




Gaynelle Russell Brashear                Gaynelle Russell Brashear Life Estate   Gaytan Francisco
18 Ramblewood Dr                         25 Brownwood Dr                         Address Redacted
Longview, TX 75605-3351                  Longview, TX 75602-1901




Gb Lindsey                               Gbg Minerals Ltd                        Gbg Ranch Ltd
Stella Lindsey Trustee                   Attn Manuel A Benavides                 Attn Manuel A Benavides
56 Presidio Rd                           1019 Chihuahua Street                   1019 Chihuahua
Montgomery, TX 77356                     Laredo, TX 78040                        Laredo, TX 78040




Gbh Communications                       Gbh Communications Inc                  Gbh Communications Inc
Norma Flores                             1309 S Myrtle Ave                       PO Box 509015
1309 S Myrtle Avenue                     Monrovia, CA 91016-4150                 Dept Ws203
Monrovia, CA 91016-4150                                                          San Diego, CA 92150-9015
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Gbn Inc                                GC Construction/GC Energy Services   Gccisd Tax Services
2307 Clarinda Ave                      167 Duraflake Rd                     PO Box 2805 4544 I 10 East
Wichita Falls, TX 76308                Simsboro, LA 71275-3338              Baytown, TX 77521-8881




Gcic LLC                               Ge Capital                           Ge Capital IT Solutions Inc
Res Energy Solutions                   c/o Ricoh Usa Program                Legal Dept Ge Intelligent Platforms
PO Box 671705                          PO Box 650016                        2500 Austin Drive
Dallas, TX 75267-1705                  Dallas, TX 75265-0016                Charlottesville, VA 22911




Ge Inspection Technologies Lp          Ge Intelligent Platforms             Ge Oil And Gas Compression Systems LLC
14348 Collections Center Dr            PO Box 641275                        Legal Department
Chicago, IL 60693                      Pittsburgh, PA 75264-1275            16250 Port Northwest Dr
                                                                            Houston, TX 77041




Ge Oil Gas                             Ge Oil Gas Compression Systems LLC   Ge Oil Gas Esp Inc
Attn Jennifer Reese                    PO Box 847108                        Kathryn Brigance
PO Box 911776                          Dallas, TX 75284-7108                5500 Se 59Th Street
Dallas, TX 75391-1776                                                       Oklahoma City, OK 73135




Ge Oil Gas Esp Inc                     Ge Oil Gas Logging Services          Ge Oil Gas Pressure Control
PO Box 301200                          PO Box 201507                        PO Box 911776
Dallas, TX 75303-1338                  Houston, TX 77216-1507               Dallas, TX 75391-1776




Ge Oil Gas Pressure Control Lp         Geary L Trigleth                     Geary O Savoie
April Jones                            3 Armstrong Drive                    2920 Aster Street
PO Box 82                              Frisco, TX 75034                     Lake Charles, LA 70601
Houston, TX 77041




Gee Family Tr Utd 12/23/92             Geffrey Wayne Forrester              Geffrey Wayne Forrester Et Ux
Robert E Gee Ttee                      227 Cranford Street                  Sherry Lynn Rodgers Forrester
69 De Bell Dr                          Simbsboro, LA 71275                  227 Cranford Street
Atherton, CA 94027                                                          Simsboro, LA 71275




Gekko Engineering Inc                  Gel Petroleum Inc                    Gel Technologies Corp
1210 East 223Rd Street                 4005 Savell Drive                    PO Box 51438
Suite 301                              Baytown, TX 77521                    Midland, TX 79710
Carson, CA 90745-4215




Geller Bond Fund                       Gemini Insurance Co                  Gemini Insurance Company
c/o Jefferies Co                       c/o J H Blades Co                    c/o Berkley Oil Gas A W R Berkley Co
11100 Santa Monica Blvd Floor 7        Richard Martin                       Attn Ar Deductible Payments
Los Angeles, CA 90025                  520 Post Oak Blvd Suite 250          PO Box 202736
                                       Houston, TX 77227                    Dallas, TX 75320-2736



Gems Ltd                               Gena Comer Blackstock                Gena Inmon
Dept 871                               359 Jill Loop                        10183 Cr 174
Tulsa, OK 74182                        Ruston, LA 71270                     Anderson, TX 77830
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Genco Energy Services Inc               Genco Services                 Gene A Hartsfield Jr
PO Box 720130                           1701 W Hwy 107                 22336 Shawnee Lane
Mcallen, TX 78504                       Mcallen, TX 78504              Athens, AL 35613




Gene A Tatum                            Gene Ann Sills                 Gene Anne Martin Reynolds
11534 Cr 2143 N                         398 Cr 3265                    204 South Tumbleweed Trail
Tatum, TX 75961                         Clifton, TX 766344595          Austin, TX 78733




Gene B Glenn                            Gene B Washburn                Gene Butler
336 Leeward Cir                         1640 Appleburry Drive          1008 Avenue H
Azle, TX 76020                          Fayetteville, AR 72704         Nederland, TX 77627




Gene C Price Indv As Ttee Of Jack E     Gene Carroll Mathis            Gene Collier Price Gs Trust
Price Test Tr As Indp Exec Of Est Of    3602 40Th St                   Thomas Stanley Price Trustee
Jack E Price                            Lubbock, TX 79413              PO Box 7009
PO Box 7009                                                            Longview, TX 75607
Longview, TX 75607



Gene Earl Knight                        Gene Elton Coats               Gene Evans A/K/A Raul Gene Evans
PO Box 64788                            3401 E Marshall Ave Apt 124    1119 North Jamerson Road
Lubbock, TX 79464                       Longview, TX 75601             Danville, VA 24540




Gene I Schultz Sr                       Gene Kelly Wife Jeri Kelly     Gene Kirkpatrick
355 Canal St                            427 Moonlight Dr               6124 Shadow Wood Dr
Mondovi, WI 54755-1601                  Corsicana, TX 75109            Shreveport, LA 71107-9591




Gene M Heider                           Gene Maxwell Baker             Gene Mcdaniel
21403 Lakefront Dr                      30581 Sun Creek Drive          135 County Road 109
Lago Vista, TX 78645-6116               Evergreen, CO 80439            Carthage, TX 75633




Gene N Kohrman                          Gene Nixon Kohrman             Gene Philip Oakes
691 Pridgen Rd                          520 Pleasure Island Blvd       2310 Somersworth Dr
Livingston, TX 77351                    Sect 1 Box 2                   Shreveport, LA 71118
                                        Port Arthur, TX 77640




Gene Price Keeney                       Gene Pritchard                 Gene R George Assoc Inc
8602 Calviton Ct                        Address Redacted               PO Box 2775
Granbury, TX 76049                                                     Casper, WY 82602




Gene R George Associates Inc            Gene R Kottke Wife             Gene Riddle
PO Box 2775                             216 E Reagan Street            4251 Estesville Rd
Casper, WY 82602                        Palestine, TX 758013632        Longview, TX 75602
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Gene S Brazzel And Marjorie Cox Brazzel   Gene T Oliver Beverly                     Gene Thomas And Wife Margaret M Thomas
196 Harrison Road                         PO Box 51402                              8728 S Hwy 287
Ruston, LA 71270                          Lafayette, LA 70505                       Corsicana, TX 75109




Gene Walker Estate                        Gene Wilson                               Gene Yarbrough
c/o Pamela Walker                         23 1/2 S 19Th St                          15 Outlook Circle
8506 Oak Ridge Drive                      Allen Town, PA 18104                      Swannanoa, NC 28778
Bonhan, TX 754185728




Gene Zilkey                               Geneal Smelley Dunn Brummett              Genecov Investments Ltd
204 Briarpatch Ln                         Aka Ota Geneal Smelley Dunn Brummette     c/o Burns Comm Prop Llc
Jacksonville, AR 720769380                3003 Fair Dawn Ct                         909 Ese Loop 323 Ste 650
                                          Katy, TX 77450                            Tyler, TX 75701




Genecove Sunset Oil Gas Ltd               General Atlantic Employee Tr              General Atlantic Energy
c/o Burns Coml Properties                 Donald D Wolf Trustee                     410 17 St Ste 1400
909 Ese Loop 323 Suite 650                c/o Ocean Energy Inc                      Denver, CO 80202
Tyler, TX 75701                           PO Box 4970
                                          Houston, TX 77210



General Council Of Assembly Of God        General Hydrocarbons 1982                 General Hydrocarbons 1983X
Attn Legal Mineral Rights                 c/o North American Resources              c/o North American Resources
3900 S Overland Ave                       16 Granite                                16 E Granite
Springfield, MO 65807                     Butte, MT 59701                           Butte, MT 59701




General Land Office                       General Marine                            General Monitors Inc
PO Box 12873                              1221 Lamar Ste 1220                       PO Box 644910
Austin, TX 78711-2873                     Houston, TX 77010                         Pittsburgh, PA 15264-4910




Generation Equipment Srv Co               Generation Services Group Lc              Genergy Ltd
1021 Sw Klickitat Way Ste 106             PO Box 5400                               2306 Bonita Street
Seattle, WA 98134-1100                    Kingwood, TX 77325                        Austin, TX 78703




Genesis Crude Oil Lp                      Genesis Endeavors LLC Oilfield Division   Genesis Mineral Corp
919 Milam                                 PO Box 10148                              PO Box 771
Suite 2100                                Longview, TX 75608                        Duncan, OK 73534
Houston, TX 77002-5338




Genesys Instrumentation LLC               Genetha Levingston                        Geneva Duck Huckabee Life Est
977 Elkton Drive                          452 Butler Rd                             1001 Senna Street Apt 146
Colorado Springs, CO 80907                Simsboro, LA 71275                        Omak, WA 98841




Geneva Lege                               Geneva Lois Farquer                       Geneva Pagitt
4313 Tomberra Way                         806 W Elm                                 1003 Village Wood Ct
Dallas, TX 75220                          Olney, TX 76374                           Arlington, TX 76012-2043
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Geneva R Locke                          Geneva Rose Whitehead           Geneva V Beck Richardson
7127 Fm 699                             4705 Mandan Road                3200 West California Avenue
Tenaha, TX 75974                        Virginia Beach, VA 23457        Ruston, LA 71270




Geneva Williams                         Genevieve Brecheisen Fmly Tst   Genevieve Brenholtz
2916 Magna Vista                        Genevieve B Brecheisen Ttee     1343 Continental Ave
Dallas, TX 75216                        Richard John Brecheisen         Melbourne, FL 32940-6704
                                        1905 E Rose Lane
                                        Phoenix, AZ 85016



Genevieve Luke                          Genevieve S Cummings            Genevieve Wagoner
12606 Bounty Ln                         2902 Rust Avenue                1148 Cactus Court
Tomball, TX 77375-8401                  Texas City, TX 77590            Douglas, WY 82633




Genia Kelly                             Genie K Q Anderson              Genie Moore Burkhalter
500 Broadway St 30                      2108 Leon Dr                    7 E Rex Beard Road
Henderson, TX 75652                     Plano, TX 75074-3822            Haughton, LA 71037




Geo Drilling Fluids Inc                 Geo Southern Corporation        Geode Capital Management LLC
PO Box 1478                             1425 Lake Front Cir Ste 200     Post Office Square Hubway Station
Bakersfield, CA 93305                   Woodlands, TX 77380             1 Post Office Square
                                                                        Boston, MA 02109




Geoff Doke                              Geoff Panos                     Geoffrey Dehaven Pomeroy
6720 Speedway Court                     1477 Wilton Way                 PO Box 233
Tyler, TX 75703                         Salt Lake City, UT 84108        Boonville, CA 95415




Geoffrey Jonathan Davis                 Geointerpret LLC                Geological Consulting Services
3614 Queenswood Ln                      1219 Eversham Way               PO Box 37188
Garland, TX 750403592                   Houston, TX 77339               Houston, TX 77237




Geological Drafting Consultants Inc     Geological Exploration Co       Geological Research Centers
400 Travis Suite 1606                   PO Box 3525                     PO Box 1229
Shreveport, LA 71101                    Longview, TX 756063525          Midland, TX 79702




Geomap Company                          Geomap Technologies             Geomar Resources Inc
1100 Geomap Ln                          PO Box 671077                   PO Box 470397
Plano, TX 75074                         Dallas, TX 75267-1077           Fort Worth, TX 76147




Geonix                                  Geophysical Pursuit Inc         George A Cohlmia
PO Box 2169                             1740 Westheimer Rd              14801 Carlingford Way
Kilgore, TX 75663                       Ste 200                         Edmond, OK 73013
                                        Houston, TX 77098
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George A Haddad Jr                       George A Kelly Trust              George A Khoury Jr
PO Box 7847                              Bank One Tx1 1315                 416 Travis Street Ste 1108
Shreveport, LA 71107                     Acct 2451569                      Shreveport, LA 71101
                                         PO Box 99084
                                         Fort Worth, TX 76199-0084



George A Osborne                         George A Peterkin Trustee         George A Ramirez
5782 Ivy Vine C4                         5787 Indian Cir                   311 Cosgrove St
Las Vegas, NV 89141                      Houston, TX 77057                 San Antonio, TX 78210




George A Rancich Jr                      George A Wiley Sr                 George Albert Murphrey
PO Box 137                               107 Lockwood Drive                2995 Britton Rd
Tornillo, TX 79853                       Monroe, LA 71202                  West Monroe, LA 71292




George Alcorn Jr                         George Allen Newman               George Allen Thomas Tr
1301 White Street                        265 Avenida De Leon               George Allen Thomas Succ Tr
Houston, TX 771007                       Abilene, TX 79602                 600 N Marienfeld Ste 805
                                                                           Midland, TX 79701




George Allen Ward                        George Allman Jr Trust            George Alton Liner
13534 Shortleaf Dr                       Trust Minerals Sec 1002601        7882 Highway 822
Dallas, TX 75253                         c/o Jpmorgan Chase Bank Na Ttee   Dubach, LA 71235
                                         PO Box 99084
                                         Fort Worth, TX 76199-0084



George And Rebecca D Gillespie           George And Virginia Dubose        George Anthony Grafton Darlow
PO Box 236                               110 County Road 213               1224 Maple Ave
Hallsville, TX 75650                     Three Rivers, TX 78071            Evanston, IL 60202-1217




George B Brockway                        George B Colvin                   George B Harrison
Eastlake Rd                              319 Able Dr                       1646 Fm 2141
Deruyter, NY 13052                       El Dorado, AR 71730               Tenaha, TX 75974




George B Holstead Iii                    George B Rice Deceased            George Bommerer
1621 Laurel Rd                           PO Box 600289                     1850 Alice St Apt 520
Winter Park, FL 32789                    Dallas, TX 75360                  Oakland, CA 94612




George Bonds                             George Brown Partnership Lp       George Bruce Cunyus
PO Box 586                               1001 Fannin                       PO Box 1887
Whitney, TX 76692                        Suite 4700                        Kilgore, TX 756631887
                                         Houston, TX 77002




George Bussey Custer Jr                  George C A Huffman                George C Ayres
405 Slaydon                              11807 Kirby Hill Court            4028 Betsy Ln
Henderson, TX 75654                      Cypress, TX 77433                 Houston, TX 77027-5106
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George C Holland Jr                     George C Neale                    George C Petty
1617 Hemphill Drive                     PO Box 1945                       49 950 Jefferson Street
Cleburne, TX 760336566                  Austin, TX 78767                  130 113
                                                                          Indio, CA 92201




George C Roberts Jr                     George C Stephens                 George C Watson Rev Trust
2908 Houston Street                     1800 Augusta Dr                   Dennis C Watson Trustee
Kilgore, TX 75662                       Ste 100                           PO Box 1714
                                        Houston, TX 77057-3192            Lake Ozark, MO 65049




George Calvert Ray Jr                   George Carrie Link                George Carter
711 4Th St Sw                           c/o J P Morgan Chase Trust Dept   1570 Kings Road
Conover, NC 28613                       PO Box 1412                       Marshall, TX 75672
                                        Mail Code La1 3735
                                        Monroe, LA 71201



George Chapman                          George Clair                      George Coleman Jr
2787 County Rd 492                      PO Box 55                         911 Drake Avenue
Marquez, TX 77865                       Price, TX 75687                   Marin City, CA 94965




George D Cooper                         George D Hunt Residuary Trust     George D Stevens Trust
505 W Fordall St                        Amsouth Bank Trustee              Richard M Stevens Ind Trustee
Henderson, TX 75652                     PO Box 2628                       13 Shady Cove
                                        Jackson, MS 39213                 San Antonio, TX 78213




George D Weatherston                    George Dan Parker Ii And          George Davis
9310 Broadway Ste 201                   George Dan Parker Iii             1416 Arbor Vital Avenue
San Antonio, TX 78217                   5003 Briarparc                    Dallas, TX 75224
                                        Bryan, TX 77802




George Deweese Sr                       George Donald Schauer             George Duren Jr
PO Box 191                              1 Hewit Drive                     1225 Saratoga Ave Apt 210A
Big Sandy, TX 75755                     Corpus Christi, TX 78404          San Jose, CA 95129




George E Barlow                         George E Brimmer Estate           George E Brimmer Ii
17723 East Powers Drive                 American Natl Bk Cheyenne Tr      PO Box 115
Centinnial, CO 80015                    1912 Capitol Ave                  Centennial, WY 82055
                                        Cheyenne, WY 82001




George E Collins Or Betty Collins       George E Dix Jr                   George E Dunlop Est Stuart G
PO Box 511                              Fao Royalty Lender Ltd            Dunlop Exc Dorthea Dunlop Poa
Kemmerer, WY 83101                      PO Box 25014                      1433 Williams St 204
                                        Dallas, TX 75225                  The Towers At Cheesman Park
                                                                          Denver, CO 80218



George E Gibbons Iii                    George E Grobowsky                George E Jackson
3603 Aspen Leaf                         816 Shadowood Drive               PO Box 386
Roundrock, TX 78681                     Marshall, TX 75672                Simsboro, LA 71275
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George E Jochetz Iii                      George E Kirkwood                          George E Linton
12323 Rip Van Winkle Dr                   844 Canyon Creek Ln                        1108 Mustang Rd
Houston, TX 77024                         Weatherford, TX 76087-4053                 Gilmer, TX 756452711




George E Mccrea And June Bagwell Mccrea   George E Rogers                            George E Seay Iii
John J Bagwell Jr Rosemary C Bagwell      PO Box 1424                                1325 N St Paul Suite 3500
Bruce Smith Attorney                      Graham, TX 76450-7424                      Dallas, TX 75201
PO Box 870
San Angelo, TX 76902



George E Turner                           George E Woods Test Residual Trust         George Earl Cariker Jr
128 Turner Ln                             George Ronald Woods Trustee                1992 Augusta Dr
Mansfield, LA 71052                       101 Professional Drive                     Houston, TX 77056
                                          West Monroe, LA 71291




George Edward Ramsey Iii                  George Edward Wiggers                      George Eric Joseph
500 W 5Th St Suite 1210                   PO Box 14182                               PO Box 2469
Austin, TX 78701                          Monroe, LA 71201                           Longview, TX 75606




George Eugene Verhalen Decd               George F Butler Iii                        George F Maddox Co
PO Box 456                                Hirve 5 Apt 1                              Attn Betty Maddox
Scottsville, TX 75688                     Tallinn Harjumaa 10915                     4729 Kismet Place
                                          Estonia                                    Broomfield, CO 80023




George F Molhusen                         George Fitch                               George Ford Burg
10324 Mosscrest Drive                     3701 Broadmoor Blvd                        5717 Wast 98Th Place
Dallas, TX 75238                          Nacogdoches, TX 759656612                  Overland Park, KS 66207




George Foster Provost Jr                  George Friedberg                           George G Huffman Grandchildren
224 Adeline Avenue                        Arlene Friedberg Jt Ten/Wros               Tr E N Smith Jr Trustee
Pittsburgh, PA 15228                      Apt 913E                                   PO Box 747
                                          25 Rockledge Avenue                        Marshall, TX 75671
                                          White Plains, NY 10601-1217



George G Huffman Test Trust               George G Huffman Testamentary              George G Ware Estate
E N Smith Jr Trustee                      Trust Fbo The Children And Grandchildren   c/o Andrea Ware
PO Box 747                                PO Box 747                                 4836 Calmont
Marshall, TX 75671                        Marshall, TX 75671                         Ft Worth, TX 76107




George Gerardo Ramirez                    George Graham Caver                        George Gregory Brox
310 Plymouth Ln                           13292 Hwy 146                              69 Tarah Way
Laredo, TX 78041                          Dubach, LA 71235                           Fremont, NH 03044




George Gresham Womack                     George Grunewald                           George H Boyd
209 Natchez Trace                         1016 E Silver Street                       4501 Highway 145
Covington, LA 70433                       Tuscon, AZ 85719                           Choudrant, LA 71227
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George H Lawrence                          George H Mac Mcgee             George H Meadors And
c/o American Gas Assoc                     PO Box 2471                    Kay Mcfarland Meadors
1515 Wilson                                Midland, TX 79702              113 Azalea Dr
Arlington, VA 22209                                                       Oxford, MS 38655




George H Millard Iii                       George H Millard Iii And       George Hendrix
PO Box 630022                              Laura Mccranie Millard         c/o Annie Hendrix
Nacogdoches, TX 75963                      1005 Kavanagh Dr               Box 489
                                           Austin, TX 78748               Saratoga, TX 77585




George Hill                                George Holden Roark            George Horton Jr
PO Box 7103                                Rebecca Dial Roark Jt Ten      17328 Fm 2163
Lawton, OK 73506                           2220 Turf Club Dr              Kemp, TX 75143
                                           Arlington, TX 76017-4570




George Horton Jr Estate                    George Hunt Jr                 George Hyot Brashear
c/o Ona Mae Horton                         2705 Hunt Road                 2358 Magnolia Court
17328 Fm 2613                              Longview, TX 75604             Gulfport, MS 39503
Kemp, TX 75143




George J Despot Trustee                    George J Hymon                 George J Mcdermott
1805 Beck Building                         PO Box 448                     505 Oppenheimer
Shreveport, LA 71101                       Grambling, LA 71245            Unit 807
                                                                          Los Alamos, NM 87544




George J Murphy Trust Dtd 12/10/82         George J Peterson Trustee      George J Reagan Trust
Candace Phelan                             c/o Person Whitworth Ramos     Ronda Brunson And
Charles T Murphy Co Trustees               Po Drawer 6668                 Cynthia Harvey Co Trustees
1828 Warwick Rd                            Laredo, TX 78042               PO Box 1388
San Marino, CA 91108                                                      Chico, CA 95927



George James Fuller                        George Johns                   George Joseph
505 E Woodhaven Road                       4805 Silent Ridge Court East   PO Box 1706
Ruston, LA 71270                           Fort Worth, TX 76132           Longview, TX 75606




George Joseph Beason                       George Joseph Martha Joseph    George K Tomkies Ii
10217 Vintage Dr                           PO Box 1706                    10731 Fallsbridge Dr
Keller, TX 76248                           Longview, TX 75606             Jersey Village, TX 77065




George K Tomkies Life Estate               George L Cline                 George L Stieren Trust
4512 Alton St                              1812 Corley                    Barry Coates Roberts
Shreveport, LA 71109                       Ruston, LA 71270               George L Stieren Co Trustees
                                                                          7373 Broadway Ste 406
                                                                          San Antonio, TX 78209



George L Westbrook                         George Larry Custer            George Lee
c/o Texas Comptroller Of Public Accounts   PO Box 1864                    3118 Myrtle Street
Unclaimed Property Division                Three Rivers, TX 78071         Kansas City, MO 64128
PO Box 12019
Austin, TX 78711-2019
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George Lee Moore Decd                     George M Brady                 George M Ivroy Childrens Trust
2016 Harlem Street                        202 College Ave Apt B          U/Lwt Linda J Blasdel Trustee
Houston, TX 77020                         Henderson, TX 75654            783 Tamarack Way
                                                                         Los Banos, CA 93635




George M Knox Jr                          George M Morris Jr             George M Myer
PO Box 658                                8723 Autumn Oaks Drive         Pmb 1125
Lawai, HI 96765                           Dallas, TX 75243               3767 Forest Ln Ste 124
                                                                         Dallas, TX 75244




George M Ridge Sr                         George M Strickler Jr          George M Thomason Bonnie S Thomason
2000 Loker St                             48 Allard Blvd                 2502 Briarhill Dr
Mission, TX 78572-9227                    New Orleans, LA 70119          Ruston, LA 71270-2544




George M Vetter                           George M Young Sr              George Marshall Young Jr
3945 West Main Street                     200 Bailey Avenue Suite 102    1000 Foch Street Suite 120
Houston, TX 77027                         Fort Worth, TX 761078060       Fort Worth, TX 76107




George Marvin Graham Jr                   George Mcarther Costlow        George Mcfall
621 Charvers Avenue                       PO Box 386                     Address Redacted
West Covina, CA 91791                     Frankston, TX 75763




George Melvin Barney                      George Melvin Shows And        George Michael Cranford
3548 Golfing Green                        Thelma Harrison Shows          2209 Fairmont
Dallas, TX 75234                          2612 Springdale Court          Columbia, MO 65203
                                          Arlington, TX 76006




George Michael Deloney                    George Michael Mcnary          George Michael Moses
23988 Hwy 371                             287 Browns Valley Road         1126 Lehman
Sarepta, LA 71071                         Corralitos, CA 95076           Houston, TX 77018




George Michael Taylor                     George Miller                  George Moretti Jr
PO Box 615                                607 W Avalon Ct                117 Quiet Oak Cir
Arcadia, LA 71001                         Granbury, TX 76048             The Woodlands, TX 77381




George N Giannukos                        George N Jorgensen             George N Jorgensen Estate
6015 Skyline Dr                           2100 Battlefield Run Court     Carol Lee Jorgensen Carr Exec
Houston, TX 77057                         Richmond, VA 23231-8255        2100 Battlefield Run Ct
                                                                         Richmond, VA 23231




George O Culli Iii                        George O Medley                George P Whaley
107 W Mechanic St                         7143 State Road 54 145         P O Drawer P
Leesville, LA 71446                       New Port Richey, FL 34653      Marshall, TX 75671
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George P Wolter Iii                      George P Wolter Jr Margarite Wolter   George Patrick Delony
PO Box 1659                              PO Box 8686                           217 Beauregard Ln
Chandler, AZ 85244-1659                  Boise, ID 83707                       Mebane, NC 27302-8374




George Peterkin Jr                       George Pirtle Iii Rev Trust           George R Bristol
1616 W Loop S                            Bank Of America Na Trustee            PO Box 6944
Houston, TX 77027                        PO Box 840738                         San Antonio, TX 78209
                                         Dallas, TX 75284




George R Cornelius Trust Dtd 7 30 98     George R Dubose                       George R Dupuis
Betty Cornelius Ttee                     110 County Road 213                   3903 Redwood Trl
David R Cornelius Poa                    Three Rivers, TX 78071                Marshall, TX 75672-2445
2890 Wild Pepper Ave
Deltona, FL 32725



George R Hogan                           George R Kravis Ii Trust              George R Simons
920 Sierra Vista Dr                      c/o Bok Agent                         912 West Grissom Avenue
Apt A 16                                 PO Box 3499                           Mitchell, IN 47446
Las Vegas, NV 89169                      Tulsa, OK 74101




George Randall Pyles And                 George Ratkay                         George Riley Sutton
Debra Sue Singleton Pyles                1800 Atrium Parkway 503               c/o Collin Underwood
271 Baughman Lake Drive                  Napa, CA 94559                        123Rd District Court
Box 9                                                                          PO Box 147
Farmerville, LA 71241                                                          Carthage, TX 75633



George Roark                             George Romero                         George Ross Laughead
2220 Turf Club                           Address Redacted                      5975 Lockhill Rd
Arlington, TX 76017                                                            San Antonio, TX 78240




George Royalty Company                   George S Blondeck                     George S Dennis
By Jo Mercer Tallant                     156 Belden Rd                         PO Box 2547
190 Concho Trail                         Hamden, CT 06514                      Madison, MS 39110
Fort Worth, TX 76108




George S Heyer Jr                        George S Nina Johnston Pate           George S Tallichet
PO Box 66569                             PO Box 2977                           PO Box 66569
Houston, TX 772666569                    Monroe, LA 71207                      Houston, TX 772666569




George Sandra Mcjimsey Rev Tr            George Scott Bolin                    George Scott Harville
2236 Storm St                            3415 Bridle Path                      53 Tealwood
Ames, IA 50014                           Austin, TX 78703                      Shreveport, LA 71104




George Shirley                           George Spencer Wright                 George Standifer Jr
c/o Unclaimed Property Div               PO Box 301045                         874 Liberty Hill Rd
Auditor Of State                         Austin, TX 78703                      Simsboro, LA 71275
1401 W Capitol Ave Ste 325
Little Rock, AR 722012927
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George Steven Dozier                     George T Edwards Sherrill P Edwards   George T Kimbell Ii
609 Mallette Dr Apt 912                  385 Carnation Rd                      PO Box 94903
Victoria, TX 77904-3387                  Arcadia, LA 71001                     Wichita Falls, TX 76308




George T Mcjimsey                        George T Mcknight Settlor             George T Mcknight Settlor
2236 Storm Street                        U/T Dated 11/08/85                    Ut Dtd 11/08/85
Ames, IA 50014                           George T Mcknight Trustee             Linda L Mcknight Trustee
                                         17785 West Holly Drive                17785 W Holly Dr
                                         Surprise, AZ 85374                    Surprise, AZ 85374-3002



George T Strong                          George T Tubb                         George Taylor Edwards
N I 1 Lake Cherokee                      42 Shapestone Cove                    385 Carnation Road
Longview, TX 75603                       Jackson, TN 38305                     Arcadia, LA 71001




George Thompson                          George Timothy Keating                George V Garcia
2815 Arrants Ave                         Rb Keating Iii Guardian               301 International Blvd Trlr C1
Selma, CA 93662                          806 Main St Ste 1560                  Laredo, TX 78045-7202
                                         Houston, TX 77002




George V Garnder Revocable Trust         George V Holmes Trust                 George Vaught Jr
c/o Calvin H Cobb Iii                    Larry D Finch Trustee                 PO Box 13577
4910 Mass Ave N W                        Box 237                               Denver, CO 80201-3557
215                                      Gonzales, TX 78629
Washington, DC 20016



George Ventura                           George W Allison Jr                   George W And Neoma Mccarty Cates Jr
Address Redacted                         25836 E Holly Ln                      1767 Booker Loope
                                         Splendora, TX 77372                   Mansfield, LA 71052




George W Brox                            George W Burnaman Estate              George W Catino
69 Tarah Way                             By Deena Knox Executor                128 Parma Lane
Fremont, NH 03044                        13807 Viewfield Ct                    Spring Hill, FL 34606
                                         Houston, TX 77059-3520




George W Crothers                        George W Eisenbeis                    George W Hickey Iii
11755 S Roberts Rd                       95 Saint James Ave                    PO Box 273
Stockton, CA 95206                       Lee, MA 01238                         Elysian Fields, TX 75642




George W James Jr                        George W Lloyd                        George W Mass And Frieda Mass
321 Chautaugua                           c/o Citizens National Bank            3 Mortimer Place
Ruston, LA 71270                         Attn Teller                           Bronxville, NY 10708
                                         PO Box 1009
                                         Henderson, TX 75653



George W Regina F Mears                  George W Shaw Sr Sep Prop             George W Wilkins Jr
602 Elmwood                              Alice J Shaw                          2103 Chandler St Apt 6
Shreveport, LA 71104                     21761 Hwy 371 North                   Kilgore, TX 75662
                                         Cotton Valley, LA 71018
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George W Woodard Ii                     George W Woodard Jr                George Ward
318 S Spaulding                         138 S Spaulding Avenue             1917 Gladewood Drive
Pueblo West, CO 81007                   Pueblo West, CO 81107              Midland, TX 79707




George Washington                       George Whitten                     George Will Speed
3322 W 118Th St                         310 West 97Th St                   8207 Middle Point Street
Inglewood, CA 90303                     Los Angeles, CA 90003              San Antonio, TX 78250




George Willingham                       George Wischkowsky                 George Woods Mary J Woods
4112 Fry Ave                            25 Highland Park Village 100 822   PO Box 299
Tyler, TX 75702-5512                    Dallas, TX 75205                   Arcadia, LA 71001




George Y Bounds Fam Tuw Agency          George Young Bounds                George Young Sales Co Inc
Wfa 3500 1220                           211 S Bounds St                    PO Box 436
First Clearing Llc                      Carthage, TX 75633                 Artesia, NM 88211
2103 Judson Rd
Longview, TX 75605



George/Archer Lp                        George/Archer Lp                   Georgea Fletcher
1001 Ese Loop 323                       c/o Gollob Morgan Peddy            c/o Susan Pollard
Tyler, TX 75701                         1001 Ese Loop 323 Ste 300          6609 Norfolk Ave
                                        Tyler, TX 75701                    Lubbock, TX 79413




Georgeana Davidson                      Georgeann Strong                   Georgeanna D Losavio
2826 Fm 999                             2519 46Th Street                   1819 Edenside Avenue
Gary, TX 75643-5268                     Galveston, TX 77551                Louisville, KY 40204




Georgeanna Stitcher Price               GeorgeS Longhorn Lodge LLC         Georgetown Exploration
PO Box 236                              PO Box 601239                      712 Main St Suite 1700
Coppell, TX 75019                       Dallas, TX 75360                   Houston, TX 77002




Georgia Allen Armstrong                 Georgia Ann Stieren                Georgia Butler Eaves
3919 Sw Granite Ln                      PO Box 791225                      23 Greenview Dr
LeeS Summit, MO 64082                   San Antonio, TX 78279              Rochester, NY 14620




Georgia C Cochran Williams              Georgia Carter Scott               Georgia College Alumni Asc Inc
922 W Main                              516 Bennett Road                   Attn Edward Leonard Phd Dir
Houston, TX 77006                       Grambling, LA 71245                Campus Box 096
                                                                           Milledgeville, GA 31061




Georgia College Alumni Assoc I          Georgia Dept Of Revenue            Georgia E Trimble
Cbo 096                                 Unclaimed Property Program         2360 S Quebec St Apt 206
Milledgeville, GA 31061                 4125 Welcome All Road Ste 701      Denver, CO 80231-6716
                                        Atlanta, GA 30349
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Georgia Gholston Woods                    Georgia H Browder                        Georgia Henry Rogers LLC 1
110 Nevada                                5321 Highway 371                         c/o Evers Cox Gober Pllc Cpa
Monroe, LA 71202                          Heflin, LA 71039                         451 North Washington Avenue
                                                                                   El Dorado, AR 71730




Georgia Hill Durgen                       Georgia June Goldberg                    Georgia Lee Gipson
1912 Village Way                          PO Box 673                               8166 Visalia Way
Dallas, TX 75216                          Ross, CA 94957                           Sacramento, CA 95828




Georgia M Stevenson                       Georgia Mae Franklin Rose                Georgia Mary Mcbride
1 Sage River Circle                       7373 N Wayside                           3650 Desert Rose Drive
Sacramento, CA 95831                      Apt 405                                  Lake Havasu Cty, AZ 86404
                                          Houston, TX 77028




Georgia Monroe                            Georgia Monsted Simmons                  Georgia O Ribar Lp
703 W Holly St                            5509 Hurst St                            PO Box 27920
Carthage, TX 75633                        New Orleans, LA 70115-4244               Austin, TX 78755




Georgia P Marchbanks                      Georgia Pacific Corp                     Georgia Pacific Corrugated LLC
629 Philomena Dr                          Attn Angela Njuguna                      Attn Kenny Haynie
Corpus Christi, TX 78412                  55 Park Place 14Th Floor                 PO Box 35806
                                          Atlanta, GA 30303                        West Monroe, LA 71291




Georgia Parr                              Georgia Pipes Lacour                     Georgia R Clymer
PO Box 163                                10877 N Lake Rosemond                    5620 Hummingbird Lane
San Diego, TX 78384                       St Francisville, LA 70775                Fairview, TX 75069




Georgia Roberts Royal                     Georgia Secker Gst Exempt Tr             Georgia Sims Life Estate
476 Chowning Place                        Jpmorgan Chase Bank Na Ttee              9322 Hufsmith
Marietta, GA 30064                        Po Drawer 99084                          Tomball, TX 773752618
                                          Fort Worth, TX 76199




Georgia Slaughter                         Georgiana B Schorlemer Estate            Georgiana G Hunt
160 Heard Rd                              c/o Lee Anne Schorlemer Sugg Indp Exec   Fbo George Hunt
Ruston, LA 71270                          4012 Bryn Mawr                           5092 E Ft Lowell
                                          Dallas, TX 75225                         Tuscon, AZ 85712




Georgiann C Lamb                          Georgie E Johnson                        Georgie Hunt
6121 Fern Ave 69                          PO Box 1473                              5092 E Ft Lowell
Shreveport, LA 71105                      Artesia, NM 88210                        Tuscon, AZ 85712




Georgie M Beasley                         Georgina L Kretz                         Georgine A Olexa
5133 Valburn Ct                           4051 Vineyard Rd                         2636 West Greenleaf Street
Austin, TX 78731                          Novato, CA 94947                         Allentown, PA 18104-3869
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Geosite Inc                               Geosouthern Energy Corporation   Geosouthern Energy Corporation
PO Box 590                                1425 Lake Front Circle           PO Box 1329
San Angelo, TX 76902                      Suite 200                        Brenham, TX 77834
                                          The Woodlands, TX 77380




Geovest Energy Inc                        Gep Haynesville LLC              Gerald B Eckley
8950 N Central Expressway                 1425 Lake Front Cir              PO Box 807
Dallas, TX 75231-6414                     The Woodlands, TX 77380          Alpine, TX 79831




Gerald Blake Mackey Or                    Gerald Bruton                    Gerald Burns
Texas Comptroller Of Public Acct          69 Overocker Rd                  1403 Success
Unclaimed Property Division               Poughkeepsie, NY 12603           Carthage, TX 75633
PO Box 12019
Austin, TX 78711-2019



Gerald C Nelson                           Gerald Carol Carney Trustees     Gerald D And Joann B Ross
PO Box 785                                Gerald Carol Carney Trust        2941 Amelia
Columbus, MT 59019                        PO Box 232286                    Shreveport, LA 71108
                                          Sacramento, CA 95823




Gerald D Maines                           Gerald D Treadway                Gerald Don Armstrong
Eleanor Mainesjt Tenants Wros             6869 Se Ramms Rd                 4647 Fm 225 South
2324 Troon E                              Madras, OR 97741                 Henderson, TX 75654
Shawnee, OK 74801




Gerald Don Hooper                         Gerald E Cain Company            Gerald E Moyle
6422 Wilderness Ct                        Rte 1 Box 262F                   1105 Waterford
Arlington, TX 76001-5497                  Kilgore, TX 75662                Casper, WY 82609




Gerald E Ruley                            Gerald F Jr Hazel A Grove        Gerald Fitz Gerald Jr
4512 Catina Ln                            c/o Gerald F Grove Jr            2912 Calle Grande Nw
Dallas, TX 75229                          350 Ponca Pl Apt 424             Albuquerque, NM 87104
                                          Boulder, CO 80301




Gerald G Colvin Jr                        Gerald Garrett Smith             Gerald H Merle A Childress
225 Cedar Farm Lane                       6402 Boca Raton Ct               380 Central St
Benton, LA 71006                          Tyler, TX 75703                  Columbia, LA 71418




Gerald J Sbarbaro And Sharon A Sbarbaro   Gerald James Ogrin               Gerald Kyle Freeman
2114 Paso Rello                           6106 Lansford Ln                 9279 Highway 259 S
Houston, TX 77077                         Colleyville, TX 76034            Henderson, TX 75654




Gerald L Bader Jr                         Gerald L Burnett                 Gerald L Burnett Dba B F Drilling Co
2601 S Quebec Unit 13                     PO Box 78307                     PO Box 78307
Denver, CO 80231                          Shreveport, LA 71137             Shreveport, LA 71137
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Gerald L Williams                       Gerald Lynn Hull                      Gerald P Dunn
10926 Big Canoe                         485 North John St                     611 Glenmont No 126
Jasper, GA 30143                        Bridge City, TX 77611                 Houston, TX 77081




Gerald R Armstrong                      Gerald R Fondren                      Gerald R Grocock
621 17th Street Suite 2000              Route 1 Box 1750                      24768 Foothills Drive North
Denver, CO 80293-2001                   Woodville, TX 75979                   Golden, CO 80401




Gerald R Toney And Diane Toney          Gerald R Wartenberg                   Gerald Steven Lewis
Revocable Living Trust                  35 Conrad Hills Road                  322 West Park St Apt 15
Diane Toney Trustee                     Havana, FL 32333                      Stockton, CA 95203
7417 Highway 79 South
Wichita Falls, TX 76310



Gerald T Gibson                         Gerald Thomas Heaton                  Gerald W Brown Ii Trust
c/o Aif Ruth L Kay                      1810 Peters Colony Road 6707          Gerald Brown Ii Trustee
195 Private Road 3457                   Carrollton, TX 75007                  24 Lone Star Parkway
Longview, TX 75602                                                            Texarkana, TX 75503




Gerald W Carpenter Jr                   Gerald W Cobb                         Gerald W Devalon
4200 Old Omen Road                      426 Forest Circle                     350 Delta Lane
Tyler, TX 75707                         Ruston, LA 71270                      Vista, CA 92083




Gerald W J A Simmons                    Gerald Wayne Brightwell               Gerald Wayne Ford
c/o Texas State Treasury                c/o Debbie Brightwell Bolton          7203 Ave J
Unclaimed Property Division             28 Rambling Road                      Beasley, TX 77417
PO Box 12019                            Palestine, TX 75801
Austin, TX 78711-2019



Gerald Wayne Lovil Jr                   Gerald Wayne Lovil Sr Life Estate     Gerald Williams
12809 Zavalla St                        12809 Zavalla                         801 Park Avenue
Houston, TX 77085                       Houston, TX 77085                     Farrell, PA 16121




Geraldin Davis Bounds And               Geraldine Collins                     Geraldine Durso
Husband Pershing M Bounds               700 Dixie Lake Rd Apt                 2673 Firetower Rd
572 County Road 3818                    Carthage, TX 75633                    Silsbee, TX 77656
Joaquin, TX 75954




Geraldine Duvalier                      Geraldine Dyer Greer                  Geraldine Frost
5100 Cleveland Apt 311                  216 Arborway St                       Sherri Zaworski Poa
Kansas City, MO 64130                   Houston, TX 77057                     8100 E Camelback Rd Unit 138
                                                                              Scottsdale, AZ 85251




Geraldine G Brager                      Geraldine G Lawson Charitable Trust   Geraldine Gulley Allen
2808 Fm 225 South                       Broadway National Bank                177 Powell Street
Henderson, TX 75654                     Successor Trustee                     Marion, LA 71260
                                        PO Box 17001 Trust
                                        San Antonio, TX 78217
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Geraldine Harman Schmid                   Geraldine I Babb Trust            Geraldine J Sperry
PO Box 389                                Simmons First Bk Of El Dorado     403 E Flournoy Lucas Rd
Hico, TX 76457                            Attn Trust Dept                   Apt 204
                                          PO Box 992                        Sshreveport La 71115-3907, LA 71201
                                          Eldorado, AR 71731



Geraldine Jacques                         Geraldine Logan                   Geraldine Mccann Sisco
2460 Whitebluff Way                       614 S Oakland Avenue Apt B        PO Box 91229
Buford, GA 30519                          Sharon, PA 16146                  San Antonio, TX 78209




Geraldine Pipsaire Moody                  Geraldine Pittman James           Geraldine Roberts
2385 Dolly Ridge Road 107 W               PO Box 116                        950 Ferndale Boulevard
Birmingham, AL 35243                      Farmerville, LA 71241             Haughton, LA 71037




Geraldine Sampract                        Geraldine Tinsley Autrey          Geraldine Whitcomb
3258 Southwood Ct Apt D                   127 Vital Street                  PO Box 465
Alexandria, LA 71301-3537                 Lafayette, LA 70506               Houston, TX 77001




Geraldine Whitcomb Partnership            Geraldine Williams                Geraldine Z Retzloff
PO Box 2367                               PO Box 424                        1596 Fm 1358
Houston, TX 77252                         Beckville, TX 75631-0424          Three Rivers, TX 78071




Gerard Associates Lc                      Gerard E Thallemer 2000 Rev Tr    Gerard Geoscience Inc
625 Market Street Suite 250               c/o Michelle Quinn Trustee        4031 E 115Th Place
Shreveport, LA 71101                      1326 Ridgedale Rd                 Thornton, CO 80233
                                          South Bend, IN 46614




Gerardo Benavides                         Gerardo Sianez                    Gerardo Vidaurri
4013 Eagles Nest Ln                       Address Redacted                  7519 R W Emerson Loop
Laredo, TX 78043                                                            Laredo, TX 78041




Gerda Ann Roth Crow Usuf For              Geri Brewer                       Geri Wellborn
Life Donald Warren Crow Aif               c/o Unclaimed Property Division   2113 Blue Creek Pkwy
705 Azalea Drive                          PO Box 12019                      Norman, OK 73026
Shreveport, LA 71106                      Austin, TX 78711-2019




Germany Oil Co                            Germany Properties Ltd            Geroge Henshaw Hazel Henshaw
3811 Turtle Creek                         PO Box 12266                      G Henshawjr Cotrustees
770                                       Dallas, TX 75225                  1075 Colleen Dr
Dallas, TX 75249                                                            Canyon Lake, TX 78133




Geronimo Holding Corporation              Gerry Ann Lewin                   Gerry Candler
PO Box 804                                755 Westwood Dr                   12519 Silverwyck Drive
Midland, TX 79702                         Santa Barbara, CA 93109           Houston, TX 77014
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Gerry Mayes                               Gerry Michael Hoffman Trust               Gerry S Rivers
202 Loma Vista Dr                         3804 Lands End                            PO Box 1406
Kerrville, TX 78028                       Fort Worth, TX 76109                      Gladewater, TX 75647




Gerry Sue Walker                          Gerry Wayne Hagin                         Gerth Family Mineral Trust
6860 Saddle Tree Trail                    PO Box 27006                              2247 Saines Manor Dr
Plano, TX 75023                           Austin, TX 78755                          Jackson, MI 49201-8602




Gertha Gertrude O Gibson                  Gertha Lewis Embry                        Gertie Maxey Ford
6311 Woodland Avenue Box 13               3552 Van Bure St                          PO Box 265
Kansas City, MO 64131                     Gary, IN 46408                            Choudrant, LA 71227




Gertrude B Patterson Test Trust U/W       Gertrude Claire Cleaton                   Gertrude E Allen Deceased
David Murphy Co Trustee                   Individ As Usufructuary                   1437 Melissa Cir
First State Bank Trust Co                 811 Contraband Lane                       Antioch, CA 945096302
PO Box 579                                Lake Charles, LA 70601
Carthage, TX 75633



Gertrude Joyce Thomas                     Gertrude Landers Simonton                 Gertrude N Hodges Sep Prop
PO Box 511                                Individually Usufructuary                 7005 Beckett Road
Joaquin, TX 75954                         2149 Briarcliff Dr                        Austin, TX 78749
                                          Beaumont, TX 77706




Gertrude Pearson Bridges                  Gertrude Richardson                       Gertrude Thompson Hill
Finn Bridges                              4311 N Terry Ave                          657 Liberty Hill Rd
Rt 2 Box 213                              Oklahoma City, OK 73111                   Simsboro, LA 71275
Ruston, LA 71270




Gertrude Williams                         Ges Gladiator Energy Services Texas LLC   Ges Living Trust Dtd 9/27/13
1515 Tranquilla                           Cloy Gantt                                Gladys Schnurr And Elyssa M
Dallas, TX 75218                          594 Gap Farms Road Suite B                Schnurr Trustees
                                          Arcadia, LA 71001                         5555 Del Monte Dr 1106
                                                                                    Houston, TX 77056



Gesa Credit Union                         Gesna B Davis Jr                          Get Adam
51 Gage Blvd                              1901 Fm 1195 South                        c/o Sharon Salmon
Richland, WA 99352                        Mineral Wells, TX 76067                   Classic Hydrocarbons
                                                                                    17304 Preston Road Suite 1250
                                                                                    Dallas, TX 75252



Get Supply Specialties LLC                Gewantne Patterson                        GG Equipment Company Inc
702 Villa Dr                              120 Alford Street                         PO Box 199
Laredo, TX 78045                          Jonesboro, LA 71251                       Palestine, TX 75802




Ggh Oil Gas Of Az LLC                     Gibraltar Oil Gas                         Gibson Judy Robinson Crowston
5092 E Fort Lowell Rd                     c/o Farmers National Co Agent             PO Box 917
Tucson, AZ 85712                          PO Box 3480                               Kilgore, TX 75663
                                          Omaha, NE 68103
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Gil Dan Enterprises LLC                  Gilbert C Anne M Langholz      Gilbert C Carner
PO Box 859                               2424 Scenic Ct                 1805 S Indian Creed Dr
Mansfield, LA 71052                      Cedar Hill, TX 75104           Mobile, AL 36607




Gilbert Eric Peterson Iii                Gilbert Harmon                 Gilbert J Moore Iii
56 Sunny Green                           2146 Lamplight Dr              1161 Girvin Rd
Alpine, TX 79830                         Marietta, GA 30062             Jacksonville, FL 32225




Gilbert J Stoma                          Gilbert Kiel                   Gilbert R Sims
Box 859                                  30 Kelliwood Courts Cir        348 Rich Rd
Mansfield, LA 71052                      Katy, TX 77450-8550            Arcadia, LA 71001




Gilbert Roy Ramirez                      Gilbert Wade Hood              Gilbert Wheeler
7314 Justino Trail                       536 Davidson Rd                PO Box 169
San Antonio, TX 78244                    Arcadia, LA 71001-5005         Center, TX 75935




Gilchrist Shaw                           Gilcus Ward Jr                 Gilda Gay Gulley Fowler Nee Tucker
760 E Shaw St                            c/o Texas State Treasury       150 Pinewoods Road
Tatum, TX 75691                          Unclaimed Property Division    Farmerville, LA 71241
                                         PO Box 12019
                                         Austin, TX 78711-2019



Gilda Gordon                             Giles Energy 2015 Inc          Giles Energy Inc
8427 Sugarberry Pl                       5902 Corinthian Park Dr        5902 Corinthian Park Dr
Dallas, TX 75249                         Spring, TX 77379               Spring, TX 77379




Giles O Gilliam Or                       Gill Royalty Ltd               Gill S Smitherman
John Kennedy St Treasurer                9050 Duerler Circle            821 Congress
Unclaimed Prorerty Division              San Antonio, TX 78255          New Orleans, LA 70117
PO Box 91010
Baton Rouge, LA 70821



Gillen Clements                          Gilly V Trucking               Gilmer National Bank
8052 N 14Th Ave                          1319 East 4Th Street           900 N Wood St
Phoenix, AZ 85021                        Odessa, TX 79761               Gilmer, TX 75644




Gina Biancardi Rammairone                Gina Broussard                 Gina Gregory
Ste Ph                                   501 W Broad St                 2646 Se 11Th St
195 Benedict Road                        Linden, TX 75563               Pompano Beach, FL 33062
Staten Island, NY 10304-1205




Gina Harris                              Gina Macdonald Trust           Gina Mayfield
3282 Wheat Street                        PO Box 201884                  825 Whitmore Rd Apt 111
San Diego, CA 92117                      Tr 1553900                     Highland Park, MI 48203-1751
                                         Houston, TX 77216
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Gina Moore Howard                         Gina Suzette Gonzalez              Ginger A Bellah
5755 Saintsbury Dr Apt 212                42 Union Chapel Rd                 710 Yucca
The Colony, TX 750565570                  Weaverville, NC 28787              Merkel, TX 79536




Ginger Blanchard                          Ginger Grigg Faber                 Ginger Harmon Baker Separate Property
23 Lakewood Cir                           6483 St Rd 144                     813 Wellington Way
Wimberley, TX 78676                       Greenwood, IN 46143                Lexington, KY 40503




Ginger Oil Company                        Ginger R Burrows                   Ginny Gay Gibbs Berry
1400 Woodlands Forest Dr                  8036 Cobble Creek Cir              2925 Franklin Rd
Suite 425                                 Potomac, MD 20854                  Heflin, LA 71039
The Woodlands, TX 77380




Ginny Lou Folmar Trustee                  Ginny M Smith Trust                Gipson April
Rayford E Jones Investment Tr             Jerald Smith Trustee               19203 Galway Avenue
8642 South Hwy 287                        221 Ridgewood St                   Carson, CA 90746
Corsicana, TX 75109                       Bridge City, TX 77611




Gisbland Bank Trust                       Gisela Kessler                     Gkh Mineral Partnership
1246 Third Street                         68 Crestview Rd                    2222 Winton Terrace West
PO Box 180                                Mountain Lakes, NJ 07046           Fort Worth, TX 76109
Gibsland, LA 71028




Glacier Bank                              Gladewater Tax Office              Gladewater Tax Office
PO Box 27                                 519 E Broadway Ave                 Trecia Hodges Tax Assessor/Collector
Kalispell, MT 59903                       Gladewater, TX 75647               PO Box 1688
                                                                             Gladewater, TX 75647-1688




Gladiator Energy Services LLC             Gladis Bailey                      Gladys B Johnson
Kendra Gantt                              1048 E Five Mile Pkwy              10707 Se Riverway Ln
594 Gap Farms Rd Suite B                  Dallas, TX 752166855               Milwaukie, OR 97222
Arcadia, LA 71001




Gladys Bragg                              Gladys Delony Kaspar               Gladys E Rowlands Trmnating Tr
5719 Waltrip St                           1003 Sunset Blvd                   Richard E Rowlands Esq
Houston, TX 770874153                     Ruston, LA 71270                   11 British American Blvd
                                                                             Latham, NY 12110




Gladys E Schnurr                          Gladys Ed E Hurley                 Gladys F Ed E Hurley Endow F
5555 Del Monte Dr 1106                    Endowment Foundation               Jp Morgan Chase Bank Na Ttee
Houston, TX 77056                         Drawer 99084                       PO Box 99084
                                          Fort Worth, TX 76199-0084          Fort Worth, TX 76199-0084




Gladys G Ritchey                          Gladys G Sutton                    Gladys Harrison Rhodes
Box 582                                   Kenneth W Sutton                   1217 Lovers Ln
Dalhart, TX 79022                         Jerry S Sutton Indp Co Executors   Longview, TX 75604
                                          PO Box 635108
                                          Nacogdoches, TX 75963
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Gladys Hurley And Ed E Hurley           Gladys J Rea                     Gladys J Simmons
Jpmorgan Chase Bank Na Trustee          1278 Santa Fe Trl                8747 S Prairie
PO Box 99084                            Tyler, TX 75703-0418             Chicago, IL 60619
Fort Worth, TX 76199-0084




Gladys James Ward                       Gladys Julia Deas                Gladys K Mobley
631 South Davis Street                  1844 Highway 3248                Gregory B Mobley As Curator
Sulphur Springs, TX 754824022           Mansfield, LA 71052-4664         PO Box 1091
                                                                         Shreveport, LA 70069




Gladys Kaspar Trust                     Gladys L Cunningham              Gladys Lewis
Donna Kaspar Lewis Trustee              PO Box 483                       1055 Liberty Hill Road
1901 Tiara Drive                        Joaquin, TX 75954                Simsboro, LA 71275
Ojia, CA 93023




Gladys Louise May                       Gladys Mae Sims                  Gladys Marie Sims Wesley
8731 E 60Th Ter                         PO Box 307                       103 Lynda
Raytown, MO 64129-2735                  Bronte, TX 76933-0307            West Monroe, LA 71292




Gladys Marie Williams Dreesen           Gladys Mathewes Wilson           Gladys N Maxfield
Farmers National Company Agent          254 Timberton Dr                 10814 State Hwy 110
PO Box 3480                             Hattiesburg, MS 39401-8219       Van, TX 75790
Omaha, NE 68103-0480




Gladys Nixon                            Gladys Richter Grant             Gladys S Rhymes Mckee
c/o Jo Heller                           5118 Hampden Ln                  18618 Tranquility Drive
PO Box 445                              Bethesda, MD 20814-2308          Humble, TX 77346
Joaquin, TX 75954




Gladys Smith Blalock                    Gladys Spurlock                  Gladys Tate
c/o Louise Wisdom Poa                   1514 E Corpus Christi            20434 Klinger Street
1132 Cr 2261                            Beeville, TX 78102               Detroit, MI 48234
Valley View, TX 76272




Gladys Thelma Williams                  Gladys V Larsen                  Gladys W Spielman
PO Box 5352                             6732 Ridge View Road             401 Ceniza Ridge Dr
Tyler, TX 75712                         Knoxville, TN 37918              Del Rio, TX 78840-2551




Gladys Wall Tynes                       Glannie Whitmore Separate Prp    Glass Properties LLC
343 San Saba St                         2529 Bales                       208 Bridgepoint Circle
Meadowlakes, TX 78654                   Kansas City, MO 64127            Bossier City, LA 71111




Glassell Producing Company Inc          Glassell Royalty Interests Ltd   Glassell Wood Partnership Ltd
919 Milam Suite 2010                    Glassell R I Gp Llc              943 Southfield Road
Houston, TX 77002                       c/o Alfred C Glassell Iii Mgr    Shreveport, LA 71106
                                        919 Milam St Ste 2010
                                        Houston, TX 77002
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Glea Nell Sloan                          Gleason Investment Partners Lp          Gleith James Mann
PO Box 445                               c/o Howard Co                           1205 Ponte Vedra Blvd
Munday, TX 76371                         8350 Meadow Rd 286                      Ponte Vedra Beach, FL 32082
                                         Dallas, TX 75231




Glen Abbey                               Glen Allen Deason                       Glen Allen Estes
245 Whispering Pine                      504 Old Pine Hill Road                  5100 Randol Mill Rd Apt 4213
Livingston, TX 77351                     Henderson, TX 75654                     Fort Worth, TX 76112-1585




Glen Arnold                              Glen C Devos                            Glen Cunningham
1113 E Washington Ave                    109 Arrowhead Ridge Rd                  11 Willowridge Road
Navasota, TX 77868-3164                  Spruce Pine, NC 28777                   Greenville, TX 75402




Glen D Elder                             Glen D West                             Glen Dale Lagrone
502 Egan St                              3929 Edenborn Ave                       272 Pr 848
Shreveport, LA 71101                     Metairie, LA 70002                      Carthage, TX 75633




Glen Douglas Ritter                      Glen E Dorothy S Faison Fam             Glen E Neaville Et Ux
939 Tascosa Drive                        Trust Glenn E Dorothy S Faison Ttees    Mellie J Neaville
Huntsville, AL 35802                     8404 Oakdale Drive                      1158 Highway 563
                                         Norman, OK 73072                        Dubach, LA 71235




Glen Earl Fox                            Glen Edward Crawford                    Glen G Kohrman
c/o Texas State Treasury                 219 Jan Cir                             308 White Oak
Unclaimed Property Division              Jonesboro, LA 71251                     Livingston, TX 77351
PO Box 12019
Austin, TX 78711-2019



Glen G Mcfadden                          Glen Garth Kohrman                      Glen Gatlin
7896 Fm 2517                             308 White Oak                           4205 Rosa Ct
Carthage, TX 75633                       Livingston, TX 77351                    Dallas, TX 75220-3862




Glen Hunt Family Partnership Lp          Glen Hunt Family Partnership Lp         Glen Lee Mitchell
c/o Glen Hunt Management Llc Gen Ptr     c/o Oteka Hunt                          141 Lagniappe Dr
950 Hilltop Dr                           950 Hilltop Dr                          Ruston, LA 71270
Weatherford, TX 76086                    Weatherford, TX 76086




Glen Lily Brunson Trust                  Glen Linda Bassett Family Partnership   Glen M Elizabeth A Harvey
c/o Andrew G Brunson                     12002 Chatam Lane                       Wells Fargo Bank Sao
214 W Texas Ave Ste 1020                 Houston, TX 77024                       PO Box 40909
Midland, TX 79701                                                                Austin, TX 78704




Glen R Clark Life Estate                 Glen R Johnson Jr                       Glen Richard Gill
727 Little Creek                         PO Box 160                              17506 Indian Springs Ct
Duncanville, TX 75116                    Clayton, TX 75637                       Sugar Land, TX 77479
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Glen S Cade                               Glen T Hunt                           Glen Wade
PO Box 816                                30 San Clemente                       4627 Lake Park Dr
Chandler, TX 75758                        Odessa, TX 77965                      The Colony, TX 75056




Glenalma Rodgers Bryant                   Glenalma Rodgers Niedzielski Estate   Glenda Beth Moseley
Niedzielski                               Pamela Burke Executrix                PO Box 300
PO Box 69                                 PO Box 69                             Diana, TX 756400300
Eustace, TX 75124                         Eustice, TX 75124




Glenda Bracken Trust                      Glenda Ceil Williams Giles            Glenda Dare Clark Ousley
Will B Evans Successor Ttee               146 Nathan Loop                       3921 Monticello Dr
3420 Blackburn                            Ruston, LA 71270                      Fort Worth, TX 76107
Dallas, TX 75219




Glenda F Davis Kaura                      Glenda F Hudson                       Glenda F Kerensky
10593 Fm 2694                             PO Box 51                             616 Bradley Circle
Shelbyville, TX 75973                     Briscoe, TX 79011                     Midwest City, OK 73110




Glenda Faye Clark                         Glenda Faye Colvin Knowles            Glenda Faye Edge
4016 Dunkirk                              Separate Property                     4175 Fm 1970
Midland, TX 79707                         7007 Hwy 151                          Carthage, TX 75633
                                          Dubach, LA 71235




Glenda Faye Gillespie Webb                Glenda Faye Williams                  Glenda Fuller
423 Jann Drive                            8600 Hawk Eye Road Nw                 1203 Bosworth St
Shreveport, LA 71106                      Albuquerque, NM 87120-4317            Winnsboro, LA 71295




Glenda Gladyce Calloway Tullos            Glenda H Watters                      Glenda Houseworth Dickinson
PO Box 68                                 208 Hayter St                         12402 Blue Water Circle
Eros, LA 71238                            Nacogdoches, TX 75965-3550            Austin, TX 78758




Glenda Howard                             Glenda J H Henderson                  Glenda Jean Haag
915 Bassett Rd                            2920 Lynell                           361 Vinters Way
Palestine, TX 75803                       Seagoville, TX 75159                  Fredericksburg, TX 78624




Glenda Jeanne Smoke                       Glenda Juanita Blalock                Glenda Lightfoot Personnel
PO Box 241                                3701 St Hwy 137                       2906 Freshmeadows
Ruston, LA 71273                          Stanton, TX 79782                     Houston, TX 77063




Glenda Liles Weilbacher                   Glenda M Barlow                       Glenda Marilyn Selman
7103 Foxway Ln                            7730 West 87 Drive P                  302 Ne 3Rd Street
Humble, TX 77338                          Arvada, CO 80005                      Hubbard, TX 76648
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Glenda Mathewes Lee                      Glenda Nell Renfro               Glenda Norris Pipes
1404 Island Village Ct                   12525 East Egypt Rd              1120 Norris Road
Granbury, TX 76048                       Coleman, OK 73432                Choudrant, LA 71227




Glenda R Godwin                          Glenda Roquemore                 Glenda S Lentz
504 Tullie                               201 Darnell                      178 Stroupe Road
Longview, TX 75601-6054                  Overton, TX 75684                Texarkana, AR 75501




Glenda Shaw                              Glenda Sue Burks                 Glenda T Eades
405 E Tarrant Rd                         5455 County Road 401 S           5829 Denise Drive
Grand Prairie, TX 75050                  Henderson, TX 75654              Haltom City, TX 76148




Glenda T Sessions                        Glenda T William D Eades         Glenda Van Hooser Bailey
809 Sw 4Th Street                        PO Box 12019                     1909 Cook Rd
Kerens, TX 75144                         Austin, TX 78711                 Athens, LA 71003




Glenda Vasquez                           Glenda Wallace Taylor            Glenda Watson Leflett
16607 Creek South Road                   8246 San Vincente St             1776 County Road 3340
Houston, TX 77068                        San Diego, CA 92114              Joaquin, TX 75954




Glenda Williams Land                     Glenda Woodard Rogers Sep Prop   Glendell Brady
2910 Red Gum Gap                         3417 Oleander                    PO Box 535
Longview, TX 75605                       Bossier City, LA 71112           Mount Enterprise, TX 75681-0535




Glendense L Speed                        Glendon E Covington              Glendon H Grigg
1235 Wilkinson Ave                       6500 Benton Road                 40 Fair Oaks Cir
Reno, NV 89502                           Hwy 3                            Monroe, LA 71203-2779
                                         Benton, LA 71006




Glendon L Thomas                         Glenn Prather Company            Glenn A Alford Jr
9031 Hwy 287 S                           Dba Gpc Resources                206 West 20Th Ave
Corsicana, TX 75109                      PO Box 8750                      Covington, LA 70433
                                         Midland, TX 797088750




Glenn A Bowie                            Glenn A Walters                  Glenn Allen Scriber And
623 Creekway Dr                          20650 West Grove Club Lake Rd    Betty Pratt Scriber
Irving, TX 75039                         Whitehouse, TX 75791             2204 Mitcham Orchard Road
                                                                          Ruston, LA 71270




Glenn D Hart                             Glenn Dale Long                  Glenn Daniel Lowrance
923 Teetshorn St                         PO Box 837                       702 Highland Hills Ln
Houston, TX 77009-7124                   Iowa, LA 70647                   Highland Village, TX 75077
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Glenn Dorsey                            Glenn E Dorothy S Faison       Glenn E Gomez
c/o Texas State Treasury                Family Trust Glenn E           PO Box 2823
Unclaimed Property Division             Dorothy S Faison Trustees      Rockport, TX 78381-2823
PO Box 12019                            8404 Oakdale Dr
Austin, TX 78711-2019                   Norman, OK 73072



Glenn E Miller                          Glenn F Harrison               Glenn G Grigsby
14077 Hwy 151                           5843 Sugar Hill Dr             432 Tremont Drive
Arcadia, LA 71001                       Houston, TX 77057              Ruston, LA 71270




Glenn G Hightower                       Glenn George Wilburn           Glenn Gill
1165 Hwy 146                            6807 Northridge Drive          PO Box 366
Chatham, LA 71226                       Dallas, TX 75214               Tenaha, TX 75974




Glenn Greathouse                        Glenn Hughes                   Glenn Joyce Gordon
1975 Country Road 441                   Route 4 Box 516                3938 Rupe Huffman Road
Joaquin, TX 75954-1287                  Seminole, TX 79360             Longview, TX 75605




Glenn Kyle                              Glenn L Brenzel                Glenn Lattimore Family LP
6184 Us Hwy 59 S                        250 Old Cabin Hollows Rd       PO Box 429
Tenaha, TX 75974                        Dillsburg, PA 17019            Fort Worth, TX 76101




Glenn M Walker                          Glenn Satco Inc                Glenn Sodd Trustee
23 Calle Sonador                        PO Box 1666                    PO Box 837
San Clemente, CA 92673                  Laredo, TX 78044               Corsicana, TX 75151-0837




Glenn Stone Jr                          Glenn Stuart Cramer            Glenn W Blaylock
414 Miller St                           1309 Harbor View Dr            PO Box 12743
White Oak, TX 75693                     Galveston, TX 77550            Dallas, TX 75225




Glenn Williams                          Glenna Darlene Melton          Glennis M Goodrich Ncm Est
503 S Main St                           PO Box 409                     Robert C Mckay Guardian
Sibley, LA 71073                        Levelland, TX 79336            PO Box 2608
                                                                       Victoria, TX 77902-2608




Glennon P Everett                       Global Diving Salvage Inc      Global Drilling Support
203 Gleneagles Cir                      3840 West Marginal Way         9841 Windmill Park Lane
Broussard, LA 70518                     Seattle, WA 98106              Houston, TX 77064




Global Equipment Company                Global Fabricators             Global Geo Engineerig Inc
29833 Network Place                     PO Box 80247                   3 Corporate Park Suite 270
Chicago, IL 60673-1298                  Bakersfield, CA 93380-0247     Irvine, CA 92606
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Global Mailing Service Inc             Global Oilfield Services LLC          Global Operating Company
1700 E Front St                        PO Box 4652                           PO Box 12725
Tyler, TX 75702                        Dept 385                              Odessa, TX 79768
                                       Houston, TX 77210-4652




Global Operator Energy Services LLC    Global Operator Energy Services LLC   Global Operator Energy Services LLC
PO Box 1710                            25 Mission View Dr                    PO Box 219330
Conroe, TX 77305-1710                  Lakeside, MT 59922                    Houston, TX 77218




Global Power Supply LLC                Global Risk Solutions Inc             Global Valve And Controls LLC
Cynthia Marquez / Mike Wolfe           1000 Brickell Ave                     8535 Jackrabbit Rd
136 W Canon Perdido St Ste 200         Suite 1020                            Suite 1
Santa Barbara, CA 93101                Miami, FL 33121                       Houston, TX 77095




Global Vessel Tank LLC                 Globe Energy Services LLC             Globe Energy Services LLC
PO Box 3307                            PO Box 255                            PO Box 204676
Lafayette, LA 70502                    Snyder, TX 79550                      Dallas, TX 75320-41676




Globe Texas Company                    Globe Well Service Inc                Globenewswire
4849 Greenville Avenue                 Mark Rankin                           c/o Wells Fargo Bank
Suite 1310                             801 Cherry St Suite 2100              Lockbox 40200
Dallas, TX 75206-4151                  Ft Worth, TX 76102                    PO Box 8500
                                                                             Philadelphia, PA 19178-0200



Glora Honeycutt                        Glora S Beebe Reddick                 Glorese Seeger
2125 Robinwood Dr                      5536 Highway 80                       507 Pine Burr
Fort Worth, TX 76111                   Princeton, LA 71067                   Kilgore, TX 75662




Gloria A Morris Shamlin Leon Shamlin   Gloria A Moses                        Gloria Allbright Bogue
c/o Jeanie L Croix                     8230 Nesbit Ferry Rd                  25415 12Th Ave Nw
22406 Sylvan Street                    Atlanta, GA 30350                     Stanwood, WA 98292-9235
Woodland Hills, CA 91367




Gloria Allums Barton                   Gloria Ann Crane                      Gloria Ann Nobles May Trust
PO Box 1528                            18609 Highway 9                       Cary Nobles Robertson Trustee
Carthage, TX 75633                     Arcadia, LA 71001                     6800 Homewood Drive
                                                                             Chapel Hill, NC 27514




Gloria Ann Stafford                    Gloria B Shumway                      Gloria Barron
PO Box 6587                            14244 Highway 84                      2505 3 Southwest Moody
Long View, TX 75608                    Logansport, LA 71049-2214             Victoria, TX 77901




Gloria Barron Mallet                   Gloria Bearden Family Trust           Gloria Bolding Mc Reynolds
Route 1 Box 5640                       By Gloria Bearden Trustee             1121 Platt Drive
Burkeville, TX 75932                   PO Box 468                            Plano, TX 75023
                                       Eureka Springs, AR 72632
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Gloria Boyce Glass                      Gloria Bradford Fields            Gloria Bruni Knight Trust
6325 E Mcmillan Creek Dr                3414 N 107 Street                 Acct F0765500 Frost Natl Bk
Knoxvillle, TN 37924                    Wauwatosa, WI 53222               PO Box 1600
                                                                          San Antonio, TX 78296




Gloria Copeland                         Gloria Cox                        Gloria Crawford
320 E Wintergreen Rd Apt 18F            40662 Witherspoon Terrace         105 Cox Ferry Road
Desoto, TX 75115-2470                   Fremont, CA 94538                 Farmerville, LA 71241




Gloria Dean Bobbitt                     Gloria Dean Green                 Gloria Dean Grimes
1016 S Sneed Avenue                     7423 Neuhoff Dr                   8467 S Van Ness Ave
Tyler, TX 75701-1932                    Dallas, TX 75217                  Inglewood, CA 90305-1519




Gloria Dee Barton                       Gloria Dee Ripley Young           Gloria Fortner
c/o Law Office of Dean A Searle PC      708 N Ripley                      8533 County Road 419
PO Box 910                              El Dorado, AR 71730               Anna, TX 75409-8230
305 West Rusk Street
Marshall, TX 75671



Gloria G Creech Ind Usufruct            Gloria Garner                     Gloria Gay Knight
17 Deerberry Court                      PO Box 93                         1303 Edwards
The Woodlands, TX 77380                 Grambling, LA 71245               Gladewater, TX 75647




Gloria Gennett Fuller Pearson           Gloria Gilmore                    Gloria Imhoff
104 Haymarket Ct                        c/o Patricia Gilmore Poa          411 West Lafayette
Bossier City, LA 71111                  177 Deerfield Dr                  Detroit, MI 48226
                                        Souderton, PA 18964




Gloria J Karch                          Gloria J Parks                    Gloria J Purvis
3417 Lakeview Drive                     PO Box 307                        188 White Rock Dr
North Hero, VT 05474                    Fate, TX 75132                    Lufkin, TX 75904




Gloria J Warren                         Gloria Jean Bean                  Gloria Jean Britt Barnett
4057 West 21st Street                   1575 Co Rd F1386                  142 Bartholomew Dr
Los Angeles, CA 90018                   Falkville, AL 35622               Sterlington, LA 71280-3606




Gloria Jean Crumption                   Gloria Jean Ford A Single Woman   Gloria Jean Sampson Beasley
118 Locker Plant Road                   681 Liberty Hill Rd               2700 Park Ave Apt 604
Gladewater, TX 75647                    Homer, LA 71040                   Minneapolis, MN 55407-1052




Gloria Jean Skinner Thomas              Gloria Jene Dumas Co Trustee      Gloria Johnson Douglas
8318 Silvan Wind                        For Dumas Living Trust            301 E Broadway
Houston, TX 77040                       Stephenie Gleghorn Co Trustee     Longview, TX 75604
                                        2505 Nevada
                                        El Dorado, AR 76109
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Gloria Jordan Madden                   Gloria L Weaver                Gloria Lewis
3931 College                           2802 Meadow Park Drive         368 Cr 222
Arcadia, LA 71001                      Garland, TX 75040              Carthage, TX 75633




Gloria M Gray                          Gloria Maddry Caskey           Gloria Mae Pierce
436 Crestover Circle                   125 Andrews Lane               505 East Texas Avenue
Richardson, TX 75080                   Homer, LA 71040                Ruston, LA 71270




Gloria Marie B Bennett                 Gloria Marie Cannon Allen      Gloria Marie Johnson Whittaker
19642 Hwy 2                            2545 England Drive             4908 Blaney
Homer, LA 71040                        Apartment 13                   Fort Worth, TX 76180-7944
                                       Alexandria, LA 71303




Gloria Maxine W Richardson             Gloria Mccall Pitts Young      Gloria Newhouse Thomas
5807 Hwy 544                           602 W 69Th Street              425 Hornik Rd
Simsboro, LA 71275                     Shreveport, LA 71106           Ennis, TX 75119




Gloria Nobles Robertson May            Gloria Osborne                 Gloria Paris Cosmea
6800 Homewood Dr                       178 Houston Road               4014 Sylvanoaks Dr
Chapel Hill, NC 27514                  Ruston, LA 71270               San Antonio, TX 78229




Gloria Reese                           Gloria Stephenson              Gloria Wallace
4608 Arrow Rock                        263 Marian Way                 3914 Hatcher St
Shasta Lake, CA 96019                  Banning, CA 92220              Dallas, TX 75210




Gloria Waters Separate Prop            Gloria Watson Or               Gloriann H Spiller
1508 Monterey Street                   John Kennedy St Treasurer      PO Box 887
Richmond, CA 94804                     Unclaimed Property Division    Carthage, TX 75633
                                       PO Box 91010
                                       Baton Rouge, LA 70821



Gloridian Moody                        Glory H Felder Estate          Glory Weisberg
601 Watts Circle                       Flory Felder Bohne Indp Exec   6189 S Jamaica Ct
Minden, LA 71055                       740 Craig Lane                 Englewood, CO 80111
                                       Spring Branch, TX 780706316




Gloster Prod Properties LLC            Glover Family Trust            Glynda Bates
3421 N Causeway Blvd Ste 403           328 Country Place              2305 North Dearing Street
Metairie, LA 70002                     Longview, TX 75605             Alexandria, VA 22302




Glynda Monic                           Glynn David St Andre           Glynn Otis Ludley
712 Heaton Street                      Sharon Denise St Andre         305 Marshall Dr
Carthage, TX 426067318                 129 Pecan Lane                 Monroe, LA 71202
                                       Dubach, LA 71235
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Gmgf Oil Account No 3153               Gng Hotshot Services                     Go Frac LLC
Bank One Texas Na Trustee              Pete Garza                               801 Cherry St Ste 1200
Drawer 99084                           PO Box 6                                 Fort Worth, TX 76102-6825
Fort Worth, TX 76199-0084              Brownfield, TX 79316




Goal Line Rentals Inc                  Gold Coast Ironworks                     Gold Mark Holli Gold
PO Box 81485                           PO Box 1453                              300 Deer Run
Lafayette, LA 70598                    Oak View, CA 93022                       Hallsville, TX 75650




Gold Struck Investment Lp              Golden Energy Partners LLC               Golden Foods Inc
c/o Wells Fargo Bank Agent             500 Dallas Street Suite 1800             PO Box 2836
PO Box 41779                           Houston, TX 77002                        Monroe, LA 71207
Austin, TX 78704




Golden State Paint Corporation         Goldenring Prosser                       Goldenwest Credit Union
23134 Normandie Ave                    James E Prosser Peter E Goldenring       5025 South Adams Avenue
Torrance, CA 90502                     Edwin S Clark                            South Ogden, UT 84403
                                       6050 Seahawk St
                                       Ventura, CA 93003-6622



Goldie Elley Short                     Goldking Energy Partners I Lp            Goldman Sachs
4540 Springdale St                     PO Box 671099                            Attn Christin Hartwig
Port Arthur, TX 77642                  Dallas, TX 75367                         200 West St
                                                                                New York, NY 10282-2198




Goldman Sachs                          Goldman Sachs Asset Management LP Gsam   Goldman Sachs Bank USA
Attn Ushma Dedhiya                     200 West Street                          PO Box 1978
Securities Operations Asset Services   New York, NY 10282                       Cranberry Township, PA 16066
30 Hudson St 4Th Fl
Jersey City, NJ 07302



Goldman Sachs Co                       Goldman Sachs Group Inc                  Goldman Sachs Tr
200 West St                            200 West Street                          Attn Christin Hartwig
New York, NY 10282-2198                New York, NY 10282                       200 West St
                                                                                New York, NY 10282-2198




Goldston Mineral Properties            Goldston Oil Co Agency                   Gollob Morgan Peddy Co Pc
c/o Northern Trust Bank                PO Box 570365                            3620 Old Bullard Road
PO Box 226270                          Houston, TX 77257-0365                   Suite 100
Dallas, TX 75222-6270                                                           Tyler, TX 75701




Gonzales Royalties Inc                 Gonzalez Rogelio                         Gonzo Oil Field Services
Box 237                                Address Redacted                         PO Box 206
Gonzales, TX 78629                                                              De Beque, CO 81630




Good Shane A                           Good Samaritan Foundation                Good Technologies
Address Redacted                       2001 Kirby Dr Ste 1350                   5305 Canadian Ave
                                       Houston, TX 77019-6256                   Midland, TX 79707
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Goodlett Janet                          Goodman Factors                           Goodman Factors
1605 Barclay Dr                         Fbo Eagle Completions Usa Ltd             Fbo Global Operating Company
Austin, TX 78746-7312                   PO Box 29647                              PO Box 29647
                                        Dallas, TX 75229-9647                     Dallas, TX 75229-9647




Goodman Factors                         Goodman Factors                           Goodman Factors
Fbo Jsi Operations Llc                  Fbo KM Oil Services Llc                   Fbo Quadco Inc
PO Box 29647                            PO Box 29647                              PO Box 29647
Dallas, TX 75229-9647                   Dallas, TX 75229-9647                     Dallas, TX 75229-9647




Goodman Factors                         Goodrich Family Trust No 2                Goodrich Marital Ded Trust 1
Fbo Tuff Services Llc                   c/o Jp Morgan Chase Bank Na               Jp Morgan Chase Bank Na
PO Box 29647                            PO Box 99084                              235555000
Dallas, TX 75229-9647                   Fort Worth, TX 76199-0084                 Po Drawer 99084
                                                                                  Fort Worth, TX 76199-0084



Goodrich Petroleum Company LLC          Goodrich Petroleum Corp                   Goodrich Petroleum Mcfatrridge
PO Box 206432                           801 Louisiana Suite 700                   801 Louisiana Suite 700
Dallas, TX 75320                        Houston, TX 77002                         Houston, TX 77002




Goodwill Industries Of Central Az Inc   Goodwill Industries Of Southern Arizona   Goodwin Et Ux Stephen A
2626 W Beryl Ave                        1940 E Silverlake Road 405                Annette Goodwin
Phoenix, AZ 85021                       Tucson, AZ 85713                          2083 Old Highway 52
                                                                                  Monks Corner, SC 29461




Goodwin Scott G                         Goolsbee Tire Service                     Gopher Investments L P
291 Triple R Trail                      2880 Highway 271                          Lantana Operating Co Gnrl Ptnr
St Stephen, SC 29479                    Tyler, TX 75708                           4900 Woodway
                                                                                  Suite 800
                                                                                  Houston, TX 77056-1809



Goppert State Service Bank              Gorda Sound Royalties Lp                  Gordie T Green Iii
PO Box 329                              PO Box 671099                             3218 Hazel St
106 East 5th St                         Dallas, TX 75367                          Texarkana, TX 75503
Garnett, KS 66032




Gordon B Christian                      Gordon B Golsan Iii                       Gordon B Oates Decsd
1711 Elk Canyon Drive                   8762 Quarters Lake Rd Ste 10              John G Oates Poa
San Antonio, TX 78232                   Baton Rouge, LA 70809                     4425 W 130Th St
                                                                                  Leawood, KS 66209-2357




Gordon Bruce Christian Estate           Gordon C Johnston Inc                     Gordon C Russell
Cynthia C Freeman Admnstr               PO Box 3446                               326 Eatman St
1711 Elk Canyon Dr                      Longview, TX 75606                        Grand Cane, LA 71032-5170
San Antonio, TX 78232-4987




Gordon D Raphael Mindy L                Gordon Dale Miller                        Gordon David Tomkins Trustee Of
Raphael Revocable Trust                 2400 Bolton Boone                         The G Tompkins Rev Trust
Raphael Co Ttees Dtd 12/26/12           Apartment 3218                            5423 Fm 124 West
7912 Lakenheath Way                     Desoto, TX 75115                          Beckville, TX 75631
Potomac, MD 20854-2735
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Gordon Dihle                            Gordon Drew Evans                      Gordon Drew Pesnell
37990 Comanche Creek Rd                 310 County Road 2313                   313 Styles Ranch Rd
Kiowa, CO 80117                         Dayton, TX 77535-7603                  Choudrant, LA 71227




Gordon G Goebel                         Gordon Glass Alexander                 Gordon Greene Guiberson Trust
275 County Road 205                     12 Snapdragon                          Nancy Rice Bott Succ Trustee
Three Rivers, TX 78071-2572             Irvine, CA 92604                       C/O Katz Cassidy
                                                                               11400 W Olympic Blvd Ste 1050
                                                                               Los Angeles, CA 90064



Gordon Howard                           Gordon L Briscoe                       Gordon L Northcutt
Address Redacted                        Rt 3 Box 748                           PO Box 442
                                        Harlingen, TX 78550                    Longview, TX 75606




Gordon L Wolford                        Gordon M Richardson Esch               Gordon M Smart B L Smart
1021 E 5 St                             1301 Lynette Dr                        3414 Sutters Way
Casper, WY 82601                        Metairie, LA 70003                     Flower Mound, TX 75022




Gordon Mamie Christian                  Gordon P Woodard Judy Fallin Woodard   Gordon Paul Woodard
13569 Hwy 84                            2119 Highway 563                       2119 Highway 563
Mansfield, LA 71052                     Simsboro, LA 71275                     Simsboro, LA 71275




Gordon Reger And Courtney S Reger       Gordon Smith                           Gordon Sylestine
2201 Alexander                          1825 Parkcrest                         Route 3 Box 712
Ruston, LA 71270                        Alvin, TX 77511                        Livingston, TX 77351




Gordon W Lansford Estate                Gorman Glenn                           Gorman Lind Riley
Phyllis C Lansford Ind Exctrx           5044 Cr 4600                           201 Bar Clay Avenue 6
14210 Jackfish Ave                      Athens, TX 75752                       Wharton, TX 77488
Corpus Christi, TX 78418




Gosslee Group LLC                       Gotham Insurance Co                    Goynes Perneatha W
Scott Gosslee Manager                   c/o Prosight Spec Mgt Co               c/o Sam Chappell
9511 Faircrest Drive                    Richard Martin                         80595 Ave 43
Dallas, TX 75238                        59 Maiden Lane Suite 2700              Indio, CA 92201
                                        New York, NY 10038



GP Investments Inc                      Gp Smith Iii                           Gpi Western Diverter Co Inc
6510 Salisbury Ln                       2 Montclair Cir                        2453 Industrial Blvd
Tyler, TX 75703-0305                    Longview, TX 756013562                 Grand Junction, CO 81505




Gps Of Texas                            Gr Wireline Lp                         Gr Wireline Lp
21439 Pearl Spring                      Dept 423                               Michael Trice
San Antonio, TX 78258                   PO Box 4346                            2150 Town Square Place Suite 410
                                        Houston, TX 77210-4346                 Sugar Land, TX 77479
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Grace Ann Lewis Coronado                Grace Carter                        Grace Childs
1521 Bailey Street                      1401 East Highway 31                Box 269
West Monroe, LA 71292                   Longview, TX 75604                  Joaquin, TX 75954-0269




Grace Collins Cannon                    Grace Detar Talkington              Grace Elizabeth Davidson
1610 Sprucewood                         57807 Redwood Lane                  202 Private Rd 7381
Corpus Christi, TX 78412                Dallas, TX 75209                    Deberry, TX 75639




Grace Elizabeth Keoun Reasor            Grace L Kirby Tr                    Grace Liner White
7500 Se Paulson Ave                     Monique Lee Tschurr Trst            4282 Highway 80
Stuart, FL 34997                        1010 Lazy Ln                        Ruston, LA 71270
                                        San Marcos, TX 78666




Grace Lyons Baucom                      Grace Marie Siler Trust             Grace Mclain Reed
c/o Sherry Lyons                        PO Box 161                          2700 Clover Lane
8003 Woodway Dr Apt 22                  Price, TX 75687-0161                Arlington, TX 76015
Houston, TX 77063




Grace Melinda Kuykendall                Grace Melinda Kuykendall Sherrill   Grace Phillips
Sherrill Trustee Of The                 1216 Melinda Drive                  c/o Texas State Treasury
Kuykendall Family Trust                 Tatum, TX 75691                     Unclaimed Property Division
1216 Melinda Drive                                                          PO Box 12019
Tatum, TX 75691                                                             Austin, TX 78711-2019



Grace U Raney Family Trust              Grace Virginia Whitlock Mclain      Grace W Hunter
By Grace U Raney Trustee                PO Box 213                          M Rosenblum Exec Ttee
PO Box 1449                             Lone Grove, OK 73443                41 Market St
Longview, TX 75606                                                          Saugerties, NY 12477




Gracey Services Inc                     Gracie Adams Watson                 Gracie L Bridges Williams
1590 E County Road 72                   9233 S Burley Ave Apt 413           608 Kirkland Street
Wellington, CO 80549                    Chicago, IL 60617                   Ruston, LA 71270




Gracie L Johnson                        Gracie Taylor                       Graco Oilfield Services
1605 Madera                             1013 N Arey St                      Dba Graco Fishing Rental Tools Inc
Garland, TX 75040                       Tallulah, LA 71282                  5300 Town Country Blvd
                                                                            Ste 220
                                                                            Frisco, TX 75034-6890



Grady Austin                            Grady Bill Wedgeworth               Grady E Cleveland
c/o Texas State Treasury                1336 Country Road 108               Texas State Comptroller
Unclaimed Property Division             Carthage, TX 75633                  Unclaimed Property Division
PO Box 12019                                                                PO Box 12608 Capitol Station
Austin, TX 78711-2019                                                       Austin, TX 78711



Grady E Lawrence                        Grady F Morris Jr                   Grady H Vaughn Iii Childrens
PO Box 61                               3034 Harts Bluff Rd                 PO Box 191627
Winfall, NC 27985                       Mansfield, LA 71052                 Dallas, TX 75219
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Grady Hamilton Vaughn                    Grady Hill                              Grady Mark Brown
PO Box 191627                            635 Wildrose Drive                      730 Pulitzer
Dallas, TX 75219                         Dallas, TX 75224                        Allen, TX 75002




Grady Rentals LLC                        Grady T Shearer Raymonde B Shearer Tr   Graham Deason Davis
2745 S Hwy 171                           2564 Country Club Dr                    PO Box 550
Cleburne, TX 76031                       Cameron Park, CA 95682                  Maypearl, TX 76064




Graham E Kozar                           Graham Edward King For Benefit Of       Graham Edward King Sp
1908 Ashland St                          Juliana Jane King A Minor               4207 Gregory Street
Ruston, LA 71270                         4207 Gregory Street                     Oakland, CA 94619
                                         Oakland, CA 94619




Graham Engine Equipment Inc              Graham Equipment Mfg Ltd                Graham Family Trust
PO Box 508                               401 4Th St                              E Allan Graham Trustee Frank
Graham, TX 76450                         Graham, TX 76450                        Frank Doran Graham A/I/F
                                                                                 PO Box 7085
                                                                                 Dallas, TX 75209



Graham Properties LLC                    Graham S Gibbard Agency                 Graham Savings
Northpt Prof Plaza                       Us Trust Bank Of America                745 Elm St
Lincoln Blders Inc                       PO Box 840738                           Graham, TX 76450
PO Box 400                               Dallas, TX 75284-0738
Ruston, LA 71273



Graham W Moss                            Grainger                                Grainger
PO Box 245                               Dept 853935740                          Dept 879338499
N Little Rock, AR 72115                  PO Box 419267                           Palatine, IL 60038-0001
                                         Kansas City, MO 64141-6267




Grainger                                 Grainger                                Grand Drilling Fluids
Dept 885950837                           Dept 885987287                          PO Box 3312
Palatine, IL 60038-0001                  PO Box 419267                           Abilene, TX 79604
                                         Kansas City, MO 64141-6267




Grand Energy Inc                         Grand Lodge Independent Order           Grand Mountain Services
15303 Dallas Pkwy 1010                   Of Odd Fellows Of The State             2913 West Magnolia Street
Addison, TX 75001                        3440 W 2nd Ave                          Ft Collins, CO 80521
                                         Corsicana, TX 75110




Granda Wallace                           Grande Communications                   Grandfield Consulting Inc
5654 Tulip Hill Rd                       PO Box 660401                           910 Lamar St
Memphis, TN 38135                        Dallas, TX 75266-0401                   Wichita Falls, TX 76301




Grandview Baptist Church                 Granison Timmins Alexander Iii          Granite Seed Company
c/o Billy W Henry                        600 Jefferson St Box 46                 1697 West 2100 North
7418 Co Rd 235 North                     Lafayette, LA 70503                     Lehi, UT 84043
Henderson, TX 756523840
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Granite Telecommunications LLC          Grant Genovese Baratta LLP            Grant Black
PO Box 983119                           Jim Baratta                           3418 Hardwick Pl
Boston, MA 02298-3119                   2030 Main Street Suite 1600           Harvey, LA 70058
                                        Irvine, CA 92614-7257




Grant Black Diane K Schmidt Black       Grant County Clerk                    Grant Ellis Vaughn Trt No 2
3418 Hardwick Pl                        112 E Guthrie                         Elizabeth R Hoy Trustee
Harvey, LA 70058                        Medford, OK 73759                     PO Box 191627
                                                                              Dallas, TX 75219




Grant J Wright                          Grant O Reves                         Grant Thornton LLP
PO Box 1002                             20206 W 92nd Street                   2431 East 61st Street
Midland, TX 79702                       Lenexa, KS 66220                      Suite 500
                                                                              Tulsa, OK 74136




Graphic Controls                        Graphic Packaging International Inc   Graphic Sports
PO Box 1271                             PO Box 35800                          PO Box 727
Buffalo, NY 14240-1271                  West Monroe, LA 71291                 Rawlins, WY 82301




Graphicorp                              Graphtec                              Grasslands Consulting Inc
9219 Katy Freeway Ste 224               6209 Windfern Rd                      650 W Meadow Rd
Houston, TX 77024                       Houston, TX 77040                     Evergreen, CO 80439-9744




Grating Pacific Inc                     Graves Estate Trust                   Gray Allen Oilfield Srvc Inc
3651 Sausalito St                       Claude Graves Iii Gayla               145 Garret Drive
Los Alamitos, CA 90720                  Graves Co Trustees                    Dubberly, LA 71024
                                        2204 Canyon Creek Plaza
                                        Richardson, TX 75080



Gray H Mccraw Jr                        Gray Hunt Iii LLC                     Gray Hunt LLC
204 Pomeroy Drive                       c/o Douglas Brown                     c/o Mr Douglas Brown
Shreveport, LA 71115                    1005 Eighth Ave S                     Brown And Tatro
                                        Nashville, TN 37203                   1005 Eighth Avenue South
                                                                              Nashville, TN 37203



Gray Reed Mcgraw PC                     Gray Van Williams                     Gray Welch Gilbert
1300 Post Oak Blvd Suite 2000           6016 Haley Way                        2800 Post Oak Blvd Suite 2300
Houston, TX 77056                       Frisco, TX 75034                      Houston, TX 77056




Gray Wireline Services Inc              Graydon W Trusler                     Graylan Erwin
Dept 3300                               10510 Redmond Rd                      3905 Highway 544
PO Box 123300                           Austin, TX 78739                      Simsboro, LA 71275
Dallas, TX 75312-3300




Graylan Erwin Et Ux                     Graylen Adams                         Grayloc Products LLC
Connie F Erwin                          2447 Cordova Street                   PO Box 847596
3905 Hwy 544                            Oakland, CA 94602                     Dallas, TX 75284-7596
Simsboro, LA 71275
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Graylyn Antoine Rowl Young              Grayrock Corporation                      Grayson Hodges
C/O Mrs Johnny Mae Owens Aif            12201 Merit Dr                            2013 S Lake Harris Rd
2730 E Pepper Pridge                    Ste 620                                   Box A 13
Lancaster, TX 75134                     Dallas, TX 75251                          White Oak, TX 75693




Graystone Energy Corp                   Grb Company                               Grc Mineral Rights Ltd
PO Box 98                               PO Box 2649                               PO Box 97
Judson, TX 75660                        Bakersfield, CA 93303                     Fort Walton Beach, FL 32549




Great American Drilling P/S Iv          Great Basin Exploration Consultants Inc   Great Lakes Energy Partners
11300 North Central Expressway          PO Box 261188                             Fml Mb Operating
Suite 103                               Denver, CO 80226-9188                     PO Box 71 4204
Dallas, TX 75243                                                                  Columbus, OH 43271-4204




Great Plains Gas Compression Inc        Great Western Bank                        Great Western Drilling
210 East First Street                   35 1st Ave NE                             PO Box 807
Hugoton, KS 67951                       Watertown, SD 57201                       Pecos, TX 79772




Great Western Offshore Inc              Great Western Transportation              Great White Directional Services LLC
111 Bagby Ste 1700                      5690 Sonoma Drive                         Gloria Anderson
Houston, TX 77002                       Pleasanton, CA 94566                      14201 Caliber Dr Ste 300
                                                                                  Oklahoma City, OK 73134




Great White Pressure Control LLC        Great White Pressure Control LLC          Great White Pressure Control LLC
13800 Wireless Way                      Dept 105                                  Dept 3307
Oklahoma City, OK 73134-2501            PO Box 4346                               PO Box 123307
                                        Houston, TX 77210-4346                    Dallas, TX 75312-3307




Greatamerica Leasing Corp               Greater Eastern Credit Union              Greater El Paso Credit Union
PO Box 660831                           PO Box 5130                               11987 Rojas Dr
Dallas, TX 75266-0831                   Johnson City, TN 37602                    El Paso, TX 79936




Greater Iowa Credit Union               Greater Ouachita Water Co                 Greatwide Dallas Mavis LLC
PO Box 665                              PO Box 1257                               PO Box 405828
Ames, IA 50010                          West Monroe, LA 71294-1257                Atlanta, GA 30384-5828




Green Bank                              Green Bit Tool Inc                        Green Chile Investments LLC
4000 Greenbriar                         Po Drawer 1720                            706 Beaumont Ct
Houston, TX 77098                       Mills, WY 82644                           Allen, TX 75013




Green Diamond Oil LLC                   Green Family Properties LLC               Green Industrial Solutions LLC
P O Drawer 2360                         2200 Wales Ct                             301 West Texas Ave
Casper, WY 82602                        Ruston, LA 71270                          Ruston, LA 71270
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Green Jr Roy Wesley                    Green Mountain Minerals LLC           Green River Oil Inc
1401 Robbinwood Court                  320 South Bostonk Suite 1115          M Troy Murrell Registered Agnt
Longview, TX 75601                     Tulsa, OK 74103                       7710 T Cherry Park Suite 502
                                                                             Houston, TX 77095




Green River Resources                  Greenberg Family Trust                Greenbriar Energy Lp Iv
PO Box 270810                          1201 N Watson Suite 122               3000 Richmond Ste 550
Littleton, CO 80127                    Arlington, TX 76006                   Houston, TX 77098-3102




Greenbriar Energy Ventures LLC         GreeneS Energy Group                  Greenes Energy Group LLC
3000 Richmond Ave Ste 550              PO Box 676263                         PO Box 676263
Houston, TX 77098                      Dallas, TX 75267-6263                 Dallas, TX 75267-6263




Greenes Energy Services Inc            GreeneS Well Testing Services LLC     Greenstar Resources LLC
3037 Yellowstone Rd                    2111 Industrial Blvd                  PO Box 721930
Rock Springs, WY 82901                 Alice, TX 78332                       Norman, OK 73070-8472




Greenwood Church                       Greer Exploration Corporation         Greer James C Elizabeth Carol Greer
c/o Betty F Martin                     23750 Via Trevi Way 504               PO Box 464
848 Mitcham Orchard Rd                 Bonita Springs, FL 34134              Hallsville, TX 75650
Ruston, LA 71270




Greer Transport                        Greer X Ii Lp                         Greg Baxters Hot Oil Svc LLC
112 N Main                             23750 Via Trevi Road 504              1390 King Orchard Road
Springhill, LA 71075                   Bonita Springs, FL 34134              Sarepta, LA 71071-2326




Greg Garvin                            Greg Grubb                            Greg Hayes
8623 Stowe Creek Lane                  610 Barday Dr                         4560 Beltline Road Suite 300
Missouri City, TX 77459                Tyler, TX 75703                       Addison, TX 75001




Greg Lee                               Greg Nancy Vance Family Ltd           Greg Oliver
c/o Office Of Texas State              c/o Production Gathering Company LP   2601 Torrey Pines Dr
Unclaimed Property Division            8150 N Central Expwy                  Fort Worth, TX 76109
PO Box 12608 Capitol Station           Suite 1475
Austin, TX 78711                       Dallas, TX 75206



Greg Procell                           Greg Sparks                           Greg Thagard
106 Oaklawn Drive                      8004 Bernard Street                   7301 Ranch Road 620 N
Bossier City, LA 71112                 Leander, TX 78641                     Suite 155 288
                                                                             Austin, TX 78726




Greg Windham                           Greg Wittkamper                       Greg Wood
1416 Woddland Avenue                   PO Box 40                             1400 Royal Oak Drive
Kalispell, MT 59901                    Sinks Grove, WV 24976                 Tyler, TX 75703
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Greg Wraalstad                          Gregg C Tidwell                Gregg County Appraisal District
901 3rd Ave South                       2302 Point Dr                  4367 W Loop 281
Minneapolis, MN 55474                   Monroe, LA 71201               Longview, TX 75604




Gregg County Clerk                      Gregg County Tax Assesor Col   Gregg County Tax Assesor Col
101 E Methvin 200                       101 E Methvin Suite 215        Kirk Shields Cpa Pcc
Longview, TX 75601                      Longview, TX 75601             PO Box 1431
                                                                       Longview, TX 75606




Gregg Gladewater ISD Gladewater TX      Gregg Goebel                   Gregg W Garmon
500 West Quitman                        273 Cr 205                     PO Box 550588
Gladewater, TX 75647                    Three Rivers, TX 78071         Atlanta, GA 30355




Greggory O May                          Greggory O May Et Ux           Gregor Lynn Reeves
272 Garr Road                           Linda C May                    1812 N Banks
Ruston, LA 71270                        272 Garr Road                  Pampa, TX 79065
                                        Ruston, LA 71270




Gregory A Jones                         Gregory A Roberts              Gregory A Ward
10587 Hillrose St                       Address Redacted               1316 Ne 48Th St
Parker, CO 80134                                                       Oklahoma City, OK 73111




Gregory A Worrell                       Gregory Alan Thomas            Gregory Allen Culbertson
Melanie Worrell                         1033 Wafer Rd                  945 Charleston Drive
PO Box 126                              Ruston, LA 71270               Bedford, TX 76022
Eaton, CO 80615




Gregory Allen Rowe                      Gregory Alston Greene          Gregory B Moble
PO Box 11                               334 G B Cooley Road            PO Box 1091
Lake Creek, TX 75450                    West Monroe, LA 71291          Shreveport, LA 71163-1091




Gregory Beene Winkler                   Gregory C Madden               Gregory Carameros
3585 S Atlantic Ave                     285 Jackson Rd                 5140 Memory Dr
Cocoa Beach, FL 32931                   Simsboro, LA 71275             El Paso, TX 79932




Gregory Contaldi                        Gregory D Dumas                Gregory D Linton
480 Washington Blvd 12th Floor          369 Donaldson Rd               14326 Kellywood
Jersey City, NJ 07310                   Calhoun, LA 71225-9405         Houston, TX 77079




Gregory D Saunders                      Gregory Dean Dupree            Gregory F Hennigan Robin W Hennigan
2941 South Haven Dr                     4528 E Grove                   1907 Bittersweet
Annapolis, MD 21401                     Fresno, CA 93725               Ruston, LA 71270
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Gregory H Cole And Lisa L Cole           Gregory Hill                    Gregory Holmbeck
2011 Alexander                           635 Wildrose Dr                 2072 Chip Dr
Ruston, LA 71270                         Dallas, TX 75224                Lake Havasu City, AZ 86406




Gregory Howell Brake                     Gregory James Lyssy             Gregory L Hollis
PO Box 43                                1230 N Cockrell Hill Rd         237 Dewberry Dr
Mt Pleasant, TX 75456                    Desoto, TX 75115                Lake Jackson, TX 77566




Gregory Lacour                           Gregory Laird Cashen 1999 Tst   Gregory Laird Cashen 2002 Tst
124 Monroe Street                        Regions Bank Nre Operations     Gregory Laird Cashen Trustee
Ball, LA 71405                           Agent Acct 439038001            PO Box 600
                                         PO Box 11566                    Judson, TX 75660
                                         Birmingham, AL 35202



Gregory Lamar Emory                      Gregory Lane Witcher            Gregory Lee Swint
13503 Landover                           1704 Live Oak Lane              57347 Lillian Rd
Denham Springs, LA 70726                 El Campo, TX 77437              Slidell, LA 70461




Gregory Lewis Allen                      Gregory M Fuller                Gregory M Robbins
701 Mcdonald Ave                         Mary Washington Poa             Address Redacted
Ruston, LA 71270                         1501 Meadowcrest Drive
                                         Garland, TX 75042




Gregory Major                            Gregory Marcus Roberts          Gregory N Stanfill
126 Monticello Cr                        814 N Lakeside Dr               1405 Lost Creek
Locust Grove, VA 22508                   Destin, FL 32541                Desoto, TX 75115




Gregory Ogletree                         Gregory P Sapaugh               Gregory Patton Farrar
PO Box 1196                              18339 Copper River Dr           9125 Copper Ave Ne
Livingston, TX 77351                     College Station, TX 77845       Apt 616
                                                                         Albuquerque, NM 87123




Gregory Paul Holeman And Renee Holeman   Gregory Pipkin                  Gregory Potts
115 Shore Dr                             Address Redacted                9530 Mayfield Rd S
Sugarloaf Key, FL 33042                                                  Collierville, TN 38017-9398




Gregory R Barnes                         Gregory R Copeland              Gregory R Whitson
PO Box 5500                              403 Hearn Island Drive          603 Opal Lane
Waco, TX 76708                           Columbia, LA 71418              Richardson, TX 75080




Gregory S Pate                           Gregory Simon                   Gregory Steven Ritter
7141 Plover Circle                       PO Box 1051                     220 Broland Drive
Fort Worth, TX 76135                     Tatum, TX 75691                 Duson, LA 70529
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Gregory T Minnich Agent                Gregory T Smith                 Gregory Todd Free
Bank Of America Na                     3 Windfern Place                Lesley Carol Laird Free
Agent Advisory                         The Woodlands, TX 77382         2506 Hillside Rd
PO Box 840738                                                          Ruston, LA 71270
Dallas, TX 75284-0738



Gregory Todd Garrett                   Gregory W Sparks                Gregory Williams
7596 Angelina                          6901 W Courtyard Dr             Carolyn Williams
Athens, TX 75752                       Austin, TX 78730                1303 Yates Dr
                                                                       Longview, TX 75601




GregoryNancy Vance Living Tr           Greiner Buick Gmc Cadillac      Grelling Properties Ltd
c/o Production Gathering Co Lp         3333 Cy Ave                     c/o Regions Bank Nrre Ops Agt/Aif
8150 N Central Expwy                   Casper, WY 82604                PO Box 11566
Suite 1475                                                             Birminghamg, AL 35202
Dallas, TX 75206



Grelling Properties Ltd                Gresher Inc                     Greta Emogene Adamson Trustee
c/o Regions Bank Nrre Ops Agt/Aif      2060 Harvar Dr                  Greta Emogene Adamson Trust
PO Box 2020                            Levelland, TX 79336             PO Box 1790
Tyler, TX 75710                                                        Kilgore, TX 75663




Gretchen B Nearburg                    Gretchen Crow Energy LLC        Gretchen Elizabeth Gribble
1129 Challenger                        900 Pierremont Rd Ste 221       812 W Glenwood Terrace
Lakeway, TX 78734                      Shreveport, LA 71106            Fullerton, CA 92832




Gretchen G Schroeder                   Gretchen Harris                 Gretchen N Jackson Trst Agrmt
8501 Petersburg Rd                     31 Tamarack Road                Gretchen N Jackson Trustee
Evansville, IN 47725                   Tonasket, WA 98855              500 Highland Rd
                                                                       Ann Arbor, MI 48104




Gretchen S Crowther                    Gretchen S Snider               Gretchen White Collins
1029 Luke Drive                        4287 Marylebone Way             1113 Marisa Lane
Alvin, TX 77511-4385                   Boise, ID 83713                 Desoto, TX 75115




Grg Rock LLC                           Griego Family Trust             Griff Babb
PO Box 16067                           Mary Spry Griego Trustee        505 Kempson Ct
Golden, CO 80402                       101 Edgecumbe Rd 30             Saginaw, TX 76179
                                       Tauranga 3110
                                       New Zealand



Griffin Melinda L                      Griffith Mineral Partners Ltd   Grigsby Luke Clinton
PO Box 1496                            c/o Trust Division              5Th Road Ne 641
Whitehouse, TX 75791                   PO Box 2749                     Fairfield, MT 59436
                                       Longview, TX 75606




Grigsby Mark Franklin                  Grigsby Sandra Ruth             Grimbly Fam Tr Dtd 08 07 95
2056 Buchanan Road                     PO Box 162                      Patricia E Grimbly Ttee
Hallsville, TX 75650                   Simms, MT 59477                 1422 Brook Dr
                                                                       Titusville, FL 32780
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Grimes Jim Jean Grimes                  Grimes Phillip                 Grimmett Brothers Inc
11301 Fm 968 West                       812 University Drive           PO Box 919
Longview, TX 75602                      Carthage, TX 75633-1338        Snyder, TX 79550-0919




Grindstaff Grindstaff                   Grinnell College Trustees      Grinstead Mineral Trust
PO Box 269                              733 Broad Street               Mildred Grinstead Trustee
Ballinger, TX 76821                     Grinnell, IA 50112             PO Box 7934
                                                                       Tyler, TX 75701




Grinstead Minerals LLC                  Grisworld Industries           Grizzly Completion Services
PO Box 7934                             PO Box 1325                    Lincoln S Talbert
Tyler, TX 75711                         Newport Beach, CA 92659-0325   17806 Ih 10W Suite 310
                                                                       San Antonio, TX 78257




Gross Resources Lp                      Grover C Henderson             Grover Crowe Jr
Fdr Station                             1295 Niles Court               309 Sunshine Road
PO Box 945                              The Villages, FL 32162         Simsboro, LA 71275
New York, NY 10150




Grover L Brown                          Grover Lee Brown Jr            Groves Sharon
172 Garr Road                           551 Princeton Rd               14829 North East 63Rd
Ruston, LA 71270                        Princeton, LA 71067            Choctaw, OK 73020




Grow Financial Federal C U              Grubb Ellis                    Grubb Holdings Lp 3
PO Box 89909                            PO Box 933872                  1910 Ese Loop 323 179
Tampa, FL 33689-0415                    Atlanta, GA 31193-3872         Tyler, TX 75701




Guadalupe Campos Ramirez                Guadalupe G Coronel            Guadalupe Lilia Martinez Foundation
308 N Flores St                         18200 Blanco Springs Rd        361 Pine Valley Drive
San Diego, TX 78384                     Apt 1034                       Fairview, TX 75069
                                        San Antonio, TX 78258




Guarantee Abstract Company              Guaranteed Weed Control        Guaranty Abstract Title Co
PO Box 1641                             PO Box 2012                    One East Twohig
Enid, OK 73702                          Kilgore, TX 75663              San Angelo, TX 76903




Guaranty Bank And Trust Co              Guaranty Bond Bank N A         Guaranty Capital Investors Ltd
201 South Jefferson Ave                 201 South Jefferson Ave        c/o Jeffery Tempas Cpa
Mt Pleasant, TX 75455-4420              Mt Pleasant, TX 75455-4420     5961 S Middlefield Rd 100
                                                                       Littleton, CO 80123




Guaranty Energy Group 1981              Guaranty Title Company         Guard Drilling Mud Disposal Inc
c/o David E Kelm                        PO Box 430                     205 West Maple Suite 700
PO Box 576                              Carlsbad, NM 88221-0430        Enid, OK 73701
San Antonio, TX 78292
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Guardian                                  Guardian                                Guardian Bethlehem
PO Box 530157                             PO Box 677458                           PO Box 824404
Atlanta, GA 303530157                     Dallas, TX 75267-7458                   Philadelphia, PA 191824404




Guardian Life Insurance Co Of America     Guardian Water Systems                  Guardian Wellhead Protection Inc
4129 E Van Buren St                       PO Box 110209                           3311 State Hwy 135 N
Suite 205                                 Carrollton, TX 75011                    Kilgore, TX 75662
Phoenix, AZ 85008




Guardian Wellhead Protection Inc          Guardianship Mnmt Trt                   Guelda Lambert
PO Box 13188                              For M Powell                            2005 Klondike
Odessa, TX 79768                          Pine Bluff National Bank Ttee           Grand Prairie, TX 75050
                                          PO Box 7878
                                          Pine Bluff, AR 71611



Guest Petroleum Inc                       Guggenheim                              Guggenheim Fund Distributors Inc
PO Box 805                                2455 Corporate W Dr                     227 W Monroe St Ste 4900
Edmond, OK 73083                          Lisle, IL 60532                         Chicago, IL 60606-4900




Guggenheim Investment Management LLC      Guice Richard Earl                      Guillermo Benavides Garza
135 E 57th St                             A Troop 3 Sq 7Th Cao                    Residuary Tr
New York, NY 10022                        APO Box 472                             Richard Schmidt Ttee
                                          New York, NY 90330                      615 Leopard 635
                                                                                  Corpus Christi, TX 78401



Guillermo Benavides Jr                    Guillermo F Benavides 1999C Tr          Guillermo Oilfield Services
318 Bordeaux Dr                           Rosalina Madrid Ttee                    PO Box 101
Laredo, TX 78041                          318 Bordeaux Dr                         Knickerbocker, TX 76939
                                          Laredo, TX 78041




Guillermo R Benavides                     Guinn A Mcknight                        Gulf Coast Bank And Trust Co
PO Box 450554                             26876 Pine Tree Ct                      Fbo Yellowjacket Oilfield Services Llc
Laredo, TX 78045                          Waller, TX 77484                        PO Box 731152
                                                                                  Dallas, TX 75373-1152




Gulf Coast Bank Trust Co                  Gulf Coast Bank Trust Co                Gulf Coast Bank Trust Co
200 St Charles Avenue                     Fbo Keithville Well Drilling Services   Fbo Red River Pump Specialists Inc
New Orleans, LA 70130                     PO Box 731152                           PO Box 731152
                                          Dallas, TX 75373-1152                   Dallas, TX 75373-1152




Gulf Coast Bank Trust Co                  Gulf Coast Bank Trust Co                Gulf Coast Bk Trust Co
Fbo The Account Of Rwdy Inc               For Acct Of Dg Services Llc             Fbo Thomas Oilfield Svcs Llc
PO Box 731152                             PO Box 731152                           PO Box 731152
Dallas, TX 75373-1152                     Dallas, TX 75373-1152                   Dallas, TX 75373-1152




Gulf Coast Business Credit                Gulf Coast Business Credit              Gulf Coast Chemical LLC And
Fbo Penn Transport Llc                    One Oilfield Services Inc               Jones Oilfield Service Supply LLC
PO Box 732148                             PO Box 732148                           Jim Fusilier
Dallas, TX 75373-2148                     Dallas, TX 75373-2148                   220 Jacqulyn Street
                                                                                  Abbeville, LA 70510
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Gulf Coast Chemical LLC                 Gulf Coast Dismantling Inc        Gulf Coast Educators Fcu
PO Box 919161                           Bill Bartlett                     5953 Fairmont Pkwy
Dallas, TX 75391-9161                   PO Box 5249                       Pasadena, TX 77505
                                        Pasadena, TX 77508




Gulf Coast Federal Cr Union             Gulf Coast Gas Gathering LLC      Gulf Coast Tmc LLC
5953 Fairmont Pkwy                      615 N Upper Broadway St Ste 925   7670 Hwy 10
Pasadena, TX 77505                      Corpus Christi, TX 78401-0774     Ethel, LA 70730




Gulf Coast Trust Company                Gulf Coast Tubulars Lp            Gulf Coast Wireline Svcs Inc
Fbo Henry Howard Services Llc           3825 Bee Caves Road               PO Box 5781
PO Box 731152                           Austin, TX 78746                  Kingsville, TX 78364
Dallas, TX 75373-1152




Gulf Credit Union                       Gulf Electroquip Ltd              Gulf Land Structures LLC
5140 West Parkway                       PO Box 4346 Dept 109              PO Box 52605
Groves, TX 77619                        Houston, TX 77210-4346            Lafayette, LA 70505-2605




Gulf Properties Inc                     Gulf South Pipeline Lp            Gulf States Environmental Laboratories
PO Box 329                              520 Alliance Street               PO Box 707
Galveston, TX 77550                     Kenner, LA 70062                  Shreveport, LA 71162-0707




Gulf States Oilfield Services LLC       Gulf States Services Inc          Gulf Terrace Oil Corp
PO Box 239                              PO Box 725                        PO Box 51402
Arcadia, LA 71001                       Arcadia, LA 71001                 Lafayette, LA 70505




Gulfmark Energy                         Gulfmark Energy Inc               Gulfstream Services Inc
17 S Brair Hollow Ln                    PO Box 844                        PO Box 5041
Houston, TX 77027                       Houston, TX 77001-0844            Houma, LA 70361




Gunderson Iii Jack L                    Gunn Mineral Trust                Gunn Minerals LLC
Address Redacted                        PO Box 368                        1001 Rice Mine Rd N
                                        Lufkin, TX 759020368              Tuscaloosa, AL 35406




Gunnel M Schaar                         Gunsight Limited Partnership      Gurrola Reprographics Inc
1801 Corley                             PO Box 1973                       6161 Washington Avenue
Ruston, LA 71270                        Roswell, NM 88202                 Houston, TX 77007




Gurthie Moore Jr                        Gus Matthews                      Gus T Brown Jr
1731 Oakbury Dr                         11915 Dunlap Street               PO Box 1032
Missouri City, TX 77489                 Houston, TX 77035                 Luling, TX 78648-1032
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Guss Elley                               Gussie Hill Estate                        Gussie Lynn May
2900 N Travis                            Helen Ruth Baker Ind Exec                 253 Garr Rd
Cameron, TX 76520                        C/O Texas State Treasury Unclaimed Prop   Ruston, LA 71270
                                         PO Box 12019
                                         Austin, TX 78711-2019



Gussie Moore Simpson                     Gustaf H W Jansson                        Gustav Peter Ingemar
6650 Amherest St Unit 6B                 Ulfstack 2085                             c/o Texas State Treasury
San Diego, CA 92115                      S450 63 Hogsater                          Unclaimed Property Division
                                         Sweden                                    PO Box 12019
                                                                                   Austin, TX 78711-2019



Gustavas A Kennedy Verna Kennedy         Gustavia Ann Perry                        Gustine Trusts Agency
3611 Cadena Street                       209 Margaret Pl                           c/o Bancorpsouth Bank Tr Dept
Pasadena, TX 77504                       Grambling, LA 71245                       PO Box 52986
                                                                                   Shreveport, LA 71135-2986




Gutierrez Gate Guard Rental Service      Guy B Sample Estate                       Guy Brevard Sample
PO Box 356                               c/o Argent Property Services              1107 E Pine Island Rd
San Ygnacio, TX 78067                    PO Box 1410                               Shreveport, LA 71107
                                         Ruston, LA 71273




Guy Brevard Sample Tuw                   Guy Brown Legendre                        Guy Campbell Iii
Fbo Camille c/o Wells Fargo              487 Shenandoah Dr                         3430 Loop Rd
Bank Na Trustee                          Shreveport, LA 71115                      Monroe, LA 71201
PO Box 41779
Austin, TX 78704



Guy Chevrolet                            Guy Forrest Kinnebrew                     Guy Mayer
101 West Main Street                     317 Haynes Ave                            6405 Lyric Lane
Artesia, NM 88210                        Shreveport, LA 71105                      Falls Church, VA 22044




Guy Oakley Ritter                        Guy R Smith Et Ux Virginia T              Guy Sovia And Linda M Sovia
4970 Fm 1970                             PO Box 396                                8396 County Road 2193
Carthage, TX 75633                       Stephens, AR 71764                        Whitehouse, TX 75791




Guy T Mcbride Jr                         Guy W Cook                                Guy W Garwick D/B/A Algar
2615 Oak Drive 13                        6101 Ohio Drive 1104                      Land Mineral Trust
Lakewood, CO 80215                       Plano, TX 75024                           PO Box 5382
                                                                                   Katy, TX 77491




Guy W Hicks                              Guyette Barham LLC                        Guyline Anchor Service Inc
Martha Hicks                             Guyette Herzog Manager                    PO Box 3494
583 ConnellS Ferry Road                  c/o Argent Property Services Llc          Alice, TX 78333
Joaquin, TX 75954                        PO Box 1410
                                         Ruston, LA 71273



Gvasa LLC 1                              Gw Wireline Inc                           Gwc La LLC
PO Box 440168                            PO Box 725                                C/O Gus W Colvin Jr
Laredo, TX 78044                         Mineral Wells, TX 76068                   PO Box 2692
                                                                                   Anniston, AL 36202
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Gwen Chapmen                          Gwen Elizabeth Muguerza        Gwen Lewis
3579 Cr 158 North                     Address Redacted               1130 Cahill Way
Henderson, TX 75652                                                  Denton, TX 76208-5112




Gwen P Reed                           Gwen Talton Lewis              Gwen W Roquet
3076 Hays Lane                        202 Parker Street              5735 Stillbrooke
Rockwall, TX 75087                    West Monroe, LA 71292          Houston, TX 77096




Gwendoln Watt Parsons                 Gwendolyn Blackwell Wilhite    Gwendolyn Carol Gribble Evers
PO Box 826                            Separate Property              2385 Via Pelicano
Tatum, TX 75691                       PO Box 178                     Carlsbad, CA 92009
                                      Elm Grove, LA 71051




Gwendolyn Danial Jenkins              Gwendolyn Davis                Gwendolyn Johnson
3811 Ohio Ave                         405 Arthur Street              7521 Portman Avenue
Richmond, CA 94804-3368               West Monroe, LA 71292          Fort Worth, TX 76112




Gwendolyn Key                         Gwendolyn O Critton            Gwendolyn Pierce
16854 County Road 1170                2810 Freddie St                27701 Dover Drive
Flint, TX 75762                       Shreveport, LA 71107           Moreno, CA 92555




Gwendolyn Powell Spencer              Gwendolyn S Martin             Gwendolyn Smith
PO Box 470                            PO Box 19174                   608 Brookdale Drive
Grambling, LA 71245                   Fountain Hills, AZ 85269       Alamogordo, NM 88310




Gwendolyn Snowden                     Gwendolyn Sutson Lovelace      Gwendolyn Thomas Reese
616 Barnes Rd                         16551 Lindsay Street           108 Shalimar Dr
West Monroe, LA 71291                 Detroit, MI 48235              West Monroe, LA 71291




Gwendolyn Watt Parsons                Gwenetta Faye Wilson           Gwenith G Mcglaun
PO Box 826                            5710 Wren Ave                  4697 St Hwy 31 E
Tatum, TX 75691                       El Paso, TX 79924              Murchison, TX 75778




Gws Resources LLC                     Gwv Interest Inc               Gwyn Bass
11858 Dunkirk Circle Ne               12201 Merit Drive Suite 620    3307 Danville Dr
Blaine, MN 554497500                  Dallas, TX 75251               Kilgore, TX 75662-5707




Gwyn W Beavers Ttee                   Gwynell R Bazzell              Gwynne Collie Brooks
A/K/A Geneva W Beavers                PO Box 225                     1920 E Ranch Rd 473
Beavers Grantors Trust                Longview, TX 75605             Blanco, TX 78606-5061
PO Box 703
Sanger, TX 76266
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Gynell Williams Estate                  Gypsy Energy LLC               Gyrodata Inc
c/o 6730 Green Stone Ct                 301 E Glendale Street          PO Box 650823 Dept 41240
Houston, TX 77084-6240                  Broken Arrow, OK 74011         Dallas, TX 75265




Gyrodata Incorporated                   H A Borders Jr                 H A Construction LLC
Kelly Landram                           253 Duperu Dr                  109 Horn Road
23000 Northwest Lake Drive              Crockett, CA 94525             Logansport, LA 71049
Houston, TX 77095




H A Ted Bailey Trustee Of               H A Transportation             H A True Jr
Virginia M Bailey Non Exempt            5826 Calico Crossing Lane      Po Drawer 2360
Marital Deduction Trust                 Katy, TX 77450                 Casper, WY 82602
1400 West Markham Street Suite 202
Little Rock, AR 72201-1822



H B Brown And R F Beauchamp             H B Hewett/B A Powell Tr 1     H B Hewett/B A Powell Tr 2
c/o Texas State Treasury                Barbara A Powell Et Al Trsts   Barbara A Powell Et Al Trsts
Unclaimed Property Division             12409 Fm 1935                  12409 Fm 1935
PO Box 12019                            Brenham, TX 77833              Brenham, TX 77833
Austin, TX 78711-2019



H B Rentals Lc                          H Ben Taub                     H Boyd Moreland
Kimberly Howard                         Texan Bldg 4Th Floor           1700 Lynwood Pl
5813 Hwy 90 East                        333 W Loop N                   Casper, WY 82604
Broussard, LA 70518                     Houston, TX 77008




H C Effie Lee Oden                      H C Mudlogging                 H Clay Robinson
c/o Texas State Treasury                51 S Acacia Park Cir           439 Mccormick Street
Unclaimed Property Division             Spring, TX 77382-1659          Shreveport, LA 71104
PO Box 12019
Austin, TX 78711-2019



H D And E D Averett Rev Liv Trst        H D Melton Iii                 H Dan Stephenson
J F And W D Averett Co Ttees            434 Tarpon Court               100 Henry Dr
10420 Tasajillo Cove                    Marco Island, FL 34145         Berea, KY 40403
Austin, TX 78739




H Denman Margaret H Scott               H E Buddecke                   H E Stuckenhoff Jr
The H Denman Scott Trust                PO Box 866                     Box 1050
7 22 98 Fbo H Denman Scott              Tatum, TX 75691                Casper, WY 97304
65 Benefit Street
Providence, RI 02904



H E Williams A/K/A Harless E Williams   H Earl Taylor Jr               H Frank Simpson
PO Box 3665                             Six Royal Way                  228 24Th Avenue North
Mckinney, TX 75069                      Dallas, TX 75229               Texas City, TX 77590




H Fred Gwenda Futch Ttees               H G Lang And Odessa Lang       H Glen Hall
Futch Living Trustdto 8/22/05           3110 Kathleen Dr               PO Box 591
3260 Golfing Green Place                Longview, TX 75604             Carthage, TX 75633
Farmers Branch, TX 75234
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H Grant Ester Stoddard Trust            H H Supply Bakersfield Inc        H H Trust
1529 Papeete Drive                      PO Box 1028                       c/o Co Ttes
Plano, TX 75075                         Woodland, CA 95776                F L Holland M M Yamagata
                                                                          4220 Ridgehaven Road
                                                                          Fort Worth, TX 76116



H H X Ray Services Inc                  H Hunt Armistead                  H J Bissell
Po Drawer 517                           13237 Dime Box Trail              Box 1706
West Monroe, LA 71294-0517              Austin, TX 78729                  Longview, TX 75606-5606




H J Grebing Jr                          H J Harrison Ncm                  H J Thompson Jr
c/o Carol Grebing                       Beth Allgood Tmp Gdn              10425 Cr 4236D
105 C St                                328 Sunset Blvd                   Cushing, TX 75760
Hurley, NM 88043                        Lufkin, TX 75904




H K Trucking LLC                        H Kent Brock                      H L Brown Operating LLC
PO Box 301                              529 Omar St                       Accounting Dept
Parachute, CO 81635                     Houston, TX 77009-6640            PO Box 2237
                                                                          Midland, TX 79702




H L Operating Inc                       H L Selma Dowling Decd Esch       H L Snider Jr
PO Box 14187                            210 Woodcrest                     c/o Texas State Treasury
Odessa, TX 79768                        San Antonio, TX 78209             Unclaimed Property Division
                                                                          PO Box 12019
                                                                          Austin, TX 78711-2019



H Lutes Family Trust                    H M Berg Jr                       H M Crosswell Iii
Farmers National Co Agent               PO Box B                          3900 Essex Ln Ste 730
PO Box 3480                             Camden, AR 71701                  Houston, TX 77027
Oil And Gas Dept
Omaha, NE 68103-0480



H M Dirt Contractors Inc                H M Klaenhammer Revocable Trust   H M Precision Products Inc
PO Box 459                              H M Klaenhammer Trustee           PO Box 1740
Post, TX 79356                          PO Box 2680                       Farmington, NM 87499
                                        C/O Hilltop NatL Bank
                                        Casper, WY 82602



H Michael Heisey                        H P Ellsworth                     H P Ellsworth Oil Gas Prop
PO Box 28055                            Oil Gas Properties                615 Upper North Broadway
Austin, TX 78731                        615 Upper N Broadway              Suite 1910
                                        Suite 1910                        Corpus Christi, TX 78477
                                        Corpus Christi, TX 78477



H P Rentals                             H P Smead Jr                      H R Alexander Estate
W R Hennig                              PO Box 309                        Frances Alexander Executrix
1055 Cr 448                             Longview, TX 756060309            PO Box 9041
Coleman, TX 76834                                                         Houma, LA 70361




H R Clay Iii 1361 Trust                 H R Clay Iii 1361 Trust           H R Clay Iii 1361 Trust
Bank Of America Trustee                 Bank Of America Trustee           Bank Of America Trustee
U/W/O Henry R Clay                      U/W/O Henry R Clay                U/W/O Henry R Clay
PO Box 830308                           PO Box 840738                     PO Box 832407
Dallas, TX 75283-0308                   Dallas, TX 75284-0738             Dallas, TX 75283-2407
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H R Fender Jr                             H R Jones Farm LLC               H Rowland Duckworth And Renee Duckworth
10100 Cr 290                              Richard Drew Jones Manager       PO Box 135
Tyler, TX 75707                           210 Griffin Rd                   Carthage, TX 75633
                                          Ruston, LA 71270




H Russell Davis Kathryn R Davis           H S Caven Estate                 H S Constructors Inc
2509 Hillside                             Isabelle Caven Indep Executrix   1616 Corn Products Road
Ruston, LA 71270                          2806 Scenic Drive                Corpus Christi, TX 78409
                                          Austin, TX 78703




H S Minerals And Realty Ltd               H S Motley Heirs LLC             H S Testing Inc
PO Box 27284                              1426 W Park                      575 S Bryant Street
Austin, TX 787552284                      Victoria, TX 77905               Denver, CO 80219




H Simon Gabriel                           H T Mccormick                    H V A C Mechanical Inc
6726 Rolling Vista Drive                  621 Valley Green Trace           440 W Crowther Ave
Dallas, TX 75248                          Marietta, GA 30068               Placentia, CA 92870




H V Eicher Jr Trust                       H V Schaff                       H Van Rhijn
11935 Kimberley                           14 Saint Andrews Way             Katenblankweg 3
Houston, TX 77024                         Mcalester, OK 74501              Noordwijk 2202Cn
                                                                           Netherlands




H W Volk Jr                               H Walker Royall Iii              H Warren Shetrone
49 Sundown Pkwy                           c/o Briarwood Capital Corp       16303 Mahogany Crest Drive
Austin, TX 78746                          5956 Sherry Ln Ste 1250          Cypress, TX 77429
                                          Dallas, TX 75225




H2E Inc                                   H2E Incorporated                 H2Oil Disposal Recovery Services LLC
Chris Ewert                               808 N Main St                    Msc 900
808 North Main Street                     Spearfish, SD 57783-2166         PO Box 4906
Spearfish, SD 57783                                                        Houston, TX 77210-4906




H9 Hydrocarbons LLC                       Ha Potter Oil Gas LLC            Haar Natalie
1541 Diamond Dr                           10627 Piping Rock                c/o Zinn Petroleum
Casper, WY 82601                          Houston, TX 77042                3400 Bissonnet Suite 250
                                                                           Houston, TX 77005




Haarmeyer Electric Inc                    Hab Weiss Properties LLC         Hach Company
PO Box 478                                900 Pierremont Road              2207 Collections Center Dr
Lovington, NM 88260                       Suite 117                        Chicago, IL 60693
                                          Shreveport, LA 71106




Hacker International LLC                  Hacksma Associates               Hadco Services Inc
PO Box 1208                               11903 Amyford Bend               PO Box 81189
Henderson, TX 75653-1208                  Cypress, TX 77429                Lafayette, LA 70598
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Haddaway Holcombe Partnership Ltd       Haden J Upchurch                     Haden J Upchurch Estate
c/o Franklin Holcombe                   PO Box 572017                        PO Box 572017
440 Louisiana Suite 900                 Houston, TX 77257-2017               Houston, TX 77257
Houston, TX 77002




Hadley H Bower Mary O Bower             Hagemeyer North America              Hagood James M
Revocable Living Trust                  13649 Collections Center Drive       PO Box 280603
c/o David H Bower Ttee                  Chicago, IL 60693                    Lakewood, CO 80228-0603
3721 N Classen Blvd
Oklahoma City, OK 73118



Hahn Construction                       Haigood Campbell LLC                 Hailey Nicole Bunnell
PO Box 1976                             Box 1066                             716 Bluebonnet Ln
Rawlins, WY 82301                       Archer City, TX 76351                Mesquite, TX 75149




Haileys Hotshot LLC                     Hair Family Ltd Partnership          Hal Alan Tait
412 Stonybrook Dr                       Clifford N Hair Jr Managing Member   7233 Jillspring Court
Midland, TX 79703                       PO Box 8122                          Springfield, VA 22152
                                        Midland, TX 79708




Hal B Fullerton                         Hal G Kuntz                          Hal G Kuntz Est
2010 Fm 517 Rd E                        8313 Merlin Dr                       Annette Kuntz Hal G Kuntz
Dickinson, TX 77539                     Houston, TX 77055-4832               Michael B Kuntz Indpdt Co Exec
                                                                             8313 Merlin Dr
                                                                             Houston, TX 77055



Hal Joan Hendrickson                    Hal M Zimmerman                      Halbert Royalties Inc
Rev Tr Dtd 08 10 2006                   2929 Post Oak Blvd Apt 1007          PO Box 6990
Alma J Charles D Hendrickson            Houston, TX 77056-6115               Tyler, TX 757116990
4152 W Coleman Rd
Ponca City, OK 74601



Halbert Royalties Ltd                   Hales Motor Rewinding LLC            Hales Welding Service
PO Box 6990                             8909 Hosston Vivian Rd               PO Box 26
Tyler, TX 75711                         Vivian, LA 71082                     Henderson, TX 75653




Haley Michelle Hinton Honey             Haley Neal Taylor Basham             Haley Smith
2205 Plainfield Ct                      2271 Florida St                      7008 Ecr 108
Pflugerville, TX 78660                  Arcadia, LA 71001-3825               Midland, TX 79706




Hall Brothers Trust                     Hall M Lyons 1998 Trust              Hall Sarah
Larry Hall Trustee                      Michael Glen Lyons                   3116 Lamp Post Lane
1265 County Rd 119                      Marjorie Scott Lyons Trustees        Oklahoma City, OK 73120
Carthage, TX 75633                      PO Box 1226
                                        Fort Bragg, CA 95437



Hall Tr Condor Jt Venture               Halley Timber Co LLC                 Halliburton
Frost National Bank Ttee                PO Box 189                           PO Box 203143
Acct F0442201                           Farmerville, LA 71241                Houston, TX 77216-3143
PO Box 1600
San Antonio, TX 78296
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Halliburton Artificial Lift              Halliburton Energy Serv Inc    Halliburton Energy Services Inc
PO Box 301341                            PO Box 301349                  David Huynh
Dallas, TX 75303-1341                    Dallas, TX 75303-1341          3000 North Sam Houston Parkway East
                                                                        Houston, TX 77032




Halliburton Energy Srvcs Inc             Halliburton Energy Svcs Inc    Hallie Fowler Hart
PO Box 301341                            PO Box 301341                  475 Leo Avenue
Dallas, TX 75303-1341                    Dallas, TX 75303-1341          Shreveport, LA 71104




Hallie Jo Reesig                         Hallie Olcott Chase            Hallie Williams
3116 Eanes Circle                        c/o Texas State Treasury       c/o Texas State Treasurer
Austin, TX 78746                         Unclaimed Property Division    Unclaimed Property Division
                                         PO Box 12019                   PO Box 12608 Capitol Station
                                         Austin, TX 78711-2019          Austin, TX 78711



Hallin Marine LLC                        Hallmark Energy LLC            Hallsville Ffa
1105 Peters Road                         8201 Preston Road              PO Box 810
Harvey, LA 70058                         Suite 310 Lb 13                Hallsville, TX 75650
                                         Dallas, TX 75225




Halo Branded Solutions Inc               Halron Transport               Hals Ac Electrical
3182 Momentum Place                      c/o Bay View Funding           PO Box 1047
Chicago, IL 60689-5331                   PO Box 881774                  1717 Ne Loop
                                         San Francisco, CA 941881774    Carthage, TX 75633




Halverson Mary Zell                      Hamilton Engineering Inc       Hamilton International LLC
19208 Sotogrande Drive                   Tracey Romero                  Tracey Romero
Pflugerville, TX 78660                   400 Post Oak Blvd Site 400     400 Post Oak Blvd Site 400
                                         Houston, TX 77056              Houston, TX 77056




Hamilton Oilfield Services Inc           Hamm Management Co             Hamm Phillips Service Co
PO Box 60438                             205 West Maple Suite 700       205 West Maple Suite 700
San Angelo, TX 76906-0438                Enid, OK 73701                 Enid, OK 73701




Hammer Construction Inc                  Hammer Exploration Inc         Hampco Resources LLC
PO Box 721078                            PO Box 785                     6571 Furman Court
Norman, OK 73070-4830                    Columbus, MT 59019             Tyler, TX 75703




Hampe Iglesias PLLC                      Hampshire College              Hampton Properties
102 North College Avenue                 Business Office                PO Box 6078
Suite 1030                               893 West Street                Longview, TX 75608
Tyler, TX 75702                          Amherst, MA 01002




Hamre Rodriguez Ostrander Dingess Pc     Hancock Bank                   Hancock Family Partnership Ltd
3600 S Yosemite St                       PO Box 4019                    Attn Phillip Hancock
Suite 500                                Gulfport, MS 39502             130 Spring Park Dr Ste 201
Denver, CO 80237-1829                                                   Midland, TX 79705
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Handy Hot Shot LLC                     Handy Oilfield Supplies Inc             Hanna L Gamble
PO Box 10013                           PO Box 919                              7591 Fern Ave Ste 1701
Longview, TX 75608                     Post, TX 79356                          Shreveport, LA 71105




Hannah Austin Blanton                  Hannah Brown                            Hannah Cutshall
9001 Georgia Hwy 21                    5062 U S Hwy 259 North                  4311 Oak Lawn Avenue Suite 300
Apt 312                                Henderson, TX 75652                     Dallas, TX 75219
Port Wentworth, GA 31407-6040




Hannah Marie Madden                    Hannah Mattix Testamentary Tst          Hannah Morgan Castrucci
205 Dicks Store Rd                     Zachary Mattix Trustee                  47 Rawley Dr
Simsboro, LA 71275                     1314 Jordan Sawmill Rd                  Hampden, ME 04444
                                       Parkton, MD 21120




Hannah Williams Individually           Hannah Williams Indiviually             Hanora E Ferris
5945 Royal Crest Drive                 5945 Royal Crest Drive                  11971 Pine St
Dallas, TX 75230                       Dallas, TX 75230                        Los Alamitos, CA 90720




Hanover Insurance Co                   Hans Brothers Industries                Hans L Larsen Ii
Chartenya Cleveland                    PO Box 3697                             21656 Aberdeen Rd
10375 Richmond Ave Ste 1050            Alice, TX 78333                         Rocky River, OH 44116
Houston, TX 77042




Hansainvest Gmbh                       Hansel Ritter                           Hansen Oil Corp
Kapstadtring 8                         PO Box 1175                             622 Longleaf Rd
22297 Hamburg                          Port Neches, TX 77651                   Shreveport, LA 71106
Germany




Hansinvest Gmbh                        Hanson Minerals Company                 Hapl
Kapstadtring 8                         2925 Briarpark Dr Ste 1000              Castex Energy Inc
22297 Hamburg                          Houston, TX 77042                       Attn William Oneal
Germany                                                                        333 Clay St Ste 2000
                                                                               Houston, TX 77002



Happy Acres Energy Timber Co           Happy Hill Farm Academy                 Happy King
506 Woodbine Drive                     3846 North Highway 144                  408 E Carolanne Blvd
Shreveport, LA 71105                   Granbury, TX 76048                      Marshall, TX 84403




Happy State Bank And Trust Co          Harbor Assoc Of Industry And Commerce   Harbor Energy Inc
PO Box 68                              PO Box 4250                             PO Box 720754
Happy, TX 79042                        Sunland, CA 91041                       Norman, OK 73070




Hard Driven                            Hard Rock Petroleum LLC                 Hardie Wallace
6585 N Santa Fe                        Att Bret Hardcastle                     300 Hwy 43 East
Fresno, CA 93722                       511 Secret Cove                         Henderson, TX 75652
                                       Bossier City, LA 71111
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Hardin Exploration Lp                   Hardin Minerals Lp                      Hardin Simmons University
2727 Lbj Freeway Ste 600                c/o Farmers National Co Agent           Baptist Foundation Of Tx Aif
Dallas, TX 75234                        PO Box 3480                             1601 Elm
                                        Oil Gas Dept                            Suite 1700
                                        Omaha, NE 68103                         Dallas, TX 75201-7241



Hardman Pumping Service Inc             Hardy Mineral Royalties Ltd             Hardy Petroleum Corporation
PO Box 72                               5111 Broadway                           560 E S Temple Pl101
Gail, TX 79738                          San Antonio, TX 78209                   Salt Lake City, UT 84102




Hargil Trust U/A Dated 9 1 75           Hargrove Smelley Strickland Langley     Haring Energy Company
Guy U Griffeth Succ Ttee                401 Market Street Suite 600             PO Box 17688
6123 Twin Oaks Circle                   PO Box 59                               San Antonio, TX 78217-0688
Dallas, TX 752405343                    Shreveport, LA 71161-0059




Harlene Muckelroy                       Harleton Oil And Gas Inc                Harley J Davis
507 County Road 1245                    PO Box 345                              6410 Flying Squirrel Rd
Center, TX 75935                        Tyler, TX 75710                         Gilmer, TX 75644




Harlow Royalties Ltd                    Harlow Royalties Ltd                    Harmon Carolyn M
22499 Imperial Valley Drive             c/o Texas Capital Bank                  10 Victor
Houston, TX 77073-1173                  PO Box 570717                           Longview, TX 75601
                                        Houston, TX 77257




Harmon Elias Starling                   Harmon Hatley Brumble Lou Ann Brumble   Harmon L Putnam
21954 Sw 97Th Pl                        939 Cr 184                              2502 Harleton Road
Cutler Bay, FL 33190-1540               Carthage, TX 75633                      Marshall, TX 75670




Harmon Wood Company Inc                 Harmony Baptist Church                  Harmony Viola Allison
PO Box 518                              PO Box 1177                             17 Kingsboro Park Unit 2
Homer, TX 71040                         Hallsville, TX 75650                    Jamaica Plain, MA 02130




Harns Tank Strapping Services           Harold A Bullock                        Harold A Olivey Trust A
PO Box 69                               18222 104Th Ave                         7000082300 Bank One Trust Company Ttee
Farson, WY 82932-0069                   Sun City, AZ 85373-1665                 PO Box 99084 Tx1 1315
                                                                                Fort Worth, TX 76199




Harold A Talbert                        Harold Albritton                        Harold Ann Cullen Tepoorten
PO Box 703                              1216 Garr Road                          Living Trust Dated 7/10/2003
Arcadia, LA 71001                       Ruston, LA 71270                        4168 S Oneida St
                                                                                Denver, CO 80237




Harold B Bowen                          Harold B Boyle And Brenda V Boyle       Harold Brock Bucher Jr
805 Lockerplant Road                    1300 Madera                             1817 Roberts Landing Rd
Gladewater, TX 75647                    Ruston, LA 71270                        Windermere, FL 34786
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Harold C Stevenson Iii                  Harold Charles Kaffie Jr       Harold Coley Jr
21011 James Long Court                  PO Box 2967                    PO Box 22164
Richmond, TX 774066453                  Corpus Christi, TX 78403       Houston, TX 77227




Harold Cornwell Et Ux                   Harold Dale Boyte Wife         Harold David Morris
Essie Moore Cornwell                    Renee Sellers Boyte            125 Morris Drive
636 Cornwell Street                     248 Styles Ranch Road          Simsboro, LA 71275
Grambling, LA 71245                     Choudrant, LA 71227




Harold E Cripps And                     Harold E Joyce N Cogswell      Harold E Kutz Jr
Ouida Faye Page Cripps                  7359 Bancomb Rd                c/o Texas State Treasury
703 Blazier Street                      Shreveport, LA 71129           Unclaimed Property Division
West Monroe, LA 71292                                                  PO Box 12019
                                                                       Austin, TX 78711-2019



Harold E Oetgen And Thelma W Oetgen     Harold E Simons                Harold E Wright
138 Tidwell Rd                          1611 Lee Dr                    828 Colonial Dr
West Monroe, LA 71292                   Henderson, KY 42420            Tyler, TX 75701




Harold Earnest Traylor Sr               Harold Edwards                 Harold Eugene Daughdril
1312 Strozier Road                      3014 22nd Ave                  Elizabeth Rogers Daughdril
West Monroe, LA 71291                   Oakland, CA 94602              6212 Hickory Hollow Ln
                                                                       Conroe, TX 77304




Harold F Hadlock                        Harold Faulk                   Harold G Frost
1150 S Main 219                         798 Fm 3174 Joaquin            1007 Audubon Ave
Bountiful, UT 84010                     Joaquin, TX 75954              West Monroe, LA 71291-5028




Harold G Hanson                         Harold G Odum                  Harold Gene Mccauley Jr And
PO Box 1048                             PO Box 4469                    Carla B Mccauley
Joaquin, TX 75954                       Horseshoe Bay, TX 78657-4469   PO Box 2274
                                                                       Henderson, TX 75653




Harold H Stow                           Harold J Anderson Inc          Harold J Browning Iii
25 Diamond Circle                       381 Highway 21                 3900 Potomac Ave
Texarkana, TX 75503                     Suite 205                      Dallas, TX 75205-2117
                                        Madisonville, LA 70447




Harold J Hagan                          Harold J Simmons               Harold J Vance Trust
634 Durham Drive                        12976 Montford                 Mrs Alma Jean Yeoman Succ
Conroe, TX 77302                        Pacoima, CA 91331              Sole Trustee
                                                                       3030 Country Club Boulevard
                                                                       Sugar Land, TX 77478



Harold Jack Newbold F/A/O               Harold Jackson                 Harold James Cox
Treas Of Tx Capital Station             118 Alexander St               2488 Prosperity Way
PO Box 12608                            Grambling, LA 71245            San Leandro, CA 94578
Austin, TX 78711
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Harold Judson Suber                       Harold L Bridges                 Harold L Mcmillan And Dolores Mcmillan
PO Box 383                                PO Box 1460                      1186 N Hyview Rd
Ore City, TX 75683-0383                   Hallsville, TX 75650             Mansfield, TX 76063-6252




Harold L Permenter                        Harold L Price                   Harold L Rice And Wife Evelyn M Rice
PO Box 221                                1846 Glendale Ave                509 Hilburn Rd
Joaquin, TX 75954-0221                    Baton Rouge, LA 70808-2832       Kilgore, TX 75662




Harold L Rosbottom Estate                 Harold Lajoy Garrett Living      Harold Lathan Jr
1830 Williams Ave                         Tr Harold Herbert Garrett And    2909 Frazier Street
Natchitoches, LA 71457                    Frances Lajoy Garrett Co Ttees   Dallas, TX 75210
                                          5229 Windjammer Rd
                                          Plano, TX 75093



Harold Lester Pesnell                     Harold M Johnson                 Harold M Smotherman
Audra Brister Pesnell                     2185 Piazza Way                  419 Brighton Ct
2454 Highway 556                          Grand Junction, CO 81506         Tyler, TX 757019549
Choudrant, LA 71227




Harold Melbern Knotts                     Harold Merritt Dixon             Harold O Neff
112 Llanfair Drive                        8445 Hwy 165 S                   Tom Neff Executor
Ruston, LA 71270-9548                     Pollock, LA 71467                100 Independence Pl Ste 307
                                                                           Tyler, TX 75703




Harold Pool And                           Harold R Keen Testamentary Trt   Harold Ross Perritt
Emma Jean Pool                            First National Bank Of Ottawa    1909 West Kentucky Ave
126 Ahrens Dr                             Il Trustee U/W                   Ruston, LA 71270
Brenham, TX 77833                         701 Lasalle St
                                          Ottawa, IL 61350



Harold Schneider                          Harold Sutton Tinsley And        Harold T Robinson
7709 Palacios Drive                       Wife Harryette Ann Tinsley       7621 Brookhaven
Austin, TX 78749                          1371 Davidson Rd                 Shreveport, LA 71105
                                          Arcadia, LA 71001




Harold Taylor                             Harold Townsend Robinson         Harold Turner Mankin Ii
15831 Stout Street                        PO Box 8022                      1957 Sevilla Boulevard West
Detroit, MI 48223                         Alexandria, LA 71306             Atlantic Beach, FL 32233




Harold W Jones Ricki Hood Jones           Harold W Joseph                  Harold W Lundy And Laverta A Lundy
1485 Highway 534                          370 North Drive                  232 Hyatt Road
Homer, LA 71040                           Fayetteville, GA 30214           Ruston, LA 71270




Harold W Nix                              Harold W Samford Et Ux           Harold W Waldron
PO Box 679                                Gloria G Samford                 120 Platt Drive
Dangerfield, TX 75638                     1342 Cr 3267                     Haughton, LA 71037
                                          Joaquin, TX 75954
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Harold Wagers                            Haroldson L Hunt Jr Trust Est    Harper F Taggart
23018 Fm 2100                            Tom Hunt Trustee                 PO Box 3484
Huffman, TX 77336                        c/o Xto Energy Inc               Rocklin, CA 95677-8470
                                         810 Houston Street
                                         Fort Worth, TX 76102



Harrell E Gullatt                        Harrell Family LLC               Harrell Settle Jr
1512 W Kentucky Ave                      c/o James C Harrell              Annie Settle Aif
Ruston, LA 71270                         14801 Bristol Park Blvd          910 East 8Th Street
                                         Oklahoma City, OK 73013          Rotan, TX 79546




Harriese Smith                           Harriet A Hearne Testamentary    Harriet Ann Hearne Trust
1373 10Th St                             Tr                               Nationsbank Of Texas Trustee
Oakland, CA 94607                        Nationsbank Of Texas Trustee     Trust 3732 03 PO Box 840738
                                         PO Box 840738                    Dallas, TX 75284-0738
                                         Dallas, TX 75283-0738



Harriet Courington                       Harriet H Neal                   Harriet J Walker
227 Private Road 1490                    12 Petroglyph Trail              8705 Creswell Rd
Longview, TX 75605                       Placitas, NM 87043               Shreveport, LA 71106-6211




Harriet Jones Farley                     Harriet L Lesikar Life Estate    Harriet Mellon Family Trust A
2834 Montebello Rd 3                     PO Box 121788                    Harry Lee Mellon Trustee
Austin, TX 78746                         Fort Worth, TX 76121-            5242 Braesvalley Dr
                                                                          Houston, TX 77096




Harriet Puckett Payton                   Harriet Randolph Clinton Howie   Harriet Rowland Dunn
1403 Mesa                                825 Woodview Ct                  413 California Plant Rd
Ruston, LA 71270                         Baton Rouge, LA 70810            Dubach, LA 71235




Harriett Brown Spanberg                  Harriett L Michael               Harriett Lesikar
9022 Wisterian Way                       14 Rubicon Court                 PO Box 121788
Shreveport, LA 71106                     San Rafael, CA 94903             Fort Worth, TX 76121




Harriett Wilson                          Harriette Jill Denton            Harrigan Royalties LLC
c/o Texas State Treasury                 1117 N W G                       16821 Buccaneer Ste 218
Unclaimed Property Division              Bentonville, AR 72712            Houston, TX 77058
PO Box 12019
Austin, TX 78711-2019



Harrington Industrial Plastics           Harriot J Whiddon                Harris A Kaffie Ira Acct
14480 Yorba Ave                          202 Deerfield Dr                 4101 Bennedict Ln
Chino, CA 91708                          Lufkin, TX 75901                 Austin, TX 78746




Harris Allen Kaffie Et Al                Harris Co Fwsd 6                 Harris County Tax Assessor
PO Box 2967                              103 Kerry Rd                     1001 Preston St
Corpus Christi, TX 78403                 Highlands, TX 77562              Houston, TX 77081
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Harris County Tax Assessor               Harris Family Trust                  Harris Farms Inc
Collector Mike Sullivan                  Virgil B Harris Jr                   Route 1 Box 400
PO Box 4622                              James Stephen Harris Succ Trustees   Coalinga, CA 93210
Houston, TX 77210-4622                   6034 Clear Bay Dr
                                         Dallas, TX 75248



Harris Finley Bogle Pc                   Harris G Anderson Family Trst        Harris Gresham Anderson
777 Main St Ste 1800                     Herbert D Anderson Trustee           PO Box 161421
Fort Worth, TX 76102-5322                PO Box 2051                          Mobile, AL 36616-2421
                                         Mobile, AL 36652




Harris Gresham Anderson Family           Harris Group Inc                     Harris J Thompson Jr
Herbert D Anderson Trustee               300 Elliott Ave W Ste 500            T D C J Id 1062499
PO Box 2051                              Seattle, WA 98119-4114               PO Box 60
Mobile, AL 36652                                                              Huntsville, TX 77342




Harris James O                           Harris Living Trust                  Harris Ray Canterbury Helen Canterbury
5086 Us 79 South                         Carl C Harris Trustee                111 Russell Road
Carthage, TX 75633                       635 Southwest Third                  Simsboro, LA 71275-3008
                                         Moore, OK 73160




Harris Ray Helen Canterbury Usufruct     Harris Rev J T Harris Regina         Harrison Central Appraisal District
111 Russell Road                         1424 Cr 152                          601 S Washington
Simsboro, LA 71275-3008                  Carthage, TX 75633                   Marshall, TX 75670




Harrison Central Appraisal District      Harrison County                      Harrison County Clerk
PO Box 818                               Road And Bridge Department           200 W Houston St 331
Marshall, TX 75671-0818                  3800 Five Notch Rd                   Marshall, TX 75670
                                         Marshall, TX 75672




Harrison County Clerk                    Harrison County Land Records         Harrison County Tax Assessor
PO Box 1365                              305 E Pinecrest Dr                   200 West Houston Suite 108
Marshall, TX 75671                       Marshall, TX 75670                   Marshall, TX 75670




Harrison County Tax Assessor             Harrison Interests Ltd               Harrison Smith Properties LLC
Collector                                712 Main St Suite 1900               PO Box 9
PO Box 967                               Houston, TX 77002-3220               Shreveport, LA 711610009
Marshall, TX 75671




Harrison Wiley Jr                        Harry A Noren                        Harry B Bedgood
712 Second Street                        2770 S Elmira No 146                 4852 Mcnulty Street
Ruston, LA 71270                         Denver, CO 80231                     Grove City, OH 43123




Harry B Fleming Iv                       Harry Bradford Fleming Iii           Harry Bradley
Minor Child Of H B Iii L S               2038 Albans                          6660 Fm 205
Fleming                                  Houston, TX 77005                    Stphenville, TX 76401
2038 Albans
Houston, TX 77005
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Harry Brandt                            Harry C Kinney Jr               Harry D Aston
1001 Japonica Ln                        15523 Torry Pines               PO Box 1988
Shreveport, LA 71118                    Houston, TX 77062               Rowlett, TX 75030-1988




Harry D Wilcott                         Harry Dale Lancaster            Harry David Schwarz Iii
1480 Hwy 481                            631 OFarrell St 1212            PO Box 535
Mansfield, LA 71052                     San Francisco, CA 94109         Hempstead, TX 77445




Harry Dean Napper                       Harry Duff Matthews Revoc Tst   Harry E Kenny Iii
1603 Ridge Drive                        Wendy Floyd Trustee             103 Royal Drive
Ruston, LA 71270                        20 29Th Avenue                  Marlin, TX 76661
                                        Venice, CA 90291




Harry Earl Smith Trust Dtd 10/14/99     Harry F Barton Jr               Harry Fisher Henderson
Milian L Marcia Holt Success Ttee       8325 Lullwateer                 444 Reeves Ln
7362 Windgate                           Dallas, TX 75218                Jefferson, TX 75657
Jenison, MI 49428




Harry G Richardson                      Harry Green                     Harry Hoffman And Esther Hoffman
Individual Retirement Account           c/o Texas State Treasury        54 Rainey St Apt 1222
Rbc Capital Markets Llc Cust            Unclaimed Property Division     Austin, TX 787014399
3160 Nw 69Th Street                     PO Box 12019
Fort Lauderdale, FL 33309-1210          Austin, TX 78711-2019



Harry Hoffman Family Trust              Harry J Owens                   Harry J Strief Jr Living Tr
Esther F Hoffman Gerry M                PO Box 524                      c/o Lee Grigson Co Trustee
Hoffman Craig Alan Hoffman              Longview, TX 75606-0524         606 W Tennessee Suite 107
54 Rainey St Apt 1222                                                   Midland, TX 79701
Austin, TX 787014399



Harry J Virginia Schulz                 Harry Keith Dugan               Harry Keith Dugan Rev Trust
Irrevocable Trust                       113 S Prospect St               113 S Prospect St
Po Drawer 580                           Galena, IL 61036                Galena, IL 61036
Three Rivers, TX 78071




Harry Kenny                             Harry L Avant                   Harry L Jones Ii
PO Box 25                               PO Box 65                       2315 Candy Ln
Marlin, TX 76661-0025                   Shreveport, LA 71161            Malabar, FL 32950




Harry L Max Jr                          Harry L Perry And Marie Perry   Harry L Young
14 Greenway Plaza 19M                   213 County Road 443             126 Ilfrey
Houston, TX 77046                       Joaquin, TX 75954               Baytown, TX 77520




Harry Lee Adams Jr                      Harry Lee Jones And             Harry Livingston Stracener Jr
212 Champions Drive                     Melba Jean Mason Jones          514 Tanglewood Trail
Rockport, TX 78382                      3583 Highway 150                Buda, TX 786109232
                                        Simsboro, LA 71275
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Harry Luther Brown                       Harry Melvin Moynihan              Harry P Hewes
PO Box 34                                27047 Holly Dr                     PO Box 158
Cullen, LA 71021                         Hockley, TX 77447                  Gulfport, MS 39501




Harry Patricia OConnor                   Harry R Cook Jr                    Harry R Murray
712 S Jackson                            PO Box 144                         6982 Sw 26 St
Casper, WY 82601                         Bernice, LA 71222                  Miramar, FL 33023




Harry S Moss Heart Trust 7 /0817200      Harry Smith                        Harry T Abernathy Trust
Natons Bnk Of Tx Na                      Poa Milan L Holt Marcia Holt       Community Bank Of Raymore
Trustee Trust Oil And Gas                7362 Windgate Dr                   PO Box 200
PO Box 840738                            Jenison, MI 49428                  Raymore, MO 64083-0200
Dallas, TX 75284-0738



Harry Thurmon                            Harry Wheaton Jr                   Hart Buna Trustee
5864 Arrowhead Drive                     PO Box 4553                        Johnie Buna Hart Living Trst
Frisco, TX 75034                         Monroe, LA 71211                   311 E Hawkins Pkwy
                                                                            Apt 132
                                                                            Longview, TX 75605



Hart Energy Publishing                   Hart Energy Publishing             Hart Operating Fund
1616 S Voss Road                         555 Huehl Rd                       PO Box 10725
Suite 1000                               Northbrook, IL 60062-2336          Knoxville, TN 37939
Houston, TX 77057




Hart Petroleum Partners Lp               Hart Revocable Trust               Hartford Financial Management In
PO Box 2349                              Gary D Pickens Trustee             One Constitution Plaza 9th Floor
Corpus Christi, TX 78403                 17330 Preston Rd Suite 111D        Hartford, CT 06103
                                         Dallas, TX 75252




Hartford Financial Services Grou         Hartford Funds Management Co LLC   Hartline Dacus Garger Dreyer LLP
1 Hartford Plaza                         PO Box 55022                       8750 N Central Expy Suite 1600
Hartford, CT 06155                       Boston, MA 02205-5022              Dallas, TX 75231




Hartwell Separate Trust                  Hartz Energy Capital LLC           Harvard Energy Partners Lp
Robert C Hartwell Jr Trustee             1001 Fannin St                     Box 936
5815 Silverado Trail                     Suite 2020                         Roswell, NM 88201
Napa, CA 94558                           Houston, TX 77002




Harvard Energy Partners Lp               Harvard Petroleum Corporation      Harvey A Blake
PO Box 936                               PO Box 936                         Lynda Ruth Hughart Blake
Sunrest Centre Ste 604                   Roswell, NM 88201                  498 Elliott Td
Roswell, NM 88201                                                           Arcadia, LA 71001




Harvey A Smith Jr                        Harvey Barney                      Harvey Charles Weil
10769 Fm 2685                            10326 Hunter Creek Lane            500 N Shoreline Blvd 1118
Gladewater, TX 756473807                 Conroe, TX 77304-4905              Corpus Christi, TX 78741
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Harvey David Covington                 Harvey Don Crawford            Harvey L Gunn Et Ux
PO Box 150088                          PO Box 420                     310 West Heights Drive
Longview, TX 75615                     Judson, TX 75660               West Monroe, LA 71292




Harvey Lewis Covington                 Harvey M Elizabeth B Beigel    Harvey M Williams Iii
3926 Pleasant Hill Ct                  Family Trust                   PO Box 3157
Port Arthur, TX 77642                  2934 Crownview Dr              San Angelo, TX 76902
                                       Rancho Palos Ve, CA 90275




Harvey Myles                           Harvey N Cann Jr               Harvey N Cann Jr Usufruct
1077 Angus Rd                          722 Ridge Drive                722 Ridge Drive
Monroe, LA 71202                       West Monroe, LA 71291          West Monroe, LA 71291




Harvey R Rowe                          Harvey Rivero                  Harvey Royalty Partners Lp
7163 Fm 699                            Dba HarveyS Oilfield Service   PO Box 25252
Tenaha, TX 75974                       2750 Fm Highway 765            Dallas, TX 75225
                                       San Angelo, TX 76905




Harvey Wayne Rokohl                    Harveys Oilfield Service       Harvin G Lawhon
PO Box 287                             5905 Sussex Place              6222 Holly Springs
Ingleside, TX 78362                    San Angelo, TX 76901           Houston, TX 77057




Harwood Sherry L                       Has Oil Ltd                    Has Trust
829 S College                          c/o Macintyre Mcculloch Llp    Hugh A Stroube Trustee
Tyler, TX 75701                        2900 Weslayan Ste 150          PO Box 1717
                                       Houston, TX 77027              Corsicana, TX 75151




Haslam Sales                           Hassie Hunt Exploration Co     Hasson Jones Glasgow
PO Box 1378                            Attn Joint Interest Acctg      1403 Madera
Center, TX 75935                       3400 Thanksgiving Tower        Ruston, LA 71270
                                       1601 Elm Street
                                       Dallas, TX 76241-0919



Hatanelas Gust John                    Hatcher Morton                 Hatchett Backhoe Inc
Address Redacted                       705 Slone Dr                   PO Box 360
                                       Marshall, TX 75672             Lamesa, TX 79331




Hatchett Roustabout Inc                Hathorn Surveying LLC          Hatley Joe
PO Box 240                             9006 Dogwood Trail             3622 Andrea Street
Lamesa, TX 79331                       Haughton, LA 71037-7509        Longview, TX 75604




Hatley V Tapley Bynum                  Hattie Austin                  Hattie B Hogan Thomas
PO Box 988                             1713 First Street              PO Box 186
Canton, TX 75103                       Tyler, TX 75701                Grand Cane, LA 71032
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Hattie Frances Dodson Cooper           Hattie Hall Bradley              Hattie L Hogan
3224 Libby Street                      210 B Stacy Drive                1200 S Northwood Ave
Shreveport, LA 71108                   Monroe, LA 71202                 Compton, CA 90220




Hattie Lewis Williams                  Hattie Livingston                Hattie M Cooper
316 E Olive St                         1855 West 87Th Street Apt 1      365 Garr Road
Shreveport, LA 71104-2646              Los Angeles, CA 90047            Ruston, LA 71270




Hattie Mae Jenkins Lewis               Hattie Maude Taylor              Hattie Maude Taylor Estate
PO Box 401                             Kirkland Deceased March 2006     Thomas Cole Taylor Executor
Dubach, LA 71235                       PO Box 463                       Colonel U S Marine Corps Ret
                                       Anahuac, TX 77514                13818 S W Leah Terrace
                                                                        Tigard, OR 97224



Hattie Stevens                         Hattie Taylor Kirkland Estate    Hattie Tyler
c/o Texas State Treasury               Thomas Taylor Executor           101 Wheelis
Unclaimed Property Division            13818 Sw Leah Terrace            West Monroe, LA 71292
PO Box 12019                           Tigard, OR 97224
Austin, TX 78711-2019



Hauck Analytical Services              Haven Mineral Royalty Ptshp      Havial Marie Bow
613 Meadowlark Lane                    PO Box 50760                     2706 Peachcrest
Riverston, WY 82501                    Midland, TX 79710                Ypsilanti, MI 48198




Haward Bonner Dorothy Bonner           Hawes James E Janice R Hawes     Hawk Oilfield Service Corp
PO Box 103                             1078 Lansing Switch Road         PO Box 812
Joaquin, TX 75954                      Longview, TX 75602               Zapata, TX 78076




Hawk Security Services                 Hawkeye Helicopter LLC           Hawkins Exploration Inc
8339 Solutions Center                  John D Scott                     PO Box 3192
Chicago, IL 60677-8003                 PO Box 715                       Midland, TX 79702-3192
                                       401 S Main Ste 11
                                       Ottawa, KS 66067



Hawkins Family LLC                     Hawkins Rev Trust Dtd 4 11 05    Hawkins Sub Surface Pump Supply Co
PO Box 5842                            Lanelle F Hawkins Trustee        PO Box 61
Bossier City, LA 71171                 PO Box 923                       Graham, TX 76450-0061
                                       Mineola, TX 75773




Hayco Transport Inc                    Hayden Oil Limited Partnership   Hayes Grandchildren Trust
10260 Hwy 71                           PO Box 99281                     Mark Deter Hayes Trustee
Elmgrove, LA 71051                     Fort Worth, TX 761990281         17 Church Street
                                                                        Greenbrier, AR 72058




Hayley James Smith                     Haymaker Holding Company LLC     Haymaker Holding Company LLC
10 Timberlane St                       PO Box 205415                    PO Box 205415
Texarkana, TX 75501                    Dallas, TX 75320                 Dallas, TX 75217
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Hayne E Leland                           Hayne Ellis Iii                         Haynes And Boone LLP
1438 Hawthorne Te                        14927 Brimfield Jubilee Road            PO Box 841399
Berkeley, CA 94708                       Brimfield, IL 61517                     Dallas, TX 75284-1399




Haynes Sales Service Co                  Haynesville Mercantile Co               Haynesville Swab Line LLC
PO Box 1278                              2250 Hospital Drive                     PO Box 509
Kilgore, TX 75663                        Suite 220                               Homer, LA 71040
                                         Bossier City, LA 71111-2168




Haynesville Wire Line Service Inc        Hays Est LLC                            Hays Hardwick Colvin
PO Box 689                               2347 A 48Th Ave Sw                      Glenda Ashley Colvin
Homer, LA 71040                          Tumwater, WA 98512                      C/O Lincoln Timber Co
                                                                                 126 Mcgee Rd
                                                                                 Dubach, LA 71235



Hays James L                             Hays Owens LLP                          Haystacks Inc
PO Box 417                               807 Brazos St Ste 500                   PO Box 35
Homer, LA 71040                          Austin, TX 78701                        651 Latham Rd
                                                                                 Wamsutter, WY 82336




Hayton Lee                               Hayward Langston Iii Deborah Langston   Hayward Paint Company Inc
5404 I 49 North Service Road             7027 Reed Rd                            PO Box 1008
Opelousas, LA 70570                      St Francesville, LA 70775               Tatum, TX 75691




Haywood W Moseley Iv                     Haz Mat Services Inc                    Hazel A Blandford Indiv As
PO Box 216                               1225 L E Gilliland Dr                   Executrix Of The Estate Of
Scottsville, TX 75688                    Texarkana, AR 71854                     John A Blandford
                                                                                 603 C R
                                                                                 Lavernia, TX 78121



Hazel Adams                              Hazel C Mccoy                           Hazel Carroll Mccoy Et Al
4801 Leeward Ct                          285 Charles Avenue                      285 Charles Ave
Austin, TX 78731                         Shreveport, LA 71105-3612               Shreveport, LA 71105




Hazel Haynes Riffel                      Hazel J Chandler                        Hazel J Chandler Rev Trst 2001
9335 Gloxinia                            464 Parkhurst Dr                        Sheila A Chandler Trustee
Garden Ridge, TX 78266                   Dallas, TX 75218                        2610 Roughleaf Lane
                                                                                 Rowlett, TX 75089




Hazel Jones                              Hazel Justene Baker                     Hazel Kay Batts
6226 Hwy 7 West                          113 Eugene Dr                           5401 Centeridge Lane
Center, TX 75935                         Ruston, LA 71270-3913                   Mckinney, TX 75071




Hazel Kay Batts Life Estate              Hazel King Watts                        Hazel L Cooper
Sheri Lynn Batts Remainerman             14333 Highway 151                       417 West Fordall
5401 Centeridge Lane                     Arcadia, LA 71001                       Henderson, TX 75652
Mckinney, TX 75071
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Hazel L Smith                           Hazel L Woodward                Hazel M Miller
5106 Ivy Brook Drive                    6433 G Cedar Bend Ct            542 Cr 3818
Ft Wayne, IN 46835                      Mobile, AL 36608                Joaquin, TX 75954




Hazel M Taylor                          Hazel Marie Bedford Shofner     Hazel Nolan Smith
1512 Amman Street                       207 Mineral Springs Dr          716 Irving Bluff Road
West Monroe, LA 71292                   Allen, TX 75002-0615            Shreveport, LA 71107




Hazel Orr Randolph                      Hazel Ritter Strickland         Hazel Rounds Mason Estate
Rr 1 Box 154                            5400 Fm 139                     Wm Hackett Iii Admin
Pickton, TX 754719706                   Joaquin, TX 75954               2932 Drakestone Drive
                                                                        Colorado Springs, CO 80909




Hazel Speed Hubbert                     Hazel Standifer Carodine        Hazel T Ray
328 Old Highway 18 1                    1012 Taylor St                  6380 Latham Road
Port Gibson, MS 39150                   Ruston, LA 71270                Hopkinsville, KY 42240




Hazel Villery Polk                      Hazel Ward Hamilton             Hazel Webb Heckendorf Estate
2025 International Ave 14               4509 Phillip Street             1426 Tahoe Valley Court
Orange, TX 77630                        Dallas, TX 75223                Ballwin, MO 63021




Hazel West Carroll                      Hazlewood Energy Limited        Hb Rentals
504 South Main                          Robert Kandt Trustee            Dept 2131
Henderson, TX 75652                     1500 W Henderson St             PO Box 122131
                                        Cleburne, TX 76033              Dallas, TX 75312-2131




Hbc Terryville Lp                       Hbt Ranch 1 Ltd                 Hbt Ranch Inc
3963 Maple Avenue                       Texan Bldg                      Texan Bldg
Suite 450                               333 West Loop North 4Th Floor   333 West Loop North 4Th Floor
Dallas, TX 75219                        Houston, TX 77024               Houston, TX 77024




Hcb Inc                                 Hcb Jr Oil And Gas Ltd          Hcc High Capacity Coil LLC
PO Box 820                              c/o Henry C Beck Jr             526 Pebble Dr
Henderson, TX 75653                     8235 Douglas Ave                Haughton, LA 71037-8992
                                        Suite 1350 Lb 62
                                        Dallas, TX 75225-6019



Hci Drilling                            Hci Drilling                    Hd Industries
dba Harrison Cooper Inc                 PO Box 96                       PO Box 21399
Kenny Cooper                            Wolfforth, TX 79382-0096        Long Beach, CA 90801
PO Box 96
Wolfforth, TX 79382



Hd Mineral Partners LLC                 Hdbc Investments Limited        Hdc Partners
PO Box 192009                           PO Box 12766                    Kym Comer General Partner
Dallas, TX 75219                        Dallas, TX 75225                5949 Sherry Lane Suite 780
                                                                        Dallas, TX 75225
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Hdh Land Timber Lp                        Head Investment Co                   Headington Oil Co Lp
PO Box 819                                PO Box 472098                        1700 N Redbud Blvd Suite 400
Joaquin, TX 75954                         Garland, TX 75047                    Mckinney, TX 75069




Headington Royalty Inc                    Headwaters Resources Inc             Headwaters Resources La Ash
1700 N Redbud Blvd Ste 400                La Ash Products Services LLC         Production And Services
Mckinney, TX 75069                        Mike Mildenhall                      PO Box 843922
                                          10701 S River Front Pkwy Suite 300   Dallas, TX 75284-3922
                                          South Jordan, UT 84095



Health Care Service Corp                  Healy Lp                             Hearne Enterprises 1 LLC
PO Box 731428                             PO Box 2120                          Eugena Hearne Howard Mgr
Dallas, TX 75373-1428                     Ardmore, OK 73402                    PO Box 418
                                                                               Ruston, LA 71273




Hearthfire Homeowners Assoc               Hearthfire Inc                       Heat Waves Hot Oil Service LLC
c/o Touchstone Prop Mgmt Llc              2850 Mcclelland Drive                Robert Devers
2850 Mcclelland Drive                     Ste 1000                             501 South Cherry Street Suite 320
Suite 1000                                Fort Collins, CO 80525-2576          Denver, CO 80246
Fort Collins, CO 80525



Heat Waves Hot Oil Service LLC            Heath Asset Management Lp            Heath Mathews
PO Box 677748                             4925 Greenville Ave Ste 915          249 Burkheimer Rd
Dallas, TX 75267-7748                     Dallas, TX 75206                     Saline, LA 71070




Heath Nutt                                Heather Brook Hinton Kizer           Heather Chism
344 Klondike Street                       800 Newland Drive                    299 Oak Rd
Carthage, TX 75633                        Waco, TX 76706                       Kilgore, TX 75662




Heather Christopher Cook                  Heather Clarice Mccuin               Heather D Walker 2008 Trst
8530 W 86Th Terrace                       200 Raider Lane                      829 Cr 266
Overland Park, KS 66212                   27                                   Beckville, TX 75631
                                          Lumberton, TX 77657




Heather Dawn Dolphin                      Heather Goodson                      Heather Hamilton Tedford
Address Redacted                          6500 West Freeway                    900 8 St Ste 710
                                          Ste 222                              Wichita Falls, TX 76301
                                          Fort Worth, TX 76116




Heather Horton                            Heather L Claflin Holt               Heather L Taylor
15551 Fm 306                              16700 Fasher Cove                    181 Babatwa Ln
Canyon Lake, TX 78133-3583                Round Rock, TX 78681                 Bullard, TX 75757-3013




Heather Lynn Fritz                        Heather Marie Hazel York             Heather Marsh Cook Sep Prop
518 Trails Edge Ct                        10540 Eveningwood Court              8530 West 86Th Terrace
St Augustine, FL 32095                    Trinity, FL 34655                    Overland Park, KS 66212
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Heather N Harmon                       Heather S Wick                         Heather Suzanne Bunnell Fondy
112 Belle Riva Dr                      761 Schoolhouse Road                   1549 Alamo Bell Way
Hallsville, TX 75650-6132              San Jose, CA 95138                     Haskett, TX 76052




Heather T Lewis                        Heather W Vines                        Heather Wall Mullins
703 Rayburn Loop                       548 Russet Bend Drive                  330 Western Sky Lane
Eros, LA 71238                         Hoover, AL 35244                       Waxahachie, TX 75165




Heather Wilson Echols                  Heatherlee Yorty Trust                 Hebbronville Lone Star Rentals LLC
PO Box 2415                            3925 S Lee Pt Road                     1509 W Wall St Ste 302
Midland, TX 79702                      Suttons Bay, MI 49682                  Midland, TX 79701-6580




Hebert Shannon M                       Hebert J Taylor Trust No 09 11478 02   Heberto Salazar
Address Redacted                       104 S Cook Street                      Address Redacted
                                       Barrington, IL 60010




Heckmann Water Res Cvr Inc             Heckmann Water Resources Cvr Inc Dba   Hector Adolfo Campos Jr
Dba Nuverra Environmental Sol          525 Park Rd                            812 Craig St
PO Box 204422                          Frierson, LA 71027-2270                Corpus Christi, TX 78404
Dallas, TX 75320-4422




Hector Benavides                       Hector E Acevedo                       Hector G Cancino
8503 Mangram Rd                        11157 East Linvale Drive               Address Redacted
Laredo, TX 78045                       Aurora, CO 80014




Hector Pena Ii                         Hedberg Family Ltd Prtshp              Hedwige D Pearson
Address Redacted                       PO Box 470337                          3801 Center Street Apt 332
                                       Fort Worth, TX 76147                   Deer Park, TX 77536




Heidi R Gardiner                       Heidi Tate Arouty                      Heidi Walter Perry
1524 S Madison                         823 West 43Rd                          3305 Centenary Ave
San Angelo, TX 76901                   Houston, TX 77018                      Dallas, TX 75225




Heidy Hersbach                         Hein And Associates LLP                Heinz Jorg Bartels
12405 Nw 46Th Avenue                   13727 Noel Rd Ste 300                  Charles Schwab Co Inc Cust
Vancouver, WA 98685                    Dallas, TX 75240-1353                  Roth Conversion Ira
                                                                              270 Mcgivern Way
                                                                              Santa Cruz, CA 95060



Heirs Of Kay Lieber Callari Deceased   Heirs Of W K Cayton                    Heisler Family Ptshp Ltd
PO Box 1337                            c/o Jp Morgan Chase Bank Na            3841 Ella Lee Ln
Denham Springs, LA 70727               PO Box 99084                           Houston, TX 77027
                                       Fort Worth, TX 76199
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Heitkamp Swift Architects               Helaine Michele Mckendrick       Helen Anderson Patterson
4545 Post Oak Place Drive               Helaine Michele Mckendrick Tr    2110 East 152nd Terrace
Suite 100                               PO Box 781274                    Oletha, KS 66062
Houston, TX 77027                       San Antonio, TX 78278




Helen B Foshee Dealing In               Helen B Gordon                   Helen B Hootkins
Her Sole And Separate Prop              3711 Floyd Dr                    118 West Cleveland
3919 Lady Diane                         Baton Rouge, LA 70808            Electra, TX 76360
Nacogdoches, TX 75691




Helen B Treat Succession                Helen Ball Schniewind La Trust   Helen Brown Sp
Frank B Treat Jr Test Exec              Raymond B Keating Iii Ttee       4814 Airline Road
PO Box 250                              806 Main St 1560                 Longview, TX 75605
Minden, LA 71058                        Houston, TX 77002




Helen Buchanan Davis                    Helen C Fallin Canterbury        Helen C Fallin Canterbury Usufruct
4311 Oak Lawn Avenue Suite 300          111 Russell Rd                   111 Russell Rd
Dallas, TX 75219                        Simsboro, LA 71275               Simsboro, LA 71275




Helen C Parks                           Helen C Peck                     Helen C Wedgeworth
8302 Woodcreek                          8004 New Jersey                  528 Park Pl
Waco, TX 76712                          Kansas City, KS 66112            Carthage, TX 75633




Helen Cage Forte                        Helen Carolyn Allen              Helen Carter Steiner
633 Haynes Avenue                       PO Box 600116                    PO Box 80415
Shreveport, LA 71105                    Dallas, TX 75360                 Bakersfield, CA 93380




Helen Christian Wiley                   Helen Christine Crawford         Helen Colvin Trust 10 1
1518 Francisco Rd                       20318 Triton Ct                  258 Nolen Rd
Columbus, OH 43220                      Katy, TX 77450                   Bernice, LA 71222




Helen Compton                           Helen D Lester                   Helen Dalzell Leary Usufructuary
8018 Carvel Ln                          4262 Duck Creek Apt 103          412 Hector Ave
Houston, TX 77036-6428                  Garland, TX 75043                Metairie, LA 70005-4412




Helen Diane Mott                        Helen Dorothy Sachs              Helen E Husky Estate
c/o Collin Underwood                    780 W Bay Area Blvd Apt 1228     Co D Mckinnon Cpa
123Rd District Court                    Webster, TX 77598                10000 No Central Expwy 1350
PO Box 147                                                               Dallas, TX 75231
Carthage, TX 75633



Helen E Whitten                         Helen Elzo                       Helen F Billingsley
619 Stonewall Dr                        660 N Woodchuck Ln               7970 State Hwy 87 N
Richmond, TX 77469                      Skiatook, OK 74070               Timpson, TX 75975-4034
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Helen Fay Bagley                         Helen Foshee                   Helen Francis Morrow
1081 River Chase Drive                   3929 Lady Diana                1319 La Grande Ave
New Braunfels, TX 78132                  Nacogdoches, TX 75965          Yuba City, CA 95991




Helen G High                             Helen Gene Minchew Allbright   Helen Green Sarha
2111 West Kentucky                       3406 Dianna Dr                 1633 Hwy 80 East
Ruston, LA 71270                         Longview, TX 75602-7230        Calhoun, LA 71225




Helen H Cates Trust                      Helen H Clay                   Helen H Colvin
111 Hickory Ridge Dr                     14610 Honey Bear Drive         258 Nolen Road
Houston, TX 77024                        Little Rock, AR 72223          Bernice, LA 71222




Helen H Fawcett                          Helen H Sample                 Helen H Thompson Estate
1255 Montgomery St                       c/o Amsouth Regions Bank       Jane Heron David Thompson
San Francisco, CA 94133                  PO Box 57 Ns Dgb 3             12701 Aries Loop
                                         Shreveport, LA 71161           Willis, TX 77378




Helen H Wood LLC                         Helen Hancock Harvey           Helen Healey Fawcett Revoc Tst
943 Southfield Road                      109D Legends Ct                Peter Lombardo Trustee
Shreveport, LA 71106                     Lindale, TX 75771              1255 Montgomery St
                                                                        San Franciseo, CA 94133




Helen Hedley Cates                       Helen Hollis Colvin            Helen J Sheehan
111 Hickory Ridge Dr                     258 Nolen Road                 James D Sheehan
Houston, TX 77024                        Bernice, LA 71222              7441 N Moon Spirit Ln
                                                                        Tucson, AZ 85718




Helen J Sturm                            Helen Jane Marshall Jordon     Helen Jane Reichle
1501 Thirteenth St                       203 Marshall Road              PO Box 151
Ashland, KY 41101                        Simsboro, LA 71275             New Ulm, TX 78950




Helen Jones                              Helen K Crim                   Helen Kay Daily Guthrie
c/o Texas Comptroller Accounts           Darrell Lee Crim Poa           PO Box 353
Unclaimed Property Division              122 Countryside Dr             Fayetteville, TX 78940
PO Box 12019                             Arlington, TX 760143123
Austin, TX 78711-2019



Helen Knotts Evans Shrell                Helen Kyle Bryan               Helen L Bedford Family Trust
707 Riser Road                           188 White Rock Dr              c/o Farmers National Co Agt
Ruston, LA 71270                         Lufkin, TX 75904-5867          El Bedford Wj Bedford Ttees
                                                                        PO Box 3480 Oil Gas Dept
                                                                        Omaha, NE 68103



Helen L Nelms                            Helen L Nelson                 Helen Lee Bishop
9414 Nw 28Th Court                       1200 Crestwood Drive           3610 Leroy St
Vancouver, WA 98665                      Cleburne, TX 76033             Wayzata, NM 55391
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Helen Lloyd Marberry                    Helen Louise Joram             Helen M Mcloraine
1417 Hideaway Lane West                 1030 Spirea Rd                 1801 California St Ste 4500
Hideaway, TX 75771                      North Chesterfield, VA 23236   Denver, CO 80202




Helen M Mitchell                        Helen Marie Edmiston Et Vir    Helen Marie Knabe
35825 Howell Rd                         Claud Edmiston                 400 Kansas Ave 24
Waller, TX 77484                        162 Outlook Dr                 Hiawatha, KS 66434
                                        Houston, TX 77034




Helen Marie Medlock                     Helen Maxine Wilson            Helen May Morgan
245 Mimosa Drive                        4211 West 64Th Street          12 Buckelew St
Murphy, TX 75094                        Los Angeles, CA 90043          Sausalito, CA 94965




Helen Mays Edmiston                     Helen Mcfarland                Helen Mcmanus Nichols
162 Outlook Dr                          206 Harvard Ave                17050 Arnold Dr Apt F101
Houston, TX 77034                       Swarthmore, PA 19081-1631      Riverside, CA 92518




Helen Mcwilliams Tisdale                Helen Milner                   Helen Mzyk
Own Separate Property                   24 Michael Loop                14393 Fm 887
614 Slaydon Street                      Lumberton, TX 77657            Gillett, TX 78116
Henderson, TX 75654




Helen Neely                             Helen Nooner                   Helen Oden
c/o Loretta Anne Neely Brelsford Poa    2303 Westwood                  19693 Fm 1797 E
22922 Provincial                        Hondo, TX 78861                Tatum, TX 756915305
Katy, TX 77450




Helen Perkins Browning                  Helen Petroleum                Helen Petty Smith
PO Box 1813                             PO Box 11273                   5241 Morley Ct
Payson, AZ 85547                        Midland, TX 79702              Fairfax, VA 22032




Helen Potter Krebs                      Helen R Blackwell              Helen R Dyer
c/o Anne Krebs Johnson Aif              3128 N 17Th                    6548 43Rd St Apt 2413
846 Binbrook                            Arlington, VA 22201            Lubbock, TX 79407
Mesquite, TX 75149




Helen R Graham                          Helen R Holland                Helen R Watson
149 North Cliff                         7568 Cr 465 D                  PO Box 654
Jackson, MS 39211                       Henderson, TX 75654            Laredo, TX 78042




Helen Ramsey                            Helen Ruenette Allen           Helen Ryan
1805 Gurss Pl                           3918 Firebush                  2934 1/2 Beverly Glen Cir 432
El Paso, TX 799022841                   San Antonio, TX 78261          Los Angeles, CA 90077
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Helen S Echols Revocable Trust           Helen S Schonborn             Helen Shelton
Donald Skotty Trustee                    206 East Anapuma Street       2200 North L St
PO Box 2657                              Santa Barbara, CA 931012006   Midland, TX 79705
Frisco, CO 80443




Helen Stall Shatford                     Helen Sue Griffin             Helen Sue Hoffman Meyer Trust
4190 Midway Rd                           c/o Albert Gerald Griffin     4201 Beverly Drive
Weatherford, TX 76085-3792               2179 Copperfield Court        Dallas, TX 75205
                                         Frisco, TX 75034




Helen Virginia Maey More Est             Helen W Johnson               Helen Wade
Robin More Blut Administrix              1413 Blankenship Drive        101 Cr 251
5346 Dumfreis Dr                         Deridder, LA 70634-4623       Georgetown, TX 786284021
Houston, TX 77096




Helen Williams Knopp                     Helen Wilson Smith            Helen Worthen Trust
5756 Box Elder                           516 N 5Th St                  James T Worthen Sarah W Wilson Ttees
El Paso, TX 79932                        Allentown, PA 18102           368 Bradley
                                                                       Big Sandy, TX 75755




Helene Holstead Shaw                     Helene Neild                  Helis Oil Gas Company
1012 Cedar Creek Road                    1200 S Flagler Dr 402         228 St Charles Ave Ste 912
Ruston, LA 71270                         West Palm Beach, FL 33401     New Orleans, LA 70130




Helix Energy Solutions Group             Hellen Rice Holt              Helmer Directional Drilling Inc
3505 W Sam Houston Pkwy N Ste 400        1503 Wavecrest Lane           935 Gravier St
Houston, TX 77043-1252                   Houston, TX 77062             New Orleans, LA 70112-1608




Helmerich Payne International Drilling   Helms Oil And Gas LLC         Helms Packer Service Inc
Department 41109                         PO Box 52808                  PO Box 1128
PO Box 650823                            Midland, TX 79710             Tatum, TX 75691
Dallas, TX 75265




Helyn Wheeler                            Hemby Family Trust            Hemby Real Estate Company Ltd
7122 W Belmont Dr                        2701 Sun Meadow Dr            2701 Sun Meadow Dr
Littleton, CO 80123-0879                 Flower Mound, TX 75022-5664   Flower Mound, TX 75022




Hemco Inc                                Hemisphere 2015 Inc           Hemisphere Properties Corp
PO Box 3333                              14760 Memorial Dr Ste 204     14760 Memorial Ste 204
Kilgore, TX 75663-3333                   Houston, TX 77079             Houston, TX 77079




Hemmen Hendrick D                        Henderson County Tax Ac       Henderson County Tax Assessor Collector
15 Woodmere Place                        101 E Tyler                   Milburn Chaney Tax Assessor
The Woodlands, TX 77381                  Athens, TX 75751              125 N Prairieville 103
                                                                       Athens, TX 75751
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Henderson Daily News                  Henderson Family Partnership   Henderson Federal Savings Bank
PO Box 30                             PO Box 52                      130 N Marshall St
Henderson, TX 75653                   Bayside, TX 78340-0052         Henderson, TX 75652




Henderson Glass                       Henderson Julie D              Henderson Metro Ministries Inc
2100 E Front                          PO Box 591                     PO Box 422
Tyler, TX 75702                       Hallsville, TX 75650           Henderson, TX 75653




Henderson Mineral Inc                 Henderson Zephyr R             Hendrickson Rev Tr 1 19 15
PO Box 3659                           PO Box 61                      7100 Lakeway Cir
Lufkin, TX 75903                      Terrell, TX 75160              Oklahoma City, OK 73132




Hendrix S Holmes                      Henke Petroleum Corp           Henley A Hunter
Unit 302                              1421 E 45Th Street             4510 Wendover Boulevard
2012 Eastlake Ave E                   Shawnee, OK 74804              Alexandria, LA 71303
Seattle, WA 98102




Hennessey Rental Tools Inc            Hennig Production Company      Henri E Lindsey Usufructary
Mark Rankin                           3906 Silverwood                PO Box 309
801 Cherry St Suite 2100              Tyler, TX 75701                Bernice, LA 71222
Ft Worth, TX 76102




Henri Lucien Tallichet                Henrietta Bosanko Estate       Henrietta Gossett Halderman
PO Box 66569                          First Natl Bank Indp Exec      19708 E Caspian Circle
Houston, TX 772666569                 Box 38                         Aurora, CO 800136272
                                      Kansas City, MO 64141




Henrietta Jackson                     Henrietta S Currier            Henrietta Walker
1301 Ridge Drive                      324 Cumberland St              1231 Marble Canyon Drive
West Monroe, LA 71292                 San Francisco, CA 94114        Desoto, TX 75115




Henry A Bronner Testamntry Tst        Henry A Dunn                   Henry Allen Hankins
900 Pierremont Rd Suite 117           2806 Wiswall Dr                6780 Whitewood Tr
Shreveport, LA 71106                  Richmond, CA 94806             Gilmer, TX 75645




Henry Allen Wilson                    Henry B Clay Jr                Henry Bartell Zachry Jr
706 First Street                      4324 Chicora St                c/o Zachry Exploration Llc
Lake Providence, LA 71254             Columbia, SC 29206             300 Convent Street Suite 2800
                                                                     San Antonio, TX 78205




Henry Blake Garland                   Henry C Kidd                   Henry C Mcdonald
171 Robinhood Ct                      4100 Raleigh Dr                c/o Texas State Treasury
Springdale, AR 72764                  Conway, AR 72034               Unclaimed Property Division
                                                                     PO Box 12019
                                                                     Austin, TX 78711-2019
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Henry Calvin Seago                        Henry Carter Land Iii                   Henry Claude Kidd
c/o Ellen Seago Richardson Aif            719 Timber Branch Drive                 5209 Conrad Drive
480 County Road 3224                      Alexandria, VA 22302                    Monroe, LA 71202
Deberry, TX 75639




Henry Conley Lester Jr                    Henry Constable Beck Iii                Henry Cowen Dealing In
4316 Hunters Creek Dr                     8235 Douglas Ave                        His Separate Property
Fort Worth, TX 76123                      Suite 1350 Lb62                         111 Island Point
                                          Dallas, TX 75225                        Lafayette, LA 70501




Henry D Alexander                         Henry D Alexander And                   Henry D Davenport
2001 Gustavus St                          Wife Angela C Alexander                 13041 Fm 2661
Laredo, TX 78043                          2300 Sledge                             Flint, TX 75762
                                          Marshall, TX 75670




Henry D Garner Jr                         Henry D Mangham                         Henry D Nixon Estate
304 Carothers St                          1209 Gilman                             12510 William Dowell Dr
Copperas Cove, TX 76522                   Ruston, LA 71270                        Cypress, TX 77429




Henry Dayton Thrash Indiv                 Henry Dayton Thrash Usuf Usufructuary   Henry Doyle And Ellen Carroll
c/o Argent Property Services Llc          c/o Argent Property Services Llc        960 Fm 139
PO Box 1410                               PO Box 1410                             Joaquin, TX 75954
Ruston, LA 71273                          Ruston, LA 71273




Henry Doyle Carroll                       Henry Doyle Carroll Sp                  Henry Duscheck
960 Fm 139                                960 Fm 139                              2478 Fairview Rd
Joaquin, TX 75954                         Joaquin, TX 75954                       San Angelo, TX 76904




Henry E Wieding                           Henry Earl Gaar                         Henry Earl Smith
PO Box 695                                2182 Rosedale Avenue                    1012 Ridgewood Drive
Three Rivers, TX 78071                    Oakland, CA 94601                       Shreveport, LA 71109




Henry Ellis Clark Jr                      Henry F Anderson                        Henry Fielding Lewis Jr
2736 Cr 4280                              333 Texas St Suite 2020                 PO Box 140
Woodville, TX 75979                       Shreveport, LA 71101                    Franklin, LA 70538




Henry Florsheim Jr                        Henry Florsheim Jr Succession           Henry Floyd Brown
701 Roselawn Ave                          Carla A Wright Florsheim Exec           371 Burford Rd
Monroe, LA 71201-5351                     PO Box 2615                             Stonewall, LA 71078
                                          Monroe, LA 71207




Henry Foy Swinney Jr                      Henry Freeland Morgan Jr                Henry G Hobbs
1267 Cr 1020                              620 Williamsburg Ct                     977 Azalea Garden Dr
Woodville, TX 75979                       Granbury, TX 76048-1708                 Shreveport, LA 71115-3621
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Henry G Hobbs Jr                          Henry G Laub Declaration Trust   Henry H Davis And Jen B Davis
815 A Brazos St 204                       Dtd 9/22/1992 Gst Share          PO Box 1782
Austin, TX 78701                          30400 Winsor Drive               Shreveport, LA 71166-1782
                                          Bay Village, OH 44140




Henry H Hand                              Henry H Hogan Jr                 Henry H Mcqueen And Nadine Mcqueen
PO Box 680                                2256 Jordan Drive                PO Box 867
Washington, TX 77880                      Waycross, GA 31503               Gilmer, TX 75644




Henry H Rossbacher                        Henry H Windham                  Henry Hall Hardenbergh Iii
1004 Woodstock Ln                         749 Church Street                10301 County Line Drive
Ventura, CA 93001                         Sarepta, LA 71071                Disputanta, VA 23842




Henry Hill                                Henry Hilliard Holcomb           Henry Howard Services LLC
2644 Mine Street                          3317 Ferndale St                 PO Box 387
Denver, CO 80205                          Kensington, MD 20895-2916        Carthage, TX 75633




Henry J N Taub Ii                         Henry Joe Garr                   Henry Johnson
Texan Bldg 4Th Floor                      932 W 57Th St                    3725 W Houston
333 W Loop N                              Los Angeles, CA 90037            Paris, TX 75460
Houston, TX 77008




Henry Jones                               Henry K Elizabeth G Dennard      Henry K Miller Md
2634 Amaranth Dr                          Family Partnership               Irrevocable Trust A
Houston, TX 77084                         6714 Kury Lane                   PO Box 2710
                                          Houston, TX 77008                Baton Rouge, LA 70821




Henry K Miller Md                         Henry K Miller Md                Henry Kelly Mary Barber Kelly
Irrevocable Trust B                       Irrevocable Trust C              839 Highway 3061
PO Box 2710                               PO Box 2710                      Ruston, LA 71270
Baton Rouge, LA 70821                     Baton Rouge, LA 70821




Henry L Brown                             Henry L Burgoon                  Henry L Williams
1835 Durant Ave                           6404 Heidelburg                  Bessie Walker Williams
Oakland, CA 94603                         Fort Worth, TX 76180             2912 Riser Road
                                                                           Ruston, LA 71270




Henry Liles Ruby Liles                    Henry M King                     Henry M Martin
1203 S Evenside Ave                       2010 East Main                   1310 D St
Henderson, TX 75654-4221                  Nacogdoches, TX 75961            Snyder, OK 73566




Henry Martin Hodde                        Henry Maxwell                    Henry Moss
3404 Calle Vigo Nw                        Address Redacted                 1721 Sw 40Th Terrace
Albuquerque, NM 87104-1824                                                 Apt D
                                                                           Gainesville, FL 32607
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Henry Mrs M Rogers                      Henry Napier                   Henry O Boenning
Unclaimed Money Fund                    1633 Broadway                  10175 Collins Ave
Capitol Station                         New York, NY 10019             Apt 1201
PO Box 12608                                                           Bal Harbour, FL 33154-1640
Austin, TX 78701



Henry Or Stella Brauer                  Henry Peters P C               Henry Pope Huff Jr
4012 Shadow Dr                          3310 S Broadway Suite 100      211 S 22nd Ave
Fort Worth, TX 76116                    Tyler, TX 75701                Hattiesburg, MS 39401




Henry R Hamman                          Henry R Kimble Jr              Henry S Larsen Jr
PO Box 13028                            2829 Prince Street No 2        5560 Library Lane Apt 305
Houston, TX 77219                       Berkeley, CA 94705             Colorado Springs, CA 80918




Henry S Potter                          Henry Samuel Spain             Henry Sollers
1726 Sybil Lane                         Mary Nancy Kelly Spain         PO Box 2665
Tyler, TX 75703                         136 Liberty Parkway            Forney, TX 75126
                                        Stillwater, MN 55082




Henry Stokes Howell Jr                  Henry W Patterson              Henry W Patterson And Joann Patterson
13610 Fernhill Dr                       206 Oakwood Dr                 206 Oakwood Drive
Sugar Land, TX 774982362                Lafayette, LA 70503            Lafayette, LA 70503




Henry Wilson Greer                      Henrys Backhoe Service         Hep Oil Company LLC
132 Thomas Linton Rd                    PO Box 1210                    PO Box 1499
Quitman, LA 71269                       Levelland, TX 79336            Gainesville, TX 76241-1499




Hepco Resources LLC                     Herald Printing Ltd            Herbaly Exploration LLC
PO Box 19835                            1242 Los Angeles Ave           1420 W Canal Ct
Houston, TX 77024                       Ventura, CA 93004              Suite 150
                                                                       Littleton, CO 80120




Herbaly Petroleum Corporation           Herbert Abelow Estate          Herbert B Hutchison
22295 Network Pl                        c/o Justin Abelow              1104 Cr 404 South
Chicago, IL 60673-1222                  1111 Park Avenue 14B           Kirbyville, TX 75956
                                        New York, NY 10128




Herbert B Langford Trust                Herbert Bradley Womack         Herbert Bubba Woodfin
Daniel A Langford Co Trustee            119 Chocolate Factory Rd       161 Coconut Rd
16926 Summit Oaks Lane                  Arcadia, LA 71001              Gilmer, TX 75644
Spring, TX 77379




Herbert Denman Scott Jr                 Herbert Goree Jr               Herbert Harris Cashen Ii
65 Benefit Street                       1731 Kyburz Court              1999 Trust Acct Regions Bank
Providence, RI 29042703                 Stockton, CA 95206             Nrre Oper Agt Acct 439038001
                                                                       PO Box 11566
                                                                       Birmingham, AL 35202
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Herbert Harris Cashen Ii                Herbert J Wells Et Ux           Herbert J Zieben Trustee
2002 Trust                              Martha Cripps Wells             5326 W Bellfort
Herbert Harris Cashen Ii Ttee           111 Sims Street                 Suite 120
PO Box 25429                            Simsboro, LA 71275              Houston, TX 77035
Dallas, TX 75225



Herbert L Brewer Pauline B Brewer       Herbert L Daniels Sr            Herbert L Winn
Two Cedro Place                         7726 Missouri                   458 Parrott Drive
Dallas, TX 75230                        Fontana, CA 92336               San Mateo, CA 94402




Herbert Lee Holland                     Herbert Livingston              Herbert M Donaldson Est
9082 Highway 80                         4165 Grandy St                  Donald Hudson Exec
Simsboro, LA 71275-3008                 Detroit, MI 48207               117 Shawnee Pl
                                                                        Lexington, KY 40503




Herbert Mueller                         Herbert Prentice Moore          Herbert R Myers
194 High Meadows Rd                     Mary Henry Moore                1610 Glenrose St
Walden, NY 12586                        1609 Trenton Street             Longview, TX 75604
                                        West Monroe, LA 71291




Herbert Risinger                        Herbert Roberts                 Herbert Walker
7618 Rolling Folk Lane                  3512 Wentwood Drive             604 North Pine Tree Road
Houston, TX 77040                       Dallas, TX 752255011            Ruston, LA 71270




Herbert Wayne Henry Md                  Herbert Wayne Sanford Jr        Herbert Wendell Meshell And
980 Rue Chinon                          198 Chapman Road                Wife Gail Ruth Meshell
Mandeville, LA 70471-1209               Farmerville, LA 71241           23485 Us Hwy 154E
                                                                        Diana, TX 75640




Herbert Zieben Estate                   Herbst Family Partnership Ltd   Herc Rentals Inc
c/o Alan Zieben Co Executor             T W Herbst General Partner      PO Box 650280
9069 Briar Forest Drive                 174 Willow Dr                   Dallas, TX 75265-0280
Houston, TX 77024                       Jasper, TX 75951




Hercules Industries Inc                 Hercules Transport Inc          Herd Partners Ltd
PO Box 197                              PO Box 536                      PO Box 130
Prospect, OH 43342                      Choudrant, LA 71227             Midland, TX 79702




Herdell Minerals Lp                     Herece Mcmullen                 Herford Interests
216 W Paseo De Cristobal                314 Royal Street                William Bradford James Owner
San Clemente, CA 92672                  Monroe, LA 71202                606 West Forest
                                                                        Houston, TX 77079




Heriford William                        Heritage Bank Of Commerce       Heritage Crystal Clean
Address Redacted                        150 Almaden Blvd                13621 Collection Center Dr
                                        San Jose, CA 95113              Chicago, IL 60693-0136
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Heritage Royalty Partnership            Heritage Title Company                 Herlinda Linda C Moller
139 West 2nd Street Suite 200           7251 West 20Th Street                  1711 Ben Crenshaw Way
Casper, WY 82601                        Building L 100                         Austin, TX 78746
                                        Greeley, CO 80634




Herman Betty Jean K Van Os              Herman C Shirley Meadows Jr            Herman Clifford Walker Iii
3847 Broussard St                       1550 Golf Blvd                         PO Box 10135
Baton Rouge, LA 70808                   Columbia, MO 65202                     Midland, TX 79702




Herman E Day                            Herman E Garner                        Herman Grigsby
333 Ridecrest Pkwy B                    1972 County Road 1154                  4122 Hwy 818
Oroville, CA 95966                      Lampasas, TX 76550                     Ruston, LA 71270




Herman Hughes Horton                    Herman L Loeb LLC                      Herman Lamar Lowrey Estate
7058 Lindsey Ln                         PO Box 838                             c/o Chad J Lowrey Ind Executor
Delton, MI 49046-8796                   Lawrenceville, IL 62439                939 Plantation Dr
                                                                               Lewisville, TX 75067-6120




Herman Luther Henry Jr                  Herman M Lenard                        Herman Standifer
2300 Hillside Road                      324 Herman Lenard Rd                   3226 Myrtle Ave
Ruston, LA 71270                        Eros, LA 71226                         Kansas City, MO 64128




Hermann Moyse Iii                       Hermann Moyse Jr                       Hermon E Reed Jr
5926 Boone Drive                        PO Box 65206                           2791 Cr 302
Baton Rouge, LA 70808                   Baton Rouge, LA 70896                  Carthage, TX 75633




Hernandez Anthony                       Herndon Oil Control Ptnr Com           Herndon Oil Gas Co
Address Redacted                        Min Tr F/A/O Imogene Harold            7636 S Marion Ave
                                        Herndon Charitable Trust Acct          Tulsa, OK 74136
                                        PO Box 1600
                                        San Antonio, TX 78296



Herod Industries Inc                    Herod Industries Inc Dba Roto Rooter   Herold Winks Vallhonrat LLC
Roto Rooter Of Craig                    PO Box 1592                            c/o Paul Samuel Vallhonrat Mgr
Casey Herod                             Craig, CO 81626                        6510 Connie Ln
PO Box 1592                                                                    Colleyville, TX 76034
Craig, CO 81626



Herrera Adrian                          Herschbach Living Trust                Herschbach Petroleum Company Ltd
Address Redacted                        Heidy Herschbach Trustee               121 S Broadway Suite 753
                                        12405 Nw 46Th Ave                      Tyler, TX 75702
                                        Vancouver, WA 98685




Herschel Costlow                        Herschel Eugene Thornton And           Herschel Mcginty Jones
8396 Fm 1861                            Geneva Gaye Turnage Thornton           206 Greehnill Rd
Eustace, TX 75124-7250                  119 Janis Street                       Sylacauga, AL 35150
                                        West Monroe, LA 71292
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Hershel D Malone Cynthia J Malone        Hershel Floyd Jr               Hershel Shannon Pardue Et Ux
18439 Hwy 157                            PO Box 975                     Rachette Liles Pardue
Plain Dealing, LA 71064                  Ruston, LA 71270               168 Winding Woods Road
                                                                        Ruston, LA 71270




Hersie L Davis                           Hertz Oil                      Hessie Goldsmith Lyons
1800 Beach Dr Unit 44                    PO Box 785                     1726 Meadow Valley Lane
Gulfport, MS 39507-1577                  Columbus, MT 59019             Dallas, TX 75232




Hessie Watson Usufruct                   Hester Lewis Sep Prop          HesterS Welding Service
203 Coleman Loop                         14007 Hwy 151                  13638 Cr 227
Homer, LA 71040                          Arcadia, LA 71001              Arp, TX 75750




Hestes Cobb LLC                          Hettie E Suhrer                Hewett Family Trust
1405 Scottsboro Lane                     13746 Winner Circle            Robin Dunn Esq Succ Trustee
Richardson, TX 75082                     Tyler, TX 75703                PO Box 521
                                                                        Rigby, ID 83442




Hewitt Farm Supply                       Hewitt L Bauguss               Hewitt Land Investments LLC
PO Box 1152                              No 7 Alexander Court           4321 Kingwood Dr Pmb 60
Gilmer, TX 75644                         Angleton, TX 775153773         Kingwood, TX 77339




Hexagon Interim Partnership              Heyser Company                 Hfa Mineral Interests Lp
PO Box 52268                             30 N Lasalle St Ste 1232       333 Texas St Ste 2020
Midland, TX 79710                        Chicago, IL 60602-2504         Shreveport, LA 71101




HH Data Services Inc                     HH Sandblasting Coating Inc    HH Tr For Frederick L Holland
Jim Daniels                              PO Box 99                      10323 Estate Ln
1310 Webster Avenue                      Lamesa, TX 79331               Dallas, TX 75238
Ft Collins, CO 80524




HH Tr For Mary H Yamagata                Hhc Exploration Inc            Hhe Energy
4220 Ridge Haven Rd                      Attn Danny Lewis               PO Box 730586
Fort Worth, TX 76116                     PO Box 3331                    Dallas, TX 75373
                                         Houston, TX 77253




Hhr Wells Inc                            Hiawatha Wallace               Hickman Investments LLC
928 Homestead Drive                      7210 Oswego Trail              PO Box 66
Keller, TX 76248                         Riverdale, GA 30296            Robertson, WY 82944




Hicks Laurence Warden Family LP          Hicks Thomas LLP               Hico LLC
PO Box 247                               700 Louisiana Suite 2000       PO Box 1406
Bernice, LA 71222                        Houston, TX 77002              Mills, WY 82644-1406
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Hico Poultry Farms LLC                   Hidalgo County Clerk             Hieu K Ngo
593 Cooper Rd                            PO Box 58                        Maria A Ngo
Dubach, LA 71235                         Edinburg, TX 78539               2401 Ivy Place
                                                                          Fullerton, CA 92835-3012




High Capacity Coil LLC                   High Country Crane Service       High Country Energy LLC
PO Box 8967                              Kent Lundine                     154 Rees Road
Bossier City, LA 71113-8967              PO Box 482                       PO Box 303
                                         Mills, WY 82644                  Mountain View, WY 82939




High Country Fabrication Inc             High Country Sales Trading Inc   High Desert Services Inc
PO Box 1406                              4950 S Yosemite Street           PO Box 2229
Mills, WY 82644                          F2 305                           Rock Springs, WY 82902
                                         Greenwood Village, CO 80111




High Mountain Inspection Serv            High Plains Disposal Inc         High Plains Disposal Inc
PO Box 1508                              3770 Puritan Way Ste E           3770 Puritan Way
Mills, WY 82644                          Frederick, CO 80516              Unit E
                                                                          Frederick, CO 80516




High Plains Well Service LLC             Highland Energy Ii LLC           Highland Energy LLC
6065 S Quebec St                         5800 One Perkins Place           5800 One Perkins Place
Suite 201                                Suite 9A                         Suite 9A
Centennial, CO 80111                     Baton Rouge, LA 70808            Baton Rouge, LA 70808




Highland Minerals Inc                    Highland Missions Inc            Highland Road Harry LLC
201 Jackson Place                        PO Box 230                       4756 Highland Road
Corpus Christi, TX 78411                 Porter, TX 77365                 Baton Rouge, LA 70808




Highmount Exploration                    Highway Garage Parts Services    Highway Lake Company Inc
Production Texas LLC                     PO Box 694                       PO Box 821
16945 Northchase Dr Ste 2000             Bronte, TX 76933                 Hallsville, TX 75650
Houston, TX 77060




Hijet Bit LLC                            Hiland Partners Holdings LLC     Hilario Rocha
Jz Bits                                  1001 Louisiana                   8742 Puerto Belo
2651 Venture Drive                       Suite 1000                       Laredo, TX 78045
Norman, OK 73069                         Houston, TX 77002




Hilary Ann Clement Olson                 Hilary Joe Brown                 Hilary Leach
1901 Overland Hills Circle               PO Box 3554                      3451 Mcnally Ave
Austin, TX 78746                         Napa, CA 94558-0355              Altadena, CA 91001




Hilcorp Energy Company                   Hilcorp Energy Development Lp    Hilcorp Energy I Lp
PO Box 61229                             c/o Hilcorp Energy Co            PO Box 61229
Houston, TX 77208                        1201 Louisiana Ste 1400          Houston, TX 77208
                                         Houston, TX 77002
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Hilda Aida Martinez                       Hilda Jean Smith Antee             Hilda Marshall Hudec
PO Box 1274                               226 Rich Road                      201 Marshall Road
Freer, TX 78357                           Arcadia, LA 71001                  Simsboro, LA 71275




Hilda N Rawls                             Hilda Novie Rawls                  Hilda P Trad
601 Navajo St                             Address Redacted                   4608 Lariat Loop
Montgomery, TX 77316-4834                                                    Laredo, TX 78041




Hilda P Trad Trust                        Hilda Rose Dennard Williams        Hilda Taylor Perritt
Elsa P Cass Lilia P Borrego               5649 Williams Road                 1909 West Kentucky Ave
1720 Galveson                             Keithville, LA 71047               Ruston, LA 71270
Laredo, TX 78043




Hildra Williams                           Hill David Scott Sr Individually   Hill Engine Inc
PO Box 4093                               9929 Chestnut Court                1107 W Marland
Tyler, TX 75712                           Montgomery, TX 77316               Hobbs, NM 88240




Hill Investments Ltd                      Hill Land Minerals Inc             Hill West LLC
PO Box 1568                               PO Box 10                          360 Tremont Ave
Cedar Park, TX 786301568                  Buchanan Dam, TX 78609             Bellingham, WA 98226-2216




Hillard Drew Hill Iii                     Hillary A Hunt                     Hillary Hancock Geisler
3208 Landershire Ln                       3913 Main Street                   1807 Sharon Ln
Plano, TX 75023                           Houston, TX 77002                  Austin, TX 78703




Hillary Mankin Kufe                       HiLLCrest Spring Water Inc         Hilliard Petroleum Inc
179 Grove Street                          PO Box 798                         PO Box 1406
Wellesley, MA 02482                       Rapid City, SD 57709-0798          Shreveport, LA 71164-1406




Hills Exploration Corporation             Hilltop Conoco Inc                 Hilltop National Bank
Attn Austin E Hills                       PO Box 546                         300 Country Club Road
2546 Jackson St                           Rawlins, WY 82301                  Casper, WY 82609
San Francisco, CA 94115-1121




Hilltop National Bank                     Hilltop Securiti                   Hilmar D Blumberg Tuw Unitrust
Attn Trust Department                     Attn Virginia Allwardt             Frost Bank Ttee For Acct Aa640
PO Box 2680                               1201 Elm Street Suite 3500         PO Box 1600
300 Country Club Rd                       Dallas, TX 75270                   San Antonio, TX 78296
Casper, WY 82602



Hilmar Daniel Blumberg                    Hilton T Ramsey Muriel Ramsey      Hinda F Muslow Usuf
200 N River Street Ste 150                203 Loma Land Drive                315 Corinne Cir
Seguin, TX 78155                          West Monroe, LA 71291              Shreveport, LA 71106
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Hinda Finkelstein Muslow               Hines S Vaughan Jr                 Hinkle Hensley Shanor Martin
315 Corinne Cir                        c/o Argent Trust Co Of La          PO Box 10
Shreveport, LA 71106                   PO Box 1410                        Roswell, TX 88202
                                       Ruston, LA 71273




Hiram Laura Mclellan Trust             Hiram Lee Latham                   Hiram Paul Glover Trust
Daniel M Mclellan Trustee              9918 Chimney Hill                  Diane A Glover Deborah Borcherding
4900 Fields Place                      Dallas, TX 75243                   Co Trustees
Midland, TX 79705                                                         PO Box 1666
                                                                          Cherokee, NC 28719



Hiram Walker Royall                    Hj Grebing Jr Deceased             Hjs Estate Partnership Lp
5956 Sherry Ln Ste 1250                c/o Carol Grebing                  c/o Jeffy A Candy Cpa
Dallas, TX 75225                       105 C St                           3116 Live Oak Street
                                       Hurley, NM 88043-9755              Dallas, TX 75204




Hkm Production LLC                     Hl Hawkins Hl Hawkins Jr Inc       Hlp Engineering Inc
c/o Henry K Miller Jr Manager          300 Board Of Trade Pl              Jacob Gustin
6926 Moniteau Court                    New Orleans, LA 70130              PO Box 52805
Baton Rouge, LA 70809                                                     Lafayette, LA 70505




Hm Dodd Motor Company Inc              HM Garrett Irrevocable             Hmo Minnesota Dba Blue Plus
111 North Wood                         Intervivos Trust                   PO Box 64560
Gilmer, TX 75644                       c/o Janet Sins                     St Paul, MN 55164-0560
                                       PO Box 798
                                       St Francisville, LA 70775



Hmr Energy Resources LLC               Hmx Investments Inc                HN Walker Limited Partnership
102 Kelly St                           2401 Fountainview Ste 600          HN Corporation Gen Ptner
West Monroe, LA 71291                  Houston, TX 77057                  1300 Davenport Dr
                                                                          Minden, LA 71055




Hobart                                 Hobart Quinton Sibley Jr           Hobart Reid Key
PO Box 2517                            2873 Ragusa Ln                     PO Box 1545
Carol Stream, IL 60132-2517            League City, TX 77573-6130         Point Clear, AL 36564




Hobart Rutherford Key                  Hobbs Rental Corporation           Hochstetter Lp
649 Fm 2208                            PO Box 3435                        PO Box 17728
Jefferson, TX 75657-9705               Hobbs, NM 88241                    Fort Worth, TX 76102




Hockley County Tax Office              Hodde Family Limited Partnership   Hodde Royalties LLC
624 Avenue H                           c/o Argent Property Services       1 Lynwood Lane
Levelland, TX 79336-4506               PO Box 1410                        Nashville, TN 37205
                                       Ruston, LA 71273




Hodge Alice Ruth                       Hodge Bank Trust Company           Hodges Energy LLC
14430 Broad Green Drive                4619 Quitman Hwy                   PO Box 103
Houston, TX 77079                      Hodge, LA 71247                    Shreveport, LA 71161
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Hodges Fam Oil Gas Ptnshp Lp           Hodges Trucking Co LLC           Hodges Trucking Co LLC
2040 Bishop Pl                         PO Box 270660                    PO Box 650840
Davis, CA 95618                        Oklahoma City, OK 73137          Dallas, TX 75265-0840




Hodges Trucking Company LLC            Hoerbiger Service Inc            Hoerbiger Service Inc
Bob Amyy                               6726 Paysphere Circle            Attn Michelle Quillivan/Kimberly Sinko
4050 West I 40                         Chicago, IL 60674                1224 Paysphere Circle
Oklahoma City, OK 73108                                                 Chicago, IL 60674




Hoerbiger Service Inc                  Hog Partnership Lp               Hogg SandblastingCoating Serv
Kimberly Sinko                         5950 Cedar Springs Road          PO Box 431
12 Mccullough Drive Suite 4            Suit 242                         Lamesa, TX 79331
New Castle, DE 19720                   Dallas, TX 75235




Hogg Welding Service                   Hogg Welding Service             Holbein Family Trust
Hailey Hogg / Gary Hogg                PO Box 431                       c/o Katie Turner
211 S Lynn Avenue                      Lamesa, TX 79331                 715 S Upper Broadway 1002
Lamesa, TX 79331                                                        Corpus Christi, TX 78401




Holdco Classic Pipeline LLC            Holdco Mrd Midstream LLC         Holdco Mrd Royalty LLC
500 Dallas Street Suite 1800           500 Dallas Street Suite 1800     500 Dallas Street Suite 1800
Houston, TX 77002                      Houston, TX 77002                Houston, TX 77002




Holdco Mrd Whr Midstream LLC           Holdcroft Marie F                Hole Seekers Inc
500 Dallas Street Suite 1800           421 Eastridge                    PO Box 146
Houston, TX 77002                      Royse City, TX 75189             Brighton, CO 80601




Holgate Land Cattle Co Inc             Holiday Inn Long Beach Airport   Holland Colbert Royce
PO Box 616                             2640 N Lakewood Blvd             2717 Fm 667
Plains, TX 79355                       Long Beach, CA 90815             Frost, TX 76641




Holland Frederick Leon                 Holland James H                  Holland Mollie Velma
10323 Estate Lane                      1013 Pamela Street               714 Cr 186
Dallas, TX 75238                       Henderson, TX 75652-4126         Carthage, TX 75633




Holland Richard Edward                 Holland Trust Robert Cayce       Hollands Quarter Water Supply Corp
959 Cr 186                             Ruby Nell Eason Trustee          461 County Road 222
Carthage, TX 75633                     9287 Us Hwy 259 N                Carthage, TX 75633
                                       Overtown, TX 75684




Hollands Quarter Water Supply Corp     Holley John B                    Holley Interests LLC
PO Box 146                             PO Box 224                       PO Box 26164
Carthage, TX 75633                     Matagorda, TX 77457-0224         Austin, TX 78755-0164
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Holli Tex Supply Company                Holli Thrash Safron Trust      Holli Thrash Safron Trust 2
Drawer 400                              c/o Wilton Eugene Thrash       c/o Wilton Eugene Thrash Ttee
Holliday, TX 76366                      25 Highland Park Vlg 100 764   25 Highland Park Vlg 100 764
                                        Dallas, TX 752052789           Dallas, TX 752052789




Holliday Sharon Johnson                 Hollie Horton                  Hollingsworth Construction Co Inc
1111 Patton Avenue                      1701 Bogarte Dr                PO Box 1016
Shreveport, LA 71105                    Grand Prairie, TX 75051        Minden, LA 71058




Hollis Dean Elliott Estate              Hollis Jeans                   Hollis Oil Gas Company
Rebecca Ann Templeton Exec              PO Box 89                      PO Box 1068
c/o James A Mclarty Iii Atty            Center, TX 75935-0089          Casper, WY 82602
114 Main St
Newport, AR 721123232



Hollis W Jacobie                        Holloman Corporation           Holly A Davidson
555 Maricopa Dr                         333 Sam Houston Pkwy East      150 Holly St
Canyon Lake, TX 78133                   Suite 400                      Deer Trail, CO 80105
                                        Houston, TX 77060




Holly A Hollaway Munson Sharp           Holly A Kristek                Holly Ann Clark
8738 Tamarind St                        1013 W 23Rd St                 309 Cr 874
San Antonio, TX 78240                   Houston, TX 77008-1811         Cushing, TX 75760




Holly Ann Hayes                         Holly Ann Holstead             Holly Ann Nance
1806 Rooney St                          17719 Knollmeadow Lane         19208 Sotogrande Drive
Bossier City, LA 71111                  Dallas, TX 75287               Pflugerville, TX 78660




Holly Ann Watson                        Holly Hastings                 Holly Jo Hannie
PO Box 800476                           7565 Palm Road                 2309 Holly Street
Balch Springs, TX 75180                 Lake Clarke Shores, FL 33406   Tyler, TX 75701




Holly Kaufmann Hall                     Holly Kay Schertz              Holly Kaye Wood
4031 Lakefront Drive West               Po Drawer 2588                 1810 Waterston Avenue
Mobile, AL 36695                        Roswell, NM 88202              Austin, TX 78703




Holly L Elliott                         Holly Mccall Carpenter         Holly Moody Lawrence Iii
3910 Tanforan Ave                       PO Box 607                     PO Box 301450
Midland, TX 79707                       Nacona, TX 76255               Austin, TX 78703-0025




Holly Nickerson                         Holly Simpson Spain            Holly Thauwald
560 Mission St Suite 1300               953 Rich Rd                    111 Stanford Way
San Francisco, CA 94105                 Arcadia, LA 71001              Sausalito, CA 94965
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Holly Williams                          Hollye Jill Bryant                 Hollyfrontier Ref Mkt LLC
PO Box 674                              5750 Sam Calloway Rd Apt 27        2828 N Harwood
Cedar Park, TX 78630-0674               Fort Worth, TX 76114-3279          Suite 1300
                                                                           Dallas, TX 75201




Hollyfrontier Refining Marketing LLC    Hollytree                          Holman E Donaldson
PO Box 1600                             6700 Hollytree Drive               136 Lafayette Dr
Artesia, NM 88211-1600                  Tyler, TX 75703                    Fayetteville, GA 30214




Holman Family Counseling Inc            Holmes Fam Trust Dtd 11/22/05      Holmes Family Tr Dtd 11/22/05
9451 Corbin Ave Ste 100                 James M Marie J Holmes Co Tr       James M Marie J Holmes Co Tr
Northridge, CA 91324-1662               804 Fountain Park Lane             804 Fountain Park Lane
                                        Mountain View, CA 94043-4679       Mountain View, CA 94043




Holmes Royalties Inc                    Holmes Saxon Chappell              Holmes Specialty Co Inc
PO Box 483                              11910 Ed Edwards Rd                PO Box 81954
Metaline Falls, WA 99153                Fayetteville, AR 72701             Bakersfield, CA 93380




Holomon Energy Services                 Holt Cat                           Holt Family Trust Dtd 6/29/94
2104 Ray Ave                            PO Box 650345                      Al Dj Holt Trustees
Bosier City, LA 71112                   Dallas, TX 75265-0345              6307 N 41st Ave
                                                                           Phoenix, AZ 85019




Holt Hotshot Service                    Holy Trinity Episcopal Church      Homax Oil Sales Inc
PO Box 2112                             2425 Nall St                       605 South Poplar
Rock Springs, WY 82902                  Port Neches, TX 77651              Casper, WY 82601




Home Burtis Ltd Lp                      Home Petroleum Corp                Homer Allen Brashear
PO Box 959                              1225 17 St Ste 3100                9156 Highway 80 Lot 501
Santa Ynez, CA 93460                    Denver, CO 80202-5531              Simsboro, LA 71275




Homer Allen Potter Iii Trustee          Homer B Rainbolt Estate Ty Good    Homer C Burrous Jr Na
For Estate Of Homer Potter Jr           c/o Art Graper Atlantic Trust      558 Planters Loop
10627 Piping Rock Lane                  1700 Lincoln Street                Mount Pleasant, SC 29464
Houston, TX 77042                       Suite 2550
                                        Denver, CO 80203



Homer D Blane                           Homer David Smith Jr Emempt Tr     Homer E Self Jr
10039 Smitherman Drive                  Hoer David Smith Jr Trustee        1221 E San Antonio Avenue
Shreveport, LA 71115                    100 W Rosewood Avenue              Apt 76C
                                        San Antonio, TX 78212              El Paso, TX 79901




Homer F Andrews Ncm                     Homer G Ponder And June S Ponder   Homer H Presnall Jr
Texas Comptroller Public Acct           2251 Ashland Ave                   16811 Heritage Bay Road J Z
Unclaimed Property Division             Ruston, LA 71270                   Rogers, AR 72756
PO Box 12019
Austin, TX 78711-2019
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Homer J Potter Life Estate Deceased    Homer Jeannette Humphrey       Homer Kelly
1849 County Road 4333                  1789 Gum Springs Rd            212 Holland Street
Tenaha, TX 75974-2047                  Longview, TX 75602             East Palo Alto, CA 94303




Homer Neal Covington                   Homer Pierre Dove              Homer Ray Metcalf
3519 Brent Rd                          Rt 1 Box 562                   952 Cr 266
Longview, TX 75604                     Three Rivers, TX 78071         Beckville, TX 75631




Homer Teran                            Homero E Acevedo               Homero Reynaga
Address Redacted                       15106 Tamaron Pass             Address Redacted
                                       San Antonio, TX 78253




Homestead Heritage LLC                 Honey Badger Holdings LLC      Honeycutt Family Trust
Attn Tracy Propp Mngr                  Pmb 115 4706 N Midkiff         Wallace Lee Honeycutt Trustee
1541 Diamond Dr                        Midland, TX 79705              PO Box 1248
Casper, WY 82601                                                      Gold Beach, OR 97444




Honor Jean Davenport                   Honor Jean Tarbutton Turner    Honora Ann Bradley Redfearn
PO Box 770036                          200 Honor Lane                 10700 Redfearn Rd
Houston, TX 77098                      Choudrant, LA 71227            Aubrey, TX 76227




Honora Elizabeth Hinton                Honora M Cullinan Foundation   Honora M Cullinan Trust
5812 S Laurel Pl                       c/o Wells Fargo Bank           Wells Fargo Bank Sao
Littleton, CO 80123                    Specialty Assets Operations    PO Box 40909
                                       PO Box 40909                   Austin, TX 78704
                                       Austin, TX 78704



Hood Linda Properties LLC              Hood Petroleum                 Hood T Bader
333 Texas St Ste 521                   PO Box 1592                    3712 Pine Chase Dr
Shreveport, LA 71101                   Ruston, LA 71273               Pearland, TX 77581-8789




Hookemup Hotshots LLC                  Hooper 1 Trust                 Hooper Gail Dodson
130 Dogwood South Lane                 c/o Sam P Hooper               PO Box 104
Haughton, LA 71037                     3101 Us Hwy 84 East            Gary, TX 75643
                                       Tenaha, TX 75974




Hooper Sons Investments Co             Hoover Stacy Inc               Hope Cottage Childrens Bureau
3101 Us Hwy 84 E                       PO Box 2328                    c/o Sonya Hartwell Ceo
Tenaha, TX 75974                       Cheyenne, WY 82003             PO Box 140459
                                                                      Dallas, TX 75214




Hope Davis Tankersley                  Hope Minerals                  Hope Robert C
4901 Connecticutt Ave Nw               c/o Steve Worsham              8616 Lakeair
Apt 107                                PO Box 812                     Oklahoma City, OK 73132-4926
Washington, DC 20008                   Jacksonville, TX 75766
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Hope Ryder Calhoun                       Hopkins Map Service Co LLC        Hopper Engineering Asso
PO Box 112                               PO Box 536                        300 Vista Del Mar
Mansfield, LA 71052                      Farmington, NM 87499              Redondo Beach, CA 90277




Horace E Watson                          Horace E Watson Iii               Horace E Watson Iii Trustee
185 Coleman Loop                         107 Norman Dr                     Horace Watson Iii Gst Exempt
Homer, LA 71040-5707                     Laredo, TX 78045-8120             107 Norman Dr
                                                                           Laredo, TX 78045




Horace E Watson Jr                       Horace Eugene Mckendrick Jr       Horace G Hines Jr
PO Box 1418                              PO Box 133                        16016 Crepemyrtle
Laredo, TX 78042                         Thorndale, TX 76577-0133          Baton Rouge, LA 70817




Horace Hawk                              Horace Hill                       Horace James
146 Tharpe Lane                          PO Box 721231                     PO Box 1274
Sibley, LA 71073                         Houston, TX 77272                 Tatum, TX 75691




Horace L Nail                            Horace Langston Mary N Langston   Horace M Jones
7173 Gemstone                            2108 Wellerman Rd                 3874 W Sandpiper Dr 5
Bryan, TX 77808                          West Monroe, LA 71291             Boynton Beach, FL 334362474




Horace Preston Holley Jr                 Horace Ray Creasy Ruby Joyce      Horace Robert Beard
5741 Meyer Avenue                        Morehead Creasy Cp                PO Box 1146
Market, MD 21774                         PO Box 57                         Logansport, LA 71049
                                         Gibsland, TX 71028




Horace Weldon Costlow                    Horacio Acevedo                   Horacio C Acevedo Jr
7117 Fm 326                              2619 Garfield                     2701 Garfield St
Lufkin, TX 75901-3507                    Laredo, TX 78043                  Laredo, TX 78043




Horacio G Guerra                         Horizon Applicators Inc           Horizon Hotshot
Union National Bank Of Laredo            PO Box 510                        PO Box 3247
1100 Matamoros                           Arcadia, LA 71001                 Victoria, TX 77903
Laredo, TX 78040




Horizon Mud Co Inc                       Horizon Mud Company               Horizon Well Logging
Danny Reeves                             PO Box 677037                     PO Box 21568
500 West Wall Ste 280                    Dallas, TX 75267-7037             Dept 274
Midland, TX 79702                                                          Tulsa, OK 74121




Horizontal Rentals Inc                   Horizontal Solutions Intl         Horn Solutions Inc
1111 North Austin Street                 2245 Keller Way Ste 340           2245 Texas Dr
Seguin, TX 78155                         Carrollton, TX 75006              Suite 400
                                                                           Sugar Land, TX 77479
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 581 of 1524

Horner Bonnie                          Horse Creek Contracting          Horsepower Electric LLC
161 Sherland Avenue                    Steve Sweeney                    28 Jenkins Drive
Mountain View, CA 94043                PO Box 36                        Artesia, NM 88210
                                       Robertson, WY 82944




Horton Petroleum Corporation           Hosb C Carolyn E Mcgehee         Hosea Jernigan Jr
James V Horton President               PO Box 22662                     16540 Hubbell Street
PO Box 828                             Jackson, MS 39056                Detroit, MI 48235
Shreveport, LA 71162




Hospice Of Midland Endowment Inc       Hoss Pressure Testing LLC        Hot Rods Hot Shot Service LLC
c/o Farmers National Company           2703 Skyline Dr                  And Diversified Lenders Inc
PO Box 3480                            Grand Junction, CO 81506         PO Box 6565
Omaha, NE 68103                                                         Lubbock, TX 79493-6565




Hot Shots Hauling LLC                  Hot Wheels Trucking              Hotel Maya A Double Tree Hotel
8752 Rosebud Place                     PO Box 691386                    700 Queensway Drive
Parker, CO 80134                       Houston, TX 77202                Long Beach, CA 90802




Hou Tex Exploration Inc                Houdek Jean Louise               House Ear Institute
11060 Timberline Rd                    5244 W Loop North 308B           256 South Lake St
Houston, TX 77043                      Midland, TX 79701                Los Angeles, CA 90057




House Randal Ray                       Houston Bunker Hunt              Houston Community Bank N A
2524 Lansing Switch Road               1601 Elm Street                  11390 Veterans Memorial Drive
Longview, TX 75602                     Suite 3650                       Houston, TX 77067
                                       Dallas, TX 75201




Houston Emma Hill Tst Estate           Houston Endowment Inc            Houston Federal Credit Union
James R Hill Virginia G Hill           c/o Travis Property Management   16320 Kensington Drive
Lattimore John A Styrsky Ttee          PO Box 56429                     Sugar Land, TX 77479-4079
PO Box 429                             Houston, TX 77256
Fort Worth, TX 76101



Houston G Williams                     Houston Highway Credit Union     Houston Oil Gas Co Inc
159 N Wolcott Ste 400                  8120 Washington Ave              PO Box 1468
PO Box 10700                           Houston, TX 77007                Huffman, TX 77336
Casper, WY 82602




Houston Pipeline Company Lp            Houston Police Federal C U       Houston Royalty Company
PO Box 951439                          1600 Memorial Dr                 c/o Jc Walter Jr President
Dallas, TX 75395                       Houston, TX 77007                242 Main Building
                                                                        Houston, TX 77002




Houston Well Screen Company            Houston Zoo Inc                  Howard Aaron Rosencrans
11939 Aldine Westfield Rd              1513 Cambridge St                Charles Schwab Co Inc Cust
Houston, TX 77093                      Houston, TX 77030                350 W 43Rd St Apt 32B
                                                                        New York, NY 10036
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Howard B Brandt                       Howard Casing Tubing LLC       Howard Dane Holand
405 Homalot Drive                     PO Box 1509                    429 Morning Meadow Circle
Shreveport, LA 71106                  Midland, TX 79702              West Monroe, LA 71292




Howard Dash                           Howard Donnell Younger         Howard E Hansen
452 5th Avenue                        198 Dunbar Street              PO Box 12165
New York, NY 10018                    Grambling, LA 71245            Dallas, TX 75225




Howard E Nobles Jr                    Howard Eason Rowe              Howard Ernest Davenport
3650 Morning Glory                    8395 DG Drive                  10709 San Souci Place
Baton Rouge, LA 70808                 Mooringsport, LA 71060         Austin, TX 78759




Howard Glen Wright                    Howard Gray                    Howard H Barousse
105 E Center St                       6005 West Orlando              15522 Beecham Dr
White Oak, TX 75693                   Broken Arrow, OK 74011         Houston, TX 77068




Howard Haskel Nixon                   Howard Jackson                 Howard John Overbeek Life Est
PO Box 555                            PO Box 169                     2300 Paluxy Highway 14
Joaquin, TX 75954                     Grambling, LA 71245            Granbury, TX 76048-5531




Howard Keith Williamson               Howard L Gardner Decd          Howard Lee Brown Et Ux
1235 Cr 225                           24404 Veazey Road              Cora Parker Brown
Carthage, TX 75633                    Kaplan, LA 70548               147 Three Ponds Road
                                                                     Ruston, LA 71270




Howard Lee Haring                     Howard Lee Haring Trust        Howard M Jordan
100 Lorenz Rd 1202                    1814 Fallow Run                48761 Denton Rd Apt 3
San Antonio, TX 78209                 San Antonio, TX 78248          Belleville, MI 48111-3201




Howard Measurement Co Inc             Howard Mitchell                Howard N Sanders
1637 Enterprise Street                2533 Mondy Rd                  8846 Ruthelen St
Athens, TX 75751                      Simsboro, LA 71275             Los Angeles, CA 90047




Howard Neel Wailes                    Howard O Ulmer Jr Et Ux        Howard R Ennis
PO Box 2904                           Peggy Galloway Ulmer           PO Box 7452
Angelton, TX 77516                    1954 Wafer Road                The Woodlands, TX 77387
                                      Ruston, LA 71270-1223




Howard Roy Milstein                   Howard Rubin                   Howard S Motley Heirs/Devisees
608 Ruthlynn Drive                    1607 Pine St Apt 1             1426 Westpark Avenue
Longview, TX 75605                    Philedelphia, PA 19103         Victoria, TX 77905
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Howard S Splane Jr                      Howard S White                         Howard Shaffer Estate
7738 Charmwood Way                      302 S Mckinley Street                  Linda Jamar Executrix
Knoxville, TN 37938                     Havana, IL 62644                       845 Lark Ave
                                                                               Shreveport, LA 71105




Howard Smith                            Howard Spencer Anderson                Howard Stinson
311 Edgemont Avenue                     3065 Casitas Ave                       12703 Candle Ridge Drive
Mount Vernon, NY 10553                  Altadena, CA 91001                     Tyler, TX 75709




Howard Supply Company LLC               Howard T Tellepsen                     Howard Thompson
Dept 312                                5425 Tupper Lake                       Address Redacted
PO Box 4869                             Houston, TX 77056
Houston, TX 77210-4869




Howard W Flora D Wright                 Howard W Key Non Exempt Trust          Howard Walker
Po Drawer                               Charles Key Howard Key Co Ttees        PO Box 130003
Ruston, LA 71270                        12001 N Central Expy Ste 1130          Tyler, TX 757130003
                                        Dallas, TX 75243




Howard Wayne Roberson Et Ux             Howell Clayton Williams Jr             Howell D Jones Iii
Maribeth Graves Roberson                8968 Willis Road                       5600 Courtland Pl
Rt 1 Box 33E                            Silsbee, TX 77656                      Alexandria, LA 71301
Simsboro, LA 71275




Howell Interests Inc                    Howell Petroleum Corp                  Howell Petroleum Corporation
Harrison County Land Records            PO Box 730875                          PO Box 297669
305 E Pinecrest Dr                      Dallas, TX 75373-0875                  Houston, TX 77297
Marshall, TX 75670




Howell Spear                            Howland Engineering And Surveying Co   Howland Surveying
PO Box 30169                            Ana Cisneros                           PO Box 451128
Pensacola, FL 32503                     7615 N Bartlett Avenue                 Laredo, TX 78041-6508
                                        Laredo, TX 78041




Hoya Partners                           Hoyt Mary L Berryman Liv Tr            Hoyt N Berryman Jr
PO Box 871                              Leslie N Berryman Ttee                 817 Meadow Creek Drive
Midland, TX 79702                       PO Box 132425                          Tyler, TX 757033524
                                        Tyler, TX 75713-2425




Hpc Inc                                 Hr Specialist Employment Law           Hrb Oil Gas Ltd
Drawer 900                              PO Box 9070                            4311 Oak Lawn Avenue Suite 360
Reliance, WY 82943                      Mclean, VA 221020070                   Dallas, TX 75219




Hrb Operating                           Hs Armstrong                           HS Valve Inc
Highway 380 West                        PO Box 297                             6704 N County Rd W
Bridgeport, TX 76426                    Fulshear, TX 77441-0297                Odessa, TX 79764
                      Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 584 of 1524

Hsbc Bank Plc Ifs                          Hsbc Global Asset Management France   Ht Strong Estate
PO Box 2013                                75419 Paris Cedex 08                  1200 San Antonio St
Buffalo, NY 14240                          France                                Austin, TX 78701




Htk Consultants Inc                        Htk Drilling Management Lc            Hub City Bit
450 Gears Rd                               450 Gears Road                        PO Box 462
Ste 125                                    Suite 125                             Petal, MS 39465
Houston, TX 77067                          Houston, TX 77067




Hubbard Hooper Harris                      Hubbard Wesley Tompkins               Hubberd Proven Minerals Ltd
c/o Texas Comptroller Of Public Accounts   1337 Jennings Ct                      PO Box 188
Unclaimed Property Division                Prosper, TX 75078                     San Saba, TX 76877-0188
PO Box 12019
Austin, TX 78711-2019



Hubberd Unproven Minerals Ltd              Hubert D Talley                       Hubert Donald Naomi F Ormes
PO Box 188                                 2617 Magnolia St                      3442 Woodland Rd
San Saba, TX 76877-0188                    Texarkana, TX 75503                   Longview, TX 75602




Hubert E Kidd                              Hubert Earl Bratton And               Hubert Ruble Clark
102 North College Suite 106                Wife Willie Dee Bratton               915 Franklin Unit 4E
Tyler, TX 75702                            1100 County Road 4417                 Houston, TX 77002
                                           Annona, TX 755504429




Hubert Russell Davis                       Hubert V Bailey                       Hubert Vaden Bailey
2509 Hillside Rd                           8007 Lynnfield Drive                  11809 Blue Spruce Road
Ruston, LA 71270                           Alexandria, LA 22306                  Reston, VA 20191




Hubert W Kerley                            Hudbar Energy LLC                     Hudnall Exploration Ltd
8109 Dogwood Trl                           PO Box 19769                          100 E Ferguson St Ste 703
Haughton, LA 71037-7532                    Houston, TX 77224                     Tyler, TX 757025755




Hudson Pumping                             Hudson Services Inc                   Huey Collins
PO Box 485                                 PO Box 398                            Address Redacted
Tahoka, TX 79373                           La Place, LA 70068




Huey D Phillips                            Huey Edward Thompson Et Ux            Huey Givens
844 County Road 2665                       Guadalupe Tellez Thompson             821 W 55Th St
Shelbyville, TX 75973                      164 Plainview Drive                   Los Angeles, CA 90037
                                           Simsboro, LA 71275




Huey Harris                                Huey L Jeanette M Booker              Huey P Hogan
4043 Alemany Blvd                          907 Cr 2690                           PO Box 1356
San Francisco, CA 94132-3208               Shelbyville, TX 75973                 Mansfield, LA 71052
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Huey Ray Wilbanks                        Huey Standifer Separate Prop   Huey Warner
10213 Cr 3817                            7217 Tracy                     117 Woodstone Drive
Athens, TX 75752                         Kansas City, MO 64131          Ruston, LA 71270




HueyS Pipe Recovery Services             Huff Casey S                   Huffman Farm LLC
PO Box 1154                              Address Redacted               9423 Tanyard Lane
Kilgore, TX 75663                                                       Frisco, TX 75033




Hugh A Spinks                            Hugh Bob Wylie And             Hugh Clifton Miller
7735 Fairdale Lane                       Gay Nell Wylie                 901 North Market Space 2C
Houston, TX 77063                        2000 East Main Street          Redding, CA 96003
                                         Henderson, TX 75652




Hugh Corrigan Iii Trust                  Hugh Corrigan Iv               Hugh Corrigan Iv Power Of Appointment Tr
William E Corrigan Trustee               3809 Shenandoah Street         8117 Preston Road
8117 Preston Road                        Dallas, TX 75205               Suite 610
Suite 610                                                               Dallas, TX 75225
Dallas, TX 75225



Hugh D Taylor                            Hugh Daniels Corrigan Trust    Hugh Darrel Harvey
200 W Primrose                           U/W/O C E Corrigan             20862 Cr 2207
Longview, TX 75604                       PO Box 690068                  Arp, TX 75750
                                         Vero Beach, FL 32969




Hugh Daw                                 Hugh Don Jones                 Hugh E Bernard Joy K Bernard
719 Cr 3177                              2760 County Road 341 North     1201 DArbonne Dr
Joaquin, TX 75954                        Henderson, TX 75652            Ruston, LA 71270




Hugh F Montgomery                        Hugh F Thurman                 Hugh Feehan
PO Box 5234                              PO Box 672                     1322 Skipwith Rd
Katy, TX 77491                           Wills Point, TX 75663          Mclean, VA 22101




Hugh G Holcomb                           Hugh H Hulsey                  Hugh J Idstein
145 Trail Of The Flowers                 8626 Naomi Street              9203 Timberside
Georgetown, TX 78633                     Plano, TX 75024                Houston, TX 77025




Hugh L Hyland Iii                        Hugh L Inabnet                 Hugh Lane Harris
1829 Ohio Avenue                         PO Box 14862                   1203 Casandra
Richmond, CA 94804                       Monroe, LA 71207-4862          Longview, TX 75605




Hugh Lane Harris                         Hugh Louis Caraway             Hugh M Harden
c/o Law Office of Dean A Searle PC       272 County Road 342            1802 South Woodlawn
PO Box 910                               La Vernia, TX 78121-4835       Witchita, KS 67218
305 West Rusk Street
Marshall, TX 75671
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Hugh M Phillips                         Hugh M Rodgers Est             Hugh Morrow Baxter
1201 Slaydon                            Lona Beth Rodgers Indp Exec    2022 Custer Parkway
Henderson, TX 75652                     PO Box 1754                    Richardson, TX 75080
                                        Andrews, TX 79714




Hugh P Glancy                           Hugh Ryan Mcgookin             Hugh Swanzy Et Ux
11680 Hwy 84                            39471 Palm Greens Pkwy         242 Barber Rd
Mansfield, LA 71052                     Palm Desert, CA 92260-1371     Garrison, TX 75946




Hugh T Echols                           Hugh Van Camp                  Hugh W Kennedy Life Estate
14870 Libra Court                       Address Redacted               721 Ponta Delgado Ct
Willis, TX 77318                                                       El Dorado Hills, CA 957627584




Hugh W Reeves And Virginia Reeves       Hugh Warren Reeves             Hughes Barry Tucker Hughes
221 Bailey Road                         221 Bailey Road                PO Box 1030
Gladewater, TX 75647                    Gladewater, TX 75647           Jacksonville, TX 75766




Hughes Christensen                      Hughes Living Trust            Hughes Luce LLP
Rachael Gaines                          Lucien E Hughes Trustee        1717 Main Street
2929 Allen Parkway Suite 210            113 Scorpion Dr                Suite 2800
Houston, TX 77019                       Lakeway, TX 78734              Dallas, TX 75201




Hughes Meter Supply Co Inc              Hughes Meter Supply Inc        Hughes Oilfield Transportation Inc
PO Box 950                              PO Box 950                     2513 N Mercury Ave
Sundown, TX 79372-0950                  Sundown, TX 79372              Odessa, TX 79763




Hughes Patsy                            Hughes Roch                    Hugo D Acevedo Consuela Acevedo
1201 Champions Drive                    1200 Smith Suite 1550          3505 S Bentley Ave 9
Lufkin, TX 75901-7415                   Houston, TX 77002              Los Angeles, CA 90034




Hugus Investment Company Inc            Humberto Guerrero              Humphreys Foundation Of Liberty Tex
PO Box 7310                             10004 Wurzbach Rd No 217       PO Box 550
Tyler, TX 75711                         San Antonio, TX 78230          Liberty, TX 77575




Hung V Tran                             Hungry Horse LLC               Hunt Guillot Associates LLC Hga
Address Redacted                        PO Box 1058                    Jimmy Pousson
                                        Hobbs, NM 88241                603 Reynolds Drive
                                                                       Ruston, LA 71270




Hunt Ann Wright                         Hunt Elizabeth Horner          Hunt Energy Corp
1156 Woodburn Rd                        PO Box 327                     1601 Elm Streetsuite 2400
Spartanburg, SC 29302                   Hallsville, TX 75650           Dallas, TX 75201
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Hunt Forest Products Inc                Hunt Gates Tr Uw               Hunt Guillot Associates LLC
PO Box 1263                             Regions Bank Cottee            PO Box 580
Ruston, LA 71273-1263                   PO Box 23100                   Ruston, LA 71273
                                        Jackson, MS 39225




Hunt Harris Jr                          Hunt Oil Co Of Louisiana Inc   Hunt Oil Company
5505 Milart St                          PO Box 840722                  Attn Accounts Receivable
Houston, TX 77021                       Dallas, TX 75013               1900 North Akard St
                                                                       Dallas, TX 75201




Hunt Petroleum Corp                     Hunt Petroleum Corportation    Hunt Timberland LLC
Attn Treasury Dept                      Attn Treasury Department       PO Box 1247
1601 Elm Street Suite 4700              1601 Elm Street Suite          Ruston, LA 71273-1247
Dallas, TX 75201                        Suite 4700
                                        Dallas, TX 75201



Hunter Bounds                           Hunter Douglas Marshall        Hunter Energy Corporation
Address Redacted                        13419 Summergrove Dr           PO Box 1689
                                        Plainfield, IL 60585           Ruston, LA 71273-1689




Hunter Family Partnership Ltd           Hunter Farms Timber LLC        Hunter Fenton A Minor
c/o Kym Comer                           PO Box 1557                    James Fenton Custodian
5949 Sherry Lane                        Broussard, LA 70518            170 Hill Shore Circle
Suite 780                                                              Longview, TX 75605
Dallas, TX 75225



Hunter Temple Resources LLC             Hunter Temple Resources LLC    Hunter Travis Knighton
Hunter Temple                           115 East Mississippi Ave       Address Redacted
115 East Mississippi Avenue             Ruston, LA 71270
Ruston, LA 71270




Hunter Zoller Heritage LLC              Huntington Bancshares Inc      Huntington National Bank
5984 S Elm Court                        Huntington Center              17 S High St
Centennial, CO 80121                    41 South High Street           Columbus, OH 43215
                                        Columbus, OH 43287




Huntington National Bank Na             Hurd Enterprises Ltd           Hurd Oil Field Service Inc
17 S High Street                        7373 Broadway Suite 200        PO Box 728
Columbus, OH 43215                      San Antonio, TX 78209          Jacksboro, TX 76458




Hurie Tolston                           Hurley Company                 Hurley Oil Properties Partnership
324 Mt Olive Road                       570 Via Cielito                1738 South Poplar Street
Ruston, LA 71270                        Ventura, CA 93003              Casper, WY 82601




Hurley Texas Royalty Partnership        Hurricane Air Swabbing         Hurricane Creek Corporation
PO Box 587                              PO Box 389                     PO Box 912
Marlow, OK 73055-0587                   Farmington, NM 80202           Shreveport, LA 71163
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Hurwitz Holdings Ltd                    Hut Inc                          Hutchings Properties Lp
c/o Bridge Wealth Mgt Llc               PO Box 6666                      c/o Boa Investment Mgr
1347 Dominion Plaza                     Lubbock, TX 79493                PO Box 840738
Tyler, TX 75703                                                          Dallas, TX 75284-0738




Hutchins Oil Company                    Huye C Rutledge                  HVb Partnership Ltd
8100 E Union Ave Ste 2008               100 N Hilltop Court              4605 Post Oak Place Drive
Denver, CO 80237                        Springtown, TX 76082             Suite 202
                                                                         Houston, TX 77027




Hw Services LLC                         Hwa Chu Tong                     Hwc Investments Ltd
100 E Ferguson St Ste 400               Cheong Kantan                    15134 Leafy Ln
Tyler, TX 75702-5758                    Jt Ten/Wros                      Dallas, TX 75248
                                        79 Mayflower Avenue
                                        Massapequa Park, NY 11762-2415



Hwy 79 N Enterprise LLC                 Hy Bon Engineering Co Inc        Hy Bon Engineering Co Inc
Po Drawer F                             Curtis Locklar                   7911 Solutions Center
Carthage, TX 75633                      PO Box 4185                      Chicago, IL 60677-3007
                                        Midland, TX 79704




Hy Bon Engineering Co Inc               Hyatt Regency Long Beach         Hyder Minerals Ltd
Box 88611                               200 South Pine Avenue            6040 Camp Bowie Blvd Ste 1
Milwaukee, WI 53288                     Long Beach, CA 90802             Fort Worth, TX 76116




Hyder Tr Oil Control Acct               Hydratight Operations Inc        Hydrex Environmental Inc
c/o Frost National Bank Ttee            23247 Network Place              1120 Nw Stallings Dr
Acct W10000300                          Chicago, IL 60673-1232           Nacogdoches, TX 75964-3428
PO Box 1600
San Antonio, TX 78296



Hydril Company                          Hydro Winwell Inc                Hydrocarbon Exchange Corp
PO Box 975185                           4001 Tamiami Trail North         5910 N Central Expressway
Dallas, TX 753975185                    Ste 404                          Ste 1380
                                        Naples, FL 34103                 Dallas, TX 75206




Hydroline LLC                           Hydroline LLC                    Hydropressure Cleaning Inc
Clay Carlisle                           4713 Hazel Jones Rd              413 Dawson Dr
7188 West Ih20 North Service Rd         Bossier City, LA 71111           Camarillo, CA 93012
Marshall, TX 75672




Hydrostatic Oilfield Testing            Hydrostatic Pipe Service         Hydrotex Dynamics Inc
PO Box 2                                PO Box 2428                      Service Repair Division
Magnolia, AR 71754-0002                 Hobbs, NM 88241                  PO Box 41368
                                                                         Houston, TX 77240-1368




Hyland Enterprises Inc                  Hylton B Millet                  Hytorc Unex Corporation Dba
3770 Puritan Way Ste E                  4705 Opal Drive                  333 Route 17 North
Frederick, CO 80516                     Mobile, AL 36619                 Manwah, NJ 07430
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I Kingdon Hirsch Family Trst           I M Sally Cole Agency          I P Larue Jr
814 Greenway Drive                     Bank Of America Na Agent       6209 Robinson Still Road
Beverly Hills, CA 90210                PO Box 840738                  Vancleave, MS 395658204
                                       Dallas, TX 75284




I V Whitaker                           IA Treasurer Of State          Ia Virginia Morgan Tr Agency
14 Exeter St                           Macn8200 071                   Acct 30011020175893
San Francisco, CA 94124                800 Walnut Street              Bank Of America Na Agent
                                       Des Moines, IA 50309           PO Box 840738
                                                                      Dallas, TX 75284



Ialanthe Dian Goree Gordon             Ian Smith                      Ibc Bank
1117 Joanna Cir                        6005 Clarewood Dr              1200 San Bernardo Ave
Desoto, TX 75115                       Midland, TX 79707-2200         Laredo, TX 78042-1359




Iberiabank                             Ibex Inc                       Ibex Partnership Ltd
200 West Congress Street               310 N 2nd E Suite 102          PO Box 911
Lafayette, LA 70501                    Rexburg, ID 83440              Breckenridge, TX 76424




Ibr Media Inc                          Ibuildstuff Com                Ica Energy Inc
875 N Michigan Ave                     10506 Linecamp Dr              PO Box 233
Ste 3100                               Houston, TX 77064              Odessa, TX 79760-0233
Chicago, IL 60611




Ica Energy Operating LLC               Icc / All American Facility    Ice Systems Inc
700 N Grant Suite 650                  PO Box 915183                  PO Box 11126
Odessa, TX 79761                       Dallas, TX 75391-5183          Hauppauge, NY 11788-0934




Icelia Reamor Land Et Vir              Icenhower Oil Gas Inc          Icf Jones Stokes Accociates Inc
Aubrey Land                            5916 Industrial Drive Ext      PO Box 7777 W510501
678 Main St                            Bossier City, LA 71112         Philadelphia, PA 19175-0501
Grambling, LA 71245-2750




Icims Inc                              Icw Group                      Id Idaho Treasurers Office
Parkway 120 5Th Floor                  15025 Innovation Dr            Unclaimed Property Program
90 Matawan Road                        San Diego, CA 92128            304 N 8Th St Ste 208
Matawan, NJ 07747                                                     Boise, ID 83702-5834




Ida Arnold Henderson                   Ida B Guiton Boyette           Ida Beatrice Hawkins
PO Box 50771                           4094 2nd Ave                   16407 Quail Briar Drive
Phoenix, AZ 85076-0771                 Sacramento, CA 95817           Missouri City, TX 77489




Ida Belle Langston                     Ida Belle Porter               Ida Belle Taylor
PO Box 52                              Rte 2 Box 221                  1201 S Wall Ave
Wimberley, TX 78676                    Joaquin, TX 75974              Tyler, TX 75701
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Ida Colvin Sampson                       Ida L George                     Ida L Henderson
4518 Woodlawn Drive                      Route 1                          6813 S 30Th Drive
Pineville, LA 71360                      Belmont, MS 38827                Phoenix, AZ 85041




Ida Nell Burden Sharp                    Ida P Propst Watts               Ida R Sampson
875 C R 307                              4804 Hwy 180 East                4518 Woodlawn Dr
De Berry, TX 75639                       Anson, TX 79501                  Pineville, LA 71360




Ida S Spry                               Ida Sue Dewey                    Ida Times
Cecilia G Ormsby                         13860 Wilmington Courts          893 Drake Ave
1112 W Kings Lane                        Jacksonville, FL 32223           Marin City, CA 94965
Yuma, AZ 85365




Ida V Lee                                Idaho State University Fcu       Idaho Treasurers
110 Harris Street                        353 N 4th Ave Suite 210          Office Unclaimed Property Program
Grambling, LA 71245                      Pocatello, ID 83201              PO Box 83720
                                                                          Boise, ID 83720-9101




Idalene Ann Anderson Revocable Trust     Idell Moore Shelton              Idell Moore Shelton Et Al
6801 San Fernando Dr                     356 Garr Road                    Christopher L Shelton
Fort Worth, TX 76131                     Ruston, LA 71270                 356 Garr Road
                                                                          Ruston, LA 71270




Idonia Mckeithen                         Idris White                      Ie Miller
PO Box 41                                1608 Jimmie Davis Hwy            PO Box 201834
Kirbyville, TX 75956-0041                Bossier City, LA 71112           Dallas, TX 75320-1834




Ie Smart Systems LLC                     Ief Texas I                      Ieicha Blocker
15200 E Hardy Rd                         1601 Elm Street                  Address Redacted
Houston, TX 77032                        Box 5
                                         Dallas, TX 75201




Ieq Industries Ltd                       Iesco LLC                        Iesi Kilgore
PO Box 230097                            PO Box 5129                      PO Box 650592
Grand Rapids, MI 49523                   Corpus Christi, TX 78465         Dallas, TX 752650592




Iglehart Family Partnership              Ignacio E Guerra                 Ignition Systems Controls Inc
8111 Preston Road 465                    Union National Bank Of Laredo    PO Box 841878
Dallas, TX 75225                         1100 Matamoros                   Dallas, TX 75284-1878
                                         Laredo, TX 78040




Igo Oil Field Service Inc                Igoe Cole LLC                    Igohor Urquieta
PO Box 1311                              Bank Of America Na Invsmt Mngr   Address Redacted
Douglas, WY 82633                        PO Box 840738
                                         Dallas, TX 75284
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Ihs Energy                                 Ihs Global Inc                         Ihs Global Inc
PO Box 847193                              5333 Westheimer Suite 100              Department Number 142
Dallas, TX 75284-7193                      Houston, TX 77056                      Denver, CO 80271




Ihs Global Inc                             Ihs Global Inc Fekete Division         Iii Minerals Land Ltd
PO Box 847193                              1401 Enclave Parkway                   PO Box 10135
Dallas, TX 75284-7193                      Suite 500                              Midland, TX 79702
                                           Houston, TX 77077




Ikon Office Solutions Southwest District   Ikponmwosa Charles Iyamu               Ila Cook Inc
PO Box 660342                              Address Redacted                       PO Box 2643
Dallas, TX 75266                                                                  Longview, TX 756062643




Ila Faye Woodard Clemons                   Ila Wilkins Bass                       Ilamae Forbes Revoc Trust Dated 5/28/81
1500 Whispering Pines Drive                Individual Usufructuary                Elizabeth Ann Forbes Succ Ttee
Minden, LA 71055                           719 E 18Th St                          PO Box 843
                                           Little Rock, AR 72114                  Tulsa, OK 74101




Iland Internet Solutions                   Iland Internet Solutions Corporation   Ilene Margeaux Suberi
1235 North Loop W Ste 800                  Will Sexton                            314 Ne 3Rd Ave
Houston, TX 77008                          1235 North Loop West Suite 800         Delray Beach, FL 33444
                                           Houston, TX 77008




Ilene P Miller                             Ilios Exploration LLC                  Ilk Minerals
2914 Olympia Drive                         9467 Ellerbe Rd                        PO Box 14929
Temple, TX 765023060                       Shreveport, LA 71106                   Humble, TX 77347




Illinois Masonic Children Home             Illinois Masonic ChildrenS Ho          Illinois National Ins Co AIG
PO Box 408                                 c/o Brainard Law Offices               Marc Mieske And J Collins Free
Charleston, IL 61920-0408                  600 Jackson Avenue                     2929 Allen Parkway Ste 1300
                                           Charleston, IL 61920                   Houston, TX 77019




Illinois National Insurance Co             Illinois State Treasurer               Illinois State Treasurers
175 Water St                               Unclaimed Property                     Office Unclaimed Property Div
18Th Floor                                 Vpi Acquisition                        1 West Old State Capitol Plaza
New York, NY 10038                         PO Box 194963                          Ste 400
                                           Springfield, IL 62701                  Springfield, IL 62701-1390



Illinois State Treasurers Office           Ima Inc                                Ima Leete Hutchison Estate
Unclaimed Property Div                     1705 17Th St Ste 100                   G E Peterson Iii Indp Co Exec
PO Box 19496                               Denver, CO 80202                       56 Sunny Glen
Springfield, IL 62794-9496                                                        Alpine, TX 798301007




Image Engine LLC                           Image Engine LLC                       Image Peak Systems
Steve Elston                               1400 Post Oak Blvd Suite 200           1713 Blue Mountain Ave
7170 West 43Rd Street Suite 150            Houston, TX 77056                      Berthoud, CO 80513
Houston, TX 77092
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Imice L Barnes                             Immaculate Heart Community           Imo Insley Sundin 1986 Trust
c/o Texas State Treasury                   5515 Franklin Avenue                 Judy And Randy Mills Co Trstes
Unclaimed Property Division                Los Angeles, CA 90028                101 Main
PO Box 12019                                                                    Doule Place
Austin, TX 78711-2019                                                           Florence, KS 66851



Imogene George                             Imogene Hardin Beasley               Imogene Leggett
1924 Franklin Street                       213 Foreman Drive                    PO Box 327
Irving, TX 75060                           Lafayette, LA 70506                  Joaquin, TX 75954




Imogene Mading Frierson                    Imogene Shull Green                  ImogeneHarold Herndon Charit
PO Box 4083                                2381 Fm 2428                         Frost NatL Bk Tr OilGas T 6
Shreveport, LA 71134                       Joaquin, TX 75954                    PO Box 1600
                                                                                San Antonio, TX 78296




Imojean Stone Peach                        Impact Chemical Tech Inc             Impact Energy Services
1105 Copper Still Circle                   PO Box 10887                         3124 N 16Th St
Kingston Spgs, TN 37082                    Midland, TX 79702-7887               Enid, OK 73701




Impact Energy Services                     Impact Equipment Rentals             Imperial Oil Company
PO Box 4346 Dept 2411                      PO Box 192                           c/o Texas Capital Bank
Houston, TX 77210-4346                     Palestine, TX 75802                  22499 Imperialvalley Dr
                                                                                Houston, TX 77073-1173




Imperial Operating Company LLC             Imperial Petroleum Inc F/A/O         Imperial Supply Co
414 W Texas Suite 308                      Salazar Brothers Drilling Inc        PO Box 647
Midland, TX 79701                          c/o Nacho Salazar                    Odessa, TX 79760--647
                                           PO Box 182
                                           Roswell, NM 87125



Ims Capital Management                     In Depth Geophysical Inc             Ina Lea Siler
450 Country Club Pkwy 325                  1660 Townhurst Dr                    3244 Castlerock Road
Eugene, OR 97401                           Ste A                                Oklahoma City, OK 73120
                                           Houston, TX 77043




Ina Susan Sanders                          Inberg Surveying Company             Indeca Energy Inc
2409 Lawson                                Inberg Miller Engineers              PO Box 342755
Kingsland, TX 786393805                    124 East Main Street                 Austin, TX 78734
                                           Riverton, WY 82501




Indeco Industrial Electric Co              Indeco Industrial Electric Company   Indemco
65 East Ave K                              Sarah Entzminger                     777 Post Oak Blvd Suite 330
San Angelo, TX 76903                       65 E Ave K                           Houston, TX 77056
                                           San Angelo, TX 76903




Independent Bank                           Independent Consultants Inc          Independent Glass Mirror Company Inc
PO Box 3035                                7600 Brandon Rd                      1322 West Erwin
Mckinney, TX 75070                         Big Spring, TX 79720                 Tyler, TX 757026909
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Independent Petroleum                    Independent Pump System Management LLC   India Ann Rader Stroope
Association Of America                   PO Box 837                               23 Rim Road
PO Box 79584                             Farmington, NM 87499                     Kilgore, TX 75662
Baltimore, MD 21279-0584




Indiana University Cr Union              Indiana University Foundation            Indigo Minerals LLC
PO Box 368                               Attn Real Estate Department              600 Travis Ste 5500
Bloomington, IN 47402-0368               PO Box 500                               Houston, TX 77002
                                         Bloomington, IN 47402




Indigo Minerals LLC                      Indigo Resources LLC                     Industrial Cleaning Systems
Msc 950                                  600 Travis Street Suite 5500             12038 Rivera Rd
PO Box 4580                              Houston, TX 47617                        Santa Fe Springs, CA 90670
Houston, TX 77210-4580




Industrial Contracting Testing Inc       Industrial Control Systems LLC           Industrial Electric Machinery
Po Drawer M                              70380 South M 66                         21818 S Wilmington Ave
110 S Main                               PO Box 718                               Suite 409
Arp, TX 75710                            Sturgis, MI 49091                        Carson, CA 90810




Industrial Electric Motors Inc           Industrial Emergency Services            Industrial Engine Service
838 South Canyon Street                  2805 S Darla Ave                         PO Box 510
Carlsbard, NM 88221-0926                 Gonzales, LA 70737-5122                  Mills, WY 82644




Industrial Scientific Corp               Industrial Scientific Corporation Inet   Industrial Sealing Lubrication Inc
PO Box 536476                            1 Life Way                               15430 S Keeler St
Pittsburgh, PA 15253-5906                Pittsburgh, PA 15205-7500                Olathe, KS 66062-2710




Industrial Supply Svc LLC                Industry Careers Network                 Industry Express Inc
PO Box 78359                             PO Box 31842                             11111 Wilcrest Green Ste 445
Shreveport, LA 71137                     Edmond, OK 73003-0031                    Houston, TX 77042




Ines J Ratcliff Tstmntry Trust           Inez C Rodriguez                         Inez Elizabeth Abney Furrh
Fbo James Dennis Ratcliff                109 West Scheffas                        3333 Octavia St
Robert H Ratcliff Ttee                   San Diego, TX 78384                      New Orleans, LA 70125
PO Box 765
Atlanta, TX 75551



Inez H Verhalen Life Estate              Inez Hardy Sanders                       Inez Hutchison Worley
c/o Rae Maun P/O/A                       1846 Redmond Rd                          1305 Ridgemont
10106 Lakeview Drive                     Longview, TX 75602                       Austin, TX 78723
Mabank, TX 75147




Inez LLC                                 Inez M Spangler                          Inez Reeves
PO Box 1087                              305 Tupelo Drive                         175 Sunnybrook Dr
Natchez, MS 39121                        West Monroe, LA 71291                    Longview, TX 75605-7653
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Inez Richardson                          Inez Tate Tst U/A Dtd 1/02/73     Inez W Taylor Decd
909 S Carter                             U/A Dated 1 2 73 Donald E         9807 Stratmore Cir
Marshall, TX 75970                       Chapin Successor Trustee P O      Shreveport, LA 71115
                                         Box 2280
                                         Casper, WY 82602



Infinistar Energy Services Lp            Infinity Power Controls LLC       Infostrategies Lc
9800 Centre Parkway                      1701 Decora Dr                    4341 Lindbergh Dr
Ste 150                                  Rock Springs, WY 82901            Suite 1000
Houston, TX 77036                                                          Addison, TX 75001




Infrastructure Resources LLC             ING Capital LLC                   Ing Capital Markets LLC
10740 Lyndale Ave S                      1325 Avenue Of The Americas       1325 Avenue Of The Americas
Suite 15W                                New York, NY 10019                New York, NY 10019
Bloomington, MN 55420




Ing Financial Ma                         Ingersoll Rand Company            Ingle Compressor Inc
Attn Steve Breaton                       Industrial Technologies           PO Box 1905
1325 Avenue of the Americas              15768 Collections Center Drive    Kilgore, TX 75663
New York, NY 10019                       Chicago, IL 60693




Inglis Brenda C                          Ingrid E Hackert                  Ingrid I Hazleton
1518 Newcastle                           PO Box 27024                      682 E Kitchen Dr
Abilene, TX 79601                        Lakewood, CO 80227                Port Neches, TX 77651




Ingrid Nissen                            Ingrid Y Arriola                  Inland Gas Corp
7410 Preston Road                        14 Duquesa                        2010 North Loop W Ste 103
Keithville, LA 71047                     Dana Point, CA 92629              Houston, TX 77018




Inland Oil Gas Company Inc               Inland Products Inc               Inland Royalty
572 Cr 433                               PO Box 1826                       PO Box 314
Chireno, TX 75937                        Kilgore, TX 75663                 Gilmer, TX 75644




Inland Royalty Company                   Inner Corridor Technologies Inc   Innommie LLC
PO Box 225                               3000 Wilcrest 195                 2815 Long Lake Dr
Sulphur Springs, TX 75482                Houston, TX 77042                 Shreveport, LA 71106




Innovative Electrix Inc                  Innovative Electronics            Innovative Geo Tech Resources
PO Box 1070                              PO Box 1367                       621 17Th Street
Downey Ca 90240, CA 90240                Stafford, TX 77497                Suite 1001
                                                                           Denver, CO 80293




Innovative Safety Services Inc           Inos Weaver                       Inos Weaver
9530 Hageman Rd Ste B 216                119 Private Road 1612             c/o Law Office of Dean A Searle PC
Bakersfield, CA 93312                    Longview, TX 75605                PO Box 910
                                                                           305 West Rusk Street
                                                                           Marshall, TX 75671
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Insperity                                Institute For Christian                Institute In Basic Life Principles Inc
19001 Crescent Springs Dr                Economics                              707 W Ogden Ave
Kingwood, TX 77339-3802                  PO Box 565                             Oakbrook, IL 60521
                                         West Fork, AR 72774




Institute Of Professional Learning LLC   Instrument Control Services            Instrument Service Inc
PO Box 680190                            6085 King Drive Suite 100              2100 N Ventura Ave
Marietta, GA 30068-0004                  Ventura, CA 93003                      Ventura, CA 93001




Instrument Technology Corp               Integrated Document Solutions Inc      Integrated Petroleum Technologies Inc
PO Box 1944                              615 Fountainview Dr                    1707 Cole Blvd Ste 200
Sebastopol, CA 95473-1944                Irving, TX 75039-4395                  Golden, CO 80401-3284




Integrated Petroleum Technologies Inc    Integrated Power Services LLC          Integrated Production Services Inc
1707 Cole Boulevard                      PO Box 601492                          11330 Clay Rd Ste 200
Suite 200                                Charlotte, NC 28260-1492               Houston, TX 77041-5588
Golden, CO 80401




Integrated Production Svcs LLC           Integrated Technologies LLC            Integrated Water Recovery Systems Lp
PO Box 201934                            4634 Glen Drive                        PO Box 2464
Dallas, TX 75320-1934                    Casper, WY 82604                       Longview, TX 75606




Integrity Drug Screening                 Intelek Inc                            Interact Pmti Inc
624 W Polk St                            1868 Kings Hwy Ste 120                 4567 Telephone Road Suite 203
Livingston, TX 77351                     Shreveport, LA 71103-3639              Ventura, CA 93003




Interactive Earth Sciences Corporation   Interface Security Systems LLC         Intermar Products Services Inc
730 17Th Street                          8339 Solutions Center                  PO Box 3140
Suite 999                                Chicago, IL 60677-8003                 Dept 575
Denver, CO 80202-3537                                                           Houston, TX 77253




Intermountain Inc                        Internal Revenue Service               Internal Revenue Service
4743 Westbury Drive                      500 N Capitol St Nw                    Attn Insolvency District Director
Fort Collins, CO 80526                   Washington, DC 20221                   31 Hopkins Plaza Room 1150
                                                                                Baltimore, MD 21201




Internal Revenue Service                 Internal Revenue Service               Internal Revenue Service
Centralized Insolvency Operation         Ogden, UT 84201-0038                   PO Box 105078
PO Box 21126                                                                    Atlanta, GA 303485078
Philadelphia, PA 19114




Internal Revenue Service                 Internal Revenue Service Withholding   Internal Revenue Services
PO Box 7346                              6500 West Freeway Suite 222            Carla Crump
Philadelphia, PA 19101-7346              Fort Worth, TX 76116                   Re Mary E Davros
                                                                                2600 Citiplace Suite 375
                                                                                Batone Rouge, LA 77279
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International Bank Of Commerce            International Lift Systems LLC        International Properties Inc
1200 San Bernardo Ave                     PO Box 941748                         2511 Willowick 203
Laredo, TX 78042-1359                     Houston, TX 77049-8748                Houston, TX 77027




International Risk Management Institute   International Snubbing Services LLC   International Western Company
12222 Merit Drive Suite 1450              190 Industries Ln                     10 1st Street East
Dallas, TX 75251                          Arnaudville, LA 70512                 Willistown, ND 58801




Interprise The Design Resource            Interstate Foundation Co Inc          Interstate Personnel Services
5080 Spectrum Drive Suite 115E            PO Box 5819                           361 Van Nes Way 302
Addison, TX 75001                         Bossier City, LA 71171-5819           Torrance, CA 90501




Intertech Environmental Engineering       Intertek Usa Inc                      Intesolv Inc
Susan Babbitt                             PO Box 416482                         PO Box 27514
3821 Beech St                             Boston, MA 02241-6482                 Austin, TX 78755
Laramie, WY 82070




Intouch Credit Union                      Intralinks Inc                        Intrepid Production Corp
PO Box 250169                             PO Box 392134                         707 17Th St
Plano, TX 75025-0169                      Pittsburg, PA 15251-9134              Denver, CO 80202




Inverness Properties LLC                  Inversiones Jr Sa                     Invesco Asset Management Japan Ltd
2 Inverness Drive East                    Marcelo T De Alvear 636 Piso 6        Two Peachtree Pointe
Suite 200                                 Buenos Aires C1058Aah                 1555 Peachtree Street N E Suite 1800
Englewood, CO 80112                       Argentina                             Atlanta, GA 30309




Inveshare Inc                             Investex Credit Union                 Investors Mortgage Corp Of
PO Box 568                                8404 FM 1960 Bypass West Road         Shreveport Inc
Alpharetta, GA 30009-0568                 Humble, TX 77338                      PO Box 6131
                                                                                Bossier City, LA 71111




Inwood National Bank                      Iola Renee Poncho Life Estate         Ionia Butler Manning
7621 Inwood Rd                            4305 Traditional Way                  7705 Jefferson Cir
Dallas, TX 75209                          Shawnee, OK 74804                     Colleyville, TX 76034




Ionia Hill White                          Ionia Palmer                          Ioof Home For The Aged
4822 Potrero Ave                          1711 Canary Street                    3440 W 2nd Ave
Richmond, CA 94804                        Monroe, LA 71201                      Corsicana, TX 75110




Ioof OrphanS And ChildrenS                Ios                                   Iph Minerals Ltd
3440 W 2nd Ave                            PO Box 397                            321 Rosemary
Corsicana, TX 75110                       Youngsville, LA 70592                 San Antonio, TX 78209
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Ipreo Data Inc                           Ipreo Holdings LLC                     Ips Integrated Power Services LLC
General Post Office                      1359 Broadway 2nd Floor                1020 S Lipan St
PO Box 26886                             New York, NY 10018                     Denver, CO 80223-2719
New York, NY 10087-6886




Iqa Solutions Inc                        Ira A Wilson                           Ira D Blackburn Family Trust
PO Box 15693                             279 Sand Hill Rd                       Norma Jean Blackburn Trustee
Long Beach, CA 90815                     Quitman, LA 71268                      7520 West Northwest Highway 5
                                                                                Dallas, TX 75225




Ira F Leeds                              Ira Fbo Daniel Harrison                Ira Fbo Daniel Harrison
16 Sutton Place                          Pershing Llc As Custodian              Pershing Llc As Custodian
New York, NY 10022                       Roth Account                           Houston, TX 77006-2426
                                         2427 Ralph St
                                         Houston, TX 77006-2426



Ira Fbo Kenneth B Hatfield               Ira Fbo Robert E Kirkweg               Ira Fbo William Borra
Pershing Llc As Custodian                Td Ameritrade Clearing Inc Custodian   Pershing Llc As Custodian
Rollover Account                         9547 Edgerton Dr Unit 405              Rollover Account
3218 Sprucewood Rd                       Myrtle Beach, SC 29572-5100            138 Bella Vista Terrace Unit C
Wilmette, IL 60091-1111                                                         North Venice, FL 34275-6733



Ira G Walker Et Ux                       Ira L Zeagler                          Ira Lee Halton
Betty Ann Walker                         613 Wellington St                      Route 6 Box 187
165 Kerwin Ave                           Tyler, TX 75703-4664                   Longview, TX 75603
Oakland, CA 94603




Ira Lee Morgan                           Ira M Deemar Trust                     Ira Pump Supply Co Inc
Trustee Of The Family Trust              Ira M Deemar Trustee                   Box 29
U/W Lucy Lynn Strain Morgan              PO Box 625                             Ira, TX 79527
3469 Bayou Crossing Drive                South Haven, MI 49090
Shreveport, LA 71105



Ira Steven Bounds                        Ira Stone Lori Stone Jt Ten/Wros       Ira Wati Kempf
411 Perry Place                          3740 South Ocean Boulevard Apt 1407    13026A Trail Hollow Dr
Carthage, TX 75633                       Highland Beach, FL 33487-3405          Houston, TX 77079




Irene B Lachle                           Irene Baugh Holley Or Office           Irene C Cobb
Loretta Lachle David Aif                 Of Tx St Comptroller                   11100 E 61st St
The Guest House Room 805                 Unclaimed Property Division            Raytown, MO 64133
Shreveport, LA 71118                     PO Box 12608 Capitol Station
                                         Austin, TX 78711



Irene E Halton                           Irene G Yancey                         Irene Gill
3619 Gale Ave                            842 Mccormick                          c/o Texas State Treasury
Long Beach, CA 908102237                 Shreveport, LA 71104                   Unclaimed Property Division
                                                                                PO Box 12019
                                                                                Austin, TX 78711-2019



Irene H Holder Crat                      Irene H Reinert                        Irene Hamner Holder
Argent Trust Trustee                     c/o Eric Reinert                       c/o Argent Trust
PO Box 1410                              10108 Tori Lane                        PO Box 1410
Ruston, LA 71273-1410                    Breinigsville, PA 18031                Ruston, LA 71273
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Irene Henderson                         Irene Holmes Yancey                    Irene L Hosford
203 Town East Rd                        13627 Mansor Dr                        Deerfield Royalties Llc
Henderson, TX 75654                     Houston, TX 77041                      5919 Over Downs Drive
                                                                               Dallas, TX 75230-4044




Irene Lewis                             Irene Mclaughlin                       Irene S Chadwick Life Estate
5545 Sky Parkway Apt 61                 4993 Mack Rd Apt 330                   14120 Ne 63Rd Ct
Sacramento, CA 95823                    Sacramento, CA 95823-6462              Redmond, WA 98052




Irene Thomas Muller                     Irene Trust Established Under Samuel   Irene Watkins
213 Audubon Dr                          Della Pearlman Tst Dtd 7/21/78         627 County Road 3659
Ruston, LA 71270                        c/o Mark J Breckler Co Ttee            Queen City, TX 75572
                                        1135 Fresno Avenue
                                        Berkley, CA 94707



Irene Z Beck                            Irene Zuckerman Laurie Shapiro         Ireservoir Com
Rr 2 Box 315                            Amy Cohan Elaine Landes Ttees          c/o Wang Company Cpas
Ruston, LA 71270                        Irene E Zuckerman Rev Tr               Attn Chris Pernitza
                                        23287 Blue Water Cir Apt A202          10310 Westpark Drive
                                        Boca Raton, FL 33433-7017              Houston, TX 77042



Iris Annell Mccoy Smith                 Iris Bozant                            Iris Gerber Damson Assoc LLC
4110 Auburn                             78 Breezy Point Pl                     c/o Cuddy Feder Llp
Lake Charles, LA 70605                  Spring, TX 77381-3282                  445 Hamilton Ave 14Th Fl
                                                                               White Plains, NY 10601




Iris Goldston Ltd                       Iris Laverne Snoddy                    Iris Mccauley Shepherd
PO Box 570365                           923 E 25Th Street                      7961 State Highway 87 N
Houston, TX 77257                       Los Angeles, CA 900111626              Timpson, TX 75975




Iris Price Freeman Hesla                Iris Toler Tackett                     Irish Family LLC
342 Hideway Lane Central                Route 1 Box 1692                       Bette W Irish Manager
Hideaway, TX 75771                      Shell Knob, MO 65747                   515 Spring Lake Drive
                                                                               Shreveport, LA 71106




Irish Judie Cockrell                    Irma Dean Woodard Beasley              Irma Dunn Moore
4622 Fm 139                             2820 Shelduck Dr                       PO Box 311990
Joaquin, TX 75954-5630                  Mesquite, TX 75181                     New Braunfels, TX 78131-1990




Irma Fields Davis                       Irma G Mchenry Agent Aif               Irma Joe Allen
2302 Cooktown Rd                        For Earnestine Giles Hall              511 Anglewood Dr
Ruston, LA 71270                        1400 South Trinton                     Richardson, TX 75081-4804
                                        Ruston, LA 71270




Irma L Parish                           Irma Lea Karabian                      Irma Roberson Davis Sep Prop
PO Box 252                              2562 E Christopher                     14202 Tuolumne Court
Smithville, TX 78957                    Fresno, CA 93720                       Fontana, CA 92336
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Irongate Energy Services LLC           Irongate Energy Services LLC        Irongate Rental Services LLC
19500 State Highway 249 Ste 600        PO Box 204423                       19500 State Highway 249 Ste 600
Houston, TX 77070-3065                 Dallas, TX 75320-4423               Houston, TX 77070-3065




Irongate Rental Services LLC           Irongate Tubular Services LLC       Irongate Tubular Services LLC
PO Box 204427                          19500 State Highway 249 Ste 600     PO Box 204423
Dallas, TX 75320-4427                  Houston, TX 77070-3065              Dallas, TX 75320-4423




Ironhorse Resources LLC                Ironplanet                          Ironwood Oil And Gas LLC
216 16Th Street                        3825 Hopyard Rd Ste 250             PO Box 4259 Mse 500
Ste 1200                               Pleasanton, CA 94588-2787           Houston, TX 77210-4259
Denver, CO 80202




Irs Acs Support                        Irs Acs Support Stop 813G           Irs Levy Proceeds
F/B/O Kermit C Moore Jr                F/B/O Frank C Morris                Marion R Uttley Act 427225042
Acct 100486349                         PO Box 145566                       Acs Support
PO Box 57                              Cincinnati, OH 45250                PO Box 57
Bensalem, PA 19020-0057                                                    Bensalem, PA 19020-0057



Irvin Andreu Wilhite                   Irvin Autro Scott                   Irvin B Janis Ann Beren Trust B 1
PO Box 77175                           426 Atlantic Ave Apt 10             PO Box 1256
Baton Rouge, LA 70879                  Long Beach, CA 90802-2538           Athens, TX 75751




Irving Deemar Trust U/A/D 9/23         Irving Deemar Trust U/A/D 9/23/92   Irving Isd
c/o Sharon Deemar Szachowicz           c/o Sharon Deemar Szachowicz        PO Box 152021
PO Box 566                             PO Box 566                          Irving, TX 75015-2021
Ira M Deemar Co Trustees               Ira M Deemar Co Trustees
Morton Grove, IL 60053                 Morton Grove, IL 60053



Irving Stupak And Deana Stupak         Irw Holding Company LLC             Irwin Industries Inc
4109 Evergreen                         711 Louisiana Ste 1600              1580 W Carson Street
Waco, TX 76710                         Houston, TX 77002                   Long Beach, CA 90810




Irwin Industries Inc                   Irwin June Cullen                   Isaac G Ward
PO Box 973269                          c/o James B Irwin                   4856 Robbins Country Rd
Dallas, TX 75397-3269                  400 Poydras St Suite 2700           Trinity, NC 27370
                                       New Orleans, LA 70130




Isaac H Lane                           Isaac Israel Reeves                 Isaac Robinson
425 Palmerston St                      PO Box 207                          Address Redacted
River Rouge, MI 48218                  Tenaha, TX 75974




Isaac Stark Jr                         Isaac T Brasseal                    Isabel M Elkins Testamentary Tr
c/o Texas State Treasury               12578 Hwy 157                       For W S Elkins W S Elkins Ttee
Unclaimed Property Division            Haughton, LA 71037                  c/o W S Elkins Jr
PO Box 12019                                                               8729 Jacksonville Cato Rd
Austin, TX 78711-2019                                                      Sherwood, AR 72120
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Isabel M Hall Trust                    Isabel Mcrae Koch              Isabel R Caven
Sidney H Swearingen Susan S            PO Box 540244                  2806 Scenic Dr
Oelsen Succ Co Trustees                Houston, TX 77254              Austin, TX 78703
112 East Pecan 1800
San Antonio, TX 78205



Isabel Waters Sanders                  Isabelle A Ewan                Isabelle Johnson Adams
1217 Washington Ave                    109 1 2 W Second St            2215 Hwy 62 412
New Orleans, LA 70130                  Maysville, KY 41056            Hardy, AR 72542




Isac Favela                            Isadean Lewis Mcglothen        Isaiah Davis
Address Redacted                       PO Box 823                     10627 Oak Gate Lane
                                       Grambling, LA 71245            Dallas, TX 75217




Isaiah Poncho                          Isco Industries Inc            Ishuttle LLC
4305 Traditional Way                   1974 Solutions Center          9045 Ellerbe Rd Ste 104
Shawnee, OK 74804                      Chicago, IL 60677-1009         Shreveport, LA 71106-6799




Isiah Pierce                           Island Express Helicopters     Isler Oil Lp
318 W Pecan St                         PO Box 2249                    PO Box 5414
El Dorado, AR 71730                    Avalon, CA 90704               Kingwood, TX 77325




Isn Software Corporation               Isotech Laboratories Inc       Israel Rudy Estate
Joseph Eastin                          PO Box 301003                  R Alan Rudy Sol Kobb
3232 Mckinney Avenue Suite 1500        Dallas, TX 75303-1003          Co Indp Execs
Dallas, TX 75204                                                      PO Box 545
                                                                      Louisville, CO 80027



Isramco Energy LLC                     Isreal R Dunn Jr               Issuer Services
2425 West Loop South                   116 Holloway Street            c/o ADP Proxy Services
Suite 810                              Camden, AR 71701               51 Mercedes Way
Houston, TX 77027                                                     Edgewood, NY 11717




Issuer Services                        Issuer Services                IsT Consulting Group LLC
c/o Broadridge                         c/o Mediant Communication      1000 N Post Oak Rd Suite 200
51 Mercedes Way                        8000 Regency Parkway           Houston, TX 77055
Edgewood, NY 11717                     Cary, NC 27518




IsT Staffing Group LLC                 It Nexus Inc                   It Nexus Inc Nda
1000 N Post Oak Rd Suite 200           Brian Besier                   Brian J Besier
Houston, TX 77055                      4925 Greenville Ave Ste 200    4925 Greenville Ave
                                       Dallas, TX 75206               Dallas, TX 77429




It Nexus Inc                           Itc Inc                        Itero Energy LLC
4925 Greenville Ave                    PO Box 742766                  6655 S Lewis
Suite 200                              Dallas, TX 75374               Suite 200
Dallas, TX 75206-0500                                                 Tulsa, OK 74136
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Itr Petroleum Inc                          Iulia Croitoru                   Iva Goldsmith Davis
c/o Donald W Hecker                        Address Redacted                 136 Lincoln Avenue
1300 Main St Ste 512                                                        Ruston, LA 71270
Houston, TX 77002




Iva Grigsby Thompson Decd Esch             Iva Harral Collins               Iva M Culberson Deceased In July 2005
217 Preston Ave                            c/o Beth Hostein                 PO Box 35
Shreveport, LA 71105                       601 North Rio                    Joaquin, TX 75954-5954
                                           Fort Stockton, TX 79735




Iva M Culberson Trust Uwo                  Iva Mae Copeland Davis           Iva Nell Hilburn
Larry Douglas Cogswell Trtee Fbo Allison   7151 Us 79 South                 448 Mc Cormick St
Amie Dani Rachel Rebecca Eaves             Henderson, TX 75652              Shreveport, LA 71104
PO Box 114
Joaquin, TX 75954



Iva Nell Hilburn Tanguis                   Iva Nell Soape                   Ivan Bradshaw
427 Loop Road                              4180 Fm 1970                     10505 Longmeadow Dr
Monroe, LA 71201                           Carthage, TX 75633               Dallas, TX 75238-2826




Ivan E Hibbets And Vera Irene Hibbets      Ivan Eugene Mustain Living Trs   Ivan Hardin
1520 Bennie Breece                         Jance R Openshaw Succes Ttee     1408 Hayes Street
West Monroe, LA 71292                      7106 W Julie Drive               Palestine, TX 75801
                                           Glendale, AZ 85308




Ivan Lee Hood                              Ivan S Osborn                    Ivan Villery
170 Meadowview Lane                        804 S 4 St                       2101 Monterrey
Ruston, LA 71270                           Le Sueur, MN 56058               Orange, TX 77630




Ivanette Sanford Albritton                 Ivey Motor Company Inc           Ivin Hood
647 L Albritton Road                       PO Box 509                       170 Meadowview Ln
Bernice, LA 71222                          Robert Lee, TX 76945             Ruston, LA 71270




Ivin Lee Hood Elizabeth Ann                Ivon Sipes For Life              Ivory Acquisition Partners Lp
Fowler Hood                                1520 E Jackson                   PO Box 301383
170 Meadowview Lane                        Monticello, AR 71655             Dallas, TX 75303
Ruston, LA 71270




Ivory Davis                                Ivory Energy LLC                 Ivory J Starling
606 Stone Canyon Dr                        910 Lamar St                     15851 South Highway 135
Irving, TX 75063                           Wichita Falls, TX 76301          Overton, TX 75684




Ivory W Turner                             Ivy Elizabeth Baremore           Ivy Minerals LLC
265 Sand Hill Rd                           PO Box 20185                     c/o Ljm Corporation Agent
Quitman, LA 71268                          Panama City Beach, FL 32417      3843 N Braeswood Blvd Ste 200
                                                                            Houston, TX 77025
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Ivy Minerals Louisiana                  Ivy R Barnes And                    Iwhs Fort Worth Health Care Corp
c/o Ljm Corporation Agent               Margie Lee Wilbans Barnes           Agcy 4319
3843 North Braeswood                    102 Dianne Street                   Nations Bank Of Texas Agent
Houston, TX 77025                       West Monroe, LA 71292               PO Box 840738
                                                                            Dallas, TX 75284-0738



Iyamu Ikponmwosa C                      J A Acquisitions                    J A Edmonson Inc
Address Redacted                        219 Belmead Ln                      PO Box 55455
                                        Tyler, TX 75701                     Valencia, CA 91385




J A Elkins Jr Appt Tree                 J A Elkins Jr Appt Tree             J A Elkins Jr Appt Tree
For James A Elkins Iii                  For Leslie Keith Elkins Sasser      For Margaret Elise Joseph
PO Box 56429                            PO Box 56429                        PO Box 56429
Houston, TX 77256-6429                  Houston, TX 77256-6429              Houston, TX 77256-6429




J A Elkins Testamentary                 J A Elkins Testamentary Trust       J A Elkins Trust For J A Elkins Jr
Trust For W S Elkins                    For J A Elkins Jr                   By J A Elkins Jr Trustee
W S Elkins Ttee                         Travis Property Management Llc      1166 First City Tower
8729 Jacksonville Cato Road             PO Box 56429                        Houston, TX 77002
Sherwood, AR 72120                      Houston, TX 77256-6429



J A Elkins Tte Isabel M Elkins Trs      J A Gill Family Limited Partne Ip   J A Jim Connell
1166 First City Tower                   303 Veterans Airpark Lane           2117 Patton St
1001 Fannin                             Suite 1100                          Hoover, AL 35226-2530
Houston, TX 77002                       Midland, TX 79705




J A Jordan Trucking Inc                 J A Kaufman Jr Estate               J A Kay Roofing L L C
12051 N County Road 9                   Beverly Brown Kaufman Indep Ex      18 Spring Valley Circle
Wellington, CO 80549                    6820 Redding Road                   Longview, TX 75605
                                        Houston, TX 77036




J A Oilfield Seervices LLC              J A Perez Construction Inc          J A Watson
2701 Cloud Court                        PO Box 773                          12922 Cr 496
Rock Springs, WY 82901                  Hebbronville, TX 78361              Tyler, TX 75706




J A Watson Estate                       J A Wojtkiewicz                     J And J Hauling Service
Walter Wayne Sheffield Ind Exe          625 Market St Ste 250               2610 W 145 St
7750 Chelsea Pl                         Shreveport, LA 71101                Gardena, CA 90249
Beaumont, TX 77706




J And J Well Service                    J Andrew Dunn                       J Aron Company
Jim Southerland                         3800 S Spruce Street                200 West Street
PO Box 686                              Denver, CO 80237                    New York, NY 10282
Lone Grove, OK 73443




J B Brady Jr                            J B Cox                             J B Daniel
11390 Mcgallion Road                    3389 Brunes Mill Road               PO Box 63473
Houston, TX 77076                       Columbus, TX 78934                  Pipe Creek, TX 78063
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J B Dilworth                               J B Morris                    J B Oil Venture LLC
400 Fm 534                                 114 Park Laurette             475 Regency Blvd
Sandia, TX 78383                           Houston, TX 77024             Shreveport, LA 71106




J B Partnership                            J B Phillips                  J B Reeves Jr Estate
3108 N Trenton St                          5300 Crawford Rd              119 Whippoorwill Way
Ruston, LA 71270                           Santa Teresa, NM 88008-9624   Georgetown, TX 78633-4824




J B Reeves Sr Or Texas State Comptroller   J B Septic Tanks              J B W Royalties
Unclaimed Property Division                3032 N Us Hwy 281             21154 Fm 95 South
PO Box 12608                               Alice, TX 78332               Mt Enterprise, TX 75681
Austin, TX 78711




J B Warren Properties Lp                   J Bar Properties LLC          J Bart Aldridge
3108 N Trenton                             4100 Ridgemont                411 Fall Creek Drive
Ruston, LA 71055                           Ruston, LA 71270              Richardson, TX 75080




J Beecher Wood Family LLC                  J Ben Webster                 J Ben Webster Cynthia Webster
943 Southfield Road                        PO Box 38                     PO Box 38
Shreveport, LA 71106                       Joaquin, TX 75954             Joaquin, TX 75954




J Bodean LLC                               J Bower Stuart Ugma/Tx        J Brannon Jones
529 North 4Th St                           1505 Legend Lake Cir          4602 Braeburn Drive
San Jose, CA 95112                         Laurel Lindberg Custodian     Bellaire, TX 774015502
                                           Silverthorne, CO 80498




J Brex Company                             J Byron Moore                 J C Anderson
619 South Tyler Suite 100                  5050 Ambassador Way No 304    1600 324 8h Avenue SW
Amarillo, TX 79101                         Houston, TX 77056             Calgary, AB T2P 2Z2
                                                                         Canada




J C Anderson                               J C Anderson Jr               J C Cape
2085 Vandinther Dr Apt 9                   2621 E 33Rd St                PO Box 5090
Muskegon, MI 49441-2775                    Tulsa, OK 741052317           Longview, TX 75608




J C Cooks                                  J C Crowe                     J C Graves Jr
2508 Evans Street                          PO Box 91010                  1610 Bradley Street
Marshall, TX 75670                         Baton Rouge, LA 70821         Bossier City, LA 71112




J C Hogan                                  J C Investments Inc           J C Jackson Jr Trust
551 Cedar Hill Rd                          106 Esplande Place            c/o Texas Comptroller Of Public Accounts
Grand Cane, LA 71032                       West Monroe, LA 71291         Unclaimed Property Division
                                                                         PO Box 12019
                                                                         Austin, TX 78711-2019
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J C Landrom Jr                         J C Landrum                    J C Leggett
332 W 16Th St                          1636 Bayview Heights Drive 2   And Imogene Leggett
San Bernardino, CA 92405               San Diego, CA 92105            Box 327
                                                                      Joaquin, TX 75954




J C Mathews                            J C OBrien LLC Estate          J C Pool Family Partnership Ltd
600 F M 2011                           5925 Line Ave 8                John Charles Pool Gen Partner
Longview, TX 75603                     Shreveport, LA 71106-2049      Route 3 Box 519 135
                                                                      Jasper, TX 75951




J C Services LLC                       J C Stewart Deceased           J C Trevino Jr
PO Box 39                              409 East Montgomery            Box 333
Loco Hills, NM 88255-0039              Spokane, WA 99207              Laredo, TX 78042




J C Well Service Inc                   J Clayton Lagrone              J Clayton Lagrone Family Trust
PO Box 51                              1056 Cr 445                    Sidna Lagrone Trustee
Farmington, NM 87401                   Carthage, TX 75633             PO Box 627
                                                                      Carthage, TX 75633




J Cleo Thompson And James Cleo         J Cleo Thompson James Cleo     J Clyde Tomlinson Estate
Thompson Jr Lp                         Thompson Jr Royalty Acct       M P Tomlinson Et Al C0 Execs
325 North St Paul Suite 4300           325 N St Paul Ste 4300         PO Box 6260
Dallas, TX 752013993                   Dallas, TX 75201               Longview, TX 75608




J D And Diann Holmes                   J D Clay LLC                   J D Crow LLC
667 First Street                       PO Box 7585                    900 Pierremont Rd Ste 221
Arcadia, LA 71001                      Tyler, TX 75711                Shreveport, LA 71106




J D D J York Living Trust Dtd 2 3 11   J D Dixson                     J D Entertainment LLC
Jack D York Deborah J York Trustees    c/o Texas State Treasury       1911 Wagon Gap Trail
PO Box 588                             Unclaimed Property Division    Houston, TX 77090
Tatum, TX 75691                        PO Box 12019
                                       Austin, TX 78711-2019



J D Glasscock                          J D Sonnyia Duffee             J D Stovall Indp And Exec
PO Box 519                             3062 Callahan Rd               Oeo Annie Mae Phillips
Columbus, TX 78934                     Longview, TX 75602             5960 Sue Belle Lk Road
                                                                      Marshall, TX 75670




J D Sutton Inc                         J D W Services Inc             J D Youngblood Iii Trust
297894 State Highway 53                Po Drawer 1523                 PO Box 1410
Loco, OK 73442                         Gladewater, TX 75647           Ruston, LA 71273




J Drew Tennyson                        J E Abernathy                  J E Braas
125 West 5Th Street                    308 Brook Lane                 c/o Todd Preston
El Dorado, AR 71730                    Mc Kinney, TX 75069            18877 Nature Lane
                                                                      Eden Prairie, MN 55346
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J E Enterprises                            J E L E Mabee Foundation Inc              J E Lagrone Jr
Light Hauling                              401 South Boston Avenue                   4206 Balcones Dr
4715 Hwy 270 West                          Suite 3001                                Austin, TX 78731
Wilburton, OK 74578-9635                   Tulsa, OK 74103




J E Loughran                               J E Randall Or Texas State Comptroller    J E Smith Family Trust
4904 Sunset Dr                             Unclaimed Property Division               Betty J Smith And James L Smith Co Tru
Ralston, NE 68127                          PO Box 12608 Capitol Station              1609 Timothy St
                                           Austin, TX 78711                          Henderson, TX 75654




J Earl Isonhood                            J Edwin Sale                              J F Holleman Wife Betty R Holleman
PO Box 507                                 PO Box 320                                115 Milo Street
Vivian, LA 71082                           Kings Mills, OH 45042                     Dayton, TX 77535




J F Mcilwain                               J G And Essie Spurlock                    J G Bookhout And M L Bookhout
PO Box 6038                                PO Box 273                                O G Partners Ltd
New Orleans, LA 70174-6038                 Joaquin, TX 75954                         PO Box 25065
                                                                                     Dallas, TX 752251065




J G Morris A/K/A James Gregory Morris      J G Sonya Keeling                         J Grant Gomez
405 Cr 119                                 1060 County Road 414                      c/o Texas Comptroller Of Public Accounts
Carthage, TX 75633                         Dayton, TX 77535                          Unclaimed Property Division
                                                                                     PO Box 12019
                                                                                     Austin, TX 78711-2019



J H Busbee                                 J H Rosenbaum Exmpt Marital Tr            J H Walters Bouna Walters
Rr 2 Box 5                                 Phlip M Weinstein Ttee                    c/o Texas State Treasury
San Augustine, TX 75972-9802               43 Paisley St                             Unclaimed Property Division
                                           London, ON N5X 3H9                        PO Box 12019
                                           Canada                                    Austin, TX 78711-2019



J Harman Chandler                          J Hayden Fry                              J Hendricks Hightower Family 1995 Trust
6920 East Ridge Drive                      1069 Calais Circle                        1701 Jackson Hole Cv
Shreveport, LA 71106                       Mesquite, NV 89027-8803                   Austin, TX 78746-7634




J Henricks Hightower                       J Hiram Moore Ltd                         J Hiram Moore Ltd
2801 E Travis R 109                        16400 North Dallas Pkwy                   PO Box 842421
Marshall, TX 75672                         Ste 400                                   Dallas, TX 75284
                                           Dallas, TX 75248




J Howard Marilyn Stroebel                  J I L Oil Corp                            J I Roberts Testamentary Trust
PO Box 449                                 PO Box 791910                             For The Children Of Barbara Joyce
Fruitland, ID 83619                        San Antonio, TX 78279-1910                Roberts Carlton Robert G Pugh
                                                                                     PO Box 7127
                                                                                     Shreveport, LA 71137-7127



J I Roberts Testamentary Trust             J I Roberts Testamentary Trust            J I/Bg Roberts Roberts Trust
For The Children Of Bruce Graham Roberts   For The Children Of Jennifer A R Beason   J I Roberts Trust Children Of
Robert G Pugh Trustee                      Robert G Pugh Trustee                     Robert G Pugh Trustee
PO Box 7127                                PO Box 7127                               PO Box 7127
Shreveport, LA 71137-7127                  Shreveport, LA 71137-7127                 Shreveport, LA 71137-7127
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J I/Bjr Carlton Roberts Trust           J I/Ja Beason Roberts Trust     J J B Hilliard
J I Roberts Trust Children Of           J I Roberts Trust Children Of   Attn James Hildebrandt
Robert G Pugh Trustee                   Robert G Pugh Trustee           500 West Jefferson Street
PO Box 7127                             PO Box 7127                     Louisville, KY 40202
Shreveport, LA 71137-7127               Shreveport, LA 71137-7127



J J B Hilliard                          J J Meeker                      J J Meeker Lifetime Tr Uwo
Attn Tania Miles                        D/B/A Meeker Investments Inc    Edna Hill Meeker J J Meeker
J J B Hilliard W L Lyons LLC            1080 Marina Village Pkwy        Robert W Debolt Mimi Atwood
500 West Jefferson Street               D Ste 530                       1080 Marina Valley Pkw Suite 530
Louisville, KY 40202                    Alameda, CA 94501               Alameda, CA 94501



J J Partnership                         J J Pipe Supply Inc             J J Richard
900 Pierremont Suite 221                PO Box 276                      7370 South Eudora Ct
Shreveport, LA 71106                    Ganado, TX 77962                Littleton, CO 80122




J J Transport Services LLC              J Jane Alt Estate               J K L Parrott I LLC
PO Box 10                               M A Boyd Admin                  C/O Hibernia National Bank
Pecos, TX 79772                         80 B Chestnut Ridge Dr          PO Box 1030
                                        Clarion, PA 16214               Alexandria, LA 71309




J K L Parrott Ii LLC                    J K Pipe Sales And Service      J Kevin Giglio Ttee
c/o Hibernia National Bank              2466 Fm 597                     J Kevin Giglio Md Employees
PO Box 1030                             Morton, TX 79346                1801 N Loop West Ste 10
Alexandria, LA 71309                                                    Houston, TX 77008




J L Brady Co                            J L Exploration LLC             J L Fluid Services LLC Dba
Attn Mike Timm                          PO Box 1308                     Advantage Fluid Services Llc
4831 41st Street                        Edmond, OK 73083                12608 Hwy 84 East
Moline, IL 61265                                                        Joaquin, TX 75954




J L Partners                            J L Smotherman                  J L Trucking LLC
PO Box 700397                           Attn Mattie Ho Ramsey           5773 Woodway Drive Box 31
Dallas, TX 75370                        810 Prious Street               Houston, TX 77057
                                        New Iberia, LA 70560




J L Tune Jr                             J Lawrence Green Trust          J Liston Roberts
Route 2 Box 2982                        c/o Robert Barnhill Iii         10 Royal Terrace Ct
Mineola, TX 75773                       PO Box 129                      Dallas, TX 75225
                                        Lubbock, TX 79408




J Lorene Vansickle                      J Lyn Poage                     J M Energy Services Lp
Nancy Jean Vansickle Chapel Ttees       2 1 Redwood Ln                  PO Box 386
J Lorene Vansickle Surv Trst Utad       Levelland, TX 79336             Monahans, TX 79756
70397 Buckhorn Rd
Terrebonne, OR 97760



J M Flaitz                              J M Mineral Land Co Inc         J M Premier Services Inc
PO Box 99910                            PO Box 1015                     Paul S Woodard Jr
San Diego, CA 92169                     Midland, TX 79702               12969 N Us Hwy 79
                                                                        Palestine, TX 75801
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J M Premier Services Inc                  J M Roberts                           J Macrobert Shephert Thompson
PO Box 1089                               c/o Louisiana State Treasury          1202 Calista Ln
Frankston, TX 75763-1089                  Unclaimed Property Division           Phoenixville, PA 19460-2100
                                          One City Plaza 445 N Blvd 7th Floor
                                          Baton Rouge, LA 70802



J Marc Cottrell Trust                     J Mark Gresham                        J Mark Mann
PO Box 39                                 PO Box 662                            610 Richardson Dr
Meade, KS 67864                           Wharton, TX 77448                     Henderson, TX 75654




J Mark Smith Associates Inc               J Marshall Jones Jr                   J Max Enterprises
7485 Phelan Blvd                          2124 Fairfield Avenue                 741 Anita Road
Beaumont, TX 77706                        Shreveport, LA 71104                  Lake Arthur, NM 88253




J Maxime Roy Jr                           J Michael Mahaffey                    J Mike Rowan
1012 Kim Dr                               PO Box 311643                         PO Box 6784
Lafayette, LA 70503                       New Braunfels, TX 78131               Tyler, TX 757116784




J Milton Buie                             J Murray And Irene M Kidd             J N Leasing
5827 Meaders Ln                           Marilyn K Burris Trustee              208 Middle Rd
Dallas, TX 75230-5060                     4838 Vera Cruz                        Dubberly, LA 71024
                                          Garland, TX 75043




J Neal Garland                            J O Mccreight Trust                   J O Wood Family Lp
430 North Center 110                      Betty Jo Mccreight Trustee            Melinda Wood Agent
Longview, TX 75601                        2910 N Eastman Road 132               995 County Road 4371
                                          Longview, TX 756055032                Decatur, TX 76234




J P Austin                                J P Davis Childrens Trust             J P Morgan
277 Briarbend Blvd                        2203 Oak Alley                        Attn Howard Widdoes
Powell, OH 43065                          Tyler, TX 75703                       Correspondence Clearing/Proxy Services
                                                                                14201 Dallas Pkwy Ste 121
                                                                                Dallas, TX 75254



J P Morgan                                J P Morgan Secu                       J P Morgan Secu
Attn Sachin Goyal                         Attn Dradriana Laramore               Attn Drwilliam Sorensen
383 Madison Ave 10Th Floor                Proxy Services                        Attn Sei Default Proxy Voting
New York, NY 10179                        14201 Dallas Pkwy Ste 121             14201 Dallas Parkway 12Th Floor
                                          Dallas, TX 75254                      Dallas, TX 75254



J P Williams Trust U W                    J P Wright Family Partnershp          J P Zachry
PO Box 1312                               PO Box 1706                           400 Tower Life Building
San Angelo, TX 76902                      Longview, TX 75606                    310 S St MaryS Street
                                                                                San Antonio, TX 78205




J Patrick Corrigan                        J Paul Mathis                         J Paul Painter DecedentS Trust B
PO Box 690068                             8871 E Eastern Place                  Joan M Painter Trustee
Vero Beach, FL 32969                      Centennial, CO 80112                  406 Hampton Ct
                                                                                Longview, TX 75605
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J Phil Ferguson                          J R Allen                       J R Emma C Brannon
1502 Rancho Drive                        PO Box 545                      Scholarship Fund
Mesquite, TX 75149                       Woodsboro, TX 78393             First State Bank Tr Co Trustee
                                                                         PO Box 579
                                                                         Carthage, TX 75633



J R French                               J R Garner Jr Estate            J R Loe LLC
200 Bailey Ave 102                       Lucille Garner Indp Exec        James Robbie Loe Co Managers
Ft Worth, TX 76107                       C/O William Lee Beard           2463 Corley Street
                                         PO Box 561                      Arcadia, LA 71001
                                         Longview, TX 756060561



J R Munford                              J R Neal Trust                  J R Pounds
PO Box 255                               Fbo Marian Neal Lyeth Trust     PO Box 991
Grahamsville, NY 12740                   c/o Cadence Trust Oil Gas Dep   Laurel, MS 39211
                                         PO Box 4458
                                         Houston, TX 772104458



J R Pounds Jr                            J R Sherman                     J R Taylor Life Estate
PO Box 991                               1057 Thomas Street              PO Box 882
Laurel, MS 39211                         Haynesville, LA 71038           Greenville, TX 75401




J R Tomlin                               J R Von Gillern Ii              J Randall Schucker
5550 Harvest Hill Rd Apt E208            PO Box 601542                   38 Cedar Mountain Lane
Dallas, TX 75230-1614                    Dallas, TX 75206                Front Royal, VA 22630




J Rhea And Vicki D Coker                 J Richard Hood                  J Ritchie Field
922 Se Cr 3219A                          2904 Post Oak                   PO Box 2804
Corsicana, TX 75109                      Ruston, LA 71270                Conroe, TX 77305




J Robert Bell                            J Robert Sumlin                 J S Oilfield Services Inc
c/o Patricia Bell Stewart Poa            Melba Jean Boyd Sumlin          819 West Ave A
7811 Bryn Mawr Drive                     713 Cook Town Rd                Lovington, NM 88260
Dallas, TX 75225                         Ruston, LA 71270




J Speckhart Smith K Speckhart            J Speckhart Smith K Speckhart   J Speckhart Smith K Speckhart
D White Ttees Of                         D White Ttees Of                D White Ttees Of
Fbo Dr Douglas J White                   Speckhart White Dmd 401 K       Fbo Jessica L Speckhart Smith
PO Box 272                               PO Box 272                      1033 Oakhill Drive
Pittsfield, IL 62363-0272                Pittsfield, IL 62363-0272       Pittsfield, IL 62363-1667



J Speckhart Smith K Speckhart            J Spencer Winn                  J Stanley Fikes Jr
D White Ttees Of                         1234 South Wolcott              PO Box 670987
Fbo Kimberly A Speckhart                 Casper, WY 82601                Dallas, TX 75367-0987
430 Shetland Drive
Pittsfield, IL 62363-1672



J T Bit Enterprises Inc                  J T Davis                       J T Jackson D/B/A
386 Cr 3104                              1500 W 1st Street               J T Jackson Associates
Quitman, TX 75783                        Tyler, TX 757012720             2302 Sierra Vista
                                                                         Artesia, NM 88210
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J T Reagan                                J Tully Weiss                    J W And Linda Porter
4286 W Lake Cir                           Seymour Weiss Trust Fbo          729 Cobblestone Dr
Littleton, CO 80123                       Bank One La Na Trustee           Shreveport, LA 71106
                                          Po Drawer 99084
                                          Fort Worth, TX 76199



J W Barber                                J W Cook                         J W Engineering Inc
Box 547                                   c/o Texas State Treasury         PO Box 9547
Jena, LA 71342-0547                       Unclaimed Property Division      The Woodlands, TX 77387-9547
                                          PO Box 12019
                                          Austin, TX 78711-2019



J W Holt Life Estate                      J W Hudson                       J W Kippy Joiner Partnership
4325 Bowser Ave 107                       c/o Texas State Treasury         J J Services
Dallas, TX 75219                          Unclaimed Property Division      5238 Old Christoval Road
                                          PO Box 12019                     San Angelo, TX 76904
                                          Austin, TX 78711-2019



J W Meyers                                J W Operating Company            J W Porter Associates LLC
100 Timber Lane                           Oil And Gas Account              PO Box 1714
Kerrville, TX 78028                       PO Box 205834                    Shreveport, LA 77116
                                          Dallas, TX 75320




J W Power Company                         J W Vandeveer                    J Waddy Bullion
Contracts Manager                         10410 Finnell                    PO Box 188
PO Box 226406                             Dallas, TX 75220                 Era, TX 76238
Dallas, TX 75222




J Walter Rainbolt                         J Warren Murphy                  J Warren Ruth Stevens
3603 Arrowhead Circle                     6209 Greenwood Road              PO Box 327
Round Rock, TX 78681                      Little Rock, AR 72207            59 High Point Drive
                                                                           Gulf Breeze, FL 32561




J Wayne Segars Jr                         J Willis Gardner Iii             J4 Fluid Services Inc
Charles Schwab Co Inc Cust                c/o Talmadge G Brenner Guardia   Henry C Reeves Iii
Ira Contributory                          237 North 6Th St Ste 203         4602 Us Hwy 59 North
18646 Canoe Brk                           Quincy, IL 62301                 Victoria, TX 77905
San Antonio, TX 78258



J4 Fluid Services Inc                     Ja G Inc                         Ja Leta M Chapman Char Tr
PO Box 4347                               PO Box 641                       Bank Of Oklahoma Tulsa Na Tr
Victoria, TX 77903                        Big Piney, WY 83113              PO Box 1588
                                                                           Tulsa, OK 74101-1588




Ja Nicholson                              Ja Oilfield Manufacturing Inc    Ja Oilfield Services
PO Box 51240                              Francis Bampoe                   PO Box 95545
Midland, TX 79710-1240                    2101 Se 67Th Street              Oklahoma City, OK 73143
                                          Oklahoma City, OK 73149




Jabez Minerals Inc                        Jacam Chemicals 2013 LLC         Jacam Chemicals LLC
7330 Fern Avenue Suite 403                Legal Department                 PO Box 96
Shreveport, LA 71105                      205 S Broadway                   Sterling, KS 67579
                                          Sterling, KS 67579
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Jace Allan Walker                       Jack A Anne Lafitte Batson     Jack A Reichert Trust
8862 Deerwood Drive                     PO Box 280                     Barbara Reichert Young Heidi
Tyler, TX 75703                         Benton, LA 71006               Reichert Gardiner Co Trustees
                                                                       PO Box 1591
                                                                       San Angelo, TX 76902



Jack Afton Estate                       Jack Alexander Ltd             Jack Alfred Hanson Test Trst
Pamela Burke Indivd Executor            PO Box 150338                  Shirley Sue Hanson Mills Ttee
PO Box 69                               Lufkin, TX 75915-0338          1620 North Blvd
Eustace, TX 75124                                                      Houston, TX 77006




Jack And Mary Andres                    Jack Andrews Jr                Jack Benny Criddle
7948 Fm 139                             Ira A Wilson Aif               Doris Alberta Hartsoe Criddle
Joaquin, TX 75954-5648                  279 Sand Hill Dr               152 Earl White Rd
                                        Quitman, LA 71268              Arcadia, LA 71001




Jack Bolt Jr                            Jack Borel Cobb                Jack Bradley Waldron
19318 Boulder Bay Lane                  c/o Texas State Treasury       243 Rural Road
Humble, TX 77346                        Unclaimed Property Division    Sarepta, LA 71071
                                        PO Box 12019
                                        Austin, TX 78711-2019



Jack Brewer                             Jack Brode Instrumentation     Jack Buford Hilburn Jr
6900 Hollytree Circle                   1930 Knoxville Ave             1039 County Road 156
Tyler, TX 75703                         Long Beach, CA 90815-3439      Columbus, TX 78934




Jack Burson                             Jack C Averett                 Jack C Fikes
c/o TG Farm                             PO Box 230                     3207 W 4Th St
14454 Hwy 155 S                         Logansport, LA 71049-0230      Fort Worth, TX 76107
Tyler, TX 75705




Jack C Roberson Estate                  Jack Carl Watson And           Jack Carson
Joe R Miears Ind Administrator          Charlie Jo Mclemore Watson     PO Box 1261
33778 Berg Ln                           321 Hidden Acres Rd            Marshall, TX 75671
Pine, CO 80470                          Arcadia, LA 71001




Jack Carter And                         Jack Clark Mccurdy Ii          Jack Co Or Texas State Treasury Dept
Elsie Sibley Carter                     PO Box 581                     Unclaimed Property Division
10262 Highway 1216                      Carthage, TX 75633             PO Box 12019
Many, LA 71449                                                         Austin, TX 78711




Jack Cowley Supply Co Inc               Jack Craig Henderson           Jack D Brogden
PO Box 3546                             Charles Schwab Co Inc Cust     3314 Stoney Brook Dr
1902 S Hwy 281                          11453 Denham Rd                Houston, TX 77063-6164
Alice, TX 78333                         Gonzales, LA 70737




Jack D York                             Jack Daly Testamentary Trust   Jack Dunn Jr
PO Box 588                              J Daly Et Al Co Trustees       5716 Gallagher
Tatum, TX 75691                         4417 Calmont Avenue            Laredo, TX 78041
                                        Fort Worth, TX 76107-4233
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Jack E Blake                            Jack E Blankenship               Jack E Davis
400 N Main                              807 Phillips Petroleum Bldg      Rio Lobos Maintenance Service
Midland, TX 79701                       Salt Lake City, UT 84101         PO Box 1008
                                                                         Carthage, TX 75633




Jack E King Trust                       Jack E Phillips Estate           Jack E Powers
Joyce A King Trustee                    Farmers National Co Agent        306 Sundown Trail
1830 Nauts Court                        Oil And Gas Management Dept      Henderson, TX 75652
Houston, TX 77008                       PO Box 3480
                                        Omaha, NE 68103-0480



Jack E Price Gs Trust                   Jack E Young                     Jack Edgar Brady Wife Katherine Brady
Thomas Stanley Price Ttee               317 Huffman Blf                  7404 Axminister Court
PO Box 7009                             Keller, TX 76248-3698            Dallas, TX 75214
Longview, TX 75607-7009




Jack Edward Gorman                      Jack Edward Herndon              Jack Edwin Byrd Jr
PO Box 171385                           1559 N Modoc Ave                 Peggy Singleton Byrd
San Antonio, TX 78217                   Medford, OR 97504                PO Box 142
                                                                         Minden, LA 71058




Jack Emerson Young                      Jack Fletcher                    Jack Fred Bell
317 Huffman Bluff                       1525 Mims Street                 2704 Beechwood St
Keller, TX 76248                        Fort Worth, TX 76112             Odessa, TX 79761-3313




Jack Gordon Barmore                     Jack Gordon Ducoff               Jack Gregory Jr
530 Big Sky Drive                       2923 Bur Oak Ct                  2646 Se 11Th St
Etters, PA 17319                        Richmond, TX 77469               Pompano Beach, FL 33062




Jack Gumbin                             Jack H Harper                    Jack H Pratley
PO Box 110                              14721 Northwest Rd               4340 Cr 3250
Tucson, AZ 85702                        Whitehouse, TX 757916003         Mineola, TX 75773




Jack H Pyburn                           Jack H Thompson Fam Royalty Tr   Jack H Vestal Marital Tr
147 15Th St Ne Apt 15C                  Jack H Thompson Jr Janet T       c/o John H Vestal Ttee
Atlanta, GA 30309-3564                  Marshall Co Ttees                4240 Prescott Avenue Unit 5B
                                        PO Box 1444                      Dallas, TX 75219
                                        Fredericksburg, TX 78624



Jack Hall Ii                            Jack Hand Jr                     Jack Harrison
834 Forest Lake Drive                   4405 Cr 228                      Beth Allgood Guardian
Seabrook, TX 77586                      Nacogdoches, TX 75961            328 Sunset Blvd
                                                                         Lufkin, TX 75904-4000




Jack Harrison Estate                    Jack Hartcorn                    Jack Hodges And Jean Hodges
Beth Allgood Ind Executrix              635 N Salem Rd                   2208 East Main Street
328 Sunset Blvd                         Ridgefield, CT 06877             Henderson, TX 75652
Lufkin, TX 75904
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Jack Houston                             Jack Kinman Paula Kinman       Jack L Cooksey
3982 East Pineview Trail                 133 County Road 462            604 W 20Th Street
Larue, TX 75770                          Carthage, TX 75633             Richmond, VA 23225




Jack L Epperson                          Jack L Phillips                Jack L Phillips Co
c/o Texas State Treasury                 P O Drawer 1686                PO Box 1686
Unclaimed Property Division              Gladewater, TX 75647-1686      Gladewater, TX 75647
PO Box 12019
Austin, TX 78711-2019



Jack L Streets Life Estate               Jack Land Jr                   Jack Lawter Dianne Lawter
2119 Silver Moon Trail                   13480 Highway 151              5615 Kirby Drive
Crosby, TX 77532                         Arcadia, LA 71101              Suite 930
                                                                        Houston, TX 77005




Jack Lebus Jr                            Jack Lee Hayes                 Jack Lee Hayes Declaration Tr
N F 23 Lake Cherokee                     Lois Vandegrift Hayes Aif      Lois Vandergrift Krueth Hayes
Longview, TX 75603                       2434 Ambler Avenue             Successor Trustee
                                         Norfolk, VA 23513              2434 Ambler Avenue
                                                                        Norfolk, VA 23513



Jack Lewis Ross Testamentary Trust       Jack M Mcgee                   Jack M Pugh
Glenna Mae Ross Trustee                  12426 Industrial Rd            110 Barnett Blvd
700 S Kansas Ave Suite 605               Houston, TX 77015              216 Rambling Oaks Assist Lvg
Topeka, KS 66603                                                        Highland Village, TX 75077




Jack Mary Andres                         Jack Mauldin Jr                Jack Minter
7948 Fm 139                              288 Lcr 404                    c/o Ruth Ann Beverly
Joaquin, TX 75954-5648                   Groesbeck, TX 76642            451 N Bowie
                                                                        Jasper, TX 75951




Jack Moore                               Jack N Foshee                  Jack N Foshee Elizabeth R Foshee
c/o Texas State Treasury                 19262 N Us Hwy 59              19262 North Us Hwy 59
Unclaimed Property Division              Garrison, TX 75946             Garrison, TX 75946
PO Box 12019
Austin, TX 78711-2019



Jack N Lacy                              Jack N Pierson                 Jack O Mccall Jr
8415 Kings Oak Drive                     1815 Enclave Pkwy Apt 6306     PO Box 19927
Damon, TX 77430                          Houston, TX 77077              New Orleans, LA 70179




Jack P Love And Virginia Love            Jack P Rahm                    Jack P Williams
602 Whispering Pines                     PO Box 1885                    PO Box 514
Ruston, LA 71270                         Ada, OK 748211885              Tatum, TX 75691




Jack Pennington Morgan Jr                Jack Pratt Screen Ad Co        Jack Pratt Screen Ad Co
9406 Winsome St                          409 Ne 40Th St                 409 Ne 40Th Street
Houston, TX 77063                        Oklahoma City, OK 73105-3728   Oklahoma City, OK 731053728
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Jack R Donnell                           Jack R Gamble                   Jack R Gamble Jr LLC
11803 Lake Grove Bnd                     PO Box 811                      PO Box 1782
Tomball, TX 77377-8513                   Mansfield, LA 71052             Shreveport, LA 71166




Jack R Hale                              Jack R Murray                   Jack R Murray Estate
104 Redbud Dr                            William Jack Murray Persn Rep   William Jack Murray Executor
White Oak, TX 75693                      Hc 40                           Broadus Stage
                                         Box 6411                        Miles City, MT 59301
                                         Miles City, MT 59301



Jack R Parker Jr                         Jack Reeves And Wanda Reeves    Jack Roy Birchum
492 Cr 1571                              Reeves Oil Company              1502 Glenwick Dr
Carthage, TX 75633                       1610 W Cotton                   Rockwall, TX 75032-7325
                                         Longview, TX 756045523




Jack Roy May Iii                         Jack Roy May Jr                 Jack Roy May Jr Janell Malone May
435 St Charles Blvd                      19229 Highway 157               19229 Highway 157
Shreveport, LA 71106                     Plain Dealing, LA 71064-3513    Plain Dealing, LA 71064




Jack S Josey                             Jack S Masur Estate             Jack Sengelaub
2001 Kirby Dr Ste 1002                   111 Hudson Ln F                 2384 Winding Brook Circle
Houston, TX 77019                        Monroe, LA 71201                Bloomington, IN 47401




Jack T Aaron A Single Man                Jack T Cappel Jr                Jack T Everett LLC
211 Blazier Lane                         2505 Avenue A                   416 Travis Suite 1012
West Monroe, LA 71292                    Alexandria, LA 71301            Shreveport, LA 71101




Jack T Moore                             Jack T Williams Ii              Jack Turner Taylor Jr
Trio Building Co                         PO Box 6387                     10951 Sanctuary Drive
PO Box 18721                             San Antonio, TX 78209           Shreveport, LA 71106
Shreveport, LA 71138




Jack V Thompson                          Jack V Woodlock                 Jack W Hines
2512 Lakecrest Drive                     c/o Office Of Texas State       1328 Wheatear Drive
Shreveport, LA 71109                     Unclaimed Property Division     Little Elm, TX 75068
                                         PO Box 12608 Capitol Station
                                         Austin, TX 78711



Jack W Matthews                          Jack W Melton                   Jack W Spitzberg Gst Exempt T
14 Whispering Oak Dr A                   616 Arcadia Street Apt 403      Regions Bank Nrre Ops
Washington, MO 63090                     Hurst, TX 76053                 PO Box 11566
                                                                         Birmingham, AL 35202




Jack William Donnell                     Jack Yarbrough                  Jackal Oil Company
PO Box 4151                              2 Austin Hollow Circle          George Swinn
Hilo, HI 96720                           Nacogdoches, TX 75965           307 N 7Th
                                                                         Suite 1718
                                                                         Fort Worth, TX 76012
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Jackalope Printing                       Jacki L Jeter                    Jackie A Garcia
1016 W Spruce St Unit C                  41 Vista Drive                   2615 Park Hills Drive
Rawlins, WY 82301-5371                   Belton, TX 76513                 Katy, TX 77494




Jackie Adams                             Jackie D Bryan Cynthia D Bryan   Jackie D Farmer
Bobbie Jean Adams Poa                    PO Box 1750                      600 County Road 118
PO Box 272                               Ruston, LA 71270                 Carthage, TX 75633
Grambling, LA 71245




Jackie D Hubbard Martin                  Jackie D Willis                  Jackie Glynn Murray
3535 N Hall St                           PO Box 367                       Roberta Jean Smith Murray
Apt 606                                  Snyder, OK 73566                 414 Sardis Church Road
Dallas, TX 75219                                                          Farmerville, LA 71241




Jackie H Chesser Martin                  Jackie H Rash                    Jackie Knight
608 Sandlin                              310 Ruthlynn Dr                  3913 Silk Tree Rd
Bedford, TX 76021                        Longview, TX 75605               Gladewater, TX 75647




Jackie L Clowers                         Jackie Lamar Britton             Jackie Laurett Ladatto
1135 Wallace Dean Rd Lot                 2428 Bahama Dr                   8543 Waters Edge Ave
West Monroe, LA 71291                    Dallas, TX 75211                 Baker, LA 70714




Jackie Lee Swanson                       Jackie Lee Tobin                 Jackie Lewis Vining
1205 Hillcrest                           4048 Sequoia Street              701 Brookwood Dr
Jacksonville, TX 75766                   Riverside, CA 92503              Ruston, LA 71270




Jackie Lou Ringhof                       Jackie Lynn Baldwin              Jackie Martin
1743 Country Road                        601 Orangewood                   145 Cr 1052
Ojai, CA 93023                           Conroe, TX 77302                 Alba, TX 75410




Jackie Miller                            Jackie Noel Arwine Test Tr       Jackie Nunn Fenton
304 Cedar Creek Rd                       5402 90Th St                     835 Fm 2974
Princeton, KY 42445-2343                 Lubbock, TX 79424                Center, TX 75935




Jackie Phillips                          Jackie R Fuller                  Jackie Rai Shaver Hudson
415 Lexing Street                        950 W Kiest Blvd                 2460 Patton Rd
Tallulah, LA 71282                       Apt 131                          Diana, TX 75640-2570
                                         Dallas, TX 75224




Jackie Roscoe Robinson                   Jackie Ruth Brown                Jackie Sanford
371 Cr 490                               PO Box 335                       PO Box 453
Carthage, TX 75633                       Colmesneil, TX 75938             Calhoun, LA 71225
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Jackie Sue Carroll Keith                  Jackie Vestal Horton Life Esta   Jackie Vickers Porter
2505 S John Redditt Dr Apt 1207           2193 East Cherry St 60A          2333 Pauly Brook Way
Lufkin, TX 75904-5654                     Paris, TX 75460-4747             Knoxville, TN 37932




Jackie Willard Joyce Willard              Jackman Construction Inc         Jackolyn R Wells
PO Box 241                                PO Box 218                       7311 Roosevelt Way Ne 1
Joaquin, TX 75954                         Rock Springs, WY 82902-0218      Seattle, WA 98115




Jacks Welding Service                     Jackson Bros Hot Oil Service     Jackson Investments LLC
Sandblast Paint                           PO Box 76                        900 Pierremont Rd Suite 100
PO Box 291                                Levelland, TX 79336              Shreveport, LA 71106
Gladewater, TX 75647




Jackson J Campau                          Jackson J Campau Jan M Campau    Jackson Lee
PO Box 3519                               Ttee For Jackson J Campau        5027 Spring Oak Drive
Jackson, WY 830013519                     Jan M Campau Rev                 Pasadena, TX 77505
                                          PO Box 3519
                                          Jackson, WY 830113519



Jackson Lee Wellesley Lee                 Jackson Lewis LLP                Jackson Lewis Pc
5027 Spring Oak Dr                        44 S Broadway Fl 14              PO Box 416019
Pasadena, TX 77505                        White Plains, NY 10601-4411      Boston, MA 02241-6019




Jackson Missionary Baptist Church         Jackson Parish Bank              Jackson Parish Clerk Of Court
11120 State Hwy 7                         201 Jimmie Davis Blvd            500 East Court Street
Joaquin, TX 75954                         Jonesboro, LA 71251              Ste 103
                                                                           Jonesboro, LA 71251




Jackson Parish Sheriffs Office            Jackson Pittman Lewis            Jacksons Hot Oil Service
500 East Court Street Rm 100              209 Jed Road                     PO Box 405
Jonesboro, LA 71251-3400                  Ruston, LA 71270                 Andrews, TX 79714




Jacksonville Baptist College              Jaclin Corporation               Jaco Bit Inc
105 B J Albritton Drive                   PO Box 340                       2303 W Bender
Jacksonville, TX 75766                    Ruston, LA 71273-0340            Hobbs, NM 88240




Jaco Production Company                   Jacob C Young                    Jacob Dumler
PO Box 82515                              1411 Sparks St                   Box 295
Bakersfield, CA 93380                     Midland, TX 79701                Cimarron, KS 67835




Jacob E Heiman Jr                         Jacob E Piper                    Jacob G Hornberger Jr
125 Acr 3855                              6023 Rathbone                    43176 Center Post Terrace
Palestine, TX 75801                       Parker, TX 75002                 Ashburn, VA 20148
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Jacob Gobar                              Jacob Houser                    Jacob J Baker
Address Redacted                         2007 Encino White               1868 N Cove Blvd 101
                                         San Antonio, TX 78259           Toledo, OH 43606




Jacob James Radcliffe                    Jacob Jarrett Jurlina           Jacob Joseph Baker Trust
Address Redacted                         Address Redacted                12551 Lesley Road
                                                                         Newark, OH 43056




Jacob P Kirby Tr                         Jacob Smith                     Jacob Thomas Cammack
Monique Lee Tschurr Trst                 Address Redacted                10511 Cooper Hill Road
1010 Lazy Ln                                                             Austin, TX 78758
San Marcos, TX 78666




Jacobs Water Supply Corp                 Jacobus Management Trust        Jacquelin Young
PO Box 954                               Sarah Jacobus Trustee           27 W Victory Lake Dr
Henderson, TX 75653                      12214 Charnrock Rd              The Woodlands, TX 77384
                                         Los Angeles, CA 900663104




Jacqueline Augustine Foster              Jacqueline B Bennett            Jacqueline Carr Figg
1526 West 105Th Street                   1703 Brooks                     1918 Lost Lake Place
Chicago, IL 60643                        Ruston, LA 71270                Pearland, TX 77581




Jacqueline D Capel                       Jacqueline D Rains              Jacqueline D Williams
60 Camden Way                            1367 Highway 544                PO Box 92
Fairburn, GA 30213                       Ruston, LA 71270                Quitman, LA 71268




Jacqueline E Chorney                     Jacqueline Genell Hobdy         Jacqueline Gribble Morgan
PO Box 280707                            205 Troy Ln                     2736 50Th Ave Sw
Lakewood, CO 80228-0707                  Red Oak, TX 75154-5052          Seattle, WA 98116-2916




Jacqueline Holland Estate                Jacqueline Marie Collins        Jacqueline Pyle Miles
645 Dario Drive                          3440 N Us Hwy 69                PO Box 241
Dripping Springs, TX 78620               Mineola, TX 75773               Calhoun, LA 71225




Jacqueline R Cochran                     Jacqueline Seldon Nolan Bourk   Jacqueline Sheldon Nolan Bourk
3305 N Forty Drive                       4350 Hwy 90 East Lot 18         4350 Hywy 90 East Lot 18
Ruston, LA 71270                         Broussard, LA 70518             Broussard, LA 70518




Jacqueline Taylor                        Jacqueline Washington Jones     Jacqueline Watson
2000 Colusa Rd                           3753 Caseys Cove                c/o Unclaimed Property Division
West Sacramento, CA 95691-5243           Ellenwood, GA 30294             900 Jackson Suite 201
                                                                         Topeka, KS 66612
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Jacqueline Wilson Harris                 Jacquelyn H Jameson Trustee      Jacquelyn K Mahew
2800 W 84Th St                           609 Cynthia Drive                4948 Happy Valley Rd
Inglewood, CA 90305-1842                 Longview, TX 756053745           Anderson, CA 96007




Jacquelyn Lewis Brewer                   Jacquelyn S Kirgan Trust         Jacquelyn V Strong
4712 Lakewood Dr                         Citizens National Bank Trustee   6611 Whisper Crest Drive
Colleyville, TX 76034                    PO Box 820                       Arlington, TX 76002
                                         Henderson, TX 75653




Jacquelyn Wyn El Dodson                  Jacquelynne F Myers              Jacques D Wilkinson Jr
702 Butternut                            12 Leawood Court Se              1606 Auburn
Garland, TX 75044                        Lindale, GA 30147                Longview, TX 75601




Jacquiline Kay Clark                     Jacquline K Thornton             Jacqulynn L Johnson
PO Box 1512                              2215 Rosedale                    5928 9Th Street Nw Apt 34
Princeton, TX 75407                      Houston, TX 77004                Washington, DC 20011




Jad Chemical Company Inc                 Jade Ashley Kenemore             Jade Services Inc
PO Box 6786                              1817 Marble Cove Lane            PO Box 303
Rancho Palos Verdes, CA 90734            Denton, TX 76210                 Lamesa, TX 79331




Jag Operating LLC                        Jaguar Energy Services LLC       Jaime Christian Gardner
416 Travis Street                        Jason Monk                       535A Main St
Suite 910                                PO Box 1444                      Diamond Springs, CA 95667
Shreveport, LA 71101                     Crowley, LA 70527




Jaime Loeffel                            Jajosa Partners Ltd              Jake Ford Electric Inc
3467 Clubland Dr                         8119 F M 666                     12441 Meacham Road
Marietta, GA 30068                       Mathis, TX 78368                 Bakersfield, CA 93312




Jakob Cade Townsend                      Jakob Townsend A Minor Estate    Jala Ventures LLC
c/o Richard Townsend Guardian            c/o Richard B Townsend           333 Texas Street Suite 2300
345 Holley St                            Karen Townsend Guardians         Shreveport, LA 71101
Maud, TX 75567                           345 Holly Street
                                         Maud, TX 75567



Jalinea L Burkett                        Jalu Fasteners Inc               Jam Holdings LLC
PO Box 9597                              214 West Animas                  2929 Ohio Way
Tyler, TX 75711                          Farmington, NM 87401             Denver, CO 80209




Jamaal Wilson                            Jamal Lewis                      Jamar Lance Giles
333 Rapid Falls Dr                       20073 Monterey Ave               62 W Altadena Dr
Desoto, TX 75115                         Lynwood, IL 60411                Altadena, CA 91001-4734
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Jamar LLC                                Jamee Bennett Hardwicke               James A Beck
PO Box 26185                             5722 N Tula Ln                        1556 Warwick Dr
St Louis Park, MN 55426                  Tucson, AZ 85743-8609                 Lancaster, TX 75134




James A Boorman Iii                      James A Browder                       James A Bullock
308 Trail Of The Flowers                 2404 Durango Drive                    2968 Paradise Dr
Georgetown, TX 78633                     Mission, TX 78573                     Shreveport, LA 71105




James A Calhoun                          James A Dinwiddie                     James A Durham
142 Holly Court                          1239 Aurora Drive                     6698 Sunburst Avenue
Mountain View, CA 94043                  Murfreesboro, TN 37129                Firestone, CO 80504




James A Fancher                          James A Gibbs                         James A Glover
1280 Cr 271                              4925 Greenville Ave                   3910 Woodhead Street
Garrison, TX 75946                       Suite 1220                            Houston, TX 77098
                                         Dallas, TX 75206




James A Godwin And                       James A Hoogland Dorothy G Hoogland   James A Jackson Sr
Beverly Kay Morris Godwin                2406 Hillside                         95 Lobhaugh Lane
103 May Road                             Ruston, LA 71270                      Oxford, GA 30054
Dubach, LA 71235




James A Love                             James A Mathys                        James A Mayo Iii Dgt Tr Dtd 02 01 2011
15 Falls Terrace                         Route 1 Box 220                       James A Mayo Jr Ttee
Fair Oaks Ranch, TX 78015                Arcadia, LA 70001                     8119 Fm 666
                                                                               Mathis, TX 78368




James A Mayo Jr                          James A Mayo Jr Trust                 James A Neill
8119 Fm 666                              Suzy Neel Mayo Trustee                2507 Bramble Dr
Mathis, TX 78368                         PO Box 430033                         Monroe, LA 71201
                                         Laredo, TX 78043




James A Ochoa                            James A Poss Jr                       James A Ragsdale
Carlos Hortencia Ochoa Trust             18177 Fm 1751                         9614 Highmeadow Drive
108 S Prize Oaks Drive                   Bronson, TX 75930                     Houston, TX 77063
Cedar Park, TX 78613




James A Ridge                            James A Rowell Jr                     James A Rowell Jr Inc
6805 Brookdale Drive                     509 Market Street Ste 300             Rowell Family Ltd Partnership
Watauga, TX 76148                        Shreveport, LA 71101                  509 Market St Suite 300
                                                                               Shreveport, LA 71101




James A Scott                            James A Thurmond                      James A Wainwright
634 Garr Road                            3509 Silverton Avenue                 1756 Starboard Ave Apt 4
Ruston, LA 71270                         Durango, CO 81301                     Baton Rouge, LA 70820
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James A Williams                         James A Williams Irrevocable Trust   James Adams Jr
814 Ridge Drive                          Capital One N A Trustee              1078 West 252nd St
West Monroe, LA 71292                    PO Box 1028                          Harbor City, CA 90710
                                         Trust Dept
                                         Marshall, TX 75671



James Alan Upchurch                      James Albert Gunter                  James Albert Monk
15819 Rothbury Ln                        6092 Dorchester Circle               351 Bissic Road
San Antonio, TX 78232                    Keithville, LA 71047                 Simsboro, LA 71275




James Albert Reynolds And                James Alexander And                  James Alexander Reynolds
Elizabeth A Smith Reynolds               Wife Fannie Louise Alexander         221 Armadillo Ln
448 Harrison Rd                          2204 Sledge St                       Bastrop, TX 78602
Ruston, LA 71270                         Marshall, TX 75670




James Allan Norris Iii                   James Allen Brack                    James Allen Cockrell
204 Elmwood Drive                        3191 Fm 1404                         PO Box 371
West Monroe, LA 71291                    Big Sandy, TX 75755                  Joaquin, TX 75954




James Allen Estes                        James Allen Heath                    James Allen Melton
61 Fox Hollow Lane                       3018 Hickory Ridge Circle            401 Briargate Walk Cir
Sewell, NJ 08080                         Bryan, TX 77807                      Lafayette, LA 70503




James Allen Pace Jr                      James Allen Pace Properties LLC      James Allen Phillips
513 Mcintosh Drive                       1813 Garden Oaks Dr                  1842 Ochsner Blvd Apt 930
Shreveport, LA 71115                     Marshall, TX 75672                   Covington, LA 70433-8174




James Allen Rowe                         James Aloysius Roe                   James Alton Turlington
1620 Highway 160                         6363 West 85Th Street                184 Rider Rd
Benton, LA 71006-4618                    Westchester, CA 90045                Rusk, TX 75785




James And Elizabeth Green LLC            James And Kathy Arp                  James And Sadie Booker
2201 Wales Court                         11353 Fm 2879                        4148 Hwy 191
Ruston, LA 71270                         Diana, TX 75640                      Mansfiled, LA 71052




James Anderson Lester                    James Andrew Browder                 James Anthony Babin
707 Cross Creek Dr                       2404 Durango Dr                      1519 Bailey Street
Cedar Hill, TX 75104-7114                Mission, TX 78574                    West Monroe, LA 71292




James Anthony Dodge                      James Arnold Deloney                 James Arthur Brightwell Ii
1207 Hammond Rd                          4301 Molino Meadows Drive            1181 Bonham Pkwy
Delray Beach, FL 33483-7242              Molino, FL 32577                     Lanatana, TX 76226
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James B Brad Carhart                     James B Cockrell                          James B Crowell Iii
Brad Carhart                             6789 Us Hwy 84 East                       240 Lippincott Rd
6470 N Fly In Lake Rd                    Joaquin, TX 75954                         Wallkill, NY 12589
Athens, TX 75752




James B Ewbank                           James B Furrh Jr                          James B Grayson
PO Box 1870                              4450 Old Canton Rd                        Apartment 1015
Harlingen, TX 78551                      Suite 205                                 Dallas, TX 75230
                                         Jackson, MS 39211




James B Haskin Deceased                  James B Haskin Jr                         James B Haynes Jr
13040 Highway 4                          13041 Highway 4                           910 Pierremont Rd Ste 121
Castor, LA 71016                         Castor, LA 71016                          Shreveport, LA 71106-2081




James B Heath                            James B Irwin                             James B Kalmbach
113 Rosewood Street                      400 Poydras Street Suite 2700             2804 Circlewood Ct
Lake Jackson, TX 775664933               New Orleans, LA 70130                     Louisville, KY 40206




James B Smith And Rebecca Graves Smith   James B Souder                            James B Spurgers
PO Box 6309                              1833 Wright Drive                         5515 Mount Royal Circle
Gulf Shores, AL 36547-6309               Port Orange, FL 32128                     Houston, TX 77069




James B Sumrall                          James B Turlington                        James B Wall
c/o Merrill Lynch                        204 Rider Rd                              5721 Sunset Road
333 East 29Th Street                     Rusk, TX 75785                            Fort Worth, TX 76114
Durango, CO 81301




James B Wells Ii                         James B Whitten Jr                        James Bailey Kee Jr
10171 Sexton Bend Rd                     PO Box 5442                               1424 Mulberry
Tuscaloosa, AL 35406                     Shreveport, LA 71135                      Brownsville, TX 78521




James Barber Testamentary Tr             James Barlow Family Limited Partnership   James Barrow
5663 State Hwy 154 W                     PO Box 10460                              PO Box 1106
Gilmer, TX 75644                         Jackson, WY 83002                         Chandler, TX 75758




James Barry Owens                        James Bauchman Partnership Ltd            James Beam
2168 Main Street                         800 Navarro Suite 210                     1330 Oakwood Loop
Haynesville, LA 71038                    San Antonio, TX 78205                     San Marcos, TX 78666




James Benjamin Warren                    James Birdsong                            James Bowden Hurdle
3108 N Trenton                           PO Box 314                                722 Reynolds Rd
Ruston, LA 71270                         Kilgore, TX 75663                         Forest, MS 39074
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James Boyd Gibson Et Ux                  James Bradley Cockrell         James Branch Florey
Dana Treadway Gibson                     Lisa Michelle Cockrell         4438 Sequoyan Rd
352 Brown Rd                             6789 Highway 84 East           Oakland, CA 94601
Quitman, LA 71268                        Joaquin, TX 75954-9564




James Bruce Moseley                      James Bryan Hendrick           James Buck Nelson
2222 Pecan Grove Court                   c/o Regions Bank Nrre Ops      375 Cr 163
Dallas, TX 75228                         PO Box 11566                   Long Branch, TX 75669
                                         Birmingham, AL 35202




James Buford Goss                        James Burgess                  James Burr
3236 Sarah Street                        Address Redacted               PO Box 8050
Bossier City, LA 71112                                                  Midland, TX 79702




James C Clark                            James C Clark Et Ux            James C Crawford
1201 Cardnial Dr L109                    Mae T Clark                    c/o Texas Comptroller Of Public
Thibodaux, LA 70301                      119 Wisteria Ln                Unclaimed Property Division
                                         Luling, LA 70070-3230          PO Box 12019
                                                                        Austin, TX 78711-2019



James C Davis Jr                         James C Ervin                  James C Ervin And Gesina R Ervin
9654 Ashmede Drive                       PO Box 835980                  PO Box 835980
Ellicott City, MD 21043                  Richardson, TX 75083           Richardson, TX 75083




James C Galbraith Rev Tst                James C Hilton                 James C Howard
U/A/D 12/29/05 James C                   1245 Hwy 544                   PO Box 1086
Galbraith Tstee                          Ruston, LA 71270               Ruston, LA 71270
2032 Alameda Avenue
Orlando, FL 32804



James C Karo Associates Land Services    James C Mckinney               James C Menefee
1750 Lafayette Street                    284 East Meade St              208 Stone Oak
Denver, CO 80218                         Pearl, MS 39208                Livingston, TX 77351




James C Nance                            James C Obrien Jr              James C Orr
PO Box 2566                              4548 Broussard St              PO Box 3377
Cashiers, NC 28717                       Baton Rouge, LA 70808          Palestine, TX 75802-3377




James C Pearson Estate                   James C Richard                James C Roark Jr
Hedwige D Pearson Indp Exec              160 Sandbed Road               PO Box 733
Rr 4 185X31A                             Ruston, LA 71270               Sanderson, TX 79848
Galveston, TX 77554




James C Roark Land Mineral Trust         James C Simpson                James C Skinner
Lind R Roark William J Roark             3001 Hunt Rd                   989 Sunshine Road
PO Box 733                               Oakton, VA 22124               Simsboro, LA 71275
Sanderson, TX 79848
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James C Skinner Deborah Koonce Skinner   James C Smith Jr               James C Spencer
989 Sunshine Road                        217 County Road 199            Address Redacted
Simsboro, LA 71275                       Nacogdoches, TX 75965




James C Steele Iii                       James C Steele Iii Trust       James C Stovall By And Through
PO Box 7137                              Marvin Glen Basset Trustee     His Agent And Attorney In Fact
Monroe, LA 71211                         12002 Chatam Lane              Sally Stovall White
                                         Houston, TX 77008              PO Box 5606
                                                                        Bryan, TX 77805



James C Thompson Jr                      James C Varden Jr              James C Walker
325 North St Paul Suite 4300             337 Stonegate Circle S         4908 Orinda Ave
Dallas, TX 752013993                     Chambersburg, PA 17201         Los Angeles, CA 90043




James C Walters                          James C White Individually     James C Williams
PO Box 9101                              As Jcw Properties Inc Et Al    1708 Lona Lane
Longview, TX 75608                       PO Box 3429                    Marshall, TX 75670
                                         Longview, TX 75606




James C Wilson                           James C Wisda Trust            James Calvin Slaton
6067 Singing Hills Dr                    James C Wisda Trustee          278 Slaton Road
Dallas, TX 75241                         8212 East Adobe Dr             Homer, LA 71040
                                         Scottsdale, AZ 85255




James Carl Roberts                       James Carroll Hand             James Chapman Mays
1241 Piccadilly Dr                       2322 Triway                    C/O Robert Chapman Mays
Charlotte, NC 28211                      Houston, TX 77043              266 Jung Lane
                                                                        Fredericksburg, TX 78624




James Charles Nicely                     James Charles Rogers           James Charles Tarbutton
PO Box 193                               1775 N Point Pleasant Road     313 Tarbutton Road
Sparta, MO 65753                         Gladewater, TX 75647           Ruston, LA 71270




James Christopher Andrews                James Christopher Deloney      James Christopher Erck
1157 County Road 1220                    28175 Ruus Rd                  102 Morse St
Center, TX 75935-6917                    Hayward, CA 94544              San Antonio, TX 78209




James Clarence White And                 James Clay Henry               James Clayton Mccarter
Donna Hightower White                    11687 Fm 726 South             c/o Misty Mccarter Johnson
412 Savannah Trace                       Gilmer, TX 756454048           1021 N 7Th Street
Ruston, LA 71270                                                        Ponca City, OK 74601-2840




James Cleveland Heard                    James Clifford Davis           James Clifford Lawhorn
3003 East Travis                         c/o Texas State Treasury       470 Cr 118
Marshall, TX 75672                       Unclaimed Property Division    Carthage, TX 75633
                                         PO Box 12019
                                         Austin, TX 78711-2019
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James Clifford May                      James Clyde Riddle               James Clye Allums Jr
305 Lakeway Drive                       3344 Forest Ln Apt 129           3632 Hanover Street
Coldspring, TX 77331                    Dallas, TX 75234                 Dallas, TX 75225




James Cole Life Estate                  James Cole Yvonne M Cole         James Cool
PO Box 1948                             211 Pinecrest Rd                 Address Redacted
Fulton, TX 78358                        Arcadia, LA 71001




James Cornelius Drew Jr                 James Craig And Billie Craig     James Craig Williams Sp
10305 Jimenez                           1117 Delia Drive                 1801 Edgewater Trl
Lk View Terrace, CA 91342               Longview, TX 75601               Whitehouse, TX 75791




James Cunningham Qualified Tr           James Curry Gales                James Curtis Allen
Argent Trust Trustee                    3918 Keist Valley Parkway        4914 Chennault Road
P O Drawer 1410                         Dallas, TX 75233                 Houston, TX 77033
Ruston, LA 71273




James Curtis Cole                       James Curtis Odom Et Ux          James D Aderholt
282 May Road                            Geneva Walker Odom               c/o Texas Comptroller Accounts
Dubach, LA 71235                        PO Box 182                       Unclaimed Property Division
                                        Simsboro, LA 71275               PO Box 12019
                                                                         Austin, TX 78711-2019



James D Boles                           James D Cochran                  James D Culver
3003 Seminole Trail                     1005 A Ruth Bridge Hwy           PO Box 8085
Sherwood, AR 72120                      Breaux Bridge, LA 70517          Tyler, TX 75711




James D Finley                          James D Frasier                  James D Jackson 6321 Trust
Co Finley Resources Inc                 PO Box 1746                      c/o Bank Of America Trustee
PO Box 2200                             Ruston, LA 71273                 PO Box 840738
Fort Worth, TX 76113                                                     Dallas, TX 75284-0738




James D Joy                             James D Lindsey                  James D Lyon Jr
416 N State St                          PO Box 309                       919 Ne 122nd Ave Apt 1
Hurricane, UT 84737-1875                Bernice, LA 71222                Portland, OR 97230




James D Mcelreath Jr                    James D Mcelreath Tr Ac 826700   James D Mcmurrey Jr Exempt Tr
PO Box 1097                             Bank One Texas Na Trustee        U/W James D Mcmurrey Decd
Bastrop, TX 78602                       PO Box 99084                     James Douglas Mcmurrey Jr Ttee
                                        Fort Worth, TX 76199-0084        2005 Claremont Lane
                                                                         Hosuton, TX 77019



James D Morris                          James D Perryman                 James D Perryman Jr
3201 Plains Ct                          44 Prides Crossing               44 Prides Crossing
Plano, TX 75074                         The Woodlands, TX 77381          The Woodlands, TX 77381
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James D Rinehart Jr                        James D Roberts                            James D Rudd
426 Ellis Ridge Drive                      6305 Tanglebrush                           7072 State Highway 7 West
Weatherford, TX 76085                      Orange, TX 77632                           Center, TX 75935




James D Snyder                             James D Southerland                        James D Thomas Ii
PO Box 393                                 PO Box 155                                 PO Box 65168
Winfield, KS 67156                         Plain Dealing, LA 71064                    Baton Rouge, LA 70896




James D Walker                             James D Washington And Bessie Washington   James D Woodward
c/o Vaquillas Llc                          PO Box 2066                                4423 Gloster Rd
111 Inwood                                 Henderson, TX 75653                        Dallas, TX 75220
Laredo, TX 78045




James D Youngblood Iii Separate Property   James Dale Suggs                           James Dale Washburn And Jo Ella Washburn
4464 Richmond Ave                          5728 El Cabo Court                         11721 Woods Spring Road
Shreveport, LA 71106                       San Diego, CA 92124                        Tyler, TX 75706




James Dandy Bergman                        James Daniel Brunson                       James Daniel Hammon
PO Box 683                                 6403 Glenhill                              851 Sugar Creek Road
Goodrich, TX 77335                         Spring, TX 77389                           Arcadia, LA 71101




James Daniel Wisinger                      James Darrell Gantt                        James David Blair
33 Coxe Ave                                5809 218Th Place Sw                        7435 Alabonson Road
Asheville, NC 28801-3308                   Mountlake Terrace, WA 98043                Houston, TX 77088




James David Hays                           James David Heard                          James David Kizine
610 Highway 3005                           3003 E Travis St                           11012 Park Drive
Ruston, LA 71270-1067                      Marshall, TX 75672-4551                    Kansas City, MO 64131




James David Mayfield                       James David Tomlinson                      James David Vernon
615 Cr 4103                                PO Box 6260                                12626 South Oak Creek Ct
Jacksonville, TX 75766                     Longview, TX 75608                         Parker, CO 80134




James Davis Clark                          James Davis Hunt                           James Dean Marshall
4008 Stonewick Dr                          561 E Main Street                          1452 Birdie Dr
Arlington, TX 76016-3219                   Spartanburg, SC 29302                      Naples, FL 34120




James Dean Smith                           James Deloney                              James Dodson
2500 W 7Th                                 400 Park Ave Apt 303                       400 Travis Street
Irving, TX 75060                           Calumet City, IL 60409-5029                Suite 1811
                                                                                      Shreveport, LA 71101
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James Donald Mcbride                    James Dorsey Mcelreath Jr Tst      James Dorsey Mcelreath Jr
2013 Burleson Retta Rd                  Acct 8267 00                       PO Box 180128
Burleson, TX 76028                      Bank One Texas Na Trustee          Arlington, TX 76096
                                        PO Box 99084
                                        Fort Worth, TX 76199-0084



James Dorsey Mcelreath Jr Trus          James Douglas Beason               James Douglas Brown
Jp Morgan Chase Bank Na                 5046 Vermillion Drive              213 Welham Trace
Po Drawer 99084                         Castle Rock, CO 80108              Bossier City, LA 71112
Fort Worth, TX 76199-0084




James Douglas Hunter                    James Douglas Lovil Sr             James Douglas Mcnee
c/o Texas State Treasury                8415 E Sherri Circle               821 Jaquet Drive
Unclaimed Property Division             Manvel, TX 77578                   Bellaire, TX 77401
PO Box 12019
Austin, TX 78711-2019



James Dudley Holland Iii                James Dudley Madole Jr             James Dunn
413 Loblolly Lane                       1750 Leonard Road                  519 Gale
Choudrant, LA 71227                     Shreveport, LA 71115               Laredo, TX 78041




James E Allison Jr                      James E And Wife Marie H Fortson   James E Aubrey
323 Cr 2276                             PO Box 1321                        995 Judy Lane
Telephone, TX 75488                     Corsicana, TX 75110                Benton, LA 71006




James E Bailey Iii                      James E Baldwin Iii                James E Childress Estate
322 Roseheart                           19 Dover Drive                     Betty E Childress Executor
San Antonio, TX 78259                   Conroe, TX 77304                   107 County Road 3290
                                                                           Joaquin, TX 75954-4371




James E Cobb                            James E Davis Sep Prop             James E Davison Dianne Odom Davison
1410 Peter Haughton Way Nw              266 Levi Road                      PO Box 607
Atlanta, GA 30318                       Arcadia, LA 71001                  Ruston, LA 71273-0607




James E Devan                           James E Dicson Tr UA 09 24 14      James E Dugger Iv
181 Chelsea Drive                       James E Dickson Rev Trust          PO Box 1108
Shreveport, LA 71105                    1129 Oklahoma Dr                   Mandeville, LA 70470
                                        Ames, IA 50014-3046




James E Edwards                         James E Findley                    James E Fletcher And
1308 Cole Ave                           114 Lakeway Lane                   Ethel Mae Fowler Fletcher
Monroe, LA 71203                        Longview, TX 75604                 Ken Fletcher Poa
                                                                           1518 Nat Street
                                                                           West Monroe, LA 71292



James E Guy                             James E Hopper Dba Jeh Interests   James E Horton
PO Box 100                              PO Box 418                         941 Gause
Artesia, NM 88211                       Uvalde, TX 78802-0418              Dallas, TX 75217
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James E King                            James E King                   James E Kirkland
3 Stonecourt Dr                         PO Box 5473                    4754 Stonebriar Circle
Dallas, TX 75225                        Shreveport, LA 71135           College Station, TX 77845-8987




James E Kohler                          James E Lawler                 James E Lewis
5316 Maritn Rd                          Karaoli Demetriou I            2006 Shoemaker Dr
Erie, PA 16509                          Paleo Faliro                   Killeen, TX 76543-3241
                                        Air Mail Athens
                                        Greece



James E Mauldin                         James E Meador Jr              James E Parkman
7 Par Court                             PO Box 1611                    Co Parkman Whaling Llc
Longview, TX 75605                      Casper, WY 82602               600 Travis Suite 600
                                                                       Houston, TX 77002




James E Perry                           James E Pride                  James E Salter
Rt 2 Box 218                            490 Cr 269                     Ne 9 Lake Cherokee
Ruston, LA 71270                        Beckville, TX 75631            Longview, TX 75603




James E Sealy Jr                        James E Sholar                 James E Sholar Wanda Sholar Jt
2362 E Terraridge Dr                    PO Box 364                     Tnts W/Rightof Survivorship
Littleton, CO 80126                     Petal, MS 39465-0364           PO Box 364
                                                                       Petal, MS 39465-0364




James E Sigmon                          James E Smith Betty M Smith    James E Smitherman Iii
14 Champions Way                        265 Stable Rd                  C/O Smitherman Energy Mgt
San Antonio, TX 78258                   Ruston, LA 71270               5615 Kirby Drive 867
                                                                       Houston, TX 77005




James E Sundine                         James E Tait                   James E Teal
4726 Sunridge Terrace Drive             PO Box 315                     PO Box 341
Castle Rock, CO 80109                   Cordell, OK 73632-0315         Tilden, TX 78072




James E Thorp                           James E Warr Iii               James E Westbrook
1001 Mckinney                           210 Canyon Wren Dr             203 Meadowview Street
Suite 2200                              Buda, TX 78610                 Crockett, TX 758356924
Houston, TX 77002




James E Whiteside Revocable Tr          James E Williams               James E Windham Et Ux Linda R Windham
James E Whiteside Trustee               10755 Hwy 175                  298 Cr 3169
9651 Southeast 137Th St Rd              Grand Cane, LA 71032           Joaquin, TX 75954
Summerfield, FL 34491




James E Young                           James Earl Baird               James Earl Moore
3532 Northridge Road                    106 Lasater Lane               PO Box 788
Longview, TX 75605                      Bullard, TX 75757              Grambling, LA 71245
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James Earl Williams                      James Earl Williams Et Ux                James Earl Young
5714 Fleming Avenue                      Doris Dale Davis Williams                4052 Eastside Ct
Oakland, CA 94605                        5714 Flemming Avenue                     Winston Salem, NC 27127-1010
                                         Oakland, CA 94605




James Earl Young Charlene A Young        James Edward Brown                       James Edward Burks
4052 Eastside Ct                         600 Gourd Creek Rd                       3112 Enterprise Blvd
Winston Salem, NC 27127-1010             Marshall, AR 72650                       Lake Charles, LA 34214




James Edward Cook                        James Edward Davenport                   James Edward Fischer Trustee
288 County Rd 309                        PO Box 12072                             600 Crestbend
Deberry, TX 75639-2140                   Longview, TX 75607                       Houston, TX 77042




James Edward Giles                       James Edward Hall                        James Edward Lewellyan
c/o Terri Zoeller                        3105 South Grand Street                  PO Box 475
PO Box 1484                              Monroe, LA 71202                         Simsboro, LA 71275
Helotes, TX 78023




James Edward Malone                      James Edward Miles                       James Edward Patton Et Ux
1210 Bennie Breece                       9902 Pinehurst                           Liza Jackson Patton
West Monroe, LA 71292                    Baytown, TX 77521                        978 Garr Road
                                                                                  Ruston, LA 71270




James Edward Pierce                      James Edward Pollock                     James Edward Samford
8866 Highway 80 West                     4401 Fern Lake Cut Off                   Rt 2 Box 270
Simsboro, LA 71275                       Marshall, TX 75672                       Tenaha, TX 75974




James Edward Tinsley                     James Edward Williams                    James Edward Wilson
8729 Glenhaven Drive                     508 Garden Street                        1335 W Marquette
Shreveport, LA 71106                     Ruston, LA 71270                         Chicago, IL 60636




James Edwin Holman                       James Egan Fuller                        James Ellis Hawkins
2207 Halifax Ave                         9521 Overcross St                        143 Allen St
Odessa, TX 79761                         Shreveport, LA 71106-7655                Simsboro, LA 71275-3054




James Emanuel Woodard                    James Emery Grayson                      James Engel
3416 Shirley Ct                          6115 Annapolis Lane                      908 E Windfield Place
Benton, LA 71006                         Dallas, TX 75214                         Appleton, WI 54911




James Everett Bush                       James Everly Smith Betty Jones Ttees     James F Allen Lynette W Allen
PO Box 2815                              Of J E B J Smith Living Tr Dtd 10 05 0   1712 Broadway
Harker Heights, TX 76548                 1609 Timothy                             Ruston, LA 71270
                                         Henderson, TX 75654
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James F Gould                          James F Greer And Lois Boemer Greer   James F Guion
Address Redacted                       PO Box 20335                          Address Redacted
                                       Waco, TX 76707




James F Lacoy                          James F Mcdermott Ii                  James F Patsy A Booker
PO Box 2167                            7 Acline Ct                           1584 Booker Loop Road
Cheyenne, WY 82001                     Gaithersburg, MD 20878                Mansfield, LA 71052




James F Roark Jr Md                    James F Slagle And Miranda L Slagle   James F Treadway
4111 East Madison 230                  308 West Alabama                      7203 Hardy Gore Rd
Seattle, WA 98112                      Vivian, LA 71082                      Silsbee, TX 77656




James F Walker Wynell Walker           James F Ware                          James F Welder Royalty Partn
27635 Hwy 9                            PO Box 72                             PO Box 1159
Bienville, LA 71008                    Elysian Fields, TX 75642              Victoria, TX 77902




James F Wood Indv As Ttee              James Fallin                          James Fitch
PO Box 8212                            165 Jefferson Ave Apt 107             3521 Broadmoor
Waco, TX 76710                         Ruston, LA 71270-7068                 Nacogdoches, TX 75965




James Foster Iii                       James Francis Allbright               James Francis Moshinskie
Kathryn Amelia Nobles Foster           PO Box 429                            3717 Old Marlin Rd
1051 Spring Creek Road                 Hobbs, NM 88241                       Waco, TX 76705
Ruston, LA 71270




James Franklin Mcbride Jr              James Franklin Reed Jr                James Fulton Wailes Ii
3111 Traylor Blvd                      5419 Pine Arbor                       3435 Cr 172
Rockport, TX 78382                     Houston, TX 77066                     Alvin, TX 77515




James G Adger                          James G Allison Sr                    James G Armistead
3720 Gold Point Rd                     2925 Georges Lane                     422 North Missouri Street
Shreveport, LA 71107                   Alexandria, LA 71301                  Liberty, MO 64068




James G Blanchette Jr                  James G Crump                         James G Floyd
c/o Linda B Ponti Poa                  323 Terrace Dr                        952 Echo Lane Suite 390
16843 Village Lane                     Houston, TX 77007                     Houston, TX 77024
Dallas, TX 75248




James G Floyd Jr Revocable Trust       James G Greer Jr                      James G Hazlewood
488 Day Lily St                        9947 Burgundy Oaks Dr                 11350 Hillguard Road
Auburn, AL 36832                       Shreveport, LA 71118                  Dallas, TX 75243
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James G Hillberg                       James G Krahn                    James G Lane Jr
1601 Kalakaua Ct                       PO Box 118                       Ira
Gulf Breeze, FL 32561                  Dobbin, TX 77333                 Td Ameritrade Clearing Custodian
                                                                        120 Pentland Court
                                                                        Greer, SC 29651



James G Leal                           James G Lee                      James G Rumph
123 Watson Lake                        385 Stewart Court                243 Kituhwa Trail
Laredo, TX 78041                       Billings, MT 59101               Brevard, NC 28712




James Gardner Meador                   James Gibson                     James Gilbert Hardin
749 Stone Mountain Dr                  5689 Fm 2685                     100 College St
Conroe, TX 77302                       Gilmer, TX 75645                 Royse City, TX 75189-3114




James Gilbert Jackson                  James Gillit                     James Glenn Edwards
204 North Hill Top Drive               1969 South Tyler St              1983 Oakwell Farms Pkwy Apt 1905
Boerne, TX 780065939                   Gladewater, TX 75647             San Antonio, TX 78218-1767




James Gordon Mccullin                  James Goree Jr Et Ux             James Gorman Stevens Jr
167 Fair Road                          Rosie Goldsmith Goree            5103 Estes Parkway
Dubach, LA 71235                       657 Crawford St                  Longview, TX 756039448
                                       Acadia, LA 10472




James Greer                            James Greer Bergman              James Gregg Lea
6206 Mistywood                         PO Box 793                       5084 Augusta St
Dallas, TX 75217                       Goodrich, TX 77335               Houston,, TX 77007




James Gregory Hubley                   James Gregory Oliver             James Gregory Thomas
PO Box 7014                            2601 Torrey Pines                2 Brittany Circle
Tyler, TX 75711                        Fort Worth, TX 76109             Pembroke, NH 03275




James Gulley Durrett                   James H Anderson Jr              James H Barnes Jr
802 Island Point Dr                    1604 S Chilton Ave               1112 Bentwater Pkwy
New Smyma Beach, FL 32168              Tyler, TX 75701                  Granbury, TX 76049-5580




James H Bates                          James H Cain                     James H Chapin
10761 Highway 84                       Larry James Cain Poa             PO Box 1458
Mansfield, LA 71052                    128 Maple Springs Rd             Avon, CO 81620
                                       Longview, TX 75602




James H Colvin                         James H Davis                    James H Davis
627 Wimbledon Blvd                     c/o E Jones Acct No 7520786117   D/B/A J D Minerals
Alexandria, LA 71303                   201 Progress Parkway Dpct        PO Box 1540
                                       Maralyn Heights, MO 63043        Corpus Christi, TX 78403
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James H Davis Dba Jd Minerals          James H Ellington Deceased     James H Heard
PO Box 271120                          109 South College              926 Bayport Drive
Corpus Christi, TX 78427               Ulysses, KS 67880              Lancaster, TX 75134




James H Hornberger Jr                  James H Isbell                 James H Kilgore
6225 Robin Hill Road                   2820 Moss Ave                  688 Simmons Road
Nashville, TN 37205                    Midland, TX 79705              Ruston, LA 71270




James H Lake Jr Mineral Agency         James H Mcgregor               James H Mercer Ii
Bank Of America Na Agent               PO Box 5909                    PO Box 410522
PO Box 840738                          Shreveport, LA 71106           San Francisco, CA 94141-0522
Dallas, TX 75284-0738




James H Nail Iii                       James H Nisbett                James H Rippy
PO Box 1711                            4919 Bluetop Ln                121 S Broadway
Albany, TX 764301711                   San Antonio, TX 78217          Suite 404
                                                                      Tyler, TX 75702




James H Roland                         James H Roland Et Ux           James H Shell
PO Box 74                              Mary Roland                    183 Fowler Road
Spanaway, WA 98387-0074                PO Box 22205                   Winnsboro, LA 71295
                                       Seattle, WA 98122




James H Thomas                         James H Walton                 James H Winfree
850 Camp St 106A                       216 E 21st St                  PO Box 1978
Sulphur Springs, TX 75482              Cheyenne, WY 82001             Waskom, TX 75692




James H Woodard Usufructuary           James H Yates                  James Hardouin Henry
PO Box 271                             PO Box 1932                    1707 Emerson Street
Arcadia, LA 71001                      Midland, TX 79702              Monroe, LA 71201




James Harold Brown                     James Harold Edwards           James Harold Napper Ii
PO Box 335                             3505 Polo Parc Court           1412 South Woodhaven Drive
Colmesneil, TX 75938                   Birmingham, AL 35226           Baton Rouge, LA 70815




James Harold Roach Jr                  James Harrell Harrison         James Harris
716 Coachlight Road                    2488 Hwy 98 E                  184 Ccc Road
Shreveport, LA 71106                   Carrabelle, FL 32322           Ruston, LA 71270




James Hart Smith                       James Harvey Chapman           James Harvey Strickland
5438 Preston Fairways Circle           130 Yorkshire Dr               Delola White Strickland
Dallas, TX 75252                       Yorktown, VA 23693             7870 Hwy 80
                                                                      Ruston, LA 71270
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James Hatcher                            James Henderson                    James Henri Leabo
Address Redacted                         3300 26Th Ave E Lot 88             c/o Texas State Treasury
                                         Sugar Creek Resort                 Unclaimed Property Division
                                         Bradenton, FL 34208                PO Box 12019
                                                                            Austin, TX 78711-2019



James Henry Davis                        James Henry Radack                 James Herbert Shipp Jr
PO Box 149                               3760 County Rd 330                 1545 Stevens Creek Drive
Anahuac, TX 77514-0149                   Caldwell, TX 77836                 North Augusta, SC 29860




James Hill                               James Hill Feagin Jr               James Hodge
3819 King St                             587 S Race Street                  192 Pr 8432
Houston, TX 77026                        Denver, CO 80209                   Joaquin, TX 75954




James Hoke Shinalt                       James Holmes Taylor                James Houston Hall Et Ux
PO Box 758                               1149 Graystone Dr                  PO Box 746
Wheatland, WY 82201                      Shreveport, LA 71107               Ruston, LA 71270




James Howard Stanley                     James Howell Sp                    James Hulett
3204 Edgewood Rd                         239 County Road 3189               3101 Jamestown Dr
Kilgore, TX 75662-2242                   Joaquin, TX 75954                  Montgomery, AL 36111




James Hunter Atkins                      James Hurley Fortson               James I Hays
Enerquest Oil Gas Llc Poa                722 Fm 1126                        7510 Cr 314
12368 Market Drive                       Rice, TX 75155                     Lanesville, TX 75652
Oklahoma City, OK 73114




James I Norris                           James I Nugent Et Ux               James J Brady
3205 Santee Drive                        Mary Baker Nugent                  105 Jan St
Austin, TX 75214-3016                    122 Steamboat Lane                 Henderson, TX 75654
                                         Apt 6
                                         Ballwin, MO 63011



James J Garr Jr                          James J Henry                      James J Hewgley Jr LLC
1146 Angmar Ct                           10156 Wandering Way St             James M Hewgley Iii Mgr
San Jose, CA 95121                       Benbrook, TX 76126-3012            3130 So Quaker Road
                                                                            Tulsa, OK 74105




James J Ludwig Trust                     James J Phares And                 James J Rubow
James J Ludwig Trustee                   Marcus Judson Bickham Phares       200 S Main Ave
66 Montclair Terrace                     600 E Floornoy Lucas Road Apt B2   Azrec, NM 87410
San Francisco, CA 94109                  Shreveport, LA 71115




James Jackson                            James Jacqueline D Duncan          James Jefferson Holstead
104 Valarie Way                          927 Se Cr 9129A                    3458 Big Island Drive
Henderson, NV 89074                      Corsicana, TX 75109                Roach, MO 65787
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James Jesse Stamper Md                   James Joe                       James Johnson
Po Drawer 1768                           1509 Oakdale St                 PO Box 652
Shreveport, LA 71166                     Ruston, LA 71270                Mansfield, LA 71052




James Johnson Hamiter                    James Jowers                    James K Hays Ind Usufruct
12708 Campolina Way                      4900 Highway 145                217 Spring Lake Road
Fort Worth, TX 76244                     Choudrant, LA 71227             Homer, LA 71040




James K Jones Jr                         James K Jones Jr Ry             James K Jones Sr
306 Belair Drive                         306 Belair Drive                Bear Paw Ranch
Laredo, TX 78041                         Laredo, TX 78041                504 Fairway Drive
                                                                         Kerrville, TX 78028




James K Jones Sr Ry                      James K Polk                    James K Sehon
Bear Paw Ranch                           9139 Covent Garden Dr           2299 Sterlington Rd Apt B207
504 Fairway Dr                           Houston, TX 77031               Monroe, LA 71203-3069
Kerrville, TX 78028




James K Sehon Elizabeth G Sehon Ttees    James K Ternes                  James K Tully Revoc Lvng Trust
Of James K Sehon Elizabeth G Sehon       315 Emerald Way                 U/A/D 12/17/97
Rev Lvg Trst                             Smiths Grove, KY 42171          James K Tully Trustee
315 Hedge Hill Cove                                                      1650 East Entrada Tercera
Calhoun, LA 71225                                                        Tucson, AZ 857185827



James K Young Life Estate                James Keith Baker Ii            James Kenan Iii
PO Box 832                               PO Box 362                      360 East Vine Street
Tatum, TX 75691                          Soulsbyville, CA 95372          Suite 310
                                                                         Lexington, KY 40507




James Kenneth Abney Jr                   James Kevin Maddry              James Kevin Mclendon
7303 Lane Park Ct                        135 Dubach Road                 c/o Barbara Rouse
Dallas, TX 75225-2467                    Dubach, LA 71235                1492 N Willow Oak Road
                                                                         Gladewater, TX 75647




James Kinsey Young                       James L And Elizabeth Stewart   James L Anderson
5871 Harbour View Blvd Ste A307          PO Box 808                      14414 Silver Lace Ln
Suffolk, VA 23435-3677                   George West, TX 78022           Houston, TX 77070-2276




James L Bayless Jr                       James L Bradley Jr              James L Bradley Sr
2405 Rockmoor Ave                        1637 Fm 937                     PO Box 519
Austin, TX 78703                         Groesbeck, TX 76642             Groesbeck, TX 76642




James L Brewer Jr                        James L Burnett                 James L Chambless
PO Box 668                               2310 Gulf Ave                   c/o James Chambless Poa
Marshall, TX 75671                       Midland, TX 79706               175 Cr 1133
                                                                         Kilgore, TX 75653
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James L Childress Trust 1               James L Claughton              James L Crawford
John C Childress Trustee                617 Bradshaw                   6107 Griggs
PO Box 218                              Corpus Christi, TX 78412       Fort Worth, TX 76119
Center, TX 75935-0218




James L Cruce                           James L Evans                  James L Fallin Community W/
814 Armstrong Dr                        3858 C W Redondo Beach Blvd    1601 Cooktown
Georgetown, TX 78633-5187               Torrance, CA 90504             Ruston, LA 71270




James L Hall                            James L Hanspard               James L Harkness
6896 Spring Branch Road                 312 W Pebblebrook Lane         2286 Third Street
Montgomery, TX 77316                    Glenn Heights, TX 75154        Orange, TX 77632




James L Holtzclaw                       James L Poe Dolores M Poe      James L Walker
669 Bill Lockey Rd                      4106 Forsythe Avenue           248 Cr 1105
Cotton Valley, LA 71018-2613            Monroe, LA 71201               Alto, TX 75925




James Lamar Atkins                      James Larry Beason             James Larry Beason Jr
282 May Rd                              813 Arapaho Dr                 1440 Cherokee Cir
Dubach, LA 71235-2733                   Burkburnett, TX 76354          Burkburnett, TX 76354-2845




James Larry Deason                      James Larry Jordan             James Latham Goolsby
3847 Lake Latania                       C/O First National Bank        102 Furrh St
Baton Rouge, LA 70816                   3991 College St                Marshall, TX 75672
                                        Arcadia, LA 71001




James Lee Blackwell                     James Lee Brokaw               James Lee Cole Sep Property
3738 Armstrong Avenue                   125 Commonage Drive            1826 Driftwood Court
Dallas, TX 75205-3806                   Great Falls, VA 22066          Abilene, TX 79602




James Lee Laster                        James Lee Silliman Trust       James Lee Smith
808 Jamaica St                          James Lee Silliman Trustee     3603 Woodbridge Dr
Longview, TX 75604                      1151 Woodside Drive            Kingwood, TX 77339
                                        Camden, AR 71701




James Lennon Hill                       James Leo Dunn Et Ux           James Leon Maxey
7 Leonard Trail                         Elanda B Dunn                  2432 Jefferson Ave
Westworth Village, TX 76114             208 Goodlife Street            New Orleans, LA 70115
                                        Grambling, LA 71245




James Leonard Lowry                     James Leroy Kyles              James Lester Terrell
4775 Lee Waters Rd Ne                   1133 West 58Th Place           2950 Hwy 563
Marietta, GA 30066                      Los Angeles, CA 90044          Simsboro, LA 71275
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James Lester Woods                       James Lewis Brown                     James Linton
1822 Holly Oak St                        3613 Greenbrair Court                 205 Lake Estates Dr
Arlington, TX 76012                      Colleyville, TX 76034                 Hughes, AR 723489081




James Lionel Barneson                    James Lois Ellis Barbara Nell Ellis   James Lorenzo May
118 Bruce Street                         PO Box32                              5419 Woodside Ave
Yreka, CA 96097                          Arcadia, LA 71001                     Kansas City, MO 64133




James Lotspeich                          James Luther Harris                   James Lyndell Hunter Estate
4058 Fm 799                              1947 Jackson Road                     Crystel Hunter Roberts Ttee
Beeville, TX 78102                       Westfield, NC 27053                   2959 Aspen Trail
                                                                               Gilmer, TX 75644




James Lynn Busbee                        James Lynn Culp                       James Lynn Griffin
337 Donna Dr                             957 North Marshall                    361 Cr 204
Lufkin, TX 75904-7349                    Henderson, TX 75652                   Carthage, TX 75633




James Lynn Newsom And                    James M Belton                        James M Belton Et Ux
Flora Belle Lofton Newsom                PO Box 696                            Mary J Belton
9155 Hwy 80                              Hodge, LA 71247                       158 Small Rd
Simsboro, LA 71275                                                             Quitman, LA 71268




James M Blankenship                      James M Brasher                       James M Buster Duran
PO Box 410                               118 Copley Street                     PO Box 8
George West, TX 78022                    West Monroe, LA 71291                 Henderson, TX 75653




James M Copeland                         James M Cornwell Et Ux                James M Edmiston Jr
3759 U S Highway 79 South                Lucy C Cornwell                       1902 Richard Dr
Carthage, TX 75633                       270 Cornwell Drive                    Monroe, LA 71201
                                         Grambling, LA 71245




James M Farris                           James M Frances E Tennyson            James M Gabler
PO Box 7244                              PO Box 72                             12 E Glenn Dr
Beaumont, TX 77706                       Smackover, AR 71762                   Phoenix, AZ 85020




James M Gibson Separate Prop             James M Hammond Jr                    James M Hancock Jr
8305 Winterbourne Apt 7                  6577 Forestview Ln N                  12330 Scarcella Lane
Louisville, KY 40222                     Maple Grove, MN 55369                 Meadows Place, TX 77477




James M Hendrex                          James M Knox                          James M Knox As Agent And Atty
1906 Glass Ave                           D/B/A Tri Soft                        In Fact For Orracille M Knox
Rockport, TX 78382-3416                  1300 W Koenig Ln Ste 200              1300 Koenig Lane Suite 200
                                         Austin, TX 78756                      Austin, TX 78756
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James M Laughead Estate                 James M Light Jr                       James M Martin
1702 Whitney Way                        7713 Chesapeake Drive                  64 W 9Th St Apt 2D
Austin, TX 78741-3222                   Shreveport, LA 71105                   Brooklyn, NY 11231




James M Mclure Jr                       James M Medlin And Wife Oly M Medlin   James M Nabors Rev Trust
c/o Jim E Miller Cpa                    715 Wiley Page Rd                      Anne James Nabors Ttees
PO Box 626                              Longview, TX 75605                     3229 Canvasback St
Shreveport, LA 71162                                                           Katy, TX 77493




James M Nash Jr                         James M Noonan                         James M Oakes
PO Box 941332                           603 Kings Mountain Drive               3710 Ridgemont St
Houston, TX 77094                       Longview, TX 75601                     Ruston, LA 71270




James M Osborne                         James M Parker                         James M Perkins Jr
5050 62nd Avenue S                      c/o Unclaimed Property Division        4926 Purdue Avenue
St Petersburg, FL 33715                 PO Box 12019                           Dallas, TX 75209
                                        Austin, TX 78711-2019




James M Rogers                          James M Sheppard                       James M Smith
3417 Oleander St                        PO Box 10700                           4805 Wedgewood Drive
Bossier City, LA 71112                  El Dorado, AR 71730-0004               Bellaire, TX 77401




James Mackey Everett                    James Madison Furrh                    James Madison Furrh Trust A
10785 Harvestwood Drive                 Gail Rosborogh Furrh Life              James Madison Furrh Trustee
Tyler, TX 757039420                     Post Office Box One                    PO Box 179
                                        Elysian Fields, TX 75642               Elysian Fields, TX 75642




James Malcolm Clemens Jr                James Mallory Pace Rev Trust           James Mamon
6720 Amberly Street                     James Mallory Pace Trustee             635 Madden Road
San Diego, CA 92120                     2594 E River Birch Dr                  Ruston, LA 71270
                                        Fayetteville, AR 72703




James Mark Connally                     James Mark Morgan                      James Mark Taylor
12219 Cobblestone                       Nona Beth Morgan                       3709 Hwy 544
Houston, TX 77024-4220                  1009 Bay Ridge Drive                   Simsboro, LA 71275
                                        Benton, LA 71006




James Mark Watson                       James Mark Wyche                       James Marlin Bush
1922 Althea                             1500 Pineridge Street                  145 Cr 305
Houston, TX 77018                       Longview, TX 75604                     Carthage, TX 75633




James Marsh Reid                        James Marshall                         James Marshall Laughead
17309 Sun River Court                   c/o Collin Underwood                   1601 Whitney Way
Edmond, OK 73003                        123Rd District Court                   Austin, TX 78741-3219
                                        PO Box 147
                                        Carthage, TX 75633
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James Marshall Laughead Fam Tr          James Martin Willis             James Marvin Copeland
1601 Whitney Way                        902 Greenway Court              5633 Highway 79 E
Austin, TX 78741-3219                   Norfolk, VA 23507               Henderson, TX 75652




James Mary E Moore Rev Tr Dtd 1/26/05   James Mason                     James Mason And Monica Mason
James Mary Ellen Moore Ttees            514 County Road 115             514 County Rd 115
816 Canterbury Dr                       Carthage, TX 75633              Carthage, TX 75633
Fayetteville, AR 72701




James Massingill                        James Matthew Stuckey           James Matthew Vise
PO Box 2181                             106 W Rowan St                  2920 Ridgeline Dr Apt 623
Big Spring, TX 79721                    West Monroe, LA 71291           Fort Worth, TX 76135




James Matthew Williams                  James Maynard Consultants LLC   James Mcgann
1721 B Sweetbriar Ave                   PO Box 32                       6119 S Potomac Way
Nashville, TN 37212                     Gary, TX 75643                  Englewood, CO 80111




James Mckinley Rose Jr                  James Mclean                    James Medlin Oly Medlin
34 Drake Ln                             PO Box 2001                     715 Wiley Page Rd
Scarborough, ME 04074                   Batesville, AR 72503-2001       Longview, TX 75605




James Melvis Windham                    James Mercer Argo Test Trust    James Mezrano
706 Church St                           Progressive Bank Trustee        2 Perimeter Park Suite 100W
Carthage, TX 75633                      1411 North 19Th Street          Birmingham, AL 35209
                                        Monroe, LA 71201




James Michael Daniel                    James Michael Gibson            James Michael Hays
14019 Swiss Hill                        7201 Shipp Road                 PO Box 417
Houston, TX 77077                       Rowlett, TX 75088               Homer, LA 71040




James Michael Jackson Et Ux             James Michael King Et Ux        James Michael Mcgrew
Latonya Cockerham Jackson               Lori Ruth Potts King            2318 Orbit Ave
121 Sims Street                         3400 English Turn               Corpus Christi, TX 78409
Simsboro, LA 71275                      Ruston, LA 71270




James Michael Ritter                    James Michael Roberson          James Michael Sahlman
349 Rena Drive                          One Palm Street                 13300 Arrowsprings Dr
Lafayette, LA 70503                     Texarkana, TX 75503             Reno, NV 89511




James Michael Storey                    James Michael Thomas            James Michael Trussell
889 Storey Rd                           8317 Dance Drive                2909 W Barnett Springs Ave
Nocona, TX 76255                        Shreveport, LA 71129            Ruston, LA 71270-9082
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James Michael Wood                     James Michael Wood And Lavonne Wood       James Micheal Mcdaniel
776 Connells Ferry Road                776 Connells Ferry Rd                     PO Box 1124
Joaquin, TX 75954                      Joaquin, TX 75954                         Winnie, TX 77665




James Milton Miles Wife Marian Miles   James Mitchell Carroll                    James Monroe Sims
3168 Pleasant Green Road               Aka Jimmy Mack Carroll                    2060 Myrtle St
Longview, TX 75603                     217 East Pointe Drive                     Arcadia, LA 71001
                                       Benton, LA 71006




James Moore Ethel Rushing Moore        James Morris Boyd                         James Morton Ware
PO Box 788                             2706 Cr 108                               1200 Crawford Ct
Grambling, LA 71245                    Carthage, TX 75633                        Apt 103
                                                                                 Granbury, TX 760482287




James Mullins                          James Murphy                              James N Adams Jr Lifetime Tst
311 Se Cr 3129                         Wanning St No 131 3F                      U/Lorraine G Adams Family Tst
Corsicana, TX 75109                    Taipei, TP 116                            James N Adams Jr Trustee
                                       China                                     1810 Fm 1844
                                                                                 Longview, TX 75605-6963



James N Chambers                       James N Charlton                          James N Dearien
PO Box 127                             PO Box 606                                3217 Beverly Drive
Huntsville, TX 77342-0127              Clyde, TX 79510                           Dallas, TX 752052924




James N Fagin                          James N Fagin Irrev Trust Dtd 2/27/2009   James N Giannukos Ttee
11312 E Mendoza Ave                    Sandra Fagin Trustee                      James N Giannukos Fam Benef Grantor Tr
Mesa, AZ 85209-1443                    11312 E Mendoza Ave                       7721 S Hunters Creekway Dr
                                       Mesa, AZ 85209                            Houston, TX 77055




James Neal Garland 2008 Trust          James Nelson Dearien Ii                   James Newell Starkey
430 N Center Ste 110                   3217 Beverly Dr                           131 Meekins Road
Longview, TX 75601                     Dallas, TX 75205                          Cleveland, TX 77328




James Newton Lewis Jr                  James Noorigian                           James O Blackwell Jr
1605 Westcrest Dr                      14 32 River Road                          4259 Dartmouth Ave
Arlington, TX 76013-3445               Fair Lawn, NJ 07410-1207                  Houston, TX 77005




James O Breene Jr                      James O Cable LLC                         James O Ellington
3320 S Clayton Blvd                    418 Gordon Drive                          109 S College
Englewood, CO 80113                    Castle Rock, CO 80104                     Ulysses, KS 67880




James O Garibaldi                      James O Lindholm                          James O Smith Iii
678 Tranquility Dr                     PO Box 35                                 PO Box 822814
Denham Springs, LA 70706               George West, TX 78022                     Dallas, TX 75382
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James O Thornburg                        James O Upchurch               James O Whiddon Lillian Whiddon
PO Box 345                               15819 Rothbury Ln              153 Cr 208
Notre Dame, IN 46556                     San Antonio, TX 78232-2760     Carthage, TX 75633




James O Willis And Merle Willis          James O Winston Iv             James Odis Blackwell Iii
9844 Hwy 146                             28453 Bridal Path              3400 Timmons Ln 46
Ruston, LA 71270                         Boerne, TX 78006               Houston, TX 77027




James ODonnell                           James Oliver Lee Jr            James Ollin Smiley
830 S Main St                            PO Box 670321                  16111 Cypress Valley
Suite 2 D                                Dallas, TX 75367               Cypress, TX 77429
Cottonwood, AZ 86326




James Olly Sutton                        James Otis Turner              James Overton Winston Iv Trust
c/o Collin Underwood                     3500 Bramleton                 U/W/O Ella Rice Winston F H Winston Tt
123Rd District Cour                      Fort Worth, TX 76119           c/o Travis Prop Mgmt Llc Agent
PO Box 147                                                              PO Box 56429
Carthage, TX 75633                                                      Houston, TX 77256-6429



James P Balkey                           James P Blake Est              James P Dawkins
18076 Forest Glen Circle                 Evelyn B Geer Rumsey Admin     6576 S Killarney Court
Flint, TX 75762                          30 S St                        Aurora, CO 80016
                                         Marcellus, NY 13108




James P Dulany                           James P Hill Distributor Inc   James P Hurst
No 7 Bayberry Lane                       PO Box 459                     4511 Doss Rd 21
Exeter, NH 03833                         Farmerville, LA 71241          Austin, TX 78734




James P Kay                              James P Palmer Jr              James P Riggs Living Trust
100 Magnolia                             715 Maiden Choice Ln           Richard A Pulley Ttee
Ferris, TX 75125                         Apt Hv304                      PO Box 33
                                         Catonsville, MD 21228          Fredericksburg, TX 78624




James P Ritter Jr                        James P Sanders                James Pat Corrigan Jr
6260 Claybourn Dr                        2590 Highway 80                PO Box 690068
Beaumont, TX 77706                       Choudrant, LA 71227-2002       Vero Beach, FL 32969




James Patrick Duggan                     James Patrick Hurt             James Patrick Reichle
3500 North Trenton                       PO Box 1973                    PO Box 162893
Ruston, LA 71270                         Midland, TX 79702              Austin, TX 78716




James Paul Buchanan                      James Paul Gary                James Paul Mccoy
47 Rae Court                             16745 County Road 2203         2512 Pinehurst Blvd
Saint Louis, MO 63146                    Arp, TX 75750                  Shreveport, LA 71104
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James Pearl Weaver                      James Perkins Investments Ltd      James Perry Mcwilliams
201 Central Street                      c/o Clara James Perkins Marchant   PO Box 1231
West Monroe, LA 71292                   1907 Violet Place                  Kilgore, TX 75663
                                        Richardson, TX 75080




James Petersen                          James Phelps                       James Pierce Thomspon
45 Lisgar St                            395 Cr 2118                        1217 Jasmine Lane
225                                     Longview, TX 75603                 Longview, TX 75604
Toronto, ON M6J 0B8
Canada



James Polk Stone National Bank          James Ponder Stewart               James Porter Needham
109 East 2nd Street                     3499 Hwy 164                       3440 Corinth Parkway 2101
Portales, NM 88130                      Doyline, LA 71023                  Corinth, TX 76208




James Potts                             James Powell Zachery               James Preston Johnston
2300 W San Angelo                       310 S St MaryS Street              Residuary Trust
No 2031                                 Suite 500                          Prosperty Bank Ttee
Gilbert, AZ 85233                       San Antonio, TX 78205              1401 Ave Q
                                                                           Lubbock, TX 79401



James Preston Smith Trust               James Preston Telford              James R And Jean P Thompson
c/o Carl Lindsey Iii Trustee            1403 Sherwood Drive                Co Trustees
2302 Llama Dr                           Ruston, LA 71270                   6 Old Coach Road
Searcy, AR 72143                                                           Napa, CA 94558




James R Armstrong                       James R Baxter Et Ux               James R Brown
Non Exempt Trust                        Carolyn Baxter                     1011 N Gregg St
c/o Amegy Bank Na                       14111 N E Cr 3170                  Big Spring, TX 79720
PO Box 27767                            Kerens, TX 75144
Houston, TX 77227



James R Brown Jr                        James R Carroll Jr                 James R Collins Iii Estate
PO Box 8024                             1201 Mondy Rd                      Terry Ann Weers Poa
Lumberton, TX 77657-0024                Ruston, LA 71270                   1030 E Ireland
                                                                           Seguin, TX 78155




James R Colvin Jr                       James R Corum                      James R Crumrine Dba Stikmaker Sales
1232 Meadow Trail                       2935 Thousand Oaks Dr Ste 6        PO Box 1587
Franktown, CO 80116                     San Antonio, TX 78247-3564         Beeville, TX 78104




James R Davis Tami H Davis              James R Deeds                      James R Edmonson
1519 Bonaparte                          Ns 53 Lake Cherokee                10743 Wrigley Field Ave
Ruston, LA 71270                        Longview, TX 75603                 Denham Springs, LA 70726




James R Fuller Jr                       James R Garrett                    James R Greenbaum Jr
PO Box 4305                             1166 Hwy 764                       PO Box 9910
Monroe, LA 71211                        Logansport, LA 71049               Rancho Santa Fe, CA 92067
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James R Haynes 2005 388                  James R Hays Jr                          James R Hewell
Kirby Darnell Receiver                   1331 Crooked Stick Dr                    68 Hunt Lane
4Th District Court                       Prosper, TX 75078                        Pottsboro, TX 75076
PO Box 1687
Henderson, TX 75653



James R Hill Family Limted Partnership   James R King                             James R Kneipp
PO Box 429                               2709 Oak Springs Dr                      Address Redacted
Fort Forth, TX 76101                     Garland, TX 75042




James R Lowe Kathy Lowe                  James R Madison                          James R Madison Jr
1009 Tom Cummings Road                   PO Box 21990                             10485 Keysburg Court
Livingston, TX 77351                     Shreveport, LA 71120-1990                Shreveport, LA 71106




James R Massey                           James R Mcneil And Wife Susan E Mcneil   James R Mollard
6807 Crestridge                          5036 Strickland Springs Rd               4908 Freyburg Hall Rd
Manvel, TX 77578                         Marshall, TX 756725916                   Schulenburg, TX 78956




James R Morgan                           James R Neal Tr Fbo Marian               James R Nesch
PO Box 1308                              Neal Lyeth 1968 Trst 3000                2902 Des Moines Dr
Ruidoso, NM 883551308                    c/o Cadence Trust Oil Gas Dep            Fort Collins, CO 80525
                                         Po Box 4458
                                         Houston, TX 772104458



James R Patterson Jr                     James R Paxton                           James R Paxton Unified Credit
1324 Hollywood Ave                       P O Drawer 2030                          Trust Doris H Paxton Trustee
Glenview, IL 60025                       Palestine, TX 75802                      126 Meadowbrook
                                                                                  Palestine, TX 75803




James R Pollard                          James R Seba                             James R Sledge Cpl
PO Box 6                                 1936 Raxton Road                         PO Box 10
Kingsland, TX 78639                      Baltimore, MD 21204                      Ruston, LA 71270




James R Taylor Individually              James R Wilson                           James R Wright
PO Box 882                               10229 Stoneway                           Box 1706
Greenville, TX 75401                     El Paso, TX 79925                        Longview, TX 75606




James Ragan Baker                        James Randall Waggoner                   James Randell Mendenhall
PO Box 215                               302 Medorah Dr                           25460 Bann Street
Athens, LA 71003                         West Monroe, LA 71291                    Manhattan, IL 60442




James Ray Grafton                        James Ray Hicks And Wife                 James Ray Hogan
825 W Sabine                             Priscilla Hicks                          133 Mayweather Road
Carthage, TX 75633                       15833 Garrison Circle                    Mansfield, LA 71052
                                         Austin, TX 78717
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James Ray Nail                         James Rayburn Landers          James Rayford Jones Jr
1001 N Elm St                          814 James Avenue               4385 Strickland Springs Road
Sweeny, TX 77480                       Deer Park, TX 77536            Marshall, TX 75672-1911




James Raymond Beaty                    James Reed Stacy               James Rex Bell
PO Box 5664                            1948 Fish Hatchery Rd          14785 Oak Shores Dr
Pahrump, NV 89041                      Natchitoches, LA 71457         Willis, TX 77378




James Rex Holstead Jr                  James Rice                     James Richard Carroll Jr
2088 Lindsey Ln                        7309 Elton Drive               PO Box 1123
Niceville, FL 32578-1625               Rowlett, TX 75089              Sherman, TX 75091-1123




James Richard Eberhart                 James Richard Farris           James Richard Hamilton
104 Mustang Trail                      3100 Masters Circle            7351 Cr 235 N
Shady Shores, TX 76208                 Tyler, TX 75701                Henderson, TX 756523838




James Richard Johnson                  James Richard Lee              James Richard Sanford
Donna Marie Quin Johnson               5518 Rotan                     200 Vollie Sanford Rd
2010 Jillian Oaks Ct                   Houston, TX 77032              Calhoun, LA 71225
Spring, TX 77386




James Riley Johnson And                James Robert Andrus            James Robert Britt
Sylvia Ann Green Johnson               637 Deer Trail Dr              154 Grand View Dr
312 New Natchitoches Road              Jourdanton, TX 78026           Ruston, LA 71270-8835
West Monroe, LA 71292




James Robert Ferguson Et Ux            James Robert Flickinger        James Robert Florey Jr
Brenda Gail Odom Ferguson              1217 Magnolia                  2326 Ridge Plaza
PO Box 73                              Richardson, TX 75080           Castle Rock, CO 80108
Simsboro, LA 71275




James Robert Henry Trust               James Robert Pepper            James Robert Price
3426 Westminister                      1423 Hubbard Drive             2171 Mitcham
Monroe, LA 71201                       Tyler, TX 75703                Ruston, LA 71270




James Robert Smith                     James Rodney Dickerson         James Rodney Thomas
12307 Broken Bough                     403 South 3Rd Street           321 Co Road 193
Houston, TX 77024                      Homer, LA 71040                Gray, TX 75643




James Roger Huff                       James Roland Dykes Jr          James Roland Mcneil
145 Fm 1794W                           26515 Fire Dance               445 Blazier Lane
Beckville, TX 75631                    Boerne, TX 78006               West Monroe, LA 71291
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James Ronald Lowe                        James Roscoe Copeland          James Ross
Kathy Lowe Poa                           386 Forest Trail               PO Box 2048
1009 Tom Cummings Road                   Marshall, TX 75672             Henderson, TX 75653
Livingston, TX 77351




James Roy Anderson                       James Roy Dorman 2008 Trust    James Rumsey Thompson
5817 Carolyn Dr                          829 Cr 266                     Residual Trust
North Richland Hills, TX 76180-6307      Beckville, TX 75631            c/o Bruce M Thompson Trustee
                                                                        39313 Spanish Bay Place
                                                                        Davis, CA 95616



James Russell Day                        James Russell Dowling          James Russell Mcwilliams
902 East Cornwall                        20706 Youpon Ln                4241 Irvin Simmons
Rockport, TX 78382                       Porter, TX 77365-3256          Dallas, TX 75229




James Russell Proctor                    James S Caskey                 James S Cregut Veronica H Cregut
124 Mcrae Ln                             107 Swedes Ave                 1913 Mimosa
Saint David, AZ 85630-6120               Shreveport, LA 71105           Ruston, LA 71270




James S Everett                          James S Gilliland Jr           James S Holley Jr
PO Box 107                               560 Colonial Road Suite 200    1861 Troup Highway
Breckenridge, TX 76424                   Memphis, TN 38117              Tyler, TX 75701




James S Lebsack                          James S Peterson Trust         James S Roberson
PO Box 22215                             1740 East Jamison Place        6005 Highway 151
Denver, CO 80222                         Centennial, CO 801223024       Dubach, LA 71235-2341




James S Robertson Jr                     James S Welch                  James S Wieferman Trust
3131 Maple Ave 2H                        111 Lake Gloria Rd             Farmers National Co Agent
Dallas, TX 75201                         Boswell, PA 15531              Oil Gas Dept
                                                                        PO Box 3480
                                                                        Omaha, NE 68103-0480



James Salah Craig                        James Samuel Everett           James Sciscoe
PO Box 1105                              1656 Wellington Springs Ave    8426 187Th St Sw
Henderson, TX 75653                      Henderson, NV 89052            Edmonds, WA 98026




James Sewall Peterson Sr                 James Sheridan Cochran         James Sherrill Bassett
1740 East Jamison Place                  7719 Caruth                    3442 Sh 322N
Centennial, CO 801223024                 Dallas, TX 75225               Henderson, TX 75652




James Sidney Tutt                        James Slater                   James Smith Farrin
5028 Airline Dr                          300 Garrett Road               57 North Tulane Street
Longview, TX 75605                       Monroe, LA 71202               Princeton, NJ 08542
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James Stella Pon                        James Stephen Allen            James Stephens
9830 Moorberry                          205 Helm Lane                  1013 Jerry Lucy Road
Houston, TX 77080                       Sulphur Springs, TX 75482      Longview, TX 75603




James Stephenson Jr                     James Stepp                    James Steven Haygood
201 Bell Street                         Address Redacted               3527 Needville Ave
Henderson, TX 75652                                                    Needville, TX 77461




James T Anderson                        James T Brumley Ii             James T Darwin Jr
831 West St                             1280 Red Oak Trl               Cecile D Ingram Or James C
Muskegon, MI 49442                      Mckinney, TX 75069-9493        Beam Ingram Conservator
                                                                       610 Briarwood Ln
                                                                       Picayune, MS 394661571



James T Hammond                         James T Hayes Deceased         James T Lea
2428 Albert Street                      PO Box 3217                    Attn Monique
Alexandria, LA 71301                    Whittier, CA 90605             678 E 17Th St
                                                                       Chattanooga, TN 37408




James T Mccrary                         James T Mccrary Elizabeth      James T Mccune
Rt 3 Box 71                             8525 Allman Rd                 6352 Us 79 South
Ruston, LA 71270                        Lenexa, KS 66219               Henderson, TX 75654




James Taylor                            James Taylor Musslewhite Jr    James Taylor Pirtle Lvng Tst Trust
Rt 1 Box 205                            2116 Oak Ave                   Nationsbank Na Trustee
Deberry, TX 75639                       Northbrook, IL 60062           c/o Pcg Oil Gas
                                                                       PO Box 840738 Account 014/00
                                                                       Dallas, TX 75284-0738



James Taylor Wharton Md                 James Thomas Brown             James Thomas Dorsey
1332 Milford                            285 Cr 2794                    268 County Road 160
Houston, TX 77006                       Mineola, TX 75773              Long Branch, TX 75669-2604




James Thomas Hardin Jr                  James Thomas Hinkle            James Thomas Mccrary
416 Madison Pl                          540 Elliott Ranch Road         8525 Allman Road
Ponder, TX 76259-8469                   Buda, TX 78610                 Lenexa, KS 66215




James Thomas Mccrary Iii                James Thomas Sumrall Jr        James Thomas Watt
1987 Century Loop                       PO Box 1439                    1323 Taymouth Dr
Eros, LA 71238                          Ruston, LA 71270               Spring, TX 77386




James Thompson                          James Timothy Bush             James Trosper Willie Iv
3805 Fm 2276 N                          1216 Fm 1970 N                 4148 Bienville Street
Henderson, TX 75652                     Timpson, TX 75975              New Orleans, LA 70119
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James Troy Baker                        James Troy Browning Jr              James V Beauchamp And Mona J Beauchamp
140 Amberwood Ct                        PO Box 147                          PO Box 191
Kyle, TX 78640                          Haynesville, LA 71038               Tuleta, TX 78162




James Vaden Beauchamp                   James Van Linda W Beasley           James Vestal Purdy Iii
PO Box 191                              451 Hickory Lane                    14107 Lorne Drive
Tuleta, TX 78162-0191                   Jonesboro, LA 71251                 Houston, TX 77049




James Victor Baskerville                James Villery                       James W Barber Trust
PO Box 660058                           2833 23Rd St                        5663 Hwy 154W
Birmingham, AL 35266                    Orange, TX 77630-2109               Gilmer, TX 75644




James W Beaty                           James W Bonnie J Freeman            James W Buckner And Judy P Buckner H/W
1319 Marigold                           3649 Dianna Drive                   PO Box 34
Allen, TX 75002                         Longview, TX 75602                  Athens, LA 71003




James W Connor                          James W Covington                   James W Frank
658 Lee Road                            1167 Mott Road                      Mary D Frank
Kilgore, TX 75662                       Plain Dealing, LA 71064             264 Thrush Road
                                                                            Gilmer, TX 756457331




James W Gardner Bill                    James W Gorman Jr                   James W Haefele
2709 Woods Ln                           7373 Broadway Suite 508             7000 Ranger Dr
Garland, TX 75044                       San Antonio, TX 78209               Cheyenne, WY 82009




James W Haley                           James W Harman                      James W Havender
219 Story Drive                         Chase Bank Acct 5660151274          323 E 234Th Street
Buda, TX 78610-3295                     Attn Chase By Mail Ky1 0900         Bronx, NY 10470
                                        PO Box 32750
                                        Louiseville, KY 40233



James W Irwin Jr                        James W Karen K Johnson             James W Mccommons
13006 Fm 757                            1500 Mesa St                        PO Box 196031
Winona, TX 75792                        Ruston, LA 71270                    Dallas, TX 75219




James W Persons Jr                      James W Pratt Estate                James W Robinson
701 Blackjack Pass                      6430 Mccommas Blvd                  42 Robinson Trail
Cedar Park, TX 78613                    Dallas, TX 75214                    Springfield, AR 72157




James W Simmons                         James W Spears Jo Ann Cole Spears   James W Spears Jr Jean Spears
201 Vista Robles St                     c/o Ruth A S Westmoreland Poa       Robert V Ruth A Westmoreland
San Antonio, TX 78232                   128 Pine Acres Dr                   c/o James W Spears
                                        Leesville, LA 71446                 5703 Donahue Ferry Rd
                                                                            Pineville, LA 71360
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James W Summers Investment Ltd          James W Thomas                       James W Thompson 1515174
PO Box D                                6800 Del Norte Ln Apt 228            815 12Th St
Rusk, TX 75785-0500                     Dallas, TX 75225                     Huntsville, TX 77348




James W Wolford                         James W Yeldell Jr                   James Walker
2421 Allyson Pl                         400 Hector Ave                       2083 Rifle St
Casper, WY 82601                        Metairie, LA 70005-4412              Aurora, CO 80013




James Walker Mcknight                   James Walker Smith                   James Walter Ballard
1302 Danielle Ln                        102 Garmouth Ct                      PO Box 157
Pearland, TX 77581                      Mount Pleasant, SC 29466             Ruston, LA 71273




James Walter Hankla                     James Walter Sullivan                James Walton Kerley
5822 Brynmarcourt                       5326 Pine Needle                     916 Highpoint Way
Tyler, TX 75703-6113                    Dayton, TX 77535                     Roanoke, TX 76262




James Warren Davis Jr                   James Warren Mcgregor                James Wayne Elton Holly Ruth Elton
436 Windjammer Lane                     PO Box 5909                          4221 Eubanks Rd
Azle, TX 76020                          Shreveport, LA 71135                 Simsboro, LA 71275




James Wayne Robinson                    James Webb Aif For Bonnie May Webb   James Wedgeworth
4505 Fm 123                             1734 Pineview Lane                   PO Box 70
Deberry, TX 75639                       Hideaway, TX 75771                   Clayton, TX 75637




James Wesley Burns                      James Whit Crawford                  James Wilburn Musslewhite
509 Market Street Suite 300             PO Box 216                           8063 Grape Court
Shreveport, LA 71033                    Beckville, TX 75631                  Centennial, CO 80122




James Wilhite                           James William Akin Tr                James William Atkins
Betty Wilhite                           James William Akin Ttee              1501 Atkins Rd Lot 7
1513 Joe Bill Street                    6714 Applewood Pl                    Ruston, LA 71270
West Monroe, LA 71292                   Derwood, MD 20855




James William Brooks                    James William Sanders Iii            James William Sharp
1440 Ben Dr                             Box 1302                             201 Cambridge Lane
Irving, TX 750617816                    Pagosa Springs, CO 81147             Longview, TX 75601




James William Wisda Iii                 James William Wood                   James Williams
Berth 200X 6                            6048 River Wood Road                 4119 Tidewater Dr
Wilmington, CA 90744                    Shreveport, LA 71105                 Houston, TX 77045
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James Williams And                       James Williams And             James Williams Brim Lillie M Brim
Bertha Williams                          Maria R Viera Williams         2328 Addison Circle
814 Ridge Drive                          PO Box 551328                  Wichita, KS 67226
West Monroe, LA 71292                    Dallas, TX 75355-1328




James Willie Scott                       James Willis Yeldell           James Wootten Walker
404 Andrew Street                        8628 Woodmere Crossing Ln      956 Cr 3470
Dallas, TX 75211                         Charlotte, NC 28226-8523       Hawkins, TX 75765




James Write                              James Wyatt Griffith Est       James Y Hattaway Sp
618 Gov Nicholls                         1301 Highland Drive            1862 Pine Grove Rd
New Orleans, LA 70118                    Henderson, TX 75652            Keithville, LA 71047




James Younger                            James Youree Lancaster         Jamesetta Sutson Stewart
2816 Alabama Ave                         3097 Arapahoe Ridge Dr         16500 Gilchrist
St Louis Park, MN 55416                  College Station, TX 77845      Detroit, MI 48235




Jamey Brumley                            Jami Platt                     Jamie A Leasure
1280 Red Oak Trl                         415 Lucien St                  2606 Slow Turtle Cv
Mckinney, TX 75069-9493                  Onaga, KS 66521                Austin, TX 78746-2300




Jamie Cornelius Wassom                   Jamie D Ney                    Jamie L Mccullin
Aka Jamie Ann Cornelius                  1031 Via Nueva                 168 Fair Road
32503 E 689 Loop                         Lafayette, CA 94549            Dubach, LA 71235
Wagoner, OK 74467




Jamie L Pelts                            Jamie L Tutt Wright            Jamie Lee Reich
6450 Ben D Smith Rd                      3200 Chase Wood Way            PO Box 6663
Silsbee, TX 77656                        Longview, TX 75605             Turley Station
                                                                        Tulsa, OK 74156




Jamie Lou Bennett                        Jamie Lou Howard               Jamie Roy Murphy Jr
1140 Iola St                             1009 Amanda Dr                 7813 Impala Drive
Aurora, CO 80010                         Mansfield, TX 76063            Corpus Christi, TX 78414




Jamie Ruth Grayson Horn                  Jamie Ruth Horn                Jamie Stegall
736 Elkins Lake                          736 Elkins Lake                8127 12Th Fairway Lane
Huntsville, TX 77340                     Huntsville, TX 77340           Humble, TX 77346




Jamilya Harris                           Jams                           Jams Holdings LLC
42982 Beachall St                        PO Box 845402                  PO Box 6730
South Riding, VA 20152                   Los Angeles, CA 90084          Edmond, OK 73003
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Jan Burnett                               Jan C Dotson Ice               Jan C Terrill Trust
3108 Kathleen Drive                       PO Box 7366                    Jan C Terrill Trustee
Longview, TX 75604                        Covington, WA 98042            50295 St Joseph St
                                                                         Paw Paw, MI 49079




Jan Colvin Hammon                         Jan Cottrell                   Jan Cox
PO Box 13206                              6223 W Dorian St               1211 Fm 10
Ruston, LA 71270                          Boise, ID 83709                Carthage, TX 75633




Jan D Kyles                               Jan East                       Jan Ellen Sandberg
5872 Easterling Dr                        10517 Shadywood Drive          354 Douglas Rd
Bryan, TX 77808                           Fort Worth, TX 76140           Lowell, MA 01852




Jan F Doherty                             Jan F Sandberg                 Jan Frances Tidwell
1006 Pauline                              1201 Yale Place 1805           2311 Whitney Drive
Bellaire, TX 77401                        Minneapolis, MN 55403          Monroe, LA 71201




Jan Ginther                               Jan Hammett                    Jan Killebrew
12215 Ravenmoor Dr                        202 Erskine                    PO Box 213
Houston, TX 77077-2534                    Longview, TX 75601             Rice, TX 75155




Jan Kristie Mishler                       Jan Lewis Bookter              Jan M Madison
3628 Melody Lane                          1822 Hunter Circle             6235 Gilbert Drive
Odessa, TX 79762                          Shreveport, LA 71119           Shreveport, LA 71106-2321




Jan Madaffri                              Jan Mitcham Gambrell           Jan Musselwhite Coleman
7809 San Diego                            PO Box 74                      9114 Fernwillow Drive
Beaumont, TX 77708                        Lavergne, TN 37086             Spring, TX 77379




Jan Oil Company                           Jan Powell Wilkinson           Jan Ralph Plumlee Jr
One Leadership Square                     400 Wilkinson Ranch Rd         PO Box 199
211 N Robinson Suite 200                  Leakey, TX 78873               Alto, NM 88312
Oklahoma City, OK 73102




Jan Rogers Freeman                        Jan S Campbell                 Jan S Johns
308 Hampton Ct                            12863 Hammock Ln               202 Tupelo St
Longview, TX 75605-4734                   Los Angeles, CA 90094          Winnfield, LA 71483




Jan S Mcgowan                             Jan Stanley Miller             Jan Sudfeld
13 Lone Star Trail                        4732 Stonebriar Circle         777 E Wisconsin Ave
Wimberly, TX 78676                        College Station, TX 77845      19th Floor
                                                                         Milwaukee, WI 53202
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Jan Thorogood                             Jan W Lee                      Jan W Waring Trust
3325 Greenview Drive                      PO Box 1233                    Jan W Waring Trustee
Garland, TX 75044                         Brackettville, TX 78832-1233   5802 Bob Bullock Loop
                                                                         Suite C 1 84 248
                                                                         Laredo, TX 78041



Jan Wallace Briscoe                       Jan Williams                   Jan Woodward Clayton Tr
2819 Long Lake Dr                         120 Ryder Cup Tr               Mark E Thomas Clayton Cottee
Shreveport, LA 71106                      Hideaway, TX 75771             2053 Mason Rd
                                                                         St Louis, MO 63131




Jan Wylie                                 Jana Cornelius Davis           Jana Hillis Smith
204 Horseshoe Drive                       Aka Jana Carlene Cornelius     1403 W Hawkins Pkwy
Kilgore, TX 75662                         3092 White Fir D Ne            Longview, TX 75605
                                          Lacey, WA 98516




Jana K Boyd                               Jana M Koch                    Jana M Koch Robert Koch
c/o TX Comptroller Of Public Accounts     1610 Sw Withdean Rd            1610 Sw Withdean Road
Unclaimed Property Division               Topeka, KS 66611               Topeka, KS 66611
PO Box 12019
Austin, TX 78711-2019



Jana Mccrary Koch                         Jana R Miniken                 Jana Ross Farrar
1610 Sw Withdean Rd                       7403 224Th Ave Ne              1603 Casa Linda
Topeka, KS 66611                          Redmond, WA 98053              Brownfield, TX 793166701




Jana Sue Wylie                            Jana Zane Hayes                Janae Giles
717 North Mill Street                     4560 Beltline Road Suite 300   1205 W 87Th St 2
Henderson, TX 75652                       Addison, TX 75001              Los Angeles, CA 90044




Janae Lee                                 Jane Abney Price               Jane Adams Butter
7522 Campbell Road                        PO Box 7122                    5839 Joyce Way
Ste 113 177                               Shawnee Mission, KS 66207      Dallas, TX 75225
Dallas, TX 75248




Jane Ann Curtis Nelson                    Jane Ann Johnston Hance        Jane Ann Watson
1521 Rice Rd                              Residuary Trust                7977 Highway 34
Tyler, TX 757033225                       Prosperity Bank Trustee        Eros, LA 71238
                                          1401 Ave Q
                                          Lubbock, TX 79401



Jane Annette Stiers                       Jane Avery Moss                Jane B Gable
27 Schoolhouse Rd                         1203 Cedar Lane                820 Canton Rd Ne Apt 304
Whiting, NJ 08759                         San Marcos, TX 78666           Marietta, GA 30060-8919




Jane B Hughes                             Jane B Rhodes                  Jane B Rhodes Life Estate
112 Katy Street                           128 Savannah Dr                128 Savannah Drive
Longview, TX 75605                        Tyler, TX 75703                Tyler, TX 75703
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Jane Bagwell Mccrea                     Jane Beavers Moore               Jane Beckett Yeiter
PO Box 870                              109 Ridgewood                    41 North Horace Street
San Angelo, TX 76902                    Conroe, TX 77304                 Woodbury, NJ 08096




Jane Blair Ross                         Jane Brown Nicholson             Jane Burg Coffyn
2320 Klattenhoff Drive                  205 East Kearney                 4926 West 78 Terrace
Austin, TX 787286723                    Mesquite, TX 75149               Prairie Village, KS 66208




Jane Burgess Philipp                    Jane Burton Hackney Smith        Jane Busbee Steinmann
PO Box 596                              9134 Moss Farm Lane              7333 Teaswood Drive
Joaquin, TX 75954                       Dallas, TX 75243                 Conroe, TX 77304




Jane C Butt                             Jane C Rudd                      Jane Cameron
1301 Potomac Dr Unit D                  Nancy E Camp Poa                 c/o Texas State Treasury
Houston, TX 77057-1968                  4374 Fiesta Ln                   Unclaimed Property Division
                                        Houston, TX 77004                PO Box 12019
                                                                         Austin, TX 78711-2019



Jane Camile Donohoe                     Jane Cherry Calhoun              Jane Colvin Hubbard
1811 S Quebec Way                       117 Llanfair Drive               612 Hiller High Road
239                                     Ruston, LA 71270                 Anniston, AL 36202
Denver, CO 80231




Jane Curtis                             Jane D North                     Jane D Randolph
114 Crosswinds Dr                       4660 South Ogden Street          Botan Resources Llc
Rincon, GA 31326                        Englewood, CO 80113              PO Box 19500
                                                                         Boulder, CO 80308-2500




Jane David Cherry                       Jane Dietrich Trust              Jane Drunzer
8523 Thackery St                        PO Box 823604                    341 Desert Sun Court
Apt 6006                                Dallas, TX 75382                 Alamogordo, NM 88310
Dallas, TX 75225




Jane E Cunningham                       Jane E H Brackett Exempt Trust   Jane Easley
PO Box 2384                             Jane Elise Hogan Brackett Ttee   Stamping Ground Rd Box 2955
Longview, TX 75606                      400 Charles Rd                   Stamping Ground, KY 40379
                                        San Antonio, TX 78209




Jane Elizabeth White                    Jane Ellen Cook Kuenzle          Jane Ellen Leuthold
313 Lolley Rd                           979 Delvin Dr                    1016 Delphinium Dr
Downsville, LA 71234                    St Louis, MO 63141               Billings, MT 59102




Jane Everett                            Jane F Fleming Pancheri          Jane F Pancheri
14524 Fm 1716 E                         2135 Bolsover                    2135 Volsover
Henderson, TX 756528629                 Houston, TX 77005                Houston, TX 77005
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Jane F Terrell                           Jane Flaitz De Young            Jane Flood
PO Box 1132                              85 Port Of Spain Rd             1000 Harbor Blvd
Kilgore, TX 75663                        Coronado, CA 92118              Weehawken, NJ 07086




Jane Fortson Hardaway                    Jane Fuller Ball                Jane G Luman
405 Fall Creek Drive                     804 N Trenton                   940 W Round Grove Rd Apt 415
Richardson, TX 75080                     Ruston, LA 71270                Lewisville, TX 75067-7938




Jane G Mcintire                          Jane Gladney Rainbolt           Jane Greene March
4948 Briarwood Place                     1700 Lincoln Street             PO Box 3648
Dallas, TX 75209                         Suite 2550                      San Angelo, TX 76902
                                         Denver, CO 80203




Jane Greene March Estate                 Jane Gully West                 Jane H Spence And Perry L Spence
c/o Texas State Bank Exr                 1951 Hunter Rd Apt 9104         Family Trust
PO Box 3782                              San Marcos, TX 78666-5293       3207 Pebblebrook Circle
San Angelo, TX 76902                                                     Tyler, TX 75707




Jane Hendren Snyder                      Jane Henley Trust               Jane Heron
528 Ockley Drive                         c/o Farmers National Co Agent   12701 Aries Loop
Shreveport, LA 71106                     Oil Gas Dept                    Willis, TX 77378
                                         PO Box 3480
                                         Omaha, NE 68103



Jane Hodge Turbeville Black              Jane Hollingsworth Hark         Jane Holstead Smith
10 St Laurent Pl                         3682 Pine Acres Road            126 Holstead Road
Dallas, TX 75225                         Conroe, TX 77384                Arcadia, LA 71001




Jane Hoyl                                Jane James Rochelle             Jane Johnson
504 E Grant Avenue                       8 Dreyer Place                  948 Hunters Gln
Morton, TX 79346                         Texarkana, TX 75503             Rockwall, TX 75032-5870




Jane K Beard                             Jane K Beard Estate             Jane Keeland Dawson
4104 Lovers Lane                         1428 Jesse Lane                 Route 5 Box 1
Dallas, TX 75225                         Golden, CO 80403                Crockett, TX 75835




Jane Knotts                              Jane L Dorn                     Jane L Gibson
c/o Texas State Treasury                 8481 Rd 39                      310 Oran
Unclaimed Property Division              Lingle, WY 82223                Livingston, TX 77351
PO Box 12019
Austin, TX 78711-2019



Jane Lake Porter Revocable Tr            Jane Lake Rogers                Jane M Cochran
Jane Lake Porter                         5601 Pebble Beach               107 Wm Classen
John Pennington Porter Co Trustees       El Paso, TX 799124113           San Antonio, TX 78232
PO Box 3249
Shawnee, OK 748023249
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Jane M Murph                             Jane Margaret Feild Bontempo           Jane Mcdavid Freedman
7983 New Kent Rd                         3802 Cosmos Ln                         17950 Sunmeadow Drive Apt 5
Frisco, TX 75035                         Fort Collins, CO 80528-4406            Dallas, TX 75252




Jane Mcdonald Haire                      Jane Mcgee Shaw                        Jane Mcgill Weakly
5404 Pampus Land                         1906 Ledger Lane                       PO Box 1234
Bossier City, LA 71112                   Houston, TX 77015                      Spring Branch, TX 78070




Jane Mckelvey Smith                      Jane Middelton Tilley Griffin          Jane Morris Trimble
418 Brighton Court                       6616 Lybrook Court                     A/K/A Edna Jane Trimble
Tyler, TX 75701                          Bethesda, MD 20817                     7507 Greenbrier Drive
                                                                                Dallas, TX 75225




Jane Myers                               Jane Page Crump                        Jane Pinkston Stringfellow
Individual Retirement Account            323 Terrace Dr                         3507 Fm 959
Rbc Capital Markets Llc Cust             Houston, TX 77007                      Beckville, TX 75631
255 Rock Lake Road
Fairmont, WV 26554-6064



Jane Russ Schwenke                       Jane S Akin                            Jane S Watson
704 Waltham Ct                           801 Vicksburg Ct                       4970 Nightshade Cir
El Paso, TX 79922                        Longview, TX 75601                     Colorado Springs, CO 80919




Jane Smith                               Jane Smith Estate                      Jane Spencer
1220 Mohawk Trail                        Joy K Jones Indp Exec                  502 Maple St
Richardson, TX 75080                     510 East Grand                         Franklin, MA 02038
                                         Marshall, TX 75670




Jane Street Mills                        Jane Sue George Peters Estate          Jane Thomas Clevenger
107 Boxwood Dr                           Lois L Dominguez And Steven L Peters   5000 Ketova Way
Franklin, TN 37069-6914                  c/o David L Ingram Attorney            Huntsville, AL 35803
                                         23901 Calabasas Rd Ste 1063
                                         Calabasas, CA 91302



Jane Turlington                          Jane W Gillis                          Jane W Newton
15727 Fleetwood Oaks                     8277 N Main St                         190 N Millport Cir
Houston, TX 77079                        Benton, AR 72015                       The Woodlands, TX 77382




Jane Webb Marquess                       Jane Wells Gilbert                     Jane Westfall
158 Heron Oaks                           4020 Mormon Lane                       2101 College Ave
Rockport, TX 78382                       Addison, TX 75001                      Topeka, KS 66611




Janeil Pennal                            Janel Wisda                            Janelle Harvey Washburn
PO Box 1476                              7053 Maricopa Rd                       1224 Flanagan Rd
Henderson, TX 75653-1476                 Phelan, CA 92371                       Tatum, TX 75691-1717
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Janelle Jackson Mrtl Tr Part M2         Janelle Jackson Mrtl Tr Under    Janelle Morell Hendrix
Undr James D Jackson Tr Agm             James D Jackson Trust Agrmnt     6123 Bradford Drive
Bank Of America Na Trustee              Bank Of America Na Trustee       Shreveport, LA 71119
PO Box 840738                           PO Box 840738
Dallas, TX 75284-0738                   Dallas, TX 75284-0738



Janelle Rogers Ttee Of Tr For           Janelle Sullivan                 Janet A Luther
Janelle Rogers Dated 8/15/1995          278 Noble School Rd              2124 Bartlet St
3500 West Manchester Blvd 14            Dubach, LA 71235                 Houston, TX 77098
Inglewood, CA 703054014




Janet A Rogers                          Janet A Zamzow Retzloff          Janet Adams Casey
3429 Coleman Rd                         9155 Fm 99                       1105 E 10Th St
Kansas City, MO 64111                   Peggy, TX 78062                  Pine Bluff, AR 71601




Janet Anderson Loeffler                 Janet Anderson Loeffler In Ex    Janet Ann Merritt Robinson
PO Box 132947                           Of Estate Of Evelyn B Anderson   Separate Property
The Woodlands, TX 77393                 PO Box 132947                    1803 E Main St
                                        The Woodlands, TX 77393          Jonesboro, LA 71251




Janet Charlene Gray Palmer              Janet Cook Kelly                 Janet Covington Cole
PO Box 129                              10927 W Roundelay Cir            204 Valleyview Rd
Logansport, LA 71049                    Sun City, AZ 85351               Highlandville, MO 65669




Janet Craig Wallace                     Janet Dillon                     Janet E Hooser Krauss
212 Watson                              1640 7Th Street Unit B           2305 South Florey Ave
Henderson, TX 75652                     Penrose, CO 81240                Mt Pleasant, TX 75455




Janet E Toms                            Janet Edwards Moore              Janet Elaine Mccuin
7913 Bles 4                             117 Prestwick Circle             167 Whitfield Lane
Baton Rouge, LA 70810                   Bossier City, LA 71111           Columbia, LA 71418




Janet Elizabeth Clark                   Janet Ellen Boatwright           Janet Fell A Married Woman As Her
1255 Wheelis Rd                         803 N Marshall St                Separate Property
Wylie, TX 75098-6605                    Henderson, TX 75652              8 Kepler
                                                                         Irvine, CA 92603




Janet Fife Dickson                      Janet Fontaine 2003 Family Tr    Janet Fox Aka Jann Richmond
543 Erble Lane                          PO Box 211                       3127 Rookery Road
Lake Charles, LA 70611                  Sedona, AZ 86339                 Fort Collins, CO 80528




Janet Fry Green                         Janet Garvin                     Janet Glassman
2609 N E 101st Street                   811 Connally                     508 E Harold
Kansas City, MO 64155                   Sulphur Springs, TX 75482        Olathe, KS 66061
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Janet H Rombough                        Janet Henry Brown                    Janet Henry Brown Marital Trust
40 Birds Crossing                       21 Bramlette Place                   Janet Henry Brown Trustee
Covington, GA 30016                     Longview, TX 75601                   21 Bramlette Place
                                                                             Longview, TX 75601




Janet J Bustos                          Janet J Myrick                       Janet Jeffcoats Burns
14555 E Echo Dr                         PO Box 691425                        109 Southland Drive
Claremore, OK 74019                     San Antonio, TX 78269                Watkinsville, GA 30677




Janet Jo Lantz Williams                 Janet Jones                          Janet K Dolar Rev Tr Dt7/21/08
1942 33Rd Street                        672 Bissic Rd                        Janet S Dolar Trustee
Parkersburg, WV 26104                   Simsboro, LA 71275                   1333 College Pkwy 172
                                                                             Gulf Breeze, TX 32563




Janet Kay Maxwell                       Janet Kay Smith                      Janet L Lasco
8970 Fm 2204                            2805 Nw 186Th St                     PO Box 712
Longview, TX 75603                      Edmond, OK 73012-7619                Saratoga, WY 82331




Janet L Neel                            Janet Leith Lamphier                 Janet Loraine Otwell
712 Southoak Dr                         Christopher Large Poa                996 Wallace Rd
Athens, TX 75751                        2811 E Lake Sammamish Pkwy Se        West Monroe, LA 71291
                                        Sammamish, WA 98074




Janet Lorena Johnston                   Janet Louise Henderson               Janet Louise Humphrey
316 Whiting Court                       PO Box 128                           13421 Fm 968 West
Daphne, AL 365264616                    Newton, IL 62448                     Longview, TX 75602




Janet Louise Johnson Purzer             Janet Lynn Collins Pauley            Janet M Breene
10 S Briar Hollow Ln Unit 28            Seperate Property                    1104 Nbt Bldg
Houston, TX 77027                       19418 Franz Road                     Tulsa, OK 74103
                                        Houston, TX 77084




Janet M Hamm                            Janet M Newkirk Testamentary Trust   Janet M Staring
1082 Ascot Dr                           26 Hunnewell Court                   4620 Silver Thorn
Richardson, TX 75081                    The Woodlands, TX 773825400          Mesquite, TX 75150




Janet Marie Adams Blackwell             Janet Marie Bonny                    Janet Miriam Russell Verner
18328 Hwy 9                             5602 44Th Ave Sw                     13568 Hwy 71
Arcadia, LA 71001                       Seattle, WA 98136                    Elm Grove, LA 71051




Janet Nesch                             Janet Nesch Trust                    Janet P Peterson Agency
2318 West 71Th Street                   Nancy J Schmalbeck Trustee           Bank Of America N A Agent
Prairie Village, KS 66208               2318 W 71st Street                   PO Box 840738
                                        Prairie Village, KS 66208            Dallas, TX 75284-0738
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Janet Pou Thompson                      Janet Richardson                  Janet Stough Kliemann Young
4332 Hyatt Ct                           6325 Bocage Dr                    PO Box 669
Fort Worth, TX 761168109                Shreveport, LA 71119              Denton, TX 76201




Janet Summers Meyers                    Janet Teresa Jones                Janet W Duke
468 Lantana Mesa                        672 Bissic Road                   4257 Fordham Rd Nw
Spring Branch, TX 78070                 Simsboro, LA 71275-3319           Washington, DC 20016-1931




Janet W Smith                           Janet Wade                        Janet Webb
7409 Park Place Drive                   802 Tuxedo Ave                    112 Bill Dr
North Richland Hills, TX 76182          San Antonio, TX 78209             West Monroe, LA 71292




Janet Willis Shipp                      Janette A Holley                  Janette Hart
1480 N Point Pleasant Road              PO Box 3602                       11603 Sagevale
Gladewater, TX 756473465                Wichita Falls, TX 76301           Houston, TX 77089




Janette M Byers                         Janette Nolan Molloy              Janette Stuckey Janvrin
1764 Ken Lee Ct                         424 Parkview Dr                   3110 Waukegan Ave
Asheboro, NC 27205                      Trophy Club, TX 76262             Simi Valley, CA 93063




Janette Swadley                         Janey L Ratley Young              Jani Juanita Clemons
3 Robby Road                            c/o Connie Burns Sherry Woodfin   15907 Craighurst
Shawnee, OK 74804                       April Young Poa                   Houston, TX 77059
                                        2670 F M 10
                                        Carthage, TX 75633



Janica Brink                            Janice Alawanda Davis             Janice Baker Allen
545 Washington Blvd                     PO Box 254                        902 Shady Bend Lane
Jersey City, NJ 07310                   Lone Oak, TX 75453                Friendswood, TX 77546




Janice Birdsong Mcknight                Janice Bishopp                    Janice Britt
1407 N University A                     6712 E Pershing Rd                1122 Greenridge Ln
Nacogdoches, TX 75961                   Scottsdale, AZ 85254              Columbia, SC 29210




Janice C Johnson                        Janice Carole Bryan               Janice Carolyn Downs
PO Box 995                              PO Box 1392                       4382 Hwy 271 N
Three Rivers, TX 78071                  Henderson, TX 75653               Gilmer, TX 75644




Janice Cleere Mckillip                  Janice Cordova Whitten            Janice Diane Condry Bell
2085 Parkridge Dr                       190 Cordova Road                  19521 Justin Morgan Dr
Hurst, TX 76054                         Grand Cane, LA 71032              Westfield, IN 46074
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Janice Dickson                          Janice Dupree Hickson          Janice Elaine Gorenflo
1522 Red Oak Ct                         532 East Waller Road           Blackburn
Seneca, SC 29672                        Kemp, TX 75143                 3537 Landy Lane
                                                                       Fort Worth, TX 76118




Janice Ellen Allen Life Est             Janice F Harris                Janice Fallin Horton
1005 Briarcreek Dr                      2685 Old Alvin Road            4106 Finley Dr
Arlington, TX 76012                     Apt 1102                       Shreveport, LA 71105
                                        Pearland, TX 77581




Janice G Free                           Janice Gay Brooks              Janice Goolsby Enck
3434 Brockway Drive                     4042 Dakota Trail              4877 Lynbar Ave
Farmers Branch, TX 75234                Granbury, TX 76048             Memphis, TN 38117




Janice Hale                             Janice Harris Almany           Janice K Oualline
2385 Lancaster Dr Apt 5                 115 Petite                     441 Bronzeglo Dr
San Pablo, CA 94806-3025                Lake Charles, LA 70601         San Antonio, TX 78239




Janice L Crane                          Janice Louise Smith Pinton     Janice M Rickard
18 Churchill Rd                         108 Mizell Ln                  10001 S Oswego St Apt 305
Whiting, NJ 08759                       West Monroe, LA 71291          Parker, CO 80134




Janice M Thomas                         Janice M Travis                Janice Mamon Sibley
PO Box 5949                             PO Box 2616                    598 Apple Ave
Breckenridge, CO 80424                  Evergreen, CO 80439            Ruston, LA 71270-4624




Janice Marie Anitsakis                  Janice Marie Cariker           Janice Marie K Anitsakis Life Estate
920 Edson Dr                            904 Weston Ct                  Remainderman A Reed Taylor
Beaumont, TX 77706-4509                 Longview, TX 75604             920 Edson Dr
                                                                       Beaumont, TX 77706




Janice Marie Kewley Anitsakis           Janice Marie Permenter         Janice Mclaren Harry
920 Edson                               PO Box 590                     603 Coquina Ln
Beaumont, TX 77706                      Cushing, TX 75760              Austin, TX 78746




Janice Moncrief                         Janice Nobles Terry            Janice Olive Rowland Bunch
336 Waterside St                        2301 Bocage Place              136 Rowland Ln
Port Charlotte, FL 33954-3124           Ruston, LA 71270               Dubach, LA 71235




Janice P Rippy Rev Living Tr            Janice Reed Mcclellan          Janice Robert
25 Downing 2 301                        797 Cr 210                     3827 Cleveland Ave
Denver, CO 80218                        Beckville, TX 75631            New Orleans, LA 70119-6004
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Janice Sellers Mcvay                   Janice Shipp Koerner Bell      Janice Simpson Traylor
185 Gus Ledbetter Rd                   1809 Gleason Avenue            589 Hwy 3005
Calhoun, LA 71225                      Iowa City, IA 52240            Ruston, LA 71270




Janice Smith Brannon                   Janice Sue Meshell Vickery     Janice Tyer
PO Box 953                             2443 Us Hwy 259N               5600 Monroe Blvd
Addison, TX 75001                      Diana, TX 75640                Groves, TX 77619




Janice Walker                          Janice Williamson Thiel        Janice Y Ferguson
298 Scott Road                         11105 Rotherick                6111 Fern Meadow Rd
Ruston, LA 71270                       Johns Creek, GA 30022          Arlington, TX 76017




Janice Z Mccormick Estate              Janie Bell Whitten             Janie Belle Battise
Timothy L Mccormick Per Rep            4632 Baystone Dr               PO Box 23
6904 George Leonard Road               Dallas, TX 75211-8003          Dallardsville, TX 77332
Milton, FL 32570




Janie Bruns                            Janie Currie Lee Trust         Janie E Ross Diaz
2477 Fm 2685                           C/O Texas Commerce Bank        Box 653
Gilmer, TX 75645                       PO Box 2558                    Maben, MS 39750
                                       Houston, TX 77252-8033




Janie Grantham Farmer                  Janie Helt                     Janie L Youngblood Mann
512 Mcnear Dr                          22 Melinda Ln                  1408 Navosota
Coppell, TX 75019                      Bella Vista, AR 72714          Nederland, TX 77627




Janie Lloyd                            Janie Lou Creech               Janie Louise Kolb
397 Mt Mariah Church Rd                PO Box 15459                   12410 Montebello Manor Lane
Chatham, LA 71226                      Surfside Beach, SC 29587       Tomball, TX 77377




Janie Lynn                             Janie M Roach Lampi            Janie Mayfield Kolb Widow Of Joe F Kolb
1248 Finger Bridge Road                4314 E 107Th St                PO Box 226
Hickory, NC 28602                      Tulsa, OK 74137-6809           Mont Belvieu, TX 77580




Janie Miller Washington                Janie Ripley Viccellio         Janie Sue Fyffe Powers
1816 26Th Avenue                       Box 143020 H S U               541 Foster Drive
Seattle, WA 98122                      Abilene, TX 79698              Marshall, TX 75672-1433




Janine Burrough Williams               Janis B Vandewerker            Janis C Babeltrust
1415 Peru                              3542 Reaves Road               Janis C Babel Trustee
Dallas, TX 75203                       Cleveland, TX 77327            1919 Post Oak Park
                                                                      4202
                                                                      Houston, TX 77027
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Janis C Perritt                        Janis Davidson                   Janis Elizabeth Keel Castine
123 Harmony Church Rd                  1313 Lyric Dr                    1518 Debra Street
Arcadia, LA 71001                      Fort Worth, TX 76134             Bossier City, LA 71111




Janis Ellen Shull                      Janis Greer Berry                Janis Houseworth Clausen
2500 E Bus Hwy 83 254                  190 Whispering Glen              c/o Off Of Tx St Comptroller
Mission, TX 78572                      Spring Branch, TX 78070          Unclaimed Proerty Division
                                                                        PO Box 12608 Capitol Station
                                                                        Austin, TX 78711



Janis K Davidson 1995 Trust            Janis K Davidson 95 Trust/8282   Janis Knighton Sharp
Bank One Tx Na Trustee Acct            Jp Morgan Chase Bank Na          7931 Abelia Way
Drawer 99084                           Po Drawer 99084                  Clemmons, NC 27012
Ft Worth, TX 76199-8400                Fort Worth, TX 76199-0084




Janis Lynn Mcbride Mcgee               Janis Lynn Wallace Dealing In    Janis M Leach
110 Honeysuckle Drive                  Her Sole And Sep Prop            225 Madden Dr
West Monroe, LA 71291                  PO Box 1222                      Many, LA 71449
                                       Gladewater, TX 75701




Janis Madeline King Cooper             Janis Melba Thompson Harvey      Janis Parkhill Stansell
PO Box 366                             PO Box 1532                      2310 Enfield Rd
Dubach, LA 71235                       Duncan, OK 73534-1532            Austin, TX 78703




Janis Plunkett Lagrone                 Janis S Ritter                   Janis Yeldell Ruhl
116 Lake Hollow Blvd                   5342 Fm 1970                     6502 Chestnut Hill Road
Clinton, MS 39056                      Gary, TX 75643                   Flowery Branch, GA 30542-3803




Janise Marie Permenter For             Janist Sampson Mathews           Janita Kam Lo
Life Estate Of Jimmie Holsey           PO Box 282                       7501 Daugherty St
PO Box 590                             Arcadia, LA 71001                Austin, TX 77056
Cushing, TX 75760




Janna J Calhoun                        Janna Redman                     Janna Virginia Wilson Tharp
Address Redacted                       1109 Woodbridge Drive            3701 Luella Apt 1104
                                       Las Vegas, NV 89108              Laporte, TX 77571




Janne Winston Williams                 Jannie Fay Stuckey Shannas       Jannie Lou Haynes Nelson
4629 Bryn Mawr Lane                    837 E Puckett Lake Rd            127 Jamie Lane
Houston, TX 77027                      West Monroe, LA 71291            Delhi, LA 71232




Jannye Schoonmaker                     Jans Frederick Ulmer             Janx
1606 Millview Place                    1954 Wafer Road                  PO Box 190
Carrollton, TX 75006                   Ruston, LA 71270                 Parma, MI 49269-0190
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Janyce S Brannon                        Janyne Jordan Haralson         Jap 1994 Trust
575 S Virginia Hills Dr 503             600 Cherokee Trail             Pine Bluff National Bank Ttee
Mckinney, TX 75070                      Del Rio, TX 78840              PO Box 7878
                                                                       Pine Bluff, AR 71611




Jap Gullatt Jr                          Jaque Lachez Chardonnay        Jaquez Affordable Movers
451 N Hazel                             PO Box 194                     5727 Maxwell
Haughton, LA 71037                      Logansport, LA 71049           Odessa, TX 79763




Jared Lay                               Jared Tyler Phillips           Jared W And Lauren Z Carter
500 E And West St                       Erica Ann Timmons Phillips     2012 Alexander Ave
Minden, LA 71055-2620                   2201 Cooktown Rd               Ruston, LA 71270
                                        Ruston, LA 71270




Jared Webb                              Jarred D Newton Curtis J       Jarrel O Burch
Address Redacted                        Deborah D Newton               733 Schley St
                                        1903 Bittersweet Ave           Mansfield, LA 71052
                                        Ruston, LA 71270




Jarrell Childrens Tr                    Jarrell Family Trust           Jarrell T Creech
Lynn Jarrell Ttee                       Lynn Jarrell Trustee           226 Cr 443
2313 2nd St                             2313 2nd Street                Joaquin, TX 75954
Port Neches, TX 77651                   Port Neches, TX 77651




Jarrett Evan Bowman                     Jarrett P Crump                Jarrod Thompson
101 Pinecrest Rd                        323 Terrace Dr                 Po 339
Arcadia, LA 71001                       Houston, TX 77007              Elton, LA 70532




Jarvis Family Trust                     Jarvis Holdings LLC            Jarvis Jason Jones
Ben E Jarvis Trustee                    326 S Fannin Ave               700 El Dorado Parkway
326 South Fannin Ave                    Tyler, TX 75702                Plantation, FL 33317
Tyler, TX 75702




Jase Family Ltd                         Jase Family Ltd                Jase Minerals Lp
PO Box 904                              PO Box 972607                  PO Box 972548
Midland, TX 79702                       Dallas, TX 75397               Dallas, TX 75397




Jasen Remington                         Jashontra T Slaughter          Jasmin Rebecca Mclean
Address Redacted                        1423 Mcallister St Lot 7       5986 Sandstone Ln
                                        Ruston, LA 71270               Browns Valley, CA 95918




Jason A Hammack                         Jason A Spiller                Jason Allen Newman
22529 Lakeway Harbor Drive              1574 Cr 2216                   1130 Rymers Switch Ln
Flint, TX 75762                         Tatum, TX 75691                Friendswood, TX 77546
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Jason Amos                              Jason Auringer                       Jason B Adams April I Adams
1621 W Michigan Ave                     3109 Old Bullard Rd                  1704 Bittersweet
Phoenix, AZ 85023                       Tyler, TX 75701                      Ruston, LA 71270




Jason B Carrier Annie S Carrier         Jason B Cockerell                    Jason B Muzzy
1803 Corley Street                      Address Redacted                     4333 Village Creek Dr
Ruston, LA 71270                                                             Chester, VA 23831-1796




Jason Blake Tollett Trust U/A 2966      Jason Blake Tollett Trust U/A 2966   Jason Blake Tollett Trust U/A 2966
c/o Bank Of America Trustee             c/o Bank Of America Trustee          c/o Bank Of America Trustee
PO Box 830308                           PO Box 840738                        PO Box 832407
Dallas, TX 75283-0308                   Dallas, TX 75284-0738                Dallas, TX 75283-2407




Jason Brown Tommie Brown                Jason Brummell And Jessica           Jason Carey Battise
6565 Highway 151                        Brummell                             PO Box 339
Dubach, LA 71235-2261                   3156 Fm 3384                         Elton, LA 70532
                                        Pittsburg, TX 75686




Jason Charles Granger                   Jason Childress                      Jason Cole Hayes Trust
Brandy Perdue Granger                   Address Redacted                     Mark Deter Hayes Trustee
339 Jill Loop                                                                17 Church Street
Ruston, LA 71270                                                             Greenbrier, AR 72058




Jason D Harvey And Meldina R Harvey     Jason D Roberts                      Jason D Williams
8762 Hwy 139                            10062 Somerset Ave                   176 E Goodwyn St
Joaquin, TX 75954                       Detroit, MI 48224-2596               Memphis, TN 38111-2514




Jason Davis Edwards                     Jason Defrez Jackson                 Jason Douglas Jackson
715 Southridge Dr                       979 Ccc Rd                           11950 Hoblitzelle Dr
Minden, LA 71055                        Ruston, LA 71270                     Dallas, TX 75243




Jason Edward Clemens                    Jason Edwin Brown Tr                 Jason Folkes
2501 Scotti St                          Jason Edwin Brown Ttee               Address Redacted
Lewisville, TX 75056-5882               225 Hunters Run Dr
                                        Benton, AR 72015




Jason G Wingert                         Jason Graves Wingert Trust           Jason Hamblin Et Ux
3839 Mckinney Avenue                    Harold G Habenicht John Carr         Joelda Costley Hamblin
Suite 155 524                           Wilson Co Trustees                   1483 Mitcham Orchard Road
Dallas, TX 75204                        3839 Mckinney Ave Suite 155 524      Ruston, LA 71270
                                        Dallas, TX 75204



Jason Herrington                        Jason Kilpatrick                     Jason Kyle Lea A Mize Shows
Address Redacted                        120 Pecan Landings Dr                447 Bear Knoll Dr
                                        Fort Valley, GA 31030-5352           Quitman, LA 71268
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Jason Lautenschleger                      Jason M Erin Cooke Cole         Jason M Tracton
2501 S Birmingham Pl                      496 Davis Rd                    20419 Knights Branch Dr
Tulsa, OK 74114-3225                      Simsboro, LA 71275              Cypress, TX 77433-4730




Jason Nix                                 Jason Plunkett                  Jason R Dahlmann
501 Steamboat Dr                          121 Cassie Drive                Address Redacted
White Oak, TX 75693                       Brandon, MS 39042




Jason R Searcy                            Jason Rayne Langley             Jason Reed
PO Box 334                                PO Box 384                      c/o Texas State Treasurer
Marshall, TX 75671-0334                   Elton, LA 70532                 Unclaimed Property Division
                                                                          PO Box 12608 Capitol Station
                                                                          Austin, TX 78711



Jason Rehwald                             Jason Rubio                     Jason Ryan Lambert
2858 Appalachian Ln                       Address Redacted                111 Brittany Ln
Frisco, TX 75033                                                          Huntsville, TX 77320




Jason Skaggs Curtis Trust                 Jason Stokes Grigsby            Jason W Jones And Laura R Beasley
U/W Elizabeth Curtis Hodges               18651 Big Timber                PO Box 576
William R Hodges Trustee                  Tyler, TX 75703                 Ruston, LA 71273
PO Box 1380
Fort Worth, TX 761011380



Jason Wade Roach                          Jason Wellman                   Jason Wolens
4720 Harvard Ave Unit A                   Address Redacted                3500 William And Mary Road
Midland, TX 79703-4541                                                    Hoover, AL 35216




Jason Woodfin                             Jasons Deli                     Jasons Premier Pumping Service LLC
PO Box 114                                PO Box 4869 Dept 271            141 Bluebell Ln
Gary, TX 75643                            Houston, TX 77210-4869          Silt, CO 81652-9704




Jasper C Guill                            Jasper W Morton                 Jattis Elaine Ramsey Barrett
213 Mosley Circle South                   204 Morton Lane                 County Judge As Receiver
Longview, TX 75605                        Ruston, LA 71270                110 South Sycamore Room 216A
                                                                          Carthage, TX 75633




Java Harris Jackson                       Javier Acevedo                  Javier L Ortiz
PO Box 336                                6948 Us Highway 83              1001 North Clinton Avenue
Grambling, LA 71245                       Laredo, TX 78046-8664           Dallas, TX 75208




Javier Lopez                              Javier M Guerra                 Javier Miranda
915 E Locust Street                       Union National Bank Of Laredo   Address Redacted
Laredo, TX 78040                          1100 Matamoros
                                          Laredo, TX 78040
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Javier V Speed                           Javis Holdings LLC             Jay B Carpenter
PO Box 2486                              326 S Fannin Ave               c/o Regions Bank Nrre Ops
Bellaire, TX 77402                       Tyler, TX 75702                PO Box 11566
                                                                        Birmingham, AL 35202




Jay B Rea                                Jay Boyd Best Jr               Jay Bruce Horton
27112 Bent Trail                         76 Derby Ave                   PO Box 50428
Boerne, TX 78006                         Greenlawn, NY 11740            Midland, TX 79710




Jay Burnett                              Jay C Corenblith               Jay C Graham
2013 Lakeridge Blvd                      3700 R O Drive                 Address Redacted
Sunset, TX 76270                         Spicewood, TX 78669




Jay Cockrell And Selisha Cockrell        Jay Cook                       Jay D Cockrell
8334 Us Highway 84 East                  PO Box 2643                    8334 Us Highway 84 East
Joaquin, TX 75954                        Longview, TX 77074             Joaquin, TX 75954




Jay D Hearnsberger                       Jay Daniel Vanderwoude Jr      Jay Douglas Strickler
Karen Faircloth Hearnsberger             7200 N Stemmons Frwy 907       1071 Spring Creek Road
PO Box 792                               Dallas, TX 752475032           Ruston, LA 71270
Springhill, LA 71075




Jay Douglas Strickler Et Ux              Jay Duree                      Jay Ellis
Rebecca Lyn Atkins Strickler             PO Box 483                     5304 Barrington Rd Sw
1071 Spring Creek Road                   Troup, TX 75789                Lilburn, GA 30047-6609
Ruston, LA 71270




Jay Garrett Manuel                       Jay H Dillavou                 Jay H Moore
1701 Harpers Way                         1133 24Th St                   Oil Property Tr
Conroe, TX 77385                         West Des Moines, IA 50266      4601 Island Dr
                                                                        Midland, TX 79707




Jay Jerone Vallery                       Jay K Lockhart                 Jay Kobza
Shauna Russell Vallery                   4640 Home Place                Pmb 164
14824 Hwy 151                            Plano, TX 75024                4570 Avery Lane Se
Arcadia, LA 71001                                                       Lacey, WA 98503




Jay L Neill                              Jay M Wilson                   Jay O Miller
PO Box 1046                              Kathleen A Wilson              c/o Geneva Lois Farquer
Hays, KS 67601-1046                      876 County Road 3685           806 W Elm
                                         Joaquin, TX 75954              Olney, TX 76374




Jay Owen Toms                            Jay P Simpson                  Jay Rice
9606 Wahada Avenue                       5243 Loch Lomond               1308 Cr 236 East
San Antonio, TX 78217                    Houston, TX 77096              Henderson, TX 75652
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Jay Roberts                              Jay Ronald Presley             Jay S Stanley
1251 Elmwood Drive                       c/o Texas State Treasury       3871 Hwy 544
Abilene, TX 79605                        Unclaimed Property Division    Simsboro, LA 71275
                                         PO Box 12019
                                         Austin, TX 78711-2019



Jay Taylor                               Jay Teresa Knight Jtwros       Jay Vanderwoude
PO Box 133                               6092 E Country Club Rd         8927 Four Leaf Dr
Joaquin, TX 75954-0133                   Longview, TX 75602             Sugarland, TX 77479




Jay Wallace Davis                        Jay Wright Wilson              Jayann Jolene Inabnet
956 King Club Blvd                       1709 Timberway                 A Minor Jo Ann Inabnet
Scroggins, TX 75480                      Richardson, TX 75082           Natural Tutrix 576 Huenefeld
                                                                        Road
                                                                        Monroe, LA 71203



Jaye Kathlyn Massey Trust                Jayme Mungioli                 Jayna Shely Payak
Barbara Clark Massey Trustee             2316 All Saints Lane           355 Shadow Ridge Dr
7607 Woodhaven Street                    Plano, TX 750255536            Highland Heights, KY 41076-8906
San Antonio, TX 78209




Jayne Elizabeth Craig                    Jayne Fortenberry Best         Jayne L Clark
1115 Stillmeadow                         PO Box 744                     2837 Hood Street
Longview, TX 75604                       Woodville, TX 75979            Dallas, TX 75219




Jayne L Fiero                            Jayne L Wrightsman Trust       Jayne Wrightsman Company
379 Lake Osiris Rd                       Helen Mc Cleary                182 E 64Th St 4
Walden, NY 12586                         270 Park Avenue                New York, NY 10065-7478
                                         New York, NY 10172




Jayson May                               Jayson Propst                  Jazmin Kemp
Address Redacted                         1600 Hwy 180 West              1528 Crockett Drive
                                         Anson, TX 79501                Tyler, TX 75701




Jb Compression Service                   Jb Fluid Services Inc          Jbr Environmental Consultants Inc
PO Box 527                               PO Box 1027                    8160 S Highland Dr
Harleton, TX 75651                       Seminole, TX 79360             Sandy, UT 84093-6400




JbS Welding Excavation                   JC Exterminating               Jc Fodale Energy Services LLC
PO Box 2003                              Jimmy Bunn                     Bethany Hearne
Pinedale, WY 82941                       7474 Fm 49                     6003 Financial Plaza Suite 200
                                         Gilmer, TX 75644               Shreveport, LA 71129




Jc Fodale Energy Services LLC            Jc Instride Inc                Jc Pace Ltd
PO Box 46093                             PO Box 30                      420 Throckmorton Ste 710
Houston, TX 77210-6093                   Joaquin, TX 75954              Fort Worth, TX 76102
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Jc Twiss El Canonazo                     Jcb OG LLC                           Jcb OG LLC
912 Iturbide St                          James C Broussard                    PO Box 3111
Laredo, TX 78040                         PO Box 3111                          Beaumont, TX 77403
                                         Beaumont, TX 77704




Jcps Inc                                 Jcr Jr Operating Inc                 Jcs
PO Box 974594                            c/o J Brex Company                   1246 Silber Road
Dallas, TX 75397-4594                    620 South Taylor Suite 300           Houston, TX 77055
                                         Amarillo, TX 79106




Jcs Services                             Jcw Properties Inc                   Jd Burks LLC
442 County Road 408                      PO Box 5459                          PO Box 1065
Carthage, TX 75633                       Longview, TX 75608                   Montgomery, TX 77356




Jd Factors LLC                           Jd Field Services                    Jd Minerals
PO Box 687                               PO Box 336                           PO Box 271120
Wheaton, IL 60187                        Vernal, UT 84078                     Corpus Christi, TX 78427




Jd Office Products                       Jd Precision Plumbing Services Inc   Jd Rush Company
PO Box 4010                              6134 Canyon Creek Land               5900 East Lerdo Highway
Castaic, CA 91310                        Conroe, TX 77304                     Shafter, CA 93263




Jd Rush Corporation                      Jdm Beasley Holdings LLC             Jdmi LLC
PO Box 201381                            J Joyce Beasley Member               PO Box 271120
Dallas, TX 75320-1381                    5133 Valburn Ct                      Corpus Christi, TX 78427
                                         Austin, TX 78731




Jdx LLC                                  Jean A Wright                        Jean Adams Dickerson
PO Box 2955                              5600 Tennyson Pkwy Ste 165           PO Box 120
Victoria, TX 77902                       Plano, TX 75024                      Gloster, LA 71030




Jean Adams Papazian Trustee              Jean Ann Lange                       Jean Ann Oneal
1558 Harris Rd                           501 N Terry 306                      20470 Cr 4104
Jasper, GA 30143                         Cuero, TX 77954                      Lindale, TX 75771




Jean Ann Pritchett                       Jean Ann Reedy And                   Jean Anne Patterson
PO Box 10578                             Gloria Jean Reedy Head               1201 Garfield Avenue
Corpus Christi, TX 78460                 2308 Kalkaska                        Cinnaminson, NJ 08077
                                         Henderson, NV 69044




Jean Anthony                             Jean Ballenger                       Jean Blount Baker
420 Riverside Dr Apt 6E                  PO Box 577                           PO Box 632768
New York, NY 10025                       Henderson, TX 756530577              Nacogdoches, TX 75963-2768
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Jean Brannon Trust                       Jean Brian Webber                Jean Bristol
Created U/W/O Jameston Rezin Brannon     6953 Arboreal                    PO Box 100503
Keith Chapman Ttee                       Dallas, TX 75231-8129            Ft Worth, TX 76185
PO Box 7580
Tyler, TX 75701



Jean Brown Jackson                       Jean Browne Rumsey               Jean Burnside Eisenbeis Deceased
900 Piermont Ste 100                     c/o Ann Hardinge                 5 Rivermead Road
Shreveport, LA 71106                     101 Longsford                    Peterborough, NH 03458
                                         San Antonio, TX 78209




Jean C Brown                             Jean C Oakason Mar Tr 12/20/76   Jean C Oakason Mar Tr 12/20/76
Route 2 Box 7 A                          PO Box 830308                    PO Box 840738
Crockett, TX 75835                       Dallas, TX 75283-0308            Dallas, TX 75284-0738




Jean C Oakason Memorial LLC              Jean C Perkins                   Jean C Warr
3018 East Ksel Drive                     305 Montclair                    3018 Ksel Drive
Sandy, UT 84092                          Longview, TX 75601               Sandy, UT 84092




Jean Cornelius Deceased                  Jean Cotten                      Jean D Binford
901 Alpine                               25 Diamond Circle                2600 Lake Austin Blvd Apt 6101
Marshall, TX 75670                       Texarkana, TX 755031857          Austin, TX 78703-4462




Jean D Bland                             Jean D French Trust              Jean D Lea
2105 S Cynthia Apt B 119                 U/W/O Sam W French               24311 Hwy 9
Mcallen, TX 78503                        Frost National Bank Trustee      Bienville, LA 71008
                                         PO Box 1600 T6
                                         San Antonio, TX 78296



Jean Davis                               Jean Donley Binford Tr           Jean E Erlenborn
404 Biggers St                           U/A/D Dtd 4/21/1998              123 Kingsway Dr
Henderson, TX 75652-5704                 8623 E Devonshire                Sycamore, IL 60178
                                         Scottsdale, AZ 85251




Jean F L C Osborne                       Jean F L C Osborne Et Vir        Jean Fiebelkorn Jack Fiebelkorn
678 Main St                              Connell Osborne                  400 Pine Hills Dr Unit 120
Grambling, LA 71245                      678 Main St                      Calhoun, LA 71225
                                         Grambling, LA 71245




Jean Flaitz                              Jean Gilliam Brown               Jean Gipson
PO Box 99910                             PO Box 447                       3207 Market St
San Diego, CA 92169-1910                 Grambling, LA 71245              Oak, CA 94608




Jean Gorr Crawford Frazell               Jean H Maranto                   Jean Hamilton Carpenter
Nancy Crawford A I F                     PO Box 16                        865 Highway 519
1616 Lobdell                             Woodlawn, TX 75694               Arcadia, LA 71001
Baton Rouge, LA 70806
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Jean Henry                               Jean Johnston                         Jean K Van Os A Single Woman
975 Athens Rd                            1781 N Pratt Rd                       5905 Gilbert Dr
Winterville, GA 30683-2950               Red Oak, TX 75154                     Shreveport, LA 71106




Jean L Calvert                           Jean L Wilkerson                      Jean La Verne Daniels
PO Box 231                               5520 Bong Dr                          8467 S Van Ness Ave
Mansfield, LA 71052                      Ft Worth, TX 76112                    Inglewood, CA 90305-1519




Jean Larue Rini                          Jean Logue Austin                     Jean Lotspeich Keeler
407 E Tennessee Rd                       1228 Mitchell Road                    3746 South 88Th Avenue
Ruston, LA 71270                         Simsboro, LA 71275                    New Era, MI 49446




Jean Louise Bogard                       Jean Louise Mcbride                   Jean M Boehm Trust Dated May 1 1995
5754 Caspiana Ln                         5754 Caspiana Lane                    Jean M Boehm Trustee
Bossier City, LA 71112                   Bossier City, LA 71112                1318 Boston
                                                                               Muskogee, OK 74401




Jean M Laird Family Trust                Jean M Lynch Templeton Marital        Jean Marie Goree Bowman
Brant Ben Laird Trustee                  Tr Farmers National Co Agent          4436 Crestland Drive
2901 North Henderson Avenue              Oil And Gas Management Dept           St Louis, MO 63121
Dallas, TX 752066402                     Lock Box 3480
                                         Omaha, NE 68103-0480



Jean Martin                              Jean Mccain Andres                    Jean Mcdaniel Hightower
3501 Hwy 59                              c/o Oklahoma Office Of St Treasurer   2 Mccaffety Ln
George West, TX 78022                    Unclaimed Property Division           Hunstville, TX 77320
                                         4545 North Lincoln Blvd 106
                                         Oklahoma City, OK 731053413



Jean Mcgill                              Jean Mcneil                           Jean Morgan Wilson
PO Box 3265                              445 Blazier Ln                        c/o John Wilson
Conroe, TX 77305-3265                    West Monroe, LA 71292                 Liskow Lewis
                                                                               1 Shell Square Ste 5000
                                                                               New Orleans, LA 70139



Jean Morgan Wilson Estate                Jean Morris Stevenson                 Jean Moyse Simmons
c/o John M Wilson Indpnt Exec            PO Box 240009                         1964 Country Club Drive
One Shell Square                         Charlotte, NC 28224                   Baton Rouge, LA 70808
701 Poydras Street
New Orleans, LA 70139-5099



Jean Newman Clark                        Jean Olvey Intravia                   Jean P Mckay
29 Shipwatch Rd                          PO Box 2242                           Trustee Of The Charles William
Savannah, GA 31410-2947                  Covington, LA 70434                   Mckay Jean P Mckay Living Tr
                                                                               2524 B 141st Place Sw
                                                                               Lynnwood, WA 98037



Jean Paul Michel                         Jean R Leblanc                        Jean R Leeper
Address Redacted                         305 Old Kaplan Hwy                    8194 Downing Dr
                                         Abbeville, LA 70510                   Denver, CO 80229
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Jean R Welsh                            Jean Ridge Hoeft               Jean Robinson Baker
5336 Kaywood Dr                         PO Box 446                     9004 Klondike Ct
Jackson, MS 39211                       Oil City, LA 71061             Shreveport, LA 71115




Jean Rose Gould                         Jean Ross Williamson           Jean Sentell Mendenhall
638 Haverstraw Road                     1235 Cr 225                    579 North Marlborough
Suffern, NY 10901                       Carthage, TX 75633             Shreveport, LA 71106




Jean Shaver Jenkins                     Jean Starr Victory             Jean T Pee
8225 Ymca Plaza Dr Apt 110              6615 Lakeside Drive            2861 Hwy 80
Baton Rouge, LA 70810                   Boise, ID 83714                Choudrant, LA 71227




Jean Travis Witts                       Jean V Mcleod                  Jean W Quinett Tr
6007 Glendora                           4027 Oak Garden Drive          Yvonne M Quinnett Succ Ttee
Dallas, TX 75230                        Kingwood, TX 77339             808 Rye Rd
                                                                       Norman, OK 73072




Jean Washam Hollis Indiv                Jean Whiddon                   Jean Whitten
Aif For James Stephen Hollis            130 Fairway Dr East            PO Box 242
2403 Hwy 544                            Hideaway, TX 75771             Woden, TX 75987
Ruston, LA 71270




Jean Wood Anderson Living Tst           Jean Wood Hall                 Jean Wooster Berry
James Randolph Hubbard Paul             6234 Rue Sophie St             907 Cresthill Dr
Huntleigh Hubbard Co Trustees           San Antonio, TX 78238          Cedar Hill, TX 75104
1022 County St 2927
Tuttle, OK 73089



Jeana Weiss                             Jeanann Pirtle Trust           Jeananne Canterbury Migala
PO Box 3317                             PO Box 8509                    PO Box 70
Bay St Louis, MS 39520                  Tyler, TX 75711                Simonton, TX 77476




Jeane Hopper                            Jeane Mcvicker                 Jeane R Mcvicker Living Trust
3102 Sentinel Dr                        214 Crescent Bluff             214 Crescent Bluff
Midland, TX 79701                       Austin, TX 78734               Austin, TX 78734




Jeane R Mcvicker Trustee Of             Jeanelle Edwards               Jeanet C Barrow Estate
Jeane R Mcvicker Lving Trst             Box 171                        Virginia Durham Young
214 Crescent Bluff                      Timpson, TX 75975              2041 Westcreek Lane No 108
Austin, TX 78734                                                       Houston, TX 77027




Jeanetta E Lacour                       Jeanetta K Griffin             Jeanette Allday Thomas
Route 1 Box 11 C                        1677 S Espano Way              316 Greenway Lane
Simsboro, LA 71275                      Aurora, CO 80017               Richmond, VA 23226-1632
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Jeanette Avo Calvin                       Jeanette Benoit Wavah          Jeanette Bradley
550 S Rosalind Dr                         2241 Cr 4916                   711 Bethune Street
Orange, CA 92869                          Timpson, TX 75975              Monroe, LA 71202




Jeanette Brian Lawrence                   Jeanette Elizabeth King        Jeanette Elizabeth Mcdermott
3727 Oak Cluster                          103 C W Cedar St               1410 Cardinal Rd
San Antonio, TX 78253                     Hallsville, TX 75650           Bowling Green, OH 43402




Jeanette F Benningfield                   Jeanette Favrot Peterson       Jeanette Ford Dean
11208 290W                                PO Box 983                     821 Ponder Street
Harper, TX 78631                          Rancho Sante Fe, CA 92067      Ruston, LA 71270




Jeanette Hardy                            Jeanette Harley Moore          Jeanette Jenkins
4526 Stigall Drive                        629 Moore Ln                   3976 Halldale Ave
Dallas, TX 75209                          Hallsville, TX 75650           Los Angeles, CA 90062




Jeanette Jones                            Jeanette Kirk Petersen         Jeanette Kronick
1109 E Hebron Pkwy 15101                  PO Box 983                     78155 Blvd East Apt 9J
Carrollton, TX 75010                      Rancho Santa Fe, CA 92067      North Bergen, NJ 07086




Jeanette Kuhn Goodman                     Jeanette Lake                  Jeanette Lee
4211 Norwich Dr                           3820 Fm 10                     521 East Utica St
College Station, TX 77845-3209            Gary, TX 75643                 Buffalo, NY 14208




Jeanette Lewis Taylor                     Jeanette Lynn Hebert           Jeanette M Bolton Life Estate
12221 Fleming Drive                       1111 Cleistes Ln               521 Berkshire Drive
Apartment 713                             Richmond, TX 77469             Longview, TX 75605
Houston, TX 77013




Jeanette Marie Cox                        Jeanette Mcquistion            Jeanette Mercer
826 Ne Ainsworth St                       109 E Metzger                  41 Blackjack
Portland, OR 97211                        Butler, PA 16001               Austin, TX 78602




Jeanette Shipp Richey                     Jeanette Smith Pesnell         Jeanette Trevino
12657 Alma Street                         1849 Highway 145               Address Redacted
Tyler, TX 75704                           Choudrant, LA 71227




Jeanette Wall Lewis Edward E Lewis        Jeanette Woods As Sep Prop     Jeanie C Loflin
1754 Templeton Bend Road                  20870 Brazos                   1561 Morris Lane
Columbia, LA 71418                        New Caney, TX 77357            Frisco, TX 75034
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Jeanie D Kelleher                      Jeanie Marie Fallin Simmering    Jeanine Hutcheson
8705 Cooley Beach Dr                   122 Choctaw Dr                   23805 Hackberry Pt
White Lake, MI 48386                   Pineville, LA 71360              San Antonio, TX 78264




Jeanne A Davis Trustee                 Jeanne Almany                    Jeanne Brown Jackson
Jeanne A Davis Trust                   577 Cr 2041                      900 Pierremont Ste 100
PO Box 1461                            Nacogdoches, TX 759650473        Shreveport, LA 71106
Tyler, TX 75710




Jeanne Casey                           Jeanne Christian                 Jeanne Cook Neely
1825 Brookside Dr                      117 Welsh St No 6                6649 Whitehurst Drive
Cedar Falls, IA 50613-6403             Mansfield, LA 71052              Longview, TX 75602




Jeanne Corley                          Jeanne D Casey Estate            Jeanne F Jones
29 Karen Lee Lane                      1825 Brookside Dr                275 Oak Creek Dr Apt 201
Manitou Springs, CO 80829              Cedar Falls, IA 50613-6403       Wheeling, IL 60090-6732




Jeanne Gayle Brewer                    Jeanne Lee Burk Life Tenant      Jeanne Leslie
180 Pond Rd                            U/W/O Hattie Reynolds Lee        PO Box 399
Marshall, TX 75672                     c/o Byran Burke Iii              Boerne, TX 78006-0399
                                       4110 Villanova
                                       Houston, TX 77005



Jeanne Long Moody Trust                Jeanne M Redmond                 Jeanne Miller Garcia
3501 B N Ponce De Leon Blvd            137 Brittany                     18751 S Harrels Ferry Rd
Pmb 343                                San Antonio, TX 78205            Baton Rouge, LA 70815-3551
St Augustine, FL 32084




Jeanne O Long                          Jeanne P Miller                  Jeanne Rissman Oltman
1081 Delaware St                       10261 State Highway 7 E          112 Charlemagne Ct
Shreveport, LA 71106-1401              Joaquin, TX 75954                Cary, NC 27511




Jeanne Ross Irwin                      Jeanne S Bracken                 Jeanne Steffen
Sn 29 Lake Cherokee                    111 East Elm Street              9100 N 48Th Place
Henderson, TX 75652                    Tyler, TX 75702                  Paradise Valley, AZ 85253




Jeanne Strode Murhpy                   Jeanne Waldrop Purdom Life Est   Jeanne Y Jagow Chapter 7 Ttee
1144 Manchester Drive                  Roger L Purdom Poa               Fbo Theo Anne Keffeler Chadder
Santa Clara, CA 95050                  1701 Orchard St Apt 131          26 West Dry Creek Circle 470
                                       Wenatchee, WA 98801              Littleton, CO 80120




Jeanne Zoller Nicholson                Jeannene Mullins                 Jeannette Day Howell
13975 Sw High Tor Drive                19 Whitewater Way                1006 Grace Street
Tigard, OR 97224                       Wetumpka, AL 36092               Deer Park, TX 77536
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Jeannette Furer                          Jeannette Leabo Mathias             Jeannette Morton
2873 S Unita St                          1433 Baytowne Circle East           12816 St Johns Pl
Denver, CO 80231                         Sandestin, FL 32550                 Oklahoma City, OK 73142




Jeannette V Chambers                     Jeannie Barker Deceased             Jeannie Diane Byrne
PO Box 387                               5928 Valley Forge Ave               422 Northridge Circle
Greeleyville, SC 29056                   Baton Rouge, LA 70808               Evans, GA 30809




Jeannie E Reynolds                       Jeannie Goodwin                     Jeannie Goodwin Sher
552 Fair Road                            11 Horseshoe 1023                   3009 John Cole Place
Dubach, LA 71235                         Highland Village, TX 75067          Monroe, LA 71201




Jeannie Mccollum                         Jeannine A Knight                   Jeannine Bazer Schwartz
19251 Preston Road Apt 1902              12 Colonial Drive                   4928 Briarwood Place
Dallas, TX 75252                         Texarkana, AR 75502                 Dallas, TX 75209




Jeannine Bouby Coker                     Jeannine M Spicer                   Jeannine Tobin Hamiter
294 Jill Loop                            168 Henderson Rd                    402 N Sibley Apt B 4
Ruston, LA 71270                         West Monroe, LA 71291               Benton, LA 71006




Jeb Minerals Ltd                         Jed A Lohmann Liv Tr Dtd 01 31 02   Jed King
119 Arizona Loop                         Jed A Lohmann Ttee                  2402 Country Road 377 West
Laredo, TX 78041                         3848 Blue Trace Ln                  Laneville, TX 75667
                                         Dallas, TX 75244




Jedco Properties LLC                     Jeems Bayou Production Corp         Jefe Oilfield Services LLC
PO Box 607                               PO Box 639                          811 Sixth Street
Ruston, LA 71273                         Oil City, LA 71061                  Ste 220
                                                                             Wichita Falls, TX 76301




Jeff B Taylor                            Jeff Baldwin                        Jeff Berry Company Inc
PO Box 688                               19060 County Road 66                2725B Ouachita 67
Mineola, TX 75773                        Greeley, CO 80631-9664              Louann, AR 71751




Jeff Davis Bank                          Jeff E Oden And Corrie N Oden       Jeff Edington
507 N Main St                            c/o Texas State Treasury            Address Redacted
Jennings, LA 70546                       Unclaimed Property Division
                                         PO Box 12019
                                         Austin, TX 78711-2019



Jeff F Cummings                          Jeff Kemp                           Jeff L Harris
PO Box 130                               1528 Crockett Drive                 18121 Langford Lane
Joaquin, TX 75954                        Tyler, TX 75701                     Forney, TX 75126
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Jeff L Wood                              Jeff M Bracken Estate                 Jeff M Langford
1311 E Philadelphia St                   Jeanne S Bracken Indept Exec          3757 Braggs Road
Ontario, CA 91761                        111 East Elm Street                   Greenville, AL 36037-8431
                                         Tyler, TX 75702




Jeff R Thompson                          Jeff S Hammond                        Jeff Scott Jr
931 Delaware                             10260 Washington St Apt 524           7703 Pirate Point Circle
Shreveport, LA 71106                     Thornton, CO 80229-2071               Arlington, TX 76016




Jeff Shortnacy                           Jeff Spradley Separate Property       Jeffcoat Production Service
Address Redacted                         5302 Ancient Oak Cir                  Lamar Jeffcoat
                                         Lake Park, GA 31636                   PO Box 451
                                                                               Spurger, TX 77660




Jefferies Company Inc                    Jefferies LLC                         Jefferson Bank Of Missouri
333 Clay Street Ste 1000                 Attn Bob Maranzano                    700 Southwest Blvd
Houston, TX 77002                        11100 California Route 2 10           Jefferson City, MO 65109
                                         Los Angeles, CA 90025




Jefferson Brandon Ewing                  Jefferson County Child                Jefferson Fredrick Erck
Susan Noland Ewing                       Support Office                        144 Mount Erin Pass
923 N Trenton Street                     Fbo Jo Lynne Marcontell Case 116758   San Antonio, TX 78212
Ruston, LA 71270                         PO Box 3586
                                         Beaumont, TX 77704



Jefferson Land Company LLC               Jefferson Wheat Williams              Jeffery A Davidson
c/o Richard ONealy Mng Mbr               6 Desta Drive Suite 3000              Address Redacted
2406 Kavanaugh Rd                        Midland, TX 79705
Ruston, LA 71270




Jeffery Barksdale Hill Iv                Jeffery C Herbert                     Jeffery Dale Standley
2929 Post Oak Blvd                       12551 Lesley Road                     307 Cr 3907
Apt 340                                  Heath, OH 43056                       Jacksonville, TX 75766
Houston, TX 77056




Jeffery Dave Smith                       Jeffery Hill                          Jeffery Hunter
2500 W 7Th                               1586 W Maggio Way                     Address Redacted
Irving, TX 75060                         Apt 1041
                                         Chandler, AZ 85224




Jeffery Kenneth Ellington                Jeffery Lynn Robertson Et Ux          Jeffery Marie Roberson
PO Box 1161                              Tammy Michael Robertson               PO Box 205
Gilmer, TX 75644                         301 Brown Rd                          Henderson, TX 75653
                                         Quitman, LA 71268




Jeffery Mark Porter And                  Jeffery P Rabalais                    Jeffery Ray Jansen
Wife Janice E Porter                     PO Box 7636                           20521 108Th St
10219 County Road 2403                   Alexandria, LA 71306-0636             Court East Unit 108
Kemp, TX 75143-8719                                                            Bonney Lake, WA 98391
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Jeffery Scott Adams                        Jeffery Scott Adams And Terri L Adams   Jeffery Scott Annis
529 Hwy 519                                529 Hwy 519                             Address Redacted
Arcadia, LA 71001                          Arcadia, LA 71001




Jeffery Scott Bazer                        Jeffery Steven Brown                    Jeffery Stolet
163 Denver Street                          356 Stone Bridge Rd                     5070 Saxon Way
Springfield, MA 01109                      Quitman, LA 71268                       Eugene, OR 97405




Jeffery W Toms                             Jefflene Smiley                         Jeffress Ame 1 LLC
25 Denonville Place                        1304 Cox Street                         PO Box 580
Webster, NY 14580                          Jonesboro, LA 71251                     Jonesboro, LA 71251




Jeffress Malone Drewett                    Jeffrey A Murdock                       Jeffrey Allen
1208 Travis Heights Blvd                   1807 N Piatt Avenue                     1350 Maryland Ave Ne Unit 217
Austin, TX 78704                           Wichita, KS 67214                       Washington, DC 20002-4635




Jeffrey B Johnson                          Jeffrey B Young                         Jeffrey Barker
709 Jones Street                           PO Box 8258                             9394 Cody Drive
Suffolk, VA 23434                          Horseshoe Bay, TX 78657                 Westminster, CO 80021




Jeffrey Brooks                             Jeffrey Carl Wise                       Jeffrey Charles Moore
604 S Superior                             1351 Couchwood Rd                       117 Chinquapin Place
White Oak, TX 75693                        Cotton Valley, LA 71018                 Natchitoches, LA 71457




Jeffrey David Sutton                       Jeffrey Davis                           Jeffrey Dean Hull
121 Pellegrino Ct                          1111 Herring Ave                        1833 Vintage Drive
Lincoln, CA 95648                          Port Neches, TX 77651                   Corinth, TX 76210




Jeffrey Dewayne Sampson                    Jeffrey E Modesitt                      Jeffrey Earl Jones
PO Box 8                                   6037 S Bellaire Wy                      516 N St Mary
Gibsland, LA 71028                         Littleton, CO 80121                     Carthage, TX 75633




Jeffrey Foster                             Jeffrey Gill Pittman                    Jeffrey Glen Davis
1912 Harvest Dance                         PO Box 214                              800 Jeff Davis Drive
Leander, TX 78641                          Plain Dealing, LA 71064                 Tyler, TX 75703-5510




Jeffrey Goebel                             Jeffrey I Wester                        Jeffrey J Tempas
275 Cr 205                                 3200 Groveland Terrace                  5961 S Middlefield Road
Three Rivers, TX 78071                     Denton, TX 762100560                    Ste 100
                                                                                   Littleton, CO 80123
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Jeffrey Joe Boyd                       Jeffrey Joe Sibley              Jeffrey Klam
2601 Skyline Dr                        414 Madison                     Address Redacted
Fort Worth, TX 76114                   San Antonio, TX 78204




Jeffrey L Berg                         Jeffrey L Kori Walker Roberts   Jeffrey L Smith
203 Galilee Road                       416 Davis Rd                    13095 Fieldstone Loop
Hallsville, TX 75650                   Simsboro, LA 71275              Austin, TX 78737




Jeffrey Lane Roberts                   Jeffrey Lee Longshore           Jeffrey Lee Wheeler
416 Davis Rd                           1124 Grayhawk Dr                6204 Ld Lockett Road
Simsboro, LA 71275                     Forney, TX 75126-7740           Colleyville, TX 76034




Jeffrey Liston Barber                  Jeffrey Lyle Lockhart           Jeffrey Lynn Davis
10 River Oaks Circle                   23404 Theron Port Lane          109 Tern Court
Little Rock, AR 72207                  Richland Center, WI 535818646   Victoria, TX 77901




Jeffrey Lynn Valder                    Jeffrey M Pierce                Jeffrey Mark Leese
106 Pebblebrook Dr                     1015 E Yager Ln Unit 83         2316 Kaywood Lane
New Bern, NC 28562                     Austin, TX 78753-7006           Silver Springs, MD 20905




Jeffrey Mason                          Jeffrey Michael Lantz           Jeffrey N Loomis
5107 Congressional Drive               2600 27Th St                    1610 Bruton Springs Rd
College Station, TX 77845              Parkersburg, WV 26104           Austin, TX 78733




Jeffrey P Mcgehee And Jane M Mcgehee   Jeffrey Pate                    Jeffrey Price Ammons
172 Katie Ln                           2503 Belmont Blvd               208 Coles Campground Road
Ruston, LA 71270                       Bossier City, LA 71111          Murray, KY 42071




Jeffrey Ray Thomas And                 Jeffrey S Haemer                Jeffrey S Rodden
Donna Marie Thomas Husband And Wife    960 Ithaca Drive                5646 County Road 146
397 Henry Smith Rd                     Boulder, CO 80305               Elizabeth, CO 80107
Bernice, LA 71222




Jeffrey S Stripling                    Jeffrey Scott Clemens           Jeffrey Scott Hoffman
2707 E Golden Oaks                     1917 Us Hwy 271 S 271           Angela Lynn Hoffman
Fayetteville, AR 72703                 Gilmer, TX 75645                310 Kings Gin Rd
                                                                       Arcadia, LA 71001




Jeffrey Steven Brown Et Ux             Jeffrey T Light                 Jeffrey Taliaferro
Tracie W Brown                         397 South 31st St               739 Meadow Lark
356 Stone Bridge Rd                    Philomath, OR 97370             Coppell, TX 75019
Quitman, LA 71268
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Jeffrey Thauwald                        Jeffrey W Hurt                         Jeffrey Woolverton
18301 Co 5                              5012 Spyglass Drive                    10803 Knollwood Dr
Spring Valley, MN 55975                 Dallas, TX 75287                       Tyler, TX 75703




Jeffry Brace                            Jeffry Fisher                          Jehnell Farley Dupree
1111 Montreau Ct                        17602 Westlake Dr                      2136 Maywood Drive
Arlington, TX 76012                     Dripping Springs, TX 78620             Monroe, LA 71201




Jek Automotive Supply Inc               Jeleta F Eckheart                      Jemreb LLC
124 South Shelby Street                 38 Rushbrooke Close                    400 Texas St
Carthage, TX 75633                      High Wycombe Hp 13 7 Qw                Suite 600
                                        United Kingdom                         Shreveport, LA 71101




Jen Mac Properties LLC                  Jen Son Oil                            Jena Van Winkle
1603 Gum Creek Cove                     127 Lexington Dr                       1003 Texas Dr
Niceville, FL 32578                     Billings, MT 59102                     Carthage, TX 75633




Jenco Resources Inc                     Jeneice Bowman                         Jenelle E Boucher
130 Desiard St Suite 508                1600 E Myrtle Ave                      2401 Chartres St
Monroe, LA 71201                        Johnson City, TN 37601                 New Orleans, LA 70117-8606




Jenice R Buchanan Sep Prop              Jenifer Houston                        Jenks E Boston
230 Levi Road                           7405 Nw 129Th Street                   31201 Keeneland Drive
Arcadia, LA 71001                       Oklahoma City, OK 73142                Fair Oaks Ranch, TX 78015




Jenneita Smith Wallace                  Jennice La Cava Viglini                Jennie B Mussington
1507 Breezy Bend Rd                     c/o Texas State Treasury               PO Box 2062
Katy, TX 77494                          Unclaimed Property Division            Concord, NC 28026
                                        PO Box 12019
                                        Austin, TX 78711-2019



Jennie Lewis Garner                     Jennie Richardson                      Jennifer Ann Dieker
1269 Bowdolin St                        3935 Manzanita Drive                   PO Box 274
San Francisco, CA 94134                 San Diego, CA 92105                    Olpe, KS 66865




Jennifer Anne Prothro                   Jennifer Anne Roberts Beason           Jennifer B Henderson
1622 Brookhollow                        PO Box 6449                            5036 Renton Ave S B106
Lindale, TX 75771                       Shreveport, LA 71136-6449              Seattle, WA 98118




Jennifer Cheryl Morrison                Jennifer Collier Maynard Life Estate   Jennifer Cook
18120 Fm 3204                           1925 N Old Wire                        PO Box 118
Brownsboro, TX 75756                    Fayetteville, AR 72703                 Daisetta, TX 77533
                     Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 674 of 1524

Jennifer Denise Sigman                   Jennifer Diane Dunn Trust       Jennifer Durbin
PO Box 1181                              7 Stonegate Lane                122 Cargill St
Fredericksburg, TX 78624                 Hot Springs, AR 71913           Tatum, TX 75691




Jennifer Elaine Navejar                  Jennifer Elizabeth Craig        Jennifer Erin Wood
4108 Primrose Ave                        2984 Peacemaker St              304 Cr 3780
Mcallen, TX 78504                        Round Rock, TX 75606            Joaquin, TX 75954




Jennifer Esclovon                        Jennifer G Poer                 Jennifer Gail Reed Terzia
1511 Block St                            7916 Chaparral Dr               155 Shenandoah Dr
Port Neches, TX 77651                    White Settlement, TX 76108      Dubach, LA 71235




Jennifer Gardner Stevenson               Jennifer Genet Hamlin Gautier   Jennifer H Chandler
2 Foxtail Cir                            6366 Oberlin Ct                 4314 Walnut Hill Lane
Cherry Hills Village, CO 80113           Tyler, TX 75703                 Dallas, TX 75229




Jennifer Harris Koelling                 Jennifer Herbst Vergara         Jennifer J March Test/Trust
202 1/2 W 7Th St                         2417 Bowie Lane                 Texas State Bank Trustee
Tyler, TX 75701                          Grapevine, TX 76051             PO Box 3782
                                                                         San Angelo, TX 76902




Jennifer J Rhodes                        Jennifer J Windham Sp           Jennifer Jarrell Paine
4711 Curry Road                          PO Box 21                       101 Elmsley Dr
Manvel, TX 77578                         Grand Cane, LA 71032            West Monroe, LA 71292




Jennifer Jimerson                        Jennifer Jones                  Jennifer Jones Anderson
7106 Palisades Hts                       PO Box 488                      4714 Mystic Lane
Houston, TX 77095                        Carthage, TX 75633              Nacogdoches, TX 75965




Jennifer Jones Kruse                     Jennifer Jones Wiemer           Jennifer K Lucas
10622 South Evers Park Drive             18310 Pamela Way                5800 Stoneridge Dr
Houston, TX 77024                        Spring, TX 77379                Texarkana, TX 75503-1462




Jennifer L May                           Jennifer L Mcmellon             Jennifer Lea Mccallum
PO Box 297                               193 Daddy Don Dr                203 Winged Foot Dr
Pinhurst, TX 77362                       Mansfield, LA 71052             Shreveport, LA 71106-8411




Jennifer Lea Wallimann                   Jennifer Lee Castillo           Jennifer Lee Chote
803 Queens Way                           907 Mission Rock Road           906 South High
Williamsburg, VA 23185                   Santa Paula, CA 93060           Henderson, TX 75654
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Jennifer Leeann Mcmellon                  Jennifer Lewis                 Jennifer Louise Guzman
193 Daddy Don Drive                       4165 S Cimarron Way 1013       1628 Whitewater Rd
Mansfield, LA 71052                       Aurora, CO 80014               Memphis, TN 38117




Jennifer Louise Stieren                   Jennifer Lyn Lindenstein       Jennifer Lynn Griffin
P P Box 31484                             727 E Adams                    368 Mcbeth Road
Seattle, WA 98103                         Orange, CA 92667               Plain Dealing, LA 71064




Jennifer Lynn Johnson Riser               Jennifer Lynn Miley            Jennifer M Whelan
1986 Hwy 820                              621 Harrington Avenue          310 Rick Drive
Choudrant, LA 71227                       Los Altos, CA 94024            Longview, TX 75605




Jennifer Maria Whelan                     Jennifer Marie Willis          Jennifer May
110 E Hawkins Pkwy 2302                   111 Ali Ave                    525 William Penn Place
Longview, TX 75605                        Hinesville, GA 31313           Suite 153 0400
                                                                         Pittsburgh, PA 15259




Jennifer Mayfield                         Jennifer Mcgee                 Jennifer Mcmiller
PO Box 353                                Guardian For Lindy Mcgee       2519 Goldspring Lane
Grambling, LA 71245                       413 Oak Vista                  Spring, TX 77373
                                          Friendswood, TX 77546




Jennifer Mcreynolds                       Jennifer Norsworthy Vernon     Jennifer Phillips Trust
1422 Gage St                              2324 West 119Th Ave            John Phillips Trustee
Saginaw, MI 48601                         Westminster, CO 80234          2621 Goldfinch Drive
                                                                         Cedar Park, TX 78613




Jennifer R Lawson Sep Prop                Jennifer Renee Smyth Trust     Jennifer Richardson
3811 Brewton Drive                        Nancy A Abernathy Trustee      8387 Highway 3
Arcadia, LA 71001                         PO Box 6093                    Plain Dealing, LA 71064
                                          Longview, TX 75608




Jennifer Robin Lennard Jones              Jennifer Russell Dunn          Jennifer S Davis
13692 Hwy 159                             7 Stonegate Lane               1512 Silver Oak Trl
Shongaloo, LA 71072                       Hot Springs, AR 71913          Cedar Park, TX 78613




Jennifer Smart Danklefsen                 Jennifer Susan Vaughn          Jennifer Taylor Zehnder
137 Napoleon Dr                           PO Box 474                     110 Hawthorne Rd
West Monroe, LA 71291                     Jemez Springs, NM 87025        Lafayette, LA 70508




Jennifer Thomas Adams                     Jennifer Tidmore               Jennifer W Sednaoui
12224 Tawny Farms Rd                      253 Blalock                    472 Bedford Center Road
Austin, TX 78748                          Hallsville, TX 75650           Bedford, NY 10506
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Jennifer Yates Register                  Jennings Elizaveta V            Jennings Bailey Gordon
4852 Us Hwy 79 N                         Address Redacted                302 E 4Th Avenue
Deberry, TX 75639                                                        Rome, GA 30161




Jennings Dana                            Jennis Kay Harvill              Jenny Coyle Beckett
3111 Fairway Oaks Lane                   12211 Carriage Ln               112 Adger St
Longview, TX 75605                       Conroe, TX 77304                Shreveport, LA 71105




Jenny Douglas Kenny Liv Tr               Jenny Elizabeth Stark           Jenny Futrell Harlan
200 Patterson Ave Suite 610              2018 Manet Pl                   5 Joseph Circle
San Antonio, TX 78209                    Davis, CA 95618-0536            Longview, TX 75601




Jenny Lewis Rappeport                    Jenny Lynn Musgrave             Jenny M Burton Hardy
PO Box 2067                              209 Birch                       12417 Cr 397 E
Longview, TX 75606                       Lake Jackson, TX 77566          Henderson, TX 75652




Jenny Marwil Hardy                       Jenny Roberts Schimpff Trust    Jens Jensen
12417 Cr 397 E                           Barry Coates Roberts            Charles Schwab Co Inc Cust
Henderson, TX 75652                      George L Stieren Co Trustees    Ira Rollover
                                         7373 Broadway Ste 406           332 Knite Dr
                                         San Antonio, TX 78209           San Rafael, CA 94901



Jensen Instrument Co                     Jerald C Caulfield              Jeraldine Carter Tolar
643 S Duggan Ave                         Jerald C Caulfield Sep          1527 Bonaparte Dr
Azusa, CA 91702-5185                     2110 South Serenity Dr          Ruston, LA 71270
                                         Watertown, SD 57201-8332




Jere Dale Hilburn                        Jere Fred Culp                  Jere J Brewster
1216 Aberdeen Ct S                       17182 Pilot Dr                  4204 Pecan Ridge Crossing
Mobile, AL 36609                         Tyler, TX 75707-7644            Longview, TX 75605




Jere L Pyburn                            Jere Lacey Pyburn And           Jere Maxfield
2905 River Oaks Drive                    Maurine Price Pyburn Liv Tr     17351 Mt Everest Ct
Monroe, LA 71201                         2905 River Oaks Dr              Sonora, CA 95370
                                         Monroe, LA 71201




Jere S Locke                             Jere W Wilkinson                Jeremiah Etcheverry
c/o Texas State Treasury                 Jerelyn Wilkinson Cotton        Address Redacted
Unclaimed Property Division              PO Box 5137
PO Box 12019 Capitol Station             Anaheim, CA 92814
Austin, TX 78711



Jeremy Bolander                          Jeremy C Hamlin                 Jeremy Fontenot
Address Redacted                         1290 Vanzant County Road 4809   Address Redacted
                                         Ben Wheeler, TX 75754
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Jeremy Haar                                Jeremy Haase                   Jeremy Hayden Paul
1800 Trestle Glen Road                     Address Redacted               Tanya Shea Humphrey Paul
Piedmont, CA 94610                                                        244 Jill Loop
                                                                          Ruston, LA 71270




Jeremy Hudson                              Jeremy Paul Covington          Jeremy Reeves
194 Butler Rd                              2217 Highway 2                 Address Redacted
Simsboro, LA 71275                         Plain Dealing, LA 71064-4151




Jerene Estes Mckinney                      Jerene Jones Winocour          Jerene Shaw Swann
111 Towering Oaks                          201 W Houston                  803 Cedar
Tool, TX 75143                             Marshall, TX 75670             Idalou, TX 79329




Jerene Willis Fuller                       Jeri Bechtel                   Jeri Pechtel
251 Heard Rd                               1919 Bearcat Lane              1819 Bear Cat Lane
Ruston, LA 71270                           El Cajon, CA 82020-8551        El Cajon, CA 92020




Jeri R Owens                               Jeri Ruth Cochran Kelly        Jerial W Holman
PO Box 308                                 PO Box 1237                    Address Redacted
Waskom, TX 75692                           Henderson, TX 75653




Jerlene Younger Calahan                    Jerline Smith                  Jerold Thomas Jordan
6922 Bonsallo Avenue                       4614 Givens                    394 County Road 2235
Los Angeles, CA 90044                      Bossier City, LA 71111         Douglassville, TX 75560




Jerome Aurthur Lane Jr                     Jerome B Dorothy K Guinard     Jerome Carter
1710 South Deacon St                       Tr Dtd 4/04/04                 PO Box 101945
Detroit, MI 48217                          9522 E Chapagne Dr             Denver, CO 80210
                                           Sun Lakes, AZ 85248




Jerome Carter Living Trust Dtd 5/6/04      Jerome Critton                 Jerome E Fuller Jr Deceased
Chin Keong Tan Trustee                     PO Box 102                     PO Box 1521
PO Box 101945                              Taylor, LA 71080               Harlingen, TX 78552
Denver, CO 80250




Jerome Harris Family Trust Ed              Jerome Hudson                  Jerome J Jones
June Harris Trustee                        9728 Forest Ln Apt 2709        798 Ivy Oaks Drive
13296 Kidd Road                            Dallas, TX 75243               Caledonia, IL 61011
Conroe, TX 77302




Jerome Milam                               Jerome Scott Brown             Jerome Sirus
1860 Landsbury Ln                          1184 Bear Knoll Dr             8602 Melrose
Orange, TX 77630                           Quitman, LA 71268              San Antonio, TX 78250
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Jerome Templeton Estate                  Jerral David Spann                 Jerrel Walker
William F Conley Executor                3412 Jerry Lane                    2222 Westerland Apt 139
c/o The Trust Co                         Arlington, TX 76017                Houston, TX 77063
4823 Old Kingston Pike Suite 100
Knoxville, TN 37919



Jerrell Scott                            Jerri Bowdoin Shaw Cunningham      Jerri Jernigan
3120 Bragg Street                        1608 Pine Knoll Dr                 978 Boling Ranch Road
Bossier City, LA 71111                   Austin, TX 78758-4625              Azle, TX 76020




Jerrie Anne Wilson                       Jerrie Davis                       Jerrie Lee B Stevenson
10925 Beamer Rd                          2138 Fm 699                        10951 Elm Ave
Apt 405                                  Carthage, TX 75633                 Lynwood, CA 90262
Houston, TX 77089




Jerron D Green                           Jerry A Daues                      Jerry Alton Smith
7130 Lake Run Circle                     Address Redacted                   1120 Rita Ln
Birmingham, AL 35242-7500                                                   Ruston, LA 71270




Jerry Alton Smith And Roxanne M Smith    Jerry Ann Alston Life Estate       Jerry B Beckett Trust
1120 Rita Lane                           Bradley K Eason And                c/o Regions Bank Tnrre 318239019
Ruston, LA 71270                         Jayne E Craig Remaindermen         PO Box 11566
                                         2 Starwood Dr                      Birmingham, AL 35202
                                         Longview, TX 756058809



Jerry B Boaze                            Jerry B Boaze Jr                   Jerry B Booker
PO Box 63025                             PO Box 63025                       1559 Fm 3359
Colorado Springs, CO 80962-3025          Colorado Springs, CO 80962-3025    Carthage, TX 75633




Jerry B Woodfin                          Jerry Blackmon                     Jerry Bollier Mcmillian
PO Box 6                                 PO Box 840                         178 Rainbow Drive 7842
Gary, TX 75643-0006                      Junction City, AR 71749            Livingston, TX 77399




Jerry Brown                              Jerry Cain Bowen                   Jerry Chandler
1334 Garr Rd                             PO Box 307                         819 Holubee
Ruston, LA 71270                         Henderson, TX 75653                Diboll, TX 75941




Jerry Cleveland Ward                     Jerry Cockrell Margaret Cockrell   Jerry Coe Harris
398 Willows Drive                        190 Cr 3798                        PO Box 455
Cleveland, GA 30528                      Joaquin, TX 75954                  Beckville, TX 75631




Jerry Covington Deloach                  Jerry Crouch                       Jerry D Daniel
PO Box 36                                3957 Atkins Drive                  1334 Jeanette Way
Cullen, LA 70158                         Nashville, TN 37211                Carollton, TX 75006
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Jerry D Davis                           Jerry D Hale                   Jerry D Laverne Jones
PO Box 222                              1211 Beverly Ave               1915 30Th Street
Simsboro, LA 71275                      Henderson, TX 75654            Lubbock, TX 79411




Jerry D Lee                             Jerry D Mckee                  Jerry D Moore
c/o Munsch Hardt Kopf Harr P C          PO Box 146                     5508 Us Hwy 69 N
Nolan C Knight                          Sundown, TX 79372              Pollok, TX 75969
500 N Akard Street Suite 3800
Dallas, TX 75201-6659



Jerry D Oden                            Jerry D Prior                  Jerry D Smith Etux Dianne
6955 E Paradise Ranch Rd                276 County Road 346 East       1161 Fm 3174
Paradise Valley, AZ 85253               Henderson, TX 75654            Joaquin, TX 75954




Jerry Dale Hawbaker                     Jerry Dale Metcalf             Jerry Dale Smith
2807 Hillside Dr                        Acct 17649420                  2500 W 7Th Street
Tyler, TX 75707                         1111 Cr 023                    Irving, TX 75060
                                        Jasper, TX 75951




Jerry Dan Love                          Jerry Daniel Montgomery        Jerry Don Edwards
PO Box 21421                            205 W Travis                   584 Addison Rd
Oklahoma City, OK 731561421             Fredericksburg, TX 78824       Mansfield, LA 71052




Jerry Don Howell Special Tst            Jerry Don Salter               Jerry Don Watt
Larry V Howell Ttee                     4522 W Loop 281 Lot 149        PO Box 1081
3601 Blackwood Ct                       Longview, TX 756045873         Tatum, TX 75691
Richardson, TX 75082




Jerry Donald Rudd                       Jerry Duane Rogers             Jerry E Barge Rebecca L Barge
373 Cr 3791                             Box 133                        328 Mitchell Road
Joaquin, TX 75954                       Simsboro, LA 71275             Simsboro, LA 71275




Jerry E Chevalier                       Jerry E Mcdaniel               Jerry F Godwin
23511 Scenic Rdg                        854 Cr 3169                    3034 Frick Road
Porter, TX 77365-6069                   Joaquin, TX 75954              Houston, TX 77038




Jerry F Hammons                         Jerry Fielder                  Jerry Frank Hennington
521 Hwy 822                             18748 Forest Lane              1513 Robinhood Lane
Choudrant, LA 71227                     Flint, TX 75762                Lufkin, TX 75904




Jerry G Cockrell                        Jerry G Noles                  Jerry Garland Bailey
190 Cr 3798                             2635 Spreading Oaks Lane       1713 28Th St
Joaquin, TX 75954                       Jacksonville, FL 32223         Lubbock, TX 79411
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Jerry Gemet Buvens                       Jerry Gene Grigsby                         Jerry Gene Mccrary Donna
8259 Highway 146                         18651 Big Timber Rd                        Grimes Mccrary Liv Tr
Ruston, LA 71270                         Tyler, TX 75703-8601                       115 Ellis Dr
                                                                                    Pineville, LA 71360




Jerry Gene Mccrary S/P                   Jerry Glen Dorsey                          Jerry Gray A/K/A Thomas Jerry Gray
115 Ellis Dr                             4462 Page Road                             4510 Parkbend Dr
Pineville, LA 71360                      Longview, TX 75605                         Baytown, TX 77521




Jerry H Grimes                           Jerry Haire                                Jerry Hand
1215 Fm 256N                             9409 Freeman Rd                            7929 Fm 2259
Woodville, TX 75979                      Sanger, TX 76266                           Nacogdoches, TX 75961




Jerry Haynes                             Jerry Isley                                Jerry J Bell
6906 Cliffwood Drive                     319 N State St                             810 Springhill Road
Dallas, TX 75237                         Gibson City, IL 60936                      Longview, TX 75605




Jerry J Mayo                             Jerry Jay Meester                          Jerry Johnston
PO Box 116                               6841 S Clarkson St                         1520 Chatham Colony Ct
Gary, TX 75643                           Centennial, CO 80122                       Reston, VA 220904203




Jerry Kirby Ira Td Ameritrade            Jerry Kyle Phillips                        Jerry L Allen Jr
Clearing Custodian                       463 Elkins Lake                            6504 Mundo Dr
6220 Lakeside Dr                         Huntsville, TX 77340                       Waco, TX 76712
Lake Worth, TX 76135-2436




Jerry L Bentley Special Needs Trust      Jerry L Coker                              Jerry L Colwell
Syble W Bentley Atf                      5823 Cross Creek Circle                    3860 South Hills Cir
6585 Ricks Ln                            Tyler, TX 75703                            Fort Worth, TX 76109
Tuscumbia, AL 35674-5909




Jerry L Freda J Norman                   Jerry L Gwinn                              Jerry L James
1412 South Evenside                      6301 Grand Oak                             15415 Cr 2210N
Henderson, TX 75654                      Alexandria, LA 71301                       Tatum, TX 75691




Jerry L Rawlinson                        Jerry L Ritter                             Jerry L Snider
1506 Willowview                          c/o Texas Comptroller Of Public Accounts   323 Stewart
Longview, TX 75604                       Unclaimed Property Division                Meadowlakes, TX 78624
                                         PO Box 12019
                                         Austin, TX 78711-2019



Jerry L Thompson                         Jerry L Wife Donna S Head                  Jerry Landers
9200 West Bellfort 10                    PO Box 472098                              1209 A Hyde Park Blvd
Houston, TX 77031                        Garland, TX 75047                          Cleburne, TX 76031
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Jerry Lane Goodwin                      Jerry Lane Simpson                       Jerry Langston
303 Mcguire Road                        Pamela Russell Simpson                   PO Box 52
Simsboro, LA 71275                      596 Nicholson Rd                         Wimberley, TX 78676
                                        Arcadia, LA 71001




Jerry Lee Copeland                      Jerry Lee Iii                            Jerry Lee Stuckey
14034 River Rock Drive                  184 Mangham Rd                           1037 Carl Shealy Rd
Corpus Christi, TX 78410                Ruston, LA 71270                         Irmo, SC 29063-8531




Jerry Lee Williams                      Jerry Lee Woodard                        Jerry Len White And
1717 North 29Th St                      2252 Bridges Road                        Gail Canterbury White
Nederland, TX 77627                     Arcadia, LA 71001                        9109 Highway 80
                                                                                 Simsboro, LA 71275




Jerry Lester Lucy                       Jerry Lewis                              Jerry Lynn Bradshaw
1110 Chateau Ct                         PO Box 86863                             1012 Muirfield Village
Longview, TX 75604                      Apartment 4                              College Station, TX 77845
                                        San Diego, CA 92138




Jerry Lynn Burnaman                     Jerry Lynn Elliott                       Jerry M Alexander
0251 Rabbit Rd                          416 Reppert St                           113 Magnolia Ln Unit 106
Carbondale, CO 81623-8752               Bacliff, TX 77518                        Longview, TX 75605-5604




Jerry M Mccutchen                       Jerry Mack Crumpler                      Jerry Madison Bazer
2417 Township Ct                        865 Church Street                        1236 Foreman Rd
Abilene, TX 79601-4710                  Sarepta, LA 71071                        Doyline, LA 71023




Jerry March Brown                       Jerry Marie Slack Horner                 Jerry Marlon Beach
8909 Hwy 259 N                          727 Wilkinson Street                     277 Carrollton Ave
Overton, TX 75684                       Shreveport, LA 71104                     Shreveport, LA 71105-3327




Jerry Mcdonald                          Jerry Melton                             Jerry Michael Williams
2282 Mosswood Road                      800 Hwy 43 E                             2903 Midlane St 1
Choudrant, LA 71227                     Henderson, TX 75652                      Houston, TX 77027




Jerry Miles                             Jerry Neil Pierce                        Jerry Newberry
3110 Nonesuch Road                      6558 Cr 235 North                        7170 W Circle Dr
Abilene, TX 79606                       Henderson, TX 75652                      Dallas, TX 752141942




Jerry Oneal Clark                       Jerry Otis Massey Wife Maxine H Massey   Jerry P Bazer
968 Lewis Place                         821 Montreal Dr                          540 Hayden St
Shreveport, LA 71103                    Longview, TX 75601                       Carthage, TX 75633
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Jerry P Clark                             Jerry P Golson                           Jerry Patton
1751 Guadalajara Ave                      7202 Highway 79 East                     PO Box 426
Brownsville, TX 78526                     Henderson, TX 75652                      Lampasas, TX 76550




Jerry Paul Rudd                           Jerry Pinkston                           Jerry Pinkston Wife Barbara Pinkston
4318 Misty Timbers Way                    PO Box 352                               PO Box 352
Kingwood, TX 77345                        Center, TX 75935                         Center, TX 75935




Jerry Randle Davenport                    Jerry Ray Strickland Rachel Strickland   Jerry Robert Ford
6954 Miramar Circle                       2015 Simmons St                          1319 Cedar Run Dr
Fort Worth, TX 76126                      Kilgore, TX 75662                        Duncanville, TX 75137




Jerry Ronald Fenton                       Jerry Rubenstein                         Jerry S Douglas Jr
175 Golf Road                             2330 Holmes Rd                           2938 39Th Street
Gilmer, TX 75645                          Houston, TX 77051                        Sacramento, CA 95817




Jerry S Drewett Separate Prop             Jerry S Stewart                          Jerry S Sutton
2158 Llangeler Drive                      1416 24Th Street                         4005 Raquet
Ruston, LA 71270                          Nederland, TX 77627                      Nacogdoches, TX 75961




Jerry Sampract                            Jerry Scott Johnson                      Jerry Singleton
5627 West Circle Drive                    154 Baxter Rd                            1117 Airport Loop
Alexandria, LA 71301                      Ruston, LA 71270                         Homer, LA 71040




Jerry Sonnier                             Jerry Steven Siler                       Jerry Steven Siler Family Tr
PO Box 684                                PO Box 756                               Sandra K Siler Trustee
Deweyville, TX 77614-0684                 Henderson, TX 75653                      PO Box 756
                                                                                   Henderson, TX 75653




Jerry Sue Thorpe                          Jerry Tillery                            Jerry Tilley
1604 Sandlin Street                       900 Thrasher Way                         19901 Ne 21 Ave
Longview, TX 75602                        Nashville, TN 37221                      Miami, FL 33179




Jerry Travers                             Jerry V Carole K Hustead                 Jerry Von Yarborough
525 Washington Blvd                       Rev Living Trust                         375 Holliman Rd
Jersey City, NJ 07310                     4555 S Mission Rd 279G                   Ruston, LA 71270
                                          Tucson, AZ 85746




Jerry W Anderson                          Jerry W Foshee And Neva Jean Foshee      Jerry W Janie Burns Newman
27 Jennifer Ct                            256 Cr 3344                              513 Fm 3343
Mandeville, LA 70448-6321                 Joaquin, TX 75954                        Joaquin, TX 75954
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Jerry W Morris                            Jerry W Smith                           Jerry W Taylor
1896 Cr 106                               4011 E 76Th Street                      144 Church Street
Carthage, TX 75633                        Tulsa, OK 74136                         Grambling, LA 71245




Jerry Wallace                             Jerry Wayne Chandler                    Jerry Wayne Grigsby
1821 N Winona Ave                         438 Linton Rd                           2682 W Canterwood Dr
Tyler, TX 75702                           Benton, LA 71006                        South Jordan, UT 84095




Jerry Wayne Smith                         Jerry Wayne Spivey                      Jerry Wayne Stuckey DecD
5601 Fm 1844                              PO Box 1904                             421 Fairfield St E4
Gladewater, TX 75647                      West Monroe, LA 71291                   West Monroe, LA 71291




Jerry Wayne Thompson                      Jerry Wayne Ward Et Ux                  Jerry Williams
267 Coleman Rd                            Ann Marie Holmes Ward                   1906 Mission Drive
Homer, LA 71040                           197 Spring Creek Road                   Victoria, TX 77901
                                          Ruston, LA 71270




Jerry Willis Griffin                      Jerry Woolverton                        Jerrye Lynn Henry Rash
Anne Burford Griffin                      1517 Camden Ct                          3325 State Highway 154 West
11386 Preserve Road                       Lindale, TX 75771                       Gilmer, TX 756447481
Grand Haven, MI 49417




Jerrys Anchor Service                     Jerylon Joyce Gardner                   Jeryne A Goodrich Testamentary Trust
PO Box 7269                               8520 D Century Blvd                     John D Goodrich Trustee
Abilene, TX 79608                         Paramount, CA 90723                     901 East 11Th Street
                                                                                  Schuyler, NE 68661




Jess A Tolerton                           Jess B Alford Jr                        Jess Babbitt
2010 Warren Avenue                        c/o Citizens National Bank Trust Dept   Address Redacted
Cheyenne, WY 82001                        PO Box 820
                                          Henderson, TX 75653




Jess Energy Company                       Jess Harris Iii Inc                     Jess Holloway
PO Box 1360                               13124 N Macarthur Blvd                  6812 Napa Valley Drive
Tyler, TX 75710                           Oklahoma City, OK 73142                 Frisco, TX 75035




Jess Liles                                Jesse A Ponder Ii                       Jesse A Ponder Iii
1515 Mira Monte Avenue                    8686 Coy Avenue                         205 White Pine Rd
Mountain View, CA 94040                   Baton Rouge, LA 70810                   Big Sandy, TX 75755-5671




Jesse A Ponder Ii And William A Ponder    Jesse Alan Davis                        Jesse Andrew Colvin
Dealing In Their Sole And Separate Prop   215 East Arizona Avenue                 205 Rosario Boulevard
8686 Coy Avenue Apt 91                    Ruston, LA 71270                        Santa Fe, NM 87501
Baton Rouge, LA 70810
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Jesse Atzger                              Jesse Brown                    Jesse Carter Iii
1249 Fm 467                               115 Fellowship Road            1215 Aylesbury Dr
Seguin, TX 78155-7228                     Simsboro, LA 71275             Allen, TX 75002




Jesse Colquitt Annie Fuller               Jesse D Mamon                  Jesse Deaton Dba Rio Pecos Operating
4144 Calderwood Dr                        400 Edgewood St                1203 B East Grand 185
Shreveport, LA 71119                      Ruston, LA 71270               Marshall, TX 75670




Jesse Deaton Rio Pecos Operating          Jesse Don Wilkinson            Jesse E Hines
1203 B East Grand 185                     540 Magazine Ave               PO Box 3002
Mashall, TX 75670                         New Braunfels, TX 78130        Laredo, TX 78044




Jesse Earl Sealey                         Jesse Gault                    Jesse Guiton Jones
Jo Dena Sealey Co Trustees                PO Box 127                     682 Arimo Avenue
1510 Cr 188                               La Barge, WY 83123-0127        Oakland, CA 94610
Carthage, TX 75633




Jesse Hellums                             Jesse Hill Jr                  Jesse Hoyle
13702 Bluffcircle                         7621 Ryan Ridge Dr             Address Redacted
San Antonio, TX 78216                     Dallas, TX 75232




Jesse Ibarra Iii                          Jesse J Gonzalez               Jesse James
Address Redacted                          2419 E Locust                  Address Redacted
                                          Laredo, TX 78043




Jesse James Jackson                       Jesse James Wilson             Jesse Jimerson Stacie Jimerson
34 Jennifer Drive                         8808 S Marshfield Ave          16548 Highway 151
Howell, NJ 07731                          Chicago, IL 38776              Arcadia, LA 71001




Jesse L Duggan                            Jesse L Stewart                Jesse Lafitte
1631 Cross Lake Blvd                      Heirs Of Ertha Catherine       PO Box 384
Shreveport, LA 71109                      PO Box 3235                    Joaquin, TX 75954
                                          San Bernardino, CA 92413




Jesse Lee Talbert                         Jesse Lewis Embry Ii           Jesse M Harris
109 Cayman Dr                             479 Mayfair Court              PO Box 630711
Lancaster, TX 75146                       Bossier City, LA 71111         Nacogdoches, TX 75963-0711




Jesse M Tolbirt Jr                        Jesse Snyder                   Jesse V Bailey
110 Lincoln Road                          Address Redacted               270 Bailey Road
White Bluff, TN 37187                                                    Gladewater, TX 756473416
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Jesse W Langston                       Jesse W Lee Est                 Jesse W Sprouse
PO Box 38                              Kathleen Lee Lutrick Ind Exec   8006 Discovery Dr Suite 200
Kensett, AR 720820038                  C/O Perry D Reed Cpa            Richmond, VA 23229
                                       PO Box 1352
                                       Longview, TX 75606



Jessica Adamson                        Jessica C Briscoe Schrock       Jessica L Tolar
3093 Gunnison                          5417 Shirley St                 1400 Mesa Street
Grand Junction, CO 81504               Baytown, TX 77521               Ruston, LA 71270




Jessica Leigh Baremore Tankersley      Jessica Leigh Burkheimer Ott    Jessica P Payne
5805 22nd St N                         1615 Brooks                     237 West Main St
Arlington, VA 22205                    Ruston, LA 71270                Azle, TX 76020




Jessica Pierce                         Jessica Ravitz Sturm            Jessica T Parker
Address Redacted                       Charles Schwab Co Inc Cust      8602 Gladedale
                                       Ira Rollover                    Waco, TX 76712
                                       11898 Frond Road
                                       Truckee, CA 96161



Jessica Thomas Bates                   Jessica Yvette Giles            Jessie Adams Williams
430 Cape Hatteras                      9959 East Peakview Ave          PO Box 194
Corpus Christi, TX 78412               Apt Y 101                       Grambling, LA 71245
                                       Englewood, CO 80111




Jessie Alma Hunter                     Jessie Alvin Kizine             Jessie B Perry
c/o Texas Comptroller Accounts         3232 Cypress                    Rt 1 Box 217
Unclaimed Property Division            Kansas City, MO 64128           Ruston, LA 71270
PO Box 12019
Austin, TX 78711-2019



Jessie Beebe                           Jessie Bell Allen               Jessie Blevins Crump Family Trust
452 Gladstone Blvd                     2B Bell Acres                   Bank Of America Na Trustee
Shreveport, LA 71104-4414              Pecos, TX 79772                 PO Box 840738
                                                                       Dallas, TX 75284-0738




Jessie Brown Dumas                     Jessie Del Robertson            Jessie Frances Curtis
4113 Calderwood                        PO Box 1996                     454 Dugdale Rd
Shreveport, LA 71119                   Fort Worth, TX 76101            Chondrant, LA 71227




Jessie Gawain Johns                    Jessie H Lowell                 Jessie H Oppenheimer
209 Cheek Rd                           Patricia Carre Poa              711 Navarro St Suite 620
Transylvania, LA 71286                 1854 Yorkshire Dr               San Antonio, TX 78205
                                       Beaumont, TX 77713




Jessie Huey Separate Property          Jessie James Roe                Jessie Jenkins
4119 Macdonald Avenue Suite B          802 Madison Drive               401 S Burris Avenue
Richmond, CA 94805                     Carthage, TX 75633              Compton, CA 90221
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Jessie L Brown                           Jessie L Ford Frost            Jessie L Lawrence
Route 2 Box 46                           Rt 2 Box 10 B                  106 West Chase Drive
Simsboro, LA 71275                       Ruston, LA 71270               West Monroe, LA 71291




Jessie Levi Stuckey                      Jessie Lewis Carter            Jessie M Davis
107 Norris Ln Apt 55                     5533 Hwy 544                   3812 Hamilton Ave
West Monroe, LA 71291                    Simsboro, LA 71275             Dallas, TX 75210




Jessie M Ford Washington                 Jessie Mae Bennett             Jessie Mae Griffin
Wife Of Alvin Washington                 12628 Fm 1716 E                c/o Texas State Treasury
5724 Richfield Park Ct                   Henderson, TX 75652            Unclaimed Property Division
Rosharon, TX 77583                                                      PO Box 12019
                                                                        Austin, TX 78711-2019



Jessie Mae Pugh Graham A Widow           Jessie Mae Roberts             Jessie Mae Smith
PO Box 502                               PO Box 906                     c/o Texas Comptroller Accounts
Homer, LA 71040                          Roswell, NM 88203              Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Jessie Mae Standifer Harris              Jessie Marie Denniston         Jessie Matthew Stuckey Jr
2929 Shamblin Street                     2704 E Aspen Ct                116 Blanks Street
Monroe, LA 71201                         Plano, TX 75075-6419           West Monroe, LA 71291




Jessie Maude Smith                       Jessie Mccormick               Jessie Melvin Burks
1373 10Th St                             PO Box 4108                    4015 Callaghan Rd Apt 303
Oakland, CA 94607                        Monroe, LA 71211-4108          San Antonio, TX 78228-3429




Jessie Perkins                           Jessie S L Goree Wess          Jessie Sanders
541 Ccc Rd                               PO Box 353                     915 E Marion Avenue
Ruston, LA 71270                         Cullen, LA 71021               Fort Worth, TX 76104




Jessie Standley Case                     Jessie Washington              Jessiel Adams Evans
2007 Warnford Pl                         701 Drake Ave                  8901 South Yates
Arlington, TX 76015                      Marin City, CA 94965           Chicago, IL 60617




Jessielyn Pirkle Oest                    Jestma LLC                     Jesus Aguirre
3694 Highway 563                         PO Box 1091                    Address Redacted
Simsboro, LA 71275                       Shreveport, LA 71163




Jesus Campas                             Jesus Hernandez                Jesusa Campos Perez
PO Box 13803                             Address Redacted               PO Box 1426
San Luis, AZ 85349                                                      Freer, TX 78357
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Jet Specialty Inc                        Jet Stream Investments Ltd                Jeter Pumping Services Inc
PO Box 678286                            Attn William P Rudd Iii                   2003 W 5Th
Dallas, TX 75267-8286                    PO Box 1797                               Ft Stockton, TX 79735
                                         Waskom, TX 75692




Jetstar Energy Services Inc              Jetstar Holdings Inc                      Jetta Operating Co Inc
Mark Rankin                              Mark Rankin                               PO Box 164009
801 Cherry St Suite 2100                 801 Cherry St Suite 2100                  Fort Worth, TX 76161
Ft Worth, TX 76102                       Ft Worth, TX 76102




Jetta Production Company                 Jetta X 2 Lp                              Jettie J Lee
Pi D Ft Worth Club Tower                 Fort Worth Club Tower                     c/o Texas State Treasury
777 Taylor Street                        777 Taylor Street                         Unclaimed Property Division
Fort Worth, TX 76102                     Fort Worth, TX 76102                      PO Box 12019
                                                                                   Austin, TX 78711-2019



Jewel Ann Jernigan                       Jewel Edward Cox                          Jewel Faye Conger Tst Trust
45403 Gadsden Ave                        212 Cox Street                            Gene Keeney Tr
Lancaster, CA 93534-1805                 West Monroe, LA 71292                     8602 Claviton Ct
                                                                                   Granbury, TX 76049




Jewel Gray Bolton                        Jewel Gray Hicks                          Jewel J Dunn
1131 Grandview Dr                        302 Hermey Avenue                         33 Lakeshore Dr
Hamilton, AL 35570                       Pensacola, FL 32507                       Corpus Christi, TX 78413




Jewel Thomas                             Jeweline Cameron Gardner                  Jeweline Malone Swift
243 Dunn Road                            4440 3Rd St                               341 Malone Rd
Ruston, LA 71270                         San Francisco, CA 94124                   Arcadia, LA 71001




Jewell A Barron                          Jewell Dean Smith                         Jewell I Kibler
13988 County Road 193                    1373 10Th St                              2496 North 200Th Street
Tyler, TX 75703                          Oakland, CA 94607                         Casey, IL 62420




Jewell L Roome Revocable Trust           Jewell L Roome Robinson Trust             Jewell Lee Jackson
Agreement Dtd 1/19/1999                  John T Robinson Trustee                   301 East Todd St
Jewell L Roome Trustee                   PO Box 66756                              Minden, LA 71055
PO Box 8635                              St Pete Beach, FL 33706
Madeira Beach, FL 33708



Jewell T Crawford Jr Test Tr             Jewella Brown Locke                       Jfc Engineers Surveyors
U/W Dated June 7 1991                    c/o Texas State Treasury                  PO Box 2026
Rita Jane Peoples Trustee                Unclaimed Property Division               Rock Springs, WY 82902-2026
2283 Fm 968W                             PO Box 12019
Marshall, TX 75670                       Austin, TX 78711-2019



Jfq Minerals LLC                         Jg Chemicals Inc Dba Big Lake Ener Chem   Jgg Consulting Services LLC
Oil Gas Dept                             PO Box 977                                8429 Fm 326
PO Box 3480                              Big Lake, TX 76932                        Lufkin, TX 75901
Omaha, NE 68103
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Jgg Consulting Services LLC              Jh Blades                      Jh Family LLC
Greg Greenwell                           520 Post Oak Blvd Suite 250    PO Box 3503
8429 Fm 326                              Houston, TX 77027              Lafayette, LA 70502
Lufkin, TX 75901




Jht Inc                                  Jie Lu                         Jill A Aubrey
PO Box 580                               Address Redacted               5985 Rowland Rd Apt 304
Jonesboro, LA 71251                                                     Hopkins, MN 55343-8967




Jill Anderson Kerr                       Jill Anderson Toft             Jill Ann Dowdy
2811 Amy Lane                            2926 Mt Holyoke Rd             8302 Barbaree
Tyler, TX 75701                          Columbus, OH 43221             Dallas, TX 75228




Jill C Thomas                            Jill C West                    Jill Carriker
1024 Bayside Dr 469                      3004 Miars Green               6304 Misty Trail
Newport Beach, CA 92660                  Chesapeake, VA 23321           Dallas, TX 752483928




Jill Dianne Segars Chism                 Jill Dulany Turner             Jill Hazlip
3119 Bissonnet                           313 College Ave                115 S Lhs Dr Apt 127
Houston, TX 77005                        Henderson, TX 75654            Lumberton, TX 77657




Jill J Mcmillan Revocable Trust          Jill Margaret Gilley           Jill Maria Bordelon
138 Hanna Lane                           3140 Rockwell Lane             1379 Mitcham Orchard Road
Hot Springs, AR 71913                    Fort Worth, TX 76179           Ruston, LA 71270




Jill Pickett                             Jill Russell                   Jill Shelton Babcock
1047 North Plymouth Road                 1011 Stonewall Dr              417 Nw Wintercrest Rd
Dallas, TX 75208-3137                    Marshall, TX 75672             Burleson, TX 76028




Jill Sherman Calkins                     Jill T Farmer                  Jill Van Os A Single Woman
466 Winstaire Dr                         740 E 8Th St                   3847 Broussard St
Columbia, SC 29210-4238                  Mesa, AZ 85203-6324            Baton Rouge, LA 70808




Jill W Kay                               Jim A Morwood Mary Morwood     Jim Allen Kelly Jr
10271 Fm 139                             1019 Edgemoor Drive            4209 Kewanees Street
Joaquin, TX 75954                        Stillwater, OK 74074           Houston, TX 77051




Jim And Erin LLC                         Jim And Nancy Hooper           Jim B Bowman
PO Box 10                                PO Box 24                      1900 Hwy 79E
Bairoil, WY 82322                        Logansport, LA 71049           Henderson, TX 75652
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Jim B Leach                              Jim Campbell                          Jim Costlow
415 W Port Arthur Ave                    122 Lovers Leap Ln                    287 County Road 166
Florien, LA 71429                        Van Alstyne, TX 75495                 Goldsboro, TX 79519-4001




Jim D Payne A/K/A Jimmy D Payne          Jim D Sandell                         Jim D Steger
Box 579                                  PO Box 317                            c/o Jana Miniken
Carthage, TX 75633                       Ingram, TX 78025-0317                 7403 224 Th Ne
                                                                               Redmond, WA 98053




Jim D Tuten                              Jim Dennard Jr                        Jim Drew Files And Amanda Nabors Files
2200 Royal Oaks Drive                    1112 Lynnwood                         301 Files Private Dr
Ruston, LA 71270                         Carthage, TX 75633                    Mansfield, LA 71052




Jim Dudley                               Jim Erin LLC                          Jim F Avant
PO Box 533                               James Gould                           1740 Milford St
Henderson, TX 75653                      PO Box 133                            Houston, TX 77098-5408
                                         Bairoil, WY 82322




Jim Hale Miller Jr Life Estate           Jim Hogg County Clerk                 Jim Hogg County ISD
4685 County Road 2109                    PO Box 878                            210 W Lucille St
Lometa, TX 768534029                     Hebbronville, TX 78361                Hebbronville, TX 78361




Jim Hogg County ISD                      Jim Hogg County Tax Assessor          Jim Hogg County Tax Assessor
PO Box 88                                102 E Tilley St                       Collector
Hebbronville, TX 78361                   Hebbronville, TX 78361                PO Box 160
                                                                               Hebbronville, TX 78361




Jim Hogg County Wcid 2                   Jim Hogg County Wcid 2                Jim Hooper
601 N Cedar S                            Rosario Melo Tax Assessor Collector   PO Box 24
Hebbronville, TX 78361                   PO Box 148                            Logansport, LA 71049
                                         Hebbronville, TX 78361-0148




Jim Ivey Nutt                            Jim Lee                               Jim Lee Trucking Hyland Enterprises
196 County Road 4307                     PO Box 128                            3770 Puritan Way Ste E
Tenaha, TX 75974-9525                    Bronte, TX 86933                      Frederick, CO 80516




Jim Mamot                                Jim Melton                            Jim Neal Smith
233 Friend Rd                            PO Box 128                            539 Riverside Dr
St Libory, NE 68872                      Alba, TX 75410                        Palacios, TX 77465




Jim Newman Production Services           Jim Or Kay Copeland                   Jim Phillips Est
1526 Chaparral Rd                        6110 Maine Rd                         Gail Phillips In Executrix
Gilmer, TX 75645                         Anton, TX 79313                       231 Cambridge Ln
                                                                               Longview, TX 75601
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Jim Pounds                                Jim R Bath                         Jim Roberts
PO Box 991                                3619 Cason St                      2604 Sandy Lane
Laurel, MS 39441                          Houston, TX 77005                  Corsicana, TX 75110




Jim Ryder                                 Jim S Reppond                      Jim Shelton Gray
4324 Ridgecrest Cir                       609 Trailwood Court                8827 Dublin
Amarillo, TX 79109                        Garland, TX 75043                  Odessa, TX 79765




Jim T Young                               Jim Taylor                         Jim Utzman
112 Amy Road                              Route 3 Box 205                    c/o Texas State Treasury
Henderson, TX 75652                       Carthage, TX 75633                 Unclaimed Property Division
                                                                             PO Box 12019
                                                                             Austin, TX 78711-2019



Jim Wheat                                 Jim Williams                       Jimar LLC
71 Co0Lonial Club                         PO Box 7745                        PO Box 52191
Harahan, LA 70123                         Midland, TX 79708                  Shreveport, LA 71135




Jimar Resources Corporation               Jimenez Contract Services LLC      Jimi Ann Sheffield
4849 Greenville Ave                       1246 Silber Road                   606 Texas Star Dr
Dallas, TX 75206-4130                     Houston, TX 77055                  Richmond, TX 77469-5882




Jimianne John                             Jimmie A Fryer And Janet K Fryer   Jimmie Andrews
1909 Fairfield Dr                         7414 Barret Rd                     471 Joseph Thomas Road
Plano, TX 75074                           West Chester, OH 45069-3063        Calhoun, LA 71225




Jimmie B Whorton Spain                    Jimmie Beth Bobbitt Underwood      Jimmie Bland Lawrence Trust 1
200 Nomandy Avenue                        PO Box 556                         PO Box 77
Richland, TX 76681                        Millers Creek, NC 28651            Greenville, TX 754030077




Jimmie Byler                              Jimmie D Ross Individually And     Jimmie David Morrison Separate Property
12553 Cr 284                              For The Account Of                 PO Box 238
Dublin, TX 76446                          The Tempie M Pullen Heirs          Choudrant, LA 25082
                                          913 E 1960 N
                                          Lehi, UT 84043



Jimmie Dick Freeman Davis                 Jimmie Earl Henry                  Jimmie Earl Mckinley
600 Marquis Dr Ne                         1329 Frost Street                  541 Cox Lane
Albuquerque, NM 87123                     Gilmer, TX 756443127               Longview, TX 756057418




Jimmie F Black Harper Estate              Jimmie Fay Johnson                 Jimmie Faye Black Wardell
Michael Wardell Executor                  PO Box 675                         Harper
9167 Hwy 71 South                         Palm Springs, CA 92263             9167 Hwy 71 South
Elm Grove, LA 71051                                                          Elm Grove, LA 71051
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Jimmie J Simms                           Jimmie Jean Watson                     Jimmie Joe Mckinley
2425 Fm 343                              14027 Memorial Drive 118               PO Box 2106
Nacogdoches, TX 75964                    Houston, TX 77079                      Longview, TX 756062106




Jimmie Katherine Sullivan                Jimmie L Anderson Rev Liv Tr           Jimmie L Cates Separate Property
35 Russell Road                          Jimmie L Marilyn J Anderson Trustees   1709 Broadway Avenue
Rayville, LA 71279                       PO Box 337                             Ruston, LA 71270
                                         Hope, KS 674510337




Jimmie L Cats Marydel E Cats             Jimmie L Love Jr                       Jimmie L Watt
1709 Broadway                            9227 S 6Th Ave                         10892 Fm 724
Ruston, LA 71270                         Inglewood, CA 90305                    Tyler, TX 75704-3416




Jimmie Lamar Strong                      Jimmie Lee Parish Booker               Jimmie Lee Turner
PO Box 339                               Judy Turner Morris Curator             c/o Ellis G Vaughn Poa
Joaquin, TX 75954                        PO Box 37665                           2406 E 89Th St
                                         Shreveport, LA 71108                   Chicago, IL 60617




Jimmie Lou Holsey For Life               Jimmie Margene W Lively                Jimmie Massingill
1158 Cr 978                              2106 Oliver Avenue                     6087 Pitcairn
Cushing, TX 75760                        Longview, TX 75605                     Cypress, CA 90630




Jimmie Miller Thurmon                    Jimmie Nail                            Jimmie R Bandy And Helen Bandy
26 Wayridge Court                        c/o Texas State Treasurer              1215 Chalybeate Springs Road
Gaithersburg, MD 20886                   PO Box 12608 Capital Station           Plain Dealing, LA 71064
                                         Unclaimed Property Division
                                         Austin, TX 78711



Jimmie Ray Fallin                        Jimmie Ruth Sowell                     Jimmie Sue Davis
604 Glendale Drive                       606 W Columbia                         659 Cr 3801
Ruston, LA 71270                         San Augustine, TX 75972                Joaquin, TX 75954




Jimmie Sue Hurley                        Jimmie Tobin                           Jimmie Walker
PO Box 2308                              26258 Hwy 9                            1094 Shoreview Ct
Henderson, TX 75653                      Bienvile, LA 71008                     Bay Point, CA 94565-6941




Jimmy Armstrong                          Jimmy Asaff                            Jimmy Baxter Wise Jr
Frank Armstrong Aif                      PO Box 190464                          8469 Plantation Dr
650 Frost Bank Plaza                     Dallas, TX 75219-0464                  West Columbia, TX 77486
Corpus Christi, TX 78470




Jimmy Byron Maxey                        Jimmy C Lejeune Et Ux And              Jimmy Charles Holland
415 Francis Ave                          Magleen OConnor Lejeune                22219 Webb Rd
Sterlington, LA 71280-3170               10089 Jack Torres Rd                   Hockley, TX 77447
                                         Maringouin, LA 70757
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Jimmy Charles Point                      Jimmy Chatham Dozer Service Inc   Jimmy Choate
12599 Ina Dr                             PO Box 878                        3565 Highway 150
Walker, LA 70785-8306                    Healdton, OK 73438                Simsboro, LA 71275




Jimmy D Hickerson Life Estate            Jimmy D Hutchison                 Jimmy D Kirkland
PO Box 1246                              6817 Cr 451                       1501 Leech St
Artesia, NM 88211                        Kirbyville, TX 75956              Kilgore, TX 75662




Jimmy D Lang Estate                      Jimmy D Wade Life Estate          Jimmy Dale Clements
Carolyn A Lang Ind Execut                PO Box 221                        Carol Terrell Clements
7118 Cole Creek                          Gary, TX 75643                    178 Walnut Creek Road
Houston, TX 77092                                                          Simsboro, LA 71275




Jimmy Dale Rogers                        Jimmy Dan Hooker                  Jimmy Dunn
203 Jay Dr                               113 Morningside Spur              840 Lonesome Pine Road
Longview, TX 75603                       Carthage, TX 75633                Longview, TX 75605




Jimmy Emmons                             Jimmy F Walker                    Jimmy Freeman
7557 Charpiot Lane                       185 Roberts Road                  2704 Stone Creek Ln
Humble, TX 77396                         Logansport, LA 71049              Corinth, TX 76210




Jimmy G Coulter And Barbara Coulter      Jimmy G Coulter Barbara Coulter   Jimmy George Estes
PO Box 422                               PO Box 422                        1301 Carnoustie Dr
Joaquin, TX 75954-0422                   Joaquin, TX 75954                 Mckinney, TX 75070




Jimmy Glenn Coulter                      Jimmy Harden                      Jimmy Hughes Cruse
PO Box 422                               14203 Hwy 87                      PO Box 190
Joaquin, TX 75954                        Lubbock, TX 79423                 Creede, CO 81130




Jimmy J Jernigan Rev Liv Tr              Jimmy J Prue                      Jimmy Jackson
Jimmy J Jernigan Ttee                    Box 118                           4710 Estesville Rd
PO Box 52295                             Moore, TX 78057                   Longview, TX 75602
Shreveport, LA 71135




Jimmy Jones                              Jimmy L Mcdonald                  Jimmy L Nunn
6548 Sterling Springs Parkway            8215 Gw Sentell Dr                1209 Avenue I
Las Vegas, NV 89108                      Shreveport, LA 71115-2971         Levelland, TX 79336




Jimmy L Richardson                       Jimmy Landers                     Jimmy Lane Richardson
1637 Wafer Rd                            7601 Cr 308                       Sandra K Nicklas Richardson
Ruston, LA 71270                         Grandview, TX 76050               1637 Wafer Rd
                                                                           Ruston, LA 71270
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Jimmy Lavon Osborne                      Jimmy Law                              Jimmy Lee Alexander
29022 Raestone St                        11601 West County Road 58              PO Box 178
Spring, TX 77386                         Midland, TX 79707                      Kingfisher, OK 73750-0178




Jimmy Lee Frost Sr                       Jimmy Lee Simonton                     Jimmy Lee Sprayberry And Wife Carlean
1509 Bailey Street                       8531 Cold Lake Drive                   Rt 2 Box 56
West Monroe, LA 71292                    Houston, TX 77088                      Henderson, TX 75652




Jimmy Lynn Smith                         Jimmy Lynn Webster                     Jimmy M Givens Sr
4526 Stigall Drive                       5412 Edinburgh Dr                      7080 Calder Ave Apt H3
Dallas, TX 75209                         Waco, TX 76710                         Beaumont, TX 77706-6086




Jimmy M Peggy A Kendall Liv              Jimmy M Peggy A Kendall Living Trust   Jimmy M Peggy A Kendall Living Trust
Tr Francine H Mayfield                   Francine Haigwood Mayfield             Margaret Pearson Successor Trustee
907 Ash                                  907 Ash Street                         Janet Purvis Freeman Debbie Lee Suc T
Nashville, AR 71582                      Nashville, AR 71852                    7316 Klein Dr
                                                                                Temple, TX 76502



Jimmy Mack Stancil                       Jimmy Marvin Henry                     Jimmy Mathewes Harrison
204 Horne St                             973 Stuckey Road                       5671 Mirador Circle
West Monroe, LA 71292                    Dubberly, LA 71024                     Shreveport, LA 71119




Jimmy Matthews Sp                        Jimmy N D Guilkey Dimos                Jimmy Parker
527 Fannin Street                        2134 Maywood Drive                     1022 Adeline St
Center, TX 75935                         Monroe, LA 71201                       Sinton, TX 78387




Jimmy Pullen                             Jimmy R Anderson                       Jimmy R Cindy D Schten
9816 Fm 1442 South                       601 South Sparta Place Apt 12          Family Trust Dtd 9/4/14
Orange, TX 77630                         Ruston, LA 71270                       PO Box 308
                                                                                Marcellus, MI 49067




Jimmy Ray Cranford                       Jimmy Ray Fallin                       Jimmy Ray Tinsley
4785 Lauren Glen Street Nw               604 Glendale                           c/o Jun Tinsley
Concord, NC 28027                        Ruston, LA 78628                       1664 Brookes Ave
                                                                                San Diego, CA 92103




Jimmy Ritter                             Jimmy Rivers                           Jimmy Sharion Rivers
4937 Fm 1970                             204 Cedar Drive                        250 Hwy 763
Carthage, TX 75633                       Hitchcock, TX 77563                    Mansfield, LA 71052




Jimmy Slape                              Jimmy Sterling Austin                  Jimmy T Brown
PO Box 985                               1250 5Th Avenue N Apt 205              4603 Us Highway 259 N
Levelland, TX 79336                      Seattle, WA 98109                      Henderson, TX 75652
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Jimmy Tom Fox Estate                      Jimmy Turner Estate                  Jimmy W Harmon
Zoe R Fox Indp Executor                   c/o First State Bank Trt Co          PO Box 42
PO Box 275                                Attn David Murphy Vp Trust Officer   Athens, TX 71003
Woodlawn, TX 756940275                    PO Box 579
                                          Carthage, TX 75633



Jimmy W Keene                             Jimmy W Payne                        Jimmy Wayne Nettles Estate
2784 Acr 485                              466 South Evergreen Lane             James Michael Nettles Ind Ex
Palestine, TX 75803                       Wichita, KS 67209                    504 First Street
                                                                               Livingston, TX 77351




Jimmy Winfree                             Jimmye J Sullivan                    Jimmye M Martin
PO Box 1978                               2913 Ladd Lane                       205 SunnyS Halo
Waskom, TX 75692                          Longview, TX 75604                   Bullard, TX 75757




Jimmye Rea Oden Reves                     Jims Rental Service                  JimS Water Service Inc
2013 Apollo Road                          PO Box 504                           PO Box 2290
Richardson, TX 75081-5081                 Laird Hill, TX 75666                 Gillette, WY 82717




Jimx Inc                                  Jing Dong                            Jinger J Brown Tr
6401 Ohio Dr Apt 6302                     651 S Milledge Ave                   Jinger J Brown Ttee
Plano, TX 75024-6732                      Athens, GA 30605                     1672 Cotswold Dr Ne
                                                                               Atlanta, GA 30319




Jinks Family LLC                          Jinnie Pearl Witkowski               JJ Enterprises
Attn Beverly Virciglio Warren Averett     1500 Faro Dr                         PO Box 1542
2500 Acton Rd                             Bldg 2 Apt 211                       Levelland, TX 79336
Birmingham, AL 35243                      Austin, TX 78741




JJ Oilfield Electric Co Inc               JJ Raymond Construction LLC          JJ Solutions
405 East Walker                           Jb Raymond                           PO Box 44
Breckenridge, TX 76424                    PO Box 1954                          Perry, OK 73077
                                          Center, TX 75935




Jjp Family Limited Partnership            Jjs Working Interests LLC            Jk Resources
629 Leachman Road                         Att Justin Simon                     2425 N Central Expy Ste 120
Ruston, LA 71270                          4295 San Felipe                      Richardson, TX 75080
                                          Suite 207
                                          Houston, TX 77027



Jk Royalty Lp                             Jkd Investments LLC                  Jkh Pumping Inc
PO Box 974349                             1002 Cedar Creek Rd                  PO Box 413
Dallas, TX 753974349                      Ruston, LA 71270-2534                Post, TX 79356




Jkl Parrott I LLC                         Jkl Parrott Ii LLC                   Jkm Compression Inc
C/O Capital One Bank                      Jkl Parrott Tr For Ce Parrott Tr 2   PO Box 2466
PO Box 1030                               Capital One Bank                     Longview, TX 75606
Alexandria, LA 71309                      PO Box 1030
                                          Alexandria, LA 71309
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Jl Bryan Equipment Lease Inc            JL Resources Inc                      Jl Wheless
806 Industrial Road                     3126 South Blvd Ste 345               610 Adeline
Perryton, TX 79070                      Edmond, OK 73013                      Hattiesburg, MS 39401




Jlg Energy Partners Ltd                 Jm Copeland Const Co                  Jm Cox Resources
PO Box 11290                            3759 Us Hwy 79 South                  PO Box 2217
Midland, TX 79702                       Carthage, TX 75633                    Midland, TX 79702-2217




Jm Huber Corporation                    JM Trucking Inc                       Jm Welborn Trust Uad 10/23/92
Division                                5780 W Yellowstone                    Prosperity Bank Trustee
PO Box 951580                           Casper, WY 82604                      1500 Broadway Ste 1212
Dallas, TX 75395                                                              Lubbock, TX 79401-3192




Jmac Resources LLC                      Jmc Instruments Controls              Jmcb LLC
9457 S University Blvd Pmb 304          1755 W Sequoia Vista Circle           804 Treasure Lane
Highlands Ranch, CO 80126               Bldg 3 H                              Lake Charles, LA 70605
                                        Salt Lake City, UT 84104




Jme Fire Protection Inc                 Jmeg Lp                               Jmi Energy Inc
Jennifer Tabor                          13995 Diplomat Dr Ste 400             7600 W Tidwell Rd
PO Box 1146                             Dallas, TX 75234-8804                 Suite 103
Rock Springs, WY 82901                                                        Houston, TX 77040




Jmk Petroleum Corp                      Jmk Production Account                Jml Management Inc
1017 Long Prairie Rd                    Melvin A Jackson Trustee              1173 Cr 1092
Suite 201                               8131 Lbj Fwy Suite 840                Center, TX 75935
Flower Mound, TX 75022                  Dallas, TX 75251




Jnba Financial Advisors Inc             Jng LLC Indiv Agent For Tgm Gpm Meh   Jnj Inc
8500 Normandale Lake Blvd Suite 450     c/o Jetta Production Company          c/o Evers Cox Gober Pllc
Minneapolis, MN 55437                   777 Taylor Street Suite Pi            451 N Washington
                                        Fort Worth, TX 76102                  El Dorado, AR 71730




Jnw Family Trust Dtd 5/7/04             Jo A Richardson                       Jo An Rhode
Pamela Latta Moynihan Trustee           333 Harrison Road                     5 Lake Shore Dr
PO Box 1601                             Ruston, LA 71270                      Corpus Christi, TX 78413
Upland, CA 91785




Jo Ann Allison                          Jo Ann Bazer Tose                     Jo Ann Black
PO Box 614                              1415 Camino Mariposa                  Box 1368
Combes, TX 78535                        Nipomo, CA 93444                      Gladewater, TX 75647




Jo Ann Breed King                       Jo Ann Brewer                         Jo Ann Brown Towle
PO Box 216                              306 Bogie                             7732 Ironstone Trail
Homer, LA 71040                         Longview, TX 75604                    Ft Worth, TX 76176
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Jo Ann C Harrell                       Jo Ann Collins Sharp             Jo Ann Fawcett
421 Lowell Ct                          271 Noble Street                 2351 Indian Creek Rd
Shreveport, LA 71115                   Lovelady, TX 75851               Diamond Bar, CA 91765




Jo Ann Gregory                         Jo Ann Griffith                  Jo Ann Gunther
356 Claiborne Creek Dr                 555 Cr 1244                      710 Salerno
West Monroe, LA 71291                  Gary, TX 75643                   Sugar Land, TX 77478




Jo Ann Hancock                         Jo Ann Hocutt                    Jo Ann James
1579 County Road 114                   1000 Crystal Farms Road          3786 Cr 208 N
Carthage, TX 75633                     Tatum, TX 75691                  Henderson, TX 75652




Jo Ann Kloppenburg Rev Tr              Jo Ann Landers Miller            Jo Ann Metcalf Chism
PO Box 2194                            7945 Woodstone                   22160 Fm 134
Las Cruces, NM 88004                   Dallas, TX 75248                 Karnack, TX 75661




Jo Ann Parham                          Jo Ann Redden                    Jo Ann Salsbury
6126 Lakehurst                         2280 Sheppard Rees Rd            PO Box 26
Dallas, TX 75230                       Kerrville, TX 78028              Chatham, LA 71226




Jo Ann Shaw Barber Trust               Jo Ann South                     Jo Ann T C Boone
Heritage Trust Co Trustee              733 Eagle Lake Ct                973 West Tree Dr
PO Box 21708                           Allen, TX 75002                  Collierville, TN 38017
Oklahoma City, OK 73156




Jo Ann Taylor Clafferty                Jo Ann Watts                     Jo Anna Roberts
1208 Knotty Oaks Dr                    626 S Montgomery St 24           503 East Dynasty Dr
Waco, TX 76712-2320                    Starkville, MS 39759             Cary, NC 27513




Jo Anne Delony Rainey S/P              Jo Anne Foster Swank             Jo Anne Griffith
2329 Bocage Pl                         10130 Green Tree                 Jo Anne Griffith Revocable Tr
Ruston, LA 71270                       Houston, TX 77042                U/A Dtd 03/08/2002
                                                                        8963 Fascination Court
                                                                        Lorton, VA 22079-5704



Jo Anne Huckaby                        Jo Anne Sherrill                 Jo Anne White Est
10353 N County Road 165                834 Cimarron Circle              Christopher White Personal Rep
Overton, TX 75684                      Farmington, MO 63640             67 Conant Rd
                                                                        Lincoln, MA 01773




Jo Anne Williams Trust                 Jo Beatrice Wells Trust Estate   Jo Beth Hill
203 Wesley Lane                        Co Tex State Treas Unclaimed     PO Box 849
White Hall, AR 71602                   PO Box 12019                     Prosper, TX 75078-0849
                                       Austin, TX 78711-2019
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Jo Carole Mcfarland                     Jo Chambers                    Jo Claire Welch
PO Box 965                              PO Box 472097                  7815 Rue St Cyr
Pilot Point, TX 76258-0965              Garland, TX 75047              Houston, TX 77074




Jo Dena Sealey Revocable Trust          Jo Ella Butler                 Jo G Haemer
Jo Dena Sealey Trustee                  PO Box 6112                    3720 North Michigan Avenue
1510 Cr 188                             Tyler, TX 75711                Portland, OR 97227
Carthage, TX 75633




Jo Galloup Company                      Jo Hicks                       Jo Honeycutt
PO Box 673481                           PO Box 266                     5155 Stardust
Detroit, MI 48267-3481                  Levelland, TX 79336            Beaumont, TX 77706




Jo Jon Petroleum Co                     Jo Keating                     Jo Lynn Cucinotta
Profit Sharing Plan Trust               c/o Texas State Treasury       4610 Jeff Davis
1307 W Main 108                         Unclaimed Property Division    Marshall, TX 75672
Gun Barrel City, TX 75156               PO Box 12019
                                        Austin, TX 78711-2019



Jo Lynn Gates                           Jo Lynn Strahan                Jo Margaret Clinton Rose
1516 Bennie Breece Road                 c/o Dies Packhurst Llp         1831 Townhouse Dr
West Monroe, LA 71292                   Cause F 0116758                Monroe, LA 71201
                                        1009 W Green
                                        Orange, TX 77630



Jo Martin Keefer                        Jo Mercer Tallant Sp           Jo Nell Haynes
12314 Lancelot Dr                       190 Concho Trail               12327 Bexhill Drive
Houston, TX 77031                       Fort Worth, TX 76108-9276      Houston, TX 77065




Jo Ruth Ross Rector Est                 Jo Ruth Ross Rector Estate     Jo Stewart Maxwell
Edwin B Ross Exec                       Edwin B Ross Jr Ind Executor   PO Box 1038
5619 Durham Drive                       5619 Durham Drive              Kilgore, TX 75663
New Orleans, LA 70131                   New Orleans, LA 70131




Jo Storey Bybee Fam Tr                  Jo Treat LLC                   Joan Alexander Mcgregor
Bruce B Bybee Ttee                      100 College St                 990 Dunwoody Club Drive
PO Box 3826                             Minden, LA 71055               Dunwoody, GA 30338
Wichita Falls, TX 76301




Joan Ann Gandy                          Joan Atchley                   Joan B Johnson Trust
6306 Timberman Place                    Address Redacted               Texas Gulf Bank Na
Shreveport, LA 71119                                                   Co Trustee U/W/O Camilla D Trammel
                                                                       203 This Way
                                                                       Lake Jackson, TX 77566



Joan Blondin                            Joan Byers Strong              Joan C St Clair Trust
2704 Indian Mound Blvd                  Ni 1 Lake Cherokee             Allen Jay St Clair Trustee
Monroe, LA 71201                        Longview, TX 75603             429 Belvue Lane
                                                                       Newport Beach, CA 92661
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Joan Carole Hinton Davis                Joan Davis Latham              Joan E Doering
403 Wayne St                            PO Box 44                      1918 Olive St Apt 3102
Ft Collins, CO 80521                    Gilmer, TX 75644-0044          Dallas, TX 75201-2293




Joan Elizabeth Baker Gates              Joan Elizabeth Steedman        Joan Ellen Morgenstern
316 E Mckinley Ave                      5455 Deer Run Ct               9223 Timberside
Haughton, LA 71037                      Davidson, NC 28036             Houston, TX 77025




Joan F Quillen                          Joan Fagan Lutz                Joan Fitzsimmons
Farmers National Co Agent               2905 Chaparral Circle          711 Pebblebrook Drive
PO Box 3480                             Bryan, TX 77802                Allen, TX 75002
Oil And Gas Dept
Omaha, NE 68103



Joan Gordon Alexander Usufruct          Joan Gray                      Joan Gray Grimes
c/o Gordon Alexander                    3 Lattin Dr                    2610 Mimosa
12 Snapdragon                           Yonkers, NY 10705-2520         Abilene, TX 79603
Irvine, CA 92604




Joan H Simpson                          Joan J Wynne                   Joan James Dickerson
1701 Ranch Road                         PO Box 25002                   5627 Fm 139
Royse City, TX 75189                    Dallas, TX 75225               Joaquin, TX 75954




Joan Jodie E Anderson Life Estate       Joan Kershaw Putnam Trust      Joan Krumholtz Mclure Usufructuary
2811 Amy Lane                           Joan Kershaw Putnam Trustee    PO Box 12533
Tyler, TX 75701                         PO Box 20588                   Alexandria, LA 71315
                                        Oklahoma City, OK 73156-0588




Joan L Warren                           Joan Leggett Dickerson         Joan Leonard
3108 N Trenton St                       5627 Fm 139                    6501 Hawthorne Cove
Ruston, LA 71270-6911                   Joaquin, TX 75954              Rowlett, TX 75089




Joan Lucille Guariglia Estate           Joan Lynn Lafitte Watson       Joan M Moore
Joseph N Guariglia Executor             82 Quail Run Dr                3602 Cedar Elm Lane
220 Fifth Avenue Suite 1702             Fredericksburg, TX 78624       Wichita Falls, TX 76308
New York, NY 10001




Joan M Moore Family Ltd Part            Joan M Rieger                  Joan M Scott
Joan M Moore Sole General Ptnr          1 Linda Court                  10318 Willowgrove Dr
3602 Cedar Elm Lane                     Longview, TX 75601             Houston, TX 77035
Wichita Falls, TX 76308




Joan M T Robertson                      Joan M Voigt                   Joan Marie Burt Edinger
14 Torries Pine Road                    7 Sherborne Wood               2501 Foxx Creek Dr
Sandia Park, NM 87047                   San Antonio, TX 78218-1771     Ruston, LA 71270
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Joan Marilyn Williams                    Joan Melton Richard                  Joan P Anthony Trust Dated 1/1/76
125 West 7Th Street                      129 Shannon Road                     Joan P Anthony Ttee
Tyler, TX 757014023                      Lafayette, LA 70503                  9011 Eureka Ln
                                                                              Shreveport, LA 71115




Joan Patricia Girard                     Joan Pearce Anselm                   Joan Remer Horwich Trust
8277 South Forest Ct                     3628 Victoria Lane                   Steve Zalkin Trustee
Centennial, CO 80122                     Keswick, VA 22947                    12732 Harney St
                                                                              Omaha, NE 68154




Joan Rogers Morgan                       Joan S Brown                         Joan S Crawford
31 Manning Dr                            PO Box 50370                         2655 Martha St
Laurel, MS 39443-9552                    Midland, TX 79710                    Simsboro, LA 71275




Joan S Devlin                            Joan S Thornton                      Joan Schick
PO Box 1157                              50 Camden Place                      9000 Fathers Legacy 328
Eagle Point, OR 97524                    Corpus Christi, TX 78412             Ellicott City, MD 21042




Joan Starr Devlin Trust                  Joan T Tuttle                        Joan Trabue Sight
Joan S Devlin Trustee                    1302 Casandra Drive                  6537 W 106Th St
PO Box 1157                              Longview, TX 75605                   Overland Park, KS 66212
Eagle Point, OR 97524




Joan V Foster                            Joan W Hopkins Survivors Trust       Joan W Laughrun
Rfd 1 Box 501                            Stacy Wilson Linder Trustee          15722 Tumbling Rapids
North Timberbrook Rd                     PO Box 642                           Houston, TX 77084
Northport, NY 11768                      Chelan, WA 98816




Joan Wagstaff                            Joan Williams                        Joanetta Patterson
7404 Breakers Lane                       PO Box 890                           20329 Denker Ave 2
Plano, TX 75025                          Carthage, TX 75633                   Torrance, CA 90531




Joanette Carla Tavarez                   Joanie Lynn Bates Life Estate        Joann Adams Life Estate
1561 159Th Ave                           Remainder In Jennie Lea Bates        240 Burkett St
San Lendro, CA 94578                     365 County Road 405D                 Richwood, TX 77531-2602
                                         Henderson, TX 75654




Joann Brelsford                          Joann Collins Sharp Estate           Joann Farrington Heifner
309 Saddletree Ln                        Norma Dell Jones Independent Admin   3820 Lake Aire Ct
Dripping Springs, TX 78620-2714          271 Noble Street                     Nashville, TN 37217
                                         Lovelady, TX 75851-2314




Joann Hetisimer                          Joann Hopkins Strickland             Joann Inabnet Lafleur Ttee
7528 Terri Lynn Dr                       PO Box 6160                          F/B/O Jayann Jolene Inabnet A
St Louis, MO 63123                       Longview, TX 75608-6160              Minor
                                                                              576 Hunefeld Road
                                                                              Monroe, LA 71203
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Joann Lawton Cochran                    Joann Lester Rice              Joann Markley
PO Box 575                              2405 Elinor                    12271 Coit Rd 2311
Plantersville, TX 77363-0575            Texarkana, TX 75501            Dallas, TX 75251




Joann Matthews                          Joann Pickering                Joann Rogers Separate Property
PO Box 681                              1945 Laguna Del Campo          13381 Us Hwy 80 East
Tatum, TX 75691                         Templeton, CA 93465            Waskom, TX 75692




Joann Sencabaugh                        Joann W Grafton                Joann Williams
PO Box 743                              1606 Cooktown Rd               3419 Bruce Dr
Laramie, WY 82073                       Ruston, LA 71270               Shreveport, LA 71107




Joann Zuel                              Joanna Alicia Fallin Duarte    Joanna B Clark
1210 E 15Th St                          3005 Waterside Court           7568 Cr 448 D
Lawrence, KS 66044-4306                 Garland, TX 75044              Laneville, TX 75667




Joanna B Smith                          Joanna Burch Rimes             Joanna Hilburn Mccullin
8917 Old Lampassas Tr 18                224 Dixie Dr                   2016 Honeytrail Trail Circle
Austin, TX 78750                        West Green, GA 31567           Haughton, LA 71037




Joanna King                             Joanna L Trudnak               Joanna Lee Hall
Address Redacted                        Channel Production Company     10139 Cr 137
                                        4401 Fitzgerald St             Flint, TX 75762
                                        Marshall, TX 75672




Joanna Lee Rogers Trust                 Joanna Wills                   Joanne Bergmann
C/O Texas Commerce Bank                 13120 Box Canyon Rd            1160 S Tower Hill Lane
PO Box 2558                             Oklahoma City, OK 73142        Brookfield, WI 53045
Houston, TX 77252-8033




Joanne Godbolt                          Joanne Grace Jones Trust       Joanne Graham
3532 South Benton                       Joanne Jones Lutken Trustee    141 Amy Road
Kansas City, MO 64128                   5337 Livingston Avenue         Henderson, TX 75652
                                        Dallas, TX 75209




Joanne Harper Sp                        Joanne Kiser                   Joanne Lynch
2608 Kenwood Court                      PO Box 659                     Bradley Lynch Aif
Palmdale, CA 93550                      Crestone, CO 81131             53 Memory Lane
                                                                       Linden, VA 22642




Joanne Mayo                             Joanne Miller Glass            Joanne N Armstrong Trust
1318 Shadow Fax Wynd                    3620 Old Bullard Rd            Texas Bank Trust Co Truste
Hickory, NC 28601                       Suite 100                      PO Box 2749
                                        Tyler, TX 75701                Longview, TX 75606
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Joanne Padarathsingh                   Joanne Seale Wilson                 Joanne Stroud Bilby Trust
499 Washington Blvd                    PO Box 3147                         J P Morgan Chase Bank Na
Jersey City, NJ 07310                  Bellaire, TX 77402-3147             John Herbert Joanne Bilby Tr
                                                                           Po Drawer 99084
                                                                           Ft Worth, TX 76199-0084



Joaquin Dtp I LLC                      Joaquin Ind School Dist             Joaquin Lodge 856
5956 Sherry Lane Ste 1204              11109 Us Hwy 84 East                PO Box 611
Dallas, TX 75225                       Joaquin, TX 75954                   Joaquin, TX 75954




Joaquin Senior Center                  Joaquin Volunteer Fire Department   Jocelyn A Reynolds
PO Box 567                             136 Steve Hughes Dr                 4012 Miramar Avenue
Joaquin, TX 75954                      Joaquin, TX 75954                   Dallas, TX 75205




Jodi L Gallick                         Jodi Rudolph                        Jodie Lyn Woodward Life Estate
5011 N Grey Mountain Trl               18812 Vista Del Cannon              2878 Loma Place
Tucson, AZ 85750                       Unit D                              Boulder, CO 80301
                                       Newhall, CA 91321




Jody Clinton Hardy                     Jody Gail Cox                       Jody Knight
14100 Avery Ranch Blvd                 Canyon Manor Apts                   4716 Oregon Street
Austin, TX 78717                       2413 13Th Ave Apt 22                San Diego, CA 92116
                                       Canyon, TX 79015-5539




Jody Tinsley                           JodyS Oilfield Service Inc          Joe A Collier Sylvia Collier
PO Box 740                             110 Sw Mustang Drive                PO Box 29
Sautee Nacoochee, GA 30571             Andrews, TX 79714                   Longview, TX 75606




Joe A Davis                            Joe A Elzen Iii Test Executor       Joe A Hunter
PO Box 8                               Succ Of Joe A Elzen Jr              PO Box 669
Guinda, CA 95637                       792 Barron Rd 213                   Burnet, TX 78611
                                       Keithville, LA 71047




Joe A Scott                            Joe A Tullos                        Joe Albert Bedford
2020 Clover Lane                       PO Box 917                          PO Box 300610
Fort Worth, TX 76107                   White Oak, TX 75693-0917            Houston, TX 77230




Joe Allison                            Joe Ann Cannon Mccoy                Joe Ann Hardey
1323 South Us Hwy 79                   1721 Tullamore Street               Jay A Hardey Aif
Carthage, TX 75633                     Alexandria, LA 71303                1402 Country Club Rd
                                                                           Arlington, TX 76013




Joe Ann Mauritzen Winkel               Joe Ann Paulsen                     Joe Ann Standifer Spencer
PO Box 189                             c/o Samantha Kauffman Guardian      905 Liberty Hill Road
Clayton, TX 75637                      638 Anns Ct                         Simsboro, LA 71275
                                       Asheboro, NC 272057724
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Joe Anthony Cox                           Joe Anthony Elzen Iii                Joe Arnold And Shirley Tullos Arnold
826 Ne Ainsworth St                       792 Barron Road                      PO Box 1300
Portland, OR 97211-3727                   Keithville, LA 71047                 Hallsville, TX 75650




Joe Atkins                                Joe B Anita Tucker Rev Tr            Joe B Baxter Et Ux
Route 1 Box 36                            J B Or A J Tucker Ttee               Bobbie E Baxter
Grand Cane, LA 71032                      1145 Janell Dr                       302 S Throckmorton
                                          Irving, TX 75062                     Kerens, TX 75144-2942




Joe B Farris Jr                           Joe B Fletcher                       Joe B Fortson Iii
PO Box 2102                               121 Toler                            3632 Bryn Mawr Drive
Trinity, TX 75862                         Mesquite, TX 75149                   Dallas, TX 75225-7214




Joe B Gibson And Juanita Gibson           Joe B Gulley Jr Imelda A Gulley      Joe B Mary Phillips
3339 Estesville Rd                        320 Fm 356 N                         c/o Joe B Phillips
Longview, TX 75602                        Onalaska, TX 77360                   518 77Th Street
                                                                               Lubbock, TX 79404




Joe B Nipper                              Joe B Uhler                          Joe Barnes
PO Box 944                                c/o Paul Uhler                       2913 W Avenue R
Levelland, TX 79336                       6629 Santa Isabel St Unit 123        Temple, TX 76504
                                          Carlsbad, CA 92009




Joe Barton Robinson                       Joe Baxter Covington                 Joe Beasley
161 Cr 156                                PO Box 44                            3596 County Road S
Longbranch, TX 75669                      Plain Dealing, LA 71064              Little Suamico, WI 54141




Joe Beery Jr                              Joe Bill Anderson Estate             Joe Bob Anita J Tucker L/T
PO Box 572392                             Della M Anderson Allen Exec          1145 Janell Dr
Houston, TX 77257                         PO Box 306                           Irving, TX 75062
                                          West, TX 76691




Joe Bob Haynie                            Joe Bolton                           Joe Bruce Evans
16909 Rainwater Trl                       9827 Bestin Lane                     1674 Glenmore
Edmond, OK 73012                          Houston, TX 77065                    Baton Rouge, LA 70808




Joe C Colvin Jr                           Joe C Kilpatrick Sherry Kilpatrick   Joe Calvin Aulds And
6648 North Club Drive                     5486 Highway 84 East                 Donna Kay Ratliff Aulds
Shreveport, LA 71107                      Joaquin, TX 75954                    181 Harrison Rd
                                                                               Ruston, LA 71270




Joe Campbell Nelda Campbell               Joe Carter                           Joe Charles League
946 County Road 481 West                  5700 Peter Bonner Rd                 245 Edinburgh Rd
Henderson, TX 75654                       Hallsville, TX 75650                 San Angelo, TX 76901
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Joe Clark                               Joe Collier                    Joe Crump Jessie Crump Fund
9720 Limestone Court                    37 Bramlette Pl                Acct 252312004
Joshua, TX 76058                        Longview, TX 75601-2903        Jpmorgan Chase Bank N A
                                                                       Po Drawer 99084
                                                                       Fort Worth, TX 76199



Joe Curtis Nettles                      Joe D Leggett                  Joe D Mcmullan Jr
1431 Ryan Chapel Rd                     17582 Hwy 105 East             5169 Hwy 61
Diboll, TX 75941                        Conroe, TX 77306               Devers, TX 77538




Joe D Moore Barbara Ruple Moore         Joe D Page                     Joe D Tate
659 Hwy 519                             1257 Big Creek Road            43468 Foxgrove Court
Arcadia, LA 71001                       Dubach, LA 71235               Ashburn, VA 20147




Joe Dan Johnson                         Joe Dan Wedgeworth             Joe Davis Foster Family Trust
2045 Chevy Chase Lane                   525 County Road 113            c/o Joe Davis Foster Jr
Beaumont, TX 77706                      Carthage, TX 75633             229 Michigan Street
                                                                       Van, TX 75790




Joe Dean Lake                           Joe Dee Brooks LLC             Joe Dennis Evans Ii
2865 County Road 341 N                  PO Box 880                     6745 Rollins Rd
Henderson, TX 75652                     Levelland, TX 79336            Granbury, TX 760496449




Joe Douglas Cannon                      Joe E Burch Et Ux              Joe E Madden
c/o Jones Hay Marschall Mckinney        801 Gunn                       614 Parkway Drive
PO Box 391                              West Monroe, LA 71291          Natchitoches, LA 71457
San Angelo, TX 76902




Joe E Marshall                          Joe E Mcdonald                 Joe E Sedberry Jr
934 Laguna Drive                        8215 G W Sentell Dr            172 Lee Dr Ste 3
Coppell, TX 75019                       Shreveport, LA 71115           Baton Rouge, LA 70808




Joe E Swint                             Joe E Williams                 Joe Ed Brown
533 Long Creek Road                     1311 Martin Luther King Dr     Route 1 Box 1995
Sunnyvale, TX 75182                     Ruston, LA 71270               Shelbyville, TX 75973




Joe Edward Compton Estate               Joe Edward Mitcham Jr          Joe Edward Mitcham Sr And
Arlyn Compton Ind Exec                  1007 Woods Road                Marzee White Mitcham
2314 Blue Water Lane                    Ruston, LA 71270               1926 Mitcham Orchard Road
Houston, TX 77077                                                      Ruston, LA 71270




Joe Edward Sellers                      Joe Ellis                      Joe Ellis Estate
17202 Aurora Ave N Apt 7                PO Box 14                      398 County Road 3265
Shoreline, WA 98133                     Joaquin, TX 75954              Clifton, TX 766344595
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Joe Ellis Key                           Joe Ethel Garrett                       Joe F Canterbury
166 Marsalis Road                       1024 S Haven                            PO Box 293086
Athens, LA 71003                        Hewitt, TX 76643-3962                   Lewisville, TX 75029




Joe Fondren                             Joe Freeman                             Joe G Nixon
935 N 12Th St                           2334 Pinehurst Street                   909 Southside
Nederland, TX 77627                     Tyler, TX 75703                         Angleton, TX 77515




Joe G Nixon Estate                      Joe G Thornton                          Joe Garcia Energy Consulting Inc
Patsy Ann Nixon Administrator           4404 English Lane                       1327 Hathorn Way Drive
909 Southside Dr                        Texarkana, TX 755030400                 Houston, TX 77094
Angleton, TX 77515




Joe Gibson                              Joe Gill                                Joe Glenn Allison
3339 Estesville Rd                      2614 Manila                             1323 Us Highway 79
Longview, TX 75602                      Houston, TX 77043                       Carthage, TX 75633




Joe Gury Trustee                        Joe H Miller Family Trust Dtd 02 5 06   Joe Harris Womack
Mary A Major Gury Min Trust             Marvin T Miller Ttee                    PO Box 6041
PO Box 607                              9128 Fm 607 South                       Brunswick, ME 04011-6041
Niwot, CO 80544                         Larue, TX 75770




Joe Hayden Miller Et Ux                 Joe Hewitt                              Joe Hill Jr
Virginia                                385 Cr 443                              20 Dickson St
9125 Fm 607 South                       Joaquin, TX 75954                       Tallulah, LA 71282
La Rue, TX 75770




Joe Irving Tompkins                     Joe Jessie Crump Memorial Fund          Joe Joye Thomas Fam Part Ltd
PO Box 148                              c/o H Greg Holcomb Sr Vice Pres         PO Box 4
Sumerset, TX 78069-0148                 Bank Of America Na Ttee Of              Sinton, TX 78387
                                        PO Box 2546
                                        Fort Worth, TX 76113



Joe Kelley And Ruby Kelley              Joe L Orr                               Joe L Williams
7919 Hwy 271 South                      5004 Fall River Dr                      1122 Sycamore St
Gilmer, TX 756447695                    Fort Worth, TX 76103-1210               Mineola, TX 75773




Joe Lasher                              Joe Lee Powell Jr                       Joe Lenon Copes
17595 Harvard C 206                     c/o Kilgore National Bank               4654 North Lake Drive
Irvine, CA 92614                        410 N Kilgore Street                    Shreveport, LA 71107
                                        Kilgore, TX 75662




Joe Lewis                               Joe Linton                              Joe Lucy Leonard Family LLC
316 East Olive Street                   2100 Shell Camp Rd                      PO Box 580
Shreveport, LA 71104                    Gladewater, TX 756479578                Jonesboro, LA 71251
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Joe M White                                Joe Mack Laird Trust Regions   Joe Mack Roy
1046 Fm 21                                 Bank Nrre Operations Trustee   200 Fenton Rd
Pittsburg, TX 75686                        Acct 431374016                 Longview, TX 75604
                                           PO Box 11566
                                           Birmingham, AL 35202



Joe Mallard                                Joe Martin Davis               Joe Mccollum Allbright
601 Hudson Ave                             1402 Kyle Ave                  1941 E 37Th St
Jonesboro, LA 71251                        Carthage, TX 75633             Odessa, TX 79762




Joe Miller Holloway                        Joe Miller Holloway Trustee    Joe Milton Maccurdy Jr
125 N Prairieville                         PO Box 1032                    211 Gun Club Road
Athens, TX 75751                           Athens, TX 75751               Nashville, TN 37205




Joe Nail Brooks                            Joe Neil Tillery               Joe O Adams
336 Verde Rd                               1602 Auburn                    15670 Hammett Court
Willow Park, TX 76087-7941                 Longview, TX 75601             Moreno Valley, CA 92555




Joe O Matthews                             Joe Oren Harper Jr Sp          Joe P Pritchett
719 Virginia Lane                          405 North Lakeview Drive       PO Box 10578
Ardmore, OK 73401                          Farmerville, LA 71241          Corpus Christi, TX 78460




Joe Petty Dealing                          Joe R Barnett Living Trust     Joe R Carroll Deceased
In His Sole And Sep Prop                   14500 Cutten Rd 13102          960 Fm 139
10401 Vineyard Blvd 324                    Houston, TX 77069-1010         Joaquin, TX 75954-5608
Oklahoma City, OK 73120




Joe R Gragg                                Joe R Strickland               Joe Ramos Company
PO Box 1397                                5531 Fm 225 South              3410 Amber Forest Drive
Palestine, TX 75802                        Henderson, TX 25654            Houston, TX 77068




Joe Ray Blalack                            Joe Raymond Cockrell           Joe Roland Covington
Attn Mail Deposits                         427 Hardscramble Ranch Rd      5217 South Lake Drive
Comerica Bank                              Grayson, LA 71435              Laredo, TX 78043
6803 Fm 1960 East
Humble, TX 77346



Joe Rosalie Gardella                       Joe Roy Harden                 Joe Scott Evans
3804 Bayview Dr                            3924 S Madison                 P O Drawer 310
Modesto, CA 95355                          Tulsa, OK 74105                Groveton, TX 75845




Joe T Smith Inc                            Joe Thomas                     Joe Todd Russell Jr
PO Box 126                                 559 Paalki Hini                905 East County Road 123
Hawley, TX 79525                           Livingston, TX 77351           Midland, TX 79706
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Joe V Mumford                          Joe V Mumford Dallas R Puett          Joe V Mumford Francine H Mayfield
506 Hawthorne Rd                       506 Hawthorne Road                    Dallas R Puett
Gilmer, TX 75644                       Gilmer, TX 75644                      506 Hawthorne Road
                                                                             Gilmer, TX 75644




Joe W Caskey                           Joe W Wilson And Wife Judy S Wilson   Joe Warren Estate
203 Fairway Dr                         2913 Lisa Lane                        Dorothy Deason Administratrix
Monroe, LA 71210                       Tyler, TX 75701                       1403 Slaydon St
                                                                             Henderson, TX 75653




Joe Wayne Laster                       Joe Whitten                           Joe Wiley Gales
446 Fm 2718                            24136 Hwy 31 East                     PO Box 219
Cuero, TX 77954                        Kilgore, TX 75662                     Deberry, TX 75639




Joe William Thompson                   Joe Willie Simmons                    Joeckel Enterprises Ltd
31735 Midlake Park                     810 Alta St                           1672 La Loma Drive
Conroe, TX 77385-8009                  Longview, TX 75604-1004               Santa Ana, CA 92705




Joeckel Fam Tr Dtd 2/9/04              Joel Ann Lott Banks                   Joel Anthony Gingras
Raymond N Joeckel And                  8680 Jefferson Hwy                    123 East Ashland St
Evelyn R Joeckel Ttees                 Apt 202                               Doylestown, PA 18901
1672 La Loma Dr                        Baton Rouge, LA 70809
Santa Ana, CA 92705



Joel Bennett Humphries                 Joel Bennett Humphries Life Est       Joel Bennett Jones
1111 Richardine Ave                    1111 Richardine Ave                   10013 Ridgley Drive
Austin, TX 78721                       Austin, TX 78721                      Baton Rouge, LA 70809




Joel C Elliott                         Joel Campos                           Joel D Camp
3209 Kensington Drive                  PO Box 19                             202 Jackson Road
Mesquite, TX 75150                     Falfurrias, TX 78355                  Kilgore, TX 75662




Joel Davidson                          Joel E Ortiz                          Joel Eduardo Ortiz Est
Address Redacted                       401 Family Circle                     Alexa Eryn Ortiz Ind Admin
                                       Hutto, TX 78634                       1219 S Lamar Blvd 614
                                                                             Austin, TX 78704




Joel F Wilson                          Joel Goodman                          Joel Hale
PO Box 93313                           11551 Mississippi Ave                 2306 Gulf Ave
Southlake, TX 76092-0107               Los Angeles, CA 90025                 Midland, TX 79705




Joel Hale County Judge                 Joel Herrington                       Joel M Jackson Iii
Receiver For Lynn Whitton Decd Case    240 Towering Oaks Haven               3902 Weston Drive
Rusk County                            Longview, TX 75602                    Fulshear, TX 77441
115 North Main
Henderson, TX 75652
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Joel New                                 Joel P Jones And Claudine J Jones   Joel Paul Milam
371 W Old Axtell Road                    6 Bevill Place                      299 Hwy 3074
Waco, TX 79705                           Texarkana, TX 75503                 Ruston, LA 71270




Joel S Mcswain                           Joel Thomas Simpson                 Joel W Rosenberg
8838 State Highway 7 East                2241 Pine St                        35 Oliver St
Joaquin, TX 75954                        Arcadia, LA 71001                   Watertown, MA 02472




Joel W Whitfield                         Joel William Turlington             Joel Yeager Adkins
3210 Lone Trail Dr                       900 Crystal Farms Road              PO Box 412
Texas City, TX 77591                     Tatum, TX 75691                     Lawtell, LA 70550




Joele Frank Wilkinson                    Joelene Marie Evans                 Joerg J Jacoby
622 Third Ave                            114 Lone Star Drive                 2222 Bristol Bend Ln
New York, NY 10017                       Georgetown, TX 78628                Katy, TX 77450-6768




JoeS Hoe                                 Joes Inspection Service Inc         Joes Tank Trucks LLC
386 Avenue M                             PO Box 646                          PO Box 6113
Scotland, TX 76379                       Hobbs, NM 88241                     Olney, TX 76374




Joey D Bice And Megan                    Joey D Shivers And Lesa Shivers     Joey Dewayne Shivers
Nicole Tefteller                         9936 Cr 2142 N                      9936 Cr 2142 N
PO Box 124                               Tatum, TX 75691                     Tatum, TX 75691
Hallsville, TX 75650




Joey Graham Inc                          JoeyS Backhoe Services              Jofco
PO Box 365                               PO Box 212                          PO Box 71
Canadian, TX 79014                       Snyder, TX 79550-0212               Jasper, IN 475470071




Joffrion Jr Olin                         Joffrion Jr Olin V                  Johan A H Jansson
PO Box 476                               PO Box 476                          Ulfstack 1373
Carthage, TX 75633                       Carthage, TX 75633                  S450 63 Hogsater
                                                                             Sweden




Johanna Fant Schweers                    Johanna Hulls Huggans               Johanna Michelle Donlin
3417 Hickory Creek Drive                 202 Day Break Cove                  5650 W Quincy 15
Pearland, TX 77581                       Buda, TX 78610                      Denver, CO 80235




Johanna Sternberg Bernstein              Johanna Wylie Hardy                 John A Alford
3100 Fairhaven                           1501 Oak Tree Ln                    305 Lake View Drive Apt 2
Cincinnati, OH 45237                     Cedar Park, TX 78613                Hartland, WI 53029
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John A And Barbara J Holt Tst            John A And Sandra E Tuttle           John A Budnick Iii
John A Holt Ttee                         5422 Fm 1844                         50 Hooper Ave
PO Box 3480                              Gladewater, TX 75647-5833            Atlantic Hlds, NJ 07716-1537
Omaha, NE 68103-0480




John A Colquitt And Jane R Colquitt      John A Corley Connie Corley          John A Delley Jr
7 Spring Creek Place                     4535 Triggs Trce                     4520 Wyvonnes Way
Longview, TX 756043600                   Tyler, TX 75709-5443                 Plano, TX 75024




John A Fagin                             John A Hammack Ira Rollover          John A Hendrick Iii
c/o Robson Ranch                         Northern Trust Bk Tx Na Ttee         3 Swanston Road
10508 Countryside Drive                  PO Box 226270                        St Helena, CA 94574
Denton, TX 76207                         Dallas, TX 75222-6270




John A Hickman                           John A Jensen                        John A Karin S Shrader
PO Box 484                               c/o Carol A Jensen Bragg Ttee        218 Pleasant Dr
Mt Pleasant, TX 75455                    2727 Omaha Ave                       Alexandria, LA 71303
                                         Clovis, CA 93619




John A Keedy                             John A Klimpt And Barbara D Klimpt   John A March Iv Test/Trust
7231 Hovenkamp Avenue                    1223 20Th St                         Texas State Bank Trustee
Richland Hills, TX 76118                 Galveston, TX 77550                  PO Box 3782
                                                                              San Angelo, TX 76902




John A Masterson Revoc Trst              John A Miller Jr                     John A Quisenberry
PO Box 2401                              PO Box 502                           1901 Centerview
Casper, WY 82602                         Shelby, MT 59474                     Midland, TX 79707




John A Ridge                             John A Ridge Jr                      John A Tuttle
PO Box 144                               301 Jacky Street                     5422 Fm 1844
12505 Highway 538                        Austin, TX 78748                     Gladewater, TX 75647-5833
Oil City, LA 71061




John A Weinzierl                         John Alfred Ritter                   John Allen Holland Et Ux
405 Timberwilde Lane                     5576 Fm 13 W                         Everlean Shine Holland
Houston, TX 77024                        Henderson, TX 75654                  339 Dunn Road
                                                                              Ruston, LA 71270




John Allen Lowen                         John Allen Quisenberry And           John Allen Smith
PO Box 31                                Zachary Young Quisenberry            256 Pierremont Road
Dillon, CO 80435                         1901 Centerview                      Shreveport, LA 71105
                                         Midland, TX 79707




John Allison                             John Alton Collins                   John Alton Hall
2603 Oakland Ave                         2018 Muirfield Circle                827 County Road 3831
Nashville, TN 37212                      Elgin, IL 60123                      Joaquin, TX 75954-2125
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John Alton Stinson Jr                     John And Barbara Pridgen       John And Marina Pineda
2191 N Ridge Road                         Route 1 Box 394                1524 West Collin Street
Longview, TX 75602                        Joaquin, TX 75954              Corsicana, TX 75110




John And Melba Hagel                      John Anderson                  John Andre Visor
2761 Lois Drive                           9510 Tioga Dr Suite 102        10767 Hunters Cir W
Longview, TX 75605                        San Antonio, TX 78230-3116     Mobile, AL 36695




John Andrew Fuqua                         John Angela Malaer             John Ann Lowery Lewis
13218 Lakeview Meadow Dr                  20525 Riverside Pines Dr       2517 Charboneau Dr
Richmond, TX 77469-8373                   Humble, TX 77346               Waco, TX 76710




John Anthony Wynne Et Ux                  John Anundson                  John Argo
Beverly Nemitz Wynne                      PO Box 496                     18421 Salvador Rd
135 Cranford Street                       Olympia, WA 98507              Edmond, OK 73012
Simsboro, LA 71275




John Arthur Dunn                          John Atwood Hodges             John B And Jane Goodrich
4570 Dogwood Lane                         1012 Linkwood                  2800 West Illinois 111
Saginaw, MI 48603                         Pearland, TX 77581             Trinity Towers
                                                                         Midland, TX 79701




John B Atkins Iii Trust                   John B Blakenship              John B Buford
c/o David R Moore Trustee                 45 Eddleston Drive             220 E Cherry Circle
PO Box 5273                               Bella Vista, AR 72715          Memphis, TN 38117
Bossier City, LA 71171-5273




John B Cunningham Sp                      John B Elliott                 John B Fleeger Revocable Trust
530 Diamond                               12626 Plow Ct                  John B Fleeger Trustee
Laguna Beach, CA 92651                    Fairfax, VA 22030              2000 Hilltop Lane
                                                                         Claremore, OK 74017




John B Hattier                            John B Hillin                  John B Holley
326 South Broad                           390 Pecan Creek                PO Box 224
New Orleans, LA 70119                     Henderson, TX 75654            Matagorda, TX 77457-0224




John B Johnston Iii Dorothy               John B Malouf                  John B Mcnamara Iii
PO Box 4570                               8201 Quaker Ave 106            3719 Windmill Hill St
Monroe, LA 71211                          Lubbock, TX 79424              Waco, TX 76710-1340




John B Morse                              John B Pearce                  John B Ruff Nancy A Ruff
300 Longview Road                         17438 George ONeal Rd          13 Iris Circle
Far Hills, NJ 07931                       Baton Rouge, LA 70817          Longview, TX 75601
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John B Shaw                              John B Tompkins                 John B Verhalen
PO Box 80696                             10800 Cobblestone Drive         11207 Reddick Road
Midland, TX 79708                        Fort Worth, TX 76126            Ore City, TX 75683




John B Ware                              John B Wolter                   John Bagwell
PO Box 27                                4072 W Camas St                 1700 Pineridge St
Elysian Fields, TX 75642                 Boise, ID 83705                 Lonview, TX 75604




John Barbara Pridgen                     John Barneson Iii               John Baron Brymer Et Ux
12789 Hwy 7 East                         154 Sunhaven Rd                 Tempest Diane Ponder Brymer
Joaquin, TX 75954                        Danville, CA 94506              346 Brown Rd
                                                                         Quitman, LA 71268




John Barry                               John Barry Christopher Barnes   John Baxter Brinkman
1300 Thames St 6th Floor                 PO Box 416                      4099 Mcewen Road
Baltimore, MD 21231                      Fowlerton, TX 78021             Suite 375
                                                                         Dallas, TX 75244




John Baxter Brinkmann                    John Baxter Risinger            John Benjamin Wooley
4099 Mcewen Rd Ste 375                   435 Stoneybrook Dr              PO Box 4122
Dallas, TX 75244-5009                    Brandon, MS 39042               Longview, TX 75606-4122




John Benton Vanhooser Estate             John Bernard Hancock            John Berry
PO Box 747                               256 Lesa Ln                     3734 Rio Vista St
Beeville, TX 78102                       Stonewall, LA 71078             Houston, TX 77085




John Betty Larsen Rvcbl Tr Dtd 7/29/14   John Bianchi Jr Estate          John Bishop Johnston Jr
John A Betty L Larsen Ttees              PO Box 267                      PO Box 2215
1930 East 12Th St                        Karnes City, TX 78118-0267      Monroe, LA 71201
Casper, WY 82601




John Blaffer Royall                      John Blake Miller               John Blythe Cunningham
c/o Briarwood Capital Corp               1201 Cross Timber Drive         530 Diamond St
2911 Turtle Creek Blvd                   Southlake, TX 76092             Laguna Beach, CA 92651-3404
Suite 1240
Dallas, TX 75219



John Bob                                 John Booth Davidson And         John Botefuhr
PO Box 262                               Vonitta Dell Davidson           10119 Estacado
Arcadia, LA 71001                        7301 Briley Dr                  Dallas, TX 75228
                                         Ft Worth, TX 76180




John Bower Grntr Trust Agency            John Bower Revocable Trust      John Brannon
Frost Bank Management Agent              Frost National Bank Agent       PO Box 1898
PO Box 1600                              Fnb Account Wc248               Silsbee, TX 77656-1898
San Antonio, TX 78296                    PO Box 1600 T6
                                         San Antonio, TX 78296
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John Brooks Harris Jr                    John Brownfield Shirley                  John Bruce Boles
625 Ashbourne Dr                         117 Idle Creek Trl                       8514 Prichett Dr
Shreveport, LA 71106                     Abilene, TX 79602-7547                   Houston, TX 77096-1419




John Bryan Hogan                         John Bunning Transfer Co Inc             John Burnett Fitzpatrick Trust
PO Box 1478                              PO Box 128                               J Rick Mcminn Trustee
Borrego Springs, CA 92004                Rock Springs, WY 82902                   PO Box 940
                                                                                  Marshall, TX 75671




John Byron Wolfe                         John C Arledge And Wife Ramona Arledge   John C Bedgood
2915 State Hwy 184                       4104 Cr 497 South                        243 Cr 2113
Hemphill, TX 75948                       Henderson, TX 75654                      Alice, TX 78332




John C Blake Sandra Gordon Blake         John C Bradford                          John C Bush Jr
10119 Copperleaf Dr                      PO Box 873                               1087 Fm 1970
Baton Rouge, LA 70809-4075               Shreveport, LA 71162-0873                Carthage, TX 75633




John C Colvin                            John C Crank                             John C Crank Ii
259 King Louie Rd                        PO Box 7540                              6831 Stefani Drive
Simsboro, LA 71275-3254                  Dallas, TX 75209                         Dallas, TX 75225




John C Creel Jr                          John C Davenport Iii                     John C Fife
511 Creel Rd                             2006 Selma                               150 Northpark Plaza Dr Apt 935
Livingston, TX 77351                     Texarkana, AR 71854                      Kingwood, TX 77339




John C Hempel Living Trust               John C Hope                              John C Janet W Mears
John C Hempel Trustee                    2601 Somerset Place                      3627 Clear Falls Dr
c/o Hilton Otto                          Oklahoma City, OK 73116                  Kingwood, TX 77339
7 Waldon Rd
Darien, CT 06820



John C Klosterman Iii                    John C Kroner Iv                         John C Malone
1197 34 Road                             PO Box 4280                              2819 Cortland Ave
David City, NE 68632                     Shreveport, LA 71134                     Grand Junction, CO 81506




John C Marshall                          John C Marshall Jr                       John C Mast
1545 Line Avenue 204                     6314 Hartley Drive                       PO Box 635025
Shreveport, LA 71101                     La Jolla, CA 92037                       Nacogdoches, TX 75965-5025




John C Mccrary Jr                        John C Merritt Separate Property         John C Moore
c/o Daisy E Mccrary                      129 Freestate Blvd                       867 Ferngrove Drive
4543 Lyceum                              Shreveport, LA 71107                     Cupertino, CA 95014
San Antonio, TX 78229
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John C Morris Iii                       John C Morris Jr               John C Neal Amy T Neal
2705 Oak Drive                          2705 Oak Dr                    2705 Lakeshore Dr
Monroe, LA 71201                        Monroe, LA 71201               Ruston, LA 71270




John C Pace And Mona C Pace             John C Price                   John C Ritter
693 Cr 207                              3702 County Road 4806          8327 Century Oaks Lane
Jemison, AL 35085                       Athens, TX 757526060           Silsbee, TX 77656




John C Robbins Jr Estate Partnership    John C Rogers                  John C Schook
PO Box 2347                             102 Park Hill Ln               PO Box 1357
Longview, TX 75606                      Center, TX 75935               Grapevine, TX 76099




John C Shirley                          John C Skannal Succession Of   John Calvin Spigner
210 West Mississippi Avenue             2124 Fairfield Ave             3406 G E Drive
Ruston, LA 71270                        Shreveport, LA 71104-2003      Tyler, TX 75701




John Campbell                           John Canon Clements            John Carl Cornelius
PO Box 225                              PO Box 356                     1700 Seaspray Ct Apt 2125
Milano, TX 76556                        Niwot, CO 80544                Houston, TX 77008-3149




John Carl Yarbrough                     John Carmichael Martin Iii     John Carroll Gipson
904 West 45Th St                        1305 Inwood Drive              107 Gipson Road
Monahams, TX 79756                      Longview, TX 75601             Tallulah, LA 71282




John Carroll Gipson Jr                  John Cauwin Mccrary            John Chance Land Surveys Inc
107 Gipson Dr                           1606 West Lullwood             PO Box 301301
Tallulah, LA 71282                      San Antonio, TX 78201          Dallas, TX 75303-1301




John Chance Land Surveys Inc            John Charles Kilpatrick        John Charles Lock
Sheila Leblanc                          3458 Cathey Street             19003 Sunburst View Drive
200 Dulles Drive                        Arcadia, LA 71001              Cypress, TX 77433
Lafayette, LA 70506




John Charles Thurmond Sp                John Chevallier                John Chika
6218 Redwood Bridge Trail               250 Cr 413D                    1722 Hawkins Ave
Kingwood, TX 77345                      Henderson, TX 75652            Downers Cove, IL 60516




John Chris Hill                         John Clark Johnson             John Clark Johnson Ii
2223 Knob Hill Dr                       2307 Hwy 160                   1820 Bluebird Lane
Corinth, TX 76201                       Benton, LA 71006               Bonifay, FL 32425
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John Claude Breidenbach                   John Clint Hurt                       John Clint Williamson
PO Box 546                                PO Box 1973                           2734 Woodley Place Nw
Beeville, TX 78104                        Midland, TX 79702                     Washington, DC 20008




John Clinton Robbins                      John Clyde Tomlinson Jr               John Clyde Tomlinson Trust 1
PO Box 2347                               PO Box 6260                           c/o Tomlinson Properties
Longview, TX 75601                        Longview, TX 75608                    PO Box 6260
                                                                                Longview, TX 75608




John Cohron Bush Life Estate              John Cole Separate Properties         John Cole Steele
W/Remainder To John C Bush Jr             PO Box 1557                           4401 Bella Terre Dr
Tommy Bush Beth Tipton Sandra             Lampasas, TX 76550-0013               West Monroe, LA 71201
720 Fm 1970 N
Timpson, TX 75975



John Collier Patton                       John Colvin Drewett                   John Costlow
1784 Cr 505                               4281 Express Ln Ste L1198             402 E Hwy 121 Lot 237
Bayfield, CO 81122                        Sarasota, FL 34238                    Lewisville, KY 75057




John Cox Barron                           John CPatricia E Hempel Lvg           John Craig Iii
2607 Crocker St                           John C Hempel Trustee                 Box 93
Houston, TX 77006                         7 Waldon Road                         Wittman, MD 21676
                                          Darien, CT 06820




John Crane Production Solutions           John Crane Production Solutions Inc   John Currie Colvin
PO Box 974594                             Danny Matherne                        PO Box 1051
Dallas, TX 75397-4594                     PO Box 4908                           Miles City, MT 59301
                                          Tyler, TX 75712




John D Barabin Jr Estate                  John D Bell Dba Bell Energy           John D Bell Dba Bell Rental Company
Delores W Smith Executor                  PO Box 515                            PO Box 515
PO Box 1106                               Weed, NM 88354                        Weed, NM 88354
Grambling, LA 71245




John D Bernhardt                          John D Bryant Life Estate             John D Caruthers Jr
PO Box 52309                              403 W 57Th So                         400 Travis St Ste 1509
Lafayette, LA 70505                       Wichita, KS 67217                     Shreveport, LA 71101




John D Ewing Iii                          John D Garcia                         John D Garner
9502 Pecan Glen Ct                        Address Redacted                      604 Bellaire Drive Apt C
Houston, TX 77040                                                               Hurst, TX 76053




John D Gauntt Jr                          John D Glass Jr 1990 Trust            John D Glass Jr Trust Of 1990
10972 Lake Forest Dr                      Frost NatL Bank Tte F5070100          Frost Bank Ttee Of Acct Fc327
Conroe, TX 77384                          PO Box 1600                           PO Box 1600
                                          San Antonio, TX 78296-1600            San Antonio, TX 78296
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John D Glass Jr Trust Of 1990           John D Kullman                      John D Leland Jr
Frost Bank Ttee Of Acct Fc328           1202 W Storey Ave                   c/o Carolyn Seid
PO Box 1600                             Midland, TX 79701                   875 A Island Dr 367
San Antonio, TX 78296                                                       Alameda, CA 94502




John D Major                            John D Norwood Iii                  John D Sweazy
W320N6694 Shawmoors Dr                  101 Westcott 305                    115 E Harrison Ave
Hartland, WI 53029                      Houston, TX 77007                   Christopher, IL 62822




John D Wisda Trust                      John D Wrather                      John Dale Quigley
John D Wisda Trustee                    Box 2272                            40 Desda Ln
PO Box 775                              Longview, TX 75606-2272             Lafayette, GA 30728
Santa Paula, CA 93061




John David Auld                         John David Cox Investment Trust 2   John David Gosdin
PO Box 764                              PO Box 724                          1405 Mockingbird
Leakey, TX 78873                        Kilgore, TX 75663                   Magnolia, AR 71753




John David Holland                      John David Mauritzen                John David Meteer
1331 Golson Rd                          2107 Winding Run Ln                 1380 Quail Run Ct Apt 237
Calhoun, LA 71225-9205                  Longview, TX 75605-0830             Zionsville, IN 46077-1393




John David Nicely                       John David Rittenberry              John David Simpson
4254 Estate Drive                       319 Co Rd 490                       8315 Greenbush Street
Corpus Christi, TX 78412                Carthage, TX 75633                  Houston, TX 77025




John David Slagle                       John Davis                          John Davis Hill
3285 Highway 563                        10401 Cr 2117 East                  6846 Cedar Cove Rd
Simsboro, LA 71275                      Henderson, TX 75652                 Belton, TX 76513




John Dawson                             John Dawson Hunter                  John Degolian Munson
Sh 29 Lake Cherokee                     13136 Montgomery Ave Ne             Box 357
Henderson, TX 75652                     Albuquerque, NM 87111               Denison, TX 75020




John Delane Calhoun                     John Dennis Mackey                  John Dennis Roberts
205 Beachers Brook Ln                   PO Box 1712                         505 Red Hawk Dr
Cary, NC 27511                          Georgetown, TX 78627                Leander, TX 78641




John Dennis Tatum                       John Derek Mackey Or                John Dewitt Furrh Iii
1223 Pipes Rd                           Texas State Treasury Dept           c/o Argent Tr Guardian
Ruston, LA 71270                        Unclaimed Property Division         PO Box 1410
                                        PO Box 12019                        Ruston, LA 71273
                                        Austin, TX 78711-2019
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John Dick Arden Jr                     John Dillon Sapp 1998 Trust           John Does 1 15 100 Inclusive
3420 Dave Wilson Rd                    c/o Mary Sapp Ficher                  c/o Paul Hastings LLP
Harleton, TX 75651                     3726 Sunset Blvd                      George W Abele
                                       Houston, TX 77005                     515 South Flower Street 25Th Floor
                                                                             Los Angeles, CA 90071



John Does 1 50 Inclusive               John Doherty Trust                    John Donley Glasscock
c/o Andrews Lagasse Branch Bell Llp    Inland Counties Master Trust          PO Box 88
John Andrews                           Robert Britton Trust Admin            La Vina, MT 59046
800 Wilshire Boulevard Suite 860       PO Box 10338
Los Angeles, CA 90017                  San Bernardino, CA 92423



John Dorothy B Henderson               John Dorville Broussard Jr            John Douglas
9333 4Th Ave                           505 Camino Real                       Address Redacted
Inglewood, CA 90305                    Lafayette, LA 70503




John Douglas Schoolfield               John Dunne                            John Dykes Leabo
PO Box 29218                           PO Box 866                            5096 Dixie Garden Drive
San Antonio, TX 78229                  Richton Park, IL 604710866            Shreveport, LA 711054028




John E Beck Jr                         John E Castle Rev Trust               John E Davis
1556 Warwick Dr                        John E Castle Trustee                 2815 San Pablo Avenue
Lancaster, TX 75134                    Bank Of America Na Agt Aif            Berkeley, CA 94602
                                       PO Box 840738
                                       Dallas, TX 75284-0738



John E Finch Jr                        John E Frazier And Edrene M Frazier   John E Furrh Jr
1922 Highway 507                       1248 Rwe Jones Dr                     8151 Broadway
Simsboro, LA 71275-3573                Ruston, LA 71270                      Suite 105
                                                                             San Antonio, TX 78209




John E Jerabeck                        John E Keating                        John E Mcconnell Iii
3204 County Road 36                    2028 S Austin St La Tour 901          1318 Briar Bayou
Angleton, TX 77515                     Amarillo, TX 79109                    Houston, TX 77077




John E Meador Construction             John E Minnich Agency                 John E Musil
PO Box 558                             Bank Of America Na                    PO Box 2225
Eldorado, TX 76936                     Agent Advisory                        Rockwall, TX 75087
                                       PO Box 840738
                                       Dallas, TX 75284-0738



John E Oakason Jr Trust                John E P Guidry                       John E Petty
Wells Fargo Ogm C7300 07D              18270 Reeves Drive                    452 Forest Square
PO Box 5383                            Covington, LA 70435                   Longview, TX 75605
Denver, CO 80217




John E Prothro Jr                      John E Randle Jr                      John E Sholar Sr
3025 Tanglewood Park West              128 Silverstone Lane                  6441 Us Hwy 84 East
Fort Worth, TX 76109                   Shenandoah, TX 77384                  Joaquin, TX 75954
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John E Taylor                             John E Tooke                     John E Upchurch
4904 Nocoma Dr                            118 Eve Lane                     8466 Hwy 822
Plano, TX 75024                           Conway, AR 72034-8132            Dubach, LA 71235




John E Vickers Iii                        John E Walker And Wanda Walker   John Earl Jimmerson And
14027 Memorial Dr                         7504 Saint Tropez Way            Leah F B Jimmerson
Suite 403                                 Sacremento, CA 95842             630 Highway 545
Houston, TX 77079                                                          Dubach, LA 71235




John Earl Sharp                           John Edward Durrett              John Edward Kerley Jr
PO Box 10210                              113 Village Blvd Ste C           227 Dogwood
Longview, TX 75608                        Madison, MS 39110                Shreveport, LA 71105




John Edward Maxey                         John Edward Price                John Edward Price Et Ux
Rural Route 2 Box 555                     2939 Hwy 544                     Glenda Sue Council Price
Linville, LA 71260                        Ruston, LA 71270                 2939 Hwy 544
                                                                           Ruston, LA 71270




John Edward Reid Iii                      John Edward Sheka                John Edward Sholar
3260 Cohen Hill Road                      1217 7Th St Apt C                PO Box 638
Johns Island, SC 29455                    Corpus Christi, TX 78404-2059    Joaquin, TX 75954




John Edwards Sims                         John Elgin Hamner                John Emery Mccain And
444 28Th St Apt 24                        8742 East Wilderness Way         Marcia Rae Mccain Jt Tenants Wros
Oakland, CA 94609-3616                    Shreveport, LA 71106             2875 Centerwood
                                                                           Fayetteville, AR 727033606




John Emmett Woodfin Jr And Lois Woodfin   John Emory Seago                 John Ethel Anundson Jtwros
727 Tennesse Rd                           5858 Boone Ave                   1125 Mission Circle
Teneha, TX 75974                          Baton Rouge, LA 70808-5001       Reno, NV 89503




John F Barton Jr                          John F Cooke Jr                  John F Hall
3809 Chaucer Ct                           80740 Teal Loop                  16633 Riva Ridge
Bryan, TX 77802                           Bush, LA 70431                   College Station, TX 77845




John F Herren                             John F Jordan                    John F Lubben Iii
PO Box 736                                7067 Se Clinton St               7413 Twilight Shadow Dr
Homer, LA 71040                           Portland, OR 97206               Austin, TX 78749-5221




John F Matte                              John F Riddell Jr                John F Taylor Jr
6414 Vista Butte                          2900 Weslayan Suite 500          PO Box 386
San Antonio, TX 78239                     Houston, TX 77027                Corsicana, TX 751510386
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John F Wemple                            John Farrell Bassett             John Fay
7774 Copperfield Court                   1711 Grayson                     500 Stanton Christiana Rd
Baton Rouge, LA 70808                    Odessa, TX 79761                 OPS 4 Floor 03
                                                                          Newark, DE 19713-2107




John Fell Tucker                         John Ferdon                      John Forest Baker
1209 Hanover Drive                       PO Box 892                       40789 Fremont Blvd Apt 128
Euless, TX 760406359                     Running Springs, CA 92382        Fremont, CA 94538




John Foshee                              John Foster Padon                John Frank Raizen
4100 Jackson Avenue Apt 6                3071 Hoyt Way                    PO Box 54798
Austin, TX 787316002                     Denver, CO 80227                 Oklahoma City, OK 73154




John Franklin Phillips Jr                John Franks                      John Fred Obyrne
PO Box 907                               PO Box 7665                      Box 387
Gladewater, TX 75647                     Shreveport, LA 71107             Animas, NM 88020




John Frederick Dorsey                    John G Akin Tr Dtd 11 17 89      John G Andrikopoulos
1909 Crestland                           John G Akin Ttee                 PO Box 350
Ann Arbor, MI 48104                      c/o Stephen M A Slough           Daniel, WY 83115
                                         5350 Shawnee Rd Ste 101B
                                         Alexandria, VA 22312



John G Beebe                             John G Brimmer                   John G Carruth Qtip Trust
202 N Western St                         81 Shoreline Drive               5922 River Road
Amarillo, TX 79106                       New Bern, NC 28562-9500          Shreveport, LA 71105




John G Green Susan G Green               John G Hammond                   John G Hosterman
2115 Cooktown Rd                         7722 Yuma Ct N                   5001 Spring Valley Rd Suite 600E
Ruston, LA 70170                         Maple Grove, MN 55311            Dallas, TX 75244




John G Jackson                           John G Jackson And               John G Richard Separate Property
5630 Dyer                                Wife Diana L Jackson             1632 County Road 3173
Dallas, TX 75206                         5630 Dyer                        Joaquin, TX 75954
                                         Dallas, TX 75206




John G Stevenson                         John G Stevenson Marital Trust   John G Stevenson Sr Estate
2211 York St                             Fbo Carolyn H Stevenson          John G Stevenson Jr Executor
Quincy, IL 62301                         510 Maine Street 9Th Floor       2211 York Street
                                         Quincy, IL 62301                 Quincy, IL 62301




John G Thompson Iii                      John Gardner Nelson              John Gibbard Agency
4705 Whitechapel Blvd                    1018 Delaware St                 Us Trust Bank Of America Priv
Alexandria, LA 71303-2630                Shreveport, LA 71106-1402        PO Box 840738
                                                                          Dallas, TX 75284-0738
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John Gibbs Meador Jr                    John Glassell Iii Trust        John Glenn Allen
Route 5                                 U/W Lois Hodge Glassell        1601 Atkins Road
Box 500                                 C/O George A Burton Jr         Ruston, LA 71270
Angleton, TX 77515                      PO Box 7155
                                        Shreveport, LA 71137



John Golding Thompson Iv                John Gordon Russell            John Graham Norris Jr
6005 Navaho Trail                       326 Eatman St                  156 Bayne Road
Alexandria, LA 71303                    Grand Cane, LA 71032           West Monroe, LA 71291-9101




John Guzman Crane                       John H Beyers Jr               John H Booth
24824 Seagrove Ave                      20075 Pleasant View Dr         PO Box 851306
Wilmington, CA 90744                    Groveland, CA 95321            Yukon, OK 73085




John H Brown Maggie G Brown             John H Clifton                 John H Converse Unified Credit
6565 Hwy 151                            Suite 431                      Tst Uw Fbo Ruth B Converse
Dubach, LA 71235                        3400 Peachtree Road Ne         Ruth B Converse Trustee
                                        Atlanta, GA 30326              2545 Whtie Horse Rd
                                                                       Berwyn, PA 19312



John H Crawford                         John H Crooker Iii             John H Crooker Jr Trust
2211 Hickory Park Dr                    1704 W Houston Dr              Tara Mize Trustee
Kingwood, TX 77345                      La Marque, TX 77568            1210 Wynden Creek Dr
                                                                       Houston, TX 77056




John H Earnheart                        John H Huey                    John H L Esther Cullen
818 Francis Lane                        718 Peach St                   Cullen Trustees Of The Cullen Trust
Edmond, OK 73034                        Minden, LA 71055               83 Silver Fox Dr
                                                                       Littleton, CO 80121




John H Larsen                           John H Larue                   John H Latham Jr
1930 E 12Th St                          Box 126                        11900 Wickchester 1706
Casper, WY 82601                        Ruston, LA 71270               Houston, TX 77043




John H Leggett Et Ux                    John H Lewis                   John H Loetterle
Deborah Leggett                         120 Mckelvey Avenue            Brimhall Loeterle Rev Tst
4394 Fm 139                             Stockton, CA 95210             2110 Woodlands Dr
Joaquin, TX 75954                                                      Tyler, TX 75703




John H Mcgovern Rev Trust               John H Mckee                   John H Melby Tr
c/o The Northern Trst Co                PO Box 240                     Barbara Jean Melby Ttee
Acct No 02 43662                        Seabrook, TX 77586             8169 Pierson Ct
PO Box 226270                                                          Arvada, CO 80005
Dallas, TX 75222



John H Miner                            John H Minton                  John H Moon
Gulf Sekiyu Seisel Ltd                  110 North College              2393 Hg Mosley Pkwy
Offshore                                500 Plaza Tower                Bldg 4 Ste 100
Koza Okinawa                            Tyler, TX 75702                Longview, TX 75604
Japan
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John H Morris                             John H Mozley Jr                          John H Murrell
20735 Fairwater Drive                     492 Chowning Place                        5207 Sweet Orchard Court
Katy, TX 77450                            Marietta, GA 30064                        Kingwood, TX 77345




John H Permenter                          John H Pruett Jr                          John H Rauscher
2107 Judson Drive                         Lucille Baxter Pruett                     Plaza Of The Americas
Lufkin, TX 75901                          200 Brasher Ln                            2500 North Tower
                                          West Monroe, LA 71292                     Dallas, TX 75201




John H Scott Deceased                     John H Smith                              John H Stokes
c/o Claudette Scott                       217 Ridgewood                             2013 14Th Avenue North
7327 Harrison Street                      Bridge City, TX 77611                     Texas City, TX 77590
Kansas City, MO 64131




John H Webb                               John H Yocum                              John H Zoller
PO Box 972548                             2503 Forest Lawn Dr                       Michael E Zoller Poa
Dallas, TX 75397-2548                     El Dorado, AR 71730                       PO Box 131928
                                                                                    Tyler, TX 75713




John Haak                                 John Hancock Investment Mgt Svs           John Hancock Life Insurance Co
483 Cr 3182                               601 Congress Street 11th Floor            Real Estate Division
Joaquin, TX 75954                         Boston, MA 02210-2805                     John Hancock Pool 1
                                                                                    PO Box 3667
                                                                                    Carol Stream, IL 60132-3667



John Hancock Life Insurance Co U S A      John Hancock Life Insurance Company Usa   John Hand
Attn Property Manager                     601 Congress St                           328 Post Oak Road
111 West Ocean Blvd Suite 1020            6Th Floor                                 Lufkin, TX 75904
Long Beach, CA 90802                      Boston, MA 02210




John Handley Iii                          John Hankins                              John Hardeman Cordell Iv
Route 1 Box 455                           13711 N Virginia Ave                      PO Box 4988
Moscow, TX 75960                          Smithville, MO 64089-8973                 Monroe, LA 71211




John Hardlow Hollis                       John Harmon Farrar                        John Harney Daly
3118 Valley Lake Dr                       308 Janet Kay Drive                       15219 Ember Glen Ct
Bartlett, TN 38135                        Longview, TX 75605                        Houston, TX 77095




John Harris Bristol                       John Harris Stephens Jr                   John Harrod And Wife Jo Ann Harrod
PO Box 101625                             Box 84                                    PO Box 472
Ft Worth, TX 76185                        Thetford Hill, VT 05074                   Diana, TX 75640




John Hayden Larue                         John Hayes Crichton Jr                    John Hebert
10300 N Central Expressway                15 Paradis Plaza 372                      Address Redacted
Building V Suite 470                      Sarasota, FL 34239
Suite 470
Dallas, TX 75231
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John Hemphill As Sep Prop               John Henderson                            John Henderson Ellis Ii
14166 Palo Seco                         9333 4Th Ave                              401 Stevenson Dr
Corpus Christi, TX 78418                Inglewood, CA 90305                       Monroe, LA 71203




John Henry Black                        John Henry Gass Sandra Ann Landry Gass    John Henry Oliver
Box 8                                   2922 Hwy 544                              11 Sedgewood Court
Joaquin, TX 75954                       Ruston, LA 71270                          North Augusta, SC 28960-9660




John Henry Rose Iii                     John Hernandez                            John Hitt
2222 E Bert Kouns Industrial            Address Redacted                          PO Box 98
Loop 169                                                                          Judson, TX 75660
Shreveport, LA 71101




John Homer Rankin                       John Hopson Mcgilvary                     John Howard Blalock
6377 Quay Rd Aj                         PO Box 915                                5055 Old Clarksville Rd
Tucumcari, NM 88401                     Fairfield, TX 75840                       Paris, TX 75462-7814




John I Pearce Jr                        John I Weston                             John Irvine Smither
30 West St Apt 23A                      101 Oak Dr                                c/o Texas State Treasury
New York, NY 10004                      Fairbanks, AK 99701                       Unclaimed Property Division
                                                                                  PO Box 12019
                                                                                  Austin, TX 78711-2019



John Isaac Porter                       John J Chrisman And Wife Penny Chrisman   John J Dazzo Lynn L Dazzo
4100 Fm 1948 North                      PO Box 608                                68035 Marlin St
Burton, TX 77835                        Big Piney, WY 83113                       Mandeville, LA 70471




John J Fosdick Estate                   John J Heaton                             John J Heaton Estate
Barbara Fosdick Ind Executrix           PO Box 2232                               Geraldine R Heaton Ind Exetrix
PO Box 306                              Nacogdoches, TX 75963                     PO Box 632232
Hockley, TX 77447                                                                 Nacogdoches, TX 75963




John J Heyburn                          John J Lendrum Iii                        John J Mitchell
39 Still Forest                         PO Box 847                                PO Box 8187
Houston, TX 77024                       Houston, TX 77001                         The Woodlands, TX 77387-8187




John J Redfern Iii Estate               John J Robert                             John J Rudisill Jr
Doris P Redfern Independent Executrix   6000 Pratt Dr                             3426 Churchill
PO Box 50890                            New Orleans, LA 70122                     Nacogdoches, TX 75965
Midland, TX 79708




John Jay Reed                           John Joseph                               John Joseph Sullivan Fam Trst
3545 Caruth                             George Joseph Trustee                     Michael K Sullivan Et Al
Dallas, TX 75225                        PO Box 1706                               PO Box 1398
                                        Longview, TX 75606                        Casper, WY 82602
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John K Blandford                        John K Butcher                   John K Duncan Trustee Of Dun
2450 Fm 539                             PO Box 1                         1400 Corte Canalette
La Vernia, TX 78121-4470                Shreveport, LA 71161             Bakersfield, CA 93309




John K Patsy W Knotts Ttees             John K Poland                    John Kangerga
Of J K P W Knotts Living Tr             455 Hwy 563                      102 East Main Street
3675 Se Cr 2360                         Dubach, LA 71235                 Henderson, TX 75652
Streetman, TX 75859




John Keith Weaver                       John Kemp Long Parrott           John Kendel Garner Donna Kay Garner
119 Private Road 1612                   2815 Highway 139                 305 Pinecrest Rd
Longview, TX 75605                      Monroe, LA 71203-8558            Arcadia, LA 71001




John Kendel Garner Sp                   John Kenneth Libengood           John Key Logan
305 Pine Crest                          Phyllis Jean Lawless Libengood   3806 Brookhaven Lane
Arcadia, LA 71001                       PO Box 293                       Odessa, TX 79762
                                        Simsboro, LA 71275




John Klemetsen Jr                       John Knox Presbyterian Church    John Kurt Hochenedel Jr
Solhogda 17                             2106 Cooktown Rd                 604 Victoria St
4017 Stavanger                          Ruston, LA 71270                 Monroe, LA 71201
Norway




John L Berg                             John L Blanchard                 John L Courier
Rural Route 3 Box 344                   717 S Sycamore St                PO Box 216
Broken Bow, OK 74728                    Palestine, TX 75801-4449         Driggs, ID 83422




John L Fincher Jr                       John L Gravitt                   John L Horton
17714 Loring Lane                       17 Aqualane Dr                   6005 Fox Ct
Spring, TX 77388                        Winter Haven, FL 33880           Shreveport, LA 71129




John L Lawson                           John L Mann                      John L Otwell
1624 Gieffers Street                    6163 Los Felinos Circle          113 Estates Drive
Lake Charles, LA 70601                  El Paso, TX 799121921            West Monroe, LA 71292




John L Pepper Iii                       John L Putnam                    John L Roach Inc
3895 State Highway 315                  2460 Tree Branch                 1925 Lincoln Plaza
Carthage, TX 75633                      Schertz, TX 78154                500 North Akard
                                                                         Dallas, TX 75201




John L Robertson                        John L Sheehan                   John L Smallwood Tr
PO Box 1600                             2816 Post Oak Dr                 c/o Citizens Bank
Jasper, TX 75951-1600                   Ruston, LA 71270                 PO Box 1700
                                                                         Kilgore, TX 75662
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John L Woodall                          John L Wortham Son L P          John L Wortham Son Lp
1349 Wilkinson Street                   2727 Allen Parkway 24Th Floor   PO Box 203734
Shreveport, LA 71103                    Houston, TX 77019               Houston, TX 77216-3734




John L Wortham Son Lp                   John Lane Norris                John Lang
PO Box 301513                           5665 Hwy 151                    4100 Joe Mallisham Pkwy
Dallas, TX 75303-1513                   Dubach, LA 71235                Tuscaloosa, AL 354019327




John Larry Elmore                       John Lawrence Callaway          John Lawrie Inc
1500 Cr 262                             7323 Debbe Drive                15555 Miller Road 1
Georgetown, TX 78633                    Dallas, TX 75252                Houston, TX 77049




John Lee Bowen                          John Leland Mathewes            John Leonard Spacek
302 Sweet Bay                           808 Mays St                     139 S Colonial Ave 2
Shreveport, LA 71106                    Ruston, LA 71270                Richmond, VA 23221




John Lessie Lorine Thrasher             John Lester Davis               John Lloyd Ward
Char Trust                              PO Box 426                      c/o Barbara Ward
Eddie G Gatlin Trustee                  Commerce, TX 75429              1230 Enota Circle
PO Box 225                                                              Gainesville, GA 30501
Jonesboro, LA 71251



John Lombardo                           John Louis Patterson            John Lowell Brunson
1479 Bluebird Canyon Drive              17606 N 105Th Ave               1188 Beene St
Laguna Beach, CA 92651                  Sun City, AZ 853731949          Haynesville, LA 71038




John M Armstrong Iii                    John M Armstrong Jr Et Ux       John M Brown
c/o Argent Trust Company                Jeanne Patterson Armstrong      PO Box 1032
PO Box 1410                             500 E Reynolds Dr               Luling, TX 78648
Ruston, LA 71273                        Ruston, LA 71270




John M Campbell And                     John M Campbell Co              John M Carnes
Wife Jana B Campbell                    1215 Crossroads Blds            Star Route 1 Box 95
3743 Bell Meadows                       Norman, CA 73072                Woodside, CA 94062
Longview, TX 75605




John M Carroll                          John M Carter                   John M Dunn
1189 Mondy Rd                           1913 S Sneed Ave                7542 Ella Ct
Ruston, LA 71270                        Tyler, TX 75701                 Shreveport, LA 71107




John M Elzey                            John M Evans                    John M Futch Inc
362 Ninth Sreet                         124 Blackburn Avenue            221 Whitman Road
Cornell, IL 61319                       Nashville, TN 37205             Arcadia, LA 71001
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John M Gray Jr And                     John M Green                   John M Gullatt
Andrew R Gray Co Trustees              5224 Lila Wood Cir             605 Northwood Dr
779 Sw 5Th St                          Charlotte, NC 28209            West Monroe, LA 71291
Dundee, OR 97115




John M Harrison Iii                    John M Hill Et Ux              John M Hood
The Harrison Family Trust              795 Maplewood Drive            PO Box 192
6950 Park Slope                        Reno, NV 89509                 Ruston, LA 71273-0192
Tyler, TX 75703




John M Johnson                         John M Lade                    John M Lockridge
2150 West Northwest Highway            1240 Hwy 190 E                 18812 E Salisbury Rd
Suite 114                              Woodville, TX 75979            Independence, MO 64056
Grapevine, TX 76051




John M Madison Jr                      John M Martin Iii              John M Martin Iv
PO Box 21990                           414 Plymouth Ln                13123 Hunters Brook
Shreveport, LA 71120-1990              Laredo, TX 78041               San Antonio, TX 78230




John M Mcginty                         John M Orr                     John M Patrick Jr
2771 Essex Ter                         3351 Killingsworth Ln          100 Pioneer Rd 14
Houston, TX 77027-5211                 Lot 396                        Elk City, OK 73644
                                       Pflugerville, TX 78660




John M Phillips                        John M Preston Jr              John M Ragsdale
2755 Dawson Ave                        521 Amelda St                  6008 Andover Dr
Signal Hill, CA 90755-2021             Waveland, MS 39576             Parker, TX 75002




John M Searcy Jr                       John M Seeligson               John M Sinclair
Box 4                                  13727 Creekside Pl             PO Box 1028
Beckville, TX 75631                    Dallas, TX 75240               Marshall, TX 75671




John M Starke Iii                      John M Talley                  John M Turner
800 Market Street 410                  3110 Cr 43270                  PO Box 274
Chattanooga, TN 37402                  Powderly, TX 75473             Calhoun, LA 71225




John Mac Smith Dealing In              John Madison Brooks Jr         John Maher Iii
His Sole And Sep Prop                  136 Bayou Road                 3737 Kingsley Drive
PO Box 2072                            Greenville, MS 38701           Myrtle Beach, SC 29588
Longview, TX 75606




John Managan Allbright                 John Manette                   John Mapes
PO Box 941                             Tod                            17 S Gifford St
Andrews, TX 79714                      1821 Nw 103Rd Avenue           Elgin, IL 60120
                                       Plantation, FL 33322-3528
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John Mark Cohagen                        John Mark Milam                John Mark Owens
815 Edgewood Place                       1525 Cambridge                 565 Fm 2572
Denton, TX 762091117                     Shreveport, LA 71105           Joaquin, TX 75954




John Mark Price Separate Property        John Marshall Adams            John Marshall Harrison
2171 Mitcham Orchard Rd                  788 Jack London Drive          6570 Ashcroft Drive
Ruston, LA 71270                         Vallejo, CA 94589              Colorado Springs, CO 80918




John Matt Gray                           John Matthew Baker             John Maze
661 Cr 365                               325 Scottsville Xing           449 Treasure Lk
Tokio, TX 79376                          Marshall, TX 75672-6540        Du Bois, PA 15801-9010




John Mccreary                            John Mcdaniel                  John Mcgee Trucking LLC
3610 Beech Hill Dr                       6131 Chrysler Cir              252 Larance Orchard Road
Spring, TX 77388                         Garden Valley, CA 95633-9719   Dubach, LA 71235




John Mcgill Cheesman Jr                  John Mcknight Lee              John Melvin Carpenter
1601 Nantucket B                         1509 Oakdale St                Testamentary Trust Mary
Houston, TX 77057                        Ruston, LA 71270               Wilkes Meadors Carpenter Trste
                                                                        3310 Tates Creek Road
                                                                        Lexington, KY 40502



John Meville Davis                       John Michael Baker             John Michael Battersby
415 N Mckinley St Suite 870              PO Box 248                     3373 Wheatcroft Dr
Little Rock, AR 72205                    Beckville, TX 75631            Cincinnati, OH 45239




John Michael Carter                      John Michael Sharp             John Michael Sour
1401 East Highway 31                     2267 Century Loop              2371 Levy
Longview, TX 75604                       Eros, LA 71238                 Shreveport, LA 71103




John Michel Smith                        John Milton Ashby              John Milton Sinclair Separate Property
13896 Waterchase Way                     9098 Stone Creek               929 Private Rd 1337
Jacksonville, FL 32224                   Tyler, TX 75703                Marshall, TX 75672




John Morris Ware                         John Mosley Newsom Sp          John Musselman
202 Arbor Park Drive                     1691 Hazel Street              727 South Chilton Avenue
Euless, TX 76039                         Arcadia, LA 71001              Tyler, TX 75701




John N Chrisman Revocable Tr             John N Debona Iii              John N George P Thomas Partnership
PO Box 880                               39813 Watters Rd               PO Box 61
Rock Springs, WY 80292                   Ponchatoula, LA 70454-5969     Longview, TX 75606
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John N Mcintyre                         John N Wheelock Iii              John N Wheelock Iii Trrust
6005 Riverview Way                      PO Box 1307                      John N Wheelock Jr Trustee
Houston, TX 77057                       Mason, TX 76856                  PO Box 137
                                                                         Corsicana, TX 75151




John N Wheelock Iii Trust               John Newman                      John Newman Ltd
John N Wheelock Iii Succ Ttee           1404 S China                     Dian Newman Gruel
PO Box 1307                             Brady, TX 76825                  Managing General Partner
Mason, TX 76856                                                          PO Box 503780
                                                                         San Diego, CA 92150



John Nichols Murad Et Ux                John Niles Bell                  John O And Phyllis Adams Jt Tennants
Patricia Davidson Murad                 814 Bradley Dr                   809 S Terri Ann Dr
1329 Mitcham Orchard Road               Athens, TX 75751                 West Covina, CA 91791
Ruston, LA 71270




John O Burns                            John O Marion B Mccann           John O Meyer
617 Shadwell                            1612 Mimosa Cir                  PO Box 235
Garland, TX 75041                       Ruston, LA 71270                 Dillon Beach, CA 94929




John O Sutton                           John OB Connor                   John Obadal Testamentary Trust
PO Box 630876                           513 Mertie Avenue                Citizens National Bank
Nacogdoches, TX 75963                   Palacios, TX 77465               PO Box 820
                                                                         Henderson, TX 75653




John Oliver Sanders                     John Olof Emanuel Attingsberg    John P Albanese
16520 S Tamiami Trl 18 171              c/o Texas State Treasury         Arlene A Roberts Poa
Fort Myers, FL 33908                    Unclaimed Property Division      407 Brentwood Dr
                                        PO Box 12019                     West Memphis, AR 72301
                                        Austin, TX 78711-2019



John P Andrews                          John P Boyle And Belinda Boyle   John P Bryant
315 West Cumberland Rd                  118 Kirk Drive                   5122 Sandyfields Ln
Tyler, TX 75703                         Corsicana, TX 75109              Katy, TX 77494




John P Cobb                             John P Ellis And                 John P Goodson Jr
c/o Bank Of Little Rock                 Linda W Ellis                    PO Box 1748
Acct 2004711                            2367 Akin Rd                     Frisco, TX 75034
5120 Kavanaugh Boulevard                Waskom, TX 75692
Little Rock, AR 72207



John P Joekel Living Trust              John P Johns Sidney Johns        John P Kirk
J P Joekel Trustee                      345 Zion Rest Road               207 Citrus Dr
10006 Kirkhaven Drive                   Jonesboro, LA 71251              Fate, TX 75189
Dallas, TX 75238




John P Klecker                          John P Mcconnell                 John P Oil Co
5816 East Jake Haven                    Address Redacted                 1320 Lake St
Cave Creek, AZ 85331                                                     Fort Worth, TX 76102
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John P Oneil Family Tr                   John P Ramsey                  John P Rossignol
Robert W Oneil Ttee                      6817 Roos Rd                   1486 Londondale Pkwy
3341 Glenhaven Dr                        Houston, TX 77074              Newark, OH 43055
Sachse, TX 75048




John P Searls                            John P Sheilds Inc             John P Shields Inc
PO Box 4023                              507 South 14Th Street          507 S 14Th St
Odessa, TX 79760                         Fort Smith, AR 72901-4607      Fort Smith, AR 72901-4607




John P Strang                            John P Sullivan Jr             John P Wandel Jr
475 Park Ave S Fl 24                     643 Melody Dr                  441 Grant Pl
New York, NY 10016-6901                  Northglenn, CO 80260           Corpus Christi, TX 784111635




John P Watson                            John P Woodley Jr              John Paul Allen
26399 Whispering Pines                   9617 Staysail Ct               5715 Clearwoood
Magnolia, TX 77355                       Burke, VA 22015                San Antonio, TX 78233




John Paul Baremore                       John Paul Davis                John Paul Mathias
7109 Casablanca Ct                       1708 Neil Fox Drive            8871 E Easter Pl
Dallas, TX 75248                         Victoria, TX 77901             Englewood, CO 80112




John Paul Mcguire                        John Paul Pratt Md             John Paul Smitherman
1017 Blumentritt Rd                      63 Rue Du Sud 63               12527 Antonio Place
San Angelo, TX 76905                     Madisonville, LA 70447         Salinas, CA 93908




John Paul Spivey                         John Paul Walker               John Perez Graphics And Design
8401 Wildewood Circle                    12 Polly St                    1723 Analog Drive
College Station, TX 77845                Honea Path, SC 29654           Richardson, TX 75081




John Perry Geis                          John Perry Harden              John Perryman
6274 Kingfisher Ln                       1038 Western Springs Dr        PO Box 101955
Alexandria, VA 22312-3913                Katy, TX 77450-3608            Fort Worth, TX 76185




John Peyton Hunter Part Ltd              John Philip Gonzalez           John Philip Wandel Jr Exempt Lifetime Tr
c/o Kym Comer                            4105 Parkview Terrace Ln       John Philip Wandel Jr Ttee
5949 Sherry Lane                         Dickinson, TX 77539            441 Grant Pl
Suite 780                                                               Corpus Christi, TX 784111635
Dallas, TX 75225



John Phillip Pickett                     John Pierce                    John Preston White
412 Friday Harbour                       2807 Stoker Court              PO Box 271464
Ridgeland, MS 39157-4100                 Hephzibah, GA 30815            Houston, TX 772771464
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John Procter                              John Q Kirkland                John Quincy Adams
209 East 3Rd Street                       8013 Indian School Rd Ne       1705 Gish Lane
Tyler, TX 75701                           Albuquerque, NM 87110-4859     Tyler, TX 75701




John Quincy Younger                       John R Armour                  John R Bowden
1747 W Leighton Ave                       PO Box 361                     179 Ramses Lane
Los Angeles, CA 90062                     Larkspur, CO 80118             Shreveport, LA 71105




John R Bower Ima 4986600                  John R Cochran                 John R Cohagen Sr
c/o Jpmorgan Chase Bank Na                8315 Kelsey Pass               315 E Madison
PO Box 99084                              Missouri City, TX 77573        Overton, TX 75684
Ft Worth, TX 76199-0084




John R Downes Jr Estate                   John R Fisco                   John R Happick
c/o Robert R Downes Indep Executor        PO Box 51086                   Individual Retirement Account
400 South Garfield St                     Midland, TX 79710-1086         Rbc Capital Markets Llc Cust
Arlington, VA 22204                                                      2411 Spring Valley Drive
                                                                         Bel Air, MD 21015-1314



John R Harvey                             John R Hunt                    John R Irwin
161 Good Road                             4500 Onion Rd                  17458 Lakesedge Trail
Fall Branch, TN 37656                     Killeen, TX 76542              Chagrin Fals, OH 44023




John R Lippmann                           John R Locke Jr                John R Mcclendon
PO Box 2908                               100 W Houston St Suite 1800    3308 E 73Rd St
Norman, OK 73070                          San Antonio, TX 78205          Tulsa, OK 74136




John R Mcginley Jr Fam Tr                 John R Mcgrede                 John R Mcgrede Jr Wife Lynda
John R Mcginley Iii Ttee                  PO Box 5393                    L Mcgrede
PO Box 769                                Longview, TX 75608-5393        2936 Smelley Rd
Tulsa, OK 74101                                                          Longview, TX 75605




John R Niland                             John R Owens                   John R Royall
A/W First Interstate Bank                 2431 Briarcliff Dr             4930 Briarwood Place
4612 Rue Terre                            Irving, TX 75062               Dallas, TX 75209
Cheyenne, WY 82003




John R Royall Trust                       John R Schneider               John R Susan R Harvey
PO Box 770                                8844 Chalk Knoll Drive         Tr Dtd 12 19 2008
Palestine, TX 75802-0770                  Austin, TX 78735               John R Susan R Harvey Ttees
                                                                         161 Good Rd
                                                                         Fall Branch, TN 37656



John R Thomas                             John R Vaverka                 John R Watts
15332 Antioch St 804                      3521 South Poplar Street       Individual Retirement Account
Pac Palisades, CA 90272                   Tempe, AZ 85282                Rbc Capital Markets Llc Cust
                                                                         465 Nw 22 Ave
                                                                         Boca Raton, FL 33486-3130
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John R Wood Jr                          John Ragan Colvin                 John Ragan Colvin Et Ux
PO Box 94                               Margaret Pesnell Colvin           Margaret Pesnell Colvin
Vernon, AL 35592                        1598 Hwy 544                      1598 Hwy 544
                                        Ruston, LA 71270                  Ruston, LA 71270




John Ralph Thomas                       John Randall Upchurch             John Randerson Rudd
7250 Lane Park Drive                    130 Stokes Dr                     1738 Bara Dr
Dallas, TX 75225                        Sterlington, LA 71280-2982        El Paso, TX 79935




John Randolph Fedell                    John Randolph Jones               John Ray
7102 Swallow Way                        518 W Tea Rose Ct                 1501 W Division
Cary, IL 60013-6046                     Saratoga Springs, UT 84045-5058   Arlington, TX 76012-3818




John Ray Booker                         John Ray Brown                    John Ray Gary
PO Box 923                              301 Christian Street              513 Cr 4709
Trinton, TX 75862                       Henderson, TX 75652               Troup, TX 75789




John Ray Jones                          John Rayburn James                John Rayder Morris
108 Simon Rd                            2005 Bluebird Ave                 c/o Texas State Treasury
Pleasanton, TX 78064                    Fort Worth, TX 76111-1601         Unclaimed Property Division
                                                                          PO Box 12019
                                                                          Austin, TX 78711-2019



John Raymond Melton                     John Raymond Wylie                John Reed Clay
5357 Harvest Ridge Lane                 12309 Drummon Dr                  507 Calera Pl
Birmingham, AL 35242                    Austin, TX 78754                  Westworth Village, TX 76114




John Rennolds Rhodes Jr Ttee            John Richard Crawford             John Richard Jackson
Jane Rhodes Butt Living Trust           3306 Huntington Drive             PO Box 1079
1301 Potomac Dr Unit D                  Colleyville, TX 76034             Kermit, TX 79745
Houston, TX 77057




John Richard Seale                      John Rickman                      John Robert Adams
3801 Creswell Unit 4                    6105 Raleigh Drive                10706 Huntington Road
Shreveport, LA 71106                    Tyler, TX 75703                   Frisco, TX 75035




John Robert Bell Estate                 John Robert Braziel               John Robert Cherry And Debbie L S Cherry
Beverly Bell Godbey Exec                3606 Edgemont Dr                  3617 Highway 150
6758 Lakewood Blvd                      Austin, TX 78731                  Simsboro, LA 71275
Dallas, TX 75214




John Robert Dowling                     John Robert Garland               John Robert Hammon
4908 Paces Trail                        893 Crouch Road                   851 Sugar Creek Road
Apt 1114                                Benton, LA 71006                  Arcadia, LA 71101
Arlington, TX 76017
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John Robert Killgore                     John Robert Killian Jr         John Robert Kohler
11428 E Whitethorn Dr                    Address Redacted               7156 Royal Lane
Scottsdale, AZ 85262-5695                                               Dallas, TX 75230




John Robert Morell Jr                    John Robinson Photography      John Rochelle
9893 Loveland Ct                         15431 Vassar Street            1750 Mlk Blvd
Shreveport, LA 71106                     Westminster, CA 92683          Ste 109
                                                                        Houma, LA 70360




John Rodger Heaton                       John Rogers Smith              John Romine Trucking Inc
445 Swan Court                           160 Powell Rd                  PO Box 95368
Chestertown, MD 21620                    Logansport, LA 71049           Oklahoma City, OK 73143




John Rosenbach                           John Roy Hennigan Jr           John Roy Jacobs
1271 Avenue of the Americas              1503 Goodwin Road Suite 1      1601 Madison Ave
14th Floor                               Ruston, LA 71270               Roswell, NM 88203-5428
New York, NY 10020




John Roy Lewis                           John Ruckman                   John S Adams
PO Box 852                               115 E Gramercy Pl              PO Box 1
Waterloo, IA 50704                       San Antonio, TX 78212          Gladewater, TX 756470001




John S Allen                             John S Bazzell                 John S Bivins Jr
1806 Northwest Drive                     PO Box 225                     227 Fountainview
Longview, TX 75702                       Longview, TX 75606             Shreveport, LA 71118




John S Dees                              John S Estill Jr Estate        John S Holloway
PO Box 3969                              PO Box 72                      411 Cheyenne Circle
Alice, TX 78332-3969                     Argyle, TX 76226-0072          Scott, LA 70583




John S Mathews                           John S Mckendrick Sr Trust     John S Neilson
749 Cr 2455                              9703 Dove Shadow               290 Skyhill Drive
Shelbyville, TX 75973                    San Antonio, TX 78230          Evergreen, CO 80439




John S Nichols Family Trust              John S Simonton                John S Simonton Jr
314 East 2nd Street                      196 West Shore Dr              C/O John Stayton Simonton
Bonham, TX 75418-4409                    Arcadia, OK 73007              PO Box 419
                                                                        Arcadia, OK 73007




John S Slack Iii                         John S Stone                   John S Turner Jr
214 Woodstone Drive                      824 Walnut Creek Rd            PO Box 5130
Baton Rouge, LA 70808                    Simsboro, LA 71275             Bossier City, LA 71171
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John S Walker Pc                          John S Whelan                     John S Wold Revocable Trst
110 N Church Street                       3707 Barry St                     139 W 2nd St Ste 200
Center, TX 75935                          Marshall, TX 75670                Casper, WY 82601




John S Woodward                           John Sanger                       John Scott Alexander
1834 Pine St                              495 Old Mill Ln                   142 Joe Shovan Rd
Erie, CO 80516                            East Tawakoni, TX 75472           Quitman, LA 71268




John Scott Howie                          John Scott Nichols Trustee        John Smith Deputy Chief South Texas
PO Box 191500                             Of The John Scott Nichols Trust   US Attorney s Office for the SD of Texas
Mobile, AL 366196500                      1115 Lakeshore Dr 104             Wells Fargo Plaza
                                          Lake Park, FL 33403               1000 Louisiana St 2300
                                                                            Houston, TX 77002



John Smith Phillips                       John Somyak                       John Stace Tackaberry
2621 Goldfinch Drive                      19222 N Highlands Bayou Dr        181 Green Mountain Dr
Cedar Park, TX 78613                      Cypress, TX 77433                 Breckenridge, CO 80424




John Stafford Comegys                     John Stayton Simonton Jr          John Stephen Holt
8509 Line Avenue                          Marital Trust                     515 E Capitol Ave Apt 106
Shreveport, LA 71106                      John Staton Simonton Iii Ttee     Little Rock, AR 72202-2488
                                          PO Box 419
                                          Arcadia, OK 73007



John Stephen Mckendrick Jr                John Stephen Stelter              John Steven Allen
204 Sir Arthur Ct                         12228 Big Leaf Way Ne             1806 Northwest Dr
San Antonio, TX 78213-2631                Redmond, WA 98053                 Longview, TX 75604




John Steven Delony                        John Steven Fultz                 John Stewart Perry Jr
20 White Oak Drive                        Address Redacted                  905 Grape Ave
Byhalia, MS 38611                                                           Boulder, CO 80304




John T Autrey                             John T Cameron                    John T Costanza
2446 East Lake Drive                      c/o Texas State Treasury          15403 Oakmont Club Ct
Raleigh, NC 276097610                     Unclaimed Property Division       Houston, TX 77059
                                          PO Box 12019
                                          Austin, TX 78711-2019



John T Derr                               John T Donnell                    John T Donnell Revocable Trust
507 W Wilson St                           609 Paseo Corto                   John T Donnell Trustee
Att Office                                Santa Fe, NM 87501                609 Paseo Corto
Madison, WI 53703                                                           Santa Fe, NM 87501




John T Hanson Tstmntry Trust              John T Hanson Tstmntry Trust      John T Hays
Fbo Jack Alfred Hanson                    Fbo Shirley Mills                 2459 Pinebrook Ct
Shirley Mills Trustee                     Shirley Mills Trustee             Seabrook, TX 77586-2977
1620 North Blvd                           1620 North Blvd
Houston, TX 77006                         Houston, TX 77006
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John T Hemenway                           John T Holmes                  John T Jackson Jr
PO Box 6                                  11312 Bristle Oak Trail        Kathy Harris Administrator
18 Brook Road                             Austin, TX 78750               3183 Dutchtown Rd
Strafford, VT 05072                                                      Homer, LA 71040




John T Latham Floy H Latham               John T Mason Jr                John T Mayo Dgt Tr Dtd 02 01 2011
c/o Texas State Treasurer                 Route 4 Box 424 E              James A Mayo Jr Ttee
Unclaimed Property Division               Cleburne, TX 76031             8119 Fm 666
PO Box 12608 Capitol Station                                             Mathis, TX 78368
Austin, TX 78711



John T Mccall                             John T Mestinsek               John T Nichols
1327 Barrington Dr                        2 Cottonwood Ln                PO Box 323
Coppell, TX 75019                         Lincoln, IL 62656              Guilford, ME 04443




John T Parker Claims Longview Inc         John T Payne                   John T Pyles
PO Box 6233                               4490 Reinhardt Dr              Michelle R Pyles
Longview, TX 75608                        Oakland, CA 94619              PO Box 266
                                                                         Gibsland, LA 71028




John T Robinson Jr Family Tr              John T Scurlock Estate         John T Smith Jr
John T Robinson Jr Trustee                Patricia Scurlock Executrix    PO Box 2760
PO Box 66766                              14136 West Hoffman Road        Kilgore, TX 75663
St Pete Beach, FL 33706                   Hammond, LA 70403




John T Walker                             John Tancred                   John Taylor Hanson
850 West Mission C 9                      101 Rainbow Dr Apt 2588        By Shirley Mills Aif
Ontario, CA 91762                         Livingston, TX 77351           1620 North Blvd
                                                                         Houston, TX 77006-6330




John Terry Allen                          John Thomas Berwick            John Thomas Greer Jr
11105 Kilrenny Ct                         PO Box 5877                    14 Lenon
Louisville, KY 40243                      Longview, TX 75608             Little Rock, AR 72207




John Thomas James Etux                    John Thomas James Jr Etux      John Thomas Martin Jr
PO Box 743                                PO Box 1482                    PO Box 672
Ruston, LA 71273                          Ruston, LA 71273               Joaquin, TX 75954




John Thomas Profit Share Plan             John Thomas Scurlock           John Thomas Wright
John Thomas Trstee                        14136 West Hoffman Road        2160 State Hwy 43 E
PO Box 6881                               Hammond, LA 70403              Henderson, TX 75652
San Antonio, TX 78209




John Timothy Macferrin                    John Todd Bush                 John Tomlinson
15714 Leader St                           742 Cr 4686                    Address Redacted
Taylor, MI 48180                          Timpson, TX 75975
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John Tonne Welding Construction Inc      John Toogood                           John Torbet Gill
PO Box 847                               801 S Sequoia Dr                       8230 Walnut Hill Ln Ste 708
San Angelo, TX 76902-0847                Horseshoe Bend, AR 72512               Dallas, TX 75231




John Trotta                              John Tucker                            John Utzman
Individual Retirement Account            42751 E Florida Avenue Apt 147         15100 Calaveras Drive
Rbc Capital Markets Llc Cust             Hemet, CA 92544                        Austin, TX 78717
145 Clarence Rd
Scarsdale, NY 10583-6201



John V Hanney Trust                      John V Hanney Trust                    John V Hanney Trust
F/B/O Colette Hanney Johnstone           F/B/O Eileen Hanney Romano             F/B/O Patricia Hanney Waschka
Bank One Trust Co Colette H Johnstone    Bank One Trust Co Colette H Johnston   C/O Midfirst Bank Trustee
PO Box 99084                             PO Box 99084                           PO Box 258850
Fort Worth, TX 76199                     Fort Worth, TX 76199                   Oklahoma City, OK 73125



John V Hoy                               John Vickery Van Cleve                 John Votaw
126 Stewart St                           325 Meridian Ave Apt 8                 2727 Cr 3173
St Simons Island, GA 31522               Miami Beach, FL 33139                  Joaquin, TX 75954




John W Adams And Karen H Adam            John W Buffington Trust                John W Burton Living Trust
923 Se Cr 3129A                          John Donna Buffington Ttee             PO Box 1238
Corsicana, TX 75109                      9249 S Broadway 200 501                Carthage, TX 75633
                                         Highlands Ranch, CO 80129




John W Critton                           John W Day                             John W Deck Jr
PO Box 145                               3621 Colgate                           Address Redacted
Taylor, LA 71080                         Dallas, TX 75225




John W Ferguson Jr Revocable Living Tr   John W Foster                          John W Gerster
Regions Nrre Operations Ttee             236 La Jolla Dr                        51 Cherry Valley Road
PO Box 11566                             Athens, TX 75751-3519                  Greenwich, CT 06831
Birmingham, AL 35202




John W Glancy                            John W Gordon                          John W Grant Sr
11680 Hwy 84                             161 Connell Ferry Rd                   3359 Peterson Rd
Mansfield, LA 71052                      Joaquin, TX 75954-2451                 Mcfarland, WI 53558




John W Greer Iii                         John W Harrison Jr                     John W Jenkins Jr
PO Box 51874                             404 W Terrace Drive                    PO Box 580553
Casper, WY 82605                         Longview, TX 75601                     Modesto, CA 95358




John W Jones                             John W Lowery                          John W Lukasko
677 Highway 527                          3329 Sunglow Ave                       2A Fox Run Cove
Elm Grove, LA 71051                      Simi Valley, CA 93063                  Norwalk, OH 44857
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John W Martin                             John W Mcdavid Jr             John W Menefee Jr
609 Zephyr Ln                             145 15Th Street Ne 1205       1116 N Main
Ruston, LA 71270                          Atlanta, GA 30309             Homer, LA 71040




John W Pribyl                             John W R Boyle Trust          John W Reagan
1900 Nw Expressway                        c/o John W R Boyle            PO Box 1174
Suite 1450                                Bank Of America Co Trustees   Blanket, TX 76432
Oklahoma City, OK 73118                   PO Box 840738
                                          Dallas, TX 75284-0738



John W Smith And Diane Green Smith        John W Sparkman               John W Stephenson
123 Bayou Bend Road                       10959 Cr 290                  PO Box 308
Monroe, LA 71203                          Tyler, TX 75707               Orange, TX 77631




John W Taylor Jr Trustee                  John W Ward                   John W Wilde Jr
Cornerstone Land Mineral Trust            c/o Texas State Treasury      3012 Country Meadows Lane
PO Box 440783                             Unclaimed Property Division   Maryville, TN 37803
Houston, TX 77244                         PO Box 12019
                                          Austin, TX 78711-2019



John W Williams                           John W Williams               John Wade Garnett Jr
1000 Louisiana 2900                       1174 Cr 3150                  3231 Woodchuck Road
Houston, TX 77002                         Deberry, TX 75639             Montgomery, TX 77356




John Waite Swanson                        John Walker Brewer And        John Walker Price
PO Box 762                                Margaret Jones Brewer         113 Sussex Court
Rawlins, WY 82301                         1115 Center Street            Bossier City, LA 71111
                                          Ruston, LA 71270




John Walter Nicholson                     John Walter Nicholson         John Walter Sanders
Children Trust                            PO Box 160127                 6218 Del Monte
C/O John W Nicholson Ind/Exc              Austin, TX 787160127          Houston, TX 77057
PO Box 160127
Austin, TX 787160127



John Walter Sanders Trust                 John Walter Sims              John Wandel Thompson
Daisy Camille Sanders Rev Trt             132 E Mccormick               Family Trust
John Walter Sanders Sub Ttee              Shreveport, LA 71104          John Wandel Thompson Trustee
6218 Del Monte                                                          2055 Sacramento Street 803
Houston, TX 77057                                                       San Francisco, CA 94109



John Wandel Thompson Exempt Lifetime Tr   John Wardlow Hollis           John Warne Herbert Trust
John Wandel Thompson Trustee              3118 Valley Lake Drive        J P Morgan Chase Bank Na
2055 Sacramento Street 803                Bartlett, TN 38135            John Herbert Joanne Bilby
San Francisco, CA 94109                                                 Po Drawer 99084
                                                                        Ft Worth, TX 76199-0084



John Wayne Cockrell                       John Wayne Phillips           John Wayne Ritter
PO Box 322                                415 Garrett Rd                PO Box 1024
Prosper, TX 75078                         Yoakum, TX 779956834          Kilgore, TX 75662
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John Wayne Walker                        John Wesley Bridges              John Wesley Cordray
892 Harmony Church Road                  3946 Carlyss Dr                  1004 Texas Drive
Arcadia, LA 71001                        Sulphur, LA 70663                Carthage, TX 75633




John Wesley Oneil                        John West Surveying Company      John Wiley Keys
PO Box 788                               412 N Dal Paso                   620 S 28Th Ave
Beeville, TX 78104                       Hobbs, NM 88240                  Apt 721
                                                                          Hattiesburg, MS 39402




John Wilks                               John William Barnett             John William Cooke Ii
PO Box 362                               1555 California St               200 Timberlane
Marion, LA 71260                         Apt 405                          Carthage, TX 75633
                                         Denver, CO 80202




John William Edmondson                   John William Farrar Family Tst   John William Harris Jr
3109 Claiborne Cir                       Mary L Farrar Trustee            20540 Highway 46 West
Monroe, LA 71201                         200 Hudgins                      Suite 115 418
                                         Smithville, TX 78957             Spring Branch, TX 78070-6825




John William Hennington                  John William Lucas               John William Roy Sr
4341 Chelsea                             519 Winston Court                16 N 702 Meriweather Ln
Wichita Falls, TX 76309                  Eagle Point, OR 97524            West Dundee, IL 60118




John William Wylie                       John William Zant                John Williams
1512 East Lantrip                        3301 Hwy 137                     1110 Creekview Dr
Kilgore, TX 75662                        Stanton, TX 79782                Round Rock, TX 78681




John Williams                            John Willis Barnett Et Al        John Willis Westmoreland
7010 Kayleigh Ct                         Terry S Barnett                  13611 Sycanire Tree Kb
Sugar Land, TX 77479                     Mickey Howard Sherrill           Poway, CA 92064
                                         1183 Cooper Road
                                         Dubach, LA 71235



John Wilson Kelly Aka Johnny Johnson     John Winford Dye Ii              John Winslow Wideman Estate
8884 Cr 476 South                        PO Box 158                       Brett Ronald Windeman Gen Ptr
Henderson, TX 75654                      Hodge, LA 71291                  2845 Skyline Falls Dr
                                                                          Sand Springs, OK 74063




John Woodley Phillips                    Johna Sue East                   Johnanthony Tapia
PO Box 1059                              6635 Oakwood Dr                  Address Redacted
Menlo Park, CA 94026                     Gilmer, TX 75645




Johnathan Williams                       Johnathon Mark Wood              Johnathon T Kilpatrick
3019 Eagle Ridge Ln                      359 Mutt Hood Road               14917 Spruce St
Birmingham, AL 35242                     Arcadia, LA 71001                Little Elm, TX 75068
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Johnco Sales Company Inc                 Johnetta B Brim                Johnette Bond Alex
PO Box 69295                             214 N Poinsetta Ave            11 Anglers Pond Ln
Odessa, TX 79769                         Compton, CA 90221              Hilton Head Island, SC 29926-2614




Johnette Wilson                          Johnie H Scott                 Johnie Harold Scott Sp
305 S Wood                               18601 Hatteras St Apt 213      18601 Hatteras Street 213
Staunton, IL 62088                       Tarzana, CA 91356              Tarzana, CA 91356




Johnie Lucille Fields                    Johnise Perry Walker           Johnita Elizabeth Davis Matkins
3299 Fm 699                              14231 Fm 1464 Rd Apt 1105      3911 Park Circle Way
Carthage, TX 75633                       Sugar Land, TX 77074           Houston, TX 77059




Johnna M Teal                            Johnnie A Hill Estate          Johnnie B Beer Sr
5600 Timber Ln                           Mary Ann Hill Ward Executor    758 Parkway Drive
Oklahoma City, OK 73111                  1592 Mcmurray Rd               Martinez, CA 94553
                                         Henderson, TX 75654




Johnnie B Boyd                           Johnnie B Crawford Goree       Johnnie B Duggan
944 Dan Lenard Rd                        3202 Polk Street               Rr 2
West Monroe, LA 71291                    Monroe, LA 71202               Shreveport, LA 71109




Johnnie B Ramsey                         Johnnie Brindley Ramsey        Johnnie Brown Roberts
4803 Hamilton Wolfe 915                  6817 Roos Rd                   43 240 Burr Street
San Antonio, TX 78229                    Houston, TX 77074              Indio, CA 92201




Johnnie Carter                           Johnnie Drake                  Johnnie Elaine Ables
113 Ned Williams Rd                      2403 Wynne Wood Dr             410 Rue Colombe
Longview, TX 75602                       Dallas, TX 75224               Carencro, LA 70520-6257




Johnnie F Goodwin                        Johnnie Faye Morris Taylor     Johnnie Graham Caver
18252 Oak Lane Avenue                    1985 Pilgrim Rest Rd           165 Jefferson Ave
Baton Rouge, LA 70816                    Doyline, LA 71023-3036         132 Russ House
                                                                        Ruston, LA 71270




Johnnie Holcomb Handley                  Johnnie L Mary Parma           Johnnie Lee Johnson
5801 Brickplant Road                     Route 1 Box 408                601 E Main St
Amarillo, TX 79124                       Joaquin, TX 75954              Little River Ac, TX 76544




Johnnie Lee Sellers                      Johnnie M Collier              Johnnie M Hamilton
14420 Southeast 198Th St                 214 Cr 303                     B C Hamilton
Renton, WA 98058                         Carthage, TX 75633             120 Aransas
                                                                        Levelland, TX 79336-8001
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Johnnie M Tatum Ophelia Aulds Tatum       Johnnie M Taylor               Johnnie Mae Johnson
2354 Highway 820                          3034 Frick Rd                  1605 Madera
Choudrant, LA 71227                       Houston, TX 77038              Garland, TX 75040




Johnnie Mae Riley                         Johnnie Margret Taylor         Johnnie Michael Betty
PO Box 742727                             15202 Old Creek Road           3812 Cross Bend Road
Houston, TX 77274-2727                    Houston, TX 77060              Plano, TX 75023




Johnnie N Thomas                          Johnnie P Wanger               Johnnie R Heaton Copeland
310 Mosher Dr                             17812 Summer Hl                PO Box 7621
Prophetstown, IL 61277                    Flint, TX 75762                Shreveport, LA 71137




Johnnie R Williams                        Johnnie T Andrews              Johnnie V Bowens
233 S 17Th Street                         203 Vz Cr 2313                 8990 Cr 3206
Richmond, CA 94804                        Canton, TX 75103               Mt Enterprise, TX 75681




Johnny Allen Reed                         Johnny B Smith                 Johnny C Emory
c/o State Comptroller                     3232 Frederick St              Route 1 Box 106
PO Box 12019                              Shreveport, LA 71109           Lobelville, TN 37097
Austin, TX 78711-2019




Johnny Caldwell                           Johnny Cleveland Hammons       Johnny David Thomas
6909 N Charleston Dr                      9453 Highway 145               3935 Susan Dr
Kansas City, MO 64119                     Downsville, LA 71234           Ringgold, LA 71068




Johnny Edward Ferguson                    Johnny F Allison               Johnny F Wallace
115 County Road 1132                      701 E Todd                     8819 Cr 476 S
Kilgore, TX 756628573                     Minden, LA 71055               Henderson, TX 75654




Johnny Frank Austin                       Johnny Frazier                 Johnny Fuller
c/o Texas State Treasury                  354 Liberty Cut Off            3205 Granada Dr
Unclaimed Property Division               Marshall, TX 75672             Mesquite, TX 75181
PO Box 12019
Austin, TX 78711-2019



Johnny Helpenstill                        Johnny Holder                  Johnny Jefcoat
2315 Fairway Circle                       402 Cherokee                   PO Box 473
Pearland, TX 77581                        Henderson, TX 75652            Scott, LA 70583




Johnny Johnson Insurance Agncy            Johnny Keith Hammons           Johnny L Bloom
1710 W Texas                              219 Hwy 145                    1875 County Road 1577
Midland, TX 79701                         Downsville, LA 71234           Hughes Springs, TX 756566079
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Johnny L Holmes                          Johnny L Latka Jr              Johnny L Liles
PO Box 1525                              7032 E Loop 1604 S             PO Box 3842
Carthage, TX 75633                       Adkins, TX 78101-2515          N Myrtle Beach, SC 29582




Johnny L Mccune                          Johnny L Ritter                Johnny L Swindell
PO Box 1086                              912 N Gholston St              11330 Amanda Lane Apt 1015
Henderson, TX 75653                      Carthage, TX 75633             Dallas, TX 75238




Johnny Lagunas                           Johnny Latham Graves           Johnny Lavelle Jackson
Address Redacted                         54 S Vesper Bend Cir           1614 Cornell Avenue
                                         Spring, TX 77382-5519          Ruston, LA 71270




Johnny Lorain Neal Jr                    Johnny Madden                  Johnny Maryland
563 Annarose Drive                       Address Redacted               126 Brownville Church Rd
Dallas, TX 75232                                                        Columbia, LA 71418




Johnny Miles                             Johnny Powell                  Johnny R Anne M W Crawford
PO Box 8131                              2218 Frances Drive             819 Haynes St
Amarillo, TX 79110                       Garland, TX 75042              West Monroe, LA 71291




Johnny R Or Diane Wheat                  Johnny Rae Long Hurlbut        Johnny Ray And Richard W Booker
12993 State Highway 11 W                 428 Willowdale Blvd            Edith Booker A I F
Cumby, TX 75433                          Luling, LA 70070               c/o Frank A May
                                                                        Rt 3 Box 528
                                                                        Mansfield, LA 71052



Johnny Ray Booker                        Johnny Ray Crawford            Johnny Ray Simonton
PO Box 923                               819 Haynes St                  551 Hwy 563
Trinity, TX 75862                        West Monroe, LA 71291          Dubach, LA 71235




Johnny Roy Pappa                         Johnny S Weiss                 Johnny Sanchez
531 Sandpiper                            Seymour Weiss Trust Fbo        Address Redacted
Stonewall, LA 71078                      Bank One La Na Trustee
                                         PO Box 99084
                                         Fort Worth, TX 76199



Johnny Scott                             Johnny Shook                   Johnny T And Delores W Johnson
229 Adams Ave                            PO Box 7                       PO Box 2641
Grambling, LA 71245                      Lamesa, TX 79331               Monroe, LA 71207




Johnny W Booker Sp                       Johnny W Lang Sr               Johnny Walter Hassen
PO Box 590                               362 Blueberry Lane             908 Garr Road
Gibsland, LA 71028                       Grand Prarie, TX 75052         Ruston, LA 71270
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Johnny Wayne Cooper                        Johnny Weaver Lanette Weaver     Johnny Wright Life Estate
120 Dixon Landing Rd Spc 42                4445 Fm 225 South                Remainder To Kim Wright Lisa
Milpitas, CA 95035                         Henderson, TX 75654              W Haines
                                                                            PO Box 504
                                                                            Grosbeck, TX 76642



Johnnye Ruth Baton                         Johns Hopkins University         Johns Pump Supply Inc
15350 Fm 2276 N                            1101 E 33Rd St Ste E 200         PO Box 1093
Kilgore, TX 75662                          Baltimore, MD 21218              Snyder, TX 79549




Johnson Ryan P                             Johnson Davis Mccall             Johnson Lift/Hyster
Address Redacted                           Maurice Arnold Mccall            2600 S Peck Road
                                           PO Box 283                       City Of Industry, CA 90601
                                           Plain Dealing, LA 71064




Johnson Mary Lou Sealey                    Johnson Matthey Inc              Johnson Minerals Company
308 Country Club Blvd                      PO Box 88865                     624 Travis
Slidell, LA 70458                          Dept 210                         Suite 200
                                           Chicago, IL 60695-1865           Shreveport, LA 71101




Johnson ONeal Walpole                      Johnson Pace Inc                 Johnson Screens Inc
3241 Audubon Place                         Union Plaza I                    11939 Aldine Westfield Rd
Ruston, LA 71270                           1201 Nw Loop 281 Lbj             Houston, TX 77903
                                           Longview, TX 75604




Johnson Sewell Ford Lincoln                Johnson Specialty Tools          Johnson Specialty Tools
3301 Highway 281 North                     Jennifer Buhigas                 PO Box 2265 Dept 801
Marble Falls, TX 78654                     10000 Memorial Drive Suite 330   Houston, TX 77252-2265
                                           Houston, TX 77024




Johnson Trust                              Johnson Trust                    Johnston And Johnston
Ben Johnson Iii Trustee                    Rock Springs National Bank       PO Box 2215
PO Box 632                                 Trustee                          Monroe, LA 71207
Mansfield, LA 71052                        PO Box 880
                                           Rock Springs, WY 82902



Johnston Cloud Inc                         Johnston Enterprises LLC         Johnston Family LLC
940 East 51st Street                       PO Box 1112                      7838 S Wadsworth Way
Suite 103                                  Longview, TX 75606-1112          Littleton, CO 80128
Austin, TX 78751




Johnston Family Trust                      Johnston Family Trust            Johnston Lewis Family Trust
F/B/O Pamela J Lewis Trustee               Thomas S Johnston Trustee        Pamela J Lewis Trustee
PO Box 249                                 4690 Pioneer Road                PO Box 249
Creede, CO 81130                           Medford, OR 97501                Creede, CO 81130




Johnye Cannon Sturcken Trustee             Joice Mangham Dunn               Joie Golson Perry
Of The Living Trust Of                     PO Box 76                        4620 Greenway
Johnye Cannon Sturcken                     Ruston, LA 71273-0076            Hobbs, NM 88240-1320
Route 2 Box 63
Campbell, TX 75422
                      Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 739 of 1524

Jolene Graves                             Jolley Castillo Drennon Ltd        Jomac Properties
PO Box 11343                              Dba Sierra Engineering             PO Box 5772
Salt Lake City, UT 841470343              PO Box 50203                       Shreveport, LA 71135-5772
                                          Midland, TX 79710




Jon Allison Hudgens                       Jon B Holloway                     Jon B Ruff
1409 Holly Creek Dr                       PO Box C                           13 Iris Circle
Tyler, TX 75703                           Mexia, TX 76667                    Longview, TX 75601




Jon Byk Hilary Byk                        Jon D Shook Sharon K Shook         Jon Daniel Dunham
Living Trust Dtd 9/3/93                   Joint Revocable Trust              PO Box 909
216 North Saltaei                         689 Oak Dr                         Cleburne, TX 76033
Los Angeles, CA 90049                     Durango, CO 81301




Jon E Givens                              Jon Eric Bladine                   Jon Forsythe Sr
269 Garr Road                             PO Box 1487                        1102 S Day Street
Ruston, LA 71270                          Mcminnville, OR 97128              Brenhan, TX 77833




Jon Gregg                                 Jon Gregory Mclean                 Jon Hannum
PO Box 818                                5530 Willow Ln                     8140 Greenslope Dr
Palestine, TX 75802                       Dallas, TX 75230                   Austin, TX 78759-8733




Jon Hunter Clemens                        Jon Jeremy Dye                     Jon King
28 Marguerite Drive                       9200 Stonebridge Circle            390 Fm 2570
Longview, TX 75601                        Shreveport, LA 71115               Fairfield, TX 75840




Jon Leboeuf                               Jon M Cooper Trevelyn T Cooper     Jon M Mcfarland
Address Redacted                          PO Box 1293                        7 Flatcreek Place
                                          Hallsville, TX 75650               The Woodlands, TX 77381




Jon M Morgan                              Jon M Morgan Money Purchase Plan   Jon P Wothe Deceased
PO Box 1015                               PO Box 1015                        1917 72nd St
Midland, TX 79702                         Midland, TX 79702                  Darien, IL 605673541




Jon Patrick Kennedy                       Jon R Martin Chris Martin          Jon R Pruet And Virginia S Pruet
2601 Antler Rd                            4668 Roberts Cove Rd               528 Yale St
Gillette, WY 82718                        Rayne, LA 70578                    Houston, TX 77007




Jon R Stroud                              Jon Robin Rowland                  Jon S Brown
7410 Sw 76Th Avenue                       186 Mcdowell Street                PO Box 246
Portland, OR 97223                        Doyline, LA 710230092              Palestine, TX 75802-246
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Jon T Schreiber                          Jon Taylor                               Jon W Peebles
13275 South Hillcreek Road               c/o Ascent Oil Gas Consultants           1035 Plateau Dr
Whitehouse, TX 75791                     Attn Carolyn Mayfield                    Duncanville, TX 75116
                                         2935 Toccoa Rd
                                         Beaumont, TX 77703



Jonah Gas Company LLC                    Jonas Martin Frost Iii                   Jonathan A Kidd
PO Box 50190                             417 N Saint Asaph St                     PO Box 197
Casper, WY 82605                         Alexandria, VA 223142317                 Gibsland, LA 71028




Jonathan A Moore                         Jonathan A Taylor Chasity Cross Taylor   Jonathan Allison
2900 N 22nd St L 9                       PO Box 1213                              Address Redacted
Rogers, AR 72756                         Lowell, AR 72745




Jonathan B Davis Ttee                    Jonathan Bryan Bazer                     Jonathan C Shaw
Jonathan B Davis Defd Benefit U/A        110 Platt Drive                          12330 Red Hawk Drive
Dtd 12/31/2004                           Haughton, LA 71037                       Frisco, TX 75033
12120 Rosswood Drive
Monrovia, MD 21770-9454



Jonathan C Smith                         Jonathan Clarkson                        Jonathan Craig Jones
3764 Spyglass Loop Se                    510 Pine Shadows Drive                   1501 Bittersweet
Rio Rancho, NM 87124                     Houston, TX 77056                        Ruston, LA 71270




Jonathan Crites                          Jonathan D Emory                         Jonathan Daniel Bresee
Address Redacted                         4433 Hwy 412 East                        10864 State Highway 110
                                         Linden, TN 37096                         Van, TX 75790




Jonathan Dawson Lynch                    Jonathan E Bird                          Jonathan E Watson
6658 Lake Run Dr                         3540 W Sahara Avenue 248                 107 Norman Dr
Flowery Branch, GA 30542                 Las Vegas, NV 89102                      Laredo, TX 78045




Jonathan E Watson Trustee                Jonathan F Adland                        Jonathan Gaskamp
Jonathan E Watson Gst Exempt             6751 Harbor Dr Nw                        Address Redacted
PO Box 1418                              Canton, OH 44718
Laredo, TX 78042




Jonathan Haar                            Jonathan Jones                           Jonathan M Evans LLC
13 Arlington Street                      126 Oak Place Dr                         6711 N Lakeshore Dr
Cambridge, MA 02140                      Houston, TX 77006                        Shreveport, LA 71107




Jonathan M Milstead                      Jonathan Murphy                          Jonathan R Gerber
Allison R Milstead                       3315 12Th St Se                          Address Redacted
2221 Arabella                            Washington, DC 20032
Ruston, LA 71270
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Jonathan Thompson                        Jonathon Kent Weed                Jondy Tuico
PO Box 534                               219 Floral Bluff Ct               Address Redacted
Mentmore, NM 87319                       Rosenberg, TX 77469




Jone Wilson                              Jonell Crim Hedge                 Jonell J Gilmore Estate
c/o Teri Physioc Personal Represt        Pmb Box 164                       Charlie D Nelms Personal Repr
PO Box 5216                              713 W S W Loop 323 Ste H          1404 South 16Th Street
Goodyear, AZ 85338                       Tyler, TX 75701                   Lovington, NM 88260




Jonell Mikule                            Jones Caston T                    Jones And Gonzales Pc
c/o Texas State Treasury                 Address Redacted                  PO Box 560
Unclaimed Property Division                                                Laredo, TX 78042-0560
PO Box 12019 Capitol Station
Austin, TX 78711-2019



Jones Communications LLC                 Jones County Appraisal District   Jones Daube Minerals Company
4912 Fm 2208 South                       Kim Mclemore Chief Appraiser      PO Box 1169
Longview, TX 75605                       PO Box 348                        Duncan, OK 735341169
                                         Anson, TX 79501




Jones Energy Inc                         Jones Family Trust                Jones Family Trust
807 Las Cimas Pkwy Ste 350               c/o Kathleen S Lair Trustee       PO Box 1249
Austin, TX 78746                         PO Box 2134                       Marshall, TX 75670
                                         League City, TX 77574




Jones Fluid Co LLC                       Jones Gill                        Jones Jean Watts
45 Porter Street                         6363 Woodway Dr Ste 1100          2855 Zinnia Road
Center, TX 75935                         Houston, TX 77057                 Diana, TX 75640




Jones Kyle                               Jones Land Minerals Co LLC        Jones Lang Lasalle Americas Inc
PO Box 1874                              2124 Fairfield Avenue             Bmo Harris Bank Na
Midland, TX 79702                        Shreveport, LA 71104              33832 Treasury Center Drive
                                                                           Chicago, IL 60694-3800




Jones Lang Lasalle Brkge Inc             Jones Lester LLP                  Jones Lumber Company Inc
71700 Treasury Center                    Paul R Huff Esq                   PO Box 40
Chicago, IL 60694-1700                   300 E Esplanade Drive 1200        Lynwood, CA 90262-0040
                                         Oxnard, CA 93036




Jones Martha                             Jones Trenton                     Jonezy Hot Shot Service
2411 N Industrial                        11614 County Road 398 East        2616 E 17Th St
Tyler, TX 75702                          Henderson, TX 75652               Odessa, TX 79762




Joni Kay Fletcher Krause                 Joni Oneal Poindexter             Jonna Sue Morrison Elzen
824 Norton Circle                        4820 Westgrove Dr Apt 3109        6488 Crumpler Blvd
Mesquite, TX 75149                       Addison, TX 75001                 Olive Branch, MS 38654
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Jonnie Sattiewhite                        Jonny Edward Ferguson          Joonhong Min Ttee
c/o State Of Texas Treasury               115 County Road 1132           Min Radiology Inc 401K Plan
Unclaimed Property Division               Kilgore, TX 756628573          Dtd 12/20/07 Fbo Joonhong Min
PO Box 12019                                                             97 Bradford Rd
Austin, TX 78711-2019                                                    Weston, MA 02493



Jordan Cade Bellows                       Jordan Gilbert Lyons Admin     Jordan Harley Massad
PO Box 685 George West                    Estate Of Stephen Lyons        2522 Maverick Avenue
Live Oak, TX 78022                        PO Box 3263                    Dallas, TX 75228
                                          Ruston, LA 71272




Jordan Norton Boyd                        Jordan P J                     Jordan R Smith
43524 W Mccord Dr                         1901 Audobon Place             PO Box 5038
Maricopa, AZ 85138                        Shreveport, LA 71105           Englewood, CO 80155-5038




Jordan Wilson                             Jordana Deguire                Jordance Energy Inc
775 E Blithedale Avenue 165               250 Columbine Street           1615 California St Suite 702
Mill Valley, CA 94941                     Unit 310                       Denver, CO 80202
                                          Denver, CO 80206




Jordanos Food Service Division            Jorge Guzman Martha Marquez    Jorge Vidaurri
PO Box 6803                               4677 Hwy 225 South             3306 Gieberger Court
Santa Barbara, CA 93160-6803              Henderson, TX 75652            Laredo, TX 78045




Joris Lamar Spigner                       Jorlene Lewis Hunter           Jory L Bernard LLC
3406 G E Drive                            1374 Thomas Ave                PO Box 82448
Tyler, TX 75702                           San Francisco, CA 94124        Lafayette, LA 70598




Jos Anchor Service Inc                    Jose A Barrera                 Jose A Rugama Est
PO Box 594                                10222 Severn                   7718 Mcpherson Rd Ste 304
Kermit, TX 79745                          San Antonio, TX 78217          Laredo, TX 78045




Jose Angel Martinez                       Jose Antonio Rugama            Jose D Contreras Pamela Contreras
216 Sun Ray Loop                          PO Box 430563                  PO Box 15
Laredo, TX 78041                          Laredo, TX 78043-0563          Joaquin, TX 75954




Jose Efrain Martinez                      Jose Esperanza Aviles          Jose Joel Juarez
822 North Marshall                        3404 S Buena Vista             Address Redacted
Henderson, TX 75652                       Laredo, TX 78043




Jose Joel Tovar                           Jose Luis Aviles               Jose M Hernandez Maria D Hernendez
Maria L Tovar                             218 Riverbank                  2503 Hwy 544
196 County Road 4371                      Laredo, TX 78040               Ruston, LA 71270
Tenaha, TX 75974
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Jose M Ruiz                            Jose Morato                      Jose Ramon Fernandez Olimpia Fernandez
1719 Laredo St                         Address Redacted                 1046 Fm 450 South
Laredo, TX 78043-3315                                                   Hallsville, TX 75650




Jose Roberto Gutierrez                 Jose Tadeo Lugo Castillo         Joseph A Amato
107 Primrose Ln                        24535 Springwood Glen Ln         568 Dover Rd
Laredo, TX 78041                       Katy, TX 77494                   Oceanside, NY 11572




Joseph A Bedgood                       Joseph A Murro                   Joseph A Obrien
PO Box 288                             1425 W Fullerton Ave             9 Camden Place
Alice, TX 78333                        Chicago, IL 60614                Corpus Christi, TX 78412




Joseph Ables Nelwyn Ables              Joseph Adams                     Joseph Ambrose Johnson Iii
2511 Fm 1462 Road                      6518 South Ingleside             568 Clear Springs Road
Alvin, TX 77511                        Chicago, IL 60637                Fredericksburg, TX 78624




Joseph Anthony Boyd                    Joseph B Bramlette Tr Regions    Joseph B Florence J Alexander
8901 Kurten Cemetery Road              Bank Nrre Operations Trustee     240 N Crescent Dr
Bryan, TX 77808                        Acct 390347011                   Beverly Hills, CA 90210
                                       PO Box 11566
                                       Birmingham, AL 35202



Joseph B Kennedy Ii                    Joseph B Williams                Joseph B Williams Ii
9639 Park Highlands Dr                 810 N Vienna                     203 Mowah Drive
Dallas, TX 75238                       Ruston, LA 71270                 Oakdale, LA 71463




Joseph Bailey Herrington Iii           Joseph Benard Emmons Estate      Joseph Bernard Emmons
Family Trust Acct 014 01933            Roger D Emmons Executor          2861 Hwy 190 E
PO Box 840738 Nationsbank Of           280 Waka                         Livingston, TX 77351
Texas Na Trustee                       Livingston, TX 77351
Dallas, TX 75284-0738



Joseph Bernard Emmons Estate           Joseph Boardman Karen Boardman   Joseph Brewer Bell
Donna Schwarz Independent Admn         Jt W/ Right Of Suvivorship       309 Aspen Ct W
2607 Willowyck Circle                  2935 Baylor Drive                Aledo, TX 76008
Pearland, TX 77584                     Boulder, CO 80305




Joseph C Channell                      Joseph C Emmett                  Joseph C Isley
118 Bear Creek Rd                      307 Elaine Dr                    9077 Dover Street
Ruston, LA 71270-1639                  Athens, TX 75751-3442            Westminister, CO 80021




Joseph C Stewart                       Joseph C Stiles Jr               Joseph C Stiles Jr Tr
PO Box 631473                          PO Box 1597                      PO Box 1597
Nacogdoches, TX 759631473              Ashland, VA 23005                Ashland, VA 23005
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Joseph C Watkins                         Joseph Carnahan Lesage Jr Est   Joseph Carr Patrick
Address Redacted                         3358 Eastwood Dr                3234 Carlton Road
                                         Shreveport, LA 71105            Kaplan, LA 70548




Joseph Chau                              Joseph Christopher Baughman     Joseph Clifford Brunson
Suite 1920 One Bentall Centre            PO Box 914                      5914 Harbor Town Dr
505 Burrard Street                       Farmerville, LA 71241           Garland, TX 75044-4949
Vancouver, BC V7X 1M6
Canada



Joseph Clinton Allen                     Joseph Clyde Tomlinson          Joseph Collin Hays
Ann Barr Allen                           PO Box 6260                     151 Chimney Stone Way
5073 Westrilee Dr                        Longview, TX 75608              Shreveport, LA 71115
Benton, LA 71006




Joseph Crain                             Joseph D Chamberlain            Joseph D Loria
c/o John F Mcbride Poa                   4905 North Creek Crossing       102 Hilltop Lane
609 Cloverlane Drive                     Flower Mound, TX 75022          West Jefferson, NC 28694
Sycamore, IL 60178-2303




Joseph Daas                              Joseph David Kent               Joseph David Smith
64 Live Oak Lane                         78 English Turn Drive           1345 Willow Oak Road
Stafford, VA 22554                       New Orleans, LA 70131           Gladewater, TX 75647




Joseph Denning Key                       Joseph Denning Key Tr           Joseph Di Buono
615 S Broadway Ste 298                   William O Key Ttee              61 Broadway 31st Floor
Tyler, TX 75701                          315 N Broadway Ste 503          New York, NY 10006
                                         Tyler, TX 75702




Joseph Doherty                           Joseph Drew Radescich           Joseph E Ella Mae Dishman
3641 S Bentley Ave                       340 Sunshine Road               1085 Buckhall Road
Los Angeles, CA 90034                    Simsboro, LA 71275              Shreveport, LA 71111




Joseph E Moore                           Joseph E Norma C Moore          Joseph E Simmons
9665 Calliope Lane                       2202 Bermuda Drive              7418 Cr 235 Norh
Shreveport, LA 71115                     Laredo, TX 78045                Henderson, TX 75652




Joseph E Stroube Agency 828              Joseph E Ternes Jr              Joseph E Williams Jr
Bank Of America Na Agent Acct 0408       220 Cardinal Lane               121 Texas St
PO Box 840738                            Henderson, KY 42420             Natchitoches, LA 71457
Dallas, TX 75284-0738




Joseph Earl Melton                       Joseph Edward Moore             Joseph F Mach Iii
806 Lehman St                            2202 Bermuda Dr                 PO Box 5811
Houston, TX 77018                        Laredo, TX 78045                Waco, TX 76708
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Joseph F Pecarrere                         Joseph F Rowe                    Joseph Family Trust
444 Foxtrot Dr                             1243 Cr 432                      PO Box 1706
Mansfield, LA 71052                        Joaquin, TX 75954                Longview, TX 75606




Joseph G Descant Iii And Marry K Descant   Joseph G Meinert LLC             Joseph G Mitchell Iii
2455 Coulee Crossing                       10133 Tiffany Drive              15 Blossom Court
Woodworth, LA 71485                        River Ridge, LA 70123            South Barrington, IL 60010




Joseph Gottlieb Simmons                    Joseph Gregory Pesnell           Joseph H Rhees
7212 Joliet Ave                            285 Hayfield Lane                6814 E 79th Place
Baton Rouge, LA 70806                      Simsboro, LA 71275               Tulsa, OK 74133




Joseph H Shelton Jr                        Joseph Harold Coleman Jr         Joseph Henry Tucker Iii
1520 Orca St                               6010 Lakehurst Drive             PO Box 55453
Anchorage, AK 99501                        Arlington, TX 76016              Virginia Beach, VA 23471




Joseph Herman Morris                       Joseph Hightower                 Joseph Investments Ii Ltd
5146 Hwy 191                               c/o Texas State Treasury         PO Box 1706
Mansfield, LA 71052                        Unclaimed Property Division      Longview, TX 75606
                                           PO Box 12019
                                           Austin, TX 78711-2019



Joseph Investments Ltd                     Joseph J Callahan                Joseph J Ewell
PO Box 1706                                Global Corp Action Dept JAB5W    1781 Lawrence Street
Longview, TX 75606-1706                    PO Box 1631                      Opelousas, LA 70570
                                           Boston, MA 02105-1631




Joseph J Morelli                           Joseph J Mullins Estate          Joseph J Mullins Marital Tst
Co Spicer Jeffries Llp                     Cerianne Mullins Personal Rep    910 Sierra Place Se
PO Box 278                                 806 Los Prados De Guadalupe Nw   Albuquerque, NM 87108
Eastlake, CO 80614-0278                    Albuquerque, NM 87107




Joseph J Price                             Joseph Jefferson Black Estate    Joseph Johnson
10076 Possum Hollow Road                   14160 Shadow Bay Dr              1137 Kensingron Ct
Delaplane, VA 20144                        Box G 2                          Longview, TX 75606
                                           Willis, TX 77378




Joseph Johnson Jr                          Joseph K Boyd                    Joseph L Ewing M D
PO Box 2185                                241 Mooswood Road                10925 Belle Cour Way
Natchitoches, LA 71457-2185                Choudrant, LA 71227              Shreveport, LA 71106-7706




Joseph L Maddox And Wife                   Joseph L Standifer Iii           Joseph Lake Hart
Deborah Jean Maddox                        40 Alviso Street                 3816 London Lane
7005 Fm 225 South                          Santa Clara, CA 95050            Richland Hills, TX 76118
Laneville, TX 75667
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Joseph Lavara                           Joseph Legrande Northcutt            Joseph Leroy Barnes Jr
One Pershing Plaza                      PO Box 442                           520 Fm 1358
Jersey City, NJ 07399                   Longview, TX 75606                   Three Rivers, TX 78071




Joseph Leroy Haynes                     Joseph Lewis                         Joseph Lloyd Thompson
1226 E Walnut                           722 Haight Avenue                    10094 Tate Lane
Galion, OH 448332946                    Alameda, CA 94501                    Frisco, TX 75033




Joseph Luptak                           Joseph M Beckett Iii                 Joseph M Dillavou
5980 Taft Pl                            PO Box 423                           3906 East Garnet Lane
Merrillville, IN 46410                  Kitty Hawk, NC 27949                 Littleton, CO 80126




Joseph M Mcmurrey                       Joseph M Thomas                      Joseph Madison David
PO Box 4519                             PO Box 10265                         154 Oran
Longview, TX 75606                      Reno, NV 89510                       Livingston, TX 77351




Joseph Madison David And                Joseph Manette                       Joseph Manning
Cynthia Marie David                     Tod                                  Address Redacted
154 Oran                                62 Cross Street
Livingston, TX 77351                    Westerly, RI 02891-2327




Joseph Martinez                         Joseph Mathewson                     Joseph Mea
Jkl                                     Address Redacted                     PO Box 668
1757 Grant Avenue                                                            Lindale, TX 75771
Ogden, UT 84404




Joseph Melvin Reis                      Joseph Meza                          Joseph Mitchell Smith And
910 Longstraw Road                      Address Redacted                     Esma Haik Smith
Choudrant, LA 71227                                                          405 Forest Circle
                                                                             Ruston, LA 71270




Joseph Mulla                            Joseph N Reed And Glenda Odom Reed   Joseph Nugent White
Maria Mulla                             371 Rose St                          2213 Cr 3366
1020 Cr 129                             Simsboro, LA 71275                   Tenaha, TX 75974
Gary, TX 75643




Joseph Oscar Neuhoff Iii                Joseph P Adams Amy G Adams           Joseph P Castleberry
15 Vom Eigen Drive                      2105 Cooktown Rd                     2530 S Adams St
Morristown, NJ 07960                    Ruston, LA 71270                     Fort Worth, TX 76110-2611




Joseph P Costanza                       Joseph P Hancock                     Joseph P Kennedy Jr Foundation
15927 Manor Square Dr                   PO Box 68                            Attn Jim Benvenuto
Houston, TX 77062                       Beeville, TX 78104                   330 Madison Avenue Ste 280
                                                                             New York, NY 10017
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Joseph Paparone                           Joseph Pate                     Joseph Patterson Lawson Jr
19 Grist Mill Rd                          PO Box 850                      3133 C Stony Point Road
Tillson, NY 12486                         Joaquin, TX 75954               Richmond, VA 23235




Joseph R Brashear                         Joseph R Glasgow                Joseph R Glasgow Seperate Property
1320 Fm 449                               Hasson H Jones Glasgow          1403 Madera
Longview, TX 75605-9265                   1403 Madera                     Ruston, LA 71270
                                          Ruston, LA 71270




Joseph R Hood                             Joseph R Pelich Jr Estate       Joseph R Willie Ii
2904 Post Oak Drive                       c/o Olive Pelich Executor       6814 River Bluff Drive
Ruston, LA 71270                          1220 Thomas Place               Houston, TX 77085
                                          Fort Worth, TX 76107




Joseph Randall Hunter Jr                  Joseph Richard Legendre         Joseph Ronald Watson
1023 N Winnetka Ave                       181 West Lakeshore Drive        22714 Cranberry Trail
Dallas, TX 75208                          Cherokee Vlg, AR 72529          Spring, TX 77373




Joseph Ross Callaway                      Joseph S Gremillion             Joseph S Kennedy
5417 Datewood Ln                          3764 Hemlock                    M John Kennedy Guardian For
Mckinney, TX 75071                        Zachary, LA 70791               700 West 6Th Street
                                                                          Gillette, WY 82716




Joseph S Woodley                          Joseph Samuel Turner            Joseph Sassin
545 Turkey Trail                          392 Holliman Road               5176 Huckleberry
Shreveport, LA 71115                      Ruston, LA 71270                Houston, TX 77056




Joseph Shane Hood                         Joseph Silva                    Joseph Singleton Sprinkle
536 Davidson Road                         Address Redacted                Mary B Sprinkle
Arcadia, LA 71001                                                         PO Box 6483
                                                                          Denver, CO 80206-0483




Joseph Stawarski                          Joseph Swindell                 Joseph T Johnikin
18413 Pine Cone Drive Unit 1              8946 Highway 79 South           337 Angela Court
Tinley Park, IL 604774894                 Henderson, TX 75654             Lexington, KY 40515




Joseph T Thompson                         Joseph Ted Herbelin And Wilma   Joseph Tillman Holland
16043 Sabana Lane                         June Herbelin Trust             Pamela Ruth Holland
Encino, CA 91436                          1116622042591 Wells Fargo       4427 Cr 427 D
                                          PO Box 555                      Henderson, TX 75652
                                          Penney Farms, FL 320790945



Joseph V Hughes Iii                       Joseph V Hughes Jr              Joseph V Ortiz
PO Box 25163                              PO Box 25163                    PO Box 6438
Dallas, TX 75225                          Dallas, TX 75225                Dillon, CO 80435-6438
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Joseph Virgil Gonzalez                   Joseph W Jerabeck                    Joseph W Thomas Family Prtnshp
5758 County Rd 4180 E                    PO Box 1821                          PO Box 4
Tyler, TX 75704                          Angleton, TX 77516                   Sinton, TX 78387




Joseph Wilson Rowe                       Josepha Eveleigh                     Josephine Adams Mclean
503 Applespice Dr                        212 Orangewood Dr                    Testamentary Tr F/B/O Judith T Mclean
Shreveport, LA 711153046                 Healdsburg, CA 95448                 c/o Karen Morris
                                                                              5802 Marchmont Lane
                                                                              Austin, TX 78749



Josephine Burnaman Phillips              Josephine E Frye                     Josephine Gill
Aka Jo B Phillips                        Box 526                              1937 Ne Loop 410 Ste 320
c/o Melanie P Taylor                     Seneca, MO 64865                     San Antonio, TX 78217
1609 Mcmurray Road
Henderson, TX 75654



Josephine Griffo                         Josephine H Chomat Family Tst        Josephine Hughes Sterling
PO Box 296                               A/C 226537009 Bank One               Foundation
Barker, TX 77413                         Na Joanne H Bilby Co Ttees           PO Box 700397
                                         Drawer 99084                         Dallas, TX 75370
                                         Fort Worth, TX 76199-0084



Josephine Isaac                          Josephine Lafon Estate               Josephine M Lafon
1822 North Kansas                        2410 Bermuda Dr                      2410 Bermuda Drive
Wichita, KS 67214                        Laredo, TX 78045                     Laredo, TX 78045




Josephine M Scott                        Josephine Miller Williams Deceased   Josephine Mollie Barton
5608 Victory Dr                          1480 Fairview Point Road             203 Hurst St
Marshall, TX 75670                       Elm Grove, LA 71051-8632             PO Box 1379
                                                                              Center, TX 75935




Josephine N Hale                         Josephine Odom                       Josephine R Staser Estate
41 Fenwick Rd                            119 Terrace Avenue                   H L Snook M Evans Inde Co Ex
Mobile, AL 36608                         Apartment E 2                        100 College Street
                                         Hempstead, NY 11550                  Minden, LA 71055




Josephine Roque Estate                   Josephine S Oconner Trust And        Josephine Storey Bybee
c/o Cathy Winger                         Kathryn Oconner Higgs Ttees          PO Box 3826
319 East Market Street                   10110 Sugar Hill                     Wichita Falls, TX 76301-0826
Warrensburg, MO 64093                    Houston, TX 77079




Josephus C Delley And Alma V             JoseS Pipe Testing Inc               Josey Oil Company
Irrevocable Trust                        PO Box 527                           2001 Kirby Drive Ste 1002
Bettye D Jones Succesr Trstee            Electra, TX 76360                    Houston, TX 77019
PO Box 5102
Tyler, TX 75712



Josey Peters Trust                       Josey Trust Account 12751 13         Josh Davis
3895 Sh 315                              Bank Of America Agent                6501 Riddle Dr
Carthage, TX 75633                       PO Box 840738                        N Richland Hills, TX 76180
                                         Dallas, TX 75284-0738
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Joshua Abdallah                         Joshua Aguiar                       Joshua B Pearlman
Address Redacted                        Address Redacted                    PO Box 418
                                                                            Blue Bell, PA 19422




Joshua Barvin                           Joshua Butcher                      Joshua Crowell
Address Redacted                        Address Redacted                    1742 Highway 146
                                                                            Chatham, LA 71226




Joshua David Reed                       Joshua Johnson And Lisa L Johnson   Joshua Pate
3445 40Th Street North                  1325 Highway 544                    111 Saddle Creek Farms Dr
St Petersburg, FL 33713                 Ruston, LA 71270                    Crosby, TX 77532




Joshua Paul Graves                      Joshua Roberson Sep Prop            Joshua Skinner
Deceased See Notebook                   762 Evangeline Drive                Address Redacted
PO Box 430                              Arcadia, LA 71001
Dequincy, LA 70633-0430




Joshua T Estes                          Joshua Taylor                       Joshua Trust Of 2003
Address Redacted                        Address Redacted                    Kenneth W Sprague Trustee
                                                                            c/o W Rusk County Cisd Tax War
                                                                            PO Box 988
                                                                            Henderson, TX 756530098



Joshua Van Richardson                   Joshua Wayne Jones                  Josie B Rutherford
2440 Brunswick Avenue North             547 King Louie Rd                   4215 Buckingham Dr
Golden Valley, MN 55422                 Simsboro, LA 71275                  Rockford, IL 61107




Josie Brown Atwood                      Josie Marie Blaschke                Josie Nugent Browder DecD
3160 Smith Road                         717 Nicholson Dr                    1424 Joe Bill Street
Jefferson, TX 75657                     Potosi, MO 63664                    West Monroe, LA 71294




Josie Nugent Browder Estate             Josie Springs Douglas               Josie T Jones
c/o Lonnie Ray Jordon                   Rt 2 Box 11                         730 Dagan St
Independent Executor                    Simsboro, LA 71275                  Anniston, AL 36206
1904 Drinnen Rd
Knoxville, TN 37914



Joss Limited Partnership                Journey Operating LLC               Joy Adams
P O Drawer J                            1201 Louisiana Street Suite 1040    1940 West Spring Creek Parkway
Douglas, WY 82633                       Houston, TX 77002                   131
                                                                            Plano, TX 750234268




Joy Aileen Norris                       Joy Boles Williams                  Joy Cherry Mcbride
204 Elmwood Drive                       PO Box 324                          1640 Trinidad
West Monroe, LA 71291                   Mt Enterprise, TX 75681             Beaumont, TX 77703
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Joy D Glover                            Joy Daniel Stokes              Joy Dawn Ray Chizzoniti
1414 Terre Haute                        325 Maplewood Dr               431 Prestonwood Dr
Tyler, TX 75701                         Kountze, TX 77625              Shreveport, LA 71115




Joy Deason Wiltse                       Joy Equipment Protection Inc   Joy G Wall
8412 Denali Parkway Unit 3              PO Box 1080                    7302 Private Rd 5101
Austin, TX 78726-1767                   Carpinteria, CA 93014-1080     Athens, TX 75751




Joy H Telford                           Joy Heltzel                    Joy J Browne
1599 Mitcham Orchard Road               46630 N 172 St E               9101 S 76Th Avenue
Ruston, LA 71270                        Lancaster, CA 93534            Tulsa, OK 74133




Joy Lloyd Doud                          Joy Louise Wiggins             Joy Lynn Oaks Mcclelen
9109 Laguna Woods Drive                 3333 Forest Court              5201 Chapel Springs Dr
Austin, TX 78717                        Bellingham, WA 98225           Arlington, TX 76017




Joy Miller Morton                       Joy N Taylor                   Joy N Taylor Usufruct
Daryl Morton Poa                        3319 Thompson Bridge Rd 308    Deborah T DCamp Susan T Phillips
102 Vitex Dr                            Gainesville, GA 30506          4216 Edgeworth Dr
Lakeway, TX 78734                                                      Flowery Branch, GA 30542




Joy Nell Murray                         Joy Newsom Tinsley             Joy Nolen Archer Hunt
1416 Trading Post Drive                 101 Fordtran Rd                PO Box 3098
Fort Worth, TX 76131                    Yoakum, TX 77995-6821          Flint, TX 75762




Joy Plantowsky Trust                    Joy Porter Davis               Joy Resources Inc
Uwo Morris Kagan                        8818 Lakemont Dr               4605 Post Oak Place
Lawrence Kagan Trustee                  Dallas, TX 75209               Suite 250
8801 Knight Rd                                                         Houston, TX 77027
Houston, TX 77054



Joy S Bush                              Joy Sherman Irwin              Joy Trust Organization
9721 Sean Drive                         2923 Calanne Avenue            1066 Boulevard Street
Frisco, TX 75035                        Baton Rouge, LA 70820          Shreveport, LA 71104




Joy Yvonne H Franklin                   Joycalyn Beard Skinner         Joyce A Albus
803 Greenwood                           James Lamar Skinner            1310 W 13Th St
Queen City, TX 75572                    378 Chocolate Factory Rd       Littlefield, TX 79339
                                        Arcadia, LA 71001




Joyce A Alfred M Londrigan              Joyce A Glau                   Joyce A Harley
246 Sand Hills Ln                       11 Driver Lane                 Box 422
Medford, NY 11763                       Littleton, CO 80123            Hallsville, TX 75650
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Joyce A Wainwright                     Joyce Alline Smither Briers      Joyce Ann Emerson Aulds
2611 Bens Branch Drive 2103            17990 Bella Lago Ct              110 Dunbar Estate Drive 301
Kingwood, TX 77339                     College Station, TX 77845        Friendswood, TX 77546




Joyce Ann Hinton Lowery                Joyce Ann Moore Life Estate      Joyce Ann Odell
596 Null Rd                            15 South 5Th Ave Apt 216         PO Box 940848
Ruston, LA 71270                       Mt Vernon, NY 10550              Houston, TX 77094




Joyce Ann Stidman                      Joyce Augustine Elmore           Joyce B Love
1400 Robbinwood Court                  6840 Goldpine Way                2101 Silverthorn Lane
Longview, TX 75601                     San Jose, CA 95120               Flower Mound, TX 75028




Joyce B Mcmillian                      Joyce B Northcutt                Joyce Bander Davis
200 Dove Creek                         181 Emma Dr                      10 Shady Ln
Mckinney, TX 75071                     Diana, TX 75640                  Longview, TX 75604-3510




Joyce Barnett                          Joyce Beasley                    Joyce Brock
303 Denton St                          5133 Valburn Court               16829 Deer Meadow Dr
Argyle, TX 76226                       Austin, TX 78731                 Skiatook, OK 74070




Joyce Busby Dorsey                     Joyce C Chaney                   Joyce Callaway Matthews
PO Box 2253                            PO Box 433                       104 N College Street
Henderson, TX 75653                    La Marque, TX 77568              Marshall, TX 75670




Joyce Cameron Harris                   Joyce Childress Shahan           Joyce Cooks Mcdonald
8037 Mcmurtry                          9586 State Highway 7 East        312 Davis Drive
Arlington, TX 76002                    Joaquin, TX 75954                Desoto, TX 75115




Joyce D Woody                          Joyce Davis Henderson            Joyce Diane Smith Roan
1500 Bittersweet Ave                   1516 Marsalis Dr Apt 25          11301 Highway 143
Ruston, LA 71270                       Arcadia, LA 71001                Farmerville, LA 71241




Joyce Duncan                           Joyce Dunn Herrera               Joyce E Andrews
PO Box 434                             9612 Center Road                 PO Box 670112
Henderson, TX 75653                    Laredo, TX 78045                 Dallas, TX 75367-0112




Joyce Eason Searcy                     Joyce Elizabeth Miller Goodson   Joyce Estelle Younger
432 Hilltop Meadows Ct                 8502 Edgemere Rd Apt 329         2413 Santiago Way
Springtown, TX 76082                   Dallas, TX 75225-3523            Stockton, CA 95209
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Joyce Evelyn Mccoy                      Joyce F Bridges                Joyce F Minatrea
1425 S Water St                         PO Box 3664                    3784 Sue Belle Lake Rd
Rockport, TX 78382                      Lawton, OK 735023664           Marshall, TX 75670




Joyce F Sogga                           Joyce Faye T Lackey            Joyce G Sampson
2682 Clermont Pl                        435 Co Rd 071                  7550 Cliff Creek Crossing
Collierville, TN 38017                  Jasper, TX 75951               Apartment 2601
                                                                       Dallas, TX 75237




Joyce Gertz                             Joyce Gonzalez                 Joyce Gunn Howell Heritage Tr
37 Settlers Ldg                         200 Cave Springs Drive         7330 Nichols Trl
Westerly, RI 02891-3431                 Wimberley, TX 78676            Frisco, TX 75034-4903




Joyce H Martin Income Trust             Joyce Hall                     Joyce Hanspard Hewitt
Alfred June Martin Jr Ind Trustee       PO Box 568                     312 W Pebblebrook Lane
1135 21st Street                        Highlands, TX 77562            Glenn Heights, TX 75154
Beaumont, TX 77706




Joyce Hellen Smith                      Joyce Herbert Mann Trust       Joyce Hill Trust
736 West Pittman Street                 J P Morgan Chase Bank Na       Wells Fargo Bank Na Ttee
Longview, TX 75602                      John Herbert Joanne Bilby Tr   PO Box 41799
                                        Po Drawer 99084                Austin, TX 78704
                                        Ft Worth, TX 76199-0084



Joyce Hood Doucet                       Joyce I Dyer                   Joyce I Phillips Life Estate
3209 Junior Place                       800 Weiss Drive Apt H 1        PO Box 190748
Shreveport, LA 71109                    Seymour, TX 76380              Dallas, TX 75219




Joyce Johnson Early                     Joyce Kennedy                  Joyce Kolb Williams Deceased
6506 Lorraine Park                      1316 Linden Lane               Box 146
Colleyville, TX 76034                   Garland, TX 75040              Junction City, AR 71749




Joyce L Barron                          Joyce L Becker                 Joyce L Richards
609 Rock Hollow Dr                      12214 Weir Street              5498 Apple Blossom Lane
Shreveport, LA 71115                    Omaha, NE 68137                Friendswood, TX 77546




Joyce Lafette Daniel Henry              Joyce Landers                  Joyce Lanell Christian
407 Shady Oak Drive                     11526 Dover                    9202 Bianca Street
West Monroe, LA 71291                   Houston, TX 77031              San Antonio, TX 78254




Joyce Lavern Hopkins                    Joyce Leblanc                  Joyce Lewis Taylor
Etvir Paul W Hopkins                    251 Cross Gates Blvd           9655 Whitcomb St
103 Santa Anna Drive                    Slidell, LA 70461              Detroit, MI 48227
Robinson, TX 76706
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Joyce M Caldwell                        Joyce M Greenwood                Joyce M Schutt
1820 Buford Rd                          5408 Avenue O 1/2                740 State Road F
Richmond, VA 23235                      Galveston, TX 77551-4747         Elkland, MO 65644




Joyce M Speed                           Joyce M Turner Hogan             Joyce M Vick
3230 Lancaster Street                   6843 South Clyde                 565 Norwood Court
Shreveport, LA 71108                    Chicago, IL 60649                Satellite Beach, FL 32937




Joyce M Wyatt                           Joyce Marie Hutcheson Williams   Joyce Marie Jackson
2404 12Th Street                        4301 Sherman Blvd                926 Highway 146
Brownwood, TX 76801                     Galveston, TX 77550              Ruston, LA 71270




Joyce Marie Powell As Admintrix Of      Joyce Maryland                   Joyce Maurine Goodwin Poe
Succession Of Leroy O Mcclain           380 Dunn Road                    155 Lost Tree Drive
17142 Country Rd 433                    Ruston, LA 71270                 Springfield, IL 62704
Somerville, TX 77879




Joyce Nelda Young                       Joyce Payton                     Joyce Power Slaughter
1501 Lime Rock Dr                       Box 406                          6755 Ridgmar Blvd 318
Round Rock, TX 78681                    Longview, TX 75606               Fort Worth, TX 76116




Joyce Puckett                           Joyce R Whitt                    Joyce Rogers
3373 Goldfinch Rd                       2124 East Brook Se               111 John C Rogers Drive
Gilmer, TX 75645                        Decatur, AL 35601                Center, TX 75935




Joyce Shipp                             Joyce Skinner Brazzel            Joyce Steel Erection Ltd
440 Rcr 2360                            150 Skinner Rd                   PO Box 8466
Alba, TX 75410                          Simsboro, LA 71275               Longview, TX 75607




Joyce Sutton                            Joyce Thompson                   Joyce W Huntington
3100 English Turn                       9817 Mccain Road                 791 Stable Road
Ruston, LA 71270                        Shreveport, LA 71107             Ruston, LA 71270




Joyce Weil                              Joyce Williams                   Joyce Y Chrietzberg
2310 S 114Th St W                       170 Lamm Lane                    PO Box 445
Muskogee, OK 74401                      Jacksonville, NC 28540           Judson, TX 75660




Joyce Yarbrough                         Joye Lynn Thomas                 JoyeS 1950 Inc
Dealing In Her Sole Sep Prop            7427 Matthews Mint Hill Rd       PO Box 4
1017 Birdsong Dr W 115                  105 284                          Sinton, TX 78387
Baytown, TX 77521                       Mint Hill, NC 28227
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Jozell H Eberhardt                       Jp Morgan Chase                    Jp Morgan Investment Mgmt
471 Wisteria Drive                       Attn Dradriana Laramore            270 Park Avenue
East Palo Alto, CA 94303                 383 Madison Ave 10Th Floor         New York, NY 10017-2014
                                         New York, NY 10179




Jp Tank Trucks LLC                       Jp Weld                            Jpmorgan Chase Bank N A
PO Box 1271                              PO Box 343                         383 Madison Ave 10Th Floor
Bowie, TX 76230                          Ballinger, TX 76821                New York, NY 10179




Jpmorgan Chase Co                        Jpmorgan Securities Fixed Income   Jpmw Trucking LLC
270 Park Ave                             1500 West Third St Suite 305       PO Box 52710
New York, NY 10017                       Cleveland, OH 44113-1422           Midland, TX 79710




Jpt Family Jv 1                          Jpt23 LLC                          Jr Barnes
PO Box 99084                             215 City Park Cir                  Rt 3 Box 131
Fort Worth, TX 76199                     New Iberia, LA 70563               Wynnewood, OK 73098




Jr Mcginley Jr Revocable Trust           JR Valley Oilfield Svc Inc         JR Well Service LLC
PO Box 769                               PO Box 310                         Kris Mclain
Tulsa, OK 74101-0769                     Mission, TX 78573                  PO Box 670
                                                                            Kalkaska, MI 49646




JrI Services                             Jrj Construction LLC               Jrj Resources Ltd
501 Sw Ave E                             PO Box 716                         PO Box 7122
Andrews, TX 79714                        Zapata, TX 78076                   Shawnee Mission, KS 66207




Jrp LLC                                  Js Acquisition LLC                 JS Blueprint
PO Box 991                               Mark Rankin                        326 S College
Laurel, MS 39441-0991                    801 Cherry St Suite 2100           Tyler, TX 75702
                                         Ft Worth, TX 76102




Js Jm Roberson Family Ltd Partnership    JS Phalen Royalty Tr               Jsc Carthage LLC
507 Ray Bussey Rd                        John M Phalen Jr Trustee           Louisiana Limited Liability Co
Longview, TX 75605                       313 Russwood Drive                 8509 Line Avenue
                                         Rockwall, TX 75087                 Shreveport, LA 71106




Jsc Federal Credit Union                 Jsi Operations LLC                 Jss Interests LLC
8424 Park Pl Blvd                        PO Box 303                         551 Slattery Boulevard
Houston, TX 77017                        Lamesa, TX 79331                   Shreveport, LA 71104




Jsy Energy Solutions LLC                 Jt Distributing                    JT Electrical Contractors
122 Quiet Oak Circle                     Box 430                            4112 North County Rd
The Woodlands, TX 77381                  Winchester, KY 40392               Midland, TX 79705
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Jt Jones Ranch Ltd                         Jts Inc                          JTS Welding LLC
c/o Far Cry Stables Inc Gen Prtnr          5310 Cockrell Hill Road          5294 Old Christoval Rd
2710 Scenic Dr                             Dallas, TX 75236                 San Angelo, TX 76904
Austin, TX 78703




Jtv Prtshp                                 Juan Antonio Cantu               Juan Antonio Lichtenberger
Tracy C Thompson                           PO Box 450009                    5343 Cr 101
PO Box 1713                                Laredo, TX 78045                 Freer, TX 78357
Roswell, NM 88202




Juan B Ortiz                               Juan B Ortiz Iii                 Juan Chacon
1917 East Stewart Street                   1315 East Hillside Road          Address Redacted
Laredo, TX 78040                           Apartment 23
                                           Laredo, TX 78041




Juan E Martinez Jr                         Juan E Quintanilla               Juan Javier Vidaurri
2210 Frost                                 8030 S Fm 225                    7722 W Talavera
Laredo, TX 78041                           Laneville, TX 75667              Tucson, AZ 85743




Juan Jose Navejar Ii                       Juan Lorenzo                     Juan Miguel Benavides
4108 Primrose Ave                          Address Redacted                 Hwy 359 Rt 1 Box 22J
Mcallen, TX 78504                                                           Laredo, TX 78046




Juan R Baker                               Juan Rodriguez                   Juan Vidaurri Mineral Trust
6309 John Chisum Ln                        3370 Kipling Drive               Tte Gerado Jorge Juan Vidaurri
Austin, TX 78749-1839                      Beaumont, TX 777067314           7519 Rw Emerson Loop
                                                                            Laredo, TX 78041




Juana T Herrera As Trustee Of The          Juana T Herrera Rev Trust        Juanice Powell
Juana T Herrera Rev Tr Dated 3/1/2010      c/o Juana T Herrera As Trustee   PO Box 335
4004 W Coronado Rd                         4004 W Coronado Rd               Shelbyville, TX 75973
Phoenix, AZ 85009                          Phoenix, AZ 85009




Juanita A Strobel                          Juanita Ann Lewis                Juanita Barrett Lee
1626 Mable St                              2112 Fox Ave                     4304 Fitzsimmons
Houston, TX 77023                          Moore, OK 73160                  Dallas, TX 75216




Juanita Burkett Woodward                   Juanita Crim                     Juanita Davis Mcfarland
225 Elmblodge Drive                        Rt 1 Box 273                     5701 Cowles Mountain Blvd
Kingsland, TX 78639                        Van, TX 75790                    Apartment R 21
                                                                            La Mesa, CA 91942




Juanita Downing Life Estate                Juanita Faye Reed                Juanita Flores
PO Box 291                                 112 E Santa Anna Street          9209 Saddlehorn Dr Apt 101
Gary, TX 75643                             Robinson, TX 76706               Fort Worth, TX 76116
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Juanita Gibson                          Juanita Graham                 Juanita Green
3339 Estesville Rd                      c/o Texas State Treasury       552 N 5Th St
Longview, TX 75602                      Unclaimed Property Division    Timpson, TX 75975-5122
                                        PO Box 12019 Capitol Station
                                        Austin, TX 78711-2019



Juanita Grigsby Albright                Juanita Hardin Adams Estate    Juanita L Hill
2911 Wichita Street                     c/o Rick Mcpherson             13017 Lofton Cliff Drive
Amarillo, TX 79107                      418 W Sabine                   Del Valle, TX 78617
                                        Carthage, TX 75633




Juanita Lewis                           Juanita Mallory Pace Trust     Juanita Miller Dunn
PO Box 60234                            1915 E Overland Dr             1328 Lake Avenue
Los Angeles, CA 90060                   Fayetteville, AR 72703         Kansas City, MO 64109




Juanita Nichols                         Juanita Nowlin                 Juanita Parker
8800 Tinicum Blvd                       207 Whaley Ave                 3838 Chandelle Ln
Mailstop F6 F266 02 2                   Marshall, TX 75672             Port Arthur, TX 77642
Philadelphia, PA 19153




Juanita Roberson Sneed                  Juanita Simmons                Juanita Smith
1720 Hwy 793                            c/o Texas State Treasury       1373 10Th St
Gibsland, LA 71028                      Unclaimed Property Division    Oakland, CA 94607
                                        PO Box 12019
                                        Austin, TX 78711-2019



Juanita Smith Moore                     Juanita Uribe Kirkpatrick      Juanita Wedgeworth Clinton
7605 Pear Tree Ln                       417 Dalecrest Drive            1132 Lynnwood
Fort Worth, TX 761337462                San Antonio, TX 78239          Carthage, TX 75633




Jubilee Glass Studio                    Jud Smith                      Judith A Axtman
7824 St Hwy 64                          PO Box 342                     255 El Dorado Ct
Ben Wheeler, TX 75754                   Joaquin, TX 75954-0342         Angels Camp, CA 95222




Judith A Bench                          Judith A Besler                Judith A Hearn
PO Box 733                              1316 20Th Avenue E             4901 Thorncliffe Dr
Brownwood, TX 76804                     Williston, ND 58801            Arlington, TX 76016-6259




Judith A M Mcelroy                      Judith A Meade                 Judith A Mock
33515 Fulshear Farms Rd                 451 Old San Antonio Hwy        PO Box 250969
Fulshear, TX 77441                      Apt 207                        Plano, TX 75025
                                        Bandera, TX 78003




Judith A Rodden                         Judith A Wolfe                 Judith Ann Adams
425 Ammons St                           11644 Harbor View Drive        20015 Forest Drive
Lakewood, CO 80226                      Cleveland, OH 441026153        Spring, TX 77388
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Judith Ann Frantz                          Judith Campbell Hagler           Judith Carol Gray Ellsworth
10108 Ethan Court                          110 Timber Ridge Drive           7129 St Lucia Street
Fort Wayne, IN 46825                       Slidell, LA 70460                Las Vegas, NV 89131




Judith Cruz Trust                          Judith Delia Bazer               Judith Delony Wasson
Wilma M Phillips Barbara                   625 Hanson Drive                 PO Box 142
Phillips Blewitt Trustees                  Doyline, LA 71023                Summerfield, LA 71079
PO Box 4539
Sedona, AZ 86340



Judith E Bell                              Judith E Walker                  Judith E Worley Wolf
579 Julius Davis Ln                        PO Box 8040                      83595 Holliday Road
Marshall, TX 756723352                     Dallas, TX 75205                 Folsom, LA 70437




Judith Enderle Ttee                        Judith Evans LLC                 Judith Fauss Guitjens
Judith A Enderle Living Trust 12/01/2010   PO Box 3286                      PO Box 298
Pledged Fbo Royal Bk Of Canada             Flagstaff, AZ 86003              Verdi, NV 89439
2816 Huron Court
Wappinger Falls, NY 12590-7092



Judith Fuller Najolia                      Judith G Dewitt                  Judith Green Robinson
333 Lee G32                                8393 Davis Drive                 4546 St Hwy 315
Baton Rouge, LA 70808                      Frisco, TX 75034                 Carthage, TX 75633




Judith Harden                              Judith Hawkins Moore             Judith Hazel Fulton Residual
4420 Gleneagles Dr                         100 Seven Hollys Dr              Tr A Uw Judith Hazel Brassel
Midland, TX 79707-4323                     Yorktown, VA 23692               Fulton Charles Britton Fulton
                                                                            1580 Murdock Road
                                                                            Marietta, GA 30062



Judith Hilburn Young                       Judith L Duren Represented       Judith L Huggins Tstmntry Tr
117 Bobwhite Loop                          By George Duren Jr Conservator   Fbo Edgar Clay Griffin Jr
Lafayette, LA 70508                        1225 Saratoga Avenue             William O Huggins Iii Ttee
                                           210                              PO Box 2120
                                           San Jose, CA 95129               Durango, CO 81302



Judith L Robinson                          Judith Lee Heaton Jordan         Judith Lee Novak
PO Box 10071                               14302 Grove Estates Ln           469 S Camden Dr
Tyler, TX 75711                            Cypress, TX 77429                Beverly Hills, CA 90212




Judith Lee Sympson Stevens                 Judith Long                      Judith Lynn Smith Raysin
1900 Empire Blvd Pmb 112                   613 Trant                        2152 Nick Way
Webster, NY 145801993                      Edwardsville, KS 66111           Grants Pass, OR 97527




Judith M Jones Family Trust                Judith M Wrucke                  Judith Marsh Jones
PO Box 187                                 803 Arrowhead Lane               1900 Comal
Marlow, OK 730550187                       Naples, FL 34108                 College Station, TX 77840
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Judith Mckay Shokoor                   Judith Mclaren Chapman         Judith Morris Cruse
9412 Robnel Avenue                     4547 Soundsicle Dr             1317 Dandridge Ave
Manassas, VA 20110                     Gulf Breeze, FL 32563          Pasadena, TX 77502-4306




Judith Murphrey Smith                  Judith R Cook                  Judith R Kenaga
315 Shelbyville Street                 6901 Anders Bottom Road        818 Wood N Creek
Center, TX 75935                       La Grange, TX 78945            Ardmore, OK 73401




Judith R Tustin                        Judith Relch Glickman          Judith Simonton Rutland
2930 Silver Stream Dr                  Charles Schwab Co Inc Cust     801 Travis
Carson City, NV 89703                  Ira Rollover                   Suite 1900
                                       1870 Jackson Street 202        Houston, TX 77002
                                       San Francisco, CA 94109



Judith Willis Hagar                    Judith Zachry Covington        Judson Investment Corporation
2212 Provine St                        922 Chapel Hill Rd             PO Box 10010
Fort Worth, TX 76103-2718              De Queen, AR 71832             Midland, TX 79702




Judson Mason Phillips                  Judson Operations Ltd          Judson Properties Ltd
1524 Belmont Dr                        PO Box 3340                    PO Box 3340
Tyler, TX 75701                        Midland, TX 79702-3340         Midland, TX 79702




Judson Smith                           Judson W Roberts               Judy A Biondini Trust
Address Redacted                       3030 Canton Hwy                Kae L Brockermeyer Trustee
                                       Ball Ground, GA 30107-2568     Jp Morgan Chase Bk
                                                                      PO Box 789
                                                                      Wilson, WY 83014



Judy A Pearson Rev Tr                  Judy Aline Pearson             Judy Ann C Robertson
338 Cameron Cir                        338 Cameron Circle             2805 Fair Timber Way
Ramon, CA 94583                        San Ramon, CA 94583            Mckinney, TX 75071




Judy Ann Gustafson                     Judy Ann Stuart                Judy B Biondini Trust
704 North Bond                         129 Cr 105                     Kae L Brockermeyer Trustee
Karnes City, TX 78118                  Carthage, TX 75633             PO Box 789
                                                                      Wilson, WY 83014




Judy B Leaverton                       Judy B Russell Estate          Judy B Terrell
600 North Central                      3455 Green Arbor Ct            5503 Ne 55Th Street
Knox City, TX 79529                    Ft Worth, TX 76108             Vancouver, WA 98661




Judy Bentley                           Judy Beth Killen               Judy Beth Triplet Sp
PO Box 140332                          8905 151st St                  149 Hickory Ridge Rd
Irving, TX 75104                       Wolfforth, TX 79382-4376       Haynesville, LA 71038
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Judy Butler Kelley                       Judy C Whitaker Brookins       Judy Christian Michael
302 Martin Lane                          PO Box 702                     13725 Highway 151
Carthage, TX 75633                       Longview, TX 75606             Arcadia, LA 71001




Judy Claire Daniels                      Judy Connally Perritt          Judy Crow LLC
350 Covenant Blvd                        662 Hwy 519                    900 Pierremont Rd Ste 221
Murfreesboro, TN 37128                   Arcadia, LA 71001              Shreveport, LA 71106




Judy Diann Martin Rice                   Judy E Thomas                  Judy E Williams
4215 Ute                                 2210 Mockingbird Ln            PO Box 925
Pasadena, TX 77505                       Garland, TX 75042-8303         Tatum, TX 75691




Judy Easley                              Judy F A Emmel Baker           Judy F Sanders Ind Pres/Gm
PO Box 251                               812 Hwy 763                    Long Beach Properties Gp Llc
Talco, TX 75487-0251                     Mansfield, LA 71052            801 E Beach Dr Bc 2000
                                                                        Galveston, TX 77550




Judy Faye Pittman                        Judy Gail Britt                Judy Gail Darby Pradillo
3719 Dowell Dr                           PO Box 646                     1812 E Lakeshore Drive
Longview, TX 75604-1054                  Judson, TX 75660               Carriere, MS 394267901




Judy Gail Galloway                       Judy Gail Stacy Bradshaw       Judy Gant
202 Gienmar Ave Apt B                    146 Chambers Street            106 Mcneese Cir A
Monroe, LA 71201-5281                    Ridgecrest, CA 935553949       Tatum, TX 75691-9615




Judy Goff Pittman                        Judy Graham                    Judy Grant
3831 Turtle Creek Blvd Apt 23D           PO Box 383                     PO Box 1394
Dallas, TX 75219                         Silverton, CO 81433            Tatum, TX 75691




Judy Gray Bagheri                        Judy Harper Jackson            Judy Harris Young
PO Box 54083                             140 Barbara Ln                 5260 U S Hwy 79 South
Jacksonville, FL 32245                   Arcadia, LA 71001-5272         Carthage, TX 75633




Judy Hasten                              Judy Helpenstill               Judy Hicks
1172 Cr 2590                             1828 Dalian                    5250 Town Country Blvd
Mineola, TX 75773                        Lamarque, TX 77568             10201
                                                                        Frisco, TX 75034




Judy Holt Moore                          Judy Hughes Bennett            Judy Hutchison Kirbow
Box 296                                  PO Box 99084                   PO Box 531
Bethany, LA 71007                        Rocksprings, TX 78880          Kirbyville, TX 75956
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Judy J Chassner Wayne                      Judy Johnson Hughes                   Judy K Andrikopoulos
2457 Alston Dr                             405 Sandy Lane                        PO Box 350
Marietta, GA 30062                         Henderson, TX 75652                   Daniel, WY 83115




Judy K Walls                               Judy Kay Hinton Freeman               Judy Kelly
3501 West Pittsburg                        5466 S 12Th Street                    4717 Natchez Trace
Broken Arrow, OK 74012                     Waco, TX 76706                        Lubbock, TX 79424




Judy Kelly Tr                              Judy L Mcaleer Revoc Tst              Judy L Metcalf
4717 Natchez Trace                         713 Donnybrook                        2420 Bonito Dr
Lubbock, TX 79424                          Tyler, TX 75701                       Lake Charles, LA 70605




Judy Ley Allen 2002 Net Income             Judy Liner Moon                       Judy Loraine Kewley Mccary
Charitable Remainder Unitrust Rice Trust   124 Mcbride Street                    PO Box 8276
Mail Stop 91                               Ruston, LA 71270                      Galveston, TX 77553
PO Box 2666
Houston, TX 77252



Judy Loraine Mccary                        Judy Lorraine K Mccrary Life Estate   Judy Louise K Wilson
PO Box 8276                                Remainderman A Reed Taylor            PO Box 912
Galveston, TX 77553                        PO Box 8276                           Vivian, LA 71082
                                           Galveston, TX 77553




Judy Lynn Blackman Baker                   Judy Lynn Blackman Hancock            Judy Lynn Cockrell
3051 Castia Ct                             3051 Castia Ct                        PO Box 727
Fort Worth, TX 76116                       Fort Worth, TX 76116                  Carthage, TX 75633




Judy Lynn Fallin Woodard                   Judy Lynn Fox                         Judy M Grinager
2119 Highway 563                           3964 Hwy 544                          PO Box 1819
Simsboro, LA 71275-3609                    Simsboro, LA 71275                    Burnet, TX 78611




Judy M Jones                               Judy M Richardson                     Judy Merritt Carter Separate Property
PO Box 187                                 306 Hiawatha Way                      1114 Virginia Dr
Marlow, OK 442427541                       Mesquite, NV 89027                    Haynesville, LA 71038




Judy Michalak                              Judy Newkirk Mateer                   Judy Orms
28816 Diamondhead                          2221 Willow Drive                     720 Cr 447
Conroe, TX 77356                           Little Elm, TX 75068                  Eastland, TX 76448




Judy Pringle                               Judy R Castle                         Judy R Reusser
205 Oak Creek Lane                         1728 Hwy 3226                         3329 Eagles Nest Rd
League City, TX 77573                      Deridder, LA 70634                    Waynesville, NC 28786
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Judy R Troell                           Judy Sharon Johns              Judy Skains Holstead
7501 Cr 261                             8870 Cromwell Drive            PO Box 157
Zephyr, TX 76890                        Shreveport, LA 71129           Choudrant, LA 71227




Judy Stone                              Judy Sutton                    Judy T Gregg
1757 Wading Heron Way                   1518 Wynona                    2402 Windbrooke Ct
The Villages, FL 32163                  Enid, OK 73703                 Shreveport, LA 71118




Judy Thompson                           Judy Vise Taylor Cook          Judy Wells
10130 N W Park Drive                    PO Box 633612                  7513 Spivey Dr
Houston, TX 77086                       Nacogdoches, TX 75963          Austin, TX 78749




Judy Wells Tst A                        Judy Wells Tst B               Judy Wiggins Bowers
8901Taline Circle                       8901 Taline Circle             106 Fieldstone Dr
Austin, TX 78745                        Austin, TX 78745               Terrace Park, OH 45174-1055




Judy Z Covington                        Judye Anne Kempf Patterson     Jules A Saunee Iv Malanie Jean Saunee
922 Chapel Hill Road                    105 Highcrest Lane             54 Oakley Dr
Dequeen, AR 71832                       Rockwall, TX 750873214         Destrahan, LA 70047




Jules Alford                            Jules Delaune                  Jules Johnson Jr
c/o Texas State Treasurer               101 N Summer St                4429 Jasper St
Unclaimed Property Division             Lampasas, TX 76550-1635        Metairie, LA 70006
PO Box 12608 Capitol Station
Austin, TX 78711



Juli Mazzulla Noland                    Julia A Sholar Taylor          Julia Ann Colvin Nichols
4062 Crayton Road                       PO Box 1621                    1924 Huffman St
Naples, FL 34103                        Livingston, TX 77351           Alexandria, LA 71301




Julia Ann Fears Grenier                 Julia Ann Hays White           Julia Ann Nichols And Virgil L Nichols
1513 Tampico                            1210 Brookhaven                1924 Huffman St
Plano, TX 75075                         Ruston, LA 71270               Alexandria, LA 71301




Julia Archer Trust                      Julia Arnold Thomas            Julia B Patton Separate Property
c/o Farmers National Co Agent           PO Box 260002                  4720 Walnut St
PO Box 3480                             Plano, TX 75026-0002           Oakland, CA 94619
Oil Gas Dept
Omaha, NE 68103-0480



Julia B Waters                          Julia Beth Hammons Hay Sp      Julia Bower Brown
c/o H Harcourt Waters                   1336 Sandy Ridge Road          951 Dolphin Park
512 Whitney Bldg                        Chatham, LA 71226              Jupiter, FL 33458
New Orleans, LA 70130
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Julia Cage                              Julia Catherine Mchenry             Julia Davis Mcguire
PO Box 647                              20917 Normandie Ave                 10117 Muscatine St
Falfurrias, TX 78355                    Rear                                Jacinto City, TX 77029
                                        Torrance, CA 90501




Julia Day Ferrell                       Julia Elizabeth Jones Rubio         Julia Elizabeth Jones Rubio Ry
Charles H Ferrell Iii Poa               8 Manor Place                       8 Manor Place
6618 Walton Heath Drive                 Laredo, TX 78041                    Laredo, TX 78041
Houston, TX 77069




Julia F Payne                           Julia F Williams                    Julia Fondren Watson
Route 4 Box 165                         3513 Tall Pines Lane                1902 Augusta Dr 34
Farmerville, LA 71241                   Tuscaloosa, AL 35405                Houston, TX 77057




Julia Graham Mclean                     Julia Hall Horne                    Julia Hughes Jones
4137 Sharon Commons Lane                845 Unadilla St                     31 Islander Circle
Charlotte, NC 28210                     Shreveport, LA 71106                St Augustine, FL 32080




Julia Humphries Morton                  Julia Jackson                       Julia Jackson Peavy
7 Freestone Place                       PO Box 403                          8882 E Rusty Spur Place
The Woodlands, TX 77382                 Grambling, LA 71245                 Apartment 17
                                                                            Scottsdale, AZ 85255




Julia Joan Sanderson                    Julia K Adams                       Julia L Penick Mineral Agency
1570 Slocum Rd                          317 Glen Erica                      Bank Of America Agent
Calhoun, LA 71225                       Shreveport, LA 71106                PO Box 840738
                                                                            Dallas, TX 75284-0738




Julia M Schrum                          Julia Massey Babb                   Julia Meek Gainey
Everett Crosby Schrum Aif               15603 Mustang Island Dr             235 Merrydale Dr
122 Poppy Hills Cv N                    Sugar Land, TX 77498                Fayetteville, GA 30214
Georgetown, TX 78628




Julia Morgan Weidner                    Julia Nell Mcconathy Graves         Julia Nell Mcdermott
1613 Audubon Place                      2609 Lake Oaks Dr                   14729 Cherry Hills Dr
Shreveport, LA 71105                    Waco, TX 76710                      Dallas, TX 75234




Julia Norwood Hall Horne Trust Iii      Julia Norwood Hall Horne Trust Iv   Julia O Smith
Bank Of America Na Succ Ttee            Bank Of America Na Succ Ttee        5114 R St
PO Box 840738                           PO Box 840738                       Little Rock, AR 72207
Dallas, TX 75283-0738                   Dallas, TX 75283-0738




Julia S Watson                          Julia Stassinos                     Julia Suzanne Stewart
PO Box 1418                             210 Canyon Dr                       6944 Cr 1230
Laredo, TX 78042                        San Antonio, TX 78209               Godley, TX 76044
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Julia Victoria Hensley Mcgee            Julia Vidaurri                        Julia Vinson Dabney
9184 Delmar St                          7519 R West Emerson Loop              2200 Willowick Apt 14J
Detroit, MI 48211                       Laredo, TX 78041                      Houston, TX 77027




Julia Vinson Dabney Family Tr           Julia Vinson Dabney Family Tr         Julia Vinson Dabney Family Tr
Fbo Anne Dabney Moriniere               Fbo Charles William D Abney Iii       Fbo Elizabeth Dabney Charles
Anne D Moriniere Elizabetha Charles     C W Dabney Iii A Moriniere W Dabney   Elizabeth D Charles Anne Charles
1114 C Potomac Dr                       PO Box 460128                         4954 Post Oak Timber Dr
Houston, TX 77057                       Houston, TX 77056                     Houston, TX 77056



Julia Waters Separate Prop              Julia Watson Jones                    Julia Watson Jones Ry
400 Redwood St Apt 221                  611 Martens Drive                     611 Martens Drive
Vallejo, CA 94590                       Laredo, TX 78041                      Laredo, TX 78041




Julia Watson Narcisco                   Julia Watson Narcisco Ry              Julia Watson Narcisco Trustee
1902 Augusta Drive 34                   1902 Augusta Drive 34                 Julia Watson Narcisco Gst Exem
Houston, TX 77057                       Houston, TX 77057                     1902 Augusta Drive 34
                                                                              Houston, TX 77057




Julia Woodward Burka                    Julian Eugene Patterson               Julian L Haskins
6319 Story St                           145 S Bunker Hill                     Haskins Trucking
New Orleans, LA 70118                   Los Angeles, CA 90012                 P O Drawer 7729
                                                                              Longview, TX 75607




Juliana King                            Julianne Hazelwood G Browne           Julianne W Klingman Living
4207 Gregory St                         509 West French Place                 Trust Dtd May 26 1994
Oakland, CA 94619                       San Antonio, TX 78212                 2333 Chace Court
                                                                              Plano, TX 75023




Julie A Judson                          Julie A Melancon                      Julie Ann Fenton Duke
PO Box 10010                            15472 Brush Island Road               1015 Fairview St
Midland, TX 79702                       Winnie, TX 77665                      Gladewater, TX 75647




Julie Ann Isley                         Julie Ann Moore                       Julie Annette Rusk
7321 Bodega Ave A                       551 English Village Way Apt 917       5414 Pecan Leaf Drive
Sebastopol, CA 95472-3727               Knoxville, TN 37919-8779              Missouri City, TX 77459




Julie Barnes Deshano                    Julie C Hagan                         Julie Catherine Vidler Deas
PO Box 1643                             300 Legacy Dr Apt 912                 PO Box 836
Montgomery, TX 77356-1643               Plano, TX 75023-2321                  Logansport, LA 71049




Julie Catherine Vidler Morris           Julie Crawford                        Julie Dickerson David
PO Box 836                              684 Fm 1794 W                         1173 Cr 3344
Logansport, LA 71049                    Beckville, TX 75631                   Joaquin, TX 75954
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Julie Everett Watson                       Julie Fontenot Drouin          Julie Gardner
7130 Midcrest Drive                        565 Whippoorwill Trail         1423 County Road 107
Dallas, TX 75254                           Austin, TX 78746               Wharton, TX 77488-9092




Julie Gardner Individually                 Julie H Hanson                 Julie Hardy
As Guardian Of Julia                       515 Briar Knoll Lane           659 Political Rd
Corey Garner                               Houston, TX 77079              Lockhart, TX 78644-4571
PO Box 1309
Needville, TX 77461



Julie Lene Winterrowd Quade                Julie Linda Backiel            Julie Louise Baker
281 Westwood Drive                         1113 Pelican Dr South          3442 Gull Harbor Rd Ne
San Angelo, TX 76901                       Azle, TX 76020                 Olympia, WA 98506




Julie Louise Long                          Julie Luelle Brown Trust       Julie M Clark
1440 Springrock Lane No 5                  Julie Brown Trustee            4829 Harley Ave
Houston, TX 77055                          PO Box 888                     Fort Worth, TX 76107
                                           De Queen, AR 71832




Julie Marie Dreesman                       Julie R Parker                 Julie S Herman
635 West Santa Fe Trail                    12934 Cr 496                   7223 Blairview Drive
Kansas City, MO 64145                      Tyler, TX 75706                Dallas, TX 75230




Julie Sanderson Henry Hank                 Julie Shadpa                   Julie Shannon
Cameron Dean Co Ttees Of Descendants       633 W Sierra Madre Blvd 14     910 South Brooks 4
Single Trust U/W Henry Clay Dean           Sierra Madre, CA 91024         Madison, WI 53715
PO Box 1467
Texarkana, AR 75504



Julie Snyder Diamond                       Julie T Anglin Rust            Julie Weaver
7225 Old River Rd                          PO Box 1691                    PO Box 1454
Shreveport, LA 71105                       Edwards, CO 81632              Longview, TX 75601




Julie Williams Bondy                       Julie Z Prewitt                Julie Zadeck
6033 Covington Dr                          2753 Lake Forest               401 Market St 480
Baton Rouge, LA 70820                      Round Rock, TX 78665           Shreveport, LA 71052




Julien Robert Ransone                      Juliet A Lewis                 Julietta Jarvis Foundati0Ninc
4435 Twin Post Road                        550 W Waverly Road             100 E Ferguson Ste 1006
Dallas, TX 75244                           Glenside, PA 19038             Tyler, TX 75702




Juliette L Owens Estate                    Juliette Owens                 Julio Meza
William C Pickens Jr Executor              6414 Villa Rd                  Address Redacted
8111 Preston Rd Ste 800                    Dallas, TX 75252
Dallas, TX 75225
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Julius A Grayce Lewis Rau                Julius A Kaufman Jr Estate              Julius C Sanford Iii
4 Elm Terrace                            Beverly Brown Kaufman Ind Exec          1105 Spring St 1307
Manchester, CT 06040                     6820 Redding Rd                         Seattle, WA 98104
                                         Houston, TX 77036-4729




Julius D Fiegelson                       Julius Garrett Caraway Jr               Julius Hiram Johnson
9171 Wilshire Blvd Ste 300               2316 Larue Dr                           333 Lee Dr Apt 111
Beverly Hills, CA 902105524              Westlake, LA 70669-7202                 Baton Rouge, LA 70808-4981




Julius J Yates                           Julius Marie Lahan                      Julius Rahn Sherman Jr
Anita J Seggelink Poa                    5322 Everglade Road                     3354 Deborah Drive Extension
30048 Appaloosa Dr                       Dallas, TX 75227                        Monroe, LA 71201
Evergreen, CO 80439




Juluian Kathleen Livesay                 June Ann Wylie                          June Baldwin Mills
607 Paradise Ct                          154B Ojo De La Vaca Rd                  2005 Dickson Dr
Atlantic Beach, FL 32233                 Santa Fe, NM 87508                      Shreveport, LA 71115




June Bivins Baumoel                      June C Irwin Rev Living Trust           June Claire Waggener
110 Roy Creek Trail                      c/o James B Irwin Suc Ttee              19 April Point Dr South
Dripping Spgs, TX 78620                  400 Poydras Street Suite 2700           Montgomery, TX 77356
                                         New Orleans, LA 70130




June Cooper Craig                        June Davis Estate                       June Doris Dunn
1304 Jacksonville Drive                  Lisabeth Davis Williams Indp Executor   3534 Ashbourne
Henderson, TX 75652                      307 North Lamar                         San Antonio, TX 78247
                                         San Marcos, TX 78666




June Drake Life Estate                   June Genelle Wallace Skipper            June Gillaspie Morgan
445 W Courtland                          1375 North Lowell Avenue                1901 N Livingston Street
Vidor, TX 77662                          Tracy, CA 95376                         Longview, TX 75601




June Hodge Godfrey                       June Holland Life Estate                June Lewis Mchenry
c/o Thomas B Godfrey Jr Poa              1634 Cr 225                             1810 Riverside Drive
1409 N 2nd St                            Carthage, TX 75633                      Monroe, LA 71201
Monroe, LA 71201




June Moore Francis                       June Shackelford                        June Stewart
3212 Amherst Ave                         1506 W Corsicana 115                    7382 Canterbury St
Dallas, TX 75225                         Athens, TX 75751                        Spring Hill, FL 34606-4303




June Swint                               June W Leslie                           Jung Thomas
PO Box 665                               c/o Texas State Treasury                Address Redacted
Tenaha, TX 75974                         Unclaimed Property
                                         PO Box 12019
                                         Austin, TX 78711-2019
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Junish Bishop Thomas                      Just In Time Sanitation Services   Just In Time Sanitation Svcs
Address Redacted                          Karen Tarjick                      PO Box 19569
                                          14825 St MaryS Lane Suite 125      Houston, TX 77224
                                          Houston, TX 77079




Justin A Matthews                         Justin Andrews Irrevocable Tst     Justin Bryant Russell
1617 North Lorraine Avenue                Agreement No 1                     115 Newton Ave
Wichita, KS 67214                         Donald Richard Andrews Jr Ttee     Hattiesburg, MS 39402
                                          4316 Woodwick Ct
                                          Fort Worth, TX 76109



Justin Croft                              Justin Deguire                     Justin E Mccaskill
Address Redacted                          8940 Chatsworth                    5416 Dickson St
                                          Houston, TX 77024                  Houston, TX 77007




Justin H Colvin Jr                        Justin H Perritt                   Justin Kirk Halbrook
10473 Hwy 562                             458 Carnation Rd                   Address Redacted
Fort Necessity, LA 71243                  Arcadia, LA 71001




Justin L Ouchley Christie W Ouchley       Justin L Sharp                     Justin Learned Allison
1505 West Kentucky Ave                    PO Box 772                         154 Gallup Hill Road
Ruston, LA 71270                          Henderson, TX 75653                Ledyard, CT 06339




Justin N Trail                            Justin Q Sibley                    Justin R Querbes Jr
3933 Elm St                               2322 N E Pacific Street            Husband Of Louise Querbes
Dallas, TX 75226                          Apartment 188                      3825 Gilbert Drive Ste 119
                                          Portland, OR 97232                 Shreveport, LA 71104




Justin Royce Bailey                       Justin Wiseman                     Justine Stinger Schuler
c/o Loretta Cox                           200 15Th Street Sw                 C/O Stone Schuler
369 Cr 2560                               Albuquerque, NM 87104              1225 W Elm Street
Mineola, TX 75773                                                            El Dorado, AR 71730




Justiss And Company                       Justus Anthony Villa Jr            Jv Construction Co
PO Box 1426                               1536 Ogden Street Nw               PO Box 194
Fayetteville, AR 72451                    Washington, DC 20010               Pettus, TX 78146-0194




Jv Smith Oil Co                           Jv Smith Oil Company               Jvr La Oil Gas Ltd
16250 Knoll Trail Drive                   16250 Knoll Trail Dr Suite 110     777 Taylor Street Suit P Ii J
Suite 110                                 Dallas, TX 75248                   Fort Worth, TX 76102
Dallas, TX 75248




JW Interests Ltd                          Jw Measurement Company             Jw Measurement Company
900 Ne Loop 410                           Contracts Manager                  PO Box 732238
A 107 Petroleum Center                    PO Box 226406                      Dallas, TX 75373-2238
San Antonio, TX 78209                     Dallas, TX 75222-6406
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Jw Morton Et Ux                         JW Power Company                 JW Services Equipment Co Inc
Mary Alverne Hood Morton                PO Box 205856                    PO Box 11021
204 Morton Lane                         Dallas, TX 75320-5856            Midland, TX 79702
Ruston, LA 71270




Jw Williams Inc                         Jw Williams Inc                  Jw Wireline Company
Terry Cooper                            PO Box 116689                    PO Box 970490
Dept 2261                               Atlanta, GA 30368-6689           Dallas, TX 75397-0490
Tulsa, OK 74182




Jwal3 LLC                               Jwd Family Trust                 Jwk Minerals Management
330 W Mississippi Ave                   Mary Catherine Dammier Trustee   15 South 10Th Street
Ruston, LA 71270                        2901 Teckla                      PO Box 1169
                                        Amarillo, TX 79106               Duncan, OK 73533




Jwp Mkp Minerals Holdings Lp            Jws Of New Mexico Inc            Jyl Holdings LLC
c/o Marjorie K Phillips                 1675 Broadway                    501 Graham Rd
PO Box 1059                             Suite 2800                       College Station, TX 77845
Menlo Park, CA 94026                    Denver, CO 80202




Jyl Roberts Baskin                      K 2 Properties Inc               K 8 Ranch Ltd
2222 Downeymeade                        121 South Broadway Suite 708     c/o Law Office of Dean A Searle PC
Nashville, TN 37214                     Tyler, TX 75702                  PO Box 910
                                                                         305 West Rusk Street
                                                                         Marshall, TX 75671



K A Small                               K Arnold Consulting Inc          K B Electrical Construction Co
11629 Green Oaks                        3031 Shadowdale                  PO Box 216
Houston, TX 77024                       Houston, TX 77043                Andrews, TX 79714




K B Limited Partnership                 K B Oil Tools                    K Bar Texas Electric Inc
PO Box 182                              PO Box 240                       Donny Barry
Roswell, NM 88202                       Kersey, CO 80644-0240            PO Box 1287
                                                                         Levelland, TX 79336




K Bar Texas Electric Inc                K C Allen                        K C Kyle Jr Birdie P Kyle
1311 W Hwy 114                          135 Tes Drive                    6162 Us Highway 59 North
Levelland, TX 79336                     Choudrant, LA 71227              Tenaha, TX 75974




K C Premium Royalty Corp                K Cleaning Services              K D Equipment Sales
PO Box 950                              115 Lakeway Dr                   776 Ne 1500
Midland, TX 79702                       Brookeland, TX 75931             Andrews, TX 79714




K D Kilpatrick Jr                       K D Ventures LLC                 K E Andrews Co
2307 Jasmine St                         625 Lakeridge Drive              Accounts Receivable
Monroe, LA 71201                        Lavon, TX 75166                  PO Box 298
                                                                         Gail, TX 79738-0298
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K K America Corp                         K K Oilfield Services LLC      K L Phelps
Dallas Midwest Llc                       PO Box 152                     5050 N Mesa Drive
4100 Alpha Rd                            Sterling, CO 80751             Castle Rock, CO 80104
Suite 111
Dallas, TX 75244



K M Fagin Oil Trust                      K M P Lakewood                 K M Products LLC
4849 Greenville Ave Suite 1690           370 Van Gordon Street          500 Silver Spur Rd Ste 204
Dallas, TX 75206                         Lakewood, CO 80228             Rolling Hills, CA 90275-3607




K M Technology Group                     K P Simonton                   K Paula Rosenwinkel Tr
10077 GroganS Mill Road                  3943 Chatworth                 Paula Rosenwinkel Ttee
Suite 300                                Pittsburg, CA 94565            312 Wellesley Rd
The Woodlands, TX 77380                                                 Philadelphia, PA 19119




K Phill Fleetwood                        K V Ind Inc                    K W Grader
Fleetwood Oil Properties                 101 BarbS Landing              1925 Hermosa
PO Box 407                               Monroe, LA 71203               Bartow, FL 33830
Marlow, OK 73055




K5 Global Inc                            K8 Ranch Ltd                   Kahla Tompkins
10271 Fm 139                             1936 Highway 79 South          328 E Francis St
Joaquin, TX 75954                        Carthage, TX 75633             Molalla, OR 97038-9318




Kaiser Francis Oil Company               Kaiser Francis Oil Company     Kaiser Francis Oil Company Inc
Department 637                           Outside Operated Acctg Dept    PO Box 21468
Tulsa, OK 74182                          PO Box 21468                   Tulsa, OK 74121
                                         Tulsa, OK 74121-1468




Kaiser Fransic Oil Co                    Kaiser Pump Valve Inc          Kaj Oil Gas Ltd
Outside Operated Acctg Dept              11894 State Hwy 149            PO Box 10626
PO Box 21468                             Longview, TX 75603             Midland, TX 79702
Tulsa, OK 74121-1468




Kakel LLC                                Kaki Steves                    Kallie Kathryn Mcintosh
4336 Clayton Rd West                     511 Brightwood                 317 Johnson Dr
Ft Worth, TX 76116                       San Antonio, TX 78209          Elm Grove, LA 71051-8725




Kalliste Enterprises Ltd                 Kalman Ida Wolens Foundation   Kalos Corporation
Co Thomas Dorothy Timmons Gp             c/o Ron Robbin Cpa             Attn Larry Wright
5905 Haydens Cove                        Robbins Tapp Cobb              305 S Broadway Suite 505
Austin, TX 78730                         600 North Pearl Lb 146         Tyler, TX 75702
                                         Dallas, TX 75201



Kamay Electric Service Inc               Kammie N Williams              Kandy G Broughton
PO Box 144                               20530 N Ridge Rd               130 Clearview Lane
Kamay, TX 76369                          Chatsworth, CA 91311           Benton, LA 71006
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Kandy S Easley                           Kane Environmental Engineering Inc   Kangerga Clay
314 Katie Ln                             8816 Big View Drive                  3160 Shadygrove Ct
Ruston, LA 71270                         Austin, TX 78730                     Chico, CA 95973




Kangerga Interests Ltd                   Kangerga Investments Ltd             Kangerga Scott
102 East Main St                         102 E Main                           6 Woodstone Lane
Henderson, TX 75652                      Henderson, TX 75652                  Chico, CA 95928




Kansas Business Center                   Kansas City Royalty Co LLC           Kansas City Southern Railway
1 Ward Pkwy                              6520 N Western Ave Ste 300           c/o Harris Trust Saving Bank
Kansas City, MO 64112                    Oklahoma City, OK 73116              36929 Treasury Center
                                                                              Chicago, IL 60694-6900




Kansas Franchise Tax                     Kansas Secretary Of State            Kansas State Treasurer
Kansas Department Of Revenue             Ron Thornburgh                       Div Of Unclaimed Property
915 Sw Harrison Street                   Memorial Hall 1st Floor              900 Sw Jackson St Suite 201
Topeka, KS 66699                         120 Sw 10Th Avenue                   Topeka, KS 66612-1235
                                         Topeka, KS 666121594



Kansas State Treasurer                   Kansas State Treasurer               Kansas State Treasurer
Div Of Unclaimed Property                F/A/O Alvin T Anderson               F/A/O Robbie Gene Cowan
Landon State Office Bldg 2nd Floor       900 Sw Jackson Suite 201             900 Sw Jackson Suite 201
900 Sw Jackson St Ste 201                Topeka, KS 666121235                 Topeka, KS 666121235
Topeka, KS 66612-1235



Kaplan Partners Ltd                      Kapper Richmond                      Kappie K Bliss
2003 Livingston                          Address Redacted                     4607 Richmond Ave
Longview, TX 75601                                                            Austin, TX 78745




Kara Annette Gentsch Durbin              Kara L Krafft                        Kara Lea
123 Westminister Ave                     3201 Historic Lane                   300 E Brow Rd
Murphy, TX 75094                         Aubrey, TX 76227                     Lookout Mountain, TN 37350




Karan A Brown                            Karan Marcell Schafer                Karan Wynn Warr
1006 Hunters Creek Way                   501 Kupulau Dr Apt Mh                6309 Rochester Way
Hockley, TX 77447                        Kihhei, HI 96753                     Tyler, TX 75703




Kare Sue Energy Inc                      Karen A Yarbrough                    Karen Akard Deal
381 Hwy 21                               180 County Road 2056                 3678 Hidden Dr 2404
Suite 205                                Nacogdoches, TX 75965                San Antonio, TX 78217
Madisonville, LA 70447




Karen Ann Moore                          Karen Ann Patterson Vargas           Karen Ann Ray
4122 Lee Hutson Dr                       Ranch Preservation Tr                1350 Main St Ste 900
Sachse, TX 75048                         Bank Ofamerica Na Agt For Ttee       Sarasota, FL 34236
                                         PO Box 840738
                                         Dallas, TX 75284-0738
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Karen Annette Cox Powell                  Karen Annette Lampin           Karen B Reisz
820 Rankin Drive                          18451 Cr 138                   28823 Village Bnd
Bedford, TX 76022                         Flint, TX 75762                Magnolia, TX 77355-3069




Karen Blake Sharbutt                      Karen Brown                    Karen C Craig
5727 Chanberry Ln                         7328 Colina Vista Loop B       38 Tutanekai St
Rogers, AR 72758                          Austin, TX 78750-8533          Grey Lynn Auckland 1021
                                                                         New Zealand




Karen C Farrell                           Karen Caldwell Martin          Karen Clyde Fraim Smith
1501 Old Compton Road                     713 54Th St 2                  1806 Webster
Henrico, VA 23238                         Oakland, CA 94609              San Angelo, TX 76901




Karen Cook Sargent                        Karen Crawford Mathews         Karen D Lacroix
3215 St Johns Drive                       2009 Christine Avenue          6717 Pebble Beach Dr
Dallas, TX 75205                          Bossier City, LA 71112         Plano, TX 75093




Karen Davidson                            Karen Dawn Haskins Smith       Karen Dorsey Boles
1522 Bennie Breece St                     7457 Hwy 79 South              14901 Cr 4340
West Monroe, LA 71291                     Henderson, TX 75654            Larue, TX 75770




Karen Dyar                                Karen E OConnor Rev Trust      Karen Elaine Woodson
4300 Pine Bur Ter                         PO Box 99084                   3021 Mountain Park Dr
Marshall, TX 75672                        Fort Worth, TX 76199           Calabasas, CA 91302




Karen Elizabeth Rauss                     Karen Frith                    Karen Furlow Boyett
Succ Personal Representative              PO Box 352                     230 Oak Hill Ct
Est Of Mary Rauss                         Longview, TX 75606             Waxahachie, TX 75167
7219 Daerwood Pl
Charlotte, NC 28215



Karen G Nessling                          Karen Givens                   Karen H Richardson
328 Wabena Ct                             5824 Naff Ave                  Harry G Richardson
Minooka, IL 60477                         Bastrop, LA 71220              Jt Ten/Wros
                                                                         3160 Nw 69Th Street
                                                                         Fort Lauderdale, FL 33309-1210



Karen H Williams                          Karen Hon Matthews             Karen Hughes Kimborowicz
6711 Birch Lane                           11486 W Woodmark Dr            6087 E Summit Ct
Temple Hills, MD 20748                    Conroe, TX 77304               Anaheim, CA 92807




Karen J Babel Trust                       Karen J Hendrex                Karen Jackson
Karen J Babel Trustee                     10027 S Saxet                  10523 Daysailer Drive
10196 Cr 341                              Boerne, TX 78006               Fairfax Station, VA 22039
Plantersville, TX 77363
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Karen Jean Keasler Adams Trustee Of     Karen Jo Whittlesey Life Est              Karen K Derr
The Dorothy Jean Keasler Heritage       5008 Marks Pl                             PO Box 916
Trust U/A/D July 7 2009                 Fort Worth, TX 76116                      Artesia, NM 88210
1896 Keasler Road
Hallsville, TX 75650



Karen K Ford                            Karen Komer                               Karen Kramer
504 Tullie                              Collin Underwood Panola Cnty Dist Clerk   3111 Greenridge
Longview, TX 75601                      123rd District Court                      Missouri City, TX 77459
                                        PO Box 147
                                        Carthage, TX 75633



Karen L Cowan                           Karen L Douglas                           Karen L Gunsaullus
6501 Independence Pkwy                  510 E Ferry                               146 Laird Circle
Apt 8206                                Detroit, MI 48202                         Panama City, FL 32408
Plano, TX 75023




Karen L Peterson                        Karen Lawrence                            Karen Lee Quilty Baldwin
23 Recado Rd                            1697 Sky Terrace Se                       2018 Rosedown Dr
Santa Fe, NM 87508-1918                 Salem, OR 97306                           Lake Charles, LA 70605-9719




Karen Lillegard Peckham                 Karen Lou Semple                          Karen Louise Meier Ramirez
119 Mountain Rd                         280 Lcr 788                               PO Box 404
Gatesville, TX 76528                    Groesbeck, TX 76642-2497                  Covington, LA 70434




Karen Lynn Brown Morris                 Karen M Deaver                            Karen M Roberts
PO Box 3458                             16510 Quail Dale                          8121 Dempsey
Kilgore, TX 75663-3458                  Missouri City, TX 77489                   El Paso, TX 79925




Karen Marie Ramsey                      Karen Martinec                            Karen Mcdonald Trust
53 Timbercreek                          10041 Planters Woods                      Karen Mcdonald Trustee
Lake Jackson, TX 77566                  Austin, TX 78730-3562                     491 Noel St
                                                                                  Arroyo Grande, CA 93420




Karen Nail Coulter Separate Property    Karen Nesbitt Marti                       Karen OBrien Pfluger
26814 Sweetstone Springs Ct             5414 Valerie Street                       2133 Office Park Dr
Cypress, TX 77433                       Bellaire, TX 774014709                    San Angelo, TX 76904




Karen Oden Evans                        Karen Okeefe Scialo                       Karen Oliveres
7717 Creswell 21                        3503 Deeds Road                           200 Bay Street 6th Floor
Shreveport, LA 71106                    Houston, TX 77084                         Royal Bank Plaza North Tower
                                                                                  Toronto, ON M5J 2W7
                                                                                  Canada



Karen Parker Trees Separate Property    Karen Patrice Holmes Harris               Karen Patricia Bazer Buckner
5506 Island Breeze Dr                   991 Double Springs Road                   203 Rice Rd
Houston, TX 77041                       Monroe, GA 30656                          Minden, LA 71055
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Karen R Bradley Tr Ua Dtd 9 24 98       Karen Ralston Slade            Karen Ralston Slade Revocable Trust
Karen R Bradley Ttee                    PO Box 210188                  PO Box 210188
PO Box 379                              Bedford, TX 76095              Bedford, TX 76095
Tulsa, OK 74101




Karen Rene Vernon Bowers                Karen Renee Bottoms            Karen Rhea Clark Gibbens
454 Golden Dr                           509 S Scruggs Road             540 N East Camano Drive
Ripley, WV 25271-6582                   Corsicana, TX 75109            Camano Island, WA 98282




Karen Roberts Special Needs Tr          Karen S Fletcher Dupape        Karen S Hayden
Carissa Brown Ttee                      121 Paradise Cove              3209 39Th Street
2509 Aspen St                           Shady Shores, TX 76208         Lubbock, TX 79413
Longview, TX 75605




Karen Shepherd Mclarty                  Karen Sims Douglas             Karen Smith
Rev Tr Uda 01 30 14                     510 East Ferry Street          8603 Kempridge St
Karen Lee Mclarty Ttee                  Detroit, MI 48202              Houston, TX 77080
1305 Hockley Ct
Allen, TX 75013



Karen Spurgin                           Karen Sue Anderson             Karen Sue Bjorkland
272 Edward Farris Rd                    PO Box 1557                    4297 S Elati St
Weatherford, TX 76085                   Wimberley, TX 78676            Englewood, CO 80110-4558




Karen Sue Camp                          Karen Sue Camp Life Estate     Karen Sue Clark
235 White Rd W                          235 White Rd W                 10 Roadrunner Ln
Texarkana, TX 75503                     Texarkana, TX 75503            Alamogordo, NM 88310-9114




Karen Sue Doutt                         Karen Sue Landers Ward         Karen Sue Majewski
21331 Cr 4119                           2821 Emerson Place             14388 West Bayaud Avenue
Lindale, TX 75771                       Midland, TX 79705              Golden, CO 80401




Karen Sue Myers                         Karen Sue Prothro              Karen Sue Ward Campbell
PO Box 1938                             6019 Mimosa                    1443 Cr 432
Camp Verde, AZ 86322                    Dallas, TX 75230               Joaquin, TX 75954




Karen T Raizen                          Karen Tantalo Lyons            Karen Trotter
PO Box 50004                            121 Fleurance Street           Address Redacted
Austin, TX 78763                        Laguna Niguel, CA 92677




Karen V Martin                          Karen Virginia Darst           Karen W Malveaux
413 First National Bank Bldg            40 Mule Deer Ct                3345 Charleston
Midland, TX 79701                       Dillon, CO 80435               Houston, TX 77021
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Karen W Oliver                         Karen Williams Barber          Karen Williams Dendy
11 Sedgewood Ct                        24068 County Road 374          3703 Partridge Lane
North Augusta, SC 29860                Gladewater, TX 75647           Irving, TX 75062




Karen Winston                          Karen Young                    Karen Zamzow Brysch
3106 Midlane St                        4203 Gladway Road              5000 Fm 99
Houston, TX 770275610                  Jonesboro, LA 71251            Karnes City, TX 78118




KarenWilliam Martin Engy Ltd           Kari Dominguez                 Karichi Investments Lp
400 N Marienfield Ste 100              Address Redacted               Edward B Thomas Baker Ii Gp
Midland, TX 79701                                                     PO Box 632768
                                                                      Nacogdoches, TX 75963-2768




Karim Hemani                           Karin Heine                    Karin McCarthy
Address Redacted                       4600 Miller Street             1 Pickwick Plaza
                                       Wheatridge, CO 80033           Greenwich, CT 06830




Karin T Brown                          Karl Anthony Norris            Karl Anthony Norris Madeline
15201 S W 82nd Avenue                  2152 Wiggins Road              Slay Norris
Miami, FL 33157                        Pineville, LA 71360            2152 Wiggins Road
                                                                      Pineville, LA 71360




Karl Beeman Inc                        Karl Delk                      Karl E Compton
9724 Casper Peak Ct                    161 County Road 451            6327 Thorton Dr
Las Vegas, NV 89117                    Carthage, TX 75633             Missouri City, TX 77459




Karl E Myles                           Karl Erik Ulmer                Karl Leo Hollier Jr
9327 Five Forks                        14303 Islandwoods Dr           695 Winchester Dr
San Antonio, TX 78245                  Houston, TX 77095-3590         Bridge City, TX 77611




Karl M Goetzke                         Karl M Larsen                  Karl Mervin Scott
Cmr 489 Box 1442                       1060 Caribou Dr W              5514 Deer Creek Dr
Apo, Ae 09751                          Monument, CO 80132             Texarkana, TX 75503




Karl Van Kyle                          Karla Buckner                  Karla Deluca
PO Box 667384                          130 Madison Ave                3924 Deveaux St
Houston, TX 77266-7384                 Many, LA 71449                 Niagara Falls, NY 14305-1616




Karla Diaz for Materials               Karnack Investments Lp         Karnes City Isd
Valeurs Mobiliares Desjardin           PO Box 435                     314 N Hwy 123
2 Complexe Desjardins Tour Est         Mclean, VA 22101               Karnes City, TX 78118
Niveau 62, QC H5B 12J
Canada
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Karnes City Isd                        Karnes County District Clerk           Karnes County Tax Office
Monica E Gonzales T/C                  Denise Rodriguez                       Brenda Janysek Tax Assessor Collector
PO Box 38                              210 W Calvert                          200 E Calvert Ste 3
Karnes City, TX 78118-0038             Suite 180                              Karnes City, TX 78118
                                       Karnes City, TX 78118



Karol D Mclendon Mcalister             Karol King Tyson                       Karol S Tyson Royalty Tr
PO Box 1181                            PO Box 852                             Karol S Tyson Ttee
Gladewater, TX 75647                   Shallowater, TX 79363                  PO Box 852
                                                                              Shallowater, TX 79363




Karoletha Stone                        Karroll H Pollard                      Karyn Mcgilvery Shaw
Box 2509                               1929 Central Street                    6327 Marquita Avenue
Longview, TX 75606                     Jackson, MS 39209                      Dallas, TX 75214




Kasper Pro Vac Services                Kassas Carol                           Katch Kan Usa LLC
4440 E Del Mar Blvd                    21100 Sunwood Drive                    13610 Poplar Cir Ste 101
PO Box 452328                          Walnut, CA 91789                       Conroe, TX 77304-1899
Laredo, TX 78045




Katco Vacuum Truck Service Lp          Kate Bower                             Kate Conrad
PO Box 399                             PO Box 12470                           c/o Andrews Lagasse Branch Bell Llp
Hebbronville, TX 78361                 Dallas, TX 75225                       John Andrews
                                                                              800 Wilshire Boulevard Suite 860
                                                                              Los Angeles, CA 90017



Kate Crichton Gubelmann                Kate D Herbelin                        Kate Elizabeth Porter
One North Clematis St 320              638 Big Lake Drive                     2114 Annes Trl
West Palm Beach, FL 33401              Livingston, TX 77351                   San Marcos, TX 78666-1060




Kate Meekins Estate                    Kate Shaffer Garrigan Trust            Kate Whitten Julazadeh
c/o Billie Earle                       Kate Shaffer Garrigan Trustee          PO Box 3107
2260 N Mill St                         675 Thalia St                          Monroe, LA 71210
Lewisville, TX 75057                   Laguna Beach, CA 92651




Kateland Caraway Carson Minor          Katesha Chante Horne                   Katharine K Gentsch
Angela Carson Guardian                 13513 Gresham Court                    1217 Stonewall St
9224 S Hudson Ave                      Bowie, MD 20720                        Garland, TX 75043
Tulsa, OK 74137




Katharine M Lancaster                  Katharine Sumlin Howey                 Kathe Morgan
1705 Western Ave                       1013 Santa Fe Trail                    PO Box 1308
Fort Worth, TX 76107                   Grand Prairie, TX 75052                Ruidoso, NM 88355-1308




Katherine A Le Cour                    Katherine A Lecour 2008 Grntor Trust   Katherine Ball Spears
780 W Bay Area Blvd Apt 1308           c/o Donald L Stewart Trustee           20201 County Rd 33
Webster, TX 77598                      48 La Jolla Circle                     Fairhope, AL 36532
                                       Montgomery, TX 77356
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Katherine Brown Dickens                Katherine C Hurley               Katherine C Maddox
PO Box 54                              1041 Laurel Place                1074 Cr 217
Hitchcock, TX 77563                    Athens, GA 30606                 Nacogdoches, TX 75965




Katherine C Taylor Mgmt Trust          Katherine Darby Short            Katherine Dennis
Katherine C Taylor Trustee             410 Main Street                  3004 Wessynton Way
c/o Northern Trust Company             Natchez, MS 39120                Alexandria, VA 22309
50 South Lasalle St
Chicago, IL 60603



Katherine E Hale                       Katherine E Roach Pearson        Katherine E Thompson
133 Medora Branch                      1650 Stanley Rd                  1217 Jasmine Ln
Floresville, TX 78114                  Stonewall, LA 71078-9330         Longview, TX 75604-2835




Katherine E Wells                      Katherine Edwards                Katherine Elaine Colvin Barrett
1420 Buttercup Ln                      Heissenbuttel Tr Boa Na Ttee     227 Holliman Road
Olivehurst, CA 95961-9673              PO Box 844143                    Ruston, LA 71270
                                       Dallas, TX 75284-4143




Katherine Elizabeth Drouant            Katherine Elizabeth Montgomery   Katherine F Bowles
DecD                                   311 Holly St Apt 219             1209 Dorchester Dr
103 Mary View Hill                     Vallejo, CA 94590                San Angelo, TX 76901
Lafayette, LA 70507




Katherine Fryer                        Katherine G Connell              Katherine G Hastings
11609 Birchbark Trail                  560 Colonial Road Suite 200      407 Honeycomb Ridge
Austin, TX 78750                       Memphis, TN 38117                Austin, TX 78746




Katherine Guerin Bertram               Katherine H Campbell             Katherine Hightower Bennett
PO Box 598                             3600 West Cliff Road North       1701 Jackson Hole Cove
Tyler, TX 75710                        Fort Worth, TX 76109             Austin, TX 78746




Katherine Jenkins Sp                   Katherine L Abney                Katherine L M Cox
203 Gatley Street                      PO Box 1252                      3650 Desert Rose Drive
West Monroe, LA 71292                  Marshall, TX 75670-1252          Lake Havasu City, AZ 86404




Katherine Long Galloway                Katherine Louise Mcbride Cox     Katherine Lynn Parks
PO Box 44                              3650 Desert Rose Dr              5 Grist Mill Lane
Hallsville, TX 75650                   Lake Havasu City, AZ 86404       Hingham, MA 02043




Katherine Mae Kelly Todd               Katherine Marwedel Nutting Tse   Katherine Moore Estate
4521 Oakland Ave S                     U/A Dated 01/29/85               c/o Texas State Treasury
Minneapolis, MN 55407                  1700 Tice Valley Blvd            Unclaimed Property Division
                                       Walnut Creek, CA 94595           PO Box 12019
                                                                        Austin, TX 78711-2019
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Katherine Moseley Daigre              Katherine Murphy Walker            Katherine Myrtice Day Rauch
404 Woodlawn Street                   Testamentary Trust                 3333 Allen Pkwy 1003
Henderson, TX 75652                   Simmons First Trust Company        Houston, TX 77019
                                      PO Box 7009
                                      Pine Bluff, AR 71611



Katherine Napper Freeman              Katherine Neel                     Katherine O Kelly
115 Wheaton Hall Lane                 5801 Cross Creek Circle            5 Birchwood Dr
Franklin, TN 37069                    Tyler, TX 75703                    Narragansett, RI 02882




Katherine Obyrne King                 Katherine Patton A Married Woman   Katherine Phelps
PO Box 1223                           As Her Separate Property           PO Box 886
Luling, TX 786481223                  1276 Crete Ct                      Hitchcock, TX 77563
                                      Riverside, CA 92506




Katherine Preas                       Katherine Price Simpson            Katherine Price Speer
15206 Ne 269Th St                     G P Chase                          c/o Holly Hall
Battle Ground, WA 98604               113 Blue Ridge Trace               8304 Knight Rd
                                      Hendersonville, TN 37075           Houston, TX 77054




Katherine R Bruyninckx                Katherine R Keener Irrev Tr        Katherine Rankin Cooksey
34115 Timberwood Bnd                  3550 West Dallas                   77 Red Fox Dr
Pinehurst, TX 77362-1515              Houston, TX 77019                  Savannah, GA 31419-9538




Katherine Rogers                      Katherine Ruth Moran               Katherine Shaw Spaht
3116 S Fm 3261                        13726 Senca Park Dr                2184 Kleinert Ave
Levelland, TX 79336                   Houston, TX 77077                  Baton Rouge, LA 70806




Katherine Shepperd                    Katherine Shepperd Dealing         Katherine Stockton Gallagher
c/o Francis Starks                    In Her Sole And Sep Prop           238 Rio Dr
529 Pittman                           1117 Bandera                       New Braunfels, TX 78130-3839
Richardson, TX 75081                  Garland, TX 75040




Katherine Stroman Nance               Katherine Susan Humphrey           Katherine V Brockles
Box 537                               91 Denny Road                      7597 Vz County Road 3504
Hebbronville, TX 78361                Deville, LA 71360                  Wills Point, TX 75169




Katherine Weed                        Katherine White Horn Life Est      Katherine Young Gray
Bank First PO Box 489                 1693 County Road 121               2203 Timberloch Pl Ste 100X
Account 5266812101                    Gary, TX 75643                     Spring, TX 773801188
Lawton, OK 73502




Katherine Zawada Taleb                Katheryn Caldwell                  Katheryne M Roberts
5908 Carleen Dr                       7868 County Road 476 S             Testamentary Tr Sue Howell
Austin, TX 78757                      Henderson, TX 75654-8232           Roberts Homer V Howell Ttees
                                                                         PO Box 248
                                                                         Terrell, TX 75160
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Kathi Bobbitt Chamberlin                 Kathi M Youngblood Aleman       Kathie B Lowery
107 Southfield Dr                        4639 North Defiance             2035 Sundance Pkwy
Newman, GA 30265                         Tacoma, WA 98407                Cottage 1101 C
                                                                         New Braunfels, TX 78130




Kathie G Anderson                        Kathleana Morris                Kathleen A Cole
1156 Heather Lane                        Address Redacted                1406 Reseda Drive
Glen Ellyn, IL 60137                                                     Houston, TX 77062




Kathleen A Mcrobbie                      Kathleen Adams Clark            Kathleen C Cates Separate Property
4310 Running Brook Dr                    4370 Valhalla Ln                819 E Washington St
Rowlett, TX 75088                        Orange, TX 77630                Shreveport, LA 71104




Kathleen Cain White                      Kathleen Colwill                Kathleen Cox Life Estate
5202 County Road 1440                    4189 Sabal Pointe Ct Se         2131 Chantilly Lane
Lubbock, TX 79407                        Grand Rapids, MI 49546          Houston, TX 77018




Kathleen Diane Speed                     Kathleen F Hart                 Kathleen Favot Blanquie
PO Box 10720                             PO Box 69                       931 I St
College Station, TX 77842                High Rolls- Mt Park, NM 88325   Petaluma, CA 94952




Kathleen Ferguson Hart                   Kathleen Foster Vining          Kathleen G Hochmuth
PO Box 69                                2500 Valley Ridge Court         Individually Executrix
High Rolls, NM 88325                     Colleyville, TX 76034           5611 Pine St
                                                                         Houston, TX 77081




Kathleen Hall Mclendon                   Kathleen Harley Duplissey       Kathleen Harrison Harper
Susan Siebels Poa                        18615 Yorkshire Manor Court     1019 Melanie Avenue
17830 N 54Th St                          Spring, TX 773795323            Lake Charles, LA 70611
Scottsdale, AZ 85254




Kathleen Hayes Robertson                 Kathleen Heaton                 Kathleen M Dubarko
PO Box 387                               2410 Memorial Dr Apt B211       3897 Oak Meadows Loop
Mathis, TX 78368                         Bryan, TX 77802-2844            Newberg, OR 97132




Kathleen Mcbride                         Kathleen Mcdermott              Kathleen Mcgill
2301 East Third Street                   191 East El Camino Real 175     c/o Brush County Bank
Greenville, NC 27858                     Mountain View, CA 94040         Attn Frank Deviney
                                                                         PO Box 300
                                                                         Freer, TX 78357



Kathleen Mcintosh                        Kathleen Moon Coiner            Kathleen N Ban Underwood
135 Howie Dr                             375 Morningside                 PO Box 33
Mt Holly, NC 28120                       San Antonio, TX 78209           Elbert, CO 80106
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Kathleen Nelson Trust                   Kathleen Phillips Ladd           Kathleen Risinger Schroeder
Kathleen Nelson Trustee                 311 Geneseo                      6656 W Heritage Way
5900 Wilshire Blvd                      San Antonio, TX 78209-6124       Florence, AZ 85321
Suite 2300
Los Angeles, CA 90036



Kathleen Ross Warren                    Kathleen S Webster               Kathleen S Wood
3900 S Inwood Avenue                    PO Box 4530                      1318 Nw Slate Lane Apt 102
New Orleans, LA 70131                   Lexington, KY 40544              Silverdale, WA 98383




Kathleen Swint Dunphy                   Kathleen T Wolter                Kathleen Tower
9 Brookside Dr                          PO Box 6162                      330 Texas Ave
Texarkana, AR 71854                     Omaha, NE 68106                  Corpus Christi, TX 78411




Kathleen Walker Morton                  Kathlene L Bennett Begnaud       Kathlyn Louise Oden Sullivan
291 Fairmount Ave Apt 21                815 Wyman Rd                     3766 Princess Lane
Oakland, CA 94611                       Scott, LA 70583                  Dallas, TX 75229




Kathrine Wood                           Kathryn A Williamson             Kathryn Ann King
1318 Nw Slate Lane Apt 102              1207 W Washington                PO Box 216
Silverdale, WA 98383                    Casper, WA 82601                 Homer, LA 71040




Kathryn Ann Murray                      Kathryn Ann Neill Gaines         Kathryn Ann Smith Lowman
5206 S Harvard Ave Unit 216             4009 Swim Club Ln                133 E Hawkins
Tulsa, OK 74135-3566                    Shreveport, LA 71107             Independent Living Apt 108
                                                                         Longview, TX 75605




Kathryn B Allen                         Kathryn B Raleigh Trust          Kathryn B Zack
6416 Juneau Road                        3375 Paige Cirle                 602 Mills Place
Fort Worth, TX 76116                    Salt Lake City, UT 84109         Corsicana, TX 75110




Kathryn Beckett                         Kathryn Bess ODonnell Axen       Kathryn Bishop
126 Lennox St                           589 County Road 1430             2674 Claiborne St
Santa Cruz, CA 95060-4711               Center, TX 75935-5265            Gibsland, LA 71028




Kathryn Bryson Simonds Estate           Kathryn Carol Wailes Hutchison   Kathryn Clay Gaiennie
7024 Briar Cove Dr                      52 Mandevilla Court              845 Ontario
Dallas, TX 75240                        Lake Jackson, TX 77566           Shreveport, LA 71106




Kathryn Cole Eeds                       Kathryn Conrad                   Kathryn Copeland Schexnayder
PO Box 851                              Address Redacted                 1220 Fm 1970
Shelby, NC 28151                                                         Carthage, TX 75633
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Kathryn Cunningham Van Loh              Kathryn D Duckworth Family L P    Kathryn Denise Tramel
Lois E Cunningham And Jo Ann            Indv Life Estate Interests        538 Oxbow
Cunningham Trustees                     c/o Le Anne D Worsham Mng Prtnr   Mesquite, TX 75149
6 Copper Kettle Ct                      19809 Angel Bay Drive
Wichita Falls, TX 76308                 Spicewood, TX 78669



Kathryn Dennard Lovell                  Kathryn Draper                    Kathryn Duque Blackmon
264 Cr 1095                             6 Copper Kettle Ct                8380 Highway 28 East
Streetman, TX 75859                     Wichita Falls, TX 76308           Pineville, LA 71360




Kathryn E Claflin                       Kathryn E Finley                  Kathryn E Moffatt
419 Ling                                Security Life Bldg Ste 1410       916 Lawrence St Unit C
Hitchcock, TX 77563                     Denver, CO 80202                  Houston, TX 77008




Kathryn Ezelle Witherwax Trust          Kathryn F Harwell                 Kathryn Fisher Nichols Life
c/o Regions Bank Nrre Ops               c/o Texas State Treasurer         Estate Remainderman
PO Box 11566                            Unclaimed Property Division       Vicki Jo Fisher
Birmingham, AL 35202                    PO Box 12608 Capitol Station      1006 Bazzell Drive
                                        Austin, TX 78711                  Longview, TX 75604



Kathryn G Neuhaus                       Kathryn Garner Manadier           Kathryn H Sneed
3083 Sackett St                         4810 Thomas Road                  c/o Robert C Sneed Jr Aif
Houston, TX 77098                       Baton Rouge, LA 70807             PO Box 30210
                                                                          Houston, TX 772490210




Kathryn Hastings Mcdonald               Kathryn Henderson                 Kathryn I Hendrick
6320 Katy Hockley Rd                    14858 Beaconsfield                c/o Regions Bank Nrre Ops
Katy, TX 77493                          Houston, TX 77015                 PO Box 11566
                                                                          Birmingham, AL 35202




Kathryn J Clayton                       Kathryn J Godwin                  Kathryn Jean Little
4009 St Charles Drive                   2108 E Know Rd                    2517 Mary Marvin Trl
Birmingham, AL 35242                    Tempe, AZ 85284                   Fuquay Varina, NC 27526




Kathryn Jean Platt Ward                 Kathryn L Howard                  Kathryn Lacy Keane
PO Box 246                              553 Northampton Dr                3901 Normandy
Bernice, LA 71222                       Shreveport, LA 71106              Dallas, TX 75205




Kathryn Lesley King Trust               Kathryn Marie Villa Sep Prop      Kathryn Mcdaniel Watson Cole
Susan King Trustee                      6417 Rock Forest Dr               8607 Grover Pl
7264 Fm 1645                            Apt 207                           Shreveport, LA 71115
Timpson, TX 75975                       Bethesda, MD 20817




Kathryn Melton Richardson               Kathryn Nobles Foster             Kathryn Parker
256 Nugent Dr                           1051 Spring Creek Rd              12506 Fallen Tower Lane
Livingston, TX 77351                    Ruston, LA 71270                  Austin, TX 78753
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Kathryn Powers Buffington                Kathryn Rae Brandenburg        Kathryn Raleigh Trust
7907 Mesa Trails Circle                  4243 Terrace St                3375 Paige Circle
Austin, TX 78731                         Oakland, CA 94611              Salt Lake City, UT 84109-3179




Kathryn S King                           Kathryn Stokes Dawson          Kathryn Suzanne Brown
Susan King Trustee                       1904 Warwick Circle E          1041 Russell St
7264 Fm 1645                             Longview, TX 756013133         Covington, KY 41011
Timpson, TX 75975




Kathryn Welch Cooper                     Kathryn Wolf Wheeler Trustee   Kathryne R Caraway
905 Nelwyn Ave                           1203 W 68Th Terrace            1325 Canterbury
Gladewater, TX 75647-4531                Kansas City, MO 64113          Fort Myers, FL 339018760




Kathy A Frodin                           Kathy Abbey Butler             Kathy Adale Slocum
604 Royal View Court                     20414 Beigewood                PO Box 356
Willow Park, TX 76087                    Humble, TX 77338               Simsboro, LA 71275




Kathy Allen Linton                       Kathy Anell Norris             Kathy Ann Atkins
807 Baylor Drive                         16498 Cr 4100                  5889 Rolling Acre Dr
Longview, TX 75601                       Lindale, TX 75771              Baker, LA 70714




Kathy Ann Chandler                       Kathy Anne Williams            Kathy Baker
12911 Indian Wells Dr                    15889 Preston Road 1032        175 Richardson Road
Houston, TX 77066                        Dallas, TX 75248               Joaquin, TX 75954




Kathy Branscome Winn                     Kathy Cameron Gaul             Kathy Crouch Sizemore
4905 Burning Tree Drive                  32234 8Th Ave Sw               113 S Prescott Ct
Baytown, TX 77521                        Federal Way, WA 98023          Wichita, KS 67209




Kathy D Carpenter                        Kathy Denise Simpson Coker     Kathy Erickson
809 David Drive                          650 Burnham Rd                 PO Box 61193
Tyler, TX 75703                          Brandon, MS 39042              Las Vegas, NV 89160-1193




Kathy Grisham                            Kathy Harvey Higginbotham      Kathy Helvenston Williams
2075 County Rd 314                       109 Harvey Rd                  31 Princess Drive
Jarrell, TX 76537                        Quitman, LA 71265              Hot Springs, AR 71909




Kathy Hodges Parmley                     Kathy J Peek                   Kathy Jackson Ross
4196 Pebblestone Trl                     3814 Cove Road                 3710 Castle Hills Drive
Round Rock, TX 78665                     Rowlett, TX 75088              Dallas, TX 75241
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Kathy Johnson                            Kathy Joyce Price Rogers        Kathy Kahn
12718 Skyline                            1012 Turnberry Ln               1133 My Rd
San Antonio, TX 78217                    Southlake, TX 76092             Alvin, TX 77511




Kathy Kiel Johnson                       Kathy L Brannon                 Kathy L Mccracken
Post Office Box 1886                     2919 Custer Dr                  102 Se Cr 3090
Wimberley, TX 78676                      Corinth, TX 76210               Corsicana, TX 75109




Kathy Lee Miller                         Kathy Lou Dickerson Life Est    Kathy Lou Dickerson Life Estate
PO Box 98                                1520 Pinchot Street             315 Cr 309
Ellinger, TX 78938                       El Campo, TX 77437              El Campo, TX 77437




Kathy Louise Jones                       Kathy M Ferguson                Kathy M Huddleston
8124 Myrtlewood Rd                       5264 Fm Rd 841                  5946 Rebel Ridge
Greenwood, LA 71033-3024                 Lufkin, TX 75901                San Antonio, TX 78247




Kathy Marie Dickey                       Kathy Massingill Hart           Kathy Mathewes Berkman
c/o Jason Fairchild                      820 Summitt Drive               208 Mossy Oaks
5840 Lake Resort Terrace                 Desoto, TX 75115                Victoria, TX 77904
Apt P208
Hixson, TN 37415



Kathy Mcclendon                          Kathy Morris Kyle               Kathy Mulholland Irby
6444 Mojave St Nw                        4860 Post Oak Timber            11821 County Road 729
Albuquerque, NM 87120-4826               Houston, TX 77056               Collinsville, MS 39325




Kathy Noles Shapiro                      Kathy Purnell Gist              Kathy R Ellington
7907 Maestro Avenue                      10308 White Rock Trail          14245 Cabo Blanco Dr
West Hills, CA 91304                     Dallas, TX 75238                Corpus Christi, TX 78418-6527




Kathy Reeves                             Kathy Reeves Midland Cnty Tax   Kathy Renee Jenkins
Midland County Tax Assessor              2110 N A St                     5460 Clanton Woods Drive
2110 N A St                              PO Box 712                      Evans, GA 30809
Midland, TX 79702                        Midland, TX 79705




Kathy Renee Welch                        Kathy Robinson                  Kathy S Stewart
304 Isgren Drive                         114 Lilac Street                255 Robyn Lane
Longview, TX 75602                       West Monroe, LA 71292           Longview, TX 75605




Kathy Sellers                            Kathy Sue Durrett Gullatt       Kathy Thornhill Ellis Pace
PO Box 442                               PO Box 52                       120 Octavia Dr
Mount Vernon, TX 75457                   Simsboro, LA 71275              Scott, LA 70583
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Kathy Wallace Hunt                       Kathy Wardlaw Selgrath         Kathy Watkins
c/o 1182 E Taylor Lake Circle            2551 E Shannon St              2530 1st Ave W
Livingston, TX 77351                     Gilbert, AZ 85295              Buffalo, WY 82834




Kathy Wilburn                            Kathy Wingate                  Katie Beatty
1328 Fm 2026                             642 Cr Rd 4321                 3993 East River Rd
Center, TX 75935                         Dayton, TX 77535               King William, VA 23086




Katie G Nielsen                          Katie H Todd                   Katie Jean Sanford Kennedy
1173 Heartland Road                      Texas Bank And Trust Co        2811 River Oaks Drive
Placerville, CA 95667                    c/o Trust Division             Monroe, LA 71201
                                         PO Box 2749
                                         Longview, TX 75606-2749



Katie Lee Reese Estate                   Katie M Smith                  Katie Mae Beasley Gatlin
Katherine Reese Shepherd Exec            9111 Lutz Rd                   451 Hickory Ln
PO Box 1469                              Shreveport, LA 71129           Jonesboro, LA 71251
Levelland, TX 79336




Katie Mae Gatlin                         Katie Richard Estate           Katie Stewart Trust
451 Hickory Ln                           Michael G Huffman Executor     Jpmorgan Chase Bank N A Ttee
Jonesboro, LA 71251                      PO Box 747                     PO Box 99084
                                         Marshall, TX 75671             Fort Worth, TX 76199-0084




Katie Stewart Trust                      Katie Ward Wilson              Katie Welder Stewart Trust
Jpmorgan Chase Bank N A Ttee             1200 Singletree Ct             c/o Jpmorgan Chase Bank Na
PO Box 2050                              Forney, TX 75126               PO Box 99084
Fort Worth, TX 76113                                                    Fort Worth, TX 76199




Katiebell Inc                            Katreena Raye Harris Friend    Katrina A Nivens
14505 21st Ave N Suite 202               511 Malibu Drive               Address Redacted
Plymouth, MN 55447                       Lacey, WA 98503




Katrina Jones                            Katrina N Cuellar              Katten Muchin Roseenman LLP
PO Box 10181                             Michael L Cuellar Custodian    525 West Monroe Street
Longview, TX 75608                       Hc 1 Box 27                    Chicago, IL 60661-3693
                                         Freer, TX 78357




Kattye L Giles                           Katy A Prior                   Katy Aaron
Ocie Lee Abney Poa                       1206 Richardson                1326 Circle Dr
2577 San Pablo Avenue                    Henderson, TX 75652            Beckville, TX 75631-5198
Apt 206
Berkeley, CA 94702



Katy Brewer Copley                       Katy Koonce                    Katy Marshall Ervin
6406 Johanne Court                       1609 Collier Street            c/o Collin Underwood Panola County
Austin, TX 78750                         Austin, TX 78704               District Clerk 123rd District Court
                                                                        PO Box 147
                                                                        Carthage, TX 75633
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Katy Murray Randle                       Katy Resources Etx LLC         Kaufman County Tax Office
2127 Mesquite Lane                       PO Box 79429                   100 N Washington St
San Angelo, TX 76904                     Houston, TX 77279-9429         Kaufman, TX 75142-2051




Kaufman County Tax Office                Kauppi Wireline Service Inc    Kay A Schroeder
Tonya Ratcliff Tax Assessor              PO Box 132                     PO Box 250969
PO Box 339                               Rock Springs, WY 82902         Plano, TX 75025
Kaufman, TX 75142




Kay Adams Cole                           Kay Andrus Coonrod             Kay Ann Dorsey
2827 11Th Avenue North                   5003 Smokey Mountain Drive     2930 Cr 301 South
St Petersburg, FL 33713                  Austin, TX 78727               Henderson, TX 75652




Kay Ann Saunders                         Kay Arnold Parker              Kay C Booker
PO Box 118                               7694 Fm 855 W                  14922 Chestrut Farms Rd
Burnet, TX 78611                         Bullard, TX 75757              Fayetteville, AR 72701




Kay C Duggan                             Kay Clark Mccreary             Kay Cornish
PO Box 5864                              7800 M C Ranch Rd              4008 Open Water Way
Bossier City, LA 71111                   Auburn, CA 956027818           Streetman, TX 75859-3309




Kay Desoto                               Kay Evelyn Ford                Kay F Kornikoski
884 Arcadia Road                         PO Box 4161                    901 Birchwood Ave
Center, TX 75935                         Edinburg, TX 78540             Nashville, TN 37216




Kay Fambrough                            Kay Frances Marsh              Kay G Lane Trt U/W/O B B Giles
4537 Marguerite Ln                       536 Squash Creek Ln            Southside Bank Succ Ttee
Fort Worth, TX 76123                     Patterson, CA 95363            Farmers National Co Agent
                                                                        PO Box 3480 Oil Gas Dept
                                                                        Omaha, NE 68103-0480



Kay G Lane Trt U/W/O C C Giles           Kay Goodwin Bateman            Kay Green Sloane
Southside Bank Succ Ttee                 18834 Elderberry Court         641 North Willow
Farmers Nation Co Agent                  Flint, TX 75762                Globe, AZ 85501
PO Box 3480 Oil Gas Dept
Omaha, NE 68103-0480



Kay Griffith Davis                       Kay Harrison Schneider         Kay Havens
470 Fm 2260                              18015 Winsford Dr              Address Redacted
Gary, TX 75643                           Houston, TX 77084




Kay Helvenston Ray                       Kay Kennedy                    Kay Kyle Rice
12 Starwood Drive                        135 Valley Club Circle         21001 Bluegrass Circle
Longwood, TX 75605                       Little Rock, AR 72212          Flint, TX 75762
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Kay Leblanc Jarrell                    Kay Lee Ferguson               Kay Lee Smith Werlin Exempt Tr
112 Hillside Dr No 54                  PO Box 933                     Kaylee Smith Werlin Ttee
Lafayette, LA 70503                    Tatum, TX 75691                C/O Wpw Management
                                                                      1330 Post Oak Blvd Suite 2525
                                                                      Houston, TX 77056



Kay Lynn Strickland                    Kay May                        Kay Mcardle
2305 Bent Water Court                  5102 White Oak Rd              332 Rue St Peter
Granbury, TX 76049                     Big Sandy, TX 75755            Metairie, LA 70005




Kay Mulholland                         Kay Nail Dennis                Kay Newbold Hocutt
PO Box 104                             3228 N Cr 253                  Co Tex State Treas Unclaimed
Sebastopol, MS 39359-0104              Snyder, TX 79549               PO Box 12019
                                                                      Austin, TX 78711-2019




Kay Rinehart                           Kay Roberts Hawthorn           Kay S Nettleship
1705 Dunham                            5477 Briar Dr                  2802 W Wallace St
Brownwood, TX 76801                    Houston, TX 77056              San Saba, TX 76877




Kay Taylor                             Kay Thompson                   Kay Towery Life Estate
PO Box 51                              1417 Briar Meadow Drive        Remainder To Pam Christian
Mackinaw, IL 61755-0051                Keller, TX 76248               4507 Pasadena Dr
                                                                      Midland, TX 79703




Kay W Mckinney                         Kay Wall Bates                 Kay Wall Bates Trust
916 Richmond Rd                        2013 Augusta Dr                2013 Augusta Dr
Texarkana, TX 75503                    San Angelo, TX 76904           San Angelo, TX 76904




Kay Walters                            Kay Ward                       Kay William Butler
20693 Fm 450 N                         228 Quay Street                2931 Fm 138
Diana, TX 75640                        Lakewood, CO 80226             Garrison, TX 75946




Kay Williamson Butler Estate           Kay Wolfe                      Kaye B Nichols Lynch
2931 Fm 138                            911 Begonia Ct                 1282 Elkins Lake Blvd
Garrison, TX 75496                     Carlsbad, CA 92011             Huntsville, TX 77340




Kaye Cropp Gaffney                     Kaye Lieber Callari            Kaye Nell Steger Life Estate
10545 Crescendo Ct                     139 Ne 13Th Street             60 Pebble Creek Court
Cincinnati, OH 45242                   Oak Island, NC 28465           Mason City, IA 50401




Kaye Videtto                           Kayla De Ann Reed Glisson      Kayla Dye May
12 Morning Glory Dr                    1313 Fort Collins Dr           180 Comanche Trail
Ocean, NJ 07712                        Woodway, TX 76712-8844         West Monroe, LA 71291
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Kayla Dye May Jon Jeremy Dye            Kayla Jean Bowden                  Kayla M Young
180 Comanche Trail                      PO Box 454                         1601 West Sallier
West Monroe, LA 71291                   Gladewater, TX 75647               Lake Charles, LA 70611




Kayla Nicole Barnett                    Kayla Sue OBanion Hoffman          Kaylee Tompkins
Gary Costlow Tte                        13320 Meadowside Drive             4932 North East Buffalo
604 Kickapoo St                         Dallas, TX 75240                   Portland, OR 97218
Chandler, TX 75758-2127




Kaylyn Coats Holub                      Kaynollie Mclin Thomas             Kb Asset Management
49 Corbel Point Way                     2719 West Jordan Street            25f Shinhan Investment Corp
The Woodlands, TX 77375                 Shreveport, LA 71103               70 Yeoui Daero Yeongdeungpo Gu
                                                                           Seoul 07325
                                                                           South Korea



Kb Wellbore Solutions LLC               Kbb Separate Trust                 Kbsiii Tower At Lake Carolyn
PO Box 423                              c/o Kalita Beck Blessing Trustee   PO Box 732075
Iola, TX 77861                          5600 W Lovers Lane                 Dallas, TX 75373-2075
                                        Apt 116 305
                                        Dallas, TX 75209



Kbsr Inc Servicemaster Professional     Kc Harvey Environmental LLC        Kc Light Towers LLC
Building Maintenance                    376 Gallatin Park Drive            PO Box 1688
PO Box 9690                             Bozeman, MT 59715                  Artesia, NM 88211-1688
Tyler, TX 75711




Kc Metering                             Kc Pipe Lp                         Kc Production Services Inc
PO Box 1005                             PO Box 61507                       PO Box 216
Big Piney, WY 83113                     Midland, TX 79711                  Arp, TX 75750




Kc Well Services                        Kcl Construction LLC               Kcs Resources Inc
PO Box 1005                             1721 Potter Rd                     1360 Post Oak Blvd Ste 150
1587 Middle Piney Road                  Doyline, LA 71023                  Houston, TX 77056-3030
Big Piney, WY 83113




Kcs Resources Inc                       Kczc Oil Gas Ltd                   Kdcb Garrett Holdings LLC
PO Box 40007                            PO Box 2069                        c/o Kim T Garrett
Houston, TX 77240                       Marshall, TX 756712069             PO Box 1366
                                                                           Lampasas, TX 76550




Kdr Supply Inc                          Kean Miller LLP                    Keane
PO Box 10130                            400 Convention St 700              Accts Receivable
Liberty, TX 77575-7630                  Baton Rouge, LA 70802              PO Box 1508
                                                                           Southeastern, PA 19399-1508




Keane Oil Company LLC                   Keane Venio LLC Dba                Kearney L Pruett
6116 N Central Expwy 1200               General Counsel                    309 Well Rd
Dallas, TX 75206                        450 Seventh Ave Suite 905          West Monroe, LA 71292-0131
                                        New York, NY 10123
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Keating Family Partnership             Keating Vincenzo Zeppa          Kebin Stone Knox
c/o Raymond B Keating                  PO Box 657                      509 3Rd Ave Apt 327
PO Box 62208                           Tyler, TX                       Seattle, WA 98104
Houston, TX 77205




Kecia D Eaddy                          Keeler Investment Co            Keenan Production Inc
5350 Nw Cache Rd Apt 11                PO Box 1505                     Attn Jerry W Jarrell
Lawton, OK 73505-3323                  Denver, CO 80201                20279 Sunny Shores Dr Box 8
                                                                       Humble, TX 77346




Keepa Oil Corporation                  Keesler Federal Credit Union    Keever Cariker Family Trust
100 Park Avenue 1008                   2602 Pass Road                  William B Cariker Trustee
Oklahoma City, OK 73102                Biloxi, MS 39531                PO Box 559
                                                                       Manor, TX 78653




Keg A Texas General Ptnrshp            Keiana M Scales                 Keith A Dupriest
PO Box 1212                            2707 Garden Grove Cir 2         PO Box 885
Midland, TX 79702                      Memphis, TN 38128               Magnolia, AR 71754




Keith A King                           Keith Allen Harrison Rvcbl Tr   Keith Anderson Castleberry
2722 Lake Arrowhead                    Keith Harrison                  3030 Castleberry Street
San Antonio, TX 78222                  PO Box 55137                    Longview, TX 75605
                                       Atlanta, GA 30308




Keith Andrew Mccuin                    Keith Angie Kuehn Fam Trst      Keith B Herbert
502 Campbell St                        8903 Karen Lane                 PO Box 1854
West Monroe, LA 71292                  Terrell, TX 75160               Leonardtown, MD 20650




Keith B Larsen                         Keith B Masters                 Keith Chandler Hooks
Address Redacted                       7500 Rialto Blvd                2824 Dyer St
                                       Bldg 2 Ste 280                  Dallas, TX 75205
                                       Austin, TX 78735




Keith Colvin Johns                     Keith Conrad Dunn               Keith D Oakes
316 Lakeover Pl                        3013 West Barnett Springs Ave   3 S Edgar Street
Terry, MS 39170-4407                   Ruston, LA 71270                Kane, PA 16735




Keith Dwayne Brown                     Keith Eliot Strain              Keith Englehart
612 Cr 115                             110 Corteline Rd                961 Rd 2900
Carthage, TX 75633                     Duson, LA 70529-4000            Aztec, NM 87410




Keith Hall                             Keith Harold Ratcliff And       Keith J Evans
7618 Mustang Meadow                    Susanne Best Ratcliff           7717 Creswell Rd 21
San Antonio, TX 78244                  3321 Highway 171                Shreveport, LA 71106
                                       Stonewall, LA 71078
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Keith Jernigan                          Keith Johnson                        Keith Joseph Thibodeaux
14679 Winthrop                          PO Box 1412                          9423 Fenchurch Drive
Detroit, MI 48227                       Gladewater, TX 75647                 Spring, TX 77379




Keith L Mueller                         Keith L Shelton                      Keith L Taylor
375 St Hwy 67 Apt 253B                  6217 199Th Street East               1221 Live Oak St
Dousman, WI 53118                       Spanaway, WA 98387                   Royse City, TX 75189-2582




Keith Laval Smith                       Keith Lawrence Jernigan              Keith N Ranf
4806 Shed Rd Apt 604                    14679 Winthrop                       12818 Se Forest St
Bossier City, LA 711115469              Detroit, MI 48227                    Vancouver, WA 98683-3820




Keith Petroleum Corporation             Keith Petty Kindle                   Keith Russell Farris
11002 April Way                         513 Amber Ct                         1300 Shinnecock Ct
Houston, TX 770246826                   Aledo, TX 76008                      Fairview, TX 75069




Keith Samford                           Keith W Cherry Darla K Cherry        Keith Warren Cecil Jr
4615 Molera Dr                          PO Box 6404                          6 Glenchester Court
Austin, TX 78749                        Longview, TX 75602                   Dallas, TX 75225




Keith Wayne Williams                    Keith Weaver                         Keith Williams
120 Ryder Cup Trail                     c/o Law Office of Dean A Searle PC   Samantha And Bertrille Williams
Hideaway, TX 75771                      PO Box 910                           2511 P 1/2 Ave
                                        305 West Rusk Street                 Galveston, TX 77550
                                        Marshall, TX 75671



Keith Wood                              Keith Young Moncrief                 Keithville Well Drilling Service LLC
11155 Mockingbird Lane                  218 Dauphine Drive                   11719 Mansfield Road
Claremore, OK 74017                     West Monroe, LA 71291                Keithville, LA 71047




Kel Tech Inc Fka Danlin                 Kel Tech Inc                         Keli Chandler
Cliff Smith                             Dept 3420                            1649 Cr 1211
801 Marshall Road                       PO Box 123420                        Center, TX 75935
Clinton, OK 73601                       Dallas, TX 75312-3420




Kelinco A General Partnership           Kellex Company                       Kelley Controls Inc
c/o Lois M Kelly                        4832 E Fair Ct                       4615 E Industrial Street
33 Sunset Dr                            Centennial, CO 80121                 Unit 1V
Englewood, CO 80110                                                          Simi Valley, CA 93063




Kelley Gile Pecanty And                 Kelley J Becker                      Kelley Mary Evelyn Briggs
Patricia Diane Borden Pecanty           PO Box 50691                         1251 Fm 1794 West
PO Box 103                              Midland, TX 79710                    Beckville, TX 75631
Ruston, LA 71270
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Kelley Mary L                           Kelley Oilfield Services Inc   Kelley P Deibel
900 Appaloosa Lane                      PO Box 1270                    906 Dove Creek Drive
Hallsville, TX 75650                    Aztec, NM 87410-1270           Athens, TX 75751




Kelley S Lloyd                          Kelley W Jourdan               Kelli Byrd
PO Box 3685                             c/o William Jourdan            PO Box 1073
Longview, TX 75601                      307 Crosby Dr                  Palestine, TX 75802
                                        Henderson, TX 75652




Kelli Lane                              Kelli Lynette Collins Cole     Kelli Parker Rimbey Test Trust
5877 Willowbridge Rd                    4296 Rosborough Springs Rd     c/o Jp Morgan Chase Bank Na Ttee
Ypsilanti, MI 48197-7131                Marshall, TX 75672-5155        PO Box 99084
                                                                       Fort Worth, TX 76199-9984




Kelli Parker Trust 2182                 Kelli Vernon                   Kellie Kaufman Daniel
c/o Jp Morgan Chase Bank Na Ttee        PO Box 8111                    7551 Bocage Blvd
PO Box 99084                            Tyler, TX 75711                Baton Rouge, LA 70809
Fort Worth, TX 76199-0084




Kellog LLC                              Kellogg Holdings Ltd           Kelly Ann Young Ewin
380 Cedar Street                        12600 Hill Country Blvd        1816 Westover Sq
Lander, WY 82520                        Ste R 270                      Fort Worth, TX 761073501
                                        Austin, TX 78738




Kelly Arnodl Walker                     Kelly Ballew                   Kelly Byrd
183 Cr 4553                             1108 Redbud                    7160 S Langdale Ct
Carthage, TX 75633                      Channelview, TX 77530          Aurora, CO 80016




Kelly Capital Investors Lp              Kelly Charles Clafin           Kelly Community Federal Cu
201 Main St                             11205 Salt Cedar Trail         2105 W Grande Blvd
Suite 2500                              Austin, TX 78750               Tyler, TX 75703
Fort Worth, TX 76102-3129




Kelly D Anderle                         Kelly Daniel Bolin             Kelly Denise Best
803 West Stone Street                   224 Malone St C                c/o Tx Comptroller Of Public
Brenham, TX 77833                       Houston, TX 77007              PO Box 12019
                                                                       Austin, TX 78711




Kelly Elizabeth Futch                   Kelly Energy Inc               Kelly Fancher
1311 Kirby Lake Ct                      PO Box 1822                    5170 South Franklin
Richmond, TX 77469                      Shreveport, LA 71166           Littleton, CO 80127




Kelly Ford                              Kelly G Byram                  Kelly Garside Welding
6400 Cantrell Rd                        2840 Tuscany                   PO Box 281
Little Rock, AR 72207-4217              Shreveport, LA 71106           Boulder, WY 82923
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Kelly Gas Holdings LLC                   Kelly H Baxter Estate          Kelly Hunt
19 E 48Th Street                         Ashley Baxter Executor         Address Redacted
Savannah, GA 31405                       PO Box 1649
                                         Austin, TX 78767




Kelly J Ferris                           Kelly K Bowman                 Kelly L Strong
16154 Crestrock Ct                       1900 Rice Mine Rd Apt 704      9255 E Center Ave
Parker, CO 80134                         Tuscaloosa, AL 35406           Denver, CO 80247




Kelly Land Management LLC                Kelly Langdon                  Kelly Lawless Howard
2833 Tuscany Circle                      1205 Killarney Street          127 Fm 1794 W
Shreveport, LA 71106                     Grapevine, TX 76051            Beckville, TX 75631




Kelly Lovett                             Kelly Margaret Trust           Kelly Marie James
776 Booker Loop Road                     PO Box 99084                   115 S Lobit
Mansfield, LA 71052                      Fort Worth, TX 76199           La Porte, TX 77571




Kelly Michelle Griffin                   Kelly Pipe Co LLC              Kelly Revocable Trust
107 John C Rogers Dr                     11680 Bloomfield Ave           Thomas L Kelly Succesor Ttee
Center, TX 75935                         PO Box 2827                    380 Cedar
                                         Santa Fe Springs, CA 90670     Lander, WY 82520




Kelly Revocable Trust                    Kelly Services Inc             Kelly Services Inc
Thomas L Kelly Ttee                      General Counsel                PO Box 530437
380 Cedar                                999 W Big Beaver Road          Atlanta, GA 30353-0437
Lander, WY 82520                         Troy, MI 48084




Kelly Sosland                            Kelly Stieren Daniell Trust    Kelly Toney
4455 Camp Bowie Blvd                     Barry Coates Roberts And       1016 Ashmount Ave
Suite 114 Pmb 141                        George L Stieren Co Trustees   Oakland, CA 94610
Fort Worth, TX 76170                     7373 Broadway Ste 406
                                         San Antonio, TX 78209



Kelly Williams                           Kelsey Suzanne Nash Redden     Kelso Family Trust
Address Redacted                         Jeremy Redden                  3621 Amherst
                                         149 Barbara Ln                 Houston, TX 77005
                                         Arcadia, LA 71001




Kelton Ogletree                          Kelvin Anthony May             Kem Dwain Keen
PO Box 1196                              7746 E 95Th Terr               1376 Hwy 519
Livingston, TX 77351                     Kansas City, MO 64134          Arcadia, LA 71001




Kem Energy Inc                           Kemi Faulkenberry              Kemper Stoner Williams Iv
2011 Bendstone Cir                       2187 State Hwy 7 W             27330 Shady Hills Landing Lane
Katy, TX 77450                           Center, TX 75935               Spring, TX 77386
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Kemper Williams Jr                       Ken Andrus                       Ken Anthony
110 Tropical Dr                          PO Box 204                       Address Redacted
Victoria, TX 77904-1145                  Carthage, TX 75633




Ken B Murphy                             Ken Bolander                     Ken Cameron Muller
PO Box 293                               5622 John Curry Rd               2500 Rockbrook Dr Unit 11
Arcadia, LA 71001                        Christoval, TX 76935             Lewisville, TX 75067




Ken David Dubose                         Ken Fromail                      Ken Kamon
1620 Gardiena St                         PO Box 1131                      PO Box 10589
Gonzales, TX 78629                       Big Spring, TX 79721             Midland, TX 79702




Ken Landrum Sanford                      Ken Perkins Oil Gas Inc          Ken R Schubert
168 Jb Cyrus Rd                          50 Sugar Creek Center Blvd       510 Misty Lane
West Monroe, LA 71292                    Suite 275                        Friendswood, TX 77546
                                         Sugar Land, TX 774783662




Kena L Boyd                              Kena Renae Ridge                 Kenco Oil Tools Inc
PO Box 2130                              Norman L Ridge                   410 E Main Street
Mt Pleasant, TX 75456                    7050 Green Hills Rd              Artesia, NM 88210
                                         Gilmer, TX 75645




Kendal Lamar Singleton                   Kendall Ann Rainer               Kendall Electric Inc
PO Box 342                               8926 Cardwell Ln                 PO Box 671121
Arcadia, LA 71001                        Houston, TX 77055                Detroit, MI 48267-1121




Kendall L Walker                         Kendall Mcdonald                 Kendall Stixrood
11 Skyflower Place                       PO Box 105                       6803 Vada Dr
The Woodlands, TX 77381                  Tenaha, TX 75974                 Dallas, TX 75214




Kendra Jo Crawford Gogick Individually   Kendra Jo Crawford Gogick Ttee   Kendra Leann Griffith
784 Osprey Ln                            Chelsea Ellaine Crawford         1413 Fm 1970
Martinez, CA 30907                       784 Osprey Lane                  Carthage, TX 75633
                                         Martinez, GA 30907




Kendra Mcbride                           Kendra Miles Life Est            Kendra R Huffman
1107 West 11Th                           5810 Lazy Bend Rd                Charles Schwab Co Inc Cust
Pine Bluff, AR 71603                     Millsap, TX 76066                Ira Rollover
                                                                          3943 Alpine Aster
                                                                          San Antonio, TX 78259



Kendra Stephens Estate                   Kenith Carr                      Kenith Cline
James Jordan Stephens Executor           PO Box 1945                      PO Box 548
PO Box 100936                            Fresno, CA 937181945             Kilgore, TX 75663-0548
Ft Worth, TX 100936
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Kenna Pat Starrack                      Kennard Bill Holley            Kennard S Moss Jr
111 Cumberland Gap                      PO Box 399                     1203 Cedar Lane
Victoria, TX 77904                      Frankston, TX 75763            San Marcos, TX 78666




Kenner Well Service Of Palestine Inc    Kenneth A Brister              Kenneth A Floyd
PO Box 557                              PO Box 266                     52 Thunder Ridge
Palestine, TX 75802                     Lake Providence, LA 71254      Boerne, TX 78006




Kenneth A Miller                        Kenneth A Penwell              Kenneth A Ramsey
412 11Th Street                         1421 3Rd Avenue Nw             2818 West 50Th Street
West Des Moines, IA 50265               Great Falls, MT 59404          Austin, TX 78731-5037




Kenneth A Weikel                        Kenneth Allen Callaway         Kenneth B Monroe
c/o AS Operating                        Julia Hand Callaway            426 Tarbutton Rd
233 South Detroit Suite 200             5717 Hwy 544                   Ruston, LA 71270
Tulsa, OK 74120                         Simsboro, LA 71275




Kenneth B Pohl Rochelle Pohl            Kenneth B Weaver               Kenneth Belin
601 Atlee Ct                            Residual Trust                 1704 Ashland Ave
Arlington, TX 76006                     430 29Th St Dr Se Apt 8        Ruston, LA 71270
                                        Cedar Rapids, IA 52403




Kenneth Belton                          Kenneth Burrough               Kenneth C Janis S Dickeson
7815 E Jefferson Ave Apt 404            1444 Lay Street                PO Box 10152
Detroit, MI 48214-3737                  Cedar Hill, TX 75104           Midland, TX 79702




Kenneth C Raney Estate                  Kenneth Clarence Crawford      Kenneth Cleveland Hammons
PO Box 1449                             1833 Fountain Vista Vw         635 Plantation Road
Longview, TX 75606                      Wylie, TX 75098-0150           Havana, FL 32333




Kenneth D Anderson                      Kenneth D Chevalier            Kenneth D Holley
PO Box 300596                           PO Box 890187                  1798 Frostwood
Denver, CO 80203                        Houston, TX 772890187          Tyler, TX 75703




Kenneth D Moore And Patsy A Moore       Kenneth D Morris               Kenneth D Sirman
305 Village St                          3885 Farmridge Rd              1570 County Road 4280
Henderson, TX 75654                     Keithville, LA 71047-9501      Woodville, TX 75979




Kenneth Dale Hamner                     Kenneth Daniel Hebert          Kenneth Davis
c/o Argent Property Services Llc        707 Rio Springs                K R Enviro Service
PO Box 1410                             San Antonio, TX 78258          PO Box 384
Ruston, LA 71273                                                       Joaquin, TX 75954
                    Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 792 of 1524

Kenneth Dean Petty                      Kenneth Dewey Keen                     Kenneth Don Elzen
181 Harding Rd                          1001 Old Arcadia Rd                    16787 Shadyridge Dr
Nashville, AR 71852-8523                Minden, LA 71055                       Tyler, TX 75703




Kenneth E Bounds A/K/A Ken Bounds       Kenneth E Cummings                     Kenneth E Gaukel
2846 Fm 1452 W                          Et Ux Mary W Cummings                  370 Divide Road
Madisonville, TX 77864                  PO Box 130                             Keeline, WY 82227
                                        Joaquin, TX 75954




Kenneth E Mauritzen                     Kenneth E Montomery Jr                 Kenneth E Murphy
2372 Fm 1970                            6231 Wood Lake Road                    PO Box 756
Carthage, TX 75633                      Jupiter, FL 33458                      Mansfield, LA 71052




Kenneth E Oliver                        Kenneth E Rogers                       Kenneth E Stewart
7806 Nutmeg Cove                        2223 Breezewood Dr                     1401 Bradford Street
Austin, TX 78750                        San Antonio, TX 78209                  Gilmer, TX 75644




Kenneth E Younger                       Kenneth E Zorn                         Kenneth Earl Greer And Mary Belle Greer
12542 Paramount Blvd Apt 122            12841 Orion Ct                         129 Barbara Ann Street
Downey, CA 90242                        Willis, TX 77378                       West Monroe, LA 71292




Kenneth Earl Lamb                       Kenneth Earl Morris                    Kenneth Earl Robinson
125 Bear Creek Scout Rd W               895 U S Highway 59 North               311 County Road 113
Hunt, TX 78024                          Carthage, TX 75633                     Carthage, TX 75633




Kenneth Earl Seago                      Kenneth Edward Brown                   Kenneth Eubanks
1173 Highway 763                        607 Oak St                             13292 Cr 1208
Mansfield, LA 71052-6173                Colmesneil, TX 75938-2209              Tyler, TX 75703




Kenneth F Cummings Company              Kenneth Fisher                         Kenneth Fred Kahn
224 Westlake Circle                     10311 Londonderry Dr                   12217 Coconut Row Rd
Billings, MT 59105                      Houston, TX 77043-3338                 Palm Beach Gard , FL 33410




Kenneth Garcia Cappa                    Kenneth Garr                           Kenneth Givens
Address Redacted                        2182 Rosedale Avenue                   19714 Packard
                                        Oakland, CA 94601                      Detriot, MI 48234




Kenneth Gray                            Kenneth Grubbs And Vicky Lynn Grubbs   Kenneth H Goetzke Jr
521 East Utica St                       11228 Fm 726 South                     103 Nanticoke Turn
Buffalo, NY 14208                       Gilmer, TX 75645                       Yorktown, VA 236932757
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Kenneth Harvey Burkett                    Kenneth Heaton Jr                     Kenneth Hugh Ramsey
145 N Mission Dr                          Aka Clarence Kenneth Heatonjr         302 Moody
Vidor, TX 77662-9237                      202 Rim Rock Lane                     League City, TX 77573
                                          Aledo, TX 76008




Kenneth J Sanford                         Kenneth James Garr                    Kenneth Jerome Johnson
7658 Triple Oak                           PO Box 30018                          2310 Sam Wilson
China Grove, TX 78263                     Columbia, MO 65205                    Houston, TX 77020-4544




Kenneth Jewel Pierce                      Kenneth Joen Perkins                  Kenneth L Bentley
537 Kirby Place                           Rt 5 Box 264                          10400 Woodland Ne
Shreveport, LA 71104                      Longview, TX 75702                    Albuquerque, NM 87112




Kenneth L Cooks                           Kenneth L Neal And Vickie Loyd Neal   Kenneth L Russell
2511 Hollins Street                       542 Mitcham Orchard Rd                7468 Cr 383 S
Marshall, TX 75670                        Ruston, LA 71270                      Henderson, TX 75654




Kenneth Lane Christian                    Kenneth Lavelle Harvey                Kenneth Lee Kegebein
3168 Hwy 563                              Libby Anne Collins Harvey             129 Airport Road
Simsboro, LA 71275                        276 Eubanks Rd                        George West, TX 78022
                                          Simsboro, LA 71275




Kenneth Lee Smotherman                    Kenneth Leith Estate                  Kenneth Lewayne Spigner
3012 Deerwood                             c/o R B Keating Iii                   1014 Mosskeg Ct
Waco, TX 76710                            PO Box 62208                          Las Vegas, NV 89031
                                          Houston, TX 77205




Kenneth M Barnard Jr                      Kenneth M Cox                         Kenneth M Waltrip Tst Waltrip
PO Box 647                                PO Box 797                            Marital Trust Msw Revocable
Clinton, LA 70722                         Marysville, WA 98270                  Trust Mlh Revocable Trust
                                                                                PO Box 470397
                                                                                Fort Worth, TX 76147



Kenneth Magidson                          Kenneth Max Otwell Usufruct           Kenneth May
U S Attorney s Office for S Dist of TX    2006 Atkins Road                      300 Old Darbonne Rd
Wells Fargo Plaza                         Ruston, LA 71227                      West Monroe, LA 71291
1000 Louisiana St 2300
Houston, TX 77002



Kenneth Miller Revocable Trust            Kenneth N Amy L Lee                   Kenneth N Brown
Austin Trust Company                      11878 Sagittarius E                   c/o A G Edwards 394 051977
336 South Congress Ave Ste 100            Willis, TX 77318                      PO Box 130823
Austin, TX 787041221                                                            Tyler, TX 75713




Kenneth N Charlotte G Mobbs               Kenneth N Janice E Pipes              Kenneth Newton Dickens
PO Box 1904                               Tr Of 09 23 98                        9630 Springview
Kilgore, TX 75663                         13465 Rockhill Road                   Houston, TX 77080
                                          Claremore, OK 74017
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Kenneth O Portis Et Ux                   Kenneth Perez Sampson              Kenneth Perkins
Siobhan D Portis                         152 Conklin Ave                    615 Wiley Page Road
9421 Gertrude Street                     Brooklyn, NY 11236                 Longview, TX 756055937
La Vista, NE 68128




Kenneth Phillip                          Kenneth Pinckney                   Kenneth Q Carlile
3118 Brairgrove                          623 N Redwood Ave                  PO Box 2069
San Angelo, TX 76904                     San Jose, CA 95128                 Marshall, TX 756712069




Kenneth R Coile Jr                       Kenneth R Holley Sr                Kenneth R Lantrip And Sherry B Lantrip
PO Box 70                                433 Rock Creek Drive               2109 Chantilly Dr
Sarepta, LA 71071                        Peachtree City, GA 30269-3449      Ruston, LA 71270




Kenneth R Nicholas Family Tr             Kenneth R Phillips                 Kenneth R Rinehart
Lynda Nicholas Trustee                   3118 Briargrove Ln                 112 E Colbert St
4 Waterview Place                        San Angelo, TX 76904               Minden, LA 71055
Richardson, TX 75080




Kenneth R Stephens Jr                    Kenneth R Stoltzfus                Kenneth Ramsey
1108 East 13Th St                        c/o Guy N Rogers Jr                c/o Law Office of Dean A Searle PC
Antioch, CA 94509                        2679 Crane Ridge Dr Ste B          PO Box 910
                                         Jackson, MS 392164997              305 West Rusk Street
                                                                            Marshall, TX 75671



Kenneth Ray Morgan                       Kenneth Ray Morgan Margie Morgan   Kenneth Ray Spurlock
2282 Maple Springs Road                  2282 Maple Springs Road            PO Box 104
Longview, TX 75602                       Longview, TX 75602                 Joaquin, TX 75954




Kenneth Robinson                         Kenneth Roger Pickett              Kenneth Roy Gales
105 Pink Street                          Sharalyn Gwen V Pickett            1060 63Rd St C
West Monroe, LA 71292                    207 Pinecrest Dr                   Emeryville, CA 94608-1259
                                         Arcadia, LA 71001




Kenneth Roy Sanford                      Kenneth S George Trust             Kenneth Sather
919 Raymond Smith Rd                     Clem E George Trustee              2132 Palos Verdes Dr W 4
Homer, LA 71040                          PO Box 3525                        Palos Verdes Estates, CA 90274
                                         Midland, TX 79702-3525




Kenneth Simonton                         Kenneth Starling                   Kenneth Stephen Dunham
3943 Chatworth Street                    204 S Frisco Avenue                2700 Ridgewood Rd
Pittsburg, CA 94565                      Henderson, TX 75654                La Grange, KY 40031




Kenneth Suggett George                   Kenneth T Carter                   Kenneth T Fielder
PO Box 601239                            606 University Blvd                706 Centerbrook Pl
Dallas, TX 75360                         Ruston, LA 71270                   Round Rock, TX 78665-1451
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Kenneth Thompson Linda Thompson          Kenneth Tracy Touchet                    Kenneth W Burris
2334 Sherry                              310 Tippit Street                        1421 Bear Creek Rd
Orange, TX 77632                         West Monroe, LA 71292                    Quitman, LA 71268




Kenneth W Campbell                       Kenneth W Cariker                        Kenneth W Davis Jr
5340 Tidewater St                        Affiliated Tax Consultants               PO Box 999
Leesburg, FL 34748                       PO Box 1627                              Fort Worth, TX 76101
                                         Henderson, TX 756531627




Kenneth W Giles                          Kenneth W Graves                         Kenneth W Kay
204 Jenkins Rd                           Address Redacted                         4525 Savino Drive
Gibsland, LA 71028                                                                Plano, TX 75093




Kenneth W King                           Kenneth W Knighten                       Kenneth W Lisa G Burris
4641 S Fairmont Street                   311 Owens St                             1421 Bear Creek Rd
Oklahoma City, OK 73129                  W Monroe, LA 71292                       Quitman, LA 71268




Kenneth W Merritt                        Kenneth W Smith                          Kenneth W Sutton
Michael George Merritt Aif               PO Box 585                               3526 Churchill Drive
6424 Del Norte Ln                        Lufkin, TX 75902-0585                    Nacogdoches, TX 75965
Dallas, TX 75225




Kenneth W Thomas Jr                      Kenneth W Thompson                       Kenneth W Walker
108 Catawba Path                         2334 Sherry                              PO Box 986
Hendersonville, NC 28739                 Orange, TX 77632                         Grambling, LA 71245




Kenneth W Walker Sr Et Ux                Kenneth W Whitson                        Kenneth Wayne Brewster And
Audrey W Walker                          4003 Kerr Court                          Thelma Tinsley Brewster
PO Box 986                               Farmers Branch, TX 75244                 4640 Highway 544
Grambling, LA 71245                                                               Simsboro, LA 71275




Kenneth Wayne Denniston                  Kenneth Wayne Kimrey Lisa Young Kimrey   Kenneth Wayne Worley Trst
1159 Cr 121                              296 Eubanks Road                         Dtd 12/18/96 Of Worley Fam Trst
Gary, TX 75643                           Simsboro, LA 71275                       Kenneth Wayne Worley Ttee
                                                                                  PO Box 4758
                                                                                  Wichita Falls, TX 76308



Kenneth Weeks                            Kenney Dixon Pickens                     Kenney Wayne Winzer
3140 Crum Rd                             10100 North Central Expressway           29569 Ashton Ct
Brooksville, FL 34609                    Suite 200                                Menifee, CA 92584-6418
                                         Dallas, TX 75231-4159




Kennith D Sirman                         Kennolyn Camp Inc                        Kenny Living Trust
1570 County Road 4280                    8205 Glen Haven Rd                       103 Royal Drive
Woodville, TX 75979                      Soquel, CA 95073                         Marlin, TX 76661
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 796 of 1524

Kenny Pitts                            Kenny Ruth                     Kenny Wayne Harper Sp
210 N Willis Ave                       Address Redacted               10979 Marbella Drive
Livingston, TX 77351                                                  Alta Loma, CA 91737




Kennys Rig Welding Svcs LLC            Kent Anderson                  Kent Anderson Yvonne Lusk Anderson
487 County Road 337                    2707 Pargoud Blvd              C/O Peggy Harbor
Parachute, CO 81635                    Monroe, LA 71201               PO Box 7232
                                                                      Monroe, LA 71211




Kent C Mullis                          Kent Cooper                    Kent Keeth
Route 5 Box 1090                       PO Box 1694                    2326 Colcord Ave
San Augustine, TX 75972                Whitehouse, TX 75791           Waco, TX 76707




Kent L Wilson                          Kent M Tabor                   Kent R Ellison
2603 Augusta Suite 1150                16 Santolina                   1015 North Walts
Houston, TX 77057                      Rsm, CA 92688                  Sioux Falls, SD 57104




Kenton E Marshall                      Kenton L Wilson Trust          Kenton Winfree
11427 Cypresswood Trail                Kyle L Wilson Trustee          2136 W Riverside 419
Houston, TX 77070                      Fr Ramona D Wilson Test Tst    Spokane, WA 99201
                                       2603 Augusta Suite 1150
                                       Houston, TX 77057



Kentucky Dept Of Treasury              Keon Hudson                    Kepware Technologies
Unclaimed Property Division            194 Butler Rd                  PO Box 579
1050 Us Hwy 127 S Suite 100            Simsboro, LA 71275             Portland, ME 04112
Frankfort, KY 40601




Ker Ser A Inc                          Kerens Isd Tax Assessor        Kerens Isd Tax Assessor
311 Toland Road                        200 Bobcat Lane                P O Drawer 310
Woodsboro, TX 78393                    Kerens, TX 75144               Kerens, TX 75144




Kerens Oil Ltd                         Kerensa Naghshbandi            Keri Cowart Revocable Trust
2828 Routh St Ste 600                  6905 Tameron Trl               Community Bank Of Raymore
Dallas, TX 75201                       Fort Worth, TX 76132-3503      PO Box 200
                                                                      Raymore, MO 64083-0200




Kermit Electric                        Kermit Royalty LLC             Kermit Walker
PO Box 732                             David A Hobby Sr Sole Mbr      711 Payne St
Kermit, TX 79745                       PO Box 3066                    Springhill, LA 71075
                                       Midland, TX 79702




Kern E Kenyon Trust                    Kerr County Federal Cu         Kerr Mcculloch Mclaughlin PLLC
Community Bank Of Raymore              3700 Memorial Blvd             2707 N Big Spring St
PO Box 200                             Kerrville, TX 78028            Midland, TX 79705-6627
Raymore, MO 64083-0200
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Kerr Mcgee Corp                         Kerr Mcgee Corporation          Kerr Mcgee Oil Gas
EP Revenue                              PO Box 730875                   PO Box 1330
Box 730245                              Dallas, TX 75373-0875           Houston, TX 77060
Dallas, TX 75373




Kerr Mcgee Oil Gas Onshore Lp           Kerr Mcgee Oil Gas Onshore Lp   Kerr Mcgee Rocky Mtn Corp
PO Box 730002                           PO Box 730875                   PO Box 730875
Dallas, TX 75373-0002                   Dallas, TX 75373                Dallas, TX 75373-0875




Kerrco Inc                              Kerrell T Sapp                  Kerri Jane Jilek
808 Travis                              395 William Sapp Road           PO Box 871
Suite 2200                              Natchitoches, LA 71457          Midlothian, TX 76065
Houston, TX 77002




Kerrie Lannette Sylestine A Minor       Kerrie Lee Shaw                 Kerry Ann Futch
c/o Nellie Sylestine                    Sharon Leigh Shaw               1763 Toby Dr
668 Chief Kina Rd                       389 Bussey Road                 El Dorado Hills, CA 95762
Livingston, TX 77351                    Longview, TX 75605




Kerry Denise Mccrary Reis               Kerry Denise Reis               Kerry Krottinger
Separate Property                       2195 3Rd St                     910 Lamar
2195 Third Street                       Arcadia, LA 71001               Wichita Falls, TX 76301
Arcadia, LA 71001




Kerry L Rojas                           Kerry Lynch Ribble              Kerry Lynn Paape
13939 Baton Rouge Court                 PO Box 9                        9100 Baldridge Rd 8311
Centreville, VA 20121                   Magnolia, AR 71754              Pensacola, FL 32514




Kerry M Burdett                         Kerry Mccoy                     Kerry N Parnell
Address Redacted                        1603 Cr 1103                    696 Dicks Store Rd
                                        Daingerfield, TX 75638          Simsboro, LA 71275




Kerry Newbold Harwell Jr                Kerry S Briggs                  Kerry Stringfellow
Edge Falls Star Route                   5452 River Thames Road          3385 Vickers Drive
Kendalia, TX 78027                      Jackson, MS 39211               Glendale, CA 91208




Kershaw Putnam LLC                      Kesia A Sampson                 Kestrel Royalty LLC
Daniel R Putnam Mging Member            311 Michelle Way                7844 S Espana Way
Or Christopher L Putnam                 Augusta, GA 30909               Centennial, CO 80016
PO Box 20588
Oklahoma City, OK 73156



Ketco Corporation                       Kevan Hale Ferguson             Kevin Allen
3636 Green Acres Drunit 2               4000 E Renner Rd 1628           4467 Ruenda Ct
Bossier City, LA 71111                  Richardson, TX 75082            Las Vegas, NV 89147
                     Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 798 of 1524

Kevin Anne Barclay Flaugh                Kevin B Hall                    Kevin Barron Smith
4700 Benton Smith Road                   1431 Ne 39Th St                 9809 Tree Bend Cove
Nashville, TN 37215                      Topeka, KS 66617                Austin, TX 78750




Kevin Brian Williams                     Kevin Brown                     Kevin Bruce Turner
Challys Marie M Williams                 60 Livingston Ave               12527A 1 10E
934 Walnut Creek Rd                      St Paul, MN 55107-1419          Baytown, TX 77523
Simsboro, LA 71275




Kevin Bryan Harrison Rvcble Tr           Kevin Buchanan                  Kevin Cabaniss
4060 Peachtree Rd Ste D 571              Address Redacted                9012 Fenchurch
Atlanta, GA 30319                                                        Dallas, TX 75238




Kevin Carnahan                           Kevin Crume Properties          Kevin D Adams
Address Redacted                         PO Box 2009                     5950 N Sam Houston Pkwy E
                                         Ruston, LA 71273                Ste 402
                                                                         Humble, TX 77396




Kevin D Mcmichael                        Kevin D Williams                Kevin Darnell Ellis
200 Dorsett Ct                           1306 Park Center                602 West 69Th St
Irvin, TX 75063                          Benbrook, TX 76126              Shreveport, LA 71106




Kevin Davenport                          Kevin E Bowyer                  Kevin E Tillery
2304 Martin Luther King Blvd             Individual Retirement Account   3333 Betterton Circle
Longview, TX 75602                       8000 Trading Post Drive         Abingdon, MD 210092513
                                         Mckinney, TX 75070-7001




Kevin Edward Jones                       Kevin G Walsh                   Kevin Gage Duncan
210 E Neal                               4116 Walnut Hill Lane           113 Western Breeze Dr
Carthage, TX 75633                       Dallas, TX 75229                Fort Worth, TX 76126




Kevin Gipson                             Kevin H Harrison                Kevin H Weir
8166 Visalia Way                         705 Saratoga Dr                 c/o Mary Weir
Sacramento, CA 95828                     Southlake, TX 76092-5128        1993 Black Hawk Circle
                                                                         Prescott, AZ 86303




Kevin Hayes                              Kevin Horton                    Kevin Hugh Nelson
13033 Grant Cir East                     1701 Bogart Dr                  2810 W Fountain Blvd
Unit B                                   Grand Prairie, TX 75051         Tampa, FL 33609
Thornton, CO 80241




Kevin J Murphy                           Kevin J Warren                  Kevin Jackson
3569 Saguento St                         21 Ratna Court                  3429 Summer Field Dr
Santa Ynez, CA 93460                     Baltimore, MD 21236             Indianapolis, IN 46214
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Kevin Jay Lowrey                       Kevin Jones                     Kevin Kelly
7930 Main St                           220 Shelbyville St              2630 Laura Lane
Frisco, TX 75034                       Center, TX 75935                Lake Charles, LA 70605




Kevin Kuykendall                       Kevin L Cariker                 Kevin L Carroll
1900 Valley Oaks Ct                    818 Calm Crest Dr               PO Box 1053
Irving, TX 75061-2164                  Rockwall, TX 75087              Joseph, OR 97846




Kevin Lane                             Kevin Lee Andis                 Kevin Leray Jernigan
160 W Wilson Bridge Rd Apt 634         4821 Palomar Lane               9020 Tiffany Way
Worthington, OH 43085-2687             League City, TX 77573           Tuscaloosa, AL 35405




Kevin Lewis Separate Property          Kevin M Bell                    Kevin Moore
2105 Orleans Cir                       331 W Farrel Rd                 5980 Arapaho Rd 33E
Ruston, LA 71270                       Lafayette, LA 70508-7060        Dallas, TX 75248




Kevin Morris Lambert                   Kevin Newstead                  Kevin O Long
42 E Stedhill                          131 S Dearborn St 35th Floor    PO Box 1813
Conroe, TX 77384                       Chicago, IL 60603               Shreveport, LA 71166-1813




Kevin Pierce                           Kevin Ponder                    Kevin R Cashion
22078 County Road 2166                 2901 Carroll                    6144 Graemont Blvd
Troup, TX 75789                        Kilgore, TX 75662               Tyler, TX 75703




Kevin R Harper Deborah C Harper        Kevin R Lassen Maria D Lassen   Kevin Scott Hand
1626 Rock Church Rd                    6615 Whitehurst                 1815 N 31st St
Dickson, TN 37055                      Longview, TX 75602              Nederland, TX 77627




Kevin Shawn Nolan                      Kevin Skaggs                    Kevin Snider
PO Box 1217                            595 Toro Pass                   405 W Water
Morrisville, NC 27560                  Wimberley, TX 78676             Kerrville, TX 78028




Kevin W Dawkins                        Kevin Waters Separate Prop      Kevin Wayne Brown
665 E Cobblestone Dr                   39666 Royal Palms               1240 Laurel Hill
Midvale, UT 84047-4610                 Freemont, CA 94638              Henderson, TN 38340




Kevin Wayne Horne                      Kew Drilling                    Key Bank National Association
108 East Asher Drive                   D/B/A Mpe Financial Lp          127 Public Square
White Oak, TX 75693                    4925 Greenville Ave Ste 500     Cleveland, OH 44114
                                       Dallas, TX 75206
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Key Energy California Inc                 Key Energy Fishing Rental Services LLC   Key Energy Services
Lauren Blackburn                          Lauren Blackburn                         PO Box 201858
1301 Mckinnye Street Suite 1800           1603 N Longview St                       Dallas, TX 753201858
Houston, TX 77010                         Kilgore, TX 75662




Key Energy Services Inc                   Key Energy Services Inc                  Key Energy Shared Services LLC
And Its Subsidiaries                      PO Box 4649                              Lauren Blackburn
Legal Contracts                           Houston, TX 77210-4649                   1301 Mckinney Street Suite 1800
1301 Mckinney St Suite 1800                                                        Houston, TX 77010
Houston, TX 77010



Key Exploration Inc                       Key Exploration Ltd                      Key Exploration Ltd
PO Box 52963                              Maximus Operating Ltd                    PO Box 1706
Lafayette, LA 70505                       PO Box 1706                              Longview, TX 75606-1706
                                          Longview, TX 75606




Key Family Marital Trust                  Key Gathering Pipeline Company           Key Investments Inc
Hobart R Key Trustee                      PO Box 1706                              P O Drawer 22
PO Box 855                                Longview, TX 75606-1706                  Shreveport, LA 71161
Jefferson, TX 75657




Key Key Brothers A Texas                  Key Production Company Inc               Key Production Company Inc
PO Box 1213                               4031 Solutions Center                    PO Box 1706
Marshall, TX 75671                        Chicago, IL 60677                        Longview, TX 75606-1706




Key Production Company Inc Lock Box       Keypoint Credit Union                    Keystone Energy Tools LLC
PO Box 973347                             Camino Real Marketplace                  8404 Highway 90 West
Dallas, TX 75397-3347                     7062 Market Pl Dr                        New Iberia, LA 70560
                                          Goleta, CA 93117




Keystone Inc                              Keystone Minerals                        Keystone Minerals
PO Box 916107                             c/o Gary A Roark Mnging Ptnr             PO Box 670
Fort Worth, TX 76191-6107                 Po Drawer 70                             Bullard, TX 75757
                                          Ballard, TX 75757




Keystone OG Tx Lp                         Keystone OG Tx Lp                        Keystone Oil Company Inc
201 Main Street Suite 2700                PO Box 916107                            9652 Rocky Branch Dr
Fort Worth, TX 76102                      Fort Worth, TX 76191-6107                Dallas, TX 75243




Keystone Pump Supply                      Kforce Inc                               Kfs Investments Ltd Agency
PO Box 1176                               PO Box 277997                            Regions Bank Nrre Operations
Kermit, TX 79745                          Atlanta, GA 30384-7997                   Acct 630061000
                                                                                   PO Box 11566
                                                                                   Birmingham, AL 35202



Kgb Royalties LLC                         Khody Land Minerals Company              Kia Williams
PO Box 598                                PO Box 3102                              1524 Camation Dr
Tyler, TX 75710                           Tulsa, OK 74101-3102                     Lewisville, TX 75067
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Kibo Compressor Corp                    Kidd Production Ltd                  Kidlinks Foundation
PO Box 94903                            102 North College Suite 106          4514 Cole Avenue
Wichita Falls, TX 76308-0903            Tyler, TX 75702                      Ste 600
                                                                             Dallas, TX 75205




Kiefaber Oliva LLP                      Kil Tex Oilfield Services LLC        Kilburn Law Firm PLLC
The Eperson Building                    1300 Oakwood Ln                      1717 Saint James Pl Ste 460
808 Travis Street Suite 1030            Kilgore, TX 75662                    Houston, TX 77056-3496
Houston, TX 77002




Kilburn Ramey PLLC                      Kiley Edwards Stephenson And         Kilgore College
1717 Saint James Pl Ste 460             Julie Edwards Stephenson             c/o William Holda President
Houston, TX 77056-3496                  1121 Rita Lane                       1100 Broadway
                                        Ruston, LA 71270                     Kilgore, TX 75662




Kilgore Crane Services                  Kilgore News Herald                  Kilgore Rental Tools Inc
PO Box 2201                             Bluebonnet Publishing Llc            PO Box 189
Kilgore, TX 75663                       PO Box 1210                          Laird Hill, TX 75666
                                        Kilgore, TX 75663




Killam And Hurd                         Killam Oil Company                   Killgore Marital Trust
Texas General Partnership               PO Box 499                           U/W Cyrus S Killgore
PO Box 499                              Laredo, TX 78042-0499                Carole L Bourlon Or
Laredo, TX 78042                                                             4033 Frank Road
                                                                             La Grange, TX 78945



Kilpatrick Investments LLC              Kilroy Company Of Texas Inc          Kim Fuller Cook
PO Box 1363                             Houston Trust Company Agent          PO Box 248
Ruston, LA 71273                        c/o Travis Property Management Llc   Redcliff, CO 816490248
                                        PO Box 56429
                                        Houston, TX 77256-6429



Kim J Krueger                           Kim Jay Hanna                        Kim L Blackman
657 S Park Centre Ave 131               11140 Highway 146                    385 Haines Rd
Green Valley, AZ 85614                  Dubach, LA 71236                     Seagoville, TX 75159




Kim Leblanc                             Kim M Dillavou                       Kim Mcknight Hutto
10399 Pecan Orchard                     1302 Via Hacienda                    526 Cr 3790
Welsh, LA 70591                         Tucson, AZ 85704                     Joaquin, TX 75954




Kim Mcmurray                            Kim Nieding                          Kim Patton Bevil
6875 Saratoga Circle                    901 East Cary St 11th Floor          5177 Roy Ave
Beaumont, TX 77706                      Richmond, VA 23219                   Greenwell Springs, LA 70739




Kim R Smith Logging Inc                 Kim Rasee Davis                      Kim Reynolds Lott
1155 East Johnson                       174 Hines Ln                         377 St Johns Forest Blvd
Tatum, TX 75691                         Mansfield, TX 71052                  St Johns, FL 32259
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Kim S Johns Sneed                         Kim Schroeder                    Kim Vilara
PO Box 67                                 701 E Bluff St Apt 6107          175 W Jackson Blvd Suite 400
Arcadia, LA 71001                         Fort Worth, TX 76102             Chicago, IL 60605




Kim Wheless Kirkwood                      Kim Wheless Kirkwood             Kim Wright
PO Box 15445                              PO Box 17589                     218 Wellesley Blvd
Hattiesburg, MS 39404                     Hattiesburg, MS 39404            San Antonio, TX 78209




Kimbell Art Foundation                    Kimbell Family Resources         Kimbell T Hays
301 Commerce Street Suite 2300            PO Box 94903                     1919 Powell Drive
Fort Worth, TX 76102                      Wichita Falls, TX 76308          Homer, LA 71040




Kimberlee R Kidd                          Kimberlie Allen Strahan          Kimberly Ann Brown
PO Box 731                                242 Atlantic Avenue              3236 W Girard Avenue D
Big Bear Lake, CA 92315                   Shreveport, LA 71105             Englewood, CO 80110




Kimberly Ann Gabby                        Kimberly Ann Gernold Smith       Kimberly Ann Mcbride
6048 Beachwood Road                       3500 W Crowne Pointe Blvd 101    16924 Fm 449
Mound, MN 55364                           Naples, FL 34112                 Hallsville, TX 75650




Kimberly Ann Perritt Craig                Kimberly Ann Scattini            Kimberly B Butler
13996 Hwy 151                             1813 Clare Court                 12301 Lewis Rd
Arcadia, LA 71001                         San Jose, CA 95124               Deridder, LA 70634




Kimberly B Rivers                         Kimberly Bowers Murphy           Kimberly Coats Or Texas Comptroller
1910 Landmark Cir                         2397 New Natchitoches Rd         Of Public Acct
Alexandria, LA 71301-2341                 West Monroe, LA 71292            Unclaimed Property Division
                                                                           PO Box 12019
                                                                           Austin, TX 78711-2019



Kimberly Colen Koenigsberg Family Trust   Kimberly Colen Koenigsberg Trt   Kimberly Crawford
2325 Coit Road Suite E                    Alan Koenigsberg Trustee         Address Redacted
Plano, TX 75075                           2325 Coit Road Suite E
                                          Plano, TX 75075




Kimberly Daniels/Miles                    Kimberly Deal Breithaupt         Kimberly Dreiske
Fbo Michael Miles                         528 Carriage Way                 Address Redacted
7722A Albany                              Ruston, LA 71270
Lubbock, TX 79424




Kimberly E Mcbride                        Kimberly Harris                  Kimberly Hill
14854 Oaks North Place                    1850 Mondy Rd                    1141 Bellvidere Drive
Dallas, TX 752547635                      Ruston, LA 71270                 Oklahoma City, OK 73117
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Kimberly Johnson                         Kimberly K Graves                Kimberly Kay Jones
PO Box 2231                              121 Cr 211                       1870 Jerry Way Apt 12
Desoto, TX 75123-2231                    Three Rivers, TX 78071           Norcross, GA 300931013




Kimberly Kidd Maddox Special Trust       Kimberly L Green                 Kimberly Lynn Kavanaugh
1428 E Richards                          5902 Rietta St                   1117 Lisa Lane
Tyler, TX 75702                          Houston, TX 77016                Ruston, LA 71270




Kimberly M Debona                        Kimberly Maddry Cook             Kimberly Mayfield Brown
4016 Tiffany Trail                       122 Morris Circle                7615 Elmwood Ave
College Station, TX 77845                Homer, LA 71040                  Philadelphia, PA 19153




Kimberly Pennal Coe                      Kimberly R Evans                 Kimberly Ross
8448 Spicewood Springs Road              Address Redacted                 5619 Durham Dr
China Spring, TX 76633                                                    New Orleans, LA 70131




Kimberly Southerland Gilstrap            Kimberly Terrell Fisher          Kimberly Toney
6769 State Road 21 North                 1900 Lucille St                  1016 Ashmount Ave
Keystone Heights, FL 32656               Dallas, TX 752044228             Oakland, CA 94610




Kimberly Whynot                          Kimberly Y Gaar                  Kimble Harris
3801 Lake Dr                             329 Imperial Beach Boulevard     4255 Fm 13 West
Pearland, TX 77581                       Apartment C                      Henderson, TX 75654
                                         Imperial Beach, CA 91932




Kimlyn White Young                       Kimray Inc                       Kims Janitoral
7158 Pacal Road                          PO Box 248869                    314 Jade Street
Gilmer, TX 75645                         Oklahoma City, OK 73124          Rock Springs, WY 82901




KimS Janitorial Baes Lawn Plus Dba       Kimzey Casing Service LLC        Kimzey Casing Service LLC
Mike Kim                                 Malina Pruett                    PO Box 677435
314 Jade Street                          3401 Quebec Street Suite 3200    Dallas, TX 75267-7428
Rock Springs, WY 82901                   Denver, CO 80207




Kincaid Williams                         Kincheloe Property Company Ltd   Kinder Morgan Inc
1515 Tranquilla                          12740 Hillcrest Road 230         Dept 3021
Dallas, TX 75218                         Dallas, TX 75230                 PO Box 201607
                                                                          Dallas, TX 75320-1607




Kinder Morgan Texas Pipeline             Kinder Morgan Treating Lp        Kinecta Federal Credit Union
Treasury Department                      Dept 3015                        1440 Rosecrans Ave
Department 3015                          PO Box 201607                    Manhattan Beach, CA 90266
PO Box 201607                            Dallas, TX 75320-1607
Dallas, TX 75320-1607
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King D Mays                             King Family Trust               King Oil Gas Of Texas Ltd
2818 Harris Pl South                    3430 Pier Walk                  800 Bering Suite 206
Seattle, WA 98144                       Oxnard, CA 93035                Houston, TX 77057




King Operating Corp                     King Private Equity Fund        King Private Equity Fund
6142 Campbell Road                      Attention Michael Riley         c/o Michael Riley
Dallas, TX 75248                        6142 Campbell Road              6142 Campbell Road
                                        Dallas, TX 75248                Dallas, TX 75248




King Royalty Sterling Property Inc      King Well Services              King Williams Trust
6142 Campbell Road                      PO Box 135                      Emily William Trustee
Dallas, TX 75248                        Hermleigh, TX 79526             914 Fm 26664
                                                                        Nacogdoches, TX 75605-4731




King Woodard Trust                      Kingdom Investments Limited     Kingfisher Resources Inc
c/o Argent Property Services            Rosewood Court                  Dept 41300
PO Box 1410                             2101 Cedar Springs Rd Ste 600   PO Box 650823
Ruston, LA 71273                        Dallas, TX 75201                Dallas, TX 75265




Kings Telemessaging Svcs Inc            Kingsbury Inc                   Kingship I Limited
554 Kings Highway                       PO Box 8500 S2800               PO Box 376
Shreveport, LA 71104                    Philadelphia, PA 19178          Shreveport, LA 71162




Kingwood Resources Inc                  Kinner Timothy Dunn             Kinney Incorporated
PO Box 5321                             24530 Gosling Rd Apt 711        PO Box 809
Kingwood, TX 77325                      Spring, TX 77389-5609           Andrews, TX 79714




Kiona Laneece Giles                     Kip Ann Smith Amick And         Kiper Sherry A Tompkins
951 Sperry Dr                           Marcus Alan Amick               803 Cr 407
Colton, CA 92334                        972 State Hwy 43 E              Carthage, TX 75633
                                        Tatum, TX 75691




Kipper Lee Dorsey                       Kippi Lee Bednar                Kippy Dale Carr
304 Stonebridge                         W3261 Slag Road                 1615 Fm 3126
Rockwall, TX 75087                      Mayville, WI 53050              Livingston, TX 77351




Kirby Mathews Walrath PLLC              Kirby Minerals Lc               Kirk A Barrell
815 Walker St Ste 953                   PO Box 268947                   c/o Amelia Resources Llc
Houston, TX 77002-5735                  Oklahoma City, OK 73126         1095 Evergreen Cir
                                                                        Ste 200
                                                                        The Woodlands, TX 77380



Kirk Aycock                             Kirk Doris Woolery              Kirk Leah Palmer 1999 Tr
2880 Fm 49                              3547 Abes Landing Dr            715 B Ave G
Mineola, TX 75773                       Granbury, TX 76049              Levelland, TX 79336
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Kirk Miles Sedberry                        Kirk P Mcgehee                             Kirk Rogers
3805 Lone Man Mountain Rd                  101C North Greenville Ave                  1001 8Th St
Wimberly, TX 78676                         Suite 601                                  Levelland, TX 79336
                                           Allen, TX 75002




Kirk W Evans                               Kirk Weaver Contract Pmpng Inc             Kirk Wilson
1020 Bay Area Blvd 220                     PO Box 385                                 903 Kilgore Ct
Houston, TX 77058                          Beckville, TX 75631                        Allen, TX 75013




Kirkpatrick Lockhart Preston               Kirkpatrick Oil Company                    Kirkwood Oil Gas LLC
Gates Ellis LLP                            1001 W Wilshire Boulevard                  120 S Durbin
925 Fourth Ave Suite 2900                  Oklahoma City, OK 73116                    PO Box 3439
Seattle, WA 98104                                                                     Casper, WY 82602




Kirsten Dennett                            Kirsten K Lamontagne                       Kirsten Yates Herrerra Gst Trt
298 Noble School Rd                        1500 Little Raven St Apt 518               Frost NatL Bank Acct Fa799
Dubach, LA 71235                           Denver, CO 80202                           Mamd T 6 PO Box 1600
                                                                                      San Antonio, TX 78296




Kirtley Ann Roper                          Kisha Yvette Waters                        Kissie A Traveler
2521 Timberleaf Drive                      3808 Stocker Street                        606 Lochness Lane
Carrollton, TX 75006                       Los Angeles, CA 90008                      Garland, TX 75044




Kit Brooks Kyle                            Kit Herrington And Community Nation Bank   Kit Herrington And Community Nation Bank
Rt 1 Box 6 A                               Co Trustees Of Tr Herrington Jr Trust      Co Trustees Of Tr Herrington Jr Trust
Mt Enterprise, TX 75681                    Fbo Kit Herrington                         Fbo Thomas W Herrington
                                           PO Box 624                                 PO Box 624
                                           Corsicana, TX 75151                        Corsicana, TX 75151



Kit Herrington And Community Nation Bank   Kit Herrington Community                   Kitchco Oil Gas Ii Ltd
Co Ttee Of Tr Herrington Jr Tr             Nation Bank Co Ttees Of Trust              Henry J N Taub Ii Pres
Fbo Kay Herrington Oxford                  Tr Herrington Fbo Canice Garth             333 West Loop N 410
PO Box 624                                 PO Box 624                                 Houston, TX 77024
Corsicana, TX 75151                        Corsicana, TX 75151



Kitchel Estate Exempt Trust                Kittie P Brown                             Kittrell Family Minerals LLC
F/B/O Ward N Adkins Jr                     PO Box 1353                                121 S Broadway Suite 708
5519 Tupper Lake                           Lubbock, TX 79408                          Tyler, TX 75702
Houston, TX 77056




Kitty Collins Wiggins                      Kitty R Hale                               Kizzie L Washington
530 College Street                         PO Box 52195                               Deloris O Y Small Poa
Shreveport, LA 71104                       Shreveport, LA 71135                       12615 S Princeton Ave
                                                                                      Chicago, IL 60628




Kj Hotshot LLC                             KK Minerals LLC                            KK Minerals LLC
PO Box 304                                 Jp Morgan Chase Bk Na Agent                Jp Morgan Chase Bk Na Agent
Breckenridge, TX 76424                     PO Box 2605                                PO Box 99084
                                           Fort Worth, TX 76113                       Fort Worth, TX 76199
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KK Oilfield Services LLC               KK Pro Plumbing                 KL Gates
Glen Klee                              5246 W Mapp St                  Attn Accounts Receivable Dept
5462 County Road 55                    Odessa, TX 79763                210 Sixth Avenue
Sterling, CO 80751                                                     Pittsburgh, PA 152222613




Klare Eugenie Thomas                   Klaus Dittmann                  Kleberg First National Bank
7911 Hwy 80                            4751 Birch Bay Lynden Rd        3133 South Alamedia
Ruston, LA 71270                       Lot 15                          Corpus Christi, TX 78404
                                       Blaine, WA 98230




Kleimor Energy LLC                     Kleinfelder                     Klett Cory
8451 E Oregon Pl                       PO Box 51958                    Address Redacted
Denver, CO 80231                       Los Angeles, CA 90051-6258




Kline Tr Under Art Third Will Of       Klk Enterprises LLC             Klp Oil Gas Properties LLC
Leonard C Kline Dtd 06/8/82            2921 Lackland Rd Ste 201        5050 N Mesa Dr
c/o Alisa Kline                        Fort Worth, TX 76116            Castle Rock, CO 80104
4208 Lillian
Houston, TX 77007



Klx Energy Services LLC                Klx Energy Services LLC         KM Oil Services LLC
28099 Network Place                    Carl Starr                      PO Box 4546
Chicago, IL 60673-1280                 PO Box 784                      Shreveport, LA 71134-0546
                                       Bridgeport, WV 26330




KM Oil Services LLC                    Kmr Grandaughters Tr            Kn Energy Inc
Dba KM Well Service Llc                9400 N Central Expwy Ste 910    370 Van Gordon St
PO Box 4546                            Dallas, TX 75231                Lakewood, CO 80228-1519
Shreveport, LA 71134




Kneipp James Rusty                     Kneipps Pumping Service LLC     Knight Fishing Services
Kneipps Pumping Services LLC           369 Cr 107                      PO Box 52823
369 Cr 107                             Carthage, TX 75633              Lafayette, LA 70505-2823
Carthage, TX 75633




Knight Oil Tools LLC                   Knight Oil Tools Inc            Knight Oil Tools LLC
Legal Department                       PO Box 53883                    PO Box 52688
PO Box 53883                           Lafayette, LA 70505             Lafayette, LA 70505-2688
Lafayette, LA 70505




Knight Oil Tools LLC                   Knight Petroleum Lp             Knighten Machine Service Inc
Rental Tool Service                    PO Box 508                      PO Box 12587
PO Box 53883                           Tyler, TX 75710                 3323 N County Rd West
Lafayette, LA 77060                                                    Odessa, TX 79768




Knighton Family Trust                  Knighton Family Trust           Knights Rig Tank Cleaning
John Milton Sharp                      John Milton Sharp And           PO Box 1630
Janis Knighton Sharp Co Ttees          Janis Knighton Sharp Trustees   Gilmer, TX 75644
7931 Abelia Way                        7931 Abelia Way
Clemmons, NC 27012                     Clemmons, NC 27012
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KnightS Rig Tank Cleaning LLC          Knowledgelake Inc                  Knox Oil Field Supply Inc
PO Box 1630                            6 Cityplace Dr Ste 500             PO Box 60065
Gilmer, TX 75644-4630                  St Louis, MO 63141                 San Angelo, TX 76906




Knoxville Tva Employees                Kobi James Malcolm                 Koch Exploration Company LLC
525 Portland St                        1196 Dunning St Southwest          PO Box 2219
Knoxville, TN 37919                    Camden, AR 71701                   Wichita, KS 67201-2219




Koch Exploration Company LLC           Koch Glitsch Lp                    Koch Specialty Plant Services LLC
PO Box 301269                          PO Box 915034                      Richard Hernandez
Dallas, TX 75303-1269                  Dallas, TX 75391-5034              12221 East Sam Houston Parkway North
                                                                          Houston, TX 77044




Koch Specialty Plant Svcs LLC          Kody George Raizen                 Koenen Rk Development LLC
PO Box 915040                          David M Julia B Raizen Custodian   PO Box 1445
Dallas, TX 75391-5040                  PO Box 446                         La Quinta, CA 92247-1445
                                       Wynnewood, PA 19096




Koh Box                                Kologey Juanita F                  Kona Energy Investments LLC
1948 Caddo Drive                       4810 Frontier                      Attn Ryan Haggerty
Justin, TX 76247                       Garland, TX 75043                  309 W 7Th Street Ste 500
                                                                          Fort Worth, TX 76102




Kona Ltd                               Kona Oil Gas Properties Lp         Konorza Stringfellow
1302 West Ave                          816 Congress Avenue Suite 1130     15470 Washoan Rd
Austin, TX 78701-1716                  Austin, TX 78701                   Apple Valley, CA 92307




Korn Ferry International               Kortney Joann Moegenburg           Kory James Moegenburg
PO Box 1450                            502 W Highland Ave Apt C           c/o Kristi Moore Davis
Minneapolis, MN 55485-5064             Phoenix, AZ 85013                  1056 Count Rd 3810
                                                                          Hawkins, TX 75765




Kosberg Holdings LLC                   Kouri Properties LLC               Kouri Terry County LLC
PO Box 27376                           2921 Lackland Rd Ste 201           2921 Lackland Rd Ste 201
Houston, TX 77227                      Ft Worth, TX 76116                 Fort Worth, TX 76116




Kozette Phillips                       Kpmg LLP                           Kpmg LLP
7849 Phillip Place                     Department 0691                    Dept 0754
Frankston, TX 75763                    PO Box 120001                      PO Box 120754
                                       Dallas, TX 75312-0691              Dallas, TX 75312-0754




Kr Fishing Rental                      Kraft Livestock                    Kraftman Federal Credit Union
777 Valley Ct                          2624 E Douglas Road                805 East Cypress
Grand Junction, CO 81505               Fort Collins, CO 80524             Bastrop, LA 71220
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Kramer Oil Gas LLC                        Kratzer Lefevre Holdings LLC   Krcc Oil Gas
PO Box 253                                808 Blacker Avenue             200 W Vine Suite 8 K
Graham, TX 76450                          El Paso, TX 79902              Lexington, KY 40507




Krehko Industries LLC                     Krft LLC                       Kris Hollier Radcliffe
PO Box 2680                               c/o Hilltop National Bank Na   20403 Autumn Terrace Dr
Gillette, WY 82718                        PO Box 2680                    Katy, TX 77450
                                          Casper, WY 82602




Kris Prince                               Kriskon Oil Gas Inc            Krissy Lane Heinrich
138 Majuro Dr                             4809 Cole Avenue Ste 109       5402 90Th St
Galveston, TX 77554-7127                  Dallas, TX 75205               Lubbock, TX 79424




Krista Michelle Henry Harris              Kristen B Ecklund              Kristen Cabaniss
139 Sam Head Rd                           Address Redacted               9611 Trailview Drive
West Monroe, LA 71291                                                    Dallas, TX 75238




Kristen Nicole Callais                    Kristen R Desanto              Kristi L Perryman
8615 Lone Maple Drive                     5739 North Lariat Drive        2100 S Utica Ave Suite 200
Houston, TX 77083                         Castle Rock, CO 80108          Tulsa, OK 74114




Kristi Moore Davis                        Kristi Pruitt Frazier          Kristi Rogers
1056 Count Rd 3810                        585 Talbert White Rd           137 Forest Dr
Hawkins, TX 75765                         Simsboro, LA 71275             Liberty, TX 77575-3347




Kristian Love                             Kristie Ann Fears              Kristie Cummings Living Trst Acct
1229 Monroe St                            119 S 2nd Street               3134 County Road 3790
Alexandria, LA 71301                      De Soto, MO 63020              Joaquin, TX 75954




Kristie Pederson                          Kristin April Barnhart         Kristin Colvin Van Zandt
2204 K Road                               907 Wilcrest Place             109 Peak Tree Lane
Humboldt, IA 50548                        Longview, TX 75604             Benton, LA 71006




Kristin H Jones Revocable Tst             Kristin Lynn Kaufman           Kristin V Moseley
Kristin H Jones Trustee                   7807 D N Jefferson Pl Cir      28 Valley Ct
C/O Texas State Treasury Unclaimed Prop   Baton Rouge, LA 70809          Durango, CO 81301
PO Box 12019
Austin, TX 78711-2019



Kristina Joelle Yates                     Kristina P Busceme             Kristine K Moore
5803 Saddle Bred Dr                       5955 Tangledahl                2447 S Colorado Blvd Apt 426
Houston, TX 77084                         Beaumont, TX 77706             Denver, CO 80222-5923
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Kristine Logan Schrimpf                   Kristine R Alvin D Ronquille   Kristopher Sol Molhusen
5907 Steeplegate Court                    PO Box 5845                    6237 Shady Brook Lane 279
Jefferson City, MO 65101                  Slidell, LA 704695845          Dallas, TX 75206




Kristy D Robertson Hickman                Kristy Knight Dark             Kristy Lynn Musser
2410 Hwy 80                               2510 Kimbolton Drive           1803 Rosebaum Drive
Choudrant, LA 71227                       College Station, TX 77845      Brenham, TX 77833




Kristy Sheree Vincent                     Krp Industries                 Krt Inc
Address Redacted                          4304 W Marshall Ave            PO Box 1665
                                          Longview, TX 75604             Rock Springs, WY 82902




Ks Fabrication Machine Inc                Ks Pipe And Supply LLC         Ksa Engineers
6205 Distric Blvd                         5400 Katy Freeway              140 E Tyler St Ste 600
Bakersfield, CA 93313                     Suite 110                      Longview, TX 75601
                                          Houston, TX 77007




Ksl 1985 Oil Gas                          Ksw Environmental LLC          Ksw Oilfield Rental LLC
8962 E Hampden Ave 169                    Annie Cook                     Annie Cook
Denver, CO 80231                          501 Bering Drive Suite 455     510 Bering Drive Suite 455
                                          Houston, TX 77057              Houston, TX 77057




Ksw Oilfield Rental Lp                    Kt Exploration LLC             Kubota Credit Corporation Usa
Dept 269                                  1121 Louisiana Ave             PO Box 0559
PO Box 21228                              Shreveport, LA 71101           Carol Stream, IL 601320559
Tulsa, OK 74121-1228




Kudu Inc                                  Kunkel And Associates          Kuno S Trostmann Jr
PO Box 1319                               PO Box 757                     10615 Garrick Lane
Wichita Falls, TX 76307                   Roswell, NM 88202-0757         Houston, TX 77013




Kurt Bonnell Callan                       Kurt Koldinger                 Kurt L Ploeger
5415 East 103Rd Pl                        4487 Brisbane Cir              260 Manor
Tulsa, OK 74137                           El Dorado Hills, CA 95762      Beaumont, TX 77706




Kurt M Hanson                             Kurt Matthew Molhusen          Kurt Paul Ochs
PO Box 563                                2205 Woodoak Drive             3105 Grapevine Lane
Houston, TX 77001                         Irving, TX 75060               Carrolton, TX 75007




Kurt W Roehm                              Kutak Rock LLP                 Kuykendall Don L Linda J Kuykendall
2409 Swallow Ave                          Suite 3100                     3146 East Country Club Road
Mcallen, TX 78504                         1801 California Street         Longview, TX 75602
                                          Denver, CO 80202- 2626
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Kuykendall Mark Allen                     Kw International LLC                     Kway Trucking Inc
Monica Kuykendall                         Dept 292                                 PO Box 1845
4724 E Country Club Road                  PO Box 4346                              Palestine, TX 75802
Longview, TX 75602                        Houston, TX 77210




Kyal Lavern Lawhon                        Kyle A Ervin Jr Family Tst               Kyle A Gilgis
16350 County Rd U                         Mary Lowry Ervin Trustee                 30 Calvert Terrace
Shamrock, TX 79079                        4 Gallery Court                          The Villages, FL 32162
                                          San Antonio, TX 78209




Kyle Birch Et Ux                          Kyle Bond                                Kyle Brooks Barnett Jr
Belinda Bearden Birch                     Address Redacted                         Gary Costlow Trustee
2439 Highway 544                                                                   10468 Ingram Rd
Ruston, LA 71270                                                                   Brownsboro, TX 75757




Kyle C Smith                              Kyle D Collins                           Kyle F Fullick Trustee
1201 Nw Loop 281 Ste 200                  1508 Mockingbird Dr                      209 Post Oak
Longview, TX 75604                        Plano, TX 75093                          Baytown, TX 77520




Kyle Fair                                 Kyle Fitch Jr                            Kyle Ford
5609 Cradlerock Cir                       700 Scenic Loop                          PO Box 21
Plano, TX 75093                           Marshall, TX 75672                       Woodlawn, TX 75694




Kyle G Pritchett                          Kyle Jospeh Hopkins                      Kyle Lake Foundation
815 Se Cr 2260                            Address Redacted                         PO Box 6776
Corsicana, TX 75109                                                                Tyler, TX 75711




Kyle Lamont Wilson                        Kyle Lee Parmer Revocable Living Trust   Kyle Mcquire
PO Box 182                                645 County Road 4356                     Address Redacted
Whitehouse, TX 75791                      Tenaha, TX 75974




Kyle Peterson                             Kyle R Hardy                             Kyle Roane
Address Redacted                          19311 Cr 1321                            Address Redacted
                                          Flint, TX 75762




Kyle Rogers Bolin                         Kyle Scott Davenport                     Kyle Stone Bulldozing
45 Sendero Verde                          1127 Garr Road                           404 Welch Drive
San Antonio, TX 78261                     Ruston, LA 71270                         Holliday, TX 76366




Kyle Wood Partners Ltd                    Kym A Comer                              L 3 Communications Maripro Inc
c/o Whitley Penn Lp                       5949 Sherry Lane                         PO Box 100709
1400 West 7Th Street                      Suite 780                                Pasadena, CA 91189-0709
Suite 400                                 Dallas, TX 75225
Fort Worth, TX 76102
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L A Walstrom Jr                         L A Wright Marital Trust              L And P Oilfield Services LLC
PO Box 3120                             2317 County Rd 229D                   PO Box 251
Seal Beach, CA 90740-2120               Henderson, TX 75652                   Troup, TX 75789




L C Adams                               L C Fisher Jr                         L C Fisher Life Estate
3697 Lakefront Drive                    10011 Cedar Creek Drive               2410 Vincent
Southside, AL 35907                     Houston, TX 77042                     Brownwood, TX 76801




L C Ford And Phyllis G Ford             L C Ford Wife Lillie Ford             L C Henson
156 Franklin Estates                    145 Pugh Road                         205 Bobby St
Homer, LA 71040                         Homer, LA 74140                       Longview, TX 75602




L C Lewis Jr                            L C Willis A Single Man               L Clark Kiser
PO Box 360                              719 Liberty Hill Rd                   1291 S Liberty Point Blvd
Grambling, LA 71245                     Homer, LA 71040                       Pueblo West, CO 81007




L Craig Keoun Jr                        L D Battle Estate                     L D Chilton
9102 Branch Hollow Dr                   2025 Higgins Cir                      PO Box 54
Dallas, TX 75243                        Beaumont, TX 77706-2740               Tulsa, OK 74101




L D Garvis Jones                        L D Moore                             L D Napper And Sara Baskin
12942 Hwy 7 East                        611 West Grand Avenue                 Napper
Joaquin, TX 75954                       Grambling, LA 71245                   PO Box 697
                                                                              Ruston, LA 71273




L D Roberson Sep Prop                   L E Armstrong                         L E Bruni Family Min Tr Gbk
5255 Clayton Rd 254                     13 Rd 6Ss                             Frost Natl Bnk Acct 0765500
Concord, CA 94521                       Cody, WY 82414                        PO Box 1600
                                                                              San Antonio, TX 78296




L E Bruni Family Min Tr Rjb             L E Bruni Trust 056950                L E Buddy Hatcher
Frost Natl Bnk Acct 0765400             Frost NatL Bank Ttse                  560 Webb Rogers Rd
PO Box 1600                             PO Box 1600                           Waskom, TX 75692
San Antonio, TX 78296                   San Antonio, TX 78296




L E Jones Production Company            L E Oppermann Nicolette A Oppermann   L E Services LLC
PO Box 1185                             1505 Neely                            PO Box 70
Duncan, OK 73534                        Midland, TX 79705                     Loco Hills, NM 88255




L F Well Service Inc                    L H Defriend                          L H Gray
PO Box 1590                             PO Box 325                            c/o Unclaimed Property Division
Farmington, NM 87499                    Deberry, TX 75639                     PO Box 12019
                                                                              Austin, TX 78711-2019
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L H Harris                              L H Hemphill                   L H Industrial Inc
4075 Laurel Street                      Marzell Hemphill               913 L J Court
Regency Apt 61                          3000 New Natchhoches Rd        Gillette, WY 82718
Beaumont, TX 77707                      West Monroe, LA 71292




L H M 2006 Oil And Gas Tr               L Haskins Montgomery           L Isabel Celestine
PO Box 470155                           PO Box 611                     723 Hahlo
Fort Worth, TX 76147                    Bay Springs, MS 39422          Houston, TX 77020




L J Fenton                              L J Marquis                    L J Whitten Frances Whitten
1901 Nimrod Trail                       c/o Texas State Treasury       1926 Bethel Road
Longview, TX 75604                      Unclaimed Property Division    Logansport, LA 71049
                                        PO Box 12019
                                        Austin, TX 78711-2019



L K Freyer Investments LLC              L K Sowell Trust               L L Bissell
4720 Rockcliff Road 3                   c/o U S Trust                  PO Box 12559
Austin, TX 78746                        PO Box 840738                  San Luis Obispo, CA 93406
                                        Dallas, TX 75284-0738




L L Contractors                         L L Dunham                     L L Hanna
PO Box 218                              9009 Letha Loop                411 Chickasaw Dr
Laird Hill, TX 75666                    Shreveport, LA 71118           West Monroe, LA 71291-2319




L L Propane LLC                         L Lee Kidd                     L Linda Rosser Living Trust
PO Box 44                               1428 E Richards                Dated 10/19/82
Mesa, CO 81643                          Tyler, TX 75702                L Linda Rosser Trustee
                                                                       1803 Huntington Avenue 1
                                                                       Oklahoma City, OK 73116



L M Backhoe Inc                         L M Barber                     L M Border Services
PO Box 728                              5151 Fm 1653                   PO Box 440224
Andrews, TX 79714                       MartinS Mill, TX 75754         Laredo, TX 78044-0224




L N Curtis Sons                         L N White Jr                   L Oil Operating Mgt Company
PO Box 39000                            PO Box 867                     PO Box 611
Dept 34921                              Brenham, TX 77833              Blanchard, LA 71009
San Francisco, CA 94139




L P Fadrique                            L P Lewis                      L R Tank Trucks Inc
Raymond B Keating Iii                   PO Box 492850                  PO Box 62
PO Box 79898                            Sacramento, CA 94250           Bowie, TX 76230
Houston, TX 77279




L R Well Service Inc                    L Randall Jaye Latch           L S Hot Oil Service Inc
PO Box 1457                             3130 N Eastman Rd              9059 Highway 70 S
Artesia, NM 88211-1457                  Longview, TX 75605             Vernon, TX 76384
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L S Melzer                                L S Miller Tr                         L S Oates
PO Box 2083                               Lloyd Miller Ttee                     205 Cora Street
Midland, TX 79702                         113 Spring St                         Center, TX 75935-3656
                                          Media, PA 19063




L Stephen Hagood                          L T Davis                             L T Holland Separate Property
PO Box 1401                               2527 Hudspeth Street                  3716 36Th Avenue
Denver, CO 80201                          Dallas, TX 75216                      Meridian, MS 39305




L T Malone Et Ux And Willie Ruth Malone   L Turner Collins                      L V Castle Trust
1439 Hwy 155                              2169 E Monroe Terrace                 Bank Of America Na Trustee
Quitman, LA 71268                         Springfield, MO 65802                 PO Box 840738
                                                                                Dallas, TX 75284-0738




L Victor Duncan                           L Viola Castle Trust                  L W Consulting Inc
11870 Barrymore Drive                     Bank Of America Na Trustee            PO Box 1304
Frisco, TX 75035                          PO Box 840738                         Palms, CA 90034
                                          Dallas, TX 75284-0738




L W Sewell                                L W Sugar Limited Partnership         La Capitol Federal C U
PO Box 6604                               Charles Brian Sugar Succ Ttee         700 Main Street
Tyler, TX 75711                           625 Market Street Suite 100           Baton Rouge, LA 70802
                                          Shreveport, LA 71101




La Chemical LLC                           La Co Tax Collector                   La County Clerk
594 Gap Farms Rd                          PO Box 54027                          PO Box 1208
Suite B                                   Los Angeles, CA 90054-0027            Norwalk, CA 90651-1208
Arcadia, LA 71001




La Cueva Investments Lp                   La Department Of Conservation         La Dept Of Transp Dev
732 Elmwood                               Dept Of Natural Resources             PO Box 94245
Shreveport, LA 71104                      Accounts Receivable                   Baton Rouge, LA 70804-9245
                                          PO Box 44277
                                          Baton Rouge, LA 70804-4277



La Estancia Investment Lp                 La Forest Products LLC                La Juan H Maynard
6455 Dallas Pkwy                          Attn Michael Jothism                  PO Box 801082
Plano, TX 75024-3531                      3615 Ne 56Th St                       Balch Springs, TX 75180-8082
                                          Vancouver, WA 98661




La Marche Manufacturing Co Inc            LA Office Of Conservation Commingle   La Regional Water Quality Cont
106 Bradrock Drive                        617 North 3rd St                      320 West 4Th St Suite 200
Des Plaines, IL 60018                     9Th Flr                               Los Angeles, CA 90013
                                          Baton Rouge, LA 70802




La Ruth J Wilson                          La Shawn Miggins                      La Sombra Minerals LLC
1929 Central                              2154 Clearview Cir                    c/o Broadway Ntl Bk Tr OG
Jackson, MS 39209                         Benicia, CA 94510                     Fbo Julia Garrett Heinrichs
                                                                                PO Box 17001
                                                                                San Antonio, TX 78217
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La Testing                              La Tonya Simpson                   La Toya Denise Atkins
PO Box 375                              254 Oregon Trail                   282 May Road
Collingswood, NJ 08108                  Monroe, LA 71202                   Dubach, LA 71235




La Voe Gary                             Lab Management Network Inc         Labanowski Associates
11491 Cooks Lake Rd                     4445 Eastgate Mall Ste 200         2000 Bering Dr
Lumberton, TX 776578897                 San Diego, CA 92121                Suite 701
                                                                           Houston, TX 77057




Labarge Minerals Inc                    Labban Futures LLC                 Labelmaster
PO Box 127                              Attn Michael Labban                PO Box 46402
La Barge, WY 83123                      3238 Barksdale Boulevard           Chicago, IL 60646-0402
                                        Bossier City, LA 71112




Labokay Properties M LLC                Lacasia R Cook                     Lacey Henry Stinson
7 Water St Ste 600                      583 Mount Olive Road               253 Upchurch Rd
Boston, MA 02109                        Ruston, LA 71270                   Dubach, LA 71235




Lackey Enegry Services LLC              Lacoy Family Trt Trt A Mildred     Lacresha Washington Brown
Eagle Tubing Tester                     H Lacoy Ttee                       10815 Hwy 175
PO Box 3499                             PO Box 514                         Grand Cane, TX 71032
Abilene, TX 79604                       Iron Mountain, MI 49801




Lacy B Lewis                            Lacy B Washington                  Lacy D Roop 1999 Mgmt Tr
C/O Ruby Lee Lewis Austin               PO Box 112                         Lacy D Roop Ttee
6827 Lyndhurst Drive                    Arcadia, LA 71001                  3109 C R 264
Houston, TX 77087                                                          Breckenridge, TX 76424




Lacy Lester                             Lacy Properties Ltd                Lacy Weathersbee
2501 West 12Th St                       PO Box 2146                        4601 6Th Ave 2R
Texarkana, TX 75501                     Longview, TX 75606-2146            Brooklyn, NY 11220




Ladaughn H Darby                        Ladell Phillips                    Ladenburg Thalmann Financial
1010 Delia Drive                        5808 Cross Creek Circle            4400 Biscayne Boulevard 12th Floor
Longview, TX 75601                      Tyler, TX 75703                    Miami, FL 33137




Ladoca LLC                              Ladona B Holder                    Ladona Holder Schimmelfennig
PO Box 631449                           8150 W 123Rd St North              739 W Hind Drive
Houston, TX 77263                       Sperry, OK 74073                   Honolulu, HI 96821




Ladonna G Thigpen                       Ladonna Kimble                     Lafayette Schools Credit Union
392 Jacob Road                          17807 Lakecrest View Dr Apt 8304   515 Guilbeau Rd
Port Lavaca, TX 77979                   Cypress, TX 77433-3752             Lafayette, LA 70506
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Lafitte Trust                            Lafitte Trust                            Lafon Bailey Poa For
c/o Darrell Lafitte Trustee              Darrell M Lafitte Trustee                Patsy Armstrong Cates
21 Lakeside Park                         21 Lakeside Park                         1208 Waterford Way
Dallas, TX 75225-8110                    Dallas, TX 75225                         Allen, TX 75013




Laforce Clearing OG Dist Trust           Laforce Family Lp                        Lagarto Interests LLC
PO Box 41779                             PO Box 353                               952 Echo Ln Suite 390
Austin, TX 78704                         Midland, TX 79702                        Houston, TX 77024




Lagarto Rental Tools Inc                 Lagloria Royalty Ltd                     Lagow Karen
PO Box 2100                              PO Box 1376 Dept 02                      223 Rollinwood Circle Nw
Alice, TX 78333                          Houston, TX 77251                        Rome, GA 30165




Lagrange College                         Laguna Royalty Ltd                       Lainey F Piper
601 Broad Street                         3309 Winthrop Ave Suite 77               6023 Rathbone
Lagrange, GA 30240-2999                  Fort Worth, TX 76116                     Parker, TX 75002




Laj Corporation                          Lajeanne Little                          Lajeanne Little And Corey N Joslin
PO Box 10626                             17803 Trophy Deer Court                  1875 N Page Rd
Midland, TX 79702                        Houston, TX 77084                        Longview, TX 756056290




Lajoice C Mckinney                       Lajuana Delley                           Lajuana Kerr Turner
5011 Sandy Cedar Drive                   643 South 21 St                          5414 Louise Street
Kingwood, TX 77345                       Richmond, CA 94804                       Baytown, TX 77521




Lajuanta Diane Gaulden                   Lake Employees Trust                     Lake Investment Production Company Ltd
471 Mt Olive Road                        Peyton M Lake William S Blomdahl Ttees   Lucinda Lake Gerhart Pres
Ruston, LA 71270                         Box 179                                  Lipco In Sole Gen Prtner
                                         Tyler, TX 75710                          PO Box 2134
                                                                                  Austin, TX 78768



Lake Myers Company                       Lake Ronel Oil Company                   Lakeeta S Jackson
PO Box 179                               PO Box 179                               Texas State Comptroller
Tyler, TX 75710                          Tyler, TX 75710                          Unclaimed Property Division
                                                                                  PO Box 12608 Capitol Station
                                                                                  Austin, TX 78711



Lakeway Development                      Lakewind LLC Dba Ridgerocktx LLC         Lakewood Energy Solutions LLC
Attn Robert Mccormick                    PO Box 30304                             6655 South Lewis
PO Box 4108                              Edmond, OK 73003                         Ste 200
Monroe, LA 71211-4108                                                             Tulsa, OK 74136




Lal Carter Terrell                       Lala D Glenn                             Lala Faye Fisher
1450 Kings Road                          4300 Dellwood Drive                      610 Point Road
Marshall, TX 75672                       Odessa, TX 79762                         Backus, MN 56435
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Lalita A Taylor                          Lallage Feazel Wall              Lallance A Adair Residuary Tr
5715 Boca Raton                          1015 Trenton Street              c/o John F Adair Trustee
Dallas, TX 75230-2959                    West Monroe, LA 71291            45484 Us Highway 69 N
                                                                          Jacksonville, TX 75766-8779




Lamar And Dorothy Colvin                 Lamar Anderson Ozley             Lamar B Roemer
Family Trust                             296 Manor                        25815 Oak Ridge Dr
PO Box 40                                Beaumont, TX 77706-4518          Spring, TX 77380-2054
Dubach, LA 71235




Lamar E Ozley Jr And                     Lamar Givens Caskey              Lamar Hunt Estate
Christine Colbert Ozley                  6105 River Rd                    Clark Knobel Hunt Indp Exec
12037 Edgestone Rd                       Shreveport, LA 71105             PO Box 95229
Dallas, TX 75230                                                          Grapevine, TX 76099




Lamar Leland                             Lamar May                        Lamar Operating Company
371 Riviera Ci                           2531 Cutting Blvd                PO Box 1319
Larkspur, CA 94939                       Richmond, CA 94804               Wichita Falls, TX 76307




Lamar Richard                            Lamar Velton Reid And            Lamar Watts Colvin
13323 Arlon Trail                        Susan Campbell Reid              5608 Hwy 822
Houston, TX 77082                        6372 Louisiana Highway 1 North   Dubach, LA 71235
                                         Shreveport, LA 71107




Lamb Yvonne E                            Lamb County Electric Coop        Lambert L Shaw
Address Redacted                         2415 S Phelps                    2718 Cr 233
                                         Littlefield, TX 79339-5699       Tyler, TX 757056100




Lamberth Carlton                         Lamberth Charles                 Lambrecht Welding Service Inc
10117 Pine Tree Road                     918 S Magnolia                   PO Box 1214
Tyler, TX 75707                          Palestine, TX 75801-7298         Sterling, CO 80751




Lamco Inc                                Lamerle Faye Whitney             Lamesa Butane Co
211 Horne Lane                           7847 Us Highway 84               PO Box 382
West Monroe, LA 71292                    Joaquin, TX 75954                Lamesa, TX 79331




Lamona Beck                              Lamont Seals Jr                  Lampco Federal Credit Union
8081 Marvin D Love Frwy Apt606           14340 Ne 1030 Road               1815 E 53rd St
Dallas, TX 75237                         Osceola, MO 64776                Anderson, IN 46013




Lamurl Cook Duren                        Lamurriel Woodfin Kirkpatrick    Lan Tech
1304 Olive Street                        25 Worthen Rd Apt 201            5517 Mcpherson 20
Jourdanton, TX 78026                     Durham, NH 03824                 Laredo, TX 78041
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Lana E Ray                               Lana E Ray Life Est               Lana Hardy Schochler
54 27Th Ave Dr Nw                        54 27Th Ave Dr Nw                 PO Box 2
Hickory, NC 28601                        Hickory, NC 28601                 Hallsville, TX 75650




Lana Holcomb Brumback                    Lana Lynn Howard                  Lana Patricia Dailey Trust
2490 Bowtie Ave                          315 Windridge Dr                  1790 Karen
Eugene, OR 974043841                     West Monroe, LA 71291             Beaumont, TX 77706




Lana Patricia Dailey Trust               Lana S Perkins                    Lana Simpson
Fbo Lana Patricia Dailey                 4067 Anvil Drive                  25403 Bellchase Cir
c/o David G Hitt Bryan Hitt              Colorado Springs, CO 80925-1149   Spring, TX 77373-6091
1790 Karen
Beaumont, TX 77706



Lana Sue Atchison Drake                  Lance Alan Cason                  Lance Construction Svcs Inc
PO Box 8532                              844 Glasgow Ct                    1200 Mckinney Street Suite 310
Lumberton, TX 77657                      Lincoln, CA 75648                 Houston, TX 77010




Lance Drew Thomas                        Lance Edward Neill                Lance Hancock Jamie Hancock
Address Redacted                         4407 Danbury Ct                   344 Orchard Valley Cir
                                         Arlington, TX 76016               Ruston, LA 71270-1266




Lance Poindexter Jackson                 Lance Read Winterrowd             Lance Wayne Kelpe
18254 Rosemont Rd                        3719 Rustling Oaks                Rebecca Anne Brown Kelpe
Detroit, MI 48219                        San Antonio, TX 78259             280 Hidden Acres Road
                                                                           Arcadia, LA 71001




Lance Wells                              Land Energy Inc                   Land Research Resource Services I
5001 Kingsley Dr                         1615 California St                PO Box 5565
Mail Drop 1MOB2D                         Suite 702                         Austin, TX 78763
Cincinnati, OH 45227                     Denver, CO 80202




Landes Hotshot Service LLC               Landmark Bank                     Landmark Graphics Corp
Michael Landes                           801 east broadway                 PO Box 203143
135 Wire Road                            Columbia, MO 65201                Houston, TX 77216-3143
Acadia, LA 71001




Landmark Graphics Corp                   Landmark Graphics Corporation     Landon Clay Fisher
PO Box 301341                            Jason Hobgood                     10011 Cedar Creek Dr
Dallas, TX 75303-1341                    10200 Bellaire Blvd               Houston, TX 77042
                                         Houston, TX 77072-5299




Landon Dixon                             Landpoint                         Landrith Lehrbass Goos LLP
206 Cr 279                               5486 Airline Drive                4701 West 43Rd Street
Carthage, TX 75633                       Bossier City, LA 71111            Houston, TX 77092
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Landsmith Petroleum Resources Inc       Landy Craig Ritter                       Lane A Scott And Ann F Overman Scott
PO Box 3667                             Rt 1 Box 346                             Community Prop W/Survivorship
Midland, TX 79702                       Carthage, TX 75633                       22407 N Vega Dr
                                                                                 Sun City, AZ 85375




Lane Allison Seibert Larson             Lane Dorothy Nell                        Lane Pummell
4343 Loveland Street                    8243 Sunshine Trail Dr                   Address Redacted
Apartment B                             San Antonio, TX 78244-2309
Metairie, LA 71235




Lanell B Emken                          Lanell Haire                             Lanette Ann Glasscock Duperier
Attn John Lawrence Rymal Aif            311 W Nottingham Dr Apt 102              211 Viesca Street
2432 Cr 3173                            San Antonio, TX 78209-1875               San Antonio, TX 78209
Joaquin, TX 75954




Lang Properties Limited Partnership     Lange Distributing Co Inc                Lange Drilling Company Inc
45 Broadriver Road                      PO Box 3457                              PO Box 283
Ormond Beach, FL 32174                  Bryan, TX 77805-3457                     Rowena, TX 76875




Langenderfer Harold J                   Langford Associates Inc                  Langford Rosutabout Srvcs LLC
Address Redacted                        2302 Blackberry Drive                    8348 Bus Us Highway 277
                                        Richardson, TX 75082                     Haskell, TX 79521-9213




Langham Pepper Associates               Langley Banack Inc                       Langley Doicus Ray
Attn John Pepper                        745 E Mulberry Suite 900                 260 Cr 902
5701 Woodway Drive                      San Antonio, TX 78212                    Buna, TX 77612
Suite 346
Houston, TX 77057



Langley Ira Lee                         Langston Brown Margaret L Gibson Brown   Lani Ruthenber
PO Box 233                              13698 Fm 968 West                        6819 A West Grant St
Beckville, TX 75631                     Longview, TX 75602                       West Allis, WI 53219




Lanie Mae Bedford Ford                  Laniesha Evans                           Lannie Skaggs Cook
PO Box 185                              15330 Alden                              1670 W Hwy 70
Lisbon, LA 71048                        Detroit, MI 48238                        Plainview, TX 79072




Lanny Michael Beard                     Lanny Randall Hughes                     Lanny Ware
307 Avenue Ms                           PO Box 215                               214 County Road 416
Chillicothe, TX 79225                   Welch, TX 79377-0215                     Tenaha, TX 75974




Lanroy Inc                              Lanser Production Enterprises            Lanya Doyle
PO Box 3405                             PO Box 3025                              1011 Nw Becontree Pl
Tulsa, OK 74101                         Oklahoma City, OK 73101                  Lawton, OK 73505-4126
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Lapfcu                                    Laplante Johnson Fam Tr                 Laquanda Denise Jackson
16150 Sherman Way                         Joel S Johnson Peggy L                  241 China Grove Rd
Van Nuys, CA 91406                        Laplante Co Ttees                       Ruston, LA 71270-1305
                                          7275 S Sundown Cir
                                          Littleton, CO 80120



Laquantra L Slaughter                     Laqueitta Posey                         Laquita Pancho
2538 Beacon Light Rd                      16452 Fm 139                            4305 Traditional Way
Ruston, LA 71270                          Shelbyville, TX 75973-1932              Shawnee, OK 74804




Laquitia Jeanne Howe                      Lara Ann Martin Manasse                 Laramie County Clerk And Recorder
12223 Highland Ave                        3100 Spring Hill Rd                     PO Box 608
Suite 106 518                             Longview, TX 75605-2826                 309 W 20Th Street
Rancho Cucamonga, CA 91739                                                        Cheyenne, WY 82001




Laramie Energy                            Laredo Alarm Sytstems Inc               Laredo Dock Door
1521 Larimer Street                       1601 Jacaman Rd                         4475 Viento Drive
Suite 1000                                Laredo, TX 78041                        Laredo, TX 78046
Denver, CO 80202




Laredo Energy Iv Lp                       Laredo Examiners Inc                    Laredo Federal Credit Union
1600 Smith Street                         802 East Saunders Suite B               1119 Corpus Christi St
Suite 4280                                Laredo, TX 78041                        Laredo, TX 78040
Houston, TX 77002




Laredo Hydro Tec Lp                       Laredo Isd Tax Office                   Laredo Petroleum Inc
PO Box 452386                             904 Juarez Ave                          15 W Sixth Street Ste 900
Laredo, TX 78045                          Laredo, TX 78040                        Tulsa, OK 74119




Laredo Spring Water                       Laredo Townsite Royalty Suspense        Laree Huffman Stone
PO Box 450071                             2100 S Utica Ste 200                    12127 Taylorcrest Rd
Laredo, TX 78045                          Tulsa, OK 74114                         Houston, TX 77024




Larimer County Clerk Recorder             Larimer County Engineering Department   Larimer County Ofc Of Treasury
PO Box 2336                               PO Box 1190                             PO Box 2336
Fort Collins, CO 80522-2336               Fort Collins, CO 80522-1190             Fort Collins, CO 80522-2336




Lario Oil Gas                             Lario Oil Gas Company                   Larkin B Breed Jr
301 South Market Street                   PO Box 29                               300 Warren Drive
Wichita, KS 67202-3805                    Denver, CO 80201-0029                   Apartment 125
                                                                                  West Monroe, LA 71291




Larkin Watson Forman Trust                Laroche Petroleum Consultants           Laroche Petroleum Consultants
Larkin Watson Forman Trustee              2435 North Central Expressway           4600 Greenville Avenue
1865 Electric Ave                         Suite 1500                              Ste 160
Westcliffe, CO 81252                      Richardson, TX 75080                    Dallas, TX 75206
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Larrel Wayne Pace                        Larry A Jones                              Larry A Park
1595 Mcmurray Rd                         3614 Hansford Place                        16595 Lake Circle Dr
Henderson, TX 75654                      Pearland, TX 77584                         243
                                                                                    Ft Myers, FL 33908




Larry Abbey                              Larry Abbey Individually As Poa            Larry Allen Howard
3602 Cicada Lane                         F/B/O Heirs Of Maurice Thompson            127 Fm 1794 W
Houston, TX 77039                        3602 Cicada Lane                           Beckville, TX 75631
                                         Houston, TX 77039




Larry B Darden Agent For                 Larry B Darden Agent Stratland Orri Plan   Larry B Mcdonald
The Strat Land Overriding                Employee Orri Incentive Plan               6523 Edgewood Ct
Royalty Incentive Plan                   15 E 5Th Street Suite 2020                 Granbury, TX 76049
15E 5Th St Ste 2020                      Tulsa, OK 74103
Tulsa, OK 74103



Larry Ben Reynolds                       Larry Billingsley                          Larry Bivins Cloninger
312 Pine Terrace                         8627 Fair Oak Pkwy                         109 Wildwood
Center, TX 75935                         Boerne, TX 78015                           Longview, TX 75604




Larry Boyd Smith                         Larry C Thomas Kathryn Thomas              Larry Clark Armour
3323 Beall St                            4747 Fm 225 South                          253 Red Strong Road
Dallas, TX 75223                         Henderson, TX 75654                        Frierson, LA 71027




Larry Crane                              Larry D Cogswell                           Larry D Covington
669 Cedar Lane                           Box 114                                    c/o Leland M Covington
Lemoore, CA 93245                        Joaquin, TX 75954                          1203 Coyle Street
                                                                                    Springhill, LA 71075




Larry D Dupriest                         Larry D Finch Ttee                         Larry D Kent Et Ux
7518 Wellesley Ave                       PO Box 237                                 Nedra Walker Kent
Garland, TX 75044                        Gonzales, TX 78629                         1127 Mitchell Road
                                                                                    Simsboro, LA 71275




Larry D Lewis                            Larry D Sims Sheryl Malone Sims            Larry D Sistrunk
432 May Rd                               3210 Jane Drive                            8948 Kamlea Drive
Dubach, LA 71235                         Longview, TX 75601                         Manassas, VA 20110




Larry D Skinner And Cathy J Skinner      Larry Dane Mitcham                         Larry Daniel Ritter
3234 Welch Road                          8218 Armstrong Road                        211 Courtland Cir
Gilmer, TX 75644                         Belton, TX 76513                           Carthage, TX 75633




Larry Davis And Jerrie Davis             Larry Dean Hill                            Larry Delaney Collins
PO Box 95                                10130 Austin Dr Apt 30                     PO Box 104
Carthage, TX 75633                       Spring Valley, CA 91977-6907               Taylor, LA 71080
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Larry Don Holloway                      Larry Don Jernigan              Larry Dwayne Rogers
475 Stagecoach Road                     PO Box 643                      515 County Road 2254
Royse City, TX 75189                    Cave Junction, OR 97523         Valley View, TX 76272




Larry Dyess                             Larry Dyess Automotive LLC      Larry Dyess Separate Property
198 Cr 432                              Laster Management Tr Managing   198 Cr 432
Joaquin, TX 75954                       PO Box 375                      Joaquin, TX 75954
                                        Bronte, TX 76933




Larry E Colbert                         Larry E Colvin                  Larry E Holm
328 Crowder                             110 Cherokee Dr                 PO Box 321
Longview, TX 75603                      Maumelle, AR 72113              George West, TX 78022




Larry E Lee                             Larry E Offutt                  Larry Estes And Wife Frances Estes
9027 Eldora Dr                          901 S Wasco                     PO Box 205
Houston, TX 77080-1720                  Wapato, WA 98951                Trinidad, TX 75163




Larry Eugene Waldron                    Larry Evans                     Larry Fondren
Marilyn Sims Waldron                    303 W 2nd St                    410 South Wofford
9086 Highway 80                         Homer, LA 71040                 Athens, TX 75751
Simsboro, LA 71275




Larry Ford                              Larry Forney                    Larry Fred Mckinley
6134 Songwood Drive                     Address Redacted                11420 Summerville Dr
Dallas, TX 75241                                                        Temple, TX 76502




Larry G Dianne Norred Bell              Larry G Hanson                  Larry G Lee
c/o Dugan Bell                          1640 21st E                     c/o Munsch Hardt Kopf Harr P C
7350 Hwy 147                            Seattle, WA 98112               Nolan C Knight
Quitman, LA 71268                                                       500 N Akard Street Suite 3800
                                                                        Dallas, TX 75201-6659



Larry G Stewart                         Larry Gardner                   Larry Gene Rhone
255 Robyn Lane                          9450 Wild Valley Rd             428 Igoe Rd
Longview, TX 75605                      Baton Rouge, LA 70810           Grambling, LA 71245




Larry Gilbert                           Larry Gipson                    Larry H Rives
PO Box 8848                             215 Madden Rd                   3970 Sauls Road
Hot Springs Village, AR 71910-8848      Ruston, LA 71270                Aubrey, TX 76227




Larry Hay                               Larry Holland Separate Prop     Larry Ivey
3600 Alma Rd 3814                       103 E Farmerville Road          27432 Esquina
Richardson, TX 75080                    Ruston, LA 71270                Mission Viejo, CA 92691
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Larry J Alexander Et Ux                    Larry J Atkins                 Larry J Grubbs
Shirley S Alexander                        1003 Madden Rd                 204 Jill Loop
1693 Bear Knoll Dr                         Ruston, LA 71270               Ruston, LA 71270
Quitman, LA 71268




Larry J Saulters                           Larry J Simonton               Larry J Stone And Patricia A Stone
6511 Indiangrass Lane                      585 Hwy 563                    PO Box 20556
Katy, TX 77494                             Dubach, LA 71235               Hot Springs National Park, AR 71903-0556




Larry J Taylor                             Larry Jacobs                   Larry James Cain
1100 Amherst Drive                         Address Redacted               128 Maple Springs Rd
Tyler, TX 75701                                                           Longview, TX 75602




Larry James Douglas                        Larry Joe Barmore              Larry Joe Johnston Residuary Trust
Mertrude Albritton Douglas                 693 E Royal Ln Apt 1119        Prosperity Bank Trustee
170 Olive Street                           Irving, TX 75039-3557          1401 Ave Q
Ruston, LA 71270                                                          Lubbock, TX 79401




Larry Johns Marsha Johns                   Larry Johnson                  Larry Johnson Williams
1175 Pelican Creek Dr                      299 Stoneport Dr Apt 156       7470 Hickory Canyon Court
Shreveport, LA 71106-8539                  Dallas, TX 75217-8510          Humble, TX 77396




Larry Jolley Real Estate                   Larry Joseph                   Larry K Mccartney
Health Services                            Address Redacted               446 Castlewood Estates Rd
2437 S College Hills Blvd                                                 Quitman, LA 71268-1034
San Angelo, TX 76904




Larry Keith Phillips                       Larry Kent Graham              Larry Kevin Davis
424 Cr 198                                 207 N Serine Rd East           PO Box 1751
Gary, TX 75643                             Apt 158                        Henderson, TX 75653
                                           Ruston, LA 71270




Larry L Bissell Estate                     Larry L Kundysek Life Est      Larry L Linda S Mathewes
PO Box 5214                                PO Box 201145                  Revocable Living Trust
Longview, TX 75608-5214                    Arlington, TX 76006            Larry And Linda Mathewes Ttee
                                                                          2221 Washburn Way
                                                                          Bossier City, LA 71111



Larry L Loyd                               Larry L Maines                 Larry L Presswood
5518 Judalon                               6814 River Road                2777 Elrose Drive
Houston, TX 77056                          Oakdale, CA 95361              San Diego, CA 92154




Larry L Ruggles                            Larry Landers                  Larry Lee Bazer
6264 Northamptom                           PO Box 1388                    4351 Silver Lake Dr
Bartlett, TN 38134                         Brownwood, TX 768041388        Melbourne, FL 32901
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Larry Lee Lathan                       Larry Leeves Johns                        Larry Leonard Mathewes
2515 Brimingham                        1175 Pelican Creek Dr                     2221 Washburn Way
Dallas, TX 75215                       Shreveport, LA 71106-8539                 Bossier City, LA 71111




Larry Lester Poe                       Larry Manning Dba Pro Video Productions   Larry Maxfield
1014 N Fe Harrison                     Lighthouse Energy Solutions               14831 Ceder Acre Loop
Clearwater, FL 33756                   206 Hoyt Circle                           Mabank, TX 75147
                                       Evanston, WY 82930




Larry Meek Clinton                     Larry Mickey Dorman Trust                 Larry Murrel Christian
195 Redhaven Rd                        829 Cr 266                                1104 Harpeth Mill Ct
Choudrant, LA 71227                    Beckville, TX 75631                       Nashville, TN 37221




Larry N Dickerson Et Ux                Larry N Pearce                            Larry Nathan Holland
Allie Dickerson                        9746 Monticello                           16002 Camillia Trail
PO Box 52919                           Shreveport, LA 71108                      Tomball, TX 773778534
Lafayette, LA 70505




Larry Newblock Rabb                    Larry Owens Dba Dakotas Pumping Service   Larry Parker Mcneill
PO Box 147                             411 Pike Dr                               874 Cr 435
Ruston, LA 71273                       Carlsbad, NM 88220                        Tenaha, TX 75974




Larry Paul Ford                        Larry R Alston                            Larry R Burke
3110 Spring Oak Place                  PO Box 360                                122 S Williams Ave
Arlington, TX 76017                    Judson, TX 75660                          Natchitoches, LA 71457




Larry R Crocker                        Larry R Henderson                         Larry R Stanley
114 Londonderry Sq                     13285 East 1900Th Ave 136                 3875 Hwy 544
Lafayette, LA 70508-6442               Hidalgo, IL 624322422                     Simsboro, LA 71275




Larry Robert Reed                      Larry Robinson                            Larry Sanders
PO Box 133                             114 Lilac Street                          PO Box 2505
Edmonson, TX 79032                     West Monroe, LA 71292                     Longview, TX 75606




Larry Scott Cate                       Larry Spears And Patricia Sue Spears      Larry Standifer
1668 Cr 3071                           9077 Bobolink Rd                          PO Box 764975
Melvin, TX 76858                       Gladewater, TX 756473436                  Dallas, TX 75376-4975




Larry Stevens                          Larry T Long                              Larry Teresa ORear
Address Redacted                       Oil And Gas Operator                      1039 Cr 2450
                                       PO Box 1777                               Shelbyville, TX 75973
                                       Kilgore, TX 75663
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Larry Thomas                            Larry Travis Costlow                     Larry Ulate Hennigan
2315 W Lavender Lane                    838 Eastridge Cir                        PO Box 460
Arlington, TX 76013                     Red Oak, TX 75154                        Joaquin, TX 75954




Larry V Howell                          Larry W Matthews Jr                      Larry W Moore
3601 Blackwood Ct                       1901 South Market Street                 20318 Savannah Bay
Richardson, TX 75082                    Wichita, KS 67211                        Cypress, TX 77433




Larry Wayne Bridges                     Larry Wayne Brooks                       Larry Wayne Castleberry
4016 S Fm 1752                          302 Ne 3Rd St                            2800 Castleberry Street
Savoy, TX 75479                         Hubbard, TX 76648-2418                   Longview, TX 75605




Larry Wayne Clemens                     Larry Wayne Hisaw Sharon M Akers Hisaw   Larry Wayne Myers
PO Box 1525                             358 Hayfield Lane                        492 Cr 1341
Gladewater, TX 756471525                Simsboro, LA 71275                       Center, TX 75935




Larry Wayne Reed                        Larry Wayne Utzman                       Larry White
198 Bethany Lane                        PO Box 598                               2920 Raeford Rd
Church Point, LA 70525-3318             Idaho Springs, CO 80452                  Orlando, FL 32806




Larry Williams                          Larson Hotshot Service Inc               Larue And Eddie Defriend
911 Fruit Avenue                        PO Box 1341                              477 Cr 3605
Farrell, PA 16121                       Evansville, WY 82636                     Joaquin, TX 75954




Las Mariposas Fam Ltd Ptrsp             Lasa Nelson Grimes                       Lasalle Bank N A
Cynthia Barberio Payne                  8023 Fm 2021                             135 South LaSalle Street Suite 1825
177 Coral Cove                          Pollok, TX 75969                         Chicago, IL 60603
Spring Branch, TX 78070




Lasalle Brown Estate                    Lasalle Gupton                           Lasca Inc
Fredrick L Brown Executor               4372 Hulen Circle East                   c/o Ann M Stevens President
814 Foxborough Lane                     Fort Worth, TX 76133                     PO Box 470425
Missouri City, TX 77489                                                          Fort Worth, TX 76147




Lasharon Cooks                          Lashawn Matthews Perry                   Lasker Myrtle OKeefe Hereford
1101 W Houston Street                   1652 Churchill Lane                      PO Box 572
Marshall, TX 75670                      Mansfield, TX 76063                      Laredo, TX 78042




Laskey Davis Properties LLC             Lasonja Adams                            Laspa
2 West Wimbledon Drive                  1078 West 252nd St                       PO Box 1010
Mobile, AL 36608                        Harbor City, CA 90710                    Lakewood, CA 90714-1010
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Laster Family Limited Partnership        Laster Texas Interests No2 LLC           Latane Thrash Speer
Laster Management Tr Managing            PO Box 44408                             PO Box 1013
Gp Edward C Laster Jr Trustee            Shreveport, LA 71134                     Kilgore, TX 75663
PO Box 44408
Shreveport, LA 71134-4408



Latane Thrash Speer Trust                Latanya Guiton                           Latham And Company Inc
Latane Thrash Speer Trustee              18724 East Karsten Drive                 PO Box 2821
PO Box 1013                              Queen Creek, AZ 85242                    Amarillo, TX 79105-2821
Kilgore, TX 75663




Lathasa Spencer                          Latino Janet Ruth                        Latisha L Johnson
Address Redacted                         25243 Via Catalina                       420 Dogwood Dr
                                         Laguna Niguel, CA 92677                  Anna, TX 75409




Latisha Mclaughlin                       Latishia Renee Estes Separate Property   Latoya Shante Williams
Address Redacted                         1632 County Road 3173                    1616 Arkansas Rd Apt 113
                                         Joaquin, TX 75954                        West Monroe, LA 71291-7038




Latshaw Drilling Company LLC             Latx Operations Ltd                      Laudon Tech Solutions
PO Box 691017                            PO Box 704                               18588 67 Ave
Tulsa, OK 74169                          Waskom, TX 75692                         Surrey, BC V3S 1Z1
                                                                                  Canada




Laudontech Solutions                     Laughlin Family Joint Venture            Laughlin Family Joint Venture Agency
Mark Laudon                              Agency Bank Of America Na Inv            Bank Of America Na Inv Advisor
18588 67 Ave                             PO Box 830308                            Ac 30022000432138
Surrey, BC V3S 1Z1                       Dallas, TX 75283-0308                    PO Box 840738
Canada                                                                            Dallas, TX 75284-0738



Laughlin Family Joint Venture Agency     Laukhuf Revocable Living Trust           Laura A Henthorn
Bank Of America Na Inv Advisor           Earnest A Lynda B Laukhuf                5456 Grantland
Ac 30022000432138                        Trustees                                 Dayton, OH 45429
PO Box 832407                            1997 Forest Ridge Drive Apt 101
Dallas, TX 75283-2707                    Bedford, TX 76021



Laura A Quisenberry                      Laura Alice Drummond                     Laura Ann Carroll Scaife
29486 Fm 3009                            3718 Chevy Chase                         3921 Leilani Circle
New Braunfels, TX 78132                  Houston, TX 77019                        Shreveport, LA 71107




Laura Ann Connors                        Laura Ann Napper Champion                Laura Ann Piatt Wallingford
2428 Woodford Street                     2684 Alta Glen                           10190 8Th Ave
Shreveport, LA 71108                     Birmingham, AL 35243                     Pleasant Prairie, WI 53158




Laura Ann Walker                         Laura Anne Muse Murphy                   Laura Anne Wilson
617 Omega St                             6538 Timber Oaks                         PO Box 2019
Longview, TX 75601                       Olive Branch, MS 38654                   Kilgore, TX 75663
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Laura Arrington Rose Separate Property   Laura Austin                   Laura B Hudson
908 W Lakeside Pl                        7907 Creek Trail               102 Post Oak Lane
Chicago, IL 60640                        San Antonio, TX 78254          Minden, LA 71055




Laura B Rainbolt                         Laura B Starnes Ttee           Laura Barnett Davis
309 Kennedy                              Joseph F Baigas Jr Trust       3705 Cantera Ln
Center, TX 75935                         5100 Mcalpine Farm Rd          Richardson, TX 75082-2771
                                         Charlotte, NC 28226




Laura Bell Venzant                       Laura Branch Bryant            Laura Brogden
172 Davis Loop                           14104 Bridle Trail             19104 Crowne Brook Cir
Castor, LA 71016                         Forney, TX 75126               Franklin, TN 37067




Laura Butcher                            Laura C Sealy Curtis           Laura C Wood
7201 Cr 1229                             5139 Dixie Garden Dr           610 W Sunflower Rd
Godley, TX 76044                         Shreveport, LA 71105           Cleaveland, MS 38732




Laura Caruthers Separate Property        Laura Cole Codrescu            Laura D Wolf Trustee
PO Box 216                               PO Box 1340                    1203 W 68Th Terrace
Lisbon, LA 70069                         Yellville, AR 72687            Kansas City, MO 64113




Laura Dansky Martinez                    Laura Dollahite Gardner        Laura E Couch Revoc Trust
603 Faye Lane                            604 Richland Drive             Community Bank Of Raymore
Redondo Beach, CA 90277                  Waco, TX 76710                 PO Box 200
                                                                        Raymore, MO 64083-0200




Laura E Hannegan                         Laura E Johnson Cuellar        Laura Elizabeth B Coleman
1616 Blue Heron Drive                    11555 Fm 471 West 24           20664 Highland Hall Drive
Denton, MD 21629                         San Antonio, TX 78253          Montgomery Village, MD 20886-4022




Laura Ellon Rainbolt Est                 Laura Faye Bates               Laura Fortson Johnston Widow
Walter Bounds Exec                       2305 N Dearing St              Of Eloit A Johnston Deceased
One West Austin St                       Alexandria, VA 22302           c/o PO Box 213
Center, TX 75935                                                        Rice, TX 75155




Laura G Grubbs                           Laura Gail Suggs               Laura Gibbs
4190 Riley Rd                            7721 Marble Canyon Dr          PO Box 8
Lithia Springs, GA 30122-2145            Fort Worth, TX 76137           Timberlake, NC 27583




Laura Graham Gilchrist                   Laura Hall                     Laura Helen Johnson
146 Placid Place                         9609 Leisure Lane              3536 Silverhill
Charlotte, NC 28211                      Mckinney, TX 75070             Dallas, TX 75241
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Laura Heyman Tr Fbo                      Laura Honeycutt Ehret                   Laura Human
Frances Heyman 1/2                       27434 Sandy Shores Dr Sw                Address Redacted
c/o Kanaly Tr Lta                        Vashon, WA 98070-8618
PO Box 2227
Houston, TX 77252



Laura Ilyne M Olson                      Laura J Hirsch                          Laura J Hirsch Bene
5550 Harvest Hill Rd Apt W 182           107 Old Field Road                      Sol Berkowitz Decd Ira
Dallas, TX 75230                         Setauket, NY 11733-1639                 Rbc Capital Markets Llc Cust
                                                                                 107 Old Field Road
                                                                                 Setauket, NY 11733-1639



Laura J Mcelfresh                        Laura Jean Properties LLC               Laura Jellie
750 Genesee Street                       PO Box 53795                            7 Place Lafitte
Olean, NY 14760                          Lafayette, LA 70505                     Madisonville, LA 70447




Laura Jo Rainbolt Richardson             Laura Juanita Mitchell Ogden            Laura Kay Rexford
945 Hunter Wood Dr                       1344 Wafer Road                         4304 Meteor
Jasper, TX 75951-2821                    Monroe, LA 71270                        Bossier City, LA 71111




Laura L Ashford                          Laura L Bateman Rev Tr Uad 05 30 2002   Laura L Bradley
20102 Misty River Way                    Laura L Bateman Ttee                    2100 Foley Drive
Cypress, TX 77433                        PO Box 700                              Parkersburg, WV 26104
                                         Evanston, WY 82931




Laura L Carney                           Laura L Hon                             Laura L Myers
961 Swallow Avenue                       1003 Lone Buck Pass                     7610 Arcola Road
Apartment 306                            Cedar Park, TX 78613                    Fort Wayne, IN 46818
Marco Island, FL 34145




Laura Leathrum                           Laura Ledwell                           Laura Lee
207 Berkley Drive Ne                     137 Sturges Ridge Road                  6080 Hopewell Rd
Jacksonville, AL 36265                   Wilton, CT 06897                        Harrison, AR 72601




Laura Lee Matthews                       Laura Leigh Kniech Irrevoc Tr           Laura Leigh Kniech Irrevoc Tr
7040 Ne Echo Ct                          Regions Morgan Keegan Trust             Regions Morgan Keegan Trust
Newport, OR 97365                        PO Box 2020                             c/o Regions Bank/Nrre Ops Group
                                         Tyler, TX 75710                         PO Box 11566
                                                                                 Birmingham, AL 35202



Laura Lieber                             Laura Lieber Mills                      Laura Link Allison Shivers
201 New Salem                            PO Box 16418                            2774 State Highway 149
St Louis, MO 63141                       Hattiesburg, MS 39404                   Carthage, TX 75633




Laura Lou Karlen                         Laura Love                              Laura M Dunn
400 N Ervay St Apt 536                   PO Box 667551                           John D Mccall Poa
Dallas, TX 75201-3130                    Houston, TX 772667551                   111 Oak Forest Lane
                                                                                 Butler, PA 16001
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Laura M Juracka Igo                      Laura M Kinningham             Laura Mathys Poole
4828 D Lincoln Place                     Address Redacted               5415 Sage Drive
Mt Home A F B, ID 836481045                                             Bossier City, LA 71010




Laura Mccranie Millard                   Laura Mcgee                    Laura Miyagishima
1005 Kavanagh Dr                         Box 213                        2032 Birchdale Ct
Austin, TX 78748                         Rice, TX 75155                 Thousand Oaks, CA 91362




Laura Nesbitt Mathews                    Laura Newman Kickhoefer        Laura Nicole Fisher
2805 Native Oak Drive                    21215 Pacific Gr               6200 Pershing Avenue 180
Flower Mound, TX 750225190               San Antonio, TX 78259          Fort Worth, TX 76116




Laura Perry                              Laura R Beasley Jones          Laura R Caven
1263 County Road 401                     PO Box 576                     2738 Trail Of The Madrones
Dime Box, TX 778535275                   Ruston, LA 71273               Austin, TX 78746-2345




Laura Renee Lerond                       Laura Rosso                    Laura Rudd Smith
6148 Jason St                            1102 Harvard                   PO Box 236
Houston, TX 77074                        Davis, CA 95616                New Home, TX 79383




Laura Tencie Bishop Gautreau             Laura Velasquez                Laura Virginia Miller
PO Box 153                               1603 Eagle Crest Loop          3002 Quakertown Dr
Prim, AR 721300153                       Laredo, TX 78045               San Antonio, TX 78230




Laura W Gawlik                           Laura Wynne Cale               Laura Young Wheeler
19 Beech Bark Place                      7614 Bobbitt                   601 Pleasant Drive
The Woodlands, TX 77382                  Houston, TX 77055              Apartment 9D
                                                                        Bastrop, LA 71220




Lauree Alissa Willet                     Laurel Ann Briggs Aikin        Laurel Thompson
6219 Twin Bridges Rd                     8711 Grove Circle              1221 Richards Court
Alexandria, LA 71303                     Fairhope, AL 36532             Erie, CO 80516




Lauren A Balentine                       Lauren A Sartain               Lauren A Walker
2228 Seawall Blvd                        800 Modena Drive               2218 Arabella
Galveston, TX 77550                      Fort Worth, TX 76126           Ruston, LA 71270




Lauren Amiee King                        Lauren Amiee King A Minor      Lauren C K Goslin
Donna Summers Guardian                   c/o Donna Summers Guardian     PO Box 788
PO Box 60                                PO Box 60                      Durham, NC 27702
Hallsville, TX 75650                     Hallsville, TX 75650
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Lauren E Moffett                        Lauren G Mora                  Lauren H Mcmullen
18604 Crownover Ct                      527 Jewel St                   Unit 5260 Box 98
Dallas, TX 75252-2508                   New Orleans, LA 70124          Dpo, AE 09759-0098




Lauren Hotmann Scherer                  Lauren Kamas                   Lauren Maria Stewart
480 Day Rd                              Address Redacted               1024 Pennington Ln
Ventura, CA 93003                                                      Ruston, LA 71270




Lauren Mary Ward                        Lauren Orchin Irrevocable Tr   Laurence H Favrot Trustee
75 Mistletoe Ln                         Nancy B Welwood Ttee           3526 7Th Avenue
Novato, CA 94945                        5349 Quail Run                 San Diego, CA 92103
                                        Frisco, TX 75034




Laurence Scott Mccommons                Laurence Weldon Jolly          Laurene Pesnell Brister
915 291st Avenue Ne                     5494 Christy Court             2486 Highway 556
Carnation, WA 98014                     Norcross, GA 30093             Choudrant, LA 71227




Laurens Glass                           Laurents Stacey R              Lauri Allen
Div Of Indian Head Inc                  Address Redacted               Address Redacted
P O Drawer 9
Laurens, SC 29360




Laurice Rose Donaldson Brugh            Laurice Rose Ostrowski         Laurice S Templeton
c/o Charles F Robinson                  1401 Providence Street 201     3214 Pecan Draw Court
11215 Save Valley                       Stafford, VA 22554             Sugar Land, TX 77479
Houston, TX 77089




Laurie A Viser                          Laurie Ann Mcdermott           Laurie Brittin Tice
148 Kings Crossing                      14729 Cherry Hills Dr          429 Minckler Ave
Shreveport, LA 71105                    Dallas, TX 75234               Susanville, CA 96130




Laurie C Brodie Ttee                    Laurie Ellen Barber Meyer      Laurie H Green
The Thomas S Brodie Charitable          17357 Hamilton Station Rd      1210 South Xenia Street
Lead Annuity Tr Dtd 08/11/2008          Hamilton, VA 20158             Denver, CO 80247
1 Hummingbird Ln
Rolling Hills, CA 90274-5229



Laurie Hart                             Laurie Jean Glancy Lester      Laurie Lee Whitten
15160 State Highway 155 S               566 Townsend Ballard Rd        PO Box 3107
Tyler, TX 75703                         Marthaville, LA 71450          Monroe, LA 71210




Laurie Mcfarlin Rollings                Laurie N Tur                   Laurie N Weatherston
Mcfarlin Enterprises                    2196 E Green Oaks Ln           Scott M Weatherston Jtwros
PO Box 831807                           Greenwood Village, CO 80121    PO Box 2351
Richardson, TX 75083                                                   Stateline, NV 89449
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Laurie W Lyons Trust                     Lauro Antonio Guiterrez        Lavaca Producing Properties Lp
441 Drexel Drive                         PO Box 440181                  Attn Mark Webster
Shreveport, LA 71106                     Laredo, TX 78044               4849 Greenville Ave Ste 1310
                                                                        Dallas, TX 75206




Lavaelle Garr                            Lavalda Bullock Lambert        Lavallion L Moore
c/o Philis Groomes Love                  329 N Mimosa Road              3902 Lancelot Pl
3924 Magnolia Ave                        Gilmer, TX 75644               Garland, TX 75043-2230
Lynwood, CA 90262




Lavay Maxine Jordan                      Lavelle Dorsey Jenkins         Lavelle J Leinweber
c/o Texas State Treasury                 PO Box 584                     5431 Cero Vista
Unclaimed Property Division              Kligore, TX 75663              San Antonio, TX 782335506
PO Box 12019
Austin, TX 78711-2019



Lavelle Reeves Blair Life Est            Lavelle Riley Sep Property     Lavenia J Craig
c/o Unclaimed Property Div               2892 Manor Glen Lane           600 East 9Th Street
PO Box 12019                             Suwannee, GA 30024             El Dorado, AR 71730
Austin, TX 78711-2019




Lavenia Perry Trust                      Laverle Harvey Ellis           Lavern C Burks
State Bk Trust Of Sequin Tx              PO Box 2035                    3012 Canerberry
200 North Austin Street                  Flint, TX 75703                Bay City, MI 48706
Sequin, TX 781555690




Lavern White Henderson                   Laverne Addison                Laverne C Mckelvey
1602 Hill St                             2369 State Hwy 36 S            C/O Pat Henry
Homer, LA 71040                          Caldwell, TX 778364703         2602 Fall Drive
                                                                        Grand Prairie, TX 75052




Laverne Delony Jefcoat Sp                Laverne E Madlock              Laverne Knotts
PO Box 473                               2006 North Palace              705 Village Way
Scott, LA 70583                          Tyler, TX 75702                Apt 8106
                                                                        New Braunfels, TX 78130




Laverne Koletich                         Laverne Massey Tatum           Laverne Pierce
1558 Cr 614                              9994 State Highway 21 E        414 Woodyard Place
Dayton, TX 77535                         Crockett, TX 75835             Carthage, TX 75633




Laverne Rose Marr                        Laverne Settle Miller          Laverne Standifer Junior
12271 Coit Rd Apt 1104                   6117 Tallahassee               871 Liberty Hill Road
Dallas, TX 752512318                     Hillsborough, MO 63050         Simsboro, LA 71275




Laverne Wall                             Laverne Waters Brooks          Laverra Gaynor
PO Box 622                               142 Caprice Circle             1685 Bankhead Highway
Carthage, TX 75633                       Hercules, CA 94547             Atlanta, GA 30318
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Lavina Ellen Rogers                        Lavinia Richardson               Lavinia Schreuder Trust
PO Box 64754                               113 Ned Williams Rd              Wells Fargo Ogm C7300 07D
Lubbock, TX 79464                          Longview, TX 75603-5606          PO Box 5383
                                                                            Denver, CO 80217




Lavoice C Hammons                          Lavon Philips                    Lavonia Patton Lasher
5055 West Panther Creek Drive              PO Box 5970                      1406 Village Court Drive
Apartment 6226                             Austin, TX 78763                 Rosenberg, TX 77471-6144
The Woodlands, TX 77381




Lavonne Macheers                           Law Ofc Of Mark Yablonovih       Law Office Of Francisco J Saldana Jr
5065 Trimble Rd Ne                         1875 Century Park 700            217 West Village Blvd Ste 3
Atlanta, GA 30342                          Los Angeles, CA 90067            Laredo, TX 78041




Law Office Of Grayson L Davis PLLC         Law Offices Curtis L Coleman     Law Offices Of Allison M Schulman
Attorneys At Law                           6601 Center Drive West           Allison M Schulman Esq
2425 Fountain View Suite 360               Suite 500                        64 North Fair Oaks
Houston, TX 77057                          Los Angeles, CA 90045            Pasadena, CA 91103




Law Offices Of Andrew Pike Piekalkiewicz   Lawana Ballard                   Lawana Castanes
440 Louisiana                              Box 180                          2421 Brookside Drive
Suite 900                                  Jacksonville, TX 75766           Bossier City, LA 71111
Houston, TX 77002




Lawana K Johnson                           Lawanna Gail Sanford Gray        Lawrence Brown
851 Sugar Creek Road                       623 West Rd Street               6220 Alaska St
Arcadia, LA 71001                          Homer, LA 71040                  Tacoma, WA 98408




Lawrence Cole                              Lawrence Cons Enterprises Ltd    Lawrence De Kanter Favrot
309 E Chapman Rd                           Virginia Ann Lawrence Gen Ptnr   3526 7Th Ave
Carlsbad, NM 88220                         PO Box 6745                      San Diego, CA 92103
                                           Tyler, TX 75711




Lawrence Duane Hyer                        Lawrence E Garner                Lawrence F Kent
3750 Starling Road                         PO Box 93                        231 North Lancaster Street
Bethel, OH 45106                           Grambling, LA 71245              Athens, OH 45701




Lawrence Gahagan                           Lawrence Gaumer Martin           Lawrence H Traylor
3613 Colgate                               1305 Inwood Drive                PO Box 27495
Dallas, TX 75225                           Longview, TX 75601               Houston, TX 77227




Lawrence H Wolf                            Lawrence Henry Reeves            Lawrence Hood Janice Hood Jt Ten/Wros
PO Box 40899                               2609 Black Canyon Drive          Tod
Denver, CO 80204                           Mckinney, TX 75070               5660 Ne 56Th St
                                                                            High Springs, FL 32643-6103
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Lawrence Iii Garland B                  Lawrence J Bradshaw Estate       Lawrence J Bradshaw Special
Rebecca A Lawrence                      Wells Fargo Ogm C7300 07D        Needs Trust
923 Appaloosa Lane                      PO Box 5383                      Wells Fargo Trustee
Hallsville, TX 75650-6317               Denver, CO 80217                 PO Box 5383
                                                                         Denver, CO 80217



Lawrence J Cline And Wife               Lawrence Kagan Trust             Lawrence L Hock
Judy W Cline                            U/W/O Morgan Kagan               15727 Hwy 80
PO Box 940                              Lawrence Kagan Trustee           Minden, LA 71051
Beeville, TX 78119                      8801 Knight Road
                                        Houston, TX 77054



Lawrence Leonard Bradley                Lawrence Nicholas Mccullin       Lawrence P Kelley
Marianne Bradley                        Darla G Sanford Mccullin         16213 Marquis Ave
PO Box 722                              1431 Mccullin Road               Cleveland, OH 441112922
White Oak, TX 75693-0722                Dubach, LA 71235




Lawrence R Zamzow                       Lawrence S Pollock               Lawrence S Silver
PO Box 36                               200 Crescent Ct Ste 520          12 Shady Bend Drive
Three Rivers, TX 78071                  Dallas, TX 75201                 Melissa, TX 75454




Lawrence Speed                          Lawrence Tefteller               Lawrence Thacher Mcnary
PO Box 7843                             Tefteller Welding Service        7101 Via Portada
Atlantic City, NJ 08404                 3562 Arrowwood Road              San Jose, CA 95135
                                        Gilmer, TX 75644




Lawrence W Jackson                      Lawrence W Robinette             Lawrence Wade Bontempo
1800 Lincoln Pl                         8023 S 88 E Ave                  3802 Cosmos Lane
500 N Akard St 1800                     Tulsa, OK 74133                  Fort Collins, CO 80528
Dallas, TX 75201




Lawrence Wisda                          Lawson Products Inc              Lawson Sewell
PO Box 1304                             PO Box 809401                    PO Box 6604
Palms, CA 90034                         Chicago, IL 60680-9401           Tyler, TX 75701




Layline North Texas LLC                 Laz Parking California LLC       Lazard Asset Management LLC
804 Gessner Ste 1145                    111 West Ocean Blvd              30 Rockefeller Plaza 57th Floor
Houston, TX 77024                       Long Beach, CA 90802             New York, NY 10112




Lbr Company LLC                         Lc Jennings Family Investments   Lc Lewis Et Ux
6650 S Poplar                           10011 Strait Ln                  Pecolia S Lewis
Casper, WY 82601                        Dallas, TX 75229-6562            PO Box 360
                                                                         Grambling, LA 71245




Lca Oilfield Rental Svcs Inc            Lcma Holdings LLC                Ld Moore Et Ux
7303 Stop 73A                           Lawrence C Mayfield Manager      Shirley M Moore
Zapata, TX 78076                        PO Box 1569                      2498 W Mlk King Jr Avenue
                                        Crosby, TX 77532                 Grambling, LA 71245
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Ld Partners                              Ldv Oil Gas Consultants Inc    Ldw Ltd LLC
J Bruce Martindale Iii                   4925 Greenville Ave            PO Box 88091
5845 Farquhar Lane                       Ste 200                        Colorado Springs, CO 80908
Dallas, TX 75209                         Dallas, TX 75206




Le Juanita Barnett Farley                Lea Ann Bunnell                Lea Anne Barham
108 Ward Rd Tralr 35                     200 Palm Dr                    3838 N Braeswood Blvd 173
Baytown, TX 77520                        Palestine, TX 758035430        Houston, TX 77025




Lea County Electric Coop Inc             Lea Jean Hardison              Lea Land LLC
PO Box 1447                              103 Leslie                     1300 W Main Street
Lovington, NM 88260-1447                 Groesbeck, TX 76642            Oklahoma City, OK 73106




Lea R Hall Jr                            Lea Robinson Hall Jr Tst Iii   Lea Robinson Hall Jr Tst Iv
8604 Glenmora Circle                     Bank Of America Na Succ Ttee   Bank Of America Na Succ Ttee
Shreveport, LA 71106                     PO Box 840738                  PO Box 840738
                                         Dallas, TX 75283-0738          Dallas, TX 75283-0738




Lea Royalties Ltd                        Leah Alice Trank               Leah Burgess Richards
PO Box 1134                              365 Greenfield Ave             711 Broad St
Midland, TX 79702-1134                   Eugene, OR 97404               Rome, GA 30161




Leah Celeste Adams                       Leah Christine Dozier          Leah Gertrude Raizen
4500 Fm 999                              1407 Sue Barnett Drive         David M Julia B Raizen Custodians
Gary, TX 75643                           Houston, TX 77018              PO Box 446
                                                                        Wynnewood, PA 19096




Leah K Beasley                           Leah Katherine Eagles          Leah Katherine Herron
PO Box 576                               1125 Wedgewood Drive           900 W Temple St Apt 444
Ruston, LA 71273                         Ruston, LA 71270               Los Angeles, CA 90012-4550




Leah M Bolger                            Leah Rose Bingham              Leamon G Poncho
1346 Winneteka Avenue                    1150 Grand Blvd 2090           176 Ridgeroad
Winnetka, IL 60093                       Boerne, TX 78006               Kinder, LA 70648




Lean Dog Ltd Partnership No 1            Leann Haas                     Leann J Daniel
c/o Associated Resources Inc             5870 Sugar Hill Drive          384 Harding Rd
PO Box 25203                             Houston, TX 77057              Nashville, AR 71852
Dallas, TX 75225




Leann M Jackson                          Leann Potter                   Leanne Johnson
340 Aina Uka Pl                          445 Canyon Drive               13430 Inwood Drive
Kapaa, HI 96746                          Mesquite, NV 89027-3734        Beaumont, TX 77713
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Leanner Porter                          Learlene Delores Smith           Leatha Lewis Wilson
Address Redacted                        c/o Texas State Treasury         400 Bennet Road Lot 1
                                        Unclaimed Property Division      Grambling, LA 71245
                                        PO Box 12019
                                        Austin, TX 78711-2019



Lebus Oilfield Service Co               Lechuza Energy Company           Ledall Davis
Mark Rankin                             PO Box 12729                     234 Rasberry Road
801 Cherry St Suite 2100                Dallas, TX 75225                 Bienville, LA 71008
Ft Worth, TX 76102




Ledbetter Plumbing Company LLC          Ledrue G King                    Lee Aber
1526 W Marshall Ave                     2905 Silverpine Ln               c/o Connie Armstrong Watts
Longview, TX 75604-5115                 Shreveport, LA 71108             Family Limited Partnership
                                                                         501 East Texas Avenue
                                                                         Ruston, LA 71270



Lee Alton Whitehead                     Lee Ann Dye                      Lee Ann Gragg Rainbolt
PO Box 456                              PO Box 4                         200 Stonehenge Road
Splendora, TX 77372-0455                Oakville, TX 78060               Lafayette, LA 70503




Lee Ann Salmon Burk                     Lee Ann Swanner Hodnett          Lee Anna Chappell
PO Box 8862                             801 S E 9Th Street               PO Box 240
Horseshoe Bay, TX 78657                 Wagoner, OK 74467                Portland, TX 78374




Lee Anna K Hamilton                     Lee Anne Sheets                  Lee Anthony Rodgers Et Ux
PO Box 310                              1628 W Spring Water Ln           Rebecca R L Rodgers
Bullard, TX 75757                       Highlands Ranch, CO 80129        138 Cranford Road
                                                                         Simsboro, LA 71275




Lee Arthur Hill Sr Arlene Louise Hill   Lee B Stone Estate               Lee B Stone Jr
154 Viola Road                          Elizabeth Bateman Stone Ind      4040 San Felipe 114
Ruston, LA 71270                        Exec                             Houston, TX 77027
                                        3457 Locke Ln
                                        Houston, TX 77027



Lee B Wheeler                           Lee Benson                       Lee Bridges Langston
PO Box 1676                             11 Wellesley Rd                  13430 Davida
George West, TX 78022                   Swarthmore, PA 19081             Beaumont, TX 777139465




Lee C OBrien                            Lee Cameron                      Lee Caple
PO Box 44064                            9368 Central                     317 Tampico Street
Shreveport, LA 71134                    Detroit, MI 48204                Irving, TX 75062




Lee Carrol Morris                       Lee Concho Valley Family L P     Lee Diane Cole Brown
7412 Hallcrest Drive                    c/o Munsch Hardt Kopf Harr P C   365 Carnation Rd
Mclean, VA 22102                        Nolan C Knight                   Arcadia, LA 71001
                                        500 N Akard Street Suite 3800
                                        Dallas, TX 75201-6659
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Lee Edward Lewellyan                    Lee Edward Tobin                Lee Edwin Manuel
138 Sunflower Dr                        13063 Highway 4                 632 Haughton Trace Ct
Farmerville, LA 71241-7948              Cator, LA 71016                 Haughton, LA 71037




Lee Ethel Young Townes                  Lee G Kleppel                   Lee Graphics Inc
1531 S State Highway 121 Apt 2625       118 Town Creek Drive            PO Box 540023
Lewisville, TX 75067-5953               Anderson, SC 29621              Houston, TX 77254




Lee H Hardy Jr                          Lee Harry Lugge                 Lee Hill
8320 Yale Dr                            126 Pioneer Psge                154 Violard
Tyler, TX 75703                         Bastrop, TX 78602-3602          Ruston, LA 71270




Lee Lawless                             Lee M Bass Inc                  Lee Manley Roe
2904 Copley Ave                         PO Box 916107                   1930 Swift Blvd
San Diego, CA 92116                     Fort Worth, TX 76191-6107       Houston, TX 77030




Lee Mccormick Marital Deed Tst          Lee Nell Smith Henry Sep Prop   Lee Owens Graves
PO Box 4108                             122 Davis Lane                  Johnny Lee Graves Poa
Monroe, LA 71211                        West Monroe, LA 71291           800 Ross Avenue Apt 5108
                                                                        Dallas, TX 75202




Lee Parker Life Estate                  Lee Patterson Futch             Lee R Cunningham
1801 Ellison Drive                      Usaa Investment Management Co   2089 Garden Lane Apt B
Modesto, CA 95355                       221 Whiteman Rd                 Costa Mesa, CA 92627
                                        Arcadia, LA 71001




Lee R White                             Lee Ross Cunningham Sp          Lee Roy Jynes
5833 Copperwood 1131                    2089 Garden Lane B              1701 Broadway St
Plano, TX 75248                         Costa Mesa, CA 92627            Ruston, LA 71270




Lee Roy Sanford And                     Lee Roy Skinner                 Lee Roy Skinner Jr And Cecile Skinner
Carlette Crews Sanford                  6100 Enterprise Rd              6100 Enterprise Road
623 Edgewood Dr                         Glen Ellen, CA 95442-9523       Glen Ellen, CA 95442
Homer, LA 71040




Lee RS Enterprise Inc                   Lee Thompson Mentaberry Trust   Lee Vendig Trustee
PO Box 10100                            Darby Bryant Trustee            3607 Milton Ave
Midland, TX 79702                       10180 Gold Mine                 Dallas, TX 75205
                                        Reno, NV 89521




Lee W Moncrief Trust 3                  Lee W Newman                    Lee Webster Kelly
Jerry D Goodwin Trustee                 1613 Chippewa Street            c/o Viola Marie Kelly
777 Taylor Street Suite 1030            Longview, TX 75605              11962 Barrell Cooper Ct
Fort Worth, TX 76102                                                    Reston, VA 20191
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 836 of 1524

Lee Weems Kirkwood                     Lee Weems Kirkwood Rosemary    Lee Weir
9 Overbrook Road                       9 Overbrook Rd                 10205 Liberty Rd
Louisville, KY 40207                   Louisville, KY 40207           Aubrey, TX 76227




Lee Wiley Moncrief 1988 Trust          Leean Clark Williams           Leeco Energy Investments Inc
Bank Of America Na Succ Trstee         1025 Amber Way                 3501 Billy Hext Rd
PO Box 840738                          Rockwall, TX 75032             Odessa, TX 797658939
Dallas, TX 75284-0738




Leeco Properties Inc                   Leed Energy Services           Leed Energy Services Inc
c/o Munsch Hardt Kopf Harr P C         1352 Factory Dr                PO Box 911728
Nolan C Knight                         Fort Lupton, CO 80621          Denver, CO 80291-1728
500 N Akard Street Suite 3800
Dallas, TX 75201-6659



Leed Tool Corporation                  Leeodis Askew                  Lefebvre Capital Partners
1352 Factory Dr                        249 County Road 350            3939 13 75 Road
Fort Lupton, CO 80621                  Broaddus, TX 75929-3530        Escanaba, MI 49829




Legacy Bank Of Texas                   Legacy Measurement Solutions   Legacy Measurement Solutions Inc
500 Legacy Dr                          Contracts Manager              PO Box 732238
Plano, TX 75074                        PO Box 970490                  Dallas, TX 75373-2238
                                       Dallas, TX 75397




Legacy Minerals Ltd                    Legacy Oilfield Services Inc   Legacy Reserves LP
PO Box 519                             PO Box 186                     303 W Wall St Suite 1800
Woodville, TX 75979                    Selman City, TX 75689          Midland, TX 79701




Legacy Reserves Operating              Legacy Royalties               Legacy Royalty LLC
303 W Wall Suite 1800                  PO Box 1360                    PO Box 1091
Midland, TX 79701                      Tyler, TX 75710-1360           Artesia, NM 88211




Legend Bank                            Legend Energy Services LLC     Legend Services Inc
101 W Tarrant St                       5801 N Broadway Extension      PO Box 146
Bowie, TX 76230                        Suite 210                      Rock Springs, WY 82902
                                       Oklahoma City, OK 73118




Legend Services Pressure Control Inc   Legendary Services LLC         Legendre Family Interest LLC
PO Box 1287                            PO Box 1091                    487 Shenandoah Drive
Rock Springs, WY 82902                 Lovington, NM 88260            Shreveport, LA 71115-3741




Leggett Oilfield Service LLC           Legrande Kelly Skipper         Legrande S Northcutt
PO Box 331                             1155 East Hawkins Pkwy 1016    PO Box 3523
Leggett, TX 77350                      Longview, TX 75605             Longview, TX 75606
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Lehnertz Faulkner Inc                   Lehnertz Smith LLC             Leica Geosystems Inc
Attn Bruce Faulkner                     3504 Windsor Rd                5051 Peachtree Corners Cir
3300 S Broadway Suite 103               Austin, TX 78703               Suite 250
Tyler, TX 75701                                                        Norcross, GA 30092




Leigh Ann King Moore                    Leigh Ann Langford Hawks       Leigh G Oden
262 Perritt Road                        c/o Clark Langford             PO Box 1806
Arcadia, LA 71001                       PO Box 7                       Shreveport, LA 71166
                                        Waxahachie, TX 75168




Leigh Green Walker                      Leigh M Mcclendon              Leigh Taliaferro
8112 Timmons Trail                      811 Fox Cove                   1924 Pine St Ste 503
Shreveport, LA 71107                    Tyler, TX 75703                Abilene, TX 79601




Leigh Trust                             Leila D Davenport Trust        Leila Mcconnel Gadbois
Paul B Carter And Marlene               c/o Joseph A Davenport Ttee    2525 Stanmore Drive
200 Main Plaza Suite 200                PO Box 158                     Houston, TX 77019
San Antonio, TX 78205                   Mer Rouge, LA 71261




Leila Shannon Cornelius                 Leila Vlasko                   Leila Winters Mischer
3707 Maplewood Ave                      Address Redacted               3416 Chevy Chase
Dallas, TX 75205-2826                                                  Houston, TX 77019




Leisa Melanie Forman                    Leita J Coffman                Leith R Talamo
5719 N Genematas Dr                     1502 Kaley Ct                  210 East 73Rd Street 4B
Tucson, AZ 85704                        Sutherlin, OK 97479            New York, NY 10021




Lejean Michelle Dupree Sp               Lela Beth Harris               Lela Davis Conway
2635 East Lombard                       PO Box 295                     300 Ramblewood
Springfield, MO 65802                   Tenaha, TX 75974               Henderson, TX 756529334




Lela Godwin                             Lela Mae Guice                 Lela Miller Mims
5406 Olana St                           c/o Mary Lou Davies            1135 East 84Th St
Houston, TX 77032                       288 Pine Hills Dr              Los Angeles, CA 90001
                                        Calhoun, LA 71225




Lela Scott                              Lelaine A Dornier              Leland B Apperson
15100 Ella Blvd Apt 1104                180 Razorback Ridge Road       6401 Ohio Dr
Houston, TX 77090-7035                  Ruston, LA 71270               Apt 7109
                                                                       Plano, TX 75024




Leland Fikes Foundation                 Leland M Covington             Leland R Holland Life Estate
500 North Akard Ste 1900                1203 Coyle Street              1634 Cr 225
Dallas, TX 75201                        Springhill, LA 71075           Carthage, TX 75633
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Lelanie A Dornier                        Lelia Dale Hamilton Richter                Lelia Owen Hamilton
180 Razorback Ridge Road                 412 North Parkview                         1204 West 29Th Street
Ruston, LA 71270                         Columbus, OH 43209                         Corsicana, TX 75110




Lelma P Boatman                          Lelon C Swanner Iii                        Lelon Curtis Swanner Jr
PO Box 1137                              14822 Lighthouse Dr                        5851 Hwy 3196
Carthage, TX 75633                       Corpus Christi, TX 78418-6140              Ferriday, LA 71334




Lem Daniel Savage                        Lema Conatser Life Est                     Lemich Law Center
PO Box 793                               1475 Benton Blvd 414                       205 C St
Anahuac, TX 77514                        Pooler, GA 31322                           Rock Springs, WY 82901




Lemma Willis                             Lemoine Ford And Mosie Lee Williams Ford   Lemon Creek Oil Gas
Gerald C Willis POA                      PO Box 315                                 Edward J Hutlas Managing Mbr
5321 Inadale Ave                         Ruston, LA 71270                           PO Box 192199
Los Angeles, CA 90043                                                               Dallas, TX 75219




Len Bradford Jr                          Len Palmer                                 Lena Ann Marie Pierce
5860 Underwood Avenue                    PO Box 1436                                7321 S Figueroa
Charlotte, NC 28213                      Tatum, TX 75691                            Apartment 6
                                                                                    Los Angeles, CA 90003




Lena C Laney Trustee                     Lena Cormier                               Lena Dorothy Bane
Felix A Laney Family Trust               PO Box 8720                                2212 Lakeforest Dr
1325 Ridgeview Nw                        Lumberton, TX 77657-0720                   Weatherford, TX 76087-7804
Camden, AR 71701




Lena Gayle Johns Dillon                  Lena Josephine Stevens Deceased            Lena Kanton
2402 Wayne Street                        3311 W 16Th St                             c/o Judy Noe Myers
Jonesboro, LA 71251                      Hope, AR 71801-8400                        4709 West Lovers Ln
                                                                                    Ste 200
                                                                                    Dallas, TX 75209



Lena Mae Gray                            Lena Marie Brown                           Lenard Gaulden
4151 Oakcrest Ln                         2600 N Hobart Apt 2C                       471 Mt Olive Road
Benbrook, TX 76126                       Pampa, TX 79065                            Ruston, LA 71270




Lence Strozier And Louise Strozier       Lenda J Mattox Clesca                      Lendell Davis
PO Box 1422                              1604 Pine Crest St                         15474 Cr 2210 N
Tatum, TX 756911422                      Houston, TX 77020-4612                     Tatum, TX 75691




Leneta Belton                            Lenie Grace Brown Henry                    Lenis William Pierce Jr
1514 E Myrtle Ave                        Route 2 Box 47B                            PO Box 383
Johnson City, TN 37601                   Dubach, LA 71235                           Lindale, TX 75771
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Lenn Rich Funkhouser                   Lennie Dunn Knighton Trust     Lennie Faye Davis
410 Calumet Pl                         Janies John Sharp Trustees     104 Sampson Rd
San Antonio, TX 782093404              217 Sailing Club Dr            Arcadia, LA 71001
                                       Columbia, SC 29229




Lennie Frisby Lewis Decd               Lennie Mae King Ford           Lennie Ruth Miller
937 Spruce Street                      339 West 121st St              363 Bon Air
Wilmington, DE 19801                   Los Angeles, CA 90061          Palm Springs, CA 92262




Lennis Dupree Mcglothen                Lennis Gilliam Sr              Lennon Brown Jr
158 Graham Rd                          1151 Old Oak Trail             4791 Cr 2340
Simsboro, LA 71275                     Brownsville, TX 78520          Henderson, TX 75652




Lenona Pugh Lightner                   Lenora E Baughman Duncan       Lenora Ford Barnett
PO Box 491821                          815 Goss                       922 Hillary St
Redding, CA 96049                      Farmerville, LA 71241          New Orleans, LA 70118




Lenora Jean Mann Hays                  Lenora K Clyde                 Lenora R Patton
7600 North Mercer Way                  3707 Wynnwood                  4001 E P True 130
201                                    Tyler, TX 75701                West Des Moines, IA 50265
Mercer Island, WA 98040




Lenorah Operators Holdco LLC           Lenore Ann Lovrek Mcniel       Lenotha J Mcclain
5003 E Hwy 158                         1115 Trinity Cove Dr           429 Mount Olive Rd
Midland, TX 79706-7205                 Trinity, TX 75862-8376         Ruston, LA 71270




Lenvert Harper Sr Sp                   Lenward E Goree Et Ux          Lenward E Goree Jr
17701 S Avalon Blvd 6                  Annie Patterson Goree          3631 Highway 563
Carson, CA 90746                       3631 Highway 563               Simsboro, LA 71275
                                       Simsboro, LA 71275




Leo A Achtschin                        Leo Berg                       Leo Dean Thornley Jr And
655 Pearce Ave                         PO Box B                       Betty Jean Thornley
Pottsboro, TX 75076                    Camden, AR 71701               2144 County Road 301 S
                                                                      Henderson, TX 75654




Leo J Welder Trust                     Leo J Welder Trust             Leo R Phyllis J Lorson
Jpmorgan Chase Bank N A Ttee           Jpmorgan Chase Bank N A Ttee   6318 Chelsea Way
PO Box 2050                            PO Box 99084                   Garland, TX 75044-3501
Fort Worth, TX 76113                   Fort Worth, TX 76199-0084




Leo Ronald Mcbride                     Leo W Doggett                  Leo Wallace Iii
8343 Fm 417 E                          681 Hampshire Road Apt 40      301 North Main Street
Shelbyville, TX 75973                  Westlake Village, CA 91361     Salisbury, NC 28144
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Leola Betty Wright                       Leola Davis                    Leola Hendrickson Fam Tr
PO Box 504                               General Delivery               Susan Parker Succ Ttee
Grambling, LA 71245                      Mansfield, LA 71052            468 Elkins Lake
                                                                        Huntsville, TX 77340




Leola W Gibson                           Leon Beverly Kloostra          Leon Boyce Jr
3400 Florida Ave                         40 Victoria                    c/o TX Comptroller Of Public Accounts
Richmond, CA 94804                       Rowlett, TX 75088              Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Leon C Lewis                             Leon County                    Leon D Glasscock Ii
PO Box 676                               Tax A/C Louise Wilson          130 Lamont Avenue
Carthage, TX 75633                       PO Box 37                      San Antonio, TX 78209
                                         Centerville, TX 75833




Leon Edwards                             Leon Goldsmith                 Leon Grigsby Decd Esch
3029 Hyde                                131 Sharp Road                 1812 Jewella Apt 1114
Oakland, CA 94601                        Arcadia, LA 71001              Shreveport, LA 71101




Leon Hanspard                            Leon Hogan                     Leon Isd
522 Starling                             6843 S Clyde                   Jamie Watson
Desoto, TX 75115                         Chicago, IL 60649              12168 Hwy 79 W
                                                                        Jewett, TX 758460157




Leon Jeffcoat                            Leon P Ross Jr                 Leon R White And Dorothy L White
500 W Texas                              810 North Willow Ave           Texas Treasury Unclaimed Money
Suite 1185                               Compton, CA 90221              PO Box 12019
Midland, TX 79701                                                       Austin, TX 78711-2019




Leon Sampson Sep Prop                    Leon Smith And                 Leon York
601 Pershing Ave Apt 16                  Delores Wilkerson Smith        PO Box 125
Bunkie, LA 71322                         PO Box 1106                    Lindale, TX 75771
                                         Grambling, LA 71245




Leona R Thomas                           Leona Sylestine Estate         Leonard Jason
5035 Adelaida Road                       Clem Fain Sylestine Executor   Address Redacted
Paso Robles, CA 93446                    15715 Hwy
                                         Livingston, TX 77351




Leonard A Gordon                         Leonard A Page Iii Jtwros      Leonard B Levine Associates
2112 Rooks Ave                           6490 Field St                  PO Box 3730
Cheyenne, WY 82007                       Arvada, CO 80004               Washington, CA 20027




Leonard C Atkins Iii                     Leonard D Hutchison            Leonard Donald Warren Est Or
PO Box 372448                            2487 County Road 301           Texas State Treasury
Key Largo, FL 33037                      Carthage, TX 75633             Unclaimed Property
                                                                        PO Box 12019
                                                                        Austin, TX 78711
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Leonard Dwight Cameron                   Leonard E Chadwick Jr            Leonard E Dilley
3806 Kiest Meadows Dr                    105 Sunrise Circle               9210 Pine Cove Rd
Dallas, TX 75233                         Kingfisher, OK 73750             Englewood, FL 34224-8927




Leonard E Schutt                         Leonard Earl Mcgee               Leonard Fusselman
738 State Rd F                           Fm 3790 Box 363                  20618 Hannington Lane
Elkland, MO 65644                        Joaquin, TX 75954                Katy, TX 77450




Leonard Gary                             Leonard Gordon Reynolds Sr And   Leonard Harris
195 Pr 2710                              Wife Betty Joyce Reynolds        Route 1 Bxo 11 E
Longview, TX 75603                       4351 Fm 1404                     Simsboro, LA 71275
                                         Big Sandy, TX 75755




Leonard Hay Living Trust                 Leonard J Raible                 Leonard Javer
c/o Mary Hay Co Trustee                  7003 Deerwood                    4840 Fountains Dr
812 Bushnell                             Richmond, TX 77406               Lake Worth, FL 33467
Rock Springs, WY 82901




Leonard Kirkham Jr                       Leonard Mayfield                 Leonard O Garlington
PO Box 130                               PO Box 380                       248 Horne Lane
Van, TX 75790                            Grambling, LA 71245              West Monroe, LA 71292




Leonard Stacey Martin                    Leonides Aguirre                 Leonides Renteria
120 Sunset Trail                         Address Redacted                 Address Redacted
West Monroe, LA 71291




Leonora Bailey                           Leontyne H Fields                Leophis Sampson Gipson
c/o Edward L Bailey                      330 Tanyard Trce                 1241 Fulton St
33418 Windcrest Estate Blvd              Benton, LA 71006-9735            San Francisco, CA 94117
Magnolia, TX 77354-4861




Leopoldo P Bustamante                    Leopoldo Ramirez                 Leota White
PO Box 50923                             8810 Puerto Escondido            8369 Fm 2149 E
Midland, TX 79710                        Laredo, TX 78045-6203            Maud, TX 75567-2639




Leotha Hudson Life Estate                Leotis Garr                      Lepanto Oil Gas LLC
6227 Songwood Dr                         442 Gloria St                    PO Box 3468
Dallas, TX 75241                         San Diego, CA 92113              Midland, TX 79702




Leree Holtzclaw                          Leroy B Haring Jr                Leroy B Horn Jr
337 Wallace Road                         c/o Horn Investment Company      c/o Horn Investment Company
West Monroe, LA 71291                    49 Champions Lane                49 Champions Lane
                                         San Antonio, TX 78257            San Antonio, TX 78257
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Leroy Bryant Attorney In Fact          Leroy Burden                   Leroy Burks Et Ux
For Larita C Bryant                    5216 Keller Cir                Louise Scott Burks
221 West 127Th Street                  The Colony, TX 750561816       610 West Grand Ave
Los Angeles, CA 90061                                                 Grambling, LA 71245




Leroy Cannon Jr                        Leroy Ford                     Leroy Gilbert Denman Jr
590 Threadneedle Street                11214 East 76 Street           PO Box 6009
Beaumont, TX 77705                     Raytown, MO 64138              San Antonio, TX 78209




Leroy Huey                             Leroy Lacy Jr                  Leroy Lilla Mae Jamison
656 S 20Th St                          1439 Se 17Th Ave               2111 Esplanade Pl
Richmond, CA 94804                     Cape Coral, FL 33990           Gretna, LA 70056-2928




Leroy Lydia Jr                         Leroy Morrison Jr              Leroy O Crutchfield
Smith Unit Hcr 07 Box 187 A            700 N Town East Blvd Apt 322   719 South 84Th Place
Laimesqa, TX 79331                     Mesquite, TX 75150-8332        Birmingham, AL 35206




Leroy P Jones Judy Gould Jones         Leroy Simonton                 Leroy Simpson
185 Jones Road                         3779 Park Pl                   405 Plesant Hill Ln
Plain Dealing, LA 71064                Pittsburg, CA 94565            Ruston, LA 71270




Leroy Standifer                        Leroy Walker                   Leroy Worsham Peggy Worsham
1012 Taylor St                         PO Box 542                     13591 Fm 968 W
Ruston, LA 71270                       Grambling, LA 71245            Longview, TX 75206




Les Federal Credit Union               Lesa Flowers                   Lesa Gail Rudd
950 N 22nd St C                        9405 Cr 366 E                  4510 Fm 1102
Baton Rouge, LA 70802                  Henderson, TX 75654            New Braunfels, TX 78132




Lesca Lee Grant                        Lesh Thompson Family Lp        Lesh Thompson Limited Partnership
9535 Surrey Road                       c/o Phillip O Thompson         PO Box 341421
Castlerock, CO 80104                   PO Box 341421                  Austin, TX 78734
                                       Austin, TX 78734




Lesley Lynn Simpson James              Lesley R Cockrell              Lesley R King Cockrell
501 S Chautauqua Road                  1274 County Road 1190          417 Cr 1485
Ruston, LA 71270                       Center, TX 75935               Timpson, TX 75975




Lesley Skannal Svenson                 Lesli Diann Bobbitt            Leslie A Barron
730 Forestview Dr                      1424 21st St                   1016 Candy Ln
Sasrasota, FL 34232                    Great Bend, KS 67530           Alexandria, LA 71301
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Leslie Ann Campbell Porter                Leslie Ann Campbell Trust        Leslie Ann Horne
1327 Highway 134                          Susan Campbell Tidwell Trustee   24 Channie Dr
Monroe, LA 71203-8103                     807 Stone Ridge                  Monroe, LA 71202
                                          Atlanta, TX 75551




Leslie B Pickett                          Leslie Barneson Teryniak         Leslie D Moore
3802 Wynnwood Dr                          4159 Saratoga Drive              8631 Westcove Circle
Tyler, TX 75701-9551                      Redding, CA 96002                Houston, TX 77064




Leslie Dunn                               Leslie Earl Rhoades Iii          Leslie G Benin
PO Box 779                                PO Box 1468                      368 Jack London Ave
Corpus Christi, TX 78403                  Marshall, TX 75670               Alameda, CA 94501




Leslie G Ross                             Leslie Goebel Teague             Leslie L Jacobs Iii
262 Central Park West                     16031 Pine Dr                    1278 Valley View Road
New York, NY 10024                        Tinley Park, IL 60477            Dunwoody, GA 30338




Leslie Lamonds Alford                     Leslie Mann Kelley               Leslie Michelle Haley
263 Lamoray Dr                            5430 Mercedes Ave                Jack Misty Haley Parents Of
Rogersville, AL 35652-3739                Dallas, TX 75206-5820            4000 Jacksboro Ave
                                                                           Snyder, TX 79549




Leslie Ralph Johns                        Leslie Roy Hagin                 Leslie Ruth Ann Cook
435 Hummingbird                           1102 S William St Apt 135        2179 Charlie Jones Road
Jonesboro, LA 71251                       Atlanta, TX 75551-3283           Grand Cane, LA 71032




Leslie Scott Roller                       Leslie Sean Weaver               Leslie Sinclair Von Weisenberger
PO Box 1028                               3769 Upland Road                 c/o Robert Sinclair Agent Aif
Comfort, TX 78013                         Virginia Beach, VA 23452         PO Box 1380
                                                                           Summerland, CA 93067




Leslie Vinson                             Leslie W Dunn Family Trust       Leslie Ward Fitzgerald
PO Box 8170                               Jewel J Dunn Trustee             1636 Benton Road
Waco, TX 76714                            33 Lakeshore Dr                  Bossier City, LA 71111
                                          Corpus Christi, TX 78413




Leslye Mae Allen Thomas                   Lessie Jill Stueart              Lessie Lee Fuller Walker
Eleanor G Jones Poa                       2616 1/2 Bent Avenue             4050 Miles Street
PO Box 111                                Cheyenne, WY 82001               Shreveport, LA 71109
West Monroe, LA 71291




Lessie May Malcolm Walsh                  Lessie Olenik                    Lester Allen Culbertson
1120 N 28Th                               PO Box 529                       1870 E 2 Mile Road
Springfield, OR 97477                     Joaquin, TX 75954                Mccammon, ID 83250
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Lester Armour Jr Trust                 Lester Armour Jr Trust           Lester Armour Jr Trust
Fbo Lester Armour Iii                  Fbo Sally M Armour               Fbo Susan A Ridgley
c/o Farmers National Co Agent          c/o Farmers National Co Agent    c/o Farmers National Co Agent
PO Box 3480                            PO Box 3480                      PO Box 3480
Omaha, NE 68103-0480                   Omaha, NE 68103-0480             Omaha, NE 68103-0480



Lester Armour Trust                    Lester Armour Trust              Lester Armour Trust
Lester Fund                            Lester Fund                      Stanton Fund
PO Box 3480                            Farmers National Company Agent   Farmers National Company Agent
Omaha, NE 68103-0480                   PO Box 542016                    PO Box 542016
                                       Omaha, NE 68154                  Omaha, NE 68154



Lester Armour Trust                    Lester Armour Trust              Lester Armour Trust
Stanton Fund                           Vernon Fund                      Vernon Fund
PO Box 3480                            PO Box 3480                      Farmers National Company Agent
Omaha, NE 68103-0480                   Omaha, NE 68103-0480             PO Box 542013
                                                                        Omaha, NE 68154



Lester Armour Trust Dtd 7 1 66         Lester Armour Trust Dtd 7 1 66   Lester Bolton
Leola Fund                             Leola Fund                       c/o Community Care Center
Farmers National Company Agent         PO Box 3480                      1405 White Street
PO Box 542016                          Omaha, NE 68103-0480             Ruston, LA 71270
Omaha, NE 68154



Lester E Kabacoff                      Lester Eugene Woods              Lester F Holloway Jr
521 Royal St                           6012 Nobie Lane                  Rt 3
New Orleans, LA 70130-2185             Lake Charles, LA 70605           Dubach, LA 71235




Lester Gary Rainey                     Lester Gene Smith                Lester H Jones
1490 W Kentucky Ave                    2013 Apollo Road                 Leslie A Jones
Ruston, LA 71270-9575                  Richardson, TX 75081             6620 Us Hwy 79 South
                                                                        Henderson, TX 75654




Lester Helen Mchugh                    Lester Jenkins Jr                Lester L Hood
798 Fm 3174                            6906 George Brown Dr             147 Lester Rd
Joaquin, TX 75954                      Garland, TX 75043                Arcadia, LA 71001-5049




Lester L Loftin                        Lester L Swanner                 Lester Liner Jr
5908 Whispering Pines Loop             c/o Lena Joteal Swanner          86 Eden Road
Pineville, LA 71360                    1905 Highway 505                 Mountain Home, AR 72653
                                       Jonesboro, LA 71251




Lester Long                            Lester Louis Walker              Lester Roberson
Address Redacted                       6030 A Plumas Street             11935 Hwy No 154
                                       Reno, NV 89509                   Gibsland, LA 71028




Lester Wayne Curry                     Lester William Tucker Et Ux      Leta Jean Collins Thomas
PO Box 813                             Peggy Sumlin Tucker              PO Box 501
Three Rivers, TX 78071                 1050 Elana Drive                 Diana, TX 75640
                                       Woodburn, OR 97071
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Leta Mackey Sparks                        Leta Mackey Sparks Life Est    Letha B Turley Heirs
1767 12Th St 355                          1767 12Th Street 355           c/o Bancorp South Tr Asset
Hood River, OR 97031                      Hood River, OR 97031           Management Operations Dept
                                                                         PO Box 1605
                                                                         Jackson, MS 39215



Letha Isley Miller                        Letha Seago Armstrong          Leticia Alardin
Rr 1 Box 113                              1211 Se 5Th Street             718 East San Carlos
Shelbyville, IL 62565                     Prineville, OR 97754           Laredo, TX 78041




Leticia Harris                            Leticia R Elder                Letitia Morgan Hawkins
1208 Nw 88 St                             10 Inverness Blvd              200 Jefferson Ave
Oklahoma City, OK 73114                   San Antonio, TX 78230          Metairie, LA 70005




Letta Tayler                              Lettie Eiland                  Lettie M Goree Rochelle
382 Park Place                            126 5Th Street                 657 Crawford Street
Brooklyn, NY 11238                        Dubach, LA 71235               Arcadia, LA 71001




Lettie Mae Standifer Harris               Lettie Smith Walker            Leuell Curtis Jernigan
4817 Tanner Street                        982 Hwy 552                    8300 West I 20
Monroe, LA 71202                          Downsville, LA 71234           Millsap, TX 76066




Levell Hildreth                           Levell Younger                 Levell Younger And Pearl R Younger
3401 Santa Clara Ct                       13732 School Street            13732 School St
Flint, MI 48504                           San Leandro, CA 94578          San Leandro, CA 94578




Levelland Hockley County News Press       Levelle Garr                   Levester Land
PO Box 1628                               1519 E 112Th St                2527 Millermore Street
Levelland, TX 79336                       Los Angeles, CA 90059          Dallas, TX 75216




Levi Coleman                              Levi Secker Gst Exempt Tr      Levis Phil Worsham
2227 Whaley St                            Jpmorgan Chase Bank Na Ttee    2204 Fm 2428
Mansfield, LA 71052                       Po Drawer 99084                Joaquin, TX 75954
                                          Fort Worth, TX 76199




Levon Davis Hudman                        Levon J Ford Rhodes            Levone Woodard
Carol D Hudman                            16244 Highway 151              4400 Airline Drive
907 Idlewood Road                         Arcadia, LA 71001              Bossier City, LA 71111
White Oak, TX 75693




Levy Rosenbaum Minerals LLC               Lewan Associates Inc           Lewco
Jane R Sitrin Managing Member             PO Box 173704                  PO Box 7006
155 Carondelet Plaza Unit 704             Denver, CO 80217-3704          The Woodlands, TX 77387-7006
Saint Louis, MO 631050017
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Lewes Oil Gas Company                      Lewie L Bass Jr And Mary E Bass   Lewis A Woodall
PO Box 4666                                2283 Ashland Ave                  609 Aspen Way
Newark, DE 197154666                       Ruston, LA 71270                  Flower Mound, TX 75028-7110




Lewis Arthur Moyse                         Lewis Awtrey Woodall Estate       Lewis B Rippy
6210 Menlo Drive                           c/o Richard A Woodall             121 S Broadway
Baton Rouge, LA 70808                      9019 Oak Brook Ct                 Suite 404
                                           Bakersfield, CA 93312             Tyler, TX 75702




Lewis B Sterling Interests LLC             Lewis Betty Sue                   Lewis C Duncan
PO Box 700397                              PO Box 2066                       2809 Staffordshire Dr
Dallas, TX 75370                           Longview, TX 75606-2066           Carrollton, TX 75007




Lewis Casing Crews Inc                     Lewis Charles Deron               Lewis D Holland
PO Box 13747                               PO Box 187                        10506 Kittrell St
Odessa, TX 79768                           Carthage, TX 75633                Houston, TX 77034




Lewis David Rich                           Lewis E Macnaughton               Lewis Fain Ramsey
5802 Bob Bullock Loop                      3608 Preston Rd 205               William Lewis Peace Poa
Suite C 1 84330                            Plano, TX 75093                   2211 Ave L
Laredo, TX 78041                                                             Santa Fe, TX 77510-7931




Lewis Fam 2013 Declaration Tr              Lewis Farms Partneship            Lewis Franklin Hess Estate
Andrew Andressa Lewis Cottee               Mark Lewis Pam Rosenbaum          Janice Treadway Hess Indp Exe
3140 W Lexington St                        Partners                          PO Box 1284
Chicago, IL 60612                          125 Golden Kinglet Lane           Marshall, TX 75671
                                           Cisco, TX 76437



Lewis Hamilton Eatherton Iii               Lewis J Byers                     Lewis K F Kalmbach
1728 North Blvd                            c/o Janet B Rogers                3086 Comfort Rd
Houston, TX 77098                          17606 N Yaupon Circle             New Hope, PA 18938
                                           Tomball, TX 77377




Lewis Lemaster                             Lewis M Dabney Iii                Lewis Mineral Trust
907 Kensington Dr                          25862 Voit Rd                     Jpmorgan Chase Bank Na Ttee
Duncanville, TX 75137-2139                 Easton, MD 21601                  PO Box 99084
                                                                             Fort Worth, TX 76199




Lewis N Fader                              Lewis N White Estate              Lewis Nelson White Jr
15 Cameron Glen Drive Nw                   Lewis N White Jr Administrator    PO Box 867
Atlanta, GA 30328                          c/o Unclaimed Property Division   Brenham, TX 77834
                                           PO Box 12019
                                           Austin, TX 78711-2019



Lewis Oil Properties                       Lewis Thomas Foster Jr            Lewis Turner Baker Jr Sp
PO Box 1859                                6602 B Grover Ave                 2140 Lakeridge
Gulfport, MS 39502                         Lubbock, TX 79424                 Grapevine, TX 76051
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Lewis W Compton Linda Compton Trustees   Lewis Wandke                  Lewis Woodall Liv Trust Dtd 9/15/00
Of The Compton Living Trust              1461 S Navajo St              Richard Woodwall Trustee
2241 All Saints Ln                       Denver, CO 80223              PO Box 9513
Plano, TX 75025                                                        Bakersfield, CA 93389




LewS Welding                             Lex L Kidd Special Trust      Lexington Oil Company
1716 E Erwin St                          1428 E Richards               PO Box 237
Tyler, TX 75702                          Tyler, TX 75702               Gonzales, TX 786290237




Lexisnexis                               Lexisnexis                    Lezahe Norwood
Heather Lewis                            PO Box 733106                 Address Redacted
9443 Springboro Pike                     Dallas, TX 75373-3106
Miamisburg, OH 45342




Lf Choudrant LLC                         Lg Oilfield Services LLP      Lgh Inc
1301 Mckinney Ste 3150                   PO Box 462                    PO Box 1758
Houston, TX 77010                        Denver City, TX 79323         Rosenberg, TX 77471




Lhb Ventures LLC                         Lhr Services Equipment Inc    Lian Sterling Munro
PO Box 46063                             4200 Fm 1128                  PO Box 152071
Denver, CO 80201                         Pearland, TX 77584            Austin, TX 78715-2071




Libbie Collins                           Libby Chavez                  Liberty Bank Trust Company Of Tulsa
135 Old Settlers Dr                      1211 Grenac Rd                Co Trustee Ali For Powers
Bastrop, TX 786023572                    Fairbanks, AK 99709           Heirs Group Et Al
                                                                       15 East Fifth Street
                                                                       Tulsa, OK 74103



Liberty Electric                         Liberty Energy LLC            Liberty Energy LLC
6609 W Goforth Rd                        175 Berkley St                PO Box 418109
Kilgore, TX 75662                        Boston, MA 02116              Boston, MA 02241-8109




Liberty Hill Baptist Assoc Inc           Liberty Hill Missionary       Liberty Lift Solutions LLC
PO Box 932                               619 Liberty Hill Rd           1250 Wood Branch Park Drive
Grambling, LA 71245                      Sinsboro, LA 71275            Suite 250
                                                                       Houston, TX 77079




Liberty Maintenance Serv Inc             Liberty Office Products       Liberty One Credit Union
PO Box 846                               PO Box 630729                 2221 E Lamar Blvd Suite 110
Tatum, NM 88267                          Houston, TX 77263-0729        Arlington, TX 76006




Liberty Supply Inc                       Liberty Swabbing Inc          Liberty Trust Company Ltd
PO Box 489                               PO Box 3545                   c/o Ips
Magnolia, AR 71754                       Victoria, TX 77903-3545       Fbo Ronald B Elmore Ira Tx001144
                                                                       8226 Douglas Ave Suite 520
                                                                       Dallas, TX 75225
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Lichtco Oilfield Rental Services LLC    Lida D Barkenbus               Liddellity LLC
PO Box 1370                             125 Shawnee Pl                 c/o Amegy Bank
Freer, TX 78357-1370                    Lexington, KY 40505            PO Box 27767
                                                                       Houston, TX 77227




Lide Industries LLC                     Lidia Carbajal                 Life Account LLC
PO Box 205642                           Address Redacted               Dba Compass Professional
Dallas, TX 75320-5642                                                  Health Services
                                                                       13601 Preston Road Ste 816E
                                                                       Dallas, TX 75240



Lifeshield Alliance                     Lige M And Mary Ann Murray     Lige Mack Murray
PO Box 578                              Hc 69 Box 15                   487 S Sand Creek Rd
Fontana, CA 92334-0304                  Jordon, MT 59337               Jordan, MT 59337




Light Tower Rentals                     Lightbow LLC                   Lightfoot Fishing Rental Inc
2330 E I 20 South Service Road          351 Adriatic Pkwy              PO Box 129
Odessa, TX 79766                        Mckinney, TX 75070             Andrews, TX 79714




Lighthouse Energy Solutions             Lighthouse Graphics            Lighthouse Oilfield Services LLC
PO Box 421328                           504 North Bois DArc            PO Box 3423
Houston, TX 77242-1328                  Tyler, TX 75702                Longview, TX 75606




Lightning Rental Tools                  Lila Gill Patillo              Lila Lovelace Scott Lohman
PO Box 1251                             Route 1 Box 522                934 Marsh Lane
Alice, TX 78333                         Three Rivers, TX 78071         Charlottesville, VA 22903




Lila S Lohman                           Lila Scott Mills               Lila Strain Prime
18160 Cottonwood                        240 India                      745 Rutherford
Bend, OR 97707                          Shreveport, LA 71115           Shreveport, LA 71104




Lili Crichton Monell                    Lilia Emma G Garcia Estate     Lilia G Buchanaan
251 Royal Palm Way Ste 205              Hector Garcia Executor         30 Holly Ave Apt 101D
Palm Beach, FL 33480-4310               8214 Buffalo Speedway          Shalimar, FL 32579
                                        Houston, TX 77025




Lilia G Gonzalez                        Lilia P Borrego                Lilla Mae Giles Jamison
1100 Tournament Drive                   1720 Galveston                 2111 Esplanade Pl
Hillsborough, CA 94010                  Laredo, TX 78043               Gretna, LA 70056-2928




Lilla Odell Hagan Deceased              Lillan A Thomas                Lillia Jean Caven Hyde
c/o Ferna L Mills                       1633 Sycamore St               PO Box 837
4717 Cambridge Dr                       Arcadia, LA 71001              Marshall, TX 75671
Tyler, TX 757031506
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Lillian A Williams                       Lillian Allen                    Lillian Ann Beaty
409 W Charnwood St                       PO Box 82                        19302 Allview Lane
Tyler, TX 75701                          Joaquin, TX 75954-0082           Houston, TX 77094




Lillian Ann Scalf                        Lillian B Margedant              Lillian Barker
3116 Summerfield Dr                      Great Grandchildren Edu Tr       3004 Miars Green
Richardson, TX 75082-3755                Jessie M Shogan Esq              Chesapeake, VA 23321
                                         343 Adams Street
                                         Denver, CO 80206



Lillian Barnett                          Lillian Burnaman                 Lillian Dolores Butler
12878 Hwy 175 E                          793 Fm 2112                      PO Box 861
Larue, TX 75770                          Nacogdoches, TX 75961-0306       Freer, TX 78357




Lillian Flora                            Lillian Jackson                  Lillian K Sowell Estate
125 Shawnee Pl                           185 Clinton                      c/o Us Trust
Lexington, KY 40503                      Pasadena, CA 91103               PO Box 840738
                                                                          Dallas, TX 75284-0738




Lillian Louise Stark                     Lillian P Garrett                Lillian W Lyssy
c/o Texas State Treasury                 16493 Highway 151                307 W Southline
Unclaimed Property Division              Arcadia, LA 71001                Karnes City, TX 78118-3712
PO Box 12019
Austin, TX 78711-2019



Lillian Whiddon                          Lillie E Malone Green            Lillie Hardeman
153 Cr 208                               725 43Rd Street                  Address Redacted
Carthage, TX 75633                       Oakland, CA 94609




Lillie Josephine Rankin                  Lillie Lennear                   Lillie Lou Garner Mcfatridge
6377 Qr Aj                               343 Sunshine Rd                  506 County Road 4215
Tucumcari, NM 88401                      Simsboro, LA 71275               Mt Pleasant, TX 75455




Lillie M Givens Victorian                Lillie M Yates Estate            Lillie Mae Bailey
177 Hwy 3005                             PO Box 840                       6597 Lazy River Drive
Ruston, LA 71270                         Artesia, NM 88211-0840           Dallas, TX 75241




Lillie Mae Bullard                       Lillie Mae Chevalier Spruiell    Lillie Mae Townsend
315 N 8Th Street                         PO Box 149                       4702 Wilbury Heights Dr
Duncan, OK 73533                         Joaquin, TX 75954-0149           Pasadena, TX 77505




Lillie Mae Wieding                       Lillie Michelle T Wallingsford   Lillie Pearl Adams H Lennear
PO Box 555                               12574 Hwy 157                    343 Sunshine Rd
Three Rivers, TX 78071                   Haughton, LA 71037               Simsboro, LA 71275
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Lillie R Fuller Sep Prop                Lillie Shell Bush                Lilly Roberson Davis Sep Prop
7 A Breece Circle                       725 Claiborne Road               Box 134
Monroe, LA 71202                        Calhoun, LA 71225                Arcadia, LA 71001




Lilly Walter                            Lily A Gates                     Lily D Jackson
101 Hyde Street                         10443 Horn Blvd                  Box 137
San Francisco, CA 94142                 San Antonio, TX 78240            Shattuck, OK 73858




Lily Rose LLC                           Limes Minerals Inc               Lin Espey
3504 Windsor Rd                         PO Box 310                       Address Redacted
Austin, TX 78703                        Madisonville, LA 70447




Lin Lor Energy                          Lin Lor Energy                   Linberry Energy Inc Agent
1400 West Main                          447 Ridge Creek Rd               For Sugarberry OG Corp
Waxahachie, TX 75165                    Waxahachie, TX 75167             Palinbeck Corp
                                                                         5950 Cedar Springs Rd Ste 245
                                                                         Dallas, TX 752356803



Linc Petroleum Resources Inc            Linch Environ Contractors Inc    Linchpin Energy Services LLC
PO Box 50635                            PO Box 190                       PO Box 930330
Midland, TX 79710                       Linch, WY 82640                  Atlanta, GA 31193-0330




Lincoln 4 H Foundation                  Lincoln Bank And Trust Company   Lincoln County Treasurer
201 North Vienna                        305 South Vienna St              925 Sage Ave Ste 102
Ruston, LA 71270                        Ruston, LA 71270                 Kemmerer, WY 83101




Lincoln Davis                           Lincoln Minerals LLC             Lincoln Parish
c/o Texas State Treasury                500 Dallas Street Suite 1800     Mike Stone Sheriff Ex Officio
Unclaimed Property Division             Houston, TX 77002                Tax Collector
PO Box 12019                                                             PO Box 2070
Austin, TX 78711-2019                                                    Ruston, LA 71273-2070



Lincoln Parish Clerk Of Court           Lincoln Parish Law Enforcement   Lincoln Parish Police Jury
100 W Texas Avenue                      Attn Jerry L Smith               PO Box 979
PO Box 924                              PO Box 2070                      Ruston, LA 71273-0979
Ruston, LA 71273-0924                   Ruston, LA 71270




Lincoln Parish Police Jury              Lincoln Parish Sales             Lincoln Parish School
State Agency 13594                      Use Tax Commission               410 S Farmerville St
PO Box 979                              PO Box 863                       Ruston, LA 70210
Ruston, LA 71270                        Ruston, LA 71273-0863




Lincoln Petroleum Ltd                   Lincoln Rentals LLC              Lincoln Sbs LLC
475 17 St Ste 1600                      PO Box 57                        PO Box 5581
Denver, CO 80202-4026                   Ruston, LA 71273                 Shreveport, LA 71135
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Lincoln Total Community Action Inc      Linda A Carter                 Linda A Sinnen
1400 Oakdale Street                     5620 Llano Ct                  3664 Yale Ct
Ruston, LA 71270                        Midland, TX 79707              The Villages, FL 32163-4082




Linda Abbott                            Linda Adds                     Linda Ann Allen Sep Prop
510 Cr 2153                             3408 Clarksville St Apt C      202 Allen Road
Nacogdoches, TX 75965                   Paris, TX 75460-8066           Arcadia, LA 71001




Linda Ann Gilley                        Linda Ann Piatt                Linda B Gellatly
474 Loblolley Lane                      1630 Academy Drive Apt 501     515 Clover Ridge Dr
Choudrant, LA 71227                     Auburn, AL 36830               Jackson, LA 70748




Linda B Mckinney                        Linda B Smith                  Linda B Smith Trustee For
4802 Hatcher                            1007 Creekwood                 David W Uygur
Dallas, TX 75210                        Longview, TX 75602             1007 Creekwood
                                                                       Longview, TX 75602




Linda Baird Dickerson                   Linda Barcus                   Linda Beasley
7009 Walden Dr                          2511 Via Nicola Apt 2515       451 Hickory Ln
Tyler, TX 75703                         Fort Worth, TX 76109           Jonesboro, LA 71251




Linda Beth Burns Carnahan               Linda Bounds Choate            Linda Bradbury Givens
PO Box 382297                           14062 John Gin Road            6225 Suwanee Road
Duncanville, TX 75138                   Keithville, LA 71047           Jacksonville, FL 32217




Linda Bradshaw                          Linda Brelsford Mccutchen      Linda C Barber
5401 Drexel Court                       12800 Briar Forest 16          PO Box 47
Midland, TX 79707                       Houston, TX 77077              Kingsland, TX 78639-0047




Linda C Burkard                         Linda C Harris                 Linda C Hunsaker
5423 Northern Dancer                    748 Mt Calm Rd                 3730 Wickersham
Springdale, AR 72762-8337               Simsboro, LA 71275             Houston, TX 77027




Linda C Lundberg Life Estate            Linda C Moseley Qtip Trust     Linda Camarillo
1199 Ovilla Rd                          Linda C Moseley Trustee        11202 Ashford Hills Drive
Waxahachie, TX 75167                    2970 Saint Johns Ave           Sugarland, TX 774786131
                                        Jacksonville, FL 32205




Linda Carol Hooper                      Linda Charles Harris Maberry   Linda Claire Sledge
4242 Lomo Alto Dr Apt E 21              2120 Pheasant Road             4307 Mill Bend
Dallas, TX 75219                        Gilmer, TX 756457362           San Antonio, TX 78217
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Linda Cleere Dragg                      Linda Coker Arnold Waters      Linda Crain Bozeman
302 Spanish Moss Dr                     6295 Fm 660                    911 Crosley St
Arlington, TX 76018                     Ennis, TX 75119                West Monroe, LA 71292




Linda Crawley                           Linda D Donaldson Hinnant      Linda D Donaldson Hinnant Tr
3250 Coors Nw J153                      7406 Dickenson St              c/o Charles F Robinson
Albuquerque, NM 87120                   Springfield, VA 22150          7406 Dickenson St
                                                                       Springfield, VA 22150




Linda D Linton                          Linda D Neldner                Linda D Woodcock
205 Lake Estate Dr                      PO Box 30                      PO Box 3127
Horseshoe Lake, AR 72348                Walsenburg, CO 81089-0030      Ketchum, ID 83340




Linda Davis Cooper                      Linda Derrick Williams         Linda Diane Espinoza
135 Rainbow Drive Apt 3597              PO Box 70                      4406 Oneida
Livingston, TX 77399                    Cherokee, TX 76832             Pasadena, TX 77504




Linda Dodd                              Linda Dodd Perry               Linda Dollahite Hotz
1934 Ross                               1810 Monterrey Blvd            202 North Shore Dr
Abilene, TX 79605                       Baton Rouge, LA 70815          Amarillo, TX 79118




Linda Doris Davidson                    Linda Doyle                    Linda Dukes
2733 Wagon Wheel Dr                     1138 Bayshore Dr               160 7Th St Apt 103
Carrollton, TX 75006                    Rockwall, TX 75087             Buffalo, NY 14201




Linda F Bonny                           Linda F Sholar                 Linda F Wright
8335 Beachview Dr                       512 County Road 3801           211 Scott Road
Clinton, WA 98236                       Joaquin, TX 75954              Ruston, LA 71270




Linda Fagan Steele Bassett              Linda Fallin Ballard           Linda Fay Miller
12002 Chatam Lane                       7605 Tampa Way                 8116 Fm 450 North
Houston, TX 77035                       Shreveport, LA 71105           Hallsville, TX 75650




Linda Fay Palmer                        Linda Faye Sanford Butler      Linda Faye Smith Tipton
2743 N Hampton Drive                    162 Vollie Sanford             387 Vollie Sanford Road
Grand Prairie, TX 75052                 Calhoun, LA 71225              Calhoun, LA 71225




Linda Faye Woolsey                      Linda Fenton Aldridge          Linda Fuller
9484 Kroetz Dr                          4130 Linden Lane               129 Fairview St
Shreveport, LA 711184005                Grand Prairie, TX 75052        Garland, TX 75040-7818
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Linda G Thompson                         Linda Gail D Simpson                     Linda Gay Hughes Wood
2334 Sherry                              2800 E League City Pkwy 1304             7123 Fm 1249 East
Orange, TX 77632                         League City, TX 77573                    Kilgore, TX 75662




Linda Gay Smith                          Linda Gayle Baremore Seperate Property   Linda Gayle Drennan
204 Cottonwood                           2692 Jackson Drive                       6022 85Th
Levelland, TX 79336                      Haynesvilee, LA 71038                    Lubbock, TX 79424




Linda Gayle Fox                          Linda Gayle Starkey Choate               Linda Goldner
416 Sheppard Court                       120 Cr 194                               4841 E Turquoise Avenue
Hurst, TX 76053                          Gary, TX 75643                           Paradise Valley, AZ 85253




Linda Goree Oliva                        Linda Graves                             Linda Gray Mcmahon
4200 Roderick Road                       372 Sudden Valley Drive                  4212 Stanhope
Oakland, CA 94605                        Bellingham, WA 98229                     Dallas, TX 75205




Linda H Bass                             Linda H Bledsoe Tr                       Linda H Duffey
185 East Chance                          Linda H Bledsoe Trst                     28184 North Wales Rd
Lumberton, TX 77656                      514 East 16Th St                         Elkmont, AL 35620
                                         El Dorado, AR 71730




Linda H Freeman                          Linda Hale Carlisle                      Linda Hall Etheredge
185 Edwards Rd                           2025 West El Camino                      9940 Forest Ln Apt 1105
Choudrant, LA 71227                      Sacramento, CA 95833                     Dallas, TX 75243




Linda Hamilton                           Linda Harden Reimer                      Linda Harrell Hamner
365 Locustfield Rd                       3524 Westmeyer Rd                        1179 Hwy 563
East Falmouth, MA 02536                  New Braunfels, TX 78130                  Dubach, LA 71235




Linda Harris Lake                        Linda Harrison Ward                      Linda Haynes
215 Madden Road                          5311 Timber Shade Dr                     91 Blue Lake Dr
Ruston, LA 71270                         Kingwood, TX 77345                       Huffman, TX 77336




Linda Heitkamp                           Linda Henry Rev Tr                       Linda Hesser Sides
14978 Sandalfoot                         4327 Harby St                            221 Longmont Street
Houston, TX 77095                        Houston, TX 77023                        Hallsville, TX 75650




Linda Hestand Sadler                     Linda Holmes Sisk                        Linda Honore Waldon
3597 E Phillips Avenue                   PO Box 631264                            600 Downs Lane
Littleton, CO 80122                      Nacogdoches, TX 75963                    Alexandria, LA 71303
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Linda Hood Brown                         Linda Hood Brown Bert Manning Brown   Linda Hunt
191 Goose Creek Ln                       191 Goose Creek Ln                    1012 Deer Rd Apt 8
Dubach, LA 71235                         Dubach, LA 71235                      Turlock, CA 95380




Linda Hunt Britton                       Linda Isley                           Linda J Hohensee
2583 Fm 1971                             7241 E 3500 S Road                    25573 9Th St
Long Branch, TX 75669                    Saint Anne, IL 60964                  San Bernardino, CA 92410




Linda J Kline                            Linda J Pharis                        Linda J Quigley
315 Buckminster Rd                       9223 Baronsmede Dr                    1322 6Th St S
Brookline, MA 02445                      Houston, TX 77083                     Fargo, ND 58103-4208




Linda J Strickland                       Linda J White                         Linda J Whitlock
5531 Fm 225 South                        595 Corey Ave                         104 Ravenwood Lane
Henderson, TX 75654                      Braddock, PA 15014                    Yorktown, VA 23692




Linda Jacobs Madrid                      Linda Jean Barneson                   Linda Jean Lalor
1405 Hall Drive                          401 Stinson Street 5                  720 Levy Ave
Roswell, NM 88201                        Vallejo, CA 94591                     Charlottesville, VA 22902




Linda Jean Mckenzie Collins              Linda Jean Rains                      Linda Jo Barfield
208 Eubanks Ave                          11731 Chanticleer Dr                  1414 Sandy Springs Rd 1A
Simsboro, LA 71275                       Pensacola, FL 32507                   Houston, TX 77042




Linda Jo Davis Harding                   Linda Jo Goodwin Powell               Linda Joe Goodwin Powell
8601 Raven                               375 B Cr 24960                        375 B Cr 24960
Waco, TX 76710                           Brookston, TX 75421                   Brookston, TX 75421




Linda Johns Mccullough                   Linda Johnston                        Linda Joyce Culver Chapman
9473 Poinsettia Street                   193 Falling Hills                     3088 Woodglen Dr
Shreveport, LA 71118                     New Braunfels, TX 78132               Commerce, TX 75428




Linda Joyce Dupree Eberhardt             Linda Joyce Mcham                     Linda Justice Mceacharn
6886 W Raleigh St                        2979 Highway 146                      PO Box 1692
Mccordsville, IN 46055                   Homer, LA 71040                       Columbia, LA 71418




Linda K Herring                          Linda K Terrill White Gay             Linda Kathryn Thurmon Kearney
237 Spice Oak Lane                       1919 S Main Street                    2915 26Th St
Cibolo, TX 78108                         Stuttgart, AR 72160                   Bellingham, WA 98225
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Linda Kay Brown Lister                  Linda Kay Carroll Mcdonals     Linda Kay Cecil Edwards
Route 6 302 Hiawatha                    101 S Bogle Road 811           1635 Kit Carson Sw
Longview, TX 75603                      Logansport, LA 71049           Albuquerque, NM 87104




Linda Kay Cummings                      Linda Kay Formagus             Linda Kay Henry
PO Box 691                              2705 Ripplesprings Court       7418 Cr 235N
Farmersville, TX 75442                  Arlington, TX 76016            Henderson, TX 75652




Linda Kay Jones                         Linda Kay S Turner Sep Prop    Linda Kay Tyer Nix
8753 Southwestern Blvd                  1719 Boykin Blvd               Box 127
Apt 1121                                Shreveport, LA 71107           Timpson, TX 75975
Dallas, TX 75206




Linda Kay Ueckert                       Linda Kaye Hendry              Linda L Ely
1464 Macedonia Road                     1293 Fm 1194 S                 Box 488
Marshall, TX 75670                      Lufkin, TX 75904               Bay City, TX 77404




Linda L Hutchison Price                 Linda L Jernigan Carter        Linda L Lambert Tuel
806 S Georgetown Loop                   1060 S Ethel St                5218 Pr 4084
Kirbyville, TX 75956                    Detroit, MI 48217              Gilmer, TX 75644




Linda L Sanford                         Linda L Spencer                Linda L Zorn Heiman
251 Steed Road                          16396 E Prentice Circle        PO Box 506
Calhoun, LA 71225                       Aurora, CO 80015               Seabrook, TX 77586




Linda Lake Young Revoc Living Trust     Linda Lane                     Linda Lane Newton
PO Box 721990                           1710 South Deacon St           295 Spring Creed Road
Norman, OK 73070-8514                   Detroit, MI 48217              Ruston, LA 71270




Linda Lanelle D Weeks                   Linda Larry Phillips           Linda Leblanc
1065 Midway Loop E                      12085 Ashland Way              47045 Hidden Lane
Livingston, TX 77351-4981               Shreveport, LA 71106-9347      Hammond, LA 70401




Linda Lee Morris Bass                   Linda Lee Robinson             Linda Lentz Elmore
PO Box 124                              708 Church St                  1207 N Wheeler
Simsboro, LA 71257                      Carthage, TX 75633             Victoria, TX 77901




Linda Leveque Bennett                   Linda Leverett Acker           Linda Light Bump
Escrow Account                          1832 South Yank Court          801 Baseline Rd
PO Box 2540                             Lakewood, CO 80228             Boulder, CO 80302
Community First Natl Bank
Casper, WY 82602
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Linda Liner St Martin                     Linda Lloyd Berggren                Linda Lois Mccoy
175 Oakdale Loop                          6700 Zenith Cove                    6911 Mccoy Road
Houma, LA 70360                           Austin, TX 78759                    Manvel, TX 77578




Linda Loraine Phillips Barns              Linda Lou Scarborough               Linda Lynell Lee
PO Box 25532                              PO Box 1452                         6715 Fm 799
Dallas, TX 75225-1532                     Henderson, TX 75653                 Beeville, TX 78102




Linda M Brown Guardianship                Linda M Hickman                     Linda M Keith
Annetta Brown Guardian                    12701 Belville Lane Apt 3214        3445 State Route 20
423 Nile Street                           Ft Worth, TX 76028                  Collins, OH 44826
Aurora, CO 80010




Linda M Leger                             Linda M Rio                         Linda M Samford
310 Water Oak Cir                         4261 Farm Road 3019                 2807 Allen St 434
Hemphill, TX 75948                        Winnsboro, TX 75494                 Dallas, TX 75204




Linda Mae Nail Dunlap Separate Property   Linda Malene Rogers                 Linda Marie Beard
PO Box 121                                5550 Old Jacksonville Hwy Apt 125   2512 Ascot Drive
Temple, TX 76503                          Tyler, TX 75703-3323                Florence, SC 29501




Linda Marie Brooks Williams               Linda Marie Laskey                  Linda Marie Mcclellan
15306 Robey Ave Apt 607                   3700 Orleans Avenue Apt 4106        801 Dumont Drive
Harvey, IL 60426                          New Orleans, LA 70119               Richardson, TX 75080




Linda Mason Dowling                       Linda Mccoy                         Linda Nell Clark Brown
10601 Highway 80                          3417 94Th St                        968 Lewis Place
Simsboro, LA 71275                        Lubbock, TX 79423                   Shreveport, LA 71103




Linda Nichols Hodge                       Linda Nolan Schmitz                 Linda P Rhodes
1512 N Whaley Rd                          100 Bowie Ln                        2781 Cr 2724
White Oak, TX 75693                       Hewitt, TX 76643                    Mineola, TX 75773




Linda P Rhodes Trustee                    Linda P Rhodes Don H Rhodes         Linda P Tidswell
Gladys Peacock Trust                      Formerly Gladys Peacock             606 Reid Street
2781 Cr 2724                              Trust 50c/o                         Houston, TX 77022
Mineola, TX 75773                         2781 Cr 2724
                                          Mineola, TX 75773



Linda Purnell Smith                       Linda R Ransford                    Linda Roark
6101 W Courtyard Dr Bldg 5 200            613 Bradley Circle                  6529 Turnberry Dr
Austin, TX 78730-5033                     Midwest City, OK 73110              Fort Worth, TX 76132-4514
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Linda Rochelle                          Linda Ruffin Ricks                    Linda Ruth Tooke Harrell
19322 Bear Springs Drive                168 Kayla Street                      298 Butch Butler Road
Katy, TX 77449                          Shreveport, LA 71105                  Rayville, LA 71269




Linda S Gober                           Linda S Neidert                       Linda S Rentz
1208 Mills Place                        9307 Raleigh Ave                      210 Raymond St
Corsicana, TX 75110                     Lubbock, TX 79424                     Henderson, TX 75652




Linda S Starr                           Linda S Sweazy                        Linda S Werner
3262 Westheimer                         18 Willow Woods Ct                    59 Sabina Rd
Suite 155                               Caseyville, IL 62232                  Trumbull, CT 06611
Houston, TX 77098




Linda Seago English                     Linda Shipp And Husband James Shipp   Linda Skains Tiffin
1176 Wemple Rd                          Rt 1 Box 182                          230 Tiffin Rd
Bossier City, LA 71111                  Laneville, TX 75606                   Arcadia, LA 71001




Linda Smith Trust For                   Linda Smith Dlouhy                    Linda Standifer Locke
1007 Creekwood                          5111 Timber Ridge                     938 Liberty Hill Rd
Longview, TX 75602                      Baytown, TX 77521                     Simsboro, LA 71275




Linda Stough Whelpton                   Linda Su Winters Or                   Linda Sue Dring Brown
Deceased                                Texas State Treasury Dept             147 Piney Point Rd
17431 Sw 65Th Court                     Unclaimed Property Division           Farmerville, LA 71241
Ft Lauderdale, FL 33331                 PO Box 12019
                                        Austin, TX 78711-2019



Linda Sue Fears                         Linda Sue Hendricks                   Linda Sue Henry
913 W Mill Street                       123 Union Road 328                    PO Box 742735
Livingston, TX 77351                    El Dorado, AR 71730-8768              Dallas, TX 75374




Linda Sue Hinkle Trombley               Linda Sue Pilgreen Suman              Linda Sue Singleton Wade
1684 Fm 2571                            PO Box 686                            160 Nobles School Rd
Smithville, TX 78957                    Cool Ridge, WV 25825                  Dubach, LA 71235




Linda Susan Gay Poa                     Linda Sykes                           Linda Tevebaugh
For Marion Cary Podewitz                c/o Texas State Treasury              5587 Fm 1845
1462 Se 16Th Ter                        Unclaimed Property Division           Longview, TX 75604
Cape Coral, FL 33990                    PO Box 12019
                                        Austin, TX 78711-2019



Linda Thom Coon                         Linda Thompson                        Linda Turner Speights
298 Moore Rd                            111 Central St 4th Floor              PO Box 684
Spartanburg, SC 29302                   Little Rock, AR 72201-4402            Morrilton, AR 72110
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Linda V Applebaum                       Linda V Gray                           Linda V Simon Dame
706 Harrison                            400 College Avenue                     6121 Fern Avenue 129
Kingman, AZ 86401                       Henderson, TX 75653                    Shreveport, LA 71105




Linda Viator Ind Usuf                   Linda Wallace Morris                   Linda Watson Freeman Stinson
1604 Bittersweet Ave                    2423 Kathleen Place                    1428 Park Place Avenue
Ruston, LA 71270                        San Diego, CA 92139                    Apartment 515
                                                                               Bedford, TX 76022-5864




Linda Watson Oppenheim                  Linda Watson Oppenheim Life Estate     Linda Welch Walker
11619 Cherry Knoll                      11619 Cherry Knoll                     305 Catesby Place
Houston, TX 77077                       Houston, TX 77077                      Highland Vlg, TX 75077




Linda Whitman                           Linda Williams Wilkinson               Linda Windham Pitcox
PO Box 506                              4127 State Highway 149                 708 Booker Loop
Keewatin, MN 55753                      Beckville, TX 75631-3009               Mansfield, LA 71052




Linda Wood                              Linda Woody                            Linda Wynell Marshall Steptoe
1003 San Patricio                       3200 Greg Lane                         1751 Cr 106
Solana Beach, CA 92075                  Tyler, TX 75701                        Carthage, TX 75633




Linda Yeager                            Lindale State Bank                     Lindalee M Sorrells
4618 E Deserty Willow Rd                101 N Main St                          841 Harvest Moon Pkwy
Phoenix, AZ 85044                       indale, TX 75771                       Kyle, TX 78640




Lindana Resources Corp                  Lindana Resources Corporation          Lindenmuth And Associates Inc
904 W Montgomery Street 4512            904 W Montgomery Suite 4512            510 Hearn St Ste 200
Willis, TX 77378                        Willis, TX 77378                       Austin, TX 78703




Lindenmuth Associates Inc               Linder Family Partnership Ltd          Lindley G Beckworth Jr
510 Hearn Street Suite 200              100 Independence Pl Ste 307            1701 Smallwood Drive
Austin, TX 78703-4516                   Tyler, TX 75703                        Longview, TX 75601




Lindsay C Donzanti Ttee                 Lindsay Cale Grigsby                   Lindsay L Zhang
Lindsay C Donzanti Rev Tr               203 Mintmere Ln                        Address Redacted
Dtd 05/28/2015                          Youngsville, LA 70592
Apt 407 20335 W Country Club Dr
Aventura, FL 33180-1621



Lindsay Marwil                          Lindsay Production And Royalties Ltd   Lindsey D Ladouceur
4507 Cambridge Ct                       750 E Mulberry Ave Suite 505           6942 Cinnamon Dr
Sugarland, TX 77479                     San Antonio, TX 78212                  Sparks, NV 89436
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Lindsey Evans Mclain                    Lindsey Joann                             Lindseys Office Furniture
2606 Cahaba River Estate                125 Wisteria Drive                        12230 Northwest Freeway
Hoover, AL 35244                        Livingston, TX 77351                      Houston, TX 77092




Lindy Cannon                            Lindy Pool Hutchison Trust                Linebarger Goggan Blair Sampson LLP
PO Box 566                              U/W/O Charles C Pool                      Agt F/Union Grove
Montreat, NC 28757-0566                 Lindy Pool Hutchison Trustee              Isd Et Al F/A/O C Sorrells Est
                                        904 River Road                            2700 Via Fortuna Dr Ste 400
                                        Wimberley, TX 78676                       Austin, TX 78746



Link Minerals LLC                       Linkedin Corporation                      Linklaters LLP
2236 Remington Square                   62228 Collections Center Drive            Attn Margot Schonholz/Penelope Jensen
Billings, MT 59102                      Chicago, IL 60693-0622                    Attn Christopher Hunker
                                                                                  1345 Avenue Of The Americas
                                                                                  New York, NY 10105



Linn Energy                             Linn Exchange Properties LLC              Linn Operating Inc
600 Travis St                           600 Travis St Ste 5100                    14701 Hertz Quail Springs Pkwy
Ste 5100                                Houston, TX 77002                         Oklahoma City, OK 73134-2641
Houston, TX 77002




Linn Operating Inc                      Linnie Beth Humphreys                     Linnie Louise Young
PO Box 671631                           2310 Center Highway                       806 Ridge Drive
Dallas, TX 75267-1631                   Nacogdoches, TX 75961-5456                West Monroe, LA 71292




Linora Jane Tennison                    Linton Julian Wood                        Linton Tomlin
6804 Mlk Jr Dr 8F                       155 County Road 793                       208 Ball Drive
Atlanta, GA 30331                       Saltillo, MS 38866-9300                   Kerrville, TX 78028




Linville W Rogers                       Linwood Royalties LLC                     Lion Cubs Properties Inc
PO Box 1067                             PO Box 7563                               PO Box 19174
Cooke City, MT 59020                    Tyler, TX 75047                           Fountain Hills, AZ 85269




Lion Oil Company                        Lion Oil Company                          Lionel E Gilly
100 E Peach Street 201                  Lion Oil Trading And Transportation Llc   5585 Caruth Haven Ln 301
El Dorado, AR 71730                     7102 Commerce Way                         Dallas, TX 752258157
                                        Brentwood, TN 37027




Lionel Geoffrey Barneson                Lionel Jr Lichtenberger                   Lionel Paul Gryder
171 West 12Th St Apt 4D                 PO Box 138                                6553 Caspiana Lane
New York, NY 10011                      Freer, TX 78357                           Keithville, LA 71047




Lionel Ramos                            Lions Club International Found            Lipscomb Family Living Trust
2901 Graham Rd                          Peter Lynch                               Larry Wayne Lipscomb Trustee
Falls Church, VA 22042                  300 W 22nd St                             10036 Linden Lea Road
                                        Oak Brook, IL 605238842                   Flint, TX 75762
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Liquidlogic And Sales LLC                Lisa A Gibson                  Lisa Allen Best Separate Prop
2264 G Road                              354 Oran Rd                    1997 Atkins Road
Grand Junction, CO 81505                 Livingston, TX 77351           Ruston, LA 71227




Lisa Ann Bussey Neal                     Lisa Ann Morris                Lisa Ann Piatt Henry
8559 Noonday Cutoff                      1609 Sarah Brooks Drive        2104 Clearwater Trail
Hallsville, TX 75650-9748                Keller, TX 76248               Carrollton, TX 75010




Lisa Ann Reeves Stephens                 Lisa Ann Ward                  Lisa Ardis Newman
8309 Cedarspur Drive                     222 Mitchell                   817 Shaprshire St
Houston, TX 770557519                    Longview, TX 75601             Grand Prairie, TX 75050




Lisa Barrios Adams                       Lisa Bennett                   Lisa Bowen Trust
PO Box 153                               18422 Cobblestone Dr           Jpmorgan Chase Bank N A Ttee
Lockport, LA 70374                       Cypress, TX 774294511          PO Box 99084
                                                                        Fort Worth, TX 76199-0084




Lisa Bowen Trust                         Lisa Brookins Eaves            Lisa Buffaloe
Jpmorgan Chase Bank N A Ttee             7414 Avalon Trace              Address Redacted
PO Box 2050                              Richmond, TX 77407
Fort Worth, TX 76113




Lisa Burnett                             Lisa C Bissic                  Lisa C Myles
3217 Drapers Cove                        119 Belton Road                505 Wells Fargo 3
Tago Vista, TX 78645                     Ruston, LA 71270               Houston, TX 77090




Lisa C Smale                             Lisa Cannon Theriot            Lisa Cardenas Perkins
812 Jamaica Way                          PO Box 544                     5639 Stillwater Ct
Bakersfield, CA 93309                    Karnes City, TX 78118          Stone Mountain, GA 30087




Lisa D Jones                             Lisa D Meadows Tr              Lisa D Speights And Courtney M Sharp
PO Box 257                               Uwo A W Gregg Jr               2300 Desiree
Van, WV 25206                            Lisa D Meadows Ttee            Ruston, LA 71270
                                         2316 Zoa Dr
                                         Cedar Park, TX 78613



Lisa Deloney                             Lisa Deutsch                   Lisa Duran Rancich Burns
515 Greyfield Lane                       408 Mckenzie Ln                11 Las Caballeras
Dunwoody, GA 30350                       Logansport, LA 71049           Santa Fe, NM 87508




Lisa E Wynne                             Lisa Elaine Miller             Lisa Ellison Trustee Of
258 Tano Rd                              707 Honeysuckle Lane           The Kent R Ellison Revocable Trust
Santa Fe, NM 87506                       College Station, TX 77845      PO Box 720085
                                                                        Dallas, TX 75372
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Lisa Fortenberry                        Lisa Gibson Trust              Lisa Gosdin Smith
4415 Laney Court                        2186 Warwick Dr                1612 Success
Richardson, TX 75082                    Santa Rosa, CA 95405           Bossier City, LA 71112




Lisa Horne Early                        Lisa Hotmann Baca              Lisa Karmi Young
13513 Gresham Ct                        3495 Patterson Way             Charles Schwab Co Inc Cust
Bowie, MD 20720                         El Dorado Hills, CA 95762      Ira Rollover
                                                                       2741 Prince St
                                                                       Berkeley, CA 94705



Lisa Kay Lloyd Schmidt                  Lisa Kroner Miller             Lisa Ku
633 Riverforest Dr                      4134 Richmond Avenue           1763 Creekside Dr
New Braunfels, TX 78132-3342            Shreveport, LA 71106           Sugar Land, TX 77478




Lisa L Porter                           Lisa L Reigelsperger           Lisa Landry Mathews
3952 Laura Leigh                        3419 Sw 8Th Ct                 Jason Mathews H/W
Friendswood, TX 77546                   Cape Coral, FL 33914           3657 Lakeside Drive
                                                                       Shreveport, LA 71119




Lisa Ledwell Check                      Lisa Lee Boring                Lisa Lenea Revils
5241 Bartonsville Rd                    6653 Mckinney Ranch Pkwy       336 County Road 443
Frederick, MD 21704                     Apt 17105                      Dayton, TX 77535
                                        Mckinney, TX 75070




Lisa Lynn Decker                        Lisa Lynn Stover               Lisa M Beadle
2731 Robinwood Ln                       6228 Hampton Ridge Rd          1539 E Whitten St
Denton, TX 76209                        Raleigh, NC 27603              Chandler, AZ 85225




Lisa M Kagy                             Lisa M Priddy                  Lisa M Williams
5617 West 131st St                      111 South Kings Canyon Drive   384 Ned Williams
Overland Park, KS 66209                 Cedar Park, TX 78613           Longview, TX 75603




Lisa M Wormser Inher Trust              Lisa Macmahon                  Lisa Majors
Lisa M Wormser Schamess Trust           15409 Baker Meadow Loop        4910 Candleglow Drive
1014 Loxford Terrace                    College Station, TX 77845      Houston, TX 77018
Silver Springs, MD 20901




Lisa Michelle Decker Guillory           Lisa Miller Aldrich            Lisa Moore Shaaban
36409 Ola Dr                            707 Honeysuckle Lane           11934 Waldemar
Denham Springs, LA 70706                College Station, TX 77845      Houston, TX 77077




Lisa P Mitchell                         Lisa Patterson Kincaid         Lisa Patterson Kinkaid
215 Clubview Drive                      9680 Manion Ct                 9680 Manion Ct
Hideaway, TX 76771                      Beaumont, TX 77706             Beaumont, TX 77706
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Lisa R Booker Dixon                     Lisa R Mctee Michael W Mctee         Lisa Renea Wash Cordova
1553 Booker Loop Road                   26 Woodbox Drive                     312 Cordova Road
Mansfield, LA 71052                     Henderson, TX 75652                  Grand Cane, LA 71032




Lisa S Davis                            Lisa S Letterman                     Lisa Sigman
3739 Maranatha Drive                    516 Purdy Rd                         14400 Montfort Dr 802
Sugar Land, TX 77479                    Calhoun, LA 71225                    Dallas, TX 752548458




Lisa Stieren Hardeman Trust             Lisa Sue Brooks Cole                 Lisa T Tomkies
Barry Coates Roberts                    1317 North 5Th                       4512 Alton St
George L Stieren Co Trustees            Duncan, OK 73533                     Shreveport, LA 71109
7373 Broadway Ste 406
San Antonio, TX 78209



Lisa Wood Sealy Hollier                 Lisa Wright Hardin                   Lisabeth Churchhill
511 Higgins                             31461 Rice Rd                        PO Box 2109
Mooringsport, LA 71060                  Bulverde, TX 78163                   Wimberley, TX 78676




Lisbeth A Benavides 1996 M Tr           Lisbeth A Benavides 1997 C Tr        Lisbon United Methodist
Manuel A Benavides Ttee                 Manuel A Benavides Ttee              PO Box 186
1019 Chihuahua                          1019 Chihuahua                       Lisbon, LA 71048
Laredo, TX 78040                        Laredo, TX 78040




Liskow Lewis Aplc                       Liston Wynne Zander                  Litera Corp
701 Poydras St                          2900 Shalimer Drive                  5000 Crossmill Drive
Suite 5000                              Plano, TX 75023-6323                 Mcleanville, NC 27301
New Orleans, LA 70139




Little Chief Royalty Co Inc             Littleton P Colvin Jr And            Littleton Parks Colvin Iii
PO Box 25163                            Resie Wells Colvin                   1924 Huffman Street
Dallas, TX 75225                        PO Box 5362                          Alexandria, LA 71301
                                        Alexandria, LA 71301




Littleton Parks Colvin Iv               Live Oak County Appraisal District   Live Oak County Appraisal District
215 Republic Ave Apt 1105               205 Bowie St                         PO Box 2370
Lafayette, LA 70508                     George West, TX 78022                George West, TX 78022




Live Oak Royalties LLC                  Livia S Gabler                       Living Spirit United Methodist Church
PO Box 19552                            1328 Poppy Lane                      4501 Bloomington Ave S
Houston, TX 77224                       New Braunfels, TX 78130              Minneapolis, MN 55407




Livingston Kosberg Trust                Liza Jane Shirley Morell             Lizabeth Martin Hudson
Livingston Kosberg Indp Exec            6500 Winward Pl Nw                   152 Burford Rd
PO Box 27376                            Bremerton, WA 98312                  Stonewall, LA 71078
Houston, TX 772277376
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Lizann T Webb Special Needs Tr         Lizard Lick Transport LLC      Lizbeth Allen Haefs
Camille S Yates Trustee                PO Box 271                     3526 Cr 1342
426 Holly Rd                           Grandfalls, TX 79742           Pittsburg, TX 75686
Vero Beach, FL 32963




Lizbeth Ashlea Willet Hewett           Lizzie B White                 Lizzie Mae Cole Murphy Sepprop
2939 Jenny Drive                       2207 Cooktown Rd               3965 Sumner Street
Sugar Land, TX 77479                   Ruston, LA 71270               Shreveport, LA 71109




Lizzie Young Mckinney Sepprop          Lj Oil Inc                     Ljl Family Limited Partnership
1223 Forrest Ave                       11757 W Ken Caryl Ave F        6919 Chancellor Drive
Bastrop, LA 71220-2017                 Littleton, CO 80127-3719       Spring, TX 77379




Lkc Resources LLC                      Ll Burke Jc Lipper Jt Indpt    Llana Dobbie
c/o L L Cotter                         Execs O/E/O Joe A Pincus Est   1222 Heath Hollow Dr
6464 Northport Dr                      2929 Buffalo Speedway 1411     Spring, TX 77379
Dallas, TX 75230-4111                  Houston, TX 77098




Llano River Minerals Ltd               Llj Ventures LLC               Lloyd B Courtney And
PO Box 690285                          PO Box 3188                    Marialice B Courtney
San Antonio, TX 782690285              Roswell, NM 88202              1600 Madera St
                                                                      Ruston, LA 71270




Lloyd Bell Caraway                     Lloyd C Jr Sims                Lloyd D Colvin
3933 Inwood Rd Apt 2024                720 Alabama St                 3430 Highway 818
Dallas, TX 75209                       Sulphur, LA 70663              Ruston, LA 71270




Lloyd Darton Blaylock                  Lloyd E Taliaferro             Lloyd Gosselink Rochelle Townsend Pc
3620 Mockingbird Ln                    214 Elkins Lake                816 Congress Suite 1900
Dallas, TX 75205                       Huntsville, TX 77340           Austin, TX 78701




Lloyd H And Alpha O Holcomb            Lloyd H Frye Md                Lloyd Hill
407 County Rd 3590                     16458 Samuels Road             541 Los Angeles Pl
Joaquin, TX 75954                      Zachary, LA 70791              San Diego, CA 92114




Lloyd Hill Jr                          Lloyd J Sylestine              Lloyd Jones Well Service
10130 Austin Dr Apt 30                 11067 Hwy 55                   205 West Maple Suite 700
Spring Valley, CA 91977-6907           Sterrett, AL 35147             Enid, OK 73701




Lloyd Kent Binks                       Lloyd Largent                  Lloyd M Frey
3626 Robinson Rd                       4102 N Braeswood Blvd          24001 Cinco Village Blvd
Missouri City, TX 77459                Houston, TX 77025-2906         Center Blvd 2120
                                                                      Katy, TX 77494
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Lloyd Patrick Mckinley Iii              Lloyd W Burd And Toni Burd      Lloyd Wayne Rio
3817 Wagon Wheel Ct                     5823 Us Highway 259 North       4261 Farm Road 3019
Plano, TX 75023                         Henderson, TX 75652             Winnsboro, TX 75494




Lloyd Wayne Van Wormer                  Lloyd Wood Collins Jr           Lloyds of London
2044 Seneca Street                      1425 Harveys Barber Shop Road   c/o American Equity Underwriters
Kingman, AZ 86401                       Dubberly, LA 71024              Lindsey Tomes
                                                                        Mobile, AL 36602




Lloyds of London                        Lloyds of London                Lls Properties LLC
c/o J H Blades Co                       c/o Rkh Specialty Mark Jenner   PO Box 1403
Richard Martin                          One Whittington Avenue          Shrevport, LA 71164
520 Post Oak Blvd Suite 250             London ED3M 7HA
Houston, TX 77227                       England



Llwm Properties Lp                      Lly Oil And Gas LLC             Lm Royalty Partners
4051 Meadowdale Ln                      PO Box 721990                   PO Box 631804
Dallas, TX 75229                        Norman, OK 73070                Nacogdoches, TX 75963




Lma Minerals LLC                        Lmbi OG Tx Lp                   Lmbi OG Tx Lp
1487 South Sand Creek Rd                201 Main Street Suite 2700      PO Box 916107
Jordan, MT 59337                        Fort Worth, TX 76102            Fort Worth, TX 76191-6107




Lmjco Inc                               Lmn Enterprises                 Lo Alma Murphey Widow
4202 Yoakum Blvd                        4445 Eastgate Mall              9860 County Rd 121
Houston, TX 77006                       Suite 200                       Valley Head, AL 35989-3316
                                        San Diego, CA 92121




Load Systems International Inc          Load Technology Inc             Loanna Silvey Jacobs Tt
c/o Desjardins Bank Na                  525 Commerce Circle             c/o Farmers National Co Agent
PO Box 897                              Mesquite, NV 89027              Oil Gas Dept
Hallandale Fl, FL 33008-0897                                            PO Box 3480
                                                                        Omaha, NE 68103



Loblolly Resources LLC                  Lobo Trucking                   Lobo Tubing Testers Inc
2133 W Grande Blvd                      PO Box 2914                     PO Box 1066
Tyler, TX 75703                         Hobbs, NM 88241                 Monahans, TX 79756




Lochow Ranch Pond Lake Management LLC   Lock Doc Inc                    Locke Lord Bissell Liddell LLP
PO Box 5130                             3506 W Loop 281 Ste 101         PO Box 301170
Bryan, TX 778055130                     Longview, TX 75604              Dallas, TX 75303-1170




Locke Lord LLP                          Lockett B Wells                 Lockhart Watson Family LLC
Jpmorgan Chase Tower                    109 Janelle Drive               5881 S Sherman Way
600 Travis                              Bay St Louis, MS 39520          Littleton, CO 80121
Houston, TX 77002
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Loco Hills Water Solutions LLC         Loco Investments LLC            Locust Grove Cemetary Assoc
PO Box 68                              PO Box 635025                   1832 White Cedar Road
132447 Lovington Hwy                   Nacogdoches, TX 75963           Big Sandy, TX 75755
Loco Hills, NM 88255




Lodema Ruth Hibbets Clark              Lodi Drilling Service Co        Loehnert Linda Pack
116 Estates Dr                         PO Box 261029                   1751 Vz Cr 4930
West Monroe, LA 71292                  Corpus Christi, TX 78426        Van, TX 75790




Loester D Land Sr Est                  Loesther Marie Holmes Tinsley   Lofton Randall H
PO Box 475                             2892 Manor Glen Lane            2601 Bernhardt Drive
Grambling, LA 71245                    Suwannee, GA 30024              Port Arthur, TX 77642




Loga Louisiana Oil Gas Assoc           Logan Circle Partners Lp        Logan Completion Systems Inc
PO Box 4069                            1717 Arch St                    7850 N Sam Houston Pkwy W
Baton Rouge, LA 70821-4069             Philadelphia, PA 19103          Suite 100
                                                                       Houston, TX 77064-4362




Logan Transportation Inc               Logdigi                         Logo Energy LLC
13100 W Hwy 80 East                    565 South Mason Road            1301 Mckinney Street
Odessa, TX 79765                       Suite 238                       Suite 3150
                                       Katy, TX 77450                  Houston, TX 77010




Lohman Family LLC                      Loin Energy Corporation         Lois A Castille
5728 Indian Circle                     111 East Travis Street          1339 W Sixth St
Houston, TX 77057                      Suite 131                       Port Arthur, TX 77640
                                       Lagrange, TX 78945




Lois A Miller                          Lois A Peterson                 Lois A Smith
3001 Little Hickory Rd                 2845 N Beach Rd                 PO Box 27801
Tionesta, PA 16353-6629                Englewood, FL 34223-9184        Austin, TX 787557801




Lois A Ward                            Lois Adams                      Lois Alexander
12326 Wagon Boss                       PO Box 12019                    2697 Sweet Home Rd
San Antonio, TX 78254                  Accounts Unclaimed Prop Sec     Quitman, LA 71268
                                       Austin, TX 78711-2019




Lois Ann CummingsCo A Ptnshp           Lois Ann Palmer Futch           Lois Barneson Hopper
PO Box 16030                           Wife Of James W Futch           1119 El Centro Ave
Lansing, MI 48901-6030                 169 Bill Banks Road             Oakland, CA 94602
                                       Calhoun, LA 71225




Lois Black                             Lois Black Booth                Lois Blalock Trust
1760 Tom Woodley Rd                    20425 Via Paviso Unit D11       Fbo Glenda J Blalock
Marshall, TX 75672-5002                Cupertino, CA 95014             3701 St Hwy 137
                                                                       Stanton, TX 79782
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Lois Coulson Davis                       Lois Covington Parks            Lois Cunningham Invest Co Ltd
4003 Elmwood Dr                          PO Box 684                      PO Box 9049
Pearland, TX 77584                       Nederland, TX 77627             Wichita Falls, TX 76308




Lois Daniels                             Lois Ethel Price Cave           Lois Gysin
7114 Hwy 79 South                        PO Box 1174                     Box 989
Henderson, TX 75654                      Snyder, TX 79550                Woodland Park, CO 80866




Lois Helvenston                          Lois Hill                       Lois J Vandergriff
c/o Kathy Williams                       932 Railroad Ave                c/o Texas State Treasurer
31 Princesa Drive                        Mansfield, LA 71052             Unclaimed Property Division
Hot Springs Village, AR 71909                                            PO Box 12019
                                                                         Austin, TX 78711-2019



Lois Jane Hays Cook                      Lois Jean Wallace               Lois L Overton Est
Route 2 Box 1282                         8819 Cr 476 S                   Robin O Sengelmann Et Al
Ruston, LA 71270                         Henderson, TX 75654             c/o Texas Comptr Uncl Prop
                                                                         PO Box 12019
                                                                         Austin, TX 78711-2019



Lois Lee Delony Morris                   Lois Lee Dominguez              Lois M Kiel
205 Gloucester Dr                        970 Spring St                   2914 Cherry Creek Circle
Bossier City, LA 71111-6131              Oak View, CA 93022              Bryan, TX 778022928




Lois M Nail                              Lois Marie Wallace Prince       Lois Mcgee Stone
1211 Summerfield                         3305 Strong Ave                 Shirley Ann Irish Carolyn Sue P Agents
San Antonio, TX 78258                    Ft Worth, TX 76105              815 County Road 3199
                                                                         Joaquin, TX 75954-3853




Lois Moore Or Texas Comptroller          Lois P Taylor                   Lois S Rottersmann Trust
Of Public Acct                           3500 Oakgate Dr Apt 3303        Sherry R Lewis Trustee
Unclaimed Property Division              San Antonio, TX 78230-3302      99 N Post Oak Lane 6207
PO Box 12019                                                             Houston, TX 77024
Austin, TX 78711-2019



Lois Shumate Millerborg Esch             Lois Summerall Life Estate      Lois Trussell Baremore Sp
Box 32266                                709 Henry Dupree Rd             560 Longleaf Rd
Oklahoma City, OK 73123                  Kemp, TX 75143                  Shreveport, LA 71106




Lois Whatley Roy Trust                   Lois Williams                   Lois Wiseman Et Vir
7717 Creswell Rd 23                      4913 Wedgewood                  512 South 7Th St Nw
Shreveport, LA 71106                     Bellaire, TX 77401              Laramie, WY 82070




Lola B Lane Taylor                       Lola Beatrice Davis Cockerham   Lola Bell Wooten
PO Box 580                               719 Jackson Rd                  129 Huntington Dr
Mansfield, LA 71052                      Simsboro, LA 71275              Monroe, LA 71202
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Lola H Armistead                        Lola Mae Garner                   Lolene Guinette Newman
18432 Doc Olena Dr                      272 Davis Rd                      PO Box 209
Baton Rouge, LA 70817                   Simsboro, LA 71275                Encinal, TX 78019




Lolita Tillery Meek Estate              Loma S Hooten                     Lometa Anne H Cox
c/o Suzanne M Studdard                  712 Indian Dr                     100 E Ferguson Suite 700
6905 Battle Creek Drive                 Granbury, TX 76048                Tyler, TX 75702
Rowlett, TX 750892668




Lometa Hudnall Cox Trust No 2           Lon D Cartwright                  Lon M Houseman
100 E Ferguson St Suite 700             3027 Winslow St                   4436 Larchmont
Tyler, TX 75702-5755                    Houston, TX 77025                 Dallas, TX 75205




Lon Morris College                      Lone Star Anchor Inc              Lone Star Industries
c/o Tx Natl Bk Of Jacksonville          203 East 12Th                     PO Box 188
PO Box 710                              Big Lake, TX 76932                Hebbronville, TX 78361
Jacksonville, TX 75766




Lone Star Land Energy Ii LLC            Lone Star Maintenance Service     Lone Star Maintenance Service
300 N Coit Rd Ste 950                   Tony Frachiseur Dba               779 Cr 4913
Richardson, TX 75080                    Tony Frachiseur                   Troup, TX 75789
                                        779 Cr 4913
                                        Troup, TX 75789



Lone Star Minerals Acq LLC              Lone Star Pump Valve Co LLC       Lone Star Rental Inc
PO Box 1628                             PO Box 730                        830 E Broadway St
Longview, TX 75606                      Kilgore, TX 75663                 Andrews, TX 79714-6612




Lone Star State Bank                    Lone Star Tubular Services Inc    Lonesome Dove Transports A Division Of
301 W Main St                           PO Box 0328                       Jerrys Oilfield Svcs Co Inc
Brownfield, TX 79316                    Lone Star, TX 75668               PO Box 270
                                                                          Stamford, TX 79553




Lonestar Capital Bank                   Lonestar Rig Service Inc          Long Beach City Of
1108 Main St                            PO Box 1221                       PO Box 630
Blanco, TX 78606                        Kilgore, TX 75663                 Long Beach, CA 90842-0001




Long Beach Century Club Inc             Long Beach Hose Coupling Co Inc   Long Beach Police Officers Association
PO Box 3969                             1265 W 16Th Street                2865 Temple Ave
Long Beach, CA 90803                    Long Beach, CA 90813              Long Beach, CA 90755




Long Ellis Trust                        Long Minerals LLC                 Long Minerals Trust
Brown Bros Harriman Jd Burky            PO Box 6493                       6711 Belmont St
140 Broadway                            Tyler, TX                         Houston, TX 77005-3860
New York, NY 10005
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Long Pace LLC                            Long Star Trucking And Field Services 2   Long Star Trucking Field Services
c/o Cindy Long                           PO Box 4174                               Melissa Sanchez
53 Polo Drive                            Midland, TX 79704                         PO Box 4174
Colorado Springs, CO 80906                                                         Midland, TX 79704




Long Star Utility Electrical Services    Longcope Energy LLC                       Longhorn Associates Inc
PO Box 4174                              133 W San Antonio St Ste 300              PO Box 552
Midland, TX 79704                        San Marcos, TX 78666                      Judson, TX 75660




Longhorn Construction                    Longhorn Energy Capital LLC               Longhorn Inspection Straightening
2001 Longhorn Dr                         5146 Loch Lomond                          PO Box 9877
Levelland, TX 79336                      Houston, TX 77096                         Midland, TX 79708




Longhorn Supply Co                       Longhorn Tubular Services LLC             Longshadow Consulting LLC
PO Box 760                               PO Box 11042                              900 Garnet Cv
George West, TX 78022                    Midland, TX 79702-8042                    Oak Point, TX 75068




Longstraw Ventures LLC                   Longview Lawn Garden Equipment            Longview Scrap Metal Ltd
c/o G Drew Pesnell                       4507 W Marshall Ave                       5013 W Loop 281
313 Styles Ranch Rd                      Longview, TX 75604                        PO Box 8089
Choudrant, LA 71227                                                                Longview, TX 75607




Longwith Helen Marie                     Lonie H Nelson                            Lonneishea Nichols
2801 Cardinal Creeek                     C/O Rt 1 Box 43                           Address Redacted
Harrah, OK 73045                         Simsboro, LA 71275




Lonnie Bell Crawford Wilson              Lonnie Bernard Smith Jr And               Lonnie Brown
116 Memorial Dr                          Estella Smith                             6054 South Wapato Lake Drive
Monroe, LA 71202                         114 Park West Drive                       Tacoma, WA 98408
                                         West Monroe, LA 71291




Lonnie Burrough                          Lonnie D Lewis                            Lonnie Desmond Kizine
4208 Hamilton Ave                        3023 Phillips Ct                          3232 Cypress
Dallas, TX 75210                         Richmond, CA 94806                        Kansas City, MO 64128




Lonnie Frazier Jr                        Lonnie H Nelson                           Lonnie J Copeland
1850 Mondy Rd                            Rt 1 Box 43                               236 Country Road 111
Ruston, LA 71270                         Simsboro, LA 71275                        Carthage, TX 75633




Lonnie Jackson Jr                        Lonnie Jean Melton Lewis                  Lonnie Kimbrell And Sheryl Kimbrell
8455 W Sahara Ave Apt 255                5516 Gravelhill Rd                        9775 S 700 E
Las Vegas, NV 89117-8907                 Bronson, TX 75930-5585                    La Fontaine, IN 46940
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Lonnie Lewis Jones                       Lonnie R Salsbury                Lonnie Ray Jordan
2040 24Th St                             PO Box 26                        1090 Earnest Rd
Oakland, CA 94615                        Chatham, LA 71226                Chuckey, TN 37641-6010




Lonnie Wayne Traylor                     Lonny Berend                     Lonny L Holleman
2116 E Main St                           PO Box 226                       136 Nob Hill Drive
Henderson, TX 75652                      Windhorst, TX 76389              Ephrata, WA 98823




Lonquist Co LLC                          Lonquist Family Trust            Lonzetta James
3345 Bee Cave Road                       Richard R Lonquist And           17047 Applecross Ln
Ste 201                                  William C Lonquist Jr Co Ttees   Houston, TX 77084
Austin, TX 78746                         PO Box 341236
                                         Austin, TX 78734



Loomis Sayles Company Lp                 Loomis International Inc         Loomis International Inc
One Financial Center                     Larry Johnson                    PO Box 3586
Boston, MA 02111                         PO Box 6408                      Houston, TX 77253-3586
                                         Pasadena, TX 77506




Looper Reed Mcgraw                       Lopez Roustabout                 Lora Dahle
1300 Post Oak Blvd Ste 2000              1601 Mcelroy                     550 S 4th Street
Houston, TX 77056                        Crane, TX 79731                  MAC N9310 141
                                                                          Minneapolis, MN 55415




Lora Frances Beebe Kerry                 Lora Lee Perkins                 Lora Mae Rawlings Inc Exec
158 Donna Drive                          518 Neptune Dr                   Of Thomas C Rawlings Est
Stonewall, LA 71078                      Redwood City, CA 94065           PO Box 40
                                                                          Water Valley, TX 76958




Loraine A Lockwood                       Loraine Collins Vaughn           Loraine Jordan Kent
5343 Pitt Street                         5402 Leopard Lot 51              509 Winesap Dr
New Orleans, LA 70115                    Corpus Christi, TX 78408         Shreveport, LA 71115




Loraine Mcmurrey Ii                      Loralu Conville                  Loreater Jean Starling
c/o Don Mallett                          2601 Cypress Springs Ave         15852 State Hwy 135
7600 W Tidwell 306                       Ruston, LA 71270                 Arp, TX 75750
Houston, TX 77040




Lorena Dobson Furrh Dunlap               Lorena Fay Garver                Lorena M Cox
1003 S Main Ave                          30 Garden Park Cir Nw            5784 Chapel Valley Rd
San Antonio, TX 78204-1514               Albuquerque, NM 87107            Madison, WI 53711




Lorene Adams Taylor                      Lorene Berry Trust               Lorene Bishop Lathan
Route 2 Box 201                          2133 Fountain View Drive         PO Box 424
Gibsland, LA 71028                       Las Vegas, NV 89134              Gibsland, LA 71028
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Lorene Bowles                             Lorene Bush Rhiddlehoover      Lorene Coker
212 Ne Travis Road                        131 Willow Oak Dr              6295 Fm 660
Fruitvale, TX 75127                       Lufkin, TX 75904               Ennis, TX 75119




Lorene Colburn                            Lorene Cole Phillips           Lorene Cole Phillips Trust
1506 Royal Oak Dr                         F/B/O Lorene H Mead            F/B/O Lorene H Mead
Tyler, TX 75703-5712                      Bank Of America Na Trustee     Bank Of America Na Trustee
                                          PO Box 832407                  PO Box 840738
                                          Dallas, TX 75283-2407          Dallas, TX 75284-0738



Lorene Cole Phillips Trust                Lorene Cole Phillips Trust     Lorene Cole Phillips Trust
Fbo Arlene Mead Stolley                   Fbo Arlene Mead Stolley        Fbo Arlene Mead Stolley
Bank Of America Trustee                   Bank Of America Trustee        Bank Of America Trustee
PO Box 830308                             PO Box 840738                  PO Box 832407
Dallas, TX 75283-0308                     Dallas, TX 75284-0738          Dallas, TX 75283-2407



Lorene Cole Phillips Trust                Lorene Henderson Mead Tr       Lorene Joyce Wolf
Fbo Arlene Mead Strolley                  Bank Of America Ttee           6817 Nw 22nd St
Bank Of America Na Trustee                PO Box 840738                  Bethany, OK 73008
PO Box 840738                             Dallas, TX 75284
Dallas, TX 75284-0738



Lorene Lewis Franklin                     Lorene Morris Young Indiv      Lorene Strickland
5969 Shattuck Ave                         PO Box 253                     1006 Sipapu Ct
Oakland, CA 94609                         Zion, IL 60099                 Wylie, TX 75098-6126




Lorene Willis Roos Trust                  Lorenza Ford                   Lorenza Lester Deceased
Robert C Roos Iv Ttee                     2521 80 Th St                  1301 Oak Creek Dr
PO Box 440                                Oakland, CA 94605              Hutchins, TX 75141
Roff, OK 74865




Lorenzo Eldon Reeves Jr                   Lorenzo Franklin               Loretta A Halcomb
206 Inwood Dr                             400 Bennett Road Lot 3         1003 Cleistes Ln
Palestine, TX 75801                       Grambling, LA 71245            Richmond, TX 77469




Loretta Armstrong Shunkwiler              Loretta Gail Greenway          Loretta Gant Harold Gant
110 Kuhls Road                            102 Quail Hollow               1257 Big Creek Rd
Anacoca, LA 71403                         Sunset, TX 76270               Dubach, LA 71235




Loretta J Bender                          Loretta J Estok                Loretta Jewel Hendrickson
PO Box 263                                1911 Mclean Street             2207 Cedar Falls
Farrell, PA 16121                         Aliquippa, PA 15001            Kingwood, TX 77339




Loretta Joan Jay Thomas                   Loretta M Goree                Loretta Rives
PO Box 38                                 400 Jones Rd                   1403 Preston Court
Bedias, TX 77831                          Longview, TX 75603             Bossier City, LA 71111
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Loretta Shadow Owens                      Loretta Simonton Gant          Lorette Johnston
292 Shadow Road                           1257 Big Creek Road            4828 Summer Oaks Ln
Ruston, LA 71270                          Dubach, LA 71235               Fort Worth, TX 76123




Lori A Fleming                            Lori Ann Reis                  Lori Ann Shepherd
c/o Wacker Associates Llc                 2195 3Rd St                    PO Box 41
12473 N Wind Runner Parkway               Arcadia, LA 71001              Pixley, CA 93256
Marana, AZ 85658




Lori Ann Sims                             Lori Anne Bennett              Lori Anne Brown Leopold
209 Roy St                                146 Victory Lane               12299 Fm 782 N 4
Minden, LA 71055                          West Monroe, LA 71291          Henderson, TX 75652




Lori Box Bien                             Lori C Guillory                Lori D Havens Rogers
PO Box 572                                7115 Hwy 110 E Sw12            4218 52nd St
Ponder, TX 76259                          Longville, LA 70652            Lubbock, TX 79413




Lori Edelman Speer Trust                  Lori Gardner Winch             Lori Gregory
U/W/O Morris Kagan                        14616 Leon Rd                  1428 Cedar Street
Lynn Edelman Trustee                      Abbeville, LA 70510            West Monroe, LA 71291
4901 Bellview
Bellaire, TX 77401



Lori Haney Separate Property              Lori Jane Jackson              Lori King
18606 Nashua Pines                        1475 Benton Blvd Apt 414       2672 Hwy 79 E
Humble, TX 77346                          Savannah, GA 31407-0468        Henderson, TX 75652




Lori Lamonds Bradley                      Lori Lou Marinovich            Lori Luanne R Frederick
Psc 3 Box 155                             59 Magnolia Rd                 445 Stow Creek Road
Apo, Ae 09021                             Sulphur, LA 70663              Ruston, LA 71270




Lori Lynn Whiteside                       Lori M Camp                    Lori Moore Fogg
5718 14Th                                 3825 La Luz Road               7829 Underwood Lane
Lubbock, TX 79416                         Atascadero, CA 93422           Amarillo, TX 79121




Lori Still                                Lori Woodard Robin             Lorie Michele Fletcher
7551 Cr 448 D                             5707 Caspiana Lane             15534 Cr 1227
Laneville, TX 75667                       Bossier, LA 71112              Flint, TX 75762




Lorine S Jones                            Loring M Collier               Loris B Williams
1236 Kennedy Blvd                         13238 Cr 3153 S                PO Box 1337
Longview, TX 75603                        Mt Enterprise, TX 75681        Salado, TX 76571
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Loris B Williams Trustee Of The         Lorna M Herbaly Rev Tr 5/24/04   Lorp Holdings I LLC
Williams Family Trust Dtd 03/02/2009    Lorna M Elmer Herbaly Ttees      PO Box 19702
700 College Hill Drive                  1420 W Canal Ct Ste 150          Houston, TX 77224
PO Box 1337                             Littleton, CO 80120
Salado, TX 76571



Lorraine Denise Jackson                 Lorraine K Mccrary Smith         Lorraine Lewis
14449 Begonia Rd 106                    2304 Chantaway Court             1254 Garr Rd
Victorville, CA 92392                   Bel Air, MD 21015                Ruston, LA 71270




Lorraine Lopez                          Lorraine R Gray                  Lorrie L Bliss
Address Redacted                        5700 Yacht Club Drive            10543 S Weeping Willow Dr
                                        Dickinson, TX 77539              Sandy, UT 84070




Lorris Brown                            Lorry Chapman                    Lors G Davis Usufruct
5334 N Arlington Ave                    c/o Walker Armstrong Llp         1540 E Beverly Rd
Indianapolis, IN 46226                  3838 N Central Ave Ste 1700      Philadelphia, PA 19138
                                        Phoenix, AZ 85012




Lory Lynn Alexander                     Lory William Hamner Et Ux        Los Alamitos City Of
16670 Forest Way                        1179 Hwy 563                     10911 Oak Street
Austin, TX 78734                        Dubach, LA 71235                 Los Alamitos, CA 90720




Los Angeles County Taxes                Los Angeles County Taxes         Los Angeles Times
225 N Hill St 1                         PO Box 54027                     PO Box 79151
Los Angeles, CA 90012                   Los Angeles, CA 90054-0018       Phoenix, AZ 85062-9151




Los Chicos                              Los Isauros Minerals Ltd         Los Manos Mineral Holdings Lp
105 S 4 St                              PO Box 653                       PO Box 680
Artesia, NM 88210                       Laredo, TX 78043                 Washington, TX 77880




Lost Creek Energy Lp                    Lotha David Stuby                Lotta M Varty
PO Box 21330                            1813 East 85Th Street            305 S Main St
Charleston, SC 24913                    Kansas City, KS 64132            Sycamore, IL 60178




Lottie D Taylor                         Lottie H Covington               Lottie Mae Hill Steib
9241 Hwy 149                            270 Pleasant Hill Rd             65 Trestle Drive
Longview, TX 75603                      Plain Dealing, LA 71064-4666     Hayward, CA 94544




Lottie Mcwhorter                        Lotus LLC                        Lotus Oilfield Services
c/o E W Mcwhorter                       PO Box 1278                      8214 Westchester Dr Ste 850
PO Box 507                              Andrews, TX 79714                Dallas, TX 75225-6128
Longview, TX 75606
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Lou Ann Cook                             Lou Ann Davis                          Lou Ann Higginbotham
PO Box 371                               2111 Magnolia Drive                    4304 Westway Avenue
Rosedale, IN 47874                       Ruston, LA 71270                       Dallas, TX 75205




Lou Ann Mackey Melton                    Lou Ann Maddox Davis                   Lou Anne Sampson Hawkins
PO Box 2917                              11575 E 13Th Ave Apt 12                439 Harmony Church Rd
Longview, TX 75606-2917                  Aurora, CO 80010                       Arcadia, LA 71001




Lou Ethel Gaw                            Lou Lamb Corones                       Lou Oriel Dunn Smith Separate Property
15 Cherrywood                            PO Box 6732                            1900 Bent Oak Way
Marshall, TX 756727609                   Annapolis, MD 21401                    Conyers, GA 30013




Lou P Johnson                            Lou Ray                                Lou Steele
2702 Highway 494                         1280 Abrams Rd 106                     PO Box 580
Natchitoches, LA 71457-2950              Dallas, TX 75214                       Mineola, TX 75773




Loualia Boyce                            Loucile Evelyn Howell                  Louella B Ransonet
7782 County Road 476 S                   C/O Patricia E Dawson                  929 Old Spanish Trail
Henderson, TX 75654-8218                 258 Vzcr 1103                          Scott, LA 70583
                                         Canton, TX 75103




Louette Johnson                          Lougee Oil And Gas Trust               Lougene Moore Willie W Moore
1793 Us Hwy 79 S                         D Lougee K Frederiksen F Frederiksen   532 Pine Tree Road
Henderson, TX 75654                      c/o Fred Frederiksen                   Ruston, LA 71270
                                         6614 Northport
                                         Dallas, TX 75230



Louie Royce Hill                         Louis A Greene Jr Estate               Louis A Watson Estate
215 Pinewood Drive                       c/o Greg Greene Co Executor            Mary Lou Watson Co Indp Exec
Carthage, TX 75633                       334 G B Cooley Road                    2521 Timberleaf Drive
                                         West Monroe, LA 71291                  Carrollton, TX 75006




Louis A Williams                         Louis Alan Greene                      Louis Barry Fallin
PO Box 1309                              1416 Woodland Street                   52 Bosworth Circle
Marshall, TX 75670                       West Monroe, LA 71291                  Bella Vista, AR 72714




Louis Betty Bower Family Ltd             Louis C Henderson                      Louis C Patsy Scruggs Liv Tr
PO Box 8910                              11626 South Van Ness Avenue            Louis C Scruggs Ttee
Tyler, TX 75711                          Hawthorne, CA 90250                    5301 Lennox Ave
                                                                                Spencer, OK 73084




Louis Chalmers Jr                        Louis Charles Simpson                  Louis Chris Harris
Priest Aif Janice Chalmers               7034 E Mount Morris Rd                 1209 Walden Street
PO Box 3503                              Mount Morris, MI 48458-9745            Hewitt, TX 76643
Shreveport, LA 71133
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Louis Dennis                             Louis Dorfman                   Louis Douglas Britt
3519 Monroe                              Lockbox 64                      Rr 1
Kansas City, MO 64128                    8144 Walnut Hill Ln Ste 1060    Dubach, LA 71235
                                         Dallas, TX 75231




Louis Edward Ada Gray Jackson            Louis Ford                      Louis G Meyer
811 Davis Rd                             177 Truman Drive                PO Box 235
Simsboro, LA 71275                       Ruston, LA 71270                Dillon Beach, CA 94929




Louis Grigsby Decd Esch                  Louis H Avery                   Louis H Whitehead Jr
PO Box 6335                              492 Deer Creek Rd               2937 Fremont St
Longview, TX 75608                       Sadler, TX 76264                Columbus, OH 43204




Louis Howard Haring Jr Estate            Louis L Michael Trust           Louis Landers
PO Box 17688                             Roxana Michael Kelfer Ttee      20337 Spillway Rd
San Antonio, TX 78217-0688               4001 N New Braunfels Av 1106A   Winona, TX 75792
                                         San Antonio, TX 78209




Louis Lemuel Lee And June Perry Lee      Louis Liang                     Louis Malcolm Sepaugh Jr Trust
4867 Highway 563                         10601 Creston Dr                c/o Regions Bank Nrre Ops
Simsboro, LA 71275                       Los Altos, CA 94024             PO Box 11566
                                                                         Birmingham, AL 35202




Louis Mitchell                           Louis Owens Blaylock Jr         Louis Oxford Kimball
9536 Texhoma Ave                         1401 Santa Fe Trail             PO Box 97
Northridge, CA 91325                     Irving, TX 75063                Harpswell, ME 04079




Louis P Kahn                             Louis Randall Jenkins           Louis S Rockett Rev Tr Dtd 11/14/84
139 Estrella Xing Unit 126               All American Hot Shot Llc       Pearl Rockett Successor Trustee
Georgetown, TX 78628-7059                PO Box 1105                     847 Olena Street
                                         Mills, WY 82644                 Wailuku, HI 96793




Louis Senior Malone                      Louis Sukoff                    Louis Tarleton Hughes
465 Malone Road                          N Shore Towers                  972 Mayfield Ave
Arcadia, LA 71101                        27022 Grand Central Parkway     Winter Park, FL 32789
                                         Floral Park, NY 11005




Louis V Jamison                          Louis Wayne Clark               Louisa Jane Modisette
1045 Fairfax Drive                       1025 Amber Way                  PO Box 5870
Gretna, LA 70056                         Rockwall, TX 75032-7900         Ketchum, ID 83340




Louisa Jane Modisette Trust              Louisa Mae Sepaugh Trust        Louisa Richmond Kates
Jpmorgan Chase Bank Na Trustee           Regions Bank Nrre Operations    22006 Roan Bluff
PO Box 99084                             PO Box 11566                    San Antonio, TX 78259
Fort Worth, TX 76199                     Birmingham, AL 35202
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Louisa W Helm                            Louise A Logan                  Louise A Stackhouse
1936 Ridge Oak Lane                      12231 Monticeto Lane            107 W Fouth St
Knoxville, TN 37922                      Meadows Place, TX 77477         Maysville, KY 41056




Louise Anisman Brenner                   Louise Avonia Seymore North     Louise B Courtney A Widow
24 Kent Rd                               8225 GroganS Ferry Rd           1209 Schex Dr
Scarsdale, NY 10583                      Sandy Springs, GA 30350         Bossier City, LA 71112




Louise B Walton                          Louise Bayless Parsley          Louise Brinkley
216 E 21st St                            3764 Garnet                     2009 Nowlin Road
Cheyenne, WY 82001                       Houston, TX 77005               Coleman, TX 76834




Louise C Fearneyhough                    Louise C Williams               Louise Capel Grubbs
8727 Willingham Dr                       53 Wedgewood Court              409 E Whelan
Houston, TX 77055                        Lake Jackson, TX 77566          Jefferson, TX 75657




Louise Carter Watts                      Louise Chastain Estate          Louise Cross Galloway
415 West Court St                        Beverly Elizabeth Hamblen       PO Box 1627
Winnfield, LA 71483                      Independent Exec                Abilene, TX 79604
                                         2006 Spreading Bough Lane
                                         Richmond, TX 774691860



Louise Dilworth Davis 2006 Tr            Louise E Gahagan                Louise E Morris
c/o Pat E Lange                          1917 Penbrook Dr                1508 Franseri Drive
615 Belknap Pl                           Arlington, TX 76015             Fort Worth, TX 76108
San Antonio, TX 78212




Louise E Thomas                          Louise Elizabeth Mccathern      Louise Faulk Worsham
136 Thomas Road                          Burl E Parks Sr Administrator   Individually And Life Estate
Athens, LA 71003                         PO Box 720165                   PO Box 455
                                         Atlanta, GA 30358               Joaquin, TX 75954




Louise G Hendrickson                     Louise G Kruse                  Louise Grisham Ltd Partnership
c/o John Kennedy State Treas             17653 Cr 3257 South             PO Box 15123
Unclaimed Property Division              Garrison, TX 75946-3712         Monroe, LA 71207-5123
PO Box 91010
Baton Rouge, LA 70821



Louise H Benoit                          Louise H Inkster                Louise H Washington
6026 Del Roy Drive                       2485 Monument Court             133 Mayweather Rd
Dallas, TX 75230                         Linclon, CA 95648               Mansfield, LA 71052




Louise Helvenston                        Louise Holland                  Louise Holmes Worsham
c/o Kathy Williams                       c/o Texas State Treasury        PO Box 455
31 Princesa Drive                        Unclaimed Property              Joaquin, TX 75954
Hot Springs Village, AR 71909            PO Box 12019
                                         Austin, TX 78711-2019
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Louise Houston Hudson                   Louise Jones Grisham             Louise Kuykendall
120 Stella Lane                         714 Simpson St                   1910 Willis Drive
Ruston, LA 71270                        Benton, LA 71006                 Longview, TX 75601




Louise L Robertson                      Louise Langley                   Louise M Farley
c/o Texas State Treasurer               c/o Texas State Treasurer        813 S High Street
Unclaimed Property Division             Unclaimed Property Division      Henderson, TX 75654
PO Box 12608 Capitol Station            PO Box 12608 Capitol Station
Austin, TX 78711                        Austin, TX 78711



Louise M Mcdonald                       Louise M West                    Louise M Whitney
c/o Joe E Jimmy L Mcdonald Poa          216 North Market                 c/o Susan L Fischer Aif
8215 G W Sentell Dr                     Carthage, TX 75633               15 San Gabriel Ct
Shreveport, LA 71115                                                     Fairfax, CA 94930




Louise Mackey Daniels                   Louise Mamon Ealey               Louise Mauritzen Sylvester Est
1201 North Montgomery                   1451 W 121 St                    Billy F Sylvester Indp Exec
Gilmer, TX 75644                        Los Angeles, CA 90047            505 Parkway Drive
                                                                         Plainview, TX 79702




Louise Oxley Bogard                     Louise Oxley Bogard Trustee Of   Louise S Hassell Trustee Of
PO Box 423                              The Louise Oxley Bogard Trust    The Hassell 1989 Trust
Woodworth, LA 71485-0423                702 University Blvd              8324 W Charleston Blvd
                                        Ruston, LA 71270                 Unit 1004
                                                                         Las Vegas, NV 89117



Louise S Patten                         Louise Scott Burks               Louise Smith Wisdom Billy W Wisdom
PO Box 1584                             2518 M L King Jr Ave             1132 Cr 2261
Helotes, TX 78023                       Grambling, LA 71245              Valley View, TX 76272




Louise Snow Randolph Trust              Louise Stokes Jones              Louise Tillery Cornell
c/o Midfirst Trust Company              Route 1 Box 250                  10204 San Lorenzo
501 Northwest Grande Blvd               Laneville, TX 75652              Dallas, TX 75228
Suite 300
Oklahoma City, OK 73118



Louise Torangeau                        Louise Turner Ross Est           Louise West
1 First Canadian Pl 13th Floor          Nealie E Ross Jr Ind Exec        216 N Market St
PO Box 150                              PO Box 470761                    Carthage, TX 75633
Toronto, ON M5X 1H3                     Fort Worth, TX 76147
Canada



Louise Williams                         Louise Woodard Hollis            Louise Yarborough Cain
4687 S 16Th Road                        101 Oak Street                   c/o Edward Jones Company
Fair Play, MO 65649                     Homer, LA 71040                  Acct 755 11173 1 5
                                                                         1900 S Washington Ave Suite C
                                                                         Marshall, TX 75670



Louise Younger Scott                    Louise Z Richey                  Louisiana Claiborne Parish Police Jury
607 Haynes St                           204 Johnnie Dr                   Dwayne R Woodard Road Superintendent
West Monroe, LA 71291                   Shreveport, LA 71105             PO Box 270
                                                                         507 West Main Street
                                                                         Homer, LA 71040
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Louisiana Chemical Equipment Co LLC      Louisiana Crane Construction LLC          Louisiana Credit Trust
PO Box 1490                              Department 373                            Cerianne Mullins Braun Trustee
La Porte, TX 77572-1490                  PO Box 4652                               806 Los Prados De
                                         Houston, TX 77210-4652                    Guadalupe Nw
                                                                                   Los Ranchos, NM 87107



Louisiana Department Of                  Louisiana Department Of                   Louisiana Department Of
Environmental Quality Region 6           Environmental Quality Region 6            Transportation Development
602 N Fifth Street                       PO Box 4301                               PO Box 94245
Baton, Rouge, LA 70802                   Baton, Rouge, LA 70821-4301               Baton Rouge, LA 70804-9245




Louisiana Department Of Revenue          Louisiana Department Of Revenue           Louisiana Department Of Revenue
Collection Division                      PO Box 3138                               PO Box 751
PO Box 281                               Baton Rouge, LA 70821-3138                Baton Rouge, LA 70821-0751
Baton Rouge, LA 70821




Louisiana Department Of Revenue          Louisiana Department Of The Treasurer     Louisiana Department Of The Treasurer
Secretary Of State                       Unclaimed Prop Division                   Unclaimed Prop Office
Commercial Divison                       PO Box 91010                              One City Plaza
PO Box 94125                             Baton Rouge, LA 70821-9010                445 North Blvd 7Th Flr
Baton Rouge, LA 70804-9125                                                         Baton Rouge, LA 70802



Louisiana Dept Of Agriculture Forestry   Louisiana Dept Of Environmental Quality   Louisiana Dept Of Natural Res Office
5825 Florida Blvd                        Financial Services Division               Of Conservation 9th Fl
Baton Rouge, LA 70806-4259               PO Box 4311                               Production Audit
                                         Baton Rouge, LA 70821-4311                PO Box 94275
                                                                                   Baton Rouge, LA 70804-9275



Louisiana Dept Of Natural Resources      Louisiana Dept Of Revenue                 Louisiana Dept Of Revenue
Office Of Conservation                   617 North Third Street                    PO Box 1231
617 North Third Street                   Baton Rouge, LA 70802                     Baton Rouge, LA 70821-1231
9 Floor
Baton Rouge, LA 70802



Louisiana Dept Of Revenue                Louisiana Dept Of Revenue                 Louisiana Dept Of Revenue
PO Box 201                               PO Box 66658                              PO Box 91011
Baton Rouge, LA 70821                    Baton Rouge, LA 70896                     Baton Rouge, LA 70821-9011




Louisiana Dept Of Revenue Taxation       Louisiana Dept Revenue Taxation           Louisiana Exploration And
Sales Tax Department                     Unclaimed Property Section                Production Company Inc
PO Box 91009                             PO Box 91010                              PO Box 2681
Baton Rouge, LA 70822-0001               Baton Rouge, LA 70823-9010                West Monroe, LA 71294




Louisiana Helicam Inc                    Louisiana Land Minerals Inc               Louisiana Methodist Children
PO Box 2021                              PO Box 7137                               Family Services Inc
West Monroe, LA 71294                    Monroe, LA 71211-7137                     c/o Argent Property Svcs LLC
                                                                                   PO Box 1410
                                                                                   Ruston, LA 71273-1410



Louisiana Minerals Ltd                   Louisiana Minerals Ltd                    Louisiana Office Of Conservation
9805 Katy Fwy Ste 500                    PO Box 1142                               PO Box 94275
Houston, TX 77024-1271                   Houston, TX 77251                         Baton Rouge, LA 70804-9275
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Louisiana Office Of Conservation        Louisiana Oilfield Equipment Company Inc   Louisiana One Call System Inc
Production Audit                        PO Box 760                                 PO Box 40715
617 North 3Rd St                        Minden, LA 71058                           Baton Rouge, LA 70835-0715
9Th Flr
Baton Rouge, LA 70802



Louisiana Secretary Of State            Louisiana Secretary Of State               Louisiana State Treasury
8585 Archives Avenue                    Commercial Division                        900 North Third Street
Baton Rouge, LA 70809                   PO Box 94125                               3Rd Floor State Capitol
                                        Baton Rouge, LA 70804-9125                 Baton Rouge, LA 70802




Louisiana Tech University               Louisiana Transportation                   Louisiana United Methodist
128 Keeny Cir                           12755 Enine Mile Rd                        Children Family Services
Ruston, LA 71272                        Warren, MI 48089                           PO Box 929
                                                                                   Ruston, LA 71273




Louisiana United Methodist Children     Louisiana Valve Source Inc                 Louria Dell Jefferson
Family Services Inc                     PO Box 2231                                3056 Johnson St
c/o Argent Property Svcs Inc            Lafayette, LA 70502                        Arcadia, LA 71001
PO Box 1410
Ruston, LA 71273-1410



Loutex Production Company               Louvenia Charles Williams                  Louvenia Gibson Winters
220 Travis Street Ste 501               601 West Grambling                         6311 Woodland Box 10
Shreveport, LA 71101                    Grambling, LA 71245                        Kansas City, MO 64131




Louvenia Mclaughlin                     Love Family Trust                          Love Living Trust Dtd 12/09/08
5983 Mack Road                          301 Harmons Way                            Carmel S Love Trustee
Sacramento, CA 95823                    San Marcos, TX 78666                       15 Falls Terrace
                                                                                   Fair Oaks Ranch, TX 78015




Lovelady Directional Drilling           Lovell E Hayden Iii                        Lovell E Kelley
PO Box 150707                           PO Box 14214                               PO Box 487
Lufkin, TX 75915-0707                   Monroe, LA 71207                           Carthage, TX 75633




Lovell Monroe Jr Separate Property      Lovell Younger                             Lovia Delta Adams
284 Franklin Estates Rd                 10205 Longfellow Ave                       Rt 3 Box 292
Homer, LA 71040                         Oakland, CA 94603                          Mansfield, LA 71052




Lovick Clark Lindley                    Lovie L Brown Hill                         Loving County Ad Valorem Tax
104 Windridge Circle                    776 Liberty Hill Road                      Sherlene Burrows Rpa Rta
Midland, TX 79705-3010                  Simsboro, LA 71275                         PO Box 365
                                                                                   Mentone, TX 79754




Loving County Appraisal District        Loving County Clerk                        Loving County Clerk
PO Box 352                              100 Bell St                                PO Box 194
Mentone, TX 79754                       Mentone, TX 79754                          Mentone, TX 79754-0194
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Lovis O Nail                             Lovvis Downs                       Lowannah E Mastin
154 County Road 2091                     PO Box 1273                        13401 N Rancho Vistoso Blvd
Carthage, TX 75633                       Ignacio, CO 81137                  52
                                                                            Oro Valley, AZ 85755




Lowe Royalty Partners Lp                 Lowell Austin Johnston             Lowell B Anthony
Dept 4                                   463 Santiago Rd Apt A              3716 Barrow Wood Ln
PO Box 4887                              Forty Story, VA 23459              Lexington, KY 40502
Houston, TX 77210




Lowell L Loehnert                        Lowell M Mccoy Iii                 Lowell Maryland
1751 Van Zandt Cr 4930                   PO Box 1038                        380 Dunn Rd
Van, TX 75790                            Pleasanton, TX 78064-1038          Ruston, LA 71270-1259




Lowell Mcclendon                         Lowell Moomaw                      Lowell Moomaw Jr
303 Mckaskle                             405 W Main Street                  615 W North 1st Street
West Monroe, LA 71292                    Stewardson, IL 62463               Stewardson, IL 624631023




LoweS Services Inc                       Lowes Services Inc                 Loweta G Hyatt
PO Box 1554                              PO Box 1554                        PO Box 917
Carthage, TX 75633                       Carthage, TX 75633                 Kilgore, TX 756630917




Lowrey Jr U C                            Lowry Energy Partners              Loy Beene Moore
11205 Highway 80 West                    1106 Aspen Court                   PO Box 5872
Hallsville, TX 75650                     Rockwall, TX 75087                 Bossier City, LA 71111




Loy E Dorsey                             Loy E Dorsey Iii                   Loy Wayne Newsom
2702 Royal Dr                            1501 Briarwood Tr                  2098 Newsom Rd
Kilgore, TX 75662                        Henderson, TX 75654                Shongaloo, LA 71072




Loyce Carroll Swanson                    Loyce Davis Carpenter Dealing In   Loyce Elaine Fallin Morgan
PO Box 591                               Her Sole And Separate Prop         James Samuel Morgan
Logansport, LA 71049                     PO Box 653                         2702 Hundred Oaks Drive
                                         Gladewater, TX 75647               Ruston, LA 71270




Loyce Fulmer                             Loyce Fulmer Family Trust          Loyce Laine Radford
606 Lee St                               Jane F Gibson Judy F Spangler      PO Box 2293
Logansport, LA 71049-0146                Joann F Mcgee Co Trustees          Henderson, TX 75653
                                         PO Box 117
                                         Keatchie, LA 71046



Loyd Holdings LLC                        Loyd T Adams                       Loyd T Hammontree
PO Box 87                                9604 Fm 2658 North                 1307 Whispering Pines
Abilene, TX 79604                        Tatum, TX 75691                    D1
                                                                            Minden, LA 71055
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Loye Barnes                               Loye Jean Ford Sep Prop        Loys Carroll Vidler
1917 Valleyview Dr                        183 East Railroad              PO Box 516
San Angelo, TX 76904                      Grambling, LA 71245            Logansport, LA 71049




Lpc                                       Lpc Crude Oil Marketing LLC    Lpl Financial
21380 Bartlett Lane                       PO Box 3821                    Attn Lisa Rosoff
Bend, OR 97701                            Midland, TX 79702              Attn Legal
                                                                         1 Beacon Street 22nd Floor
                                                                         Boston, MA 02108



Lpl Financial Corp                        Lrm Pipe LLC                   LRR Energy L P
75 State St 22nd Floor                    369 E 8Th St                   Heritage Plaza Suite 4600
Boston, MA 02109                          Greeley, CO 80631              1111 Bagby Street
                                                                         Houston, TX 77002




Lrw Resources                             Ls 111 West Ocean Co LLC       Ls Fj Oates Family Partnership Lp
1510 Mesa Ridge Ln                        PO Box 56798                   205 Cora Street
Austin, TX 78735                          Los Angeles, CA 90074-6798     Center, TX 75935




Ls Land Services                          Lsq Funding Group LLC          Lsu Foundation
Linda M Smith                             Wakefield Oil Co Inc           3796 Nicholson Dr
7017 Cattle Drive                         PO Box 404322                  Baton Rouge, LA 70802-8633
Fort Worth, TX 76179                      Atlanta, GA 30384-4322




Lsus Baseball                             Lt Baldwin Iii                 Lt Energy Services
One University Place                      175 Sheridan Road              La Tex Pump Transportation Lp Dba
Shreveport, LA 71115                      Winnetka, IL 60093             652 N Sam Houston Pkwy E Suite 240
                                                                         Houston, TX 77060




Lts Environmental Inc                     Ltw Services Lp                Lu Jie
704 Adirondack Ave                        PO Box 1397                    Address Redacted
Ventura, CA 93003                         Kilgore, TX 75663




Luan Beaty Mendel                         Luana Gail Henry Howell        Luanne Sturm Holland
PO Box 1639                               3139 State Highway 154W        1320 County Road 64
Mammoth Lakes, CA 93546-1639              Gilmer, TX 75644               Willow Wood, OH 45696




Lubbock Aero                              Lubbock Christian University   Lubbock Electric Company Inc
6304 N Cedar Ave                          5601 19Th Street               1108 34Th Street
Lubbock, TX 79403                         Lubbock, TX 79407              Lubbock, TX 79411-2731




Lubbock Gas Gathering Ltd LLP             Lubco LLC                      Lubrication Services LLC
1227 W Magnolia Ave                       1701 Stanley Avenue            PO Box 201403
Fort Worth, TX 76104                      Ardmore, OK 73401              Dallas, TX 75320-1403
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Lubritech                              Lucas Fidler                       Lucendia Lewis Separate Prop
275 Cr 1942                            Address Redacted                   510 E 73Rd Street
Yantis, TX 75497                                                          Los Angeles, CA 90003




Luci Bollier Sampler                   Lucia Ellis Uihlein Trust          Lucia F Gilliland
3990 Vitruvian Way                     Northern Trust Company Trustee     560 Colonial Road Suite 200
Apt 654                                PO Box 226270                      Memphis, TN 38117
Addison, TX 75001                      Dallas, TX 75222-6270




Lucida Investments Ltd Agency          Lucie B Dennard                    Lucie S Petty
Regions Bank Nrre Operations Agent     The Gardens At Town Square         7100 Glenleaf Rd
Acct 630049005                         933 111Th Avenue Ne Apt 426        Shreveport, LA 71129
PO Box 11566                           Bellevue, WA 98004
Birmingham, AL 35202



Lucile C Staggs                        Lucile Johnson Earls               Lucile L Cole Est
503 Hazel Cir                          505 West Cliff Drive               Daniel L Madden Admin Wwa
Magnolia, AR 71753                     Euless, TX 76040                   PO Box 18
                                                                          Kingsville, OH 44048




Lucile Lock Guardianship Mgmt Trust    Lucile M Clausen Trust             Lucile Monsted King
Southside Bank Trustee                 Samuel Armstrong And William       1825 Calhoun St
PO Box 6170                            Lynch Co Trustees                  New Orleans, LA 70118
Tyler, TX 75711                        PO Box 12867
                                       Tucson, AZ 85732



Lucile Pugh Hands Estate               Lucile Rogers Trust                Lucille Baker Resh
948 Village Walk                       Nationsbank Of Texas Trustee       c/o T Y Bonnie Buchanan
Covington, LA 70433-4000               PO Box 840738                      2532 Wabash Cir
                                       Dallas, TX 75284-0738              Sparks, NV 89434




Lucille Burgess Pullen                 Lucille Copeland Campbell          Lucille Deckard
Deceased                               1941 County Rd 142                 2527 Hudspeth Avenue
PO Box 251                             Ovalo, TX 795413011                Dallas, TX 75216
Mauriceville, TX 77626




Lucille E C Fuller                     Lucille Ewell Goins Rhonda Goins   Lucille F Manson
309 Barkhill Dr                        Brown Et Al Co Conservators        970 Woodmere Rd
Lafayette, LA 70508-5447               7381 La Tijera Boulevard           Santa Maria, CA 93455
                                       Unit 452540
                                       Los Angeles, CA 90045



Lucille Frazier                        Lucille Gant                       Lucille Gladys Williams
1502 Airline Pl                        133 Mayweather Road                1120 Chippendale Dr
Rosharon, TX 77583                     Mansfield, LA 71052                Killeen, TX 76541




Lucille H Paape                        Lucille Hancock                    Lucille K Beaty
1110 Keenan Rd                         308 Private Rd 3437                The Arbor Apt 210
West Lake Hills, TX 78746              Longview, TX 75602                 3002 Westward Dr
                                                                          Nacogdoches, TX 75964
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Lucille Maloney Pool Invstmnt          Lucille Pipes                          Lucille Sorensen
c/o Texas State Treasury               2962 Highway 608                       PO Box 443
Unclaimed Property Division            Newellton, LA 71357                    Springfield, SD 57062-0443
PO Box 12019
Austin, TX 78711-2019



Lucille T Ramsey                       Lucille W Hays Family Ltd              Lucille Williams
4803 Woods Edge                        12377 Merit Dr Ste 777                 c/o Lafayette Williams
Richmond, TX 77469                     Dallas, TX 75251                       637 W 99Th St
                                                                              Los Angeles, CA 99044




Lucille Willie Emmons                  Lucille Wilson Walker                  Lucille Woodard Shelton
5745 Van Zandt St                      3114 Esquire Lane                      5801 Hwy 544
Houston, TX 77016                      Garland, TX 75044                      Simsboro, LA 71275




Lucinda A Dimmick                      Lucinda Ann Thomas                     Lucinda Carnahan
25262 Conrad Court                     2502 Morse St                          33 Riverside Drive Apt 8A
Damascus, MD 20872                     Houston, TX 77019-6734                 New York, NY 10023




Lucinda Devereaux                      Lucinda Stewart Fleming                Lucindia Howard
1509 W Stockwell Street                2038 Albans                            4430 Brown St Apt A
Compton, CA 90222                      Houston, TX 77005                      Lake Charles, LA 70607




Lucindy Roberts Ward                   Lucion H Cornelius Mirjana Cornelius   Lucius Speed
c/o Amergy Bank Agent                  Family Trust Dated 4/22/92             902 Blossom Ln
Personal Trust Dept                    938 Roundhill Road                     Vicksburg, MS 39180-4516
PO Box 27767                           Redwood City, CA 94061
Houston, TX 77227



Lucius W Martin                        Lucretia Bolt Jester                   Lucretia G Goldsmith
1010 Wayne Cir                         2978 Hwy 195 N                         PO Box 1618
Monroe, LA 71202                       Mccaskill, AR 71847                    La Jolla, CA 92037




Lucy A Lutes                           Lucy A Younger                         Lucy B Mills
c/o Walker Associates                  c/o Lucille Younger                    1812 East Diane Drive
PO Box 250969                          1737 Virginia Road                     Compton, CA 90221
Plano, TX 75025                        Los Angeles, CA 90019




Lucy Brower Trust                      Lucy Brower Trust                      Lucy Ford Seago
Jpmorgan Chase Bank N A Ttee           Jpmorgan Chase Bank N A Ttee           948 Oxford Road
PO Box 99084                           PO Box 2050                            Mansfield, LA 71052
Fort Worth, TX 76199-0084              Fort Worth, TX 76113




Lucy Ford Seago Indiv Aif              Lucy Gayle Townsend                    Lucy Hart Hammond Minton
948 Oxford Road                        4 Se Chinica Dr                        8557 Xenium Ln N
Mansfield, LA 71052                    Summerfield, FL 34491                  Osseo, MN 55369
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Lucy Hunt Deterding                     Lucy Jackson Darden                    Lucy Janelle Price Silvey
6641 Avalon Ave                         2107 Spanish Trail                     3322 Hwy 544
Dallas, TX 75214                        Dallas, TX 76107                       Ruston, LA 71270-1219




Lucy Jo Smith                           Lucy Keating                           Lucy M Detjebbes Trust
1422 Cimarron Ave                       3503 S E Caruthers St                  c/o Argent Trust Co Of Louisiana Tstee
Odessa, TX 79761-4221                   Portland, OR 97214                     P O Drawer 1410
                                                                               Ruston, LA 71273




Lucy M Durnell                          Lucy M Goodstein Revocable Tr          Lucy Mae Kind Starling Life Estate
1320 S Center                           Lucy M Goodstein Trustee               15852 State Hwy 135
Casper, WY 82601                        1320 South Center Street               Arp, TX 75750
                                        Casper, WY 82601




Lucy Marie Haden                        Lucy Meadows Deason                    Lucy Rives Cook
2616 Ling Cir                           PO Box 2645                            PO Box 252
Texas City, TX 77591                    Tuscaloosa, AL 35403                   Henderson, TX 75653




Lucy Strain Morgan Estate               Lucy Wainwright Colquitt               Ludde Oil And Gas LLC
Ira Lee Morgan Executor                 67 Tealwood                            8955 Katy Freeway
3469 Bayou Crossing Drive               Shreveport, LA 71104                   Suite 310
Shreveport, LA 71105                                                           Houston, TX 77024




Ludean Newsome                          Ludie Coleman                          Ludlum Measurements Inc
227 Prairie Vista                       General Delivery                       PO Box 972965
Dallas, TX 75217                        Mansfield, LA 71052                    Dallas, TX 753972965




Lue Alice Reynolds Patterson            Lue Charles Napper Separate Property   Lue R Jackson Sep Prop
20329 Denker Ave Apt 2                  PO Box 1104                            232 Levi Road
Torrance, CA 90501-1661                 Ruston, LA 71270                       Arcadia, LA 71001




Luella M Rogers Powers                  Luella S Richardson Test Tst           Luella V Snyder Est
120 County Road 1424                    First National Bank Trustee            Rudolph Mcintyre Jr Ex
Jacksonville, TX 75766-7657             PO Box 1028                            PO Box 1148
                                        Marshall, TX 75671                     Winnsboro, LA 71295




Luella Virginia Snyder                  Luellen Smiley                         Lufkin Industries Inc
Ann Bolton Mcintyre Poa                 PO Box 88                              PO Box 301199
Po Obx 1148                             Yorktown, TX 78164                     Dallas, TX 75303-1199
Winnsboro, LA 71295




Lufkin Industries LLC                   Lugene Younger                         Luis Consulting
100 Kol Dr                              2500 Parham Drive                      11780 Greentree Road
Broussard, LA 70518-3824                Shreveport, LA 71109                   Colorado Springs, CO 80908
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Luis J Cardenas Jr                     Luis Korrodi                     Luis Pasillas
20102 Bayberry Creek Drive             Address Redacted                 Address Redacted
Magnolia, TX 77355




Luk Maxwell                            Luke Donenfeld                   Luke H Shaw And Abby T Shaw
Address Redacted                       58 Lucille Dr                    PO Box 50464
                                       Sayville, NY 11782-1531          Midland, TX 79710




Luke Holland                           Luke Motley Iii                  Lula A Rutledge
1200 Landmark Ctr Suite 800            209 Carroll Street               20012 Live Oak Estate
Omaha, NE 68102                        Center, TX 75935                 Porter, TX 77365




Lula B Mcmurrey Part Iv Trust          Lula Belle Maddox Mays           Lula Belle Mcmurrey Trust
Fbo Lilly L Mcmurrey Francis D         12127 Tara Drive                 Fbo J Mcmurrey M Mcmurrey Jr
Mcmurrey J Mcmurrey L Maddox           Houston, TX 77024                L Maddox J Mcmurrey M Mcmurrey
600 Travis St Ste 6475                                                  600 Travis St Ste 6475
Houston, TX 77002                                                       Houston, TX 77002



Lula Belle Mcmurrey Trusts             Lula Dianne Morris Skidmore      Lula James Thomas
James D Mcmurrey Lula Belle Maddox     513 County Road 1145             5401 Chimney Rock Rd Apt 909
Marvin H Mcmurrey JrAw Corley          Atlanta, TX 75551                Houston, TX 77081
600 Travis St Ste 6475
Houston, TX 77002



Lula Justiss Noonan                    Lula Mae Carnes Trust            Lula Mae Guiton Williams
603 Kings Mountain Dr                  Cecil C Carnes Jr Trstee         4094 2nd Ave
Longview, TX 75601                     1021 Main Street Ste 1960        Sacramento, CA 95817
                                       Houston, TX 77002




Lula Mae Hartley                       Lula Mae Johnson                 Lula Mae Turner
113 Cr 4371                            1605 Birdsong                    232 Davis Rd
Tenaha, TX 75974                       Longview, TX 75602               Simsboro, LA 71275




Lula Mae W Mcchrister                  Luminant Mining Company          Luminant Mining Company LLC
1401 Moravia Street                    PO Box 1359                      1601 Bryan Street
Bethlehem, PA 18015                    Tatum, TX 75691                  Dallas, TX 75201




Luminant Mining Company LLC            Lummie Ray Waits Succession      Lunar Petroleum LLC
PO Box 966                             Tony R Waits Ind Administrator   4925 Greenville Ave Ste 915
Henderson, TX 75653-0966               408 Nicholson Rd                 Dallas, TX 752064021
                                       Arcadia, LA 71001




Lundy Allen Estate                     Lundy E Cavender                 Lupita Salinas Campos
c/o Texas St Treasury Unclaimed        905 North Trenton St             PO Box 1107
PO Box 12019                           Ruston, LA 71270                 Freer, TX 78357
Austin, TX 78711
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Lura T Franzella                        Lurlee Lane Green              Lurline Goss Bowie And T J Bowie
5700 Dorset Way                         PO Box 580                     724 South Ross Street
Sacramento, CA 95822                    Mansfield, LA 71052            Tyler, TX 75705




Lurline Howell Evans Et Al              Luther E Petty                 Luther Edward Gribble Jr
Rt 1 Box 36                             12835 Hunterfield Dr           PO Box 984
Simsboro, LA 71275                      Cypress, TX 77429              San Clemente, CA 92672




Luther Evelyn Garrett Liv Tr            Luther F Fowler Iii            Luther Graham Harvey Martha Sue Harvey
537 Virginia Ave                        PO Box 475                     473 Mitcham Orchard Rd
San Mateo, CA 94402                     Farmerville, LA 71241          Ruston, LA 71270




Luther Hamlin Jr                        Luther L Simonton              Luther Lester
11888 Longridge Dr 2016                 7602 Sterlingshire             1301 Oak Creek Dr
Baton Rouge, LA 70816                   Houston, TX 77016              Hutchins, TX 75141




Luther Richard Pyles Et Ux              Luther Simonton Jr             Luther Wigington
Susan Ann Smith Pyles                   594 Hwy 563                    1130 Camino La Costa
1190 Spring Creek Road                  Dubach, LA 71235               Apt 327
Ruston, LA 71270-1516                                                  Austin, TX 75752




Luvenia Aldy                            Luvennia Fuller                Luvester Harris Carr
3548 Wedgworth Road S                   314 Marx St                    PO Box 35383
Fort Worth, TX 76133                    Monroe, LA 71202               Los Angeles, CA 90035




Lwj Investment Ltd                      Lyda Alice Hernandez           Lyda Fortson Littlefield
425 Ridge Rd                            PO Box 421                     PO Box 184
Grapevine, TX 76051                     Santa Rosa, NM 88435           Rice, TX 75155




Lyda Hunt Margaret Trusts               Lydia Kay Sutton               Lydia Lee Guice Lewis
Lyda Hunt                               308 Stow Creek Rd              663 Highway 563
810 Houston Street                      Ruston, LA 71270               Dubach, LA 71263
Fort Worth, TX 76102




Lydia Lennette Lerma                    Lydia M Robinson               Lydia Maurene Chancey Rvoc Tr
608 East 21st                           2207 Rio Grande St             Kathy L Travers Trustee
San Angelo, TX 76903                    Austin, TX 78705               1109 Toltec Trail
                                                                       Georgetown, TX 78626




Lydia Maurene Meadows Chancey           Lydia S Jackson                Lydia Schapper Estate
317 Tamarac                             2121 Marsh Lane                Peyton Schapper In Exec
Pasadena, CA 91105                      207                            PO Box 228
                                        Carrollton, TX 75006           Alvin, TX 77512
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Lydia Wemple Maranto                     Lyeth Oil Trust                Lyle Brandon
4120 Lakeway Circle                      c/o Kanaly Tr Co Succ Co Tre   316 County Road 7756
Benton, LA 71006                         PO Box 2227                    Devine, TX 78016-5248
                                         Houston, TX 77252




Lyle J Or Cheryl A Moore J/T             Lyn Brown                      Lyn Carol Otts A/K/A Sally Pruitt
1864 Peach Rd                            403 Sophie Court               PO Box 414
Rio Rancho, NM 87144                     Pflugerville, TX 78660         Newcastle, TX 76372




Lynch Chappell Alsup                     Lynda A Hodges                 Lynda Bell Washington
300 N Marienfeld Suite 700               PO Box 103                     314 West Ave J
Midland, TX 79702                        Larue, TX 75770-0103           Muleshoe, TX 79347




Lynda Black Plummer                      Lynda D Sisemore               Lynda Firth
208 Hidden Cove Circle                   1414 Palmnold Circle East      1121 Plover Ave
Tool, TX 75143                           Fort Worth, TX 76120           Miami Springs, FL 33166




Lynda Gray Todd                          Lynda Jane Pippen Timms        Lynda K Nutt Fowler
c/o Texas Comptroller Accounts           1827 Castlewood Drive          Life Estate 304 Davis Street
Unclaimed Property Division              Bossier City, LA 71111         Carthage, TX 75633
PO Box 12019
Austin, TX 78711-2019



Lynda Kay Vincent                        Lynda L Foersterling           Lynda L Mcgrede
PO Box 862                               300 Pencarrow Cir              2936 Smelley Road
Tatum, TX 75691                          Madisonville, LA 70447         Longview, TX 75606




Lynda Lee Letkiewicz                     Lynda Lee Scurlock             Lynda Martinez
10204 San Lorenzo Drive                  PO Box 1403                    PO Box 775
Dallas, TX 752283027                     Shreveport, LA 71164           Hawley, TX 79525




Lynda Smith Evans                        Lynda Strickland Alpenfels     Lynda Sue Estoll
PO Box 721                               2004 Champions Drive           552 Cr 2460
Livingston, TX 77351                     Lufkin, TX 75901               Mineola, TX 75773




Lynda Sue Madole                         Lynda Sue Scales               Lynda Watson
8510 Millicent Way Apt 814               160 Hidden Valley Rd           710 Danville Rd A1
Shreveport, LA 71115-2272                Abilene, TX 79603              Kilgore, TX 75662




Lynda Young Kaffie                       Lyndal Amber White             Lyndal Amber Willet White
4101 Benedict Lane                       109 Terrace Bluff Ct           109 Terrace Bluff Ct
Austin, TX 78746                         Aledo, TX 76008                Aledo, TX 76008
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Lyndee Gallahan Dickerson                 Lyndell Rippy                    Lynden A Ruester Rev Trust
PO Box 639                                770 Cr 3341                      Linda Borgsdorf Judith Conger
Lindale, TX 75771                         Joaquin, TX 75954-4962           Co Trustees
                                                                           409 Argo Drive
                                                                           Ann Arbor, MI 48105



Lynden Ruester Simple Trust               Lyndon Erroll Dawson Jr          Lyndon L Nicholas
C/0 Linda Borgsdorf                       2505 N Trenton Street            1100 Foley St
409 Argo Dr                               Ruston, LA 71270                 Henderson, TX 75654-4269
Ann Arbor, MI 48105




Lyndon Specht                             Lynee Bierdz Trust               Lynette D W George
424 Cr 126                                PO Box 660                       777 Overland Trail
George West, TX 78022                     Tyler, TX 75701                  Suite 107
                                                                           Casper, WY 82601




Lynette Lewis Ward                        Lynette Mitchell                 Lynette Woodward M Jackson
Texas Bank And Trust                      245 Sportsman Paradise Rd        222 Woodward Road
c/o Trust Division                        Many, LA 71449                   Columbia, LA 71418
PO Box 2749
Longview, TX 75606



Lynley K Stinson                          Lynn A Lomax                     Lynn A Miller
3706 Spring Hill Rd                       4805 Crescent Dr                 2202 North Glenwood Dr
Gillette, WY 82718                        Shreveport, LA 71106             Stillwater, OK 74075




Lynn Boyd May                             Lynn Boyer Inc                   Lynn C Beaty
1106 Se 8Th St                            PO Box 1611                      Donna Jones Beaty
Lees Summit, MO 64063-6401                Ardmore, OK 73402                PO Box 967
                                                                           Haughton, LA 71037




Lynn C Peppeard                           Lynn Carter Crump                Lynn D Thomas
23 Trafalgar Pl                           402 Myrtle Drive                 23493 Olde Meadowbrook Circle
Conroe, TX 77384-5117                     Jacksonville, TX 75766           Bonita Springs, FL 34134




Lynn Dee Carroll Brown                    Lynn Denise Barnes               Lynn Elsner
247 Pomeroy                               12708 Chateaux Rd                PO Box 1645
Shreveport, LA 71115                      Oklahoma City, OK 73142          Highlands, NC 28741




Lynn Froschauer                           Lynn G Fuller Trust              Lynn G Johnson
Address Redacted                          Attn Pauk Peckosh                1115 George Street
                                          PO Box 747                       Bartow, FL 33830
                                          Dubuque, IA 52004




Lynn H Stanley                            Lynn Hauser And Valerie Hauser   Lynn Hitt
PO Box 525                                2227 Davie St                    2014 River Falls Drive
Carthage, TX 75633                        Davenport, IA 52804              Kingwood, TX 77339
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Lynn Jene Rogers                         Lynn Kagan Edelman Trust       Lynn L Lally
2735 Cr 3000                             U/W/O Morris Kagan             10929 S Darlington
Joaquin, TX 75954                        Lynn Edelman Trustee           Tulsa, OK 74137
                                         1000 Upt0Wn Park 104
                                         Houston, TX 77056



Lynn L Ward                              Lynn May                       Lynn Mckelvey Chambers
336 Cottonwood Lane                      800 16 Ave Ee Apt 27           1000 Landmark Road
Hurst, TX 76054                          Minot, ND 58701                Kerrville, TX 78028




Lynn Mckenzie                            Lynn Morris                    Lynn Or Vera Kinderknecht
PO Box 7573                              28 Tennis Village Drive        3107 Tam OShanter Dr
Amarillo, TX 79114                       Heath, TX 75032                Hays, KS 67601




Lynn Pennal Grant                        Lynn R And Janet R Copeland    Lynn R Moore
101 Pennys Path                          47 North Royal Fern Drive      7881 Southmark Drive
Beckville, TX 75631-7101                 The Woodlands, TX 77380-3402   Frisco, TX 75035




Lynn Raymond Mankin                      Lynn Robinson Pomeroy Iii      Lynn Rutland Rafferty
3 Riverwynde Drive                       349 Evangeline Dr              5123 Holly Terrace
Arundel, ME 04046                        Elm Grove, LA 71051            Houston, TX 77056




Lynn S Billingsley                       Lynn Scott Webb                Lynn Simmons
214 Saint Charles Avenue                 3505 Buckhorn Dr               5605 Fm 225 South
Valparaiso, FL 32580                     Lexington, KY 40515            Henderson, TX 75654




Lynn Skannal Kruse                       Lynn Slayton Yeldell           Lynn T Rogers
2712 S IntL Blvd 269                     1211 West Mary Street 2        4308 Edmondson Avenue
Weslaco, TX 78596                        Austin, TX 78704               Dallas, TX 75205




Lynn Tharpe                              Lynn Zander Womble             Lynn Zumbrennen
809 Short Ransom Street                  2320 Meadows Lane              Hcr 65 Box 183
West Monroe, LA 71291                    Sherman, TX 75092-3001         Kanarraville, UT 84011




Lynnda Ann Tiano                         Lynne Abney ONeal              Lynne Beckett Tognoli
206 Rover Blvd                           123 Highway 821                4798 13Th Avenue N E
Los Alamos, NM 87544                     Choudrant, LA 71227            Keizer, OR 97303




Lynne Bivins Simpson Remainder Trust     Lynne L Waslohn Trust          Lynne Miller
June Bivins Baumoel Tre                  Utd 11/21/03                   1611 S Utica 236
110 Roy Creek Trail                      Lynne L Waslohn Trustee        Tulsa, OK 74104
Dripping Spring, TX 78620                1732 Rockville Road
                                         Fairfield, CA 94534
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Lynne Morris Barnett                      Lynne Pirtle Trust                 Lynne W Phillips Trustee Of
6134 Ranch Road 1077                      PO Box 8509                        Lynne W Phillips Trust Dtd 5 11 99
Bandera, TX 78003                         Tyler, TX 75711-8509               3 Vintage Court
                                                                             Petaluma, CA 94954




Lynne Whaling Talbot                      Lynnee M Lorentzen                 Lynnell Jackson Burkett
PO Box 470215                             Monolithveien 3                    23 Donore Square
Fort Worth, TX 71647                      Oslo 0369                          San Antonio, TX 78229
                                          Norway




Lynnwood J M Hill                         Lyntegar Electric Coop Inc         Lynton Bert Irish Qualified Tr
PO Box 59521                              PO Box 970                         Bette W Irish Trustee
Los Angeles, CA 90041                     Tahoka, TX 79373-0970              515 Spring Lake Dr
                                                                             Shreveport, LA 71106-4603




Lyon Supply Co                            Lyons Properties LLC               Lzb Energy LLC
420 E 4Th Street                          Sally Lyons Wood And               Attn David E Brown
Long Beach, CA 90802                      Charlton H Lyons Iii Co Managers   PO Box 836
                                          PO Box 67029                       Giddings, TX 78942
                                          Baton Rouge, LA 70806



M 3 Investments                           M A Begona Prada                   M A Custer
709 A Banyan Cts                          600 Prada Machin Drive             PO Box 2334
Laredo, TX 78041                          Laredo, TX 78046                   Midland, TX 79702




M A Treadwell Md                          M A Youngblood Shemwell            M Alton Evans Jr
600 S Ammerman Ave                        Separate Property                  P O Drawer 1768
Eastland, TX 76448-2502                   4431 Fern Avenue                   Shreveport, LA 71166
                                          Shreveport, LA 71105-3103




M And B Partners                          M Anne Mcmurrey Swanson Est        M B Edwards Properties LLC
PO Box 1247                               c/o Ind Admr Sally E Swanson       5781 Hwy 518
Bellville, TX 77418                       PO Box 5586                        Athens, LA 71003
                                          Austin, TX 78763




M B Hochendale                            M Barneson Fbo Aw                  M Barneson Fbo Mw
15210 Ridgewell Dr                        PO Box 85832                       PO Box 85832
Houston, TX 77062                         San Diego, CA 92186-5832           San Diego, CA 92186-5832




M Barneson Fbo Sj                         M Berry Grant Jr                   M C T LLC Dba Hot Wheels Trucking
PO Box 85832                              7223 Trevor Court                  PO Box 691386
San Diego, CA 92186-5832                  Charlotte, NC 28270                Houston, TX 77269-1386




M Claire Hose Tr Selman Akyol             M Cynthia Webster                  M D Adkins
Successor Trtee                           PO Box 38                          1601 Elm Street Suite 4301
327 N Cedar Lake Dr W                     Joaquin, TX 75954                  Dallas, TX 75254
Columbia, MO 65203
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M D Electric                              M Dayton Conklin Jr               M Delores Williams
5080 Jumpoff Joe Creek Rd                 201 Montclair                     2103 Ringtail Ridge
Grants Pass, OR 97526-8757                San Antonio, TX 78209             Austin, TX 78746




M Douglas Walton                          M E Church                        M F Rosa Diary
150 Encounter Point                       Harmony At Centennial Me Church   10090 2nd Avenue
Ruston, LA 71270                          At Deherry                        Hanford, CA 93230
                                          410 Boynton St
                                          Carthage, TX 75633-1816



M F Strange And Associate Inc             M G Cohen Properties LLC          M G Development Lp
PO Box 1484                               3933 E 58Th Pl                    PO Box 8
Santa Barbara, CA 93102                   Tulsa, OK 74135                   Alice, TX 78333-0008




M G Oil And Gas Inc                       M Grace Inc                       M H M Resources Lp
PO Box 225                                PO Box 1108                       PO Box 202656
Labarge, WY 83123                         Henderson, TX 75653               Dallas, TX 76006




M I Jackson Properties Ltd                M I LLC                           M I Swaco LLC
5630 Dyer Street                          PO Box 732135                     PO Box 200132
Dallas, TX 75206                          Dallas, TX 75373-2135             Dallas, TX 75320-0132




M J Construction                          M J Phillips Est                  M J Valve Services
1855 Fm 31 North                          c/o Texas State Treasury          PO Box 3307
Deberry, TX 75639                         Unclaimed Property Division       Lafayette, LA 70502
                                          PO Box 12019 Capitol Station
                                          Austin, TX 78711



M J W Partners Lp                         M K Hydrovac Inc                  M Kala Bobbitt Atwood
c/o Vicki Jayson                          808 County Road 215               Rr 1 Box 167
PO Box 192727                             Parachute, CO 81635               Great Bend, KS 67530
Dallas, TX 75219




M Kangerga And Brothers                   M Key/Nancy Collie Collie         M Kurt Chapman
102 East Main Street                      PO Box 201884                     PO Box 344
Henderson, TX 75652                       Houston, TX 77216                 Post, TX 79356




M Linda Ensor                             M M Industries Inc                M M Trucking Company
310 Hamlet Rd                             8480 Highway 182 E                PO Box 872
Summerville, SC 294855252                 Morgan City, LA 70380-2480        Kermit, TX 79745




M Mcdonnold Jr                            M O Barber                        M O Oil And Gas Corp
505 N Big Spring Ste 204                  2329 N Side Dr                    PO Box 1592
Midland, TX 79701                         Bossier, LA 71010                 Ruston, LA 71272
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M P Dowden                             M Peyton Bucy                  M Q Oilfield Service Inc
6110 Lafaye Street                     1775 Sherman St Ste 2870       PO Box 1451
New Orleans, LA 70122                  Denver, CO 80203               Levelland, TX 79336




M R Anderson Ltd                       M R Banding Inc                M R Design
M R Anderson Co Llc Gen Prtnr          PO Box 2766                    6611 Bissonnet St Ste 110
Spencer Anderson POA                   Gillette, WY 82717             Houston, TX 77074-6525
PO Box 966
Marshall, TX 75671



M R Trucking Inc                       M Richard Baxter Et Ux         M S Global Inspection
PO Box 600                             Frances Baxter                 PO Box 1424
Farmington, NM 87499                   PO Box 25043                   Blanchard, LA 71009
                                       Dallas, TX 75225-1043




M S Grinding Service LLC               M S Harrington                 M S Hirsch By Thru Danny
PO Box 1074                            c/o Texas State Treasury       Buck Davidson Receiver In
Ruston, LA 71273                       Unclaimed Property Division    Cause A 7228 District Court
                                       PO Box 12019 Capitol Station   Panola County Courthouse
                                       Austin, TX 78711-2019          Carthage, TX 75633



M S Powell                             M Sam Jones Jr                 M Smithwick Schultz
2521 Reagan Ln                         107 Banks Street               4039 Mohawk Dr
Groves, TX 77619                       West Monroe, LA 71292          Larkspur, CO 80119




M Steve Smith Associates               M W Bit Service Inc            M W Hot Oil Inc
1177 West Loop S Ste 1100              PO Box 91269                   PO Box 69370
Houston, TX 77027-9083                 Long Beach, CA 90809           Odessa, TX 79769




M W Minerals At A La LLC               M W Rambo Family Trust         M1 Transport LLC
5920 East Ridge Dr                     5225 S Prince St Apt 911       11814 Fm 1462
Shreveport, LA 71106                   Littleton, CO 80123-7777       Alvin, TX 77511




Ma Britt                               Ma Sirgo Iii                   Mabel Bowden
500 Hundred Oaks Dr                    PO Box 3805                    PO Box 607
Ruston, LA 71270                       Midland, TX 79702              Logansport, LA 71049




Mabel H Williams                       Mabel Liner Best               Mabel Mclaughlin
PO Box 6393                            2333 Bocage Pl                 623 East 109Th Street
Corpus Christi, TX 78466               Ruston, LA 71270               Los Angeles, CA 90059




Mabel Moseley Garland                  Mabel R Coleman                Mabel Richardson Test Trust
401 Rose Garden Circle                 5567 Greenway St               c/o Jp Morgan Chase Bank Na
Apartment Cc32                         Detroit, MI 48204-2112         PO Box 2558
Shreveport, LA 71115                                                  Houston, TX 77252-8033
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Mabel Ruth Persinger Sayes                Mabel T Wells Living Trust     Mabel T Wells Trust Estate
1132 Vick Road                            Mabel T Wells Trustee          Stephen Hudnall Succ Ttee Adm
Vick, LA 71331                            PO Box 936                     Attn Barbara Blackburn
                                          Quitman, TX 75783              PO Box 936
                                                                         Quitman, TX 75783



Mable Brown Deceased                      Mable C Mccrary Beaulieu       Mable Costlow
13130 E 5000S Rd                          1206 Jerry Street              PO Box 1673
St Anne, IL 609644978                     Jonesboro, LA 71251            Chandler, TX 75758-1673




Mable Shirey                              Mable Towers                   Mable Whitaker
105 Oak                                   3326 Durango Way               7820 Weld St
Homer, LA 71040                           Stockton, CA 95206-3868        Oakland, CA 94621




Mable Whitten Muckelroy                   Mabline Harris Faison          Mac Arthur Compton
c/o Texas State Treasury                  8112 Jamacha Road              421 Stonehaven Dr
Unclaimed Property Division               San Diego, CA 92114            Ames, IA 50010
PO Box 12019
Austin, TX 78711-2019



Mac H Mcphearson Jr                       Mac Oil Field Company Inc      Macdonald 1996 Revocable
PO Box 867                                1007 W Dale Street             PO Box 5870
Joaquin, TX 75954                         PO Box 669                     Ketchum, ID 83340
                                          Winters, TX 79567




Macdonald Family Irrevocable Trust        Macdonald Oliver Iii           Macfran LLC
c/o Ian Macdonald                         PO Box 3448                    1419 Metro Dr
400 East Centre Park Blvd Ste 101         Durango, CO 81302-             Alexandria, LA 71301
Desoto, TX 75115




Mach 5 Couriers Inc                       Machin Associates Inc          Machine Support Technologies
PO Box 52490                              PO Box 2999                    2809 Unicorn Road Suite 109
Houston, TX 77052                         Longview, TX 756062999         Bakersfield, CA 93308




Mack Blake Bowers                         Mack Bolt And Steel            Mack Camp
35 Mill Court                             5875 East State Hwy 21         5508 N Us Highway 69
Abilene, TX 79603                         Bryan, TX 77808                Pollok, TX 75969-4552




Mack Dunaway                              Mack Energy Corp               Mack Mayfield
240 East Wilson Avenue                    PO Box 960                     30037 Matthew Drive
Pontiac, MI 48341                         Artesia, NM 88211-0960         Westland, MI 48185




Mack O Laird                              Mack Residuary Trust           Mackenzie Anne Price
c/o Brant Laird                           Marion Thomas Mack Trustee     1402 Mary Lee Lane
2901 N Henderson Ave                      806 Eden Drive                 Longview, TX 75601
Dallas, TX 75206                          Longview, TX 75605
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Mackenzie J Mcrae                        Maclin Electric LLC                       Macquarie Bank Limited Sydney
3300 Anchor Drive                        PO Box 74                                 No 1 Martin Place
Plano, TX 75023                          Mineola, TX 75773                         Sydney NSW 2000
                                                                                   Australia




Mad Money LLC                            Madalyn Marchman Jones Trust              Maddox Air Conditioning Inc
Joseph Luke Rogers                       Wells Fargo Bank Na Trustee               125 S Bonner
5406 Heartland Ct                        Oil Gas Mineral Admin                     Tyler, TX 75702
Midland, TX 79707                        PO Box 5383
                                         Denver, CO 802175383



Maddox Family Trust                      Madeleine M Dart Estate                   Madeleine M Dart Residuary Tr
L Lowry Mays Succ Trustee                Timothy James Dart Ind Exec               Timothy James Dart Trustee
250 W Nottingham Ste 400                 PO Box 631767                             PO Box 631767
San Antonio, TX 78209                    Nacogdoches, TX 75963                     Nacogdoches, TX 75963




Madeline B Musgrove                      Madeline Kirkland                         Madeline Louise Hanrahan
104 Dannell Dr                           4240 Marshall St                          PO Box 322
Stamford, CT 06905                       Zachery, LA 70791                         Sunapee, NH 03782




Madeline M Bradicich                     Madeline Meyer Riley                      Madeline Murphy Tyng Dodson Trust
15 Hawthorne Ave                         2012 Tiffin Road                          Jpmorgan Chase Bank N A Ttee
Floral Park, NY 11001                    Oakland, CA 94602                         PO Box 99084
                                                                                   Fort Worth, TX 76199-0084




Madeline Murphy Tyng Dodson Trust        Madeline Pyle Johnston                    Madeline Seabaugh
Jpmorgan Chase Bank N A Ttee             5319 Holterman Rd                         9517 Orangewood Trl
PO Box 2050                              Bastrop, LA 71220                         Denton, TX 76207
Fort Worth, TX 76113




Madeline T Roan Trust Dated 12/14/90     Madeline Terrell Fisher                   Madelyn S Lichtenberger
Madeline T Roan Trustee                  110 E Sycamore Lane                       905 E San Marcos
6203 Alden Bridge Dr                     Longview, TX 75604                        Pearsall, TX 78061
Apt 6112
Woodlands, TX 77382



Madge Brown                              Madge Davis King                          Madge Dennard Gilpin
Union State Bank Acct 00880337           Acct No 1 91 019 1                        411 E Larkspur Apt 3A
PO Box 600                               First Guaranty Bank                       Victoria, TX 77904
Florence, TX 76527                       PO Box 248
                                         Dubach, LA 71235



Madge Elise Billie Arney                 Madge Hill                                Madge Terry Trust
PO Box 915                               2365 Tangley St                           Amegy Bank National Assoc Ttee
Hemphill, TX 75948                       Houston, TX 77005                         c/o Trust Division
                                                                                   PO Box 27767
                                                                                   Houston, TX 77227-7767



Madison Brent Gentsch                    Madison Capital Energy Income Fund I Lp   Madison Capital Energy Income Fund Ii Lp
300 Legacy Dr 2434                       402 Gammon Place Suite 200                402 Gammon Place Suite 200
Plano, TX 75023                          Madison, WI 53719                         Madison, WI 53719
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Madison County Clerk                   Madison County Tax Office             Madison D Holcomb
103 W Trinity Street                   Karen M Lane Tax Assessor Collector   104251 S 3310 Rd
Room 104                               PO Box 417                            Harrah, OK 73045
Madisonville, TX 77864                 Madisonville, TX 77864-0417




Madison Dunham Lowry                   Madison G Covington                   Madison Interests LLC
300 Winterberry Cove                   507 Avenue H S E                      Attn John M Madison Jr
New Braunfels, TX 78132                Winter Haven, FL 33880                PO Box 21990
                                                                             Shreveport, LA 71120




Madison Lane Beckham                   Madison Masonic Center Found          Madison Royalty Management LLC
209 Hwy 545                            301 Wisconsin Ave                     402 Gammon Place
Dubach, LA 71235                       Madison, WI 53703                     Suite 200
                                                                             Madison, WI 53719




Madolene Grigsby Ringgold Esch         Madonna Elbert                        Madras Investments Lp
9724 Ash St                            37 4Th St                             6303 N Portland Suite 304
Shreveport, LA 71115                   Bonita Springs, FL 341347306          Oklahoma City, OK 73112




Madrey Company LLC                     Madrona Energy Inc                    Maduro Oil Gas LLC
M Taylor Warren Ii                     PO Box 1417                           3102 Maple Ave Ste 400
PO Box 5232                            Bellaire, TX 77402                    Dallas, TX 75201
Shreveport, LA 72235




Mae Alice Wiley Grantor Trust          Mae B Malone                          Mae Bell Frazier
Lowell W Stephens Trustee              985 Sandhill Rd                       Dovie White Conservator
6300 Ridglea Pl Suite 318              Quitman, LA 71268                     6331 Fairmont Ave 394
Fort Worth, TX 76116                                                         El Cerrito, CA 94530




Mae Dean Conley                        Mae Dorothy Fincher Executrix         Mae F Cameron Riley
2204 Cooktown Road                     John Louis Fincher Jr Est             404 Ridgecrest
Ruston, LA 71270                       17714 Loring Ln                       Longview, TX 75602
                                       Spring, TX 77388




Mae Garen Mcgregor Houston             Mae Grundusky Estate                  Mae Hawkins
PO Box 5909                            Bernard J Grundusky Executor          c/o Unclaimed Property Div
Shreveport, LA 71135                   6 Slate Hill Rd                       Capitol Building
                                       Camp Hill, PA 17011                   PO Box 94788
                                                                             Lincoln, NE 68509



Mae I Rodden Estate                    Mae Jewel Thompson Sep Prop           Mae N Shadoin
5460 E Mansfield Avenue                3138 Harlandale Avenue                314 Northwood Place
Denver, CO 80237                       Dallas, TX 75216                      Ruston, LA 71270




Mae Stephens Norris                    Maecenas Minerals LLP                 Maetee Butler Wall
7808 Annie Lee St                      3838 Oak Lawn Avenue                  10942 Elm Ave
Dubach, LA 71235                       Suite 300                             Lynwood, CA 90262
                                       Dallas, TX 75219-4541
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Maetee Butler Wall F/A/O                Mag Datacenters LLC                    Magdalean Young
Ethel Jean Butler Albritton             4300 Brighton Blvd                     202 Ventura Drive
10942 Elm Ave                           Denver, CO 80216                       West Monroe, LA 71292
Lynwood, CA 90262




Magdalene L Horne                       Magellan Midstream Partners LP         Maggie L Green Brewster
Rte 1                                   One Williams Center                    1223 Roosevelt Street
Joaquin, TX 75954                       Tulsa, OK 74172                        El Dorado, AR 71730




Maggie Mae Pentecost Roden              Magic Dog Oil Gas                      Magic MR LLC Colo St Bank A/C
4157 Anita                              PO Box 10708                           Jhs 1 Llc
Fort Worth, TX 76109                    Midland, TX 79702                      1720 S Bellair St Ste 1209
                                                                               Denver, CO 80222




Magna Energy Services LLC               Magnolia 23 Properties LLC             Magnolia Bennett Rentz
20661 Niobrara Blvd                     1502 Augusta Dr Ste 250                1001 South 6Th St
La Salle, CO 80645-6001                 Houston, TX 77057                      Yakima, WA 98901




Magnolia Rebekah Lodge No 130           Magnolia Royalty Company Inc           Magnum Drilling Services Inc
400 West Terrell                        PO Box 10703                           PO Box 4280
Fort Worth, TX 76104                    Midland, TX 79702                      Palestine, TX 75802-4280




Magnum Hunter Resources Corp            Magnum Oil Tools Intl Ltd              Magnum Producing Lp
909 Lake Carolyn Pkwy Suite 600         5655 Bear Lane                         500 N Shoreline Suite 322
Irving, TX 75039                        Suite 100                              Corpus Christi, TX 78471
                                        Corpus Christi, TX 78405




Maharger Inc                            Mahr Minerals LLC                      Mailfinance
Attn David J Graham                     Farmers National Company Agent         25881 Network Place
9 Greenway Plaza Suite 3030             Oil Gas Dept                           Chicago, IL 60673-1258
Houston, TX 77046                       PO Box 3480
                                        Omaha, NE 68103



Main Street Holding Company             Main Street Holding Company            Mainstream Marketing
11413 W 104Th St                        c/o Daniel J Haake                     5130 Franz Rd
Overland Park, KS 66214                 11413 W 104Th St                       Suite 100
                                        Overland Park, KS 66214                Katy, TX 77493




Maitland Anne Wells                     Maizie E Hunter Perreault              Maj Michael R Tuttle
5911 Monticello Ave                     1231 Lakeview Drive                    637 Tierra Verde Ct
Dallas, TX 75206                        Lynchburg, VA 24502                    Colorado Springs, CO 80904-2584




Majadas Investment Corporation          Major Equipment Remediation Services   Major Howard Jr
Joseph M Wetegrove                      PO Box 3616                            PO Box 621006
950 Wagner Way                          Morgan City, LA 70381                  Los Angeles, CA 90062
Lantana, TX 76226
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Major Mccloud                          Majorie Elizabeth Mayberry              Make A Wish Foundation Of North Texas
301 Mckaskle Street                    c/o David Mayberry                      Shooting Stars Clay Shoot
West Monroe, LA 71291                  215 505 Finkle Street                   215 Winchester Dr
                                       Woodstock, ON N4V 0B4                   Suite 109
                                       Canada                                  Tyler, TX 75701



Mal Pace LLC                           Malaer Gauging Service                  Malakoff Oil Control Account
c/o James Mallory Pace                 PO Box 101                              Frost National Bank Trustee
2594 East River Birch Drive            Tuleta, TX 78162                        PO Box 1600
Fayetteville, AR 72703                                                         San Antonio, TX 78296




Malco Royalties Ltd                    Malcolm Addison Buchanan                Malcolm E Wilson Iii
PO Box 6738                            6343 Fm 124 W                           1411 Southmoor
San Antonio, TX 78209                  Beckville, TX 75631                     Arlington, TX 76010




Malcolm Eugene Norris                  Malcolm Evans                           Malcolm Evans Panola Co Tax Office
PO Box 144                             PO Box 203368                           Perdue Brandon
Southaven, MS 38671                    Austin, TX 78720-3368                   Fielder Collins Mott Llc
                                                                               913 B Pegues Place
                                                                               Longview, TX 75601



Malcolm L Collins                      Malcolm W Anderson                      Malcolm W Anderson Jr
202 Douglas Garrett Road               4204 Lark St                            PO Box 346
Winnfield, LA 71483                    Bossier City, LA 71112                  Princeton, LA 71067




Malcomb G Fearneyhough                 Malee M Holland                         Malinda Bohannon
516 South Lariat Circle                1618 Clearbrook Circle                  602 Dodd Street
Dripping Springs, TX 78620             Henderson, TX 75652                     Longview, TX 75603




Malinda Evans Jones                    Malinda Massie Anderson                 Malinda Ravnikar Nelson
4724 Fm 2204                           6136 East Joan De Arc                   521 Cypress Wood Lane
Longview, TX 75602                     Scottsdale, AZ 85254                    Delta, CO 81416




Mallard Royalty Partners               Malley Family Trust                     Mallory Browning Oconnor
PO Box 52267                           1237 S Euclid Ste B                     2626 Cole Ave
Midland, TX 79710                      Anaheim, CA 92802                       Ste 504
                                                                               Dallas, TX 75204




Mallory Land Minerals LLC              Mallory Lee Waugh                       Mallory Nicole Myers
1027 Red Rock Canyon                   1407 Jefferson Ave                      PO Box 1299
Katy, TX 77450                         Marshall, TX 75670                      J0Shua, TX 76058




Malloy Oil And Gas Properties          Malvin Staff And Ruth Lathan Staff Cp   Mamie B Adams Reed
PO Box 18414                           PO Box 86                               3927 South Harvard
Oklahoma City, OK 73154-0414           Grambling, LA 71245                     Los Angeles, CA 90062
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Mamie Whitten                          Mamie Wyatt Dickson              Man Tex Manufacturing Welding Inc
c/o Texas State Treasury               Wi Dickson                       22505 Highway 6
Unclaimed Property Division            2922 Carpenter Avenue            Rifle, CO 81650
PO Box 12019                           Dallas, TX 75201
Austin, TX 78711-2019



Man Welding Services Inc               Mancill Grant Lee                Manderson Group Lp
PO Box 1541                            301 Rock Mill Loop               The Northern Trust Co As Agent
Lovington, NM 88260                    Georgetown, TX 78626-7464        PO Box 226270
                                                                        Dallas, TX 75222-6270




Mandi Foster                           Mandy Suzanne Prescher           Maneysa Sage Huskey G/S
1005 N Ameritrade Place                27 Marigold                      U/W/O C Gay Pearson
Bellevue, NE 68005                     Aliso Viejo, CA 92656            PO Box 1775
                                                                        Kilgore, TX 75663




Maneysa Sage Huskey Gst                Maneysa Sage Huskey Rvcb Trust   Manion Family LLC
U/W/O Lucille Parks                    PO Box 1775                      366 South York Street
PO Box 1775                            Kilgore, TX 75663                Denver, CO 80209
Kilgore, TX 75663




Manitowoc Oil Company Inc              Mann Family Tr                   Manning Safety Services Inc
PO Box 50694                           Mary K Mann Ttee                 PO Box 502
Midland, TX 79710                      10 Bristol Ct                    Jourdanton, TX 78026
                                       Midland, TX 79705




Manon Markham Mcmullen                 Manooch Services                 Mansel Lancaster
2200 Berkley                           PO Box 234                       PO Box 314
Wichita Falls, TX 76308                Walker, LA 70785                 Mauriceville, TX 77626




Manual Adams                           Manuel A Benavides               Manuel Alfonso Benavides
PO Box 2722                            1019 Chihuahua                   PO Box 3508
Richmond, CA 94802                     Laredo, TX 78040                 Laredo, TX 78044




Manuel Becerra And Leticia M Becerra   Manuel Rodriguez And             ManufacturerS News Inc
2664 Hwy 79 E                          Jacqueline Rodriguez             Mni
Henderson, TX 75652                    16306 Hickory Knoll              1633 Central St
                                       Houston, TX 77059                Evanston, IL 602011569




Manulife Asset Mgmt                    Manulife Financial Corp          Many States Oil Company
197 Clarendon St                       200 Bloor Street East            PO Box 959
Boston, MA 02116                       Toronto, ON M4W 1E5              Paris, TX 75461
                                       Canada




Manziel Family Oil Gas Ptrs            Manziel Management Corp          Map 97A OK
PO Box 6005                            PO Box 6005                      An Oklahoma General Partnership
Tyler, TX 75711                        Tyler, TX 75711                  PO Box 268946
                                                                        Oklahoma City, OK 73126
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Map Holdings An Oklahoma                Map0406                        Map2003 Net
General Partnership                     PO Box 268946                  PO Box 268947
PO Box 268947                           Oklahoma City, OK 73126        Oklahoma City, OK 73126
Oklahoma City, OK 73126




Map2004 Ok                              Map2006 Ok                     Map2009 Ok An Oklahoma General Part
PO Box 269031                           c/o Map Royalty Inc            PO Box 248833
Oklahoma City, OK 73126                 PO Box 268988                  Oklahoma City, OK 73124-8833
                                        Oklahoma City, OK 73126




Map2012 Ok                              Map2015 Ok                     Map99A Net A Tx Nominee Prtnsp
c/o Map Royalty Inc                     PO Box 258854                  PO Box 268947
101 North Robinson Avenue               Oklahoma City, OK 73125        Oklahoma City, OK 73126
Suite1000
Oklahoma City, OK 73102



Mapfcb13 Net                            Maple L Brooks Usufructuary    Mar Caribe LLC
PO Box 268988                           9307 Compton Ave               306 Snead St
Oklahoma City, OK 73126-8988            Los Angeles, CA 90002          Berwick, LA 70342




Mara Diane Snyder                       Mara M Johnson                 Maradine Company
27807 N Lake Wohlford Road              2107 Alexander Ave             c/o Jim Loveless
Valley Center, CA 92082                 Ruston, LA 71270               2900 Airport Freeway
                                                                       Fort Worth, TX 761113918




Marak Partnership                       Maralyn C Hare Trust           Maranto Jean H
5914 Fairfield Ave                      Maralyn C Hare Trustee         PO Box 16
Shreveport, LA 71106                    4401 Edgemont Drive            Woodlawn, TX 75694
                                        Austin, TX 78731




Marathon Oil Company                    Marathon Oil Company           Marathon Oil Ef LLC
Attn Incoming Jt Int Nbu                PO Box 21158                   Joint Venture Receipts
PO Box 732312                           Tulsa, OK 74121                PO Box 732309
Dallas, TX 75373-2312                                                  Dallas, TX 75373-2309




Marbury Building Corporation            Marc Andre Prevost             Marc E King Jr
PO Box 2010                             8409 Foxhound Trail            1725 Columbus Ave
Ruston, LA 71273                        Austin, TX 78729               Waco, TX 76701




Marc L Robert                           Marc R Wormser                 Marc T Perkins
14 Swallow Street                       1601 South Riviera Court       2730 Hiawatha
New Orleans, LA 70124                   Pearland, TX 77581             San Antonio, TX 78210




Marc Vinson                             Marca LLC                      Marcelle Anne Spilker
6415 Cr 330                             9300 Riva Ridge                52 Lovegrass Ln
Bertram, TX 78605                       Shreveport, LA 71115           Sunset Valley, TX 78745
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Marcelle Marie Masterson                 Marcelle Roe Langendal             Marcelline L Smith
PO Box 816                               PO Box 606                         840 Old Arcadia Rd
Bertram, TX 78605                        Shelter Island Heights, NY 11965   Minden, LA 71055




Marcelline Lide Smith                    March Ranch LLC                    Marchand Leanne Ming
24 Windsor Ct 8                          PO Box 3782                        1165 Forest Bluff Trail
Little Rock, AR 72212                    San Angelo, TX 76902               Round Rock, TX 78664




Marci G Moss                             Marci Marczyk                      Marcia A Pool
6002 Inwood Dr                           Christopher Marczyk                3493 Vernon Eros Road
Houston, TX 77057                        Jt Ten/Wros                        Eros, LA 71238
                                         8590 Lakeside Drive
                                         Parkland, FL 33076-2881



Marcia Ann Harvard                       Marcia Crawford Counter            Marcia Duncan Richardson
PO Box 2114                              96 Bayshore                        1202 Ashland St
Midland, TX 79702                        Ingleside, TX 78362                Ruston, LA 71270




Marcia Hartman                           Marcia J Simmering                 Marcia Kay Owens Blackwood
1002 E 134 Ave N                         1304 Madera St                     1045 Chesapeake Dr
Mulvane, KS 67001                        Ruston, LA 71270                   Mansfield, TX 76063




Marcia Lynn Vaughn Helms                 Marcia M Demoss                    Marcia M Whitwell Persons Irrevocable Tr
5 Eden Street                            PO Box 293                         c/o Regions Bank Nrre Ops
Kilgore, TX 75662                        Arcadia, LA 71001                  PO Box 11566
                                                                            Birmingham, AL 35202




Marcia Mccain                            Marcia R Parsons                   Marcia Ramsey Pool
2875 Centerwood                          10408 Ne Manor Dr                  6611 Hillcrest Avenue
Fayetteville, AR 72703                   Vancouver, WA 98686-6023           PO Box 334
                                                                            Dallas, TX 752051301




Marcia Schoolfield Spellman              Marcia Shorey                      Marcia Suzanne Reed Coley
c/o 2M Mineral Management                2038 Oakridge Circle               5844 Brookside Court
PO Box 1088                              Venice, FL 34293                   Buford, GA 30024
Converse, TX 78109




Marcia Ward Mcnary                       Marcin Bieganski                   Marco Inspection Services LLC
223 Inslee Street                        14201 Dallas Pkwy 12th Floor       PO Box 1941
San Antonio, TX 78209                    Corp Actions Dept                  Kilgore, TX 75662
                                         Dallas, TX 75254




Marco Inspection Services LLC            Marcos Salgado Jr                  Marcum Midstream 1995 2
PO Box 1941                              Address Redacted                   PO Box 2186
Kilgore, TX 75663                                                           Englewood, CO 80150
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Marcus Ard                               Marcus C Miller                Marcus Copeland
512 Clayton Street                       c/o Mrs Donald Miller          616 Harris Ave
West Monroe, LA 71292                    4412 Avenue B                  San Jacinto, CA 92583
                                         Austin, TX 78751




Marcus E Wohl                            Marcus Evans                   Marcus Jerome Jernigan
5326 Del Norte Drive                     Post Office Box 211322         12 Kingslee Ln
Tyler, TX 75703                          Dallas, TX 75211               Hampton, VA 23669




Marcus Lane Murphy                       Marcus Lloyd Haygood           Marcus Sampson Sep Prop
5705 75Th St                             609 Las Colinas Dr             1403 Cardinal Dr
Lubbock, TX 79424                        Wimberley, TX 78676            Ruston, LA 71270




Marcus Spillson                          Marcus Thornton Townsend       Marcus W Monnin
1233 Korte Ln                            Box 30091                      260 Oakwood
Fort Wayne, IN 46807-2920                Billings, MT 59107             Kilgore, TX 75662




Marcy Williams                           Mardar Management Inc          Maretta Whisman
8014 Colgate                             135 W 29Th Street              PO Box 593
Houston, TX 77061                        New York, NY 10001             Carthage, TX 75633




Marfel A Family Partnership              Margaret A Hausmann            Margaret A Jordan
2666 Pinnacle Drive                      30261 Spruce Road A            PO Box 317
League City, TX 77573                    Evergreen, CO 80439            Hooks, TX 75561




Margaret A Loya                          Margaret Amy Spencer           Margaret Anderson Roach
PO Box 4185                              6727 Rainier Ave South 131     PO Box 512
Victoria, TX 77903                       Seattle, WA 98118              Danville, VA 24543




Margaret Ann Attaway Schooler            Margaret Ann C Holdiness       Margaret Ann Dillard Rev Trst
714 Westwood Drive                       2343 Hwy 135                   c/o Buddy Stone
Richardson, TX 75080                     Rayville, LA 71269             1127 E 20Th Street
                                                                        Tulsa, OK 74120




Margaret Ann Harper                      Margaret Ann Lowe Crain        Margaret Ann Mccarthy Hart
94 Foxhall Drive                         176 W 200 S                    5465 W Wheeler Road
Chagrin Falls, OH 44022                  Heber City, UT 84032-2007      Fayetteville, AR 72704




Margaret Ann Nail Wright                 Margaret Ann Newsom Waits      Margaret Ann Olvey
8299 Pigeon Road                         2074 Third St                  c/o Jordan Woosley Crone Keaton Ltd
Gilmer, TX 75644                         Arcadia, LA 71001              Attn Dennis C Fason Cpa
                                                                        126 Hobson Avenue
                                                                        Hot Springs, AR 71901
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Margaret Ann Stoothoff                   Margaret Ann Wendell           Margaret Anne Sumrall
PO Box 2043                              8600 Thackery Street 2308      PO Box 1439
Buena Vista, CO 81211                    Dallas, TX 752253926           Ruston, LA 71270




Margaret Ascher Beach Ptnr Ltd           Margaret B Clay No One Trust   Margaret B Simpson
c/o Tamar Beach Wells                    Attn Ms Evelyn Ohara Ttee      2241 Pine St
992 Little Meadow                        c/o Tx St Treasury Uncl Prop   Arcadia, LA 71001
Guilford, CT 06437                       PO Box 12019
                                         Austin, TX 78711-2019



Margaret Batts Duncan                    Margaret Beard                 Margaret Beaty Livings
PO Box 813                               201 Santa Rita                 PO Box 2287
Burnett, TX 78611                        Odessa, TX 79763               Fredericksburg, TX 78624




Margaret Bowman                          Margaret Brin Cohn Estate      Margaret Brothers Thompson
PO Box 12199                             4408 Four Winds Lane           c/o Robert And Paulette Thompson
San Antonio, TX 78212                    Northbrook, IL 60062           14822 Sandwedge St
                                                                        Wichita, KS 67235




Margaret Bryant                          Margaret Burns                 Margaret Burt Madden
1306 South Lakeshore                     3844 Fm 1970 North             831 Azalea Gardens Drive
Rockwall, TX 75087                       Timpson, TX 75975-2074         Shreveport, LA 71115




Margaret C Duke                          Margaret C Henson              Margaret C Hose
4054 Nw Loop 436                         635D Fm 3179 Rd                70 Teapot Rock Ave
Carthage, TX 75633                       Huntsville, TX 77340           Sedona, AZ 86338




Margaret C Wallender                     Margaret Carol K Kight         Margaret Carol Koontz Kight
227 South College Avenue                 2701 Pargoud Blvd              2701 Pargoud Blvd
Tyler, TX 75702                          Monroe, LA 71201               Monroe, LA 71201




Margaret Clement Slawin                  Margaret Cox Nanny             Margaret Culbertson Henslee
11504 Ashley Court                       2131 Chantilly Ln              3737 Blackhawk Drive
Inver Grove Heights, MN 55077            Houston, TX 77018-4007         Grandville, MI 49418




Margaret Cynthia Monsibais               Margaret D Haas                Margaret D Meeker
919 Visor                                2225 Calais Dr Unit C          4900 Westridge Ave Number 13
San Antonio, TX 78258                    Longmont, CO 80134             Fort Worth, TX 731168243




Margaret D Smith Mgmt Trust              Margaret Denman Branton        Margaret Durrett Smith
Margaret D Smith Trustee                 127 E Lynwood Ave              4 N Autumnwood Way
4 N Autumnwood Way                       San Antonio, TX 78212          The Woodlands, TX 77380
The Woodlands, TX 77380
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Margaret E Allen                       Margaret E Bonnell               Margaret E Breard
216 West 27Th Street                   725 N Ash Avenue                 PO Box 8478
Cheyenne, WY 82001                     Broken Arrow, OK 74012           Hot Springs Village, AR 71910




Margaret E Goebel                      Margaret E Kelly Trust           Margaret E Lindsey
208 Nueces St                          Acct 1715169                     2330 Summit Ridge Drive
George West, TX 78022                  Bank One Texas Na Trustee        San Marcos, TX 78666
                                       Drawer 99084
                                       Fort Worth, TX 76199



Margaret E Spangler Hall               Margaret Eileen Bechtel          Margaret Elerick
PO Box 1212                            PO Box 5132                      4400 Avenue N Apt 137
Marshall, TX 75671                     Abilene, TX 79608                Galveston, TX 77550-6590




Margaret Elizabeth Eastup              Margaret Elizabeth Page          Margaret Elizabeth Page
906 N Edwards St                       1243 Myrtle St                   Trustee For The Benefit
Carlsbad, NM 88220-4539                Kilgore, TX 75662                Of Martha Mae Pace
                                                                        1209 S Martin
                                                                        Kilgore, TX 75662



Margaret Ellen Emmons Lemon            Margaret Eve Moore               Margaret F Beasley
720 North Old Robinson Road            5340 Pooks Hill Road             20236E 32nd Pl S
Waco, TX 76706                         Bethesda, MD 20814               Broken Arrow, OK 74014




Margaret F Cashman Rev Trust           Margaret F Goodnight             Margaret F Sheehan Wicker
Margaret F Cashman Trstee              17124 Village Lane               PO Box 433
1705 Arnold                            Dallas, TX 752486027             Ruston, LA 71270
Laramie, WY 82070




Margaret Fisher Johnson                Margaret Fletcher                Margaret Flynn
818 Booth Drive                        4605 101st St                    6733 Vallon Drive
Shreveport, LA 71107                   Lubbock, TX 79424-7404           Rancho Palos Verdes, CA 90274




Margaret Freydberg                     Margaret Fuller Sheehan Tst Tr   Margaret G Klosko
45 Camino San Cristobal                2816 Post Oak                    310 Parkwood Place
Lamy, NM 87540-9765                    Ruston, LA 71270                 Charlottesville, VA 22901




Margaret G Murrell                     Margaret Gayle Harrison Trust    Margaret Gayle Randall
4007 Ridge Rd                          c/o Jpmorgan Chase Bnk Na Ttee   6941 Fm 306
Annandale, VA 22003                    PO Box 99084                     New Braunfels, TX 78130
                                       Fort Worth, TX 76199-0084




Margaret Gill Clements Napier          Margaret Glover Perryman         Margaret Greene Bladine
c/o Suzanne Cunningham                 9142 Old Hickory Rd              PO Box 1487
1901 N Akard St                        Tyler, TX 757037653              Mcminnville, OR 97128
Dallas, TX 752012305
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Margaret Greene Bladine Life E            Margaret Guleke Ware             Margaret Gwinner
PO Box 1487                               117 El Rancho Way                15489 Brewster Rd
Mcminnville, OR 97128                     San Antonio, TX 78209-2115       Cleveland, OH 44112




Margaret H Freydberg Est                  Margaret H Mattison              Margaret Harris Lenox
Samuel Sloan Personal Rep                 227 Rainbow Dr 12730             4576 Fm 10
45 Camino San Cristobac                   Livingston, TX 77399             Gary, TX 75643
Galisteo, NM 87540




Margaret Hayes                            Margaret Helen Jones Hopson      Margaret Helen Jones Hopson Ry
6409 Avignon St                           2301 Broadway                    2301 Broadway
Corpus Christi, TX 78414                  San Antonio, TX 78215            San Antonio, TX 78215




Margaret Hensley                          Margaret Hibler Walthall         Margaret Hill
9120 Moss Farm Lane                       Edwin Walthall Poa               221 Pear St
Dallas, TX 75243                          260 Retama Pl                    Monroe, LA 71202
                                          San Antonio, TX 78209




Margaret Hill Harge                       Margaret Horkin Fullen           Margaret Hostetler
2811 S Washington                         c/o Texas Comptroller Accounts   142 S Marie Rd
Wichita, KS 67216                         Unclaimed Property Division      Ringgold, LA 71068
                                          PO Box 12019
                                          Austin, TX 78711-2019



Margaret Hunt Trust Estate                Margaret Hurt                    Margaret J Brooks Fuget
Tom Hunt Trustee                          610 Catchot Pl                   13521 Avalon Blvd
810 Houston Street                        Ocean Springs, MS 39564          Los Angeles, CA 90061
Fort Worth, TX 76102




Margaret J Cameron Gross                  Margaret J Thompson Tr           Margaret J Williamson
1616 Mount Airy Ct                        PO Box 130                       504 Shawnee Trail
Crofton, MD 21110                         Amity, OR 97101                  Henderson, TX 75654




Margaret Janet White Bean                 Margaret Jean Farrall Gibbons    Margaret Jeanette Rice
6025 Garfield St                          Usuf Life Estate                 3601 Bonnie Drive
New Orleans, LA 70118                     18834 Mystic Point               Longview, TX 75605
                                          Bryan, TX 77801




Margaret Jinkens Smith                    Margaret Jordan Royalty Inc      Margaret Joyce Price
4001 W 5Th Street                         PO Box 4469                      2905 Stanford Ave
Ft Worth, TX 76107                        Longview, TX 756064469           Boulder, CO 80305




Margaret Joyce Price Life Est             Margaret June Gordon Armstreet   Margaret Kay Goff
2905 Stanford                             3111 Mountain Oak Ct             Route 6 Box 358
Boulder, CO 80305                         Houston, TX 77068-3117           Rusk, TX 75785
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Margaret Knox                            Margaret Koontz               Margaret L Degravelle
7304 Knox Lane                           1701 Milton                   648 Sunset Blvd
Austin, TX 78731                         Monroe, LA 71201              Baton Rouge, LA 70808




Margaret L Gibson Brown                  Margaret L Krochmal           Margaret L Steward
13698 Fm 968 West                        449 Tributary Ln              c/o American Financial Service
Longview, TX 75602                       Windsor, CT 06095             PO Box 91107
                                                                       San Antonio, TX 78209




Margaret L Steward Marital Tr            Margaret L Williams Zachry    Margaret Laurel B Moseley
F/B/O Margaret Steward Trustee           7529 Cypress Street           503 Miller Dr
PO Box 91107                             West Monroe, LA 71291         Marshall, TX 75672
San Antonio, TX 78209




Margaret Lloyd Kendall                   Margaret Louise Gulotta       Margaret Lucille Martin
253 Springs Edge Drive                   21502 Briar Landing Ln        215 W Bandera Rd
Montgomery, TX 77356                     Katy, TX 77450                Boerne, TX 78006




Margaret Luckett                         Margaret Lucy Clay Mcquaide   Margaret Lurline Vail Whitten
398 W Fox Hollow Run                     13185 Patterson Rd            1316 Della Rd
Henderson, KY 42420-8207                 North Lawrence, OH 44666      Dubach, LA 71235-3324




Margaret M Attaway                       Margaret M Dougherty          Margaret M Martella
1218 Northlake Dr                        10491 W Ida Place             PO Box 460749
Richardson, TX 75080-4839                Littleton, CO 80127-2015      Denver, CO 80246-0749




Margaret M Martella Estate               Margaret M Marty Trust        Margaret M Mebus Revocable Living Trust
c/o Marco D Chayet Or Jennife R Oviatt   J Michael Wilkes Trustee      Regions Bank Trustee Nrre Ops
PO Box 460749                            14 Great Wood                 PO Box 11566
Denver, CO 80246                         San Antonio, TX 78232         Birmingham, AL 35202




Margaret M Thomas                        Margaret Marcus Bunten        Margaret Martin
8728 Hwy 287                             c/o Texas State Treasury      616 Southeast Avenue H
Corsicana, TX 75109                      Unclaimed Property Division   Idabel, OK 74745
                                         PO Box 12019
                                         Austin, TX 78711-2019



Margaret Mary Bonilla                    Margaret Mary Hatcher Myles   Margaret Mcbride
32 Tanyard Rd                            1250 Davidson Road            8343 Fm 417 E
Dudley, MA 01571                         Arcadia, LA 71001             Shelbyville, TX 75973




Margaret Mcintyre                        Margaret Merritt              Margaret Messinger
1535 Pine Needles Ln                     PO Box 3245                   1336 Sanders
Lexington, KY 40513                      Kilgore, TX 756633245         Kyle, TX 78640
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Margaret Miller Rule                   Margaret Miller Schomer           Margaret Moore
3621 Centenary Ave                     600 Park Grove Ln Apt 350         PO Box 34002
Dallas, TX 75225-5122                  Katy, TX 77450-5689               Bethesda, MD 20817




Margaret Morgan Pfluger                Margaret N Harrison               Margaret N Morgan
PO Box 1991                            118 Quail Creek Dr                Margaret L Morgan Aif
San Angelo, TX 76902                   San Marcos, TX 78666              9215 Lamar Ave
                                                                         Overland Park, KS 66207




Margaret N Wilson                      Margaret Noble                    Margaret Oneil
21151 Grant Liake Circle               1704 Campbell Road                Kilpatrick Johnson
Cleveland, TX 77328                    Valparaiso, IN 46383              1370 Linton Rd
                                                                         Benton, LA 71006




Margaret Orne Kelly                    Margaret P Minchew                Margaret Patience Silbernagel
19 E 48 St                             2205 N Bonnel                     3532 West 39Th Avenue
Savannah, GA 31405                     Longview, TX 75601                Vancouver, BC V6N 3A5
                                                                         Canada




Margaret Peacock Steele                Margaret Quinn                    Margaret R Mccarver
PO Box 612                             3521 Burch Ave                    101 Poplar Loop
Mineola, TX 75773                      Cincinnati, OH 45208              Petal, MS 39465-9506




Margaret R Wilkerson                   Margaret Reed Clay                Margaret Rhinehart Perry
c/o Jamie Deville Guardian             13185 Patterson Rd                2205 Pembrooke Pl
514 Fm 1970                            North Lawrence, OH 44666-9732     Denton, TX 76205
Carthage, TX 75633




Margaret Roberts Evans                 Margaret Roberts Pearce           Margaret S Ames Decd Esch
8329 Spring Lake Drive                 7 Ashborough Lane                 1300 South Border 121
Shreveport, LA 71106-5911              Hattiesburg, MS 39402             Weslaco, TX 78596




Margaret S Cannon                      Margaret S Durham Deceased 2002   Margaret S James
528 Mockingbird Dr                     Route 14 Box 6945                 2192 Locust St
Long Beach, MS 39560-3100              Lufkin, TX 75904                  Arcadia, LA 71001




Margaret S Lewis                       Margaret S Moseley                Margaret S Shockley Trust
1822 Hunter Cir                        PO Box 155                        Margaret S Shockley Trustee
Shreveport, LA 71119                   Henderson, TX 75653               PO Box 880
                                                                         Rockport, TX 78381




Margaret S Tierney Trust               Margaret S Vanlandingham          Margaret Schofield Boyce
Attn Trust Department                  1317 South Drake Street           Via Delle Sorgenti 103
PO Box 3004                            Perryton, TX 79070                Collesalvetti Li 57014
First Interstate Bank                                                    Italy
Gillette, WY 82716
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Margaret Sheriff                        Margaret Sprayberry                       Margaret Stacy Sour
1450 Deep Creek Ln                      255 Emmanuel Lane                         444 Albert Ave
Manhatten, KS 66502                     Lot 38                                    Shreveport, LA 71105
                                        Longview, TX 75602




Margaret Stavropoulos Properti          Margaret Stevens Partners Ltd             Margaret Sue Schroeder Trust
PO Box 99084                            c/o Peggy Stevens                         c/o Jpmorgan Chase Bk Na Ttee
Fort Worth, TX 76199                    13 Shady Cove                             Trust Minerals Sec 1002603
                                        San Antonio, TX 78213                     PO Box 99084
                                                                                  Fort Worth, TX 76199-0084



Margaret Sylvia Mobley                  Margaret T Boring                         Margaret T Dickinson Estate
1740 Willow Point Drive                 114 Avondale                              Luther W Moore Executor
Shreveport, LA 71119                    Longview, TX 75601                        PO Box 757
                                                                                  Minden, LA 71058-0757




Margaret Tower Kelsey                   Margaret Treat Dickinson                  Margaret Unkel
734 Green Castle Pl                     315 Pennsylvania Ave                      210 W Young
Canyon Lake, TX 781334605               Minden, LA 71055                          Dayton, TX 77535




Margaret V Davis                        Margaret Virginia Donaldson Knott Trust   Margaret Virginia Knott
PO Box 1755                             c/o Charles F Robinson                    26290 Rampart Blvd Apt D
Gladewater, TX 75647-1755               6173 Alhambra Ave                         Punta Gorda, FL 33983-6255
                                        North Port, FL 34291




Margaret Virginia Weaver                Margaret W Faust                          Margaret W Weaver Tuw
3769 Upland Rd                          1665 Woodberry Run Dr                     Wells Fargo Bank Sao
Virginia Beach, VA 23452                Snellville, GA 30078-5663                 PO Box 41779
                                                                                  Austin, TX 78704




Margaret Weaver Ima                     Margaret Wells Properties Ltd             Margaret Whelan Hensley
Wells Fargo Bank Sao                    Wells Fargo Bank Na                       9120 Moss Farm Lane
PO Box 41779                            PO Box 41779                              Dallas, TX 75243-7429
Austin, TX 78704                        Austin, TX 78704




Margaret Whitehead                      Margaret Wilson                           Margaret Wooten
4005 Harrison Rd                        317 Green Street                          Dba Ark La Tex Services
Beltsville, MD 20705                    Gladewater, TX 75647                      2813 Fm 699
                                                                                  Carthage, TX 75633




Margareta Jansson                       Margarett Nash                            Margarette Harden Mercer
Manvagen 5B                             805 Bent Tree St                          14311 Highway 87
S450 63 Hogsater                        Seagoville, TX 75159-4529                 Lubbock, TX 79423-7624
Sweden




Margarita Campos                        Margarito Mago Becerra                    Marge Alana Adams
Hcr 01 Box 26                           PO Box 39                                 3211 N 61st
Freer, TX 78357                         Pine Bluffs, WY 82082                     Kansas City, KS 66104
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Margene B Locke Detweiler               Margery Massey                 Margery Tipps Cunningham
84 965 Farrington Hwy                   2189 County Road 4868          Daniel Carne Cunningham Poa
Apt B 317                               Timpson, TX 75975              5630 Preston Fairways Dr
Waianae, HI 96762                                                      Dallas, TX 75252




Margie A Ward                           Margie Ann Lambert             Margie Bell
614 E Bishop Ave                        1119 West 52nd Street          8772 Plevka Ave
Flint, MI 48505                         Los Angeles, CA 90037          Los Angeles, CA 90002




Margie Bullock                          Margie Elizabeth Neal Mccabe   Margie J P H Byrd
4016 Cr 1100                            8201 Towne Main Dr Apt 1021    1004 Canterbury Trail
Grandview, TX 76050                     Plano, TX 75024                Desoto, TX 75115




Margie K Woods                          Margie L Leslie                Margie L Wren
c/o Mr Bruce Berry                      1705 Leslie Street             PO Box 890641
2104 Lakeview Loop                      Columbia, LA 71418             Oklahoma City, OK 73189
Killeeen, TX 76543




Margie Lee Anderson                     Margie Matlock                 Margie Matthews Mott
709 County Road 3286                    c/o Texas State Treasury       Ronald Lynn Fleming Poa
Joaquin, TX 75954-4367                  Unclaimed Property Division    1290 Rich Ln
                                        PO Box 12019                   Buda, TX 78610
                                        Austin, TX 78711-2019



Margie May                              Margie May Lyons               Margie Mcallister
3801 S Alaska St Apt 406                708 Arthur Street              1503 Timber Edge Drive
Seattle, WA 98118                       Lafayette, LA 70501            Mc Kinney, TX 75070




Margie N Lile                           Margie Pace Carter             Margie Phelps
525 Berkshire Ct                        PO Box 65600 170               7634 Langley Rd
Burleson, TX 76028-4522                 Lubbock, TX 79464              Houston, TX 77016




Margie Roy Vickers Ii                   Margie T Covington             Margie W Marie
Aka Marjorie Vickers                    507 Avenue H S E               200 Creekside Dr
PO Box 9029                             Winter Haven, FL 33880         Marshall, TX 75762
Avon, CO 81620




Margie Walker                           Margie Young Lilly             Margo Ann Taylor Dowling
PO Box 742                              4821 Dexter Ave                Post Office Box 41
Colmesneil, TX 75938                    Fort Worth, TX 76107           Caldwell, TX 77836




Margo Ball Morris                       Margo Faye Walker Mcclintock   Margo G Hoffman
11506 Poplar Wood                       2036 Meadow View               303 Madie Lane
Houston, TX 77089                       San Marcos, TX 78666           Slidell, LA 70460
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Margo S Hibler                          Margot Dussler                  Margot U Lingold Tte Capitol O
12519 Old Oaks                          310 River Bluff Ln              Private Client Group
Houston, TX 77024                       Wimberley, TX 78676             c/o Capital One Na Agent
                                                                        PO Box 61964
                                                                        New Orleans, LA 70161



Marguerite Alexander Booth              Marguerite Anderson Womack      Marguerite B Luehrs Ind Exec
Donna M Campbell Poa                    Deceased                        15977 Cuttysark
146 Laird Circle                        7227 Winthrop Avenue            Corpus Christi, TX 78413
Panama City, FL 32408                   Baton Rouge, LA 70806




Marguerite Dabney Hall Richey           Marguerite Fender               Marguerite Griffith Foster
PO Box 2215                             PO Box 184                      699 Sycamore Road
Flint, TX 75762                         Judson, TX 75660-0184           De Queen, AR 71832




Marguerite H Mcelfresh                  Marguerite Seago                Marguerite Shackleford Est Dec
25 Callingham Rd                        401 Barrios Ave                 Sally Anderson Ind Executrix
Pittsford, NY 14534                     Houma, LA 70364                 11919 Steppingstone Lane
                                                                        Houston, TX 77024




Marguerite V Hyatt Bartlett             Marguerite W Hammons            Marguerite W Salley
4209 Marshall Ct                        700 Melrose Avenue              612 Delaware St
Plano, TX 75093-6640                    Apt K1                          Shreveport, LA 71106
                                        Winter Park, FL 32789




Marguerite Young Anderson               Margurite I Woodfin Anderson    Mari Katherine Tolbert
3529 Stowers Drive                      3348 Drexel Ave                 12500 Hwy 183 N
Monroe, LA 71202                        Port Arthur, TX 77642-2426      Risingstar, TX 76471




Maria America Valdez                    Maria Amparo Guerra             Maria De Jesus Benavides
PO Box 1274                             Union National Bank Of Lared    9026 Bowline
Freer, TX 78357-1274                    1100 Matamoros                  San Antonio, TX 78242
                                        Laredo, TX 78040




Maria E Benavides Gutierrez             Maria Estelle Hartlage          Maria Evangelina Henry
203 Merlin Rd                           18219 Sheerin Road              2282 Camp Road
Laredo, TX 78041-2825                   Pacific, MO 63069               Solomon, KS 67480




Maria Graciela Ramirez                  Maria Graciela Ramirez Estate   Maria I Ramirez Revocable Tr
PO Box 148                              Jose E Ramirez Jr Ind Exctr     Maria Irene Ramirez Trustee
Laredo, TX 78042                        1219 Victoria                   PO Box 450049
                                        Suite 1                         Laredo, TX 78045
                                        Laredo, TX 78040



Maria Lamar Ramirez Montalvo            Maria Lisa Williams Sloan       Maria Luisa Vidaurri Stott
4608 Yucca                              5804 Forest Grove Dr            110 Indiana Street
Laredo, TX 78041                        Texarkana, TX 75503             Laredo, TX 78041
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Maria M Pieters Gray                       Maria M Vargas                  Maria Patience Rose Williams
10326 Wagon Trail Rd                       Address Redacted                105 River Oaks Ct
Houston, TX 77064                                                          Durango, CO 81303-6908




Maria Rebeca Gonzalez Rugama Life Estate   Maria Rosario Coleman           Maria Rosia Saldana
PO Box 451729                              6140 South Chanticleer Drive    Address Redacted
Laredo, TX 78045                           Maumee, OH 43537




Maria Sandra Rocha                         Maria Teresa Guerra             Marian B Thomas
518 N Seymour Ave                          Union National Bank Of Laredo   1316 Andrews St
Laredo, TX 78040                           1100 Matamoros                  Kilgore, TX 75662
                                           Laredo, TX 78040




Marian B Wheelock                          Marian C Inselberg              Marian E Hendrix Sutton
PO Box 137                                 605 Rio Grande Loop             PO Box 152
Corsicana, TX 75151                        Georgetown, TX 786284798        Saratoga, TX 77585




Marian E Shartouny                         Marian Ellen Beavers Anderson   Marian F Keating
2720 Copper Creek Drive 114                303 S Lafayette                 141 Bayou Rd
Arlington, TX 76006                        Marshall, TX 75670              Greenville, MS 38701




Marian Frances Thurmond Mcnair Sp          Marian Frozena Eastman          Marian Helen Lazarus
c/o John Thurmond                          2221 West Magnolia              840 Warwick
6218 Redwood Bridge Trail                  Fort Worth, TX 761101124        Vidor, TX 77662
Kingwood, TX 77345




Marian Henley Harvey                       Marian I Jeffries               Marian J Bakken
6328 Youngs Branch Drive                   9420 S Union Ave                673 S Vine St
Fairfax Station, VA 22039                  Chicago, IL 60620               Denver, CO 80209




Marian J Murphrey                          Marian Jeanette Farrar          Marian Joyce Jeter
4600 Victory Dr Apt 71                     512 Birchwood Dr                Gregory Oakes Jeter Poa
Marshall, TX 75672-4777                    Monroe, LA 71203                PO Box 1686
                                                                           Friendswood, TX 77549




Marian Kathryn Mitchell Lewis              Marian Kngiht Rowe Est          Marian Lyons Mcgoldrick
5381 Henrietta Hartford                    Frederick E Rowe Jr Marian      3 Hazel Lake
Mount Pleasant, SC 29466                   Rowe Lion Co Exec               Cimarron, CO 81220
                                           3608 Beverly Dr
                                           Dallas, TX 75205



Marian M And Richard Robertson             Marian Miller                   Marian N Harwell
5401 Shoalwood Ave                         13450 Old Hickory Ct            Ste 500 112 East Pecan
Austin, TX 78756-1619                      North Lima, OH 44452            San Antonio, TX 78205
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Marian Nordan Harwell Estate              Marian Reimer                  Marian Ross Anderson
112 E Pecan Street Suite 500              816 S 216Th St 515             PO Box 966
San Antonio, TX 78205                     Des Moines, WA 98198           Marshall, TX 75671-0966




Marian Staples                            Mariana Boren Denson           Mariana L Van Gilder
5429 Topper Drive                         3702 Del Norte Boulevard       472 Augusta Dr
Fort Worth, TX 76180                      Temple, TX 76502               Rockport, TX 783826945




Marianna Pitman Scherrer                  Marianna Presler Mcjimsey      Marianna Walker
5929 Norway                               119 East San Miguel Street     673 Fm 9So
Dallas, TX 75230                          Colorado Springs, CO 80903     Waskom, TX 75692




Marianne Arnold                           Marianne B Wilkinson           Marianne Hedges Hennigar
2535 Black Diamond Terrace                8404 Spence Ct                 PO Box 250768
Colorado Springs, CO 80918                N Richland Hls, TX 76180       Little Rock, AK 72225




Marianne Houser                           Marianne Jennie Davidson       Marianne Mcdonald
504 Rogers Street                         3000 Henigan Rd                PO Box 135
Fredricksburg, VA 22405                   Lake Charles, LA 70011         Shreveport, LA 71161




Marianne Roncoli Tod                      Marianne S Self                Marianne Vertrees Law
321 E 43Rd St Apt 214                     6100 Curzon                    2145 Nw Stover
New York, NY 10017                        Fort Worth, TX 76116           Bend, OR 97703




Marianne William Folsom                   Maribeth R Hickman             Marico Exploration Inc
3678 Deer Crossing Pl                     1621 Cindy Lou Avenue          105 S 4 St
Jacksonville, FL 32257                    Henderson, TX 75654            Artesia, NM 88210




Marie B Hood                              Marie Broussard Brown          Marie C Isaac
11281 Hwy 151                             300 E State                    1247 North Hydraulic
Dubach, LA 71235                          New Iberia, LA 70563           Wichita, KS 67214




Marie C Moncrief                          Marie Cox Adams                Marie Crawford Pleasant
1051 Columbia Memorial Pkwy Apt 1701      102 Pecan Grove                191 Louisiana St Apt C
Kemah, TX 77565-5115                      Apt 212                        Winnsboro, LA 71295
                                          Houston, TX 77077




Marie Elaine Harris                       Marie Elizabeth Mcneil White   Marie Elmore
26 Pine Burr Circle                       64 Indian Mound                138 Bower Loop
Marshall, TX 75672                        Oak Ridge, LA 71264            Haynesville, LA 71038
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Marie Fortenberry                         Marie Gardner Null              Marie Garrett
c/o Ruth Lopez                            2208 Lily Drive                 8109 East 96Th Terrace
1221 Wycliffe                             Ruston, LA 71270                Kansas City, MO 641341651
Houston, TX 77043




Marie Greer Butler                        Marie Harris                    Marie Ilene Bedgood Thomas
136 Nunez Rd                              109 Jordan Lane                 5608 Arch Bridge Courts
Lake Charles, LA 70607-8735               Pineville, LA 71360             Arlington, TX 76017




Marie J Watkins                           Marie K Wesson                  Marie L Ransone Trust
1017 Willow Springs                       715 Palmetto Road               William Randolph Julien
Longview, TX 75604                        Benton, LA 71006                Robert Ransone Ttees
                                                                          305 S Jupiter Ste 500
                                                                          Allen, TX 75002



Marie Lynn B Simmons Claps                Marie Moyse Schlesinger         Marie Neel Bowers
58 Rue Montcalm                           1112 Falcon Road                175 45Th St Sw
Paris 75018                               Metairie, LA 70005              Paris, TX 75460
France




Marie O Fenton                            Marie Ogilvie                   Marie R Rabb Testamentary Tr
1507 Spyglass Drive                       225 Pr 2414                     c/o Jp Morgan Chase Bank Ttee
Longview, TX 756052690                    Gilmer, TX 75645                PO Box 99084
                                                                          Fort Worth, TX 76199-0884




Marie Shires                              Marie Sobey Pyle Or             Marie Sobey Pyle Or Texas Comptroller
475 N Lake Street                         Texas Comptroller Public Acct   Of Public Acct
Waskom, TX 75642                          Unclaimed Property Division     Unclaimed Property Division
                                          PO Box 12019                    PO Box 12019
                                          Austin, TX 78711-2019           Austin, TX 78711-2019



Marie Spiars Milner                       Marie Stanley Biglane           Marie T Mcgloughlin
PO Box 1546                               PO Box 966                      17148 Butera Rd
Burnet, TX 78611                          Natchez, MS 39121               Magnolia, TX 77355-3289




Marie Temple Rascoe                       Marie Wilson                    Marie Winslow
45 Morro Circle                           5506 Amerada Circle Apt 912     121 South 7Th St
Pagosa Springs, CO 81147                  Arlington, TX 76017             Richmond, CA 94804




Marielle Lomax                            Marienette Enzor                Marietta Moore Holloway
Address Redacted                          c/o Mary Enzor Davis            191 Olive Street
                                          5920 Long Island Drive Nw       Ruston, LA 71270
                                          Atlanta, GA 303284810




Marietta Payne George                     Marilee Roland Russell          Marilon Smith
c/o John Kennedy State Treas              PO Box 439                      840 Old Arcadia Rd
Unclaimed Property Division               Winnsboro, TX 75494             Minden, LA 71055
PO Box 91010
Baton Rouge, LA 70821
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Marilyn A Barnes                       Marilyn A Smith                           Marilyn Ann Berry Garner
3214 Big Spruce Drive                  252 Symphony Lane                         PO Box 342244
Kingwood, TX 77339                     Shreveport, LA 71105                      Austin, TX 78734-0038




Marilyn Ann Davenport White            Marilyn Ann Keller Rev Trust Dtd 8/1/96   Marilyn Ann Trader
PO Box 2127                            Marilyn Ann Keller Ttee                   8201 Vine Wood Dr
Forney, TX 75126                       9021 Greenspoint Ln                       N Richland Hills, TX 76182
                                       Highlands Ranch, CO 80130




Marilyn Ball Trustee                   Marilyn Bivins                            Marilyn Bright Herman
Marilyn Ball Tr Dtd 4/12/2000          PO Box 661                                1812 Enchanted Cove
4455 Ironwood Drive                    Bronte, TX 76933                          Wylie, TX 75098
St George, UT 84790




Marilyn Darlene Lampe Living Trust     Marilyn Denise Lathan Brown Sp            Marilyn Dickerson Radack
Marilyn Darlene Lampe Trustee          7929 Talton St                            3737 Watonga Blvd Apt 88
12524 W Virginia Ave                   Houston, TX 77028                         Houston, TX 77092-6719
Lakewood, CO 80228




Marilyn Durrett Polman                 Marilyn E Roderick                        Marilyn Flaitz Knolle Andrews
Theodore Dewayne Polman Iii            500 Fieldstone Loop                       PO Box 27334
1223 Hwy 815                           Unit 41                                   Houston, TX 77227-7334
Simsboro, LA 71275                     Lynden, WA 98264




Marilyn Flynn Musgrave                 Marilyn Frances Madden                    Marilyn Friend Adland Trust
1745 East Grand Avenue                 831 Azalea Gardens Drive                  Marvin Leon Adland Trustee
Escondido, CA 92027                    Shreveport, LA 71115                      12 Macgregor Ct
                                                                                 Durham, NC 277055446




Marilyn Garner                         Marilyn Gillis                            Marilyn H Augur
2108 A Ann Arbor                       360 Maury Lane                            3535 Gillespie 105
Austin, TX 78704                       Florence, AL 35634                        Dallas, TX 75219




Marilyn Harper Johnson                 Marilyn Harper Johnson And                Marilyn Hendrick Morehead
Separate Property                      David H Johnson                           c/o Merrill Lynch Att Kevin Huntsman
9 Foxboro Circle                       9 Foxboro Circle                          500 Woodward Ave
Madison, WI 53717                      Madison, WI 53717                         Suite 3000
                                                                                 Detroit, MI 48226



Marilyn Hogan Dba Kleen Sweep          Marilyn Hogue                             Marilyn Huff
309 Cr 279                             3863 Fm 699                               1136 N Newsom St Apt 57
Carthage, TX 75633                     Center, TX 75935                          Mineola, TX 75773




Marilyn J Compton                      Marilyn J Freeman Trust                   Marilyn Jean Bazer Tauzin
2314 Blue Water Lane                   Marilyn J Freeman Trustee                 2514 Deanie Ln
Houston, TX 77018                      5601 Ne Mist Meadow Pl                    Bossier City, LA 71111
                                       LeeS Summitt, MO 64064
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Marilyn Jo Swint Young                 Marilyn Jo Swint Young Estate       Marilyn K Black
1321 Clanton Avenue                    Alden Ray Young Executor            2860 Monroe
Eunice, LA 70535                       1321 Clanton Ave                    Longview, TX 75602
                                       Eunice, LA 70535




Marilyn K Goebel Rosebrock             Marilyn Kay Moreau Holloway         Marilyn L Ball
267 Cr 205                             Allen Keith Holloway                4455 Ironwood Drive
Three Rivers, TX 78071                 PO Box 2226                         St George, UT 84790
                                       Mont Belvieu, TX 77580




Marilyn Lhoste                         Marilyn Lindsay Burgher Estate      Marilyn Lousie Wallace
Dba Occupational Health Testing        Breniss L John H Burgher            4904 A St
1641 E 2nd Street                      Co Personal Representatives O/E/O   San Diego, CA 92102
Casper, WY 82601                       PO Box 14166
                                       Tulsa, OK 74159



Marilyn M Felts Trustee                Marilyn M Fields                    Marilyn M Law Revoc Tr
1118 Ontario Dr                        3535 So Ocean Dr                    Bank Of Oklahoma Agent
Corpus Christi, TX 78418               Apt 1205                            PO Box 1588
                                       Hollywood, FL 33019                 Tulsa, OK 74101




Marilyn M Mullins Est                  Marilyn Mcclain Chhatpar            Marilyn Miller Mullins
c/o David C Kirk Administratior        2930 Russett Place West             c/o David C Kirk Administrator
7199 W 98Th Terrace Ste 130            Pearland, TX 77584                  7199 W 98Th Terr 130
Overland Park, KS 66212                                                    Overland Park, KS 66212




Marilyn Misko Duhon                    Marilyn Morrison                    Marilyn Newcomb Gounah
17512 River Hill Dr                    3445 Amherst Ave                    PO Box 107
Dallas, TX 75287                       Dallas, TX 75225                    New London, TX 75682




Marilyn Sears                          Marilyn Shaw Bonner                 Marilyn Shepperd
1031 W Northland Dr                    2010 Irving Place                   4141 Bryn Mawr Drive
Shelbyville, IL 62565                  Wichita Falls, TX 76308             Dallas, TX 75225




Marilyn Sue Staley                     Marilyn W Hyde                      Marilyn W Sims Gst Exempt
5654 Magnolia Bloom Terrace            3217 Riverside Ave                  Family Trust
Oviedo, FL 327659395                   Jacksonville, FL 32205              David F Sims Trustee
                                                                           PO Box 520
                                                                           Argyle, TX 76226



Marilyn Weaver                         Marina Robertson                    Marine Fenders International
13450 Old Hickory Ct                   Address Redacted                    909 Mahar Ave
North Lima, OH 44452                                                       Wilmington, CA 90744




Marine Preservation Assoc              Marine Project Management Inc       Marine Spill Response Corp
20645 N Pima Road                      201 Bryant St Ste 2B                220 Spring St Suite 500
Suite 100                              Ojai, CA 93023                      Herndon, VA 20170
Scottsdale, AZ 85255
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Mario A Granados                        Mario Dismuke                  Mario Elder
PO Box 171                              5908 Theodore Avenue           Address Redacted
Encinal, TX 78019                       Saint Louis, MO 631364712




Mario Hernandez                         Mario Manuel Benavides         Mario Papadopoulos And Kate Papapoulos
Address Redacted                        PO Box 2441                    1700 Brooks
                                        Laredo, TX 78044-2441          Ruston, LA 71270




Marion B Johnston Trust                 Marion B Johnston Trust One    Marion Bell
Thomas Steward Johnston Truste          Premier Trust Trustee          15025 W Woodridge Dr
4690 Pioneer Road                       1 E Liberty St Ste 600         Surprise, AZ 85374-8548
Medford, OR 97501                       Reno, NV 89501




Marion C Cruce Estate Trust             Marion Cass Ramsel             Marion Charles Rinehart
4675 Ponderosa Trail                    318 Unadilla Street            6015 Phinney Ave N
Littleton, CO 80125                     Shreveport, LA 71106           Apt 103
                                                                       Seattle, WA 98103




Marion County Clerk                     Marion D Taylor                Marion Dennard Lindell
102 W Austin Room 206                   c/o Frances C Taylor           1529 Cherbourg Dr
Jefferson, TX 75657                     19191 Harvard Avenue 101Aa     Plano, TX 75075-2276
                                        Irvine, CA 92612




Marion E Neel Jr                        Marion E Snider                Marion Elizabeth Pilcher Hood
13802 State Hwy 30                      4642 Sandydale                 c/o Garland Thomas Hood Jr
College Station, TX 77845               Houston, TX 77039              11982 Highway 151
                                                                       Dubach, LA 71235




Marion Elliott Mash                     Marion Eugene Whitton          Marion Everett Neel Jr
320 N Beach Dr                          3819 24Th Street North         13802 State Highway 30
Port Ludlow, WA 98365                   Arlington, VA 22207            College Station, TX 77845




Marion F Kirby Iii                      Marion Foshee Mccoy            Marion G Runyan
Stephen B Kirby Aif                     6616 Rolling Vista Dr          6013 Blossom Court
2819 Calender Lake Dr                   Dallas, TX 75248               Mckinney, TX 75070
Missouri City, TX 77459




Marion Headrick Wahl                    Marion Integrated Marketing    Marion Jeanette Keen
156 Edgemere Way South                  7026 Old Katy Rd Ste 249       803 Bymo Dr
Naples, FL 34105                        Houston, TX 77024-2125         Minden, LA 71055




Marion Joan Burch                       Marion Kay Bates Sanders       Marion Knight Minter
386 Hwy 763                             3651 Watercrest Drive          2491 Country View Ln 1233
Mansfield, LA 71052                     Shreveport, LA 71119           Mckinney, TX 75069
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Marion Knight Rowe                       Marion L Crawford              Marion L Davis Jr
36O8 Beverly Dr                          265 S Pine Tree Rd             PO Box 12
Dallas, TX 75205                         Grambling, LA 71245            Gary, TX 75643




Marion Lamm Roquemore                    Marion Meader                  Marion R Mangham Brown
PO Box 817                               Sun Bank Tr Dept               529 Miranda 9
Carthage, TX 75633                       160 N Nova Rd                  Ruston, LA 71270
                                         Ormond Beach, FL 32174




Marion Rainbolt Moody                    Marion Rayburn Burch           Marion Regina Agent
PO Box 352                               368 Hwy 763                    c/o Julie Simmons Receiver
Mt Enterprise, TX 75681                  Mansfield, LA 71052            314 S Lafayette St
                                                                        Marshall, TX 75670




Marion Rowe Lion                         Marion Shepard                 Marion State Bank
18 Lower Drive                           Address Redacted               345 Main Street
Mill Valley, CA 94941                                                   Marion, LA 71260




Marion T Rives                           Marion Thomas Mack             Marion Tillery Meadows
1260 Cr 236 East                         806 Eden Drive                 317 Marie Dr
Henderson, TX 75652                      Longview, TX 75605             West Monroe, LA 71291




Mariquetta Coats Horton                  Maris E Penn                   Marisela C Duran
609 Topeka Drive                         5132 Huckleberry Circle        1015 E Third St
Waco, TX 76712                           Houston, TX 77056              Alice, TX 78332




Marissa A ORosky Fekete                  Mariwynn Alford Watson         Marjo Operating Co Inc
3411 Cannon Ridge                        c/o Citizens National Bank     PO Box 729
Richmond, TX 77469                       Trust Dept                     Tulsa, OK 74101
                                         PO Box 820
                                         Henderson, TX 75653-0820



Marjorie A Freeman                       Marjorie A Washington          Marjorie A Willie
12605 Wittmer Dr                         181 Sims Avenue                Attn Louise Williams
Austin, TX 78729                         Grambling, LA 71245            c/o Hibernia National Bank
                                                                        6235 South Clairborne Avenue
                                                                        New Orleans, LA 70125



Marjorie Ann Haynes Dumas                Marjorie Bengtson Huber        Marjorie Benson
12617 Frankfurt Ave                      c/o Texas State Treasury       1301 Joe Bill St
Baton Rouge, LA 70816-7925               Unclaimed Property Division    West Monroe, LA 71292
                                         PO Box 12019
                                         Austin, TX 78711-2019



Marjorie Brint                           Marjorie Cone Kastman          Marjorie Cox Hendricks
c/o Texas S State Treasury               PO Box 5930                    212 Cox St
Unclaimed Property Division              Lubbock, TX 79408              West Monroe, LA 71292
PO Box 12019
Austin, TX 78711-2019
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Marjorie Crawford Stevenson            Marjorie D Hageman Rev Trust     Marjorie E Stuckenhoff
801 Riviera Dunes Way                  Ronda Brunson Cynthia Harvey     1615 Lynwood Pl
Palmetto, FL 34221-7125                Dba Eldercare Solutions Ttees    Casper, WY 82604
                                       PO Box 1388
                                       Chico, CA 95927



Marjorie Frances Young Lilly           Marjorie Funk Stevenson          Marjorie G Mcgregor Mitchell
4821 Dexter Ave                        384 Oak Ranch Rd                 PO Box 5909
Fort Worth, TX 76107                   Grants Pass, OR 97526            Shreveport, LA 71135




Marjorie Gordon Manning                Marjorie H Bivins                Marjorie H Parker
9232 Creekside Trail                   Craig H Bivins A/I/F             PO Box 384
Stone Mountain, GA 30087               4925 Greenville Avenue Ste 814   Bayard, NM 88023
                                       Dallas, TX 75206




Marjorie Helms Watkins                 Marjorie Horton                  Marjorie Hughes
1440 Oribia Rd                         7603 Fm 365                      4244 Clingman Drive
Del Mar, CA 92014-2412                 Beaumont, TX 77705               Shreveport, LA 71105




Marjorie J Meadows                     Marjorie J Spoor                 Marjorie L Hadley Revocable Tr
11929 Fm 729                           113 Golfview Dr                  U/D/T Dtd 12/03/2013
Avinger, TX 75630-2405                 Georgetown, TX 78633             Marjorie L Hadley Trustee
                                                                        8312 Alpine Laurel Way
                                                                        Sacramento, CA 35829



Marjorie L Johannes                    Marjorie Linda Brashear Love     Marjorie Louise Dixon Binz
Marcia J Muller Poa                    18935 K Z Road                   2703 Via Rancheros
120 Fairmont Dr                        Cypress, TX 77433                Fallbrook, CA 92028-8181
Hampton, VA 23666




Marjorie M Huffman                     Marjorie M Mcmurrey              Marjorie Mautz
1100 Mcguire St                        Box 1O74                         PO Box 394
Monroe, LA 71201                       Kilgore, TX 75663                Helotes, TX 78023




Marjorie Morgan                        Marjorie R Sullivan Test Trust   Marjorie Ray Life Est
309 Molly Maye Drive                   1913 N Fm 46                     2116 E 59Th Pl
Marshall, TX 75672                     Franklin, TX 77856               Tulsa, OK 74105




Marjorie Richter White                 Marjorie Rose King Parker        Marjorie Schuler
121 La Veta Avenue                     2708 Enfield Rd                  1206 E Washington St
Encinitas, CA 92024                    Austin, TX 78703-3601            Shreveport, LA 71104




Marjorie Scott Lyons Trust             Marjorie Stuckey Worley          Marjorie Sue Springer
c/o Blythe Ann Lyons                   544 Gladstone Blvd               4148 Brasher Drive Ne
PO Box 2149                            Shreveport, LA 71104             Marietta, GA 30066-2958
Fort Bragg, CA 95437
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Marjorie Tabb Brumble                    Marjorie W Crawford Exempt Lifetime Tr   Marjorie W Huszagh
c/o Regions Morgan Keegan Trst           Marjorie Wandel Crawford Ttee            Northern Trust Co Trustee
Nrre Ops Group                           10220 Memorial Drive 79                  PO Box 226270
PO Box 11566                             Houston, TX 77024                        Dallas, TX 75222-6270
Birmingham, AL 35202



Marjorie W Huszagh Trust                 Marjorie Wadley Griffin Trust            Mark A Carter
Northern Trst Bank                       James Allen Griffin Patrick              1542 Spanish Bay Drive
PO Box 226270                            Corrigan Griffn Cotees                   Keller, TX 76248
Dallas, TX 75222-6270                    10452 Bradshaw Dr
                                         Fort Worth, TX 76108



Mark A Chapman                           Mark A Clement                           Mark A Cox
PO Box 450                               Querencia 2404                           5303 86Th St
Sealy, TX 77474                          2500 Barton Creek Boulevard              Lubbock, TX 79424
                                         Austin, TX 78735




Mark A Doering                           Mark A King                              Mark A Kundysek
5525 Prestwick Ln                        4010 East Timber Cut Court               PO Box 202153
Dallas, TX 75252                         Pearland, TX 77584                       Arlington, TX 76006-2153




Mark A Lewis                             Mark A ONeal Associates Inc              Mark A Oneal Associates Inc
285 Browning Ct                          John Bullock                             PO Box 66573
Clarksville, TN 37043                    7732 Goodwood Blvd Blvd Ste 211          Baton Rouge, LA 70896
                                         Baton Rouge, LA 70806




Mark A Richards                          Mark A Robertson                         Mark A Selby
999 Muirfield Dr                         2825 3Rd Street Trlr 8                   6404 Whitney Ct
Marietta, GA 30068                       Lake Charles, LA 70615                   N Richland Hills, TX 76180




Mark A Soden Jr                          Mark A Sweazy                            Mark A Taylor
PO Box 10263                             6907 W Tuscarora Rd                      Shannon Hurst Guardian
Costa Mesa, CA 92627                     Mapleton, IL 61547                       c/o Ray Wood
                                                                                  PO Box 164310
                                                                                  Austin, TX 78716



Mark A Washburn                          Mark Adkisson                            Mark Alan Sanford
1220 Flanagan Road                       c/o First National Bank                  251 Steed Road
Tatum, TX 75691                          PO Box 4211                              Calhoun, LA 71225
                                         Longview, TX 75606




Mark Allen Anderson                      Mark Allen Roberts                       Mark And Carolyn Murray
528 Scranton Ave                         8155 E Kings Hwy                         9930 Caribou Trail
Pueblo, KS 81004                         Shreveport, LA 71115                     Dallas, TX 75238




Mark Andrew Bristol                      Mark Anthony Milks                       Mark B Foreman
PO Box 7801                              1239 Waller Ave                          PO Box 953
Dallas, TX 75209                         Bossier City, LA 71112                   Hempstead, TX 77445
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Mark Barker Renee Broussard Oliver      Mark Brandon                   Mark Burrows
PO Box 53795                            PO Box 66                      1400 S Joyce Apt B1001
Lafayette, LA 70505                     Bullard, TX 75757-0066         Arlington, VA 22202




Mark C Bennett                          Mark C Harwell                 Mark Christopher Woodson
4256 County Road 292 E                  1140 Bartlett Road             6800 Mcneil Dr Apt 414
Kilgore, TX 75662                       Katy, TX 77493-1802            Austin, TX 78729-7942




Mark Clyde Gray                         Mark Cooper Britton            Mark Corley
1315 Oak Hill Dr                        17780 Sw Yaquina Ct            1320 Lisbon Rd
Clarksville, TN 37040                   Tualatin, OR 97062-8448        Smackover, AR 71762




Mark Cynthia B Hoffmann                 Mark Cynthia Murphrey          Mark D Blake And Paige Blake
265 St Mark Path                        501 Hwy 763                    2006 South Oak Canyon
Kerrville, TX 78028                     Mansfield, LA 71052            Austin, TX 78746




Mark D Buchanan Remainderman            Mark D Gowanlock               Mark D Heath
c/o Edward Jones Company                8234 Hwy 80 E                  3324 Thorntree Ct
1900 S Washington Ave                   Marshall, TX 75672             Arlington, TX 76016
Suite C
Marshall, TX 75670



Mark D Marwil                           Mark D Myron                   Mark D Roberts
4507 Cambridge Ct                       520 Jenkins Rd                 2501 N Fairway Cir
Sugar Land, TX 774793947                Shreveport, LA 71107           Derby, KS 67037




Mark D Thornton                         Mark D Ward                    Mark D Wilson
17 Texoma Street                        4838 Marshall Rd               1501 Greentree Blvd
Los Fresnos, TX 78565                   Logansport, LA 71049           Midland, TX 79707




Mark Daniel Wolf                        Mark David Hamner              Mark Davis Buchanan
700 Louisiana Suite 1100                742 Levitow Circle             PO Box 280
Houston, TX 77002                       Barksdale Afb, LA 71110        Beckville, TX 75631




Mark Dawson                             Mark Douglas Dupuy             Mark Douglas Moore
1945 Ft Graham Road                     26189 Chesterfield Rd          278 Brushy Creek Rd
Waco, TX 76705                          Punta Gorda, FL 33983          Red Oak, TX 75154




Mark Dunham                             Mark E Burgess                 Mark E Gryder
Fort Jackson Cid Office                 214 Ridgegate Dr               303 Pecan St
5483 Marion Ave                         Garland, TX 75040-3556         Shreveport, LA 71116
Fort Jackson, SC 29207
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Mark E Hodge                             Mark E King Jr                 Mark E Mccourt
PO Box 3149                              3019 Braemar                   4842 County Road 152
Bellaire, TX 77402                       Waco, TX 76710                 Bedias, TX 77831-9685




Mark E ORosky                            Mark E Smith                   Mark Earl Medley
1102 Squaw Valley                        PO Box 283                     1416 Trading Post Dr
Leander, TX 78641                        George West, TX 78022          Fort Worth, TX 76131




Mark Eberhart                            Mark Edison Burgess            Mark Edward Branch
11759 Fm 2879                            214 Ridgegate                  397 Kimball Rd
Diana, TX 75640                          Garland, TX 75040              Haynesville, LA 71038




Mark Edward Lawson                       Mark Edwin Barnhill            Mark Ehrlich
Box 753                                  900 N Caribou Rd               c/o Rose Klein Marias Llp
Silverton, CO 81433                      Gilmer, TX 75644-7593          William M Grewe
                                                                        877 S Victoria Ave Suite 205
                                                                        Ventura, CA 93003-6043



Mark Eugene Williams                     Mark F Gress                   Mark F Gress
300 Thomas Dr                            c/o Mediant Communication      c/o Mediant Communications Inc
Murphy, TX 75094-3741                    200 Regency Forest Dr          200 Regency Forest Dr
                                         Cary, NC 27518                 Cary, NC 27518




Mark Franklin Slaight                    Mark G Raizen                  Mark G Snyder
1705 Piper Ct                            2005 Mountain View Rd          5489 Blair Road Suite 450
Richardson, TX 75081                     Austin, TX 78703               Dallas, TX 75231




Mark Gates Brelsford                     Mark Glazer                    Mark Guy Powell
309 Saddletree Ln                        8310 Star Point Ct             PO Box 3620
Dripping Springs, TX 78620               Prospect, KY 40059             San Angelo, TX 76902




Mark Hamond                              Mark Henry Harden              Mark Holtzclaw And Jo Ann F Holtzclaw
PO Box 494                               Route 2 4256 Mccracken         323 Goodgoin Road
Westtown, PA 19395-0494                  Hernando, MS 38632             Ruston, LA 71207




Mark Hooper And Terry A Hooper H/W       Mark Howard Edelman Trust      Mark Howard Gibson
1001 Nw Avenue L                         U/W/O Morris Kagan             2804 Purple Sage Trail
Andrews, TX 79714                        Lynn Edelman Trustee           Midland, TX 79705
                                         1000 Uptown Park 104
                                         Houston, TX 77056



Mark Humphrey Janet L Humphrey           Mark J And Neysa Mueller       Mark J Breckler
13421 Fm 968 West                        PO Box 130954                  1135 Fresno Ave
Longview, TX 75602                       Tyler, TX 75713                Berkeley, CA 94707
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Mark J Doelger                          Mark J Mourne                  Mark J OBrian Exempt Trust
3331 Carmel Dr                          0605 Canon Ridge Trail         500 N Shoreline Ste 601
Casper, WY 82604                        Canon City, CO 81212           Corpus Christi, TX 78401




Mark J Wakefield                        Mark James Mueller             Mark Keedy
527 Florence Drive                      PO Box 130954                  3625 Malone Drive
Madison, MS 39110-7326                  Tyler, TX 75713                Austin, TX 78749




Mark Knippa                             Mark L Campbell                Mark L Futrell And Leesa W Futrell
13511 King Circle                       c/o Kym Comer                  221 Fred Lamkin Road
Cypress, TX 77429                       5949 Sherry Lane               Ruston, LA 71270
                                        Suite 780
                                        Dallas, TX 75225



Mark L Parker                           Mark L Shidler Inc             Mark L Wardell
433 Florence St                         1313 Campbell Road Bldg D      1825 Lula Lake Road
Maysville, KY 41056                     Houston, TX 77055              Lookout Mountain, GA 30750




Mark Lawrence Johnson                   Mark Lee                       Mark Little
PO Box 2148                             1616 Wilson Street             Address Redacted
Beeville, TX 78104                      San Angelo, TX 769011122




Mark Lockridge                          Mark M Evans                   Mark Malone Dba Com Tech Professionals
7609 Cr 442D                            4438 Island Court              55 Forked Creek Pkwy
Henderson, TX 75654                     Orange Beach, AL 36561         Hernando, MS 38632-1295




Mark Markham                            Mark Marlin Barnes             Mark Meier
PO Box 22                               2374 Nursery Rd                PO Box 1417
Gladewater, TX 75647                    Livingston, TX 77351           Breaux Bridge, LA 70517




Mark Miller                             Mark Or Joan Flynt             Mark P Sealy
8921 Newton                             674 Princeton Way              C/O Sealy Company Inc
Lantana, TX 76226                       Rockwall, TX 75087             333 Texas St 1050
                                                                       Shreveport, LA 71101




Mark Pearl                              Mark Pickens Mcnulty           Mark Pittman Marshall
3925 Monta                              3519 Blackstone Run            Bank Of America Na Agent
Robstown, TX 78380                      San Antonio, TX 78259          PO Box 840738
                                                                       Dallas, TX 75284




Mark Powell                             Mark R Bledsoe                 Mark R Gilbert Dba White Tiger
Rt 2 Box 56 M                           Deborah Bledsoe                Production Equipment
Boyse City, TX 75189                    PO Box 1                       23 Iris Circle
                                        Oakville, TX 78060             Longview, TX 75601
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Mark R Lange                             Mark R Pevey                     Mark Ramirez
11207 Tyne Court                         1227 Lovers Lane                 2905 Dwight St
Houston, TX 77024                        Longview, TX 75604               Bakersfield, CA 93306




Mark Randall Hammon                      Mark Richard Ash                 Mark Richardson
851 Sugar Creek Road                     1203 S Lake Ave                  PO Box 856
Arcadia, LA 71101                        Groveland, FL 34736-2727         Grayslake, IL 60030




Mark Rogers Trust                        Mark Russell Muecke              Mark Russo
John B Rogers Trustee                    c/o Scofield Scofield Pc         1240 Gatlin Rd
3601 Turtle Creek Blvd                   Attn Janice Pierce               Jefferson, TX 75657
205                                      1411 West Avenue Suite 200
Dallas, TX 75219                         Austin, TX 78701



Mark Ryder                               Mark S Dolar Rev Tr Dt 7/21/08   Mark S Favot
3111 Leland Dr Ste 110                   Mark S Dolar Trustee             345 Sw Devon Ln
Raleigh, NC 27616-5904                   1333 College Pkwy 172            Beaverton, OR 97006-5837
                                         Gulf Breeze, FL 32563




Mark S Gatof                             Mark S Weseman                   Mark Stanley Beck
16 Fairfield Terrace                     1835 Mattox Road                 805 Phillips Dr
Short Hills, NJ 07078                    Ozark, AR 72949                  Penngrove, CA 94951




Mark Stephen Baughman                    Mark Stephen Lincove             Mark Stephen Wied
1803 Aspin                               2269 Jefferson Ave               PO Box 640
Henderson, TX 75652                      Memphis, TN 38104                Hebbronville, TX 78361




Mark Sterling Rider                      Mark Stone                       Mark T Daniels
PO Box 1262                              877 Cr 3187                      9723 Highland Pointe Dr
Grapevine, TX 76099                      Joaquin, TX 75954-7557           Needville, TX 77461




Mark T Gully                             Mark T Mays                      Mark T Mcbride
4224 Timberglen Pl                       69653 Camino De Las Brisas       1404 Wild Plum Ct
Midland, TX 79707                        Cathedral City, CA 92234-1780    Edmond, OK 73025




Mark T Warren                            Mark Tarver                      Mark Timothy Melton
2900 Mckinnon 606                        5620 Quail Creek                 6453 Winding Lake Drive
Dallas, TX 75201-1055                    Tyler, TX 75703                  Jupiter, FL 33458




Mark Tinney                              Mark Tinsley                     Mark Valerie Gregory
Address Redacted                         PO Box 207                       4741 Brick Church Pike
                                         Bethany, LA 71007                Goodlettsville, TN 37072
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Mark Verhalen                          Mark W Etheredge                   Mark W Hoffmann
4420 Grassmere Lane                    1905 Arlington                     265 St Mark Path
Dallas, TX 75205                       Middletown, OH 45044               Kerrville, TX 78028




Mark Wade Pointer                      Mark Wade Taylor                   Mark Wayne Reeves
4737 Pyles Rd                          PO Box 5593                        3902 Fern Ridge Drive
Chapel Hill, TN 37034                  Shreveport, LA 71135               Longview, TX 75605




Mark White                             Mark Williamson Duvarney           Mark Wilson
17930 Branson Fls                      Poa Edward Joseph Duvarney Jr      3364 Dianna Dr
San Antonio, TX 78255-3325             PO Box 288                         Longview, TX 75602
                                       Mclean, VA 22101




Mark Wilson Fam Partnership Lp         Mark Young                         Mark Zoller
Mary Lou Wilson Manager                5224 Southwest 40Th Terrace        6135 S Eudora Way
PO Box 2415                            Topeka, KS 66610                   Littleton, CO 80121
Midland, TX 79702




Markar Energy Company LLC              Markeisha Ensley                   Markey Family Partnership Ltd
2301 Texland Cir                       1 E 35Th St 15B                    PO Box 463
Midland, TX 79705-2687                 New York, NY 10016                 Henderson, TX 75652




Markie Mcneese                         Markley Oil Resources LLC          Markoleta Sobey Taylor
Address Redacted                       12271 Coit Rd 2311                 Point Royal 2206 Royal Drive
                                       Dallas, TX 75251                   West
                                                                          Chandler, TX 757585621




Markwardt Performance Consulting Inc   Markwest Energy Operating Co LLC   MarkWest Energy Partners L P
Claire Markwardt                       PO Box 974108                      1515 Tower Rd 1600
3262 Westheimer Rd Suite 214           Dallas, TX 75397-4108              Aurora, CO 80011
Houston, TX 77098




Markwest Pinnacle Lp                   Marla A Diven                      Marla Boone
1515 Arapahoe Street                   PO Box 332                         10892 Fm 724
Tower 2 Ste 700                        Grand Cane, LA 71032               Tyler, TX 75704
Denver, CO 80202




Marla Dorsey Montgomery                Marla Jo Calvin                    Marla Lynn Chrisman
1000 Clark                             3780 Copperfield Drive 618         282 Ridge Lane
Mexia, TX 76667                        Bryan, TX 77802                    Kilgore, TX 75662




Marla Sherlon Ochu                     Marla W Adelman                    Marlene Johnson Neff Ttee Of
22925 Creekwood Dr                     25 Trout Pond Lane                 The Marlene Johnson Neff Rev Tr
Flint, TX 75762                        Needham, MA 02492                  c/o Travis Property Mgmnt Llc
                                                                          PO Box 56429
                                                                          Houston, TX 77256-6429
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Marlene Mae Siragusa                    Marleta T Chadwick                  Marleta Todd Chadwick Trust
633 Rowland Blvd                        PO Box 397                          c/o Banker Phares Trustee
Novato, CA 94947                        Carthage, TX 75633                  PO Box 397
                                                                            Carthage, TX 75633




Marlette Singleton Ryan                 Marlin Adkins Et Ux                 Marlin Data Research Inc
114 Llanfair                            121 Central                         801 Travis Street Ste 1425
Ruston, LA 71270                        West Monroe, LA 71291               Houston, TX 77002




Marlin Exploration LLC                  Marlin Horace Eudy                  Marlin Midstream LLC
401 Edwards Street 1200                 1684 Pr 8692                        12377 Merit Drive
Shreveport, LA 71101                    Winnsboro, TX 75494                 Suite 300
                                                                            Dallas, TX 75251




Marlin Royalty Company LLC              Marline C Lawson                    Marline Carter Brown
National Royalty Co Ltd                 505 Belknap Place                   802 Augusta Suite 100
PO Box 25409                            San Antonio, TX 78212               San Antonio, TX 78215
Dallas, TX 75225




Marline Gst Exempt Lifetime Trust       Marline Gst Exempt Lifetime Trust   Marline Trust
505 Belknap Place                       802 Augusta Suite 100               Marline Carter Brown Trustee
San Antonio, TX 78212                   San Antonio, TX 78215               13333 Westland Blvd Ste 203
                                                                            Houston, TX 77041




Marlis E Smith                          Marlis E Smith Inc                  Marlis E Smith Trust
4703 South Elizabeth Court              Pmb 433                             4703 S Elizabeth Ct
Englewood, CO 80113                     5910 South University C 18          Englewood, CO 80110
                                        Greenwood Village, CO 80121




Marlon Malone                           Marlon S Vaughn                     Marlonda Kenise Malcolm
1803 E Main St                          2016 Stewart Ln                     4750 Haverwood Lane
Jonesboro, LA 71251                     Plainfield, IL 60586                Apt 2213
                                                                            Dallas, TX 75287




Marlow Gardner                          Marmik Oil Company Rev Acct         Marmon Utility LLC
1060 105Th Ave                          200 N Jefferson Ste 500             PO Box 98560
Oakland, CA 94603                       El Dorado, AR 71730                 Chicago, IL 60693




Marna Cody Burton Deceased              Marnetta Robinson                   Maro L Wieboldt
401 W Rutherford                        4121 Aransas Street                 8241 Dixon Lane
Mt Vernon, TX 75457                     Dallas, TX 75212                    Reno, NV 89511




Marolyn Cleere Pollard                  Maroski Inc                         Marquette Commercial Finance
4513 Cimmaron Tr                        10 North Caddo 180                  Fbo Ecology Control Industries Inc
Granbury, TX 76049                      Cleburne, TX 76031                  Nw 6333
                                                                            PO Box 1450
                                                                            Minneapolis, MN 55485-6333
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Marquez Andrew S                           Marquez Environmental Svcs Inc   Marquis Hogan
Address Redacted                           13860 Braun Road                 216 Marshall St Apt 5
                                           Golden, CO 80401                 Houston, TX 77006




Marr Company                               Marr Oil Gas Ltd                 Marrianne Abbrat
325 N St Paul Street                       325 North St Paul St             9506 Barretts Glen Ct
Suite 2500                                 Suite 2500                       Houston, TX 77065
Dallas, TX 75201                           Dallas, TX 75201




Marrion Roy Blackman                       Marrou Concrete Inc              Marrs Mclean Bowman
208 Vinewood                               625 Sherry Drive                 PO Box 12199
Longview, TX 75604                         Fort Collins, CO 80524           San Antonio, TX 78212




Marrs Welding Fabrication Inc              Mars Hill Baptist Church         Marscha C Kahle Revcbl Trust
PO Box 156                                 Mars Hill Cemetery               D Kahle Trustee
Loco Hills, NM 88255                       834 Mars Hill Church Road        1335 S 6Th St
                                           Atlanta, LA 71404                Blackwell, OK 74631




Marsh Land Production Company              Marsh Trucking Grand Junction    Marsh Usa Inc
PO Box 67048                               475 Melody Lane                  PO Box 846015
Baton Rouge, LA 70896                      Grand Junction, CO 81501         Dallas, TX 75284-6015




Marsha Ann Day Peavy                       Marsha Anne Bullock              Marsha Bennett Adams
1612 Estates Dr                            4175 Estesville Road             202 Crocker Rd
Woodway, TX 76712                          Longview, TX 75602               Choudrant, LA 71227




Marsha D Ratliff Testmt Trust              Marsha Diane Ratliff             Marsha Fleming T Eatherton
PO Box 17001 Trust                         1319 Thaddeus Cove               1728 North Blvd
San Antonio, TX 78217                      Austin, TX 78746                 Houston, TX 77098-5414




Marsha Hogue                               Marsha K Stelzig Hardin          Marsha Kay Clinton
6856 Topsfield Drive                       3707 Lake Forest Dr              11655 Clay Ansley Hwy
Dallas, TX 75231                           Tyler, TX 75707-1613             Ruston, LA 71270




Marsha L Harper                            Marsha L Hunt                    Marsha Lynn Muecke Young
112 Harvey                                 4917 Pine St                     118 N Shawnee Ridge Circle
Baytown, TX 77520                          Bellaire, TX 77401               The Woodlands, TX 77382




Marsha Mackey Ramsey                       Marsha Mathewes Cobb             Marsha Renfroe
1104 N Point Pleasant Road                 PO Box 641                       Hc 68 Box 761
Gladewater, TX 75647                       Calhoun, LA 71225                Brady, TX 76825
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Marsha Roberts Reynolds                  Marsha Sanders Brown            Marsha Singletary District Cle
PO Box 156                               PO Box 941766                   Cause98 Cv 25855 For Elizabeth
Taylor, LA 71080-0156                    Houston, TX 77085               J Starke
                                                                         Center, TX 75935




Marshall 1987 Mgmt Trust                 Marshall C Hedgepeth            Marshall Carl Rice
PO Box 50880                             201 Magnolia Chase Dr           20 Lake Pierremont
Midland, TX 79710-0880                   Benton, LA 71006                300 Pierremont Road
                                                                         Shreveport, LA 71106




Marshall Clinton Williams                Marshall Curtis Moorehead       Marshall E Phillips Rev Tr Dtd 6/4/98
Rr 1 Box 47                              PO Box 110                      Attn Tellers At Chase Bank
Joaquin, TX 75954                        Carthage, TX 75633              6310 E Mockinbird Ln
                                                                         Dallas, TX 75214




Marshall Elizabeth                       Marshall Eugene Lyles           Marshall Joan Anderson Partnership Lp
431 Richvale Lane                        PO Box 339                      1003 University Circle
Webster, TX 77598                        Simsboro, LA 71275              Carthage, TX 75633




Marshall L Woodard                       Marshall Lindsay Collins        Marshall R Jean D Hunt Rev Living Tr
PO Box 2453                              4119 Rs County Road 1490        Marshall R Hunt Trustee
Universal City, TX 78148-1453            Point, TX 75472-6485            PO Box 305
                                                                         Joinerville, TX 75658




Marshall Ralph Young                     Marshall Simmons                Marshall Travis Napper
306 W 7Th St 702                         16711 Village Lane              2016 Island Drive
Fort Worth, TX 76102                     Dallas, TX 75248                Monroe, LA 71201




Marshall Wayne Jobe                      Marshall Winston Inc            Marshall Wolf
217 Winged Foot Dr                       PO Box 50880                    Marilyn R Wolf TR UA 11 11 02
Hideaway, TX 75771                       Midland, TX 79710-0880          Marshall Wolf 2002 Rev Trust
                                                                         Box 730 Station A
                                                                         Toronto, ON M5W 1G2, Canada



Mart Duane Thurman                       Martel Ellis Mayfield Esch      Martella L Craig
3696 U S Highway 79 South                909 Baldwin Street              620 Alabaster Place
Carthage, TX 75633                       Ruston, LA 71270                Cedar Hill, TX 75104




Martex Well Services LLP                 Martha A Smith Dickson Bigler   Martha Ann Chatry
PO Box 2048                              728 Oneonta St                  2685 South Norfolk
Marshall, TX 75671                       Shreveport, LA 71106            Aurora, CO 80013




Martha Ann Edmondson Peters              Martha Ann Long Tally           Martha Ann Moore Evans
203 Towne Cir                            390 Saint Andrews Dr            PO Box 44499
West Monroe, LA 71291                    Mabank, TX 75156-7281           Shreveport, LA 71134
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Martha Ann Ogden Turner                 Martha Ann P Thomas             Martha Ann Schneider
3254 Highway 544                        1010 N King Hwy                 4245 N Central Expy
Ruston, LA 71270-1293                   Nash, TX 75569                  Suite 505
                                                                        Dallas, TX 75205




Martha Ann Scott                        Martha Ann Tooke Harrell        Martha Ann White
3043 Highway 146                        272 Johnny Walker Road          4813 Pebble Brook
Homer, LA 71040                         Rayville, LA 71269              Baytown, TX 77521




Martha Annette Evans                    Martha B Skelton                Martha Barco Johnson
81 John Harris Rd                       PO Box 392                      28760 Aloha Ln
Legrange, GA 30240                      Schulenburg, TX 78956           Montgomery, TX 77356-2803




Martha Bevil Buchanan                   Martha Bigger                   Martha Brooks Wynn
c/o Bevil Wright                        Rr 1 Box 57                     7154 Chimney Corners
PO Box E                                Joaquin, TX 75954               Unit A
Silsbee, TX 77656                                                       Austin, TX 78731




Martha Brown Daeschner                  Martha Brown Rogers             Martha Burgoon Faulkner
7518 Beluche                            David Rogers Poa                5708 Chelsea Circle
Galveston, TX 77551                     1805 Country Club Road          Bryan, TX 77802
                                        Lucas, TX 75002




Martha C Alexander                      Martha C Edmiston               Martha C N Anderson
1027 Creole Dr                          300 Westminster Canterbury Dr   401 Allen Cir
Bossier City, LA 71111-8195             Shenandoah Hall Apt 509         Georgetown, TX 78628-1941
                                        Winchester, VA 22603




Martha Catherine Shipp                  Martha Chambless Murphree       Martha Clare
2001 East Lake Drive                    1615 Herman Dr 2306             5016 Marble Falls Rd
Gladewater, TX 75647                    Houston, TX 77004               Fort Worth, TX 761031222




Martha Clark Delaittre                  Martha Crane Totzke             Martha Crews
5215 Willow                             PO Box 516                      PO Box 653
Bellaire, TX 77401                      Dubois, WY 82513                Fulton, MO 65251




Martha Cross Davis                      Martha D Bratcher               Martha Daw Life Estate
1222 Jasmine Lane                       4605 Park Avenue                639 County Road 3340
Longview, TX 75604                      Nashville, TN 37209             Joaquin, TX 75954-5521




Martha Dee Mccoy                        Martha Dee Tackett Ir Lvg Tr    Martha Diane Marshall Phillips
285 Charles Avenue                      Dee T Oneill Paula Tackett      563 Cr 103
Shreveport, LA 71105                    Paul Winston Tackett Ttee       Carthage, TX 75633
                                        5625 N Camino De La Noche
                                        Tucson, AZ 85718
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Martha Dorrill                          Martha Dyar                               Martha E OBrien
1007 Fayette Street                     107 East Merrit Street                    PO Box 5292
Farmville, VA 239012029                 Marshall, TX 75670                        Shreveport, LA 71135




Martha E Ruple                          Martha Edwina Wright Colvin               Martha Elizabeth Witt Howard
514 Torbet Dr                           106 Trace Drive                           167 Atlantic Avenue
Homer, LA 71040                         Ruston, LA 71270                          Shreveport, LA 71105




Martha Ethel Douglas                    Martha Faye Dickerson                     Martha Frances Tiller Bounds
304 May Road                            PO Box 131                                PO Box 38
Dubach, LA 71235                        Lisbon, LA 71048                          Elysian Fields, TX 75642




Martha Francis Singleton                Martha G Furrate Separate Property        Martha Grace Beason Husband
Farmers National Co Agent               12554 Sherbrook                           813 Arapaho Dr
Oil Gas Dept                            Baton Rouge, LA 70815                     Burkburnett, TX 76354
PO Box 3480
Omaha, NE 68103



Martha Green Talley LLC                 Martha Green Talley LLC                   Martha H Duck
3716 Bridal Path                        3716 Bridle Parth                         302 N 13Th Street
Austin, TX 78703                        Austin, TX 78703                          Oakdale, LA 71463




Martha H Matulich                       Martha H Whitaker                         Martha H Young
315 Allisons Way                        PO Box 1140                               PO Box 356
Tifton, GA 31794                        Carthage, TX 75633                        Arcadia, LA 71001




Martha Hahn                             Martha Hunt Givhan                        Martha Hunt Givhan LLC
106 Marshall Rd                         5630 W Hanover Ave                        c/o Douglas Brown
Port Lavaca, TX 77979                   Dallas, TX 75209-3428                     3666 Asbury Street
                                                                                  Dallas, TX 75205




Martha J Burns                          Martha J Eldridge                         Martha J Guinn Mgmt Trust
1898 W Lake Park Dr                     112 Kirk Cir                              D A Guinn M Woldert Co Trs
Mustang, OK 73064                       Flora, MS 39071-9348                      PO Box 7546
                                                                                  Tyler, TX 75711




Martha J Moore Lp                       Martha J Ocejo De Willis                  Martha J Prescher
c/o Marcelle Hawkins                    407 Trimble                               157 Manor Circle
PO Box 44499                            Saskatoon, SK S7W 0C9                     Bloomington, IL 61704
Shreveport, LA 71134                    Canada




Martha J Wellborn                       Martha J Wellborn And Vernon J Wellborn   Martha James
PO Box 1172                             PO Box 1172                               702 Ridge Place
Henderson, TX 75653                     Henderson, TX 75653                       Enid, OK 73701
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Martha Jane Hedgepeth                     Martha Jane Hines Loe                   Martha Jane Ives
12199 Highway 146                         508 Daniel Ln                           2714 Carriage Trail
Dubach, LA 71235                          Brandon, MS 39042                       Mckinney, TX 75067




Martha Jane Weir                          Martha Jane Worley Jackson              Martha Jean Moore
6550 Blanch Circle                        20520 Lake Vista Drive                  1004 E Hunnicutt St
Dallas, TX 75214                          Roland, AR 72135                        Baytown, TX 77520-5358




Martha Jean Norris Surline                Martha Jean Ownby Trust Dated 2/10/97   Martha Jean Smith Hall
959 Lansdale Court                        William Vaden Ownby Trustee             6010 88Th Street
Mobile, AL 36609                          212 N Saint Paul St                     Lubbock, TX 79424
                                          Wichita, KS 672035642




Martha Jo Pollei Allen                    Martha Johnette Williams                Martha Joseph
606 West Lynn Street                      Remainder Interest                      19 Palisades Boulevard
Irving, TX 75062                          719 County Road 171                     Longview, TX 75601
                                          Garrison, TX 75946




Martha Joy Phillips                       Martha Kathryn Marshall                 Martha Kay Yancey
2852 Lone Oak                             PO Box 91139                            12918 Cr 496
Durrant, OK 74701                         San Antonio, TX 78209                   Tyler, TX 75706




Martha King                               Martha Kline Dealing In                 Martha Kurz
711 De La Vina St Apt 4                   Her Sole And Sep Prop                   27 High St
Santa Barbara, CA 93101-5529              13 Tanglewood Crt                       Rockport, MA 01966
                                          Longview, TX 75601




Martha L Charrey                          Martha L Costlow                        Martha L Fulco
PO Box 262                                4869 Woodcrest Dr                       3914 Amidon
Coldspring, TX 77331                      Athens, TX 75751-6272                   Wichita, KS 67204




Martha L Samuels                          Martha L Smith                          Martha Lee Miller And Kenneth Miller
825 College Blvd                          836 Highway 298 W                       30 Sanctuary
San Antonio, TX 78209                     Mount Ida, AR 71957-9484                San Antonio, TX 78248




Martha Lil Stroud Schmidt                 Martha Locke Malson                     Martha Louise Fuller Stevens
519 E 2nd St                              8 Willowcroft Dr                        1774 Turning Leaf Trl
Tyler, TX 75701                           Littleton, CO 80123-7908                Haughton, LA 71037-9531




Martha Louise H Bonin                     Martha Louise R Wojecki Estate          Martha Lynn Colvin Cullen
Anita Bonin Walpole Poa                   Vincent D Wojecki Executor              518 Ursuline Drive
3241 Audubon Pl                           28419 E Benders Landing Blvd            Baton Rouge, LA 70808
Ruston, LA 71270                          Spring, TX 77386
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Martha M Duncan                           Martha M Wiley              Martha M Youngblood Coslett
172 Oscar Lane                            1928 Fm 950                 392 Bertrand Hill Lane
Shreveport, LA 71105                      Eagle Lake, TX 77434        Jeffersonville, VT 05464




Martha Matthews Langhorne                 Martha Maxey                Martha Mccarty Kimmerling Tr
Aka Martha A Langhorne                    6814 Rowan Ln               Martha Mccarty Kimmerling Ttee
6127 Pebble Beach                         Houston, TX 77074           3831 Turtle Creek Blvd Apt 10B
Houston, TX 77069                                                     Dallas, TX 75219




Martha Mckenzie Hill                      Martha Nail Reneau          Martha Nell Mckeever
7 Cantrell Rd                             206 Hunter St               305 Amberwood Circle
Little Rock, AR 72207                     Arp, TX 75750               Tyler, TX 75701




Martha Oden Napier Rev Liv Tr             Martha Orr Miller           Martha P Crumpler
Martha Oden Napier Ttee                   30 Sanctuary                865 Church St
813 Golden Bear Ln                        San Antonio, TX 78248       Sarepta, LA 71071
Mckinney, TX 75070




Martha P Stevens Rev Trust                Martha Parker               Martha Phelps
Martha Peden Stevens Trustee              5414 Vanderbilt Ave         4715 Shreveport Blanchard
8220 Sw Fairway Dr                        Dallas, TX 75206            Hwy 135
Wilsonville, OR 97070                                                 Shreveport, LA 71107-4735




Martha R Vail                             Martha Ramsey               Martha Reagan Life Estate
PO Box 60                                 6635 Oakwood Drive          2402 Fairway Pointe Drive
Ruston, LA 71273                          Gilmer, TX 75645            League City, TX 77573




Martha Reed Wojecki                       Martha Reid Aldridge        Martha Ruffin Shively
28419 E Benders Landing Blvd              7 Forest Park Dr            348 Ockley Dr
Spring, TX 77386                          Richardson, TX 75080        Shreveport, LA 71105




Martha Ruth Holmes Walker Ind Usufruct    Martha Ruth Rice            Martha S Guillotte
924 Harmony Church Road                   601 Towne Oaks Circle       506 Glendale Avenue
Arcadia, LA 71001                         Kilgore, TX 75662           Houma, LA 70360-7320




Martha Scott Trinko                       Martha Seago Guillotte      Martha Shelton
4155 Hwy 2 Alt                            506 Glendale Ave            1403 Mahlow Dr
Haynesville, LA 71038                     Houma, LA 70360             Longview, TX 756014854




Martha Sheryl Edstrom Separate Property   Martha Simmons              Martha Sims Richardson
444 Spirit Mountain Pl                    4605 Wilma Drive            10106 Kirkbluff Drive
Spearfish, SD 57783-8659                  Corpus Christi, TX 78412    Houston, TX 77089
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Martha Stevens Hamner                   Martha Stewart Pollard          Martha Stewart Woodward
8742 E Wilderness                       116 Crestpark Drive             4847 W Lawther Dr 408
Shreveport, LA 71106-6218               Cedar Hill, TX 75104            Dallas, TX 75214




Martha Stone Creed                      Martha Sue Lee Bush             Martha Sue Sedate Estate
c/o Texas State Treasury                807 Sioux Lane                  2133 Pembrooke Pl
Unclaimed Property Division             Hattiesburg, MS 39402-2459      Denton, TX 76205-8209
PO Box 12019
Austin, TX 78711-2019



Martha Theresa Oden Napier              Martha Vinson Emerson Fam Trt   Martha Vinson Emerson Trust
813 Golden Bear Lane                    Mary E Calvin                   Fbo Ethel E Hutcheson
Mckinney, TX 75070                      Ethel E Hutcheson Co Trts       9110 Hudson Court
                                        5773 Woodway Dr 710             Houston, TX 77024
                                        Houston, TX 77057



Martha W Shaw                           Martha W Squibb                 Martha West Wyche
1102 Boulevard St                       2 Cransbrook Ct                 300 Rose Garden Cir Apt A2
Shreveport, LA 71104                    Dallas, TX 75225                Shreveport, LA 71115-3800




Martha White                            Martha Woodley Scheer           Martha Woods Klein
298 Noble School Rd                     8814 274Th St East              13 Tanglewood Court
Dubach, LA 71235                        Graham, WA 98338                Longview, TX 756042118




Martiel A Luther                        Martile Haemer Trust            Martin Dene L
2917 Wroxton                            Jo G Haemer Trustee             Address Redacted
Houston, TX 77005                       3720 N Michigan
                                        Portland, OR 97227




Martin Robert D                         Martin Allen                    Martin Beauford
Address Redacted                        2651 Elm St                     833 Cr 258
                                        Arcadia, LA 71001               Beckville, TX 75631




Martin C ORosky                         Martin Daniel Rollinson         Martin Decker Totco
20515 Crownstone Drive                  4449 Ridge Rd                   PO Box 201153
Richmond, TX 77406                      Castor, LA 71016                Dallas, TX 75320-1153




Martin Dominguez                        Martin Doyle Marshall           Martin E Jones
Address Redacted                        Exempt Trust                    1909 Serenade Ln
                                        Martin Doyle Marshall Trste     Richardson, TX 75081-4766
                                        801 Morse Lee
                                        Evanstown, WY 82930



Martin E Whelan Mildred Whelan          Martin Espinosa                 Martin Family Tst Dtd 2 19 01
Revocable Living Trust                  Address Redacted                Jacqueline Fauss Martin Ttee
8302 Pheasant Glen Drive                                                2810 Executive Ct
Spring, TX 77379                                                        Rocklin, CA 95765
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Martin Franklin Hayes Jr               Martin Gas Sales               Martin Gas Sales Div Mop
4 Bluff Vw                             PO Box 191                     Accounts Receivable Dept
Round Rock, TX 78664                   Kilgore, TX 75662              PO Box 671294
                                                                      Dallas, TX 75267-1294




Martin Givens                          Martin Jazz                    Martin Kirsch Jr Or Jewell
1 Broadway South                       3201 Sherbourne                Sullivan Kirsch
Unit 413                               Detroit, MI 48221              247 E Mccormick St
Tacoma, WA 98402                                                      Shreveport, LA 71162




Martin L Hall                          Martin L Lasater               Martin Ladouceur
320 Audubon Dr                         7217 Sleepsoft Circle          4610 Ashbrook Dr
Ruston, LA 71270                       Columbia, MD 210455251         Reno, NV 89502




Martin Lewis Windham                   Martin Matthew Montfort        Martin Oil Country Tubular Inc
352 Cr 3188                            1918 Nwcr 1040                 PO Box 426
Joaquin, TX 75954                      Corsicana, TX 75110            Scott, LA 70583




Martin Paul Mccomack                   Martin Phelix T                Martin Pressure Systems Intl
4113 Roger Street                      1620 Fm 124 E                  15300 S 77Th East Ave
Monroe, LA 71201                       Beckville, TX 75631            Bixby, OK 74008-4169




Martin S And Beverly Locascio          Martin Scelfo Estate           Martin Shane Lord Separate Property
3405 Fm 2859                           527 Willow St                  1895 Harmon Loop
Corsicana, TX 75109                    Franklin, LA 70528             Homer, LA 71040




Martin Shapiro                         Martin Tracy Keefer            Martin V Cameron
1148 Brandon Ave                       19414 Haystream St             20633 Post Oak Drive
Simi Valley, CA 93065                  Katy, TX 77449                 Chandler, TX 75758




Martin Water Laboratories Inc          Martin Willis Brittingham      Martine Degraffenreid Ewing
PO Box 98                              PO Box 6027                    9502 Pecan Glen Ct
Midland, TX 79702-0098                 Schenectady, NY 12301-6027     Houston, TX 77040




Martine Horne Justak                   Martinez James L               Martinez Steven
7648 Candlewood Ln                     Address Redacted               Address Redacted
Indianapolis, IN 46250-2270




Martinez Bvp Ltd                       Martinez Electrical Service    Martinez Fm Gutierrez Lu
PO Box 700                             2602 Iturbide Street           Childrens Trust
Hebbronville, TX 78361                 Zapata, TX 78076               PO Box 2216
                                                                      Laredo, TX 78044
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Martis W Wooster                       Marty Garrison Management Trust   Marty J Fletcher
PO Box 366                             4305 Macarthur Avenue             68 W Compress Rd
New London, TX 75682                   Dallas, TX 75209                  Artesia, NM 88210




Marty Len Esthay                       Martyn Willsher                   Marun Haddad
108 Cove Circle                        Address Redacted                  5308 N Galloway Ste 100
Chesapeake, VA 23325                                                     Mesquite, TX 75150




Marva Collier                          Marva Goldsmith Johnson           Marva Kelly Simmons
2596 Corte Rivera                      7342 South Euclid Avenue          924 Wilson Ave
Pleasanton, CA 94566                   Chicago, IL 60649                 Lufkin, TX 75904-1958




Marvette Gholston Pruitt               Marvin A Wieding                  Marvin Allen Beasley
11800 Grant Rd Apt 2602                PO Box 25                         7521 Millbrook Drive
Cypress, TX 77429-4008                 Three Rivers, TX 78071            Shreveport, LA 71105




Marvin Allen Jordan                    Marvin B And Nancy H Gay          Marvin Butler
PO Box 410                             1906 Mimosa                       786 Seymour Dr
Tenaha, TX 75974-0410                  Ruston, LA 71270                  Frisco, TX 75033-1006




Marvin C Thompson                      Marvin D Webb                     Marvin Davenport
PO Box 3197                            9030 Drumcliffe                   1281 Cr 129
Palestine, TX 75802                    Dallas, TX 75231-4004             Gary, TX 75643-4609




Marvin Donald Stacy                    Marvin E Davidson                 Marvin E Davidson And
11213 Luke St                          771 Hwy 563                       Selma Sanders Davidson
Riverside, CA 92505                    Dubach, LA 71235                  771 Highway 563
                                                                         Dubach, LA 71235




Marvin E Elder                         Marvin E Melson                   Marvin E Melson Susan Lynn Yeargan And
251 Patton Avenue                      7887 Broadway 103                 7887 Broadway St Apt 103
Shreveport, LA 71105                   San Antonio, TX 78209             San Antonio, TX 78209-2536




Marvin Eugene Stuckey                  Marvin G Clafin                   Marvin G Claflin Jr
3208 N 8Th St                          220 Western Avenue                28695 Waikiki
West Monroe, LA 71291                  Madison, MN 56256                 Montgomery, TX 77356




Marvin Henderson                       Marvin Horton                     Marvin Hyatt
2 North Little                         1317 Pritchett Lane               308 Hyatt Road
Fort Scott, KS 66701                   Kemp, TX 75143                    Ruston, LA 71270
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Marvin J Andresen                      Marvin Joe Ray                         Marvin Key Collie Iii
PO Box 71912                           Cause No 2003 313                      c/o Readmore Interests Lp
Fairbanks, AK 99707-1912               c/o District Court Rusk Co Tx          3630 Del Monte
                                       PO Box 1687                            Houston, TX 77019
                                       Henderson, TX 75653



Marvin L Johnson                       Marvin Lee Hopper                      Marvin Lester King
2864 Fm 2108                           Brenda Kaye Owens Hopper               PO Box 544
Diboll, TX 75941                       229 Katie Ln                           Mc Camey, TX 79752
                                       Ruston, LA 71270




Marvin Lewis                           Marvin Lyons                           Marvin Ogilvie
835 W Rosencrans Apt 114               305 West Durham                        Bruce Ogilvie Poa
Gardena, CA 90247                      Madera, CA 93637                       121 S Broadway Ste 572
                                                                              Tyler, TX 75702




Marvin Otis Pelham                     Marvin Paul Richardson                 Marvin Roy Vinson
PO Box 12924                           PO Box 313001                          3675 County Road 241 E
Longview, TX 75607                     Guatay, CA 91931                       Henderson, TX 75652




Marvin W Adams                         Marvin W Hollis And                    Marvin Waters Separate Prop
1229 E Park Dr                         Sharon Kay Thomas Smith Hollis         PO Box 850
Mesquite, TX 75149-6240                183 Ouchley Rd                         Big Pine, CA 93513
                                       Farmerville, LA 71241




Marvin Wayne Taylor                    Marvin Wolf                            Marvin Woodard
1070 Cr 3341                           PO Box 2002                            220 Garr Road
Joaquin, TX 75954                      Denver, CO 80201                       Ruston, LA 71270




Marvis Roberson Grisham                Marvis T Adams                         Mary A Caraway Delahoussaye
PO Box 340                             1633 W Madison Apt 803 South           3804 Vanderbilt Street
Plain Dealing, LA 71064                Chicago, IL 60612                      Lake Charles, LA 70607




Mary A Dennis                          Mary A Griffith                        Mary A Haney
5228 Brooklyn                          c/o Mary Patterson John Griffith Poa   102 Clover Run
Kansas City, MO 64130                  6914 Cedar Cove Ct                     Jonesborough, TN 37659
                                       Charlotte, NC 282700305




Mary A Sullivan                        Mary A Van Veen                        Mary Adams
643 Melody Dr                          16650 Huebner Rd Apt 922               1537 Sims Ave
Northglenn, CO 80260                   San Antonio, TX 78248-2328             Grambling, LA 71245




Mary Agnes Oakes Kendrick              Mary Alene Davis Pippins               Mary Alexandreia Burruss
PO Box 2437                            506 Highway 557                        201 Saint James Place
Keller, TX 76244-2437                  West Monroe, LA 71292                  Chickasha, OK 73018
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Mary Alice Adamson                      Mary Alice Blaylock Robinson          Mary Alice Crawford
1225 S Margrave                         419 College                           905 Cedar St
Ft Scott, KS 66701                      Canon City, CO 81212                  Ruston, LA 71270




Mary Alice Dunaway Famiily              Mary Alice Goebel Dunaway             Mary Alice Goodenough Box
Revocable Living Trust                  514 Lois Lane                         903 N Main 60
Mary Alice Dunaway                      Richardson, TX 75080                  San Angelo, TX 76903
514 Lois Ln
Richardson, TX 75081



Mary Alice Heape                        Mary Alice Heard Testamentary Trust   Mary Alice Heard Tstmntry Trst
16200 Addison 155                       400 Mckinley                          Lee Morris Beneficiary
Addison, TX 75001                       Monroe, LA 71201                      400 Mckinley St
                                                                              Monroe, LA 71201




Mary Alice Hood Love                    Mary Alice Jones                      Mary Alice Matthiesen
Kaye L Ambrose Jerry D Love             8 Oak Shadow Dr                       3701 Turtle Creek Blvd Apt 3D
1410 Pipes Rd                           Kimberling City, MO 65686             Dallas, TX 752195526
Ruston, LA 71270




Mary Alice Pentecost Clark              Mary Alice Yarborough                 Mary Allen Bonnick
4157 Anita Ave                          PO Box 180639                         3834 Regent Drive
Fort Worth, TX 76109                    Dallas, TX 75218                      Dallas, TX 75229




Mary Allen Robinson Smith               Mary Alma Ellington                   Mary Alma Powell
380 Sandefur Place                      PO Box 361                            2155 Us Highway 79 South
Shreveport, LA 71105-3246               Shelbyville, TX 75935                 Carthage, TX 75633




Mary Alyce Lindholm                     Mary Amelia Whited Howell             Mary Anderson Pate Indp Exec Of
6960 Lake View Drive                    Revocable Trust                       Richard D Pate Estate
Corpus Christi, TX 78412                C/O Bank Of America Na                3805 Stillmeadow
                                        PO Box 840738                         Bryan, TX 77802
                                        Dallas, TX 75284-0738



Mary Anderson Wilson                    Mary Ann Bailey Franks Arnold         Mary Ann Belton
14 Crescent Ave                         710 County Road 152                   3863 Hwy 544
Muskegon, MI 49444-3033                 Carthage, TX 75633                    Simsboro, LA 71275




Mary Ann Brandon                        Mary Ann Brown                        Mary Ann C Grant
PO Box 66                               9026 Troulon Dr                       4804 Holly Park Drive
Bullard, TX 75757-0066                  Houston, TX 77036-7358                Pasadena, TX 77505




Mary Ann Carameros                      Mary Ann Clark Revocable Trust        Mary Ann Cordova Mahalik
PO Box 12007                            1642 Sabal Palm Drive                 60 Collins Road
El Paso, TX 79913-0007                  Boca Raton, FL 33432                  Mercerville, NJ 08619
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Mary Ann Curtis LLC                     Mary Ann Curtis Family Trust    Mary Ann Deters Life Estate
PO Box 58095                            Joyce E Silvernail Succ Ttee    285 Co Rd 275E
Oklahoma City, OK 731578095             PO Box 58095                    Sigel, IL 62462
                                        Oklahoma City, OK 731578095




Mary Ann Dubose                         Mary Ann E Wisda Soderberg      Mary Ann Fortenberry
1049 Edgewood Drive                     6394 Harvard Ln                 317 East Magnolia
Pineville, LA 71360                     Highlands Ranch, CO 80130       Huntington, TX 75949




Mary Ann Fronabarger Life Est           Mary Ann Gardner Alford Et Al   Mary Ann Girlinghouse
5810 Lazy Bend Rd                       PO Box 1402                     7670 Brewer Rd
Millsap, TX 76066                       Coushatta, LA 71019             Orange, TX 77632




Mary Ann Hicks Evans                    Mary Ann Hudson Malcolm         Mary Ann Hull
186 Cherry                              777 Custer Road 6 1             8930 Concho St
Tatum, TX 75691                         Richardson, TX 75080            Houston, TX 77036




Mary Ann Jones                          Mary Ann Latham Bradfield       Mary Ann Levine
12437 Cr 200                            3701 Eastledge                  Individual Retirement Account
Bertram, TX 78605                       Austin, TX 78731                Rbc Capital Markets Llc Cust
                                                                        PO Box 2457
                                                                        Naples, FL 34106-2457



Mary Ann Martin Griggs                  Mary Ann Mcshan                 Mary Ann Meier De La Houssaye
3416 Silverwood Drive                   622 Madison                     857 Crystal Bay Lane
Tyler, TX 75701                         Denver, CO 80206                League City, TX 77573




Mary Ann Monnin                         Mary Ann Morell Ross            Mary Ann Patterson
2935 Blackstone Drive                   1708 Palmer St                  1507 E 1st N
Frisco, TX 75033                        Guntersville, AL 35976          Kaufman, TX 75142




Mary Ann Smelley Smidt                  Mary Ann Soden                  Mary Ann Spooner
4309 Glenwood Court                     PO Box 8973                     220 Ruby Lane
Granbury, TX 76049                      Newport Beach, CA 92658         Longview, TX 756041150




Mary Ann Starke                         Mary Ann Stone                  Mary Ann Teal Harris
1008 Jowers Ln                          PO Box 9864                     5600 Timber Ln
Birmingham, AL 35213-2016               Longview, TX 75605              Oklahoma City, OK 73111




Mary Ann Wells                          Mary Ann Williamson             Mary Ann Woods
c/o Texas State Treasury                293 County Road 258             PO Box 1684
Unclaimed Property Division             Beckville, TX 75631             Redmond, OR 97756
PO Box 12019
Austin, TX 78711-2019
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Mary Ann Young Bracey                   Mary Anna C Case               Mary Anna Doster
1325 West Lincoln Highway               4899 Montrose Boulevard 1602   111 Nottingham
Apartment 102 B                         Houston, TX 77006              Nacogdoches, TX 75961-7724
Dekalb, IL 60115




Mary Anne Black                         Mary Anne Blanchard Selber     Mary Anne Napper Cole
16135 Abergreen Trail                   6021 Gilbert Drive             1101 16Th St Apt 203
Houston, TX 77095                       Shreveport, LA 71106           Alexandria, LA 71301-6892




Mary Anne Trimble                       Mary Annette Searcy            Mary Austin Smith
PO Box 1                                309 Barbara Drive              11410 E 100Th St N
Joinerville, TX 75658                   Longview, TX 75604             Owasso, OK 74055-6433




Mary B Barry Estate                     Mary B Morrison                Mary B Renfro
Teresa E Rowe Ind Executrix             3422 Bedford Dr                993 N Highland Ave Apt 1
6253 Fm 326                             Camp Hill, PA 17011            Atlanta, GA 30306
Lufkin, TX 75901




Mary B Simmons                          Mary B Sprinkle                Mary Barnes Baker
3825 Hwy 545                            PO Box 6483                    653 Loop 337 Apr 106
Dubach, LA 71235                        Denver, CO 80206               New Braunsfels, TX 78130




Mary Bates Benson                       Mary Bates Bentsen             Mary Bell Johnson Mckinney
2933 Del Monte Drive                    3711 San Felipe 13F            232 Fire Tower Road
Houston, TX 77019                       Houston, TX 77027              Plain Dealing, LA 71064




Mary Belle Kirkland Tuten               Mary Belle Taylor Holstead     Mary Beth Baker
192 Aubudon Trl                         2801 Hundred Oaks Drive        7402 Cheshire
Ruston, LA 71270                        Ruston, LA 71270               Arlington, TX 76016




Mary Beth Brookins                      Mary Beth Emerson              Mary Beth H Rogers
7414 Avalon Trace                       c/o Julie Emerson Knock Poa    1112 Angela Drive
Richmond, TX 77407                      25027 Fairway Springs          Cedar Hill, TX 75104
                                        San Antonio, TX 78260




Mary Beth Hooper Separate Property      Mary Beth Horn                 Mary Beth Hughes Peacock
3101 Us Hwy 84 E                        4318 Nicklaus                  5 Bunker Hill Court
Tenaha, TX 75974                        Corpus Christi, TX 78413       Longview, TX 75654




Mary Beth Melton                        Mary Beth Parr                 Mary Beth Smith Bearden
1090 Cr 4550                            501 Biscayne Dr                461 Connie Walters Road
Joaquin, TX 75954                       Mansfiled, TX 76063            Calhoun, LA 71225
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Mary Blount Harwitt Unitrust           Mary Bloxom Grubbs               Mary Boles
Wells Fargo Bank Na Trustee            204 Jill Loop                    3774 Fm 699
Sao Dept                               Ruston, LA 71270                 Center, TX 75935
PO Box 40909
Austin, TX 78704



Mary Bradley Horn                      Mary Bramlett                    Mary Brent Bogard
1868 Live Oak Dr                       1154 Hwy 563                     231 Mccarrey No 17
Shreveport, LA 71118                   Dubach, LA 71235                 Anchorage, AK 99508




Mary Brightwell Jansen                 Mary Brim Capers                 Mary Bryans Gammill
PO Box 527                             2424 Fm 1092                     4013 Brooks Court
Girdwood, AK 99587                     Missouri City, TX 77459          Argyle, TX 76226




Mary Bucher                            Mary Bucher Warren               Mary Burbeck Deceased
545 Gamewell Avenue                    266 Buttercup Circle             8300 Mcdowell Rd 1008
Maitland, FL 32751                     Altamonte Springs, FL 32714      Scottsdale, AZ 85257




Mary Burnham Trust                     Mary Burton                      Mary C Cutler Clifford
Lakewood Village 3214                  1003 Fremont                     1115 Thistlemeade Dr
5100 Randol Mill Road                  Muskogee, OK 74401               Houston, TX 77094
Fort Worth, TX 76112




Mary C Glenn Leverett                  Mary C Gordon                    Mary C Holder
116 Tobar Way                          Deceased                         3706 Paisley Lane
El Paso, TX 79912                      175 Oscar Lane                   El Paso, TX 79928
                                       Shreveport, LA 71055




Mary C Parrott Broussard               Mary C Salamone                  Mary C Vehle
6002 Riverview Way                     113 Southport Ct                 PO Box 9
Houston, TX 77057                      Galloway, NJ 08205               Harper, TX 78631




Mary C Waldmeier                       Mary C Wall                      Mary Candace Carter Riddle
28242 Highway P                        29020 Running Rabbit Rd          4602 Lake Bardwell Ct
Center, MO 63436                       Murrieta, CA 92563               Richmond, TX 77469




Mary Cannie Lewis                      Mary Carolyn Tooke Shelter Tst   Mary Carroll Hodkinson
7276 State Highway 7                   Clay Michael Tooke Trustee       Address Redacted
Joaquin, TX 75954                      520 Canterbury Hill
                                       Terrell Hills, TX 78209




Mary Carson Williams                   Mary Casey Lerond                Mary Catherine Anselmi Paul
3513 Tall Pines Ln                     PO Box 571993                    c/o Deborah Paul Lebowitz
Tuscaloosa, AL 35405                   Houston, TX 77257                750 Napoli Dr
                                                                        Pacific Palisade, CA 90272
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Mary Catherine Dammier Fam Tr             Mary Catherine Gibson           Mary Catherine Hardy Dba Mcch LLC
Mary Catherine Dammier Trustee            PO Box 3297                     PO Box 6973
2901 Teckla                               Quinlan, TX 75474               Tyler, TX 75711
Amarillo, TX 79106




Mary Catherine Martin Dammier             Mary Catherine Meier Harris     Mary Catherine Prehoda
2901 Teckla Boulevard                     Individually As Usufruct        3701 Grays Gable Rd
Amarillo, TX 79106                        Katherine Hicks Sale Poa        Laramie, WY 82072
                                          400 Drexel Dr
                                          Shreveport, LA 71106



Mary Catherine Racki                      Mary Catherine Segeleon         Mary Charlotte Berwick Hensley
PO Box 606                                308 Exchange Ave                147 Carriage Court
Rye, TX 77369                             Louisville, KY 40207            Bastrop, TX 78602




Mary Cheek Couchman                       Mary Chevalier                  Mary Chisholm Galle
PO Box 515511                             2884 Fm 139                     PO Box 5754
Dallas, TX 75230                          Joaquin, TX 75954-5618          San Antonio, TX 78201




Mary Christine Wojecki Schapery           Mary Claire Champine            Mary Clare Taliaferro
1101 Old Mill Rd                          23 Apple Street                 646 Ockley Dr
Cedar Park, TX 78613                      Bremerton, WA 98310             Shreveport, LA 71106




Mary Cole                                 Mary Constance Wood             Mary Cornelia Grayson
c/o Laurie Manno Emeritus Senior Living   PO Box 1782                     4018 N Story Road 1312
4828 Medical Dr                           Dripping Springs, TX 78620      Irving, TX 75038
Bossier City, LA 71112




Mary Coughlin Trustee                     Mary Courtney Brymer            Mary Cp Broussard Trst J
Family Tr For Mary L Coughlin             2600 Highway 73                 Parro Trust Dept
2012 Micrest Drive                        Marianna, FL 32448-5442         Team Bank
Plano, TX 750758541                                                       PO Box 99084
                                                                          Fort Worth, TX 76199



Mary Cp Broussard Trst Parrott            Mary Crews Palmer               Mary Cross Woodley
c/o Trust Department                      PO Box 653                      2815 Victory Ln 309
Team Bank                                 Fulton, MO 65251                Brenham, TX 77833
PO Box 99084
Fort Worth, TX 76199



Mary Cummings Lowery Nordberg             Mary Cummings Revocable Trust   Mary D Edwards
802 Erie St                               PO Box 130                      604 Mt Olive Rd
Shreveport, LA 71106                      Joaquin, TX 75954               Ruston, LA 71270




Mary D Fleming Walsh Estate               Mary D Hill                     Mary D Luster
F Howard Walsh Jr Indp Exec               PO Box 839                      Texas State Comptroller
500 W 7Th St Ste 1007                     Grambling, LA 71245-0839        Unclaimed Property Division
Fort Worth, TX 76102                                                      PO Box 12608 Capitol Station
                                                                          Austin, TX 78711
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Mary D Mumford                           Mary D Mumford Dallas Puett    Mary D Mumford Francine H Mayfield
14306 Weldon Ln                          3101 Shoreline Drive           Dallas Puett
Austin, TX 78728                         Apt 428                        9219 Anderson Mill Rd Apt 220
                                         Austin, TX 78728               Austin, TX 78729




Mary Deason Street                       Mary Debora Brady              Mary Dell Baird
1074 County Road 217                     1804 Lake Crest Lane           417 Winged Foot Dr
Nacogdoches, TX 75965-4869               Plano, TX 75023                Lufkin, TX 75901




Mary Delores Gunnels                     Mary Delores Johnson           Mary Denis Dozier Garrett
1415 N 7Th Street                        PO Box 5426                    PO Box 188
Wichita Falls, TX 76301                  Edmond, OK 73083               Pegram, TN 37143




Mary Diane Hitt                          Mary Diane Walpole Hennigan    Mary Dorsey Cartwright
4417 Santa Cruz Lane                     188 Vallery Road               1715 Norris Dr
Mckinney, TX 75070                       Deridder, LA 70634             Austin, TX 78404




Mary Dorthy Maxfield                     Mary Dru M Burns               Mary E Aldrich
3929 Hatherly Dr                         PO Box 3309                    45 Esopus Ave
Plano, TX 75023-5032                     Alice, TX 78333                Ulster Park, NY 12487




Mary E Borthick                          Mary E Brady Estate            Mary E Calvin
5635 Borthick Road                       Mary Brady Personal Rep        6341 Stewart Rd
Springfield, TN 37172                    1804 Lake Crest Lane           Galveston, TX 77551-1880
                                         Plano, TX 75023




Mary E Crabb Cleveland Tr                Mary E Craighead               Mary E Edmiston
Mary E Crabb Ttee                        6349 Milne Blvd                1901 N Akard St
4018 Villanova St                        New Orleans, LA 70124-2036     Dallas, TX 752012305
Houston, TX 77005




Mary E Favot                             Mary E Ford Nelson             Mary E Hamel Trust
PO Box 1494                              1819 Park Row Ii 104           c/o Trust Department
Oroville, CA 95965                       Dallas, TX 75215               1st National Bank Trust
                                                                        5817 Manatee Avenue West
                                                                        Bradenton, FL 34209



Mary E Holley Dubbs                      Mary E Hooper                  Mary E Johnson
2110 Dundee Drive                        1726 Sybil Lane                13650 Rolling Hills Drive
Decatur, AL 35603                        Tyler, TX 75711                Beaumont, TX 77713




Mary E Mcreynolds                        Mary E Mitchell Estate         Mary E Pate
23 Travis Corners Rd                     c/o Charlie Lee Mitchell       1802 Elm St 504
Garrison, NY 10524                       3770 Blunt Mill Rd             Henderson, TX 75652
                                         Grand Cane, LA 71032
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Mary E Rives                           Mary E Salocker                  Mary E Smith
1409 Shands Court                      2021 Westwood Acres Drive        3148 Hunting Creek Pass
Kirkwood, MO 63122                     Ft Dodge, IA 50501               Douglasville, GA 30135




Mary E Sutton                          Mary E Watson                    Mary E Wright
10405 Town Country Way 305             712 W Main                       20450 Huebner Road Apt 12122
Houston, TX 77024                      Olney, TX 76374                  San Antonio, TX 782583911




Mary Earl                              Mary Edith Freudendorf           Mary Edna Mcclellan Cathey
Edith Booker Nat Tutrix                3812 Woodside Drive              Pamela Lee Cathey Jones Aif
c/o Frank A May                        Monroe, LA 71201                 1359 Hwy 815
642 Booker Loop Rd                                                      Simsboro, LA 71275
Mansfield, LA 71052



Mary Edrita Ford Braun Estate          Mary Elaine Pearl                Mary Elaine Plants Leblanc
Portia S Nagel Exctrx                  1314 Madison                     PO Box 849
749 Independence Boulevard             Alice, TX 78332                  Village Mills, TX 77663
Romeoville, IL 60446




Mary Eleanor Harris Temple             Mary Eleanor W Small             Mary Elizabeth Baker Houston
Separate Property                      1328 Chardonnay                  5343 Yankee Canyon Cir
2017 Hwy 544                           Houston, TX 77077                Lake Isabella, CA 93240
Ruston, LA 71270




Mary Elizabeth Bevill                  Mary Elizabeth Branch Sledge     Mary Elizabeth Brightwell
2517 Pebble                            200 Majestic Oaks Dr Apt 111     3358 Fm 225 S
Grandbury, TX 76048                    Shreveport, LA 71115             Henderson, TX 75654-8626




Mary Elizabeth Cadenhead               Mary Elizabeth Chandler Hanson   Mary Elizabeth Clark Gay
3637 Cargill Road East                 170 Pomeroy Dr                   6107 Majestic Hill Dr
Marshall, TX 75672                     Shreveport, LA 71115             Kingwood, TX 77345




Mary Elizabeth Conn                    Mary Elizabeth Dardeau           Mary Elizabeth East
440 Louisiana St Ste 200               PO Box 310758                    13314 Castleton Drive
Houston, TX 77002                      New Braunfels, TX 78131          Farmers Branch, TX 75234




Mary Elizabeth Evans                   Mary Elizabeth Fowler Hearne     Mary Elizabeth Hancock Thomson
42 Commanders Cove                     35 Cape Jasmine Place            542 Dalzell St Apt 358
Missouri City, TX 77459                The Woodlands, TX 773816458      Shreveport, LA 71104




Mary Elizabeth Harris                  Mary Elizabeth Harrison Trant    Mary Elizabeth Holley
Aka Betsy Mcintyre Harris              PO Box 233                       1256 Plum Street
8906 Bonhomme Rd                       145 Bagwell Road                 San Diego, CA 92106
Houston, TX 77074                      Choudrant, LA 71227
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Mary Elizabeth Hooker Wise             Mary Elizabeth K Wright        Mary Elizabeth Lacase Allis
2823 Hillcrest Circle                  835 Park St                    PO Box 52910
Benton, LA 71006                       Gilmer, TX 75644-3341          Lafayette, LA 70505-2910




Mary Elizabeth Landers Smith           Mary Elizabeth Lucy Mann       Mary Elizabeth M Johnson
4837 Preston Trail Dr                  1186 Landon Lane               1918 Sunset Blvd
Mesquite, TX 75150-1132                Allen, TX 75013                Houston, TX 77005-1649




Mary Elizabeth Meyer                   Mary Elizabeth Neel Joyce      Mary Elizabeth Peebles
PO Box 235                             718 Devonshire Drive           3700 Legacy 3105
Dillon Beach, CA 94929                 Richardson, TX 75080           Frisco, TX 75034




Mary Elizabeth Roelke                  Mary Elizabeth Roncarelli      Mary Elizabeth Schram Trust
Trustee Of Mary E Roelke               423 Avenue Road Unit 13        c/o Jpmorgan Chase Bk Na Ttee
Trust Dated 4 24 1989                  Toronto, ON M4V 2H7            Trust Minerals Sec 1002602
15 Pipe Rd Apt K308                    Canada                         PO Box 99084
Scarbourough, ME 04074                                                Fort Worth, TX 76199-0084



Mary Elizabeth Semmes Waller           Mary Elizabeth Simmons         Mary Elizabeth Speed Wooten
PO Box 12349                           820 12Th Ave N                 1250 Alaska Ave
San Antonio, TX 78212                  Texas City, TX 77590           Dallas, TX 75216




Mary Elizabeth Spicer                  Mary Elizabeth Thompson        Mary Elizabeth Ward
2500 Alder St 67                       162 Pleasant Grove Rd          409 Ockley Drive
Milton, WA 98354                       Choudrant, LA 71227            Shreveport, LA 71105




Mary Ella Evans Clemons                Mary Ella Rogers               Mary Ella Zilkey Test Trust
PO Box 408                             6314 B Bandera                 Billie Zilkey Trustee
Dubach, LA 71235                       Dallas, TX 75225               295 Plainview Circle
                                                                      N Little Rock, AR 721168913




Mary Ellen A Cribbs                    Mary Ellen Barry               Mary Ellen Campbell
10720 Cr 224                           6253 Fm 326                    434 Cr 207 W
Abilene, TX 79602                      Lufkin, TX 75901-1913          Henderson, TX 75652




Mary Ellen Dring Gamble                Mary Ellen Fuqua Stout         Mary Ellen Kenderdine
4040 Germantown Road                   PO Box 595192                  112 Barbara Street
Minden, LA 71055                       Dallas, TX 75359               Center, TX 75935




Mary Ellen Lee                         Mary Ellen Lewis               Mary Ellen Lowe
22308 Dolorosa St                      1725 North Estelle             559 Cr 3286
Woodland Hills, CA 91367               Wichita, KS 67214              Joaquin, TX 75954
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Mary Ellen Oneil Ruiz                   Mary Ellen Pinkston                      Mary Ellen Sheffield
PO Box 788                              c/o James W Baker Gilbert E Baker Aif    7750 Chelsea Place
Beeville, TX 78104                      4603 Willow Park Ct                      Beaumont, TX 77706
                                        Arlington, TX 76017




Mary Ellen Watson Averett               Mary Ellen Winn Trustee                  Mary Ellis Humes
110 Regency Pl Apt G104                 14001 E Marina Dr Apt 612                PO Box 492850
West Monroe, LA 71291-4492              Aurora, CO 80014                         Sacramento, CA 94250




Mary Eloyce Lewis Joseph                Mary Enzor Davis                         Mary Estelle Harrell
355 Millard Farmer Ind Blvd             1245 Bay Pointe Terrace                  586 Salem Rd
Apt 210                                 Alpharetta, GA 300056954                 Dubach, LA 71235
Newnan, GA 30263




Mary Ethel Humphries                    Mary Ethel Morgan                        Mary Etta Mitchell
321 Woodside Drive                      1609 Calion Rd                           16095 Hwy 64
Hampton, VA 23669                       El Dorado, AR 71730                      Somerville, TN 38068




Mary Etta Rogers Roane                  Mary Etta Williams                       Mary Eva Rogers
519 Garr Road                           1318 Phoebe Lane                         1098 Hwy 59 South
Ruston, LA 71270                        Garland, TX 75040                        Timpson, TX 75975




Mary Evelyn Champion                    Mary Evelyn Gregg Kinsala                Mary Evelyn Mcguire
5002 Largo Drive                        PO Box 1600                              840 Kings Hwy
Granbury, TX 76049                      Kyle, TX 78640                           Shreveport, LA 71104




Mary Evelyn Smith                       Mary Evelyn Weaver Smith                 Mary F Barker
336 Plantation Dr East                  142 Wendy Lane                           9 Westcreek Pl
Burleson, TX 76028                      Trinity, TX 75862                        Plano, TX 75074




Mary F Castleberry Estate               Mary F Grush                             Mary F Ivy
1400 Herman Drive 14H                   PO Box 1268                              1415 Pettit
Houston, TX 77004                       Kilgore, TX 75663                        Tyler, TX 75701




Mary F Lempert                          Mary F Mead Irrevocable Trust            Mary F Meador
5200 Runnin River Drive                 David L Mead Daniel F Mead Co Trustees   6905 Wildglen
Plano, TX 75093                         3718 East 82nd Street                    Dallas, TX 75230
                                        Tulsa, OK 74137




Mary F Overall Cariker                  Mary Faye Williams                       Mary Ferguson Hooper
6310 Hilltop Trail                      1003 Chapparal Route 6                   3101 U S Hwy 84
Sachse, TX 75048                        Marshall, TX 75670                       Tenaha, TX 75974
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Mary Foley                              Mary Forrester Nesbitt          Mary Frances Carter
803 W Jefferson                         PO Box 148                      2008 Nw 56Th Ter
Waxahachie, TX 75165                    Keatchie, LA 71046              Oklahoma City, OK 73118-1412




Mary Frances Carter Rev Trust           Mary Frances Cole Rawls         Mary Frances Combs
David A Mary Ann Carter Co T            2704 Kessler Avenue             209 Millridge Court
2008 Nw 56Th Terr                       Midland, TX 79701               White Oak, TX 75693
Oklahoma City, OK 73118




Mary Frances Davidson Cole              Mary Frances Donoho Estate      Mary Frances Fickett
2047 Myrtledale Ave                     Sharon A Patridge Exec          12519 Shepherds Ridge Dr
Baton Rouge, LA 70808                   438 E Shaw 152                  Houston, TX 77077-2921
                                        Fresno, CA 93710




Mary Frances Johnson                    Mary Frances Loftus Coleman     Mary Frances Monteith
3307 Jackson Ave                        5807 Gilbert Dr                 1214 Potomac Dr
Tyler, TX 75705                         Shreveport, LA 71106            Houston, TX 77057




Mary Frances Price Cardwell             Mary Frances Pugh               Mary Frances Rasberry Shively
3985 Hwy 544                            c/o Texas State Treasury        14030 Highway 19 S
Simsboro, LA 71275                      Unclaimed Property Division     Emerson, AR 71740
                                        PO Box 12019
                                        Austin, TX 78711-2019



Mary Frances Sanders A Single Woman     Mary Frazier                    Mary Freda Simpson
805 Owens Road                          510 East Unitah                 4714 Willowick Blvd
Calhoun, LA 71225                       Colorado Springs, CO 80903      Alexandria, LA 71303




Mary Fuller Washington                  Mary Furrh Cooke                Mary Furrh Gomez Life Estate
1501 Meadowcrest Drive                  PO Box 60                       PO Box 681434
Garland, TX 75042                       Elysian Fields, TX 75642-0060   San Antonio, TX 78268-1434




Mary G Brelsford Trust                  Mary G Veselka                  Mary G Walsh
Fbo Charlotte Brelsford                 3806 Avery Woods Lane           5104 Randall Lane
PO Box 8385                             Cedar Park, TX 78613            Bethesda, MD 20816
Tyler, TX 75711




Mary Gay Kennedy Barnes                 Mary Gayle Bennett              Mary Gayle Ramsey Tuggle
PO Box 277                              PO Box 2645                     PO Box 816
Scott, LA 70508                         Longview, TX 75606              Terrell, TX 75160




Mary Gene Heard                         Mary George Sandifer            Mary Gholston Reliford
226 Dolores Dr                          5517 East Meadow                1340 Bold Forbes Drive
Marshall, TX 75672-1397                 Bossier City, LA 71112          Grand Prarie, TX 75052
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Mary Gibson Parrish                      Mary Gill Bryant                 Mary Gladys Sims Gardner
1104 Jones Road                          2751 Tammerack Ln                2603 South 6Th Street
Highlands, TX 77562                      Hampton Cove, AL 35763           Monroe, LA 71202




Mary Glenn Chew                          Mary Gordon Leith Rutrough       Mary Grant Mcdonald
4300 Dellwood Dr                         1821 Claxton Dairy Rd F2         2003 Harper St
Odessa, TX 79762                         Dublin, GA 31021                 Newbery, SC 29108




Mary Griggs                              Mary H Brown Trust U/W/O         Mary H Hovey
3293 S Jay St                            Grace M Johnson                  291 Cr 3794
Denver, CO 80227                         141 Lamont Ave                   Joaquin, TX 75954
                                         San Antonio, TX 78209




Mary H Reynolds                          Mary H Starr Trust               Mary H Stenhaug Estate
1615 Mccullin Road                       Joan Devlin Mary Kelley          1300 Linda Vista Dr
Dubach, LA 71235                         Successor Co Trustees            Casper, WY 82609
                                         PO Box 1157
                                         Eagle Point, OR 97524



Mary Hale Palmer                         Mary Harris Sutton Irrev Trust   Mary Hay Living Tr Dtd 5 17 05
1550 Sycamore Avenue                     c/o Elizabeth Dawson Trustee     410 B St
Apt 308                                  126 Bellemeade Trace             Rock Springs, WY 82901
Hercules, CA 94547                       Clinton, MS 39056




Mary Heard Scott                         Mary Hebert                      Mary Helen Baker Moss
164 Ilex Drive                           3111 Hwy 59                      1903 Mimosa Dr
Canton, GA 30114                         Mandeville, LA 70471             Ruston, LA 71270




Mary Helen Culpepper                     Mary Helen Heidelberg            Mary Helen Morgan
116 Heatherglen Drive                    1811 OKeefe Rd                   1310 Alpine
Coppell, TX 75019                        Jacksonville, TX 75766           Longview, TX 75601




Mary Helen White Horneman                Mary Helen Young Mccoy           Mary Helen Zant Adcock
116 Downing Court                        518 Redgate Ave                  1605 Stanolind
Bossier City, LA 71111                   Norfolk, VA 23507                Midland, TX 79705




Mary Hobart Key                          Mary Hodde Management Trust      Mary Hodges Gray LLC
2501 Kenmore Court                       9514 Sharpview                   779 Sw Fifth St
Austin, TX 78703                         Houston, TX 77036                Dundee, OR 97115




Mary Holland Brown                       Mary Hough Penwell               Mary Howard Wallace
210 Larchmont Drive                      399 Antler                       10631 Wolbrook Drive
San Antonio, TX 78209                    Longview, TX 75605               Houston, TX 77016
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Mary Howell                             Mary Hunt Boutwell                  Mary Hunt Huddleston
831 Blue Oak                            4252 Claycut Road                   3921 Normandy Avenue
Lewisville, TX 75067                    Baton Rouge, LA 70806               Dallas, TX 75205




Mary Hutto                              Mary Hyden Hunter                   Mary Iddings Howell
442 Fm 2428                             PO Box 4397                         831 Blue Oak
Joaquin, TX 75954                       Waco, TX 76708                      Lewisville, TX 75067




Mary Imogene Harley Cox                 Mary Ina Gray                       Mary Inez Hudson Norris
5014 Brent Road                         3185 Hackney Street                 401 Academy Street
Longview, TX 75604                      Longview, TX 75602                  Farmerville, LA 71241




Mary Inez Norris Hudson                 Mary Ivory Smith                    Mary J Bowen
401 Academy Street                      c/o Bk Of Tx Fao Mary Ivory Smith   184 Via Colinas
Farmerville, LA 71241                   Acct 7189161018                     Westlake Village, CA 91362
                                        PO Box 1588
                                        Tulsa, OK 74101-1588



Mary J Deutsch                          Mary J Dollahite Dunnahoo           Mary J Ellis
Dba Triple M Swab Tanks                 410 Coronado                        523 West Grand Ave
PO Box 135                              Kerville, TX 78028                  Grambling, LA 71245
New London, TX 75682




Mary J Holt                             Mary J Peters                       Mary J Robinson
924 Mandeville Street                   309 Neuse Dr                        1906 Dixie St
New Orleans, LA 70117                   Chocowinity, NC 27817               Ruston, LA 71270




Mary J Slagle                           Mary J Turbeville Fogerty           Mary J Weaver
2119 Kimberly Dr                        6856 Gaston Ave                     312 April Sun Court
Arlington, TX 76010                     Dallas, TX 75214                    Woodland Park, CO 80863




Mary Jackson Jordan                     Mary Jane Adams Stephenson          Mary Jane Cameron Mcelroy Iii
7304 Bryden St                          176 Griffin Road                    701 Ambassador
Detroit, MI 48210                       Ruston, LA 71270                    Marshall, TX 75672




Mary Jane Clark                         Mary Jane Collins Hartman           Mary Jane Dossett
2318 Airline Road                       145 Leon St                         c/o Texas State Treasury
Longview, TX 75605                      Gibsland, LA 71028-4911             Unclaimed Property
                                                                            PO Box 12019
                                                                            Austin, TX 78711-2019



Mary Jane Fischer Rosenbaum             Mary Jane Grant                     Mary Jane H Wilson
1331 Vassar St                          769 A Espada                        5534 Montrose Dr
Houston, TX 77006-6029                  El Paso, TX 79912                   Dallas, TX 752095610
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Mary Jane Hunter                        Mary Jane Mccrary                         Mary Jane Mcgary
1417 W Walker Dr                        PO Box 51                                 Bank Of America Na Agent
Rogers, AR 72756-2309                   Elysian Fields, TX 75642                  PO Box 840738
                                                                                  Dallas, TX 75284




Mary Jane Roper                         Mary Jane Rose Johnson                    Mary Jane Rosenbaum Estate
c/o William Jacob Darilek               810 Avondale St                           Philip Mark Weinstein Ind Exec
4407 Manchaca Rd                        Amarillo, TX 79106                        C/O Farmers National Co Agent
Austin, TX 78745                                                                  PO Box 3480 Oil And Gas Dept
                                                                                  Omaha, NE 68103



Mary Jane Turner                        Mary Jane Ware Howe                       Mary Jane Wellings
4705 Rangewood Dr                       117 El Rancho Way                         1106 Challenger
Flower Mound, TX 75028-1695             San Antonio, TX 782092115                 Lakeway, TX 78734




Mary Jane Whitaker Stansell             Mary Jane Williams                        Mary Jane Wylie
PO Box 1212                             2620 Shenandoah Dr                        2905 Celebration Way
Dripping Springs, TX 78620-1212         Tyler, TX 75701                           Longview, TX 75605




Mary Jane Yaw                           Mary Janet Caldwell Strebeck              Mary Jean Blanton Trust
840 Vz Cr 1819                          5216 Argonne Blvd                         Mary Jean Blanton Trustee
Grand Saline, TX 75140                  Alexandria, LA 71303                      PO Box 959
                                                                                  Paris, TX 75461




Mary Jean Colvin Moore                  Mary Jean Lett                            Mary Jean Martin Dugdale
231 Audobon Drive                       5409 Claymoor                             258 Dugdale Rd
Ruston, LA 71270                        Austin, TX 78723                          Choudrant, LA 71227




Mary Jean S Grant                       Mary Jean Shah                            Mary Jess Farmer
1012 Taylor St                          2500 Cr 359                               740 E 8Th Street
Ruston, LA 71270                        Pagosa Springs, CO 81147                  Mesa, AZ 45220




Mary Jlr Partnership Ltd                Mary Jo Colvin Kane                       Mary Jo Heller
By ItS General Partner                  69411 Ramon Rd 473                        PO Box 445
Mary Jlr Management Co Llc              Cathedral City, CA 92234                  Joaquin, TX 75954
1613 Northumberland Rd
Austin, TX 787033143



Mary Jo Houck                           Mary Jo Kallsen                           Mary Jo Minihan
3245 W Main St                          PO Box 400019                             1180 Derby
Frisco, TX 75034                        Hesperia, CA 92345                        Casper, WY 82609




Mary Jo Nixon Heller                    Mary Jo Rogers Magers Separate Property   Mary Joan Brumley H M Wilson
PO Box 445                              PO Box 700175                             6176 Hwy 160
Joaquin, TX 75954                       Tulsa, OK 74170-0175                      Cotton Valley, LA 71018
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Mary Joesphine Runge                    Mary John Snyder                  Mary John Spence Trust I
Revocable Trust Dated 2 23 05           38 Somers Ct                      Regions Morgan Keegan Trust
PO Box 4344                             Cockeysville, MN 21030            Acct 6712000193 Nrre Os Group
Greenwood Village, CO 80155-4344                                          PO Box 11566
                                                                          Birmingham, AL 35202



Mary John Spence Trust Ii               Mary Johnston Miedringhause       Mary Johnston Niedringhause
Regions Morgan Keegan Trust             Ttee Fbo Mark Harris Montfort     Executrix
Nrre Ops Group Acct 6712000200          112 Bluebonnet Lane               George Worth Johnston Jr Est
PO Box 11566                            Palmer, TX 75152                  112 Bluebonnet Lane
Birmingham, AL 35202                                                      Palmer, TX 75152



Mary Johnston Niedringhause             Mary Jon Bryan                    Mary Jordan Vogler
Trustee                                 445 E Cheyenne Mtn Blvd           808 Ridgefield
Fbo Mason Sierra Montfort               Suite C 403 Pmb                   Plano, TX 75075
112 Bluebonnet Lane                     Colorado Springs, CO 80906-4570
Palmer, TX 75152



Mary Josephine Berg Small               Mary Josephine H Garcia           Mary Josephine Mcknight Runge
12854 County Road 281 N                 PO Box 450782                     c/o Mary Keely Runge Aif
Kilgore, TX 75662-7947                  Laredo, TX 78045                  PO Box 4344
                                                                          Greenwood Village, CO 80155-4344




Mary Joyce Hill                         Mary Joyce Holland Pellham        Mary Judith Louise Robinson
65 Trestle Dr                           704 County Road 237               Box 10071
Hayward, CA 94544                       Beckville, TX 75631               Tyler, TX 75711




Mary June Brewster Mendias              Mary June Helveston               Mary K Anglin
9909 Wood Forest                        PO Box 628                        PO Box 3
Dallas, TX 75243                        Tatum, TX 756910628               Penland, NC 28765




Mary K Friskics Warren                  Mary K Kennedy                    Mary K Kyger
1719 Holly Street                       2789 Hanging Tree Road            PO Box 151938
Nashville, TN 37206                     Bowie, TX 76230                   Lufkin, TX 759151938




Mary K OKeefe                           Mary K P Cunyus Estate            Mary K R Hazen
Trustee OKeefe Mgmt Trust               c/o Sally B Cunyus King           c/o The F And M Bank Trust
12 Heatherstone Ct                      5401 54Th Street Apt 86           PO Box 4500
Trophy Club, TX 76262                   Lubbock, TX 79414                 Acct 41891694
                                                                          Tulsa, OK 74159



Mary K Rabin                            Mary K Vignali                    Mary K Wyatt Bradham
Philip N Rabin                          2204 Kaskaskia                    PO Box 822
Tenant Common                           Springfield, IL 62702             Argyle, TX 762260822
90 Greenfield Court
Little Silver, NJ 07739-1811



Mary Kate Holstead Graham               Mary Katherine Cullinan           Mary Katherine Gray
2700 Lovers Lane                        3 Palisade Rd                     c/o Stephen L Gray Her Aif
Ruston, LA 71270                        Elizabeth, NJ 07208               2002 Timberloch Place
                                                                          Suite 200
                                                                          The Woodlands, TX 77380
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Mary Katherine Hewett                  Mary Katherine Long             Mary Kathleen Foster Anderson
Deceased June 2006                     PO Box 4992                     2014 Verbena Dr
4920 La Roache Pondorosa 26            Jackson, WY 83001               Austin, TX 78750
Savannah, GA 31404




Mary Kathleen Oconnor Hargrave         Mary Kathleen Roberson Hart     Mary Kathleen Simpson Moen
PO Box 3087                            101 Hart Drive                  10627 Gawain Ln
Canyon Lake, TX 78133                  Hook, TX 75561                  Houston, TX 77024




Mary Kathlyn Jones                     Mary Kathryn Campbell Meadows   Mary Kathryn Jones Burger
PO Box 486                             483 Cupit Road                  2402 Dorson Way
Lecompte, LA 71346                     Longview, TX 756047603          Delray Beach, FL 33445




Mary Kathryn Meyer                     Mary Kathryn Salvato Warren     Mary Kay Colvin White
PO Box 283                             8954 Cr 3602                    1600 Quail Lane
Judson, TX 75660                       Quinlan, TX 75474               Ruston, LA 71270




Mary Kay Howard Anderson               Mary Kay Mccall                 Mary Kay Singleton
598 Goodgoin Road                      13210 Beach Road                2001 W Jacobs Ave
Ruston, LA 71270                       Chesterfield, VA 23838          Artesia, NM 88210-2534




Mary Kendrix Malcolm                   Mary Kenley                     Mary Kenner
Rt 2 Box 44 A                          403 Locust Fork Rd              583 Rivergrove Dr
Simsboro, LA 71275                     Stamping Ground, KY 40379       Houston, TX 77015




Mary Kilpatrick Webb                   Mary Kinsey                     Mary Kuykendall
2170 Hickory St                        4226 Rainfall Drive             205 Greer St
Arcadia, LA 71001                      Pasadena, TX 77505-3890         San Angelo, TX 76903




Mary L Armstrong                       Mary L Brinson                  Mary L Cantrell
4014 Honey Oaks Dr                     Address Redacted                11360 Thousand Pines Cir
Seabrook, TX 77586                                                     Frankston, TX 75763




Mary L Denman Test Tr                  Mary L Evans Separate Prop      Mary L Giles
Fbo Christina Branton                  2501 Nason Avenue               1040 W 60Th St
Margaret D Branton Ttee                El Cerrito, CA 94530            Los Angeles, CA 90044
127 E Lynwood Ave
San Antonio, TX 78212



Mary L King Wildridge                  Mary L Malakoff                 Mary L Mauritzen
104 Gadwell Court                      1910 W 41st St                  2372 Fm 1970
Daytona Beach, FL 32119                Austin, TX 78731-6021           Carthage, TX 75633
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Mary L May                                 Mary L Muntz                     Mary L Newsom Kilmer Estate
2531 Cutting Blvd                          5815 Hwy 59N 20                  c/o William Sanders Administra
Richmond, CA 94804                         Marshall, TX 75670               2807 Joseph St
                                                                            New Orleans, LA 70115




Mary L Oden                                Mary L Pierce                    Mary L Ruff
PO Box 1806                                1032 W 74Th Street               13 Iris Cir
Shreveport, LA 71166                       Los Angeles, CA 90044            Longview, TX 75601-3908




Mary L Schoonmaker                         Mary L Treadway Zimmerman Est    Mary L Wiltz
PO Box 11512                               c/o Mildred Treadway Vannoy      317 W Hyacinth St
Bainbridge Isla, WA 98110                  11748 Us Hwy 190 E               St Martinsville, LA 70582
                                           Livingston, TX 77351




Mary Lamartine Mckay Saied                 Mary Lassiter Schmidt            Mary Lataine Mcnew
1509 El Paso Street                        505 N Ohio St                    1245 10Th St M 3
Wellington, TX 79095                       Coffeyville, KS 67337-1110       Spearfish, SD 57783




Mary Latham Banzhoff                       Mary Laura Evans Courter         Mary Lavinia I Mclendon
Barbara B Eoff Poa                         3547 Millbrook Drive             201 Kimberly Dr
6925 Carlisle Ct 302                       Baton Rouge, LA 70816            Greensboro, NC 27408
Naples, FL 34109




Mary Lawana Woodard                        Mary Leanne Hardy                Mary Leblanc
C/O 1417 Cottonwood Trail                  PO Box 837                       PO Box 42
Anna, TX 75409                             Haughton, LA 71037-0837          Gilmer, TX 75644-0042




Mary Lee Chevalier                         Mary Lee Chevalier Life Estate   Mary Lee Davis
3455 Shore Shadows Drive                   3455 Shore Shadows               c/o Unclaimed Property Div
Crosby, TX 77532-7222                      Crosby, TX 77532                 PO Box 12019
                                                                            Austin, TX 78711-2019




Mary Lee Farrar                            Mary Lee Koltz Estate            Mary Lee Lankford Morris
200 Hudgins St                             Newton A Koltz Personal Assist   515 Tallowood Rd 35
Smithville, TX 78957                       118 Prospect Park West 3         Houston, TX 77024
                                           Brooklyn, NY 11215




Mary Lee Parke                             Mary Lee S Mcleod                Mary Leonard
c/o Texas Comptroller Of Public Accounts   11230 Ballantyne Trace Ct 4      Aif For Houston Williams Jr
Unclaimed Property Division                Charlotte, NC 28277              106 Lucy Leonard Rd
PO Box 12019                                                                Quitman, LA 71268
Austin, TX 78711-2019



Mary Lewan Harris                          Mary Lewis Killings              Mary Lewis Newson Kilmer Deceased
2201 Horseshoe Ln Apt 111                  Sha Lynn Lewis Poa               2777 Myrtle Street
Longview, TX 75605-5652                    3708 Broyles St                  Arcadia, LA 71001
                                           Houston, TX 77026
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Mary Lillian Smith Tste                 Mary Linda Cook                          Mary Linda Hull Bagley
Uwo Leon Richard Smith Jr               396 Van Buren St                         4305 Toler Rd
115 Gatewood                            Los Altos, CA 94022                      Rowlett, TX 75089
San Antonio, TX 78209




Mary Linda Ley Ament                    Mary Linda Ley Cutler                    Mary Linda Mccall
1310 Caravelle Ct                       Childrens Trust U/W/O Homer E Ley Ttee   PO Box 630585
Katy, TX 77494                          Linda Ley Ament Trustee                  Houston, TX 77263
                                        1310 Caravelle Court
                                        Katy, TX 77494



Mary Linn Wecker                        Mary Lizzie Martin Irrevoc               Mary Locke Stults
PO Box 1010                             Tst Dated 7/08/1992                      1342 Scrub Oak Cir
Jackson, WY 83001                       Jay Hemby Trustee                        Boulder, CO 80305
                                        2701 Sun Meadow Dr
                                        Flower Mound, TX 75022



Mary Loe Shuckrow                       Mary Lois Fleming Mcilwain               Mary Lois Johnson
9 S Catahoula Ct                        1918 Sunset Blvd                         10802 Bridlewood
Kenner, LA 70065-3923                   Houston, TX 77005                        Houston, TX 77024




Mary Lois Laroe Lacy                    Mary Lois Western Irvin                  Mary Long
12266 N Hwy 170                         215 Co Rd 1434                           8397 Fm 744
Farmington, AR 72730                    Morgan, TX 76671                         Perry, TX 75102




Mary Lou Alford                         Mary Lou Cannon Quillian                 Mary Lou Carroll And Glenn Woodall
1025 Poplar Blvd Apt 5                  610 Fair Lane Drive                      PO Box 358
Jackson, MS 39202                       Karnes City, TX 78118-2607               Marshall, TX 75671




Mary Lou Craft Mcguffee                 Mary Lou Davies                          Mary Lou H Green Tr
217 Country Club Road                   288 Pine Hills Drive                     101 W Phillips St Ste C
Leesville, LA 71446                     Calhoun, LA 71225                        Conroe, TX 77301-2670




Mary Lou Johannessen Life Est           Mary Lou Johnson                         Mary Lou Lewis
PO Box 369                              2313 Trinity Park Ct                     906 Madison St
Sburger, TX 77660                       Deer Park, TX 77536                      Alice, TX 78332




Mary Lou Mankin                         Mary Lou Marshall                        Mary Lou Matlock Life Estate
4626 Silverthorn Dr                     333 Cr 34760                             c/o Jane S Gore Poa
Jacksonville, FL 32258                  Paris, TX 75460                          400 Sommerville Ct
                                                                                 Arlington, TX 76013




Mary Lou Mcguffee                       Mary Lou Mcroberts                       Mary Lou Meredith
217 Country Club Road                   110 Jason Court                          5701 Virginia Pkwy Apt 3302
Leesville, LA 71446                     Bullard, TX 75757                        Mckinney, TX 75071
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Mary Lou Nix                           Mary Lou Raymer                Mary Lou Shaffer
445 County Road 1425                   466 Upper Gulph Road           44 Spring Lake Way
Bonham, TX 75481                       Radnor, PA 19087               Shreveport, LA 71106




Mary Lou Spivey                        Mary Lou Vanderburg            Mary Lou Wilson
110 East Dobbs                         3621 Riley Ann Ave             4501 Greentree Blvd
Tyler, TX 75701                        Las Vegas, NV 89139            Midland, TX 79707




Mary Louise Amos                       Mary Louise Coughlin           Mary Louise Felder Parker Est
1101 Shoreside Drive                   2012 Midcrest Drive            Thomas L Parker Sr
Hendersonville, TN 37075               Plano, TX 750758541            Independent Executor
                                                                      PO Box 3228
                                                                      Port Aransas, TX 78373



Mary Louise Hightower                  Mary Louise Jones Trust        Mary Louise Mathews
Nd 6 Lake Cherokee                     1717 W Wallen Avenue           1900 N Mesa Ave
Longview, TX 75603                     Number 3                       Roswell, NM 88201
                                       Chicago, IL 60626




Mary Louise Miglio                     Mary Louise Moncrief Cook      Mary Louise Morrison Bayne
40 Earl Myers Rd                       458 Morgan Hare Rd             326 S 5Th St
Jeffersonville, NY 127485502           Monroe La, LA 71203            Wapello, IA 52653




Mary Louise Pool Rev Tr                Mary Louise Quisenberry        Mary Louise Shipton
Mary L Pool Ttee                       3921 Military Pike             720 River Ranch Box 15
735 Calle Del Resplandor               Lexington, KY 40513            Elko, NV 89801
Santa Fe, NM 87505




Mary Lowry Ervin Indiv As              Mary Lu Walton Epps            Mary Lucas Courteau
Tstee Of The Kyle A Ervin Jr           PO Box 9861                    11 Andreas Cir
4 Gallery Court                        College Station, TX 77840      Novato, CA 94945
San Antonio, TX 78209




Mary Lucille Chapman                   Mary Lurlean Ramsey Et Al      Mary Lusa
3809 Maplewood Dr                      456 Hwy 763                    652 View Lake Cir
Sulphur, LA 70663                      Mansfield, LA 71052            Brea, CA 92821-2840




Mary Lynn Cason                        Mary Lynn Dorsey Whitaker      Mary Lynn Gosney Life Estate
299 Franklin St                        c/o Texas State Treasury       PO Box 442
Harrisonbury, VA 22801                 Unclaimed Property Division    Junction, TX 76849
                                       PO Box 12019
                                       Austin, TX 78711-2019



Mary Lynn Lane                         Mary Lynn Porter               Mary Lynn Wilkerson Davidson
604 Innwood Drive                      226 Tomahawk Dr                PO Box 668
Georgetown, TX 78628                   Dadeville, AL 36853            Bunkie, LA 71322
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Mary M Henderson Duplantis             Mary M Mcguire                   Mary M Thomas
2899 Sugarloaf Drive                   17054 Wellington Dr              406 S Kentucky Ave
Apartment 213                          Parker, CO 80134                 Roswell, NM 88203
Lake Charles, LA 70607




Mary M Turner                          Mary M Wagoner Agency            Mary M Whitener
4429 Tibbs St                          Bank Of America Na               9728 Buxhill Dr
Shreveport, LA 71105                   Agent Advisory                   Dallas, TX 75238
                                       PO Box 840738
                                       Dallas, TX 75284-0738



Mary M Williams                        Mary Malone                      Mary Marable Land Gill
4706 Brompton Drive                    325 W Vandalia Rd Apt A          1658 Berkeley Avenue
Greensboro, NC 27407                   Greensboro, NC 27406             Petersburg, VA 23805




Mary Margaret Davis Green              Mary Margaret Doebbler Woolsey   Mary Margaret Durham
PO Box 1473                            4202 Karen Lane                  102 Elkins Lake
West Monroe, LA 71294                  Edinburg, TX 78539               Huntsville, TX 77340




Mary Margaret Hodge Sour               Mary Margaret Mcgee              Mary Margaret Mckinney
1920 Captain Shreve Dr                 6910 Mill Falls                  500 June Drive
Shreveport, LA 71105                   Dallas, TX 75248                 Ft Worth, TX 76108




Mary Margaret Miller                   Mary Margaret Peppeard           Mary Margaret Phillips Young
A/K/A Mary Miller Hayden               720 Putter Dr                    1986 Wafer Road
1025 Stagecoach Bend                   Fort Worth, TX 76112             Ruston, LA 71270-1223
Bullard, TX 75757




Mary Margaret S Guy Usufruct           Mary Margaret Sapp 1993 Trust    Mary Margaret Schulze
9100 E Kings Hwy 22                    c/o Carl Francis Fischer         3518 Rice Blvd
Shreveport, LA 71115                   3726 Sunset Blvd                 Houston, TX 77005
                                       Houston, TX 77005




Mary Marie Booker Canipe               Mary Martha Calvert              Mary Martin Blackwood
687 Booker Loop Rd                     PO Box 291                       Lisa M Atkins Poa
Mansfield, LA 71052                    Mansfield, LA 71052              4503 Atlantic Street
                                                                        Farmington, NM 87402




Mary Maude Andrews                     Mary Maxfield                    Mary Mccrary Thomas S/P
3339 North State Highway 19            Rt 1 Box 213                     1207 South 7Th Street
Palestine, TX 758036596                Van, TX 75790                    Lawton, OK 75501




Mary Mccroskey Chavez                  Mary Mcgowen                     Mary Mclain Carter
197 Doray Dr                           Beverly Busch A/I/F              c/o L Reed
Pleasant Hill, CA 94523                3615 Anita Drive                 2700 Clover Lane
                                       Bell, CA 90201                   Arlington, TX 76015
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Mary Mclean Adams                        Mary Mcneil                    Mary Mcpherson Rev Liv Tr
903 Wedgewood Way                        11022 Tam Worth Drive          Texas Bank And Trust Ttee
Richardson, TX 75080                     Houston, TX 77016-2239         PO Box 2749
                                                                        Longview, TX 75606-2749




Mary Mcroskey Moore                      Mary Meadors Adams             Mary Melinda Webb Clark
1649 Stone Meadow Rd                     PO Box 55                      615 Pecan Grove Rd
Milledgeville, GA 31061                  Farmerville, LA 71241          Ennis, TX 75119




Mary Melissa Baker                       Mary Midge Lippmann            Mary Miles Hadnot
10274 Hadrian Ct                         PO Box 1984                    13419 Live Oak First
Parker, CO 80134                         Tahlequah, OK 74465            Houston, TX 77049




Mary Miller Poindexter                   Mary Millicent Kelly Wear      Mary Mitzi Baughman Gates
1406 Dean St                             4912 Post Oak Timber Dr        240 Dawkins Rd
Henderson, TX 75654                      Houston, TX 77056              Farmerville, LA 71241




Mary Moody Northern                      Mary Moore Dupassage           Mary Morris Craven
c/o Moody NatL Bank Trust Div            121 Morningside Dr             1103 Bittesweet Dr
PO Box 1139                              Mandeville, LA 70448-7572      Richmond, TX 77406
Galveston, TX 77553




Mary Murray Morris                       Mary Myers                     Mary N Dickerson
309 Davis St N                           PO Box 261                     2 Amhurst Circle
Sulphur Springs, TX 75482                Olton, TX 79064                Longview, TX 75601




Mary N Hogan                             Mary N Hogan Famiy Fund        Mary N Mcintyre
102 Emly Ct                              Mary David H Brantly Ttee      2620 Fountainview Dr Ste 280
Carrollton, GA 30117                     2116 Heritage Heights          Houston, TX 770577627
                                         Decatur, GA 30033




Mary N Rogers                            Mary Nan Spear                 Mary Nancy Kelly Spain
1621 Cindy Lou Avenue                    PO Box 30169                   136 Liberty Parkway
Henderson, TX 75654                      Pensacola, FL 32503            Stillwater, MN 55082




Mary Neal Mobbs                          Mary Nell Dunklin              Mary Nell Durrett Parr
PO Box 7433                              9522 Liptonshire Dr            403 E Flournoy Lucas Rd
Longview, TX 75607                       Dallas, TX 75238-2727          Apt 142
                                                                        Shreveport, LA 71105




Mary Nell Harris                         Mary Noel Thompson             Mary Null Elliott
408 W Leatherwood                        PO Box 49045                   3806 West Mockingbird Ln
Big Springs, TX 79720                    Austin, TX 78765-9045          Rogers, AR 72756
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Mary Odis Green Miller                  Mary Ogden Kurz                 Mary Olive Clark Morris
137 Hargett Dr                          Dorothy E Kurz A/I/F            3201 Plains Ct
El Dorado, AR 71730                     68 Twin Pine Way                Plano, TX 75074
                                        Glen Mills, PA 19342




Mary Orline Woodward Life Est           Mary P Hightower                Mary P Nalle Estate
William L Woodward Samuel L             c/o Texas State Treasury        Paul Kimes Administrator
Woodward Iii Jt A/I/F                   Unclaimed Property Division     9310 E Coopers Hawk Dr
201 Summerville Court                   PO Box 12019                    Sun Lakes, AZ 85248
Mobile, AL 36607                        Austin, TX 78711-2019



Mary P Simms Living Trust               Mary P Stumberg                 Mary P Swanner
Molly Ann Nelson Ttee                   227 W Olmos Dr                  422 Sugar Creek Loop
3335 Allen Avenue                       San Antonio, TX 78212           Minden, LA 71055
Tyler, TX 75701




Mary Paparone                           Mary Parham Daly Living Trust   Mary Parsons Engelking
1 N Jackson Ave                         22 Sugar Shack Dr               2395 Creighton Drive
Atlantic City, NJ 08401                 Austin, TX 78746                Golden, CO 80401




Mary Patricia Mccarthy Elliott          Mary Patricia Zachry Stumberg   Mary Patsy Shely
2 Indian Fern Drive                     12625 Wetmore Rd Suite 301      Kettle Spring Farm
Nashua, NH 03062                        San Antonio, TX 78247           1800 Athens Boonesboro Road
                                                                        Winchester, KY 40391




Mary Pauline Nalle                      Mary Peace Bounds               Mary Penelope Jackson
9310 E Coopers Hawk Drive               105 Willow Bend Road            c/o Texas State Treasury
Sun Lakes, AZ 85248                     Benton, LA 71006                Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Mary Perrilyn Brown Gilliam             Mary Phillips Marital Trust     Mary Phillips Partial Tr Uwd 4/8/09
712 Hartman                             c/o Farmers National Co Agent   c/o Farmers National Co Agent
Rockwall, TX 75087                      PO Box 3480                     PO Box 3480
                                        Omaha, NE 68103                 Omaha, NE 68103




Mary Phillips Partial Tr Uwd 4/8/09     Mary Pond Whitehead             Mary Powell
PO Box 3480                             5828 Waddell Street             1910 Jones Street
Omaha, NE 68103                         Ft Worth, TX 76114              Coushatta, LA 71019




Mary Powell Zachary                     Mary R Harris                   Mary Rainwater
4488 Chaha Rd 105                       2000 Sherringham Court          14424 Highway 161 S
Garland, TX 75043                       Shreveport, LA 71118            Scott, AR 72142-9507




Mary Ramsey                             Mary Read Winterrowd            Mary Rebecca Eason Burkett
320 E Ironwood Dr                       281 Westwood Drive              277 Terry Ln
West Monroe, LA 71291                   San Angelo, TX 76901            Heath, TX 75032
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Mary Richardson Holder                  Mary Rike                        Mary Rita Meeker
PO Box 101014                           8847 Fm 2163                     4690 Mayfield Dr
Fort Worth, TX 76185                    Haskell, TX 79521                Bettendorf, IA 52722




Mary Rita Smith                         Mary Roberson Chester Sep Prop   Mary Robert Baldwin Trust Uwo Katherine
48870 Shady View Dr                     4720 Walnut Street               M Roberts Test Trust Sh Roberts Ttee
Palm Desert, CA 92260                   Oakland, CA 94619                C/O State Of Texas Unclaimed Prop Div
                                                                         PO Box 12019
                                                                         Austin, TX 78711-2019



Mary Robin Smith                        Mary Roe Estate                  Mary Rogers Green
Rr 17 Box 274                           Lester Rudd Administrator        PO Box 965
Texarkana, TX 75501-9817                16 Steeple Chase Drive           Pilot Point, TX 762580965
                                        Jackson, TN 38305




Mary Rosiland Purdy                     Mary Rowe Lopez                  Mary Ruffin Hatcher
705 East 14Th Street                    12920 Ema Lane                   149 Kings Crossing
Ada, OK 74820                           North Zulch, TX 77872            Shreveport, LA 71105




Mary Ruth Dyess                         Mary Ruth Graham                 Mary Ruth Heard Gullatt
Route 2 Box 13                          5500 West Purdue                 1905 Plant Street
Joaquin, TX 75954                       Dallas, TX 75209                 Texarkana, TX 75503




Mary Ruth Moseley Graham Est            Mary Ruth White Simpson          Mary Rutledge Reed
William A Graham Indp Executor          121 Cedar Spring Cir             3923 Morning Dove Pl
PO Box 202                              Pearl, MS 39208                  Albuquerque, NM 87120
Little Elm, TX 75068




Mary S Baker Est                        Mary S Chevalier                 Mary S Clements
Mary A Stokes Independent Adm           c/o Denise C Ray Aif             6703 Fm 2208 South
400 Gina Dr                             5517 E Fm 323                    Longview, TX 75604
Kyle, TX 78640                          Palestine, TX 75801




Mary S Jacobs                           Mary S Milam                     Mary S Normann
Jimmie Ray Jacobs Atty In Fact          306 S Stevens                    2170 Brentwood Dr
106 Marty Way                           Carthage, TX 75633               Baton Rouge, LA 70809
Jefferson, GA 30549




Mary S Sawyer Ind Usufruct              Mary Sattiewhite                 Mary Schrader
PO Box 5160                             c/o Texas State Treasury         PO Box 112202
Shreveport, LA 71129                    Unclaimed Property Division      Carrollton, TX 75011
                                        PO Box 12019
                                        Austin, TX 78711-2019



Mary Scott Foster                       Mary Shannon Mackey Giles        Mary Simmon Stinchcomb Trust
3351 Garrett Dr                         7188 South Sorrento Way          Hazel Simmon Stinchcomb Trste
Irving, TX 750626594                    West Jordan, UT 84084            PO Box 342
                                                                         Austin, TX 787670342
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Mary Simmons Mcmurray                 Mary Slack Tatum               Mary Spencer Liebmann
5709 Willow Elm Drive                 602 9Th Street Nw              2824 Nacogdoches Road
Arlington, TX 76017                   Springhill, LA 71075           San Antonio, TX 78217




Mary Spinks                           Mary Stancil Pate              Mary Standifer Page
24219 Norchester Way                  2012 Francis Place             PO Box 764975
Spring, TX 77387                      Monroe, LA 71201               Dallas, TX 75376




Mary Starr Kelley                     Mary Steele A Moegle Et Vir    Mary Steve Hope Sledge
2440 North Lita Place                 Forrest Lee Moegle             Douglas E Buller Aif
Simi Valley, CA 93063                 1291 Orchard Road              67 Ambleside Crescent Drive
                                      Ruston, LA 71270               Sugar Land, TX 774792528




Mary Stewart Boogaerts                Mary Stinchcomb                Mary Strahan Heine
406 Persimmon Dr                      PO Box 342                     PO Box 2802
Shreveport, LA 71115                  Austin, TX 78767               St Francisville, LA 70775




Mary Stroube Adams Gst Empt Tr        Mary Stuart Kellogg            Mary Sue Barber
Citizens National Bank Co Tre         Rhoda Kellogg Faust Poa        c/o Denise Williams
PO Box 820                            521 Joseph Sr                  3807 Summerset Ct
Henderson, TX 75653                   New Orleans, LA 70115          Longview, TX 75605




Mary Sue Brown Maxey                  Mary Sue Cropprue Mccoy        Mary Sue Harrington Carswell
2432 Jefferson Ave                    1015 Ridge Drive               PO Box 2164
New Orleans, LA 70115                 West Monroe, LA 71292          Addison, TX 75001




Mary Sue Henry                        Mary Sue Lancaster             Mary Sue Mathewes Rauss
306 Ingram                            Judy Varisco Poa               7219 Daerwood Pl
East Camden, AR 71701-7326            5354 Steele Store Rd           Charlotte, NC 28215-9071
                                      Bryan, TX 77807




Mary Sue Porter Rabe Trust            Mary Susan Horton              Mary Susan Mills
U/W/O Jane Turner Sheppard            19315 Lockridge                819 Gayle Circle
Mary Sue Porter Rabe Trustee          Spring, TX 77373               Cary, NC 27513
2907 Cortez Court
College Station, TX 77845



Mary Susan Whitten Edwards            Mary T Glasgow                 Mary T Sims
1515 Ennis Joslin Rd Apt 176          4701 N Camino Gacela           608 Edith Way
Corpus Christi, TX 78412-3839         Tucson, AZ 85718               Long Beach, CA 90807




Mary Temple Morris                    Mary Thelma Gibson             Mary Therese Mcgann
165 Hunter Road                       1000 Richardson Dr             984 S Oakland Ct
Mansfield, LA 71052                   Apt 110                        Aurora, CO 80012
                                      Henderson, TX 75654
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Mary Thomas Staggs                      Mary Tubbs Roberson             Mary Tucker Kennedy
105 Wanda Drive                         6005 Highway 151                13825 Creekside Place
West Monroe, LA 71292                   Dubach, LA 71235                Dallas, TX 75240




Mary V Southerland                      Mary V Stringfellow Estate      Mary V Whelan
11402 West Fm 2625                      A M Stringfellow Ind Executor   5110 Meadow Creek Dr
Hallsville, TX 75650                    5150 Broadway Pmb 626           Dallas, TX 75248
                                        San Antonio, TX 78209




Mary V Willie Gauthier                  Mary Van Arsdale Deceased       Mary Vicki Stroeher
154 Edgehill Road                       c/o Vivian Bolden               2104 Holswade Dr
Syracuse, NY 13224                      4389 Fm 729                     Huntington, WV 25701
                                        Jefferson, TX 75657




Mary Victoria Hull Jones                Mary Virginia Anderson          Mary Virginia K Skipper
623 Midland Road                        429 Garrison St                 Sl 59 Lake Cherokee
Little Rock, AR 72205                   Timpson, TX 75975               Henderson, TX 756529451




Mary W Cummings                         Mary W Mccommons                Mary W Reed
PO Box 130                              PO Box 196031                   c/o Texas State Treasury
Joaquin, TX 75954                       Dallas, TX 75219-8619           Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Mary W Tinsley                          Mary Wallis Serna               Mary Ward Thornton Brown
3498 Fordtran Rd                        4306 Rt 31                      PO Box 771
Yoakum, TX 77995                        Ringwood, IL 60072              Tatum, TX 75691




Mary Watson                             Mary Webster                    Mary Wiley Faxel Revocable Trust
12744 South Loomis                      2123 Ivy Road Suite B           Monty B Moncrief Trustee
Calumet Park, IL 60827                  Charlottesville, VA 22903       777 Taylor St Ste 1030
                                                                        Fort Worth, TX 76102




Mary Wilkes Meadors Carpenter           Mary Will Jordan Griffin        Mary Williamson
Mayfair Vge Rtrmnt Ctr 503              1255 Hwy 519                    c/o Law Office of Dean A Searle PC
3310 Tates Creek Road                   Arcadia, LA 71001               PO Box 910
Lexington, KY 40502                                                     305 West Rusk Street
                                                                        Marshall, TX 75671



Mary Wilson                             Mary Winifred Jones Bellido     Mary Winifred Rhoades Price
An Heir To Ardys T Wilson Decd          1812 W Alabama 2                811 Adrian Road
c/o Tyler Division                      Houston, TX 77098               Longview, TX 75605
1111 Bagby Sky Lobby 2
Houston, TX 77002



Mary Wright Bell                        Mary Yates Hurst Trust          Maryana Hart Symes
924 Ayshire Road                        PO Box 2386                     1809 Club House Lane
Colonial Heights, VA 23834              Longview, TX 756062386          San Angelo, TX 76904
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Maryannan Geary                        Marybeth Graves Roberson       Maryette F Cale
107 Courtenay                          Individually As Usufruct       Nancy Thompson Poa
Pass Christian, MS 39571               5133 Hwy 563                   37 Long Hill Farm
                                       Simsboro, LA 71275             Guilford, CT 06437




Marylen S Allen                        Maryline Bridgeforth           Maryln Miller Ashley
7711 Green Path Ct                     2604 Meadow Pl                 5208 Sagesquare
Sugar Land, TX 77479                   Valdosta, GA 31602             Houston, TX 77056




Marylon Douglas                        Marylou Neel Choate            Marylyn H Adams
PO Box 75                              272 Cr 2317                    3157 White Leaf Way
Poynor, TX 75782                       Mineola, TX 75773              San Jose, CA 95148




Marylyn Hurst Marchman                 Marymac Associates Inc         Marzee White Mitcham
Dollinger Trust 3924 15                609 Cloverlane Drive           Individually Usufruct
c/o Jpmorgan Chase Bank                Sycamore, IL 60178             1926 Mitcham Orchard Road
PO Box 99084                                                          Ruston, LA 71270
Fort Worth, TX 76199-0084



Marzella Younger Ludley                Marzette Mcclelland            Mason Brothers Construction Co
PO Box 163                             Margaret M Parks Trs           PO Box 417
Grambling, LA 71245-0163               5225 S Prince St 912           Post, TX 79356
                                       Littleton, CO 80123




Mason D Chancey                        Mason Energy Corp              Mason Map Service Inc
6351 Circuit Ct                        Tr Co Of Oklahoma Agent        PO Box 338
Colorado Springs, CO 80923             PO Box 3688                    Austin, TX 78767
                                       Tulsa, OK 74101




Mason Speciality Tools LLC             Mason Street Advisors LLC      Mason Walker Arnwine Test Tr
124 Asset Avenue                       720 East Wisconsin Avenue      Sham Myatt Ttee
Scott, LA 70583                        Milwaukee, WI 53202-4797       812 9Th St
                                                                      Levelland, TX 79336




Mason Well Service Ltd                 Masonic Homes Of California    Masonic Homes Of Missouri
PO Box 61166                           1111 California St             6033 Masonic Dr Ste A
Midland, TX 79711                      San Francisco, CA 94108        Columbia, MO 65202




Massmutual Trust Co Fsb                Master Carpet Care             Master Limited Partnership Association
100 Bright Meadow Blvd                 2300 Lingner                   4350 North Fairfax Drive
Enfield, CT 06082                      Tyler, TX 75701                Suite 815
                                                                      Arlington, VA 22203




Master Petroleum                       Master Pumps Equipment Corp    Master Well Testing
PO Box 66                              PO Box 678483                  PO Box 193
Silt, CO 81652                         Dallas, TX 75267-8483          175 East Hwy 28
                                                                      Farson, WY 82932
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Masters Minerals LLC                   Mata Mary Mckinney             Matador Energy Company
Keith B Masters                        3004 W 2nd Ave Room 503        1601 Elm Street
7500 Rialto Blvd                       Corsicana, TX 75110            Dallas, TX 75201
Bldg 2 Se 280
Austin, TX 78735



Matador Resources Company              Matador Testing LLC            Matagorda B1 Lp
One Lincoln Center                     PO Box 3615                    Attn Land Department
5400 Lbj Freeway Suite 1500            Hobbs, NM 88241                1001 Fannin St Suite 2020
Dallas, TX 75240                                                      Houston, TX 77002




Matagorda B1 Lp                        Matagorda County Cred Union    Matchette William Arthur
PO Box 732292                          3700 Avenue F                  1020 Bonnie Brae Avenue
Dallas, TX 75373-2292                  Bay City, TX 77414             Fort Worth, TX 76111




Materials Handling Supply Inc          Matha Ann Wesson Wyche         Mathena Inc
12900 Firestone Blvd                   2519 Deas St                   Bo Ross
Sante Fe Springs, CA 90670             Bossier City, LA 71111         3900 S Highway 81 Service Rd
                                                                      El Reno, OK 73036




Mathena Inc                            Matheson Tri Gas Inc           Mathew Ayres James Etux
PO Box 732152                          Dept La 23793                  PO Box 743
Dallas, TX 75373-2152                  Pasadena, CA 91185             Ruston, LA 71273




Mathew Davis Wolf                      Mathew G Mendez                Mathew P Bain
700 Louisiana Suite 1100               Address Redacted               56053 E Virginia Pl
Houston, TX 77002                                                     Strasburg, CO 80136




Matilda Klein Komlosy                  Matlock Pumping                Matrix Production Company
c/o John Kennedy State Treasurer       PO Box 438                     5725 Commonwealth Boulevard
Unclaimed Property Division            Levelland, TX 79336            Sugar Land, TX 77479-3999
PO Box 91010
Baton Rouge, LA 70821



Matrix Service Inc                     Matt Buettner                  Matt Cleaver
PO Box 971819                          2801 Market Street             7486 Cr 241
Dallas, TX 75397-1819                  H0006 09B                      Eula, TX 79510
                                       St Louis, MO 63103




Matt Ellard                            Matt Foreman                   Matt Melton
PO Box 6422                            624 Lafayette St               Melton Land Services Llc
Bossier City, LA 71171-6422            Pittsburg, TX 75686-1747       2307 Middlecreek Blvd
                                                                      Bossier City, LA 71111




Matt Owings Iii                        Matt Segrest                   Mattalino Associates Inc
205 Erskine                            6935 Meadow Lake Ave           PO Box 987
Longview, TX 75601                     Dallas, TX 75214               Fulshear, TX 77441
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Matter Family Trust                      Matthew A Wolf                Matthew Alford Watson Trust
Thomas Madelyn M Matter                  1904 Dixie                    Matthew Alford Watson Trustee
Co Trustees                              Ruston, LA 71270              Citizens National Bank
PO Box 2367                                                            PO Box 820
Walnut Creek, CA 94595                                                 Henderson, TX 75653



Matthew B Burns Jillian L Burns          Matthew Bailey                Matthew C Allen Jr
1727 W Kentucky Ave                      3215 County Road 3707         Box 769
Ruston, LA 71270                         Bullard, TX 75757-5591        Memphis, TX 79245




Matthew C Allen Jr Teddie J Allen Ttee   Matthew C Forrester           Matthew C Gropp
The Mathew C Teddie J Allen Rev Liv Tr   5014 Mcdade Drive             15465 W Baltic Ave
Living Trusts Dtd Jan 31 1992            Austin, TX 78735              Lakewood, CO 80228
PO Box 769
Memphis, TX 79245



Matthew C Shuckrow                       Matthew Calvin Grieder        Matthew Chrietzberg
9 South Catahoula Ct                     4 10 22 Higashi Gotanda       707 Oakwood Dr
Kenner, LA 70065                         Park Axis Ikedayama 302       Clinton, MS 39056-4334
                                         Shinagawa Ku Tokyo 141 0022
                                         Japan



Matthew Clements                         Matthew Cody Hooker           Matthew D Smith Ttee
23166 Smith Rd                           608 Country Club Drive        U/W Nora Stone Smith
Chatsworth, CA 91311                     Marshall, TX 75672            250 E Pearson St Apt 1406
                                                                       Chicago, IL 60611




Matthew Douglas Mclaren                  Matthew E White               Matthew Fuller
4 Monarch Court                          803 Coronado Terrace          10026 Raincheck Dr
Montana City, MT 59634                   Los Angeles, CA 90026         Bakersfield, CA 93312




Matthew H Miller                         Matthew Hester                Matthew Hoss
6112 Burgoyne                            Address Redacted              Address Redacted
Houston, TX 77057




Matthew Isaac Jr                         Matthew J Browne Iii          Matthew J Daniels
1247 North Hydraulic                     9101 S 76Th East Avenue       32702 Weymouth Court
Wichita, KS 67214                        Tulsa, OK 741336032           Fulshear, TX 77441




Matthew James Browne                     Matthew James Eddleman        Matthew James Lebeck And
Testamentary Trust                       183 Cr 149                    Leslie Raye Lebeck
9101 S 76Th East Ave                     Gainesville, TX 76240         255 Town East Rd
Tulsa, OK 741336032                                                    Henderson, TX 75654




Matthew L ORosky                         Matthew Law Culp              Matthew Lee
1515 Ravenel Lane                        17182 Pilot Drive             c/o Munsch Hardt Kopf Harr P C
Sugarland, TX 77479-6659                 Tyler, TX 75707               Nolan C Knight
                                                                       500 N Akard Street Suite 3800
                                                                       Dallas, TX 75201-6659
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Matthew Lynch                             Matthew Martin Trust             Matthew Martin Trust
1555 N River Center Dr                    3320 Mangana Hein Rd             Thomas F Martin Trustee
Suite 302                                 Box 5 Compartment 9              PO Box 430184
Milwaukee, WI 53212                       Laredo, TX 78046                 Laredo, TX 78043




Matthew P Baumoel                         Matthew P Geiser                 Matthew Patrick Obrien
180 Rosehill Ave                          Address Redacted                 Address Redacted
New Rochelle, NY 10804




Matthew Perry                             Matthew R Allman                 Matthew R Happick
Address Redacted                          313 Northwind Dr                 222 Eastern Ave
                                          Brandon, MS 39047                Bel Air, MD 21014-3907




Matthew R Mcbride                         Matthew Ray Mcgaugh              Matthew Rider
7207 Mckamy Blvd                          Angela Priest Mcgaugh            2900 N Quinlan Park Rd
Dallas, TX 752481521                      354 Hyatt Road                   Suite
                                          Ruston, LA 71270                 Austin, TX 78732




Matthew S Dixon                           Matthew Weathersbee              Matthew Wolf
2301 Hillside                             10610 Morado Cir Apt 404         Dba Bhd Holding Company Llc
Ruston, LA 71270                          Austin, TX 78759-5552            711 Louisiana
                                                                           Suite 1660
                                                                           Houston, TX 77002



Matthew Wood                              Matthews Latasha S               Matthews Daniel Company
Address Redacted                          Address Redacted                 PO Box 200590
                                                                           Houston, TX 77216-0590




Matthews Jr Merrill                       Matthews Office City             Mattie Belle Pierite Sep Prop
701 Waverly Lane                          2367 Pecan Court                 PO Box 243
Coppell, TX 75019                         Fort Worth, TX 76117             Moreauville, LA 71355




Mattie Belle Pitts Freeman                Mattie Cockrell Hill Estate      Mattie Goldsmith
3291 E Fm 1988                            64 Penbrook                      7231 Buford
Goodrich, TX 77335                        Joaquin, TX 75954                Dallas, TX 75241




Mattie Hill Murphy                        Mattie Holloman Castine          Mattie J Mitchell
c/o Katie Smith Attorney In Fact          Rt 1 Box 170                     6101 W Centinela Ave Ste 392
9111 Lutz Road                            Haughton, LA 71037               Culver City, CA 90230-6368
Shreveport, LA 71129




Mattie Jane Harvey                        Mattie Jane Harvey Life Estate   Mattie Jean Borders
2759 Fm 10                                2759 Fm 10                       565 Cr 1012
Carthage, TX 75633                        Carthage, TX 75633               Center, TX 75935
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Mattie Jean Hedgepeth Dye               Mattie Jo Ransonnet                  Mattie Jo Wilbanks
274 Noble School Rd                     2349 Country Club Dr                 515 Ravenwood
Dubach, LA 71235                        La Place, LA 70068-1619              Athens, TX 75751




Mattie Joanna Huggans                   Mattie L Craig                       Mattie Lee Berry
202 Daybreak                            1412 Briarwood Trail                 12677 Indiana
Cove Budda, TX 78610                    Henderson, TX 75652                  Detroit, MI 48238




Mattie Lee Dye Wheatley                 Mattie Lois N Calloway               Mattie M Harrison
1691 Hudson Avenue                      PO Box 184                           1468 Mlk Dr
Jonesboro, LA 71251                     Bastrop, LA 71220                    Grambling, LA 71245




Mattie Mae Miles                        Mattie Maurene Gibson                Mattie N Hill Hardy Ind Agent And Aif
9902 Pinehurst St                       622 Town Creek                       5971 Winchester Park Dr
Baytown, TX 77521                       Dallas, TX 75232                     New Orleans, LA 70128




Mattie R Speed                          Mattie Sue Simmons Larance           Mattie Taylor
c/o Thurnon L Deloney                   4199 Hwy 167 North                   317 Riverbend Drive
4809 Tara Drive                         Dubach, LA 71235                     West Monroe, LA 71292
Greensboro, NC 27410




Mattie V Bradley                        Mattie Wrae Lacy                     Maude Carter
3131 Abbie St                           Matthew James Weathersbee Guardian   Thomas L Carter Jr Poa
Shreveport, LA 71103                    5201 Cocao Cir                       1001 Fannin Suite 2020
                                        Austin, TX 78744                     Houston, TX 77002




Maude Estelle White                     Maude Evelyn Lofton                  Maude G Woodward Tr
c/o Texas State Treasury                9 Cottonwood Rd                      Tr Co Of Oklahoma Succ Tte
Unclaimed Property Division             Trinity, TX 75862                    PO Box 3627
PO Box 12019                                                                 Tulsa, OK 74101
Austin, TX 78711-2019



Maude V Murphy Ltd                      Maude W Urmston                      Maude Washington Et Al
2635 Nottingham Way                     c/o Thomas H Urmston Jr Poa          Renee Wilson Mitchell
Salt Lake City, UT 84108                79 Hollis St                         Maude Lee Hampton
                                        Sherborn, MA 01770                   205 South Main
                                                                             Grambling, LA 71245



Maudice O Guiton Gentry                 Maudie Louise Crawford Burks         Maudie Marie Henson Thomas
8308 Ascolano Ave                       219 Jan Cir                          1163 Hwy 155
Fair Oaks, CA 95628                     Jonesboro, LA 71251                  Quitman, LA 71268




Maudie Ruth Risinger Baker And          Maudine Pepper Jeffcoats             Maudy P Theus
Larry Baker                             165 Cranford Street                  PO Box 85
Terrence Patrick Alley Poa              Simsboro, LA 71275                   Bienville, LA 71268
5890 Drifter Street
Colorado Springs, CO 80918
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Maugre Elaine Treadway Owens               Mauldin Gayle                        Mauldin Trustee Gayle
1441 Fm 256 South                          10259 Fm Road 968 West               For Carole Lynn Davis
Woodville, TX 75979                        Hallsville, TX 75650                 10259 Fm Road 968 West
                                                                                Hallsville, TX 75650




Maura G Lynch                              Maureen A Richardson                 Maureen Brodnax
537 Spring Lane                            32927 John Mogg Rd 104               PO Box 802305
Wyndmoor, PA 19038                         Grayslake, IL 60030                  Dallas, TX 75380-2305




Maureen Lockhart Green                     Maureen Markey Brodnax               Maurey K Smith
PO Box 492850                              PO Box 802305                        11 Briarwood
Sacramento, CA 94250                       Dallas, TX 75380-2305                Long Beach, MS 39560




Maurice Albert January                     Maurice Charles Lucky                Maurice Clark Caraway
214 Elkins Lk                              4555 E Mayo Blvd Unit 20102          1032 Nathaniel Dr
Huntsville, TX 77340-7305                  Phoenix, AZ 85050                    Sulpfur, LA 70665




Maurice Clifton Garner                     Maurice Darvez Jackson               Maurice Dye
306 North Ridge St                         110 Field Grove Rd                   5678 Hwy 135
Lampasas, TX 76550                         East Peoria, IL 61611-4321           Mangham, LA 71259




Maurice G Harris                           Maurice Garr                         Maurice Jones
PO Box 28                                  237 Maxfield                         PO Box 413
Amityville, NY 11701-0028                  New Bedford, MA 02740                Hallsville, TX 75650




Maurice Lennard Baird                      Maurice P Casey Revocable Tr         Maurice R Dye Fannie K Dye
2038 Main Street                           David L Casey Trustee                5678 Hwy 135
Haynesville, LA 71038                      9212 Oakwood Dr                      Mangham, LA 71259
                                           Urbandale, IA 50322




Maurice W Brown                            Maurice W Brown                      Maurie Reeves Parker Est
c/o Brown Operating Co                     c/o Brown Operating Co               c/o Doris Marie Parker
516 S Greeley Hwy                          614 S Greeley Hwy                    2801 Via Fortuna Ste 100
Cheyenne, WY 82007                         Cheyenne, WY 82007                   Austin, TX 78746




Maurine Briggs                             Maurine Briggs                       Maurine Dean
c/o First State Bank                       c/o Law Office of Dean A Searle PC   810 University Drive
PO Box 579                                 PO Box 910                           Carthage, TX 75633
Carthage, TX 75633                         305 West Rusk Street
                                           Marshall, TX 75671



Maurine H Willie Life Estate               Maurine J Mcmullan                   Maurine Marshall Downing
3706 Sun Valley Drive                      4266 Bordeaux                        2106 Forest Oaks
Houston, TX 77025                          Dallas, TX 75205                     Houston, TX 77017
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Maurine Mullin Kalk                      Maurine Nellie Mason          Maurine Newman Martin
5015 S Perry                             2222 E Bert Kouns Ind Loop    205 Inverness Dr
Spokane, WA 99223                        Apt 103                       Roanoke, TX 75262
                                         Shreveport, LA 71105




Maurine Peden Christian                  Maurine Rinehart Buchanan     Maurine Shepherd
1553 Biggs St                            PO Box 30                     2000 Pearl St
Amarillo, TX 79106                       Walsenburg, CO 81089          Nacogdoches, TX 75965-3901




Mauro Torres                             Maury Rubenstein              Maverick Coiled Tubing Services LLC
10050 Cottontail Ln                      2330 Holmes Rd                Mark Rankin
San Angelo, TX 76901                     Houston, TX 77051             801 Cherry St Suite 2100
                                                                       Ft Worth, TX 76102




Maverick Companies LLC The               Maverick Oil Field Services   Maverick Oil Gas Inc
Mark Rankin                              PO Box 8812                   7713 Chesapeake Drive
801 Cherry St Suite 2100                 Tyler, TX 75711               Shreveport, LA 71105
Ft Worth, TX 76102




Maverick Sales Co                        Maverick Solutions LLC        Maverick Stimulation Co LLC
PO Box 1842                              Mark Rankin                   12701 Energy Rd
Wichita Falls, TX 76307                  801 Cherry St Suite 2100      Fort Morgan, CO 80701-8948
                                         Ft Worth, TX 76102




Maverick Stimulation Company LLC         Maverick Thru Tubing LLC      Maverick Well Service LLC
Mark Rankin                              Mark Rankin                   PO Box 1842
801 Cherry St Suite 2100                 801 Cherry St Suite 2100      Kilgore, TX 75663
Ft Worth, TX 76102                       Ft Worth, TX 76102




Mavis B Murphy Trust                     Mavis D Ware                  Mavis Denia Ford Perry Hoof
Michael L Murphy Trustee                 2103 Us Hwy 80E Apt 100       1212 Garr Road
1352 Clifton Avenue                      Mesquite, TX 75150            Ruston, LA 71270
Redlands, CA 92373




Mavis Dolores Campbell                   Mavis Elaine Baxter Dowling   Mavis Jacobs
3211 Bert Kouns Industrial Loop          c/o William E Dowling         2025 Beaver Ck Rd
Shreveport, LA 71118                     9511 Hackberry Drive          Wylie, TX 75098
                                         Sheveport, LA 71115




Mavis S Craddock                         Max A Perkins                 Max Alan Jones
13703 Kingston River Lane                PO Box 5508                   3910 Laverock Rd
Houston, TX 77044                        Whitefish, MT 59937           Spring, TX 77388




Max Allen Nappier Jeune Keller Nappier   Max Brian Powers              Max Campbell
431 Murray Circle                        1400 Creekwood Drive          PO Box 104
West Monroe, LA 71292                    Longview, TX 75602            Scroggins, TX 75480
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Max Clark                                Max David Est                  Max Goodloe Jr
106 Magnolia Ln                          Billio Jo David Jerry Oliver   11506 Riverview Way
Longview, TX 75605-5619                  Indpdt Co Exec                 Houston, TX 77042
                                         Box 7706
                                         Midland, TX 79708



Max H Rhinehart                          Max Jones                      Max L Thomas Trust
10 Stonegate Dr                          PO Box 148                     Barbara B Thomas/Trustee
Longview, TX 75601-3640                  Smithville, TX 78957           5880 Momentum Pl/1717 Main St
                                                                        Dallas, TX 75201




Max R Bradshaw                           Max R Chudy Est                Max T Ritter
Etux Cynthia                             50 S Meadow Dr                 Route 1 Box 359
2898 County Road 2331                    Orchard Park, NY 14127         Carthage, TX 75633
Como, TX 75431




Max Todd Lewis                           Max W Schlotter                Maxco Properties LLC
16141 Indigo Ridge Ave                   2600 Hunter Rd Apt 3112        c/o Brian J Wertheim Cpa
Baton Rouge, LA 70817                    San Marcos, TX 78666-5195      6510 Lbj Freeway 180
                                                                        Dallas, TX 75240-6520




Maxey Oil Properties                     Maxie D Dorsey                 Maxie Hughes Wilson Sep Prop Ac
PO Box 3512                              5345 Fm 2276 N                 3800 Paluxy Drive Ste 140
Longview, TX 75606-3512                  Henderson, TX 75652            Tyler, TX 75703




Maxie Hughes Wilson Special Account      Maxie Rhodes Life Estate       Maxie Walker Wilson Trust
3800 Paluxy Drive Ste 140                8501 Lullwater Dr Apt 1311     C/0 Walker Weir Wilson
Tyler, TX 75703                          Dallas, TX 75238               3909 Potomac
                                                                        Fort Worth, TX 76107




Maxim Silencers Inc                      Maximillian Production Co      Maximus Oilfield Service LLC
10635 Brighton Lane                      25815 Oak Ridge Dr             115 W Duval St
Stafford, TX 77477                       Spring, TX 77380-2054          Troup, TX 75789




Maximus Operating Ltd                    Maximus Operating Ltd On       Maxine Brim
PO Box 1706                              Behalf Of Iris Goldston Ltd    467 West Raymond
Longview, TX 75606-1706                  PO Box 1706                    Compton, CA 90220
                                         Longview, TX 75606-1706




Maxine Davidson Beckham                  Maxine Elmore                  Maxine Fowler Stevens
382 Albert                               8310 Walker Ave                5055 Panther Creek Dr
Shreveport, LA 71105                     Kansas City, KS 66112-1666     6106
                                                                        The Woodlands, TX 77381




Maxine Gray Bruton                       Maxine H Prewitt Est           Maxine H Ready
Route 1 Box 134                          1582 County Road 732           107 Westmoreland Dr
Belmont, MS 38827                        Nacogdoches, TX 75964-5422     Lafayette, LA 70506
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Maxine Kidd Jackson                     Maxine L Giles                  Maxine M Bearden
5055 W Panther Creek Dr 6312            3602 Christie St                3509 South Echo Trail
The Woodlands, TX 77381                 Houston, TX 77026               Plano, TX 75023




Maxine Pavelic Testamentary Trust       Maxine Pixley                   Maxine Ransom Harper
c/o JP Morgan Chase Bank Na Agt         1051 Fm 2665                    731 W 126Th Street
PO Box 99084                            Goodrich, TX 77335              Los Angeles, CA 90044
Fort Worth, TX 76199-0084




Maxine Rhodes Pate                      Maxine Stuebben Pate            Maxine T Collins
506 Ruthlynn Dr                         2812 Cr 1617                    198 Oak Grove Rd
Longview, TX 75605                      Linden, TX 75563                Caddo Gap, AR 71935-7544




Maxine Tinsley Holtzclaw                Maxine Tinsley Holtzclaw And    Maxon Consulting Inc
4581 Highway 544                        Danny Holtzclaw                 2546 San Clemente Terrace
Simsboro, LA 71275                      4581 Highway 544                San Diego, CA 92122
                                        Simsboro, LA 71275




Maxx Global                             Maxx Oilfield Services LLC      Maxx Production Services
4506 Main Street                        PO Box 3660                     Don Davis
Amherst, NY 14226                       Houma, LA 70361-3660            PO Box 336
                                                                        Winters, TX 79567




May Ann Fannette Living Trust           May Family Revocable Trust      May Frances Jimenez
Mary Fannette Trustee                   Starlin May Mary May Ttees      1008 3Rd Street
311 South Jackson                       2806 N Blake St                 Kerrville, TX 78028
Jacksonville, TX 75766                  Harlingen, TX 78550




May Oilfield Pipe Ltd                   May Perry Hamill                Maya Lateefah Daniels
PO Box 430                              c/o Charles Cobb Iv             3519 S 81st Gln
Overton, TX 75684                       413 Lynoak Street               Phoenix, AZ 850431558
                                        Marshall, TX 756727543




Mayde Lowry                             Mayer Boeckman Partners         Mayfield Corporation
c/o Bryan Forman                        8001 S Interport Blvd Ste 360   PO Box 570365
Forman Law Firm P C                     Englewood, CO 80112             Houston, TX 772570365
117 E Houston Street
Tyler, TX 75702



Mayfield I Ltd                          Mayhall Blaize LLC              Mayhall Fondren Blaize
PO Box 570365                           5800 One Perkins Place Drive    5800 One Perkins Place Dr
Houston, TX 77257                       Suite 2 B                       Suite 2 B
                                        Baton Rouge, LA 70808           Baton Rouge, LA 70808




Maymegene Roberts                       Mayo Foundation                 Mayo Marrs Casing Pulling Inc
Box 1312                                The Northern Trust Co           Box 863
San Angelo, TX 76902                    50 South Lasalle Floor B 8      Kermit, TX 79745
                                        Chicago, IL 60603
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Mayo Mendolia Starr LLP                 Mayrene Mcpherson Dealing                Mays Glennon Buford
110 N College Ave                       In Her Sole And Sep Prop                 915 Trellis Gate Ct
Ste 1700                                1435 Polk 70                             College Station, TX 77845
Tyler, TX 75702                         Mena, AR 71953




Mays Myron Daryl                        Mays Ronald Joseph                       Mb Exploration LLC
Rt 1 Box 258                            1275 Cr 157                              PO Box 803523
Brady, TX 76825                         Coleman, TX 76834                        Dallas, TX 75380-3523




Mb Exploration West Texas LLC           MB Oilfield Construction Inc             MB Roustabout Services Inc
PO Box 801566                           PO Box 26                                PO Box 1156
Dallas, TX 75380-1566                   Sweetwater, TX 79556                     Sundown, TX 79372




Mbar Ranch Lp                           Mbg Trucking                             Mbi Energy Services
PO Box 9369                             871 Hwy 765                              103 1st Ave West
Longview, TX 75606                      Logansport, LA 71049                     Dickinson, ND 58601




Mbi Energy Srvcs MO Basin Well Srvc     Mbj Investments LLC                      Mbl Bank
Used To Be High Plains Inc              c/o The Whittier Trust Co Of Nevada In   100 MBL Bank Dr
Kjersti Armstrong                       100 West Liberty St Ste 890              Minden, LA 71055
103 1st Avenue West                     Reno, NV 89501
Dickinson, ND 58601



Mbr Oil Gas 1 Ltd                       Mbs Managed Backup                       Mbtb Inc
PO Box 513                              Solutions Data Security                  Michael W Bledsoe
Midland, TX 79702                       2125 Church St                           2400 Little Moon Trail
                                        Galveston, TX 77550                      Rock Springs, WY 82901




Mc Charles Timms                        Mc Louisiana Minerals LLC                Mc Mineral Company LLC Chk
3131 Kingbridge St 233                  PO Box 203892                            PO Box 960161
Dallas, TX 75212                        Dallas, TX 75320                         Oklahoma City, OK 73101




Mca Energy LLC                          Mcada Drilling Fluids Inc                Mcadams Propane Company
2221 Llangeler Drive                    PO Box 1080                              PO Box 1715
Ruston, LA 71270                        Bay City, TX 77404-1080                  Center, TX 75935




Mcbee Operating Company LLC             Mcbee Systems Inc                        Mcbride Family Trust
4301 Westside Dr Ste 200                PO Box 88042                             John F Patricia A Mcbride Trustees
Dallas, TX 75209                        Chicago, IL 60680-1042                   609 Cloverlane Drive
                                                                                 Sycamore, IL 60178




Mccager Lamar Pace Iii                  Mccaig Family Partnership                Mccain Limited Partnership
PO Box 296                              PO Box 25422                             c/o Melanie M Safer Manager
Springhill, LA 71075                    Dallas, TX 75225                         71 Jamestown Court
                                                                                 Baton Rouge, LA 70809
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Mccall Family Irrevocable Trust          Mccall Family Trust                   Mccarroll Family Mgmt Trust
c/o Ree M Witt Trustee                   Cadmus S Mccall Trustee               c/o Roy Jack Mccarroll
6130 Big Bend Dr                         PO Box 118826                         9669 Fm 134
Mesquite, TX 75150-1321                  Carrollton, TX 75011                  Karnack, TX 75661-3353




Mccarter Residuary Trust                 Mccarthy Tetrault LLP                 Mccaughey Oil Corporation
1000 Richardson Drive Rm 212             66 Wellington St West Suite 5300      PO Box 6990
Henderson, TX 75654                      Toronto, ON M5K 1E6                   Tyler, TX 757116990
                                         Canada




Mccaw Properties LLC                     Mcclatchy Bros Inc                    Mcclendon Community Water
PO Box 127                               PO Box 4126                           Well Inc
Artesia, NM 88211                        Midland, TX 79704-4126                PO Box 843
                                                                               West Monroe, LA 71294




Mcclung Energy Services LLC              Mccollum Oil Company                  Mccook Family Ltd Partnership
234 Johnny Clark Road                    PO Box 7151                           PO Box 8867
Longview, TX 75603                       Midland, TX 79708                     Tyler, TX 75702




Mccord Interests Ltd LLP                 Mccormick Properties Inc              Mccoy Brothers Lumber Co Inc
Attn Rick Mccord                         112 Main Street                       PO Box 159
1021 Main Street Suite 1400              PO Box 1004                           Logansport, LA 71049
Houston, TX 77002                        Upton, MA 01568




Mccoy Rockford Inc                       Mccrary An Oklahoma Ltd Partnership   Mccrary Trucking Company
6869 Old Katy Road                       PO Box 22854                          PO Box 2027
Houston, TX 77024                        Denver, CO 80222                      Longview, TX 75606




Mccrea George E Jane Bagwell Mcrea       Mccreary Veselka Bragg Allen Pc       Mccully Chapman Expl Inc
PO Box 870                               PO Box 1269                           PO Box 421
San Angelo, TX 75206                     Round Rock, TX 78680-1269             Sealy, TX 77474




Mccurdy Services Inc                     Mcdonald Kenneth R                    Mcdonald Harriet
PO Box 5069                              Address Redacted                      2217 Nw 57Th Street
Bryan, TX 77805                                                                Oklahoma City, OK 73112-7303




Mcdonald Production                      Mcdougal Family Properties LLC        Mcdowell LLC
PO Box 1586                              700 Slaydon St                        455 Magnolia Wood Avenue
Lubbock, TX 79408                        Henderson, TX 75654                   Baton Rouge, LA 70808




Mcella Group LLC                         Mcelreath Davidson Trust 8336951900   Mcelreath Davidson Trust 9519
7328 Westover Rd                         Bank One Na Trustee                   Jp Morgan Chase Bank Na
Waco, TX 76710                           Po Drawer 99084                       Po Drawer 99084
                                         Fort Worth, TX 76199-0084             Fort Worth, TX 76199-0084
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Mcelroy Sullivan Miller                 Mcelvaney Family Ltd LLC             Mcgann Family Trust Dtd 4/28/2012
Weber Olmstead Llp                      c/o Eddye Dreyer Financial Svcs      Michelle M Gearke Ttee
PO Box 12127                            4925 Greenville Ave Ste 900          4070 North Hightway 67
Austin, TX 78711                        Dallas, TX 75206                     Sedalia, CO 80135




Mcgary Family Tr Kelly Sep              Mcgary Living Tr Sph                 Mcgee Drilling Corporation
Property Kelly Mcgary Ttee              Brian Mcgary Ttee                    PO Box 2471
Bank Of America Na Agent                Bank Of America Na Agent             Midland, TX 79702
PO Box 840738                           PO Box 840738
Dallas, TX 75284                        Dallas, TX 75284



Mcgee Estate Of Henry Wayne             Mcginley Associates Inc              Mcginnis Lochridge
PO Box 1476                             1720 E Highland Road                 600 Congress Ave Ste 2100
Maggie Valley, NC 28751                 Waxahachie, TX 75167                 Austin, TX 78701




Mcglinchey Stafford                     Mcgowan Mcgowan Pc                   Mcgowan Pam
601 Poydras Street Suite 1200           PO Box 71                            1966 Overhill Drive
New Orleans, LA 70130                   Brownfield, TX 79316-0071            San Angelo, TX 76904




Mcgowen Shaw PLLC Trust Acct            Mcgr Operating Company Inc           Mcgrede Betty M
2602 Mckinney Ave Ste 305               2602 Mckinney Ave Ste 305            1821 Maple Springs Road
Dallas, TX 75204                        Dallas, TX 75204                     Longview, TX 75602




Mcgrede Cheryl                          Mcgrede Nelwyn F                     Mcgregor Properties
1699 Maple Springs Road                 3223 North Ridge Road                PO Box 5909
Longview, TX 75602                      Longview, TX 75605                   Shreveport, LA 71135-5909




Mcgriff Seibels Williams Inc            Mcgriff Seibels Williams Inc         Mcgriff Seibels Williams Of Texas Inc
818 Town Country Blvd Suite 500         2211 7Th Avenue South                818 Town Country Blvd
Houston, TX 77024                       Birmingham, AL 35233                 Suite 500
                                                                             Houston, TX 77024-4549




Mcguire Industries Inc                  Mchale Family Trust                  Mchenry Realty Partnership LLC
2416 West 42nd Street                   Martha Larry Mchale Jr Co Trustees   1810 Riverside Drive
Odessa, TX 79764                        27 Sergio Way                        Monroe, LA 71201
                                        Hot Springs, AR 71909




Mci                                     Mci                                  Mci Commercial Surety Deposits
PO Box 371838                           PO Box 660206                        13143 Collection Center Dr
Pittsburg, PA 15250-7838                Dallas, TX 75266-0206                Chicago, IL 60693




Mcilnay Investments Inc                 Mcintosh Edna Pittman                Mcj Meeder Associates LLC
PO Box 221                              904 Lawrence Dr                      Charles M Meeder Manager
Moose, WY 83012                         Longview, TX 75604                   75 Country Lane
                                                                             Yorkville, IL 60560
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Mcjimsey Family Irr Trust              Mcjunkin Red Man Corporation      Mcjunkin Red Man Corporation
Bert Mcjimsey Jr And                   1008 Solution Center              PO Box 204392
Barbara Mcjimsey Paxton Trustees       Chicago, IL 60677-1000            Dallas, TX 75320-4392
3211 Belmead Ln
Tyler, TX 75701



Mckay Family Limited Part              Mckay Family Ltd Partnership      Mckee Consulting Services Inc
609 E Mockingbird Ln                   11755 N Cr 15                     PO Box 3130
Victoria, TX 77904-2088                Wellington, CO 80549              Carlsbad, NM 88221-3130




Mckellar Oil Gas LLC                   Mckenzie And Baer                 Mckenzie Transportation Co Inc
112 Beaver Road                        7920 Belt Line Rd Ste 740         PO Box 857
Hattiesburg, MS 39402                  Dallas, TX 75254-8178             Kilgore, TX 75663




Mckinney Measurement Control Inc       Mckinney Square Investments Ltd   Mcknight Construction
206 Knowles St                         208 E Louisiana St 200            PO Box 130
Kilgore, TX 75662                      Mckinney, TX 75069                Arp, TX 75750




Mcknight Estate                        Mcknight Services LLC             Mclellan Hiram Laura Tr Mdp
Billy J Mcknight Executor              PO Box 270568                     Wells Fargo Bank Sao
15 Riverbend Loop                      Houston, TX 77277-0568            PO Box 41779
Rayville, LA 71269                                                       Austin, TX 78704




Mclemore Heirs LLC                     Mcleroy Bill T                    Mcleroy Mcleroy
PO Box 3725                            2324 Jacksonville Drive           Box 668
Longview, TX 75606                     Henderson, TX 75654               Center, TX 75935




Mclure Management LLC                  Mcm Holdings LLC                  Mcmaster Carr Supply Co
1603 Gum Creek Cove                    Mark Rankin                       PO Box 7690
Niceville, FL 32578                    801 Cherry St Suite 2100          Chicago, IL 60680-7690
                                       Ft Worth, TX 76102




Mcmichael Medlin D Anna                Mcmillan Investments              Mcmillan Offshore International LLC
Wedgeworth Lafargue Llc                4216 Purdue Ave                   PO Box 411
Attorneys Counselors At Law            Dallas, TX 75225                  Belfast, ME 04915
PO Box 72
Shreveport, LA 71161-0072



Mcminn Family Trust                    Mcmullen County Clerk             Mcmullen County Tac
Michael Loren Mcminn Ttees             PO Box 235                        503 River St
1676 Stoddard Ave                      Tilden, TX 78072                  Tilden, TX 78072
Thousand Oaks, CA 91360




Mcmullen County Tac                    Mcmurrey Federal Credit Union     Mcneely Est Cheryl Granlund
Bessilia Guerrero                      PO Box 4575                       J M Miles Michael Urbanos
Mcmullen County Tax Office             Tyler, TX 75712-4575              2501 Rosegate
PO Box 38                                                                St Paul, MN 55113-2717
Tilden, TX 78072
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Mcneill Family Properties LLC          Mcniel Consulting                      Mcpherson Family Trust
PO Box 2081                            7939 Fm 1251 East                      1208 N Cottonwood Dr
Ruston, LA 71273                       Henderson, TX 75652                    Richardson, TX 75080




Mcrae Glenda Beth Brooks               Mcrae Henry Ltd                        Mcs Property Holdings LLC
130 Cr 278                             350 Indiana St Ste 720                 Carolyn Virginia Shepherd Mngr
Carthage, TX 75633                     Golden, CO 80401-6581                  2945 Wingate St
                                                                              Lake Charles, LA 70615




Mcs Two LLC                            Mcs Two LLC                            Mct LLC
1012 Oliver Rd                         PO Box 6058                            Dba Hot Wheels
Monroe, LA 71201                       Monroe, LA 71211                       PO Box 691386
                                                                              Houston, TX 772691386




Mct Equipment Sales LLC                Mct Federal Credit Union               Mct LLC Dba Hot Wheels
7411 Valdez Street                     2736 Nall St                           PO Box 691386
Hobbs, NM 88242                        PO Box 279                             Houston, TX 77269-1386
                                       Port Neches, TX 77651




Mcw Royalties                          Mcwilliams Well Analyzing LLC          MD Companies Inc
PO Box 881                             1841 Cotton Ave                        PO Box 2
Corsicana, TX 75151                    Levelland, TX 79336                    Garrison, TX 75946




ME Office Of The State                 ME Office Of The State Teasurer        Mead Mary F
Treasurer Unclaim Prop Div             Unclaimed Prop Div                     3718 E 82nd St
111 Sewall St 4Th Flr                  39 State House Station                 Tulsa, OK 74137-1633
Augusta, ME 04333                      Augusta, ME 04333-0039




Meadowbrook Oil Corporation            Meadows Mineral LLC                    Meagan Reeves Cook
3612 S Epperly Dr                      317 Marie St                           6233 Bentwood Dr
Del City, OK 73115                     West Monroe, LA 71291                  Midlothian, TX 76065




Meagher Energy Advisors Inc            Mearilyn J Starling                    Mearlean Walker Jackson
PO Box 4782                            4126 Inkberry Valley Ln                902 South Farmerville
Englewood, CO 80155-4782               Houston, TX 77045                      Ruston, LA 71270




Measurement Controls Systems           Measurement Systems Division Cameron   Mechanical Equipment
1331 S Lyon St                         PO Box 730172                          PO Box 90
Santa Ana, CA 92705                    Dallas, TX 75373-0172                  Salt Lake City, UT 84110-0090




Mechanical Equipment Inc               Mechanical Seal Repair                 Med Loz Lease Services Inc
Glenn A Long                           PO Box 2088                            PO Box 627
2766 Tin Top Road                      Seal Beach, CA 90740                   Zapata, TX 78076
Weatherford, TX 76087
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Medaho Resources LLC                      Medallion Oil Company             Medallion Petroleum Inc
715 Longleaf Rd                           PO Box 1101                       1500 Thompson Bldg
Shreveport, LA 71106                      Houston, TX 77251                 20 E 5Th St
                                                                            Tulsa, OK 74103




Medallion Petroleum Inc                   Medford And Associates LLC        Mediant Communications Inc
2021 S Lewis Ave                          22402 Bridgehaven Dr              PO Box 29976
Tulsa, OK 74104-5733                      Katy, TX 77494                    New York, NY 10087-9976




Mediation Arbitration                     Medicine Bow Holdings LLC         Medina ChildrenS Home
Professional Systems Inc                  5764 Fig Way                      21300 State Hwy 16 N
Two Lakeway Center Ste 400                Attn John Dunnewald               Medina, TX 78055
3850 N Causeway Blvd                      Arvada, CO 80002
Metairie, LA 70002



Medina Electric Cooperative Inc           Medina Electric Cooperative Inc   Medley J Turner
2308 18th Street                          PO Box 33850                      816 Aroma St Apt 1512
Hondo, TX 78861                           San Antonio, TX 78265-3850        Denver, CO 80204




Medlin Electric Inc                       Mefm Lp                           Mega Diamond LLC
PO Box 696                                PO Box 38                         Nam Contracts
Quitman, TX 75783                         Judson, TX 75660                  1325 Dairy Ashford Room 310
                                                                            Houston, TX 77077




Mega Fluids LLC                           Mega Oil Corp                     Mega Oil Corp
c/o Crestmark Capital                     Dba Omega Oilfield Services       Dba Omega Oilfield Services
PO Box 41047                              John Newman                       PO Box 1793
Baton Rouge, LA 70835                     PO Box 1793                       Kilgore, TX 75663-1793
                                          Kilgore, TX 75663



Megadyne Services Co                      Megadyne Services Co              Megan J Considine
P O Drawer G                              Thomas Bolf                       6520 Crestpoint Dr
Kermit, TX 79745                          109 East Avenue                   Dallas, TX 75254
                                          Kermit, TX 79745




Megan Mitchell                            Megan Storey Mcmurphy             Megastir Technologies LLC
175 Forest Street                         31497 Hughes Rd                   Nam Contracts
Arlington, MA 02474                       Alva, OK 73717                    1325 Dairy Ashford Room 310
                                                                            Houston, TX 77077




Meh Inc                                   Meh Investments Inc               Meijer Family Company I LLC
PO Box 471230                             1317 Amberwood Ln                 Conrad F Meijer Manager
Tulsa, OK 74147                           Fayetteville, AR 72701            3275 East Lakeshore Dr
                                                                            Baton Rouge, LA 70808




Meilien Yeh                               Mekeisha Grantham                 Mekesha M Hightower
Indpndnt Exec Cary Brock Est              PO Box 642                        4320 Lambeth Lane
12211 Sweetwater Ct                       Mansfield, LA 71052               Ft Worth, TX 76103
Stafford, TX 77477
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Mekusukey Oil Company LLC                 Mel C Gray                     Melanee Gaye Tackaberry Trst
Duke R Ligon Manager Amy Jo               PO Box 701487                  U/W/O Robert Reed Tackaberry
Love Aif                                  San Antonio, TX 78270          51 Waters Edge
PO Box 816                                                               Montgomery, TX 77356
Wewoka, OK 74884



Melanie Alayne Lonidier                   Melanie Allen Ligon            Melanie Ann Knotts
2171 Sugar Creek Road                     650 Robin Road                 5130 Mallard
Arcadia, LA 71001                         Grenada, MS 38901              Alexandria, LA 71303




Melanie Barco Cage                        Melanie C Seifert              Melanie C Zachry
27262 E Lana Ln                           2600 E Renner Rd Apt 165       1924 Hwy 544
Conroe, TX 77385                          Richardson, TX 75082-3478      Ruston, LA 71270




Melanie Cooper                            Melanie Covington              Melanie Dawn Johnson
4207 Lawngate Drive                       3245 Welch Rd                  c/o Laura Johnson Cuellar Tr
Dallas, TX 75287                          Gilmer, TX 75644-4046          11555 Fm 471 West 24
                                                                         San Antonio, TX 78253




Melanie DSilva                            Melanie Elizabeth Hayes        Melanie Foster Burkholder
PO Box 570508                             2165 Running River Road        9309 Raleigh Avenue
Dallas, TX 75357                          Henderson, NV 89074            Lubbock, TX 79424




Melanie H Johnston Nominee                Melanie Harris Johnston        Melanie Huk
F B O Mary Lewan Harris                   Fbo Lewan King Harris          1087 Shimmering Sand Dr
25327 Bull Ridge Drive                    25327 Bull Ridge Dr            Ocoee, FL 34761
Porter, TX 77365                          Porter, TX 77365




Melanie Jane Labree                       Melanie Marie Kallenberger     Melanie Melanie Hines Turnley
Address Redacted                          1719 212Th St                  17222 Sweet Olive Avenue
                                          Waverly, IA 50677              Baton Rouge, LA 70817




Melanie P Taylor                          Melanie Piper Allison          Melanie Renee Drew
220 Pecan Creek                           658 Silver Street              2 Wellington Drive
Henderson, TX 75654                       Rollinsford, NH 03869          Longview, TX 75605




Melanie S Wagner                          Melanie Sale Merritt           Melanie Woods
9485 E Cherrywood Dr                      PO Box 1889                    133 Frank Dr
Claremore, OK 74019                       Port Townsend, WA 98368        Logansport, LA 71049




Melba A Kelly                             Melba Annette Lawler Atkins    Melba B Gibbons Life Estate
PO Box 22024                              260 Ih 45S Ste A               PO Box 180635
Houston, TX 77227                         Huntsville, TX 77340           Arlington, TX 760960635
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Melba Boyd Sumlin                         Melba Boyd Sumlin Usufruct      Melba Brooks Kerr
713 Cooktown Rd                           713 Cook Town Rd                516 W Third Street
Ruston, LA 71270                          Ruston, LA 71270                Tyler, TX 75701




Melba Crawford Barmore                    Melba Ditz Dahl                 Melba F Wilkerson
204 New Prospect Rd                       1907 Meshack                    11 Woodhaven Cir
Dubach, LA 71235                          Longview, TX 75601              Henderson, TX 75654




Melba Franklin                            Melba G Garner                  Melba Gray Cutrer
10211 Hwy 151                             24111 Leeward Dr                A/K/A Melba Louise Cutrer
Dubach, LA 71235                          Dana Point, CA 92629-4457       1105 Drew Lane
                                                                          Minden, LA 71055




Melba H Reeves                            Melba Jean Mason Jones          Melba Jean Rance
206 Inwood Dr                             3583 Hwy 150                    321 Hemphill
Palestine, TX 75801                       Simsboro, LA 71275              Fort Worth, TX 76104




Melba Jo Johnson                          Melba Joann Roach               Melba Lou Bohuslav
905 Linn Dr                               1804 Lakeshore Dr               215 Summit Dr
Spearman, TX 79081                        Longview, TX 75605              La Grange, TX 78945




Melba Mackey Thornton                     Melba N Kolb S/P                Melba Rose Hunter Neher
160 Gibbson Rd Apt 329                    c/o Golden Age Of Welch         c/o Texas State Treasury
Athens, TX 75751                          410 S Simmons St                Unclaimed Property Division
                                          Welch, LA 70591                 PO Box 12019
                                                                          Austin, TX 78711-2019



Melba Sue Lowe                            Melba Valdez Munteanu           Melba Wallace
13128 Rose Road                           PO Box 356                      c/o Hardia B Wallace
Willis, TX 77378                          Freer, TX 78357                 700 Hwy 43 East
                                                                          Henderson, TX 75652




Melda Moon Oliver                         Meleto Oil Gas Inc              Melford Lee Burnaman
5214 Laurie Lane                          c/o Todd Franks                 Deceased
Bossier, LA 71112                         207 High Canyon Ct              19811 Clear Glen Drive
                                          Richardson, TX 75080            Humble, TX 77346




Melina Rorie Slotnick                     Melinda Collins                 Melinda Evans Culton
9144 Sioux Court                          PO Box 5                        3300 Wharton
Jonesboro, GA 30236                       Quitaque, TX 79255              Arlington, TX 76001




Melinda G Leinard                         Melinda G Leinard Life Estate   Melinda Gordon Paret
PO Box 1022                               PO Box 1022                     9824 Highway 390 E
Carthage, TX 75633                        Carthage, TX 75633              Brenham, TX 77833
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Melinda Jane Johnson                      Melinda Jayne Jones Lowrey       Melinda Jone Heaton
18451 County Road 138                     3310 South 32nd                  6103 Belfast
Flint, TX 75762                           Fort Smith, AR 72903             Austin, TX 78723




Melinda K Stanaland                       Melinda Kay Mcwilliams Collins   Melinda Kay Montgomery
120 Stoddard Dr                           PO Box 5                         31214 Fountainbrook Park Lane
Nacogdoches, TX 75965                     Quitaque, TX 79255               Spring, TX 77386




Melinda L Mackey Butterfield              Melinda Lake                     Melinda Leach
420 Augusta Drive                         260 County Road 116              809 Cherry Street
El Dorado, AR 71730                       Carthage, TX 75633               Grand Forks, ND 58201




Melinda Leigh Heath Ellis                 Melinda M Davis                  Melinda Price Mobley
6823 Escondido Dr                         123 Lofty Pine                   402 Campbell St
Houston, TX 77083                         Clinton, MS 39056                West Monroe, LA 71292




Melinda Roy                               Melinda T Montgomery             Melisa Evans Gallison
1103 Schooner Place                       604 Donna Circle                 7331 Cotesworth Drive
Sanibel, FL 33957                         Kerens, TX 75144                 Wilmington, NC 28405




Melisa Reed                               Melissa A Calvert                Melissa Ann Shaffer Chambers
198 Bethany Drive                         1325 Woodmoor Dr                 Separate Property
Church Pointe, LA 70525                   Allen, TX 75013                  2126 Pebblebrook Ln
                                                                           Bryan, TX 77087




Melissa B Schroeder                       Melissa Berry                    Melissa Bradley
12710 Highway 151                         1091 Slocum Road                 805 Bolivar Street
Arcadia, LA 71001                         Calhoun, LA 71225                Denton, TX 76201-2998




Melissa Connor                            Melissa Corp                     Melissa D Emory
4036 Chattahoochee Road                   799 Stephens Pass Cove           PO Box 1741
Fort Valley, GA 310304617                 Lake Mary, FL 32746              Dickinson, TX 77539




Melissa Devalon                           Melissa Ford Permenter           Melissa G Smith
18958 Spyglass                            3040 Hazel St                    204 Mcwhorter Rd
Monument, CO 80132                        Acradia, LA 71001                Lockesburg, AR 71846




Melissa Gay Hatfield                      Melissa Herrington Thomas        Melissa Josey Gribble
2804 Purple Sage Trail                    PO Box 1391                      PO Box 1232
Midland, TX 79705                         Anahuac, TX 77514                Gainesville, TX 76241
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Melissa K Mcilwain                       Melissa Kelly                          Melissa Kirgan Norris Trust
1918 Sunset Blvd                         Veronica Elise Maddox Poa              c/o Citizens National Bank
Houston, TX 77005                        515 Dubois Avenue                      PO Box 820
                                         Dallas, TX 75203                       Henderson, TX 75653




Melissa Landry                           Melissa Marie Martin Trust             Melissa Martin Jacaman
17647 Macon Dr                           Thomas F Martin Trustee                11215 Quail Pass
Baton Rouge, LA 70817                    PO Box 430184                          San Antonio, TX 78249
                                         Laredo, TX 78043




Melissa Mccall Whittington               Melissa Morris Mcburney                Melissa Newman Tax Assessor
PO Box 249                               11 Ruby Mountain Drive                 Collector Pine Tree
Benton, LA 71006                         Redstone, CO 81623                     Indep School District
                                                                                PO Box 5878
                                                                                Longview, TX 75608



Melissa Reagan                           Melissa Reed                           Melissa Rike Trust
10 Ravens Nest                           c/o Texas State Treasurer              Melissa Suzanne Potts Trustee
Bryan, TX 77808-9718                     Unclaimed Property Division            708 College Ave
                                         PO Box 12608 Capitol Station           Jacksonville, TX 75766
                                         Austin, TX 78711



Melissa Smith Ribley                     Melissa Starr Bedgood Pelton           Melissa Townsend Frey
3084 Fixler Road                         3832 Arroyo Road                       10038 Linda St
Medina, OH 44256                         Ft Worth, TX 76109                     Gibsonton, FL 33534-4504




Melissa Watson                           Melissa Williams Matthews              Melita M Zafereo Trust
722 Riley                                2684 Faringdon Dr                      Jpmorgan Chase Bank N A Ttee
Port Neches, TX 77651                    Tallahassee, FL 323032535              PO Box 2050
                                                                                Fort Worth, TX 76113




Melita M Zafereo Trust                   Mell Rose Woodard Storey               Mellicent S Pittman
Jpmorgan Chase Bank N A Ttee             2768 Hazel Street                      c/o Beth Jones
PO Box 99084                             Arcadia, LA 71001                      510 Harris Lane
Fort Worth, TX 76199-0084                                                       300 Pierremont Rd
                                                                                Shreveport, LA 71106



Mellie Bell Rolling Lyons                Mellie Hodge Rich                      Mellie J Neaville
Aka Nellie Bell Roland Lyons             5936 Dianne St                         1158 Hwy 563
618 Adams Street                         Shreveport, LA 71119-5331              Dubach, LA 71235
Apt 2
Ruston, LA 71270



Mellie Jo Jefcoat Neaville               Melodiese Satterwhite                  Melody A Kornbleet
1158 Hwy 563                             101 Butlers Court                      5217 Old Spicewood Springs Rd
Dubach, LA 71235                         Conroe, TX 77385                       Apt 401
                                                                                Austin, TX 78731




Melody Barnes                            Melody Gaye Barnes Irrevocable Trust   Melody Hall Ray
PO Box 1706                              George Joseph Trustee                  3011 Hwy 191
Longview, TX 75606                       PO Box 1706                            Logansport, LA 71049
                                         Longview, TX 75606
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Melody Lynn Mcgann                     Melonny A Keyse                     Melton C Praznik
9696 Walnut Street 316                 13330 West Road Apt 1231            PO Box 495
Dallas, TX 75243                       Houston, TX 77041                   Diana, TX 75640




Melton Hiller                          Melton Logistics LLC                Melton W Turlington
119 Isdale                             PO Box 268984                       184 Ryder Rd
Yoakum, TX 77995                       Oklahoma City, OK 73126             Rusk, TX 75785-2507




Melton W Turlington And                Melva Houston                       Melva Jean Gatson
Dee La Vina Turlington                 8003 Oak Hollow                     6110 Andwood
900 Crystal Farms Road                 Arlington, TX 76001                 Houston, TX 77087
Tatum, TX 75691




Melville Hankins Fam Fndation          Melvin Alonzo Stringfellow          Melvin Brim
Charles ForteMorgan Stanley Tr         6579 Emmitt Street                  1748 No Estelle Street
PO Box 23731                           Millington, TN 98053                Wichita, KS 67214
Santa Fe, NM 87502




Melvin Butler                          Melvin C Lewis                      Melvin Costlow Deceased 3 29 04
412 Preston Landing Cir                7727 S Stewart                      20406 Laverton Drive
Lithia Springs, GA 30122               Chicago, IL 60620                   Katy, TX 77450-2011




Melvin Douglas Bennett                 Melvin E Malcolm                    Melvin Elaine Wolf Foundation Inc
10078 Fm 1716 E                        5301 W Spring Creek Pkwy Apt 1118   303 East 17Th Avenue
Henderson, TX 75652                    Plano, TX 75024-4907                Ste 645
                                                                           Denver, CO 80203




Melvin F Nan A Mitchell                Melvin Franetovich                  Melvin Harris
5651 Northwest Dr Apt 3113             9530 Hageman Rd Ste B 158           205 W Charlotte St
Mesquite, TX 75150-8425                Bakersfied, CA 93312                Ruston, LA 71270




Melvin Keierleber                      Melvin M Beam                       Melvin M Kirkland
661 Vz Cr2628                          1340 Oakwood Loop                   6530 Fall Church Rd
Wills Point, TX 75169                  San Marcos, TX 78666                San Antonio, TX 78247




Melvin Mcguire                         Melvin R Cooper                     Melvin Ray Jernigan
2197 Fm 1136                           c/o Linda M Cooper Mcclellan Aif    4617 Silver Charm Ln
Orange, TX 77632                       1940 W Spring Creek Pkwy            Edmond, OK 73025-2211
                                       Apt 116
                                       Plano, TX 75023



Melvin Riddle                          Melvin Sampson                      Melvin Sampson Jr Sep Prop
213 Crescent                           2615 Oak Knoll Way                  374 Harmony Church Rd
Longview, TX 75602                     Orville, CA 95965                   Arcadia, LA 71001
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Melvin T Velda S Lewis                    Melvin Terrell                           Melvin Thomas Nelson Reatha Nelson
c/o Doris Lewis                           255 S 172nd Dr                           1434 Oakdale Street
5100 John D Ryan Bvld                     Goodyear, AZ 85338-6059                  Ruston, LA 71270
Apt 411
San Antonio, TX 78245



Melvin W Jackson                          Melvin Wade Mcconnell                    Melvin Woodroe Helen Y Temple Crain
8131 Lbj Freeway Ste 840                  6843 W Hwy 80                            8317 Highway 416
Dallas, TX 75251-1330                     Marshall, TX 75670                       Ruston, LA 71270




Melynda Sue Benson                        Melzer Consulting                        Melzer Consulting
404 Rockshop Rd                           Laurence Stephen Melzer Dba              PO Box 2083
Dubach, LA 71235                          Steve Melzer                             Midland, TX 79702-2083
                                          415 W Wall Suite 1106
                                          Midland, TX 79701



Members Choice Credit Union               Members Heritage Federal C U             Memorial Energy Services LLC
14960 Park Row Blvd                       3202 Cluster Dr                          500 Dallas Street Suite 1800
Houston, TX 77084                         Lexington, KY 40517                      Houston, TX 77002




Memorial Midstream LLC                    Memorial Prod Partners LP                Memorial Prod Partners LP
500 Dallas Street Suite 1600              c/o Wells Fargo Shareowner Svs           c/o Wells Fargo Shareowner Svs
Houston, TX 77002                         Attn Dan Loeffler                        Attn Nancy Petersen
                                          1110 Centre Pointe Curv                  1110 Centre Pointe Curv
                                          Mendota Heights, MN 55120-4103           Mendota Heights, MN 55120-4103



Memorial Production Finance Corporation   Memorial Production Operating LLC        Memorial Production Partnrs LP
500 Dallas Street Suite 1600              500 Dallas Street Suite 1600             500 Dallas Street Suite 1800
Houston, TX 77002                         Houston, TX 77002                        Houston, TX 77002




Memorial Production Ptr Gp LLC            Memorial Resource Dev Corp               Memorial Resource Development LLC
500 Dallas Street Suite 1800              500 Dallas Street Suite 1800             PO Box 205152
Houston, TX 77002                         Houston, TX 77002                        Dallas, TX 75320-5152




Memorial Resources Dev LLC                Memorial Sloan Kettering Cancer Center   Memp Elimination
500 Dallas Street Suite 1800              1275 York Ave                            500 Dallas Street Suite 1800
Houston, TX 77002                         New York, NY 10065                       Houston, TX 77002




Memp Reclass                              Memp S 1 Inc                             Memp S 2 Inc
500 Dallas Street Suite 1800              500 Dallas Street Suite 1800             500 Dallas Street Suite 1800
Houston, TX 77002                         Houston, TX 77002                        Houston, TX 77002




Memp Services LLC                         Memp Tanos Energy Hold                   Memp Tanos Energy LLC
500 Dallas Street Suite 1800              500 Dallas Street Suite 1800             500 Dallas Street Suite 1800
Houston, TX 77002                         Houston, TX 77002                        Houston, TX 77002
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Memp Tanos Exploration                  Memp Tanos Midstream LLC       Mendez Mathew G
500 Dallas Street Suite 1800            500 Dallas Street Suite 1800   Address Redacted
Houston, TX 77002                       Houston, TX 77002




Mendford Trucking                       Menere James                   Menix Devona
PO Box 87                               Address Redacted               608 Troxell Blvd
Wink, TX 79789                                                         Rhome, TX 76078




Mer Energy Ltd                          Meradean D Jones               Mercer Family Revocable Trust
6500 Greenville Ave Ste 110             45641 Mountain View Avenue     1600 E 19Th St
Dallas, TX 75206                        Palm Desert, CA 92260          Suite 102
                                                                       Edmond, OK 73013




Mercer Group Ltd                        Mercer Tank Trucks             Mercer Well Service
c/o Mark Coler                          11700 Katy Freeway Suite 300   11700 Katy Frwy Suite 300
20 River Terrace Apt 28B                Houston, TX 77079              Houston, TX 77079
New York, NY 10282




Mercer Well Service                     Merchant Consulting            Merchants Acceptance Co
PO Box 201642                           29132 Village Creek            1017 Richard St Bldg
Dallas, TX 75320-1642                   Magnolia, TX 77355             New Orleans, LA 70130




Merco Of Oklahoma Inc                   Mercuria Energy Trading Inc    Mercurio Martinez Jr Indiv
PO Box 18607                            20 E Greenway Plaza            Est Of Mercurio Martinez Sr
Oklahoma City, OK 73154                 Suite 650                      2320 Price Street
                                        Houston, TX 77046              Laredo, TX 78043




Mercury Energy LLC                      Mercury Oil Company LLC        Mercy Jenkins West
PO Box 1592                             7517 Campbell Rd Suite 602     1121 W Keese St
Ruston, LA 71273                        Dallas, TX 75248               Milwaukee, WI 53206




Meredith De La Rosa                     Meredith E Robers Jr           Meredith Gautier
7419 Pony Creek                         1010 Chateau Court             5125 Stagecoach
Missouri City, TX 77549                 Longview, TX 75604             Tyler, TX 75703




Meredith George Tinsley                 Meredith Grisaffi              Meredith H Burgess And
PO Box 90261                            PO Box 201                     Cathleen Burgess Jt Tenancy
Albuquerque, NM 87199-0261              Baton Rouge, LA 70821          1960 Barding
                                                                       Decatur, IL 62526




Meredith K Tinsley Trust                Meredith Key Thompson Exempt   Meredith Key Thompson Sullivan
Clem E George Trustee                   Lifetime Trust Meredith K      Family Trust Meredith Key
PO Box 3525                             Thompson Sullivan Trustee      Thompson Sullivan Trustee
Midland, TX 79702-3525                  PO Box 1283                    PO Box 1283
                                        Livingston, MT 59047           Livingston, MT 59047
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Meredith Land Minerals Co              Meredith Lynn Noel Day         Meredith Mcnulty Brown
1001 Mckinney Street                   721 Prospect                   1804 Yosemite Ln
Suite 2200                             Shreveport, LA 71104           Keller, TX 76248
Houston, TX 77002




Meredith Zapata Gst Exempt Tr          Meretta L Moore                Meri Ann Rush Print Zone
Jpmorgan Chase Bank Na Ttee            835 Harrell Rd                 PO Box 825
Po Drawer 99084                        West Monroe, LA 71291          Thermopolis, WY 82443
Fort Worth, TX 76199




Meri Brake Holderby                    Meridian Corporation           Meridian Trust Federal Credit Union
3572 Fm 1793                           PO Box 12415                   Aba 307086701
Marshall, TX 75672                     Odessa, TX 79768-2415          PO Box 548
                                                                      Cheyenne, WY 82003




Merit Energy Company Inc               Merit Energy Company LLC       Merit Energy Partners Iii Lp
PO Box 843727                          PO Box 543755                  13727 Noel Rd Ste 500
Dallas, TX 85284-3727                  Dallas, TX 75284-3755          Dallas, TX 75240




Meriwether La Land Timber              Meriwether Louisiana           Merklein Family Trust
450 Pacific Avenue North               Land Timber Llc                Ann Merklein Trustee
Monmout, OR 97361                      Dept 300 PO Box 4106           Attn Melissa Herzog
                                       Woburn, MA 01888-4106          1220 Environ Way
                                                                      Chapel Hill, NC 27517



Merle Anne Batie                       Merle C Chambers               Merle Davis Westmoreland
3524 Bridle Lane                       410 17Th St Ste 1130           Elizabeth L Thomas Poa
Chico, CA 95973                        Denver, CO 80202               2409 Osage Rd
                                                                      Gatesville, TX 76528




Merle L Williams Rev Trust             Merle Loraine Cross            Merle M Rowan Brent R Hyder Tr
Carl D Williams Trustee                727 Park Street                Martha R Hyder Tr
PO Box 7429                            Gilmer, TX 75644               6040 Camp Bowie Blvd Ste 1
Spanish Fort, AL                                                      Fort Worth, TX 76116




Merle M Rowan Kelly Rowan Tr           Merle M Rowan Leigh Rowan Tr   Merle M Rowan Martha Hyder Tr
Martha R Hyder Tr                      Martha R Hyder Tr              Martha R Hyder Tr
6040 Camp Bowie Blvd Ste 1             6040 Camp Bowie Blvd Ste 1     6040 Camp Bowie Blvd Ste 1
Fort Worth, TX 76116                   Fort Worth, TX 76116           Fort Worth, TX 76116




Merle M Rowan Whitney More Tr          Merle Stott                    Merle Ware
Martha R Hyder Tr                      1060 N 3Rd St                  1959 E 13Th
6040 Camp Bowie Ste 1                  Silsbee, TX 77656              Carthage, MO 64836
Fort Worth, TX 76116




Merlene Madden                         Merlene Rushing                Merlin Bryan Hunter
341 Old Wire Rd                        606 Congo St                   5831 W Canal Blvd
Ruston, LA 71270-9504                  Jonesboro, LA 71251            Shreveport, LA 71108
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Merrell Midyett Rhodes                 Merrian Mcleroy Wharton                 Merrick Family Trust
880 Country Road 103                   12961 Fm 2601                           Linda L Johnson Trustee
Carthage, TX 75633                     Moody, TX 76557                         1055 Adams Circle 404
                                                                               Boulder, CO 80303




Merrick Systems Inc                    Merrie W Rogers                         Merrie Wharton Hunter
Dept 2269                              1801 Riverstone Lane                    C/O Cecilia W Erlund
PO Box 122269                          Longview, TX 75605                      12961 Fm 2601
Dallas, TX 75312-2269                                                          Moody, TX 76557




Merrilee Streun Leatherman             Merrill B Burruss Jr                    Merrill Baker Et Ux F Baker
161 Maximilian Ln                      PO Box 988                              c/o Texas State Treasury
Shreveport, LA 71105                   Chickasha, OK 73023                     Unclaimed Property Division
                                                                               PO Box 12019
                                                                               Austin, TX 78711-2019



Merrill Communications LLC             Merrill Lynch                           Merrill Lynch
Cm 9638                                Attn Mrna Na Na                         Attn Msahrenet Malakas
St Paul, MN 55170-9638                 Attn Corporate Action Litigation        One Houston Center
                                       101 Hutton Street 8Th Floor             1221 Mckinney Ste 2700
                                       Jersey City, NJ 07302-3997              Houston, TX 77010



Merrill Lynch                          Merrill Lynch Pierce Fenner Smith Inc   Merrill Stearns
Investment Banking                     100 N Tryon St                          8204 Curry N E
One Houston Center                     Nc1 007 12 28                           Albuequerque, NM 87109
1221 Mckinney Ste 2700                 Charlotte, NC 28255
Houston, TX 77010



Merrion Oil Gas Corp                   Merritt Brothers Holding Ltd            Merritt Sr Family Trust
610 Reilly Ave                         PO Box 3245                             PO Box 3245
Farmington, NM 87401                   Kilgore, TX 756633245                   Kilgore, TX 75663




Merrydean Woodard Usufructary          Merryman Construction Co                Mertie M Pepper
13795 Hwy 151                          P O Drawer U                            Box 474
Arcadia, LA 71001                      Jal, NM 88252                           Beckville, TX 75631




Mertzon Pump Supply Inc                Mervin G Parker                         Mervin Leroy Murphy
PO Box 60065                           159 Woodstone Drive                     6463 Fm 850
San Angelo, TX 76906                   Ruston, LA 71270                        Tyler, TX 75705




Merwyn W Laird Thompson Trust          Mesa Irrigation Co                      Mesa Southern Well Servicing Lp
Regions Bank Nrre                      1609 N Hwy 87                           Dept 117
Operations Trustee                     Lamesa, TX 79331-1854                   PO Box 4458
PO Box 11566                                                                   Houston, TX 77210-4458
Birmingham, AL 35202



Mesa Well Servicing Lp                 Mesa Wireline LLC                       Meschelle Mitchell
PO Box 1620                            PO Box 357                              18214 Burbank Blvd Unit 204
Hobbs, NM 88241                        Windsor, CO 80550-0357                  Tarzana, CA 91356
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Mesquite Credit Union                     Mesquite Oil Tools Inc               Mesquite Rental Services Inc
1510 N Galloway                           PO Box 668                           PO Box 575
Mesquite, TX 75149                        Snyder, TX 79550-0668                Hebbronville, TX 78361




Meta Bank                                 Meta Jo Riseling                     Metah Green
5501 S Broadband Lane                     PO Box 102                           PO Box 791
Sioux Falls, SD 57108                     Walsh, CO 81090                      Albian, CA 95410




Metairie Bank                             Metal Logos Of Kansas City Inc       Metalogix International
3344 Metairie Rd                          3333 Roanoke                         PO Box 83304
Metairie, LA 70001                        Suite 101                            Woburn, MA 01813-3304
                                          Kansas City, MO 64111




Metcalf Connie Mae                        Metcalfe Minerals Lp                 Metco Petro Ltd
PO Box 1317                               PO Box 670069                        333 W Loop North
Tatum, TX 75691                           Dallas, TX 75367-0069                Texan Bldg Ste 410
                                                                               Houston, TX 77024




Meter Engineers Inc                       Meter Service Supply Inc             Methodist ChildrenS Home
7718 W 53Rd St N                          PO Box 62106                         Farmers National Co Agent
Maize, KS 67101                           Midland, TX 79711                    Oil Gas Dept
                                                                               PO Box 3480
                                                                               Omaha, NE 68103-0480



Methodist ChildrenS Home                  Methodist Home For Children          Methodist Home Foundation
Farmers National Company                  1111 Herring Ave                     PO Box 2600
5110 S Yale Suite 400                     Waco, TX 76708                       Macon, GA 31203
Tulsa, OK 74135




Methodist Hospital                        Methodist Hospital FarmerS NatL Co   Metlife Inc
FarmerS NatL Co Agent                     Agent                                200 Park Ave
Oil Gas Dept                              5110 S Yale                          New York, NY 10166
PO Box 3480                               Suite 400
Omaha, NE 68103-0480                      Tulsa, OK 74135



Metro Energy Lp                           Metropolitan Design                  Metropolitan Royalty Corp
800 Bering Drive Suite 250                4310 Atlantic Ave                    26 Peru St
Houston, TX 77057                         Long Beach, CA 90807-2804            Edison, NJ 08820-2621




Mettie Wunsch                             Mewbourne Curtis                     Mexco Energy Corporation
1230 Abrahams Rd Apt 273                  PO Box 7698                          PO Box 10502
Dallas, TX 75214-4842                     Tyler, TX 75711                      Midland, TX 79702




Meyer I Bell                              Meyer Investments                    Mfield LLC
4915 Braesheather Dr                      c/o Jerry Meyer                      251 Royal Palm Way Suite 205
Houston, TX 77096                         2828 N Harwood Suite 1220            Palm Beach, FL 33480
                                          Dallas, TX 75201
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Mfn 2007 LLC                             Mg Oil Company                  MG Rental Tools Co
125 Ottawa Avenue Nw Ste 270             PO Box 1006                     PO Box 1183
Grand Rapids, MI 49503                   Rapid City, SD 57709            Kermit, TX 79745




Mg Sales Service Inc                     Mgc Equipment Company LLC       Mgc Equipment Company LLC
PO Box 853                               2500 Woodbine Drive             PO Box 866
Kermit, TX 79745                         Kilgore, TX 75662               Bellville, TX 77418-0866




Mghjr Ltd                                Mgs Land Cattle Company Ltd     Mh Mckinney Jr
c/o Kym Comer                            5810 San Bernardo Ste 101       206 East 32nd St
5949 Sherry Lane                         Laredo, TX 78041                Silver City, NM 88061
Suite 780
Dallas, TX 75225



MH Oilfield Services Inc                 Mha Petroleum Consultants LLC   Mhm Resources Lp
PO Box 861                               730 17Th Street                 PO Box 202656
Kermit, TX 79745                         Suite 410                       Dallas, TX 76006
                                         Denver, CO 80202




Mhr Resources LLC                        Mi LLC                          Mi LLC Sulfatreat
223 W Wall Street                        PO Box 200132                   PO Box 42842
Suite 600                                Dallas, TX 75320-0132           Houston, TX 77242
Midland, TX 79701




Mia Hunt                                 Mica Resources LLC              Micah B Andres
23 Lexington Ave                         Northern Tr Agent               7948 Fm 139
Mount Vernon, NY 10552                   PO Box 226270                   Joaquin, TX 75954-5648
                                         Dallas, TX 75222




Micar Transportation Inc                 Michael A Barnes                Michael A Beacom
1002 Richards Circle                     13727 Noel Road Suite 1200      c/o First Federal Bank
Palestine, TX 75803                      Dallas, TX 75240                Agoura Hills Branch 29
                                                                         5701 North Kanan Road
                                                                         Agoura Hills, CA 91301



Michael A Birch And Wife Lynda M Birch   Michael A Cash                  Michael A Feldman
12316 A N May Ave 310                    PO Box 311                      5280 Donehoo Ct
Oklahoma City, OK 73120-1944             Joaquin, TX 75954               Alpharetta, GA 30005-1643




Michael A Gibson Trust U/A Dtd 9/15/92   Michael A Lillibridge           Michael A Macmahon Jr
Michael A Gibson Trustee                 1003 Covington Ct               13807 Sea Horse Ave
PO Box 22088                             Pearland, TX 77584              Corpus Christi, TX 78418
Houston, TX 77227




Michael A Macmahon Jr Trust              Michael A Mcteague              Michael A Mikulis
Michael A Macmahon Jr Ttee               106 Woodland Terrace            2860 Sagebrush Ave
1333 Rose Drive                          St Clairsville, OH 43950        Pahrump, NV 89048
Alice, TX 78332
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Michael A Nahkunst                       Michael A OBannon Foundation   Michael A Odegard Exempt Trust
PO Box 1247                              c/o Ms Barbara Cosio           952 Echo Ln Suite 390
Dripping Springs, TX 78620               2275 East Desert Inn Road      Houston, TX 77024
                                         Las Vegas, NV 89109




Michael A Patterson Ranch Preservat Tr   Michael A Sumrall              Michael A Swint
Michael Alan Patterson Ttee              823 Fraser Street              221 E 33Rd St
Bank Ofamerica Na Agt For Ttee           Aurora, CO 80011               Texarkana, AR 71854
PO Box 840738
Dallas, TX 75284-0738



Michael A Underwood                      Michael A Verhalen             Michael A Wardell
2006 E Caulder Ave                       PO Box 2086                    Ashpoint Plantation
Des Moines, IA 50320                     Marshall, TX 75671             9167 Hwy 71 South
                                                                        Elm Grove, LA 71051




Michael A Wardell Sr                     Michael Adams                  Michael Adams
Ash Point Plantation                     2230 Ann Street                PO Box 1554
9167 Highway 71                          Houston, TX 77003              Rockport, TX 78381-1554
Elm Grove, LA 71051-8407




Michael Ainsley Colvin                   Michael Alan Bailey Jr         Michael Alan Brown
248 Trace Drive                          189 Vine Street Front          39 Haven Circle
Ruston, LA 71270                         Geneva, OH 44041               Denison, TX 75020




Michael Alan Lary                        Michael Alan Nolan             Michael Allan Macmahon
6 Stoneridge Dr                          c/o Stevens Forestry Service   1333 Rose Dr
Amarillo, TX 79124                       165 Pine Hill Road             Alice, TX 78332
                                         El Dorado, AR 71730




Michael Allen Flanagan                   Michael Allen Harper           Michael And Kristine Roberts
1015 Woodchurch Ln                       11526 Staffordale Ct           712 Rochelle Ave
Houston, TX 77073                        Cypress, TX 77433              Monroe, LA 71201




Michael And Wendy Gallard                Michael Andrew Stieren         Michael Anthony Borders
481 Harley Golden Road                   15512 Capri Ln                 1875 Country Village Blvd
Huntington, TX 75949                     Schertz, TX 78154-3569         C
                                                                        Humble, TX 77338




Michael Anthony Williams                 Michael Ard                    Michael B Camp
21739 Hardy Oak Blvd                     1301 North 3Rd                 10150 Thornwood Dr
9106                                     West Monroe, LA 71292          Shreveport, LA 71106-7628
San Antonio, TX 78258




Michael B Harrison Trust                 Michael B ONeal                Michael B Risinger
c/o Jpmorgan Chase Bnk Na Ttee           2215 Cooktown Road             31475 Longhorn Trl
Tst Minerals Section 42900 00            Ruston, LA 71270               Bulverde, TX 78163-2458
PO Box 99084
Fort Worth, TX 76199-0084
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Michael B Schmidt                        Michael B Smith                 Michael B Watkins Et Ux
401 Grant Place                          109 Johnny Dr Apt 1133          Susan Watkins
Corpus Christi, TX 78411                 Springhill, LA 71075            2947 Cr 3173
                                                                         Joaquin, TX 75954




Michael B Wester                         Michael Barron                  Michael Bayne Smith
309 Bird Drive                           Address Redacted                PO Box 885
Carthage, TX 75633                                                       Springhill, LA 71075




Michael Bennett Davis                    Michael Bernard Williams        Michael Brent Chapman
1313 Pine Court                          500 North Willowbrook Ave J 4   4128 Thompson Rd
Harlingen, TX 78550                      Compton, CA 90220               Sulphur, LA 70665-7938




Michael Brian Canterbury                 Michael Bryan Roquemore         Michael Butler
4331 Hwy 563                             151 Cr 3082                     7101 Strickland St Apt 324
Simsboro, LA 71275                       Deberry, TX 75639               Douglasville, GA 30134-7030




Michael C Beller Rev Tr                  Michael C Chalverus             Michael C Doyle Trust Dtd 7/1/13
2441 High Timbers Dr 100                 182 Mountain Brook Court        Michael C Doyle Trustee
The Woodlands, TX 77380                  Marietta, GA 30064              6022 Lido Ln
                                                                         Long Beach, CA 90803




Michael C Dunn Living Trust              Michael C Gibson                Michael C Hansen
Michael C Dunn Trustee                   10692 Clay Ansley Hwy           1072 Stoneybrook Dr
PO Box 993                               Ruston, LA 71270                Martinez, CA 94553
Boerne, TX 78006




Michael C Kaplan                         Michael C Warren                Michael Campbell Cecil
PO Box 12386                             8066 Dulciana Court             PO Box 1658
Alexandria, LA 71315                     Springfield, VA 22153           Spring, TX 77383




Michael Capel                            Michael Captain                 Michael Carl Pfluger
4911 Bridge Creek Ln                     3009 Lawndale Drive             PO Box 162064
Katy, TX 77494                           Lancaster, TX 75134             Austin, TX 78716




Michael Carl Williams                    Michael Christine Copenhaver    Michael Christopher Williams
14406 Lazy Willow Ct                     Jt Tenants                      2343 Infantry Post Rd
Missouri City, TX 77489                  PO Box 112                      Jbsa Ft Sam Houston, TX 78234-1309
                                         Marcellus, MI 49067




Michael Clamon                           Michael Clay Mills              Michael Clayton
Address Redacted                         1022 Galisteo St                2960 Champion Way Apt 1403
                                         Santa Fe, NM 87505-8858         Tustin, CA 92782
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Michael Copeland Moore                    Michael Covington And Brenda Covington   Michael D Chevalier
249 Royal Oaks                            20276 Highway 157                        11024 Coaster Ln
Huntsville, TX 77320                      Springhill, LA 71075                     Conroe, TX 77306-7148




Michael D Dillavou                        Michael D Dollins                        Michael D Erickson
4231 Westridge Ct Ne                      6126 Averill Way 108W                    3003 Market Way
Iowa City, IA 52240-7940                  Dallas, TX 75225                         Grand Junction, CO 81504-5705




Michael D Flynn                           Michael D Gollob                         Michael D Gollob Oil Co Lp
421 W 3Rd Street                          PO Box 6653                              PO Box 6653
Suite 920                                 Tyler, TX 75711                          Tyler, TX 75711
Fort Worth, TX 76102




Michael D Greenlee                        Michael D Keyes Living Trust             Michael D Lewis
c/o Michelle Shepherd                     PO Box 941251                            7868 Cr 476 S
12119 Via Porta Rosa                      Houston, TX 77094                        Henderson, TX 75654
Cypress, TX 77429




Michael D Long                            Michael D Massey                         Michael D Morgan
PO Box 1813                               5975 Kimberly Lane                       3 Sleepy Hollow
Shreveport, LA 71166-1813                 Brenham, TX 77833                        Magnolia, AR 71753




Michael D Nelson                          Michael D Shotton                        Michael D Shotton
758 Knob Hill Court                       7228 Copper Grass Court                  7228 Copper Grass Ct Ne
Argyle, TX 76226                          Albuquerque, NM 87113                    Albuquerque, NM 87113




Michael D Zavidny                         Michael Davenport                        Michael David Simpson
c/o Jp Morgan Chase Bank Na               266 Flax Hill Rd B                       1379 W Parkwestern Dr 317
PO Box 99084                              Norwalk, CT 06854-2530                   San Pedro, CA 90732
Fort Worth, TX 76199-0084




Michael David Wolfe                       Michael Davis Patton                     Michael Day
402 North Behrend Ave                     216 East Walnut Street                   Address Redacted
Farmington, NM 87401                      Number 1
                                          Dawson, IL 62520




Michael Dean Young                        Michael Dee Mckinnon                     Michael Dixon Plaschke
PO Box 2122                               PO Box 719051                            PO Box 147
Angleton, TX 77515                        San Diego, CA 92171                      Judson, TX 75660




Michael Dorian Rains                      Michael Drew Munson                      Michael Duke
6218 Jessica                              1505 Sunset Place                        Address Redacted
Corpus Christi, TX 78414                  Roswell, NM 88203
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Michael Dwayne Steddum                   Michael Dye Separate Property   Michael E Abbott
8074 Fm 839 S                            Ethel Nichols Poa               4043 Dorset Street
Henderson, TX 75654-6260                 3813 Eddy Place                 Casper, WY 82601
                                         Shreveport, LA 71107




Michael E Booth                          Michael E Dupree                Michael E Gillum
3036 Hereford Road                       PO Box 43427                    1704 Rampart Dr
Roanoke, VA 24018                        Kemp, TX 75143                  Ruston, LA 71270




Michael E Jensen                         Michael Edward Wojecki          Michael Edwin Hanson Estate
1622 Yorktown Boulevard                  201 Rampart Drive               c/o Frances Fondren
Corpus Christi, TX 78418                 Bossier City, LA 71112          115 Point Broad Oak
                                                                         Houston, TX 77056




Michael Elam                             Michael Emerson                 Michael Estes
16961 N Cr 3200                          522 Anglebluff Dr               5100 Vinnie Dell Dr
Pauls Valley, OK 73075                   Desoto, TX 75115                Chapel Hill, TN 37034-2596




Michael Estoll                           Michael Eugene Craft And        Michael Eugene Crain
522 Cr 2460                              Yvonne Strawhorne Craft H/W     234 Lapine Rd
Mineola, TX 75773                        PO Box 1271                     West Monroe, LA 71292
                                         Ruston, LA 71270




Michael Evans                            Michael Evans Ohern             Michael Evans Ohern Liv Tr
2009 Navajo Drive                        2520 Robinhood St Apt 1009      c/o Kim Cheshier Vp
Deer Park, TX 77536                      Houston, TX 77005-2558          North Dallas Bank Tr Co
                                                                         12900 Preston Rd Ste 300
                                                                         Dallas, TX 75230



Michael Everett Morris                   Michael F Daniel                Michael F Frost Family Trust
431 North Fritz Swanson Road             102 Kensington Dr               c/o Sandra A Frost Trustee
Kilgore, TX 75662                        Madison, AL 35758               301 Byron Nelson
                                                                         Unit 3
                                                                         Mcallen, TX 78503



Michael F Joseph                         Michael F Miller Estate         Michael Fancher
289 Cr 304                               Nancy Mcnee Newell Temp Admin   5170 South Franklin
Karnes City, TX 78118                    PO Box 310037                   Littleton, CO 80127
                                         Houston, TX 77231




Michael Faulkner                         Michael Fishbeck                Michael Ford
202 Fairview                             5018 Espejo Molina Rd           611 Highmoor Ave
Longview, TX 75604                       Laredo, TX 78046                Stockton, CA 95210




Michael Ford Rowe                        Michael G Brauer                Michael G Elliott
257 1/2 Kings Highway                    PO Box 17581                    637 Arden Dr
Shreveport, LA 71104                     Fort Worth, TX 76102            Encinitas, CA 92024
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Michael G Garmon                          Michael G Sanford             Michael G Sannes
31006 Squires Way                         2643 Caples Rd                1659 Hill Dr
Magnolia, TX 77354                        West Monroe, LA 71292         Los Angeles, CA 90041




Michael G Stanfill                        Michael Gidwitz               Michael Gilcrease Shaw
4210 Se Wisconsin                         208 South Lasalle St          PO Box 6826
Topeka, KS 66609                          Suite 1705                    Mckinney, TX 75071-5121
                                          Chicago, IL 60604




Michael Giles Rutherford                  Michael Gilliam               Michael Glen Lyons
Separate Property B                       10111 Edward Ave              PO Box 943
8 Greenway Plaza                          Bethesda, MD 20814            Crosby, TX 77532
Suite 1400
Houston, TX 77046



Michael Glen Lyons 2006 Trust             Michael Gregory Thomas        Michael Griffin Consulting
Michael Glen Lyons Trustee                PO Box 5                      5601 Troyer Drive
PO Box 943                                Simsboro, LA 71275            Cheyenne, WY 82007
Crosby, TX 77532




Michael Grimes And Wife Jerrilyn Grimes   Michael H Frizzell            Michael H Gibbs Kay
5306 Creekside Ct                         5433 County Road 29           305 Eagle Mountain Dr
Plano, TX 75094                           Galion, OH 44833              Lake Dallas, TX 75065




Michael H Hoffman                         Michael H Lowe                Michael H Waidley Jr
3414 Chapel Sq                            2014 Domino Rd                2350 Avalon Street
Spring, TX 77388                          Quitman, LA 71268             Beaumont, TX 77707




Michael H Young                           Michael Hale Decker Special   Michael Hardy
15913 Creek Hill Lane                     Needs Trust                   686 County Road 3801
Cypress, TX 77429                         2731 Robinwood Lane           Joaquin, TX 75954
                                          Denton, TX 76209




Michael Harrison                          Michael Harton                Michael Helms
PO Box 730205                             Box 415                       PO Box 711318
Ormond Beach, FL 32173-0205               Tatum, NM 88267               Mountain View, HI 96771




Michael Henry Weidler                     Michael Hopper                Michael Hyland
1122 Chimneyrock Trail                    Address Redacted              PO Box 3082
Garland, TX 75043                                                       Orangevale, CA 95662




Michael I Fauss                           Michael I Rosen Assoc Inc     Michael I Standifer
1488 Laguna Road                          512 River St                  217 Della Road
Santa Rosa, CA 95401                      Minneapolis, MN 55401         Dubach, LA 71235
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Michael J Broussard Land Services Inc   Michael J Byrne                        Michael J Cebuhar
PO Box 53633                            2505 Keats Court                       Individual Retirement Account
Lafayette, LA 70505-3633                Brookfield, WI 53045                   Rbc Capital Markets Llc Cust
                                                                               16103 Clearlake Ave
                                                                               Bradenton, FL 34202-2130



Michael J Dzik                          Michael J Jane M Sullivan              Michael J Leblanc Sr
9945 Springborough Dr                   1124 S Durbin St                       PO Box 42
Rockford, IL 61107                      Casper, WY 82601                       Gilmer, TX 75644-0042




Michael J Liles Valerie B Liles         Michael J Mattalino                    Michael J Moncrief 2008 Trust A
119 Holly Ridge                         PO Box 987                             777 Taylor St Ste 1030
Haughton, LA 71034                      Fulshear, TX 77441                     Fort Worth, TX 76102




Michael J Moncrief GrantorS Trust       Michael J Moncrief Trust No 3          Michael J Orosky
777 Taylor Street Suite 1030            Jerry Dan Goodwin Succ Ttee            4928 Harwick Pl
Fort Worth, TX 76102                    Fort Worth Club Tower                  San Diego, CA 92130-3716
                                        777 Taylor Street Suite 1030
                                        Fort Worth, TX 76102



Michael J ORosky Pmb 645                Michael J Spillane                     Michael Jackson
3830 Valley Centre Dr Ste 705           8 Wayne Lane                           2055 43Rd Street
San Diego, CA 92130-3307                Meriden, CT 06450                      Apt B
                                                                               Astoria, NY 11105




Michael Jacobs Ginger C Jacobs          Michael James Cone Separate Property   Michael James Corie Et Ux
7115 Debbe Dr                           27912 Dixon Creek Ln                   Joy Sutton Corie
Dallas, TX 75252-6121                   Easton, MD 21601                       1411 Mitcham Orchard Road
                                                                               Ruston, LA 71270




Michael James Hall                      Michael James Wills                    Michael Joe Jarrell
607 Bayliss Court                       2826 Quinton St                        614 County Ln
Pensacola, FL 325053102                 Shreveport, LA 71109                   Raymore, MO 64083




Michael Joe Strong                      Michael Joseph Fitzgerald              Michael Joseph Grillot And
1424 Nantucket Dr                       Jacalyn B Fitzgerald                   Adrian Hope Grillot
Richardson, TX 75080                    5581 Buena Vista Dr                    196 Mcbride St
                                        Frisco, TX 75034                       Ruston, LA 71270




Michael Joseph Mcdaniel                 Michael Joseph Moore                   Michael Kania
Shirley Mae Morris Mcdaniel             c/o Office Of Texas State              525 William Penn Pl
127 Morris Road                         Unclaimed Property Division            Pittsburgh, PA 15259
Simsboro, LA 71275                      PO Box 12608 Capitol Station
                                        Austin, TX 78711



Michael Karpoff                         Michael Kelly                          Michael Kevin Murphy
Patricia Rothbardt Jt Ten               2057 East Virgo Place                  1109 Lazy Trl
32 Gramercy Park S                      Chandler, AZ 85249                     New Braunfels, TX 78130-5929
Apt 14E
New York, NY 10003-1713
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Michael Key                             Michael Korotkoff Estate       Michael L Bruton
119 E Ulex                              Cindy Moroni Executrix         15 Guerney Dr
Mcallen, TX 78504                       79062 Delta St                 Hyde Park, NY 12538
                                        Bermuda Dunes, CA 92203




Michael L Coburn As Ind Exec Of         Michael L Duckworth            Michael L Dugger
Estate Of Lyra Mae Coburn               2126 East George Richey        70 Magnolia Gardens Dr
Of The Est Of Lyra Mae Coburn           Longview, TX 75604             Covington, LA 70433
422 Mallard Point
Livingston, TX 77351



Michael L Dunn                          Michael L Lyons                Michael L Mcfadden
681 Hamby Rd                            36607 Eddings Dr               30111 Saddleridge Dr
Longview, TX 756056908                  Madera, CA 93636               San Juan Capistrano, CA 92675




Michael L Metcalf                       Michael L Page                 Michael L Pamela Best Walpole
Acct 17649420                           PO Box 716                     290 Loblolly Ln
1111 Cr 023                             Carthage, TX 75633             Choudrant, LA 71227-4804
Jasper, TX 75951




Michael L Sturm                         Michael L Tenison              Michael L Towns Kathy Tipton Towns
2595 Bradley Dr                         15000 Digger Dr                112 Northgate Dr
Ashland, KY 41102                       San Antonio, TX 78247          Arcadia, LA 71001




Michael Lamar Covington                 Michael Lamar Gardner          Michael Lane Doss
20276 Highway 157                       10423 Wade Dr                  1205 Roselawn Ave
Springhill, LA 71075                    Denham Springs, LA 70726       Monroe, LA 71201




Michael Lane Mcadams And                Michael Lane Reynolds And      Michael Lane Tinsley
Pamela Dugan Mcadams                    Dianne Roe Reynolds            811 Liberty Springs Way
111 Katie Ln                            517 Mitcham Orchard Rd         Spring, TX 77373
Ruston, LA 71270                        Ruston, LA 71270




Michael Lee Baldwin                     Michael Lee Cuellar            Michael Lee Gowanlock
1023 County Road 1490                   Hc 1 Box 27                    8192 Us Hwy 80 E
Center, TX 75935                        Freer, TX 78357                Marshall, TX 75672




Michael Lee Heckel                      Michael Lee Klein              Michael Lee Walpole
10130 Hwy 79                            500 W Texas Ste 1230           290 Loblolly Ln
Haynesville, LA 71038                   Midland, TX 79701-4271         Choudrant, LA 71227-4804




Michael Lenard Garrett Sr And           Michael Lenord Perry           Michael Lloyd Trusler
Brenda Sue Diffey Garrett H/W           8955 Broadway 10131            6337 Pueblo Pass
1508 Nat Street                         Houston, TX 77061              San Angelo, TX 76901-4919
West Monroe, LA 71292
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Michael Lockridge                       Michael Lodes                   Michael Lopez
12941 Greens Bayou St                   Individual Retirement Account   16709 Alginet Place
Houston, TX 77015                       Rbc Capital Markets Llc Cust    Encino, CA 91436
                                        1690 Maher Blvd
                                        Garnet Valley, PA 19060-2038



Michael Louis Frossard                  Michael Lynn Ford               Michael Lynn Jordan
PO Box 6528                             1707 West 147Th Street          245 Fm 3039
Tyler, TX 757116528                     Apartment 3                     Combine, TX 75159
                                        Gardena, CA 90247




Michael Lynn Langford                   Michael M Castine               Michael M Ellis
PO Box 43                               1775 Pleier Dr                  5100 San Felipe 172 E
Gary, TX 75643                          Colorado Springs, CO 80921      Houston, TX 77056-3686




Michael Macaulay                        Michael Maloney                 Michael Mann
Jay Edward Macaulay Poa                 5136 Fm 225 South               2741 Maple Tree Rd
6839 Prestonshire Ln                    Henderson, TX 75654             New Braunfels, TX 78130-6841
Dallas, TX 75225




Michael Mcbeth                          Michael Melvin Thetford         Michael Milberry
103 Mcbeth Road                         PO Box 128                      2312 Misty Morning Ln
Plain Dealing, LA 71064                 Mexia, TX 76667                 Temple, TX 76502




Michael Munsey                          Michael Neal Sims               Michael Nelson
59 South Bristol Oak Circle             1623 Wedgewood                  4507 Clawson Road
Spring, TX 77382                        Odessa, TX 79761                Austin, TX 78745




Michael O Fox And Lisa A Fox            Michael OBrien                  Michael Owen
8987 Fm 1997 N                          14912 Camino Rio                10600 Medinah Greens Drive
Marshall, TX 75670                      Helotes, TX 78023               Austin, TX 78717




Michael P And Cathy L Walters           Michael P Frasco                Michael P Martin
PO Box 189                              1206 Hilltop Rd                 PO Box 3151
Joaquin, TX 75954                       Mahwah, NJ 07430-2289           Cheyenne, WY 82003




Michael Page Murphy                     Michael Paige Murphy            Michael Patrick Mcnulty
Mary Nell Crews Murphy                  3521 Janice Drive               20 Tallwood Ln
3521 Janice Drive                       Ruston, LA 71270                Longview, TX 75605
Ruston, LA 71270




Michael Patrick Moran Trust             Michael Patrick Morton          Michael Paul Colvin
Under Agmt Dated 3 7 97                 Address Redacted                325 Court St
c/o Catherine W Moran Trustee                                           Baton Rouge, LA 70810
PO Box 1475
Mansfield, TX 76063
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 992 of 1524

Michael Paul Schaefer                    Michael Pellegrino                         Michael Perritt Rabb
1705 Firwood Dr                          500 Stanton Christiana Rd                  163 Woodstone St
Pasadena, TX 77502                       Cor Actions 3rd Floor                      Ruston, LA 71270
                                         Newark, DE 19713-2107




Michael Peter Morrone                    Michael Phillips Trust 5                   Michael Phillips Trust 5
Shirley Padgett Morrone                  Bank Of America Na Trustee                 Bank Of America Na Trustee
Gibsland Bank Trust                      PO Box 840738                              PO Box 832407
13962 Hwy 151                            Dallas, TX 75284-0738                      Dallas, TX 75283-2407
Arcadia, LA 71001



Michael Pierce                           Michael Quinnett                           Michael R Baucum
220 Union 37                             3013 Highland Ridge Dr                     PO Box 413
El Dorado, AR 71730                      Norman, OK 73069                           Cypress, TX 77410-0413




Michael R Bell Community Trust Bank      Michael R Boland                           Michael R Brower And Darla J Brower
13910 Hwy 151                            PO Box 621                                 228 Jerry Garlington Road
Ardacia, LA 71001                        Casper, WY 82602                           Monroe, LA 71203




Michael R Colwell                        Michael R Crockett                         Michael R Fulton
5027 Country Club Road E                 368 Baskin Dr Sw                           272 Jill Loop
Longview, TX 75602                       Marietta, GA 30064                         Ruston, LA 71270




Michael R Hall                           Michael R Halpenny William O Halpenny Ii   Michael R Martinax
Apt 2                                    Karen S Edwards                            4705 Green River Ct
3906 Nw Topeka                           c/o Michael R Halpenny                     Ft Worth, TX 76103-1003
Topeka, KS 66617                         470 E High Street
                                         Bellefonte, PA 16823



Michael R Murphy                         Michael R Ritchie                          Michael R Walker
376 Morning Dove Ln                      8723 Hardeman Ct                           1315 New Natchitoches Rd Lot 68
Lorena, TX 76655                         Houston, TX 77064                          West Monroe, LA 71292-2186




Michael Ray Brightwell                   Michael Ray Ellis                          Michael Ray Haden
3358 Fm 225 South                        1701 Corney Lake Road                      1024 Destrehan Ct
Henderson, TX 75654                      Bernice, LA 71222                          Burleson, TX 76028




Michael Raymond Hinton                   Michael Reitzell                           Michael Richard Farris
810 Newland Drive                        3879 Cr 33900                              2415 Rosillos Peak Dr
Waco, TX 76706                           Powderly, TX 75473                         Spring, TX 77386




Michael Romney Weber Separate Property   Michael Rudd Dubose                        Michael Ryan
PO Box 66948                             1435 Neuman St                             Address Redacted
St Pete Beach, FL 33736                  Gonzales, TX 78629
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Michael Ryan Madden Charlette           Michael S Antee Brenda Crawford Antee   Michael S Block
Mcguire Madden                          16566 Highway 151                       13225 E Placita Las Avenas
PO Box 697                              Arcadia, LA 71001                       Tucson, AZ 85749
Ruston, LA 71273




Michael S Browning                      Michael S Cole                          Michael S Coyle Attorney At Law
6301 Windhaven Parkway                  1025 Southview Trail                    Iolta Client Trust Account
Apt 710                                 Southlake, TX 76092                     210 West Florida Ave
Plano, TX 75093                                                                 Ruston, LA 71270




Michael S Coyle Carol Sue Coyle         Michael S Doherty                       Michael S Dymond
7570 Highway 822                        PO Box 93718                            7258 S Xenia Cir C
Dubach, LA 71235                        Southlake, TX 76092                     Englewood, CO 80122




Michael S Herrin                        Michael S Meinert LLC                   Michael S Michelle L Morton
Address Redacted                        Michael S Meinert Member                17243 Fm Rd 2964
                                        Betty Ann Meinert Member                Whitehouse, TX 75791
                                        2321 Calion Highway
                                        El Dorado, AR 71730



Michael S Rogers                        Michael S Suzanna Burris                Michael Samford
8256 Farm Market Rd 2685                1399 Bear Creek Rd                      7118 Parsley Hawthorne
Gilmer, TX 75645                        Quitman, LA 71268                       Houston, TX 77059




Michael Samuel Spigner                  Michael Sanford Land                    Michael Scianni
1526 Divinity Street                    Stephanie Anne Land                     Address Redacted
Las Vegas, NV 89122                     4803 Elm Street
                                        Bellaire, TX 77401




Michael Scott Williams                  Michael Scott Woodson                   Michael Sean Harris
19526 Gran Roble                        14285 Navajo St                         164 Pr 8481
San Antonio, TX 782589038               Westminister, CO 80023                  Carthage, TX 75633




Michael Sean Tierney                    Michael Shane Burris                    Michael Shane Nolan
4 Morning Sun Avenue                    1399 Bear Creek Rd                      1007 Wooden Gate Dr
Mill Valley, CA 94941                   Quitman, LA 71268                       Franklin, TN 37064




Michael Shayne Mcgee                    Michael Shean Washington                Michael Smith And Judith Smith
5722 Shreveport Blanchard Hwy           4011 Featherstone Dr                    333 Cr 106
Shreveport, LA 71107-8668               Dallas, TX 75216                        Carthage, TX 75633




Michael Standifer                       Michael Stange                          Michael Stefan Wisda
217 Della Road                          205 Cross Street                        48957 Forest Springs
Dubach, LA 71235                        Bristol, CT 06010                       Aguanga, CA 92536
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Michael Stein Baughman Jr                 Michael Steven Ballard                Michael Stuart Bounds Et Ux
PO Box 796                                3209 Camarie                          Ann Willett Bounds
Farmerville, LA 71241                     Midland, TX 79705                     7010 Forest Oak Dr
                                                                                Texarkana, AR 71854




Michael Stuart Bounds Separate Property   Michael T Green Jr Jennifer K Green   Michael Terrell
7010 Forest Oak Park Dr                   2705 Foxxwood Dr                      2410 Oakcrest Dr
Texarkana, AR 71854                       Ruston, LA 71270-2508                 Garland, TX 75044




Michael Thomas Murphy                     Michael Thrash                        Michael Trice
916 Se 12Th Terrace                       805 Rainer Court                      1891 Willow Road
Lees Summit, MO 640812148                 Allen, TX 75002                       Hallsvalle, TX 75650




Michael Turner Cline                      Michael Tyrrell                       Michael V Jordan
980 Palm Ave 403                          3150 N Lake Shore Drive               Address Redacted
West Hollywood, CA 900696816              Apartment 24A
                                          Chicago, IL 60657




Michael V Penland                         Michael V Penland Mary Anne Penland   Michael Victor Hardy
4605 Sandy Creek Lane                     4605 Sandy Creek Ln                   1629 Churchill Ln
Tampa, FL 33624                           Tampa, FL 33624                       Mansfield, TX 76063




Michael W Baxter                          Michael W Brown                       Michael W Davis
199 Jill Loop                             PO Box 3642                           234 Henry Everitt Rd
Ruston, LA 71270                          Midland, TX 79702                     Marshall, TX 75672




Michael W Fincher                         Michael W Gilfoil Trust               Michael W Hendricks
6518 Whitehurst Drive                     Jp Morgan Chase Bank Trustee          647 Cotter Dr
Longview, TX 75602                        P O Drawer 99084                      Spring, TX 77373
                                          Fort Worth, TX 76199-0084




Michael W Horton                          Michael W Jones                       Michael W Snell
101 Lost Forest                           27102 Kelsey Woods Ct                 PO Box 1263
Gunbarrell, TX 75156                      Cypress, TX 77433                     Longview, TX 75606




Michael W Teal                            Michael W Yates                       Michael Warren
PO Box 146                                411 Delaware St                       31 Walpole St
Tilden, TX 78072                          Shreveport, LA 71106                  Dover, MA 02030




Michael Wayne Graham                      Michael Wayne Harrison                Michael Wayne Kindred
8655 Grand View Dr                        2430 Cork Cir                         Et Ux Rita P Kindred
Baton Rouge, LA 70809                     Pearland, TX 77581                    1302 Cr 432
                                                                                Joaquin, TX 75954
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Michael Wayne Waldron Sr                 Michael Wayne Wilson            Michael White
105 Crestwood Dr                         2320 S Quebec St 101            2301 Cr 3366
Haughton, LA 71037                       Denver, CO 80231                Tenaha, TX 75974




Michael Whitmore Jr                      Michael Wysinger                Michaelle Elledge
6935 Walrond Avenue                      249 Walnut Creek Rd             120 Bella Terra Dr
Kansas City, MO 64132                    Simsboro, LA 71275-3221         Longview, TX 75605-8368




Michaels Santana Trucking Co             Michal Raizen                   Miche Londot Trust
589 E Harrisburg Street                  PO Box 50004                    Deborah Burton Trustee
Odessa, TX 79766                         Austin, TX 78763                761 Bocage Lane
                                                                         Mandeville, LA 70471




Micheal B Collins                        Micheal Bradley Martin And      Micheal Smith
5000 Burnett Rd                          Charmyn Bunting Martin HW       Address Redacted
Austin, TX 78756                         218 Lincoln Estates
                                         Dubach, LA 71235




Micheal Turner Reeves                    Michel Huey Hall                Michel Joe Hill
175 Sunnybrook Dr                        PO Box 72                       3124 Neighbers Lane
Longview, TX 75605-7653                  Logansport, LA 71049            Del City, OK 73115




Michele Ash                              Michele E Wamsley Mcmullen      Michele Harris
PO Box 2102                              Individually As Ttee Of         302 Cana Circle
Cypress, TX 774102102                    Michele Elaine W Mcmullen Tr    Nashville, TN 37205-3579
                                         PO Box 679
                                         Huntington, TX 75949



Michele Jeanine Sealey Jeter             Michele Leigh Morley            Michele Makel
4801 87Th Street                         10533 Ashfield St 10B           1635 Tremont Dr 233
Lubbock, TX 79423                        Highlands Ranch, CO 80126       Santa Cruz, CA 95062




Michele Mulhearn Crow                    Michele Slung                   Michell Marie Gearke
2107 Edgewood Drive                      340 Goat Hill Road              4070 N Hwy 67
Monroe, LA 71201                         Woodstock, NY 12498             Sedalia, CO 80135




Michelle B Bounds                        Michelle Barnes                 Michelle Baskerville
4313 Augusta                             4008 Oak Forest Dr Apt E        PO Box 661462
Garland, TX 75041                        Corpus Christi, TX 78413-2055   Birmingham, AL 35266




Michelle Box Grist                       Michelle D Shepherd             Michelle D Young
5200 Kelley Hwy                          12119 Via Porta Rosa            5061 Robinsrock Way
Ft Smith, AR 72904                       Cypress, TX 77429               Indianapolis, IN 46268
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Michelle E Ates And                      Michelle F King                 Michelle Ford
Husband Kevin B Ates                     1627 Hueco Mountain Trail       901 South Bond St 6th Floor
1908 Sledge Street                       Round Rock, TX 78664            Baltimore, MD 21231
Marshall, TX 75670




Michelle J Southerland                   Michelle Jessica Noble          Michelle Jones Landry
5755 S St Francis                        3828 Summer Ln                  212 Deer Creek Rd
Wichita, KS 67216                        Huntsville, TX 773408946        Ruston, LA 71270-1655




Michelle Kuecker Whitten                 Michelle Lacy Parker            Michelle Lee
1553 Snowbird Lane                       8415 Kings Oak Dr               3919 Laurel Rock Drive
OFallon, MO 63366                        Damon, TX 77430-9350            Kingwood, TX 77345




Michelle Macmahon                        Michelle Miles                  Michelle OHara
16508 Jadestone Dr                       1801 66Th St A                  8 Lookout Ct
Leander, TX 78641                        Lubbock, TX 79412               Longview, TX 75605




Michelle Paul                            Michelle Potter                 Michelle Rabe Meyer
5900 Chimney Wood Circle                 5348 Old Jacksonville Hwy       10102 Samantha Dr
Fort Worth, TX 76112                     Apt 1516                        Frisco, TX 75035-5726
                                         Tyler, TX 75703




Michelle Rhodes                          Michelle S Dugas                Michelle Sales
PO Box 459                               30 Cathy Ln                     PO Box 223
Eustace, TX 75124                        Luling, LA 70070                Crockett, TX 75835




Michelle Story                           Michelle Vaughn                 Michigan Dept Of Treasury
214 Halbert St                           149 Park Way                    Unclaimed Property Division
Richwood, TX 77531                       Montgomery, TX 77356            PO Box 30756
                                                                         Lansing, MI 48909




Michigan Dept Of Treasury                Michl Gauge Sales Service       Mickel T Maxwell
Unclaimed Property Division              141 E Harvard Blvd              PO Box 5934
7285 Parsons Dr                          Santa Paula, CA 93060           Longview, TX 75608
Dimondale, MI 48821




Mickey Armstrong                         Mickey Browning                 Mickey Chance
2601 E Rim Club Drive                    544 Susan Circle                267 Weeping Oak Dr
Payson, AZ 85541                         Carthage, TX 75633              Shreveport, LA 71106-7683




Mickey D Smith                           Mickey Gene Turner Estate       Mickey H Sumrall Separate Property
PO Box 1418                              Quincy Turner                   2500 Franklin Ave
Kilgore, TX 75663                        Stacey Steward Indpnt Co Admn   Ruston, LA 71270
                                         3311 N County Rd 2000
                                         Lubbock, TX 79415
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Mickey Melton Memorial Golf Tournament   Mickey Norris Hollis             Mickey R Revis
Alpine Presbyterian Church               1030 Norris Road                 2118 Bristol Breeze Lane
135 Hiett Lane                           Choudrant, LA 71227              League City, TX 77573
Longview, TX 75605




Mickey Vargas                            Mickey Waller Jordan             Micky Rogers
3726 B 53Rd Street                       440 Belmont Bay Drive 104        PO Box 143
Lubbock, TX 79413                        Woodbridge, VA 22191             Collinsville, TX 76233




Micotan Software Company Ltd             Micro Motion Inc                 Micro Plastics Inc
210 1011 1 Street Sw                     22737 Network Place              531 Railroad Ave
Calgary, AB T2R 1J2                      Chicago, IL 60673-1227           Rifle, CO 81601
Canada




Microage                                 Microbial Energy Inc             Microdesk Inc
PO Box 2941                              PO Box 1346                      10 Tara Blvd Suite 420
Phoenix, AZ 85062-2941                   Aztec, NM 87410                  Nashua, NH 03062




Microsoft Corporation                    Microsoft Licensing Gp           Mid Con Energy Partners Lp
PO Box 847255                            1950 N Stemmons Freeway          2431 E 61st Street Suite 850
Dallas, TX 75284-7255                    Suite 5010                       Tulsa, OK 74136
                                         Lockbox 842467
                                         Dallas, TX 75207



Mid Mich Minerals Lp                     Mid Tex Anchors                  Mid Tex Anchors Dba Mitlar Lp
c/o Cadell Liedtke                       PO Box 1191                      Mitchell James
PO Box 1389                              Midland, TX 79702                2824 Auburn
Midland, TX 79702                                                         Midland, TX 79705




Mid West Truck                           Midcom Data Technologies         Midcon Compression LLC
801 N Main St Ste Q                      33493 W 14 Mile Road Ste 150     PO Box18881
Andrews, TX 79714                        Farmington Hills, MI 48331       Oklahoma City, OK 73154




Middlesex Savings Bank                   Middleton Energy Ltd             Middlewell Investments LLC
6 Main Street                            1520 Dobbins Rd                  PO Box 2231
Natick, MA 01760                         Corsicana, TX 75110              Dumas, TX 79029




Midfirst Bank                            Midflorida Credit Union          Midland Aog Partners Ltd
501 NW Grand Blvd                        PO Box 8008                      Po Box 793
Oklahoma City, OK 73118                  Lakeland, FL 33802-8008          Midland, TX 79702




Midland Central Appraisal Dist           Midland College Foundation Inc   Midland Map Company LLC
4631 Andrews Highway                     3600 N Garfield St               PO Box 1229
PO Box 908002                            Midland, TX 79705                Midland, TX 79702
Midland, TX 79708-0002
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Midland Pipe Equipment Inc                 Midland Safety Health Sales       Midland Trust
PO Box 8715                                PO Box 60814                      Stephen J Flanagan Trustee
Midland, TX 79708-8715                     Midland, TX 79711                 PO Box 12208
                                                                             Dallas, TX 75225




Midroc Operating Company                   Midsouth Bank                     Midtex Royalty Lp
PO Box 191407                              PO Box 3745                       PO Box 50174
Dallas, TX 75219                           Lafayette, LA 70502               Midland, TX 797100174




Midway Oilfield Constructors Inc           Midwest Communications            Midwest Energy Association
PO Box 245                                 7100 Broadway 5P                  7825 Telegraph Rd
Midway, TX 75852                           Denver, CO 80221                  Minneapolis, MN 55438-1133




Midwestern Mud Service                     Midwestern Mud Service            Mif LLC
Brook Ratzlaff                             PO Box 690                        PO Box 6368
811 Sixth Street Suit 130                  Wichita Falls, TX 76307           Austin, TX 78762
Wichita Falls, TX 76301




Mignon H Bond                              Mignon Marrow Toledo Trustee Of   Mignon Patton Lasseter
101 Rivalto Circle 4                       The Mignon Marow Toledo           10432 Goodwood Blvd
Lakeway, TX 78734                          Separate Property Trust           Baton Rouge, LA 70815
                                           2766 Dunleer Place
                                           Los Angeles, CA 90064



Mignon R Pearson                           Mignon Toledo                     Mika Petroleum LLC
PO Box 1461                                2766 Dunleer Place                PO Box 600490
Midland, TX 79702                          Los Angeles, CA 90049             Dallas, TX 75360-0490




Mike Adam Armstrong                        Mike Bolt                         Mike Brenner Inc
PO Box 924                                 8826 Fm 2685                      5309 County Road 7350
Dickinson, TX 77539                        Gilmer, TX 756452772              Lubbock, TX 79424




Mike Byerley                               Mike Capps                        Mike Chambers
3202 Manioca Rd                            2693 Fm 2517                      708 Waco Street
Lubbock, TX 79403                          Carthage, TX 75633                Dayton, TX 77535




Mike Coleman Osborne Jr                    Mike Collier                      Mike E Nolte Inc
8815 Vinkins Street                        PO Box 29                         PO Box 341
Houston, TX 77071                          Longview, TX 75606                Longview, TX 75606




Mike Eliot Nolte                           Mike Grammar                      Mike J Mcleroy
PO Box 341                                 PO Box 63                         PO Box 40031
Longview, TX 75606                         Lamesa, TX 79331                  Tucson, AZ 85717
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Mike Jordan Company LLC                   Mike Mason                            Mike Maxwell Trustee Of The
6305 South Cliff Drive                    2809 Fm 10                            Randall Blake Cammack Trust
Fort Smith, AR 72903                      Carthage, TX 75633                    PO Box 1588
                                                                                Longview, TX 75606




Mike Mccrary                              Mike Mcgee                            Mike Mckinney
440 Ancord 415                            5722 Shreveport Blanchard Hwy         PO Box 679
Palestine, TX 75803                       Shreveport, LA 71107-8668             Perry, FL 32348




Mike Nail                                 Mike Oil Company                      Mike Or Kristi Winnett
1913 Pinehurst Ln 7104                    PO Box 966                            PO Box 1644
Mesquite, TX 75150                        Natchez, MS 39121                     Colbert, OK 74733-1644




Mike R Matthews                           Mike Richards                         Mike Ruehle
9 Chambliss Rd                            105 Bobbie St                         Address Redacted
Bay City, TX 77414                        Bossier City, LA 71112




Mike Simms                                Mike Washington Oilfield              Mike Weir
351 County Rd 2620                        Contract Services LLC                 10205 Liberty
Mineola, TX 75773                         PO Box 54                             Aubrey, TX 76227
                                          Springhill, LA 71075




Mike Womack Inc                           Mikel D Tucker Shondalyn Kay Tucker   Mikel Wayne Auttonberry
PO Box 1040                               16079 Hwy 151                         9581 Hwy 34
Sundown, TX 79372-1040                    Arcadia, LA 71001                     Eros, LA 71238




MikeS Computer Specialists                Milan L Holt Marcia A Holt Jt         Milan R Steube
6831 La Jolla Dr                          7362 Windgate Dr                      8 Rimani Drive
Riverside, CA 92504                       Jenison, MI 49428                     Mission Viejo, CA 92692




Milburn Chaney Tax Assessor               Milburn Investments LLC               Mildred Allen Barnes Sep Prop
125 N Praireville 103                     PO Box 141                            2313 Sw 9Th Terrace
Athens, TX 75751                          Midland, TX 79702                     LeeS Summitt, MO 64081




Mildred Allen Barnes Usufruct             Mildred Anita Lephiew Na              Mildred Ann Burns
2313 Sw 9Th Terrace                       Anita L Dennington Jointly            118 Audubon Road
LeeS Summitt, MO 64081                    Lephiew Gin Co                        Shelbyville, TN 371604602
                                          C/O Mr R H Dennington
                                          Dermott, AR 71638



Mildred B Scroggs                         Mildred Baughn Or                     Mildred Beavers Jones
1800 Bittersweet                          Texas State Treasury Dept             PO Box 454
Ruston, LA 71270                          Unclaimed Property Division           Gladewater, TX 75647-0454
                                          PO Box 12019
                                          Austin, TX 78711-2019
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Mildred Bouma Hooper                  Mildred Brim Beal               Mildred Brm Robinson
195 Timberline Rd                     3691 3Rd Ave                    4154 Marlton Ave B
Stonewall, LA 71078                   Los Angeles, CA 90018           Los Angeles, CA 90008




Mildred C Grayson                     Mildred C Mcclatchey            Mildred Cureton
1707 East Broadway Ave                2004 Cedarwood Cove             2314 Trail River Dr
Ruston, LA 71270                      Bryant, AR 72022                Kingwood, TX 77345




Mildred Daniel                        Mildred Ellen T Vannoy          Mildred Evans
451 N Washington                      11748 Us Hwy 190 E              Felton C Evans Poa
El Dorado, AR 71730                   Livingston, TX 77351            PO Box 451
                                                                      Grambling, LA 71245




Mildred Evelyn Kyle                   Mildred F May                   Mildred Ford Britton
204 Timberlane Dr                     1508 Bittersweet Ave            Rt 1 Box 780
Carthage, TX 75633                    Ruston, LA 71270                Calhoun, LA 71225




Mildred G Bowers                      Mildred Gardner Sanger Trust    Mildred Gregory Graham
Rt 1 Box 82                           1550 S Syracuse St              1375 Rush Creek Road
Fort Stockton, TX 79735               Denver, CO 80231                Hickman, KY 42050




Mildred Gustin                        Mildred H Ax                    Mildred Hardin Corbett Trust For
1450 North Major 1305                 1318 E Canal Dr 108             Children Of William Corbet
Beaumont, TX 77706                    Turlock, CA 95380               4400 Hwy 569
                                                                      Ferriday, LA 71334




Mildred Henderson                     Mildred Hill                    Mildred Holeman
5005 West Bradley Road                2311 China Grove                Trustee Of Billie J Holeman Family Trust
Apartment 218                         Vicksburg, MS 39180             4001 N Shepherd Dr Ste 112
Brown Deer, WI 53223                                                  Houston, TX 77018




Mildred Irene Chapman                 Mildred Jackson                 Mildred Jeanette Casparis
104 Dianne St                         752 Via Wanda St                2200 Farnswood Circle
West Monroe, LA 71292                 Long Beach, CA 90805            Austin, TX 78704




Mildred Johnson Ellison               Mildred Juanita Mason Moses     Mildred K Garnett
21 Running Fox Road                   1018 Eleanor Drive              3834 E Everglade Ave
Columbia, SC 29223                    Alexandria, LA 71302            Odessa, TX 79762




Mildred Kinnard                       Mildred L Allen                 Mildred Lajean Sturman
12 Highland Ave                       505 Schmit Lane                 PO Box 330160
Daly City, CA 94015                   Metamora, IL 61548              Fort Worth, TX 76163
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Mildred Lorraine Majors                 Mildred M Baleja                      Mildred M Douglas
3121 W Tucana                           12917 Ne 131st Street                 1180 Corporate Way Apt 235
Tucson, AZ 85745                        Kirkland, WA 980347909                Sacramento, CA 95831-3879




Mildred Mae Griffen Gillespie           Mildred Maurine Martin Living Trust   Mildred N Tharpe
1416 Detroit Street                     205 Iverness Drive                    3711 Toledo Ct
El Dorado, AR 71730                     Trophy Club, TX 76262                 Newbury Park, CA 91320




Mildred Orwen                           Mildred P York                        Mildred Rebecca Ladner
535 Hawthorne                           1445 Avenue B                         11732 Firetower Rd
Fruita, CO 81521                        Graham, TX 76450                      Pass Christian, MS 39571




Mildred S Culbertson                    Mildred Sampson Holman                Mildred Scott Lee
315 8Th Ave N Apt 6                     PO Box 492850                         3915 Richmond Ave
Buhl, ID 83316-1132                     Sacramento, CA 94250                  Shreveport, LA 71106




Mildred Shull                           Mildred Soape Mcmichael               Mildred Specketer
1100 Louisiana St                       Charles L Mcmichael Aif               620 E Main
Center, TX 75935                        3273 Cr 1132                          Havana, IL 62644
                                        Linden, TX 75563




Mildred Sue Barmore Cook                Mildred Taylor                        Mildred Virginia Gray
11035 Seville Quarters                  812 Desoto Drive                      720 S Wellington Road
Shreveport, LA 71106                    Desoto, TX 75115                      Homewood, AL 35209




Mildred W Bower                         Mildred Wilson Parker                 Mildred Woodard Littleton
397 S Fuller Rd                         1330 South Ash                        920 Bonita Street
Longview, TX 75605-5855                 Wichita, KS 67211                     Ruston, LA 71270




Mildu LLC                               Miles Jeb S                           Miles Patricia A
777 Fairway Dr 213                      Address Redacted                      Address Redacted
Coppell, TX 75019




Miles B Bennett                         Miles Eddie Joe                       Miles Fam Wy Mnrl Tst Own
111 Bonvillian Rd                       PO Box 303                            P Miles Jr And Madelyn L Miles
Broussard, LA 70518                     Anton, TX 79313                       13571 China Berry Way
                                                                              Fort Meyers, FL 33908




Miles Family Tr                         Miles Family Wyoming Mineral Trust    Miles Forester Caraway
Honora Ann Bradley Redfearn             Madelyn L Miles Trustee               2915 Risinger Dr
Harr A Bradley Co Ttees                 13571 China Berry Way                 Shreveport, LA 71119
10700 Redfearn Rd                       Ft Myers, FL 33908
Aubrey, TX 76227
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Miles Londot Trust                     Miles Swenson And Wife Linda Swenson    Miles T Crawford Jr
Tangie Londot Trustee                  1905 Cr 3168 W                          13119 Fox Bow Dr
3741 Sue Ker Drive                     Mt Enterprise, TX 756813033             Upper Marlboro, MD 20774-8642
Harvey, LA 70058




Milestone Energy Corp                  Milestone Energy Corp                   Milestone Energy LLC
5910 S University Blvd                 Attn Bill Cagle                         333 Texas St Suite 516
C18432                                 5910 S University Blvd C18432           Shreveport, LA 71101
Greenwd Village, CO 80121              Greenwood Vilage, CO 80121




Mill Properties Ltd                    Millard Lee Allen                       Milledge B Hart
PO Box 8438                            1005 Briarcreek Dr                      63 Tierra Montanosa
Midland, TX 79708                      Arlington, TX 76012                     Rancho Santa Margarita, CA 92688




Millenia Resources LLC                 Millennium Advisors LLC                 Millennium Maritime
2755 S Locust St 216                   Principal Trading Account               PO Box 24062
Denver, CO 80222                       14120 Ballantyne Corporate Pl           Seattle, WA 98124-1062
                                       Charlotte, NC 28277-2640




Miller And Lents Ltd                   Miller Bonnie                           Miller Buckfire Co LLC
909 Fannin Street Suite 1300           PO Box 902                              787 7th Ave 5th Floor
Houston, TX 77010                      Tatum, TX 75691                         New York, NY 10019




Miller Consulting Inc                  Miller Family Tr Viola Miller Merritt   Miller Family Trust
1000 West Avenue                       Succ Ttee Citizens Ntl Bank             1011 N Gregg Street
Austin, TX 78701-2019                  PO Box 1009                             Big Spring, TX 79720
                                       201 West Main
                                       Henderson, TX 75653-1009



Miller Family Trust                    Miller Family Trust                     Miller Living Trust
Frank H Miller Jr Trustee              Roosevelt Brown Ttee                    Ovara O Miller Trustee
1606 Bittersweet Avenue                1011 N Greeg St                         5302 Cleveland Ave
Ruston, LA 71270-2037                  Big Spring, TX 79720                    Kansas City, MO 64130




Miller Resources Inc                   Miller Sons Trucking Inc                Miller Thompson
PO Box 1469                            PO Box 339                              Scotia Plaza
Wichita Falls, TX 76307                Bloomfield, NM 87413                    40 King Street West Suite 5800
                                                                               Toronto, ON M5H 3S1
                                                                               Canada



Miller Tubular Services LLC            MillerS Electriclan                     Millie G Walker
805 Aero Dr                            PO Box 17698                            127 Slaughter St
Shreveport, LA 71107                   Long Beach, CA 90807                    Grambling, LA 71245




Milling Benson Woodward LLP            Mills Co Of Louisiana LLC               Millsap Regena Tompkins
PO Box 51327                           PO Box 75                               2604 Briar Trail
Lafayette, LA 70505-1327               Shreveport, LA 71161                    Mckinney, TX 75069
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Millstream Energy LLC                   Milton A Cardwell Jr            Milton A Friedrich Estate
4918 Menlo Park Drive                   855 Camino Francisca            200 Geneseo Road
Sugar Land, TX 77479                    Santa Fe, NM 87506              San Antonio, TX 78209




Milton Candler                          Milton Champ Johnson            Milton F Clark
171 Sandbed Road                        Route 6 Box 313                 312 West Saunders
Ruston, LA 71270                        Gladewater, TX 75647            League City, TX 77573




Milton Frank Roberts And                Milton Gorn                     Milton H Wieding
Ronda Deann Roberts                     Bertha Marie Gorn               160 Parkhill Drive
188 Upchurch Road                       130 Desiard St Ste 315          Bastrop, TX 78602-6793
Dubach, LA 71235                        Monroe, LA 71201




Milton J Mcdermott                      Milton L Davis                  Milton L Kilpatrick
1158 Oak Timber Cir                     2527 Hudspeth                   1565 Madden St
Collierville, TN 38017-8799             Dallas, TX 75216                Arcadia, LA 71001




Milton L Molhusen                       Milton L Payne                  Milton Lavelle Hood
3532 Ridgebriar Drive                   110 West Panola                 11281 Hwy 151
Dallas, TX 75234                        Carthage, TX 75633              Dubach, LA 71235




Milton Lewis                            Milton Lewis Estate             Milton Lopez May
4155 W Twain Ave Apt 101                10601 Pedal Point Pl Unit 203   712 E 6Th St
Las Vegas, NV 89103-6317                Las Vegas, NV 89144             Bonham, TX 75418-3913




Milton Louis Antilley Jr                Milton M Baker Delta S Baker    Milton M Baker Estate
3031 Meadow Valley Loop                 12040 Hwy 84                    10293 Hwy 84
Jarrell, TX 76537                       Grand Cane, LA 71032            Mansfield, LA 71052




Milton Peden                            Milton Portley                  Milton R Johnson Jr
1006 Oak                                PO Box 7551                     308 Forestcrest Lane
Dalhart, TX 79022                       Longview, TX 75607              Coppell, TX 75019-4040




Milton R Johnson Jr Rev Tst             Milton Siegel                   Milton Slaughter Patricia S Slaughter
Rebecca Lynn Walker Trustee             Edythe Siegel Ttees             1402 Mesa St
308 Forestcrest Ln                      The Siegel Liv Tr               Ruston, LA 71270
Coppell, TX 75019                       14454 Via Royale
                                        Delray Beach, FL 33446-3369



Milton Spencer Rigney                   Milton T Harris                 Milton Thomas Murphy
2824 Nacogdoches Rd                     5600 Cypresswood 309            Rebecca Moore Murphy
San Antonio, TX 78217                   Spring, TX 77379                617 Mitcham Orchard Rd
                                                                        Ruston, LA 71270
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Milton Truett Odom Faye Burks Odom     Milton W Evans Jr                  Milton Woodard
204 Pinecrest Dr                       709 Diane                          190 Garr Road
Arcadia, LA 71001                      Longview, TX 75602                 Ruston, LA 71270




Milton Wright                          Milton Younger                     Milus D Scruggs
2307 Armond Dr                         1279 Rwe Jones Drive West          Community Bank Of Raymore
Longview, TX 75602                     Ruston, LA 71270                   PO Box 200
                                                                          Raymore, MO 64083-0200




Mimecast North America Inc             Mimi Garland Cammack 2008 Trust    Mimo 2012 Oil And Gas Ltd LLP
Peter Fondini                          430 N Center Ste 110               777 Taylor Street Suite 1030
480 Pleasant Street Sute C 10          Longview, TX 75601                 Fort Worth, TX 76102
Watertown, MA 02472




Minchew Family Rev Lvg Trust           Mindy Furrh Jay Life Estate        Mindy Mann Nelson
Morris D Minchew Zana B Minchew        Post Office Box Eight              605 W Majestic Oak Ln
Co Trustees                            Elysian Fields, TX 75642           Georgetown, TX 78633-2076
1853 Willow Road
Hallsville, TX 75650



Mindyanne E Barton                     Mine Tada Brightwell               Mineola Independent School District
GrantorS Trust                         4402 Longvale Dr                   Mary Ann Roseberry
777 Taylor Street                      San Antonio, TX 78217              1000 West Loop 564
Suite 1030                                                                Mineola, TX 75773
Fort Worth, TX 76102



Mineral Acquisition Partners           Mineral Acquisition Partners       Mineral Acquisition Partners
00 Net                                 2003 Net                           Map Fcb13 Net
PO Box 268946                          An Oklahoma Gen Partnership        PO Box 268988
Oklahoma City, OK 73126                PO Box 268947                      Oklahoma City, OK 73126
                                       Oklahoma City, OK 73126



Mineral Investment Corp                Mineral Preservation LLC           Mineral Resources Corporation
3000 Wilcrest Dr 145                   179 Churchwell Round               509 Market St
Houston, TX 77042                      Purvis, MS 39475                   Suite 300
                                                                          Shreveport, LA 71101




Mineral Ventures Inc                   Minerals Acquisition Partners      Minerals Acquisition Partners
PO Box 277                             2004 Ok                            2006 Ok
Farmerville, LA 71241                  c/o Mineral Acquisition Partners   PO Box 268988
                                       PO Box 269031                      Oklahoma City, OK 73126
                                       Oklahoma City, OK 73126



Minerals Etc LLC                       Minerals Management Service        Minerals Management Service
c/o Northern Trust Na                  Minerals Revenue Management        PO Box 25627
PO Box 226270                          PO Box 5810                        Denver, CO 80225-0627
Dallas, TX 75222-6270                  Denver, CO 80217




Minerals Mngmnt Service                Minerals Revenue Management        Minerals Revenue Management
Royalty Managment Program              PO Box 25627                       PO Box 5810
PO Box 5640                            Denver, CO 80225-0627              Denver, CO 80217-5810
Denver, CO 80217
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Miners Merchants Bank                 Mineshaft Royalties             Minette Goff Cooper
13164 Garrett Hwy                     PO Box 12705                    1519 Sommer Circle
Oakland, MD 21550                     Dallas, TX 75225                Benton, LA 71006




Minette P Goodson                     Minh Tam Dang                   Minhthu Nguyen
Box 1074                              Address Redacted                Address Redacted
Dripping Springs, TX 78620




Minion Trail Ltd                      Minita Freeman                  Minne Harris
100 Waugh Drive                       7817 Sonoma Ct                  c/o Franklin Jack Harris
Suite 400                             Laredo, TX 78045-8860           Rr 1 Box 9
Houston, TX 77007-5962                                                Joaquin, TX 75954-9711




Minnesota Department Of Commerce      Minnesota Dept Of Revenue       Minnette Deloach Tittle
Unclaimed Prop Unit                   12300 Ford Road Suite 285       168 Elena
85 7Th Place East                     Dallas, TX 75234                Atherton, CA 94025
Ste 500
St Paul, MN 55101-2198



Minnette T Carpenter                  Minnie B Williams               Minnie Bode Bricher
408 Woodland                          6105 Sparta Street Apt 20       Route 2
Jefferson, TX 75657                   Ruston, LA 71270                Pipestone, MN 56164




Minnie C Mceachern                    Minnie Harris                   Minnie J Berger
c/o Deborah Sample                    c/o Franklin Jack Harris        7128 Joyce Way
500 Highland Drive                    Rr 1 Box 9                      Dallas, TX 75225-1729
Jasper, TX 75951                      Joaquin, TX 75954




Minnie J Betters Et Vir               Minnie Jo Gaston                Minnie K Patton Estate
Willie L Betters                      1417 Shawnee Trail              Rheta Z Thompson
2411 W Central 308                    Henderson, TX 75654-4234        Bank Of America Ind Exctrs
Los Angeles, CA 90011                                                 PO Box 840738
                                                                      Dallas, TX 75284-0738



Minnie K Patton Scholarship           Minnie L Wilson                 Minnie Lee Holbert Adams
Foundation No 214 1041601             c/o Texas State Treasury        1471 West 72nd Place
PO Box 840738                         Unclaimed Property Division     Chicago, IL 60636
Dallas, TX 75284-0738                 PO Box 12019
                                      Austin, TX 78711-2019



Minnie Lee Walker Dawson              Minnie Lou Yates                Minnie M Buckholts
PO Box 157                            532 Cr 3286                     E J Buckholts Ii A/I/F
Gibsland, LA 71028                    Joaquin, TX 75954               1115 Ash
                                                                      Duncan, OK 73533




Minnie M Chevalier                    Minnie N Simonton               Minnie Palmo
3455 Shore Shadows Dr                 PO Box 184                      4264 Hermosa Dr
Crosby, TX 77532-7222                 Bastrop, LA 71220               Shreveport, LA 71119
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Minnie R Scott                        Minnie Roberson Calahan               Minnie S Piper Foundation
PO Box 545                            2719 Kilburn St                       1250 Ne Loop 410 Suite 810
Gibsland, LA 71028                    Dallas, TX 75216                      San Antonio, TX 78209




Minor Resources                       Minton Brown PLLC                     Minyon M Rogers Gremillion
PO Box 421                            PO Box 1688                           148 Casrmel St
Sealy, TX 77474                       Henderson, TX 75653-1688              Mandeville, LA 70448




Mirage Mineral Investments Inc        Miramar Properties LLC                Miramar Properties LLC
PO Box 4165                           c/o Larry Blakeley Associates Agent   c/o Randal Kuckenmeister
Ormond Beach, FL 32175                PO Box 542867                         3860 Gs Richards Blvd
                                      Dallas, TX 75354                      Carson City, NV 89703




Miranda Aimee Marie Grieder           Miranda Leanne Wiggins                Miranda Renfro
Julianne Browne Successor Tr          4804 Stateline Rd                     291 Lampbright Rd
817 East Laurel Avenue                Logansport, LA 71049                  Livingston, TX 77351
Hattiesburg, MS 39401




Miriam Feaster                        Miriam G Star Revocable Trust         Miriam Garner Antoine
PO Box 14                             Miriam G Star As Trustee              PO Box 366
Friendswood, TX 77549-0014            4212 University Blvd                  Vernon, CA 90294
                                      Dallas, TX 75205




Miriam Latham Diamond                 Miriam M Sternberg                    Miriam M Williams
1 Causton Pl                          Sternberg Co                          164 Ilex Drive
Savannah, GA 31411                    3520 Greenbrier Dr                    Canton, GA 30114
                                      Dallas, TX 752255003




Miriam Mayer Sternberg Trust          Miriam Mead Merrill Unc Prop          Miriam Minter Diebold
Nationsbank/Bank Of America           c/o Texas Comptrollers Office         3623 Ledgestone Dr
Robert Mayer Jr Bruce L Sternberg     Unclaimed Property Division           Houston, TX 77059-6012
PO Box 840738 Acct 4527 00            PO Box 12019
Dallas, TX 75284-0738                 Austin, TX 78711-2019



Miriam Provosty                       Miriam S Garrett                      Miriam S Garrett Life Tenant
Post Office Drawer 1791               PO Box 798                            PO Box 1810
Alexandria, LA 71302                  Saint Francisville, LA 70775-0798     St Francisville, LA 70775




Miriam S Smelley Henderson            Miriam Shiffman                       Miriam Wallace Powell
6611 Sterling Shores Ln               PO Box 50403                          506 South Main
Rosenberg, TX 77471-2086              Santa Barbara, CA 93150               Henderson, TX 75652




Mirph Hawkins                         Misao Winn                            Mishee Junnice Garr
PO Box 27212                          458 Parrott Drive                     6041 Enright
Oakland, CA 94602                     San Mateo, CA 94402                   St Louis, MO 63112
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Missey Marie Morgan                   Mission Of Our Lady Of Mercy I           Mission Oil Company
4608 Depew                            1140 Jackson Blvd                        100 West Houston Street
Austin, TX 78751                      Chicago, IL 60612                        Suite 1500
                                                                               San Antonio, TX 78205




Mission Synod Cumberland              Mission Vacuum Pump Truck Service        Mississippi State Treasurer
Presbyterian Church                   PO Box 1935                              Unclaimed Property Division
c/o Rev Mary Katherine Kirkpatrick    Mission, TX 78573                        Vpi Acquisition
501 Indian Springs Rd                                                          PO Box 138
Marshall, TX 75672                                                             Jackson, MS 39201



Mississippi Treasury Dept             Mississippi Treasury Dept                Missouri Department Of Natural Resources
Unclaimed Prop Division               Unclaimed Property Division              Region 7
501 N West Street                     PO Box 138                               PO Box 176
1101 A Woolfolk Bldg                  Jackson, MS 39205                        Jefferson, MO 65102
Jackson, MS 39201



Missouri Department Of Revenue        Missouri Department Of Revenue           Missouri Department Of Revenue
Employer Withholding Tax              Richard M Maseles Special Assistant AG   Sales/Use Tax
PO Box 47464                          PO Box 475                               PO Box 94788
Jefferson City, MO 65105-3375         301 W High Street Room 670               Jefferson City, MO 65105-0840
                                      Jefferson City, MO 65105-0475



Missouri Department Of Revenue        Missouri Dept Of Revenue                 Mister BS Sandwich Shop
Taxation Bureau                       Tax Administration Bureau                3800 N Teutonia Ave
PO Box 3020                           PO Box 840                               Milwaukee, WI 53206
Jefferson City, MO 65105-3020         Jefferson City, MO 65105-0840




Misti Ann Scott                       Mistras Group Inc                        Mistras Group Inc
1320 Baylor Dr                        786 West 600 North                       PO Box 405694
Longview, TX 75601                    North Salt Lake, UT 84054                Atlanta, GA 30384-5694




Misty Kay Mccarter Johnson            Mitch Kilpatrick                         Mitch Lee
1021 N 7Th Street                     154 Edgewater Drive                      13805 Limestone Rd
Ponca City, OK 74601-2840             Eatonton, GA 31024                       Kingston, OK 73439




Mitcham Farms LLC                     Mitchel G Duos Arlene A Duos             Mitchel Sobel
1007 Woods Rd                         Brock Duos                               401 S Salina St 2nd Floor
Ruston, LA 71270                      2315 Coulee Crossing Rd                  Syracuse, NY 13202
                                      Woodworth, LA 71485




Mitchell Lockhart Assoc               Mitchell Cumbie                          Mitchell D Davis Melissa Davis
7800 Dallas Pkwy Ste 330              612 County Road 698C                     PO Box 191
Plano, TX 75024-4085                  Angleton, TX 77515-7611                  Jourdanton, TX 78026




Mitchell Darnell Younger              Mitchell Energy Company Lp               Mitchell J Dillavou
3682 Crowberry Way                    Attn Jvo Production Cindy                5206 Cervantes Drive
Euless, TX 76040                      PO Box 4000                              Ames, IA 50014
                                      The Woodlands, TX 77387-4000
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Mitchell Lynn Harris                  Mitchell Midkiff Et Ux          Mitchell Minerals LLC
170 North Jungle Road                 Rte 3 Box 414                   c/o Victor Mitchell Mnging Ptnr
Geneva, FL 32732                      Center, TX 75935                Rt 2
                                                                      Box 10 A
                                                                      Haskell, OK 74436



Mitchell R Ritter                     Mitt Lewis Price                Mittie Emelyn Still
4409 Meadowlark Ln                    Rr 1 Box 47                     3655 West Linwood
Midland, TX 79707                     Joaquin, TX 75954               Beaumont, TX 77703




Mittie P Goree Alexander              Mittie Whitley                  Mitzi E Wagner
4190 Papillion Way                    c/o Delinda Whitley Poa         4210 Loma Riviera Ln
Stockton, CA 95206                    509 W Henderson Street          San Diego, CA 92110
                                      Mt Enterprise, TX 75681




Mitzi Elizabeth Hamilton Werner       Mitzi Lewis                     Mizell James E Etta Rae Mizell
114 Curry Creek Dr                    722 Haight Avenue               PO Box 994
Calhoun, LA 71225                     Alameda, CA 94501               Hallsville, TX 75650-0994




Mj Systems                            Mjb Oil And Gas                 Mjg Oil Properties
420 E 58Th Ave Ste 200                727 S Chilton                   PO Box 1232
Denver, CO 80216-1400                 Tyler, TX 75701                 Gainesville, TX 75261




Mjk Mineral Partners Ltd              Mjr Investments Ltd             Mk Hauling
600 North Marienfeld Street           PO Box 1434                     815 Greene Road
Suite 906                             Edinburg, TX 78540              Minden, LA 71055
Midland, TX 79701




Mkc Operating Inc                     Mkh Transportation Inc          Mko Trucking Inc
PO Box 344                            24123 Boerne State Road         388 Cr 2450
Post, TX 79356-0344                   Suite 105                       Shelbyville, TX 75973
                                      San Antonio, TX 78255




Mks Services LLC                      Mlb Consulting                  Mlg Partners Ltd
6389 S Us Highway 79                  3075 Willowood Rd               4327 Acady
Palestine, TX 75801-1007              Edmond, OK 73034-9725           Dallas, TX 75205




MLiss Evans                           Mm S Partners                   MmD Energy
2623 W Wadley Ave                     Mehl Maher Smith                PO Box 890
Midland, TX 79705-6349                6200 S Syracuse Way Ste 445     Carthage, TX 75633
                                      Englewood, CO 80111




Mmg Oil And Gas Interest LLC          MmmS Ltd                        Mmr Constructors Inc
c/o Lynn Festavan                     PO Box 202167                   PO Box 919205
PO Box 5164                           Austin, TX 78720                Dallas, TX 75391-9205
Shreveport, LA 71135-5164
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Mmtr Lp Richard Wilson Ge Mgr           MN Equipment LLC                       MN Field Services LLC
c/o Rebecca Morris Cpa                  PO Box 3003                            PO Box 2490
PO Box 13200                            Casper, WY 82602-3003                  Pinedale, WY 82941
Alexandria, LA 13200




Mnh Resources                           Mo Te Inc                              Mo Vac Service Company Inc
3884 Dunhaven Rd                        PO Box 223                             PO Box 1629
Dallas, TX 75220                        Farmington, NM 87499                   San Antonio, TX 78296-1629




Mo Vac Service Of Alice                 Mobil Producing Texas New Mexico Inc   Mobil Producing Tx Nm
PO Box 2237                             PO Box 2810                            c/o Xto Energy Inc
San Antonio, TX 78298-2237              Houston, TX 77252                      810 Houston St
                                                                               Fort Worth, TX 76102




Mobil Producing Tx Nm Inc               Mobile Analytical Laboratories Inc     Mobile Oilfield Trucking Inc
PO Box 730586                           PO Box 69210                           914 Taos Drive
Dallas, TX 75373                        Odessa, TX 79769                       Victoria, TX 77904




Mobius Risk Group LLC                   Mobley Capital LLC                     Mobley Valve Service
5847 San Felipe                         PO Box 1091                            4964 Oak Point Place
Suite 2502                              Shreveport, LA 71163                   Shreveport, LA 71107
Houston, TX 77057




Mode Choate Jr                          Model Sign                             Modern Exploration Inc
Box 188                                 110 Center Street                      4900 Texoma Pkwy
Simsboro, LA 71275                      Rock Springs, WY 82901                 Sherman, TX 75090




Modesta Allen                           Modesta S Williams Trustee             Modesta Stokes Estate Trust Tx
9925 Fostoria Rd                        M Stokes Gst Tr Fbo M Williams         F/B/O Wade B Simpson
Cleveland, TX 77328                     6 Desta Drive Suite 3000               6 Desta Drive Suite 3000
                                        Midland, TX 79705                      Midland, TX 79705




Modrall Sperling Roehl Harris Sisk Pa   Moduspec Usa Inc                       Moeller Consulting Inc
PO Box 2168                             1330 Enclave Parkway Suite 200         PO Box 2107
Albuquerque, NM 87103-2168              Houston, TX 77077                      Rock Springs, WY 82902




Mohat Properties LLC                    Mohr Engineering Rupe Project          Moira Mcinerny
PO Box 586                              13602 Westland East Blvd               283 North Vulcan
Baton Rouge, LA 70821                   Houston, TX 77041                      Encinitas, CA 92024




Moliere Minerals LLC                    Molitor Steven J                       Molli Computer Services Inc
Attn M Scarborough Jr                   Address Redacted                       PO Box 49128
PO Box 130394                                                                  Colorado Springs, CO 80949
Tyler, TX 75713
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Mollie Ann Foley                        Mollie B Bigley                 Mollie Dawson Allen
305 West Carolanne                      6222 Iris Run                   PO Box 1819
Marshall, TX 75672                      New Braunfels, TX 781324880     Van Alstyne, TX 75495




Mollie Harris Mckamie                   Mollie Ibera Webb               Mollie Jean Barber
622 E 78Th St                           Rt 1 Box 204 B                  1321 Dale
Los Angeles, CA 90001                   Chandler, TX 75758              Longview, TX 75601




Mollie Jean Clair                       Mollie Lampin                   Mollie S Guion
PO Box 55                               4329 Cr 234                     4403 Red River St
Price, TX 75687                         Nacogdoches, TX 75961           Austin, TX 78751




Mollie T G Patterson                    Molly A Hendricks               Molly A Joyce Gst Trust
3681 Fourth Avenue                      20102 Misty River Way           U/W/O Evelyn Wooten F/B/O Molly A Joyce
Los Angeles, CA 90018                   Cypress, TX 77433-5793          Molly A Joyce Craig Joyce
                                                                        3730 Plumb Street
                                                                        Houston, TX 77005



Molly Ann Nelson                        Molly Ann Turner                Molly Bergman Moore Deford
3335 Allen Avenue                       5991 Fm 1844                    PO Box 793
Tyler, TX 75701                         Gladewater, TX 75647-5892       Goodrich, TX 77335




Molly Davenport Hull                    Molly G Heath                   Molly Hendricks Bill Hendricks
2708 Woodhaven                          612 East Henderson              25653 Fm 1736
Denton, TX 76201                        Overton, TX 75684               Waller, TX 77484




Molly J Duggan Ind And Trustee          Molly J Herrington              Molly J Olberz
Donald H Duggan Trust                   1344 Old Hickory Rd             290 N El Camino Real 185
4610 Dixie Shreveport Rd                Tyler, TX 75703                 Encinitas, CA 92024
Shreveport, LA 71107




Molly Jackson Mitchell                  Molly Jean Green                Molly Jones Duggan
2799 Lakeshore Dr                       821 Via Bravo                   4610 Dixie Shreveport Road
Lake Junaluska, NC 28745                Mesquite, TX 75150              Shreveport, LA 71107




Molly Kathryn Hicks                     Molly M Hutchinson Ashford      Molly Mae Cunningham
10901 East 124Th Street North           Ashford Trust                   201 Gillespie Dr Apt 8302
Collinsville, OK 74021                  524 Sophia Lane                 Franklin, TN 37067
                                        Shreveport, LA 71115




Molly Maledon Arp                       Molly Marie Taunton             Molly Pontius
213 South Club                          10876 Dulawan Drive             526 Woodside Dr
Longview, TX 75602                      Jacksonville, FL 32246          Hideaway, TX 75771
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Molly Ruth Molliver                     Molly Sue Keen                  Mollya Duhe Haley
12910 Birch Glen Dr                     1398 Hwy 519                    39381 Bradbury Lane
Cypress, TX 77429                       Arcadia, LA 71001               Prairieville, LA 70769




Molpus Timberlands Mgmt LLC             Mona Butz Estate                Mona Campbell
Mwf Madison Llc                         Barbara Morris Executor         PO Box 2108
178 Bonhomie Rd                         277 W 11Th St 3D                Center, TX 75935
Hattiesburg, MS 39401                   New York, NY 100142431




Mona Campbell Munson                    Mona Drucker                    Mona M Spivey Welch
5128 Brookview                          3402 Dover Rd                   PO Box 1497
Dallas, TX 75220                        Cheyenne, WY 82001              Granbury, TX 76048




Mona R Castine                          Monachem Inc                    Monad Werner LLC
17329 N Cardinal Ln                     PO Box 1656                     333 Texas Street
Marshall, IL 62441                      Monahans, TX 79756              Suite 2290
                                                                        Shreveport, LA 71101




Monahans Electric                       Monahans Nipple Up Service      Monalene Johnson Thurman
PO Box 670367                           PO Box 1552                     PO Box 394
Dallas, TX 75267                        Monahans, TX 79756              Springhill, LA 71075




Monarch Landscape Management Inc        Moncla Coiled Tubing LLC        Moncla E Line Services Inc
PO Box 1926                             Tait Faulk                      Tait Faulk
Fort Collins, CO 80522                  PO Box 53408                    PO Box 53408
                                        Lafayette, LA 70505             Lafayette, LA 70505




Moncla E Line Services Inc              Moncla Pressure Pumping LLC     Moncla Workover Drillilng Operations
PO Box 3307                             Tait Faulk                      PO Box 53408
Lafayette, LA 70502                     PO Box 53408                    Lafayette, LA 70505
                                        Lafayette, LA 70505




Moncrief Oil Gas Master LLC             Mondee Hutchison                Mondelle M Langford
Moncrief Building                       1200 County Road 129            c/o BucknerS Westminister Place
950 Commerce Street                     Gary, TX 75643                  2201 Horseshoe Lane 506
Fort Worth, TX 761025418                                                Longview, TX 75605




Moneta Management LLC                   Monetta Crow                    Monette A Bell James Rex Bell
416 Travis St Ste 1200                  7126 County Road 466D           14785 Oak Shores Drive
Shreveport, LA 71101                    Henderson, TX 75654             Willis, TX 77318




Monette Alexander Bell                  Monette M Grafke                Moneyhun Equipment Sales Service Co
14785 Oak Shores Drive                  26280 Spring Valley Rd          2220 Upland Street
Willis, TX 77318                        Louisburg, KS 66053             Rock Springs, WY 82901
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Monica Adams                          Monica Holm Dempsey             Monica Woodard
1328 Old Monterey Hwy                 c/o Jill Fox                    198 Garr Road
Tuscaloosa, AL 35405                  14 Sandhurst Rd                 Ruston, LA 71270
                                      Mundelein, IL 60060




Monica Younger Ward                   Monika M Rawls                  Monique Dismuke
1541 Kentucky Ave                     127 Circle Dr                   221 Grove Ave Apt 8
Lancaster, TX 75134                   Farmerville, LA 71241           Richmond, CA 94801-1561




Monique Joyce                         Monique Moore Johnson           Monique Viola Dupree
7881 Green Lawn Dr                    176 Joe Rd                      4129 Barnor Dr
Houston, TX 77088                     Simsboro, LA 71275              Indianapolis, IN 46226




Monk Salley                           Monroe R Tripp Jr               Monsen Family Trust
115 Sherwood Drive                    PO Box 14408                    Richard A Monsen And
West Monroe, LA 71291                 Odessa, TX 79768                Janeal Monsen Trustees
                                                                      1628 N Roadrunner Drive
                                                                      St George, UT 84770



Monster Heavy Haulers LLC             Monster Mud Pits LLC            Monster Wireline LLC
222 Lexington Dr                      Po Drawer 3130                  PO Box 191
Rayne, LA 70578                       Midland, TX 79702               Jourdanton, TX 78026




Monster Worldwide Inc                 Montage Laguna Beach            Montague Land Title Services Inc
PO Box 90364                          30801 South Coast Highway       9647 County Road C
Chicago, IL 60696                     Laguna Beach, CA 92651          Silverton, TX 79257




Montaigne Minerals LLC                Montana Federal Credit Union    Monte L Hillis
PO Box 600787                         15 14th St S                    1360 Kearney Street Ne
Dallas, TX 75360                      Great Falls, MT 59401           Washington, DC 20017




Monte Ray Reese                       Montego Capital Fund 3 Ltd      Montego Capital Fund I Ltd
11606 Sunset Drive                    PO Box 2640                     PO Box 2640
Austin, TX 78748                      Midland, TX 79702               Midland, TX 79702




Montego Capital Fund Ii Ltd           Montego Minerals Lp             Monterrey Land And Minerals
PO Box 2640                           PO Box 2379                     Gary A Roark Dba
Midland, TX 79702                     Midland, TX 79702               PO Box 670
                                                                      Bullard, TX 75757




Monterreykeystone LLC                 Montez Electric Inc             Montez Mcneely Anderson
P O Drawer 379                        PO Box 2148                     1004 Arnold Street
Tilden, TX 78072                      Alice, TX 78333                 Ruston, LA 71270
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Montez R Caraway                      Montgomery Petroleum Inc            Monticello J Mary B Howell
3000 St Charles 311                   4925 Greenville Ave Suite 915       Monticello J Mary B Howell
New Orleans, LA 70115                 Dallas, TX 75206                    3009 Larkspur Ct
                                                                          Garland, TX 75040




Montie Carol Wesley Madera            Montie Mark Montfort                Montie Odom
PO Box 2795                           325 Se Cr 3070                      906 Country Club Drive
Ruidoso, NM 88355                     Corsicana, TX 75109                 Rockwall, TX 75032




Montrell Gray                         Monty B Moncrief Grantor Trust      Monty D Rorie
152 Peevy Rd                          777 Taylor St Ste 1030              8328 Barbaree Blvd
Choudrant, LA 71227                   Fort Worth, TX 76102                Dallas, TX 75228




Monty J Costlow                       Monty Lee Lawson                    Monty M Brosious
11300 Loop 60                         1713 Sandera Court                  3761 E Lake Todd Dr
Larue, TX 75770-2113                  Flower Mound, TX 75028              Hernando, FL 34434




Monty Wayne Mcgrede                   Monument Resources LLC              Monument Well Service Co
1882 Maple Springs Rd                 PO Box 2388                         777 Valley Ct
Longview, TX 75602                    Longview, TX 75606                  Grand Junction, CO 81505




Moody National Bank                   Moody National Bank                 Moody National Bank Agent
2302 Post Office                      Trustee Of W L Moody Trust          For Libbie Moody Thompson
Galveston, TX 77550                   Attn G Luann Bland                  Attn G Luann Bland
                                      PO Box 1139                         PO Box 1139
                                      Galveston, TX 77553                 Galveston, TX 77553



Moody National Bank Trust Dept        Moody Oil Trust                     Moodys Investors Services Inc
PO Box 1139                           John S Moody Succ Ttee              PO Box 102597
Galveston, TX 77553                   3003 West Alabama                   Atlanta, GA 30368-0597
                                      Houston, TX 77098




Mooers Oil Corporation                Moon Bridgette K Reed               Moon Operating Inc
PO Box 160669                         1631 Cold Water Drive               2393 Hg Mosley Pkwy
San Antonio, TX 782802869             Tyler, TX 75703                     Bldg 4 Suite 100
                                                                          Longview, TX 75604




Moon Operating Inc                    Moon Operating Inc                  Moon Royalty LLC
428 North Fredonia Street             429 North Fredonia Street           PO Box 720070
Longview, TX 75601                    Longview, TX 75601                  Oklahoma City, OK 73172




Moonlight Energy Services             Moonlight Fishing Rental Services   Moons
PO Box 2542                           Dustin Morgan                       6979 Hwy 9
Amarillo, TX 79105-2542               2009 Judy Ave                       Homer, LA 71040
                                      Odessa, TX 79765
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Moore Inc                              Moore Moore Transport LLC       Moore Sharon Elizabeth
2885 Lorraine Avenue                   4816 Scott Drive                5605 Fargo Drive
Temple, TX 76501                       Greenwood, LA 71033             Dickinson, TX 77539




Moore Shelton Company Ltd              Moore Trust                     Moore Wireline Of Shreveport Inc
Donald B Moore Managing Ptnr           Amy Meserole Successor Ttee     Ray Moore
PO Box 3070                            111 Tionesta Ave                445 Monroe Street
Galveston, TX 77552                    Kane, PA 16735                  Haughton, LA 71037




Moore Wireline Of Shreveport Inc       Moores Pump Services Inc        Moorman Interest Ltd
PO Box 1287                            PO Box 746                      7373 Broadway Suite 502
Haughton, LA 71037                     Broussard, LA 70518             San Antonio, TX 78209




Moose Auto Glass                       Mopac                           Morales Backhoe Service
4220 Timms                             PO Box 1326                     609 W David St
Tyler, TX 75700                        Ventura, CA 93002               Hebbronville, TX 78361




Morales Drilling Company               Moran Legacy Investments LLC    Moreland Mineral Prtshp
Box 1701                               974 Nielson Ranch Rd            A G Edwards Sons Inc
Zapata, TX 78076                       Cheyenne, WY 82007              c/o Marcie Moreland Guthrie
                                                                       2508 Avenue N
                                                                       Austin, TX 78727



Morenergy Exploration Co               Morgan Aaron                    Morgan Abshier Johnson Partnership
410 17Th St Ste 1150                   Address Redacted                Acct 371 057701 545
Denver, CO 80202                                                       c/o Morgan Stanley Wealth Management
                                                                       2800 Post Oak Blvd Suite 1800
                                                                       Houston, TX 77056



Morgan Capital Group Inc               Morgan Family Irrv Trust        Morgan Keegan Co Inc
PO Box 4165                            Melinda Gail Mcmahone Ttee      50 North Front Street
Ormond Beach, FL 32175                 2400 Hillside Rd                Memphis, TN 38103
                                       Ruston, LA 71270




Morgan League                          Morgan Leblanc                  Morgan Lee Scott
c/o Unclaimed Property Div             908 W St Mary St                1200 Jonquil Drive
Auditor Of State                       Abbeville, LA 70510             Longview, TX 75601
1400 W 3Rd Street Ste 100
Little Rock, AR 722011811



Morgan Partners Lp                     Morgan R Hubbard                Morgan Stanley
895 Belvedere                          PO Box 1961                     1585 Broadway Ave
Beaumont, TX 77706                     Abilene, TX 79604               New York, NY 10036




Morgan Stanley                         Morgan Stanley                  Morgan Stanley Co LLC
Attn Drkenneth Ewing                   Attn John Barry                 1585 Broadway Ave
1585 Broadway Ave                      Morgan Stanley Isg Operations   New York, NY 10036
New York, NY 10036                     1 New York Plaza 7Th Floor
                                       New York, NY 10004
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Morgan Stanley Smith Barney LLC          Morgan Stanley Strategic Inv Inc   Morgan Stokes Lyon
2000 Westchester Ave                     1585 Broadway Ave                  2129 Market Garden
Purchase, NY 10577-2530                  New York, NY 10036                 Lexington, KY 40509




Morice Smith Jr                          Morita Thomas Baxter Palmer        Morlee Anderson
c/o Texas State Treasury                 11173 Highway 151                  212 Glynn Dr
Unclaimed Property Division              Dubach, LA 71235                   Jonesboro, LA 71251
PO Box 12019
Austin, TX 78711-2019



Morris Brown                             Morris D Millie B Towles           Morris M Prigoff
PO Box 129                               c/o Texas State Treasurer          2909 S Hampton Rd Lb 7
Joaquin, TX 75954                        Unclaimed Property Division P      Dallas, TX 75224
                                         PO Box 12019
                                         Austin, TX 78711-2019



Morris Nichols Arsht Tunnell LLP         Morris P Nichols                   Morris Peden
PO Box 1347                              9951 Beaver Creek                  6300 Hyde Pkwy
Wilmington, DE 19899-1347                Shreveport, LA 71106               Amarillo, TX 79109




Morris Ritter And                        Morris Searcy                      Morris Welding Service
Bonnie Ritter                            1602 Elmira Rd                     637 Cr 3201
PO Box 121                               Austin, TX 78721                   PO Box 663
Gary, TX 75643                                                              Daingerfield, TX 75638




Morrison Supply Co LLC Dba American Su   Morrison Supply Company            Morse Trucking Inc
100 Industrial Blvd                      Dba American Supply Company        PO Box 1202
Kilgore, TX 75662-3174                   PO Box 70                          Kermit, TX 79745
                                         Ft Worth, TX 76101-0070




Morton J Mitosky Estate                  Morty Simmons Phoebe Simmons       Mosbacher Energy Co
Joy Mitosky Executor                     2619 Amos Road                     712 Main Street
300 East 57Th St Apt 6 C                 Longview, TX 75602-9801            Suite 2200
New York, NY 10022                                                          Houston, TX 77002




Mosbacher Energy Company                 Mosbacher Usa Inc                  Mose Brooks
PO Box 301261                            PO Box 301261                      3760 Wall St
Dallas, TX 75303-1261                    Dallas, TX 75219                   Los Angeles, CA 90011




Mose Thompson                            Mosely Custodial Trust             Mosely Custodial Trust
145 Murline Drive                        Argent Trust Company Of La         c/o Argent Trust
Grambling, LA 71245                      PO Box 1410                        P O Drawer 1410
                                         Ruston, LA 71273                   Ruston, LA 71273




Moser Engine Service                     Moses Kelly                        Moses R Baugh Jr
PO Box 491                               7090 Fm 2204                       17881 Bluff Lane
Mills, WY 82644                          Kilgore, TX 75662                  Gatesville, TX 76528
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Mosley Well Service LLC                  Moss Petroleum Company                    Most Precious Blood Catholic
PO Box 1649                              3838 Oak Lawn Ave Ste 1516                Church Of Corpus Christi
Haughton, LA 71037                       Dallas, TX 752194516                      PO Box 2620
                                                                                   Corpus Christi, TX 784032620




Motion Industries Inc                    Mount Harmony Missionary Baptist Church   Mount Holyoke College
File 57463                               PO Box 253                                Treasurers Office
Los Angeles, CA 90074                    Ruston, LA 71270                          2 Skinner Hall
                                                                                   So College St
                                                                                   South Hadley, MA 01075



Mount Zion Baptist Church Of Grambling   Mountain Commercial Graphics              Mountain Message Service
PO Box 1177                              12922 Hempstead Rd                        489 1/2 28 1/2 Road
Grambling, LA 71245                      Houston, TX 77040-6508                    Grand Junction, CO 81501




Mountain Petroleum Corporation           Mountain Petroleum Ltd                    Mountain States Hotshot LLC
1801 Broadway Ste 1250                   7951 E Maplewood Ave Ste 130              PO Box 1210
Denver, CO 80202                         Englewood, CO 80111                       Grand Junction, CO 81502-1210




Mountain States Oilfield Services LLC    Mountain States Pressure Service Inc      Mountain States Pumping Serv
G R Funding                              PO Box 1930                               PO Box 1930
PO Box 357307                            Rock Springs, WY 82902-1930               Rock Springs, WY 82902
Gainesville, FL 32635-7307




Mountain Supply Service LLC              Mountain Supply Service LLC               Moutrie Smith
Walt Smith                               PO Box 3111                               415 County Road 190
PO Box 3111                              Longview, TX 75606-3111                   Long Branch, TX 75669-3815
Longview, TX 75606




Mouzan R Tiller                          Mozell Woodard Williams                   Mozelle Dickens
PO Box 45                                9753 Fm 2011                              4261 Midway Loop West
Elysian Fields, TX 75642                 Longview, TX 75603                        Livingston, TX 77351




Mozelle Duncan                           Mozelle Lawson Anderson                   Mozelle Parramore
407 Slaydon St                           Dealing With Her Separate Property        4603 Cowan Avenue
Henderson, TX 75654                      1515 Sikes Street                         Dallas, TX 752093805
                                         Ruston, LA 71270




Mp Oilfield Services LLC                 Mp2 Energy Texas                          Mpb Corporation
532 West Blucher Street                  PO Box 202829                             Attn Peyton Bucy
Falfurrias, TX 78355                     Dallas, TX 75320-2829                     1775 Sherman St Ste 2950
                                                                                   Denver, CO 80203




Mph Production Company                   Mpo Division 1 Tanos                      Mpo Division 10 Alta Mesa
PO Box 2955                              500 Dallas Street Suite 1800              500 Dallas Street Suite 1800
Victoria, TX 77902                       Houston, TX 77002                         Houston, TX 77002
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Mpo Division 11 Double A               Mpo Division 12 Bairoil         Mpo Division 2 Comstock
500 Dallas Street Suite 1800           500 Dallas Street Suite 1800    500 Dallas Street Suite 1800
Houston, TX 77002                      Houston, TX 77002               Houston, TX 77002




Mpo Division 3 Goodrich                Mpo Division 4 Propel           Mpo Division 5 Stanolind
500 Dallas Street Suite 1800           500 Dallas Street Suite 1800    500 Dallas Street Suite 1800
Houston, TX 77002                      Houston, TX 77002               Houston, TX 77002




Mpo Division 6 Boaz                    Mpo Division 7 Crown            Mpo Division 8 Permian
500 Dallas Street Suite 1800           500 Dallas Street Suite 1800    500 Dallas Street Suite 1800
Houston, TX 77002                      Houston, TX 77002               Houston, TX 77002




Mpo Division 9 Rockies                 Mps Two LLC                     MR Inc
500 Dallas Street Suite 1800           101 Adonis Dr                   1 Aruba Circle
Houston, TX 77002                      Lafayette, LA 70506-5402        Englewood, FL 34223




Mr Mrs Kenneth Jakino                  Mr T Moving And Hauling         Mr T Transport Inc
6380 Ivanhoe                           19550 Us Highway 69 N           15535 Garfield Ave
Beaumont, TX 77706                     Lindale, TX 75771-6012          Paramount, CA 90723




Mrc Global Us Inc                      Mrd Elimination                 Mrd Holdco LLC
PO Box 204392                          500 Dallas Street Suite 1800    500 Dallas Street Suite 1800
Dallas, TX 75320-4392                  Houston, TX 77002               Houston, TX 77002




Mrd Midstream LLC                      Mrd Operating LLC               Mrd Royalty LLC
500 Dallas Street Suite 1800           500 Dallas Street Suite 1800    500 Dallas Street Suite 1800
Houston, TX 77002                      Houston, TX 77002               Houston, TX 77002




Mrd Tanos Energy Holdings LLC          Mrd Tanos Energy LLC            Mrd Tanos Exploration LLC
500 Dallas Street Suite 1800           500 Dallas Street Suite 1800    500 Dallas Street Suite 1800
Houston, TX 77002                      Houston, TX 77002               Houston, TX 77002




Mrd Tanos Midstream LLC                Mrs A G Dejarnett               Mrs Buren Delton Vaughn Best
500 Dallas Street Suite 1800           7712 Jeffries                   7316 33Rd Avenue Nw
Houston, TX 77002                      Cleveland, OH 44105             Seattle, WA 98117




Mrs Charles Cobb Iii                   Mrs Charles Shedd               Mrs Dee Speed Elder
c/o Charles Cobb Iv                    c/o State Of Texas Treasury     PO Box 460388
413 Lynoak Street                      Unclaimed Property Division     Houston, TX 770568388
Marshall, TX 756727543                 PO Box 12019
                                       Austin, TX 78711-2019
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Mrs E B Anderson Jr                   Mrs E M Bramlette               Mrs Edward P Leeper
10075 Stratmore Circle                1111 Lipscomb Drive             c/o Texas State Treasury
Shreveport, LA 71115                  Nashville, TN 372044121         Unclaimed Property Division
                                                                      PO Box 12019
                                                                      Austin, TX 78711-2019



Mrs Edwin T Teal                      Mrs Exor Megan Guardian         Mrs G M Anderson Et Al
4100 Jackson Ave Apt 180              Estate Of Maude E Pftouts       PO Box 1834
Austin, TX 78731                      PO Box 12608                    Shreveport, LA 71155
                                      Capital Station
                                      Austin, TX 75265



Mrs H A Dowdy Trust                   Mrs H A Dowdy Trust             Mrs Henry M Rogers
c/o Jpmorgan Chase Bank Na            c/o Jpmorgan Chase Bank Na      c/o Texas State Treasury
PO Box 99084                          PO Box 2605                     Unclaimed Property Division
Fort Worth, TX 76199-0084             Fort Worth, TX 76113            PO Box 12608 Capitol Station
                                                                      Austin, TX 78701



Mrs Jimmie Dunham                     Mrs Jo Ann Frasier Barham       Mrs Joe Sparks
c/o Nara Dunham Cole Poa              PO Box 6244                     c/o J A Sparks
251 Bonura Road                       Shreveport, LA 71105            707 Fm 1503
Sour Lake, TX 77659                                                   Deport, TX 75435




Mrs John Richard Smith                Mrs Larue Defriend              Mrs Lou Harris
380 Sandefur Place                    477 Cr 3605                     c/o Texas State Treasury
Shreveport, LA 71105-3246             Joaquin, TX 75954               Unclaimed Property Division
                                                                      PO Box 12019 Capitol Station
                                                                      Austin, TX 78711-2019



Mrs Martin Tharpe                     Mrs Mary Key Henley             Mrs Mitt Lewis Price
809 Short Ransom Street               PO Box 25308                    Rural Rt 1 Box 47
West Monroe, LA 71291                 Dallas, TX 75225                Joaquin, TX 75954-9717




Mrs Nell Wilson Teasdale              Mrs Nelwyn Brannon              Mrs Noel Crider Loftus
PO Box 7104                           2603 Dogwood                    1004 E Main St
Tyler, TX 75711                       Nacogdoches, TX 75965           New Roads, LA 70760




Mrs O O Krause                        Mrs True L Kelly                Mrs Wayne Lindy Barnes
Talbert Jones Agent                   Box 13                          20102 East 91st St No
PO Box 145                            Penland, NC 28765               Owasso, OK 74055
Ringgold, LA 71068-0145




Mrstheo Comer Sides                   MS Backhoe Services             MS LLC
c/o Texas State Treasurer             PO Box 1221                     4703 S Elizabeth Court
Unclaimed Property Division           Seminole, TX 79360              Englewood, CO 80113
PO Box 12608 Capitol Station
Austin, TX 78711



Ms Lucy Limited                       Ms Mary Claire Kettler          MS Roberts Investments Lp
PO Box 561                            PO Box 24                       9400 N Central Expwy Ste 910
Longview, TX 75606                    Gibsland, LA 71028              Dallas, TX 752315098
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Msc Industrial Supply Co                Msc Industrial Supply Co Inc   Msdsonline Inc
Dept Ch 0075                            75 Maxess Rd                   27185 Network Place
Palatine, IL 60055-0075                 Melville, NY 11747             Chicago, IL 60673-1271




Msi Financial Services Inc              Msm Leasing LLC                Msw Royalties LLC
1295 State Street                       Mark Rankin                    306 West 7Th Street Ste 901
Springfield, MA 01111                   801 Cherry St Suite 2100       Fort Worth, TX 76102
                                        Ft Worth, TX 76102




Mt Montana Dept Of Revenue              Mt Montana Dept Of Revenue     MT Bank
340 North Last Chance Gulch             Unclaimed Property             One MT Plaza 8th Floor
Helena, MT 59601                        PO Box 5805                    Buffalo, NY 14203-2399
                                        Helena, MT 59604-5805




MT Hot Oil Service Co                   Mt Lebanon Baptist Church      Mt Lebanon Historical Society
PO Box 949                              13113 Highway 154              Jackie Land President
San Angelo, TX 76902                    Gibsland, LA 71028             12801 Hwy 154
                                                                       Gibsland, LA 71028




Mt Olive Baptist Church                 Mtb Inc                        Mtx Interests Lp
Charles Thomas Chairmn Of Deac          PO Box 971                     414 W Texas Ave Ste 208
794 Bear Creek Rd                       Rock Springs, WY 82901         Midland, TX 79701
Quitman, LA 71268




Mucher Estates Partnership Ltd          Mud Control Equipment Corp     Mudd Holdings LLC
Frost National Bank Agent               PO Box 627                     10003 Christincoates Ct
PO Box 1600                             Youngsville, LA 705920627      Shreveport, LA 71118
San Antonio, TX 78296-1600




Muhammad Ahmed Rehman                   Muhammed Y Awan Ghulam Awan    Mulberry Family Trust
Address Redacted                        2301 Cooktown Rd               Albert F Mulberry Ttee
                                        Ruston, LA 71270               915 S Parkview Dr
                                                                       Aurora, OH 44202




Mule Deer Foundtation                   Mulligan Lp                    Mullin Terry
1900 Holloway Ave                       c/o Robert A Cooksey           Address Redacted
Midland, TX 79701                       1202 Richardson Dr 115
                                        Richardson, TX 75080




Multi Chem                              Multi Chem Group LLC           Multi Shot LLC
PO Box 301341                           David Huynh                    Dba Ms Energy Services
Dallas, TX 75303-1341                   10200 Bellaire Blvd            PO Box 201567
                                        Houston, TX 77072              Dallas, TX 753201567




Multi Shot LLC Dba Ms Energy Services   Multimedia Entertainment       Munger Tolles Olson LLP
PO Box 201567                           Corporation Of America         355 South Grand Ave 35th Floor
Dallas, TX 75320-1567                   PO Box 739                     Los Angeles, CA 90071
                                        Mansfield, TX 76063
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Munoco Company                          Munsch Hardt Kopf Harr P C              Muras Energy Inc
200 N Jefferson Suite 308               Nolan C Knight                          PO Box 5525
El Dorado, AR 71730-5853                500 N Akard Street                      Edmond, OK 73083
                                        Suite 3800
                                        Dallas, TX 75201-6659



Murchison Consulting                    Murchison Drilling School Inc           Muriel Ann Walpole
3333 E Spring Street                    PO Box 14577                            3620 East English St 105B
Suite 204                               Albuquerque, NM 87191                   Wichita, KS 672181249
Long Beach, CA 90806




Muriel F Pletcher                       Muriel Pletcher                         Muriel Roark Giddens
Aka Muriel Pletcher Ttee                3903 Dewberry Lane                      6360 Lake Oak Landing
Muriel F Pletcher Trust                 St James City, FL 33956                 Cummings, GA 30040
3903 Dewberry Ln
St James City, FL 33956



Muriel Whiteside Charitable Tr          Murlene Hughes Williams                 Murnice L Smith
c/o Us Bank Na Trust 14905500           4170 Stonebridge Pt                     612 Orms Rd
130 West Superior Street                Colorado Springs, CO 80904-4737         White Oak, TX 75693
Duluth, MN 55802




Murnice L Smith As Aif                  Murphy Blume Horton                     Murphy Bros Partnership LLC
For Ray Smith                           6005 River Road                         PO Box 293
612 Orms Rd                             Shreveport, LA 71005                    Arcadia, LA 71001
White Oak, TX 75693




Murphy Bros Trucking Construction LLC   Murphy Earl Pickett                     Murphy Evertz
PO Box 298                              PO Box 91010                            Attn John C Murphy
Arcadia, LA 71001                       Baton Rouge, LA 70821                   650 Town Center Drive Suite 550
                                                                                Costa Mesa, CA 92626




Murphy Exploration Production Company   Murphy Exploration Production Company   Murphy Oil Corporation
47 0910029                              Attn Treasury Department                PO Box 7000
Treasury Department                     9805 Katy Fwy Ste G200                  El Dorado, AR 71731
PO Box 7000                             Houston, TX 77024
El Dorado, AR 71731-7000



Murphy Payne Properties Ltd             Murphy Trust                            Murray B Roark
1411 Hollytree Place                    George J Murphy Trustee                 2629 Dame Brisen
Tyler, TX 75703                         1828 Warwick Road                       Lewisville, TX 75056
                                        San Marino, CA 91108




Murray B Roark Sep Ira                  Murray Edward Malakoff Jd               Murray Lynn Nolan
Fcc As Custodian                        1715 Urbahn Ste B                       703 Bymo Drive
2629 Dame Brisen                        Laredo, TX 78043                        Minden, LA 71055
Lewisville, TX 75056-5775




Murray Mathews                          Murray Munves                           Murray P Rasbury And
616 Tenaha                              Apt 1020                                Susan Squyres Rasbury
Center, TX 75935                        5200 Keller Springs Road                501 Mitcham Orchard Rd
                                        Dallas, TX 752482748                    Ruston, LA 71270
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Murray R Hay Trucking                  Murray Rel Estate Services          Murrell Ann Dorsey Zyblot
PO Box 430                             Attention Justin Reeves             1707 Fm 3237
Ringgold, LA 71068                     1610 West Cotton Street             Wimberly, TX 78676
                                       Longview, TX 75604




Murvaul Methodist Church               Murvaul Missionary Baptist Church   Murvie Thompson
c/o Marvin Davenport Treasurer         3390 Fm 10                          1231 Quesada Ave
1281 County Road 129                   Carthage, TX 75633                  San Francisco, CA 94124
Gary, TX 75643




Musa A Dwairi                          Muscular Dystrophy Association      Music Mountain Water Company
1612 Bittersweet                       3520 Industrial Dr                  305 Stoner Ave
Ruston, LA 71270                       Bossier City, LA 71112              Shreveport, LA 71101




Muskat Martinez Mahony LLP             Muskoka Minerals LLC                Mustang Drilling Inc
1201 Louisiana St 850                  Nancy F Mckinney Mbr                PO Box 1810
Houston, TX 77002                      PO Box 1293                         Henderson, TX 75653
                                       Sherman, TX 75091




Mustang Drilling Motors                Mustang Fuel Corp                   Mustang Gas Compression LLC
PO Box 11177                           9800 N Oklahoma Ave                 2500 Woodbine Dr
Midland, TX 79702                      Oklahoma City, OK 73114             Kilgore, TX 75662




Mustang Gas Compression LLC            Mustang Hot Shot                    Mustang Minerals LLC
PO Box 678409                          PO Box 1514                         330 Marshall St Suite 120
Dallas, TX 75267-8409                  Andrews, TX 79714                   Shreveport, LA 71101




Muzinich Co Inc                        Mva Trucking Rentals LLC            Mvba
450 Park Ave                           PO Box 970                          Attorney For The Pine Tree ISD
New York, NY 10022                     Lovington, NM 88260                 140 E Tyler St Ste 280
                                                                           Longview, TX 75601




Mvc Holdings LLC                       Mw Resources LLC                    Mwb 1998 Tr
814 Armstrong Dr                       c/o Catherine Miller                Ben J Fortson Jr Ttee
Georgetown, TX 78633-5187              4741 Alta Rica Dr                   301 Commerce St Ste 2900
                                       La Mesa, CA 91941                   Fort Worth, TX 76102




Mwf Madison LLC                        Mwj Producing Co                    Mxtoolbox Inc
Molpus Timberland Mgmt Llc             400 W Illinois                      12710 Research Blvd Ste 225
Attn Daniel Hurd Hudson                Suite 1100                          Austin, TX 78759-4395
178 Bonhomie Rd                        Midland, TX 79701
Hattisburg, MS 39401



My Community Federal Cu                My Fabrication                      Myco Industries Inc
600 West Louisiana Ave                 PO Box 478                          PO Box 840
Midland, TX 79701                      Wickett, TX 79788                   Artesia, NM 88211-0840
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Myers Power Products Inc               Myers Roustabout LLC              Myles Construction Co
2950 E Philadelphia Street             PO Box 751                        2816 Lincoln Road
Ontario, CA 91761                      Jacksboro, TX 76458               Richwood, LA 71202




Mymie Caldwell                         Myra Britt Nelson                 Myra June Atkins
2401 Misty Lane                        213 Lilinda Dr                    7003 Western Oaks Blvd
Ruston, LA 71270                       Ruston, LA 71270                  Austin, TX 78749




Myra Lynn Jones Austin                 Myra S Lambert Ritter             Myra Wagner Fiorella
4907 Caris                             3055 Tx St Hwy 154 W              3632 Canal St
Houston, TX 77091                      Gilmer, TX 75644                  New Orleans, LA 70119




Myriam Piervil                         Myrle M Bossart                   Myrlee W Walker Mineral Trust
1776 Heritage Dr                       3311 78Th Place Ne                c/o Wells Fargo/Y Paredes
North Quincy, MA 02171                 Medina, WA 98039                  223 Inslee Street
                                                                         San Antonio, TX 78209




Myrna Charlyne Houlton                 Myrna E Sullens                   Myrna L Tuttle Bain
2855 Capella Circle                    821 W Hayden                      9295 E 108Th Place
Garland, TX 750446229                  Carthage, TX 75633                Henderson, CO 80640




Myrna Loye Bradley                     Myron Bounds                      Myron Corporation
11929 Fm 729                           612 Cr 3818                       PO Box 660888
Avinger, TX 75630                      Joaquin, TX 75954                 Dallas, TX 75266-0888




Myron J Martin                         Myron Kent Martin                 Myron Leroy Castine Jr
5981 Nw 80 Terrace                     5106 Seneca Drive                 2823 County Road 634
Parkland, FL 33067                     Dallas, TX 75209                  PO Box 253
                                                                         Gardner, CO 81040




Myrta Mae Lott Whitehead Wife          Myrtie Louise Langston            Myrtis Blalack Estate
Of Norman Whitehead                    200 Rainwater Rd                  3373 Goldfinch Rd
12737 Jefferson Highway                El Dorado, AR 71730               Gilmer, TX 75644
Baton Rouge, LA 70816




Myrtis Cook Springer                   Myrtis Lee Hall                   Myrtis Lillian Jacks Nolan
1207 Hwy 519                           112 Leachman Street               100 Bowie Lane
Arcadia, LA 71001                      Monroe, LA 71202                  Hewitt, TX 76643




Myrtle A Couch Trust                   Myrtle A Couch Trust              Myrtle A Kerber Life Est
F/B/O Robin Laughlin                   F/B/O Susy L Duggins              925 N Francisco Ave
c/o Bank Of America N A Trustee        c/o Bank Of America Na Ttee U/W   Chicago, IL 60622
PO Box 840738                          PO Box 840738
Dallas, TX 75284-0738                  Fort Worth, TX 75284-0738
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Myrtle B Livingston                   Myrtle Canon Fuller             Myrtle Couch Trust
PO Box 757                            PO Box 6286                     F/B/O Cary L Johnston
Grambling, LA 71245                   Shreveport, LA 71101            c/o Bank Of America
                                                                      PO Box 840738
                                                                      Dallas, TX 75284-0738



Myrtle Couch Trust                    Myrtle Fay Hayes                Myrtle J Delaney Dixon
F/B/O Lisa L Boyd                     988 West Bar K Ranch Road       Harold M Dixon P/O/A
c/o Bank Of America                   Longview, TX 75605              8445 Hwy 165 S
PO Box 840738                                                         Pollock, LA 71467
Dallas, TX 75284-0738



Myrtle Juanita Williams Colvin        Myrtle K Eichinger              Myrtle R Griffin Anderson
248 Second Street                     35 Arroyo Santiago              6133 Georgia Drive
Simsboro, LA 71275                    Odessa, TX 79762-7205           North Highlands, CA 95660




Myrtle Williams                       Mystic Path Ltd                 N A Benavides Hunt 1991 M Tr
4427 Talley Rd                        PO Box 5204                     Alfonso Benavides Co Tr
Longview, TX 75602                    Midland, TX 79704               1719 Guadalupe St
                                                                      Ste 6 Pmg 290
                                                                      Laredo, TX 78043



N B Well Service LLC                  N C Skrivanos                   N D Cogswell
PO Box 715                            PO Box 1492                     c/o Ellen Cogswell
Monahans, TX 79756                    Shreveport, LA 71164            PO Box 143
                                                                      Joaquin, TX 75954-0143




N Dan Clark                           N Lee Copeland                  N Line Electric LLC
3708 Sweetbriar Lane                  6824 Nort Hpark Drive           14293 Longs Peak Court
Colleyville, TX 76034                 Shreveport, LA 71107            Longmont, CO 80504




N Martin Stringer Revocable Trust     N Maxwell Goodloe Res Trst      N Nadine Adamson
211 North Robinson                    P Chapman/Max Goodloe Trees     1 Rim Road
Oklahoma City, OK 73102               1239 Wynden Court               Kilgore, TX 75662
                                      Houston, TX 77056




N R Properties Trust                  N R Royall Iii Trust            N R Royall Iii Trust
Nancy H Ketner Trustee                4930 Briarwood Place            PO Box 770
PO Box 4676                           Dallas, TX 75209                Palestine, TX 75802-0770
Shreveport, LA 71134




N R Royall Iii Trust Uwo Fanni        N S Grove                       Naamah Poncho
May Royall John Royall Trustee        3954 Evans Ave                  1737 W University
4930 Briarwood Place                  Denver, CO 80210                Shawnee, OK 74804
Dallas, TX 75209




Nab Nat Resources                     Nabeel Partners LLC             Nabors Completion Production Srvcs Co
514 Pierremont Cir                    PO Box 18651                    PO Box 975682
Shreveport, LA 71106                  Atlanta, GA 31126               Dallas, TX 75397-5682
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Nabors Drilling Technologies Usa Inc      Nabors Drilling Usa Lp            Nabors Production Completion Srvc Co
PO Box 206308                             Ernie Nelson Vp Contracts         Richard Murray
Dallas, TX 75320-6308                     515 W Greens Road Suite 1000      515 W Greens Rd Suite 1170
                                          Houston, TX 77067                 Houston, TX 77067




Nabors Properties LLC                     Nabors Trust                      Nabors Well Services Ltd
PO Box 632                                Ben Johnson Iii Trustee           PO Box 973510
Mansfield, LA 71052                       PO Box 632                        Dallas, TX 75397-3510
                                          Mansfield, LA 71052




Nacb Inc                                  Nacogdoches Cad                   Nacogdoches Recycling Center Inc
930 Williston Park Pt                     216 W Hospital St                 2508 Woden Rd
Lake Mary, FL 32746                       Nacogdoches, TX 75961             Nacogdoches, TX 75961




Nada F Pell                               Nadel And Gussman Permian LLC     Nadel And Gussman Ruston LLC
4202 Karen Lane                           15 East 5Th Street Suite 3300     Controlled Disbursement
Edinburg, TX 78539                        Tulsa, OK 74103                   15 East 5Th Street
                                                                            Suite 3300
                                                                            Tulsa, OK 74103



Nadel Gussman Jetta Lcv                   Nadel Gussman Jetta Lcv Ra Sutt   Nadel Gussman Jett Oper Co
Ra Sutt Unleased                          Royalty Interest                  777 Taylor St P1
Nadel Gussman Ruston Llc                  Nadel Gussman Ruston Llc          Fort Worth, TX 76102
15 East 5Th St Ste 3300                   15 East 5Th St Ste 3300
Tulsa, OK 74103                           Tulsa, OK 74103



Nadel Gussman Jetta Operating Company     Nadel Gussman LLC                 Nadel Gussman North Louisiana LLC
Nadel Gussman Ruston Llc                  15 East 5Th St Suite 3300         15 East Fifth Street
15 East 5Th St                            Tulsa, OK 74103                   Suite 3300
Suite 3300                                                                  Tulsa, OK 74103
Tulsa, OK 74103



Nadel Gussman Operating Co LLC            Nadine Hopper                     Nail Automation
15 East 5Th Street Ste 3300               10986 Spring Lane                 PO Box 72
Tulsa, OK 74103                           Cleveland, TX 77328               Snyder, TX 79550




Nail Bay Royalties LLC                    Najmah Inas El Amin               Nakedra Davis Rogers
PO Box 671099                             437 Cedar St Nw                   2849 Cable St 66
Dallas, TX 75367-1099                     Washington, DC 200121931          Arcadia, LA 71001




Nakyta Ruth Summers And Richard Summers   Nalco Company                     Nalco Fab Tech LLC
11897 Fr 968 West                         PO Box 730005                     PO Box 790
Longview, TX 75602                        Dallas, TX 75373-0005             Casper, WY 82602




Nalda Bullock Gibson                      Names And Numbers Of Texas        Nan K Haemer
1133 Hawkins Pky East                     PO Box 1479                       3733 North Michigan Avenue
Apt 218                                   Pittsburgh, KS 66762              Portland, OR 97227
Longview, TX 75605
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Nan Kelly Woolam                      Nan Kelly Woolam Trust          Nan M Tice
4007 69Th St                          Nan Kelly Woolam Ttee           PO Box 1600
Lubbock, TX 79413                     4007 69Th St                    San Antonio, TX 78296-1600
                                      Lubbock, TX 79413




Nan M Tice Estate Fc610               Nan OByrne Living Trust         Nan Pons Ferguson
Frost Bank Indep Executor             Created 12/23/98                PO Box 494
PO Box 1600 T 6                       Nan OByrne Trustee              Whitehouse, TX 75791
San Antonio, TX 78296                 PO Box 5264
                                      Santa Barbara, CA 93150-5264



Nancie G Echeverria                   Nancilea M Redding              Nancilee Foree Trust
2391 Hogan Lane                       19510 Lockridge Drive           Nancilee Foree Trustee
Lake Havasu City, AZ 86406            Spring, TX 77373                PO Box 838
                                                                      Terrell, TX 75160




Nancy A Cramer                        Nancy A Flinn Agency            Nancy A Green
25603 Sophora                         Bank Of America Na              14 Piedmont Lane
San Antonio, TX 78261                 Agent Advisory                  Little Rock, AR 72223
                                      PO Box 840738
                                      Dallas, TX 75284-0738



Nancy A Kynerd                        Nancy A Phillipson              Nancy A Pugh
107 Indian Summer Lane                1834 Pleasant Valley Rd         9922 Royce
Clinton, MS 39056                     Girard, OH 44420                Dallas, TX 75217




Nancy A Rogers                        Nancy A Vandyke                 Nancy Abernathy
4121 Radcliff Ct                      3 Oak Forest Drive              PO Box 1686
Midland, TX 79707                     Longview, TX 75605              Gladewater, TX 75647




Nancy Alice Ley Wilson                Nancy Anderson Olson            Nancy Anderson Reed
4544 Post Oak Pl Dr Ste 375           822 S Old Potato Rd             507 Sandy Port
Houston, TX 77027                     Paige, TX 78659                 Houston, TX 77079




Nancy Ann Bowermaster                 Nancy Ann Damaschino            Nancy Ann Flynn
152 Nelson Place                      Charles Schwab Co Inc Cust      1134 Thistlemeade
Meadowlakes, TX 78654                 Ira Contributory                Houston, TX 77094
                                      3229 Glenside Dr
                                      Lafayette, CA 94549



Nancy Ann Smith Tatum                 Nancy Anne Zeller               Nancy Anthony Dorie
22223 Viajes                          637 Montgomery Woods Drive      c/o Gary Elmore Poa
San Antonio, TX 78261-2898            Hockessin, DE 19707             2209 Cardinal Dr
                                                                      Plano, TX 75023




Nancy Armstrong Family Trust          Nancy B Brunson                 Nancy B Hillyer
4555 Owen                             12 Trotters Walk Ne             393 Guada Coma
Memphis, TN 38122                     Cartersville, GA 30121-8007     New Braunfels, TX 78130
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Nancy B Mcbride Life Estate           Nancy Batterton Tobin Barnes    Nancy Bolding Brown
14854 Oaks North Place                9381 Lone Oak Dr                203 Lock Haven
Dallas, TX 752547635                  Bryan, TX 77808                 Henderson, TX 75654




Nancy Boyette Graves                  Nancy Brace Ryan Trust          Nancy Brin Pope
54 So Vesper Bend Cir                 c/o Bank Of Texas Trustee       7133 Oakmont Dr
Spring, TX 77382                      PO Box 1588                     Frisco, TX 75034-3185
                                      Tulsa, OK 74101-1588




Nancy Brookman                        Nancy Burnside Murray           Nancy C Brooks
117 Vintage Isle Lane                 1600 Morganton Rd               1506 Stonebriar Dr
Palm Beach Gard, FL 33418             Pinehurst, NH 028374            Carthage, TX 75633




Nancy C Calhoun Kitchens              Nancy C King                    Nancy C Lucas
3805 Cypress                          4331 Klutina                    3018 Fm 999
West Monroe, LA 71291                 Anchorage, AK 99504             Gary, TX 75643




Nancy C Peterson                      Nancy C Thompson                Nancy C Thompson Trust U/A/D 10/1/1993
1723 Medio St                         56 Williams Rd                  Robert D Thompson John C Thompson
Santa Fe, NM 87501                    Wallingford, CT 06492-2751      Co Trustees
                                                                      6774 W Hollow Road
                                                                      Naples, NY 14512



Nancy Camp Evans                      Nancy Carolyn Brownlee          Nancy Carolyn Calhoun Huckabay
2038 Spring Dr                        122 Labelle Ln                  815 Ontario St
Haynesville, LA 71038-5516            Shreveport, LA 71115-2965       Shreveport, LA 71106




Nancy Carolyn Walker Cook             Nancy Carter Hemby              Nancy Chadwick Mitchell
201 W Church St                       3090 A B Carter Road            806 Daisey Ave
Seaboard, NC 27876                    Hallsville, TX 756503408        Lodi, CA 95240




Nancy Cheryl Hobbs                    Nancy Clare Graves Lucas        Nancy Clements Seay
3130 Briarwood Lane                   Spendthrift Trust               c/o Suzanne Cunningham
Frisco, TX 75034-1861                 Margaret E Bolick Trustee       6007 St Andrews Dr
                                      3018 Fm 999                     Dallas, TX 75205
                                      Gary, TX 75643



Nancy Clements Seay William           Nancy Cockrell                  Nancy Cranor Assel
P Clements Iii Co Tte Pauline         1899 County Road 430            406 W 26Th St
G Sullivan Trust Dtd 2 14 03          Tenaha, TX 75974-6294           Houston, TX 77008
Cumberland Hill1901 N Akard St
Dallas, TX 752012305



Nancy Crocker Roberts                 Nancy D Villareal               Nancy Dees
102 Green Meadows Cir                 1018 St Andrews                 501 Limestone St
Abilene, TX 79605                     Kingwood, TX 77339              Mt Vernon, GA 30445
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Nancy Dianne Traylor King            Nancy Dimit                         Nancy E Catts Tippin
236 Quarles Rd                       3 Caliente Road 1A                  5409 Belvedere Place
Ruston, LA 71270                     Santa Fe, NM 87508                  Fort Collins, CO 805256701




Nancy E Gutman                       Nancy E Ragus                       Nancy E W Smith
161 Revolutionary Road               128 Commonwealth Ave                453 Haney Smith Rd
Scarborough, NY 10510                Brandon, MS 39047                   Choudrant, LA 71227




Nancy Elaine Randall                 Nancy Elizabeth Laird               Nancy Elizabeth Mclean Edwards
PO Box 761                           404 Wildwood                        PO Box 2144
Huntington, TX 75949                 Kilgore, TX 75662                   Eden, NC 27289




Nancy Ellen Favot                    Nancy Evelyn Keeling                Nancy Everett Abernathy
931 I Street                         5555 E Mockingbird Ln Apt 1104      PO Box 6093
Petaluma, CA 94952                   Dallas, TX 75206-5384               Longview, TX 75608




Nancy F Campbell                     Nancy F Relyea                      Nancy Fletcher And Gordon Castleman
12406 Swinbrook Ln                   5850 East Lovers Lane               16501 Peale Lane
Houston, TX 77039                    Apt 403                             Huntington Beach, CA 92649
                                     Dallas, TX 75206




Nancy G Cheney                       Nancy G Mills                       Nancy G Norman
c/o John R Cheney Poa                220 S Gaston St                     452 Church St 4
5316 Briar Tree Drive                Carthage, TX 75633                  Cambridge Spgs, PA 16403
Dallas, TX 75248




Nancy G Westbrook Tsmntry Trst       Nancy Garland Morgan                Nancy Garrison
Fbo Arden Westbrook Brock            152 Dixieland Dr                    4085 Fm 999
Bank Of America Na Ttee              Choudrant, LA 71227                 Gary, TX 75643
PO Box 840738
Dallas, TX 75284-0738



Nancy Gayle Parker                   Nancy Gene Bankston                 Nancy Grabarkewitz
11960 Cr 2222                        2012 Whila Way                      1201 W Live Oak St
Arp, TX 757509801                    Alvin, TX 77511                     Lockhart, TX 78644




Nancy Gwynne Collie Trust            Nancy H Atkinson                    Nancy H Butler Revocable Tr
PO Box 201884                        109 Keo Keo Drive                   Nancy H Butler Trustee
Houston, TX 77216                    Bastrop, TX 78602                   400 Bjorn Ct
                                                                         Hemet, CA 92545




Nancy H Calhoun                      Nancy H Cherry                      Nancy H Johnson
3805 Cypress                         16 Hickory Knoll Pl                 905 West Schubert
West Monroe, LA 71291                Hilton Head Island, SC 29926-2656   Fredericksburg, TX 78624
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Nancy H Ketner                         Nancy Heaton Jennings            Nancy Hedges Le Grande Kelly
6121 Fern Ave Unit 48                  2902 Stoney Brook                PO Box 720296
Shreveport, LA 71105                   Houston, TX 77063                Atlanta, GA 303582296




Nancy Helen Addison                    Nancy Helen Mcwilliams Tisdale   Nancy Hodge Bluemel
5608 Shubert Ct                        614 Slaydon St                   701 Tokio Rd Apt 4
Dallas, TX 752524985                   Henderson, TX 75654              West, TX 76691-1757




Nancy Holley Horton                    Nancy Holstead Vascocu           Nancy Holtzendorff
3402 Sinclair                          PO Box 817                       Kimberly A Kemball Cook As Guardian
Pasadena, TX 77501                     Rayville, LA 71269               5960 W Parker Rd 278 303
                                                                        Plano, TX 75093




Nancy Hooker Norton                    Nancy Hornak                     Nancy Horne Matthei
121 Cr 263                             Segregated Rollover Ira          2500 Indigo Ln Unit 142
Beckville, TX 75631                    Rbc Capital Markets Llc Cust     Glenview, IL 60026
                                       860 N Lake Shore Dr 22M
                                       Chicago, IL 60611-1774



Nancy Howe Patterson Trust No          Nancy Hudgins Keller             Nancy J Brice
PO Box 840738                          PO Box 25009                     c/o Vaquillas Llc
Dallas, TX 75284-0738                  Asheville, NC 28813              5810 San Bernardo Ave Ste 490
                                                                        Laredo, TX 78041




Nancy J Mcdonald                       Nancy J Preston                  Nancy J Shirley Clark
PO Box 3057                            300 Mcnee Drive                  PO Box 445
Ruston, LA 71272                       Henderson, TX 75652              Mckenna, WA 98558-0445




Nancy J Sloan                          Nancy J Zapor Or Roger G Zapor   Nancy James Menefee
Box 31                                 29309 Stadia Hill Ln             25 Nw 23Rd Place Suite 6 119
Newcastle, TX 76372                    Rancho Palos Verdes, CA 90275    Portland, OR 97210




Nancy Jan Daugherty Kemp               Nancy Jane Crutchfield           Nancy Jane Wise
2871 Morning Star                      2710 Owen St                     16204 Crystal Hill Drive
Las Cruces, NM 88011                   Alvin, TX 775113738              Austin, TX 78737




Nancy Jo Vogel Trust                   Nancy K Glover                   Nancy K Milam Redd
Nancy Jo Vogel Trustee                 2564 Massey Lane                 34 South White Pebble Court
2 Gunter Lane                          Robinson, TX 76706               The Woodlands, TX 77380
Hope, AR 71801




Nancy K Northcutt                      Nancy Kay Clemens                Nancy Kay Dunn
1961 N Graytown Rd Unit 3              6705 Highway 135 North           204 Indian Trace Ln
Saint Hedwig, TX 78152-8279            Kilgore, TX 75662                Waxahachie, TX 751651535
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Nancy Kay Harrington Hutchins         Nancy Kay Reed                   Nancy Kay Wittel
8100 E Union Ave Ste 2008             507 Sandy Port                   PO Box 633992
Denver, CO 80237                      Houston, TX 77079                Nacogdoches, TX 75963




Nancy Kay Wright                      Nancy L Boswell                  Nancy L Dorfman Ttee
126 W Garfield                        5871 Koppe Bridge Road           Nancy Lynn Dorfman Living Tr 06/29/2006
Longview, TX 75602                    College Station, TX 778459612    2020 N Lincoln Park West 37De
                                                                       Chicago, IL 60614-4780




Nancy L H Obrien Exmpt Trust          Nancy L Seaton                   Nancy L Twining
Nancy Lynn Hogan Obrien Tstee         5127 Koberlin St                 100 Jefferson St
104 Grassy Lane                       Tyler, TX 75703                  Big Spring, TX 79720-4814
Fort Davis, TX 79734




Nancy Lary Jantz                      Nancy Layman                     Nancy Lebeck
6060 Village Bend Dr Apt 113          1329 Cambridge Lane              205 Town East Road
Dallas, TX 75206                      Denton, TX 76201                 Henderson, TX 75654




Nancy Lee Brees                       Nancy Lee Keoun Mccomb           Nancy Lee Madden George
2112 Wilson Dr                        8426 Windfall Lane               PO Box 647
Arlington, TX 76011-3224              Houston, TX 77040                Punta Santiago, PR 00741




Nancy Leona Bond                      Nancy Ley Wilson Childrens Tst   Nancy Licata
1890 S Harris Dr                      c/o Ley Wilson Development       1365 Fairfield Dr
Fayetteville, AR 72701                4544 Post Oak Place Dr Ste 375   Mandeville, LA 70448
                                      Houston, TX 77027




Nancy Liner Brown                     Nancy Lou James Zeppa Menefee    Nancy Louise Crawford
7882 Highway 822                      Pmb 119                          1616 Lobdell
Dubach, LA 71235                      25 Northwest 23Rd Place Ste 6    Baton Rouge, LA 70806
                                      Portland, OR 97210




Nancy Louise Spencer Kallus           Nancy Lynn Baughman Cole         Nancy Lynn Black Garmany
3305 Woodford Place                   PO Box 914                       251 Amy Lane
Birmingham, AL 35242                  Farmerville, LA 71241            Mansfield, LA 71052




Nancy Lynn Craig                      Nancy Lynn Gunn                  Nancy Lynn Satterwhite
1388 Cheyenne Trail                   20407 Harborgate Ct Apt 408      3810 Clarkway Place
Nemo, TX 76070                        Cornelius, NC 28031              Longview, TX 75605




Nancy M Bryant                        Nancy M Christian                Nancy M Groover
PO Box 548                            47 Windsor Lane                  3500 Stewart Circle
Troup, TX 75789                       Petaluma, CA 94952               Waco, TX 76708
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Nancy M Owens                         Nancy Margaret Wilhelm           Nancy Marshall Reue
PO Box 524                            6705 Ridgetop Road               PO Box 1594
Longview, TX 75606                    N Richland Hills, TX 76182       Lindale, TX 75771




Nancy Mcallister                      Nancy Mccandless                 Nancy Mcnee Newell
25250 Ramrock                         PO Box 22827                     2712 Barbara Lane
Porter, TX 773656361                  San Diego, CA 92103              West University Place, TX 77005




Nancy Morris Collie Agency            Nancy Morris Cowling             Nancy N Bryant
P O Bx 201884                         608 N Timber Rd                  616 N Eldridge Pkwy
Houston, TX 77216                     Midwest City, OK 73130           Houston, TX 770794418




Nancy Nan Gage                        Nancy Neal Laine                 Nancy Oakes Loving
2704 Fm 1404                          430 Oak Ridge Dr                 1085 S Lakemont
Big Sandy, TX 75755                   Fairview, TX 75069               Apt 302
                                                                       Winter Park, FL 32792




Nancy Pace Brown                      Nancy Pearl Wieding              Nancy Pearson Peters
Raider Ranch Apt 3310                 PO Box 695                       4419 Pebble Beach Drive
6548 43Rd St                          Three Rivers, TX 78071           League City, TX 77573
Lubbock, TX 79407




Nancy Plunkett Holland                Nancy Prue Foster Estate         Nancy Pryor Peterson
425 Comstock Place                    c/o James Corum Indp Exec        13209 Harmony Lane
Seattle, WA 98109                     2810 Thousand Oaks Drive         King George, VA 22485
                                      San Antonio, TX 782324108




Nancy Puff Jones Trust                Nancy Purnell Carter             Nancy R Kanter
Dorothy Jean Keenom Sole Ttee         1920 Wheaton Trl                 2601 S Bayshore Dr Ste 1450
PO Box 470605                         Cedar Park, TX 78613-4056        Miami, FL 33133-5461
Fort Worth, TX 761470605




Nancy R Konradi                       Nancy R Mackey Fam Ptnrshp Ltd   Nancy Reed Krabill
PO Box 196127                         PO Box 596                       1513 Timber Edge Drive
Dallas, TX 75219-8621                 Judson, TX 75660                 Mckinney, TX 75070




Nancy Rhea Barber Welwood             Nancy Roach                      Nancy Rogers Smith
5349 Quail Run                        215 Milford Point Dr             200 Turtle Creek Bnd
Frisco, TX 75034                      Merritt Island, FL 32952-2590    Longview, TX 75605-6891




Nancy Rosalind White                  Nancy Rumbo                      Nancy S Draughn As Usufruct
4830 Line Ave 135                     203 Vzcr 4819                    101 Pithon St
Shreveport, LA 71106                  Chandler, TX 75758               Lake Charles, LA 70601
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Nancy S Kucharik                        Nancy S Wakeland                        Nancy Salmon James
5432 303Rd Street                       4199 Cr 2207                            1401 Grierson St
Toledo, OH 43611                        Lampasas, TX 76550                      San Angelo, TX 76901-4405




Nancy Sheree Ludley                     Nancy Shoults Palmer Charles O Palmer   Nancy Smith Hurd
2813 Logan St                           657 Pr 4320                             PO Box 17001
Shreveport, LA 71103                    Marshall, TX 75670                      San Antonio, TX 78217-0001




Nancy Smith Hurd Foundation             Nancy Spencer                           Nancy Talley
c/o Broadway National Bank              PO Box 16431                            1752 Alma St
PO Box 17001 Trust Oil Gas              Jackson, MS 39236                       Shreveport, LA 71108
San Antonio, TX 78217




Nancy Towery Hanson                     Nancy Turner Bloom                      Nancy Turner Burks
4902 Beechknoll Lane                    3302 East 68Th Place                    2760 Bay Meadows Court
Katy, TX 77449                          Tulsa, OK 74136                         Dallas, TX 75234




Nancy Tuttle Burks                      Nancy W Baggett Tr 1                    Nancy W Baggette Trust 1
PO Box 548                              230 Auburn Ave                          Wade R Baggette Trustee
White Oak, TX 756930548                 Monroe, LA 71201                        230 Auburn Ave
                                                                                Monroe, LA 71201




Nancy W Baggette Trust 2                Nancy W Baggette Trust No 2             Nancy W Baggette Trust No 2
Wade R Baggette Trustee                 230 Auburn Avenue                       Wade R Baggette Trustee
230 Auburn Ave                          Monroe, LA 71201                        230 Auburn Avenue
Monroe, LA 71201                                                                Monroe, LA 71201




Nancy W Mcnamara                        Nancy Wall Baker                        Nancy Weaver Morgan
PO Box 2084                             9114 Lantana Way                        3302 Celebration Way
Waco, TX 76703                          Austin, TX 78749                        Longview, TX 75605




Nancy Welch Harrison                    Nancy Westbrook                         Nancy White Thomas
6150 Coastal Dr                         c/o Bank Of America Na Agent            PO Box 159
Mckinney, TX 75071-3063                 PO Box 2546                             Perry, LA 70575
                                        Fort Worth, TX 76113-2546




Nancy Wilson                            Nancy Wilson Thomas                     Nancy Woods Mansfield
1301 Ridge Drive                        7976 Windersgate Cir                    525 Gilmer Street 105
West Monroe, LA 71292                   Olive Branch, MS 38654                  Sulphur Springs, TX 75482




Nancy Wright Small                      Nancy Zapor Separate Property           Nancy Zoe Goldston Herpin
4428 Southern Avenue                    29309 Stadia Hill Lane                  5773 Woodway Dr 420
Dallas, TX 75205                        Rancho Palos Verd, CA 90275             Houston, TX 77057-1501
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Nancy Zoller Bidwell                    Nandigam Gajendar Shobba D Gajendar   Nanette Fay Spencer
8922 Silent Willow Ln                   1703 Broadway Ave                     2751 Monument Blvd 232
Sugar Land, TX 77479-5481               Ruston, LA 71270                      Concord, CA 94520




Nanette Hamberlin                       Nanette Tarpey Klass                  Nannie Mae Richardson E J Richardson
4710 Galewood Lane                      309 Apple Blossom Dr                  Box 373
Beaumont, TX 77706                      Murphys, CA 95247-9581                Joaquin, TX 75954




Naomi B Cariker Life Estate             Naomi Brazzil Estate                  Naomi C Rhode Revocable Trust
306 Brassell Dr                         Stephen M Foreman Indp Exec           5002 28Th Ave South
Marshall, TX 75672                      865 Fm 2109                           Gulf Port, FL 33707
                                        Huntington, TX 75949




Naomi E Allison Turk                    Naomi Goodman Estate Deceased         Naomi Howard
400 Wesley Dr Apt 73                    John Goodman Rachel Goodman           2085 Vandinther Dr Apt 9
Asheville, NC 28803-2003                1131 20Th Street 3                    Muskegon, MI 49441-2775
                                        Santa Monica, CA 90403




Naomi Jane Taylor                       Naomi Marcia W Katzenstein            Naomi Prell
4207 Gregory St                         825 Ockley                            67 Northwoods Lane
Oakland, CA 94619-2247                  Shreveport, LA 71106                  Boynton Beach, FL 33436




Naomi Ragland                           Naomi Sellers                         Naomi Whitten Thompson
PO Box 302                              4049 38Th Ave So                      6119 Kings Oaks Lane
Deberry, TX 75639                       Seattle, WA 981181107                 Humble, TX 77346




Napa Auto Parts Artesia                 Nape Expo Lp                          Napoleone Paul
PO Box 465                              PO Box 224531                         Address Redacted
Artesia, NM 88211-0465                  Dallas, TX 75222




Napps Eddie G Mary W Napps              Naptp                                 Nara Dunham
PO Box 1509                             c/o Don Wainwright                    251 Bonura Rd N
Longview, TX 75606-1509                 4350 N Fairfax Drive                  Sour Lake, TX 77659-9778
                                        Suite 815
                                        Arlington, VA 22203



Naral Pro Choice America                Narcie Lee Crosby                     Narcissa Lee Channell
1156 15Th Street                        PO Box 2423                           601 N Wisconsin
Suite 700                               Marshall, TX 75671-2423               Gunnison, CO 81230
Washington, DC 20005




Naruna Company                          Narva L Snoddy                        Narvis D Dowling
PO Box 630                              15607 Bristol Lake Dr                 PO Box 100
Fort Worth, TX 76101                    Houston, TX 77070-3866                Choudrant, LA 71227
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Nasdaq Corporate Solutions LLC        Nash Bell                       Nash Trucking Construction Ltd
Lbx 11700                             Address Redacted                150 Pr 2125
PO Box 780700                                                         Marshall, TX 75672
Philadelphia, PA 19178-0700




Nasha Hamlet                          Nasha Hamlet Trust              Nasir U Ahmed Kishwar H Ahmed
c/o Texas State Treasury              c/o Texas State Treasury        2700 Post Oak
Unclaimed Property Division           Unclaimed Property Division     Ruston, LA 71270
PO Box 12019                          PO Box 12019
Austin, TX 78711-2019                 Austin, TX 78711-2019



Nat B Allen Iii                       Nat Novick                      Natalia V Milshina
c/o Texas State Treasury              PO Box 1292                     11914 Hudspeth Trail
Unclaimed Property Division           Casper, WY 82601                San Antonio, TX 78253
PO Box 12019
Austin, TX 78711-2019



Natalie Ann Cones                     Natalie Brigitta Nelson         Natalie C Schwarz
5103 E Pagewick                       PO Box 295                      2811 Ferndale Street
Houston, TX 77041                     Tenaha, TX 75974                Houston, TX 77098




Natalie Gauthier                      Natalie L Simpson               Natalie Mcgee Goodman Trust
2509 Johnston St Apt 55               36413 Quiet Forest              Natalie M And
Lafayette, LA 70503                   Magnolia, TX 77355              1225A Potomac
                                                                      Houston, TX 77057




Natalie Pulliam                       Natalie R Dunbar                Natalie Suzanne Evans
PO Box 120                            9407 Brentgate Dr               5064 Scenic View Dr
Weatherford, TX 76088                 Dallas, TX 75238                Irondale, AL 35210-2703




Natalie Vaughn Matthews               Natalie Zinn Alikhan            Natalie Zurita Lea
287 New River Circle                  Robert L Zinn Aif               6130 Holly Springs Dr
Henderson, NV 89052                   3400 Bissonnet Street 250       Houston, TX 77057
                                      Houston, TX 77005




Natco                                 Natha Lee Sellers               Natha Lee Smetzer
National Tank Company                 c/o Leann Daniel Poa            243 Twin Oak Road
PO Box 200203                         384 Harding Road                Seguin, TX 78155-7421
Houston, TX 77216-0203                Nashville, AR 71852




Nathalie W Bunn Living Trust          Nathan A Watson                 Nathan Absher
Nathalie W Bunn Trustee               PO Box 170155                   6208 Mignonette St
1535 Palmero Way                      Arlington, TX 76003             Bakersfield, CA 93308-2727
Pebble Beach, CA 93953




Nathan Ashworth                       Nathan Clay Carpenter           Nathan Cuellar
33 Cannon Street                      2630 Torrey Pines               Address Redacted
London EC4M 5SB                       Fort Worth, TX 76109
United Kingdom
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Nathan Earl Jacobs                     Nathan Earl Langford                 Nathan George Yates
615 Andersonville Ln                   1119 County Road 120                 401 W Johanna St
Wylie, TX 75098                        Carthage, TX 75633                   Austin, TX 78704




Nathan Heard Jr                        Nathan Hendrix                       Nathan L Brightwell
19251 Preston Rd Apt 1402              c/o Annie Hendrix                    1330 Cedar Ridge Lane
Dallas, TX 75252                       PO Box 485                           Colorado Springs, CO 80919
                                       Saratoga, TX 77585




Nathan L Brightwell Trustee            Nathan L Stewart                     Nathan Leslie James
U/W/O W N Brightwell Deceased          4314 Chaha                           3195 Dowlen Rd
1330 Cedar Ridge Lane                  Rowlett, TX 75088                    Beaumont, TX 77706-7271
Colorado Spgs, CO 80919




Nathan Lynn Ward                       Nathan N Mcdaniel                    Nathan R Anglin
Altheaon Burch Atty In Fact            809 Kyle                             425 Cr 2673
PO Box 726                             West Monroe, LA 71292                Shelbyville, TX 75973-2514
Mansfield, LA 71052




Nathaniel Adrian Clinton Iii           Nathaniel Blankenship                Nathaniel F Harrison Jr
1414 Capstan Dr                        1095 Washington Heights Place        6240 Willow Grove
Allen, TX 75013                        El Cajon, CA 92020                   Baton Rouge, LA 70812




Nathaniel Hill                         Nathaniel Re Anna Bell               National Association Of
6110 Ridgeway Dr                       202 Avondale St                      Division Order Analysts Nadoa
Houston, TX 77033                      Houston, TX 77006-3216               PO Box 2300
                                                                            Lees Summit, MO 64063




National Association Of AG             National Bank Trust Company          National Corporate Research Ltd
Karen Cordry                           48 N South Street                    10 East 40Th Street
750 First St N E Suite 1100            Wilmington, OH 45177                 10Th Floor
Washington, DC 20570                                                        New York, NY 10016




National Financi                       National Fire Protection Assoc       National Notary Association
Attn Peter Closs                       1 Batterymarch Park                  Attn Customer Service
200 Liberty Street                     Quincy, MA 02169                     Processing Center
New York City, NY 10281                                                     PO Box 541032
                                                                            Los Angeles, CA 90054



National Oil Well Varco Lp             National Oilwell Dht LP              National Oilwell Dht Lp
Rig Solutions Spares And Services      Now Drilling Intervention            Wells Fargo Bank
PO Box 201202                          Archie Nelson                        PO Box 201224
Dallas, TX 75320-1202                  11000 Richmond Ave Suite 400         Dallas, TX 75320-1224
                                       Houston, TX 77042



National Oilwell Varco L P             National Oilwell Varco L P           National Oilwell Varco Lp
Tuboscope Division                     The Well Site Services Division Of   Dba Martin Decker Totco
Legal Dept                             Steven Dickson                       PO Box 203793
7909 Parkwood Circle Dr                7909 Parkwood Circle Drive           Dallas, TX 75320-3793
Houston, TX 77036                      Houston, TX 77036
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National Oilwell Varco Lp               National Oilwell Varco Lp                 National Penn Bank
PO Box 200838                           PO Box 202631                             200 West Second Street
Dallas, TX 75320-0838                   Dallas, TX 75320                          Winston-Salem, NC 27101




National Registered Agents Inc          National Royalty Company Ltd              National Xp Company Ltd
PO Box 12432                            PO Box 25409                              PO Box 25202
Newark, NJ 07101-3532                   Dallas, TX 75225                          Dallas, TX 75225




Nationwide Services                     Nationwide Tank Pipe LLC                  Nationwide Tank Pipe LLC
PO Box 23099                            Sherri Fowler                             PO Box 2514
Ft Lauderdale, FL 33307-3099            3567 Ih 35 South                          San Antonio, TX 78299-2514
                                        New Braunfels, TX 78132




Natividad Lichtenberger                 Natixis                                   Natixis New York Branch
3294 County Road 406                    Bo Otc Commodity Derivatives              Solow Building Corporation
Freer, TX 78357                         40 Avenue Terroirs De France              1251 6th Ave
                                        Paris 75012                               New York, NY 10020
                                        France



Natriel Winzer Minor                    Natrona County Office Of                  Nattin Real Estate LLC
Nathaniel Winzer Natural Tutor          The County Treasurer                      2424 Ashland Ave
c/o Gustavia Winzer                     PO Box 2290                               Bossier City, LA 71111
14610 Hwy No 9                          Casper, WY 82601
Athens, LA 71003



Natural Gas Compression Systems Inc     Natural Gas Partners Foundation           Natural Gas Partners Foundation
2480 Aero Park Dr                       5221 N O Connor Blvd Ste 1100             5221 N Oconnor Blvd
Traverse City, MI 49686                 Irving, TX 75039-3788                     Suite 1100
                                                                                  Irving, TX 75039




Natural Gas Partners Ix Lp              Natural Gas Partners Viii Lp Ngp          Natural Gas Serv Group Inc
5221 N Oconnor Blvd                     5221 N Oconnor Blvd                       508 West Wall Street
Suite 1100                              Ste 1100                                  Suite 550
Irving, TX 75039                        Irving, TX 75039                          Midland, TX 79701




Natural Gas Services Group Inc          Natural Gas Society Of East Texas Ngset   Natural Interests LLC
508 W Wall Street Suite 550             PO Box 9571                               1555 Palm Beach Lakes Blvd
Midland, TX 79701                       Tyler, TX 75711                           Ste 406
                                                                                  West Palm Beach, FL 33401




Natylee Jo Glover                       Nauty Byrd Mayer                          Navarro Community Foundation
631 Dallas St                           5014 Ridgeview                            401 N 14Th Street
Gary, IN 46406                          Waco, TX 76710                            Corsicana, TX 751104509




Navarro County Clerk                    Navarro County Tax Office                 Navarro County Tax Office
300 W 3Rd Avenue Ste 101                300 W 3rd Ave 103                         Gail Smith Pcc Tax Assessor Collector
Corsicana, TX 75110                     Corsicana, TX 75110                       PO Box 1070
                                                                                  Corsicana, TX 75151
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Navasota Oilfield Services Inc           Navigate Energy Services LLC             Navy Army Community C U
Wesley Goodson                           19510 Oil Center Blvd                    2730 Rodd Field Road
5808 Fm 3455                             Houston, TX 77073-3355                   Corpus Christi, TX 78414
Navasota, TX 77868




Navy Federal Credit Union                Nbc Oklahoma                             Nbc Property Management
PO Box 3000                              2800 NW Grand Blvd                       315 Marcia Street
Merrifield, VA 22119                     Oklahoma City, OK 73116                  Mansfield, LA 71052




Nbi Properties Inc                       Nbr Sand LLC                             Nbt Bank
PO Box 4470                              PO Box 6641                              PO Box 351
Tulsa, OK 74159                          Tyler, TX 75711                          Norwich, NY 13815




NC Department Of State Treasurer         Ncompliance Services Inc                 Ncra
3200 Atlantic Ave Ste 100                19 Nw 101st Place                        2000 South Main
Raleigh, NC 27604-1699                   Kansas City, MO 64155                    Mcpherson, KS 67460




Nd North Dakota                          Nd Williams Services Inc                 Ndt Systems Services
Unclaimed Property Division              PO Box 899                               PO Box 975342
1707 North 9Th Street                    Tatum, TX 75691                          Dallas, TX 75397-5342
Bismarck, ND 58501




Ndwilliams Services Inc                  Neal Baremore Estate                     Neal Bolton Life Estate
PO Box 899                               Florence Baremore Executrix              124 West Neal Street
Tatum, TX 75691                          560 Longleaf Rd                          Carthage, TX 75633
                                         Shreveport, LA 71106




Neal Clement                             Neal Crowell                             Neal D Cannon Jr
1650 Lelia Drive                         43 Wappoo Creek Place                    6363 Woodway Ste 902
Suite 101                                Charleston, SC 29412                     Houston, TX 77057
Jackson, MS 39216




Neal Hamilton                            Neal Leo Ruffino Gena Pecoraro Ruffino   Neal Raybon Purcell
2610 River Lilly Drive                   PO Box 25                                869 Elmdale Street
Kingwood, TX 77345                       Simsboro, LA 71275                       Shreveport, LA 71118




Nebraska State Treasurers Office         Neches Federal Credit Union              Neches Royalty Inc
Unclaimed Property Div                   776 Magnolia Ave                         121 S Broadway 555
PO Box 94788 Capitol Building            Port Neches, TX 77651                    Tyler, TX 75702
Lincoln, NE 68509




Ned E Murphy                             Ned I Yates Jr                           Ned R Daniels
116 Hickory                              3043 Maple Grove Ave                     173 Bridgewater Circle
Ruston, LA 71270                         Shreveport, LA 71106                     Midland, TX 79707
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Ned Sayford Thompson                   Nedra Jean Reed Williams               Nedra M Malone
PO Box 235                             c/o Land Plan Development Corp         4765 Rivoli Drive
Pollok, TX 75969                       5850 Granite Parkway                   Macon, GA 31210
                                       Plano, TX 75024




Neely Life Estate Jeanne Cook          Neil A Wright Jr                       Neil C Anthony
PO Box 2643                            PO Box 3088                            3590 Sneath Ln
Longview, TX 75606                     St Francisville, LA 70775              San Bruno, CA 94066




Neil E Hanson                          Neil E Hanson Estate                   Neil Leibman
6363 Woodway Ste 600                   c/o Barbara A Hanson Executr           800 Bering Dr Suite 250
Houston, TX 77057                      10063 Park Trail                       Houston, TX 77057
                                       Houston, TX 77024




Neil M Wood                            Neil West                              Neill Smith Kirkland Jr
PO Box 99130                           2218 Country Club Drive                164 Audubon Trl
Lubbock, TX 79499                      Pearland, TX 77581                     Ruston, LA 71270




Neilson Davis Davis Properti Trst      Neilson Davis 2011 Trust               Nel Wheless Kirkwood
John Griffin Trustee                   Neilson Davis Trustee                  112 Carrie Rd
PO Box 1805                            PO Box 1805                            Hattiesburg, MS 39402
Center, TX 75935                       Center, TX 75935




Nelda B Groff                          Nelda C W Martin Billy Gordon Martin   Nelda C W Martin Seperate Property
2309 9Th Street                        2201 Chantilly Drive                   2201 Chantilly Dr
Port Neches, TX 77651                  Ruston, LA 71270                       Ruston, LA 71270




Nelda Cox                              Nelda Danette Compton Hedrick          Nelda Donette Wilson Smith
738 University                         PO Box 3504                            1421 Miami Drive
Carthage, TX 75633                     Kilgore, TX 75663                      Longview, TX 75601




Nelda Elizabeth Roach Childs           Nelda J Fallwell                       Nelda Jane Gray
5131 Ranch Cedar Road                  1901 Eastfield                         157 Cr 128
Midlothian, TX 76065                   Richardson, TX 75081                   Gary, TX 75643




Nelda Jean Clark                       Nelda Jean Rudd                        Nelda Jo Mccomack
Rt 4 Box 410                           750 S 16Th                             Timothy Mccomack Poa And
Carthage, TX 75633                     Slaton, TX 79364                       Martin Paul Mccomack 2nd Poa
                                                                              5416 Boxelder Drive
                                                                              Arlington, TX 76018



Nelda Josefina Shell                   Nelda Joyce Walls                      Nelda Lou Pilgreen
7318 80Th St                           18703 Rosebud Lane                     333 Lee Dr
Lubbock, TX 79424                      Tomball, TX 77377                      Apt 108
                                                                              Baton Rouge, LA 70714
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Nelda Lynn Lee Staton                   Nelda Parks                             Nelda Porter Braly
210 Apple Blossom Circle                PO Box 54                               172 Falconwood Drive
Brandon, MS 39047-7691                  Chandler, TX 75758-0054                 San Marcos, TX 78666




Nelda Ruth Sims Thurmond Le Widow       Nelda Y Williams                        Nell Campbell Davis
Of Chas H Thurmond Jr                   40 Broadmoor Ave                        580 Highway 545
John Thurmond Poa                       Colorado Springs, CO 809063640          Dubach, LA 71235
6218 Redwood Bridge Trail
Kingwood, TX 77345



Nell Carroll Turner Colvin              Nell Elizabeth Justice                  Nell K Thurmon
1214 Highway 544                        2923 East Avenue R11                    2222 Cooktown Rd
Ruston, LA 71270                        Palmdale, CA 93550                      Ruston, LA 71270




Nell Mcgarr Trust                       Nell New                                Nell P Compton
PO Box 391                              704 E Palmetto Ave                      22 Eden Drive
San Angelo, TX 76902                    Plain Dealing, LA 71064                 Kilgore, TX 75662




Nell Polley                             Nell Robinson And James Robinson Jr     Nell Ruth Noah Kline
1946 Southview Circle                   1144 C R 3150                           3319 Hyacinth Ave
Center, TX 75935                        Deberry, TX 75639                       Baton Rouge, LA 70808




Nell Slack Bice                         Nell W Carnahan                         Nella Faye Williams Cooper
203 Perfect Pl                          7418 Cedar Bluff Ct                     1406 Robin Street
Bossier City, LA 71111                  Prospect, KY 40059                      Ruston, LA 71270




Nella Johnson Saldana                   Nellan Maurice Doss Separate Property   Nellie B Allums
14040 Mint Trail                        868 Hwy 152                             215 S Rawls
San Antonio, TX 78232                   Dubach, LA 71235                        Carthage, TX 75633




Nellie Burks Dunn                       Nellie Fitzpatrick                      Nellie Foo
475 Hwy 3074                            4371 Talley Rd                          200 Cedar Knolls Rd
Ruston, LA 71270                        Longview, TX 75602                      Corporate Actions
                                                                                Whippany, NJ 07981




Nellie Green Mckneely Usufruct          Nellie Hawk Taylor                      Nellie L Bramlette
928 Lale Dr                             PO Box 311                              1111 Lipscomb Drive
Niceville, FL 32578                     Sibley, LA 71073                        Nashville, TN 372044121




Nellie Lewis Brown                      Nellie M Dunn                           Nellie M Green Mckneely Ind
c/o Bettye R Jones                      6111 Singing Hills Dr                   928 Lake Dr
PO Box 1746                             Dallas, TX 75241                        Niceville, FL 32578
Hodge, LA 71247
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Nellie May Hill                        Nellie Rose Venable             Nellie S Ambrose Emory R Ambrose
131 Dunn Rd                            19324 La Serena Dr              c/o Argent Property Services
Ruston, LA 71270                       Fort Meyers, FL 33967           PO Box 1410
                                                                       Ruston, LA 71273-1410




Nellie S Skinner                       Nellie Sue Keen                 Nellie Sylestine Life Estate Interest
221 S Amburn                           2739 North Larkspur Circle      668 Chief Kina Rd
Texas City, TX 77591                   Pearland, TX 77584              Livingston, TX 77351




Nellie Turner                          Nellie W Lowery                 Nellieb Boon
1003 N Culver                          307 Quachita Dr                 Individually As Co Trustee Of
Gladewater, TX 75647                   West Monroe, LA 71291           The Nellie B Boone Trust
                                                                       PO Box 8
                                                                       Laneville, TX 75667



Nelson Bunker Hunt Trust A             Nelson Bunker Hunt Trust B      Nelson Energy Inc
1601 Elm Street Suite 3650             5910 N Central Expressway       401 Edwards Street Suite 1500
Dallas, TX 75201                       Ste 1350                        Shreveport, LA 71101
                                       Dallas, TX 75206-5125




Nelson Everette Tiemann                Nelson Galatas                  Nelson H Newman Iii Ttee
PO Box 366                             Address Redacted                Levasheff Living Trust
Yorktown, TX 78164                                                     PO Box 20551
                                                                       Oklahoma City, OK 73156




Nelson Jones Celestine                 Nelvin Marvin Goree             Nelwyn A Penley
545 Fm 2500                            4178 Papillion Way              5455 La Sierra Dr
Livingston, TX 77351                   Stockton, CA 95206              Apt 604
                                                                       Dallas, TX 75231




Nelwyn Ann Mohrmann                    Nelwyn Ann OBanion Birch        Nelwyn Bates Preston Porter
3202 Foothills Trail                   104 Windy Hills Lane            2206 Raspberry Lane
Round Rock, TX 78681                   Monticello, AR 71655            Pasadena, TX 75502




Nelwyn Bell Griffin                    Nelwyn E Thompson Wemple        Nelwyn Hamilton Adams Indiv And
2072 Highway 822                       PO Box 297                      A I F James R Adams Wil
Ruston, LA 71270                       Benton, LA 71006                770 Hamilton Road
                                                                       Mansfield, LA 71052




Nelwyn Lewis Matthews Trust            Nelwyn Louise Wright Sims Est   Nelwyn M Ables
Samusl Freeman Lewis Jr                Joyce Walters Administrator     2511 Fm 1462 Rd
David Wynn Lewis Trustees              2645 Dixiana Street             Alvin, TX 77511
143 Windfair Loop                      Dallas, TX 75234
Montgomery, TX 77316



Nelwyn O Glover Test Trust             Nelwyn P Ross                   Nelwyn Whitley Hawkins
Matt Owings Iii Trustee                3417 Tavistock Dr               511 Tenaha St
205 Erskine                            Austin, TX 787483029            Center, TX 75935
Longview, TX 75601
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Nemmie Ann Taylor Connell            Nena Courtney Flournoy           Neoma OKelly OBrien
5618 Haywood Dr                      804 Oneota St                    812 Braeburn Dr
Keithville, LA 71047                 Shreveport, LA 71106             Ft Washington, MD 20744




Neomia Roberson Daniel               Neopost Usa Inc                  Neosha Marque Beach
619 Reese Road                       25880 Network Place              PO Box 705
Arcadia, LA 71001                    Chicago, IL 60673-1258           Spring Town, TX 76082




Neosha T Anglin Est                  Neptune Electronics Inc          Nerd Gas Company LLC
c/o Elizabeth H Anglin               925 N Pacific Ave                PO Box 3003
PO Box 640                           San Pedro, CA 90731              Casper, WY 82602
Fairview, NC 287300640




Nerd Royalties LLC                   Nereid Management LLC            Nesbitt Lance
2250 Newport                         Attn Arthur G Mcaleer            5918 State Highway 154
Casper, WY 82609                     39 Deertrees Lane                Marshall, TX 75670
                                     Newfields, NH 03856




Nesbitt Vance G                      Neta Milton Young                Netherland Sewell Associates Inc
2640 Green St Unit 1                 511 Dogwood Ave                  2100 Ross Avenue
San Francisco, CA 94123              Livingston, TX 77351             Suite 2200
                                                                      Dallas, TX 75201




Nettie A Swindell                    Nettie B Johnson                 Nettie Blaisdell
242 County Road 612                  c/o Texas State Treasurer        1138 Bayshore Dr
Nacogdoches, TX 75964                Unclaimed Property Division P    Rockwall, TX 75087
                                     PO Box 12019
                                     Austin, TX 78711-2019



Nettie Bleer Estate                  Nettie Darlene Tolbert           Nettie E Risinger Blackwelder
Coy Bleer Executor                   1292 Pine Groves Road            1546 Gordon Drive
305 East Maple Street                Corrigan, TX 75939               Ruston, LA 71270
White Oak, TX 756931815




Nettie Faye Bell                     Nettie Hazel Covington Cochran   Nettie Linvel
PO Box 1076                          2001 Sunshine Sq                 302 S Green Street
Kaufman, TX 75142-5400               Longview, TX 75601               Hallsville, TX 75650




Nettie M Williams                    Nettie V Mccullin Martin         Nettigene Williams Hewett
1220 Cr 236 E                        Nicky Mccullin Poa               9 S Yates Rd
Henderson, TX 75652                  254 Davis Road                   Memphis, TN 38120
                                     Ringgold, LA 71068




Network Technology Services          Netwrix Corporation              Neuberger Berman Fixed Income LLC
16100 Garfield Ave Sute E            1460 Manning Parkway             1290 Avenue of the Americas
Paramount, CA 90723                  Powell, OH 43065                 New York, NY 10104
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Neuhoff Taylor Royalty Company         Neukat Resources LLC               Neumin Oil Gas LLC
PO Box 9                               3083 Sackett St                    PO Box 769
Aledo, TX 76008                        Houston, TX 77098                  Point Comfort, TX 77978




Neuralog Lp                            Neva Geralding Plum                Neva Jean Green Foshee Sp
4800 Sugar Grove Boulevard             5420 Carmelynn                     256 Cr 3344
Suite 200                              Torrance, CA 90503                 Joaquin, TX 75954
Stafford, TX 77477




Neva L Castille                        Neva Lou Castille                  Neva N Beckworth
118 Broadmoor St                       Charlie Fountain Poa               1264 Revere Street
Meadowlakes, TX 78654                  118 Broadmoor St                   Aurora, CO 80011
                                       Meadowlakes, TX 78654-6602




Nevada Dept Of Taxation                Nevada Dept Of Taxation            Nevada Dept Of Taxation
Business License Renewal               PO Box 52609                       State Of Nevada Sales/Use
PO Box 52614                           Phoenix, AZ 85072-2609             PO Box 52609
Phoenix, AZ 85072-2614                                                    Phoenix, AZ 85072-2609




Nevada Jenson Hill                     Nevada State Bank                  Nevelyn M Tippit
PO Box 252                             750 E Warm Springs Rd              PO Box 302
Grambling, LA 71245                    Las Vegas, NV 89119                Lowell, AR 72745




Nevonda Davidson Chapman               New Atlantic Trust                 New Beginning Resources Inc
15603 Mccearley Dr                     PO Box 110                         PO Box 509
Cypress, TX 77429-2117                 Porter, TX 77365                   Porter, TX 77365




New Bethel Cme Church Of Rusk County   New Daughters Of Zion Missionary   New First National Bank
C/O Community Cme Church               Baptist Church Inc                 PO Box 470
320 County Road 102 W                  108 Andy Grant Street              El Campo, TX 77437
Henderson, TX 75652                    West Monroe, LA 71294




New Haven Cerf                         New Liberty Hill Baptist Church    New London Contractors Inc
c/o First State Trust Co               10406 Hwy 151                      PO Box 228
As Custodian                           Dubach, LA 71235                   New London, TX 75682
200 Orange St 4Th Fl
New Haven, CT 06510-2016



New Mexico Bank And Trust              New Mexico State Land Office       New Mexico Taxation Revenue Dept
320 Gold Street S W                    310 Old Santa Fe Trail             1100 South St Francis Drive
Albuqurque, NM 87102                   Santa Fe, NM 87501                 Santa Fe, NM 87504




New Mexico Taxation Revenue Dept       New Mexico Taxation Revenue Dept   New Mexico Taxation Revenue Dept
Oil Gas Bureau                         Oil Gas Bureau                     PO Box 25127
1100 South St Francis Drive            PO Box 2308                        Santa Fe, NM 87504-5127
Santa Fe, NM 87504                     Santa Fe, NM 87504-2308
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New Prosperity Baptist Church         New Source Energy Partners L P         New Tech Engineering Lp
c/o Mrs Mardean Fields                300 Delaware Ave Ste 1100              New Tech Global Ventures Llc
298 Brooks Loop                       Wilmington, DE 19801-1670              PO Box 4724 Msc 800
Castor, LA 71016-4032                                                        Houston, TX 77210




New Tech Global Environmental LLC     New Tech Global Ventures LLC           New Tech Verification Services
Deborah Carr                          Amanada Howell                         1030 Reginal Park Dr
PO Box 4976 Msc 200                   1030 Regional Park Drive               Houston, TX 77060
Houston, TX 77210                     Houston, TX 77060




New York Crude                        New York Curde Orri                    Newalta Environmental Services Inc
One North End Ave Suite 1301          Richard Buccellato                     950 N Hwy 174 PO Box 770
New York, NY 10282                    One North End Ave Suite 1301           Rio Vista, TX 76093
                                      New York, NY 10282




Newark Element14                      Newbridge Bank                         Newby Foresee Tst 7000047400
PO Box 94151                          701 Green Valley Rd Ste 101            Bank One Trust Company Na Ttee
Palatine, IL 60094-4151               Greensboro, NC 27408-7096              PO Box 99084 Tx1 1315
                                                                             Fort Worth, TX 76199




Newfield Exploration Company          Newhouse Noblin LLC                    Newkumet Exploration Inc
4 Water Square Place Suite 100        Attn Russell Newhouse                  PO Box 11330
The Woodlands, TX 77380               3838 Oak Lawn Avenue Ste 999           Midland, TX 79702
                                      Dallas, TX 75219




Newlyn C Howard Est                   Newman E Mcallister                    Newman Lowell
Gay C H Wheeler Execx 4501            PO Box 576                             1 Knotty Pine Place
Fairfax                               Cascade, CO 80809                      Texarkana, TX 75503
Dallas, TX 75205




Newman Operating Company Inc          Newman S Attaway Jr                    NewmanS Oilfield Services Inc
PO Box 448                            153 Roberson Road                      PO Box 2860
Freer, TX 78357                       Simsboro, LA 71275                     Kilgore, TX 75663-2860




Newpark Drilling Fluids LLC           Newpark Drilling Fluids LLC            Newpark Environmental Services LLC
21920 Merchants Way                   PO Box 973167                          Brooksie Thibodeaux
Katy, TX 77449-6834                   Dallas, TX 75397-3167                  207 Town Center Parkway 2nd Floor
                                                                             Lafayette, LA 70506




Newpark Environmental Svcs LLC        Newpark Mats Integrated Services LLC   Newport Coast Securities Inc
PO Box 62600                          PO Box 62600 Dept 4002                 18872 Macarthur 1st Floor
Dept 1089                             New Orleans, LA 70162-2600             Irvine, CA 92612
New Orleans, LA 70162-2600




Newport Global Advisors Lp            Newt Brown Contractor LLC              Newtech Resources
21 Waterway Ave 150                   5626 Highway 528                       20252 Seashell Cir
Spring, TX 77380                      Minden, LA 71055                       Huntington Beach, CA 92646-4436
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Newton B Derby And                      Newton Ersell Temple Jr         Newton Financial Corporation
Violet W Derby Ttees                    5245 Highway 191                100 West Houston Street
N And V Derby Trust                     Mansfield, LA 71052             Ste 1500
11011 Fm 830                                                            San Antonio, TX 78205
Willis, TX 77318-5690



Newton Jones Spaeth                     Newton W Dorsett                Nexen Petroleum Usa Inc
3405 Marquart St                        220 Travis St Ste 501           945 Bunker Hill Rd
Houston, TX 77027                       Shreveport, LA 71166            Suite 1400
                                                                        Houston, TX 77024




Next Generation Construction            Nexus Gas Partners LLC          Nez Resources Inc
Environmental LLC                       1700 Pacific Ave Ste 2900       510 Bering Dr Suite 240
14313 Mead St                           Dallas, TX 75201-4666           Houston, TX 77057
Longmont, CO 80504




Nez Resources Inc                       Nfib                            Nfpa
PO Box 275                              National Federation Of          PO Box 9689
Henderson, TX 75653-0275                Independent Business            Manchester, NH 03108-9689
                                        53 Century Blvd Ste 250
                                        Nashville, TN 37214



Nfr East Texas Basin LLC                Nfr Energy LLC                  Nge Techs LLC
1415 Louisiana St Ste 1600              1415 Louisiana St Suite 1600    Joanie Edgar
Houston, TX 77002                       Houston, TX 77002               PO Box 1463
                                                                        Beaux Bridge, LA 70517




Ngl Supply Co Ltd                       Ngl Water Solutions Dj LLC      Ngp Energy Capital Management LLC
720 S Colorado Blvd Ste 720N            Attn Treasury                   5221 N Oconnor Blvd Suite 1100
Denver, CO 80246                        3773 Cherry Creek N Dr          Irving, TX 75039
                                        Ste 1000
                                        Denver, CO 80209



Ngp Income Co Investment                Ngset                           Nguyen Thy A
5221 N OConnor Blvd                     Golf Tournament                 Address Redacted
Suite 1100                              PO Box 9571
Irving, TX 75039                        Tyler, TX 75711




Nguyen Trang D                          NH Treasury Department          Nhouse LLC
Address Redacted                        Abandoned Property Division     PO Box 965
                                        25 Capital Street Room 205      Henderson, TX 75653
                                        State House Annex
                                        Concord, NH 03301



Nibletts Oilfield Srvcs Inc             Niccie Johnson                  Nicey Bennett Griffin
PO Box 910                              736 Wesley Ave                  6734 South Perry
Eldorado, TX 76936                      Shreveport, LA 71107            Chicago, IL 60621




Nichele Guiton Kinlow                   Nicholas Blake Couch            Nicholas Consulting Group Inc
632 N Hollywood Way                     6215 South Galena Way           600 N Marienfeld Suite 390
201                                     Englewood, CO 80111             Midland, TX 79701
Burbank, CA 91505
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Nicholas E Nguyen                       Nicholas E Pater                     Nicholas Edmund Mcinerny
Address Redacted                        1160 Eagle Rock Rd                   PO Box 2134
                                        Colorado Springs, CO 80918           Oceanside, CA 92051




Nicholas Eldridge                       Nicholas Energy Investments Inc      Nicholas Freydberg 1986 Trust
Address Redacted                        2917 Collins Blvd                    Samuel Sloan Ttee
                                        Garland, TX 750443715                45 Camino San Cristobal
                                                                             Galisteo, NM 87540




Nicholas H Wheless Jr                   Nicholas Jean Hall Fam Trust         Nicholas Mathis Birchum
333 Texas St                            6234 Rue Sophie                      4545 Lbj Freeway
Suite 890                               San Antonio, TX 78238                Dallas, TX 75244
Shreveport, LA 71101




Nicholas P Mayo Dgt Tr Dtd 02 01 2011   Nicholas R Henderson Iii Rev Trust   Nicholas S Hall Jr Jean W Hall
William N Mayo Ttee                     Nicholas R Henderson Iii Ttee        The N J Hall Family Trust
278 West San Antonio St                 14 Chipping Green Drive              6234 Rue Sophie
New Braunfels, TX 78130                 Arden, NC 28704                      San Antonio, TX 78238




Nicholas Van Campen Taylor              Nichole Blair                        Nichols David R
Vananne Llc                             653 Morva Ct                         Address Redacted
2727 Lbj Freeway Suite 600              Hayward, CA 94541
Dallas, TX 75234




Nichols Liv Tr                          Nichols Oil Co                       Nichols Trucking Inc
Diana Nichols Succ Ttee                 PO Box 3029                          PO Box 912
14 Cat Brier Ln                         Denver, CO 80201                     Holiday, TX 76366
Hilton Head Isl, SC 29926




Nicholson Contractors LLC               Nick D Taylor Estate                 Nick Pollard
5910 Victory Dr                         Deceased                             2213 Kingsmill Cir
Marshall, TX 75670                      15202 Old Creek                      Tyler, TX 75703-5813
                                        Houston, TX 77060




Nickerson K W                           Nicklos Oil And Gas Company          Nickolas Hill
10780 Hanson St                         c/o Wildhorse Resources Llc          Louise Kohlbeck Custodian
PO Box 99                               950 Echo Lane                        3200 Amanda Dr
Johannesburg, MI 49751                  Suite 200                            Dayton, OH 45406
                                        Houston, TX 77024



Nicky Mccullin                          Nico Resources LLC                   Nicol Partnership
1431 Mccullin Road                      1490 W Canal Court Suite 3000        5895 Fig Ct
Dubach, LA 71235                        Littleton, CO 80120                  Arvada, CO 80004




Nicol Properties                        Nicolas A Baucum                     Nicolas Jr Lichtenberger
5895 Fig Ct                             PO Box 1224                          PO Box 1094
Arvada, CO 80004                        Marco Island, FL 34146               Freer, TX 78357
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Nicolas Rocca                          Nicole Brown Bodenheimer        Nicole Dennard Hammond
Address Redacted                       4303 Thislebrook Ln             64 Prairie Street
                                       Longview, TX 75604-0622         Concord, MA 01742




Nicole Harris                          Nicole L Pryor Allen            Niel Brown Traylor Sara Ritter Traylor
7621 Lisa Court                        6824 Margaret Dr                1630 Pollard Parkway
Fort Worth, TX 76112                   Ft Worth, TX 76140              Baton Rouge, LA 70808




Nielsen Childrens Tr                   Nieto Sons Trucking             Nighthawk Oilfield Services Ltd
Agency Acct                            PO Box 760                      7880 San Felipe
Jpmorgan Chase Bank Na Ttee            Yorba Linda, CA 92885-0760      Ste 207
Drawer 99084                                                           Houston, TX 77063
Fort Worth, TX 76199



Nikenya Cherie Atkins                  Niki Cole Gardner               Nikia Wilder
4855 Airline Dr Apt 17                 811 N 900 Rd                    7718 Fluroy Road
Bossier City, LA 71111                 Lawrence, KS 66047              Houston, TX 77016




Nikki Lynn Dye Martinez                Nila Rushell Overstreet         Niland Cheston K
1597 W State Route 366                 1611 Redwood Drive              Address Redacted
Safford, AZ 85546-7720                 Corinth, TX 76210




Niles Heath Miller And                 Nina Benaszeski Specht          Nina C Robinson
Ramona Robbins Miller                  111 E Kilbourn Ave              3124 S Us Highway 79
134 Wildrose Ln                        Milwaukee, WI 53202-6672        Carthage, TX 75633-6560
Bozeman, MT 59715




Nina Colvin                            Nina Genice Deloney             Nina Jane Martin Everett
715 S Oakland                          2837 62nd Ave                   2110 Lee Place
Tyler, TX 75701                        Oakland, CA 94605               Memphis, TN 38104




Nina Jean Macy                         Nina Jo Findley                 Nina Kay Williams Pace
1505 Lafitte Cove                      PO Box 869                      1171 Vintage Dr
Shreveport, LA 71105-5403              Tatum, TX 75691                 Elkton, OR 97436




Nina Knighton Neilson Little           Nina L Miller                   Nina Lynn Smith
1470 Akers Ct                          146 County Road 228             1728 Us Highway 79S
Erie, CO 80516                         Carthage, TX 75633              Carthage, TX 75633




Nina Mae Williams Estate               Nina Maria Herrmann             Nina Neal Dewitz Trust
PO Box 1312                            21634 Live Oaks Spring Drive    T/U/W J R Neal
San Angelo, TX 76902                   Katy, TX 77450-5353             c/o Encore Trust Bin 29455
                                                                       PO Box 29426
                                                                       Phoenix, AZ 850389426
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Nina R Borders                          Nina R Smith                    Nina Wardlaw Angelo
4128 N Belt Line Rd Apt 238             7506 County Road 448D           c/o Kathy Selgrath
Irving, TX 75038-5078                   Laneville, TX 75667-9679        2551 E Shannon St
                                                                        Gilbert, AZ 85295




Nine Forks LLC                          Nirvana Minerals Lp             Nita Bennett Brady
416 Travis St Ste 812                   Attn Robert W Norman            12900 Cr 2127 N Lot 4
Shreveport, LA 71101                    PO Box 25508                    Henderson, TX 75652
                                        Dallas, TX 75225




Nita Calhoun Smith Deceased             Nita Deloach Lide Est           Nita Deloach Lide Estate
602 Lincoln                             Curtis B Hasty Iii Exec         Curtis B Hasty Iii Executor
Mansfield, LA 71052                     435 Crystal Lake Dr             435 Crystal Lake Dr
                                        Sterrett, AL 35147              Sterrett, AL 35147




Nita Elise Chambless                    Nita F Salsbury Fuller Moreau   Nita Greer Velarde
1515 Logan Circle                       847 Mobile Court                1302 Waugh Dr 294
Cumming, GA 30041-8679                  Shreveport, LA 71115            Houston, TX 77019




Nita J Thomas                           Nita Jean Miller                Nita Lathrop Mitchell Estate
PO Box 37                               2730 Lafamo Rd                  Dr Jere Mitchell Executor
Prague, OK 74864                        Longview, TX 75604              PO Box 7158
                                                                        Longview, TX 75607




Nita Lewis Wallace                      Nita Price Nash                 Nita Sue Coker Mcclendon
2340 Charles Ave                        Box 26                          101 County Road 227
Burleson, TX 76028                      Logansport, LA 71049            Three Rivers, TX 78071




Nitro Energy LLC                        Nitro Lift Technologies LLC     Nivens Katrina Ann
150 Pintail St                          8980 Highway 1 S                Address Redacted
St Rose, LA 77087                       Mill Creek, OK 74856-5563




Nivens William T                        Nix 2002 Trust Dtd 4/5/02       Nix Electric Co Inc
Address Redacted                        Robin Kay Nix                   720 Loop 289 Se
                                        3322 West Ohio                  Lubbock, TX 79404
                                        Midland, TX 79703




Nixon Egli Equipment Co                 Nixon Engineering Solutions     Nixon Properties
PO Box 511262                           401 Hamilton Road               12510 Wm Dowdell Dr
Los Angeles, CA 90051-7817              Ste 120                         Cypress, TX 77429
                                        Bossier City, LA 71111




NJ Dept Of The Treasury                 NJ Dept Of The Treasury         NJ Oilfield Supply And Service LLC
Unclaimed Property                      Unclaimed Property              1401 Hazel St
Attention Report Section                Attn Report Section             Arcadia, LA 71001
PO Box 214                              50 Barrack St 6Th Flr
Trenton, NJ 08695-0214                  Trenton, NJ 08695-0214
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Njb Inc                                   Nkechi Odum Kalu                    Nlb Corp
c/o Benny F Cox                           Address Redacted                    29830 Beck Road
451 N Washington                                                              Wixom, MI 48393
El Dorado, AR 71730




Nls LLC                                   NM Commissioner Of Public Lands     NM Oil Conservation Division Energy
258 Hillcrest Road                        310 Old Santa Fe Trail              Minerals And Natural Resources Dept
Santa Rosa, FL 32459-4129                 Santa Fe, NM 87504-1148             Attn Denise A Gallegos
                                                                              1220 South St Francis Drive
                                                                              Santa Fe, NM 87505



NN Holdings LLC                           Nng Financial Corporation           Nnip Advisors
PO Box 308                                220 Nw 2 Ave                        Schenkkade 65
Fairfield, ID 83327                       Portland, OR 97209                  Postbus 90470
                                                                              2509 LL Den Haag
                                                                              The Netherlands



No 2 The Foree Trusts                     No Rush Charge Enterprise           No3 The Foree Trust
Sterling Plaza Suite 1445                 301 East Ocean Blvd                 Attn Mr Rl Foree Jr
5949 Sherry Lane L B 57                   Long Beach, CA 90802                Sterling Plaza Suite 1445
Dallas, TX 75225                                                              5949 Sherry Lane L B 57
                                                                              Dallas, TX 75225



Noah L Edwards                            Noah Timothy Dunn                   Noble Casing Inc
Address Redacted                          116 Trowbridge Pl                   1708 47Th Street West
                                          Naugatuck, CT 06770-3937            Williston, ND 58801




Noble Energy                              Noble Energy Inc                    Noble Energy Inc
1001 Noble Energy Way                     Attn Cathey Chaney                  Attn J Michael Brown
Houston, TX 77070-1435                    PO Box 909                          100 Glenborough Drive Suite 100
                                          Denver, CO 80202                    Houston, TX 77067




Noble Energy Inc                          Noble Energy Inc                    Noble Hugh Midkiff
Attn Scott Nance                          PO Box 910083                       901 Camille Dr
1001 Noble Energy Way                     Dallas, TX 75391                    Longview, TX 75605
Houston, TX 77070




Noble Industrial Supply Corp              Noble Royalties                     Noble Royalties
PO Box 148                                Access Fund Vii Lp                  Access Fund Viii Lp
Mineola, NY 11501-0148                    PO Box 660082                       PO Box 660082
                                          Dallas, TX 75266                    Dallas, TX 75266




Noble Royalties Access Fund Iii Lp        Noble Royalties Access Fund Iv Lp   Noble Royalties Access Fund V Lp
15303 N Dallas Pkwy Ste 1350              PO Box 660082                       PO Box 660082
Addison, TX 75001                         Dallas, TX 75266                    Dallas, TX 75266




Noble Royalties Access Fund Vi Lp         Noble Royalties Inc                 Noble Royalties Inc
PO Box 660082                             D/B/A Brown Drake Llc               D/B/A Crestone Royalties LLC
Dallas, TX 75266                          PO Box 660082                       PO Box 660082
                                          Dallas, TX 75266                    Dallas, TX 75266-0082
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Noble Royalty Access Fnd Ix Lp        Noble Royalty Access Fun 12 Lp      Noble Royalty Access Fun 12 Lp
PO Box 660082                         15303 Dallas Pkwy Ste 1350          PO Box 660082
Dallas, TX 75266                      Addison, TX 75001-6701              Dallas, TX 75266-0082




Noble Royalty Access Fun 13 Lp        Noble Royalty Access Fun 13 Lp      Noble Royalty Access Fund 15 Lp
15303 Dallas Pkwy Ste 1350            PO Box 660082                       PO Box 660082
Addison, TX 75001-6701                Dallas, TX 75266-0082               Dallas, TX 75266




Noble Royalty Access Fund Vii Lp      Noble Royalty Access Fund Viii Lp   Noble Royalty Access Fund X Lp
15303 N Dallas Pkwy Ste 1350          15303 N Dallas Pkwy Ste 1350        PO Box 660082
Addison, TX 75001                     Addison, TX 75001                   Dallas, TX 75266-0082




Noble Royalty Access Fund Xi Lp       Noble Ruth Ross                     Nobles Homestead LLC
PO Box 660082                         184 Cr 1010                         6800 Homewood Dr
Dallas, TX 75266-0082                 Center, TX 75935                    Chapel Hill, NC 27514




Nobles Terry Properties LLC           Nobsters Hotshot                    Nocona Hot Oil Co
2301 Bocage                           2741 E Pearl Ave                    800 Fm 1815
Ruston, LA 71270                      Odessa, TX 79761                    Nocona, TX 76255




Nodie West Wife Of King West          Nodnal Partners Lp                  Noe Alaniz Jr
Route 4 Box 212                       Landon Connie Curry Liv Tr          Address Redacted
Homer, LA 71040                       1113 Mission Ridge
                                      Austin, TX 78704




Noehren Irrevocable Trust             Noel Charles Noble                  Noel Darwin Willis
Fbo Arthur H Noehren 3 18 97          Charles Schwab Co Inc Cust          5646 North Heatherstone Dr
17757 Del Paso Dr                     12402 Stafford Spring Dr            Shreveport, LA 71129
Poway, CA 92064                       Houston, TX 77077




Noel Diane Jones                      Noel E Daniels Jr                   Noel E Fielder And Jeannette
510 E Grand                           314 E Las Flores Drive              Fielder Rev Lvg Tst Dtd 5/2/6
Marshall, TX 75670                    Altadena, CA 91001                  Eugene O Fielder Suc Ttee
                                                                          9600 Winding Hollow
                                                                          Oklahoma City, OK 73151



Noel Estate LLC                       Noel Hudston Santiago May           Noel James
Shelby Smith Manager                  635 Beaver Bend Rd                  2601 Cypress Springs Ave
PO Box 65030                          Houston, TX 77037                   Ruston, LA 71270
Shreveport, LA 71136




Noel Jean Sanders Matthews            Noel Jones                          Nogie Lee Jones
871 Hwy 765                           4447 County Road 364 S              140 Bermuda
Logansport, LA 71049                  Henderson, TX 75654                 Blum, TX 76627
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Noi Mission                              Nola Gayle Fisher                    Nola Lee Nolley Walker Et Al
PO Box 200338                            702 Smith Street                     3737 Henry Street
Dallas, TX 75320-0338                    Dequincy, LA 70633                   Alexandria, LA 71302




Nola Russell Wheelis Crowell Carpenter   Nola Soil Services Inc               Nola Vivian Doebbler
413 Sharp Rd                             760 Highway 521                      PO Box 398
Eros, LA 71238                           Haynesville, LA 71038                George West, TX 78022




Nolan Cooper                             Nolan E Manziel                      Nolan J Hymon
PO Box 255                               PO Box 6005                          PO Box 688
Joaquin, TX 75954                        Tyler, TX 75711                      Grambling, LA 70069




Nolan L Smith                            Nolan Lynn Mackey                    Nolan Ray Sprayberry And Wife Pat
3700 Bill Owens Parkway                  4643 Aberdeen Street                 Rt 2 Box 58
Longview, TX 75605                       Lawton, OK 73501                     Henderson, TX 75652




Nolan Ryan                               Nolan Talbert                        Noland E Biglane
PO Box 5909                              Jones Talbert Agent                  PO Box 1087
Round Rock, TX 78683                     PO Box 145                           Natches, MS 39120
                                         Ringgold, LA 71068-0145




Nolbert Lewis Trexine Johnson Lewis      Nolen Ellen Cogswell                 Nolla Marietha Beasley
6007 Lancaster St                        PO Box 143                           1430 15Th Street
Houston, TX 77087                        Joaquin, TX 75954-0143               Oakland, CA 94804




Nolte 2007 Irrevocable Trust             Nomura Asset Management Taiwan Ltd   Non Typical Oilfield Services
PO Box 472                               30F No 7 Sec 5 Xinyi Road            Marty Davis
Longview, TX 75606                       Taipei 11049                         PO Box 1318
                                         Taiwan                               Carthage, TX 75633




Nona Dale Nash Terri Lois Clark Nash     Nona F Jacobs Estate                 Nona Jo Cason Clark
3924 Hwy 544                             Allen King Executor                  8573 Us Hwy 271 S
Simsboro, LA 71275                       2615 East Lakeshore Drive            Gilmer, TX 75645
                                         Baton Rouge, LA 70809




Nona Mae Trotta                          Nona Rea Frye Walker                 Nona Spence
1050 Bond Street                         5731 Menlo Dr                        6110 East Azalea Drive
Redding, CA 96002                        Baton Rouge, LA 70808-5046           Lake Charles, LA 70605




Noonday Royalty Co                       Nora Elizabeth Mcqueen               Nora Elizabeth Rogers Separate Property
PO Box 750186                            210 Nova Lee Lane                    400 East Tuttle
Houston, TX 77006                        Livingston, TX 77351                 White Oak, TX 75693
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Nora Katherine Link                    Nora Linda Martinez             Nora M Krakower
2236 Remington Square                  216 Sun Ray Loop                6750 Long Point
Billings, MT 59102                     Laredo, TX 78041                Houston, TX 77055




Nora Marie Inabnet Life Estate         Nora T Chase                    Nora Walker
1401 Mckeen Place Apt 201              506 Stonecroft Ct Se            3315 54Th Street
Monroe, LA 712014428                   Lenoir, NC 28645                Lubbock, TX 79413




Norco Inc                              Nordan Company                  Nordan Foundation
PO Box 413124                          Stephen M Little                C/O Nathan Nordan Hudson
Salt Lake City, UT 84141-3124          Appointed As Liquidator         PO Box 160892
                                       112 E Pecan Ste 1600            San Antonio, TX 78280
                                       San Antonio, TX 78205



Nordon Corporation                     Nordstrand Engineering Inc      Noreen G Saganski
PO Box 1415                            905 Kirby Dr                    198 Hawthorne Ave
Round Rock, TX 78680                   Houston, TX 77019               Springfield, NJ 07081




Nori F Latimer                         Noribachi Corporation           Norine Parks
1405 County Road 3173                  1515 240Th Street               625 Nw 120Th
Joaquin, TX 75954                      Harbor City, CA 90710           Oklahoma City, OK 73114




Norita M Wiegand                       Norm Solutions LLC              Norma A Hunt
5570 S Helena Dr                       PO Box 233                      PO Box 430290
Centinnial, CO 80015                   Crowley, TX 76036-0233          Laredo, TX 78043




Norma Alicia G De Ramirez              Norma Alicia Hunt               Norma Andrews Mcgann
Wells Fargo Acct 40 208 7              PO Box 430290                   c/o Texas State Treasury
1100 Matamoros                         Laredo, TX 78043                Unclaimed Property Division
Laredo, TX 78040                                                       PO Box 12019 Capitol Station
                                                                       Austin, TX 78711-2019



Norma C Halfmann                       Norma C Moore                   Norma Carlin
PO Box 145                             2202 Bermuda Dr                 5000 Cypresswood Dr Apt 154
Christoval, TX 76935                   Laredo, TX 78045                Spring, TX 77379-1503




Norma Consuelo Rodriquez               Norma Dean Davis Tyler          Norma Dyess
7026 Wurzbach Road                     24435 Village Walk Pl           100 Indian Trace
Apt 1003                               Apt B 206                       Waxahachie, TX 75165
San Antonio, TX 78240                  Murrieta, CA 92562




Norma F Gordon                         Norma Fay Ramsey                Norma Faye Terry
204 Gatley Street                      6126 Amerill Way Apt 208W       114 Golden Eagle Drive
West Monroe, LA 71292                  Dallas, TX 75225                Henderson, TX 75654
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Norma G Meador                            Norma Helaine Moore                     Norma J Rogers
c/o James Gardner Meador                  2202 Bermuda Dr                         5022 Guinevere Drive
749 Stone Mountain Dr                     Laredo, TX 78045                        San Antonio, TX 78218
Conroe, TX 77302




Norma Jackson Woodard                     Norma Jean Anderson                     Norma Jean Bates
5480 Jacinto Ave                          5828 Twin Oaks Drive                    957 Fm 2787
Sacramento, CA 95823                      Pace, FL 32571                          Joaquin, TX 75954




Norma Jean Crouch Wencel                  Norma Jean Lagrone Heaton Life Estate   Norma Jean Lloyd King
3957 Atkins Drive                         PO Box 272                              600 Wilcrest 6
Nashville, TN 37211                       Gary, TX 75643                          Houston, TX 77042




Norma Jean Quin                           Norma Jean Rudd                         Norma Kay Strother Merryman
4708 Boulder Run                          2187 State Hwy 7 W                      Norma Kay Merryman
Fort Worth, TX 76109                      Center, TX 75935                        4101 Copeland Road
                                                                                  Tyler, TX 75701




Norma L Culberson                         Norma L Wagner Deceased                 Norma Ledbetter Jabben
201 Sunnyview Ave                         3027 Hartsville Road                    100 Oakmont Circle
Friendswood, TX 77546-3813                Houston, TX 77051                       Benton, LA 71006




Norma Lichtenberger                       Norma Louise Elliott                    Norma M Shook
PO Box 727                                1301 Holland Lake Dr Apt 160            1810 Church St Apt 11
El Campo, TX 77437                        Weatherford, TX 76086-5849              Leighton, AL 35646-3823




Norma Marie Markey                        Norma Marie Markey Test Trust           Norma Markey Trust
Barbara M Crim A/I/F                      PO Box 2273                             Barbara Crim Trustee
PO Box 2273                               Henderson, TX 75653                     PO Box 2273
Henderson, TX 75563                                                               Henderson, TX 75653




Norma Mccune                              Norma Mcneal Peppers                    Norma Nelson Atkins
5455 Co Rd 401 S                          2331 Galway Rd                          2502 Sortor St
Henderson, TX 75654                       San Pablo, CA 94806                     Ruston, LA 71270




Norma Porter                              Norma Ruth Moore                        Norma Smith Goree
3663 Fairmont Pkwy 4306                   1412 Columbia Dr                        343 Avenida Cerca
Pasadena, TX 77504                        Longview, TX 75601-4313                 Palm Springs, CA 92262




Normalee Folsom Mackey Ford Life Estate   Normalee Ford Estate                    Norman A Williams And Doris Williams
10171 Union Grove Road                    PO Box 1712                             PO Box 827
Gladewater, TX 75647                      Georgetown, TX 78627-1712               Tatum, TX 75691
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Norman Albright                           Norman B Whitehead Jr           Norman Bonnie J Horowitz
5462 Pr 4221                              25159 Highway 442               1403 Creekview Drive
Gilmer, TX 75644                          Independence, LA 70443          Round Rock, TX 48861




Norman Bonnie J Horowitz                  Norman D Williams               Norman Dewayne Mabry
Revocable Living Trust                    PO Box 899                      3376 Woodland Rd
1403 Creekview Drive                      Tatum, TX 75691                 Longview, TX 75602
Round Rock, TX 78681




Norman E Robertson                        Norman Earl Hardin              Norman F Hunter
1220 4Th Avenue                           Rt 1 Box 94                     13136 Montgomery Ne
Asbury Park, NJ 07712                     Gary, TX 75643                  Albuquerque, NM 87111




Norman G Damon                            Norman G Preston Jr Trust       Norman Gene Perry Et Ux
7324 S Downing Circle West                Evelyn B Preston Trustee        Eunice Harrison Perry
Centennial, CO 80122                      1025 Old Country Club Rd 5      Rt 2 Box 215 A
                                          Roanoke, VA 24017               Ruston, LA 71270




Norman H Clark Jr Residuary Tr            Norman J Bennett                Norman J Bering Ii
Carole Johnson Norma Moore                712 E Camino Diestro            2028 Branard St
2202 Bermuda Drive                        Tucson, AZ 85704                Houston, TX 77098
Laredo, TX 78045




Norman Joseph Garr                        Norman L Smith                  Norman L Stevens
2305 Creasy Springs Apt A                 7034 Chiswick Dr                PO Box 1
Columbia, MO 65202                        Corpus Christi, TX 78413-5325   Hondo, NM 88336-0001




Norman Moore And Wife Wife Bessie Moore   Norman O Jackson Jr             Norman O Robinson
PO Box 205                                PO Box 5671                     647 Oak Hollow Court
Sidney, TX 76474                          Peoria, IL 61601                Columbus, OH 43228




Norman P Pumphrey Jr Anita Pumphrey       Norman Roy Rhinehart            Norman W Grimes Geological Service
1202 Madera St                            124 Red Cloud Drive             PO Box 1420
Ruston, LA 71270                          Greenville, TX 75402            Canyon, TX 79015-1420




Norman Walton And Gretchen Walton         Norman Zamzow                   Normand D Wilkinson
4175 County Road 328 N                    135 County Road 214             1606 Auburn
Tatum, TX 75691                           Three Rivers, TX 78071          Longview, TX 75601




Normand George Wilkinson                  Normandy Management Co Inc      Normarth Corp
1606 Auburn                               1455 W Kuiaha Road              PO Box 48
Longview, TX 75601                        Haiku, HI 96708                 Jewett, NY 12444
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Normcrief Inc                         Normita Ramirez                        Norred Family Mineral Tr
1174 Schex Drive                      40 King Street W                       Nancy Norred Elliott Ttee
Bossier City, LA 71112                Toronto, ON M5H 1H1                    PO Box 933
                                      Canada                                 Mansfield, TX 76063




Norris Carolyn                        Norris E Kelly                         Norris Leroy Conklin
1709 Oakview Drive                    5406 Glenwood Ave                      1905 W Ave H
Okmulgee, OK 74447                    Pittsburgh, PA 15207-1848              Muleshoe, TX 73647




Norris Sr Dr John Graham              Norris W Alexander                     Nortex Corporation
401 Academy Street                    1907 Mimosa Dr                         3009 Post Oak Blvd Ste 1212
Farmerville, LA 71241                 Ruston, LA 71270                       Houston, TX 77056-6599




Nortex Corporation                    Nortex Field Services Inc              North American Industrial Services
c/o The Northern Trust Company        Jana Mcdaniel                          1240 Saratoga Road
Account No 03 14131                   PO Box 1323                            Ballston Spa, NY 12020
PO Box 27710                          Sherman, TX 75091
Houston, TX 77227-7710



North American Railway Svcs           North American Reserve                 North American Resources
6585 Highway 1                        26113 Oak Ridge Drive Suite B          1 Greenway Plaza 900
Shreveport, LA 71107                  The Woodlands, TX 77380                Houston, TX 77046




North American Survey Corporation     North American Tubular Services LLC    North Arm Resource Inc
5904 F Spring Stuebner Rd             PO Box 2070                            207 E Georgia Ave
Spring, TX 77389                      Kilgore, TX 75663-2070                 Phoenix, AZ 85012




North Basin Coating Inc               North Branch Inc                       North Central Chapter Coga
PO Box 730                            c/o Mr Larry Medford                   Attn Treasurer
Levelland, TX 79336                   1001 Fannin Street Suite 1333          PO Box 200328
                                      Houston, TX 77002                      Evans, CO 80620




North Central Oil Corporation         North Central Oil Corporation          North Dakota Department Of Trust Lands
700 Milam Suite 3100                  c/o Plains Exploration Production Co   Unclaimed Property Division
Houston, TX 77002                     700 Milam Suite 3100                   PO Box 5523
                                      Houston, TX 77002                      Dept Of Trust Lands
                                                                             Bismarck, ND 58506-5523



North Dallas Bank Trust Co            North East Texas Communication         North Houston Association Of
Po Box 801826                         107 W Sabine St                        Professional Landmen
Dallas, TX 75380-1826                 Carthage, TX 75633-2609                PO Box 673065
                                                                             Houston, TX 77267




North Louisiana Hardwood              North Park Transportation Inc          North Peak Asset Management
PO Box 60                             5150 Columbine Street                  457 Washington St
Ruston, LA 71272                      Denver, CO 80216                       Duxbury, MA 02332
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1054 of 1524

North Permian Well Service LLC          North Poudre Irrigation          North Ranch Resources LLC
PO Box 51538                            PO Box 100                       22 North Ranch Road
Midland, TX 79710-1538                  Wellington, CO 80549             Littleton, CO 80127




Northeast Louisiana Wholesale           Northern Lights Energy Co Inc    Northern Oil And Gas Inc
Oil Gas Co Inc                          PO Box 1610                      315 Manitoba Ave
2802 Desiard Street                     Casper, WY 82602                 Suite 200
Monroe, LA 71201                                                         Wayzata, MN 55391




Northern Oil Company Lp                 Northern Plains Trucking LLC     Northern Plains Trucking LLC
500 W Texas Ave Ste 1000                1675 Broadway Suite 1200         PO Box 912317
Midland, TX 79701                       Denver, CO 80202                 Denver, CO 80291-2317




Northern Safety Co Inc                  Northern Trust C                 Northern Trust N A
PO Box 4250                             Attn Pat Krull                   2222 Welborn Street
Utica, NY 13504-4250                    801 S Canal C In                 Dallas, TX 75219
                                        Chicago, IL 60607




Northgate Royalty Fund A LLC            Northstar Bank Colorado          Northstar Bank Of Texas
PO Box 757                              155 Lake Avenue                  16000 Dallas Parkway 125
Notre Dame, IN 46556                    Colorado Springs, CO 80906       Dallas, TX 75248




Northstar Minerals Inc                  Northstar Operating Company      Northstar Training
PO Box 10602                            PO Box 10708                     PO Box 51420
Kalispell, MT 59904                     Midland, TX 79702-7708           Lafayette, LA 70505-1420




Northwest Community Cred Union          Northwest Logistics Heavy Haul   Northwest Machine Works Inc
4605 Post Oak Place Dr                  1125 40Th Street Suite B         2318 Grand Park Dr
Houston, TX 77027                       Woodward, OK 73801               Grand Junction, CO 81505




Northwestern Mutual Insurance Company   Northwestern University          Norton B Crowell And
1 Riverway Ste 900                      Attn Catherine Eliasik           Ruth Mary Crowell Trust
Houston, TX 77056                       1201 Davis St                    Ruth Mary Crowell Trustee
                                        Evanston, IL 60201               13305 Village 13
                                                                         Camarillo, CA 93012



Norton D Sheppard                       Norton D Shepperd                Norton Energy Drilling LLC
C/O Reeca Divel                         C/O Reeca Divel                  4514 Englewood Ave
501 N El Camino Real Ste 204            501 N El Camion Real Ste 204     Lubbock, TX 79414
San Clemente, CA 92672                  San Clemente, CA 92672




Norton Lovell                           Norton Ward Iii                  Norvell Bruce Houston
7422 Pr 1212                            222 Mitchell Street              PO Box 74
Gilmer, TX 756454010                    Longview, TX 75601               Helotes, TX 78023
                  Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1055 of 1524

Norvella Pruitt                       Norway Savings Bank                     Norwick O Adams
4234 Morley Dr                        PO Box 347                              PO Box 1275
Colorado Springs, CO 80916            Norway, ME 04268                        Alice, TX 78332




Norwin D Burgess Deceased             Norwood Gilliam                         Norwood Johnston Ii
9816 Fm 1442 South                    2880 Hallowing Point Road               3 Lake Pinehurst Villa
Orange, TX 77630                      Prince Frederic, MD 20678               Pinehurst, NC 28374




Nov Mission                           Nov Portable Power                      Nov Tuboscope
PO Box 200338                         Steven Dickson Well Site Services Div   PO Box 201177
Dallas, TX 75320-0338                 7909 Parkwood Circle Drive              Dallas, TX 753201177
                                      Houston, TX 77036




Nov Tuboscope                         Nov Wilson Lp                           Nova Hardbanding LLC
PO Box 201177                         PO Box 200822                           Gary Jordan
Dallas, TX 75320-1177                 Dallas, TX 75320-0822                   PO Box 2703
                                                                              Hobbs, NM 88241




Nova Jordan Clampitt                  Novalene Brown Hargett                  Novis S Malcolm
PO Box 19842                          1409 Giford Lane                        PO Box 795
Houston, TX 77224                     Angleton, TX 77515                      Oglethorpe, GA 31068




Nowery Family LLC                     Noxxe Oil And Gas LLC                   Npc Energy Services LLC
Attn Mr James B Nowery                324 Forest Cove Dr                      8100 S Us Hwy 79
PO Box 1948                           Kingwood, TX 77339-4033                 Palestine, TX 75801
Carbondale, CO 81623




Npc Energy Services LLC               Npc Land Marine LLC                     Nrc Mmx Ltd
New Prospect Company                  PO Box 470118                           PO Box 25409
PO Box 470118                         Tulsa, OK 74147                         Dallas, TX 75225
Tulsa, OK 74147




Nsi Technologies LLC                  Nswc Federal Credit Union               Nt Field Services Inc
7146 S Braden Ave Ste 102             17442 Dahlgren Road                     716 N Valley St Ste G
Tulsa, OK 74136                       Dahlgren, VA 22448                      Anaheim, CA 92801




Nts Communications                    Ntx Roadrunner Transportation LLC       Nucarui Heard
PO Box 10730                          PO Box 3002                             902 E California Avenue
Lubbock, TX 79408-3730                Burleson, TX 76097                      Ruston, LA 71270




Nucor Oil Gas LLC                     Nueces Electric Coop Inc                Nueces La Mesa Ltd
PO Box 112                            PO Box 659821                           600 Leopard St
Riverton, WY 82501                    San Antonio, TX 78265-9121              Ste 1600
                                                                              Corpus Christi, TX 78401
                  Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1056 of 1524

Nuesces Power Equipment                    Nuevo Midstream                         Nuevo Seis L P
PO Box 4789                                1221 Lamar St 1100                      PO Box 2588
Corpus Christi, TX 78469-4789              Houston, TX 77010                       Roswell, NM 882022588




Nugent Family Operating Co Lp              Nugent Family Operating Lp              Numon O Waters Jr
11700 Preston Rd Ste 660                   11700 Preston Road                      172 Ludell Drive
Pmb 520                                    Ste 660 Pmb 520                         Walnut Creek, CA 94597
Dallas, TX 75230                           Dallas, TX 75230




Nutech Energy Alliance                     Nuttree Oil Company LLC                 Nuveen Asset Management LLC
7702 Fm 1960 E                             333 Texas Street                        Po Box 43071
Suite 300                                  Suite 602                               Providence, RI 02940-3071
Humble, TX 77346                           Shreveport, LA 71101




Nuwave Capital Solutions Inc               Nvi LLC Dba Nondestructive              Nvm Resources LLC
PO Box 53935                               Visual Inspection LLC                   11914 Hudspeth Trail
Lubbock, TX 79453                          PO Box 1690                             San Antonio, TX 78253
                                           Gray, LA 70359




Nw Grimes Geological LLC                   Nwq Investment Management Company LLC   NY State Office Of The State Comptroller
PO Box 1420                                2049 Century Park East Suite 1600       Office Of Unclaimed Funds
Canyon, TX 79015                           Los Angeles, CA 90067                   Remittance Control
                                                                                   110 State St 2nd Flr
                                                                                   Albany, NY 12236



NY State Office Of The State Comptroller   Nyingma Institute                       Nyle Keith Wright Trust
Office Of Unclaimed Funds                  2425 Hillside Avenue                    Box 115
Director Of Audits                         Berkeley, CA 94704                      Lost Springs, WY 82224
59 Maiden Lane 23Rd Floor
New York, NY 10038



Nys Ar Levy Receivables                    Nytex Corporation                       O C Hope Iii
F/B/O Renee Graycaldarelli                 PO Box 5946                             5925 South 2950 East
PO Box 4137                                Edmond, OK 73083                        Ogden, UT 84403
Binghamton, NY 13902




O C Perkins                                O C Young                               O D Reed Jr
c/o Texas State Treasurer                  121 Tiltion Road                        c/o Texas Comptroller Accounts
Unclaimed Property Division P              Corsicana, TX 75109                     Unclaimed Property Division
PO Box 12019                                                                       PO Box 12019
Austin, TX 78711-2019                                                              Austin, TX 78711-2019



O E Price LLC                              O G C Inc                               O G Mcdowell
113 Sussex Court                           13325 West Memorial Rd                  PO Box 1091
Bossier City, LA 71111                     Yukon, OK 73099                         Shreveport, LA 71163




O H Crosswell                              O J Higgins                             O J Tauber Jr
Michem Place                               662 Spring Lake Rd                      3659 Blue Bonnet Blvd
3900 Essex Ln Ste 730                      Farmersville, LA 71241                  Houston, TX 77025
Houston, TX 77027
                  Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1057 of 1524

O K Pump                              O L Jacobs Trust                   O L Richard
PO Box 220                            c/o Farmers National Co            12935 Piney Lake Road
Ratliff City, OK 73481                Oil/Gas Management 1499341         Parker, CO 80138
                                      PO Box 3480
                                      Omaha, NE 68103



O L Smith Jr                          O L Waltman Jr Carletta            O Lewis Staerker Trust Dtd 9 19 73
2107 Macbeth Court                    Hortman Waltman                    Jean A Staerker Trustee
Tyler, TX 75703                       c/o Argent Property Services Llc   8933 Banyan Cove Circle
                                      PO Box 1410                        Fort Meyers, FL 33919
                                      Ruston, LA 71273



O M Morrison                          O N Baker                          O Ray Hartt Testamentary Trust
607 Harrison Pl                       8554 Katy Freeway 301              Fbo Robert L Hartt
Mt Pleasant, LA 52641                 Houston, TX 77024                  c/o Trustee Finan Trust Asset Mgmt
                                                                         PO Box 701
                                                                         Abilene, TX 79604



O Raymond Hartt Jr Trust First        O Scott Rogers                     O Tex Holdings Inc
Finc Trst Asset Mgmt Co Trustee       c/o Texas State Treasury           Dba O Tex Pumping LLC
PO Box 701                            Unclaimed Property Division        Doug Rather
Abilene, TX 79604                     PO Box 12019                       7303 N Highway 81
                                      Austin, TX 78711-2019              Duncan, OK 73533



O Tex Pumping LLC                     O Thomas Welch Iii                 O Thomas Welch Jr
7303 N Highway 81                     PO Box 9129                        PO Box 5759
Duncan, OK 73533                      Longview, TX 756089129             Longview, TX 75608




O V Services Rentals                  O Z Walton Estate                  Oak Bank
PO Box 350                            June Walton Independent Exec       2000 West Loop South Freeway 100
Tenaha, TX 75974                      102 Lakeway Drive                  Houston, TX 77027
                                      Whitehouse, TX 75791




Oak Creek Partnership In Commendam    Oak Lease Service Co LLC           Oak Valley Energy LLC
174 Woodvale Drive                    PO Box 370                         1400 Woodloch Forest Dr Ste 300
Dubach, LA 71235                      Refugio, TX 78377                  Spring, TX 77380-1197




Oak Valley Mineral Land Lp            Oakason Jr Company Lc              Oakason Jr Company Lc
PO Box 50820                          PO Box 830308                      PO Box 840738
Midland, TX 79710                     Dallas, TX 75283-0308              Dallas, TX 75284-0738




Oakland Ave United Methodist          Oakland B Adams                    Oakland B Adams Estate
Church Of Minn General Fund           PO Box 55                          c/o Saundra A Bland
4501 Bloomington Ave S                Farmerville, LA 71241-0055         PO Box 55
Minneapolis, MN 55407                                                    Farmerville, LA 71241




Oaktree Capital Management Lp         Oakwood Minerals I Lp              Oakworth Capital Bank
333 S Grand Ave 28                    PO Box 17728                       2100 Southbridge Pkwy
Los Angeles, CA 90071                 Fort Worth, TX 76102               Birmingham, AL 35209
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Oasis Emission Consultants Inc        Oasis Petroleum Inc                     Oates Oil Company Inc
2730 Commercial Way                   1001 Fannin Street Suite 1500           Pmb 222 100
Rock Springs, WY 82901                Houston, TX 77002                       25 Highland Park Vlg
                                                                              Dallas, TX 75205




Ob Gladyness                          Obert L Byers                           Obie Belton Jr
4666 Meadow Lake Dr Se                Et Ux Elain Byers Dba Rusk              4501 Sprint Blvd
Kentwood, MI 49512                    Timber Co                               Rio Rancho, NM 87144
                                      PO Box 349
                                      Rusk, TX 75785



Obie Johnson                          Obie Neil Woodfin                       Obo Inc
3729 South Benton                     920 Cr 1490                             PO Box 22577
Kansas City, MO 64128                 Center, TX 75935                        Hialeah, FL 33002




OBrien Family LLC                     Obrien Production Co                    Obriens Response Mgmt LLC
5461 W Kent Pl                        PO Box 50804                            Dept 3599
Lakewood, CO 80235                    Midland, TX 79710                       PO Box 123599
                                                                              Dallas, TX 75312-3599




Obryant Electric Inc                  Occidental Energy Marketing Inc         Ocean Energy Employee Trust
9314 Eton Ave                         PO Box 27570                            PO Box 4970
Chatsworth, CA 91311                  Houston, TX 77227-7570                  Houston, TX 77210-4970




Ocean Energy Resources Inc            Oceanview United Methodist Church Inc   Ochoa Services LLC
Subsidiary Of Ocean Energy Inc        701 Ocean Dr                            2007 N Wharton St
1001 Fannin Suite 1600                Juno Beach, FL 33408                    El Campo, TX 77437
Houston, TX 77002-6794




Oci Wyoming Lp                        Ocie Hall                               Ocie Lee Abney
5 Concourse Parkway Ste 2500          306 Wilson Street                       Kattye Giles Poa
Atlanta, GA 30328                     Monroe, LA 71202                        2570 San Pablo Ave
                                                                              Apt 206
                                                                              Berkley, CA 94707



Ocieah Helen H Rasbury                OConnell Holdings LLC                   OConnell Partners Lp
22782 Hwy 371                         c/o Black Stone                         1001 Fannin Suite 2020
Cotton Valley, LA 71018               1001 Fannin Ste 2020                    Houston, TX 77002
                                      Houston, TX 77002




OConnell Partners Lp                  Octavia Adams Pugh                      Ocu Endowment
Fao Black Stone                       Rr 3 Box 94                             c/o Bank Of Oklahoma Agent
PO Box 203688                         Mansfield, LA 71052                     PO Box 1588
Houston, TX 77216-3688                                                        Tulsa, OK 74101




Ode K Monroe                          Odeel Chapman                           Odell Energy Services LLC
7208 Shilling Circle                  3425 Mount Vernon Rd                    638 An County Road 170
Texarkana, TX 75503                   Tupelo, MS 38804-7190                   Elkart, TX 75839-5325
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Odell Golf LLC                         Odell Simpson Anderson           Odene B Cockrell
2808 Ne Frontage Rd                    831 West St                      14518 Bridle Ct
Fort Collins, CO 80524                 Muskegon, MI 49442               Houston, TX 77044




Odessa Harrison Dunn                   Odessa Link                      Odessa Marie Ravin
741 Highway 3074                       3802 S H 87 North                111 Creekside Court
Ruston, LA 71270                       Center, TX 75935                 Kennedale, TX 76060




Odessa Pumps Equipment Inc             Odessa Roberson Burns Sep Prop   Odessa Watson Deceased
PO Box 60429                           278 Allen Road                   c/o Texas State Treasury
Midland, TX 79711-0429                 Arcadia, LA 71001                Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Odester Mamon                          Odette Mcmurrey Exempt Trust     Odie B Gibson
1237 Farmerville Hwy                   U/W/James D Mcmurrey Decd        4400 Horizon Hill Blvd Apt 1711
Ruston, LA 71270                       Odette Mcmurrey Mace Ttee        San Antonio, TX 78229-2240
                                       3729 Plumb Street
                                       Houston, TX 77005



Odie Lee Gregory                       Odie Ray Freeman Jr              Odie Ruth Jones
149 Fannin Road                        PO Box 440                       3700 Stevens Dr
West Monroe, LA 71292                  Apache, OK 73006                 Bryan, TX 77808




Odilia V Campos                        Odis Arnold Matthews             Odis D Osborne
PO Box 913                             5120 Bonnie Loop                 132 Dunbar Street
Freer, TX 78357                        Alexandria, LA 71303             Grambling, LA 71245




Odis D Walker                          Odis Gerard Stringfellow         Odis Grammer And Genell Grammer
18381 Roberts Road                     1812 Serenade Lane               4128 Fm 2276 N
Riverside, CA 92508                    Richardson, TX 75081             Henderson, TX 75652




Odis Julie Gary                        Odis Malcolm Adams               Odom Properties LLC
1210 County Road 209                   8843 S Buffalo Ave               179 Brookside Road
Wingate, TX 79566                      Chicago, IL 60617                Choudrant, LA 71227




Odonnell Snider Construction Lp        Oeo Oscar David Leabo            Oeo Wilma E Posey
1900 West Loop South Ste 350           James Henri Leabo Admin          Fred R Posey Indp Exec
Houston, TX 77027                      c/o Texas State Treasury Unc     c/o Tx State Treasury Unc Prop
                                       PO Box 12019                     PO Box 12019
                                       Austin, TX 78711-2019            Austin, TX 78711-2019



Ofco Office Furniture Inc              Ofeco Oil Field Equipment        Ofelia Villanueva
200 West Rosedale                      106 Amhurst St                   Address Redacted
Fort Worth, TX 76104                   Victoria, TX 77904
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Office Barn                           Office Depot                     Office Furniture Connection
11315 Hwy 69 N                        PO Box 70025                     PO Box 451189
Tyler, TX 75706                       Los Angeles, CA 90074-0025       Houston, TX 77221




Office Of Attorney General            Office Of Attorney General       Office Of Attorney General
120 Sw 10Th Ave 2nd Floor             700 W Jefferson Street           State Of Florida
Topeka, KS 66612-1597                 PO Box 83720                     The Capitol Pl 01
                                      Boise, ID 83720                  Tallahassee, FL 32399-1050




Office Of Conservation State Of LA    Office Of Mineral Resources      Office Of Natural Resources Revenue
1525 Fairfield Avenue Ste 668         Department Of Natural Res        PO Box 25165
Shreveport, LA 71101-4388             State Of Louisiana               Denver, CO 80225-0165
                                      PO Box 2827
                                      Baton Rouge, LA 70821-2827



Office Of State Lands Investments     Office Of Tax And Revenue        Office Of The Attorney General
Hershler Building 3Rd Floor           941 North Capitol Street Ne      100 West Randolph Street
Cheyenne, WY 82002-0600               Washington, DC 20002             Chicago, IL 60601




Office Of The Attorney General        Office Of The Attorney General   Office Of The Attorney General
109 State Street                      1125 Washington Street Se        123 Capitol
Montpelier, VT 05609-1001             PO Box 40100                     200 W 24Th Street
                                      Olympia, WA 98504-0100           Cheyenne, WY 82002




Office Of The Attorney General        Office Of The Attorney General   Office Of The Attorney General
1300 I Street Suite 1740              1302 East Highway 14 Suite 1     1400 Ncl Tower
Sacramento, CA 95814                  Pierre, SD 57501-8501            445 Minnesota St
                                                                       St Paul, MN 55101




Office Of The Attorney General        Office Of The Attorney General   Office Of The Attorney General
1412 Main Street                      150 South Main Street            1525 Sherman St 5Th Floor
Suite 810                             Providence, RI 02903             Denver, CO 80203
Dallas, TX 75202




Office Of The Attorney General        Office Of The Attorney General   Office Of The Attorney General
1900 Kanawha Blvd East Room 26E       200 St Paul Place                200 Tower Building
Charleston, WV 25305-9924             Baltimore, MD 21202              323 Center Street Suite 200
                                                                       Little Rock, AR 72201




Office Of The Attorney General        Office Of The Attorney General   Office Of The Attorney General
25 Capitol Street                     313 Ne 21st Street               40 Capitol Square Sw
State House Annex                     Oklahoma City, OK 73105          Atlanta, GA 30334
Concord, NH 03301




Office Of The Attorney General        Office Of The Attorney General   Office Of The Attorney General
425 Queen Street                      500 Charlotte Avenue             55 Elm Street
Honolulu, HI 96813                    Nashville, TN 37243              Hartford, CT 06141
                  Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1061 of 1524

Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
6 State House Station                 900 East Main Street               9001 Mail Service Center
Augusta, ME 04333                     Richmond, VA 23219                 Raleigh, NC 27699-9001




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
Alabama State House                   California Department Of Justice   Carroll Gartin Justice Building
11 South Union Street Third Floor     Attn Public Inquiry Unit           450 High Street
Montgomery, AL 36130                  PO Box 944255                      Jackson, MS 39201
                                      Sacramento, CA 94244-2550



Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
Carvel State Office Building          Department Of Justice              Department Of Law
820 N French Street                   PO Box 201401                      1275 West Washington Street
Wilmington, DE 19801                  Helena, MT 59620-1401              Phoenix, AZ 85007




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
Deputy Ag Jeff Koziar                 Deputy Ag Jeff Koziar              G Mennen Williams Building 7Th Floor
25 Market Street                      PO Box 080                         525 W Ottawa St
Cn 080                                Trenton, NJ 08625-0080             PO Box 30212
Trenton, NJ 08625                                                        Lansing, MI 48909



Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
Hoover State Office Building          Indiana Government Center South    Justice Building
1305 E Walnut Street                  402 W Washington St 5Th Floor      215 N Sanders
Des Moines, IA 50319                  Indianapolis, IN 46204             Helena, MT 59620




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
Mccormack Building                    Old Supreme Court Building         Oregon Department Of Justice
One Ashburton Place                   100 North Carson Street            1162 Court Street Ne
Boston, MA 02108                      Carson City, NV 89701-4717         Salem, OR 97301-4096




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
P O Drawer 1508                       PO Box 110300                      PO Box 11549
Santa Fe, NM 87504-1508               Diamond Courthouse                 Columbia, SC 29211
                                      Juneau, AK 99811-0300




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
PO Box 120                            PO Box 220                         PO Box 629
Hartford, CT 06141-0120               Jackson, MS 39205                  Raleigh, NC 27602




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
PO Box 94095                          Rembert Dennis Building            State Capitol
Baton Rouge, LA 70804                 1000 Assembly Street Room 519      600 E Boulevard Ave Dept 125
                                      Columbia, SC 29201                 Bismarck, ND 58505




Office Of The Attorney General        Office Of The Attorney General     Office Of The Attorney General
State Capitol                         State Capitol 24Th Floor           State Capitol Room 236
PO Box 98920                          300 Capitol Drive                  Salt Lake City, UT 84114
Lincoln, NE 68509                     Baton Rouge, LA 70802
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Office Of The Attorney General         Office Of The Attorney General    Office Of The Attorney General
State Capitol Ste 102                  State Office Tower                Strawberry Square
St Paul, MN 55155                      30 E Broad Street 17Th Floor      Harrisburg, PA 17120
                                       Columbus, OH 43215-3428




Office Of The Attorney General         Office Of The Attorney General    Office Of The Attorney General
Supreme Court Building                 The Capitol 2nd Floor             The Capitol Room 116
207 W High St                          Albany, NY 12224-0341             700 Capitol Avenue
PO Box 899                                                               Frankfort, KY 40601-3449
Jefferson City, MO 65102



Office Of The Attorney General         Office Of The Attorney General    Office Of The Attorney General Texas
Utah State Capitol Complex             Wisconsin Department Of Justice   Capitol Station
East Office Bldg Suite 320             PO Box 7857                       PO Box 12548
Salt Lake City, UT 84114-2320          Madison, WI 53707-7857            Austin, TX 78711-2548




Office Of The Missouri                 Office Of The Missouri State      Office Of The State Treasurer
State Treasurer Clint Zweifel          Treasurer Clint Zweifel           Jack Markell
Unclaimed Property                     Unclaimed Property                820 Silver Lake Boulevard Suite 100
301 West High St Rm 157                PO Box 1272                       Dover, DE 19904
Jefferson City, MO 65101               Jefferson City, MO 65102-1272



Office of the United States Trustee    Office Team                       Office Tech Inc
Attn Christine A March                 PO Box 743295                     5632 Van Nuys Blvd
515 Rusk Street Suite 3516             Los Angeles, CA 90074-3295        Van Nuys, CA 91401
Houston, TX 77002




Offshore Energy Services Inc           Ofp Services Inc                  Ofs Energy Services LLC
PO Box 53508                           PO Box 130                        Lauren Blackburn
Lafayette, LA 70505                    Kimball, NE 69145                 1301 Mckinney Street Suite 1800
                                                                         Houston, TX 77010




Ofs Holdings LLC                       OgC LLC                           Ogden Sharon Hudnall
Lauren Blackburn                       8615 Us Hwy 283                   100 East Ferguson Suite 703
1301 Mckinney Street Suite 1800        Cheyenne, OK 73628                Tyler, TX 757025755
Houston, TX 77010




Ogden Sharon Hudnall Trust No 2        Ogh Service Company               Ogjt Holdings 2010 LLC
100 E Ferguson                         PO Box 924768                     PO Box 13240
Suite 703                              Houston, TX 77292                 Odessa, TX 79768
Tyler, TX 75702




Ogletree Deakins Nash Smoak Stewart    Ogletree Lumber Company           Ogletree Oil Production Co
633 W 5Th St                           PO Box 1196                       PO Box 1196
Los Angeles, CA 90071                  Livingston, TX 77351              Livingston, TX 77351-1196




Ogm LLC                                Ogm Partners I                    Ogo Marketing LLC
PO Box 1091                            PO Box 17728                      9830 Colonnade Blvd Ste 300
Shreveport, LA 71163                   Fort Worth, TX 76102              San Antonio, TX 78230-2375
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Ogrady Plumbing Company                   Ogre Fund 1 LLC                 Ohio Dept Of Commerce Division Of
PO Box 40392                              PO Box 1013                     Unclaimed Funds
Fort Worth, TX 76140                      Madison, MS 39130               77 S High St 20Th Flr
                                                                          Columbus, OH 43215-6108




Ohio Pers                                 Ohio State University           Ohmstede Industrial Services
277 E Town St                             c/o James R Hoobler Assoc       PO Box 848145
Columbus, OH 43215                        Fawcett Cen Rm 208              Dallas, TX 75284-8145
                                          2400 Olentangy River Rd
                                          Columbus, OH 43210



Ohoro Deadmon                             Oil Ale LLC Ii                  Oil And Gas Equipment Corp
PO Box 19975                              c/o Avant Properties            PO Box 459
Los Angeles, CA 90019                     400 Travis Street Ste 1800      Flora Vista, NM 87415
                                          Shreveport, LA 71101




Oil And Gas Investor                      Oil And Gas Investor            Oil City Supply Inc
1616 S Voss Rd Ste 1000                   PO Box 5020                     620 Supply Street
Houston, TX 77057                         Brentwood, TN 37024             PO Box 240
                                                                          Graham, TX 76450




Oil Country Pipe Valve Inc                Oil Dog Pipe Rentals Lp         Oil Dog Pipe Rentals Lp
PO Box 3221                               Lisa Hailes                     PO Box 4545
Palestine, TX 75802                       4411 East County Road 60        Midland, TX 79704
                                          Midland, TX 79705




Oil Field Girls Ltd                       Oil Field Pipe Supply Inc       Oil Field Valve Srv Supply
PO Box 552                                Dba Ofp Services                PO Box 60964
Judson, TX 75660                          PO Box 130                      Lafayette, LA 70596
                                          Kimball, NE 69145




Oil Finders LLC                           Oil Flats Energy                Oil Gas Asset Clearinghouse
320 S Boston Ste 1910                     3110 Elkins Road                1235 N Loop W 500
Tulsa, OK 74103-4134                      Midland, TX 79705               Houston, TX 77008




Oil Gas Information Systems               Oil Nut Bay Royalties Lp        Oil Patch Pipe Supply Inc
5801 Edwards Ranch Rd                     6010 Walnut Hill Ln             PO Box 1923
Suite 200                                 Dallas, TX 75230                Kilgore, TX 75663
Fort Worth, TX 76109




Oil Price Information Svc LLC             Oil Slick 80 1                  Oil States Energy Services LLC
PO Box 9407                               Karey Koon Managing Partner     PO Box 203567
Gaithersburg, MD 20898-9407               PO Box 20546                    Dallas, TX 75320-3567
                                          Waco, TX 76702




Oil States Industries Inc                 Oil Tool Rentals Co             Oilco Exploration Inc
PO Box 200149                             205 West Maple Suite 700        5773 Woodway Dr 444
Dallas, TX 75320-0149                     Enid, OK 73701                  Houston, TX 77057
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Oilfield Fishing Rental LLC              Oilfield Industrial Supply Of Louisiana   Oilfield Instrumentation
PO Box 7748                              PO Box 7867                               PO Box 51902
Midland, TX 79708-7748                   Shreveport, LA 71137-7867                 Lafayette, LA 70505-1902




Oilfield Pump And Valve Repair Service   Oilfield Svcs Technologies                Oilwell Fracturing Services Inc
356 Cr 408                               PO Box 732830                             Mark Rankin
Carthage, TX 75633                       Dallas, TX 75373-2830                     801 Cherry St Suite 2100
                                                                                   Ft Worth, TX 76102




Oilwell Guidance LLC                     Oilwell Hydraulics                        Oilwell Hydraulics Inc
14427 Interdrive West                    1460 Windway                              Accelerated Production Services
Houston, TX 77032                        Odessa, TX 79763-4912                     2002 Timberloch Place Suite 500
                                                                                   The Woodlands, TX 77380




Ok Hot Oil Service Inc                   Okie Operating Company Ltd                Oklahoma City University
PO Box 146                               715 Mid Continent Tower                   Bank Of Oklahoma Na Agent
Loco Hills, NM 88255                     Tulsa, OK 74103                           PO Box 1588
                                                                                   Tulsa, OK 74101-1588




Oklahoma State Treasurer                 Oklahoma Tax Commission                   Ola Faye Gray
Unclaimed Property Division              Franchise Tax                             8365 Campanella Drive
2300 N Lincoln Blvd Rm 217               PO Box 26930                              Dallas, TX 752431809
Oklahoma City, OK 73105-4895             Oklahoma City, OK 73126-0930




Ola Fran Dunn                            Ola Haigwood                              Ola M Boyce
701 8Th St                               c/o Texas State Treasury                  Texas State Comptroller
Levelland, TX 79336                      Unclaimed Property Division               Unclaimed Property Division
                                         PO Box 12019                              PO Box 12608 Capitol Station
                                         Austin, TX 78711-2019                     Austin, TX 78711



Ola M Johnson                            Ola Mae Downs Jones Deceased              Ola Mae Roberts
PO Box 130728                            PO Box 84290                              5255 South Sandhill Road
Houston, TX 77219                        Pearland, TX 77584-0016                   Las Vegas, NV 89120




Ola Mae Robinson                         Olan Dale Youngblood                      Old Macedonia Cemetery
8019 Leed St                             1247 Blodgett Avenue                      c/o Robert D Browning
Downey, CA 902423703                     Fort Worth, TX 761151713                  PO Box 579
                                                                                   Carthage, TX 75633




Old National Trust Investment Mgt        Old School Services LLC                   Ole M Hanson
Trust Operations                         PO Box 1598                               2840 S Eaton Way
One Main Street                          Henderson, TX 75653                       Denver, CO 80227
Evansville, IN 47702




Olen Lavelle Singleton                   Oleta Cockrell                            Oleta Eunice Puckett
8625 Hwy 822                             PO Box 3                                  PO Box 435
Dubach, LA 71235                         Joaquin, TX 75954-0003                    Story, WY 82842
                    Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1065 of 1524

Olga J Prevost                          Olga Maria Larsson               Olga Z Murphy
PO Box 1726                             Postl 1956                       617 Nw Jacob Drive 306
Laredo, TX 78044                        450 46 Hunnebostrand             LeeS Summit, MO 64081
                                        Sweden




Olia June Simpson Lipford               Olie Royalties LLC               Olin Joffrion Family Trst No 1
614 Damon St                            A Texas Limited Liability Co     Brian Paul Joffrion Eric
Flint, MI 48505                         Steven D Smith                   Jules Joffrion Olin Joffrion Trustees
                                        PO Box 1360                      PO Box 476
                                        Tyler, TX 75701                  Carthage, TX 75633



Olin Joffrion Trust 1                   Olin R Brightwell                Olin V Joffrion
PO Box 476                              10438 Highway 321                PO Box 476
Carthage, TX 75633                      Dayton, TX 77535                 Carthage, TX 75633




Olin V Joffrion Jr                      Olive A Willis                   Olive B Pelich
216 Timberlane Street                   2312 Desiree                     1705 Ashland Ave
Carthage, TX 75633                      Ruston, LA 71270                 Fort Worth, TX 76107




Olive Bissell                           Olive Edrington Pillsbury Trst   Olive G Twyman
PO Box 1706                             Frost National Bank Suc Ttee     1157 Crossway Rd
Longview, TX 75606                      PO Box 1600                      Virginia Beach, VA 23454-5739
                                        San Antonio, TX 78296




Olive Lee Stephens                      Olive Mae Griffin                Olive Polley Reed Test Trust
101 Lakeshore Road                      1416 Detroit Street              Mary Teresa Reed Hoskins
Denton, TX 76208                        El Dorado, AR 71730              Wm Reed Jr Co Ttees
                                                                         1620 Coffeeport Road
                                                                         Brownsville, TX 78521



Olive Roberts Forman                    Oliver B Kiel Iii                Oliver B Westbrook Jr
5301 Camp St                            2117 Glendale Place              c/o Oklahoma St Treas Offc
New Orleans, LA 70115                   Austin, TX 78704                 Unclaimed Property Division
                                                                         4545 N Lincoln Blvd Ste 106
                                                                         Oklahoma City, OK 731053413



Oliver C Perkins                        Oliver David Cole Sepprop        Oliver J Jones Jr
1679 Us Hwy 277 S                       4536 Curtis Lane                 PO Box 84290
Haskell, TX 79521                       Shreveport, LA 71109             Pearland, TX 77584-0016




Oliver L Degravelle Iii                 Oliver P Bazer Estate            Oliver Wiggins Jr
1501 Nursery Avenue                     Loie Oliver Bazer Executor       13054 Keithville Keatchie Rd
Metairie, LA 70005                      220 Cherry Blossom Lane          Keithville, LA 71047
                                        Benton, LA 71006




Olivero F Garza Iii                     Olivia Anne Cox                  Olivia Ash
810 Visor Dr                            6216 Lakewood Drive              311 Redwood Ave Apt C4
San Antonio, TX 78258                   Gilmer, TX 75645                 Paterson, NJ 07522
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Olivia Bradfor Jaskolski                Olivia Claire Haley               Olivia Estelle Bruni Ellsworth
6576 N 55Th Street                      Kyle Stacy Haley Parents Of       Broadway Natl Bank Trustee
Milwaukee, WI 53223                     2750 Gary Brewer Rd               PO Box 17001
                                        Snyder, TX 79549                  San Antonio, TX 78217




Olivia Estelle Bruni Ellsworth          Olivia G Harless                  Olivia Irene May
c/o Broadway National Bank              PO Box 79                         8731 E 60Th Terr
PO Box 17001                            Gonzales, TX 78629                Raytown, MO 64129
San Antonio, TX 78217




Olivia Lien Kent                        Ollie C Acton                     Ollie Dunlap
5650 Olympia St                         4829 Gilmer Road                  610 Cincinnati Ave
Houston, TX 77056                       Longview, TX 75604                San Antonio, TX 78201




Ollie E Landers                         Ollie Ford Brown                  Ollie Harris
20337 Spillway Rd                       Rt 2 Box 21C A                    2402 De Soto
Winona, TX 75792                        Ruston, LA 71270                  Houston, TX 77018




Ollie K Mosley                          Ollie L Burnett Test Trust        Ollie M Pruitt
4318 Illinois St                        c/o Burnett Companies             2212 Arabella
Shreveport, LA 71109                    801 Cherry St Ste 1500 Ut 9       Ruston, LA 71270
                                        Ft Worth, TX 76102




Ollie M Womack                          Ollie Ruth                        Olney Interbank
1355 Sheppard St Apt 318                4114 Hoffman                      307 W Main St
Minden, LA 71055                        Houston, TX 77026                 Olney, TX 76374




Olson Auto Body Collision               Olympia Minerals LLC              Olympia Royalty Ltd
350 N Walsh                             3811 Turtle Creek Blvd Ste 1800   3811 Turtle Creek Blvd
Casper, WY 82609                        Dallas, TX 75219                  Ste 1800
                                                                          Dallas, TX 75219




Oma Stewart Walker                      Omar Khan                         Omar Puerto Jr
5668 Cedar Road                         Address Redacted                  Address Redacted
Blackshear, GA 31516




Omar Williams                           Omega Advisors Inc                Omega Fluid Service
PO Box 658                              810 7Th Ave                       18077 County Road 295
Yakima, WA 98952                        New York, NY 10019                Arp, TX 75750-9547




Omega Huffman Brown                     Omega Ofs LLC                     Omega Production Service
807 Claiborne                           14620 Memorial Drive              PO Box 60532
Minden, LA 71055                        Suite 13                          Midland, TX 79711-0532
                                        Houston, TX 77079
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Omegia Harris Nelson                  Omi Environmental Solutions     Omimex Energy Inc
2500 Malone                           Joseph J Christiana             7950 John T White Road
Memphis, TN 38114                     131 Keating Dr                  Fort Worth, TX 76120
                                      Belle Chasse, LA 70037




Omma Trucking                         Omni Energy Services Corp And   Omni Environmental Solutions
PO Box 80653                          Its Subsidiaries Affiliates     Dept 2307
Midland, TX 79708-0653                Mark Stipe                      PO Box 11407
                                      4500 Ne Evangeline Thruway      Birmingham, AL 35246-2307
                                      Carencro, LA 70520



Omni Industrial Solutions LLC         Omni Industrial Solutions LLC   Omni Instruments LLC
Celeste Smith                         PO Box 731675                   3231 W Dorothea Ave
7031 Bryce Canyon Ave                 Dallas, TX 75373-1675           Visalia, CA 93277
Greenwell Springs, LA 70739




Omnivere LLC                          On Demand Incorporated          On Point LLC
PO Box 71727                          2650 Fountain View Drive        309 Bridgers Hill Rd
Chicago, IL 60694-1727                Ste 140                         Longview, TX 75604
                                      Houston, TX 77057




On Time Hotshot                       Ona Horton                      Oncor Electric Delivery
613 Dauphine Lane                     17328 Fm 2613                   2152 W Ih 20
Bossier City, LA 71111                Kemp, TX 75143                  Odessa, TX 79763




Onda Lay Pipe Rental Inc              One Allen Center Co LLC         One Allen Center Co LLC
2561                                  c/o Brookfield Properties       PO Box 203263
Fei 2561                              1200 Smith Street Suite 1200    Dallas, TX 75320-3263
PO Box 847411                         Houston, TX 77002
Dallas, TX 75284-7411



One Call Concepts                     One Call Of Wyoming             One Oilfield Services Inc
7223 Parkway Drive Suite 210          1740H Dell Range Blvd 511       5300 E Saunders
Hanover, MD 21076                     Cheyenne, WY 82009              Laredo, TX 78041




One Petroleum Center LLC              One Ridgmar Centre LLC          One Star Trucking Ltd
c/o Lmb Group Ltd                     PO Box 97831                    113 Corporate Drive
1031 Andrews Hwy Suite 100            Las Vegas, NV 89193-7831        Midland, TX 79705
Midland, TX 79701




One Touch Office                      One United Bank                 Oneal Anchor And Lights LLC
370 Amapola Ave 106                   3683 Crenshaw Blvd              PO Box 4098
Torrance, CA 90501                    Los Angeles, CA 90016           Palestine, TX 75802




Onealgas Inc                          Oneida Gordon Life Estate       Oneida Harris Jackson
PO Box 536                            John W Gordon Aif               5660 Highway 563
Choudrant, LA 71227                   161 ConnellS Ferry Rd           Simsboro, LA 71275
                                      Joaquin, TX 75954
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Onemap Ltd                             Onemap Mineral Prtners No1 LLC   Onesource Professional Search LLC
110N College Ave Ste 200               110 N College Ave Ste 200        4070 Lonesome Rd Suite B
Tyler, TX 75702                        Tyler, TX 75702                  Mandeville, LA 70448




Oneta Turner Huff                      Onetta Louise Briggs Pierce      Oney Joyce Mullis
6505 Itasca St                         343 Sabrina Lane                 1408 Lago Trl Apt 205
Lubbock, TX 79416-1939                 Karnack, TX 75661                Longview, TX 75604




Onez Norman Rooney Testmntry Trust     Onita Ruth Mcdaniel              Onita Wimberly Smith Sep Prop
PO Box 960031                          1340 Moanalualani Place Apt A    291 Malone Road
Oklahoma City, OK 73196                Honolulu, HI 96819               Arcadia, LA 71001




Onorio Bravo                           Onrr                             Onsite Integrated Services LLC
Address Redacted                       PO Box 25627                     1234 N Post Oak Rd Ste 100
                                       Denver, CO 80225                 Houston, TX 77055




Onsite Oil Tools LLC                   Onyebuenyi Nwankpa               Onyx Contractors Operations Lp
PO Box 489                             10667 Villa Binita               PO Box 60547
Rockwall, TX 75032                     Spring Valley, CA 91978          Midland, TX 79711




Opal Billings                          Opal D Curry                     Opal Davis
908 Dean Chapel Road                   111 S Central Street             700 E Scott Street 69
West Monroe, LA 71291                  Hallsville, TX 75650             Gilmer, TX 756441710




Opal Davis Bauer                       Opal Faye Carter                 Opal H Tipton
3810 Bon Aire Drive                    3403 Wildflower Ln               108 Maple Trail Drive
Monroe, LA 71203                       Weatherford, TX 76088            Mabank, TX 75147




Opal Hahn Estate                       Opal Handley                     Opal L Horton
1951 Willowcreek Rd                    4400 Country Blub View           16910 Fm 782 N
Portage, IN 46368                      Baytown, TX 77521                Tatum, TX 75691




Opal L Kidd Family Partnership         Opal Pryor Green                 Opal S Laborde
1428 East Richards                     3306 Luberta Street              140 Richland Dr South
Tyler, TX 75702                        Tyler, TX 75702                  Mandeville, LA 70471




Opal V Lee Usufruct                    Opal Williams                    Operation Kindness
2625A Newbury Circle                   11303 East 61 Terrace            3201 Earhart
Burlington, IA 52601                   Raytown, MO 64133                Carrollton, TX 75006
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Opex Energy LLC                         Opha N Holland                     Ophelia C Austin
777 East Sonterra Blvd                  2 Riverway Ste 1770                6432 Lebrent
Suite 350                               Houston, TX 77056-1971             Baker, LA 70714
San Antonio, TX 78258




Ophelia G Malone                        Ophelia Gardner Malone             Ophelia Stinson
928 Sandhill Rd                         Simmie Malone Aif                  12703 Candle Ridge Drive
Quitman, LA 71268                       944 Sand Hill Rd                   Tyler, TX 75709
                                        Quitman, LA 71268




Ophelia W Rhymes                        Oppenheim Asset Management         Oppenheimer Co
c/o Texas State Treasurer               2 Boulevard Konrad Adenauer        Attn Oscar Nazario
Unclaimed Property Division             1115 Luxemburg                     125 Broad Street
PO Box 12608 Capitol Station            Luxembourg                         15Th Floor
Austin, TX 78711                                                           New York, NY 10004



Oppenheimerfunds Inc                    Opportune Lp                       Opportune Tax LLC
225 Liberty St                          8323 Southwest Freeway             711 Louisiana Street
New York, NY 10281                      9Th Floor                          Suite 3100
                                        Houston, TX 77074                  Houston, TX 77002




Opsco Energy Industries Usa Ltd         Optimized Pipeline Solutions LLC   Opus Investment Management Inc
1000 400 5 Avenue Sw                    1610 Main St                       440 Lincoln St
Calgary, AB T2P 0L6                     Danbury, TX 77534                  Worcester, MA 01653
Canada




OR Dept Of State Lands                  Ora Adams Hildreth                 Ora B Timberlake
Unclaimed Property Section              Rt 1 Box 179                       4626 Estesville Rd
775 Summer St Ne Ste 100                Mount Holly, AR 71758              Longview, TX 75602
Salem, OR 97301-1279




Ora Blackwell Davenport                 Ora Bud Captain Jr                 Ora Cook Thompson
804 Evergreen Drive                     3501 25Th Ave North 138            12601 Grove West
Friendswood, TX 77546-4756              Texas City, TX 77591               Willis, TX 77378




Ora Dell Adams                          Ora Elizabeth Huckabay Towns       Ora Jean Stancil Smith And
PO Box 890998                           175 Huckleberry Ln                 Deuel C Smith Sr
Temecula, CA 92562                      Gibsland, LA 71028                 204 Horne Street
                                                                           West Monroe, LA 71292




Ora Lee C Totston                       Ora Lee Carroll                    Ora Lee Kelly Moss
Rr 1 Box 53                             731 Connell Ferry Rd               3801 Carey
Ruston, LA 71270                        Joaquin, TX 75954-2453             Fort Worth, TX 76119




Ora Lee Newton                          Ora Lee Osborne Williams           Oracle Resources Lc
800 Swadley Rd Apt 206                  4212 Green Street                  14131 Midway Road
Johnson City, TN 37601                  Tampa, FL 33607                    Suite 640
                                                                           Addison, TX 75001
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Orange Cat LLC                        Orange Directional Technologies Usa Inc   Orange River Royalties LLP
c/o Martha Anderson Strieby           1970 South Starpoint Dr                   PO Box 5004
8100 E 24 Ave                         Houston, TX 77032                         Austin, TX 78763
Denver, CO 80238




Oredian Pride                         Oregon Natural Gas Dev Corp               Oretha Harper
514 Fm 1970                           One Pacific Sq                            320 Johnson Ln
Carthage, TX 75633                    220 N 2 Ave                               Texarkana, AR 71854
                                      Portland, OR 97209




Oria Johnson Houston                  Origin                                    Orin Grisham Lewis
PO Box 38092                          2600 Travis Level Two                     2520 Village Oak Dr
Shreveport, LA 71133                  Houston, TX 77006                         Katy, TX 77493-1223




Orion Ics LLC                         Orion Pipeline Ltd                        Orion Properties Inc
PO Box 1070                           100 E Ferguson Suite 708                  Attn Donald W Stephens
Dept 171                              Tyler, TX 75702                           11776 South 76Th E Avenue
Charlotte, NC 28201-1070                                                        Bixby, OK 74008




Orlando Diaz                          Orlando Gulley                            Orlester Evans
209 Prism Lane                        Address Redacted                          PO Box 228
Mckinney, TX 75070                                                              Luling, LA 70070




Orline B Woodward Trust F/B/O         Orms Family Trust                         Ornelas Reyes Daniel
Weston L Woodward                     Una Vay Orms Trustee                      Address Redacted
Wm L Woodward Samuel Woodward         2801 Spencer Rd Apt 7108
40 Beuna Vista Lane                   Denton, TX 762086944
Aledo, TX 76008-4148



Oro Quay Corporation                  Orozcos Inc                               Orpheus H Allison
356 Edward Farris Rd                  8370 Mines Rd                             c/o V Dana Allison
Weatherford, TX 76085                 Laredo, TX 78045                          PO Box 439
                                                                                Mapleton, ME 04757




Orr Distribution Tr                   Orrel Lynn Nixon                          Orren L Nixon
10026 Holly Springs Dr                711 N Oakhurst                            5410 Bryngrove Ln
Houston, TX 77042-1524                Livingston, TX 77351                      Houston, TX 77084-7566




Orren Ray Whiddon                     Orren W Goodwin                           Ors Fluids LLC
202 Deerfield Drive                   PO Box 58                                 Leslie Miller
Lufkin, TX 75901                      Ruston, LA 71270                          8831 N Sam Houston Pkwy W
                                                                                Houston, TX 77064




Ors Fluids LLC                        Orthwein Energy Lp                        Orville L Scott
PO Box 41047                          PO Box 14180                              293 County Road 1316
Baton Rouge, LA 70835                 Oklahoma City, OK 73113                   Grand Saline, TX 75140
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OS Trucking                            Osage LLC                           OSavage LLC
4206 N Moss Ave                        105 Sol Y Lomas                     202 Country Club Rd
Odessa, TX 79764                       Santa Fe, NM 87505                  Monroe, LA 71201




Osborne Industrial Engines Inc         Oscar Bennett Jones                 Oscar Corinne Palmer Trust
910 Hillside Dr                        3704 Lands End Street               C/O Wells Fargo Bank Na
Farmington, NM 87401                   Fort Worth, TX 761093231            PO Box 5383
                                                                           Denver, CO 80217




Oscar D Gutierrez Royalty Trt          Oscar Daniel Younger                Oscar Donald Cooper
Oscar D Gutierrez Trustee              2018 W 42nd Place                   7301 Winterberry Cove
15503 Triple Creek                     Los Angeles, CA 90062               Tyler, TX 75703
San Antonio, TX 78247




Oscar E Rhode Estate                   Oscar Emma Monsibais Rev Tr         Oscar Epps Jr Sandra Lynn Wiley Epps
Billie Brown Rhode Indiv               Diana E Tavares Oscar Mosibais Jr   142 North Main Street
2801 36Th St                           Co Ttees                            Grambling, LA 71245
Snyder, TX 79549                       610 E Market Street 2619
                                       San Antonio, TX 78205



Oscar Ewing Price Jr Estate            Oscar Guinn Maxfield                Oscar Hill
c/o John Price                         17351 Mt Everest Ct                 3819 King St
113 Sussex Ct                          Sonora, CA 95370                    Houston, TX 77026
Bossier City, LA 71111




Oscar J Or Marion B Segura             Oscar Landers                       Oscar Mazario
3671 Us Hwy 290 West                   13460 Cr 311                        85 Broad Street
Apt 1014                               Gladewater, TX 75647                New York, NY 10004
Austin, TX 78736




Oscar Monsibais Emma Monsibais         Oscar Monsibais Jr                  Oscar Moore Tr
9118 Tuscan Hills Drive                2612 Maple Springs Blvd             Amy Meserole Ttee
San Antonio, TX 78266                  Dallas, TX 75235                    111 N Tionesta Ave
                                                                           Kane, PA 16735




Oscar P Wilcott                        Oscar Rivero                        Oscar V Guiton
3414 Radio Station Rd                  5905 Sussex Place                   12920 Brook Park Road
Mansfield, LA 71052                    San Angelo, TX 76901                Oakland, CA 94619




Osprey Resources Inc                   Ossie Hill Thomas                   Ost Fluids Services
PO Box 56449                           3805 Jenkins Way                    PO Box 1106
Houston, TX 77256                      Richmond, CA 94806                  Tatum, TX 75691




Ost Trucks And Cranes Inc              Osterbauer Compressor Srv           Oswald Binford
PO Box 237                             6291 Burnham Ave                    295 Se Cr 2230
Ventura, CA 93002                      Buena Park, CA 90621-2209           Corsicana, TX 75109
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Oswald Trilby Bell                      Ota Compression LLC             Oteka Hunt
103 Bluebonnett Lane                    102 Decker Ct                   c/o Law Office of Dean A Searle PC
Lorena, TX 76655                        Suite 204                       PO Box 910
                                        Irving, TX 75062                305 West Rusk Street
                                                                        Marshall, TX 75671



Otero Federal Credit Union              Otet Trucking LLC               Otg Services LLC
741 New Mexico Ave                      PO Box 5790                     PO Box 209
Holloman AFB, NM 88330                  Granbury, TX 76049-0790         Fort Stockton, TX 79735




Otha L Besant                           Otha Leon Giles Iii             Otha Mae Sanford Trutrix
215 Crawford Street                     2018 Clinton St                 For The Sanford Minors
West Monroe, LA 71292-3906              Fort Wayne, IN 46805            174 Vollie Sanford Road
                                                                        Calhoun, LA 71225




Otha Ray Burks Jr                       Othalene L Johnson              Othell Dunn
290 Sandbed Road                        12908 Fox Bow Dr Apt 201        65 Edgemont Way
Ruston, LA 71270                        Upper Marlboro, MD 207748768    Oakland, CA 94605




Othodell Ellis Smith                    Otis Charles Jenkins            Otis D Kelly
113 Page St                             1500 Cardinal Street            2004 Stokes Road
Longview, TX 75604                      Ruston, LA 71270                Mt Laurel, NJ 08054




Otis Dean Estes                         Otis Earl Dixon                 Otis Jackson
7275 Fm 36 S                            2009 Carleton St                4380 Walter St
Quinland, TX 75474                      Ft Worth, TX 76107              Shreveport, LA 71109




Otis Kenton Winfree Iv                  Otis Leon Crawley Jr            Otis Leon Hill
14000 Renaissance Ct 2009               PO Box 704                      776 Liberty Hill Road
Austin, TX 78729                        Arcadia, LA 71001               Simsboro, LA 71275




Otis T Brooks Life Estate               Otis W Medley                   Otter Creek LLC
10671 Apple Mill Drive                  PO Box 216                      PO Box 1557
Reno, NV 89521                          Florence, CO 81226              Sealy, TX 77474




Otto Duckworth Inter Vivos Tst          Otto E Gutierrez Royalty Trt    Otto Goebel Jr
U/A Dated 9/28/96                       Otto E Gutierrez Trustee        208 Nueces St Apt 200
Gary Graham Tommy King Ttees            11519 Raindrop Dr               George West, TX 78022
10036 George Town Dr                    San Antonio, TX 78216
Shreveport, LA 71115



Otto Hawkins Sr And Willouise Hawkins   Ouachita Independent Bank       Ouachita Parish Clerk Of Court
410 Holly Ave                           909 North 18Th Street           301 South Grand St
Livingston, TX 77351                    Monroe, LA 71201                Ste 104
                                                                        Monroe, LA 71201
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Ouachita Parish Police Jury               Ouachita Parish Tax Collector         Ouachita Valley Fed C U 3111
PO Box 3007                               PO Box 733045                         1420 Natchitoches Street
Monroe, LA 71210-3007                     Dallas, TX 75373-3045                 West Monroe, LA 71292




Ouida B Harmon                            Ouida Crawford Ramsey                 Ouida M Yeats
10573 Valentine Road North                115 Bent Oak Drive                    17148 Butera Rd
Tallahassee, FL 32317                     Center, TX 75935                      Magnolia, TX 77355-3289




Ouida Mae Dulany                          Outback Rentals Landscape Supplies    Outdoor Wilderness Learning Center
Agent Aif Dianah Dulany                   1442 E Hwy 40                         1523 Hwy 563
113 Northwood Street                      Vernal, UT 84078                      Dubach, LA 71235
Houston, TX 77009




Outlaw Operating Ltd                      Outpost Office                        Output Exploration LLC
6860 S Yosemite Ct Suite 2000             789 Valley Ct                         10370 Richmond Avenue
Centennial, CO 80112                      Grand Junction, CO 81505              Suite 510
                                                                                Houston, TX 77042




Ovation Data Services Inc                 Overhead Door Company Of San Angelo   Overton 1990 ChildrenS Trusts
14199 Westfair East Dr                    926 West 19Th Street                  Laura Overton Wheless Ttee Of
Houston, TX 77041-1105                    San Angelo, TX 76902                  The Laura Overton Wheless Tr
                                                                                5119 Bayou Timber Lane
                                                                                Houston, TX 77056



Overton 1990 ChildrenS Trusts             Overton 1990 ChildrenS Trusts         Overton 1990 Childrens Trusts
Mary Maud Overton Stocker Beard Ttee Of   Robert C Overton Iii Ttee Of          Robin Overton Sengelmann Tte
The Mary Maud Overton Stocker Trust       Robert Carter Overton Iii Tr          Robin Overton Sengelmann Trust
5221 Pine Forest Road                     4265 San Felipe Ste 1040              1415 South Voss Ste 110 100
Houston, TX 77056                         Houston, TX 77027                     Houston, TX 77057



Overton Fam Trusts Mary Maud              Overton Family Trusts                 Overton Family Trusts
Overton Stocker Beard Ttee Of             1415 South Voss Ste 110 100           Laura Overton Wheless Ttee Of
Mary Maud Overton Stocker Trust           Houston, TX 77057                     The Laura Overton Wheless Tr
5221 Pine Forest Road                                                           5119 Bayou Timber Lane
Houston, TX 77056                                                               Houston, TX 77056



Overton Family Trusts                     Overton Family Trusts                 Owen G Nail
Robert Carter Overton Iii Ttee            Robin Overton Sengelmann Tte          660 Garden Circle
Of The Robert Carter Overton Trust        Robin Overton Sengelman Trust         Statham, GA 30666
4265 San Felipe Suite 1040                1415 South Voss Ste 110 100
Houston, TX 77027                         Houston, TX 77057



Owen Gumbin                               Owen L Janice M Rickard               Owen Mark Allison
c/o Salomon Smith Barney                  10001 S Oswego St Apt 305             6420 High Country
122 East Alisal Street                    Parker, CO 80134-7726                 Arlington, TX 76016
Salinas, CA 93901




Owen P Miles Jr                           Owen Secker Gst Exempt Tr             Owens Family Trust
13571 China Berry Way                     Jpmorgan Chase Bank Na Ttee           J R And Lucille Owens
Fort Myers, FL 33908                      Po Drawer 99084                       351 Fm 2787
                                          Fort Worth, TX 76199                  Joaquin, TX 75954
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Owens Legacy Ltd                       Ownita Davis Brown                Owt LLC Ort LLC
A Texas Limited Partnership            1353 Armstrong Drive              2101 Farmerville Highway
PO Box 524                             Desoto, TX 75115                  Ruston, LA 71270
Longview, TX 75606




Oxbow J LLC                            Oxford Investment Company LLC     Oxford Thibeau Investment Company LLC
PO Box 350                             Stephen M Oxford Member           38240 Duplessis Rd
Daniel, WY 83115                       6317 Esplanade Ave                Prairieville, LA 70769
                                       Baton Rouge, LA 70806




Oxy Usa Inc                            Oxy Usa Inc                       Oxy Usa Wtp Lp
PO Box 297065                          PO Box 841803                     PO Box 841735
Houston, TX 77297                      Dallas, TX 75284                  Dallas, TX 75284




Oxy Y 1 Jibs                           Oxy Y 1 Revenue                   Ozark Properties LLC
PO Box 27570                           PO Box 841803                     PO Box 4108
Houston, TX 77227                      Dallas, TX 75284                  Monroe, LA 71211




Ozell Simpson                          Ozell Starling                    Ozell Talton Jr
7034 E Mount Morris Rd                 208 Worth Street                  202 Parker Street
Mount Morris, MI 48458-9745            Henderson, TX 75652               West Monroe, LA 71292




Oziel D Gutierrez Royalty Trt          Ozley D Ltd                       Ozona Mineral Interest Partners Lp
Oziel D Gutierrez Trustee              7007 Elm Ridge Drive              952 Echo Lane Suite 380
16 Byron Nelson                        Dallas, TX 75240                  Houston, TX 77024
San Antonio, TX 78257




Ozzie E Graming                        Ozzie E Gramling                  Ozzie L Williams
1305 N Marshall St                     1305 N Marshall St                107 White St
Henderson, TX 75652                    Henderson, TX 75652               Mccomb, MS 39648




P A Mcginley Revocable Trust           P A Newton                        P A Solutions LLC
Ann Mcginley Schaefer Trustee          11529 Lakeland Rd                 PO Box 9605
PO Box 3126                            Santa Fe Springs, CA 90670-4320   Corpus Christi, TX 78469
Tulsa, OK 74101-3126




P C Pierce                             P David Smith                     P E Corrigan Power Of Appointment Tr
PO Box 419                             PO Box 1073                       PO Box 643726
Grambling, LA 71245                    Lake City, CO 81235               Vero Beach, FL 32964




P F Obrien Iii                         P Frank Lake                      P H Fitzpatrick Family Trust
PO Box 6655                            PO Box 2134                       PO Box 940
Shreveport, LA 71136-6655              Austin, TX 787682134              Marshall, TX 75671
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P J Enochson                           P J Hillin Trustee                      P J Lewis
1511 Colony Dr                         Hillin Childrens Trust                  183 Great Hill Rd
Irving, TX 75061                       110 N Milam St                          Ridgefield, CT 06877
                                       Box 166
                                       Fredericksburg, TX 78624



P L Resources Ltd                      P Michael Highum                        P O G Resources Texas LLC
5585 Caruth Haven Ln 301               1801 Queens Road West                   5847 San Felipe Suite 3200
Dallas, TX 75225                       Charlotte, NC 28207                     Houston, TX 77057




P P Pipe Mike F Passmore Dba           P R Rutherford Estate                   P R Rutherford Jr
PO Box 73                              8 Greenway Plaza Ste 1400               8 Greenway Plaza Ste 1400
Monahans, TX 79756                     Houston, TX 77046                       Houston, TX 77046




P S Laney Holdings Inc                 P S Park                                P S Vacuum Truck
Susan A Laney President                2111 Jensen Drive                       PO Box 221
PO Box 239                             Houston, TX 77026                       Sweetwater, TX 79556
Marietta, GA 300610239




P V B Oil Co                           P2 Energy Solutions                     P2Es Holding LLC 2692
1320 Lake St                           PO Box 912692                           PO Box 912692
Fort Worth, TX 76102                   Denver, CO 80291-2692                   Denver, CO 80291-2692




P2Es Holdings LLC                      Pa Signs Express                        Paape Donald W
Contracts Administration               228 Lincoln Ct Unit A                   PO Box 3
1670 Broadway Suite 2800               Fort Collins, CO 80524                  Fort Davis, TX 79734
Denver, CO 80202




Pablo Benavides                        Pabralaw                                Pace Bogle Properties LLC
2520 Napoleon                          Av Veintimilla E9 26 y Leonidas Plaza   9006 Houmas Court
Laredo, TX 78043                       UZIEL Business Center Building          Shreveport, LA 71115
                                       Three Floor Office 306
                                       Quito, Ecuador



Pace Bogle Properties LLC              Pace Oil Gas Inc LLC                    Pacesetter Pressure Pumping Inc
9006 Houmas Ct                         PO Box 10044                            3510 Seven Rivers Hwy
Shreveport, LA 71115                   Fayetteville, AR 72703-0036             Carlsbad, NM 88220




Pacheco Ina Carole                     Pacific Coast Propane LLC               Pacific Energy LLP
8309 Dance Drive                       PO Box 0427                             5585 Caruth Haven Lane
Shreveport, LA 71129                   Rialto, CA 92377-0427                   Suite 301
                                                                               Dallas, TX 75225




Pacific Energy Resources               Pacific Enterprise Oil Company          Pacific Enterprises Abc Corporation
111 W Ocean Blvd Suite 1240            1700 Pacific Ave Ste 1200               633 W Fifth Ave
Long Beach, CA 90802                   Dallas, TX 75201-0574                   Suite 5400
                                                                               Los Angeles, CA 90071
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Pacific Investment Management Co LLC     Pacific Marine Mammal Center      Pacific Premier Bank
Pimco                                    20612 Laguna Canyon Road          17901 Von Karman Ave 200
650 Newport Center Dr                    Laguna Beach, CA 92651            Corporate Office Suite 1200
Newport Beach, CA 92660                                                    Irvine, CA 92614




Pacific Process Systems Inc              Pacific Safety Center             Pacific Seatec LLC
c/o Wells Fargo Credit Account           9880 Via Pasar Suite F            PO Box 24197
PO Box 202338                            San Diego, CA 92126               Ventura, CA 93002
Dallas, TX 753202338




Pacific Security LLC                     Pacific Steel Recycling           Pacific Western Bank
2009 Iron St                             PO Box 1549                       10250 Constellation Blvd
Bellingham, WA 98225                     Great Falls, MT 59403             Los Angeles, CA 90067




Pacificorp                               Pacificorp                        Packard Energy Group Inc
PO Box 3040                              PO Box 5504                       601 W Texas Ave
Portland, OR 97208                       Portland, OR 97228-5504           Midland, TX 79701-4231




Packers Plus Energy Services             Pacseis Inc                       Padco Energy Services LLC
8306 W Ih 20                             5400 Rosedale Hwy                 4750 Hazel Jones Rd
Midland, TX 79706                        Bakersfield, CA 93308             Bossier City, LA 71111-5352




Padco Energy Services LLC                Padre Associates Inc              Paetec Communications Inc
PO Box 92722                             1861 Knoll Drive                  PO Box 3243
Lafayette, LA 70509-2722                 Ventura, CA 93303                 Milwaukee, WI 53201-3243




Paffett Fam Tr David Paffett Trtee       Pag Investments Ltd               Page Mankin Simpson
c/o David Paffett Trtee                  B Gill Clements President         4861 Ortega Boulevard
20247 Melanie Ann Ct                     1901 N Akard Street               Jacksonville, FL 32210
Monument, CO 80132                       Dallas, TX 752012305




Page T Steele                            Pagewood Interest LLC             Paige Black
23714 Cansfield Way                      510 Bering Dr Ste 240             Address Redacted
Katy, TX 77494-7062                      Houston, TX 77057




Paige Christian Keitt                    Paige Kendyl Daugherty Richards   Paige Warren Osburn
PO Box 1507                              6307 Mountainclimb Dr             2311 Valley View Dr
Henderson, TX 75653                      Austin, TX 78731                  Bryan, TX 77802




Paj Energy LLC                           Pakalou LLC                       Paladin Tax Consultants LLC
32 Tahoe Shores Ct                       c/o Law Office Of Marc Meyer      6810 Aswan Dr
Humble, TX 77346                         9595 Six Pines Dr Ste 8210        Corpus Christi , TX 78412
                                         The Woodlands, TX 77380
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Palinbeck Corp                           Palmer E Koenig Trust 7         Palmer Johnson Power Systems LLC
3303 Lee Parkway                         c/o Lowell T Wrucke Trustee     6392 Paysphere Circle
Suite 350                                803 Arrowhead Lane              Chicago, IL 60674
Dallas, TX 75219                         Naples, FL 34108




Palmer Law Firm Inc                      Palmer Oilfield Construc Inc    Palo Exploration Corp
Po Drawer M                              1429 Hwy 207 N                  5944 Luther Ln 900
Marshall, TX 75671                       Post, TX 79356                  Dallas, TX 75225




Palo Petroleum Inc                       Palo Pinto Exploration          Paloma Lease Service Inc
5944 Luther Lane                         356 Edward Farris Rd            PO Box 1116
Suite 900                                Weatherford, TX 76085           George West, TX 78022
Dallas, TX 75225




Paloma Partners Ii                       Pam Anthony                     Pam Bagley
1021 Main Street Suite 2600              501 Peterson Lane               Np 54 Lake Cherokee
Houston, TX 77002                        Ashland, MO 65010               Longview, TX 75603




Pam Daniel                               Pam Dunn                        Pam Hayes Bennett Howington
1410 South Tool Drive                    PO Box 4522                     1157 Katy St
Kemp, TX 75143                           Casper, WY 82604                New Braunfels, TX 78130




Pam Hubler                               Pam Mercer Mcwilliams           Pamela A Hagen
3316 University Park Lane                PO Box 1231                     379 State Highway O
Irving, TX 75062                         Kilgore, TX 75663               Kissee Mills, MO 656808289




Pamela A Key Lout                        Pamela Ann Ballenger            Pamela Anne Stewart
323 N Main St                            PO Box 12                       2216 Cooktown Rd
Red Oak, TX 75154                        Bullard, TX 75757               Ruston, LA 71270




Pamela Atteridge Davis                   Pamela B Budner                 Pamela B Kingery
PO Box 752                               15 Lawrence St                  6885 W Princeton Ave
Arcadia, LA 71001                        Winchester, MA 01890            Denver, CO 80235




Pamela Bates                             Pamela Bryant Burke Ind Exec    Pamela C Floyd Trust
1001 Linkwood Dr                         Estate Jasper Afton Burke Jr    PO Box 730205
Lufkin, TX 75901                         PO Box 69                       Ormond Beach, FL 32173
                                         Eustace, TX 75124




Pamela C Hamilton                        Pamela Cardwell Collinsworth    Pamela Christine Lenard Culver
PO Box 398                               3947 Hwy 544                    206 Elliott Rd
Big Piney, WY 83113                      Simsboro, LA 71275              Arcadia, LA 71001
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Pamela Coats Daniels                   Pamela D Joseph                 Pamela Davis Freeman
PO Box 841                             51 Topaz Drive                  6213 N Windemere Dr
Long Beach, MS 39560                   Franklin Park, NJ 08823         Shreveport, LA 71129




Pamela Denise C Robinson               Pamela Dickson Miller           Pamela Donica
3501 25Th Ave N 166                    2916 Agryle Drive               1410 Dartmouth
Texas City, TX 77590                   Alexandria, VA 22305            Longview, TX 75601




Pamela Elise Jordan                    Pamela Freeman Wieland          Pamela G Blair Hood Jackson
2809 OHenry Dr                         8433 Grand View Dr              408 College St
Laredo, TX 78041                       N Richland Hls, TX 76182        Athens, LA 71003




Pamela G Catts                         Pamela Gail Horne               Pamela Gail Labbato Witt
714 25Th St Apt 2                      PO Box 235                      128 Ingleside Dr
Sacramento, CA 958164100               Camden, AR 71701                Berwa, OH 44017




Pamela Gaye Ganey                      Pamela Gregory                  Pamela Griffin
PO Box 115                             12011 Fm 3226                   2821 Ivanridge
Monterey, LA 71354                     Arp, TX 75750                   Garland, TX 75044




Pamela H Powers                        Pamela Hall Windham Sp          Pamela J Blaylock
2904 Tarry Trail                       Route 2 Box 242A                PO Box 12743
Austin, TX 78703                       Joaquin, TX 75954               Dallas, TX 75225




Pamela J Bump                          Pamela J Dorsey                 Pamela J Dowers
1410 Dartmouth St                      1501 Jennifer St                PO Box 181321
Longview, TX 75601-4317                Richardson, TX 75082            Arlington, TX 76096




Pamela J Gossett                       Pamela J Kytola                 Pamela Jane Bladine
704 Stanford St                        13337 N E 151st                 2505 Martin Luther King
Houston, TX 77019                      Brush Prarie, WA 98606          No 11 A
                                                                       San Angelo, TX 78903




Pamela Jane Crowe                      Pamela Jayakar                  Pamela Jean Schonefeld
PO Box 278                             1208 Secluded Lane              1925 W Cedar St
Buckholts, TX 76518                    Longview, TX 75604              El Dorado, AR 71730




Pamela Jeter Comegys                   Pamela Jo Meyer Wang            Pamela Johnson
642 Ontario Street                     6069 Wingate Dr                 1267 E 5425 South
Shreveport, LA 71106                   New Orleans, LA 70122           Ogden, UT 84403
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Pamela K Phillips Trust 5                 Pamela K Shelton                Pamela Kay Christian
Fbo Carl Benton Garrison Us Tr            544 Old Center Point Rd         1003 Ventura Ave
Bank Of America Privt Wealth              Nashville, AR 71852             Midland, TX 79705
PO Box 840738
Dallas, TX 75284-0738



Pamela King                               Pamela L Culotta                Pamela L Floyd
810 Wonder Way                            13956 Hootsell Ct               11949 Longleaf Lane
Grapevine, TX 76051                       Baton Rouge, LA 70816           Houston, TX 77024




Pamela L Watson                           Pamela Lantz Himelrick          Pamela Lee Cathey Jones
8207 Misty Vale Ln                        370 Annuity Drive               209 Jefferson Oaks Dr
Houston, TX 77075                         Washington, PA 15301            Ruston, LA 71270-7082




Pamela Lee Cathey Jones                   Pamela Lupien Tr Fbo            Pamela M Littlejohn
Aka Pamela Cathey Jones Member            Pamela Lupien Revocable Trust   2827 Mankes St
Cathey Three Llc                          Ua Jul 26 2007                  Fairfield, CA 94534
1359 Highway 815                          1439 Waterfront Rd
Simsboro, LA 71275                        Reston, VA 20194



Pamela Madison                            Pamela Meador Hengst            Pamela Mitchell
350 Crusader Street                       PO Box 3216                     1515 27Th Avenue
Dallas, TX 75217                          San Angelo, TX 76902            Oakland, CA 94601




Pamela Myrick Williams                    Pamela N Cantwell Willis        Pamela Nadine Chrisman
2302 Cr 416 South                         2410 Northtown Ct               PO Box 310
Henderson, TX 75654                       Midland, TX 79705-4317          Big Piney, WY 83113




Pamela Orcutt Arthur                      Pamela P Taylor                 Pamela Payne Love
2849 Colleen Dr                           1200 Yates                      189 Pelican Private Drive
Garland, TX 75043-1216                    Longview, TX 75601              Downsville, LA 71234




Pamela R Voight                           Pamela Rene Fenton              Pamela Renee Dunn
4540 Elm River Court                      13170 Timber Creek Drive        PO Box 30113
Fort Worth, TX 76116-0610                 Flint, TX 75762                 Greenville, NC 27833-0113




Pamela Renee S Newton                     Pamela Rogers                   Pamela Rudd Clark
205 Bennett Lake Drive                    319 Ed Barnes Road              4510 Fm 1102
Monroe, LA 71203                          Jonesboro, LA 71251             New Braunfels, TX 78132




Pamela Ruth Dykes Freeman                 Pamela S White                  Pamela Smith Thome
PO Box 8768                               15636 Green Trail Blvd          11830 Pebbleton Drive
Mandeville, LA 70470                      Baton Rouge, LA 70817           Houston, TX 77070
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Pamela Stringfellow                    Pamela Tarpey Caper                    Pamela Warren
197 Goodlife Subd                      Fidalgo Island                         206 West 6Th Street
Grambling, LA 71245                    3502 Oakes Avenue                      Apartment 1235
                                       Anacortes, WA 98221-1284               Los Angeles, CA 90014




Pamela Williams Steele                 Pamela Willis Living Trust             Pan Am Operating Inc
715 Underwood Road                     2935 Baylor Drive                      Po Box 195189
Marshall, TX 75672                     Boulder, CO 80305                      DALLAS, TX 75219




Pan Ok Production Co Inc               Panda Printing                         Pandora Ward
119 Ridgeway Dr                        PO Box 802391                          PO Box 476
Lafayette, LA 70503                    Houston, TX 77280                      Oil City, LA 71061




Panhandle Oil And Gas Inc              Panhandle Pump Irrigation Inc          Pannell Kerr Forster Of Texas Pc
5400 N Grand Blvd Ste 300              PO Box 819                             Sonia Freeman
Oklahoma City, OK 73112                Levelland, TX 79336                    5847 San Felipe Suite 2600
                                                                              Houston, TX 77057




Pannell Kerr Forster Of Texas Pc       Pannier Graphics                       Panola County Appraisal Dist
5847 San Felipe St Ste 2600            345 Oak Road                           2 Ball Park Road
Houston, TX 77057-3439                 Gibsonia, PA 15044                     Carthage, TX 75633




Panola County Clerk                    Panola County Fresh Water District 1   Panola County Groundwater
110 South Sycamore Street              PO Box 331                             Conservation District
Room 201                               Carthage, TX 75633                     419 W Sabine Street
Carthage, TX 75633                                                            Carthage, TX 75633




Panola County Junior College           Panola County Tac                      Panola Harrison Electric Coop Inc
1109 W Panola St                       Debbie Crawford Tax A/C                410 E Houston St
Carthage, TX 75633                     110 S Sycamore Rm 211                  Marshall, TX 75670
                                       Carthage, TX 75633




Panola Harrison Electric Coop Inc      Panola National Bank                   Pansam Trust
PO Box 1058                            1510 W Panola St                       PO Box 66
Marshall, TX 75671                     Carthage, TX 75633                     Joplin, MO 64802




Pansy G Palmore                        Pansy R Rudd Life Estate               Pantechs Laboratories Inc
6339 Crestmont                         315 Miller St                          PO Box 64489
Dallas, TX 75214                       Bangs, TX 76823                        Lubbock, TX 79464-4489




Paola Davalos                          Papazian Texas Holdings LLC            Par Five Energy Services LLC
Address Redacted                       1558 Harris Road                       PO Box 993
                                       Jasper, GA 30143                       Artesia, NM 88211
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Par Minerals Corporation                 Paradigm Liaison Services LLC   Paradise Famrs
701 Texas Street                         PO Box 9123                     c/o Elaine Petty Allen
Shreveport, LA 71101                     Wichita, KS 67277               4 Oak Creek Ridge Dr
                                                                         Longview, TX 75605




Paragon Automation                       Paragon Energy LLC              Paragon National Bank
Instrumentation And Controls             4041 Creswell Avenue            4515 Poplar Avenue 108
1611 South 1500 East                     Shreveport, LA 71106            Memphis, TN 38117
Vernal, UT 84078




Paragon Oil Gas LLC                      Paragon Partners Ltd            Paragon Well Service LLC
PO Box 1035                              5762 Bolsa Ave Ste 201          2816 Haynes Dr
Aledo, TX 76008                          Huntington Beach, CA 92649      Midland, TX 79705




Paralee Dickens Harper                   Paramount Can Company           Parco Oilfield Service Inc
PO Box 27                                16430 Phoebe Ave                PO Box 8
Chester, TX 75936                        La Mirada, CA 90638             White Oak, TX 75693




Parco Rentals LLC                        Parco Rentals LLC               Paredes Jose
PO Box 6443                              PO Box 8                        Address Redacted
Longview, TX 75608                       White Oak, TX 75693-0008




Paricia Louise Clements Ttee             Parie Lynn Hines                Parish Of Bossier
Of The Patricia Louise                   5023 25Th Avenue South West     204 Burt Boulevard
Clements Tr Dtd May 2 2012               Seattle, WA 98106               Benton, LA 71006
1901 N Akard St
Dallas, TX 752012305



Parish Of Bossier                        Parish Of Desoto                Parish Of Webster
Julian C Whittington Sheriff And         Sheriff Rodney G Arbuckle       Sheriff Gary S Sexton
Ex Officio Tax Collector                 205 Franklin St                 PO Box 877
PO Box 850                               Mansfield, LA 71052-2044        Minden, LA 71058-0877
Benton, LA 71006-0850



Park Energy Services                     Park Energy Services LLC        Park Tank Truck Services Inc
PO Box 95318                             Jonathan Mitchell               PO Box 637
Grapevine, TX 76099-9731                 514 Colcord Drive               Iowa Park, TX 76367
                                         Oklahoma City, OK 73102




Parker Brothers Electrical Contracting   Parker Family Trust             Parker Family Trust
PO Box 867                               Co Vollie Jeane Parker          Walter Mary Parker Trustees
Oil City, LA 71061                       8523 Thackery St No 1305        2690 Us Highway 79 South
                                         Dallas, TX 75225                Carthage, TX 75633




Parker L Garrett                         Parkmans Painting               Parks Luttrell Inc
111 Edna Street                          2294 Hwy 563                    9337B Katy Freeway Ste 207
Logansport, LA 71049                     Simsboro, LA 71275              Houston, TX 77024
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Parkway Bank                          Parkwood Place Inc              Parsethan Limited
4800 Harlem Ave                       431 Downing Pines Rd            3401 Allen Parkway Suite 100
Harwood Heights, IL 60706             West Monroe, LA 71292           Houston, TX 77019




Parsons Energy Company Inc            Parsons Enterprises Ltd         Parsons Exploration LLC
47 Silvermont                         47 Silvermont                   47 Silvermont
The Woodlands, TX 77382               The Woodlands, TX 77382         The Woodlands, TX 77382




Partech                               Partners In Drilling LLC        Partners Of Benchmark
2800 East Broadway                    800 Gessner Road                Properties Lp
Suite C 205                           Suite 925                       2793 Alpine Road
Pearland, TX 77581                    Houston, TX 77024-4536          Longview, TX 75605




Party Express Catering                PAS Associates                  Paschall Martha Blalock
PO Box 1132                           1401 19Th St Ste 235            15003 Kremmer
Minden, LA 71058                      Bakersfield, CA 93301           Channelview, TX 77530




Pasco Gray Life Est                   Pason Systems Usa Corp          Pason Systems Usa Corp
849 Meander St                        7701 W Little York Rd Ste 800   7701 West Little York
Abilene, TX 79602                     Houston, TX 77040-5493          Suite 800
                                                                      Houston, TX 77040




Passport Energy LLC                   Pat Adams Strong                Pat B Wickson
2763 Via Caballero Del Sur            519 Adams Street                110 Quail Run
Santa Fe, NM 87505                    Franklin, LA 70538              Odessa, TX 79761




Pat Bobbitt                           Pat Collier                     Pat Corrigan Trust
PO Box 67                             PO Box 29                       Pat Corrigan Trustee
Karnack, TX 75661                     Longview, TX 75606              PO Box 690068
                                                                      Vero Beach, FL 32969




Pat Duncan Mccree                     Pat H Dubose                    Pat H Holmes And Wife Dorothy Holmes
2257 Olive Grove Road                 Yvonne D Allen Poa              1703 N 10Th St
Choudrant, LA 71227                   PO Box 24633                    Longview, TX 75601
                                      Little Rock, AR 72221




Pat Lotspeich Petty                   Pat Morris                      Pat Norris
10111 Vernlynn                        3404 Manchester Rd              PO Box 244
San Antonio, TX 78230                 Poplar Grove, IL 61065          Laird Hill, TX 75666




Pat Orms                              Pat Parkerson                   Pat Roussel
112 Ruthlynn Suite 503                5550 Harvest Hill Rd Apt W181   c/o Law Office of Dean A Searle PC
Longview, TX 75605                    Dallas, TX 75230-1668           PO Box 910
                                                                      305 West Rusk Street
                                                                      Marshall, TX 75671
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Pat Rushton                             Pat Still                       Pat Whatley Love
301 Crosby Drive                        7551 Cr 488 D                   PO Box 700892
Henderson, TX 75652                     Laneville, TX 75667             San Antonio, TX 78270-0892




Pat Wood                                Patchen Family Trust            Pate Trucking Co Inc
4488 State Highway West                 Marian C Patchen                PO Box 760
Center, TX 75935                        8422 113Th Ave Se               Denver City, TX 79323
                                        Snohomish, WA 98290




Patelco Credit Union                    Pathfinder                      Pathfinder
5050 Hopyard Rd                         A Schlumberger Cmpany           Nam Contracts Manager
Pleasanton, CA 94588                    PO Box 732149                   1325 Dairy Ashford Room 310
                                        Dallas, TX 75373-2149           Houston, TX 77077




Pathfinder Exploration Company          Pathfinders Inspections         Pathmark Petroleum LLC
4601 Mirador Drive                      Field Services LLC              4809 Cole Avenue Suite 107
Austin, TX 78735                        PO Box 3889                     Dallas, TX 75205
                                        Gillette, WY 82717




Pathway Energy Infrastructure Fund      Patlovany Mary Beth Blalock     Patmos Production Company
15601 Dallas Parkway Suite 200          301 Sabine                      501 Wood Lake Road
Addison, TX 75001                       Hallettsville, TX 77964         Aledo, TX 76008




Patric J Powell                         Patric Owen Feagin              Patrice D Hunter
16 Barelyn Dr                           8105 Pommell Drive              PO Box 669
New Freedom, PA 17349                   Austin, TX 78759                Burnet, TX 78611




Patrice Mechelle Branch                 Patricia A Becker               Patricia A Brim Fisher
14153 Waterview Dr                      199 Country Ln                  467 West Raymond
Willis, TX 77318                        Rockdale, TX 76567-3488         Compton, CA 90220




Patricia A Brownlee Revocable Trust     Patricia A Burch                Patricia A Cato
1895 Jerrold Ave                        44860 Wcr 95                    PO Box 626
St Paul, MN 55112                       Briggsdale, CO 80611            Gibsland, LA 71028




Patricia A Cox                          Patricia A Evans                Patricia A Frank
4212 Kirkland Court                     103 N Dean                      721 Ponta Delgado Ct
Fort Worth, TX 76109                    Gladewater, TX 75647            El Dorado Hills, CA 957627584




Patricia A Hanson                       Patricia A Hawk                 Patricia A James
PO Box 250969                           9002 Kingswood Place            3286 Liv Moor Dr
Plano, TX 75025                         Woodway, TX 76712               Columbus, OH 43227
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Patricia A Johnson Tr Dtd 12/14/00       Patricia A Long                 Patricia A Maybin
Patricia A Johnson Trustee               74 Augusta Dr                   13818 Myrtlea
9105 England                             Wimberly, TX 78676              Houston, TX 77079
Overland Park, KS 66212




Patricia A Mcteague                      Patricia A Mitcham              Patricia A OBrien
106 Woodland Terrace                     1202 W Main                     c/o Argent Trust Company Na
St Clairsville, OH 43950                 Henderson, TX 75652             PO Box 1410
                                                                         Ruston, LA 71273




Patricia A Plumb Tr                      Patricia A Rogers               Patricia A Rothbardt Rollover Ira
Patricia A Plumb Ttee                    3602 Apple Grove Dr             Td Ameritrade Clearing Custodian
235 Dover Dr                             Manvel, TX 77578                32 Gramercy Park S Apt 14E
Walnut Creek, CA 94598                                                   New York, NY 10003-1713




Patricia A Simmons                       Patricia Alice Roberts Young    Patricia Ann Adcock
6058 State Highway 323                   1971 Woodland Drive             9424 Aspen Cir
Henderson, TX 75606                      Baton Rouge, LA 708081936       Shreveport, LA 71118




Patricia Ann Brownlee                    Patricia Ann Clairborne         Patricia Ann Clark
1895 Jerrold Ave                         2465 La Costa Dr                1112 Ketchikan Ct
St Paul, MN 55112                        Bartlett, TN 38134              Virginia Beach, VA 23454




Patricia Ann Craig                       Patricia Ann Dancer             Patricia Ann Daniels
2965 East Way Apt A                      4608 Owendale Dr                PO Box 400
Redding, CA 96002-1650                   Fort Worth, TX 76116            Pine Valley, CA 91962




Patricia Ann Davis                       Patricia Ann Franklin           Patricia Ann Garfield
PO Box 160                               7373 N Wayside                  355 Eudora St
Eustace, TX 75124                        Apt 1304                        Denver, CO 80220
                                         Houston, TX 77028




Patricia Ann Gibson Clark                Patricia Ann Goodwin            Patricia Ann Gray Welch
5431 Tory Hill Drive                     2019 Gallante Drive             3918 Firebush
Greensboro, NC 27410                     Carrollton, TX 75007            San Antontio, TX 78261




Patricia Ann Gustine                     Patricia Ann Harris M Long      Patricia Ann Johnson
6121 Fern Ave 22                         11279 Taylor Draper Apt 227     2404 Shell Avenue
Shreveport, LA 71105                     Austin, TX 78759                Midland, TX 79705




Patricia Ann Keen                        Patricia Ann Kelso Hobart       Patricia Ann Labounty
13365 Hwy 79 South                       6301 Dublin Dr                  12344 Witland Lane Se
Henderson, TX 75654                      Garland, TX 75044               Yelm, WA 98597
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Patricia Ann Lee                       Patricia Ann Malone Mckeever    Patricia Ann Manglberger
1000 Richardson Dr Apt 118             1306 Randy St C                 Robert Manglberger Guardian
Henderson, TX 75654                    Upland, CA 91786                PO Box 161
                                                                       Leakey, TX 78873




Patricia Ann Moody Cordray             Patricia Ann Poindexter         Patricia Ann Pool Welch
1004 Texas Dr                          1395 Sparkman Drive             1603 Briarwood Trail
Carthage, TX 75633                     Boerne, TX 78006                Henderson, TX 75654




Patricia Ann Porter Casterline         Patricia Ann Price              Patricia Ann Revard Family Tst
3001 E Fm 1798                         1339 Mimosa Ln                  PO Box 702068
Mt Enterprise, TX 75681                Shongaloo, LA 71072             Tulsa, OK 741702068




Patricia Ann Rives Beard               Patricia Ann Saloom             Patricia Ann Shipp
1403 Preston Ct                        PO Box 58                       2511 Mont Vernon Street
Bossier City, LA 71111                 Tesuque, NM 87574               Colorado Springs, CO 80909-2418




Patricia Ann Smotherman                Patricia Ann Sprayberry         Patricia Ann Walker
6 Cr 303A                              225 Emanuel Lane                4655 Country Creek Road
Rockdale, TX 76567                     Lot 45                          Dallas, TX 75236
                                       Longview, TX 75602




Patricia Ann Ward Bryant               Patricia Anne Carroll           Patricia Anne Sipes
4917 Big Bend Trail                    7 Oaknoll Rd                    1302 Shawnee Trail
Georgetown, TX 78633                   Wilmington, DE 19808-3113       Henderson, TX 75652




Patricia Anne Spinks                   Patricia Anne Wunneburger       Patricia Arlee Bush Richards
1318 Wiedner Dr                        2008 Rockwood                   1280 Brandywine
Katy, TX 774946837                     Bryan, TX 77801                 Longview, TX 75601




Patricia Arnecke                       Patricia Audirsch               Patricia B Heenan Rev Tr Uad 4 12 2005
229 Arneckeville Center Rd             PO Box 1083                     Patricia B Heenan Trustee
Cuero, TX 77954                        Haughton, LA 71037-1083         2404 Cowper Avenue
                                                                       Evanston, IL 60201




Patricia B Jeffers                     Patricia B Williamson           Patricia Bagley Daniel
2404 Swift                             100 Hayden Trail                836 W 50Th St
Houston, TX 77030                      Minden, LA 71055                Los Angeles, CA 90037




Patricia Baldwin                       Patricia Baldwin Edmundson      Patricia Barrett
One New York Plaza                     PO Box 1375                     Individual
45th Floor                             Waskom, TX 75692                118 Archer
New York, NY 10004                                                     White Oak, TX 75693
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Patricia Barrett N Baron Barrett       Patricia Bauerle Summers        Patricia Beth Sanders
118 Archer                             13000 Trautwein                 5805 Arminta Ave
White Oak, TX 75693                    Austin, TX 78737                Frisco, TX 75034




Patricia Biby                          Patricia Branch                 Patricia Brown
713 Lighthouse Court                   5004 Promise Land               335 Coleman Loop
Altamonte Springs, FL 32714            Frisco, TX 75035                Homer, LA 71040




Patricia Brown Williamson              Patricia Browning Beall         Patricia C Wright Chrestman
1401 Henton Street                     5 Lakewood Dr                   PO Box 1072
Minden, LA 71055                       Sweetwater, TX 79556-1709       Saltillo, MS 38866




Patricia Carson Hickman                Patricia Cellamare              Patricia Chapel
55 Tallyho Ln                          12500 Capri Cir N 403           PO Box 152
Little Rock, AR 72227                  Treasure Island, FL 33706       Big Piney, WY 83113




Patricia Chonko                        Patricia Cleveland              Patricia Cole Dickson
850 Main Street                        224 Rosewood Ln                 c/o Argent Property Services Llc
Bridgeport, CT 06604                   Cedar Hill, TX 75104            PO Box 1410
                                                                       Ruston, LA 71273




Patricia Colwell Stewart               Patricia Conway Hopson          Patricia D Jordan
146 Paloma Dr                          3821 Idylwood St                14103 Warwick
San Antonio, TX 78212                  Nacogdoches, TX 75965           Detroit, MI 48223




Patricia D Rublaitus                   Patricia Dacamara Bryan         Patricia Davis Beck Trust
845 Bluerock Road                      5100 John Ryan Blvd Apt 2712    Fbo Patricia Hardin Beck P D
Gardnerville, NV 89460                 San Antonio, TX 78245           Beck Al T Hearne Jr Co Ttees
                                                                       8235 Douglas Ave Ste 1350 Lb 62
                                                                       Dallas, TX 75225-6013



Patricia Delony                        Patricia Diane George           Patricia Dye Barco
906 N 26Th St                          4621 Sw Caldew St A             8120 E Derby Oaks Dr
Rogers, AR 72756                       Portland, OR 972191574          Floral City, FL 34436




Patricia E Latham                      Patricia E Pelandini            Patricia Edge Peterie
102 Moorings Park Dr Apt 102           4305 Palomino De Ne             PO Box 109
Naples, FL 34105-2142                  Bainbridge Island, WA 98110     Gary, TX 75643




Patricia Elaine Hinton                 Patricia Epperson Jones         Patricia F Hawley Estate
2009 Lauren Lake Drive                 PO Box 331                      Wells Fargo Ogm C7300 07D
League City, TX 77573                  Flint, TX 75762                 PO Box 5383
                                                                       Denver, CO 80217
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Patricia F Hawley Tr Dtd 4 6 01           Patricia F R Twomey             Patricia Fay Lee Ray
Wells Fargo Bank Sao                      432 Cr 429                      101 Country Mile Rd
PO Box 40909                              Tenaha, TX 75974                Holly Springs, NC 27540-5915
Austin, TX 78704




Patricia Ferguson                         Patricia Florence               Patricia Fogarty Drew
14632 County Road 2215                    PO Box 1471                     PO Box 67
Tyler, TX 757076830                       Longview, TX 75606              Eucha, OK 73084




Patricia Formby                           Patricia G Greer                Patricia G Misage Rev Trust
4102 Surfside Ct                          4728 Carolyn Lane               109 Laurel Keep
Arlington, TX 76016                       Shreveport, LA 71105            Williamsburg, VA 23185




Patricia G Sheka Estate                   Patricia Gail Neely             Patricia Gayle Taylor Bailey
Wm A Sheka Et Al Co Ind Exec              10505 Red Bud                   PO Box 1931
6150 Lemans Dr                            Overton, TX 75684               Lk Havasu City, AZ 86405
Corpus Christi, TX 78414-6129




Patricia George Anderson                  Patricia Givens                 Patricia Goodson Templet
15578 Mcelroy Road                        3533 W 12Th Place               16213 Crepe Myrtle Drive
Whitehouse, TX 75791                      Chicago, IL 60623               Baton Rouge, LA 70817




Patricia Grace Volk                       Patricia Hall                   Patricia Harmon
PO Box 38                                 1094 Cr 1009                    8602 Enchanted Forest Dr
Tenafly, NJ 07670                         Center, TX 75935                Houston, TX 77088




Patricia Harper S/P                       Patricia Harrison Audirsch      Patricia Harrison Trust
1345 Nursery Rd                           PO Box 1083                     Citizens NatL Bank Trustee
Sibley, LA 71073                          Haughton, LA 71037              PO Box 820
                                                                          Henderson, TX 75653




Patricia Hartsfield Thompson              Patricia Harvey                 Patricia Helms Kimball
5409 Overseas Hwy                         313 E Elm St                    65 1158 Mamalahoa Hwy Ste 8A
341                                       Tallulah, LA 71282              Pmb 238
Marathon, FL 33050                                                        Kamuela, HI 96743




Patricia Hill                             Patricia Hinson                 Patricia Hower Farrington
PO Box 657                                1313 Lafayette                  3415 Fry Avenue
Swartz, LA 71281                          Pasadena, TX 77502              Tyler, TX 75701




Patricia Hunt                             Patricia I Horton Hurley        Patricia J Reichman
500 Ridgeview Dr                          7203 Barrett                    5798 S Kenton St
Pleasanton, TX 78064-6425                 Dallas, TX 75217                Englewood, CO 80111
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Patricia J Rowe                            Patricia J Simmeth            Patricia J Thames
616 Oakledge Dr Nw                         Herman Simmeth                12300 Park Central Drive
Marietta, GA 30060                         679 Plainfield Ave            Dallas, TX 75251
                                           Berkeley Height, NJ 07922




Patricia Jackson                           Patricia Jane Leblanc         Patricia Jean Irwin Trtee Of The Pdi Tr
PO Box 1103                                7304 Kapok Lane               Dtd 12/23/94
Ore City, TX 75683                         Austin, TX 78759              220 Cimmaron Way
                                                                         Boulder, CO 80303




Patricia Jean Mitchell Trust               Patricia Jones Catarello      Patricia Jones Cook
PO Box 201835                              PO Box 516                    3308 Bellingham Court
Trust 45706                                Techny, IL 60082              Dallas, TX 75228
Houston, TX 77216-1835




Patricia Jones Flint                       Patricia K Archer             Patricia Karwowski Ttee
3314 Cottonfield Drive                     3814 W Black Diamond Circle   Henry E Karwowski Dmd Psp
Mount Pleasant, SC 29464                   Lecanto, FL 34461             Fbo Dr Henry E Karwowski
                                                                         710 Lacey Road
                                                                         Forked River, NJ 08731-1402



Patricia Katherine Vandiver                Patricia Kay Dickens          Patricia Kay Futch
Bloxom Et Al Mary K Grubbs                 5570 North Forty Place        45 Sixth Avenue
Amy Williams                               Dallas, TX 75252              Trenton, NJ 08619
2357 Highway 544
Ruston, LA 71270



Patricia Keane Sutton Trust                Patricia Keane Sutton Trust   Patricia Kennedy
Johnny Keane Sutton Trustee                Kelly Foster Sutton Trustee   4518 68Th Ave W
2600 Lake Austin Boulevard                 PO Box 2525                   Tacoma, WA 98466
Apartment 15102                            Boerne, TX 78006
Austin, TX 78703-4482



Patricia L Frazier                         Patricia L Hansen             Patricia L Jaure
2708 99Th Avenue                           1866 Enchanted Canyon Way     Address Redacted
Oakland, CA 94604                          Prescott, AZ 86305




Patricia L Moss                            Patricia L Perme              Patricia L Quigley Clark
1722 N Hill St                             839 Misty Glen                1016 Atlanta St
Tyler, TX 75702                            Dallas, TX 75232              Florence, AL 35630




Patricia L Snelgrove Aka Patricia L Hays   Patricia L Sylvester          Patricia L Woodward
208 Baker Street                           692 Dry Bayou Rd              5310 N 10Th St
Henderson, TX 75652                        Washington, LA 70589          Arlington, VA 22205




Patricia Lane St Clair                     Patricia Lark Boudreaux       Patricia Lee Berry
Box 724                                    Chartier                      Etvir Gayle Berry
Mertzon, TX 76941                          PO Box 593                    6686 Fm 225 South
                                           Delcambre, LA 70528           Henderson, TX 75654
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Patricia Linn Barrett La Trust           Patricia Lore Pritchard         Patricia Louise Hedlin
U/W Of P P Barrett Decd                  1300 Hilltop Drive              19604 Mallard Pond Trl
5829 Joyce Way                           Blue Springs, MO 64014          Pflugerville, TX 78660-2979
Dallas, TX 75225




Patricia Louise Phillips                 Patricia Luedecke               Patricia Lynn Ivey
219 Zoar Ave                             PO Box 1632                     6 Sarah Nash Court
Lubbock, TX 79416                        Bertram, TX 78605               Dallas, TX 75225




Patricia Lynn Nesbitt                    Patricia Lynn Staples           Patricia M Everett
c/o Texas State Treasury                 310 West 200 North              2055 W Grande Blvd 230
Unclaimed Property Division              Laverkin, UT 84745              Tyler, TX 75703-3398
PO Box 12019
Austin, TX 78711-2019



Patricia M Hawk Gano Trustee             Patricia M Matthew              Patricia M Mclarty
PO Box 540043                            120 Isdale Drive                1751 W Walker Street
Houston, TX 77254                        Yoakum, TX 77995                Apartment 11 110
                                                                         League City, TX 77573




Patricia M Shay Revocable Tst            Patricia Madden Mccoy           Patricia Maddox
Patricia M Shay Trustee                  703 Uncas St                    PO Box 359
720 Wedgewood Lane                       Logansport, LA 71049            Bremond, TX 76629
La Habra, CA 90631




Patricia Mae Smith                       Patricia Marie Principi Trust   Patricia Mast George
4160 Highway 167                         5781 Acorn Ridge Dr             PO Box 635025
Dubach, LA 71235                         Paradise, CA 95969              Nacogdoches, TX 75965-5025




Patricia Mathis Higginbotham             Patricia Mautz                  Patricia May
Marital Tst Crtd U/W/O Rufus W           9551 Peninsula                  253 Garr Rd
Higginbotham Iii Dtd 3/14/85             Dallas, TX 75218                Ruston, LA 71270
4723 Cherokee Trail
Dallas, TX 75209



Patricia Mcgehee Flournoy                Patricia Melton Reid            Patricia Miles
1609 E Georgia Ave                       PO Box 6328                     Address Redacted
Ruston, LA 71270                         Lake Charles, LA 70606




Patricia Mills Patterson                 Patricia N Wilson               Patricia N Wilson Minerals Ltd
1633 Northside Road                      PO Box 671323                   PO Box 671323
Shreveport, LA 71107                     Dallas, TX 75267-1323           Dallas, TX 75267-1323




Patricia Neild Moulton                   Patricia Nell Skinner           Patricia Null Squyres
555 Front Street Unit 703                3517 Dianna Dr                  1678 Centerpoint Rd
San Diego, CA 921016784                  Longview, TX 75602              Simsboro, LA 71275
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Patricia O Ferrell                     Patricia OBrian Fine Exmpt Tr   Patricia Oden
PO Box 5399                            500 N Shoreline Ste 601         171 Bay Ridge Pl
Shreveport, LA 71135                   Corpus Christi, TX 78401        Sequim, WA 98382




Patricia Osika Trust                   Patricia P Alexander            Patricia Palmer
Patricia Osika Trustee                 PO Box 1652                     4403 Palustris Court
5285 Se Verbena Pl                     Livingston, TX 77351            Charlotte, NC 28269
Hillsboro, OR 97123




Patricia Parker                        Patricia Parks Bumgarner        Patricia Pat Major Neinast
1403 Swinging Bridge Road              1050 Sw Ridge St                Box 33
Longview, TX 75604                     Lake City, FL 32024-3358        New London, TX 75682




Patricia Pickford                      Patricia Pike                   Patricia Pope Whaley And
1297 Lewis Dudley Road                 2335 HarveyS Barber Shop Rd     Thomas L Whaley
Greenville, NC 27834                   Dubberly, LA 71024              Drawer P
                                                                       Marshall, TX 75671




Patricia Pullen Monceaux               Patricia R Harness              Patricia Radar Russo
9816 Fm 1442                           411 Holly Drive                 PO Box 1231
Orange, TX 77630                       Buffalo, MO 35622               Harvey, LA 70059




Patricia Rasberry Garnto               Patricia Rice Dewey             Patricia Ritter Ritchie
4154 Will Rhoades Dr                   1401 Oak Hollow Lane            2655 Evalon
Columbus, GA 31909                     Anna, TX 75409                  Beaumont, TX 77702




Patricia Roberdau Mast Trust           Patricia Roberts Wall           Patricia S Brown Ttee
John C Mast Trustee                    126 Canyon Run Blvd             Phoenix Trust 401
116 North Fredonia Street              Huntsville, TX 77320            01/20/2000
Nacogdoches, TX 75961                                                  53 Laurel Lake Drive
                                                                       Hudson, OH 44236-2159



Patricia S Haggard Sep Prop            Patricia S Noell                Patricia Samford
212 Allen Road                         448 Caviness                    11656 St Hwy 87N
Arcadia, LA 71001                      Grapevine, TX 76051             Timpson, TX 75975




Patricia Seidenglanz Chapman           Patricia Sharp                  Patricia Shield Ayres
3323 Pollard Drive                     2000 Pearl St                   PO Box 90627
Tyler, TX 75701                        Nacogdoches, TX 75965           San Antonio, TX 78209




Patricia Spoor Carroll Estate          Patricia Steward                Patricia Stone
P M And K L Carroll Ind Exec           207 White Cloud Trl             PO Box 2161
2000 Care Center Dr                    Murfreesboro, TN 37127-8323     Ramona, CA 92065
Livingston, TX 77351
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Patricia Stuessel                         Patricia Suzanne Steude Sowell   Patricia Swope
108 Ladue Drive                           PO Box 5134                      984 S Oakland Ct
Mt Carmel, IL 62863                       Laguna Park, TX 76644            Aurora, CO 80012




Patricia T Richardson                     Patricia T Sullivan              Patricia Taliaferro
Acct 110169900595                         841 Munsel Creek Loop            214 Elkins Lake
Rbc Wealth Management                     Florence, OR 97439               Huntsville, TX 77340
16150 N Arrowhead Ftns Ctr Dr Ste 300
Peoria, AZ 85382



Patricia Tauber Bell                      Patricia Taylor                  Patricia Taylor Smiley
2718 Tudor Manor                          808 Lazarre Ave                  15834 Barbarossa Dr
Houston, TX 77082                         West Monroe, LA 71292-3560       Houston, TX 77083




Patricia Thomas Taylor                    Patricia Thompson                Patricia Towery Weinberg
237 Rebecca Dr                            7 Cellini Ct                     7320 Paul Calle Drive
West Monroe, LA 71292                     Lake Oswego, OR 97035            Plano, TX 75025




Patricia Trant Kidd                       Patricia Tuttle Williams         Patricia Vandiver Bloxom
10180 Cr 391                              404 E Loma Vista                 2357 Highway 544
Tyler, TX 75708                           Victoria, TX 77901               Ruston, LA 71270




Patricia Vickery Alford                   Patricia W Futch                 Patricia W Hays
61 1st Street                             12678 E Roca St                  2459 Pinebrook Ct
Hartwell, GA 30643                        Dewey, AZ 86327-7069             Seabrook, TX 77589




Patricia W Onochie                        Patricia W Payne                 Patricia Wilson Harris
2005 Sumpter Ct                           910 Sabine Pl                    6026 Terrytown Pkwy
League City, TX 77573                     Burneyville, OK 734309676        Indianapolis, IN 46254-5047




Patricia Y Mize                           Patricia Yancy                   Patrick A Lippmann Revoc Trust
3062 Magnolia Rd                          950 No Los Robles                U/T/A Dtd 5/31/95
Waskom, TX 75692                          Pasadena, CA 91104               Patrick Lippmann Trustee
                                                                           PO Box 720438
                                                                           Oklahoma City, OK 73172-0438



Patrick A Mcginley Rev Tr                 Patrick A Mcginley Rev Trust     Patrick A Moore
Patrick A Mcginley Ttee                   Dated January 2 1990             18039 Bal Harbour
PO Box 3126                               Ann Mcginley Schaefer Ttee       Houston, TX 77058-4307
Tulsa, OK 74101                           PO Box 58777
                                          Nashville, TN 37205



Patrick A Tainter                         Patrick A Watson                 Patrick Alastair Moore
Expat Jakarta                             11556 Grand Pine Dr              c/o Office Of Texas State
112 Butterweed Lane                       Montgomery, TX 77356             Unclaimed Property Division
Brisbane, CA 94005                                                         PO Box 12608 Capitol Station
                                                                           Austin, TX 78711
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Patrick Allison Parker                 Patrick Allison Parker Testamentary Tr   Patrick Allison Parker Trust
Testamentary Trust                     c/o Jp Morgan Chase Bank Na Ttee         c/o Jp Morgan Chase Bank Na Ttee
PO Box 2605                            PO Box 99084                             PO Box 99084
Fort Worth, TX 76113                   Fort Worth, TX 76199-0084                Fort Worth, TX 76199-0084




Patrick Amy Young Living Tr            Patrick B Browning                       Patrick B Okey
c/o Bank Of America Na Ttee            6632 Fm 124 W                            910 W Standley Street
PO Box 840738                          Beckville, TX 75631                      Ukiam, CA 95482
Dallas, TX 75284-0738




Patrick Bridges                        Patrick C Foster                         Patrick C Humphreys Executor
306 Butler Rd                          1111 Ridgeview Rd                        Est Of Ida Mae Compere Humphrey
Simsboro, LA 71275                     Camden, AR 71701                         PO Box 136220
                                                                                Fort Worth, TX 76101




Patrick C Humphreys Jr Ex              Patrick Chase Kemp Ellen Claire Kemp     Patrick Corrigan Fam Part LLP
Ida May Humphreys Estate               2831 Cloudcroft Circle                   PO Box 643726
10755 Equestrian Dr                    Las Cruces, NM 88011                     Vero Beach, FL 32964
Santa Ana, CA 92705




Patrick Craig                          Patrick D Stewart                        Patrick Davis
212 Watson                             PO Box 369                               3530 Michigan Blvd
Henderson, TX 75652                    Leesville, LA 71496-0369                 Shreveport, LA 71109




Patrick Davis Griffin                  Patrick Davis Griffin Kelly              Patrick Davis Kelly Griffin Trust
PO Box 528                             Michelle Griffin Cindy Griffin Trustee   Cindy Griffin Trustee
Crockett, TX 75935                     107 John C Rodgers Drive                 107 John C Rogers Dr
                                       Center, TX 75935                         Center, TX 75935




Patrick Dixon                          Patrick E Mcgee                          Patrick E Mcshan
1919 Rustic Ct                         2625 Briarparkste 1000                   11742 Lanes End Dr
Casper, WY 82609                       Houston, TX 77042                        Flint, TX 75762




Patrick E Standifer                    Patrick Edward Corrigan                  Patrick Edward Isaac
2021 The Alameda Suite 260             PO Box 643725                            5200 Irvine Blvd
San Jose, CA 95126                     Vero Beach, FL 32964                     Irvine, CA 92620




Patrick Eugene Williams                Patrick F Tyrrell                        Patrick Foster Hamner
3918 Fm 2021                           4217 Hillspire Avenue N W                7327 Centenary
Lufkin, TX 75904                       Albuquerque, NM 87120                    Dallas, TX 75225




Patrick Garrett                        Patrick H Smith Fran Walker Smith        Patrick H Swearingen Jr
5265 Edgeware Dr                       20257 Hwy 9                              112 E Pecan 1800
Calabasas, CA 91301                    Arcadia, LA 71001                        San Antonio, TX 78205
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Patrick H Wood Iii                      Patrick Harrison                      Patrick Hoffmann
519 Saddlewood Ln                       13 Windsor Ct                         13602 Stoney Hill
Houston, TX 77024-6835                  Lufkin, TX 75901                      San Antonio, TX 78231




Patrick Hunter Young                    Patrick Hunter Young Amy Blue Young   Patrick J Cullinan
Suite 400                               Fam Rvcbl Tr                          13800 W 116Th St Apt 3205
1320 S University Drive                 Bank Of America Na Agent              Olathe, KS 66062-7880
Fort Worth, TX 76107                    PO Box 840738
                                        Dallas, TX 75284-0738



Patrick J Cullinan Rev Trust            Patrick J Goldthorn                   Patrick J Horkin Iii
Patrick J Cullinan Mariwin M Cullinan   285 Cr 3273                           11938 Autumn Vista Street
As Trustees                             Quitman, TX 75783                     San Antonio, TX 782492401
13800 W 116Th St Apt 3205
Olathe, KS 66062



Patrick J Theriot And Betts H Theriot   Patrick James Nally                   Patrick Johnson Loftus Jr
215 City Park Cir                       11711 Memorial Dr Apt 391             1758 Missle Base Road
Lafayette, LA 70563                     Houston, TX 77024-7230                Stonewall, LA 71078




Patrick K Whitson                       Patrick Kennah                        Patrick L Cone
PO Box 284                              Address Redacted                      PO Box 350
Philomont, VA 20131-0284                                                      Choudrant, LA 71227




Patrick L Hariston                      Patrick L Kunz                        Patrick Ladouceur
761 Rwe Jones St                        9432 Parkford                         PO Box 50748
Grambling, LA 71245                     Dallas, TX 75238                      Sparks, NV 89435




Patrick Laughlin Rev Tr Wd108           Patrick M Johnson                     Patrick M Long
Patrick Laughlin Ttee                   5262 Lanette St                       PO Box 1813
Mineral Asset Management                Orlando, FL 32811                     Shreveport, LA 71166-1813
PO Box 1600 T 6
San Antonio, TX 78296



Patrick M Mcgowan Tanya T Mcgowan       Patrick Maher                         Patrick Michael Beresh
173 Burgessville Blvd                   5850 21st Street North                Charles Schwab Co Inc Cust
Ruston, LA 71270                        Arlington, VA 22205                   Sep Ira
                                                                              9 Crestwood Dr
                                                                              San Rafael, CA 94901



Patrick Michael Stacy                   Patrick N Fox                         Patrick R Hinton
705 Honey Street                        c/o Fox Architects                    3414 Shadowcrest Lane
Longview, TX 75605                      123 E 21st St                         Spring, TX 77380-1250
                                        Tulsa, OK 74114




Patrick R Schrum                        Patrick Rosemary Modic Rev Tr         Patrick S Byrne Phd
22314 Bucktrout Lane                    30 Spruce Dr                          216 E 2nd Ave
Katy, TX 77449                          Pocasset, MA 02559                    Mesa, AZ 85210-1412
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Patrick Sealy Pool Trust                   Patrick Stebritz                     Patrick Stephen Drewett
U/W/O Charles C Pool                       8374 W 25Th Pl                       3910 Woodburn
Patrick Sealy Pool Trustee                 Lakewood, CO 80214                   Ruston, LA 71270
3441 Paintbrush Lane
Bedford, TX 76021



Patrick W Santos                           Patrick Walker                       Patrick Wallace
115 Illinois St                            105 Stones Edge                      PO Box 109
Laredo, TX 78041                           Montgomery, TX 77356                 Gladewater, TX 75647




Patrick Westfeldt Jr                       PatrickS Gunshop LLC                 Patriot Artificial Lift LLC
PO Box 4614                                Patrick Ian Robertson                Dept 3664
Boulder, CO 80306                          6834 Kipling Place                   PO Box 123664
                                           Shreveport, LA 71107                 Dallas, TX 75312-3664




Patriot Artificial Lift LLC                Patriot Automation Control LLC       Patriot Bank
Rob Schott                                 PO Box 670367                        900 Bedford St
6825 Theall Road                           Dallas, TX 75267                     Stamford, CT 06901
Houston, TX 77066




Patriot Environmental Services             Patriot Fabrication LLC              Patriot Mudlogging LLC
PO Box 1091                                Patriot Services                     PO Box 1191
Long Beach, CA 90801                       Nathan Tarber Nathan Tarver          Midland, TX 79702
                                           8961 Fm 1997 N
                                           Marshall, TX 75670



Patriot Petroleum Services LLC             Patriot Services                     Patriot Transit LLC
PO Box 11207                               8961 Fm 1997 N                       PO Box 3586
Spring, TX 77391                           Marshall, TX 75670                   Houston, TX 77253-3586




Patron Services LLC                        Patron Services LLC                  Pats Roustabout Service Inc
Joe Castillo Sr                            PO Box 999                           PO Box 870
3725 Tatum Hwy                             Lovington, NM 88260                  Carthage, TX 75633
Lovington, NM 88260




Patsy A Boudreaux                          Patsy A Bradley                      Patsy A Garrett And Husband
PO Box 551                                 9922 Royce                           508 Burt St
Ruston, LA 71273                           Dallas, TX 75217                     Yoakum, TX 77995




Patsy Abbey Flores                         Patsy Ann Ball                       Patsy Ann Delony
1519 Goswell Lane                          2309 San Conero Dr                   18 Beaux Rivages
Channelview, TX 77530                      Pearland, TX 77581                   Shreveport, LA 71106




Patsy Ann Harris Pierce                    Patsy Armstrong Cates                Patsy Barmore Critselous
PO Box 204                                 c/o Henderson Federal Savings Bank   2499 Sortor St
Gary, TX 75633                             PO Box 1029                          Ruston, LA 71270-2461
                                           Henderson, TX 75653
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Patsy Blalack Davidson                 Patsy Davis Burch               Patsy E Patterson
402 Crystal                            1501 Shadow Crest               406 Belmont Drive
Longview, TX 75604                     Corinth, TX 76210               High Point, NC 27263




Patsy E Teague                         Patsy E Williams                Patsy Everett Garrett
3203 Flaming Candle                    338 Claiborne Creek Dr          Cindy Garrett Poa
Spring, TX 77388                       West Monroe, LA 71291-6704      PO Box 5357
                                                                       Longview, TX 75608




Patsy G Hilton                         Patsy G Yarborough              Patsy Gayle Koonce
1301 Mesa St                           224 Timberlane                  374 Windermere Blvd
Ruston, LA 71270                       Carthage, TX 75633              Alexandria, LA 71303




Patsy H Williams                       Patsy Harrison                  Patsy Hay Hedlund
142 Sarah                              3310 Royal Oaks                 134 Libby Lane
San Antonio, TX 78222                  Spring, TX 77380                Sibley, LA 71703




Patsy Isaac Pressley                   Patsy J Carpenter               Patsy J Porter
11612 Michale Ct                       PO Box 56                       1651 Cr 255
Silver Spring, MD 20904                Rossville, TN 38066             Big Spring, TX 79720




Patsy Jean Mckinley                    Patsy Jean Reeves               Patsy Jean Shirey Trustee
c/o Texas State Treasury               519 Sunset                      201 Fm 2517
Unclaimed Property Division            Carthage, TX 75633              Carthage, TX 75633
PO Box 12019
Austin, TX 78711-2019



Patsy Jean Smith Hall                  Patsy Jo Morgan                 Patsy Jones Harrison
409 Lincoln Hill Dr                    2710 Gum Springs Road           1718 Autumn Lane
Monroe, LA 71203                       Longview, TX 75602              Arlington, TX 76012




Patsy L Knight Life Estate             Patsy L Wiemers                 Patsy Laird Read
PO Box 64205                           139 Cr 324                      1613 Northumberland Rd
Lubbock, TX 79464                      Three Rivers, TX 78071          Austin, TX 787033143




Patsy Liner Williamson                 Patsy Lou Lowe                  Patsy Lr Partnership Ltd
4297 Highway 80                        439 Cr 3286                     1613 Northumberland Road
Ruston, LA 71270                       Joaquin, TX 75954               Austin, TX 78703




Patsy Lynn Floyd                       Patsy M Graham                  Patsy M Kidd
1318 E Henderson St                    5804 Shoal Creek Boulevard      4100 Raleigh Dr 2
Overton, TX 75684                      Austin, TX 78757                Conway, AR 72034
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Patsy Nixon                             Patsy Oneil                      Patsy Pack Boatright
909 Southside                           PO Box 157                       454 Pr 6307
Angleton, TX 77515                      Lamesa, TX 79331                 Mineola, TX 75773




Patsy Parmer                            Patsy Patrick Roper              Patsy Patterson Galloway
645 County Road 4356                    3223 Timberview Rd               909 West 6Th Street
Tenaha, TX 75974                        Dallas, TX 75229                 Idalou, TX 79329




Patsy R C Stuckmeyer                    Patsy R Mccoy                    Patsy Raborn
11581 Sparks Davis Rd                   10615 E 28Th Ct                  PO Box 71
Keithville, LA 71047-8594               Tulsa, OK 74129                  Greensboro, LA 70441




Patsy Riley                             Patsy Rose Mccune Cross          Patsy Ruth Averett Peterson
PO Box 809                              3705 Caroline St                 21 Woodland Drive
Mineola, TX 75773                       Big Spring, TX 79720             Longview, TX 75605




Patsy Ruth Holland Prior                Patsy Ruth Howard                Patsy Ruth Stuckmeyer
c/o Terry Lee Prior Poa                 3112 San Saba Ct                 11581 Sparks Davis Road
3624 Piedmont Drive                     Rockwall, TX 750326863           Keithville, LA 71047
Plano, TX 75075




Patsy Ruth West                         Patsy S Bell Carter              Patsy Stephenson
PO Box 191                              13710 Mt Vernon                  865 West Drive
Denton, TX 76202                        Santa Fe, TX 77510               Tenaha, TX 75954




Patsy W Waldrop                         Patsy Walker Carpenter           Patsy Watts Martin
147 County Road 113                     14474 Yacht Club Boulevard       7311 Syracuse Drive
Carthage, TX 75633                      Seminole, FL 337761105           Dallas, TX 75214




Patsy Whittington Brooks                Patsy Wilson Bolds Et Al         Patsy Wright
2201 W Belle Haven Drive                2109 Quesada Avenue              c/o Mrs Leon Wright
Bossier City, LA 71111                  San Francisco, CA 94124          101 S Park St
                                                                         Terrell, TX 75160




Patten Systems Inc                      Patterson Forestry Consultants   Patterson Jeffrey S
15598 Producer Lane                     629 Leachman Road                Sherrie S Patterson
Huntington Beach, CA 92649              Ruston, LA 71270                 4760 Country Club Road
                                                                         Longview, TX 75602




Patterson Motor Freight                 Patterson Rental Tools           Patterson Royalties LLC
PO Box 206546                           PO Box 203379                    622 W Rhapsody Ste A
Dallas, TX 75320-6546                   Dallas, TX 75320-3379            San Antonio, TX 78216
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Patterson Services Inc                  Patterson Sheridan LLP                  Patterson Tubular Services
PO Box 203379                           250 Cambridge Ave 300                   PO Box 910283
Dallas, TX 75320-3379                   Palo Alto, CA 94306                     Dallas, TX 75391




Patterson Uti Drilling Co LLC           Patterson Welding Works Inc             Patti A Risinger
PO Box 260111                           2401 N Parkland Ave                     3511 Ashcreek Cir
Dallas, TX 75321                        Artesia, NM 88210                       Nacogdoches, TX 75965-5822




Patti B Wells                           Patti Franks Rta                        Patti J Letcher
PO Box 744                              Tax Assessor Collector Winkler County   PO Box 934
Waskom, TX 75692                        P O Drawer T                            Artesia, NM 88211-0934
                                        Kermit, TX 79745




Patti Johnson Wilson Rev Tr And         Patti Lou Williams                      Patti Lynn Mackay
Frank X Henke Iii Co Ttees              5824 Fm 959                             1011 Gunnison St
PO Box 3688                             Tatum, TX 75691                         Magnolia, TX 77354
Tulsa, OK 741013688




Patti Mann Inheritance Tr Uad           Patti Spear Calvert                     Patti Talcott
c/o Cowling Burtsfield                  PO Box 816                              703 Commons Vista Drive
1508 W Park Ave                         Manvel, TX 77578-0816                   Huffman, TX 77336
Orange, TX 77630




Patti Tyson                             Pattie Harris                           Pattie K Lachle
471 S Entrance Rd                       417 Winged Foot Dr                      522 Yale Pl
Atlanta, TX 75551                       Lufkin, TX 75901                        Bossier City, LA 71111




Patton Barham Drewett                   Pattons Western Wear                    Patty Cox
3700 Misty Creek Dr                     814 N Trenton St                        302 Hill Haven Drive
Austin, TX 78735                        Ruston, LA 71270                        Abilene, TX 79601




Patty Lou Martin Dillaha                Patty Nixon Taliaferro                  Patty Rackley
7201 Kingwood Drive                     PO Box 240                              4717 Wellesley Ave Apt 242
Little Rock, AR 72207                   Abiliene, TX 79604                      Fort Worth, TX 76107-6105




Patty Wagstaff Carlton                  Paul A Dunn                             Paul A Langford Jr
511 Park Place                          111 Oak Forest Ln                       2000 Holly Hall St Al 116
Edmond, OK 73034                        Butler, PA 16001-8449                   Houston, TX 77054




Paul A Shody Lee Henshaw Ttee           Paul A Smith                            Paul Addison Swanson
Paul A Shody Lee Henshaw Trust          2410 White Oak                          PO Box 50874
1905 Split Mountain                     Dallas, TX 75227                        Casper, WY 82605
Canyon Lake, TX 78133
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Paul And Betty Phillips Trust         Paul B Carter                   Paul B Melnychenko
Paul G Phillips And Mark O Phillips   802 Augusta                     PO Box 13799
Co Trustees                           San Antonio, TX 78215           Denver, CO 80201
6210 Mesita Drive
San Diego, CA 92115



Paul Bates                            Paul Belanger                   Paul Bob Reagan
407 Humanson Drive                    21946 Panorama Dr               PO Box 55571
Lufkin, TX 75901                      Golden, CO 80401-9451           Valencia, CA 91385




Paul Bushong                          Paul C Talkington               Paul D And Pamela J Bump
106 Glen Lakes Ct                     7814 Eagle Trail                3037 Alpine Rd
Ingram, TX 78025-4403                 Dallas, TX 75238                Longview, TX 75605




Paul D Bump                           Paul D Hopkins                  Paul D Lizabeth G Hattaway
3037 Alpine Rd                        201 Kent Dr                     998 Hwy 815
Longview, TX 75605                    Pittsburgh, TX 75686            Simsboro, LA 71275




Paul D Mamon                          Paul D Walker                   Paul Daniel Morris And
4003 West 59Th Place                  Address Redacted                Wife Melaine Keitt Morris
Los Angeles, CA 90043                                                 1614 Mcmurray Drive
                                                                      Henderson, TX 75654




Paul Davis                            Paul Davis Ltd                  Paul Douglas Sherrod
2473 S Higley Rd 104 215              PO Box 871                      166 Bank Street Apt 5D
Gilbert, AZ 85295                     Midland, TX 79702               New York, NY 10014




Paul Dwayne Adams                     Paul E Brooks                   Paul E French
5205 Maple Dr                         5280 Durango Circle             PO Box 9215
Baytown, TX 77521-1620                Pensacola, FL 32504             Longview, TX 75608




Paul E French Trustee                 Paul E Olson                    Paul E Prevost Et Al
PO Box 9215                           15277 E Mt View                 PO Box 1726
Longview, TX 75608                    Kingsburg, CA 93631             Laredo, TX 78044




Paul E Sapaugh                        Paul E Snowwhite                Paul Edward Spears
c/o Greg Sapaugh                      1450 Plymouth Lane              Gwenette Cooper Spears
18339 Cooper River Drive              Unit 601                        1302 Eastland Ave
College Station, TX 77845             Elgin, IL 60123                 Ruston, LA 71270-4725




Paul Elvin Frost                      Paul Evan Gardbled              Paul Folwell Inc
Debbi Brown Frost                     1469 Rue Bayonne                8199 County Road 203
832 Strozier Rd                       Mandeville, LA 70471            Durango, CO 81301
West Monroe, LA 71291
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Paul Goodman Jr                       Paul Gst Exempt Lifetime Trust   Paul Gst Exempt Lifetime Trust
6310 Tam Oshanter                     802 Augusta                      802 Augusta Ste 100
Houston, TX 77036                     San Antonio, TX 78215            San Antonio, TX 78215




Paul Hastings LLP                     Paul Hastings LLP                Paul Henry Pruitt Jr
George W Abele                        Lockbox 4803                     PO Box 1202
515 South Flower Street 25Th Floor    PO Box 894803                    Eagle Pass, TX 78853
Los Angeles, CA 90071                 Los Angeles, CA 90189-4803




Paul Hogan And Johnnie F Hogan        Paul Hunter                      Paul J Hamlin
PO Box 615                            19307 Aquatic Dr                 1022 Cashew Ln
Ruston, LA 71270                      Humble, TX 773468035             Cedar Park, TX 78613




Paul Jackson                          Paul Joseph Lewis                Paul K Kelly
7889 Eastlake Drive                   7021 Village Green Dr            10016 Chambers Hill Drive
Murchison, TX 75778                   Stockton, CA 95210               St Louis, MO 63136




Paul Keedy                            Paul L Crye Life Estate          Paul L Lucas
4915 Ada Avenue                       Steven D Crye Remainderman       PO Box 144
Beaumont, TX 77708                    3126 Hudnall 104F                Midland, TX 79702
                                      Dallas, TX 752358906




Paul L Mccarroll                      Paul L Mcculliss                 Paul L Speed
641 Forth Worth Street                PO Box 3248                      587 Coco Palms
Jacksonville, TX 75766                Littleton, CO 80161-3248         Las Vegas, NV 89123




Paul L Whaley Jr                      Paul Larry Mccarroll             Paul Lee Ross
Box 831                               641 Fort Worth                   12115 Melissa
Marshall, TX 75670                    Jacksonville, TX 75766           Jacksonville, AR 72076




Paul Leslie Harvey                    Paul M Carroll                   Paul Meier
3360 Fm 10                            PO Box 1053                      PO Box 54
Carthage, TX 75633                    Joseph, OR 97846                 Basile, LA 70515




Paul Meier Estate                     Paul Messinger Co                Paul Messinger Co A Ptnshp
308 Silverbell Parkway                19661 E Mann Creek Drive B       10940 S Parker Rd
Lafayette, LA 70508                   Parker, CO 80134                 715
                                                                       Parker, CO 80134




Paul Michael Gray                     Paul Mitsakos                    Paul Mullins
405 Owl Hollow Road                   480 Washington Blvd              143 Pinecrest
San Marcos, TX 78666                  Jersey City, NJ 07310            Monroe, GA 30655
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Paul Musslewhite Trucking LLC             Paul P Burgess                        Paul P Zachry
PO Box 848                                226 Brookfield Rd                     7529 Cypress Street
Levelland, TX 79336-0848                  Avon Lake, OH 44012-1507              West Monroe, LA 71291




Paul Palmer                               Paul Patrick David                    Paul Preston
Pmb 505                                   221 Texas Drive                       Texas State Treasurer
356 N 750 W Ste D9                        Hideaway, TX 75771                    Unclaimed Property Division
American Fork, UT 84003                                                         Austin, TX 78711




Paul R Eschete Jr                         Paul R Gabler                         Paul R Galloway Jr
15410                                     5011 Bayou Vista Drive                PO Box 1627
Guadalupe Springs Lane                    Houston, TX 77091                     Abilene, TX 796041627
Cypress, TX 77429




Paul R Hammon Jr                          Paul R Mayer Jr                       Paul R Mayo Jr
914 Point Pleasant Road                   3825 Drusilla Drive                   1250 Ne Loop 410
Homer, LA 71040                           Baton Rouge, LA 70809                 Suite 415
                                                                                San Antonio, TX 78209




Paul R Porter                             Paul R Thibault                       Paul R Wright
704 Quaker Dr                             120 Newberry Road                     PO Box 2334
Friendswood, TX 77546                     South Windsor, CT 06074               Midland, TX 79702




Paul Rafael Prevost                       Paul Ramsey                           Paul Ray Stewart
PO Box 1726                               Route 7 Box 223                       511 S Park Rd Apt 228
Laredo, TX 78044                          Jacksonville, TX 75766                Spokane Valley, WA 99212-0556




Paul Raymond Lindemann                    Paul Rhett Prescher                   Paul Ruby D Perritt Rev Living Trust
718 Grape Street                          4350 N Broadway St Apt 711            14508 Highway 151
Denver, CO 80220                          Chicago, IL 60613-4863                Arcadia, LA 71001




Paul Rush Richardson                      Paul S Breedlove                      Paul S Lockhart
PO Box 22036                              3533 Woods Blvd                       8605 Cross View
Flagstaff, AZ 86002                       Tyler, TX 75707                       Fairfax Station, VA 22039




Paul Scott Visor                          Paul Shoop                            Paul Slayton
5763 Sun Canyon Drive                     3401 Coast View Drive                 PO Box 2035
San Antonio, TX 78244                     Malibu, CA 90265                      Roswell, NM 88202




Paul Steffen                              Paul Sullivan And Margaret Sullivan   Paul Taylor Farr
9100 N 48Th Place                         1513 Bennie Breece Street             2218 Marie Pl
Paradise Valley, AZ 85253                 West Monore, LA 71292                 Monroe, LA 71201-3416
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Paul Thurmond                          Paul V Draughn Estate                   Paul Venderberg Estate
Box 26                                 Nancy S Draughn Indp Executrix          5166 Tyrone Drive
Neffs, OH 43940                        101 Pithon Street                       Baton Rouge, LA 70800
                                       Lake Charles, LA 70601




Paul Verhalen                          Paul Vincent Kimes Jr                   Paul Vincent Kimes Jr Estate
c/o Texas State Treasury               1015 Madden Ln Apt 224                  1015 Madden Ln Apt 224
Unclaimed Property Division            Roseville, CA 95661-4497                Roseville, CA 95661-4497
PO Box 12019
Austin, TX 78711-2019



Paul Watters                           Paul Wayne Elzey                        Paul Younger
3801 Citibank Center                   PO Box 454                              613 N Massachusetts Ave
B / 3rd Floor / Zone 12                Sully, IA 50251-0454                    Oklahoma City, OK 73117-2434
Tampa, FL 33610




Paula Ann Younger                      Paula B Scott Gamble                    Paula B Stockstill
206 W 6Th St 938                       17743 Fm 2613                           726 Evergreen Drive
Los Angeles, CA 90014                  Kemp, TX 75143                          New Iberia, LA 70563




Paula Bernhard                         Paula Bethel                            Paula Bramlette Trust A
9932 Whalers Landing Ct                3413 Knob Hill                          Texas Bank And Trust
Las Vegas, NV 89117                    Deer Park, TX 77536                     c/o Trust Division
                                                                               PO Box 2749
                                                                               Longview, TX 75606



Paula Bramlette Trust B                Paula C Conley As Ind Exec              Paula C Cuccia
Texas Bank And Trust Co Tte            For The Estate Of Mary Still Clements   248 Wainwright Drive
c/o Trust Division                     2608 Stadium Drive                      Harahan, LA 70123
PO Box 2749                            Fort Worth, TX 76109
Longview, TX 75606



Paula C Wilson                         Paula Cargill Kaplan                    Paula Carter Seewald
PO Box 3                               2003 Livingston                         St 80 Lake Cherokee
Flint, TX 75762                        Longview, TX 75601                      Henderson, TX 75652




Paula Clements Conley                  Paula Clements Conley                   Paula Clements Conley
2429 Shirley Avenu                     Estate Of Mary Clements                 Family Limited Partnership
Fort Worth, TX 76109                   2608 Stadium Drive                      PO Box 4109
                                       Fort Worth, TX 76109                    Longview, TX 75606




Paula Clements Conley Ind              Paula Cooper Bailey                     Paula D Riley
2608 Stadium Drive                     9913 Northgate Drive                    1915 E Wilkins Pl
Fort Worth, TX 76109                   Mckinney, TX 75070                      Fayetteville, AR 72703




Paula D Slack                          Paula Dennis Wilson                     Paula Dewitt
PO Box 5819                            1753 Blackhawk 202                      2030 Players Path
Shreveport, LA 71135-5819              Aurora, CO 80011                        Kingwood, TX 77339
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Paula Durham                           Paula Dye Anderson              Paula E Dendy
8630 Cr 3408                           7320 Walking Horse Ct           251 Ashley Road
Chandler, TX 75758                     Wilmington, NC 28411            Minden, LA 71055




Paula Echols                           Paula Fletcher                  Paula Gilbert
Address Redacted                       7 Easton Oval                   PO Box 1062
                                       Columbus, OH 43219              Mabank, TX 75147




Paula Glen Dawson                      Paula Hestand Botkin            Paula Houston Robinson
17019 Windward Ln                      113 Vine Street                 PO Box 277
Addison, TX 75701                      Longview, TX 75605              Genoa, AR 71840




Paula J Hillin                         Paula J Schroeder               Paula Jane Sears
13588 Fm 2093                          1207 Victoria Drive             1211 Whitehall Drive
Fredericksburg, TX 78624               Longview, TX 75604              Bossier City, LA 71112




Paula Jean Kinman                      Paula Jeanette Tuttleterrell    Paula Jo Pons
133 County Road 462                    c/o Dca Travel Inc              5316 Northwest 114Th Street
Carthage, TX 75633                     419 Campbell Court              Oklahoma City, OK 73162
                                       Richardson, TX 750803412




Paula Joyce Dyer Mckinley              Paula K Whittaker               Paula Kay Bledsoe
638 Sam Page Road                      11303 Fm 2447 E                 7020 Martha Lane
Longview, TX 75604                     Chappell Hill, TX 77426         Fort Worth, TX 76112




Paula Kay Lewis                        Paula Kennimer                  Paula Lange Shoemaker
1521 Bailey Street                     1602 N 3Rd St Apt C             1808 Sacramento Terrace
West Monroe, LA 71292                  Monroe, LA 71201                Plano, TX 75075




Paula Lyon Segal                       Paula M Bloom                   Paula Marie Mccarthy
PO Box 1271                            14150 Squirrel Hollow           106 Sycamore Drive
Point Clear, AL 36564                  Saratoga, CA 95070              Metairie, LA 70005




Paula Moyers                           Paula Orcutt Thomas             Paula Pierson Fasken Rev Tr
2435 Shetland Way                      7432 Pebble Ridge Rd            Paula Pierson Fasken Ttee
Monument, CO 80132                     Fort Worth, TX 76132            PO Box 32687
                                                                       Santa Fe, NM 87594




Paula Properties LLC                   Paula R Courtright              Paula R Mcpeters
PO Box 5819                            576 River Road                  2605 N Carroll Ave
Shreveport, LA 71135                   Colfax, LA 71417                Southlake, TX 76092
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Paula R Roger                          Paula Rider                     Paula Shaw Hardee
17054 Wellington Dr                    6501 Cove Creek Place           515 Louisiana Hwy 175
Parker, CO 80134                       Dallas, TX 75240                Pleasant Hill, LA 71065




Paula Starr Estate                     Paula Sumner                    Paula T Denton
Joan Devlin Personal Rep               1920 Highpoint Place            PO Box 660
PO Box 1157                            Haughton, LA 71037              Alpine, TX 79831-0660
Eagle Point, OR 97524




Paula Thorp                            Paula White                     Paula Whitley Howell
3460 Birch Lane                        678 Talbert White Rd            27417 Whitley Road
Deer Park, TX 77536                    Simsboro, LA 71275              Bienville, LA 71008




Paula Wray Ewing                       Paula Young Payne               Paulette Pope
202 Eleanor                            3551 North Star Road            714 Beechwood Avenue
Jasper, TX 75951                       Apartment 4310                  Farrell, PA 16121
                                       Richardson, TX 75082




Paulette Taylor                        Pauline A Grogan                Pauline Branch
304 W Houston St                       783 Peregrine Place             1142 Lyric Ln
Abbott, TX 76621                       Amherst, OH 44001               Pasadena, TX 77503




Pauline Brumit                         Pauline E Scarborough           Pauline Evans Murphy
1600 N 14Th St                         1418 Lake Stream Ct             22211 Buena Vista St
Honey Grove, TX 75446                  Mishawaka, IN 46546             Tehachapi, CA 93561




Pauline Ferguson                       Pauline Grayson Orcutt          Pauline Hayes
10904 State Highway 110                2849 Colleen Drive              5214 Allendale
Van, TX 75790-3130                     Garland, TX 75043-1216          Houston, TX 77017




Pauline Kettle Haynes                  Pauline L Shotwell              Pauline Lacy
4506 Westway                           c/o Texas State Treasurer       416 West 52nd St
Dallas, TX 75205                       Unclaimed Property Division     Los Angeles, CA 90037
                                       PO Box 12608 Capitol Station
                                       Austin, TX 78711



Pauline Langley Shotwell               Pauline M Gray                  Pauline M Ramsey Life Estate
c/o Texas State Treasurer              Southward Ho Trailer Park       Remainder To Paul Ramsey
Unclaimed Property Division            20 Druid Path                   Mervyn S Ramseyvelois Ramsey
PO Box 12608 Capitol Station           Saint Petersburg, FL 33713      Ruti 4615 Pearl
Austin, TX 78711                                                       Nacogdoches, TX 75965



Pauline Metcalf                        Pauline N Antilley              Pauline Rowe Garrett
4610 Cypress River Road                Bradley Nobles Johnson Aif      1620 Highway 160
St Cloud, FL 34772                     3830 Old Plain Dealing Rd       Benton, LA 71006
                                       Plain Dealing, LA 71064
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Pauline S Wolff Memorial Foundation    Pauline Seay Neuhoff            Pauline W Mcclain
c/o Jpmorgan Chase Bank Na             c/o Suzanne Cunningham          c/o Texas Comptroller Accounts
PO Box 99084                           4005 Glenwick Ln                Unclaimed Property Division
Fort Worth, TX 76199                   Dallas, TX 75205                PO Box 12019
                                                                       Austin, TX 78711-2019



Pauline Wilson Crane                   Paulsen Frank                   Paulyn Gill Dougherty
4131 Calculus                          Address Redacted                John M Dougherty Poa
Dallas, TX 75244                                                       210 Lake Hollow Dr
                                                                       Weatherford, TX 76087




Pavillion Land Development LLC         Paychex Inc                     Paychex Inc
Attn Kim Tullis Div Order              8605 Freeport Pkwy Suite 100    4400 Kittredge Street
14001 N Dallas Pkwy Ste 1100           Irving, TX 75063                Denver, CO 80239
Dallas, TX 75240




Payday Minerals LLC                    Payment Remittance Center       Payne Family Trust
PO Box 214                             PO Box 6415                     c/o Frances Payne
Plain Dealing, LA 71064                Carol Stream, IL 60197-6415     215 North Daniels
                                                                       Carthage, TX 75633




Payne Williams Historic Cemetery       Payne/Stanley Trust             PayneS Hot Shot Services
c/o Joe E Gooch                        Gary W Greif Trustee            5722 N Stockton Ave
Rt 4 Box 122                           5900 Balcones Dr Ste 110        Odessa, TX 79764
Hemphill, TX 75948                     Austin, TX 78731




Payout Status On Wells For The         Payscale Inc                    Pb J Investments
Purpose Of Owner Payout Rpts           75 Remittance Dr Dept 1343      C Bruton Lynch
110 N College Ave Ste 1001             Chicago, IL 60675-1343          5120 Tanbark Rd
Tyler, TX 75702                                                        Dallas, TX 75229




Pbd Family Limited Partnership         Pbd Family Ltd Partnership      Pbe Inc
1304 Mesa Street                       Jerry S Drewett A I F           Parker Brothers Electrical Contracting
Ruston, LA 71270                       2158 Llangeler Dr               PO Box 867
                                       Ruston, LA 71270                Oil City, LA 71061




Pbr Properties Joint Venture           Pc Mechanical Inc               Pcaob
PO Box 2802                            2803 Industrial Parkway         PO Box 418631
Midland, TX 79702                      Santa Maria, CA 93455           Boston, MA 02241-8631




Pce Pacific Inc                        Pch Louisiana LLC               Pcm Sales Inc
22011 26Th Ave Se                      C/O Patty Colvin Hall           File 55327
Brothell, WA 98021                     2221 Rushing Springs Road       Los Angeles, CA 90074
                                       Lincoln, AL 35096




Pcs Ferguson Inc                       Pcs Ferguson Inc                Pcs Realty Partners Ltd
3771 Eureka Way                        Jp Morgan Chase Bank N A        PO Box 6894
Frederick, CO 80516                    PO Box 732131                   Tyler, TX 75711
                                       Dallas, TX 75373-2131
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Pdb Properties Ltd                    PDC Energy Inc                   Pdc Logic
8235 Douglas Avenue                   1775 Sherman Street Suite 3000   2601 Venture Dr
Suite 1350 Lb 62                      Denver, CO 80203                 Norman, OK 73069
Dallas, TX 75225




Pdq America                           Pds Energy Information Inc       Pds Group
1970 Willow Lake Dr                   PO Box 1606                      800 Bering Drive Suite 100
White Oak, TX 75693                   Austin, TX 78767                 Houston, TX 77057




Pds Management Group LLC              Peacock Family Trust             Peak Completions Technologies Inc
800 Bering Dr Ste 100                 Faye M Peacock Trustee           PO Box 5786
Houston, TX 77057                     1010 N Pacific                   Midland, TX 79704
                                      Mineola, TX 75773




Peak Gas Gathering Lp                 Peak Oilfield Services           Peak Oilfield Services LLC
1800 Preston Park Blvd Ste 112        PO Box 203997                    PO Box 548
Plano, TX 75093                       Dallas, TX 75320-3997            Bridgeport, TX 76426-0548




Peak Rentals LLC                      Peak Resource Management Inc     Peak Resources Management Inc
PO Box 2243                           13700 Braun Rd                   101 Baines Court
Longview, TX 75606-2243               Golden, CO 80401                 Cary, NC 27511




Pearl Alice Marsh                     Pearl C Miller Williams          Pearl E Harral Holstein
1465 Shearwater Dr                    PO Box 538                       PO Box 3192
Patterson, CA 95363                   Ruston, LA 71273                 Midland, TX 79702-3192




Pearl Gibson Curtis                   Pearl Gray Blunt                 Pearl Johnson Shuler
C/O Gertha Taylor                     Route 1                          828 Longleaf Road
6311 Woodland Ave Box 13              Tishomingo, MS 38873             Ridgeway, SC 29130
Kansas City, MO 64131




Pearl L Cantor                        Pearl M Green                    Pearl Meyer Partners LLC
401 East 81st St Apt 17G              2522 Swiss St                    Dept 41287
New York, NY 10028                    West Monroe, LA 71291            PO Box 650823
                                                                       Dallas, TX 75265




Pearl States Inc                      Pearl T Lively                   Pearl Talton
2800 N Henderson Ave                  1997 Forest Ridge Dr Apt 221     1115 Bennie Breece
Suite 202                             Bedford, TX 76021                West Monroe, LA 71291
Dallas, TX 75206




Pearlie Dunn Guiton                   Pearlie Mae J Campbell           Pearline N Moore
8013 Record                           1684 Reneva Ave                  6513 Sealey St
Houston, TX 77028                     San Francisco, CA 94134          Houston, TX 77091
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Pearlstone Energy Partners LLC          Pearlyne Baker Fields               Pearson Hall Ii Mi/Ri LLC
1460 Main St Ste 245                    512 Garr Road                       PO Box 1461
Southlake, TX 76092                     Ruston, LA 71270                    Midland, TX 79702




Peavy Family Ltd Partnership            Pebble Creek Energy LLC             Pec / Premier Safety Operations LLC
8882 E Rusty Spur Pl                    23750 Via Trevi Way 504             Chrissy Maestri Or Chris England
Scottsdale, AZ 85255                    Bonita Springs, FL 34134-7186       233 General Patton Avenue
                                                                            Mandeville, LA 70471




Pec Minerals Lp                         Pec Premier Safety Operations LLC   Pecan Efs Operating LLC
16400 Dallas Pkwy Ste 400               233 General Patton Ave              5847 San Felipe St
Dallas, TX 75248-2643                   Mandeville, LA 70471                Ste 2030
                                                                            Houston, TX 77057




Pecofacet Us Inc                        Pecolia Day Brown                   Pecos Bend Royalties LLLP
PO Box 841305                           1805 W Brazil St                    PO Box 2802
Dallas, TX 75284-1305                   Compton, CA 90220                   Midland, TX 79702




Pecos County Tax Office                 Pecos Valley Energy LLC             Pecos Valley Royalty Company
200 S Nelson St                         PO Box 601514                       PO Box 51387
Ft Stockton, TX 79735                   Dallas, TX 75360                    Midland, TX 79710




Pedro Renato Marion Tjebbes             Pegasus Bank                        Pegasus Holdings Inc
c/o Argent Property Services Llc        4515 West Mockingbird Lane          6534 Forest Creek Dr
PO Box 1410                             Dallas, TX 75209                    Dallas, TX 75230
Ruston, LA 71273




Peggie J Coats                          Peggie King                         Peggy A Daugherty
PO Box 1446                             PO Box 1065 Pr 1270                 1471 E Lake Woodlands Parkway
Coppell, TX 75019                       Centerville, TX 75833               Oldsmar, FL 34677




Peggy A Surginer                        Peggy Ann Bain                      Peggy Ann Haigwood Kendall
7374 County Road 235 N                  3334 Ginter Lane                    907 Ash
Henderson, TX 75652                     Katy, TX 77494                      Nashville, AR 71582




Peggy Ann Hill Chaires                  Peggy Ann Sims Reese                Peggy Ann Singleton Byrd
9004 Seneca                             3023 Hwy 818                        PO Box 142
Oakland, CA 94605                       Ruston, LA 71270                    Minden, LA 71058




Peggy Bailey Ward                       Peggy Blocker                       Peggy Bolton Turner
PO Box 1383                             11715 Ainsworth                     504 Shawnee Trail
Meadow Vista, CA 92606                  Houston, TX 77099                   Henderson, TX 756525415
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Peggy Crawley Van Hook                 Peggy Eubanks                    Peggy G Brown
PO Box 704                             PO Box 548                       218 Pinewoods Road
Arcadia, LA 71001                      Anson, TX 79501                  Farmerville, LA 71241




Peggy G Cruse                          Peggy G Lee                      Peggy Gallagher Cole
40 Fair Oaks Cir                       c/o Munsch Hardt Kopf Harr P C   1202 Chimney Rock
Monroe, LA 71203                       Nolan C Knight                   Houston, TX 77056
                                       500 N Akard Street Suite 3800
                                       Dallas, TX 75201-6659



Peggy Gantt Patton                     Peggy Harris Fuller              Peggy Heflin Mccarty
503 Lakeview Drive                     100 Senior Ave Apt 18            1133 E Hawkins Pkwy Apt 226
Farmerville, LA 71241                  Carthage, TX 75633               Longview, TX 75685




Peggy J Hahn                           Peggy Jane S Tucker              Peggy Jean B Szafir
3307 Stanolind Ct                      c/o Bank Of America              7080 Calder Ave Apt B112
Midland, TX 79707                      1050 Elana Drive                 Beaumont, TX 77706-6066
                                       Woodburn, OR 97071




Peggy Jean Johnston Johnson            Peggy Jean Sachelli Carter       Peggy Jean Sparks
2002 27Th Street Apt 4                 5512 Butte View Court            893 Narrows Road
Galveston, TX 77550                    Rocklin, CA 95765                Blanco, TX 786069776




Peggy Jo Deloney                       Peggy Jo Gibbs Buckles           Peggy Joann Beasley Rodgers
3700 Orleans Ave Apt 4208              202 Somerset Dr                  PO Box 763
New Orleans, LA 70119-4847             Lafayette, LA 70506              Valle Crucis, NC 28691




Peggy Joe Terrill Hull                 Peggy Joffrion                   Peggy Joy T Harman
1965 Pea Ridge Rd                      112 Flowers Drive                Frost National Bank Agent
Dubach, LA 71235                       Covington, LA 70433              Attn OG Tst Dept F5183100
                                                                        PO Box 1600
                                                                        San Antonio, TX 78296



Peggy K Shearer                        Peggy L Bell                     Peggy L Hughes
3139 Lake Island Dr                    311 Lilac Dr                     1707 Gail Dr
Montgomery, TX 77356-8972              Liberal, KS 67901                Marshall, TX 75670




Peggy L Lovelady                       Peggy Lorine Stark               Peggy Lusk Corley
334 College St                         c/o Texas State Treasury         16322 Lakeview Dr
Spartanburg, SC 29303                  Unclaimed Property Division      Jersey Village, TX 77040
                                       PO Box 12019
                                       Austin, TX 78711-2019



Peggy Lynn Lewis                       Peggy Marie Duncan               Peggy Morpurgo Debilt Ttee
PO Box 336                             104 Dianne Street                Peggy Morpurgo Debilt Trust
Carthage, TX 75633                     West Monroe, LA 71292            U/A Dtd 08/21/1998
                                                                        147 Segovia Way
                                                                        Jupiter, FL 33458-2725
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Peggy P Carroll Tst 1105 28              Peggy Pickel                       Peggy Pitman Mays
Wells Fargo Bank Na                      Address Redacted                   250 W Nottingham Dr 400
Jack Phillips Co Trustees U/A 80111600                                      San Antonio, TX 78209
PO Box 41779
Austin, TX 78704



Peggy R Allison                          Peggy R Fedell                     Peggy Rogers
7127 Fm 699                              143 Oakland Street                 4013 Red Oak
Tenaha, TX 75974-6855                    Rapid City, SD 57701               Nacogdoches, TX 75961




Peggy Ruth Smith                         Peggy S Rinehart                   Peggy Seago Cenac
8831 Sylvester                           2428 Centaurus                     509 Central Ave
Detroit, MI 48214                        Garland, TX 75044                  Houma, LA 70364-3015




Peggy Sellers Chapman                    Peggy Shely Harp                   Peggy Spencer
134 Gus Ledbetter Rd                     3149 Cincinnati Rd                 The Brighton Apt
Calhoun, LA 71225                        Georgetown, KY 40324               6727 Rainier Ave S Apt 131
                                                                            Seattle, WA 98118




Peggy Studenroth                         Peggy Sue Kilpatrick               Peggy Sue Lewis
3100 Mccann Road 3407                    Widow Of W D Kilpatrick            2126 Bedford Stage
Longview, TX 75605                       5486 Us Hwy 84 E                   San Antonio, TX 78213
                                         Joaquin, TX 75954




Peggy T Walker                           Peggy Temple Bissell               Peggy Thompson
Rr 1 Box 1205                            1780 Post Oak Road                 PO Box 653
Ringgold, LA 71608                       Keithville, LA 71047               Ruston, LA 71273




Peggy Tompkins Cotton                    Peggy Waters Separate Prop         Peggy Watson Kelley
PO Box 267                               3627 Belgrave Way                  616 Hwy 90 Apt 114 Bldg 5
Beckville, TX 75631                      Sacramento, CA 95833               Waveland, MS 39576




Peggy Wedgeworth                         Peggy Zimmerman Roth               Pegro Co Lp
3027 Kerry Street                        20700 Ventura Blvd Ste 227         c/o Peggy Casper
Nacogdoches, TX 75965                    Woodland Hills, CA 91364           45 East 89Th Street 35E
                                                                            New York, NY 10128




Pel State Bulk Plant LLC                 Pelican Energy Consultants LLC     Pelican Hill
Dba Pel State Services                   115 Ashland Way                    22701 Pelican Hill Road South
Erick Vigen                              Madisonville, LA 70447             Newport Coast, CA 92657
333 Texas Street Suite 2121
Shreveport, LA 71101



Pelico Pipeline LLC                      Peloton Computer Enterprises Inc   Penasco Services LLC
PO Box 301622                            23501 Cinco Ranch Blvd             PO Box 1210
Dallas, TX 75303-1622                    Suite C220                         Carlsbad, NM 88220
                                         Katy, TX 77494
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Penasco Valley Telephone Cooperative Inc   Penbrook Management LLC                   Pendan Tr
4011 West Main St                          880 3Rd Ave                               451 Heritage Dr Apt 618
Artesia, NM 88210-9566                     New York, NY 10022                        Pompano Beach, FL 33060




Penelope J Kilgore                         Penelope L Mobley                         Penelope Powers Pattee
137 Harrison Road                          410 W San Mateo Rd                        1340 W Fm 93 Hwy
Ruston, LA 71270                           Santa Fe, NM 87505-4026                   Temple, TX 76502




Penn Brothers Inc                          Penn Capital Management                   Penn Capital Management Company
3838 Oak Lawn Ave Suite 1216               Navy Yard Corporate Center                Attn D J Polis
Dallas, TX 75219                           3 Crescent Drive Ste 400                  Navy Yard Corporate Center
                                           Philadelphia, PA 19112                    3 Crescent Drive Ste 400
                                                                                     Philadelphia, PA 19112



Penn Capital Management Company Inc        Penn Iii                                  Penn Transport LLC
1200 Intrepid Ave 400                      c/o Garth Miller                          6891 Patrick Lane
Philadelphia, PA 19112                     PO Box 10469                              Shreveport, LA 71129
                                           Greensboro, NC 27404




Penn Virginia Corporation                  Penni Parker Mitchell Separate Property   Pennie Scott Wright Deceased
14701 Saint Marys Ln Ste 275               1208 Pine Street                          2706 Teddy St
Houston, TX 77079-2933                     Kilgore, TX 75663                         Marshall, TX 75670




Pennsylvania Castle Engy Corp              Penntex Midstream Partners                Penntex Permian
1720 Kendarbren Dr                         11931 Wickchester Lane                    11931 Wickchester Lane
Suite 723                                  Ste 300                                   Ste 300
Jamison, PA 18929                          Houston, TX 77043                         Houston, TX 77043




Pennwell Corporation                       Penny Boyd                                Penny D Chrisman
21428 Network Place                        9492 Markley Blvd                         532 West 2350 South
Chicago, IL 60673-1214                     Summerville, SC 29485-8592                Perry, UT 84302




Penny Green Rios                           Penny Honeycutt P L Honeycutt             Penny K Houston Martin
5821 West Rd                               102 E Beck St                             PO Box 426
Beeville, TX 78102                         Big Sandy, TX 75755                       Leming, TX 780500426




Penny L Pirri                              Penny Lee                                 Penny Lee Youngblood
570 Woodvine Ave                           3325 N Street Nw                          PO Box 730
Metairie, LA 70005                         Washington, DC 20007                      Millsap, TX 76066-0730




Penny Lyn Palmer Webb 1999 Tr              Penny Lynn Harrison Kosinski              Penny Marie Cameron
715 B Ave G                                6000 Old Ocean Blvd                       3364 Shady Hollow Circle
Levelland, TX 79336                        Ocean Ridge, FL 33435                     Dallas, TX 75233
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Penny Myrick Smith                     Penny Parker Lowrey                      Penny Price Seiders
2711 Stone Road                        1411 Kyle Street                         4541 North Bear Canyon
Kilgore, TX 75662                      Carthage, TX 75633                       Tucson, AZ 85749




Penny Price Seiders Life Est           Penny Seiders                            Pennzenergy Exploration Producing
4541 North Bear Canyon                 4541 North Bear Canyon                   711 Louisiana
Tucson, AZ 85749                       Tucson, AZ 85749                         Houston, TX 77002-2716




Pennzoil Producing Co                  Penroc Oil Corporation                   Penserra Capital Management LLC
Pennzoil Place                         PO Box 2769                              4 Orinda Way 100A
Box 2967                               Hobbs, NM 88241                          Orinda, CA 94563
Houston, TX 77001




Pension Benefit Guaranty Corporation   Pension Reserves Investment Management   Penson Properties Inc
Office Of The General Counsel          84 State St 250                          5950 Berkshire Lane Ste 1040
1200 K Street N W                      Boston, MA 02109                         Dallas, TX 75225
Washington, DC 20005-4026




Pentad Energy LLC                      Pentagon Federal Credit Union            Pentagon Publishing Inc
PO Box 1822                            PO Box 247027                            PO Box 451403
Shreveport, LA 71101                   Omaha, NE 68124-7027                     Atlanta, GA 31145




Penuel Hayes Worley                    Penwell Properties                       People 2 0 Dba Tfi Resources
4459 Pruitt Drive                      Twoturtle Crk Vlg                        PO Box 677905
Shreveport, LA 71107                   3838 Oak Lawn Ste 1216                   Dallas, TX 75267-7905
                                       Dallas, TX 75219




Peoples Bank                           Peoples Electric Cooperative             Peoples State Bank
Bridgeport Center 850 Main Street      PO Box 429                               1905 Stewart Avenue Po Box 1686
Bridgeport, CT 06604                   Ada, OK 74820                            Wausau, WI 54402-1686




Peoples Trust                          Peoples United Bank                      Pep Ii Management LLC
18 PeopleS Trust Way                   850 Main Street                          330 Marshall Street
Deerfield Beach, FL 33441              Bridgeport, CT 06604                     Suite 300
                                                                                Shreveport, LA 71101




Pepper Mckeehan Roberts                Pepsi Cola Of Casper                     Pepsi Cola Of Rawlins
2637 Courtland Park Circle             PO Box 2230                              PO Box 2230
Marietta, GA 30068                     1650 View Dr                             Casper, WY 82602
                                       Casper, WY 82602




Perc Wesley Greer                      Percival Cleveland Keith Trust           Percival Suzanne
418 N Jim Miller 1036                  c/o Wells Fargo Bank Na                  340 B Selma
Dallas, TX 75217                       PO Box 5383                              Webster Groves, MO 63119
                                       Denver, CO 80217
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Percy D Garner                        Percy D Hogan                            Percy Giles
15927 Scenic View Dr                  1891 Arkansas Road                       PO Box 503
Bullard, TX 75757                     West Monroe, LA 71291                    Grambling, LA 71245




Percy L Carr                          Perdue Brandon Fielder Collins Mott      Peregrine Corporation
367 Santana Heights Unit 5023         Attn Tab Beall                           PO Box 14190
San Jose, CA 95128                    Po Box 2007                              Monroe, LA 71207-4190
                                      Tyler, TX 75710-2007




Perella Weinberg Partners             Perez Charles J                          Perf O Log Inc
767 Fifth Avenue                      Address Redacted                         101 Bolton St
New York, NY 10153                                                             Lafayette, LA 70508




Perf O Log Inc                        Performance Chemical Company             Performance Publishing
Subsidiary Of W H Energy Inc          Travis Pitcock                           3313 W Cherry Ln 344
PO Box 200050                         PO Box 62450                             Meridian, ID 83642
Dallas, TX 75320-0050                 Midland, TX 79711




Performance Wellhead And              Perk Roc Inc Dba Stevenson Roach         Perkins Oil Company Inc
Frac Components Inc                   PO Box 157                               PO Box 1068
8505 Jackrabbit Rd Suite A            Artesia, NM 88211-0157                   Rawlins, WY 82301
Houston, TX 77095




Permian Anchors Inc                   Permian Basin Abstract Co                Permian Basin Acquisiion Fund
PO Box 12238                          102 S Main                               PO Box 3579
Odessa, TX 79768                      Seminole, TX 79360                       Midland, TX 79702




Permian Basin Petroleum Assoc         Permian Basin Petroleum Museum Library   Permian Disposal Services LLC
PO Box 132                            Hall Of Fame                             587 Us Highway 385 South
Midland, TX 79702                     1500 Interstate 20 West                  Seminole, TX 79360
                                      Midland, TX 79701




Permian Enterprises Ltd               Permian Equipment Rentals                Permian Fabrication Service Lp
Hollie Castonguay                     PO Box 61730                             3800 Mankins Ave
2121 W Murphy                         Midland, TX 79711                        Odessa, TX 79764
Odessa, TX 79763




Permian Plaza LLC                     Permian Production Equipment Inc         Permian Pump Supply
Mark Rankin                           PO Box 50725                             PO Box 12468
801 Cherry St Suite 2100              Midland, TX 79710                        Odessa, TX 79768-2468
Ft Worth, TX 76102




Permian Rod Operations LLC            Permian Services Co LLC                  Permian Services Co LLC
PO Box 12907                          Kerry Robinson                           PO Box 4869
Odessa, TX 79768                      PO Box 2960                              Dept 496
                                      Midland, TX 79702                        Houston, TX 77210
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Permian Tank Manufacturing Inc           Permian Tank Manufacturing Inc   Permian Trucking Hot Shot LLC
Louis Meider Jr And Malika Haiduk        PO Box 205642                    PO Box 11
PO Box 4456                              Dallas, TX 75320-5642            Gardendale, TX 79758
Odessa, TX 79760




Permits West Inc                         Pernice Maxfield                 Perri Parker Browning
37 Verano Loop                           PO Box 1062                      PO Box 43
Santa Fe, NM 87508                       Mabank, TX 75147-1062            Carthage, TX 75633




Perritt Oil Gas Family Ltd Partnership   Perry Bolger                     Perry Carolyn Reed
c/o Xto Energy Inc                       PO Box 1782                      3212 Line Road
810 Houston St Suite 2000                Midland, TX 79702                Vinton, LA 70668
Ft Worth, TX 76102




Perry Gregory Mary Ann Pye               Perry Gregory Pye                Perry J Lowe
Co Trtee Pye Rankin Family Tt            591 Fm 2200 W                    9712 Highway 146
591 Fm 2200 W                            Devine, TX 78016-                Ruston, LA 71270
Devine, TX 78016




Perry Jack Allen                         Perry Keith Ward                 Perry L Johnston
7499 E Timberlane Ct                     Altheaon Ward Burch Aif          213 Bloomquist
Scottsdale, AZ 85258-2006                PO Box 726                       Bakersfield, CA 93309
                                         Mansfield, LA 71052




Perry L Shaw                             Perry Lee Roberson               Perry Owen Teague
23683 Elmwood Drive                      1308 Bailey Street               16031 Pine Dr
Porter, TX 77365                         West Monroe, LA 71292            Tinley Park, IL 60477-6314




Perry Patricia Shaw Trust                Perry R Bass Inc                 Perry R Bass Trustee
23683 Elmwood Drive                      PO Box 916107                    PO Box 916107
Porter, TX 77365-5101                    Fort Worth, TX 76191-6107        Fort Worth, TX 76191-6107




Perry R Penney And Rebecca Penney        Perry Resources LLC              Perry Strange
276 Town East Road                       PO Box 90085                     5213 Strickland Spring Rd
Henderson, TX 75654                      Albuquerque, NM 87111            Marshall, TX 75672




Perry Vaughn                             Perry W Schrader                 Perry W Watson Jr
13820 Gulf Coast Road                    PO Box 495                       c/o Argent Property Services
Conroe, TX 77302                         Fort Collins, CO 80522-0495      PO Box 1410
                                                                          Ruston, LA 71273




Perryman Trust B/01/0288710              PerryS Properties No 1 LLC       Pershing Advisor Solutions LLC
Sandra Perryman                          803 Ponder St                    One Pershing Plaza 4Th Floor
2839 Curtis Drive                        Ruston, LA 71270                 Jersey City, NJ 07399
Tyler, TX 75701-8110
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Pershing LLC                            Person Whitworth Borchers Morales LLP   Personnel Concepts
Attn Al Hernandez                       P O Drawer 6668                         PO Box 5750
Securities Corporation                  Laredo, TX 78042                        Carol Stream, IL 60197-5750
1 Pershing Plaza
Jersey City, NJ 07399



Pertrice M Worley                       Pet Cody Hooker                         Petco Limited
905 Kings Hwy                           Cody Hooker Poa                         PO Box 911
Shreveport, LA 71104                    608 Country Club Dr                     Breckenridge, TX 764240911
                                        Marshall, TX 756725866




Pete Dailey Associates Inc              Pete Delano Treadway                    Pete Laird Ranch Trust Agency
11111 Katy Freeway Ste 870              8195 Cravens Camp Rd                    Regions Bk Nrre Operations Agt
Houston, TX 77079                       Silsbee, TX 77656                       Acct 650172018
                                                                                PO Box 11566
                                                                                Birmingham, AL 35202



Pete Minter                             Pete Rozelle                            Pete Wilcox
PO Box 369                              Erma S Rozelle Administrator            1201 East 23Rd Street
Center, TX 75935                        PO Box 21446                            Farmington, NM 87401
                                        Oklahoma City, OK 73156




Pete Williams Iii                       Peter A Verhalen                        Peter B Mahaffey Jr
561 S Guenther Ave                      c/o Texas State Treasury                434 Williamson Pl
New Braunfels, TX 78130                 Unclaimed Property Division             Corpus Christi, TX 78411
                                        PO Box 12019
                                        Austin, TX 78711-2019



Peter Brent Ford                        Peter Brimmer Swanson                   Peter C Doodley
2823 Mosely St                          2048 Pine Forest Drive                  c/o Tx Comptroller Of Public Acc
Arcadia, LA 71001                       Atlanta, GA 30345                       PO Box 12019
                                                                                Austin, TX 78711-2019




Peter Closs                             Peter Collins                           Peter Donna Yacoe
499 Washington Blvd                     Address Redacted                        326 Moss Hill Terrace Rd
Jersey City, NJ 07310                                                           Natchitoches, LA 714576421




Peter E Sandeen                         Peter Ellen Lekisch Joint               Peter F Adland
18904 Longmeadow Road                   Revocable Trust                         12 Macgregor Ct
Hagerstown, MD 21742                    Peter Ellen Lekisch Cottees             Durham, NC 27705
                                        1403 P Street
                                        Anchorage, AK 99501



Peter G Mulhearn Jr                     Peter Hansen Ranch Trust                Peter Hayes
660 Ray Rd                              c/o Edward Jones                        5210 Dover Drive
Calhoun, LA 71225                       206 Gifford Way                         Godfrey, IL 62035
                                        Sacaramento, CA 95864




Peter Humphries Mckenzie                Peter Huszagh                           Peter J Jackson
7520 Caruth Blvd                        1926 W Burnside St Unit 1606            5630 Dyer Street
Dallas, TX 75225                        Portland, OR 97209                      Dallas, TX 75206
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Peter James Mcnee Iii                  Peter Johnson Hays               Peter Joseph Hanlon
5750 Birdwood Road                     PO Box 5912                      Florence Judice Hanlon
Houston, TX 770962109                  Shreveport, LA 71135             Husband And Wife
                                                                        PO Box 105
                                                                        Ruston, LA 71273



Peter Knitch                           Peter Lombardo                   Peter M Tart
28 Stanford Dr                         47182 El Agadir                  7824 Glenshannon Circle
Rancho Mirage, CA 92270-3737           Palm Desert, CA 92260            Dallas, TX 75225




Peter M Yacoe                          Peter Mundy Trustee              Peter N Wiggins Iii Trustee
326 Moss Hill Terrace Rd               D/B/A Ana Oil Gas Trust          3838 Oak Lawn Avenue Suite 700
Natchitoches, LA 71457                 641 Belmar Drive                 Dallas, TX 75219
                                       Edmond, OK 73025




Peter O Kurz                           Peter PaulS Plumbing Inc         Peter Warren
10685 B Hazelhurst Dr 17798            1902 Hwy 80 E                    8 Lambert Rd
Houston, TX 77043                      White Oak, TX 75693              Freeport, ME 04032




Peter Wisda                            PeterS Chevrolet                 Peters Family Tr
6648 El Sol Avenue                     PO Box 5550                      Maudeen H Peters Ttee
Twentynine Palms, CA 92277             Longview, TX 75608               934 Cr 186
                                                                        Carthage, TX 75633




Peters Maudeen Holland                 Petersen Intl Underwriters       Petersen Products Co LLC
934 Cr 186                             23929 Valencia Blvd Suite 215    PO Box 340
Carthage, TX 75633                     Valencia, CA 91355               Fredonia, WI 53021-2416




Peterson Alvaro                        Peterson Contractors Inc         Peterson Energy Mn Inc
Address Redacted                       PO Box 567                       2154 W Eisenhower Blvd
                                       Homer, LA 71040                  Loveland, CO 80537




Peterson Petroleum Inc                 Petes Compression Services LLC   Petra Exploration LLC
PO Box 900                             20 Circle Road                   333 Texas Street
Millerton, NY 12546                    Longview, TX 75602               Suite 715
                                                                        Shreveport, LA 71101




Petra Lane Pride                       Petro Group                      Petro Amigos Supply Inc
580 N Mountain View Ave                PO Box 840738                    PO Box 957554
San Bernardino, CA 92401-1208          Dallas, TX 75284-0738            St Louis, MO 63195-7554




Petro Eagle Lc                         Petro Eagle Lc                   Petro Hunt Corp
2525 Kell Boulevard Ste 510            c/o Eagle Oil Gas Co             258 119Th Ave Sw
Wichita Falls, TX 76308                2525 Kell Boulevard Ste 510      Killdeer, ND 58640
                                       Wichita Falls, TX 76308-1061
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Petro Hunt LLC                        Petro Hunt LLC                  Petro Hunt LLC
Attn Jt Int Accting                   Dept 41404                      Rosewood Court
Rosewood Court                        PO Box 650823                   2101 Cedar Springs Rd Ste 600
2101 Cedar Spings Rd Ste 600          Dallas, TX 75265                Dallas, TX 75201
Dallas, TX 75201



Petro Land Group Inc                  Petro Oilfield                  Petro Partners Limited
3400 G E Dr                           3971 Sw Moody St                c/o Troy D Grooms Gen Ptnr
Tyler, TX 75701-7336                  Victoria, TX 77905              PO Box 600134
                                                                      Dallas, TX 75360




Petro Partners Limited                Petro Products Corp             Petro Pull
PO Box 180694                         PO Box 890                      PO Box 545
Arlington, TX 76096-0694              Levelland, TX 79336             Broussard, LA 70518




Petro Shore LLC                       Petro Tool Inc                  Petrochem Insulation Inc
Kenneth Shore President               1801 State Highway 135 E        110 Corporate Place
851 W Harrison Road                   Overton, TX 75684-2617          Vallejo, CA 94590-6968
Longview, TX 75604




Petroco Energy Corp                   Petrogulf Corporation           Petrohawk Energy Corp
800 State Street                      600 Grant Street Suite 850      1360 Post Oak Blvd
Garland, TX 75040                     Denver, CO 80203                Houston, TX 77056




Petrohawk Energy Corporation          Petrohawk Energy Corporation    Petrohawk Properties Lp
Kcs Resources Llc                     PO Box 847829                   1000 Louisiana Ste 5600
1360 Post Oak Blvd                    Dallas, TX 75284-7829           Houston, TX 77002
Ste 1900Ct
Houston, TX 77056



Petrohood Energy LLC                  Petrojarl Inc                   Petroland Services
PO Box 1592                           14760 Memorial Suite 204        2110 Artesia Blvd Ste B300
Ruston, LA 71273-1592                 Houston, TX 77079               Redondo Beach, CA 90278




Petroleum Association Of Wy           Petroleum Club Of Fort Worth    Petroleum Club Of Shreveport
951 Werner Ct Suite 100               777 Main St Ste 40              416 Travis Street
Casper, WY 82601-1351                 Fort Worth, TX 76102-5371       Ste 1500
                                                                      Shreveport, LA 71101




Petroleum Data Library                Petroleum Enginners Inc         Petroleum Field Services LLC
120 S Broadway Ave Ste 100            Tracey Romero                   7535 Hilltop Cir Ste 100
Tyler, TX 75702-7232                  400 Post Oak Blvd Site 400      Denver, CO 80221-3452
                                      Houston, TX 77056




Petroleum Financial                   Petroleum Investments Inc       Petroleum Listing Service
Dept 2298                             c/o Camille Despot              PO Box 4987
PO Box 122298                         416 Travis Ste 612              Houston, TX 772104987
Dallas, TX 75312-2298                 Shreveport, LA 71101
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Petroleum Motor Transport Association     Petroleum Perforators Inc                 Petroleum Producing Svcs LLC
PO Box 3831                               PO Box 1728                               PO Box 4238
Joplin, MO 64803                          Alice, TX 78333                           Alice, TX 78333




Petroleum Royalty Search Inc              Petroleum Solids Control Inc              Petroleum Solutions Intl LLC
PO Box 11210                              1320 E Hill Street                        PO Box 52285
Midland, TX 79702                         Signal Hill, CA 90755                     Lafayette, LA 70505




Petromarc Inc                             Petromax Holding LLC                      Petromax Operating Co Inc
11900 Jollyville Rd 203006                603 Main St Ste 201                       603 Main Street
Austin, TX 78720                          Garland, TX 75040                         Suite 201
                                                                                    Garland, TX 75040




Petroplex Acidizing Inc                   PetroQuest Energy Inc                     Petroquest Energy LLC
PO Box 60365                              400 East Kaliste Saloom Road Suite 6000   400 E Kaliste Saloom Rd
Midland, TX 79711-0365                    Lafayette, LA 70508                       Ste 6000
                                                                                    Lafayette, LA 70508




Petros Tubular Services Inc               Petroskills                               Petroskills LLC
3075 Walnut Ave                           PO Box 35448                              2930 S Yale Ave
Long Beach, CA 90807                      Tulsa, OK 74153-0448                      Tulsa, OK 74114




Petrotech Solutions                       Petrovaughn Inc                           Petroven Inc
PO Box 81                                 12201 Merit Drive                         5949 Sherry Ln Ste 835
Minden, LA 71058                          Suite 620                                 Dallas, TX 75225
                                          Dallas, TX 75251




Petruhl LLC                               Petrus Energy Company                     Petrus Trust Company Lta
563 Wards Chapel Rd                       10873 Fm 2432                             2300 W Plano Pkwy
Eatonton, GA 31204                        Conroe, TX 77303                          Plano, TX 75075




Petrust Corporation Of America            Petti Coats Mcclelland                    Pettus Oilfield Supply Store
Catoico Resource Mngmt Lp Agt             c/o Texas State Treasury                  PO Box 34
PO Box 53567                              Unclaimed Property Division               Pettus, TX 78146
Midland, TX 79710                         PO Box 12019
                                          Austin, TX 78711-2019



Petty Cash                                Petty Marie Clark                         Pevehouse Inc
111 W Ocean Blvd Suite 1240               11707 Fallbrook Drive 6307                3300 N A St Bldg 1 201
Long Beach, CA 90802                      Houston, TX 77065                         Midland, TX 79705




Peveto Properties Ltd                     Peyton Diliberto                          Peyton Dunn Rev Tr
R S Peveto Jr Agent                       1901 6th Avenue N                         Citizens National Bank Ttee
100 East Ferguson 9                       Birmingham, AL 35203                      PO Box 820
Tyler, TX 75702                                                                     Henderson, TX 75653
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Peyton Price Mead Irrev Trust         Pft / Alexander Service                  Pgc Gas Company
Susan Mead                            3250 Grant Street                        8150 N Central Expwy
PO Box 130268                         Signal Hill, CA 90755-1233               Suite 1475
Dallas, TX 75313                                                               Dallas, TX 75206




PgE Resources Company                 Pgp Holdings 1 LLC                       Phala Hartzog Simmons
77 Beale Street                       104 Townpark Drive                       289 Univeristy Drive
San Francisco, CA 94105               Kennesaw, GA 30144                       Walton, KY 41094




Phala Mae Nail                        Phalen Family Trust                      Phantom Oilfield Services LLC
700 University Drive                  Frank Phalen Ttee                        1008 Southview Circle
Carthage, TX 75633                    23414 Justice St                         Center, TX 75935
                                      West Hills, CA 91304-4403




Pheasant Energy LLC                   Phebe K Phillips Hargrove                Phebe Kay Phillips
PO Box 471458                         PO Box 190748                            PO Box 190748
Fort Worth, TX 76147-1376             Dallas, TX 75219                         Dallas, TX 75219




Phelps Consulting LLC                 Phil Harris ChildrenS Trust              Phil Hopkins
1005 E Reynolds Rd                    Philip Leon Harris Trustee               257 Lake Cheohee Rd
Mcalester, OK 74501                   13114 Creek Briar                        Tamassee, SC 29686
                                      San Antonio, TX 78230




Phil Mccollum                         Phil P Taylor                            Philadelphia Gear
414 S Benton Way                      2901 Mary Mack Drive                     PO Box 223729
Los Angeles, CA 90057-1704            Marshall, TX 75672                       Pittsburgh, PA 15251-2729




Philco Tubing Testers                 Philip A Mcclain And Deborah L Mcclain   Philip Alderton Bahr
PO Box 1699                           16265 Prairie Mdw                        107 Radney Rd
Breckenridge, TX 76424                Forney, TX 75126-7108                    Houston, TX 77024-7334




Philip Andrew Riley                   Philip Arvine Shinalt                    Philip B Howell Mary Amelia
101 Broad Oaks Trl                    PO Box 2285                              c/o Bank Of America Trust Oil Gas
Houston, TX 77056-1216                Jacksonville, TX 75766                   PO Box 840738
                                                                               Dallas, TX 75284-0738




Philip B Johns                        Philip B Koonce Iii                      Philip B Koonce Jr
PO Box 311                            5206 High Point Drive                    514 Oyster Creek Dr
Portland, TX 78374                    San Angelo, TX 76904                     Richwood, TX 77531-2514




Philip Benjamin Moore Testmry         Philip Bishop                            Philip Costlow
Tr Ruey Kunzman Arbuckle              R/O Ira E Trade Custodian                1020 Earlene Dr
Renice Kunzman Farley Ttees           357 Lakeshore Drive                      Breaux Bridge, LA 70517-6329
7979 Woodway                          Alto, NM 88312-8010
Houston, TX 77063
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Philip D Gully Estate                    Philip D Gully Jr                   Philip Dewayne Roberts
PO Box 90223                             PO Box 90223                        129 Hempstead 1535
San Antionio, TX 78209                   San Antonio, TX 78209               Fulton, AR 71838




Philip Edward Ritter                     Philip G Chapman                    Philip Gregory Kendall
220 Broland Dr                           1239 Wynden Court                   835 Park St
Duson, LA 70529-3768                     Houston, TX 77056                   Gilmer, TX 75644




Philip Hill Jones Trust                  Philip J Pursell                    Philip Joyner
Philip Hill Jones Trustee                PO Box 3958                         562 Hwy 763
4508 Arcady Ave                          Chester, VA 23831                   Mansfield, LA 71052
Dallas, TX 75205-3607




Philip K French Jr                       Philip L Iddings                    Philip L Sadkin
PO Box 250                               109 Garner St                       17584 Nw 177Th Ave
Cresson, TX 76035                        Livingston, TX 77351                Alachua, FL 32615




Philip L Savage                          Philip L Zorn                       Philip Leon Harris
1703 Coventry Lane                       606 Park Knoll                      13114 Creek Briar
Oklahoma City, OK 73120                  Katy, TX 77450                      San Antonio, TX 78230




Philip Michael Miles                     Philip R Rice                       Philip Reed Broxson
5800 Lazy Bend Rd                        PO Box 600308                       1300 Barnum Blvd
Millsap, TX 76066                        Dallas, TX 75360-0308               Corrigan, TX 75939




Philip Reid Aldridge                     Philip Rowe Rust                    Philip Towns
8003 High Hollow Cove                    2004 Tammy Street                   2398 Highway 517
Austin, TX 78750                         Sulphur, LA 70663                   Gibsland, LA 71028




Philip W Muller                          Phillip Addison Westbrook           Phillip Arthur Fincher
89 Athens St                             2922 Brentley Ct                    237 Hidden Acres Road
Rancho Mirage, CA 92270-1920             Pearland, TX 77584                  Arcadia, LA 71001




Phillip B Howell Mary A Whited Howell    Phillip B Monigold And              Phillip Browning Carroll And
Revocable Trust Ut/A 12 8 94             Wife Elizabeth Kay Monigol          Alnita Johnson Carroll
Bank Of America Na Agent                 PO Box 8172                         907 N Trenton
PO Box 840738                            Tyler, TX 75711                     Ruston, LA 71270
Dallas, TX 75284-0738



Phillip Cooper                           Phillip David Fitzpatrick Tr        Phillip Douglas Baucum
PO Box 919                               Community Bank Tr Ttee Trust Dept   747 W Calhoun St
Cedar Crest, NM 87008-0919               PO Box 2303                         Magnolia, AR 71753-3421
                                         Waco, TX 76703
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Phillip Duane Dupree                    Phillip E Laney                 Phillip Gilliam
2330 W 65Th St                          811 E 41st St                   10110 Edward Avenue
Indianapolis, IN 46260                  Savannah, GA 31401-9426         Bethesda, MD 20814




Phillip Godwin                          Phillip Grimes                  Phillip H Black Life Estate
Patty Godwin                            812 University                  304 Market Street
PO Box 1127                             Carthage, TX 75633              Gordonsville, VA 22942
Odessa, TX 79760




Phillip H Frazier                       Phillip H Mccary Iii            Phillip Handley Pate
222 J Street 426                        12839 Lambeth St                120 Shady Springs Bend
San Diego, CA 92101                     Moreno Valley, CA 92553         Lufkin, TX 75901




Phillip James Mccullough Jr             Phillip James Mccullough Sr     Phillip Jarrett
7850 W Mcdowell Rd Apt 2021             Tamayah PhilNea Mccullough      Address Redacted
Phoenix, AZ 85035                       7850 W Mcdowell Rd Apt 2021
                                        Phoenix, AZ 85035




Phillip John Macmahon Jr                Phillip K Thompson              Phillip Kent Taylor
208 Terrell St                          Address Redacted                2901 Mary Mack Drive
Alice, TX 78332                                                         Marshall, TX 75672




Phillip Kloppenburg                     Phillip L Davis                 Phillip L Gibson
PO Box 1775                             416 Travis St Ste 1006          191 Private Road 3457
Roswell, NM 88202                       Shreveport, LA 71101            Longview, TX 75602




Phillip Linville                        Phillip M Standley              Phillip May Jr
2411 N Hall Street                      1022 Texan Trail                Rr 2 Box 2744
Unit 40                                 5304                            Ruston, LA 71270
Dallas, TX 75204-2840                   Grapevine, TX 76051




Phillip Mccrary                         Phillip Monigold                Phillip Paula Joyner
2113 Valencia St                        PO Box 8172                     562 Hwy 763
Monroe, LA 71201                        Tyler, TX 75711                 Mansfield, LA 71052




Phillip R Elswick                       Phillip R Fenton                Phillip R Hood
PO Box 257                              2600 Twisted Oak                147 Lester Road
Van, WV 25206                           Brenham, TX 778339247           Arcadia, LA 71001




Phillip Robert Damaschino               Phillip Robinson Whitten        Phillip S Holtzclaw
Charles Schwab Co Inc Cust              407 Castlewood Estates Rd       Rebecca P Holtzclaw
Sep Ira                                 Quitman, LA 71268-1034          534 Elliott Rd
3229 Glenside Dr                                                        Arcadia, LA 71001
Lafayette, CA 94549
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Phillip S Olinger                        Phillip Stephen Cutler Ii      Phillip T Jones
William H Olinger                        130 Jessica Dr                 6400 Cuesta Trail
115 Fieldstone Drive                     Aledo, TX 76008                Austin, TX 787302842
Terrace Park, OH 45174




Phillip W Foshee                         Phillip W Glenn                Phillip W Paparone
1403 Monaldo Ct                          913 E Sunset Dr                800 N Harvard Ave
Pearland, TX 77581                       Casa Grande, AZ 85222          Ventnor, NJ 08406




Phillip Wayne Hunt                       Phillip Wayne Martin           Phillip Winfree
c/o Texas State Treasury                 283 Old Stagecoach Rd          2928 Lilly St
Unclaimed Property Division              Hot Springs, AR 71901          Nacogdoches, TX 75964
PO Box 12019
Austin, TX 78711-2019



Phillipe Prevost                         Phillips 66                    Phillips And Jordan Inc
PO Box 1726                              PO Box 5400                    Happy Lee
Laredo, TX 78044                         Bartlesville, OK 74005         10201 Parkside Drive Suite 300
                                                                        Knoxville, TN 37922




Phillips Energy Partners LLC             Phillips Fam 2006 Acq Prtshp   Phillips K Campbell Jr
PO Box 51743                             330 Marshall St Ste 300        5114 Gibson Street
Lafayette, LA 26778                      Shreveport, LA 71101           Houston, TX 77007




Phillips Murray Rev Trust Dtd 8/20/99    Phillips Petroleum Co          Phillips Steel Company
Gail Beaumont Phillips                   PO Box 200816                  1368 West Anaheim Street
Jeffrey Scott Murray Ttees Dtd 8/20/99   Houston, TX 77216-0815         Long Beach, CA 90813
PO Box 24657
New Orleans, LA 70184



Philotechnics Ltd                        Phipps Robbi R                 Phoebe Hope Dann
201 Renovare Blvd                        Address Redacted               Charles Schwab Co Inc Cust
Oak Ridge, TN 37830                                                     Phoebe Dann I401K Plan
                                                                        1056 Stannage Avenue
                                                                        Albany, CA 94706



Phoenix Eengineering                     Phoenix Gas Marketing Co       Phoenix Gas Pipeline Company
18001 Cowan Ste J                        3200 Sw Frwy Suite 2130        3200 Southwest Freeway
Irvine, CA 92614                         Houston, TX 77027              Suite 2130
                                                                        Houston, TX 77027-7525




Phoenix M K Enterprises LLC              Phoenix Services               Phoenix Services LLC Its Subsidiaries
PO Box 421328                            PO Box 3483                    Matt Trahan
Houston, TX 77242-1328                   Farmington, NM 87499-3483      PO Box 421328
                                                                        Houston, TX 77242




Phoenix Tristar Ltd                      Phoenix Water Transfer LLC     Phong Thanh Nguyen
PO Box 2585                              Shane Waites                   Address Redacted
Longview, TX 756062585                   1555 Wells Island Road
                                         Shreveport, LA 71107
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Phonoscope Cable                      Phronia Bates Wilson            Phuong L Do
6105 Westline Dr                      4220 Pacific Way                Address Redacted
Houston, TX 77036-3515                Longview, WA 98632




Phw Minerals LLC                      Phyliss Liner Martin            Phyliss Sherman Est
Farmers National Co Agent             111 Brinwood Circle             Margot Quinn Sally Q Curci Admin
Oil Gas Department                    Houma, LA 70360                 24 Georgia St
PO Box 3480                                                           Cranford, NJ 07016
Omaha, NE 68103



Phylko Energy Corporation             Phyllis A Love                  Phyllis Adams
5701 Woodway Suite 312                5247 Courtyard Dr               809 S Terri Ann Dr
Houston, TX 77057                     Gonzales, LA 70737              West Covina, CA 91791




Phyllis Akmal                         Phyllis Alberta Garner          Phyllis Ann Burkett
204 West Spring Dr                    14001 Fondern Rd 834            PO Box 123
Austin, TX 78746                      Missiouri City, TX 77489        Number 6C
                                                                      Fredericksburg, TX 78624




Phyllis Ann Jones Manuel              Phyllis Ann Lawhorn Griffith    Phyllis Ann Meadors
17071 Harpers Way                     464 County Road 118             PO Box 811
Conroe, TX 77385                      Carthage, TX 75633              Rankin, TX 79778




Phyllis Bernstein                     Phyllis Colvin Carlyon          Phyllis E Kauffman
10320 Stone Canyon Rd                 148 Plantation Drive            9431 W Jewell Pl
Apt 204 South                         New Iberia, LA 70563            Lakewood, CO 80227-2221
Dallas, TX 75230




Phyllis E Kauffman Est                Phyllis Ferguson                Phyllis Finley
Phyllis E Kauffman                    12423 Atlaw                     3360 Ocean Drive
11466 W Florida Pl                    Houston, TX 77071               Corpus Christi, TX 78411
Lakewood, CO 80232




Phyllis Grimes Huckaby And            Phyllis H Gilly                 Phyllis Hanson
Kenneth Huckaby                       5585 Caruth Haven Lane 301      2840 S Eaton Way
348 Huckaby Rd                        Dallas, TX 75225                Denver, CO 80227
Longview, TX 75605




Phyllis Jane Young                    Phyllis Jean Garr Kelley        Phyllis Jean Rader
8516 River Ridge Drive                1133 So Grevillea Ave           6503 Orion Lane
Hearne, TX 77859                      Inglewood, CA 90301             Arvada, CO 80007




Phyllis June Wingett                  Phyllis Key                     Phyllis Kratzer
PO Box 335                            PO Box 1104                     808 Blacker Ave
Cayucos, CA 93430-0335                Snyder, TX 79549                El Paso, TX 79902
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Phyllis Lesh Echols                      Phyllis Milstein Feldman         Phyllis Murphy Young
1913 Faringdon Dr                        7205 Oakmont Dr                  8516 River Ridge Drive
Plano, TX 75075-2711                     Frisco, TX 75034                 Hearne, TX 77859




Phyllis Roden Brummitt                   Phyllis S Davenport Newell       Phyllis Sciullo Marital Tst
PO Box 22694                             2812 Hidden Springs              Sciullo Trte c/o Susan Bailey
Knoxville, TN 37933                      Mesquite, TX 75181               3606 Albans Rd
                                                                          Houston, TX 77005




Phyllis Shipp Carlyle                    Phyllis Shockey                  Phyllis Sims
401 Towne Oaks Drive                     3306 Walnut Cove Court           7535 Donbudge
Tyler, TX 75701                          Houston, TX 77546                Baton Rouge, LA 70810




Phyllis Smoots                           Phyllis Suzanne W Blackwell      Phyllis W Brill
11103 Helms Trail                        19315 Country Lake Dr            3704 North Charles St
Forney, TX 75126                         Magnolia, TX 77355               Baltimore, MD 21218




Pic A Kard Inc                           Piceance Energy LLC              Pick Ltd
PO Box 1454                              1572 Larimer St                  8111 Preston Road Suite 800
Lamesa, TX 79331                         Suite 1000                       Dallas, TX 752256378
                                         Denver, CO 80202




Pick Testers Hydro                       Pickens Financial Group          Pickering Investment Company
PO Box 341                               10100 N Central Expy             PO Box 266759
Sterling, CO 80751                       Ste 200                          Joaquin, TX 75954
                                         Dallas, TX 75231




Pics Auditing LLC                        Pierce Construction Inc          Pierce Gregory
17671 Cowan Ste 150                      PO Box 69                        936 Devonshired Blvd
Irvine, CA 92614-6856                    Beckville, TX 75631              Encinita, CA 92024




Pigs Unlimited Intl Inc                  Pikes Peak Energy Services LLC   Pilgrim Oil Gas Tech Services Inc
23802 Fm 2978 Suite C 1                  PO Box 2510                      PO Box 188
Tomball, TX 77375                        Ozona, TX 76943                  White Oak, TX 75693-0188




Pilot Directional Services LLC           Pilot Drilling Fluids Inc        Pilot Thomas Logistics LLC
105 Emma St                              33300 Egypt Ln Ste F200          PO Box 677732
Zwolle, LA 71486                         Magnolia, TX 77354-2741          Dallas, TX 75267-7732




Pin Oak Enterprises LLC                  Pine Knoll Apartments            Pine Tree Cumberland
c/o Billy R Pesnell                      2019 Toler Rd                    Presbyterian Church
400 Travis Street Suite 1100             Longview, TX 75605               PO Box 5340
Shreveport, LA 71101                                                      Longview, TX 75608
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Pine Tree Isd Tax Office               Pine Tree Isd Tax Office              Pine Tree Trust
1701 Pine Tree Road                    PO Box 5878                           PO Box 2862
Longview, TX 75608                     Longview, TX 75608                    Longview, TX 75606




Pinebridge Investments LLC             Pinecrest Partners Lp                 Pinecrest Ptnrs Lp Mging Gen
11100 California State Rte 2 550       Managing General                      Partner Wolf Family Mgmt Co
Los Angeles, CA 90025                  700 Louisiana Ste 1100                711 Louisiana Ste 1660
                                       Houston, TX 77002                     Houston, TX 77002




Pinewood Exploration Inc               Piney Hills Federal C U               Pingo Royalties Lp
PO Box 182004                          2735 Martha St                        5006 Westgrove Ln
Arlington, TX 76096                    Simsboro, LA 71275                    Colleyville, TX 76034




Pinkerton Consulting Investigations    Pinkie King                           Pinkie L Davis
PO Box 406394                          2010 E Main                           4047 Mystic Sunrise
Atlanta, GA 30384-6394                 Nacogdoches, TX 75961                 San Antonio, TX 78244




Pinkie Lee Muckleroy                   Pinkie Puella Giles                   Pinkie Roberson Lewis Sep Prop
1204 South Fedora Street               1411 South Union Apt 1                PO Box 265
Los Angeles, CA 90006                  Tacoma, WA 98405                      Arcadia, LA 71001




Pinks Lubricants                       Pinnacle Bank                         Pinnacle Materials LLC
PO Box 1390                            3140 Lexington Road                   PO Box 296
Wichita Falls, TX 76307                Athens, GA 30605                      Sulphur Springs, TX 75483




Pinnacle Propane                       Pinnacle Propane                      Pinnacle Seismic Ltd
1612 Garden City Hwy                   8205 Ave F                            4305 N Garfield
Midland, TX 79701                      Lubbock, TX 79404                     Suite 233
                                                                             Midland, TX 79705




Pinnacle Welding Fabrication LLC       Pinnacol Assurance                    Pinnergy Ltd
PO Box 8205                            PO Box 561434                         111 Congress Ave Ste 2020
Tyler, TX 75711                        Denver, CO 80256-1434                 Austin, TX 78701




Pintail Production Company Inc         Pioneer Bank                          Pioneer Coiled Tubing Services LLC
6467 Southwest Blvd                    3000 N Main St                        PO Box 203674
Fort Worth, TX 76132                   Roswell, NM 88201                     Dallas, TX 75320-3674




Pioneer Consulting And Services LLC    Pioneer Consulting Services LLC Dba   Pioneer Contract Services Inc
Dba Lighthouse Energy Solutions        Lighthouse Energy Solutions           Dept 24
Matt Trahan                            PO Box 421328                         PO Box 4346
PO Box 421328                          Houston, TX 77242-1328                Houston, TX 77210-4346
Houston, TX 77242
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Pioneer Drilling Services               Pioneer Gasket Of Wyoming Inc   Pioneer Investment Management Inc
PO Box 202569                           PO Box 968                      60 State Street
Dallas, TX 75320-2569                   Rock Springs, WY 82902          Boston, MA 02109




Pioneer Mineral Interests Ii L          Pioneer Natural Resources       Pioneer Natural Resources Usa
c/o Slick Enterprises                   PO Box 3178                     PO Box 840836
4400 Silas Creek Prky Ste 302           Midland, TX 79702               Dallas, TX 75284-0836
Winston Salem, NC 27104




Pioneer Oilfield Trucking Inc           Pioneer Products Inc            Pioneer Resources Usa Inc A De Corp
PO Box 5774                             PO Box 234001                   5205 North OConnor Blvd
Victoria, TX 77903                      Great Neck, NY 11023-9998       Suite 1400
                                                                        Irving, TX 75039-3746




Pioneer Southwest Energy Partners L P   Pioneer Well Services LLC       Pioneer Wireline Services LLC
5205 N OConnor Blvd                     PO Box 202563                   PO Box 202567
Suite 200                               Dallas, TX 75320-2563           Dallas, TX 75320-2567
Irving, TX 75039




Pipe Exchange                           Pipe Exchange                   Pipe Maintenance Inc
Jamie Tatum                             PO Box 301858                   Dept 102
PO Box 952286                           Dallas, TX 75303-1858           PO Box 4988
Dallas, TX 75395                                                        Houston, TX 77210-4988




Pipe Pros LLC                           Pipe Specialties Inc            Pipeco Services Inc
1729 N Clarkwood Rd Ste 101             PO Box 132283                   PO Box 840280
Corpus Christi, TX 78409-2415           Spring, TX 77393                Dallas, TX 75284-0280




Pipeline Association For                Pipeline Cleaners Inc           Pipeline Liner Company Ltd
Public Awareness                        PO Box 157                      303 West Wall
16361 Table Mountain Parkway            Ft Madison, IA 52627            Suite 1202
Golden, CO 80403                                                        Midland, TX 79701




Pipeline Measurement Co Lp              Piper Jaffray Co                Piper Morgan Associates
PO Box 3259                             Attn Treasurer J09Str           Personnel Consultants
Alice, TX 78333                         800 Nicollet Ave Suite 1000     3355 West Alabama Suite 1000
                                        Minneapolis, MN 55402           Houston, TX 77098




Pipes Family Irrevocable Trust          Piping Specialties Co Inc       Pirkle LLC
Shan P Campbell Trustee                 PO Box 909                      Lewis Pirkle Conger Sole Member
5716 Stones River Avenue                Green River, WY 82935           2641 Village Lane
Baton Rouge, LA 70817                                                   Bossier City, LA 71112




Pirtle Capital Investments Lp           Pirtle Properties Lp            Pitchblack Oil LLC
Lynne Pirtle Managing Partner           Farmers National Co Agent       PO Box 1404
PO Box 8509                             Oil Gas Dept                    Dickinson, ND 58602
Tyler, TX 75711                         PO Box 3480
                                        Omaha, NE 68103
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Pitmen Inspection Services LLC         Pitney Bowes                    Pitney Bowes Inc
9893 E North Park Ave                  PO Box 856042                   Account Integrity
Evansville, WY 82636                   Louisville, KY 428566042        2225 American Dr
                                                                       Neenah, WI 54956




Pitney Bowes Global                    Pitney Bowes Inc                Pitney Bowes Postage
Financial Services Llc                 PO Box 371896                   PO Box 223648
PO Box 371887                          Pittsburgh, PA 15250-7896       Attn Reserve Account
Pittsburgh, PA 15250-7887                                              Pittsburgh, PA 15250-2648




Pitney Bowes Postage By Phone          Pitney Bowes Purchase Power     Pitts Energy Co
PO Box 371874                          PO Box 371874                   Attn David Pitts
Pittsburgh, PA 15250-7887              Pittsburg, PA 152507874         3313 Caldera Blvd
                                                                       Midland, TX 79707




Pitts Pipe And Supply                  Pitts Swabbing Service Inc      Pittsburgh Petroleum Co
PO Box 945                             PO Box 554                      PO Box 90627
Levelland, TX 79336                    Laurel, MS 39441                San Antonio, TX 78209




Pj Printers                            Pjc Ltd Prtshp                  Pjk Family Limited Partnership
1530 North Lakeview Ave                Patricia Cooper Gen Partner     PO Box 386
Anaheim, CA 92807                      PO Box 1713                     Mineral Wells, TX 76068
                                       Roswell, NM 88202




Pjw Minerals LLC                       Pl Ackerman Trust               Pl Mobley Inc
PO Box 3627                            Phyllis L Ackerman Trustee      410 W San Mateo
Tulsa, OK 74101                        PO Box 1250                     Santa Fe, NM 87505
                                       Casper, WY 82602




PL Services                            Plains Capital Bank             Plains Exploration Prod Co
PO Box 365                             2323 Victory Ave 100            Pogo Producing Company Llc
Levelland, TX 79336                    Dallas, TX 75219                Attn Treasury Department
                                                                       700 Milam Suite 3100
                                                                       Houston, TX 77002



Plains Marketing L P                   Plains Marketing Lp             Plains Production Inc
PO Box 4648                            PO Box 1450                     1601 Se 19Th Street
Houston, TX 77210-4648                 Minneapolis, MN 55485-5116      Edmond, OK 73013




Plains Purchasing                      Plains Welding Supply Inc       Planned Parenthood Of Arizona
Fbo Boggs Completions Llc              522 S Main                      Attn Bryan Howard
PO Box 53935                           Carlsbad, NM 88220              4751 N 15Th St
Lubbock, TX 79453                                                      Phoenix, AZ 85014




Planning Thru Completion LLC           Planning Thru Completion LLC    Plano Jaco LLLP
PO Box 1124                            PO Box 202056                   106 Marty Way
Mcalester, OK 74502-1124               Dallas, TX 75350                Jefferson, GA 30549
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Planters Bank                              Plantex Equipment Corp              Plants N Petals
1312 S Main St                             17424 W Grand Pkwy S                1 N Sampson St
Hopkinsville, KY 42240                     204                                 Houston, TX 77003
                                           Sugar Land, TX 77479




Plateau                                    Platinum Control Technologies       Platinum Parking
PO Box 9000                                2822 W 5Th Street                   930 Main Street Suite T 280
Clovis, NM 88102-9090                      Fort Worth, TX 76107                Houston, TX 77002




Platinum Pressure Pumping Inc              Platinum Pressure Services Inc      Platinum Pressure Services Inc
2100 West Loop South                       Basic Energy                        PO Box 1852
Suite 1601                                 Mark Rankin                         Decatur, TX 76234
Houston, TX 77027                          801 Cherry St Suite 2100
                                           Ft Worth, TX 76102



Platinum Production Testing Services Inc   Platinum Slickline Services Inc     Platinum Slickline Svcs Inc
10126 Truchas Rd                           PO Box 29550                        6003 Financial Plz 200
Laredo, TX 78045                           Shreveport, LA 71149-9550           Shreveport, LA 71129-2670




Platt Family Tr Dtd 07 28 2000             Platt Sparks Associates             Platts
Karen Anne Doherty Platt Ttee              Consulting Petroleum Engineer Inc   PO Box 848093
1645 La Coronilla Dr                       925 A Capital Of Texas Hwy          Dallas, TX 75284-8093
Santa Barbara, CA 93109                    Austin, TX 78746




Platts SP Global Platts                    Player Jovita Caraway               Plaza Tower Ltd
A Division Of Mcgraw Hill Financial Inc    6016 Hwy 90 West                    c/o Burns Noble
Platts Customer Services                   Milton, FL 32583-1734               909 Ese Loop 323
Two Penn Plaza                                                                 Suite 650
New York, NY 10121                                                             Tyler, TX 75701



Plc OG Properties L P                      Pleasant Hill Baptist Church        Pleasing Plants Inc
PO Box 470574                              1127 Mondy Rd                       16760 Hedgecroft Suite 612
Fort Worth, TX 761470574                   Ruston, LA 71270                    Houston, TX 77060




Pledge Resources LLC                       Plemmons Family Investments         Plimus Inc
2101 Cedar Springs Rd                      c/o Ruth Anne Plemmons              5201 Great America Pkwy Ste 320
Ste 600                                    336 Gainsville Rd                   Santa Clara, CA 95054-1140
Dallas, TX 75201                           Marshall, TX 75670




Plotter Supplies Inc                       Pls                                 Pls
PO Box 330010                              PO Box 427                          PO Box 4987
Northglenn, CO 80233-8010                  Houston, TX 77210-4987              Houston, TX 77210-4987




Plum Creek Southern Timber LLC             Plummer Brothers LLC                Plummer Means LLC
601 Union St Ste 3100                      1501 Cove                           214 Adams Street
Seattle, WA 98101                          Bossier City, LA 71112              Mansfield, LA 71052
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Plunk Properties LLC                    Plus Electric Inc               Plus Electric Inc
108 Jonesboro Road                      1202 Beebe Avenue               PO Box 35
West Monroe, LA 71292                   Bairoil, WY 82322               Bairoil, WY 82322




Plx Inc                                 Pma Conference Management       Pmc Oil Gas Management LLC
7030 S Yale Ave Ste 402                 PO Box 2303                     PO Box 1111
Tulsa, OK 74136-5729                    Falls Church, VA 22042          Gilmer, TX 75644




Pmi Operating Company Ltd               Pmr Services Inc                Pnc Bank N A
Production Pump System A Dxp Company    PO Box 734                      2323 Victory Ave 1400
PO Box 201791                           Traverse City, MI 49685         Dallas, TX 75219
Dallas, TX 75320-1791




Pnc Financial Services Group Inc        Pneumatech Safety Systems Inc   Pnh Resources LLC
One Pnc Plz 249 Fifth Ave               PO Box 522                      PO Box 160892
Pittsburgh, PA 15222                    Arp, TX 75750                   San Antonio, TX 78280




Pnr Energy LLC                          Pnr Energy LLC                  Pnt Minerals LLC
520 Starr Street                        PO Box 1284                     PO Box 2126
Corpus Christi, TX 78401                Woodsboro, TX 78393             Bartlesville, OK 74005-2126




Poco Minerals LLC                       Poco Oil Company                Poco Properties LLC
PO Box 601673                           13103 Holston Hills Drive       PO Box 97
Dallas, TX 75360                        Houston, TX 770692608           Sibley, LA 71073-0097




Pog Lc                                  Pogar Petroleum Ltd             Pogo Producing Company
Attn Katherine E Rehkopf                PO Box 10095                    PO Box 847769
8925 Champion Hills Dr                  Midland, TX 79702               Dallas, TX 75284-776
Wilmington, NC 28411




Pogo Producing Company LLC              Pointe Coupee Energy Inc        Points West Commnunity Bank
700 Milam                               PO Box 9                        100 E 3Rd Street Po Box 25
Suite 3100                              Lottie, LA 70756                Julesburg, CO 80737
Houston, TX 77002




Polaris Pipeline LLC                    Polie Emma Stewart Living Tr    Polk County Assessor Collector
3698 Rr 620 S Ste 112                   Emma Stewart Trustee            416 N Washington
Austin, TX 78738                        315 Llewellyn Ave               Livingston, TX 77351-2899
                                        Mccomb, MS 39648




Polk County Clerk                       Polk County District Clerk      Pollard Nick B
Po Drawer 2119                          Case Civ 22120 B                2213 Kingsmill Cir
Livingston, TX 77351                    c/o J Robert Beatty             Tyler, TX 75703-5813
                                        2200 Ross Ave Suite 2200
                                        Dallas, TX 75201
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Pollard Interests LLC                   Pollok Family Mineral Trust          Pollok Family Mineral Trust
2213 Kingsmill Circle                   F/B/O Clemence M Pollok Ligon        F/B/O Lewis W Pollok Iii
Tyler, TX 75703-5813                    Lewis W Pollok Iii Trustee           Lewis W Pollok Iii Trustee
                                        9011 Woodhurst Drive                 9011 Woodhurst Drive
                                        Dallas, TX 75243                     Dallas, TX 75243



Pollok Family Mineral Trust             Polly A Britain                      Polly Anne Raizen Rev Tr
F/B/O Nancy Knox Pollok Guinee          11245 Shoreline Drive Apt 209        Deborah A Raizen Ttee
Lewis W Pollok Iii Trustees             Tyler, TX 75703                      8036 Cobble Creek Circle
9011 Woodhurst Drive                                                         Potomac, MD 20854
Dallas, TX 75243



Polly Cook Williams                     Polly D Company                      Polly Dawson Doliner
819 Robinson Place                      Attn Ab Atkins                       8808 Old Tom Way
Shreveport, LA 71104                    6125 Luther Lane                     Raleigh, NC 27613
                                        222
                                        Dallas, TX 75225



Polly E Upton                           Polly Griffith                       Polly H Aubrey
645 Nova Avenue                         3108 Crickett Drive                  3313 Valley Forge Trail
High Point, NC 27263                    Plano, TX 75023                      Fort Worth, TX 76140




Polly Houston                           Polly Lockhart                       Polly Mae Spivey
7400 Nw 129Th                           7604 South Yale Place 1001           170 Null Road
Oklahoma City, OK 73142                 Tulsa, OK 74136                      Ruston, LA 71270




Polly Pepper Mccurry                    Polly Renner                         Polly Rinehart Meisner
5110 Old Oak                            123 Azalea Drive                     3424 7Th Street
Colleyville, TX 76034                   Brownwood, TX 76801                  Apt D
                                                                             Lewiston, ID 83501




Polyflow LLC                            Pomrenke Wireline Services           Poncie L Devine Howard
2309 E Interstate 20                    PO Box 1934                          PO Box 158
Midland, TX 79701-2060                  Rock Springs, WY 82902-1934          Bernice, LA 71222




Pond Creek Resources Inc                Pond Mary Lee Dollahite Lloyd Pond   Ponderosa Minerals LLC
16531 Berkshire Forest Drive            1080 Hickory Street                  PO Box 601
Houston, TX 77095                       Waskom, TX 75692                     Fort Worth, TX 76101




Pondexter Jackson                       Pool Mary Maurine                    Pool Michael Edward
3009 Greyfriars                         2164 Fenton Pkwy 110                 381 E Nees 103
Detroit, MI 48217                       San Diego, CA 92108                  Fresno, CA 93720




Pool Richard Joseph                     Poole Gas Co                         Poor Boys Hot Oil Service
9926 Zitto Lane                         PO Box 406                           PO Box 1234
Tujunga, CA 91042                       Malakoff, TX 75148                   Cuba, NM 87013
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Pop PopS Oil LLC                       Pope Kelly Jr                       Popeye Partners LLC
186 Nearwater Lane                     404 Ballantrae Rd                   6175 Main St Ste 250
Darien, CT 06820                       Pelham, AL 35124-6249               Frisco, TX 75034




Pops G Energy LLC                      Port Hueneme Marine Supply Co Inc   Port Of Long Beach
15 Paradise Plaza 372                  700A E Hueneme Rd                   4801 Airport Plaza Drive
Sarasota, FL 34239                     Port Hueneme, CA 93041              Long Beach, CA 90815




Port Of Long Beach                     Port Supply                         Portales Petroleum Corporation
Attn Cashier                           PO Box 50060                        PO Box 5130
PO Box 570                             Watsonville, CA 95077-5060          Frisco, TX 75035
Long Beach, CA 90802




Porter G Dowling                       Posse Energy Inc                    Posse Energy Ltd
Box 67                                 9805 Katy Fwy Ste 500               PO Box 4585
Logansport, LA 71049                   Houston, TX 77024-1271              Houston, TX 77210




Post Isd                               Post Oak Savannah Trust             Postmaster Ft Worth
Po Drawer F                            204 North Palestine                 Tx Central Finance
Post, TX 79356                         Athens, TX 75751                    819 Taylor St
                                                                           Fort Worth, TX 76102-9998




Potomac Ltd                            Potter Garcia Management Group      Pouch Records Management
8111 Preston Rd Ste 800                PO Box 845                          2309 Moore Ave
Dallas, TX 75225                       Natchez, MS 39121                   Fullerton, CA 92833




Poudre Valley Coop Assn Inc            Poudre Valley Rea                   Powell Electrical Systems Inc
225 Nw Frontage Rd                     PO Box 712389                       PO Box 843823
Ft Collins, CO 80524                   Denver, CO 80271-2389               Dallas, TX 75284




Powell Exploration Company             Powell Family Royalty LP            Powell Tire Company LLC
273 Maplehurst Point                   PO Box 5513                         2007 Se Main Street
Littleton, CO 80126                    Longview, TX 75608                  Roswell, NM 88203




Power Chokes Lp                        Power Funding Ltd                   Power Innovations LLC
PO Box 849832                          815 Rice Rd                         PO Box 250
Dallas, TX 75284                       Tyler, TX 75703-3118                Bloomfield, NM 87413




Power Rig Rental Tool Inc              Power Service Inc                   Powerflex Cementers
PO Box 61520                           PO Box 2870                         PO Box 666
Lafayette, LA 70596-1520               Casper, WY 82602                    Winters, TX 79567
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Powerflex Services Inc                 Powerflo Products Inc                Powers Ventures Inc
PO Box 666                             5573 Market Place                    11711 Woodruff Ave Suite 20
Winters, TX 79567                      Cypress, CA 90630                    Downey, CA 90241




Powertrack International Inc           PP Interests LLC                     PP Minerals Lp
PO Box 6136                            11249 Shelterwood Lane               PO Box 473
Hermitage, PA 16148-0922               Dallas, TX 75229                     Midland, TX 79702




PP Welding Svc Co LLC                  Ppi Partnership LLLP                 Ppi Technology Services LLC
PO Box 973                             48 Black Bear Spur Rd                920 Memorial City Way
Monahans, TX 79756                     Bozeman, MT 59718                    Suite 900
                                                                            Houston, TX 77024




Ppm America Inc                        Ppm Consultants Inc                  Pradon Construction Trucking
225 W Wacker Dr 1200                   1600 Lamy Lane                       PO Box 14969
Chicago, IL 60606                      Monroe, LA 71201                     Odessa, TX 79768




Prashant B Gadkari                     Pratt Investments LLC                Praxair Distribution Inc
Dba Enprotech Consultants LLC          310A Sse Loop 323                    Dept La 21511
Prashant Gadkari                       Tyler, TX 75710                      Pasadena, CA 91185-1511
1903 Palmetto Glen Lane
Richmond, TX 77469



Precious Lashiba Arkansas              Precise Propellant Stimulation LLC   Precision Analysis
5705 Thoroughbred Trail                Dale Seekford                        29 Country Acres Rd
Denton, TX 76210                       PO Box 157                           Riverton, WY 82501
                                       Gloster, LA 71030




Precision Analysis LLC                 Precision Analysis LLC               Precision Drilling Company LP
5989 N Fm 51                           Kylie Cook                           Precision Drilling Holdings Company
Weatherford, TX 76085                  29 Country Acres Rd                  10350 Richmond Avenue Suite 700
                                       Riverton, WY 82501                   Houston, TX 77042




Precision Drilling Company Lp          Precision Energy Services Inc        Precision Energy Services Inc
PO Box 202695                          1159 Old Spanish Trail Highway       PO Box 301003
Dallas, TX 75320-2695                  Broussard, LA 70518                  Dallas, TX 75303-1003




Precision Graphics Centers             Precision Lease Service              Precision Ndt LLC
7051 Portwest Ste 130                  PO Box 235                           2905 Cr 205 N
Houston, TX 77024                      Kermit, TX 79745                     Henderson, TX 75652




Precision Pipe Rentals LLC             Precision Signs LLC                  Precision Tubular Services
750 E Mulberry Ave Ste 305             PO Box 285                           PO Box 1177
San Antonio, TX 78212-3105             Shreveport, LA 71162-0285            Waller, TX 77484-1177
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Precision Well Site Consulting LLC      Precision Wireline Services LLC            Predator Oil Gas Services LLC
3680 F Rd                               834 Ridge Road                             Eric Holcomb
Palisade, CO 81526                      Duson, LA 70529                            PO Box 471
                                                                                   Carthage, TX 75633




Predator Pressure Control And           Predator Pressure Control And Crane Serv   Preferred Materials Inc
Crane Services LLC                      6913 Westport Ave                          153 Blazer Dr
PO Box 677231                           Shreveport, LA 71129-2321                  Sibley, LA 71073-2568
Dallas, TX 75267-7231




Preferred Measurements LLC              Preferred Pump Equipment Lp                Preferred Telecom LLC
PO Box 69                               2201 Scott Ave                             PO Box 1452
Carthage, TX 75633                      Fort Worth, TX 76103                       Perris, CA 92572-1452




Prellie Tillery                         Premier America Credit Union               Premier Bank Na
304 Woodhurst Pl                        100 Universal City Plaza 114               PO Box 5412
Coppell, TX 75019                       Universal City, CA 91608                   Lafayette, LA 70502




Premier Flow Control LLC                Premier Hotshot Inc                        Premier Lm Lp
Carrie Kindle                           Attn Amber Mann                            PO Box 3232
PO Box 959                              9101 S I 35 Service Road                   Longview, TX 75606
Corsicana, TX 75151                     Oklahoma City, OK 73160




Premier Minerals Inc                    Premier Natural Resources LLC              Premier Power Plants Pumps
8700 Crownhill Blvd                     5727 S Lewis Suite 200                     4181 Hwy 191 N
Suite 700                               Tulsa, OK 74105                            PO Box 129
San Antonio, TX 78209                                                              Farson, WY 82932-0129




Premier Pressure Pumping LLC            Premier Production                         Premier Trade Solutions Inc
PO Box 3567                             4196 Skyline Rd                            303 East 17Th Avenue
Longview, TX 75606                      Casper, WY 82604                           Suite 405
                                                                                   Denver, CO 80203-1258




Premier Well Service Inc                Premiere Inc                               Premium Oilfield Services LLC
145 Tom Trl                             Lena Najera                                4819 Highway 90 W
Coushatta, LA 71019-5601                615 N Landry Drive                         New Iberia, LA 70560-8736
                                        New Iberia, LA 70563




Premium Oilfield Services LLC           Premium Pumping Services                   Premium Reeled Tubing Services
PO Box 203763                           PO Box 9009                                A Division Of Cetco Oilfield Services
Dallas, TX 75320-3763                   Longview, TX 75608-9009                    PO Box 202172
                                                                                   Dallas, TX 75320-2172




Prentice Harrison                       Prentice Hill                              Prentice Oliver Emerson
709 Highway 3074                        3518 Cimarron St                           209 Grant
Ruston, LA 71270                        Los Angeles, CA 90018                      Deer Park, TX 77536
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Prentice Penny Jean Hankins              Prentis Hay Jr                          Prentis Lathan A Widower
395 Cr 1452                              Address Redacted                        7929 Talton Street
Linden, TX 75563                                                                 Houston, TX 77028




Prentis O Lewis                          Prentiss Camp                           Prentiss E Lewis
25 Town East Dr                          PO Box 178                              741 E Gardena Blvd
Monroe, LA 71203                         Euless, TX 76039                        Carson, CA 90746




Prentiss Frazier                         Prentiss W Johnson                      Pres Tech
Route 4 Box 5094                         755 Nicole Court                        1298 N Blue Gum St
Ruston, LA 71270                         Gilroy, CA 95020                        Anaheim, CA 92806-2413




Presbyterian Childrens Home Services     Presbyterian Church Joaquin Tx          Presbyterian Healthcare Fndn
Farmers National Company Agent           PO Box 270                              c/o Farmers Rev Natl Co Agt
PO Box 3480                              Joaquin, TX 75954                       Oil Gas Management Dept
Omaha, NE 68103                                                                  PO Box 3480
                                                                                 Omaha, NE 68103-0480



Presbyterian Hospital Dallas             Presbyterian Village North Foundation   Prescott Land Timber Co Inc
612 E Lamar Blvd Ste 600                 c/o Farmers Rev NatL Co Agt             1304 West Street
Arlington, TX 76011                      Oil Gas Management Dept                 Prescott, AR 71857
                                         PO Box 3480
                                         Omaha, NE 68103-0480



Presidio Exploration Inc                 Presley Hudson                          Presnall C Cage
97 Frontenelle N County                  PO Box 515                              PO Box 540
La Barge, WY 83123                       Whitehouse, TX 75791                    Falfurrias, TX 78355




Presser Construction Inc                 Pressure Pumping Services               Pressure Washing Equipment And Supply
PO Box 1679                              PO Box 1026                             405 Hamilton Rd
Hallsville, TX 75650-1679                Fairfield, TX 75840-0020                Bossier City, LA 71111




Preston Hollow United Methodist Church   Preston Minerals Inc                    Preston O Van Shoubrouek
Harold Filgo Trustee                     c/o The Thompson Company                PO Box 35
6315 Walnut Hill Lane                    12225 Greenville Ave Ste 440            Kirbyville, TX 75956
Dallas, TX 75230                         Dallas, TX 75243




Preston R Bridges                        Preston Snider                          Previa Owens
823 E Goode St                           1410 Laguna Cove                        3005 Pioneer Way
Quitman, TX 75783-1650                   Hutto, TX 78634                         Round Rock, TX 78665




Prezell Currie                           Price Vance Properties LLC              Price Goree Jr
PO Box 472                               Attn Mr Harold Lee Price                534 Rising Ridge Dr
Simsboro, LA 71275                       1846 Glendale Avenue                    Desoto, TX 75115
                                         Baton Rouge, LA 70808
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Price Petro Services Inc                 Price Petro Services Inc                PricewaterhouseCoopers LLP
C/O Gulf Coast Bank Trust                PO Box 5650                             2001 Ross Avenue
PO Box 203047                            Granbury, TX 76049                      Suite 1800
Houston, TX 77216-3047                                                           Dallas, TX 75201-2997




Pricewaterhousecoopers LLP               Priddy Herman Glen                      Pride Energy Company
PO Box 952282                            207 Crockett Street                     PO Box 701950
Dallas, TX 75395-2282                    Port Lavaca, TX 77979                   Tulsa, OK 74170-1950




Pride Oilfield Services LLC              Pride Pump And Supply                   Pride Weed Control Inc
2836 Hillcrest Circle                    PO Box 2003                             8100 Hwy 550
Benton, LA 71006                         Kilgore, TX 75663                       Durango, CO 81303




Prima Exploration Inc                    Prime Energy Corporation                Prime Rate Premium Finance
100 Fillmore St Ste 450                  9821 Katy Freeway Ste 1050              PO Box 580016
Denver, CO 80206                         Houston, TX 77024                       Charlotte, NC 28258-0016




Prime Tubulars Inc                       Primed Up Nitrogen Service LLC          Primeway Federal Credit Union
PO Box 726                               Amanda Satterwhite                      12811 Northwest Fwy
Laird, TX 75666                          PO Box 1803                             Houston, TX 77040
                                         Anahauc, TX 77514




Primitive Petroleum Inc                  Primoris Energy Services Corporation    Prince Adams
4514 Robin Lane                          1010 County Road 59                     5200 Burlingame St
Midland, TX 79707                        Rosharon, TX 77583                      Richmond, CA 94804




Prince Minerals Ii Ltd                   Prince Smith                            Princella Potts
7001 Preston Road                        3560 Lakefront Circle                   7808 Cr 476 S
Suite 301 Lb 35                          Stockton, CA 95209                      Henderson, TX 75654
Dallas, TX 75205




Princess Ann Lathon Beasley Sp           Princess Marie Davis                    Princess Three Operating
7929 Talton St                           6924 Winchester Place                   PO Box 1983
Houston, TX 77028                        Fort Worth, TX 76133                    Henderson, TX 75653-1983




Princeton Theological Seminary           Principal Global Investors Europe Ltd   Principal Life Group
Attn John W Gilmore Vp Bus               801 Grand Avenue                        Grand Island
Affairs/Treasurer                        Des Moines, IA 50309                    PO Box 14513
PO Box 821                                                                       Des Moines, IA 50306-3513
Princeton, NJ 08542



Principal Life Insurance Co              Principia Corporation                   Principia Corporation
Plic Sbd Grand Island                    c/o Bank Of Oklahoma Agent Trust        c/o Bank Of Oklahoma N A Agent
PO Box 10372                             PO Box 1588                             PO Box 3499
Des Moines, IA 50306-0372                Tulsa, OK 74101                         Tulsa, OK 74101-3499
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Principle Energy LLC                   Printis Lee Square              Priority Artificial Lift Services LLC
PO Box 2228                            102 Tippit St                   PO Box 54465
Houston, TX 77252                      West Monroe, LA 71292           New Orleans, LA 70154-4465




Priority Artificial Lift Systems LLC   Priority Coiled Tubing LLC      Priority Energy Holdings LLC
Alex Duplechin                         Priority Energy Holdings Llc    Subsidiaries
22207 Prats Dairy Road                 PO Box 54465                    Alex Duplechin
Abita Springs, LA 70420                New Orleans, LA 70154-4465      PO Box 677733
                                                                       Dallas, TX 75267



Priority Energy Services LLC           Priority Gas Partners Lp        Priscilla A Obrien
681 River Highlands Blvd               110 W Louisiana                 PO Box 6655
Covington, LA 70433-8987               Suite 500                       Shreveport, LA 71136-6655
                                       Midland, TX 79705




Priscilla Adams                        Priscilla Brewer Selectrust     Priscilla Brewer Trust 1998
2810 East South St 1                   Farmers National Bank Agent     c/o Farmers National Company
Long Beach, CA 90805                   PO Box 3480                     PO Box 3480
                                       Omaha, NE 68104                 Omaha, NE 68103-0480




Priscilla Dacamara Hancock             Priscilla E Cassells            Priscilla Gamble Shoulders
1202 Gentilz                           1006 North Pointe Circle        9 Sutherland Lane
Castroville, TX 78009                  Shreveport, LA 71106            Bella Vista, AR 72714




Priscilla Gayle Anderson               Priscilla Heard Bowman          Priscilla Lynn Brewer
322 Harrison St                        2109 Wales Court                405 Errol Dr
Jonesboro, LA 71251                    Ruston, LA 71270                Spicewood, TX 78669-2036




Priscilla W Longfield                  Priscilla Yvonne Evans          Prism Ventures
1610 Sw Clifton                        3011 Meadow Bay Drive           PO Box 1913
Portland, OR 97201                     Dickinson, TX 77539             Rowlett, TX 75030




Prj Enterprises LLC                    Prm Investments LLC             Prm Trucking Lp
PO Box 52175                           PO Box 635025                   1709 Industrial Blvd
Shreveport, LA 711352175               Nacogdoches, TX 75963           Kilgore, TX 75662




Pro Field Services Inc                 Pro Flo Water Transfer Inc      Pro Oilfield Services LLC
PO Box 525                             PO Box 727                      Miriam Garza
Hallettsville, TX 77964                Judson, TX 75660                3 Riverway Suite 1110
                                                                       Houton, TX 77056




Pro Oilfield Services LLC              Pro Sales Service Inc           Pro Seal Lift Inc
PO Box 3660                            PO Box 1956                     211 Stubblefield Lake Road
Houma, LA 70361-3660                   Kilgore, TX 75663               Huntsville, TX 77340
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Pro Stim Services LLC                   Pro Tec Inspection Inc                     Pro Tech Pipe Inspection LLC
100 Crescent Ct Ste 800                 PO Box 1957                                PO Box 5115
Dallas, TX 75201-1864                   Kilgore, TX 75663                          Carlsbad, NM 88220




Pro Tek Field Services LLC              Pro Test Inc                               Pro Welding LLC Dba Pro Hot Shot Service
Annie Cook                              454 Fm 1252 E                              2421 West 49Th
501 Bering Drive Suite 455              Kilgore, TX 75662                          Odessa, TX 79764
Houston, TX 77057




Process Equipment Service Company Inc   Process Solutions Internationa             Producers Service Corporation West
PO Box 929                              7519 Prairie Oak Drive                     John Piehl
Farmington, NM 87499                    Houston, TX 77086                          16000 Parke Ten Place
                                                                                   Houston, TX 77084




Production Control Svcs Inc Dba Pcs     Production Data Inc                        Production Enhancement Systems LLC
3771 Eureka Way                         PO Box 3266                                PO Box 52872
Frederick, CO 80516                     Bakersfield, CA 93385                      Lafayette, LA 70505




Production Equipment Solutions          Production Equipment Solutions             Production Logging Svcs Inc
220 Chadwick                            220 Chadwick Dr                            1340 E 1100 S
Georgetown, TX 78268                    Georgetown, TX 78628-7207                  Vernal, UT 84078




Production Management Industries LLC    Production Payments Inc                    Production Pump A Dxp Company
9761 Hwy 90 E                           541 North Fairbanks Court Suite 2500       PO Box 201791
Morgan City, LA 70380                   Chicago, IL 60611                          Dallas, TX 75320-1791




Production Pump Systems A Dxp Company   Production Services Inc                    Production Specialty Services LLC
Amanda Crawford                         PO Box 1885                                PO Box 3176
PO Box 160                              Magnolia, AR 71754-1885                    Midland, TX 79702-3176
Snyder, TX 79550




Production Wireline Cased Hole          Professional Directional Enterprises Inc   Professional Directional Enterprises Inc
Services Group LLC                      Amanda Pollard                             PO Box 677457
1200 Enclave Pkwy Md 417                850 Conroe Park West Drive                 Dallas, TX 75267-7457
Houston, TX 77077                       Conroe, TX 77303




Professional Landmens Association       Professional Ntd Services                  Professional Safety Associates Inc
Of New Orleans                          PO Box 1223                                PO Box 260333
PO Box 51123                            Broussard, LA 70518                        Corpus Christi, TX 78426
New Orleans, LA 70151-1123




Professor Qb The Clown                  Progressive Bank                           Progressive Business Publications
16984 Malibu Dr                         312 Sowell St                              370 Technology Dr
Flint, TX 78762                         Brewton, AL 36426                          Malvern, PA 19355
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Progressive Consulting Inc             Progressive County Musual Ins    Progressive Global Energy
PO Box 863                             PO Box 30108                     Dept Ch 2610
Lafayette, CO 80026                    Tampa, FL 336303108              PO Box 122610
                                                                        Dallas, TX 75312-2610




Progressive Global Energy              Progressive National Bank        Progressive PcS Inc
Natural Resources                      3000 Bert Kouns Industrial LP    9793 Carr Circle
Chris Peters                           Shreveport, LA 71118             Broomfield, CO 80021
811 Main Street
Houston, TX 77002



Progressive Pcs Inc                    Progressive Waste Solutions Of   Progressive Waste Solutions Of Tx Inc
PO Box 863                             Tx Inc East Texas District       East Texas District
Lafayette, CO 80026                    PO Box 650592                    2301 Eagle Parkway Suite 200
                                       Dallas, TX 75265-0592            Fort Worth, TX 76177




Project Engineering Usa Corp           Prolific Petroleum LLC           Proline Energy Resources Inc
PO Box 24126                           5609 E Ida Circle                PO Box 20134
Ventura, CA 93002                      Greenwood Village, CO 80228      Sugar Land, TX 77496




Propane Education Research Council     Propel Energy LLC                Property General Partner
PO Box 826112                          25222 Denton Trace Dr            Brookfield Place Suite 300
Philadelphia, PA 19182                 Porter, TX 77365-3277            181 Bay Street
                                                                        Toronto, ON M5J 2T3
                                                                        Canada



Property Gp Lp                         Propetro Services Inc            Propetro Services Inc
Brookfield Place Suite 300             Emily Lester                     PO Box 204464
181 Bay Street                         PO Box 873                       Dallas, TX 75320-4464
Toronto, ON M5J 2T3                    Midland, TX 79702
Canada



Prosigns                               Prosigns                         Prospect Energy LLC
320 W Panola St                        320 W Panola Ste 3               500 Dallas Street Suite 1800
Carthage, TX 75633-2535                Carthage, TX 75633               Houston, TX 77002




Prospect Energy LLC                    Prospect Flow Solutions LLC      Prospect Oil Company LLC
880 Wolverine Court                    11000 Richmond Ave 120           4900 Woodway Ste 975
Castle Rock, CO 80108                  Houston, TX 77042                Houston, TX 77056




Prospective Investment Trading Co      Prosperity Bank                  Prostar Services Inc
PO Box 4190                            1301 North Mechanic Street       PO Box 110209
Scottsdale, AZ 85261                   El Campo, TX 77437               Carrollton, TX 75011-0209




Prostar Waste LLC                      Protech Oil And Gas Svc LLC      Protech Oil Gas Services LLC
PO Box 794                             PO Box 1791                      James Hernandez
Goodrich, TX 77335-0794                Laredo, TX 78041                 PO Box 1148
                                                                        Zapata, TX 78076
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Protechnics Division Of                Protection One Alarm Monitoring Inc   Proton Operating Company LLC
Core Laboratories LP                   PO Box 219044                         952 Echo Lane Suite 250
Yolanda Mendez                         Kansas City, MO 64121-9044            Houston, TX 77024
6510 W Sam Houston Parkway North
Houston, TX 77041



Providence Energy Corp                 Providence Equity Partners            Providence Minerals LLC
16400 Dallas Pkwy Ste 400              9 West 57Th Street Suite 4700         16400 North Dallas Parkway
Dallas, TX 75248-2643                  New York, NY 10019                    Suite 400
                                                                             Dallas, TX 75248




Provident State Bank                   Proxy Hotline                         Proxyvote Plus/Carpenters
8133 Elliott Road 100                  30 Hudson Street                      Pension Fund Of West Virginia
Easton, MD 21601                       Proxy Dept                            PO Box 2458
                                       Jersey City, NJ 07302                 Northbrook, IL 60065




Prudence M Mackintosh                  Prudency Ann Lewis Blackmon           Prudential Group Insurance
3312 Beverly Dr                        206 River Oaks                        PO Box 101241
Dallas, TX 75205                       West Monroe, LA 71291                 Atlanta, GA 30392-1241




Pruet Production Co                    Pruet Production Co                   Pryme Oil And Gas Inc
217 W Capitol St 201                   PO Box 11407                          3500 Washington Ave Ste 200
Jackson, MS 39201                      Birmingham, AL 35246-1129             Houston, TX 77007




Pryor Mildred                          Prysock Jackie                        Psc Industrial Outsourcing Lp
John D Sapp M S Benton                 PO Box 1092                           PO Box 1529
Joplin, MO 64804-4924                  Lovington, NM 88260                   Amelia, LA 70340-1529




Psc Industrial Outsourcing Lp          Psi                                   Psi Wireline Inc
PO Box 3070                            7200 Garden Grove Blvd                3524 Knickerbocker Road
Houston, TX 77053                      Westminster, CA 92683                 Suite C 304
                                                                             San Angelo, TX 76904




Pt Services                            Ptc Cust Rollover Ira Fbo             Ptc Cust Sep Ira Fbo
2398 Highway 517                       Eileen C Stevenson                    Alan P Gross
Gibsland, LA 71028                     13681 Alta Loma Ln                    19 Hampton Drive
                                       Jamul, CA 91935                       Southampton, PA 18966




Ptttp LLC                              Public Employees Credit Union         Puffer Sweiven Lp
2412 Colonial Parkway                  202 W B St                            PO Box 301124
Ft Worth, TX 76109                     Ontario, CA 91762                     Dallas, TX 75303-1124




Pulaski Stringfellow                   Pullig Holdings LLC                   Pulpwood Producers LLC
PO Box 4261                            6420 Hwy 792                          PO Box 86
Downey, CA 90241                       Castor, LA 71016                      Simsboro, LA 71275
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Pumasoft Inc                           Pump Flow Services Inc          Pump Process Solutions
PO Box 9041                            PO Box 7827                     Division Of Denver Industrial
Bakersfield, CA 93309                  Victoria, TX 77903-7827         Pumps
                                                                       15165 W 44Th Ave
                                                                       Golden, CO 80403



Pumpco Energy Services Inc             Pumping Solutions Inc           Pumps Pump Valve Repair LLC
117 Elm Grove                          1906 S Quaker Ridge Place       508 S Commerce St
Valley View, TX 76272                  Ontario, CA 91761               Kilgore, TX 75663




Pumptech LLC                           Purchase Power                  Puretec
PO Box 1257                            PO Box 371874                   3151 Sturgis Road
Levelland, TX 79336                    Pittsburgh, PA 15250-7874       Oxnard, CA 93030




Purist Energy Inc                      Purity Oilfield Services LLC    Purple Land Management
11 Woodhaven Drive                     Kelly Hickman                   210 East 8Th Street
Henderson, TX 75652                    11109 West County Road 46       Fort Worth, TX 76102
                                       Midland, TX 79707




Pursuit Energy Corporation             Putman Restoration LLC          Puzzle Creek Energy LLC
PO Box 671098                          23990 Hwy 157                   311 W Jefferson Road
Dallas, TX 75367                       Springhill, LA 71075            Cheyenne, WY 82007




Puzzle Pool LLC                        Pvr Midsteam                    Pwc Product Sales LLC
c/o George Gillespie                   Seven Sheridan Square           PO Box 952282
9292 Us Hwy 80W                        Kingsport, TN 37660             Dallas, TX 75395-2282
Marshall, TX 75670




Pwk Gs 1 Trust                         Pwr Rentals                     Pws
Peter Wayne Kesecker Incl              PO Box 301341                   The Laundry Company
Any Successors Thereof Ttee            Dallas, TX 75303-1341           12020 Garfield Ave
826 Marquette Lane                                                     Southgate, CA 90280
Tyler, TX 75703



Pxp Producing Company LLC              Pyote Disposal Company          Pyramid Tubular Products Lp
700 Milam St Ste 3100                  PO Box 418                      PO Box 301604
Houston, TX 77002                      Pyote, TX 79777-0418            Dallas, TX 75303-1604




Q Directional Drilling LLC             Q E Barber                      Q T Moore Wilson Corbin
Its Subsidiaries                       3735 Ira E Woods Ave            2030 Pueblo St
Pam Berryman                           Grapevine, TX 76051-4213        Dallas, TX 75212
11390 Fm 830
Willis, TX 77318



Q W S Fishing And Rental Co            Qcp Contruction LLC             Qcp Energy Services LLC
PO Box 2557                            505 N Big Spring St             Lauren Blackburn
Abiline, TX 79604                      Midland, TX 79701               1301 Mckinney Street Suite 1800
                                                                       Houston, TX 77010
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Qcp Precision LLC                    Qed Energy Training LLC         Qep Energy Co
Lauren Blackburn                     9575 Katy Freeway               PO Box 45601
1301 Mckinney Street Suite 1800      Suite 120                       Salt Lake City, UT 84145-0601
Houston, TX 77010                    Houston, TX 77024




Qep Energy Company                   Qep Energy Company              Qep Energy Company
Attn Jib Accounting                  Attn Revenue Accounting         PO Box 204028
1050 17Th St Ste 800                 1050 17Th Street Suite 500      Dallas, TX 75320-4028
Denver, CO 80265                     Denver, CO 80265




Qep Energy Company 2                 Qep Energy Company 2            Qep Field Services Company
1050 17Th Street 500                 PO Box 204033                   1050 17Th Street
Denver, CO 80265                     Dallas, TX 75320-4033           Suite 500
                                                                     Denver, CO 80265




Qep Field Services Company           Qep Midstream Gathering         Qep Midstream Gathering I LLC
19100 Ridgewood Parkway              1050 17Th Street                1050 17Th Street
Attn Treasury Dept                   Suite 500                       Suite 500
San Antonio, TX 78259                Denver, CO 80265                Denver, CO 80265




Qep Resources                        Qepm Gathering 1 LLC            Qes Wireline LLC
PO Box 204033                        Treasury Dept Tx1 115           Dept 115
Dallas, TX 75320-4033                19100 Ridgewood Parkway         PO Box 4346
                                     San Antonio, TX 78259           Houston, TX 77210-4346




Qf Holdings LLC                      Qpc3 Lp                         Qr Energy Lp
2300 Andover Suite 400               PO Box 10004                    1401 Mckinney St Suite 2400
Little Rock, AR 72227                Midland, TX 79702               Houston, TX 77010




Qre Operating LLC                    Qtelligent Inc                  Quachita Parish Clerk Of Clerk
PO Box 671030                        1114 Emerson Park Lane          301 South Grand St
Dallas, TX 752671030                 Irving, TX 75063                Monroe, LA 71201




Quad J Real Estate Ltd               Quadco Inc                      Quadco Inc
6585 La Highway 1 North              Chris Green                     PO Box 576
Shreveport, LA 71107                 2278 N Clover Road              Bringhton, CO 80601
                                     Casper, WY 82604




Quadna Inc                           Quadrille Ltd                   Quail County Construction Lp
PO Box 201791                        PO Box 236                      2495 N Us Hwy 385
Dallas, TX 75320-1791                Tyler, TX 757100236             Andrews, TX 78714




Quail Energy Services LLC            Quail Energy Services Lp        Quail Tools Lp
Lauren Blackburn                     PO Box 777                      PO Box 10739
1301 Mckinney Street Suite 1800      Andrews, TX 79714               New Iberia, LA 70562-0739
Houston, TX 77010
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Quali Tech Inc                        Qualified Benefits Inc          Qualified Printers
318 Lake Hazeltine Dr                 21031 Ventura Blvd Ste 1200     2803 N Big Spring
Chaska, MN 55318                      Woodland Hills, CA 91364-2229   Midland, TX 79705




Quality Drug Alcohol Testing          Quality Energy Services LLC     Quality Foamer
432 W Sabine                          PO Box 1222                     PO Box 3215
Carthage, TX 75633                    Kingsville, TX 78364-1222       Kilgore, TX 75663




Quality Process Services LLC          Quality Refrigeration Inc       Quality Services
292A Equity Blvd                      PO Box 367                      2305 Fruitvale Ave 4
Houma, LA 70361                       Wilmington, CA 90748            Carol Slayton, CA 93308




Quality South Texas Trucking Inc      Quality Trucking Inc            Quality Tubing
PO Box 10458                          8325 Miller Road 2              PO Box 201155
Corpus Christi, TX 78460              Houston, TX 77049               Dallas, TX 75320-1155




Quality Tubular Services              Quality Weed Control            Qualspec LLC
PO Box 2626                           PO Box 3215                     PO Box 5129
Bakersfield, CA 93303                 Kilgore, TX 75663               Corpus Christi, TX 78465




Quana E Barber                        Quanah Exploration LLC          Quantum Gas Power Svcs Ltd
254 County Road 2303                  PO Box 494                      12305 Old Huffmeister Road
Mineola, TX 75773-3602                Midland, TX 79702               Cypress, TX 77429




Quantum Properties Inc                Quantum Resources               Quantum Resources Mgmt LLC
PO Box 941251                         1111 Bagby St Ste 1600          c/o Breitburn Operating Lp
Houston, TX 77094                     Houston, TX 77002-2547          PO Box 204662
                                                                      Dallas, TX 75320-4662




Quantum Resources Operating           Quantum Solutions Inc           Quarles Properties LLC
1111 Bagby St Ste 1600                1945 West Gate Dr               172 Quarles Road
Houston, TX 77002-2547                Columbia, IL 62236              Ruston, LA 71270




Quarter D General Ptnrshp             Quasar Energy Services Inc      Quency Dewitt Baker Et Ux
c/o Danny Lynn Williams               3288 Fm 51                      313 Arthur St
7001 Sable Lane                       Gainesville, TX 76240-0208      West Monroe, LA 71292
Sachse, TX 75048




Quentella Mangham                     Quentin David Barrett Sr        Querbes Brothers LLC
714 Kirkland St                       1100 Silveridge                 c/o Argent Property Svcs LLC
Ruston, LA 71270-5918                 Conroe, TX 77304                PO Box 1410
                                                                      Ruston, LA 71273-1410
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Querbes Mineral Company                 Questar Energy Services Inc          Questar Expl Prod
c/o Argent Property Services Llc        333 S State St Mailstop Qc356        1050 17Th Street Suite 500
PO Box 1410                             PO Box 45360                         Denver, CO 80265
Ruston, LA 71273                        Salt Lake City, UT 84145-0360




Questar Gas Management Company          Questex Energy Program 1982 A        Quevedo Jane Ann
180 E 100 S                             6024 Medicine Lake Rd                382 Dawn Hill Drive
PO Box 45601                            Minneapolis, MN 55422                Friendswood, TX 77546
Salt Lake City, UT 84145-0601




Quick Connectors Inc                    Quicksilver Resources Inc            Quill Corporation
5226 Brittmoore                         777 W Rosedale Ste 300               PO Box 37600
Houston, TX 77041                       Ft Worth, TX 76104                   Philadelphia, PA 19101-0600




Quin Fournet Oil Properties             Quincy C Murphy Estate               Quincy Doyle Sampson
102 Royal Garden Terrace                Mary Nell Murphy Brown Ttee          1600 84Th St
Madison, MS 39110                       Wells Fargo Bank Sao                 Oakland, CA 94621
                                        PO Box 41779
                                        Austin, TX 78704



Quincy Holland Jr                       Quincy Jones                         Quincy Lowry Beall
1200 Sprague Street                     552 Fm 850 West                      931 Cherokee Trl
Shreveport, LA 71107                    Overton, TX 75684                    Sapphire, NC 28774-8639




Quincy Neal Crane                       Quinn Company                        Quinn Pine Timber Lp
540 Best Rd                             PO Box 849665                        c/o Heard Mcelroy Vestal
Simsboro, LA 71275                      Los Angeles, CA 90084-9665           333 Texas St
                                                                             Suite 1512
                                                                             Shreveport, LA 71101



Quinn Pumps Inc                         Quinn Pumps Inc                      Quinney Mary Elise Mcwilliams
PO Box 67734                            PO Box 677347                        551 Sherwood Rd
Dallas, TX 75267                        Dallas, TX 75267-7347                Shreveport, LA 71106-2337




Quintana Energy Services LP             Quintard Peters Courtney Sr Estate   Quinton L Costlow
Fka Archer Wireline LLC                 Will A Courtney Trustee              9136 Evergreen Dr
Gloria Anderson                         PO Box 121488                        Traverse City, MI 49684-8094
10613 W Sam Houston Parkway N Ste 600   Fort Worth, TX 76121
Houston, TX 77064



Quisenberry Kay                         Quisenberry Richard                  Quitman Pump And Supply Co Inc
2520 Ave K                              PO Box 626                           PO Box 921
Suite 700 712                           Carbondale, CO 81623                 Quitman, TX 75783
Plano, TX 75074




Qwest                                   Qwik Pipe                            R A Francis
PO Box 29040                            1825 Upland Drive                    36 Strathnabor Avenue
Phoenix, AZ 85038-9040                  Houston, TX 77043                    Selkirk, MB R1A 0G9
                                                                             Canada
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R A Interests LLC J0Nes                   R A Kimbell Property             R A Macdonell Company
Reginald Jones Tstee Member               PO Box 94903                     PO Box 62208
2500 N Buttercup Dr                       Wichita Falls, TX 76308          Houston, TX 77205
Tucson, AZ 85749




R A Nash Trustee                          R A Timber Inc                   R Alan Woodward
PO Box 440783                             Robert W Adkins President        PO Box 932
Houston, TX 77244-0783                    12835 John Gin Rd                Golden, CO 80402
                                          Keithville, LA 71047




R B Cowden Fam Properties Ltd             R B Elmore                       R B Hinton LLC
PO Box 11226                              Dba Dalvest Ltd                  6765 Lincoln Hills Ct
Midland, TX 79702                         7813 Cardinal Ct                 Frisco, TX 75034
                                          N Richland Hills, TX 76180




R B Lester Deceased                       R B Oder Construction Inc        R B Testers Inc
3043 Reed Lane                            PO Box 1446                      PO Box 3005
Dallas, TX 75215                          Gladewater, TX 75647             Odessa, TX 79760




R Birdsong                                R Byron Roach                    R Byron Roach Trustee LLC
2795 Howell Rd                            PO Box 321                       PO Box 321
Golden, CO 80401                          Judson, TX 75660                 Judson, TX 75660




R C Allais                                R C Barnett Dba B H Properties   R C Mason
7001 Corporate Dr 245                     2502 Auburn Place                2300 Emma Drive
Houston, TX 77036                         Midland, TX 79705                Kemp, TX 75143




R Chris Hass E Ashley Hass                R Collin Underwood               R Construction Company
395 Cr 1516                               Underwood Law Office             PO Box 189
Alba, TX 75410                            PO Box 1138                      Buffalo, TX 75831-0189
                                          Carthage, TX 75633




R Cubed Ltd                               R D Alexander                    R D Briscoe Inc
1004 16Th St                              Pmb 241 1574 Coburg Rd           PO Box 6690
Abernathy, TX 79311                       Eugene, OR 97401                 Sheridan, WY 82801




R D Goodrich Asset Partners Lp            R D Magers Revocable Living Tr   R D Parrott I LLC
c/o Plains Capital Bank Agent             R D Magers Trustee               c/o Hibernia National Bank
3707 Camp Bowie Blvd                      Mark Edward Magers Trustee       PO Box 1030
Ste 220                                   PO Box 700175                    Alexandria, LA 71309
Fort Worth, TX 76107                      Tulsa, OK



R D Parrott I LLC                         R D Parrott Ii LLC               R D Parrott Ii LLC
Rd Parrott Tr Rd Parrott Tr Uad 12/8/71   c/o Hibernia National Bank       Rd Parrott Tr C E D Parrott Tr 3 Uad
PO Box 1030                               PO Box 1030                      PO Box 1030
C/O Capital One Bank                      Alexandria, LA 71309             C/O Capital One Bank
Alexandria, LA 71309                                                       Alexandria, LA 71309
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R D Turner And Charlotte Turner Wros   R Darryl Primo                  R David Reagan
396 County Road 4117                   PO Box 1508                     c/o J S C Federal Credit Union
Hughes Spring, TX 75656                Longview, TX 75606-1508         For Deposit To Acct 6012201
                                                                       2402 Fairway Pointe Dr
                                                                       League City, TX 77573



R E Electric                           R E Peppy Blount                R Eugene Zimmerman
A R Enterprises Inc Dba                PO Box 1227                     5934 Shadyriver
PO Box 2000                            Longview, TX 75606              Houston, TX 77057
Kilgore, TX 75663




R F Trucking                           R G Hinton Properties LLC       R Garry Carlson
PO Box 742171                          6425 Youree Dr                  13093 N 99Th Dr
Houston, TX 77274                      Ste 480                         Sun City, AZ 85351-2816
                                       Shreveport, LA 71105




R H I Company                          R H Lipscomb                    R H Rentals LLC
R Hammer Enterprises Inc               315 Hampton Ct                  512 W Texas Ave
1005 Quiet Shadows                     Longview, TX 75605              Artesia, NM 88210
Longview, TX 75604




R H Sangster Royalties LLC             R Harlow Energy Corp            R J Bissell
4906 Wyoming Street                    PO Box 220                      PO Box 5214
Duluth, MN 558041242                   Prosper, TX 75078               Longview, TX 75608-5214




R J Gardner                            R J Grundy Associates           R J Management 2 Lc
30 Nassau Dr                           22226 Meadow View Road          1937 Rustic Dr
Metairie, LA 70005                     Morrison, CO 80465              Casper, WY 82609




R John Wisda Trust                     R K Fabricating Welding         R K OConnell
John Dudley Wisda Trustee              2217 Ecr 70                     1001 Fannin Suite 2020
PO Box 775                             Wellington, CO 80549            Houston, TX 77002
Santa Paula, CA 93061




R K OConnell                           R Ken Williams                  R L Billings
PO Box 2003                            413 First NatL Bank Bldg        PO Box 2095
Casper, WY 82602                       303 W Wall St                   Casper, WY 80262
                                       Midland, TX 79701




R L Bolin Properties Ltd               R L P N Holland Living Trust    R L Ray Ltd
4245 Kemp Blvd Suite 316               PO Box 984                      PO Box 689
Wichita Falls, TX 763082822            Henderson, TX 75653             Tyler, TX 757100689




R L Roach Inc                          R L Tayloe Trust 10710 04       R L Woodfin Estate
PO Box 92201                           c/o Bank Of America Na          Johnie S Woodfin Executor
Southlake, TX 76092                    PO Box 840738                   6 Fountainview Terrace 304
                                       Dallas, TX 75284-0738           Greenville, SC 29607
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R L Zinn Et Al Ltd                      R Lacy Inc                      R Lamar Woodfin Estate
3400 Bissonnet Suite 250                PO Box 2146                     Johnie Slaughter Woodfin In Ex
Houston, TX 77005                       Longview, TX 75606              6 Fountainview Terrace 304
                                                                        Greenville, SC 29607




R M Ballenger                           R M Crout                       R M Davis
PO Box 577                              c/o Elite Business Service      4539 Bobbitt Dr
Henderson, TX 75652                     761 Bocage Lane                 Dallas, TX 75229-4240
                                        Mandeville, LA 70471




R M Farming Planting Ltd                R M Investments LLC             R M Oil Gas Ltd
616 Tenaha Street                       PO Box 3512                     225 Union Blvd Ste 450
Center, TX 75935                        Longview, TX 75606-3512         Lakewood, CO 80228




R N Trenching Inc                       R Neuhoff Properties LLC        R O Alford Cox Partners
PO Box 85                               5420 Lbj Freeway Ste770         c/o Citizens National Bank
7416 E Us Hwy 67 N                      Two Lincoln Center              Attn Trust Dept
Mertzon, TX 76941-0085                  Dallas, TX 75240                PO Box 820
                                                                        Henderson, TX 75653



R O Taggart                             R P Production LLC              R P Walker
PO Box 8759                             2334 Pinehurst St               PO Box 478
Hot Springs Vil, AR 71910               Tyler, TX 75703                 Weatherford, TX 76086




R P Whitfield Jr                        R Pete Smith                    R R H Investments
c/o Nationsbank Of Texas Na             PO Box 1073                     10 Royal Terrace Court
PO Box 840738                           Lake City, CO 81235             Dallas, TX 75225
Dallas, TX 75284-0738




R R J C Cape Living Trust               R R Londot                      R R Remling Est
Janie C Cape Trustee                    PO Box 1570                     Co Tex State Treas Unclaimed
PO Box 941                              Folsom, LA 70437                PO Box 12019
Bullard, TX 75757                                                       Austin, TX 78711-2019




R R Services                            R R Smith                       R Ray Rhymes Jr
PO Box 51650                            Rr 1 Box 230                    1812 Tower Dr
Casper, WY 82605                        Joaquin, TX 75954               Monroe, LA 71201




R Raymond Moore                         R Richard Brown Iii             R S Trucking LLC
1402 Boxwood Ct                         411 W Scott St                  PO Box 403
Lufkin, TX 75904-5383                   Tallulah, LA 71282              Tenaha, TX 75974-0403




R S Wilson                              R T Controls                    R T Ellzey Jr
1559 Bear Path Dr                       PO Box 90155                    1925 Calion Road
Orange, TX 77632                        Long Beach, CA 90809-0155       El Dorado, AR 71730
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R T Fogle Properties LLC                R T Forrest                         R Tech Electric
9315 S 43Rd W Avenue                    973B Argyll Cir                     PO Box 543
Tulsa, OK 74132                         Lakewood, NJ 08701                  Sundown, TX 79372




R V Self                                R W Boston Jr                       R W Burton Trustee
c/o Fred Self                           6622 Trebeck Lane                   U/A Cody Michael Evans
15601 Kelso Rd                          Spring, TX 77379                    2613 Hansford Timber
Byron, CA 94514                                                             Kingwood, TX 77345




R W Burton Trustee                      R W Delaney Construction Co         R W Gribble Jr
U/A Heath Allen Evans                   PO Box 264                          3402 Shorecrest
16906 Rippling Mill                     Natchez, MS 39121-0264              Dallas, TX 75235-2016
Sugarland, TX 77478




R W Hamilton Iii                        R W Jones Trucking Company          R W M 1988 Trust
PO Box 310                              PO Box 1785                         R W Moncrief Trustee
Bullard, TX 75757                       Vernal, UT 84078                    Moncrief Bldg
                                                                            950 Commerce Street
                                                                            Fort Worth, TX 76102-5418



R W Plaschke                            R W Rentals LLC                     R W Robbins
PO Box 293                              497 Soda Loop West                  208 Petroleum Bldg
Judson, TX 75660                        Livingston, TX 77351                Casper, WY 82601




R W Robbins Revocable Trust             R W Scott Investments LLC           R W Shelton Services
c/o Anne L Eubanks Co Trustee           1275 Lupine Way Genesee             PO Box 306
62501 E Rangewood Dr                    Golden, CO 80401                    Mcleod, TX 75565
Tucson, AZ 85739




R W Stoddard Jr                         R W Sutton Jr                       R Wayne Holmes Royalties Inc
1530 E Sandy Lake Road                  PO Box 2567                         104 S Fraley Street
No 101                                  Beaumont, TX 77704                  PO Box 718
Coppell, TN 75019                                                           Kane, PA 16735




R William Hamner                        R Zachary Tonroy                    R2 Fluids LLC
45 Country Trace                        PO Box 376                          PO Box 459
Fayetteville, GA 30215                  Jacksonville, TX 75766              Aqua Dulce, TX 78330




R2 R And D LLC Dba Superod              R360 Environmental Solutions LLC    R360 Environmental Solutions Inc
610 S Main St                           Gary Wallace                        Central/Gulf Coast Region
Big Spring, TX 79720                    3 Waterway Square Place Suite 110   PO Box 671766
                                        The Woodlands, TX 77380             Dallas, TX 75267-1766




R360 Environmental Solutions LLC        R360 Environmental Solutions LLC    R360 Environmental Solutions LLC
Permian Basin Region                    R360 Central/Gulf Coast Region      R360 Rocky Mountain Region
PO Box 671798                           PO Box 671766                       PO Box 671792
Dallas, TX 75267-1798                   Dallas, TX 75267-1766               Dallas, TX 75267-1792
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R360 Rocky Mountain Region              RA Graphic Services             Rabb Trucking Oilfield Services LLC
PO Box 671792                           6902 Hearthside                 Doug Rabb
Dallas, TX 75267-1792                   Sugar Land, TX 77479            4277 N Market Street
                                                                        Shreveport, LA 71107




Rabb Trucking Oilfield Services LLC     Rachael Lee Folsom Holloway     Rachalle Mona Sutton
PO Box 5343                             158 Holloway Farm Rd            1259 E 89Th Street
Bossier City, LA 71171-5343             Sarpeta, LA 71071               Los Angeles, CA 90002




Rachel Charavat                         Rachel Coley                    Rachel Cummings
950 Echo Ln                             715 Delaware Street             Address Redacted
Suite 200                               Shreveport, LA 71106
Houston, TX 77024




Rachel Goodman                          Rachel Henderson                Rachel Hudgins Bardwell
PO Box 1495                             1466 Varner Rd                  PO Box 19769
Cave Junction, OR 97523                 Marietta, GA 30062              Houston, TX 772249769




Rachel L Small                          Rachel Lee Folsom Holloway      Rachel Lovett Winham
PO Box 10084                            PO Box 43                       718 Booker Loop Road
Longview, TX 75608                      Sarepta, LA 71071               Mansfield, LA 71052




Rachel May Adams                        Rachel R Leslie                 Rachel W Bates
Rr 2 Box 1553                           c/o Texas State Treasurer       1001 Linkwood Street
Ruston, LA 71270                        Unclaimed Property Division     Lufkin, TX 75901
                                        PO Box 12019
                                        Austin, TX 78711-2019



Rachid Amir Floyd                       Rackla River Resources LLC      Rad Philip Ferguson
2723 Northgate Village Dr               Bobby Moorehead Jr Rep Mgr      4519 Vineyard Trail
Houston, TX 77068                       PO Box 856                      Mesquite, TX 75150
                                        Minden, LA 71058




Radcliffe Jacob J                       Radcomm System Corp             Raddatz Management Corp
Address Redacted                        2931 Portland Drive             PO Box 11807
                                        Oakville, ON L6H 5S4            Salt Lake City, UT 841170807
                                        Canada




Rade Russell Kangerga                   Radian L Hennigan               Radical Specialties LLC
102 East Main Street                    1503 Goodwin Road Suite 1       PO Box 760
Henderson, TX 75652                     Ruston, LA 71270                Post, TX 79356




Radiosoft Inc                           Radler 2000 Lp                  Radonda L Ellis
194 Professional Park                   1320 S University Dr Ste 500    2261 Us Hwy 80
Clarkesville, GA 30523                  Fort Worth, TX 76107            Grand Saline, TX 75740
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Rae Anne Futch                         Rae Jean Ryan Trust             Rae Sternberg Schriber
2327 South Clinton Ave                 c/o Old National Trust Co       7726 Chantilly
Hamilton, NJ 08610                     PO Box 207                      Galveston, TX 77550
                                       Evansville, IN 47702




Raegene Matthews                       Rafael S Solis                  Rafael Tovar
702 Eden Dr                            10147 Helena Avenue             Address Redacted
Longview, TX 75605                     Montclaid, CA 91763




Ragan Burt Madden                      Ragan Petroleum Inc             Ragtop Joint Living Trust
9000 W Wilderness Way                  PO Box 52305                    James Myrna L Ellington Ttee
Apt 70                                 Lafayette, LA 70505             10000 Soriano Street
Shreveport, LA 71106                                                   Denton, TX 76207




Rai Louise Watkins Barnett             Railroad Commission Of Texas    Railroad Commission Of Texas
4105 Autumnwood Dr                     1701 N Congress                 PO Box 12967
Arlington, TX 76016-4229               Austin, TX 78701                Austin, TX 78711-2967




Rain For Rent                          Rain For Rent Evanston          Rainbow Resources Inc
John Dubois                            File 52541                      10 Lakeside Lane Suite 308
3411 Almy Road 105 Br 81               Los Angeles, CA 90074-2541      Denver, CO 80212
Evanston, WY 82930




Raj Energy Inc                         Raleigh E Guynes                Raleigh L Myers Peggy Smith Myers
5753 Indian Circle                     George Raymond Guynes Aif       102 Pinecrest Drive
Houston, TX 77057                      3988 Capital Heights Ave        Arcadia, LA 71001
                                       Baton Rouge, LA 70806




Rallen Associates Inc                  Ralph A Harper                  Ralph A Ii Davis
PO Box 153                             1805 Haver St                   4315 Alysheba Lane
Clifton, TX 76634                      Houston, TX 77006-2413          Friendswood, TX 77546




Ralph B Lee Jr                         Ralph B Windham                 Ralph C Jones Trust
9247 Speerberry Circle                 4741 Carrie Ann                 Ralph C Jones Trustee
Cordova, TN 38016                      Abilene, TX 79606               3400 Carlisle Suite 300
                                                                       Dallas, TX 75204




Ralph D Mccrary                        Ralph Darnell Riley             Ralph Darrell Huffman
142 N Washington St Apt 8              1748 Cypress Meadows Dr         11503 Dunlap
Winchester, VA 22601                   Dickinson, TX 77539-8381        Houston, TX 770352319




Ralph E Langston                       Ralph E Williams                Ralph Edward Reed
200 Rainwater Rd                       4026 Elizabeth Ln               5435 Fannett Road Sp 7
El Dorado, AR 717309155                Benton, LA 71006-9728           Beaumont, TX 77705
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Ralph Francis Peebles Trust            Ralph Gaylon Rushing            Ralph Greenwood
William Roger Peebles Trustee          PO Box 911                      1028 Longwood
1892 Suntree Lane                      San Augustine, TX 75972         Los Angeles, CA 90019
Simi Valley, CA 93063-4193




Ralph H Akin Jr                        Ralph H Daugherty               Ralph H Echols Iii
1727 Prairie Grove Drive               6307 Mountainclimb Dr           1913 Faringdon Dr
Houston, TX 77077                      Austin, TX 78731-3907           Plano, TX 75075




Ralph H Loraine Cummins Tst            Ralph J Hendrix                 Ralph Jackson
Cornelia C Blake Trustee               2882 Highway 557                1235 Fitzgerald Ave
500 West 7Th Street Ste 1213           West Monroe, LA 71292           San Francisco, CA 94124
Fort Worth, TX 761024783




Ralph Kerry Huffman                    Ralph L Gilbert                 Ralph L Henderson
11503 Dunlap                           2400 Veterans Blvd Ste 16C      7844 S Espana Way
Houston, TX 77035                      Pmb 296                         Centennial, CO 80016
                                       Del Rio, TX 788403136




Ralph Maddox Family Trust              Ralph Moody Harrison            Ralph Murray Meisenheimer Jr
L L Mays Trustee                       1022 New Prospect Road          1604 State Hwy 49 E
250 W Nottingham                       Dubach, LA 71235                Jefferson, TX 75657
Suite 400
San Antonio, TX 78209



Ralph Odum                             Ralph Owens                     Ralph R Emory
PO Box 68                              126 Ahrens Ave                  1637 Danville Road
Ore City, TX 75683                     Brenham, TX 77833               Kilgore, TX 75662




Ralph R Wallace Iii                    Ralph R Wilkerson               Ralph Stanley Beard
1182 East Taylor Lakes Circle          921 Spirit Lane                 Catherine Culpepper Beard
Livingston, TX 77351                   Cheyenne, WY 82009              16510 Highway 151
                                                                       Arcadia, LA 71001




Ralph Thomas Thornhill Jr              Ralph V St John                 Ralph W Marilyn L Ball Joint Tenants
688 B B Beard Road                     PO Box 4602                     60 Marble Ct
Monterey, LA 71354                     Jackson, MS 39296-4602          Carbondale, CO 81623




Ralph W Specht                         Ralph W Watson                  Ralph W Widener Jr
4430 S Oak St                          2555 West Bluff Avenue 173      PO Box 196031
Casper, WY 82601                       Fresno, CA 93720                Dallas, TX 75219-8619




Ralph Wayne Collier                    Ralph Wick                      Ralphs Grocery Company
3868 Maybelle Avenue                   Box 48                          PO Box 54143
Oakland, CA 94619                      Mt Union, LA 52644              Los Angeles, CA 54143
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Ralphs Sandblasting Painting          RalphS Welding Hot Shot          Ralston B Simmons
PO Box 1797                           3728 W Smith Lane                3560 Charlemaine Drive
Artesia, NM 88211-1797                Hobbs, NM 88240                  Aurora, IL 60504




Ram Backhoe Service LLC               Ram Energy LLC                   Ram Energy LLC
PO Box 717                            2100 S Utica Ave Ste 175         2100 South Utica Ave Ste 175
Levelland, TX 79336                   Tulsa, OK 74114                  Tulsa, OK 74114




Ram Foundation                        Ram Gear Manufacturing Inc       Ram Production Services Inc
Guaranty Bank Tr Na Poa               PO Box 537                       PO Box 2724
PO Box 13639                          Agua Dulce, TX 78330             Laredo, TX 78044-2724
Arlington, TX 76094




Ram Studios Inc                       Ram Swab Services LLC            Ramco Directional Drilling Inc
PO Box 2899                           2154 W Eisenhower Blvd           PO Box 52964
Farmington, NM 87499-2899             Loveland, CO 80537               Lafayette, LA 70505




Ramco Oilfield Services               Ramert Family Lp                 Ramey Interests LLC
PO Box 1117                           PO Box 542                       PO Box 8023
Freer, TX 78357                       Tilden, TX 78072                 Tyler, TX 60196




Ramider Energy Services LLC           Ramirez Welding                  Ramiro Perez Jr
3410 98Th St                          PO Box 2052                      PO Box 430525
Suite 4 Pmb 320                       Palestine, TX 75802              Laredo, TX 78043
Lubbock, TX 79424




Ramon Richard Kirgan Iii Trust        Ramon Richard Kirgan Jr Estate   Ramon Weldon Callaway Estate
Co Citizens National Bank             Citizens National Bank           Ramon W Callaway Jr James
PO Box 820                            PO Box 820                       Ostler Co Indp Executors
Henderson, TX 75653                   Henderson, TX 75653              1334 Adams Dr
                                                                       Colorado Springs, CO 80904



Ramona Duggan Kirkpatrick             Ramona Lee                       Ramona M Brown
7403 Riverside Dr                     5423 Northern Dancer             PO Box 3554
Shreveport, LA 71009                  Springdale, AR 72762-8337        Napa, CA 94558-0355




Ramona M Celestine                    Ramona Niland                    Ramrod Trucking Inc
436 Old Hwy 190                       6420 E Pershing                  3009 Hohl Street
Livingston, TX 77351                  Cheyenne, WY 82001               Houston, TX 77093




Ramsay Corporation                    Ramsey Minerals LLC              Ramsey Ruel Gordon
PO Box 52027                          500 W 5Th St Ste 1210            2794 Lydia St
Lafayette, LA 70505                   Austin, TX 78701                 Orange, TX 77632
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Ramsey V Ross                          Ramsey William A Jr                Ramsey Windham Rider
829 Unadilla St                        3302 Winding Way                   Deceased
Shreveport, LA 71106                   Round Rock, TX 78664               3610 Rip Ford Drive
                                                                          Austin, TX 78732-2237




Rancher Energy Corp                    Rancher Oilfield Pipe Supply LLC   Rancho Blanco LLC
PO Box 40                              PO Box 903                         PO Box 33240
Henderson, CO 80640-0040               Watson, LA 70786                   San Antonio, TX 78265




Rancho Hinojosa LLC                    Rancho Las Margaritas Ltd          Rancho Nogota Lp
2702 Gustavus                          30239 Fairway Run                  PO Box 82
Laredo, TX 78043                       Fair Oaks Ranch, TX 78015          Elysian Fields, TX 75642




Rancho Oil Company                     Rancich Family Trust               Randa Elizabeth Moore
PO Box 919                             c/o Jp Morgan Natl OG Op           7252 E Whistling Wind Way
Gainesville, TX 76241-0919             P O Drawer 99084                   Scottsdale, AZ 85255
                                       Fort Worth, TX 76199-0084




Randado Properties LLC                 Randahl D Roadifer                 Randal Beach
310 S St Marys Street                  Address Redacted                   5025 Briar Tree Dr
Suite 2000                                                                Dallas, TX 75248
San Antonio, TX 78205




Randal David Honeycutt P L Honeycutt   Randal Garrett                     Randal R Rosebrock
322 Chimney Rock 705                   9805 Katy Freeway                  PO Box 1105
Tyler, TX 75703                        Suite 400                          Three Rivers, TX 78071
                                       Houston, TX 77024




Randal Wade Rebecca Hood               Randall A Fuller Jr                Randall Allen Northern
536 Davidson Rd                        1500 Litchfield Drive              204 Buckingham Pl
Arcadia, LA 71001                      Mckinney, TX 75071                 Hewitt, TX 76643-4203




Randall Barrett Nims                   Randall Bright                     Randall Bryan Gay Et Ux
c/o Dixie Nims                         Address Redacted                   Patty D Younse Gay
884 Tamarack Avenue                                                       1602 Highway 544
Tallahassee, FL 32303                                                     Ruston, LA 71270




Randall Capps                          Randall Clay Reese                 Randall Covington
PO Box 6025                            106 Myra Lynn Lane                 PO Box 285
Midland, TX 79704                      Longview, TX 75605                 Crystal City, TX 78839




Randall D Moore                        Randall Darden                     Randall Dee George
PO Box 158                             1407 Club View Ct                  300 Pierremont Rd 18
Mena, AR 71953                         Arlington, TX 76013                Shreveport, LA 71106
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Randall E Christy                       Randall G Cox                   Randall G Herbert
318 E Puckett Lake Road                 9714 159Th Place Ne             619 N Paca Street
West Monroe, LA 71292                   Redmond, WA 98052               Baltimore, MD 21201




Randall G Maines                        Randall Grey Culp               Randall J Elliott And Gloria W Elliott
2108 Wainwright                         PO Box 1527                     1483 Highway 544
Longview, TX 75604                      Henderson, TX 75653             Ruston, LA 71270




Randall J Roberts                       Randall Kent Greer              Randall L Ramsey
2523 Old South Drive                    901 W 3Rd St                    4829 Moravian
Richmond, TX 77469                      Little Rock, AR 72201-2105      Corpus Christi, TX 78415




Randall Lee Briggs                      Randall Lee Smith               Randall Leo Smith Jr
604 Cr 264                              712 Ashley 249                  33610 Picciola Drive
Beckville, TX 75631                     Crossett, AR 71635              Fruitland Park, FL 34731




Randall M Murphy                        Randall M Spencer               Randall Mark Norris
PO Box 293                              c/o Texas State Treasury        235 Roach Road
Arcadia, LA 71001                       Unclaimed Property Division     Choudrant, LA 71227
                                        PO Box 12019
                                        Austin, TX 78711-2019



Randall Mcanally                        Randall R Liles                 Randall Ray Harrison
Address Redacted                        6270 Sand Hill Avenue           801 Oak St
                                        Shreveport, LA 71107            Orlando, FL 32804




Randall Resources LLC                   Randall S Beebe                 Randall S Mcdonald
5700 Peter Bonner Rd                    3120 Sw 136Th Terrace           PO Box 471
Longview, TX 75650                      Oklahomas City, OK 73170        Palestine, TX 75802




Randazzo Giglio Bailey LLC              Randee B Johnson                Randel James Dillavou
PO Box 51347                            PO Box 132                      PO Box 204
Lafayette, LA 70505-1347                China Spring, TX 76633          Shell Rock, IA 50670




Randi Roy Craig                         Randie Ray Pierce               Randle B Cameron
9555 Marina Valley Ave                  611 S Bonner St Apt 209         2304 Great Sky Road
Las Vegas, NV 89147-8042                Ruston, LA 71270-5066           Colorado Spgs, CO 809151912




Randle T Moore Iii                      Randolph B Lee                  Randolph B Mahoney
513 N Marlborough Circle                834 Fleetwood Place Dr          1787 Earhart Ct
Shreveport, LA 71106                    Houston, TX 77079-5063          Port Orange, FL 32128
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Randolph Brooks Federal C U             Randolph College                        Randolph E Wilson
PO Box 2097                             Attn Business Office                    PO Box 671338
Universal City, TX 78148-2097           25000 Rivermont Ave                     Dallas, TX 75267-1338
                                        Lynchburg, VA 24503




Randolph G Austin                       Randolph K Wilson Iii                   Randolph L Storms
1547 E 400 Rd                           PO Box 3                                1006 Darbonne Dr
Lawrence, KS 66049                      Flint, TX 75762                         Ruston, LA 71270




Randolph Stephens Rhymes                Randy Arvelle Johnson And               Randy Bates
2307 Myrtle St                          Vicki Renee Flowers Johnson             9104 Farm Road 1649
Monroe, LA 71201                        16534 Hwy 151                           Gilmer, TX 75644
                                        Arcadia, LA 71001




Randy Bryan                             Randy C Jedlicka Wife Cheryl Jedlicka   Randy Cape
PO Box 1392                             1522 Jedlicka Rd                        PO Box 941
Henderson, TX 75653                     Kemp, TX 75143                          Bullard, TX 75757




Randy Clyde Rich                        Randy Davis                             Randy Deason
14648 Gibson                            320 W Wellington                        409 Highway 152
Maurepas, LA 70449                      Carthage, TX 75633                      Dubach, LA 71235




Randy Gale Browder                      Randy Hardman                           Randy J Heaton
PO Box 187                              Dba Hardman Pumping Service Inc         34 Sky Terrace
6202 Highway 34                         PO Box 72                               The Woodlands, TX 77381
Chatham, LA 71226                       Gail, TX 79738




Randy Julie Pitts                       Randy L Butler                          Randy L Crawford
1305 Perry St                           1601 S Boulder Hwy Apt 4106             1685 E 68Th St
Longview, TX 75601                      Henderson, NV 89015-8528                Long Beach, CA 90805-7400




Randy L Ewing Rosemary U Ewing H/W Cp   Randy Lagrone                           Randy Macon
296 Country Lane                        9645 North 30Th Street                  9709 Karak Rd Ne
Quitman, LA 71268                       Omaha, NE 68112                         Albuquerque, NM 87132




Randy Mark Brown                        Randy Max Worley Trust                  Randy Or Janie Cape
200 Ashley St                           Dtd 12/18/96 Of Worley Fam Trst         1502 Springdale Street
Alvord, TX 76225-5641                   Randy Max Worley Trustee                Longview, TX 75604
                                        406 Pierview Way
                                        Boiling Springs, SC 29316



Randy Paul Wade                         Randy Peden                             Randy Permenter
PO Box 262583                           727 Cd J                                PO Box 8621
Houston, TX 77207                       Tahoka, TX 79373                        Tyler, TX 75711
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Randy Prescher                        Randy Prior                       Randy R Pitt Const Inc
810 E Front Street                    4211 Eta St                       PO Box 309
Bloomington, IL 61701                 San Diego, CA 92113               Rock Springs, WY 82902




Randy Ripley                          Randy Steve Powers                Randy Usry
1620 Tarrytown                        120 County Road 1424              903 Applewood Dr
Little Rock, AR 72227                 Jacksonville, TX 75766            Rock Springs, WY 82901




Randy Ward                            Randy Woodard                     Range Production Company
c/o Texas Comptroller Accounts        9026 Cherry Ridge Blvd            100 Throckmorton Street Suite 1200
Unclaimed Property                    Apt D105                          Fort Worth, TX 76102
PO Box 12019                          Greenwood, LA 71033
Austin, TX 78711-2019



Range Production I Lp                 Range Production I Lp Dept 8054   Range Resources Louisiana Inc
Range Prod Co Its Gnrl Prt            PO Box 650002                     100 Throckmorton Street
Dept 8054                             Dallas, TX 75265-0002             Suite 1200
PO Box 650002                                                           Fort Worth, TX 76102
Dallas, TX 75265-0002



Range Resources Corporation           Ranly Inc                         Ransom Drilling Services LLC
100 Throckmorton Street Suite 1200    PO Box 192                        PO Box 107
Forth Worth, TX 76102                 Aqua Dulce, TX 78330              Gary, TX 75643




Raoul Richardson                      Rapid Drilling LLC                Rapid Drilling LLC
8567 San Fernando Way                 Jeremy Pate                       PO Box 81277
Dallas, TX 75218-4306                 16840 Barker Springs Ste 300      Lafayette, LA 70598
                                      Houston, TX 77084




Rapid Hot Flow LLC                    Rapid Testers LLC                 Rapid Transport Ltd
PO Box 659                            PO Box 703                        Po Drawer L
Parachute, CO 81635-0659              Big Spring, TX 79721-0703         Kermit, TX 79745




Rapid Wire LLC                        Raplh Newton Marshall Exmt Tr     Raptor Rental Production Services LLC
PO Box 176                            Ralph Newton Marshall Ttee        Christopher Smith
Cora, WY 82925                        2059 Baseline Dr                  PO Box 594
                                      Grand Junction, CO 81507          Carthage, TX 75633




Raquel Gina Lopez                     Ras Redwine V                     Rat Hole Drilling
Rdblic Accoun                         2001 San Miguel Lane              PO Box 907
3400 South Lake Pard                  Austin, TX 78746                  Mills, WY 82644
South Lake, TX 76092




Rathole Managers Inc                  Ratliff Electric Co               Rauhs Frac Service Ltd
PO Box 717                            PO Box 696                        7880 San Felipe Street Ste 207
Rock Springs, WY 82902                Wink, TX 79789                    Houston, TX 77063
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Raul A Guerra                          Raul Garza                      Raul Leonel Ramirez
Union National Bank Of Texas           Address Redacted                720 Airport Blvd Trl 94
1100 Matamoros St                                                      Austin, TX 78702
Laredo, TX 78040




Rauland Resources Co                   Ravco Properties Inc            Rave Energy Inc
4 Lakeview Hls Lot 2                   5949 Sherry Ln Ste 1400         PO Box 3087
Brule, NE 69127-4166                   Dallas, TX 75225                Houston, TX 77253




Raven James Langley                    Ravoyl Land                     Rawlins Automotive Inc
PO Box 754                             920 Twin Bridges Rd 102         PO Box 1148
Elton, LA 70532                        Alexandria, LA 71303            Rawlins, WY 82301




Rawlins Daily Times                    Rawlins Fire Extinguisher Inc   Rawlins Gas And Oil Company
PO Box 370                             PO Box 1862                     217 El Rancho
Rawlins, WY 82301                      Rawlins, WY 82301               Rawlins, WY 82301




Rawlins Glass Inc                      Rawlins Royalty Company         Rawlins Urgent Care Inc
PO Box 537                             206 W Maple St                  PO Box 481
Rawlins, WY 82301                      Rawlins, WY 82301               Rawlins, WY 82301




Ray A Lewis                            Ray A Newbold Linda M Newbold   Ray Alexander Jr
15687 W Verde Lane                     1505 Bittersweet                7328 Hwy 15
Goodyear, AZ 85395                     Ruston, LA 71270                Farmerville, LA 71241




Ray Anderson Robinson And              Ray B Powers Jr                 Ray Bryan Taylor
Brenda Faye Perry Robinson             509 Colorado St                 PO Box 459
1267 N Pine Tree Road                  Smithville, TX 78957-1003       Carthage, TX 75633
Simsboro, LA 71275-3468




Ray Campbell                           Ray Cottrel Wallace             Ray D Alford And Aarin C Alford
Address Redacted                       7118 Cr 272 N                   314 Old Wire Rd
                                       Henderson, TX 75652             Ruston, LA 71270




Ray Dale Southerland Smith             Ray E Mcnutt                    Ray G Farrell Jr
7 Estates Court                        PO Box 3198                     PO Box 702746
Longview, TX 75605                     Aspen, CO 81612                 Dallas, TX 75370




Ray G Farrell Sr Estate                Ray G Farrell Sr Trust          Ray G Hadley T/C
c/o G Farrell Ray Jr                   PO Box 702746                   127 Cerro Romauldo Avenue
16475 Dallas Parkway Ste 320           Dallas, TX 75370                San Luis Obispo, CA 93405
Addison, TX 75001
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Ray Gipson                               Ray Givens Et Ux                 Ray H Eubank
1180 53Rd St                             Bertha Lewis Givens              4600 Greenville Ave Ste 106
Oakland, CA 94608                        7559 South Michigan              Dallas, TX 75206
                                         Chicago, IL 60619




Ray Hall                                 Ray Horace                       Ray Howard
3703 Lionel Street                       Texas State Treasury Dept        1700 Swinging Bridge Road
Monroe, LA 71203                         Unclaimed Property Division      Longview, TX 75604
                                         PO Box 12019
                                         Austin, TX 78711-2019



Ray Kelly                                Ray M Buck Trust Mrs             Ray Nash Adams
25200 Carlos Bee Blvd Apt 78             Ann Buck Griffin Trustee         341 Springdale Dr 9
Hayward, CA 94542                        432 Wyndgate Rd                  Long Beach, CA 90810
                                         Sacramento, CA 95864-5932




Ray Oden Youngblood Separate Property    Ray Oil Tool Co Inc              Ray P Oden Jr And
4464 Richmond Ave                        Po Drawer 1078                   PO Box 1806
Shreveport, LA 71106-1420                Broussard, LA 70518-1078         Shreveport, LA 71166-1806




Ray R Marsh Estate                       Ray Rhymes Iii                   Ray Rochelle
235 Northwood Park                       3213 Lake Desiard Rd             1043 1st St
Livingston, TX 77351-8638                Monroe, LA 71201                 Gibsland, LA 71028-4816




Ray Staten                               Ray Taylor                       Ray Torbor
415 Grace                                Rt 1 Box 233                     529 Mount Olive Road
Inglewood, CA 90301                      Joaquin, TX 75954                Ruston, LA 71270




Ray W Davis Consulting Eng Inc           Ray W Fletcher Family Trust      Ray W Fletcher Family Trust
208 Cr 449                               Debora Fletcher Foster Co Ttee   Roxie Pillans Fletcher Co Ttee
Carthage, TX 75633                       3010 81st Street                 PO Box 725
                                         Lubbock, TX 79423                Cross Plains, TX 76433




Ray Wenona Leggett Trust                 Ray Wesson Terry Jr              Ray Woolsey Esch
Charles Leggett Trustee                  4153 County Road 266 N           2514 Vance Jackson Rd Apt 5
301 Rhode Island Street                  Henderson, TX 75652-4526         San Antonio, TX 78230
Orange, TX 77630




Raya Energy Corp                         Raybourn Interests Inc           Raybourne Thompson Jr
PO Box 164163                            PO Box 1371                      6022 Crab Orchard
Austin, TX 78716                         Shawnee, OK 74805                Houston, TX 77057




Rayburn Joseph Covington                 Raychel Wade                     Raye Ann Embrey
6267 Hwy 783                             225 West 25Th Street             15 Hialeah Dr
Coushatta, LA 71019                      New York, NY 10001               Midland, TX 79705
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Rayella Delley Boyd                   Rayford Green Ind Ind Exec         Rayford L Cole Separate Prop
1707 Kraft Street                     For Estate Of Phyllis Green        6564 Highway 160
Dallas, TX 75212                      4608 South Street                  Cotton Valley, LA 71018
                                      Nacogdoches, TX 75964




Rayford L Cole Usufruct               Rayford S Bennett                  Rayford Scott Jones
6564 Highway 160                      822 Trenton Ct                     PO Box 156
Cotton Valley, LA 71018               Longview, TX 75601                 North Garden, VA 22959




Raylene Bedgood Welch                 Raymon Earl Hunt                   Raymond A Wood Jr
169 Split Oak Road                    600 Milam Court                    4441 Valerie
Smithville, TX 78957                  Irving, TX 75038                   Bellaire, TX 77401




Raymond Alfred Wingate                Raymond Attaway                    Raymond B Blaine
38444 Cal Rd                          144 Pr 6020                        116 E Muntz Ave
Gonzales, LA 70737                    Carthage, TX 75633                 Butler, PA 16001




Raymond Bernard Anderson              Raymond Bessis Kravis Foundation   Raymond C Greer Sp
PO Box 422                            c/o Bok Agent                      PO Box 435
Logansport, LA 71049-0422             PO Box 3499                        Scottsville, TX 75688
                                      Tulsa,, OK 74101




Raymond C OBrien                      Raymond Chorney                    Raymond Clay Mcdonald
Fe P OBrien                           555 17 St Suite 1000               Lee Anne Parker Mcdonald
514 H Ave                             Denver, CO 80202-3910              315 Hammons Rd
Nevada, IA 50201-2028                                                    Choudrant, LA 71227




Raymond Conover                       Raymond Construction               Raymond E Harris
615 Forest Lake Drive                 160 Pr 207                         8501 Lullwater Dr Apt 2404
Lakeland, FL 33809                    Shelbyville, TX 75973              Dallas, TX 75238-4707




Raymond E Henderson Laura Henderson   Raymond Earl Sitta Jr Estate       Raymond Earnest Reed
691 Waltham St                        James D Baker Pers Rep             17614 Chicory
Mountain View, CA 94040               PO Box 1230                        Houston, TX 77084
                                      Farmington, NM 87499




Raymond F Long                        Raymond Fletcher                   Raymond Franklin Stevens
PO Box 1813                           8404 Oakdale Dr                    PO Box 716
Shreveport, LA 71166-1813             Woodway, TX 75604                  Judson, TX 75660




Raymond H Hedge Iii                   Raymond H Lehman                   Raymond H Morris
3064 Concord Pl                       222 Sidney Bakers Ste 635          400 Mckinley St
Tyler, TX 75601                       Kerrville, TX 78028                Monroe, LA 71201
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Raymond H Roach Jr Charlene Roach       Raymond Hale Jr                       Raymond Hampton Roach Jr
7579 Cistena Way                        159 S 35Th St                         7579 Cistena Way
Parker, CO 80134-2700                   Richmond, CA 94804-3257               Parker, CO 80134




Raymond Hardy Madden Iii                Raymond Heard Morris                  Raymond Horton
PO Box 697                              400 Mckinley                          941 Gause Ln
Ruston, LA 71273                        Monroe, LA 71201                      Dallas, TX 75217-8220




Raymond J Robert                        Raymond Jackson Wife Sylvia Jackson   Raymond James
1438 Halapa Way                         PO Box 177                            Attn Mrroberta Green
Trinity, FL 34655                       Tenaha, TX 75974                      880 Carilion Parkway
                                                                              PO Box 12749
                                                                              St Petersburg, FL 33716



Raymond James Associates Inc            Raymond James Associates Inc          Raymond James Financial
16133 Ventura Boulevard 530             880 Carillon Parkway                  16133 Ventura Boulevard 700
Encino, CA 91436                        St Petersburg, FL 33716               Encino, CA 91436




Raymond James Financial Services        Raymond James Trust Company           Raymond Keenan
16134 Ventura Boulevard 700             880 Carillon Pkwy St                  Individual Retirement Account
Encino, CA 91436                        Petersburg, FL 33716                  Rbc Capital Markets Llc Cust
                                                                              134 Pond View Drive
                                                                              Port Washington, NY 11050-2468



Raymond L Akin Jr                       Raymond L Copeland                    Raymond L Givens
6807 Vada Dr                            341 Cr 111                            1001 Carpenters Way L 231
Dallas, TX 75214                        Carthage, TX 75633                    Lakeland, FL 33809




Raymond L Lieber                        Raymond L Schubert                    Raymond L Tollett Jr Trust U/A 2749
106 Rosedown Way                        D/B/A The Majors Company              c/o Bank Of America Trustee
Mandeville, LA 70448                    245 Melina Lane                       PO Box 830308
                                        Seguin, TX 78155                      Dallas, TX 75283-0308




Raymond L Tollett Jr Trust U/A 2749     Raymond L Tollett Jr Trust U/A 2749   Raymond Leon Edwards
c/o Bank Of America Trustee             c/o Bank Of America Trustee           111 Lori Dr
PO Box 8340738                          PO Box 832407                         Stonewall, LA 71078-9663
Dallas, TX 75284-0738                   Dallas, TX 75283-2407




Raymond Littlefield                     Raymond M Swanson                     Raymond Matthew Smith
Deborah Littlefield                     1911 Southern Light Dr                1061 Sunset Canyon Drive South
26 Franklin Ave Nw                      Lincoln, NE 68512                     Dripping Springs, TX 78620
Concord, NC 28025




Raymond Meyer Jr                        Raymond N Joeckel                     Raymond Oliver
334 Pennington                          1672 La Loma Drive                    Address Redacted
Goodrich, TX 77335                      Santa Ana, CA 92705
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Raymond P Leblanc                       Raymond P Prasifka                     Raymond P Verhalen Iii
47045 Hidden Lane                       618 S Clark St                         PO Box 8105
Hammond, LA 70401-4858                  Moberly, MO 65270                      Marshall, TX 75671




Raymond R Bazer                         Raymond R Lockwood                     Raymond Ray Jr
4802 Bel Meade Ave                      333 W Hubbard St Unit 904              PO Box 189
Pascagoula, MS 39581-3501               Chicago, IL 60610                      Larkspur, CO 80118-0189




Raymond Reese                           Raymond S Kimbell                      Raymond Sampson Jr
3208 Hawk Rd                            PO Box 94903                           1946 Life Avenue
Diane, TX 75640                         Wichita Falls, TX 76308                Dallas, TX 75212




Raymond T Demoss Jr                     Raymond T Duncan Oil Prop Ltd          Raymond Walker
PO Box 196                              PO Box 467                             123 Rawlings Ct
Arcadia, LA 71001                       Oklahoma City, OK 73101                Folsom, CA 956304847




Raymond Williams Jr                     Raymond Woodard                        Raymonds Welding Machine Shop Inc
801 Park Avenue                         1808 Furman St                         PO Box 148
Farrell, PA 16121                       Ruston, LA 71270                       Kamay, TX 76369-0148




Raynelle Martin                         Rb Backhoe Service Ramon Bonilla Dba   Rb Backhoe Services
32 Manitou Ave                          Juan Bonilla Jr                        PO Box 272
Manitou, CO 80829                       PO Box 272                             Kermit, TX 79745-1605
                                        Kermit, TX 79745




Rb Inspection Inc                       Rb Oder Construction Co Inc            Rbc Capital Mark
PO Box 3005                             PO Box 1446                            Attn Msalisha Merchant
Odessa, TX 79760                        Gladewater, TX 75647                   777 Tower 777 S Figueroa St 850
                                                                               Los Angeles, CA 90017




Rbc Capital Mark                        Rbc Capital Markets Corp               Rbc Capital Markets LLC
Attn Steve Schafer                      Three World Financial Center           777 Tower 777 S Figueroa St 850
Issuer Servicesproxy Documents          200 Vesey St 9Th Fl                    Los Angeles, CA 90017
51 Mercedes Way                         New York, NY 10281-8098
Edgewood, NY 11717



Rbc Trust Company Delaware Ltd          Rc Jones Pumping                       RC Spraying Inc
4550 New Linden Hill Rd 200             PO Box 368                             PO Box 547
Wilmington, DE 19808                    Wink, TX 79789                         Overton, TX 75684




Rcc Family Company LLC                  Rcptx Ltd                              Rcw Eneergy Services LLC
5424 Coach Rd                           777 Taylor St Ste 810                  6270 Morningstar Drive
Bossier City, LA 71111                  Fort Worth, TX 76102                   Suite 100
                                                                               The Colony, TX 75056
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Rcw Energy Services LLC                 Rcw Energy Services LLC           RD Sales LLC
6270 Morning Star Dr Ste 100            6270 Morningstar Drive            302 Quadrant Dr
The Colony, TX 75056-4588               Suite 100                         Rock Springs, WY 82901
                                        The Colony, TX 75056




Rdg Minerals Ltd Everhardt              Rdk Gs 1 Trust                    Re Lee Dugout Club
c/o Broadway Natl Bk Tr                 Richard Duane Kesecker Incl Any   c/o Richard Solomon
Oil Gas Fbo Jane Garrett Everhart       Successors Thereof Ttee           Austin Bank
PO Box 17001                            14044 Bradshaw Road               108 Market Square Blvd
San Antonio, TX 78217                   Tyler, TX 75707                   Tyler, TX 75703



Rea Lisa Sampson                        Rea Orms Jordan                   Read Stevens Inc
756 Reese Rd                            2600 Parks Ave                    PO Box 2126
Arcadia, LA 71001                       Snyder, TX 79549                  Roswell, NM 88201




Readus Butler Decd Esch                 Readus E Butler                   Ready Oilfield Service Inc
212 Butler Rd                           281 Butler Rd                     1575 Dewar Dr
Simsboro, LA 71275                      Simsboro, LA 71275                Suite 420
                                                                          Rock Springs, WY 82901




Readyrefresh By Nestle A Div            Reagan Cartwright                 Reagan Cartwright Estate
Of Nestle Waters N America Inc          6345A Diamondhead Circle          Team Bank Indep Coexecutor
PO Box 856158                           Dallas, TX 75255                  P O Drawer 99084
Louisville, KY 40285-6158                                                 Fort Worth, TX 76199




Reagan Cassity                          Reagan Douglas Wyche              Reagan Grant White
502 W Panola                            Sb 52 Lake Cherokee               1535 S Highland Ave
Carthage, TX 75633                      Tatum, TX 75691                   Tyler, TX 75701-3200




Reagan Lydell Rowe                      Reagan Patton                     Reagan Walker Kent
5308 Fm 326                             236 Pecan Hill Lane               PO Box 1781
Lufkin, TX 75901                        Nacogdoches, TX 75965             Kinder, LA 70648




Reagor Family LLC                       Realeza Del Spear Ltd             Ream Interests Inc
1918 Follow Thru Rd N                   PO Box 1684                       PO Box 787
St Petersburg, FL 33707                 Midland, TX 79702                 Lewisburg, WV 24901




Reatha Stuckey Nordon                   Reba Allison                      Reba Andrews
116 Blanks Street                       171 Cr 490                        203 Vz County Road 2313
West Monroe, LA 71291                   Carthage, TX 75633                Canton, TX 75103-4800




Reba Campbell Lewis                     Reba Childress Pace               Reba D Justice
109 Timber Ridge Dr                     329 County Road 4052              7989 Belt Line Rd Sw 130
Slidell, LA 70460                       Carthage, TX 75633                Dallas, TX 75248
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Reba D Michael                        Reba Davis Decd Esch            Reba Inez Hawk Heldreth
339 Brown Rd                          3530 Michigan Bldg              455 Hodges Plant Rd
Quitman, LA 71268                     Shreveport, LA 71119            Arcadia, LA 71001




Reba J Hagerott                       Reba Jo Anderson Carroll        Reba Jo Covington Baker
4430 21st St Se Apt 117               1416 Mary Lee Lane              5222 South Lakeshore Drive
Mandan, ND 58554-6475                 Longview, TX 75601              Shreveport, LA 71109




Reba Joyce Bassett                    Reba L Taylor                   Reba Lucille Hattz
121 Kathryn Drive                     888 State Highway 7 East        6987 Daventry Place
Daingerfield, TX 75638                Center, TX 75935                Castle Pines, CO 80108




Reba Maurine Gibson                   Reba Mcallister Madera          Reba Peden Franklin
2082 Cr 316                           509 West Avenue                 521 Peach St
Lindale, TX 75771                     Electra, TX 76360               Dalhart, TX 79022




Rebecca A Doughty                     Rebecca A Hare Trust            Rebecca A Konvicka
484 Private Rd 8385                   Rebecca A Hare Trustee          4909 Westbriar Dr
Hillister, TX 77624                   159 Bristol Bend Circle         Fort Worth, TX 76109
                                      The Woodlands, TX 77382




Rebecca A Storey                      Rebecca Aileen Taylor           Rebecca Aline Torrance
123 Candlewood Lane                   222 Preistwick Dr               216 Meador Ln
Battle Creek, MI 49017                Dothan, AL 75711                Burleson, TX 76028




Rebecca Ann Cranford Roberts          Rebecca Ann Davidson            Rebecca Ann Fuller
2993 Highway 577                      110 Meadow Dr                   275 Lake Estates Trail
Pioneer, LA 71266                     Weatherford, TX 76086-2713      Longview, TX 75605




Rebecca Ann Fuller Trust              Rebecca Ann Glover Murray       Rebecca Ann Harmon Mcdaniel
U/W/O Jane Turner Sheppard            19902 Gatling Ct                2534 Hwy 146
Rebecca Ann Fuller Trustee            Katy, TX 77449                  Homer, LA 71040
275 Lake Estates Trail
Longview, TX 75605



Rebecca Ann Henry Games               Rebecca Ann Leftwich            Rebecca Ann Murray Ind Exec
2006 Stoneridge Terrace               8701 Salisbury Ave              For The Estate Of Wilma Raye
Austin, TX 78746                      Lubbock, TX 79424               Glover
                                                                      1913 North 10Th Street
                                                                      Longview, TX 75601



Rebecca Ann Robertson Ingram          Rebecca Ann Smith               Rebecca Ann Soileau
6240 Hollyhock Lane                   4845 Hatcher St 402             8833 Hedges Dr
Bossier City, LA 71112                Dallas, TX 75210                Shreveport, LA 71118
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Rebecca B Hicks                          Rebecca Baker Conleay           Rebecca Bibb Robert Bibb
1374 Railroad St Ste 100                 10293 Highway 84                609 Private Road 4320
Dayton, TN 37321                         Mansfield, LA 71052-5855        Marshall, TX 75670




Rebecca Brumley                          Rebecca C Askin                 Rebecca C Beavers
2901 Temple Hall Highway                 360 Halfway Creek               3203 San Sebastian Drive
Granbury, TX 76049                       Jonesboro, LA 71251             Carrollton, TX 75006




Rebecca C Gardner Trust                  Rebecca C Gardner Trust         Rebecca Colvin Mccormick
F/B/O Patricia Gardner Cleek             Fbo John W Gardner Ii           151 Karli Ct
PO Box 99084                             Bank One Na                     Defuniak Springs, FL 32435
% Bank One Trust Co Trustee              PO Box 990084
Ft Worth, TX 76199                       Ft Worth, TX 76199



Rebecca D Blankinship                    Rebecca D Kunnemann             Rebecca Delaney
201 Rider Rd                             4210 Kenwick Court              2801 W Rosecrans Ave
Rusk, TX 75785                           Marietta, GA 30062              4
                                                                         Gardena, CA 92049




Rebecca Dickens                          Rebecca Donald                  Rebecca Forrester Knight
801 W 5Th St                             647 Wyngate Pointe Ln           855 Yorks Crossing
602                                      Draper, UT 84020                Driftwood, TX 78619
Austin, TX 78703




Rebecca Foster Yow                       Rebecca Goodgion                Rebecca Haug
1216 Washington Terrace                  c/o Texas State Treasury        701 Manley Street
Fort Worth, TX 76107                     Unclaimed Property Division     Navasota, TX 77868
                                         PO Box 12019
                                         Austin, TX 78711-2019



Rebecca Hunt                             Rebecca J Anderson              Rebecca J Cook
4729 E Sunrise 301                       3106 Priest Ln                  8715 Redwood Bend
Tuscon, AZ 85718                         Mound, MN 55364                 Helotes, TX 78023




Rebecca J Foster Johnson                 Rebecca J Peret                 Rebecca Jane Buller
305 Galway Dr                            921 Redwood Dr                  67 Ambleside Crescent Drive
Shreveport, LA 71115                     Richardson, TX 75080            Sugar Land, TX 77479




Rebecca Jane Creech Parker               Rebecca Janette Mardis          Rebecca Jean Fears
201 Parker Lane                          2000 Ohio St                    2908 Celebration Way
Mansfield, LA 71052                      Lawrence, KS 66046              Longview, TX 75605




Rebecca L Altemus                        Rebecca L Barton                Rebecca L Bird
Address Redacted                         789 Admiral Court               12322 Palmfree
                                         Oak Park, CA 91377              Houston, TX 77034
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Rebecca L Evans                          Rebecca L Germann                         Rebecca L Hegar
c/o Keith Evans                          Tod                                       2011 Meadow Way Circle N
7717 Creswell Rd 21                      14018 Willow Breeze Court                 Arlington, TX 76015
Shreveport, LA 71106                     Chesterfield, MO 63017-3516




Rebecca L Reese                          Rebecca Lea Brashear                      Rebecca Lea Henderson
6522 San Blas Pl Nw                      PO Box 1132                               14 Chipping Green Drive
Albuquerque, NM 87120                    Longview, TX 75606                        Arden, NC 28704-2610




Rebecca Lee Griffith                     Rebecca Leigh Barringer Trust             Rebecca Lewis DAnna
PO Box 1889                              Coco Barringer Nix Trustee                6929 Gilbert Drive
Mason, TX 76856                          PO Box 12488                              Shreveport, LA 71106
                                         Dallas, TX 75225




Rebecca Logue                            Rebecca Lowrey Earp                       Rebecca Lucille Shepherd Judge
430 S Roosevelt St                       1200 Chopin Drive                         7961 S H 87 N
Wichita, KS 67218                        Bossier City, LA 71111                    Timpson, TX 75975




Rebecca Lynn Jordan Roush                Rebecca M Kleinfelter                     Rebecca M Mercer
4532 Larner                              4020 North Grand Avenue                   600 Cambridge
The Colony, TX 75056                     Kansas City, MO 64116                     Tyler, TX 75703




Rebecca M Segrest                        Rebecca Mayhar                            Rebecca Mcginnis Williams
7230 Oak Forest Drive                    806 Denton                                PO Box 581
Bryan, TX 77808                          Jasper, TX 75951                          Ruston, LA 71270




Rebecca Moak Keen                        Rebecca Montano Aka Rebecca Reed Wright   Rebecca P Holtzclaw
2809 Lyons Street                        15410 W Morning Glory St                  534 Elliott Rd
Arcadia, LA 71001                        Goodyear, AZ 85338                        Arcadia, LA 71001




Rebecca Pace Schmidt Parce               Rebecca Parks                             Rebecca Pierce Morris
PO Box 3518                              625 Cesaer Road                           2604 B El Camino Real Ste 289
South Padre Island, TX 78597             Ringgold, LA 71068                        Carlsbad, CA 92008




Rebecca Pipes Robinson                   Rebecca R Bell Revocable Trust U/A Dtd    Rebecca R Fleming
10805 N Lake Rosemound Rd                1/13/92 First National Bank               1220 West 20Th Avenue
St Francisville, LA 70775                Marshall Tx Tr PO Box 1028                Covington, LA 70433
                                         Marshall, TX 75671




Rebecca Rae Perryman Martin              Rebecca Ramirez Henry                     Rebecca Ray
23 Oak Creek Ridge Dr                    1440 W Bitters Rd Apt 714                 2802 Lariat Canyon Ct
Longview, TX 75605                       San Antonio, TX 78248-1373                Katy, TX 77450-8275
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Rebecca Roberts Hicks                 Rebecca Roberts Wilcox Trust Uwo          Rebecca Rogers Crawford
PO Box 9322                           Katherine M Roberts Tst Sh Roberts Ttee   426 Audobon
Tyler, TX 75711                       C/O Texas State Treasury Unclaimed Prop   Ruston, LA 71270
                                      PO Box 12019
                                      Austin, TX 78711-2019



Rebecca Royall                        Rebecca Royall Trust                      Rebecca Royall Trust
PO Box 770                            Rebecca Royall Ttee                       U/W Frances K Royall
Palestine, TX 75802                   U/W/O Frances K Royall                    c/o Citizen National Bank
                                      PO Box 770                                PO Box 770
                                      Palestine, TX 75802                       Palestine, TX 75802



Rebecca Ruby Ehrlich                  Rebecca S Collins                         Rebecca S Gray
904 Fairview                          350 Sandhill Rd                           3928 Weyburn Dr
Livingston, TX 77351                  Haynesville, LA 71038-7103                Ft Worth, TX 76109




Rebecca Schmidt Parce                 Rebecca Siler Young                       Rebecca Speed Bellinger
PO Box 3518                           1027 Grant Place                          614 West 7Th
S Padre Island, TX 78597              Boulder, CO 80302                         Madera, CA 93637




Rebecca Spurgers Holt                 Rebecca Sue Walsh                         Rebecca T Brownlow
Apd 133                               1342 Green Valley Rd                      703 Baylor St
Paraiso Cartago 7100                  Clever, MO 65631                          Austin, TX 787034933
Costa Rico




Rebecca Taylor                        Rebecca V Smith                           Rebecca Wilbanks
2116 Wedgewood Avenue                 909 University                            112 Leland Dr
Odessa, TX 79761                      Carthage, TX 75633                        Athens, TX 75751




Rebecca Zinn Gallaher                 Rebekah Ann Jones Johnson Life Estate     Rebekah Lincove Yeager
Robert L Zinn Aif                     Sheila Manning Aif                        PO Box 125
3400 Bissonnet Street 250             2307 Hwy 160                              Craddockville, VA 23341-0125
Houston, TX 77005                     Benton, LA 71006




Rebekah Marbury Napper                Rebekah Peter Cochran                     Rebekah Spring
PO Box 1104                           314 Tanglewood Lane                       1841 Jackson Street
Ruston, LA 71273                      Highland Village, TX 75077                Alexandria, LA 71301




Rebel Testing                         Rebel Well Testing Rental                 Recap Energy Inc
PO Box 296                            PO Box 974247                             c/o Handelshuset
Gillette, WY 82717-0296               Dallas, TX 75397                          Runstensgatan 5
                                                                                S 582 78 Linkoping
                                                                                Sweden



Reccio Jackson                        Receiver Victoria B Hensley               Rechele Boykin
1711 River Oaks Drive                 A/K/A Victoria Hensley                    2814 Dairy Road 319
Allen, TX 75002                       c/o Sue Grafton                           Garland, TX 75041
                                      Panola County Courthouse
                                      Carthage, TX 75653
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Reclass Company Mrd Level             Recol Inc                          Recon Petrotechnologies Inc
500 Dallas Street Suite 1800          3838 Oaklwan Ave Suite 725         PO Box 612147
Houston, TX 77002                     Dallas, TX 75219                   Dallas, TX 75261-2147




Recorder Charts Pens Inc              Recovery Equipment Inc             Rector Family Limited
PO Box 220201                         PO Box 5407                        Liability Limited Partnership
Attn Accts Receivable                 Abilene, TX 79608                  5 Iverness Dr E
Newhall, CA 91321                                                        Englewood, CO 80112




Red Ball Oxygen                       Red Bear Broadcasting              Red Desert Reclamation LLC
PO Box 7316                           c/o Chuck Redden Radio             One Cate Street
Shreveport, LA 71137-7316             PO Box 180254                      Suite 100
                                      Tallahassee, FL 32318              Portmouth, NH 03801




Red Desert Roundup Inc                Red Diamond Energy Services Inc    Red Diamond Oilfield Services LLC
PO Box 1644                           PO Box 7269                        James Weiss
Rock Springs, WY 82902                Abilene, TX 79608                  401 Edwards Street Suite1400
                                                                         Shreveport, LA 71101




Red Diamond Oilfield Svcs LLC         Red Diamond Pressure Control LLC   Red Diamond Pressure Control LLC
PO Box 1029                           James Weiss                        PO Box 1029
Waskom, TX 75692                      401 Edwards Street Suite 1400      Waskom, TX 75692
                                      Shreveport, LA 71101




Red Dog Oil Tools Inc                 Red Dog Oil Tools Inc              Red Dog Systems Inc
Jerry Fontineau                       PO Box 1844                        Suite 1100 639 5Th Avenue Sw
PO Box Drawer D                       Magnolia, AR 71754-1844            Calgary, AB T2P 0M9
Carthage, TX 75633                                                       Canada




Red Eagle Resources Corp              Red Fox Resources LLC              Red Hawc Well Service Inc
500 Throckmorton Suite 2104           PO Box 13082                       PO Box 639
Fort Worth, TX 76102                  Jackson, MS 39236                  Mineral Wells, TX 76068




Red Hawk Energy Services LLC          Red Oak Water Transfer Inc         Red River Bank
20540 State Hwy 46W                   PO Box 203187 Dept 18705           1412 Centre Ct Dr Ste 101
Ste 115 Pmb 627                       Dallas, TX 75320                   Alexandria, LA 71301
Spring Branch, TX 78070




Red River Federal Credit Union        Red River Nacogdoches 1 Lp         Red River Nacogdoches Ii Lp
Po Box 5909                           8570 Business Park Drive           8570 Business Park Drive
Texarkana, TX 75505                   Suite 200                          Ste 200
                                      Shreveport, LA 71105               Shreveport, LA 71105




Red River Oil And Gas Inc             Red River Pump Specialists Inc     Red River Royalties LP
4696 S Clarkson Street                1555 Wells Island Road             PO Box 5040
Englewood, CO 80113                   Shreveport, LA 71107               Austin, TX 75011
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Red River Trucking LLC                Red Rock Gathering Company LLC   Red Rock Rentals LLC
PO Box 4605                           2300 Windy Ridge Parkway         116 N Pinecrest Dr
Wichita Falls, TX 76308               Suite 840 North                  Ruston, LA 71270
                                      Atlanta, GA 30339




Red Rocks Community College Rocky     Red Rocks Company LLC            Red Snapper Rentals Inc
Mountain Education Center             Attn Mark Lokshin                PO Box 835
13300 W 6Th Ave                       511 Sixteenth Street             Graham, TX 76450
Campus Box 41                         Suite 700
Lakewood, CO 80228                    Denver, CO 80202



Red Wing Oil LLC                      Redcrest Trust                   Redi Services LLC
PO Box 30277                          Acct 225301001                   225 W Owen Street
Winston-Salem, NC 27130               Bank On Texas Na Trustee         Lyman, WY 82937
                                      P O Drawer 99084
                                      Fort Worth, TX 76199



Redi Services LLC                     Redi Services LLC                Redline Hotshot Transportation LLC
PO Box 2999                           PO Box 310                       4709 Avenue C
Phoenix, AZ 85062-2999                Lyman, WY 82937                  Lubbock, TX 79404




Redman Equipment Mfg                  Reds Excavating                  Reds Satellite Services Corp
19800 Normandie Ave                   1200 E Douglas Rd                PO Box 559
Torrance, CA 90502-1182               Fort Collins, CO 80524           Abilene, TX 79604




Redstone Federal Credit Union         Redwood Cpital Management        Redwood Royalties LLC
220 Wynn Dr Nw                        910 Sylvan Ave                   PO Box 660082
Huntsville, AL 35814                  Englewood Cliffs, NJ 07632       Dallas, TX 75266-0082




Redzone Coil Tubing LLC               Redzone Coil Tubing LLC          Reed Amy Colleen
Sharon Brown                          PO Box 204717                    7615 Fm Road 724
701 North 1st Street                  Dallas, TX 75320-4717            Tyler, TX 75704
Lufkin, TX 75901




Reed Associates                       Reed Danny Glenn                 Reed Graves LLC
Environmental Consulting              PO Box 173                       Bank Of America Invstmt Mnger
1529 County Road 101                  Clayton, TX 75637                PO Box 840738
Carthage, TX 75633                                                     Dallas, TX 75284




Reed Graves Trust                     Reed Huff                        Reed Humphreys Lp
Byron E Reed Iii Succ Ttee            Box 771 Pr 7816                  21031 Ventura Blvd Ste 750
c/o Bank Of America Na Agent          Hawkins, TX 75765                Woodland Hills, CA 91364
PO Box 840738
Dallas, TX 75284-0738



Reed Hycalog LP                       Reed Jason                       Reed Jessica P
PO Box 201409                         705B Redwood Drive               1984 Tyler Ln
Houston, TX 77216-1409                Paragould, AK 72450              De Pere, WI 54115
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Reed Joe                               Reed Jon                             Reed Jr Raymond Edward
5802 Angie Place                       Canadian Imperial Bank of Commerce   116 Live Oak
San Antonio, TX 78240                  22 Front St W 7th FL Attn Corp Act   An Marcos, TX 78666
                                       Toronto, ON M5J 2W5
                                       Canada



Reed Petroleum Inc                     Reed Ralph Edward                    Reed Robert Duane
c/o Gulf Coast Western Inc             154 County Road 109                  4505 Buccaneer
C/O Betty Sue Reed                     Carthage, TX 75633                   Vidor, TX 77662
1706 Victorian Point
Colorado Springs, CO 80905



Reed Romalyn                           Reed Royalty Trust                   Reed Stacey
Rt 1 Box 138Dd                         John C Lucas Trustee                 Markham St 11
San Marcos, TX 78666                   c/o Isaac Wiles Llc                  Little Rock, AR 72205
                                       Two Miranova Place Suite 700
                                       Columbus, OH 43215



Reed Tracey                            Reef Partners Holding Co LLC         Reef Services Inc
110 Hawn Drive                         1901 N Central Expwy Ste 300         Dept 427
Lumberton, TX 77657                    Richardson, TX 75080-3609            PO Box 4346
                                                                            Houston, TX 77210-4346




Reef Services LLC                      Rees Oliver Jr                       Reese Ellen Taylor
PO Box 203187                          Frost National Bank Act Fb905        2009 Tr Uda 04 17 2009
Dept 18703                             PO Box 1600                          Reese Ellen Taylor Ttee
Dallas, TX 75320-3187                  San Antonio, TX 78296                1000 Cordova Pl 804
                                                                            Santa Fe, NM 87505



Reese Family Investment Company LLC    Reese Gibson                         Reese Land Partnership
2800 Monticello Drive                  5790 Country Club Road East          258 Reese Road
Bartlesville, OK 74006                 Longview, TX 75602                   Shawnee, WY 82229




Reeta Ann May Frieze                   Reeves Feild                         Reeves Feild Ind Exc Of Estate
6790 Forest Trail Circle               1105 Hallmark Drive                  Of Margaret Feild Decd
Beaumont, TX 77713                     Shreveport, LA 71118                 1105 Hallmark Drive
                                                                            Shreveport, LA 71118




Reg Of 71st Dist Court Of              Reg Of The 71st Dist Court           Reg Of The 71st Dist Court
Harrison Co Cause 06 1213              Harrison Co Cause 06 1213            Harrison Co Cause 06 1213
For Vernon Bell                        For Owenwood Pool 3                  For Durwood B Dunn
200 W Houston Suite 234                200 W Houston Suite 234              200 W Houston Suite 234
Marshall, TX 75670                     Marshall, TX 75670                   Marshall, TX 75670



Reg Of The 71st Dist Court             Reg Of The 71st Dist Court           Reg Of The 71st Dist Court
Harrison Co Cause 06 1213              Harrison Co Cause 06 1213            Harrison Co Cause 06 1213
For Mary Katherine Manning             For Mildred Umsted                   For John C Dunn
200 W Houston Suite 234                200 W Houston Suite 234              200 W Houston Suite 234
Marshall, TX 75670                     Marshall, TX 75670                   Marshall, TX 75670



Reg Of The 71st Dist Court             Reg Of The 71st Dist Court           Reg Of The 71st District Court
Harrison Co Cause 06 1213              Harrison Co Cause 06 1213            Harrison Co Cause
For Minette C Waldrop                  For Mary Ann Bell Quinlan            For Lassiter Unknown Heirs
200 W Houston Suite 234                200 W Houston Suite 234              200 W Houston St Ste 234
Marshall, TX 75670                     Marshall, TX 75670                   Marshall, TX 75670
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Reg Of The 71st District Court          Reg Of The 71st District Court   Reg Of The 71st District Court
Harrison Co Cause 06 0832               Harrison Co Cause 06 1213        Harrison Co Cause 06 1213
For Donald G Herring Heirs              For J T Peek                     For J B Claypool
200 W Houston Suite 234                 200 W Houston Suite 234          200 W Houston Suite 234
Marshall, TX 75670                      Marshall, TX 75670               Marshall, TX 75670



Reg Of The 71st District Court          Reg Of The 71st District Court   Regan M Stringfellow Trust
Harrison Co Cause 06 1213               Harrison Co Cause 06 1213        C/O Texas Commerce Bank
For Ruth S Bowen Jacobs                 For Elva Mae Southerland         PO Box 2558
200 W Houston Suite 234                 200 W Houston Suite 234          Houston, TX 77252-8033
Marshall, TX 75670                      Marshall, TX 75670



Regan Skinner                           Regard Resources Co Inc          Regency Energy Partners LP
900 Crystal Farms Road                  555 Aero Drive                   8111 Westchester Drive
Tatum, TX 75691                         Shreveport, LA 71107             Dallas, TX 75225




Regency Field Services LLC              Regency Gas Services Lp          Regency Intrastate Gas Lp
2001 Bryan Street                       PO Box 209034                    PO Box 209051
Suite 3700                              Dallas, TX 75320-9034            Dallas, TX 75320-9051
Dallas, TX 75201




Regent Oil Gas Company Lp               Reggie Howell                    Regina Abney Whelan
PO Box 25204                            604 Chimney Rock Dr              PO Box 1368
Dallas, TX 75225                        Tyler, TX 75703                  Marshall, TX 75671




Regina Baldau                           Regina Bell Manuel               Regina Brown Porter
12826 West Cypress Pass                 333 S Kalisher Apt 101           618 Cr 206
Cypress, TX 77429                       San Fernando, CA 91340           Carthage, TX 75633




Regina D Bridges                        Regina D Morrow                  Regina Ford Hoenke
204 River Oak St                        3928 Sw 336Th Place              103 Hackett Dr
Lufkin, TX 75901                        Federal Way, WA 98023            Minden, LA 71055




Regina L Dykes                          Regina Lynette Whitaker          Regina M Short
135 Debra Street                        616 Highfall Dr                  213 Redwood Cir
Lansing, KS 66043                       Dallas, TX 75232                 Broomfield, CO 80020




Regina Malone                           Regina Marshall                  Regina Micera Ttee
13743 Vickston Ln                       30 E San Joaquin St 207          Rev Trust Of Regina Micera
Houston, TX 77014                       Salinas, CA 93901                12/11/2006
                                                                         9 Bradely Beach Way
                                                                         Waretown, NJ 08758-2648



Regina Moore Dewolf                     Regina Ray Jordan                Regina Rogers
Setup For Property 128175               4937 Mary Street                 PO Box 1656
2712 Lsu Avenue                         Patterson, GA 31557              Palmetto, GA 30268
San Angelo, TX 76904
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Regina Scott                           Regina Sue Fields                      Regina W Vanecek
941 Somercotes Ln                      15852 Hwy 135                          PO Box 31
Channelview, TX 77530                  Arp, TX 75750                          Portland, TX 78374




Regina Waters Separate Prop            Regina Wilder                          Regina Wisda Thomas
Lincoln University Pa 9 Linden Cir     3738 Nicolet Avenue                    25661 E Indore Drove
Lincoln University, PA 19352           Los Angeles, CA 90016                  Aurora, CO 80016




Reginald A Brown                       Reginald B Colvin                      Reginald Beck
1925 Mccullin Road                     4570 Highway 167                       1409 N Zang 1523
Dubach, LA 71235                       Dubach, LA 71235                       Dallas, TX 75203




Reginald Brown                         Reginald Collier                       Reginald Dean Colvin
1226 Jeffery Dr                        3305 Geprgoa St                        1704 Hwy 563
Homewood, IL 604304040                 Oakland, CA 94602                      Dubach, LA 71235




Reginald Dewayne Williams              Reginald Futch                         Reginald Giles
2150 Polk St                           136 Rachel Ln                          PO Box 503
San Francisco, CA 94109                Bossier City, LA 71111                 Grambling, LA 71245




Reginald Harris Clark Trust            Reginald J Alford And Jessica Alford   Reginald John Holmes Sep Prop
Curtis L Clark Jr Trustee              2310 Desiree                           15061 East Chenango
4644 Goodland Ave                      Ruston, LA 71270                       Aurora, CO 80015
Studio City, CA 91604




Reginald L Butler                      Reginald Owens                         Reginald R Brinkmann
2828 Upshur St 101                     PO Box 1163                            14151 Montfort Dr
San Diego, CA 92106                    Grambling, LA 71245                    Dallas, TX 75254




Reginald R Brinkmann Jr                Reginald Robinson                      Reginald Thomas
4215 Mcewen Rd                         1205 Crestwood Dr                      PO Box 132
Dallas, TX 75379-5202                  Cleburne, TX 76033                     Mansfield, LA 71052-0132




Reginald Thornton Edwards              Reginald W Marsh                       Reginald Wallace
c/o James Edwards                      225 W Mcdowell Rd F 7                  947 Haley Talbert
665 Julius Davis Lane                  Jackson, MS 39204                      Corona, CA 92881
Marshall, TX 75672




Reginald Waters Separate Prop          Regions Bank                           Regions Insurance
1510 Locust                            541 Chartres St                        400 E Kalist Saloom Rd
Washington, DC 20012                   New Orleans, LA 70130                  Suite 3000
                                                                              Lafayette, LA 70508
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Regions Trust                           Registry Of 71st Dist Court Of             Reid Crowell
Attn Chuck Pack                         Harrison Co Cause 06 12                    c/o Texas Comptroller Of Public Accounts
Regions Center                          For Margaret Bell                          Unclaimed Property Division
1900 5th Ave N                          200 W Houston Suite 234                    PO Box 12019
Birmingham, AL 35203                    Marshall, TX 75670                         Austin, TX 78711-2019



Reid Niamatali                          Reilly Daas                                Reimer Calhoun Jr
10003 Hickory Crossing                  115 Terrapin Court                         Marcia C Calhoun Atty N Fact
Dallas, TX 75243                        Newport, NC 28570                          PO Box 819
                                                                                   Mansfield, LA 71052




Reinert Family Trust                    Reklaw Ventures Ltd                        Rel Larkin Gray
Irene H Reinert Raymond Reinert         E E Treadaway General Partner              206 East Reynolds Drive
Trustees                                2001 Kirby Drive Ste 950                   Suite C2
1621 Laurel Lane                        Houston, TX 77019                          Ruston, LA 71270
Macungie, PA 18062



Releford W Barrett                      Reliable Equipment Rental Inc              Reliable Well Service Inc
620 S 14Th St                           8331 Commonwealth Ave                      512 W Texas
Longview, TX 75604                      Buena Park, CA 90621                       Artesia, NM 88210




Reliable Well Service LLC               Reliable Well Service Of North Texas LLC   Reliance Energy Inc
PO Box 4153                             Ronda Moss                                 300 N Marienfeld St Ste 1100
Wichita Falls, TX 76308                 PO Box 4153                                Midland, TX 79701-4384
                                        Wichita Falls, TX 76308




Reliance Energy LLC                     Reliance Well Service Inc                  Reliant
PO Box 787                              PO Box 787                                 1201 Fannin Street
Magnolia, AR 71754                      Magnolia, AR 71754-0787                    Houston, TX 77002




Reliant                                 Reliant                                    Rembert Zell Stevens
Dept 0954                               PO Box 650475                              PO Box 567
PO Box 120954                           Dallas, TX 75265-0475                      Hallsville, TX 75650
Dallas, TX 75312-0954




Remington Alarms                        Remlap LLC                                 Remley Schiff
PO Box 2467                             2319 Colonial Parkway                      6050 Robbs Crossing Dr
Lindale, TX 75771-8567                  Fort Worth, TX 76109                       Cumming, GA 30131-9277




Remoc Corporation                       Remora Operating LLC                       Remora Petroleum Lp
122 Cr 1232                             1717 W 6Th St Ste 290                      1717 W 6Th St Ste 290
Gary, TX 75643                          Austin, TX 78703-4789                      Austin, TX 78703




Remote Gas Analysis                     Remuda Energy Development LLC              Remuda Operating Company
602 N Baird                             2708 1st Ave North Suite 200               PO Box 60335
Ste 134                                 Billings, MT 59101                         Midland, TX 79711-0335
Midland, TX 79701
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Remy Delatorre                          Ren Patrick Rigby Jr Ttee       Ren Services Inc
Address Redacted                        U/W Gruthie Mae Rigby           PO Box 459
                                        Fbo Ren Patrick Rigby Jr        Aqua Dulce, TX 78330
                                        2047 Milford
                                        Houston, TX 77098



Rena F Benn                             Rena J Mahaffey                 Rena Marie Roberts
1110 Pleasant Hill Road                 1418 Kaitlyn Ln                 3618 Whitehall St
Watkinsville, GA 30677                  Keller, TX 76248                Dallas, TX 75229




Renaldo A Crawford                      Renard Resources LLC            Renasant Bank
5098 Devonshire Road                    3113 Carmel Valley Drive        3680 North Gloster Street Branch
Detroit, MI 48224                       Missouri City, TX 77459         Tupelo, MS 38804




Renate G Covington                      Renaud Minerals Ltd             Rendel Parot
20951 Hwy 157                           PO Box 603                      Address Redacted
Springhill, LA 71075                    Midland, TX 79702




Rene A Garza                            Rene Lewis Drouin               Rene Morin
7907 Burgoyne Rd                        565 Whippoorwill Trail          5 Inverness Dr E
Houston, TX 77063                       Austin, TX 78746                Englewood, CO 80112




Rene Ritter Davis                       Rene Roark Bowditch Family      Renee A Gandara
4901 Fm 999                             Revocable Living Trust          1695 Sage Ave
Gary, TX 75643                          Rene Roark Bowditch Trustee     Los Osos, CA 93402
                                        8361 Yacht Club Ln
                                        Hayes, VA 23072



Renee Ann Edwards                       Renee C Van Wormer              Renee Carter
290 North Ave                           PO Box 337                      879 Windsor Perrineville Rd
Antioch, IL 60002                       Chino Valley, AZ 86323          East Windsor, NJ 08520




Renee Chance                            Renee Gray                      Renee Hawk
6042 Del Oro Rd                         521 East Utica Street           2148 Methodist Camp Loop
Granite Bay, CA 95746                   Buffalo, NY 14208               Minden, LA 71055-7698




Renee J Finchman                        Renee L Kemp                    Renee Larue Hilburn
7540 Sw Lewelling Road                  409 Oakwell Cove                9300 Riva Ridge
Wakarusa, KS 66546                      Calera, AL 35040                Shreveport, LA 71115




Renee Louise Adams                      Renee Norwood                   Renee Samford Creech
452 B St                                30 Cr 4132                      94 Tucker Ave
Richmond, CA 94801                      Hermleigh, TX 79526             Oakville, CT 06779
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Renee Turlington                       Renee Turlington G Kyle Freeman   Renegade Holdings LLC
2121 West Main Street                  Partnership                       475 17Th Street
Henderson, TX 756526917                PO Box 2388                       Suite 1390
                                       Henderson, TX 756532388           Denver, CO 80202




Renegade Hotshot                       Reneice Jackson                   Renetta Swan
PO Box 111                             544 Jackson Rd                    Address Redacted
Ore City, TX 75683                     Simsboro, LA 71275-3543




Renford C Ellis                        Renice Kunzman Farley             Renie A Bridges Conrad
150 Thelma Lane                        10815 Olympia                     17146 Louisiana Highway 9
Dubach, LA 71235                       Houston, TX 77042                 Arcadia, LA 71001




Renna Hight                            Renna Norris Williamson           Renneth Y Reed
607 Se 1st                             8304 Knight Road 714              539 Bowman Road
Bryant, AR 72022                       Houston, TX 77054                 Wichita Falls, TX 76308




Rennie W Ash Trust                     Renona Chinwendu                  Renrew Minerals Ltd
Jimmie C Ash Executor                  1701 Bramble Creek Dr             By Tenfold Inc Gen Partner
5782 Cassie Drive                      Desoto, TX 75115                  333 Texas Street
Ogden, UT 84405                                                          Suite 2290
                                                                         Shreveport, LA 71101



Rental And Fishing Tools Inc           Rentier Inc                       Renwick Newhouse A Minor
PO Box 51828                           PO Box 1547                       c/o Doris Lewis
Lafayette, LA 70505                    Ada, OK 74820                     603 Calcutta
                                                                         Dallas, TX 75141




Reob LLC                               Reola Jackson                     Republic Royalty Company
5925 Line Ave Ste 8                    1206 Joe Bill Street              3738 Oak Lawn Ave Ste 300
Shreveport, LA 71106-2049              West Monroe, LA 71292             Dallas, TX 75219




Republic Royalty Company               Republic Services 070             Republic Services 070
PO Box 840 127                         18500 N Allied Way                PO Box 78829
Dallas, TX 75284                       Phoenix, AZ 85054                 Phoenix, AZ 85062




Republic Services 975                  Republic Services 975             Republic Services Inc
18500 N Allied Way                     PO Box 9001099                    1422 Hughes Ave
Phoenix, AZ 85054                      Louisville, KY 40290-1099         San Angelo, TX 76903




Republic Srvcs Webster Parrish         Res Energy Solutions              Res Energy Solutions
Landfill 4126                          PO Box 671555                     PO Box 848545
PO Box 677839                          Dallas, TX 75267-1555             Dallas, TX 75284-8545
Dallas, TX 75267-7839
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Res Energy Solutions LLC                 Res Oil Gas Limited Prtnshp     Resa Power Solutions LLC
William Walton                           R E Smith Interests Inc Sole    2390 Zanker Rd
6650 Roxburgh Driv E                     General Partner                 San Jose, CA 95131
Houston, TX 77041                        1900 West Loop South Ste 1050
                                         Houston, TX 77027



Research Tax Consultants Ltd             Reserve Drilling Texas Lp       Reserve Management Inc
PO Box 1787                              Nadel Gussman                   PO Box 4469
Georgetown, TX 78627-1787                15 East Fifth Street            Longview, TX 75606
                                         Suite 3300
                                         Tulsa, OK 74103



Reserve Royalty Corp                     Resolute Energy Corporation     Resource Development Techn
4212 San Felipe Suite 442                80 E Sir Francis Drake Blvd     PO Box 1020
Houston, TX 770272902                    Larkspur, CA 94939              Morrison, CO 80465




Resource Direct Staffing Inc Dba Rds     Resource Extension Company      Resource One Credit Union
2277 Plaza Drive                         PO Box 489                      2315 W Airport Fwy Suite 161
Suite 420                                Judson, TX 756600489            Irving, TX 75062
Sugar Land, TX 77479




Resource Rental Tools LLC                Resource Staffing Houston Inc   Resource Water Transfer Services Lp
A Thomas Service Company                 2277 Plaza Dr                   PO Box 1022
PO Box 10047                             Suite 420                       Jacksboro, TX 76458
New Iberia, LA 70562                     Sugar Land, TX 77479




Ressie Ellen Kelly                       Restockit Com                   Reta A Sanders
PO Box 145                               4350 Oakes Road                 1301 West Grand Avenue
Argyle, TX 76226                         Suite 512                       Marshall, TX 75670
                                         Davie, FL 33314




Reta Fay Briggs Gipson                   Retamco Operating Inc           Retha Ann Swint Hammond
713 Cr 264                               PO Box 790                      1608 Willow Bend
Beckville, TX 75631                      Red Lodge, MT 59068-0790        Tyler, TX 75703




Retha Kay Starkey                        Retia Isom                      Retina Research Foundation
8237 Cr 4293                             6418 Castlelane Drive           1977 Butler Blvd
Tenaha, TX 75974                         Houston, TX 77066               Houston, TX 77030




Reube Gene Richardson                    Reuben I Wolfson Properties     Reuben Neal Baremore
c/o Citizens National Bank               4144 N Central Expy Ste 1160    560 Longleaf Drive
Attn Trust Dept                          Dallas, TX 75204                Shreveport, LA 71106
PO Box 820
Henderson, TX 75653-0820



Reuben S Williams IV                     Reuben Williams Trust           Rev Canon Ted Karpf
Successor Ttee Of The Robert L Spooner   Hannah Williams Trustee         c/o John E Goble Jr
Mary Ann Spooner Revoc Tr Dtd 5/25/95    5945 Royal Crest Drive          8144 Walnut Hill Lane 982 Lb 51
954 East Silver Spring Blvd              Dallas, TX 75230-3432           Dallas, TX 75231
Ocala, FL 34470
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Rev L T Lewis                           Rev Walter C Lewis              Reva D Hill
32 W Ashmead Pl                         16224 Rd 28 1/2                 PO Box 764975
Philadelphia, PA 19144                  Madera, CA 93638                Dallas, TX 75376




Reveal Fishing And Rentals              Revelia Surine Davis            Revelle Cristina Phillips
PO Box 14590                            6146 Fm 13 West                 PO Box 4038
Odessa, TX 79768                        Henderson, TX 75654             Santa Fe, NM 87502




Revie F Williams Et Al                  Revocable Tkm Land Trust        Revrocks LLC
Thelma Williams Morris                  1127 Garr Road                  PO Box 4038
16 Harrison St                          Ruston, LA 71270                Santa Fe, NM 87502
Poughkeepsie, NY 12601




Rewm Partners                           Rex A Rogers Judy Jean Rogers   Rex Ashby
PO Box 12364                            300 Ravenwood                   PO Box 2431
Dallas, TX 752250364                    Henderson, TX 75654             Henderson, TX 75653




Rex Clawson Tr                          Rex E Mcdaniel                  Rex Energy Corporation
Tx Comptroller Public Accts             33 Wildcat Loop                 9200 E Panorama Cir 120
Unclaimed Property                      Kerrville, TX 78028             Englewood, CO 80112
PO Box 12019
Austin, TX 78711



Rex Energy Rockies LLC                  Rex Engelhardt                  Rex H Shudde
366 Walker Dr                           8905 Gallant Fox                27105 Arriba Way
State College, PA 16801-7085            Austin, TX 78737                Carmel, CA 93923




Rex Henderson                           Rex Morgan Welding LLC          Rex Nichols Jr
1301 Mckinney Street                    298 Mcmullen Ln                 1703 Judson Rd
Suite 2100                              Hallsville, TX 75650-4374       Longview, TX 75601
Houston, TX 77010




Rex Pickens                             Rex Scott                       Rex Terra Energy LLC
20 Tallwood                             402 Sandefur Drive              Po Box 3512
Longview, TX 75605                      Shreveport, LA 71105            Longview, TX 75606




Rexanne Weeks                           Reyes Lichtenberger             Reymundo Aguillon
5659 Cr 3267                            4909 Margo                      Address Redacted
Joaquin, TX 75954                       Corpus Christi, TX 78411




Reynell Ford Williams                   Reynolds Drilling Company Inc   Reynolds E P Inc
2514 Perryton Dr 7109                   416 Travis Street Suite 806     7591 Fern Ave Ste 2001
Dallas, TX 75224                        Shreveport, LA 71101            Shreveport, LA 71105
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Reynolds Family Investment Prop LLC      Reynolds Fmly Invest Prop LLC        RF Trucking LLC
c/o Wendy Reynolds                       Wendy Reynolds                       PO Box 742171
PO Box 201655                            PO Box 201655                        Houston, TX 77274
Denver, CO 80220                         Denver, CO 80220




RG Inc                                   Rgb Inc Dba Terminix Of Wyoming      Rh Communications Inc
PO Box 671787                            Debbie Schmidt                       19703 B Highway 59N 47
Dallas, TX 75267-1787                    PO Box 4747                          Humble, TX 77338
                                         Casper, WY 82604




Rharrc Associates                        Rhenda C Saporito                    Rhett Gardner Edwards
c/o Mr Reed B Rohrer                     209 Stella Street                    652 Lakefront Rd
4300 Waialae Avenue Apt A704             Metairie, LA 70005                   Jamestown, LA 71045-5546
Honolulu, HI 96816




Rhett Scott Spreen                       Rhine Investments Ltd                Rhino Marking And Protections
Address Redacted                         c/o Kay Alexander Tr                 10740 Lyndale Ave So
                                         PO Box 239                           Suite 16W
                                         Angleton, TX 77516                   Bloomington, MN 55420




Rhoda Norman Investments LLC             Rhoda S Bracken Testamentary Trust   Rhodella Mae Malone Sep Prop
c/o Ms Rhoda K Norman                    Sam T Bracken Trustee                4650 East 38Th Street
1550 Sutter St Apt 517                   PO Box 6805                          Kansas City, MO 64128
San Francisco, CA 94109                  Tyler, TX 75711




Rhonda Cabello                           Rhonda Cox                           Rhonda Crenshaw Little
5700 Janabyrd Lane                       3622 Ivalynn Circle                  PO Box 682644
Austin, TX 78749                         San Jose, CA 95132                   Franklin, TN 37068




Rhonda Dixon Roman                       Rhonda Evette Sampson                Rhonda Hanna
1216 Lexington Square                    1203 Second Avenue                   PO Box 2373
Corsicana, TX 75110                      Ruston, LA 71270                     Edgewood, NM 87015




Rhonda J Tompkins                        Rhonda Jackson                       Rhonda Jean Lemmon
10800 Cobblestone Drive                  1201 Elm St Ste 3500                 1403 Rook Plaza
Benbrook, TX 76126                       Dallas, TX 75270                     Henderson, TX 75654




Rhonda Jeanette R Salazar                Rhonda K Lummus                      Rhonda L Butler
5803 Highway 544                         213 Timberway Dr                     1601 S Boulder Hwy Apt 4106
Simsboro, LA 71275-3332                  Topeka, KS 66619                     Henderson, NV 89015-8528




Rhonda L Jowers                          Rhonda L Moreland                    Rhonda Marsh
Address Redacted                         512 South Chester Ave                5235 Feather Way
                                         Compton, CA 90221                    Antioch, CA 94531
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Rhonda Porter                         Rhonda R Golden Sep Property             Rhonda Rector Oxner
120 Pr 443                            13023 Chapel Rd                          3542 Reaves Rd
Fairfield, TX 75840                   Lorena, TX 76655                         Cleveland, TX 77328




Rhonda Rudd Killough                  Rhonda Sikes                             Rhonda Sue Davidson
PO Box 4                              4489 Hwy 134                             1901 San Miguel Dr
Taylor, TX 76574                      Collinston, LA 71229                     Friendswood, TX 77546




Rhonda Sue Patterson Coleman          Rhonda Suzette Richard                   Rhonda Tinsley Pope
100 Deer Run Trail                    903 Meadow Creek Dr                      508 9Th Street
Longview, TX 75605                    Allen, TX 75002                          Springhill, LA 71075




Rhondal E Jenkins                     Rhotenberry Wellen Architects Planners   Rhyne Nelson Redwine
28306 S Firethrone Rd                 1102 West Texas Avenue                   12703 Candle Ridge Drive
Katy, TX 77494                        Midland, TX 79701                        Tyler, TX 75709




Rhynes Family Enterprises             Ri Offc Of The Rhode Island              Ri Offc Of The Rhode Island Treasuer
PO Box 38                             Treasuer Unclaimed Prop Div              Unclaimed Prop Div
Ada, OK 74821                         50 Service Ave                           PO Box 1435
                                      Warwick, RI 02886                        Providence, RI 02901-1435




Rialto Production Company             Ribble Investment Co LLC                 Ricardo Martinez
Rialto Energy Inc Agent               PO Box 9                                 Address Redacted
PO Box 981028                         Magnolia, AR 71754
Houston, TX 77098




Rice Neuhaus Family Trusts            Richard A Baldwin                        Richard A Barclay
c/o Joan Neuhaus Schaan Ttee          704 1/2 Southview Cir                    7520 N Chestnut Ave Apt 107
2621 Fenwood Rd                       Center, TX 75935                         Fresno, CA 93720
Houston, TX 77005




Richard A Dinwiddie Estate            Richard A Dinwiddie Jr                   Richard A Dubose
1219 Highland Dr                      1219 Highland Drive                      11004 Balentine St
Olney, TX 76374                       Olney, TX 76374                          Denton, TX 76207




Richard A Mcdonald                    Richard A Morris                         Richard A Nelson
Donna M Mcdonald                      PO Box 1036                              158 Deer Creek Road
113 Larkin Street                     Santa Rosa Beach, FL 32459               Ruston, LA 71270
Benton, LA 71006




Richard A Nixon                       Richard A Pickett And                    Richard A Pierce
224 Kings Cut Off Rd                  Wife Jenny Lee Pickett                   119 Flag Drive East
Arcadia, LA 71001                     PO Box 762                               Lake Jackson, TX 77566
                                      Van, TX 75790
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Richard A Plunkett                       Richard A Steed                  Richard Abner Whiddon
810 Cr 3605                              4508 Pershing Ave                130 Fairway Drive East
Joaquin, TX 75954                        Ft Worth, TX 76107               Hideaway, TX 75771




Richard Alan Dupree                      Richard Alan Haynie              Richard Allan Horn
8639 Sand Piper St                       1601 Sw 89Th St Ste F100         8302 N Lois Ave
Canton, MI 48187                         Oklahoma City, OK 73159          Tampa, FL 33614




Richard Allen Johnson                    Richard Allen Rodgers            Richard Altman Co
4116 Ulex Avenue                         509 Old Bethel Church Rd         717 17Th Street 1400
Mcallen, TX 78504                        Natchitoches, LA 71457           Denver, CO 80202




Richard B And Jill A Goulart             Richard B Collins                Richard B Moncrief Trust 3
1906 Bittersweet                         5320 205 Loop Apt 106            Jerry D Goodwin Trustee
Ruston, LA 71270                         Temple, TX 76502-4098            777 Taylor Street Suite 1030
                                                                          Fort Worth, TX 76102




Richard Barto Moncrief 1988 Tr           Richard Barto Moncrief 1988 Tr   Richard Barto Moncrief Tr
Fbo Mindyanne E Moncrief                 Fbo Richard J Moncrief           F/B/O Monty Brennan Moncrief
Monty B Moncrief Trustee                 Monty B Moncrief Trustee         Monty B Moncrief Trustee
777 Taylor St Ste 1030                   777 Taylor St Ste 1030           777 Taylor Street Suite 1030
Ft Worth, TX 76102                       Ft Worth, TX 76102               Fort Worth, TX 76102



Richard Blaisdell                        Richard Brantley                 Richard Brevard Sanders
1457 Rockshire                           2008 Alexander                   100 Detering St 5124
Plano, TX 75074                          Ruston, LA 71270                 Houston, TX 77007




Richard Brevard Sanders Trust            Richard C Carter                 Richard C Cowan
Daisy Camille Sanders Rev Trt            PO Box 6852                      5210 Long Prairie Rd 1022
Richard B Sanders Sub Ttee               Longview, TX 75608               Flower Mound, TX 75028
100 Detering Apt 5124
Houston, TX 77007



Richard C Drum Hunt Iii                  Richard C Fader                  Richard C Harris Iii
PO Box 2801                              13904 Bayport Landing Road       PO Box 3681
Fairfax, VA 22031-2801                   Midlothian, VA 23112             Corrales, NM 87048




Richard C Maxwell                        Richard C May Et Ux              Richard C Stoltzfus
c/o Mickel T Maxwell Aif                 Shirley May                      2705 Horsehead Crossing
PO Box 5934                              173 Shirley Lane                 South Lake, TX 76092
Longview, TX 75608                       Ruston, LA 71270




Richard Carl May                         Richard Chris Terry              Richard Clay Michelle Renee Pilgreen
173 Shirley Lane                         2249 Hidalgo Drive               256 Styles Ranch Rd
Ruston, LA 71270                         Carrollton, TX 75010             Choudrant, LA 71227-8901
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Richard Cook                            Richard Crawford               Richard D Barker Jr
10210 E Cr 5600                         10951 Elm Ave                  8000 Herndon Drive
Idalou, TX 79329                        Lynwood, CA 90262              Benbrook, TX 76116




Richard D Borgaard                      Richard D Copeland             Richard D Eicher
8882 N E Meadow Ridge Rd                PO Box 195                     11935 Kimberley
Prineville, OR 97754                    Columbia, LA 71418             Houston, TX 77024




Richard D Kimberlin                     Richard D Norman               Richard D Spess And Wife Barbara A Spess
2122 Misty River Trail                  PO Box 127                     400 W Caddo
Kingwood, TX 77345                      West Monroe, LA 71294          Cleveland, OK 74020




Richard D Webb                          Richard D Whitehead            Richard Damon Bassett
7048 Fm 1181                            3627 Route 6                   6681 Fm 2255
Ennis, TX 751190594                     Hammond, NY 13646              Henderson, TX 75654




Richard Damon Wallace                   Richard Deborah Burch          Richard Dennis
3238 Us Hwy 80                          352 Hwy 763                    1511 Melrose Circle
Gladewater, TX 75647                    Mansfield, LA 71052            Richardson, TX 75080-3001




Richard Dewayne Clark                   Richard Dorsey                 Richard Drew Carey
11312 County Road 899                   202 Holmes St                  PO Box 30321
Princeton, TX 75407                     Palestine, TX 75803            New Orleans, LA 70190




Richard Dwayne Clark                    Richard E Camp                 Richard E Church C
Cmr 415 Box 4714                        448 W 19Th St                  2777 Soutj Elmira 25
Apo, AE 09114-0048                      Houston, TX 77008-3914         Internatl Exploration Advisor
                                                                       Denver, CO 80231-




Richard E Jacquelyn Bykowski            Richard E Paxson               Richard E Smith
3715 Dianna Drive                       45 Sabboth Day Path            4014 Post Oak Road
Longview, TX 75602                      Huntington, NY 11743           Tyler, TX 75701




Richard E Turner And Wife Elen Turner   Richard Earl Covington         Richard Earl Hardin
481 Broadway                            245 Horne Lane                 4117 Kerrville Avenue
Costa Mesa, CA 92627                    West Monroe, LA 71292          Snyder, TX 79549




Richard Earl Lewis                      Richard Earl Pennington        Richard Earl Pyburn
1100 S Adams 21                         PO Box 837                     14 Kenilwood Place
Carthage, TX 75633-3200                 Carthage, TX 75633             Asheville, NC 28803
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Richard Edgar Neal                       Richard Edward Tauber           Richard Edwin Thompson
204 Tecumseh Parkway                     55 Waugh Drive Suite 601        14409 Oceanna Court
Waxahachie, TX 75165                     Houston, TX 77007               Austin, TX 78728




Richard Eric Tinsley                     Richard Eugene Roy              Richard Eugene Smiley
5000 Rosewood Ln                         PO Box 4046                     506 Bennett
Longview, TX 75605                       Crestline, CA 92325             Pasadena, TX 77503




Richard Evan Calvert                     Richard F Duck                  Richard F Kale And Wife Cheryl C Kale
420 Forest Ave                           PO Box 2045                     1270 Kings Road
Mansfield, LA 71052                      Brewster, WA 988122045          Marshall, TX 756724937




Richard F Yates Jr                       Richard Foster Mays             Richard Frank Prescher
PO Box 202                               2610 Northview Drive            475 Swanholme Dr
Deberry, TX 75639                        Longview, TX 75605              Unit I 106
                                                                         Murfreesboro, TN 37128




Richard Freeman Ballard                  Richard G Broadus               Richard G Groome
3802 41st St                             7078 Fm 31 South                Apt Community Apt 118
Snyder, TX 79549-5651                    Carthage, TX 75633              726 Community Drive
                                                                         Belleville, IL 62223




Richard G Groome Trustee                 Richard G Taliaferro Jr         Richard Garcia
Under Self Declaration Of Tr             22 Rue Grand Vallee             Address Redacted
Dated September 8 2009                   Newport Beach, CA 92660
726 Community Dr Apt 118
Belleville, IL 62223



Richard Garrett Key                      Richard Gholston                Richard Gholston
1502 Hardouin Ave                        Betty Calhoun Gholston          N5066 Sinissi Pt Road
Austin, TX 78703                         900 Binson Circle               Juneau, WI 53039
                                         Monroe, LA 71202




Richard Glenn Mayberry                   Richard Godfrey Rev Tr          Richard Gregory Hudson
Rr 4                                     Richard Goffrey Jr Ttee         200 N Vienna St
Ingersoll, ON N5C 2Y2                    PO Box 18661                    Ruston, LA 71270-4439
Canada                                   Oklahoma City, OK 73154




Richard H Dry                            Richard H Evans                 Richard H Myrtis Springer
589 Dragon Ridge Rd                      PO Box 35                       1207 Hwy 519
Buda, TX 78610                           Converse, LA 71419              Arcadia, LA 71001




Richard H Stork                          Richard H Tannehill             Richard H Weed Jr
Charles Schwab Co Inc Cust               2728 Windrush Way               5903 Mission Ridge Dr
Ira Contributory                         Baton Rouge, LA 70809           Arlington, TX 76016-2732
6500 Kenyon Lane
Bellaire, TX 77401
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Richard H Whiting Sep Property Trust   Richard Hans Nielsen           Richard Harrison Canterbury
c/o Richard Whiting Trustee            913 Stratford Ct               Mildred M Hood Canterbury
3655 Valley Meadow Rd                  Columbia, MO 65203             PO Box 127
Sherman Oaks, CA 91403                                                Simsboro, LA 71275




Richard Harvey Garrett                 Richard Hayden Harris          Richard Hedrick Coffey Sr
108 Whipple Dr                         844 Kings Court                c/o Planscapital Wealth
Bellaire, TX 77401-5339                Moore, OK 73160                Management
                                                                      3707 Camp Bowie Blvd Ste 220
                                                                      Fort Worth, TX 76107



Richard Henderson                      Richard Hildom Estate          Richard Howard
910 Highway 65                         345 Appaloosa Run              Address Redacted
Mapleton, KS 66754                     Liberty Hill, TX 78642-3862




Richard Howell Sp                      Richard Hunter                 Richard Ivy Durrett
8425 North Park Lane                   25630 E River Rd               1264 Highway 815
Shreveport, LA 71107                   Grosse Ile, MI 48138           Simsboro, LA 71275




Richard J Eileen Globensky             Richard J Gallot               Richard J Moncrief Grantors Tr
Irrevocable Trust                      1604 Martin Luther King Jr     777 Taylor Street Suite 1030
Farmers National Co                    Grambling, LA 71245            Ft Worth, TX 76102
PO Box 3480
Omaha, NE 68103



Richard J Moncrief Grantors Trust      Richard J Paula Robinson       Richard J Zachry
PO Box 121098                          PO Box 8931                    Rr 2 Box 35 R
Fort Worth, TX 76121                   Tyler, TX 75711                Simsboro, LA 71275




Richard Jackson                        Richard Jeff Zachry            Richard John Monsibais
2108 Tryon Rd Apt J1                   2564 Hwy 563                   503 Tara Drive
Longview, TX 75601-3361                Simsboro, LA 71275             San Antonio, TX 78216




Richard Johnson                        Richard Jos Trabulsi Jr Ttee   Richard Joseph Gallot
3027 Third Street                      Kelly Anne Tilley Trust        Mildred Gauthier Gallot
Mansfield, LA 71052                    U/A Dtd 10/01/1982             PO Box 148
                                       1701 Brun St Ste 200           Grambling, LA 71245
                                       Houston, TX 77019



Richard K Albritton                    Richard K Wells                Richard Kasch Sumlin
294 Moody Rd                           155 Quail Ridge Dr             10436 Creekmere Dr
Ruston, LA 71270                       Madison, MS 39110              Dallas, TX 75218-2221




Richard Keith Canterbury And           Richard L Barron               Richard L Best
Jennifer Jan Clark Canterbury          210 Mosby Dr                   11156 Peacock Lane
1137 Liberty Hill Rd                   Pineville, LA 71360            Burlington, WA 98233
Simsboro, LA 71275
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Richard L Bohanon                         Richard L Dubbs                 Richard L Grantham
PO Box 661                                2110 Dundee Drive Sw            1625 Se Cr 3110
Oklahoma City, OK 73101                   Decatur, AL 35603               Corsicana, TX 75109




Richard L Honican                         Richard L Joann Williams As     Richard L Lewis
214 Dove Park                             Tenants By The Entireties       4165 S Cimarron Way 1013
Versailles, KY 40383                      823 Oakcrest Ave                Aurora, CO 80014
                                          Casper, WY 82601




Richard L Martin                          Richard L Meinert LLC           Richard L Moore
521 Villa Crossing                        10121 Hyde Pl                   PO Box 306
Southlake, TX 76092                       River Ridge, LA 70123           Carmine, TX 78932




Richard L Rea Clara Hammons Rea           Richard L Stuart                Richard L Tayloe Jr Tr Fbo
1665 Emory Rd                             PO Box 27480                    Ruth W Tayloe Nationsbank Of Tx
Choudrant, LA 71227                       Houston, TX 77227               Box 840738
                                                                          Dallas, TX 75284-0738




Richard L Williams                        Richard L Wilson                Richard L Worsham
PO Box 8056                               40 Market St Apt 219            3404 Avenue L
Bossier City, LA 71113                    Morristown, NJ 07960-5461       Nederland, TX 77627




Richard Lavade Cooper Jr                  Richard Lawrence Cooper         Richard Lawrence Simmons
911 Mcclarty Street Lot 34                56 Brandon Dr                   5509 Hurst St
Henderson, TX 75652                       Mayflower, AR 72106             New Orleans, LA 70115




Richard Lawrence Zilkey Trust             Richard Lee Davidson            Richard Lee Gilbert
Richard L Zilkey Trustee                  9313 Salisbury Dr               1809 Audubon Pl
204 Briarpatch Lane                       Brooksville, FL 34613           Shreveport, LA 71105-3423
Jacksonville, AR 72076




Richard Lee Holloway Kathy D Holloway     Richard Lee Marshall            Richard Lee Tayloe Jr Trust
PO Box 244                                3811 Heritage Colony Dr         c/o Bank Of America Na Trustee
Sarepta, LA 71071                         Missouri City, TX 77459         PO Box 840738
                                                                          Dallas, TX 75283-0738




Richard Lee Terrell                       Richard Leonard Turner          Richard Levy Craig Jr
2798 Fox Road                             4829 Crestpoint Lane            505 W State Street
Millsap, TX 76066                         Garland, TX 75043               Terrell, TX 75160




Richard Lloyd Wynne                       Richard Ludley                  Richard Lyman
2121 Pelham                               PO Box 163                      2759 Royal Troon Cv
Houston, TX 77019                         Grambling, LA 71245             Collierville, TN 38017
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Richard M Blincow                         Richard M Bowles                        Richard M Catherine M Frost
424 Locust St                             1604 Oak Ridge Dr                       Trustees Under Trust
Denver, CO 80220-5931                     Dickinson, TX 77539-4684                Agmt Oct 19 1999
                                                                                  6487 Pine Valley Dr
                                                                                  Santa Rosa, CA 95409



Richard M Dean                            Richard M Frost                         Richard M Howell
1182 River Road                           6487 Pine Valley Dr                     200 Howell Rd
Goodrich, TX 77335                        Santa Rosa, CA 95409-5891               Simsboro, LA 71275




Richard M Tatum                           Richard M Wilson Ii                     Richard M Woodfin
266 Chrislo Dr                            30 Falls Terrace                        103 Alba Lane
Minden, LA 71055                          Fair Oaks Ranch, TX 78015               Hot Springs Village, AR 71909




Richard Madole                            Richard Marcus Lane                     Richard Mark Lennard
75 Randy Ct                               c/o Martha Pittman Enriquez             13693 Hwy 159
Many, LA 71449-7952                       PO Box 692                              Shongaloo, LA 71072
                                          Kilgore, TX 75663




Richard Marshack Ttee Marshack Hays LLP   Richard Mathews                         Richard Matthews
Structured Investments Co Llc             18 Virginia Hills Dr                    216 Hoopalua Drive
870 Roosevelt                             Corpus Christi, TX 78414-4073           Makawao Maui, HI 96768-8220
Irvine, CA 92620




Richard Maxfield                          Richard Mcginley                        Richard Milton Slack
Rt 11 Box 219                             PO Box 202                              124 Sand Point Court
Mabank, TX 75081                          Ocala, FL 34478                         Coppell, TX 75019




Richard Murray Key                        Richard N Gray                          Richard N Shellenbarger
PO Box 941                                4725 Bluffview                          c/o Cynthia J Alexander
Point Clear, AL 36564                     Dallas, TX 75209                        PO Box 8
                                                                                  Troy, OH 45373




Richard Neil Lewis                        Richard Nelson                          Richard Newhouse
PO Box 340                                2705 Ankeny Street                      4125 Gaddi Drapt 3
Ruston, LA 71270 71273                    Oakten, VA 22124                        Sacramento, CA 95813




Richard Newman                            Richard O Nealy Maricia Griffin Nealy   Richard Oden Cunyus
6261 Bristol Parkway                      264 Jefferson Oaks Dr                   PO Box 963327
Culver City, CA 90230                     Ruston, LA 71270                        El Paso, TX 79996




Richard Oran Forman Trust                 Richard Owens                           Richard P Ames
1865 Electric Ave                         351 Fm 2787                             110 Sherwood Rd
Westcliffe, CO 81252-7519                 Joaquin, TX 75954                       Ridgewood, NJ 07450-1322
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Richard P Fulco                         Richard P Grace Estate           Richard P Harkness Life Estate
3914 Amidon                             Philip Arbo Executor             4400 West 17Th Avenue
Wichita, KS 67204                       173 Elvis Ct                     Denver, CO 80204
                                        Metairie, LA 70001




Richard P Haus Jr                       Richard P Lee And Brenda A Lee   Richard P Lucas
c/o Office                              159 Pecan Ln                     630 Shadywood Road
101600 Overseas Highway                 Dubach, LA 71235                 Houston, TX 77057
Key Largo, FL 33037




Richard P Smiley                        Richard Patterson                Richard Perry Baucum
Address Redacted                        PO Box 405                       4701 Carthage St
                                        Firestone, CO 80520              Metairie, LA 70002-1410




Richard Picard Weiss                    Richard Pou Harris               Richard Primos
76 Fern Valley Rd                       2102 Town Hill Drive             PO Box 1607
Brandon, MS 39042                       Houston, TX 77062                Waskom, TX 75692




Richard R Finlay Tr                     Richard R Gammon                 Richard R Lichtenberger
Laura Finlay Smith Ttee                 121 S Broadway Ste 700           PO Box 957
6914 Deloache Ave                       Tyler, TX 75702                  Freer, TX 78357
Dallas, TX 75225




Richard R Pickett                       Richard R Ring Pc                Richard R Storms
504 Windsor Park Ln                     Richard R Ring                   941 N Trenton St
Nashville, TN 37205                     110 N College St Ste 1404        Ruston, LA 71270
                                        Tyler, TX 75702




Richard Raymond                         Richard Raymond Swerer           Richard Reams Separate Prop
4038 Williamsburg Road                  PO Box 103340                    1517 Nicholasville Rd
Dallas, TX 75220                        Denver, CO 80250                 Lexington, KY 40503




Richard Reimann                         Richard Rhea Keidel              Richard Ronald Reed
12743 County Road 3903                  9507 Aqua Verde                  949 Raven St
Athens, TX 75752                        Helotes, TX 78023-4130           Corpus Christi, TX 78418




Richard S Logan Trucking Inc            Richard S Shely                  Richard Salmon
PO Box 2900                             51 S Main St                     5226 N Bentwood Dr
Mills, WY 82644                         Winchester, KY 403912601         San Angelo, TX 76904




Richard Scott Hays                      Richard Scott Thompson Tr        Richard Simmons
1862 Parkers Chapel Rd                  2102 Hill St                     110 Sycamore Avenue
El Dorado, AR 71730                     Santa Monica, CA 90405           Mill Valley, CA 94941
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Richard Stanley Carlton                Richard Sterling                      Richard Steven Hamner
1441 County Road 49                    Address Redacted                      38 Muirfield Way
Cedar Bluff, AR 35959-4520                                                   Sugarland, TX 77478




Richard Sue Pridgen                    Richard Swart                         Richard T Coiner Iii
815 Cr 3199                            921 S Main Street Lot 29              725 College Blvd
Joaquin, TX 75954                      Lansing, KS 66043                     San Antonio, TX 78212




Richard T Davis Jr                     Richard T Houser                      Richard T Mathews Sr Family Tr
12011 San Vicente Blvd                 1007 Marne Lane                       Dorothy M Mathews Trustee
Suite 510                              Houston, TX 77090                     726 St Pius Drive
Los Angeles, CA 90049                                                        Corpus Christi, TX 78412




Richard T Skains                       Richard Tatum Mathews And             Richard Taylor Mcmillan Ii
100 Fire Station Rd 25                 Dorothy Mae Mathews                   116 Hazelwood Drive
Bryceland, LA 71008                    726 St Pius Dr                        Fort Worth, TX 76107
                                       Corpus Christi, TX 78412




Richard Thomas Shanks                  Richard Thompson Juanita A Thompson   Richard Thorpe
580 Tarpley Rd                         1503 Joe Bill Street                  7902 Nimrod Trail
Marietta, GA 30064                     West Monroe, LA 71292                 Dallas, TX 75238




Richard Todd                           Richard Todd Fenton                   Richard Todd Hays
7132 Fm 225 South                      1776 Scarlet Oak Road                 300 Villawood Circle
Laneville, TX 75667                    Gilmer, TX 75645                      Coppell, TX 75019




Richard V Russell                      Richard Veenstra                      Richard Vincent Debray And
2605 Culver Drive                      7868 Woodsdale Ln                     Cara Stephens Debray
Midland, TX 79705                      Jacksonville, FL 32256                265 Belview Line
                                                                             Leesville, LA 71446




Richard W Booker                       Richard W Bryans                      Richard W George
1189 Hwy 765                           4295 E Mexico Ave                     PO Box 22520
Logansport, LA 71049                   Apt 402                               Santa Fe, NM 87502-2520
                                       Denver, CO 80222-4137




Richard W George Trust                 Richard W Hancock Trust               Richard W Hudson
c/o Farmers National Co Agent          c/o First National Bank               430 Carriage Way
PO Box 3480                            P O Drawer B                          Ruston, LA 71270
Oil Gas Dept                           Beeville, TX 78104
Omaha, NE 68103-0480



Richard W Huszagh                      Richard W Jones                       Richard W Kurz
1025 Nw Couch St Unit 1310             2445 Gladys                           186 Riverside Dr 2F
Portland, OR 97209                     Beaumont, TX 77702                    New York, NY 10024
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Richard Walton Mobley                  Richard Wayne                    Richard Wayne And Roberts Inc
PO Box 853                             2457 Alston Dr                   Recruiting Specialist
China, TX 77613                        Marietta, GA 30062               PO Box 4667
                                                                        Msc 525
                                                                        Houston, TX 77210-4667



Richard Wayne Caldwell And             Richard Wayne Ferguson           Richard Wayne Ferguson Trustee
Kelly Gouedy Caldwell                  601 South Marshall Street        For Ferguson Family Trust
266 Blue Heron Rd                      Henderson, TX 75654              601 South Marshall Street
Dubach, LA 71235                                                        Henderson, TX 75654




Richard Wayne Muse                     Richard Wesley Emerson           Richard Weston Simmering And
420 Armour Drive                       Karen Hayden Emerson             Jeanie Marie Fallin Simmering
Jackson, MS 39211                      285 Jed Road                     122 Choctaw Drive
                                       Ruston, LA 71270                 Pineville, LA 71360




Richard Wheeler                        Richard William Rogers           Richard William Zander
11209 Creek Road                       114 Seaview Lane                 102 Anne Lewis Drive
Ojai, CA 93023                         Corpus Christi, TX 78411-1444    San Antonio, TX 78216-6603




Richard Wischkowsky                    Richards Layton Finger           Richards Oilfield Service
3419 Longmeade Dr                      One Rodney Square                PO Box 367
Farmers Branch, TX 75234               920 North King Street            Sour Lake, TX 77659
                                       Wilmington, DE 19801




Richards Welding Service               Richardson Construction LLC      Richardson Enterprises
689 Cr 1572                            233 Soda Loop East               PO Box 1358
Carthage, TX 75633                     Livingston, TX 77351             Kilgore, TX 75663




Richardson Family Revocable Trust      Richardson Family Trust Fbo      Richardson Family Trust Fbo
William Patricia Richardson Ttee       Mark Tierney Richardson          Maureen Alice Richardson Grady
Rbc Wealth Management                  Farmers National Company Agent   Farmers National Company Agent
16150 N Arrowhead Ftns Ctr Dr 300      PO Box 3480 Oil Gas Dept         PO Box 3480 Oil Gas Dept
Peoria, AZ 85382                       Omaha, NE 68103                  Omaha, NE 68103



Richardson John Gordon                 Richardson Mary Anita            Richardson Thomas H
14205 Marsha Drive                     4417 Hanover Drive               PO Box 83
Balch Springs, TX 75149                Garland, TX 75042                Hallsville, TX 75650




Richardson Welding                     Richelle Emerald Gribble         Richey Energy Construction Inc
619 Fm 2887                            PO Box 3347                      PO Box 1234
Ballinger, TX 76821                    Idyllwild, CA 92549              Bridgeport, TX 76426




Richey Oilfield Construction LLC       Richie Walker                    Richland County Clerk
7880 San Felipe Suite 207              3706 S Broadway Apt 1S           201 W Main
Houston, TX 77063                      Saint Louis, MO 63118-4030       Sidney, MT 59270
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Richland County Title LLC             Richland State Bank             Richmond Brian Shaw
1050 S Central Ave                    724 Louisa St                   123 Trinity Spur
Sidney, MT 59270                      Rayville, LA 71269              Carthage, TX 75633




Richmond Shaw                         Rick A Day                      Rick Houston
415 Mockingbird Lane                  796 Cr 220                      500 West Texas Suite 1000
Nacogdoches, TX 75964                 Meadow, TX 79345-5921           Midland, TX 79701




Rick L Mccrary                        Rick L Woods                    Rickard Properties LLC
Rmc Surveying Llc                     560 Hwy 519                     PO Box 1478
12559 Cr 192                          Arcadia, LA 71001               Parker, CO 80134
Tyler, TX 75703




Rickey Alfonzo Grigsby                Rickey And Nannette Eddins      Rickey D Deas
259 River Oaks Road                   919 Cr 432                      129 Addie St
Simsboro, LA 71275                    Joaquin, TX 75954               Grand Cane, LA 71032




Rickey Dewayne Hall                   Rickey Glenn Hickman            Rickey K Swift
PO Box 742321                         1711 Decatur Drive              107 Palladium Ln
Dallas, TX 75374                      Ruston, LA 71270                Shreveport, LA 71115




Rickey L Greer                        Rickey L Smith                  Rickey Tracie Oney
113 Fawn Circle                       PO Box 11                       2988 Callahan Rd
West Monroe, LA 71291                 Joaquin, TX 75954               Longview, TX 75602




Rickey W Brown Et Ux                  Rickey Whitten                  Ricki Hood Jones
Lisa Rowe Brown                       315 Sh 150 West                 1485 Highway 534
251 Brown Rd                          Willis, TX 75987                Homer, LA 71040
Quitman, LA 71268




Ricki Hooper                          Ricki R Shovan                  Rickie Eugene Goodro
1196 Harry St                         113 Chestnut Ter                Address Redacted
Lexington, TX 78947                   West Monroe, LA 71291-7176




Ricks Family L L C                    Ricks Signs                     Ricks Well Service LLC
Billie Ballengee Manager              5901 W Marshall Ave             13924 Quail Pointe Dr
1649 Promontory Dr                    Longview, TX 75604              Suite B
Cedar Hill, TX 75104                                                  Oklahoma City, OK 73134




Ricky Bates                           Ricky Carl Mason                Ricky Charles Eddins
5945 Farm Road                        14392 Fm 3441                   919 Cr 432
Diana, TX 75640                       Malakoff, TX 75148              Joaquin, TX 75954
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Ricky Davis And Kay Davis                Ricky E Nelson                     Ricky Eugene Minnifield
470 Fm 2260                              4003 Redwood                       1108 Joe Bill St
Gary, TX 75643                           Nacogdoches, TX 75965              West Monroe, LA 71292-5822




Ricky Fancher                            Ricky Glasscock                    Ricky Glenn Cockrell
PO Box 4                                 PO Box 2306                        7962 Us Highway 84 East
Martinsville, TX 75958                   Port Aransas, TX 78373             Joaquin, TX 75954




Ricky Guice Or                           Ricky H Waggoner                   Ricky Harvey
c/o Texas State Treasury                 PO Box 1658                        91 Pine Cove Lane
Unclaimed Property Division              Artesia, NM 88211                  Coldspring, TX 77331
PO Box 12019
Austin, TX 78711-2019



Ricky Hutchins                           Ricky Joe Thornhill                Ricky L Fike And Debbie Anderson Fike
26066 Fountain Bleu Dr                   PO Box 532                         PO Box 84
Sun City, CA 92586-2759                  Clayton, LA 71326-0532             Blanchard, LA 71009-0084




Ricky L Freeman                          Ricky L Simmons                    Ricky Lee Cleveland
c/o Texas State Treasury                 18187 Cr 2192 E                    8155 Jefferson Hwy Apt 1304
Unclaimed Property Division              Tatum, TX 75691                    Baton Rouge, LA 70809-1621
PO Box 12019
Austin, TX 78711-2019



Ricky Loving Dba Loving Pumping          Ricky Lynn Morison                 Ricky Malone
PO Box 1035                              5121 43Rd Ave North                121 Sand Hill Rd
Andrews, TX 79714                        Saint Petersburg, FL 33709         Quitman, LA 71268




Ricky Patterson Estate                   Ricky Paul Younger                 Ricky Temple
20329 Denker Ave Apt 2                   1259 East 89Th Street              821 Hwy 763
Torrance, CA 90501-1661                  Los Angeles, CA 90002              Mansfield, LA 71052




Ricky Wayne Bonnett Angela Rae Bonnett   Ricky Wayne Nelson                 Ricoh Usa Program
2109 Cooktown Rd                         428 Barnes Bridge Rd               PO Box 660342
Ruston, LA 71270                         Sunnyvale, TX 75182                Dallas, TX 75266-0342




Riddell Minerals Tr                      Riddles Dehi Chemical Svc Co Inc   Ridgerocktx LLC
c/o Travis Property Mngmt                PO Box 1050                        c/o Jordan Boehs Manager
PO Box 56429                             Kilgore, TX 75663-1050             PO Box 30304
Houston, TX 77256                                                           Edmond, OK 73003




Ridgeway Electric Inc                    Ridglea Bank                       Rig Equipment Supply
PO Box 443                               3325 Fairfield Ave Ste A           PO Box 3128
Big Lake, TX 76932                       Fort Worth, TX 76116               Farmington, NM 87499
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Rig Inspection Services LLC               Rig Power Inc                   Rig Runners Inc
Gloria Anderson                           PO Box 10983                    PO Box 206546
14201 Caliber Dr Ste 300                  Midland, TX 79702               Dallas, TX 75320-6546
Oklahoma City, OK 73134




Rig Runners Inc                           Rig Safety Solutions            Rig Safety Solutions
Tonja Pepper                              108 N Shelby                    Kim Cheshire
PO Box 1947                               Ste 1                           1015 Baylor Drive
Kilgore, TX 75663                         Carthage, TX 75633              Carthage, TX 75633




Rig Tools Inc                             Rig Transportation LLC          Riggs Hill Family Limited Partnership
PO Box 732329                             PO Box 473                      Susan Riggs Hill Gen Partner
Dallas, TX 75373-2329                     Riverton, WY 82501-0077         2509 Old Oaks Drive
                                                                          Waco, TX 76710




Riggs Wynona M                            Rigoberto Espinosa              Rigoberto Espinoza
PO Box 1134                               Address Redacted                c/o Capstone Law Apc
Fort Stockton, TX 79735                                                   G Danas R Perez L Carter A Banerjee
                                                                          1875 Century Park East Suite 1000
                                                                          Los Angeles, CA 90067



Rigoberto Lopez Guizar                    Rika A Corman Revocable Trust   Rikki S Porter
Address Redacted                          Jpmorgan Chase Bank Na Ttee     2106 Tower Bridge
                                          PO Box 99084                    Pearland, TX 77581
                                          Fort Worth, TX 76199-0084




Riley Brown Jr                            Riley Cross Inc                 Riley Geological Consultants
5319 County Road 110D                     620 W Third St                  12208 County Road 3100
Henderson, TX 75652                       Riley Bldg Suite 301            Slaton, TX 79364-7508
                                          Little Rock, AR 72201




Riley Ray Riddle                          Riley W R                       Rim Operating Glg
4211 Tolbert Street                       7245 Helsen Bend                5 Inverness Drive East
Dallas, TX 75227                          Dallas, TX 75230                Englewood, CO 80112




Rim Rock Enterprises Inc                  Rims                            Rina Ruttenberg
3570 Adams Cr                             PO Box 95000 2345               3404 Barranca Cr
Wellington, CO 80549                      Philadelphia, PA 19195-2345     Austin, TX 78731




Ringo Drilling I Lp                       Rio Grande Royalties            Rio Lobos Maintenance Service
PO Box 10305                              PO Box 2955                     PO Box 1008
Lubbock, TX 79408-3305                    Victoria, TX 77902              Carthage, TX 75633




Rio Pecos Corporation                     Riotex Swabbing Inc             Ripley Scott Comegys
PO Box 2415                               PO Box 16027                    8509 Line Ave
Midland, TX 79702                         Sugarland, TX 77496             Shreveport, LA 71106
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Rise Energy Beta LLC                   Rise Energy Beta LLC            Rise Energy Kansas LLC
500 Dallas Street Suite 1600           111 West Ocean Blvd Ste 1240    909 Lake Carolyn Pkwy
Houston, TX 77002                      Long Beach, CA 90802            Suite 200
                                                                       Irving, TX 75039




Rise Energy Minerals LLC               Rise Energy Minerals LLC        Rise Energy Operating
111 West Ocean Blvd Ste 1240           500 Dallas Street Suite 1600    909 Lake Carolyn Pkwy
Long Beach, CA 90802                   Houston, TX 77002               Suite 200
                                                                       Irving, TX 75039




Rise Energy Operating LLC              Rise Energy Operating LLC       Rise Energy Partners Gp
500 Dallas Street Suite 1600           909 Lake Carolyn Pkwy           909 Lake Carolyn Pkwy
Houston, TX 77002                      Irving, TX 75039                Suite 200
                                                                       Irving, TX 75039




Rise Energy Partners Lp                Rise Energy Reclass Company     Rising Star Services Lp
909 Lake Carolyn Parkway               500 Dallas Street Suite 1800    11700 Katy Freeway Suite 300
Suite 200                              Houston, TX 77002               Houston, TX 77079
Irving, TX 75039




Rising Star Services Lp                Risk Mgmt Professionals Inc     Rita Ann Roy Gwinn
PO Box 204007                          Two Venture Plaza Ste 500       909 Azalea Garden
Dallas, TX 75320-4007                  Irvine, CA 92618                Shreveport, LA 71115




Rita Bennett Holmes                    Rita Cox Middleton              Rita Davenport Davis
1200 Sw Main St                        412 Cox Rd                      3141 Looney St
Portland, OR 97205                     Cotton Valley, LA 71018         Shreveport, LA 71103




Rita Davis Hill                        Rita Fort                       Rita Gay Covington
PO Box 1258                            501 W 17Th St Apt 17            190 Emu Rd
Many, LA 70069                         Big Spring, TX 79720-4289       Springhill, LA 71075




Rita J Garr Robinson                   Rita Kathryn Henry Mitchell     Rita L Mcneal
2904 Rangeline St Lot 14               Kathryn Mitchell Rev Trust      1500 39Th Ave 7
Columbia, MO 65202                     2050 Commodore Street           Oakland, CA 94601
                                       Montgomery, AL 36106




Rita Linskey                           Rita Marie Rodgers              Rita Mims
8 Third Street N                       770 Chinquapin Dr               2504 W 81st Street
Great Falls, MT 59401                  Shreveport, LA 71106            Inglewood, CA 90305




Rita Nell Porter                       Rita Yvonne Wood Connell        Ritch Family Mineral Trust
3921 Smelley Road                      3902 Sandy Meadow Lane          Bank Of America Na Trustee
Longview, TX 75605                     Houston, TX 77039               PO Box 840738
                                                                       Dallas, TX 75284-0738
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Ritchie Grocer Co                      Ritter 1989 Revocable Trust     Ritter Construction Company
3210 N West Ave                        Roger Templin Ritter And/Or     PO Box 1108
El Dorado, AR 71730                    Mary Kutch Ritter Trustees      Carthage, TX 75633-1108
                                       1901 Monterey Boulevard
                                       San Francisco, CA 94127



River Cities Machine LLC               River City Iron Metal Inc       River Gas Company LLC
PO Box 5277                            8245 W Antoine Loop             1001 Rice Mine Rd N
Bossier City, LA 71171-5277            PO Box 29100                    Tuscaloosa, AL 35406-2318
                                       Shreveport, LA 71149




River Valley Community Fdc             Riverbend Production Lp         Riverbend Sheet Metal LLC
1629 Colusa Highway                    Attn Mr Eddie Shea              410 S 5Th
Yuba City, CA 95993                    1001 Fannin Suite 2020          Thermopolis, WY 82443
                                       Houston, TX 77002




Rivercrest Royalties Ii LLC            Rivercrest Royalties LLC        Riverhill Energy Corporation
777 Taylor St Ste 810                  777 Taylor St Ste 810           PO Box 247
Fort Worth, TX 76102                   Fort Worth, TX 76102            Round Top, TX 78954




Rivernorth Capital Management LLC      Rivers Family Investments LLC   Rivers Family Trust
325 North LaSalle St Suite 645         8585 Business Park Dr           Richard C Rivers Trustee P O
Chicago, IL 60654                      Shreveport, LA 71105            Box 98
                                                                       Manzanita, OR 97130




Riverstone Energy Lp                   Riverwood Energy LLC            Rj Cs St Germain Partnership Ltd
800 Rockmead Suite 250                 C/O W Martin Bosworth Jr        PO Box 1889
Kingwood, TX 77339                     32814 Whitburn Trail            Wimberley, TX 78676
                                       Weston Lakes, TX 77441




Rj Jj Stevens Fp Lp                    Rjr Land Services Inc           RjS On Time Hotshot LLC
PO Box 314                             PO Box 8931                     613 Dauphine Ln
Midland, TX 79702                      Tyler, TX 75711                 Bossier City, LA 71111




Rjw Resources LLC                      Rk Harrison                     Rka Minerals Ltd
1391 Windrush Circle                   Howden Uk Group Limited         PO Box 1496
Blacklick, OH 43004                    16 Eastcheap                    Marshall, TX 75671
                                       London Ec3M 1Bd
                                       United Kingdom



Rkt Operating LLC                      Rlb O G LLC                     Rlc Partners Ltd
PO Box 781                             3311 Yupon St Apt 501           PO Box 992
Harleton, TX 75651                     Houston, TX 77006               Longview, TX 75606-0992




Rli Corp                               Rli Insurance Company           Rli Properties LLC
9025 N Lindbergh Drive                 Dept 3300                       c/o Lacy Crain Nominee Llc
Peoria, IL 61615                       PO Box 844122                   PO Box 2146
                                       Kansas City, MO 64184-4122      Longview, TX 75606
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Rm Roddy Haley                            RM Welding Inc                      Rmc Surveying LLC
1532 E State Hwy 36                       520 Winton Circle                   12559 Cr 192
Abilene, TX 79602                         Rock Springs, WY 82901              Tyler, TX 75703




Rme Oil And Gas Company                   Rmp Trust                           Rn Industries Trucking Inc
c/o Anadarko Petroleum Corp               Eva Frances Persons Trustee         Ilona Kollias
Revenue Royalty                           3100 Camelot Dr                     11781 S Lone Peak Parkway
PO Box 730875                             Bryan, TX 77802                     Draper, UT 84020
Dallas, TX 75373-0875



Rn Industries Trucking Inc                Roach Foundation                    Roach La Energy Ltd
PO Box 98                                 777 Taylor St                       Fort Worth Club Tower
Roosevelt, UT 84066                       Ste Ii J                            777 Taylor Street
                                          Fort Worth, TX 76102                Penthouse Ii J
                                                                              Fort Worth, TX 76102



Roach La Enterprises Ltd                  Road Runner Down Hole Specialties   Road Runner Express
777 Taylor St                             PO Box 2080                         13902 Briarhills Pkwy
Fort Worth Club Tower                     Castle Rock, CO 80104               Houston, TX 77077
Penthouse Ii J
Fort Worth, TX 76102



Road Runner Service And Supply            Road Runner Service Supply          Roadrunner Enviromental Inc
Dustin Ewalt                              PO Box 2080                         PO Box 1238
120 Highway 59                            Castle Rock, CO 80104               Carlsbad, TX 88220
Douglas, WY 82633




Roadrunner Exploration                    Roadtran Express                    Roaring Fork Corp
1812 181 University Ave                   12918 Elrod                         PO Box 127
Toronto, ON M5H 3M7                       Conroe, TX 77303                    Big Piney, WY 83113
Canada




Roark Resources Inc                       Rob Howell                          Robben Elizabeth Anne Eason
2629 Dame Brisen                          PO Box 1325                         2506 Addison Road
Lewisville, TX 75056                      Hutchinson, KS 67504                Houston, TX 77030-1812




Robbie Ann Ervin                          Robbie Butler                       Robbie C Riley
Shandra Combs And Robert Earl Harvey Jr   1209 E 21st                         5458 Woodbury St
1210 Wells St                             Odessa, TX 79761                    Fulshear, TX 77441
Longview, TX 75602




Robbie Coleman                            Robbie Crawford Riley Estate        Robbie Frizzell
1768 County Road 425                      Robert Daniel Riley Ind Exe         3616 Ironwood Drive
Tenaha, TX 75974                          5458 Woodbury St                    Mckinney, TX 75070
                                          Fulshear, TX 77441-2247




Robbie Hankins                            Robbie Hughes                       Robbie J Rhiddlehoover
5105 58Th St                              7421 Santa Fe                       Address Redacted
Lubbock, TX 79414-4134                    Houston, TX 77061
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Robbie Jean Walker Or                   Robbie Nell Porter Ogle                  Robbie Smith Kucera
Texas State Treasury Dept               3957 Smelley Road                        150 East Cora Lee Street
Unclaimed Property Division             Longview, TX 75605                       Sour Lake, TX 77659
PO Box 12019
Austin, TX 78711-2019



Robbie Sue Bazer Courts                 Robbie Sue Mason Hawkins                 Robbie Sue Terrell Vaughn
1004 Bell Hill Place                    123 Karen Lynn Road                      7732 Ironside Trail
Dupont, WA 98327                        Amite, LA 70422                          Fort Worth, TX 76179




Robbie Susan Bauguss Wood               Robbie Van Ness                          Robbin A Vanhuss
1574 Theresa Lane                       PO Box 33                                97 Pinedale Dr
Springdale, AR 72762                    Keithville, LA 71047-0033                Mansfield, TX 76063




Robbin D Keen Dobbins                   Robbins Donald B                         Robbins Heirs A Partnership
1410 Hwy 519                            Address Redacted                         PO Box 2347
Arcadia, LA 71001                                                                Longview, TX 75606




Robbins Petroleum Co                    Robby D Spivey And Wife Casie C Spivey   Robby Lynn Patterson
PO Box 2347                             15556 Hwy 259                            14706 Cypress Valley Drive
Longview, TX 75606                      Mt Enterprise, TX 75681                  Cypress, TX 77429




Roberson Trucking Co Inc                Robert Suzanne Levia Finocchiaro         Robert A Bruyere
672 Three Creeks Rd                     Judith Enderle Jt Ten/Wros               2026 Centenary Circle
Junction City, AR 71749                 Pledged Fbo Royal Bk Of Canada           Longview, TX 75606
                                        2432 Commodore O H Perry Hwy
                                        Wakefield, RI 02879-3910



Robert A Everitt And Paula D Everitt    Robert A Ferguson                        Robert A Fields
1602 Timothy Street                     1600 West 7Th Street                     2211 Cr 2144
Henderson, TX 75654                     Suite 100                                Troup, TX 75789
                                        Fort Worth, TX 76102




Robert A Frank Jr                       Robert A Hargiss                         Robert A Harvey
161 Claireville Circle                  1105 Airline Drive                       38 Heatherwood Cir
PO Box 33                               Marshall, TX 756728703                   Telford, PA 18969
Portola, CA 96122




Robert A Hightower Jr                   Robert A Innamorati                      Robert A Jackson
2643 Marsalis                           4304 Versailles Ave                      491 Browning Loop
Dallas, TX 75216                        Dallas, TX 75205                         Mandeville, LA 70448




Robert A Lamarre                        Robert A Lee                             Robert A Lukasko
1600 Stout Street Ste 1350              1476 Brawley Circle Ne                   2828 W River Rd S
Denver, CO 80202                        Atlanta, GA 30319-1711                   Elyria, OH 44035
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Robert A Morton                        Robert A Potosky                Robert A Psencik Wife Karen A Psencik
12816 St Johns Pl                      10410 Memorial Drive            9366 Hildebrant Rd
Oklahoma City, OK 73142-4100           Houston, TX 77024               San Antonio, TX 78222




Robert A Roy Jr                        Robert A Schaff Estate          Robert A Sherman
121 Suzanne Dr                         Patricia N Miramon Executrix    312 West Sabine St
Shreveport, LA 71115                   3324 Line Ave                   Carthage, TX 75633
                                       Shreveport, LA 71104




Robert A Stacy LLC                     Robert A Stebritz Jr            Robert A Stroud
6219 Time Place                        11046 3Rd Ave S                 333 Texas Street 860
Shreveport, LA 71106                   Seattle, WA 98168               Shreveport, LA 71101




Robert Addison Reid                    Robert Alan Hastings            Robert Albert Groner
c/o John Edward Reid Iii               2800 Katy Hockley C/O 4019      5074 W Custer Dr
3260 Cohen Hill Road                   Katy, TX 77493                  Beverly Hills, FL 34465
Johns Island, SC 29455




Robert Allen Britt                     Robert Allen Smith              Robert Allen Youngblood
350 Haile Malone Road                  1569 State Highway 315          213 S Bay Dr
Farmerville, LA 71241                  Carthage, TX 75633              Bullard, TX 75757-8940




Robert Alvah Brimmer Estate            Robert Anderson                 Robert Anderson Bristol
c/o Rebecca Brimmer Smith Exec         11200 Pamplona Way              PO Box 100146
3840 Cedar Ridge Dr                    Oklahoma City, OK 73173         Ft Worth, TX 76185
College Station, TX 77845




Robert Andrew Johnson Iii              Robert Anthony Bazer            Robert Anthony Whiteside
277 Captain Hm Shreve Blvd             31 Joe Chapman Rd               15342 W 66Th Ave Unit D
Shreveport, LA 71115-2987              Rayville, LA 71269              Arvada, CO 80007




Robert Arnold Jackson                  Robert Arthur Seale Jr          Robert Atlee Ayres
4201 W Rochelle Ave 1067               6627 Wanita Pl                  2408 Keating Ln
Las Vegas, NV 89103                    Houston, TX 77007               Austin, TX 78703




Robert B Anglin                        Robert B Buchan                 Robert B Dennard
821 Harmon Loop Road                   2641 Shadow Hill Ln             10 Harding St
Homer, LA 71040                        Plano, TX 75093-6189            Huntsville, TX 77340




Robert B Liddell                       Robert B Moseley                Robert B Neimeyer
c/o Blaine Adams                       PO Box 337                      1963 San Pasqual
2211 Norfolk Ste 516                   Bellville, TX 77418             Pasadena, CA 91107
Houston, TX 77098
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Robert B Pate                         Robert B Payne Jr               Robert B Rancich Living Trust Est
10221 S 92nd E Ave                    PO Box 1477                     11217 Leo Collins Dr
Tulsa, OK 74133                       Little Elm, TX 75068-1477       El Paso, TX 79936




Robert B Roark                        Robert B Smith Deceased         Robert Backiel Jr
PO Box 107                            3232 Frederick Street           PO Box 870784
Andrews, TX 79714                     Shreveport, LA 71109            Dallas, TX 75287




Robert Bander Evans                   Robert Barien Brazzel           Robert Batt Davis Jr
6745 Rollings Road                    5667 Highway 544                PO Box 927
Granbury, TX 76049                    Simsboro, LA 71275-3327         Bentonville, AR 72712




Robert Bell Jr Deceased               Robert Bennett                  Robert Bernard Evans
4629 Virgil St                        14149 Bounty Lane               130 Evans Road
Fort Worth, TX 76119                  Corpus Christi, TX 78416        Lisbon, LA 71048




Robert Bible Royalty Trust            Robert Blanchard Bounds         Robert Bob Gipson Et Ux
Frances B Gileno Trustee              2421 Highway 160                Mary Frances Webster Gipson
56 Wakeman Hill Road                  Benton, LA 71006                13670 Highway 507
Sherman, CT 06784                                                     Simsboro, LA 71275




Robert Bradford Blalock               Robert Bradley Stokes           Robert Brooks Bolin
3717 St Hwy 137                       PO Box 315                      4040 Browning
Stanton, TX 79782                     Kountze, TX 77625               Houston, TX 77005




Robert Brooks Cullum Jr               Robert Browning                 Robert Bruce Mckoin
6600 Turtle Creek                     304 N Browning                  318 N Jefferson Davis Pkwy
Dallas, TX 75205                      Carthage, TX 75633              New Orleans, LA 70119




Robert Bruce Price                    Robert C Armstrong              Robert C Bates LLC
1809 Touch Gold Ct                    Non Exempt Trust                406 S Boulder Ave Ste 600
Rowlett, TX 75088                     c/o Amegy Bank Na               Tulsa, OK 74103-3867
                                      PO Box 27767
                                      Houston, TX 77227



Robert C Black                        Robert C Bogert And Caroline    Robert C Boyce
6688 N Central Expy Ste 1250          W Bogert Revocable Living Tst   2822 Townbluff Drive
Dallas, TX 75206-3950                 254 Bel Air Road                Plano, TX 75075
                                      Los Angeles, CA 900773811




Robert C Caroline W Bogert            Robert C Cornwell Et Ux         Robert C Cox
Revocable Living Trust                Mary L Cornwell                 PO Box 130728
Robert C Bogert Trustee               4525 Forth Ave                  Houston, TX 77219
9 La Rosa Way                         Los Angeles, CA 90043
Larkspur, CA 94939
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Robert C Dunnaway                      Robert C Fults                  Robert C Grable
PO Box 714                             4159 Alta Vista Drive           201 Main Street Suite 2500
West Monroe, LA 71291                  Dallas, TX 75229                Fort Worth, TX 76102




Robert C Heath                         Robert C Lunsford               Robert C Nolan
104 Horseshoe Bend                     11361 Fm 2879                   200 N Jefferson Suite 308
Boerne, TX 78006                       Diana, TX 75640                 El Dorado, AR 71370




Robert C Overton Iii Laura O           Robert C Potter                 Robert C Quirk Trustee
Wheless Robin O Sengelmann             1004 Stuart Lne                 PO Box 792030
Mary O Stocker                         Marshall, TX 75670              San Antonio, TX 78279
1415 South Voss Ste 110 100
Houston, TX 77057



Robert C Sneed Jr                      Robert Calhoun                  Robert Campbell
PO Box 30210                           37 19 222nd St                  446 Dover Lane
Houston, TX 77249                      Bayside, NY 11361               Spring, TX 77373




Robert Cargill Jr                      Robert Carl Bedgood             Robert Carl Harris
PO Box 992                             508 Tranquillo Drive            PO Box 28
Longview, TX 75606-0992                Victoria, TX 77901              New Castle, OK 73065




Robert Carolyn Evans                   Robert Carolyn Evans Wi LLC     Robert Chaidez
Charitable Foundation                  c/o J Roy Burroughs             Address Redacted
c/o J Roy Burroughs                    920 Pierremont Road
920 Pierremont Rd Suite 210            Suite 210
Shreveport, LA 71106                   Shreveport, LA 71106



Robert Chapman                         Robert Chapman Mays             Robert Charles Cathcart
Address Redacted                       266 Jung Lane                   316 W Mississippi Ave
                                       Fredericksburg, TX 78624        Vivian, LA 710822428




Robert Charles Hunt                    Robert Charles Rochelle         Robert Christopher Simpson
5407 Rolling Wood                      9050 Youree Dr Apt 401          427 Stow Creek Rd
San Antonio, TX 78228                  Shreveport, LA 71105            Ruston, LA 71270




Robert Clay Hudgins                    Robert Cleveland Peppeard       Robert Clifford Overstreet Jr
11820 Miller Circle                    1000 E Devernia Road            607 Parkway
Conroe, TX 773027701                   Longview, TX 75604              Crockett, TX 75835




Robert Cody Thomas                     Robert Coleman                  Robert Cooke Baskerville
1187 Hwy 155                           747 Drake Ave                   PO Box 661453
Quitman, LA 71268                      Marin City, CA 94965            Birmingham, AL 35266
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Robert Coward                            Robert Craig Hudson             Robert D Birdsong Estate
1000 Cordova Place 524                   4615 Lester Drive               Betty S Dringman Independent Executrix
Santa Fe, NM 87505                       Arlington, TX 76016             PO Box 314
                                                                         Kilgore, TX 75663




Robert D Byrd                            Robert D Gann                   Robert D Gensch
11613 Green Oaks                         641 Cr 2000                     1030 N Gatewood Ct
Houston, TX 77024                        Shelbyville, TX 75973           Wichita, KS 67602




Robert D Green Jr                        Robert D Green Jr And           Robert D Mcdowell Sandra Kay Mcdowell
PO Box 1220                              Cindy Green H/W                 1007 Hwy 519
Carthage, TX 75633                       PO Box 1220                     Arcadia, LA 71001
                                         Carthage, TX 75633




Robert D Mcjimsey Marianna P Mcjimsey    Robert D Miller                 Robert D Muil
119 E San Miguel                         608 Scurry                      PO Box 1228
Colorado Springs, CO 80903               Big Spring, TX 79720            Port Lavaca, TX 77979




Robert D Nims Jr                         Robert D Osborne                Robert D Riley
884 Tamarack Avenue                      900 W Wilderness Way            5458 Woodbury St
Tallahassee, FL 32303                    Shreveport, LA 71106            Fulshear, TX 77441




Robert D Schneeflock                     Robert D Schneider              Robert D Schneider Custodian
Susan P Schneeflock                      4525 Kelsey Road                Paul David Schneider
204 Duck Cove                            Dallas, TX 75229                Ugma 4525 Kelsey Road
Madison, MS 39110                                                        Dallas, TX 75229




Robert D Schneider Custodian             Robert D Ungerecht              Robert Daas
Robert Ward Schneider                    3650 Old Bullard Road Ste 300   3662 Ariel Court
Ugma 4525 Kelsey Road                    Tyler, TX 75701                 Jacksonville, FL 32277
Dallas, TX 75229




Robert Dale Cathy F Cole                 Robert Dale Cole                Robert Dale Fletcher
6602 Highway 160                         PO Box 310                      1845 N Louisville
Cotton Valley, LA 71018                  Cotton Valley, LA 71018-0310    Tulsa, OK 741154822




Robert Dan Mays                          Robert Dane Rich                Robert Daniel Lancaster
1318 S Barnett Springs St                1798 Rich Rd                    David Hatton Poa
Ruston, LA 71270                         Arcadia, LA 71001-5231          3980 Fr 1997 N
                                                                         Marshall, TX 75670




Robert Danley Lewis Anna Harkins Lewis   Robert Darrell Giles            Robert Darrell May
300 Bartlett Rd                          PO Box 838                      745 James Drive
Arcadia, LA 71001                        Tatum, TX 75691                 Richardson, TX 75080
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Robert David Freeman                    Robert Deadmon                          Robert Dean Martin
522 Camellia Ave                        19304 South Wadley                      Address Redacted
Orange, TX 77630-4528                   Carson, CA 90745




Robert Dee Dowling Donna D Dowling HW   Robert Delley                           Robert Dennard
703 Sunshine Rd                         8331 Winthrop Lane                      4 Taylor Mountain
Simsboro, LA 71275                      Houston, TX 77075                       Santa Fe, NM 87508




Robert Dewey Dossett                    Robert Dixon Sylvester                  Robert Dobbs Dynasty Trust
PO Box 248                              298 Holly Grove Plantation Lane         3311 Woods Blvd
Woodlawn, TX 75694                      Washington, LA 70589                    Tyler, TX 75707




Robert Don Miller Trust                 Robert Donahey                          Robert Douglas Culley
Robert Don Miller Trustee               3320 Chinaberry Lane                    10811 Sans Souci Place
608 Scurry St                           Joshua, TX 76058                        Austin, TX 78759
Big Spring, TX 79720




Robert Dyar                             Robert E Adams                          Robert E Agnor
23746 Fieldcrest Lane                   6143 Meadow Lake Ln                     1517 Parkway
Murrietta, CA 92562                     Houston, TX 77057-3521                  Austin, TX 78703




Robert E Andrews                        Robert E Barham                         Robert E Betty F Crain
PO Box 88                               c/o J Allen Harvey Jr Interim Trustee   1102 Bailey Street
Keatchie, LA 71046                      PO Box 14759                            West Monroe, LA 71292
                                        Case No 92 11261
                                        Monroe, LA 71275



Robert E Bishop Estate                  Robert E Brandt                         Robert E Brandt Sharon K Brandt
7404 Sw 53Rd Avenue                     9507 Hexham Court                       7606 Noah Ln
Karen S Bishop Special Admin            Spring, TX 77379                        Spring, TX 77379
Portland, OR 97219-




Robert E Brown Jr                       Robert E Burns                          Robert E Byrne Jr
6915 Vista Del Verde                    3100 Regent St                          5614 Wheelwright Way
Riverside, CA 92509                     Kilgore, TX 75662                       Haymarket, VA 20169




Robert E Cannon                         Robert E Carroll                        Robert E Compere
211 Scott Rd                            PO Box 1205                             6337 Thornbranch
Ruston, LA 71270                        Hallsville, TX 75650-1205               Plano, TX 75093




Robert E Cooke                          Robert E Davis                          Robert E Dryden
112 Windsor Dr                          Dba Rio Grande Royalties                PO Box 24314
Murphy, TX 750944252                    PO Box 2955                             El Paso, TX 79914-0314
                                        Victoria, TX 77902
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Robert E Eubanks                       Robert E Faucette                Robert E Gildersleeve Jr
PO Box 1522                            PO Box 614                       PO Box 1008
Midland, TX 797021522                  Carthage, MS 39051               Leesburg, VA 20177




Robert E Greer                         Robert E Harris Anzetta Harris   Robert E Hootkins
218 Quinlan St                         4559 Estesville Rd               c/o Eddye Dreyer Financial Srv
Box 454                                Longview, TX 75602               4925 Greenville Avenue
Kerrville, TX 78028                                                     Suite 900
                                                                        Dallas, TX 75206



Robert E Kershaw Roylty Co Inc         Robert E King                    Robert E King Family LLC
PO Box 327                             4154 Fairfield Ave               6702 Gilbert Dr
Skyland, NC 28776                      Shreveport, LA 71106-1018        Shreveport, LA 71106




Robert E Lacy                          Robert E Landreth                Robert E Lee Dugout Club
2522 Melody Lane                       110 W Louisiana                  411 Ese Loop 323
Tyler, TX 75701                        Suite 404                        Tyler, TX 75701
                                       Midland, TX 79701




Robert E Mangham                       Robert E Mcdonald                Robert E Mcdowell
4326 S Garnett Rd Apt 106              701 Judge Bldg                   455 Magnolia Wood Ave
Tulsa, OK 74146-4247                   Salt Lake City, UT 84102         Baton Rouge, LA 70808




Robert E Mckellar                      Robert E Mckellar Husband Of     Robert E Morgan
Mildred C Mckellar                     Mildred C Mckellar               4715 Sw Pendleton St
PO Box 16644                           126 40Th Pl                      Portland, OR 97221-2866
Hattiesburg, MS 29401                  Hattiesburg, MS 39402-2371




Robert E Parsons Jr                    Robert E Rain Jr                 Robert E Rain Jr Trustee
8001 Manassas Drive                    8523 Thackery St Apt 3312        8523 Thackery 4210
Austin, TX 78745                       Dallas, TX 75225-3955            Dallas, TX 75225




Robert E Ramsey                        Robert E Ray Attorney At Law     Robert E Reese
5603 Mimosa Lane                       1177 West Loop South Ste 1180    515 Country Club Road West
Richmond, TX 77406                     Houston, TX 77027                Hallsville, TX 75650




Robert E Risinger Jr                   Robert E Risinger Sr             Robert E Schmidt Jr
1232 Mckenzie Circle                   Route 1 Box 124                  PO Box 945
Diana, TX 75640                        Gary, TX 75643                   Hodge, LA 71247




Robert E Schmidt Jr Et Ux              Robert E Schwartz                Robert E Shearer Jr
Zelphia B Schmidt                      4414 Montego Drive               14313 Cherylwood Rd
PO Box 945                             Wichita Falls, TX 763084015      Alexander, AR 72002-1698
Hodge, LA 71247
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Robert E Taylor And Carol N Taylor     Robert E W Sinclair             Robert E Watson
179 Camilla Circle                     7001 Preston Rd Ste 301 Lb 35   702 Princess Pl
Belville, TX 77418                     Dallas, TX 752051185            Tyler, TX 75704-6673




Robert E Wilder Jr                     Robert Earl Cannon Jr           Robert Earl Liner Jr
6543 Shinnecock Hills                  PO Box 2                        4422 Hwy 80
Houston, TX 77069                      Campo Seco, CA 95226            Ruston, LA 71270




Robert Earl Liner Sr                   Robert Earl Mason               Robert Earl Potts
606 Jefferson Drive                    418 County Road 1151            309 W Line Avenue
Houma, LA 70360                        Carthage, TX 75633              Ruston, LA 71270




Robert Earnest Livingston              Robert Edmunds Latham           Robert Edward Eckels Jr LLC
224 S Pierce St                        712 Arlington Rd                PO Box 1093
Lafayette, LA 70501                    Camp Hill, PA 17011             Cedaredge, CO 81413




Robert Edward Ferguson                 Robert Edwin Cooksey            Robert Edwin Durham
c/o Texas State Treasury               218 Hillcrest Dr                216 East Village Ridge
Unclaimed Property Division            Fredericksburg, VA 22401-4010   Springfield, MO 658033750
PO Box 12019
Austin, TX 78711-2019



Robert Eldridge Armistead              Robert Ellington Hebert         Robert Elton Briggs
525 Oak Park Dr                        1303 Foster Creek Drive         5452 River Thames Road
Round Rock, TX 78681                   Richmond, TX 77406              Jackson, MS 39211




Robert Emerson Smitherman              Robert Emmett Burt Iii          Robert Ernest Hightower
PO Box 1756                            1005 Cedar Creek Rd             625 Lee Lambert Rd
Shreveport, LA 71166                   Ruston, LA 71270                Maryville, TN 37803-8136




Robert Eugene Johns                    Robert Eugene Landers Jr        Robert Eugene Mcpherson
17 Alvin Dr                            PO Box 14102                    3751 Bridges Ct
Pineville, LA 71360                    Odessa, TX 79768                Aubrey, TX 76227




Robert F Byrne                         Robert F Clarke                 Robert F Davis Iii
PO Box 510                             9614 Oak Street                 3 Shady Lane
Centreville, MD 21617-0510             Ooltewah, TN 37363              Longview, TX 75604




Robert F Harper                        Robert F Mcfatridge Iii         Robert F Mcfatridge Iv
Janette C Harper                       Birdie Lou Mcfatridge           3008 Beauford St
PO Box 432                             3607 Colgate Avenue             Robinson, TX 76706-7447
Cotton Valley, LA 71018                Tyler, TX 75701
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Robert F Swart Revocable Trust             Robert F Wells Edna B Wells Trusts   Robert Farron Holmes Sep Prop
Dated 11/22/06 Robert F Swart              Lionel E Gilly Trustee               15061 East Chenango
And Cathy L Murray Trustees                5585 Caruth Haven Ln 301             Aurora, CO 80015
2025 George Washington Blvd                Dallas, TX 752258157
Wichita, KS 67218



Robert Feller                              Robert Findlay Harper                Robert Foard Townsend Iii
Address Redacted                           16865 Fm 429                         2 Penny Lane
                                           Terrell, TX 75161                    San Antonio, TX 78209




Robert Frank Taylor                        Robert Franklin Reed                 Robert Frazier
6051 Roma Dr Apt 603                       PO Box 9                             916 Bonita
Shreveport, LA 71105-4571                  Eucha, OK 73084                      Ruston, LA 71270




Robert Freeman                             Robert G Claer Jr                    Robert G Frazier Jr
PO Box 130156                              1001 Cherokee Trail                  Shelia Johnson Frazier
Spring, TX 77393-0156                      Kilgore, TX 75662                    642 Crawford Road
                                                                                Arcadia, LA 71001




Robert G Greer And Margaret Rich Greer     Robert G Hicks                       Robert G Joy N Taylor Tte
PO Box 20335                               8216 Fountain Springs Drive          2736 Dantzler Street
Waco, TX 76707                             Plano, TX 75025                      Moss Point, MS 39563




Robert G Sample                            Robert G Williams                    Robert Gant
PO Box 272484                              26901 Vernado Drive                  3882 Blunt Hill Rd
Houston, TX 77277-2484                     Mission Viejo, CA 92691              Grand Cane, LA 71032




Robert Gary                                Robert George Chognard               Robert Gerald Lindholm
16811 Summer Creek Dr                      c/o Northern Trust Na Agent          PO Box 399
San Antonio, TX 78248                      PO Box 226270                        George West, TX 78022
                                           Dallas, TX 75222-6270




Robert Glenn Allums                        Robert Gordon Bryson                 Robert Govella
369 Cr 304                                 PO Box 62                            Address Redacted
Carthage, TX 75633                         Greenwood, LA 71033-0062




Robert H Arp Indv As Co Ttee               Robert H Bryans 2016 Rev Tr          Robert H Chappell
For The Rollin Z Pierce Tr                 Uad Jan 01 2016                      100 Woodland Road
39666 West View Drive                      Robert Hugh Bryans Ttee              Apt 1
Oakhurst, CA 93644                         1455 Mansfield Rd                    Marshall, TX 75672
                                           Reno, TX 75462



Robert H Covington Iii Separate Property   Robert H Elder Jr                    Robert H Gatewood Jr
80 Shrine Way                              1530 East Triton Place               6467 Bourdeaux Ave
Sacramento, CA 95827                       Tucson, AZ 85737                     Dallas, LA 75209
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Robert H Gloria W Frasier               Robert H Hightower                Robert H Joseph Jr
1700 Bittersweet                        1141A Cr 378                      1117 Tomahawk Ln
Ruston, LA 71270                        Palestine, TX 75801               South Lake Tahoe, CA 96150




Robert H Meeder                         Robert H Ratcliff                 Robert H Ratcliff Trustee
906 N Glenayre Drive                    PO Box 765                        Of Trust Fbo James D Ratcliff
Glenview, IL 60025                      Atlanta, TX 75551                 PO Box 765
                                                                          Atlanta, GA 75551-0765




Robert H Turbeville                     Robert H Wife Kathy L Dickerson   Robert Half International Inc
PO Box 914                              1520 Pinchot Street               PO Box 743295
Fredericksburg, TX 78624                El Campo, TX 77437                Los Angeles, CA 90074-3295




Robert Hall                             Robert Hampton                    Robert Harrison Allen Ii
106 Trippe                              2917 Marshall Rd                  137 Hiawatha Dr
Monroe, LA 71202-5010                   Beckville, TX 75631               Frankfort, KY 40601




Robert Hartcorn                         Robert Heard                      Robert Heard Jr
12 Boston Ave                           146 Drake Road                    1206 Eastline
Medford, NY 11763                       Dubach, LA 71235                  Ruston, LA 71270




Robert Henderson                        Robert Henry Ritter               Robert Henry Seale Eakens
5718 West Sunlight Place                204 S Eagles Bluff Blvd           4100 Jackson Ave Apt 480
Los Angeles, CA 90016                   Bullard, TX 75757                 Austin, TX 78731




Robert Henry Smith Laura Amye W Smith   Robert Hightower Life Estate      Robert Hildom
605 Aubrey Cir N                        2643 Marsalis                     PO Box 10265
Greenwood, MS 38930-2401                Dallas, TX 75216                  Torrance, CA 90505




Robert Hill                             Robert Hillin And Nancy Hillin    Robert Hines Rev Trust 6/16/93
131 Dunn Road                           395 County Road 302 D             Robert Hines Trustee
Ruston, LA 71270                        Henderson, TX 75654               1105 Lake Side Drive
                                                                          Columbia, MO 65203




Robert Hitzelberger                     Robert Hogan                      Robert Houston
2200 Ross Ave Ste 3838                  277 Division St                   2031 South Deerborn St
Dallas, TX 752016768                    Mansfield, LA 71052-4105          Seattle, WA 98144




Robert Hugh Bryans                      Robert Hughes Wilson              Robert Hughes Wilson Trust
1455 Mansfield Road                     PO Box 6884                       2 Maxie H Wilson Trustee 110
Paris, TX 75462                         Tyler, TX 757116884               North College Plaza Tower
                                                                          Suite 1404
                                                                          Tyler, TX 75702
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Robert Hunter                             Robert I Hanson Gayle Walker Hanson   Robert I Lacock
2107 Brighton Bay Trail                   13 Fontis Ter                         1001 8Th St
Jacksonville, FL 32246                    Crossville, TN 38558-7615             Levelland, TX 79336




Robert I Seale                            Robert J Best                         Robert J Bradley Trust 1313
8315 Inwood Rd                            18043 W Tierra Del Sol Drive          Nationsbank W Wallace
Dallas, TX 75209                          Surprise, AZ 85387                    Co Trustees
                                                                                PO Box 840738
                                                                                Dallas, TX 75284



Robert J Brandom Revoc Trust              Robert J Cowan                        Robert J Gilliland
Community Bank Of Raymore                 PO Box 3795                           PO Box 84
PO Box 200                                Midland, TX 79702                     Palm Desert, CA 92262
Raymore, MO 64083-0200




Robert J Kohler Jr                        Robert J Massingill                   Robert J Mays
78792 Via Carmel                          PO Box 211                            1417 Grove St
Laquinta, CA 92253                        Jonesville, TX 75659                  Houston, TX 77020




Robert J Mccormick                        Robert J Rochelle                     Robert J Rowell
Monya Humble Mccormick                    106 Tibbs Road                        509 Market Street Suite 300
PO Box 4108                               Arcadia, LA 71001                     Shreveport, LA 71033
Monroe, LA 71211




Robert J Sims                             Robert J Stewart                      Robert J Stoltzfus
5237 E Ocean Apt 4                        228 Yorkshire Drive                   1207 Rosemary Rd
Long Beach, CA 90803                      Williamsburg, VA 23185                Florence, MS 39073




Robert J Whelan Iii                       Robert J Whelan Jr                    Robert Jacobs Wedin
PO Box 703235                             Deceased                              230 S Montgomery St
Dallas, TX 75370                          303 Miller Drive                      Ojai, CA 93023
                                          Marshall, TX 75670




Robert James                              Robert James Richardson               Robert Jay King
PO Box 3107                               PO Box 30659                          1950 Farm Tech Road
Monroe, LA 71210                          Laughlin, NV 89028                    Ruston, LA 71270




Robert Jefcoat Gloria Jefcoat             Robert Jeffers                        Robert Joe Mclean
1156 Highway 563                          9358 Stoddard Hayes Rd                3404 Brookwood Trace
Dubach, LA 71235                          Kingsman, OH 44428                    Birmingham, AL 35223




Robert John Walton                        Robert Johnson                        Robert Jones
5318 Weaver Rd Apt 1                      13964 Wildwood Drive                  PO Box 98082
Cheyenne, WY 82009-4259                   Largo, FL 33774                       Lubbock, TX 79499
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Robert Joseph Bruni Trust              Robert Joseph Bruni Trust              Robert Joseph Houlihan
Acct F0569500 Frost Natl Bk            Frost Natl Bk PO Box 1600              5807 Berkshire Lane
PO Box 1600                            Acct F0765400                          Dallas, TX 75209
San Antonio, TX 78296                  San Antonio, TX 78296




Robert Joseph King                     Robert Joseph King                     Robert Joseph Walker
182 Kings Gin Road                     Jerry Ann Stovall King                 1806 Berryfield
Arcadia, LA 71001                      182 Kings Gin Road                     Houston, TX 77077
                                       Arcadia, LA 71001




Robert Joseph Whelan Iii               Robert Joseph Williams                 Robert Justus Smith
PO Box 703235                          3700 Branigan Lane                     4916 State 87 Nw
Dallas, TX 75370                       Austin, TX 78759                       Backus, MN 56435




Robert K Alberta B Hawkins             Robert K Geis                          Robert K Kyle
Hawkins H/W                            7110 Foxtree Cove                      5924 Kristen Dr
PO Box 1598                            Austin, TX 78750                       Jackson, MS 39211
Lexington, VA 24450




Robert Keith Gernold                   Robert Kemper Zander Jr                Robert Kenneth Allison
12403 Moorcreek Drive                  539 Woodcrest Drive                    4749 Fm 1844
Houston, TX 77070                      San Antonio, TX 78209-2938             Longview, TX 75605




Robert King                            Robert Kreeger                         Robert Kurt Keidel
20 Sierra Camino                       10300 N Central Street                 903 Lois Street
Ballinger, TX 76821                    Kansas City, MO 64155                  Apartment 8
                                                                              Kerrville, TX 78028




Robert Kyle Ramsey Jr                  Robert L Albritton Separate Property   Robert L Alexander
101 East Moore Avenue First            PO Box 547                             Svetlana N Alexander Trust
National Bank Building                 Farmerville, LA 71241                  Robert Svetlana Alexander Trt
Terrell, TX 75160                                                             PO Box 50324
                                                                              Sarasota, FL 34232



Robert L Bradley                       Robert L Bradley Jr                    Robert L Carolyn Perry
600 Travis Street Suite 4200           2186 Briarglen Drive                   404 W Crockett Street
Houston, TX 77002                      Houston, TX 77027                      Rusk, TX 75785




Robert L Clark Jr Estate               Robert L Collier                       Robert L Collins
Ramsey Clark Indp Executor             10818 Royal Bluff                      2997 Russ Rd
C/O Cheryl Clark                       San Antonio, TX 78239                  Marianna, FL 32446
8308 Briar Creek Drive
Annandale, VA 220034641



Robert L Cotton                        Robert L Davis                         Robert L Davis Jr
119 Barbara Ann Street                 128 Carefree Cir                       128 Carefree Cir
West Monroe, LA 71292                  Lakeway, TX 78734-4620                 Lakeway, TX 78734
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Robert L Davis Life Estate             Robert L Delaune                       Robert L Dorsey
310 Davis St                           101 N Summer St                        779 Shallow Ridge Court
Carthage, TX 75633                     Lampasas, TX 76550-1635                Abingdon, MD 210093016




Robert L Dugger                        Robert L Ellington                     Robert L Erwin
c/o Ellis Saybe                        114 Pat Drive                          503 Briarpark Drive
P O Drawer 12180                       Monroe, LA 71202                       Houston, TX 77042
Alexandria, LA 71301




Robert L Frye And                      Robert L Garrett                       Robert L Gilbert And
Betty Elmore Frye                      1212 Hwy 764                           Rita Walters Gilbert
701 Eighth Street Nw                   Logansport, LA 71049                   765 Owens Road
Springhill, LA 71075                                                          Calhoun, LA 71225




Robert L Greenberg                     Robert L Howard                        Robert L Kidd Emma Roy Kidd H/W Cp
31 Alta Vista Way                      122 Kenwood Lane                       PO Box 247
San Rafael, CA 94901                   Longview, TX 75604                     Gibsland, LA 71028




Robert L Lucas Jr Trust Estate         Robert L Mcdermott                     Robert L Moody Agency
2990 Montavesta Road                   2805 Apple Valley                      c/o Moody National Bk Trst Dep
Lexington, KY 40502                    Garland, TX 75043                      PO Box 1139
                                                                              Galveston, TX 77553




Robert L Moody Agent                   Robert L Park                          Robert L Payne
2302 Post Office St Ste 702            6130 Bordely                           1731 Bonner St
Galveston, TX 77550                    Houston, TX 77057                      Mckinney, TX 75069-3611




Robert L Peveto Trust 1                Robert L Peveto Trust 2                Robert L Peveto Trust 3
For Robert S Peveto Jr                 For Elizabeth B Peveto                 For John Hayden Peveto
Regions Bank Suc Ttee 39282005         Regions Bank Suc Ttee439283003         Regions Bank Suc Ttee
PO Box 11566                           PO Box 11566                           PO Box 11566
Birmingham, AL 35202                   Birmingham, AL 35202                   Birmingham, AL 35202



Robert L Peveto Trust 4                Robert L Pool                          Robert L Quinnett Jr
For Ann Marie Peveto                   1005 Oak Knoll                         1411 N E Independence Ave
Regions Bank Nrre 439285008            Bryan, TX 77802                        Lawton, OK 73507
PO Box 11566
Birmingham, AL 35202



Robert L Quinnett Tr Dtd 02/17/1986    Robert L Richard                       Robert L Richard Trustee
Yvonne M Quinnett Succ Ttee            1632 County Road 3173                  For Minor Child John
808 Rye Rd                             Joaquin, TX 75954                      Bryant Chapman
Norman, OK 73072                                                              1632 County Road 3173
                                                                              Joaquin, TX 75954



Robert L Richard Trustee               Robert L Richard Wife Brenda Richard   Robert L Robinson
For Minor Child John William           1632 County Road 3173                  16101 W 136Th Street
Estes Iii                              Joaquin, TX 75954                      Olathe, KS 660621956
PO Box 521
Tenaha, TX 75974
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Robert L Rushing                        Robert L Segal                  Robert L Sipes
Address Redacted                        F/B/O Evelyn R Segal Etal       3436 Salmon St
                                        375 Riverside Drive 3B          Sachse, TX 75048
                                        New York, NY 10025




Robert L Smith                          Robert L Speed Jr               Robert L Stillwell Jr
PO Box 2452                             PO Box 1367                     Address Redacted
Henderson, TX 75653-2452                Atlantic City, NJ




Robert L Taylor Jr June Wade Taylor     Robert L Thomsen                Robert L Vesco
153 Kings Crossing                      c/o Trustmark National Bank     5 Iverness Dr E
Shreveport, LA 71105                    PO Box 22765                    Englewood, CO 80112
                                        Jackson, MS 39225-2765




Robert L Westbrook Jr                   Robert L Williams               Robert L Williamson
Box 234 Rt 8 Okeefe Road                7376 Hwy 147                    Husband Of Sandra K Williamson
Jacksonville, TX 75766                  Quitman, LA 71268               PO Box 1772
                                                                        Shreveport, LA 71166-1772




Robert L Woodard                        Robert L Yates                  Robert Lamar Grace
6077 Highway 544                        PO Box 610                      8211 Quail Hollow
Arcadia, LA 71001                       Scottsville, TX 75688           Texarkana, TX 75503




Robert Lamar Taylor Jr                  Robert Lane Gunter              Robert Lane Hattaway
PO Box 52586                            903 Scenic Loop                 PO Box 377
Shreveport, LA 71135                    Marshall, TX 75672              Dubach, LA 71235




Robert Lane Holman                      Robert Lane Pittard             Robert Lanford Mccalley Jr
2207 Halifax Ave                        PO Box 338                      2902 Pine Haven Dr
Odessa, TX 79761-1719                   Benton, LA 71006                Birmingham, AL 35223




Robert Lay                              Robert Lee Adams Jr             Robert Lee Bailey
6356 Persson Parkway                    11843 Loveland Pass             c/o Anita Bailey Power Of Atty
Belvidere, IL 61008                     Houston, TX 77067               714 W Main
                                                                        Henderson, TX 75652




Robert Lee Glasscock                    Robert Lee Hobbs                Robert Lee Hollis
PO Box 340                              PO Box 2626                     849 E Victoria St Unit 210
Greenville, AL 36037                    St University, AR 724672626     Carson, CA 95746




Robert Lee Mason                        Robert Lee Matzig               Robert Lee Patton Jr Trust
2803 Forsythe Ave                       4020 N Macarthur Blvd 122 259   Amanda K Patton Trustee
Monroe, LA 71201                        Irving, TX 75038                185 Bob Patton Road
                                                                        Homer, LA 71040
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Robert Lee State Bank                    Robert Lee Wells                  Robert Lee Wilson
PO Box 549                               614 Kilgore Rd                    1335 W Marquette
Robert Lee, TX 76945                     Plain Dealings, LA 71064-3615     Chicago, IL 60636




Robert Lee York                          Robert Leo Mcnew                  Robert Lewis Brooks
PO Box 805                               2509 Windmill Dr 611              19108 Cr 437
Capitan, NM 88316                        Spearfish, SD 57783               Lindale, TX 75771




Robert Lewis Williams                    Robert Linn Callaway              Robert Lopez
3911 Woolwine Dr                         4304 Normandy Avenue              PO Box 1612
Los Angeles, CA 90063                    Dallas, TX 75205                  Freer, TX 78357




Robert Louis Clark                       Robert Louis Hull                 Robert Louis Turner
3085 Edison Court                        PO Box 5077                       23 Seminole Place
Boulder, CO 80301                        Jasper, TX 75951                  Jackson, TN 38305




Robert Luehrs As Sep Prop                Robert Lynn Haynes Carla Haynes   Robert M Bath Revoc Lvng
15977 Cuttysark                          1908 Longview Dr                  Trust Dated 12/10/08
Corpus Christi, TX 78418                 Henderson, TX 75652               Robert M Bath Trustee
                                                                           1076 Andover Forest Dr
                                                                           Lexington, KY 405092002



Robert M Blankenship                     Robert M Brown Exempt Fam Tr      Robert M Burch
200 Dove Creek                           Connie L Brown Trustee            5944 Highway 145
Mckinney, TX 75071                       PO Box 292966                     Ruston, LA 71270
                                         Lewisville, TX 75029




Robert M Mcmurrey                        Robert M Mills                    Robert M Minton
Childrens Trust                          PO Box 5745                       4 Woodhaven Dr
PO Box 1074                              Shreveport, LA 71101              Henderson, TX 75652
Kilgore, TX 75663




Robert M Moore                           Robert M Moore Estate             Robert M Ogle
82 North St                              18039 Bal Harbour Drive           3957 Smelley Road
Laramie, WY 82072                        Houston, TX 77058                 Longview, TX 75605




Robert M Pittman Jr                      Robert M Sabo                     Robert M Singleton
PO Box 412                               381 Mitchell Road                 4520 Stanford Court
Plain Dealing, LA 71064                  Simsboro, LA 71275                Houston, TX 77041




Robert M Sisk                            Robert M Tenery Iii               Robert M Vice
c/o Barksdale Federal C U                15377 County Rd 434               1153 Cr 373
PO Box 193                               Lindale, TX 75771                 Splendora, TX 773724686
Emory, TX 75440
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Robert Mack Caruthers                 Robert Malcolm Jefcoat             Robert Manry Reed A Single Man
PO Box 2541                           1156 Hwy 563                       345 Saint Joseph Street
Brentwood, TN 37024                   Dubach, LA 71235                   New Orleans, LA 70130




Robert Maranzano                      Robert Marcotte                    Robert Margery Campbell
34 Exchange Pl                        2011 Garden Oaks Drive             Family Tr Margery M Campbell
Jersey City, NJ 07311                 Arlington, TX 76012                Co Trustees
                                                                         82 Woodland Lane
                                                                         Arcadia, CA 91006



Robert Mark Mccall                    Robert Marshall Construction Inc   Robert Marvin Ellis Jr Et Ux
1015 Bull Run                         PO Box 205                         Linda Letterman Ellis
Denton, TX 76209                      Bruni, TX 78344                    1556 Mitcham Orchard Road
                                                                         Ruston, LA 71270




Robert Mary Parrott LLC               Robert Matera                      Robert Matera
PO Box 798                            Corp Actions NC0675                Corp Actions Nc0675
Ruston, LA 71273                      1525 W W T Harris Blvd 1B1         1525 West W T Harris Blvd 1B1
                                      Charlotte, NC 28262                Charlotte, NC 28262




Robert Maxine Hannifin Trust          Robert May                         Robert Mayer Jr
c/o Maxine Hannifin                   722 E Cook St                      PO Box 916
PO Box 218                            El Dorado, AR 71730                Addison, TX 75001
Midland, TX 79702




Robert Mayer Jr Trust                 Robert Mccall Storey               Robert Mcham Ltd
Nationsbank/Bank Of America           PO Box 336                         PO Box 1345
Robert Mayer Jr Bruce L Sternberg     Nocona, TX 76255                   Levelland, TX 79336
PO Box 840738 Acct 4528 00
Dallas, TX 75284-0738



Robert Mead Agency                    Robert Michael Dawson              Robert Michael Harnett
PO Box 130268                         213 Emmett Dr                      16 Nubarron Ln
Dallas, TX 75313                      Niceville, FL 32578-3747           Hot Springs Village, AR 71909




Robert Michael Kimes                  Robert Midkiff                     Robert Millard Mcmurrey
4633 E Prairie Ln                     1753 W Henderson St Apt 2          PO Box 1074
Cottonwood, AZ 86326                  Chicago, IL 606571033              Kilgore, TX 75663




Robert Mobbs                          Robert Moeller                     Robert Morgan Schoolfield
407 Edward                            295 Hwy A1A Apt 507                c/o 2M Mineral Management
Longview, TX 75604                    Satellite Beach, FL 32937          PO Box 1088
                                                                         Converse, TX 78109




Robert Morrison Sanders Jr            Robert Murphy                      Robert N Brantley Jr
3564 Radio Station Rd                 186 Murphy Rd                      115 Wood Glen
Mansfield, LA 71052                   Dubach, LA 71235                   Boerne, TX 78006
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Robert N Crawley And Wife Jo Ann Crawley   Robert N Freeman Ii           Robert N Froehner
255 Robyn Lane                             7817 Sonoma Ct                PO Box 541913
Longview, TX 75605                         Laredo, TX 78045              Grand Prairie, TX 750541913




Robert N Palmer                            Robert N Roberts              Robert N Thompson
1260 Dolphin Bay Way 304                   PO Box 1404                   PO Box 216
Sarasota, FL 34242                         Gilmer, TX 75644              Shreveport, LA 71162




Robert Nail                                Robert Nathaniel May          Robert Neal Rogers
2320 Benjamin Court                        5066 N Oak 256                4012 Red Oak
Rocklin, CA 95765                          Kansas City, MO 64118         Nacogdoches, TX 75961




Robert Neil Quinn                          Robert Newland                Robert O Berry Et Ux
505 Greenridge                             Cmr 444 Box 619               PO Box 114
Longview, TX 75601                         Apo, Ae 09038                 West Monroe, LA 71291




Robert O Koontz                            Robert O Martin Jr            Robert O Shelton
205 Chantilly Drive                        2414 La Rochelle Ct           1723 Gunwale Road
West Monroe, LA 71291                      Seabrook, TX 77586            Houston, TX 77062




Robert ONeal Shepherd                      Robert Oran Woodfin           Robert Osburn Koontz
1340 19Th Street Apt 3                     1728 Cr 3801                  205 Chantilly Drive
Boulder, CO 80302                          Joaquin, TX 75954             West Monroe, LA 71291




Robert Otis White                          Robert P Evans Minerals LLC   Robert P Jornayvas Dba NorN
2220 Cherokee Street                       164 Long Island Bay           Michigan Investments
Baton Rouge, LA 70806                      Hot Springs, AK 71913         707 17 St Ste 4200
                                                                         Denver, CO 80202




Robert P Key                               Robert P Kidd                 Robert P Marshall
2217 E Grimes St Apt 4                     PO Box 337                    12350 County Road 104 S
Harlingen, TX 78550-5120                   Prosper, TX 75078-0337        Alamosa, CO 81101




Robert P Thomas Jr                         Robert P Waller Jr            Robert Palmer Kidd
c/o Argent Property Services Llc           4756 Moss Rose Drive          PO Box 337
PO Box 1410                                Fort Worth, TX 76137          Prosper, TX 75078
Ruston, LA 71273-1410




Robert Patterson                           Robert Patton                 Robert Perkins
610 Leachman Road                          PO Box 3399                   Address Redacted
Ruston, LA 71270                           Abilene, TX 79604
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Robert Perritt Hawkins                  Robert Peyton Baker                Robert Peyton Thorn Jr
c/o Roland Gray Rubin Rudman Llp        1501 Melody Dr                     2508 27Th St
50 Rowes Warf                           Metairie, LA 70002-1923            Lubbock, TX 79410
Boston, MA 02110




Robert Pinkert                          Robert Pinkston                    Robert Powell Broussard
PO Box 16                               348 Louie Bryan Rd                 13811 Hambleton Dr
Graford, TX 76449                       Longview, TX 75603-6880            Houston, TX 77069




Robert Pringle                          Robert Pritchett                   Robert Pyle
PO Box 1286                             1415 Se Cr 2230                    Address Redacted
Lamesa, TX 79331-1286                   Corsicana, TX 75109




Robert Pyles Separate Prop              Robert R Brown                     Robert R Fuller
211 Bell Road                           Box 403                            251 Heard Road
Cotton Valley, LA 71018                 Gonzales, TX 78629                 Ruston, LA 71270




Robert R Lichtenberger                  Robert R Musil                     Robert R Ostrom
4102 Woodland Creek                     240 Burcham Flat Road              PO Box 361
Corpus Christi, TX 78410                Coleville, CA 961079742            Haughton, LA 71037-0361




Robert R Ostrom Estate                  Robert R Poland Sr Evelyn Poland   Robert R Rose Jr
Julia A Peters Exec                     27624 Hwy 9                        537 S Center
PO Box 361                              Bienville, LA 71008                Casper, WY 82601
Haughton, LA 71037




Robert R Sullivan                       Robert R Young                     Robert Randall Mann
1913 North Fm 46                        1732 Fm 999                        6708 Capriola Dr
Franklin, TX 77856                      Gary, TX 75643                     Austin, TX 78745




Robert Randle Gilbert Iii               Robert Ray                         Robert Reeves Allen Jr
3116 East 58Th Place                    5223 Beckington                    420 Jenny Ruth Pt
Tulsa, OK 74105                         Dallas, TX 75287                   Antioch, TN 37013-1595




Robert Richard Parker                   Robert Roberts Iii Estate          Robert Russell
Box 307                                 Susan Forrester Roberts Execut     726 Ridge Dr
Wylie, TX 75098                         P O Drawer 1126                    West Monroe, LA 71292
                                        Shreveport, LA 71163-1126




Robert Ryan Harmon                      Robert S Avent                     Robert S Bacon
1414 Harmon Loop                        Rsp Avent                          2903 Sarah Ln
Homer, LA 71040                         14003 Lakeview Drive               Alamosa, CO 81101-2118
                                        Austin, TX 78732
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Robert S Blewer                        Robert S Crank                   Robert S Davis
11223 Spyglass Hill Lane Ne            PO Box 848                       1319 Woodcrest Dr
Albuquerque, NM 87111                  Longview, TX 75606               Sour Lake, TX 77659




Robert S Friedman                      Robert S Greenbaum               Robert S Jorgensen
Nancy Fractor Friedman                 27 Grande View Court             245 Burgess Avenue
5910 Beaudry Dr                        Rancho Mirage, CA 92270          Westwood, MA 02090
Houston, TX 77035




Robert S Nisbett                       Robert S Pirtle                  Robert S Richardson
311 Anniversary                        PO Box 1310                      11609 Sahara Way
Longview, TX 75604                     Tyler, TX 75710-1310             Dallas, TX 75218




Robert S Sweazy                        Robert S Watson                  Robert S White
14066 Feldspar Ln                      970 Hwy 87 North                 1628 Cheyenne Ln
Lawrenceville, IL 62439                Center, TX 75953                 Normal, IL 61761-5623




Robert S Wynn Jr And                   Robert S Zawada                  Robert Sammons Jr
Martha Joyce Brooks Wynn               300 Pencarrow Cir                1801 Big Cove Rd Se
1018 Williams Avenue                   Madisonville, LA 70447-3424      Huntsville, AL 35801
Natchitoches, LA 71457




Robert Sanger                          Robert Sanger Jacobs             Robert Scogin
1427 Oaklawn Ln                        3721 Fox Hollow                  c/o West Texas State Bank
Aledo, TX 760085833                    Fort Worth, TX 76109             Po Drawer K
                                                                        Kermit, TX 79745




Robert Scott Hiers Amy Bearden Hiers   Robert Scott Wixon               Robert Segal Family Trust
1177 Spring Creek Road                 Address Redacted                 Robert Segal Peter T Rado
Ruston, LA 71270                                                        375 Riverside Drive Apt 3B
                                                                        New York, NY 10025




Robert Shane Bryan                     Robert Sickler Pumping Service   Robert Sitka
5397 W State Highway 21                PO Box 123                       125 Maureen Drive
Nacogdoches, TX 78154                  Imperial, TX 79743               Bristol, CT 06010




Robert Skidmore                        Robert Smotherman                Robert Stephen Mcwilliams
PO Box 44                              2712 Live Oak                    2409 Sw 50Th Street
Sulphur Springs, TX 75482              Waco, TX 76708                   Amarillo, TX 79110




Robert Stephen Wilson                  Robert Steven Anderson           Robert Steven Masters
3513 Woods Blvd                        503 North 12Th Street            4051 E Pueblo Rd
Tyler, TX 75707                        Alpine, TX 79830                 Cottonwood, AZ 86326
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Robert Stevens                          Robert Suchecki                 Robert Sutton
553 Mariah Rd                           4604 Ridge Oak Dr               185 E Lewis St
Chatham, LA 71226                       Austin, TX 78731-5212           Ventura, CA 93001




Robert T Epperson                       Robert T Halpin Inc             Robert T Halpin Inc Pnsn Trst
PO Box 130515                           Profit Sharing Plan And Trust   4625 Greenville Ave Ste 302
Tyler, TX 75713                         Marilyn K Halpin Trustee        Dallas, TX 75206
                                        4625 Greenville Ave Ste 302
                                        Dallas, TX 75206



Robert T Harrison                       Robert T Kalmbach               Robert T Larson Jr
2237 N County Road 3                    18018 Bayou Mead Trail          3263 S Niagara St
Fort Collins, CO 80524                  Humble, TX 77346                Denver, CO 80224




Robert T R Bailey                       Robert Theodore Costlow         Robert Thomas
8860 Marston Way                        212 Hill Ln                     5501 Wyndemere Cir
Montgomery, AL 36117                    Red Oak, TX 75154-4032          Mineral, VA 23117-9608




Robert Thomas Oliver And                Robert Thomas Tr                Robert Thomson Coley Estate
Mildred Lashone Oliver                  Jp Morgan Chase Bank Na Trst    Mary Eva Coley
10840 Snowdown Ave                      Po Drawer 99084                 Paula Ann Hammond Sefik Co Trustees
Oakland, CA 94605                       Fort Worth, TX 76199            3638 Broadmead Drive
                                                                        Houston, TX 77025



Robert Timothy Conatser                 Robert Timothy Parks            Robert Toledano
176 Spanton Cres                        Address Redacted                122 Augusta Court
Pooler, GA 31322                                                        Greenville, SC 29605




Robert Toney                            Robert Toney Jr                 Robert Travis Fife
PO Box 5390                             1016 Ashmount Ave               PO Box 1112
Oakland, CA 94605-0390                  Oakland, CA 94610               Kountze, TX 77635




Robert Travis Lowry                     Robert Ty Leffingwell Jr        Robert V Belton
3808 Juniper Hills St                   3513 S Heather Ave              324 Calle Barrio Nuero
Cedar Park, TX 78613                    Sand Springs, OK 74063-5031     Burnello, NM 87004




Robert Verhalen                         Robert Vernon Corley Sr         Robert Vincent
c/o Texas State Treasury                1706 Baxter Avenue              11265 Clay Court
Unclaimed Property Division             Longview, TX 75602              Westminster, CO 80234
PO Box 12019
Austin, TX 78711-2019



Robert Vivion                           Robert W Alcorn                 Robert W Baird
Hc 33 Box 36                            2124 Larkspur St                Attn Danielle Martini
Alliance, NE 69301                      Flowermound, TX 75028-7214      777 East Wisconsin Avenue
                                                                        Milwaukee, WI 53202
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Robert W Becker                         Robert W Biondini Trust        Robert W Bonnell
4314 Woodrow Rd                         Kae L Brockermeyer Trustee     11707 E 119Th St N
Lubbock, TX 79423                       PO Box 789                     Collinsville, OK 74021-1024
                                        Wilson, WY 83014




Robert W Bulger                         Robert W Cady                  Robert W Cedotal Letrice W Cedotal
1735 York Avenue Apt 30B                3403 Reily Ln                  444 Gray Rd
New York, NY 10128                      Shreveport, LA 71105           Dubach, LA 71235




Robert W Deschon                        Robert W Givens                Robert W Hays Jr
260 Waltham Road                        106 N Kings Ct                 7518 Cr 314 S
Fairless Hills, PA 19030                Slidell, LA 70458              Lanesville, TX 75667




Robert W Hughes                         Robert W Mehlich               Robert W Myers
300 E Ford                              Robert W Mehlich Rev Tr        6060 N Central Expy Ste 254
Tyler, TX 757013139                     11 Pin Oak Ln                  Dallas, TX 75206
                                        White Plains, NY 10606




Robert W Rowe                           Robert W Talkington            Robert W Tompkins Wendy F Tompkins
6292 Fm 947                             8505 Edgemare 301              PO Box 6738
Timpson, TX 75975                       Dallas, TX 75225               Longview, TX 75608




Robert W Turner And Honor Jean Turner   Robert W Williams              Robert Wade Williams Sr
200 Honor Ln                            121 Hudson Way                 121 Hudson Way
Choudrant, LA 71227                     Macon, GA 31216                Macon, GA 31216




Robert Walsh                            Robert Warren Percival         Robert Watkins
Address Redacted                        PO Box 191307                  6245 Morning Star Dr Apt 210
                                        Saint Louis, MO 63119-7307     The Colony, TX 750564255




Robert Wayne Aylor And                  Robert Wayne Blalack           Robert Wayne Chadwick
Wife Shirley Sue Aylor                  10737 State Highway 300        1927 Oakbluff Dr
6687 Us Highway 84 East                 Gilmer, TX 75645-4042          Carrolton, TX 75007
Joaquin, TX 75954




Robert Wayne Goss                       Robert Wayne Holland           Robert Wayne Massey Heirs
3253 Highway 818                        2434 Halstead Dr               c/o Tyler Division
Ruston, LA 71270                        Spring, TX 77386               1111 Bagby Sky Loby 2
                                                                       Houston, TX 77002




Robert Wayne Mondy Estate               Robert Wayne Rives             Robert Wayne Stanley Jr
5013 E St Charles                       1553 Meadowbrook Rd            8815 Bob Link Rd
Lake Charles, LA 70605                  Jackson, MS 39211              Gladewater, TX 75647
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Robert Wayne Stanley Sr                Robert Wayne Utzman And               Robert Wayne Vinson
8771 Bob O Link Rd                     Nancy Holland Utzman                  7427 Fm 2276 North
Gladewater, TX 75647                   169 Cr 195                            Henderson, TX 75652
                                       Gary, TX 75643




Robert Weddel                          Robert West Skinner                   Robert William Caraway Ii
Address Redacted                       900 Crystal Farms Road                2209 North Edgemere
                                       Tatum, TX 75691                       Phoenix, AZ 85006




Robert William Givens                  Robert William Howie                  Robert William Morgan
3700 Capital Cir Se Apt 817            507 Williamsburg Circle               240 Ew Morgan Rd
Tallahassee, FL 32311-2708             Friendswood, TX 77546                 Arcadia, LA 71001-5324




Robert William Satterwhite             Robert William Temple Et Ux           Robert Williams And
10709 Seven Oaks Cove                  Mary Eleanor Harris Temple            Claudtiel Goss Williams
Austin, TX 78759                       2017 Highway 544                      107 South 6Th Street
                                       Ruston, LA 71270-1127                 Temple, TX 76501




Robert Woodson Randle                  Roberta Bennett                       Roberta C Rife
1011 Oakland Court                     5547 South Cincinnati Avenue          PO Box 1600
Sugar Land, TX 77478                   Tulsa, OK 74105                       San Antonio, TX 78296-1600




Roberta Green                          Roberta Puig                          Roberta Redfern Garst
880 Carilion Parkway                   920 Bridges Drive                     John J Redfern Iii Aif
St Petersburg, FL 33716                Arlington, TX 76012                   16910 Dallas Pkwy Ste 212
                                                                             Dallas, TX 75248




Roberta Roark Paul                     Roberta S Atkins                      Roberta Walker Brown
4614 Ncr 1138                          3114 Cabot St                         7047 Westlake Ave
Midland, TX 79705                      Montgomery, AL 36110                  Dallas, TX 75214




Robertine Richardson Bennett           Roberto M Ramirez                     Roberto Vidaurri
9817 Clocktower Court                  11049 South Fm 1915                   PO Box 3071
Plano, TX 75025                        Buckholts, TX 76518                   Laredo, TX 78044




Roberts Bobby J                        Roberts Coffee Vending                Roberts Family Living Trust
39521 Chapellett Circle                343 Johnny Clark Road                 Forrest E Roberts Jr
Murietta, CA 92563                     Longview, TX 75603                    Carol Sue Roberts Trustees
                                                                             310 Springhouse Drive
                                                                             Aiken, SC 29803



RobertS Field Service Inc              Roberts Harbour A Professional Corp   Roberts Marian G
PO Box 34                              P O Drawer 2072                       1251 South Kansas
Granger, WY 82934                      Longview, TX 75606                    Wichita, KS 67211
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Roberts Mccall Storey                   Roberts Murphy Inc               Roberts Operating
PO Box 336                              1500 N Market Street             For J I Roberts
Nocona, TX 76255                        PO Box 7125                      PO Box 7127
                                        Shreveport, LA 71107             Shreveport, LA 71107-7127




Robertson Automotive Radiator Service   Robertson Resources Inc          Robin A Bell
415 South Palace Ave                    PO Box 9415                      2108 E 29Th Street
Tyler, TX 75702                         Midland, TX 79708                Mission, TX 78574




Robin A Blake                           Robin Ashley Marshall            Robin B Cox
114 Se Cr 3187                          7344 Royal Ak Dr                 15918 Township Glen
Corsicana, TX 75109                     Benbrook, TX 76126               Cypress, TX 77433




Robin E Lovelace                        Robin E Ritchie                  Robin Elaine Smith
277 Honeysuckle Circle                  PO Box 990                       901 Yosemite Trail
Fruita, CO 81521                        Alpine, TX 79831                 Mesquite, TX 75149




Robin Goodrich                          Robin Heath Greany Gurlitz       Robin Hood Inc
Address Redacted                        208 Spring Lane                  PO Box 2598
                                        Chapel Hill, NC 27514            Monroe, LA 71207




Robin Kaperst                           Robin L Broome                   Robin Laird Brown
16749 Port Royal Cir                    4412 Beechcliff Dr               PO Box 161474
Jupiter, FL 33477-1381                  Kingsport, TN 37664              Austin, TX 78716




Robin Landreth Bailey                   Robin Marie Pesnell              Robin Oil Gas Corp
4212 Stanford Avenue                    4337 Eldora Drive                PO Box 720420
Dallas, TX 75225                        Corpus Christi, TX 78413         Oklahoma City, OK 73172




Robin Rene Reel                         Robin Roger                      Robin Rogers
285 Private Road 3559                   c/o Texas State Treasury         5814 Rocky Ridge St
Longview, TX 75605                      Unclaimed Property Division      Dallas, TX 75241
                                        PO Box 12019
                                        Austin, TX 78711-2019



Robin Slone                             Robin Sue Edmiston Parker Teel   Robin W Hardey
PO Box 892                              403 Harper St                    1325 Hawn Ave
Quitman, TX 75783                       West Monroe, LA 71292            Shreveport, LA 71107




Robin W Moore                           Robina Way                       Robins Davis Oil Nominee
c/o Texas State Treasury                32986 Blackwell Blvd Apt F       1188 Tcf Tower
Unclaimed Property Division             Lake Elsinore, CA 92530          121 S 8Th Street
PO Box 12019                                                             Minneapolis, MN 55402-2015
Austin, TX 78711-2019
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Robinson Construction Group LLC           Robinson David F                  Robinson Phyllis
Eric Robinson                             37 Se 6 St                        3645 Cr 175
532 W 770 N                               Dania Beach, FL 33004             Gary, TX 75643
Orem, UT 84097




Robinson Royalty LLC                      Robinson Sixth Lake               Roblaw Oil And Gas L P
256 Pierremont Road                       Trust Dtd Sept 3 2011 Patrick     c/o Northern Trust Bank
Shreveport, LA 71105                      Robinson Sandra Barnard Tste      PO Box 226270
                                          29 Dairy Farm Dr                  Dallas, TX 75222-6270
                                          Brookfield, CT 06804



Robro Royalty Partners Ltd                Robt D Parrott Trste R Parrott    Robyn Blakeney
Dba Rrp 2010 Ltd                          c/o Hibernia National Bank        3317 Oxsheer Drive
PO Box 671028                             PO Box 1030                       Austin, TX 78732
Dallas, TX 75367                          Alexandria, LA 71309




Robyn Zalewa                              Roch Carter                       Rochelle Energy Ltd Prtshp
33 Baxter Road 2B                         11019 N Balsam Tree Court         PO Box 1145
Willington, CT 06279                      Mequon, WI 53092                  Cheyenne, WY 82003




Rochester Minerals Lp                     Rock Creek Land Energy Inc        Rock Fund I Ltd
P O 17728                                 4 Brookhaven Trl                  1000 Ballpark Way
Fort Worth, TX 76102                      Columbine Valley, CO 80123        Suite 216
                                                                            Arlington, TX 76011




Rock Island Resource Company I            Rock Porosity LLC                 Rock Reserves Ltd
3838 Oaklawn Suite 1216                   1000 Ballpark Way Suite 216       1000 Ballpark Way
Dallas, TX 75219                          Arlington, TX 76011               Suite 216
                                                                            Arlington, TX 76011




Rock Reserves Ltd                         Rock Springs Winlectric Co        Rock Tool Company
Department 41083                          999 1/2 Elk Street                PO Box 1906
PO Box 650823                             Rock Springs, WY 82901            Odessa, TX 79760
Dallas, TX 75265




Rock Valentine                            Rockcliff Qls Joint Venture LLC   Rockdale Federal Credit Union
Debbie Valentine                          1301 Mckinney St                  1821 W Cameron
17 Rocky Ln                               Ste 1300                          Rockdale, TX 76567
Houston, TX 77040                         Houston, TX 77010




Rocker A Operating Company                Rocker A Well Services Ltd        Rocket Services
PO Box 97                                 PO Box 97                         100 Muddy Creek Rd
Post, TX 79356                            Post, TX 79356                    Big Piney, WY 83113




Rockey Valley Missionary Baptist Church   Rockford Production Co            Rockhound Resources LLP
C/O Mattie M Harrison                     Attn Mr Charles H Perrin          3000 North Garfield Suite 175
1468 Mlk Jr Ave                           PO Box 731657                     Midland, TX 79705
Grambling, LA 71245                       Dallas, TX 75373-1657
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Rockin C Ranch                          Rockin K Services Inc                  Rocklen Dale Rogers
5300 Cr 325                             PO Box 1389                            709 Retriever Ln
Lindale, TX 75771                       Mills, WY 82644                        Mesquite, TX 75150




Rockport Oil And Gas LLC                Rockwater Rockies LLC                  Rockwater Rockies LLC
PO Box 847                              Legal Department                       PO Box 203187
Houston, TX 77001                       2800 Post Oak Blvd Suite 4500          Dept 18707
                                        Houston, TX 77056                      Dallas, TX 75320-3187




Rockwater South Tx LLC                  Rockwater West Tx LLC                  Rocky Bob Reagan
Legal Department                        PO Box 203187                          350 Leaning Tree
2800 Post Oak Blvd Suite 4500           Dept 18705                             Marble Falls, TX 78654
Houston, TX 77056                       Dallas, TX 75320-3187




Rocky Mountain Bank                     Rocky Mountain Bank                    Rocky Mountain Bit
Mark Heineken                           PO Box 938                             PO Box 817
890 W Broadway                          Jackson, WY 83001                      Moab, UT 84532
Jackson, WY 83001




Rocky Mountain Casing Crews Inc         Rocky Mountain Connections Inc         Rocky Mountain Crude Oil LLC
PO Box 3029                             202B Aspen Airport Bus Center          6130 S Elm Ct
Rock Springs, WY 82902                  Aspen, CO 81611                        Centennial, CO 80121




Rocky Mountain Exploration              Rocky Mountain Industrial Supply Inc   Rocky Mountain Inspection Inc
3765 S Hibiscus Way                     1711 English Ave                       369 East 8Th Street
Denver, CO 80237-1042                   Casper, WY 82601                       Greeley, CO 80631




Rocky Mountain Low Voltage Inc          Rocky Mountain Oil Journal             Rocky Mountain Oilfield Rentals
2990 W 29Th Street 6B                   PO Box 101388                          Ensign United States Drilling Inc Dba
Greeley, CO 80631                       Denver, CO 80250                       Brandon Tracy
                                                                               200 S 2nd Street
                                                                               Lasalle, CO 80645



Rocky Mountain Oilfield Warehouse Inc   Rocky Mountain Oilfinders Inc          Rocky Mountain Power
414 S Elm Street                        5580 N Lariat Dr                       825 NE Multnomah St
Casper, WY 82601                        Castle Rock, CO 80104-9324             Portland, OR 97232




Rocky Mountain Power                    Rocky Mountain Rod Inc                 Rocky Mountain Storage Barns Inc
PO Box 26000                            PO Box 1028                            1201 E Mulberry
Portland, OR 97256-0001                 Mills, WY 82644-1028                   Fort Collins, CO 80524




Rocky Mountain Wireline Service Inc     Rocky Mtn Water Northern Co            Rocky Road LLC
PO Box 3045                             7502 S Grant St                        c/o Steven L Wilson
Grand Juction, CO 81502                 Littleton, CO 80122-2615               Operating Mgr
                                                                               8282 S Memorial Suite 106
                                                                               Tulsa, OK 74133
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Rocky Valley Missionary Bapt Ch          Rod And Jakelynn Crawford               Rod And Tubing Services LLC
PO Box 283                               PO Box 913                              PO Box 4824
Grambling, LA 71045                      Camp Wood, TX 78833                     Bryan, TX 77805-4824




Rod J Mcdonald                           Rod Ric Drilling Lp                     Rodabaugh Kyle J
203 W Wall Suite 401W                    PO Box 1767                             Address Redacted
Midland, TX 79701                        Midland, TX 79702




Rodan Transport Usa Ltd                  Rodan Transportation Usa Ltd            Rodean King Lipscomb
PO Box 677619                            Dba Aveda Transportation Energy Srvcs   10036 Linden Lea Road
Dallas, TX 75267-7619                    Tim Clark                               Flint, TX 75762
                                         333 North Sam Houston Pkwy E Ste 1200
                                         Houston, TX 77060



Roderick Allen Markham                   Roderick Dewayne Duncan                 Roderick Hawk
1500 Broadway Ste 1212                   340 Arbor Drive                         512 Bayou
Lubbock, TX 79401                        Apartment 144                           Minden, LA 71055
                                         Ridgeland, MS 39157




Roderick Hill                            Roderick J Adams                        Roderick Maddox
PO Box 1019                              12430 Chalmette St                      6405 Indian Pond Circle
Grambling, LA 71245                      Houston, TX 77015                       Edina, MN 55439




Roderick O Carraway                      Roderick Webb                           Rodger Cunningham
17426 Via Melina                         38 Quintana Drive                       PO Box 687
San Lorenzo, CA 94580-2645               Galveston, TX 77554                     Tatum, TX 75691




Rodger Davis Or                          Rodger Glenn Hardin                     Rodgers Packers
Texas State Treasury Dept                1302 Holliday St                        PO Box 1489
Unclaimed Property Division              Plainview, TX 79072-4630                Levelland, TX 79336
PO Box 12019
Austin, TX 78711-2019



Rodney Adrion Fuqua                      Rodney Alan Whiddon                     Rodney Askin
Betty Gail Hall Fugua                    130 Fairway Dr E                        508 Brown Rd
3207 N Forty Dr                          Hideaway, TX 75771-5012                 Quitman, LA 71268
Ruston, LA 71270




Rodney Baker                             Rodney Bates                            Rodney Bourgeois
111 Lance Lot 1                          1906 Buckner Street                     Address Redacted
Victoria, TX 77904                       Longview, TX 75604




Rodney C Dennard                         Rodney Dean Gearline Dean               Rodney E Covington
5649 Williams Rd                         3126 Fm 2428                            4416 Morse Ct
Keithville, LA 71047                     Joaquin, TX 75954                       Napa, CA 94558-1730
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Rodney E Doutel                         Rodney Harris Tompkins                 Rodney Harvey
c/o United States Treasury              606 High Ridge                         Carmen Harvey
1040A Levy Proceeds PO Box 57           Friendswood, TX 77546                  PO Box 869
Bensalem, PA 19020                                                             Joaquin, TX 75954-0869




Rodney Hayward Hill                     Rodney I Nattin                        Rodney Jackson
PO Box 59521                            2424 Ashland Ave                       429 Mt Olive Road
Los Angeles, CA 90059                   Bossier City, LA 71111                 Ruston, LA 71270




Rodney Jones                            Rodney K Colvin Penny Frasier Colvin   Rodney Keith Colvin
7716 N Fourth                           259 King Louie Road                    1500 Hwy 563
Mcallen, TX 78504                       Simsboro, LA 71275                     Dubach, LA 71235




Rodney Kregg Odom                       Rodney Kujawa                          Rodney L Johnston
PO Box 1196                             PO Box 2372                            213 Bloomquist Dr
South Fork, CO 81154                    Athens, TX 75751-7372                  Bakersfield, CA 93309




Rodney Lane Roach Jr                    Rodney Lex Lambert Separate Property   Rodney M Johnson Jr Beverly K Johnson
5073 Highway 3276                       PO Box 820                             129 Katie Ln
Stonewall, LA 71078                     Joaquin, TX 75954                      Ruston, LA 71270




Rodney Michael Coy                      Rodney O Nina Williams Pace Jt         Rodney Pace
PO Box 442                              1171 Vintage Dr                        1171 Vintage Dr
Palestine, TX 75802                     Elkton, OR 97436                       Elkton, OR 97436-9725




Rodney Ray Wieding                      Rodney Simpson                         Rodney Spencer Anderson
PO Box 92                               1011 S 10Th St                         PO Box 966
Three Rivers, TX 78071                  Monroe, LA 71202                       Marshall, TX 75671




Rodney Starks                           Rodney W Dean                          Rodolfo Enrique Ramirez Jr
608 West 111 Pl                         3126 Fm 2428                           13439 Voelcker Ranch Drive
Los Angeles, CA 90044                   Joaquin, TX 75954                      San Antonio, TX 78231




Rodolfo Guajardo                        Rodriguez Backhoe Service              Roec Inc
Address Redacted                        PO Box 562                             PO Box 33440
                                        Sinton, TX 78387                       Santa Fe, NM 87594




Roel Cadena                             Roel Campos                            Roelke Family LLC
Address Redacted                        PO Box 1794                            48 Hickory Lane
                                        Freer, TX 78357                        Bedford, NH 03110
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Roemol Henry Est                      Roena Mae Stander               Rogelio Gonzalez
Peggy H Wilson Poa                    1223 E Teresa Ave               Address Redacted
300 Main St                           Sapulpa, OK 74066
Irvine, KY 40336




Rogene Margaret Roberts               Roger A Funk                    Roger Anita Balkcom
6043 E Briarwood Dr                   17691 Deer Park Loop            PO Box 94
Centennial, CO 80112                  Baker City, OR 97814            Joaquin, TX 75954-0094




Roger B Montgomery                    Roger C Catherine M Taylor      Roger C Krueger Nonexempt
PO Box 537                            PO Box 974                      Marital Trust
Seabrook, TX 77586                    Ruston, LA 71273                6208 Shadow Mountain Drive
                                                                      Austin, TX 78731




Roger D Buchan Et Ux                  Roger D King                    Roger D Oppenheim
Elizabeth M Buchan                    PO Box 87                       11619 Cherryknoll Dr
2694 Swwet Home Rd                    Redcrest, CA 95569              Houston, TX 77077
Quitman, LA 71268




Roger Dale Latham                     Roger Dale Taylor               Roger Dale Whitton Zaundra Kay Whitton
PO Box 164653                         2333 S St Paul St               849 County Road 3853
Fort Worth, TX 76161                  Indianapolis, IN 46203          Joaquin, TX 75954




Roger Darrell Richardson              Roger David Black               Roger E Casey
806 Mockingbird Ln                    36 Gramercy Park East           4759 Cavern Dr
Alvin, TX 77511                       New York, NY 10003              Friendswood, TX 77546




Roger E Schrum                        Roger Ewing Price               Roger Fleming Welder Trust
22314 Bucktrout Lane                  437 Rushmore                    Jpmorgan Chase Bank N A Ttee
Katy, TX 77449                        Baton Rouge, LA 70819           PO Box 2050
                                                                      Fort Worth, TX 76113




Roger Fleming Welder Trust            Roger G Galatas                 Roger Graham Simpson
Jpmorgan Chase Bank N A Ttee          8 W Wedgewood Glen              25 20Th Ave
PO Box 99084                          Woodlands, TX 77381             San Francisco, CA 94121
Fort Worth, TX 76199-0084




Roger Gray Mcclendon                  Roger H Fincher Jr              Roger Joseph Schwarz
PO Box 24                             8520 186Th St Sw                PO Box 450235
Wolf Creek, OR 97497-0024             Edmond, WA 98026                Laredo, TX 78045




Roger K Moore                         Roger Keane                     Roger Kuykendall
1220 Buffalo Gulch                    3901 Normandy                   104 Joan Lane
Blanco, TX 786064509                  Dallas, TX 75205                Longview, TX 75605-8016
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Roger L Beavers Inc                    Roger L Wilson                  Roger Lee Allen Et Ux
PO Box 5998                            10570 Stone Canyon Rd Apt 248   Mary Louise
Norman, OK 73070                       Dallas, TX 75230                16903 Walnut Pond Ct
                                                                       Houston, TX 77059-4008




Roger Leo Horn                         Roger Lynn Britt                Roger Mount Electric Services
736 Elkins Lk                          156 Greenleaf Mdws              710 Marauder Circle
Huntsville, TX 77340                   Rochester, NY 14612             Ore City, TX 75683




Roger Murphy                           Roger Neil Colvin               Roger Neil Cotton
407 Hills Of Texas Trails              20560 Hwy 157                   2531 Laurelcrest Dr
Georgetown, TX 78633                   Springhill, LA 71075            Memphis, TN 38133




Roger O Goza                           Roger P Jr Thalia C Wilkinson   Roger R Deborah S Stewart
PO Box 1313                            1342 Highway 3072               2297 Charlie Jones Road
Monahans, TX 79756                     Ruston, LA 71270                Grand Cane, LA 71032




Roger Randall Wiggins                  Roger Ripley                    Roger S Perkins And Martha Perkins Penn
244 Cr 125                             14 Pine Crest Circle            Route 1 Box 1588
Gary, TX 75643                         Conway, AR 72032                Plant City, FL 33566




Roger T Holly L Elliott                Roger Timms                     Roger W Burns
Family Limited Partnership             731 Raven Street                2618 E Prairie Creek Dr
3910 Tanforan Ave                      San Diego, CA 92102             Richardson, TX 75080-2676
Midland, TX 79707




Roger W Kiser M D                      Roger W Simmons                 Roger Weiss Alice Weiss Jt Ten
4430 Country Club Rd East              1413 Nantucket Dr               162 E Brookside Dr
Longview, TX 75602                     Houston, TX 77057               Larchmont, NY 10538-1737




Roger Weston Meador                    Roger Williams                  Rogers Leatrice Aycock
Box 481                                20030 Valley Mill Rd            Bobby Gene Rogers Jr
Vail, AZ 85641                         Freeland, MD 21053              5862 E Country Club Rd
                                                                       Longview, TX 75602




Rogers Minerals Limited Part           Rogers Pope And Joyce Pope      Rogers Royalty Assets Ltd
6933 W Sandpiper Way                   PO Box 3188                     1001 8Th St
Florence, AZ 85132-6114                Longview, TX 75606              Levelland, TX 79336




Rogii Inc                              Rogo Holdings LLC               Rogo Logo LLC
3050 Post Oak Blvd                     D/B/A Rogo Woodmere LLC         1301 Mckinney Street
Ste 550                                1301 Mckinney Suite 3150        Suite 3150
Houston, TX 77056                      Houston, TX 77010               Houston, TX 77010
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Rogo Woodmere LLC                     Rogue Pressure Services Ltd     Rogue Pressure Services Ltd
c/o Lefrak Energy                     118 84Th St W                   PO Box 204604
1301 Mckinney Suite 3150              Williston, ND 58801-9163        Dallas, TX 75320-4604
Houston, TX 77010




Rohrback Cosasco Systems Inc          Roisel Ramirez                  Roland B Taylor
11841 E Smith Ave                     PO Box 152620                   1002 Hearford St
Santa Fe Springs, CA 90670            Austin, TX 78715                Herndon, VA 20170




Roland Caraway Sanders                Roland Drew Howard              Roland E Mcdonald Trust
101 Buffalo Creek Rd                  2913 Singleton                  Clyde S Mccall Jr Trustee
Johnson City, TX 78636-4430           Rowlett, TX 75088               9 Glenshire Court
                                                                      Dallas, TX 75225




Roland F Carter                       Roland F Leblanc                Roland Madera
4204 Richardson Ranch Rd              301 Old Kaplan Hwy              Address Redacted
Benbrook, TX 76126                    Abbeville, LA 70510




Roland Mark Staples                   Roland Mckneely Jr              Roland Nimroy Evans Jr
310 West 200 North                    PO Box 72664                    Post Office Box 211322
Laverkin, UT 84745                    Bossier City, LA 71172          Dallas, TX 75211




Roland Sally Mcreynolds Tr            Roland T Wade Jo Willie Wade    Rolando Campos
Sally Mcreynolds Trustee              1704 N Bradford Street          2707 Ashford Trial Drive
33021 Daniel Dr                       Number W1                       Houston, TX 77082
Dana Point, CA 92629                  Gilmer, TX 75644-3120




Rolando D Benavides                   Rolla Long Jr                   Rolland Caraway Sanders Trust
Address Redacted                      6711 Belmont St                 Daisy Camille Sanders Rev Trt
                                      Houston, TX 77005-3860          Rolland C Sanders Sub Ttee
                                                                      101 Buffalo Creek Rd
                                                                      Johnson City, TX 78636



Rollin M Gerstacker Foundation        Rollin Wayne Henderson          Rolling Greens
812 W Main St                         204 North 6Th Street            2420 S Eastern Ave
Midland, MI 48640                     Sabetha, KS 66534               Commerce, CA 90040




Rollingridge Vaughan Inc              Rollingridge Vaughan Inc        Rollins M Koppel
10800 Sentinel Drive                  PO Box 17258                    PO Box 271
San Antonio, TX 78217                 San Antonio, TX 78217           Harlingen, TX 78551




Romalido Royalty LLC                  Roman C Plugge Jr               Romar Interests LLC
PO Box 796753                         10906 Fernald                   237 Clearwood Lane
Dallas, TX 75379                      Dallas, TX 75218                Shreveport, LA 71105
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Romelia Favrot                            Romelia Favrot Harris Greenwood        Romero Oilfield Service
4256 Ranch Road 1320                      4256 Ranch Road 1320                   1430 Crabb St
Johnson City, TX 78636                    Johnson City, TX 78636                 Carlsbad, NM 88220




Romessa Murphy                            Romey Carroll Simmons                  Romie S Sevier
318 Malone Road                           4008 Karnack Hwy                       902 54Th Ave
Arcadia, LA 71001                         Marshall, TX 75672                     Greeley, CO 80634




Romine Oilfield Services Inc              Romona Monzene Schion Rogers           Ron Dunbar Oil Properties
3024 George Richey Rd                     1553 W Walton R                        PO Box 2184
Gladewater, TX 75647                      Lumberton, TX 77657                    Longview, TX 75606




Ron Gibson                                Ron Jason Tuttle Trust 25146           Ron Liles
Address Redacted                          c/o Texas State Treasury               7103 Foxway Lane
                                          Unclaimed Property Division            Humble, TX 77338
                                          PO Box 12019
                                          Austin, TX 78711-2019



Ron Mcolin                                Ron Whitaker Consulting Forester LLC   Ronad Lewis Blalock
912 Charleston Drive                      PO Box 522                             PO Box 182
Bedford, TX 76022                         Arcadia, LA 71001                      Mineola, TX 75673




Ronald A Dennard                          Ronald A Kaufman                       Ronald A Newman
177 Cr 193                                Elaine Sarnoff                         824 Hewitt Drive
Gary, TX 75643                            1218 Larrabee St Apt 8                 Suite 400
                                          W Hollywood, CA 90069-2257             Waco, TX 76712




Ronald Alan Smith And Lisa Graves Smith   Ronald And Susan Stone                 Ronald Belton
3101 Bourbon St                           726 Cr 3569                            310 Ne St
Ruston, LA 71270-6693                     Joaquin, TX 75954                      Jonesboro, LA 71251




Ronald Braziel                            Ronald C Penwell                       Ronald C Winters
916 Two Moons Way                         17613 Se 291st Street                  105 Mint Ln
Ivins, UT 84738-6356                      Kent, WA 98042                         Euless, TX 76039




Ronald Capel                              Ronald Cary Slack                      Ronald Clayton Hutchison
2403 Parrot Shell Ln                      220 Double L Road                      PO Box 516
Richmond, TX 77406                        Texarkana, TX 75501                    Kirbyville, TX 75956




Ronald Clyde Nielsen                      Ronald Craig Cantrell                  Ronald Craig Madole
8065 S Turtle Creek Ln                    1513 Karen Street                      425 Southhaven Lane
Columbia, MO 65203                        Mineola, TX 75773                      Shreveport, LA 71106
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Ronald D Alicia L Webb                  Ronald D Conatser               Ronald D Dorsey
154 Fairway Drive                       PO Box 2451                     211 Ferguson Avenue
Bullard, TX 75757                       Trinity, TX 75862               Newport News, VA 23601




Ronald D Hahn                           Ronald D Hahn Tr                Ronald D Hahn Tr
2209 Fm 2235                            2209 Fm 2235                    Ronald D Hahn Ttee
Port Lavaca, TX 77979                   Port Lavaca, TX 77979           2209 Fm 2235
                                                                        Port Lavaca, TX 77979




Ronald D Mabe                           Ronald D Salmon                 Ronald David Caldwell
PO Box 33                               1900 Mimosa                     1225 Lakeview Dock Rd
Pettus, TX 78146                        Ruston, LA 71270                Bristol, TN 37620




Ronald Dee Fox                          Ronald Douglas Cathey           Ronald Douglas Cathey Member
450 Cr 303                              1359 Highway 815                Cathey Three Llc
Jarrell, TX 76537                       Simsboro, LA 71275              1359 Highway 815
                                                                        Simsboro, LA 71275




Ronald Duane Cole Sep Prop              Ronald E Bullock                Ronald E Davis
2811 Oates Dr                           4312 Estesville Rd              2641 Thurston Dr
Dallas, TX 75228                        Longview, TX 75602              Mufreesboro, TN 37129




Ronald E Durham                         Ronald E Hibbets                Ronald E Mauk
10985 Private Rd 3772                   108 Jamie Drive                 103 April Wind South
Wills Point, TX 75169                   West Monroe, LA 71292           Montgomery, TX 77356




Ronald E Miller Sr Et Ux                Ronald E Slover                 Ronald Earl Critton
Joyce Miller                            3614 Royal Rd                   9922 Cushing Dr
8550 State Highway 7                    Amarillo, TX 79109              Dallas, TX 75217
Joaquin, TX 75954




Ronald Edward Andrews                   Ronald Edward Davis             Ronald Edward Kempf
c/o James Christopher Andrews           538 Cr 3790                     5250 Town And Country Blvd Apt 7203
1157 County Road 1220                   Joaquin, TX 75954               Frisco, TX 75034-6984
Center, TX 75935-6917




Ronald Eugene Patterson                 Ronald Ford                     Ronald G Walker
1012 East Ave J 300                     10302 W 144Th Ter               617 Omega St
Lancaster, CA 93535                     Overland Park, KS 66221-7510    Longview, TX 75601




Ronald Gene Haskins                     Ronald H Thompson And           Ronald Harris
3072 Danville Road                      Peggy Hillier Thompson          1 Haven For Hope Way
Kilgore, TX 75662                       PO Box 653                      San Antonio, TX 78207
                                        Ruston, LA 71270
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Ronald Hawk                             Ronald Herbert Hargis           Ronald Horton
2148 Methodist Campe Road               901 Conrad St                   11031 Odette St
Minden, LA 71055                        Austin, TX 78758-6708           Dallas, TX 75228




Ronald J Linda S Krause                 Ronald Jack Glenn               Ronald Jeffery Madden Aka Jeffery Madden
4317 Fannin Dr                          1893 Cr 336 N                   852 Hunt Road
Irving, TX 75038                        Henderson, TX 75652             Dubach, LA 71235




Ronald Joe White                        Ronald L Allison                Ronald L Dossey
1046 Fm 21                              c/o Russ Colby                  111 Pinewood Cv
Pittsburg, TX 75686                     14003 Palawan Way 206           Holly Lake Ranch, TX 75765-7568
                                        Marina Del Rey, CA 90292




Ronald L Harper                         Ronald L Lewis                  Ronald L Lloyd
315 Granada Calle St                    1213 Accokeek Landing Drive     7276 S Elm Ct
Granbury, TX 76049-1468                 Accokeek, MD 20607              Centennial, CO 80122




Ronald L Roberts                        Ronald L Sawyer                 Ronald Lee Dowling
730 Doty Road                           PO Box 5275                     3312 Canal St
Vidor, TX 77662                         Bossier City, LA 71171-5275     Ruston, LA 71270




Ronald Lee Givens                       Ronald Lee Smiley               Ronald Leon Hardy
PO Box 96                               4506 Luella Avenue              516 Keller Drive
Grant, AL 35747                         Deer Park, TX 77536             Sidney, NE 69162




Ronald Lewis Blalock                    Ronald M Young                  Ronald Moomaw
PO Box 182                              1692 Fm 999                     PO Box 234
Mineola, TX 75673                       Gary, TX 75643                  Stewardson, IL 624630234




Ronald N Chicola Laura Guzman Chicola   Ronald Napier                   Ronald Nixon Rozelle
829 Simmons Road                        PO Box 1052                     08 Poinciana
Ruston, LA 71270                        Holliday, TX 76366              Lake Jackson, TX 77566




Ronald O Holman                         Ronald P King                   Ronald Perry Blanton
5949 Sherry Lane Suite 1700             509 Chattey Rd                  5112 West Rr 2147
Dallas, TX 75225                        De Soto, TX 75115               Horseshoe Bay, TX 78657




Ronald Persaud                          Ronald Portia King              Ronald Ralph Darlene Johnson Lennard
525 Washington Blvd                     PO Box 118                      12837 Highway 159
9th Floor                               Joaquin, TX 75954               Shongaloo, LA 71072
Jersey City, NJ 07310
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Ronald Ray Gilbert                     Ronald Raymond Martha Sheryl Edstrom   Ronald Reed Guardianship
419 East Evans                         444 Spirit Mountain Pl                 Maria Bustamante Guardian
Princeville, IL 61559                  Spearfish, SD 57783-8659               c/o Law Office Of Shawn P Hugh
                                                                              10101 Reunion Place Suite 600
                                                                              San Antonio, TX 78216



Ronald Reider Baskerville              Ronald Sannes                          Ronald Searcy Thompson
388 Pepper Drive                       N4129 County Rd Q                      236 Thompson Rd
Vallejo, CA 94590                      Waupaca, WI 549818791                  Bernice, LA 71222




Ronald Sims                            Ronald Sisco                           Ronald Thomas
PO Box 307                             Address Redacted                       7401 N Camino Sin Vacas
Bronte, TX 76933                                                              Tucson, AZ 85718




Ronald W Boorman Jr                    Ronald W Overbeek                      Ronald W Starr
805 North 4Th St                       2009 Canaveral Court                   302 Chickasaw Street
Longview, TX 75601                     Granbury, TX 76048                     Longview, TX 75605




Ronald W Williams                      Ronald Wayne Brown                     Ronald Wayne Gilmer
PO Box 2354                            6802 Mountain Wood Way                 721 Morris Rad
Midland, TX 79702                      Humble, TX 77338                       Deridder, LA 70634




Ronald Wayne Prewitt                   Ronald Wideman                         Ronald William Nixon Iii
C/O Argent Property Serv Llc           3509 Greenbrier                        1242 1/2 Peach St
PO Box 1410                            Dallas, TX 75225                       Abilene, TX 79602
Ruston, LA 71273




Ronald Williams And Glenna Williams    Ronda Guillotte                        Ronda Johnson
1146 Maple Springs Rd                  128 Frank Dr                           112 Hazel St
Longview, TX 75602                     Logansport, LA 71049                   Girard, OH 44420-1821




Ronda K Harris                         Ronda Kelly Hawkins                    Ronda Nell Merritt
9224 Shadow Crest                      4122 Hartford Drive                    7348 Sand Bar Road
College Station, TX 77845              Garland, TX 75043                      Orange, TX 77630




Ronda Nell Wood Tami Delaine Snider    Rondal Bowden Sr                       Rondal Lee Briggs
137 Cr 2791                            PO Box 296                             704 County Road 624
Carthage, TX 75633                     Grambling, LA 71245                    Beckville, TX 75631




Rondal Roy Briggs                      Rondal Wayne Shirley                   Ronee Laird
444 Cr 264                             4573 Smelley Road                      PO Box 2165
Beckville, TX 75631                    Longview, TX 75605                     Dayton, TX 775350037
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Ronnetta Eaton                         Ronni F Rancich                           Ronnie B Stone
Address Redacted                       4802 Excalibur Dr                         Post Office Box 222
                                       El Paso, TX 79902                         Joaquin, TX 75954




Ronnie Bane                            Ronnie Boren Well Service                 Ronnie Brown
1418 Greenwood Rd                      15 Harley Ct                              1410 South 49Th
Weatherford, TX 76088                  Iowa Park, TX 76367-1190                  Tacoma, WA 98408




Ronnie Dean And Matilda W Creech       Ronnie E Sue Goodson Haws                 Ronnie Fred Bell
PO Box 2553                            12027 Sleepy Pines Dri                    205 N Lamar St
Victoria, TX                           Houston, TX 77066                         Little River Academy, TX 76554




Ronnie G Hayes                         Ronnie G Hutchison                        Ronnie G Sherrod
599 Cr 118                             9034 Fm 1005                              4512 Princeton
Carthage, TX 75633                     Kirbyville, TX 75956                      Amarillo, TX 79109




Ronnie Gene Thomas                     Ronnie Griffith                           Ronnie J Wheat Or Evella G Wheat
305 Willard Rd                         PO Box 193                                1026 County Road 4221
Castor, LA 71016                       Gary, TX 75643                            Mt Pleasant, TX 75455




Ronnie Jack Mckinley                   Ronnie Jan Godwin                         Ronnie Joe Robinson
3821 Holly Ridge Drive                 929 Bob White Road                        General Delivery
Longview, TX 75604                     Longview, TX 75605                        Kemah, TX 77565-9999




Ronnie K Schafer                       Ronnie Keith Schafer                      Ronnie L Davis
PO Box 487                             Monica Jean Schafer Jt Ten                10148 Felipe Avenue
Canadian, TX 79014-0487                PO Box 487                                Montclair, CA 91763
                                       Canadian, TX 79014




Ronnie L English                       Ronnie L Fowler And Luther F Fowler Iii   Ronnie L Gibson
PO Box 221                             3900 Cypress St                           6186 Club Drive
Quitman, TX 75783                      West Monroe, LA 71291                     Gilmer, TX 75645




Ronnie Lane Morris                     Ronnie Lee Mccullin                       Ronnie Lee Pruitt
1854 Highway 822                       601 Center Park Drive                     20767 Autumn Trail
Choudrant, LA 71227-3506               Springhill, LA 71075                      Harrah, OK 73045




Ronnie P Gehring                       Ronnie Pool                               Ronnie Roger Rice
942 Farm Road 1092                     2413 Parkside                             Fiduciary For Unclaimed Funds
Stafford, TX 77477                     Garland, TX 75040                         PO Box 12019
                                                                                 Austin, TX 78711-2019
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Ronnie W Borders Ltd                      Ronnie W Simmons                Ronnie Waters Separate Prop
PO Box 548                                3362 Fm 31 N                    1107 23Rd St 708
Center, TX 75935-0548                     Deberry, TX 75639               Sacramento, CA 95816




Ronnie Woodard                            Ronny Allen King                Ronny P Harris
1932 Hwy 507                              2404 County Road 377 West       287 Cr 188
Simsboro, LA 71270                        Laneville, TX 75667             Carthage, TX 75633




Ronnys Welding                            RonS Water Evaporating Serv     Rooney Bobby Baker And
1035 Cr 3801                              910 Ridge Ave                   Ressie Carolyn Johnson Baker
Joaquin, TX 75954-3885                    Rock Springs, WY 82901          248 Hidden Acres Rd
                                                                          Arcadia, LA 71001




Roos Properties Inc                       Roosevelt Adams                 Roosevelt Allen Sep Prop
PO Box 440                                PO Box 698                      165 Sharp Road
Roff, OK 74865                            Mansfield, LA 70152             Arcadia, LA 71001




Roosevelt Brown                           Roosth 806 Ltd                  Roosth Production Company
1011 N Gregg St                           PO Box 8300                     PO Box 8300
Big Spring, TX 79720                      Tyler, TX 60196                 Tyler, TX 757118300




Rorco LLC                                 Rorie Gaines                    Rosa Costlow Cook
11300 Quail Creek Rd Apt 11               2318 Gardenia Way               6704 Cr 462 South
Oklahoma City, OK 73120-5228              National City, CA 91950         Henderson, TX 75654




Rosa Cristina Martinez                    Rosa Dale Griffin Jenson        Rosa Lea Sapp
2316 E Price Street                       1416 Detroit Street             22352 Hiway 271
Laredo, TX 78043                          El Dorado, AR 71730             Gladewater, TX 75647




Rosa Linda Serna                          Rosa M Hearne Louise Hearne     Rosa Mae Horn
1504 Rose Dr                              516 South Mayo Avenue           3331 Chaumont Cr
Alice, TX 78332                           Compton, CA 90221               Shreveport, LA 71118




Rosa Marie Harper Jones                   Rosa Marie Harper Jones Sp      Rosa Mcdaniel
Wife Of Robert Jones Cp                   1614 Longview Drive             2701 Lakeside Dr
1614 Longview Drive                       Diamond Bar, CA 91765           Mckinney, TX 75070-4023
Diamond Bar, CA 91765




Rosa Richkie Lamb                         Rosa Vidaurri                   Rosalee Burns
c/o Stephen L Lamb                        110 Indiana                     3964 Us Hwy 79 E
1515 Chippewa St                          Laredo, TX 78041                Henderson, TX 75652
Longview, TX 756054152
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Rosalie D Burkhart                         Rosalie G Moyse                 Rosalie M Everett
3616 Robertson Rd                          c/o Hermann Moyse Jr            c/o James H Everett Jr Poa
Richmond, TX 77406-8677                    PO Box 65206                    173 Grande View Parkway
                                           Baton Rouge, LA 70896           Maylene, AL 35114




Rosalie Wormser Marks Estate               Rosalin Rogers                  Rosalina G Train
William F Marks Executor                   6201 Curzon Ave                 7094 Ingalls Ct
PO Box 10577                               Fort Worth, TX 76116            Arvada, CO 80003
Corpus Christi, TX 78410




Rosalind Adams                             Rosalind Harris                 Rosalind Henderson Mustafa
413 Leisure                                2322 Avenue H Apt 2204          1240 Berry Lane
Cedar Hill, TX 75104                       Grand Prairie, TX 75050-8384    Flossmoor, IL 60422




Rosalind Louise Scott                      Rosaline Massingill Rupe        Rosaline Youngblood
233 E 17Th St                              PO Box 104                      5406 Rotan
San Bernardino, CA 92404-5059              Tyler, TX 75712                 Houston, TX 77032




Rosalyn Goldsmith Crowder                  Rosalyn M Kinnaird              Rosalyn Rutledge Alsobrook
4925 Dandridge Place                       7042 Hwy 165 N                  1400 Pr 1062
Shreveport, LA 71108                       Monroe, LA 71203                Gilmer, TX 75645




Rosalyn Swanson                            Rosamond H Liggett              Rosanna White Norton
790 Pleasant Dr                            Sharon Ruth Liggett Conry Poa   6327 Blanchard Canyon Rd
Warren, PA 16365                           Joyce Meckna Poa                Tujunga, CA 91042
                                           1055 Adams Cicle Apt 212
                                           Boulder, CO 80303



Rosanne Mitchell                           Rosbottom Production            Roscoe F Northcutt Jr
1520 W Avenue P6                           150 Pintail St                  Box 2065
Palmdale, CA 935514476                     Saint Rose, LA 70087-4024       Longview, TX 75606




Rose Klein Marias LLP                      Rose Kristopher D               Rose Ann Bryant
William M Grewe                            Address Redacted                7810 Swale Ct
877 S Victoria Ave Suite 205                                               Burleson, TX 76028
Ventura, CA 93003-6043




Rose Ann Conrad                            Rose Ann Lee                    Rose Ann Richardson
PO Box 22                                  475 Oak Ln                      20042 Little Big Horn Drive
Rosewood, MS 39156                         Chireno, TX 75937               Katy, TX 77449




Rose Capital West Little League Baseball   Rose Ella Forsythe              Rose Ellen B Bowen
PO Box 7241                                204 River Oak St                1244 Arbor Rd 233
Tyler, TX 75711                            Lufkin, TX 75901                Winston Salem, NC 27104
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Rose Ellen Cartmill                    Rose Equipment Company LLP      Rose Exploration
4703 Rawhide Ct                        PO Box 1060                     12442 W 16Th Drive
Granbury, TX 76049-7762                Levelland, TX 79336             Lakewood, CO 80215




Rose I Pressey                         Rose Lee C Franklin             Rose Lynn Kendrick
3265 Santa Fe Avenue 134               c/o Ava Coleman                 3664 Stonebrook Drive
Long Beach, CA 90183                   Rr 2 Box 87                     Norman, OK 73072
                                       Dubach, LA 71235




Rose M Anderson                        Rose M Bury                     Rose M Dial
125 Lincoln Way                        10191 Melody Dr                 PO Box 700325
Longview, TX 75603                     Northglenn, CO 80260            Dallas, TX 75370




Rose M Ezzell Trst Frost Bank          Rose Marie Crawford             Rose Marie Guzman
Trust F0504300 PO Box 1600             PO Box 532                      4425 Hamlin Drive
San Antonio, TX 78296                  Tenaha, TX 75974                Corpus Christi, TX 78411




Rose Marie Holubec                     Rose Marie P Boone              Rose Marie Strong Irrevocable Trust
4410 Mountain Peak Way                 4635 E Kensington St            7826 Cr 334 E
Kingwood, TX 773451018                 Springfield, MO 65809-3618      Henderson, TX 75652




Rose Marie Thomas                      Rose Mary Singleton Knowles     Rose Murphy
190 Old Mineral Springs Rd             105 Fuller Rd                   203 C Street
Calhoun, LA 71225-8414                 Dubach, LA 71235                Livingston, TX 77351




Rose Nichols Fuller Sp                 Rose S Slatton                  Rose Turner Dew
839 Cr 1440                            Charles Schwab Co Inc Cust      6813 Eastlake Rd
Center, TX 75935                       Ira Rollover                    Sterlington, LA 71280-3205
                                       7619 Braesdale Ln
                                       Houston, TX 77071



Rose Vasquez                           Rose Weaver Dealing In          Roseann Markham
Address Redacted                       Her Sole And Sep Prop           PO Box 22
                                       24111 Glen Lock Dr              Gladewater, TX 75647
                                       Spring, TX 77380




Rosedale Corp                          Rosella Boyett Myers            Rosella May Murphy
PO Box 1806                            1610 Glenrose                   Rr 2 Box 281 A
Shreveport, LA 71166                   Longview, TX 75604              Ruston, LA 71270




Rosellin Malakoff Maddox               Rosemarie Ann Geary             Rosemarie Porretto
428 River Mountain Drive               912 Eagles Nest Circle          7 E Dansby Dr
Boerne, TX 78006                       New Braunfels, TX 78130         Galveston, TX 77551
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Rosemary A Lafoon                    Rosemary Adams                   Rosemary Bagwell
1001 Cedar St                        408 E Neal St                    1700 Pineridge St
Crossett, AR 71635-3611              Carthage, TX 75633-1714          Longview, TX 75604




Rosemary Breed Wyss                  Rosemary Byrne                   Rosemary C Quirk Janes C Crain
2171 Rover Drive                     590 Cleveland Ave Sw Apt 8       ChildrenS Trust Partnership
Lake Havasu, AZ 86403                New Brighton, MN 55112           Dba Quirk And Crain Partnrshp
                                                                      8700 Crownhill Blvd Ste 600
                                                                      San Antonio, TX 78209



Rosemary Garner Markham              Rosemary L Stoney                Rosemary Loria Ficklin
Capital One Bank                     3323 Jenkins Dr                  336 Mcguire Road
PO Box 1589                          San Antonio, TX 78247            Simsboro, LA 71275
Gladewater, TX 756471589




Rosemary Mccall Wingate              Rosemary Napper Walker Sp        Rosemary Quirk
PO Box 269                           216 Sussex Drive                 One Towers On Park Lane
Nocona, TX 76255-0269                Monroe, LA 71203                 San Antonio, TX 78209




Rosemary R Brumfield                 Rosemary Richey                  Rosemary Santos
1604 Woodland Pl                     714 S Bennett St                 1802 Corpus Christi
Bastrop, LA 71220                    Bluffton, IN 46714               Laredo, TX 78043




Rosemary Schweizer                   Rosemary T Sedberry              Rosemary Thompson Garcia
6488 Fm 1844                         172 Lee Drive                    5875 E Dakota Ave
Gladewater, TX 75647                 Suite 3                          Fresno, CA 93727-7912
                                     Baton Rouge, LA 70808




Rosemary William Fletcher            Rosemont Energy Partners         Rosemount Inc
9846 Ellerbe Rd                      Attention Matt Culver            22737 Network Place
Shreveport, LA 71106-7610            PO Box 8813                      Chicago, IL 60673-1227
                                     Tyler, TX 75711




Rosemount Inc                        Rosen Oil And Asset Trust        Rosen Usa Inc
PO Box 730156                        5002 Thames Court                14120 Interdrive East
Dallas, TX 75373-0156                Midland, TX 79705                Houston, TX 77032




Roses Lariat                         Rosetta Duncan                   Rosetta J Bowden
427 Davis Street                     705 Independent Circle           c/o Vivian Bowden Sutton
Rawlins, WY 82301                    Ruston, LA 71270                 131 Congressional Dr
                                                                      Little Rock, AR 72210




Rosetta Resources Inc                Rosetta Resources Operating Lp   Rosewood Energy Lp
1001 NOBLE ENERGY WAY                1001 Noble Energy Way            6300 Ridglea Place Suite 100
HOUSTON, TX 77070                    Houston, TX 77070-1435           Fort Worth, TX 76116
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Rosie Coleman                            Rosie Etter Clinton Aka          Rosie J Calvin
PO Box 1043                              Rosie Etter Clinton Safford      PO Box 73949
Hodge, LA 71247                          19607 Bose Street                Metairie, LA 70033
                                         Reseda, CA 91335




Rosie Jerro                              Rosie Lee Goldsmith Hames        Rosie Lee Reynolds
108 Meadow Drive                         3011 Park Row                    PO Box 38131
Mansfield, LA 71052                      Apartment 1103                   Houston, TX 77288
                                         Dallas, TX 75215




Rosie Mae Combs Walker                   Rosie R Killen                   Rosie Reed Flanigan
1414 Hill Street                         Rt 2 Box 12                      831 Reynolds Lane
Homer, LA 71040                          Simsboro, LA 71275               Wichita Falls, TX 76301




Rosie Smith                              Rosie Walker Gipson              Rosie Yanez
PO Box 672                               PO Box 53                        5003 E Newpark Dr
Morton, TX 79346                         Arcadia, LA 71001                Houston, TX 77041




Rosieler Perry Through Poa               Rosine Blount Mcfaddin Min Trs   Rosita L Heath
Cherry Perry Brown June Perry Lee Agts   Eugene H B Mcfaddin              3002 Oak Bourne Drive
4867 Highway 563                         William E Wilson Jr Trustees     Arlington, TX 76016
Simsboro, LA 71275                       2615 Calder Ave Suite 1050
                                         Beaumont, TX 77702



Rosita Uribe                             Ross Abbey Jr                    Ross Abbey Sr Life Estate
184 Arizona Loop                         1797 Fm 2500                     1710 Chamberlain Street
Laredo, TX 78041                         Livingston, TX 77351             Houston, TX 77093




Ross Christopher Thomas                  Ross Clayton Neill Iii           Ross Davis Compton
2215 Palmer Dr                           8251 Bayou Fountain Ave Apt 3    411 N Lamar
Denton, TX 76209                         Baton Rouge, LA 70820            San Marcos, TX 78666




Ross E Caldwell                          Ross H Dabney                    Ross Hutcheson Dabney Exmpt
205 Jamie Dr                             25860 Voit Road                  Residuary Tr Uw Dtd 11/14/2007
Whitehouse, TX 75791                     Easton, MD 216015626             Charlotte G Dabney Joan Dabney
                                                                          25860 Voit Rd
                                                                          Easton, MD 21601



Ross Lacy Duran                          Ross Menefee Smith               Ross Miller
2102 Sw Sunset Dr                        2908 Quenby                      Lynn Miller Guardian
Portland, OR 972012066                   Houston, TX 77005                PO Box 7425
                                                                          Paducah, KY 42002




Ross Neill                               Ross Oil And Gas Distribution    Ross R Jester Iii
Route 3 Box 4011                         Wells Fargo Bank Sao             12019 Beaufait Ave
Crockett, TX 75835                       PO Box 41779                     Porter Ranch, CA 91326
                                         Austin, TX 78704
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Ross Ralston                             Ross Roderick Jester Trust     Ross Royalty Texas LLC
Address Redacted                         c/o Ora Dell Adams Trustee     2100 Ross Ave Ste 1870 Lb 9
                                         32091 Camino Nunez             Dallas, TX 75201
                                         Temecula, CA 92592




Ross Steven 1994 1 Acq Progam            Ross Waldrop Krape             Ross Yerger Insurance Inc
1 Park Ten Place 390                     PO Box 130787                  PO Box 1139
Houston, TX 77084                        Tyler, TX 75713                Jackson, MS 39215-1139




Rosslyn Douglas                          RossS Anchors Plus Inc         Roswell Miller
1306 W 79Th St                           318 S 6Th St                   1586 W Maggio Way Apt 1014
Los Angeles, CA 90044                    Douglas, WY 82633              Chandler, AZ 85224




Rotary Wireline Service Inc              Roth Ira Ltd                   Rothschild Investment Corp
PO Box 2735                              PO Box 1157                    311 South Wacker Drive Suite 6500
Hobbs, NM 88241-2735                     Kilgore, TX 75663              Chicago, IL 60606-6694




Rotork Controls Inc                      Rough Riders Hotshot Inc       Roughneck Lease Services Inc
Dept Ch 16919                            PO Box 784                     PO Box 296
Palatine, IL 60055-6919                  Odessa, TX 79760               White Oak, TX 75693




Round Hill Royalty Limited Partnership   Round The Clock Pest Control   Roundtop Pump Supply LLC
Woodberry Royalty Inc General            18345 Sierra Hwy 5B            PO Box 756
Partnership                              Santa Clarita, CA 91351        Mills, WY 82644
PO Box 25128
Dallas, TX 75225



Roundtop Pump Supply LLC                 Roustabout Specialties Inc     Route 66 Minerals Lp
Rhonda Devries                           789 Valley Ct                  16400 Dallas Parkway Ste 100
PO Box 143                               Grand Junction, CO 81505       Dallas, TX 75248
Thermopolis, WY 82443




Rowan Altgelt Group Lp                   Rowan Laughlin Oil Land Ltd    Rowe Energy Partners Lp
Frost Bank                               Erica Laughlin Director        3901 Greenbrier Dr
Mail Code Tx1 1310                       1614 Northwood                 Dallas, TX 75225
PO Box 1600                              Austin, TX 78703
San Antonio, TX 78296



Rowena Davis Larsen                      Rowena Ferguson Mangold        Rowland Evans Reed
3412 Kings Neck Dr                       4601 Christell Ln              2007 First View
Virginia Beach, VA 23452-5848            Houston, TX 77092              Leander, TX 78641




Rowland Lehman Et Al                     Rowland Walton Persons Jr      Rowlins National Bank
c/o Texas State Treasury                 2002 Woodmont Ave              220 5th St
Unclaimed Property Division              Austin, TX 78703               PO Box 100
PO Box 12019                                                            Rawlins, WY 82301
Austin, TX 78711-2019
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Rowoil Inc                            Rowold Legacy Inc               Roxane W Rutherford
PO Box 447                            PO Box 516                      PO Box 189
Brownsboro, TX 75756                  Tyler, TX 75710                 Leakey, TX 78873




Roxann Honeycutt                      Roxanna Clarissa Ramirez        Roy Allen Herrington Iii
215 E Ragley St Apt C3                331 Stonewood                   PO Box 1178
Henderson, TX 75654-3562              San Antonio, TX 78216           Anahuac, TX 77514




Roy Austin Hensley                    Roy Austin Smith                Roy Beal Thomas Jr
3817 Grifbrick Drive                  315 Shelbyville St              Tedd Smith John R Thomas Poa
Plano, TX 75075                       Center, TX 75935                400 Cascade Lane 403
                                                                      Rehoboth Beach, DE 19971




Roy Blair                             Roy C Bowen                     Roy C Truitt Jr
848 Fm 2034                           1225 Lujan Street               PO Box 7265
Robert Lee, TX 76945                  Santa Fe, NM 87505              Tyler, TX 75711




Roy C Williamson Jr                   Roy Chapman Sears               Roy Chester Walker
303 Veterans Airpark Ln Ste 1100      3912 8Th Street                 7440 Flatwood Drive
Midland, TX 79705-4551                Lubbock, TX 79423               Greenwood, LA 71033




Roy Chris Swint                       Roy Clayton Taylor Jr           Roy Creech
261 Frankies Ln                       755 W Cutstone Street           PO Box 233
Ashdown, AR 71822                     Oracle, AZ 85623                Logansport, LA 71049




Roy D Golston Jr Trust                Roy D Henson                    Roy D Landers
Jpmorgan Chase Bank Na                1161 Pitts Rd                   12587 Alma Street
P O Drawer 99084                      Wichita Falls, TX 76305         Tyler, TX 75704
Fort Worth, TX 76199-0084




Roy Davis Welding LLC                 Roy Dean Davis                  Roy Dean Langford
1803 Cr 3046                          19270 Hasse                     1144 State Highway 315
Center, TX 75935                      Detroit, MI 48234               Carthage, TX 75632




Roy Dee Eudy                          Roy Don Hickman                 Roy Don Mcbroom
407 Norcross                          215 Stone Ridge Dr              7317 Luther Ct
Longview, TX 75601                    Kerrville, TX 78028             North Richland Hills, TX 76180




Roy Douglas Wallace                   Roy E Jacobie Jr Estate         Roy E Nelson Sr
4417 Cr 434 N                         Hollis W Jacobie Indp Exec      123 Madden St
Henderson, TX 75652                   555 Maricopa Dr                 Simsboro, LA 71275
                                      Canyon Lake, TX 78133
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Roy E Southern Janice Lynn Southern    Roy E Turner                    Roy F Smith Jr
110 Back Forty Rd                      PO Box 266                      709 County Road 192
Arcadia, LA 71001                      Calhoun, LA 71225               Liverpool, TX 77577




Roy F Sutton                           Roy Family Trust 2 13 2010      Roy Folse
2250 Brown St Apt 110                  Susan E Roy Trustee             46 Dogwood Lake
Waxahachie, TX 75166                   16 N 702 Merriweather Lane      Texarkana, TX 75503
                                       West Dundee, IL 60118-1729




Roy Frederick Helen Davidson Baxter    Roy G Heaton                    Roy G Opal Barton
105 Nobles School Rd                   423 Champion Lake Dr            1919 North Turner
Dubach, LA 71235                       Spring, TX 77380                Hobbs, NM 88240




Roy G Opal Barton Sr Rev Tr            Roy Gaines                      Roy Gene Cheatwood Etux Jackie
Roy G Barton Jr Trstee                 2318 Gardenia Way               1199 Cr 3804
1919 N Turner St                       National City, CA 91950         Joaquin, TX 75954
Hobbs, NM 88240




Roy Gene Jerrell                       Roy Glenn Costlow               Roy H Dubitzky
107 Woodlawn Dr                        7389 Mcquire Rd                 2850 Classic Dr Unit 2814
Monroe, LA 71203                       Fenton, MI 48430-8974           Highlands Ranch, CO 80126-5089




Roy H Laird Memorial                   Roy Hawk Jr                     Roy Henry Antee Hilda Jean Smith Antee
Hospital Trust                         2148 Methodist Camp Loop        226 Rich Rd
Bankone Texas N A Trustee              Minden, LA 71055                Arcadia, LA 71001
PO Box 99084
Fort Worth, TX 76199



Roy Herrington Jr Life Estate          Roy Jackson                     Roy Jean Neal Sanders
Remainderman R Herrington Iii          186 Null Road                   4513 Quails Lane
And J Herrington                       Ruston, LA 71270                Fort Worth, TX 76119
PO Box 486
Anahuac, TX 77514



Roy Joe Abney                          Roy K Furr                      Roy Kent Westmoreland
PO Box 4524                            PO Box 59005                    2419 Peaceful Valley
Shreveport, LA 71104                   Dallas, TX 75229                Spring, TX 77373




Roy Kirk Fisher                        Roy Klingel                     Roy Knox Tyson
3857 Broadmoore Ct                     W694 Cross Road                 615 De Grummond Way
Tyler, TX 75707                        Mondovi, WI 54755-8312          Salado, TX 76571




Roy L Horton                           Roy L Taylor Deceased           Roy Lee Mcdonald
607 Judy                               Hwy 157N                        2282 Mosswood Road
Seagoville, TX 75159                   Rt 1 Box 169                    Choudrant, LA 71227
                                       Haughton, LA 71037
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Roy Linn                               Roy Lynn Cole                            Roy M Malcolm
PO Box 343                             406 11Th St Ne                           801 Anna Street
Winona, TX 75792                       Springhill, LA 71075                     Camden, AR 71701




Roy Marcom Jr                          Roy Mcallister Powell                    Roy Miller
PO Box 220                             2855 Fm 2653 N                           5413 E Loop 335 A
Laguna Beach, CA 926520220             Cumby, TX 75433                          Amarillo, TX 79118




Roy Monroe Dent                        Roy Nicholas Hearne                      Roy Nicholas Hearne Trust
109 County Road 195                    PO Box 1081                              Nationsbank Of Texas Na
Gary, TX 75643                         Kilgore, TX 75663                        Trustee Trust 3732 02 P O
                                                                                Box 840738
                                                                                Dallas, TX 75284-0738



Roy P Burris And                       Roy Pilgreen                             Roy Roberson Sep Prop
Bernice E Burris                       15027 Hwy 80                             PO Box 596
Route 9 Box 535                        Minden, LA 71055                         Jonesboro, LA 71251
Kemp, TX 75143




Roy Spinks                             Roy T Anderson Family Trust              Roy T Hunter
384 Richardson Street                  T Grant Anderson                         Unclaimed Property Division
Joaquin, TX 75954                      121 S Broadway Ave Suite 300             Austin, TX 78711
                                       Tyler, TX 75702-7258




Roy T Wiltcher                         Roy Thomas Barbara Jo Mobley Wiltcher    Roy Wall Betty W Wall
1520 Bourdeaux Dr                      1520 Bourdeaux Dr                        1902 Ashland St
Ruston, LA 71270                       Ruston, LA 71270                         Ruston, LA 71270




Roy Wayne Dowling                      Roy Weedn                                Roy Wesley Schubert
10120 Woolworth Road                   713 E Reindeer Rd                        Katherine Kay Terrell Schubert
Keithville, LA 71047                   Lancaster, TX 75146-5119                 3872 Hwy 544
                                                                                Simsboro, LA 71275




Roy Williams                           Roy Windham                              Royal Airline Linen
6310 N Lenox                           PO Box 272                               Lax In Flite
Kansas City, MO 64151                  Montegut, LA 70377                       125 N Ash Ave
                                                                                Inglewood, CA 90301




Royal Bank Of Canada                   Royal Bank Of Canada                     Royal Bank Of Canada Tr Jersey Ltd
75 Fifth St NW Suite 900               Royal Bank Plaza 9th Floor South Tower   Attn Proxy Dept/PO Box 194
Atlanta, GA 30308                      200 Bay Street                           19 21 Broad St/St Helier
                                       Toronto, ON M5J 2J5                      Channel Islands Je4 8Rr
                                       Canada                                   Jersey



Royal DutchShell plc                   Royal Energy Resources Inc               Royal Gold Inc
Shell U K Limited                      543 Bedford Avenue Suite 176             c/o Victoria Exploration Inc
Shell Centre                           Brooklyn, NY 11211                       PO Box 1079
London SE1 7NA                                                                  Denver, CO 80201-1079
United Kingdom
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Royal Resources Exploration           Royal Wholesale Electric           Royal Window Films Inc
PO Box 1079                           PO Box 14004                       1014 W Karen Pl
Denver, CO 80201                      Orange, CA 92863                   Anaheim, CA 92805-1722




Royalties Of America Marketing LLC    Royalties Unlimited Inc            Royalty Clearinghouse Ltd
PO Box 13240                          PO Box 1117                        Attn Shain Mccaig
Odessa, TX 79768                      Lubbock, TX 79408-1117             401 Congress Avenue
                                                                         Suite 1750
                                                                         Austin, TX 78701



Royalty Clearinghouse Prtner          Royalty Contractors Inc            Royalty Distributors Inc
Attn Shain Mccaig                     PO Box 98                          PO Box 24116
401 Congress Avenue                   Henderson, TX 75653                Attn Kristina Englebert
Suite 1750                                                               Tempe, AZ 85285-4116
Austin, TX 78701



Royalty Exchange Inc                  Royalty Investors Group            Royalty Program Fund LLC
PO Box 6264                           4003 Compton Dr                    800 Bering Drive Suite 250
San Antonio, TX 78209                 Midland, TX 79707                  Houston, TX 77057




Royalty Repository Ii LLC             Royce Anthony Susan Jones Graham   Royce Gresham Jenkins
Dept 1250                             961 Maize Street                   309 Pinecrest Dr
PO Box 17180                          Bossier City, LA 71111             Arcadia, LA 71001
Denver, CO 80217




Royce Macon                           Roylene Neal Bell                  Roywell Services Inc
8008 34Th St                          3310 Hoen Ave                      3040 Post Oak Blvd Ste 1450
Space 60                              Santa Rosa, CA 95405               Houston, TX 77056-6544
Lubbock, TX 79407




Rozann S Brittain                     Rozena Froadaus                    RP Oil And Gas LLC
61 W 29Th Pl 104                      5505 South Mission Rd No 13101     PO Box 364
Eugene, OR 97405-5113                 Tucson, AZ 85746                   Cimarron, KS 67835




Rp Oilfield Service Inc               Rp Services LLC                    Rpi Electrical Solutions LLC
PO Box 759                            3160 Perkins Dr                    PO Box 1333
Rock Springs, WY 82902                Grand Junction, CO 80504           Laredo, TX 78042-1333




Rpi Transformers                      Rpm Services                       Rpp Iii LLC
2472 S Santa Fe Ave Unit B            1823 Fm 999                        838 E High St Ste 265
Vista, CA 92084                       Gary, TX 75643                     Lexington, KY 40502




Rr Donnelley                          Rr Donnelley Financial Services    RR Engineering Co Inc
PO Box 932721                         Diane M Thompson                   PO Box 700005
Cleveland, OH 44193                   2001 Kirby Dr 4Th Floor            Tulsa, OK 74170-0005
                                      Houston, TX 77019
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Rs Aaa                                 Rs Machine                       RS Partnership
8900 Dicks Hill Pkwy                   13443 Excelsior Drive            c/o Shirley Birdsong
Toccoa, GA 30577                       Norwalk, CA 90640                1060 Cottonwood Circle
                                                                        Golden, CO 80401




Rs Ragsdale Iii                        Rsc Carthage LLC                 Rsg Properties Ltd
48 Legent Rd                           Louisiana Limited Liability Co   2700 Racquet Club Drive
Ft Worth, TX 76132                     Ripley S Comegys Manager         Midland, TX 79705
                                       8509 Line Avenue
                                       Shreveport, LA 71106



Rsk Transport LLC                      Rsnb Bank                        RT Communications Inc
PO Box 4266                            200 2nd St                       130 S 9Th
Corpus Christi, TX 78469               Rock Springs, WY 82901           Worland, WY 82401




RT Pacific Associates                  Rt Trucking LLC                  Rt Trust Charles N Wells
PO Box 90155                           PO Box 133                       Trustee
Long Beach, CA 90809-0155              Loco Hills, NM 88255             PO Box 88
                                                                        Livingston, TX 77351




Rt Trust A Texas Trust                 Rtm Aggregate Transport Inc      Rtm Energy LLC
Charles N Wells Trustee Fbo            PO Box 796                       PO Box 1013
Rhonda Wells Tammy Phillips            Arp, TX 75750                    Madison, MS 39130
PO Box 88
Livingston, TX 77351



Rtm Minerals LLC                       Rtr Inc                          Rtr Royalties Lp
116 Hazelwood Dr                       PO Box 2209                      PO Box 1340
Fort Worth, TX 76107                   Rock Springs, WY 82902           Hilltop Lakes, TX 77871




Ruben G Antu                           Ruben Hope Iii                   Ruben K Abney
PO Box 1632                            2026 Countryshire Ln             PO Box 1386
Boerne, TX 78006                       Richmond, TX 77406               Marshall, TX 75671-1386




Ruben R Smithwick                      Rubie Coleman Nappier            Ruby Alice Stewart
111 S Tobin Street                     827 Edwards Rd                   535 Private Road 3454
San Diego, TX 78384                    West Monroe, LA 71291            Longview, TX 75602




Ruby Ann Bailey Allred                 Ruby Ann Poole                   Ruby Atrelle Mize
370 B And B Lane                       107 Branch Creek Trail           3756 Diana Dr
Hallsville, TX 75650                   Summerville, SC 29483            Longview, TX 75605




Ruby Boren Dean                        Ruby Brown                       Ruby C Baxter Est
2125 Park Place Avenue                 613 West Grand                   By Richard Baxter Joe Baxter Exec
Fort Worth, TX 76110                   Grambling, LA 71245              c/o 302 South Throckmorton
                                                                        Kerens, TX 75144
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Ruby C Ellis Life Estate               Ruby D Davenport                Ruby Delitha Gray
150 Thelma Lane                        5959 Cherry Ridge Road          3118 Autumn Leaf Drive
Dubach, LA 71235                       Bastrop, LA 71220               Friendswood, TX 77546




Ruby Elizabeth Price                   Ruby Ellender Holleman          Ruby Evans Harris
104 Oltremari Ln                       5824 Naff Ave                   Rep By Maxine E Bond
Greenville, MS 38701                   Bastrop, LA 71220               111 W Jefferson
                                                                       Barstrop, LA 71220




Ruby F Morris                          Ruby Faulk                      Ruby Faye Brown
2049 Holly Oak Dr                      184 Pr 8432                     Sandra Brown Goodall Aif
Shreveport, LA 71118                   Joaquin, TX 75954               4811 Innsbrook Drive
                                                                       Houston, TX 77066




Ruby Faye Pierce                       Ruby Franklin Simonton          Ruby G Clark
214 Union 37                           551 Hwy 563                     1835 Tattenhall
El Dorado, AR 71730                    Dubach, LA 71235                Houston, TX 77008




Ruby G Seay 1983 Trust                 Ruby H Ellard                   Ruby Harris Brown Et Al
Dorothy Thomas B Wynne Jr              1000 Reeder Ln                  Anna Mae Brown Leblanc
PO Box 130021                          Forney, TX 75126                PO Box 557
Houston, TX 77219                                                      Grambling, LA 71245




Ruby Holt                              Ruby Jean Edwards Est           Ruby Jean Mays Russell
PO Box 613                             c/o Norma Jean Vaughn           PO Box 433
Tenaha, TX 75974-0613                  2300 Riverview Dr 143           Simsboro, LA 71275
                                       Madera, CA 93637




Ruby Jean Wilson Watson                Ruby Jewel Watson               Ruby Jewell Bounds Wise
6901 S Ada St                          927 Clearwood Drive             1353 Couchwood Road
Chicago, IL 60636-3503                 Dallas, TX 75232                Cotton Valley, LA 71018




Ruby Joan Lewis Ballew                 Ruby Joe Haight                 Ruby K Holley Peterson
10135 Lariat Ln                        PO Box 121                      314 Harvard
Shreveport, LA 71106-8307              Joaquin, TX 75954               Cloris, CA 93612




Ruby L Bolton Life Estate              Ruby L Ramey                    Ruby La Resources LLC
c/o Texas State Treasury               PO Box 412                      Attn John I Pearce Jr
Unclaimed Property Division            Mansfield, LA 71052             30 West Street 23A
PO Box 12019                                                           New York, NY 10004
Austin, TX 78711-2019



Ruby Lee Chadwick                      Ruby Lee Darden Porter          Ruby Lee Liles
Janice Jeannine Reed Guardian          1085 Foothill Drive             1203 S Evenside Ave
c/o Janice J Reed                      Banning, CA 92220               Henderson, TX 75654
3295 Susan Circle
Ingleside, TX 78362
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Ruby Lee Mullen Austin                 Ruby Lorene Cunyus Hiemenz      Ruby Lou Holder
6827 Lyndhurst Drive                   10333 Garwood Drive             16 Macedonia Road
Houston, TX 77087                      Dallas, TX 75238                Petal, MS 39465




Ruby Mae Cameron Manning               Ruby Maria Colvin Hammon        Ruby Nell Barker
6149 County Rd 103N                    170 Loblolly Ln                 9761 Spring Hill Pl
Henderson, TX 75652                    Choudrant, LA 71227             Highlands Ranch, CO 80129




Ruby Nell Eason                        Ruby Olean W Torres             Ruby Oliver
9287 Us Hwy 259 N                      2669 Mustang Road               215 Pebble Creek St
Overton, TX 75684                      Gilmer, TX 75645                Lufkin, TX 75904




Ruby R Calahan                         Ruby R Osby                     Ruby Robinson
1604 Mimosa Cir                        4721 Kildare Ave                265 Cr 150
Ruston, LA 71270                       Dallas, TX 75216                Carthage, TX 75633




Ruby Rowlett                           Ruby Ruth Ruckman               Ruby S Davis
111 West Melton Street                 7017 Manchaca Road Apt 3O       3914 Hatcher Street
Longview, TX 75602                     Austin, TX 787457802            Dallas, TX 75210




Ruby S Whitlock                        Ruby Selph Sturgis Trust        Ruby Selph Sturgis Trust
Shirley H Joiner A I F                 c/o Regions Bank Tnrre          Fbo John Jason Childs
138 Old Landfille Rd                   PO Box 57                       PO Box 57
Arcadia, LA 71101                      Shreveport, LA 71161-0057       Shreveport, LA 71161




Ruby Selph Sturgis Trust               Ruby Selph Sturgis Trust        Ruby Selph Sturgis Trust
Fbo John Jason Childs                  Fbo John Mark Sturgis           Fbo John Mark Sturgis
c/o Regions Bank Nrre Ops              c/o Regions Bank Nrre Ops       PO Box 57
PO Box 11566                           PO Box 11566                    Shreveport, LA 71161-0057
Birmingham, AL 35202                   Birmingham, AL 35202



Ruby Selph Sturgis Trust               Ruby Selph Sturgis Trust        Ruby Selph Sturgis Trust
Fbo Richard F Sturgis                  Fbo Richard F Sturgis           Fbo Thomas Christopher Childs
PO Box 57                              c/o Regions Bank                C/0 Regions Bank Nrre Ops
Shreveport, LA 71161-0057              PO Box 11566                    PO Box 11566
                                       Birmingham, AL 35202            Birmingham, AL 35202



Ruby Selph Sturgis Trust               Ruby Simon                      Ruby Smith
Fbo Thomas Christopher Childs          727 E 20Th                      8706 Wilton Place
PO Box 57                              Torrington, WY 82240            Los Angeles, CA 90047
Shreveport, LA 71161-0057




Ruby Stokes                            Ruby W Grimes                   Ruby Woodard
PO Box 44468                           PO Box 513                      Vera M Taylor Admin Of Est
Shreveport, LA 71134                   Carthage, TX 75633              1660 Newcomb Ave
                                                                       San Francisco, CA 94124
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Ruby Woodard Smith                      Rubye L Williams                      Rudelle Johnston Baker
206 Garr Road                           1301 West Grand Street                PO Box 1015
Ruston, LA 71270                        Marshall, TX 75670                    Fairfield, TX 75840




Rudi Beth Young                         Rudman Family Trust                   Rudman Mb Trust
807 Shasta St                           1700 Pacific Ave                      4700 First City Center
Sulphur, LA 70663                       Ste 4700                              1700 Pacific Avenue
                                        Dallas, TX 75201                      Dallas, TX 75201




Rudman Partnership                      Rudolph Felton Jackson                Rudolph J Robert
4700 First City Center                  John Pruitt Killan Guardian Consvtr   342 W 71st St
1700 Pacific Avenue                     415 E 12Th St Ste 400                 New York, NY 10023
Dallas, TX 75201-4670                   Kansas City, MO 64106




Rudolph Leroy Huszagh                   Rudy Family Ltd                       Rudy Lopez Regalado
PO Box 560                              PO Box 8910                           Address Redacted
Wheaton, IL 60189                       Tyler, TX 75711




Rudy William Rutenber                   Rueben Anton Bakkar                   Ruel Gene Roberson Jr
38411 5Th St W 30                       500 East Compton Blvd                 Karen Wooley Roberson
Palmdale, CA 93551                      Compton, CA 90221                     207 Katie Ln
                                                                              Ruston, LA 71270




Ruey Kunzman Arbuckle                   Ruffino Remodeling LLC                Rufino Infante Life Estate
7979 Woodway                            425 Eubanks Rd                        3000 S 1st Street Apt 720
Houston, TX 77063                       Simsboro, LA 71275                    Lufkin, TX 75901-7159




Rufino Pena Infante                     Rufus B Stinson                       Rufus J Swindell
3000 S 1st Street Apt 720               Wanda Faye Johnson Stinson            4910 Berkley
Lufkin, TX 75901-7159                   PO Box 296                            Garland, TX 75043
                                        Cotton Valley, LA 71018




Rufus Newhouse Life Estate              Rufus Sheppard Jr                     Rufus Sheppard Jr Guardian
1840 Brook Terrace Trail                1411 N 10Th St Apt 17                 F/B/O Columbus Neal
Dallas, TX 75232                        Longview, TX 75601-4773               1918 Webster
                                                                              Henderson, TX 75652




Rufus Williams                          Ruiz Jose                             Rumaldo Guerrero
c/o Texas State Treasury                Address Redacted                      PO Box 293
Unclaimed Property Division                                                   Freer, TX 78357
PO Box 12019
Austin, TX 78711-2019



Rumaldo V Guerrero Jr                   Runnels County Tax Office             Rupert B Covington
1814 Peabody Ave                        Robin Burgess Tax Ac                  20951 Highway 157
Corpus Christi, TX 78407                PO Box 517                            Springhill, LA 71075
                                        Ballinger, TX 76821
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Rupert Mecklin Estate                   Rural Electric Cooperative Inc    Rural Shade Inc
Barbara Randall Indp Exec               PO Box 609                        123 Rockhill Drive
3403 Somerton Dr                        Lindsay, OK 73052                 San Antonio, TX 78209-2219
La Porte, TX 77571




Rush Logistics Inc                      Rush Warren                       Rush Wright
3418 Hwy 6 South                        PO Box 358                        Queen St Level 4
Ste B 350                               Terlingua, TX 79852               Melbourne 3000
Houston, TX 77082                                                         Australia




Rusk Capital Management LLC             Rusk County                       Rusk County
Preston Marshall                        202 North Main Street             Lanita Whitehead Tac
7600 W Tidwell Rd Ste 800               Henderson, TX 75652               PO Box 988
Houston, TX 77040                                                         Henderson, TX 75653-0988




Rusk County Clerk                       Rusk County Commissioners Court   Rusk County Electric Coop Inc
PO Box 758                              115 N Main Ste 500 A              3162 State Highway 43 East
Henderson, TX 736530758                 Henderson, TX 75652               Henderson, TX 75652




Rusk County Electric Coop Inc           Rusk County Groundwater           Rusk County Rural Rail District
PO Box 1169                             Conservation District             400 W Main St
Henderson, TX 75653-1169                PO Box 97                         Henderson, TX 75652
                                        Henderson, TX 75653




Ruskin C Norman                         Ruskin W Brown                    Russ Mabry
337 Ridgemont                           951 Dolphin Park                  Box 528
San Antonio, TX 78209                   Jupiter, FL 33458                 Wilburton, OK 74578




Russel B Watson Iii Trust               Russell A Spencer Co              Russell A Woodard And Cynthia T Woodard
Russel B Watson Iii Trustee             7273 Lemon Gulch Way              2110 N Trenton
18422 Eastside Road                     Castle Rock, CO 80108             Ruston, LA 71270
Troup, TX 75789




Russell Alan Haygood                    Russell Averill Reed              Russell Burks
1915 M Jackson St                       385 Rosedale                      Route 1 Box 411 A
Palestine, TX 75803                     Destrehan, LA 70047               Jones, OK 73049




Russell C Ducoff                        Russell C Harper Sp               Russell C Jenkins
11845 Durrette                          5141 Hillcrest Dr                 813 East California Street
Houston, TX 77024                       Los Angeles, CA 90043             Ruston, LA 71270




Russell Craig Honeycutt P L Honeycutt   Russell D Mangham                 Russell D Renfrow
322 Chimney Rock 705                    6239 Quitman Hwy                  PO Box 521042
Tyler, TX 75703                         Quitman, LA 71268-1264            Tulsa, OK 74152
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Russell Dale Duree                      Russell Dale Worley            Russell Don Wheeler
PO Box 1932                             4303 Skyline Drive             1063 North 1st Street
Montrose, CO 814021932                  Midland, TX 79707              Coeur D Alene, ID 83814




Russell Holland                         Russell Huffman Iii            Russell Investment Management Company
7123 Kinney St                          1205 Cambridge Dr              Rimco
Houston, TX 77087-4331                  Yukon, OK 73099-3416           GPO Box 3279
                                                                       Sydney NSW 2001
                                                                       Australia



Russell J Eason                         Russell J Jordan               Russell K Neel
625 Gould Rd                            608 Bartlett Ave               PO Box 570
Berthoud, CO 80513                      Laredo, TX 78040               Scottsville, TX 75688




Russell Kiel Clark                      Russell Knox Sowell Sr         Russell Land And Timber LLC
5851 San Felipe St Ste 850              Rt 4 Box 2815                  303 Applecross Drive
Houston, TX 77057                       San Augustine, TX 75972        Franklin, TN 37064




Russell Lemons Ditching Trashing Srvc   Russell N Mcinturff Trust      Russell N Mcinturff Trust
10411 Cr 3504                           c/o Don E Mcinturff            Don E Mcinturff
Brownsboro, TX 75756                    PO Box 6618                    Pauline Likey Mcinturff
                                        Lubbock, TX 79493              PO Box 6618
                                                                       Lubbock, TX 79493



Russell P Erika Watts                   Russell P Murphy               Russell Pamela N Henry H Russell
393 Brown Rd                            1408 Larkwood Dr               714 River Birch Lane
Quitman, LA 71268                       Austin, TX 78723               Ridgeville, SC 29472




Russell Phillips Woodall                Russell Royalty Company        Russell T Rudy
1027 Quail Run                          PO Box 2018                    c/o Texas Capital Bank
Duncanville, TX 751164412               Tyler, TX 75710                PO Box 572260
                                                                       Houston, TX 77257




Russell T Rudy Energy LLC               Russell W Bailey               Russell W Smith
5701 Woodway Drive                      5010 Hwy 31 South              252 Symphony Lane
Suite 346                               Carthage, TX 75633             Shreveport, LA 71105
Houston, TX 77057-1505




Russell Wayne Bailey                    Rust Automation Controls Inc   Rust Consulting/Omni Bankruptcy
5010 Hwy 31 S                           PO Box 367                     5955 De Soto Ave Suite 100
Carthage, TX 75633                      West Jordan, UT 84084          Woodland Hills, CA 91367




Ruston Aviation LLC                     Ruston Chruch Of Christ        Ruston Clinic Company LLC
PO Box 607                              2300 Woodard                   PO Box 9214
Ruston, LA 71273-0607                   Ruston, LA 71270               Beflast, ME 04915-9214
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Rutan Tucker LLP                      Ruth Kenneth                     Ruth Anderson
611 Anton Blvd Suite 1400             Address Redacted                 3689 Mindy Ashley Lane
Costa Mesa, CA 92626                                                   Jacksonville, FL 32218




Ruth Ann Aldridge                     Ruth Ann Arnold Holland          Ruth Ann Butler Kidd
307 Meadow Lark Drive                 1607 Dove Run                    400 Highway 796
Richardson, TX 75080                  Brookshire, TX 77423             Quitman, LA 71268




Ruth Ann Crawford Trustee             Ruth Ann Jeffers Calvert         Ruth Ann Plemmons
Jennifer Michelle Crawford            PO Box 65                        336 Gainsville Road
2800 48Th Ave Ne                      Artesia, NM 88210                Marshall, TX 75672
Norman, OK 73026




Ruth B Call                           Ruth Baggs Kuhlman               Ruth Bedgood Young
1831 Lincol Way                       1305 Thomas St                   13000 Trautwein
San Francisco, CA 94122               Titusville, FL 32780             Austin, TX 78737




Ruth Bowman Russell                   Ruth Brogan                      Ruth Chapman Bishop
PO Box 12199                          12642 London Lane                146 Blazier Lane
San Antonio, TX 78212                 Palos Heights, IL 60463          West Monroe, LA 71292




Ruth Childress Murray                 Ruth Crystal                     Ruth D Roberts
1400 Aden Rd                          PO Box 4241                      c/o C Daniel Roberts
Fort Worth, TX 76116-1959             Roswell, NM 88202                PO Box 6368
                                                                       Austin, TX 78702




Ruth Doris Grant Smith                Ruth E Huffman Hanna             Ruth East Stanfield
1861 Highway 145                      2794 Hwy 167                     Box 114
Choudrant, LA 71227                   Dubach, LA 71235                 Grapeland, TX 75844




Ruth Elaine Henry                     Ruth Ellen Green Calhoun         Ruth Ellen Martin Burkle
1707 Emerson Street                   1 Elgin Plantation Rd            PO Box 27
Monroe, LA 71201                      Natchez, MS 39120                Canton, TX 75103




Ruth Ellen Sumlin Lee                 Ruth Featherston                 Ruth Fox Sears
123 Grace Lane                        PO Box 821783                    Box 1369
Ruston, LA 71270                      North Richland Hills, TX 76182   Casper, WY 82601




Ruth Fugler                           Ruth G Pickens Grandchildrens    Ruth G Prince
2507 Madewood                         Joint Venture                    3327 Highway 146
Marshall, TX 75672-7255               Wc Pickens Rh Pickens Ttees      Homer, LA 71040
                                      8111 Preston Rd Suite 800
                                      Dallas, TX 75225
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Ruth Garmon                            Ruth Gill James                  Ruth Harris Testamentary Tr
31006 Squires Way                      PO Box 11                        1
Magnolia, TX 77354                     Homer, LA 71040                  Clara Jean Hodges Trustee 35
                                                                        Palisades
                                                                        Longview, TX 75605



Ruth Hartnett                          Ruth Harvill                     Ruth Hattaway Rowland
4112 Carmel Mountain Dr                9000 Pine Meadow                 c/o Harriet R Dunn
Mckinney, TX 75070                     Pine Bluff, AR 71603             413 California Plant Rd
                                                                        Dubach, LA 71235




Ruth Haynes                            Ruth Hinds Marcum                Ruth Hoke
6118 Abington Way                      11 Palm Avenue                   c/o Terry Estes Hoke
Houston, TX 77008                      Number 223                       13402 Bella Helena Cir
                                       Yukon, OK 73099                  Cypress, TX 77429




Ruth Hunt Butler                       Ruth I Lang                      Ruth Jean Goudeau Duncan
c/o Texas Comptroller Accounts         1318 Candlelight Ln              10185 Jefferson Hwy
Unclaimed Property Division            Houston, TX 77018                Baton Rouge, LA 70809
PO Box 12019
Austin, TX 78711-2019



Ruth Joan Verhalen                     Ruth K Rose                      Ruth Karger
c/o Texas State Treasury               77100 Delgado Dr                 Charles Schwab Co Inc Cust
Unclaimed Property Division            Indian Wells, CA 92210           2929 Post Oak Blvd Apt 814
PO Box 12019                                                            Houston, TX 77056
Austin, TX 78711-2019



Ruth Knight                            Ruth Knotts Dusan                Ruth Lane Pollock Dupre
807 Hillside Drive East                606 Horger Street                4185 Bluebonnet Hilltop Dr
Seattle, WA 98112                      Newton, TX 75966                 Fort Worth, TX 76126




Ruth Lewis Separate Property           Ruth Lewis Booze                 Ruth Lewis Myles
PO Box 12019                           7727 S Stewart                   9327 Five Forks St
Austin, TX 78711                       Chicago, IL 60620                San Antonio, TX 78245




Ruth Liner Saucier                     Ruth Lynne Kilpatrick            Ruth M Brown Deceased
417 Sophia Lane                        2526 Lakeside Dr                 8532 Troup Street
Shreveport, LA 71115                   Seabrook, TX 77586               Kansas City, MO 66112




Ruth M Crawford                        Ruth M Donley Rev Living Trust   Ruth M Parker Est
Deceased                               8623 E Devonshire                c/o Commercial Bank Of Texas Tr Dept
PO Box 95                              Scottsdale, AZ 85251             PO Box 635455
Gloster, LA 71030-0095                                                  Nacogdoches, TX 75963




Ruth M Parker Estate                   Ruth M Shull                     Ruth Marie Youngblood
PO Box 635455                          218 Bird Drive                   2526 Lakeside Drive
Nacogdoches, TX 75963                  Carthage, TX 75633               Seabrook, TX 77586
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Ruth Marshall Parker                     Ruth Mead                       Ruth Meltzer Siegel
PO Box 3658                              963 South Beltline Road         2401 Surrey Drive
128 W Kerr                               Grand Prairie, TX 75051         Morgantown, WV 26505
Lufkin, TX 75904




Ruth Michelle Weaver                     Ruth N Lawrence                 Ruth O Mcleroy
3128 Carroll Circle                      Edward Lawrence Son             3308 Stonehaven Court
Plano, TX 75023                          3609 Marianne Cir               Kilgore, TX 75662
                                         Denton, TX 75647




Ruth Olvey Wadsworth Murphy              Ruth P Funk Trust               Ruth P Funk Trust
Revoc Tst Dtd 4/10/95                    Fbo Susan Coleman               Fbo William St Clair
Lauren Sarah Wadsworth Tres              Susan Coleman Ttee              William E St Clair Ttee
509 S Court St                           1230 Duchess Dr                 11 West Haven Pl
Lewisburg, WV 24901                      Mount Pleasant, NC 28124        Durham, NC 27705



Ruth Pickens Grandchildren Jv            Ruth Pierce                     Ruth Pines
Wc Rh Pickens Trustees                   1600 Short Hillsboro St         7515 Beluche Dr
8111 Preston Rd 800                      Apt A3G                         Galveston, TX 77551
Dallas, TX 75225-6316                    El Dorado, AR 71730




Ruth Pleasant                            Ruth Price Keeney Life Estate   Ruth R Ellbogen Ltd Ptnshp
6651 Jacaranda Avenue                    8602 Calviton Ct                PO Box 70
Fontana, CA 92336                        Granbury, TX 76049              Casper, WY 82602




Ruth R Ellbogen Trust                    Ruth Ramsey                     Ruth S Brown
U/A Date 8/9/94                          4615 Pearl                      2511 Manor Dr
PO Box 3280                              Nacogdoches, TX 75965           Midland, MI 48640
Ruth R Ellbogen Trustee
Casper, WY 82602-3280



Ruth S Hatfield                          Ruth S Mcclelland               Ruth S Sterling Testamentary Trust
314 Everglade Road                       4210 W Corona Street            Sicily Iconos Succ Ttee
Greensburg, PA 15601                     Tampa, FL 33629                 17 Drifting Wind Run
                                                                         The Hills, TX 786201435




Ruth Scott                               Ruth Scruggs Glisson            Ruth Starleen Pharis
3841 Marcillia Cir                       PO Box 26                       PO Box 561
Irving, TX 75038                         Lithonia, GA 30058              Livingston, TX 77351




Ruth Turner                              Ruth Victoria Rinehart Roe      Ruth Vincent Mcfarland
231 Mill St Apt 32                       6048 Crampton Drive N           2002 Shell Drive
Haynesville, LA 71038                    Keizer, OR 97303                Midland, TX 79705




Ruth W Haack                             Ruth Williams Baker             Ruthell Kelly Pugh
123 Stallion Cir                         915 Marion Ave                  183 Pugh Road
Socorro, NM 87801-4453                   Ft Worth, TX 761046013          Homer, LA 71040
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Rutherford Simmons                   Ruthette L Swift                 Ruthie Ann Roy Ellard
316 E 90Th Place                     760 Sandy Mountain Dr            112 Janis Street
Chicago, IL 60619                    Sunrise Beach, TX 78643-9256     West Monroe, LA 71292




Ruthie Crowe                         Ruthie J Roberson Miears         Ruthie Larue Owen
309 Sunshine Road                    40 Laf 2031                      200 Dominican Dr 3110
Simsboro, LA 71275                   Taylor, AR 71861                 Madison, MS 391108630




Ruthie M Jackson                     Ruthie Mae Fox                   Ruthie Neyland Scott
179 Small Rd                         3619 Gale Ave                    308 Walnut Street
Quitman, LA 71268                    Long Beach, CA 908102237         Georgetown, TX 78626




Ruthie Sparks                        Rutland Winifred Campbell        Rvs Minerals LLC
10189 Tyler Rd 280                   PO Box 775                       Margaret Alice Mcdaniel Manager
Tyler, TX 75707                      White Oak, TX 75693              PO Box 1759
                                                                      Madison, MS 39130




Rvs Minerals LLC                     Rw Norton Art Foundation         Rw Trucking
PO Box 1759                          c/o Bancorpsouth Bank Trustee    PO Box 324
Madison, MS 39130                    PO Box 52986                     Baggs, WY 82321
                                     Shreveport, LA 71118




Rwc Gs Trust                         Rwdy Inc                         Rwdy Inc
Randolph Wade Clendenen Ttee         950 Echo Lane                    950 Echo Ln Ste 200
4516 Lovers Lane Suite 247           Ste 200                          Houston, TX 77024-2822
Dallas, TX 75225                     Houston, TX 77024




Rwi Partnership Ltd                  Rwls LLC Dba Renegade Services   Rwp Trust Properties LLC
2001 Kirby Suite 610                 PO Box 862                       108 Jonesboro Road
Houston, TX 77019                    Levelland, TX 79336              West Monroe, LA 71292




Rwr Rental Inc                       Ryan Directional Services Inc    Ryan Electronics Inc
Superior Energy Services             PO Box 974550                    PO Box 189
777 Valley Ct                        Dallas, TX 75397                 Saratoga, WY 82331
Grand Junction, CO 81505




Ryan Family Tr                       Ryan Henry                       Ryan Henson
c/o Mary Gingras Ryan                10823 Burgoyne Rd                Address Redacted
10626 Fox Hound Ln                   Houston, TX 77042-2719
Fredericksburg, VA 22407




Ryan Herco Flow Solutions            Ryan Hill                        Ryan Johnson
Lockbox 631020                       PO Box 3369                      Address Redacted
PO Box 24769                         Longview, TX 75606
Seattle, WA 98124-0769
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Ryan Kuzma                               Ryan L Rigel                            Ryan LLC
Address Redacted                         204 Ellington Dr                        PO Box 848351
                                         Franklin, TN 37064-5006                 Dallas, TX 75284-8351




Ryan OByrne Harkness                     Ryan Sherwood Anthony                   Ryan Taylor Floyd
223 South Holy                           Address Redacted                        3714 S Street
Denver, CO 80246                                                                 Washington, DC 20020




Ryder Scott Company Lp                   Ryman L May And                         Rymero LLC
1100 Louisiana St                        Alyce Hooks May                         Marian Lyons Mcgoldrick Man
Suite 4600                               5633 Hwy 563                            8808 Mcgoldrick Drive
Houston, TX 77002                        Simsboro, LA 71275                      Shreveport, LA 71129




S A C Investments I Lp                   S A Cochran Jr Estate                   S A Evans Trust
670 Dona Ana Road Sw                     Carolyn Cochran Temp Admin              Anthony Earl Evans Ttee
Deming, NM 88030                         c/o PO Box 401                          3800 Indigo Drive
                                         Tyler, TX 75710                         Plano, TX 75075




S A N C Williams Trust                   S A Packard Estate                      S And C Properties
303 Cripple Creek Dr                     Frank A Packard Ind Executor            PO Box 601295
Tyler, TX 75707                          PO Box 2987                             Dallas, TX 75360
                                         Roswell, NM 88202-2987




S B F Dink Inc                           S B Partners                            S C Cameron
c/o Charles Fallin                       16728 Oketo Ave                         c/o Texas State Treasury
212 Highway 519                          Tinley Park, IL 60477-2450              Unclaimed Property Division
Arcadia, LA 71001                                                                PO Box 12019
                                                                                 Austin, TX 78711-2019



S C Operating Inc                        S C Properties                          S C Properties
PO Box 416                               1723 9th St                             c/o Jay Scott Fikes
Springhill, LA 71075                     Wichita Falls, TX 76301                 PO Box 601295
                                                                                 Dallas, TX 75360-1295




S C Properties                           S Calvin Riley                          S D Myers Inc
Jay Scott Fikes D/B/A                    2252 Miramonte Circle East              180 South Ave
PO Box 601295                            Unit F                                  Tallmadge, OH 44278
Dallas, TX 753601295                     Palm Springs, CA 92264




S D Resources Ltd                        S Davidson Herron Jr Marital            S E Cox
8144 Walnut Hill Ln Ste 1060             Tst Under Herron Family Revoc           895 Highway 815
Lockbox 64                               Trust Dtd 7/19/94 Susan M Herron Ttee   Simboro, LA 71275
Dallas, TX 75231                         19 Smith Road
                                         Rockport, MA 01966



S E Fabrications LLC                     S E International Inc                   S F Construction Inc
7065 Hwy 545                             PO Box 39                               402 St Peter Road
Arcadia, LA 71001                        Summertown, TN 38483-0039               Choudrant, LA 71227
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S F I Hotshot                            S G Cramer Trst 1                   S G Cramer Trust No 1
PO Box 163                               Chase Bk Of Texas Tr                Jp Morgan Chase Acct 3127100
Victoria, TX 77902                       c/o Jpmorgan Chase Bank Na          Po Drawer 99084
                                         PO Box 99084                        Fort Worth, TX 76199-0084
                                         Fort Worth, TX 76199-0084



S H And Ola Love Bergman                 S H Bergman                         S H Davis Company
712 North Washington                     712 North Washington                Raymond B Keating Vp
Livingston, TX 77351                     Livingston, TX 77351                PO Box 62208
                                                                             Houston, TX 77205




S Harry Bergman                          S Howard Bates                      S J Bergeron Co Inc
7429 Princedale                          10675 Highway 84                    630 West Pried Lake Rd
Tyler, TX 75703                          Mansfield, LA 71052                 Ste B No 312
                                                                             Lake Charles, LA 70601




S J Supply Company Inc                   S K Supply Inc                      S L Coleman
13105 Florance Ave                       Accelerated Production Services     PO Box 309
Santa Fe Springs, CA 90670               2002 Timberloch Place Suite 500     Judson, TX 756600309
                                         The Woodlands, TX 77380




S L Oilfield Services LLC                S L P Backhoe Services              S M Automation
Dept 840                                 A/K/A S L P Oilfield Construction   12023 Cr 2298
PO Box 4346                              PO Box 7847                         Tyler, TX 75707
Houston, TX 77210-4346                   Longview, TX 75607




S M Enterprise LLC                       S Morris Evans Jr                   S One Royalty Properties LLC
12023 Cr 2298                            2404 Grandview Dr                   PO Box 456
Tyler, TX 75707                          Plano, TX 75075                     Troup, TX 75789




S P Company                              S P Farish Jr                       S P Johnson Iii Barbara Jo
330 Marshall Street                      Childrens Oil Gas Partnership       Johnson Tr Ua Dtd 01 24 85 S P
Suite 300                                Farmers National Co Agent           Johnson Iii Barbara Johnson
Shreveport, LA 71101                     PO Box 3480 Oil And Gas Dept        PO Box 1641
                                         Omaha, NE 68103-0480                Roswell, NM 88202



S P Johnson Iv                           S P Mandell                         S P R A Jeans Living Trust
3220 Plumb St                            6335 W Nw Hwy                       Dated April 13 2013
Houston, TX 77005                        1017 The Athena                     Stephen Paul Jeans Et Al Ttees
                                         Dallas, TX 75225                    308 Cr 3686
                                                                             Joaquin, TX 75954



S R Compression LLC                      S R Smith Holdings LLC              S S C Inc
4234 South Jackson Avenue                PO Box 14373                        PO Box 1586
Tulsa, OK 74107                          Poland, OH 44514                    Lubbock, TX 79408




S S Fence                                S S Mcclendon Family LLC            S S Mcclendon Family LLC
338 Wiley Page Rd                        Farmers National Company Agent      Farmers National Company Agent
Longview, TX 75605                       PO Box 3480                         6637 Bayou Glen
                                         Oil Gas Dept                        Houston, TX 77057
                                         Omaha, NE 68103-0480
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S S Services LLC                      S T Enterprises Inc                S W Enterprises Inc
4530 Us Highway 69 N                  PO Box 826                         PO Box 39
Lufkin, TX 75904-8971                 Andrews, TX 79714                  Wink, TX 79789-0039




S W Pipe Testing LLC                  S X Callahan Iii                   S X Callahan Iii Trust
120 Alexis Drive                      PO Box 782287                      PO Box 782287
Longview, TX 75605                    San Antonio, TX 78278              San Antonio, TX 78278




S3 Pump Service                       Sa Recycling                       Sa S Tr Declaration
1918 Barton Dr                        901 New Dock Street                PO Box 6590
Shreveport, LA 71107                  San Pedro, CA 90731                Tyler, TX 75711




Sabina Debord                         Sabine Federal Credit Union        Sabine Holding Lp
404 Merriman                          1939 Strickland Dr                 Rep By Robert A Sherman
Highland Village, TX 75077-7232       Orange, TX 77630                   312 West Sabine St
                                                                         Carthage, TX 75633




Sabine Holdings Lp                    Sabine Louisiana Royalty Trust     Sabine Mud Logging Inc
312 West Sabine                       c/o Southwest Escrow AgtTtee       Sabine Rig Communications Dba
Carthage, TX 75633                    PO Box 678600                      Michael Willis
                                      Dallas, TX 75267                   PO Box 269
                                                                         Carthage, TX 75633



Sabine Mud Logging Inc                Sabine Oil Gas LLC                 Sabine Oil Gas LLC
PO Box 269                            PO Box 4273                        PO Box 670683
Carthage, TX 75633                    Msc 950                            Dallas, TX 75627
                                      Houston, TX 77210




Sabine Pipe Inc                       Sabine River Authority Of Tx       Sabine Royalty Trust
PO Box 100                            Toledo Bend Division               Southwest Bank
Kilgore, TX 75663-0100                450 Spur 135                       Escrow Agent Ttee
                                      Burkeville, TX 75932               PO Box 678600
                                                                         Dallas, TX 75267



Sabine Royalty Trust                  Sabine State Bank Trust Co         Sabine Uplift Mineral Corp
Southwest Bank Escrow Agent Ttee      Burkeville 483 State Highway 63E   Box 35
2911 Turtle Creek Blvd                Burkeville, TX 75932               Converse, LA 71419
Suite 850
Dallas, TX 75219



Sabine Uplift Mineral Corporation     Sabine Valley Pipeline LLC         Sabio Mineral Joint Venture
PO Box 35                             P O Bo X 1330                      PO Box 824206
Converse, LA 71419                    Houston, TX 77251                  Dallas, TX 75382




Sabre Expl Inc                        Sabrina Dane Nielsen Trust         Sabrina L Mazer
PO Box 4848                           27112 Bent Trail                   2716 Bell St
Wichita Falls, TX 76308               Boerne, TX 78006                   New Orleans, LA 70119-3325
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Sabrina Lorene Villarreal               Sacc                              Sachin Goyal
28376 East 10Th St                      111 Soledad Street                500 Stanton Christiana Road
Hayward, CA 94544                       Suite 150                         OPS 4 Floor 02
                                        San Antonio, TX 78205             Newark, DE 19713-2107




Sacramento Credit Union                 Sacred Heart ChildrenS Home Inc   Sadie Hogan Mckinney
800 H Street                            3310 S Zapata Highway             133 Mayweather Road
Sacramento, CA 95814                    Laredo, TX 78043                  Mansfield, LA 71052




Sadie Keevil                            Sadie Mae Crouch Bandiera         Sadie Pearl Allen Ludley Separate Prop
c/o Texas State Treasury                303 Pleasant Hill Road            PO Box 1171
Unclaimed Property Division             Plain Dealing, LA 71064           Grambling, LA 71245
PO Box 12019
Austin, TX 78711-2019



Sadie Zinsmeyer                         Sadler Myers Celestine            Safe 3 Royalty LLC
Co Tex State Treas Unclaimed            114 Happy Hollow                  100 West 12Th
PO Box 12019                            Alvin, TX 77511                   Smackover, AR 71762
Austin, TX 78711-2019




Safedrill Inspection Inc                Safeguard Technology Inc          Safety Dynamics Group
PO Box 2077                             1460 Miller Parkway               4141 Norse Way
Kilgore, TX 75663                       Streetsboro, OH 44241             Long Beach, CA 90808




Safety First                            Safety International              Safety Kleen
PO Box 59                               PO Box 201791                     PO Box 382066
Kalkaska, MI 49646                      Dallas, TX 75320-1791             Pittsburgh, PA 15250-8066




Safety Kleen                            Safety Kleen                      Safety Kleen Systems Inc
PO Box 650509                           PO Box 7170                       National Account Specialist
Dallas, TX 75265-0509                   Pasadena, CA 91109-7170           2600 N Central Expressway Suite 400
                                                                          Richardson, TX 75080




Safety Plus LLC                         Safety Solutions LLC              Safety Supply America Inc
PO Box 1308                             PO Box 1191                       520 Newport Center Dr 570
Snyder, TX 79549                        Midland, TX 79702                 Newport Beach, CA 92660




Safety Systems                          Safetyskills                      Sagacity Inc
23282 Mill Creek Drive Suite 215        519 Nw 23Rd Suite 200             202 West Lillie Boulevard
Laguna Hills, CA 92653                  Oklahoma City, OK 73103           PO Box 618
                                                                          Madill, OK 73446




Sage Technologies Inc                   Sagecrest Oil And Gas LLC         Sager Minerals Partners Lp
PO Box 1466                             c/o Gavin Robert Garrett          PO Box 803384
Grapevine, TX 76099-1466                PO Box 630                        Dallas, TX 75380
                                        Fort Worth, TX 76101
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Saint Gobain Containers Inc            Saint Gobain Containers Inc     Saint John Baptist Church
Attn Steve Watson                      Fmrly Ball Foster Glass         c/o Natalie Nelson Op 5 Loaves 2 Fish
PO Box 4200                            Attn Steve Watson               PO Box 202
Muncie, IN 47302                       PO Box 4200                     Tenaha, TX 75974
                                       Muncie, IN 47307



Saint Paul Missionary Baptist Church   Saint Vrain LLC                 Salazar Heberto J
PO Box 126                             6121 Fern Ave 95                Address Redacted
Bienville, LA 71008                    Shreveport, LA 71106




Salazar Service Trucking Corp          Sale Family Properties LLC      Salee Tyer Simonds Estate
5511 Starboard Drive                   PO Box 1365                     Walter S Simonds Ind Exec
Midland, TX 79706                      Ruston, LA 71270                124 Hughes Street
                                                                       Nacogdoches, TX 75961-5020




Salem Cemetery Assoc                   Salem United Methodist Church   Salgado Marcos
PO Box 356                             c/o Marlette Ryan Treasurer     Address Redacted
Arcadia, LA 71001                      114 Llanfair
                                       Ruston, LA 71235




Salient Capital Advisors LLC           Salinas Roberto R               Salinas Mineral Trust
101 California St 16th Floor           Address Redacted                Roberto Octavio Salinas
San Francisco, CA 94111                                                PO Box 3125
                                                                       Laredo, TX 78044




Sallie Callaway Estate                 Sallie F Miller                 Sallie Harper Helm
Sam J Callaway Iii Indp Exec           506 East 25Th Street            PO Box 1209
PO Box 824                             San Angelo, TX 76903            Easton, MD 21601-8924
Rockport, TX 78381




Sallie Harris Kendrick                 Sallie Harvey Minter            Sallie Jernigan Holiway
4545 N Lincoln Blvd                    116 Seascape Dr                 11394 Cleveland Road
Ste 106                                Port Lavaca, TX 77979           North Zulch, TX 77872
Oklahoma City, OK 73105




Sallie L Lewis                         Sallie Mcgee Lentz Trust        Sallie Nesbitt Rice
Rt 2 Box 53                            Capital One N A Trustee         9 Rue Sorbonne
Dubach, LA 71235                       PO Box 61964                    Baton Rouge, LA 70808
                                       New Orleans, LA 70161




Sallie Suvette May Moore               Sallie W Rogers                 Sallie Westmoreland Rogers
5405 B South Hayford Rd                PO Box 1028                     20085 Stites Dr
Spokane, WA 99224                      Marshall, TX 75671              Topanga, CA 90290




Sallie Wynne Mansell                   Sally A Morrison Canfield       Sally Ann Holbrook Kenneth
5646 Candlewood Dr                     3306 Se Harvey                  William Holbrook
Houston, TX 77056                      Bartlesville, OK 74006          Ttees For The Holbrook Family Tst
                                                                       407 Estralla D Oro
                                                                       Monterey, CA 93940
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Sally Ann Volz Zuck                     Sally Anne Russell Terrell      Sally B Hurwitz Estate Leslie Balis
1609 Matamoros Street                   2980 Highway 171                Betty Jacobson
Laredo, TX 78040                        Stonewall, LA 71078             Co Trustees
                                                                        4510 West Culbreath Avenue
                                                                        Tampa, FL 336094206



Sally B King                            Sally Bivins Thurtell           Sally Bodenheim Maledon
5228 88Th Street                        PO Box 2389                     100 Post Oak Drive
Lubbock, TX 79424                       Longview, TX 75606              Krugerville, TX 76227




Sally Brooks Meadows                    Sally Bullock Bradley           Sally C Holmes
1015 33Rd Street Nw                     16819 Elm Lane                  4424 N Versailles Ave
Apartment 702                           Flint, TX 75762                 Dallas, TX 75205
Washington, DC 20007




Sally C Meyer                           Sally Dawson Trust              Sally E Smoot
13136 Lomas Verdes Drive                846 Cr 266                      3768 Lakeway Court
Poway, CA 92064                         Beckville, TX 75631             Addison, TX 75001




Sally G Hosea                           Sally Gayle Griggs              Sally Givens Hanson
5671 County Road 317 South              4920 Cook Road                  10161 Thornwood Dr
Henderson, TX 75654                     Biloxi, MS 39532                Shreveport, LA 71106




Sally Gossett Barron                    Sally Hewell Brown Et Al        Sally Irene Hewell Brown
3215 Pat Drive                          2 Friendswood Drive             2 Friendswood Drive
Longview, TX 756016051                  Longview, TX 75605-8803         Longview, TX 756058803




Sally Jackson                           Sally Jane Gray                 Sally Jane Mayfield Shook
2 S 550 Gray Ave                        5625 Fairfax Dr                 c/o Austin Bank Attn
Lombard, IL 60148                       Frisco, TX 75034                PO Box 583
                                                                        Grand Saline, TX 75140




Sally Kent                              Sally L Hillis                  Sally Lefevre Trusler Shirley
PO Box 32                               30107 Briarcrest Drive          6337 Pueblo Pass
Deland, FL 32721                        Georgetown, TX 78628            San Angelo, TX 76901




Sally Lyons Wood Trust                  Sally M Griffiths               Sally Quinn Huff
730 Arcadia Street                      7227 Aberdeen Ave               500 Lybrand Street
Baton Rouge, LA 70806                   Dallas, TX 75230                Wills Point, TX 75169




Sally S Anderson                        Sally S Messer                  Sally Sample Graves Oil Gas Ltd
11919 Steppingstone                     7927 Summer Night Lane          Box 129
Houston, TX 77024                       Rosenberg, TX 77469             Ingram, TX 78025
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Sally Saul Morgan Lord                  Sally Smith Brothers             Sally Stoval White
4309 Bandice Ln                         405 Christian Ln                 PO Box 5606
Pflugerville, TX 78660                  Sidell, LA 70458                 Bryan, TX 77805




Sally Thorn Gladney                     Sally Titus Dobbie               Sally W Janak
17711 Fairhaven Gateway Dr              6470 Aberdeen Ave                PO Box 586
Cypress, TX 77433                       Dallas, TX 75230-5106            Hallettsville, TX 77964




Sally Walker Wright                     Sally Word Davis                 Sally Wynne Hunt
2317 County Rd 229D                     906 Churchill Rd                 PO Box 90516
Henderson, TX 75652                     Walterboro, SC 29488             Austin, TX 787090516




Sally Wynona Wilson                     Sally Zuniga                     Sallye Bell Talbert Garner
316 Richardson Rd                       3304 E Frost Street              1316 Artemus Dr
Calhoun, LA 71225                       Laredo, TX 78043                 Lancaster, TX 75134




Salt Creek Exploration                  Salt Creek Production Inc        Salta Pipe Co Inc
1511 Mccoy                              PO Box 1326                      PO Box 3879
Dallas, TX 75204                        Graham, TX 76450                 Abilene, TX 79604-3879




Saltel Industries Inc                   Salvador Campos                  Salvation Army
11910 Hwy 191                           PO Box 619                       Agency 12041 00
Midland, TX 79707                       San Diego, TX 78384              Ncnb Texas
                                                                         PO Box 840738
                                                                         Dallas, TX 75284



Salvation Army Of California Corp       Salzau Iii                       Salzau Vii
PO Box 840738                           2633 Mckinney Ave                2633 Mckinney Ave
Dallas, TX 75284-0738                   Ste 130 310                      Ste 130 310
                                        Dallas, TX 75204                 Dallas, TX 75204




Salzau Xv                               Sam A Winkelmann Estate          Sam B Hall Jr Estate
2633 Mckinney Ave                       Ginger Winkelmann Executrix      Becky Hall Palmer Amanda Wynn
Ste 130 310                             19814 Timberwind Lane            Sandra Bodenhamer Co Ttees
Dallas, TX 75204                        Houston, TX 77094                PO Box 2071
                                                                         Marshall, TX 75670



Sam B Hall Jr Family Trust              Sam B Husley Trustee             Sam Ben Baldwin
PO Box 2071                             Linda Johnson Husley Estate Tr   130 County Road 4282
Marshall, TX 75670                      801 Hillcrest St                 Tenaha, TX 75974
                                        Fort Worth, TX 76107




Sam Broussard Trucking Co               Sam Broussard Trucking Co Inc    Sam D Winegrad
PO Box 11507                            Matt Zaunbrecher                 4551 Preserve Pkwy North
New Iberia, LA 70562-1507               2014 Jane Street                 Greenwood Vilage, CO 80121
                                        New Iberia, LA 70563
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Sam E Fulco Jr                          Sam E Mchard                           Sam E Rose
493 Spring Creek Rd                     2200 Willowick Road                    77100 Delgado Drive
Haughton, LA 71037                      Apartment 14D                          Indian Wells, CA 92210
                                        Houston, TX 77027




Sam Edward Everett Chappel              Sam Fowler                             Sam H Allen
5931 Old Memory Lane                    7080 Millrun Road                      1520 S Main Street
San Diego, CA 92114                     Athens, TX 75751-9046                  Suite 102
                                                                               Boerne, TX 78006




Sam H Stacy Jr                          Sam Houston Electric Cooperative Inc   Sam Houston Electric Cooperative Inc
8115 Sharp Crest Lane                   1157 E Church St                       PO Box 426
Houston, TX 77036                       Livingston, TX 77351                   Livingston, TX 77351-008




Sam J Brown                             Sam J Brown Company LLC                Sam K Pitts Jr
1006 Hunter Creek Way                   1006 Hunters Creek Way                 1400 El Camino Village Dr
Hockley, TX 77447                       Hockley, TX 77447                      Houston, TX 77058




Sam L Allison                           Sam L Pfiester 2006 Trust              Sam L Smart Plumbing Electric Co Inc
1350 Us Highway 79                      Sam L Pfiester Trustee                 2015 2nd St
Carthage, TX 75633                      PO Box 688                             PO Box 60
                                        Georgetown, TX 78627                   Arcadia, LA 71001




Sam M Bissic Jr                         Sam M Sledge                           Sam Mack Trust
c/o Andraenette B Davis                 5421 Benbridge Drive                   6 Thorntree
1750 Tech Farm Road                     Fort Worth, TX 76107                   Longview, TX 75601
Ruston, LA 71270




Sam Miller                              Sam Moore                              Sam Morrell Bissic
2832 Coventry Way                       3 Olympic Circle                       1006 Eastline Avenue
Sarasota, FL 34231                      Abilene, TX 79606                      Ruston, LA 71270




Sam P Hooper                            Sam P Hooper Jr                        Sam P Hooper Sr
Mary Beth Hooper                        343 Country Rd 2766                    3101 U S Highway 84 East
3101 Hwy 84E                            Mineola, TX 75773                      Tenaha, TX 75974
Tenaha, TX 75974




Sam P Hooper Sr And Mary B Hooper H/W   Sam R Dillard                          Sam Reeves Nancy Reeves
3101 U S Highway 84 East                2803 U S Highway 79                    PO Box 209
Tenaha, TX 75974                        Carthage, TX 75633                     Arcadia, LA 71001




Sam T Bracken                           Sam V Guerin Jr                        Sam W Dean
PO Box 8029                             8924 Waterchase Circle                 PO Box 37
Tyler, TX 75711                         Fort Worth, TX 76120                   New Boston, TX 75570-0037
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Sam Wood Boone Jr                      Samantha Andrada                    Samantha Ann Ginn
3715 Nw 39Th                           222 Sandpiper Courts                387 Goodgoin Road
Gainesville, FL 32600                  Novato, CA 94949                    Ruston, LA 71270




Samantha Anne Porter                   Samantha C Mcgehee                  Samantha Coleman Bradley
3703 47Th St Ct Nw                     2000 E Arapaho Rd 3102              1390 Fm 3129 S
Gig Harbor, WA 98335                   Richardson, TX 75081                Bloomburg, TX 75556




Samantha J Kauffman                    Samantha Jones                      Samantha Lacour Williams
638 Anns Court                         Address Redacted                    109 Appomatox Parkway
Asheboro, NC 27205                                                         Carencro, LA 70520




Samantha Lord Spence                   Samantha M Ellison                  Samaria A Robinson
1808 Vassar Drive                      PO Box 13078                        114 Lilac Street
Richardson, TX 75081                   Longview, TX 75607                  West Monroe, LA 71292




Samaro Inc                             Sambuca Catering Inc                Samco Enterprises Inc
2147 Mitcham Orchard Road              Crystal Ballroom                    PO Box 60829
Ruston, LA 71270                       Attn Jamie Purpera                  Houston, TX 77205
                                       909 Texas Ave
                                       Houston, TX 77002



Sammie B Lane                          Sammie Davis                        Sammie F Waltman
PO Box 849                             9205 Ga Highway 15 S                PO Box 66
Brownwood, TX 76804                    Harrison, GA 31035                  South Shore, KY 41175




Sammie Joe And Cynthia Jedlicka        Sammie Kay Burnett Whitehead        Sammie Kevin And Dana Hamblin Creech
9552 Fm 1388                           1309 Jacksonville Dr                Route 2 Box 1255
Scurry, TX 75158                       Henderson, TX 75654                 Ruston, LA 71270




Sammie L Howell Jr                     Sammie Lee Gibson                   Sammie Lou Jones Sitton
198 Bent Tree Loop                     Juanita Bruns Poa                   4623 Park Trail Lane
Haughton, LA 71037-9085                3741 Waller Ave                     Pasadene, TX 77505
                                       Richmond, CA 94804




Sammo LLC                              Sammo Partnership                   Sammy C Byrd
PO Box 1607                            7717 Creswell Rd                    1501 Mondy Rd
Shreveport, LA 71165                   38 Lake Pl                          Ruston, LA 71270
                                       Shreveport, LA 71106




Sammy Fleming                          Sammy H Tillison Paula A Tillison   Sammy Howard May
6543 Pinewood                          7593 Highway 259 South              133 May Drive
Gilmer, TX 75644                       Henderson, TX 75654                 Center, TX 75935
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Sammy Joe Reel                        Sammy K Stephenson              Sammy Keith Harris And Judy Marie Harris
285 Private Road 3559                 982 Fm 1970                     111 Town East Road
Longview, TX 75605                    Carthage, TX 75633              Henderson, TX 75654




Sammy L Rich                          Sammy R May                     Sammye Brown
3615 Ave A                            101 Copperwood Loop             202 Mcclendon Lane
Nederland, TX 77627                   Lufkin, TX 75901                Longview, TX 75605




Sammye Price                          Samora Jones Bracely            Sampco LLC
3422 Huntington Cir                   2301 N Fairview St              PO Box 69
Nacogdoches, TX 75965                 Apt F                           Calhoun, LA 71225
                                      Burbank, CA 91504




Sample Grandchildren Trst 1992        SamS Club                       SamS Office Equipment
PO Box 1912                           PO Box 9001907                  2318 Old Henderson hwy
Longview, TX 75606                    Louisville, KY 402901907        Tyler, TX 75702




SamS Oil Country Inspection           Samson Contour Energy EP Inc    Samson Contour Energy EP LLC
PO Box 2166                           PO Box 974026                   PO Box 21035
Kilgore, TX 75663                     Dallas, TX 75397-4026           Tulsa, OK 74121




Samson Exploration Company            Samson Exploration LLC          Samson Exploration LLC
Samson Plaza                          PO Box 1709                     PO Box 731704
Two West Second Street                Tulsa, OK 74101-1709            Dallas, TX 75373-1704
Tulsa, OK 74103




Samson Exploration LLC                Samson Kelley Operating Co      Samson Lone Star Limited Partnership
PO Box 731705                         PO Box 21035                    PO Box 972300
Dallas, TX 75373-1705                 Tulsa, OK 74121                 Dallas, TX 75397-2300




Samson Lone Star LLC                  Samson Oil Gas Usa Inc          Samson Resources Company
PO Box 972297                         1331 17Th Street                PO Box 21022
Dallas, TX 75397-2297                 Suite 710                       Tulsa, OK 74121
                                      Denver, CO 80202




Samson Resources Company              Samuel A Kalmbach               Samuel A Maxey
PO Box 972282                         706 Wilder Pl                   2604 Waterford Dr
Dallas, TX 75397-2282                 Shreveport, LA 71104            Irving, TX 75063




Samuel A Woodward                     Samuel Allen Evans              Samuel B Tompkins
2103 Upham Place                      3800 Indigo Drive               PO Box 429
Mobile, AL 36607                      Plano, TX 75075                 Carthage, TX 75631
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Samuel B White                         Samuel C Murray Jr              Samuel Calvin Riley Trust Dated 04 29 10
PO Box 1128                            PO Box 1472                     Samuel Calvin Riley Ttee
Ruston, LA 77267                       Tomball, TX 77375               2252 Miramonte Circle East F
                                                                       Palm Springs, CA 92264




Samuel Cothran Trust                   Samuel Crabb                    Samuel Daniel Mcguire
329 Champion Dr                        22903 Roberts Run               903 Nella St
Georgetown, TX 78628                   Katy, TX 77494                  Minden, LA 71055




Samuel Donna Newsom Trust              Samuel E Kelly                  Samuel Edward Boynes
PO Box 50289                           1417 S Ewing Avenue             3510 S Rhodes Ave
Henderson, NV 89016-0289               St Louis, MO 63104              Chicago, IL 60653




Samuel Edward Spearman Et Ux           Samuel Edwin May Sheryl M May   Samuel Engineering Inc
Irene Willis Spearman                  6933 Heatherknoll Dr            8450 East Crescent Parkway
459 Mt Olive Road                      Dallas, TX 75248                Suite 200
Ruston, LA 71270                                                       Greenwood Village, CO 80111




Samuel F Bean Md                       Samuel F Wheat Et Ux            Samuel Hicks
Charles Schwab Co Inc Cust             Patti F Wheat                   139 Longfellow
Ira Contributory                       1378 Mitcham Orchard Road       Alexandria, LA 71302
4017 Meadow Lake Ln                    Ruston, LA 71270
Houston, TX 77027



Samuel J Knighten                      Samuel J Weiss                  Samuel J Williams
1079 Highway 846                       Seymour Weiss Trust Fbo         24221 Hillhurst Drive
Columbia, LA 71418                     Bank One La Na Trustee          West Hills, CA 91307
                                       P O Drawer 99084
                                       Fort Worth, TX 76199



Samuel J Wood Jr                       Samuel Jason Odom               Samuel Jason Odom Jr
2116 Rigsbee Dr                        2078 County Rd 441              PO Box 721
Plano, TX 75074                        Joaquin, TX 75954               Joaquin, TX 785954




Samuel Jasper Talbot                   Samuel Kenneth Huffman Jr       Samuel Kenneth Huffman Iii
PO Box 345                             2939 Alpine Road                5328 Collinwood Avenue
Shreveport, LA 71162                   Longview, TX 75605              Fort Worth, TX 76107




Samuel L Ledbetter                     Samuel L Pfiester               Samuel L Smith
241 Dogwood Dr                         PO Box 688                      PO Box 75
Jonesboro, LA 71251                    Georgetown, TX 78657            Idaho Springs, CO 80452




Samuel Lee Ensley                      Samuel Lewis Knox               Samuel Lindsey Wolf
6117 Tracy Ave                         13 3481 Hookupu St              PO Box 869
Kansas City, MO 64130-3615             Pahoa, HI 96778                 Tyler, TX 75710
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Samuel M Moore                          Samuel P Jones Or TX State Treas Dept   Samuel R Newsom Iii
812 Walter St Se                        Unclaimed Property Division             PO Box 50289
Albuquerque, NM 87102                   PO Box 12019                            Hederson, NV 99016
                                        Austin, TX 78711-2019




Samuel S Sullivan                       Samuel T Becker                         Samuel T Richards Deobra Sisk Richards
1904 Buccaneer Drive                    5502 91st Street                        5642 Highway 563
Longview, TX 75604                      Lubbock, TX 79424                       Simsboro, LA 71275




Samuel W Fader Jr                       Samuel W Humphreys                      Samuel W King
9 Ledgewood Dr                          13 Kensington Gate                      3019 Bruxelles
Dover, MA 02030                         London W8 5NA                           New Orleans, LA 70119
                                        United Kingdom




San Angelo Electric Motor               San Angelo Oilfield Services            San Antonio Area Foundation
236 E 5Th Street                        3619 Sprague St                         Block Frost Bank Mgmt Agent
San Angelo, TX 76903                    San Angelo, TX 76903                    Account Fc22103
                                                                                PO Box 1600
                                                                                San Antonio, TX 78296



San Antonio Fed Credit Union            San Diego Firefighters Fed Cu           San Fermin Holdings LLC
PO Box 1356                             4926 La Cuenta Dr                       109 Fountain Valley Court
San Antonio, TX 78295-1356              San Diego, CA 92124                     Longview, TX 75605




San Juanita Martina B Ramirez           San Lorelle Inc                         San Luis Valley Federal Bank
9026 Bowline                            7730 Tophill Ln                         401 Edison Ave
San Antonio, TX 78242                   Dallas, TX 75248                        Alamosa, CO 81101




San Patricio Electric Coop Inc          San Patricio Electric Coop Inc          San Pedro Bay Pipeline Company
402 E Sinton St                         PO Box 360                              111 West Ocean Blvd Ste 1240
Sinton, TX 78387                        San Antonio, TX 78292-0360              Long Beach, CA 90802




San Pedro Bay Pipeline Company          San Saba Royalty Company LLC            Sanchez Johnny
500 Dallas Street                       4925 Greenville Avenue                  Address Redacted
Suite 1800                              Suite 500
Houston, TX 77002                       Dallas, TX 75206




Sanchez Energy Corporation              Sanchez Spousal Trust                   Sand Hill Foundation
1000 Main St 3000                       Alicia M Sanchez Trustee                PO Box 1661
Houston, TX 77002                       PO Box 2986                             Center, TX 75935
                                        Laredo, TX 78044




Sand Pebble Oil And Gas LLC             Sanda Ellen Treece                      Sanders James M
PO Box 30608                            824 Eagle Point Dr                      Address Redacted
Edmond, OK 73003                        St Augustine, FL 32092
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Sanders Fowler Iii                      Sanders Morris Harris Inc               Sandford Oil Co Inc
300 Pierremont Rd Unit 22               600 Travis Suite 5900                   PO Box 660
Shreveport, LA 711062235                Houston, TX 77002-3003                  Decatur, TX 76234




Sandia Drilling Co Ltd LLP              Sandia Laboratory Federal Cu            Sandifer Interests LLC
PO Box 5837                             39 S Livermore Ave 101                  67 Colony Bend
Bossier City, LA 711715837              Livermore, CA 94550                     Shreveport, LA 71115




Sandra A Frost                          Sandra A Herzik                         Sandra A Rifkin Life Estate
301 Byron Nelson                        1 Kent Falls Dr                         4539 Luxemburg Court 303
Unit 3                                  San Antonio, TX 78248                   Lake Worth, FL 33467
Mcallen, TX 78503




Sandra A Small                          Sandra A Wilson                         Sandra Adams Wilson
PO Box 10084                            4574 Fm 1223                            6981 Magnolia St Unit 8
Longview, TX 75608                      San Angelo, TX 769057417                Greenwood, LA 71033-2989




Sandra And Alvin J Merchant             Sandra B Weeke                          Sandra Baker Burns Rev Trust
71 Cr 1442                              917 Avenida Estrellita Ne               Sandra Baker Burns Trustee
Bagota, TX 75417                        Albuquerque, NM 87110                   14001 Longtree Drive
                                                                                Little Rock, AR 72212




Sandra Barrios                          Sandra Bass Irrevo Spendthrift Trust    Sandra Beck
616 Tenth St                            James E Paxton John A                   1556 Warwick Dr
Lockport, LA 70374                      Hendrix Jr And Alyssa Oliver Co Ttees   Lancaster, TX 75134
                                        PO Box 627
                                        St Joseph, LA 71366



Sandra Bobbitt Knotts                   Sandra Boone Dossett                    Sandra Brownlow
1459 Keyser Ave                         PO Box 8                                816 Fm 1970 North
Natchitoches, LA 71457                  Laneville, TX 75606                     Timpson, TX 75975




Sandra Burrow Gibson                    Sandra C Mack                           Sandra C Perkins
1614 Clear Brook Circle                 153 Hunter Dr                           901 Longmire Road 58
Henderson, TX 75654                     Cedar Hill, TX 75104                    Conroe, TX 77304




Sandra C Wallace                        Sandra Cagle                            Sandra Carol Fischer
Address Redacted                        c/o Munsch Hardt Kopf Harr P C          4680 W Mineral Dr Unit 1011
                                        Nolan C Knight                          Littleton, CO 80128-2593
                                        500 N Akard Street Suite 3800
                                        Dallas, TX 75201-6659



Sandra Cary                             Sandra Chappell Brownell                Sandra Cheryl Apostolo
205 Johnson Drive                       3 Fairbairin Crescent                   289 Apple Valley Dr
Henderson, TX 75652                     Bowmanville, ON L1C 4K9                 Conroe, TX 77304-1290
                                        Canada
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Sandra Cole Sues                     Sandra Cook                     Sandra Crank Taylor Special
295 Cooks Point Road                 3831 Turtle Creek Blvd 22 E     Marital Trust
Boyce, LA 71409                      Dallas, TX 75219                1100 E Amherst Street
                                                                     Tyler, TX 75701




Sandra D Krisko                      Sandra Dillard Clem             Sandra Dilworth Trust
2762 S Peninsula Dr                  2131 Stonehenge Dr              Raymond James Trust N A
Daytona Beach, FL 32118              Garland, TX 75041-2616          880 Carillon Parkway
                                                                     PO Box 14407
                                                                     St Petersburg, FL 337334407



Sandra E Mclennan                    Sandra E Smith                  Sandra Ellen Hood
1304 Nw 85 St                        2126 Mossy Trail Drive          16218 Morning Mist
Oklahoma City, OK 73114              Katy, TX 77450                  Houston, TX 77090




Sandra Ellis Hogg                    Sandra Evans Hebert             Sandra F Goldsby
1513 Mitcham Orchard Road            13452 Natchez Ct                206 Park Place
Ruston, LA 71270                     Baton Rouge, LA 70810           Marshall, TX 75672




Sandra Finley Smith                  Sandra Foster Morrison          Sandra G Haueter
Rr 7 Box 5800                        977 Seminole Trail Pmb 359      3236 Bending Oak Dr
Nacogdoches, TX 75961                Charlottesville, VA 22901       Plant City, FL 33563-7481




Sandra G Jackson                     Sandra G Judd                   Sandra Gail Mallard
1405 Ridge Drive                     Unit 301 15290 18Th Avenue      1408 Pope Street
West Monroe, LA 71292                Surrey, BC V3S 9V2              Henderson, TX 75652-6140
                                     Canada




Sandra Gail Mason                    Sandra Gay Powers Rimsky        Sandra Gayle Simpson Kinder
PO Box 1534                          351 Pr 5081                     330 W Shore Dr
Nashville, AR 71852                  Carthage, TX 75633              Alexandria, LA 71301




Sandra Godwin                        Sandra H Bonds P L Honeycutt    Sandra Hale Blacknell
6044 Red Mason Road                  6 Gemsbuck Isle                 4525 Potrero Avenue
Longview, TX 75605                   San Antonio, TX 78258           Richmond, CA 94804




Sandra Hall Bodenhamer               Sandra Hardy Talley             Sandra Hatchett Buswell
Po Drawer M                          107 Bolling Dr                  18937 E Ithaca Dr
Marshall, TX 75671                   Homer, LA 71040                 Aurora, CO 80013-5412




Sandra Hatfield OBrien               Sandra Hayes Howington          Sandra Hill
33 Waterside Dr                      264 Katie Lane                  8537 Regent St
Morgantown, WV 26508-2997            Minden, LA 71055                Jonesboro, GA 30238
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Sandra Horne                              Sandra Huddleston              Sandra Hupp
1464 Myrtle Avenue                        14807 Bridie Bend Drive        3017 Corith Road
Long Beach, CA 90813                      Houston, TX 77084              Nashville, AR 71852




Sandra J Crawford                         Sandra J Uhl                   Sandra Jacobs Smith
4661 E Outer Dr Apt 113                   8359 Rimline                   743 Monrovia Street
Detroit, MI 48234                         San Antonio, TX 78251          Shreveport, LA 71106




Sandra Jean Mitchell                      Sandra Jean Strother Mclean    Sandra Jeanne Gibbs
365 Cr 193                                Sandra Jean Mclean             1184 Hall Road
Gary, TX 75643                            4806 Chad Drive                Logansport, LA 71049
                                          Tyler, TX 75703




Sandra June Miller Est                    Sandra K Eckhoff Walker        Sandra K Hamilton
Raymond F Miller Indpt Exec               420 Autumnwood                 367 Ridgewood Dr
PO Box 2512                               Jefferson, TX 75657            Magnolia, TX 77355
Longview, TX 75606




Sandra K Orms Bennett                     Sandra K Owens                 Sandra K Williamson
16017 County Road 196                     48 Red Bird Lane               560 Dunmoreland Drive
Tylelr, TX 75703                          Huntsville, TX 77340           Shreveport, LA 71106




Sandra Kay Ballard                        Sandra Kay Childress           Sandra Kay Crawford Davis
1381 Cr 425                               2582 Us Highway 84E            PO Box 3911
Tenaha, TX 75974                          Tenaha, TX 75974               San Angelo, TX 76902




Sandra Kay Morrison Ross                  Sandra Kay Ogden Caldwell      Sandra Kaye Mcgovern
3317 Bedford Way                          1920 Highway 148               PO Box 464
The Villages, FL 32162                    Ruston, LA 71270               Glendive, MT 59330




Sandra L Perryman Valerio Rev Living Tr   Sandra L Scholz                Sandra Laurene Pearson
Sandra L Perryman Trustee                 1822 Wallin Loop               4202 Peacock Court
2839 Curtis Dr                            Round Rock, TX 78664           Rolling Meadows, IL 60008
Tyler, TX 75701




Sandra Lester                             Sandra Lewis Hudson            Sandra Liddle
4639 Rosehill Rd 2                        PO Box 360                     PO Box 470381
Garland, TX 75043                         Grambling, LA 71245            Fort Worth, TX 76147




Sandra Lynn Jeans Gray                    Sandra M Castro                Sandra M Dobbins
1724 Fm 3082                              33 Abbey Ln Apt 206            13315 Brandywyne Ct
Joaquin, TX 75954                         Delray Beach, FL 33446-1740    Houston, TX 77077
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Sandra M Kirtley                       Sandra M Ortiz                  Sandra M Peters
PO Box 174                             1917 East Stewart Street        204 Lake Ridge Dr
Vero Beach, FL 32961                   Laredo, TX 78043                Seguin, TX 78155




Sandra M Robertson                     Sandra M Tocalino               Sandra Mason
25 Stonehaven Dr Apt 201               457 East Barker Blvd            PO Box 1534
South Weymouth, MA 02190-3954          Big Bear City, CA 92314         Nashville, AR 71852




Sandra Mathewes Mckneely               Sandra Mccrory Lang             Sandra Mcdaniel
1112 Wedgewood Drive                   10965 Belle Cour Way            16017 County Road 196
Ruston, LA 71270                       Shreveport, LA 71106            Tyler, TX 75703-7101




Sandra Michelle Valenza                Sandra Miller Appling           Sandra Montalbano Blunt
1219 Annette Dr                        9020 Terrace Falls Drive        3107 County Road 301 S
Longview, TX 75604                     Soddy Daisy, TN 37379           Henderson, TX 75654




Sandra Moore Pope                      Sandra Morris                   Sandra Morris Cathcart
2040 Babcock Rd 403                    406 N Live Oak                  5107 Beckington Ln
San Antonio, TX 78229                  Gladewater, TX 756039038        Dallas, TX 75287-5417




Sandra Norma Garcia                    Sandra P Harper                 Sandra P Higginbotham
3780 E Evans Rd                        1805 Haver St                   1273 Common
San Antonio, TX 78259                  Houston, TX 77006-2413          New Braunfels, TX 78130




Sandra Parsons                         Sandra Patricia Vaughn          Sandra R Beard
6105 Pokalong Path                     PO Box 262                      1301 Benton St
Lago Vista, TX 78645                   Gary, TX 75643                  Ruston, LA 71270-5401




Sandra Richardson Kittler              Sandra Roberts Hervey           Sandra Robinson Roberson
501 Majestic Cv                        PO Box 2215                     325 Cr 113
Bossier City, LA 71111                 Desoto, TX 75115                Carthage, TX 75633




Sandra Rochelle                        Sandra Rudd Morelli             Sandra S Brown Embrey
6216 Amy St                            PO Box 75334                    PO Box 1482
Houston, TX 77028                      Memphis, MS 38175               Hooks, TX 75561-1482




Sandra S Dompier                       Sandra S East                   Sandra S Holland
Frost Bank Agt                         12519 Boheme Dr                 10518 Herald Square Drive
Mimi S Dompier Mngt Agency             Houston, TX 77024               Houston, TX 77099
PO Box 1600 T 6
San Antonio, TX 78296
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Sandra S Jiles Gardunio                 Sandra Sanders                             Sandra Scott
8466 Highway 822                        12943 Fm 968 W                             8945 East Tano Place
Dubach, LA 71235-3137                   Longview, TX 75602                         Tuczon, AZ 85749




Sandra Simon                            Sandra Stephens                            Sandra Sue Pruitt
1103 Wipporwill Ave                     189 Danny Lynn Stephens Drive              1273 Common Street
Henderson, TX 75652                     Logansport, LA 71049                       New Braunfels, TX 78130




Sandra Tejeda                           Sandra Thetford Hembree                    Sandra Thornhill Marshall
Address Redacted                        PO Box 10716                               601 S Sparta Apt 30
                                        Casa Grande, AZ 85130                      Ruston, LA 71270




Sandra Vasquez Brandin                  Sandra Vick Stanley                        Sandra W East
4538 Woodside                           3090 County Road 247                       204 Grandview Pl
Houston, TX 77023-1109                  Littlefield, TX 79339                      San Antonio, TX 78209




Sandra Whittington Upshaw               Sandra Wilcox Winningham                   Sandra Williams Smith
511 Lee Street                          7719 Shallowford Rd 201                    PO Box 161
Benton, LA 71006                        Chattanooga, TN 37421-2616                 Simsboro, LA 71152




Sandra Y WiLLCocks                      Sandre F Goldsby                           SandRidge Energy Inc
1305 North Wilbur                       206 Park Place                             123 Robert S Kerr Ave
Spokane, WA 99206                       Marshall, TX 75672                         Oklahoma City, OK 73102




Sandridge EP LLC                        Sandridge Exploration And Production LLC   Sandridge Onshore LLC
123 Robert S Kerr                       PO Box 202214                              PO Box 202214 Dept 21404
Oklahoma City, OK 73102                 Dallas, TX 75320-2214                      Dallas, TX 75320-2214




Sandstone Exploration LLC               Sandy Andrew                               Sandy G Knight Visage
Richard D Taylor                        4441 E 24Th St                             2318 97Th St
400 Travis St 1304                      Casper, WY 82609                           Lubbock, TX 79423
Shreveport, LA 71101




Sandy Halbrooks                         Sandy Lee Embry                            Sandy Lee Wiggins
142 Lions Cove                          5100 E 33Rd                                3000 Samford St Apt 27
Walters, OK 73572                       Edmond, OK 73013                           Shreveport, LA 71103




Sandy Zollinger Furano                  Sanford Evans                              Sanford Pollack
40 Peninsula Road                       1001 Meadow Creek Drive                    Lola D Pollack
Belvedere, CA 94920                     Lancaster, TX 75146                        Jt Ten/Wros
                                                                                   7521 North Village Ave
                                                                                   Tucson, AZ 85704-6224
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Sanford S Andrew                       Sanford Sons Inc                Sanjan
Address Redacted                       5364 Cr 1005                    PO Box 13221
                                       Center, TX 75935                Odessa, TX 79768




Sanjel Usa Inc                         Sanny Sue Holland               Sansa Alexander Trust
1630 Welton St Ste 400                 PO Box 2017                     Attn Tim Davies
Denver, CO 80202-4239                  Kilgore, TX 75663               PO Box 5383
                                                                       Denver, CO 80217




Sansa H Allee                          Sansa H Peel Allee              Sansa OConnor Alexander Trust
11410 Whisper Bluff St                 11410 Whisper Bluff St          Attn Tim Davies
San Antonio, TX 78230                  San Antonio, TX 78230-3702      PO Box 5383
                                                                       Denver, CO 80217




Santa Clara Waste Water Co             Santa Fe Enterprises            Santa Fe Minerals LLC
PO Box 3239                            Ronald T Adair                  PO Box 25204
Ventura, CA 93006                      2300 Carl Rd                    Dallas, TX 75225
                                       Irving, TX 75062




Santa Fe Opera                         Santa Fe Opera Foundation       Santa Fe Snyder Corporation
PO Box 2408                            PO Box 2408                     840 Gessner Suite 1400
Santa Fe, NM 87501                     Santa Fe, NM 87501              Houston, TX 77024




Santa LLC                              Santander Bank N A              Santino Lopez
PO Box 1825                            75 State Street                 Address Redacted
Deming, NM 88031                       Boston, MA 02109




Santos Benavides                       Santos Uresti Welding           Sapaugh Oil Gas Properties Ltd
3018 Sabine Plz                        619 North Main St               18339 Copper River Dr
Laredo, TX 78046                       Winters, TX 79567               College Station, TX 77845




Sapp Phyllis M                         Sappington Energy Interestltd   Sara A Marvin
5125 Brookwood                         Frost Bank Agt Account Hb430    PO Box 250969
Joplin, MO 64804                       Mineral Asset Mangement T 6     Plano, TX 75025
                                       PO Box 1600
                                       San Antonio, TX 78296



Sara Allison Burroughs                 Sara Batten                     Sara Baughman Haydel
8501 East Wilderness Way               5022 Gate Parkway Suite 100     PO Box 914
Shreveport, LA 71106                   Jacksonville, FL 32256          Farmerville, LA 71241




Sara Brooks                            Sara Buffington Scott           Sara Clanton Cammack
PO Box 118                             PO Box 91956                    6090 Cr 228
Wortham, TX 76693-0118                 West Vancouver, BC              Bayfield, CO 81122
                                       Canada
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Sara Colvin White                     Sara Dinwiddie Byrne Trust      Sara Elaine Nichols Trustee Of
1606 Matilda                          c/o Jpmorgan Chase Bank         The Sara Elaine Nichols Trust
Westlake, LA 70669                    PO Box 99084                    303 Oak Lane
                                      Fort Worth, TX 76199            Richmond, VA 23226




Sara Emma Scott Hargrove              Sara F Coleman                  Sara H Block
104 Canterbury Road                   2904 Hanover St                 5011 N Grey Moutain Trl
Richmond, VA 23221                    Dallas, TX 75225                Tucson, AZ 85750




Sara J Hagan                          Sara J Sturges Brian            Sara Jan Hill
814 Whipporwill Rd                    6221 Wrigley Way                PO Box 476
Conroe, TX 77303                      Fort Worth, TX 76133            Florence, TX 76527




Sara Jane Thames                      Sara Jarvis Jones               Sara Jo Baskerville
1302 Tom Temple Dr Apt 611            9304 Simmons Rd                 Elizabeth Alford Conservator
Lufkin, TX 75904                      Austin, TX 78759                717 Kendall Drive
                                                                      Birmingham, AL 35226




Sara Jo Colvin Campbell               Sara Katherine Maloney Porter   Sara Kay Mccorkle
2302 Azalea Drive                     5148 Fm 225 South               1124 Amur
Ruston, LA 71270                      Henderson, TX 75654             Mesquite, TX 75150




Sara L Tinsley                        Sara Latham Stelzner            Sara Louise Braun And Arlin Braun
257 Lansing Lane                      8 Greenleaves Dr                695 Shady Lane
Longview, TX 75605                    Amhurst, MA 01002               Hallsville, TX 75650




Sara Lucile Wheat                     Sara Lucinda Ward               Sara M Martin Life Estate
3035 Terrace Drive Apt 204            2611 Ross Ave Apt 4019          109 River North Court
Las Cruces, NM 88011                  Dallas, TX 75201-2551           Macon, GA 31211




Sara M Roberts                        Sara Moore Fleming              Sara Nell Humphreys
106 E Broad St                        2717 Box Canyon Road            100 W 12Th St
West Point, MS 39773                  Huntsville, AL 35803            Smackover, AR 71762




Sara Nell Humphreys Trust             Sara P Rudd Independently And   Sara P Rudd Living Trust
S Humphreys First Natl Bank           As Exec Of Estate Of J B Rudd   c/o Connie Holmes Ind Executor
C/O Bancorpsouth Trust                PO Box 2004                     PO Box 2004
PO Box 751                            Waskom, TX 75692                Waskom, TX 75692
El Dorado, AR 71731



Sara Paris Maggio                     Sara Ruth Browning              Sara Ruth Creech Jones
201 Colonel Burt Dr                   PO Box 147                      PO Box 75
Benton, LA 71006-9716                 Haynesville, LA 71038-0147      Logansport, LA 71049
                     Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1265 of 1524

Sara Samford Dean                        Sara Scott Hargrove Lila Scott Lohman   Sara Shirley Moser Weissman Est
PO Box 132376                            And Frances Scott Nichols               Stanley Glick Executor
Tyler, TX 75713                          c/o Cole Evans Peterson                 c/o Patricia U Herst
                                         Po Drawer 1768                          601 Ewing Street Suite B9 Gold
                                         Shreveport, LA 71168                    Princeton, NJ 08540



Sara Starks                              Sara Stelzner                           Sara Sue Deville
c/o Leann Starks                         8 Greenleaves Drive                     c/o TX State Treas Unclaimed Prop Div
507 Timber Lake Dr                       Amhurst, MA 01002                       PO Box 12608 Capital Station
Southlake, TX 76092                                                              Austin, TX 78711




Sara Teutsch                             Sara W Turman                           Sara Y Kennedy Herrmann
3811 S Chestnut St                       PO Box 303                              Poa Lina Hauk
Lufkin, TX 75901                         Liberty Hill, TX 78642                  5313 New Copeland Rd Apt C 15
                                                                                 Tyler, TX 75703




Sarah A Davis                            Sarah A Williams                        Sarah Alice Mccrary
17984 Fm 449                             1435 Oakdale St                         151 Lincoln Dr
Hallsville, TX 75650                     Ruston, LA 71270                        Starkville, MS 39759




Sarah Amanda Wilder Mclean               Sarah Anderson                          Sarah Andrews
107 Fairfield Drive                      25 Sycamore Ln                          320 Gatley Street
Yorktown, VA 23692                       Springfield, IL 62712                   West Monroe, LA 71292




Sarah Ann Summers                        Sarah Anne Couch Andrus                 Sarah Anne D Bromilette
PO Box 130093                            210 Farmington Dr                       262 Chauffpied Elmer Rd
Tyler, TX 75713                          Lafayette, LA 70503                     Marksville, LA 71351




Sarah Anne Spinks Suddreath              Sarah Arnold Cobbin                     Sarah Averett Madole
1318 Weidner Drive                       3433 Ave R                              285 Arthur Dr
Katy, TX 77494                           Rosenberg, TX 77471                     Shreveport, LA 71105




Sarah Bain Roper                         Sarah Baldwin Hairgrove                 Sarah Beth Parker
1176 Fm 782 N                            301 Pinewood Drive                      Cara Beth Parker Custodian
Henderson, TX 75652                      Marshall, TX 75670                      Tx Uniform Gift To Minors Act
                                                                                 123 County Road 2781
                                                                                 Carthage, TX 75633



Sarah Beyer                              Sarah Beyer Revocable Trust             Sarah Byrne
2640 W 118Th Terrace                     Sarah Beyer Trustee                     7806 E Via De Belleza
Leawood, KS 66211-3042                   Bank Of America Invstmt Mngr            Scottsdale, AZ 85258
                                         PO Box 840738
                                         Dallas, TX 75284



Sarah C Byars                            Sarah Calhoun Savage                    Sarah Childress Lavigne
PO Box 909                               2426 Woodward Avenue                    383 Hidden Frst
Fort Worth, TX 76101-0909                Fort Wayne, IN 46805                    Longview, TX 75605-7048
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Sarah D Logan                              Sarah Delaunay                Sarah Denise Reynolds Sp
1136 White                                 Address Redacted              22825 Cr 2110
Grand Junction, CO 81501                                                 Troup, TX 75789




Sarah Dodson                               Sarah Doris Gregory Swint     Sarah E Del Valle
14 Elmcrest Ct                             Rr 1 Box 352                  701 E Bovell St
Little Rock, AR 72211                      Eunice, LA 70535              Crowley, TX 76036




Sarah Eleanor Bogard                       Sarah Elise Glasgow           Sarah Eliza Spivey Humphries
2908 Brown Pl                              1419 Edith St                 3504 English Turn
Monroe, LA 71201                           Berkeley, CA 94703            Ruston, LA 71270




Sarah Elizabeth Beasley Perry              Sarah Elizabeth Day Boykin    Sarah Elizabeth Herbert
512 Laurelwood Rd                          5710 Spellman Rd              12551 Lesley Road
Burleson, TX 76028                         Houston, TX 77096             Heath, OH 43056




Sarah Elizabeth Jones Oden                 Sarah Elizabeth Ross Moberg   Sarah Ella Robinson Crane
407 Albert Ave                             2451 15Th Avenue              PO Box 331
Shreveport, LA 71105                       Lindsborg, KS 67456           Simsboro, LA 71275-0331




Sarah Ellen Howell Kincannon               Sarah Emmett Grey             Sarah F Fleming Co
1802 Knowles Dr                            307 Elaine Dr                 PO Box 738
Ruston, LA 71270                           Athens, TX 75751              Salida, CO 81201




Sarah F Raizen                             Sarah Foster                  Sarah Frances Mills Taylor
PO Box 446                                 5816 Braeloch Dr              120 Garland Dr Apt 1116
Wynnewood, PA 19096                        Shreveport, LA 71129          Lake Jackson, TX 77566




Sarah Francis Smith Exempt Tst             Sarah G Janszen               Sarah G Miller
c/o Heritage Trust Company Of New Mexico   5320 Newhall Rd               PO Box 203
630 Paseo Del Pueblo Sur Ste 170           Durham, NC 27713              Bernice, LA 71222
Box 8020 Ndcbu
Taos, NM 87571



Sarah Gray Carrigan Trustee                Sarah Harris Herrin           Sarah Harris Horn
Sarah Gray Carrigan Mgmt Trst              PO Box 1914                   2013 E Austin Avenue
1885 Parkside Cir                          Stephenville, TX 76401        Harlingen, TX 78550
Homewood, AL 35209




Sarah Hunter                               Sarah J Leach                 Sarah J Oden LLC
9228 Canter Drive                          211 Kochier Rd                c/o Sally Griggs
Dallas, TX 75231                           Reading, PA 19608             14920 Cook Road
                                                                         Biloxi, MS 39532
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Sarah Jackson Sep Prop                 Sarah Jane Cooper                Sarah Jane H Greer
7126 Bobtail Drive                     3515 Bain Place                  PO Box 325
Shreveport, LA 71129                   Tyler, TX 75701                  Newellton, LA 71357




Sarah Jane Hopkins                     Sarah Jane Snyder                Sarah Jean Lewis Davis
1332 Gober                             2944 Sand Dollar Ct              1540 Beverly Road
Fordyce, AR 71742                      Longmont, CO 80503               Philadelphia, PA 19138




Sarah Jones Fleming                    Sarah Jordan Higgs               Sarah K Lipsett
Cr 223 Box 15732                       44 Private Road 80001            PO Box 60982
Tyler, TX 75707                        New Boston, TX 75570             San Angelo, TX 76906




Sarah Kate Whitten Julazadeh           Sarah Kathryn Dietzmann          Sarah Kilgore Miller
2041 North 135Th Drive                 PO Box 235                       5102 Ashwood
Goodyear, AZ 85338                     Gorham, ME 04038                 Baytown, TX 77521




Sarah L Bowden Mason                   Sarah L Hardy                    Sarah L Savich
886 Highway 146                        5803 Ashfield Road               553 Fontaine Dr
Ruston, LA 71270                       Alexandria, VA 22315             Georgia, VT 05468




Sarah L Williams                       Sarah Laverne Titus              Sarah Lee Latch
PO Box 540356                          540 Orchid Drive                 3130 N Eastman Rd
Merritt Island, FL 32954               Naples, FL 34102                 Longview,, TX 75605




Sarah Lentz Sinclair Trustee           Sarah Louise Hughes              Sarah Lyndsey Heard
U/W/O Joe M Sinclair                   37126 Anglers Way                31497 Hughes Rd
1863 Mercer Rd                         Pinehurst, TX 77362-1947         Alva, OK 73717
Marshall, TX 75672




Sarah Lyons Watts                      Sarah M Brown                    Sarah M Buschmann Revoc Trust
7996 Hollyberry Court                  2947 Lookout Pl Ne Apt 2         303 Walden Place
Tobaccoville, NC 27050                 Atlanta, GA 303053217            Pompton Plains, NJ 07444




Sarah Mayo Mcdonald Dgt                Sarah Mcleroy King               Sarah Melissa Kaiser
Tr Dtd 02 01 2011                      PO Box 176                       1219 Glen Ellen Court
James A Mayo Jr Ttee                   Timson, TX 75975                 Allen, TX 75002
8119 Fm 666
Mathis, TX 78368



Sarah Menefee                          Sarah Modesta Williams           Sarah N Thrailkill
922 W Lakeview Dr                      A/K/A Modesta Simpson Williams   209 Shalimar Dr
Baton Rouge, LA 70810                  6 Deata Drive Suite 3000         West Monroe, LA 71291
                                       Midland, TX 79705
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Sarah Price Lindblad Separate Property   Sarah R King                    Sarah Ruth Lott Boudreaux
PO Box 67                                1865 Fresno Ln Nw               9352 Lake Forest Drive
Masonville, CO 80541                     Brookhaven, MS 39601-8610       Baton Rouge, LA 70817




Sarah S Hext                             Sarah Seay Campbell             Sarah Shuckrow Charpentier
113 Bristol Head Rd Box 2 B              PO Box 222268                   9 South Catahoula Ct
Creede, CO 81130                         Dallas, TX 752222268            Kenner, LA 70065




Sarah Smith Sole                         Sarah Virginia Mccullough       Sarah W Haynes
2917 Redbird Lane                        Patricia Ann Welch Guardian     5710 Spellman Rd
Enid, OK 73703                           14 Woodland Dr                  Houston, TX 77096
                                         Longview, TX 75605




Sarah Weaver Morris                      Sarah Wencel Revocable Trust    Sarah Wilson
734 Newman Avenue                        624 S Market Street             516 N 5Th St
Jefferson, LA 701211235                  Caldwell, KS 67022              Allentown, PA 18102




Sarah Youngblood Copeland                Sarah Zoller                    Sarah Zoller Sep Property Tr
1304 Beverly Avenue                      3318 Bryn Mawr                  Northern Trust Company Ttee
Henderson, TX 75654                      Dallas, TX 75225                PO Box 226270
                                                                         Dallas, TX 75222




Saralyn Lankford Woods Est               Saralyn Lankford Woods Estate   Saralyn Owens Moore
Robert Evans Woods Jr Admin              Robert Evans Woods Jr Admin     6313 Calumet
7 Harbor Bluff Ln                        7 Harbor Bluff Ln               Amarillo, TX 79106
Norwalk, CT 06850                        Norwalk, CT 06853




Saralynn D Beasley                       Saratoga Royalty Lp             Sari Thornton Leigh
PO Box 5581                              PO Box 141356                   32942 Kretz Rd
Shreveport, LA 71135                     Dallas, TX 75214                Los Fresnos, TX 78566-4619




Sartor Brothers Properties LLC           Sartor Oil Properties LLC       Sas Family Investment Trust
708 N Ashley Ridge Loop                  708 North Ashley Ridge Loop     Shannon Smith Trustee
Box 104                                  Box 104                         20325 Hwy 51
Shreveport, LA 711067209                 Shreveport, LA 71106            Malvern, AR 72104




Satellite Bull Resources LLC             Sater Family Partnership L P    Sater Tools Services
4747 Research Forest Dr                  PO Box 2509                     2424 6Th Ave
180 315                                  Evansville, IN 47728            Greeley, CO 80631-7128
The Woodlands, TX 77381




Satrel Mangham                           Saunders Mary Jane Reed         Saunders Schmidt Edhols Ring Heck Pc
Route 2 Box 1030                         4381 Mcfarland Circle           PO Box 240
Ruston, LA 71270                         Orange, TX 77632-4188           Tyler, TX 75710
                  Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1269 of 1524

Savage Minerals LLC                   Savage Sales                      Savannah D S Maria Parker
10107 Mcallister Freeway              1511 S Treadway                   28004 Farm Hill Drive
San Antonio, TX 78216                 Abilene, TX 79602                 Hayward, CA 94542




Savannah Minerals Ltd                 Savannah Postal Credit Union      Savitri Sonea
PO Box 452325                         22 Oglethorpe Professional Blvd   Tod
Laredo, TX 78045                      Savannah, GA 31406                14 Schoolhouse Lane
                                                                        Morristown, NJ 07960-3326




Sawyer Drilling Service Inc           Saxon Oil Company                 Saybolt Lp Aka Core Lab
PO Box 5275                           11111 Katy Freeway Suite 900      6316 Windfern
Bossier City, LA 71171                Houston, TX 77079                 Houston, TX 77040




Saybolt Lp                            Sayre Oil LLC                     Sb Factoring LLC
PO Box 844640                         c/o Midfirst Bank                 Montez Electric Inc
Dallas, TX 75284-4640                 Attn Trust / Oil Gas              PO Box 3130
                                      PO Box 258850                     Alice, TX 78333
                                      Oklahoma City, OK 73125-8850



Sb Weed Control Sb Transport          Sbm Earthmoving Constr LLC        Sbr Partners LLC
PO Box 1502                           7931 N State Line Ave             PO Box 10349
Carlsbad, NM 88221-1502               Texarkana, TX 75503-1945          Midland, TX 79702




SC State Treasurers Office            SC State Treasurers Office        SC Properties
Unclaimed Property Program            Unclaimed Property Program        PO Box 601295
PO Box 11778                          Wade Hampton Office Bldg          Dallas, TX 75360-1295
Columbia, SC 29211                    1200 Senate Street Rm 224
                                      Columbia, SC 29201



Scada Solutions Inc                   Scada West Inc                    Scan X
PO Box 1860                           210 Sunset Drive                  3001 West Loop 250 North
Scott, LA 70583                       Billings, MT 59105                Suite C105 180
                                                                        Midland, TX 79705




Scan X LLC                            Scanalog LLC                      Scandrill Inc
John Lofrano                          14560 Arthur St                   Scan Cross Ltd
1165 West 780 North                   Ore City, TX 75683                11777 Katy Fwy Ste 470
Orem, UT 84057                                                          Houston, TX 77079




Scanning Technologies Inc             Scarbrough Enterprise Inc         Scarlett Teresa Henry Blalack
Don Carriere                          PO Box 1588                       3161 Arrowwood Road
PO Box 2547 Sherwood Park             Hobbs, NM 88241                   Gilmer, TX 756447468
Edmonton, AB
Canada



Scba Safety Check Inc                 Scenario R3M Systems              Sch Disposal LLC
PO Box 610081                         17461 Saddle Mountain Dr          Mark Rankin
Redwood City, CA 94061-0081           Bakersfield, CA 93314             801 Cherry St Suite 2100
                                                                        Ft Worth, TX 76102
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Schaeffer Mfg Company                 Schaeffers                           Schare Ltd
Dept 3518 PO Box 790100               102 Barton St                        PO Box 192199
St Louis, MO 63179-0100               St Louis, MO 63104                   Dallas, TX 75201




Scharmel Roussel                      Scharmel Roussel                     Schelro Ltd
71 Reservoir Heights                  c/o Law Office of Dean A Searle PC   PO Box 62490
Little Rock, AR 72227                 PO Box 910                           San Angelo, TX 76906
                                      305 West Rusk Street
                                      Marshall, TX 75671



Scherry Earl                          Scherry Perkins Braziel              Schevaun A Massey
801 Alpine Drive                      PO Box 338                           600 Pakis Unit 12
Marshall, TX 75672                    Emory, TX 75440                      Hot Springs, AR 71913




Schiffer Odom Hicks Johnson PLLC      Schlachter Operating Corp            Schlagal Brothers
700 Louisiana St Suite 2650           Fao Schlachter Oil Gas Ltd           202 N Eisenhower
Houston, TX 77002                     6211 W Northwest Hwy Ste C256        Midland, TX 79703
                                      Dallas, TX 75225




Schlumberger Information Solutions    Schlumberger Technology Corp         Schlumberger Technology Corp
Cesar Marroquin                       300 Schlumberger Drive               Completions/Als/Drill Bits
5599 San Felipe Suite 100             Sugar Land, TX 77478                 PO Box 203076
Houston, TX 77056                                                          Houston, TX 77216




Schlumberger Technology Corp          Schlumberger Technology Corp         Schlumberger Technology Corp
PO Box 201193                         PO Box 201556                        PO Box 732149
Houston, TX 77216-1193                Houston, TX 77216-1556               Dallas, TX 75373-2149




Schlumberger Technology Corporation   Schmid Properties Inc                Schmidt Trust
Nam Contracts Manager                 PO Box 389                           Michael Elley Ttee
1325 Dairy Ashford Room 310           Hico, TX 76457                       James C Williams Ttee
Houston, TX 77077                                                          8419 Callaghan Rd
                                                                           San Antonio, TX 78230



Schneider Electric Software LLC       Schneider Production Corp            Schoeffler Energy Group Inc
33183 Collection Center Dr            19908 Bluehill Pass                  224 Rue Dejean
Chicago, IL 60693-0331                Helotes, TX 78023-3312               Lafayette, LA 70508




Schoeffler Energy LLC                 Schoellkopf Shenandoah Prtnr         Schools First Federal Cu
224 Rue De Jean                       c/o Tolleson Wealth Management       PO Box 11547
Lafayette, LA 70508                   5500 Preston Rd Suite 250            Santa Ana, CA 92711-1547
                                      Dallas, TX 75205




Schorlemer Properties LLC             Schrenia Kay Carr                    Schroder Investment Management
c/o Lee Anne Schorlemer Succ Ttee     11571 Fm 880 S                       North America Inc
4012 Bryn Mawr Dr                     Baird, TX 79504                      875 Third Ave 22nd Floor
Dallas, TX 75225                                                           New York, NY 10022-6225
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Schroder Oil Financing Investment Co    Schumpert Barnes Jones              Schutz Abstract Co Inc
c/o Melinda Erickson Poa                904 Glendale                        PO Box 973
445 E Cheyenne Mtn Blvd                 Ruston, LA 71270                    Santa Fe, NM 87504
Suite C 403 Pmb
Colorado Springs, CO 80906



Schwebel Petroleum Company              Schweitzer Engineering Lab          Sciano Minerals LLC
PO Box 512                              2350 Ne Hopkins Ct                  10107 Mcallister Freeway
Bakersfield, CA 93302                   Pullman, WA 99163-5603              San Antonio, TX 78216




Scientific Drilling Internatio          Scientific Drilling International   Scientific Drilling Intl Inc
16701 Greenspoint Park Dr               PO Box 200195                       PO Box 301036
Ste 200                                 Houston, TX 772160195               Dallas, TX 75303-1036
Houston, TX 77060




Scofield Ventures Lp                    Scoggin Family Jt Venture           Scooter Energy LLC
21 Ashton Court                         c/o Shannon Nealon Mng Prtnr        303 Steeplechase Dr
Dallas, TX 75230                        6139 Park Ln                        Irving, TX 75062-3822
                                        Dallas, TX 75225




Scot D Northern                         Scotia Waterous Usa Inc             Scott A Bergstrom
PO Box 2244                             Pennzoil Place South Tower          13519 Night Star Ln
Midland, TX 79702                       711 Louisiana Suite 1400            Bakersfield, CA 93314-9891
                                        Houston, TX 77002-2716




Scott A Cockrum                         Scott A Walker                      Scott Alan Crawford
450 Fm 343 East                         6100 Browning Dr Apt 24104          1833 Fountain Vista View
Rusk, TX 75785                          North Richland Hills, TX 76180      Saint Paul, TX 75098




Scott Allen Neill                       Scott Austin Golub                  Scott B Barron
1639 Starboard Dr C                     Address Redacted                    609 Rock Hollow Dr
Baton Rouge, LA 70802                                                       Shreveport, LA 71115




Scott Baxter Smith                      Scott Beaty                         Scott Bennett And Vickie D Bennett
125 West Ridge Drive                    14307 Darschelle Ct                 580 Highway 545
Apt 4                                   Houston, TX 77069                   Dubach, LA 71235-2254
West Monroe, LA 71291




Scott Briggs                            Scott C Shaw                        Scott Carroll Swanson
Co Finley Resources Inc                 1333 Willard Ln                     245 HunterS Trail
PO Box 2200                             Celina, TX 75009-3834               Walhalla, SC 29691
Fort Worth, TX 76113




Scott Clark Trust                       Scott Crain                         Scott Crawford
c/o Craig W Clark Trustee               7023 Westlake Ave                   PO Box 1187
3985 Nobel Dr Unit 325                  Dallas, TX 75214                    Henderson, TX 75653
San Diego, CA 92122
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Scott D Hall                           Scott D Ponder                    Scott D Stovall
11063 W Rowland Drive                  1 Jacobs Court                    PO Box 456
Littleton, CO 80127                    Wichita Falls, TX 76310           Troup, TX 75789




Scott D Stroud                         Scott D Toms                      Scott Daniel Barber
PO Box 565                             1418 Leon                         79 Sweet Pea Ln
Shreveport, LA 71162                   Benton, AR 72015                  Burnsville, NC 28714-4624




Scott David Holland                    Scott Douglass Mcconnico LLP      Scott Dyar
30818 Melita                           One American Center               808 Pine Drive
Spring, TX 77386                       600 Congress Avenue 15Th Floor    Tylertown, MS 39667-2824
                                       Austin, TX 78701-2589




Scott E Cynthia M Wilson               Scott E Petersen                  Scott Edwin Broadway
4601 Mirador Drive                     800 E Charleston Rd 27            Angela G Broadway Jt Ten
Austin, TX 78735                       Palo Alto, CA 94303               215 Forest Glade Cove
                                                                         Eads, TN 38028




Scott Electric Company                 Scott Enterprises                 Scott Etchison Woodley
PO Box 1819                            240 Cr 1721                       644 Riveroaks Place
2001 N Port Avenue                     Timpson, TX 75975                 Baton Rouge, LA 70515
Corpus Christi, TX 78403




Scott Fuller Oil Trust                 Scott Gumbin                      Scott H Lieber
920 Pierremont Suite 210               17705 Laurel Rd                   1152 Homewood Drive
Shreveport, LA 71106                   Morgan Hill, CA 95037             Shreveport, LA 71118




Scott H Martin                         Scott H Martin Claudia M Martin   Scott J Dick
838 Simmons Road                       838 Simmons Rd                    Address Redacted
Ruston, LA 71270                       Ruston, LA 71270




Scott J Harding                        Scott Key Wood                    Scott L Holmes
13786 Valleyview Way                   PO Box 50527                      PO Box 61
Bonner Springs, KS 66012               Austin, TX 787630527              Carthage, TX 75633




Scott L Sledge                         Scott L Summers                   Scott Lenard Shafer
319 Grassmarket                        PO Box 122985                     Lenard Shafer Agent And A/I/F
San Antonio, TX 78259-2322             Ft Worth, TX 76121-2985           4401 Clyatt Street
                                                                         Longview, TX 75605




Scott Lewis Cunningham                 Scott Lindsey Bieg                Scott MacDonald
8520 E Wilderness Way                  Jennifer Bieg                     4900 Tiedeman Road
Shreveport, LA 71106                   6706 Meade Drive                  Brooklyn, OH 44144
                                       Colleyville, TX 76034
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Scott Mcgill                             Scott Mcgurk                           Scott Measurement Service Inc
c/o Kirk Monroe Klostermann              1306 W Baker Ave                       PO Box 5247
Llp                                      Fullerton, CA 92833-4619               Granbury, TX 76049
1016 Santa Fe Street Ste 201
Corpus Christi, TX 78404



Scott Newland                            Scott P Sealy                          Scott R Easley
3920 Fm 2879                             8401 N Central Expressway              314 Katie Ln
Longview, TX 75605                       Suite 150 Lb 29                        Ruston, LA 71270
                                         Dallas, TX 75225




Scott R Kittrell                         Scott R Silver                         Scott Ray Compton
121 S Broadway Suite 708                 55 Eagle Wings Trl                     3714 E Easter Cir N
Tyler, TX 75702                          Silverthorne, CO 80498                 Centennial, CO 80122-2035




Scott Ray Stevens                        Scott Robert Lang                      Scott Simpson
2105 Sandstone Drive                     4414 Winners Gait Circle               2410 Short Washington St
Longview, TX 75605                       Pace, FL 32571                         Monroe, LA 71201




Scott Springfield Michelle Springfield   Scott Sutton                           Scott Swanner Separate Prop
4075 County Road 314 South               5138 Lakeshore Dr                      101 Joy Street
Henderson, TX 75654                      Fairfield, CA 94534                    West Monroe, LA 71291




Scott Taliaferro Jr                      Scott Thomas Ballew                    Scott Tonroy
c/o 1st Fncl Tr Asset Mgt Co Na Agent    1005 Homer St                          PO Box 1988
PO Box 701                               Durham, NC 27707                       Weatherford, TX 76086
Abiliene, TX 79604




Scott Tortorella                         Scott Van Stewart                      Scott Wayne Bennett
150 South Wacker Dr                      218 Canyon Drive                       7971 N 187Th East Ave
11th Floor                               San Antonio, TX 78209                  Owasso, OK 74055-8234
Chicago, IL 60606




Scott Welder Trust                       Scott Welder Trust                     Scott Wesley Day
Jpmorgan Chase Bank N A Ttee             Jpmorgan Chase Bank N A Ttee           4098 1249E
PO Box 2050                              PO Box 99084                           Kilgore, TX 756627978
Fort Worth, TX 76113                     Fort Worth, TX 76199-0084




Scott William Mccoy                      Scottish Rite Foundation Of Missouri   Scottrade Inc
3418 Stones Throw Drive                  3633 Lindell Blvd                      Attn Adam Mitchell 4558
Nacogdoches, TX 75965                    St Louis, MO 63108                     12855 Flushing Meadows Dr
                                                                                St Louis, MO 63131




Scottrade Inc Cust Fbo                   Scotts Auto Body Glass Inc             Scotty Anderson
Rissa Jean Wyant Rollover Ira            125 Rees Rd                            1405 Leon Drive
5 Calhoun Ave Ph 3                       Lyman, WY 82937                        Jonesboro, LA 71251
Destin, FL 32541
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Scotty B Legerski                     Scotty L Blackstock             Screen Tech International
ScottS Hot Shot Llc                   359 Jill Loop                   11509 E Pine St
PO Box 50897                          Ruston, LA 71270                Tulsa, OK 74116
Casper, WY 82605




Screens Plus Inc                      Scriber Painting                Scruggs Inc
PO Box 61848                          2204 Mitcham Orchard Rd         Debbie Johnson
Midland, TX 79711-1848                Ruston, LA 71270                PO Box 988
                                                                      Joaquin, TX 75954




Scruggs Inc                           Scs Of Colorado Inc             Scurlock Foundation
PO Box 469                            2643 County Road 301            c/o Jp Morgan Chase Bank Na
Big Sandy, TX 75755                   Parachute, CO 81635             PO Box 99084
                                                                      Fort Worth, TX 76199-0084




Scythian Ltd                          SD Ofc Of State Treasurer       Sd Huffman
300 North Marienfeld Suite 950        Unclaimed Property Division     7196 Highway 822
Midland, TX 79701                     500 East Capital Ave Ste 212    Dubach, LA 71235-3100
                                      Pierre, SD 57501-5070




Sd Rial Company LLC                   SD Supply Inc                   SDS Petroleum Consultants
PO Box 601449                         409 N College Ave               PO Box 456
Dallas, TX 75206                      Levelland, TX 79336             Troup, TX 75789-0456




SDS Petroleum Consultants LLC         Se Tex Oilfield Service         Sea Properties Ltd
1406 Rice Rd                          PO Box 35                       PO Box 1486
Suite 400                             Spurger, TX 77660               Ardmore, OK 73402
Tyler, TX 75703




Seaber Corporation Of Louisiana       Seaboard International Inc      Seaboard Wellhead Inc
PO Box 1801                           PO Box 301861                   PO Box 301861
Shreveport, LA 71166-1801             Dallas, TX 75303-1861           Dallas, TX 75303-1861




Seacoast Production Ltd               Seagull Energy EP Inc           Seale Hutcheson Descendants Partnership
PO Box 670717                         1001 Fannin Suite 1700          PO Box 3147
Dallas, TX 753670717                  Houston, TX 77002-6794          Bellaire, TX 77402




Sealy Real Estate Service LLC         Seamless Energy LLC             Sean Brandewie
333 Texas Street Suite 1050           1490 W Canal Court Suite 3000   Address Redacted
Shreveport, LA 71101                  Littleton, CO 80120




Sean Fenn                             Sean Garrison                   Sean Mendiola
21375 Trebuchet Dr                    525 William Penn Pl             Address Redacted
Kingwood, TX 77339-1475               Suite 153 0400
                                      Pittsburgh, PA 15259
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Sean Permenter Sp                       Sean W OConnor Trust             Sean W OConnor Trust U/A/W
337 Cr 3706                             U/W/O Carrie OConnor             6 Mirimichi Street
Joaquin, TX 75954                       6 Mirimichi Street               Plainville, MA 02762
                                        Plainville, MA 02762




Sean Warner                             Sean Widak OConnor               Searle Bros Construction Co
2204 Arabella                           6 Mirimichi Street               149 Pollux Drive
Ruston, LA 71270                        Plainville, MA 02762             Rock Springs, WY 82901-3348




Searle Mildred P Highleyman Jt Ten      Searls Collier Ltd               Sears Family Trust 6/7/91
837 Lasalle St                          PO Box 2327                      Steven A Sears Trustee
Jacksonville, FL 32207                  Conroe, TX 77305-2327            PO Box 1369
                                                                         Casper, WY 82602




Seaworth Inc                            Seba Pipe Inc                    Sebsymsym Lp
2305 North Taft Hill Road               3444 Katy Fwy 300                1919 Highway 35 North Pmb 503
Fort Collins, CO 80524                  Houston, TX 77007-2596           Rockport, TX 78382




Secap Finance                           Seco Creek Interests             Second Chance Royalties LLC
PO Box 405371                           6015 Skyline Dr                  PO Box 1966
Atlanta, GA 30384-5371                  Houston, TX 77057                Palestine, TX 75802




Secorp Industries                       Secretary Of State               Secretary Of State Of Texas
PO Box 687                              PO Box 13697                     Notary Public Unit
Ridgeland, MS 39158-3020                Austin, TX 78711-3697            PO Box 13375
                                                                         Austin, TX 787113375




Sector Transport Logistics LLC          Secured Data Solutions           Securities Exchange Commission
514 Regentview Dr                       407 N Big Spring                 100 F St Ne Mail Stop 6041B
Houston, TX 77079                       Suite 407                        Washington, DC 20549
                                        Midland, TX 79701




Securities Exchange Commission          Securities Exchange Commission   Securities Exchange Commission
1961 Stout St Ste 1700                  351 S West Temple Ste 6 100      Atlanta Regional Office
Denver, CO 80294-1700                   Salt Lake City, UT 84101-1950    3475 Lenox Road N E
                                                                         Suite 1000
                                                                         Atlanta, GA 30326-1232



Securities Exchange Commission          Securities Exchange Commission   Securities Exchange Commission
Attn Jolene Wise                        Branch Of Reorganization         Daniel M Hawke Regional Director
Bankruptcy Division                     3475 Lenox Road Ne Suite 1002    The Mellon Independence Center
175 W Jackson Blvd Ste 900              Atlanta, GA 30326                701 Market Street
Chicago, IL 60604                                                        Philadelphia, PA 19106-1532



Securities Exchange Commission          Securities Exchange Commission   Securities Exchange Commission
David Bergers Regional Director         David Nelson Regional Director   Helane L Morrison Regional Director
33 Arch Street                          801 Brickell Ave                 44 Montgomery Street
23Rd Floor                              Suite 1800                       Suite 2600
Boston, MA 02210-1424                   Miami, FL 33131                  San Francisco, CA 94104
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Securities Exchange Commission           Securities Exchange Commission        Securities Exchange Commission
Mark Schonfeld Regional Director         New York Regional Office              Office Of The General Counsel
3 World Financial Center                 Attn George S Canellos Reg Director   100 F Street Ne
Suite 400                                3 World Financial Center Suite 400    Washington, DC 20549
New York, NY 10281-1022                  New York, NY 10281-1022



Securities Exchange Commission           Securities Exchange Commission        Securities Exchange Commission
Randall R Lee Regional Director          Rose L Romero Regional Director       Secretary of the Treasury
5670 Wilshire Boulevard                  Burnett Plaza Suite 1900              100 F Street Ne
11Th Floor                               801 Cherry Street Unit 18             Washington, DC 20549
Los Angeles, CA 90036-3648               Ft Worth, TX 76102



Security Business Capital                Security Business Capital             Security Business Capital
Fbo Hot Rods Hot Shot Svc Llc            Fbo Jrc Trucking                      Fbo Triple M Transports
PO Box 60593                             PO Box 60593                          PO Box 60593
Midland, TX 79711                        Midland, TX 79711                     Midland, TX 79711




Security Business Capital                Security Business Capital LLC         Security Exploration Inc
PO Box 60593                             Fbo Total Supply Rental Llc           8509 Line Avenue
Midland, TX 79711                        PO Box 60593                          Shreveport, LA 71106
                                         Midland, TX 79711




Security Investors LLC                   Security Nationa                      Security Nationa
One Security Benefit Place               601 Pierce Street                     Security National Bank Of
Topeka, KS 66636-0001                    Sioux City, IA 51101                  Omahatrust Divisionp
                                                                               PO Box 31400
                                                                               Omaha, NE 68131-0400



Security Nationa                         Security National Trust               Security Sales And Service LLC
Security National Trust Company          Attn Customer Care Center             PO Box 340
Attn Janice Ebarb                        1300 Chapline St                      Freer, TX 78357
1300 Chapline St 3Rd Floor               Wheeling, WV 26003
Wheeling, WV 26003



Security State Bank Trust                Security Well Service Ii Lp           Sedonia Kidd
201 West Main St                         PO Box 536                            705 Kirnwood Drive
PO Box 471                               Freer, TX 78357                       Dallas, TX 75232
Fredericksburg, TX 78624




Sedonia May Givens                       Sefronia A Greene                     Segal Oil Gas Inc
Rr 2 Box 2748                            2703 White Falls Drive                c/o Andrew Segal
Ruston, LA 71270                         Pearland, TX 77584                    10 East 70Th Street 6A
                                                                               New York, NY 10021




Seguro Oil Gas Inc                       Sei Energy LLC                        Sei Investments Management Corporation
1660 Lincoln 3100                        100 W Ml King Blvd Ste 816            1 Freedom Valley Dr
Denver, CO 80264                         Chattanooga, TN 37402-2553            Oaks, PA 19456




Seibert Succ Of Frances Alice            Seidel Technologies LLC               Seider Machine Shop Inc
Administrator                            558 Castle Pines Parkway              2585 Rm Hwy 584
New Orleans, LA 70118                    Unit B 4 330                          San Angelo, TX 76904
                                         Castle Rock, CO 80108
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Seimax Technologies Lp                     Seimax Technologies Lp         Seis Hache
Department 310                             Matt Mohr                      PO Box 642
PO Box 4869                                4805 Westway Park Blvd         George West, TX 78022
Houston, TX 77210-4869                     Houston, TX 77041




Seismic Exchange Inc                       Seismic Exchange Inc           Seitel
Shirley Ross                               PO Box 4869                    Marcia Nouis
11050 Capital Park Drive                   Houston, TX 77210-4869         10811 S Westview Circle Drive
Houston, TX 77041                                                         Bldg C Ste 100
                                                                          Houston, TX 77043



Seitel Data Ltd                            Seitel Data Ltd                Seitel Solutions Ltd
Randy Sides                                PO Box 202562                  PO Box 202566
10811 South Westview Circle Drive          Dallas, TX 75320-2562          Dallas, TX 75320-2566
Suite 100 Building C
Houston, TX 77043



Selben Willis                              Selben Willis Estate           Selco Community Credit Union
4525 Golf Vista Dr                         7328 Colina Vista Loop B       PO Box 7487
Austin, TX 78730-3564                      Austin, TX 78750-8533          Springfield, OR 97475-0487




Selden Brin                                Seleathia Garner               Select Energy Services
8629 Gladwood                              2450 Harbor View Dr            PO Box 203997
Dallas, TX 75243                           San Leandro, CA 94577          Dallas, TX 75320-3997




Select Energy Services LLC                 Select Energy Services Peak    Select Field Services
1400 Post Oak Blvd                         Oilfield Services              PO Box 203997
Ste 400                                    Dept 2412                      Dallas, TX 75320-3997
Houston, TX 77056                          PO Box 4346
                                           Houston, TX 77210-4346



Select Heating Air Cond Inc                Select Industries Inc          Select Oilfield Construction
767 N Main Street                          PO Box 2450                    PO Box 203997
Orange, CA 92868-1105                      Wichita Falls, TX 76307-2450   Dallas, TX 75320-3997




Select Oilfield Services LLC Lafayette D   Seleta R Davis                 Seley Johnson Fuller
PO Box 728                                 PO Box 632553                  1416 West 4Th Street
Belle Chasse, LA 70037-0728                Nacogdoches, TX 75606          Corsicana, TX 75110




Self Children Revocable Managment Trusts   Selina Denise Taylor           Selina Ramirez Rountree
Bank Of America Trustee                    23850 Roswell Lane             208 W Duke St
PO Box 840738                              Waynesville, MO 65583          Del Rio, TX 78840
Dallas, TX 75284




Sellars Family LLC                         Sellars Family Trust           Sellers Services Inc
11128 Windjammer Dr                        2801 Bolton Boone              1409 Cr 130
Frisco, TX 75034                           Suite 101                      Loop, TX 79324
                                           Desoto, TX 75115
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Selma C Mast Trust                      Selma C Mast Trust Deceased 5 09 00   Selma Diane Aulds Newton
Deceased 5 09 00                        Panola County Tax Office              180 Carroll Street
2241 Nw Kleinschmidt Pl                 Perdue Brandon Fielder Collins Mott   Shreveport, LA 71105
Corvallis, OR 97330                     505 East Magrill St
                                        Longview, TX 75601



Selma Grace Sanders Davidson            Semco Electric Inc                    Semgas Lp
771 Highway 563                         PO Box 1673                           406 S Boulder Ave
Dubach, LA 71235                        Seminole, TX 79360                    Ste 830
                                                                              Tulsa, OK 74103




Semicolen I Lp                          Seminole Hot Oil Service Inc          Seminole Investments LLC
c/o Bilco Brick Corporation             PO Box 1917                           PO Box 439
2116 N Lancaster Hutchins Rd            Seminole, TX 79360                    Winnsboro, TX 75494
Lancaster, TX 75146




Senergy Software Ltd                    Senior Link Midland Inc               Sentelia Isaac Lewis
7 Bon Accord Square                     c/o Farmers National Comapny          614 Bennett Road
Aberdeen AB11 6DJ                       PO Box 3480                           Grambling, LA 71245
United Kingdom                          Omaha, NE 68103




Sentinel Oil Gas Consultants            Sentry General Contractors            Sentry Technologies Inc
366 E Santa Clara Street                PO Box 131179                         11391 Meadowglen Ln
Ventura, CA 93001                       Tyler, TX 75713                       Ste D
                                                                              Houston, TX 77082




Sep Fbo Thomas Yeggy                    Separation Specialists Inc            Sequia Tubing Testers LLC
Pershing Llc As Custodian               PO Box 21535                          8235 Agora Parkway Suite 111
4906 Emeis View Ct                      Bakersfield, CA 93390                 Box 465
Davenport, IA 52804-4502                                                      Selma, TX 78154-1335




Sequoia Royalty Company LLC             Serena B Kundysek                     Seressa Miller
8235 Douglas Ave Suite 1200             PO Box 3788                           PO Box 92
Dallas, TX 75225                        Arlington, TX 76007-3788              White Oak, TX 75693-0092




Sergio De La Rosa                       Sergio Hernandez                      Sergio J Gonzalez
2703 St Paul Road                       Address Redacted                      1801 Avenue F Suite 214
Wylie, TX 75098                                                               Del Rio, TX 78840




Servando Roberto Benadives              Service Communication Technology      Service Consulting Mgmt Inc
101 Delaware St                         PO Box 1087                           PO Box 2417
Laredo, TX 78041                        Weatherford, TX 76086                 Truckee, CA 95160




Service Electric                        Service Electric RE Electric          Seth Allen Graham
PO Box 2000                             Sheri Barton                          1708 Ashland
Kilgore, TX 75663                       PO Box 1578                           Ruston, LA 71270
                                        Kilgore, TX 75663
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Seth Graf                               Seth Ireland                             Seth Kelly
146 Brazil Rd                           9805 Katy Freeway                        PO Box 1101
Levelland, TX 79336-9102                Suite 400                                Fairfax, CA 94978
                                        Houston, TX 77024




Seth W Herndon Jr                       Setpoint Integrated Solutions            Seven Seventeen Credit Union
PO Box 702158                           Ralph Landeche                           3181 Larchmont Ave NE
Tulsa, OK 74170                         19151 Highland Rd                        Warren, OH 44483-2498
                                        Baton Rouge, LA 70809




Severn Trent De Nora Texas              Seymour Weiss Family Trust               Seymour Weiss Ii
PO Box 660367                           Fbo Megan Weiss                          Seymour Weiss Trust Fbo
Dallas, TX 75266-0367                   Bankplus Trustee                         Bank One La Na Trustee
                                        1018 Highland Colony Parkway Suite 600   P O Drawer 99084
                                        Ridgeland, MS 39157                      Fort Worth, TX 76199



Seymour Wormser Marital Trust           Sff Royalty LLC                          Sfj LLC
David B Wormser Trustee                 PO Box 2080                              Wells Fargo Bank Na Agent
PO Box 509                              Midland, TX 79702                        PO Box 1959
Schertz, TX 78154                                                                Midland, TX 79702




Sg Americas Secu                        Sg Americas Securities Fixed Income      Sgo Petroleum Inc
Attn Ed Byrne                           1221 6th Ave                             C/O Ocean Energy Inc
1221 6th Ave                            New York, NY 10020                       PO Box 4971
New York, NY 10020                                                               Houston, TX 77210-4971




Sgs Natural Gas LLC                     Sgw Minerals LLC                         Sh Hudgins Estate Ro Hudgins
1101 E Plano Pkwy                       333 Texas St Ste 2290                    Texas Gulf Bank Na
Suite F                                 Shreveport, LA 71101                     PO Box 738
Plano, TX 75074                                                                  Lake Jackson, TX 77566




Sha Lynn Lewis                          Shack Bennett Cashen 1999 Tst            Shack Bennett Cashen 2002 Tst
3708 Broyles Street                     Regions Bank Nrre Operations             Shack Bennett Cashen Trustee
Houston, TX 77026                       Agent Acct 4390040007                    PO Box 803187
                                        PO Box 11566                             Dallas, TX 75380
                                        Birmingham, AL 35202



Shackelford County Appr Dist            Shad E Graham Estate                     Shadonna Olugu
PO Box 2247                             Michael Estok Executor                   9900 Adleta Blvd Bldg 14
Albany, TX 76430-2247                   1911 Mclean Street                       Apt 1407
                                        Aliquippa, PA 15001                      Dallas, TX 75243




Shadow Mountain Water                   Shadygrove United Methodist Ch           Shaffer Services LLC
PO Box 2047                             c/o Financial Secretary                  4028 Meadows Avenue
Rock Springs, WY 82902                  PO Box 737                               Evans, CO 80620
                                        Mansfield, LA 71052




Shafter Lake Royalty                    Shale Tank Truck LLC                     Shale Tank Truck LLC
PO Box 12208                            General Counsel                          PO Box 201646
Dallas, TX 75225                        1001 Louisiana Street Suite 2900         Dallas, TX 75320-1646
                                        Houston, TX 77002
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Shale Tank Trucks                     Shamred Associates Inc          Shamrock Equipment Rental
PO Box 201646                         PO Box 161421                   PO Box 367
Dallas, TX 753201646                  Mobile, AL 36616                Devers, TX 77538




Shamrock Sales And Service Inc        Shan P Campbell                 Shan Reece
3400 Columbia County Road 21          5716 Stones River Ave           4384 Linkwood Place
Taylor, AR 71861                      Baton Rouge, LA 70817           Melbourne, FL 32940




Shanan Lea Solomon Sp                 Shane Charles Poncho            Shane Leah Bowen
c/o Suzanne Irby                      32355 Cardinal Ln               1509 Beechwood Ave
3407 Sam Houston                      Tecumsen, OK 74873              Nashville, TN 37212-5516
Sugarland, TX 77479




Shane Lough                           Shane R Goodman                 Shane Sossman
1100 Telluride Ct                     Address Redacted                Address Redacted
Midland, TX 79705




Shane Wilson                          Shannon Adams                   Shannon B Brown
3364 Dianna Dr                        14 Micelle Lane                 4640 Highway 544
Longview, TX 75602                    Jacksonville, AR 72076          Simsboro, LA 71275




Shannon B Lindsay                     Shannon Bill Taylor             Shannon Clinic Rp
414 Jet Drive                         9587 Red Arrow Hwy Apt 214      PO Box 90259
Longview, TX 75603                    Bridgman, MI 49106-9536         San Angelo, TX 76902-8059




Shannon Cole Duplechian               Shannon Devon Hunt              Shannon Elise Young Ray
1145 Lake Dr                          337 Crosscreek Drive            200 Bailey Avenue Suite 102
Woodworth, LA 71485                   Bossier City, LA 71111          Fort Worth, TX 76107




Shannon Glenn Morris                  Shannon Guess                   Shannon Hebert
2431 Century Loop                     126 Private Road 616            Address Redacted
Eros, LA 71238                        Beckville, TX 75631-6805




Shannon Hulsey Dunn 1991 Trust        Shannon J Burns                 Shannon J Jordan
Jpmorgan Chase Bank                   2105 U S Highway 60 E           608 Bartlett
PO Box 99084                          Henderson, KY 42420             Laredo, TX 78043
Fort Worth, TX 76199




Shannon Joe Madden                    Shannon Kramolis                Shannon Kyle Kippling Et Ux
3530 Fm 10                            56 E Royal Fern Way             Kimberly D M Kippling
Carthage, TX 75633                    Santa Rosa Beach, FL 32459      PO Box 1118
                                                                      Ruston, LA 71273
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Shannon Lavon Gottschalk                 Shannon Lowrene Reed                  Shannon March Haese
610 S Scott Park Rd                      8629 Ryan Ridge Lp                    335 Wilson St
Eldridge, IA 52748-1305                  Montgomery, AL 36117                  Lake Charles, LA 70601




Shannon Mayfield                         Shannon P Ables Trust 2181            Shannon Parker Mcdonald
39 Waverly Ave                           c/o Jp Morgan Chase Bank Na Tte       Testamentary Trust
Lancaster, LA 17601                      PO Box 99084                          c/o Jp Morgan Chase Bank Na Ttee
                                         Fort Worth, TX 76199-0084             PO Box 99084
                                                                               Fort Worth, TX 76199-0084



Shannon R Wilhite Wanda F Wilhite        Shannon Ray                           Shannon Ray Sep Subtr Uta
331 Reynolds Rd                          Shannon Ray Sep Subtrust U/T/A        Brec Shannon Ray Rev Tr
Arcadia, LA 71001                        Breck Ray Shannon Ray Rev Tr          Shannon Young Ray Ttee
                                         200 Bailey Ave Suite 102              200 Bailey Ave Ste 102
                                         Fort Worth, TX 76107                  Fort Worth, TX 76107



Shannon S Wynne                          Shannon Shivor Allen A Single Woman   Sharbro Holdings LLC
c/o Theodore F Kuchta Cpa                643 Owens Road                        PO Box 840
3601 Normandy Ave                        Calhoun, LA 71225                     Artesia, NM 88211
Dallas, TX 75205




Sharbro Oil Ltd Co                       Sharee Crossley Fricke                Shareholder Com
PO Box 840                               1620 Avalon St                        c/o Wells Fargo Bank
Artesia, NM 88211                        Port Lavaca, TX 77979                 Lockbox 30200
                                                                               PO Box 8500
                                                                               Philadelphia, PA 19178-0200



Sharewell Energy Services LLC            Sharla Broussard                      Sharla Kay Bell
PO Box 4346                              PO Box 72                             4805 16Th St
Dept 928                                 Utopia, TX 78884                      Lubbock, TX 79416
Houston, TX 77210-4346




Sharla Rounsavall                        Sharon A Anderson                     Sharon A Cohagen
8590 Cr 415                              2217 Rockbluff Drive                  315 E Madison
Tyler, TX 75704                          Rowlett, TX 75088                     Overton, TX 75684




Sharon A Partridge                       Sharon A Williams                     Sharon Adams
328 E Lansing Way                        844 S Turner Ave                      2447 Cordova Street
Fresno, CA 93704                         Tyler, TX 75701                       Oakland, CA 94602




Sharon Adams Priest                      Sharon Ann Brown                      Sharon Ann Conder
702 East 56Th Street 2                   1507 Briarwood Trail                  6515 Rycroft Dr
Long Beach, CA 90805                     Henderson, TX 75654                   Riverside, CA 92506




Sharon Ann Garrison                      Sharon Aris                           Sharon Arrington
4305 Ashmore Dr                          Charles Schwab Co Inc Cust            3110 Elkdale Dr
Ft Worth, TX 76180                       Sep Ira                               Houston, TX 77082
                                         777 Moultrie St
                                         San Francisco, CA 94110
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Sharon Blackwood                      Sharon Blevins                  Sharon Brady Booker
13802 Saddle Hill D                   1712 Queen Street               2458 Charlie Jones Road
Little Rock, AR 72212                 Fort Worth, TX 76103            Mansfield, LA 71052




Sharon Brady Roy Rbc Booker           Sharon Brown                    Sharon Brown Wynne
2458 Charlie Jones Road               1201 Main Street 9th Floor      511 West 6Th Street
Mansfield, LA 71052                   Dallas, TX 75202                Tyler, TX 75701




Sharon Campbell                       Sharon Crawford                 Sharon D Beck Garrett
7122 W Belmont Dr                     13207 Drysdale                  1556 Warwick Dr
Littleton, CO 80123                   Springhill, FL 34609            Lancaster, TX 75134




Sharon D Fairchild                    Sharon D Kilcoyne               Sharon D Stuckey
18740 E Shoreland Dr                  1519 Dauphine Drive             3629 Cypress St Apt 11
Rocky River, OH 44116                 Ruston, LA 71270                West Monroe, LA 71291




Sharon Dale Ingle                     Sharon Daniels                  Sharon Darlene Chapman
4284 Government Blvd                  721 South Fulton Street         1209 Price Street
Mobile, AL 36693                      Denver, CO 80206                Henderson, TX 756543428




Sharon Deemar Szachowicz Trust        Sharon Denice Lee               Sharon Denise Allen
Sharon Deemar Szachowicz Ttee         1202 Graham Dr                  1302 Lewis St
PO Box 2305                           Tyler, TX 757016810             Ruston, LA 71270
Glenview, IL 60025-6305




Sharon Diane Morrison                 Sharon E Abrams                 Sharon E Clinton
226 N Broadway                        5003 E Outer Dr 708             504 Willow Branch Rd
Azle, TX 76020                        Detroit, MI 48334               Norman, OK 73072-4513




Sharon E Kendall                      Sharon Elizabeth Thurman Ivey   Sharon Fancher
735 State Hwy 135                     313 Davis Street                PO Box 175
Gladewater, TX 75647                  Carthage, TX 75633              Martinsville, TX 75958




Sharon Flores                         Sharon Fogarty Long             Sharon Ford
PO Box 216                            2010 Sunderland Dr              3013 W Barnett Springs Avenue
Wells, TX 75976                       Bethlehem, PA 18015             Ruston, LA 71270




Sharon Freeman Goldman                Sharon Fuller                   Sharon G Pittman
157 Tony Road                         PO Box 134                      7509 Beau Terre Ct
Sterlington, LA 71280                 Shiner, TX 77984-0134           Corpus Christi, TX 78414
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Sharon Garrett Standley               Sharon Green Townsend           Sharon Jackson Berthelot
8401 Silver Ridge Drive               869 Boggy Road                  9401 E Heatherstone Dr
Austin, TX 78759                      Waskom, TX 75692                Shreveport, LA 71129




Sharon K Clipper                      Sharon K Hurst                  Sharon K Schull
1023 College Dr 2012                  2210 Robbinwood Ln              3306 E Grand
Texarkana, TX 75503                   Longview, TX 756012932          Springfield, MO 65804




Sharon Kay Creech Booker              Sharon Kay D Bailey             Sharon Kay Leithe
2458 Charlie Jones Road               20706 Oakhurst Meadows Dr       6049 Pepperwood Avenue
Mansfield, LA 71052                   Porter, TX 77365                Lakewood, CA 90712




Sharon Kay Pearce                     Sharon Kay Short                Sharon Kay Walker
13990 Highway 151                     1109 Ridge Drive                1890 E Fir Rd
Arcadia, LA 71001                     West Monroe, LA 71292           Carthage, MO 64836




Sharon L Kohler                       Sharon L Mcfadden Camper        Sharon Lee Topolski
42 Pudding Brook Dr                   4003 Canyon Brook Court         1232 Scenic Oaks Drive
Pembroke, MA 02359                    Houston, TX 77059               Imperial, MO 63052




Sharon Louise Hull Robinson           Sharon Louise York Gentry       Sharon Lynn Green
3709 Austin Ct                        PO Box 2966                     5049 Longstreet Plac
Flower Mound, TX 75028                Canyon Lake, TX 78133           Bossier City, LA 71112




Sharon Lynn Stutts                    Sharon Marshall Holcomb And     Sharon Mccraney
447 Mistflower Dr                     Robert B Holcomb Jtwros         1007 South Donovan Street
Richmond, TX 77469                    PO Box 603                      Seattle, WA 98108
                                      Judson, TX 75660




Sharon Mccrory Balser                 Sharon Meyer Callaway           Sharon Otstott Salmon
10732 South Mall Dr                   920 W Laguna Dr                 410 S Avenue G
Baton Rouge, LA 70809                 Tempe, AZ 85282-4779            Clifton, TX 76634-2138




Sharon Owens                          Sharon P Meyers                 Sharon P Strother
2904 Echo Court                       136 Pennsylvania                4201 Stanhope Ave
Carrollton, TX 75007                  Shreveport, LA 71105            Dallas, TX 75205




Sharon Pace Lane                      Sharon Pinkston Roberts Sp      Sharon Reeves Landaiche
5814 86Th St                          1721 Tanglewood Circle          1100 Aubrey Lane
Lubbock, TX 79424                     Nacogdoches, TX 75964           Heflin, LA 71039
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Sharon Renee E Cole                   Sharon Renee Hogan Singleton         Sharon Roland
4430 Running Pine                     4713 Roberts Circle                  2165 Waterstone
League City, TX 77573                 Shreveport, LA 71109                 Aubrey, TX 76227




Sharon Rushton                        Sharon Sampson Mills                 Sharon Savage Smith
1201 Baxley Lane                      PO Box 503                           22 Encantado Loop
Longview, TX 75604                    Arcadia, LA 71001                    Santa Fe, NM 87508




Sharon Savoy                          Sharon Simonton Williams             Sharon Smith
16875 Lynn Ln Apt 3                   551 Hwy 563                          PO Box 129
Huntington Beach, CA 92649-5053       Dubach, LA 71235                     Palisade, CO 81526




Sharon Spencer                        Sharon Starr Wells                   Sharon Thrash Smith
630 S 37Th Apt 5                      4809 Lakefront Terrace Ct            104 Forrest Street
Richmond, CA 948044276                Pearland, TX 77584-5993              Henderson, TX 75654




Sharon Vinson Jett Lease              Sharon W Marshall                    Sharon W Mcfarlin
315 Cresthaven Drive                  1906 Illinois Ave                    c/o Texas Comptroller Of Public Accounts
Rockwall, TX 75032                    Ruston, LA 71270                     Unclaimed Property Division
                                                                           PO Box 12019
                                                                           Austin, TX 78711-2019



Sharon W Stewart                      Sharon Wellman                       Sharon Whitaker Thomas
PO Box 636                            710 West Country Club Road           PO Box 163413
Logansport, LA 71049                  Hallsville, TX 75650                 Fort Worth, TX 76161-3413




Sharonda Mill Melvin                  Sharp Ward Ross Mcdaniel And Price   Sharpie Supply
6935 W Palo Verde                     c/o Office Of Texas State            Box 351955
Peoria, AZ 85345                      Unclaimed Property Divison           Los Angeles, CA 90035
                                      PO Box 12608 Capitol Station
                                      Austin, TX 78711



Sharra Chandler Woods                 Sharron Griggs Welch                 Sharron Hays Grafton
560 Hwy 519                           9641 Ne 34Th St                      7762 Hwy 80 W
Arcadia, LA 71001                     Clyde Hill, WA 98004                 Ruston, LA 71270




Sharron K Jackson                     Sharron Lee Anderson                 Sharron Mann Venable
1405 Ridge Drive                      PO Box 8                             5435 Kinglet
West Monroe, LA 71292                 Evening Shade, AR 72532-0008         Houston, TX 77096




Sharunda Arlecia Crane                Shary L Anderson                     Sharyland Utilities
PO Box 423                            4002 Karen Circle                    PO Box 650726
Simsboro, LA 71275                    Rowlett, TX 75088                    Dallas, TX 75265-0726
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Sharyn Eileen Shaw                       Sharyn P Jordan                        Shaun Orlando Holmes Sep Prop
408 Lakewood Dr                          608 Bartlett                           2731 Farmstead Court
Trophy Club, TX 76262                    Laredo, TX 78040                       Grayson, GA 30017




Shaun Patrick Carr A Minor               Shauna Joyce Kyle                      Shaundra Pierson
Jacqueline Blake Guardian                294 County Road 4552                   1206 Rocky Falls Lane
2924 West Blvd                           Carthage, TX 75633-8626                Huffman, TX 77336
Los Angeles, CA 900163631




Shavers Crawfish Cartering               Shavon Mayweather                      Shaw Energy Inc
270 Ockley Drive                         834 Northland Ave                      1854 Lockhill Selma Road
Shreveport, LA 75505-3025                Buffalo, NY 14215                      Suite 101
                                                                                San Antonio, TX 78213




Shaw Interests Inc                       Shawcor Composite Production Systems   Shawn A Richard A Bassham Jr
310 W Wall Street Suite 305              PO Box 975369                          Tenants By The Entireties
Midland, TX 79701                        Dallas, TX 75397-5369                  PO Box 1649
                                                                                Coeur DAlene, ID 83814




Shawn Armstrong                          Shawn Bean                             Shawn Dwain Hall
2401 N 51st Street                       1771 Stephens Hwy                      1803 Fm 138
Waco, TX 76710                           Mt Holly, AR 71758                     Center, TX 75935




Shawn Edward Sullivan                    Shawn L Pope                           Shawn Leigh Chandler
16615 Se 181st Ter                       Address Redacted                       483 Heard Rd
Weirsdale, FL 32195-3304                                                        Ruston, LA 71270-1038




Shawn Lindsey                            Shawn Marie Tate                       Shawn Michael Richardson Jr
Address Redacted                         1415 Shady Bend Drive                  3115 Joyce Ct
                                         Sugarland, TX 77479                    Saint Paul, MN 55121-2309




Shawn P Hannifin                         Shawn Schmiechen                       Shawn Victor Massad Trust
730 17Th St Ste 325                      Address Redacted                       c/o Trust Division
Denver, CO 80202                                                                Texas Bank And Trust
                                                                                PO Box 2749
                                                                                Longview, TX 75606



Shayla F Simmons                         Sheaff Brock Investment Advisors       Shearn Moody Estate Agency
7416 Brad St                             8801 River Crossing Blvd 100           c/o Moody Natl Bank Trust Dept
Falls Church, VA 22042                   Indianapolis, IN 146240                PO Box 1139
                                                                                Galveston, TX 77553




Shearn Moody Jr                          Shegerian Associates Inc               Sheila A Lawrence
c/o Robert L Moody Agent                 Cortney Shegerian Esq                  4702 E Vernon Ave
2302 Post Office 702                     225 Santa Monica Boulevard Suite 700   Phoenix, AZ 85008
Galveston, TX 77550                      Santa Monica, CA 90401
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Sheila A Younger                       Sheila Ann Pardo                  Sheila Ann Simpson Bradford
3940 Ohio Ave                          Address Redacted                  176 Doles Ln
Richmond, CA 94804                                                       Deridder, LA 70634




Sheila Bennett Evers                   Sheila Burnett                    Sheila Bussey Young
10513 Fm 2011 E                        1610 Cr 109                       1270 Old Highway 80
Longview, TX 75603                     Sweetwater, TX 79556              Hallsville, TX 75650




Sheila Cone Gilmore                    Sheila Cooper                     Sheila Crawford Windham
8385 Fm 1344                           PO Box 204                        6933 County Road 4020
Floresville, TX 78114                  Lisbon, LA 71048                  Timpson, TX 759753442




Sheila Darlene Johnson Manning         Sheila Dianne Powers Porter       Sheila Fay Doss Roden
2307 Hwy 160                           3629 Ranch Creek Dr               2345 John Warren Road
Benton, LA 71006                       Austin, TX 78730                  Bolton, MS 39041




Sheila Gail Mcgee                      Sheila Gail Wiggins Life Estate   Sheila Holley Alsup
737 Connell Ferry Rd                   737 Connell Ferry Rd              5733 Hunter Lane
Joaquin, TX 75954                      Joaquin, TX 75954                 Tanner, AL 35671




Sheila J Beebe Box                     Sheila Jacobs Anderson            Sheila Johnson
39 Cornerbrook Pl                      1103 Northeast St                 2298 San Pablo Avenue
The Woodlands, TX 77381                Jonesboro, LA 71251               Oakland, CA 94612




Sheila Kay Landers Michel              Sheila Louise E Thomas            Sheila Mariea Clark Jones
PO Box 924                             6505 Shaw Ferry Rd 3              9730 Baird Road Apt 3523
Kermit, TX 79745                       Lenoir City, TN 37772             Shreveport, LA 71118




Sheila Murray                          Sheila Perry Davis                Sheila Perry Quintanilla
1052 Highway 823                       507 A N Georgia St                1505 West Ave
Dubach, LA 71235                       Crossett, AK 71635                Monroe, LA 71201




Sheila Simonton                        Sheila W Adams                    Sheila Waddell
3943 Chatworth St                      c/o Texas State Treasury          7443 Viewcrest Dr
Pittsburg, CA 94565                    Unclaimed Property Division       San Diego, CA 92114
                                       PO Box 12019
                                       Austin, TX 78711-2019



Sheila Walker Meachum                  Sheila Williams                   Shelby County Appraisal District
2918 Stallings Dr                      1666 Morningdew Place             724 Shelbyville St
Houston, TX 77088                      Missouri City, TX 77459           Center, TX 75935
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Shelby County Sherrifs Department      Shelby County Tax Assesor              Shelby Gene Cooper
100 Hurst                              Collector                              343 Barmore Road
Center, TX 75935                       200 San Augustine St                   Dubach, LA 71235
                                       Center, TX 75935




Shelby H Carter Jr                     Shelby Hill Descendants Trust          Shelby Lp Gas Co
2301 Island Wood Road                  3209 Armand St                         831 S El Camino Crossing
Austin, TX 787332117                   Monroe, LA 71201                       San Augustine, TX 75972




Shelby Oilfield Supply                 Shelby Panola Equipment Services LLC   Shelby Pelafigue Et Ux
2235 Hwy 7 East                        3094 St Hwy 7 East                     Venetia Rosemarie F Pelafigue
Center, TX 75935                       Center, TX 75935                       219 Carrier St
                                                                              Opelousas, LA 70570




Shelby Saltwater Systems LLC           Shelby Savings Bank                    Shelbylane LLC
Lauren Blackburn                       111 Selma St                           5523 Louetta Rd Ste B
1301 Mckinney Street Suite 1800        Center, TX 75935                       Spring, TX 77379
Houston, TX 77010




Sheldon A Satty                        Sheldon Elins                          Sheldon Isd Tax Office
Individual Retirement Account          35 Jefferson Dr                        Tax Assessor Collector
Rbc Capital Markets Llc Cust           Monroe, NY 10950                       11411 C E King Parkway Ste A
7715 Southampton Terr Apt E207                                                Houston, TX 77044-7192
Tamarac, FL 33321-9109



Shelia A Sartin                        Shelia Marie Smith Isaac               Shelia Mcgensey
1410 Bennie Breece                     1125 Oakbluff Drive                    751 Kilgore Dr Apt 15D
West Monroe, LA 71292                  Lancaster, TX 75146                    Henderson, TX 75652-5266




Shelia Modicure                        Shelia Stephens                        Shell Energy North America
3806 Lionel St                         PO Box 446                             909 Fannin Plaza Level 1
Monroe, LA 71203                       Deberry, TX 75639                      Houston, TX 77010




Shell Federal Credit Union             Shell Oil Company                      Shell Petroleum Corp
301 E 13th St                          PO Box 301441                          1000 Main St Suite 1700
Deer Park, TX 77536                    Houston, TX 77230-1441                 Houston, TX 77022




Shell Trading Risk Management LLC      Shell Trading Us Company               Shelley Coleman
100 Main St 12Th Flr                   PO Box 4604                            1022 Lorilei Ln
Houston, TX 77002                      Houston, TX 77210-4604                 Springfield, TN 37172




Shelley D Naquin Individually And      Shelley D Roberts                      Shelley Fuller Woods
As Agt For Donald P Naquin             320 Suffield Ave                       2311 Garapan Dr Apt 203
4114 Fm 2428                           Birmingham, MI 48009-1260              Dallas, TX 75224-2743
Joaquin, TX 75954
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Shelley Hall Nelson                     Shelley K Stall                        Shelley Karl
1904 Vicksburg Ave                      6411 Johanne Ct                        c/o Sally Jackson Guardian
Lubbock, TX 79407                       Austin, TX 78750                       2 S 550 Gray Ave
                                                                               Lombard, IL 60148




Shelley Lynn Wells Independent          Shelley Nail Weber Separate Property   Shelley Nguyen
Executrix Of The Estate Of Billi        PO Box 247                             Address Redacted
Terresa Cowden Deceased                 Lockhart, TX 78644
PO Box 18183
Austin, TX 78760



Shelley R Goodman                       Shelley S Delley                       Shelley S Reynolds
PO Box 22202                            Felisha Lynch Poa                      20342 N 110Th Ln
St Petersburg, FL 22742                 4711 S Caleta Ln                       Sun City, AZ 85373-2304
                                        Midlothian, TX 76065




Shelley Willard                         Shelly B Washington                    Shelly Chapple
3730 Fairfield Ave Unit 138             2015 Adams Ave                         1202 Mayfair Way
Shreveport, LA 71104                    Missouri City, TX 77489                Kingwood, TX 77339




Shelly Hoard                            Shelly L Davis                         Shelly Naquin
6508 Treepoint Dr Apt 277               683 County Road 207 West               1185 Fm 3174
Arlington, TX 76017-0869                Henderson, TX 75652                    Joaquin, TX 75954




Shelton Colquitt Estate                 Shelton Earl Dunn                      Shelton Earl Dunn Et Ux
c/o Jesse Colquitt                      322 Nevada Dr                          322 Nevada Dr
4144 Calderwood Dr                      Monroe, LA 71202                       Monroe, LA 71202
Shreveport, LA 71119




Shelton Lorenz Perritt                  Shelton Malcolm                        Shelva L Thomas
Charlotte Smith Perritt                 Rt 2 Box 44 A                          805 North 35Th Street
14054 Hwy 151                           Simsboro, LA 71275                     Monroe, LA 71201
Arcadia, LA 71001




Shelving Exchange Inc                   Shelyna Thawer Rice                    Shemeca Roberson Sep Prop
860 Wakefield Dr                        3992 Lord Byron Cir                    232 Hwy No 507
Houston, TX 77018                       Round Rock, TX 78664-3935              Simsboro, LA 71275




Sheng Vivian Ou Trust                   Shenkman Capital Management Inc        Shepeard Hood
Ua Mar 25 2014                          461 Fifth Ave 22nd Floor               1308 Harmon Loop
Sheng Vivian Ou Tr                      New York, NY 10017                     Homer, LA 71040
2802 Olympic View Dr
Chino Hills, CA 91709-1401



Shepherd Energy Partners                Shepperds Cleaning Svcs LLC            Sherard A Tatum Jr Living Trust
Attention Matt Culver                   PO Box 1142                            217 Amohi Way
PO Box 8813                             Carthage, TX 75633                     Loudon, TN 37774-3037
Tyler, TX 75711
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Sherard Dusty W Cristi L Sherard       Sheree Bridges                   Sheri E Hill Robinson
4887 Country Club Road East            700 E Burton St                  2223 E Illinois Ave
Longview, TX 75602                     Sulphur, LA 70663                Dallas, TX 75216-3315




Sheri L Vickrey                        Sheri Lewis Burt                 Sheri Marie Hindman
1806 Glasgow Blvd                      134 Shady Hill Ln                4407 Buckboard Cir
Rawlins, WY 82301                      Ruston, LA 71270                 Corinth, TX 76208




Sheri Portales                         Sheri Roberts Roling             Sheri S Persons Life Estate
5814 Knightsbridge Dr                  PO Box 582                       2204 Midhurst Dr
Dallas, TX 75252-5011                  White Oak, TX 75693              Arlington, TX 76013




Sheri Singleton Caver Ladner           Sheria N Patterson               Sheridan Family Trust
190 Noble School Road                  20329 Denker Ave 2               3935 N Country Club Rd Apt 218
Dubach, LA 71235                       Torrance, CA 90501               Tucson, AZ 85716




Sheridan J Ropp                        Sheridan Kate Sylvester          Sheridan Production Co LLC
144 Overhill                           542 Holly Grove                  PO Box 203497
Salina, KS 67401                       Plantation Lane                  Dallas, TX 75320-3497
                                       Washington, LA 70589




Sherilyn F Mcclain                     Sherilyn Meltzer Bird            Sherita Maddox Galvez
PO Box 630567                          2010 Beaver Trail                7906 Bayou Forest Dr
Houston, TX 772630567                  Prosper, TX 75078                Houston, TX 77088




Shermaletha P Watson                   Sherman Exploration LLC          Sherman Ray Harper Husband Of
625 Heather Knoll Dr                   PO Box 2109                      Vernice Baldwin Harper Cp
Desoto, TX 75115                       Longview, TX 75606               12151 Bayport St Apt 10 304
                                                                        Garden Grove, CA 92840-4432




Sherman Ray Harper S/P                 Sherman Shaw                     Sherman Stuart Young
12151 Bayport St Apt 10 304            343 Mchenry Gin Road             PO Box 470128
Garden Grove, CA 92840-4432            Monroe, LA 71202                 Fort Worth, TX 76147




Sherman W Sinclair Jr Et Ux            Sherolyn Myles Harris Sep Prop   Sheron Attaway Walton
Doris Jo Sinclair                      762 Evangeline Drive             210 Cr 104
6375 Hwy 160                           Arcadia, LA 71001                Center, TX 75935
Cotton Valley, LA 71018




Sheron Delene Rudd Perry               Sherra Crawford                  Sherra Jernigan
Hc Box 56                              PO Box 29592                     Box 61233
Rociada, NM 87742                      Shreveport, LA 71149             Oklahoma City, OK 73146
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Sherri Gibson                            Sherri Lyn Batts                Sherri Lynn Tinsley Sharp
18727 Palm Beach Blvd                    5401 Centeridge Lane            2205 Grapevine Lane
Montgomery, TX 77356                     Mckinney, TX 75071              Haughton, LA 71037




Sherri Willis Johnson                    Sherrie Anderson                Sherrie Ann Owens
808 Ridgefield                           5317 Looman Street              2000 Price Street
Plano, TX 75075                          Wichita, KS 67220               Henderson, TX 75654




Sherrie D Durrett Alexander              Sherrie Kay Doss Landrum        Sherriel Kay Halvorson
1103 Louisiana Ave                       PO Box 127                      c/o Holly Nance
Minden, LA 71055                         Dubach, LA 71235                19208 Sotogrande Dr
                                                                         Pflugerville, TX 78660




Sherrill Jordan Rasberry                 Sherrill Lynn Rinehart          Sherrilyn Jordan Windsor
11585 Cr 4186 West                       448 Tucker                      472 Cr 2235
Henderson, TX 75654                      Ashland, OR 97520               Douglasville, TX 75560




Sherrod Services LLC                     Sherrol E Roberts               Sherron R Springer
311 Lcr 730                              8 S 270 Derby Court             PO Box 1103
Thornton, TX 76687                       Naperville, IL 60540            Kalama, WA 98625




Sherry A Lundberg                        Sherry Ann Jennings Evans       Sherry Ann Mulkey
9809 Buxhill Drive                       2829 Saint Paul Street          2580 Norway
Dallas, TX 75238                         Denver, CO 80205                Littlefield, TX 79339




Sherry Ann Trent                         Sherry Beers                    Sherry Borders Jones
1516 Jedlicka Road                       7950 E Stella Rd E 5            501 S Clayton
Kemp, TX 75143                           Tucson, AZ 85730                Tyler, TX 75702




Sherry Brunson Hardin                    Sherry Burrough Alexander       Sherry Covington Shelton
2525 Benton Rd                           4216 Boxwood Drive              705 6Th Street Nw
Bossier City, LA 71111                   Balch Springs, TX 75180         Springhill, LA 71075




Sherry Diane Hardin                      Sherry Diann Jones Nettles      Sherry E Brooks
3108 W Kansas                            198 Fm 711                      c/o Jude A Sloter
Midland, TX 79701                        Center, TX 75935                4909 Woodbend Court
                                                                         Fort Worth, TX 76132




Sherry Griffis Applegate                 Sherry Griffis Brown            Sherry Griffis Davis Harrison
Harrison Co Dist Clerk Obo               Harrison Co Dist Clerk          Cnty Dist Clerk O/B/O
Jo Neils Applegate                       Obo James E Brown               James Harley Davis Et Ux Margaret
200 W Houston 234                        200 W Houston 234               200 West Houston Ste 234
Marshall, TX 75671                       Marshall, TX 75671              Marshall, TX 75671
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Sherry Griffis Good                     Sherry Griffis Kyle             Sherry Griffis Mckellar
Harrison County Dist Clerk On           Harrison Co Dist Clerk          Harrison Co Dist Clerk
Behalf Of Edith Earline Good            Obo Georgia Kyle                Obo G G Mckellar
200 West Houston Ste 234                200 W Houston 234               200 W Houston 234
Marshall, TX 75671                      Marshall, TX 75671              Marshall, TX 75671



Sherry Griffis Piedra                   Sherry Griffis Ray              Sherry Griffis Wells
Harrison Co Dist Clerk                  Harrison Co Dist Clerk          Harrison Co Dist Clerk
Obo Edie Della Piedra                   Obo James Bruce Ray             Obo Robbie Wells
200 W Houston 234                       200 W Houston 234               200 W Houston 234
Marshall, TX 75671                      Marshall, TX 75671              Marshall, TX 75671



Sherry Harper                           Sherry Harrison                 Sherry Jacobs
PO Box 901                              PO Box 69                       736 Wesley Ave
Brea, CA 92823                          Hughes Springs, TX 75656        Shreveport, LA 71107




Sherry Jean Compton Ransom              Sherry Jeane Bryant             Sherry Johnson
PO Box 1758                             2509 Cherry Sage Drive          12715 Teakwood Dr
Kilgore, TX 75662                       Arlington, TX 76001             Baker, LA 70714




Sherry Jones                            Sherry K Anderson               Sherry Kelly
PO Box 1503                             2007 North Spruce               5463 County Road 462 South
Artesia, NM 88211                       Wichita, KS 67214               Henderson, TX 75654




Sherry L Bourque                        Sherry L Wallace Treadaway      Sherry Lofton
458 Countrywood Blvd                    909 South James                 13510 Lake Lurleen Rd
Sour Lake, TX 77659                     Monahans, TX 79756              Coker, AL 35452




Sherry Lynn Blalock Smith               Sherry Lynn Fuller              Sherry Lynn Graham
2017 Tiehack Lane                       Mary Washington Poa             PO Box 571703
Garland, TX 75044                       1501 Meadowcrest Drive          Dallas, TX 75357
                                        Garland, TX 75042




Sherry Lyons                            Sherry Martine Edwards          Sherry Nevada Oil Royalty Co
8003 Woodway Dr Apt 22                  10023 Shell Rock                A N M General Partnership
Houston, TX 77063                       La Porte, TX 77571              1919 N Turner
                                                                        Hobbs, NM 88240




Sherry R Lewis                          Sherry Redd Nash                Sherry Warwick Keeling
99 N Post Oak Lane 6207                 1509 Cherry Hill Drive          PO Box 274
Houston, TX 77024                       Lufkin, TX 75901                Elkhart, TX 75839




Sherry Woodfin                          Sherryl Bollier Gentry          Sherryl Nash Cook
418 County Road 179                     1321 N Avenue H                 388 Greenwich St 11th Floor
Gary, TX 75643                          Shiner, TX 77984-5289           New York, NY 10013
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Sherva A Johnson                       Shervon Yvette Jones            Sherwin Wallace Wayne Goynes
1206 16Th Street                       7881 Green Lawn Dr              5932 Old Memory Ln
Alamogordo, NM 88310                   Houston, TX 77088               San Diego, CA 92114-1245




Sherwood Enterprises Inc               Sheryl A Lewis                  Sheryl Copeland
Post Office Box 950                    2671 Elm St                     290 Henry Lee Street
Big Piney, WY 83113-0950               Arcadia, LA 71001               Longview, TX 75605




Sheryl D Simons                        Sheryl Hill                     Sheryl Kearney Sanders
68 Ishi Circle                         3812 Oak Dale Dr                14434 Cr 407
Sacramento, CA 95833                   Pearland, TX 77581              Navasota, TX 77868




Sheryl L Molitor                       Sheryl Lee King                 Sheryl Mccullum
13333 Sh 30                            18809 Egret Bay Blvd 101        1850 Club Center Dr 413
College Station, TX 77845              Houston, TX 77058               Sacramento, CA 95835




Sheryl Nash Cook                       Sheryl Renee Coquat Young       Sheryl Whalen
388 Greenwich St 11th Floor            3708 Vinecrest                  300 Legacy Dr Apt 912
New York, NY 10013                     Dallas, TX 75229                Plano, TX 75023-2321




Sheryl Wheaton Kabasinski              Sheryl Young                    Shi International Corp
3503 Julie Drive                       17741 Shady Path Ct             PO Box 952121
Erie, PA 16506                         Baton Rouge, LA 70816           Dallas, TX 75395-2121




Shield Air Solutions Inc               Shikiar Asset Management Inc    Shiletha Jenkins
3708 Greenhouse Road                   1185 Avenue of the Americas     248 Timber Cr
Houston, TX 77084                      New York, NY 10036              Gibsland, LA 71028




Shipman Goodwin LLP                    Shipp Andrew Brown              Shipp Mechanical Services Inc
Attn Marie C Pollio                    106 Cornfield Ln                PO Box 2036
One Constitution Plaza                 Port Matilda, PA 16870-8336     Rockport, TX 78381
Hartford, CT 06103-1919




Shirely A Hinton                       Shirl LLC                       Shirlean Earley
1310 Lawndale Ave                      James W Garison Agent           2601 Marsh Lane 123
Longview, TX 75604                     601 E 15Th Street               Plano, TX 75093
                                       El Dorado, AR 71730




Shirlene Bryant                        Shirlene Speed Jabbar           Shirley A Brooks
822 Woodacre Dr                        PO Box 2092                     9524 E 71st St Apt 102
Dallas, TX 75241                       Chattanooga, TN 37409-0092      Tulsa, OK 74133-5215
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Shirley A Butler Johnson                Shirley A Fairchild Irrv Invst   Shirley A Fairchild Trustee Of
1005 Joe Bill                           Protection Trust                 The Shirley A Fairchild
West Monroe, LA 71292                   Richard L Fairchild Ii Trustee   Family Trust Dtd 2/04/2004
                                        13963 Chambers Rd                4590 Knightsbridge Blvd 250
                                        Sunbury, OH 43074                Columbus, OH 43214



Shirley A Hunter                        Shirley A Kilgour                Shirley Ann Baker Brents
3602 Christie St                        6 Tower Street                   1701 Egger Ave
Houston, TX 77026                       Red Hook, NY 12571               Round Rock, TX 78664




Shirley Ann Brown                       Shirley Ann Brown Dykes          Shirley Ann Cohen
724 David Drive                         2945 Dee St                      10015 Candlebrook Dr
Tyler, TX 75703                         Shreveport, LA 71104             Dallas, TX 75243




Shirley Ann Dunn Butler                 Shirley Ann Hall White           Shirley Ann Pierce Holloway
7211 Dubies Dr                          6341 West Post Road              1317 100Th Avenue
San Antonio, TX 78216                   Chandler, AZ 85226               Oakland, CA 94603




Shirley Ann Saunders                    Shirley Ann Warren               Shirley B Bradbury Trust
c/o Shauna Gheen                        1320 N 4Th St                    Albert E Bradburry Laura
4316 Misty Meadow Dr                    Princeton, TX 75407              PO Box 700
Fort Worth, TX 76133                                                     Bateman Sarah Ringer Trstees
                                                                         Evanston, WY 82931



Shirley B Herrin                        Shirley Bagley Keen              Shirley Benefield
13047 County Road 315                   PO Box 1055                      29017 State Highway 19 N
Navasota, TX 77868                      Carthage, TX 75633               Athens, TX 75752




Shirley Beth Anderson                   Shirley Boorman                  Shirley Bozeman
1601 E Main St                          1304 Reel Road                   204 Cr 302
Henderson, TX 75652-3220                Longview, TX 75605               Carthage, TX 75633




Shirley Bracken Wilson Evans Trust      Shirley Brown Pinkerton          Shirley Caine Leabo Life Estate
Will B Evans Successor Ttee             511 West 6Th St                  5072 Dixie Garden Drive
4004 Lexington                          Tyler, TX 75701                  Shreveport, LA 71105
Dallas, TX 75205




Shirley Cameron                         Shirley Clark                    Shirley D Easter
PO Box 346                              851 Hunterwood                   7402 N County Rd 1300
San Bernadino, CA 92405                 Jasper, TX 75951                 Shallowater, TX 79363




Shirley Dale Townley                    Shirley Davis Poole              Shirley Day
350 Pecan Cir                           791 Hwy 519                      2822 Chimney Rock Lane
Henderson, TX 75654                     Arcadia, LA 71001                San Angelo, TX 76904
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Shirley Delois Perry                   Shirley Deloris Semien                 Shirley Dennard Weaver
Rt 1                                   2145 Strathmore Drive                  Box 539
Ruston, LA 71251                       Highland Village, TX 75077             Marshall, TX 75674




Shirley Dillard                        Shirley Edelman                        Shirley Farrar Smith
2945 Candido Dr                        c/o Texas State Treasury               212 Pinecrest Drive
Sacramento, CA 95833                   Unclaimed Property Division            Arcadia, LA 71001
                                       PO Box 12019
                                       Austin, TX 78711-2019



Shirley G Ducoff                       Shirley G Womack                       Shirley Gay Henry Lykins
c/o Russell /Or J Godon Ducoff         7325 E Princess Blvd                   292 Highland Park Drive
4615 Southwest Freeway Ste 500         Unit 4207                              Eureka Springs, AR 72631
Houston, TX 77027-7106                 Scottsdale, AZ 85255




Shirley Harper Joiner                  Shirley Hickman Halligan Jjh G Gs Tr   Shirley Hickman Halligan Jjh N
138 Old Landfill Road                  c/o First Financial Tr Asset           Non Gs
Arcadia, LA 71001                      PO Box 701                             c/o First Financial Tr Asset
                                       Abilene, TX 79604                      PO Box 701
                                                                              Abilene, TX 79604



Shirley Hickman Halligan Wah G Gs Tr   Shirley Hickman Halligan Wah N         Shirley Horton
c/o First Financial Tr Asset           Non Gs                                 201 Juniper
PO Box 701                             c/o First Financial Tr Asset           Palestine, TX 75606
Abilene, TX 79604                      PO Box 701
                                       Abilene, TX 79604



Shirley Hudson                         Shirley Ing Spieckerman                Shirley J Potz Nielsen
5500 County Road 4850                  PO Box 101061                          3100 Airline Road
Warren, TX 77664                       Fort Worth, TX 76185-1061              Longview, TX 75601




Shirley J Russell Dring                Shirley Joan Latham                    Shirley Johnene Price Johnson
855 Pea Ridge Road                     2201 Spruce                            PO Box 60767
Dubach, LA 71235                       Bay City, TX 77414                     San Angelo, TX 76901




Shirley Kerr Bowden                    Shirley L Cariker Life Estate          Shirley L D Birdsong Rev Tr
Rt 1 Box 414                           2601 Juniper Dr                        c/o Shirley L D Birdsong
Joaquin, TX 75954                      Amarillo, TX 79109                     1060 Cottonwood Cir
                                                                              Golden, CO 80401




Shirley Leabo Zamzow                   Shirley M Dymond                       Shirley M Groome
17526 Bow Hill Road                    PO Box 2815                            6250 Green Leaves Road
Bow, WA 98232                          Casper, WY 82602                       Indianapolis, IN 46220




Shirley M Morris                       Shirley M Roberts Williams             Shirley Mae Morris Mcdaniel
1408 Cr 114                            100 Oak Hollow Ln                      127 Morris Drive
Carthage, TX 75633                     Red Oak, TX 75154-4610                 Simsboro, LA 71275
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Shirley Mae Stinson Medford            Shirley Malone                  Shirley Marlene Gregory Mcmillon
2301Martin Luther King Blvd            341 Malone Road                 304 Gulpha Drive
Longview, TX 75602                     Arcadia, LA 71001               West Monroe, LA 71291




Shirley Mayna Laird ChildrenS          Shirley Mead Trust 1            Shirley Mead Trust 1
Regions Bank Trustee                   Bank Of America Na Trustee      Bank Of America Na Trustee
PO Box 11566                           PO Box 830308                   PO Box 840738
Birmingham, AL 352021566               Dallas, TX 75284-0738           Dallas, TX 75284-0738




Shirley Mead Trust 1                   Shirley Mead Trust 12           Shirley Mead Trust 12
Bank Of America Na Trustee             Bank Of America Na Trustee      Bank Of America Na Trustee
PO Box 832407                          PO Box 840738                   PO Box 832407
Dallas, TX 75238-2407                  Dallas, TX 75284-0738           Dallas, TX 75283-2407




Shirley Mead Trust 12                  Shirley Mills                   Shirley Moffett
Bank Of America Na Trustee             1620 North Boulevard            301 Lyndia
PO Box 830308                          Houston, TX 77006               West Monroe, LA 71292
Dallas, TX 75283-0308




Shirley Nan Belton Wayne               Shirley Norris Haynes Russell   Shirley Notestine Wright
Green Ttees Of The B W S N             27016 N 20Th Lane               836 Soileau
Living Trust Dated 12/11/06            Phoenix, AZ 85085               Sulphur, LA 70663
PO Box 2283
Henderson, TX 75653-2283



Shirley P Davis                        Shirley P Reeder Trust          Shirley Propst Jackson
116 Water Glen Dr                      Charles A Reeder Trustee        1306 Neches Dr
Livingston, TX 77351                   4551 Carmar Dr                  Allen, TX 75013-1141
                                       Las Vegas, NV 89122




Shirley R Kovar                        Shirley R Mccoy                 Shirley Ray Compton Estes
14327 West Exposition Drive            11712 State Highway 43          1441 County Road 202
Lakewood, CO 80228                     Tatum, TX 75691                 Carthage, TX 75633




Shirley Scales Weber                   Shirley Scott                   Shirley Scott Williams
c/o Poydras Home                       512 Youmans                     105 Fountain Valley Ct
5354 Magazine Street                   Saginaw, MI 48601               Longview, TX 75605
New Orleans, LA 70115




Shirley Sherman Stuart                 Shirley Simonton Barton         Shirley Stewart
2800 Askew Ferry Road                  1207 Landover Court             159 Southwood Dr
Edwards, MS 39066                      Brentwood, CA 94513             Bossier City, LA 71111




Shirley Stone Irish Sp                 Shirley Sue Gill                Shirley Sue Leggett
133 River Knoll                        PO Box 591                      140 Crest Dr
Castroville, TX 78009                  Tenaha, TX 75974                Mount Olive, NC 28365
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Shirley T Stauss                        Shirley Todd Russell                      Shirley W Rowe
3015 Page Road                          20302 Bulverde Rd                         PO Box 4415
Longview, TX 75601                      San Antonio, TX 78259                     Tyler, TX 75712-4415




Shirley Wade Edmiston Life Est          Shirley Walker                            Shirley Wallace
393 Harrington Rd                       338 Evergreen Street                      5642 Calle Sl Si Puedes
Marshall, TX 75670                      W Monroe, LA 71292                        San Diego, CA 92139




Shirley Whitaker Arline                 Shirley Williams                          Shirley York Bates Mineral Tr
PO Box 7881                             346 C R 303                               Joy Bates Thompson Jimmie Bates
Longview, TX 75604                      Carthage, TX 75633                        Co Trustees
                                                                                  3308 Preston Road Ste 350 Pmb 127
                                                                                  Plano, TX 75093



Shirly Lacy                             Shirts More Inc                           Shivers Enterprises
121 Ashton Woods Ct                     341 E E St Ste 130                        PO Box 357
Mount Holly, NC 28120                   Casper, WY 82601-1940                     Hull, TX 77564




Sholar Nolan G                          Shook Building System Inc                 Shores Lift Solutions Field Service Div
514 Cr 3801                             355 N Sheridan Unit 104                   PO Box 12730
Joaquin, TX 75954                       Corona, CA 92880                          Odessa, TX 79768




Shores Lift Solutions Pumping Units     Shores Lift Solutions Shores Sentry LLC   Shores Sentry LLC
713 Market Dr                           713 Market Dr                             713 Market Dr
Oklahoma City, OK 73114-8132            Oklahoma City, OK 73114-8132              Oklahoma City, OK 73114-8132




Shoshana Zinn Kahn                      Shred It Usa                              Shreveport Federal C U
Robert L Zinn Aif                       PO Box 101007                             8530 Fern Ave
3400 Bissonnet Street 250               Pasadena, CA 91189-1007                   Shreveport, LA 71105
Houston, TX 77005




Shreveport Geological Society           Shreveport Petroleum Data Association     Shriners Hospital
PO Box 750                              333 Texas St Suite 900                    c/o Northern Trust Bank Of Tx
Shreveport, LA 71162                    Shreveport, LA 71101-3678                 PO Box 226270
                                                                                  Dallas, TX 75222




Shriners Hospital For Children          Shuana Scarbrough                         Shue Mary Laura Stamper
c/o John Cawood Comptrlr 6              1089 26Th Street 131                      P O Drawer 1768
PO Box 31356                            Oakland, CA 94607                         Shreveport, LA 71166
Tampa, FL 33631




Shuford Alice Hamrick                   Shuler Drilling Co                        Shull Tree Service
3825 Maplewood                          3514 West Hillsboro                       265 Hartwell Rd
Dallas, TX 75205                        El Dorado, AR 71730                       Minden, LA 71055
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Shurby Leon Washington                   Sibley Lake Realty Corporation       Sibyl Irene Dowling Russell
2107 Cr 301 So                           100 St Clair                         PO Box 939
Henderson, TX 75654                      Natchitoches, LA 71457               Haughton, LA 71037




Sibyl L B Leslie                         Sid R Bass Inc                       Sideline Collections Inc
5150 Downwest Ride                       PO Box 916107                        1031 Elk St
Columbia, MD 21044                       Fort Worth, TX 76191-6107            Rock Springs, WY 82901




Sidney Andrew Havard Lena Guest Havard   Sidney Arthur                        Sidney Barrow Peacock
3996 Hwy 544                             4641 Southern Avenue                 655 Wilder Place
Simsboro, LA 71275                       Dallas, TX 75209                     Shreveport, LA 71104




Sidney Branch Et Ux                      Sidney Brown                         Sidney C Kilgore
Mattie Lewis Branch                      310 Bermuda Drive                    114 Oak
416 Bennett Road                         White Oak, TX 75693                  Homer, LA 71040
Grambling, LA 71245




Sidney C Myers                           Sidney E Bellamy                     Sidney E Cook Jr
317 Myers Lane                           3424 Winged Foot Court               PO Box 22260
Logansport, LA 71049                     Dallas, TX 75229                     Shreveport, LA 71120




Sidney E Hardyway                        Sidney Earl Scott                    Sidney F Rivers Dorothy Blair Rivers
1060 Nesbitt Drive                       7750 Us Hwy 80 E 80                  Bobby Matthews Executer
Nashville, TN 37207                      Marshall, TX 75672                   8585 Business Park Dr
                                                                              Shreveport, LA 71105




Sidney G Campbell Forbus                 Sidney Glen Janice Colvin Mccullin   Sidney Glen Mccullin
PO Box 565                               5015 Westrilee Drive                 5015 Westrilee Dr
Heidelberg, MS 39439                     Benton, LA 71006                     Benton, LA 71006




Sidney Huey                              Sidney Hurwitz                       Sidney Ingram A/K/A James S Ingram
924 Old Stone Ct                         3904 Petra Path                      229 Cr 4115
Vacaville, CA 95687-9442                 Austin, TX 78731                     Clarksville, TX 75426




Sidney L Walker Etux Edna                Sidney Louis Robinson                Sidney Moran
136 Cr 4553                              Box 175                              18 Hudson Circle
Carthage, TX 75633                       Bethany, LA 71007                    Houston, TX 77024




Sidney Morell Decd Esch                  Sidney P Huff Iii                    Sidney Rayes
3207 Green Terrace                       639 Buchanan Rd                      Address Redacted
Shreveport, LA 71118                     Ball Ground, GA 30107
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Sidney Roger Wiggins Life Estate        Sidney Roger Wiggins Separate Property     Sidney S Long Jr
1882 Cr 455                             1882 Cr 455                                340 Center St
Carthage, TX 75633                      Carthage, TX 75633                         New Iberia, LA 70560-4502




Sidney S Mcclendon Iii Trustee          Sidney T Martin                            Sieb Resources Inc
5409 Fieldwood                          1301 Frost St                              PO Box 1107
Houston, TX 77056-2709                  Gilmer, TX 75644                           Richmond, TX 77406




Siegler Exempt Trust No 1               Siegler Exempt Trust No 2                  Siek Surveying Service
Wells Fargo Bank Na Trustee             Wells Fargo Na Trustee                     PO Box 1765
Trust Oil Gas                           Trust Oil Gas                              Casper, WY 82602
PO Box 41779                            PO Box 41779
Austin, TX 78704                        Austin, TX 78704



Siemens Water Technologies              Sierra Energy Company                      Sierra Engineering
Box 5097                                6100 Neil Rd Sierra Plaza                  PO Box 50203
Philadelphia, PA 19175-5097             Reno, NV 89520                             Midland, TX 79710




Sierra Enginnering LLC                  Sierra Hamilton LLC And Its Subsidiaries   Sierra Pacific Securities LLC
Tracey Romero                           Tracey Romero                              Attn Proxy Dept
400 Post Oak Blvd Site 400              400 Post Oak Blvd Site 400                 10100 W Charleston Ste 214
Houston, TX 77056                       Houston, TX 77056                          Las Vegas, NV 79135




Sierra Petroleum LLC                    Sierra Spirngs                             Sierra Springs
Tracey Romero                           PO Box 515326                              PO Box 660579
400 Post Oak Blvd Site 400              Los Angeles, CA 90051-6626                 Dallas, TX 75266-0579
Houston, TX 77056




Sight Into Sound                        Sigma Planning Corp                        Sigmaflow LLC
3935 Essex Lane                         300 Parkland Plaza                         Betsy Williams
Houston, TX 77027                       Ann Arbor, MI 48103                        7800 North Dallas Parkway Suite 150
                                                                                   Plano, TX 75024




Sigmaflow LLC                           Sigmar Inc                                 Sigmund J Rosenfeld
7800 North Dallas Parkway               400 N Marienfeld Street                    225 Dexter St
Ste 150                                 Suite 100                                  Denver, CO 80220
Plano, TX 75024                         Midland, TX 79701




Sign A Rama Dtc                         Sign Masters Of Tyler                      Sign Pro
7255 S Havana St                        412 S Broadway Ave                         2701 Gilmer Road
Centennial, CO 80112                    Tyler, TX 75702                            Longview, TX 75604




Signal Davis LLC                        Signal Graphics 29                         Signal Hill Disposal
6802 Lochwood Ct                        9692 E Arapahoe Rd                         PO Box 5398
Garland, TX 75044                       Greenwood Vilage, CO 80112                 Buena Park, CA 90622-5398
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Signal Petroleum                       Signature Bank Of Arkansas     Signaturefd LLC
Attn Joe Marek                         3878 N Crossover Rd            Promenade II
4110 Sycamore Lane                     Fayetteville, AR 72703         1230 Peachtree St NE 1800
Parker, TX 75002                                                      Atlanata, GA 30309




Signora Broussard Syler                Silent Unity A Dept Of         Silfia Lammert
1108 Shallow Bend Drive                Unity School Of Christianity   2309 41st Street
Desoto, TX 75115                       Hibernia Natl Bank             Snyder, TX 79549
                                       PO Box 61964
                                       New Orleans, LA 70161-1964



Siljan Oil Gas Inc                     Silver Creek Oil Gas LLC       Silver Oak Drilling LLC
8955 Katy Freeway                      PO Box 1499                    PO Box 1370
Suite 310                              Gainesville, TX 76241          Artesia, NM 88210
Houston, TX 77024




Silver Oak Operating LLC               Silver Point Finance LLC       Silver Royalties LLC
2393 Hg Mosley Parkway                 Two Greenwich Plaza            PO Box 1949
Building 4 Suite 100                   First Floor                    Odessa, TX 79760
Longview, TX 75604                     Greenwich, CT 06830




Silver Spur Resources LLC              Silver State Schools C U       Silverado Oil Gas Corp
PO Box 92761                           6 Desta Dr 1800                320 South Boston Building
Southlake, TX 76092                    Midland, TX 79705              320 S Boston Ave 1504
                                                                      Tulsa, OK 74103




Silverado Oil Gas LLP                  Silverback Freight LLC         Silverio Juarez Jr
PO Box 52308                           PO Box 11983                   PO Box 735
Tulsa, OK 74152                        Spring, TX 77391-1983          San Diego, TX 78384




Silversword Lp                         Silvertean Lawhorne Williams   Simmie Clemmons Et Ux
PO Box 961094                          411 Highway 3005               201 Parker
File 916248                            Ruston, LA 71270-1090          West Monroe, LA 71291
Fort Worth, TX 76161-1094




Simmie L Patricia Ann Cheeks Heisler   Simmie Lee Davis               Simmie Lee Lennie Faye Daniel Davis
455 Blazier Lane                       104 Sampson Rd                 104 Sampson Rd
West Monroe, LA 71292                  Arcadia, LA 71001              Arcadia, LA 71001




Simmie Louis Gardner Jr                Simmons Bank                   Simmons Company International
104 Margaret Pl                        501 Main St                    700 Louisiana
Grambling, LA 71245-9200               Pine Bluff, AK 71611           Ste 1900
                                                                      Houston, TX 77002




Simmons First Bk Of El Dorado          Simmons Gwendolyn Kay R        Simmons Logistics LLC
535 S Timberlane Dr                    360 Vzcr 2136                  PO Box 2417
El Dorado, AR 71730                    Wills Point, TX 75169          Lindale, TX 75771
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Simmons Mineral Trust                      Simmons Peggy Pack               Simon Brothers Energy
PO Box 2845                                111 West South Street            2438 E Sergeant St
Mobile, AL 36652-2845                      Lindale, TX 75771                PO Box 29400
                                                                            Philadelphia, PA 19125




Simon De Vertefuil                         Simon De Verteuil                Simon Weiss Properties LLC
625 East Staffney Lane                     Address Redacted                 PO Box 5578
Apt 2211                                                                    Shreveport, LA 71135
Austin, TX 78745




Simona Aquero                              Simone Gary Fbo Morgan Gary      Simons Petroleum LLC
c/o Mr Mrs Jaimes                          c/o Mary Brim Capers             PO Box 676686
2719 Chacota                               11807 Se 198Th St                Dallas, TX 75267-6686
Laredo, TX 78046                           Kent, WA 98031




Simons Petroleum LLC Dba Pilot Logistics   Simplex Energy Solutions         Simplot Resources Inc
Steve Cross                                303 Veterans Air Park Lane       PO Box 27
210 Park Ave Suite 1800                    Suite 4107                       Boise, ID 83707
Oklahoma City, OK 73102                    Midland, TX 79705




Simpson Family Trust                       Simpson Thacher Bartlett LLP     Simpson Thacher Bartlett LLP
Roddy C Joan H Simpson Co Trustees         2 Houston Center Suite 1475      PO Box 29008
1701 Ranch Road                            909 Fannin Street                New York, NY 10087-9008
Royse City, TX 75189                       Houston, TX 77010




Simpson Trust                              Simpson Whitaker Properties Lp   Simray Energy Company
J R Simpson H Stanley Simpson Co Ttees     301 N St Mary St                 300 North Coit Road
Bank Of America Agent                      Carthage, TX 75633-1807          Suite 950
PO Box 840738                                                               Richardson, TX 75080
Dallas, TX 75284-0738



Sims Properties                            Sims Welding Supply              Simsboro Wood Co Inc
15416 W Adriatic Avenue                    2445 E South Street              PO Box 161
Lakewood, CO 80228                         Long Beach, CA 90805-4425        Bernice, LA 71222




Sinclair Development LLC                   Sinclair Drilling Fluids         Sinclair Oil Gas Company
PO Box 2317                                PO Box 92827                     550 E S Temple
Kilgore, TX 75663                          Long Beach, CA 90809-2827        PO Box 30825
                                                                            Salt Lake City, UT 84102




Singer Brothers                            Singer Family LLC                Singh Subhadra N
Dept 1063                                  Helene C Singer Mgr              Address Redacted
Tulsa, OK 74182                            PO Box 1883
                                           Santa Fe, NM 87501




Singin Hills Minerals Ltd                  Siobhan Portis                   Siress Ag Venture Capital
c/o Jp Morgan Chase Bank N A               9421 Gertrude St                 c/o The Siress Group Inc
PO Box 99084                               Lavista, NE 68128                1047 Lincoln Ave 201
Fort Worth, TX 76199-0084                                                   San Jose, CA 95125
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Sirius Solutions LLLP                  Sisson Oilfield Service               Sisters Of The Holy Cross Inc
PO Box 202377                          201 Wildwood Ln                       Financial Services
Dallas, TX 75320-2377                  Kilgore, TX 75702                     402 Bertrand Hall Saint Marys
                                                                             Notre Dame, IN 46556




Sitelab Corporation                    Sitmoore Oilfield Services LLC        Sivalls Inc
86 Coffin Street                       4015 E Main St                        PO Box 2792
West Newbury, MA 01985                 Nacogdoches, TX 75961                 Odessa, TX 79760




Siwel Energy LLC                       Six Mile Cemetary Assoc Of            SJ Kent Investments
PO Box 3656                            Panola County Texas                   PO Box 630
Baton Rouge, LA 70821                  c/o First State Bank Trust            Carthage, TX 75633
                                       PO Box 579 Acct 628182
                                       Carthage, TX 75633



Sjb Gas LLC                            Sk Rogers Oil Inc                     Sk Supply Co LLC
PO Box 2177                            1001 8Th Street                       1606 S Regal Ave
Midland, TX 79702                      Levelland, TX 79336                   Odessa, TX 79763




Ski Mouse LLC                          Skinner Land LLC                      Skipdunn L P
PO Box 5383                            427 West Beechtree Ln                 Citizens National Bank Agent
Denver, CO 80217                       Wayne, PA 19087                       PO Box 820
                                                                             Henderson, TX 75653




Sklar Exploration Co LLC               Sklar Family Foundation               Sklarco LLC
401 Edwards Street                     401 Edwards Street Suite 1601         401 Edwards St
Suite 1601                             Shreveport, LA 71101                  Ste 1601
Shreveport, LA 71101                                                         Shreveport, LA 71101




Sky Hi Oil Company LLC                 Sky High Oil Company LLC              Sky Land Energy Resources LLC
c/o Eddye Dreyer Financial Services    c/o Eddye Dreyer Financial Services   PO Box 6258
4925 Greenville Ave Suite 900          4925 Greenville Ave Ste 900           Longview, TX 75608
Dallas, TX 75206                       Dallas, TX 75206




Sky Lin Services LLC                   Sky Vacuum Services LLC               Skye Properties
PO Box 61                              2836 Hillcrest Circle                 6020 Inwood Drive
Keithville, LA 71047                   Benton, LA 71006                      Houston, TX 77057




Skylar Exploration                     Skylight Financial                    Skyline Motors Inc
401 Edwards St 1601                    PO Box 14720                          PO Box 730
Shreveport, LA 71101                   Austin, TX 78761                      Rawlins, WY 82301




Skylyne Machine Supply                 Slack Properties LLC                  Slapout Exploration LLC
18596 Co Road 24                       PO Box 12186                          Joe C Struckel
Sterling, CO 80751                     Shreveport, LA 75225-0186             600 Westland Dr
                                                                             Edmond, OK 73013
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Slash Exploration Ltd Prtnshp          Slattery Marino Roberts Aplc        Slaughter Interests Ltd
PO Box 1973                            1100 Poydras Street Suite 1800      PO Box 1508
Roswell, NM 88202                      New Orleans, LA 70163               San Angelo, TX 76902




Slawson Exploration Co Inc             Sledge Drilling Corp Basic Energy   Slingshot Supply Inc
727 North Waco                         Mark Rankin                         Brody Whitley
Suite 400                              801 Cherry St Suite 2100            PO Box 8487
Wichita, KS 67203                      Ft Worth, TX 76102                  Midland, TX 79708




Slingshot Supply Inc                   Sloan Electric                      Sloane C Wulf
PO Box 123448                          3520 Main St                        PO Box 178
Department 3448                        San Diego, CA 92113                 Mcgaheysville, VA 22840
Dallas, TX 75312-3448




Slp Backhoe Services                   Slvb Properties LLC                 Sm Energy Company
PO Box 7847                            Bruce Stephens Jr Mm                1775 Sherman St
Longview, TX 75607                     301 Kentucky Blvd                   Ste 1200
                                       Hazard, KY 41701                    Denver, CO 80203




Sm Energy Company                      Sm Energy Company                   Sma Oil Gas Inc
Dept 766                               PO Box 910384                       3400 West Marshall Ave
Denver, CO 80291-0766                  Denver, CO 80291-0384               Suite 324
                                                                           Longview, TX 75604




Smac Oil Limited Partnership           Small Fry LLC                       Small Steps Nurturing Center
PO Box 4190                            c/o Income Solutions Wealth Mgmt    2902 Jensen Drive
Scottsdale, AZ 85261                   Attn Carol Rushton Trust            Houston, TX 77026
                                       3200 Troup Hwy Ste 150
                                       Tyler, TX 75701



Smart Financial Credit Union           Smart Oilfield Services LLC         Smc Diversified Holdings Inc
6051 North Course Dr                   PO Box 3002                         PO Box 50907
Houston, TX 77072                      Liberty, TX 77575                   Midland, TX 79710-0907




Smc Oil Gas Inc                        Smead Anderson Dunn                 Smg
PO Box 50907                           2110 Horseshoe Lane                 1310 N Fm 1788
Midland, TX 79710                      Longview, TX 75605                  Midland, TX 79707-1499




Smg Food Beverage LLC                  Smiley Laron Offutt                 Smires Inc
300 East Ocean Blvd                    c/o Marthon Oil Co                  PO Box 1839
Long Beach, CA 90802                   PO Box 2750                         Kilgore, TX 75663
                                       Tulsa, OK 74102




Smires Scanning LLC                    Smith Donald L                      Smith Jacob D
PO Box 1839                            Address Redacted                    Address Redacted
Kilgore, TX 75663
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1303 of 1524

Smith And Campbell Inc                 Smith Barney                        Smith Chloree Chalmers
PO Box 416                             Fbo Mary E H Watson                 9419 County View Road
Springhill, LA 71075                   1425 Washington Village Pkwy 1102   Dallas, TX 75249-1216
                                       Beaumont, TX 77707




Smith County Clerk                     Smith County Tax Office             Smith County Tax Office
Attn Land Records                      1517 West Front Street              Gary B Barber
200 E Ferguson                         Tyler, TX 75702                     PO Box 2011
Tyler, TX 75702                                                            Tyler, TX 75710-2011




Smith Elizabeth Key                    Smith Energy Services Inc           Smith Equipment Rental And Services
PO Box 1213                            Dept 999235                         944 South Shelby Street
Marshall, TX 75671-1213                PO Box 4896                         Carthage, TX 75633
                                       Houston, TX 77210-4896




Smith Gas Field Services LLC           Smith Gilstrap                      Smith International
Dba Smith Equipment Rental Services    Po Drawer A                         PO Box 200760
PO Box 952225                          Marshall, TX 75671                  Dallas, TX 75320-0760
Dallas, TX 75395-2225




Smith International Inc                Smith Lehnertz LLC                  Smith Oilfield Rental Services Inc
PO Box 732136                          3504 Windsor Rd                     Bill Taylor
Dallas, TX 75373-2136                  Austin, TX 78703-1507               PO Box 9098
                                                                           Longview, TX 75608




Smith Operating Management C           Smith Partners Ltd                  Smith Pipe Of Abilene
PO Box 52                              PO Box 1865                         PO Box 6291
Shreveport, LA 71161                   Kilgore, TX 75663                   Abilene, TX 79608




Smith Royalty LLC                      Smith Trucking                      Sms Precision Tech LLC
605 Ashbourne Dr                       65707 Little Way                    22955 State Hwy 249 Ste 37
Shreveport, LA 71106-5903              Montrose, CO 81401                  Tomball, TX 77375




Sms Well Service LLC                   Smt LLC                             Snap On Industrial
6363 N State Hwy 161                   4015 E Main St                      21755 Network Place
Suite 100                              Nacogdoches, TX 75961               Chicago, IL 60673-1217
Irving, TX 75038




Snd Operating LLC                      Snd Vortus Lp                       Snead 2000 Revocable Trust
8150 N Central Expwy                   8150 N Central Expressway           Dated April 13 2001
Campbell Ctr Ii Ste M 1020             Campbell Center Ii Ste M 1020       6528 E 101st Ste D 1 443
Dallas, TX 75206                       Dallas, TX 75206                    Tulsa, OK 74133




Snell Wilmer L L P                     Snelling Personnel Services         Snider Billy R
Attn Brian P Gaffney                   1225 Wsw Loop 323                   PO Box 872
1200 Seventeenth Street Suite 1900     Tyler, TX 75701                     Groveton, TX 75011
Denver, CO 80202
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Snow Consulting Services Inc            Snowmass Energy Partners Ltd      Snubco Usa LLC
148 29 Rd                               3300 South 14Th Suite 322         Dept 169
Grand Junction, CO 81503                Abilene, TX 79605                 PO Box 4458
                                                                          Houston, TX 77210-4458




Snubco Usa LLC                          Snyder Abstract Title Co Inc      Snyder Land Management LLC
Laura Nevils                            PO Box 69                         329 Whitehouse Plantation Dr
PO Box 8427                             Snyder, TX 79550-0069             Elm Grove, LA 71051
Longview, TX 75607




So Cal Ship Services                    Soa Pump Supply Inc               Socagee Enterprizes LLC
320 Golden Shore                        PO Box 69806                      PO Box 2014
Suite 340                               Odessa, TX 79769                  Humble, TX 77347
Long Beach, CA 90802




Society For Human Resource Management   Society Of Petroleum Engineers    Soda Lake Plantation LLC
PO Box 791139                           222 Palisades Creek Dr            401 Edwards St Ste 1500
Baltimore, MD 212791139                 Richardson, TX 75080              Shreveport, LA 71101




Sodexho Remote Sites                    Sodexo Remote Sites Partnership   Sogo Iii LLC
PO Box 843753                           PO Box 843753                     PO Box 210
Dallas, TX 75284-3753                   Dallas, TX 75284-3753             Midland, TX 79702




Sojourner Drilling Corp                 Sol Hamburg                       Sol Insurance Limited
PO Box 3234                             Charles Schwab Co Inc Cust        PO Box Hm 3103
Abilene, TX 79604-3234                  Sep Ira                           Hamilton Hm Nx
                                        3828 Marquette St                 Bermuda
                                        Houston, TX 77005



Solaeris Corp                           Solar Turbines Inc                Soldier 4Thelord
PO Box 9663                             PO Box 301087                     PO Box 6110
Tulsa, OK 74157                         Dallas, TX 75303-1087             Fort Hood, TX 76544




Solid Oilfield Service LLC              Solid Oilfield Service LLC        Solis Iii Santiago
Travis Salinas                          PO Box 300                        Address Redacted
PO Box 1691                             Freer, TX 78357
Freer, TX 78357




Solium Capital LLC                      Soloman J Younger                 Solomon Reyes
222 South Mill Avenue                   PO Box 202094                     218 Main St
Suite 424                               Minneapolis, MN 55420-7094        Vista, CA 92084
Tempe, AZ 85281




Solomon Roberson Sep Prop               Solomonedwards                    Somerset Development Inc
474 Malone Rd                           PO Box 12808                      15660 North Dallas Parkway
Arcadia, LA 71001                       Philadelphia, PA 19176-0808       Suite 700
                                                                          Dallas, TX 75248
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Sonat Exploration Co                   Sondra Ann Click Or                     Sondra Jean Sandusky Cummings
Attn Revenue Dept                      Texas State Treasury Dept               c/o Billy Joe Sandusky
Lock Box 200861                        Unclaimed Property Division             PO Box 85
Houston, TX 77216                      PO Box 12019                            Bromide, OK 74530-0085
                                       Austin, TX 78711-2019



Sondra Mccrary Clark                   Sondra Mccrary Clark Layne A Clark Sr   Sondra Morris
319 Loblolly Ln                        Po Drawer 980                           406 N Live Oak
Choudrant, LA 71227-4807               Ruston, LA 71270                        Gladewater, TX 756039038




Sone Energy Services LLC               Sonia C Garza                           Sonia Harris Hoskins
PO Box 188                             PO Box 679                              1500 W Fairmont 130
Marshall, TX 75671-0188                Freer, TX 78357                         Longview, TX 75604




Sonia Kelly                            Sonia M Kenwood                         Sonic Oil And Gas L P A Texas LP
5463 County Road 462                   1031 Peniston St                        PO Box 1240
Henderson, TX 75654                    New Orleans, LA 70115                   Graham, TX 76450-7240




Sonic Petroleum Services               Sonja Brooks                            Sonja Lacy
PO Box 3625                            3106 Smoketree Court                    420 S Lake St Apt C
Odessa, TX 79760-3625                  Hazel Crest, IL 60429                   Grayslake, IL 60030




Sonja Lee Hans                         Sonja M Waterman                        Sonja R Wade
9019 North Point Dr                    9901 Trailwood Dr 1164                  4145 Enchanted Drive
Beach City, TX 77523                   Las Vegas, NV 89134                     Paris, TX 75462




Sonja Shannon Hogg                     Sonja Sue Miller                        Sonna Neyland Lumpkins
108 River Ridge                        PO Box 1541                             1502 Norwalk Drive
Waco, TX 76705                         Edcouch, TX 78538-1541                  Katy, TX 77450




Sonora Investment Management LLC       Sonya Allen                             Sonya Beth Morgan Lewis
2343 E Broadway Blvd 116               645 Crawford Rd Lot 4                   PO Box 924
Tucson, AZ 85719                       Arcadia, LA 71001-5667                  Los Lunas, NM 87031




Sonya D Campbell                       Sonya Whittaker                         Sonya Yates
PO Box 282                             1338 Grinnell Street                    420 E Hardy Apt 5
Hugo, OK 74743                         Dallas, TX 75216                        Inglewood, CA 90301




Sooner Pipe LLC                        Sooper Credit Union                     Sophia Goebel
Dept 26                                5005 W 60th Ave                         Route 1 Box 494
PO Box 4346                            Arvada, CO 80003                        Three Rivers, TX 78071
Houston, TX 77210-4346
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Sophornia Mae W Mayfield              Sorbonne LLC                              Sorenson Peggy Ann Ellington Ind
5674 Kelton Ct                        2815 Long Lake Dr                         16115 Yorkminster Drive
San Diego, CA 92114                   Shreveport, LA 71106                      Spring, TX 77379-7664




Sos                                   Sos Crane Trucking                        Sos Environmental
7076 S Alton Way                      PO Box 11690                              PO Box 690
Building F                            Bakersfield, CA 93389                     Wichita Falls, TX 76307-0690
Centennial, CO 80112




Sos Gp Lp                             Sos Operating LLC Dba Sos Environmental   SOS Well Services LLC
Lauren Blackburn                      Brooks Ratzlaff                           Attn Accounts Receivable
1301 Mckinney Street Suite 1800       811 Sixth Street Suite 130                51330 Oro Road
Houston, TX 77010                     Wichita Falls, TX 76301                   Shelby Twp, MI 48315




Sound Cellular Inc                    Sound Credit Union                        Source Environmental Services Inc
824 W Yellowstone                     PO Box 1595                               PO Box 1409
Casper, WY 82601                      Tacoma, WA 98401                          Breaux Bridge, LA 70517




Source Rock Minerals Lp               Sourcegas Dist Casper                     Sourcegas Distribution LLC
PO Box 670713                         600 12Th Street                           1515 Wynkoop Street 5th Floor
Dallas, TX 75367                      Suite 300                                 Denver, CO 80202
                                      Golden, CO 80401




Sourcegas Distribution LLC            South Coast Air Quality Management Dist   South Coast Air Quality Management Dist
PO Box 660474                         21865 Copley Dr                           PO Box 4943
Dallas, TX 75266                      Diamond Bar, CA 91765                     Diamond Bar, CA 91765-0943




South Hole Exploration L L C          South Plains Electric Coop Inc            South Plains Electric Coop Inc
401 Edwards Street Suite 1400         PO Box 1830                               PO Box 600
Shreveport, LA 71101                  Lubbock, TX 79408-1830                    Spur, TX 79370-0600




South Star Investments Group LLC      South State Bank                          South Texas Filter Supply
Jim Bradberry                         520 Gervais St                            4520 Crosstown Expressway
6022 Rathbone Dr                      Columbia, SC 29201                        Corpus Christi, TX 78415-1421
Allen, TX 75002




South Texas Vegetation Control LLC    Southark Waste Control LLC                Southcoast Resources Company
Llc                                   4448 Haynesville Hwy                      PO Box 460167
PO Box 205                            Eldorado, AR 71730                        Houston, TX 77056-8167
Cost, TX 78614




Southeast Texas Oil Gas Inc           Southerland C Glenn Mary Southerl         Southern Bay Operating LLC
PO Box 22612                          11402 Fm 2625 W                           1000 Louisiana St Ste 6700
Houston, TX 77227                     Hallsville, TX 75650                      Houston, TX 77002-6003
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Southern Ca Consulting Serv                Southern California Edison Company   Southern California Edison Company
25936 Pennsylvania Ave                     2244 Walnut Grove Ave                PO Box 300
Lomita, CA 90717                           Rosemead, CA 91770                   Rosemead, CA 91772-0001




Southern California Waste Water            Southern Exploration Inc             Southern Family Irrev Trust Ii
2775 N Ventura Rd Unit 207                 318 West Rusk                        17605 Drayton Hall Way
Oxnard, CA 93036-2271                      Tyler, TX 75701                      San Diego, CA 92128-2057




Southern Flow Companies                    Southern Forest Management Inc       Southern Land Exploration
PO Box 51475                               PO Box 67                            729 Wichita St
Lafayette, LA 70505-1475                   Logansport, LA 71049                 Shreveport, LA 71101




Southern Land Minerals Ii                  Southern Methodist University        Southern Mud Company LLC
PO Box 7137                                Mineral Management                   PO Box 10328
Monroe, LA 71211                           PO Box 750193                        El Dorado, AR 71730
                                           Dallas, TX 75275-0193




Southern Oilfield Services Inc             Southern Pacific                     Southern Petroleum Laboratories Inc
6324 Cunningham Rd                         7801 Van Nuys Blvd                   PO Box 842013
Houston, TX 77041                          Van Nuys, CA 91402                   Dallas, TX 75284




Southern Region                            Southern Sanitation                  Southern Soil Environmental Inc
Boy Of Scouts Of America                   PO Box 333                           PO Box 777
PO Box 152079                              Laredo, TX 78042-0333                Haughton, LA 71037
1325 W Walnut Hill Lane
Irving, TX 750152079



Southern Specialities Transportation LLC   Southern Specialty LLC               Southern Steel Supply
PO Box 328                                 424 Fm 78                            PO Box 62600
Estherwood, LA 70534                       Cibolo, TX 78108                     Dep 1349
                                                                                New Orleans, LA 70162




Southern Steel Supply LLC                  Southern Transport LLC               Southland Champion Mineral
PO Box 62600 Dept 1349                     PO Box 1550                          Account Regions Bank Trust
New Orleans, LA 70162-2600                 Kilgore, TX 75663                    203 South First Street
                                                                                Lufkin, TX 75901




Southland Royalty Co                       Southland Safety LLC                 Southline Services LLC
400 W 7th St                               PO Box 1435                          PO Box 2372
Fort Worth, TX 76102                       Henderson, TX 75653-1435             Henderson, TX 75653




Southside Bank                             Southwest Airlines Federal C U       Southwest Bank
1201 S Beckham Ave                         2430 Shorecrest                      2601 S Hulen St
Tyler, TX 75701                            Dallas, TX 75235                     Fort Worth, TX 76109
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Southwest Commercial Capital Inc      Southwest Cotton Growers                   Southwest Heritage Credit Union
Fbo E N Trucking                      206 W 3Rd St                               930 W University
PO Box 872                            Wellman, TX 79378                          Odessa, TX 79764
Odessa, TX 79760




Southwest Lp                          Southwest Marketers Inc                    Southwest Meter Repair Co Inc
Box 297                               PO Box 400                                 PO Box 1040
Carlsbad, NM 88220                    Ft Stockton, TX 79735-0400                 Sundown, TX 79372-1040




Southwest Oklahoma District           Southwest Petroleum Co Lp                  Southwest Petroleum Company Lp
Church Of Nazarene                    PO Box 702377                              Dba Southwest Petroleum Co
PO Box 937                            Dallas, TX 75370-2377                      PO Box 702377
Mustang, OK 73064                                                                Dallas, TX 75370




Southwest Petroleum Company Lp        Southwest Royalties Inc                    Southwest Solutions Group Inc
State Bank Trst Co Dallas             6 Desta Drive Ste 2100                     PO Box 671784
Acct 110018546                        Midland, TX 79705                          Dallas, TX 75267-1784
PO Box 702377
Dallas, TX 75370



Southwest Texas Electric Coop         Southwest Texas Electric Cooperative Inc   Southwestern Electric Power Company
PO Box 677                            Department 1340                            428 Travis St
Eldorado, TX 76936-0677               PO Box 2153                                Shreveport, LA 71101
                                      Birmingham, AL 35287-1340




Southwestern Electric Power Company   Southwestern Energy                        Southwestern Medical Fdn
PO Box 24422                          Attn Doug Van Slambrouck                   c/o Bank Of America
Canton, OH 44701-4422                 3550 N Sam Houston Pkwy E                  PO Box 830308
                                      Houston, TX 77032                          Dallas, TX 752830308




Southwestern Public Service Co        Southwood Timberlands Corp                 Sovereign Bank
Xcel Energy                           PO Box 155707                              6060 Sherry Lane
PO Box 9477                           Lufkin, TX 75915                           Dallas, TX 75225
Mpls, MN 55484-9477




Sovereign Investments Inc             Sovos                                      Sp Beta Properties LLC
PO Box 74702 Kitsilano                200 Ballardvale Street 4Th Floor           Two Greenwich Plaza
Vancouver, BC V6K 4P4                 Wilmington, MA 01887                       Greenwich, CT 06830
Canada




Sp Transports                         Sp Transports Dba Sergo Pena               Spark Energy Gas Lp
1004 N E 5Th                          Corina Pena                                12140 Wickchester Ln 100
Andrews, TX 79714                     1004 N E 5Th                               Houston, TX 77079-1219
                                      Andrews, TX 79714




Sparks Hot Shot Service LLC           Sparks Resources Ltd                       Sparks Resources Ltd
851 Yellow Pine Rd                    12900 Preston Road                         PO Box 204843
Sibley, LA 71073                      Suite 1118 Lb 48                           Dallas, TX 75230
                                      Dallas, TX 75230
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Sparta Mineral Holdings LLC             Spartan Energy Services LLC      Spartan Energy Services LLC
6015 Skyline Dr                         And Its Subsidiaries             Dba Sep Texas Energy Services LLC
Houston, TX 77057                       Brandon Cradeur                  Jon Byers
                                        2901 Johnston Street Suite 401   9595 Six Pines Drive
                                        Lafayette, LA 70503              The Woodlands, TX 77380



Spartan Energy Services LLC             Spartan Flow Control Services    Spartan Thru Tubing Services LLC
Attn Dave Edelmaier                     2901 Johnston Street             Brandon Cradeur
9595 Six Pines Dr                       Ste 401                          2901 Johnston Street Suite 401
Suite 4000                              Lafayette, LA 70503              Lafayette, LA 70503
The Woodlands, TX 77380



Spartan Well Testing LLC                Spaulding Oil Gas Company        Spc Rentals
Bradon Cradeur                          5540 S Lewis                     114 E Angus Dr
2901 Johnston Street Suite 401          Tulsa, OK 74105                  Youngsville, LA 70592
Lafayette, LA 70503




Spec Service Inc                        Special Srv Contractors          Speciality Wood Products
10540 Talbert Ave                       PO Box 3121                      PO Box 819
Suite 100 East                          Paso Robles, CA 93447-3121       Joaquin, TX 75954-0819
Fountain Valley, CA 92708




Specialized Roustabout Services LLC     Specialty Rental Tool Supply     Specialty Welding Inc
PO Box 550                              PO Box 54428                     Clayton Berry
Fruita, CO 81521                        New Orleans, LA 70154-4428       665 Airlinks Rd
                                                                         Garden City, KS 67846




Specialty Wood Products                 Specific Equipment Company       Spectrum Asset Management Inc
PO Box 819                              3001 E John Sevier Highway       1301 Dove St 970
Joaquin, TX 75954                       Knoxville, TN 45263-5163         Newport Beach, CA 92660




Spectrum Tracer Services LLC            Spectrum Tracer Services LLC     Spence Mineral Properties Lp
Steve Faurot                            Department 2849                  PO Box 87
9111 East Pine Street Suite 104         Tulsa, OK 74182                  Longview, TX 75606
Tulsa, OK 74115




Spence Resources                        Spencer A Mollerstuen            Spencer Andrew Knapp
c/o Randy Spence                        5679 W Milan Pl                  43 Hollow Road
PO Box 87                               Denver, CO 80235                 Skillman, NJ 08558
Longview, TX 75606




Spencer Consulting                      Spencer Don R                    Spencer Harris LLC
201 S Lakeline Blvd Suite 303           PO Box 333                       PO Box 1391
Cedar Park, TX 78613                    Stowell, TX 77661                Indiana, PA 15701




Spencer Maurine                         Spencer Ray Midkiff              Spencer Scott Dellinger
PO Box 333                              1241 Sunset Circle               1901 Westchester
Stowell, TX 77661                       Center, TX 75935                 Denton, TX 76201
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Spencer Valve Pump Repair               Speyside Resources LLC                Sphere 3 Environmental Inc
PO Box 5                                PO Box 10458                          1501 Bill Owens Pkwy
Price, TX 75687                         Midland, TX 797027458                 Longview, TX 75604




Spicewood Properties LLC                Spidle Turbeco                        Spidle Turbeco
c/o Madison Royalty Management          Beth Thibodeaux                       PO Box 677496
402 Gammon Place                        10603 W Sam Houston Pkwy N Ste 300    Dallas, TX 75267-7496
Suite 200                               Houston, TX 77064
Madison, WI 53719



Spikes Kangerga                         Spindletop Exploration Co Inc         Spindletop Exploration Co Inc
102 East Main Street                    Profit Sharng Plan                    PO Box 25163
Henderson, TX 75652                     PO Box 25163                          Dallas, TX 75225-1163
                                        Dallas, TX 75225




Spindletop Production Tools             Spindrift Beck Al Swaidi              Spinnaker Royalty Company
11700 Katy Freeway Suite 300            c/o B J Anderson Beck Group           PO Box 844103
Houston, TX 77079                       8235 Douglas Ave                      Dallas, TX 75284
                                        Ste 1350 Lb62
                                        Dallas, TX 75225



Spirit Bank                             Spirit Global Energy Solutions Inc    Spirit Of America Management
601 N Main St                           PO Box 732393                         477 Jericho Turnpike
Bristow, OK 74010                       Dallas, TX 75373-2393                 PO Box 9006
                                                                              Syosset, NY 11791-9006




Spirit Of America Management Cor        Spiro Energy Solutions                Spiro Resources Ltd
477 Jericho Turnpike                    1400 Broadfield Suite 200             PO Box 6387
PO Box 9006                             Houston, TX 77084                     San Antonio, TX 78209-0387
Syosset, NY 11791-9006




Spl Inc                                 Split Mt Enterprise Consulting Inc    Spot Trading LLC
PO Box 842013                           2376 I 1/2 Road                       440 S La Salle St 2800
Dallas, TX 75284-2013                   Grand Junction, CO 81505              Chicago, IL 60605




Spradlin Howard Earl                    Spring Hill Indp School Dist No 907   Spring Hill State Bank
1602 Fm 71 East                         Tax Assessor/Collector                3700 Gilmer Rd
Talco, TX 75487                         3101 Spring Hill Road                 Longview, TX 75604
                                        Longview, TX 756052822




Spring Horizontal LLC                   Spring Rehabilitation                 Springbok Energy Partners LLC
c/o Jean Harper                         6005 Delmonico Dr Suite 130           5950 Berkshire Ln Ste 1250
861 Greenwood                           Colorado Springs, CO 80919            Dallas, TX 75225
Glencoe, IL 60022




Springdale Energy Partners LLC          Springfield Oil Company               Squire Tech Solutions LLC
PO Box 341809                           7220 W Jefferson Ave 212              Rusty Puckett
Austin, TX 78734                        Lakewood, CO 80235                    6304 Fallwater Trail Suite 100
                                                                              The Colony, TX 75056
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Squire Tech Solutions LLC               SR Compression LLC                   Srbi OG Tx Lp
6304 Fallwater Trail Ste 100            4234 South Jackson Ave               201 Main Street Suite 2700
The Colony, TX 75056                    Tulsa, OK 74107                      Fort Worth, TX 76102




Srbi OG Tx Lp                           Srm Consulting Inc                   SS Fishing Rental Inc
PO Box 916107                           1400 Broadfield Boulevard            PO Box 478
Fort Worth, TX 76191-6107               Suite 200                            Andrews, TX 79714
                                        Houston, TX 77084




Ssm Resources LLC                       Ssoe Inc                             Sst Energy Corporation
11914 Hudspeth Trail                    1001 Madison Avenue                  c/o Us Bank
San Antonio, TX 78253                   Toledo, OH 43604-1585                435 West 1st Street
                                                                             Casper, WY 82601-2557




Sst Enterprises Inc Dba J               Sst Testing Inc                      St Andrew United Meth Church
S Portable Restrooms                    1695 Sunset Dr Ste 108               9203 S University Blvd
517 Dale Ave                            Rock Springs, WY 82901               Highlands Ranch, CO 80126
Mancelona, MI 49659




St Andrews Royalties LLC                St Andrews United Methodist Church   ST Bank
PO Box 50592                            PO Box 144                           PO Box 190
Midland, TX 79710                       Carthage, TX 75633                   Indiana, PA 15701




St Bonaventure University               St Clair County State Bank           St Energy Holdings LLC
Robert Keenan                           680 2nd St                           400 Travis St Ste 1905
3261 West State Road                    Osceola, MO 64776                    Shreveport, LA 71101
Saint Bonaventure, NY 14778




St Germain Company                      St Holdings LLC                      St James House
PO Box 62208                            1660 Lincoln Street                  5800 West Baker Road
Houston, TX 77205                       Suite 2100                           Baytown, TX 77520
                                        Denver, CO 80264




St John Divine Epis Church              St John Divine Epis Church           St Jude Childrens Res Hospital
Bill Simons Treasurer                   Memorial Endowment Fund              501 St Jude Place
2450 River Oaks Blvd                    2450 River Oaks Blvd                 Memphis, TN 38105
Houston, TX 77019                       Houston, TX 77019




St Judes Catholic Church Of Henderson   St Louis Childrens Hospital          St Louis Heart Association
200 Morningside Drive                   One ChildrenS Place                  PO Box 22035
Henderson, TX 75654                     St Louis, MO 63110                   St Petersburg, FL 33742




St Louis Well Servicing Co              St Lukes Episcopal Church            St LukeS Episcopal Church
PO Box 51                               Endowment Fund                       Endowment Fund
St Louis, OK 74866-0051                 PO Box 603                           427 West Woodard
                                        Denison, TX 75021                    Denison, TX 75020
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St Marks Episcopal Church              St Matthews Evangelical         St Of Louisiana No 8086
701 W Solcott                          Lutheran Church                 504 Beck Bldg
Capser, WY 82601                       Po Drawer Z                     Shreveport, LA 71101
                                       Mount Jewett, PA 16740




St Oil Company                         St Paul Industrial Training     St Paul Minerals Company Inc
1660 Lincoln St Ste 2100               Regions Bank Trustee            PO Box 25163
Denver, CO 80264                       PO Box 11566                    Dallas, TX 75225
                                       Birmingham, AL 35202




St PaulS Parish                        Stabil Drill                    Stabil Drill Specialties LLC
601 Columbus Ave                       Department 2162                 Marc Leblanc
Waco, TX 76701                         PO Box 122162                   110 Consolidate Dr
                                       Dallas, TX 75312-2162           Lafayette, LA 70508




Stable Services Middle East            Stace Cameron Carrington        Stacee Lacour
Office 83 Oasis Centre                 106 Oakbend Drive               104 Monroe St
Road Dubai                             Coppell, TX 75019               Ball, LA 71405-3728
PO Box 118273
UAE



Stacey Anne Pope                       Stacey D Gordon Tr              Stacey Laurents
1506 Palo Duro Canyon Ln               Stacey D Gordon Ttee            Address Redacted
League City, TX 77573                  311 Marshall
                                       Henderson, TX 75652




Stacey R Duvarney Decsd                Staci D Whitehead Nodurft       Stacia B Emerson
PO Box 198                             1548 W Main St                  7520 N 14Th Ave
Gerrardstown, WV 25420                 Jonesborough, TN 37659-5653     Phoenix, AZ 85021




Stacia Elaine Gill                     Stacie A Wallace                Stacie Beene
15242 Shapiro Springs Ln               337 Wimberley Ranch Dr          5937 Wilford Dr
Houston, TX 77095                      Wimberley, TX 78676             Mckinney, TX 75070




Stacy Ann Hall Johnson                 Stacy Elizabeth Mueller         Stacy G Perryman
2213 Ranch Road                        402 W Main Street               20 Summerwind Dr
Sachse, TX 75048                       Pflugerville, TX 78660          Garden Valley, ID 83622-3600




Stacy G Vaughn Tr                      Stacy Glasscock                 Stacy Harris
Uwo A W Gregg Jr                       6150 Harmony Park Ln            1601 Hollister Trail
Stacy G Vaughn Ttee                    Fulshear, TX 77441-1130         Norman, OK 73071
10708 Winchelsea Dr
Austin, TX 78750



Stacy L Donaldson                      Stacy L Owen                    Stacy Lea Schaff
559 Caddo St                           712 Main Street Suite 3402      PO Box 131926
Keatchie, LA 71046                     Houston, TX 77002               Tyler, TX 75713-1926
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Stacy Louise Dellinger                   Stacy Ra And Mary Justice         Stacy Schusterman Rev Tr
1901 Westchester                         1023 Booker Loop Road             Stacy Schusterman Ttee
Denton, TX 76201                         Mansfield, LA 71052               PO Box 699
                                                                           Tulsa, OK 74137




Stacy T Lee                              Stacy Tate                        Stacy Wilson
12857 W 81st St S                        10061 N Brehm Lane                PO Box 642
Sapulpa, OK 74066-9016                   Belle Rive, IL 62810              Chelan, WA 98816




Stadium Oaks Apartment                   Staffing Resources                Stafford Lyons Trust
2123 Industrial Avenue                   1601 West Texas Avenue            7865 County Route 13
San Angelo, TX 76904                     Midland, TX 79701                 Bath, NY 14810




Stage 3 Separation LLC                   Stagecoach Petroleum Inc          Stagecoach Petroleum Inc
2000 Silber Road                         3500 Oaklawn Suite 720            Attn Mark Bristol
Houston, TX 77055                        Dallas, TX 75219                  2901 Milton Avenue
                                                                           Dallas, TX 75205




Stainless Stair Door                     Stallion                          Stallion Construction
411 W 2nd St                             3708 E Hwy 158                    PO Box 1486
Odessa, TX 79761-5442                    Midland, TX 79706                 Houston, TX 77251-1486




Stallion Heavy Haulers Lp                Stallion Oilfield Services Ltd    Stallion Oilfield Services Ltd
Attn Accounts Receivable                 PO Box 55849                      PO Box 842364
PO Box 1486                              Houston, TX 77255-5849            Dallas, TX 75284-2364
Houston, TX 772511486




Stallion Oilfield Services Ltd And Its   Stallion Production Services Lp   Stallion Production Svcs
PO Box 55849                             Contracts Manager                 PO Box 842364
Houston, TX 77255-5849                   PO Box 1486                       Dallas, TX 75284-2364
                                         Houston, TX 77251




Stallion Rockies Ltd                     Stallion Rockies Ltd              Stallion Solids Control Inc
Contracts Manager                        PO Box 842364                     PO Box 1486
PO Box 1486                              Dallas, TX 75294-2364             Houston, TX 77251-1486
Houston, TX 77251




Stampfel Construction Co                 Stan Dur Steel                    Stancorp Financial Group Inc
759 36 3/10 Rd                           1568 W 218Th Street               1100 S W Sixth Avenue
Palisade, CO 81526-9770                  Torrance, CA 90501                Portland, OR 97204




Standard Automation Control              Standard Energy Services          Standard Energy Services
Dba Wonderware West                      Linette Stroope                   PO Box 203786
PO Box 849717                            PO Box 2724                       Dallas, TX 75320-3786
Dallas, TX 75284-9717                    Lubbock, TX 79408
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Standard Oilfield Supply Inc              Standard Parking Corporation   Standard Poors Rating Services
PO Box 6                                  8391 Collection Center Drive   2542 Collection Center Drive
Loco Hills, NM 88255                      Chicago, IL 60693              Chicago, IL 60693




Standard Pump Services Inc                Standard Register Company      Standard Royalty Corp
PO Box 485                                PO Box 840655                  12344 Cormorant Ct
Winters, TX 79567                         Dallas, TX 75284-0655          Jacksonville, FL 32223-2763




Standard Services Inc                     Standard Times                 Standard Tubular Services Inc
PO Box 800                                PO Box 630797                  6415 Windwood Drive
Carlsbad, NM 88221                        Cincinnati, OH 45263-0797      College Station, TX 77845




Standish Mellon Asset Management Co LLC   Standley Family Partners Ltd   Stanford H Arden Ttee
BNY Mellon Center                         PO Box 1014                    Stanford H Arden Liv Tr
One Boston Place                          Joshua, TX 76058               04/25/1973
201 Washington Street                                                    1494 Brianwood Rd
Boston, MA 02108-4408                                                    Decatur, GA 30033-1741



Stanford J Steele Ii                      Stanford Selma Weiner          Stanford Surveying Company
60660 Hwy 74 Box 150                      PO Box 7608                    PO Box 8490
Mountain Center, CA 92561                 San Antonio, TX 78207          Midland, TX 79708-8490




Stange Properties LLC                     Stanger Surveying Tyler LLC    Stanley A Colvin
PO Box 47                                 PO Box 131194                  1155 County Road 3416
Great Bend, KS 67530                      Tyler, TX 75713-1194           Leesburg, TX 75451-3745




Stanley A Mollerstuen                     Stanley A Morton Trust         Stanley Allen Mayes
5679 W Milan Pl                           Frost Bank Acct Fb669T6        110 Poplar Ridge Cove
Denver, CO 80235                          PO Box 1600                    Georgetown, TX 78628
                                          San Antonio, TX 78296




Stanley Black Ttee                        Stanley Brackenwagen           Stanley Bruce Beene
The Stanley And Joyce Black Pledged       N14219 Flowage Road            PO Box 285
Fbo Royal Bk Of Canada                    Minong, WI 548598019           Slaughter, LA 707770285
433 N Camden Drive Ste 1070
Beverly Hills, CA 90210-4434



Stanley C Brannon                         Stanley Ford                   Stanley Futch
205 Chimney Ridge Lane                    1920 West Kingsley Road        PO Box 282
Hallsville, TX 75650                      Apt 311                        Blackwell, TX 79506
                                          Garland, TX 75041




Stanley H Singer Trustee                  Stanley Hill                   Stanley Holland
Stanley H Singer Revoc Trust              807 Mazatlan Ct                Charles Schwab Co Inc Cust
2901 Clint Moore Road 217                 Arlington, TX 76002-6607       Sep Ira
Boca Raton, FL 33496                                                     2815 Vineyard Rd
                                                                         Novato, CA 94947
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Stanley J Marwil Revocable Tst         Stanley K Johnson                Stanley L Jones Estate
N Lindsay Marwil Succ Ttee             Address Redacted                 P M Nelms C D Nelms Co Pers Reprs
4507 Campbridge Ct                                                      1404 South 16Th Street
Sugar Land, TX 774793947                                                Lovington, NM 88260




Stanley L Wieding                      Stanley M Edwards                Stanley Michael Hays
865 Laubach Road                       PO Box 4096                      12922 Cresap
Seguin, TX 78155-1179                  Casper, WY 82604-0096            Cumberland, MD 21502




Stanley Mohr                           Stanley Newton King              Stanley Paul Mcbroom
1111 Park Avenue                       6253 Highway 822                 4209 Mojave Dr
New York, NY 10128                     Dubach, LA 71235                 Granbury, TX 76049




Stanley Perry                          Stanley Strum                    Stanley T Ritter
Address Redacted                       PO Box 21537                     Route 1 Box 350
                                       Waco, TX 767027537               Carthage, TX 75633




Stanley W Crosby                       Stanolind Oil Gas Lp             Stanolind Operating LLC
PO Box 45273                           301 West Wall Street             310 W Wall Street Suite 1000
Dallas, TX 75235                       Suite 1000                       Midland, TX 79701
                                       Midland, TX 79701




Stanolind Operating LLC                Stanolind Royalty Lp             Stansell Oil Gas LLC
PO Box 210                             310 West Wall Street Ste 1000    PO Box 1212
Midland, TX 79702                      Midland, TX 79701                Dripping Springs, TX 78620




Stantec Consulting Services Inc        Stantec Consulting Svcs Inc      Stantley Wayne Hunt
Daniel Heiser                          13980 Collections Center Dr      6047 Tropical Way
7669 West Riverside Drive Suite 101    Chicago, IL 60693                Houston, TX 77087
Boise, ID 83714




Stanton A Bowden                       Stanton Armour Trust Dtd 21066   Stanton Armour Trust Dtd 21066
8437 Beebe Street                      Harris Trust Savings Bank Tr     Harris Trust Savings Bank Tr
Greenwood, LA 71033                    PO Box 3480                      c/o Farmers National Co Agt
                                       OG Dept                          PO Box 542016
                                       Omaha, NE 68103-0480             Omaha, NE 68154



Stanton Wagers Jr                      Stanton Wagers Sr                Staples Business Advantage
PO Box 36                              3718 Cherry Hills Lane           PO Box 83689
Bellville, TX 77418                    Pasadena, TX 77505               Chicago, IL 60696-3689




Staples Contract Commercial            Star Enterprises LLC             Starbase Aviation LLC
PO Box 414524                          1409 Coulson Ave                 PO Box 1047
Boston, MA 02241-4524                  Kemmerer, WY 83101-3919          Addison, TX 75001-1047
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Starflight Aviation Ltd                Stargel Office Solutions             Starla Castillo
Farnborough Airport                    4700 Blalock                         2141 Robins Ave
Hampshire GU14 6XA                     Houston, TX 77041-9239               Ogden, UT 84404
United Kingdom




Starla Williams                        Starlette Vaughn                     Starlight Energy LLC
Address Redacted                       2611 Whitney Ave                     11757 W Ken Caryl Avenue
                                       Memphis, TN 38127                    F 303
                                                                            Littleton, CO 80127




Starr Schoenbrun Comte Mcguire         Starr Spraggins Furnish              Starrett Royalty LLC
110 N College Suite 1700               PO Box 1608                          PO Box 700093
Tyler, TX 75702                        Hallsville, TX 756501608             Tulsa, OK 74170




Startex Software LLC                   Staser Dynasty Trust                 Stasis Investments Ltd
Attn Accounts Receivable               Helen Louise Snook Trustee           500 N Akard 1900
840 W Sam Houston Parkway N            503 Sullivan St                      Dallas, TX 75201
Ste 250                                Minden, LA 71055-3137
Houston, TX 77024



State Bank Trust Co                    State Board Of Equalization          State Employees Credit Union
4219 Forsyth Road                      PO Box 942879                        PO Box 26807
Macon, GA 31210                        Fuel Taxes Division                  Raleigh, NC 27611
                                       Sacramento, CA 94279-6147




State Farm Insurance                   State Industrial Products Corp       State Land Investments Wy
Yvette Brunette Agent                  Neutron Industries                   122 W 25Th St Herschler Bldg
4801 Old Jacksonville Hwy              PO Box 74189                         Cheyenne, WY 82002-0600
Tyler, TX 75703                        Cleveland, OH 44194-0268




State Lands Commission California      State National Bank                  State Natl Bk Of Big Spring
Attn Accounting                        PO Box 1271                          901 S Main S
100 Howe Ave Suite 100 South           Big Spring, TX 79721-1271            Big Spring, TX 79720
Sacramento, CA 95825-8202




State Of Alabama                       State Of Alabama Treasurers Office   State Of California
Treasurers Office                      Rsa Union Building                   Board Of Equalization
Unclaimed Property Division            100 North Union St Ste 636           PO Box 942879
PO Box 302520                          Montgomery, AL 36104                 Sacramento, CA 94279-0001
Montogomery, AL 36130-2520



State Of California                    State Of California                  State Of California Franchise Tax Board
Secretary Of State                     State Controller s Office            Jamie C Gardner 565356579
PO Box 944230                          300 Capitol Mall Suite 1850          PO Box 1237
Sacramento, CA 94244-2300              Sacramento, CA 95814                 Rancho Cardova, CA 95670




State Of Delaware                      State Of Delaware                    State Of Delaware
Division Of Corporations               Division Of Revenue                  Division Of Revenue
PO Box 11728                           PO Box 2340                          820 N French Street
Newark, NJ 07101-4728                  Wilmington, DE 19899-2340            PO Box 2340
                                                                            Wilmington, DE 19899-2340
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State Of Delaware                      State Of Hawaii                    State Of Hawaii
PO Box 5509                            Unclaimed Property Program         Unclaimed Property Program
Binghamton, NY 13902-5509              PO Box 150                         No 1 Capitol District Bldg
                                       Honolulu, HI 96810                 250 S Hotel Street Rm 304
                                                                          Honolulu, HI 96813



State Of Indiana                       State Of Indiana                   State Of Louisiana
Office Of The Attorney General         Office Of The Attorney Genl        Department Of Environmental Quality
Unclaimed Property Division            Unclaimed Property Div             PO Box 4311
PO Box 2504                            35 South Park Blvd                 Baton Rouge, LA 70821-4311
Greenwood, IN 46142                    Greenwood, IN 46143



State Of Louisiana                     State Of Louisiana Department Of   State Of Louisiana Mineral Income Div
PO Box 44124                           Environmental Quality              Dept Of Natural Resources
Baton Rouge, LA 70804                  602 N Fifth Street                 PO Box 2827
                                       Baton Rouge, LA 70802              Baton Rouge, LA 70821




State Of Michigan                      State Of Nevada                    State Of New Mexico
Treasury Unclaimed Property            Office Of The State Treasurer      Commissioner Of Public Lands
Vpi Acquisition                        Nevada Unclaimed Property          PO Box 1148
Treasury Bldg                          555 E Washington Ave Ste 4200      Santa Fe, NM 87504-1148
Lansing, MI 48922                      Las Vegas, NV 89101-1070



State Of New Mexico                    State Of New Mexico                State Of Tennessee
Taxation Revenue Department            Taxation Revenue Dept              Treasury Dept Unclaimed Property Div
Unclaimed Property Office              Unclaimed Property Office          502 Deaderick St
1200 South Saint Francis Dr            PO Box 25123                       Nashville, TN 37243-0203
Santa Fe, NM 87505                     Santa Fe, NM 87504-5123



State Of Tennessee                     State Of Texas                     State Of Texas
Treasury Dept Unclaimed Property Div   Attn Stephen F Austin B            General Land Office
PO Box 198649                          1700 N Congress Ave                11811 N Ave D
Nashville, TN 37219-8649               Austin, TX 78701                   La Porte, TX 77571




State Of Texas                         State Of Texas                     State Of Washington
General Land Office                    Stephen F Austin B                 Department Of Revenue
1700 North Congress                    1700 N Congress Ave                Unclaimed Property Section
Austin, TX 78701                       Austin, TX 78701                   2500 E Valley Rd Ste C
                                                                          Renton, WA 98057



State Of Washington                    State Of Wyoming                   State Of Wyoming
Department Of Revenue                  Dept Of Environmental Quality      Office Of St Lands And Invest
Unclaimed Property Section             Air Quality Division               122 W 25Th 3Rd Floor West
PO Box 34053                           200 W 17Th St 3Rd Flr              Cheyenne, WY 82002
Seattle, WA 98124-1053                 Cheyenne, WY 82002



State Of Wyoming                       State Oil Reports                  State Parking Services
Wyoming Air Quality Division           193 Falling Hills                  1001 Texas Ave
122 West 25Th Street                   New Braunfels, TX 78132            Suite 420
Herschler Bldg 2E                                                         Houston, TX 77002
Cheyenne, WY 82002



State Police Right To Know             State Street Ban                   State Street Corp
7919 Independence Blvd                 Attn Christine Sullivan            One Lincoln Street
Baton Rouge, LA 70806                  1776 Heritage Drive Bldg Jab5E     Boston, MA 02111
                                       North Quincy, MA 02171
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State Street Global Advisors Ssga       State Treasurer Of California   State Treasurer Of Wyoming
1 Lincoln St                            Bill Lockyer                    Joseph B Meyer
Boston, MA 02111                        Post Office Box 942809          200 West 24Th Street
                                        915 Capitol Mall C 15           Cheyenne, WY 82002
                                        Sacramento, CA 94209-0001



State Treasurer Sarah Steelman          Stateline Vacuum Services LLC   Statellite Bull Resources LLC
PO Box 210                              10450 Hwy 79                    PO Box 8382
Jefferson City, MO 65102                Haynesville, LA 71038           The Woodlands, TX 77387




States Royalty Ltd Prtnrshp             Statewide Royalty Acqustn LLC   Steadfast Insurance Co
PO Box 911                              PO Box 10668                    Justin Tacl
Breckenridge, TX 76424                  Midland, TX 79702               1299 Zurich Way
                                                                        Schaumburg, IL 60196




Stealth Oilwell Services LLC            Steele Family Trust             Stefan Group LLC
PO Box 69063                            Stanford James Stelle Ii Ttee   PO Box 2858
Odessa, TX 79769                        6305 Fernwood Dr                Palestine, TX 78209
                                        La Mesa, CA 91942-4026




Stefanie Adair                          Stefonte Mcdaniel               Steger Energy Corporation
Address Redacted                        2105 Knoll Crest Drive          PO Box 1888
                                        Arlington, TX 76014             Gilmer, TX 75644




Steger Richie                           Stella Belle Langley            Stella C Lockwood
631 Jefferson St                        c/o Clayton M Sylestine         4324 Sweetgum Lane
Pittsburg, TX 75686                     433 Fm 2500                     Jacksonville, FL 32210
                                        Livingston, TX 77351




Stella M Brown                          Stella Mae Bowie                Stella Mae Flowers
141 Lamont Avenue                       14072 Hubbell                   849 Lawrence St
San Antonio, TX 78209                   Detroit, MI 48227               Detroit, MI 48202-1018




Stella Mae Washburn                     Stella Shaver                   Stella Valdez
c/o Texas State Treasury                1332 Via Del Oro                500 Throckmorton St
Unclaimed Property Division             Fallbrook, CA 92028             3306
PO Box 12019                                                            Fort Worth, TX 76102
Austin, TX 78711-2019



Stellar Oilfield Rentals LLC            Stem House Solutions LLC        Stephani K Roberts
PO Box 22328                            33 April Point Dr North         PO Box 1971
Houston, TX 77227-2328                  Montgomery, TX 77356-5811       Port Barre, LA 70577




Stephanie A Oxaal                       Stephanie Allen Johnson         Stephanie Ann Sheets
5 Crockett Dr                           1508 Southeast Sunrise Drive    718 W Crockett St
Bow, NH 03304                           Bentonville, AR 72712           Wolfe City, TX 75496-3020
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Stephanie Ann Weber                   Stephanie Atala Alexander Nix    Stephanie Brassovan
PO Box 773                            198 Jessie Jones                 Address Redacted
Woodsboro, TX 78393-0773              Benton, LA 71006




Stephanie C March Test/Trust          Stephanie Chaisson Dark          Stephanie Cobb Langwell
Texas State Bank Trustee              140 Ry Tucker Rd                 2529 Kinnersley Ln
PO Box 3782                           Dubach, LA 71235                 College Station, TX 77845-1207
San Angelo, TX 76902




Stephanie Colvin                      Stephanie D Hall                 Stephanie Dickson Hall Tst Iii
211 Ridgedale                         433 Huron St                     Bank Of America Na Succ Ttee
West Monroe, LA 71291                 Shreveport, LA 71106             PO Box 840738
                                                                       Dallas, TX 75283-0738




Stephanie Dickson Hall Tst Iv         Stephanie Dionne Burrus          Stephanie Dumas
Bank Of America Na Succ Ttee          9245 Highdale St                 By Allen Dumas Agent Aif
PO Box 840738                         Bellflower, CA 90706             606 East Todd St
Dallas, TX 75283-0738                                                  Minden, LA 71055




Stephanie G Noland                    Stephanie Goldie                 Stephanie Gusmeri
203 West 90Th Street Apt 6H           17230 Winchester Club Drive      Address Redacted
New York, NY 10024                    Meadow Vista, CA 95722




Stephanie Holland Satcher             Stephanie Kapta                  Stephanie Kapta
2301 Meadow Ln                        1555 N River Center Dr           1555 N RiverCenter Dr
Mesquite, TX 75150                    Suite 302                        Suite 302
                                      Milwaukee, WI 53212              Milwaukee, WE 53212




Stephanie Kapta                       Stephanie Krajca                 Stephanie Lane Barringer Trust
1555 N Rivercenter Dr Suite 302       1104 Nelson Ranch Rd             Coco Barringer Nix Trustee
Milwaukee, WI 53212                   Cedar Park, TX 78613-4538        PO Box 12488
                                                                       Dallas, TX 75225




Stephanie Lewis                       Stephanie Michelle Stodghill     Stephanie Mills Porter Womack
9922 W Montgomery Rd Apt 226          7027 County Rd 48                200 Horne Lane
Houston, TX 77088-3156                Rosharon, TX 77583               West Monroe, LA 71292




Stephanie Neyland Huff                Stephanie Orr Mathis             Stephanie Renee Dixon
PO Box 215                            4338 Wordsworth Creek            165 Parsonage Rd
Cherokee, TX 76832                    Corpus Christi, TX 78410         Colfax, LA 71417-6075




Stephanie Starks                      Stephanie Stewart Living Trust   Stephanie Stewart Trust
c/o Leann Starks                      David E Reese Successor Ttee     4 U/A Ngs 707 00
507 Timber Lake Dr                    PO Box 19509                     Bank Of America N A Trustee
Southlake, TX 76092                   Shreveport, LA 71149             PO Box 840738
                                                                       Dallas, TX 75284-0738
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Stephanie Yvonne Horton               Stephen A Manning               Stephen A Mckendrick Trustee
General Delivery                      402 Alamo Drive                 Fbo Stephen A Mckendrick
Garland, TX 75040-9999                Santa Fe, NM 87501              PO Box 600364
                                                                      Dallas, TX 75360




Stephen A Simon                       Stephen Abrams                  Stephen Alan Harper
PO Box 52                             56 Brooklyn Avenue              38 Crescent View Court
Chippewa Falls, WI 54729              Toronto, ON M4M 2X5             The Woodlands, TX 77381
                                      Canada




Stephen Alexander Mckendrick          Stephen B Carter                Stephen B Kirby
PO Box 600364                         211 Hampton Court               2819 Calendar Lake Dr
Dallas, TX 75360                      Bossier City, LA 71111          Missouri City, TX 77459




Stephen Bassist Wolf                  Stephen Breaton                 Stephen Burgess
PO Box 268                            1325 Avenue of the Americas     PO Box 809
Tyler, TX 75710                       New York, NY 10019              Elkhart, TX 75839




Stephen C Anderson                    Stephen C Lyons                 Stephen Charles Penney
12402 Piping Rock                     3121 Melaine St                 c/o Susan Elizabeth Penney
Houston, TX 77077                     Mission, TX 78574               6363 Brampton Court
                                                                      Alexandra, VA 22304




Stephen Chase Townsend                Stephen Clay Nanny              Stephen Craig Bennett
1365 Beechwood Dr                     2131 Chantilly Ln               13168 Eastridge Drive
Kyle, TX 78640-5719                   Houston, TX 77018-4007          Oklahoma City, OK 73170




Stephen David King                    Stephen Dodd Lamson             Stephen Douglas Marsh
C/O Argent Property Servcs Llc        430 North Sea Mecox Road        205 Church Street
PO Box 216                            Southhampton, NY 11968          White Bluff, TN 37187
Homer, LA 71040




Stephen Douglas May                   Stephen E Bosworth              Stephen E Brenholtz
7615 Fair Oaks Parkway                10040 Horseshoe Nail            5936 Stone Creek Dr
Fair Oaks Ranch, TX 78015             Pilot Point, TX 76258           Sanger, TX 76266




Stephen E Smith                       Stephen Eugene Durrett          Stephen F Beard
1511 Tallulah Ct                      2015 Hillsdale Dr               164 Larance Orchard Road
Houston, TX 77077                     Baton Rouge, LA 70808           Dubach, LA 71235




Stephen G Fox Ira                     Stephen G Verhalen Jr           Stephen Goldfarb
Td Ameritrade Clearing Custodian      21 No Autumn Wood Way           Address Redacted
1 Toll House Way                      The Woodlands, TX 77380
Barboursville, WV 25504-1262
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Stephen Goss Sanders                  Stephen Goss Sanders Trust        Stephen Grant Trivitt
4512 Elohi Drive                      Daisy Camille Sanders Rev Trt     Address Redacted
Austin, TX 78746                      Stephen Goss Sanders Sub Ttee
                                      4512 Elohi Drive
                                      Austin, TX 78746



Stephen Harvey                        Stephen Henderson Silbernagel     Stephen Horn Ii
508 Charles Lewis                     201 2095 Beach Avenue             86 Rossi Ave
Brenham, TX 77833                     Vancouver, BC V6G 3E2             San Francisco, CA 94118-4239
                                      Canada




Stephen Hugh Pennal                   Stephen J Gertz                   Stephen J Rotenberg
4212 Briarwood Dr                     133 Se Ford St                    7810 Richards Drive
Indianapolis, IN 46250                Mc Minnville, OR 97128            Baton Rouge, LA 70809




Stephen J Tempero Trust               Stephen James Abear               Stephen James Schaefer
1018 Sw Exmoor Lane                   1110 Carlson Street               229 Dewberry Drive
Topeka, KS 66604                      Orlando, FL 32804                 Lake Jackson, TX 77566




Stephen Joe Fransen                   Stephen Joseph And Vanda Joseph   Stephen Joseph Crawford
315 Pecan Drive                       503 Pecan Way                     2006 Charlie Jones Road
St Gabriel, LA 70776                  Jefferson, TX 75657-1062          Grand Cane, LA 71032




Stephen Judson Pritchard              Stephen Knighton                  Stephen L Bell
128 Whippoorill                       1898 Cr 140 D                     120 County Rd 133
Livingston, TX 77351                  Overton, TX 75684                 Muleshoe, TX 79347




Stephen L Gray                        Stephen L Gray Trust              Stephen L Yeich Etux
2002 Timberloch Place                 2002 Timberloch Pl Suite 200      Carolyn Jean Yeich
Suite 200                             The Woodlands, TX 77380           263 Hyatt Road
The Woodlands, TX 77380                                                 Ruston, LA 71270




Stephen L Zawada                      Stephen Lance Lamb                Stephen Lee Bridges
226 Sycamore Ln                       1515 Chippewa St                  3631 Timberside Circle Box 11
Madison, MS 39110                     Longview, TX 756054152            Houston, TX 77025




Stephen Lee Gosdin                    Stephen M Burns Jr 205 Trust      Stephen M Hansen
111 Buckhall Rd                       Stephen M Burns Jr Trustee        c/o Ubs Financial Services
Bossier, LA 71111                     PO Box 3309                       Suite 100
                                      Alice, TX 78333                   10001 Woodloch Forest Drive
                                                                        The Woodlands, TX 773801924



Stephen M Lucas                       Stephen M Stewart                 Stephen M Wainwright
5800 Stoneridge Dr                    PO Box 19509                      2726 Palmer
Texarkana, TX 75503-1462              Shreveport, LA 711490509          New Orleans, LA 70118
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Stephen Mark Carroll                  Stephen Mark Duplissey          Stephen Marshall Stewart Trust
1083 Fm 2428                          1602 Stacey Ct                  3 U/A Ngs Acct 701 00
Joaquin, TX 75954                     Richardson, TX 75081-2528       Bank Of America Na Ttee
                                                                      PO Box 840738
                                                                      Dallas, TX 75284-0738



Stephen Marshall Stewart Trust        Stephen Michael Gleason         Stephen Moran
Bank Of America Na Ttee               Elizabeth Arledge Gleason       225 Franklin St MAO 3
4 U/A Ngs Acct 702 00                 255 Petrus Circle               Boston, MA 02110
PO Box 840738                         West Monroe, LA 71291
Dallas, TX 75284-0738



Stephen Murph Colvin                  Stephen Newton Young            Stephen O Sally D Smith
4837 Woodberry Lane                   395 Baxter Rd                   PO Box 504
Benton, LA 71006                      Livingston, TX 77351            Ruston, LA 71270




Stephen O Smith                       Stephen Oates                   Stephen Oliver
PO Box 1689                           PO Box 1717                     92 Cleveland Street
Ruston, LA 71273-1689                 Center, TX 75935                Port Hadlock, WA 98339




Stephen P Garnett                     Stephen Paul Jeans              Stephen Paul Spence
10420 Foxglove Court                  308 County Road 3686            277 Honeysuckle Cir
Austin, TX 78739                      Joaquin, TX 75954               Fruita, CO 81521




Stephen Paul Watt                     Stephen Prudhome                Stephen R Butter
5304 Spoked Wheel Drive               193 Daddy Don Drive             2022 Centenary Circle
Colorado Springs, CO 80923            Mansfield, LA 71052             Longview, TX 75601




Stephen R Hillberg                    Stephen R Howard                Stephen R Stanfield Rhonda L Stanfield
1901 N Ocean Blvd Apts2F              3311 Beachwater                 7004 County Road 462 South
Fort Lauderdale, FL 33305             Katy, TX 77450                  Henderson, TX 75654




Stephen R Townsend                    Stephen Ralph Blakely           Stephen Ray Campbell
PO Box 6498                           PO Box 1155                     1515 Hitherfield
Austin, TX 78762-6498                 Kilgore, TX 75663               Sugar Land, TX 77478




Stephen Ray Reese                     Stephen Rene Rivers             Stephen Robert Nutt
7273 Cr 4101                          10378 Peck Rd                   PO Box 453
Henderson, TX 75654                   Lumberton, TX 77657             Marshfield, MO 65706




Stephen Robert Thomas                 Stephen Roberts Shanks          Stephen Rodgers And Barbara R Rodgers
125 Lilac Circle                      802 Cannon Run                  1532 Bonaparte Dr
Ephrata, PA 17522                     Marietta, GA 30064              Ruston, LA 71270
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Stephen S Locke                        Stephen S Seidner                    Stephen Salmon
10681 Brookview Ln                     4901 Landrun Ln                      2612 Oxford Ave
San Diego, CA 92131                    Arlington, TX 76017                  San Angelo, TX 76904




Stephen Smith                          Stephen Smith Family Co LLC          Stephen Steese
PO Box 160                             PO Box 1120                          Address Redacted
Grand Junction, CO 81502               Grand Junction, CO 81502




Stephen Stribling Baker                Stephen T Drane And Jana Drane       Stephen Tadlock
5931 Gilbert Dr                        PO Box 290622                        Address Redacted
Shreveport, LA 71106-2315              Kerrville, TX 780290622




Stephen Thomas Cranford                Stephen W Barnes                     Stephen W Ley 2002 Net Income
2930 Martha Street                     10794 West Quarles Avenue            Charitable Remainder Unitrust
Simsboro, LA 71275                     Littleton, CO 80127                  Rice Trust Inc Trustee
                                                                            Mail Stop 91 PO Box 2666
                                                                            Houston, TX 77252



Stephen W Rector                       Stephen W Schneider Jr               Stephen W Schuler
5 Inverness Dr E                       4452 County Road 323                 6937 Gammwell Drive
Englewood, CO 80112                    Lindale, TX 75771                    Cincinnati, OH 45230




Stephen Wadlington                     Stephen Wayne Adams                  Stephen Wayne Millican
Address Redacted                       146 Circle Dr                        312 Pipes Rd
                                       Tenaha, TX 75974-6518                Choudrant, LA 71227-3072




Stephen Wehmeyer                       Stephen Wynne Daniel                 Stephenie Atala Alexander
4400 Deepwood Dr                       2012 Crown Knoll Ln                  198 Jessie Jones Dr
Austin, TX 78731                       Plano, TX 75093                      Benton, LA 71006




Stephenie OBrien Yearwood              Stephens Calhoun Smith               Stephens College
4453 Stony Meadow                      PO Box 515                           1200 E Broadway Box 2006
Austin, TX 78731                       Deltaville, VA 23043                 Columbia, MO 65215




Stephens Corn Rosenstein               Stephens Inc                         Stephens Inc
4000 Post Oak Road                     111 Center Street                    Attn Gina Orellano
Tyler, TX 75701                        Little Rock, AR 72201                111 Center Street
                                                                            Little Rock, AR 72201




Stephens James T Desiree Stephens      Stephens Johnson Operating Company   Stephenson Dirt Contracting LLC
5976 East Country Club Road            PO Box 2249                          1024 Cr 4420
Longview, TX 75602                     Wichita Falls, TX 76307              Mt Pleasant, TX 75455
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Stephenson Industries Inc               Stephenson Pharmacy                   Stephenson Royalty Trust
115 San Jacinto                         1000 South Fleishel Avenue            Charles L Stephenson Trustee
Levelland, TX 79336                     Tyler, TX 75701                       3829 Nantucket Drive
                                                                              Plano, TX 75023




Stephine D Burrus                       Stephyn Ramsey                        Stericycle Communications Solutions
8520 Century Be D                       814 W Denton Rd                       26604 Network Place
Paramount, CA 90723                     Axtell, TX 76624                      Chicago, IL 60673-1264




Sterlene Bolling                        Sterling Commercial Credit            Sterling Commercial Credit
111 Calypso Dr                          c/o Continental Prod Srvs Inc         c/o Continental Production Services Inc
Lakeway, TX 78734                       10559 Citation Dr Ste 204             10559 Citation Dr Ste 204
                                        Brighton, MI 48116                    Brighton, MI 48116




Sterling Commerical Credit              Sterling Communications Electronics   Sterling Crane LLC
Fbo Arcadia Oilfield Supply Inc         1185 Dewar Drive                      9351 Grant Street
PO Box 204755                           Rock Springs, WY 82901                Suite 250
Dallas, TX 75320-4755                                                         Thornton, CO 80229




Sterling Lewis                          Sterling M Morris                     Sterling W Costlow
1525 Sacramento Street                  PO Box 1300                           20587 Kingsley Cir
Berkeley, CA 94702                      Wharton, TX 77488                     Chandler, TX 75758-8629




Sterlington Medical                     Steve Addison Sara Patton Hollis      Steve Alan Gloria Schmidt
5773 Woodway Ste 214                    187 E W Morgan Road                   581 Fm 99
Houston, TX 77057                       Arcadia, LA 71001                     Whitsett, TX 78075




Steve Allen Brown                       Steve Arnold Langford                 Steve B Beckley
PO Box 173                              618 N King Street                     51000 Two Rivers Plaza Road
Gary, TX 75643                          Carthage, TX 75633                    Glenwood Springs, CO 81601




Steve Bryant                            Steve Burnett                         Steve Cockrell
8403 Vicksburg Ave                      PO Box 1240                           PO Box 265
Lubbock, TX 79424                       Midlothian, TX 76065                  Joaquin, TX 75954




Steve Davidson Management LLC           Steve Dedra Simpson                   Steve Dillard
201 Greenhaven Drive                    PO Box 816                            13447 Sarah Lane
Lafayette, LA 70508                     Ballinger, TX 76821                   Dallas, TX 75243




Steve Dimitri Urania Kekeris Rodakis    Steve E Warner                        Steve Edward Nally
2500 Tanglewood Dr                      841 Wiley Page Rd                     6601 Sands Point 12
Ruston, LA 71270                        Longview, TX 756055939                Houston, TX 77074
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Steve Ingram Trust                     Steve Jackson                   Steve Jay Hardy
3813 Sumerset Ct                       9900 Adleta Blvd Bldg 14        1579 Highway 146
Longview, TX 75605                     Apt 1407                        Homer, LA 71040
                                       Dallas, TX 75243




Steve Jones Welding LLC                Steve K Cochran                 Steve Kent Investments Inc
PO Box 63                              c/o Xto Energy Inc              PO Box 56
Farson, WY 82932                       PO Box 730586                   2680 Main St
                                       Dallas, TX 75373                Lottie, LA 70756




Steve Kent Trucking Inc                Steve Kolb Mary Kolb            Steve L Vinson
PO Box 148                             931 Kiowa Drive West            4245 N Central Expy 440
Lottie, LA 70756                       Lake Kiowa, TX 76240            Dallas, TX 75205




Steve Liles                            Steve Lockridge                 Steve Lowry Trustee
Address Redacted                       287 Cr 223                      F/B/O Samuel Nathan Carr
                                       Henderson, TX 75652             c/o Merrill Lynch College Savings Plan
                                                                       286 Grand Ave Sutie 200
                                                                       Southlake, TX 76092



Steve Malone                           Steve Martin                    Steve Mckinney
2631 Grayson                           936 Cambridge Bnd               PO Box 1
Dallas, TX 75216                       Tyler, TX 75703-6306            Orla, TX 79770




Steve Mcmurray                         Steve Murry Kirkland Sp         Steve OGrady
204 Baker St                           345 North Dewitt Road           171 Walker
Henderson, TX 75652                    Vidor, TX 77662-4632            Gladewater, TX 75647




Steve Page                             Steve Permenter Sp              Steve Peters
C/O Ray Wood                           3990 Fm 2428                    c/o Lois Dominguez
PO Box 164310                          Joaquin, TX 75954               970 Spring St
Austin, TX 78716                                                       Oak View, CA 93022




Steve Ramsey                           Steve Ray Taylor                Steve Richards Estate
9256 Us Highway 84 East                634 Hidden Valley               Joyce L Richards Indep Exec
Timpson, TX 75975                      Houston, TX 77037               5498 Apple Blossom Lane
                                                                       Friendswood, TX 77546




Steve Schafer                          Steve Schafer Sr                Steve Stavracos
60 S 6th Street P09                    60 S 6th Street P09             211 Old Post Rd
Minneapolis, MN 55402-4400             Minneapolis, MN 55402-4400      Port Jefferson, NY 11777-2040




Steve Strong Agent                     Steve Venturatos                Steve W Grimes
Attorney In Fact For Rose O Strong     Address Redacted                PO Box 513
2503 Whispering Oaks Circle                                            Carthage, TX 75633
Bryan, TX 77802-2024
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Steve Warner                           Steve West And Wife Michell West   Steve White Inc
Rt 5 Box 265K                          81369 South Fm 225                 100 Independence Place
Longview, TX 75702                     Laneville, TX 75667                Suite 305
                                                                          Tyler, TX 75703




Steve Worsham                          Steven A Bleakley Sr Or            Steven A Mccrary
PO Box 812                             Robbie L Bleakley                  11701 W 60Th Place
Jacksonville, TX 75766                 PO Box 9606                        Shawnee, KS 66203
                                       The Woodlands, TX 77387-6606




Steven A Mccrary Vicki Mccrary         Steven A Pickett                   Steven Bird
11701 West 60Th Place                  102 North College Avenue           Address Redacted
Shawnee, KS 66203                      Suite 614
                                       Tyler, TX 75702-8910




Steven Blake Roberts                   Steven Bolt Sumrall                Steven Bolt Sumrall Estate
342 Katima Ln                          2500 Franklin Avenue               Mickey Sumralladministrator
Bullard, TX 75757-2987                 Ruston, LA 71270                   PO Box 697
                                                                          Ruston, LA 71273




Steven Bonds                           Steven Bruton                      Steven Burrough
11232 Jason Drive                      2255 Lenox Rd Ne Apt D 1           1415 Peru
Pass Christian, MS 39571               Atlanta, GA 30324                  Dallas, TX 75203




Steven C Morrison                      Steven Charles Cook                Steven Clinton Wiederkehr
825 Barnes Rd                          12885 Hwy 105 W                    713 Reveille Rd
Cleburne, TX 760310333                 Conroe, TX 77304                   Fort Worth, TX 76108




Steven Colburn                         Steven D Kelly                     Steven Daas
301 Imperial Circle                    30 Airshire Place                  109 Edde Court
Coldspring, TX 77331                   Hazelwood, MO 63042                Marina, CA 93933




Steven Dean Colvin                     Steven Dhu Hosford                 Steven Dickerson
1244 Big Creek Rd                      1423 Scenic View Drive             57 Lexington Cr
Dubach, LA 71235                       Canyon Lake, TX 78133              Marlton, NJ 08053




Steven Dorfman                         Steven E Calhoun                   Steven E Conant
2228 W Oakdale Ave                     PO Box 7621                        12730 Westhorpe Dr
Chicago, IL 60618-8002                 Tyler, TX 75711                    Houston, TX 77077




Steven E Nichols                       Steven Earl Hord And Lonna Hord    Steven Eric Hopper
102 Coy Hill Rd                        9199 Grand Lake Estates Drive      3104 Sentinel Dr
PO Box 971                             Montgomery, TX 77316               Midland, TX 79701
Warren, MA 01585
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Steven F Nail Joyce A Nail             Steven G Mccarter Suzanne C Mccarter   Steven Gaar
1211 Summerfield                       2966 Highway 821                       PO Box 310
San Antonio, TX 78258                  Ruston, LA 71270                       Winnfield, LA 71483




Steven Glen Ward                       Steven H And Joann English             Steven H Graham Trust
513 Booker Loop Rd                     PO Box 572                             Farmers National Co Agent
Mansfield, LA 71052                    Joaquin, TX 75954                      Oil Gas Dept
                                                                              PO Box 3480
                                                                              Omaha, NE 68103-0480



Steven H Graham Trust                  Steven Hayden                          Steven Heath Woodard
Southside Bank Trustee                 1720 Regal Row Suite 230               901 E Marvin
PO Box 6170                            Dallas, TX 75235                       Waxahachie, TX 75165
Tyler, TX 75711-6170




Steven Herbert Brown                   Steven Hoelsher                        Steven J Bodenheimer
39 Haven Cir                           10980 S Crook Rd                       PO Box 1706
Denison, TX 75020-4080                 San Angelo, TX 76904                   Longview, TX 75606




Steven J Breckler                      Steven J Carraher                      Steven J Devos
723 S Royal St                         4343 Cressing Ct                       5437 Breckenridge Court
Alexandria, VA 22314                   Hilliard, OH 43026                     Frisco, TX 75034




Steven Jaffe                           Steven Jay Watson                      Steven Joe Watson
Address Redacted                       12922 Cr 496                           3295 Us Hwy 84 E
                                       Tyler, TX 75706                        Tenaha, TX 75974




Steven Jon Bodner                      Steven Jones                           Steven Joseph Murrell
c/o Margie Lile                        Address Redacted                       881 Myrtle St Ne
813 1/2 13Th Street                                                           Apt 5
Austin, TX 78702                                                              Atlanta, GA 30309




Steven K Stewart                       Steven Keith Boydstun Renee Boydstun   Steven Kolb
2722 Constantine St                    345 Mitchell Road                      931 Kiowa Dr West
New Caney, TX 77357                    Simsboro, LA 71275                     Lake Kiowa, TX 76240




Steven Kristen Marler                  Steven L Blankenship                   Steven L Childress
10096 S Cantrell Rd                    4785 Baseline Road                     PO Box 673
Casper, WY 82601                       Grand Junction, MI 49056               San Carlos, CA 94070




Steven L Morton                        Steven L Porter                        Steven L Sumrall
141 Morton Lane                        355 Lloyden Park Ln                    PO Box 2470
Ruston, LA 71270                       Atherton, CA 94027                     Fraser, CO 80492
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Steven L Towns Jennifer Peterson Towns   Steven Lane Martin             Steven Lee Brashear
1201 Cypress Glen Dr                     202 Sunset Trail               1506 Briar Dr
Minden, LA 71055-5785                    West Monroe, LA 71291          Portland, TX 78374




Steven Lee Lowry                         Steven Lee Moncrief            Steven Lewis And Melonie Dean Confair
8917 Cypress Creek Rd                    608 Joseph Street              116 Bobcat Lane
Lawtana, TX 76226                        Monroe, LA 71201               Mansfield, LA 71052




Steven Lynn Man                          Steven M Cantrell              Steven M Morris
6401 Academy Rd Apt 92                   PO Box 1608                    16603 Hamilton Park Dr
Albuquerque, NM 87109                    Ada, OK 74820                  Cypress, TX 77429-6958




Steven Marion Browne                     Steven Marsh                   Steven Mccrary Separate Prop
3251 Whispering Oak                      PO Box 41773                   11701 W 60 Th Place
Dallas, TX 75234                         Houston, TX 77241              Shawnee, KS 66203




Steven Michael Martin                    Steven Montford Thurmon        Steven Nail
25835 Majorca Way                        1402 Shelor Dr                 3979 Us Hwy 283 South
Mission Viejo, CA 92692                  Ruston, LA 71270               Baird, TX 79504




Steven Neal Breakfield                   Steven P Jackson               Steven P Musil
1105 E Bayou Pky                         6300 Riverside Plaza Nw        2502 Skimmer Court
Lafayette, LA 70508                      Suite 200                      Pleasanton, CA 94566
                                         Albuquerque, NM 87120




Steven P Stroud                          Steven Parker                  Steven Patrick Strickland
Lisa C Stroud                            1995 E Coalton Rd 58 101       840 Mccarty Rd
12873 Hwy 154                            Superior, CO 80027             Lufkin, TX 75904
Gibsland, LA 71028




Steven R Noe                             Steven R Phillips              Steven R Warwick
29035 Mayo Trail                         18 Mangia Ct                   704 Cline Street
Catlettsburg, KY 41129                   Missouri City, TX 77459-1169   Minden, LA 71055




Steven R Watts                           Steven Ray Fabick              Steven Rickey Russell
14333 Highway 151                        PO Box 105                     2340 Bocage Place
Arcadia, LA 71001                        Greenlane, PA 18054            Ruston, LA 71270




Steven Rounsavill                        Steven S Dunn                  Steven S Toeppich Associates PLLC
Address Redacted                         13727 Noel Road Suite 1200     2777 Allen Parkway
                                         Dallas, TX 75240               Suite 800
                                                                        Houston, TX 77019
                    Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1329 of 1524

Steven Sutton                            Steven T Beavers Carol J Beavers Moore   Steven T Mast
6637 North 81st Street                   Marian E Beavers Anderson Co Ttees       4291 Poydras Hwy
Scottsdale, AZ 85250                     Marion T Beavers Family Trust            Breaux Bridge, LA 70517
                                         2115 Graystone Rd
                                         Longview, TX 75605



Steven Thomas                            Steven Thomas Cranford Sr                Steven Thompson Et Ux Melissa
1745 N 133 Dr                            2930 Martha Street                       429 Cr 3831
Goodyear, AZ 85395                       Simsboro, LA 71275                       Joaquin, TX 75954




Steven Travis Beavers                    Steven W Wilks                           Steven Wayne Diebold
110 Skyline Dr                           722 Coulee Creek Road                    3058 Hwy 544
Longview, TX 75605                       Jonesboro, LA 71251                      Ruston, LA 71270




Steven Wayne Diebold Miranda A Diebold   Stevens Louise Magrill                   Stevens T E
3058 Hwy 544                             2105 Sandstone Dr                        439 Joy Lane
Ruston, LA 71270                         Longview, TX 75605                       Hallsville, TX 75650




Stevens Ted C Patricia K Stevens         Stevens Trucking                         Stevie Anderson
PO Box 7342                              PO Box 19608                             1405 Leon Drive
Longview, TX 75607                       Oklahoma City, OK 73144                  Jonesboro, LA 71257




Stewart Children Trust                   Stewart Clayton                          Stewart Dean Bearing Company Inc
c/o Nations Bank                         Kimblen Clayton                          4536 Baldwin 9091
PO Box 840738                            609 Dodd St                              Corpus Christi, TX 78408-2710
Dallas, TX 75284-0738                    Longview, TX 75603




Stewart G Hyland                         Stewart Hunt                             Stewart M Green
124 Azalia Drive                         20 Carriage Lane                         707 Leona
East Palo Alto, CA 94303                 Lake Charles, LA 70605                   White Oak, TX 75693




Stewart M Madison                        Stewart Metcalf Tompkins                 Stewart Welding Machine Inc
PO Box 9287                              2646 Mountain Lake Rd                    PO Box 708
Jackson, MS 39286                        Dallas, TX 75233-1008                    Andrews, TX 79714




Sti Trucking LLC                         Sti Trucking LLC Dba Stone Trucking      Stifel Financial Corp
Dept 1605                                Melinda Tramel                           One Financial Plaza
PO Box 11407                             PO Box 700                               501 North Broadway
Birmingham, AL 35246-1605                Kiefer, OK 74041                         St Louis, MO 63102




Stifel Nicolaus Co Inc                   Stillwaters Resources Lc                 Stim Timber Company LLC
Tommy Forrester                          c/o Betty L Ramey                        61 W 29Th Pl Apt 4104
2646 E 34Th St                           200 Majestic Oaks Dr Apt 219             Eugene, OR 97405-5114
Tulsa, OK 741052819                      Shreveport, LA 71115
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Stinger Wellhead Protection            Stinnett Associates LLC             Stith Bynum
PO Box 4869                            8801 S Yale Suite 330               10012 Commander Dr
Houston, TX 77210                      Tulsa, OK 74137                     Shreveport, LA 77106




Stj LLC                                Stock Option Solutions Inc          Stockman Asset Management
PO Box 100265                          910 Campisi Way Suite 2E            402 N Broadway
Denver, CO 80250                       Campbell, CA 95008-2340             Billings, MT 59101




Stoddard Coating LLC                   Stokes Spiehler Onshore Inc         Stoltz Family Partnership Lp
741 State Hwy 42 South                 PO Box 52006                        PO Box 1731
Henderson, TX 75654                    Lafayette, LA 70505                 Midland, TX 79702




Stomaco Energy Services Inc            Stone Energy Corp                   Stone Family Jt Venture
PO Box 3427                            625 E Kaliste Saloom Road           PO Box 2509
Kilgore, TX 75663                      Lafayette, LA 70508                 Longview, TX 75606




Stone Harbor Investment Partners Lp    Stone Jr Glenn R                    Stone Oilfield Service
31 W 52nd St 1602                      Glenn Stone                         PO Box 10
New York, NY 10019                     414 Miller Street                   Lovington, NM 88260
                                       White Oak, TX 75693




Stone Trucking                         Stone Trucking Co Inc               Stone Wc
Dept 1605                              PO Box 277                          4939 Fratus Drive
PO Box 11407                           George West, TX 78022               Temple City, CA 91780
Birmingham, AL 35246-1605




Stonebridge Acquisition Inc            Stonebridge Acquisition Inc         Stonehaven Resources Inc
Sharon Anthamatten                     PO Box 843250                       355 Stubbs Bay Rd
4200 E Skelly Drive Suite 1000         Kansas City, MO 64184-3250          Orono, MN 55356
Tulsa, OK 74135




Stonehill Properties LLC               Stonell B Greene                    Stonewall Production Company
11555 Highview Drive                   502 West Kearney Street             121 South Broadway
Belton, TX 76513                       Suite 300                           Suite 755
                                       Mesquite, TX 75149                  Tyler, TX 75702




Stonewall Royalties LLC                Stoney Jessica Runnels              Store It Mobile LLC
PO Box 671289                          942 County Road 3361                PO Box 274
Dallas, TX 75367                       Joaquin, TX 75954-5536              Agoura Hills, CA 91376




Storm Associates                       Storm Cat Energy Acquisitions LLC   Stotz Equipment
PO Box 591058                          PO Box 4186                         352 Blackmore Rd
San Antonio, TX 78259                  Parker, CO 80134-1447               Evansville, WY 82636
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Stovall Oil Company                   Strago Associates                    Straight Line Const Inc
PO Box 2331                           3209 Hamm Rd                         PO Box 342
Casper, WY 82602                      Pearland, TX 77581-5503              Freer, TX 78357-0342




Straight Shot Trucking Co             Strasburger Price LLP                Strasner Safety Solutions LLC
PO Box 1065                           PO Box 50100                         Dba Safety Solutions LLC
Montgomery, TX 77356                  Dallas, TX 75250-9989                Maddie Alvarado
                                                                           PO Box 8210
                                                                           Midland, TX 79708



Strat Land Exploration Company        Strata Analysts Group Inc            Strata Control Services Inc
15 E 5Th Ste 2020                     3302 Industry Dr                     PO Box 272
Tulsa, OK 74103                       Signal Hill, CA 90755                Crowley, LA 70527-0272




Strata Log                            Stratagen Engineering                Stratagraph Inc
3148 Oak Hollow Dr                    PO Box 203250                        PO Box 53848
New Braunfels, TX 78132-4195          Dallas, TX 75320                     Lafayette, LA 70505




Strategic Business Communications     Strategic Income Management LLC      Strategic Wireline Serivces LLC
1979 Marcus Avenue Ste 210            1200 Westlake Ave N 713              Allison Duckett
Lake Success, NY 11042-1022           Seattle, WA 98109                    15188 Cr 431
                                                                           Lindale, TX 75771




Straughn W L Jr                       Strauss Law Group Apc                Strawn Transport Acid Co
6870 Hilaleah                         Anthony R Strauss Aris E Karakalos   PO Box 458
Beaumont, TX 77706                    121 N Fir Street Suite F             Post, TX 79356
                                      Ventura, CA 93001




Stream Flo Usa LLC                    Stress Engineering Services Inc      Strg Severance Tax Recovery Group Inc
3215 Page Road                        PO Box 301311                        PO Box 1114
Longview, TX 75605                    Dallas, TX 75303-1311                Temple, TX 76503




Stric Lan Companies LLC               Strickland Pump Supply               Strickland Springs Baptist Chr
PO Box 62288                          PO Box 1531                          PO Box 1948
Lafayette, LA 70596                   Monahans, TX 79756                   Waskom, TX 75692




Stride Well Service Co Inc            Stride Well Service Co Inc           Stridor Enterprises Inc
205 West Maple Suite 700              PO Box 201846                        PO Box 101
Enid, OK 73701                        Dallas, TX 75320-1846                761 South Main Street
                                                                           Labarge, WY 83123




Strief Resources                      Strike LLC                           Stringer Contracting Inc
Fbo 1999 GrandchildrenS Trst          PO Box 4437 Msc 200                  PO Box 1536
3508 Greenville Ave Ste 9             Houston, TX 77210                    Jena, LA 71342
Dallas, TX 75206
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Stringer Transports Inc                Stringup Machine Incorporated       Stroman Ranch Co Ltd
PO Box 722106                          PO Box 1388                         PO Box 489
Norman, OK 73069                       Madisonville, TX 77864              Hebbronville, TX 78361




Strong Pipkin Bissell Ledyard LLP      Strong Sam W                        Strong Service Lp
1400 San Jacinto Building              PO Box 283                          PO Box 10148
595 Orleans Street                     Carthage, TX 75633                  Longview, TX 75608
Beaumont, TX 77701




Stroock Minerals LLC                   Stroock Stroock Lavan LLP           Stroube Energy Corp
PO Box 2865                            Attn Erez E Gilad/Jayme Goldstein   18208 Preston D9249
Casper, WY 82602                       180 Maiden Lane                     Dallas, TX 75252
                                       New York, NY 10038




Stroube Trust Joint Venture            Stroud Family LLC                   Stroud Petroleum Inc
PO Box 730                             333 Texas St Ste 860                PO Box 565
Corsicana, TX 75151                    Shreveport, LA 71101-5302           Shreveport, LA 71162-0565




Stroud Stanley W                       Sts Operating Inc                   Stuart Bowden Mclean Et Ux
2098 Pecan Road                        Dba Sunsource/ Fluid Power Tech     Elizabeth Ann F Mclean
Big Sandy, TX 75755                    PO Box 730698                       4306 Sutherland Circle
                                       Dallas, TX 75373-0698               Upper Marlboro, MD 20772




Stuart Bowdon Mclean                   Stuart Bregman                      Stuart Condon Mann Sp
4526 Shelleys                          30 West 86Th St Apt 6B              121 Parkdale Drive
Huntingtown, MD 20639                  New York, NY 10024                  West Monroe, LA 71291




Stuart Harris Lamson                   Stuart Heard Estate                 Stuart J Bower
4652A 36Th Street South                c/o Megan Mcmurphy                  Frost Bank Agent Acct Wa74301
Arlington, VA 22206                    31497 Hughes Road                   PO Box 1600
                                       Alva, OK 73717                      San Antonio, TX 78296




Stuart Kaperst                         Stuart L Oden                       Stuart Mitchell
180 E 79Th St Apt 10F                  PO Box 1806                         2000 Little Raven Unit 103
New York, NY 10075-0569                Shreveport, LA 71166                Denver, CO 80202




Stuart R Aldous                        Stuart W Heard                      Stuart W Heard Royalty Pledge
Address Redacted                       c/o Megan Mcmurphy                  c/o Megan Mcmurphy
                                       31497 Hughes Rd                     31497 Hughes Rd
                                       Alva, OK 73717                      Alva, OK 73717




Stuart Weatherman                      Stuart Wiley Heard Estate           Sturgeon Services Intl Inc
5444 W Electra Ln                      c/o Megan Storey Mcmurphy           PO Box 936
Glendale, AZ 85310                     31497 Hughes Rd                     Bakersfield, CA 93303-0936
                                       Alva, OK 73717
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Stutes Cafe Catering                   Stx ChildrenS Home Land Mgmt           Stx Petro Properties LLC
1934 Us Hwy 79 N                       PO Box 548                             109 E Del Mar Blvd Apt 6
Carthage, TX 75633                     Beeville, TX 78104                     Laredo, TX 78041-2303




Stx Process Equipment LLC              Suanna Thompson Scott                  Suanne Pace Bogle Properties LLC
4819 State Highway 44                  PO Box 821291                          9006 Houmaus Ct
Freer, TX 78357                        Dallas, TX 75382                       Shreveport, LA 71115




Suanne S Aday                          Suarez Bros Crane And Heavy Haul LLC   Suarez Bros Crane Heavy Haul LLC
5345 Broad Branch Rd Nw                c/o Crestmark Capital                  Patrick Connelly
Washington, DC 20015-1352              PO Box 41047                           7700 Broadway Ste 104 Box 307
                                       Baton Rouge, LA 70835                  San Antonio, TX 78209




Sub Surface Tools                      Sub Surface Tools LLC                  Subhadra Singh
Dept 2170                              1150 Smede Hwy                         Address Redacted
PO Box 122170                          Broussard, LA 70518-8033
Dallas, TX 75312-2170




Sublette County Clerk                  Sublette County Clerk                  Sublette County Treasurer
21 S Tyler Ave                         PO Box 250                             PO Box 296
Pinedale, WY 82941                     Pinedale, WY 82941                     Pinedale, WY 82941-0296




Submersible Oil Services LLC           Suburban Propane                       Suc Tua Austin E Stewart 1
PO Box 7608                            PO Box 12124                           PO Box 830308
Midland, TX 79708-7608                 Fresno, CA 93776                       Dallas, TX 75283




Suc Tua Austin E Stewart 2             Suc Tua Stephanie Stewart 4            Suc Tua Stewart Grndchldrn 1
PO Box 830308                          PO Box 830308                          PO Box 830308
Dallas, TX 75283                       Dallas, TX 75283                       Dallas, TX 75283




Suc Tua Stewart Grndchldrn 2           Succ Of Clyde Larry Butler             Succession Of John J Kearney
PO Box 830308                          Clyde Todd Butler Admin                3736 S Claiborne Ave
Dallas, TX 75283                       680 Highway 796                        New Orleans, LA 70115
                                       Quitman, LA 71268




Succession Of Kenneth Crouch           Suddenlink                             Sudduth Tire Co Inc
840 Gessner Suite 300                  PO Box 660365                          2690 Atlantic Avenue
Houston, TX 77024                      Dallas, TX 75266-0365                  Long Beach, CA 90806




Sudhakar Kanchi                        Sudie Vacek                            Sudie Viola Tucker
PO Box 1798                            154 N Burnett Dr                       536 Hwy 520
Midlothian, TX 76065                   Baytown, TX 77520                      Homer, LA 71040
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Sue Anita Jones Mcfadden               Sue Ann Cocke                        Sue Ann Haney
1802 Brooks                            1906 Centenary Drive                 11049 Bullseye
Ruston, LA 71270                       Longview, TX 75601                   El Paso, TX 799342841




Sue Ann Johnson                        Sue Ann Kinsey                       Sue Ann Operating Partners Lp
725 Birmingham Rd                      3116 Robin Rd                        Attn John R Gayle
Burbank, CA 91504-3914                 Plano, TX 75075                      PO Box 3910
                                                                            Victoria, TX 77903




Sue Ann Peterkin Reagan Estate         Sue Ann Smith Hammon                 Sue Ann Ware
Marion Allen Reagan Executor           PO Box 1101                          PO Box 27
2200 Willowick Rd                      Bessemer City, NC 28016              Elisian Fields, TX 75642
Houston, TX 77027




Sue Ann Williams                       Sue Ann Williams Herter              Sue Askew Smith
5482 Fm 225 South                      8336 Hwy 146                         Route 1 Box 925
Henderson, TX 75654                    Ruston, LA 71270                     Broaddus, TX 75929




Sue B Cook Properties LLC              Sue Bailiff Farley                   Sue Brown
11035 Seville Quarters                 5078 Highway 167                     243 Shawnee Trail
Shreveport, LA 71106                   Ruston, LA 71270                     Whitesboro, TX 76273




Sue C Copass                           Sue D Krutsinger                     Sue D Luckett
7101 Chase Oaks 1818                   PO Box 480                           PO Box 21
Plano, TX 75025                        Boulder, CO 80306-0480               Bronte, TX 76933




Sue D Slack                            Sue Ellen Stewart Redfearn           Sue Evelyn Underdown
Melissa Chandler Glorioso Poa          11803 Dakar Dr                       191 Chaparral Road
4228 Fairfield Avenue                  Houston, TX 77065                    Victoria, TX 77905
Shreveport, LA 71106




Sue F Davis                            Sue Finch                            Sue Frances Goebel Hedtke
8805 Freeport Drive                    11977 Hwy 7 East                     399 Fm 1358
Denton, TX 76207                       Joaquin, TX 75954                    Three Rivers, TX 78071




Sue G Madsen                           Sue Gary Brown Baker                 Sue Goodson Haws
2770 Mountain View Dr                  c/o Martha Brown Power Of Attorney   12027 Sleepy Pines Drive
La Verne, CA 91750-4312                1108 East Fannin Street              Houston, TX 77066
                                       Luling, TX 78648




Sue Harris                             Sue Harvey Secker Test Trust         Sue J Haywood
511 Malibu Drive                       Jp Morgan Chase Trustee              2715 Patio Street
Lacy, WA 98503                         PO Box 99084                         Longview, TX 75605
                                       Fort Worth, TX 76199
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Sue King Mcelvaney Dscd                Sue L Culver                              Sue Lynnette Morris Player
Bank Of America Na Agent 7 0765004     4225 Hwy 19 W                             7328 Fm 1252 West
PO Box 840738                          Ripley, TN 38063                          Gladewater, TX 75647
Dallas, TX 75284




Sue M Clark Briwa                      Sue Marshall ODonaldc/o                   Sue Mason
PO Box 145                             Collin Underwood Panola Cnty Dist Clerk   PO Box 24
Carthage, TX 75633-0145                123Rd District Court                      Oakdale, LA 71463
                                       PO Box 147
                                       Carthage, TX 75633



Sue Maxfield                           Sue Mcknight Life Estate                  Sue Mcwilliams Schmidt Own Sep Prop
2243 Vzcr 1502                         Remainder In K Hutto                      15437 Sw 114Th Court Apt 89
Van, TX 75790                          J Mcknight                                Tigard, OR 97224
                                       470 Cr 3790
                                       Joaquin, TX 75954



Sue Miles Chamlee Energy LLC           Sue Mohrmann                              Sue Napper Burgess
2800 S University Blvd 120             PO Box 1822                               PO Box 444
Denver, CO 80210                       Cedar Park, TX 786301822                  Dubach, LA 71235




Sue Nell Adams Guinn                   Sue Oberthier Anderson                    Sue Porter Hays
13477 State Road Tt                    9203 Riverstone Court                     PO Box 14
Festus, MO 630284548                   College Station, TX 77845                 Minden, TX 75680




Sue Procter Whitten                    Sue R Molsberry                           Sue R Parker
PO Box 312                             3345 Hwy 132                              2235 Us Hwy 79
Morro Bay, CA 93442                    Rayville, LA 71269-5805                   Carthage, TX 75633




Sue R Rainer                           Sue R Smith                               Sue Redden Wiedenfeld
3710 Rapides St                        2303 Nathan Apt                           201 A Big Joshua Creek Rd
Monroe, LA 71203                       Farmington, NM 87401                      Comfort, TX 78013




Sue Sealy Geren                        Sue Slack Sullivan                        Sue Soape Brown
3709 Wyndale Court                     5461 Hwy 60                               3104 Woodridge Dr
Ft Worth, TX 76109                     Cotton Valley, LA 71018                   Hurst, TX 76054




Sue Spear                              Sue Stone Pridgen Sp                      Sue T Reid Revocable Trust
1435 Valley Crest Drive                815 Cr 3199                               Sue T Reid Trustee
Burleson, TX 76028                     Joaquin, TX 75954                         PO Box 1379
                                                                                 Glen, NH 03838-1379




Sue Taylor Mcknight                    Sue W Dyke                                Sue W Lawrence
470 Cr 3790                            328 St Peter                              2217 S Ong St
Joaquin, TX 75954                      Kerrville, TX 78028                       Amarillo, TX 79109
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Sue Wise                                 Sue Woodard Grundy              Suellen L Frost
8095 Allen Drive Ne                      172 Truman                      938 Frost Tower Rd
Alliance, OH 44601                       Ruston, LA 71270                West Monroe, LA 71292




Sugar Creek Farms Inc                    Sugar Creek Prod Co             Sugarberry Minerals Company
2213 Hwy 159                             PO Box 1756                     Ind/Ag S Wolfson
Athens, LA 71003                         Shreveport, LA 71166            Lasierra Bk Burk En
                                                                         5950 Cedar Springs Rd Suite 230
                                                                         Dallas, TX 75235



Sullivan Design Services Inc             Sulphur River Exploration Inc   Sultan Oil Company
10089 Charissglen Lane                   5949 Sherry Lane                8163 E 131st Road
Highlands Ranch, CO 80126                Suite 755                       Wetumka, OK 74883
                                         Dallas, TX 75225




Sulyn Merritt Prince                     Sulzer Pumps Services Us Inc    Sumantha Jones
14 Pecan Creek Cir                       PO Box 743013                   5022 Ingomar Way
Texarkana, TX 75503-0900                 Atlanta, GA 30374-3013          Houston, TX 77053




Summer Assoc Inc                         Summer Energy LLC               Summer Knight
102 E Riverside Drive                    PO Box 660938                   4716 Oregon Street
Unit A                                   Dallas, TX 75266-0938           San Diego, CA 92116
Carlsbad, NM 88220




Summer Mitchell Carter                   Summer Simpson Bourn            Summerfield G Roberts Found
1427 Winnie St Apt 1                     939 Rich Rd                     Bank Of America Na
Galveston, TX 77550                      Arcadia, LA 71001               David D Jackson Co Trustees
                                                                         PO Box 840738
                                                                         Dallas, TX 75284-0738



Summers Charles W                        Summie Lynn Ripley Walton       Summit Energy Services
23612 Via Potes                          495 Morgan Rd                   783 Valley Court
Mission Viejo, CA 92691                  Batesville, AR 72501            Grand Junction, CO 81505




Summit Esp LLC                           Summit Esp LLC                  Summit Oil Company LLC
Lance Peterson                           PO Box 21468                    1390 Jordan River Drive
260 S Panther Blvd                       Tulsa, OK 74121                 North Salt Lake, UT 84054
Powell, WY 82435




Summit Oilfield Services LLC             Summit Riser Systems Inc        Summit Training Source Inc
5275 Dtc Pkwy                            15245 Alton Pkwy Ste 200        PO Box 809298
Greenwood Village, CO 80111              Irvine, CA 92618-2619           Chicago, IL 60680-9298




Sumridge Partners LLC                    Sun Coast Resources Inc         Sun Coast Resources Inc
Principal Trading Account                Legal Department                PO Box 202603
High Yield                               6405 Cavalcade Bldg 1           Dallas, TX 75320
111 Town Square Place Suite 320          Houston, TX 77026
Jersey City, NJ 07310-2778
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Sun Drilling Products Corp            Sun River Energy Inc                      Sun Rubber Supply
PO Box 677543                         Attn Treasurer                            PO Box 3508
Dallas, TX 75267-7543                 5646 Milton Suite 130                     Longview, TX 75606
                                      Dallas, TX 75206




Sunamerica Asset Management           Sunbelt Rentals Industrial Services LLC   Sunbelt Rentals Industries Services LLC
c/o BFDS                              Contract Team                             PO Box 409211
PO Box 219186                         2341 Deerfield Drive                      Atlanta, GA 30384-9211
Kansas City, MO 64121-9186            Fort Mill, SC 29715




Sunbelt Supply Co                     Suncoast Schools Federal C U              Sundance Energy Corporation
PO Box 951037                         137 S Topanga Canyon Blvd                 PO Box 16
Dallas, TX 75395-1037                 Topanga, CA 90290                         Benton, LA 71006




Sundance Minerals I                   Sundance Services                         Sundance Services Flowback And Well Test
PO Box 17744                          Ellisa Faldet                             21358 County Road 1136
Fort Worth, TX 76102                  21358 County Road 1136                    Mathis, TX 78368-4246
                                      Mathis, TX 78368




Sundown Energy Lp                     Sundown Energy Lp                         Sundown Operating Inc
Department 41318                      Knoll Trail Plaza Suite 100               PO Box 938
PO Box 650823                         PO Box 16400 Dallas Parkway               Sundown, TX 79372
Dallas, TX 75265                      Dallas, TX 75248




Sundown Production LLC                Sundown State Bank                        Sundown State Bank Denver City
189 Cobb Parkway N C1                 501 S Slaughter Ave                       Fbo Unique Pump Supply Llc
Marietta, GA 30062-3513               Sundown, TX 79372                         PO Box 1180
                                                                                Denver City, TX 79323




Sundown Welding Works Inc             Sundyne Corporation                       Sunexco Energy Company
Box 614                               PO Box 660367                             5961 S Middlefield Rd Ste100
Sundown, TX 79372                     Lockbox 5140                              Littleton, CO 80123
                                      Dallas, TX 75266-0367




Sunflower Bank                        Sungard Avantgard LLC                     Sunland Field Services Inc
3025 Cortland Circle                  Joel Bratter                              Po Box 731461
Salina, KS 67401                      600 Lanidex                               Dallas, TX 75397
                                      Parsippany, NJ 07054




Sunmore Energy Partners LLC           Sunni Nix                                 Sunni Spraggins
5129 Sunmore Circle Suite 101         Address Redacted                          933 Duncan Trail 2
Midland, TX 79707                                                               White Oak, TX 756932744




Sunny Express Inc                     Sunny Lynn Stanley                        Sunny Steed Evans LLC
PO Box 5045                           801 South Adams 88                        164 Long Island Bay
Hayward, CA 94540-5045                Carthage, TX 75633                        Hot Springs, AR 71613
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Sunny Sue Grigsby Horton               Sunoco Inc                                Sunoco Partners
248 Pomeroy Drive                      Royalty Payables                          525 Fritztown Road
Shreveport, LA 71115                   PO Box 5090                               Sinking Spring, PA 19608
                                       Sugar Land, TX 77487-5090




Sunrise Oilfield Supply Co             Sunrise Trucking Inc                      Sunset Glass Tinting
PO Box 232456                          13398 E 49Th Dr                           3760 Greenbriar Drive
Chicago, IL 60689-5324                 Yuma, AZ 85367-7973                       Stafford, TX 77477




Sunset Industries Inc                  Sunset Oilfield Services LLC              Sunset Oilfield Services LLC
4911 Warner Ave Suite 201              Alan Mann                                 2908 Amber Hill Trail
Huntington Beach, CA 92649             2908 Amber Hill Trail                     Pearland, TX 77581
                                       Pearland, TX 77581




Sunset Petroleum Inc                   Sunset Production Corp                    Sunshine Trust
PO Box 7337                            PO Box 2239                               First Financial Trust Asset
Shreveport, LA 71137-7337              Georgetown, TX 78627                      Management Co Na Trustee
                                                                                 PO Box 701
                                                                                 Abilene, TX 79604



Suntrust                               Sunwest Resources Inc                     Sup R Jar Inc
303 Peachtreet St N E                  8494 East Angel Sprit Drive               1909 Treble Drive
Atlanta, GA 30308                      Scottsdale, AZ 85255                      Humble, TX 77338




Super Laundry                          Superior Corrosion Control Corporation    Superior Energy Services LLC
Attn Accoubts Receivable               11390 East Wagon Trail Road               1001 Louisiana St
35 Corporate Drive Suite 220           Evansville, WY 82636                      Houston, TX 77002-5089
Burlington, MA 01803




Superior Energy Services Inc           Superior Energy Services LLC              Superior Fabrication Inc
1001 Louisiana St                      Dept 2203                                 PO Box 429
Ste 2900                               PO Box 122203                             Elk City, OK 73648
Houston, TX 77002                      Dallas, TX 75312-2203




Superior Inspection Services LLC       Superior Machine LLC                      Superior Office Solutions
1110 Smede Hwy                         1636 N Ventura Ave                        6999 Mcpherson Rd
Broussard, LA 70518                    Ventura, CA 93001                         Ste 321
                                                                                 Laredo, TX 78041




Superior Oil Company                   Superior Performance Inc                  Superior Press
PO Box 1521                            PO Box 1080                               PO Box 844550
Houston, TX 77251                      Broussard, LA 70518                       Los Angeles, CA 90084-4550




Superior Pressure Control LLC          Superior Pressure Control LLC Dept 2114   Superior Production Logging
Warrior Energy Services Dba            PO Box 122114                             220 Industrial Avenue
Kimberley Howard                       Dallas, TX 75312-2114                     Granbury, TX 76049
100 Rosecrest Lane
Columbus, MS 39701
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Superior Pumping Services              Superior Slickline Services     Superior Slickline Services
100 Rosecrest Lane                     Kimberly Howard                 Warrior Energy Services Corp
Columbus, MS 39701                     100 Rosecrest Lane              Dept 2114
                                       Columbus, MS 39701              PO Box 122114
                                                                       Dallas, TX 75312-2114



Superior Supply Steel                  Superior Tubing Testers Lp      Superior Welding Inc
PO Box 2388                            PO Box 250                      PO Box 425
Sulphur, LA 70664                      Alice, TX 78333-0250            Andrews, TX 79714




Superior Well Services Ltd             Supermedia LLC                  Supreme Screen Solutions
PO Box 360469                          PO Box 619009                   Dept 58
Pittsburg, PA 15251-6469               Attn Acct Receivable Dept       PO Box 4346
                                       Dfw Airport, TX 75261-9009      Houston, TX 77210-4346




Supreme Svcs Specialty Co Inc          Surber Roustabout LLC           Sure Shotz Transport LLC
204 Industrial Avenue C                PO Box 70                       8065 Haygood Road
Houma, LA 70363                        Sonora, TX 76950                Shreveport, LA 71107




Surety Title Company Escrow Account    Surface Systems Cameron         Surko Family LLC
136 West Twohig                        PO Box 731412                   PO Box 368
San Angelo, TX 76903                   Dallas, TX 75373-1412           Moulton, TX 77975




Surmartha Maye Wallace                 Survival Systems                Susan A Laney
PO Box 542                             PO Box 1855                     811 East 41st Street
Columbia, LA 71418                     38140 Valley Center Road        Savannah, GA 31401
                                       Valley Center, CA 92082




Susan A Monlezun                       Susan Abbey Easley              Susan Ailene Scott Gough
206 West 20Th Ave                      417 Chief Oscola Rd             18951 Ford Road
Covington, LA 70433                    Livingston, TX 77351-9371       Unit 20
                                                                       Pitt Meadows, BC V3Y 2G5
                                                                       Canada



Susan Alice Soulsby                    Susan Anderson Arnold Rev Tst   Susan Anne Norsworthy
PO Box 472312                          2621 East 33Rd Street           180 Candelara St
Tulsa, OK 741472312                    Tulsa, OK 74105                 Carthage, TX 75633




Susan B Jindrich                       Susan B Stanley                 Susan B Walton Living Tr Dtd 1/17/97
3311 Tremont Drive                     3875 Hwy 544                    Susan Walton Ttee
Newburgh, IN 47630                     Simsboro, LA 71275              6835 Valley View Place
                                                                       Cheyenne, WY 82009




Susan Barnett                          Susan Brudzinski Cleveland Tr   Susan Burke
Apt 3123                               Susan H Brudzinski Ttee         429 Cedar Meadow
5400 Preston Oaks Road                 1057 Lido Ct                    Amarillo, TX 79124
Dallas, TX 752548482                   Weston, FL 33326
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Susan Butter Chambers                    Susan C Bailey                     Susan C Ross
1409 Mohle Drive                         21509 Sunset Ave                   2129 Se 85Th St
Austin, TX 78703                         Panama City Beach, FL 32413-7938   Berryton, KS 66409-9653




Susan Cammack                            Susan Campbell Tidwell             Susan Carol Kern Crouch
PO Box 155                               6195 Fm 251 S                      601 N Air Depot Blvd
Hunt, TX 78024                           Bivins, TX 75555                   Edmond, OK 73034




Susan Carter                             Susan Cherise Fitch                Susan Cheryl Blalock
9320 Stratford Way                       224 Hidalgo Dr                     18080 Hwy 395 N
Dallas, TX 75220                         Houma, LA 70363                    Lakeview, OR 97630




Susan Cobb                               Susan Cole Dore                    Susan Colley Harkins
1155 Briarmeadow Dr                      412 Second St                      14718 Sparks Valley
Beaumont, TX 77706-3837                  Abbeville, LA 70510                Houston, TX 77094




Susan Craft Mcdonald                     Susan D Crouch                     Susan D Nelson
17556 Harvey Mcdonald Rd                 6316 Brompton Road                 1150 Elkins Lake
Livingston, LA 70754                     Houston, TX 77005                  Huntsville, TX 77340




Susan D Richardson Trust Dtd 4/19/94     Susan D Stahley                    Susan Daugherty
7268 Carrizo Drive                       2538 28Th Ave E                    512 Seward Park Ave Ne
La Jolla, CA 92037                       Palmetto, FL 34221                 Albuquerque, NM 87123




Susan Diane Smart Fabac Trust            Susan Dorsey White                 Susan E Hillberg
Uwo Vida A Smart Dtd 3 12 97             2727 Reserve 2101                  332 11Th St Se
1305 Santa Fe Trail                      Houston, TX 77098                  Washington, DC 20003-2106
Tyler, TX 75703




Susan E Satterwhite                      Susan E Welch                      Susan Edwards Waters Trust
50 Camden Place                          43 Palisades                       Usaa Federal Savings Bnk Ttee
Corpus Christi, TX 78412                 Longview, TX 75605                 PO Box 690827
                                                                            San Antonio, TX 782690827




Susan Eileen Stone                       Susan Elaine Geis                  Susan Elgin Rice
231 Elkins                               516 West College Avenue            1135 Richmond Circle
Huntsville, TX 77340                     Jonesboro, AR 72401                Shreveport, LA 711061705




Susan Elisabeth Bowen                    Susan Elizabeth Greer              Susan Elizabeth Johnson Trust
PO Box 584                               PO Box 128                         Uwo Alberta S Johnson Paula
Verdugo City, CA 91046                   Deberry, TX 75693                  Mccarthy Regions Bank Nrre
                                                                            PO Box 11566
                                                                            Birmingham, AL 35202
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Susan Elizabeth Penney                    Susan Elizabeth Winston Trust      Susan Emmett Strother
6363 Brampton Court                       Houston Trust Company Co Ttee      705 Ockley Drive Apt 2
Alexandra, VA 22304                       c/o Travis Property Mgmt Llc Agt   Shreveport, LA 71106
                                          PO Box 56429
                                          Houston, TX 77256-6429



Susan F Adland                            Susan F Ellis                      Susan F Irby
3287 D Sutton Place Nw                    PO Box 3292                        8823 Larchwood
Washington, DC 20016                      Wichita, KS 67201                  Dallas, TX 75238




Susan F Martin                            Susan Faye Smythe                  Susan Ferdon
13491 St Marks Place                      4300 West Drien Lake Road          936 Oak Creek Rd
Gonzales, LA 70737                        Lake Charles, LA 70605             Raleigh, NC 27615-2245




Susan Ferguson Mcconn Rev Living Trust    Susan Forrester Roberts            Susan Francis Hargis
Regions Bank 418388005                    6453 Birnamwood Road               3407 Wandering Meadows
PO Box 11566                              Shreveport, LA 71106               Austin, TX 78746
Birmingham, AL 35202




Susan G Herbst                            Susan G Hootkins                   Susan G Schroeder
PO Box 112                                c/o Eddye Dreyer Financial Srv     529 Cumberland Dr
Campbellton, TX 78008                     4925 Greenville Avenue Ste 900     Shreveport, LA 71106
                                          Dallas, TX 75206




Susan Gage                                Susan Gail Heide                   Susan Galik
Np 24 Lake Cherokee                       3154 Valaria Drive                 408 Rio Grande Drive
Longview, TX 756039701                    Highland, CA 92346                 Mission, TX 78572




Susan Gayle Pearce                        Susan H Warren Testament Trust     Susan H Webb
4881 Two Peaks Drive                      Susan H Warren Trustee             6916 Terry Lane
Loveland, CO 80537                        1 Whittier Court                   Richmond, TX 77406
                                          Highland Village, TX 75077




Susan Haar                                Susan Hamman Carlisle              Susan Hart Thompson
304 West 18Th Street                      3831 Turtle Creek Blvd 22E         7026 Old Kent Drive
New York, NY 10011                        Dallas, TX 75219                   Knoxville, TX 37919




Susan Hay Bell Living Tr Dated 9 7 2004   Susan Henley Greer                 Susan Hoffmann Kelley
221 Blue Grouse Road                      PO Box 128                         293 Cr 406
Canon City, CO 81212                      Deberry, TX 75639                  Yoakum, TX 77995




Susan Horn Davis                          Susan Huffman Bogue                Susan Hughart Personnel
1200 Mississippi                          300 Whaley                         5868 Westheimer Suite 466
Lawrence, KS 66044                        Marshall, TX 75670                 Houston, TX 77057
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Susan I Plunkett                         Susan Iddings Cobb              Susan J Hunter
408 Hanover Ct                           24122 Griffin House             500 Dreshertown Rd
Georgetown, TX 78633                     Katy, TX 77493                  Ft Washington, PA 19034




Susan J Miller                           Susan J Weems                   Susan Jackson Jones
PO Box 5500                              PO Box 188                      637 Tennessee Road
Avon, CO 81620                           Lafayette, CO 80026             Tenaha, TX 75974




Susan Jane Hill                          Susan Jane Wheelock Tr          Susan K Spivey
5721 Berryline Way                       Citizens National Bank Ttee     PO Box 1745
Austin, TX 78724-7242                    Acct 9336                       Medina, TX 78055
                                         PO Box 820
                                         Henderson, TX 75653



Susan K Whiddon                          Susan Karen Whiddon             Susan Katheryne Funk
PO Box 219                               PO Box 219                      Stephen Wood Kidner Ttee
Joaquin, TX 75954                        Joaquin, TX 75954               Susan Katheryne Funk Rev Tr U/A 4/25/12
                                                                         4926 Colfax Ave S
                                                                         Minneapolis, MN 55419



Susan Kay Hanegan                        Susan Kaye Duncan               Susan Kelly Vicente
3816 Denise Ln                           202 Walton                      PO Box 1138
Castro Valley, CA 94546                  Gladewater, TX 75647            Roswell, NM 88202




Susan L Bennett                          Susan L Crawford                Susan L Fallon
12451 Brick Road                         595 Huckleberry Lane            7000 Stoneridge Drive
Granger, IN 46530                        Bellville, TX 77418             North Richland Hills, TX 76182




Susan L Jones                            Susan L Kiel                    Susan L Meenaghan Black
1238 St Michael Dr                       1206 Brookhollow Court          Address Redacted
Laredo, TX 78045                         Bryan, TX 77802




Susan L Steere Aka Susan Leicht Boyd     Susan Lacy Sinclair             Susan Lafitte Sparkman Stevens
And Peter Lawson Steere                  3780 Robinhood Street           48 Sequoyah Blvd
PO Box 1279                              Houston, TX 77005               Shawnee, OK 74801
Sells, AZ 85634-1279




Susan Largo                              Susan Latham                    Susan Leigh Sinclair
4030 Gilbert Ave Apt 6                   106 Private Rd 5180             3224 Zuni Street
Dallas, TX 75219                         Buna, TX 77612-1288             Denver, CO 80211




Susan Leigh Sledge                       Susan Love Colvin               Susan Lynn Carr
2300 Nacogdoches Rd Apt 144J             287 Mciver Road                 4401 N Dogwood Rd
San Antonio, TX 78209                    Great Falls, MT 59404           Kenai, AR 67001
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Susan Lynn Gernold Mccall              Susan Lynn Melson Yeargan       Susan Lynn Waters
5261 Southwest Sixty Fifth St          102 Nichols                     3101 Guadalajara Way
Miami, FL 33155                        San Marcos, TX 78666            Sacramento, CA 95833




Susan M Cole                           Susan M Downey                  Susan Margaret Gentsch Gharis
415 Northern Pike                      508 Buckeye St                  7025 Royal Oak Estates Dr
Pittsburgh, PA 15235                   Archbold, OH 43502              Sachse, TX 75048




Susan Marie Carroll                    Susan Marie Kennedy             Susan Marie Thomasson
687 Connells Ferry Road                4144 Hwy 104                    428 Marlin Lane
Joaquin, TX 75954                      Opelousas, LA 70570             Keller, TX 76248




Susan Mary Wisenbaker                  Susan Maryn                     Susan Mcdonald
Rep By Royce E Wisenbaker              1520 West Avenue P6             17556 Harvey Mcdonald Road
218 North Broadway                     Palmdale, CA 935514476          Livingston, LA 70754
Tyler, TX 75702




Susan Mead                             Susan Metcalf Calomino Trust    Susan Meyer Nolan
Susan Mead Agency                      460 S Nw Highway 203            1909 Geary Street
PO Box 130268                          Park Ridge, IL 60068            Garland, TX 75043
Dallas, TX 75313




Susan Michelle Compton                 Susan Minter Medford            Susan Morton Trust
12340 W Burgundy Ave                   3623 Ledgestone Dr              9637 Viewside Drive
Littleton, CO 80127                    Houston, TX 77059               Dallas, TX 75231




Susan Mullikin                         Susan N Williams                Susan Naylor Morton
2607 Lansing Switch Road               4170 S Allison St               9637 Viewside Drive
Longview, TX 75602                     Lakewood, CO 80235              Dallas, TX 75231




Susan Neal Wisdom                      Susan Novalsky                  Susan Olivier Butler
1305 Fm 2859                           41 N Horace St                  PO Box 19405
Corsicana, TX 75109                    Woodbury, NJ 08096              Shreveport, LA 71149




Susan Paige Mclaren                    Susan Parker                    Susan Parsons
1428 Norwood Dr                        4630 Lorraine                   PO Box 8187
Lilburn, GA 30047                      Dallas, TX 75209                Fayetteville, AR 72703




Susan Passmore                         Susan Phillips Charre           Susan Pope Pool 2003 Rev Tr
4107 Namora                            4620 Tandem Dr                  Susan Pool Ttee
Houston, TX 77080                      Tyler, TX 75708                 3101 Old Pecos Trail Apt 686
                                                                       Santa Fe, NM 87505
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Susan R S Johnson                       Susan R Senn                    Susan Reeves Elzner
622 Bounds Rd                           5320 Baton Rouge Blvd           5602 Mccommas
Jackson, MS 39272                       Frisco, TX 75035-7832           Dallas, TX 75206




Susan Renea Brown Salvato               Susan Renee Adams Thornton      Susan Reynolds Lofton
6706 Achieve Dr                         43 Private Rd 6350              8642 West Wilderness Way
Amarillo, TX 79119                      Dayton, TX 77535                Shreveport, LA 71106




Susan Reynolds Loftus                   Susan Ritchie Shirley           Susan Roberts Battarbee
4015 Akard Ave                          157 Blue Ridge Lane             105 Grace Lane
Shreveport, LA 71105                    Ruston, LA 71270                Terrell, TX 75160




Susan Roberts Chadwick                  Susan Roberts Matthey           Susan Rubinett
4319 Willowick                          1007 Wishing Well Lane          3806 Hidden Hollow
Alexandria, LA 71303                    Charlotte, NC 28270             Austin, TX 78731




Susan S Black                           Susan S Mcmahan                 Susan S Richardson Rev Trust
6538 Briarmeade Drive                   PO Box 497                      Amarillo National Bank OG
Dallas, TX 75254                        Houston, TX 77001-0497          PO Box 1
                                                                        Amarillo, TX 79105




Susan S Simmons                         Susan S Soussan Pc              Susan Sabatino Ttee
1701 4Th Ave N                          1330 Post Oak Boulevard         Emilia Intili Irrevocable
Texas City, TX 77590                    Suite 2880                      Trust Dtd 12/10/2012
                                        Houston, TX 77056               1 Hillside Terrace
                                                                        West Paterson, NJ 07424-3106



Susan Sabatino Ttee                     Susan Sample Wallace            Susan Scarle Philips Trust
Giovanna Intili Irrevocable             PO Box 6347                     PO Box 5970
Trust Dtd 12/10/2012                    Longview, TX 75608              Austin, TX 78763
1 Hillside Terrace
West Paterson, NJ 07424-3106



Susan Schlueter                         Susan Schreiber Collins         Susan Shaw Fitzgerald
12513 Soapstone Dr                      6 Oak Brook Club Dr             813 E Harrison St
Denton, TX 76207                        Unit K 201                      Kirksville, MO 63501-3147
                                        Oak Brook, IL 60523




Susan Shaw Kimball                      Susan Smith Floyd               Susan Stough Anthony
4712 Goldeneyes                         4031 Popular Street             113 Rambling Rd
Mckinney, TX 75070                      Marshall, TX 75672              Carthage, TX 75633-3283




Susan Stroube Moore Trust               Susan Sullins                   Susan T Carter Trustee
Je Stroube Trust                        603 Franklin St Se              Susan T Carter Life Trust
Agcy 830 040083000                      Huntsville, AL 35801            9320 Stratford Way
PO Box 840738                                                           Dallas, TX 75220
Dallas, TX 75284
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Susan T Hays                           Susan Thomas Williams             Susan Thompson
PO Box 521                             c/o Agent Property Services Llc   18856 Caterpillar Ct
Homer, LA 71040                        PO Box 1410                       Porter, TX 77365-3934
                                       Ruston, LA 71273-1410




Susan Tiner Mitchell                   Susan Tracy Kurtz                 Susan V Ogilvie
Co Tex State Treas Unclaimed           2719 S Milwaukee St               237 Chemin Delac Dr
PO Box 12019                           Denver, CO 80210-6426             Shreveport, LA 71115
Austin, TX 78711-2019




Susan Van Leeson Life Estate           Susan W Bruner                    Susan Walker
PO Box 1751                            1458 Fairview Point Rd            c/o Moody Natl Bank Trust Dept
Henderson, TX 75653                    Elm Grove, LA 71051               PO Box 1139
                                                                         Galveston, TX 77553




Susan Walker Satterfield Jackson Tr    Susan Westmoreland Lincoln        Susan Westmoreland Lincoln
PO Box 3588                            3809 Wooded Creek Drive           PO Box 1028
Kindsport, TX 79701                    Farmers Branch, TX 75244          Marshall, TX 75671




Susan Williams Bruce                   Susan Williamson Murphy           Susan Zoller Hunter
3591 Old Creek Road                    768 Ravensbury Street             5984 S Elm Court
Chesterfield, VA 23832                 Lake Sherwood, CA 91361           Centennial, CO 80121




Susan/Elizabeth Stroube Tr             Susanna Key Weiser                Susanna M Ryburn Hegeman Utwo
Bank Of American Na                    PO Box 1205                       Francis Marion Ryburn Iv
Tr 21704004930                         Marshall, TX 75671                Eleanor Mills Ryburn Tr Boa Na
PO Box 840738                                                            PO Box 840738
Dallas, TX 75284-0738                                                    Dallas, TX 75284-0738



Susanna M Ryburn Hegeman Utwo          Susannah Ruth Salley              Susanne Corley Reagan
Francis Marion Ryburn Iv               2600 N 9Th Street                 11306 Maple Springs
Eleanor Mills Ryburn Trust Boa Na      West Monroe, LA 71291             Houston, TX 77043
PO Box 832407
Dallas, TX 75283-2407



Susanne Elizabeth Ayala                Susanne Goddard Boon              Susanne Neal Golden
c/o Northern Trust Na Agent            11624 Jollyville Rd Apt 532       249 Clearwood Ln
PO Box 226270                          Austin, TX 78759-2454             Shreveport, LA 71105
Dallas, TX 75222-6270




Susanne Neal Golden                    Susanne S Adams                   Susie B G Gilham Decd Esch
D/B/A Neal Properties                  14827 Delabarton Dr               2509 Vance Ave
249 Clearwood Ln                       Houston, TX 77083                 Alexandria, LA 71301
Shreveport, LA 71105




Susie Gipson Howard Decd Esch          Susie Gresham Fults               Susie Wilkins Walker
1506 Branscome Street                  8305 Jancy Dr                     Harry S Walker Jr Agent Aif
Ruston, LA 71270                       Austin, TX 78750                  805 Beach Blvd 304
                                                                         Biloxi, MS 39531
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Susie Willyard                         Susman Godfrey LLP                  Susquehanna Bank
3506 Old Post Road                     1000 Louisiana Suite 5100           9 East Main Street
San Angelo, TX 76904                   Houston, TX 77002                   Lititz, PA 17543




Susquehanna International Group        Sustainable Forests LLC             Susybelle Lyons Gosslee
E 401 City Ave 220                     6400 Poplar Avenue                  Susybell G Zook Successor Ttee
Bala Cynwyd, PA 19004                  Memphis, TN 38197                   9511 Fair
                                                                           Dallas, TX 75238




Susybelle Lyons Gosslee Trust          Sutton Company Lp                   Sutton Company Lp
Susybelle Gosslee Zook Trustee         c/o Group A                         Group B Owners
9511 Faircrest Dr                      1011 Augusta Dr                     1011 Augusta Dr
Dallas, TX 75238-1415                  Lufkin, TX 75901                    Lufkin, TX 75901




Sutton Family Ltd Partnership          Sutton4 Natural Resources LLC       Suz Ann Orr
Mary Elizabeth Harris Sutton           4005 Raguet Street                  2036 E Oak Manor Drive
General Partner                        Nacogdoches, TX 75961               Sandy, UT 84092
PO Box 785
Ruston, LA 71273



Suzan Joyce Marks                      Suzan N Martin And Wallace Martin   Suzanna Johnson
4809 Teakwood Trace                    385 Tremont Drive                   1300 Mountain Dew
Midland, TX 79707                      Ruston, LA 71270                    Horseshoe Bay, TX 78657




Suzanne B Koch                         Suzanne Baggett                     Suzanne Bourland Simpson
Po Box 270475                          433 Longleaf Rd                     11422 W Cooper Avenue
Houston, TX 77277                      Shreveport, LA 71106                Littleton, CO 80127




Suzanne Bowen Pollock                  Suzanne Broussard Belanger          Suzanne Callaway
809 Piney Ridge                        213 Dodson St                       2432 Ne Glisan Street
Friendswood, TX 77546                  New Iberia, LA 70563                Portland, OR 97232




Suzanne Gallahan                       Suzanne Heath Phillips              Suzanne Hunt Davis
13411 Arizona Drive                    11318 Goddard Ct                    PO Box 6912
Tyler, TX 75707                        Dallas, TX 75218                    Tyler, TX 75711




Suzanne Kohrman Higgerson              Suzanne L Byerley                   Suzanne Lane Zachry Word
2147 Sunset Ridge                      2260 Gambrell Ln                    12625 Wetmore Rd Suite 301
Canyon Lake, TX 78133                  Colorado Springs, CO 80919-3845     San Antonio, TX 78247




Suzanne Leech                          Suzanne Lindsay Bradshaw            Suzanne Madison Davis Aulick
8722 Lions Creek Drive                 PO Box 7294                         2018 Sunset Dr
Gilroy, CA 95020                       Little Rock, AR 72205               Paris, KY 40361
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Suzanne Mahler                          Suzanne Mann Duvall               Suzanne Mclean Jerabeck
4661 Palisade Ave                       4080 Stanford                     3204 County Rd 36
Bronx, NY 10471                         Dallas, TX 75225                  Angleton, TX 77515




Suzanne Morell Berry                    Suzanne O Brown                   Suzanne Or Curtis Cain Jtwros
304 Kali Ct                             567 63Rd St                       1683 Kelliwood Oaks Drive
Murphy, TX 75094                        Oakland, CA 94609                 Katy, TX 77450




Suzanne Perry Litsinger                 Suzanne Petty Higgins Brace       Suzanne Ravenna Hill
8642 Ivy Mint Ct                        11949 Riverside Dr Spc 148        2999 Jolly Napier Rd
Springfield, VA 22153                   Lakeside, CA 92040-2347           Shreveport, LA 71119




Suzanne Redwine Fischer                 Suzanne Rucker Ball               Suzanne Seibert
101 Ivey Lane                           206 Royal Ln                      24065 W 135Th St S
San Antonio, TX 78209                   Fairhope, AL 36532                Kellyville, OK 74039




Suzanne Sibley Hoffmann                 Suzanne Storey                    Suzanne Summers
PO Box 790                              410 Red River                     1529 Maple Springs Rd
Rogersville, TN 37857                   Nocona, TX 76255                  Longview, TX 75602




Suzanne Thurmon                         Suzanne Yates                     Suzette Estes
PO Box 1547                             132 Ketch Point Ct                5519 Kingswick Court
Longview, TX 75606                      Rocky Mount, NC 27803-1430        Houston, TX 77069




Suzlette Sanford Hughes                 Suzy Neel Mayo                    Sven Johnson
307 East 5Th St                         PO Box 430033                     Address Redacted
Homer, LA 71040                         Laredo, TX 78043




Svp Products Inc                        Swab Testers Inc                  Swabbco
PO Box 14856                            5493 Highway 105                  Steve Strain
Odessa, TX 79768-4856                   Hull, TX 77564-8931               PO Box 884
                                                                          Rangely, CO 81648




Swan Renetta M                          Swan Drilling Lp                  Swan Drilling Management LLC
Address Redacted                        Lauren Blackburn                  Lauren Blackburn
                                        1301 Mckinney Street Suite 1800   1301 Mckinney Street Suite 1800
                                        Houston, TX 77010                 Houston, TX 77010




Swan Energy Services LLC                Swan Oilfield Services Lp         Swan Oilfield Services Management LLC
Lauren Blackburn                        Lauren Blackburn                  Lauren Blackburn
1301 Mckinney Street Suite 1800         1301 Mckinney Street Suite 1800   1301 Mckinney Street Suite 1800
Houston, TX 77010                       Houston, TX 77010                 Houston, TX 77010
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SwannS Furniture Gallery              Swanton Village                 Swe Tex Oil Gas Inc
2401 Sse Loop 323                     PO Box 279                      c/o Smart Energy Sweden Group Ab
Tyler, TX 75701                       Swanton, VT 05488               Halleflundregatan 12
                                                                      426 58 Vastra Frolunda
                                                                      Sweden



Sweetwater Cable Television Co        Sweetwater County               Sweetwater Electrical Const
PO Box 8                              80 West Flaming Gorge Way       Maintenance
Rock Springs, WY 82902-0008           Suite 139                       PO Box 1292
                                      Green River, WY 82935           2315 East Broadway
                                                                      Sweetwater, TX 79556



Swepco                                Swepi LP                        SWEPI LP
2396 Farm Road 3251                   200 North Dairy Ashford         Attn Duane C King and Skip Koshak
Hallsville, TX 75650                  Wck 5494                        PO Box 576
                                      Houston, TX 77079               Houston, TX 77001-0576




Swift Energy Company                  Swift Services                  Swilley Family Tr 4 9 1999
2131 Palomar Airport Rd 340           PO Box 13173                    John W Alice W Swilley Trsts
Carlsbad, CA 92011                    Odessa, TX 79768-3173           106 Anthony Lane
                                                                      Crossett, AR 71635




Swing Trucking Inc                    Swink Investments Lp            Swn Communications Inc
PO Box 199                            6775 Old Jacksonville Hwy       500 Plaza Dr Ste 200
1210 Lane 10                          Suite 1                         Secaucus, NJ 07094-3612
Worland, WY 82401                     Tyler, TX 75703




Sww Clf Trust                         Sww Efd Trust                   Sybil A Ferguson
c/o Sg Hosea Lagearheart              c/o Sg Hosea Lagearheart        623 Airport Loop
5671 Cr 317 South                     5671 Cr 317 South               Homer, LA 71040
Henderson, TX 75652                   Henderson, TX 75652




Sybil Ann Satterwhite                 Sybil Crawford Hogue            Sybil Gant
3205 Airline Road                     Route 2 Box 220                 PO Box 833
Longview, TX 75605                    Center, TX 75935                Tatum, TX 75691




Sybil Kathleen Boles Jenkins          Sybil M Smith                   Sybil Smith
7466 Brewer Road                      918 Reed Canal Road             410 Pr 6020
Orange, TX 77632                      357                             Carthage, TX 75633
                                      South Daytona, FL 32119




Sybil Sumler                          Sybil Tyrrell Patten            Syble Connelley
8502 Hatton                           333 Texas St                    295 Happy Woods Lane
Houston, TX 77025                     Suite 1120                      Kentwood, LA 70444
                                      Shreveport, LA 71101




Syble E Hewitt Deceased               Syble Lavonne Racki             Syble Lee Cole Lenschner
36771                                 Darlene Wise Aif                3 Woodbox
PO Box 454                            PO Box 426                      Henderson, TX 75652
Joaquin, TX 75954                     Ben Wheeler, TX 75754
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Syble Lee S Serrell                      Syble N Burnaman Life Estate         Sydney Investments Ltd Partnership
3691 Malcolm Ave                         130 Cooper St                        Attn Mr Henry R Hamman
Oakland, CA 94605                        Houston, TX 77076                    PO Box 130028
                                                                              Houston, TX 77219-0028




Sydney Lou Bonnick                       Sydney Rowan Tr                      Sydney W Mckinney Jr
37 Wellington Oaks Circle                Uwo Arch H Rowan                     120 Lakewood Point
Denton, TX 76210                         Jpmorgan Chase Bank David Frame Jr   Bossier City, LA 71111
                                         PO Box 99084
                                         Fort Worth, TX 76199



Sydney W Palmer                          Sydonia D Smith Separate Property    Sydonia Sonnenburg
7309 Oakwood Drive                       PO Box 550                           3600 Santa Rita Dr
Orange, VA 22960                         Joaquin, TX 75954-0550               Fort Worth, TX 76133




Sydtran Lp                               Sylia A Hooper                       Sylvan Acres Family Limited Partnership
c/o F Baron Craft                        2405 South Evinside                  378 Chocolate Factory Rd
PO Box 940549                            Henderson, TX 75652                  Arcadia, LA 71001
Houston, TX 77094




Sylvester Q Breard                       Sylvester Wallace                    Sylvia A Dargon Service
2504 Oak Alley                           1214 Lynette Street                  251 Cr 404
Monroe, LA 71201                         Lancaster, TX 75134                  Aspermont, TX 79502




Sylvia Ann Whitlock                      Sylvia Bonita Mcafee                 Sylvia Brinson
115 Kilma                                4510 Highway 349                     1622 Wilson Street
Gilmer, TX 75645                         Kilgore, TX 75662                    Apt 22
                                                                              Jackson, LA 70804




Sylvia Cox Doss                          Sylvia Garrett Dean                  Sylvia George Murphy
PO Box 127                               710 South May                        4236 Beaune Drive
Dubach, LA 71235                         Madisonville, TX 77864               Kenner, LA 70065




Sylvia Gibbs                             Sylvia Gingras Baker                 Sylvia Goss Sellers
1801 Lavaca No 3J                        169 Thistle Pond Dr                  757 Ball Rd
Austin, TX 78701                         Bloomfield, CT 06002                 Dubach, LA 71235




Sylvia Guerrero                          Sylvia Heaton Meuth                  Sylvia J Crawley
c/o Guadalupe M Coronel                  PO Box 1918                          2400 Timber Ln
18200 Blanco Springs Rd                  Round Rock, TX 78680                 Lucedale, MS 39452-5047
Apt 1034
San Antonio, TX 78258



Sylvia J Jackson                         Sylvia Juarez Garza                  Sylvia Juliet Davis
PO Box 177                               1710 Encino                          105 Shoreline Dr
Tenaha, TX 75974                         Alice, TX 78332                      Nacogdoches, TX 75964
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Sylvia L Adger                          Sylvia L Greany                           Sylvia Louise Walker
3755 Gold Point Rd                      47 Riverside Ave                          6346 Us Highway 79 South
Shreveport, LA 71107                    Haverstraw, NY 10927                      Henderson, TX 75654




Sylvia R Pope Sep Prop                  Sylvia Roberson Fore                      Sylvia Rogers
1538 Madrid Street                      c/o Cpa Professionals Pllc                12044 2274 N
Dallas, TX 75216                        624 Sunset Dr                             Troup, TX 75789
                                        Ardmore, OK 73401




Sylvia Snow                             Sylvia Stewart Seibold                    Sylvia T Sauseda
1431 Mary Lou St                        7 Northride Circle                        Address Redacted
San Diego, CA 92102                     Texarkana, TX 75503




Sylvia T Trussell                       Sylvianne J Simmons                       Sympson Family LLC
1136 Mackey Road                        c/o Richard Simmons                       Jack Kinkade Manager
Gilmer, TX 75645                        110 Sycamore Ave                          1265 Augusta Court
                                        Mill Valley, CA 94941                     Shawnee, OK 74801




Synergis Technologies LLC               Synergy Field Services LLC                Synergy Operating LLC
18 South 5Th Street                     PO Box 927                                PO Box 5513
Quakertown, PA 18951                    Gardendale, TX 79758                      Farmington, NM 87499-5513




Syneva Usry Williams                    Synovus Financial Corp                    Synovus Trust Co
1004 San Antonio Road                   PO Box 120                                Synovus Trust Company
Crockett, TX 75835                      Columbus, GA 31902                        Attn Leslie Morris
                                                                                  1148 Broadway PO Box 23024
                                                                                  Columbus, GA 31901



Syntelli Solutions Inc                  Syntelli Solutions Inc                    Synthia R Murphy
13925 Ballantyne Corporate Pl           Rishi Bhatnagar                           3021 Colony Dr
Suite 260                               7810 Ballentyne Commons Parkway Ste 300   Mesquite, TX 75150-3929
Charlotte, NC 28277                     Charlotte, NC 28277




Syphron T Crockett Life Estate          Systems Measurements Srv                  Systems Services Technologies Inc
207 York Warwick Dr                     7748 Downing Ave                          PO Box 801997
Yorktown, VA 23692                      Bakersfield, CA 93308                     Kansas City, MO 64180-1997




Sytech Solutions                        Szw Management LLC                        T B Godfrey
Attn Ejaz Ahmed                         Suzanne Zachry Word President             2004 Paragould Blvd
3315 Birkshire Lane                     PO Box 33240                              Monroe, LA 71201
Richardson, TX 75082                    San Antonio, TX 78265




T B Services Inc                        T Bar Drilling Inc                        T C Craighead Company
PO Box 2724                             PO Box 420877                             PO Box 576
Lubbock, TX 79408                       Del Rio, TX 78842                         Ardmore, OK 73402-0576
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T C Tank Rental Anchor Service Corp   T C Taylor                                 T Cross Inc
7450 W 130Th St Ste 410               13818 S W Leah Terrace                     Jim Weeks
Overland Park, KS 66213-5200          Tigard, OR 97224                           908 N 8Th St
                                                                                 Lamesa, TX 79331




T D Davis Dorothy Tatum Davis         T Davis Resources Inc                      T E Lacy LLC
2336 Highway 146                      115 Towneast Rd                            Susan Lacy Sinclair
Chatham, LA 71226                     Henderson, TX 75654                        3780 Robinhood
                                                                                 Houston, TX 77005




T F Hodge                             T F Hudgins Inc                            T F Hudgins Incorporated
2601 Scott Ave                        Carmen Montemayor                          PO Box 4346
Fort Worth, TX 76103                  PO Box 920946                              Dept 859
                                      Houston, TX 77292-0946                     Houston, TX 77210-4346




T G Davis                             T H Mcelvain Oil Gas LLLP                  T H Timmins Trust
PO Box 687                            1050 17Th St Ste 2500                      U/W/O Lucille Timmins
Carthage, TX 75633                    Denver, CO 80265                           6938 Lloyd Valley Lane
                                                                                 Dallas, TX 75230




T Hunt Payne                          T J Berry                                  T J Martin Iii
30412 Mirador Court                   12184 State Highway 7 E                    3495 Hwy 59S
Laguna Niguel, CA 92677               Joaquin, TX 75954                          George West, TX 78022




T J Swanner                           T J Valve                                  T Jim Matthews
4191 Gladway Road                     PO Box 61066                               301 Shady Glen Lane
Jonesboro, LA 71251                   San Angelo, TX 76906                       Conroe, TX 77385




T K Chilcoat                          T K Irwin                                  T K Oil Field Services Inc
925 Hwy 71 N                          c/o Texas Comptroller Of Public Accounts   3908 West Main Street
Ashdown, AR 71822                     Unclaimed Property Division                Vernal, UT 84078
                                      PO Box 12019
                                      Austin, TX 78711-2019



T K Stanley Inc                       T L Crawford                               T L Livingston Ii Separate Property
Bbva Compass                          PO Box 4404                                PO Box 757
PO Box 2201                           Monroe, LA 71211-4404                      Grambling, LA 71245
Decatur, AL 35609-2201




T Lang                                T M K Partnership                          T M Petroleum Inc
9727 Queenswood Ln                    c/o James Wilson Melton                    c/o Frost Bank Agt
Dallas, TX 75238                      PO Box 12364                               PO Box 1600 T 6
                                      Dallas, TX 75225                           San Antonio, TX 78296




T M Roustabout Service                T M Terry LLC                              T Michael Conway
PO Box 1053                           2717 Lovers Lane                           6211 Holly Springs
Elkhart, KS 67950-1053                Dallas, TX 75225                           Houston, TX 77057
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T O Davis Jr                            T P Smith Jr Trust                 T R Huffman
6224 Annapolic Ln                       Noel Diane Jones Trustee           134 Quail Ln
Dallas, TX 75214                        510 East Grand                     Dubach, LA 71235-3230
                                        Marshall, TX 75670




T R Mcclellan                           T R Mcclellan Earlene M Mccellan   T Stanton Armour Trust
PO Box 1086                             PO Box 1086                        Fbo Audrey A Ayers
Benton, LA 71006                        Benton, LA 71006                   PO Box 3480 Oil Gas Dept
                                                                           Omaha, NE 68103-0480




T Stanton Armour Trust                  T T Coatings                       T T Truck Crane Service
Fbo Stanton Armour Jr                   PO Box 1053                        PO Box 1748
c/o Farmers National Co Agent           Sterling, CO 80751                 Ventura, CA 93002-1748
PO Box 3480
Omaha, NE 68103-0480



T W Bingham Jr                          T W P Rentals                      T W Partnership Ltd
1150 Grand Blvd 2090                    7880 San Felipe St                 601 S Figueroa St Suite 2750
Boerne, TX 78006                        Ste 207                            Los Angeles, CA 90017
                                        Houston, TX 77063




T/W/O Charles Dick Rollins              T0Tal Western Inc                  T3 Energy Services
Alic S Rollins Francis O                8049 Somerset Blvd                 PO Box 201912
Rollins John H Zollicoffer Jr           Paramount, CA 90723                Dallas, TX 75320-1912
507 Granite
Henderson, NC 27536



T3 Voicenet                             Taabs Printing                     Tab Answer Network
PO Box 4363                             128 S Beckham                      4201 17th St
Midland, TX 79704                       Tyler, TX 75702                    Santa Ana, CA 92705




Tab Answer Network                      Tab Operating                      Tab Products Co LLC
PO Box 10440                            PO Box 421                         24923 Network Place
Santa Ana, CA 92711                     Henderson, TX 75126                Chicago, IL 60673-1249




Tabb Interests LLC                      Tabitha Cole                       Tabitha Paige Wilson
748 Wilder Place                        Address Redacted                   Address Redacted
Shreveport, LA 71104




Tabrisha P Grice Chandler               Tacor Resources Inc                Tadlock Pipe And Rentals Inc
1488 Mariposa Dr                        600 Marienfeld Suite 807           PO Box 16990
Corona, CA 92879-1114                   Midland, TX 79701                  Lake Charles, LA 70616




Taff Randal Watts Heather M Watts       Tainia Lynn Ebrecht                Tal Donna Walker
14391 Highway 151                       Address Redacted                   2917 North Point Drive
Arcadia, LA 71001                                                          Shreveport, LA 71106
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Tal Walker                              Talbert Family LLC                  Talbert Jones
2917 N Pointe Dr                        Harold Andy Talbert Manager         PO Box 145
Shreveport, LA 71106                    PO Box 703                          Ringgold, LA 71608
                                        Arcadia, LA 71001




Talbot Land And Minerals LLC            Talkpoint Holdings LLC Dept 40372   Talley Lena Ann Richardson
12 Oak Trace                            PO Box 740209                       PO Box 358
Beaumont, TX 77706                      Atlanta, GA 30374-0209              Hallsville, TX 75650




Talley Wettlaufer                       Tallie Ellis Holland                Talma L Overstreet
21 Saybrook Place                       10748 Hwy 84 West                   4076 Fm 2455
Buffalo, NY 14209                       Rusk, TX 75785                      Pittsburg, TX 756866565




Talmadge Booth Estate                   Talmadge Dewitt Hutchison           Talmadge L Dowden Jo Anne Dowden
PO Box 3607                             8516 Friartuck                      2920 County Road 313 South
Longview, TX 75606                      Orange, TX 77632                    Henderson, TX 75654




Talmadge Younger                        Talmage Belanda Reed                Talmage R Reese
613 N Massachusetts Ave                 611 Dee Drive                       1002 Parkview Dr
Oklahoma City, OK 73117-2434            Wichita Falls, TX 76301             Pineville, LA 71360




Talon Lpe Limited                       Talon/Lpe Limited                   Talton L Gill 2001 Trust
PO Box 843                              Shane Currie                        8 Tree Top Lane
Amarillo, TX 79105-0843                 921 N Bivens Street                 East Falmouth, MA 02356
                                        Amarillo, TX 79107




Tam Completion Systems Inc              Tam International Us                Tamara C Fohr
Dba Tam International Us                PO Box 973935                       PO Box 100
Leigh Combs                             Dallas, TX 75397                    Sarasota, FL 34230-0100
4620 Southerland Road
Houston, TX 77092



Tamara Danielle Moore                   Tamara Jo Powers Griffith           Tamara K Williams
15 South 5Th Ave Apt 216                116 Pr 5081                         10576 Cheviot Dr
Mt Vernon, NY 10550                     Carthage, TX 75633                  Los Angeles, CA 90064




Tamara S Bammel Malone                  Tamara Scarbrough                   Tamara Shivers Britton
325 Short Street                        79 Cole 1                           14510 Idlebrook Ct
Cedar Hill, TX 75104                    Marin, CA 94965                     Manassas, VA 20112




Tamarack Petroleum Co                   Tameka Murray                       Tami Delain Snider
777 E Wisconsin Ave Ste 3020            1821 Linwood Ave                    PO Box 414
Milwaukee, WI 53202                     Niagara Falls, NY 14305-3041        Harleton, TX 75651-0414
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Tami Gay Gilmer                       Tami Hoover                     Tami Ritter
1959 Leslie Avenue                    3889 Crow Canyon Rd             5576 Fm 13 W
Newman, CA 95360                      San Ramon, CA 94583             Henderson, TX 75654




Tamica Hunt                           Tamie Carol Milford Yates       Tamis I Greany
1906 Seabrook Drive                   PO Box 114                      1244 W Onondaga St
Duncanville, TX 75137                 Timpson, TX 75975               Syracuse, NY 13204




Tammi Howell Betz                     Tammie Humphreys Tarpley        Tammie Midkiff
8315 Phantom Mist Drive               1238 Cr 816                     PO Box 333
Richmond, TX 77406                    Nacogdoches, TX 75964           Joaquin, TX 75954




Tammine Mercer                        Tammy A Clark Brown             Tammy Amos
2900 Parkview Ln                      770 Hwy 563                     2105 Cardinal
Prosper, TX 75078-0540                Dubach, LA 71235                Longview, TX 75601




Tammy Dianne Otwell Vedros            Tammy Irvin                     Tammy Jo Dowling Strakos
134 Angelle Ln                        4665 Estesville Rd              2629 Red Bud Way
Thibodaux, LA 70301-6296              Longview, TX 75602              New Braunfels, TX 78132




Tammy Karler                          Tammy Lynn Walker               Tammy M Nolan Ainsworth
14037 Silverdale Way Nw               1013 Roadrunner Dr              289 Eubanks Road
Poulsbo, WA 98370-8267                Little Elm, TX 75068-8543       Simsboro, LA 71275




Tammy Mccullin Kennedy                Tammy Renfrow Jenkins           Tammy Timms 1574741
3430 Irby Dr Apt 1207                 519 Malibu St                   1401 State School Rd
Conway, AR 72034-7670                 Malakoff, TX 75148              Gatesville, TX 76599




Tamra Gail Keys                       Tamyra Ann Lee                  Tana Andrews
222 Jesse Aulds Road                  175 Church St                   25 B Windsong Lane
Calhoun, LA 71225                     Grambling, LA 71245-3003        Friendswood, TX 77581




Tandem Energy Corporation             Tandi Leigh Hudson              Tandy G Lewis Jr
2700 Post Oak Boulevard               4017 Lakeway Boulevard          748 Wilder Place
Suite 1000                            Benton, LA 71006                Shreveport, LA 71104
Houston, TX 77056




Tandy J Williams                      Tanex                           Tangent Land LLC
PO Box 267                            Vaterstettener Str 7            John Robertson Or John Martin
Crockett, TX 75835                    85598 Vaterstetten              500 Springhill Drive 130
                                      Germany                         Spring, TX 77386
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Tangent Land LLC                          Tangram Interiors               Tania E Sapp
500 Spring Hill Dr 130                    PO Box 512206                   395 William Sapp Road
Spring, TX 77386                          Los Angeles, CA 90051-0206      Natchitoches, LA 71457




Tania Miles                               Tanji Bass                      Tanks Unlimited LLC
500 W Jefferson St                        223 W Nash Street 3rd Floor     PO Box 37
Louisville, KY 40202                      Wilson, NC 27893                Lysite, WY 82642




Tanks Unlimited LLC                       Tanmar Communications LLC       Tanmar Rentals LLC
Tammy Walsh                               PO Box 551                      PO Box 1376
302 S David Suite 100                     Eunice, LA 70535                Eunice, LA 70535
Casper, WY 82601




Tanos Energy Holdings Iii LLC             Tanos Energy Holdings LLC       Tanos Exploration Ii LLC
821 E Southeast Loop 323                  110 N College Avenue            821 E Southeast Loop 323
Suite 400                                 Suite 1900                      Suite 400
Tyler, TX 75701                           Tyler, TX 75702                 Tyler, TX 75701




Tanos Exploration LLC                     Tanos I Partners LLC            Tanos Midstream LLC
821 E Southeast Loop 323 Ste 400          821 E Southeast Loop 323        110 N College Ave Suite 1001
Tyler, TX 75701-9613                      Suite 400                       Tyler, TX 75702
                                          Tyler, TX 75701




Tanos Royalty Suspense Price 1            Tanya Estelle Fuller Davis      Tanya Keahey Dinkins
PO Box 2046                               316 Montrose Place              5442 Nuthatcher Rd
Tyler, TX 75710                           Bossier City, LA 71111          Gilmer, TX 75645




Tanya Keech                               Tanya Lea Teague                Tanya Poland
1012 Lakewood Drive                       3889 Greenway Place             577 Evergreen School Road
Morris, IL 60450                          Shreveport, LA 71105            Minden, LA 71055




Tanya T Hobbs                             Tanya Wilkerson                 Tanye S Wallace
201 S Reagan Street                       18108 Peregrines Perch Pl 302   746 Reese Road
Kerens, TX 75144                          Lutz, FL 33558                  Arcadia, LA 71001




Tap Resources LLC                         Tara Jon Corp                   Tara Merritt Ford
PO Box 239                                6003 Meadow View Lane           3215 Hanover St
Ruston, LA 71273-0239                     Midland, TX 79707               Dallas, TX 75225




Tara Pryor                                Tara Simpson                    Targa Energy LP
9791 1/2 Tinsley St                       608 University Ave W            1000 Louisiana Suite 4300
Tyler, TX 75709                           St Paul, MN 55103               Houston, TX 77002
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Targa Midstream Services LLC          Targa Pipeline Partners LP        Target Oilfield Services LLC
1000 Louisiana St Ste 4300            Park Place Corporate Center One   9308 Mansfield Rd Ste 500
Houston, TX 77002                     1000 Commerce Drive 4th Floor     Shreveport, LA 71118-3170
                                      Pittsburgh, PA 15275




Target Oilfield Services LLC          Target Pest Control               Target Well Services Inc
PO Box 842061                         1804 South Meadow Avenue          212 Flat Creek
Boston, MA 02284-2061                 Laredo, TX 78046                  Canyon Lake, TX 78133




Tarla Renea Beach                     Tarpon Oil And Gas Company        Tarpon Oil Company
8000 Lifford Apt A                    2720 W 7Th Street                 Co Morton Seaman
Fort Worth, TX 76116                  Suite 202                         Two Jericho Plaza 2nd Floor
                                      Fort Worth, TX 76107              Wing A
                                                                        Jericho, NY 11753



Tarpon Pipe Supply                    Tarrant County Tac                Taryn Nini Morris
PO Box 52002                          Betsy Price                       PO Box 7019
Midland, TX 79705                     PO Box 961018                     Abilene, TX 79608
                                      Fort Worth, TX 76161-0018




Taryn Orchin Irrevocable Tr           Taryne Burke                      Tas Environmental Services Lp
Nancy B Welwood Ttee                  313 Fishing Ford Ct               3929 E California Pkwy E
5349 Quail Run                        Nolensville, TN 37135             Fort Worth, TX 76119
Frisco, TX 75034




Tas Property LLC                      Tas Royalty Company               Tasc
431 Downing Pines Rd                  PO Box 5279                       PO Box 7098
West Monroe, LA 71291                 Austin, TX 78763                  Madison, WI 537077098




Tasco Tool Service Ltd                Tatum Marzella Wallace            Tauber Exploration Production Co
PO Box 3203                           80595 43Rd Ave                    55 Waugh Dr Suite 600
Alice, TX 78333                       Indio, CA 92201                   Houston, TX 77007-5837




Taul A Burgess                        Taurus Control Corp               Taurus Corporation
11105 Indian River Drive              2000 W Cowles St                  Co Robert B Payne Jr
Fort Pierce, FL 34982                 Long Beach, CA 90813              PO Box 1477
                                                                        Little Elm, TX 75068-1477




Taurus Engineering Inc                Taurus Royalty LLC                Tawana Jean Tubbs Bennett
1335 West Cowles St                   PO Box 1477                       1413 West Kentucky Ave
Long Beach, CA 90813                  Little Elm, TX 75068-1477         Ruston, LA 71270




Tax Assessor Collector                Tax Assessor/Collector            Tax Assessor/Collector
Shelly Williams                       Coke County Tax Office            PO Box 517
PO Box 1105                           13 East 7Th St                    Ballinger, TX 79608
Tatum, TX 756911105                   Robert Lee, TX 76945-0169
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Tax Management Group                    Taybecs Royalties LLC           Tayco Tools Inc
5440 Harvest Hill Road                  PO Box 220                      PO Box 2646
Suite 232                               Jenks, OK 74037                 Kilgore, TX 756632646
Dallas, TX 75230




Taylor Ann Richardson                   Taylor Carter                   Taylor Charlcye Jr
3115 Joyce Court                        1401 East Highway 31            865 Cr 3102 North
Eagan, MN 55121                         Longview, TX 75604              Henderson, TX 75652




Taylor Clark                            Taylor Communications           Taylor Compton Thompson
5900 Sw Parkway                         Fka The Standard Register       31 School House Road
Building 2 Suite 220                    Legal Services                  Alexandria, LA 71303
Austin, TX 78735                        600 Albany Street
                                        Dayton, OH 45417



Taylor Corporation                      Taylor David Johnson            Taylor Elaine Massey Trust
3300 Gateway Dr                         102 Rustic Wood Lane            Barbara Clark Massey Trustee
Pompano Beach, FL 33069-4841            Cary, NC 27511-9770             7607 Woodhaven Street
                                                                        San Antonio, TX 78209




Taylor Enterprises                      Taylor Family Partnership       Taylor Frost Moore
PO Box 646                              c/o Wells Fargo Bank Na         300 Pierremont Rd Unit 34
Andrews, TX 79714                       PO Box 41779                    Shreveport, LA 71106
                                        Austin, TX 78704




Taylor Geophysical Srvcs LLC            Taylor Industries LLC           Taylor Jetta Martin
120 S Broadway Ste 102                  Mark Rankin                     305 Jet Street
Tyler, TX 75702                         801 Cherry St Suite 2100        Longview, TX 75603
                                        Ft Worth, TX 76102




Taylor Jon Lowry                        Taylor K Piper                  Taylor Lee Hooker
4249 Creekdale Dr                       6023 Rathbone                   608 Country Club Drive
Dallas, TX 75229                        Parker, TX 75002                Marshall, TX 75672




Taylor Living Tr                        Taylor Rocky Mountain           Taylor Vegetation Control LLC
c/o Ascent Oil Gas Consultants          Taylor Oklahoma Sales           103 East Allen Street
2935 Toccoa Rd                          PO Box 31076                    Mooringsport, LA 71060
Beaumont, TX 77703                      Billings, MT 59107




Tbam Oil Gas Inc                        Tbi Exploration Inc             Tbi Production Company
8955 Katy Freeway                       Dept 1347                       901 R S Gass Boulevard
Suite 310                               Denver, CO 80291-               Nashville, TN 37216
Houston, TX 77024




Tbm Properties Inc                      Tbs Factoring Service LLC       Tc Safety
c/o Thomas P Barton                     Fbo Whitetail Xpress Llc        18179 S Loop 1604 West
451 N Washington                        Mc 662344                       Van Ormy, TX 78073
El Dorado, AR 71730                     PO Box 268827
                                        Oklahoma City, OK 73126-8827
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TC Services                               Tca Trustcorp America Ttee               Tca Trustcorp America Ttee
Thomas E Bailey Jr                        Lucker Irr Gst Ex Fbo Helene             Lucker Irr Gst Ex Fbo Judith
17391 Timberland Trail                    Kochendorfer Dtd 03/05/1998              03/05/1998
Flint, TX 75762                           5301 Wisconsin Ave Nw                    5301 Wisconsin Ave Nw
                                          Washington, DC 20015-2047                Washington, DC 20015-2047



Tca Trustcorp America Ttee                Tcf National Bank                        Tcg Limited Partnership
Lucker Irr Gst Ex Fbo Walter 03/05/1998   2508 South Louise Avenue                 929 White Plains Rd 406
5301 Wisconsin Ave Nw                     Sioux Falls, SD 57106                    Trumbull, CT 06611
Washington, DC 20015-2047




Tci Business Capital Inc                  Tci Business Capital Inc                 Tci Business Capital Inc
9185 Paysphere Circle                     Fbo Big Star Energy Services Llc         Fbo Bolt Fuel Oil Company Inc
Chicago, IL 60674                         9185 Paysphere Circle                    9185 Paysphere Circle
                                          Chicago, IL 60674                        Chicago, IL 60674




Tci Business Capital Inc                  Tci Business Capital Inc                 Tco
Fbo GC Construction/                      Swab Testers Inc                         Transcontinent Oil
GC Energy Services                        9185 Paysphere Circle                    621 Seventeenth Street
9185 Paysphere Circle                     Chicago, IL 60674                        Suite 2501
Chicago, IL 60674                                                                  Denver, CO 80293



Tcp Specialists LLC                       Tcp Specialists LLC And Its Affiliates   Tcp Specialists LLC
PO Box 19574                              PO Box 157                               PO Box 157
Shreveport, LA 71149                      Gloster, LA 71030                        Gloster, LA 71030




Tcw Dr Iii Royalty P/S                    Td Ameritrade Cl                         Td Bank
865 South Figueroa 1800                   Attn Mandi Foster                        1701 Route 70 East
Los Angeles, CA 90017                     1005 N Ameritrade Place                  Cherry Hill, NJ 08034
                                          Bellevue, NE 68005




Td Bank Usa N A                           Td Tools Inc                             Tdw Services Inc
1701 Route 70 East                        11850 Nashville Rd                       PO Box 972118
Cherry Hill, NJ 08034                     PO Box 130                               Dallas, TX 75397-2118
                                          Woodburn, KY 42170




Tdx Energy LLC                            Te Marshall Estate                       Teachers Credit Union
401 Edwards St Ste 1900                   Nell Marshall Independent Exec           110 S Main St
Shreveport, LA 71101                      Route 6 Box 579                          South Bend, IN 46601
                                          Gilmer, TX 75644




Teal Royalties LLC                        Tealwood Production LLC                  Team Industrial Services Inc
PO Box 660082                             PO Box 1406                              5106 Estes Parkway
Dallas, TX 75266                          Shreveport, LA 71164                     Longview, TX 75603




Team Invest Inc                           Team Oil Tools Lp                        Team Oil Tools Lp
c/o Joe Mcmurrey                          1209 N Fm 3083 Rd E                      PO Box 204532
PO Box 4519                               Conroe, TX 77303-1863                    Dallas, TX 75320-4532
Longview, TX 75606
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Team Petroleum LLC                      Team Petroleum LLC             Tec Well Service Inc
105 E Lincoln Ave                       PO Box 1831                    Kenneth Shore
Fort Collins, CO 80524                  Fort Collins, CO 80522         851 W Harrison Rd
                                                                       Longview, TX 75604




Tec Well Service Inc                    Techcorr Usa Management        Techneaux Technology Svcs LLC
c/o Austin Bank                         PO Box 660828                  312 Westgate Rd
911 Nw Loop 281 Ste 100                 Dallas, TX 75266-0828          Lafayette, LA 70506
Longview, TX 75604




Technical Engineering Consultants LLC   Technical Marketing Mfg Inc    Technical Specialty Products
401 Whitney Ave                         Tmmi                           30984A La Highway 16
Suite 600                               5000 Robb Street 3A            Denham Springs, LA 70726-8920
Gretna, LA 70056                        Wheat Ridge, CO 80033




Technical Toolboxes                     Technicolor Minerals           Techniques International Corp
PO Box 980550                           Thomas L Taylor Iii Receiver   Attn Accounts Receivables
Houston, TX 77098-0550                  PO Box 141638                  4209 Canal St
                                        Austin, TX 78714               New Orleans, LA 70119




Techno Coatings                         Techno West Inc                Technology Laboratory Inc
1391 Allec St                           1391 S Allec Street            PO Box 272271
Anaheim, CA 92805                       Anaheim, CA 92805-6304         Fort Collins, CO 80527-2271




Technology Transfer Inc Dba 3Coast      Teckla Oil Co LLC              Ted Abbey
PO Box 890646                           PO Box 3066                    366 Tombigbee Road
Houston, TX 77289                       Ocala, FL 34478                Livingston, TX 77351




Ted C Bosecker                          Ted Collins Jr                 Ted Gamble Dba Nez Resources
1008 South Goode St                     508 W Wall Suite 1200          PO Box 275
Midland, TX 79701                       Midland, TX 79701              Henderson, TX 75653




Ted Garrett                             Ted Mauritzen                  Ted R Scurlock
119 Woodside Lane                       PO Box 130                     330 Marshall Street
Hawkins, TX 75765                       Clayton, TX 75637              Apartment 941
                                                                       Shreveport, LA 71101




Ted Reese Doebbler                      Ted Secrist                    Ted W Walters Associates Lp
5 Voss Park Drive                       Address Redacted               PO Box 8082
Houston, TX 77024                                                      Tyler, TX 757118082




Teddie Jean Mcclendon                   Teddie Lee Hanson              Teddye J Brown Read Test Trust
8182 Blocker Road                       Barbara Jean Hudson Hanson     Mary Read Winterrowd Trustee
Marshall, TX 75672                      PO Box 67                      c/o Tx State Bank Trust Dept
                                        Cotton Valley, LA 71018        PO Box 3782
                                                                       San Angelo, TX 76902
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Tee Dee Company                          Teemco LLC                            Tejas Completion Solutions Lp
c/o Don Weiss                            Formerly Wellstar International LLC   Team Completion Services
333 Texas Street                         1600 E 19Th Street Suite 501          PO Box 41047
Suite 2290                               Edmond, OK 73013                      Baton Rouge, LA 70835
Shreveport, LA 71101



Tejas Hot Shot Service Transportation    Tejas Investments LLC                 Tejas Lease Service LLC
13808 W Hwy 80 E                         William Bradley Nabours Mngr          Po Drawer 340
Odessa, TX 79765                         5435 E Tapekim Rd                     George West, TX 78022
                                         Cave Creek, AZ 85331




Tejas Production Services Inc            Tejas Royalty Inc                     Tejas Transport Company LLC
PO Box 3368                              PO Box 27605                          PO Box 10427
Victoria, TX 77903                       Houston, TX 77227                     Corpus Christi, TX 78460




Tektonik Energy                          Tektonik Energy                       Tela Evans Lewis
Kg Properties                            PO Box 2022                           11071 Hughes Rd
PO Box 2022                              Broken Arrow, OK 74013                Gulfport, MS 39503
Broken Arrow, OK 74013




Telcoe Federal Credit Union              Tele One Communications Inc           Teledrift Company
820 S Louisiana St                       5620 Old Bullard Rd                   PO Box 677496
Little Rock, AR 72201                    Ste 109                               Dallas, TX 75267-7496
                                         Tyler, TX 75703-4358




Teleflow Mc E Inc                        Teley Group LLC                       Tell Steel Inc
15807 N Expressway Us 281                3016 Garden Vista                     2345 W 17Th Street
Edinburg, TX 78539                       Edmond, OK 73034                      Long Beach, CA 90813




Temin 1987 Partnership                   Temin 1987 Partnership                Tempie Mccrary Pullen S/P
PO Box 1628                              PO Box 731680                         c/o Phama Pullen Ross
Ardmore, OK 73401                        Dallas, TX 75397-1680                 Rr 3 Box 1002
                                                                               Winnfield, LA 71483




Templar Advisors North America LLC       Temple Baptist Church Of              Temple Bazer Olenik
500 Fifth Avenue                         Ruston Louisiana Inc                  PO Box 90
Ste 2440                                 1515 South Service Rd West            Joaquin, TX 75954
New York, NY 10110                       Ruston, LA 71270




Temple Heirs Gen Partnership             Temple Patterson                      Temple Wynn Hanschen
c/o Mr James B Temple                    404 E Buena Vista St                  c/o Theodore F Kuchta Cpa
3917 Gravel Pit Road                     Barstow, CA 92311-2819                PO Box 47
White Hall, AR 71602                                                           Wimberly, TX 78676




Tenaha Isd                               Tenaha Isd                            Tenaska Marketing Ventures
138 College Street                       PO Box 318                            14302 Fnb Parkway
Tenaha, TX 75974                         Tenaha, TX 75974-0318                 Omaha, NE 68154
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Tenna Marie Jones Vardeman              Tennogee Corporation            Tenoaks Energy Advisors LLC
PO Box 630886                           6309 Villa Fontana Street       14180 N Dallas Parkway Ste 715
Nacogdoches, TX 75963                   Greenville, TX 75402            Dallas, TX 75254




Tensas Delta Exploration Co             Tensas Parish Clerk Of Court    Teodora Susana Moore
401 Edwards St Ste 1900                 PO Box 78                       238 Tranquility Mountain
Shreveport, LA 71101                    Saint Joseph, LA 71366          Buda, TX 78610




Teola Guiton Sanders                    Teresa A Duree                  Teresa A Johnson
707 Rosemont Road                       PO Box 1932                     4296 Estesville Rd
Oakland, CA 94610                       Montrose, CO 81402              Longview, TX 75602




Teresa Adams                            Teresa Adkisson                 Teresa Ann King
125 Wisteria Lane                       3501 West Champion Lake Blvd    19406 Cr 3400
Livingston, TX 77351                    1614                            Slaton, TX 79364
                                        Shreveport, LA 71105




Teresa Ann Sampson Sinclair             Teresa Ann Vinyard              Teresa Anne Physioc
1113 Washington St                      PO Box 518                      15885 W Cypress St
Arcadia, LA 71001                       Levelland, TX 79336             Goodyear, AZ 85395




Teresa Brown                            Teresa Burnett                  Teresa Christophe
2396 Nw County Road 2161                803 E Cr 2260                   1019 Papin Street
Barry, TX 75102                         Corsicana, TX 75109             Alexandria, LA 71302




Teresa Diane Allbright                  Teresa Diane Stone              Teresa Dickerson
1301 N Elm St                           824 Walnut Creek Rd             1625 Fm 2787
Minden, LA 71055-2128                   Simsboro, LA 71275              Joaquin, TX 75954




Teresa Ellen Rowe                       Teresa F Starkes                Teresa Faye Wiggins Stephens
6253 Fm 326                             908 Cambridge Bend              4475 Marshall Road
Lufkin, TX 75901                        Tyler, TX 75703                 Logansport, LA 71049




Teresa G Mccrocklin Price Tr            Teresa Gail Humphreys Payne     Teresa Graves Owen
Teresa M Price Trustee                  22339 Fm 92 South               707 Cumberland Road
21 Hickory Ridge                        Silsbee, TX 77656               Tyler, TX 75703
Houston, TX 77024




Teresa J Boughton                       Teresa J Roose                  Teresa Janell Arden Clark
1912 N Brentwood Pl                     330 Galway Drive                3554 Dave Wilson Rd
Chandler, AZ 85224                      Shreveport, LA 71115            Harleton, TX 75651
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Teresa Jo Parks                          Teresa K Simpson                Teresa Kelly
7401 S Prospect St Apt 3                 961 Thora Blvd                  14902 Harvrenee Dr
Tacoma, WA 98409-5908                    Shreveport, LA 71106            Cypress, TX 77429




Teresa L Malone                          Teresa Leet                     Teresa Lynn Mackey
1470 Hwy 155                             48 Colonial Dr                  PO Box 349
Quitman, LA 71268                        Horseheads, NY 14845            Gladewater, TX 75647




Teresa Lynn Purdy Bush                   Teresa M Farrington             Teresa Marie Williams
74 Schill Ave                            908 Cambridge Bend              1704 Becker Drive
Kenner, LA 70065                         Tyler, TX 75703                 Kileen, TX 76543




Teresa Maxine Christiansen               Teresa Mcwilliams Zinda         Teresa Perez
334 Crest Dr                             PO Box 2792                     284 Calado Ave
San Jose, CA 95127                       Harker Heights, TX 76548-0792   Campbell, CA 95008




Teresa Roose Family Trust Dtd 7/8/2011   Teresa Sherie Edwards D Amico   Teresa Strong
Donald R Roose Jr                        304 Springsond Road             964 Fm 1970
Annette Roose White Co Ttees             Lithia, FL 33547                Carthage, TX 75633
1502 Timber Ridge
Euless, TX 76039



Teresa Taylor Cleveland                  Teresa Turner                   Teresa W Jackson
5711 S Lakeshore Dr                      12 Pr 301                       PO Box 512
Shreveport, LA 71119                     Goldthwaite, TX 76844           Jonesboro, LA 71251




Teresa W Mcgehee                         Teresa Woodard Spillers         Teri Ann Whiteside
PO Box 382                               1864 Hwy 837                    12190 Glenridge
Natchez, MS 39120                        Downsville, LA 71234            Colorado Springs, CO 80908




Teri Arthur Fulton                       Teri S Grigsby                  Terina D Roberts
272 Jill Loop                            PO Box 87                       34805 Village Rd
Ruston, LA 71270                         Wolf Creek, MT 59648            Clinton Township, MI 48035




Termik LLC                               Terminix Of Wyoming             Terminix Processing Center
6130 Bordley Dr                          PO Box 4747                     PO Box 742592
Houston, TX 77057                        Casper, WY 82604                Cincinnati, OH 452742592




Terra Resources Inc                      Terra Tek Inc                   Terrace Holland
1200 17 St Ste 2200                      Nam Contracts                   26726 Via Marquette
Denver, CO 80202                         1325 Dairy Ashford Room 310     Lomita, CA 90717
                                         Houston, TX 77077
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Terracon Consultants Inc              Terracore Land Services LLC     Terral Walker
PO Box 843358                         3109 Old Bullard                PO Box 14335
Kansas City, MO 64184-3358            Tyler, TX 75701                 Humble, TX 77347




Terrance Giles                        Terrance K Hansen               Terrance L Murphy
428 South Pine Tree Road              PO Box 711816                   3351 Old Bethany Road
Grambling, LA 71245                   Salt Lake City, UT 81408        Moody, TX 76557




Terrance Lesh Murphy                  Terrance Searcy                 Terrance W Wynne
3351 Old Bethany Rd                   PO Box 9588                     1089 Watkins Creek Dr
Moody, TX 76557                       Tyler, TX 757112588             Franklin, TN 37067-7830




Terrell Edwin Younger                 Terrence P Alley                Terrence W Terrill
1259 East 89Th Street                 5890 Drifter Street             PO Box 1417
Los Angeles, CA 90002                 Colorado Springs, CO 80918      Hot Springs, AR 71902




Terri A Jordan                        Terri Baumer                    Terri Ellen Taylor Akin
148 Eubanks Rd                        32594 Carriage Lane             16010 Congo Ln
Simsboro, LA 71275                    Avon Lake, OH 44012             Houston, TX 77040-2008




Terri Etheredge Manor                 Terri Gilbert Spence            Terri Hamon
2256 Fm 522 Road                      526 North Plaquemine Drive      401 S Second St
Brazoria, TX 77422                    Shreveport, LA 71115            Logansport, LA 71049




Terri K Fabick Hayda                  Terri L Allen                   Terri L Matthews
364 Westchester Drive Se              4642 Clarksville Hwy            3133 Bahar Street
Warren, OH 44484                      Nashville, TN 37218             Arlington, TX 76010




Terri Laird Young                     Terri Roy Wilmoth               Terri Sue Northcutt Linn
PO Box 1463                           PO Box 1966                     10612 Sunrise Cir
Gladewater, TX 75647                  Palestine, TX 75802-1966        Argyle, TX 76226-7701




Terri Volpe                           Terrie Dee Hartman              Terrie Lindsey
2650 Casabella Drive                  7 Splawn Court                  PO Box 7377
Redding, CA 96002                     Canyon, TX 79015                Longview, TX 756077377




Terry Adrian Armstrong                Terry Allen Williams Estate     Terry An Morrison
PO Box 6                              c/o Donna Williams Indp Exec    c/o Texas State Treasury
Groveton, TX 75845                    403 S Bonner Street             Unclaimed Property
                                      Jacksonville, TX 757662330      PO Box 12019
                                                                      Austin, TX 78711-2019
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Terry And Alison Scull                 Terry And Linda Burch            Terry Ann Huntsberger
501 Pine St                            630 Roberts Road                 1826 Lewis Trail
Center, TX 75935                       Logansport, LA 71049             Grand Prairie, TX 750521916




Terry Ann Kidner                       Terry Ann Weers                  Terry Annette Smith Sp
47 Cambridge Court                     1030 E Ireland                   1505 Bailey Street
Madison, NJ 07940                      Seguin, TX 78155                 West Monroe, LA 71292




Terry B Barton                         Terry Bates                      Terry Boddie Separate Prop
296 Willow Creek Ln                    1223 County Road 2610            8400 D G Drive
Spring Town, TX 76082                  Krum, TX 76249                   Mooringsport, LA 71060




Terry C Prescher                       Terry Carlton Bassett Phd        Terry County Appraisal Dist
709 1/2 W Mac Arthur                   PO Box 1235                      PO Box 426
Bloomington, IL 61701                  Fairhope, AL 36533-1235          Brownfield, TX 79316




Terry Dale Huff                        Terry Dalton Johns               Terry Dean Honeycutt
131 Greenwood Place                    548 Sand Road                    3202 Cr 3601
Delhi, LA 71232                        Transylvania, LA 71286           Bullard, TX 75757




Terry Doherty                          Terry Draughn Sullivan           Terry Emerson
1141 High Knoll                        2526 Gunster Rd                  10634 Linda Circle
Midlothian, TX 76065                   Montgomery, AL 36111-1599        Forney, TX 75126




Terry G Mcinturff Trust                Terry G Mcinturff Trust          Terry G Mcknight
c/o Don E Mcinturff                    Don E Pauline L Mcinturff        109 Ham Rd
PO Box 6618                            PO Box 6618                      Hope Mills, NC 28348
Lubbock, TX 79493                      Lubbock, TX 79493




Terry G Michelle Schafer Jt/Tic        Terry H Dale                     Terry H Miller
PO Box 386                             PO Box 509                       2909 Bocage Lake Court
Wheeler, TX 79096-0386                 Venus, TX 760840509              Baton Rouge, LA 70809




Terry Harvill                          Terry J Cook                     Terry Jackson
PO Box 70331                           2393 H G Mosley Parkway Bldg 4   1301 1/2 Ridge Drive
Odessa, TX 79769                       Suite 100                        West Monroe, LA 71291
                                       Longview, TX 75604




Terry K Smith                          Terry Kathleen Hagin Jester      Terry L Barnett
PO Box 543                             3301 North Star Road             209 County Rd 4051
George West, TX 78022                  Apartment 618                    Carthage, TX 75633
                                       Richardson, TX 75082
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Terry L Burgess                        Terry L Massey                  Terry L Moser
1111 Nw 111 Ave                        1820 Everglades Drive           502 Acker Tap
Plantation, FL 33322                   Tyler, TX 75703                 Whitehouse, TX 75791




Terry L Prior                          Terry L Starling                Terry Lee Knighten
3624 Piedmont Drive                    4103 Sojourner St               201 Arthur St
Plano, TX 75075                        Austin, TX 78725                West Monroe, LA 71292




Terry Louise T Norton                  Terry Lynn Brown                Terry Lynn Holley
33284 Globe Road                       8731 W Mclellan Rd              3720 Holston Hills Road
Springville, CA 93265                  Glendale, AZ 85305              Knoxville, TN 37914




Terry Lynn Leggett Slone               Terry Lynn Moore                Terry Lynn Nicholas
PO Box 933                             3403 San Jacinto                4339 Fm 3135 E
Waskom, TX 75692                       Dallas, TX 75204                Henderson, TX 75652




Terry Lynn Tuminello Coleman           Terry Lynne Reed                Terry M Mackey
A/K/A Terry L Tuminello Brulte         3031 15Th Street                1107 Chesterton Drive
119 Walnut Creek Road                  Port Arthur, TX 77642           Richardson, TX 75080
Simsboro, LA 71275




Terry M Robin Taylor Harvey            Terry Maxfield                  Terry Michael Stebritz
391 Bear Knoll Dr                      1502 Buena Vista                2814 Chase
Quitman, LA 71268                      Garland, TX 75043               Wheat Ridge, CO 80214




Terry Mullin                           Terry Newhouse                  Terry O Ewing Donna W Ewing H/W Cp
Address Redacted                       503 W Howard                    PO Box 827
                                       Stockton, CA 95206              Ruston, LA 71273




Terry Orms                             Terry P Cheeks Et Ux            Terry P Dalton
11833 Nasturtium                       Evangeline M Cheeks             6130 Bordley
Ore City, TX 75683                     220 Sims Avenue                 Houston, TX 77057
                                       Grambling, LA 71245




Terry Perry Eugene                     Terry Q Hiers                   Terry R Bowen
3307 East Country Club Road            4 Parkway Plaza                 3546 Dry Creek
Longview, TX 75602                     Lufkin, TX 75901                Pasadena, TX 77505




Terry R Dorsey                         Terry Ray Fields                Terry S Crank
5550 Fm 2276N                          1851 South Cypress Street       1223 Marigold Ln
Henderson, TX 75652                    Wichita, KS 67207               Longview, TX 75604
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Terry Sonheim                          Terry Taylor                               Terry Thevenot
PO Box 705                             PO Box 314                                 5811 Willow Breeze Dr
Garrison, TX 75949                     Mansfield, LA 71052                        Lake Charles, LA 70605-3144




Terry Wayne Roberts                    Terry Wayne Sampson                        Terry Wayne Sampson Sep Prop
PO Box 261                             Gloria Dean Standley Sampson               216 Allen Rd
Bellaire, TX 77402                     216 Allen Road                             Arcadia, LA 71001
                                       Arcadia, LA 71001




Terry Wayne Younger                    Terry Williams                             Terryville Mineral Royalty Partners Lp
5700 Larch Place                       6730 Green Stone Ct                        500 Dallas Street Suite 1800
Little Rock, AR 72209                  Houston, TX 77084                          Houston, TX 77002




Tervita LLC                            Tesco Corporation                          Tesco Corporation Us
PO Box 840730                          Susan Charba                               c/o Jp Morgan Chase
Dallas, TX 75284-0730                  11330 Brittmoore Park Dr                   PO Box 730525
                                       Houston, TX 77041                          Dallas, TX 753730525




Tesco Services Inc                     Teshelia Ann W Austin                      Tesoro Refining Company
PO Box 203408H                         9449 Briar Forest Dr Apt 1507              19100 Ridgewood Parkway
Houston, TX 772163408                  Houston, TX 77063-1042                     San Antonio, TX 78259




Tessco Energy Services Inc             Tessco Energy Services Inc                 Test Tr Created Part Iv U/W
Total Electric Service Supply Co       PO Box 1999                                Lula Belle Mcmurrey Decd
Ronald L Moose                         Midland, TX 79702                          Marvin Mcmurrey Jr Jackson B Horn
PO Box 1999                                                                       600 Travis Ste 6475
Midland, TX 79702                                                                 Houston, TX 77002



Test Tr Created Part V U/W M H         Test Tr Fbo Marvin H Mcmurrey Jr Created   Testco Well Service LLC
Mcmurrey Decd                          Part Vii M H Mcmurrey Decd Marvin          GreeneS Energy Group
Marvin Mcmurrey Jr Jackson B Horn      Mcmurrey Jr Jackson B Horn Co Ttees        Legal Department
600 Travis Ste 6475                    600 Travis Ste 6475                        11757 Katy Freeway Suite 300
Houston, TX 77002                      Houston, TX 77002                          Houston, TX 77079



Testco Well Services LLC               Tether Law                                 Teton Ltd
PO Box 676263                          860 Via De La Paz Suite E 3D               PO Box 479
Dallas, TX 75267-6263                  Pacific Palisades, CA 90272                Tyler, TX 75710




Teton Properties L L C                 Tetra Production Testing Services LLC      Tetra Tech Inc
1437 South Boulder Suite 1050          PO Box 841185                              Gwen Brodsky
Tulsa, OK 741193616                    Dallas, TX 75284-1185                      4900 Pearl E Circle Suite 300W
                                                                                  Boulder, CO 80301




Tetra Tech Inc                         Tetra Tech Inc                             Tetra Tech Inc
1576 Sherman St                        PO Box 911654                              PO Box 911678
Denver, CO 80291-1678                  Denver, CO 80291-1654                      Denver, CO 80291-1678
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Tetra Technologies Inc                   Tewana Younger                    Tex Isle Supply Inc
PO Box 841185                            1279 Rwe Jones Dr                 PO Box 301504
Dallas, TX 75284-1185                    Ruston, LA 71270                  Dallas, TX 75373-1504




Tex Mex Services LLC                     Tex Zia Properties                Texaco Exploration And Product
2604 Nw County Rd                        PO Box 261427                     PO Box 730436
Hobbs, NM 88241                          Plano, TX 75026                   Dallas, TX 75373-0436




Texana Bank                              Texans Credit Union               Texaro Oil Company
910 E Marshall Ave                       777 E Campbell Rd                 8111 Preston Rd
Longview, TX 75601                       Richardson, TX 75081              Dallas, TX 75225




Texas City Of Joaquin                    Texas City Of Longview            Texas Us Dept Of The Interior
Attention City Secretary                 Longview City Hall                Bureau Of Indian Affairs
124 N Preston Street                     300 W Cotton Street               Ms 4606 Mib
Joaquin, TX 75954                        Longview, TX 75601                1849 C Street Nw
                                                                           Washington D C , DC 20240



Texas Us Dept Of The Interior Bureau     Texas AM Foundation               Texas AM University Dev Found
Of Land Mgmt Amarillo Field Office       401 George Bush Drive             c/o Robert D Pulliam Cpa
Attn Robert Jolley                       College Station, TX 77840         Pulliam And Cable Pc
801 S Fillmore Street Suite 500                                            6116 N Central Expwy Ste 1000
Amarillo, TX 79101-3545                                                    Dallas, TX 752065101



Texas AM University System               Texas Attorney GeneralS Office    Texas Attorney GeneralS Office
Attn Sreo Tx Ag Exp St                   Hal F Morris Ashley F Bartram     Hal F Morris Ashley F Bartram
Muil Tct 8                               Bankruptcy Collections Div        PO Box 12548 Mc 008
301 Tarrow St 6th Floor                  PO Box 12548 Mc 008               Bankruptcy Collections Division
College Station, TX 77840                Austin, TX 78711-2548             Austin, TX 78711-2548



Texas Bank                               Texas Bank Tr Co Succ Ttee        Texas Bank Trust
501 E Hall St                            Of Paula Bramlette Test Tr B      1800 W Loop 281
Bangs, TX 76823                          For Benefit Of Jack Lewis         Longview, TX 75604
                                         PO Box 2749
                                         Longview, TX 75606



Texas Bank Trust Agent For Doris Price   Texas Baptist Home For Children   Texas Bay Area Credit Union
PO Box 3188                              P O Drawer 309                    1301 Hwy 225
Attention Denice Harper                  Waxahachie, TX 75165              Pasadena, TX 77506
Longview, TX 75606




Texas Capital Bank                       Texas Ces Inc                     Texas Ces Inc Dba Mercer Well Service
2000 McKinney Ave 700                    Kimberly Howard                   PO Box 201642
Dallas, TX 75201                         11700 Katy Frwy Suite 300         Dallas, TX 75320-1642
                                         Houston, TX 77079




Texas Ces Inc Dba Tsws Well Service      Texas Communications              Texas Community Bank N A
PO Box 1299                              902 Arroyo Dr                     1826 North Loop 1604 W
Gainsville, TX 76241                     San Angelo, TX 76903              San Antonio, TX 78248
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Texas Compt Of Public Accounts          Texas Comptroller Of Public Accounts   Texas Comptroller Of Public Accounts
Unclaimed Property                      111 East 17Th Street                   Office Of The Attorney General
Holder Reporting Section                Austin, TX 78774-0100                  Bankruptcy Collections Division
PO Box 12019                                                                   PO Box 12548
Austin, TX 78711-2019                                                          Austin, TX 78711-2548



Texas Comptroller Of Public Accounts    Texas Comptroller Of Public Accounts   Texas Department Of State Health Service
PO Box 13528                            PO Box 149348                          1100 W 49Th
Austin, TX 78711-3528                   Austin, TX 78714-9348                  Austin, TX 78756-3199




Texas Dept Of Licensing Regulation      Texas Digger Service Inc               Texas Employment Commission
PO Box 12157                            5216 Seymour Highway                   101 East 15Th Street
Austin, TX 78711                        Wichita Falls, TX 76310                Austin, TX 78778




Texas Energy Resources Lp               Texas Equipment Rental LLC             Texas Excavation Safety System Inc
12377 Merit Dr                          PO Box 260932                          PO Box 678058
Ste 1700 Lb 82                          Corpus Christi, TX 78426-0932          Dallas, TX 75267-8058
Dallas, TX 752512224




Texas First Bank                        Texas Flood LLP                        Texas Frac Fluids LLC
3232 Palmer Hwy                         PO Box 5513                            6004 South First Street
Texas City, TX 77590                    Longview, TX 75608                     Lufkin, TX 75901




Texas Gas Measurement Srvc LLC          Texas Gas Transmission LLC             Texas Gathering Company LLC
2101 Industrial Dr                      Dept 8179                              9830 Colonnade Blvd Ste 300
Mcallen, TX 78504                       Carol Stream, IL 60122-8179            San Antonio, TX 78230




Texas General Land Office               Texas General Offshore                 Texas Generator Power Systems Services
PO Box 12873                            7710 T Cherry Park Suite 503           PO Box 12968
Austin, TX 78711-2873                   Houston, TX 77095                      Odessa, TX 79768




Texas Glacier Ice                       Texas Gulf Bank                        Texas Health Credit Union
PO Box 1983                             1626 S Voss Rd                         4800 Grover Ave
Center, TX 75935                        Houston, TX 77057                      Austin, TX 78756




Texas Hot Oilers Inc                    Texas Hot Shot Company Inc             Texas Independent Expl Ltd
PO Box 1007                             PO Box 42406                           6760 Portwest Dr
Giddings, TX 78942                      Houston, TX 77242                      Houston, TX 77024




Texas Industrial Engine Inc             Texas Inland Corporation               Texas Land Petroleum Company LLC
PO Box 590                              PO Box 225                             3008 E Hebron Pkwy 110
George West, TX 78022                   Sulphur Springs, TX 754839906          Carrollton, TX 75010-4469
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Texas Land Royalty Company Ltd           Texas Litho                               Texas Location Contractors LLC
PO Box 52267                             10900 Roark Rd                            Tlc Acquistions Llc
Midland, TX 79710                        Houston, TX 77099                         PO Box 4499
                                                                                   Msc 600
                                                                                   Houston, TX 77210



Texas Measurement Service Supply         Texas Methodist Foundation                Texas Mutual Insurance Company
PO Box 3216                              7116 0353                                 6210 E Highway 290
Edinburg, TX 78540                       11709 Boulder Lane 10O                    Austin, TX 787231098
                                         Austin, TX 787261808




Texas Oil Distribution Development Inc   Texas Oil Gas Association                 Texas Oil Gas Corp
Dolphin 15021 Katy Fwy 400               304 W 13Th Street                         5555 San Felipe St
Houston, TX 77094                        Austin, TX 787011823                      Houston, TX 77056




Texas Olefins Company                    Texas Osage Royalty Pool                  Texas Pacific Land Trust
3 Riverway Suite 1500                    8602 Crownhill Blvd                       1700 Pacific Ave Ste 2770
Houston, TX 77056                        San Antonio, TX 78209                     Dallas, TX 75201




Texas Perforators Inc                    Texas Petroleum Investment Co             Texas Pipe And Supply Company Ltd
PO Box 5781                              5850 San Felipe Ste 250                   Carl Lenz
Kingsville, TX 78364                     Houston, TX 77057                         2330 Holmes Road
                                                                                   Houston, TX 77051




Texas Pride Trucking LLC                 Texas Pride Trucking Oil Field Srvcs      Texas Re Exploration L C
Monica Camacho                           31721 Blanco Road                         PO Box 1159
31721 Blanco Road                        Bulverde, TX 78163                        Fredericksburg, TX 78624-0079
Bulverde, TX 78163




Texas Reexploration Partners             Texas Royalties                           Texas Scottish Rite Hospital
PO Box 1159                              PO Box 3579                               For Crippled Children
Fredericksburg, TX 78624                 Midland, TX 79702                         2222 Welborn Street
                                                                                   Dallas, TX 75219




Texas SD Construction Inc                Texas Secretary Of State                  Texas Secretary Of State
PO Box 287                               James E Rudder Bldg                       PO Box 12887
Carthage, TX 75633-0287                  1019 Brazos St                            Austin, TX 78711-2887
                                         Austin, TX 78701




Texas Southern Crane Service LLC         Texas Star Hot Shot                       Texas State Bank
Elissa Faldet                            Dayna Sturgeon Burns Dba                  PO Box 1069
21358 County Road 1136                   1504 Snider Road                          Joaquin, TX 75954
Mathis, TX 78368                         Garrison, TX 75946




Texas State Bank Of San Angelo           Texas State Board Of Public Accountancy   Texas State Comptroller
2201 Sherwood Way                        333 Guadalupe                             Unclaimed Property Division
San Angelo, TX 76901                     Tower 3 Ste 900                           Holder Reporting Section
                                         Austin, TX 78701-3900                     PO Box 12019
                                                                                   Austin, TX 78711-2019
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Texas State Comptroller                 Texas State Treasury            Texas State Treasury Dept
Unclaimed Property Division             F/A/O Alisa Ward                F/A/O Mrs Tom Hughes Estate
Vpi Acquisition                         PO Box 12608 Capitol Station    Unclaimed Property Division
PO Box 12247                            Austin, TX 78711                PO Box 12019
Austin, TX 73301                                                        Austin, TX 78711-2019



Texas State Treasyrt Deot               Texas Supply Service LLC        Texas Sweetwater
F/A/O Nelldean Gathright                PO Box 3785                     PO Box 130936
Unclaimed Property Division             San Angelo, TX 76902            Tyler, TX 75713
PO Box 12019
Austin, TX 78711-2019



Texas T Compression Svc LLC             Texas Tech Loyalty Fund         Texas Tech University
105 Katy Street                         Texas Tech Univ                 PO Box 45025
Longview, TX 75605                      PO Box 45001                    Lubbock, TX 79409
                                        Lubbock, TX 79408




Texas Transco Inc                       Texas Trust Credit Union        Texas Unclaimed Property
PO Box 555                              317 S Main St                   F/A/O Hector Benavides
Cresson, TX 76035                       Mansfield, TX 76063             PO Box 12109
                                                                        Austin, TX 78711




Texas Veterans Land Board               Texas Workforce Commission      Texas Yale Capital Corp
For Acct Of Jeffery Mark Porter         101 E 15th St Rm 665            111 2nd Ave NE 503
PO Box 12873                            Austin, TX 78778-0001           St Petersburg, FL 33701
Austin, TX 78711-2873




Texastollways                           Texchem Drilling Fluids         Texco Partners Lp
PO Box 650749                           1017 Rr 620 S Ste 100           PO Box C
Dallas, TX 752650749                    Austin, TX 78734                Mexia, TX 76667




Texflow Oilfield Specialty Inc          Texflow Services Inc            Texican Crude Hydrocarbons LLC
397 Cr 142                              c/o National Bankers Trust      One Allen Center
Alvin, TX 77511                         PO Box 1752                     500 Dallas St Ste 1150
                                        Memphis, TN 381011752           Houston, TX 77002




Texie Nash                              Texie T Baldwin                 Texla Energy Management Inc
150 Pr 2125                             c/o Knuckols Duvall Hallum      1100 Louisiana St 4700
Marshall, TX 75672                      Co                              Houston, TX 77002
                                        PO Box 1315
                                        Marshall, TX 75670



Texlan Enterprises Ltd                  Texoma Corrosion Services Inc   Texoma Health Foundation
PO Box 8435                             111 Joni Ln                     5036 Reba Drive
Tyler, TX 75711-8435                    Kilgore, TX 75662               Denison, TX 75020




Texoma Oil Tools Inc                    Texon Energy Corp               Texon Lp
PO Box 4153                             5400 Lyndon B Johnson Freeway   11757 Katy Freeway Suite 1400
Wichita Falls, TX 76308                 Dallas, TX 75240-1000           Houston, TX 77079
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Texoz E P Iii Inc                      Tf Greeson Iii                     Tf Tank Services LLC
6700 Woodlands Pkwy Ste 230            PO Box 90                          1086 Shady Lane
Spring, TX 77382-2578                  Lisbon, LA 71048                   Hallsville, TX 75650




Tfi Resources                          Tforce Energy Services             Tg Enterprises
PO Box 4346                            3800 E 42nd St Ste 417             D/B/A True Value Of Rawlins
Dept 517                               Odessa, TX 79762-5928              600 West Maple Street
Houston, TX 77210-4346                                                    Rawlins, WY 82301




Tgg Pipeline Ltd                       Tgm Properties Inc                 Tgt LLC
12377 Merit Drive Suite 300A           PO Box 8637                        Enerquest Oil Gas Llc Poa
Dallas, TX 75251                       Fayetteville, AR 72703             12368 Market Drive
                                                                          Oklahoma City, OK 73114




Th Hill Associates Inc                 Th Hill Associates Inc             Thad C Smith
16800 Greenspoint Park Dr Ste 300S     7676 Hillmont                      12553 Fm 768N
Houston, TX 77060-2393                 Suite 360                          Jacksonville, TX 75766
                                       Houston, TX 77040




Thad H Reagan                          Thad R Moore                       Thaddeus C Miller
PO Box 26                              PO Box 4044                        802 Alice Street
George West, TX 78022                  South Padre, TX 78579              Jennings, LA 70546




Thaddeus Van Alen Holloman Est Trust   Thais Ray Soes                     Thalia C Wilkinson
John Bellett Trustee                   333 Texas St 602                   1342 Hwy 3072
c/o Gloria Arrechi                     Shreveport, LA 71101               Ruston, LA 71270
130 Crofton Avenue
San Antonio, TX 78210



Tharp Minerals Lp                      The 105 Mngmt Tr                   The 1998 Murphy Family Trust
200 Congress Ave Unit 19Ac             PO Box 11226                       Fbo Charles H Murphy Iii
Austin, TX 78701                       Midland, TX 79702                  Robert Martha Murphy Co Trst
                                                                          200 North Jefferson Suite 400
                                                                          El Dorado, AR 71730



The 1998 Murphy Family Trust           The 1998 Murphy Family Trust       The 1998 Murphy Family Trust
Fbo Martha W Murphy                    Fbo Michael W Murphy               Fbo Robert Madison Murphy
Robert Martha Murphy Co Trst           Robert Martha Murphy Co Trst       Robert And Martha Murphy
200 North Jefferson Suite 400          200 North Jefferson Suite 400      200 North Jefferson Suite 400
El Dorado, AR 71730                    El Dorado, AR 71730                El Dorado, AR 71730



The Ajax Investment Co                 The Albert G Talbot Jr Gst Tr      The Albert Miriam Sklar
R G Rorschach H E And/Or               Uwo A G Talbot Decd A M Nunley     Foundation
Margaret Rorschach Trust               Iii Michael T Morgan Co Ttee       Suite 1601
PO Box 3460                            PO Box 1032                        401 Edwards Street
Broken Arrow, OK 740133460             Midland, TX 79702                  Shreveport, LA 71101



The Aldredge Family Trust              The Alexa Jacobson Daily 2012      The Allar Company
PO Box 126230                          Family Trust Dtd 09/17/2012        PO Box 1567
Benbrook, TX 76126                     Candace G Jacobson Alexa J Daily   Graham, TX 76450
                                       PO Box 1090
                                       Roswell, NM 88202
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The Allar Group                        The Allison Adair Young Fam Rvc Liv Tr   The Allred Family Trust
PO Box 1567                            Allison Adair Young Ttee                 Ladee N Allred Mary Ann Allred
Graham, TX 76450                       Bank Of America Na Agent                 Trustees
                                       PO Box 840738                            PO Box 993
                                       Dallas, TX 75284-0738                    Thayne, WY 83127



The Alonzo Mather Foundation           The Alva Partnership LLLP                The Ann James Barlow Trust
1615 Hinman Ave                        8423 E Otero Cir                         PO Box 10460
Evanston, IL 60201                     Centennial, CO 80112                     Jackson, WY 83002




The Anthony Group                      The Ashby Family Trust                   The Augustus Neal Estate
c/o Mary G Ryan                        c/o John M Ashby Ava B Ashby Trustees    J R Patterson Receiver
10626 Fox Hound Ln                     9098 Stone Creek Drive                   c/o District Court Rusk Co Texas
Fredericksburg, VA 22407               Tyler, TX 75703                          115 N Main PO Box 1687
                                                                                Henderson, TX 75652



The B R Benavides Family Tr            The Ball Family Trust                    The Bank Of Nova Scotia
Belia R Benavides Trustee              c/o Michael G Ball Trustee               711 Louisiana St
PO Box 452009                          4025 Azure Way                           Suite 1400
Laredo, TX 78045                       Pensacola, FL 32507                      Houston, TX 77002




The Bank Of River Oaks                 The Bank Trust                           The Barcus Family Grantor Tr
2929 Kirby Dr                          101 S San Pedro St                       Douglas W Barcus Trustee
Houston, TX 77098                      Los Angeles, CA 90012                    Linda J Webb Trustee
                                                                                6240 Via De Adrianna
                                                                                San Jose, CA 95120



The Baymen Group LLC                   The Beery Trust                          The Billy R Joyce C Taylor Trust
2300 Hopedale Avenue                   PO Box 2558                              PO Box 9
Charlotte, NC 28207-2132               Houston, TX 77252                        Aledo, TX 76008




The Birchall Group LLC                 The Bishop Quin Foundation               The Blind Place Tyler
4009 Moultrie Foreside Blvd            Acct 15/568800 Nations Bank Of Texas     2700 A Hillside Dr
St Augustine, FL 32086                 PO Box 840738                            Tyler, TX 75707
                                       Dallas, TX 75284-0738




The Bobby O Jimmie E Dailey            The Boys Club Of America                 The Brackett Revocable Mineral Trust A
Revoc Liv Tr Dtd 11 5                  1275 Peachtree Street NE                 William Brackett
Bobby O Dailey Jimmy E Dailey Ttee     Atlanta, GA 30309-3506                   Trustee
12294 Lovers Lane                                                               100 Main Place
Larue, TX 757709614                                                             Fort Worth, TX 76102



The Brass Key Inc                      The Brenda S L Sutherland Exempt Trust   The Broadleaf Group
PO Box 182004                          8806 San Leandro Drive                   PO Box 12607
Arlington, TX 76096                    Dallas, TX 75218                         Alexandria, LA 71315




The Brown Badgett Fdtn Inc             The Brown Foundation Inc                 The Brownland Corporation
c/o Thomas Brown Badgett Jr Pres       PO Box 130646                            A Harris Brown President
PO Box 1271                            Houston, TX 77219-0646                   PO Box 2470
Madisonville, KY 42431                                                          Monroe, LA 71201
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The Burnett Foundation                The C R Hutcheson 1967 Trust               The C R Hutcheson 1967 Trust
801 Cherry Street                     Wells Fargo Bank Na Ttee                   Wells Fargo Bank Na Ttee
Unit 16 Ste 1500                      Acct 010515067500                          Acct 010515067500
Fort Worth, TX 76102-6881             PO Box 41779                               PO Box 1959
                                      Austin, TX 78704                           Midland, TX 79702



The Caddo Levee District              The Caldwell Foundation                    The Caroline Marbury Trust
PO Box 78282                          PO Box 4280                                114 North Trenton Street
Shreveport, LA 71137                  Tyler, TX 75712                            Ruston, LA 71270




The Carwile Oil And Gas Trust         The Catholic Charities Of                  The Cavins Corporation
Randall Patrick Carwile Tr            The Archdiocese Of New York                1800 Bering Drive
344 Brown Creek Rd                    1011 First Avenue                          Suite 825
Weatherford, TX 76085                 New York, NY 10022                         Houston, TX 77057




The Cavins Corporation                The Cecil Chestene Sharbutt Rev Liv Tr     The Center For Hearing And Speech
3701 Kirby Drive Ste 913              409 E Jackson                              3636 W Dallas
Houston, TX 77098                     Levelland, TX 79336                        Houston, TX 77019




The Ch Christine Mcdonald Tr          The Charles Curtis Mckinney                The Charles E Key Non Exempt Trust
c/o Argent Tr A Div Of Nitc           Family Partnership                         Charles E Key Trustee
PO Box 1410                           6558 Compton Court                         5010 91st Street 12
Ruston, LA 71273                      Frisco, TX 75034                           Lubbock, TX 79424




The Childrens Home Foundation         The Colorado College                       The Community Foundation Of
PO Box 2449                           Colorado College                           Shreveport Bossier
Lubbock, TX 79408                     14 E Cache La Poudre St                    401 Edwards St Ste 1111
                                      Colorado Springs, CO 80903                 Shreveport, LA 71101




The Compliance Group Inc              The Conference Group LLC                   The Cowtown
14884 Hwy 105 West Suite 100          254 Chapman Road                           PO Box 471332
Montgomery, TX 77356                  Topkis Building Suite 200                  Fort Worth, TX 76147
                                      Newark, DE 19702




The Cowtown Marathon Inc              The Cox Liv Tr Of 2010                     The Cristina G Levine Exempt Trust
PO Box 471327                         226 Elmwood Dr                             3724 Marlborough Court
Fort Worth, TX 76147-1267             Lafayette, LA 70503                        Plano, TX 75075




The Crosby Group LLC                  The Dale Gould And Vicki Mullins           The Daniela Willis Trust
Dept 2407                             Revocable Trust Uad 04/11/05               Martha J Ocejo De Willis Ttee
PO Box 122407                         Dale William Gould                         407 Trimble
Dallas, TX 75312-2407                 11771 Big Canyon Lane                      Saskatoon, SK S7W 0C9
                                      San Diego, CA 92131-4306                   Canada



The Darland Fam Rev Tr                The David F Sims And Marilyn Womack Sims   The Deanna Carter Seperate Property Tr
Bobby Susan J Darland Ttee            2005 Revocable Management Trust            961 Hudspeth St
8421 Denali Parkway Lot 1             David Marilyn Sims Ttees                   Simi Valley, CA 93065
Austin, TX 78726                      1116 Vista Trail
                                      Roanoke, TX 76262
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The Deas Company LLC                      The Devin James Hicks Trust               The Dewitt Walker Trust
PO Box 131953                             10508 L Boyer Blvd                        Northern Tr Na Successor Ttee
Houston, TX 77219                         Austin, TX 78758                          PO Box 226270
                                                                                    Dallas, TX 75222




The Dillon Fund                           The Directional Drilling Co               The Dismas House
1330 6Th Ave 27Fl                         Dept 158                                  1513 16th Ave S
New York, NY 100195422                    PO Box 4346                               Nashville, TN 37212
                                          Houston, TX 77210-4346




The Dobbins Family Trust                  The Doherty Family Trust                  The Donna Rose Lewis
Joyce B Dobbins                           Christopher Doherty Trustee               Revocable Trust Of 2011
2324 Westwood Court                       2513 Kensington Ave                       1865 7Th Ave
Baton Rouge, LA 70816                     Thousand Oaks, CA 91362                   Sacramento, CA 95818




The Dorothy G Lindholm Rev Living Trust   The Downtown Club Inc                     The Dugas Rev Living Tr Udt Oct 4 2001
Dorothy G Lindholm Trustee                340 West Dallas                           Jennifer A Dugas Trustee
222 Mistletoe Drive                       Acct Mrd00                                4046 Valle Del Sol
Richardson, TX 75081                      Houston, TX 77010                         Bonsall, CA 92003




The Econsortium Group Inc                 The Ella Mae Cherryhomes Real Estate Tr   The Ellzey Revocable Trust
6060 Richmond Rd                          7304 Monticello Ct                        Jan Thomas Robert F Ellzey Cotr
Suite 170                                 Granbury, TX 76049                        4100 Jackson Ave Apt 325
Houston, TX 77057                                                                   Austin, TX 78731




The Est Of Jody Arlene Baton              The Estate Of Lucille Cole                The Estate Of Mark A Chapman
Johnnye Ruth Baton Guardian               C/0 Daniel L Madden                       PO Box 450
15192 Fm 2276 N                           PO Box 18                                 Sealy, TX 77474
Kilgore, TX 756628175                     Kingsville, OH 44048




The Estate Of Mark Willis Dent            The Estate Of William L Hill              The Farley Machine Works Co
Alexander Dent Indpt Admin                Rhonda Hill Hamilton Ind Exe              4303 N Garfield St
24 Blanchard St Apt 2304                  17 Oak Forest Drive                       Suite 219
West Monroe, LA 71291                     Longview, TX 75605                        Midland, TX 79705




The Fasken Foundation                     The First Liberty Natl Bank               The First Presbyterian Church Of
PO Box 2024                               1900 Sam Houston St                       Midland TX
Midland, TX 79702                         Liberty, TX 77575                         800 W Texas Ave
                                                                                    Midland, TX 79701




The Foree Trust No 1                      The Fort Worth Club                       The Franklin Jones Family Part Ltd
Sterling Plaza Suite 1445                 306 West Seventh Street                   PO Box 1249
5949 Sherry Lane L B 57                   Fort Worth, TX 76102                      Marshall, TX 75671
Dallas, TX 75225




The Frost Foundation                      The Gallery Collection                    The Garbage Man Inc
511 Armijo                                Prudent Publishing                        PO Box 634
Suite A                                   PO Box 360                                Tyler, TX 75710
Santa Fe, NM 87501                        Ridgefield Park, NJ 07660-0360
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The Gasgun Inc                        The Gaye Kristen Bienvenu Min           The Genecov Group Inc
15927 Se 122nd Ave                    Int Tr G Bienvenu H Caven Jr Co Ttees   PO Box 132450
Clackamas, OR 97015                   c/o Hubbard Scott Caven Jr              Tyler, TX 75713-2450
                                      2169 Troon
                                      Houston, TX 77019



The General Council For               The George And Mary Josephine           The Gideons International
The Evangelical Children Home         Hamma Foundation                        Attn Timothy K Blankenship
8240 St Charles Rock Rd               3336 Richmond                           50 Century Boulevard
St Louis, MO 63114                    Suite 310                               PO Box 140800
                                      Houston, TX 77098                       Nashville, TN 37214-0800



The Gill Cemetary Association         The Gillian Brasfield Trust             The Gilly ChildrenS Trust
11345 Hwy 59 South                    Gillian Brasfield Trustee               Lionel E Gilly Trustee
Marshall, TX 75672                    5520 Old Bullard Rd Suite 119           5585 Caruth Haven Land 301
                                      Tyler, TX 75703                         Dallas, TX 752258157




The Glass Family Mineral Agcy         The Glass Glen Burnie Fndn              The Glass Glen Burnie Fndn
Acct F5079600 O G Tr T 6              Farmers National Company Agent          Farmers National Company Agent
Frost National Bank Agent             Oil And Gas Dept                        Oil And Gas Dept
PO Box 1600                           5147 S Harvard Ave Suite 110            5110 S Yale Ave Suite 400
San Antonio, TX 78296                 Tulsa, OK 74135                         Tulsa, OK 74135



The Gloria Brickman Trust 2           The Goodman Family Trust                The Goodman Family Trust Dtd 12/23/2013
Gloria Brickman Trustee               Bobby E Jeanette E Kuhn Goodman Ttees   Jim Jeannette Goodman Co Trustees
PO Box 7612                           PO Box 185                              1800 Rock Ridge Rd
Waco, TX 767147612                    Wellborn, TX 77881                      Lucas, TX 75002




The Guaranty Bank Trust Co            The H And S Drilling Company            The Hainesville Partnership
PO Box 351                            PO Box 701620                           4925 Greenville Avenue
Alexandria, LA 71301                  Tulsa, OK 74170                         Ste 818
                                                                              Dallas, TX 75206




The Hamill Foundation A Texas         The Hans J Gail A Thiele Fam Rev Tr     The Harold D Herndon Trust
Non Profit Corp                       Hans Gail Thiele Ttes                   Frost National Bank F5087800
1160 Dairy Ashford 250                35004 N Sunset Trail                    PO Box 1600
Houston, TX 77079                     Cave Creek, AZ 85331                    San Antonio, TX 78296




The Harrison Family Tr                The Hartford                            The Hassell 1989 Trust
Mary Suzanne Harrison                 PO Box 2907                             8324 W Charleston Blvd
6950 Park Slope                       Hartford, CT 06104-2907                 Unit 1004
Tyler, TX 75703                                                               Las Vegas, NV 89117




The Hatch Group Ltd                   The Hefner Company Inc                  The Helen Lee Annuity Trust
PO Box 171139                         PO Box 2177                             Van C Vernon Ttee
Salt Lake City, UT 84117-1139         Oklahoma City, OK 73101                 c/o Merrill Lynch
                                                                              300 N Marienfeld Suite 800
                                                                              Midland, TX 79701



The Helen Lee Foundation Inc          The Henderson Place Ltd                 The HH 1980 Trust
c/o Merrill Lynch                     c/o John R Locke Jr                     4180 Fm 1970
300 N Marienfeld Ste 800              100 W Houston St Ste 1452A              Carthage, TX 75633
Midland, TX 79701                     San Antonio, TX 78205
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The Hill Family ChildrenS Tr            The Hooper Family Trust Dtd 3/15/2005   The Hooper Trust No 1
17 Oak Forest Dr                        Mary Beth F Hooper Ttee                 James L Anderson Mark Hooper
Longview, TX 75605                      3101 Us Hwy 84 E                        Sam P Hoope Nancy K Anderson Reed
                                        Tenaha, TX 75974                        3101 Us Hwy 84 East
                                                                                Tenaha, TX 75974



The Horton Trust                        The Hudson Texas Mineral Trust          The Humane Society Of St Louis
Julie A Pelton Schurich Ttee            616 Texas St                            1210 Mackline Ave
120 S College Ave                       Fort Worth, TX 76102                    Saint Louis, MO 63110-1432
Tyler, TX 75702




The IS Of Texas Family Partnership Lp   The IS Of Tx Family Prtnshp             The J W Green Contractors Inc
12720 Hillcrest Road Suite 525          12720 Hillcrest Road                    PO Box 400
Dallas, TX 75230                        Suite 525                               Overton, TX 75684
                                        Dallas, TX 75230




The James Kangerga 2009 Trust           The James L Stripling Min Tru           The Jane Elizabeth Elwing Trst
U/A/I Dated June 26 2009                c/o James L Stripling Trustee           Jane Elizabeth Elwing Trstee
James Michael Kangerga Trustee          Burnett Plaza Suite 2000                Shirley Long Aif
102 E Main St                           801 Cherry Street Unit 46               619 Xenon Ct
Henderson, TX 75652-3184                Fort Worth, TX 76102                    Lakewood, CO 80228



The Jankovich Company                   The Jay William Baton Estate            The Jeff B And Gay Hoff Taylor
File 1106                               Johnnye Ruth Baton Guardian             Royalty Trust Co Trustees
1801 W Olympic Blvd                     3740 Cr 292 E                           PO Box 688
Pasadena, CA 91199-1106                 Kilgore, TX 75662                       Mineola, TX 75773




The Jesse H Oppenheimer Fam Trust A     The Jill A Lipari Exempt Trust          The Joan E Light Revocable Tr
J David Oppenheimer Trustee             10910 Cypresswood Drive                 Linda Bump Jeffrey T Light Co Ttee
2301 Broadway                           Houston, TX 77070                       801 Baseline Rd
San Antonio, TX 78215                                                           Boulder, CO 80302




The Joan Mann Trust 2004                The Joe Bob Anita J Tucker Rev Liv Tr   The John Byron And Coyladene C Mckean
Joan Mann Matthew Chow Ttees            Anita Tucker Ttee                       Revocable Living Trust
113 Longview Terrace                    1145 Janell Dr                          Frost National Bk Agt Fc297
Williamstown, MA 01267                  Irving, TX 75062                        PO Box 1600
                                                                                San Antonio, TX 78296



The John P Ellbogen Foundation          The John W Cynthia J Pride              The Johnson Family Lvg Tr Dtd 2/01/2003
PO Box 1735                             Revocable Living Trust                  PO Box 60
Casper, WY 82602                        PO Box 701950                           Pyatt, AR 72672
                                        Tulsa, OK 74170-1950




The Johnson Newlin Co Ltd               The Jones Family Trust                  The Jones Trusts
PO Box 94637                            PO Box 1249                             W A Hudson Ii Donna Nobles
Lubbock, TX 794934637                   Marshall, TX 75671                      Co Trustees
                                                                                PO Box 17105
                                                                                Fort Worth, TX 76102



The Joy Partners Ltd                    The Js Sk Siler Living Trst             The Kansas City Southern Railway Company
PO Box 576                              Jerry S Sandra Siler Ttees              36929 Treasury Center
Ardmore, OK 734020576                   PO Box 756                              Chicago, IL 60694-6900
                                        Henderson, TX 75653
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The King Family Trust                  The Koorie Management Tr                   The Law Office Of Craig Newman
Betty King Trustee                     Nancy Dominic Koorie Ttees                 PO Box 2310
8809 Carriage Dr                       3815 Rustic Arbour Ln                      Casper, WY 82602
San Antonio, TX 78217                  Sugar Land, TX 77498




The Leonard W Betty Phillips           The Light And Champion                     The Linda E L Gerson Exempt Trust
Foundation                             137 San Augustine St                       29 Holt Road
330 Marshall Street Suite 300          Center, TX 75935                           Amherst, NH 03031
Shreveport, LA 711013016




The Liv Tr Of Geneal Brummett          The Lois Heflin Partnership Ltd            The Long Trust
Geneal D Brummett Ttee                 Janette Heflin Gen Partner                 Larry T Long Trustee
3003 Fair Dawn Ct                      PO Box 1287                                PO Box 3096
Katy, TX 77450                         Monahans, TX 79756                         118 S Kilgore St
                                                                                  Kilgore, TX 75663



The Lottie Marie Davis Est Tst         The Louise L Marion Exempt Trust           The Luke And Silver Bell
Elton E Davis Trustee And              14584 Greenleaf Ct                         Motley Iii
Graham Deason Davis A I F              Addison, TX 75001                          Family Legacy Trust
1010 W Dallas St                                                                  209 Carroll Street
Canton, TX 751031012                                                              Center, TX 75935



The Lynn Talbot Gst Tr                 The Magnolia Trust                         The Marco Willis Trust
Uwo A G Talbot Decd A M Nunley         c/o John W Luster Trustee                  Martha J Ocejo De Willis Ttee
Iii Michael T Morgan Co Tte            1120 Williams Avenue                       407 Trimble
PO Box 1032                            Natchitoches, LA 71457                     Saskatoon, SK S7W 0C9
Midland, TX 79702                                                                 Canada



The Margie Limited Partnership         The Mark Edward Hitt Trust                 The Mary Burnham 2012 Liv Tr
c/o Simmons First Trust Co Na          c/o David G Hitt Bryan Hitt                Mary A Burnham Gregory Lynn
PO Box 992                             Fbo Mark Edward Hitt                       Chandler Steven Kyle Chandler Co Ttees
El Dorado, AR 71731                    1790 Karen                                 2122 Nob Hill
                                       Beaumont, TX 77706                         Carrollton, TX 75006



The Mary C Stephenson Trust            The Mason Dixon Lines Inc                  The Matthew L Renee G Pride
Mary C Stephenson Trustee              12755 East Nine Mile                       Revocable Living Trust
3908 Colgate Avenue                    Warren, MI 48089                           PO Box 701950
Dallas, TX 75225                                                                  Tulsa, OK 74170-1950




The Mcdaniel Company                   The Mckenzie Family Trust Uad 02/01/1994   The Me Too Trust
12900 Preston Rd                       William R Mckenzie                         c/o Mary Ann Robert E Davis Co Ttees
Suite                                  Cheryl L Mckenzie Ttees                    PO Box 2955
Dallas, TX 75230                       4550 E Wild Coyote Trl                     Victoria, TX 77902
                                       Tucson, AZ 85739-8721



The Merchants Bank                     The Meredith Foundation                    The Meridian Resource Exploration LLC
PO Box 1009                            Att Lou Wagner Trustee                     1401 Enclave Parkway 300
Burlington, VT 05402                   PO Box 117                                 Houston, TX 77077
                                       Mineola, TX 75773




The Michael C Barton And               The Michael Talbot Gst Tr                  The Mila J Murphy Living
Kathryn S Barton Revocable Tr          Uwo A G Talbot Decd A M Nunley             Trust Dated July 30 1996
1412 Keeneland Hill                    Iii Michael T Morgan Co Ttee               Mila J Murphy Tr
Aledo, TX 76008                        PO Box 1032                                1144 Manchester Dr
                                       Midland, TX 79702                          Santa Clara, CA 95050
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The Mint National Bank                   The Modesta Stokes Estate Trust Tx        The Modesta Stokes Gst Trust
1213 Kingwood Dr                         F/B/O Modesta S Williams                  F/B/O Wade B Simpson
Kingwood, TX 77339                       6 Desta Drive Suite 3000                  6 Desta Drive Suite 3000
                                         Midland, TX 79705                         Midland, TX 79705




The Nasdaq Omx Group LLC                 The Nasdaq Stock Market LLC               The National Bank Of Andrews
One Liberty Plaza                        Lbx 20200                                 1501 N Main St
New York, NY 10006                       PO Box 780200                             Andrews, TX 79714
                                         Philadelphia, PA 19178-0200




The National Multiple                    The New England College Of Optometry      The Newman Corporation
Sclerosis Society                        424 Beacon St                             PO Box 376
5150 Goldleaf Cir 400                    Boston, MA 02115                          Harleton, TX 75651
Los Angeles, CA 90056




The Nobles Family Trust                  The Nordan Trust                          The Norman GrandchildrenS
Adrienne And Mark Nobles Co Trsts        c/o Louis Belinsky Trustee                Educational Tr
5322 Preston Haven Drive                 8000 Ih 10 West Ste 705                   PO Box 127
Dallas, TX 75229                         San Antonio, TX 78230                     West Monroe, LA 71294




The Northern Trust Company               The Northwestern Mutual Life              The Nunnelly And Joan Sims Tst
50 South La Salle Street                 Insurance Company                         Joan G Sims Successor Trustee
Chicago, IL 60603                        PO Box 3007                               16154 Main Avenue Se 229
                                         Milwaukee, WI 53201-3007                  Prior Lake, MN 55372




The O H Griffith Family Ltd              The Oaks Group                            The Observer/Enterprise
A Tx Ltd Ptn Rep By Its Gen Prtnrthe     Diana Acosta                              PO Box 1329
Oran H Griffith Mgmt Tr Dtd 10/11/1996   11511 Katy Freeway Suite 605              Robert Lee, TX 76945
231 Faubion Drive                        Houston, TX 77079
Georgetown, TX 78628



The Ofelia M Guerra Fmly Lp              The Office of the United States Trustee   The One Foundation
Merrill Lynch Acct 592 07584             for Region 7                              Bank One Trust Company N A
200 Concord Plaza Drive 100              515 Rusk Street Suite 3516                Trustee
San Antonio, TX 78216                    Houston, TX 77002                         PO Box 99084
                                                                                   Fort Worth, TX 76199



The Overton 1990 Childrens Tst           The Packard Fund                          The Paige Elizabeth Prince Tst
Trusts Agreement Dtd 10/9/90             PO Box 1015                               John Patton Trustee
Robin Overton Sengelmann Ttee            Midland, TX 79702                         1784 County Road 505
1415 South Voss Ste 110 100                                                        Bayfield, CO 81122
Houston, TX 77057



The Paint And Safety Store Inc           The Panola Watchman                       The Paradigm Alliance Inc
201 S Benton St                          109 W Panola                              PO Box 9123
Big Spring, TX 79720                     Carthage, TX 75633                        Wichita, KS 67277




The Park Nationa                         The Paula Starr Barovetto Liv             The Penny Delle Chrisman Trust
The Park National Bank                   Tr                                        532 West 2350 South
Attn Trust Department                    PO Box 1157                               Perry, UT 84302
50 N Third St PO Box 3500                Eagle Point, TX 97524
Newark, OH 43058-3500
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The Peoples Bank                           The Perkins Family Trust             The Petroleum Synergy Group
Bridgeport Center                          U/W/O Tillman Porcher Perkins DecD   980 Caughlin Crossing
850 Main Street                            Norma Jean Clem Perkins Ttee         Suite 102
Bridgeport, CT 06604                       305 Montclair                        Reno, NV 89509
                                           Longview, TX 75601



The Pfanenstiel Company LLC                The Pfanenstiel Company LLC          The Piney Woods Country Life School A
Independent Bank                           PO Box 12928                         Mississippi Non Profit Corporation
Attn Energy Lending                        Oklahoma City, OK 73157              Office Of Business Affairs
2100 Mckinney Ave Ste 1200                                                      PO Box 57
Dallas, TX 75201                                                                Piney Woods, MS 39148



The Population Institute                   The Print Place                      The R Beck Family Trust
Attn John E Lawson Jr                      7913 Mcpherson Rd Ste 111            720 Via Zapata
107 2nd Street Ne                          Laredo, TX 78045                     Riverside, CA 92507
Washington, DC 20002




The Ragtop Joint Living Trust Dtd 2/8/05   The Rathole LLC                      The Rebecca Reinhart Haney Tst
James O Myrna Ellington Cotr               PO Box 1053                          Rebacca Haney Trustee
10000 Soriano St                           Joseph, OR 97846                     PO Box 1427
Denton, TX 76207-6691                                                           Kennedale, TX 76060




The Republic Group                         The Research Factory                 The Retrieve Company
PO Box 809061                              604 South Wolcott                    PO Box 22266
Dallas, TX 753809061                       Casper, WY 82601                     Houston, TX 77227




The Robert A Youngblood Ii Tr              The Roger A Key Non Exempt Trust     The Rosine Blount Mcfaddin Mineral Trust
Robert A Youngblood Ii Trustee             Roger A Key Trustee                  c/o Wilson Investments
6027 Fm 225 South                          4624 94Th Street                     2615 Calder Ave Suite 1050
Henderson, TX 75654                        Lubbock, TX 79424                    Beaumont, TX 77702




The Rowland Group Series LLC               The Roxy White Trust                 The Royal Arch Chapter Of Tx
3851 S 103 E Ave                           Roxy P White Trustee                 Fbo The Home For Aged Masons
Tulsa, OK 74146                            3521 Fr 3310 S                       Mr Kirby Rudisill Admin
                                           Henderson, TX 75652                  1501 West Division
                                                                                Arlington, TX 76012



The Royal Bank of Scotland plc             The Roye Boys Partnership            The Ryan Connelly LLC
36 St Andrew Square                        PO Box 3714                          Managing Member David W Ryan
Edinburgh                                  Midland, TX 79702                    William E Ryan
United Kingdom                                                                  141 S Humboldt Street
                                                                                Denver, CO 80209



The Saltire Foundation Ltd                 The Salvation Army                   The Sam T Boltz Family Trust
Tic University Of Strathclyde              440 West Nyack Rd                    509 Princeton Dr
624 99 George Street                       West Nyack, NY 10994                 Tyler, TX 75703
Glasgow G1 1RD
United Kingdom



The Sam W Lane Jr Trust                    The Santa Rosa Childrens             The Sarah B Ringer Tr Uad 02 08 2010
Sam W Lane Jr Trustee                      Hospital Foundation                  Sarah B Ringer Ttee
PO Box 312                                 343 W Houston Ste 505                3 Emerald Trail
Center, TX 75935                           San Antonio, TX 78205                Cody, WY 82414
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The Seale Trust                         The Semler Living Trust            The Sherwin Williams Co
50 South La Salle Street                G I Semler M E Rauch To Ttee       2215 Highway 79 S
Chicago, IL 60603                       Genevieve I Semler Co Ttees        Henderson, TX 75652-4409
                                        4964 Telegraph Rd 210
                                        Ventura, CA 93003



The Shirley P Reeder Trust              The Shriners Hospital              The Shuttlesworth Corp
3955 E Ellsworth Avenue                 For Crippled Children              PO Box 108
Denver, CO 80209                        c/o Northern Trust Bank Of Texas   Troup, TX 75789
                                        PO Box 226270
                                        Dallas, TX 75222



The Signworks Inc                       The Simons Family Foundation       The Sky Room
150 Clearbrook Road                     4295 San Felipe Suite 207          40 South Locust Ave
Elmsford, NY 10523                      Houston, TX 77027                  Long Beach, CA 90802




The Spellman Family Tr U/T/D 09/13/00   The Standard                       The Standard Register Company
Richard L Spellman                      PO Box 82622                       PO Box 840655
Esther L Spellman Co Ttees              Lincoln, NE 68501-2622             Dallas, TX 75284-0655
873 Faith Street Northeast
Palm Bay, FL 32905



The Stella Neal Estate                  The Stephanie Stewart Lvng Tst     The Suazo Legal Group
J R Patterson Receiver                  Stephanie Stewart Trustee          1735 Man O War St Se
c/o District Court Rusk Co Texas        PO Box 19509                       Albuquerque, NM 87123
115 N Main PO Box 1687                  Shreveport, LA 711490509
Henderson, TX 75652



The Summerlee Foundation                The Supply Store Inc               The Susan Shook Trust
5556 Caruth Haven Lane                  132445 Lovington Hwy               Susan Shook Trustee
Dallas, TX 752258146                    PO Box 4                           13726 Vista Del Lago Blvd
                                        Loco Hills, NM 88255               Clermont, FL 34711




The Susko 2007 Family Trust             The Tate Trust                     The Taurus Corporation
Uad 09/07/2007                          Donald E Chapin Trustee            c/o Robert B Payne Jr
Monika Susko Ttees                      PO Box 2280                        PO Box 1477
419 Cherry Avenue                       Casper, WY 82602                   Little Elm, TX 75068-1477
Los Altos, CA 94022-1619



The Taurus Corporation                  The Termo Company                  The Terry S Key Non Exempt Trust
PO Box 1477                             c/o F W Combs Agent                Terry S Key Trustee
Little Elm, TX 75068-1477               PO Box 2767                        9305 Salisbury Avenue
                                        Long Beach, CA 90801               Lubbock, TX 79424




The Thagard Mineral Prtrshp Lp          The Thompson Family Mineral Tr     The Thrasher Marital Trust
8204 Marina Vista Circle                George Thompson Iii Ttee           J W Thrasher Jr Trustee
Leander, TX 78641                       c/o George Thompson Iv             PO Box 340
                                        5020 Collinwood Ste 300            Monahans, TX 79756
                                        Fort Worth, TX 76107



The Treat Em Rite Corporation           The Tuttle Mineral Trust           The United Capital Fund Inc
PO Box 214                              PO Box 548                         c/o TX United Methodist Coll Asso
Pearsall, TX 78061                      White Oak, TX 75693-0548           1 Mcmurry University 206
                                                                           Abilene, TX 79697
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The University Of Texas                  The University Of Texas At Austin Bureau   The University Of Texas System
System University Lands                  Core Research Fund                         Board Of Regents
PO Box 553                               Bureau Of Economic Geology                 PO Box 553
Midland, TX 79702                        University Station Box X                   Midland, TX 79702
                                         Austin, TX 78713-8924



The University Of Texas System           The University Of Wyoming                  The University Of Wyoming Foun
Board Of Regents                         Foundation                                 222 S 22nd St
John F Funk Fund                         222 S 22nd St                              Attn Mary Ann Garman
PO Box 551                               Laramie, WY 82070                          Laramie, WY 82070
Midland, TX 79702



The University Of Wyoming Foundation     The Unopened Succession Of                 The Video Editor Inc
1200 East Ivinson Ave                    Jonathan Michael Colvin                    4500 Campus Dr Ste 310
Laramie, WY 82070                        6127 Highway 822                           Newport Beach, CA 92660-8821
                                         Dubach, LA 71235




The Walke Limited Partnership            The Wall Street Journal                    The Wall Street Transcript
206 Potter Lane                          200 Burnett Road                           622 Third Avenue 34Th Floor
Georgetown, TX 786335182                 Chicopee, MA 01020                         New York, NY 10017




The Walt Family Trust                    The Ward Family Partnership                The Ward Trust Dated 7 12 91 Or
c/o Stephens Inc                         George Barry Ward Mng Partner              Texas Comptroller Of Public Acct
Acct No 624020906                        3330 Cr 2321                               Unclaimed Property Division
111 Center Street                        Sulphur Springs, TX 75482                  PO Box 12019
Little Rock, AR 72201                                                               Austin, TX 78711-2019



The Wardlow W Lane Ii Trust              The Webb Family Trust                      The Webb Law Firm
Wardlow W Lane Ii Trustee                12366 W Milton Dr                          420 Fort Duquesne Blvd 1200
PO Box 787                               Peoria, AZ 85383                           Pittsburgh, PA 15222
Center, TX 75935




The Welch Family Trust Dated 8/20/98     The Welland Company Inc                    The William K Stripling 2004 Rev Trust
Charles L Welch Sharon Welch             Mike Mapes                                 C/O William K Stripling Tstee
Trustees                                 1035 Susan Street                          4828 Mill Run Road
16023 North Charpiot Lane                Coupeville, WA 98239                       Dallas, TX 75244
Humble, TX 77396



The Wilson Fair Henderson Family Trust   The Winburn Family Tr                      The Woolworth Foundation
1166 Sam Page Road                       c/o Bank Of Fayetteville                   PO Box 501
Longview, TX 75605                       Attn Tr Dept                               Shreveport, LA 71101
                                         PO Box 1728
                                         Fayetteville, AR 72702



The Workingmans Outfitter LLC            Thed Easleys Inc                           Theda I Freeman
PO Box 268                               Dba EasleyS Crane Wrecker Services         PO Box 2005
Kilgore, TX 75663-0268                   5185 North Us Hwy 69                       Lancaster, CA 93539
                                         Lufkin, TX 75904




Thelma Avlon Keen                        Thelma B Moreno                            Thelma Bettes
3211 Norma Dr                            10737 Patron Loop                          4546 South Lawler
Longview, TX 75604                       Laredo, TX 78045                           Chicago, IL 60638
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Thelma C Fisher                         Thelma Chism Warren                       Thelma Dodd Peterson
11900 Barryknoll Ln Apt 2102            512 West Country Club Road                PO Box 1937
Houston, TX 77024                       Hallsville, TX 75650-6078                 Mableton, GA 30126




Thelma Gray                             Thelma Harrison Shows                     Thelma Jean Fowler
c/o Bonnie Benson                       489 Albany                                6110 V S Highway 69 North
21502 Gentry                            Shreveport, LA 71105                      Colmesneil, TX 75938
Cypress, TX 77429




Thelma Jean Lay                         Thelma L Tinsley Brewster                 Thelma Mayfield Davis
1528 Bourdeaux                          4640 Highway 544                          717 Second Ave
Ruston, LA 71270                        Simsboro, LA 71275                        Ruston, LA 71270




Thelma Miller Mcpherson                 Thelma N Buchanan                         Thelma Petty Mogens Hoy
Rr 4 Box 148                            1918 Willis Dr                            3855 Baltimore
Laporte, IN 46350                       Longview, TX 75601                        Shreveport, LA 71106




Thelma Roberson Bobb Sep Prop           Thelma Ruth Montgomery                    Thelma Watts Hammock
13952 Highway 151                       24 Morgan Valley Dr                       708 Cedar Street
Arcadia, LA 71001                       Vilonia, AR 72173-9683                    Ruston, LA 71270




Thelma Williams Morris                  Thelma Y Bonnie Buchanan                  Themistocles Inc
16 Harrison Street                      2532 Wabash Circle                        Co Sanguine Gas Exploration
Poughkeepsie, NY 12601                  Sparks, NV 89434                          PO Box 700720
                                                                                  Tulsa, OK 74170-0720




Theo Anne Keffeler Chadder              Theo Kit Carson                           Theodis Williams
26 West Dry Creek Circle 470            700 Old Mt Dora Rd                        1106 Dicks Store Rd
Littleton, CO 80120                     Eustis, FL 32726                          Ruston, LA 71270




Theodora Long Hodges SurvivorS Trust    Theodora Perkel                           Theodore A Peterson
1261 Campus Dr                          2141 Fox Avenue                           PO Box 2118
Berkeley, CA 94708                      Madison, WI 53711                         Welcome, NC 27374




Theodore B Holloway Jr                  Theodore G Doherty                        Theodore G Mays
287 Smithville Rd                       7859 W Caley Dr                           929 Green Hill Rd
Springhill, LA 71075                    Littleton, CO 80123                       Dallas, TX 75224




Theodore Holloway                       Theodore Holloway Admin For               Theodore Maceo Reed
657 Smithville Rd                       The Est Of Mollie Helen Holloway Sewell   802 Flood Street
Sarepta, LA 71071                       657 Smithville Road                       Wichita Falls, TX 76301
                                        Sarepta, LA 71071
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Theodore Q Gustafson                   Theodosia M Nolan               Theodosia M Nolan Roddy
And Wife Elvinia Gustafson             200 N Jefferson Ave Ste 308     200 N Jefferson Ste 308
3726 Waterloo Dr                       El Dorado, AR 71730-5853        El Dorado, AR 71730
Corpus Christi, TX 78415




Theola Sims Corley                     Theora Adams                    Theresa A James
209 Roy St                             2852 Stoner Ave                 13523 Venice Villa Lane
Apt 1                                  Los Angeles, CA 90064           Sugar Land, TX 77498
Minden, LA 71055




Theresa A Mize                         Theresa Adams                   Theresa Ann Clemens Ferguson
3754 Cr 3322                           2904 Milton                     10312 Blackberry St
Greenville, TX 75402                   Shreveport, LA 71109            Mckinney, TX 75070




Theresa Ann Covington Powell           Theresa C Parker                Theresa Cahill
3707 Cooper Lane                       511 Audubon Drive               1400 Mesa Ave
Texarkana, TX 75503                    Ruston, LA 71270                Ruston, LA 71270




Theresa Dunn Caldwell                  Theresa Elliott                 Theresa Franks
6111 Singing Hills                     Unclaimed Money Fund            4054 Nw Loop
Dallas, TX 75241                       PO Box 12608 Capitol Stat       Carthage, TX 75633
                                       Austin, TX 78701




Theresa Hawk                           Theresa Hill Younger            Theresa Hunter
PO Box 311                             214 Penn Ave                    111 Berwick Lakes Blvd
Sibley, LA 71073                       Grambling, LA 71245             Pooler, GA 31322




Theresa Lewis Moore Wyatt              Theresa Lureman                 Theresa Lynette Walker
273 Houston Road                       c/o Frederick Lureman           510 Tallant Street
Ruston, LA 71270                       413 David Ave                   Houston, TX 77076
                                       Joliet, IL 60433




Theresa Lynn Hester                    Theresa M Copeland              Theresa M Kundysek
PO Box 441                             9508 State Hwy 64 W             PO Box 201145
Ben Wheeler, TX 75754-0441             Overton, TX 75684               Arlington, TX 760068108




Theresa Maria Banks                    Theresa Mary Omar               Theresa Nadolski
6155 S Marshfield Ave 2                2403 Stirrup Ct                 2835 North 67Th Street
Chicago, IL 60636                      Walnut Creek, CA 94596-6526     Milwaukee, WI 53210




Theresa Paparone                       Theresa Pawelek                 Theresa Sue Prior
1 N Jackson Ave                        1661 Cr 254                     2402 U S 59 South
Atlantic City, NJ 08401                Hobson, TX 78117                Carthage, TX 75633
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Theresa Wisda                              Thermal Exploration             Thermon Patterson
Pmb 6932                                   PO Box 1869                     13135 Highway 4
PO Box 2428                                Seattle, WA 98111               Castor, LA 71016
Pensacola, FL 32513




Theron J Dunn                              Theron Lee Johnson Sr Revoc     Theta
PO Box 85                                  Living Trust Dated 8/21/1996    PO Box 731948
Simsboro, LA 71275                         5915 Mariposa Drive             Dallas, TX 75373
                                           Holiday, FL 34690




Theta Mechell Spigner Moore                Theta Oil Field Services Inc    Theway Corp
c/o Texas Comptroller Of Public Accounts   Christy Kukula                  PO Box 33124
Unclaimed Property Division                3075 E Imperial Hwy Suite 125   Tulsa, OK 74153-1124
PO Box 12019                               Brea, CA 92821
Austin, TX 78711-2019



Thilye Rinke                               Third Coast Plug Supply         Thistle Lands LLC
Address Redacted                           6730 Leopard                    PO Box 216
                                           Corpus Christi, TX 78409        Homer, LA 71040




Thoburn Taggart Jr                         Thoman Backhoe Service Inc      Thomas A Calhoun
7373 E 29Th St N Apt E216                  PO Box 5                        3801 Creswell
Wichita, KS 67226                          La Barge, WY 83123              Shreveport, LA 71106




Thomas A Calhoun LLC                       Thomas A Childress              Thomas A Hogan
Tac Real Estate                            3066 Simon Dr                   4725 Highway 80 West
3805 Gilbert Dr                            Orange, TX 77632                Calhoun, LA 71225
Shreveport, LA 71104




Thomas A Mary Lou Newlen                   Thomas A Obenchain              Thomas A Obenchain Mgmt Trst
304 Pinecrest Dr                           4707 Bluffview Blvd             Thomas A Obenchain Trustee
Arcadia, LA 71001                          Dallas, TX 75209                PO Box 25573
                                                                           Dallas, TX 75225




Thomas A Ramsey                            Thomas A Reece                  Thomas A Sikes
111 West Ocean Blvd                        Address Redacted                PO Box 5279
19Th Floor                                                                 Austin, TX 78763
Long Beach, CA 90802




Thomas A Sims                              Thomas A Verhalen Deceased      Thomas A Woodard Jr
5237 E Ocean Blvd Apt 4                    c/o Sandra Verhalen             427 Wilder Pl
Long Beach, CA 90803                       1209 Green Ave Apt 318          Shreveport, LA 71104
                                           Gillette, WY 82716




Thomas Alan Brace                          Thomas Allen Daniel Jr          Thomas Allen Futch
300 N Boradway                             3918 Timberwood Dr              3944 Brinton Place
Azle, TX 76020                             Nacogdoches, TX 75965           Charlotte, NC 28226
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Thomas Allen Richardson Jr             Thomas And Angela Ryder         Thomas Anthony Williams
PO Box 8504                            1020 Booker Loop Road           PO Box 1022
Bossier City, LA 71113                 Mansfield, LA 71052             Pinehurst, TX 77362




Thomas Arlis Carlton Iii               Thomas B Ayers                  Thomas B Hamlin
8127 Lakewinds Dr                      17520 Muirfield Drive           4140 Canal Road
Harriso, TN 37341-9646                 Dallas, TX 75287                Lake Oswego, OR 97034




Thomas B Lawson Estate                 Thomas B Lawson Iii             Thomas B Mcclain
1119 Jaquar Cir                        42080 Jefferson Dr              c/o Elaine Kimbrough
Gulf Breeze, FL 32561                  Hammond, LA 70403               PO Box 1200
                                                                       Lockhart, TX 78644




Thomas B Richardson                    Thomas B White Jr               Thomas B Wynne Jr
1382 Newtown Langhorne Rd              6111 Cypress Way                PO Box 56685
Apt J 213                              Magnolia, TX 77354              Houston, TX 77256
Newtown, PA 189402401




Thomas Barnes Pamela R Mcgehee Jones   Thomas Beers                    Thomas Boyd Ramey Jr
2500 Hillside                          572 Poli Street                 PO Box 8023
Ruston, LA 71270                       Ventura, CA 93001               Tyler, TX 75711




Thomas C Bradley                       Thomas C Colvin                 Thomas C Colvin Usufruct
Aif For Bonnye C Bradley               1500 Hwy 563                    1500 Hwy 563
3210 Sinclair                          Dubach, LA 71235                Dubach, LA 71235
Midland, TX 79705




Thomas C James                         Thomas C Lewis Iii              Thomas C Merritt Childrens Tst
Address Redacted                       5731 Lakefront Drive            118 N Kilgore St
                                       Shreveport, LA 71119            Kilgore, TX 756625822




Thomas C Merritt Trust                 Thomas C Sherry L Rogers        Thomas C Tyrrell
Thomas C Merritt Trustee               6611 Whiterock Dr               145 West 93Rd Street
PO Box 3245                            Casper, WY 82604                Apartment 1
Kilgore, TX 756633245                                                  New York, NY 10025




Thomas C Warren Estate                 Thomas Calvin Hazlewood         Thomas Carlyle Group LLC
3900 S Inwood                          1500 W Henderson St             Mary E Calhoun Member
New Orleans, LA 70131                  Cleburne, TX 76033              929 Lew Boulevard
                                                                       St Augustine, FL 32080




Thomas Cates Ford                      Thomas Clayton Williams         Thomas Community Trust Co
3412 Hwy 75 North                      4510 Hyridge Drive              c/o Northern Trust Na
Huntsville, TX 77320                   Austin, TX 78759                PO Box 226270
                                                                       Dallas, TX 75222-6270
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Thomas Corbin                              Thomas Cordell Scott          Thomas Corley
561 Fcr 381                                1172 55Th Street              607 Decaw St
Oakwood, TX 75855                          Suite 204                     Bronte, TX 76933
                                           Delta, BC V4M 4C3
                                           Canada



Thomas Craig Hill Individually             Thomas Crane Trucking Co      Thomas Cranfill Campbell
3212 Flower Reef Circle                    PO Box 640                    5949 Sherry Lane Suite 1205
League City, TX 77573                      Huntington Beach, CA 92648    Dallas, TX 75225




Thomas D And Lezelle Seago Revocable Liv   Thomas D Carey Et Ux          Thomas D Currier
118 Wood Creek Dr                          Sherry Lynn Johnson Carey     9 N Moore St 2
Piedmont, SC 29673-9786                    PO Box 214                    New York, NY 10013
                                           Ruston, LA 71273




Thomas D Ridgeway Judy Ridgeway            Thomas David Seago            Thomas David Wiggins
3023 Amos Road                             Deceased                      5145 Canary Ct
Longview, TX 75602                         613 Turner Drive              Las Cruces, NM 88007
                                           Trinidad, TX 75163




Thomas Davidson Jr Separate Proerty        Thomas Dhu Dowling            Thomas Dial Harris
108 Montgomery Dr                          316 Meadowood Drive           4627 N 136Th St
Lafayette, LA 70506                        Gardendale, AL 35071          Omaha, NE 68164




Thomas Dove                                Thomas Duncan Lawson          Thomas E Baker Ii
2758 E Landers Rd                          c/o Texas State Treasury      PO Box 632768
San Angelo, TX 76985                       Unclaimed Property Division   Nacogdoches, TX 75963
                                           PO Box 12019
                                           Austin, TX 78711-2019



Thomas E Baker Ii Revocable Trust          Thomas E Bradley              Thomas E Dunn
PO Box 632768                              1914 Samuel Drive             5602 Old Brownsville Rd
Nacogdoches, TX 75963-2768                 Monroe, LA 71202              Corpus Christi, TX 78417




Thomas E Fletcher                          Thomas E Frasier Jr           Thomas E Hansen
R312 North 26Th                            202 Hedge Hill Dr             3909 Azure Ln
Artesia, NM 88210                          Calhoun, LA 71225-8723        Addison, TX 75001-3106




Thomas E Jackson Jr                        Thomas E Lee                  Thomas E Marshall Iii
5004 Wilton Drive                          1904 Ashland                  23177 State Hwy Aa
Monroe, LA 71202                           Ruston, LA 71270              Greentop, MO 63546




Thomas E OByrne                            Thomas E Peebles Iii          Thomas E Strain Jr
3531 S Logan St D 148                      912 Walnut                    350 Johns Bluff Cir
Englewood, CO 80113                        Ranger, TX 76470              Shreveport, LA 71106-4733
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Thomas E Sumlin Jr                     Thomas E White                   Thomas E Woodward Est
3333 61st St                           1899 Beach Blvd 206              Larry D Allen Esq Succ Pers Rep
Port Arthur, TX 77640                  Biloxi, MS 39531                 PO Box 166
                                                                        Canon City, CO 81212




Thomas E Young                         Thomas E Zieger                  Thomas Earl Pierce
1150 Ross Clark Circle                 7487 Rosebud Lane                c/o Tx Comptroller Of Public Acounts
Dothan, AL 36301                       Cape Charles, VA 23310           Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019



Thomas Earl Vick                       Thomas Early Wood                Thomas Edroe Pesnell
2455 Arrowood Rd                       1239 Old River Road              795 Burgessville Road
Gilmer, TX 75644                       Petal, MS 39465                  Ruston, LA 71270




Thomas Edward Birdsong                 Thomas Edward Ford               Thomas Edward Priscilla Oxford Ford
2817 Bain Place                        674 Mitcham Orchard Rd           674 Mitcham Orchard Rd
Tyler, TX 75701                        Ruston, LA 71270                 Ruston, LA 71270




Thomas Edward Rhymes                   Thomas Eley Beller               Thomas Eley Beller Rev Trust
3069 County Road 152                   2441 High Timbers Dr Ste 100     Law Office Of Michael C Beller
Eureka Springs, AR 72632-8953          Spring, TX 77380-1052            2441 High Timber Drive
                                                                        Suite 100
                                                                        The Woodlands, TX 77380



Thomas Energy Services LLC             Thomas Ewell Escoe Iii           Thomas F Francis
Nam Contracts                          1804 Oak Ridge St                809 Paisley Ln
1325 Dairy Ashford Room 310            Hideaway, TX 75771               Red Oak, TX 751548868
Houston, TX 77077




Thomas F Hewes                         Thomas F Hogan Iii Exmpt Trust   Thomas F Martin Jr
2018 18Th Street                       Thomas F Hogan Iii Trustee       3320 Mangana Hein Rd
Gulfport, MS 39501                     715 Wiltshire Ave                Box 5 Compartment 9
                                       San Antonio, TX 78209            Laredo, TX 78046




Thomas F Martin Jr Trust               Thomas F Stroock Trust           Thomas Family Minerals LLC
Thomas F Martin Trustee                Dtd 6 29 89 Margaret Mary        c/o Argent Property Services Llc
PO Box 430184                          Stroock Successor Trustee        PO Box 1410
Laredo, TX 78043                       635 South Monroe Way             Ruston, LA 71273-1410
                                       Denver, CO 80209



Thomas Family Trust                    Thomas Fisher Key                Thomas Frazier Walker
Electra T Harelson Succ Ttee           PO Box 20217                     542 25Th St Apt 102
5627 Bryn Mawr Drive                   Seattle, WA 98102                Oakland, CA 94612
Dallas, TX 75209




Thomas Frederick Martin Sr             Thomas Fryman                    Thomas G Durisoe
3220 Mangana Hein Rd                   708 Quail Lane                   4910 Fm 856
Box 5 Compartment 9                    Whitehouse, TX 75791             Troup, TX 75789
Laredo, TX 78046
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Thomas G Prothro                         Thomas G Richard                    Thomas G Russell Trust
6855 Oak Hill Blvd                       10001 Brookshore Lane               c/o Dorothy S Russell And
Tyler, TX 75703                          Pearland, TX 77584                  Mbank El Paso Co Trstees
                                                                             PO Box 1072
                                                                             El Paso, TX 79958



Thomas G Wright                          Thomas Garland                      Thomas Garrett
Rr 1 Box 1A                              749 Church Street                   Address Redacted
Terrell, TX 75160                        Sarepta, LA 71071




Thomas Gatewood Lackey                   Thomas George Vincent Eddleman      Thomas Glen Crawford
96 Woodward Dr                           3780 Copperfield Dr Apt 523         4307 Indigo Dr
Pagosa Springs, CO 81147-9001            Bryan, TX 77802-5881                Killeen, TX 76542-4622




Thomas Gray Associates Inc               Thomas Gregory Lawrence             Thomas Grey Jackson
1205 West Barkley Ave                    4714 Edgewood Dr                    602 Mccormick St
Orange, CA 92868 -1214                   New Bern, NC 28562                  Shreveport, LA 71104




Thomas H Allen                           Thomas H Barret                     Thomas H Colvin Margaret Joyce Colvin
505 C V Mosley Blvd                      2003 Carriage Hills Blvd            1500 Hwy 563
Lyons, GA 30436                          Conroe, TX 77384                    Dubach, LA 71235




Thomas H Finch                           Thomas H Fleeger Revoc Min Int Tr   Thomas H Miller Jr
1865 Lynnfield Drive                     Frost Natl Bank Agent               164 Bayberry Drive
Annapolis, MD 21401                      Billy Ragsdale Trstee               Ozark, MO 65721
                                         8201 Preston Rd Ste 520
                                         Dallas, TX 75225



Thomas H Moore                           Thomas H Moore Trustee              Thomas H Obenchain Trust
PO Box 837                               PO Box 35                           PO Box 840738
Whitney, TX 76692                        Lufkin, TX 75902                    Dallas, TX 75284-0738




Thomas H Walton                          Thomas H Watts                      Thomas Hall Gatti
3993 Deerfield                           506 Centenary Dr                    7071 Hwy 5
College Station, TX 77845                Baton Rouge, LA 70808               Gloster, LA 71030




Thomas Haven Miller                      Thomas Haynes                       Thomas Hendrix
164 Bayberry Dr                          128 Pace Rd                         c/o Annie Hendrix
Ozark, MO 65721                          West Monroe, LA 71292               125 Powell Ln
                                                                             Livingston, TX 77351




Thomas Henry Williams                    Thomas Hill                         Thomas Hudson Marijen Hudson
211 North Holloway                       8125 Sterlingshire Street           PO Box 8168
El Dorado, AR 71730                      Houston, TX 77078                   Longview, TX 75607
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Thomas Hull Deats                       Thomas Hunt Armistead                   Thomas I Brown Iii Wife
3402 Rush Springs Court                 3817 Heywood Ave                        Fay Carroll Brown
Arlington, TX 76016                     Ft Worth, TX 76109                      6100 Pinwood Circle
                                                                                Arlington, TX 76001




Thomas J Allison                        Thomas J Bates                          Thomas J Bates Virginia Bates
1502 Grayson Dr                         10675 Highway 84                        10675 Hwy 84
Longview, TX 75604                      Mansfield, LA 71052                     Mansfield, LA 71052




Thomas J Boland                         Thomas J Byrne Md                       Thomas J Crothers
PO Box 621                              6102 East Yucca Street                  921 Sunlight Ridge Drive
Casper, WY 82602                        Scottsdale, AZ 85254                    Hendersonville, NC 28792




Thomas J Elmore Marie James Elmore      Thomas J Felton                         Thomas J Ferris
2121 Beacon Light Road                  2006 Touch Gold Ct                      3001 Sage Dr
Ruston, LA 71270                        Rowlett, TX 75088-2940                  Laramie, WY 82070




Thomas J Good Iii                       Thomas J Good Iii Rev Tr                Thomas J Gullatt
PO Box 130                              Susie K Thomson Thomas                  3000 Hunt Place
Nogal, NM 88341                         Jefferson Good Iv Co Ttee               Monroe, LA 71201
                                        13301 Cr V
                                        Mclean, TX 79057



Thomas J Moczygemba                     Thomas J Phillips Jr Myla Phillips      Thomas J Smith Iii
PO Box 10                               1401 Applewood Rd                       437 Valley View Dr
Karnes City, TX 78118                   Baton Rouge, LA 70808                   Ruston, LA 71270




Thomas J Smith Iii Et Ux                Thomas J Taylor                         Thomas J Yeggy
Adrianne Denee Smith                    PO Box 563                              4906 Emeis View Ct
437 Valley View Dr                      Center, TX 75935                        Davenport, IA 52804-4502
Ruston, LA 71270




Thomas James Horton                     Thomas Jefferson Napper                 Thomas Jeffrey Roberts
7603 Fm 365 Road                        8109 Captain Mary Miller Drive          528 South Dresden Ct
Beaumont, TX 77705                      Shreveport, LA 71115                    Shreveport, LA 71115




Thomas Jerald Dingler And               Thomas Jerry Nettles                    Thomas Julian Taylor Ii
Gwendolyn Kelly Dingler                 1600 Pecan Dr                           6708 Newman Drive
180 Fernwood Place                      Idabel, OK 74745                        Oklahoma City, OK 73162
Dubach, LA 71235




Thomas K Bower                          Thomas K Grace G Mcginley 1968 Rev Tr   Thomas Kramer
PO Box 25045                            Bank Of America Na Ttee                 Address Redacted
Dallas, TX 752251045                    PO Box 840738
                                        Dallas, TX 75284
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Thomas L Bradford Ii Art V Gst         Thomas L Carter Jr              Thomas L Fleming
Ex Tr Uwtbw                            c/o Black Stone Minerals        504 Woodridge Dr
3916 Vinalopo Dr                       1001 Fannin Suite 2020          Hallsville, TX 75650
Austin, TX 78738                       Houston, TX 77002




Thomas L Gilmer                        Thomas L Granger Jr             Thomas L Haley
58 Hugh Avenue                         1397 Shiloh Rd                  7749 Cr 3175
Dallas, GA 30132                       Longview, TX 75604              Henderson, TX 75654




Thomas L Hoglin                        Thomas L Janet Phillips         Thomas L Kane Estate
Hoglin Engineering                     PO Box 1248                     Thomas E Africa Trustee
113 Broken Circle Drive                Ruston, LA 71273                6 Lansing Street
Evanston, WY 82930                                                     Warren, PA 16365




Thomas L Lyssy Iii                     Thomas L Mccullough             Thomas L Phillips
2122 Long Creek Court                  881 Blue Ridge Road             1400 Ashland St
Granbury, TX 76049                     Pittsburgh, PA 15239            Ruston, LA 71270




Thomas L Phillips Estate               Thomas L Poss                   Thomas L Whaley
c/o George N Inskeep                   2102 12Th St                    P O Drawer P
447 Club Drive                         Port Neches, TX 77651           Marshall, TX 75670
San Antonio, TX 78201




Thomas L Whaley Jr                     Thomas L Whaley Family Trust    Thomas Lane Rogers
P O Drawer P                           Robert L Duvall R Michael       229 Warren St
Marshall, TX 75671                     Hallum Ttee                     Guthrie, KY 42234
                                       P O Drawer P
                                       Marshall, TX 75671



Thomas Langford Wylie                  Thomas Langham                  Thomas Lee Holcombe Ii
18424 Green Island Terrace             PO Box 903                      c/o Julianne K Fulcher
Leesburg, VA 20176                     Fort Davis, TX 797340903        Poa For Thomas Lee Holcombe Ii
                                                                       12134 Daimler
                                                                       Frisco, TX 75034



Thomas Lee Major Sr                    Thomas Lee Salmon Jr            Thomas Lee Wright Or Dorothy M Wright
5 Glenneagles Lane                     6 Mansion Oaks Dr               PO Box 509
Bulverde, TX 78163                     Odessa, TX 79765                Boones Mill, VA 24065




Thomas Lewis                           Thomas Lewis Separate Prop      Thomas Lyle House
1202 North Pearl Street                C/O Betty L Tolbert             20 Chippendale Ct
Apt Q204                               852 E 38Th Street               Mills River, NC 28759
Tacoma, WA 98406                       Tacoma, WA 98404




Thomas M Adair                         Thomas M Beall                  Thomas M Hunt
PO Box 7841                            PO Box 3098                     105 Llanfair Drive
Tyler, TX 75711                        Midland, TX 79702               Ruston, LA 71270
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Thomas M Kohler                       Thomas M Moncrief                       Thomas M Murphy
620 Pine St                           129 Flagstone Dr                        944 Maple Street
Philadelphia, PA 19106                West Monroe, LA 71291-3800              Camden, AR 71701




Thomas M Patterson                    Thomas M Perry Jr                       Thomas M Pierson
29 Taft                               19272 Hidden Lake Drive                 6439 N Lakewind Cir
Lumberton, TX 77657                   Tyler, TX 75703                         Parker, CO 80134




Thomas M Scruggs Jr Trust             Thomas M Smith                          Thomas M Smitherman
Community Bank Of Raymore             2223 Meadowrock                         1848 North 54Th St 1
PO Box 200                            Spring, TX 77379                        Seattle, WA 98103
Raymore, MO 64083-0200




Thomas M Varden                       Thomas M Wolter                         Thomas Marshall c/o
1462 Fort Loudon Rd                   PO Box 8686                             Collin Underwood Panola Cty Dist Clerk
Mercersburg, PA 17236-9617            Boise, ID 83707                         123Rd District Court
                                                                              PO Box 147
                                                                              Carthage, TX 75633



Thomas Merton Armstrong Jr            Thomas Michael Mckinney                 Thomas Mills Jr
Judith Ann Armstrong                  232 Fire Tower Rd                       6510 Bluebird Dr
4057 Point Pleasant Road              Plain Dealing, LA 71064                 Arlington, TX 76001-5532
Gladewater, TX 75647




Thomas Milton Leath                   Thomas Morris Ludley                    Thomas Morrow Reavley
1 Point Vw                            PO Box 163                              3830 Wichersham Lane
Waco, TX 76710-1287                   Grambling, LA 71245-0163                Houston, TX 77027




Thomas N Berry Co                     Thomas O Davis Jr Bertie C Davis        Thomas O Davis Jr Bertie C Davis Trust
PO Box 1958                           Ttees Of Thomas O Bertie C Davis Trst   Thomas Bertie Davis Trustees
Stillwater, OK 74076                  8501 Lullwater Drive                    8501 Lullwater Drive
                                      Apartment 3306                          Apartment 3306
                                      Dallas, TX 75238                        Dallas, TX 75238



Thomas Oilfield Services LLC          Thomas OKelley Green                    Thomas Olan Ellington
PO Box 6617                           3165 Ashley Dr                          4259 Yupon Ridge Dr
Longview, TX 75608-6617               Conway, AR 72032                        Houston, TX 77072-1439




Thomas Olan Ellington Jr              Thomas P Jones                          Thomas P Moore Jr
2710 Mossy Log Ct                     Carrie Nelson Jones                     1425 Rolling Cedar Lane
Houston, TX 77084-5661                1900 Highway 160                        Kaufman, TX 75142
                                      Plain Dealing, LA 71064




Thomas P Worsham                      Thomas Pate Worsham                     Thomas Paul Woodard Et Ux
19809 Angel Bay Dr                    19809 Angel Bay Drive                   Mary Ann Woodard
Spicewood, TX 78669                   Spicewood, TX 78669                     204 Garr Road
                                                                              Ruston, LA 71270
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Thomas Petroleum LLC                  Thomas Petroleum LLC            Thomas Pierce
PO Box 202699                         PO Box 677289                   214 Union 37
Dallas, TX 75320-2699                 Dallas, TX 75267-7289           El Dorado, AR 71730




Thomas R Bush                         Thomas R Gray Et Ux             Thomas R Jimerson
3112 Moss Point Dr                    Pauline Langley Gray            3124 Fm 3135 E
Baton Rouge, LA 70808                 Rt 2 Box 173A                   Henderson, TX 75652
                                      Ruston, LA 71270




Thomas R Madden                       Thomas R Mcleroy Jr             Thomas R Morris
206 DickS Store Rd                    PO Box 668                      PO Box 2000
Simsboro, LA 71275                    Center, TX 75935                Edinburg, TX 78540




Thomas R Roberts Jr                   Thomas R Roberts Sr Usufruct    Thomas R Wiley
10062 Somerset Ave                    10062 Somerset Ave              404 S Main St
Detroit, MI 48224-2596                Detroit, MI 48224-2596          Washington, PA 15301




Thomas Ray Weinberger                 Thomas Reed Clay                Thomas Richard Arden
11661 San Vicente Blvd Ste 820        13185 Patterson Rd              2530 Pope Rd
Los Angeles, CA 90049-5116            North Lawrence, OH 44666        Harleton, TX 75651




Thomas Robert Brewer                  Thomas Robert Leslie Iv         Thomas Robert Pitts
2314 West Magnolia                    4338 Glenwick                   c/o Argent Property Services Llc
Fort Worth, TX 76110                  Dallas, TX 75205                PO Box 1410
                                                                      Ruston, LA 71273-1410




Thomas Rodman Landon                  Thomas Rodney Colvin            Thomas Rutherford Key
11152 Westheimer Street Ste 192       285 Hwy 545                     15286 River Rd
Houston, TX 77042                     Dubach, LA 71235                Fairhope, AL 36532




Thomas Rutledge Kohler                Thomas S Boatright              Thomas S Melchers
1816 South Osceola Avenue             1303 Mesa St                    355 Woodbine Court
Orlando, FL 32806                     Ruston, LA 71270                Ridgewood, NJ 07450




Thomas S Swiley                       Thomas Scott Monsted            Thomas Stayton Wright
3916 Hanover Street                   943 E Scenic Dr                 3906 Rockledge Dr
Dallas, TX 75225                      Pass Christian, MS 39571        Austin, TX 78731




Thomas Stewart Jackson                Thomas Swan                     Thomas T Holley Jr
James Wyly Jackson Iii Custodian      4262 Armand View Drive          PO Box 3602
1520 Soaring Hawk Point               Pasadena, TX 77505              Wichita Falls, TX 76301
Atlanta, GA 30339
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Thomas T Meek                             Thomas Ted Gullatt              Thomas Thigpen Terrell
8208 Nubbins Ridge Road                   58405 Canal Street              610 Thistlewood
Knoxville, TN 37919                       Plaquemine, LA 70764            Houston, TX 77079




Thomas Tools                              Thomas Truett Dunn              Thomas Turnquist Ann Walljasper Jtwros
PO Box 732868                             PO Box 156                      c/o Madison Royalty Management Llc
Dallas, TX 75373-2868                     Santa Anna, TX 76878            402 Gammon Place
                                                                          Suite 200
                                                                          Madison, WI 53719



Thomas Vacel Cynthia Haddox Razer         Thomas Virdie Frazie Kennedy    Thomas W Beard Iii
1119 Rita Ln                              1200 Ashland St                 PO Box 668
Ruston, LA 71270                          Ruston, LA 71270                Alpine, TX 79831




Thomas W Blake Irrevocable Tr             Thomas W Blow                   Thomas W Cullinan
Bill D Patterson Mng Trustee              2516 W Gentry Parkway           524 Laurel Dr
1115 Barkdull Ste A                       Tyler, TX 75702                 Thiensville, WI 53092
Houston, TX 77006




Thomas W Cynthia Spillers Reichert        Thomas W Green                  Thomas W Hutchins
1512 Bonaparte Dr                         PO Box 1802                     13512 Arcturus Ave
Ruston, LA 71270                          Longview, TX 75606              Gardena, CA 90249




Thomas W Lillian K Sowell                 Thomas W Lillian K Sowell       Thomas W Linda K Sowell
Charitable Tr                             Charitable Tr                   Charitable Trust U/A
PO Box 840738                             Bank Of America Ttee            Bank Of America Na Trustee
Dallas, TX 75284                          PO Box 840738                   PO Box 840738
                                          Dallas, TX 75284                Dallas, TX 78284-0738



Thomas W Loe And Pamela Susan ONeal Loe   Thomas W Marilyn Cullinan Tr    Thomas W Mayer
1404 Madera                               Thomas Marilyn Cullinan Ttee    PO Box 130
Ruston, LA 71270                          524 Laural                      Santa Cruz, NM 87567
                                          Thiensville, WI 53092




Thomas W Oneil                            Thomas W Sieh                   Thomas W Swiley
Acct 0245747                              PO Box 828                      8668 Skyline Dr 5117
1308 E Bowie                              Katy, TX 774920828              Dallas, TX 75243
Beeville, TX 78102




Thomas W Watt                             Thomas W Woodley                Thomas Walter Tune
37575 S Matthie Ranch Road                18059 W Terra Verde Pl          12452 Mustang Circle
Wickenburg, AZ 85390                      Canyon Country, CA 91387-1830   Forney, TX 75126




Thomas Warren Lawrence                    Thomas Wayne Carter             Thomas Wayne Debra Bowers Upshaw
PO Box 566                                1154 Mckinley Ave               903 Elliott Rd
Longview, TX 75606                        Shreveport, LA 71107-6606       Arcadia, LA 71001
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Thomas Wayne Drennan                    Thomas Wayne Mouser And Karen Mouser   Thomas Wayne Neuroth
417 Clover Dr                           2200 Beau West Ct                      Amy Zappa Neuroth
San Angelo, TX 76903-1104               Granbury, TX 76049                     PO Box 223
                                                                               Simsboro, LA 71275




Thomas Whitfield Daniels                Thomas Wilcoxen                        Thomas Willard Morris
591 Fairway Court                       5110 Durango St                        2020 Edgewood Drive
Conroe, TX 77302                        Garland, TX 75043                      Boulder, CO 80304




Thomas William Nutt                     Thomas Williams                        Thomas Williams Jr
196 Cr 4307                             7531 Linda Ln                          1705 Ihiloa Place
Tenaha, TX 75974                        Dallas, TX 75241                       Honolulu, HI 96821




Thomas Williams Wylie                   Thomas Wright Titus                    Thomason Drive Affordable Storage Inc
PO Box 1246                             PO Box 158                             3420 Thomason Dr
Brackettville, TX 78832                 Mason, TX 768560909                    Midland, TX 79703




Thome Susan                             Thompson Dorothy Sypert                Thompson Engineering Prod Walsh
PO Box 1033                             24589 Cr 374                           Engineering Production
Dalhart, TX 79022                       Gladewater, TX 75647                   7415 E Main Street
                                                                               Farmington, NM 87402-5358




Thompson Knight                         Thompson Knight LLP                    Thompson Laydown LLC
1700 Pacific Avenue                     1722 Routh St Suite 1500               PO Box 70190
Ste 3300                                One Arts Plaza                         Odessa, TX 79769
Dallas, TX 75201                        Dallas, TX 75201-2533




Thompson Minerals LLC                   Thompson Oil Co LLC                    Thompson Pump Company
PO Box 1004                             6022 Crab Orchard Rd                   PO Box 310
White Oak, TX 75693                     Houston, TX 77057                      Okmulgee, OK 74447




Thompson Tr                             Thompson Tr                            Thompson Trust Nancy C Thompson Trustee
6774 W Hollow Rd                        Robert D John C Thompson Co Ttees      5505 Lapuerta Del Sol Blvd S
Naples, NY 14512                        6774 W Hollow Rd                       St Petersburg, FL 33715
                                        Naples, NY 14512




Thompsonville Minerals Ltd              Thomsen Company LLC                    Thomson Reuters Tax Accounting Inc
PO Box 12199                            c/o Trustmark National Bank            PO Box 6016
San Antonio, TX 78212                   PO Box 22765                           Carol Stream, IL 60197-6016
                                        Jackson, MS 39252-2765




Thor Konwin                             Thora Energy LLC                       Thora Gregory Bransford
Pmb188                                  c/o William T Allen Iii                1375 Rush Creek Road
31 N Main St                            P O Drawer 1126                        Hickman, KY 42050
Rutland, VT 05701                       Shreveport, LA 71163-1126
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Thorco Holdings LLC                   Thornton Russell Nobile         Thornton William Earl
11904 Burke St                        16 Cedarwood Ln                 5026 Country Club Road East
Santa Fe Springs, CA 90670-2508       Gulfport, MS 39503              Longview, TX 75602




Thorpe North Western                  Thrash Royalties Ltd            Thrasher Family Partnership
8180 South 700 East Suite 350         25 Highland Park Vlg 100 764    PO Box 96
Sandy, UT 84070                       Dallas, TX 75205                Utopia, TX 78884




Three Atkins Energy LLC               Three B Construction            Three G Plantation LLC Et Al
PO Box 4217                           PO Box 459                      PO Box 52387
Shreveport, LA 71134                  Roby, TX 79543                  Shreveport, LA 71135-2387




Three Good Reasons                    Three Pelican Tr                Threesa Sampson Pine
4605 Woodhollow Dr                    1200 Brookhaven Ave             3028 73Rd Ave
Midland, TX 79707-2631                Ruston, LA 71270                Oak, CA 94600




Threlkeld Company Insurance           Thrivent Financi                Thrivent Financial For Lutherans
515 Wsw Loop 323                      Thrivent Financial Bank         625 Fourth Ave S
Tyler, TX 75701                       2000 East Milestone Drive       Minneapolis, MN 55415-1624
                                      Appleton, WI 54919




Thrivent For Lutherans                Thru Line Inc                   Thru Line OG Tx Lp
625 Fourth Ave S                      PO Box 916107                   201 Main Street Suite 2700
Minneapolis, MN 55415-1624            Fort Worth, TX 76191-6107       Fort Worth, TX 76102




Thru Line OG Tx Lp                    Thru Tubing Solutions           Thru Tubing Solutions Inc
PO Box 916107                         PO Box 203379                   Jeff Brewer / Monica Schornick
Fort Worth, TX 76191-6107             Dallas, TX 75320                11515 S Portland Ave
                                                                      Oklahoma City, OK 73170




Thru Tubing Solutions Inc             Thrubit LLC                     Thunder Energy LLC
PO Box 910283                         A Schlumberger Company          PO Box 1658
Dallas, TX 75391                      PO Box 732149                   Chickasha, OK 73018-1658
                                      Dallas, TX 75373-2479




Thunder Jet Express                   Thunder Of The Bend             Thurlee N Patterson
PO Box 1742                           Motorcycle Rally                1332 N Poplar
Hobbs, NM 88241                       Shelby Cty Childrens Advo Ctr   Wichita, KS 67214
                                      220 Field Street
                                      Center, TX 75935



Thurman Dewayne Bridwell              Thurman Dixon                   Thurmon Butler
413 Jet St                            Rt 1 Box 357                    c/o Maetee Butler Wall
Longview, TX 75603                    Tatum, TX 75691                 10942 Elm Ave
                                                                      Lynwood, CA 90262
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Thurmon Family LLC                       Thyragus Davis Sr               Tia T Clark
One Pine Terrace                         2470 Ed Barnes Rd               2426 Caldwell
Winnfield, LA 71483                      Jonesboro, LA 71251             Tyler, TX 75752




Tiana Hayslip                            Tiana Hayslip Rev Tr            Tibco Software Inc
4701 46Th Street                         Tiana Hayslip Ttee              Lockbox No 7514
Lubbock, TX 79414                        4701 46Th St                    PO Box 7247
                                         Lubbock, TX 79414               Philadelphia, PA 19170-7514




Tibco Software Inc                       Tidemark Exploration Inc        Tidmore Terrell Family Partnership
Rich Donahue                             321 S Frankfort Ave             c/o Patty Terrell
281 Summer Street                        Tulsa, OK 74120                 PO Box 2388
Boston, MA 02110                                                         Lubbock, TX 79408




Tier Two Chemical Reporting              Tierra Oil Co LLC               Tiesha May Givens
Dshs Tier Two Chemical                   PO Box 700968                   113 Carlton Ave
Cash Rcpts Mc 2005 Txt2 70916            San Antonio, TX 78270           Vacaville, CA 95687
PO Box 149347
Austin, TX 787149347



Tifaney Putnam Dunlap                    Tiffani Harris                  Tiffany Ann Battersby
PO Box 343                               147 Pr 8202                     PO Box 15324
Henderson, TX 75652                      Gary, TX 75643                  North Hollywood, CA 91615




Tiffany Burris                           Tiffany Croone Custodian For    Tiffany Freeman
4920 Overview Dr Apt 423                 Camryn Elise Croone A Minor     Address Redacted
Arlington, TX 76017                      3338 Ashbury Glen Court
                                         Spring, TX 77386




Tiffany Merritt Johnston                 Tiffany Pope                    Tiffany Smith Irrevocable Tr
2881 Fm 2276                             155 Cr 1230                     Nancy B Welwood Ttee
Kilgore, TX 75662                        Center, TX 75935                5349 Quail Run
                                                                         Frisco, TX 75034




Tiffiny Lee Smith                        Tifkat Lp                       Tiger Cased Hole Services Inc
1830 Atwoodville Ct                      Defensive Hy Star               3990 Rogerdale
Fairfield, CA 94533-8996                 221 E Walnut St Ste 220         Houston, TX 77042
                                         Pasadena, CA 91101




Tiger Cased Hole Services Inc            Tiger Oilfield Supply LLC       Tiller Well Services LLC
PO Box 733368                            910 Pierremont Rd               PO Box 2373
Dallas, TX 75373-3368                    Suite 351                       Sandpoint, ID 83864
                                         Shreveport, LA 71106




Tillman P Perkins Jr                     Tilmon Moore                    Tim Ables Trucking Co
305 Montlcair                            1312 Kirnwood Dr                PO Box 2947
Longview, TX 75601                       Dallas, TX 75232-4224           Kilgore, TX 75663
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Tim Arnold                                Tim Berry                      Tim Camargo
5877 County Road 415 West                 104 Prairie Ln                 Address Redacted
Henderson, TX 75654                       Longview, TX 75605




Tim Cole                                  Tim Corley                     Tim Gary
1610 Greenbrier                           1324 Lisbon                    1677 County Road 2203
Shiloh, IL 62269                          Smackover, AR 71762            Arp, TX 75750




Tim Icenhower Oil And Gas Inc             Tim K Kirk                     Tim SnelsonS Pumping Unit Service
David Martin                              c/o Burford Ryburn             7812 W Interstate 20
5916 Industrial Drive Ext                 3100 Lincoln Plaza             Midland, TX 79706-2806
Bossier City, LA 71112                    500 North Akard
                                          Dallas, TX 75201



Tim Tower                                 Timberland Bank                Timberly F Laster Perdue
18108 South Park View Dr N 22             624 Simpson Ave                6801 Fm 660
Houston, TX 77084                         Hoquiam, WA 98550              Ennis, TX 75119




Timco Services Inc                        Time Warner Cable              Time Warner Cable
PO Box 51729                              10 Columbus Cir                PO Box 60074
Lafayette, LA 70505-1729                  New York, NY 10019             City Of Industry, CA 91716-0074




Time Warner Cable                         Timka Resources                Timken Motor Crane Services LLC Dba Wa
PO Box 650063                             2116 E Highway 402             4850 Moline St
Dallas, TX 75265-0063                     Loveland, CO 80537             Denver, CO 80239-2624




Timmerman Family Partnership              Timmins Family Trust           Timmy Hass
Farmers National Company                  Nancy Lee Huber Timmins Ttee   PO Box 524
PO Box 3480                               7831 Park Lane Apt 220         Joaquin, TX 75954
Omaha, NE 68103-0480                      Dallas, TX 75225




Timmy Lynn Harvey                         Timmy Miner                    Timothy A Blume
636 Cr 121                                4105 Tinga St                  1716 Concord Dr
Carthage, TX 75633                        Dallas, TX 75241               Fort Collins, CO 80526




Timothy A Everding And Laura Y Everding   Timothy A Sims                 Timothy A Tallent
418 Tarbutton Rd                          1601 Grand Ave Apt 503         30 Jabali Way
Ruston, LA 71270                          Sweetwater, TX 79556           Hot Springs Village, AR 71909




Timothy A Tennyson                        Timothy B Crawford             Timothy B Simmons
PO Box 125                                731 West Satsop Road           Address Redacted
Smackover, AR 71762                       Montesano, WA 98563
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1398 of 1524

Timothy Ballard                           Timothy Campbell                      Timothy Charles Taylor
Address Redacted                          Address Redacted                      1902 Stamford Ln
                                                                                Austin, TX 78703




Timothy Clay And Vickie Adams Elliott     Timothy Doherty                       Timothy Eugene Cardwell
734 Mitcham Orchard Rd                    1076 S Orange Grove 8                 216 Castlewood Ct
Ruston, LA 71270                          Los Angeles, CA 90019                 Hanahan, SC 29410




Timothy Gazak                             Timothy Glenn Waters Sr               Timothy Grant Hammons
341 Bear Creek Rd                         3126 Saginaw St                       520 Hwy 822
Colorado Springs, CO 80906                West Sacramento, CA 95691-5874        Choudrant, LA 71227




Timothy Gray                              Timothy H Atkins                      Timothy H Taylor
36 A Street                               PO Box 82736                          PO Box 236
Niagara Falls, NY 14303                   Baton Rouge, LA 70714                 Arcadia, LA 71001




Timothy H Teresa Chandler Taylor          Timothy Harrison Charlotte Harrison   Timothy J Pickering
PO Box 236                                1923 Hidden Creek Drive               1000 Bristol St N 17 Ste 266
Arcadia, LA 71001                         Kingwood, TX 77339                    New Port Beach, CA 92660




Timothy J Robinson                        Timothy J Tyrrell M D                 Timothy Jaynes
C/O Virginia M Robinson                   1165 Standish Ct                      Gary Costlow Tte
1129 Emily Ln                             Naperville, IL 60540                  10468 Ingram Rd
Carrollton, TX 75010                                                            Brownsboro, TX 75757




Timothy Jerel Mcbroom As Trustee Of The   Timothy Jon Dillavou                  Timothy Joseph Major
Mcbroom Trust For Mother And Children     6510 Road 146                         9209 Hwy 59 North
9735 Tower View Road                      Elizabeth, CO 80107                   Atlanta, TX 75551
Helotes, TX 78023




Timothy K Chilcoat                        Timothy Keierleber                    Timothy King Clay
272 Mcwhorter Rd                          PO Box 40                             5110 San Felipe
Lockesburg, AR 71846                      Wilmer, TX 75172                      Houston, TX 77056




Timothy L Cathey                          Timothy L Haynie                      Timothy L Lewis
22482 Riverwood Dr                        19406 Hillford Avenue                 776 Point Pleasent Rd
Claremore, OK 74019                       Carson, CA 90746                      Homer, LA 71040




Timothy L Moore Et Ux                     Timothy L Smith                       Timothy Lain Smith
Ruby Lee Brown Moore                      9501 S Cougar Rd                      PO Box 542
PO Box 243                                Littleton, CO 80127                   Springhill, LA 71075
Grambling, LA 71245
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Timothy Lane Nolan                     Timothy Leach                           Timothy Lee
501 Creekside Dr                       PO Box 255                              Address Redacted
Mckinney, TX 75071                     Groveland, CA 95321




Timothy Lee Harrison                   Timothy M Welch And Helen Welch         Timothy Malcolm Givens
1923 Hidden Creek Dr                   690 Jack Crowell Road                   1206 Briar Ridge Dr
Kingwood, TX 77339                     Calhoun, LA 71225                       Keller, TX 76248




Timothy Martin Abbott                  Timothy Maryland                        Timothy Mccomack
8316 Highway 146                       380 Dunn Road                           5416 Boxelder Drive
Ruston, LA 71270                       Ruston, LA 71270                        Arlington, TX 76018




Timothy Mcdonald                       Timothy Mcmanus                         Timothy N Humphries
Address Redacted                       134 Nora Street                         430 Dover Lane
                                       West Monroe, LA 71292                   Spring, TX 77373




Timothy Odell Baugh                    Timothy P Persons                       Timothy R Bowden
3050 County Road 854                   102 Arthur Drive                        1705 Cr 3341
Cushing, TX 75760                      Kennedale, TX 76060                     Joaquin, TX 75954




Timothy R Sparks                       Timothy Ray Nutt Kimberly Newsom Nutt   Timothy Richard Patton
3200 Thorne Hill Ct                    195 Kings Cutoff Rd                     966 Stevens Creek Cir
Richardson, TX 75082-3762              Arcadia, LA 71001                       Forsyth, IL 62535




Timothy Royce Tucker                   Timothy S Brandom Rev Trust             Timothy S Elliott
411 E Tuttle Rd                        Community Bank Of Raymore               4800 Fillmore Ave Apt 1256
White Oak, TX 75693-1371               PO Box 200                              Alexandria, VA 22311-5077
                                       Raymore, MO 64083-0200




Timothy S Finch                        Timothy Sampson Sep Prop                Timothy Scott Bucher
505 Paul Drive                         PO Box 1168                             1858 Twin Lake Drive
Stevensville, MD 21666                 Bunkie, LA 71322                        Gotha, FL 34734




Timothy Selwyn Ellis                   Timothy Tonya Partain                   Timothy Tucker And Amy Tucker H/W
1302 Ashland St                        606 North Main                          505 Wilma Street
Ruston, LA 71270                       Gladewater, TX 75647                    Tyler, TX 75701




Timothy W Stanfill                     Timothy William Hatley                  Tims Pest Service
2 Sage Brush                           PO Box 193                              1989 Daniel St
Wichita Falls, TX 76301                Rochester, TX 79544                     Arcadia, LA 71001
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1400 of 1524

Tina Burns Crocker                     Tina Fermaint                   Tina L Pearson
1138 Miller Drive                      8445 Sw 165Th Place             468 Commerce Ave Nw
Haynesville, LA 71038                  Miami, FL 33193                 Warren, OH 44485




Tina M Madruga                         Tina May Lester Traylor Decd    Tina Morell Russell
PO Box 1762                            9815 Smokefeather Ln            21110 Turkey Creek Dr
Coos Bay, OR 97420-0340                Dallas, TX 752432033            Baton Rouge, LA 70817




Tina Nell Thrash Torelli Trust 2       Tina Nicole Beach               Tina Reed
c/o Wilton Eugene Thrash Ttee          Jeanne Beach Bailey Executrix   198 Bethany Drive
25 Highland Park Vlg 100 764           9303 Belden Dr                  Church Pointe, LA 70525
Dallas, TX 752052789                   Shreveport, LA 71118-3538




Tina Temple Farris                     Tina W Smith                    Tina Younger
2370 Hunter Road                       107 Day Dr                      108 Quail Meadows Ln
Mansfield, LA 71052                    Monroe, LA 71203                Arlington, TX 76002-3470




Tine Henry Harrison                    Tinka Energy LLC                Tinker Federal Credit Union
138 Deer Creek Rd                      9002 E Linden St                PO Box 45750
Arcadia, LA 71001-5222                 Tucson, AZ 85715-5575           Tinker AFB, OK 73145




Tinsman Minerals LLC                   Tinsman Sciano Inc              Tiny Mae Mitchell Deceased
10107 Mcallister Freeway               10107 Mcallister Freeway        905 Singleton St
San Antonio, TX 78216                  San Antonio, TX 78216           Marshall, TX 756728620




Tioga Air Heaters LLC                  Tiorco LLC                      Tip Top Embroidery Workwear
4810 Lilac Drive North                 2452 S Trenton Way              2716 Commerical Way
Minneapolis, MN 55429-3924             Suite M                         Rock Springs, WY 82901
                                       Denver, CO 80231




Tipperary Oil Gas Corp                 Tipton Brewer Lee               Titan Factoring LLC
First Interstate Tower N               2718 Alta Vista Lane            c/o Unique Pump Supply Llc
633 17 St Ste 1550                     San Angelo, TX 769047452        PO Box 33320
Denver, CO 80202                                                       San Antonio, TX 78265




Titan Field Services                   Titan Liner Inc                 Titan Minerals LLC
PO Box 113                             PO Box 670424                   PO Box 3523
Silt, CO 81652                         Dallas, TX 75267-0424           Longview, TX 75606




Titan Vac Flow LLC                     Titan Wireline Services Aws     Titanium Environmental Services LLC
5616 State Hwy 359                     10962 Us Route 422              PO Box 4029
Laredo, TX 78043                       Shelocta, PA 15774              Longview, TX 75606
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Tj Bar LLC                            Tj Cross Engineers Inc          Tj Jefferson Good Iii
Holland Services Agent                200 New Stine Road Suite 270    Rvcbl Tr Uta 3/25/11
309 West 7Th Street                   Bakersfield, CA 93309           13301 Cr V
Suite 300                                                             Mclean, TX 79057
Fort Worth, TX 76102



Tj Martin Jr                          TJ Valve                        Tja Properties LLC
3501 Hwy 59                           PO Box 1223                     c/o Trey Joseph Allen
George West, TX 78022                 Artesia, NM 88211-1223          518 Pebble Dr
                                                                      Haughton, LA 71037




TjM Good Minerals Lp                  Tjs Air Conditioning Heating    Tjst Morrison No 1 LLC
PO Box 1090                           8148 Us Hwy 271 S               125 Shelbyville St
Roswell, NM 88202                     Gilmer, TX 75645                Center, TX 75935




Tjt Minerals Ltd                      Tk J Cason LLC                  Tko Rentals Services LLC And
3939 Bee Cave Rd Bldg C 100           c/o Julie A Cason               Divesified Lenders Inc
Austin, TX 78746                      1304 N Bennett St               PO Box 6565
                                      Silver City, NM 88061           Lubbock, TX 79493-6565




Tlc Enterprises Inc                   Tlc Investments LLC             Tlpc Holdings Ltd
416 Travis Street                     416 Travis St Ste 1006          Post Office Box 1836
Suite 1006                            Shreveport, LA 71101            Wylie, TX 75098
Shreveport, LA 71101




Tlw Investments LLC                   Tlw Ppw Land Minerals LLC       Tmr Exploration Inc
PO Box 301535                         P O Drawer P                    PO Box 5625
Dallas, TX 75303                      Marshall, TX 75671              Bossier City, LA 71171-5625




Tms Chemical Inc                      Tmt Mineral Trust               Tnt Backhoe Service
PO Box 8303                           Richard G Tubb Trustee          PO Box 133
Midland, TX 79708                     PO Box 849                      Artesia, NM 88211-0133
                                      Woodville, TX 75979




Tnt Land Minerals                     Tnt Sweeney Family Trust        Tobey Johnston Pc
PO Box 1284                           652 E 134Th Ave                 6855 S Havana St Ste 275
Friendswood, TX 775491284             Thornton, CO 80241              Centennial, CO 80112-4567




Tobi Kinnan                           Toby Bruce Meltzer              Toby C Myrtle
12412 Texas Ave Unit 105              1511 Beachcomber                403 Wain Dr
Los Angeles, CA 90025                 Houston, TX 77062               Longview, TX 75604




Toby D Lefevers                       Toby W Hammons                  Todd C Logan
PO Box 13931                          769 Walnut Creek Rd             1136 White
Odessa, TX 797681393                  Simsboro, LA 71275              Grand Junction, CO 81501
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Todd Clements                          Todd D Watson                         Todd Evans
Address Redacted                       Tod                                   Box 1783
                                       12301 Nw 10Th Street                  Whitehouse, TX 75791
                                       Plantation, FL 33323-2504




Todd Jason Spencer                     Todd Kelsey                           Todd Lanphere
1227 E 17Th St 4                       Jan L Kelsey                          PO Box 1051
Oakland, CA 94606                      441 Ray Bussey Road                   Spring Branch, TX 78070
                                       Longview, TX 75605




Todd Leslie Foster                     Todd M Baker                          Todd M Hovey
5723 74Th St                           10293 Coconut Rd                      291 Cr 3794
Lubbock, TX 79424                      Estero, FL 34135-8544                 Joaquin, TX 75954




Todd M Kringen                         Todd M Wilson                         Todd Michael Ward
Karla R Kringen                        3608 S County Rd 1184                 c/o Donna Ward
8540 East Mcdowell Road                Midland, TX 79706                     109 Castle Creek Drive
Suite 59                                                                     West Monroe, LA 71291
Mesa, AZ 85207



Todd N Cox                             Todd P Hanks                          Todd S Fields
3636 N 29Th St                         PO Box 14976                          230 Jill Loop
Waco, TX 76708-1811                    Minneapolis, MN 55414                 Ruston, LA 71270




Todd Stallings                         Todd Upson                            Todpat LLC
Address Redacted                       1701 N Greenville Ave Suite 820       PO Box 4357
                                       Richardson, TX 75081                  Odessa, TX 79760-4357




Toilever Eugene Darden Jr              Toklan Oil And Gas                    Tolbert Pitman
5646 Yakima Avenue                     7404 S Yale Ave                       PO Box 2514
Tacoma, WA 98408                       Tulsa, OK 74136                       Coppell, TX 75019




Toledo Automotive Supply Inc           Toledo Bend Project Joint Operation   Toledo Mudlogging Services Inc
124 S Shelby                           450 Spur 135                          PO Box 1209
Carthage, TX 75633                     Burkeville, TX 75932                  Many, LA 71449




Tolleson Private Bank                  Tollett Tank Supply LLC               Tolunay Wong Engineers Inc
5550 Preston Rd                        PO Box 1369                           Paul Wild
Dallas, TX 75205                       Albany, TX 76430                      10710 S Sam Houston Pkwy Suite 100
                                                                             Houston, TX 77031




Tom B Williams                         Tom Brown Inc                         Tom Clark
Joan Williams Aif                      555 17 St Ste 1850                    c/o Office Of Texas State
PO Box 890                             Denver, CO 80202                      Unclaimed Property Division
Carthage, TX 75633                                                           PO Box 12608 Capitol Station
                                                                             Austin, TX 78711
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Tom Clemens Est                        Tom Craddick                       Tom D Dillavou
Mary L Clemens Indp Executrix          Two Lakes Drive                    PO Box 171
PO Box 931                             Midland, TX 79705                  Sedalia, CO 80135
Pittsburg, TX 756860931




Tom D Dyches                           Tom E Holt Family Trust            Tom E Johnson Exploration LLC
505 N Big Spring Ste 603               Tom Holt Trustee                   PO Box 1688
Midland, TX 79701                      10514 K 196 Hwy                    Midland, TX 79702-1688
                                       Whitewater, KS 671549076




Tom E Stone                            Tom E Stone Iii                    Tom E Turner
Box 2509                               Box 2509                           5944 Luther Ln Ste 600
Longview, TX 75606                     Longview, TX 75606                 Dallas, TX 75225




Tom Green Appraisal District           Tom H Roberts                      Tom Hall
2302 Pulliam St                        PO Box 2533                        Hall Bates Llp
San Angelo, TX 76905-5165              Branson West, MO 65737             Milam Building
                                                                          115 East Travis Suite 700
                                                                          San Antonio, TX 782052930



Tom J Hollingsworth                    Tom Johnson Jr                     Tom Jung
5708 Pelican Hill                      PO Box 1096                        Address Redacted
Cibilo, TX 78108                       Cleveland, TX 77328




Tom L Hail                             Tom Lester                         Tom Matthews
800 Bering Dr Ste 209                  209 Cr 136                         9482 Riley Green Road
Houston, TX 77057                      Gonzales, TX 78629                 Franklin, TX 77856




Tom Meuth                              Tom Moore                          Tom O Moncrief 1967 Trust
PO Box 1918                            18555 Wild Horse Creek             Tom O Moncrief Trustee
Round Rock, TX 78680                   Poway, CA 92064                    Moncrief Building
                                                                          950 Commerce Street
                                                                          Fort Worth, TX 76102-5418



Tom R Stovall Guardianship             Tom Ritter                         Tom S Curtis Jr
Regions Bk Nrre Operations Agt         14151 Valley Vista Blvd            3832 Shady Meadow
Acct 210175014                         Sherman Oaks, CA 91423             Grapevine, TX 76051
PO Box 11566
Birmingham, AL 35202



Tom S Jones Iv                         Tom Shelton                        Tom Slick Fund
Kathryn E Jones Independent Executor   1634 N Tool Drive                  PO Box 551
PO Box 865                             Kemp, TX 75143                     Midland, TX 79702
Clinton, LA 70722




Tom Slick Memorial F/B/O               Tom Slick Memorial Trust           Tom Slick Memorial Trust
Trust For Texas                        For Southwest Research Institute   Frost Natl Bank Trustee A/C No
Christian University Tcu Station       Po Drawer 28510                    Trust Oil Gas Dept
Tcu Box 297041                         San Antonio, TX 78228              PO Box 1600
Fort Worth, TX 76129                                                      San Antonio, TX 78296
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Tom Slick Memorial Trust               Tom Slick Memorial Trust         Tom Stephenson
Southwest Foundation For               The Texas AM Univ System         PO Box 1544
Research Education                     301 Tarrow St Fl 6               Orange, TX 776311544
PO Box 760549                          College Station, TX 77840
San Antonio, TX 78245



Tom Stone Family Limited Partnership   Tom Thorp Transports Inc         Tom Utzman
PO Box 2509                            PO Box 523                       316 Idylwild
Longview, TX 75606                     Mertzon, TX 76941                Ridgedale, MO 65739




Tomahawk Energy Services LLC           Tomahawk Pumping LLC             Tomas Medina Jr
PO Box 1057                            Terri Duran                      7305 Stop 73A
Kilgore, TX 75663                      2308 Avenue A                    Zapata, TX 78076
                                       Carlsbad, NM 88220




Tomas Montes                           Tomco Sales Service LLC          Tomi Ann Graves Swaim
Address Redacted                       707 Huval Dr                     156 Robin Lane
                                       Broussard, LA 70518              Bossier, LA 71111




Tomi Rene Tharp                        Tommie Bradford Walton           Tommie C Porter
892 Leckie Road                        1207 W 12Th St                   5610 Buncomee Rd Apt 1115
Eros, LA 71238                         Austin, TX 78703-4136            Shreveport, LA 71129




Tommie Eugene Barber                   Tommie Frances Marshall Heflin   Tommie Gray Colvin
7004 Gleneagle                         404 Sunset Dr                    Thomas R Colvin Sr Poa
Tyler, TX 75703                        Fairfield, TX 75840              285 Hwy 545
                                                                        Dubach, LA 71235




Tommie Holleman Young                  Tommie Jane Morris               Tommie Jean Akin
PO Box 3065                            1613 Lilac Avenue                102 Partridge Lane
Ruston, LA 71272                       Lufkin, TX 75901-6118            Carthage, TX 75633




Tommie Jean Latimer Menefee            Tommie Jean Pruitt               Tommie Lynn Jones Lee Carlie
125 Hudson Street                      1600 Birch St                    901 South Bemiston
Center, TX 75935                       Oklahoma City, OK 73108          St Louis, MO 63105




Tommie M Hutchinson                    Tommie M Reese                   Tommie Maxine Williams
6420 Hawthorne Rd                      104 Melba St                     1915 OKeefe
Little Rock, AR 72207                  Longview, TX 756023822           Jacksonvile, TX 75766




Tommie Mckinley                        Tommie Morris                    Tommie Ritter Smith
5737 Arbor Hills Way Apt 301           Unclaimed Money Fund             211 Courtland Circle
The Colony, TX 75056-5447              PO Box 12608 Capitol Station     Carthage, TX 75633
                                       Austin, TX 78701
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Tommie W Heenan                         Tommie Williams                          Tommy A Allbright
c/o Gay W Shirley                       5407 County Road 1915                    1301 N Elm St
4411 Matt Drive                         Mount Pleasant, TX 75455-8441            Minden, LA 71055-2128
Killeen, TX 76549




Tommy Alan Cary                         Tommy And Lisa Moore                     Tommy B Horton
2607 Sunset Drive 4                     4699 Cr 234D                             1623 Benton Rd
Orange, TX 77630                        Henderson, TX 75652                      Bossier City, LA 71111




Tommy Barnett                           Tommy Boddie Separate Prop               Tommy Bush
1095 Thomas Rd                          507 Kentucky Avenue                      308 County Road 1835
Henderson, TX 75654                     Ruston, LA 71270                         Carthage, TX 75633




Tommy C Botts                           Tommy Carmen                             Tommy D Harris
4030 Huntington Ln                      7618 Fairdale Ln                         421 State Highway 7 West
San Angelo, TX 76904                    Houston, TX 77063                        Center, TX 75935




Tommy Dorn Jr                           Tommy E And Virginia L Spurlock          Tommy E Barber
899 Logtown School Loop Rd              216 Cr 3804                              7004 Gleneagle Drive
Monroe, LA 71270                        Joaquin, TX 75954                        Tyler, TX 75703




Tommy E Gray Sr                         Tommy Earl Malone                        Tommy Ellis Trucking LLC
1782 Fm 3082                            1010 Texas Drive                         23859 Cr 374
Joaquin, TX 75954                       Carthage, TX 75633                       Gladewater, TX 75647




Tommy Foster                            Tommy G And Anita D Pierce               Tommy G Waugh Jr
1643 Plum Hill Road                     H/W                                      Address Redacted
Eros, LA 71238                          1302 Cabalto Way
                                        Granbury, TX 76048




Tommy Gordon Cassel                     Tommy Guy Box                            Tommy H Ross
1038 College St                         880 Cr 145                               1304 Cr 219
Shreveport, LA 71104                    Plains, TX 79355                         Carthage, TX 75633




Tommy J Niswonger                       Tommy Jane Morrison Fam Trt              Tommy Joe Roberts
PO Box 292                              Thomas Morrison Jr Sharon Crelia Ttees   129 Hempstead 1535
Joaquin, TX 75954                       125 Shelbyville St                       Fulton, AR 71838
                                        Center, TX 75935




Tommy L Allen Sep Prop                  Tommy L Benefield                        Tommy L Bowen
1938 Glendale                           29017 State Highway 19 N                 189 Greenleaf Lane
Kansas City, KS 66104                   Athens, TX 75752                         Conroe, TX 77304
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Tommy L Cooper                           Tommy L Shahan Wife Virginia C Shahan      Tommy Liles
2482 County Rd 421 N                     4295 State Line Road                       1751 Highway 43
Henderson, TX 75652                      Logansport, LA 71049                       Tatum, TX 756914304




Tommy Lockridge Janet Lockridge          Tommy M Singleton                          Tommy Malone
287 Cr 223                               2806 Foxxwood Dr                           287 Malone Road
Henderson, TX 75652                      Ruston, LA 71270                           Arcadia, LA 71001




Tommy Mcmanus Busbice                    Tommy Mcpherson                            Tommy Mcpherson Francine H Mayfield
PO Box 354                               PO Box 181                                 Maeyrene Mcpherson
Calhoun, LA 71225                        Laird Hill, TX 75666                       PO Box 181
                                                                                    Laird Hill, TX 75666




Tommy Owens                              Tommy R Gaston Husb Of Cindy Wynn Gaston   Tommy R Isbell
3319 East Plantation                     PO Box 110                                 2104 Berkeley Drive
La Porte, TX 77571                       Lisbon, LA 71048                           Wichita Falls, TX 76308




Tommy Ray Beasley Sr                     Tommy Ray Harley                           Tommy Ray Pyles
105 Dover Court                          335 Cr 1311                                16420 Hwy 151
Bossier City, LA 71111                   Canton, TX 75103                           Arcadia, LA 71001




Tommy Richard Roll On Intercom Rentals   Tommy Robert Hickman Jjh Gs Trust          Tommy Robert Hickman Jjh Non Gs Tr
PO Box 360                               c/o First Financial Tr Asset               c/o First Financial Tr Asset
Many, LA 71449                           PO Box 701                                 PO Box 701
                                         Abilene, TX 79604                          Abilene, TX 79604




Tommy Robert Hickman Wah Gs Trust        Tommy Robert Hickman Wah Non Gs Tr         Tommy W Mcmullan
c/o First Financial Tr Asset             c/o First Financial Tr Asset               1783 Fm 1410
PO Box 701                               PO Box 701                                 Devers, TX 77538
Abilene, TX 79604                        Abilene, TX 79604




Tommy White Supply Company Inc           Tommye Lynn Hollis                         Toms Tire Lube Detail
PO Box 1709                              3311 Mount Holly Rd                        PO Box 385
Midland, TX 79702-1709                   El Dorado, AR 717304176                    Bronte, TX 76933




Tona Crow Hulsey                         Toni Agens                                 Toni Burrough
17481 Country Club Drive                 45 West Brick Road                         946 Shell Lane
Kemp, TX 75143                           Kane, PA 16735                             Lancaster, TX 75146-2234




Toni C Paige                             Toni Kathleen Blaylock                     Toni Kay Vickers
10980 Sunrise Ridge Cir                  41 Turtle Creek Drive                      PO Box 128
Auburn, CA 95603                         Jackson, TN 38305                          Hearne, TX 778590128
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Toni King                             Toni Kirkland Decoux            Toni M Barlow
1990 North Davis Ranch Road           2030 Plantation Drive           132 Pr 803
Willcox, AZ 85643                     Apt D7                          Carthage, TX 75633
                                      Conroe, TX 77301-1049




Toni M Brewer                         Toni M Cooper                   Toni M Wallace
360 Murray Farm Dr Apt 5204           2399 Highway 43N                22 Santistaban Way
Mckinney, TX 75069-6959               Canton, MS 39046                Hot Springs, AR 71909




Toni Parker Moseley                   Toni Pate Brookover             Toni Simmons Jernigan
PO Box 231                            PO Box 758                      801 Ne 28Th
Carthage, TX 75633                    Alpine, TX 79831                Oklahoma City, OK 73105




Tonie Montgomery                      Tonja Bryant                    Tonja Marsh
1100 Abernathy Rd Suite 400           506 Overlook Dr                 5008 Apache Ct
Atlanta, GA 30328                     Midlothian, TX 76065            Antioch, CA 94531




Tonna Rene Reed                       Tony And Kathy H Patrick        Tony And Vickie Lynn Neal
3300 Lotus Ln Lot 37                  2694 Myrtle Springs Ave         903 Se Cr 3129
Lufkin, TX 75904                      Dallas, TX 75220                Corsicana, TX 75109




Tony Ann Rogers                       Tony Clemons                    Tony Curtis Lewis
PO Box 1673                           Faye Clemons                    4305 Founders Drive
Gladewater, TX 75647                  1500 Whispering Pines           Rowlett, TX 75089
                                      Minden, LA 71055




Tony Dixon Linn                       Tony Donna Mcguire              Tony E Dorsey And
3700 S Westport Ave                   3310 Estesville Rd              Joyce A Dorsey
Pmb 2999                              Longview, TX 75602              PO Box 8208
Sioux Falls, SD 57106                                                 Tyler, TX 75711




Tony F Gilbert                        Tony Fryman                     Tony Haskins Md
PO Box 131282                         20818 North Division            2317 Carole St
Houston, TX 77219                     Colbert, WA 99005               Nacogdoches, TX 75965




Tony Houston Estate                   Tony LaGambina                  Tony Mack White And
Bobbie Houston Ind Executrix          One M T Plaza                   Cherilyn Marie Griffin White
3843 Broadmoore Court                 8th Floor                       5920 Vanbrough Road
Tyler, TX 75707                       Buffalo, NY 14203               Shreveport, LA 71119




Tony Mcclain                          Tony Pierce                     Tony R Waits
1420 N Brampton Ave                   3806 Arabella St                408 Nicholson Rd
Rialto, CA 92376                      Long Beach, CA 90805            Arcadia, LA 71001
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Tony Ray Gaar                          Tony Renshaw                    Tony Singleton And Jacqueline Singleton
2182 Rosedale Ave                      Address Redacted                188 Pr 6732
Oakland, CA 94601                                                      Tatum, TX 75691




Tony Wayne Clemens                     Tony Wells                      Tonya Davis
6705 Highway 135 N                     9805 Katy Freeway               115 Town East Rd
Kilgore, TX 75662                      Houston, TX 77024               Henderson, TX 75654




Tonya Hicks                            Tonya Marie Holland             Tonya Michele Hall Aruffo
986 Euclid St                          301 University St               3817 Meadow Lake Lane
Beaumont, TX 77705                     Ruston, LA 71270                Houston, TX 77027




Tonya Murphy Stephens                  Tonya Plant                     Tonya Rea Mills
7214 Bobtail Cir                       4713 Serrano Dr                 1751 Mccullin Rd
Shreveport, LA 71129                   League City, TX 77573           Dubach, LA 71235




Tonya Toomer Furance                   Tonya Yeager                    Tonys Oilfield Services Inc
6149 Fm 2026                           2013 S Memorial                 817 Houston Street
Tenaha, TX 759742545                   Pasadena, TX 77502              Levelland, TX 79336




Tooke Rockies Inc                      Toolpushers Supply Co           Top Co Cementing Products Inc
PO Box 435                             PO Box 1714                     7330 N Sam Houston Pkwy W 100
Casper, WY 82602-0435                  Casper, WY 82602                Houston, TX 77064-3571




Top Line Rental LLC                    Top Notch Energy Services Inc   Topcat Oilfield Transport LLC
PO Box 2290                            PO Box 4964                     2800 Stanolind St
Henderson, TX 75653                    Corpus Christi, TX 78469        Longview, TX 75604




Topcat Oilfield Transport LLC          Topcat Well Services LLC        Topdrive Communications
Bobbie Mccormick                       513 S Sun Camp Rd               16421 Fm 344 W
513 Suncamp Rd                         White Oak, TX 75693             Bullard, TX 75757-9502
Wite Oak, TX 75693




Topographic Land Surveyors             Topper Corporation              Toprun LLC
6709 N Classen Blvd                    C/O Terry O Ewing               2121 Sage Road Suite 225
Oklahoma City, OK 73116                PO Box 827                      Houston, TX 77056
                                       Ruston, LA 71273




Torben Oil Gas LLC                     Torch Energy Advisors           Torch Oil And Gas Company
Balutta Heights Fl 5                   1331 Lamar St Ste 1075          670 Dona Ana Road Sw
Triq Is Sorijiet                       Houston, TX 77010-3080          Deming, NM 88030
San Giljan 1350 Stj
Malta
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Torch Rental Services LLC             Torch Wireline LLC                     Toreador Acquisition Corp
Delissa Stewart                       3400 W Marshall Ave                    4809 Cole Ave 108
PO Box 3427                           Suite 404                              Dallas, TX 75205
Kilgore, TX 75662                     Longview, TX 75604




Torgerson Mineral Agence              Tori M Henley                          Tori Rider
Frost National Bank Agent             1018 N Harrison                        PO Box 535
PO Box 1600                           San Augastine, TX 75972                Dry Creek, LA 70637
San Antonio, TX 78296




Tornado Production Svcs LLC           Torqued Up Energy Services Inc         Torre C Smitherman
PO Box 677055                         PO Box 203259                          2652 Pass Circle
Dallas, TX 75267-7055                 Dallas, TX 75320-3259                  Gainesville, GA 30506




Tortoise Capital Advisors LLC         Tortuga Oil Gas Inc                    Tostado Jazmin
11550 Ash St 300                      Two Turtle Creek Village               Address Redacted
Leawood, KS 66211                     3838 Oak Lawn Suite 1216
                                      Dallas, TX 75219




Total Concept Sales Inc               Total Energy Services                  Total Energy Solutions LLC
2505 Foothill Blvd Ste G              100 North Freeway Suite 100            1338 Petroleum Pkwy
La Crescenta, CA 91214                Conroe, TX 77301                       Broussard, LA 70518




Total EP Usa Inc                      Total Minatome Corporation             Total Safety Us Inc
PO Box 301105                         2 Houston Ctr Ste 2000                 PO Box 974686
Dallas, TX 75303-1105                 PO Box 4326                            Dallas, TX 75397-4686
                                      Houston, TX 77210-4326




Total Supply Rental LLC               Total Valve Equipment LLC              Total Western Inc
PO Box 60593                          PO Box 82465                           8049 Somerset Blvd
Midland, TX 79711                     Lafayette, LA 70598                    Paramount, CA 90723




Towanda Hooks                         Tower Communication Automation Inc     Towerstream Corporation
1409 Challenger Ave                   PO Box 3674                            PO Box 414061
Alamogordo, NM 88310-8010             Gillette, WY 82717                     Boston, MA 02241-4061




Town Of Arcadia                       Town Of Arcadia Water Sewage Deposit   Town Of Bairoil
PO Box 767                            1819 S Railroad Ave                    PO Box 58
Arcadia, LA 71001-0767                Arcadia, LA 71001                      1101 Antelope Dr
                                                                             Bairoil, WY 82322




Townebank                             Townes Lane Partnership                Towns Company LLC
5716 High St W                        504 W 13Th St                          112 Northgate Drive
Portsmouth, VA 23703                  Austin, TX 78701-1839                  Arcadia, LA 71001
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Townsend Heirs Partnership               Toye Kaye Harrison                        Toye Kaye Smith
c/o John Fox Holt Iii                    PO Box 150705                             35578 Fm 1488
6301 Gaston Ave Suite 420                Lufkin, TX 75915-0705                     Hempstead, TX 77445
Dallas, TX 75214




Tpf Ii East Texas Gathering LLC          Tps LLC Dba Technical Process Solutions   Tps Rock Bit Inc
2626 Cole Ave Suite 850                  PO Box 841321                             PO Box 1425
Dallas, TX 75204                         Dallas, TX 75284-1321                     Ponca City, OK 746021425




TR Corrosion Consultants LLC             Tr Denner Enterprises Inc                 Tr Under Will Of Marvin Muslow
7689 Us Hwy 80 West                      PO Box 316                                PO Box 4503
Marshall, TX 75670                       Fort Lupton, CO 80621                     Shreveport, LA 71130




Trace Holmes                             Trace Stewart                             Tracey A Buonarota
Address Redacted                         13371 Hwy 110 North                       Individual Retirement Account
                                         Tyler, TX 75704                           1042 Twin Lakes Drive
                                                                                   Coral Springs, FL 33071-5323




Tracey Bergman Scasta                    Tracey D Franks                           Tracey L Lunenburg
1203 Walton Drive                        PO Box 37                                 5 Brighton Way
College Station, TX 77840                New Boston, TX 75570                      Farmington, CT 06032-4409




Tracey L Smith                           Tracey Patrick Blanchard                  Traci Ann Holt Mcclary
19908 Bluehill Pass                      4215 Nory Lane                            5501 Bent Tree Dr
Helotes, TX 78023                        Monroe, LA 71201                          Shreveport, LA 71115




Traci Jill Elliott Nelson                Traci Nelson                              Traci P Patton
c/o Virginia Lee Elliott                 3920 Tarrytown Ln                         12308 White Cloud
3209 Kensington Dr                       Agoura Hills, CA 91301                    Conifer, CO 80433
Mesquite, TX 75150




Tracie Ann Chapman                       Tracie Elaine Taylor Walsh                Tracinal Shantah Carr
595 Shoreline Drive                      PO Box 236                                2149 Sleepy Ct
Timpson, TX 75975                        Arcadia, LA 71001                         Las Vegas, NV 89106




Tractel Inc                              Tracy A Birrell                           Tracy A Walker
PO Box 55811                             4814 North Washington Blvd                24 Pebble Beach Drive
Boston, MA 02205-5811                    Arlington, VA 22205-2543                  Shalimar, FL 32579




Tracy A Woodward                         Tracy Allen Donoho                        Tracy Bingham
8307 Cedardale Dr                        7303 S Hwy 287                            1564 W 300 N
Alexandria, VA 22308                     Corsicana, TX 75109                       West Point, VA 84015
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Tracy C Thompson Rev Tr               Tracy Carney                    Tracy D Wedgeworth
2609 Coronado Dr                      6519 East Danbury Street        2907 Clendenen Lane
Roswell, NM 88201                     Belaire, KS 67226               Longview, TX 75605




Tracy Darrow Tice                     Tracy Denise Malone Sep Prop    Tracy E Thompson
1307 S Hazel Street                   168 Armstrong Way Apt D         7026 Old Kent Drive
Grove, OK 74344                       Upland, CA 91786                Knoxville, TN 37919




Tracy H Moss                          Tracy Jane Stelmar              Tracy L Minnix
2700 E Fm 802 Apt 824                 2140 Clubview Drive             PO Box 2012
Brownsville, TX 78521                 Rockwall, TX 75087              North Conway, NH 03813




Tracy L Richardson                    Tracy L Santoro                 Tracy Lee Huffman
3036 Gaywood Drive                    Address Redacted                11503 Dunlap
Shreveport, LA 71108                                                  Houston, TX 77035




Tracy Lf Cain                         Tracy Lynn Johnston             Tracy Lynn Shepherd
2800 Chartstone Court                 1700 Hillview Road              1218 Mt Langley Ct
Midlothian, VA 23113                  Abilene, TX 79601               Tulare, CA 93274




Tracy Newhouse                        Tracy Ray Usry                  Tracy Reed A Minor
503 W Howard                          547 County Rd 3109              c/o Texas State Treasurer
Stockton, CA 75206                    Jacksonville, TX 75766          Unclaimed Property Division
                                                                      PO Box 12608 Capitol Station
                                                                      Austin, TX 78711



Tracy Renee Upchurch Renfrow          Tracy Ross                      Tracy S Reves
PO Box 18414                          20 Summerwind Dr                906 Crates Lake
Golden, CO 80402                      Garden Valley, ID 83622-3600    Allen, TX 75002




Tracy Skaggs                          Tracy Wood Kyle                 Traditions 2008 Invstmts LLC
1010 Mayberry Crt                     6202 East 108Th St              9805 Katy Fwy Ste 500
Copper Canyon, TX 75077               Tulsa, OK 74137                 Houston, TX 77024-1271




Traffic Management Inc                Trans Louisana Gas Pipeline     Trans Pacific Oil Corporation
2435 Lemon Ave                        1100 Poydras St Ste 3400        100 South Main St Suite 200
Signal Hill, CA 90755                 New Orleans, LA 70163-3400      Wichita, KS 67202




Trans Texas Gas Corporation           Trans Texas Southwest C U       Transamerica Retirement Solutions LLC
1300 N Sam Houston Pkwy E             3401 Loop 306                   8488 Shepherd Farm Dr
Suite 310                             San Angelo, TX 76904            West Chester, OH 45069
Houston, TX 77032
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Transfac LLC                           Transfac LLC                     Transport Cemetery Assoc
Fbo Big Star Energy Services Llc       Fbo Big Star Tubing Svcs Llc     c/o Teresa Carroll Sec Treas
PO Box 3238                            PO Box 3238                      265 Wildrose Drive
Salt Lake City, UT 84110-3238          Salt Lake City, UT 84110-3238    Jonesboro, LA 71251




Transport Cemetery Association         Transzap                         Transzap
265 Wildrose Dr                        Dept 3597                        Ronnie Vasquez
Jonesboro, LA 71251                    PO Box 123597                    633 Seventeenth Street Suite 2000
                                       Dallas, TX 75312-3597            Denver, CO 80202




Trant L Kidd Fmly Prtshp Ltd           Trant L Kidd Special Trust       Trantech Radiator Products Inc
102 North College Ste 106              102 N College Ste 106            1 Tranter Drive
Tyler, TX 75702                        Tyler, TX 75702                  PO Box 570
                                                                        Edgefield, SC 29824-0570




Trashaway Duncan 691                   Travelers Cl Remittance Center   Travesea Mallard
PO Box 78829                           PO Box 660317                    3200 Rolling Hill Drive
Phoenix, AZ 85062-8829                 Dallas, TX 75266-0317            Tyler, TX 75702




Travis A Mcdermott Irrevocable Trust   Travis Addison Rider             Travis Buford Nutt Jr
Robert L Mcdermott Trustee             665 Wood Rd                      3757 Fm 999
2805 Apple Valley Drive                New Braunfels, TX 78130-6133     Gary, TX 75643
Garland, TX 75043-1222




Travis Carroll Bowen                   Travis Craig Casper              Travis Credit Union
PO Box 1919                            4202 Cat Mountain Drive          One Travis Way
Kilgore, TX 75663                      Austin, TX 78731                 Vacaville, CA 95687




Travis Dale Shaver                     Travis David Scroggins           Travis Dean Hood
5800 Boxelder Trail                    19112 Greenleaf Dr               12095 Highway 146
Killeen, TX 76542                      Flint, TX 75762                  Dubach, LA 71235




Travis Dennard                         Travis E Critton                 Travis E Kitchens Jr
6407 Grovewood                         122 Olympia Drive                P O Drawer 310
Houston, TX 77008                      Sibley, LA 71073                 Groveton, TX 75845




Travis Freeman Jr                      Travis Hill                      Travis Hill Haring Trust
4698 Linda Lane                        2214 Camelback Drive             327 E Nottingham
Asheboro, NC 27205                     San Antonio, TX 78209            San Antonio, TX 78209




Travis Holland                         Travis Kelly Mellard             Travis L Rogers Jerry L Rogers
11501 Fm 2607                          3620 Josh Ln                     5260 Fm 225 South
Arp, TX 75750                          Austin, TX 78730                 Henderson, TX 75654
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Travis Lee                             Travis M Spears                     Travis Mccrary
10870 Cr 173N                          2619 S Tomahawk Rd                  933 South Pine St 308
Overton, TX 756843211                  Saint Joe, AR 72675                 Vivian, LA 71082




Travis Moore Roberts                   Travis N Hall                       Travis N Kimble
722 Old San Antonio Rd                 5517 Quitman Hgwy                   11 Tanglewood
Dale, TX 78616                         Quitman, LA 71268                   Uvalde, TX 78801




Travis Payton Brown                    Travis Peak Royalty Corp            Travis Pilgreen
PO Box 487                             300 West Sabine At Sycamore         13207 Rampchester St
Colmesneil, TX 75938                   Carthage, TX 75633                  Houston, TX 77015




Travis Samons                          Travis Schkade                      Travis Wayne Ellard
Address Redacted                       PO Box 692                          112 Janis Street
                                       Mertzon, TX 76941                   West Monroe, LA 71292




Trb Housing LLC                        Trc Construction Inc                Trc Consultants Lc
5650 Haywood Dr                        PO Box 430                          120 Dietert Avenue Suite 100
Keithville, LA 71047                   Flora Vista, NM 87415               Boerne, TX 78006




Trc Environmental Corp                 Trc Services Of Texas Inc           Trc Services Of Texas Inc
Charles Cassell                        8505 Technology Forest Pl Ste 702   2810 S County Road 1207
2057 Commerce Drive                    Spring, TX 77381-1206               Midland, TX 79706-3756
Midland, TX 79703




Tre Investments                        Treasurer State Of Connecticut      Treasurer State Of Connecticut
1027 Austin Hwy Suite 200              Unclaimed Property                  Unclaimed Property Div
San Antonio, TX 78209                  PO Box 150435                       55 Elm Street 5Th Flr
                                       Hartford, CT 06115-0435             Hartford, CT 06106




Treasurer State Of Iowa                Treat Royalty Company LLC           Treblig Investment Co Inc
Unclaimed Properity Division           PO Box 250                          401 Edwards St Ste 1205
PO Box 10430                           Minden, LA 71058                    Shreveport, LA 71101
Des Moines, IA 50306-0430




Trek Oil And Gas Inc                   Trek Resources Inc                  Trek Soc LLC
3555 Timmons Ln Suite 1115             4925 Greenville Ave Ste 915         4925 Greenville Avenue
Houston, TX 77027                      Dallas, TX 75206                    Suite 915
                                                                           Dallas, TX 75206-4021




Trena Denise Younger                   Trench Shoring Services             Trend Services Inc
1254 E 89Th Street                     6770 East 57Th Ave                  Jimmy Swain
Los Angeles, CA 90002                  Commerce City, CO 80022-4037        PO Box 747
                                                                           Broussard, LA 70518
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1414 of 1524

Trend Services Inc                     Trendsetter Construction Inc           Trenton Appliance Co Inc
PO Box 747                             PO Box 246                             PO Box 2555
Broussard, LA 70518                    White Oak, TX 75693                    West Monroe, LA 71294




Trenton L Allison                      Tressa Brown                           Tressa Windham
140 P R 685                            2025 Hi Hill Ptc                       6230 Cr 915
Carthage, TX 75633                     Dallas, TX 75203                       Nacogdoches, TX 75964




Tressie May                            Trevin Lee Bush                        Trevor Cohen
2601 Ohio Ave                          101 Mt Pleasant Church Rd              3710 Rawlins Street
Richmond, CA 94804                     Cadiz, KY 42211                        Suite 1000
                                                                              Dallas, TX 75219-6409




Trevor Tredaway                        Trey Daniel Mackey Or                  Trey Roberson
8905 Dee Rd                            Texas State Treasury Dept              6006 2nd St
Big Spring, TX 79720-2162              Unclaimed Property Division            Lubbock, TX 79416-1740
                                       PO Box 12019
                                       Austin, TX 78711-2019



Trey Smith Tara Whitlow Smith          Trgoag Company Inc                     Tri Best Inc
256 Jill Loop                          c/o Prudential Financial               1462 Derby Court
Ruston, LA 71270                       100 Mulberry St Gateway                San Angelo, TX 76904
                                       Center 2 Floor 5Th
                                       Newark, NJ 07102



Tri C Rental Tools Inc                 Tri City Services Inc                  Tri City Services Inc
191 South County Road 307              Jim Guidry                             PO Box 81858
Orange Grove, TX 78372                 3313 West Pinhook Road                 Lafayette, LA 70598-1858
                                       Lafayette, LA 70508




Tri County Electric Coop Inc           Tri Drill                              Tri Element Inc
B K Office                             1001 Briar Patch Rd                    315 Hub St
PO Box 672                             Broussard, LA 70518                    Alice, TX 78332
Seymour, TX 76380-0672




Tri Energy Asset Mgmt Inc              Tri Energy Services Inc                Tri Leaf Industries LLC
13910 Champion Forest Dr               PO Box 954                             Woody Williams
Suite 105                              Flora Vista, NM 87415                  6140 Highway 6 Suite 178
Houston, TX 77069                                                             Missouri City, TX 77459




Tri Mac LLC                            Tri Plex Commercial Weed Control Inc   Tri Star Protector Service Co
c/o Barbara Bright                     14001 N Us Highway 87                  c/o Protective Industries Inc
404 Spring Meadow Ct                   Ackerly, TX 79713-4112                 3012 Momentum Place
Midland, TX 79705                                                             Chicago, IL 60689-5330




Tri State Energy Services LLC          Tri State Pressure Control LLC         Tri State Pressure Control LLC
1390 Highway 795                       Roman Cline                            PO Box 678524
Gibsland, LA 71028                     PO Box 7846                            Dallas, TX 75267-8524
                                       Shreveport, LA 71137
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Tri State Trucking LLC                 Tri Tau LLC                     Tri Tech Energy Services
PO Box 748                             10 Eagle Pass                   140 Decal Street
Vernal, UT 84078                       Canyon, TX 79015                Lafayette, LA 70508




Triad Builders Of Ruston Inc           Triad Land Services LLC         Triangle Royalty Company
401 West Mississippi Avenue            PO Box 10019                    PO Box 1817
Ruston, LA 71270                       Tyler, TX 75711-0019            Shreveport, LA 71166




Trican Well Service L P                Trican Well Service Lp          Tricia Lenore Wood
20333 State Highway 249 Ste 200        PO Box 677418                   2688 Glen Arbor Drive
Houston, TX 77070-2613                 Dallas, TX 75267-7418           Colorado Springs, CO 80920




Tricia Rachell Sims Spurlock           Tricontinental Resources Part   Tricor Energy LLC
338 Arlington Dr                       139 W 2 St                      1452 Hughes Rd Ste 200
Homer, LA 71040                        Casper, WY 82601                Grapevine, TX 76051




Trident Casing Services LLC            Trident Steel Corporation       Trifarbro Investment Co LLC
2976 Silver Ridge Trl                  12825 Flushing Meadows Dr       c/o Tx Comptroller Of Public
Medina, OH 44256-6944                  Ste 110                         Unclaimed Property Division
                                       Saint Louis, MO 63131-1837      PO Box 12019
                                                                       Austin, TX 78711-2019



Trihydro Corporation                   Trilobite Testing Inc           Trilogy Operating Inc
1252 Commerce Dr                       PO Box 1733                     PO Box 7606
Laramie, WY 82070                      Hays, KS 67601                  Midland, TX 79708




Trimble Navigation Limited             Trimble Properties              Trimmie White Tobin
Dept 33209                             114 West Main                   746 Talbert White Rd
PO Box 39000                           El Dorado, AR 71730             Simsboro, LA 71275
San Francisco, CA 94139-3209




Trina Estremera                        Trina Kay Tieber                Trinity Bank
1776 Heritage Dr                       12621 Burninglog Lane           3500 W Vickery Blvd
North Quincy, MA 02171                 Dallas, TX 75243                Fort Worth, TX 76107




Trinity Bay Energy Lp                  Trinity Bay Oil Gas Inc         Trinity Disposal Trucking LLC
PO Box 7010                            5219 City Bank Pkwy Ste 210     Capital One Bank
Arlington, VA 22207                    Lubbock, TX 79407               PO Box 4869
                                                                       Dept 429
                                                                       Houston, TX 772104869



Trinity Energy Solutions Inc           Trinity Episcopal Church        Trinity Land Minerals Lp
PO Box 200489                          5010 North Main                 309 W 7Th St Ste 500
Evans, CO 80620-0489                   Baytown, TX 77521               Fort Worth, TX 76102
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Trinity Management Consulting             Trinity Minerals                     Trinity Petroleum Exploration
1660 Lincoln Street                       PO Box 17418                         Buffalo Building Suite A
Suite 2100                                Fort Worth, TX 76102                 306 S Lookout Mountain Road
Denver, CO 80264-2101                                                          Golden, CO 80401




Trinity Petroleum Mgmt LLC                Trinity River Energy LLC             Trinity River Energy Operating LLC
1660 Lincoln Street                       PO Box 204258                        777 Main Street
Suite 2100                                Dallas, TX 75320-4258                Ste 3600
Denver, CO 80264                                                               Fort Worth, TX 76102




Trinity Royalty Company                   Trinity Services LLC                 Trinity Storage Services Lp
PO Box 1756                               220 Travis St Suite 501              13453 Hwy 71 West
Shreveport, LA 71166                      Shreveport, LA 71101                 Bee Cave, TX 78738




Trinity Temple                            Trinity University                   Trinity Valley Electric Cooperative Inc
PO Box 1678                               Frost National Bank                  PO Box 1228
Artesia, NM 88211                         PO Box 27                            Kaufman, TX 75142-1228
                                          San Antonio, TX 78291-0027




Trinity Valley Electric Cooperative Inc   Trio Equipment Rental Services LLC   Trio Technologies Inc
PO Box 2153                               PO Box 2208                          26732 Ashford
Birmingham, AL 35287-2000                 Alice, TX 78333-2208                 Mission Viejo, CA 92692




Trio Trust                                Triple C Production Svc Inc          Triple Crown Acquisitions LLC
PO Box 1948                               Poi Box 1148                         PO Box 376
Bentonville, AR 727121948                 Yorktown, TX 78164                   Jacksonville, TX 75766




Triple F Fields LLC                       Triple F Oil Field Services LLC      Triple H Engine Service Inc
Beverly B Flanders Mngr                   1420 Shelbyville St                  PO Box 565
476 Grand Oaks Dr                         Center, TX 75935-4604                Lovington, NM 88260
Shreveport, LA 71106




Triple H Resources Inc                    Triple J Electrical Service LLC      Triple J Energy Pipe Supply Lp
Attn Harold G Holcomb                     1338 Boliver Rd                      PO Box 1578
PO Box 10463                              Converse, LA 71419-3809              Hallsville, TX 75650
Midland, TX 79702




Triple J High Pressure Inc                Triple J Investments Inc             Triple J Services
PO Box 879                                PO Box 3142                          PO Box 1937
Zapata, TX 79076                          Longview, TX 75606                   Vernal, UT 84078




Triple J Well Svc Inc                     Triple L Inc                         Triple L Contracting Excavating LLC
PO Box 443                                PO Box 1130                          7460 W 28Th St
Deberry, TX 75639                         Lander, WY 82520                     Greeley, CO 80634
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Triple L Service                       Triple M Saltwater Disposal Lp      Triple M Transports
6102 89Th St                           PO Box 759                          1203 Pecan Grove
Lubbock, TX 79424-0832                 Kilgore, TX 75663                   Big Lake, TX 76932




Triple M Transports                    Triple O Slabbing Inc               Triple R Roustabout Inc
Clifton C Booth Dba                    2830 W 9Th Ave                      PO Box 1014
Coby Booth                             Denver, CO 80204                    Monahans, TX 79756
1203 Pecan Grove
Big Lake, TX 76932



Triple S Trucking Co                   Triple Shot Express                 Triple T Resources Lp
PO Box 100                             10576 Tiberridge Drive              4809 Cole Ave 108
Aztec, NM 87410                        College Station, TX 77845           Dallas, TX 75205




Triple W Backhoe Inc                   Triplex Backhoe Service LLC         Tripoint LLC
PO Box 1475                            14001 N Us Highway 87               Dba Nine Energy Service And Affiliates
Lamesa, TX 79331                       Ackerly, TX 79713-4112              Gary Haynes
                                                                           Dept 381 PO Box 4346
                                                                           Houston, TX 77210



Trisha Cole                            Trishna Corporation Inc             Tristate Etx LLC
100 Graystone Drive                    1061 Hazel St                       9901 Valley Ranch Parkway East
Apartment B4                           Arcadia, LA 71001                   Suite 2000
Natchitoches, LA 71457                                                     Irving, TX 75063




Tristate Etx LLC                       Triton Oil Gas Corp                 Triumph Business Capital
9901 Valley Ranch Pkwy E Ste 2000      4849 Greenville Ave                 Fbo Greer Transport
Irving, TX 75063-4870                  1000 Two Energy Square              PO Box 610028
                                       Dallas, TX 75206                    Dallas, TX 75261-0028




Triumph Energy LLC                     Triumph The Church Kingdom Of God   Trog Fund I Lp
333 Texas St                           In Christ Of Ruston                 PO Box 5746
Suite 1230                             1405 Allen Street                   Austin, TX 78763
Shreveport, LA 71101                   Ruston, LA 71270




Troy A Hendrix                         Troy A Stewart Testamentary Tr      Troy Costlow
2877 Highway 557                       First National Bank Ft Worth        PO Box 2590
West Monroe, LA 71292                  PO Box 7                            Oregon City, OR 97045-0217
                                       Ft Smith, AR 72902




Troy D Grooms                          Troy Dominic Lyons 2000 Trust       Troy H Smalling
PO Box 600134                          Blythe Ann Lyons Trustee            2500 N Trenton
Dallas, TX 75360                       PO Box 69                           Ruston, LA 71270
                                       Centreville, MS 39631




Troy L Thompson                        Troy Leon Morgan Jr                 Troy Lynn Lake
5875 E Dakota Ave                      PO Box 1175                         3820 Fm 10
Fresno, CA 93727-7912                  Hallsville, TX 75650                Gary, TX 75643
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Troy O Jarrell                         Troy Randolph Brown                Troy West Rook
1506 Willis St                         7701 Chesapeake Drive              29122 Black Meadow Ct
West Monroe, LA 71291-7112             Shreveport, LA 71105               Menifee, CA 92585




Troy Z Parrish                         Troy Z Parrish Panola Co Tax       Troyce Hogan
c/o Shelby Savings Bank                Office Perdue Brandon              PO Box 21
PO Box 1806                            Fielder Collins Mott Llc           Calhoun, LA 71225
Center, TX 75935                       913 B Pegues Place
                                       Longview, TX 75601



Troyce W Cleghorn                      Troyce W Cleghorn Leona Cleghorn   TroyS Office Treatments
1911 Castlegate Dr                     1911 Castlegate Dr                 PO Box 283
Henderson, TX 75654-2501               Henderson, TX 75654-2501           Longview, TX 75606




Trs For Suez Temple Aaonms             Truco Partnership Ltd              Trudi Deen Wallace
2915 Loop 306                          PO Box 320                         1431 Mary Lou St
San Angelo, TX 76901                   Overton, TX 75684                  San Diego, CA 92102




Trudy E Denny                          Trudy Jean Bangs                   Trudy Lucille Wallace
Address Redacted                       606 Courtney Ln                    PO Box 10234
                                       Mckinney, TX 75071                 Longview, TX 75608




Trudy Walker Clark                     True Oil LLC                       True Resource Development LLC
6629 Highway 79                        455 N Poplar                       1541 Diamond Dr
Homer, LA 71040                        Po Drawer 2360                     Casper, WY 82601
                                       Casper, WY 82602




True Revocable Trust                   Trueblood Resources Inc            Truett Lee Scarborough
9251 W Twin Peaks Road                 1720 S Bellaire Suite 908          PO Box 25
Tuscon, AZ 85743                       Denver, CO 80222                   Choudrant, LA 70158




Truitt Cockrell                        Trujillo Land Services             Truman A Potts
6004 Selkirk Court                     PO Box 1252                        2801 Foxxwood Dr
Cleburne, TX 76033                     Cheyenne, WY 82003-1252            Ruston, LA 71270




Truman Brooks                          Truman Lane Chapman                Truman P Blue
716 University Street                  2527 N 8Th Street                  207 Hunter Rd
Mineola, TX 75773                      West Monroe, LA 71292              Mansfield, LA 71052




Truman W Grove Estate                  Trumbull Oil Properties LLC        Truminnie A Wiggins
c/o Ila Fay Grove                      333 Tigertail Road                 4062 Silverwood Dr
3704 Windsor Parkway                   Los Angeles, CA 90049              Houston, TX 77025
Corinth, TX 76210
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Trunk Bay Royalty Partners Ltd         Trussco Inc                               Trussell Holdings LLC
PO Box 671099                          PO Box 732327                             PO Box 40
Dallas, TX 75367-1099                  Dallas, TX 75373-2327                     Ruston, LA 71293




Trust A U/W/O Jack Blake Deceased      Trust Asset Management LLC                Trust B U/W John P Sturgis
Carol Jo Blake Trustee                 1900 Saint James Place                    32 Eagle Island Place
400 N Main Street                      Houston, TX 77056                         Sheldon, SC 29941
Midland, TX 79701




Trust Under The Will Of Marie R Rabb   Trust Under The Will Of Marie R Rabb      Trust Under The Will Of Marie R Rabb
Fbo Brett Deffebach                    Fbo George Dix                            Fbo William Dix
Jpmorgan Chase Bank Na Trustee         Jpmorga Chase Bank Na Trustee             Jpmorgan Chase Bank Na Trustee
PO Box 99084                           PO Box 99084                              PO Box 99084
Ft Worth, TX 76199-0884                Ft Worth, TX 76199-0884                   Ft Worth, TX 76199-0884



Trustees Of Shannon West Texas         Trustees Successors Fbo                   Trustmark National Bank
Memorial Hospital                      Truitts Chapel Baptist Church An Unicor   248 East Capitol Street
PO Box 49                              Religious Assoc Sholar Cemetary Assoc     Jackson, MS 39201
San Angelo, TX 76902-0049              190 Cr 3798
                                       Joaquin, TX 75954



Tryad Service Corporation              Trylilbie O Vance                         Trz Holdings Iv LLC
5900 E Lerdo Highway                   Agency Account                            100 Wellington St W Ste 1910
Shafter, CA 93263                      c/o Alma Jean Yeoman                      Toronto, ON M5K 1K2
                                       3030 Country Club                         Canada
                                       Sugar Land, TX 77478



Tsc Sieber Services LLC                Tschetter Properties Ltd                  Tsi Supply
22140 State Hwy 64 E                   PO Box 1140                               PO Box 9182
Arp, TX 75750                          Wilson, WY 83014-1140                     Corpus Christi, TX 78469




Tsws Well Service                      Tsws Well Service Now Under Texas Ces     TT Roustabout LLC
PO Box 202038                          Which Has Adopted The Warrior Agreement   Dba TT Testing
Dallas, TX 75320-2038                  PO Box 202038                             PO Box 449
                                       Dallas, TX 75230                          Windsor, CO 80550




Tti Tubulars Ltd                       Ttpyp Ltd                                 Tubb Memorial Lp
11995 Fm 344 E                         PO Box 1558                               c/o Bank Of America
Whitehouse, TX 75791                   Fairview, NC 28730                        PO Box 840738
                                                                                 Dallas, TX 75284-0738




Tubing Testers Inc                     Tubular Inspection Co Inc                 Tubular Products Of Texas Inc
PO Box 655                             PO Box 22284                              David Green
Archer City, TX 76351                  Bakersfield, CA 93390                     1002 Village Square Suite C
                                                                                 Tomball, TX 77375




Tubular Products Of Texas Inc          Tubular Solutions Inc                     Tubular Solutions Inc
4515 Brittmoore Road                   Tubular Solutions Ii Inc Dba              12335 Kingsride 250
Houston, TX 77041                      Alan Stigall                              Houston, TX 77024
                                       12335 Kingsride 250
                                       Houston, TX 77024
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Tucker Arnold W                        Tucker B Royall                       Tucker B Royall Trust
Address Redacted                       PO Box 770                            Tucker B Royall Trustee
                                       Palestine, TX 75802-0202              PO Box 770
                                                                             Palestine, TX 75802




Tucker B Royall Trust                  Tucker B Royall Trust                 Tucker Bridwell
Tucker B Royall Trustee                U/W Frances K Royall                  PO Box 1616
c/o Citizen National Bank              PO Box 202                            Abiliene, TX 79604
PO Box 770                             Palestine, TX 75802
Palestine, TX 75802-0202



Tucker Dorothy J Trust                 Tucker Energy Services                Tucker Energy Services Inc
Tucker Dorothy J Ttee                  411 N Sam Houston Parkway E           Barrett Bailey
259 Palm Springs Ave                   Suite 300                             12607 E 60Th St South
Cheyenne, WY 82009                     Houston, TX 77060                     Tulsa, OK 74146




Tucker K Royall Trust                  Tucker Living Trust 11/16/92          Tucker Rev Tr Norman A Tucker
325 North St Paul St 2525              Margaret M Tucker Successor Trustee   13919 Barrington Fairway
Dallas, TX 75201                       6604 N 78Th Street                    Houston, TX 77069
                                       Scottsdale, AZ 85250




Tuco Lee W Moncrief Management         Tuco Lee W Moncrief Management        Tuco Lee W Moncrief Management
PO Box 2546                            PO Box 832407                         PO Box 840738
Fort Worth, TX 76113                   Dallas, TX 75283                      Dallas, TX 75284-0738




Tucson Old Pueblo Credit Union         Tuff Services LLC                     Tufts Associated Hmo Inc
2500 E 22nd Street                     PO Box 876                            705 Mount Auburn Street
Tucson, AZ 85713                       Kermit, TX 79745                      Watertown, MA 02472




Tug Hill Energy LLC                    Tulip Ltd                             Tulsa Boys Home Inc
1320 S University Dr                   PO Box 5204                           c/o Midfirst Bank Agent
Ste 500                                Midland, TX 79704                     PO Box 258850
Forth Worth, TX 76107                                                        Oklahoma City, OK 73125




Tumbleweed Partners LLC                Turbeco Inc                           Turbinesinc Odessa LLC
800 Bering Dr Suite 250                PO Box 677496                         960 South Meadow Avenue
Houston, TX 77057                      Dallas, TX 75267-7496                 Odessa, TX 79761




Turbo Chem International Inc           Turboflex Inc                         Turkey Trot/Midway Alabama Lp
PO Box 60383                           32106 Rochen Road                     8235 Douglas Ave Ste 1050
Lafayette, LA 70596                    Waller, TX 77484                      Dallas, TX 75225




Turlington LLC                         Turn Right Tools LLC                  Turner Dunne Griffin Iii
391 Cartwright Road                    PO Box 3729                           1508 Homestead St
Wichita Falls, TX 76305                Houma, LA 70361-3729                  Flower Mound, TX 75028
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Turner Energy Services LLC             Turner Family Trust                     Turner Family Trust Dtd 031502
205 West Maple Suite 700               First State Bnk Trst Co Ttee            Ralph E Elizabeth H Turner Co Trustees
Enid, OK 73701                         Att David Murphy Vp Tr Officer          4516 A Emerson Avenue
                                       PO Box 979                              University Park, TX 75205
                                       Carthage, TX 75633



Turner Fuller                          Turner Jimmy B                          Turner Judy Ivy
PO Box 472                             1025 Fm 2517                            13827 202nd Avenue
Midland, TX 79702                      Carthage, TX 75633                      Bloomer, WI 54724




Tutt And Morgan Properties Inc         Tuttle Family Prtnershp Mary            Tuw W K Young Fbo W K Young Jr
PO Box 922                             L Hagstrom General Prtn                 Bank Of America Na Trustee
Hallsville, TX 75650                   PO Box 2267                             PO Box 840738
                                       Cheyenne, WY 82003                      Dallas, TX 75284-0738




Tw Aubrey                              Twain K Giddens Jr                      Twanna Jones
3007 Messington                        PO Box 1594                             9310 Kenmore
Kansas City, MO 64278                  Shreveport, LA 71165-1594               Beaumont, TX 77707




Twenty Three Oil Gas Ltd               Twila June Daniels                      Twila Price Schorsch
Beaird Tower                           605 Brazos                              61 Scott Loop
416 Travis St Ste 200                  Lumberton, TX 776569219                 Highland Park, IL 60035
Shreveport, LA 71101




Twilight Services Inc                  Twin Eagle Crude Leasehold              Twin Resources LLC
PO Box 7160                            Gathering Llc                           PO Box 2243
Granbury, TX 76049                     8847 W Sam Houston Pkwy North           Longview, TX 75606
                                       Houston, TX 77040




Twinstar Credit Union                  Twister Drilling Tools LLC              Twister Drilling Tools LLC
PO Box 718                             Dba Triumph Downhole Services           Dba Triumph Downhole Services
Olympia, WA 98507-0718                 Pam Berryman                            Dept 939
                                       11390 Fm 830                            PO Box 4346
                                       Willis, TX 77318                        Houston, TX 77210-4346



Two Draw Welding LLC                   Two Half Hitches Oil Gas Inc            Two R Farms Inc
PO Box 744                             55 Waugh Drive Suite 600                PO Box 136
Post, TX 79356                         Houston, TX 77007                       Welch, TX 79377




Two Rod LLC                            Twojo Inc                               Twojo LLC
578 Janie Ct                           c/o Terry Cook                          c/o Terry Cook
Shreveport, LA 71106                   428 North Fredonia                      2393 Gh Mosely Pkwy
                                       Longview, TX 75601                      Bldg 4 Ste 100
                                                                               Longview, TX 75604



Tworock Inc                            Tws Energy Specialty Distribution LLC   Twyla Kim Smith
PO Box 3156                            PO Box 1709                             10895 Loop 60
Flint, TX 75762                        Midland, TX 79702-1709                  Larue, TX 75770
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Tx Alliance Of Energy Producer         Tx Alliance Of Engy Producers            Tx Baptist ChildrenS Home
PO Box 1018                            719 Scott Ave Suite 930                  1601 Elm Street Suite 1700
Pearland, TX 77588-1018                Witchita Falls, TX 76301                 Dallas, TX 75201-7241




Tx Board Of Prof Engineers             TX Commission Of Environmental Quality   Tx Energy Services LLC
1917 Ih 35 South                       12100 Park 35 Cir                        PO Box 2108
Austin, TX 78741                       Austin, TX 78753                         Alice, TX 78333




Tx General Land Office                 TX Railroad Commission Capital Station   Txd Logistics Lp
1700 N Congress Avenue                 PO Box 12967                             PO Box 121129
Austin, TX 78701                       Austin, TX 78711-2967                    Fort Worth, TX 76121-1129




Txok Texas Energy Resource Lp          Txploration Capital Inc                  Txploration Capital LLC
PO Box 974663                          Fbo Westtech Enterprises Inc             Fbo Boggs Completions Llc
Dallas, TX 753974663                   PO Box 64443                             PO Box 64443
                                       Lubbock, TX 79464-4443                   Lubbock, TX 79464




Txploration Capital LLC                Txu Energy                               Tycoon Equipment Inc
Fbo Triple M Transports                PO Box 650638                            555 Republic Drive
PO Box 64443                           Dallas, TX 75265-0638                    Suite 100
Lubbock, TX 79464                                                               Plano, TX 75074-5481




Tye K Hays                             Tyler Alpha Faye                         Tyler Area Chamber Of Commerce
PO Box 16                              PO Box 531                               PO Box 390
Arnett, OK 73832                       Hallsville, TX 75650-0531                Tyler, TX 75710




Tyler County Tax Assessor              Tyler D Mcdermott Irrevocable Trust      Tyler Fenley
Collector Lynnette Cruse Pcc           Robert L Mcdermott Trustee               PO Box 79588
1001 W Bluff                           2805 Apple Valley Drive                  Houston, TX 77279
Woodville, TX 75979                    Garland, TX 75043-1222




Tyler H Colman                         Tyler Junior College Foundation          Tyler Letter Shop
36 Broad St                            Bank Of America Na Agent                 PO Box 132862
Weston, CT 06883-2911                  PO Box 844143                            Tyler, TX 757132862
                                       Dallas, TX 75284




Tyler Robinson Henry                   Tyler Roland Roy                         Tyler Well Service Company
1707 Emerson Street                    5730 East Country Club Road              PO Box 504
Monroe, LA 71201                       Longview, TX 75602                       Hobbs, NM 88241




Tyne Minerals LLC                      Tyre Brown Wells                         Tyris Washington
c/o Douglas Smith                      115 East Davis Street                    3322 W 118Th St
1005 Eigth Avenue South                Luling, TX 786482213                     Inglewood, CA 90303
Nashville, TN 37203
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Tyrone Hightower                        Tyrone Johnson                          Tyrone L Malcolm Sr
2643 Marsalis                           14541 Lakeshore Dr Apt 1                993 Ridgemont Drive
Dallas, TX 75216                        Clearlake, CA 95422                     Louisa, VA 23093




Tyrone Whalen                           Tyrrell Data Services                   Tyrrell Hearn
3323 Oakes Apt 9                        98088 Whithorn Dr                       109 North Rivercrest Drive
Everett, WA 98201                       Houston, TX 77095                       Fort Worth, TX 76107




Tyson Beavers                           Tyson Properties LLC                    U Haul International Inc
2300 Bill Owens Parkway 222             PO Box 3786                             PO Box 21502
Longview, TX 75605                      Midland, TX 79702                       Phoenix, AZ 85036




U Know Service LLC                      U R Of America Ltd                      U R Of America Ltd
PO Box 443                              United Resources Of America Lt          United Resources Of America Lt
Casper, WY 82602-0443                   12900 Preston Road                      PO Box 204840
                                        Suite 545 Lb 48                         Dallas, TX 75320-4840
                                        Dallas, TX 75230



U S Attorneys Office                    U S Bank                                U S Bank
Southern District of Texas              Attn Stephanie Kapta                    PO Box 70870
1000 Louisiana Ste 2300                 Securities Control                      Cm 9690
Houston, TX 77002                       1555 N Rivercenter Drive Suite 302      St Paul, MN 55170-9690
                                        Milwaukee, WI 53212



U S Bank National Association           U S Bank National Association           U S Department Of Justice
Attn Corporate Trust Services           Attn Ms Ilse Vlach                      Attorney General
Rise Beta Decommissioning Liab Tr Agr   Global Corporate Trust Services         950 Pennsylvania Avenue Nw
633 West Fifth Street 24th Floor        633 West Fifth Street 24th Floor        Washington, DC 20530-0001
Los Angeles, CA 90071                   Los Angeles, CA 90071



U S Department Of Justice               U S Department Of The Interior Office   U S Department Of Treasury
U S Attorney Northern District Of TX    Of Natural Resources                    Internal Revenue Service
801 Cherry Street Unit 4                Revenue For Onshore                     Cincinnati, OH 45999-0150
Burnett Plaza Ste 1700                  PO Box 5640 T A
Ft Worth, TX 76102-6897                 Denver, CO 80217



U S Dept Of Labor Occupational Safety   U S Dept Of Labor Occupational Safety   U S Dept Of Labor Occupational Safety
And Health Administration Osha          And Health Administration Osha          And Health Administration Osha
Region 9                                Region 6                                200 Constitution Avenue N W
90 7Th Street Suite 18100               525 Griffin Street Room 602             Washington, DC 20210
San Francisco, CA 94103                 Dallas, TX 75202



U S Dept Of Labor Occupational Safety   U S Dept of the Interior Minerals       U S Dept of the Interior Minerals
Health Administration Osha Region 7     Management Service Pacific OCS Region   Management Service Pacific OCS Region
Two Pershing Square                     Attn Elverlene Williams                 Attn Ellen Aronson Regional Director
2300 Main Street Suite 1010             770 Paseo Camarillo Suite 102           770 Paseo Camarillo
Kansas City, MO 64108                   Camarillo, CA 93030                     Camarillo, CA 93010



U S Enercorp Ltd                        U S Environmental Protection Agency     U S Environmental Protection Agency
1250 Ne Loop 410 Ste 500                Headquarters                            Region 6
San Antonio, TX 78209-1533              Ariel Rios Building                     Fountain Place 12Th Floor
                                        1200 Pennsylvania Avenue N W            Suite 1200 1445 Ross Avenue
                                        Washington, DC 20460                    Dallas, TX 75202-2733
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U S Lease Price Report                U S Naval Academy Alumni Assn            U S Specialty Insurance Company
9207 Bauer Ct                         Capt William S Busik                     13403 Northwest Fwy
Lone Tree, CO 80124-8989              Attn Treasury Department                 Houston, TX 77040
                                      247 King George Street
                                      Annapolis, MD 21402



U S Trademark Reg Office Trademark    U S Treas Acs Support                    U S Treasury/Levy Proceeds For
Reg Monitoring Div                    Joe O Matthews                           Josephine Griffo
633 West Fifth Street                 Levy Proceeds Spasmt 12/2002             Autocollsystem/P O 57
28Th Floor                            PO Box 57                                Bensalem, PA 19020-8514
Los Angeles, CA 90071-2005            Bensalem, PA 19020-0057



U/W/O Betty H Moore Fcnb U/W/O        U/W/O Betty H Moore Fcnb U/W/O           Ubs
Acct 6712000585                       Acct 6712000585                          1000 Main St 2750
Regions Bank Trustee                  Regions Bank Trustee                     Houston, TX 77002
PO Box 2020                           PO Box 11566
Tyler, TX 75710                       Birmingham, AL 35202



UBS AG Stamford Branch                Ubs Financial Se                         Ubs Financial Se
677 Washington Blvd                   Attn Jane Flood                          Attn Ryan Carter
Stamford, CT 06901                    1200 Harbor Blvd                         Ubs Aggroup Operations
                                      Weehawken, NJ 07086                      5Th Floor 1000 Harbor Blvd
                                                                               Weehawken, NJ 07086



Ubs Global Asset Management           Ubs Group Ag                             Ubs Securities L
299 Park Avenue                       1000 Main St 2750                        Attn Barbara Rossi
New York, NY 10171                    Houston, TX 77002                        677 Washington Blvd
                                                                               9Th Floor
                                                                               Stamford, CT 06901



Ubs Securities LLC                    Uc Factors                               Udder Chaos Farms Investments LLC
1000 Main St 2750                     Fbo Redline Hotshot Transportation Llc   Dba Stikmaker Sales
Houston, TX 77002                     PO Box 187                               PO Box 1587
                                      Glendora, CA 91740-0187                  Beeville, TX 78104




Uinta County Clerk                    Uinta County Treasurer                   Uinta Development Co
PO Box 810                            Terry Brimhall Treasurer                 PO Box 1330
Evanston, WY 82931-0810               PO Box 1530                              Houston, TX 77251-1330
                                      Evanston, WY 82931-1530




Uinta Development Company             Uintah Engineering Land Surveying        Uldine Shimel
Attn Cash Management/Treasury         85 South 200 East                        3617 Vancouver Way
P0 Box 1330                           Vernal, UT 84078                         Concord, CA 94520
Houston, TX 77251-1330




Uline                                 Ulterra Drilling Technologies            Ulterra Drilling Technologies Lp
PO Box 88741                          PO Box 844488                            Nyi Nyi Lay
Chicago, IL 60680-1741                Dallas, TX 75284-4488                    420 Throckmorton Street Suite 1110
                                                                               Ft Worth, TX 76102




Ultra Oil And Gas Inc                 Ultra Petroleum Corp                     Ultra Premium Oilfield Services Ltd
Paul Hyink                            225 E Magnolia St                        PO Box 202200
3821 Juniper Trace                    Pinedale, WY 82941                       Dallas, TX 75320-2200
Suite 205
Austin, TX 78738
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Ultramar Diamond Shamrock                Ulysses Rogers Jr                       Umb Bank Colorado
PO Box 696000                            261 Back Forty Rd                       1010 Grand Blvd
San Antonio, TX 78269                    Arcadia, LA 71001                       Kansas City, MO 64106




Umb Bank N A                             Umc Automation                          Umc Automation Compression
1010 Grand Blvd                          PO Box 51691                            West Texas Automation Inc Dba
Kansas City, MO 64106                    Midland, TX 79710-1691                  Lacy Howard
                                                                                 PO Box 51691
                                                                                 Midland, TX 79710



Una Belle Townsend                       Unclaimed Property Recovery Reporting   Underground Service Alert Of So Ca
201 Yukon Ave                            David Cary                              PO Box 77070
Yukon, OK 73099                          5521 Greenville Ave Suite 104 419       Corona, CA 92877-0102
                                         Dallas, TX 75206




Underwood Gloria Baker                   Uni Royalty Group Ltd                   Unidentified Hedge Fund Positions
PO Box 1138                              PO Box 904                              Bnp Paribas
Carthage, TX 75633                       Parker, CO 80134                        75 State St 2700
                                                                                 Boston, MA 02109




Unidentified Hedge Fund Positions        Unified Pentecostal                     Unifirst Holdings Inc
Morgan Stanley                           Local Church                            5807 East Drive
522 5th Avenue                           PO Box 1121                             Laredo, TX 78041
New York, NY 10036                       El Campo, TX 77437




Union Arbor Freewill Bapt Ch             Union Bank N A                          Union Bank Of California
3864 State Hwy 149                       445 South Figueroa St G11 127           400 California St 1st Floor
Beckville, TX 75631                      Los Angeles, CA 90071                   San Francisco, CA 94104




Union Central Life Insurance Co          Union Exploration Partners Ltd          Union Fcb Texas Ltd
PO Box 40888                             Attn Revenue Accounting                 Attn Ralph Ellis Gen Part
Cincinnati, OH 452400888                 PO Box 730805                           113 W 8Th Avenue
                                         Dallas, TX 75373-0805                   Amarillo, TX 79101




Union Grove Independent School Dist Of   Union Mineral Co LLC                    Union Oil Company Of Ca
Upshur Gregg Counties Texas              113 W 8Th                               PO Box 730805
PO Box 1447                              Amarillo, TX 79101                      Dallas, TX 75373-0805
Gladewater, TX 75647




Union Pacific Railroad Company           Union Pacific Resources                 Union Pacific Resources Co
PO Box 301764                            F/A/O Jd Minerals Or Sherman            PO Box 1257
Dallas, TX 75303-1764                    Anderson For Life                       Englewood, CO 80150
                                         PO Box 7
                                         Fort Worth, TX 761010007



Union Parish Clerk of Court              Union Square Federal C U                Union Telephone Company Inc
100 East Bayou St                        1401 Holliday St                        850 WY 414
Ste 105                                  Wichita Falls, TX 76301                 Fort Bridger, WY 82933
Farmerville, LA 71241
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Union Telephone Company Inc             Unique Pump And Supply LLC              Unison Drilling Inc
PO Box 160                              PO Box 154                              PO Box 715
Mountain View, WY 82939                 Plains, TX 79735                        Devine, TX 78016




Unit Drilling Company                   Unit Four Ptnrshp Petroleum             Unit Petroleum Company
Unit Texas Drilling Llc                 Financial Inc                           8200 S Unit Dr
Department 247                          PO Box 99123                            Tulsa, OK 74132-5300
Tulsa, OK 74182                         Fort Worth, TX 76199




Unit Petroleum Company                  Unit Petroleum Company                  Unit Pro Land Consultants LLC
8200 South Unit Dr                      Department 247                          5929 N May Avenue Ste 509
Tulsa, OK 74132                         Tulsa, OK 74182                         Oklahoma City, OK 73112




Unit Texas Drilling LLC                 United Bilt Homes LLC                   United Capital Financial Adviser
PO Box 702500                           8500 Line Ave                           620 Newport Center Drive Suite 500
Tulsa, OK 74170                         Shreveport, LA 71106                    Newport Beach, CA 92660




United Community Bank                   United Consumers Credit Union           United Engines LLC
PO Box 398                              1111 E 23rd St                          5 N Mccormick Ste 200
Blairsville, GA 30514                   Independence, MO 64055                  Oklahoma City, OK 73127




United Fuel Energy Corp                 United Gas Pipeline Co                  United Healthcare Insurance Company
PO Box 14093                            Attn Right Of Way Fee 2265              22561 Network Place
Orange, CA 92863-1403                   Box 1478                                Chicago, IL 60673-1225
                                        Houston, TX 77001-1478




United Heritage Credit Union            United Independent School District      United Independent School District
PO Box 1648                             Alarcon Saenz Tax Office                Norma Farabough Rta Csta Cta
Austin, TX 78767                        1302 Washington Street                  3501 E Saunders
                                        Laredo, TX 78040                        Laredo, TX 78041




United Investors Inc                    United Jewish Appeals Federatn          United Petroleum Corporation
PO Box 14214                            Attn Controller                         4849 Greenville Ave 1310
Monroe, LA 71207-4214                   130 E 59Th St Rm 415                    Dallas, TX 75206
                                        New York, NY 10022




United Petroleum Dev Partners Ltd       United Petroleum Development Partners   United Process Tank Inc
4849 Greenville Ave Ste 1310            4849 Greenville Ave Ste 1310            A Valerus Company
Dallas, TX 75206                        Dallas, TX 75206-4170                   919 Milam
                                                                                Ste 1000
                                                                                Houston, TX 77002



United Production Constr Services Inc   United Rentals Inc                      United Rentals Inc North America
PO Box 52134                            File 51122                              PO Box 840514
Lafayette, LA 70505                     Los Angeles, CA 90074-1122              Dallas, TX 75284-0514
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United Rentals North America Inc         United Resources Of                    United Resources Of America
Sr Vp Marketing / Legal Dept Contracts   America Ltd                            12900 Preston Rd
100 First Stamford Place Suite 700       PO Box 204840                          Suite 1118 Lb 48
Stamford, CT 06902                       Dallas, TX 75320                       Dallas, TX 75230




United Resources Of America              United Sand Materials LLC              United Site Services Of Texas Inc
PO Box 204840                            Lufkin Operation                       PO Box 53267
Dallas, TX 75230-4840                    6004 S First St                        Phoenix, AZ 85072-3267
                                         Lufkin, TX 75901




United Sites Services                    United States Treasury                 United States Treasury
PO Box 53267                             Amanda V Newsome                       Carolyn J Harris Levy Proceeds Acs Supp
Phoenix, AZ 85072-3267                   Form 1040 Tax Period 12/31/02          PO Box 8208
                                         Levy Proceeds                          Philadelphia, PA 19101-8208
                                         Cincinnati, OH 45250-5566



United States Treasury                   United States Treasury                 United States Treasury
Fbo Peter Hansen Ranch Trust             Fbo Suzzane Baggett                    Internal Revenue Service
Levy Proceeds 941/944 Acs Support        Levy Proceeds                          Kansas City, MO 64999-0202
Stop 813G PO Box 145566                  PO Box 219690
Cincinnati, OH 45214                     Kansas City, MO 64121-9690



United States Treasury                   United States Treasury                 United States Treasury
Internal Revenue Service                 Levy Proceeds Janet S Young            Levy Proceeds Sara B Scott
Ogden, UT 84201-0039                     5450 Stratum Dr Ste 150                PO Box 8208
                                         Mc 5405 Nftw                           Philadelphia, PA 19101
                                         Fort Worth, TX 76137



United States Treasury                   United States Treasury Irs             United States Trustee
PO Box 37940                             David Earl Brightwell Brig8622         PO Box 70937
Hartford, CT 06176                       Attn Dori L Stricklin                  Charlotte, NC 28272-0937
                                         909 East Southeast Loop 323 Room 300
                                         Tyler, TX 77210-4362



United Title Of Louisiana Inc            United Vision Logistics                Unity 12 C LLC
6425 Youree Dr                           PO Box 975357                          PO Box 910
Shreveport, LA 71105                     Dallas, TX 75397-5357                  Frisco, TX 75034-0016




Unity Mineral Fund I LLC                 Univ Of Arkansas Fdtn Realty LLC       Univar Usa Inc
4925 Greenville Avenue                   535 Research Center Blvd               PO Box 849027
Suite 900                                Ste 120                                Dallas, TX 75284-9027
Dallas, TX 75206                         Fayetteville, AR 72701




Univar Usa Inc                           Univar Usa Inc                         Universal Investment Gmbh
Bill Brown                               PO Box 740896                          Theodor Heuss Allee 70
PO Box 5287                              Los Angeles, CA 90074-0896             60486 Frankfurt am Main
Denver, CO 80217                                                                Germany




Universal Plant Services Of Ca           Universal Pressure Pumping             Universal Royalty Company Ltd
PO Box 670318                            PO Box 202998                          Attn Jeff C Rea
Dallas, TX 75267-0318                    Dallas, TX 75320                       PO Box 12167
                                                                                Dallas, TX 75225
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Universal Well Service LLC             Universal Wellhead Svcs LLC         University Federal C U
PO Box 610                             5729 Leopard Street Bldg 9          PO Box 9350
Snyder, TX 79550                       Corpus Christi, TX 78408            Austin, TX 78766-9350




University Of Oklahoma                 University Of Texas                 University Of Texas
1700 Asp Avenue Room B 1               Austin Bureau Of Economic Geology   Md Anderson Cancer Center
Norman, OK 73072-6400                  10611 Exploration Way               PO Box 4464
                                       Austin, TX 78758                    Houston, TX 77210-4464




University Of Wyoming                  University Of Wyoming               University Park United Methodist
c/o Real Estate Dept 4308              Enhanced Oil Recovery Inst          Church 4024 Caruth
1000 E University Ave                  1000 E University Ave               Dallas, TX 75225
Laramie, WY 82071                      Dept 4068
                                       Laramie, WY 82071



Univest National                       Univestors LLC                      Unum Life Insurance Co
Univest National Bank And Trust Co     Attn Patrick Womack                 2211 Congress St
c/o Trust Dept                         PO Box 1959                         Portland, ME 04122
14 N Main Streetpo Box 6419            Parker, CO 80134
Souderton, PA 18964



Unum Life Insurance Company            Upp Living Trust Marcelyn M         Ups
PO Box 409548                          Dated November 16 1994              PO Box 7247 0244
Atlanta, GA 30384-9548                 7132 N Commanche Avenue             Philadelphia, PA 19170-0001
                                       Oklahoma City, OK 73132




Ups                                    Ups Freight                         Upshur County Clerk
PO Box 894820                          28013 Network Place                 PO Box 730
Los Angeles, CA 90189-4820             Chicago, IL 60673-1280              100 W Tyler St 2
                                                                           Gilmer, TX 75644




Upshur County Royalty Co Inc           Upshur County Royalty Company Inc   Upshur County Tax Assessor
T J Snider Jointly                     PO Box 678549                       Collector
PO Box 25163                           Dallas, TX 75267-8549               215 N Titus
Dallas, TX 75225                                                           Gilmer, TX 75644




Upshur Rural Electric Coop             Upstream Professionals Inc          Upton Living Trust
1200 West Tyler Street                 4733 Georgina Drive                 Patrcicia Upton
PO Box 70                              Billings, MT 59106                  1407 Welch St Apt A
Gilmer, TX 75644                                                           Houston, TX 77006




Upturn Solutions Inc                   Urban Oil Gas Group                 Urban Oil Gas Group LLC
Paul Palmer Joel Robinson              1000 14Th St                        Urban Bot Lockbox Dept 41380
PO Box 1622                            Plano, TX 75074                     PO Box 650823
Kalispell, MT 59903-1622                                                   Dallas, TX 75265




Urquhart LLC                           Urs Corporation                     Ursla Vernonica Smith Life Est
1087 Cr 3031                           Po 116183                           3323 Beall Street
Carthage, TX 75633                     Atlanta, GA 30368-6183              Dallas, TX 75223
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Ursula Albrecht                           Us Bancorp                            US Bank
523 Westshire Dr                          800 Nicollet Mall                     Cm 9690
Houston, TX 77013                         Minneapolis, MN 55402                 PO Box 70870
                                                                                St Paul, MN 55170-9690




US Bank National Association              Us Coast Guard                        Us Customs And Border Protection
209 South Lasalle Suite 400               PO Box 531112                         Alfonso Robles Chief Counsel
Chicago, IL 60604                         Atlanta, GA 30353-1112                1301 Pennsylvania Avenue N W
                                                                                Washington, DC 20229




Us Customs And Border Protection          US Department Of Interior             Us Department Of Justice
W Ralph Basham Commissioner               Carlsbad Field Office                 Office Of The Attorney General
1300 Pennsylvania Avenue N W              620 E Greene St                       950 Pennsylvania Avenue Nw
Washington, DC 20229                      Carlsbad, NM 88220-6292               Washington, DC 20530-0001




US Department of Justice Civil Division   Us Department Of Labor                US Dept Of Interior Bureau Of
Bureau of Land Management                 1100 E Campbell Rd Ste 250            Ocean Energy Management
950 Pennsylvania Avenue NW                Richardson, TX 75081-6761             1201 Elmwood Park Blvd
Washington, DC 20530-0001                                                       New Orleans, LA 70123-2394




Us Dept Of Transportation                 Us Energy Group LLC                   Us Equipment Co
Dot / Phmsa c/o Esc Amz 300               8955 Katy Fwy Ste 310                 6291 Burnham Ave
PO Box 269039                             Houston, TX 77024                     Buena Park, CA 90621-2209
Oklahoma City, OK 73125




Us Healthworks Medical Group              Us Liquids Of La Lp                   Us Minerals LLC
PO Box 50042                              PO Box 1467                           PO Box 3357
Los Angeles, CA 90074                     Jennings, LA 70546                    Englewood, CO 80155




Us Treasury Alexander E                   Us Treasury Levy Proceeds 467352690   Usa Compression
Hamilton Levy Proceeds                    Acs Support PO Box 57                 PO Box 974206
S Callahan Irs Floor 1                    Bensalem, PA 19020-8514               Dallas, TX 75397-4206
185 Lennon Ln
Walnut Creek, CA 94598-9921



Usa LLC                                   Usa Mobile Crane LLC                  Usaa Federal Savings Bank
PO Box 150340                             PO Box 10321                          10750 McDermott Freeway
Ft Worth, TX 76108                        Corpus Christi, TX 78460              San Antonio, TX 78288-9876




Usc Texag Shoppers Village LLC            Usda Forest Service                   Usi Consulting Group Inc
PO Box 202774                             c/o Citibank                          95 Glastonbury Blvd
Dallas, TX 75320-2774                     PO Box 301550                         Glastonbury, CT 06033
                                          Los Angeles, CA 90030-1550




Usi Insurance Services LLC                Usi Southwest                         Usic Locating Services LLC
Three Memorial City                       PO Box 61187                          Sean Spreer
840 Gessner Suite 600                     Virginia Beach, VA 23466              7070 West 117Th Avenue
Houston, TX 77024                                                               Cincinnati, OH 45271
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Usic Locating Services LLC            Uso Summerfield G Roberts                 Ust Services Inc
9045 N River Rd                       Concordia Bank Trustee                    PO Box 970
Indianapolis, IN 46240                PO Box 518                                La Verne, CA 91750-0970
                                      Vidalia, LA 71373




Utah State Treasurers Office          Utility Notification Center Of Colorado   Utility Rebate Consultants Inc
Unclaimed Prop Division               Member Services                           2526 East 71st Street
168 North 1950 West Ste 102           16361 Table Mountain Pkwy                 Suite E
Salt Lake City, UT 84116              Golden, CO 80403                          Tulsa, OK 74136-5531




Utstarcom                             Uv Logistics LLC                          Uwo Curtis L Perryman
Personal Communications Alltel        Dba United Vision Logistics               Sandra L Perryman
Level 6 28 Hennessy Road              Bobby Grimes                              2839 Curtis Drive
Admiralty                             PO Box 81008                              Tyler, TX 75701-8110
Hong Kong                             Lafayette, LA 70598



V A Isaacs Jr                         V Alen Hollomon                           V B Newman Seperate Interest
5 Inverness Dr E                      30 St Laurent Place                       PO Box 57
Englewood, CO 80112                   Dallas, TX 75225                          Gary, TX 75643




V Benton Rollins                      V Benton Rollins Trust                    V D And M L Robinson Living Tr
330 Burchwood Bay Rd 54               V Benton Rollins Trustee                  Vaugh D Mary L Robinson Co Trustees
Hot Springs, AR 719137181             330 Burchwood Bay Rd 49                   1912 Bentley Dr
                                      Hot Springs, AR 719137184                 Las Cruces, NM 88001




V E Barksdale                         V Howard Swint                            V J Fulco
c/o Texas State Treasury              4154 Calhoun Trail                        4016 Woodway Drive
Unclaimed Property Division           Texarkana, AR 71854                       Benton, LA 71006
PO Box 12019
Austin, TX 78711-2019



V L Carter                            V M Langley                               V M Smith Estate
PO Box 1800                           c/o Texas State Treasurer                 c/o C S Foster
Lubbock, TX 79408                     Unclaimed Property Division               PO Box 2389
                                      PO Box 12608 Capitol Station              Longview, TX 75606
                                      Austin, TX 78711



V Michael Toomey Agent                V R Investments                           V Trae M Brown
919 Congress Suite 1500               PO Box 376                                1300 Alice Dr
Austin, TX 78701                      Shreveport, LA 71129                      Longview, TX 75605




V Vc Rodgers Living Trust             V Veliz Gauging Service LLC               V1 Propane
3308 Greenoak Pl                      2504 San Salvador                         PO Box 1333
Tyler, TX 75701                       Laredo, TX 78046                          Rawlins, WY 82301




V3 Solutions LLC                      Va Resources LLC V                        Vaco Orange County LLC
PO Box 52325                          PO Box 50790                              5410 Maryland Way
Lafayette, LA 70505                   Casper, WY 82605-0790                     Suite 460
                                                                                Brentwood, TN 37027
                   Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1431 of 1524

Vaden Mohrmann                         Vagie Jarrell Lovett             Vague Partners Lp
1819 Saline Creek Drive                776 Booker Loop Road             708 West Market Street
Cedar Park, TX 78613                   Mansfield, LA 71052              West Chester, PA 19382




Val Palmer                             Valarie Rickerson                Valecia Duncan
3813 Western Dr                        8304 Second Ave                  3306 Luberta Street
Oshkosh, WI 54901                      Inglewood, CA 90305              Tyler, TX 75702




Valence Operating Company              Valeria Dennis                   Valerie A Brightwell Nash
One Kingwood Place                     8650 Berndale St                 c/o Texas State Treasury
600 Rockmead Drive                     Houston, TX 77029                Unclaimed Property Division
Suite 200                                                               PO Box 12019
Kingwood, TX 77339-2105                                                 Austin, TX 78711-2019



Valerie A Lewis                        Valerie A Robinson               Valerie A Terrell
2805 Nicholson St Apt 302              1053 E Bear Creek Loop           11521 Blue Creek Drive
Hyattsville, MD 20782                  Livingston, TX 77351             Aledo, TX 76008




Valerie B Nash Estate                  Valerie Diane Mcbride Crain      Valerie Hudson
c/o Robert W Nash Jr Executor          611 3Rd St                       293 Houston Rd
Robert W Nash Interests                Jonesboro, LA 71251              Ruston, LA 71270
2206 Elmgate Drive
Houston, TX 77007



Valerie J Mcmurry                      Valerie Lynn Kaemmerling         Valerie Shaw Scott
9017 N University Ave                  8001 Ulster Drive                2610 Fountainview
Oklahoma City, OK 73114-4300           North Richland Hills, TX 75180   New Caney, TX 77357




Valerie Vuong                          Valerus Compression Svcs Lp      Valerus Field Solutions Lp
Address Redacted                       PO Box 732170                    PO Box 847192
                                       Dallas, TX 75373-2170            Dallas, TX 75284-7192




Valin Corporation                      Valjean C Eckert                 Valkyrie Commissioning Services Inc
PO Box 8402                            116 Westbury Drive               13415 Emmett Rd
Pasadena, CA 91109-8402                Moon Twp, PA 15108               Houston, TX 77041




Vallen Distribution Inc                Valley Bank Of Commerce          Valley Industrial X Ray Insp
PO Box 848545                          217 W 2nd St                     25636 Network Place
Dallas, TX 75284-8545                  Roswell, NM 88201                Chicago, IL 60673-1256




Valley Oak Investments Lp              Valley Perforating Co            Valley Solvents Chemical
21440 Road 87                          3201 Gulf St                     PO Box 18
Winters, CA 95694                      Bakersfield, CA 93308            Combes, TX 78535
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Valley Telephone Coop Inc               Valley Telephone Coop Inc        Vallie Mae Mister
10265 FM 88                             PO Box 959                       1133 West 58Th Place
Raymondville, TX 78501                  Raymondville, TX 78580-0959      Los Angeles, CA 90044




Vallie Merl Jones                       Valls Construction Co            Valry Bruce Herndon Jr
819 Avenida Madera                      10305 Morada Ct                  Bonnie Britton Herndon
Chula Vista, CA 91910                   Laredo, TX 78045                 12239 Rust Lane
                                                                         Keithville, LA 71047




Valveworks Usa                          Van K Bullock                    Van O Newton
1650 Swan Lake Rd                       4530 S Verbena St Unit 381       705 Burgoyne Dr
Bossier City, LA 71111                  Denver, CO 80237                 Fayetteville, NC 28314-0840




Van Operating Ltd                       Van William Gray                 Van Zandt Supply Ltd
PO Box 2530                             6016 Haley Way                   Dba Vz Environmental
Albany, TX 76430                        Frisco, TX 75034                 2461 Forest Park Blvd
                                                                         Suite 105
                                                                         Fort Worth, TX 76110



Vance Frederick Molhusen                Vance M Mckellar                 Vance R Maxwell Marital Trust
3217 Glenwood Avenue                    112 Beaver Rd                    Michael V Doris Maxwell Co Trustees
Wichita Falls, TX 76308                 Hattiesburg, MS 39402            108 S 9Th Street
                                                                         Longview, TX 75602




Vance R Maxwell Marital Trust           Vanderwoude Partnership          Vane Corporation
Michael V Maxwell Doris                 c/o Fred Vanderwoude Gen Prtnr   333 Texas Street Suite 840
Maxwell Co Ttee                         4108 Southwestern                Shreveport, LA 71101
108 S 9Th Street                        Dallas, TX 75225
Longview, TX 75602



Vaneica Mora                            Vanessa Denise Holmes Medlock    Vanessa King
6422 Wilderness Ct                      1722 University Dr Unit B        PO Box 3084
Arlington, TX 76001-5497                Columbia, TN 38401               Cedar Hill, TX 75106




Vanessa R Simpson                       Vanguard Brokera                 Vanguard Natural Resources LLC
254 Oregon Trl                          Attn Drrachel Perrella           San Felipe Plaza
Monroe, LA 71202                        100 Vanguard Boulevard           5847 San Felipe St 3000
                                        Malvern, PA 19355                Houston, TX 77057




Vanguard Operating LLC                  Vanita Puddington                Vann Family Trust
5847 San Felipe Ste 3000                12235 Valley Lodge Pkwy          Aurelia Weems/Colleen Nelson Co Trustees
Houston, TX 77057                       Humble, TX 77346-3667            18052 Martin Drive
                                                                         Conroe, TX 77302




Vann L Pratt                            Vaquero Royalty LLC              Vaquillas Energy Unproven LLP
165 Jefferson Avenue 116                PO Box 114                       Minerals Ltd Llp
Ruston, LA 71270                        Bullard, TX 75757                5810 San Bernardo
                                                                         Suite 101
                                                                         Laredo, TX 78041
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Vaquillas Proven Minerals Ltd          Vaquillas Unproven                     Vaquillas Unproven Min Ii
5810 San Bernardo                      5810 San Bernardo                      5810 San Bernardo
Suite 101                              Suite 101                              Suite 101
Laredo, TX 78041                       Laredo, TX 78041                       Laredo, TX 78041




Vaquillas Unproven Min Ltd             Vardeman G Moore                       Varel International
5810 San Bernardo                      6175 Preston Creek Court               PO Box 201900
Suite 101                              Dallas, TX 75240                       Dallas, TX 75320-1900
Laredo, TX 78041




Variable Bore Rams Inc                 Varnell P Sapp                         Varnum Kit Carson
1086 Aillet Road                       395 William Sapp Road                  PO Box 8125
Broussard, LA 70518                    Natchitoches, LA 71457                 Bossier City, LA 71113-8125




Vashti Holleman Tinsley                Vashti W Head                          Vasia Houston
9712 Mansfield Rd                      PO Box 235                             111 River Oak Drive
Shreveport, LA 71118                   Bullard, TX 75757                      Pineville, LA 71360




Vastar Resources Inc                   Vaudine Alice Gunter                   Vaughan Insurance Group LLC
501 Westlake Park Blvd                 137 Cr 6491                            1515 South Utica Suite 300
Houston, TX 77079                      Dayton, TX 77535                       Tulsa, OK 74104




Vaughan Investments                    Vaughn Brothers Lp                     Vaughn C Powell
Box 388                                PO Box 191627                          7111 Cherryhill Drive
Brackettville, TX 78832                Dallas, TX 75219                       Tyler, TX 75703




Vaughn Energy Services A Gti Company   Vaunda Ballow                          Vaurease Evans
PO Box 261021                          9647 County Road 4719                  c/o Texas State Treasury
Corpus Christi, TX 78426-1021          La Rue, TX 75770-2138                  Unclaimed Property Division
                                                                              PO Box 12019
                                                                              Austin, TX 78711-2019



Vaverka Tr                             VC Sandblasting                        Vcdavis LLC
Gloria M Vaverka Ttee                  PO Box 512                             3222 Aspen Bend Dr
3521 S Poplar St                       Denver City, TX 79323                  Houston, TX 77068
Tempe, AZ 85282




Vectra Bank                            Vectus Inc                             Veda Neal
2000 South Colorado Blvd 2             18685 Main St                          5805 Langley Rd
Denver, CO 80222                       Ste 101 Pmb 360                        Houston, TX 77016
                                       Huntington Beach, CA 92648




Vegas Connection Inc                   Vegetation Management Specialist Inc   Velda Ann Phipps
5315 Fm 1960 W                         PO Box 213                             311 Tiger St
B 304                                  Duson, LA 70529                        Wolfforth, TX 79382
Houston, TX 77069
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Velda Jane Kent                       Velda S Gibson Schmadl                 Velda Simpson Lewis
c/o Michael Kay Agent Aif             3646 Fm 1276                           5100 John D Ryan Blvd
305 Eagle Mountain Drive              Livingston, TX 77351                   Apt 136
Hickory Creek, TX 75065                                                      San Antonio, TX 78245




Velera Nell Pizoni                    Velera Permenter Barton                Velinda Diana Stuckey Hopkins
727 S Laclede Station Rd              727 S Laclede Station Rd               129 Peppers Rd
Apt 159                               Apt 159                                West Monroe, LA 71291
Webster Groves, MO 63119              Webster Groves, MO 63119




Velma B Clay                          Velma Harlan Brashear Usufr            Velma Holland Ford
PO Box 833                            2358 Magnolia Court                    1189 E 65Th Street
Gilmer, TX 756440833                  Gulfport, MS 39503                     Kansas City, MO 64131




Velma Hood Fallin                     Velma Joy Ann Wilburn                  Velma Morgan
2127 Hwy 563                          2876 Wimbledon Lane                    c/o Bruce Morgan
Simsboro, LA 71275                    Friendswood, TX 77546                  1106 Pondridge Drive
                                                                             Riverdale, GA 30296




Velma S Stuckey                       Velma Vanice Wells                     Velocity Databank Inc
116 Blanks Street                     1505 Elika Ct                          1304 Langham Creek
West Monroe, LA 71291                 Lewisville, TX 75067                   Suite 498
                                                                             Houston, TX 77084




Velois Ramsey Wilson                  Velonia A Palmer                       Velton Bowden Jr
2705 Harrowden Dr                     3340 Hill View                         1217 Bowden Road
Austin, TX 78727-3115                 Flint, MI 48504                        Ruston, LA 71270




Vena C Boyd                           Venable Exploration Ltd                Venable Lisa
8901 Kurten Cemetery Rd               5949 Sherry Ln Suite 1400              198 Bethany Drive
Bryan, TX 77808-8087                  Dallas, TX 75225                       Church Point, LA 70525




Venable Oil Ltd L L P                 Venable Royalty Ltd                    Vendetta Royalty Partners Ltd
PO Box 171                            PO Box 171                             PO Box 141638
Tyler, TX 75710                       Tyler, TX 75710                        Austin, TX 78714




Venom Softball                        Venson Brown Jr And Willie Mae Brown   Vent A Hood Realty Ltd
Marshall Venom Softball Org           26357 Cambridge Lane Apt 103           PO Box 830426
c/o Mitchell Fleet                    Cleveland, OH 44128-5819               Richardson, TX 75083-0426
402 Warren Dr
Marshall, TX 75672



Ventech Products Inc                  Ventura Hydraulic Machine Works Inc    Ventura Oilfield Tackle Inc
PO Box 53631                          1555 Callens Rd                        PO Box 1388
Lafayette, LA 70505                   Ventura, CA 93003                      Gillette, WY 82717
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Ventura Valve Service Inc                Venture Services LLC            Venture Transport Logistics
10964 Treeside Ln                        4605 Fielder St                 PO Box 974167
Escondido, CA 92026-6953                 Midland, TX 79707-2803          Dallas, TX 75397




Venus Oil Company                        Venus Oil Production Co LLC     Vera A Oakes
PO Box 160186                            19240 Redland Rd Ste 200        PO Box 276
San Antonio, TX 78280                    San Antonio, TX 78259-3332      Homer, LA 71040




Vera Ayres Bowen                         Vera Black Estate Trust         Vera C Hawk Usufruct
4533 Eagle Feather                       Sandra S Griffin Trustee        2148 Methodist Camp Loop
Austin, TX 78735                         PO Box 266                      Minden, LA 71055
                                         Carthage, TX 75633-0266




Vera Calahan                             Vera E Arnold                   Vera Elliott
1508 Julius Erving St                    1336 E Grove St                 426 West 12Th
Jonesboro, LA 71251                      Phoenix, AZ 85040               Pittsburg, CA 94565




Vera Faye Lockett                        Vera Garr Fisher                Vera Haire
c/o Texas State Treasury                 1519 E 112Th St                 Carol D Haire Poa
Unclaimed Property Division              Los Angeles, CA 90059           5534 Chimney Rock Road
PO Box 12019                                                             Albilene, TX 79606
Austin, TX 78711-2019



Vera Inez Gray Brister Est               Vera Inez Mullins Leblanc       Vera Lou Blazier Allen Adams
Garry E Brister Indep Exec               4493 W Antler Ave               268 Horn Lane
11328 Huffmeister Rd 907                 Redmond, OR 97756               West Monroe, LA 71292
Houston, TX 77065




Vera M Kelly Johnson                     Vera Marwil Remer               Vera May Shirley Trust
1804 Brenda Drive                        c/o John Sanger                 1316 Apache Drive
Bellevue, NE 68005                       2217 Bablos                     Richardson, TX 75080
                                         Dallas, TX 75040




Vera Nell Simon                          Vera S Martin                   Vera Tarkington Mitchell
235 Dover Dr                             5250 Olive Hwy 1100             2635 Agnes
Walnut Creek, CA 94598-3321              Oroville, CA 95966              Kansas City, MO 64127




Vera Walker                              Veratene Frazier                Verble W Ferguson
Route 5 32 Valhalla                      1914 Sanderling Ct              201 Bailey
Edinburg, TX 78539                       Lawrenceville, GA 30043-8340    Nacogdoches, TX 75961




Vercast Communications Inc               Verde Supply Corporation        Verdean Goodlow
PO Box 777                               PO Box 90132                    611 Calcutta
Corte Madera, CA 94976-0777              San Antonio, TX 78209           Dallas, TX 75241
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Vergie Ora Kelly                       Vergie Smallwood Tr            Veria Mcfie Malone And James Malone
5407 Pennridge Drive                   PO Box 1700                    1210 Bennie Breece
Dallas, TX 75241                       Kilgore, TX 75662              West Monroe, LA 71292




Verizon                                Verizon Business               Verizon Southwest
PO Box 4836                            PO Box 371355                  PO Box 920041
Trenton, NJ 08650-4836                 Pittsburgh, PA 15250-7355      Dallas, TX 75392-0041




Verizon Wireless                       Verizon Wireless               Verl J Cannon
One Verizon Way                        PO Box 660108                  139 Debbie Circle
Basking Ridge, NJ 07920                Dallas, TX 75266-0108          Jonesborough, TN 37659




Verlon D Freeman And Vanda S Freeman   Verlon Maguglin                Verlynn S Behm
137 County Rd 2335                     732 Fm 1358                    12 Brokaw Place
Center, TX 75935                       Three Rivers, TX 78071         Appleton, WI 54911




Vermell Altenburg                      Vern D Oxendine                Vern Vivion
PO Box 865                             1310 Ballard Rd                3955 E 12Th St Apt 259
Henderson, TX 75653                    Johnson City, TN 37604         Casper, WY 82609




Verna G Ferguson                       Verna Jack Goble               Verna L Mckenzie
1648 Fm 1844                           8642 East Grand Avenue         1593 E Kiest Blvd
Gilmer, TX 756447266                   Denver, CO 80237               Dallas, TX 75216




Verna L Phillips Deceased              Verna Louise Weems             Verna M Bass
c/o Royce Phillips                     PO Box 3459                    6420 Hawthorne Rd
5415 Leopold                           Fontana, CA 92334              Little Rock, AR 72207
Houston, TX 77021




Verna Marie Kyle Hall                  Verna Mary Love                Verna R Smith Trust Fbo
1018 Wilmington Place                  7210 Hudson Cemetery Rd        7119 Hartland Street
Tyler, TX 75701                        Mansfield, TX 76063            Houston, TX 77055-7614




Verna Sciscoe                          Verna Sue Curry                Verna T Ellington
PO Box 30350                           14860 Watson Road 5            Co Ellington Farm
Bellingham, WA 30350                   Van Ormy, TX 78073             2855 North Graham Road
                                                                      College Station, TX 77845




Verna T Ellington Estate               Vernadean Waters               Verne D J Philips
Betty Ellington Hill Ind Exec          7436 Bouvais Circle            PO Box 5970
2855 N Graham Rd                       Sacramento, CA 95828           Austin, TX 78763
College Station, TX 77845-9195
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Vernell Garr                              Vernell Hildreth                        Vernell Vantreese
115 E Lawn Dr                             20030 Cir 482                           421 Stonewall Drive
Covington, GA 30016-6821                  Lindale, TX 75771                       Euless, TX 76039




Vernene L Ray                             Verner A E Ullestad                     Vernesa Sampson Carter
15301 Fm 150 West                         P1 2085 Ulfstack                        3000 Locust St Apt 304
Driftwood, TX 78619                       S450 63 Hogsater                        Pittsburgh, PA 15221
                                          Sweden




Vernia Dean Gardner Poland                Vernice Gaar Jr                         Vernice Giles
9316 Belden Dr                            4045 Montoya Ave                        3501 N Buckner Blvd
Shreveport, LA 71118-3537                 Las Vegas, NV 89120-1414                Apt 1312
                                                                                  Dallas, TX 75228




Vernice Woodley Trustee                   Vernis Permenter                        Vernon C Shaffer Individually
122 S Mathews Street                      PO Box 8621                             Usufructary
Bellville, TX 77418                       Tyler, TX 75711-8621                    PO Box 1338
                                                                                  Minden, LA 71058




Vernon Cannon                             Vernon Colton Shaffer Jr Sep Property   Vernon E Faulconer Inc
607 Compton Street                        7550 Stonecreek Dr                      PO Box 7995
Alexandria, LA 71302                      Texarkana, TX 75503                     Tyler, TX 75711




Vernon Earnestine J Williams              Vernon Ferguson                         Vernon G Young
1462 Hwy 155                              2515 Chaffing Ln                        317 Agate
Quitman, LA 71268                         Magnolia, AR 71753                      College Station, TX 77845




Vernon Hagler                             Vernon I Dunn Jerrie Moore Dunn         Vernon J Anderson Sr
125 Daniels Dr                            PO Box 313                              28565 Bauvardia Way
Kerens, TX 75144                          Hallsville, TX 75650-0313               Murrieta, CA 92563




Vernon L Berwick                          Vernon Neal Johnston                    Vernon R Divers
202 Cottonwood Trail                      13383 Cr 293                            PO Box 5208
White Oak, TX 75693                       Tyler, TX 75707                         Chesapeake, VA 23324




Vernon Ray Hughes And Regina Kay Hughes   Vernon Ray Van Shoubrouek               Vernon Steffen
201 Town East Road                        PO Box 357                              9100 N 48Th Place
Henderson, TX 75654                       Maysville, OK 73057                     Paradise Valley, AZ 85253




Vernon Tapp                               Vernon Whyte                            Vernon Williams
707 E Main                                523 Cr 2110                             1462 Hwy 155
Itasca, TX 76055                          Quitman, TX 75783                       Quitman, LA 71268
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Veronica Benavides                      Veronica Ellis                 Veronica L Johnson
2802 Blaine St                          PO Box 106                     Address Redacted
Laredo, TX 78046                        Ruston, LA 71270




Veronica Landry Harris                  Veronica Lee Henry             Veronica Miranda
PO Box 121                              2700 Hwy 508                   Address Redacted
Kenesaw, NE 68956                       Bienville, LA 71008




Veronica Owens                          Veronique Lemieux              Versa Integrity Group
14122 Seagler Springs Ln                1060 University St Suite 101   PO Box 143
Houston, TX 77044                       Montreal, PQ H5B 5L7           Sulphur, LA 70664-0143
                                        Canada




Versa Integrity Group Inc               Versatel Communications        Versatel Communications Page Plus
Butch Connor                            Kelly And Sharon Hudson Dba    1307 English Ave
109 Meadow Dr                           Kelly Hudson                   Casper, WY 82601
Evanston, WY 82930                      PO Box 757
                                        Casper, WY 82602



Versatel Communications Page Plus       Versatile Oil Tools LLC        Vertex Inc
PO Box 757                              PO Box 80310                   Contracts Administrator
Casper, WY 82602-0757                   Midland, TX 79708              1041 Old Cassett Road
                                                                       Berwyn, PA 19312




Vertex Financial Inc                    Vertex Inc                     Vesco Rental Supply LLC
Fbo Crosstimbers Hot Shot Service Llc   25528 Network Place            PO Box 11612
8750 N Central Expwy                    Chicago, IL 60673-1255         New Iberia, LA 70562
Ste 900 Lb9
Dallas, TX 75231



Vessie Mccray Mcgowen                   Vesta Williams Gant            Vester Emerson
320 Euclid Ave 204                      1522 Marigny Street            Route 2 Box 823
Oakland, CA 94610                       New Orleans, LA 70117          Ruston, LA 71270




Vestor C Timms                          Vetco Gray Inc                 Vhmp LLC
5569 Encina Drive                       PO Box 841017                  Virginia M Paul Manager
San Diego, CA 92114                     Dallas, TX 75284-1017          720 Wilder Pl
                                                                       Shreveport, LA 71104




Viaje Oil And Gas LLC                   Vibration Technology Inc       Vibration Technology Inc
PO Box 470488                           25666 Network Place            PO Box 52118
Fort Worth, TX 76147                    Chicago, IL 60673-1256         Shreveport, LA 71135




Vicars Robert O                         Vicente Vera                   Vickey Ellen Thomas Mchalffey
Address Redacted                        218 Lincoln St                 97 Poplar St
                                        Laredo, TX 78040               Haughton, LA 71037
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Vickey G Perry Mcintyre                Vicki Ann Woodard Rhymes        Vicki B Tarwater
11800 City Park Central Ln             PO Box 295                      1960 Wooded Ridge Ct
718                                    Cotton Valley, LA 71018         Fogelsville, PA 18051
Houston, TX 77047




Vicki Chapman                          Vicki Diane Slocum              Vicki Dianne Young
128 Anthony Drive                      1118 Lisa Lane                  6001 Ed Coady Rd
Lakeside, TX 76108                     Ruston, LA 71270                Fort Worth, TX 76134




Vicki Fonner                           Vicki Glasscock                 Vicki Goldsmith Jackson
852 Frederick St                       10564 Caribou Trl               1403 Parkview Drive
Niles, OH 44448                        San Angelo, TX 76901            Monroe, LA 71202




Vicki Gordon Heflin                    Vicki Haynes Newsom             Vicki J Anthony
2222 E Bert Kouns Industrial           4341 Stanhope                   759 Jerry Lucy Road
Loop Apt 156                           Dallas, TX 75205                Longview, TX 75603
Shreveport, LA 71105




Vicki Jennings                         Vicki L Abear                   Vicki L Kerr
10624 West Clair Drive                 8600 Venezia Drive 2212         1701 N L St
Sun City, AZ 85351                     Orlando, FL 32810               Midland, TX 79705




Vicki L Williamson                     Vicki Lawson Briggs             Vicki Lynn Collins Mccarty
7218 Misty Morning Drive               2209 Lake Heather Circle        PO Box 9902
Humble, TX 77346                       Birmingham, AL 35242            Tyler, TX 75711-2902




Vicki Lynn Hamilton                    Vicki Lynn Hazlett              Vicki Lynn Stevens
7265 Shirley Francis Rd                458 S Carr St                   1326 Royal Oaks Dr
Shreveport, LA 71129                   Lakewood, CO 80226-3017         Frisco, TX 75034




Vicki Lynn Weidler Trust               Vicki Lynn Whelan               Vicki Metcalf
William F Weidler Michael              3707 Barry Street               1099 Cr 3341
Henry Weidler Trustees                 Marshall, TX 75672              Joaquin, TX 75954
109 Hummingbird Hill
Boerne, TX 78006



Vicki Murry                            Vicki R Brown                   Vicki R Klara
2027 Fernspray Lane                    PO Box 447                      106 Chartwell Lane
Houston, TX 77084                      Grambling, LA 71245             Lafayette, LA 70503




Vicki Rainbolt Klara                   Vicki Raye Buchanan             Vicki S Pape
106 Chartwell Ln                       1330 Buchanan Rd                568 Warsaw St
Lafayette, LA 70503                    Hallsville, TX 75650            Hitchcock, TX 77563
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Vicki Shore Testamentary Tr           Vicki Sue Ritz                  Vicki Talley
Lorry A Chapman Ttee                  3122 Hwy 563                    1752 Alma St
c/o Walker Armstrong                  Simsboro, LA 71275              Shreveport, LA 71108
3838 N Central Ave Ste 1700
Phoenix, AZ 85012



Vicki Waynette Henry Harris           Vickie Beth Kern Tyler          Vickie Ellen Roehm Spanogle
564 Weldon Church Road                2325 Kingsmill Circle           PO Box 672
Bernice, LA 71222                     Tyler, TX 75703                 Tijeras, NM 87059




Vickie Gaynell Perry                  Vickie Hanna                    Vickie Jo Adams Elliott
Rt 1                                  11120 Hwy 146                   734 Mitcham Orchard Rd
Ruston, LA 71251                      Dubach, LA 71235                Ruston, LA 71270




Vickie L Ford                         Vickie L Hall                   Vickie Lorraine Malone
1502 Bradford Dr                      149 E Kincaid Ranch Rd          465 Malone Road
Greenwood, MD 64034                   Artesia, NM 88210               Arcadia, LA 71001




Vickie Lynn Baker                     Vickie Lynn Greer Lacas         Vickie Mikulis Hudson
9412 Fm 1346                          101 Wanda St                    496 West 23 Avenue
San Antonio, TX 78263                 West Monroe, LA 71292           Gulf Shores, AL 36542




Vicky C Kniffen                       Vicky Lynn Franklin Strohsahl   Vicky Lynn Whelan
847 County Road 3706                  201 S Lane Wells                3707 Barry St
Bullard, TX 75757                     Longview, TX 75604              Marshall, TX 75672




Vicky Morell Hand                     Vicky Temple Osborne            Victor A Southerland Betty Southerland
11065 Seville Quarters                5224 Hwy 191                    577 West Boggy Depot Road
Shreveport, LA 71106                  Mansfield, LA 71052             Atoka, OK 74515




Victor Alan Holmes Sep Prop           Victor Chambliss Rose           Victor Crawford Wife Marie Crawford
133 West Mojave Road                  946 Lynnwood Avenue             589 W Drive
Ridgecrest, CA 93555                  Stonewall, LA 71078             Tenaha, TX 75974




Victor Davis                          Victor F Jackson                Victor G Watkins And Christi D Watkins
Apex Solutions                        7907 Erin Cove Court            5232 E Us Hwy 84
865 Mercer Rd                         Houston, TX 77095               Palestine, TX 75801
Marshall, TX 75672




Victor Gerald Files                   Victor Guevara                  Victor J Espinoza
135 Files P D                         Address Redacted                Address Redacted
Mansfield, LA 71052
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Victor J Killen And Dorothy Killen       Victor Lau                       Victor N Covey
106 Private Road 6732                    34 Exchange Pl                   4010 W Bellfort
Tatum, TX 75691                          Plaza II                         Apt 210
                                         Jersey City, NJ 07311            Houston, TX 77025




Victor Southerland                       Victor Teresa J Avery            Victor Thompson
Route 4 Box 5110                         PO Box 62                        16504 Hwy 190 East
Atoka, OK 74525                          Dubach, LA 71235                 Livingston, TX 77351




Victor Wakefield Jr                      Victor Wayne Rogers              Victor Y M Brown
PO Box 22583                             1395 Talbert Street              PO Box 2147
Huntsville, AL 35814                     Arcadia, LA 71001                Fort Defiance, AZ 86504




Victoria Anastasia                       Victoria Ann Cochran Gilkerson   Victoria Anne Welder Trust
2313 Creek Ridge Dr                      1211 Bedford                     Jpmorgan Chase Bank N A Ttee
Mckinney, TX 75070                       Midland, TX 79701                PO Box 2050
                                                                          Fort Worth, TX 76113




Victoria Anne Welder Trust               Victoria Burk Dallas Puett       Victoria Exploration Inc A
Jpmorgan Chase Bank N A Ttee             6201 California                  Sub Of Samson OG Usa Inc
PO Box 99084                             Joshua, TX 76058                 1331 17Th St Suite 710
Fort Worth, TX 76199-0084                                                 Denver, CO 80202




Victoria G Nugent                        Victoria Hill                    Victoria Irwin
PO Box 1069                              Louise Kohlbeck Custodian        1208 We Merchant Ave
Freer, TX 78357                          3200 Amanda Dr                   Artesia, NM 88210
                                         Dayton, OH 45406




Victoria J Joyner                        Victoria Leicht Hirko            Victoria Leigh Kortsen
663 Rayburn Loop                         21 Holmes Road                   1100 East Sunset Drive
Eros, LA 71238                           East Lyme, CT 06333              Casa Grande, AZ 85222




Victoria Lynn Woodall                    Victoria M Burk                  Victoria Ortiz
900 Walter Stephenson Rd                 6201 California                  3051 Shattuck Ave
Apt 8                                    Joshua, TX 76058                 Berkeley, CA 94705
Midlothian, TX 76065




Victoria Reed Mabry                      Victoria Ronnie Ruiz             Victoria Sampson Minor
PO Box 94196                             2216 Michigan Street             1243 Fulton St
North Little Rock, AR 72190-4196         New Braunfels, TX 78130          San Francisco, CA 94117




Victoria Trading Co LLC                  Vida E Bevil Blair               Vida Goss Estate
PO Box 1077                              PO Box 700                       Rr 5 Box 402
Edinburg, TX 78540                       Kountze, TX 77625                West Monroe, LA 71292
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Vidler James Robert                    Viewpoint Bank                          Viginia Ted Bailey Family Tr
PO Box 966                             PO Box 869105                           Ha Ted Bailey Jr Md Trustee
Logansport, LA 71049                   Plano, TX 75086-9105                    1400 West Markham Ste 202
                                                                               Little Rock, AR 72201




Vijay Nambiar                          Viking Fishing Oil Tools                Viking Fishing Oil Tools LLC
Jigna Nambiar                          PO Box 670346                           Nicole Quinn
850 Union St                           Dallas, TX 75267-0346                   25211 Grogans Mill Suite 460
San Francisco, CA 94133                                                        The Woodlands, TX 77380




Viking Oil Tools                       Viktoria Semenyuk                       Vil Patrick Johnikin
25211 Grogans Mill Rd                  5084 Westgrove Drive                    9213 Thorpe
Suite 460                              Dallas, TX 75248                        Charlotte, NC 28270
The Woodlands, TX 77380




Vilace Nail                            Village Greenery Flowers                Village Of Simsboro Tax Collector
PO Box 805                             2301 University Blvd                    PO Box 40
Tatum, TX 75691                        Houston, TX 77005                       Simsboro, LA 71275-0040




Villarreal Production Svc Inc          Vince Afsahi                            Vincent Clarke
PO Box 947                             25402 Nellie Gail Rd                    Address Redacted
Zapata, TX 78076                       Laguna Hills, CA 92653




Vincent David Wojecki                  Vincent Kevin Sharon Hammons Franklin   Vincent Lee Jones
28419 E Benders Landing                440 Emory Rd                            11708 Rydalwater Lane
Spring, TX 77386                       Choudrant, LA 71227                     Austin, TX 78754




Vincent Norman Cox                     Vincent O Cano                          Vincent ONeal Evans
21803 Cayman Point Drive               3222 Aspen Bend Drive                   214 Ridge Crest
Katy, TX 77450                         Houston, TX 77068-1948                  Cedar Hill, TX 75104




Vinson Elkins                          Vinson Elkins LLP                       Vinson Elkins LLP
PO Box 301019                          PO Box 200113                           Attn Paul Heath/Bradley Foxman
Dallas, TX 75303-1019                  Houston, TX 77216-0113                  2001 Ross Avenue Suite 3700
                                                                               Dallas, TX 75201-2975




Vinson Lee Crawford Et Ux              Vinson Royalties Lp                     Vintage Drilling LLC
Betty Lawrence Crawford                PO Box 7563                             PO Box 248
2202 Lakeway Drive                     Tyler, TX 75711                         Artesia, NM 88211-0248
Friendswood, TX 77546




Vintage Lease Services LLC             Vintage Petroleum Inc                   Viola Barksdale Mavis
PO Box 248                             5 Greenway Plz Ste 110                  c/o Unclaimed Property Div
Artesia, NM 88211-0248                 Houston, TX 77046-0521                  Auditor Of State
                                                                               1401 W Capitol Ave Ste 325
                                                                               Little Rock, AR 72201
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Viola Burns Schmidt                     Viola Davis Wafers              Viola Duncan Wallace Fam Tr
PO Box 603                              512 East Utica                  Byron Duncan Ttee
Caldwells, TX 77836                     Buffalo, NY 14208               PO Box 736
                                                                        Henderson, TX 75653




Viola Evelyn M Merritt                  Viola Kathleen Adams Colston    Viola M Huffman
1011 North Gregg Street                 412 Jack Sprott Rd              2001 Hawthorne Avenue
Big Springs, TX 79720                   Livingston, TX 77351            Evansville, IN 47714




Viola Mccoy                             Viola Moore Lyons               Viola Stewart
912 Lock Street                         c/o Texas State Treasurer       409 East Montgomery
Nacogdoches, TX 75964                   Unclaimed Property Division     Spokane, WA 99207
                                        PO Box 12608 Capitol Station
                                        Austin, TX 78711



Viola Thomas                            Viola Vesta Hood                Viola Wallace
904 S Carter St                         122 Choctaw Drive               PO Box 974
Marshall, TX 756706102                  Pineville, LA 71360             Henderson, TX 75653




Viola Wallin                            Violene Beene                   Violene W Sutton
1204 W 10Th Street                      160 Autumn Ln                   2160 Woodsfield
Erie, PA 16502                          Livingston, TX 77351-0908       Beaumont, TX 77706




Violene W Sutton Estate                 Violet Bazer George             Violet D Shaver
Robert W Suttonjr Indp Exec             7737 W 87Th Dr                  1909 Legion Street
PO Box 2567                             Arvada, CO 80005-1651           Lake Charles, LA 70601
Beaumont, TX 77704




Violet F Brewster                       Violet Geneva Bush              Violet Gohman Fletcher
320 Blazier Lane                        3737 Summer Lane                215 Adam Cir
West Monroe, LA 71292                   Huntsville, TX 77340            Ruston, LA 71270-1614




Violet Kay Reese                        Violet Laverne Armstrong        Vip Technologies Inc
14219 Us Hwy 190E                       3737 Summer Lane                PO Box 9280
Livingston, TX 77351                    Huntsville, TX 77340            Longview, TX 75608




Virani Family Trust                     Virgia Lee Adams Moore          Virgie Bowman Surko
16530 Ventura Blvd Ste 306              3005 Oakman Boulevard           PO Box 42219
Encino, CA 91436                        Detroit, MI 48238               Houston, TX 77242




Virgie Jean Lyle                        Virgie Mary Land Hill           Virgie Oxsheer
531 28Th Street                         152 Igoe Inn Rd                 c/o Texas State Treasury
Seattle, WA 98122                       Ruston, LA 71270                Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019
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Virgil C Covey                            Virgil D Hunt                   Virgil Davis Hunt Jr
195 Nesbitt Cut Off                       102 Woodmont Blvd Suite 216     2604 Tyne Blvd
Marshall, TX 75670                        Nashville, TN 37205             Nashville, TN 37215




Virgil J Anderson Jr                      Virgil Jackson Rutledge Jr      Virgil Johnson Life Estate
PO Box 71                                 1073 Fitzpatrick Rd             Patrick Johsnon Remainderman
Hodge, LA 71247                           Nashville, TN 37214             1909 21st St
                                                                          Lubbock, TX 79411




Virgil Lucille Hall                       Virgil R Sanders Estate DecD    Virgil Roy Metcalf
PO Box 50046                              Wanda L S Baker Fortenberry     1128 Cr 266
Austin, TX 78763                          PO Box 940801                   Beckville, TX 75631
                                          Plano, TX 75094




Virgina H Mccullough                      Virginia A Coleman              Virginia A Foshee
1274 Magnolia Ave                         611 S Booner Apt 129            6421 North Longmont
Oakdale, CA 95361                         Ruston, LA 71270                Park City, KS 67219




Virginia A Harvey                         Virginia A May                  Virginia A Meeks
3313 Valley Forge Trail                   268 Viola Rd                    5301 Mcgregor Lane
Fort Worth, TX 76140                      Ruston, LA 71270                Dripping Spgs, TX 786204020




Virginia Abney Whelan Revoc Tr            Virginia Alloy Stevens          Virginia Ann Duggan Mosher S/P
Bank One Texas Na Trustee                 Mitzi S Anderson Poa            7630 Olympia Dr
Drawer 99084                              165 Frances Dr                  Houston, TX 77063
Ft Worth, TX 76199-0084                   Three Rivers, TX 78071




Virginia Ann Hightower                    Virginia Ann Liner Crowell      Virginia Ann Mcdaniel Faulk
131 Fm 1137                               235 Beech Drive                 PO Box 142
Palestine, TX 75801                       Lumberton, TX 77657             Joaquin, TX 75954




Virginia Ann Raymond                      Virginia Ann Reeves             Virginia Ann Stutts Living Tr
5080 Fm 1836                              1226 Annette                    Virginia Ann Stutts Trstee
Kaufman, TX 75142                         Longview, TX 75604              7903 Roos
                                                                          Houston, TX 77036-6439




Virginia Ann Young Stutts Living Trust    Virginia Anne Ackley            Virginia B Bradfield
7903 Roos                                 7828 Peachmont Ave Nw Apt E1    3813 W Spurgeon St
Houston, TX 77036                         North Canton, OH 44720          Ft Worth, TX 76133-1219




Virginia B Bryan                          Virginia Bailey Selle           Virginia Beene Freeman
6210 E Arbor Ave Apt 360                  120 Pinecrest                   380 Mt Vernon Road
Mesa, AZ 85206                            Ruston, LA 71270                Columbus, MS 397029371
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Virginia Bush Smyrni Killian And       Virginia C Barrett La Trust       Virginia C Meadors
Oscar Killian Jr                       U/W Of P P Barrett Decd           7011 Baintree Cv
176 Madonna Drive                      PO Box 291950                     Memphis, TN 38119
Benton, LA 71006                       Kerrville, TX 78029-1950




Virginia C Singleton Usufruct          Virginia Caldwell                 Virginia Carolyn Cook
PO Box 337                             Rt 2 Box 170 A                    13305 Travilah Rd
Arcadia, LA 71001                      Gladewater, TX 75647              Potomac, MD 20854




Virginia Carroll Shahan                Virginia Castleberry Mccullough   Virginia Claxton
4295 State Line Rd                     c/o Tx State Treas                700 Pine
Logansport, LA 71049                   Unclaimed Property Division       Longview, TX 75601
                                       PO Box 12019
                                       Austin, TX 78711-2019



Virginia Clay Hill                     Virginia Colvin Meadors Estate    Virginia D Parker
601 Oneonta                            Dianne M Brown Administrator      111 Wildflower Way
Shreveport, LA 71106                   6992 Cannondale Cove              Murfreesboro, TN 37129
                                       Memphis, TN 38119




Virginia Dale Ewick                    Virginia Daniels                  Virginia Darlene Caver
3150 Markridge Dr                      7932 Racine Dr                    202 Hundred Oaks Drive
Reno, NV 89509                         Dallas, TX 75232                  Ruston, LA 71270




Virginia Dell Rhodes A Single Woman    Virginia Dorman Agency            Virginia Dorman Agency
8615 Sherrywood Dr                     c/o Bank Of America Agent         c/o Bank Of America Agent
Houston, TX 77044                      PO Box 830308                     PO Box 840738
                                       Dallas, TX 75283-0308             Dallas, TX 75284-0738




Virginia Durham Young                  Virginia E Mckinley               Virginia E Thorman
2205 New Copeland Rd                   3810 Skyline Court                111 Tyrol
Tyler, TX 75701                        Marion, IN 46952                  San Antonio, TX 78209




Virginia Eason Tompkins                Virginia Elaine Buford            Virginia Elaine Hampton Buford Estate
203 South Frisco                       5007 Briar Tree                   Berrick R Buford Executor
Henderson, TX 75654                    Dallas, TX 75248                  3015 Amherst
                                                                         Dallas, TX 75225




Virginia Ellis                         Virginia Eva Harris Amos          Virginia Fair Russ
308 Mill St                            PO Box 431292                     2900 Spring Bend
Lake Providence, LA 71254              Los Angeles, CA 90043-9291        San Antonio, TX 78209




Virginia Falcone Barber                Virginia Fortney                  Virginia Foster Elkins
5663 Hwy 154 W                         100 Hilton Ave Unit 310           6309 E Via De La Yerba
Gilmer, TX 75644                       Garden City, NY 11530-1566        Tucson, AZ 85750
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Virginia G Bickford                     Virginia G Chandler Singleton   Virginia G Doak Rev Trust
11962 Cherry St                         PO Box 337                      c/o Jane Wendling
Los Alamitos, CA 90720                  Arcadia, LA 71001               4055 Princeton Ridge Drive
                                                                        Wildwood, MO 63025




Virginia G Doak Trust                   Virginia G Ramsdell Et Vir      Virginia G Schneider
F/B/O Judith A Hill                     William H Ramsdell              1723 Festival St
Judith A Hill Trustee                   4049 Westlake Drive             Houston, TX 77062
1160 49Th Ave                           Austin, TX 78746
Vero Beach, FL 32966



Virginia G Stouffer Estate              Virginia G Stouffer Fam Trust   Virginia Gahagan Parma
PO Box 2733                             Barbara L Mugg Trstee           3717 Shenandoah Ave
Cheyenne, WY 82003                      PO Box 2733                     Dallas, TX 75205
                                        Cheyenne, WY 82003




Virginia Gay Riley                      Virginia Gayle Holland Taylor   Virginia Griffin New
4420 Fm 3135 E                          7327 Lane Park Court            6910 Heatherside Dr
Henderson, TX 756522336                 Dallas, TX 75225                Sugar Land, TX 77479




Virginia Griggs Snyder                  Virginia Grigsby Durham         Virginia Grigsby Goodwin Esch
1108 Fairhill Road                      2905 Frostwood Circle           311 44Th St
Sellersville, PA 18960                  Dickinson, TX 77539             Gulfport, MS 39501




Virginia H Baulkwill                    Virginia H Brinkmann            Virginia H Nolan
12 Brundage St                          PO Box 1760                     8780 Highway 146
Armonk, NY 10504                        Shreveport, LA 71166-1760       Ruston, LA 71270




Virginia H Schlather Huggins            Virginia H Upchurch             Virginia Henderson Sage
330 Summit Dr                           12323 Broken Arrow              137 Magie Dr
Round Mountain, TX 78663                Houston, TX 77024               Pleasant Hill, CA 94523




Virginia Hodge Gnatek                   Virginia Howerton               Virginia Huggines
1195 Walter Ave                         691 Haney Road                  330 Summit Dr
Crestview, FL 32536                     Carbondale, IL 62901            Round Mountain, TX 78663




Virginia Hyde Dupuy                     Virginia J Beck                 Virginia Jackson
5303 Swiss Avenue                       460 11Th Ave                    1206 Ridge Drive
Dallas, TX 75214                        Salt Lake City, UT 84103        West Monroe, LA 71292




Virginia Joe Long                       Virginia Johnson Goff Est       Virginia K Edelson Ttee
120 Hayes                               Henry Lewis Goff Sr Ind Exe     Virginia Kroenlein Edelson Tr
Hurst, TX 76053                         Patricia Boyd Aif For H Lewis   349 Seabury Dr
                                        424 Cr 119                      Bloomfield, CT 06002
                                        Baird, TX 79504
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Virginia K Goss                          Virginia Kay                    Virginia Kilpatrick Russell
112 Llanfair Drive                       5088 Fm 139                     20 Bienville Avenue
Ruston, LA 71270-9548                    Joaquin, TX 75954               Mobile, AL 36606




Virginia L Bush Smyrni Killian           Virginia L Ethridge             Virginia L Fulmer
176 Madonna Dr                           220 W 15Th Apt 504              8109 Dogwood Trail
Benton, LA 71006                         Pueblo, CO 81003                Haughton, LA 710377532




Virginia L Hunt                          Virginia L Park                 Virginia L Reeves
c/o Marsha Hunt                          3019 Hunts Point Road           10 Pitlochry Circle
4917 Pine Street                         Hunts Point, WA 98004           Bella Vista, AR 72715
Bellaire, TX 77401




Virginia L Spurlock                      Virginia Lee Elliott Life Est   Virginia Lee Flannery
216 Cr 3804                              Traci Jill Elliott Nelson       5443 Rutherglenn
Joaquin, TX 75954                        Remainderman                    Houston, TX 77096
                                         3209 Kensington Dr
                                         Mesquite, TX 75150



Virginia Lee Lyle                        Virginia Lee Pace Lyle          Virginia Lee Rogers
4005 Baybrook Drive                      4005 Baybrook Drive             335 Robinson Pl
Midland, TX 79707                        Midland, TX 79707               Shreveport, LA 71104




Virginia Lee Stanhagen                   Virginia Louise Ethridge And    Virginia Louise Nutt Morris
PO Box 657                               William C Ethridge              1414 Kyle Avenue
Greenville, ME 04441                     505 W Orman                     Carthage, TX 75633
                                         Pueblo, CO 81004




Virginia Louise Wilder Price And         Virginia M Schroeder            Virginia Mae Pennington
Billy Jack Price                         1603 Gum Creek Cove             317 Green Street
2147 Mitcham Orchard Road                Niceville, FL 32578             Gladewater, TX 75647
Ruston, LA 71270




Virginia Mershon Trust                   Virginia Miller Abbott          Virginia Mitchell Hoban
Mark Mershon Trustee                     1301 Airport Fwy Apt 407        16950 Collins Ave Ste 109
7 Pine Blvd                              Beford, TX 75021                N Miami Beach, FL 33160-4294
Cooperstown, NY 13326




Virginia Mize Abernathy                  Virginia Moody Beardsley Est    Virginia N Elias Trust
4311 Raguet                              c/o Haden Moody Beardsley       c/o John W Elias Trustee
Nacogdoches, TX 75961                    6705 W Hwy 290 Ste 502          2303 Avalon Place
                                         Austin, TX 78735                Houston, TX 777019000




Virginia N Markley                       Virginia Nell Cummings          Virginia O Hatfield 2005 New Mexico
500 Throckmorton                         524 Nw Chisholm Road            Living Trust
3406                                     Burleson, TX 76028              2994 Buttonwood Dr
Fort Worth, TX 76102                                                     Carrolton, TX 75006
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Virginia Obyrne Still                   Virginia P Granger               Virginia Pate Buller
2151 Village Walk Dr                    1036 Evergreen Road              11614 Vailrun Dr
Apt 25102                               Gilmer, TX 75645                 Houston, TX 77070
Henderson, NV 89012




Virginia Poimboeuf                      Virginia Provost Inskeep         Virginia R Galey Pennington
181 Garden Road                         John Inskeep Power Of Attorney   1502 Bittersweet
River Ridge, LA 70123                   233 Bellaire St                  Ruston, LA 71270
                                        Denver, CO 80220




Virginia Rae Shuler                     Virginia Rainer                  Virginia Ramsdell
PO Box 6281                             PO Box 1094                      4049 West Lake Dr
Columbia, SC 29260-6281                 Henderson, TX 75653              Austin, TX 78746




Virginia Randel Burroughs               Virginia Reed Small              Virginia Rives Johnson
5132 Briar Tree Dr                      c/o James Emery Hatfield A/I/F   PO Box 632
Dallas, TX 75248-6009                   2994 Buttonwood Drive            Mansfield, LA 71052
                                        Carrollton, TX 75006




Virginia Roe Peterson                   Virginia Rose Williams           Virginia Ruth Ballard Hammons
171 Joe Road                            20710 Durand Oak Dr              9453 Hwy 145
Simsboro, LA 71275                      Cypress, TX 77433                Downsville, LA 71234




Virginia S Crank                        Virginia S Moore                 Virginia S Penzell
805 Towne Lake                          1305 E Neches St                 Address Redacted
Longview, TX 75601                      Palestine, TX 75801-4643




Virginia Sample Yeatts                  Virginia Skains Shaver           Virginia Smith Keating Estate
7310 Montclair                          602 Glendale Dr                  John E Keating Ind Executor
Shreveport, LA 71105                    Ruston, LA 71270                 2028 S Austin St 202
                                                                         Amarillo, TX 79109




Virginia Stein Bromley                  Virginia Stouffer                Virginia Stroud Hooper
26 Country Club Pl                      116 East 5Th Avenue              5240 Norfolk Road
Baton Rouge, LA 708091995               Cheyenne, WY 82001               Shreveport, LA 71107




Virginia Susan Martin Gage              Virginia T Hunter                Virginia Tracy Agency
Np 24 Lake Cherokee                     10976 Bonnie View Way            Bank Of America Na Agent
Longview, TX 75603                      Grass Valley, CA 959499793       PO Box 840738
                                                                         Dallas, TX 75284




Virginia W Rester                       Virginia W Wettlaufer            Virginia Walker
7027 Deloache Ave                       21 Saybrook Place                419 Turner Drive
Dallas, TX 75225                        Buffalo, NY 14209                Houston, TX 77076
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Virginia Whiteman Faust               Virginia Youngblood               Virtus Alternative Investment Advisers
PO Box 797                            6314 West Branch Road             100 Pearl St 9th Fl
Mary Esther, FL 325690797             Midlothian, VA 23112              Hartford, CT 06103




Visani Bargell LLC                    Vision Communications             Vision Oil Tools LLC
165 South Union Boulevard             PO Box 598                        PO Box 4988
Suite 640                             Lakewood, CA 90714-0598           Dept 103
Lakewood, CO 80228                                                      Houston, TX 77210-4988




Vision Service Plan                   Vision Service Plan Ca            Vista Resources Inc
PO Box 742788                         PO Box 742788                     505 W Ohio Ste 700
Los Angeles, CA 90074-2788            Los Angeles, CA 90074-2788        Midland, TX 79705-5421




Vista Tex Energy LLC                  Visual Systems Inc                Visual Systems Inc
6363 Woodway Dr                       1880 Santa Barbara St Suite 220   PO Box 301003
Ste 970                               San Luis Obispo, CA 93401         Dallas, TX 75303-1003
Houston, TX 77057




Vittorio Cretella                     Viva Capital Funding Inc          Viva Capital Funding Inc Fbo
Laura Zanella                         Fbo Harveys Oilfield Svc          Eds Scanning
Jt Ten/Wros                           PO Box 17548                      PO Box 17548
28 Pippins Way                        El Paso, TX 79917                 El Paso, TX 79917
Morristown, NJ 07960-6971



Viva Lee Foy Tr Ua Dtd 9 24 98        Vivi Ann Walters Flores           Vivian A Cole
Viva Lee Foy Tr                       615 Hwy 763                       2678 E County Line Road
PO Box 379                            Mansfield, LA 71052               Rogersville, MO 65742
Tulsa, OK 74101




Vivian A Love                         Vivian Ann Isbell                 Vivian B Miller
4170 Elm Ave                          305 Bentwood Circle               5161 Harmony Rd
Unit 311                              Corsicana, TX 75109               Crystal Springs, MS 39059
Longbeach, CA 90807




Vivian Boles Brooks                   Vivian Dianna Bowden Sutton       Vivian Elaine Jackson
123 Northwest Cir                     PO Box 52843                      815 E 6Th St 205
Hattiesburg, MS 39401-4513            Shreveport, LA 71105              Los Angeles, CA 90021




Vivian Elizabeth M Nelson             Vivian Frances Born               Vivian Grigg Henderson
2005 Milton                           3433 Avenue R                     507 Dayton Dr
Monroe, LA 71201                      Rosenberg, TX 77471               Ruston, LA 71270-2505




Vivian H Robinson                     Vivian Hooper Phillips            Vivian J White Or
2299 Sterlington Rd Apt B305          PO Box 460                        Texas State Treasury Dept
Monroe, LA 71203                      Joaquin, TX 75954                 Unclaimed Property Division
                                                                        PO Box 12019
                                                                        Austin, TX 78711-2019
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Vivian K Renfrow                      Vivian L Ford                         Vivian Lockett
4806 Q 112                            611 Laurel Road                       c/o Texas National Bank
Galveston, TX 77550                   Athens, TX 75751                      PO Box 6950
                                                                            Longview, TX 75608




Vivian Loraine Finch                  Vivian Louis Blalack                  Vivian Louise Dumas
23225 Montura Drive                   c/o Gilmer NatL Bank                  115 Jester Court
Diamond Bar, CA 91765                 F/A/O 2380269                         Longview, TX 75605
                                      PO Box 460
                                      Gilmer, TX 756440460



Vivian M Bolden                       Vivian M Lewis Rhodes                 Vivian M Taylor
4389 Fm 729                           3680 El Grande Dr                     3018 Antioch Circle
Jefferson, TX 75657                   San Jose, CA 95132                    Anchorage, AK 99508




Vivian M Younger                      Vivian Mccormick Warren               Vivian Mcvea
12542 Paramount Blvd Apt 128          C/O Cy Warren                         3019 Eisenhower Drive
Downey, CA 90242                      Hoschton, GA 30244                    Dallas, TX 75224




Vivian P Parks Estate                 Vivian S Magee                        Vivian Suzanne Kinard
Barbara L Bates Ind Executor          2305 N Vienna                         9512 Fm 225 South
3701 Lands End St                     Ruston, LA 71270                      Laneville, TX 75663
Fort Worth, TX 76109




Vivian Vaughn Stewart                 Vivian Wiederkehr                     Vivian Younger Perry
3740 Ansley Park Dr                   106 Rio Grande Loop                   1746 Cedar Mill Ln
Sunanee, GA 30024                     Georgetown, TX 78633                  Powder Springs, GA 30127-8505




Vivien Hlobilek                       Vivienne Deyarman Noble               VjS Steam Service Inc
Century Village                       1909 22nd Street                      PO Box 126
126 Dover B                           Huntsville, TX 77340                  Oil City, LA 71061
West Palm Beach, FL 33417




Vlmm Properties LLC                   Vls Oil Gas Limited                   Vls Oil Gas Limited Prtnshp
1038 E Moses                          1900 W Loop South Ste 1050            R E Smith Interests Inc Sole
Cushing, OK 74023                     Houston, TX 77027                     General Partner
                                                                            1900 West Loop South Ste 1050
                                                                            Houston, TX 77027



Volumetrics Inc                       Volvo Construction Equipment Rental   Von Christopher Dawkins Wells
PO Box 501                            PO Box 35                             1610 W Hedgecroft
Mountain View, WY 82939               Casper, WY 82602-0035                 Seabrook, TX 77586




Von Fletcher Trucking Inc             Voncel Morgan Williams                Voncia Lewis Williams
PO Box 598                            35 Morgan Ln                          1165 Porter St
Vernal, UT 84078                      Morgantown, MS 39483                  Apt D
                                                                            Vallejo, CA 94590
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Vonda C Sanford                       Vonda Freeman Matteson              Vonitta Dell Davidson Indiv Usufruct
730 N 610 Loop                        4141 S Braeswood Blvd Apt 309       7301 Briley Dr
Houston, TX 77009                     Houston, TX 77025                   North Richland Hills, TX 76180




Vonnita Meshell Williams              Voris Mary Smith                    Vortech Oilfield Tools Lp
3764 Driskell Bridge Rd               Mollie Thaddeus C Smith Jr          PO Box 216
Harleton, TX 75651                    874 Cr 1519                         Andrews, TX 79714
                                      Jacksonville, TX 75766




Vortex Ventures Inc                   Vox Rental Tools Inc                Voya Investment Management Co LLC
3433 N Sam Houston                    PO Box 369                          230 Park Avenue
Pkwy W Suite 406                      Broussard, LA 70518                 New York, NY 10169
Houston, TX 77086




Vrc Protx LLC                         Vs Holdings Usa Ltd                 Vt Vermont State Treasurers Office
16058 Collection Center Dr            PO Box 629                          Unclaimed Property Division
Chicago, IL 60693                     Point Roberts, WA 98281-0629        Pavilion Building
                                                                          109 State St 4Th Floor
                                                                          Montpelier, VT 05609-6200



Vtl Texas Hot Shot Company Inc        Vw Resources                        Vwm La Properties Partnership
PO Box 975390                         PO Box 471249                       PO Box 1824
Dallas, TX 75397-5390                 Tulsa, OK 74147                     Shreveport, LA 71166




Vwp Jr Inc                            Vwr International LLC               W A Fieldman Connie Fieldman
PO Box 898                            PO Box 640169                       217 Starcrest Drive
Holdenville, OK 74848                 Pittsburgh, PA 15264-0169           Corsicana, TX 75109




W A Hirsch                            W A Jones Manager                   W A Moncrief
4137 Maryland                         J7 Farm Llc                         9Th And Commerce
Shreveport, LA 71107                  904 Glendale                        Ft Worth, TX 76102-6403
                                      Ruston, LA 71270




W A Moncrief Jr                       W A Neel Jr                         W A Neel Sr
950 Commerce St                       1006 Rollingwood Drive              1204 Washington Place
Fort Worth, TX 76102-5418             Marshall, TX 75672                  Marshall, TX 75670




W Andy Ferguson                       W Aubrey Wedgeworth Sr              W B Mccartney Oil Co Inc
14632 County Road 2215                3341 State Hwy 315                  Box 1200
Tyler, TX 75707                       Carthage, TX 75633                  Jena, LA 71342-1200




W B Smith Estate                      W B Strange Estate                  W B Ward
C S Foster Trustee                    c/o Farmers Nat Co 1350432 W68017   6530 Seco Blvd
PO Box 2389                           PO Box 3480                         Dallas, TX 75217
Longview, TX 75606                    Omaha, NE 68103-0480
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W Brad James                          W C Bassett                     W C Bud Adams
606 W Forest Dr                       c/o Texas State Treasury        1691 Fm 1256
Houston, TX 77079                     Unclaimed Property Division     Eustace, TX 75124
                                      PO Box 12019
                                      Austin, TX 78711-2019



W C Hatten Jr Contruction Inc         W C Meider Jr                   W C Meider Jr Beverly May Meider
415 Standard Reed Rd                  1450 Fm 799                     1450 Fm 799
West Monroe, LA 71291                 Beeville, TX 78102              Beeville, TX 78102




W C Morrow Marital Tr                 W C Rainbolt                    W C Rainbolt Jr
Sheila Morrow Ttee                    309 Kennedy St                  309 Kennedy St
3110 Gulf                             Center, TX 75935                Center, TX 75935-3515
Midland, TX 79705




W C White                             W Campbell Kaufman Iv           W Chester Maple Ii
c/o Texas State Treasurer             2109 Woodmont Rd                19407 N Trail Ridge Dr
Unclaimed Property Division           Alexandria, VA 22307            Sun City West, AZ 85375-5601
PO Box 12019
Austin, TX 78711-2019



W Clark Lea                           W D Anderson Sons               W D Green Properties LLC
1608 Gulf Ave                         PO Box 132947                   PO Box 53252
Midland, TX 79705                     The Woodlands, TX 77393         Shreveport, LA 71107




W D Jones Mary L Jones                W D Mcbee Enterprises Ltd       W D Northcutt Iii
600 Old Maple Springs Road            PO Box 12864                    PO Box 3523
Longview, TX 75602                    Dallas, TX 75225                Longview, TX 75606




W D Stewart Jr                        W D Von Gonten Co               W D Williams
183 Private Road 716                  Petroleum Engineering           211 N Holloway
Deberry, TX 75639                     808 Travis Ste 1200             El Dorado, AR 71730
                                      Houston, TX 77002




W Danny Mcmullan                      W David White                   W E Albright And Mildred Albright
3654 Whisper Ln                       132 Autumn Hills Drive          6036 Flying Squirrel Road
Orange, TX 77630                      Tupelo, MS 38801                Gilmer, TX 75644




W E Allen Syble Allen                 W E M M Wylie Heirs Part        W E Sherman LLC
877 Hwy 171 South Apt 14              PO Box 697                      PO Box 5557
Stonewall, LA 71078                   Henderson, TX 75653             Abilene, TX 79608




W E Woodfin                           W Ervin White                   W F Bridewell Jr DecD
4756 Post Oak Rd                      117 Partridge Lane              2200 Ross Ave
New Ulm, TX 78950                     Carthage, TX 75633              Suite 710
                                                                      Dallas, TX 75201
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W F Calohan Ltd                          W F Frieda J Hamilton                  W F Gertrude Patterson Trust 1
900 Ne Loop 410                          1711 Broadway Ave                      C R Chambless J Swadley Trs
D 409                                    Ruston, LA 71270                       1st State Bnk Tr
San Antonio, TX 78209                                                           PO Box 579
                                                                                Carthage, TX 75633



W F Hubbard                              W G Cartwright                         W G Cook Jr
223 E 3rd St                             W Cordray County Judge Rcvr            PO Box 55763
Milan, MO 63556                          110 South Sycamore Room 216A           Jackson, MS 39083
                                         Carthage, TX 75633




W G Green                                W G Haun                               W G Hoebel Company Inc
411 S Commerce St                        507 Union National Building            500 N High Street
Natchez, MS 39120                        Wichita, KS 67202                      Henderson, TX 75652




W Gill Vivian G Colvin Trust             WHB                                    W H Britt
W Gill Vivian G Colvin Trustee           PO Box 698                             12O Parkwood Rd
2307 Pathway                             Lovington, NM 88260                    Rochester, NY 14615
El Dorado, AR 71730




W H Brown                                W H Cardwell Family Trust              W H Chaffin And Vera Chaffin
512 Petroleum Bldg                       Margaret Kathleen Card Trustee         c/o Texas State Treasury
Casper, WY 82601                         PO Box 330                             Unclaimed Property Division
                                         Mt Enterprise, TX 75681                PO Box 12019
                                                                                Austin, TX 78711-2019



W H Fiorella Sr                          W H Long                               W H Mitchell
4017 Lemon St                            John W Cordray County Judge Receiver   PO Box 7158
Metairie, LA 70002                       110 South Sycamore Room 216A           Longview, TX 75607
                                         Carthage, TX 75633




W H V Ray Living Tr Estate               W Harlan Beene Sr Estate               W Hughes Brockbank
Verlee Rush Ray Rebecca Ray              W Harlan Beene Jr Prov Ad              2858 Evergreen Street
Lindell Co Trustees                      PO Box 5316                            San Diego, CA 92106
PO Box 365                               Bossier City, LA 71171
Longview, TX 75606



W I B J Barkley Lvg Tr Dated 5/19/1993   W I Cook Foundation Inc                W I Davis Hankins
William I B J Barkley Ttees              c/o Bank Of Texas Na Agent             104 E Castle Lane
2201 Horseshoe Ln Apt 208                PO Box 3499                            San Antonio, TX 78213
Longview, TX 75605                       Tulsa, OK 74101




W I Davis Jr                             W I Warrick                            W J Chevalier
502 Pine Street                          872 Williams Road                      Route 1 Box 241
Center, TX 75935-4310                    Longview, TX 75605                     Joaquin, TX 75954




W J Hurley                               W J Obrien Estate                      W Jamie Cotterell
PO Box 7306                              PO Box 65088                           412 Cedar Mound Pass
Metairie, LA 70010-7306                  Shreveport, LA 71136-5088              Cedar Park, TX 78613
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W K Furrh Jr                            W Kurt Finkbeiner                W L Hardwick
PO Box 1468                             PO Box 5052                      PO Box 380
Marshall, TX 75670                      Midland, TX 79704                George West, TX 78022




W L Holdings LLC                        W L Moody Iv                     W L Moore Deceased
2300 Andover Suite 400                  c/o Moody Natl Bank Trust Dept   2100 N Grape
Little Rock, AR 72227                   PO Box 1139                      Compton, CA 90222
                                        Galveston, TX 77553




W L Worsham                             W M Beasley Jr                   W M Chappelle
PO Box 455                              Saralynn D Calvin Beasley Poa    131 S Millpost Circle
Joaquin, TX 75954                       PO Box 5581                      The Woodlands, TX 77382
                                        Shreveport, LA 71135




W M Mitchell Jr Estate                  W M Mitchell Son LLC             W M Montgomery
Ruby H Mitchell Executrix P O           PO Box 940459                    102 Berkley Dr
Box 940459                              Houston, TX 770947459            Palestine, TX 75801-5310
Houston, TX 770947459




W M Thoman Ranches LLC                  W Mark Rush                      W N Smith Co
PO Box 146                              20838 Rose Hill Church Rd        PO Box 62208
Green River, WY 82935                   Tomball, TX 77377                Houston, TX 77205




W O Anderson                            W O I Petroleum Inc              W O Watson
223 Anderson Rd                         PO Box 686                       710 Elizabeth
Grand Cane, LA 71032                    Hwy 259 North                    Gilmer, TX 75644
                                        Daingerfield, TX 75638




W P Allen Jr Trust                      W P Dillard                      W P Mcwhorter
Austin Trust Company Trustee            PO Box 4088                      2565 W 27Th Avenue
336 South Congress Ave Ste 100          Horseshoe Bay, TX 78657          Eugene, OR 97405
Austin, TX 787041221




W R Brumble                             W R Cowan Estate                 W R Hughes Trust
1016 East Silver                        Sherry Cowan Langford Exec       PO Box 2763
Tuscon, AZ 526667462                    404 Gingerbread Ln               Longview, TX 75606
                                        Waxahachie, TX 76165-1604




W R Hughey Ii Trustee                   W R Hughey Ii                    W R Kathy Peterson
6406 Boca Raton Ct                      6406 Boca Raton Ct               108 Woodbrook Ct
Tyler, TX 75703                         Tyler, TX 75703                  Longview, TX 75604




W R Kathy Peterson                      W R Rudd Trust                   W R Watt Jr
1812 Mccord Street                      Elsie Tee Rudd And               PO Box 150
Longview, TX 75605                      Glendra Rudd Spradley Co Tr      Ft Worth, TX 76101
                                        3855 Fm 711
                                        Center, TX 75935
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W Ruth Barrow                         W S Alexander                   W S Elkins
527 Wagon Wheel Drive                 PO Box 126                      8729 Jacksonville Cato Rd
Canyon Lake, TX 78133                 Etoile, TX 75944-0126           Sherwood, AR 72120




W S Farish Iii                        W S Farish Company Trustee      W S Resources
1100 Louisiana 2200                   1100 Louisiana Suite 2200       1754 Rice Blvd
Houston, TX 77002                     Houston, TX 77002               Houston, TX 77005




W Scott Knight                        W T Roberts                     W T Ross
PO Box 508                            c/o Texas State Treasury        10044 State Hwy 135 N
Tyler, TX 75710                       Unclaimed Property Division     Troup, TX 75789
                                      PO Box 12019
                                      Austin, TX 78711-2019



W T Steen                             W Timothy Beckett               W Todd Matlock And Paige M Matlock
312 Bomar                             PO Box 123174                   353 Cr 302D
Houston, TX 77006                     Fort Worth, TX 76121-3174       Henderson, TX 75654




W W Bankerd Trustee                   W W Blocker Estate              W W Energy Services Inc
c/o Carl Spinner Cpa                  R M Claypool Ind Executor       6005 Eastridge Ste 220
PO Box 279                            4836 Bayou St John              Odessa, TX 79762
Burnet, TX 78611                      Conroe, TX 77304




W W Welding                           W W Wireline Co                 W W Wireline Co
6807 N County Rd 1298                 1719 Guadalupe St               1719 Guadalupe St Pmb 123
Midland, TX 79707                     Laredo, TX 78043-3449           Laredo, TX 78043




W W Worldwide LLC                     W Watson Laforce Jr             W Weems Westfeldt
18124 Wedge Pkwy 460                  PO Box 353                      321 Knight Rd
Reno, NV 89511                        Midland, TX 79702               Basalt, CO 81621-9602




W/K Land Company                      W4 Consulting                   Waapf Investment LLC
911 Kimbark Street                    PO Box 39171                    PO Box 688
Longmont, CO 80501                    Shreveport, LA 71133            Georgetown, TX 78627




Waapf Management 401 K                Wabash Valley Partnership Ltd   Wachovia Bank
PO Box 688                            PO Box 1309                     420 Montgomery Street
Georgetown, TX 78627                  Midland, TX 79702               San Francisco, CA 94104




Wackowski Consulting LLC              Wade A Muntz                    Wade Anderson
27822 Silver Spur Street              5485 Bay Meadows Dr             1068 Pine Ter
Steamboat Springs, CO 80487           Frisco, TX 75034                Center, TX 75935-4257
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Wade D Lisa K Wright                    Wade Eric Crane                 Wade Family Partnership Ltd
1304 Ashland St                         232 Hwy 507                     500 W Ohio Ave Suite 100
Ruston, LA 71270                        Simsboro, LA 71275              Midland, TX 79701-4361




Wade Hines Perritt Judy Potts Perritt   Wade Latham                     Wade Manning Hooper
14678 Hwy 151                           PO Box 161099                   PO Box 24
Arcadia, LA 71001                       Fort Worth, TX 76161            Logansport, LA 71049




Wade Matthew And Melissa P Mckinzy      Wade R Baggette Sr              Wade R Bedell Jr Trust
1744 Booker Loop Rd                     230 Auburn Ave                  Charles E Biery Fred Biery Trust
Mansfield, LA 71052                     Monroe, LA 71201                For Wade R Bedell Jr
                                                                        PO Box 312
                                                                        Pleasanton, TX 78064



Wade Warren Energy Services             Wade Watson                     Wade Weatherford
PO Box 1166                             PO Box 712                      Address Redacted
George West, TX 78022                   Hawkins, TX 75765




Wadeco Specialties Inc                  Wafer Creek Ranch LLC           Wafer Creek Ranch LLC
PO Box 60634                            212 Griffin Road                c/o Argent Trust Company
Midland, TX 79711                       Ruston, LA 71270                PO Box 1410
                                                                        Ruston, LA 71273-1410




Waford Daw                              Waford H Whitfield              Wage Works
639 Cr 3340                             Box 1                           PO Box 1928
Joaquin, TX 75954                       Palmetto, LA 71358              Att Accounts Receivable
                                                                        Vista, CA 92085-1928




Wagner Brown Ltd                        Wagner Oil Company              Waid Environmental
300 N Marienfeld St 1100                500 Commerce St Ste 600         10800 Pecan Park Blvd Ste 300
Midland, TX 79701                       Fort Worth, TX 76102            Austin, TX 78750




Waikiki Partners Lp                     Waite Family Ltd Partnership    Wakefield Oil Co Inc
PO Box 2127                             Sue W Johnson Man Partner       PO Box 1108
Midland, TX 79702                       3540 Blankenship Drive          Roswell, NM 88202-1108
                                        Morganton, NC 28655




Waldean G Woelfel                       Waldman Family Trust            Waldrop Property Co Lp
686 Cr 237                              Florence Abrams Waldman         4424 San Carlos
Three Rivers, TX 78071                  Trustee                         Dallas, TX 75205
                                        308 Horseshoe Drive
                                        Kilgore, TX 75662



Wali Lewis                              Walker County                   Walker County Appraisal District
4202 Applewood Ln                       1100 University Avenue          PO Box 1798
Matteson, IL 60443                      Huntsville, TX 77340            1819 Sycamore Avenue
                                                                        Huntsville, TX 77342-1798
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Walker Elliott Lp                      Walker Lois Martin              Walker Royalty L P
11200 Westheimer Rd                    542 East Oak Lane               Attn Kathryn W Francis
Ste 365                                Nacogdoches, TX 75961           4925 Greenville Avenue Suite 500
Houston, TX 77042                                                      Dallas, TX 75206




Walker Secker Gst Exempt Tr            Walker Weir Wilson              Walker Wilcox Matousek
Jpmorgan Chase Bank Na Ttee            3909 Potomac                    1 N Franklin St 3200
Po Drawer 99084                        Fort Worth, TX 76107            Chicago, IL 60606
Fort Worth, TX 76199




Wall Family Trust                      Wallace 7 18 Royalty Suspense   Wallace Bright Livesay Iii
A Phillip T Wall Trustee               2503 Robinhood Suite 110        2002 Butler Dr
8 Abbotsford Court                     Houston, TX 77005               Friendswood, TX 775465512
Dallas, TX 75225-1803




Wallace C Westfeldt                    Wallace Capel Jr                Wallace G Pou Estate
83 Crooked Spur                        8619 Asheworth Drive            Jeanette H Pou Thompson Indp
Boulder, CO 80302                      Montgomery, AL 36117            Executor
                                                                       4332 Hyatt Ct
                                                                       Fort Worth, TX 761168106



Wallace L Albrecht                     Wallace L Honeycutt             Wallace Lee Albrecht Ttee Of
331 Sterling Park Terrace              PO Box 1248                     The Wallace Lee Albrecht Revoc Tr
Franklin, TN 37069                     Gold Beach, OR 97444            U/T/A Dated March 16 2011
                                                                       331 Sterling Park Terrace
                                                                       Franklin, TN 37069



Wallace Marshall Johnson               Wallace P Gibson                Wallace Rogers Iii 1992 Fam Tr
4475 Carter Creek Pkwy                 6945 Shaulis Dr                 Wallace Rogers Iii Trustee
336                                    Reynoldsburg, OH 43068          305 Geneseo Road
Bryan, TX 77802                                                        San Antonio, TX 78209




Wallace Royalty Lp                     Wallace S Harrison And          Wallace W Massey
4917 Walton Heath                      Reba Jean Sumlin Harrison       Gayle Massey Cowdin A/I/F
Garland, TX 75044                      7819 Hwy 80 West                2712 6Th Ave
                                       Ruston, LA 71270                Fort Worth, TX 76110




Waller Family Partnership Ltd          Wallers Trucking Company Inc    Walls Living Trust
c/o Waller Intrst Llc Gen Ptnr         PO Box 71                       Jim J Walls And Judy K Walls Trustees
5828 Colhurst St                       Big Piney, WY 83113             3501 W Pittsburg St
Dallas, TX 75230                                                       Broken Arrow, OK 74012




Wallys Equipment Inc                   Walnut Creek Cemetery Assoc     Walpole Family Partnership LLC
PO Box 815                             PO Box 1104                     2404 N Trenton Street
Sundown, TX 79372                      Ruston, LA 71273-1104           Ruston, LA 71270




Walson Family LLC                      Walta Nell Taylor               Walta Pippen Cooke
PO Box 6846                            10027 County Road 2126 N        200 Timberlane Drive
Lawrenceville, NJ 08648-0846           Henderson, TX 75652-7422        Carthage, TX 75633
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Walter Abner Point Jr                 Walter Alan Buster                Walter Alan Stelter
507 Juniper Springs Dr                1222 Princeton St 20              23733 Ne Salal Place
Groveland, FL 34736-8117              Santa Montica, CA 904041490       Redmond, WA 98053




Walter And Laura Caven                Walter Anderson Henshaw           Walter Anderson Henshaw Trust
2738 Trail Of The Madrones            PO Box 1711                       Walter Anderson Henshaw Ttee
Austin, TX 78746-2345                 Fredericksburg, TX 78624          PO Box 1711
                                                                        Fredericksburg, TX 78624




Walter B Edwards                      Walter Barnwell Calvert           Walter Burl Lake
PO Box 3567                           PO Box 573                        3108 Swan
Page, AZ 86040-3567                   Mansfield, LA 71052-0573          Longview, TX 75604




Walter C Holloway Iv                  Walter C Rainbolt Et Al           Walter Carol Searson
13412 Peyton Drive                    PO Box 38                         67 Ashley Woods Drive
Dallas, TX 75240                      Joaquin, TX 75954                 Arden, NC 28704




Walter Carroll Burton                 Walter Craig Wilson               Walter Creech
592 Simmons Rd                        820 Cutting Horse Dr              Address Redacted
Ruston, LA 71270                      Mansfield, TX 76063




Walter D Thorman                      Walter D Wells Jr Trste           Walter Dale Ward
111 Tyrol Pl                          c/o Tx St Treasury Unclaimed      PO Box 192
San Antonio, TX 78209                 PO Box 12019                      Easton, TX 756410192
                                      Austin, TX 78711-2019




Walter David Macia G Baumann          Walter David Stephens             Walter Duval George Iii
14400 Northbrook 160                  PO Box 444                        320 Forest Ave
San Antonio, TX 78232                 Lufkin, TX 75902                  Shreveport, LA 71107




Walter Duvall George Jr               Walter E Hussman Jr               Walter Eugene Farmer
320 Forest Ave                        PO Box 2221                       304 Circle Ranch Road
Shreveport, LA 71104                  Little Rock, AR 72203             Trinidad, TX 75134




Walter Eugene Massingill              Walter Evertt Caryl Lee Scriber   Walter F Brown
9625 Silver Meadows                   1127 Wedgewood Dr                 A107 Petroleum Center
Dallas, TX 75217                      Ruston, LA 71270                  900 N E Loop 410 Suite A 107
                                                                        San Antonio, TX 78209




Walter F Clements                     Walter F Clements Ethel           Walter Fondren Allday
4401 York St                          4401 York St                      308 Rocky Top Rd
Wichita Falls, TX 76309               Wichita Falls, TX 76309           Hunt, TX 78024
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Walter Forest Costlow                 Walter G Bush And Linda Kay Bush      Walter G Green Jr
515 Hornik Rd                         18615 Yorkshire Manor Court           2835 Castlewood Dr Nw
Ennis, TX 75119-0400                  Spring, TX 77379                      Atlanta, GA 30327




Walter G Lagerquist Jr                Walter G Verhalen Iii                 Walter H Walne Iii
c/o Broadway Bank Wealth Mgmt         908 Rainbow Drive                     1932 Stoneybrook
PO Box 6981                           Richardson, TX 75081                  Houston, TX 77063
San Antonio, TX 78209-0981




Walter Holloway Cunyus                Walter Hudson Gray Jr                 Walter J Carson Iii
9774 Roe Dr                           1315 Oak Hill Dr                      804 Murrell Ave
Santee, CA 92071                      Clarksville, TN 37040                 Ballinger, TX 76821-4718




Walter J Hillabrant                   Walter Jay Burkett                    Walter Kerber Jr
1927 38Th Street Nw                   PO Box 1502                           925 N Francisco Ave
Washington, DC 20007                  Lamesa, TX 79331                      Chicago, IL 60622




Walter Koricanek                      Walter L Farrington Jr                Walter L Farrington Jr
327 Co Rd 113                         3415 Fry Avenue                       And Wife Patricia Hower Farrington
Nordheim, TX 78141                    Tyler, TX 75701                       3415 Fry Avenue
                                                                            Tyler, TX 75701




Walter L Morrison                     Walter Leon King Et Ux                Walter M Everton
PO Box 2412                           Lucille King                          Dba Quality Engraving Locksmith
Salt Lake City, UT 84110              1711 Elva Ave                         731 19Th St
                                      Compton, CA 90222                     Evanston, WY 82930




Walter M Starke Jr                    Walter Michael Mauritzen              Walter Nathan
14015 Pine Harbor Road                212 Buckingham Pl                     1763 S Glencoe St
Charlotte, NC 28278                   Hewitt, TX 76643                      Denver, CO 80222




Walter Neal Mullins Jr                Walter O Hill                         Walter P Cadenhead
521 Meadowlark Trail                  5809 London                           333 Throckmorton Street 1003
Chattanooga, TN 37412                 Dallas, TX 75252                      Fort Worth, TX 76102




Walter P Roach                        Walter Pallu Cadenhead Family Trust   Walter Patrick Spinks
2309 Vaquero Lane                     Gwendolyn Taylor                      1000 Lischey Ave Apt B
Carrollton, TX 75010                  Cadenhead Trustee                     Nashville, TN 37207
                                      333 Throckmorton Street 1003
                                      Fort Worth, TX 76102



Walter Phyllis Lucker Jt Ten/Wros     Walter R Janet P Johnson              Walter R Ledbetter Et Ux
41 Spy Hill                           3107 Bienville Ave                    Vida Moss Ledbetter
Poughkeepsie, NY 12603-2520           Ruston, LA 71270                      Rt 1 Box 37
                                                                            Simsboro, LA 71275
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Walter R Melton Jr                     Walter R Northcutt              Walter Ray Farrar Jr
1926 Linden Lane                       PO Box 3425                     14 Elmcrest Court
Lake Charles, LA 70605                 Longview, TX 75606              Little Rock, AR 72211




Walter Rivera                          Walter Robert Hewell            Walter Rodney Elzen
Address Redacted                       265 Edinburgh Rd                2851 Hillcrest Cir
                                       San Angelo, TX 769019579        Benton, LA 71006




Walter S Calvert                       Walter Savant                   Walter Spivey Jr
103 Julian St                          3150 Amos Road                  PO Box 2242
Mansfield, LA 71052                    Longview, TX 75602              Ruston, LA 71273-2242




Walter Stephen Reeves                  Walter Steve Brim               Walter Stewart Mooring
119 Whippoorwill Way                   467 West Raymond                PO Box 410
Georgetown, TX 78633                   Compton, CA 90220               Hay Springs, NE 693470410




Walter T Heaton                        Walter T Laura R Caven Trust    Walter Verhalen Deceased
12511 Crystal Creek                    Dated 11/15/1999                5515 Ursula Lane
Buda, TX 78610                         Laura R Caven Trustee           Dallas, TX 75229
                                       2800 Scenic Drive
                                       Austin, TX 78703



Walter W Heard Jr                      Walter Waller                   Walter Watson
109 South Rankin St                    14611 Tab Lane                  c/o Texas State Treasury
Natchez, MS 39120                      Houston, TX 77070               Unclaimed Property
                                                                       PO Box 12019
                                                                       Austin, TX 78711-2019



Walterine Durham                       Walters Wholesale Electric Co   Walton Ebenezer Methodist
PO Box 33                              2825 Temple Ave                 Episcopal Church
Jena, LA 71342                         Signal Hills, CA 90755          PO Box 349
                                                                       Carthage, TX 75633




Walton Ranch Company                   Walton Whitaker                 Wam3 Lp
575 E 4500 S Ste B 260                 Address Redacted                Moncrief Building
Salt Lake City, UT 84107                                               950 Commerce Street
                                                                       Fort Worth, TX 76105-5418




Wanda Arrington Akorede                Wanda Beth Edwards              Wanda C Robinson
3110 Elkdale Dr                        2317 Waverly Drive              818 Hop Tree
Houston, TX 77082                      Bossier City, LA 71111          San Antonio, TX 78258




Wanda Cheatham                         Wanda Clinton                   Wanda Comstock
118 W Jordan                           2500 Barton Creek Blvd 3313     313 Burlington Rd
Grand Saline, TX 75140                 Austin, TX 78735                San Angelo, TX 76901-5208
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Wanda Critton Jacobs                   Wanda Dixon                     Wanda Elaine Campbell Debruin
PO Box 102                             5406 Olana Dr                   75 West Shore Lane
Taylor, LA 71080                       Houston, TX 77032-4933          Montgomery, TX 773568604




Wanda Evet Baugh Massegee              Wanda Faye Skinner Gann         Wanda Foster Papi
703 Cherry Heights                     1513 Hwy 15 North               2336 S Caliente Road
Clyde, TX 79510                        Houston, MS 38851               Palm Springs, CA 92264




Wanda Fruits                           Wanda Futrell Propes            Wanda G Davenport
PO Box 751                             1001 Fm 1186                    1431 Daisy Drive
Glide, OR 97443                        Marshall, TX 75672              Lancaster, TX 751341635




Wanda G Liggins                        Wanda Gail Clark Williams       Wanda Gail Knotts Humphrey
12824 Ponderosa Ranch Road             149 Bellwood Dr Apt 11          PO Box 55
Victorville, CA 92392                  Quitman, LA 71268               Saline, LA 71070




Wanda Haley                            Wanda Holland                   Wanda J Eason
Address Redacted                       c/o Bank Of America             212 E Iowa Ave
                                       F/A/O 004886621612              Berthoud, CO 80513
                                       1101 N Conway Ave
                                       Mission, TX 78572



Wanda J Taylor                         Wanda J Walker                  Wanda Jean Calvert Harris
1241 County Road 3169                  19845 Hatton Street             400 Polly Lane Apt 2
Joaquin, TX 75954-3809                 Winnetka, CA 91306              Lafayette, LA 70508




Wanda Jean Cole                        Wanda Jean Miller               Wanda Jean Wheeler
505 Arcadia St                         PO Box 270456                   1314 Heather Lane
Hurst, TX 76053                        Dallas, TX 75227                Longview, TX 75604




Wanda Joann White                      Wanda Joy Roberts               Wanda Joyce Scott
5904 N Pennsylvania Ave Apt 215B       334 Crepe Myrtle Rd             5000 Mcgregor Ln
Oklahoma City, OK 73112-7463           Big Sandy, TX 75755             Dripping Spgs, TX 78620




Wanda K Matlock                        Wanda L Baskin                  Wanda L Chapman
6621 S Moson Rd                        15401 Lindsey Ln                12398 Lyra Dr
Hereford, AZ 85615                     Lindale, TX 75771               Willis, TX 77318-5138




Wanda Lou Edgar                        Wanda Louise Houston            Wanda Lynn Curry
200 Walden Drive                       11149 Cr 366 East               7610 Cameron Rd 1101
Eureka, MO 63025                       Mt Enterprise, TX 75681         Austin, TX 78752
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Wanda M Little                        Wanda Mahaffey                  Wanda Matthews
2016 North Fisher Ct                  1418 Kaitlyn Ln                 615 Linda Ct
Pasadena, TX 77502                    Keller, TX 76248-5735           Palm Harbor, FL 34684




Wanda Nell Reagan                     Wanda Pfau                      Wanda Roberson
6413 Royal Ct                         2717 11Th Ave North             3322 W 118Th St
North Richland Hills, TX 76180        Fargo, ND 58102                 Inglewood, CA 90303




Wanda Roden Yates                     Wanda Rudd Cochran Estate       Wanda Scott Gray
1002 Sunset Trail                     Judy P Cochran Ind Admin        109 Wilks Street
Kingston Springs, TN 37082            300 N Washington                Longview, TX 75605
                                      Livingston, TX 77351




Wanda Stoma James                     Wanda Sue Allison Welch         Wanda Sue Hoover
PO Box 12442                          3100 S Fm 113                   519 Summit Drive
Alexandria, LA 71315-2442             Millsap, TX 760662220           Richardson, TX 75081




Wanda T Hamilton                      Wanda Williams Shelby           Wandoo Energy LLC
1606 Glenmar Avenue                   1401 Cedar Creek Road           6046 Fm 2920 No 421
Monroe, LA 71201                      Ruston, LA 71270                Spring, TX 77379




Wanell R Stoltze                      War Horse Services LLC          Warbonnet Construction Inc
106 Lantana Drive                     500 W Illinois Suite 1200       1613 Pelican Lakes Pt Ste 102
Georgetown, TX 78633-4845             Midland, TX 79701               Windsor, CO 80550-6238




Ward Cook                             Ward County Tax Assessor        Ward L D
1309 Ravensbrook Bennd                Collector                       PO Box 552
Cedar Park, TX 78613-7687             Vicki Heflin Pcc                Judson, TX 76660
                                      PO Box 290
                                      Monahans, TX 79756



Ward Larry D Alice Ward               Ward N Adkins Jr                Wareham Trucking LLC
190 Deer Run                          5519 Tupper Lake                Nate Wareham
Hallsville, TX 75650                  Houston, TX 77056               56514 Wcr 21
                                                                      Carr, CO 80612




Warhorse Oilfield Services LLC        Warhorse Vacuum Services LLC    Warnnie Lee Sampson Ballard
12841 North Freeway                   PO Box 1028                     Walter Ballard Jr
Ste 423                               Joaquin, TX 75957               3310 Gordon Ave
Houston, TX 77060                                                     Monroe, LA 71202




Warren A Massey                       Warren Adams                    Warren B Gray Sr Living Trust
10514 Southport Dr                    1713 E Florida                  c/o Stephen S Gray Tte
Houston, TX 77089                     Urbana, IL 61801                17125 Se 76Th Creekside Circle
                                                                      The Villages, FL 32162
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Warren Burns Gray Sr                    Warren Cat Corp                    Warren D Driskell
40718 N Brandon Way                     PO Box 842116                      3970 South Vincennes Court
Anthem, AZ 85086                        Dallas, TX 75284                   Denver, CO 80237




Warren Dub Cate                         Warren E And Beverly Love Booker   Warren E Jamison
PO Box 881                              12822 Hwy 84                       875 Cedar Street
Proctor, TX 76468                       Grand Cane, LA 71052               Gibsland, LA 71028




Warren Edwin Watson                     Warren Federal Credit Union        Warren Fleming
7881 Vista Ridge Drive                  6523 Yellowstone Rd                19110 Treetoad Dr
Northlake, TX 76247                     Cheyenne, WY 82009-3430            Katy, TX 77449




Warren G Clara Fern                     Warren G Sneed                     Warren H Beider
Christensen Family Trust                5714 Spellman Road                 Box 306 Bluff Point Rd
1754 S Marble St                        Houston, TX 77096                  Northport, NY 11768
Gilbert, AZ 852954962




Warren H Burns                          Warren Hayes                       Warren Keith Jernigan
7736 Phoenix Ave                        8108 Fm 973                        2550 Old Annetta Rd
El Paso, TX 79915                       Austin, TX 78724                   Aledo, TX 76008




Warren Knight Jr                        Warren Lee Conway                  Warren Pumps LLC
231 Sena Dr                             5174 Ironwood Ct                   PO Box 5020
Metairie, LA 70005                      San Angelo, TX 76904               Monroe, NC 28111-5020




Warren Randall Mccommons                Warren Sherron R                   Warren Taylor
633 Morton                              508 West Country Club Road         2716 Carmen Court
Ashland, OR 97520                       Hallsville, TX 75650-6078          Pinole, CA 94564




Warren Woodall                          Warrior Energy Services            Warrior Well Services Inc
5152 Heil Ave 8                         Department 2114                    13211 Old Highway 50
Huntington Beach, CA 92649              PO Box 122114                      Flora, IL 62839
                                        Dallas, TX 75312-2114




Warwick Ares LLC                        Warwick Ares LLC                   Warwick Partners I LLC
6608 N Western Ave                      6608 North Western Avenue 417      6608 North Western Avenue
Box 417                                 Oklahoma City, OK 73116            Box 417
Oklahoma City, OK 73116                                                    Oklahoma City, OK 73116




Washburn Land Surveying LLC             Washburn Pumping                   Washburn Pumping Jackie Washburn
3621 Muskrat Creek Dr                   819 West Avenue J                  Jackie Washburn
Fort Collins, CO 80528                  Lovington, NM 88260                819 West Avenue J
                                                                           Lovington, NM 88260
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Washington And Lee University             Washington Crawford Decd Esch           Washington Energy Exploration
Sun Trust Bank Custodian                  2347 Inca Dr                            601 Union St 2200
515 King Street Alx 5602                  Dallas, TX 75216                        Seattle, WA 98101
Alexandria, VA 22314




Washington Federal                        Washington Gas Light Fcu                Washington Mutual Bank
425 Pike Street                           6801 Industrial Rd                      1201 Third Avenue Suite 1000
Seattle, WA 98101                         Springfield, VA 22151                   Seattle, WA 98101




Washington State University               Washington Trust Company                Washita Valley Enterprises Inc
442 French Admin Bldg                     23 Broad Street                         PO Box 94160
Pullman, WA 99164                         Westerly, RI 02891                      Oklahoma City, OK 73143-4160




Wasson Enterprises LLC                    Waste Management Of Northern Colorado   Watco Energy Inc
PO Box 938                                PO Box 78251                            PO Box 131918
Waskom, TX 75692                          Phoenix, AZ 85062-8251                  Tyler, TX 75713




Water Resource Consultants LLC            Watergator Inc                          Watergator Inc
244 Hutton Avenue                         Elizabeth Parker                        PO Box 9
Rifle, CO 81650                           PO Box 9                                Gladewater, TX 75647
                                          Gladewater, TX 75647




Waterman Supply Company Inc               Watermark Royalty Lp                    Waterworks Industries Inc
PO Box 596                                PO Box 9289                             PO Box 2990
Wilmington, CA 90748-0596                 Wichita Falls, TX 76308                 Casper, WY 82602-2990




Watkins Living Trust                      Watkins Royalties LLC                   Watson Family Trust
c/o Jeff Watkins Trustee                  PO Box 8929                             Dorothy Wylie Watson Trustee
504 Dorcas Lane                           Midland, TX 79708                       12810 Vidorra Circle Dr
Arlington, TX 76013                                                               San Antonio, TX 78216




Watson Inc                                Watson Machinery Co Inc                 Watson Packer LLC
2821 Pecos Hwy                            PO Box 7054                             600 N Big Spring St
Carlsbad, NM 88220                        Midland, TX 79708                       Midland, TX 79701




Watson Report Service                     Watson Report Service                   Watson Robert Ray
Charla L Rolph                            PO Box 921                              2185 Maple Springs Road
PO Box 921                                Kilgore, TX 75663-0921                  Longview, TX 75602
Kilgore, TX 75663




Watson Roland Nail Jr Separate Property   Watson Welding LLC                      Watt Edward Sample
PO Box 129                                PO Box 757                              13214 Bassford
Clayton, TX 75637                         Lovell, WY 82431                        Houston, TX 77083
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Waukesha Pearce Industries Inc           Wausau Financial Systems         Wave Exploration Group LLC
PO Box 204116                            Nw 5551                          1952 Flonacher Rd
Dallas, TX 75320-4116                    PO Box 1450                      Zachary, LA 70791
                                         Minneapolis, MN 55485-5551




Wave Exploration LLC                     Wavefront Technology Solutions   Wavefront Technology Solutions Usa Inc
1952 Flonacher Rd                        100 17608 103 Avenue             5621 70 Street
Zachary, LA 70791                        Edmonton, AB T5S 1J9             Edmonton, AB T6B 3P6
                                         Canada                           Canada




Waveland Services Inc                    Way West Oil Company             Waylan Davis
Po Drawer 592                            PO Box 1647                      230 Westward Ave
Eunice, LA 70535                         Longview, TX 75606               Texas City, TX 77590




Waylan R Nattin Jr                       Wayland E Pullig                 Wayland M George
182 Gleason Rd                           2822 Jonathan Lane               6617 Lynch Lane
Plain Dealing, LA 71064                  Shreveport, LA 71108             Garland, TX 75044




Wayland P Crawley                        Wayland Pullig Ind Usuf          Waylon D Waller
250 N Bay Dr                             2822 Jonathan Lane               14049 Hwy 151
Bullard, TX 75757-8917                   Shreveport, LA 71108             Arcadia, LA 71101




Wayman A Percifull                       Wayman Buchanan                  Waymon E Blair
PO Box 356                               511 E Mandalay Dr                141 Stonegate Dr
Bronte, TX 76933                         San Antonio, TX 78212            Carthage, TX 75633-2268




Waymon Guiton                            Waymon Richard Treadway          Waymond E Freeman
3212 Creighton Lane                      PO Box 333                       8243 Farm Road 96
Bedford, TX 96021                        Trinity, TX 75862                Atlanta, TX 75551




Wayne A Bissett                          Wayne Albert                     Wayne Atzenhoffer
PO Box 2101                              2010 Grantham Greens Dr          5857 Timbergate Dr Apt 1139
Midland, TX 79702-2101                   Sun City Center, FL 33573        Corpus Christi, TX 78414-4238




Wayne Black And Martha Lee Jones Black   Wayne Burkland                   Wayne Carolyn Deakins
111 Barbara Ann Street                   3276 Keeshen Drive               3224 Woodland Rd
West Monroe, LA 71292                    Los Angeles, CA 900661002        Longview, TX 75602




Wayne Childers                           Wayne D Dirks                    Wayne D Joan C Reeves
PO Box 315                               PO Box 29                        419 Brown Rd
Elysian Fields, TX 75642                 Beeville, TX 78104               Quitman, LA 71268
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Wayne E Holland And Joyce Holland       Wayne E Staples Jr               Wayne Egan Dring
6862 Cr 235 N                           5429 Topper Dr                   2539 Corley
Henderson, TX 75652                     North Richland Hills, TX 76180   Arcadia, LA 71001




Wayne Elley                             Wayne Estes                      Wayne Everett Stringfellow
635 C R 238                             9406 Ne Cr 4060                  108 S Bernard Street
Cameron, TX 76520                       Rice, TX 75155                   Ruston, LA 71270




Wayne Gray                              Wayne Guice                      Wayne H Woods
Route 1                                 c/o Texas State Treasury Dept    3374 Deborah Drive
Tishomingo, MS 38873                    Unclaimed Property Division      Monroe, LA 71201
                                        PO Box 12019
                                        Austin, TX 78711-2019



Wayne Holland Individually              Wayne Hollomon Price             Wayne J Moseley
6862 Cr 235N                            130 Crofton Ave                  PO Box 5368
Henderson, TX 75652                     San Antonio, TX 78210            Shreveport, LA 71135




Wayne L And Mary Anne Shepard Simpson   Wayne L Simpson                  Wayne Long Simpson 35835
416 Travis Suite 1006                   416 Travis Suite 1006            8716 Glenmore
Shreveport, LA 71101                    Shreveport, LA 71101             Simsboro, LA 71106




Wayne Murphy                            Wayne Pierce                     Wayne R Colvin
461 College                             Address Redacted                 105 Woodward Drive
Grambling, LA 71245                                                      Lafayette, LA 70508




Wayne Scholz                            Wayne Settle                     Wayne T Rogers
4344 Benton Elm Drive                   PO Box 375                       1621 Cindy Lou Ave
Plano, TX 75024                         Scotts Mills, OR 97381           Henderson, TX 75654-4261




Wayne Thomas Wallace                    Wayne Thornton                   Wayne Wilkerson
517 South Palace                        1506 Drexel Ct                   600 Foster Road
Tyler, TX 75702                         Allen, TX 75103                  Lufkin, TX 75904




Wayne Woods Builders Inc                WayneS Hot Oil Service Inc       Waynne Poncho
3374 Deborah Drive                      PO Box 612                       1732 Fm 2500
Monroe, LA 71201                        Big Piney, WY 83113              Livingston, TX 77351




WaynoS Trucking Inc                     Wb Supply Company                Wc Smith Children Demand Trust
PO Box 274                              PO Box 972856                    c/o James L Smith Trustee
Labarge, WY 83123                       Dallas, TX 75397-2856            3603 Woodbridge Drive
                                                                         Kingwod, TX 77339
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Wcc Energy LLC                         Wcg Consulting LLC                        Wcp Energy Inc
PO Box 753                             4725 Neiman Rd                            100 East Corsicana Street
Wink, TX 79789                         Brookshire, TX 77423                      Suite 200
                                                                                 Athens, TX 75751




Wd Johnson Jr Tr                       Wd Johnson Jr Tr F/B/O                    Wd Well Service Inc
F/B/O Dorothy Mae Haggerty Fam         Dorothy Mae Haggerty Fam                  PO Box 635
Bank Of America Na Succ Ttee           Bank Of America Na Succ Ttee              Ballinger, TX 76821
PO Box 830308                          PO Box 840738
Dallas, TX 75283                       Dallas, TX 75284



We Chapman Jr                          Weaks Enterprises Inc                     Weamcometric
PO Box 97                              PO Box 4966                               2350 Industrial Drive
Post, TX 79356                         Monroe, LA 71211                          Sapulpa, OK 74066




Weatherford Artificial Lift Sys Inc    Weatherford Artificial Lift Systems Inc   Weatherford Artificial Lift Systems Inc
PO Box 200937                          General Counsel                           PO Box 301003
Houston, TX 77216-0937                 2000 St James Place                       Dallas, TX 75303-1003
                                       Houston, TX 77056




Weatherford Betty Martin               Weatherford Engineered Chemistry          Weatherford Enterra Us L P
707 1/2 North Mill St                  PO Box 203202                             PO Box 301003
Henderson, TX 75653                    Houston, TX 77216                         Dallas, TX 75303-1003




Weatherford International LLC          Weatherford International Inc             Weatherford Laboratories
General Counsel                        PO Box 301003                             PO Box 200019
PO Box 200019                          Dallas, TX 75303-1003                     Houston, TX 77216
Houston, TX 77216




Weatherford Laboratories Inc           Weatherford Us Lp                         Weatherford Us Lp
PO Box 301003                          PO Box 200019                             PO Box 301003
Dallas, TX 75303-1003                  Houston, TX 77216-0019                    Dallas, TX 75303-1003




Weatherford Us Lp Gemoco               Weathersbee Electric Co Inc               Weaver And Tidwell LLP
PO Box 301003                          PO Box 2236                               24 Greenway Plaza Suite 1800
Dallas, TX 75303-1003                  San Angelo, TX 76902                      Houston, TX 77046




Weaver Electric Company                Weaver Production Testing                 Weaver Royalty Partners Lp
6591 North Washington Street           222 East Main St                          1845 Woodall Rodgers Freeway
Denver, CO 80229                       PO Box 473                                Suite 1275
                                       Sonora, TX 76950                          Dallas, TX 75201




Weaver Thomas Michael Stacey Weaver    Webb Cisd Tax Office                      Webb Cisd Tax Office
5622 Country Club Road East            619 Avenue F                              Sara Garza Tac
Longview, TX 75605                     Bruni, TX 78344-0206                      PO Box 206
                                                                                 Bruni, TX 78344
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Webb County Clerk                       Webb County Tax Tac             Webb County Tax Tac
1110 Victoria St Suite 201              1000 Houston Street             Patricia A Barrera Rta
Laredo, TX 78040                        Laredo, TX 78040                1110 Victoria St Ste 107
                                                                        Laredo, TX 78040




Webb County Tax Tac                     Webbco Tools Service            Weber Readiness LLC
Patricia A Barrera Rta                  1019 Wolfe Rd                   2127 W Vine St
PO Box 420128                           Abilene, TX 79602               Lodi, CA 95242
Laredo, TX 78042-8128




Webster Associates Inc                  Webster Parish Clerk Of Court   Webster Parish Landfill LLC
PO Box 966                              PO Box 370                      PO Box 841893
Englewood, CO 80151                     Minden, LA 71055                Dallas, TX 75284-1893




Websterbank                             Wedge Energy Services LLC       Wedge Production Services Inc
137 Bank St                             8521 Fm 850                     1415 Louisiana St Suite 1500
Waterbury, CT 06702                     Tyler, TX 75705-2137            Houston, TX 77002




Weed Oil Gas                            Weedco LLC                      Weems Minerals Management LLC
105 S 4 St                              5903 Mission Ridge Dr           Attn William A Weems Jr Mgr
Artesia, NM 88210                       Arlington, TX 76016             PO Box 149
                                                                        Hondo, TX 78861




Weg Electric Corp                       Weidner Associates              Weil Family Agency
Mail Code 5606                          135 W 7065 South                500 North Shoreline Blvd
PO Box 105046                           Midvale, UT 84047               Ste 1118
Atlanta, GA 30348-5046                                                  Corpus Christi, TX 78471




Weil Gotshal Manges LLP                 Weiler Welding Services         Weinzierl John A
Treasurer                               PO Box 212                      1301 McKinney Street
PO Box 9640                             Artesia, NM 88211-0212          Houston, TX 77010
Uniondale, NY 11555-9640




Weir Johnny R Amy Weir                  Weir Seaboard                   Weizhong Dai Chuhan Li Dai
391 Joy Ln                              PO Box 301861                   1511 Bonaparte
Hallsville, TX 75650-6379               Dallas, TX 75303-1861           Ruston, LA 71270




Welborn Sullivan Meck Tooley            Welcome Skannal Fawcett         Weld County Government
1125 17Th St                            1029 Spaight St Apt 5A          PO Box 758
Suite 2200                              Madison, WI 53703-3561          Greeley, CO 80632
Denver, CO 80202




Weldon D Stephenson                     Weldon Dean Calloway            Weldon E ODell
6066 Newcastle Ct                       753 Shandelee Road              14455 South Horse Creek Rd
San Diego, CA 92114                     Livingston Mano, NY 12758       Milburn, OK 73450
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Weldon Gene Rudd                      Weldon Gilbert                        Weldon K Era B Chandler
404 Trailwood                         109 Evergreen Rd                      1401 Madera St
Lufkin, TX 75904                      Gilmer, TX 75645                      Ruston, LA 71270




Weldon Lee Dorsey                     Weldon M Yates Iii Trustee            Weldon W Gray
Np 30 Lake Cherokee                   W M Yates Marital Trust               157 Cr 128
Longview, TX 756039701                PO Box 1838                           Gary, TX 75643
                                      Johnson City, TX 78636




Weldon W Wright                       Well 2 Web Inc                        Well Analysis Corp
4088 Fm 709 S                         PO Box 329                            PO Box 20008
Corsicana, TX 75110-9259              Andrews, TX 79714                     Bakersfield, CA 93390-0008




Well Fargo Securities                 Well Foam Inc                         Well Foam Inc
420 Montgomery Street                 c/o Security Bank                     Robert Maxwell
San Francisco, CA 94104               600 N Marienfeld Ste 200              PO Box 141910
                                      Midland, TX 79701                     Odessa, TX 79758




Well Lifecycle Resources LLC          Well Lifecycle Resources LLC          Well Master Corporation
Bill Pesek                            4582 Kingwood Dr E155                 400 Corporate Circle
4582 Kingwood Dr/ E155                Kingwood, TX 77345                    Suite K M
Kingwood, TX 77345                                                          Golden, CO 80401




Well Pro Services Lp                  Well Servicing Inc                    Well Water Solutions And Rentals
PO Box 486                            PO Box 11010                          PO Box 2105
White Oak, TX 75693                   Midland, TX 79702-8010                Casper, WY 82602




Welland Company Inc                   Weller Energy Inc                     Wellez Information Mgmt LLC
PO Box 1486                           PO Box 1388                           1250 Wood Branch Park Drive
Coupeville, WA 98239                  East Orleans, MA 02643                Houston, TX 77079




Wellflex Energy Solutions LLC         Wellhead Control Products Inc         Wellhead Lubrication Svc Co
7609 White Settlement Road            501 N Richey Street                   Eric J Hinkle Dba
Forth Worth, TX 76108                 Pasadena, TX 77506                    PO Box 18261
                                                                            Shreveport, LA 71138-1261




Wellington Denny Palmer               Wellington Management Company LLP     Wellkeeper Inc
1207 Brookwood                        280 Congress Street                   PO Box 670367
El Dorado, AR 71730                   Boston, MA 02210                      Dallas, TX 75267




WellPoint Systems Inc                 Wells Fargo                           Wells Fargo
12596 W Bayaud Ave                    Attn Robyn Radman                     Attn Robyn Radman
Suite 400                             Wells Fargo mac N9310                 625 Marquette Avenue
Lakewood, CO 80228                    141 Proxy Dept 550 South 4Th Street   Minneapolis, MN 55402-2308
                                      Minneapolis, MN 55415
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Wells Fargo Adv Fincl Network           Wells Fargo Advisors LLC       Wells Fargo Bank
420 Montgomery Street                   80 S 8th St 3400               c/o Victoria Kim Bank By Mail
San Francisco, CA 94104                 Minneapolis, MN 55402          Reynolds Fmly Invest Prop Llc
                                                                       1242 Pearl Street
                                                                       Boulder, CO 80302



Wells Fargo Bank N A                    Wells Fargo Bank N A           Wells Fargo Bank N A
U S Trade Services                      1445 Ross Ave 4500             Attn Cathy Burke
794 Davis Street 2nd Floor              Mac T5303 452                  1525 W Wt Harris Boulevard
Mac A0283 023                           Dallas, TX 75202               Charlotte, NC 28262
San Leandro, CA 94577-6922



Wells Fargo Bank N A                    Wells Fargo Bank N A           Wells Fargo Bank N A Pi
Attn Hedge Settlements                  Fbo Sandford Oil Co Inc        420 Montgomery Street
550 South Tyron St 7th Floor            PO Box 202056                  San Francisco, CA 94104
Charlotte, NC 28202                     Dallas, TX 75320-2056




Wells Fargo Bank Na                     Wells Fargo Banks              Wells Fargo Business Cards
1000 Louisiana St                       PO Box 6415                    PO Box 54349
9Th Floor                               Carol Stream, IL 60197-6415    Los Angeles, CA 90054-0349
Houston, TX 77002




Wells Fargo Capital Markets             Wells Fargo Company            Wells Fargo Energy Capital Inc
Fixed Income                            733 S Marquette Ave 13         1000 Louisiana St
6th Ave                                 Minneapolis, MN 55402          Ninth Floor
Minneapolis, MN 55402                                                  Houston, TX 77002




Wells Fargo Financial Leasing           Wells Fargo Secu               Wells Fargo Shareowner Svcs
PO Box 10306                            Attn Mr Paul Lacey             Wf 8113
Des Moines, IA 50306-0306               550 South Tryon St 6th Floor   PO Box 1450
                                        D1086 060                      Minneapolis, MN 55485-8113
                                        Charlotte, NC 28202



Wells Fargo Vendor Financial Services   Wells Lease Service Co         Wells Resources Inc
PO Box 650016                           PO Box 1245                    PO Box 547
Dallas, TX 75265-0016                   Andrews, TX 79714              Clifton, TX 76634




Wells Whisper LLC                       Wellspring Royalties Ltd       Wellspring Royalties Ltd
PO Box 1728                             3811 Turtle Creek Boulevard    PO Box 678384
Dumas, TX 79029                         Suite 1800                     Dallas, TX 75267-8384
                                        Dallas, TX 75219




Wellstar International LLC              Welltec Inc                    Welsch Kathy Ann Kyle
1600 E 19Th Street Suite 501            22440 Merchants Way            2631 Center Hwy
Edmond, OK 73013                        Katy, TX 77449                 Nacogdoches, TX 75961




Welsh Royalty LLC                       Wemo Inc                       Wencor LLC A Louisiana
PO Box 5003                             PO Box 5326                    c/o Argent Property Services
Shreveport, LA 71135                    Shreveport, LA 71135           PO Box 1410
                                                                       Ruston, LA 71273
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Wendel C Dahleen                        Wendell Cody Hooker              Wendell Cody Hooker Trustee
11427 S Nashville                       608 Country Club                 F/B/O Caroline Audrey Snyder
Worth, IL 60482                         Marshall, TX 75670               608 Country Club Drive
                                                                         Marshall, TX 75672




Wendell Dean Garrison                   Wendell Edward Hays Jr           Wendell Jackson
3958 Hwy 544                            8936 South Christine             8822 Braewick Drive
Simsboro, LA 71275                      Brighton, MI 48144               Houston, TX 770747610




Wendell M Bowen Deceased                Wendell Thomas                   Wendell Williams
214 Bluebird Ln                         100 B James Drive                19285 Old Houston Rd
Pasadena, TX 77502                      Sinton, TX 78387                 Conroe, TX 77302




Wendi Cole                              Wendy Elizabeth Wood             Wendy Gail Lennard Kirkpatrick
Address Redacted                        c/o Rebbecca Lake Wood           817 Coyle Street
                                        415 East 12Th Street Ste 400     Springhill, LA 71075
                                        Kansas City, MO 64106




Wendy Gatof Malina                      Wendy Gonzales                   Wendy Jane Killion
30 Suzanne Lane                         449 Collins Road                 4385 Anderson Co Rd 103
Pleasantville, NY 10570                 Hallsville, TX 75650             Elkhart, TX 75839




Wendy K Sampson                         Wendy Krispin                    Wendy Lee Flickinger
14025 Valley Vista Dr                   528 South Hall St                13216 Cheatham Ct
Huntsville, AL 35803                    Dallas, TX 75226                 Fort Worth, TX 76244




Wendy Lee Meisenbach                    Wendy Lee Rist                   Wendy Micou
13216 Cheatham Ct                       11036 Rodden Rd                  1215 Aylesbury Dr
Fort Worth, TX 76244                    Oakdale, CA 95361                Allen, TX 75002




Wendy Neidigk                           Wendy Rene Cox Watson            Wendy Renee Cox Watson
6310 Fox Hunt Drive                     15 Traub                         15 Traub Drive
Arlington, TX 76001                     Churchville, PA 18966            Churchville, PA 18966




Wendy Renee Walker Lee                  Wendy Rosenblum                  Wendy Singleton Reeves
PO Box 1093                             320 Strawberry Hill Ave Apt 27   11315 Hampton Ct
Whitehouse, TX 75791                    Stamford, CT 06902               Denham Springs, LA 70726




Wendy Stieren Wirth Trust               Wendy Welch                      Wendy Wolf Kaufman
Barry Coates Roberts And                9430 Springwater                 399 High St
George L Stieren Co Trustees            Dallas, TX 75228                 Denver, CO 80218
7373 Broadway Ste 406
San Antonio, TX 78209
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Wenert Orr Trich Jr                   Wenona Leggett                  Wenona Leggett Life Estate
PO Box 587                            310 Water Oak Cir               c/o Charles Ray Leggett
Longview, TX 75606-0587               Hemphill, TX 75948-5910         301 Rhode Island Street
                                                                      Orange, TX 77630




Wenona M Thornton Estate              Wentz Production LLC            Wenzel Downhole Tools Us Inc
Betty L Davis Executrix               PO Box 834                      4205 Fm 1485
278 Knox Marsh Rd                     Davis, OK 73030                 Conroe, TX 77306
Madbury, NH 03823




Wes Tex Office Park Lp                Wes Tex Office Park Lp          Wesco Distribution Inc
400 E Loop 250 N Ste 101              Stacey / J C Ward               PO Box 31001 0465
Midland, TX 79706                     4310 Boulder Dr                 Pasadena, CA 91110-0465
                                      Midland, TX 79707




Wesla Federal Credit Union            Wesley Arleigh Lewis            Wesley C Journeay
2600 Melrose Ave                      1521 Bailey Street              2745 Dewitt Drive
Bossier City, LA 71111                West Monroe, LA 71292           Orange, TX 77632




Wesley C Pate                         Wesley C Stripling Iv           Wesley Chalfant
21634 Britton Hill Way                6100 Camp Bowie Blvd Ste 27     PO Box 3123
Katy, TX 77449-4523                   Ft Worth, TX 76116              Midland, TX 79702




Wesley Eugene Compere Jr              Wesley F Georgia F Reagan       Wesley F Reagan
4519 Mayapan Dr                       Revocable Living Trust          2346 Coral Stone
Le Mesa, CA 92041                     363 Meadowlakes Drive           Fredericksburg, TX 78624-7850
                                      Meadowlakes, TX 78654




Wesley G Ritchie                      Wesley Graham Seagraves         Wesley K Roberts
1601 Surrey Hill Drive                6100 Saint John Ln              418 Forest Hills Dr
Austin, TX 78746                      Charlotte, NC 28210             League City, TX 77573




Wesley L Smith Jr                     Wesley L Smith Sr Revoc Trust   Wesley Michael Harvey
PO Box 339                            Wesley L Smith Jr Trustee       336 Bear Knoll Dr
Marshall, TX 75671                    PO Box H                        Quitman, LA 71268
                                      Marshall, TX 75671




Wesley Roland Sadler                  Wesley T Holland                Wesley T White
4904 Woodland Drive                   4427 Cr 427D                    326 Laguna
Orange, TX 77632                      Henderson, TX 75652             Taft, TX 78390




Wessley Energy Company                West Avinger 1                  West Bio Solutions LLC
216 16Th Street Suite 1100            15441 Knoll Trail Road          PO Box 130
Denver, CO 80202                      Suite 290 Lb 2                  Maybell, CO 81640
                                      Dallas, TX 75248
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West Brown Deceased                        West Coast Environmental            West Coast Switchgear Inc
2435 Lanark St                             2683 Lime Avenue                    13837 Bettencourt St
Dallas, TX 75203                           Siganal Hill, CA 90755              Cerritos, CA 90703




West Engineering Services                  West Feed Mills Inc                 West Marion Gas Ii
1330 Enclave Pkwy Ste 200                  PO Box 1217                         15441 Knoll Tr
Houston, TX 77077-2578                     West Monroe, LA 71294               Ste 290 Lb 2
                                                                               Dallas, TX 75248




West Mountain Cemetery Assn                West Mountain Church Of Christ      West Texas Boys Ranch Fndn
c/o Roberta Mccrary                        C/O Pegi Huffman                    PO Box 4077
PO Box 206                                 115 Woodland Trails                 San Angelo, TX 76902
Gilmer, TX 75644                           Gladewater, TX 75647




West Texas Community Credit Union          West Texas Consultants Inc          West Texas Gas Inc
200 E Austin                               405 Sw 1st Street                   PO Box 51140
Kermit, TX 79745                           Andrews, TX 79714                   Midland, TX 79710-1140




West Texas Geological Society              West Texas Industrial Engines Inc   West Texas National Bank
2900b W Front St                           PO Box 3771                         Attn Sidney K Smith Sr V P
Midland, TX 79701                          San Angelo, TX 76902                6 Desta Drive Suite 2400
                                                                               Midland, TX 79705




West Texas Office Equipment Inc            West Texas Pump Equipment Inc       West Texas Rehab Center
1403 North Big Spring Street               PO Box 12515                        4601 Hartford
Midland, TX 79701                          Odessa, TX 79768                    Abilene, TX 79605




West Texas State Bank                      West Texas Steel Supply Inc         West Texas Testers
809 W Dickinson Blvd                       6617 South Us Highway 277           1002 County Road 210
Fort Stockton, TX 79735                    San Angelo, TX 76904                Post, TX 79356-5119




West Texas Transports LLC                  West Texas Veretto Family Ltd       West Texas Welding Roustabout
PO Box 1537                                2345 East State Hwy 114             PO Box 653
Denver City, TX 79323                      Levelland, TX 79336                 Sundown, TX 79372




West Unified Communications Services Inc   West Virginia                       West Virginia State Tax Department
15272 Collections Center Drive             Dept Of Tax And Revenue             Internal Auditing Division
Chicago, IL 60693                          PO Box 1826                         PO Box 11514
                                           Charleston, WV 25327-1826           Charleston, WV 25339-1514




West Virginia State Tax Department         West Virginia State Tax Dept        West Virginia State Tax Dept
Legal Division                             PO Box 11751                        The Revenue Center
Bankruptcy Unit                            Charleston, WV 25339-1751           1001 Lee St E
PO Box 766                                                                     Charleston, WV 25301
Charleston, WV 25323-0766
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West Virginia State TreasurerS Office   West Virginia State Treasurers Office   Westair Gases Equipment Inc
1900 Kanawha Boulevard                  Unclaimed Property Division             PO Box 101420
Capitol Complex Building 1 Room E 145   PO Box 3328                             Pasadena, CA 91189-1420
Charleston, WV 25305                    Charleston, WV 25333




Westar Energy LLC                       Westbourne LLC                          Westbrook Thompson Orri 1570
PO Box 1152                             c/o Prosperity Bank Trust Dept          Natb Tx Na Disbursing Agent
Madison, MS 39130                       F/B/O Maurine Garrette Hill             PO Box 840738
                                        1401 Ave Q                              Dallas, TX 75284-0738
                                        Lubbock, TX 79401



Westchester Assets Co LLC               Westco Family Ltd Partnership           Westco International Consultin
300 West Austin St                      PO Box 1888                             PO Box 66
Marshall, TX 75670                      Gilmer, TX 75644                        Oak View, CA 93022




Western Airways Inc                     Western Archaeological Svcs             Western Asset Management Co Wamco
200 Jim Davidson Drive                  1600 Dewar Drive                        385 East Colorado Boulevard
Sugar Land, TX 77478-9700               Rock Springs, WY 82901                  Pasadena, CA 91101




Western Auger Anchor Inc                Western Bank                            Western Bentonite
PO Box 452                              4400 W 78th St Suite 100                11700 Katy Freeway Suite 300
Fruita, CO 81521                        Bloomington, MN 55435                   Houston, TX 77079




Western Chemical Specialties Inc        Western Colorado Communications LLC     Western Company Of Texas
PO Box 1575                             21385 Knight Road                       509 Hwy 156 N Suite C
Evanston, WY 82931                      Austin, CO 81410                        PO Box 399
                                                                                Justin, TX 76247




Western Discovery Usa Inc               Western Energy Alliance                 Western Environmental Services And
Attn William Divine President           1775 N Sherman St Ste 2700              Testing Inc
6164 Glen Holly St                      Denver, CO 80203-4351                   913 Foster Road
Los Angeles, CA 90068-2315                                                      Casper, WY 82601




Western Filter Co Inc                   Western Gas Resources Inc               Western Gas Resources LLC
10702 E 11Th St                         1099 18 St Ste 1200                     PO Box 730951
Tulsa, OK 74128                         Denver, CO 80202-1955                   Dallas, TX 75373-0951




Western Hose Gasket                     Western Hydrostatics Inc                Western Marion Gas Ii
325 West 30Th Street                    1956 Keats Dr                           15441 Knoll Trail Suite 290 Lb 2
National City, CA 91950                 Riverside, CA 92501-1747                Dallas, TX 75248




Western National Bank                   Western Petroleum LLC                   Western Plant And Pipeline
12800 San Pedro Avenue Branch           201 N Rupert St                         9530 Hageman Rd Suite B 158
San Antonio, TX 78216                   Fort Worth, TX 76107-1432               Bakersfield, CA 93312
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Western Production Company            Western Refining Southwest Inc     Western Relief LLC
PO Box 2076                           PO Box 749636                      PO Box 158
Rapid City, SD 57709                  Los Angeles, CA 90074-9636         Rock Springs, WY 82902




Western Repair Service                Western Repair Service Inc         Western Reserves Oil Company
4801 W Co Rd                          Empire Tubing Tong Inc Dba         PO Box 993
Odess, TX 79769-0078                  Linda Wallett / Glen Clark Jr      Midland, TX 79701
                                      PO Box 69078
                                      Odessa, TX 79769



Western Royalties LLC                 Western Runners Hotshot            Western Star Communications LLC
PO Box 60364                          402 King Ranch Road                PO Box 418
Colorado Springs, CO 80960            Kilgore, TX 75662                  Sandy, OR 97055-0418




Western State College Of Colorado     Western States Distillation        Western States Oilfield Prod
c/o Wsc Foundation                    Environmental Services             11852 Western Ave
PO Box 1264                           PO Box 5                           Stanton, CA 90680
Gunnison, CO 81230                    Labarge, WY 83123




Western Weather Group Inc             Western Well Production Srvcs      Western Wellhead Services LLC
658 Manzanita Ave 2                   PO Box 4417                        PO Box 551
Chico, CA 95926                       Wichita Falls, TX 76308            Spring, TX 77383-0551




Western Wellsite Services LLC         Western Wireline                   Western Wireline Inc
412 W Platte Ave                      1689 North Olive Street            PO Box 760
Fort Morgan, CO 80701-2650            Ventura, CA 93001                  Ventura, CA 93002




Western Wyoming Range Ltd             Westex System Sacroc               Westhoma Oil Company
PO Box 336                            PO Box 1270                        518 17Th St 1670
Lyman, WY 82937                       Midland, TX 79702                  Denver, CO 80202




Westimar LLC                          Westmoreland Wanda Faye J          Westoak Oil Inc
c/o Matha Ann Wesson Wyche            1309 Pinehurst Drive               202 Remington Trl
2519 Deas St                          Columbia, MS 39249                 Longview, TX 75604-0617
Bossier City, LA 71111




Weston I Bazer                        Weston Lee Woodward                Westport Oil Gas Co Lp
203 Rice Rd                           1850 S Holly Street                Dept 1822
Minden, LA 71055-6920                 Denver, CO 80222                   1670 Broadway 2800
                                                                         Denver, CO 80202




Westport Oil Gas Company              Westport Resources Management In   Westroad Tr LLC
11510 39th St SW                      55 Greens Farms Rd                 Bank Of America Na Invtmt Mngr
Dickinson, ND 58601                   Westport, CT 06880                 PO Box 832407
                                                                         Dallas, TX 75283
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Westroad Tr LLC                       Westside Energy LLC              Westtech Enterprises Inc
Bank Of America Na Invtmt Mngr        306 W 7Th St Ste 888             PO Box 1058
PO Box 840738                         Fort Worth, TX 76102             Levelland, TX 79336
Dallas, TX 75284




Westway Petro A Tx Jt Venture         Westwood Ests Apartments         Wex Bank
6440 N Central Expressway             9137 Mansfield Rd 133            PO Box 6293
Suite 615 Lb 76                       Shreveport, LA 71118             Carol Stream, IL 60197
Dallas, TX 75206




Wexpro Company                        Weyerhaeuser Company             Weyerhaeuser Company
PO Box 45003                          33663 Weyerhaeuser Way South     PO Box 147
Salt Lake City, UT 84145-0003         Federal Way, WA 98003            Highway 80
                                                                       Taylor, LA 71080




Weyerhaeuser Company                  Weyerhaeuser Nr Company          Weyman Family Ltd Partnership
PO Box 147                            220 Occidental Ave S             1670 Ceylon St
1637 Hwy 80                           Seattle, WA 98104-3120           Aurora, CO 80011
Taylor, LA 71080




Wfg Advisors Lp                       Wfsm Properties LLC              Wga Mineral Interests Lp
City Place Tower                      PO Box 578                       333 Texas St Ste 2020
2711 N Haskell Avenue Suite 2900      Springhill, LA 71075             Shreveport, LA 71101
Dallas, TX 75204




Wgr Operating Lp                      Wgr Operating Lp                 Wh Arrington Jr
PO Box 730002                         PO Box 730951                    c/o Joseph Arrington
Dallas, TX 75373-0002                 Dallas, TX 75373-0951            16241 E Prentice Lane
                                                                       Centennial, CO 80015-4171




Whalen Family Trust                   Whalen Lee Ray                   Whallin Edwin Edward Chappell
John M Whalen Ttee                    PO Box 14                        80595 Ave 43
U/A Dtd 9/2/99                        Mineola, TX 75773                Indio, CA 92201
4911 N Merrimac Ave
Chicago, IL 60630-2915



Wheat Energy Services Inc             Wheat Linda                      Wheco Corporation
PO Box 367                            3615 Nwoodbine                   2989 Kingsgate Way
Winters, TX 79567                     Tyler, TX 75701                  Richland, WA 99354-5311




Wheeler County Tax Office             Wheeler Oil Co Ltd               Wheeler Z Barrett
Lewis Scott Porter Rta                PO Box 708                       2535 Millermoore
PO Box 1060                           Fort Worth, TX 76101             Dallas, TX 75216
Wheeler, TX 79096




Wheelock Energy Lp                    Wheless Employees Royalty Pool   Wheless Industries Inc
PO Box 1239                           401 Edwards St                   333 Texas Street Suite 2020
Corsicana, TX 75110                   Suite 1900                       Shreveport, LA 71101
                                      Shreveport, LA 71101
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When They Come Back LLC               Whiddon Susan Karen              Whit Coffield
Boot Campaign                         PO Box 219                       PO Box 7
3603 Old Jacksonville Hwy             Joaquin, TX 75954                Aledo, TX 76008
Tyler, TX 75701




Whitaker Petroleum                    Whitaker Plumbing Inc            Whitaker Properties Lp
333 Texas St Suite 521                PO Box 1415                      301 N St Mary Street
Shreveport, LA 71101-3126             Carthage, TX 75633               Carthage, TX 75633




Whitco Supply                         Whitco Supply LLC                White Drew
200 N Morgan Ave                      Dion Briley                      Address Redacted
Broussard, LA 70518                   1505 Grimmett Drive
                                      Shreveport, LA 71107




White Birch Lp                        White Investment Partnership     White Living Trust
6105 Alpha Rd                         Attn Anne F White                7700 Fox Rd Unit C8
Dallas, TX 75240-3532                 3826 Chevy Chase                 Hughson, CA 95326
                                      Houston, TX 77019-3014




White Oak Energy Iv Lp                White Oak Energy Rylty Ptnr Lp   White Oak Operating Co LLC
16945 Northchase Dr Ste 717           16945 Northchase Dr Suite 1700   16945 Northchase Dr Ste 1700
Houston, TX 77060-2169                Houston, TX 77060                Houston, TX 77060




White Oak Radiator Service Inc        White Oaks Landfill              White Pine Fund 1981
PO Box 606                            588 Meadowlark Drive             c/o Sargent Energy Corporation
White Oak, TX 75693                   Monroe, LA 71203                 1300 Tcf
                                                                       Minneapolis, MN 55402




White River Royalties LLC             White Rock Oil Gas Gp I LLC      White Rock Oil Gas I B Lp
4194 S Valentia St                    White Rock Oil Gas Llc Agent     White Rock Oil Gas Llc Agent
Denver, CO 80237                      PO Box 612184                    PO Box 612184
                                      Dallas, TX 75261                 Dallas, TX 75261




White Rock Oil Gas LLC                White Rock Royalty Partners 1    White Services LLC
PO Box 612184                         427 S Boston Ave Ste 711         PO Box 268
Dallas, TX 45261                      Tulsa, OK 74103                  Smiley, TX 78159-0268




White Solomon Graves III Dds          White Star Energy Inc            White Star Energy Inc T J Snider
And Linda Hindman Graves              PO Box 51108                     Box 51108
2610 Birchwood Drive                  Midland, TX 79710                Midland, TX 79710
Monroe, LA 71201




White Star Royalty Company            White Trash Trailers LLC         White Tx Land Cattle Co LLC
PO Box 51108                          PO Box 705                       Bradley W White Manager
Midland, TX 79710                     Artesia, NM 88211-0705           5202 Cr 1440
                                                                       Lubbock, TX 79407
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Whitehurst Linda A                    Whitehurst Michael                     Whitehurst Roy Evelyn Whitehurst
2462 Lansing Switch Rd                2376 Lansing Switch Road               2486 Lansing Switch Road
Longview, TX 75602                    Longview, TX 75602                     Longview, TX 75602




Whitestone Investments Inc            Whitetail Energy Inc                   Whitetail Xpress LLC
PO Box 1048                           3910 W 6Th Ave 203                     6621 North Lakeshore Drive
Whitehouse, TX 75791                  Stillwater, OK 74074                   Shreveport, LA 71107




Whitfield Minerals Lp                 Whiting Canadian Holding Company ULC   Whiting Madison Prd Prtn
c/o Bank Of America Na Invstmt Mngr   1625 Broadway Suite 250                PO Box 973539
PO Box 840738                         Denver, CO 80202                       Dallas, TX 75397-3539
Dallas, TX 75284




Whiting Oil Gas Corp                  Whiting Oil Gas Corporation            Whiting Petroleum Corp
PO Box 973539                         1700 Broadway Ste 2300                 Attn Jib Dept
Dallas, TX 75397-3539                 Denver, CO 80290-2300                  1200 17Th St Ste 600
                                                                             Denver, CO 80202




Whitley Penn                          Whitlock Enterprises LLC               Whitman Interests LLC
1400 West 7Th Street                  4416 Red Oak Trail                     1415 S Voss Road
Ste 400                               Longview, TX 75604                     Suite 110 540
Fort Worth, TX 76102                                                         Houston, TX 77057




Whitmire Companies LLC                Whitney A Wheeler                      Whitney Bank
Dba Bandera Minerals Llc              4809 Valley Springs Trail              PO Box 61260
7134 S Yale Ave Ste 510               Fort Worth, TX 76244                   New Orleans, LA 70161
Tulsa, OK 74136




Whitsell Energy Services LLC          Whitsett Energy LLC                    Whitson Family Property LLC
13919 N May Ave                       203 Haskin Dr                          603 Opal Lane
Ste B Pmb 113                         San Antonio, TX 78209                  Richardson, TX 75080
Oklahoma City, OK 73134




Whitson Wells Pmg                     Whittaker Family Interests LLC         Whitten James Real Estate LLC
3116 Commerce Street                  8070 La Jolla Shores Dr 508            Po Drawer 3107
Dallas, TX 75226                      La Jolla, CA 92037                     Monroe, LA 71210




Whittier Filtration Inc               Wholesale Supply Inc                   Wht Carthage LLC
23667 Network Place                   PO Box 535                             500 Dallas Street Suite 1800
Chicago, IL 60673-1236                Longview, TX 75606                     Houston, TX 77002




Wht Energy Partners                   Wht Energy Partners LLC                Wht Energy Partners LLC
1301 Mckinney Street                  500 Dallas Street Suite 1800           950 Echo Lane Suite 200
Suite 21                              Houston, TX 77002                      Houston, TX 77024
Houston, TX 77010
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Wht Interests LLC                      Wi Wisconsin Dept Of Revenue           Wi Ccs Lp
1822 Smyrna Rd                         2135 Rimrock Road                      Attn Cynthia Courtney Siegel
Keatchie, LA 71046                     Madison, WI 53713                      PO Box 100903
                                                                              Fort Worth, TX 76185




Wichita Falls Teachers Fcu             Wiggins Brothers Inc                   Wiggins Iii Peter N
3001 Carter Ave                        5949 Sherry Lane Suite 1720            3838 Oak Lawn Avenue Suite 700
Wichita Falls, TX 76308                Dallas, TX 75225                       Dallas, TX 75219




Wiggins Specialty Company Inc          Wilbanks Acquisitions Ii LLC           Wilbanks Energy Logistics
5966 Hwy 157                           450 E 17Th Avenue Suite 220            PO Box 670413
Haughton, LA 71037                     Denver, CO 80203                       Dallas, TX 75267-0413




Wilbert And Ollie Jackson Woodward     Wilbert C Garner                       Wilbert C Garner Sr And
224 Woodward Road                      3113 Knudson Street                    Mamie L Garner Living Trust
Columbia, LA 71418                     Farmington, NM 87401                   3113 Knudsen
                                                                              Farmington, NM 87401




Wilbert Critton                        Wilbert Davis Ebella C Davis           Wilbert Hamilton And
PO Box 548                             166 Sampson Road                       Olean Griffin Hamilton
Gibsland, LA 71080                     Arcadia, LA 71001                      2705 Lake Park Drive
                                                                              Lynwood, IL 60411




Wilbert L Ullrich Trustee              Wilbert Lewis                          Wilbert R Corley
5085 Fieldwood Dr                      11114 Burning Bush Lane                c/o Robert V Corley Poa
Houston, TX 77056-2409                 Houston, TX 77016                      1706 Baxter St
                                                                              Longview, TX 75602




Wilbert Woodward Jr                    Wilbraham And Monson Academy           Wilbur Cameron
222 Woodward Road                      Wilbraham MA                           6149 County Road 103N
Columbia, LA 71418                     423 Main St                            Henderson, TX 75652
                                       Wilbraham, MA 01095




Wilbur G Ball                          Wilbur H Mcgarr Trust                  Wilbur J Fesmire Marital Trust
4025 Azure Way                         R Mcgarr Suc Tr Co Jones H Sanders     624 Timber Lane
Pensacola, FL 32507                    PO Box 391                             Nashville, TN 37215
                                       San Angelo, TX 76902




Wilbur Ray Roden                       Wilburn Pierce Conklin Jr              Wilco Properties Inc
390 Calvin Liner Rd                    869 D Vanasse Rd                       4809 Cole Avenue Ste 107
Minden, LA 71055                       Kettle Falls, WA 99141                 Dallas, TX 75205




Wild Well                              Wild Well Control Inc Warrior Energy   Wild Well Control Inc
PO Box 62600                           2202 Oil Center Court                  PO Box 919264
Dept 1261                              Houston, TX 77073                      Dallas, TX 75391-9264
New Orleans, LA 70162-2600
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Wildcat Investments Corp               Wildcat Measurement Srvc Inc             Wildcat Oil Tools LLC
PO Box 10131                           PO Box 1836                              Adilene Marquez
Bozeman, MT 59719                      Artesia, NM 88211-1836                   PO Box 50592
                                                                                Midland, TX 79710




Wildcat Pipe                           Wildcat Wireline                         Wildhorse Resources Ii
John Balensiefen                       Dept 2435                                PO Box 79588
471 Summit Dr                          PO Box 122435                            Houston, TX 77279
Bossier City, LA 71111                 Dallas, TX 753122435




Wildhorse Resources LLC                Wildhorse Resources Management Company   Wildhorse Services Inc Basic Energy
PO Box 79588                           PO Box 79588                             Mark Rankin
Houston, TX 77279                      Houston, TX 77279                        801 Cherry St Suite 2100
                                                                                Ft Worth, TX 76102




Wildren L Lewis                        Wileva Lamb Mullins Estate               Wiley Edwin Embry
545 Melbourne Road                     143 Pine Crest Dr                        1410 South Montreal Avenue
Hurst, TX 760535317                    Monroe, GA 30655                         Dallas, TX 75208




Wiley Lee                              Wiley Lynn Simmons                       Wiley Oil Gas Ltd Prtnshp
PO Box 9                               108 Pedernales Dr                        PO Box 600130
Judson, TX 75660                       Kyle, TX 78640                           Dallas, TX 75360




Wilfred A Nabors                       Wilfred Albert Nabors Jr                 Wiliam T Betty C Gregory
514 N Washington                       220 Briar Bend                           1505 Shadybrook Lane
Mansfield, LA 71052                    Mansfield, LA 71052                      Rowlett, TX 75088




Wilkerson Family Trust                 Wilkerson Oilfield Service Inc           Wilkin Natural Resources LLC
c/o Melba J Wilkerson Trustee          PO Box 216                               3939 Bee Cave Rd C 100
11 Woodhaven Cir                       Andrews, TX 79714                        Austin, TX 78746
Henderson, TX 75654




Wilkinson Gary Iron Metal Inc          Will A Knight                            Will A Knight Pc
2300 Scott Street                      PO Box 508                               PO Box 508
Laredo, TX 78040-6832                  Tyler, TX 75710                          Tyler, TX 75710




Will Drill Production Co Inc           Will Drill Production Co Inc             Will Drill Resources Inc
416 Travis Street                      416 Travis Street Suite 1200             416 Travis Street
Suite 1200                             Shreveport, LA 71101                     Suite 1200
Shreveport, LA 71101                                                            Shreveport, LA 71101




Will Evan Ellis Estate                 Will Grider                              Will N Blanchard
Chester K Ellis Administrator          c/o Texas State Treasurer                580 Ockley
Holiday Club Estate                    Unclaimed Property Division              Shreveport, LA 71106
Mabank, TX 75147-0001                  PO Box 12019
                                       Austin, TX 78711-2019
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Will Rogers Beal                        Will Rose                       Will Youree Lancaster Ii
6317 Ashmore Lane                       7716 Verona Ln                  200 Whaley Avenue
Tyler, TX 757035817                     Powell, TN 37849-5339           Marshall, TX 75670




Willa Been                              Willa Deane Valder              Willa Mae Warren
1507 28Th                               Deborah Valder Poa              4059 1/2 W 21st St
Hondo, TX 788613207                     5404 Summer Meadows Dr          Los Angeles, CA 90018
                                        Fort Worth, TX 76123




Willa Nichols                           Willard Brown Jr                Willard Donald Wallace
7917 E 119Th Terrace                    PO Box 3346                     Jan Wallace Briscoe Power Of Attorney
Grandview, MO 64030                     Antioch, CA 94531               2819 Long Lake Drive
                                                                        Shreveport, LA 71106




Willard E Walker Jr Estate              Willard Edwin Ashby             Willard Floyd Walpole Jr
c/o H Edward Dobroski                   c/o Ed Ashby                    3502 W Harry St
4925 Greenville Ave Ste 500             PO Box 545                      Wichita, KS 67213
Dallas, TX 75206                        Rocksprings, TX 78880




Willard Hunter                          Willard L Collins Jr            Willard Lane Neilson
1425 Ridenour Blvd Nw Apt 5112          108 Jasper Drive                1332 West Colonial Dr
Kennesaw, GA 30152-4572                 Marshall, TX 75672              Orlando, FL 32804




Willard Lee                             Willard Lee Munford Jr          Willard Max Britt
10442 North Mormon Road                 13920 San Segundo Dr            Rr 3
Elfrida, AZ 85610                       Rancho Cucamonga, CA 91739      Dubach, LA 71235




Willard P Goree                         Willard Younger                 WillbornS Welding
1304 Woodlake Dr                        3965 Virginia Ave               PO Box 73
Corinth, TX 76210                       Lynwood, CA 90262               Gail, TX 79738-0073




Willet Lauree Alissa                    Willet Lizabeth Ashlea          Willia E Davis
1414 Sul Ross                           2939 Jenny Drive                4419 Martin Luther Kingway
Apt 2                                   Sugarland, TX 77479             Oakland, CA 94547
Houston, TX 77006




William A Abney                         William A Bill Hooker           William A Bryans Iv
PO Box 1226                             17752 Carol Cr                  1232 E Camino Diestro
Marshall, TX 75671-1386                 Flint, TX 75762                 Tucson, AZ 85704




William A Bryans Iv Md                  William A Chalfant              William A Gullatt
1232 E Camino Diestro                   PO Box 3123                     2908 Post Oak Dr
Oro Valley, AZ 85704-7924               Midland, TX 79701               Ruston, LA 71270
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William A Hunt                           William A Hurst                          William A Jones Jr
500 Ridgeview Dr                         1410 Robbinwood Court                    1907 Fairview Dr
Pleasanton, TX 78064-6425                Longview, TX 75601                       Ruston, LA 71270




William A Jones Schumpert Barnes Jones   William A Knight                         William A Landreth Jr
904 Glendale                             PO Box 508                               3207 West 4Th Street
Ruston, LA 71270                         Tyler, TX 75710                          Fort Worth, TX 761072114




William A Lorenz Jr                      William A Marbury Jr Et Ux               William A Ponder
3672 Woodhaven Circle                    Virginia Lomax Marbury                   8686 Coy Ave Apt 91
Hamburg, NY 14075                        PO Box 2010                              Baton Rouge, LA 708106106
                                         Ruston, LA 71273-2010




William A Pugh Iii                       William A Richardson Mary E Richardson   William A Rogers
PO Box 573                               6928 Flying Squirrel Rd                  19724 S2100 Rd
Stevensville, MT 59870                   Gilmer, TX 75644                         Nevada, MO 64772




William A Schriver                       William A Sheka Jr                       William A Shook Pia A Shook Rev Trust
816 S State                              6150 Lemans Drive                        William A Pia A Shook Ttees
Belvidere, IL 61008                      Corpus Christi, TX 78414                 7109 Stoney Creek Dr
                                                                                  Highland, CA 92346




William A Smith Ii                       William A Stewart                        William A Thomas
PO Box 1                                 PO Box 2556                              120 East H St
George West, TX 78022                    Lufkin, TX 759022556                     Russellville, AR 72801




William A Webb                           William Alan Mccuin                      William Alan Nolan
119 Locust Ridge Road                    1117 Hinton St                           200 Caballo Ranch Rd
Frankfort, KY 40601                      West Monroe, LA 71292                    Russellville, AR 72802




William Albert Turner                    William Alfred Parr                      William Allen Maynard
8650 Crestview Dr                        410 E 2nd Ste                            63 Signal Knob Dr
Frisco, TX 75034                         Burkburnett, TX 76354                    Strasburg, VA 22657-5247




William Alvin Moncrief Iii Tr            William And Diane Andries                William Andress Phillips
W A Moncrief Jr Trustee                  981 Marthaville Rd                       PO Box 7004
Moncrief Building                        Many, LA 71449                           Victoria, TX 779037004
950 Commerce Street
Fort Worth, TX 76102-5418



William Andrew Eva B Colvin              William Andrew Jackson Lewis Iii         William Andrew Jessica Walsworth Sims
1527 FrenchmanS Bend                     5 Perdido Drive                          209 Deer Creek Rd
Monroe, LA 71203                         Little Rock, AR 72211                    Arcadia, LA 71001
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William Andrew Null                    William Archie Haynes                 William Ardis Lowrey
2588 Hwy 544                           910 Pierremont Rd Ste 121             139 Forsythe Rd
Ruston, LA 71270                       Shreveport, LA 71106-2081             Dubach, LA 71235




William B Boudreaux                    William B Brantley Kelly W Brantley   William B Carroll
121 Songbird Trl                       378 Jill Loop                         3005 Nottingham Dr
Yorktown, VA 23692-6156                Ruston, LA 71270                      Shreveport, LA 71107




William B Diane Soper                  William B Fowler                      William B Hopkins And
1704 Corley                            600 E Flournoy Lucas Rd C             Janet G Hopkins Ten Com
Ruston, LA 71270                       Shreveport, LA 71115-3890             19807 Maple Chase
                                                                             Houston, TX 77094-2903




William B Mcdonald                     William B Pope Jr                     William B Rhees
852 E River Rd                         PO Box 2001                           7833 S Memorial Dr Apt 10003
Shreveport, LA 71105-2881              Flint, TX 75762                       Tulsa, OK 74133




William B Roseberry Iii                William B Shackleford                 William B Wiener Jr
PO Box 16                              124 Pond Rd                           333 Texas Street
Bentin, LA 71006                       Charles Town, WV 25414                Suite 2290
                                                                             Shreveport, LA 71101




William Bailey                         William Bain Ward Iii                 William Baker And Wife Kathy Baker
Address Redacted                       PO Box 80337                          175 Richardson Rd
                                       Midland, TX 79708                     Joaquin, TX 75954-4050




William Barcus                         William Barlow Inabnet Jr Est         William Barry Huffman
2621 Cockrell Avenue                   c/o Catherine Inabnet Lovejoy         137 Lane Road
Fort Worth, TX 761091118               Executrix                             Marshall, TX 75670
                                       2207 Granville Road
                                       Greensboro, NC 27408



William Bass                           William Bell Pate Jr                  William Bernard Hill
Paulene Bass                           12110 E Country Rd 101                736 Live Oak Place
PO Box 18045                           Midland, TX 79706                     Owensboro, KY 42303
Irvine, CA 92623




William Blake Harrison                 William Blake Taylor                  William Boyd Siler Trust
42 Velasquez Rd                        2400 Beech St                         PO Box 161
Glorieta, NM 87535                     Arcadia, LA 71001                     Price, TX 75687-0161




William Brace                          William Bradley Pollard Gs            William Bradley Pollard Gst
11949 Riverside Dr 148                 U/W/O Lucille Parks                   U/W/O C Gay Pearson
Lakeside, CA 92040                     PO Box 1775                           PO Box 1775
                                       Kilgore, TX 75663                     Kilgore, TX 75663
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William Bradley Pollard Rev Tr           William Brant Payne Jr          William Braziel
PO Box 1775                              PO Box 3864                     306 Montclair
Kilgore, TX 75663                        Longview, TX 75606              Longview, TX 75601




William Bruce Thompson                   William Bryan Brown             William Bryan Rumbo And Nancy L Rumbo
5920 Port Stewart Ct Se                  22503 Vobe Court                203 Vz Cr 4819
Salem, OR 97306                          Katy, TX 77449                  Chandler, TX 75758




William Bulloch                          William C Armor Jr              William C Bradstreet
604 S Main                               PO Box 1636                     Dr Daniel J Christiansen Poa
Dermott, AR 71638                        Stuart, FL 34995                PO Box 23
                                                                         Danboro, PA 18916




William C Buck                           William C Childers              William C Cole Jr Estate DecD
306 Laura Street                         7106 Field View Ln              Cornelia Bloodgood Ind Exec
Mansfield, LA 71052                      Dallas, TX 75249-1112           2805 Weylene Paseo
                                                                         Granbury, TX 76049-1416




William C Deloney                        William C Dowdy Iii             William C Dowdy Jr
14540 Grant St                           7519 Marquette Street           7519 Marquette St
Dolton, IL 60419-1722                    Dallas, TX 75225                Dallas, TX 75225-4522




William C Eiland                         William C Glenn                 William C Hamel Trst For Marie H Falbaum
PO Box 11228                             PO Box 225                      R Falbaum Trstee
Midland, TX 79702                        Mccamey, TX 79752               PO Box 4347
                                                                         Shreveport, LA 71101




William C Harrison                       William C Holloway              William C Hunter
2160 Hwy 50 W                            3025 Leesbourg Trail            301 Bret Harte Rd
Union, MO 63084                          Woodstock, GA 30189             San Rafael, CA 94901-5252




William C Kaufman Iii                    William C Light                 William C Morrow
7969 Settlers Circle                     801 Baseline Road               3110 Gulf St
Baton Rouge, LA 70810                    Boulder, CO 80302               Midland, TX 79705




William C Nolan Jr                       William C Nolan Jr Estate       William C Ovitt Linda B Ovitt
200 N Jefferson Suite 308                202 West 19Th St                203 Thomas Road
El Dorado, AR 71730                      El Dorado, AR 71730             Athens, LA 71003




William C Pickens Jr                     William C Sawtelle              William C Shuford
8111 Preston Rd 800                      54 Dogwood Rd                   PO Box 9159
Dallas, TX 75225                         Roswell, NM 88201-8802          Dallas, TX 75209-9159
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William C Stone                        William C Theodosia M Nolan     William C Warren
Farmers National Co Agent              200 N Jefferson Ave Ste 308     3801 Ridge Road
PO Box 3480                            El Dorado, AR 71730-5842        North Little Rock, AR 72116
Omaha, NE 68103




William C Woolf Foundation             William Caldwell                William Callahan Best Jr
c/o N H Wheless Jr Trustee             3700 N Campbell Ave Apt 402     PO Box 3148
Regions Morgan Keegan Trust            Tucson, AZ 85719-1503           So Padre Island, TX 78597
PO Box 11566
Birmingham, AL 35202



William Calvin Beasley                 William Calvin Reader           William Carol Powell
1533 Nottoway Place                    104 Fairway                     11200 Ropers Ave
Bossier City, LA 71112                 Chandler, TX 75758              Paoli, OK 73074




William Casey Swanson                  William Cecil Harrell           William Cecil OKelley
615 Poncha Blvd                        1179 Highway 563                914 Greenwood Ave
Salida, CO 81201                       Dubach, LA 71235-2609           Lehigh Acres, FL 33972




William Chadwick Warren                William Charles Bennett         William Charles Chandler
429 Pine Terrace                       116 Cold Track Dr               980 Burgessville Road
Center, TX 75935                       Willow Park, TX 76008           Ruston, LA 71270




William Charles Haley                  William Charlie Stone           William Christopher Bassett
Kyle Stacy Haley Parents Of            1716 Mullberry                  Rachel Griffin Bassett
2750 Gary Brewer Rd                    Upland, CA 91784                PO Box 453
Snyder, TX 79549                                                       Arcadia, LA 71001




William Clark                          William Clark Caraway           William Clark Plunkett
Route 4 Box 83                         13718 Timber Ridge Avenue       233 Buttonwood Shores Drive
Crockett, TX 75836                     Baton Rouge, LA 70817-3443      Key Largo, FL 339372442




William Claude Chipmon                 William Clayton Smith           William Cody Robbins
Nancy Gayle Payton Chipmon             1521 Peterson Ln                558 Turner Robbins Rd
10348 Highway 146                      Henderson, TX 75654-4623        Mansfield, LA 71052
Ruston, LA 71270




William Courtney Garland               William Courtney Trabue         William Crawford Jr
1602 Innsbrook Cir                     1103 N Plymouth Road            200 Sherrouse Ave
Harrison, AR 72601                     Dallas, TX 75208                West Monroe, LA 71203




William Curtis Creech Jr               William Curtis Taylor           William Curtis Taylor Susan M Taylor
2015 Cedar Hill Rd                     2400 Beech Street               171 Back Forty Rd
Keithville, LA 71047                   Arcadia, LA 71001               Arcadia, LA 71001
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William D Abston                         William D Bennett                      William D Bishop Revocable Living Trust
1470 John King Blvd 6100                 PO Box 3345                            12401 N 222nd Street Apt G703
Rockwall, TX 75032                       Fredericksburg, TX 78624               Tampa, FL 33612




William D Bobbie Rowe                    William D Brunson                      William D Elizabeth Foote
5050 County Road 342                     20 East Broad Oaks Dr                  81450 Carboneras
Silt, CO 81652                           Houston, TX 77056                      La Quinta, CA 92253




William D Evans                          William D Ferguson                     William D Givens Jr
2417 Spring Cress Avenue                 11216 Lasalle Ave                      10205 Boswell
Grove City, OH 43123                     Los Angeles, CA 90047                  Bastrop, LA 71220




William D Green                          William D Griffin                      William D Jeffcoats Jr
6121 Fern Avenue 39                      2652 Fm 407 Ste 250                    4207 Avondale Ave Unit 205
Shreveport, LA 71105                     Bartonville, TX 76226                  Dallas, TX 75219




William D Lynch                          William D Pittman                      William D Weinig Estates
219 Wisconsin St                         PO Box 214                             Hilton H Weinig Administrator
Lawrence, KS 66044-4670                  Plain Dealing, LA 71064                200 Blake Blvd Apt 24D
                                                                                Pinehurst, NC 28374




William D Wood And Wife Catherine Wood   William Dale Worsham                   William David Caldwell
PO Box 667                               7219 Starbridge                        187 Lakewood Point
Agnleton, TX 77516                       Houston, TX 77095                      Bossier City, LA 71111




William David Hayes                      William David Hedgepeth                William David Lawrence
988 West Bar K Ranch Road                2355 Cottonwood Ave                    PO Box 131708
Longview, TX 75605                       Baton Rouge, LA 70808                  Tyler, TX 75713




William David Mccarty                    William David Taylor Judith E Taylor   William Davis Welder Jr Trust
4527 N Lamar Blvd Apt 2117               301 Pinecrest Dr                       Jpmorgan Chase Bank N A Ttee
Austin, TX 78751-2370                    Arcadia, LA 71001                      PO Box 99084
                                                                                Fort Worth, TX 76199-0084




William Davis Welder Jr Trust            William Dean Sapp                      William Dean Sapp 1993 Trust
Jpmorgan Chase Bank N A Ttee             1302 Waugh Drive 915                   c/o Carol Lynn Sapp Trustee
PO Box 2050                              Houston, TX 77019                      1302 Waugh Box 616
Fort Worth, TX 76113                                                            Houston, TX 77219




William Dix                              William Don Smith                      William Donald Clark Life Estate
6945 Black Ridge                         817 Burgundy St Unit D                 2351 Fm 1476
El Paso, TX 79912                        New Orleans, LA 70116                  Dublin, TX 76446
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William Douglas Durrett                 William Douglas Kathy Conville Sims    William Douglas Newberry
PO Box 296                              210 Pinecrest Rd                       4901 East Columbary Dr
Simsboro, LA 71275                      Arcadia, LA 71001                      Rosenberg, TX 77471




William Douglas Newberry Gst            William Doyle Eades                    William Dudley Fowler
Exempt Tr                               4900 Odessa Ave                        Self Dir Ira Services Inc Fbo
4901 E Columbary Dr                     Fort Worth, TX 76133                   2714 Bee Cave Rd Ste 202
Rosenberg, TX 77471                                                            Austin, TX 78746




William E Adams                         William E Andrau Estate                William E Bednorz
10459 Des Moines Memorial Dr            c/o Shweinle Parish Lowere             PO Box 189
Seattle, WA 98168                       PO Box 55730                           George West, TX 78022
                                        Houston, TX 77255




William E Bussey                        William E Calvert                      William E Compere
801 N 2nd Street                        103 Forest Ln                          8700 James Drive
Longview, TX 75647                      Mansfield, LA 71052                    Lantana, TX 76226




William E Cotton                        William E Dent Iii                     William E Dunaway
7905 Martha Dr                          2332 Park St Unit A                    2207 Cedar Falls
Huntsville, AL 35802                    Houston, TX 77019                      Kingwood, TX 77339




William E Edna Kreps                    William E Gee                          William E Greer III
Memorial Trust 1124                     193 S 27Th Ave Ste 100                 Patricia Hull Greer Wife
Bank Of America N A Trustee             Brighton, CO 80601-2662                5601 N Camino Real
PO Box 840738                                                                  Tuscon, AZ 85701
Dallas, TX 75284-0738



William E Hall And Hilda Hall           William E Hall Jr                      William E Harper
895 Crystal Farms Road                  PO Box 518                             PO Box 311
Tatum, TX 75961                         Deridder, LA 70634                     Woodson, TX 76491




William E Hawkins Jr                    William E Kahn                         William E Mcilwain
Jennifer C Hawkins                      664 Stewart Way                        23 Bayou Pointe Dr
598 Carnation Road                      Brentwood, CA 94513                    Houston, TX 77063-1037
Arcadia, LA 71001




William E Mcreynolds Jr                 William E Monnie Wylie Mnrl Partners   William E Olive Rebecca Pardue Moore
4702 W 159Th St                         PO Box 697                             1284 Hwy 519
Apt B                                   Henderson, TX 75653                    Arcadia, LA 71001
Lawndale, CA 90260




William E Price                         William E Rudd Separate Property       William E Scott Foundation
Rt 1 Box 187C                           9312 Faircrest Drive                   801 Cherry Street
Joaquin, TX 75954                       Dallas, TX 75238                       Suite 2000 Unit 46
                                                                               Fort Worth, TX 76102
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William E Tayler                         William E Turner And Wife           William E Watson
952 Old Town Road                        Frances Jennifer Turner             1520 W Loller St
Putney, VT 05346                         238 Rainbow Drive 13886             Tyler, TX 75702
                                         Livingston, TX 77399-2038




William Earl Midkiff                     William Earl Robbins                William Edens Cunningham Jr
PO Box 1728                              558 Turner Robbins Rd               3938 S Hwy 287
Petersburg, AK 99833                     Mansfield, LA 71052                 Corsicana, TX 75110




William Edgar Dye Unknown                William Edward Crump Family Ltd     William Edward Dowling
Shelly Sitton Succ Rcvr Cause            c/o Kevin Baber                     9511 Hackberry Dr
15429 c/o Kathy E Clifton                4301 Maplewood Ave                  Shreveport, LA 71115
101 W Mill St Ste 216                    Suite B
Livingston, TX 77351                     Wichita Falls, TX 76308-3879



William Edward Marshall                  William Edward Mcgee                William Edward Mcgee
3077 Wildflower Way                      And Wife Katherine Michelle Mcgee   PO Box 174
Rockwell, TX 75032                       PO Box 174                          Joaquin, TX 75954
                                         Joaquin, TX 75954




William Edward Willis Jr                 William Edwin Wiederkehr            William Elizabeth Trumbull
21998 Martin Rd                          PO Box 510                          William Elizabeth
Montgomery, TX 77316                     Freer, TX 78357                     Trumbull Trustees
                                                                             333 Tigertail Road
                                                                             Los Angeles, CA 900492805



William Ellis Ozley                      William Emmons                      William Ernest Dana Rodgers Jones
12037 Edgestone Rd                       18415 MabelS Island Court           16575 Hwy 157
Dallas, TX 75230                         Humble, TX 77346                    Plain Dealing, LA 71064




William Errol King                       William Eugene Reedy                William Eugene Sherman
PO Box 352                               1101 North Rainbow Apt 91           PO Box 5557
Imperial, TX 79743                       Las Vegas, NV 89101                 Abilene, TX 796085557




William Evert Andrau Tr No 2             William Evert Andrau Tr No1         William F Jourdan
Willem K Andrau Et Al                    Willem K Andrau Et Al               307 Crosby Dr
PO Box 55730                             PO Box 55730                        Henderson, TX 75652
Houston, TX 77255                        Houston, TX 77255




William F Lott                           William F Lyng                      William F Seerden
c/o Swtdd                                Address Redacted                    PO Box 2938
Public Guardian                                                              Victoria, TX 77902
102 E College St
Jackson, TN 38301



William F Singleton                      William F Smith And                 William F Weidler
542 Lashell Lane                         Shirley Mcmichael Smith             109 Hummingbird Hill
New Braunfels, TX 78130                  PO Box 578                          Boerne, TX 78006
                                         Springhill, LA 71075
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William F Young Jr                      William Fiorella Jr Estate      William Floyd Ray
226 Mckendry Dr                         4017 Lemon St                   5604 Southwest Pkwy
Menlo Park, CA 94025                    Metairie, LA 70002              Apt 314
                                                                        Austin, TX 78735




William Frederick Schwaner              William Fuller                  William G Anderson
500 Ygnacio Valley Rd Ste 350           10340 Desmond Dr                333 Texas St Ste 2020
Walnut Creek, CA 94596                  Dallas, TX 75228                Shreveport, LA 71101-5357




William G Belton                        William G Bourn                 William G Brelsford
2201 Cherokee Rd Unit 8                 405 Norcross St                 Fid Inv Act 7710567123307
Johnson City, TN 37604                  Longview, TX 75604-4428         PO Box 770001
                                                                        Cincinnati, OH 45277




William G Brimmer                       William G Crutchfield           William G Fisher
PO Box 43                               441 Heritage Place              11 Dazzling Brook Lane
Lopez, WA 98261                         Pinson, AL 35126                Waynesville, NC 28786




William G Jackson                       William G Kelly Jr              William G Lawhon
5219 Weston Drive                       3308 W Deborah Dr               11310 Somerland
Fulshear, TX 77441                      Monroe, LA 71201                Houston, TX 77024




William G Light Irrev Tr Dtd 12 23 99   William G Mccormick Tr          William G Mcgehee
Coulter M Bump Ttee                     William G Mccormick Ttee        PO Box 382
2250 S Marion Street                    1800 S Ocean Blvd Apt 1409      Natchez, MS 39120
Denver, CO 80210                        Lbts, FL 33062




William G Nix Theresa H Nix             William G Walton                William G Wash Jr
PO Box 297                              6835 Valley View Pl             189 Winter St
Ruston, LA 71273                        Cheyenne, WY 98664              Keatchie, LA 71046




William Gary Moore                      William Gary Nix                William Gerald Baker
c/o Inwood National Bank                PO Box 297                      6703 Highway 1
7621 Inwood Road                        Ruston, LA 71273                Shreveport, LA 71107
Dallas, TX 75209




William Gerald Hinton                   William Gibbons Miller          William Glen Liner
812 Kirby Place                         1063 Baldwin Ln                 122 Crandon Lane
Shreveport, LA 71104                    Birmingham, AL 35242            Haughton, LA 71037




William Glen Rhonda Dawkins Melton      William Goodwin Hammond Et Ux   William Goolsby Jr
5556 Candice Lane                       Susan Faye Hammond              PO Box 410
Bestrop, LA 71220                       2411 N 7Th Street               Deberry, TX 75639
                                        West Monroe, LA 71291
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William Gordon Gray                   William Griffith                         William Griffith Harper
4 Cheltenham Court                    405 Lone Star Ln                         3343 Oaklawn Circle South
San Antonio, TX 78218                 Hideaway, TX 75771-5229                  Bloomington, IN 47401




William Griggs                        William H Arrington Jr Fam Tr            William H Blankenshiip
205 Curry Creek Cir                   Joseph C Arrington Trustee               8225 Ashbriar Lane
Calhoun, LA 71225-7945                16241 E Prentice Lane                    Fort Worth, TX 76126
                                      Centennial, CO 80015-4171




William H Brown Mineral Trust         William H Bullock Interdict              William H Cameron
Hilltop Ntl Bank Succ Trustee         By Donald L Bullock Curator              9354 Central
PO Box 2680                           322 Orleans Dr                           Detroit, MI 48204
Casper, WY 82602                      Shreveport, LA 71106




William H Caskey                      William H Cook Jr                        William H Dunham
167 Blue Water Pt                     534 Red Baron Dr                         c/o Kym Comer
Holly Lake Ranch, TX 75765-7307       Shreveport, LA 71115                     5949 Sherry Lane
                                                                               Suite 780
                                                                               Dallas, TX 75225



William H Hahn Jr                     William H Hahn Jr Tr                     William H Harper Cynthia Boyd Harper
2023 Fm 2235                          William H Hahn Jr Ttee                   PO Box 38
Port Lavaca, TX 77979                 2023 Fm 2235                             Choudrant, LA 71227
                                      Port Lavaca, TX 77979




William H Healy Celeste B             William H Hicks                          William H Mckendrick Iii
Healy Trust Dtd 4 8 98                4607 Magnolia Summit Ln                  PO Box 430603
William Celeste Healy Co Ttee         Katy, TX 77494-8016                      Laredo, TX 78043
725 Mountain Dr
San Marcos, TX 78666



William H Mercer Jr                   William H Palmer Carolyn Farley Palmer   William H Rabun
121 Mossy Oaks Dr                     201 Vp Pvt Dr                            Teresa Rabun Stebnicki Aif
Slidell, LA 70458                     Mansfield, LA 71052                      2040 Misty Oaks Dr
                                                                               Buford, GA 30519




William H Rainbolt                    William H Shirley Susan                  William H Shirley Susan R Shirley
5519 Sterling Brook                   Ritchie Shirley Jt Usuf                  c/o Thomas W Rogers
Houston, TX 77041                     157 Blue Ridge Lane                      157 Blue Ridge Lane
                                      Ruston, LA 71270                         Ruston, LA 71270-9545




William H Snow Wife Fonda E Snow      William H Thompson                       William H Virginia G Ramsdell Rev Tr
9310 County Road 366E                 PO Box 514                               4049 Westlake Drive
Henderson, TX 75654                   Junction City, AR 71749                  Austin, TX 78746




William H Wieding                     William H Wilson                         William Hale Brown
PO Box 296                            3817 Holly Ridge Drive                   1507 Briarwood Trail
Three Rivers, TX 78071                Longview, TX 75605                       Henderson, TX 75654
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William Hankins                         William Harold Holt Jr          William Harris And Barbara Mcgee Green
1235 Peachtree Rd                       843 Stephenson St               625 Hunt Rd
Sulphur, LA 70663                       Shreveport, LA 71104            Dubach, LA 71235




William Harris Cleere                   William Harvey                  William Hawthorn Lynch Jr
5741 Westchase Dr                       2501 Parkview Drive             1319 Rue Desiree
North Richland Hills, TX 76180-6139     Suite 315B                      Baton Rouge, LA 70810
                                        Ft Worth, TX 76102




William Hebert                          William Henry Latham            William Henry Mathewes
10889 La Hwy 699                        100 Cedar Dr                    6930 Blue Mesa Dr
Maurice, LA 70555-3600                  Dillsburg, PA 17019-9645        Dallas, TX 75252-6140




William Henry Shirley Tr Of             William Henry Speed Jr          William Herbert Brown Life Est
Class Tr For Great Grandchil            Psc 1 Box 222                   39 Haven Circle
Art Ii Of LwT Of D D Ritchie            Apo Aa 34001                    Denison, TX 75020
157 Blue Ridge Lane                     Howard A/F Base
Ruston, LA 71270                        Panama Canal Zone, 34001



William Homer Norris                    William Hornberger              William Hughes Lyons
4064 Highway 544                        3620 Purdue                     PO Box 52328
Simsboro, LA 71275                      Dallas, TX 75225                Shreveport, LA 71135




William Hutto                           William I Lee                   William J And Diana Carpenter
PO Box 1671                             4809 Cole Avenue Suite 107      1307 Booker Loop Road
Center, TX 75935                        Dallas, TX 75205                Mansfield, LA 71052




William J Barton                        William J Bly                   William J Chevalier Jr
203 Hurst St                            200 East Laredo Place           2972 Fm 2787 N
Center, TX 75935-4321                   Broken Arrow, OK 74012-7956     Joaquin, TX 75954-5714




William J Cobb Estate                   William J Colbert Jr            William J Graham
PO Box 3                                PO Box 4422                     5200 Wickel Road
Flint, TX 75762                         Shreveport, LA 71134-0422       Burton, TX 77835




William J Harris                        William J Harris                William J Hopper
c/o Law Office of Dean A Searle PC      PO Box 133                      3102 Sentinel Dr
PO Box 910                              Beckville, TX 75631             Midland, TX 79701
305 West Rusk Street
Marshall, TX 75671



William J Janis G Gleason               William J Langley               William J Lewis Ii
2117 Hollow Wood Way                    PO Box 13044                    PO Box 340
Haughton, LA 71037                      Beaumont, TX 77726              Ruston, LA 71270
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William J Mayer                        William J Mccaw                  William J Meier
60 Arch Street                         PO Box 376                       257 Rutherford
Greenwich, CT 06830                    Artesia, NM 88211-0376           Shreveport, LA 71104-3307




William J Mullins Iii                  William J Phelan                 William J Roark
PO Box 1446                            5941 Azalea Lane                 PO Box 733
Emporia, KS 66801                      Dallas, TX 75230                 Sanderson, TX 79848




William J Roberts                      William J Robinson               William J Rollins
PO Box 597                             8260 1 Pearsall Road             Address Redacted
Van Alstyne, TX 75495                  San Antonio, TX 78252




William J Rutledge                     William J Scarff                 William J Stutts
143 Main St                            Address Redacted                 31330 Helen Lane
Grambling, LA 71245                                                     Tomball, TX 77375




William J Todd                         William J Wysinger               William Jack Maxey
1781 N Fulton Beach Rd                 PO Box 143                       PO Box 38
Rockport, TX 78382                     Bienville, LA 71008              Sibley, LA 71073




William Jack Sibley                    William Jackson Barnes           William Jacob Darilek
c/o Jourdanton State Bk                PO Box 57                        4407 Manchaca Rd
Acc 010 754 9 PO Box 459               Swartz, LA 71281                 Austin, TX 78745
Jourdanton, TX 78026




William Jacoby Deloach                 William Jefferson Wright Jr      William Jennings Dearien
Everett Dean Receiver                  551 Ervin Cotton Road            5140 Mohawk Drive
Office Of The District Clerk           Eros, LA 71238                   Frisco, TX 75034
PO Box 950
Gilmer, TX 75644-0950



William Jernigan                       William John Nunnally Iii        William Jones
801 Northeast 28th                     8120 Old Monroe Road             1004 North Montgomery
Oklahoma City, OK 73105                Bastrop, LA 71220                Gilmer, TX 756443434




William Joseph Schaefer                William Joshlin Rhonda E Gomez   William Junior Harris
1195 Gay Meadow                        6607 137Th Ave Sw                c/o Celestine Mangham Waldon
Goliad, TX 77963                       Amidon, ND 58620                 2010 Rosserson Rd Apt 3
                                                                        Monroe, LA 71202




William K Burton                       William K Caraway                William K Sample
301 Commerce St Ste 2900               910 Cary Avenue                  c/o Argent Trust Co Of La
Fort Worth, TX 76102                   Jennings, LA 70546               P O Drawer 1410
                                                                        Ruston, LA 71273
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William K Smith                         William Keith Clark                     William Keith Woodley
PO Box 1187                             10790 Cr 234                            7960 Chasewood Lane
Miami, OK 74355                         Clyde, TX 79510                         Aubrey, TX 76227




William Kelly Young Estate              William Kelly Young Jr                  William Kemper Lake Trust
Shannon Young Ray Exec                  Bank Of America Na Agent                William K Lake Ttee Or Ok Off State
200 Bailey Avenue Suite 102             PO Box 840738                           Treas Unclaimed Prop Div
Fort Worth, TX 76107                    Dallas, TX 75284-0738                   4545 North Lincoln Blvd 106
                                                                                Oklahoma City, OK 731053413



William Kendrick Mccalley               William Kenneth Sharon Ann Smith Ttee   William Kent Niles Indiv As
1168 52nd St                            W K Smith Revocable Trust               Indep Exec Est Dorothy Niles
Birmingham, AL 35222                    William Kenneth Smith Individ           1907 Hayes St
                                        PO Box 1187                             Wichita Falls, TX 76309
                                        Miami, OK 74355



William King Adams                      William King Mcelvaney And              William L Abernathy Charitable Lead Tr
16287 Perdido Key Drive 201             Frances O Mcelvaney                     Community Bank Of Raymore Ttee
Pensacola, FL 32507                     12367 Montego Plaza                     PO Box 200
                                        Dallas, TX 75230                        Raymore, MO 64083-0200




William L Baker Jr                      William L Carter Sr Estate              William L Colvin Iii
1665 W Paradise Lane                    Baerbel N Lemaitre Indp Exec            227 Failla Road
Daytona Beach, FL 321191513             741 Lakeway Drive                       Lafayette, LA 70508
                                        El Paso, TX 79932




William L Daniels And Patsy Daniels     William L Dorsey Jr                     William L Garner Jr
179 Cr 443                              PO Box 46                               PO Box 366
Joaquin, TX 75954                       Bullard, TX 75757-0046                  Venice, CA 90294




William L Garner Jr Lucy Gross Garner   William L Goodwin                       William L Harper Md
PO Box 366                              1221 Sw 8Th Street                      425 West Oak Street
Venice, CA 90294                        Baco Raton, FL 33486                    El Dorado, AR 717304566




William L Holmes Judy Chandler Holmes   William L Husted Jr And Mary            William L Satterwhite
16660 Highway 151                       Alice Mickel                            PO Box 334
Arcadia, LA 71001                       C/O Peggy Harbor                        Judson, TX 75660
                                        PO Box 7232
                                        Monroe, LA 71211



William L Stoltzfus                     William L Vinson Hope Vinson            William L Wall
146 Kehle Rd                            PO Box 548                              c/o Moody Natl Bank Trst
Madison, MS 39110                       Claremore, OK 74018                     Dept 1850061800
                                                                                PO Box 1139
                                                                                Galveston, TX 77553



William L Williams                      William L Word Inc                      William Lanier Coiner Marital Tr
1244 Rocky Point Way                    PO Box 7586                             Ann Thompson Coiner Ttee
Escondido, CA 92026                     Pensacola, FL 32534                     232 Parkhill
                                                                                San Antonio, TX 78212
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William Larkin Spacek                    William Laster Jr                       William Leblanc
6 Retreat Ln                             1923 State Hwy 72W                      Address Redacted
Columbia, SC 38139                       Cuero, TX 77954




William Lee Autrey Teresa Queen Autrey   William Lee Beard Individ And Trustee   William Lee Beard Ind And As
PO Box 715                               Of Thejodie Rayford Garner Trust        Trustee Of The Jodie Rayford
Ruston, LA 71273                         PO Box 727                              Garner Tr
                                         Henderson, TX 75653                     PO Box 727
                                                                                 Henderson, TX 75653



William Lee Emmons                       William Lee Trout                       William Lee Woodward
18415 Mabels Island Ct                   12396 Longmire Cove                     40 Buena Vista Lane
Humble, TX 77346-3217                    Conroe, TX 77304                        Aledo, TX 76008




William Leonard Hodge Jr                 William Leslie Everett                  William Lester Caldwell
570 Sterthaus Dr Apt 128                 16907 Fm 1716                           207 Remus Street
Ormond Beach, FL 32174-5289              Henderson, TX 756527412                 West Monroe, LA 71291




William Littlejohn Martin Jr             William Lois Mckendrick Trst            William Lomax Allman
171 Wise Road                            H M Mckendrick Griffith Ttee            313 Northwind Dr
Franklin, TN 37064                       PO Box 781274                           Brandon, MS 39047
                                         San Antonio, TX 78278




William Lombardo                         William Lowry Maccurdy                  William M Arnwine Test Tr
33 Marlo Ct                              120 Olney Rd                            Sham Myatt Ttee
Walnut Creek, CA 94595                   Asheville, NC 28806-3027                812 9Th St
                                                                                 Levelland, TX 79336




William M Billie J Tinsley               William M Case                          William M Cobb Assocs Inc
1702 Corley                              PO Box 1953                             12770 Coit Road Suite 907
Ruston, LA 71270                         Vancouver, WA 98655                     Dallas, TX 75251




William M Collier                        William M Comegys Iii                   William M Davenport
PO Box 220                               PO Box 73                               10709 Sans Souci Place
Grand Saline, TX 75140-0220              Shreveport, LA 71161-0073               Austin, TX 78759




William M Faust                          William M Gallaway LLC                  William M Gowanlock
PO Box 1222                              4001 N Butler Ave                       8134 Us Hwy 80 E
Lockhart, TX 78644                       Farmington, NM 87401                    Marshall, TX 75672




William M Hancock                        William M Hancock Jr                    William M Harris
c/o Phil Leonard                         2110 Fountain Way                       165 Berkshire Lane
7667 Woodway Dr Ste 604                  San Antonio, TX 78248-1933              Beaumont, TX 77707-2041
Houston, TX 77063
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William M Holland                       William M Hootkins               William M Huffman Barbara J Huffman
609 S Bois DArc                         118 North Waggoner               P O Drawer 1776
Tyler, TX 75701                         Electra, TX 75360                Marshall, TX 75671




William M Huffman R Michael             William M Inabnet Inc            William M Murphy Iii Trust
Hallum Trustees                         PO Box 5544                      Jpmorgan Chase Bank N A Ttee
Will Of Perry L Huffman                 Shreveport, LA 71135             PO Box 2050
PO Box 1776                                                              Fort Worth, TX 76113
Marshall, TX 75671



William M Murphy Iii Trust              William M Nelson Jr              William M Shaw Jr
Jpmorgan Chase Bank N A Ttee            116 Warwick Drive                PO Box 420
PO Box 99084                            Monroe, LA 71203                 Homer, LA 71040
Fort Worth, TX 76199-0084




William M Shiel                         William M Sipes                  William M Snyder Jr
28 Westridge Dr                         984 Cr 256                       3223 Hwy 4
Waterbury, CT 06708                     Beckville, TX 75631              Winnsboro, LA 71295-6853




William M Steen                         William M Wallace Exempt Trust   William M Wallace Nonexempt Tr
1816 Porter Road Fm 1314                Sheila Wallace Holmes Trustee    Sheila Wallace Holmes Trustee
Conroe, TX 77301                        3417 Cornell Ave                 3417 Cornell Ave
                                        Dallas, TX 75205                 Dallas, TX 75205




William Madison Davenport               William Madison Furrh            William Madison Reid
10709 Sans Souci Pl                     PO Box 82                        710 Glenridge Drive
Austin, TX 78759-5149                   Elysian Fields, TX 75642         Edmond, OK 73013




William Malcolm Calhoun                 William Marcus Welch             William Mark Bassett
806 T C Jester                          610 East Melton                  13586 Us Hwy 79S
Houston, TX 77008                       Longview, TX 75602               Henderson, TX 75654




William Mark Cotham                     William Mark Honey               William Mark Storey
8851 Merlin Court                       Address Redacted                 305 Paris Street
Houston, TX 77055                                                        Nocona, TX 76255




William Marlene Groves                  William Marsh Hastings           William Marsh Rice University
505 Moygara Rd                          6541 Manorwood Dr                c/o Oil And Gas Accounting
Monona, WI 53716-3403                   Katy, TX 77493                   Mail Stop 91
                                                                         PO Box 2666
                                                                         Houston, TX 77252



William Marvin Hewell                   William Mastin Scott Iii         William Mathew Harris
3008 Purdue                             PO Box 52431                     4100 Jackson Ave Apt 314
Dallas, TX 75225                        Shreveport, LA 71135-2431        Austin, TX 78731
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William Max Schlotter                    William Maxwell Reed Iii                  William Mcelvaney Tr
7505 Clematis Cove                       PO Box 2294                               Uwo Sue King Mcelvaney
Austin, TX 78750                         South Padre Island, TX 78597              Bank Of America Na Ttee
                                                                                   PO Box 840738
                                                                                   Dallas, TX 75284



William Melton Henry Jeane Marie Henry   William Melvin Edwards                    William Mercer
3588 Downing St                          PO Box 171                                18525 White Oak Drive
Marietta, GA 30066                       Timpson, TX 75975                         Prairieville, LA 70769




William Metzker Phyllis Metzker          William Michael Brown                     William Michael Gosdin
8615 Garland Court                       200 West First Street                     114 Palisade Lane
Arvada, CO 80005                         Tyler, TX 75701                           Shreveport, LA 71115




William Michael Mcgann Jr                William Michael Mcgann Sr                 William Milton Champion
1864 S Beverly Glen 2                    18871 Haddington Ln                       5002 Largo Drive
Los Angeles, CA 90025                    Dallas, TX 75287                          Grandbury, TX 76049




William Mitchell                         William Morris Weiss                      William N And Susan E Heiss
c/o Inder Mitchell                       Seymour Weiss Trust Fbo                   Tenants By The Entireties
PO Box 867                               Bank One La Na Trustee                    PO Box 2944
Fayette, MS 39069                        P O Drawer 99084                          Casper, WY 82602
                                         Fort Worth, TX 76199



William N Bonner Jr                      William N Fuller And Diane A              William N Heiss Profit Sharing Trust
5000 Longmont Dr 9                       Fuller Family Trust                       W N Heiss Trustee
Houston, TX 77056                        111 Garrett Loop                          PO Box 2680
                                         Chehalis, WA 985329111                    C/O Midhill
                                                                                   Casper, WY 82602



William N Heiss Trust                    William N Mayo Jr Dgt Tr Dtd 02 01 2011   William Nash Brown Trust
Hilltop National Bank Trustee            William N Mayo Ttee                       Michael Alan Brown Trustee
For Ira Of William N Heiss               278 West San Antonio St                   39 Haven Cir
PO Box 2680                              New Braunfels, TX 78130                   Denison, TX 75020
Casper, WY 82602-2680



William Neel Mayo                        William Neel Mayo Trust                   William Neel Mayo Trust
c/o Wn Mayo Investments                  William Neel Mayo Ttee                    William Neel Mayo Ttee
278 W San Antonio Street                 88 Mission Dr                             PO Box 430033
New Braunfels, TX 78130                  New Braunfels, TX 78130                   Laredo, TX 78043




William Nick Dorsett                     William O Huggins Iii                     William O Mehlich
PO Box 2068                              PO Box 2120                               8 Depot Square
Longview, TX 75606                       Durango, CO 81302                         Tuckahoe, NY 10707




William O Mehlich Estate                 William O Miller                          William O Rives
c/o Robert W Mehlich                     c/o Jackson                               120 Robinwood Ln
Personal Representative                  Walker Winstead CantwellMille             Ridgeland, MS 89157
8 Depot Square                           901 Main St Suite 58
Tuckahoe, NY 10707                       Dallas, TX 75202
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William O Scroggins Iii                William Oden                            William Orand Key
633 Cullins Rd                         39 Wheatland Dr                         315 N Boradway Ste 503
Rockwall, TX 75032                     Hampton, VA 23666                       Tyler, TX 75702




William Orand Key Tr                   William P Anglin                        William P Chrissinger Jr
William O Key Ttee                     PO Box 138                              21 Bristol Drive
315 N Broadway Ste 503                 Gulf Shores, AL 36547                   Rockport, ME 04856
Tyler, TX 75702




William P Clements Iii                 William P Cooksey Sr                    William P Curtis
404 Hamvasy Drive                      4329 Carlyle Way Apt 65                 PO Box 1385
Tyler, TX 757015323                    Mobile, AL 36609                        Longview, TX 75606




William P Love                         William P Lovell                        William P Mcbride
306 S 2nd Street                       279 Oakridge                            14854 Oaks North Place
Box 184                                Longview, TX 75605                      Dallas, TX 752547635
Riverside, WY 82325




William P Mccullough                   William P Stroube Gst Empt Tr           William Patrick Dunn
2008 Princeton Ave                     Citizens National Bank Co Tre           1004 Martin Luther King
Midland, TX 79701                      PO Box 820                              Ruston, LA 71270
                                       Henderson, TX 75653




William Paul Horton                    William Paul Matthews                   William Pearce Iv
6147 Birchmont                         1818 Swan                               11225 Willow Bottom
Houston, TX 77092                      Longview, TX 75604                      Columbia, MD 21044




William Pepper Linda Faye Pepper       William Perry Cooksey Jr                William Peter Geis
154 County Road 256                    10155 Riverstone Drive                  1305 Arrowhead Farm Road
Beckville, TX 75631                    Parker, CO 80134                        Jonesboro, AR 72401




William Philip Kinnebrew               William Preston Jones                   William Price Talbert
1802 Audubon Pl                        5600 Courtland Pl                       606 Talbert White Rd
Shreveport, LA 71105                   Alexandria, LA 71301                    Simsboro, LA 71275




William Procter Barnard                William R And Betty Babineaux Kennedy   William R C Watson Trust
81444 Hwy 1083                         PO Box 233                              William R C Watson Trustee
Bush, LA 70431                         Jennings, LA 70546                      1417 Cardinal Road
                                                                               Orlando, FL 32803




William R Cargill                      William R Collier Watson Trust          William R Cox
20 Corte De Sabla                      c/o Citizens National Bank              801 Uncas St
Greenbrae, CA 94904-1310               PO Box 820                              Logansport, LA 71049
                                       Henderson, TX 75653
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William R Daniels                      William R Edwards Jr                    William R Ethridge
4322 Lake Lavon Court                  Robert Yaquinto Jr Ttee Case 13 36126   2511 N 100Th Terr
Richmond, TX 77406                     509 N Montclair Ave                     Kansas City, KS 66109
                                       Dallas, TX 75208




William R Fair                         William R Gammel 2012 Trust             William R Giddens
PO Box 792                             William Russell Gammel Ttee             9281 Ellerbe Road
Coleman, TX 76834                      6327 Nowlin Drive                       Shreveport, LA 71106
                                       Baytown, TX 77521




William R Gilbert Jr                   William R Goff                          William R Green Jr
7052 Westlake Road                     500 Crescent Court Suite 270            4874 Itana Circle
Sterlington, LA 71280                  Dallas, TX 75201                        Bozeman, MT 59715




William R Harris Vicki Henry Harris    William R Havender Est                  William R Hummer
564 Weldon Church Rd                   18 Flower Hill Road                     Charles Schwab Co Inc Cust
Bernice, LA 71222                      Poughkeepsie, NY 12603                  Ira Contributory
                                                                               1239 Harrison St
                                                                               San Leandro, CA 94577



William R Lewis                        William R Lipscomb                      William R Marsalis
26559 Berg Rd 149                      Pmb 293                                 110 County Road 446
Southfield, MI 48075                   7154 North University Drive             Carthage, TX 75633
                                       Tamarac, FL 33321




William R Mary R Bane                  William R Mays                          William R Mealer
1501 Panther Creek Pass                10950 Darryl Dr 155                     8100 Vista Lane
Mount Vernon, TX 75457                 Baton Rouge, LA 708151810               Bozeman, MT 59715




William R Paape                        William R Proctor                       William R Rich
1110 Kennan Rd                         3105 San Jose Dr                        1310 Old Martindale Rd Unit B
West Lake Hills, TX 78746              Odessa, TX 79763                        San Marcos, TX 786668180




William R Rowell                       William R Slade                         William R Smith Jr
1751 Mccullin Rd                       PO Box 759                              14022 Pinerock
Dubach, LA 71235                       Euless, TX 76039                        Houston, TX 77079




William R Sumlin Et Ux                 William R Sumlin Jr                     William R Terrell Ii
Selma Rich Sumlin                      PO Box 37                               PO Box 304
2500 Franklin Ave                      Simsboro, LA 71275                      Kilgore, TX 75663
Ruston, LA 70808




William R Wolfe                        William Randall Huck                    William Randolph Collins
449 Nw 43Rd St                         15338 Glenwood Park Drive               416 Woodland Hills Ct
Oklahoma City, OK 73118-8220           Houston, TX 77095                       Madison, MS 39110
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William Randolph Ransone                 William Randolph Townsend       William Ray Harris
516 Birch Lane                           4810 Dody Street                2581 Martha St
Richardson, TX 75081                     Corpus Christi, TX 78411        Simsboro, LA 71275




William Ray Harris Et Ux                 William Reagin Parnell          William Reid Pfluger
Maureen Ann Varley Harris                4143 Fm 1096 Rd                 2133 Office Park Drive
2581 Martha Street                       Boling, TX 77420                San Angelo, TX 76904
Simsboro, LA 71275




William Richard Brazzil                  William Richard Rogers Et Ux    William Richardson
1723 Old Oak Dr                          Mary Jane Stringer Rogers       2825 Yale Ave
Tyler, TX 75703-7531                     309 Braswell Lane               Jacksonville, FL 32210
                                         Simsboro, LA 71275




William Robert Eason                     William Robert Gray             William Robert Miller
1850 Folsom 705                          573 South Boyle Avenue          11 Abbotsford Ct
Boulder, CO 80302                        Los Angeles, CA 90033           Dallas, TX 75225-5122




William Robert Porter                    William Robert Shults           William Rogers Mays
1802 East Main Street                    530 Raven Ridge                 495 Woodland Drive
Henderson, TX 75652                      New Braunfels, TX 78130         Fredericksburg, TX 78624




William Ronald Edwards                   William Roper Green Jr          William Roy Skaggs Jr
12407 Prairie Rose Way                   PO Box 4831                     4311 Milstead St
Bakersfield, CA 93312                    Jackson, MS 39296               San Antonio, TX 78230




William Ruday Adkins                     William Rushing                 William Russell Kohler
104 Wharton Street                       1213 Avenue G                   811 West Maxwell St 436
Covington, LA 70433                      South Houston, TX 77587         Chicago, IL 60608




William S Abernathy Fam Tr               William S Brandom Jr Rev Tr     William S Cathey
4311 Raguet                              Community Bank Of Raymore       9049 E 65Th St
Nacogdoches, TX 75965                    PO Box 200                      Tulsa, OK 74133
                                         Raymore, MO 64083-0200




William S Davis                          William S Grimm                 William S Jane Harber Richards
PO Box 122269                            c/o Texas State Treasurer       147 Lowery Rd
Fort Worth, TX 76121-2269                Unclaimed Property Division     Arcadia, LA 71001
                                         PO Box 12019
                                         Austin, TX 78711-2019



William S Marshall                       William S Marshall Family Tr    William S Monsted
781 Wright Ave                           PO Box 50880                    171 Broadway
Gretna, LA 70053                         Midland, TX 79710-0880          New Orleans, LA 70118
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William S Peterson                     William S Shaw                  William S Taylor
1201 Franklin                          151 Summit Dr                   c/o Capital One N A
Paragould, AR 72450                    Benton, LA 71006                Attn Sam Department
                                                                       PO Box 61964
                                                                       New Orleans, LA 70161



William Sammons                        William Sapp Jr                 William Satyrel Mangham Jr
721 Madison Street Se                  207 Fir Street                  226 Mangham Road
Huntsville, AL 35801                   Carthage, TX 75633              Ruston, LA 71270




William Sciscoe                        William Scott                   William Scott Bledsoe Iii
PO Box 519                             Rt 2 Box 214                    Box 3
Justin, TX 76247                       Ruston, LA 71270                Oakville, TX 78060




William Scott Lancaster                William Scott Parrish           William Scott Strange
2747 Red Oak Drive                     6587 Fm 250 N                   PO Box 1298
Grand Prairie, TX 75052                Naples, TX 75568                Waskom, TX 75692




William Scott Walker                   William Shane Sumlin            William Shannon Mendenhall
7626 Heather Knoll Rd                  9502 Hampstead Cir              42681 I55 North
Verona, WI 53593                       Shreveport, LA 71106            Jackson, MS 39211




William Shannon Shatford               William Shelby Mckenzie         William Shelton Powers Estate
4190 Midway Rd                         312 S Lakeshore Drive           c/o Avis Lee Powers Ind Exec
Weatherford, TX 76085                  Baton Rouge, LA 70808           10418 Fm 2011 E
                                                                       Longview, TX 75603




William Smith Welder Trust             William Smith Welder Trust      William Spradling Trust
Jpmorgan Chase Bank N A Ttee           Jpmorgan Chase Bank N A Ttee    Dick Johnson Trustee
PO Box 2050                            PO Box 99084                    PO Box 5
Fort Worth, TX 76113                   Fort Worth, TX 76199-0084       Fort Worth, TX 76101




William Stewart Donnell                William Stewart Neel            William Susan Shirley Usufr
2531 Grandview Street                  7328 Covered Bridge Drive       157 Blue Ridge Lane
San Diego, CA 92110                    Austin, TX 78736-3345           Ruston, LA 71270




William T Allen Iii Et Ux              William T Bowman                William T Brooks
Moise Woodburn Allen                   PO Box 774                      PO Box 8474
Po Drawer 1126                         Jupiter, FL 33468-0774          Shreveport, LA 71448
Shreveport, LA 71101




William T Brown Jr                     William T Cornett               William T Crawford
8423 E Otero Cir                       575 County Road 1265            417 E Factory St
Centennial, CO 80112                   Center, TX 75935-5921           Amite, LA 70422
                  Case 17-30262 Document 66 Filed in TXSB on 01/18/17 Page 1501 of 1524

William T Crockett                    William T Dismuke                       William T Dismukes Jr
188 Melody Lane                       18 Alsace St                            102 Sparrow Way
Lynchburg, VA 24504                   Springfield, MA 01108                   Beaumont, TX 77707




William T Donaldson Trust             William T Floyd Sr                      William T Gallagher
c/o Charles F Robinson                4325 Tahoe Drive                        1853 Jefferson Avenue
11215 Sage Valley                     Fort Worth, TX 76199                    Apartment 8
Houston, TX 77089                                                             Miami Beach, FL 33139




William T Richardson Deceased         William T Richardson Jr                 William T Trigleth Iii
5434 River Thames Rd                  140 Winger Foot Cir                     390 Westview Drive
Jackson, MS 39211                     Jackson, MS 39211                       Athens, GA 30606




William T Tucker Jr                   William Talbot Miller Trust             William Taylor Allbright
PO Box 9                              William Talbot Miller Trustee           PO Box 963
Elysian Fields, TX 75642              11618 Blalock Ln                        Andrew, TX 79714
                                      Houston, TX 77024




William Taylor Stephens               William Thomas Burt                     William Thomas Burt Sheri Lewis Burt
5304 Richland Court                   134 Shady Ln                            134 Shady Hill Ln
North Richland Hills, TX 76180        Ruston, LA 71270                        Ruston, LA 71270




William Thomas Green                  William Thomas Jackson                  William Thomas Mcgregor
PO Box 563                            11400 White Bluff Rd Ofc                9777 Wilshire Blvd Ste 908
Sundown, TX 79372-0563                Savannah, GA 314191537                  Beverly Hills, CA 90212




William Thomas Williamson             William Timothy Moore                   William Timothy Moore Testmry
PO Box 64                             2818 Chaucer Dr                         Tr Ruey Kunzman Arbuckle
Cat Spring, TX 78933-0064             Montgomery, TX 77356                    Renice Kunzman Farley Ttees
                                                                              7979 Woodway
                                                                              Houston, TX 77063



William Toby Nivens                   William Tom Ben                         William Turner Latham
Address Redacted                      PO Box 890                              23902 Elden Hills Ct
                                      Cartage, TX 75633                       Katy, TX 77494




William Tuxworth                      William Tyrrell                         William U Moss Iii
704 Central Ave Apt 105               333 Texas Street                        1152 Scrimshaw Cove
Summerville, SC 29483-3752            Suite 1120                              Apartment 3
                                      Shreveport, LA 71101                    Fayetteville, AR 72701




William V Bivins                      William V Clarke William A Teague and   William V Clarke Ttee
9033 Avalon Dr                        Ward W Pendleton Exec                   William V H Clarke Mpp Plan U/A Dtd
Shreveport, LA 71118                  Carolyn Monteith Clarke Estate          01/01/1981 Fbo William V Clarke
                                      2727 Allen Parkway Suite 1570           2727 Allen Pkwy Ste 1570
                                      Houston, TX 77019-2167                  Houston, TX 77019-2167
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William V Clarke Ttee                     William V Garibaldi Iii                 William Virgil Tillery Iii
William V H Clarke Psp U/A Dtd1/01/1981   9722 West Rockton Circle                3 Rockbrook Road
Fbo William V Clarke                      New Orleans, LA 70127                   Augusta, GA 30909
2727 Allen Pkwy Ste 1570
Houston, TX 77019-2167



William Virginia Ramsdell Trust           William W Byrd Estate                   William W Hobbs
Virginia Ramsdell Trustee                 Mary Jane Byrd And Robert D Byrd        977 Azalea Garden Dr
4049 West Lake Drive                      Independent Co Executors                Shreveport, LA 71115
Austin, TX 78746                          7902 Meadowbriar
                                          Houston, TX 77063



William W Lovett Jr Willie O Lovett       William W Smith III Carolyn M G Smith   William Ward Giltner Ii
272 Horne Lane                            3614 Highway 150                        880 Wolverine Court
West Monroe, LA 71292                     Simsboro, LA 71275                      Castle Pines, CO 80108




William Warren                            William Warren Norris Jr                William Wayne Morris
3777 Irvington Ave                        1821 Toulouse Cir                       1196 Mitchell Road
Coconut Grove, FL 33133                   Monroe, LA 71201                        Simsboro, LA 71275




William Webber                            William Welder Jr Trust                 William Wesley Hardy
4900 Tiedeman Road                        c/o Frost NatL Bank Co Trste            19642 Hwy 2
Brooklyn, OH 44144                        PO Box 1600                             Homer, LA 71040
                                          San Antonio, TX 78296




William Wilson Greer                      William Winfordd Fincher                William Wright
234 Berkeley                              181 Oakridge Circle                     8312 Highway 16 South
Brooklyn, NY 11217                        Lufkin, TX 75904                        Pipe Creek, TX 78063




William X Ochoa                           William Younger                         William Z March Test/Trust
Carlos Hortencia Ochoa Trust              1731 Barbara Ct                         Texas State Bank Trustee
1320 Garfield Street                      Hideaway, TX 75771                      PO Box 3782
Laredo, TX 78040                                                                  San Angelo, TX 76902




William Zachary Spivey                    Williamette Industries Inc              Williams Kelly R
912 Goodgoin Rd                           P O Drawer 1100                         Address Redacted
Ruston, LA 71270                          Ruston, LA 71273




Williams And Twomey                       Williams Burrett Simms                  Williams Family Trust
Resources Llc Tw Services                 4859 Highway 563                        Jack E Williams Ttee
336 County Rd 429                         Simsboro, LA 71275                      5117 Ashwood Drive
Teneha, TX 75974                                                                  Baytown, TX 77521




Williams Field Services Co LLC            Williams Field Services Co LLC          Williams Forestry
Attn Erik H Larsen                        Wires Only                              PO Box 6056
One Williams Center                       PO Box 2400                             Tyler, TX 75711
Tulsa, OK 74101-2400                      One Williams Center
                                          Tulsa, OK 74102-2400
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Williams Glenna Tullos Ronnie Williams   Williams Hardy Williams          Williams Revocable Living Trst
1146 Maple Springs Road                  2307 Colonial Ct S               Robert J Williams
Longview, TX 75602                       League City, TX 77573            Phillip L Williams
                                                                          7036 Whitewater Street
                                                                          Carlsbad, CA 92011



Williamson Oil Gas Inc                   Williamson Petroleum Consultan   Willie A Lang
PO Box 1772                              303 Veterans Air Park Lane Su    1318 Candlelight Lane
Shreveport, LA 71166-1772                Midland, TX 79705                Houston, TX 77018




Willie Adams Deceased                    Willie Ann Dusty                 Willie Austin
PO Box 91010                             Hc 60 Box 1624                   c/o Texas State Treasury
Baton Rouge, LA 70821                    109532 South Hwy 4155 Rd         Unclaimed Property Division
                                         Checotah, TX 74426               PO Box 12019
                                                                          Austin, TX 78711-2019



Willie B Lilly                           Willie B Pinkston                Willie B Simpson Jackson
5929 Northeast 71st                      225 Cr 2091                      910 Rwe Jones Road
Oklahoma City, OK 73141                  Carthage, TX 75633               Grambling, LA 71245




Willie Burson                            Willie C Alford                  Willie C Christian
1613 East 123Rd St                       750 Fm 3174                      1736 Westerham Drive
Los Angeles, CA 90059                    Joaquin, TX 75954-2426           Dallas, TX 75232




Willie C Scott                           Willie Calvin Brown Estate       Willie Clifton Lancaster
2121 E 120 Street                        PO Box 1683                      AKA W Clifton Lancaster
Los Angeles, CA 90059                    Dayton, TX 77535-0029            4235 Boonville Rd Apt 202
                                                                          Bryan, TX 77802




Willie Colvin Jr Shirley H Colvin        Willie Colvin Scott Et Ux        Willie D Goldsmith
1301 Madera St                           Rosie Candler Scott              10527 S E 232nd Street
Ruston, LA 71270                         3000 W Alabama Av 3              Kent, WA 98031
                                         Ruston, LA 71270




Willie Davis                             Willie De La Fuente              Willie Dean Heard
10401 Cr 2117 East                       5002 Weidemar Ln Apt D           1635 Adelaide Avenue
Henderson, TX 75652                      Austin, TX 78745                 Dallas, TX 75216




Willie Deburr                            Willie Dimmer                    Willie Earl Young
1206 Ridge Drive                         1406 Allen Street                1495 Washington Road
West Monroe, LA 71292                    Ruston, LA 71270                 Arcadia, LA 71001




Willie F Aka Billy Barbara J Pinkston    Willie F Pruett Charliene F      Willie Fay Jeter Lewis Estate
2527 Cr 455                              Williams Elivn G Shelton And     Box 2O67
Carthage, TX 75633                       Charles Shelton                  Longview, TX 75603
                                         10 Rambling Rd
                                         Longview, TX 75604
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Willie Fields Jr Mardean Fields         Willie Fred Lester              Willie Fred White
298 Brooks Loop                         4004 Orlando Springs Dr         1416 10Th St
Castor, LA 71016                        Fort Worth, TX 76123            Berkeley, CA 94710




Willie G Malone                         Willie G Whittaker              Willie Gene Jackson
1439 Hwy 155                            PO Box 1792                     PO Box 527
Quitman, LA 71268-4725                  Longview, TX 75608              Grambling, LA 71245




Willie Gene Mary Ann Sherron Deloach    Willie Gene Scott               Willie Gene Whittaker
16097 Hwy 151                           149 Wayside Drive               2007 Lancaster
Arcadia, LA 71001                       Grambling, LA 71245             Marshall, TX 75670




Willie Goldsmith Jackson                Willie H Henry                  Willie Henry Sampson Sep Prop
138 Lincoln Avenue                      Rr 1 Box 446                    C/O Johnnie OCon
Ruston, LA 71270                        Arcadia, LA 71001               120 OCon Rd
                                                                        Natchitoches, LA 71457




Willie Hill                             Willie Hunter Sr                Willie J Dedmon
116 Francine St                         151 Blunt Mile Rd               7600 Bermejo Rd
Mansfield, LA 71052                     Grand Cane, LA 71032            Ft Worth, TX 76112




Willie J Harris Triana                  Willie J Smith Walton           Willie James Black
432 Fm 2782                             405 Shelton St Apt 1008         2121 Geary Blvd 201
Nacogdoches, TX 75964                   Longview, TX 75601              San Francisco, CA 94115




Willie James Jacqueline Byrd James      Willie James Scott              Willie James Smith
PO Box 46                               149 Wayside Drive               PO Box 738
Arcadia, LA 71001                       Grambling, LA 71245             Cullen, LA 71021




Willie Jean Watts Singleton             Willie Judith Sylvester         Willie Kelly
209 Dunn Road                           166 Holly Grove Plantation Ln   4645 Dolphin Rd Apt 322
Ruston, LA 71270                        Washington, LA 70589            Dallas, TX 75232




Willie L Blow                           Willie L Marsh Jr               Willie L Starling Estate
PO Box 597                              2237 Horton Avenue Se           15852 State Hwy 135
Arcadia, LA 71001                       Grand Rapids, MI 49507          Arp, TX 75750




Willie L Vernon                         Willie L White Jr Stella Lee    Willie Lee Arnold
681 Hwy 155                             Henry White                     4323 Fairfax Drive E
Quitman, LA 71268                       681 Talbert White Rd            Bradenton, FL 34203
                                        Simsboro, LA 71275
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Willie Lee Simonton And Arberia Simonton   Willie Lee Washington Kemp              Willie Lene Frazier
PO Box 415                                 3020 Anderson                           PO Box 75
Dubach, LA 71235                           Shreveport, LA 71107                    Downsville, LA 71234




Willie M Cherry Trustee                    Willie Mack Garner                      Willie Mae Brim
Cherry Family Trust                        c/o Michael Garner                      Igoe Inn Box 216
2895 Wier Drive                            4735 Co Rd 2200                         Grambling, LA 71245
Beaumont, TX 77706                         Lampasas, TX 76550




Willie Mae Dailey Chadwick Tst             Willie Mae Daniel                       Willie Mae Hassell Daniel Tr
F/B/O James Leon Chadwick Crtd             c/o Sandra B Jaco Poa                   c/o H Russell Davis
U/W/O Judy Yvonne Spriggsttee              1905 East Beach Dr                      Successor Individual Trustee
8834 Bintiff                               Greenville, TX 75402                    1977 S Railroad
Houston, TX 77074                                                                  Arcadia, LA 71001



Willie Mae Hassell Daniel Trust            Willie Mae Heard                        Willie Mae Hearn Moffett
1977 S Railroad Ave                        223 Nathan Loop                         301 Lyndia
Arcadia, LA 71001                          Ruston, LA 71270                        West Monroe, LA 71292




Willie Mae Manning                         Willie Mae Mayfield                     Willie Mae Rhodes Daniel Sp
716 Ridge Drive                            1001 Ne 3Rd St Apt 102                  PO Box 18702
West Monroe, LA 71291                      Hubbard, TX 76648                       Los Angeles, CA 90018




Willie Mae Walker Moore                    Willie Malone Iii Sep Prop              Willie Malvern Ford
532 Pine Tree Road                         416 W Arrow Hwy A                       6134 Songwood Dr
Ruston, LA 71270                           Upland, CA 91786                        Dallas, TX 75241




Willie Marsh                               Willie Marven May                       Willie Mary Edwards
Fred J Marsh Agent Aif                     2531 Cutting Blvd                       PO Box 71
3800 Pilot Drive                           Richmond, CA 94804                      Joaquin, TX 75954
Plano, TX 75023




Willie Mays Sampson                        Willie Monroe Smith And Wanda A Smith   Willie P Singleton
705 East California Avenue                 6585 Jonesboro Road                     3117 Crestview Dr Apt 112
Ruston, LA 71270                           West Monroe, LA 71292                   Dallas, TX 75235-8529




Willie R Shelton Jr                        Willie R Stevens                        Willie Ray Candler
617 Marshall Dr                            15120 Fm 968W                           198 Nathan Loop
Lot 15                                     Longview, TX 75602                      Ruston, LA 71270
Prattville, AL 36067




Willie Ray Davis                           Willie Roy Woodard                      Willie Ruth Garner Smith
7932 Racine Dr                             170 Foster                              12398 Emu Lane
Dallas, TX 75232                           West Monroe, LA 71292                   North Zulch, TX 778726353
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Willie Ruth Wright                      Willie Saunders Jr              Willie Small
c/o Mrs Leon Wright                     2701 Renwick Street             1730 Maryland Ave
Rr 1 Box 1A                             Monroe, LA 71201                Dallas, TX 75216
Terrell, TX 75160




Willie Terry Potts                      Willie Thomas Bratton Et Ux     Willie Troy Young
9530 Mayfield Rd S                      Abigail Cox Bratton             627 Reese Road
Collierville, TN 38017-9398             1912 92nd Ave                   Arcadia, LA 71001
                                        Oakland, CA 94603




Willie Tucker Jr                        Willie Vaye Senesac Rivers      Willie Vernetta Garrett
c/o Wyoming Energy Corporation          610 N Mciver                    5265 Edgeware Dr
663 5 Ave Ste 621                       Madisonville, TX 77864          Agoura Hills, CA 91301-2318
New York, NY 10022




Willie White Jr                         Willie Whitfield Estate         Willie Younger Moore
681 Talbert White Rd                    38 Moonachie Rd 115             2809 Ne 18Th Street
Simsboro, LA 71275                      Hackensack, NJ 07601            Oklahoma City, OK 73111




Willis C Colvin                         Willis D Perritt                Willis David Swart
125 Woodstone Dr                        177 Reynolds Rd                 10540 N 151st St W
Ruston, LA 71270                        Arcadia, LA 71001               Sedgwick, KS 67135-9554




Willis Energy LLC                       Willis Enterprises Corp         Willis J Service
PO Box 367                              PO Box 345                      11100 Braesridge 1704
Snyder, OK 73566                        Snyder, OK 73566-1849           Houston, TX 77071




Willis Jackie                           Willis Jackson                  Willis Jarrel Jr
808 West Sabine Street Apt 17           4760 Avenida Del Diable         3101 Belmead
Carthage, TX 75633                      Las Vegas, NV 89121             Tyler, TX 75701




Willis Land Corporation Inc             Willis Leon Booker              Willis Lippard
1004 Choppy Cade Rd                     1743 Bayou Drive                168 Harleyview Dr
Saint Martinville, LA 70582-7307        Shreveport, LA 71105            Monroe, NH 03771




Willis Neal Ross                        Willis Reed                     Willis Reed Gale Kennedy Reed
7744 Millicent Way                      c/o Delta Financial Group Inc   176 Three Ponds Road
Shreveport, LA 77105                    41 Stonehouse Rd                Ruston, LA 71270
                                        Basking Ridge, NJ 07920




Willischild Oil Gas Corp                Willow Acres Lp                 Willow Circle Web Services
621 E Street                            Bldg 100 Box 112                1800 Willow Circle
Snyder, OK 73566-1849                   708 N Ashley Ridge Loop         Colorado Springs, CO 80906
                                        Shreveport, LA 71106
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Willow Creek Resources Inc              Willow Royalties LLC                  Willowbrook Resources Inc
Attn Chris Bosecker                     PO Box 660082                         PO Box 1067
PO Box 1309                             Dallas, TX 75266                      Westmont, IL 60559
Midland, TX 79702




Willson C Hamilton                      Wilma A Davidson Trustee Of           Wilma Broome
454 Hannah Lane                         The Davidson Family Trust             8579 Fm 2658 N
Boerne, TX 78006                        39 S St                               Tatum, TX 75691-3458
                                        Berlin Heights, OH 44814




Wilma Carreras                          Wilma Davis                           Wilma Davis Life Estate
509 Riverview St                        1128 William Harris Rd                Roddy J German Poa
Derby, KS 67037-1327                    West Monroe, LA 71292                 302 Vz Cr 2303
                                                                              Canton, TX 75103




Wilma E Mccoy                           Wilma Harris                          Wilma Harris Murray
4323 Loft Cv                            319 King Peterson Rd                  215 Madden Road
Owensboro, KY 42303-7365                Buffalo, NY 14204                     Ruston, LA 71270




Wilma Hoke Miller                       Wilma J Herbelin                      Wilma Kay Thomas
9742 Broken Bow                         Joseph T And Wilma J Herbelin Trust   1558 Us Highway 79 South
Dallas, TX 75238                        PO Box 945                            Carthage, TX 75633
                                        Penney Farms, FL 32079




Wilma L Gantz Revocable Trust           Wilma Lou Andre                       Wilma M Phillips
Bossier Parish Only                     10075 N 65Th St                       PO Box 4539
2306 Calle De Rafael Ne                 Longmont, CO 80503                    Sedona, AZ 86340
Albuquerque, NM 87122




Wilma M Phillips Trust                  Wilma Miller Smith                    Wilma Sue Goodwin Individually
Agreement Judith R Cruz Ttee            4320 Pershing Avenue                  With Usufruct
PO Box 4539                             Fort Worth, TX 76107                  14592 Country Side Lane
Sedona, AZ 86340                                                              Delray Beach, FL 33484




Wilma Sue Hutchison Whitten             Wilma Terry Finley Family Tr          Wilma V Reagans
PO Box 31                               Murray Roark Trustee                  1922 E 22nd St N
Mauriceville, TX 77626                  2629 Dame Brisen                      Wichita, KS 67219-4540
                                        Lewisville, TX 75056




Wilmer E Dale                           Wilmer L Linda W Strange              Wilmington Instrument Co Inc
18 Austin Corners                       PO Box 145                            332 N Fries Ave
Rockwall, TX 75032                      Judson, TX 75660                      Wilmington, CA 90744




Wilmington Trust N A                    Wilmoth Interests Inc                 Wilogic Inc
Attn Steve Cimalore/Stacey Woodall      550 Hastings Road                     15896 Manufacture Lane
15950 N Dallas Pkwy Suite 550           Marion Center, PA 15759               Huntington Beach, CA 92649
Dallas, TX 75248
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Wils Hawkins Iii                       Wilson                          Wilson Yusef
439 Harmony Church Rd                  PO Box 200822                   Address Redacted
Arcadia, LA 71001                      Dallas, TX 75320-0822




Wilson A OQuin Iii                     Wilson Beverly Reed             Wilson Cole Separate Prop
4561 Lennox Boulevard                  205 North Street                837 Hill Avenue
New Orleans, LA 70131                  Vidor, TX 77662                 Arcadia, LA 71001




Wilson Henderson                       Wilson Mohr Inc                 Wilson Properties Inc
PO Box 475                             12610 W Airport Blvd Ste 100    PO Box 10069
Judson, TX 75660                       Sugar Land, TX 77478            El Dorado, AR 71730-0022




Wilson Resources Inc                   Wilson Robertson Cornelius      Wilson Sisters Royalty Prtnshp
1127 Judson Road                       909 Ese Loop 323                PO Box 610427
Suite 254                              Ste 400                         Dallas, TX 75261-0427
Longview, TX 75601                     Tyler, TX 75711




Wilson Supply                          Wilson Surveying Co Inc         Wilson Thomas Wiley
PO Box 1492                            3330 70Th St Suite 201          1912 Glendora Drive
Houston, TX 77251-1492                 Lubbock, TX 79413               Forrestville, MD 20747




Wilton C Scarlett Sr                   Wilton Eugene Thrash Trust      Wilton Ray Marshall Jr
2115 County Club Road West             Wilton Eugene Thrash Trustee    14538 Oak Bend
Longview, TX 75602                     25 Highland Park Vlg 100 765    Houston, TX 77079
                                       Dallas, TX 752052789




Wilton Wade Sample                     Wiltse Mineral Properties LLC   Wimily Mineral Partnership
c/o Argent Property Services Llc       8412 Denali Parkway Unit 3      914 Fm 2665
PO Box 1410                            Austin, TX 78726                Nacogdoches, TX 75965
Ruston, LA 71273




Winburn Properties LLC                 Winchester Production Co        Windmill Energy Services LLC
Russell B Winburn Mnging Ptnr          PO Box 974931                   216 16Th St
Po Drawer 1868                         Dallas, TX 75217                Ste 1200
Fayetteville, AR 72702                                                 Denver, CO 80202




Windom Royalties LLC                   Windsor Energy Group LLC        Windsor Interests Ltd
Subsd Of Noble Royalties Inc           1601 Nw Expressway Ste 500      PO Box 236
PO Box 660082                          Oklahoma City, OK 73118-1460    Tyler, TX 75710
Dallas, TX 75266-0082




Windstream                             Windstream                      Windstream Corporation
4001 N Rodney Parham Rd                PO Box 9001908                  PO Box 9001013
Little Rock, AR 72212                  Louisville, KY 40290-1908       Louisville, KY 40290-1013
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Windward Limited Liability Co          Winfield Exploration                 Winford Roberson
1225 17 St Ste 1750                    12167 S Shady Pine Ct                23415 Rhea Dr
Denver, CO 80202-5534                  Parker, CO 80134                     Moreno Valley, CA 92557-6109




Winford Ward                           Winfred Lane Kelly                   Winfrey H Swan
c/o Texas State Treasury               6018 Fm 31 South                     3663 Fairmont Pkwy 2311
Unclaimed Property                     Carthage, TX 75633                   Pasadena, TX 77504
PO Box 12019
Austin, TX 78711-2019



Winged Foot Oil Co Inc                 Winifred Hawk                        Winifred S Wood
PO Box 3106                            1806 Lincoln Avenue                  7518 Crossdraw Dr
Midland, TX 79702-3106                 Pasadena, CA 91103                   Austin, TX 78731




Winifred Tipps Cook                    Winifrey Jane Creme                  Wink Loving Isd
6222 Marquita Avenue                   26601 Natures Way                    PO Box 637
Dallas, TX 75214                       Magnolia, TX 77354-3529              Wink, TX 79789




Winkel Son Lp                          Winkler Beene Investments LLC        Winkler Beene Investments LLC
1159 Fm 645                            3585 S Atlantic Ave                  PO Box 321492
Tennessee Colony, TX 75861             Cocoa Beach, FL 32931                Cocoa Beach, FL 32932-1492




Winkler County                         Winkler County Auditor               Winkler Energy LLC
Minerva Soltero                        Drawer O                             PO Box 65085
Tax Assessor Collector                 Kermit, TX 79745                     Shreveport, LA 71136-5085
PO Box Drawer T
Kermint, TX 79745



Winkler Land Company LLC               Winkler Royalty LLC                  Winn Exploration Co Inc
PO Box 65085                           PO Box 65085                         19Th Floor North Tower
Shreveport, LA 71136                   Shreveport, LA 71136                 800 North Shoreline Boulevard
                                                                            Corpus Christi, TX 78401




Winn Schroeder                         Winn Surveying And Engineering LLC   Winn Surveying And Engineering LLC
811 Nixon St                           Benjamin C Winn                      PO Box 358
Lockhart, TX 78644                     609 W Main Street                    Homer, LA 71040
                                       Homer, LA 71040




Winnie D Fenton                        Winnie Ellen K Hendrix Life Estate   Winnie Fay Emerson
13170 Timbercreek Drive                386 Fm 1276                          3126 Linda Kay Dr
Flint, TX 75762                        Livingston, TX 77351                 San Antonio, TX 78222




Winnie Joe Haltom Altom                Winnie Mae Coates Moss               Winnie Mattie Walker
126 Quail Ridge Dr                     480 Elliott Rd                       701 S Pecan St
Nacogdoches, TX 75961-1719             West Monroe, LA 71292                Clarksville, TX 754263822
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Winnie R Dial                          Winnie Savage Smith                      Winnie Smith
Estate J W Summers Ind Exec            106 Bending Oal Street                   818 Us Hwy 84 E
PO Box 148                             Lufkin, TX 75904                         Tenaha, TX 75974
Rusk, TX 75785




Winnie V Arnold                        Winnifred Boese                          Winona B Ward
4615 Stigall Drive                     5308 Monroe Ave 213                      4606 7Th Ave Ne
Dallas, TX 752093854                   San Diego, CA 92115                      Olympia, WA 98516




Winona Maxine Holmes Mccullen          Winona Oil Company                       Winona Oil Company
1734 University Drive                  3320 S Clayton Blvd                      3320 South Clayton Blvd
Columbia, TN 38401                     Englewood, CO 80113                      Englewood, CO 80112




Winona P Williams                      Winstead Pc Attorneys                    Winston A Williams
101 Village Green                      Attn Michael A Freeman And Chris Brown   8011 Shay Dr
Longview, TX 75605                     2728 N Harwood Street                    Oakland, CA 94605
                                       Dallas, TX 75201




Winston Bath                           Winston Bryan Walker                     Winston C Matejowsky
PO Box 323                             8401 Spring Valley Dr                    297 Jill Loop
Hudson, NY 125340323                   Austin, TX 78736-3025                    Ruston, LA 71270




Winston H Hagan                        Winston Kelly And Melba Jean Kelly       Winston Lee Stokes
Acct 826270                            8696 Bob O Link Road                     5055 Panther Creek Drive
First National City Bank               Gladewater, TX 75647                     The Woodlands, TX 77381
PO Box 2781
New York, NY 10017



Winston Pryor                          Winston S Brown                          Winston Taylor Ltd
2218 Clement Street                    6490 Wingate Street                      Wells Fargo Bank Sao
Flint, MI 48504                        Alexandria, VA 22312                     PO Box 41779
                                                                                Austin, TX 78704




Winston Tilley Mccalley                Wintergreen Energy Corporation           Winthrop Oil Gas Company
3049 Cambridge Rd                      500 Turtle Cove Blvd Ste 120             c/o Winwell Llc
Mountain Brook, AL 35223               Rockwall, TX 75087                       416 Travis Street
                                                                                Suite 910
                                                                                Shreveport, LA 71101



Winwell LLC                            Wirc LLC                                 Wireline Inc
416 Travis Street 910                  401 Congress Avenue                      Allen Howell
Shreveport, LA 71101                   Suite 1750                               710 Skinner Lane
                                       Austin, TX 78701                         Longview, TX 75605




Wireline Control Systems LLC           Wireline Control Systems LLC             Wireline Inc
Nam Contracts Manager                  A Schlumberger Company                   PO Box 5638
1325 Dairy Ashford Room 310            PO Box 732149                            Longview, TX 75608
Houston, TX 77077                      Dallas, TX 75373-2149
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Wireline Technology Inc                 Wirt Davis Blaffer               Wirt Davis Ii Estate
241 County Road                         2933 Del Monte Dr                4311 Oak Lawn Ave
Evanston, WY 82930                      Houston, TX 77019                Suite 300
                                                                         Dallas, TX 75219




Wisco Moran Drilling Co Inc             Wisconsin Unclaimed Prop         Wisdom Frank W
PO Box 939                              Department Of Revenue            3419 Ozark St
Fresno, TX 77545                        PO Box 8982                      Houston, TX 77021
                                        Madison, WI 53713




Wise Services Inc                       Wise Susong LLC                  Wise Well Intervention Svc Inc
PO Box 427                              510 Bering Dr Suite 240          Nitrogen Division Dept 333
Lyman, WY 82937                         Houston, TX 77057                PO Box 4869
                                                                         Houston, TX 77210-4869




Wishbone Strata Lp                      Withold Mosolowski               Witt Family LLC
Mr Reagan Sirmons                       303 Mari Beth Ln                 8702 W Wilderness Way
10497 Town Country Way Ste 700          White Oak, TX 75693-1117         Shreveport, LA 71106
Houston, TX 77024




Witt Oil Production Inc                 Witt Properties LLC              Wixson Robert S
PO Box 1607                             PO Box 1607                      Address Redacted
Shreveport, LA 71165-1607               Shreveport, LA 71165




Wk Rental LLC                           Wl Ann Hodges                    Wls Corporation
7600 Brandon Road                       PO Box 1817                      416 Travis St Ste 1006
Big Spring, TX 79720                    Shreveport, LA 71166             Shreveport, LA 71101-5503




Wm Hutchings Est                        Wm L Abernathy Charitable Trst   Wm M France Trst Uad 6 13 62
c/o Jpmorgan Chase Bank Na              Community Bank Of Raymore        K France R Gallucci G W Miller Co Ttes
G E Hutchings Co Execs                  PO Box 200                       c/o Key Trust Co Of Ohio
PO Box 99084                            Raymore, MO 64083-0200           PO Box 10099 3 Seagate
Fort Worth, TX 76199                                                     Toledo, OH 43604



Wm M Streit                             Wm Mitchell Iii                  Wm Toxy Bourn
4917 Coral Creek Drive                  3600 E Fm 2147                   Deceased
Fort Worth, TX 76135                    Marble Falls, TX 78654           1 New Park Addition
                                                                         Haynesville, LA 71038




Wms Oil Company Inc                     Wog Lc                           Wold Oil Gas Company
PO Box 555                              Attn Katherine E Rehkopf         Mineral Resource Center
Post, TX 79356                          8925 Champion Hills Dr           139 W 2 St Ste 200
                                        Wilmington, NC 28411             Casper, WY 82601-2462




Wolf Andrew T                           Wolf 2000 Trust                  Wolf Energy Company LLC
Address Redacted                        516 Sea Ranch Dr                 Attn Marvin Wolf
                                        Santa Barbara, CA 93109-1039     4155 E Jewell Ave Ste 606
                                                                         Denver, CO 80222
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Wolf Family Trst U/D/O 3 29 89          Wolf Israel                        Wolf Israel Trust Dtd 07/12/05
Peter F Bank Ttee                       1250 Broadway Rm 3800              c/o Mazur Carp Rubin P C
1416 Oriole Drive                       New York, NY 10001-3706            G Carp M Kinsella Co Ttees
Los Angeles, CA 90069                                                      666 Fifth Avenue 17Th Floor
                                                                           New York, NY 10103



Wolf Pack Rentals                       Wolf Petroleum Services LLC        Wolf Petroleum Services LLC
PO Box 19129                            c/o Goodman Factors                PO Box 186
Houston, TX 77224-9129                  PO Box 29647                       Carthage, TX 75633-0186
                                        Dallas, TX 75229-9647




Wolfe Family Trust                      Wolfe Gst Nonexempt Martial Tr     Wolfepak Inc
Deborah Anne Wolfe Trustee              c/o Texas Capital Bank Na Ttee     2901 S First Street
12500 Saint Andrews Drive               PO Box 678055                      Abilene, TX 79605-1813
Unit 16                                 Dallas, TX 75267-8055
Oklahoma City, OK 73120



Wolfepak Software                       Wolseley Industrial Group          Wolverine Construction Inc
2901 South 1st                          PO Box 644054                      146 E 1st Ave
Abilene, TX 79605                       Pittsburgh, PA 15364-4054          Zapata, TX 78076




Womack Tank Mfg LLC                     Wombat Security Technologies Inc   Woncile Mcnitt
PO Box 96131                            3030 Penn Avenue                   2777 Martin Street
Southlake, TX 76092                     Ste 200                            Sarasota, FL 34237
                                        Pittsburgh, PA 15201




Wonderware West                         Wontok Ii Royalty Co               Wonzie Johnson Brown
Keith Bradley                           1776 Lincoln Street                3008 W 81st
600 Travis St Suite 3500                Suite 700                          Stinglewood, CA 90305-1425
Houston, TX 77002                       Denver, CO 80203




Wonzie L Brown                          Wood A1 Holdings Joint Venture     Wood County Clerk
3008 W 81st St                          c/o Thomas G Coleman Jr            PO Box 1796
Inglewood, CA 90305                     PO Box 25247                       Quitman, TX 75783-1796
                                        Dallas, TX 75225




Wood County Electric Co Op              Wood County Electric Co Op         Wood County Tax Office
501 S Main St                           PO Box 1827                        301 E Goode Street
Quitman, TX 75783                       Quitman, TX 75783                  Quitman, TX 75783




Wood County Tax Office                  Wood Group Esp Inc                 Wood Group Light Industrial
Carol Taylor Tax Collector              PO Box 1860                        PO Box 203526
PO Box 1919                             Purcell, OK 73080                  Lockbox 203526
Quitman, TX 75783                                                          Dallas, TX 75320-3526




Wood Group Logging Service              Wood Group Logging Services        Wood Group Pressure Control
PO Box 201507                           PO Box 201507                      4424 W Sam Houston Pkwy N Ste 100
Houston, TX 772161507                   Houston, TX 77216-1507             Houston, TX 77041-8245
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Wood Group Pressure Control           Wood Group Psn Lease Maintenance   Wood Jr Impact Tr Acct
PO Box 911776                         And Construction LLC               7305 San Dario
Dallas, TX 753911776                  James Utley                        Laredo, TX 78045
                                      8730 S Hwy 181
                                      Kenedy, TX 78119



Wood Petroleum LLC                    Wood Springs Timber LLC            Woodard W Christian
Fox Wood Iii Managing Prtnr           206 Royal Ln                       13681 Highway 151
26998 Foxwood Lane                    Fairhope, AL 36532                 Arcadia, LA 71001
Spiro, OK 74959




Woodbine Financial Corporation        Woodbine Royalty LLC               Woodbine Trust Dtd 8/1/71
PO Box 52296                          PO Box 4431                        Guy U Griffeth Successor Ttee
Tulsa, OK 74152-0296                  Wichita Falls, TX 76308            c/o Patti Franklin
                                                                         6123 Twin Oaks Circle
                                                                         Dallas, TX 752405343



Woodco Usa                            Woodford W Thornton                Woodforest National Bank
PO Box 1261                           PO Box 438                         PO Box 7889
Houston, TX 77251-1261                Walalua, HI 96791                  The Woodlands, TX 77387




Woodhaven Energy Corporation          Woodie B Martin                    Woodie R Martin Family Lmtd Partnership
5129 Sunmore Circle Ste 101           PO Box 2582                        PO Box 2582
Midland, TX 79707                     Longview, TX 75606                 Longview, TX 75606




Woodland Acres LLC                    Woodland Hills Baptist Church      Woodlawn Pipeline Co Inc
1003 Hwy 167                          2105 E Loop 281                    2350 Airport Freeway
Bernice, LA 71222                     Longview, TX 75605                 Bedford, TX 76022




Woodlynn Properties Lp                Woodmark Energy Services LLC       Woodrow A Dean
A Partnership                         PO Box 9307                        Chyree Dean
1800 Chatham Ave                      Tyler, TX 75711                    PO Box 216
Arden Hills, MN 55112                                                    Ruston, LA 71273




Woodrow Evans Jr                      Woodrow W Smith                    Woodrow W Wiederkehr Jr
501 Clear Springs Road                113 W Martha Louise                637 Medina
Texarkana, TX 75501                   Edinburg, TX 78539                 Highland Village, TX 75067




Woodrow Whiddon Mabel Whiddon         Woods Contract Pumping             Woods Energy LLC
216 Cr 3804                           PO Box 271                         101 Professional Dr
Joaquin, TX 75954                     Sundown, TX 79372                  West Monroe, LA 71291




Woods Fam Rev Tr Dtd 9 5 2013         Woods Family Partnership LLC       Woods Family Trust Ii
Sharon G Donald L Woods Jr Ttees      101 Professional Dr                Bruce C Berry Trustee
25919 S 605 Rd                        West Monroe, LA 71291              2104 Lakeview Loop
Grove, OK 74344                                                          Killeen, TX 76543
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Woods/Vana Management Trust           Woodus K Humphrey Jr                Woodward Eugene Pittman
c/o Concord Trust Company             306 Gentilly Circle                 1673 Ftm 1252 E
1601 Elm Street Ste 1725              Shreveport, LA 71106                Kilgore, TX 75667
Dallas, TX 75201




Woolley Fishing Tool Inc              Woolley Tool Inc                    Woolley Tool Inc
PO Box 1249                           Renee Cox                           PO Box 1249
Kilgore, TX 75663                     PO Box 1249                         Kilgore, TX 75663
                                      Kilgore, TX 75663




Woolly Bugger Partners Ltd            Woolslayer Co Inc                   Wopt
7001 Preston Road                     5416 S Yale Ave Ste 500             3830 Valley Centre Drive
Suite 301 Lb 35                       Tulsa, OK 74135                     Suite 705 145
Dallas, TX 75205                                                          San Diego, CA 92130




Workers Compensation Agency           Workers Compensation Agency         Workers Compensation Agency
1515 Clay Street 17Th Floor           3315 West Truman Blvd Room 131      7551 Metro Center Drive Ste 100
Oakland, CA 94612                     Jefferson City, MO 65102            Austin, TX 78744-1609




Workers Compensation Agency           Workflow Filing Office Solutions    Working Interests South Ltd
800 West Washington                   PO Box 2591                         1001 8Th St
Phoenix, AZ 85007                     League City, TX 77574-2591          Levelland, TX 79336




Workstrings International LLC         World Acceptance Group Corp         World Class Distributors LLC
1150 Smede Hwy                        8721 Melrose Ave                    91 Motherlode Dr
Broussard, LA 70518                   Ste 205                             Leadville, CO 80461
                                      Los Angeles, CA 90046




Worldwide Specialty Adv Inc           Worley Coon Fam Inter Vivos Tr      Wormser Producing Properties Inc
7999 Western Hills Blvd               Jacob Norman Coon Iii John          PO Box 509
Fort Worth, TX 76108                  Jeffrey Bernard Coon Ttees          Schertz, TX 78154
                                      113 S Pavillion Cir
                                      West Monroe, LA 71291



Worth Energy LLC                      Wortham Insurance Risk Management   Wortham Insurance Risk Mgmt
PO Box 470128                         PO Box 301513                       2727 Allen Pkwy
Fort Worth, TX 76147-0128             Dallas, TX 75303-1513               Suite 1580B
                                                                          Houston, TX 77019




Worthington Ford                      Wp Properties Corporation           Wps Industries Inc
2950 Bellflower Boulevard             PO Box 2223                         228 Industrial St
Long Beach, CA 90815                  Cody, WY 82414                      West Monroe, LA 71292-8040




Wpx Energy Rm Company                 Wpx Energy Rocky Mountain LLC       Wr Westbrook
Attn Jib Processing                   21237 Network Pl                    108 N Jackson St
PO Box 3102 Md 36 3                   Chicago, IL 60673-1212              Jefferson, TX 75657
Tulsa, OK 74101
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Wrage Energy Service LLC                Wrangler Well Service Inc              Wren Oilfield Services Inc
6027 Warwick Drive                      806 W Main Ste B                       PO Box 334
San Angelo, TX 76901                    Riverton, WY 82501                     White Oak, TX 75693




Wrenched Up Roustabouts LLC             Wrf Services Inc                       Wrh Inc
PO Box 1191                             Dba Buteo Enerprises                   PO Box 6150
Midland, TX 79702                       440 N Eastman Road                     Roswell, NM 88202
                                        Suite C
                                        Longview, TX 75601



Wright Express                          Wright Express Fsc/Exxon Mobil         Wright Gst Exmpt Mar Trst
227 Cr 2093                             PO Box 5727                            2317 County Rd 229D
Nacogdoches, TX 75965                   Carol Streams, IL 60197-5727           Henderson, TX 75652




Wright Gst Exmt Mart Trst               Wright Mart Trst                       Wright Percy Insurance
Wells Fargo Bank N A                    Wells Fargo Bank N A                   PO Box 3809
Oil Gas Mineral Admin                   Oil Gas Mineral Admin                  Baton Rouge, LA 70821-3809
PO Box 41779                            PO Box 41779
Austin, TX 78704                        Austin, TX 78704



Wriley Mae Cunningham                   Wrs Ssp Lp                             Wrs Ssp Lp
PO Box 922                              PO Box 470829                          PO Box 470829
Tatum, TX 75691                         Fort Worth, TX 76147                   Fort Worth, TX 761470829




Ws Electric                             Wshland                                Wsi Cased Hole Specialist
2220 S 3Rd Street                       5177 Richmond Ave Ste 570              PO Box Drawer 670
Lamesa, TX 79331                        Houston, TX 77056                      Snyder, TX 79550




Wt Ruth                                 Wtg Fuels Inc                          Wtg Jameson Lp
20211 Rushire Square                    PO Box 3514                            211 North Colorado
Humble, TX 77338                        Midland, TX 79702                      Midland, TX 79701-4696




Wth Inc                                 Wtu Retail Energy                      Wv West Virginia State
306 W Wall St Ste 209                   PO Box 650819                          Treasurers Office
Midland, TX 79701                       Dallas, TX 75265-0819                  Unclaimed Property Division
                                                                               322 70Th St
                                                                               Charleston, WV 25304



WV Dept Of Environmental Protection     Wwt International Drilling Too         WY Unclaimed Property Div
Region 3                                9758 Whithorn Drive                    2515 Warren Ave Suite 502
601 57Th Street                         Houston, TX 77095                      Cheyenne, WY 82002
Charleston, WV 25304




Wy Vel Corporation                      WY Dept Of Environmental Quality Wqd   Wy Office State Lands Invest
PO Box 340309                           122 West 25Th Street                   122 West 25Th Street
Austin, TX 78734                        Cheyenne, WY 82002                     Herschler Bldg 3 West
                                                                               Cheyenne, WY 82002-0600
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WY Secretary Of States Office         Wy State Land Farm Office       Wyatt Geoffrey Hines
2020 Carey Avenue Suite 600           Herschler Bldg                  7723 Nelson Street
Cheyenne, WY 82002-0020               122 W 25 St 3 Fl W              New Orleans, LA 70125
                                      Cheyenne, WY 82002




Wyeth Hardy Worley                    Wylie Heldgepeth Dring          Wylie J Costlow
7808 Millicent Way                    124 Chelsea Drive               102 Panorama Ct
Shreveport, LA 71105                  Shreveport, LA 71105            Trophy Club, TX 76262-5602




Wyliecats Lp                          Wynant Stone Wilson             Wynell Evans
Attn Reese Henry Company Inc          2014 Brook Hollow Drive         5420 Dove Drive
400 E Main Street                     Abilene, TX 79605               Dallas, TX 75236
Suite 2
Aspen, CO 81611



Wynelle Burnam Trust                  Wynelle Holloway                Wynema G Hitt
Wynelle Holloway Trustee              1100 Grassmere Dr               40 Pineview Drive
1100 Grassmere Dr                     Richardson, TX 75080-2909       Forsyth, GA 31029
Richardson, TX 75080-2909




Wynn Crosby                           Wynn Crosby Operating Ltd       Wynn Crosby Partners I Ltd
15660 Dallas Pkwy Ste 1175            Fao Wynn Crosby Ptnrs Ii Ltd    15660 Dallas Pkwy Ste 1175
Dallas, TX 75248-3317                 PO Box 201888                   Dallas, TX 75248-3317
                                      Dallas, TX 753201888




Wynn Crosby Partners Ii Ltd           Wynn Crosby Partners Iii Ltd    Wynn Las Vegas
15660 Dallas Pkwy Ste 1175            15660 Dallas Pkwy Ste 1175      3131 Las Vegas Blvd So
Dallas, TX 75248-3317                 Dallas, TX 75248-3317           Las Vegas, NV 89109




Wynne F Perryman                      Wynona Montague Neal Fooshee    Wyo Central Fcu
1415 S Voss Rd Ste 110                3701 Turtle Creek               190 S David St
Houston, TX 77057-1000                Dallas, TX 75219                Casper, WY 82601




Wyo State EngineerS Office            Wyolectric Inc                  Wyoming Dept Of Workforce Services
122 West 25Th Street                  PO Box 2302                     Division Of Workers Compensation
4Th Floor East                        Rock Springs, WY 82902          Employer Services Registration Unit
Cheyenne, WY 82002                                                    1510 East Pershing Blvd
                                                                      Cheyenne, WY 82002



Wyoming Rocky Mountain Power          Wyoming Analytical Lab Inc      Wyoming Bearing Supply LLC
Attn Harold Babbitt                   1660 Harrison St                206 South College Dr
115 E McConnell St                    Laramie, WY 82070               Cheyenne, WY 82007
Laramie, WY 82070




Wyoming Casing Service Inc            Wyoming Community Bank          Wyoming Department Of Revenue
PO Box 1153                           1700 N Federal Blvd             Edmund J Schmidt Director
Dickinson, ND 58602                   Riverton, WY 82501              Herschler Bldg 2nd Floor West
                                                                      Cheyenne, WY 82002-0110
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Wyoming Dept Of Revenue               Wyoming Dept Of Workforce Svcs   Wyoming Dirt Contractor Inc
Mineral Tax Division                  PO Box 20006                     52 Quadrant Drive
122 West 25Th Street                  Cheyenne, WY 82003               Rock Springs, WY 82901
Cheyenne, WY 82002-0110




Wyoming Machinery Company Inc         Wyoming Office Of State          Wyoming Oil Gas
PO Box 2335                           Lands And Investments            Conservation Commission
Casper, WY 82602                      122 W 25Th St                    PO Box 2640
                                      Herschler Bldg 3 West            Casper, WY 82602
                                      Cheyenne, WY 82002-0600



Wyoming Oil Gas                       Wyoming Rents LLC                Wyoming Secretary Of State
Conservation Commission               PO Box 57000                     200 West 24Th Street
2211 King Boulevard                   Casper, WY 82605-7000            Cheyenne, WY 82002-0200
Casper, WY 82602




Wyoming Service Supply Inc            Wyoming Waste Services Rawli     Wyoming Waste Services Rawli
PO Box 2508                           A Waste Connections Co           A Waste Connections Co
207 Mesa Dr                           PO Box 660177                    50 North Reynolds Street
Rock Springs, WY 82902                Dallas, TX 75266-0177            Clarksville, TN 37040




Wyoming Waste Systems                 Wyoming Work Warehouse           Wyvone Davis
PO Box 660177                         4330 E 2nd Street                2906 34Th
Dallas, TX 75266-0177                 Casper, WY 82609                 Snyder, TX 79549




X 1 Energy Services LLC               X Chem LLC                       X Chem LLC Rockcliff
PO Box 337                            David Abadie                     Michelle Baptiste
Selman City, TX 75689-0337            6141 River Road                  2727 Chemsearch Blvd
                                      Harahan, LA 70123                Irving, TX 75062




Xact Technologies Inc                 Xact Technologies Inc            Xanthine Pratt
Vithai Pai                            PO Box 50871                     4615 Stigall
PO Box 50871                          Midland, TX 79710                Dallas, TX 75209
Midland, TX 79710




Xaver Malone Monk                     Xcaliber Lp                      Xchem
349 Malone Rd                         20221 Carriage Point Dr          PO Box 971433
Arcadia, LA 71001                     Houston, TX 77073-1714           Dallas, TX 75397-1433




Xeric Oil Gas Corporation             Xerox Corporation                Xgnet Rural Broadband Telephone
PO Box 51311                          PO Box 802555                    PO Box 2122
Midland, TX 70710                     Chicago, IL 60680-2555           Tatum, TX 75691




Xh LLC                                Xh LLC                           Xiaoqin Zeng
c/o Xto Energy Inc                    PO Box 730586                    1509 West Kentucky Ave
810 Houston St                        Dallas, TX 75373-0586            Ruston, LA 71270
Fort Worth, TX 76102
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Xl Hardbanding And Fabrication Inc    XL Specialty Insurance Co        Xo Communications
PO Box 51087                          Greg Mccoy                       14239 Collections Center Dr
Casper, WY 82605                      100 Constitution Plaza 17Th Fl   Chicago, IL 60693
                                      Hartform, CT 06103




Xpress Business Products              Xpress Oilfield Services LP      Xterra Fishing Rental Tools Co
PO Box 430906                         PO Box 5040                      Mark Rankin
Houston, TX 77243                     Longview, TX 75608               801 Cherry St Suite 2100
                                                                       Ft Worth, TX 76102




Xto Energy Inc                        Xto Energy Inc                   Xto Energy Inc
Attn Obo Jib Bgk 2                    PO Box 730586                    PO Box 730587
810 Houston Street                    Dallas, TX 75373-0586            Dallas, TX 75373-0587
Fort Worth, TX 76102




Xtreme Pump Supply                    Xyz Inc                          Y W Rogers
2423 S Henderdon Blvd                 PO Box 2890                      111 John C Rogers Drive
Kilgore, TX 75662                     Stateline, NV 89449-2890         Center, TX 75935




Y W Rogers Iii                        Y W Rogers Jr                    Y Y Properties LLC
111 John C Rogers Dr                  111 John C Rogers Dr             PO Box 167
Center, TX 75935                      Center, TX 75935                 Campti, LA 71411




Yamagata Mary Marie Holland           Yandle Family Partnership        Yanez Rosa M
4220 Ridgehaven Road                  PO Box 1683                      Address Redacted
Fort Worth, TX 76116                  Henderson, TX 75653




Yarbrough Chairmaine D                Yates Brothers                   Yates Drilling Co
Address Redacted                      105 S 4Th Street                 105 S 4Th St
                                      Artesia, NM 88211                Artesia, NM 88210-2177




Yates Et Vir Susan G                  Yates Family Trust               Yates Petroleum Corp
Franklin Yates                        PO Box 175                       105 South Fourth Street
1008 Retreat Avenue                   Deberry, TX 75639                Artesia, NM 88210
Moncks Corner, SC 29461




Yates Petroleum Corporation           Yaw Family Trust                 Yeauvester Lewis Jones
105 S 4Th St                          Daniel E Yaw Trustee             10812 Hwy 151
Artesia, NM 88210                     840 Vz Cr 1819                   Dubach, LA 71235
                                      Grand Saline, TX 75140




Yellow Bee LLC                        Yellow Pages United              Yellow Ribbon Inc
2146 Burbank St                       PO Box 50038                     PO Box 6901
Berthoud, CO 80513                    Jacksonville, FL 32240-0038      Denver, CO 80206
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Yellow Road Truck Company              Yellowhouse Gin Co Inc           Yellowjacket Oilfield Services LLC
2101 Hwy 135 N                         301 Erskine St                   Susie Verver
Kilgore, TX 75662                      Lubbock, TX 79403                5500 Sw Moody Street
                                                                        Victoria, TX 77905




Yellowjacket Oilfield Services LLC     Yep LLC                          Yeshiva Toras Chaim School
PO Box 1065                            PO Box 1338                      PO Box 40067
Whitesboro, TX 76273                   Palestine, TX 758021338          Denver, CO 80204




Yessenia Juarez                        Yield Master Fund Ii Lp          Ymc Royalty Company Lp
Address Redacted                       1000 Ballpark Way                15603 Kuykendahl Suite 200
                                       Suite 216                        Houston, TX 77090
                                       Arlington, TX 76011




Yoakum County                          Yoakum County Abstract Company   Yoakum County Tax Assessor
PO Box 516                             PO Box 457                       Collector Jan Parrish
Plains, TX 79355                       Plains, TX 79355                 PO Box 250
                                                                        Plains, TX 79335-0250




Yocham Engineering                     Yocham Engineering LLC           Yohn Rosqui
c/o Biff Yocham                        Memorial Resource Development    Address Redacted
507 N Washington Street                c/o Biff Yocham
Round Top, TX 78954-5043               1301 Mckinney St Suite 2100
                                       Houston, TX 77010



Yolanda Janet Simmons                  Yolanda K Moore                  Yolandria Oliver
235 E Plenty St                        113 Abrams Road                  1962 Fm 3310 South
Long Beach, CA 90805                   Apartment 169                    Henderson, TX 75652
                                       Richardson, TX 75081




Yollanda Washington Mcclarty           York Inez B                      York Jackson
364 Joan Vista Street B                5782 Cassie Drive                1916 Clairmount St
Elsobrante, CA 94803                   Ogden, UT 84405                  Detroit, MI 48206




York Oil Gas Holding Inc               Yose Cattle Company              Yosemite Creek Oil Gas LLLP
Leasebanks                             PO Box 142                       4350 S Monaco St 5 Fl
911 Central Ave 101                    La Barge, WY 83123               Denver, CO 80237
Albany, NY 12206




Young Cad                              Young Choi                       Young County Machine Inc
PO Box 337                             Address Redacted                 1814 380 Bypass
Graham, TX 76450                                                        Graham, TX 76450-2412




Young Estate LLC                       Young Life                       Young Minerals Company
PO Box 167                             PO Box 7763                      200 Bailey Avenue Ste 102
Campti, LA 71411                       Tyler, TX 75711                  Fort Worth, TX 76107
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Young Sc LLC                           Youngblood Ltd                  Youngblood Properties Lp
PO Box 688                             Penny Lee Youngblood Mgr Part   c/o Herbert M Youngblood
Carthage, TX 75633                     PO Box 730                      42 Club Estates Parkway
                                       Millsap, TX 76066               The Hills, TX 78738




Youngblood Sales Service LLC           Yousuf Ahmed                    Youth Development Center
201 Dana Lane                          77 Blorr Street W 3rd Floor     7941 Katy Freeway Pmb 150
Bossier City, LA 71111                 Toronto, ON M4Y 2T1             Houston, TX 77024
                                       Canada




Yuji Matsumura                         Yukon Corporation               Yuma Exploration Prod Co Inc
Botan Resources Llc                    PO Box 175                      1177 West Loop South
PO Box 19500                           Wilmington, CA 90748            Suite 1825
Boulder, CO 80308-2500                                                 Houston, TX 77027




Yuval Raizen                           Yvette Crawford                 Yvette E Simmons
PO Box 25152                           1010 South Trenton Street       8747 S Prairie Ave
Houston, TX 77265                      Ruston, LA 71270                Chicago, IL 60619




Yvette S Lucker                        Yvonne B Henagan                Yvonne B Lafitte
Tod                                    2744 Hwy 159                    3122 Cr 3173
35 Coral Avenue                        Minden, LA 71055                Joaquin, TX 75954
Winthrop, MA 02152-1133




Yvonne B Roberts                       Yvonne Chevalier Fisher         Yvonne Dorsey
Address Redacted                       2806 Indian Mound Trail         C/O Karen Boles
                                       Crosby, TX 77532-7212           14901 Cr 4340
                                                                       Larue, TX 75770




Yvonne Garvin                          Yvonne H Mckinney               Yvonne Hardy Duckworth
311 Egmont Ave                         284 East Meade Street           1903 Page Rd Apt 216
Mt Vernon, NY 10553                    Pearl, MS 39208                 Longview, TX 75601-3439




Yvonne Harris                          Yvonne Henderson                Yvonne James
3642 Kerner Blvd                       16339 Stuebner Airline Rd       115 S Lobit
San Rasael, CA 94901                   Apt 403                         La Porte, TX 77571
                                       Spring, TX 77379




Yvonne Jean Anderson                   Yvonne L Sanders                Yvonne M Covington
1599 Juanita Drive                     2511 Avenue P 1/2               Deceased July 1996
Longview, TX 75605                     Galveston, TX 77550             318 Las Casitas Court
                                                                       Santa Rosa, CA 95401




Yvonne M Quinnett Tr                   Yvonne Mc Cray Bell             Yvonne P Mcreynolds
Yvonne M Quinnett Ttee                 1236 Cornell                    Box 2862
808 Rye Rd                             Berkeley, CA 94706              Longview, TX 75606
Norman, OK 73072
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Yvonne Perkins                           Yvonne Ritter                    Yvonne Scott
211 Winchester Way                       7705 S 3Rd Place                 12208 Cross Fence Trail
Prattville, AL 36067                     Broken Arrow, OK 74011           Tyler, TX 75706




Yvonne Seatta Munford Daniels            Yvonne Vidrine Fisco             Yvonne Whitesides
7415 Langham Pl                          PO Box 51086                     318 West 12Th St
Rancho Cucamonga, CA 91730               Midland, TX 79710                Columbia, TN 38401




Z Line Specialties                       Z S Construction Co Inc          Z T Craver
1115 Avenue N                            PO Box 310                       PO Box 308
Post, TX 79356                           Kimball, NE 69145                Judson, TX 75660




Zach Hagin                               Zachariah Breaker Bering Trust   Zachary Allen Henshaw
9 Forrester Drive                        Rodney Lee Dundas Trustee        2019 Colleen Drive
Wentzville, MO 63385                     10018 Holly Springs Dr           Canyon Lake, TX 78133
                                         Houston, TX 77042




Zachary Carter                           Zachary H Tweedy                 Zachary Lane Rollinson
3780 Willow Ridge Rd                     Address Redacted                 2166 Maple
Douglasville, GA 30135                                                    Arcadia, LA 71001




Zachary Mattix Test Trust                Zachary T Haines                 Zachary T Spence
Safia S Kadir Trustee                    106 Cosmos St                    Address Redacted
18310 Montgomery Village Ave             Houston, TX 77009
Suite 400
Gaithersburg, MD 20879



Zachary Y Quisenberry                    Zachry Investment                Zack Warr Plumbing / Backhoe
1901 Centerview                          Management Llc                   PO Box 1771
Midland, TX 79707                        300 Convent Street Suite 2800    Center, TX 75935
                                         San Antonio, TX 78205




Zackry Carter                            Zada Mae Briggs Donnell          Zadeck Energy Group Inc
3713 Commonwealth Dr                     11803 Lakegrove Bend             401 Market St Ste 480
Garland, TX 75043                        Tomball, TX 77377                Shreveport, LA 71101-6906




Zama Blanchard Dexter                    Zama Dee Richardson              Zandra Ellis Livingston
746 Elmwood                              147 Pr 1324                      525 Miranda Drive
Shreveport, LA 71104                     Longview, TX 75605               Ruston, LA 71270




Zandra Stevens                           Zap Minerals Lp                  Zapata County Clerk
900 Burns St                             PO Box 570174                    200 E 7Th Ave Suite 138
Kilgore, TX 75662                        Houston, TX 77257-0174           Zapata, TX 78076
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Zapata County Tax Assessor             Zapor Trust Dtd January 4 2000       Zarvona Energy LLC
Collector                              Roger G Nancy J Zapor Ttees          1010 Lamar Street Ste 500
200 E 7Th Ave Suite 226                29309 Stadia Hill Lane               Houston, TX 77002
Zapata, TX 78076                       Rancho Palos Verdes, CA 90275-4763




Zaundra L Ford Dean                    Zavala Industrial Painting LLC       Zayo Group LLC
34503 Kristi Drive                     PO Box 15231                         1805 29th St Suite 2050
Pinehurst, TX 77362                    Zapata, TX 78076                     Boulder, CO 80301




Zayo Group LLC                         Zayo Group LLC                       Zaza Energy Corp
General Counsel Legal                  PO Box 952136                        1301 Mckinney St Ste 2850
400 Centennial Parkway Suite 200       Dallas, TX 75395-2136                Houston, TX 77010-3117
Louisville, CO 80027




Zeagler Enterprises Inc                Zeagler Enterprises Inc              Zedi Us Inc
Gary Salter                            401 Persimmon Drive                  Fka Southern Flow Companies Inc
606 Woodvale Drive                     Shreveport, LA 71115                 Gary Gray
Shreveport, LA 71115                                                        PO Box 51475
                                                                            Lafayette, LA 70505



Zedi Us Inc                            Zedi Us Inc                          Zee Jay Greenspan Ttee
PO Box 51475                           Southern Flow Companies Inc          Zee Jay Greenspan Rev Trust
Lafayette, LA 70505-1475               PO Box 51475                         05/10/1995
                                       Lafayette, LA 70505-1475             327 Sunset Bay Lane
                                                                            Palm Beach Grdn, FL 33418-4590



Zee Medical Inc                        Zelda R Smith                        Zelda Rogers
PO Box 204683                          1401 Oregon Ave Apt C                1326 W Caspia Ln
Dallas, TX 75320                       Alamogordo, NM 88310-5760            Richardson, TX 75080




Zelda Zinn                             Zell Smith Jr                        Zella Mae Curtis Tucker
Robert L Zinn Aif                      730 S Lakeside Dr                    PO Box 1255
3400 Bissonnet Street 250              Lake Worth, FL 334604935             Bandera, TX 78003
Houston, TX 77005




Zelma C Mcnee                          Zelma Diane Anderson                 Zelma Lee Presley
Deborah S Rainey Poa                   2159 Highway 59 N                    c/o Sylvia Mcelroy
PO Box 267                             Linden, TX 75563                     785 West Seventh Avenue
Commerce, TX 75429                                                          Broomfield, CO 80020




Zelma M Dean                           Zelma Ross Patton                    Zenith F Knupp
PO Box 203                             PO Box 193                           153 Kentland Dr
Grambling, LA 71245                    Gibsland, LA 71028                   Johnson City, TN 37604




Zenobia R Mcclam Lewis                 Zenobia Younger Perry                Zentech Inc
2627 Terrace Ln                        7705 Tully Street                    PO Box 4356
Saint Louis, MO 63136-1338             Houston, TX 77016                    Dept 617
                                                                            Houston, TX 77210-4356
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Zenzile M Peterson                    Zephyr Enterprises Inc                   Zephyr Gas Services LLC
Mbcc A/C 163683                       PO Box 596                               PO Box 209034
5535 Nw Cache Rd Apt 15G              Pinedale, WY 82941                       Dallas, TX 75320-9034
Lawton, OK 73505




Zephyr Tookes                         Zeriner Jernigan                         Zesch Well Service
206 E Elm Ave Apt 214                 42822 W Kristal Ln                       PO Box 350
Duncan, OK 73533-8331                 Maricopa, AZ 85738                       Wall, TX 76957




Zeus Construction Services LLC        Zev Aaron Raizen                         Zia Lact And Controls Inc
PO Box 451701                         John Frank Raizen Heather                PO Box 266
Laredo, TX 78045                      Noel Schwartz Custodial Parent           Artesia, NM 88210
                                      PO Box 54798
                                      Oklahoma City, OK 73154



Ziegler Cooper                        Zigmond Olbert Life Est                  Zilla Harman
700 Louisiana Suite 350               71 Columbus St                           Chase Bank 5660151274
Houston, TX 77002                     Manchester, CT 06042                     Attn Chase By Mail Ky1 0900
                                                                               PO Box 32750
                                                                               Louisville, KY 40233



Zilpah C Scott Briggs                 Zimmerman Dolores Brady                  Zimmerman Equipment Co
2901 Bammel Lane 18                   1909 East 25Th Street                    PO Box 1459
Houston, TX 77098                     Farmington, NM 87401                     Vernal, UT 84078




Zimmerman Limited Partnership         Zimmerman Resources                      Zinn Cort Casper
812 Samlon Drive                      Robert Zimmerman Rj Sole Propr           775 S Main Suite A
Laredo, TX 78041                      PO Box 570174                            Colville, WA 99114
                                      Houston, TX 77096




Zinn Robert                           Zion Petroleum Company                   Zion Rest Primitive Baptist
c/o Zinn Petroleum                    2202 North Glenwood Drive                Church Cemetery
3400 Bissonnet Suite 250              Stillwater, OK 74075                     6425 Hwy 4
Houston, TX 77005                                                              Jonesboro, LA 71251-6472




Zion Rest Primitive Baptist           Zion Rest Primitive Baptist Church Inc   Zions Bank
Church Cemetery At Chatham            6252 Highway 4                           One South Main Street
3054 Hwy 146                          Jonesboro, LA 71251-6472                 Salt Lake City, UT 84133
Chatham, LA 71226




Zita Barcak                           Zivney Energy                            Zoe Lyn Hess Caldwell
c/o Texas State Treasury              PO Box 655                               702 Wilder Pl
Unclaimed Property Division           White Oak, TX 75693                      Shreveport, LA 71104-4447
PO Box 12019
Austin, TX 78711-2019



Zoe Witt Moorer                       Zola Lynn Miller                         Zona Margaret T Musselwhite
2828 Hood St Residence 1103           PO Box 161986                            c/o Jan Coleman
Dallas, TX 75219                      Austin, TX 78716                         9114 Fernwillow Dr
                                                                               Spring, TX 77379-5046
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Zoom Hot Shot Transportation LLC      Zpz Delaware I LLC              Zrc Minerals Lp
PO Box 69970                          c/o Apache Corp                 PO Box 570174
Odessa, TX 79769-9970                 PO Box 840133                   Houston, TX 77096
                                      Dallas, TX 75284




Zrvw LLC                              Zueck Transprotation Co         Zuma T Burrow Renaud
430 N Center St                       PO Box 1995                     PO Box 603
Longview, TX 75601                    Rock Springs, WY 82901          Midland, TX 79702




Zurich North America
3059 Paysphere Circle
Chicago, IL 60674
